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Name                                    Address1                              Address2                      Address3                 Address4               City             State Zip
PRESTIGE PRODUCTS                       522 HOLLAND AVE                                                                                                     WEBSTER GROVES    MO 63119‐1751
PRESTIGE SAAB                           2800 CORBY AVE                                                                                                      SANTA ROSA        CA 95407‐7878
PRESTIGE SAAB                           HANSEL, STEPHEN                       2800 CORBY AVE                                                                SANTA ROSA        CA 95407‐7878
PRESTIGE SATURN OF JACKSONVILLE, INC    C/O GENERAL MOTORS CORPORATION,       MELINDA OAKEY                 5730 GLENNRIDGE DRIVE,                          ATLANTA           GA 30328
                                        MOTORS HOLDING                                                      SUITE 404
PRESTIGE SATURN OF JACKSONVILLE, INC.   GREG JACKSON                          8105 BLANDING BLVD                                                            JACKSONVILLE      FL   32244‐5824

PRESTIGE SATURN OF JACKSONVILLE, INC.   GREGORY JACKSON                       10863 PHILIPS HWY                                                             JACKSONVILLE      FL   32256‐1552

PRESTIGE SATURN OF JACKSONVILLE, INC., GREGORY JACKSON                        444 JAMES L. PARKWAY                                                          YPSILANTI        MI 48197
C/O PRSTIGE PONTIAC BUICK GMC

PRESTIGE SATURNOF JACKSONVILLE          10863 PHILIPS HWY                                                                                                   JACKSONVILLE     FL    32256‐1552
PRESTIGE STAMP/WARRN                    23513 GROESBECK HWY                                                                                                 WARREN           MI    48089‐4253
PRESTIGE STAMPING INC                   23513 GROESBECK HWY                   PO BOX 1086                                                                   WARREN           MI    48089‐4253
PRESTIGE STAMPING INC                   JEFF NATALE X116                      23513 GROESBECK HWY                                                           WARREN           MI    48089‐4253
PRESTIGE STAMPING INC                   23513 GROESBECK HWY                                                                                                 WARREN           MI    48089‐6001
PRESTIGE STAMPING INC EEFT              PO BOX 1086                           23513 GROESBECK HWY                                                           WARREN           MI    48090‐1086
PRESTIGE STAMPING INC.                  JEFF NATALE X116                      23513 GROESBECK HWY                                                           WARREN           MI    48089‐4253
PRESTIGE/VANGUARD                       6929 N LAKEWOOD AVE STE 100                                                                                         TULSA            OK    74117‐1824
PRESTIGIACOMO, JOSEPH L                 4005 DOE CREEK DR                                                                                                   FLOYDS KNOBS     IN    47119‐9651
PRESTIGIOU PROPERTY SEWARD              80 SEWARD ST                                                                                                        DETROIT          MI    48202‐2486
PRESTIGOMO, SANDRA J                    126 N ASPEN CT UNIT 4                                                                                               WARREN           OH    44484
PRESTLEY, LEON                          PORTER & MALOUF PA                    4670 MCWILLIE DR                                                              JACKSON          MS    39206‐5621
PRESTLEY, PATRICIA E                    15 A HOLLY DRIVE APT. 58                                                                                            GIRARD           OH    44420
PRESTO AMERICA'S FAVORITE FDS           1522 MANCHESTER RD                                                                                                  DAYTON           OH    45449‐1933
PRESTO JR, RALPH A                      907 REGENTS PARK DR                                                                                                 MONROE           MI    48161‐9761
PRESTO JR, RALPH ANTHONY                907 REGENTS PARK DR                                                                                                 MONROE           MI    48161‐9761
PRESTO X                                WARD COMBS                            4521 LEAVENWORTH STREET                                                       OMAHA            NE    68106
PRESTO, GRACE                           KIMMEL & SILVERMAN                    30 E BUTLER AVE                                                               AMBLER           PA    19002‐4514
PRESTOLE DIVISION                       NN METAL STAMPING INC COLLEC          510 S MAPLE ST                PO BOX 248                                      PIONEER          OH    43554‐7956
PRESTOLITE DE MEXICO SA DE CV           CALZADA INDSUTRIAL DE LAS MAQUILADO                                                          NOGALES SONORA SO
                                                                                                                                     84092 MEXICO
PRESTOLITE DE MEXICO SA DE CV           CARRETERA INTERNATIONAL KM 6.5        PARQUE IND TERREZAS DEL CID                            NOGALES SONORA 84094
                                                                                                                                     MEXICO
PRESTOLITE WIRE CORP                    200 GALLERIA OFFICENTRE STE 21      PO BOX 5022                                                                     SOUTHFIELD       MI 48034
PRESTOLITE WIRE CORP                    CALZADA INDSUTRIAL DE LAS MAQUILADO                                                          NOGALES SONORA SO
                                                                                                                                     84092 MEXICO
PRESTOLITE WIRE CORP                    CARRETERA INTERNATIONAL KM 6.5        PARQUE IND TERREZAS DEL CID                            NOGALES SONORA MX
                                                                                                                                     84094 MEXICO
PRESTOLITE WIRE CORP                    DONNA WEEKS                           1204 W INDUSTRIAL PARK DR                                                     NOGALES          AZ    85621‐4539
PRESTOLITE WIRE CORP                    DONNA WEEKS                           330 SOUTHWELL BLVD.                                                           PARMA            MI    49569
PRESTOLITE WIRE CORP                    330 SOUTHWELL BLVD                                                                                                  TIFTON           GA    31794‐8831
PRESTOLITE WIRE CORP                    200 GALLERIA OFFICENTRE, SUITE 212                                                                                  SOUTHFIELD       MI    48034
PRESTOLITE WIRE CORP.                   DONNA WEEKS                           330 SOUTHWELL BLVD.                                                           PARMA            MI    49569
PRESTOLITE WIRE CORPORATION EF          200 GALLERIA OFFICENTRE STE200                                                                                      SOUTHFIELD       MI    48034
PRESTOLITE WIRE LLC                     200 GALLERIA OFFICENTRE STE 212                                                                                     SOUTHFIELD       MI    48034‐4719
PRESTON A ATTENELLO                     MOTLEY RICE LLC                       28 BRIDGESIDE BLVD            PO BOX 1792                                     MT PLEASANT      SC    29465
PRESTON A CUNNINGHAM                    121 NEAL AVE                                                                                                        NEWARK           OH    43055‐4176
PRESTON ALFRED M (429642)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                   NORFOLK          VA    23510
                                                                              STREET, SUITE 600
PRESTON AMOS                            C/O THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                                   HOUSTON           TX   77017
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Name                                   Address1                          Address2                        Address3   Address4                City                State Zip
PRESTON ANTHONY                        642 E HOLBROOK AVE                                                                                   FLINT                MI 48505‐2135
PRESTON ANTHONY K                      PRESTON, ANTHONY K                309 WASHINGTON ST                                                  PORTSMOUTH           OH 45662‐3913
PRESTON AUSTIN                         50 RIVERSIDE AVE APT 5                                                                               BUFFALO              NY 14207
PRESTON AUTO REPAIR                    1407 1ST ST E                                                                                        HUMBLE               TX 77338‐4927
PRESTON BADGEROW JR                    2942 SCHAEFER ST                                                                                     SAGINAW              MI 48604‐2435
PRESTON BALDWIN JR                     11331 GRANDVILLE AVE                                                                                 DETROIT              MI 48228‐1368
PRESTON BENTON                         2770 COLONIAL DR                                                                                     COLLEGE PARK         GA 30337‐4845
PRESTON BIGELOW                        47 SAINT PAUL AVE                                                                                    NEWARK               NJ 07106‐1616
PRESTON BROWN                          3038 ROLLINGWOOD CT SE                                                                               ATLANTA              GA 30316‐4418
PRESTON BUICK PONTIAC GMC              2829 GYPSY HILL RD                                                                                   CAMBRIDGE            MD 21613‐3414
PRESTON CHARLES M JR                   DBA SHADOW GRAPHICS               5015 BROOKSHIRE CT E                                               FREDERICKSBURG       VA 22408‐1828
PRESTON CHEV OLDS CADILLAC LIMITED     19990 LANGLEY BYPASS                                                         LANGLEY BC V3A 4Y1
                                                                                                                    CANADA
PRESTON CHEVROLET                      5761 WORCESTER HWY                                                                                   SNOW HILL           MD 21863‐2417
PRESTON CHEVROLET CADILLAC             19990 LANGLEY BYPASS                                                         LANGLEY CANADA BC V3A
                                                                                                                    4Y1 CANADA
PRESTON CHEVROLET‐CADILLAC,INC.        13600 W CENTER ST                                                                                    BURTON              OH   44021‐9417
PRESTON CHEVROLET‐CADILLAC,INC.        PATRICK PRESTON                   13600 W CENTER ST                                                  BURTON              OH   44021‐9417
PRESTON CLEMONS                        16511 STRATHMOOR ST                                                                                  DETROIT             MI   48235‐4070
PRESTON COLLINS                        2798 ENGLISH RD                                                                                      KINGSTON            MI   48741‐9527
PRESTON COURTNEY                       5295 BROWN RD                                                                                        POWDER SPRINGS      GA   30127
PRESTON CRABILL                        34000 LYNCROFT ST                                                                                    FARMINGTON HILLS    MI   48331‐3630
PRESTON D LOVE                         90 KERLAND DR                                                                                        WRIGHT CITY         MO   63390‐1322
PRESTON D THOMAS                       803 MCCLEARY AVE                                                                                     DAYTON              OH   45406
PRESTON DAVIS                          3267 SUMMERTOWN HWY                                                                                  SUMMERTOWN          TN   38483‐5145
PRESTON DORSEY                         5005 BORDEN DR                                                                                       FORT WORTH          TX   76116‐9043
PRESTON DOUGLAS (ESTATE OF) (466039)   EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                            NEW YORK            NY   10017‐6530

PRESTON DUBEAU JR                      3736 YORK DR                                                                                         SAGINAW             MI   48601‐5166
PRESTON DWIGHT COLE                    REBECCA KATHLEEN COLE JT TEN      35 NORTH HILLVIEW DR                                               ST PETERS           MO   63376‐2056
PRESTON DYER                           2285 COUNTY ROAD 220 APT 702                                                                         MIDDLEBURG          FL   32068‐8502
PRESTON EVERSOLE JR                    5228 RED BIRD LN                                                                                     HAMILTON            OH   45011‐2021
PRESTON EWING                          3908 S VILLAGE DR                                                                                    NEW PALESTINE       IN   46163‐9581
PRESTON FANCHER                        2302 S CARNEGIE DR                                                                                   INVERNESS           FL   34450‐6091
PRESTON GAFFNEY                        4447 PHEASANT RUN                                                                                    JANESVILLE          WI   53546‐1019
PRESTON GOFORTH                        LOWR                              4737 CRANE STREET                                                  DETROIT             MI   48214‐1259
PRESTON HALL                           7963 W US HIGHWAY 50                                                                                 MEDORA              IN   47260‐9501
PRESTON HAMILTON                       1802 ROCKCREEK LN                                                                                    FLINT               MI   48507‐2234
PRESTON HARRIS                         1300 E LAFAYETTE ST # 2601                                                                           DETROIT             MI   48207‐2904
PRESTON HAWKINS JR                     C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                          HOUSTON             TX   77007
                                       BOUNDAS LLP
PRESTON HENRY (ESTATE OF0 (489194)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
PRESTON HOOD CHEVROLET                 11325 CEDAR LAKE RD                                                                                  BILOXI              MS   39532‐8494
PRESTON HOOD CHEVROLET INC.            212 HOLLYWOOD BLVD SW                                                                                FORT WALTON BEACH   FL   32548‐4726
PRESTON HOOD CHEVROLET INC.            A. HOOD                           212 HOLLYWOOD BLVD SW                                              FORT WALTON BEACH   FL   32548‐4726
PRESTON HOOD CHEVROLET, LLC            A. HOOD                           11325 CEDAR LAKE RD                                                BILOXI              MS   39532‐8494
PRESTON J B                            112 OAKCREST CT                                                                                      TRINIDAD            TX   75163‐5061
PRESTON J JACK, SR                     C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                          HOUSTON             TX   77007
                                       BOUNDAS LLP
PRESTON JOHN R (439419)                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK             VA 23510
                                                                         STREET, SUITE 600
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PRESTON JOHNSON                         1139 RENDEZVOUS LN                                                                          COLUMBUS           OH 43207‐7208
PRESTON JOHNSON                         1414 RENATA ST                                                                              SAGINAW            MI 48601‐6670
PRESTON JONES                           PO BOX 90104                                                                                BURTON             MI 48509‐0104
PRESTON JONES                           2024 JENNIFER LN                                                                            LEWISBURG          TN 37091‐6813
PRESTON JONES                           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.        OH 44236
PRESTON JR, BILLY J                     110 OAK GROVE LN                                                                            MORGANTOWN         KY 42261‐8265
PRESTON JR, CHARLES M                   5015 BROOKSHIRE CT E                                                                        FREDERICKSBRG      VA 22408‐1828
PRESTON JR, FLOYD E                     4275 EL CENTRO RD APT 1416                                                                  SACRAMENTO         CA 95834‐7676
PRESTON JR, GEORGE D                    1328 ACAPULCO DR                                                                            DALLAS             TX 75232‐3002
PRESTON JR, HOWARD O                    59 JEFFORDS RD                                                                              RUSH               NY 14543‐9774
PRESTON JR, JOHN NELSON                 209 FRASER STREET                                                                           YALE               MI 48097‐2926
PRESTON JR, JOSEPH P                    900 N CASS LAKE RD APT 130                                                                  WATERFORD          MI 48328‐2387
PRESTON JR, THOMAS W                    740 BOLINGER ST                                                                             ROCHESTER HILLS    MI 48307‐2821
PRESTON JR, WILLIAM J                   2808 ROYALSTON AVE                                                                          DAYTON             OH 45419‐1951
PRESTON KELLY                           1304 WOODPOINTE DR                                                                          JEFFERSON CITY     TN 37760‐5268
PRESTON L BREWER                        4535 OXFORD MIDDLETOWN RD                                                                   TRENTON            OH 45067‐9696
PRESTON L KIMLER                        133 MEDFORD RD                                                                              SYRACUSE           NY 13211‐1827
PRESTON LA PRATT                        2436 W AUBURN RD                                                                            ROCHESTER HILLS    MI 48309‐4001
PRESTON LOVE                            90 KERLAND DR                                                                               WRIGHT CITY        MO 63390‐1322
PRESTON LYNN                            314 SHADY GROVE RD                                                                          LOUISA             KY 41230‐8713
PRESTON M BIGELOW                       47 SAINT PAUL AVE                                                                           NEWARK             NJ 07106‐1616
PRESTON MACK PHOTOGRAPHY INC            14198 CHICORA CROSSING BLVD                                                                 ORLANDO            FL 32828‐7745
PRESTON MARSHALL                        1710 16TH ST                                                                                NIAGARA FALLS      NY 14305‐2914
PRESTON MAY JR                          2809 TOD AVE NW                                                                             WARREN             OH 44485‐1503
PRESTON MCPHAIL                         47625 TORRINGTON DR N                                                                       CANTON             MI 48188‐4719
PRESTON MELTON                          5152 W SAINT ALBAN AVE                                                                      LOXLEY             AL 36551‐4442
PRESTON MERROW                          429 BRENTWOOD AVE                                                                           THE VILLAGES       FL 32162‐4302
PRESTON MICHELE                         1415 S OATES ST                                                                             DOTHAN             AL 36301‐4447
PRESTON MOON                            3083‐FARM RD 994                                                                            NAPLES             TX 75568
PRESTON MORRIS JR                       1321 AVENUE A                                                                               FLINT              MI 48503‐1477
PRESTON MOTORS, INC                     1500 WILMINGTON RD                                                                          NEW CASTLE         PA 16105‐2052
PRESTON MOTORS, INC                     ROBERT PRESTON                   1500 WILMINGTON RD                                         NEW CASTLE         PA 16105‐2052
PRESTON PARR                            6221 BASELINE RD                                                                            ONONDAGA           MI 49264‐9617
PRESTON PASCHAL                         4420 BAY AVE                                                                                BEAVERTON          MI 48612‐8707
PRESTON PATTERSON                       3856 RED ROOT RD                                                                            LAKE ORION         MI 48360‐2624
PRESTON PEERY JR                        8432 MAPLEVIEW DR                                                                           DAVISON            MI 48423‐7804
PRESTON PHILLIPS                        3195 CHATEAU MORSE COURT                                                                    COLUMBUS           OH 43231‐6128
PRESTON RAPELJE                         1436 WICKHAM DR                                                                             LANSING            MI 48906‐5586
PRESTON REFRIGERATION CO                ATTN: CLIFF PRESTON              PO BOX 15296                                               KANSAS CITY        KS 66115‐0296
PRESTON RINKER                          15948 E 246TH ST                                                                            NOBLESVILLE        IN 46060‐9778
PRESTON ROBERT                          760 MATHER ST APT 311                                                                       NEW BRAUNFELS      TX 78130‐4341
PRESTON ROBERT E (ESTATE OF) (666142)   MAZUR & KITTEL PLLC              1490 FIRST NATIONAL BUILDING                               DETROIT            MI 48226

PRESTON SCROGGIN                        796 PHEASANT TRAIL                                                                          ST CHARLES        IL   60174
PRESTON SILVEY                          211 ROBIN HILL LN                                                                           BALLWIN           MO   63021‐5052
PRESTON SKINNER                         1208 DONA WAY                                                                               NOKOMIS           FL   34275‐2357
PRESTON SOWELL                          1721 KINGSBRIDGE DR                                                                         GARLAND           TX   75044‐7607
PRESTON SPENCE                          200 LAWRENCE ST                                                                             NEW BRUNSWICK     NJ   08901
PRESTON SR, BRUCE H                     704 SAINT ROBBY DR                                                                          MANSFIELD         TX   76063‐7653
PRESTON STAFFORD                        4320 AVENUE K                                                                               FORT PIERCE       FL   34947
PRESTON STEVENS                         462 W RIVER RD                                                                              KAWKAWLIN         MI   48631‐9776
PRESTON TAYLOR                          2757 S DECKER RD                                                                            MARLETTE          MI   48453‐8993
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PRESTON TERRY                934 JOE LEMMOND RD                                                                               SOMERVILLE       AL 35670‐4112
PRESTON THOMPSON JR          19975 PREST ST                                                                                   DETROIT          MI 48235‐1808
PRESTON TRANSPORT LIMITED    PO BOX 160                                                              BOWMANVILLE ON L1C 3K9
                                                                                                     CANADA
PRESTON TRUCK/PRESTN         151 EASTON BOULEVARD                                                                             PRESTON         MD   21655
PRESTON TRUCKING CO INC      151 EASTON BLVD                PER TIM BURNS                                                     PRESTON         MD   21655
PRESTON TRUCKING CO INC      ATTN ELIZABETH RAFF            151 EASTON BLVD                                                   PRESTON         MD   21655
PRESTON TRUITT JR            53 MAPLEDALE AVE                                                                                 GLEN BURNIE     MD   21061‐1959
PRESTON UNIVERSITY           1204 AIRPORT PARKWAY                                                                             CHEYENNE        WY   82001
PRESTON VIVIAN               3810 N BELL AVE 1                                                                                CHICAGO         IL   60618
PRESTON WALKER               1636 SULLIVAN DR                                                                                 SAGINAW         MI   48638‐4547
PRESTON WALTER E (347216)    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                            STREET, SUITE 600
PRESTON WATKINS              501 LYON ST APT 11                                                                               FLINT           MI   48503‐2555
PRESTON WATSON               10002 FENWICK DR                                                                                 INDIAN TRAIL    NC   28079‐3706
PRESTON WEATHERWAX           3493 N 2ND ST                                                                                    KALAMAZOO       MI   49009‐8531
PRESTON WILLIAM D (502794)   ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                          WILMINGTON      DE   19801‐1813
PRESTON WILLIAM F (439420)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                            STREET, SUITE 600
PRESTON WILLIAMS             29140 BROOKS LN                                                                                  SOUTHFIELD      MI 48034‐4689
PRESTON WILLIAMS SR          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                         HOUSTON         TX 77007
                             BOUNDAS LLP
PRESTON WILLIS               2946 LYNDA PL                                                                                    DECATUR         GA 30032‐5761
PRESTON, ADA G               2929 N 58TH ST                                                                                   KANSAS CITY     KS 66104‐2022
PRESTON, ADAM
PRESTON, ALAN                600 BOULDER DR                                                                                   WEST MILTON     OH   45383‐1768
PRESTON, ALAN                600 BOULDER DRIVE                                                                                WEST MILTON     OH   45383‐5383
PRESTON, ALBERT A            1805 CHERRY TREE ST                                                                              SAINT PETERS    MO   63376‐6806
PRESTON, ALFRED M            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
PRESTON, ALICE R             203 MILLCREEK ROAD                                                                               NILES           OH   44446‐3211
PRESTON, ALICE R             203 MILL CREEK RD                                                                                NILES           OH   44446‐3211
PRESTON, ALPHONSO            927 SUMMIT ST                                                                                    DAYTON          OH   45408
PRESTON, ANN E               1392 FAIRBANK RD                                                                                 COLUMBUS        OH   43207‐2649
PRESTON, BARBARA S           PO BOX 453                                                                                       MIAMISBURG      OH   45343‐0453
PRESTON, BEVERLY O           2101 N DOWNRIVER RD                                                                              GRAYLING        MI   49738
PRESTON, BILLY R             345 RED OAK DR                                                                                   FAIRBORN        OH   45324‐2783
PRESTON, BOBBIE S            286 W VINE ST                                                                                    WILMINGTON      OH   45177‐1672
PRESTON, BOBBY J             3511 KY ROUTE 172                                                                                VOLGA           KY   41219‐9305
PRESTON, BRADLEY E           8845 HOLLOWOOD DR                                                                                INDIANAPOLIS    IN   46234‐1932
PRESTON, BRIAN D             1501 GREENHILL RD                                                                                BOWLING GREEN   KY   42103‐9872
PRESTON, BRIDGETTE S         755 BILTMORE PL                                                                                  DAYTON          OH   45431‐2716
PRESTON, CAREY R             10403 CYPRESS RD                                                                                 LEESBURG        FL   34788‐3121
PRESTON, CARLTON             3229 BRADDOCK ST                                                                                 KETTERING       OH   45420‐1103
PRESTON, CAROL A             304 W ELIZABETH ST                                                                               EATON RAPIDS    MI   48827‐1744
PRESTON, CHARLES A           7403 BROOKSTONE DR                                                                               CARLISLE        OH   45005‐2988
PRESTON, CHARLES ALEXANDER   7403 BROOKSTONE DR                                                                               CARLISLE        OH   45005‐2988
PRESTON, CHARLES D           12089 ERDMAN RD                                                                                  SUNFIELD        MI   48890‐9753
PRESTON, CHARLES O           4258 WOODCLIFFE AVE                                                                              DAYTON          OH   45420‐2853
PRESTON, CHARLES W           28 MARSHALL AVE                                                                                  GERMANTOWN      OH   45327‐5327
PRESTON, CHERYL              7348 CAIRO BEND RD                                                                               LEBANON         TN   37087‐7443
PRESTON, CHERYL S            5372 MANDARIN CIR                                                                                HIXSON          TN   37343‐6800
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PRESTON, CHRISTOPHER B      4451 CAHILL DR                                                                            TROY              MI 48098‐4489
PRESTON, CHRISTOPHER B.B.   4451 CAHILL DR                                                                            TROY              MI 48098‐4489
PRESTON, CLARENCE D         1364 DELAWARE AVE                                                                         YPSILANTI         MI 48198‐3181
PRESTON, CLARENCE J         18205 LOTUS DR                                                                            CLEVELAND         OH 44128‐2650
PRESTON, CLAUDE D           1501 GREENHILL RD                                                                         BOWLING GREEN     KY 42103‐9872
PRESTON, CLAUDE DAVID       1501 GREENHILL RD                                                                         BOWLING GREEN     KY 42103‐9872
PRESTON, CLIFFORD M         PO BOX 91                         14921 CEMETERY RD                                       MIDLAND           MD 21542‐0091
PRESTON, CRAIG C            4171 MAPLEWOOD MD AVE                                                                     GRAND BLANC       MI 48439
PRESTON, D J INC            RTE 19                                                                                    CANEADEA          NY 14717
PRESTON, DAVID A            734 HARTNER ST                                                                            HOLLY             MI 48442‐1271
PRESTON, DAVID J            15332 HOWE RD                                                                             PORTLAND          MI 48875‐9332
PRESTON, DAVID J            1823 APPLETREE LN                                                                         CARROLLTON        TX 75006‐7518
PRESTON, DAVID L            12780 SE 90TH COURT RD                                                                    SUMMERFIELD       FL 34491‐9772
PRESTON, DAWN A             1206 MATHESON ST                                                                          JANESVILLE        WI 53545‐1816
PRESTON, DEANNA             4859 BROOKGATE DR NW                                                                      COMSTOCK PARK     MI 49321‐9311
PRESTON, DENIENE K          465 LUTHER AVE                                                                            PONTIAC           MI 48341‐2571
PRESTON, DIANA E            6130 FISH LAKE RD                                                                         NORTH BRANCH      MI 48461‐9680
PRESTON, DONALD             3635 SOLDIERS HOME MSBG RD                                                                MIAMISBURG        OH 45342‐1035
PRESTON, DONALD E           31576 23RD AVE                                                                            GOBLES            MI 49055‐9644
PRESTON, DONALD J           9521 SW 102ND PL                                                                          OCALA             FL 34481‐9264
PRESTON, DONALD L           1151 REED CIRCLE DR                                                                       COLUMBUS          OH 43224‐1067
PRESTON, DORIS              PO BOX 992                                                                                ACWORTH           GA 30101‐0101
PRESTON, DOROTHY            1274 LIBRARY STREET               SUITE 604                                               DETROIT           MI 48226
PRESTON, DOROTHY            2317 E DOROTHY LANE                                                                       DAYTON            OH 45420‐1147
PRESTON, DOROTHY            1274 LIBRARY ST STE 604                                                                   DETROIT           MI 48226‐2264
PRESTON, DOUGLAS            EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                 NEW YORK          NY 10017‐6530
PRESTON, ELLA               141 TERRA VISTA ST                                                                        BRIGHTON          CO 80601‐4167
PRESTON, ELLA               141 TERRAVISTA STREET                                                                     BRIGHTON          CO 80601
PRESTON, FRANKLIN D         1647 CALIPER DR                                                                           TROY              MI 48084‐1407
PRESTON, FRAZZIA L          19204 KEYSTONE                                                                            DETROIT           MI 48234‐2335
PRESTON, FRED               3785 WINDING PINE DR                                                                      METAMORA          MI 48455‐8969
PRESTON, FREDERICK A        5514 CHIPPEWA RD                                                                          TOLEDO            OH 43613‐1903
PRESTON, FREDERICK ALLEN    5514 CHIPPEWA RD                                                                          TOLEDO            OH 43613‐1903
PRESTON, GAIL I             18182 BLUE HERON DR W                                                                     NORTHVILLE        MI 48168‐9232
PRESTON, GARY D             PO BOX 44                                                                                 UNION FURNANCE    OH 43158‐0044
PRESTON, GARY E             2256 SHAWNEE TRL                                                                          OKEMOS            MI 48864‐2528
PRESTON, GERALD J           2832 SCOTTWOOD AVE                                                                        TOLEDO            OH 43610‐1628
PRESTON, GERTRUDE P         5314 MAD RIVER RD                                                                         DAYTON            OH 45429‐2030
PRESTON, GLORIA C           105 MADISON AVE                                                                           SPRING LAKE       NJ 07762‐1411
PRESTON, GLORIA C           105 MADISON AV                                                                            SPRING LAKE       NJ 07762
PRESTON, GORDON             PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                     BERKELEY          CA 94710‐1749
PRESTON, GORDON W           4624 MOUNT READ BLVD                                                                      ROCHESTER         NY 14616‐1124
PRESTON, GREGORY K          1806 E WREN BLVD                                                                          ALBANY            IN 47320‐1439
PRESTON, GRETA J            RR 2 BOX 481                                                                              ADRIAN            MO 64720‐9598
PRESTON, GROVER W           84 HIGH MANOR DR APT 7                                                                    HENRIETTA         NY 14467‐9132
PRESTON, GUY W              5144 WYNDEMERE COMMON SQ                                                                  SWARTZ CREEK      MI 48473‐8964
PRESTON, HARRY F            PO BOX 383                                                                                BLUE JAY          CA 92317‐0383
PRESTON, HARRY S            1829 WILLOWBROOK CIR                                                                      FLINT             MI 48507‐1412
PRESTON, HAZEL M            33 COYER RD                                                                               HAINES CITY       FL 33844‐9700
PRESTON, HERBERT M          1983 CLYDE RD                                                                             HIGHLAND          MI 48357‐2101
PRESTON, HERMAN             PO BOX 4456                                                                               VISALIA           CA 93278‐4456
PRESTON, HOMER L            1669 S OCQUEOC RD                                                                         MILLERSBURG       MI 49759‐9580
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Name                       Address1                           Address2                      Address3   Address4         City               State Zip
PRESTON, HOWARD G          241 REYMONT RD                                                                               WATERFORD           MI 48327‐2863
PRESTON, HUGH J            1240 RUSSELL ST                                                                              YPSILANTI           MI 48198‐5971
PRESTON, IRENE P           3862 HERREN DR SW                                                                            SMYRNA              GA 30082‐3022
PRESTON, JACK W            7934 CAHALL DR                                                                               WAYNESVILLE         OH 45068‐9517
PRESTON, JAMES E           1208 GOOSEBERRY CT                                                                           BURTON              MI 48529‐2256
PRESTON, JAMES E           414 N BURRIS AVE APT C                                                                       COMPTON             CA 90221‐2880
PRESTON, JAMES L           PO BOX 374                                                                                   W MIDDLESEX         PA 16159‐0374
PRESTON, JAMES M           2669 BURNHAM RD                                                                              ROYAL OAK           MI 48073‐3714
PRESTON, JAMES S           4005 NW 26TH ST                                                                              OKLAHOMA CITY       OK 73107‐1443
PRESTON, JAMES T           7541 YALE RD                                                                                 GREENWOOD           MI 48006‐1519
PRESTON, JAMES W           1030 MITCHELL DR                                                                             WINDER              GA 30680‐3882
PRESTON, JAMES W           1227 V                                                                                       GLENN HEIGHTS       TX 75154
PRESTON, JAMES W           4775 E M‐71                                                                                  CORUNNA             MI 48817
PRESTON, JAMIE LYNN        2919 W KALAMAZOO ST                                                                          LANSING             MI 48917‐3874
PRESTON, JEAN M            41645 KENILWORTH LN                                                                          NOVI                MI 48377‐1597
PRESTON, JEREMY D          2611 QUAIL RUN ST                                                                            OAKLAND TOWNSHIP    MI 48306‐1255
PRESTON, JERRY E           330 AVON PKWY                                                                                AVON                IN 46123‐9672
PRESTON, JERRY L           5372 MANDARIN CIR                                                                            HIXSON              TN 37343‐6800
PRESTON, JERRY V           5718 COUNTRY LN                                                                              YPSILANTI           MI 48197‐9387
PRESTON, JESSICA           27913 SKYCREST CIRCLE DR                                                                     VALENCIA            CA 91354‐1408
PRESTON, JOAN M            7269 BLUEBILL ST                                                                             CLAY                MI 48001‐4105
PRESTON, JOHN              5747 FRANKLIN ST                                                                             SPRUCE              MI 48762‐9565
PRESTON, JOHN A            7661 YALE RD                                                                                 GREENWOOD           MI 48006‐1520
PRESTON, JOHN E            7920 MIMOSA DR                                                                               PORT RICHEY         FL 34668‐3288
PRESTON, JOHN M            5144 WYNDEMERE COMMON SQ                                                                     SWARTZ CREEK        MI 48473‐8964
PRESTON, JOHN N            209 FRASER ST                                                                                YALE                MI 48097‐2926
PRESTON, JOHN R            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                              STREET, SUITE 600
PRESTON, JOHN W            1909 LILLY ST                                                                                LONGVIEW           TX   75602‐3175
PRESTON, JONATHAN R        6130 FISH LAKE RD                                                                            NORTH BRANCH       MI   48461‐9680
PRESTON, JONATHAN ROBERT   6130 FISH LAKE RD                                                                            NORTH BRANCH       MI   48461‐9680
PRESTON, JOSEPH E          1637 LONGBOW LN                                                                              W CARROLLTON       OH   45449‐2344
PRESTON, JUANITA R         3125 WILLIAMSWOOD RD                                                                         RICHMOND           VA   23235
PRESTON, KAREN L           2700 E FENWAY DR                                                                             OAK CREEK          WI   53154‐3478
PRESTON, KATHLEEN E.       15639 CHURCHILL ST                                                                           SOUTHGATE          MI   48195‐3290
PRESTON, KEISHA R          1301 E DEBBIE LN STE 102                                                                     MANSFIELD          TX   76063
PRESTON, KENNETH A         16530 NORFOLK DR                                                                             MACOMB             MI   48044‐4082
PRESTON, KENNETH F         7165 OAK RD                                                                                  VASSAR             MI   48768‐9290
PRESTON, KENNETH L         740 N POWELL RD                                                                              ESSEXVILLE         MI   48732‐1765
PRESTON, KENNETH R         2092 OKEMOS RD                                                                               MASON              MI   48854‐9473
PRESTON, KENNETH V         1850 R.W. BERENDS DR S.W                                                                     WYOMING            MI   49519
PRESTON, KIMBERLY A        1305 HEINZ AVE                                                                               SHARON             PA   16146‐3543
PRESTON, LARRY B           PO BOX 445                                                                                   MEDWAY             OH   45341
PRESTON, LARRY E           264 SOUTHWOOD AVE                                                                            COLUMBUS           OH   43207‐1268
PRESTON, LARRY R           5902 N GLENMOOR LN                                                                           JANESVILLE         WI   53545‐9614
PRESTON, LAURIE L          429 DAYTONA DR                                                                               GOLETA             CA   93117‐2565
PRESTON, LAURIN D          153 LESDALE DR                                                                               TROY               MI   48085‐1562
PRESTON, LAWRENCE T        1321 KENTUCKY AVE                                                                            GADSDEN            AL   35903‐3167
PRESTON, LEE F             7652 OAK RD                                                                                  MILLINGTON         MI   48746‐9630
PRESTON, LEE L             2760 W PRICE RD                                                                              SAINT JOHNS        MI   48879‐9271
PRESTON, LEO               PO BOX 351010                                                                                DETROIT            MI   48235‐5910
PRESTON, LINDA J           3058 E AVENUE R4                                                                             PALMDALE           CA   93550‐5670
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Name                        Address1                      Address2                       Address3   Address4         City                 State Zip
PRESTON, LINDA KAY          2049 S WAVERLY RD                                                                        EATON RAPIDS          MI 48827‐9717
PRESTON, LINDA M            35209 DEWBERRY ST                                                                        FARMINGTON HILLS      MI 48331‐2032
PRESTON, LINDA MARGARET     35209 DEWBERRY ST                                                                        FARMINGTON HILLS      MI 48331‐2032
PRESTON, LONNIE J           4632 PALOMAR AVE                                                                         TROTWOOD              OH 45426‐1943
PRESTON, LORENE M           4466 RAINBOW LANE                                                                        FLINT                 MI 48507‐6227
PRESTON, LORI D             4 LINKSHIRE DR                                                                           BORGER                TX 79007‐8424
PRESTON, LOURAINE           PO BOX 266                                                                               SPRINGFIELD           OH 45501‐0266
PRESTON, LOURAINE           P.O. BOX 266                                                                             SPRINGFIELD           OH 45501‐0266
PRESTON, LOWELL T           1125 N SUNSET DR                                                                         PIQUA                 OH 45356‐4445
PRESTON, LYNETTE M          605 PLUM GROVE RD APT 1A                                                                 ROSELLE                IL 60172‐1338
PRESTON, MARGARET           1555 WHEATLAND CENTER RD                                                                 SCOTTSVILLE           NY 14546
PRESTON, MARGARET           27 HIDDEN GREEN LANE                                                                     ISLE OF PALMS         SC 29451
PRESTON, MARGARET D         12750 HERBISON RD                                                                        EAGLE                 MI 48822‐9648
PRESTON, MARGARET D         12750 W HERBISON RD                                                                      EAGLE                 MI 48822‐9648
PRESTON, MARGARET E         PO BOX 91                                                                                MIDLAND               MD 21542‐0091
PRESTON, MARILYN D          2024 N PURDUM ST                                                                         KOKOMO                IN 46901‐2477
PRESTON, MARY J             8939 W HILLTOP LN                                                                        ELWOOD                IN 46036‐8862
PRESTON, MAURICE F          3432 E 46TH ST                                                                           KANSAS CITY           MO 64130‐2051
PRESTON, MAURICE FRANK      6425 SOUTH BENTON AVENUE                                                                 KANSAS CITY           MO 64132‐1170
PRESTON, MAX D              33 COYER RD                                                                              HAINES CITY           FL 33844
PRESTON, MELANIE A          801 SYME STREET                                                                          MASURY                OH 44438‐1665
PRESTON, MELANIE R          PO BOX 59                                                                                MILAN                 MI 48160‐0059
PRESTON, MELANIE RAE        PO BOX 59                                                                                MILAN                 MI 48160‐0059
PRESTON, MERRY LOU          6671 KIES ST NE                                                                          ROCKFORD              MI 49341‐9698
PRESTON, MICHAEL J          210 WEDGEFIELD CIR                                                                       NEW CASTLE            DE 19720‐3750
PRESTON, MICHAEL L          1076 ORTMAN RD                                                                           MARQUETTE             MI 49855
PRESTON, MORONIA G          465 LUTHER AVE                                                                           PONTIAC               MI 48341‐2571
PRESTON, MORONIA GAMALIEL   465 LUTHER AVE                                                                           PONTIAC               MI 48341‐2571
PRESTON, NAOMI              32 WYNDEMERE DR                                                                          FRANKLIN              OH 45005‐2434
PRESTON, NELLIE E           7165 OAK RD                                                                              VASSAR                MI 48768‐9290
PRESTON, NELLIE G           17166 SNOWDEN                                                                            DETROIT               MI 48235‐4148
PRESTON, OLGA H             2121 4TH STREET               APT. 6                                                     MONROE                WI 53566
PRESTON, OLGA H             2121 4TH ST APT 6                                                                        MONROE                WI 53566‐1270
PRESTON, OLIVIA M           267 RIDGEDALE CIRCLE                                                                     ROCHESTER             NY 14616‐5307
PRESTON, PAMELA G           5506 BROOMALL STREET                                                                     DAYTON                OH 45424‐4230
PRESTON, PAT                1709 ABERDEEN DR                                                                         ARLINGTON             TX 76015‐1348
PRESTON, PAT                1709 ABERDEEN                                                                            ARLINGTON             TX 76015‐1348
PRESTON, PATRICIA           16161 ESKES ST                                                                           LANSING               MI 48906‐1902
PRESTON, PATRICIA A         3751 W COVERT RD.                                                                        LESLIE                MI 49251‐9711
PRESTON, PATRICIA A         3751 COVERT RD                                                                           LESLIE                MI 49251‐9711
PRESTON, PAUL A             227 THOMAS RD                                                                            LISBON                OH 44432‐1153
PRESTON, PAUL B             109 SHORE CLUB DR                                                                        SAINT CLAIR SHORES    MI 48080‐1549
PRESTON, RACHEL B           PO BOX 431175                                                                            PONTIAC               MI 48343‐1175
PRESTON, RAY V              5727 COTTONWOOD ST                                                                       SHAWNEE               KS 66216‐5017
PRESTON, RAYMOND E          734 HARTNER DR                                                                           HOLLY                 MI 48442‐1271
PRESTON, REBECCA            6425 S BENTON AVE                                                                        KANSAS CITY           MO 64132‐1170
PRESTON, RHYS C             5676 BROADWAY ST                                                                         LANCASTER             NY 14086‐2319
PRESTON, ROBERT CHARLES     4157 LEITH ST                                                                            BURTON                MI 48509
PRESTON, ROBERT E           2173 S VAN DYKE RD                                                                       BAD AXE               MI 48413‐8448
PRESTON, ROBERT E           223 BLACK HAWK WAY                                                                       MURFREESBORO          TN 37127‐6391
PRESTON, ROBERT E           MAZUR & KITTEL PLLC           1490 FIRST NATIONAL BUILDING                               DETROIT               MI 48226
PRESTON, ROBERT L           328 CHURCH ST                                                                            BELLEVILLE            MI 48111
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Name                                Address1                           Address2                      Address3   Address4         City              State Zip
PRESTON, ROBERT L                   35 VISTA LOOP                                                                                HANOVER            PA 17331‐7457
PRESTON, ROBERT LEE                 35 VISTA LOOP                                                                                HANOVER            PA 17331‐7457
PRESTON, ROBERT R                   4211 GRUBBS REX RD.                                                                          ARCANUM            OH 45304‐9221
PRESTON, ROBERT V                   16215 WALNUT GRV                                                                             MANCHESTER         MI 48158‐8301
PRESTON, ROBIN K                    1210 MORTS PASS                                                                              CINCINNATI         OH 45215
PRESTON, ROYCE                      PORTER & MALOUF PA                 4670 MCWILLIE DR                                          JACKSON            MS 39206‐5621
PRESTON, RUBY                       1076 ORTMAN ROAD                                                                             MARQUETTE          MI 49855‐9399
PRESTON, SANDRA                     200 S SHORE DR                                                                               DALLAS             TX 75216‐1037
PRESTON, SARAH K                    3411 DURHAM RD                                                                               ROYAL OAK          MI 48073‐2340
PRESTON, SEAN E                     361 GRANDVIEW CIRCLE                                                                         COLUMBIA           SC 29229‐9565
PRESTON, SEAN ERIC                  361 GRANDVIEW CIRCLE                                                                         COLUMBIA           SC 29229‐9565
PRESTON, SHARON L                   4632 PALOMAR AVE                                                                             TROTWOOD           OH 45426‐1943
PRESTON, SHERMAN L                  5666 LAKE MANOR DR                                                                           FAIRFIELD          OH 45014‐4451
PRESTON, SHIRLEY                    4466 KNOB HILL DR                                                                            BELLBROOK          OH 45305‐1427
PRESTON, SHIRLEY J                  5144 WYNDEMERE COMMON SQ                                                                     SWARTZ CREEK       MI 48473‐8964
PRESTON, STANLEY D                  1817 CHAPMAN AVE NE                                                                          HUNTSVILLE         AL 35811‐2203
PRESTON, STELLA L                   5438 HAVERFIELD RD                                                                           DAYTON             OH 45432‐3535
PRESTON, STEPHANIE                  534 BALDWIN AVE                                                                              NILES              OH 44446
PRESTON, STEVEN D                   6130 FISH LAKE RD                                                                            NORTH BRANCH       MI 48461‐9680
PRESTON, SUSAN L                    24 RED CEDAR DR                                                                              TROY               OH 45373‐5373
PRESTON, TERRY A                    1241 E SOUTHWAY BLVD                                                                         KOKOMO             IN 46902
PRESTON, TERRY D                    4443 WHITTON WAY                                                                             NEW PORT RICHEY    FL 34653‐6366
PRESTON, THERESA A                  9521 S W 102 PLACE                                                                           OCALA              FL 34481‐9264
PRESTON, THERESA A                  9521 SW 102ND PL                                                                             OCALA              FL 34481‐9264
PRESTON, THOMAS E                   5527 227TH ST SE                                                                             BOTHELL            WA 98021‐8006
PRESTON, TIMOTHY P                  9643 NOGGLES RD                                                                              MANCHESTER         MI 48158‐9666
PRESTON, TODD D                     2611 BROWNLEE RD                                                                             BOSSIER CITY       LA 71111‐2013
PRESTON, TODD K                     56 LEERIE DR                                                                                 ROCHESTER          NY 14612‐2918
PRESTON, VINCENT T                  1118 BROWN DR                                                                                MILTON             WI 53563‐1783
PRESTON, VIRGINIA                   413 PRESTON CREEK DRIVE                                                                      MCDONOUGH          GA 30253
PRESTON, WALTER E                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
PRESTON, WELDON L                   6208 ROUGH RD                                                                                CLEBURNE          TX   76031‐0970
PRESTON, WHITNEY M                  3012 NELLBERT STREET                                                                         KALAMAZOO         MI   49001‐4562
PRESTON, WILLIAM A                  912 POPPY HILLS CT                                                                           BOWLING GREEN     KY   42104‐5570
PRESTON, WILLIAM D                  ANGELOS PETER G LAW OFFICE         1300 N MARKET ST STE 212                                  WILMINGTON        DE   19801‐1813
PRESTON, WILLIAM F                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                       STREET, SUITE 600
PRESTON, WILLIAM R                  727 E MICHIGAN AVE                                                                           MARSHALL          MI   49068‐2023
PRESTON, WILMA C                    4331 STEINWAY DR                                                                             DAYTON            OH   45416
PRESTON, WILMA F                    301 5TH ST                                                                                   NEW CASTLE        DE   19720‐5944
PRESTON,SHARON L                    4632 PALOMAR AVE                                                                             TROTWOOD          OH   45426‐1943
PRESTONE PRODUCTS CORP              PO BOX 198467                                                                                ATLANTA           GA   30384‐8467
PRESTOPNIK, HELEN R                 339 COUNTRY CLUB DR                                                                          NEW ORLEANS       LA   70124‐1036
PRESTOY JR, GEORGE P                150 HOMESTEAD AVE                                                                            REHOBOTH          MA   02769‐1404
PRESTRIDGE, DOYLE W                 1939 CHANCERY DR                                                                             TROY              MI   48085‐1432
PRESTRIDGE, RALPH                   GUY WILLIAM S                      PO BOX 509                                                MCCOMB            MS   39649‐0509
PRESTWOOD, BAKKENSON & ASSOCIATES   10851 N BLACK CANYON HWY STE 760                                                             PHOENIX           AZ   85029‐4762
LLC
PRESTWOOD, DOROTHY                  67 SHADYBROOK DRIVE                                                                          CENTERVILLE       OH 45459‐1928
PRESTWOOD, JACK S                   1904 COLTON DR                                                                               KETTERING         OH 45420‐1442
PRESTWOOD, JACK SIDNEY              1904 COLTON DR                                                                               KETTERING         OH 45420‐1442
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Name                                   Address1                        Address2                        Address3   Address4              City              State Zip
PRESUTTI DOMINIC                       PRESUTTI, DOMINIC               1101 VIRGINIA AVE                                                MIDLAND            PA 15059
PRESUTTI, DOMINIC                      1101 VIRGINIA AVE                                                                                MIDLAND            PA 15059
PRETARI, JOSEPH H                      12885 JASMINE CT                                                                                 STERLING HTS       MI 48313‐1160
PRETE DUSTIN                           PRETE, DUSTIN                   1930 E MARLTON PIKE SUITE Q29                                    CHERRY HILL        NJ 08003
PRETE, DUSTIN                          KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE Q29                                    CHERRY HILL        NJ 08003
PRETHER, LORIE E                       130 VALENTINE DR                                                                                 DAYTON             OH 45431‐1924
PRETHER, RANDY P                       11188 W ISLAND RD                                                                                FOWLER             MI 48835‐9726
PRETIGER, JOSEPH M                     300 LUMAN RD UNIT 121                                                                            PHOENIX            OR 97535‐9742
PRETLOW, THEODORE                      1869 PATERSON ST                                                                                 RAHWAY             NJ 07065‐5211
PRETNAR, CAROLE E                      5890 ALABAMA AVE                                                                                 CLARENDON HILLS     IL 60514‐1722
PRETO, JAMES P                         2350 PRINCETON PIKE APT 332                                                                      LAWRENCE TWP       NJ 08648‐3942
PRETTEJOHN, ANTHONY M                  13808 BRADSHAW ST                                                                                OVERLAND PARK      KS 66221‐2870
PRETTIE AYERS                          PO BOX 1063                                                                                      BUFFALO            NY 14215‐6063
PRETTIE CRIM                           1716 WEST AVE                                                                                    ELYRIA             OH 44035‐7644
PRETTO, THOMAS A                       77 MEADOW FARM                                                                                   NORTH CHILI        NY 14514‐1322
PRETTY DAVID W                         C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                              LITTLE ROCK        AR 72201
PRETTY PROD/COSHOCTO                   1513 REDDING DR                                                                                  LAGRANGE           GA 30240‐5719
PRETTY PRODUCTS INC                    1513 REDDING DR                                                                                  LAGRANGE           GA 30240‐5719
PRETTY PRODUCTS LLC                    1513 REDDIG DR                                                                                   LAGRANGE           GA 30240‐5719
PRETTY PRODUCTS LLC                    1513 REDDING DR                                                                                  LAGRANGE           GA 30240‐5719
PRETTY PRODUCTS LLC                    437 CAMBRIDGE RD                                                                                 COSHOCTON          OH 43812‐2260
PRETTY PRODUCTS LLC                    437 CAMBRIDGE RD                PO BOX 6002                                                      COSHOCTON          OH 43812‐2260
PRETTY, CARL R                         3700 TAYLOR GLEN LN NW          APT 233B                                                         CONCORD            NC 28027‐3439
PRETTY, DAVID W                        C/O MOODY                       801 WEST FOURTH ST                                               LITTLE ROCK        AR 72201
PRETTY, RONALD R                       22990 BEVERLY ST                                                                                 ST CLAIR SHRS      MI 48082‐1112
PRETTYMAN CYNTHIA S                    6155 ASTORIA DR                                                                                  LAKE WORTH         FL 33463
PRETTYMAN LARRY (ESTATE OF) (638204)   BRAYTON PURCELL                 PO BOX 6169                                                      NOVATO             CA 94948‐6169

PRETTYMAN, LARRY                       BRAYTON PURCELL                 PO BOX 6169                                                      NOVATO            CA   94948‐6169
PRETTYMAN, SALLIE A                    4114 NEWTON AVE                                                                                  BALTIMORE         MD   21215
PRETTYMAN, STEPHEN R                   3367 ALDER LN                                                                                    WOODBURY          MN   55129‐6265
PRETZEL, BERNARD G                     4425 DOANE HWY                                                                                   POTTERVILLE       MI   48876‐8745
PRETZER JR, NORMAN L                   1142 BARBEAU DR                                                                                  SAGINAW           MI   48638‐5401
PRETZER, ANDREW                        148 VICTOR CABBAGE RD                                                                            HOHENWALD         TN   38462‐5260
PRETZER, BARBARA A                     3916 2 MILE RD                                                                                   BAY CITY          MI   48706‐9245
PRETZER, DAVID L                       2815 FROEDE RD                                                                                   KINGSTON          MI   48741‐9528
PRETZER, DUANE A                       4763 KOCHVILLE RD                                                                                SAGINAW           MI   48604‐9237
PRETZER, GARY L                        14154 GRATIOT ROAD                                                                               HEMLOCK           MI   48626‐8453
PRETZER, GARY M                        148 VICTOR CABBAGE RD                                                                            HOHENWALD         TN   38462‐5260
PRETZER, GERALD D                      19700 ITHACA RD                                                                                  BRANT             MI   48614‐8772
PRETZER, KENNETH A                     5129 SHATTUCK RD                                                                                 SAGINAW           MI   48603‐2888
PRETZER, KENNETH A                     1313 S FORDNEY RD                                                                                HEMLOCK           MI   48626‐8405
PRETZER, MARY L                        2043 N RAUCHOLZ RD                                                                               HEMLOCK           MI   48626‐8464
PRETZER, RONALD C                      135 NORBERT LN                                                                                   HEMLOCK           MI   48626‐8767
PREUETT JEFFREY R                      6185 VALERIAN CT                                                                                 GRAND BLANC       MI   48439‐2325
PREUIT, JOHN M                         8985 MARLOW DR                                                                                   SHREVEPORT        LA   71118‐2754
PREUSCH, LARRY E                       3451 CAROL ANN LANE                                                                              MIDDLETOWN        OH   45044‐7853
PREUSS J CHRISTOPHER                   WAIDLISTRASSE 32                HORGEN                                     CH‐8810 SWITZERLAND
                                                                                                                  SWITZERLAND
PREUSS JR, WILLIAM G                   9523 FAIRFAX DR                                                                                  PINCKNEY           MI 48169‐8404
PREUSS, EDWARD W                       9523 FAIRFAX DR                                                                                  PINCKNEY           MI 48169‐8404
PREUSS, GILBERT W                      18007 N 135TH AVE                                                                                SUN CITY WEST      AZ 85375‐4930
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Name                                  Address1                             Address2                           Address3                     Address4                 City               State Zip
PREUSS, J C                           PO BOX 9022                          C/O ZURICH                                                                               WARREN              MI 48090‐9022
PREUSS, J CHRISTOPHER                 PO BOX 9022                          C/O ZURICH                                                                               WARREN              MI 48090‐9022
PREUSS, KENNETH D                     12738 DORWOOD RD                                                                                                              BURT                MI 48417‐9417
PREUSS, MANFRED                       21900 S JEFFERSON PKWY                                                                                                        HARRISONVILLE       MO 64701‐4234
PREUSSER, BRIAN A                     13099 ALCOTT PL                                                                                                               BROOMFIELD          CO 80020‐0811
PREUSSER, MICHELLE D                  22 WASHINGTON AVE                                                                                                             NILES               OH 44446‐2425
PREUTH, JEANETTE                      7926 INCLINE RD                                                                                                               RUSSELLVILLE        OH 45168‐9751
PREUTH, JEANETTE                      7926 INCLINE ROAD                                                                                                             RUSSELLVILLE        OH 45168‐9751
PREUTH, JOHN                          7926 INCLINE RD                                                                                                               RUSSELLVILLE        OH 45168‐9751
PREVAS, PETER C                       6871 CATHEDRAL DR                                                                                                             BLOOMFIELD HILLS    MI 48301‐3050
PREVATT, OVEDIA E                     6114 S COUNTY ROAD 229               GLEN ST                                                                                  GLEN SAINT MARY     FL 32040‐5438
PREVATT, OVEDIA E                     6114 COUNTY RD 229 S                 GLEN ST                                                                                  MARY                FL 32040‐5438
PREVE, CLAUDIA                        2585 WHITEHAVEN RD                                                                                                            GRAND ISLAND        NY 14072‐1553
PREVE, FRANCIS L                      2585 WHITEHAVEN RD                                                                                                            GRAND ISLAND        NY 14072‐1553
PREVENT BLINDNESS AMERICA             ALCON LABORATORIES INC               6201 SOUTH FWY                                                                           FORT WORTH          TX 76134‐2001
PREVENT CHILD ABUSE DELEWARE          100 W 10TH ST STE 715                                                                                                         WILMINGTON          DE 19801‐6605
PREVENTION PARTNERSHIP                PO BOX 1013                                                                                                                   BOWLING GREEN       KY 42102‐1013
PREVENTIVE CARDIOVASCULAR INSTITUTE   18303 E 10 MILE RD                   STE 100                                                                                  ROSEVILLE           MI 48066‐4989

PREVENTIVE MEDICINE                   2284 S BALLENGER HWY STE H                                                                                                    FLINT              MI   48503‐3446
PREVENTO, ENRICO                      238 RED LINE DR                                                                                                               BEAR               DE   19701
PREVETT, DARREL W                     112 MARR RD SW                                                                                                                CARTERSVILLE       GA   30120
PREVETT, DOROTHY E                    49 ENCLAVE                                                                                                                    PARAGOULD          AR   72450‐6010
PREVETT, JEFFREY R                    6185 VALERIAN CT                                                                                                              GRAND BLANC        MI   48439‐2325
PREVETT, JIMMIE W                     5376 MAURA DR                                                                                                                 FLUSHING           MI   48433‐1056
PREVETT, RONNIE D                     4139 S GENESEE RD                                                                                                             GRAND BLANC        MI   48439‐7966
PREVETT, TERRY A                      7137 N SEYMOUR RD                                                                                                             FLUSHING           MI   48433‐9240
PREVETT, TERRY ALLEN                  7137 N SEYMOUR RD                                                                                                             FLUSHING           MI   48433‐9240
PREVETT, TIMOTHY D                    6168 LONE OAK CIR                                                                                                             GRAND BLANC        MI   48439‐9460
PREVETTE, FANNIE L                    5386 WESTCHESTER DR                                                                                                           FLINT              MI   48532‐4052
PREVETTE, HENRY R                     8080 LOWER THOMASTON RD                                                                                                       MACON              GA   31220‐6732
PREVETTE, LADONNA C                   1525 HELMSTETLER RD                                                                                                           LEXINGTON          NC   27295‐5073
PREVETTE, MICHAEL W                   5070 MERIT DR                                                                                                                 FLINT              MI   48506‐2127
PREVETTE, PHILIP                      107 ROCKY DR                                                                                                                  COLUMBIA           TN   38401‐6155
PREVETTE, ROBERT M                    8080 LOWER THOMASTON RD                                                                                                       MACON              GA   31220
PREVIANT, GOLDBERG, UELMEN, GRATZ,    ATT: SARA J. GEENEN, ESQ.            1555 N. RIVERCENTER DRIVE, SUITE   P.O. BOX 12993                                        MILWAUKEE          WI   53212
MILLER & BRUEGGEMAN, S.C.                                                  202
PREVIANT, GOLDBERG, UELMEN, GRATZ,    ATTN: FREDERICK PERILLO              1555 N. RIVERCENTER DRIVE, SUITE   P.O. BOX 12993                                        MILWAUKEE          WI 53212
MILLER & BRUEGGEMAN, S.C.                                                  202
PREVIANT, GOLDBERG, UELMEN, GRATZ,    ATTY FOR INTERNATIONAL ASSOCIATION   ATTN: FREDERICK PERILLO,           1555 N. RIVERCENTER DRIVE,   P.O. BOX 12993           MILWAUKEE          WI 53212
MILLER & BRUEGGEMAN, SC               OF MACHINISTS AND AEROSPACE          MARIANNE G. ROBBINS, SARA J.       SUITE 202
                                      WORKERS                              GEENEN
PREVICH, JAMES E                      12062 W SHORE DR                                                                                                              HOUGHTON LAKE      MI 48629‐8646
PREVICH, JOSEPH R                     PO BOX 66                                                                                                                     LEWISTON           MI 49756‐0066
PREVICH, JOSEPH RICHARD               PO BOX 66                                                                                                                     LEWISTON           MI 49756‐0066
PREVIDI MILVA                         VIA MANFREDO FANTI NO 4                                                                              41012 CARPI (MO) ITALY
PREVILLE, ARTHUR J                    2461 BEVERLY BLVD                                                                                                             FLINT              MI   48504‐6551
PREVILLE, BARBARA A                   401 AUGUST DR                                                                                                                 FOSTORIA           MI   48435‐9704
PREVILLE, EDWARD J                    3177 RED BARN RD                                                                                                              FLINT              MI   48507‐1211
PREVILLE, GARRY D                     1340 W BROWN RD                                                                                                               MAYVILLE           MI   48744‐9547
PREVILLE, MARGARET                    41905 HYSTONE ST                                                                                                              CANTON             MI   48187‐3853
PREVILLE, ROBERT G                    5100 BARR RD                                                                                                                  CANTON             MI   48188‐2226
                         09-50026-mg              Doc 7123-32      Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                     Address1                            Address2                        Address3   Address4              City            State Zip
PREVILLE, STACIE K       2839 WATCHHILL DR                                                                                    LAPEER           MI 48446‐8767
PREVISH, THOMAS D        32031 SPERLING DR                                                                                    SAINT HELENS     OR 97051‐9108
PREVITE, ALBERT          PO BOX 452                                                                                           ALAMO            TN 38001‐0452
PREVITE, DARLENE C       1436 SE 13TH TER                                                                                     CAPE CORAL       FL 33990‐3727
PREVITE, DEAN            9 JEAN RD                                                                                            E BRUNSWICK      NJ 08816‐1367
PREVITE, FRANCIS J       1436 SE 13TH TER                                                                                     CAPE CORAL       FL 33990‐3727
PREVO JR, RONALD L       5250 N IRISH RD                                                                                      DAVISON          MI 48423‐8911
PREVO JR, RONALD LEE     5250 N IRISH RD                                                                                      DAVISON          MI 48423‐8911
PREVO JUSTIN             5097 W COURT ST                                                                                      FLINT            MI 48532‐4112
PREVO, ANTHONY C         1055 E 98TH ST                                                                                       CLEVELAND        OH 44108‐3343
PREVO, BARBARA           2836 BEGOLE ST                                                                                       FLINT            MI 48504‐3038
PREVO, CHANEL C          11705 SHADELAND AVENUE                                                                               CLEVELAND        OH 44108‐1547
PREVO, DARWIN K          10218 SEYMOUR RD                                                                                     MONTROSE         MI 48457‐9014
PREVO, JAMES D           1277 GRAM ST                                                                                         BURTON           MI 48529‐2021
PREVO, JANET ANN         626 W MAPLE ST                                                                                       IRON RIVER       MI 49935‐1747
PREVO, JOHN A            11375 E CARPENTER RD                                                                                 DAVISON          MI 48423‐9391
PREVO, JORDAN L          5242 N IRISH RD                                                                                      DAVISON          MI 48423‐8911
PREVO, LARRY L           2275 INDIAN RD                                                                                       LAPEER           MI 48446‐8043
PREVO, LARRY LEE         2275 INDIAN RD                                                                                       LAPEER           MI 48446‐8043
PREVO, LAWRENCE L        4436 MOLLWOOD DR                                                                                     FLINT            MI 48506‐2007
PREVO, LEANNE M          1119 GREENAWAY PL                                                                                    NEW ALBANY       IN 47150‐3257
PREVO, LOIS J            96 HOOVER CT                                                                                         DAVISON          MI 48423‐8532
PREVO, MARY JANE         11375 E CARPENTER RD                                                                                 DAVISON          MI 48423‐9391
PREVO, PATRICK W         13767 JACKPINE TRL                                                                                   ONAWAY           MI 49765‐8558
PREVO, PERRY O           11260 BELLMAN RD                                                                                     GRASS LAKE       MI 49240‐9301
PREVO, PERRY OLIVER      11260 BELLMAN RD                                                                                     GRASS LAKE       MI 49240‐9301
PREVO, RICHARD A         630 W GENESEE ST                                                                                     IRON RIVER       MI 49935
PREVO, ROBERT E          54 ABBOTT ST                                                                                         RIVER ROUGE      MI 48218‐1503
PREVO, RONALD L          9421 LINDA DR                                                                                        DAVISON          MI 48423‐1798
PREVO, TAMARA R          1230 NANCYWOOD DR                                                                                    WATERFORD        MI 48327‐2039
PREVO, TAMARA RUTH       1230 NANCYWOOD DR                                                                                    WATERFORD        MI 48327‐2039
PREVO, WILLIAM H         4629 5TH ST                                                                                          ECORSE           MI 48229‐1046
PREVOST DEBORAH          PREVOST, DEBORAH                    PO BOX 2867                                                      HAMMOND          LA 70404‐2867
PREVOST FORTIN D'AOUST   ATTN: ANDRE MORIN                   1240, BEAUMONT AVENUE, OFFICE              MONTREAL QC H3P 3E5
                                                             100
PREVOST, ALBERT          3255 SAN PABLO AVE APT 104                                                                           OAKLAND         CA   94608‐4294
PREVOST, ANTHONY A       5065 PRESTONWOOD LN                                                                                  FLUSHING        MI   48433‐1381
PREVOST, BARBARA D       11938 CARL ST                                                                                        LAKE VIEW TER   CA   91342‐6429
PREVOST, DAVID L         12528 WALLACE DR                                                                                     CLIO            MI   48420‐1845
PREVOST, DAVID W         4566 CAMP DAGGETT RD                                                                                 BOYNE CITY      MI   49712‐9221
PREVOST, DEBORAH         SOUTHEAST LOUSIANA LEGAL SERVICES   PO BOX 2867                                                      HAMMOND         LA   70404‐2867
                         CORPORATION
PREVOST, DENNIS L        9020 POINT CHARITY DR                                                                                PIGEON          MI   48755
PREVOST, DENNIS L        4096 WOODROW AVE                                                                                     BURTON          MI   48509‐1012
PREVOST, FRANCES M       97 FREEDOM POND LN                                                                                   N CHILI         NY   14514‐1241
PREVOST, GRACE A         37550 CHARTER OAKS BLVD CT M                                                                         CLINTON TWP     MI   48036
PREVOST, IDA A           52 QUEENSBORO RD                                                                                     ROCHESTER       NY   14609‐4413
PREVOST, JOHN ANTHONY    1084 DUNKIRK AVE                                                                                     MOUNT MORRIS    MI   48458‐2571
PREVOST, JOHN ANTHONY    3101 MERWOOD DR #1                                                                                   MOUNT MORRIS    MI   48458‐8251
PREVOST, JOHN ANTHONY    1084 DUNKIRK ST                                                                                      MOUNT MORRIS    MI   48458
PREVOST, JULIE A         8379 BELLE BLUFF DR                                                                                  GRAND BLANC     MI   48439‐8954
PREVOST, KENNETH E       3290 S MERRILL RD                                                                                    MERRILL         MI   48637‐9708
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Name                      Address1                           Address2              Address3         Address4         City                State Zip
PREVOST, KENNETH EUGENE   3290 S MERRILL RD                                                                          MERRILL              MI 48637‐9708
PREVOST, LAWRENCE R       9346 VAN VLEET RD                                                                          GAINES               MI 48436‐9710
PREVOST, LAWRENCE RAY     9346 VAN VLEET RD                                                                          GAINES               MI 48436‐9710
PREVOST, LOUIS R          2129 6TH ST                                                                                BAY CITY             MI 48708‐6802
PREVOST, MARK T           S2401 HERMAN ST                                                                            COCHRANE             WI 54622
PREVOST, MELVIN           111 MEDFORD PL                                                                             FRANKLIN             TN 37064‐4933
PREVOST, NELLIE C         206 N HENRY ST                                                                             NEW CARLISLE         OH 45344‐1709
PREVOST, RANDY R          7362 GRANDWOOD DR                                                                          SWARTZ CREEK         MI 48473‐9416
PREVOST, RICHARD R        237 BURROWS AVE                                                                            ROSCOMMON            MI 48653‐9253
PREVOST, RITA E           16575 PHILLIPS RD                                                                          HOLLEY               NY 14470‐9335
PREVOST, ROBERT C         39 CLAREMONT DR                                                                            BRUNSWICK            OH 44212‐1503
PREVOST, ROBERT L         38051 LAKESHORE DR                                                                         HARRISON TOWNSHIP    MI 48045‐2856
PREVOST, RONALD F         4524 MIDDLETON CT                                                                          WEST BLOOMFIELD      MI 48323‐3633
PREVOST, THOMAS G         404 MAYFIELD LN                                                                            MIDLAND              MI 48640‐7331
PREVOST, THOMAS S         6722 E NASHWAY                                                                             W BLOOMFIELD         MI 48322‐3203
PREVOST, VALLOREE D       237 BURROWS AVE                                                                            ROSCOMMON            MI 48653‐9253
PREVOT, FLOSSIE           5035 MARK LN                                                                               INDIANAPOLIS         IN 46226‐2539
PREW, ARTHUR T            1960 CLEAR POINT CT                                                                        ROCHESTER HLS        MI 48306‐4004
PREW, CHRISTINA Z         19335 RIVERSIDE DR                                                                         BEVERLY HILLS        MI 48025‐2952
PREW, KERRY A             20531 CLEMENT RD                                                                           NORTHVILLE           MI 48167‐1356
PREW, KERRY ANN           20531 CLEMENT RD                                                                           NORTHVILLE           MI 48167‐1356
PREWEDA, IWAN             4444 E 11 MILE RD                                                                          WARREN               MI 48091‐1159
PREWETT, DELORES M        306 SUBURBAN DR                                                                            ANDERSON             IN 46017‐9692
PREWETT, DOUGLAS F        1128 E 31ST ST                                                                             ANDERSON             IN 46016‐5617
PREWETT, MARY C           9500 N WHEELING AVE LOT 61                                                                 MUNCIE               IN 47304‐9156
PREWETT, MARY C           9500 N. WHEELING ‐ BOX 61                                                                  MUNCIE               IN 47304‐9156
PREWETT, PAUL D           181 FAIRWAY CIR                                                                            LORETTO              TN 38469‐3252
PREWETT, PAULA E          4009 MOUNDS RD                                                                             ANDERSON             IN 46017‐1832
PREWETT, PHILIP M         1083 CLIFF WHITE RD                                                                        COLUMBIA             TN 38401‐6761
PREWETT, ROSALEE J        300 LAKE AVE NE                    UNIT 124                                                LARGO                FL 33771‐6607
PREWETT, ROSALEE J        300 LAKE AVE NE UNIT 124                                                                   LARGO                FL 33771‐6607
PREWITT II, CHARLES K     5171 LARCHVIEW DR                                                                          HUBER HEIGHTS        OH 45424‐2457
PREWITT'S A.R.S           13 SOUTHERN OAKS CT                                                                        SAVANNAH             GA 31405‐7427
PREWITT, ANDREA G         2745 CARTERS CREEK STATION RD                                                              COLUMBIA             TN 38401‐7308
PREWITT, ARNOLD           2052 HIGHLAND RD                                                                           MARYVILLE            TN 37801‐5471
PREWITT, BILLY J          2035 WOODMONT DR W                                                                         CANTON               MI 48188‐1647
PREWITT, BOBBY
PREWITT, BOBBY G          1219 FLAT HOLLOW RD                                                                        SPEEDWELL           TN   37870‐8140
PREWITT, BRENDA C         1219 FLAT HOLLOW RD                                                                        SPEEDWELL           TN   37870‐8140
PREWITT, CARL E           PO BOX 562                                                                                 FLAT ROCK           MI   48134‐0562
PREWITT, CHARLES A        6102 N CHARLOTTE ST                                                                        GLADSTONE           MO   64118‐5162
PREWITT, CHARLES E        224 CHURCH ST                                                                              WAYNESVILLE         OH   45068‐9727
PREWITT, CHARLES E        20685 SHERWOOD RD                                                                          BELLEVILLE          MI   48111‐9380
PREWITT, CHARLES E        224 CHURCH ST.                                                                             WAYNESVILLE         OH   45068‐5068
PREWITT, CHARLES K        5171 LARCHVIEW DRIVE                                                                       HUBER HEIGHTS       OH   45424‐2457
PREWITT, CHARLIE W        1045 MATTHEWS WAY                                                                          MCDONOUGH           GA   30252‐5776
PREWITT, CLESTER L        13641 DEXTER AVE APT 304                                                                   DETROIT             MI   48238‐2668
PREWITT, DALE W           133 ROBARDS LN                                                                             SPEEDWELL           TN   37870‐8141
PREWITT, DAVID E          244 WOOD FORGE CIRCLE                                                                      LEBANON             OH   45036‐8560
PREWITT, DAVID S          PO BOX 51178                                                                               FORT MONROE         VA   23651‐0178
PREWITT, ERNEST E         6408 N FOREST AVE                                                                          KANSAS CITY         MO   64118‐3510
PREWITT, GEORGIA ELAINE   4101 MAPLELEAF DR                                                                          DAYTON              OH   45416
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Name                        Address1                         Address2                  Address3    Address4         City               State Zip
PREWITT, GLADYS PAULINE     2212 S WEBSTER ST                                                                       KOKOMO              IN 46902‐3311
PREWITT, HAZEL              3008 SOUTH COUNTY RD 1300 EAST                                                          CROTHERSVILLE       IN 47229‐9802
PREWITT, HAZEL P            75 MOTE DR                       FBO HAZEL P PREWITT                                    COVINGTON           OH 45318‐1245
PREWITT, INGRID E           1045 MATTHEWS WAY                                                                       MCDONOUGH           GA 30252
PREWITT, IRENE              1920 LEITER RD                                                                          MIAMISBURG          OH 45342‐7628
PREWITT, IRENE              1920 LEITER ROAD                                                                        MIAMISBURG          OH 45342‐5342
PREWITT, JOHN C             202 W MARION ST                                                                         DANVILLE            IN 46122‐1756
PREWITT, JOSEPHINE          COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                HOUSTON             TX 77002‐1751
PREWITT, KENNETH R          407 N ELM ST                                                                            GEORGETOWN          OH 45121‐1109
PREWITT, LILA C             240 INTAKE LN                                                                           HENDERSON           NC 27537‐8872
PREWITT, MARGARET M         3386 HIGHWAY HH                                                                         BATES CITY          MO 64011‐8175
PREWITT, MARILYN
PREWITT, MARY B             870 OBERLIN DR                                                                          FAIRFIELD          OH   45014‐2833
PREWITT, PHILLIP R          PO BOX 34                                                                               MORGANTOWN         IN   46160‐0034
PREWITT, PHILLIP RAY        PO BOX 34                                                                               MORGANTOWN         IN   46160‐0034
PREWITT, ROGER L            5943 OAKWOOD ST                                                                         MONROE             MI   48161‐3960
PREWITT, RONALD L           6102 N CHARLOTTE ST                                                                     KANSAS CITY        MO   64118‐5162
PREWITT, SANDRA K           20685 SHERWOOD RD                                                                       BELLEVILLE         MI   48111‐9380
PREWITT, TROY A             14685 S HIGHWAY 307                                                                     BLUFFTON           AR   72827‐8045
PREWITT, TYLER
PREWITT, VELVA J            1882 MAUNEY CHAPLE RD                                                                   CORBIN             KY   40701‐8437
PREWITT, WILLIAM            8473 S STATE ROAD 335                                                                   PEKIN              IN   47165‐8527
PREY, DONALD G              1166 MIDDLETON PIKE                                                                     LUCKEY             OH   43443‐9781
PREY, NATHAN                2614 MATCHSTICK PL                                                                      SPRING HILL        TN   37174‐7159
PREYAT GILBERTE             67 RUE DE LA STATION             6850 PALISEUL             BELGIUM
PREYAT GILBERTE             RUE DE LA JONCTION
PREYER, ANTHONY R           2607 NORTHGATE RD                                                                       ALBANY             GA   31721‐1562
PREYOR, AUDREY T            1452 BELL PEPPER CT APT 102                                                             FAIRBORN           OH   45324‐7119
PREZ, EUGENE C              14025 TERRY DR                                                                          ORLAND PARK        IL   60462‐2233
PREZ, JOANNE                14330 S HARRISON AVE                                                                    POSEN              IL   60469‐1040
PREZBINDOWSKI, STEVEN J     12815 ERNST RD                                                                          ROANOKE            IN   46783‐9651
PREZELL BURGIE              1361 HAWTHORNE AVE                                                                      YPSILANTI          MI   48198‐5943
PREZELL C BURGIE            1361 HAWTHORNE AVE                                                                      YPSILANTI          MI   48198‐5943
PREZELL MIMS                105 NW 101ST PL                                                                         KANSAS CITY        MO   64155‐1771
PREZELL, MILDRED S          26729 N OAKDALE LN                                                                      MUNDELEIN          IL   60060‐3490
PREZENKOWSKI JR, RONALD J   3215 PERL CT                                                                            N ROYALTON         OH   44133‐2236
PREZENKOWSKI JR, RONALD J   8901 EDGEWOOD DR                                                                        N ROYALTON         OH   44133‐1145
PREZGAY, JOSEPH A           3629 PLEASANT DR                                                                        HERMITAGE          PA   16148‐3760
PREZIGN                     14108 GOLFVIEW ST                                                                       LIVONIA            MI   48154‐5280
PREZIGN INC                 14108 GOLFVIEW ST                                                                       LIVONIA            MI   48154‐5280
PREZIOSI, ANTONIO           7 FLAMINGO DR                                                                           ROCHESTER          NY   14624‐2240
PREZIOSO, ELVIRA P          240 SENECA DR                                                                           GIRARD             OH   44420‐3612
PREZIOSO, JOAN P            51 NORWOOD RD                                                                           YONKERS            NY   10710‐1415
PREZIOSO, JOSEPH N          240 SENECA DR                                                                           GIRARD             OH   44420‐3612
PREZIOSO, MICHAEL A         WINSTON PARK CONDO 700           4910 BAY ST.              #314                         SAINT PETERSBURG   FL   33703
PREZIOSO, PATRICIA F        4157 ORANGEVILLE SHARON RD                                                              BURGHILL           OH   44404
PREZKOP, MICHAEL F          607 NORMANDIE BLVD                                                                      BOWLING GREEN      OH   43402‐1547
PREZLOCK, STARR             2 WALDEN DR                                                                             MERRIMACK          NH   03054‐3024
PREZY, ELIZABETH T          PO BOX 496                       155 GLACIER COVE                                       PUT IN BAY         OH   43456‐0496
PREZZATO, DONALD P          4141 MCCARTY RD APT 118                                                                 SAGINAW            MI   48603‐9324
PREZZATO, PHILIP L          1006 N GRAHAM RD                                                                        SAGINAW            MI   48609‐9409
PREZZATO, RICHARD L         5890 S IVA RD                                                                           SAINT CHARLES      MI   48655‐8741
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Name                            Address1                             Address2                          Address3                      Address4         City               State Zip
PRG SCHULTZ INTERNATIONAL INC   ATTN: CORPORATE OFFICER/AUTHORIZED   1488 PAYSPHERE CIR                                                               CHICAGO              IL 60674‐0014
                                AGENT
PRG SCHULTZ USA INC             FMLY PROFIT RECOVERY GROUP           600 GALLERIA PKWY                                                                ATLANTA            GA 30339
PRG SERVICES INC                DBA PRG MICHIGAN INC                 575 E BIG BEAVER RD STE 200                                                      TROY               MI 48083‐1398
PRG‐SCHULTZ USA, INC
PRG‐SCHULTZ USA, INC.           600 GALLERIA PARKWAY                                                                                                  ATLANTA            GA    30339
PRI/SMMPP LLC                   10860 N MAVINEE DR                                                                                                    ORO VALLEY         AZ    85737‐9526
PRIALGAUSKAS, STELLA            222 N HAMMES AVE                                                                                                      JOLIET             IL    60435
PRIANO, JOHN M                  7438 WAXWOOD CIR                                                                                                      N SYRACUSE         NY    13212‐2636
PRIAULX, JEANETTE               11414 ASH GROVE DR                                                                                                    WASHINGTN TWP      MI    48094‐3776
PRIBANIC & PRIBANIC
PRIBANYEC, MARIE G              720 CLOVERLAWN BLVD                                                                                                   LINCOLN PARK        MI 48146‐4374
PRIBBLE ALAN                    PRIBBLE, ALAN                        WATTS GUERRA CRAFT                BANK OF AMERICA PLAZA                          SAN ANTONIO         TX 78205
                                                                                                       SUITE 100 300 CONVET STREET

PRIBBLE, ALAN                   WATTS GUERRA CRAFT                   BANK OF AMERICA PLAZA SUITE 100                                                  SAN ANTONIO         TX   78205
                                                                     300 CONVET STREET
PRIBBLE, ALAN                   44805 N NEW RIVER RD                                                                                                  NEW RIVER          AZ    85087‐7927
PRIBBLE, MILDRED L              401 VERMILION STREET                                                                                                  GEORGETOWN         IL    61846‐1631
PRIBBLE, WILLIAM L              208 S ASH ST                                                                                                          BETHEL             OH    45106‐1316
PRIBE, DONNA A                  6042 ANGLEVIEW DR                                                                                                     SYLVANIA           OH    43560‐1208
PRIBISH, RONALD P               750 VICKSBURG DR                                                                                                      MANSFIELD          OH    44904‐1534
PRIBOJ, LINDA L                 2406 BACON AVENUE                                                                                                     BERKLEY            MI    48072‐1074
PRIBOJ, ROBERT A                3736 SHASTA COURT                                                                                                     CHINO              CA    91710‐2053
PRIBONIC, DONNA M               3801 NE 22ND TER APT 2                                                                                                LIGHTHOUSE POINT   FL    33064‐7482
PRIBORSKY JULIE                 7219 GREENHEATH COURT                                                                                                 SPRING             TX    77389‐4090
PRIBRAMSKY, RUDOLPH G           12130 GOLD STRIKE RD                                                                                                  PINE GROVE         CA    95665‐9766
PRIBUDIC, JELA                  6965 WEATHERBY DR                                                                                                     MENTOR             OH    44060‐8410
PRIBULA DONALD W (460116)       DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                                                  NORTH OLMSTED      OH    44070
PRIBULA, DONALD W               DUFFY & ASSOCS JOHN J                23823 LORAIN RD                                                                  NORTH OLMSTED      OH    44070
PRIBUSH, JOSEPH E               214 NAUTILUS BLVD                                                                                                     FORKED RIVER       NJ    08731‐1804
PRIBYL, CAREEN M                6680 RIDGE ROYALE DR                                                                                                  GREENLEAF          WI    54126‐9126
PRIBYL, DONALD J                377 HAZY LN                                                                                                           GREENWOOD          IN    46142‐9139
PRIBYL, RITA M                  1966 RAMBLING ROSE RD                                                                                                 WAUKESHA           WI    53186‐2820
PRICA, ANNAMARIE                5037 GRAHAM RD                                                                                                        MIDDLEPORT         NY    14105‐9612
PRICE JR, HARRY R               11664 LAIRD RD                                                                                                        BROOKLYN           MI    49230
PRICE & CO                      ATTN: JOHN PRICE                     425 36TH ST SW # B                                                               GRAND RAPIDS       MI    49548‐2161
PRICE ALBERT F (481268)         KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                                    CLEVELAND          OH    44114
                                                                     BOND COURT BUILDING
PRICE ANDREW W (300809)         BROWN TERRELL HOGAN ELLIS            804 BLACKSTONE BLDG , 233 EAST                                                   JACKSONVILLE        FL   32202
                                MCCLAMMA & YEGELWEL P.A.             BAY STREET
PRICE ASHLEY                    PRICE, ASHLEY                        PO BOX 11090                                                                     CHARLESTON         WV    25339‐1090
PRICE AUTO ELECTRIC             1601 METRO DR                                                                                                         ALEXANDRIA         LA    71301‐3311
PRICE AUTO SUPPLY               714 BROADWAY                                                                                                          MARYSVILLE         KS    66508‐1842
PRICE AUTO SUPPLY                                                    714 BROADWAY                                                                                        KS    66508
PRICE AUTO WRECKERS INC         4 EDGEWATER AVE                                                                                                       BRIDGEWATER        NJ    08807‐2774
PRICE BASS/COLUMBIA             715 S JAMES CAMPBELL BLVD                                                                                             COLUMBIA           TN    38401‐4335
PRICE BELINDA                   PRICE, BELINDA                       DEVOTO LC ROBERT L                9322 MANCHESTER ROAD                           ST LOUIS           MO    63119
PRICE BELINDA                   PRICE, BELINDA
PRICE BENJAMIN                  13143 MAGNOLIA CIR                                                                                                    GEISMAR            LA 70734‐3038
PRICE BETTY                     1511 NORTHGATE PLACE                                                                                                  ARTESIA            NM 88210‐2901
                                      09-50026-mg              Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                 Address1                          Address2                         Address3          Address4         City                  State Zip
PRICE BILL (447074)                  BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD             OH 44067
                                                                       PROFESSIONAL BLDG
PRICE BRANDON S                      #A                                32 PEBBLE BROOK LANE                                                HAMILTON              OH   45011‐0878
PRICE BROTHERS ROOFING‐CONSTR        ATTN: ROBERT PRICE                113 N CASS AVE                                                      PONTIAC               MI   48342‐2005
PRICE BRUCE L (ESTATE OF) (503222)   DONALDSON & BLACK                 208 W WENDOVER AVE                                                  GREENSBORO            NC   27401‐1307
PRICE BUICK‐PONTIAC, INC.            WARREN PRICE                      2016 N SALISBURY BLVD                                               SALISBURY             MD   21801‐3337
PRICE BUICK‐PONTIAC‐GMC              WARREN PRICE                      2016 N SALISBURY BLVD                                               SALISBURY             MD   21801‐3337
PRICE BUICK‐PONTIAC‐GMC              2016 N SALISBURY BLVD                                                                                 SALISBURY             MD   21801‐3337
PRICE CHEVROLET                      2035 W OAKLAWN RD                                                                                     PLEASANTON            TX   78064‐4608
PRICE CHEVROLET CO.                  PATRICIA PRICE‐GIBSON             2150 SEMINOLE TRL                                                   CHARLOTTESVILLE       VA   22901‐8302
PRICE CLIFFORD L (429643)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK               VA   23510
                                                                       STREET, SUITE 600
PRICE CONSTRUCTION INC
PRICE CYNTHIA                        PRICE, CYNTHIA                    309 WYOMING AVE                                                     WEST PITTSTON         PA   18643‐2824
PRICE CYNTHIA                        PRICE, THOMAS                     309 WYOMING AVE                                                     WEST PITTSTON         PA   18643‐2824
PRICE DANIEL ESTATE OF               2011 NEW SUN DR                                                                                       FLORISSANT            MO   63031‐2773
PRICE DANIEL J JR (413846)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK               VA   23510
                                                                       STREET, SUITE 600
PRICE DANIETTE LATRICE               FLUEGEL, WILBUR W                 5850 BLACKSHIRE PATH                                                INVER GROVE HEIGHTS   MN 55076‐1619
PRICE DANIETTE LATRICE               JOINER, BRANDON                   THE EAGLE BUILDING 911 MAIN ST                                      LEXINGTON             MO 64067
                                                                       BOX PO
PRICE DANIETTE LATRICE               JOINER, BRANDON                   5850 BLACKSHIRE PATH                                                INVER GROVE HEIGHTS   MN 55076‐1619
PRICE DANIETTE LATRICE               PRICE, DANIETTE LATRICE           120 WEST MADISON STREET SUITE                                       CHICAGO               IL 60602
                                                                       350
PRICE DAVID                          13 KENMORE RD                                                                                         EDISON                NJ 08817‐4009
PRICE DAVID                          1923 IRVINGTON AVE                                                                                    LANSING               MI 48910‐3663
PRICE DONALD H (344056)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK               VA 23510
                                                                       STREET, SUITE 600
PRICE EARL                            2037 FEATHERWOOD DR W                                                                                ATLANTIC BEACH        FL 32233‐6911
PRICE EARNESTENE                      THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD          SUITE 44                           CORAL GABLES          FL 33146
PRICE ELECTRIC CO SOLE PROPRIETORSHIP PRICE ELECTRIC CO                1916 PIKE PLACE                  #1220                              SEATTLE               WA 98101

PRICE ELLEN                          16315 RESERVE DRIVE SOUTHEAST                                                                         NORTH BEND            WA 98045‐9150
PRICE ELMER L (ESTATE OF) (662169)   KELLEY & FERRARO LLP              2200 KEY TOWER 127 PUBLIC                                           CLEVELAND             OH 44114
                                                                       SQUARE
PRICE ENGINEERING CO INC             1175 COTTONWOOD AVE                                                                                   HARTLAND              WI   53029‐8349
PRICE ERIC D                         HIMES, PAUL                       PO BOX 449                                                          LANCASTER             PA   17608‐0449
PRICE ERIC D                         HIMES, TAMARA JO                  PO BOX 449                                                          LANCASTER             PA   17608‐0449
PRICE ERIC D                         PRICE, ERIC D                     PO BOX 449                                                          LANCASTER             PA   17608‐0449
PRICE EUGENE (653322)                BRAYTON PURCELL                   PO BOX 6169                                                         NOVATO                CA   94948‐6169
PRICE FLOYD T (342540)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK               VA   23510
                                                                       STREET, SUITE 600
PRICE FRANCIS                        PRICE, FRANCIS                    TIA KENNEDY                      3625 CLAIRMONTE                    BIRMINGHAM            AL 35222
PRICE GARY S JR                      25430 CONSTITUTION AVE 119                                                                            WARREN                MI 48089
PRICE GLEN HERBERT (429644)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                         NORFOLK               VA 23510
                                                                       STREET, SUITE 600
PRICE HARRIS                         DBA HP SERVICE                    82 BOTTLE HILL ROAD                                                 GROVE CITY            PA 16127‐3208
PRICE HARRY                          3488 SPRING VALLEY RD                                                                                 DECATUR               GA 30032‐6820
PRICE HENEVELD COOPER DEWITT         PO BOX 2567                                                                                           GRAND RAPIDS          MI 49501‐2567
&LITTON
PRICE HERBERT                        8275 BANGOR DR                                                                                        FORT WORTH            TX 76116‐6917
PRICE I I I, STERLING S              1322 ARROYO DR                                                                                        YPSILANTI             MI 48197‐8949
                                     09-50026-mg              Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                 Address1                         Address2                        Address3   Address4         City               State Zip
PRICE I I, ROGER L                   1205 STATE ROUTE 314 S                                                                       MANSFIELD           OH 44903‐9307
PRICE II, ROGER L                    1205 STATE ROUTE 314 S                                                                       MANSFIELD           OH 44903‐9307
PRICE III, A F                       124 S 11TH ST                                                                                MIDDLETOWN          IN 47356‐1710
PRICE III, GRANT J                   3633 HEATHER BROOKE DRIVE                                                                    FAYETTEVILLE        NC 28306‐9715
PRICE III, HAROLD J                  932 MEADOWLARK LN                                                                            HOWELL              MI 48843‐2369
PRICE III, JOHN D                    13349 LASALLE BLVD                                                                           HUNTINGTN WDS       MI 48070‐1031
PRICE III, PARK L                    1098 E 25TH ST                                                                               IDAHO FALLS         ID 83404‐7006
PRICE III, STERLING S                1322 ARROYO DR                                                                               YPSILANTI           MI 48197‐8949
PRICE J                              THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES        FL 33146
PRICE JACK E (345124)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                      STREET, SUITE 600
PRICE JAMES R (484881)               KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
PRICE JAMES R (498308)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                      STREET, SUITE 600
PRICE JAMES R (ESTATE OF) (653323)   GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                  EDWARDSVILLE        IL   62025‐0959
                                     ANTOGNOLI
PRICE JOE                            1371 COMMONS WAY                                                                             FRANKLIN           IN 46131‐7363
PRICE JOHN                           1701 N COUNTY ROAD 397 E                                                                     MUNCIE             IN 47303‐9134
PRICE JOHN F (401272)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                      STREET, SUITE 600
PRICE JOHN W (ESTATE OF) (504976)    (NO OPPOSING COUNSEL)
PRICE JOHNSON                        2918 W PEAR TREE LN                                                                          CRAWFORDSVILLE     IN    47933‐8531
PRICE JONETTE M                      1803 POWELL ST                                                                               NORRISTOWN         PA    19401‐3025
PRICE JR, ANTHONY L                  1516 GRANICY DR                                                                              LANCASTER          CA    93535‐4347
PRICE JR, BILLY E                    805 IVYWOOD ST                                                                               DAYTON             OH    45420‐1733
PRICE JR, BILLY E                    805 IVYWOOD STREET                                                                           DAYTON             OH    45420‐5420
PRICE JR, CECIL                      2349 BELLEVUE AVE                                                                            COLUMBUS           OH    43207‐2819
PRICE JR, CLUSTER                    1100 EVERGREEN ST SE                                                                         GRAND RAPIDS       MI    49507‐2011
PRICE JR, DAN S                      8515 SETTLE SCHOOL RD                                                                        RIXEYVILLE         VA    22737‐3117
PRICE JR, DARCELL                    PO BOX 484                                                                                   GRAND BLANC        MI    48480‐0484
PRICE JR, DAVID                      906 BELMONT AVE                                                                              FLINT              MI    48503‐2742
PRICE JR, DAVID L                    PO BOX 14523                                                                                 SAGINAW            MI    48601
PRICE JR, DAVID L                    APT 204                          1271 GENEI COURT WEST                                       SAGINAW            MI    48601‐7821
PRICE JR, DONALD R                   5534 MCCULLERS LN                                                                            LOGANVILLE         GA    30052‐2942
PRICE JR, DONALD RICHARD             5534 MCCULLERS LN                                                                            LOGANVILLE         GA    30052‐2942
PRICE JR, EARL                       PO BOX 961                                                                                   SAGINAW            MI    48606‐0961
PRICE JR, EDWARD                     1909 SILVER AVE SE                                                                           GRAND RAPIDS       MI    49507
PRICE JR, F T                        13 SORPRESA WAY                                                                              HOT SPRINGS        AR    71909‐6704
PRICE JR, FRED T                     4310 GROVE CITY RD                                                                           GROVE CITY         OH    43123‐9672
PRICE JR, GARY                       25430 CONSTITUTION AVE                                                                       WARREN             MI    48089‐2081
PRICE JR, GEORGE                     1132 MAURER AVE                                                                              PONTIAC            MI    48342‐1957
PRICE JR, HARRY R                    11664 LAIRD RD                                                                               BROOKLYN           MI    49230‐9035
PRICE JR, JOHN                       506 RUBYTHROAT LN                                                                            CLAYTON            OH    45315‐8743
PRICE JR, JOHN D                     4003 EDGEWATER DR                                                                            ASHTABULA          OH    44004‐2133
PRICE JR, LEE E                      PO BOX 95254                                                                                 OKLAHOMA CITY      OK    73143‐5254
PRICE JR, LEONARD C                  PO BOX 2060                                                                                  HOWELL             MI    48844‐2060
PRICE JR, RAYMOND                    13000 WOODWORTH RD                                                                           NEW SPRINGFIELD    OH    44443‐9767
PRICE JR, ROBERT                     104 COLUMBIA AVE                                                                             NEWTON HIGHLANDS   MA    02461‐1618
PRICE JR, ROCHELLE A                 4248 GRAYSTONE DR                                                                            OKEMOS             MI    48864‐5212
PRICE JR, WILLIAM A                  548 SAN ANDRES DR                                                                            SOLANA BEACH       CA    92075‐2140
PRICE JR, WILLIAM L                  983 SCHWEITZER CT                                                                            ALEXANDRIA         KY    41001‐8555
                                       09-50026-mg             Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                                   Address1                        Address2                        Address3   Address4             City               State Zip
PRICE JR, WILLIAM L                    2375 W D AVE                                                                                    KALAMAZOO           MI 49009‐5236
PRICE JR, WILLIAM T                    9315 ROWAN LN                                                                                   HOUSTON             TX 77036‐5209
PRICE JR., JAMES R                     3290 E RIVER RD                                                                                 MOUNT PLEASANT      MI 48858‐8904
PRICE JR., WILLIE                      159 CHARLES LN                                                                                  PONTIAC             MI 48341‐2928
PRICE KEITH ALTON (408709)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                       STREET, SUITE 600
PRICE KENNETH E                        PRICE, BILLIE R                 400 S ALAMO BLVD                                                MARSHALL           TX   75670‐4260
PRICE KENNETH E                        PRICE, KENNETH E                400 S ALAMO BLVD                                                MARSHALL           TX   75670‐4260
PRICE KENNETH L                        PRICE, KENNETH L                89 N HADDON AVE                                                 HADDONFIELD        NJ   08033‐2423
PRICE KNOX                             821 ARCADIA ST                                                                                  SAGINAW            TX   76179‐3401
PRICE LARRY J (481269)                 KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                   CLEVELAND          OH   44114
                                                                       BOND COURT BUILDING
PRICE LINDSAY                          212 LISTON AVE                                                                                  WILMINGTON         DE   19804
PRICE LORRAINE                         PRICE, LORRAINE                 89 N HADDON AVE                                                 HADDONFIELD        NJ   08033‐2423
PRICE LOVELLA                          C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                             LITTLE ROCK        AR   72201
PRICE LYNETTA R                        23624 LAHSER ROAD                                                                               SOUTHFIELD         MI   48033‐3202
PRICE M SPOOR                          3300 N DUCK LAKE RD                                                                             HIGHLAND           MI   48356‐2330
PRICE MARSHA J                         PRICE, MARSHA                   7211 SAWMILL ROAD SUITE 200                                     DUBLIN             OH   43016‐5010
PRICE MERRILL J (629605)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                       STREET, SUITE 600
PRICE MICHAEL                          PRICE, MICHAEL                  13464 LAKE SHORE DRIVE                                          FENTON             MI 48430
PRICE NATHANIEL (ESTATE OF) (475828)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD         OH 44067
                                                                       PROFESSIONAL BLDG
PRICE NIKKI                            1575 LAKEWOOD RD                                                                                BLOOMFIELD HILLS   MI   48302‐2704
PRICE PAUL                             DBA PAUL PRICE PHOTOGRAPHY      333 ELMWOOD DR STE C                                            TROY               MI   48083‐2708
PRICE PETTY JR                         10860 PLAYERS DR                                                                                INDIANAPOLIS       IN   46229‐4312
PRICE ROBERT D (481963)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                       STREET, SUITE 600
PRICE RODNEY                           6273 N 434 RD                                                                                   ADAIR              OK   74330‐2762
PRICE RODNEY                           PRICE, RODNEY                   1060 1ST AVE STE 400                                            KING OF PRUSSIA    PA   19406‐1336
PRICE RONALD HAROLD (474484)           LEBLANC & WADDELL               5353 ESSEN LN STE 420                                           BATON ROUGE        LA   70809‐0500
PRICE RUSSELL (447076)                 BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD         OH   44067
                                                                       PROFESSIONAL BLDG
PRICE SANDRA                           12311 W COUNTY ROAD 950 N                                                                       GASTON             IN   47342‐9068
PRICE SCOTT AND KYLA                   1040 COLONIAL DR                                                                                JACKSONVILLE       AR   72076‐2872
PRICE SHIRLEY                          PRICE, SHIRLEY                  207 ROSE LEA AVE                                                HAMILTON           OH   45011‐5638
PRICE SPOOR                            3300 N DUCK LAKE RD                                                                             HIGHLAND           MI   48356‐2330
PRICE SR, DANIEL M                     53 E WOODLAND AVE                                                                               NILES              OH   44446‐1940
PRICE SR, FRED T                       4310 GROVE CITY RD                                                                              GROVE CITY         OH   43123‐9672
PRICE SR, MICHAEL J                    2328 STATE ST                                                                                   SAGINAW            MI   48602‐3963
PRICE STEVEN (472417)                  CLARK DEPEW LLP                 440 LOUISIANA ST STE 1600                                       HOUSTON            TX   77002‐1638
PRICE STEVEN CHARLES (644371)          BRAYTON PURCELL                 PO BOX 6169                                                     NOVATO             CA   94948‐6169
PRICE SUSAN                            PRICE, SUSAN                    624 PLYMOUTH WAY                                                BURLINGAME         CA   94010‐2733
PRICE THELIA                           1624 COUNTY ROAD 1754                                                                           LINDEN             TX   75563‐7015
PRICE TRUCK LINE INC                   3402 W HARRY ST                                                                                 WICHITA            KS   67213‐1408
PRICE WARREN D ‐ 05CV0506A(SC)         PRICE, WARREN D                 375 LINWOOD AVE                                                 BUFFALO            NY   14209‐1607
PRICE WATER/NEW YORK                   1177 AVENUE OF THE AMERICAS                                                                     NEW YORK           NY   10036
PRICE WATERHOUSE                       ACCT OF KAWERTHA PLASTICS LTD   BOX 190                                    TORONTO ON M5X1H7
                                                                                                                  CANADA
PRICE WATERHOUSE                       161 MARSH WALL                                                             LONDON ENGLAND E14
                                                                                                                  95Q GREAT BRITAIN
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Name                             Address1                         Address2                        Address3   Address4           City               State Zip
PRICE WATERHOUSE                 CALLE 100 NO 11A35                                                          BOGOTA COLUMBIA
                                                                                                             COLOMBIA
PRICE WATERHOUSE                 1177 AVENUE OF THE AMERICAS                                                                    NEW YORK            NY   10036
PRICE WATERHOUSE                 ATTN: DA&CR 89510‐213‐5          PO BOX 890377                                                 DALLAS              TX   75389‐0001
PRICE WATERHOUSE                 BANK OF BOSTON INTL 20TH FL      152 W 57TH ST                                                 NEW YORK            NY   10019
PRICE WATERHOUSE COOPERS LLP     PO BOX 75279                                                                                   CHICAGO             IL   60675‐5279
PRICE WATERHOUSE COOPERS LLP     PO BOX 75647                                                                                   CHICAGO             IL   60675‐5647
PRICE WATERHOUSE COOPERS LLP     PO BOX 72478001                                                                                PHILADELPHIA        PA   19170‐0001
PRICE WATERHOUSE COOPERS LLP     400 RENAISSANCE CTR                                                                            DETROIT             MI   48243‐1607
PRICE WATERHOUSE LLP             PO BOX 72478001                                                                                PHILADELPHIA        PA   19170‐0001
PRICE WATERHOUSE LLP             PO BOX 7247                                                                                    PHILADELPHIA        PA   19170‐0001
PRICE WILLIAM (459262)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA   23510
                                                                  STREET, SUITE 600
PRICE WILLIE L                   159 CHARLES LN                                                                                 PONTIAC             MI 48341‐2928
PRICE WOOLDRIDGE                 19246 SEWELL RD                                                                                ATHENS              AL 35614‐5714
PRICE ZONE TRADING, INC.
PRICE'S AUTO SERVICE             1409 MARQUETTE PL                                                                              BAY CITY           MI    48706‐4185
PRICE'S AUTOMOTIVE SERVICE INC   3285 NEW BUCKEYE RD                                                                            WRIGHTSVILLE       GA    31096‐3758
PRICE, ALAN K                    7956 REMLINGER RD                                                                              CRESTLINE          OH    44827‐9754
PRICE, ALBERT E                  3039 HENDERSON LAKE RD                                                                         PRESCOTT           MI    48756‐9338
PRICE, ALBERT F                  KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                  CLEVELAND          OH    44114
                                                                  BOND COURT BUILDING
PRICE, ALBERT G                  22 MAIN ST                                                                                     ASHLAND            PA    17921‐9264
PRICE, ALBERT L                  619 S 27TH ST                                                                                  SAGINAW            MI    48601‐6539
PRICE, ALESHIA MONIQUE           2719 GLENDALE STREET                                                                           DETROIT            MI    48238‐3474
PRICE, ALFRED D                  2013 TREADWAY AVE                                                                              CLEVELAND          OH    44109‐3656
PRICE, ALFRED K                  2314 ALPINE DR                                                                                 SAGINAW            MI    48601‐5203
PRICE, ALICE M                   47251 WOODWARD AVE APT 607                                                                     PONTIAC            MI    48342
PRICE, ALTON R                   7517 STERLING RD                                                                               STERLING           OH    44276‐9723
PRICE, ALVIN R                   15576 HWY 68                                                                                   SAINT JAMES        MO    65559
PRICE, AMERICA                   474 CARLOTTA DR                                                                                YOUNGSTOWN         OH    44504‐1320
PRICE, AMEYAN                    PO BOX 841                                                                                     LILBURN            GA    30048‐0841
PRICE, AMY L                     5650 PINE VIEW DR                                                                              YPSILANTI          MI    48197
PRICE, ANALOU                    17 16TH AVE NE                                                                                 BIRMINGHAM         AL    35215‐5609
PRICE, ANDREW                    BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                 JACKSONVILLE       FL    32202
                                 MCCLAMMA & YEGELWEL P.A.         BAY STREET
PRICE, ANDREW J                  4044 CARLTON RD                                                                                STERLING HTS       MI    48310‐2078
PRICE, ANDREW R                  2930 W WALTON BLVD                                                                             WATERFORD          MI    48329‐2562
PRICE, ANGELA L                  PO BOX 4885                                                                                    PINEVILLE          LA    71361‐4885
PRICE, ANGELA L                  6007 FOX CHASE TRL                                                                             SHREVEPORT         LA    71129‐3504
PRICE, ANNA M                    9028 WILLIAM ST                                                                                TAYLOR             MI    48180‐2821
PRICE, ANNALENE O                4962 LORD ALFRED CT                                                                            CINCINNATI         OH    45241‐2196
PRICE, ANNETTE H                 1108 DUKE LN                                                                                   ALBANY             GA    31707‐5016
PRICE, ANTHONY A                 17145 ALBION ST                                                                                DETROIT            MI    48234‐3808
PRICE, ANTHONY L                 3214 W 18TH ST                                                                                 LOS ANGELES        CA    90019‐6217
PRICE, ANTON J                   W259S6810 BROOK CT                                                                             WAUKESHA           WI    53189‐9208
PRICE, ANTON J                   W259 S6810 BROOK CT                                                                            WAUKESHA           WI    53186‐3186
PRICE, ARLON                     2826 CHERRY POINT LN                                                                           MARYLAND HEIGHTS   MO    63043‐1708
PRICE, ARNOLD J                  1507 E HIGHWAY 218                                                                             MONROE             NC    28110‐7025
PRICE, ARTHUR                    45 KIMBALL ST                                                                                  PONTIAC            MI    48342‐1257
PRICE, ARTHUR                    4708 HIGHLAND AVE                                                                              SAINT LOUIS        MO    63113‐1805
PRICE, ARTHUR F                  18310 COUNTY ROAD 143                                                                          CECIL              OH    45821
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Name                  Address1                       Address2                       Address3   Address4         City              State Zip
PRICE, ARTHUR H       5742 TROUBLE CREEK RD                                                                     NEW PORT RICHEY    FL 34652‐5154
PRICE, ARTHUR J       PO BOX 85                                                                                 OAKWOOD            OH 45873
PRICE, AUDER R        6208 YARBROUGH RD                                                                         SHREVEPORT         LA 71119‐3500
PRICE, AVETTA         3052 S MORELAND BLVD 2                                                                    CLEVELAND          OH 44120
PRICE, BARBARA        4313 GULL RD                                                                              LANSING            MI 48917‐4135
PRICE, BARBARA        4313 GULL RD.                                                                             LANSING            MI 48917‐4135
PRICE, BARBARA E      LOT 451                        6209 EAST MCKELLIPS ROAD                                   MESA               AZ 85215‐2860
PRICE, BARBARA J      27404 N MONTANA DR                                                                        RIO VERDE          AZ 85263‐6021
PRICE, BARBARA L      4030 COLTER DR                                                                            KOKOMO             IN 46902‐4486
PRICE, BARRY D        1201 PATRICK HENRY PKWY                                                                   BOLINGBROOK         IL 60490‐2140
PRICE, BAXTER L       5034 WAXHAW INDIAN TRAIL RD                                                               MATTHEWS           NC 28104‐7913
PRICE, BEAU DANA      208 BURNHAM DR                                                                            ALLIANCE           NE 69301
PRICE, BELINDA        DEVOTO LC ROBERT L             9322 MANCHESTER RD                                         SAINT LOUIS        MO 63119‐1450
PRICE, BENJAMIN A     3122 SKANDER DR                                                                           FLINT              MI 48504‐1274
PRICE, BENNIE J       4018 N 100 W                                                                              ANDERSON           IN 46011‐9512
PRICE, BERT E         3507 OHIO ST                                                                              SANDUSKY           OH 44870‐5527
PRICE, BESSIE         214 HARDING ST                 BROOKVIEW HEALTHCARE CENTER                                DEFIANCE           OH 43512‐1314

PRICE, BESSIE         BROOKVIEW HEALTHCARE CENTER    214 HARDING STREET                                         DEFIANCE          OH   43512
PRICE, BETH A         5342 FOSTER BLVD                                                                          NEW PORT RICHEY   FL   34652‐5040
PRICE, BETTY E        105 WOOLSEY CREEK TRAIL                                                                   FAYETTEVILLE      GA   30215‐7108
PRICE, BETTY L        13 BRYANT AVENUE                                                                          FRANKLIN          OH   45005‐5005
PRICE, BETTY L        13 E BRYANT AVE                                                                           FRANKLIN          OH   45005‐1505
PRICE, BEVERLY B      8206 N RAIDER RD                                                                          MIDDLETOWN        IN   47356‐9401
PRICE, BEVERLY J      205 W 3RD ST                                                                              NILES             OH   44446‐1419
PRICE, BILL           BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH   44067
                                                     PROFESSIONAL BLDG
PRICE, BILLIE         PO BOX 1521                                                                               CENTER            TX   75935‐1521
PRICE, BILLIE R       BRUCE CRAIG                    400 S ALAMO BLVD                                           MARSHALL          TX   75670‐4260
PRICE, BILLY E        165 UPPER HILLSIDE DR                                                                     BELLBROOK         OH   45305‐2124
PRICE, BILLY J        10905 E 59TH ST                                                                           RAYTOWN           MO   64133‐3433
PRICE, BLANCHE S      PO BOX 370245                                                                             DECATUR           GA   30037‐0245
PRICE, BOBBIE E       623 N MASON ST                                                                            SAGINAW           MI   48602‐4570
PRICE, BOBBIE J       4895 MARATHON RD                                                                          COLUMBIAVILLE     MI   48421‐9320
PRICE, BOBBY G        2015 S WASHINGTON AVE                                                                     SAGINAW           MI   48601‐3228
PRICE, BOBBY G        2015 S. WASHINGTON                                                                        SAGINAW           MI   48601
PRICE, BRANDEL        424 S 22ND ST                                                                             SAGINAW           MI   48601‐1537
PRICE, BRANDON S      #A                             32 PEBBLE BROOK LANE                                       HAMILTON          OH   45011‐0878
PRICE, BRENDA J       6505 BANBURY DR                                                                           FOREST HILL       TX   76119‐7216
PRICE, BRENDA JOYCE   6505 BANBURY DR                                                                           FOREST HILL       TX   76119‐7216
PRICE, BRENT R        315 WOODLAWN AVE APT 99                                                                   O FALLON          MO   63366‐2855
PRICE, BRIDGETTE L    158 VICTORIAN DR                                                                          FORT WORTH        TX   76134‐4614
PRICE, BRUCE L        DONALDSON & BLACK              208 W WENDOVER AVE                                         GREENSBORO        NC   27401‐1307
PRICE, BRUCE R        3880 DEER SPRINGS DR                                                                      ROCHESTER         MI   48306‐4732
PRICE, BRYANT C       6219 E TEXAS ST LOT 151                                                                   BOSSIER CITY      LA   71111
PRICE, BUDDY W        113 OLD BALTIMORE PIKE                                                                    NEWARK            DE   19702‐1535
PRICE, BURNIS R       3988 S 400 W                                                                              KNIGHTSTOWN       IN   46148
PRICE, CAMERON        655 S PARK AVE                                                                            SAGINAW           MI   48607‐1757
PRICE, CARL D         1220 DUNDEE DR                                                                            WATERFORD         MI   48327‐2001
PRICE, CARLETTA A     301 WORMAN DR                                                                             GAHANNA           OH   43230‐2675
PRICE, CAROL A        6136 SANDSHORES DR                                                                        TROY              MI   48085‐1342
PRICE, CAROL J        113 OLD BALTIMORE PIKE                                                                    NEWARK            DE   19702‐1535
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Name                   Address1                            Address2                      Address3   Address4         City               State Zip
PRICE, CAROLYN B       2207 WESTDALE CT                                                                              KOKOMO              IN 46901‐5008
PRICE, CAROLYN R       2536 SHROPSHIRE ST                                                                            FORT WORTH          TX 76105‐5240
PRICE, CAROLYN RAE     2536 SHROPSHIRE ST                                                                            FORT WORTH          TX 76105‐5240
PRICE, CAROLYN S       690 WESTPHAL AVE                                                                              WHITEHALL           OH 43213‐2847
PRICE, CATHERINE       602 CONGRESS AVE                                                                              INDIANAPOLIS        IN 46208‐4815
PRICE, CATHERINE A     13485 VERNON ROAD                                                                             BYRON               MI 48418‐9714
PRICE, CATHERINE L     726 VANDEVER AVE                                                                              WILMINGTON          DE 19802
PRICE, CHAD J          3211 LANTZ RD                                                                                 BEAVERCREEK         OH 45432‐2543
PRICE, CHARLEAN L      6433 HICKORY HOLLOW CT                                                                        FLINT               MI 48532‐2055
PRICE, CHARLENE        5855 OLYMPIA FIELDS CT                                                                        WEST CHESTER        OH 45069‐1913
PRICE, CHARLES         24824 MURRAY ST                                                                               HARRISON TWP        MI 48045‐3356
PRICE, CHARLES A       3527 HARRIS RD                                                                                TOWNSEND            DE 19734‐9385
PRICE, CHARLES ALLEN   3527 HARRIS RD                                                                                TOWNSEND            DE 19734‐9385
PRICE, CHARLES B       7320 TEPPERWOOD DRIVE                                                                         WEST CHESTER        OH 45069‐1083
PRICE, CHARLES E       18906 GODDARD ST                                                                              DETROIT             MI 48234‐4401
PRICE, CHARLES E       28901 NOTTOWAY DR                                                                             FARMINGTON HILLS    MI 48331‐2581
PRICE, CHARLES E       2130 STATE ST                                                                                 ANDERSON            IN 46012‐1744
PRICE, CHARLES E       24175 S DUNCAN CIR                                                                            FARMINGTON HILLS    MI 48336‐2773
PRICE, CHARLES E       48141 COLONY FARMS CIR                                                                        PLYMOUTH            MI 48170‐3352
PRICE, CHARLES E       1035 FAIRFIELD DR                                                                             HUDSONVILLE         MI 49426‐8700
PRICE, CHARLES H       5802 DEVERS DR APT A                                                                          INDIANAPOLIS        IN 46216‐2141
PRICE, CHARLES I       3140 VILLAGE GLEN LN                                                                          CHARLOTTE           NC 28269‐1299
PRICE, CHARLES J       20 APRIL DR                                                                                   NEW MILFORD         CT 06776‐3051
PRICE, CHARLES L       101 MCCAWLEY DR                                                                               SEQUIM              WA 98382‐8340
PRICE, CHARLES S       18440 GREENWALD DR                                                                            SOUTHFIELD          MI 48075‐5863
PRICE, CHARLES W       13470 GRAFTON RD                                                                              GRAFTON             OH 44044‐1036
PRICE, CHARLES W       498 S MAIN ST                                                                                 LOSANTVILLE         IN 47354‐9214
PRICE, CHARMAINE M     6192 S COUNTY ROAD 550 E                                                                      GREENCASTLE         IN 46135‐7906
PRICE, CHARMAINE M     3130 NORTH COLLEGE AVENUE                                                                     INDIANAPOLIS        IN 46205‐4660
PRICE, CHESTER         6433 HICKORY HOLLOW CT                                                                        FLINT               MI 48532‐2055
PRICE, CHRIS
PRICE, CHRIS           11 BROOK STONE DR                                                                             TROY               MO 63379‐4985
PRICE, CHRIS L
PRICE, CHRIS L         11 BROOK STONE DR                                                                             TROY               MO   63379‐4985
PRICE, CHRISTINE A     504 GOODMANS XING                                                                             CLARK              NJ   07066‐2739
PRICE, CHRISTINE M     13101 THISTLEWOOD LN                                                                          HOLLAND            MI   49424‐9598
PRICE, CHRISTINE P     20 S. PHILADELPHIA STREET                                                                     DAYTON             OH   45403‐5403
PRICE, CHRISTINE P     20 S PHILADELPHIA ST                                                                          DAYTON             OH   45403‐2038
PRICE, CLARENCE R      18 ELAN CT                                                                                    ALPHARETTA         GA   30022‐1814
PRICE, CLARENCE R      1310 SAN JUAN DR                                                                              FLINT              MI   48504‐3289
PRICE, CLAUDY C        540 COUNTY RD 32                                                                              VERBENA            AL   36091
PRICE, CLIFFORD L      43630 SAINT IVES CT                                                                           STERLING HTS       MI   48314‐1950
PRICE, CLIFFORD L      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                           STREET, SUITE 600
PRICE, CLIFTON         APT G32                             1500 ROSEWOOD DRIVE                                       COLUMBIA           TN   38401‐6400
PRICE, CLINTON B       1669 SPRUCE CT                                                                                TEMPERANCE         MI   48182‐2226
PRICE, CLYDE           BRAYTON PURCELL                     PO BOX 6169                                               NOVATO             CA   94948‐6169
PRICE, COLIN M         1102B BILTMORE DRIVE                                                                          NASHVILLE          TN   37204‐4124
PRICE, CONNIE S        42023 CARRIAGE COVE DR APT 102                                                                CANTON             MI   48187
PRICE, CURTIS L        608 ABSTON AVE                                                                                FERGUSON           MO   63135‐1812
PRICE, CYNTHIA         GELB LESA S                         309 WYOMING AVE                                           WEST PITTSTON      PA   18643‐2824
PRICE, CYNTHIA A       208 APACHE CT                                                                                 NEWARK             DE   19702‐1903
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Name                      Address1                              Address2                        Address3   Address4         City               State Zip
PRICE, CYNTHIA T          3340 KERNWAY DR                                                                                   BLOOMFIELD HILLS    MI 48304‐2437
PRICE, DANIEL             6049 CONCORD PASS                                                                                 FLINT               MI 48506‐1642
PRICE, DANIEL J           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510‐2212
                                                                STREET, SUITE 600
PRICE, DANIEL R           2130 W MARSHALL RD                                                                                SAINT JOHNS        MI   48879‐9420
PRICE, DANIEL W           3809 OTTER LAKE RD                                                                                OTTER LAKE         MI   48464‐9709
PRICE, DANIETTE           15636 ASHLAND AVE                                                                                 HARVEY             IL   60426
PRICE, DANIETTE LATRICE   TIMOTHY TYLER OF TIMOTHY R. TYLER &   120 WEST MADISON STREET SUITE                               CHICAGO            IL   60602
                          ASSOCIATES                            350
PRICE, DANNY              3035 140TH AVE                                                                                    DORR               MI   49323‐9016
PRICE, DARREL A           5894 S M18                                                                                        BEAVERTON          MI   48612
PRICE, DAVID A            1975 N PERKEY RD                                                                                  CHARLOTTE          MI   48813‐8309
PRICE, DAVID B            92 PONDVIEW RD                                                                                    WEARE              NH   03281‐5020
PRICE, DAVID C            46 HARLEY CIRCLE                                                                                  FAIRFIELD GLADE    TN   38558‐2659
PRICE, DAVID C            46 HARLEY CIR                                                                                     CROSSVILLE         TN   38558‐2659
PRICE, DAVID F            32433 WARNER DR                                                                                   WARREN             MI   48092‐3228
PRICE, DAVID J            604 HIGH ST                                                                                       CHARLOTTE          MI   48813‐1248
PRICE, DAVID J            171 EAGLE PASS LN                                                                                 WEATHERFORD        TX   76087‐4603
PRICE, DAVID L            6219 W CUTLER RD                                                                                  DEWITT             MI   48820‐9196
PRICE, DAVID L            7725 W. JEFFERSON RD 100N                                                                         KOKOMO             IN   46901
PRICE, DAVID L            6414 JERSEY LN                                                                                    ARLINGTON          TX   76018‐3047
PRICE, DAVID L            4394 HARVARD RD                                                                                   DETROIT            MI   48224‐2346
PRICE, DAVID L            3697 WARWICK DR                                                                                   STERLING HTS       MI   48314‐2802
PRICE, DAVID M            9520 MIDLOTHIAN DRIVE                                                                             BRENTWOOD          TN   37027‐3812
PRICE, DAVID P            43 WINSOME WAY                                                                                    NEWARK             DE   19702‐6313
PRICE, DAVID S            1923 IRVINGTON AVE                                                                                LANSING            MI   48910‐3663
PRICE, DAWN M             3658 SAINT MARYS ST                                                                               AUBURN HILLS       MI   48326‐1442
PRICE, DEARYAL G          RR 2 BOX 279B                                                                                     MCLOUD             OK   74851‐9577
PRICE, DEBBIE             3210 WINSTON TER APT 314                                                                          ARLINGTON          TX   76014‐4558
PRICE, DEBORAH R.         1007 AUTUMN LEAF LN                                                                               FOUNTAIN INN       SC   29644‐3431
PRICE, DEBRA A            1909 SILVER AVE SE                                                                                GRAND RAPIDS       MI   49507‐2712
PRICE, DEMOND             1726 OAK ST SW                                                                                    WARREN             OH   44485‐3570
PRICE, DENISE             20515 PREVOST ST                                                                                  DETROIT            MI   48235‐2159
PRICE, DENNIS E           6051 W US2                                                                                        NAUBINWAY          MI   49762
PRICE, DENNIS L           405 S MORRISON RD APT 179                                                                         MUNCIE             IN   47304‐4022
PRICE, DENNIS W           1600 W STRUCK AVE                                                                                 ORANGE             CA   92867‐3427
PRICE, DENNIS W           1121 LAURIE LN                                                                                    DAVISON            MI   48423‐2881
PRICE, DEVERE T           4104 S LACEY LAKE RD                                                                              BELLEVUE           MI   49021‐9421
PRICE, DEWAYNE P          201 DANDRIDGE DR                                                                                  FRANKLIN           TN   37067‐4099
PRICE, DIANA              62 WHISPER WAY                                                                                    EATON              OH   45320‐9597
PRICE, DIANE M            5699 KINGSBURY ST                                                                                 DEARBORN HTS       MI   48127‐3157
PRICE, DON                GUY WILLIAM S                         PO BOX 509                                                  MCCOMB             MS   39649‐0509
PRICE, DONALD E           234 VILLA POINTE DR                                                                               SPRINGBORO         OH   45066‐8318
PRICE, DONALD E           3615 W 32ND ST                                                                                    INDIANAPOLIS       IN   46222‐1601
PRICE, DONALD G           4836 DILLON ST                                                                                    BRIGHTON           MI   48116‐1326
PRICE, DONALD H           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
PRICE, DONALD J           W3860 BEATTIE CREEK LN NO 8                                                                       MENOMINEE          MI   49858‐9510
PRICE, DONALD L           12 JUNIPER ST                                                                                     CENTRAL ISLIP      NY   11722‐3807
PRICE, DONALD R           11610 TEMPERANCE ST                                                                               MOUNT MORRIS       MI   48458‐2031
PRICE, DONALD ROBERT      11610 TEMPERANCE ST                                                                               MOUNT MORRIS       MI   48458‐2031
PRICE, DONALD W           5055 E CARPENTER RD                                                                               FLINT              MI   48506‐4521
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Name                  Address1                         Address2             Address3         Address4         City              State Zip
PRICE, DONNA L        2365 TAYLOR CT                                                                          WAYNESVILLE        OH 45068‐7206
PRICE, DONNA L        5 NORMANDY CT                                                                           LAKE ST LOUIS      MO 63367‐1142
PRICE, DORIS          131 WOODWARD BOX 344                                                                    OTISVILLE          MI 48463
PRICE, DORIS E        2511 COFER CIRCLE                                                                       TUCKER             GA 30084‐3710
PRICE, DORIS J        2506 KIPLING DR                                                                         SAGINAW            MI 48602‐3404
PRICE, DORLINDA       2800 MOUNT KENNEDY DR APT 1308                                                          MARRERO            LA 70072‐5233
PRICE, DOROTHY        1537 FM 489                                                                             OAKWOOD            TX 75855‐8416
PRICE, DOROTHY A      PO BOX 310121                                                                           FLINT              MI 48531‐0121
PRICE, DOROTHY ANN    PO BOX 310121                                                                           FLINT              MI 48531‐0121
PRICE, DOROTHY E      948 BEDFORD RD                                                                          EAST LANSING       MI 48823‐2805
PRICE, DOROTHY E      10495 EAST 600 SOUTH                                                                    KIRKLIN            IN 46050
PRICE, DOROTHY J      8410 PINES RD                                                                           SHREVEPORT         LA 71129‐4430
PRICE, DOROTHY M      825 PALMER DR                                                                           PONTIAC            MI 48342‐1861
PRICE, DOROTHY M      825 PALMER DRIVE                                                                        PONTIAC            MI 48342
PRICE, DOROTHY R      2034 VILLAGE CENTRE DR                                                                  LOGANVILLE         GA 30052‐5365
PRICE, DOUGLAS C      138 MELLO LN                                                                            TOMS RIVER         NJ 08753‐2306
PRICE, DOUGLAS F      132 OUR WAY LOOP                                                                        CROSSVILLE         TN 38555‐5789
PRICE, DOUGLAS J      3431 KAREN ST                                                                           LANSING            MI 48911‐2813
PRICE, DOUGLAS J      6051 PHEASANT RUN                                                                       CANTON             MI 48187‐4773
PRICE, DOUGLAS JOHN   6051 PHEASANT RUN                                                                       CANTON             MI 48187‐4773
PRICE, DUANE G        1272 SHERWOOD FOREST DR                                                                 DAYTON             OH 45449‐2236
PRICE, DWAYNE L       1112 CORA DR                                                                            FLINT              MI 48532‐2722
PRICE, EARL H         4772 LAMME RD                                                                           MORAINE            OH 45439‐3050
PRICE, EARL M         5704 HOME LN                                                                            TOLEDO             OH 43623‐1809
PRICE, EARL S         2037 FEATHERWOOD DR W                                                                   ATLANTIC BCH       FL 32233‐6911
PRICE, EDDIE W        380 GENEVA ST                                                                           HIGHLAND PARK      MI 48203‐2628
PRICE, EDGAR W        420 ELK RUN DR                                                                          FORT WORTH         TX 76140‐5596
PRICE, EDITH B        1 COUNTRY LN RM L113                                                                    BROOKVILLE         OH 45309‐7207
PRICE, EDITH L        324 EAST TIENKEN ROAD                                                                   ROCHESTER HILLS    MI 48306‐4534
PRICE, EDITH L        324 E TIENKEN RD                                                                        ROCHESTER HILLS    MI 48306‐4534
PRICE, EDITH S        1812 E WHEELER ST                                                                       KOKOMO             IN 46902‐2440
PRICE, EDWARD L       3532 EAST ST                                                                            SAGINAW            MI 48601‐4944
PRICE, EDWARD M       147 BAYSWATER RD                                                                        KILLEN             AL 35645‐8501
PRICE, EDWARD ODELL   SHANNON LAW FIRM                 100 W GALLATIN ST                                      HAZLEHURST         MS 39083‐3007
PRICE, ELAINE         1220 DUNDEE DR                                                                          WATERFORD          MI 48327‐2001
PRICE, ELAINE M       1030 DUBOIS RD                                                                          CARLISLE           OH 45005‐3705
PRICE, ELDON L        5122 GRAND BLANC RD                                                                     SWARTZ CREEK       MI 48473‐9447
PRICE, ELEANOR        2997 US HWY 50 EAST                                                                     BEDFORD            IN 47421‐3481
PRICE, ELLA E         3559 S PALESTINE LN                                                                     WARSAW             IN 46580‐8943
PRICE, EMMA S         2600 LAUREL CREEK DR                                                                    SIGNAL MTN         TN 37377‐1388
PRICE, ERIC
PRICE, ERIC           1722 SPRING HILL CV                                                                     LITHONIA          GA   30058‐7018
PRICE, ERIC D         ATLEE HALL & BROOKHART LLP       PO BOX 449                                             LANCASTER         PA   17608‐0449
PRICE, ERIC D         ATLEE HALL & BROOKHART LLP       P O BOX 0449                                           LANCASTER         PA
PRICE, ERIC L         901 BAY ST                                                                              PONTIAC           MI   48342‐1905
PRICE, ERIC L.        901 BAY ST                                                                              PONTIAC           MI   48342‐1905
PRICE, ERIC T         1821 CHERRYLAWN DR                                                                      FLINT             MI   48504‐2017
PRICE, ERNEST H       4766 LOGAN ARMS DR                                                                      YOUNGSTOWN        OH   44505‐1217
PRICE, ESSIE MAE      5722 DUPONT ST                                                                          FLINT             MI   48505‐2655
PRICE, ESTELLA        14232 LAUDER                                                                            DETROIT           MI   48227‐2527
PRICE, ESTELLA        14232 LAUDER ST                                                                         DETROIT           MI   48227‐2527
PRICE, ETHEL L        6202 NIMITZ DR                                                                          INDIANAPOLIS      IN   46219‐2128
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Name                   Address1                        Address2                      Address3   Address4         City            State Zip
PRICE, ETHEL L         PO BOX 6703                                                                               KOKOMO           IN 46904‐6703
PRICE, ETTA I          10891 WOODS RD                                                                            GLADWIN          MI 48624‐8846
PRICE, EUGENE          1607 EMPIRE RD                                                                            WICKLIFFE        OH 44092‐1009
PRICE, EUGENE          BRAYTON PURCELL                 PO BOX 6169                                               NOVATO           CA 94948‐6169
PRICE, EUGENE          4 WAINWRIGHT PL                                                                           PALM COAST       FL 32164‐7673
PRICE, EUGENE A        4231 MAR MOOR DR                                                                          LANSING          MI 48917‐1615
PRICE, EUGENE A        2179 ARMADILLO AVE                                                                        SPRING HILL      FL 34609‐5013
PRICE, EUGENE E        1852 US 27 SOUTH                LOT F‐30                                                  AVON PARK        FL 33825‐8332
PRICE, EUGENE E        50 RIVERDALE AVENUE                                                                       YONKERS          NY 10701
PRICE, EUGENE E        1852 US HIGHWAY 27 S LOT F‐30                                                             AVON PARK        FL 33825‐8332
PRICE, EUGENE R        613 S ROBINSON ST                                                                         PERRINTON        MI 48871‐9518
PRICE, EVAN            28964 LEONA ST                                                                            GARDEN CITY      MI 48135‐2758
PRICE, EVAN            28964 LEONA                                                                               GARDEN CITY      MI 48135
PRICE, EVE             407 CATHERINE AVENUE                                                                      DAYTON           OH 45449‐1339
PRICE, EVELYN          PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON          MS 39206‐5621
PRICE, EVELYN M        4725 E BENNINGTON RD                                                                      DURAND           MI 48429‐9000
PRICE, EVON            6460 RUSTIC RIDGE TRL                                                                     GRAND BLANC      MI 48439‐4951
PRICE, FAUNIECE A      4896 W 48TH ST                                                                            FREMONT          MI 49412‐8244
PRICE, FAY L           2410 E MCGALLIARD RD APT 129                                                              MUNCIE           IN 47303‐1598
PRICE, FLORENCE        373 DUCK POND RD                                                                          CONNELLSVILLE    PA 15425‐6229
PRICE, FLORENCE MARY   3866 BURKEY RD                                                                            YOUNGSTOWN       OH 44515‐3339
PRICE, FLORENCE MARY   3866 BURKEY ROAD                                                                          YOUNGSTOWN       OH 44515‐3339
PRICE, FLOYD T         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                       STREET, SUITE 600
PRICE, FONNIE          3528 LUCIE ST                                                                             LANSING         MI   48911‐2824
PRICE, FRANCES         7740 LEWISTON RD                                                                          BATAVIA         NY   14020‐9435
PRICE, FRANCES L       16719 FRIGATE DR                                                                          FRIENDSWOOD     TX   77546‐2336
PRICE, FRANCINE K      6115 PERRY ST                                                                             LANDOVER        MD   20785‐1047
PRICE, FRANCIS         TIA KENNEDY                     3625 CLAIRMONTE                                           BIRMINGHAM      AL   35222
PRICE, FRANCIS
PRICE, FRANK A         3821 WILMINGTON DAYTON PIKE                                                               BELLBROOK       OH   45305‐8964
PRICE, FRED            27A VALLEY VIEW DR                                                                        KENOVA          WV   25530‐9797
PRICE, FREDDIE H       116 BROAD RIVER DR                                                                        SANTEE          SC   29142‐9300
PRICE, FREDDIE M       2513 SW 101ST ST                                                                          OKLAHOMA CITY   OK   73159‐7301
PRICE, FREDERICK D     2207 GAYWOOD PL                                                                           DAYTON          OH   45414‐2814
PRICE, FREDERICK L     2722 HALLOCK YOUNG RD SW                                                                  WARREN          OH   44481‐9268
PRICE, FREDERICK R     1110 POWELL GROVE RD                                                                      LEBANON         TN   37090‐8277
PRICE, FREDERICK W     7832 ALLEN ROBERTSON PL                                                                   SARASOTA        FL   34240‐8633
PRICE, FREEMAN A       2122 WHITTIER ST                                                                          SAGINAW         MI   48601‐2264
PRICE, GALE F          205 N SCOTT RD APT D4                                                                     SAINT JOHNS     MI   48879‐1672
PRICE, GARLAND R.      320 BUTTERFIELD LN                                                                        FAYETTEVILLE    GA   30214‐3684
PRICE, GARNET          1212 E MAIN ST                  WOODLAND MANOR                                            ATTICA          IN   47918‐8053
PRICE, GARRY S         113 PARIS AVE                                                                             LEXINGTON       KY   40505‐3123
PRICE, GARY D          1315 PENROD CT                                                                            LANSING         MI   48911‐4818
PRICE, GARY E          1510 S RANGELINE RD                                                                       ANDERSON        IN   46012‐4626
PRICE, GARY E          200 KINSEYVILLE RD                                                                        NOTTINGHAM      PA   19362‐9006
PRICE, GARY L          139 S KIMBERLY AVE                                                                        AUSTINTOWN      OH   44515‐2414
PRICE, GARY L          PO BOX 81                                                                                 BEDFORD         MI   49020‐0081
PRICE, GARY L          7600 NORTHWEST BELVIDERE PKWY                                                             KANSAS CITY     MO   64152‐2298
PRICE, GARY L          1328 HURON ST                                                                             FLINT           MI   48507‐2319
PRICE, GARY L          7600 NW BELVIDERE PKWY                                                                    KANSAS CITY     MO   64152‐2298
PRICE, GARY LEE        1328 HURON ST                                                                             FLINT           MI   48507‐2319
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Name                   Address1                        Address2                      Address3         Address4         City            State Zip
PRICE, GARY P          1800 FORRER BLVD                                                                                KETTERING        OH 45420‐1308
PRICE, GARY R          318 E JEFFERSON ST                                                                              GRAND LEDGE      MI 48837‐1539
PRICE, GARY S          3027 TUXEDO ST                                                                                  DETROIT          MI 48206‐1188
PRICE, GENEVIEVE R     238 FENTON ST                                                                                   BUFFALO          NY 14206‐3217
PRICE, GEORGE A        4987 LAMBERT RD                                                                                 GROVE CITY       OH 43123‐9668
PRICE, GEORGE D        8407 DUFFIELD RD                                                                                GAINES           MI 48436‐9795
PRICE, GEORGE P        675 MAJESTIC LODGE RD                                                                           HOT SPRINGS      AR 71913‐9293
PRICE, GEORGE W        RR 1 BOX 87‐2                                                                                   SALLISAW         OK 74955‐9786
PRICE, GERALD G        PO BOX 702                                                                                      DEWITT           MI 48820‐0702
PRICE, GERALD GEORGE   PO BOX 702                                                                                      DEWITT           MI 48820‐0702
PRICE, GERALD L        510 ELIZABETH DR                                                                                OWOSSO           MI 48867‐9152
PRICE, GERALD L        51832 MITCHELL DR                                                                               CHESTERFIELD     MI 48047‐3013
PRICE, GERALD L        7 ARROWHEAD DR                                                                                  HUBERT           NC 28539‐4102
PRICE, GERTHA
PRICE, GLADYS F        1033 CENTRE AVE                                                                                 NIAGARA FALLS   NY   14305‐2432
PRICE, GLADYS F        1033 CENTER AVE                                                                                 NIAGARA FALLS   NY   14305‐2432
PRICE, GLADYS N        105 BEULAH LAND WAY                                                                             PICKENS         SC   29671‐8778
PRICE, GLEN A          3030 TOMAHAWK CIR NW                                                                            CLEVELAND       TN   37312‐3477
PRICE, GLEN E          3629 PARK ST                                                                                    GROVE CITY      OH   43123‐2535
PRICE, GLEN HERBERT    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
PRICE, GLENN N         3512 LEWISBURG‐WESTERN RD.                                                                      LEWISBURG       OH   45338‐9546
PRICE, GLENN N         3512 LEWISBURG WESTERN RD                                                                       LEWISBURG       OH   45338‐9546
PRICE, GRADY E         2951 MELLGREN DR SW                                                                             WARREN          OH   44481‐9103
PRICE, GWENDOLYN K     6414 JERSEY LN                                                                                  ARLINGTON       TX   76018‐3047
PRICE, HANEEF A        4331 STILLWELL AVE                                                                              LANSING         MI   48911‐2170
PRICE, HAROLD J        21624 KING HENRY AVE                                                                            LEESBURG        FL   34748‐7900
PRICE, HAROLD L        1197 MEADOW LARK DR                                                                             TITUSVILLE      FL   32780‐7105
PRICE, HAROLD V        707 WILLOWCREST LN                                                                              GALION          OH   44833‐3170
PRICE, HARRY           615 ROSEMONT RD.                                                                                NORTH JACKSON   OH   44451‐9717
PRICE, HARRY D         5 CENTER CIR                                                                                    WILMINGTON      DE   19808‐5705
PRICE, HARVEY W        7617 S ROSEMARY CIR                                                                             CENTENNIAL      CO   80112‐2641
PRICE, HATTIE M        3251 SUN VALLEY DR                                                                              SAGINAW         MI   48601‐5820
PRICE, HATTIE M        COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                         HOUSTON         TX   77002‐1751
PRICE, HAZEL H         PO BOX 946                                                                                      SPRING CITY     TN   37381
PRICE, HAZEL H         3524 RAIBLE AVE                                                                                 ANDERSON        IN   46011‐4730
PRICE, HELEN B         58501 12 MILE RD                                                                                NEW HUDSON      MI   48165‐9551
PRICE, HELEN C         VILLA BROOK HAVEN               APT. D‐205                    1 COUNTRY LANE                    BROOKVILLE      OH   45309
PRICE, HELEN G         3711 COUNTRY LANE                                                                               DAYTON          OH   45430‐1711
PRICE, HELEN G         3711 COUNTRY LN                                                                                 DAYTON          OH   45430‐1711
PRICE, HELEN J         1326 SABINA RD                                                                                  WILMINGTON      OH   45177‐9617
PRICE, HELEN R         11355 AVENUE H                                                                                  CHICAGO         IL   60617‐7012
PRICE, HELEN R         11355 S AVENUE H                                                                                CHICAGO         IL   60617‐7012
PRICE, HENRY H         453 BANJO BR                                                                                    OFFUTT          KY   41240
PRICE, HERMAN          2344 APPLEWOOD DR                                                                               TOLEDO          OH   43615‐2910
PRICE, HESSIE M        330 SO 22ND                                                                                     SAGINAW         MI   48601‐1451
PRICE, HOWARD          6368 KAREN CT                                                                                   RIVERDALE       GA   30296‐2714
PRICE, HOWARD M        124 ESTES COURT SALEM WOODS                                                                     NEWARK          DE   19702
PRICE, HOWARD S        1515 HYANNIS DR                                                                                 SPRINGFIELD     OH   45503‐2015
PRICE, HUGH D          101 VALLEY VIEW RD                                                                              BOWLING GREEN   KY   42101‐8286
PRICE, HUGH E          3715 SUNSET DR                  COLONY COVE                                                     ELLENTON        FL   34222‐3711
PRICE, HURLEY A        7162 MAPLE ST                                                                                   MENTOR          OH   44060‐4915
                      09-50026-mg               Doc 7123-32        Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
                                                                  Part 30 of 40 Pg 25 of 891
Name                  Address1                            Address2                       Address3   Address4         City             State Zip
PRICE, HYONG M        6051 PHEASANT RUN                                                                              CANTON            MI 48187‐4773
PRICE, HYONG MI       6051 PHEASANT RUN                                                                              CANTON            MI 48187‐4773
PRICE, INA A          498 E WEBSTER ST                                                                               ANDERSON          IN 46012‐1751
PRICE, IRA M          29083 BLUE SPRING RD                                                                           MEADOWVIEW        VA 24361‐2305
PRICE, ISAAC L        1047 BENJAMIN AVE SE                                                                           GRAND RAPIDS      MI 49506‐3222
PRICE, IVADEAN        5985 N KENTUCKY 837                                                                            KINGS MOUNTAIN    KY 40442‐9006
PRICE, IVADEAN        5985 N KY 837                                                                                  KINGS MOUNTAIN    KY 40442‐9006
PRICE, J C            5172 LITTLE RICHMOND RD                                                                        DAYTON            OH 45426‐3210
PRICE, JACK A         3031 RIVER RD R 1                                                                              HASTINGS          MI 49058
PRICE, JACK E         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510‐2212
                                                          STREET, SUITE 600
PRICE, JACQUELINE H   263 FULTON ST                                                                                  WOODBRIDGE       NJ    07095‐2846
PRICE, JAMES          914 PINEY GR CH RD #20                                                                         KNOXVILLE        TN    37909
PRICE, JAMES          COLOM LAW FIRM                      605 2ND AVE N                                              COLUMBUS         MS    39701‐4513
PRICE, JAMES          5477 DUKE CT                                                                                   WARREN           MI    48091‐3820
PRICE, JAMES          38376 LAURENWOOD ST                                                                            WAYNE            MI    48184‐1032
PRICE, JAMES A        5213 HODSON DR                                                                                 INDIANAPOLIS     IN    46241‐6112
PRICE, JAMES A        APT 502                             770 SOUTH PALM AVENUE                                      SARASOTA         FL    34236‐7794
PRICE, JAMES A        770 S PALM AVE APT 502                                                                         SARASOTA         FL    34236
PRICE, JAMES A        1194 COLLINGWOOD CT                                                                            MARYSBILLE       OH    43040
PRICE, JAMES A        10141 LOCUST LN                                                                                MELBA            ID    83641‐4243
PRICE, JAMES B        25560 WOODVILLA PL                                                                             SOUTHFIELD       MI    48075‐2047
PRICE, JAMES B        42 HAMLIN RD                                                                                   BUFFALO          NY    14208‐1536
PRICE, JAMES C        2919 CHICAGO BLVD                                                                              FLINT            MI    48503‐3472
PRICE, JAMES C        PO BOX 7512                                                                                    TYLER            TX    75711‐7512
PRICE, JAMES C        POST OFFICE BOX 7512                                                                           TYLER            TX    75711
PRICE, JAMES C        530 NECK O LAND RD                  APT A                                                      WILLIAMSBURG     VA    23185‐3195
PRICE, JAMES D        10321 COUNTY ROAD 604                                                                          ALVARADO         TX    76009‐8550
PRICE, JAMES E        411 BENTWOOD DR                                                                                LEESBURG         FL    34748‐7262
PRICE, JAMES E        2997 US HIGHWAY 50 E                                                                           BEDFORD          IN    47421‐3481
PRICE, JAMES K        1216 GEORGE ST                                                                                 LANSING          MI    48910‐1233
PRICE, JAMES K        5733 NORTHFIELD PKWY                                                                           TROY             MI    48098‐5125
PRICE, JAMES L        PO BOX 557                                                                                     WAGONER          OK    74477‐0557
PRICE, JAMES L        12203 SANDI LN                                                                                 MEDWAY           OH    45341‐9643
PRICE, JAMES L        6116 WARES FERRY RD                                                                            MONTGOMERY       AL    36117‐3216
PRICE, JAMES L        1763 RIBBLE ST                                                                                 SAGINAW          MI    48601‐6855
PRICE, JAMES M        5360 BLOSSOM LN 92                                                                             LINDEN           MI    48451
PRICE, JAMES R        111 CENTER ST                                                                                  OTISVILLE        MI    48463‐9610
PRICE, JAMES R        11370 S US HIGHWAY 27                                                                          DEWITT           MI    48820‐8376
PRICE, JAMES R        4117 E 74TH ST                                                                                 KANSAS CITY      MO    64132‐1929
PRICE, JAMES R        538 NOTRE DAME AVE                                                                             YOUNGSTOWN       OH    44515‐4114
PRICE, JAMES R        4385 DURST CLAGG RD.                                                                           CORTLAND         OH    44410‐9503
PRICE, JAMES R        KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                               CLEVELAND        OH    44114
                                                          BOND COURT BUILDING
PRICE, JAMES R        GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                 EDWARDSVILLE      IL   62025‐0959
                      ANTOGNOLI
PRICE, JAMES R        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
PRICE, JAMES R        1013 CHAD CT                                                                                   PLAINFIELD        IN   46168‐2382
PRICE, JAMES R        C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                       EDWARDSVILLE      IL   62025
                      ROWLAND PC
PRICE, JAMES ROBERT   111 CENTER ST                                                                                  OTISVILLE        MI 48463‐9610
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Name                    Address1                         Address2                      Address3   Address4         City           State Zip
PRICE, JAMES W          3204 HIGHWAY 182                                                                           LINCOLNTON      NC 28092‐1754
PRICE, JANE J           1033 LADYS LN                                                                              ANDERSON        SC 29621‐2320
PRICE, JANET E          PO BOX 19117                                                                               EVANSPORT       OH 43519‐0117
PRICE, JANETTE          100 CLEARVIEW DR                                                                           BULLARD         TX 75757‐9332
PRICE, JANICE A         209 PENINSULAR ST                                                                          LAKE ORION      MI 48362‐2350
PRICE, JEAN E           1545 LOCUST ST                                                                             DENVER          CO 80220‐1627
PRICE, JEAN E           1545 LOCUST                                                                                DENVER          CO 80220‐1627
PRICE, JEAN M           18 CHATHAM CT                                                                              BERLIN          MD 21811‐3348
PRICE, JEAN MARLENE     18 CHATHAM COURT                                                                           BERLIN          MD 21811
PRICE, JEANETTE K       59 GREEN VALLEY ROAD                                                                       FLINT           MI 48506‐5285
PRICE, JEANETTE KAY     59 GREEN VALLEY ROAD                                                                       FLINT           MI 48506‐5285
PRICE, JEANIE M         1738 LAURIE DR                                                                             YOUNGSTOWN      OH 44511‐1045
PRICE, JEFFERY A        59 ORANGE DR                                                                               KEY LARGO       FL 33037
PRICE, JEFFERY T        2705 ALBION ST                                                                             TOLEDO          OH 43610‐1220
PRICE, JEFFERY THOMAS   2705 ALBION ST                                                                             TOLEDO          OH 43610‐1220
PRICE, JENELL R         1812 E WHEELER ST                                                                          KOKOMO          IN 46902‐2440
PRICE, JENNIE A         840 BUCKEYE ST NW                                                                          WARREN          OH 44485‐2916
PRICE, JENNIE S         9005 KATHLEEN STREET                                                                       INDIANAPOLIS    IN 46234‐1632
PRICE, JENNIFER         432 ASPEN RUN                                                                              BIRMINGHAM      AL 35209‐3015
PRICE, JEROME D         6430 MEADOWLARK LN                                                                         YPSILANTI       MI 48197‐6206
PRICE, JEROME N         6846 DRYDEN RD                                                                             ALMONT          MI 48003‐7925
PRICE, JERRY D          2903 W 412 S                                                                               MARION          IN 46953‐9740
PRICE, JERRY D          3672 ELK RUN DR                                                                            CASTLE ROCK     CO 80109‐2869
PRICE, JERRY L          6429 IDA ST                                                                                INDIANAPOLIS    IN 46241‐1020
PRICE, JERRY W          4194 WHISPERING OAK DR                                                                     FLINT           MI 48507‐5554
PRICE, JERRY W          8932E 400N                                                                                 COATESVILLE     IN 46121
PRICE, JERRY W          5023 HUSSEY RD                                                                             JAMESTOWN       OH 45335‐9510
PRICE, JERRY W          8932 EAST 400 NORTH                                                                        COATESVILLE     IN 46121
PRICE, JERRY W          5023 HUSSEY RD.                                                                            JAMESTOWN       OH 45335‐5335
PRICE, JIMMY E          2358 N VASSAR RD                                                                           DAVISON         MI 48423‐9553
PRICE, JIMMY R          2030 EMIG RD                                                                               COMINS          MI 48619‐9724
PRICE, JOAN N           330 RAPER RD                                                                               DECATUR         AL 35603‐3540
PRICE, JOANNE M         4 WAINWRIGHT PL                                                                            PALM COAST      FL 32164‐7673
PRICE, JOE D            2407 MANASSAS LN                                                                           DECATUR         GA 30034‐2669
PRICE, JOE E            26590 HIGHWAY 32                                                                           BELLEVIEW       MO 63623‐6320
PRICE, JOE E            HC 63 BOX1220                                                                              BELLEVIEW       MO 63623‐9702
PRICE, JOE F            PO BOX 320251                                                                              FLINT           MI 48532‐0005
PRICE, JOE H            447 DEWDROP CIR APT F                                                                      CINCINNATI      OH 45240‐3780
PRICE, JOE H            447 F DEWDROP CIR                                                                          FOREST PARK     OH 45240‐3780
PRICE, JOE L            118 COTTAGE ST                                                                             LOCKPORT        NY 14094‐4304
PRICE, JOEL
PRICE, JOHN             GUY WILLIAM S                    PO BOX 509                                                MCCOMB         MS    39649‐0509
PRICE, JOHN B           9853 STILES RD                                                                             PILOT POINT    TX    76258‐6012
PRICE, JOHN C           13464 LAKE SHORE DR                                                                        FENTON         MI    48430‐1024
PRICE, JOHN C           127 MAPLEFIELD RD                                                                          PLEASANT RDG   MI    48069‐1023
PRICE, JOHN COLLEY      13464 LAKE SHORE DR                                                                        FENTON         MI    48430‐1024
PRICE, JOHN E           1928 NW 68TH TER                                                                           MIAMI          FL    33147‐7466
PRICE, JOHN E           745 GENEVA RD                                                                              DAYTON         OH    45417‐1214
PRICE, JOHN F           11885 LEXINGTON DR                                                                         SOUTH LYON     MI    48178‐9196
PRICE, JOHN F           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA    23510‐2212
                                                         STREET, SUITE 600
PRICE, JOHN H           1701 N COUNTY ROAD 397 E                                                                   MUNCIE          IN   47303‐9134
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Name                    Address1                      Address2                      Address3   Address4         City                 State Zip
PRICE, JOHN J           5028 GERALDINE AVE                                                                      SAINT LOUIS           MO 63115‐1309
PRICE, JOHN L           953 THOMAS J DR                                                                         FLINT                 MI 48506‐5244
PRICE, JOHN LOREN       953 THOMAS J DR                                                                         FLINT                 MI 48506‐5244
PRICE, JOHN R           7110 E STATE ROAD 38                                                                    KIRKLIN               IN 46050‐9787
PRICE, JOHN R           6295 SE LAKE CIRCLE DR                                                                  STUART                FL 34997‐6301
PRICE, JOHN T           3736 BENFIELD DR                                                                        DAYTON                OH 45429‐4455
PRICE, JOHN T           4301 E STANLEY RD BOX 549                                                               GENESEE               MI 48437
PRICE, JOHNNIE B        528 4TH ST SW                                                                           WARREN                OH 44483‐6434
PRICE, JOHNNY           5330 SATTERFIELD DR                                                                     WOODBRIDGE            VA 22193‐3408
PRICE, JONATHAN EMERY   16 POLK CT                                                                              DAVISON               MI 48423‐8534
PRICE, JONATHAN G       733 LINDA DR                                                                            TOLEDO                OH 43612‐3147
PRICE, JONATHAN L       2669 HEATHER LN NW                                                                      WARREN                OH 44485‐1237
PRICE, JONATHAN S       4260 MILL GROVE LN SW                                                                   SMYRNA                GA 30082‐4539
PRICE, JONI             3697 SHOCK RD                                                                           BEAVERTON             MI 48612
PRICE, JOSEPH E         427 LAKEMONT DR                                                                         MOORESBURG            TN 37811‐2509
PRICE, JOSEPH E         1951 HOME AVE                                                                           DAYTON                OH 45417‐2153
PRICE, JOSEPH R         2408 HUDSON ST                                                                          BALTIMORE             MD 21224‐3636
PRICE, JOSEPHINE        4852 BEECHWOOD RD                                                                       CINCINNATI            OH 45244‐1239
PRICE, JOSIE            16635 APPOLINE ST                                                                       DETROIT               MI 48235‐4163
PRICE, JOYCE A          16895 CRESTVIEW LN                                                                      WESTON                FL 33326‐1579
PRICE, JOYCE A          312 S VALENCIA ST                                                                       LA HABRA              CA 90631‐5544
PRICE, JOYCE A          40 SOUTHEAST 34TH STREET                                                                OKLAHOMA CITY         OK 73129‐2602
PRICE, JOYCE A          312 SOUTH VALENCIA STREET                                                               LA HABRA              CA 90631
PRICE, JOYCE L          PO BOX 1589                                                                             GUNNISON              CO 81230‐1589
PRICE, JR,WALTER L      3316 VANQUIL TRL                                                                        DAYTON                OH 45449‐3544
PRICE, JUANITA          530 KOLPING AVE                                                                         DAYTON                OH 45410‐2807
PRICE, JUANITA          1050 BELLFLOWER AVE                                                                     COLUMBUS              OH 43204‐2711
PRICE, JUANITA L        5121 NALL AVE                                                                           SHAWNEE MSN           KS 66202‐1836
PRICE, JUDITH           23710 GROVE ST                                                                          SAINT CLAIR SHORES    MI 48080‐1078
PRICE, JUDITH A         190 SABINE CIR                                                                          HEMPHILL              TX 75948‐9417
PRICE, JUDITH A         8900 2 SH 64                                                                            SWANTON               OH 43558
PRICE, JULIA E          5294 MOCERI LN                                                                          GRAND BLANC           MI 48439‐4339
PRICE, JULIE L          6455 HOLLYHOCK TRL                                                                      BRIGHTON              MI 48116‐2207
PRICE, JUNIUS C         12311 W COUNTY ROAD 950 N                                                               GASTON                IN 47342‐9068
PRICE, JUSTIN           WILLIAMSON CHE D              16903 RED OAK DR STE 220                                  HOUSTON               TX 77090‐3916
PRICE, KAREN A          814 W JACKSON AVE                                                                       FLINT                 MI 48504‐2817
PRICE, KAREN R          2987 EDGEMOOR LN                                                                        MORAINE               OH 45439‐1654
PRICE, KARL V           1681 CEDAR AVE APT 3                                                                    CINCINNATI            OH 45224‐2835
PRICE, KARMEN           10321 COUNTY ROAD 604                                                                   ALVARADO              TX 76009‐8550
PRICE, KARMEN           10321 COUNTY RD 604                                                                     ALVARADO              TX 76009‐8550
PRICE, KATHLEEN M       801 CLEARVIEW DR              APT B                                                     GREENWOOD             IN 46143‐2317
PRICE, KATHLEEN M       3046 MEADOW WOOD DR                                                                     SAINT CHARLES         MO 63303‐6450
PRICE, KEITH ALTON      GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                      STREET, SUITE 600
PRICE, KEITH E          1324 W 1ST ST                                                                           ANDERSON             IN   46016‐2434
PRICE, KELVIN B         1946 W CLEVELAND RD                                                                     PERRINTON            MI   48871‐9653
PRICE, KENDALL L        8959 CEDARVIEW AVE                                                                      JENISON              MI   49428‐9512
PRICE, KENNETH          PO BOX 1521                                                                             CENTER               TX   75935‐1521
PRICE, KENNETH D        1133 SW 81ST ST                                                                         OKLAHOMA CITY        OK   73139‐2533
PRICE, KENNETH D        5630 WHISPERING WAY                                                                     SPRINGBORO           OH   45066‐7407
PRICE, KENNETH D        158 VICTORIAN DR                                                                        FORT WORTH           TX   76134‐4614
PRICE, KENNETH E        1132 GENEVA RD.                                                                         BEAVERCREEK          OH   45434‐6316
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Name                Address1                        Address2                       Address3   Address4         City            State Zip
PRICE, KENNETH E    1948 E STAUNTON RD                                                                         TROY             OH 45373‐2039
PRICE, KENNETH E    1948 EAST STAUNTON ROAD                                                                    TROY             OH 45373‐2039
PRICE, KENNETH E    CARLILE LAW FIRM                400 S ALAMO BLVD                                           MARSHALL         TX 75670‐4260
PRICE, KENNETH E    4950 SIGNATURE CIR                                                                         YOUNGSTOWN       OH 44515‐3871
PRICE, KENNETH E    1132 GENEVA RD                                                                             BEAVERCREEK      OH 45434‐6316
PRICE, KENNETH G    303 WASS ST                                                                                FENTON           MI 48430‐1579
PRICE, KENNETH J    200 BORDERLINE DR                                                                          BLAINE           TN 37709‐2917
PRICE, KENNETH J    7157 SHIRLEY DR                                                                            WEST CHESTER     OH 45069‐2218
PRICE, KENNETH L    PO BOX 326                                                                                 OSSEO            MI 49266‐0326
PRICE, KENNETH L    6580 SLEEPY HOLLOW PRKY                                                                    HILLSBORO        OH 45133
PRICE, KENNETH R    1819 MOTLEY LN                                                                             BOWLING GREEN    KY 42103‐9890
PRICE, KENNETH W    15607 W 128TH ST                                                                           OLATHE           KS 66062‐1456
PRICE, KENNETH W    1609 SHIRLEY AVE                                                                           JOPPA            MD 21085‐2515
PRICE, KERMIT N     7018 FREELAND DR                                                                           ELYRIA           OH 44035‐2076
PRICE, KIMBERLY     161 SAINT JOHNS SCHOOL RD                                                                  QUINCY           FL 32352‐8176
PRICE, KYLE P       5625 SAVOY DR                                                                              WATERFORD        MI 48327‐2774
PRICE, LANITIA      103 BRUNSWICK BLVD                                                                         BUFFALO          NY 14208‐1548
PRICE, LARRY        8765 SUGAR PINE PT                                                                         INDIANAPOLIS     IN 46256‐4350
PRICE, LARRY        7402 CEDAR MOUNTAIN RD                                                                     DOUGLASVILLE     GA 30134‐3413
PRICE, LARRY A      4505 W 200 S                                                                               NEW CASTLE       IN 47362
PRICE, LARRY D      2077 MAYWOOD DR                                                                            LAPEER           MI 48446‐7775
PRICE, LARRY D      6322 CHURCHVIEW LN                                                                         WEST CHESTER     OH 45069‐1249
PRICE, LARRY E      3813 PALMER AVE                                                                            FLINT            MI 48506‐4236
PRICE, LARRY E      11661 JENNINGS ROAD NORTHEAST                                                              ALLIANCE         OH 44601‐1421
PRICE, LARRY G      227 KALAMAZOO ST                                                                           LAKE ODESSA      MI 48849‐9217
PRICE, LARRY G      7650 ESSINGTON CIR                                                                         DAYTON           OH 45459‐4129
PRICE, LARRY J      KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                    BOND COURT BUILDING
PRICE, LARRY J      581 OAK VISTA CT                                                                           LAWRENCEVILLE   GA   30044‐6748
PRICE, LARRY L      1246 MAYFAIR DR                                                                            MANSFIELD       OH   44905‐1645
PRICE, LARRY LEE    1246 MAYFAIR DR                                                                            MANSFIELD       OH   44905‐1645
PRICE, LARRY R      16719 FRIGATE DR                                                                           FRIENDSWOOD     TX   77546‐2336
PRICE, LARRY R      574 BUFORD HWY                                                                             SUGAR HILL      GA   30518‐4811
PRICE, LATASHA C    18310 COUNTY ROAD 143                                                                      CECIL           OH   45821
PRICE, LAURA C      4766 LOGAN ARMS DR.                                                                        YOUNGSTOWN      OH   44505‐4505
PRICE, LAURA E      108 FARVIEW AVE                                                                            LEBANON         OH   45036‐1506
PRICE, LAURA E      108 FARVIEW                                                                                LEBANON         OH   45036‐1506
PRICE, LAUREL M     510 RIGGS ST                                                                               FENTON          MI   48430‐2301
PRICE, LAWRENCE D   2941 WOODSIDE DR                                                                           JOLIET          IL   60431‐8823
PRICE, LAWRENCE E   146 BROOKSHIRE DR                                                                          NOKOMIS         FL   34275‐1811
PRICE, LAWRENCE J   1738 LAURIE DR                                                                             YOUNGSTOWN      OH   44511‐1045
PRICE, LAWRENCE J   KIMUEL WAYNE LEE, LAW OFFICES   8898 FLORIDA BLVD                                          BATON ROUGE     LA   70815‐4024
PRICE, LEDEL C      30242 JULIUS BLVD                                                                          WESTLAND        MI   48186‐7333
PRICE, LEE R        9 TAFEL CT                                                                                 FORT MYERS      FL   33912‐2078
PRICE, LENA R       4107 WOODCLIFFE AVE                                                                        DAYTON          OH   45420‐5420
PRICE, LEO          1213 WISCONSIN BLVD                                                                        DAYTON          OH   45408‐1946
PRICE, LEONA A      1834 SEENEYTOWN ROAD                                                                       DOVER           DE   19904‐1656
PRICE, LEONARD C    26 LAKE AVE                                                                                SWEDESBORO      NJ   08085‐1204
PRICE, LESLIE       118 LIBERTA DR                                                                             TOMS RIVER      NJ   08757‐4154
PRICE, LEWIS D      2201 BANCROFT ST                                                                           SAGINAW         MI   48601‐2075
PRICE, LICIA A      15630 WINDMILL DR                                                                          GROSSE POINTE   MI   48230
PRICE, LIDA E       PO BOX 429                                                                                 SHARPSBURG      MD   21782‐0429
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Name                     Address1                            Address2                       Address3   Address4         City               State Zip
PRICE, LIGE G            6232 FLOWERDAY DR                                                                              MOUNT MORRIS        MI 48458‐2814
PRICE, LIGE GREGORY      6232 FLOWERDAY DR                                                                              MOUNT MORRIS        MI 48458‐2814
PRICE, LINDA K           10111 PERRY LAKE RD                                                                            CLARKSTON           MI 48348‐2011
PRICE, LINDA M           2014 FLAGSTONE DR APT 1605                                                                     MADISON             AL 35758‐2964
PRICE, LISA K
PRICE, LLEWELLYN D       3051 LUCINDA LN                                                                                SANTA BARBARA      CA   93105‐2001
PRICE, LOIS              BARTON & WILLIAMS                   3007 MAGNOLIA ST                                           PASCAGOULA         MS   39567‐4126
PRICE, LOIS M            1665 LYNNFIELD DR                                                                              KETTERING          OH   45429‐5023
PRICE, LOMA L            5392 MILLER RD                                                                                 SWARTZ CREEK       MI   48473‐1511
PRICE, LONNIE            GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI   48604‐2602
                                                             260
PRICE, LONNIE G          12121 N CENTER RD                                                                              CLIO               MI   48420‐9132
PRICE, LORNA M           1674 M‐88 HWY N                                                                                CENTRAL LAKE       MI   49622‐9684
PRICE, LORRAINE          KIMMEL & SILVERMAN                  89 N HADDON AVE                                            HADDONFIELD        NJ   08033‐2423
PRICE, LOSSIE L          34 LORRAINE CT                                                                                 PONTIAC            MI   48341‐1727
PRICE, LOUIS H           6452 LAMBETH WAY                                                                               CANTON             MI   48187‐5211
PRICE, LOVELL            6441 DANNY LN                                                                                  MAUMEE             OH   43537‐1216
PRICE, LOVELLA           MOODY EDWARD O                      801 W 4TH ST                                               LITTLE ROCK        AR   72201‐2107
PRICE, LOWELL G          628 ALVORD AVE                                                                                 FLINT              MI   48507‐2520
PRICE, LUCRETIA C        532 PEARSALL AVE                                                                               PONTIAC            MI   48341‐2663
PRICE, LUCY M            8800 WALTHER BLVD APT 3106                                                                     PARKVILLE          MD   21234‐9012
PRICE, LUCY M            8800 WALTHER BLVD.                  APT. 3106                                                  PARKVILLE          MD   21234
PRICE, LUTHER            441 JONES ST                                                                                   SULLIVAN           MO   63080‐2126
PRICE, LYNETTA R         23624 LAHSER RD                                                                                SOUTHFIELD         MI   48033‐3202
PRICE, MACK B            8775 SW 211TH CIR                                                                              DUNNELLON          FL   34431‐5638
PRICE, MADELINE I        25 WEST DAYTON STREET                                                                          WEST ALEXANDRIA    OH   45381‐1140
PRICE, MADELINE I        25 W DAYTON ST                                                                                 WEST ALEXANDRIA    OH   45381‐1140
PRICE, MAJOR G           3214 W 18TH ST                                                                                 LOS ANGELES        CA   90019‐6217
PRICE, MARCIA            PO BOX 235                          203 N. KNOWLTON ST.                                        ELSIE              MI   48831‐0235
PRICE, MARGARET A        35447 MARINA DR                                                                                STERLING HEIGHTS   MI   48312
PRICE, MARGARET F        151 ELIZABETH LAKE RD                                                                          PONTIAC            MI   48341‐1008
PRICE, MARGARET M        6585 ALMOND LN                                                                                 CLARKSTON          MI   48346‐2211
PRICE, MARIAN L          3895 E M 71                                                                                    CORUNNA            MI   48817‐9508
PRICE, MARIE A           PO BOX 613                                                                                     MERCER             MO   64661‐0613
PRICE, MARIE E           4385 DURST CLAGG ROAD                                                                          CORTLAND           OH   44410‐9503
PRICE, MARILYN C         38376 LAURENWOOD ST                                                                            WAYNE              MI   48184‐1032
PRICE, MARILYN CARRELL   38376 LAURENWOOD ST                                                                            WAYNE              MI   48184‐1032
PRICE, MARILYN F         745 POSADA WAY                                                                                 FREMONT            CA   94536‐2681
PRICE, MARINIQUE T       22894 TALL OAKS CT                  APT 10                                                     AUBURN HILLS       MI   48326‐4106
PRICE, MARINIQUE T       289 TALL OAKS CT APT 10                                                                        AUBURN HILLS       MI   48326‐4106
PRICE, MARJORIE A.       202 S 202 2ND ST                                                                               ELKHORN            NE   68022
PRICE, MARJORIE D        1443 ROYAL OAK ST SW                                                                           WYOMING            MI   49509‐2709
PRICE, MARK              2618 W 41ST ST                                                                                 ANDERSON           IN   46011‐5019
PRICE, MARK A.           2618 W 41ST ST                                                                                 ANDERSON           IN   46011‐5019
PRICE, MARK L            1313 RED OAK DR                                                                                AVON               IN   46123‐9790
PRICE, MARK S            31121 WINDSOR ST                                                                               WESTLAND           MI   48185‐2975
PRICE, MARK SCOTT        31121 WINDSOR ST                                                                               WESTLAND           MI   48185‐2975
PRICE, MARLENE           9086 TAVISTOCK DR                                                                              PLYMOUTH           MI   48170‐4721
PRICE, MARLENE E         5928 SUNSET RDG                                                                                GALLOWAY           OH   43119‐8438
PRICE, MARSHA E          PO BOX 980713                                                                                  YPSILANTI          MI   48198‐0713
PRICE, MARSHALL A        15133 NOLA ST                                                                                  LIVONIA            MI   48154‐4880
PRICE, MARTHA H          15010 VICTORY BLVD UNIT 102                                                                    VAN NUYS           CA   91411‐1817
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Name                    Address1                        Address2                      Address3   Address4         City               State Zip
PRICE, MARTIN D         1000 JUDY LYNN DR                                                                         ARLINGTON           TX 76014‐2920
PRICE, MARVEL L         450 S NICOLET ST                                                                          MACKINAW CITY       MI 49701‐9657
PRICE, MARY             GUY WILLIAM S                   PO BOX 509                                                MCCOMB              MS 39649‐0509
PRICE, MARY D           696 CAYUGA DR                                                                             LEWISTON            NY 14092‐1850
PRICE, MARY H           7600 FREDERICK PIKE                                                                       DAYTON              OH 45414‐1944
PRICE, MARY HUBBARD     7 BARRINGTON DR                                                                           GREENSBORO          NC 27408‐3851
PRICE, MARY J           708 REDWAY CIR                                                                            DAYTON              OH 45426‐2753
PRICE, MARY J           13412 S 1000 E                                                                            GALVESTON           IN 46932
PRICE, MARY J           8105 FOREST VILLAS CIR APT D                                                              SPRING HILL         FL 34606‐2498
PRICE, MARY J           708 RED WAY CIRCLE                                                                        DAYTON              OH 45426‐5426
PRICE, MARY L           3 ORCHID LANE                                                                             BRADENTON           FL 34208
PRICE, MARY L           3 ORCHID LN                                                                               BRADENTON           FL 34208‐1800
PRICE, MARY R           6322 CHURCHVIEW LN                                                                        WEST CHESTER        OH 45069
PRICE, MARYANN M        117 E EVERS AVE                                                                           BOWLING GREEN       OH 43402‐2008
PRICE, MATTHEW A        19500 SW 82ND PL RD                                                                       DUNNELLON           FL 34432‐3588
PRICE, MATTHEW G        5344 N HENDERSON RD                                                                       DAVISON             MI 48423‐8402
PRICE, MATTHEW GEORGE   5344 N HENDERSON RD                                                                       DAVISON             MI 48423‐8402
PRICE, MAUREEN A        20 APRIL DR                                                                               NEW MILFORD         CT 06776‐3051
PRICE, MAYA V           2016 RIDGECLIFFE DR                                                                       FLINT               MI 48532‐3720
PRICE, MAYNARD F        2320 W GRAND RIVER RD                                                                     OWOSSO              MI 48867‐8703
PRICE, MELINDA          506C RUBY THROAT LANE                                                                     CLAYTON             OH 45315
PRICE, MELVA M          980 WILMINGTON AVE APT 701                                                                DAYTON              OH 45420
PRICE, MELVIN K         750 BELL MANOR RD               P.O. BOX 343                                              CONOWINGO           MD 21918‐1011
PRICE, MELVIN R         7545 VALLEY CT                                                                            NEW PORT RICHEY     FL 34653‐2149
PRICE, MERRILL J        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
PRICE, MICHAEL          13464 LAKE SHORE DR                                                                       FENTON             MI   48430
PRICE, MICHAEL          1606 FALLS OF ROUGH RD                                                                    CANEYVILLE         KY   42721‐9042
PRICE, MICHAEL A        12274 FRANCES RD                                                                          OTISVILLE          MI   48463‐9742
PRICE, MICHAEL A        510 RIGGS ST                                                                              FENTON             MI   48430‐2301
PRICE, MICHAEL ALAN     12274 FRANCES RD                                                                          OTISVILLE          MI   48463‐9742
PRICE, MICHAEL B        3340 KERNWAY DR                                                                           BLOOMFIELD HILLS   MI   48304‐2437
PRICE, MICHAEL B        609 S KIBBEE ST                                                                           SAINT JOHNS        MI   48879‐2031
PRICE, MICHAEL J        610 W 2ND ST                                                                              OCILLA             GA   31774‐1724
PRICE, MICHAEL L        313 LINWOOD LN                                                                            WABASH             IN   46992‐1137
PRICE, MICHAEL LYNN     313 LINWOOD LN                                                                            WABASH             IN   46992‐1137
PRICE, MICHAEL R        2288 E 200 N                                                                              ANDERSON           IN   46012‐9401
PRICE, MICHAEL R        19000 N COUNTY ROAD 100 W                                                                 MUNCIE             IN   47303‐9613
PRICE, MICHAEL RAY      19000 N COUNTY ROAD 100 W                                                                 MUNCIE             IN   47303‐9613
PRICE, MICHAEL W        2900 WYNRIDGE DR                                                                          GROVE CITY         OH   43123‐8705
PRICE, MILDRED J        1992 S US HIGHWAY 25E                                                                     BARBOURVILLE       KY   40906‐7600
PRICE, MILDRED L        6110 CLYDE PARK AVE SW                                                                    BYRON CENTER       MI   49315‐7927
PRICE, MILTON E         27347 FAIRFIELD DR                                                                        WARREN             MI   48088‐4762
PRICE, MILTON J         2158 COOLIDGE RD                                                                          EAST LANSING       MI   48823‐1332
PRICE, MORETON B        4045 NEARBROOK RD                                                                         BLOOMFIELD HILLS   MI   48302‐2136
PRICE, MORGAN F         28964 LEONA ST                                                                            GARDEN CITY        MI   48135‐2758
PRICE, MORGAN FORSTER   28964 LEONA ST                                                                            GARDEN CITY        MI   48135‐2758
PRICE, MORRIS           PO BOX 961141                                                                             RIVERDALE          GA   30296‐6901
PRICE, MOSES            1259 W 72ND ST                                                                            CHICAGO            IL   60636‐4159
PRICE, MURIEL MYRINE    1957 GREENWOOD DR                                                                         POPLAR BLUFF       MO   63901
PRICE, MYRIAM A         1243 GALLOWAY CIR                                                                         PONTIAC            MI   48340‐2175
PRICE, MYRIAM A         61 W LONGFELLOW AVE                                                                       PONTIAC            MI   48340‐1827
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Name                    Address1                       Address2                Address3         Address4         City               State Zip
PRICE, NAOMI L          311 HIGHWAY FF                                                                           JONESBURG           MO 63351‐2202
PRICE, NAOMI L          51381 ARKONA RD                PO BOX 371                                                BELLEVILLE          MI 48111‐9691
PRICE, NEDRA S          759 S 400 E                                                                              KOKOMO              IN 46902‐9322
PRICE, NELSON           238 N LEMEN ST                                                                           FENTON              MI 48430‐1919
PRICE, NIKKI D          1575 LAKEWOOD RD                                                                         BLOOMFIELD HILLS    MI 48302‐2704
PRICE, NINA S           6460 RUSTIC RIDGE TRL                                                                    GRAND BLANC         MI 48439
PRICE, NINA S           140 AUTUMN CREEK LN APT F                                                                EAST AMHERST        NY 14051‐2925
PRICE, NOLAN T          17 BIG DITCH RD                                                                          CAMDEN              DE 19934‐3818
PRICE, NOLLEY A         351 GEORGE URBAN BLVD                                                                    BUFFALO             NY 14225
PRICE, NORMA            11575 BAUMGARTNER ST                                                                     ST CHARLES          MI 48655‐9675
PRICE, NORMAN           10054 LONGACRE ST                                                                        DETROIT             MI 48227‐1089
PRICE, NORTON M         18512 NORWICH RD                                                                         LIVONIA             MI 48152‐3011
PRICE, OLIVE F          5830 W IMLAY CITY RD                                                                     IMLAY CITY          MI 48444‐8501
PRICE, ONIS G           PO BOX 7034                                                                              BLOOMFIELD HILLS    MI 48302
PRICE, ORA L            26840 W DAVISON                                                                          REDFORD             MI 48239‐2707
PRICE, ORA L            26840 DAVISON ST                                                                         REDFORD             MI 48239‐2707
PRICE, ORIS L           1434 LYNN DR                                                                             MIDDLEVILLE         MI 49333‐8793
PRICE, PAISAN           2326 E 400 S                                                                             KOKOMO              IN 46902‐9535
PRICE, PAM J            4350 SMOKE TRACE CT                                                                      HOSCHTON            GA 30548‐1757
PRICE, PAMELA DEE       421 FEDERAL DRIVE                                                                        ANDERSON            IN 46013‐4711
PRICE, PAMELA J         1089 N IRISH RD                                                                          DAVISON             MI 48423‐2208
PRICE, PAMELA S         10062 ROAD 171                                                                           OAKWOOD             OH 45873
PRICE, PAMILA G         1822 TERRACE CT                                                                          FLINT               MI 48507‐4330
PRICE, PATRICIA         4057 CRESCENT DR APT 132                                                                 N TONAWANDA         NY 14120
PRICE, PATRICIA         12179 DAVID ALLEN DRIVE                                                                  MIDWAY              OH 45341‐5341
PRICE, PATRICIA J       2757 SILVERHILL DR                                                                       WATERFORD           MI 48329‐4421
PRICE, PATRICIA K.      PO BOX 2005                                                                              WARREN              OH 44484‐0005
PRICE, PATRICIA L       9953 CAPE HAZE CIR                                                                       PARRISH             FL 34219‐9465
PRICE, PATRICIA M       542 MURPHY HILL RD                                                                       TONEY               AL 35773‐9696
PRICE, PATRICIA R       1058 S UNION ST                                                                          KOKOMO              IN 46902‐1631
PRICE, PATRICK D        5975 HANCOCK DRIVE                                                                       BELLEVILLE          MI 48111‐1024
PRICE, PATRICK JEREMY   34072 JOHN ST                                                                            WAYNE               MI 48184‐2423
PRICE, PATSY            117 126TH ST APT B                                                                       CHARLESTON          WV 25315‐1211
PRICE, PATSY            117 126TH ST                   APT B                                                     CHARLESTON          WV 25315
PRICE, PAUL C           12459 JENNINGS RD                                                                        LINDEN              MI 48451‐9433
PRICE, PAUL E           2701 GREENBRIAR RD                                                                       ANDERSON            IN 46011‐2407
PRICE, PAUL E           2439 HARMONY DR                                                                          XENIA               OH 45385‐5385
PRICE, PAUL G           4543 HWY 581                                                                             ULYSSES             KY 41264‐9075
PRICE, PAUL G           4543 HIGHWAY 581                                                                         ULYSSES             KY 41264‐9075
PRICE, PAUL L           26601 BERG RD APT 128                                                                    SOUTHFIELD          MI 48033‐5301
PRICE, PAUL R           320 CHIMNEY SWEEP CIR                                                                    PEACHTREE CTY       GA 30269‐3304
PRICE, PAUL S           257 CAMERTON LN                                                                          TOWNSEND            DE 19734‐2873
PRICE, PAUL STEVEN      257 CAMERTON LN                                                                          TOWNSEND            DE 19734‐2873
PRICE, PAUL V           11257 HIGHWAY 39                                                                         SOMERSET            KY 42503‐5185
PRICE, PAULINE          701 LAKEWOOD LANE                                                                        GRAPEVINE           TX 76051‐2970
PRICE, PEGGY A          3164 SWIGART RD                                                                          KETTERING           OH 45440‐2110
PRICE, PEGGY A          3164 SWIGERT RD                                                                          KETTERING           OH 45440‐2110
PRICE, PEGGY J          15780 AGNES BLVD                                                                         BROOKPARK           OH 44142‐3307
PRICE, PENNY J          108 CANTERBURY CT                                                                        ANDERSON            IN 46012‐3907
PRICE, PETE L           3112 ENCLAVE CT                                                                          KOKOMO              IN 46902‐8129
PRICE, PETER E          20 JOHNSON RD                                                                            ANDOVER             MA 01810‐1712
PRICE, PETER F          5515 CHARLESTON RD                                                                       NEWTON FALLS        OH 44444‐9441
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Name                   Address1                           Address2                      Address3   Address4         City              State Zip
PRICE, PHIL            GUY WILLIAM S                      PO BOX 509                                                MCCOMB             MS 39649‐0509
PRICE, PRISCILLA A     8202 BLACKBERRY CRK                                                                          BURTON             MI 48519‐1948
PRICE, PRISCILLA ANN   8202 BLACKBERRY CREEK                                                                        BURTON             MI 48519‐1948
PRICE, R. LARRY        1686 N COLLEGE RD                                                                            MASON              MI 48854‐9319
PRICE, RAHSAAN R       1213 WISCONSIN BLVD                                                                          DAYTON             OH 45408‐1946
PRICE, RALPH           GUY WILLIAM S                      PO BOX 509                                                MCCOMB             MS 39649‐0509
PRICE, RALPH E         5830 W IMLAY CITY RD                                                                         IMLAY CITY         MI 48444‐8501
PRICE, RANDALL         98 LOST DUTHMAN DR                                                                           SAINT PETERS       MO 63376‐2530
PRICE, RANDALL K       19959 SHERWOOD RD                                                                            BELLEVILLE         MI 48111‐9376
PRICE, RANDALL K.      98 LOST DUTCHMAN DR                                                                          SAINT PETERS       MO 63376‐2530
PRICE, RANDALL L       8536 MILLIGAN EAST RD                                                                        BURGHILL           OH 44404‐9729
PRICE, RAYMOND D       32301 PARKER CIR                                                                             WARREN             MI 48088‐2941
PRICE, RAYMOND D       54124 SALEM DR                                                                               SHELBY TOWNSHIP    MI 48316‐1370
PRICE, RAYMOND L       7141 CAPISTRANO AVE                                                                          WEST HILLS         CA 91307‐2322
PRICE, RAYMOND R       1674 M‐88 HWY N                                                                              CENTRAL LAKE       MI 49622
PRICE, REATHA          923 N E ST                                                                                   HAMILTON           OH 45013‐2749
PRICE, REBECCA         3155 LIDO WAY                                                                                DENTON             TX 76207‐7658
PRICE, REGINA          164 LINE STREET                                                                              NANTICOKE          PA 18634‐3127
PRICE, RENOS B         7361 JORDAN VILLAGE RD                                                                       POLAND             IN 47868‐7198
PRICE, REY EUGINE      725 CHISHOLM TRL                                                                             DENTON             TX 76209‐1012
PRICE, RICHARD A       6648 S LAWNDALE AVE                                                                          INDIANAPOLIS       IN 46221‐4729
PRICE, RICHARD C       15920 SHORT ST                                                                               EAST LANSING       MI 48823‐9410
PRICE, RICHARD E       322 W SIEBENTHALER AVE 3                                                                     DAYTON             OH 45405
PRICE, RICHARD E       3705 SIDDA WAY                                                                               DOUGLASVILLE       GA 30135‐7750
PRICE, RICHARD F       1090 MATHES DR                                                                               UTICA              MS 39175‐9410
PRICE, RICHARD F       1090 MATHIS DR                                                                               UTICA              MS 39175‐9175
PRICE, RICHARD H       PO BOX 894                                                                                   INDIANAPOLIS       IN 46206‐0894
PRICE, RICHARD L       6449 VANTAGE DR SE                                                                           CALEDONIA          MI 49316‐8931
PRICE, RICHARD L       4136 SPRINGFIELD ST                                                                          BURTON             MI 48509‐1714
PRICE, RICHARD L       1686 N COLLEGE RD                                                                            MASON              MI 48854‐9319
PRICE, RICHARD L       1697 LEALAND AVE                                                                             YOUNGSTOWN         OH 44514‐1481
PRICE, RICHARD M       4510 TILLIE DR                                                                               FLINT              MI 48504‐1035
PRICE, RICHARD M       1685 DEVONSHIRE LN                                                                           MANSFIELD          OH 44907‐2937
PRICE, RICHARD O       46121 ECORSE RD                                                                              BELLEVILLE         MI 48111‐5113
PRICE, RICHARD W       1312 MAPLE ST                                                                                EUDORA             KS 66025‐9418
PRICE, RICKY L         556 BLACK FOREST RUN                                                                         DOUGLASVILLE       GA 30134‐5171
PRICE, RILEY S         5079 HWY 433 WEST                                                                            BENTONIA           MS 39040‐9040
PRICE, RILEY S         5079 HIGHWAY 433 W                                                                           BENTONIA           MS 39040‐8129
PRICE, RITA A          215 ELK FOREST ROAD                                                                          ELKTON             MD 21921‐8207
PRICE, RITA D          1804 OAKBROOKE DR APT 1                                                                      HOWELL             MI 48843‐6329
PRICE, ROBBIE T        6815 PICKETTS WAY                                                                            LANSING            MI 48917‐9675
PRICE, ROBERT          PO BOX 1454                                                                                  HEMINGWAY          SC 29554‐1454
PRICE, ROBERT          1416 CHERRY STONE ST                                                                         NORMAN             OK 73072‐5915
PRICE, ROBERT B        215 RAMBLING ROSE DR                                                                         SPARTA             GA 31087‐5823
PRICE, ROBERT C        6204 SANDSTONE DR                                                                            ARLINGTON          TX 76001‐5498
PRICE, ROBERT D        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
PRICE, ROBERT E        104 MANN AVE                                                                                 FAIRBORN          OH   45324‐5021
PRICE, ROBERT F        6924 MARTY ST                                                                                OVERLAND PARK     KS   66204‐1346
PRICE, ROBERT H        9721 LOVELESS RD                                                                             MECHANICSBURG     OH   43044‐9558
PRICE, ROBERT J        BX 459 R.D.#3                                                                                MIDDLETOWN        DE   19709
PRICE, ROBERT J        314 EVERGREEN DR                                                                             NEWARK            DE   19702‐2159
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Name                   Address1                         Address2                Address3       Address4         City             State Zip
PRICE, ROBERT JR
PRICE, ROBERT K        301 W MAIN ST                                                                            OTISVILLE        MI    48463‐9481
PRICE, ROBERT L        PO BOX 1997                                                                              ELYRIA           OH    44036
PRICE, ROBERT L        2740 N 37TH ST                                                                           KANSAS CITY      KS    66104‐2563
PRICE, ROBERT M        1260 E FINERTY RD                                                                        WEST BRANCH      MI    48661‐9755
PRICE, ROBERT M        15385 EASTWOOD ST APT 3A                                                                 MONROE           MI    48161‐5420
PRICE, ROBERT M        2725 MATT CT                                                                             CARMEL           IN    46033‐8687
PRICE, ROBERT S        5031 SIDNEY RD                                                                           CINCINNATI       OH    45238‐3709
PRICE, ROBERT T        2643 BELLE VIEW DR                                                                       SHELBY TWP       MI    48316‐2930
PRICE, ROBERT V        PO BOX 430791                                                                            PONTIAC          MI    48343‐0791
PRICE, ROBERT W        W310S7475 ARBOR DR                                                                       MUKWONAGO        WI    53149‐9242
PRICE, ROBERT W        2054 HEMLOCK CT                                                                          YOUNGSTOWN       OH    44515‐4916
PRICE, ROBERT W        PO BOX 57                                                                                RUSSIAVILLE      IN    46979‐0057
PRICE, RODGER A        2446 CENTRAL AVE                                                                         HOLLAND          MI    49424‐2202
PRICE, ROGER A         1196 MEADOWLARK DR                                                                       WATERFORD        MI    48327‐2955
PRICE, ROGER D         864 MOSS GLEN CIR                                                                        HASLETT          MI    48840‐9715
PRICE, ROGER E         2505 BLAKE ST                                                                            SAGINAW          MI    48602‐3835
PRICE, ROGER L         1015 N RIVER DR                                                                          MARION           IN    46952‐2607
PRICE, ROLLAND E       1101 DESERT HILLS CIR APT 98                                                             GILLETTE         WY    82716‐2812
PRICE, RONALD A        3658 SAINT MARYS ST                                                                      AUBURN HILLS     MI    48326‐1442
PRICE, RONALD A        7537 GEORGES PL CITY RD                                                                  PLAIN CITY       OH    43064
PRICE, RONALD B        23722 PHEASANT RUN                                                                       NEW BOSTON       MI    48164‐9090
PRICE, RONALD B        TRLR 134                         51000 MOTT ROAD                                         CANTON           MI    48188‐2145
PRICE, RONALD G        725 BLOOMFIELD ROAD                                                                      BARDSTOWN        KY    40004‐2026
PRICE, RONALD G        53 W HIGHWAY 5                                                                           ROOPVILLE        GA    30170‐2425
PRICE, RONALD G        4943 PEBBLE LN                                                                           GREENWOOD        IN    46142‐9728
PRICE, RONALD HAROLD   LEBLANC & WADDELL                5353 ESSEN LN STE 420                                   BATON ROUGE      LA    70809‐0500
PRICE, RONALD J        1018 SKYLINE DR                                                                          MANSFIELD        OH    44903‐8840
PRICE, RONALD K        6642 PORTRAIT DR                                                                         DAYTON           OH    45415
PRICE, RONALD M        829 PINE TREE RD W                                                                       LAKE ORION       MI    48362‐2559
PRICE, RONALD MARTIN   829 PINE TREE RD W                                                                       LAKE ORION       MI    48362‐2559
PRICE, RONALD W        111 ADAIR LN                                                                             WEATHERFORD      TX    76088‐8291
PRICE, RONALD W        851 S COTTONTAIL LN                                                                      ANAHEIM          CA    92808‐1410
PRICE, RONNIE L        121 S DUNLAP AVE                                                                         YOUNGSTOWN       OH    44509
PRICE, ROOSEVELT       8283 OHIO ST                                                                             DETROIT          MI    48204‐3237
PRICE, ROSE            1434 LYNN DR                                                                             MIDDLEVILLE      MI    49333‐8793
PRICE, ROURK J         1110 E GALLATIN AVE                                                                      BELGRADE         MT    59714
PRICE, ROURK JAY       1110 E GALLATIN AVE                                                                      BELGRADE         MT    59714
PRICE, ROY             GUY WILLIAM S                    PO BOX 509                                              MCCOMB           MS    39649‐0509
PRICE, ROY D           4437 HOPKINS RD                                                                          RICHMOND         VA    23234‐3651
PRICE, ROY G           262 JEOPARDY LN                                                                          CADIZ            KY    42211‐7202
PRICE, RUBLE C         1001 FRANK CAMPBELL RD                                                                   JAMESTOWN        TN    38556‐5664
PRICE, RUBY J          10631 SWAN CT                                                                            INDIANAPOLIS     IN    46231‐1015
PRICE, RUBY J          10631 SWAN COURT                                                                         INDIANAPOLIS     IN    46231
PRICE, RUSSELL L       5963 JUDITH DR                                                                           HAMILTON         OH    45011‐2205
PRICE, RUTH            21624 KING HENRY AVE                                                                     LEESBURG         FL    34748‐7900
PRICE, SADIE           1741 S BEATRICE                                                                          DETROIT          MI    48217‐1626
PRICE, SANDRA K        103 WATERFORD WAY                                                                        HENDERSONVILLE   TN    37075‐5834
PRICE, SANDRA L        12203 SANDI LANE                                                                         MEDWAY           OH    45341‐9643
PRICE, SANDRA S        12311 W COUNTY ROAD 950 N                                                                GASTON           IN    47342‐9068
PRICE, SARAH L         118 COTTAGE ST                                                                           LOCKPORT         NY    14094‐4304
PRICE, SCOTT M         4005 LINWOOD AVE                                                                         ROYAL OAK        MI    48073‐1844
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Name                    Address1                      Address2                    Address3   Address4         City              State Zip
PRICE, SEAN G           201 WINTER LN                                                                         CORTLAND           OH 44410‐1131
PRICE, SELBY E          8718 CAMPBELLTON ST                                                                   DOUGLASVILLE       GA 30134‐2201
PRICE, SHARON L         PO BOX 284                                                                            CARLETON           MI 48117‐0284
PRICE, SHEIRA A         PO BOX 1995                                                                           GRAND PRAIRIE      TX 75053
PRICE, SHELLEY K        PO BOX 722                                                                            DAVISON            MI 48423‐0722
PRICE, SHELLEY KAY      PO BOX 722                                                                            DAVISON            MI 48423‐0722
PRICE, SHELLY D         582 E 650 N                                                                           ALEXANDRIA         IN 46001‐8623
PRICE, SHERRY L         1633 SHEPHERD RD                                                                      CHATTANOOGA        TN 37421‐2945
PRICE, SHERRY L         75200 MACKEY RD                                                                       RICHMOND           MI 48062‐3527
PRICE, SHERRY LYNN      75200 MACKEY RD                                                                       RICHMOND           MI 48062‐3527
PRICE, SHERRY M         3178 DUNSTAN DR NW                                                                    WARREN             OH 44485‐1519
PRICE, SHERRY M         10791 FAYTH RD                                                                        COALING            AL 35453
PRICE, SHIRLEY          207 ROSE LEA AVE                                                                      HAMILTON           OH 45011‐5638
PRICE, SHIRLEY          1054 N TRIMBLE RD                                                                     MANSFIELD          OH 44906‐1602
PRICE, SHIRLEY A        7520 STANFORD AVE                                                                     SAINT LOUIS        MO 63130‐2836
PRICE, SHIRLEY J.       5920 HAVERHILL DRIVE                                                                  LANSING            MI 48911‐4810
PRICE, SHIRLEY R        4162 ROSAS AVE                                                                        SARASOTA           FL 34233‐1670
PRICE, SHIRLYN F        5259 VANALLEO DR                                                                      SAGINAW            MI 48638‐5551
PRICE, STANLEY M        8289 W 600 N                                                                          ELWOOD             IN 46036‐9071
PRICE, STANLEY MELVIN   8289 W 600 N                                                                          ELWOOD             IN 46036‐9071
PRICE, STANLEY T        42086 METALINE DR                                                                     CANTON             MI 48187‐3894
PRICE, STANLEY THOMAS   42086 METALINE DR                                                                     CANTON             MI 48187‐3894
PRICE, STEPHEN L        7405 STONEGATE CT                                                                     INDIANAPOLIS       IN 46256‐2094
PRICE, STEVEN           CLARK DEPEW LLP               440 LOUISIANA ST STE 1600                               HOUSTON            TX 77002‐1638
PRICE, STEVEN C         12311 W COUNTY ROAD 950 N                                                             GASTON             IN 47342‐9068
PRICE, STEVEN CARL      12311 W COUNTY ROAD 950 N                                                             GASTON             IN 47342‐9068
PRICE, STEVEN CHARLES   BRAYTON PURCELL               PO BOX 6169                                             NOVATO             CA 94948‐6169
PRICE, STEVEN D         551 TERRACE CT                                                                        CANTON             MI 48188‐6279
PRICE, STEVEN J         5851 BROWN RD                                                                         LAKE ODESSA        MI 48849‐9609
PRICE, STEVEN R         421 LEWIS RD                                                                          BOWLING GREEN      KY 42104‐8762
PRICE, STEVEN R         4132 CHALFONTE DR                                                                     DAYTON             OH 45440‐3221
PRICE, STEVEN W         5607 W 78TH TER                                                                       PRAIRIE VILLAGE    KS 66208‐4618
PRICE, SUE C            2539 PETERS ST                                                                        ORION              MI 48359‐1148
PRICE, SUSAN            SUSAN PRICE                   624 PLYMOUTH WAY                                        BURLINGAME         CA 94010‐2733
PRICE, SUSAN A          2450 OLD MACKINAW ROAD                                                                CHEBOYGAN          MI 49721‐9310
PRICE, SUSAN M          3823 LOMOND CT                                                                        GREENWOOD          IN 46143‐8247
PRICE, SUSAN R          901 W MARKET ST APT 102                                                               LIMA               OH 45805‐2746
PRICE, SUSAN R          17455 ROAD 4 # Q                                                                      PANDORA            OH 45877‐8715
PRICE, TAE Y            1700 SUSSEX                                                                           KOKOMO             IN 46901
PRICE, TAMMY L          667 FOREST VALLEY DR                                                                  ASHEBORO           NC 27205‐7830
PRICE, TARA D           6829 ORANGE LN                                                                        FLINT              MI 48505‐1941
PRICE, TAWANA T         1127 PLAYER DR                                                                        TROY               MI 48085‐3310
PRICE, TERESA B         1115 EVERGREEN CT                                                                     ANDERSON           IN 46012‐5506
PRICE, TERRY            14882 DAWSON RD                                                                       WARSAW             MO 65355‐4763
PRICE, TERRY L          1243 GALLOWAY CIR                                                                     PONTIAC            MI 48340‐2175
PRICE, TERRY R          450 CHEYENNE TRL                                                                      HOWELL             MI 48843‐9170
PRICE, THELMA M         120 MAYFLOWER RD                                                                      JOHNSON CITY       TN 37601‐9257
PRICE, THEODORE A       3360 E COUNTY ROAD 600 S                                                              FRANKFORT          IN 46041‐8681
PRICE, THEODORE V       2342 SUNNYGLEN AVE                                                                    YPSILANTI          MI 48198‐6215
PRICE, THOMAS           GELB LESA S                   309 WYOMING AVE                                         WEST PITTSTON      PA 18643‐2824
PRICE, THOMAS D         15660 OLIVE BRANCH DR                                                                 LA MIRADA          CA 90638‐2433
PRICE, THOMAS E         12008 GRANDVIEW ST                                                                    OVERLAND PARK      KS 66213‐1551
                        09-50026-mg             Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
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Name                    Address1                         Address2             Address3         Address4         City                State Zip
PRICE, THOMAS J         412 ADWOLFE RD                                                                          MARION               VA 24354‐6675
PRICE, THOMAS L         8003 CRESCENT DR                                                                        CLARKSTON            MI 48348‐3940
PRICE, THOMAS L         13495 92 ST S. E                 LOT # A7                                               ALTO                 MI 49302
PRICE, THOMAS L         1618 VALES MILL RD                                                                      PULASKI              TN 38478‐5511
PRICE, THOMAS L         5009 FAINT TRL                                                                          CHIPLEY              FL 32428‐8407
PRICE, THOMAS O         8870 DAVID ST                                                                           DETROIT              MI 48214‐1243
PRICE, THOMAS R         1033 LADYS LN                                                                           ANDERSON             SC 29621‐2320
PRICE, THOMAS R         42 S ROANOKE AVE                                                                        YOUNGSTOWN           OH 44515‐3545
PRICE, TIMOTHY J        7775 FARNSWORTH DR                                                                      CLAY                 MI 48001‐3017
PRICE, TIMOTHY P        708 S CRAWFORD ST                                                                       TROY                 OH 45373‐4124
PRICE, TIMOTHY R        1417 SE NORTH BALCOURT CT                                                               PORT ST LUCIE        FL 34952‐7810
PRICE, TIMPELLA M       1515 PARKVIEW DR                                                                        MONROE               LA 71202‐3051
PRICE, TINA M           3569 DUNSTAN DR NW                                                                      WARREN               OH 44485
PRICE, TINA R           1128 LAKE DOCKERY RD                                                                    BYRAM                MS 39272‐9487
PRICE, TOM F            9287 WEST 600 N 27                                                                      CONVERSE             IN 46919‐9563
PRICE, TOMI L           PO BOX 183444                                                                           ARLINGTON            TX 76096‐3444
PRICE, TOMI LAVERNE     PO BOX 183444                                                                           ARLINGTON            TX 76096‐3444
PRICE, TOMMY L          2334 OLD HICKORY BLVD                                                                   DAVISON              MI 48423‐2062
PRICE, TOMMY N          200 COUNTY RD #155                                                                      CENTRE               AL 35960
PRICE, TREVA E          867 DOROTHY LN                                                                          BROOKVILLE           OH 45309‐8689
PRICE, TREVA E          867 DOROTHY LANE                                                                        BROOKVILLE           OH 45309‐8689
PRICE, TRUMAN           GUY WILLIAM S                    PO BOX 509                                             MCCOMB               MS 39649‐0509
PRICE, URSULA M         26522 PRIMARY DR                                                                        SOUTHFIELD           MI 48034‐5689
PRICE, V. C             41751 EMERSON CT                                                                        ELYRIA               OH 44035‐2533
PRICE, VELMA C          PO BOX 64                                                                               BEERSHEBA SPRINGS    TN 37305‐0064
PRICE, VELMA E          5122 GRAND BLANC RD                                                                     SWARTZ CREEK         MI 48473‐9447
PRICE, VELMA H          3414 ARGYLE LN                                                                          GREENSBORO           NC 27406‐9286
PRICE, VERLYN E         1211 YELLOWHAMMER DR                                                                    CRESTVIEW            FL 32539‐7011
PRICE, VERNON M         226 CHERRY ST                                                                           BELOIT               WI 53511‐2022
PRICE, VERNON MICHAEL   226 CHERRY ST                                                                           BELOIT               WI 53511‐2022
PRICE, VICKI C          701 COTTAGE AVE                                                                         ANDERSON             IN 46012‐3440
PRICE, VICKI M          4018 N 100 W                                                                            ANDERSON             IN 46011‐9512
PRICE, VICKIE S         3107 DEARBORN AVE                                                                       FLINT                MI 48507‐1856
PRICE, VICKIE SUE       3107 DEARBORN AVE                                                                       FLINT                MI 48507‐1856
PRICE, VIOLA F          4329 MOLINE DR                                                                          INDIANAPOLIS         IN 46221‐2351
PRICE, VIOLA F          4329 MOLINE DRIVE                                                                       INDIANAPOLIS         IN 46221‐2351
PRICE, VIRGINIA L       41 FREMONT ST                                                                           TONAWANDA            NY 14150‐2305
PRICE, VIRGINIA LEE     41 FREMONT ST                                                                           TONAWANDA            NY 14150‐2305
PRICE, VIRGINIA M       2895 HARDEE DR                                                                          SARASOTA             FL 34231‐7924
PRICE, VIVIAN G         3177 DREXEL AVENUE                                                                      FLINT                MI 48506‐1921
PRICE, WADE C           720 WINDHAM SQ                                                                          GLENDIVE             MT 59330‐2644
PRICE, WALLACE D        732 TEMPLECLIFF RD                                                                      BALTIMORE            MD 21208‐4627
PRICE, WALTER M         116 4TH ST                       ALTIZER                                                HUNTINGTON           WV 25705
PRICE, WALTER M         116 4TH ST                                                                              HUNTINGTON           WV 25705
PRICE, WANDA M          2802 STONELEIGH DR                                                                      LANSING              MI 48910‐3738
PRICE, WARNER E         3118 SHORE DR                                                                           PORT AUSTIN          MI 48467‐9726
PRICE, WARREN D         672 CREEKSIDE DR                                                                        TONAWANDA            NY 14150‐1301
PRICE, WARREN D         5350 FOSSIL CREEK BLVD APT 114                                                          HALTOM CITY          TX 76137‐2895
PRICE, WARREN DANIEL    672 CREEKSIDE DR                                                                        TONAWANDA            NY 14150‐1301
PRICE, WARREN R         2143 INDIAN PAINTBRUSH DR                                                               HIGHLANDS RANCH      CO 80129‐5786
PRICE, WAYNE D          10359 HENDERSON RD                                                                      OTISVILLE            MI 48463‐9726
PRICE, WELDON H         4400 CLARKWOOD PKWY APT 505                                                             CLEVELAND            OH 44128‐4837
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Name                            Address1                         Address2                      Address3           Address4                 City               State Zip
PRICE, WILLIAM                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
PRICE, WILLIAM A                4365 W 300 N                                                                                               ANDERSON           IN    46011‐8722
PRICE, WILLIAM A                10066 E MAPLE AVE                                                                                          DAVISON            MI    48423‐8636
PRICE, WILLIAM ARTHUR           10066 E MAPLE AVE                                                                                          DAVISON            MI    48423‐8636
PRICE, WILLIAM C                45 SONGBIRD LN                                                                                             DOVER              DE    19904‐5673
PRICE, WILLIAM C                PO BOX 983                                                                                                 MAYNARDVILLE       TN    37807‐0983
PRICE, WILLIAM E                229 CROWS LN                                                                                               BOWLING GREEN      KY    42101‐9011
PRICE, WILLIAM E                PO BOX 630                                                                                                 SALADO             TX    76571‐0630
PRICE, WILLIAM F                5523 DELMAR ST                                                                                             EAST SAINT LOUIS    IL   62201‐2418
PRICE, WILLIAM H                9169 COMMERCE RD                                                                                           COMMERCE TWP       MI    48382‐4309
PRICE, WILLIAM H                1507 LAKE RD                                                                                               YOUNGSTOWN         NY    14174‐9777
PRICE, WILLIAM P                34 FILLMORE AVE                                                                                            CARTERET           NJ    07008‐2237
PRICE, WILLIAM P                3 MONTERREY DR                                                                                             PALM COAST         FL    32137‐2109
PRICE, WILLIAM R                6620 S COUNTY ROAD 800 W                                                                                   DALEVILLE          IN    47334‐9749
PRICE, WILLIAM R                6104 ANDOVER CT                                                                                            GRAND BLANC        MI    48439‐9434
PRICE, WILLIAM RANDAL           6620 S COUNTY ROAD 800 W                                                                                   DALEVILLE          IN    47334‐9749
PRICE, WILLIE J                 4181 S. M37                                                                                                HARRIETTA          MI    49638
PRICE, WYATT G                  2319 ROSEMONT PL                                                                                           MONTGOMERY         AL    36106‐2218
PRICE, YVONNE                   18711 ROGGE ST                                                                                             DETROIT            MI    48234‐3087
PRICE, YVONNE R                 1575 LAKEWOOD RD                                                                                           BLOOMFIELD HILLS   MI    48302‐2704
PRICE,KENNETH D                 5630 WHISPERING WAY                                                                                        SPRINGBORO         OH    45066‐7407
PRICE‐BIBB, DENISE K            1301 ROMNEY RD                                                                                             BLOOMFIELD         MI    48304‐1540
PRICE‐RITE AUTO CARE            100 FRONTAGE RD NE                                                                                         RIO RANCHO         NM    87124
PRICE‐RYAN, DEBRA MARIE         27220 NANTUCKET DR                                                                                         SOUTHFIELD         MI    48076‐4805
PRICE‐WILLIAMS I I I, WOODROW   5068 CHESTNUT RIDGE RD                                                                                     ORCHARD PARK       NY    14127‐3205
PRICE‐WILLIAMS III, WOODROW     5068 CHESTNUT RIDGE RD                                                                                     ORCHARD PARK       NY    14127‐3205
PRICE‐YELLAND, MARGARET E       180 GEORGE COGGIN RD                                                                                       NEWNAN             GA    30265‐1431
PRICECE, GLADYS                 1670 ELMHURST                                                                                              DETROIT            MI    48206‐1335
PRICECE, OREE                   11068 BEAR DR                                                                                              CLIO               MI    48420‐1538
PRICELESS RENT A CAR            48450 BANFIELD AVE.                                                                                        DOLLAR BAY         MI    49922
PRICELESS RENT A CAR            48540 BANFIELD AVE.                                                                                        DOLLAR BAY         MI    49922
PRICES MOBILE TRUCK REPAIR      313 DANIELS LN                                                                                             BAKERSFIELD        CA    93307‐3611
PRICEWATERHOUSE COOPERS         GPO BOX 2650                                                                      SYDNEY NSW 1171
                                                                                                                  AUSTRALIA
PRICEWATERHOUSE COOPERS LLP     800 MARKET ST                                                                                              SAINT LOUIS        MO    63101
PRICEWATERHOUSE COOPERS LLP     3109 W MARTIN LUTHER KING BLVD                                                                             TAMPA              FL    33607
PRICEWATERHOUSE COOPERS LLP     400 RENAISSANCE CTR                                                                                        DETROIT            MI    48243‐1607
PRICEWATERHOUSE COOPERS LLP     1900 ST. ANTOINE STREET                                                                                    DETROIT            MI    48226
PRICEWATERHOUSECOOPERS          MARIANO ESCOBEDO573 COL          RINCON DEL BOSQUE             11580 MEXICO, DF   XXX HOLD SC X5159
                                                                                                                  MEXICO
PRICEWATERHOUSECOOPERS          19TH FL SHUI ON PLAZA            333 HUAI HAI ZHONG RD         200021 SHANGHAI    PR CHINA CHINA
PRICEWATERHOUSECOOPERS          27/F 333 KEELUNG RD SEC 1        TAIPEI                                           TAIWAN R O C TAIWAN
PRICEWATERHOUSECOOPERS          2 EGLIN RD PRIVATE BAG X36                                                        SUNNINGHILL 2157 SOUTH
                                                                                                                  AFRICA
PRICEWATERHOUSECOOPERS
PRICEWATERHOUSECOOPERS INC      2 EGLIN RD PRIVATE BAG X36                                                        SUNNINGHILL 2157 SOUTH
                                                                                                                  AFRICA
PRICEWATERHOUSECOOPERS LLP      400 RENAISSANCE CTR                                                                                        DETROIT            MI    48243‐1607
PRICEWATERHOUSECOOPERS LLP      PO BOX 72478001                                                                                            PHILADELPHIA       PA    19170‐0001
PRICEWATERHOUSECOOPERS LLP      PO BOX 905695                                                                                              CHARLOTTE          NC    28290‐5695
PRICEWATERHOUSECOOPERS LLP      KORPACZ REAL ESTATE IVESTOR      PO BOX 988                                                                FLORHAM PARK       NJ    07932‐0988
                                 09-50026-mg               Doc 7123-32      Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
                                                                           Part 30 of 40 Pg 37 of 891
Name                             Address1                          Address2                      Address3                    Address4                City                 State Zip
PRICEWATERHOUSECOOPERS LLP       PO BOX 75647                                                                                                        CHICAGO                IL 60675‐5647
PRICEWATERHOUSECOOPERS LLP
PRICEWATERHOUSECOOPERS LLP       1 N WACKER DR                                                                                                       CHICAGO              IL    60606
PRICEWATERHOUSECOOPERS LLP       300 MADISON AVE                                                                                                     NEW YORK             NY    10017
PRICEWATERHOUSECOOPERS LLP       1900 SAINT ANTOINE ST                                                                                               DETROIT              MI    48226‐2333
PRICEWATERHOUSECOOPERS LLP       ATTN: ANDREA CLARK SMITH          225 SOUTH SIXTH STREET        SUITE 1400                                          MINNEAPOLIS          MN    55402
PRICEWATERHOUSECOOPERS LLP       ADA PAULSEN 13TH FL TERRACES      34 BREE STREET                                            CAPE TOWN 8001 SOUTH
TAXADVISORY SERVICES LTD                                                                                                     AFRICA
PRICEWATERHOUSECOOPERS LTD       21/F EDINBURGH TOWER THE          LANDMARK #15 QUEENS RD                                    HONG KONG CHINA CHINA
                                                                   CENTRAL
PRICEWATERHOUSECOOPERS           PO BOX 75647                                                                                                        CHICAGO               IL   60675‐5647
PRODUCTSALES LLC
PRICEWATERHOUSECOOPERS, TAIWAN   27F 333 KEELUNG RD.               SEC.1                                                     TAIPEI 11012 TAIWAN

PRICHARD GREGORY ALLEN           5404 S FLOYD DR                                                                                                     MUNCIE                IN   47302‐8882
PRICHARD HAWKINS & YOUNG LLP     UNION SQUARE STE 600              10101 REUNION PLACE BLVD                                                          SAN ANTONIO           TX   78216
PRICHARD HAWKINS MCFARLAND &     ATTN: DAVID M. PRICHARD, ESQ.     10101 REUNION PLACE BLVD      SUITE 600, UNION SQUARE                             SAN ANTONIO           TX   78216
YOUNG LLP
PRICHARD HAWKINS MCFARLAND &     DAVID M. PRICHARD                 UNION SQUARE, SUITE 600       10101 REUNION PLACE BLVD.                           SAN ANTONIO           TX   78216
YOUNG, LLP
PRICHARD HAWKINS MCFARLAND &     DAVID M. PRICHARD                 UNION SQUARE SUITE 600        10101 REUNION PLACE BLVD.                           SAN ANTONIO           TX   78216
YOUNG, LLP
PRICHARD HAWKINS MCFARLAND &     DAVID PRICHARD, ESQ.              10101 REUNION PL STE 600                                                          SAN ANTONIO           TX   78216‐4162
YOUNG, LLP
PRICHARD HAWKINS MCFARLAND &     KEVIN M. YOUNG                    UNION SQUARE SUITE 600        10101 REUNION PLACE BLVD.                           SAN ANTONIO           TX   78216
YOUNG, LLP
PRICHARD OTIS H (429645)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                       NORFOLK              VA 23510
                                                                   STREET, SUITE 600
PRICHARD, BILL G                 209 WESTERN DR.                                                                                                     MEDWAY               OH    45341‐9517
PRICHARD, BILL G                 209 WESTERN DR                                                                                                      MEDWAY               OH    45341‐9517
PRICHARD, CHARLES E              864 PANORAMA CT                                                                                                     MILFORD              MI    48381‐1547
PRICHARD, DARRYL L               669 BRIGHTWATER DR                                                                                                  LAS VEGAS            NV    89123‐0757
PRICHARD, DAVID R                635 W CUTSINGER RD                                                                                                  GREENWOOD            IN    46143‐9539
PRICHARD, DENNIS J               3839 NORWICH DR                                                                                                     CANTON               MI    48188‐7232
PRICHARD, FRANCIS A              602 KENSINGTON DR                                                                                                   DUNCANVILLE          TX    75137‐2120
PRICHARD, GREGORY A              5404 S FLOYD DR                                                                                                     MUNCIE               IN    47302‐8882
PRICHARD, GREGORY ALLEN          5404 S FLOYD DR                                                                                                     MUNCIE               IN    47302‐8882
PRICHARD, HAWKINS, MCFARLAND &   DWAYNE DAY                        3401 ALLEN PKWY               STE 100                                             HOUSTON              TX    77019‐1857
YOUNG
PRICHARD, HAWKINS, MCFARLAND &   DAVID M. PRICHARD                 UNION SQUARE SUITE 600        10101 REUNION PLACE BLVD.                           SAN ANTONIO           TX   78216
YOUNG, LLP
PRICHARD, HAWKINS, MCFARLAND &   DAVID M. PRICHARD, ESQ.           UNION SQUARE, SUITE 600       10101 REUNION PLACE BLVD                            SAN ANTONIO           TX   78216
YOUNG, LLP
PRICHARD, JACQUELINE P           403 APPLE RD                                                                                                        AMELIA               OH    45102‐1107
PRICHARD, JAMES W                3655 STATE ROUTE 222                                                                                                BATAVIA              OH    45103‐8932
PRICHARD, JOHN G                 3212 PINE BLUFF LN                                                                                                  KALAMAZOO            MI    49008‐2523
PRICHARD, JOHN W                 1709 SOUTH 9TH STREET                                                                                               KALAMAZOO            MI    49009‐9454
PRICHARD, JOHN W                 1709 S 9TH ST                                                                                                       KALAMAZOO            MI    49009‐9454
PRICHARD, KATHERYN E             28101 ELMDALE ST                                                                                                    SAINT CLAIR SHORES   MI    48081‐1482
PRICHARD, KATHERYN E             28101 ELMDALE                                                                                                       ST CLAIR SHORES      MI    48081‐1482
PRICHARD, KATHLEEN               22077 BEECH ST APT 910                                                                                              DEARBORN             MI    48124‐2855
PRICHARD, LORETTA                7948 IRVINGTON AVE                                                                                                  DAYTON               OH    45415‐2316
                                       09-50026-mg             Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                   Address1                        Address2                      Address3      Address4         City                    State Zip
PRICHARD, LORETTA                      7124 N MAIN ST                                                                               DAYTON                   OH 45415‐2538
PRICHARD, LORI R                       252 RENFREW CT                                                                               ADRIAN                   MI 49221‐1811
PRICHARD, LORI RAE                     252 RENFREW CT                                                                               ADRIAN                   MI 49221‐1811
PRICHARD, MARIE                        179 CHERRY HILL RD                                                                           MANSFIELD                OH 44907‐2127
PRICHARD, MARIE                        179 CHERRYHILL ROAD                                                                          MANSFIELD                OH 44907‐2127
PRICHARD, MARTHA M                     601 S BROADWAY ST                                                                            PENDLETON                IN 46064‐1303
PRICHARD, MICHAEL P                    9890 GLADIOLUS PRESERVE CIR                                                                  FORT MYERS               FL 33908‐9722
PRICHARD, OTIS H                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK                  VA 23510‐2212
                                                                       STREET, SUITE 600
PRICHARD, ROBERT P                     2918 STIVING RD                                                                              MANSFIELD               OH    44903‐8006
PRICHARD, RONALD G                     403 APPLE RD                                                                                 AMELIA                  OH    45102‐1107
PRICHARD, RONALD GENE                  403 APPLE RD                                                                                 AMELIA                  OH    45102‐1107
PRICHARD, SEAN M                       APT 233                         605 BLUFF STREET                                             DUBUQUE                  IA   52001‐4678
PRICHARD, SEAN MICHAEL                 APT 233                         605 BLUFF STREET                                             DUBUQUE                  IA   52001‐4678
PRICHARD, SYLVIA M                     3839 NORWICH DR                                                                              CANTON                  MI    48188‐7232
PRICHARD, T G                          21196 SYRACUSE AVE                                                                           WARREN                  MI    48091‐4355
PRICILLA BISHOP                        HC 32 BOX 8190                                                                               TRUTH OR CONSEQUENCES   NM    87901‐9735

PRICILLA CARROLL                       1233 PINCONNING RD                                                                           BEAVERTON               MI    48612‐8840
PRICILLA OVERSTREET                    2134 114TH AVE                                                                               ALLEGAN                 MI    49010‐9071
PRICILLA S WINANS                      5783 SARAH AVE NW                                                                            WARREN                  OH    44483
PRICKEL, GINA M                        9614 OTTERBEIN RD                                                                            CINCINNATI              OH    45241
PRICKETT VIRGINIA                      6728 OAKLAND RD                                                                              LOVELAND                OH    45140‐8407
PRICKETT, DIANA S                      1424 S 550 E                                                                                 PERU                    IN    46970‐7128
PRICKETT, ELDO X                       1424 S 550 E                                                                                 PERU                    IN    46970‐7128
PRICKETT, LLOYD D                      5168 CLEVELAND AVE                                                                           NEWTON FALLS            OH    44444‐1820
PRICKETT, MACK W                       1000 NEW SEA ISLAND RD APT 37                                                                ST SIMONS ISLAND        GA    31522‐2442
PRICKETT, ROBERT G                     106 MUSKINGUM CIR                                                                            MONROE                  OH    45050‐1141
PRICOLA, SANTINA                       62 MECHANIC ST                  P.O. BOX 9                                                   ELBA                    NY    14058‐9766
PRICOPIO, LINDA A                      5835 CAEN CIR                                                                                EAST LANSING            MI    48823‐9234
PRICOR, ROSE                           14479 BALSAM ST                                                                              SOUTHGATE               MI    48195‐2061
PRIDAY, JAMES W                        200 DALTON ST                                                                                FREDERICKTOWN           MO    63645‐1339
PRIDDY AUBREY P (ESTATE OF) (626720)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK                 VA    23510
                                                                       STREET, SUITE 600
PRIDDY BILL                            202 CEDAR RIDGE DR                                                                           GEORGETOWN              TX 78628‐7113
PRIDDY, ALAN J                         4005 CRESCENT DR                                                                             GRANBURY                TX 76049‐5315
PRIDDY, AUBREY P                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK                 VA 23510‐2212
                                                                       STREET, SUITE 600
PRIDDY, CHRISTINA M                    3434 HAMILTON PL                                                                             ANDERSON                IN    46013‐5268
PRIDDY, DODI S                         273 MAPLEWOOD DR.                                                                            CORTLAND                OH    44410
PRIDDY, HENRY E                        1290 OAK GROVE CHURCH RD                                                                     BROWNSVILLE             KY    42210‐8508
PRIDDY, JACK N                         3117 WAYSIDE LN                                                                              ANDERSON                IN    46011‐2329
PRIDDY, JAMES F                        380 CHERRY HILL LN                                                                           CORTLAND                OH    44410‐1103
PRIDDY, JERRY L                        20 HITCHING POST ROAD                                                                        ENGLEWOOD               OH    45322‐3137
PRIDDY, LYNDA M                        10 TAMI CT                                                                                   CORTLAND                OH    44410‐8732
PRIDDY, PETER J                        8401 N CHERRY KNOLL DR                                                                       MIDDLETOWN              IN    47356‐9541
PRIDDY, RODNEY A                       3604 PADDOCK CT                                                                              FORT WAYNE              IN    46804‐3945
PRIDDY, RONDELL O                      698 S ALEXANDER CREEK RD                                                                     BOWLING GREEN           KY    42101‐8322
PRIDE                                  5701 MAPLE AVE STE 100                                                                       DALLAS                  TX    75235‐6596
PRIDE CHEVROLET PONTIAC, INC.          715 LYNNWAY                                                                                  LYNN                    MA    01905‐3017
PRIDE CHEVROLET PONTIAC, INC.          MICHAEL IOVANNA                 715 LYNNWAY                                                  LYNN                    MA    01905‐3017
PRIDE CHRISTOPHER                      PRIDE, CHRISTOPHER              STATE FARM INSURANCE          PO BOX 3649                    TULSA                   OK    74101
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Name                          Address1                         Address2                      Address3   Address4         City           State Zip
PRIDE GAGE ASSOCIATES LLC     6725 W CENTRAL AVE STE M                                                                   TOLEDO          OH 43617‐1154
PRIDE GAGE ASSOCIATES LLC     6725 W CENTRAL AVE STE M         PMB 152                                                   TOLEDO          OH 43617‐1154
PRIDE IN SAGINAW INC          PO BOX 872                                                                                 SAGINAW         MI 48606‐0872
PRIDE INDUSTRIES              TOM GONZALEZ                     10300 FOOTHILLS BLVD.                                     ROSEVILLE       CA
PRIDE PUCKETT                 346 MOORE RD                                                                               RUSSELLVILLE    AL 35653‐6467
PRIDE SOLIS                   4032 S 500 W                                                                               SWAYZEE         IN 46986‐9784
PRIDE SOURCE MEDIA GROUP      11920 FARMINGTON RD                                                                        LIVONIA         MI 48150‐1724
PRIDE TRANSPORTATION INC      PO BOX 1064                                                                                FINDLAY         OH 45839‐1064
PRIDE TRUCKING NETWORK INC    2373 WATER ST                                                                              PORT HURON      MI 48060‐2427
PRIDE YOUTH PROGRAMS          4 W OAK ST                                                                                 FREMONT         MI 49412‐1522
PRIDE, BRADLEY W              231 PERKINS BOULEVARD                                                                      TROY            MO 63379‐1015
PRIDE, BYRDEAN                22406 EASTER FERRY RD                                                                      ELKMONT         AL 35620‐6504
PRIDE, CHERYL L               900 CEDARGATE CT                                                                           WATERFORD       MI 48328‐2510
PRIDE, CHRISTOPHER            STATE FARM INSURANCE             PO BOX 3649                                               TULSA           OK 74101‐3649
PRIDE, CHRISTOPHER T          424 PATTON HILL RD                                                                         BEDFORD         IN 47421‐8635
PRIDE, COOLEDGE H             4221 EASTLAWN ST                                                                           DETROIT         MI 48215‐2356
PRIDE, DAVID                  4228 CROFTON CT                                                                            FORT WAYNE      IN 46835‐2280
PRIDE, EARL L                 329 CHRISTIAN AVE.                                                                         CHURCHILL       TN 37642‐3612
PRIDE, JAMES E                825 N BELL ST                                                                              KOKOMO          IN 46901‐3018
PRIDE, LARRY J                13983 ASBURY PARK                                                                          DETROIT         MI 48227‐1364
PRIDE, LESLIE W               1578 HIGHWAY J                                                                             WRIGHT CITY     MO 63390‐1622
PRIDE, LESTER L               24049 POWERLINE RD                                                                         WARRENTON       MO 63383‐3833
PRIDE, PAUL W                 2205 REMYNSE DRIVE                                                                         ARLINGTON       TX 76010
PRIDE, PERCY L                1005 HIGHLAND ESTATES DR                                                                   WENTZVILLE      MO 63385‐5528
PRIDE, ROBERT                 18497 SUNDERLAND RD                                                                        DETROIT         MI 48219‐2815
PRIDE, THEODORE T             18837 GOLDWIN ST                                                                           SOUTHFIELD      MI 48075‐7217
PRIDE, WINFRED                18416 ILENE ST                                                                             DETROIT         MI 48221‐1926
PRIDEGON, GREGORY             820 TULANE DR                                                                              FLINT           MI 48503‐5253
PRIDEGON, LENA T              820 TULANE DR                                                                              FLINT           MI 48503
PRIDEMORE ALEXY               PRIDEMORE, ALEXY                 11966 OLD MILL RD                                         ENGLEWOOD       OH 45322‐9723
PRIDEMORE ERNEST M (626721)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                               STREET, SUITE 600
PRIDEMORE, ALEXY              11966 OLD MILL RD                                                                          ENGLEWOOD      OH   45322‐9723
PRIDEMORE, BARBARA A.         454 E. BROADWAY                                                                            GREENWOOD      IN   46143‐1312
PRIDEMORE, BARBARA A.         454 E BROADWAY ST                                                                          GREENWOOD      IN   46143‐1312
PRIDEMORE, CHARLES W          1918 MARYLAND AVE                                                                          SPRINGFIELD    OH   45505‐3336
PRIDEMORE, CYNTHIA S          50 N ARLINGTON AVE                                                                         NILES          OH   44446‐1701
PRIDEMORE, DENNIS H           RR 4 BOX 675                                                                               FAYETTEVILLE   WV   25840‐9709
PRIDEMORE, DOUGLAS            6058 STAHELIN AVE                                                                          DETROIT        MI   48228‐3831
PRIDEMORE, ERNEST M           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                               STREET, SUITE 600
PRIDEMORE, HAROLD E           677 DEWEY ST APT 127                                                                       LAPEER         MI   48446‐1732
PRIDEMORE, JERRY L            517 N KINGSHIGHWAY ST                                                                      PERRYVILLE     MO   63775‐1253
PRIDEMORE, JUNE               14 DIVISION ST                                                                             OXFORD         MI   48371‐4937
PRIDEMORE, LARRY C            50 N ARLINGTON AVE                                                                         NILES          OH   44446‐1701
PRIDEMORE, LELAND T           905 MARION AVENUE RD N                                                                     MANSFIELD      OH   44903‐9221
PRIDEMORE, LORETHA E          961 ROUTE 42 SOUTH                                                                         XENIA          OH   45385
PRIDEMORE, MARGARET P         3417 MELODY LN W                                                                           KOKOMO         IN   46902
PRIDEMORE, MARGARET P         2930 MAYOR DR                                                                              KOKOMO         IN   46902‐3593
PRIDEMORE, MARY J             2530 MARX AVE                                                                              WATERFORD      MI   48328‐3236
PRIDEMORE, MARY J             2530 MARX                                                                                  WATERFORD      MI   48328‐3236
PRIDEMORE, RANDALL L          1296 HIRA ST                                                                               WATERFORD      MI   48328‐1516
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PRIDEMORE, TIMOTHY L   770 SHELBY ONTARIO RD                                                                             MANSFIELD          OH 44906‐1036
PRIDEMORE, WESLEY D    8331 BEAVER BRK                                                                                   WEST CHESTER       OH 45069
PRIDGEN, ELWOOD        5921 ESHBAUGH ROAD                                                                                DAYTON             OH 45418‐1723
PRIDGEN, KATHERINE     5921 ESHBAUGH RD                                                                                  DAYTON             OH 45418‐1723
PRIDGEN, ORIA          517 HURON AVE                                                                                     DAYTON             OH 45417‐1508
PRIDGEON & CLAY INC    SCOTT DILL                      484 STREAM VIEW CT.                                               ROCHESTER HILLS    MI 48309
PRIDGEON & CLAY INC
PRIDGEON & CLAY INC    50 COTTAGE GROVE ST SW                                                                            GRAND RAPIDS      MI    49507‐1622
PRIDGEON, LEROY        COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                           HOUSTON           TX    77002‐1751
PRIDGEON/GR RAPIDS     50 COTTAGE GROVE ST SW                                                                            GRAND RAPIDS      MI    49507‐1622
PRIDGETT, DONALD       PO BOX 34                                                                                         MANGHAM           LA    71259‐0034
PRIDGETT, DONALD R     PO BOX 34                                                                                         MANGHAM           LA    71259‐0034
PRIDMORE, KENT J       3649 ASPEN LN                                                                                     CANTON            MI    48188‐6317
PRIDMORE, KENT JAY     3649 ASPEN LN                                                                                     CANTON            MI    48188‐6317
PRIDMORE, PHILIP C     1523 LISBON ST                                                                                    EAST LIVERPOOL    OH    43920‐1548
PRIDY, ROBERT L        8241 SPRING RD                                                                                    STANTON           MI    48888‐9773
PRIEBE SALLY           702 HOME PARK BLVD                                                                                WATERLOO          IA    50701‐2954
PRIEBE, ALFRED W       6437 COTTAGE DR                                                                                   BELLAIRE          MI    49615‐9375
PRIEBE, BRYAN D        34 MASSOIT ST                                                                                     CLAWSON           MI    48017‐2043
PRIEBE, CAMERON F      9707 KATHERINE ST                                                                                 TAYLOR            MI    48180‐3609
PRIEBE, CATHERINE B.   82 MILTON DRIVE                                                                                   MERIDEN           CT    06450‐2423
PRIEBE, CATHERINE B.   82 MILTON DR                                                                                      MERIDEN           CT    06450‐2423
PRIEBE, DAVID M        9964 PEBBLE CREEK CT                                                                              DAVISBURG         MI    48350‐2052
PRIEBE, EDWARD T       4810 QUEENS CT                                                                                    GLADWIN           MI    48624‐8223
PRIEBE, ERIC L         946 SPIREA                                                                                        HOWELL            MI    48843‐6872
PRIEBE, JANIS L        6437 COTTAGE DRIVE                                                                                BELLAIRE          MI    49615‐9375
PRIEBE, KEITH M        34299 DOVER STREET                                                                                LIVONIA           MI    48150‐3668
PRIEBE, LARRY A        18291 FIVE POINTS ST                                                                              REDFORD           MI    48240‐1710
PRIEBE, LESLIE P       11198 BARE DR                                                                                     CLIO              MI    48420‐1577
PRIEBE, MARGARET D     11145 TRADEWINDS BLVD                                                                             LARGO             FL    33773‐4410
PRIEBE, MARY A         4317 E HAMILTON AVE                                                                               EAU CLAIRE        WI    54701‐8287
PRIEBE, MARY A         1773 STANFORD ROAD                                                                                BERKLEY           MI    48072‐3059
PRIEBE, RICHARD A      4317 E HAMILTON AVE                                                                               EAU CLAIRE        WI    54701‐8287
PRIEBE, RICHARD J      14381 RIVERSIDE ST                                                                                LIVONIA           MI    48154‐5309
PRIEBE, RICHARD R      49412 RICHMOND CT 118                                                                             SHELBY TOWNSHIP   MI    48315
PRIEBE, ROBERT H       N28W22152 INDIANWOOD CT                                                                           WAUKESHA          WI    53186‐1077
PRIEBE, RONALD G       723 N WHITE ROCK AVE                                                                              REPUBLIC          MO    65738‐9160
PRIEBE, THERESA        34 MASSOIT ST                                                                                     CLAWSON           MI    48017‐2043
PRIEBE, VALERIE G      8546 PAVILION DR                                                                                  HUDSON            FL    34667‐6561
PRIEBOY, ROSE          500 PALLADIUM DR E                                                                                JOLIET            IL    60435‐5642
PRIEHS, JERRY A        906 ROBINS RD                                                                                     LANSING           MI    48917‐2090
PRIEHS, TIMOTHY W      2205 MORRISH RD                                                                                   FLUSHING          MI    48433‐9409
PRIELIPP, DENISE W     8830 W LIBERTY RD                                                                                 ANN ARBOR         MI    48103
PRIELIPP, JOHN D       11515 STRAWBERRY RD                                                                               MARION            MI    49665‐9507
PRIELIPP, JUDITH A     1135 BROWN DR                                                                                     MILTON            WI    53563‐1784
PRIEM THEODORE         PRIEM, THEODORE                 120 WEST MADISON STREET , 10TH                                    CHICAGO           IL    60602
                                                       FLOOR
PRIEM, BARRY L         11945 SPENCER RD                                                                                  SAGINAW           MI 48609‐9776
PRIEM, THEODORE        KROHN & MOSS ‐ IL               120 WEST MADISON STREET, 10TH                                     CHICAGO           IL 60602
                                                       FLOOR
PRIER OTTO             WEIDSTRASSE NR 5                                                            55120 MAINZ GERMANY
PRIER, COREY           APT B                           12076 OLD HAMMOND HIGHWAY                                         BATON ROUGE        LA   70816‐8774
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Name                       Address1                      Address2               Address3         Address4         City               State Zip
PRIES SUPPLY CO INC        3830 OPAL AVE SW                                                                       GRAND RAPIDS        MI 49548‐3129
PRIES, DARYL               5809 FLAMBEAU ST                                                                       WESTON              WI 54476‐6677
PRIES, ROBERT R            2656 S LANG DR                                                                         BRIMLEY             MI 49715‐9418
PRIES, ROY V               33405 MULVEY                                                                           FRASER              MI 48026‐3590
PRIESHOFF, ELLEN D         611 W MADISON ST                                                                       ALEXANDRIA          IN 46001‐1515
PRIESHOFF, JOANNE W        11474 N 1000 W                                                                         ELWOOD              IN 46036‐8801
PRIESKORN, CRAIG M         1538 S WAVERLY RD                                                                      EATON RAPIDS        MI 48827‐8717
PRIESKORN, JON L           2915 RIPPLE WAY                                                                        WHITE LAKE          MI 48383‐3269
PRIESKORN, LEONARD T       1733 S LAPEER RD                                                                       LAPEER              MI 48446‐9313
PRIESKORN, MARIO R         6011 REID RD                                                                           SWARTZ CREEK        MI 48473‐9459
PRIESMAN, WARD E           2445 S IONIA RD                                                                        BELLEVUE            MI 49021‐9441
PRIESMAN, WARD E           2445‐SOUTH IONIA RD                                                                    BELLEVUE            MI 49021‐9441
PRIESMAN, WILLIAM S        PO BOX 363                                                                             GRAND MARAIS        MI 49839‐0363
PRIESMAN, WILMA J          4296 CARLYSLE RD                                                                       CHARLOTTE           MI 48813‐9562
PRIESMAN, WILMA J          228 BONNIE BROOK DR           #000                                                     CHARLOTTE           MI 48813‐1335
PRIESS, AGNES              120 CARPENTER RD                                                                       MANSFIELD           OH 44903‐2208
PRIESS, JAMES H            7821 BRYCE RD                                                                          KENOCKEE            MI 48006‐3907
PRIESS, ROBERT A           4668 POSSUM RUN RD                                                                     BELLVILLE           OH 44813‐9130
PRIESS, WAYNE H            276 S ELK ST                                                                           SANDUSKY            MI 48471‐1324
PRIESS, WAYNE S            6126 KLAM RD                                                                           OTTER LAKE          MI 48464‐9658
PRIEST BRIGHTON            14878 BLISS RD                                                                         LAKE ODESSA         MI 48849‐9717
PRIEST GEORGE L            350 LIVINGSTON ST                                                                      NEW HAVEN           CT 06511‐1336
PRIEST III, CARL W         1966 SHERBURNE ROAD                                                                    WALWORTH            NY 14568‐9545
PRIEST JANICE K            DBA 2CLOWNS DOT COM           22726 WOODRUFF RD                                        ROCKWOOD            MI 48173‐8711
PRIEST JR, HAROLD W        2689 PRICE AVE                                                                         NEWAYGO             MI 49337‐8901
PRIEST JR, STEVEN A        18911 GASPER RD                                                                        CHESANING           MI 48616‐9781
PRIEST JR, VERNON A        5989 IOSCO MOUNTAIN RD                                                                 GREGORY             MI 48137‐9493
PRIEST SR, DENNIS S        1705 S VAN BUREN ST                                                                    BAY CITY            MI 48708‐4103
PRIEST SR, DENNIS SIDNEY   1705 S VAN BUREN ST                                                                    BAY CITY            MI 48708‐4103
PRIEST, ALLEN T            6693 RADEWAHN RD                                                                       SAGINAW             MI 48604‐9211
PRIEST, ANNETTE M          14437 VASSAR RD                                                                        MILLINGTON          MI 48746‐9205
PRIEST, BRUCE A            6525 CARLISLE DR                                                                       KALAMAZOO           MI 49048‐9686
PRIEST, CAROLYN            PO BOX 8                                                                               PIERCETON           IN 46562
PRIEST, CRAIG M            1058 W 600 N                                                                           ANDERSON            IN 46011‐9228
PRIEST, DANIEL M           830 S RIDGEWAY DR                                                                      CLEBURNE            TX 76033‐6146
PRIEST, DAVID A            7195 DORSET DR SE                                                                      GRAND RAPIDS        MI 49546‐7372
PRIEST, DAVID A            447 RIDGE RD NW APT 3A                                                                 GRAND RAPIDS        MI 49544‐8546
PRIEST, DAVID L            3498 W COUNTY ROAD 1000 N                                                              ROACHDALE           IN 46172‐9255
PRIEST, DENNIS A           217 W CHESTNUT ST RR#2                                                                 BRECKENRIDGE        MI 48615
PRIEST, DIANA              5989 IOSCO MOUNTAIN RD                                                                 GREGORY             MI 48137‐9493
PRIEST, EARL L             1478 N HACKER RD                                                                       HOWELL              MI 48843‐9131
PRIEST, EDWARD M           11556 BARNSLEY                                                                         LOWELL              MI 49331‐8660
PRIEST, ELIZABETH N        517 OXFORD RD                                                                          ANDERSON            IN 46012‐3928
PRIEST, EUNICE D           121 FERN CT                                                                            HAMPTON             GA 30228
PRIEST, FREDRIC L          481 NICKLAUS BLVD                                                                      NORTH FORT MYERS    FL 33903‐2611
PRIEST, FREDRICK L         565 S MASON RD                SUITE 132                                                KATY                TX 77450
PRIEST, FREDRICK L         13110 HARRIS RD                                                                        CHESANING           MI 48616
PRIEST, HARRIS             1231 NORTH RD APT 268                                                                  NILES               OH 44446‐2258
PRIEST, HELEN M            5464 JO PASS                                                                           EAST LANSING        MI 48823‐7225
PRIEST, JAMES R            4902 GUION RD                                                                          INDIANAPOLIS        IN 46254‐1721
PRIEST, JAMES R            PO BOX 2019                                                                            HILLSVILLE          VA 24343‐7019
PRIEST, JEFFERY L          20243 ROAD 72                                                                          GROVER HILL         OH 45849‐9301
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PRIEST, JEFFERY LEE        20243 ROAD 72                                                                           GROVER HILL            OH 45849‐9301
PRIEST, JERRY L            11511 BLUE WARBLER DR 221                                                               FORT MYERS             FL 33908
PRIEST, JIMMIE L           2081 SEYMOUR LAKE RD                                                                    ORTONVILLE             MI 48462‐9229
PRIEST, JOHN E             1301 SCARLETT DR                                                                        ANDERSON               IN 46013‐2859
PRIEST, JOHNNIE B          963 POPLAR RD                                                                           NEWNAN                 GA 30265‐1621
PRIEST, JUDY ANN           278 ROLLINGWOOD LN                                                                      HILLSVILLE             VA 24343‐3938
PRIEST, KENNETH E          3020 E MAIN ST LOT V1                                                                   MESA                   AZ 85213‐9502
PRIEST, LAWRENCE D         5210 SOUTH M‐18                                                                         BEAVERTON              MI 48612
PRIEST, LORRAINE F         3020 E MAIN ST LOT V1                                                                   MESA                   AZ 85213‐9502
PRIEST, MAMIE S            2056 MULKEY RD SW                                                                       MARIETTA               GA 30008‐5844
PRIEST, MAXINE M           602 N DEAN                                                                              BAY CITY               MI 48706‐4623
PRIEST, MAXINE M           602 N DEAN ST                                                                           BAY CITY               MI 48706‐4623
PRIEST, MELISSA J          APT 1                           651 FRONT STREET                                        WOONSOCKET              RI 02895‐5257
PRIEST, MICHAEL A          7460 E N00S                                                                             MARION                 IN 46952
PRIEST, MICHAEL A          916 S GENEVA AVE                                                                        MARION                 IN 46953‐1403
PRIEST, MICHAEL L          5350 E COLUMBIA RD                                                                      WEBBERVILLE            MI 48892‐9228
PRIEST, NORMA K            12942 W BALLAD DR                                                                       SUN CITY WEST          AZ 85375‐1835
PRIEST, PAMELA S           1643 CATHERINE ST                                                                       MIDLOTHIAN             TX 76065‐3689
PRIEST, PATRICIA A         1519 W 14TH ST                                                                          WILMINGTON             DE 19806‐4216
PRIEST, PATRICK W          246 RISCH RD                                                                            WEBBERVILLE            MI 48892‐9797
PRIEST, RETA M             33840 S GARCIA ST UNIT 359                                                              PORT ISABEL            TX 78578‐4331
PRIEST, RICHARD F          8 HAYES ST                                                                              MAYNARD                MA 01754‐1816
PRIEST, ROBERT E           991 N KELLOGG AVE                                                                       SANTA BARBARA          CA 93111‐1022
PRIEST, RODGER L           1615 GLENWOOD AVE                                                                       JOLIET                  IL 60435
PRIEST, RONALD J           303 KATHERYN ST                                                                         MASON                  MI 48854‐1403
PRIEST, TERRY L            149 LINDEN BLVD                                                                         MASON                  MI 48854‐2537
PRIEST, THERESA A          2633 MONROE RD                                                                          MIDLAND                MI 48640
PRIEST, TROY               SHANNON LAW FIRM                100 W GALLATIN ST                                       HAZLEHURST             MS 39083‐3007
PRIEST, WILLIAM            5202 N STATE RD                                                                         DAVISON                MI 48423‐8594
PRIESTAF, EARL E           92 MARINERO WAY                                                                         HOT SPRINGS VILLAGE    AR 71909‐6700
PRIESTAS SR., WILLIAM M    5190 BROADWAY                                                                           LORAIN                 OH 44052‐5567
PRIESTAS, JOY I            218 ROOSEVELT AVE                                                                       ELYRIA                 OH 44035‐3948
PRIESTER JR, MICHAEL C     14233 N PALM RIDGE DR W                                                                 SUN CITY               AZ 85351‐2545
PRIESTER, BRISCO           78 BOSTON ST                                                                            NEWARK                 NJ 07103‐3433
PRIESTER, GEORGE A         PO BOX 496                                                                              CLARK                  PA 16113‐0496
PRIESTER, JEFFERY M        205 S 3RD ST                                                                            PIONEER                OH 43554
PRIESTER, JOHN R           6781 WISE RD                                                                            WEST MIDDLESEX         PA 16159‐3829
PRIESTER, JOHN R           6781 WISE RD.                                                                           W. MIDDLESEX           PA 16159‐3829
PRIESTER, NORRIS           251 HENRY ST                    APT 104                                                 BELLEVILLE             MI 48111‐2961
PRIESTER, PAULA H          6781 WISE ROAD                                                                          W MIDDLESEX            PA 16159‐3829
PRIESTER, PAULA H          6781 WISE RD                                                                            W MIDDLESEX            PA 16159‐3829
PRIESTER, ROBERT V         558 OAK KNOLL AVE SE                                                                    WARREN                 OH 44483‐6043
PRIESTER, VICTOR P         10870 LINCOLN LAKE RD NE                                                                GREENVILLE             MI 48838‐8316
PRIESTLEY JR., MICHAEL A   84 KENMAR DR                                                                            NEWARK                 DE 19713‐2422
PRIESTLEY, ARTHUR R        37120 S CANYON VIEW DR                                                                  TUCSON                 AZ 85739‐1235
PRIESTLEY, CHARLES W       9664 23 MILE RD                                                                         MARION                 MI 49665‐8021
PRIESTLEY, DONALD          3118 AVERILL DR                                                                         LANSING                MI 48911‐1401
PRIESTLEY, DUANE E         3666 AKRON RD                                                                           AKRON                  MI 48701‐9514
PRIESTLEY, ELLEN           22596 90TH AVE                                                                          MARION                 MI 49665‐8045
PRIESTLEY, EVANGELINE      6100 62ND AVE LOT 8                                                                     PINELLAS PARK          FL 33781‐5329
PRIESTLEY, FRANKLIN K      555 HIGHLAND AVE APT 31                                                                 MILFORD                MI 48381
PRIESTLEY, GARY L          1762 S SHERIDAN RD                                                                      CARO                   MI 48723‐9628
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PRIESTLEY, JOHN W                      5241 N MILFORD RD                                                                         HIGHLAND           MI 48356‐1057
PRIESTLEY, LORETTA S                   507 NW HALL OF FAME DR                                                                    LAKE CITY          FL 32055‐4835
PRIESTLEY, MICHAEL A                   28420 CHIPPEWA AVE                                                                        MILLSBORO          DE 19966‐2538
PRIESTLEY, NORMAN F                    3428 VAN ZANDT RD                                                                         WATERFORD          MI 48329‐3262
PRIESTLEY, PATRICIA R                  3514 BROCKPORT SPENCERPORT RD                                                             SPENCERPORT        NY 14559‐9709
PRIESTLEY, PATSY                       1701 E ROSE CENTER RD                                                                     HOLLY              MI 48442‐8541
PRIESTLEY, PATSY                       1701 E. ROSE CENTER RD.                                                                   HOLLY              MI 48442‐8541
PRIESTLEY, RICHARD D                   1144 PILSGRAM PATHWAY                                                                     PEACH BOTTOM       PA 17563
PRIESTLEY, ROBERT C                    8265 N PINE HAVEN PT                                                                      CRYSTAL RIVER      FL 34428‐6911
PRIESTLEY, ROY M                       4330 BERKLEY PL UNIT A2                                                                   HAMBURG            NY 14075‐1351
PRIESTLEY, SCOTT A                     3514 BROCKPORT SPENCERPORT RD                                                             SPENCERPORT        NY 14559‐9709
PRIESTLEY, THOMAS J                    1020 CHURCH ST                                                                            MILLVILLE          NJ 08332‐2816
PRIESTLEY, THOMAS P                    7113 177TH PL                                                                             TINLEY PARK         IL 60477‐3660
PRIESTLY, DAVID M                      8291 MEYERS RD                                                                            DETROIT            MI 48228‐4016
PRIESTLY, DAVID MELVIN                 PO BOX 552                                                                                WARREN             MI 48090‐0552
PRIESTLY, GERALD F                     1357 CUMBERLAND CITY RD                                                                   CUMBERLAND CITY    TN 37050‐4121
PRIESTLY, JOHN D                       PO BOX 74901                     MC481 CHN009                                             ROMULUS            MI 48174‐0901
PRIESTLY, LARRY G                      19985 CHEYENNE ST                                                                         DETROIT            MI 48235‐1156
PRIESTLY, TODD                         508 HEATH PL                                                                              SMYRNA             TN 37167‐2641
PRIESTLY, WILLIE                       6341 BRACE ST                                                                             DETROIT            MI 48228‐3826
PRIESTMAN, LOIS A                      1044 SOUTHEAST AVE                                                                        TALLMADGE          OH 44270‐3157
PRIESTS OF HOLY CROSS                  54515 STATE ROAD 933 NORTH                                                                NOTRE DAME         IN 46656
PRIETO, ARSENIO P                      PO BOX 20673                                                                              WEST PALM BEACH    FL 33416
PRIETO, CHRISTOBA J                    31460 CONCORD DR APT 10                                                                   MADISON HEIGHTS    MI 48071
PRIETO, FERNANDO                       889 ROME                                                                                  ROCHESTER HLS      MI 48307‐2495
PRIETO, JAMES C                        PO BOX 1046                                                                               SPRING HILL        TN 37174‐1046
PRIETO, JOHN                           69 RESERVE AVE                                                                            OBERLIN            OH 44074‐9315
PRIETO, JON L                          209 OGEMAW RD                                                                             PONTIAC            MI 48341‐1149
PRIETO, JOSE                           5221 BOHLIG RD                                                                            LOS ANGELES        CA 90032‐3911
PRIETO, JUVENTINO R                    872 MELROSE ST                                                                            PONTIAC            MI 48340‐3125
PRIETO, MARY ANN A                     5109 SPINNING WHEEL RD NW                                                                 ALBUQUERQUE        NM 87120‐2932
PRIETTO GEORGE                         5459 SYCUAN RD                                                                            EL CAJON           CA 92019‐1821
PRIETZ CONRAD P (ESTATE OF) (435954)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE          MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
PRIETZ, CONRAD P                       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE         MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
PRIEUR JR, GREGORY J                   4609 CANADA RD                                                                            BIRCH RUN         MI   48415‐8925
PRIEUR, ADAM M                         3304 E VIENNA RD                                                                          CLIO              MI   48420‐9170
PRIEUR, ADAM MICHAEL                   3304 E VIENNA RD                                                                          CLIO              MI   48420‐9170
PRIEUR, ANDREW N                       3569 SUSAN AVE                                                                            SPRUCE            MI   48762‐9789
PRIEUR, CHARLES C                      1120 MCCORMICK DR                                                                         FENTON            MI   48430‐1507
PRIEUR, DELORES J                      113 PINECREST DR                                                                          SANFORD           FL   32773‐5455
PRIEUR, DONALD L                       5700 GENESEE RD                                                                           LAPEER            MI   48446‐2750
PRIEUR, GALE                           5343 N GENESEE                                                                            FLINT             MI   48506
PRIEUR, GARY A                         24711 COUNTY ROAD 20 LOT A10                                                              ELBERTA           AL   36530‐6541
PRIEUR, JEFFREY L                      1139 BRISSETTE BEACH                                                                      KARLIN            MI   48732
PRIEUR, JOANNE E                       31424 COUSINO DR                                                                          WARREN            MI   48092‐1796
PRIEUR, JOYCE L                        708 S STATE RD APT 43                                                                     DAVISON           MI   48423
PRIEUR, JUDITH L                       1139 BRISSETTE BEACH RD                                                                   KAWKAWLIN         MI   48631
PRIEUR, LAUREL A                       1494 FRIEL ST                                                                             BURTON            MI   48529‐2018
PRIEUR, LAUREL A                       1494 FRIEL STREET                                                                         BURTON            MI   48529‐2018
PRIEUR, MARILYN J                      316 W PARISH ST                                                                           SANDUSKY          OH   44870
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Name                   Address1                           Address2                     Address3   Address4               City              State Zip
PRIEUR, MARY J         2309 E COURT ST                                                                                   FLINT              MI 48503‐2881
PRIEUR, MARY J         2309 EAST COURT STREET                                                                            FLINT              MI 48503‐2881
PRIEUR, MICHAEL A      8339 N CLEAR CREEK RD                                                                             HUNTINGTON         IN 46750‐9739
PRIEUR, MICHAEL E      4081 BARKER DR                                                                                    CLIO               MI 48420‐9435
PRIEUR, NORMAN L       2419 WELCH BLVD                                                                                   FLINT              MI 48504‐2998
PRIEUR, PATRICIA J     505 ASHWOOD DRIVE                                                                                 FLUSHING           MI 48433‐1328
PRIEUR, PATRICIA J     505 ASHWOOD DR                                                                                    FLUSHING           MI 48433‐1328
PRIEUR, RAYMOND V      7010 BROWNS LAKE RD                                                                               JACKSON            MI 49201‐8363
PRIEUR, RICHARD A      6710 OLSON RD                                                                                     SPRUCE             MI 48762
PRIEUR, RONALD L       528 CLARK PARK RD                                                                                 MAYVILLE           MI 48744‐8634
PRIEUR, SETH T         7076 KESSLING ST                                                                                  DAVISON            MI 48423‐2444
PRIEUR, SETH THOMAS    7076 KESSLING ST                                                                                  DAVISON            MI 48423‐2444
PRIEUR, THOMAS M       2086 EAST COOK ROAD                                                                               GRAND BLANC        MI 48439‐8371
PRIEUR, WILLIAM A      316 W PARISH ST                                                                                   SANDUSKY           OH 44870‐4848
PRIFOGLE, CLIFFORD E   1602 N 750 W                                                                                      KOKOMO             IN 46901‐8511
PRIFOGLE, SHARON K     1602 N 750 W                                                                                      KOKOMO             IN 46901‐8511
PRIGATANO, ANTHONY V   24 MONROE CT                                                                                      MERIDEN            CT 06451‐3127
PRIGG, DIANN R         APT 59                             2500 21ST STREET NORTHWEST                                     WINTER HAVEN       FL 33881‐1276
PRIGG, DIANN R         2500 21ST ST NW APT 59                                                                            WINTER HAVEN       FL 33881‐1276
PRIGGE, PETER F        517 3RD ST                                                                                        MARIETTA           OH 45750‐2104
PRIHODA, FRANCIS X     29 WHITE PINE RD                                                                                  CHESTERFIELD       NJ 08515‐1716
PRIHODA, PATRICK M     56 ASHBOURNE CIR                                                                                  NOBLESVILLE        IN 46060‐4260
PRIKASKY, LARRY D      7461 S SHERIDAN AVE                                                                               DURAND             MI 48429‐9301
PRIKASKY, LORENA M     7461 S SHERIDAN AVE                                                                               DURAND             MI 48429‐9301
PRIKASKY, MARVIN R     3690 N UNION RD                                                                                   ALMA               MI 48801‐9740
PRIKASKY, STUART M     1265 W TYLER RD                                                                                   ALMA               MI 48801‐9748
PRIKKEL, III,JOHN      2952 ENSLEY AVE                                                                                   DAYTON             OH 45414‐5418
PRIKRYL, CHESTER D     1001B HALLOCK YOUNG RD SW                                                                         WARREN             OH 44481‐9636
PRIKULIS, EDITE Z      15 CHERRYSTONE DR                                                          NORTH YORK ON CANADA
                                                                                                  M2H‐1R8
PRILEPOK, MILAN        425 150TH AVE                      CONDO 2202                                                     MADEIRA BEACH     FL   33708
PRILL JR, JAMES C      1215 BRIDGE KNOT CT                                                                               ROCK HILL         SC   29732‐2725
PRILL, CLARENCE J      981 W INGHAM RD                                                                                   SANFORD           MI   48657‐9316
PRILL, CLARENCE JR.    981 W INGHAM RD                                                                                   SANFORD           MI   48657‐9316
PRILL, DAVID L         9700 NEWBURG RD                                                                                   TECUMSEH          MI   49286‐9754
PRILL, DAVID LAVERN    9700 NEWBURG RD                                                                                   TECUMSEH          MI   49286‐9754
PRILL, DONALD E        1480 ROYAL CRESCENT ST                                                                            ROCHESTER HILLS   MI   48306‐4052
PRILL, DOROTHY A       6185 S GRAHAM RD                                                                                  SAINT CHARLES     MI   48655‐9577
PRILL, ELIZABETH A     5377 VISTA BELLE CT                                                                               EAST CHINA        MI   48054‐4191
PRILL, MARGARET A      1480 ROYAL CRESCENT ST                                                                            ROCHESTER HILLS   MI   48306‐4052
PRILL, MARK W          7448 NATALIE DR                                                                                   YPSILANTI         MI   48197‐6045
PRILL, MICHAEL J       13153 KINLOCK DR                                                                                  STERLING HTS      MI   48312‐1569
PRILL, RAYMOND E       PO BOX 341                                                                                        LANSE             MI   49946‐0341
PRILL, RICHARD A       2083 BENTLEY RD                                                                                   BENTLEY           MI   48613‐9669
PRILL, VIRGINIA M      4180 TIPP‐COWLESVILLE RD           P.O BOX 475                                                    TIPP CITY         OH   45371‐3041
PRILLAMAN GERALD       5227 WILLANE RD                                                                                   GLEN ALLEN        VA   23059‐5352
PRIM JR, ROGER L       4024 GYRFALCON DR                                                                                 NORMAN            OK   73072‐8185
PRIM JR, WILLIAM J     PO BOX 216                                                                                        VERNON            MI   48476
PRIM, ALVIN C          2111 COTTIE LN                                                                                    ARLINGTON         TX   76010‐4755
PRIM, BARTON D         2071 ARBOR WAY                                                                                    MOUNT DORA        FL   32757‐3647
PRIM, CARMEN H         89 CHARLIES COURT                                                                                 FELTON            DE   19943‐5239
PRIM, FRANCES P        126 WILSON DR                                                                                     XENIA             OH   45385‐1848
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Name                                Address1                             Address2                        Address3          Address4         City            State Zip
PRIM, JUNE A                        1000 BEAVER RUN                                                                                         TAVARES          FL 32778‐5620
PRIM, RITA M                        249 WOODRIDGE DR                                                                                        MIAMISBURG       OH 45342‐3542
PRIM, ROBERT E                      341 KRISTINA COURT                                                                                      DAYTON           OH 45458‐4127
PRIMA CASTILLO                      3629 S LEAVITT ST                                                                                       CHICAGO           IL 60609‐1053
PRIMA INDUSTRIE SPA                 711 E MAIN ST                                                                                           CHICOPEE         MA 01020‐3606
PRIMA NORTH AMERICA INC             711 E MAIN ST                                                                                           CHICOPEE         MA 01020‐3606
PRIMA NORTH AMERICA INC             CONVERGENT LASERS DIV                1 PICKER RD                     FRMLY TRANS TEC                    STURBRIDGE       MA 01566‐1252
                                                                                                         DBACONVERGENRG
PRIMA NORTH AMERICA INC             LASERDYNE SYSTEMS DIVISION           PO BOX 77000                                                       DETROIT         MI   48277‐1177
PRIMA TECH/CENTERLIN                24837 SHERWOOD                                                                                          CENTER LINE     MI   48015‐1058
PRIMA TECHNOLOGIES INC              24837 SHERWOOD                                                                                          CENTER LINE     MI   48015‐1058
PRIMA VESEY                         8896 BURNETH DR                                                                                         MILAN           MI   48160‐9746
PRIMAISLA INCORPORATED                                                   #1 ESTATE HOPE                                                                     VI   00823
PRIMARY CARE ASSOCIA                602 PARMALEE AVE STE 400                                                                                YOUNGSTOWN      OH   44510‐1653
PRIMARY CARE OF WNY                 30 NORTH UNION RD.                                                                                      WILLIAMSVILLE   NY   14221
PRIMARY HEALTH INC                  PO BOX 9101                          DBA CARE NOW PHYSICAL THERAPY                                      COPPELL         TX   75019‐9494

PRIMARY PROPERTIES L P              C/O CHASE ENTERPRISES                  ONE COMMERCIAL PLAZA                                             HARTFORD        CT   06103
PRIMAS JR, WALTER R                 4367 EASTPORT DR                                                                                        BRIDGEPORT      MI   48722‐9608
PRIMAS, WILLIE E                    1585 FROMM DR                                                                                           SAGINAW         MI   48638‐4407
PRIMASING MOTORS, INC.              1211 S MAIN ST                                                                                          LEBANON         OR   97355‐3104
PRIMASING MOTORS, INC.              RICKIE PRIMASING                       1211 S MAIN ST                                                   LEBANON         OR   97355‐3104
PRIMAVERA ERIC                      PRIMAVERA, ERIC                        89 N HADDON AVE                                                  HADDONFIELD     NJ   08033‐2423
PRIMAVERA, G                        30 W ELM ST                                                                                             LINDEN          NJ   07036‐4114
PRIME AIR PRODUCTS COMPANY          1211 MALL DR                                                                                            RICHMOND        VA   23235‐4737
PRIME ALLIANCE BANK                 1868 S 500 W                                                                                            WOODSCROSS      UT   84087
PRIME ALLIANCE BANK                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1868 S 500 W                                                     WOODS CROSS     UT   84010‐7453

PRIME AMERICA FREIGHT SYSTEMS INC   PO BOX 712                                                                                              WALNUT          CA   91788‐0712
PRIME CONTRACT CARRIER INC          2300 E HIGGINS RD                                                                                       ELK GROVE VLG   IL   60007
PRIME F OSBORN CONVENTION CTR       1000 WATER ST                                                                                           JACKSONVILLE    FL   32204‐1529
PRIME FACTORS INC                   4725 VILLAGE PLAZA LOOP STE 100                                                                         EUGENE          OR   97401‐6677
PRIME FINANCIAL SERVICES INC        27100 TROLLEY INDUSTRIAL DR                                                                             TAYLOR          MI   48180‐1421
PRIME FINISH                        1509 BULL LEA RD STE 200                                                                                LEXINGTON       KY   40511‐1245
PRIME HEALTH MEDICAL                8120 GARNET DR                                                                                          DAYTON          OH   45458‐2141
PRIME IMPACT NETWORK TAX PREP       ATTN: HAROLD JAMES                   1457 RARITAN RD                                                    CLARK           NJ   07066‐1252
PRIME INC                           PO BOX 4208                                                                                             SPRINGFIELD     MO   65808‐4208
PRIME INDUSTRIAL PRODUCTS INC       PO BOX 783                                                                                              OLATHE          KS   66051‐0783
PRIME JR, CECIL H                   17999 OLD PALESTINE RD                                                                                  CROFTON         KY   42217‐8369
PRIME METALS\RASCO                  PO BOX 27002                                                                                            RICHMOND        VA   23261‐7002
PRIME ORTHOPEDICS                   PO BOX 11329                                                                                            BURBANK         CA   91510‐1329
PRIME PRINTING INC                  8929 KINGSRIDGE DR                                                                                      DAYTON          OH   45458‐1621
PRIME RESEARCH LP                   213 S ASHLEY ST                      STE 300                                                            ANN ARBOR       MI   48104‐1669
PRIME RESEARCH LP                   213 S ASHLEY ST                                                                                         ANN ARBOR       MI   48104
PRIME SCREW MACHINE PRODUCTS INC    1012 BUCKINGHAM ST                                                                                      WATERTOWN       CT   06795‐6602

PRIME SERVICE INC                   12169 LIBERTY DR                                                                                        COVINGTON       GA   30014‐1097
PRIME TECH SALES INC                35 REGENCY OAKS BLVD                                                                                    ROCHESTER       NY   14624‐5930
PRIME TIME AWARDS                   416 FRANDOR AVE STE 304                                                                                 LANSING         MI   48912
PRIME TIME DELIVERY                 PO BOX 352                                                                                              TAYLOR          MI   48180‐0352
PRIME TIME DELIVERY                 DAVID BURKE                          26420 NORTHLINE COMMERCE DR                                        TAYLOR          MI   48180‐7956
                                                                         STE 800
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Name                           Address1                        Address2                       Address3            Address4                 City               State Zip
PRIME TIME EXPEDITING          69783 WELDING RD                                                                                            RICHMOND            MI 48062‐5212
PRIME TIME MESSENGER INC       50 VALLEYWOOD DRIVE STE 3                                                          MARKHAM CANADA ON L6T
                                                                                                                  5B7 CANADA
PRIME TIME PARTY RENTAL        2104 W DOROTHY LN                                                                                           MORAINE            OH 45439‐1822
PRIME TUBE INC                 13101 ECKLES RD                 6/8/07 GJ                                                                   PLYMOUTH           MI 48170‐4245
PRIME WHEEL (KUNSHAN) CO LTD   489 DUJUAN RD                                                                      KUNSHAN JIANGSU CN
                                                                                                                  215300 CHINA (PEOPLE'S
                                                                                                                  REP)
PRIME WHEEL CORP               489 DUJUAN RD                                                                      KUNSHAN JIANGSU CN
                                                                                                                  215300 CHINA (PEOPLE'S
                                                                                                                  REP)
PRIME WHEEL CORP               CLIFF BODIE                     17705 S MAIN ST                                                             GARDENA            CA 90248‐3516
PRIME WHEEL CORP               CLIFF BODIE                     17705 S. MAIN STREET                               PENANG MALAYSIA
PRIME WHEEL CORP               CLIFF BODIE                     C/O LACKS WHEEL TRIM SYSTEMS   4080 BREND DR S.E                            STERLING HEIGHTS   MI   48312
PRIME WHEEL CORP               17705 S MAIN ST                                                                                             GARDENA            CA   90248‐3516
PRIME WHEEL CORP.              CLIFF BODIE                     C/O LACKS WHEEL TRIM SYSTEMS   4080 BREND DR S.E                            STERLING HEIGHTS   MI   48312
PRIME WHEEL CORPORATION        CLIFF BODIE                     17705 S MAIN ST                                                             GARDENA            CA   90248‐3516
PRIME WHEEL CORPORATION        CLIFF BODIE                     17705 S. MAIN STREET                               PENANG MALAYSIA
PRIME WHEEL CORPORATION        17705 S MAIN ST                                                                                             GARDENA            CA   90248‐3516
PRIME, DEAN R                  8080 W CARO RD                                                                                              REESE              MI   48757‐9225
PRIME, GALE R                  4981 VASSAR RD                                                                                              AKRON              MI   48701‐9760
PRIME, GALE RANDY              4981 VASSAR RD                                                                                              AKRON              MI   48701‐9760
PRIME, HARRISON
PRIME, JOYCE M                 PO BOX 1117                                                                                                 JACKSBORO          TN   37757‐1117
PRIME, MARVIN D                7231 N BRAY RD                                                                                              MOUNT MORRIS       MI   48458‐8989
PRIME, MICHAEL D               775 BAY RD                                                                                                  BAY CITY           MI   48706
PRIME, RICHARD D               2314 S FARRAGUT ST                                                                                          BAY CITY           MI   48708‐8161
PRIME, RICHARD L               9181 SWAFFER RD                                                                                             VASSAR             MI   48768‐9627
PRIME, RITA D                  2314 S FARRAGUT ST                                                                                          BAY CITY           MI   48708‐8161
PRIME, RITA D                  2314 S. FARRAGUT                                                                                            BAY CITY           MI   48708‐8161
PRIME, RONALD W                PO BOX 1117                                                                                                 JACKSBORO          TN   37757‐1117
PRIME, ROSEMARY J              4978 E LECKIE LN                                                                                            SAGINAW            MI   48603‐9630
PRIME, TERRA                   8752 HAMMONDWOOD RD S                                                                                       JACKSONVILLE       FL   32221‐6532
PRIME, TERRANCE M              2427 N 9 MILE RD                                                                                            SANFORD            MI   48657‐9658
PRIMEAU JR, WILFRED A          5619 7 MILE RD                                                                                              BAY CITY           MI   48706‐9785
PRIMEAU, DANIEL J              4806 MONICA ST                                                                                              AUBURN             MI   48611‐9430
PRIMEAU, DOUGLAS G             8215 RUSSELL ST                                                                                             UTICA              MI   48317‐5356
PRIMEAU, GARY A                5177 MOUNT TAM CIR                                                                                          PLEASANTON         CA   94588‐3676
PRIMEAU, GILBERT O             3400 CEDAR RUN ROAD                                                                                         CASS CITY          MI   48726‐9455
PRIMEAU, JOHN A                531 GARY RAY DR                                                                                             DAVISON            MI   48423‐1057
PRIMEAU, LUCILLE E             1830 W CLARK ST                                                                                             SAINT CHARLES      MO   63301‐1772
PRIMEAU, LUCILLE E             1830 WEST CLARK                                                                                             ST CHARLES         MO   63301‐1772
PRIMEAU, MICHAEL               1909 UPLAND DR # B                                                                                          NASHVILLE          TN   37216‐4111
PRIMEAU, RICHARD H             4115 CEDAR CREEK RD                                                                                         NORTH BRANCH       MI   48461‐8976
PRIMEAU, ROBERT A              392 W BURNSIDE RD                                                                                           FOSTORIA           MI   48435‐9657
PRIMEAU, SUSAN J               8215 RUSSELL ST                                                                                             UTICA              MI   48317‐5356
PRIMEAU, THOMAS A              7381 GERALDINE DR                                                                                           SWARTZ CREEK       MI   48473‐7644
PRIMEAU, WILLIAM A             23271 WILLIAMSBURG CIR APT H                                                                                WOODHAVEN          MI   48183‐3338
PRIMEDIA                       6420 WILSHIRE BLVD                                                                                          LOS ANGELES        CA   90048
PRIMEDIA                       7819 HIGHLAND SCENIC RD                                                                                     BAXTER             MN   56425‐8346
PRIMEDIA
PRIMEDIA ANAHEIM               6375 FLANK DR STE 100                                                                                       HARRISBURG         PA 17112‐2753
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Name                               Address1                            Address2                         Address3   Address4         City               State Zip
PRIMEDIA AUTOMOTIVE DIGITAL        ATTN A COM                          6405 FLANK DR                                                HARRISBURG          PA 17112
PRIMEDIA ENTHUSIAST PUBLICATIO     6375 FLANK DR STE 100                                                                            HARRISBURG          PA 17112‐2753
PRIMEDIA INC                       6375 FLANK DR STE 100                                                                            HARRISBURG          PA 17112‐2753
PRIMEL, JOANNE M                   7010 WESTLAKE AVENUE                                                                             PARMA               OH 44129‐2386
PRIMER, J                          PORTER & MALOUF PA                  4670 MCWILLIE DR                                             JACKSON             MS 39206‐5621
PRIMERICA FINANCIAL SVC            340 NORTH AVE E STE 2                                                                            CRANFORD            NJ 07016‐2461
PRIMERICA FINANCIAL SVC            53 1/2 W HURON ST                                                                                PONTIAC             MI 48342‐2121
PRIMET PRECISION MATERIALS         950 DANBY RD STE 204                                                                             ITHACA              NY 14850‐5714
PRIMET PRECISION MATERIALS INC     950 DANBY RD STE 204                                                                             ITHACA              NY 14850‐5714
PRIMETIME CONCRETE CUTTERS         KROHN & MOSS ‐ CA,                  5055 WILSHIRE BLVD STE 300                                   LOS ANGELES         CA 90036‐6101
PRIMETIME CONCRETE CUTTERS         PERKINS, CLINTON                    5055 WILSHIRE BLVD STE 300                                   LOS ANGELES         CA 90036‐6101
PRIMETIME CONCRETE CUTTERS         PERKINS, MICHAEL                    5055 WILSHIRE BLVD STE 300                                   LOS ANGELES         CA 90036‐6101
PRIMETIME CONCRETE CUTTERS         5055 WILSHIRE BLVD STE 300                                                                       LOS ANGELES         CA 90036‐6101
PRIMETIME TESTING LABORATORY I     22832 MACOMB INDUSTRIAL DR                                                                       CLINTON TOWNSHIP    MI 48036‐1180
PRIMETIME TESTING LABORATORY INC   22832 MACOMB INDUSTRIAL DR                                                                       CLINTON TOWNSHIP    MI 48036‐1180
PRIMETTA GIACOPINI                 4863 RENO LN                                                                                     EL SOBRANTE         CA 94803
PRIMETUNE COMPLETE AUTO REPAIR     2644 NE 5TH AVE                                                                                  POMPANO BEACH       FL 33064‐5416
PRIMEWAY TOO/MAD HGT               32033 EDWARD AVE                                                                                 MADISON HEIGHTS     MI 48071‐1419
PRIMIANO, ANGELO P                 1441 WORTON BLVD                                                                                 MAYFIELD HTS        OH 44124‐1741
PRIMICH, JOHN D                    1412 JEFFERSON AVE                                                                               RAHWAY              NJ 07065‐2734
PRIMICH, ROBIN I                   PO BOX 99                                                                                        SANTA BARBARA       CA 93102‐0099
PRIMITIVO BELMARES JR              485 S WILHELM ST                                                                                 HOLGATE             OH 43527‐9746
PRIMITIVO HERNANDEZ                PO BOX 562                                                                                       HOLGATE             OH 43527‐0562
PRIMITIVO LUCIANO                  WEITZ & LUXENBERG PC                700 BROADWAY                                                 NEW YORK CITY       NY 10003
PRIMITIVO NORIEGA                  1939 S. 51ST CT.                                                                                 CICERO               IL 60804‐2342
PRIMM BETTY (494109)               CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                        CLEVELAND           OH 44113‐1328
                                   COONE AND ASSOCIATES
PRIMM CHARLES K                    BRADSHAW RENTALS
PRIMM CHARLES K                    MEDLIN, WILLIAM B
PRIMM CHARLES K                    PRIMM, CHARLES K
PRIMM CHARLES K                    STEWART, ROCKY
PRIMM HERMAN HENRY (479314)        BARON & BUDD                        3102 OAK LANE AVE , SUITE 1100                               DALLAS             TX   75219
PRIMM, ARCHIE L                    1518 WOODHALL DR                                                                                 FLINT              MI   48504‐1989
PRIMM, BARBARA R                   12649 COUNTRYBROOK DR                                                                            SAINT LOUIS        MO   63138‐2707
PRIMM, BETH J                      9317 VIENNA RD                      3601 BESSANT ST                                              INDIAN TRAIL       NC   28079
PRIMM, BETTY                       CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                        CLEVELAND          OH   44113‐1328
                                   COONE AND ASSOCIATES
PRIMM, BETTY J                     2724 BRIER ST SE                                                                                 WARREN             OH   44484‐5207
PRIMM, BONNIE K                    1416 LEISURE DR                                                                                  FLINT              MI   48507‐4056
PRIMM, CHARLES J                   18404 HIGHWAY 65                                                                                 SEDALIA            MO   65301‐0039
PRIMM, CHARLES K                   180 PARADISE LANE                                                                                EL DORADO          AR   71730‐8981
PRIMM, CHARLES K                   GRIGGS LAW OFFICES OF RONALD L
PRIMM, HERMAN H                    68 ELIOT LN                                                                                      YOUNGSTOWN         OH   44505‐4818
PRIMM, HERMAN HENRY                BARON & BUDD                        3102 OAK LANE AVE, SUITE 1100                                DALLAS             TX   75219
PRIMM, JAMES T                     1538 12TH ST                                                                                     MARTIN             MI   49070‐9710
PRIMM, JANICE A                    8101 HAZELTON ST                                                                                 DEARBORN HTS       MI   48127‐1580
PRIMM, JESSE M                     4062 E M 55                                                                                      PRESCOTT           MI   48756‐9333
PRIMM, JOAN                        68 ELOIT LANE                                                                                    YOUNGSTOWN         OH   44505‐4818
PRIMM, JOHN W                      28924 BARTON ST                                                                                  GARDEN CITY        MI   48135
PRIMM, KEVIN J                     11859 E LANSING RD                                                                               DURAND             MI   48429
PRIMM, LAWANDA B.                  1516 STONELEIGH CT                  APT 3044                                                     ARLINGTON          TX   76011‐2784
PRIMM, MARIE M                     PO BOX 2101                                                                                      WARREN             OH   44484‐0101
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Name                                Address1                            Address2                     Address3                 Address4                 City               State Zip
PRIMM, MARIE M                      P.O.BOX 2101                                                                                                       WARREN              OH 44484‐0101
PRIMM, RUTH E                       301 S SHERRY AVE                                                                                                   NORMAN              OK 73069‐5334
PRIMM, VELLA M                      9004 SPRING BROOK CIR                                                                                              DAVISON             MI 48423‐2135
PRIMM, WILLIAM A                    387 N MAPLE ST                                                                                                     MARCELLUS           MI 49067‐8504
PRIMM, WILLIAM D                    3409 COLONY PARK CV                                                                                                JONESBORO           AR 72404
PRIMMER JR., CHARLES R              3675 W 100 N                                                                                                       HUNTINGTON          IN 46750‐9051
PRIMMER, AMANDA S                   PO BOX 73                                                                                                          ANDREWS             IN 46702‐0073
PRIMMER, JOHN W                     5301 N MOORE RD                                                                                                    MUNCIE              IN 47304‐6004
PRIMMER, SHERRELL A                 744 RIVERVIEW DR                                                                                                   KOKOMO              IN 46901‐7024
PRIMMS                              323 S PROFIT DR                                                                                                    FAIRFIELD           OH 45014
PRIMMS                              102 RUTLEDGE DR                                                                                                    PITTSTON            PA 18640‐2247
PRIMMS                              9605 54TH AVE N                                                                                                    PLYMOUTH            MN 55442‐1946
PRIMMS ‐ CADILLAC                   C/O CLARK FOOD SERVICE INC                                                                                         CADILLAC            MI 49601
PRIMMS ‐ DETROIT                    7640 HOLLAND RD                                                                                                    TAYLOR              MI 48180‐1451
PRIMMS ‐ FRIDLEY                    C/O PERLMAN ‐ ROCQUE                                                                                               FRIDLEY             MN 55421
PRIMMS ‐ LEMONT                     16100 103RD ST                                                                                                     LEMONT               IL 60439‐9665
PRIMMS ‐ WHITEWATER                 C/O PERLMAN ‐ ROCQUE                                                                                               WHITEWATER          WI 53190
PRIMMS LEASING                      1783 HIGHLAND RD                                                                                                   TWINSBURG           OH 44087‐2220
PRIMMS LEASING                      15155 NORTHAM ST                                                                                                   LA MIRADA           CA 90638‐5754
PRIMO BELMONTEZ                     8816 YUBA CIR UNIT 1108A                                                                                           HUNTINGTON BEACH    CA 92646‐8713
PRIMO CRAFTS                        1304 UNIVERSITY DR                                                                                                 PONTIAC             MI 48342‐1974
PRIMO GENTILI                       7 VALLEY RD                                                                                                        NATICK              MA 01760‐3414
PRIMO INDUSTRIAL DE TERMOPLAS       AV SAO MIGUEL 1615                                                                        SAO PAULO SP 03619‐100
                                                                                                                              BRAZIL
PRIMO MANNI                         5166 LYNSUE LN                                                                                                     WATERFORD          MI 48327‐2457
PRIMO MAZZOLENI                     VIA ADUA 7
PRIMO RICHARD CITINO                1310 E 10TH ST                                                                                                     SALEM              OH    44460‐1814
PRIMOS GOURMET CATERING             101 SANDS POINT DR                                                                                                 TIERRA VERDE       FL    33715‐2212
PRIMOVIC, TODD A                    53 SAVOY DR                                                                                                        LAKE ST LOUIS      MO    63367‐1105
PRIMROSE INC                        775 BEREA INDUSTRIAL PKWY                                                                                          BEREA              OH    44017‐2948
PRIMROSE INC                        10302 MADISON AVE                                                                                                  CLEVELAND          OH    44102‐3545
PRIMROSE, DONNA R                   14612 W SENTINEL DR                                                                                                SUN CITY WEST      AZ    85375‐6105
PRIMUS AUTOMOTIVE FINANCIAL         11301 CARMEL COMMONS BLVD STE 304                                                                                  CHARLOTTE          NC    28226‐5305

PRIMUS AUTOMOTIVE FINANCIAL SERVICES 1420 BLAIR PL                      SUITE 400                                             GLOUCESTER ON K1J 9L8
CANADA INC.                                                                                                                   CANADA
PRIMUS FINANCIAL SERVICES            655 WINDING BROOK DR                                                                                              GLASTONBURY         CT   06033
PRIMUS FINANCIAL SERVICES
PRIMUS, EARL E                       PO BOX 1463                        C/O DORA PINDER                                                                REYNOLDSBURG       OH    43068‐6463
PRIMUTH, DANIEL A                    3660 WATKINS RD                                                                                                   MEDINA             OH    44256‐8329
PRIMUTH, GARY D                      132 PARKLAND DR                                                                                                   AVON LAKE          OH    44012‐1271
PRINCE & PORTNOI                     ATTN: ANDREW PRINCE                136 CENTRAL AVE # 204                                                          CLARK              NJ    07066‐1142
PRINCE ALAN M                        PRINCE, CINDY M                    ROUZZO DAVID T               3333 NILES CORTLAND RD                            CORTLAND           OH    44410
PRINCE ALAN M                        PRINCE, ALAN M                     3333 NILES CORTLAND RD NE                                                      CORTLAND           OH    44410‐1786
PRINCE ALVIN WILLIAMS                C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY, STE 600                                                     HOUSTON            TX    77007
                                     BOUNDAS, LLP
PRINCE ANGELA                        33284 W 87TH CIR                                                                                                  DE SOTO            KS    66018‐8425
PRINCE ANTHONY (481270)              PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                                         PHILADELPHIA       PA    19103‐5446
PRINCE ARNOLD JR                     265 LORING AVE                                                                                                    BUFFALO            NY    14214‐2709
PRINCE AUTOMOTIVE OF VALDOSTA, INC. 4550 N VALDOSTA RD                                                                                                 VALDOSTA           GA    31602‐6802
                                      09-50026-mg             Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                                  Address1                        Address2                        Address3   Address4         City               State Zip
PRINCE AUTOMOTIVE OF VALDOSTA, INC.   JOHN PRINCE                     4550 N VALDOSTA RD                                          VALDOSTA            GA 31602‐6802

PRINCE BARRETT                        3120 GARVIN RD                                                                              DAYTON             OH   45405‐2009
PRINCE BRANTLEY                       495 KINGSGATE RDG                                                                           STONE MTN          GA   30088‐1831
PRINCE C GRAVES                       316 HUNTSFORD                                                                               TROTWOOD           OH   45426
PRINCE CAMPBELL JR                    2280 LA BELLE ST                                                                            DETROIT            MI   48238‐2944
PRINCE CAMPBELL JR                    18542 CURTIS ST                                                                             DETROIT            MI   48219‐2901
PRINCE CARR                           56 N EASTWAY DR                                                                             PONTIAC            MI   48342‐2929
PRINCE CHEVROLET OLDSMOBILE
PRINCE CHEVROLET‐OLDSMOBILE, INC.     JOHN PRINCE                     1410 US HIGHWAY 82 W                                        TIFTON             GA   31793‐8037
PRINCE CHEVROLET‐OLDSMOBILE, INC.     1410 US HIGHWAY 82 W                                                                        TIFTON             GA   31793‐8037
PRINCE CITGO                          ATTN: BILL SINGS                4111 N DORT HWY                                             FLINT              MI   48505‐3674
PRINCE CORP/1 PRINCE                  1 PRINCE CTR                    DEPARTMENT M                                                HOLLAND            MI   49423‐5407
PRINCE CORPORATION                    1 PRINCE CTR                                                                                HOLLAND            MI   49423‐5407
PRINCE CORPORATION                    KATHIE BATES                    PO BOX 919C                                                 STERLING HEIGHTS   MI   48311
PRINCE DELIVERY SERVICE               44486 PENNY CT                                                                              CANTON             MI   48187‐1726
PRINCE DONALD (473123)                KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND          OH   44114
                                                                      BOND COURT BUILDING
PRINCE DONALD G (481271)              KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
PRINCE E BARRETT                      3120 GARVIN RD                                                                              DAYTON             OH   45405‐2009
PRINCE E PHILLIPS II                  7010 DAHLGREN CT                                                                            JACKSONVILLE       FL   32208
PRINCE EDWARD COUNTY TREASURER        PO BOX 522                                                                                  FARMVILLE          VA   23901‐0522
PRINCE FENTRESS                       PO BOX 2374                                                                                 SAGINAW            MI   48605‐2374
PRINCE FLETCHER                       1512 PARTRIDGE AVE                                                                          SAINT LOUIS        MO   63133‐1034
PRINCE FRANCIS E                      10960 EAST SONRISA AVENUE                                                                   MESA               AZ   85212‐5128
PRINCE FRANKLIN                       9100 PARKSIDE DR                                                                            GRAND BLANC        MI   48439‐7457
PRINCE FREDERICK DEPT. OF PUBLIC WORK                                 175 MAIN ST                                                                    MD   20678

PRINCE GARDNER JR                  8337 ALMONT ST                                                                                 DETROIT            MI 48234‐4017
PRINCE GEORGE COUNTY GOVERNMENT‐ 8401 D'ARCY ROAD ROOM 160                                                                        FORESTVILLE        MD 20747
DEPARTMENT OF PUBLIC WORKS & TRANS

PRINCE GEORGE COUNTY TREASURER        PO BOX 156                                                                                  PRINCE GEORGE      VA 23875‐0156
PRINCE GEORGE'S COUNTY                8019 CENTRAL AVE                                                                            CAPITOL HEIGHTS    MD 20743‐3506
PRINCE GEORGE'S COUNTY DEPT. OF       4200 RITCHIE MARLBORO RD                                                                    UPPER MARLBORO     MD 20772‐9307
PARKS AND RECREATION
PRINCE GEORGE'S COUNTY DPW & T                                        8401 DARCY RD RM 160                                                           MD 20747
PRINCE GEORGE'S COUNTY FLEET                                          8019 CENTRAL AVE                                                               MD 20743
MANAGEMENT DIVISION
PRINCE GEORGE'S COUNTY FLEET MGMT     8019 CENTRAL AVE                                                                            CAPITOL HEIGHTS    MD 20743‐3506

PRINCE GEORGES COUNTY                 PO BOX 17578                                                                                BALTIMORE          MD 21297‐1578
PRINCE GILMORE                        832 LYNDHURST ST                                                                            BALTIMORE          MD 21229‐1955
PRINCE GRAVES                         316 HUNTSFORD PL                                                                            TROTWOOD           OH 45426‐2736
PRINCE HOLDING COMPANY
PRINCE I I, JOE E                     5138 WINSHALL DR                                                                            SWARTZ CREEK       MI   48473‐1223
PRINCE II, JOE E                      5148 WINSHALL DRIVE                                                                         SWARTZ CREEK       MI   48473‐1223
PRINCE JAMES R                        C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                         LITTLE ROCK        AR   72201
PRINCE JONES                          1404 GLEATON RD                                                                             WARWICK            GA   31796‐5270
PRINCE JR, HARRY                      1921 GILMARTIN ST                                                                           FLINT              MI   48503‐4411
PRINCE JR, ODELL G                    2362 HARMONY DRIVE                                                                          XENIA              OH   45385‐5900
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Name                                  Address1                             Address2                        Address3         Address4             City            State Zip
PRINCE LAKE                           8870 GRAYFIELD                                                                                             REDFORD          MI 48239‐1130
PRINCE LEWIS                          149 VIRGINIA PARK ST                                                                                       DETROIT          MI 48202‐2000
PRINCE MACH/1 PRINCE                  670 WINDCREST DR                                                                                           HOLLAND          MI 49423‐5410
PRINCE MACK                           147 WHISPERING HILLS BLVD                                                                                  BOWLING GREEN    KY 42101‐3954
PRINCE MANOR                          PO BOX 814                                                                                                 TYLERTOWN        MS 39667‐0814
PRINCE MARJORY (ESTATE OF) (501027)   BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
PRINCE MARSEE                         30556 SAINT ONGE CIR                                                                                       WARREN          MI 48088‐5954
PRINCE MELTON                         12715 DOGWOOD HILL DR                                                                                      JACKSONVILLE    FL 32223‐2791
PRINCE MEN'S WEAR                     ATTN: JOHN SUH                       6549 WOODWARD AVE                                                     DETROIT         MI 48202‐3239
PRINCE MET/WINDSOR                    945 PRINCE RD                                                                         WINDSOR ON N9C 2Z4
                                                                                                                            CANADA
PRINCE METAL PRODS., LTD.             SUE BEAUPRE X227                     THE NARMCO GROUP                945 PRINCE RD.   GUELPH ON CANADA
PRINCE METAL PRODUCTS                 DAVE LAVOIE                          945 PRINCE RD                                    WINDSOR ON N9C 2Z4
                                                                                                                            CANADA
PRINCE METAL PRODUCTS LTD             945 PRINCE RD                                                                         WINDSOR ON N9C 2Z4
                                                                                                                            CANADA
PRINCE METAL STAMPINGS USA            JARIN HANDSOR X397                   1108 AIRPORT INDUSTRIAL DRIVE                                         NOGALES         AZ   85621
PRINCE METAL STAMPINGS USA            1108 AIRPORT INDUSTRIAL DR                                                                                 GADSDEN         AL   35904‐6201
PRINCE METAL STAMPINGS USA INC        1108 AIRPORT INDUSTRIAL DR                                                                                 GADSDEN         AL   35904
PRINCE METAL STAMPINGS USA INC        JUSTIN WHITE                         1108 AIRPORT INDUSTRIAL DR                                            GADSDEN         AL   35904‐6201
PRINCE METAL STAMPINGS USA INC        ATTN: CORPORATE OFFICER/AUTHORIZED   1108 AIRPORT INDUSTRIAL DR                                            GADSDEN         AL   35904‐6201
                                      AGENT
PRINCE METAL/WINDSOR                  945 PRINCE ROAD                                                                       WINDSOR ON N9C 2Z4
                                                                                                                            CANADA
PRINCE MIKE                           PRINCE, MIKE                         3370 HORSESHOE DRI                                                    KINGSPORT       TN 37663‐3545
PRINCE PHILLIPS II                    7010 DAHLGREN CT                                                                                           JACKSONVILLE    FL 32208
PRINCE RANDALL W (455026)             ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                            BALTIMORE       MD 21202
                                                                           CHARLES CENTER 22ND FLOOR
PRINCE RANDOLPH                       28 RUSSELL RD                                                                                              JACKSON         TN   38301‐3815
PRINCE RICHARD                        96 GREENLAWN RD                                                                                            HUNTINGTON      NY   11743‐2933
PRINCE SAUBERT                        5326 LEWIS DR                                                                                              ANDERSON        IN   46013‐1537
PRINCE SERVICE CENTER INC             300 S 6TH ST                                                                                               OPELIKA         AL   36801‐5032
PRINCE TELECOM                        34 BLEVINS DR STE 5                                                                                        NEW CASTLE      DE   19720‐4177
PRINCE WALL                           PO BOX 4740                                                                                                DETROIT         MI   48204‐0740
PRINCE WALLICK                        9072 OHIO ST                                                                                               DETROIT         MI   48204‐2743
PRINCE WALTER                         1113 SELBY AVE                                                                                             SAINT PAUL      MN   55104‐6420
PRINCE WARD JR                        14072 LORAIN #136D                                                                                         CLEVELAND       OH   44111
PRINCE WILLIAM COMPANY FLEET                                               14809 DUMFRIES RD                                                                     VA   20112
MANAGEMENT
PRINCE WILLIAM COUNTY                 DEPT 871                                                                                                   ALEXANDRIA      VA   22334‐0871
PRINCE WILLIAM JOHN                   7604 W PRATT RD                                                                                            DEWITT          MI   48820‐9165
PRINCE, ALLEN R                       1908 W DAYTON ST                                                                                           FLINT           MI   48504‐2715
PRINCE, ALVIN L                       3505 BROPHY RD                                                                                             HOWELL          MI   48855‐9744
PRINCE, ANITA                         1172 BAILING DR                                                                                            LAWRENCEVILLE   GA   30043‐5295
PRINCE, ANJELA Y                      7467 ESSEX DR                                                                                              MENTOR          OH   44060‐5246
PRINCE, ANN E                         1700 EDGEWATER DR                                                                                          MOUNT DORA      FL   32757
PRINCE, ANNA S                        4228 HILLBROOK DR                                                                                          LOUISVILLE      KY   40220‐3656
PRINCE, ANTHONY                       PAUL REICH & MYERS P.C.              1608 WALNUT ST STE 500                                                PHILADELPHIA    PA   19103‐5446
PRINCE, ANTHONY                       PO BOX 7126                                                                                                FULLERTON       CA   92834‐7126
PRINCE, ANTHONY D                     6760 OAKVILLE WALTZ RD                                                                                     CARLETON        MI   48117‐9151
PRINCE, ANTHONY J                     5750 80TH ST N APT B305                                                                                    ST PETERSBURG   FL   33709‐6819
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Name                     Address1                          Address2                       Address3   Address4         City              State Zip
PRINCE, ARCHIE R         16870 DRAKE RD                                                                               STRONGSVILLE       OH 44136
PRINCE, ARNETT           300 BARBARA LN                                                                               SAGINAW            MI 48601‐9487
PRINCE, ARTHUR P         17094 SWEET ST                                                                               LAWSON             MO 64062‐8600
PRINCE, BARBARA A        4214 RICHTON ST                                                                              DETROIT            MI 48204‐1540
PRINCE, BARBARA A        4712 BURNS ST                                                                                DETROIT            MI 48214‐1214
PRINCE, BERNARD          2534 EDEN ST SW                                                                              WYOMING            MI 49519‐6828
PRINCE, BETTY            459 GIZZARD POINT RD                                                                         SCOTTSBORO         AL 35768‐5867
PRINCE, BETTY B          431 N SNOW PRAIRIE RD                                                                        COLDWATER          MI 49036‐9256
PRINCE, BILLY G          2019 FRANKLIN AVE SW                                                                         DECATUR            AL 35603‐1016
PRINCE, BRUCE W          1711 RINIEL RD                                                                               LENNON             MI 48449‐9322
PRINCE, CALVIN           4220 MATTHEW LN                                                                              WHITE LAKE         MI 48383‐1608
PRINCE, CAROL            569 STERLING                                                                                 DIMONDALE          MI 48821‐8709
PRINCE, CAROL            569 STERLING DR                                                                              DIMONDALE          MI 48821‐8709
PRINCE, CAROL D          4747 AZALEA DR APT 130                                                                       NEW PORT RICHEY    FL 34652‐5020
PRINCE, CECIL G          2000 HIALEAH CT                                                                              FOREST HILL        MD 21050‐3179
PRINCE, CHARLES E        119 PINE FORREST DR                                                                          SELMA              AL 36701‐7258
PRINCE, CHARLES K        2279 ALPINE POINT DR                                                                         INNSBROOK          MO 63390‐6534
PRINCE, CLYDE L          1301 ORLEANS ST APT 314                                                                      DETROIT            MI 48207‐2943
PRINCE, CODY
PRINCE, CORINE L         136 SPRINGBROOK DR NE UNIT 1                                                                 WARREN            OH   44484‐6014
PRINCE, COURTNEY B       6376 KELSEY DR                                                                               INDIANAPOLIS      IN   46268
PRINCE, DALE A           7291 S ELMS RD                                                                               SWARTZ CREEK      MI   48473‐9440
PRINCE, DANIEL G         1352 CASTILLION DR NE                                                                        WARREN            OH   44484‐1471
PRINCE, DANNY R          6514 HEDGE LANE TER APT 103                                                                  SHAWNEE           KS   66226‐4860
PRINCE, DANNY RAY        6514 HEDGE LANE TER APT 103                                                                  SHAWNEE           KS   66226‐4860
PRINCE, DAVID A          6435 BREWER RD                                                                               FLINT             MI   48507‐4605
PRINCE, DAVID L          1531 OHIO ST.                                                                                INDIANAPOLIS      IN   46201
PRINCE, DEATHRA R        9716 S YALE AVE                                                                              CHICAGO           IL   60628‐1308
PRINCE, DEBRA L          PO BOX 304                                                                                   BEDFORD           IN   47421‐0304
PRINCE, DEWARD L         3 W SUFFOLK CT                                                                               FLINT             MI   48507‐4205
PRINCE, DONALD           KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND         OH   44114
                                                           BOND COURT BUILDING
PRINCE, DONALD E         9045 BROOKLINE AVE                                                                           PLYMOUTH          MI 48170‐4011
PRINCE, DONALD E         5 RAILROAD ST                                                                                HILLSBORO         AL 35643‐3875
PRINCE, DONALD G         KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                           BOND COURT BUILDING
PRINCE, DONALD J         685 LILLIAN DR                                                                               HERMITAGE         PA   16148‐1532
PRINCE, DONALD J         1519 ROSEWOOD AVE SE                                                                         GRAND RAPIDS      MI   49506‐3932
PRINCE, DONALD K         5416 TORREY RD                                                                               FLINT             MI   48507‐3812
PRINCE, ELEANOR M        10417 LEANN DR                                                                               CLIO              MI   48420‐1960
PRINCE, ELLA M           527 BAREMORE ST                                                                              LOUISVILLE        MS   39339
PRINCE, ELLIS L          4372 BAKER DR                                                                                DORAVILLE         GA   30340‐1536
PRINCE, EMMITTE J        22 TIMBERLAND DR                                                                             FORISTELL         MO   63348‐1447
PRINCE, ERNEST R         1525 W 13TH ST                                                                               ANDERSON          IN   46016‐3307
PRINCE, EUNICE FRANCES   PO BOX 62                                                                                    WALLOON LAKE      MI   49796‐0062
PRINCE, FRANCES M        131 SAINT AUGUSTINE DR                                                                       MADISON           MS   39110‐9639
PRINCE, FRANCIS E        10960 E SONRISA AVE                                                                          MESA              AZ   85212‐5128
PRINCE, FRANCIS E        10960 EAST SONRISA AVENUE                                                                    MESA              AZ   85212‐5128
PRINCE, FRANK J          116 BELHAVEN DR                                                                              MOUNT AIRY        NC   27030‐8739
PRINCE, FRED             83 WILKES AVE                                                                                BUFFALO           NY   14215
PRINCE, GEORGE L         BARON & BUDD                      THE CENTRUM, 3102 OAK LAWN                                 DALLAS            TX   75219
                                                           AVE, STE 1100
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Name                       Address1                       Address2                      Address3                     Address4         City               State Zip
PRINCE, GERALD W           3537 STATE ROAD 158                                                                                        BEDFORD             IN 47421‐8555
PRINCE, GRACE M            380 FOWLER ST                                                                                              CORTLAND            OH 44410‐1350
PRINCE, GRACE M            380 FOWLER STREET                                                                                          CORTLAND            OH 44410‐1350
PRINCE, HALLIE             366 WILLOW OAK DRIVE                                                                                       WINCHESTER          TN 37398‐4453
PRINCE, HANA M             23815 TALL GRASS DR                                                                                        PLAINFIELD           IL 60585‐8156
PRINCE, HELEN M            13112 HIGHLAND CIR                                                                                         STERLING HEIGHTS    MI 48312‐5318
PRINCE, HENRY E            PO BOX 2161                                                                                                ANDERSON            IN 46018‐2161
PRINCE, HERMINIA CASTRO    1833 NE 24TH ST                                                                                            OKLAHOMA CITY       OK 73111
PRINCE, HOYT H             2747 DUNCAN CREEK RD                                                                                       RUSSELLVILLE        AL 35653‐5229
PRINCE, IDA                1106 N SNOWMASS LN                                                                                         MUNCIE              IN 47304‐5073
PRINCE, IDA M              1106 N SNOWMASS LANE                                                                                       MUNCIE              IN 47304‐5073
PRINCE, IRIS               11526 CROMWELL CIR                                                                                         DALLAS              TX 75229‐2533
PRINCE, JACOB              FOSTER & SEAR                  360 PLACE OFFICE PARK, 1201                                                 ARLINGTON           TX 76006
                                                          NORTH WATSON, SUITE 145
PRINCE, JAMES              9589 US 50 WEST                                                                                            MITCHELL           IN   47446
PRINCE, JAMES H            2101 E CHURCH ST                                                                                           BOONEVILLE         MS   38829‐7644
PRINCE, JAMES H            2101 EAST CHURCH ST                                                                                        BOONEVILLE         MS   38829
PRINCE, JAMES R            MOODY EDWARD O                 801 W 4TH ST                                                                LITTLE ROCK        AR   72201‐2107
PRINCE, JAMES UDALE        C/O BRENT COON & ASSOCIATES    WESLEYAN TOWER                24 EAST GREENWAY PLAZA STE                    HOUSTON            TX   77046
                                                                                        725
PRINCE, JAMIE L            4328 RED ROOSTER LANE                                                                                      MYRTLE BEACH       SC   29579‐3478
PRINCE, JANICE A           2224 HIGH WHEEL DRIVE          APARTMENT 330                                                               XENIA              OH   45385‐5385
PRINCE, JEANETTE           300 BARBARA LN                                                                                             SAGINAW            MI   48601‐9487
PRINCE, JEROME D           1610 REDCEDAR DRIVE                                                                                        WYLIE              TX   75098‐8177
PRINCE, JERRY D            110 VALLEY RD APT 2                                                                                        LOUISVILLE         KY   40204
PRINCE, JERRY M            1342 HARRY ST                                                                                              YPSILANTI          MI   48198‐6620
PRINCE, JERRY T            5345 CLARE RD                                                                                              SHAWNEE            KS   66226‐2810
PRINCE, JESSE D            6846 STATE ROUTE 316                                                                                       CIRCLEVILLE        OH   43113‐9550
PRINCE, JIMMIE             9551 US HIGHWAY 50 W                                                                                       MITCHELL           IN   47446‐5450
PRINCE, JOANNE M           8145 W CENTERLINE RD                                                                                       SAINT JOHNS        MI   48879‐9227
PRINCE, JOE E              3955 OAK KNOLL RD                                                                                          WATERFORD          MI   48328‐4069
PRINCE, JOHN H             413 EAST MOTT AVENUE                                                                                       FLINT              MI   48505‐5209
PRINCE, JOHN M             287 RUSSELL AVE                                                                                            CORTLAND           OH   44410‐1241
PRINCE, JOYCE A            965 MAGNOLIA DR                                                                                            BOURNONNAIS        IL   60914‐4667
PRINCE, JOYCE M            9209 RUTHERFORD ST                                                                                         DETROIT            MI   48228‐2170
PRINCE, JUDY C             5952 W 700 N                                                                                               FRANKTON           IN   46044‐9578
PRINCE, KENNY H            3294 FAIRVIEW MUNDELL RD                                                                                   HELTONVILLE        IN   47436‐8737
PRINCE, KORY               46 MANOR LN                                                                                                WILLINGBORO        NJ   08046‐3140
PRINCE, LANETTE M          PO BOX 3171                                                                                                MUNCIE             IN   47307‐1171
PRINCE, LANETTE MARSHEAL   PO BOX 3171                                                                                                MUNCIE             IN   47307‐1171
PRINCE, LARICA M           13519 DEQUINDRE ST 1                                                                                       DETROIT            MI   48212
PRINCE, LARRY E            132 FERNBARRY DR                                                                                           WATERFORD          MI   48328‐3113
PRINCE, LARRY L            1214 MANN AVE                                                                                              FLINT              MI   48503‐6710
PRINCE, LINH               1342 HARRY STREET                                                                                          YPSILANTI          MI   48198
PRINCE, LINH               1342 HARRY ST                                                                                              YPSILANTI          MI   48198‐6620
PRINCE, LISA M             2902 COMANCHE AVE                                                                                          FLINT              MI   48507‐1855
PRINCE, LOIS I             4304 S CO RD 500 E                                                                                         KOKOMO             IN   46902
PRINCE, LOIS Y             8504 WINTERGREEN                                                                                           LANSING            MI   48917‐8800
PRINCE, LYNWOOD G          17279 DOLORES ST                                                                                           LIVONIA            MI   48152‐3854
PRINCE, MARCIA J           119 N TUSCOLA RD                                                                                           BAY CITY           MI   48708‐6960
PRINCE, MARGARET C         8348 RAGLAN DR NE                                                                                          WARREN             OH   44484‐1447
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Name                     Address1                         Address2                          Address3   Address4         City            State Zip
PRINCE, MARJORY          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD       OH 44067
                                                          PROFESSIONAL BLDG
PRINCE, MARK W           8145 W CENTERLINE RD                                                                           SAINT JOHNS     MI 48879‐9227
PRINCE, MARVIN E         PO BOX 443                                                                                     ELMORE CITY     OK 73433‐0443
PRINCE, MATTIE PAULINE   COZEN OCONNOR                    2300 BANKONE CENTER ‐ 1717 MAIN                               DALLAS          TX 75201
                                                          STREET
PRINCE, MELVIN J         3738 COLLEGE AVE                                                                               KANSAS CITY     MO   64128‐2521
PRINCE, MICHAEL A        1342 HARRY STREET                                                                              YPSILANTI       MI   48198‐6620
PRINCE, MIKE             3370 HORSESHOE DR                                                                              KINGSPORT       TN   37663‐3545
PRINCE, MILDRED M        12333 SHIPPY ROAD SOUTHWEST                                                                    FIFE LAKE       MI   49633‐9106
PRINCE, MILTON L         5036 DR PHILLIPS BLVD            STE 162                                                       ORLANDO         FL   32819
PRINCE, NADINE C         4879 WARREN RD                                                                                 CORTLAND        OH   44410‐9708
PRINCE, NADINE C         4879 WARREN ROAD                                                                               CORTLAND        OH   44410‐4410
PRINCE, NAOMA            1205 NW 104TH TER                                                                              OKLAHOMA CITY   OK   73114‐5103
PRINCE, NEAL             3801 WAINWRIGHT AVE                                                                            LANSING         MI   48911‐2244
PRINCE, OSROW O          PO BOX 278                                                                                     WINDFALL        IN   46076‐0278
PRINCE, OWEN C           459 GIZZARD POINT RD                                                                           SCOTTSBORO      AL   35768‐5867
PRINCE, PATRICIA A       200 N GRACE ST                                                                                 LANSING         MI   48917‐4908
PRINCE, PATRICIA C       1921 GILMARTIN ST                                                                              FLINT           MI   48503‐4411
PRINCE, PAUL E           16 FAIRLANE CIR LOT D                                                                          WARRENTON       MO   63383‐4464
PRINCE, PAUL EMORY       16 FAIRLANE CIR LOT D                                                                          WARRENTON       MO   63383‐4464
PRINCE, PHILIP W         1123 KNIGHT AVE                                                                                FLINT           MI   48503‐3209
PRINCE, PHILLIP L        1420 PERRY RD APT 4‐2                                                                          GRAND BLANC     MI   48439‐1734
PRINCE, RALEIGH          MACLEAN LESLIE                   3219 MCKINNEY AVE                                             DALLAS          TX   75204‐2472
PRINCE, RALPH J          6086 BYRAM LAKE DR                                                                             LINDEN          MI   48451‐8784
PRINCE, RANDALL          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                     BALTIMORE       MD   21202
                                                          CHARLES CENTER 22ND FLOOR
PRINCE, RAYMOND E        710 GREGWOOD CT                                                                                DUNDALK         MD   21222‐2843
PRINCE, RICHARD A        170 DEERING ST                                                                                 GARDEN CITY     MI   48135‐3157
PRINCE, RICHARD A.       170 DEERING ST                                                                                 GARDEN CITY     MI   48135‐3157
PRINCE, RICHARD E        33824 LYNDON                     BUILDING 14                                                   LIVONIA         MI   48154
PRINCE, RICHARD F        1933 BENJAMIN AVE NE                                                                           GRAND RAPIDS    MI   49505‐5437
PRINCE, RICHARD J        71 GLEN HAVEN                                                                                  SPENCERPORT     NY   14559‐2503
PRINCE, RICHARD J        2220 ROAD # 19A                                                                                CONTINENTAL     OH   45831
PRINCE, RICHARD J        71 GLENN HVN                                                                                   SPENCERPORT     NY   14559‐2503
PRINCE, ROBERT A         1514 PERIMETER DR                                                                              JAMESTOWN       TN   38556‐6128
PRINCE, ROBERT D         11320 N LAKE CT                                                                                FENTON          MI   48430‐8871
PRINCE, ROBERT G         5570 TOLES RD                                                                                  EATON RAPIDS    MI   48827‐9106
PRINCE, ROBERT L         4126 NATALIA WAY                                                                               SIOUX CITY      IA   51106
PRINCE, ROBERT R         2013 HIGHWAY 207                                                                               ROGERSVILLE     AL   35652‐3753
PRINCE, ROBERT W         2787 TURTLE COVE TRWY                                                                          MONTICELLO      GA   31064‐8754
PRINCE, ROBIN M          22246 PEMBROKE AVE                                                                             DETROIT         MI   48219‐1215
PRINCE, RONALD           5555 LEHMAN ROAD RT 2                                                                          DE WITT         MI   48820
PRINCE, RONALD J         8774 INDIAN TRL                                                                                CLARKSTON       MI   48348‐2536
PRINCE, RONALD O         2344 MIDD‐EATON RD                                                                             MIDDLETOWN      OH   45042
PRINCE, RONNIE           6251 TUNNELTON RD                                                                              BEDFORD         IN   47421‐7853
PRINCE, ROY R            13657 CROSSCLIFFE PL                                                                           ROSEMOUNT       MN   55068‐3558
PRINCE, RUBY D           260 STATE ROUTE 235 S                                                                          SAINT PARIS     OH   43072‐9386
PRINCE, RUBY D           1078 CAVE SPRINGS RD                                                                           DOUGLASVILLE    GA   30134‐3609
PRINCE, RUTH W           G5179 W CARPENTER RD                                                                           FLINT           MI   48504‐1053
PRINCE, RYAN M           3955 OAK KNOLL RD                                                                              WATERFORD       MI   48328‐4069
PRINCE, RYAN MICHEAL     3955 OAK KNOLL RD                                                                              WATERFORD       MI   48328‐4069
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Name                            Address1                        Address2                     Address3   Address4         City            State Zip
PRINCE, SAMUEL W                PO BOX 47099                                                                             OAK PARK         MI 48237‐4799
PRINCE, SANDRA                  2082 OLD FARM RD                                                                         BEDFORD          IN 47421‐8473
PRINCE, SANFORD C               366 WILLOW OAK DR                                                                        WINCHESTER       TN 37398‐4453
PRINCE, SHARON                  17756 MATTHEWS ST                                                                        RIVERVIEW        MI 48193‐4731
PRINCE, SHARON E                4740 HIGHWAY 51 N APT 18102                                                              SOUTHAVEN        MS 38671‐7987
PRINCE, SHARON E                APT 18102                       4740 HIGHWAY 51 NORTH                                    SOUTHAVEN        MS 38671‐7987
PRINCE, T D                     10303 S COUNTY ROAD 0                                                                    CLAYTON          IN 46118‐9210
PRINCE, THOMAS E                1507 WILSON AVE                                                                          SAGINAW          MI 48638‐4757
PRINCE, TIMOTHY G               5642 KAYNORTH RD                                                                         LANSING          MI 48911‐3853
PRINCE, TIMOTHY J               9583 MANDON ST                                                                           WHITE LAKE       MI 48386‐2946
PRINCE, TIMOTHY JOSEPH          9583 MANDON ST                                                                           WHITE LAKE       MI 48386‐2946
PRINCE, TROY K                  2040 W MAIN ST 210‐1434                                                                  RAPID CITY       SD 57702
PRINCE, ULYSES                  1310 N 62ND ST PL                                                                        KANSAS CITY      KS 66102
PRINCE, VALET L                 1001 E HEMPHILL RD                                                                       FLINT            MI 48507‐2834
PRINCE, VALET L                 1001 E. HEMPHILL                                                                         FLINT            MI 48507‐2834
PRINCE, VICKIE M                17510 JOHN MORLEY RD                                                                     LUTHER           OK 73054‐9493
PRINCE, VIRGINIA A              6435 BREWER RD                                                                           FLINT            MI 48507‐4605
PRINCE, VIVIAN L                684 RILEY STREET                                                                         BUFFALO          NY 14211‐1222
PRINCE, WILLIAM                 7261 LINDEN RD                                                                           SWARTZ CREEK     MI 48473‐9455
PRINCE, WILLIAM B               4870 S ROYSTON RD                                                                        EATON RAPIDS     MI 48827‐8017
PRINCE, WILLIAM B               806 W OAKRIDGE ST                                                                        FERNDALE         MI 48220‐2740
PRINCE, WILLIAM J               7604 W PRATT RD                                                                          DEWITT           MI 48820‐9165
PRINCE, WILLIAM M               1205 NW 104TH TER                                                                        OKLAHOMA CITY    OK 73114‐5103
PRINCE, WILLIAM R               6158 BEECHER RD                                                                          FLINT            MI 48532‐2001
PRINCE, WILLIE E                4421 GRANADA BLVD APT 116                                                                CLEVELAND        OH 44128‐4878
PRINCE, WILLIE J                979 HAVENSPORT DR                                                                        CINCINNATI       OH 45240‐1853
PRINCE‐DAVIS, JESSIE B          5501 N HARMON DR                                                                         WARR ACRES       OK 73122‐6232
PRINCE‐MCKAY, PARALEE           20524 MARLOWE ST                                                                         DETROIT          MI 48235‐1645
PRINCEL D CHANNEY               2113 S WASHINGTON AVE                                                                    LANSING          MI 48910
PRINCELLA MINOR                 1845 EASTERN AVE SE                                                                      GRAND RAPIDS     MI 49507‐2719
PRINCELLA SMITH                 3200 VICKSBURG ST                                                                        DETROIT          MI 48206‐2357
PRINCESS A TRAVIS               PO BOX 214216                                                                            AUBURN HILLS     MI 48321‐4216
PRINCESS ARMSTRONG              624 W MONROE ST                                                                          ALEXANDRIA       IN 46001‐1543
PRINCESS C BAKER                93 SEWARD ST APT 404                                                                     DETROIT          MI 48202‐4422
PRINCESS JOHNSON                3909 CRYSTAL ST                                                                          ANDERSON         IN 46012‐1109
PRINCESS LINDSAY                5501 CEDONIA AVE                                                                         BALTIMORE        MD 21206‐3852
PRINCESS MANNIE                 1605 JOY ST                                                                              SAGINAW          MI 48601‐6812
PRINCESS MEANS                  20335 VERNIER RD APT 4                                                                   HARPER WOODS     MI 48225‐1455
PRINCESS PARKER                 1921 N NOGALES AVE                                                                       TULSA            OK 74127‐2726
PRINCESS RILEY                  3673 HAWTHORNE ST                                                                        CLARKSTON        MI 48348‐1352
PRINCESS TOWNS                  2059 HIGHLAND AVE                                                                        COLLEGE HL       OH 45224‐1821
PRINCESS TRAVIS                 PO BOX 214216                                                                            AUBURN HILLS     MI 48321‐4216
PRINCETON AUTO CENTER, INC.     112 9TH AVE S CIRCLE                                                                     PRINCETON        MN 55371
PRINCETON AUTO CENTER, INC.     JOHN DAVIS                      112 9TH AVE S CIRCLE                                     PRINCETON        MN 55371
PRINCETON AUTO PLAZA            JAMES WILDERMAN                 PO BOX 367                                               PRINCETON        IN 47670‐0367
PRINCETON AUTO PLAZA, INC.      JAMES WILDERMAN                 PO BOX 367                                               PRINCETON        IN 47670‐0367
PRINCETON CARS
PRINCETON DISC                  1324 WYCKOFF ROAD                                                                        WALL TOWNSHIP   NJ   07753
PRINCETON ORTHOPEDIC            325 PRINCETON AVE                                                                        PRINCETON       NJ   08540‐1617
PRINCETON PIKE OFFICE PARK IV   3131 PRINCETON PIKE             BLDG 4 STE 209                                           LAWRENCEVILLE   NJ   08648‐2207
PRINCETON REVIEW                1123 W UNIVERSITY AVE                                                                    GAINESVILLE     FL   32601‐5111
PRINCETON REVIEW                23230 CHAGRIN BLVD              3 COMMERCE PARK SQUARE 215                               BEACHWOOD       OH   44122‐5449
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Name                            Address1                          Address2                       Address3           Address4         City            State Zip
PRINCETON REVIEW                1964 WESTWOOD BLVD STE 230                                                                           LOS ANGELES      CA 90025‐8404
PRINCETON REVIEW                410 HAMPTON AVE                                                                                      PITTSBURGH       PA 15221‐3307
PRINCETON REVIEW                896 SOUTH DIXIE HIGHWAY                                                                              CORAL GABLES     FL 33146
PRINCETON REVIEW                57 UNION ST STE 1                                                                                    NEWTON           MA 02459‐2224
PRINCETON REVIEW                1313 W LANE AVE STE A                                                                                COLUMBUS         OH 43221‐3546
PRINCETON REVIEW                4498 MAIN ST STE 2                                                                                   AMHERST          NY 14226‐3826
PRINCETON REVIEW                775 PARK AVE STE 132                                                                                 HUNTINGTON       NY 11743‐7509
PRINCETON REVIEW                125 THAYER ST                                                                                        PROVIDENCE        RI 02906
PRINCETON REVIEW                252 NASSAU STREET                                                                                    PRINCETON        NJ 08542
PRINCETON REVIEW                9666 OLIVE ST RD STE 140                                                                             SAINT LOUIS      MO 63132
PRINCETON REVIEW                1350 W 5TH AVE STE 131                                                                               COLUMBUS         OH 43212‐2907
PRINCETON REVIEW ANAHEIM        2151 MICHELSON DRIVE                                                                                 IRVINE           CA 92612
PRINCETON REVIEW DENVER         1515 WALNUT STREET                                                                                   BOULDER          CO 80302
PRINCETON REVIEW DETROIT        1220 S UNIVERSITY AVE STE 102                                                                        ANN ARBOR        MI 48104‐2571
PRINCETON REVIEW GREAT PLAINS   2847 N SHEFFIELD SUITE 120                                                                           CHICAGO           IL 60657
PRINCETON REVIEW LA             10474 SANTA MONICA BLVD STE 400                                                                      LOS ANGELES      CA 90025‐6932
PRINCETON REVIEW NORTHWEST      STE 150                           4555 ROOSEVELT WAY NORTHEAST                                       SEATTLE          WA 98105‐1735

PRINCETON REVIEW ONLINE         42 BROADWAY STE 1927                                                                                 NEW YORK        NY    10004‐3865
PRINCETON REVIEW STE 101        1232 E BROADWAY                                                                                      TEMPE           AZ    85282
PRINCETON REVIEW SUITE 120      817 W PEACHTREE ST NW             STE 550                                                            ATLANTA         GA    30308‐1147
PRINCETON ROBERTSON             18254 HARLOW ST                                                                                      DETROIT         MI    48235‐3271
PRINCETON UNIVERSITY            UNIVERSITY LOANS AND REC          NEW S                          P O BOX 35                          PRINCETON       NJ    08544‐0001
PRINCETON UNIVERSITY            UNDERGRADUATE FINANCIAL AID       PO BOX 591                     220 WEST COLLEGE                    PRINCETON       NJ    08542‐0591
PRINCETON UNIVERSITY
PRINCETON VAUGHANS              116 S MAPLE AVE                                                                                      OAK PARK         IL   60302
PRINCETONCARSCOM
PRINCEVALLI, CAROLYN A          107 CORAL LN                                                                                         LEVITTOWN       PA    19055‐1652
PRINCEVILLE AUTOMOTIVE          100 N. TOWN AVENUE                                                                                   PRINCEVILLE     IL    61559
PRINCING JR, DELMAR J           617 STACEY CT                                                                                        GLADWIN         MI    48624‐8436
PRINCING, DALE J                4369 UNDERHILL DR                                                                                    FLINT           MI    48506‐1505
PRINCING, DALE JAMES            4369 UNDERHILL DR                                                                                    FLINT           MI    48506‐1505
PRINCING, KIMBERLY S            507 N CALHOUN ST                                                                                     LAPEER          MI    48446‐2011
PRINCING, KIMBERLY SUE          507 N CALHOUN ST                                                                                     LAPEER          MI    48446‐2011
PRINCING, LOREN C               246 HAMILTON ST                                                                                      MOUNT MORRIS    MI    48458‐8933
PRINCING, LORIS A               PO BOX 3                                                                                             CRYSTAL FALLS   MI    49920‐0003
PRINCING, NANCY L               1255 SUNNYDALE ST                                                                                    BURTON          MI    48509
PRINCING, TERRY L               1255 SUNNYDALE ST                                                                                    BURTON          MI    48509‐1939
PRINCING, TERRY LEE             1255 SUNNYDALE ST                                                                                    BURTON          MI    48509‐1939
PRINCINSKY, ALFRED J            10737 PEET ROAD                                                                                      CHESANING       MI    48616‐9568
PRINCINSKY, CHARLES J           1517 CHESTNUT ST                                                                                     SAGINAW         MI    48602‐1825
PRINCINSKY, DANIEL L            11566 ARMSTRONG DR S                                                                                 SAGINAW         MI    48609‐9692
PRINCINSKY, JOHN R              122 STANFILL DR                                                                                      COLUMBIA        TN    38401‐6089
PRINCINSKY, SUSAN D             6266 LONGMEDOW BLVD. NORTH                                                                           SAGINAW         MI    48603
PRINCINSKY, SUSAN D             6266 LONGMEADOW BLVD N                                                                               SAGINAW         MI    48603‐4213
PRINCIPATO JR, JOSEPH           6149 S KOMENSKY AVE                                                                                  CHICAGO         IL    60629‐4611
PRINCIPE LORI                   PRINCIPE, LORI                    75 SALEM HILL ROAD                                                 HOWELL          NJ    07731‐2136
PRINCIPE LORI                   PRINCIPE, LORI                    62 BETHANY ROAD                                                    HOLMDEL         NJ    07733
PRINCIPE RONALD JR              PRINCIPE, RONALD                  62 BETHANY RD                                                      HOLMDEL         NJ    07733‐1444
PRINCIPE, LORI
PRINCIPE, LORI                  62 BETHANY RD                                                                                        HOLMDEL         NJ 07733‐1444
PRINCIPE, MELISSA R             1465 HOOKSETT RD UNIT 216                                                                            HOOKSETT        NH 03106‐1829
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Name                             Address1                          Address2                      Address3               Address4                 City            State Zip
PRINCIPE, MELISSA RENE           1465 HOOKSETT RD UNIT 216                                                                                       HOOKSETT         NH 03106‐1829
PRINCIPE, RONALD
PRINCIPI, CHERYL A               505 E OLD SHAKOPEE RD APT 205                                                                                   MINNEAPOLIS     MN   55420
PRINCIPI, GIAGINTO R             1931 DODGE DR NW                                                                                                WARREN          OH   44485‐1417
PRINCIPIA                        PO BOX 60119                                                                                                    SAINT LOUIS     MO   63160‐0119
PRINCIPLE MUTUAL LIFE INS CO     PRINCIPAL CAPITAL MANAGEMENT      5214 MARYLAND WAY STE 405     C/O MISSION PROPERTY                            BRENTWOOD       TN   37027‐5071
                                                                                                 COMPANY
PRINCIPLE PLASTICS CC            22 NEAVE INDUSTRIAL               7 BENNETT ST                                         PORT ELIZABETH ZA 6001
                                                                                                                        SOUTH AFRICA
PRINCIVALLI, MARIA               2620 DRESDEN DRIVE                                                                                              FLORISSANT      MO   63033‐1422
PRINCKO, STEPHEN T               20187 N HORSE TRAIL DR                                                                                          SURPRISE        AZ   85374‐4611
PRINDER MITCHELL                 20089 VAUGHAN ST                                                                                                DETROIT         MI   48219‐2003
PRINDIBLE, LAWRENCE R            912 VAN AVE                       APT 1611                                                                      DAPHNE          AL   36526
PRINDIBLE, LAWRENCE R            912 VAN AVE APT 1611                                                                                            DAPHNE          AL   36526
PRINDLE, ANNA C                  873 ESTHER N.W.                                                                                                 WARREN          OH   44483‐1242
PRINDLE, ANNA C                  873 ESTHER AVE NW                                                                                               WARREN          OH   44483‐1242
PRINDLE, BERNADINE O             1179 RICHWOOD ST SW                                                                                             WARREN          OH   44485‐4163
PRINDLE, BERNADINE O             1179 RICHWOOD AVE.                                                                                              WARREN          OH   44485‐4163
PRINDLE, DARLENE H               PO BOX 165                                                                                                      ROULETTE        PA   16746‐0165
PRINDLE, GEORGE T                22005 OCONNOR STREET                                                                                            ST CLR SHORES   MI   48080‐2045
PRINDLE, HARRY W                 27414 HALES ST                                                                                                  MADISON HTS     MI   48071‐3494
PRINDLE, MARCIA T                260 KEYSTONE DR                                                                                                 BRONSON         MI   49028‐9102
PRINDLE, MARJORIE A              PO BOX 413                                                                                                      LAKESIDE        MT   59922‐0413
PRINDLE, MARK W                  926 N CHILLICOTHE RD 379                                                                                        AURORA          OH   44202
PRINDLE, MARK W                  PO BOX 379                                                                                                      AURORA          OH   44202‐4202
PRINDLE, MONA A                  1801 E MILWAUKEE ST APT 202                                                                                     JANESVILLE      WI   53545‐2685
PRINDLE, RANDALL D               1574 GREENWOOD DR                                                                                               NORCROSS        GA   30093‐1447
PRINDLE, SARAH                   5408 LAWNDALE AVE                                                                                               HUDSONVILLE     MI   49426‐1234
PRINDLE, TERRY J                 5408 LAWNDALE AVE                                                                                               HUDSONVILLE     MI   49426‐1234
PRINDLE, WILLIAM D               6752 RR LANE 75                                                                                                 GARDEN          MI   49835
PRINE CLYDE (459263)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA   23510
                                                                   STREET, SUITE 600
PRINE WALTER SCOTT AND CHRISTI   PRINE, CHRISTI F                  111 PARK WEST DR                                                              SCOTT           LA   70583‐8902
PRINE WALTER SCOTT AND CHRISTI   PRINE, WALTER SCOTT               111 PARK WEST DR                                                              SCOTT           LA   70583‐8902
PRINE, ALICE                     PO BOX 414                                                                                                      SARDINIA        OH   45171‐0414
PRINE, BURRELL D                 836 GRANT CT                                                                                                    GREENWOOD       IN   46143‐9696
PRINE, CAROLYN K                 285 W 2ND ST                                                                                                    SEAMAN          OH   45679‐9592
PRINE, CAROLYN K                 285 W. SECOND STREET                                                                                            SEAMON          OH   45679‐9592
PRINE, CHRISTI F                 DALTON & ASSOCIATES LLC           111 PARK WEST DR                                                              SCOTT           LA   70583‐8902
PRINE, CLYDE                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA   23510‐2212
                                                                   STREET, SUITE 600
PRINE, CYNTHIA A                 383 HICKORY DR                                                                                                  TROY            MI   48083‐1621
PRINE, DANIEL A                  4333 PHEASANT DR                                                                                                FLINT           MI   48506‐1771
PRINE, ELDRED L                  404 W GEORGETOWN ST                                                                                             CRYSTAL SPGS    MS   39059‐2768
PRINE, GARY L                    8845 REED RD                                                                                                    NEW LOTHROP     MI   48460‐9702
PRINE, LOUIS                     8704 ADAMS RD                                                                                                   KEITHVILLE      LA   71047‐7167
PRINE, LOUIS                     8704 ADAMS ROAD                                                                                                 KEITHVILLE      LA   71047‐7167
PRINE, MELISSA K                 2510 NEW NATCHITOCHES RD                                                                                        WEST MONROE     LA   71292‐2121
PRINE, PENELOPE                  49137 TAYLOR ROAD                                                                                               NEGLEY          OH   44441
PRINE, PENELOPE F                49137 TAYLOR RD                                                                                                 NEGLEY          OH   44441‐9750
PRINE, RALPH E                   49137 TAYLOR RD                                                                                                 NEGLEY          OH   44441‐9750
PRINE, THOMAS E                  12104 LEATHERWOOD LN                                                                                            KNOXVILLE       TN   37934‐1517
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Name                        Address1                          Address2                      Address3   Address4                City                State Zip
PRINE, WALTER SCOTT         DALTON & ASSOCIATES LLC           111 PARK WEST DR                                                 SCOTT                LA 70583‐8902
PRING, ARNOLD L             422 S 10TH ST                                                                                      MIDDLETOWN           IN 47356‐9714
PRING, ELMER                4570 E STATE ROAD 236                                                                              MIDDLETOWN           IN 47356‐9207
PRING, MARTHA M             2668 E 900 S                                                                                       MARKLEVILLE          IN 46056‐9720
PRING, MONICA W             5006 FLETCHER ST                                                                                   ANDERSON             IN 46013‐4815
PRING, RANDY E              3884 S 450 E                                                                                       ANDERSON             IN 46017‐9706
PRING, RANDY EDWARD         3884 S 450 E                                                                                       ANDERSON             IN 46017‐9706
PRING, ROBERT H             24528 BARRETT RD                                                                                   OLMSTED FALLS        OH 44138‐1312
PRINGLE CHARLES             KENYON, AMANDA                    UNKNOWN
PRINGLE CHARLES             110 CLAIR DR NW APT E                                                                              NEW PHILADELPHIA    OH 44663‐1959
PRINGLE DEBORAH             26319 FISHERMANS RD                                                                                PAISLEY             FL 32767‐9415
PRINGLE EDWARD W (640587)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510
                                                              STREET, SUITE 600
PRINGLE I I, DONALD L       1660 N MILLER RD                                                                                   SAGINAW             MI   48609‐9531
PRINGLE III, DONALD L       PO BOX 6771                                                                                        SAGINAW             MI   48608‐6771
PRINGLE JR, CARL E          355 E GENESEE ST                                                                                   FRANKENMUTH         MI   48734‐1137
PRINGLE JR, GEORGE A        543 FRENCH RD                                                                                      ROCHESTER           NY   14618‐5368
PRINGLE JR, HERBERT         PO BOX 661                                                                                         LOBECO              SC   29931‐0661
PRINGLE JR, JOSEPH          502 OAKLAND AVE                                                                                    BALTIMORE           MD   21212‐4808
PRINGLE JR, SHANE D         16106 BLACKBERRY CREEK                                                                             BURTON              MI   48519‐1924
PRINGLE KIZZMETT            16856 HEYDEN ST                                                                                    DETROIT             MI   48219‐3366
PRINGLE, ALICE J            10253 LAPEER RD                                                                                    DAVISON             MI   48423‐8172
PRINGLE, ANDREW L           11210 SPROULE AVE                                                                                  PACOIMA             CA   91331‐1550
PRINGLE, ANN B              612 WILD APPLE RD                                                                                  SOUTH POMFRET       VT   05067‐9708
PRINGLE, ANNABELLE MAE      4261 GRANGE HALL RD LOT 9                                                                          HOLLY               MI   48442‐1161
PRINGLE, ARETIA Z           1023 N MORRISH RD                                                                                  FLINT               MI   48532‐2042
PRINGLE, ARETIA Z           1023 N MORRIS RD                                                                                   FLINT               MI   48532
PRINGLE, ARLESTER           1670 CALVERT                                                                                       DETROIT             MI   48206
PRINGLE, BRYAN F            11 CHATHAM ROAD                                                            ST. CATHARINES ON L2M
                                                                                                       4N7 CANADA
PRINGLE, BRYAN F            11 CHATHAM RD                                                              ST CATHARINES ONTARI
                                                                                                       CANADA L2M‐4N7
PRINGLE, CARMEN ROCHELLE    8224 BURKSHIRE CIR APT 203                                                                         SWARTZ CREEK        MI   48473‐1835
PRINGLE, CAROL A.           449 ADELAIDE PL                                                                                    N TONAWANDA         NY   14120‐1603
PRINGLE, CECELIA G          3358 TRENTSHIRE DR                                                                                 CANAL WINCHESTER    OH   43110‐9145
PRINGLE, CHARLES            103 CHARLES DR                                                                                     DOVER               OH   44622‐3159
PRINGLE, CHARLES E          PO BOX 74                                                                                          THOMPSONS STATION   TN   37179‐0074
PRINGLE, CHARLES R          4911 COVINGTON HOUSE DR                                                                            DAYTON              OH   45426
PRINGLE, DALE A             9600 BIRCH RUN RD                                                                                  MILLINGTON          MI   48746‐9549
PRINGLE, DALE E             10085 E LIPPINCOTT BLVD                                                                            DAVISON             MI   48423‐9151
PRINGLE, DALE EVAN          10085 EAST LIPPINCOTT BLVD                                                                         DAVISON             MI   48423‐9151
PRINGLE, DEBORA             3101 SAINT LOUIS ST                                                                                COLUMBIA            SC   29204‐1342
PRINGLE, DENNIS H           2901 THOMPSON RD                                                                                   LONGS               SC   29568‐7464
PRINGLE, DOLORES B          6360 VAN BUREN ST                                                                                  DETROIT             MI   48204‐3358
PRINGLE, DOROTHY B          4512 BILLINGS ST                                                                                   FLINT               MI   48505‐3526
PRINGLE, DOROTHY B          4512 BILLINGS                                                                                      FLINT               MI   48505‐3526
PRINGLE, EARNEST            3 LEAH LN                                                                                          NORTH CHILI         NY   14514‐9745
PRINGLE, EDDIE              115 E 3RD ST                      ST. GEORGE HOTEL                                                 LOS ANGELES         CA   90013‐1301
PRINGLE, EDWARD W           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA   23510‐2212
                                                              STREET, SUITE 600
PRINGLE, ERIC L             8097 LAUDER STREET                                                                                 DETROIT             MI 48228‐2417
PRINGLE, ERNEST R           3358 TRENTSHIRE DR                                                                                 CANAL WINCHESTER    OH 43110‐9145
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Name                    Address1                        Address2              Address3         Address4         City            State Zip
PRINGLE, ERROL P        508 RUXTON DR                                                                           WILMINGTON       DE 19809‐2830
PRINGLE, EUGENE E       1545 VERMONT ST                                                                         SAGINAW          MI 48602‐1741
PRINGLE, FLORA M        764 LOMITA                                                                              FLINT            MI 48505‐3539
PRINGLE, FLORA M        764 LOMITA AVE                                                                          FLINT            MI 48505‐3539
PRINGLE, FRANCES        909 BELL ST                                                                             HATTIESBURG      MS 39401‐7728
PRINGLE, FRED N         4157 W HORSESHOE DR                                                                     BEVERLY HILLS    FL 34465‐2951
PRINGLE, FREDERICK S    9434 KLEINWAY DR                                                                        FOWLERVILLE      MI 48836‐9779
PRINGLE, GABRIELLE A    420 OAKMONT CIR SE                                                                      MARIETTA         GA 30067‐4820
PRINGLE, GEORGE W       112 S BLUE RIDGE PKWY                                                                   CEDAR PARK       TX 78613‐3028
PRINGLE, GLORIA F       18440 LORI LN                                                                           GREGORY          MI 48137‐9447
PRINGLE, HELGA D        41919 MAROLD DR                                                                         STERLING HTS     MI 48314‐4141
PRINGLE, HESIKIAH       2813 TODKILL TRCE                                                                       EDGEWOOD         MD 21040‐3430
PRINGLE, ILLA I.        47 SADDLE CREEK DR.                                                                     ATTICA           MI 48412‐9103
PRINGLE, JACQUELINE M   23285 W LE BOST                                                                         NOVI             MI 48375‐3412
PRINGLE, JAMES E        521 MORGAN RD                                                                           RAVENNA          OH 44266‐1457
PRINGLE, JAMES L        8790 OAKLAND RD                                                                         OAKLAND          AR 72661‐9028
PRINGLE, JAMES M        1608 HARVEST LN                                                                         YPSILANTI        MI 48198‐3318
PRINGLE, JOE            PORTER & MALOUF PA              4670 MCWILLIE DR                                        JACKSON          MS 39206‐5621
PRINGLE, JOHN R         PO BOX 363                                                                              LAKEMONT         GA 30552‐0007
PRINGLE, JULIA          3221 FULTON                                                                             SAGINAW          MI 48601‐3115
PRINGLE, JULIA          3221 FULTON ST                                                                          SAGINAW          MI 48601‐3115
PRINGLE, KATRINA
PRINGLE, LANCE          879 BARREN OAKS DR                                                                      PONTIAC         MI   48341‐2369
PRINGLE, LARRY E        6479 LONE PEAK WAY                                                                      LAS VEGAS       NV   89156‐7504
PRINGLE, LILLIAN E      10201 S BRAY RD                                                                         CLIO            MI   48420‐7712
PRINGLE, LLOYD B        190 CALDWELL ST                                                                         APOPKA          FL   32712‐3502
PRINGLE, LOUIS          534 RASCAL XING                                                                         O FALLON        MO   63366‐4459
PRINGLE, LU ANN M       2598 S MERIDIAN RD                                                                      YOUNGSTOWN      OH   44511‐2004
PRINGLE, MARIA W        312 NORTH AVE                                                                           N TONAWANDA     NY   14120‐1722
PRINGLE, MARJORIE A     916 VISTA PLACE                                                                         LENOIR          NC   28645‐4546
PRINGLE, MARJORIE A     916 VISTA PL NE                                                                         LENOIR          NC   28645‐4546
PRINGLE, MARLIN         1393 COPLEY MEADOWS DR                                                                  COPLEY          OH   44321‐2305
PRINGLE, MICHELLE       1211 W COMMERCE ST                                                                      LEWISBURG       TN   37091‐3125
PRINGLE, MILDRED        2027 HIGHLAND ST                                                                        DETROIT         MI   48206‐3603
PRINGLE, MILDRED        2027 HIGHLAND                                                                           DETROIT         MI   48206‐3603
PRINGLE, MORRIS W       861 5TH AVE                                                                             AKRON           OH   44306‐1449
PRINGLE, NANCY M        2311 S OAK RD                                                                           DAVISON         MI   48423‐9144
PRINGLE, OPAL M         2322 OLD BEAVER RD                                                                      KAWKAWLIN       MI   48631‐9192
PRINGLE, PAUL A         8454 BALDWIN RD                                                                         GAINES          MI   48436‐9720
PRINGLE, PAUL J         291 ESTELLE CT                                                                          HEMLOCK         MI   48626‐9305
PRINGLE, PAUL W         8354 WEDDEL ST                                                                          TAYLOR          MI   48180‐2914
PRINGLE, RALPH E        8301 PORTLAND RD                                                                        CASTALIA        OH   44824‐9768
PRINGLE, RICHARD        245 W COLUMBIA AVE                                                                      PONTIAC         MI   48340‐1815
PRINGLE, RICHARD H      320 GLENDOLA AVE NW                                                                     WARREN          OH   44483‐1249
PRINGLE, ROBERT D       154 E 1287TH RD                                                                         BALDWIN CITY    KS   66006‐7164
PRINGLE, ROBERT E       4085 N BELSAY RD                                                                        FLINT           MI   48506‐1631
PRINGLE, ROBERT J       283 APPLE ST                                                                            WESTLAND        MI   48186‐6842
PRINGLE, ROBERT W       516 IDEAL ST                                                                            MILAN           MI   48160‐1415
PRINGLE, ROXANNE        1369 LAPEER RD                                                                          FLINT           MI   48503‐2715
PRINGLE, STANLEY R      2921 DUPONT STREET                                                                      FLINT           MI   48504‐2818
PRINGLE, THELBERT L     26930 FLORENCE ST                                                                       INKSTER         MI   48141‐2508
PRINGLE, TIMOTHY        1211 W COMMERCE ST                                                                      LEWISBURG       TN   37091‐3125
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PRINGLE, WEALTHA L             195454 N. DUNLAP RD.                                                                           DENNISON               IL 62423‐2621
PRINGLE, WEALTHA L             11350 E BURT RD                                                                                BIRCH RUN             MI 48415‐9317
PRINGLE, WILLIAM J             1046 PASSOLT ST                                                                                SAGINAW               MI 48602‐2942
PRINGLE, WILLIAM W             312 NORTH AVE                                                                                  NORTH TONAWANDA       NY 14120‐1722
PRINGLE, WILMA L               3509 NIPOMO AVENUE                                                                             LONG BEACH            CA 90808‐3042
PRINGNITZ, LARRY A             394 SUNBURST CIR                                                                               OAKLAND               MI 48363‐1349
PRINGNITZ, MICHELLE            5375 FERGUS RD                                                                                 SAINT CHARLES         MI 48655‐9695
PRINISKI, DIANNE C             524 BURROUGHS AVE                                                                              FLINT                 MI 48507‐2713
PRINKEY JR, JOHN W             3269 NE HOLLY CREEK DR                                                                         JENSEN BEACH          FL 34957‐4743
PRINKEY, GEORGE W              2416 HAMMOND PL                                                                                WILMINGTON            DE 19808‐4209
PRINKEY, JOHN R                3086 STARLITE DRIVE NW                                                                         WARREN                OH 44485‐4485
PRINKLETON, FELIX R            3783 E 151ST ST                                                                                CLEVELAND             OH 44128‐1105
PRINS, FRANCES                 1305 BLOOMFIELD ST APT 43                                                                      HOBOKEN               NJ 07030‐5538
PRINS, SCOTT D                 749 MOUNT OLIVET RD                                                                            COLUMBIA              TN 38401‐6745
PRINSLOW, LAURA P              1156 RINCON DEL MUNDO                                                                          ESCONDIDO             CA 92029‐7206
PRINT WORKS                    1210 CULVER RD                                                                                 ROCHESTER             NY 14609‐5454
PRINT WORKS PLUS               1210 CULVER RD                                                                                 ROCHESTER             NY 14609‐5454
PRINTA COLOR SA DE CV          CENTENO NO 4 C                  COL GRANJAS ESMERALDA                  ESMERALDA DF 09810
                                                                                                      MEXICO
PRINTA COLOR SA DE CV          CENTENO NO. 4‐C                                                        CIUDAD DE MEXICO 9810
                                                                                                      MEXICO
PRINTER SOLUTIONS PLUS         21612 BROADWAY ST                                                                              SAINT CLAIR SHORES   MI   48080‐1483
PRINTICE H MINIX               BOX 101                                                                                        PHILLIPSBURG         OH   45354‐0101
PRINTICE MINIX                 PO BOX 101                                                                                     PHILLIPSBURG         OH   45354‐0101
PRINTING BY KENDALL & CO       5320 CORUNNA RD                                                                                FLINT                MI   48532‐4013
PRINTING CONCEPTS              ATTN: RUDY RIE                  59 W HURON ST                                                  PONTIAC              MI   48342‐2102
PRINTING HOUSE LTD, THE
PRINTING TECH ONE              440 BURROUGHS ST                                                                               DETROIT              MI   48202‐3429
PRINTIS GROCE                  8137 OLD GLASGOW RD                                                                            MOUNT HERMON         KY   42157‐8004
PRINTIS HATFIELD               2282 S 1600 E                                                                                  SILVER LAKE          IN   46982‐8506
PRINTIS MEADOWS JR             1770 CITADEL DR APT 101                                                                        KANSAS CITY          MO   64110‐3541
PRINTISS, CARRIE L             2525 ALVARADO DR                                                                               KETTERING            OH   45420‐1011
PRINTISS, JOSHUA R             2525 ALVARADO DR                                                                               KETTERING            OH   45420‐1011
PRINTRONIX INC                 14600 MYFORD RD                 PO BOX 19559                                                   IRVINE               CA   92606‐1005
PRINTUP JR, ROY S              1230 WINDY CREEK DR                                                                            WATKINSVILLE         GA   30677‐1965
PRINTUP, CURTIS B              42 NONA DR                                                                                     DAYTON               OH   45426
PRINTUP, EDDIE H               105 SILVER SPRINGS DR                                                                          FAYETTEVILLE         GA   30214‐7212
PRINTUP, EDDIE J               4340 HARVARD RD                                                                                DETROIT              MI   48224‐2346
PRINTUP, HORACE                1570 SIGMAN RD NW                                                                              CONYERS              GA   30012‐3926
PRINTUP, LEVESTER              819 CARRIAGE HILL LN                                                                           HAMILTON             OH   45013‐3812
PRINTUP, LINDA M               378 STATE ROUTE 37 APT 11                                                                      HOGANSBURG           NY   13655‐2152
PRINTUP, MARY R                27070 BRADFORD CIRCLE                                                                          SOUTHFIELD           MI   48076‐3168
PRINTUP, RICHARD L             830 TARRSON BOULEVARD                                                                          LADY LAKE            FL   32159‐2365
PRINTUP, SCOTT P               4585 LAPEER RD                                                                                 COLUMBIAVILLE        MI   48421‐9600
PRINTWELL ACQUISITION CO INC   26975 NORTHLINE RD                                                                             TAYLOR               MI   48180‐4408
PRINTWELL INC                  26975 NORTHLINE RD                                                                             TAYLOR               MI   48180‐4408
PRINTY, HENRY H                1306 TYLER ST                                                                                  SANDUSKY             OH   44870‐3153
PRINTZ JR, RICHARD A           6592 TRIPP RD                                                                                  HOLLY                MI   48442‐9744
PRINTZ, JAN G                  3879 CHERRY ST                                                                                 CLARKSTON            MI   48348‐1417
PRINTZ, JOHN A                 5570 HACKMAN RD                                                                                MUSSEY               MI   48014‐1400
PRINTZ, MARTIN A               1848 NAZARETH RD                                                                               LEXINGTON            SC   29073‐8545
PRINTZ, NADINE                 6592 TRIPP RD                                                                                  HOLLY                MI   48442‐9744
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PRINZ WITTE GMBH                   SIMMERNER STR 7                                                       STROMBERG DE 55442
                                                                                                         GERMANY
PRINZ, SUSAN                       3528 BYRD STREET                                                                           DEARBORN          MI 48124‐4172
PRINZEN'S AUTO SERVICE LTD.        352 RITSON RD N                                                       OSHAWA ON L1G 5R1
                                                                                                         CANADA
PRINZI, BARBARA D                  PO BOX 152                                                                                 BELLAIRE          MI   49615‐0152
PRINZI, CHARLES D                  715 N BEERS ST               BAYSHORE HEALTHCARE CENTER                                    HOLMDEL           NJ   07733‐1503
PRINZI, FRANK J                    50 AMES AVE                                                                                TONAWANDA         NY   14150‐8206
PRIOLA, JAMES L                    4919 SHELBYVILLE RD                                                                        INDIANAPOLIS      IN   46237‐1916
PRIOLA, JOSEPH M                   416 BREAKSPEAR RD                                                                          SYRACUSE          NY   13219‐2316
PRIOLEAU, WILLIE J                 20067 AVON AVE                                                                             DETROIT           MI   48219‐1524
PRIOLISI ROBERTO                   VIA ANTONIO MORDINI 14
PRIOR AVIATION SERVICE INC         INTERNATIONAL AIRPORT                                                                      BUFFALO          NY    14225
PRIOR JR, ROY L                    108 DIVISION ST                                                                            EATON RAPIDS     MI    48827‐1016
PRIOR MD, RICHARD W                16381 OAK HILL DRIVE                                                                       FENTON           MI    48430‐9091
PRIOR, BETTY R                     16305 KENWAY CT                                                                            SPRING HILL      FL    34610‐4307
PRIOR, CHARLES J                   123 LAKEVIEW DR                                                                            CROSSVILLE       TN    38558‐7045
PRIOR, EARL R                      12228 CLARENCE CENTER RD                                                                   AKRON            NY    14001‐9334
PRIOR, FRANCES C                   41120 FOX RUN RD. #307                                                                     NOVI             MI    48377
PRIOR, GAIL                        116 WHITECAP ST                                                                            PISMO BEACH      CA    93449‐2816
PRIOR, GREGORY P                   551 OAKLAND AVE                                                                            BIRMINGHAM       MI    48009‐5752
PRIOR, IVAH                        378 LAIRD ST                                                                               MOUNT MORRIS     MI    48458‐8940
PRIOR, JAN G                       4490 MARYKRIS LN                                                                           TRAVERSE CITY    MI    49684‐7054
PRIOR, JOYCE                       13557 GENESEE STREET                                                                       CRITTENDEN       NY    14038
PRIOR, MARTIN G                    2680 S ARBOR DR                                                                            MARIETTA         GA    30066‐2270
PRIOR, MARTIN G                    4524 TUJUNGA AVE APT 1                                                                     N HOLLYWOOD      CA    91602‐2040
PRIOR, MICHAEL L                   4025 RICHMARK LN                                                                           BAY CITY         MI    48706
PRIOR, MILTON                      3501 WOODWARD AVE APT 1002                                                                 DETROIT          MI    48201‐2439
PRIOR, RENEE T                     305 REGENCY CREST CT SW                                                                    ATLANTA          GA    30331‐2061
PRIOR, ROBERT A                    761 S TOURMALINE CT                                                                        ANAHEIM          CA    92807‐4885
PRIOR, SHANE A                     5869 OAKLAND VALLEY DR                                                                     ROCHESTER        MI    48306‐2849
PRIOR, SHERI A                     350 WALL ST                                                                                VENTURA          CA    93001
PRIOR, SYLVIA L                    2402 HILLROSE PL                                                                           OXNARD           CA    93036‐1566
PRIOR, TERRIE L                    110 1/2 S MAIN ST            APT 3                                                         EATON RAPIDS     MI    48827‐1068
PRIOR, THERESA M                   551 OAKLAND AVE                                                                            BIRMINGHAM       MI    48009‐5752
PRIORE, ANTHONY J                  2090 SOUTHERS CIR                                                                          SUWANEE          GA    30024‐5491
PRIORE, EDWARD T                   6225 POSSUM RUN RD                                                                         DAYTON           OH    45440‐4031
PRIORE, PATRICIA                   PO BOX 301                                                                                 MAYSVILLE        GA    30558‐0301
PRIORE, PATRICIA L                 2090 SOUTHERS CIR                                                                          SUWANEE          GA    30024‐5491
PRIORE, PATRICIA L C               2090 SOUTHERS CIR                                                                          SUWANEE          GA    30024‐5491
PRIORI, MARY P                     82 ROUTE 31 NORTH                                                                          PENNINGTON       NJ    08534‐3606
PRIORITY 1 AUTOMOTIVE SERVICES     3819 UNIVERSITY AVE                                                                        WATERLOO         IA    50701‐5645
PRIORITY 1 MUFFLER & BRAKE SHOPS   1607 LAPORTE RD                                                                            WATERLOO         IA    50702‐2715
PRIORITY CHEVROLET                 1495 S MILITARY HWY                                                                        CHESAPEAKE       VA    23320‐2603
PRIORITY COMMUNITY CU              25123 SOUTHFIELD RD                                                                        SOUTHFIELD       MI    48075‐1903
PRIORITY CONTAINER SERVICES        7414 CLAYTON ST                                                                            DETROIT          MI    48210‐2752
PRIORITY DISPATCH CORP             139 E SOUTH TEMPLE STE 500                                                                 SALT LAKE CITY   UT    84111‐1160
PRIORITY DISPATCH INC              TOM SHUTRUMP                 4665 MALSBARY RD                                              CINCINNATI       OH    45242‐5632
PRIORITY DISPATCH INC              ATTN: RICHARD THOMAS         4204 E RIVER RD # 6                                           MORAINE          OH    45439‐1459
PRIORITY EXPEDITED TRUCKING INC    4665 MALSBARY RD                                                                           CINCINNATI       OH    45242‐5632
PRIORITY EXPRESS LP                6016 N COUNTY ROAD 760 E                                                                   SEYMOUR          IN    47274‐8935
PRIORITY FREIGHT SYSTEMS INC       1270 HILBISH AVE             PO BOX 7098                                                   AKRON            OH    44312‐3831
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Name                           Address1                         Address2                 Address3                  Address4         City               State Zip
PRIORITY HEALTH                DEPT 127801                      PO BOX 67000                                                        DETROIT             MI 48267‐1278
PRIORITY HEALTH                PO BOX 64220                                                                                         DETROIT             MI 48264‐0220
PRIORITY HEALTH                34605 W 12 MILE RD               MERCY HEALTH PLANS                                                  FARMINGTON HILLS    MI 48331‐3263
PRIORITY HEALTH                1231 E BELTLINE AVE NE                                                                               GRAND RAPIDS        MI 49525‐4501
PRIORITY HEALTH                JEFFREY HOERLE                   1231 E BELTLINE AVE NE                                              GRAND RAPIDS        MI 49525‐4501
PRIORITY HEALTH                LYNNE FRANCHI                    34605 W 12 MILE RD                                                  FARMINGTON HILLS    MI 48331‐3263
PRIORITY HOME FUNDING          ATTN: GREG EMLET                 3303 W SAGINAW ST                                                   LANSING             MI 48917‐2303
PRIORITY MANAGEMENT RABB AND   5740 SOUTH                       875 EAST                                                            ZIONSVILLE          IN 46077
ASSOCIATES
PRIORITY NETWORKS INC          5795 BADURA AVE                  STE 110                                                             LAS VEGAS          NV   89118‐4724
PRIORITY ONE                   2310 S GREEN BAY RD STE C                                                                            RACINE             WI   53406‐4954
PRIORITY ONE LOCKOUT SVC LLC   ATTN: JOHN UMFLEET               11844 CAMDEN ST                                                     LIVONIA            MI   48150‐2340
PRIORITY PRINTING              1323 E MAIN ST                                                                                       FLUSHING           MI   48433‐2243
PRIORITY SUPPLY INC            5220 BELDING RD                                                                                      WALKER             MI   49544
PRIORITY SUPPLY INC            2430 TURNER AVE NW STE C                                                                             GRAND RAPIDS       MI   49544‐2005
PRISA HOTELS LLC               HOTEL MONACO SALT LAKE CITY      15 W 200 S                                                          SALT LAKE CITY     UT   84101‐1604
PRISAZNUK, VICTOR              340 SCHOELLES RD                                                                                     AMHERST            NY   14228‐1443
PRISBE, ROBERT Z               3476 YARNEY RD                                                                                       WATERFORD          MI   48329‐2780
PRISBY, DORIS R                8420 DURST COLEBROOK RD.                                                                             N. BLOOMFIELD      OH   44450‐9749
PRISBY, HELEN G                32105 SAINT VINCENT AVENUE                                                                           WARREN             MI   48092‐1177
PRISBY, JOAN M                 8279 ASHTON CT                                                                                       WASHINGTON TWP     MI   48094‐1585
PRISBY, MARK E                 70245 LOWE PLANK RD                                                                                  RICHMOND           MI   48062‐5348
PRISBY, RAYMOND R              2954 KARL ST                                                                                         YOUNGSTOWN         OH   44505‐4132
PRISBY, RICHARD D              803 N. RIVER RD. N.W.                                                                                WARREN             OH   44483‐2134
PRISBY, RICHARD D              803 N RIVER RD NW                                                                                    WARREN             OH   44483‐2134
PRISBY, STEVE                  8279 ASHTON CT                                                                                       WASHINGTON TWP     MI   48094‐1585
PRISBY, THOMAS                 3636 WEDGEWOOD DR                                                                                    LAPEER             MI   48446‐2997
PRISCELLA JONES                25300 LINDENWOOD LN                                                                                  SOUTHFIELD         MI   48033‐6107
PRISCELLA R JONES              25300 LINDENWOOD LN                                                                                  SOUTHFIELD         MI   48033‐6107
PRISCELLIA A BRADY             2404 MAANDERLY TRIAL                                                                                 FRANKLYN           TN   37069‐1888
PRISCHAK TRUSTS                C\O TECNICA DEVELOPMENT CORP     1480 S SHORE DR          ADD CHNG 10/19/04 ONEIL                    ERIE               PA   16505‐2524
PRISCILLA D LACOUR             11218 NE 91ST STREET                                                                                 KIRKLAND           WA   98033
PRISCILLA A MERIDY             1421 MAPLE ST                                                                                        WARREN             OH   44485‐3733
PRISCILLA A MILLER             207 S G ST                                                                                           TILTON             IL   61833‐7817
PRISCILLA A ROBERTS            1 BENNETT LN UNIT A                                                                                  NORWALK            OH   44857
PRISCILLA A ROMERO             11712 MOLTR ROAD                                                                                     KINGSVILLE         MD   21087
PRISCILLA ARCHANGEL            45961 TOURNAMENT DR                                                                                  NORTHVILLE         MI   48168‐9633
PRISCILLA B IHLE JOHNSON       740 HAYMARKET RD                                                                                     W JEFFERSON        OH   43162‐9715
PRISCILLA BAER                 536 N STATE ST                                                                                       MARION             OH   43302‐2375
PRISCILLA BAKER                PO BOX 858                                                                                           MOUNT VERNON       KY   40456‐0858
PRISCILLA BEASLEY              6924 ROCKFIELD RD                                                                                    WINDSOR MILL       MD   21244‐8035
PRISCILLA BELL‐SAVAGE          7061 HILLSIDE DR                                                                                     WEST BLOOMFIELD    MI   48322‐2844
PRISCILLA BEYER                1210 ADAMS ST                                                                                        LAPEER             MI   48446‐1305
PRISCILLA BLAKEMAN             7980 WALTERS DR                                                                                      LAINGSBURG         MI   48848‐8794
PRISCILLA BLEVINS              1424 WOOD RIVER BLVD                                                                                 BEAVERCREEK        OH   45434‐6554
PRISCILLA BOCHENEK             6810 STUDEBAKER ROAD                                                                                 TIPP CITY          OH   45371‐8507
PRISCILLA BRANDT               4 PIKE CT                                                                                            NORTHPORT          NY   11768‐3211
PRISCILLA BRIDGES              16143 DALE ST                                                                                        DETROIT            MI   48219‐3716
PRISCILLA BROWN                577 CEDARHURST AVE                                                                                   DAYTON             OH   45402‐5511
PRISCILLA BURKE                1464 SWEET GUM DR S                                                                                  BROWNSBURG         IN   46112‐2006
PRISCILLA C FARRIS             101 GREELY LANE                                                                                      YOUNGSTOWN         OH   44505‐4821
PRISCILLA C GILES              2 SPINDRIFT CIR APT P                                                                                PARKVILLE          MD   21234‐2343
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Name                     Address1                       Address2                Address3         Address4         City               State Zip
PRISCILLA C KELLY        2117 CREW HOOD RD.                                                                       GIRARD              OH 44420‐1312
PRISCILLA CADE           1127 DAKOTA ST                                                                           DANVILLE             IL 61832‐3226
PRISCILLA CARTER         PO BOX 33                                                                                CARROLLTON          MI 48724‐0033
PRISCILLA CLEMENS
PRISCILLA CORNWELL       36 BRENTWOOD DR                                                                          ASHEVILLE          NC   28806‐2175
PRISCILLA D DIXON        1156 BRISTOW COVE RD.                                                                    BOAZ               AL   35956‐7313
PRISCILLA DAVIS          1519 RHETT DR                                                                            ANDERSON           IN   46013‐2881
PRISCILLA DILLINGHAM     2501 MARIPOSA LN                                                                         HARLINGEN          TX   78550‐7849
PRISCILLA DURHAM         333 STROLL LN                                                                            SUN CITY CENTER    FL   33573‐6267
PRISCILLA EATON          55 RED OAK HILL RD                                                                       FARMINGTON         CT   06032‐2201
PRISCILLA FARRIS         101 GREELEY LN                                                                           YOUNGSTOWN         OH   44505‐4821
PRISCILLA FLOREZ         8933 GARDENDALE ST APT 2                                                                 DOWNEY             CA   90242‐4551
PRISCILLA FUQUA          10 VICTOR PL                                                                             IRVINGTON          NJ   07111‐4611
PRISCILLA GARNER         26363 SCHERER AVE APT B                                                                  ARCADIA            IN   46030‐9202
PRISCILLA GIBAS          5874 E 900 N                                                                             FAIR OAKS          IN   47943‐8027
PRISCILLA GILES          APT P                          2 SPINDRIFT CIRCLE                                        PARKVILLE          MD   21234‐2343
PRISCILLA GLOVER         11281 DICE RD                                                                            FREELAND           MI   48623‐9278
PRISCILLA GOLD           10754 KINGSTON AVE                                                                       HUNTINGTON WOODS   MI   48070‐1116
PRISCILLA GONZALEZ       2382 E 27TH ST                                                                           OAKLAND            CA   94601‐1331
PRISCILLA GREEN          10715 BEACON AVE                                                                         KANSAS CITY        MO   64134‐2546
PRISCILLA GUDGER         PO BOX 3033                                                                              MUNCIE             IN   47307‐1033
PRISCILLA GULASKEY       143 ARROW DR                                                                             ELIZABETH          PA   15037‐2601
PRISCILLA GUTIERREZ      5072 ROSSWAY DR                                                                          FLINT              MI   48506‐1528
PRISCILLA HAMILTON       769 W SUNSET DR APT 3                                                                    MILTON             WI   53563‐1061
PRISCILLA HARRIS         424 CYNTHIA DR                                                                           FLUSHING           MI   48433‐2104
PRISCILLA HATCHETT       1400 ROBERTA DR SW APT 3101                                                              MARIETTA           GA   30008
PRISCILLA HAWKINS        4639 PRESCOTT AVE                                                                        DAYTON             OH   45406‐2441
PRISCILLA HEATH          5578 NANTUCKET RD                                                                        TROTWOOD           OH   45426‐1406
PRISCILLA HEIDT          4472 W GARRISON RD                                                                       OWOSSO             MI   48867‐9268
PRISCILLA HELLMUTH       51428 SILVER BELL DR                                                                     MACOMB             MI   48042‐4348
PRISCILLA HINTON         15041 MARK TWAIN ST                                                                      DETROIT            MI   48227‐2917
PRISCILLA HOLLOWAY       2521 SALEM AVE                                                                           DAYTON             OH   45406‐2930
PRISCILLA HUNT           PO BOX 1527                                                                              HEREFORD           AZ   85615‐1527
PRISCILLA HUSEREAU       25 OTTAWA DR                                                                             PONTIAC            MI   48341‐1631
PRISCILLA IHLE JOHNSON   740 HAYMARKET RD                                                                         W JEFFERSON        OH   43162‐9715
PRISCILLA J HOLLOWAY     2521 SALEM AVE                                                                           DAYTON             OH   45406‐2930
PRISCILLA J WILLIAMS     408 JOPPA FARM RD                                                                        JOPPA              MD   21085‐4625
PRISCILLA K HATCHETT     2818 CREST RIDGE WAY                                                                     MARIETTA           GA   30060
PRISCILLA K HATCHETT     1400 ROBERTA DR SW APT 3101                                                              MARIETTA           GA   30008‐3402
PRISCILLA KANIA          1688 E WHITEFEATHER RD                                                                   PINCONNING         MI   48650‐8416
PRISCILLA KELLER         1807 DORAL DR                                                                            FAIRFIELD          OH   45014‐4759
PRISCILLA KELLY          2117 CREW HOOD RD                                                                        GIRARD             OH   44420‐1312
PRISCILLA KIEFER         3270 N RANGELINE RD                                                                      HUNTINGTON         IN   46750‐9023
PRISCILLA KING           2449 TRAYMORE RD                                                                         UNIVERSITY HT      OH   44118‐4454
PRISCILLA KLOS           1655 HEATHER                                                                             MILFORD            MI   48381‐2733
PRISCILLA L ADKINS       7750 STOCKHOLM DRIVE                                                                     HUBER HEIGHTS      OH   45424
PRISCILLA L LONG         14525 PEACE BLVD                                                                         SPRING HILL        FL   34610‐3325
PRISCILLA L MARSHALL     372 PERRY STREET                                                                         NEW LEBANON        OH   45345
PRISCILLA L REITLER      1412 CENTER AVE                APT F                                                     BAY CITY           MI   48708‐6174
PRISCILLA L SMITH        1310 SHERWOOD FOREST DR                                                                  W CARROLLTON       OH   45449
PRISCILLA LACOUR         11218 NE 91 STREET                                                                       KIRKLAND           WA   98033
PRISCILLA LAW            4702 ALLEGAN RD                                                                          VERMONTVILLE       MI   49096‐9725
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Name                        Address1                          Address2                       Address3            Address4         City               State Zip
PRISCILLA LAW               19200 AVENUE OF THE OAKS UNIT A                                                                       NEWHALL             CA 91321‐4871
PRISCILLA LERCHE            1720 OAKHILL RD                                                                                       KOKOMO              IN 46902‐3149
PRISCILLA LONG              14525 PEACE BLVD                                                                                      SPRING HILL         FL 34610‐3325
PRISCILLA LUCAS             3321 NORTHWEST BLVD NORTHWEST                                                                         WARREN              OH 44485‐2241
PRISCILLA M ARDEN           2842 CRONE RD.                                                                                        XENIA               OH 45385‐6617
PRISCILLA M KELLEY          4021 ROLAND CIRCLE                                                                                    DAYTON              OH 45406‐3541
PRISCILLA MCCOMAS           4526 VETTELSON RD                                                                                     HARTLAND            WI 53029‐9369
PRISCILLA MCINTOSH          328 MILL SPGS                                                                                         FILLMORE            IN 46128‐9386
PRISCILLA MCISAAC           61 NORFOLK RD                                                                                         TORRINGTON          CT 06790‐2717
PRISCILLA MEAD TRUSTEE      HUDSON MEAD IRREVOCABLE TRUST     FBO TAYLOR MEAD U/A 12/20/99   8 STRATFORD PLACE                    GROSSE PT           MI 48230‐1907
PRISCILLA MERULLO           2141 RIDGE RD S LOT 22                                                                                LARGO               FL 33778‐1615
PRISCILLA MESSINGER         1900 CLINTON AVE S                C/O LIFESPAN                                                        ROCHESTER           NY 14618‐5620
PRISCILLA MILLER            207 S G ST                                                                                            TILTON               IL 61833‐7817
PRISCILLA MUSLIN            412 BIRMINGHAM AVE                                                                                    CAROLINA BEACH      NC 28428‐5215
PRISCILLA NEDZA             45 W 29TH ST                                                                                          BAYONNE             NJ 07002‐3809
PRISCILLA NEEDLE            6540 LAKESHORE ST                                                                                     W BLOOMFIELD        MI 48323‐1429
PRISCILLA PAGANO            278 S MAIN ST                                                                                         WALLINGFORD         CT 06492‐4601
PRISCILLA PARSELL           6971 CANYON DR                                                                                        ROMULUS             MI 48174‐5013
PRISCILLA PAUPORE           1220 S MAIN ST                                                                                        FORT ATKINSON       WI 53538‐9307
PRISCILLA PEEK              PO BOX 14045                                                                                          DETROIT             MI 48214‐0045
PRISCILLA PRICE             8202 BLACKBERRY CREEK                                                                                 BURTON              MI 48519‐1948
PRISCILLA PUGH              9738 BENNINGTON DR                                                                                    CINCINNATI          OH 45241‐3616
PRISCILLA R GUDGER          PO BOX 3033                                                                                           MUNCIE              IN 47307‐1033
PRISCILLA ROLLINS           11334 LITTLEFIELD ST                                                                                  DETROIT             MI 48227‐3438
PRISCILLA ROMERO            11712 MOLTR ROAD                                                                                      KINGSVILLE          MD 21087
PRISCILLA ROOKS             2451 SEYBURN ST                                                                                       DETROIT             MI 48214‐1752
PRISCILLA SANCHEZ           11046 CHARLESWORTH RD                                                                                 SANTA FE SPGS       CA 90670‐2700
PRISCILLA SAUNDERS          4586 BERQUIST DR                                                                                      TROTWOOD            OH 45426‐1804
PRISCILLA SENSKA‐WILLIAMS   PO BOX 254                                                                                            BRIDGEPORT          NY 13030‐0254
PRISCILLA SHAW              2412 BETA LN                                                                                          FLINT               MI 48506‐1839
PRISCILLA SHEARER           2477 S VASSAR RD                                                                                      DAVISON             MI 48423‐2338
PRISCILLA SHIVOK            414 N WEST KNIGHTS AVE 712                                                                            LAKE CITY           FL 32055
PRISCILLA SHOVER            1709 WALSH AVE                                                                                        COLUMBUS            OH 43223‐1829
PRISCILLA SILLS             540 W WINDSOR ST                                                                                      MONTPELIER          IN 47359‐1060
PRISCILLA SLEIGH            1304 TERRACE DR                                                                                       DEFIANCE            OH 43512‐3045
PRISCILLA SMITH             1310 SHERWOOD FOREST DR                                                                               W CARROLLTON        OH 45449‐2250
PRISCILLA SOBECK            17132 MORAN ST                                                                                        DETROIT             MI 48212‐1147
PRISCILLA STOKOE            122 MAPLE ST APT 3                                                                                    MIO                 MI 48647‐9447
PRISCILLA STRENG            1448 WASHINGTON ST                                                                                    RENO                NV 89503
PRISCILLA SWARTSTROM        5409 DURWOOD DR                                                                                       SWARTZ CREEK        MI 48473‐1166
PRISCILLA TAYLOR            335 NORTHWEST 6TH STREET                                                                              WILLISTON           FL 32696‐1615
PRISCILLA THOMAS            245 E MANHATTAN BLVD                                                                                  TOLEDO              OH 43608‐1169
PRISCILLA TURNER            5119 N JENNINGS RD                                                                                    FLINT               MI 48504‐1115
PRISCILLA W NORTON          748 VIRGINIA DR NW                                                                                    WARREN              OH 44483
PRISCILLA WEBB              634 HAYS LODGE RD                                                                                     SMITHS GROVE        KY 42171‐9123
PRISCILLA WILLIAMS          813 ATHENS ST                                                                                         SAGINAW             MI 48601‐1416
PRISCILLA WILLIAMS          41283 WYNDCHASE BLVD                                                                                  CANTON              MI 48188‐1996
PRISCILLA WILLIAMS          408 JOPPA FARM RD                                                                                     JOPPA               MD 21085‐4625
PRISCILLA WISE              21464 PARKLANE ST                                                                                     FARMINGTON HILLS    MI 48335‐4218
PRISCILLA WOLFE             560 W LIBERTY ST                                                                                      OAKLAND             MD 21550‐5508
PRISCILLA WORSHAM           1143 LATHROP ST                                                                                       LANSING             MI 48912‐2421
PRISCILLA WRIGHT            6301 HILLCROFT DR                                                                                     FLINT               MI 48505‐5732
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Name                                 Address1                         Address2                        Address3        Address4         City             State Zip
PRISCILLA WYNN                       1037 12TH ST                                                                                      OROVILLE          CA 95965‐4303
PRISCILLA YOUNG                      216 DRIFTWOOD DR                                                                                  SEDALIA           MO 65301‐6810
PRISCILLA Z LUCAS                    3321 NORTHWEST BLVD NW                                                                            WARREN            OH 44485‐2241
PRISCILLA'S                          ATTN: SUE BARNDT                 3205 W SAGINAW ST                                                LANSING           MI 48917‐5300
PRISCO DE SANTIS                     161 BURDICK AVE                                                                                   SYRACUSE          NY 13208‐1703
PRISCO JR., LOUIS R                  3227 E MILWAUKEE ST                                                                               JANESVILLE        WI 53546‐1633
PRISE, WILLIAM F                     430 ANDREA AVE                                                                                    LINDEN            MI 48451‐8562
PRISER, BRUCE W                      1024 E TUPPER LAKE RD                                                                             LAKE ODESSA       MI 48849‐9534
PRISER‐TODD, DIANA                   1719 VINEWOOD AVE                                                                                 THE VILLAGES      FL 32162‐3232
PRISER‐TODD, DIANA A                 1277 TIMBERWOOD CT                                                                                ANDERSON          IN 46012‐9728
PRISK, BERT C                        9498 BAYWOOD DRIVE                                                                                PLYMOUTH          MI 48170‐3918
PRISK, RICHARD T                     4683 CREEK RD                                                                                     LEWISTON          NY 14092‐1150
PRISLOE, JOHN                        140 EL TORO DR                                                                                    BRISTOL           CT 06010‐8926
PRISM MEDIA GROUP                    1830 LAKEWAY DR.                                                                                  LEWISVILLE        TX 75057
PRISM PARTNERS LLC                   C\O TWENTY FIRST PROP INC        2121 S COLUMBIA AVE STE 650                                      TULSA             OK 74114‐3506
PRISM PHYSICAL THERA                 1245 WHITEHORSE MERCERVILLE RC                                                                    HAMILTON          NJ 08619
PRISM PLASTICS LC                    2040 INTERNATIONAL WAY                                                                            PORT HURON        MI 48060‐7471
PRISM PLASTICS LLC                   2040 INTERNATIONAL WAY                                                                            PORT HURON        MI 48060‐7471
PRISM TECH CORPORATION
PRISM TRUCKING INC                   PO BOX 400287                                                                                     PITTSBURGH       PA   15268‐0287
PRISOCK, WILLIS F                    3700 READING RD APT 603                                                                           CINCINNATI       OH   45229
PRISTAS, ELIZABETH                   254 CHERRY ST                                                                                     WHITAKER         PA   15120‐2355
PRISTAS, ELIZABETH                   254 CHERRY STREET                                                                                 WHITAKER         PA   15120‐2355
PRISTELL DOGANS                      1015 W CARPENTER RD                                                                               FLINT            MI   48505‐1039
PRISTIA, ANNA R                      251 PLEASANT AVENUE                                                                               HAMBURG          NY   14075‐4831
PRISTINE FACILITY TRUST FUND         ACCT 12‐9734 S BLACKSTONE        STAR BANK NA MAIL LO 5125       425 WALNUT ST                    CINCINNATI       OH   45202
PRISTINE FACILITY TRUST FUND         C/O US BANK NATIONAL ASSOC       425 WALNUT STREET                                                CINCINNATI       OH   45202
PRISTINE FACILITY TRUST FUND TRUST   425 WALNUT ST                                                                                     CINCINNATI       OH   45202
PRISTOOP, BETTY J                    1259 BIRCH AVE                                                                                    BALTIMORE        MD   21227‐2622
PRITAM GILL                          9100 COREY CT                                                                                     PLYMOUTH         MI   48170‐3888
PRITCH, NORIS R                      100 PAWNEE TRL                                                                                    PRUDENVILLE      MI   48651‐9726
PRITCH, NORIS ROBERT                 100 PAWNEE TRL                                                                                    PRUDENVILLE      MI   48651‐9726
PRITCH, NORRIS & ELMITA              4625 MILTON                                                                                       FLINT            MI   48557‐0001
PRITCHARD                            PO BOX 63214                                                                                      CHARLOTTE        NC   28263‐3214
PRITCHARD AND KAY                    MICHAEL KAY, ESQ.                255 N MARKET ST STE 190                                          SAN JOSE         CA   95110‐2457
PRITCHARD CAROL                      1907 W 23RD ST                                                                                    RIVIERA BEACH    FL   33404‐1810
PRITCHARD CLYDE B                    PO BOX 250677                                                                                     FRANKLIN         MI   48025‐0677
PRITCHARD DEBORAH                    PRITCHARD, DEBORAH               30 E BUTLER AVE                                                  AMBLER           PA   19002‐4514
PRITCHARD DONALD (447083)            KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                    CLEVELAND        OH   44114
                                                                      BOND COURT BUILDING
PRITCHARD DYER                       531 REAGAN VALLEY RD             P.O.BOX 33                                                       TELLICO PLAINS   TN   37385‐4937
PRITCHARD HEIDI L                    1236 CATALINA DRIVE                                                                               MONROEVILLE      PA   15146‐4402
PRITCHARD JERRY D SR (451371)        SIMMONS FIRM                     PO BOX 559                                                       WOOD RIVER       IL   62095‐0559
PRITCHARD JR, ARTHUR E               462 FIRETOWER RD                                                                                  ELIZABETH CITY   NC   27909‐9586
PRITCHARD JR, PERRY J                5635 ABBOTTS BRIDGE RD                                                                            DULUTH           GA   30097‐8419
PRITCHARD JR, WILLIAM A              1250 EASTVIEW DRIVE                                                                               SALEM            OH   44460‐1228
PRITCHARD LORI                       45 FROST LN                                                                                       CORNWALL         NY   12518‐1305
PRITCHARD RALPH                      306 S MARKET ST                                                                                   ROCKVILLE        IN   47872‐1753
PRITCHARD ROBERT LEE                 C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                              LITTLE ROCK      AR   72201
PRITCHARD ROBIN                      3226 BANBERRY DR                                                                                  STATESVILLE      NC   28625
PRITCHARD SAMUEL (447084)            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD       OH   44067
                                                                      PROFESSIONAL BLDG
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Name                       Address1                        Address2                       Address3   Address4              City               State Zip
PRITCHARD SUSAN            PRITCHARD, SUSAN                501 S RANCHO DRIVE STE D 22                                     LAS VEGAS           NV 89106
PRITCHARD, AARON E         321 OLD ACWORTH RD                                                                              DALLAS              GA 30132‐3808
PRITCHARD, ALTON R         4545 ELMBANK AVE                                                                                SAINT LOUIS         MO 63115‐2306
PRITCHARD, ALVAH F         3023 DEMOONEY RD                                                                                COLLEGE PARK        GA 30349‐1127
PRITCHARD, ANNAMARIE       YOUNG & NICHOLS LAW FIRM        PO BOX 2347                                                     BAKERSFIELD         CA 93303‐2347
PRITCHARD, ARLENE E        PO BOX 57                       124 PARK ST BOX 57                                              LINWOOD             KS 66052‐0057
PRITCHARD, BARBARA F       4311 ROYALTON CENTER ROAD                                                                       GASPORT             NY 14067
PRITCHARD, BERNICE         12315 BURGESS AVE APT 222                                                                       WHITTIER            CA 90604‐3073
PRITCHARD, BETTY           284 BARKLEY PL E                                                                                WHITEHALL           OH 43213
PRITCHARD, BOBBY W         5020 VALLEYWOOD DR                                                                              LEWISTON            MI 49756‐8988
PRITCHARD, BOBBY WAANE     8344 N CLIO RD                                                                                  MOUNT MORRIS        MI 48458‐8202
PRITCHARD, BRIAN D         27 NICHOLAS DR S                                                                                TONAWANDA           NY 14150‐6109
PRITCHARD, CARLOTTA J      836 34 ST NW ROOM 333                                                                           CANTON              OH 44709
PRITCHARD, CHARLES         10674 W COUNTY LINE RD                                                                          NEWAYGO             MI 49337‐9307
PRITCHARD, CHARLES         10674 W COUNTYLINE RD                                                                           NEWAYGO             MI 49337‐9307
PRITCHARD, DANIEL L        5484 POOLBEG ST                                                                                 CANAL WINCHESTER    OH 43110
PRITCHARD, DAVID A         649 DRESDEN PL                                                            WINDSOR ONTARIO
                                                                                                     CANADA N8N‐4B7
PRITCHARD, DAVID A         7180 SAINT URSULA DR                                                                            CANFIELD           OH 44406
PRITCHARD, DAVID A         649 DRESDEN PLACE                                                         TECUMSEH ON N8N 4B7
                                                                                                     CANADA
PRITCHARD, DAVID D         2644 MCCLEW RD                                                                                  BURT               NY   14028‐9740
PRITCHARD, DAVID W         PO BOX 9022                     C/O SHANGHAI                                                    WARREN             MI   48090‐9022
PRITCHARD, DEBORAH         KIMMEL & SILVERMAN              30 E BUTLER AVE                                                 AMBLER             PA   19002‐4514
PRITCHARD, DONALD          KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                    CLEVELAND          OH   44114
                                                           BOND COURT BUILDING
PRITCHARD, DONALD R        4719 WESTWOOD AVE                                                                               FREMONT            CA   94536‐6658
PRITCHARD, ELAINE A        279 HOLLY LN                                                                                    BELLEVILLE         MI   48111‐1758
PRITCHARD, ELAINE ANN      279 HOLLY LANE                                                                                  BELLEVILLE         MI   48111‐1758
PRITCHARD, ERNEST A        APT 4D                          31605 WEST 83RD CIRCLE                                          DE SOTO            KS   66018‐7021
PRITCHARD, FRANK           633 S SHORE DR BOX 10                                                                           WALLOON LAKE       MI   49796
PRITCHARD, FRANKLIN K      4918 SILER CITY GLENDON RD                                                                      BEAR CREEK         NC   27207
PRITCHARD, FRED A          6225 NEBO ROAD                                                                                  HIRAM              GA   30141‐4236
PRITCHARD, GARY E          1915 INDEPENDENCE CT                                                                            ROCHESTER HILLS    MI   48306‐2910
PRITCHARD, GEORGE W        10639 RIDGE RD                                                                                  MEDINA             NY   14103‐9406
PRITCHARD, GLENN C         13850 GRAND RIVER R                                                                             EAGLE              MI   48822
PRITCHARD, HERSHAL L       2601 PEWANAGA PL                                                                                FLINT              MI   48507‐1841
PRITCHARD, JACK E          8874 TAMI ST                                                                                    SEMINOLE           FL   33772‐3413
PRITCHARD, JACK L          5492 W RIVER RD                                                                                 MANISTIQUE         MI   49854
PRITCHARD, JACQUELINE A    2601 PEWANAGA PL                                                                                FLINT              MI   48507‐1841
PRITCHARD, JAMES R         124 HILLSIDE CT                                                                                 JANESVILLE         WI   53545
PRITCHARD, JAMES S         10905 PITTMAN RD                                                                                SHREVEPORT         LA   71129‐9796
PRITCHARD, JAMES STEPHEN   10905 PITTMAN RD                                                                                SHREVEPORT         LA   71129‐9796
PRITCHARD, JEANETTE E      124 HILLSIDE CT                                                                                 JANESVILLE         WI   53545‐4342
PRITCHARD, JEFFREY J       25843 MULBERRY LN                                                                               NOVI               MI   48374‐2349
PRITCHARD, JERRY D         SIMMONS FIRM                    PO BOX 559                                                      WOOD RIVER         IL   62095‐0559
PRITCHARD, JOANNE M        25843 MULBERRY LN                                                                               NOVI               MI   48374‐2349
PRITCHARD, JOEL L          1228 E HORSESHOE CT                                                                             ROCHESTER HILLS    MI   48306‐4148
PRITCHARD, JOEL LEE        1228 E HORSESHOE CT                                                                             ROCHESTER HILLS    MI   48306‐4148
PRITCHARD, JOHN            18536 PLAINVIEW AVENUE                                                                          DETROIT            MI   48219‐2898
PRITCHARD, JOHN T          PO BOX 85                                                                                       DICKSON            TN   37056‐0085
PRITCHARD, LEONA           480 LANCASTER PIKE #57                                                                          CIRCLEVILLE        OH   43113‐9281
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Name                           Address1                          Address2                          Address3                    Address4         City               State Zip
PRITCHARD, LEONETTA            244 OUTLOOK AVE                                                                                                  YOUNGSTOWN          OH 44504‐1847
PRITCHARD, LOIS                2028 KELLY BRIDGE RD                                                                                             DAWSONVILLE         GA 30534‐5110
PRITCHARD, LORI A              8365 RIVER TERRACE DR                                                                                            FRANKLIN            WI 53132
PRITCHARD, MARGIE              114 PINECREST CIRCLE                                                                                             DALLAS              GA 30132‐4011
PRITCHARD, MONTY E             15873 HIGHLAND CENTER RD                                                                                         DEFIANCE            OH 43512‐8976
PRITCHARD, NELLIE G            2300 VALE DR                                                                                                     DAYTON              OH 45420‐3539
PRITCHARD, ODELLA V            3352 N HAMMOCK DUNES VILLAGE PT                                                                                  LECANTO             FL 34461‐6462
PRITCHARD, ODELLA V            3362 N HAMMOCK DUNES VILG PT P                                                                                   LECANTO             FL 34461‐8462
PRITCHARD, OPAL                202 VANCE LN                                                                                                     WEATHERFORD         TX 76088‐4414
PRITCHARD, OPAL                202 VANCE RD                                                                                                     WEATHERFORD         TX 76088‐4414
PRITCHARD, PATRICIA B          3281 A EAGLES LOFT                                                                                               CORTLAND            OH 44410‐9284
PRITCHARD, PATRICIA B          3281 EAGLES LOFT UNIT A                                                                                          CORTLAND            OH 44410‐9284
PRITCHARD, PAUL T              2920 SUMMERWOOD CIR                                                                                              BIRMINGHAM          AL 35242‐4146
PRITCHARD, PHILIP R            1263 CARRIAGE DR                                                                                                 DAYTONA BEACH       FL 32119‐1534
PRITCHARD, PHYLLIS D           3107 SARANAC DRIVE                                                                                               SHARPSVILLE         PA 16150‐3823
PRITCHARD, ROBERT              2231 S FERRIS RD                                                                                                 SUMNER              MI 48889‐9712
PRITCHARD, ROBERT D            127 E LAKE DR                                                                                                    ANTIOCH             CA 94509‐2043
PRITCHARD, ROBERT G            3409 MARTIN RD                                                                                                   CLINTON             NY 13323‐3814
PRITCHARD, ROBERT J            32840 NORWOOD DR                                                                                                 WARREN              MI 48092‐3278
PRITCHARD, ROBERT LEE          MOODY EDWARD O                    801 W 4TH ST                                                                   LITTLE ROCK         AR 72201‐2107
PRITCHARD, ROBERTA S           2744 ORCHARD ST                                                                                                  NEWFANE             NY 14108‐1214
PRITCHARD, ROCHELLE            223 2ND ST                                                                                                       TRENTON             NJ 08611‐2205
PRITCHARD, ROGER L             246 SOUTH MAIN STREET                                                                                            ALBION              NY 14411‐1645
PRITCHARD, SANDRA E            3892 GLENWOOD BEACH DR                                                                                           BOYNE CITY          MI 49712‐9313
PRITCHARD, SHIRLEY ANN         13108 SAINT JAMES DR                                                                                             CONYERS             GA 30094
PRITCHARD, STEVEN G            12860 CULVER DR                                                                                                  SHELBY TOWNSHIP     MI 48315‐5230
PRITCHARD, SUSAN               3633 BROAD LEEWAY                                                                                                N LAS VEGAS         NV 89032
PRITCHARD, SUSAN               C/O CHRISTENSEN LAW               ATTN: THOMAS CHRISTENSEN, ESQ.    1000 S. VALLEY VIEW BLVD.                    LAS VEGAS           NV 89107

PRITCHARD, THERESA P           6164 KINGSBURY ST                                                                                                DEARBORN HTS       MI   48127‐3129
PRITCHARD, THOMAS E            11620 PLYMOUTH WOODS DR                                                                                          LIVONIA            MI   48150‐4504
PRITCHARD, THOMAS P            2425 N EAST DR                                                                                                   TAWAS CITY         MI   48763
PRITCHARD, TOMMY E             220 WOODLAWN TER                                                                                                 BLACKSHEAR         GA   31516‐2738
PRITCHARD, VALERIE J           17160 WARRIOR DR                                                                                                 HOWARD CITY        MI   49329‐9161
PRITCHARD, WAYNE N             42288 FULTON CT                                                                                                  STERLING HEIGHTS   MI   48313‐2630
PRITCHARD, WILLIAM H           1880 HARLAN RD                                                                                                   WAYNESVILLE        OH   45068‐8760
PRITCHARD, WILLIAM J           4322 TYDL DR                                                                                                     JANESVILLE         WI   53546‐2115
PRITCHARD, WILLIAM L           325 BRAXMAR RD                                                                                                   TONAWANDA          NY   14150‐8224
PRITCHARD‐BRUNSON, BARBARA T   114 KAWONU LN                                                                                                    LOUDON             TN   37774‐2909
PRITCHARDS OF NORTHWOOD        1109 8TH ST N                                                                                                    NORTHWOOD          IA   50459‐1029
PRITCHARDS OF NORTHWOOD        JOSEPH PRITCHARD                  1109 8TH ST N                                                                  NORTHWOOD          IA   50459‐1029
PRITCHETT JOHN                 7001 WILL ROGERS BLVD                                                                                            FORT WORTH         TX   76140‐6011
PRITCHETT JR, CHARLES W        7714 RIPARIAN CT                                                                                                 FREDERICKSBURG     VA   22408‐8804
PRITCHETT JR, JIMMIE L         1417 LAPEER AVE                                                                                                  SAGINAW            MI   48601‐1739
PRITCHETT JR, JOHNNY C         3305 LYNN DR                                                                                                     INDIAN RIVER       MI   49749‐9208
PRITCHETT JR, JOHNNY C         4584 LANAI DR                                                                                                    INDIAN RIVER       MI   49749
PRITCHETT JR, ROBERT           4130 LAMSON ST                                                                                                   SAGINAW            MI   48601‐4173
PRITCHETT JR, WILLIE A         967 SULLIVANS TRCE                                                                                               MONTGOMERY         AL   36105‐3680
PRITCHETT LARRY                PRITCHETT, LARRY                  9047 FLOWER ST                                                                 BELLFLOWER         CA   90706‐5605
PRITCHETT MADERIA              3011 S EDSEL ST                                                                                                  DETROIT            MI   48217‐2404
PRITCHETT NOBLE (657769)       COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                                CHICAGO            IL   60602
                                                                 FLOOR
                              09-50026-mg             Doc 7123-32        Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
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Name                          Address1                          Address2                      Address3   Address4         City              State Zip
PRITCHETT ROBERT              1005 SARA DR                                                                                WINONA LAKE        IN 46590‐2055
PRITCHETT ROBERT A (494110)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                STREET, SUITE 600
PRITCHETT, ANGELO B           PO BOX 980743                                                                               YPSILANTI         MI   48198‐0743
PRITCHETT, ANGELO BERNARD     PO BOX 980743                                                                               YPSILANTI         MI   48198‐0743
PRITCHETT, BARBARA J          3011 S EDSEL ST                                                                             DETROIT           MI   48217‐2404
PRITCHETT, BENNIE L           524 S 17TH ST                                                                               SAGINAW           MI   48601‐2058
PRITCHETT, BETTY J            31118 S TOWER RD                                                                            GOETZVILLE        MI   49738‐9315
PRITCHETT, BILLIE D           6137 KENWORTHY CT                                                                           FLINT             MI   48532‐5322
PRITCHETT, BILLIE DARNETTE    6137 KENWORTHY CT                                                                           FLINT             MI   48532‐5322
PRITCHETT, BILLY J            42891 COLORADO DR                                                                           CLINTON TWP       MI   48036‐1477
PRITCHETT, BOBBY G            1122 BURLINGTON DR                                                                          FLINT             MI   48503‐2935
PRITCHETT, BOBBY G            293 TINGLE RD                                                                               JACKSON           GA   30233‐5936
PRITCHETT, BRENDA             1037 N 8TH ST                                                                               SAGINAW           MI   48601‐1125
PRITCHETT, BRINDA S           125 CRISCOE RD                                                                              UNION GROVE       AL   35175‐5101
PRITCHETT, BURTIS R           330 SHEFFIELD DR                                                                            ROSCOMMON         MI   48653‐8544
PRITCHETT, CARL L             1930 VAUGHN RD                                                                              NATIONAL CITY     MI   48748‐9640
PRITCHETT, CARL M             8315 EXTON RD                                                                               INDIANAPOLIS      IN   46239‐8884
PRITCHETT, CARY T             3965 E JOAN LN                                                                              INVERNESS         FL   34453‐0472
PRITCHETT, CHARLES            19362 KEATING ST                                                                            DETROIT           MI   48203‐1635
PRITCHETT, CHARLES E          419 STONEWALL DR                                                                            EULESS            TX   76039‐7510
PRITCHETT, CLEATHAS           9609 STRATHMOOR ST                                                                          DETROIT           MI   48227‐2714
PRITCHETT, DAVID              43 E SHADYSIDE DR                                                                           DAYTON            OH   45405‐3038
PRITCHETT, DAVID C            5909 W HILLCREST DR                                                                         FRANKTON          IN   46044‐9483
PRITCHETT, DOICE J            1300 SAGE GREEN CT                                                                          HENDERSON         NV   89012‐4848
PRITCHETT, DONALD R           524 PRITCHETT DR                                                                            UNION GROVE       AL   35175‐7405
PRITCHETT, DOROTHY            4789 HESS RD                                                                                SAGINAW           MI   48601‐6924
PRITCHETT, ELBERT             19243 SUNSET ST                                                                             DETROIT           MI   48234‐2083
PRITCHETT, ELBERT F           16672 EQUITY RD                   RT. 5                                                     SPRINGDALE        AR   72764‐9235
PRITCHETT, GEORGE L           1125 KUEHNLE ST                                                                             ANN ARBOR         MI   48103‐2618
PRITCHETT, GEORGE M           3727 RIDGE DR                                                                               JANESVILLE        WI   53548‐5836
PRITCHETT, HAROLD W           PO BOX 108                        506 YALE                                                  FARMINGTON        MO   63640‐0108
PRITCHETT, HENRY G            4789 HESS RD                                                                                SAGINAW           MI   48601‐6924
PRITCHETT, HENRY GRADY        4789 HESS RD                                                                                SAGINAW           MI   48601‐6924
PRITCHETT, JAMES              45 DONALDSON RD                                                                             BUFFALO           NY   14208‐1540
PRITCHETT, JAMES E            308 W MCKEE ST                                                                              DESLOGE           MO   63601‐3414
PRITCHETT, JAMES H            220 THALIA AVE                                                                              ROCHESTER HILLS   MI   48307‐1146
PRITCHETT, JOAN V             11465 BUCKHORN LAKE ROAD                                                                    HOLLY             MI   48442‐8509
PRITCHETT, JOHN               HENNING LAW FIRM PC               1044 MAIN ST STE 500                                      KANSAS CITY       MO   64105‐2124
PRITCHETT, JOHN               LAKIN LAW FIRM                    PO BOX 27                                                 WOOD RIVER        IL   62095‐0027
PRITCHETT, JOHN               WENDLER & EZRA                    850 VANDALIA ST STE 310                                   COLLINSVILLE      IL   62234‐4068
PRITCHETT, JOHN R             2615 S DURAND RD                                                                            LENNON            MI   48449‐9719
PRITCHETT, JOHNNY J           20235 AVON AVE                                                                              DETROIT           MI   48219‐1525
PRITCHETT, KATHRYN F          1160 TRIBUTARY WAY                                                                          DACULA            GA   30019‐6602
PRITCHETT, KEVIN L            1654 ASCENSION BLUFF DR APT 239                                                             ARLINGTON         TX   76006‐4271
PRITCHETT, LARRY K            449 S 400 E 400S                                                                            ANDERSON          IN   46017
PRITCHETT, LEON               1037 N 8TH ST                                                                               SAGINAW           MI   48601‐1125
PRITCHETT, LULA M             967 SULLIVANS TRACE                                                                         MONTGOMERY        AL   36105‐3680
PRITCHETT, LULA M             PO BOX 14774                                                                                SAGINAW           MI   48601
PRITCHETT, MADERIA R          3011 S EDSEL ST                                                                             DETROIT           MI   48217‐2404
PRITCHETT, MARY L             4 FOREST PL                                                                                 MASSENA           NY   13662‐1419
PRITCHETT, MAX J              2108 WILLOW SPRINGS RD                                                                      KOKOMO            IN   46902‐7801
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Name                        Address1                         Address2                         Address3   Address4         City              State Zip
PRITCHETT, MELVIN J         19374 WHITCOMB ST                                                                             DETROIT            MI 48235‐2057
PRITCHETT, MICHAEL A        PO BOX 978                                                                                    BEDFORD            IN 47421‐0978
PRITCHETT, MICHAEL L        15257 TEMAN MILL RD                                                                           BEAVERDAM          VA 23015‐1354
PRITCHETT, MICHAEL L.W.     15257 TEMAN MILL RD                                                                           BEAVERDAM          VA 23015‐1354
PRITCHETT, NANCY M          23812 CARRIAGE HILL CT                                                                        SOUTHFIELD         MI 48075‐3662
PRITCHETT, NOBLE            COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                               CHICAGO             IL 60602
                                                             FLOOR
PRITCHETT, PATRICK D        2280 MAUL RIDGE RD                                                                            BEDFORD           IN   47421‐8525
PRITCHETT, PAULA J          8329 GREENLAWN ST                                                                             DETROIT           MI   48204‐3277
PRITCHETT, PHYLLIS L        8507 CHURCH LN                                                                                RANDALLSTOWN      MD   21133‐4804
PRITCHETT, RACHEL           PO BOX 105                                                                                    QULIN             MO   63961‐0105
PRITCHETT, ROBERT A         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
PRITCHETT, ROBERT L         1353 BIELBY ST                                                                                WATERFORD         MI 48328‐1307
PRITCHETT, ROXIE
PRITCHETT, RUBY V           202046 PLASA DR                                                                               BEDFORD           IN   47421
PRITCHETT, RUBY V           202046 PLAZA DR                                                                               BEDFORD           IN   47421‐3555
PRITCHETT, RUTH M           9397 LAWRENCE HWY                                                                             VERMONTVILLE      MI   49096‐9514
PRITCHETT, SARAH FRANCES    520 VANIMAN AVE                                                                               TROTWOOD          OH   45426‐2555
PRITCHETT, TELISA
PRITCHETT, TERRY E          62823 TOURNAMENT DR                                                                           WASHINGTN TWP     MI   48094‐1564
PRITCHETT, WILLIAM B        611 CLEVELAND AVE                                                                             LINCOLN PARK      MI   48146‐2841
PRITCHETT, WILLIAM H        3498 HIGH FALLS RD                                                                            JACKSON           GA   30233‐5801
PRITCHETT, WILLIAM J        1239 FREEHOME RD                                                                              CANTON            GA   30115‐4876
PRITI SARKAR                4470 BROOKSTONE DR                                                                            SAGINAW           MI   48603‐8640
PRITI SHAH                  19060 STARLING CT                                                                             MACOMB            MI   48044‐1226
PRITI SINGH                 1152 CARRIE CT                                                                                ROCHESTER HILLS   MI   48309‐3766
PRITSINEVELOS, CYNTHIA M    81 FRANKLIN AVENUE                                                                            LYNBROOK          NY   11563‐1238
PRITT JR, ARTIE P           9188 RAVENNA RD                                                                               CHARDON           OH   44024‐9140
PRITT JR, BERMAN E          RR 2 BOX 16‐1D                                                                                SANDYVILLE        WV   25275‐9705
PRITT JR, BERMAN E          RR 2 BOX 161D                                                                                 SANDYVILLE        WV   25275
PRITT JR, BERMAN ELSWORTH   RR 2 BOX 16‐1D                                                                                SANDYVILLE        WV   25275‐9705
PRITT JR, JOSEPH W          3510 WININGS AVE                                                                              INDIANAPOLIS      IN   46221‐2278
PRITT JR, JOSEPH WOODROW    3510 WININGS AVE                                                                              INDIANAPOLIS      IN   46221‐2278
PRITT ROY W (626722)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                             STREET, SUITE 600
PRITT, ARNOLD L             6891 N BALTIMORE RD                                                                           MONROVIA          IN   46157‐9000
PRITT, BERT E               2141 TUNNEL HILL RD                                                                           MILLBORO          VA   24460‐3040
PRITT, BRENDA J.            5521 COLUMBUS AVE                                                                             SANDUSKY          OH   44870‐9701
PRITT, BRENDA J.            5521 S COLUMBUS AVE                                                                           SANDUSKY          OH   44870‐9701
PRITT, BURLEY E             PO BOX 27                                                                                     WATERPORT         NY   14571‐0027
PRITT, CHESTER W            APT 204                          575 LAKESHORE CIRCLE                                         AUBURN HILLS      MI   48326‐4514
PRITT, EMMA                 10700 MILL RD                                                                                 LYNDONVILLE       NY   14098‐9720
PRITT, EVANELL F            2141 TUNNEL HILL RD                                                                           MILLBORO          VA   24460‐3040
PRITT, GLENN S              1901 MASON RD W                                                                               MILAN             OH   44846‐9510
PRITT, JAMES A              9 IMMACULATA                     C/O VIRGINIA MCNAMARA                                        ELVERSON          PA   19520‐9462
PRITT, LEANORA              6292 TWAIN ST                    UNIT 103                                                     ORLANDO           FL   32835‐2457
PRITT, ORVILLE L            3290 TUMWATER VALLEY DR                                                                       PICKERINGTON      OH   43147‐9831
PRITT, ROBERT E             22564 MONTEREY DR                                                                             WOODHAVEN         MI   48183‐2240
PRITT, ROBERT K             320 CLAIBORNE RD                                                                              PASADENA          MD   21122‐5211
PRITT, ROY W                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
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Name                                 Address1                           Address2                      Address3   Address4                  City            State Zip
PRITT, WAYNE P                       34151 PARKVIEW AVE                                                                                    EUSTIS           FL 32736‐7230
PRITTIE, CALVIN J                    1501 NEUBERT AVE                                                                                      FLINT            MI 48507‐1528
PRITTIE, CALVIN JAMES                1501 NEUBERT AVE                                                                                      FLINT            MI 48507‐1528
PRITTS, HARRY C                      6354 BOOTH RD                                                                                         RAVENNA          OH 44266‐9238
PRITTS, HARRY J                      4884 NEW MILFRED RD                                                                                   RAVENNA          OH 44266
PRITTS, RALPH R                      13407 VISCHER RD                                                                                      BROOKLYN         MI 49230‐9025
PRITTS, VELMA J                      60 LESTER AVE APT 147                                                                                 NASHVILLE        TN 37210‐4270
PRITULA, IRENE C                     618 IRONWOOD DR                                                                                       ANN ARBOR        MI 48103‐2602
PRITULA, MARTIN E                    15135 REO AVE                                                                                         ALLEN PARK       MI 48101‐3057
PRITZ GAIL                           27 SNOWBERRY LN                                                                                       ISLANDIA         NY 11749‐1610
PRITZ JR, CHARLES                    7715 ANDERSON AVE NE                                                                                  WARREN           OH 44484‐1526
PRITZ PETER J JR                     2434 ROSEMORE AVE                                                                                     GLENSIDE         PA 19038‐3514
PRITZ, BRENDA L                      7715 ANDERSON AVE NE                                                                                  WARREN           OH 44484‐1526
PRITZL, ROCHELLE A                   3105 S JOHNSON RD                                                                                     NEW BERLIN       WI 53146‐2427
PRITZLAFF, ELAINE M                  1560 FROMM DR                                                                                         SAGINAW          MI 48638‐4406
PRITZLAFF, FREDERICK C               1021 E CIRCLE DR                                                                                      MILWAUKEE        WI 53217‐5364
PRIVACY JOURNAL                      PO BOX 28577                                                                                          PROVIDENCE        RI 02908‐0577
PRIVATBANK IHAG ZURICH AG            BLEICHERWEG 18                     POSTFACH                                 8022 ZURICH SWITZERLAND
PRIVATE WINGS AIRCRAFT SERVICES GMBH FLUGHAFEN BERLIN SCHONEFELD                                                 SCHONEFELD 12529
                                                                                                                 GERMANY
PRIVEST BANK                        C/O NNN PARKWAY CORPORATE           2838 EL PASEO LANE                                                 SACRAMENTO      CA 95821
PRIVETT GEORGE W (429646)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                        STREET, SUITE 600
PRIVETT, AILENE                     1470 HEATHEN RIDGE RD.                                                                                 CRITTENDEN      KY 41030‐8469
PRIVETT, BRUCE A                    8215 W ASHFORD LN                                                                                      MUNCIE          IN 47304‐9500
PRIVETT, GEORGE W                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510‐2212
                                                                        STREET, SUITE 600
PRIVETT, GERALD W                   955 TARRAGON LN                                                                                        MILFORD         OH   45150
PRIVETT, GRACE                      1729 MARYLAND AVE                                                                                      FLINT           MI   48506‐4601
PRIVETT, HOLLIE I                   1004 MI TIERR WAY                   ROOM 407                                                           THE VILLAGES    FL   32154
PRIVETT, JACK O                     431 PARK FOREST DR E                                                                                   WHITELAND       IN   46184‐9773
PRIVETT, JAMES F                    PO BOX 605                                                                                             GASTON          IN   47342
PRIVETT, JAMES O                    603 E LINDA LAYNE                                                                                      MUNCIE          IN   47303‐2046
PRIVETT, JANET G                    2605 W LINCOLNSHIRE DR                                                                                 MUNCIE          IN   47304‐1314
PRIVETT, JERRY R                    39711 ROAD 428                                                                                         OAKHURST        CA   93644‐8907
PRIVETT, LAVOIT B                   1470 HEATHEN RIDGE RD                                                                                  CRITTENDEN      KY   41030‐8469
PRIVETT, MERLE B                    1855 OLD JELLICO CREEK RD                                                                              WILLIAMSBURG    KY   40769‐9518
PRIVETT, ROGER D                    17423 BRECKENRIDGE DR                                                                                  CLINTON TWP     MI   48038‐7123
PRIVETT, WANDA F                    PO BOX 165                                                                                             CHARLESTOWN     MD   21914‐0165
PRIVETT, WANDA F                    P. O. BOX 165                                                                                          CHARLESTOWN     MD   21914‐0165
PRIVETTE GERALD W (429647)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510
                                                                        STREET, SUITE 600
PRIVETTE RODNEY A (481964)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                        STREET, SUITE 600
PRIVETTE, GERALD W                  GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510‐2212
                                                                        STREET, SUITE 600
PRIVETTE, ROBERT D                  10 CAMBRIDGE CT                                                                                        LEXINGTON       OH 44904‐9780
PRIVETTE, RODNEY A                  GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510‐2212
                                                                        STREET, SUITE 600
PRIVETTE, RUSSELL H                 9212 AARON DR                                                                                          OKLAHOMA CITY   OK 73132‐1029
PRIVITERA, LINDA J                  30 BLUE RIDGE TRL                                                                                      ROCHESTER       NY 14624‐4938
PRIVOZNIK LEROY                     PRIVOZNIK, LEROY                    UNKNOWN
                                       09-50026-mg               Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                                   Address1                          Address2                     Address3          Address4                   City               State Zip
PRIVOZNIK, EDWARD J                    8311 E NATAL AVE                                                                                            MESA                AZ 85209‐6728
PRIYA KUBHER                           3368 PRIMROSE DR                                                                                            ROCHESTER HILLS     MI 48307‐5238
PRIYA VISHWANATHAN                     565 FOXHALL CT                                                                                              BLOOMFIELD HILLS    MI 48304‐1815
PRIYADARSHINI, KRITHIGA                4127 W SAINT ANNE AVE                                                                                       PHOENIX             AZ 85041‐4973
PRIZ, DAVID J                          8010 WOODGLEN LN APT 209                                                                                    DOWNERS GROVE        IL 60516‐4528
PRIZE, DANIEL E                        680 W SAM HOUSTON PKWY S          APT 2316                                                                  HOUSTON             TX 77042‐1570
PRIZE, DANIEL E                        10318 FIVE OAKS LN                                                                                          MISSOURI CITY       TX 77459‐6602
PRIZZI, ANTHONY                        48 SKYCREST DR                                                                                              ROCHESTER           NY 14616‐1410
PRN
PRN NURSE STAFFING LLC                 ATTN: SCOTT OLET                  4349 DAVISON RD                                                           BURTON             MI   48509‐1453
PRO ACTIVE CONSULTING LTD              3440 GRANITE CIR                                                                                            TOLEDO             OH   43617‐1160
PRO AIR CARGO                          PO BOX 250                                                                                                  VIENNA             OH   44473‐0250
PRO AIR/LANSING                        1415 RENSEN STREET                                                                                          LANSING            MI   48910
PRO ALIGN BRAKE TIRE & AUTO REPAIR     2610 GORDON TERRY PKWY                                                                                      DECATUR            AL   35601‐7109
PRO AUTO                               1413 PLAZA DR                                                                                               CARROLL            IA   51401‐3859
PRO AUTO CARE                          2069 S BROADWAY AVE                                                                                         BOISE              ID   83706‐4203
PRO AUTO CARE INC                      11207 SHELDON RD                                                                                            TAMPA              FL   33626‐4708
PRO AUTO CARE INC                      11207 SHELDON RD                                                                                            TAMPA              FL   33626‐4708
PRO AUTO CENTER                        505 ROUTE 13 S                                                                                              MILFORD            NH   03055‐3424
PRO AUTO SUPPLY SERVICE                317 CHURCH ST                                                                                               HERMINIE           PA   15637‐1455
PRO AUTO SUPPLY SERVICE                                                  317 CHURCH ST                                                                                PA   15637
PRO AUTOMOTIVE                         8000 N HALE AVE                                                                                             PEORIA             IL   61615‐2050
PRO AUTOMOTIVE                         13707 N STATE ROUTE 91                                                                                      DUNLAP             IL   61525‐9738
PRO AUTOMOTIVE REPAIR INC.             13985 S ROBINSON RD                                                                                         TRAVERSE CITY      MI   49684‐8435
PRO AUTOMOTIVE REPAIR, INC             979 SOUTHAMPTON RD                                                                                          WESTFIELD          MA   01085‐1331
PRO BUILD NORTH LLC                    JEFFREY LUECK                     125 W 5TH ST                                                              WINONA             MN   55987‐3557
PRO CAL                                PO BOX 2473                                                                                                 ROCK HILL          SC   29732‐4473
PRO CAR ASSOCIATES                     1100 TRIPLETT BLVD                                                                                          AKRON              OH   44306‐3029
PRO CENTRAL AUTOMOTIVE LTD             1686 LYON ST S                                                                   PRINCE GEORGE BC V2N
                                                                                                                        1T2 CANADA
PRO CO‐OP                              601 BROAD ST                                                                                                ROLFE              IA   50581‐1021
PRO CO‐OP                              HWY 3 WEST                                                                                                  GILMORE CITY       IA   50541
PRO DESIGN/MINNEAPLS                   2500 NIAGARA LN N                                                                                           MINNEAPOLIS        MN   55447‐4715
PRO DYNE CORPORATION                   136 GREEN TREE ROAD SUITE 100                                                                               PHOENIXVILLE       PA   19460
PRO EVELYN                             PRO, EVELYN                       5055 WILSHIRE BLVD STE 300                                                LOS ANGELES        CA   90036‐6101
PRO EVELYN                             PRO, MIGUEL                       5055 WILSHIRE BLVD STE 300                                                LOS ANGELES        CA   90036‐6101
PRO EXPRESS                            1224 SHERWOOD RD                                                                                            SAN MARINO         CA   91108‐1815
PRO EXPRESS INC                        341 SHELDON DRIVE                                                                CAMBRIDGE ON N1T 1B1
                                                                                                                        CANADA
PRO FABRICATION INC                    4328 TRIPLE CROWN DR SW                                                                                                        NC 28027‐8978
PRO FLEET TRANSPORTATION & LOGISTICS   900 N INDIANA AVE                                                                                           KANSAS CITY        MO 64120‐1715
GROUP LLC
PRO FOOTBALL HALL OF FAME              ENSHRINEE EVENTS INC              2121 GEORGE HALAS DR NW      ATTN DAVE MOTTS                              CANTON             OH   44708‐2630
PRO IMAGE RACING                       100 CARL DR UNIT 14                                                                                         MANCHESTER         NH   03103‐2371
PRO LAWN SERVICES INC                  1037 CHIPMUNK LN                                                                                            PENDLETON          IN   46064‐9167
PRO LINE DOOR SYSTEMS                  PO BOX 4101                                                                                                 CENTER LINE        MI   48015‐4101
PRO LINE DOOR SYSTEMS                  PO BOX 4101                       24200 GIBBSON                                                             CENTER LINE        MI   48015‐4101
PRO MECANIQUE ST. LAURENT              3695 COTE VERTU                                                                  VILLE ST. LAURENT QC H4R
                                                                                                                        1B4 CANADA
PRO MECHANICAL SERVICES INC            PO BOX 364                                                                                                  TRENTON             MI 48183‐0364
PRO MICROHYDRAULICS LLC                1807 WARWICKSHIRE DR                                                                                        HOUSTON             TX 77077‐4126
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Name                          Address1                             Address2                           Address3   Address4         City                State Zip
PRO MOLDERS INC               ATTN: CORPORATE OFFICER/AUTHORIZED   127 INDUSTRIAL DR                                              FRANKLIN             OH 45005‐4427
                              AGENT
PRO MOTOR ENGINEERING         102 S IREDELL INDUSTRIAL PARK RD                                                                    MOORESVILLE         NC   28115‐7128
PRO MOTORS SERVICE INC.       45 N FRANKLIN ST                                                                                    ZEELAND             MI   49464‐1003
PRO ONE AUTOMOTIVE            202 STATE HIGHWAY 110 S                                                                             WHITEHOUSE          TX   75791‐3513
PRO PHYSICAL THERAPY          1812 MARSH RD STE 505                                                                               WILMINGTON          DE   19810‐4515
PRO PLASTICS                  ATTN: JIM GRAFFTT                    1029 S JACKSON ST                                              JANESVILLE          WI   53546‐2554
PRO PLASTICS INC              1190 SYLVAN ST                                                                                      LINDEN              NJ   07036‐6417
PRO POWER/MEMPHIS             5025 STAGE ROAD #236                                                                                MEMPHIS             TN   38128
PRO REPAIR                    337 1ST AVE W                                                                                       MILAN               IL   61264‐2405
PRO RIDER INC                 PO BOX 52650                                                                                        BELLEVUE            WA   98015‐2650
PRO SEAL                      STATE FARM INSURANCE COMPANIES       PO BOX 20707                                                   MURFREESBORO        TN   37129‐0088
PRO SEAL SERVICE GROUP INC    ATTN ELAINE GEISLER                  32388 EDWARD AVE                                               MADISON HEIGHTS     MI   48071‐1432
PRO SPOT INTERNATIONAL INC    2625 TEMPLE HEIGHTS DR STE A                                                                        OCEANSIDE           CA   92056‐3590
PRO STAR                      6601 SOUTH TRANSIT ROAD                                                                             LOCKPORT            NY   14094
PRO STAR TOWING, INC.                                              355 SANGO CT                                                                       CA   95035
PRO TEC MACHINE INC           1711 TRADITIONAL DR                                                                                 COMMERCE TOWNSHIP   MI   48390‐2975
PRO TECH                                                           487 HILLSIDE AVE                                                                   NJ   07205
PRO TECH AUTO SERVICE         3837 EDWARDS ST                                                                                     FORT MYERS          FL   33916‐3713
PRO TECH AUTOMOTIVE           6462 HIXSON PIKE                                                                                    HIXSON              TN   37343‐3040
PRO TECH MACHINE              3085 JOYCE ST                                                                                       BURTON              MI   48529‐1421
PRO TECT SECURITY             3511 S EASTERN AVE                                                                                  LAS VEGAS           NV   89169‐3314
PRO TERRA ENVIRONMENTAL       2323 PERFORMANCE WAY                                                                                COLUMBUS            OH   43207‐2858
CONTRACTING CO
PRO THERAPY                   1948 MESQUITE AVE STE 101                                                                           LAKE HAVASU CITY    AZ 86403‐5777
PRO TO CALL AUTO              1809 FORDHAM BLVD                                                                                   CHAPEL HILL         NC 27514‐2200
PRO TOUR MEMORABILIA, LLC
PRO VISION TRANSPORT INC      6205 BLUE STAR HWY                                                                                  SAUGATUCK           MI   49453‐9726
PRO WELD INC                  1720 DOVE ST                         MOVED 08/13/02 PER LTR                                         PORT HURON          MI   48060‐8006
PRO, EVELYN                   KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                                     LOS ANGELES         CA   90036‐6101
PRO, MIGUEL                   KROHN & MOSS ‐ CA,                   5055 WILSHIRE BLVD STE 300                                     LOS ANGELES         CA   90036‐6101
PRO‐ANALYTI/SCOTTSDA          2407 N 66TH ST                                                                                      SCOTTSDALE          AZ   85257‐1115
PRO‐CARE AUTO SERVICE, INC.   806 TENNESSEE BLVD                                                                                  LEBANON             TN   37087‐4990
PRO‐CAT                       1920 ROUTE 37 E                                                                                     TOMS RIVER          NJ   08753
PRO‐FABRICATION INC           4328 TRIPLE CROWN DR SW                                                                             CONCORD             NC   28027‐8978
PRO‐FUSION TECHNOLOGIES INC   803 E IONA RD                                                                                       IDAHO FALLS         ID   83401‐1117
PRO‐MATIC AUTO REPAIR         14023 S CASPER ST                                                                                   GLENPOOL            OK   74033‐2608
PRO‐MEC ENGINEERING INC       109 E LINCOLN ST                                                                                    GRAND LEDGE         MI   48837‐1507
PRO‐MOLD INC                  350 BUELL RD                                                                                        ROCHESTER           NY   14624‐3124
PRO‐MOTIVE INC.               9460 RED ARROW HWY                                                                                  BRIDGMAN            MI   49106‐9702
PRO‐MOTOR ENGINEERING INC     ATTN: MARK SMITH                     102 S IREDELL INDUSTRIAL PARK RD                               MOORESVILLE         NC   28115‐7128

PRO‐MOTOR ENGINEERING INC     102 S IREDELL INDUSTRIAL PARK RD                                                                    MOORESVILLE         NC   28115‐7128
PRO‐PAK INDUSTRIES INC        1125 FORD ST                                                                                        MAUMEE              OH   43537‐1703
PRO‐PROCUREMENT DIV           950 H ST NW                          PROCUREMENT ROOM 6700                                          WASHINGTON          DC   20223‐0001
PRO‐SEAL INC                  35 W SILVERDOME INDUSTRIAL PARK                                                                     PONTIAC             MI   48342‐2994
PRO‐TECH CO INC               PO BOX 1171                                                                                         WESTMONT            IL   60559‐8371
PRO‐TECH INDUSTRIES INC       6364 CORUNNA RD                                                                                     FLINT               MI   48532‐5310
PRO‐TECH INDUSTRIES INC       6079 BIRCH RD                                                                                       FLINT               MI   48507‐4647
PRO‐TECH MACHINE              3085 JOYCE ST                                                                                       BURTON              MI   48529‐1421
PRO‐TECH SALES CO INC         PO BOX 1171                          2852 HITCHCOCK AVE                                             WESTMONT            IL   60559‐8371
PRO‐TECH SOLUTIONS LTD        ATTN: BRIAN CALLAHAN                 777 WALNUT AVE # 4                                             CRANFORD            NJ   07016‐3374
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Name                            Address1                              Address2             Address3         Address4              City                 State Zip
PRO‐TECH TIRE & AUTO            570 YONGE ST.                                                               BARRIE ON L4N 4E4
                                                                                                            CANADA
PRO‐VALUE SERVICES INC          1547 LYELL AVE STE 3                                                                              ROCHESTER            NY 14606‐2143
PRO‐WELD INC                    1720 DOVE ST                                                                                      PORT HURON           MI 48060‐8006
PROACT MARKETING GROUP INC      2604 NE INDUSTRIAL DR STE 270                                                                     RANDOLPH             MO 64117‐3145
PROACT PAE INC
PROACTIVE CONSULTING LTD        5954 SECLUDED CT                                                                                  SYLVANIA             OH    43560‐9218
PROACTIVE LUBE SOLUTIONS LLC    PO BOX 71                                                                                         ORTONVILLE           MI    48462‐0071
PROACTIVE LUBE SOLUTIONS LLC    2120 DUNWOODIE CT                     PO BOX 71                                                   ORTONVILLE           MI    48462‐8564
PROACTIVE PHYSICAL T            401 COLUMBUS AVE                                                                                  VALHALLA             NY    10595
PROANO, GALO M                  8 PIN HOOK LN                                                                                     PITTSFORD            NY    14534‐1021
PROAUTO C.A.                    AV. 10 DE AGOSTO 6162 (SECTOR LA Y)                                         QUITO ECUADOR
PROBASCO, RONNIE                172 CARVER LN                                                                                     BEDFORD              IN    47421‐7468
PROBATION DEPT,ACCOUNTING DIV   ACCT OF RICARDO SANTANA               175 W 5TH ST FL 3                                           SAN BERNARDINO       CA    92415‐1012
PROBE INFORMATION SERVICE       6375 AUBURN BLVD.                                                                                 CITRUS HEIGHTS       CA    95621
PROBE PRODUCTS CORPORATION      36 MATUK DR                                                                                       HYDE PARK            NY    12538‐2828
PROBE SERVICES                  PO BOX 815                                                                                        BUFFALO              NY    14225‐0815
PROBE, JILL                     876 S HURD RD                                                                                     OXFORD               MI    48371‐2838
PROBEL, ROBERT C                512 5TH TER                                                                                       PALM BEACH GARDENS   FL    33418‐3604
PROBEN, MARK D                  PO BOX 672                                                                                        LAKELAND             MI    48143‐0672
PROBEN, RAYMOND M               164 VINCENT ST                                                                                    INKSTER              MI    48141‐1270
PROBERT, ALBERT W               759 LYLE DR                                                                                       WATERFORD            MI    48327‐3052
PROBERT, COLIN A                9872 HAWTHORNE GLEN DR                                                                            GROSSE ILE           MI    48138‐2115
PROBERT, DONNA M                5567 CORD GRASS LN                                                                                MELBOURNE BEACH      FL    32951‐3328
PROBERT, LAWRENCE C             2995 VOLLMER DR                                                                                   YOUNGSTOWN           OH    44511‐1961
PROBERT, MARK R                 5173 CALLE ASILO                                                                                  SANTA BARBARA        CA    93111‐1726
PROBERT, WILLIAM F              PO BOX 276                                                                                        LOS OLIVOS           CA    93441‐0276
PROBIR SIL                      3171 BLOOMFIELD LN APT 403                                                                        AUBURN HILLS         MI    48326‐3647
PROBST ROBERT                   PROBST, ROBERT                        30 E BUTLER AVE                                             AMBLER               PA    19002‐4514
PROBST, BEVERLY J               500 TULANE ST                                                                                     SAGINAW              MI    48604‐2249
PROBST, BRETT A                 5420 W 200 N                                                                                      GREENFIELD           IN    45140‐9565
PROBST, BRETT A.                6302 W. WELLINGTON WAY                                                                            MC CORDSVILLE        IN    46055
PROBST, DANNIE M                PO BOX 524                                                                                        MARKLE               IN    46770‐0524
PROBST, DEAN S                  N 4976 HIGHWAY 26                                                                                 JEFFERSON            WI    53549
PROBST, JURGEN H                17040 HAWKS LOOKOUT LN                                                                            STRONGSVILLE         OH    44136‐6221
PROBST, MELBA F                 9428 SUNSET POINTE DR                                                                             BONNE TERRE          MO    63628‐8647
PROBST, MICHAEL D               1204 S HOLLY RD                                                                                   FENTON               MI    48430‐8501
PROBST, MICHAEL W               404 TALBERT CT                                                                                    BALLWIN              MO    63021
PROBST, PATRICK A               PO BOX 170962                                                                                     ARLINGTON            TX    76003‐0962
PROBST, ROBERT R                7540 LAURIE LN N                                                                                  SAGINAW              MI    48609‐4942
PROBST, SARAH C                 16144 GRAND CYPRESS DRIVE                                                                         NOBLESVILLE          IN    46060‐4469
PROBST, SCOTT A                 8181 E COUNTY ROAD 525 N                                                                          COATESVILLE          IN    46121‐8998
PROBST, SCOTT ALLEN             8181 E COUNTY ROAD 525 N                                                                          COATESVILLE          IN    46121‐8998
PROBSTFELD, PATRICIA A          38868 FISHERMANS LN                                                                               CHASSELL             MI    49916‐9239
PROBUS BARBARA                  5012 NEW CUT RD                                                                                   LOUISVILLE           KY    40214
PROBY, ANNETT                   442 IROQUOIS TRL                                                                                  SHREVEPORT           LA    71107‐5420
PROBY, ANTHONY R                SHANNON LAW FIRM                      100 W GALLATIN ST                                           HAZLEHURST           MS    39083‐3007
PROBY, JOHN HENRY               SHANNON LAW FIRM                      100 W GALLATIN ST                                           HAZLEHURST           MS    39083‐3007
PROBY, KATHY B                  1422 DORIS ST                                                                                     SHREVEPORT           LA    71108‐3112
PROBY, KATHY BOYKINS            1422 DORIS ST                                                                                     SHREVEPORT           LA    71108‐3112
PROBY, TYRONE                   7143 PINE OAK LN                                                                                  GREENWOOD            LA    71033‐3377
PROBY, VIRGINIA L               7143 PINE OAK LN                                                                                  GREENWOOD            LA    71033‐3377
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Name                                Address1                            Address2                        Address3             Address4                City                 State Zip
PROCA, MARGARET                     962 OLD BETHLEHEM RD                                                                                             QUAKERTOWN            PA 18951
PROCACCINI TINA                     PROCACCINI, TINA                    55 PUBLIC SQ STE 650                                                         CLEVELAND             OH 44113‐1909
PROCACCINI, EDWARD J                14 PHILRICH DR                                                                                                   TRENTON               NJ 08619‐1145
PROCACCINI, MICHAEL E               2861 HADDINGTON TRCE                                                                                             DACULA                GA 30019‐1721
PROCARE AUTOMOTIVE SERVICES         1020 CEDAR CROSS RD                                                                                              DUBUQUE                IA 52003‐7745
PROCASKEY, MICHAEL D                5827 TROTTER LN                                                                                                  W BLOOMFIELD          MI 48322‐1636
PROCAT TESTING LLC                  30844 CENTURY DR                                                                                                 WIXOM                 MI 48393‐2064
PROCECO LTD                         7300 TELLIER ST                                                                          MOTREAL CANADA PQ H1N
                                                                                                                             3T7 CANADA
PROCEDE SOFTWARE                    9985 PACIFIC HEIGHTS BLVD STE 150                                                                                SAN DIEGO            CA    92121‐4310
PROCELL, BRENT J                    100 SUMMIT DR                                                                                                    BOSSIER CITY         LA    71111‐6048
PROCELL, ELLEN C                    2820 CRESTVIEW ST                                                                                                TYLER                TX    75701‐7011
PROCELL, JARROD                     1103 GLORIA ST                                                                                                   MINDEN               LA    71055‐2319
PROCELL, JIMMY R                    100 SUMMIT DR                                                                                                    BOSSIER CITY         LA    71111‐6048
PROCELL, JIMMY RAY                  100 SUMMIT DR                                                                                                    BOSSIER CITY         LA    71111‐6048
PROCELL, JOSEPH C                   1586 OBRIE ST                                                                                                    ZWOLLE               LA    71486‐3222
PROCELL, KENNETH R                  2109 CHASE OAKS                                                                                                  SHREVEPORT           LA    71118‐4601
PROCEQ USA INC                      117 CORPORATION DR                                                                                               ALIQUIPPA            PA    15001‐4859
PROCESS ADVANTAGE INC               715 FOXDALE AVE                                                                                                  WINNETKA             IL    60093‐1949
PROCESS ALTERNATIVES &              COMBUSTION INC                      4220 LITTLE STREAMS TRL                                                      LAMBERTVILLE         MI    48144‐9757
PROCESS AUTOMATION TECHNOLOGIE      132 BUCKEYE COVE RD                                                                                              SWANNANOA            NC    28778‐2836
PROCESS CONSUMERS GAS GROUP         1275 PENNSYLVANIA AVENUE NW                                                                                      WASHINGTON           DC    20004
PROCESS CONTROL & ENGINEERING INC   1091 CENTRE RD STE 160                                                                                           AUBURN HILLS         MI    48326‐2683

PROCESS CONTROL SOLUTIONS           PO BOX 340                                                                                                       SHREWSBURY           MA 01545‐0340
PROCESS CONTROLS INTERNATIONAL      PO BOX 28399                        13871 PARK STEED DR                                                          SAINT LOUIS          MO 63146‐0899
PROCESS DEVELOPMENT CANADA COR      200 BLAIR ST S UNIT 13                                                                   WHITBY ON L1N 8X9
                                                                                                                             CANADA
PROCESS DEVELOPMENT CANADA          33027 SCHOOLCRAFT ROAD SUITE                                                                                     LIVONIA               MI 48150
CORPORATION                         #1UPDATE 1/5/06 AM
PROCESS DEVELOPMENT CORP            33027 SCHOOLCRAFT RD                                                                                             LIVONIA              MI    48150‐1618
PROCESS ENVIRONMENTS I LTD LLP      406 NEWPORT BLVD                                                                                                 LEAGUE CITY          TX    77573‐3560
PROCESS EQUIPMENT & SUPPLY INC      31255 LORAIN RD                                                                                                  NORTH OLMSTED        OH    44070‐4728
PROCESS EQUIPMENT CO OF TIPP C      4191 US ROUTE 40                                                                                                 TIPP CITY            OH    45371‐9283
PROCESS EQUIPMENT CO OF TIPP C      6555 S STATE ROUTE 202                                                                                           TIPP CITY            OH    45371‐9094
PROCESS EQUIPMENT CO OF TIPP CITY   4191 US ROUTE 40                                                                                                 TIPP CITY            OH    45371‐9283
PROCESS EQUIPMENT CO OF TIPP CITY   6555 S STATE ROUTE 202                                                                                           TIPP CITY            OH    45371‐9094
PROCESS EQUIPMENT COMPANY           6555 S STATE ROUTE 202                                                                                           TIPP CITY            OH    45371‐9094
PROCESS GEAR COMPANY INC.           JONATHAN HERTL                      3860 N. RIVER RD.                                                            LINCOLN              RI
PROCESS GROUP INC                   555 CONESTOGA BLVD                                                                       CAMBRIDGE ON N1R 7P5
                                                                                                                             CANADA
PROCESS INDUSTRIES                  3860 NORTH RIVER ROAD                                                                                            SCHILLER PARK         IL   60176
PROCESS INDUSTRIES                  3860 N RIVER RD                                                                                                  SCHILLER PARK         IL   60176
PROCESS INDUSTRIES CONSORTION INC   11346 53RD ST N                                                                                                  CLEARWATER            FL   33760‐4821

PROCESS INDUSTRIES CONSORTION INC   CRIS RAINES                         3860 RIVER RD.                                                               ARCHBOLD             OH 43502

PROCESS INDUSTRIES CONSORTION INC   JERRY GIVEN                         11346 53RD ST N                 PROCESS INDUSTRIES                           CLEARWATER            FL   33760‐4821
                                                                                                        CONSORTION
PROCESS INDUSTRIES CONSORTION INC   JERRY GIVEN                         PROCESS INDUSTRIES CONSORTION   11346 53RD ST N                              SAULT SAINTE MARIE    MI 49783
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Name                                 Address1                          Address2                          Address3   Address4                City            State Zip
PROCESS INDUSTRIES CONSORTION INC    JONATHAN HERTL                    3860 N. RIVER RD.                                                    LINCOLN           RI

PROCESS INSTRUMENTS & COMPONEN       441 ESNA PARK DR UNIT 7                                                        MARKHAM ON L3R 1H7
                                                                                                                    CANADA
PROCESS MECHANICAL                   INSTALLATION                      195 WAYDOM DRIVE RR#1                        AYR CANADA ON N0B 1E0
                                                                                                                    CANADA
PROCESS OPTIMIZATION CORPORATION     23811 WASHINGTON AVE STE C        110‐230 ADD UPDT 5/22/7 MR                                           MURRIETA         CA 92562

PROCESS POWER INC                    28815 AURORA RD                                                                                        SOLON           OH    44139‐1858
PROCESS PROTO/ROMULU                 27850 WICK RD                                                                                          ROMULUS         MI    48174‐2623
PROCESS PUMP & SEAL INC              2993 WOODSDALE RD UNIT 1                                                                               TRENTON         OH    45067‐9222
PROCESS SOLUTIONS INC                10610 METRIC DR STE 168                                                                                DALLAS          TX    75243‐5542
PROCESS SYSTEMS ENTERPRISE LIMITED   BRIDGE STUDIOS                    107A HAMMERSMITHS BRIDGE RD.                 LONDON W69DA GREAT
                                                                                                                    BRITAIN
PROCESS SYSTEMS ENTERPRISE LTD       107A HAMMERSMITH BRIDGE RD                                                     LONDON GB W6 9DA
                                                                                                                    GREAT BRITAIN
PROCESS SYSTEMS ENTERPRISE LTD       BRIDGE STUDIOS                    107A HAMMERSMITH BRIDGE ROAD W6 9DA LONDON   UNITED KINGDOM GREAT
                                                                                                                    BRITAIN
PROCESS SYSTEMS INC                  DIV OF RUTHMAN PUMP & ENGINEER    23633 PINEWOOD ST                                                    WARREN          MI 48091‐4760
PROCESS SYSTEMS INC                  23633 PINEWOOD ST                                                                                      WARREN          MI 48091‐3196
PROCESSMIND                          138 RIVER RD.                     SUITE201                                                             ANDOVER         MA 01810
PROCESSMIND
PROCESSOR PREFERRED/MONSANTO         PEG NICHOLSON                     800 N. LINBERGH BLVD. MAIL CODE                                      SAINT LOUIS     MO
                                                                       G5NF
PROCESZYN, WILLIAM
PROCHASKA, ANNETTE S                 4240 DABISH DR                                                                                         LAKE ORION      MI    48362‐1022
PROCHASKA, FRANK J                   9200 W LAYTON AVE APT # A223                                                                           GREENFIELD      WI    53228
PROCHASKA, FRANK J                   7801 W ALLERTON AVE                                                                                    MILWAUKEE       WI    53220‐3313
PROCHASKA, FRED A                    447 S STADIUM RD                                                                                       OREGON          OH    43616‐4209
PROCHASKA, JAMES C                   N364 LINCOLN ST                                                                                        BRIGGSVILLE     WI    53920‐8913
PROCHASKA, LARRY J                   1007 ROSEWOOD LN                                                                                       ARLINGTON       TX    76010‐5833
PROCHASKA, ROBERT E                  10405 E TWILIGHT DR                                                                                    SUN LAKES       AZ    85248‐6852
PROCHASKA, THOMAS A                  304 ISBELL ST                                                                                          HOWELL          MI    48843‐2031
PROCHASKA, WAYNE R                   4240 DABISH DR                                                                                         LAKE ORION      MI    48362‐1022
PROCHAZKA JR, V R                    6135 MEADVIEW DR                                                                                       SEVEN HILLS     OH    44131‐2949
PROCHAZKA, ANDREW A                  188 NORTHSIDE DR                                                                                       MILTON          WI    53563‐1383
PROCHAZKA, ANN L                     1804 S HAWTHORNE PARK DR                                                                               JANESVILLE      WI    53545‐2066
PROCHAZKA, ANN L M                   1804 S HAWTHORNE PARK DR                                                                               JANESVILLE      WI    53545‐2066
PROCHAZKA, B O                       60 HOLIDAY DRIVE                                                                                       MOUNTAIN HOME   AR    72653
PROCHAZKA, DEBORAH L                 188 NORTHSIDE DR                                                                                       MILTON          WI    53563‐1383
PROCHAZKA, GARY L                    463 S RINGOLD ST                                                                                       JANESVILLE      WI    53545‐4160
PROCHAZKA, GERALD L                  230 JUNIPER LN                                                                                         MARSHALL        WI    53559‐9220
PROCHAZKA, LARRY E                   2985 N KREPPS RD                                                                                       SAINT JOHNS     MI    48879‐9089
PROCHAZKA, MARGIE B                  1657 BERKLEY DR                                                                                        HOLT            MI    48842‐1879
PROCHAZKA, MICHAEL                   1804 S HAWTHORNE PARK DR                                                                               JANESVILLE      WI    53545‐2066
PROCHAZKA, ROBERT C                  4404 TANGLEWOOD DR                                                                                     JANESVILLE      WI    53546‐3510
PROCHAZKA, RYAN E                    2985 N KREPPS RD                                                                                       SAINT JOHNS     MI    48879‐9089
PROCHAZKA, SHAUN W                   2825 WOODLANE DRIVE                                                                                    JANESVILLE      WI    53545‐0449
PROCHILLO, PETER E                   55 CADET DR                                                                                            N RIDGEVILLE    OH    44039‐4070
PROCHILLO, PETER E.                  55 CADET DRIVE                                                                                         N RIDGEVILLE    OH    44039‐4070
PROCHILO, BARBARA A                  12477 MOON RD                                                                                          BROOKSVILLE     FL    34613‐4177
PROCHILO, SUSAN                      281 N POPLAR ST                                                                                        MASSAPEQUA      NY    11758
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Name                           Address1                        Address2                      Address3   Address4         City              State Zip
PROCHNOW JR, WILLIAM R         7756 W 100 N                                                                              ANDREWS            IN 46702‐9425
PROCHNOW, JOANN L              114 KENSINGTON CIR                                                                        LIMA               OH 45804‐3341
PROCHNOW, JUDITH M             W13946 LEWIS LN                                                                           ATHELSTANE         WI 54104‐9582
PROCHNOW, JUDITH M             W 13946 LEWIS LN                                                                          ATHLESTANE         WI 54104
PROCHNOW, NANCY A              3700 S WESTPORT AVE PMB 3032                                                              SIOUX FALLS        SD 57106‐6360
PROCHNOW, WILLIAM R            2496 S 700 E                                                                              MARION             IN 46953‐9554
PROCHOWNIK, RAYMOND E          6712 WOODLEY RD                                                                           BALTIMORE          MD 21222‐5157
PROCHOWNIK, SHARON G           6712 WOODLEY RD                                                                           BALTIMORE          MD 21222
PROCIAK MICHAEL                25 LOMBARDO DR                                                                            WILKES BARRE       PA 18702
PROCIOUS, DONNA L              630 DIVISION ST                                                                           MONESSEN           PA 15062‐1402
PROCK AUTOMOTIVE               3334 34TH ST                                                                              LUBBOCK            TX 79410‐3232
PROCK GEORGE L JR (498309)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                               STREET, SUITE 600
PROCK JR, JAMES M              4859 CEDAR SPRINGS RD APT 361                                                             DALLAS            TX   75219‐6137
PROCK, DANE                    165 W BRIARCLIFF RD                                                                       BOLINGBROOK       IL   60440‐2813
PROCK, DIANE G                 PO BOX 908                                                                                MAYSVILLE         OK   73057‐0908
PROCK, GEORGE L                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                               STREET, SUITE 600
PROCK, JAMES R                 7812 HARRISON AVE                                                                         CINCINNATI        OH   45231‐3112
PROCK, MICHAEL W               1497 PARR HWY                                                                             ADRIAN            MI   49221
PROCK, PATRICIA A              1090 FORT RD SW                                                                           DELLROY           OH   44620‐9782
PROCK, VICTORIA L              457 N CRESCENT DR                                                                         ORANGE            CA   92868‐2118
PROCKETT, JUNE F               413 PLEASANT STREET                                                                       MARLBOROUGH       MA   01752‐1128
PROCKISH, RANDALL K            596 S GOLDEN KEY ST                                                                       GILBERT           AZ   85233‐6848
PROCKISH, RANDY E              1899 S GRAND DR                                                                           APACHE JUNCTION   AZ   85220‐7325
PROCKNAL, J T                  143 RAROTONGA RD                                                                          NORTH PORT        FL   34287‐3348
PROCKNAL, MICHAEL A            9077 HOLLAND GLENWOOD RD                                                                  GLENWOOD          NY   14069‐9612
PROCKNOW DAVID                 NO ADVERSE PARTY
PROCKO, BERNADINE E            413 BROOK ST                                                                              BRISTOL           CT   06010‐4504
PROCKO, STANLEY P              49 TUTTLE ST                                                                              WALLINGTON        NJ   07057‐1418
PROCLEAN LAUNDRY & DRY CLNRS   ATTN: HARVEY FRIDLINE           1364 E BRISTOL RD                                         BURTON            MI   48529‐2212
PROCOIL                        PAT HARTIGAN                    5260 S HAGGERTY RD                                        CANTON            MI   48188‐2775
PROCOIL COMPANY LLC            5260 S HAGGERTY RD                                                                        CANTON            MI   48188‐2775
PROCOIL CORP                   PAT HARTIGAN                    5260 S HAGGERTY RD                                        CANTON            MI   48188‐2775
PROCOPIO JAMES & LINDA         8062 HIGHLAND AVE SW                                                                      WARREN            OH   44481‐8616
PROCOPIO VITALE                53108 PROVIDENCE DR                                                                       SHELBY TOWNSHIP   MI   48316‐2609
PROCOPIO, ANN M                7108 COPENHAGEN CIRCLE                                                                    E SYRACUSE        NY   13057‐3054
PROCOPIO, FRANK V              47521 ANGELINE CT                                                                         SHELBY TOWNSHIP   MI   48315‐4501
PROCOPIO, VERONICA R           2800 BUSHNELL CAMPBELL RD       C/O DOLORES D ONEY                                        FOWLER            OH   44418‐9728
PROCOPIO, VINCENT P            9640 CHERRY HILLS DR                                                                      CANFIELD          OH   44406
PROCTER & GAMBLE               VICKY LUKE                      2 PROCTER AND GAMBLE PLZ                                  CINCINNATI        OH   45202‐3315
PROCTER AUTOMOTIVE             1325 BUTTERNUT ST                                                                         ABILENE           TX   79602‐3716
PROCTER, ANGELICA C            5501 AUTUMN WOODS DR APT 11                                                               TROTWOOD          OH   45426‐1324
PROCTER, CASSIE M              8116 MISTYVIEW DR SW                                                                      BYRON CENTER      MI   49315‐8064
PROCTER, DALESHIA S            3435 LEISURE LN                                                                           COLLEGE PARK      GA   30349‐4451
PROCTER, DAVID B               2311 SYLVAN AVE SE                                                                        GRAND RAPIDS      MI   49506‐5254
PROCTER, RUTH A                31474 SHERIDAN STREET                                                                     GARDEN CITY       MI   48135
PROCTER, THERESA J             31474 SHERIDAN ST                                                                         GARDEN CITY       MI   48135‐1348
PROCTOR & GAMBLE               229 E. SIXTH STREET                                                                       CINCINNATI        OH   45202
PROCTOR & LONG LLC             825 THOMASVILLE RD                                                                        TALLAHASSEE       FL   32303‐6217
PROCTOR ALLEN                  PROCTOR, ALLEN                  95 BROWN ROAD                                             CORRINA           ME   04928‐3549
PROCTOR AUTO REPAIR            68817 CASS ST                                                                             EDWARDSBURG       MI   49112‐9697
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Name                                   Address1                        Address2                         Address3   Address4         City              State Zip
PROCTOR BEATY                          APT 121                         458 WAYNE AVENUE                                             CROSSVILLE         TN 38555‐4282
PROCTOR CARROLL                        3011 MILLEDGEVILLE RD                                                                        AUGUSTA            GA 30904‐5613
PROCTOR CHARLES                        PROCTOR, CHARLES                640 S SAN VICENTE BLVD STE 230                               LOS ANGELES        CA 90048‐4654
PROCTOR CHARLES                        PROCTOR, LEILA RENNE            640 S SAN VICENTE BLVD STE 230                               LOS ANGELES        CA 90048‐4654
PROCTOR CHARLES E (ESTATE OF) (455900) SIMMONS FIRM                    PO BOX 559                                                   WOOD RIVER          IL 62095‐0559

PROCTOR ELIZABETH M                   448 SERRA DR                                                                                  WHITE LAKE        MI   48386‐2158
PROCTOR EVE J                         4007 LOTUS DR                                                                                 WATERFORD         MI   48329‐1227
PROCTOR JOSEPH                        PROCTOR, JOSEPH                  DR                                                           NORMAN            OK   73071
PROCTOR JR, ISAAC                     2956 CLEMENT ST                                                                               FLINT             MI   48504‐3042
PROCTOR JR., COLON C                  3269 BOY SCOUT RD                                                                             BAY CITY          MI   48706‐1255
PROCTOR MARIAN ARIEULA                C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                          LITTLE ROCK       AR   72201
PROCTOR OWENS JR                      PO BOX 2451                                                                                   WATERBURY         CT   06722‐2451
PROCTOR TIMOTHY A                     14702 SWOVELAND RD                                                                            HAGERSTOWN        IN   47346‐9656
PROCTOR, ALLEN                        95 BROWN RD                                                                                   CORINNA           ME   04928‐3549
PROCTOR, ANGELA A                     PO BOX 476                                                                                    MILAN             OH   44846‐0476
PROCTOR, AURICE L                     1407 ROSS DR                                                                                  IRVING            TX   75061‐5457
PROCTOR, BARBARA A                    1 DAUCH DRIVE                                                                                 DETROIT           MI   48211‐1115
PROCTOR, BETTY B                      221 OHIO ST                                                                                   BELLAIRE          MI   49615‐9592
PROCTOR, CARA J                       3461 GREENS MILL RD                                                                           SPRING HILL       TN   37174‐2125
PROCTOR, CHARLES E                    SIMMONS FIRM                     PO BOX 559                                                   WOOD RIVER        IL   62095‐0559
PROCTOR, CHARLOTTE J                  1478 COUNTY ROAD 170                                                                          MOULTON           AL   35650‐6524
PROCTOR, CHEROLYN                     1300 APPLEGATE PKWY                                                                           WAXHAW            NC   28173‐6723
PROCTOR, CHESTENE                     4290 WILLIAMS RD                                                                              MARTINSVILLE      IN   46151‐9296
PROCTOR, DAN L                        5597 ASHBY COURT                                                                              WATERFORD         MI   48327‐3096
PROCTOR, DAVID B                      684 CORWIN AVE                                                                                PONTIAC           MI   48340‐2410
PROCTOR, DAVID J                      30445 VALENTI DR                                                                              WARREN            MI   48088‐3354
PROCTOR, DAVID JIMMIE                 30445 VALENTI DR                                                                              WARREN            MI   48088‐3354
PROCTOR, DELORES M                    172 CO RD 139                                                                                 TRINITY           AL   35673
PROCTOR, DONALD A                     658 MONTANA DR                                                                                XENIA             OH   45385‐4453
PROCTOR, DORA M                       6422 PEACE PL                                                                                 INDIANAPOLIS      IN   46268‐4015
PROCTOR, DOROTHY M                    446 NO 9TH ST                                                                                 HAMILTON          OH   45011‐1858
PROCTOR, ELIZABETH J                  295 VILLAGE LN APT 283                                                                        GREENWOOD         IN   46143‐2477
PROCTOR, ELIZABETH M                  448 SERRA DR                                                                                  WHITE LAKE        MI   48386‐2158
PROCTOR, ERMA L                       4601 DEVONSHIRE AVE                                                                           LANSING           MI   48910‐5631
PROCTOR, ERWIN R                      5606 PINKERTON RD                                                                             VASSAR            MI   48768‐9610
PROCTOR, EVA J                        4007 LOTUS DR                                                                                 WATERFORD         MI   48329‐1227
PROCTOR, FRANKLIN D                   35493 OAKDALE ST                                                                              LIVONIA           MI   48154
PROCTOR, GARY L                       9861 GEDDES RD                                                                                SAGINAW           MI   48609‐9524
PROCTOR, GAY DELO                     5480 WASHINGTON ROAD                                                                          APPLING           GA   30802‐3322
PROCTOR, GAY DELO                     5486 WASHINGTON RD                                                                            APPLING           GA   30802‐3322
PROCTOR, GEORGE A                     7121 STATE RD                                                                                 MILLINGTON        MI   48746‐9408
PROCTOR, GERALD J                     PO BOX 74343                                                                                  ROMULUS           MI   48174‐0343
PROCTOR, GLENN K                      308 W BERKLEY AVE                                                                             MUNCIE            IN   47303‐1113
PROCTOR, GREGORY T                    32222 BRETTON ST                                                                              LIVONIA           MI   48152‐1541
PROCTOR, HELEN L                      5507 BRADLEY LN                                                                               ARLINGTON         TX   76017‐3021
PROCTOR, JAMES O                      930 HILLCREST ST                                                                              HARRISON          MI   48625‐9261
PROCTOR, JAMES R                      3283 RIVER VILLA WAY                                                                          MELBOURNE BEACH   FL   32951‐3053
PROCTOR, JAMES W                      2201 CHATEAU DR                                                                               FLINT             MI   48504
PROCTOR, JAMES W                      1421 DENVER DR                                                                                PLAINFIELD        IN   46168‐2121
PROCTOR, JAY B                        1090 DERRYBERRY CEMETERY RD                                                                   COLUMBIA          TN   38401‐9539
PROCTOR, JEAN                         4971 PLEASANT AVE LOT 74                                                                      FAIRFIELD         OH   45014‐2598
                          09-50026-mg            Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32   Exhibit B
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Name                      Address1                       Address2              Address3         Address4         City               State Zip
PROCTOR, JEFFREY B        8379 9 MILE RD                                                                         BIG RAPIDS          MI 49307‐9102
PROCTOR, JILL A           1381 FLORENCE PATH                                                                     THE VILLAGES        FL 32162‐7739
PROCTOR, JOE F            108 MOUNTAIN HOME RD                                                                   TRINITY             AL 35673‐5806
PROCTOR, JOHN H           4542 HODGINS RD                                                                        LACHINE             MI 49753
PROCTOR, JOHN S           4290 WILLIAMS RD                                                                       MARTINSVILLE        IN 46151‐9296
PROCTOR, JOHN SCOTT       4290 WILLIAMS RD                                                                       MARTINSVILLE        IN 46151‐9296
PROCTOR, JOHNNY B         4527 GRACE PL                                                                          JAMESVILLE          NY 13078‐9533
PROCTOR, JOSEPH
PROCTOR, JOSEPH           DR                                                                                     NORMAN             OK   73071
PROCTOR, KATHRYN A        3419 ROTHSHIRE CIRCLE                                                                  NORTH VERNON       IN   47265‐8736
PROCTOR, KELLY            5618 S SHEPARDSVILLE RD                                                                SAINT JOHNS        MI   48879‐9141
PROCTOR, KENNETH L        111 W NEEDMORE HWY                                                                     CHARLOTTE          MI   48813‐8627
PROCTOR, KENNETH W        1478 COUNTY ROAD 170                                                                   MOULTON            AL   35650‐6524
PROCTOR, KRISTEN D        1503 HERTFORD CT                                                                       OXFORD             MI   48371‐5956
PROCTOR, LARRY D          1341 COUNTY RD 234                                                                     MOULTON            AL   35650
PROCTOR, LARRY D          6445 SHANNON DR                                                                        HAMILTON           OH   45011‐5133
PROCTOR, LARRY E          2516 BALTIMORE AVE                                                                     INDIANAPOLIS       IN   46218‐2628
PROCTOR, LAWRENCE F       4636 PINEHURST AVE                                                                     GAYLORD            MI   49735‐9469
PROCTOR, LLOYD E          1037 EASTLAWN DR                                                                       NEW WHITELAND      IN   46184‐1040
PROCTOR, LOUISE V         5433 MAPLETREE DR                                                                      FLINT              MI   48532‐3334
PROCTOR, MARIA ROSARIA    2665 W PREDMORE RD                                                                     OAKLAND            MI   48363‐1142
PROCTOR, MARIAN ARIEULA   MOODY EDWARD O                 801 W 4TH ST                                            LITTLE ROCK        AR   72201‐2107
PROCTOR, MARTHA H         1005 WOODSHIRE WAY                                                                     LEXINGTON          KY   40515‐6226
PROCTOR, MARTIN W         4142 CAINE RD                                                                          VASSAR             MI   48768‐9579
PROCTOR, MARVIN L         10 MANHATTAN SQUARE DR         APT 7A                                                  ROCHESTER          NY   14607‐3981
PROCTOR, MARY A           35493 OAKDALE ST                                                                       LIVONIA            MI   48154‐2235
PROCTOR, MAX A            29766 MIRLON DR                                                                        FARMINGTON HILLS   MI   48331‐2062
PROCTOR, MICHAEL          1905 VICKSBURG CIR                                                                     COLUMBIA           TN   38401‐6808
PROCTOR, MICHAEL J        35493 OAKDALE ST                                                                       LIVONIA            MI   48154‐2235
PROCTOR, MILDRED E        7732 LAKE BLUFF 19.4 RD                                                                GLADSTONE          MI   49837‐2447
PROCTOR, MILTON R         8584 W CAMERON BRIDGE RD                                                               FREDERIC           MI   49733‐9765
PROCTOR, NAWARTHA D       116 W HIGH TER                                                                         ROCHESTER          NY   14619‐1835
PROCTOR, NELLIE M         5276 LIGHT CIR                                                                         NORCROSS           GA   30071‐4140
PROCTOR, NELROSE W        8906 NASHVILLE AVENUE                                                                  OAK LAWN           IL   60453‐1064
PROCTOR, OTTILIE M        4608 W WOODWAY DR                                                                      MUNCIE             IN   47304‐4182
PROCTOR, PATRICIA         308 W. BERKLY                                                                          MUNCIE             IN   47303‐1113
PROCTOR, PAUL W           3200 SHERPHARD RD                                                                      MARLETTE           MI   48453
PROCTOR, RAY              53 DARLINGTON RD                                                                       HAMILTON           OH   45011‐2423
PROCTOR, ROBERT A         104 CLARISSA LN                                                                        HOUGHTON LAKE      MI   48629‐8964
PROCTOR, ROLAND D         880 PINK WILSON RD                                                                     BOWIE              TX   76230‐1911
PROCTOR, RONALD E         10610 MOHAVE CT                                                                        FORT WAYNE         IN   46804‐6924
PROCTOR, SARAH V          65 PINTAIL COURT                                                                       PAWLEYS ISL        SC   29585‐7321
PROCTOR, SHERI E          390 WADSWORTH AVE APT 6B                                                               NEW YORK           NY   10040
PROCTOR, SONJIA F         9480 WAYNE RD                                                                          ROMULUS            MI   48174‐1571
PROCTOR, STEVEN J         1 DAUCH DRIVE                                                                          DETROIT            MI   48211‐1115
PROCTOR, THOMAS H         5618 S SHEPARDSVILLE RD                                                                SAINT JOHNS        MI   48879‐9141
PROCTOR, THOMAS N         5507 BRADLEY LN                                                                        ARLINGTON          TX   76017‐3021
PROCTOR, TIMOTHY A        14702 SWOVELAND RD                                                                     HAGERSTOWN         IN   47346‐9656
PROCTOR, TIMOTHY E        4743 SHERWOOD CIR                                                                      CANTON             MI   48188‐2243
PROCTOR, VIVIAN L         316 CHATHAM GDNS APT D                                                                 ROCHESTER          NY   14605‐2026
PROCTOR, WALTER C         18662 GREENWALD DR                                                                     SOUTHFIELD         MI   48075‐5804
PROCTOR, WAYNE M          32222 BRETTON ST                                                                       LIVONIA            MI   48152‐1541
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Name                                 Address1                          Address2                       Address3                     Address4         City             State Zip
PROCTOR, WILLIAM C                   613 BRADFIELD DR                                                                                               TROTWOOD          OH 45426‐2501
PROCTOR, WILLIAM G                   2665 W PREDMORE RD                                                                                             OAKLAND           MI 48363‐1142
PROCTOR, WILLIAM G                   6142 CROMWELL ST                                                                                               ENGLEWOOD         FL 34224‐8981
PROCTOR, WILLIAM H                   16530 STAGECOACH DR                                                                                            GARRETTSVILLE     OH 44231‐9536
PROCTOR, WILLIAM R                   712 BRADFIELD DR                                                                                               TROTWOOD          OH 45426‐2504
PROCTOR,DONALD A                     658 MONTANA DR                                                                                                 XENIA             OH 45385‐4453
PROCULO GONZALEZ                     511 WILCOX RD APT B                                                                                            AUSTINTOWN        OH 44515‐6227
PROCUNIAR, DAVID C                   3598 HARRY TRUMAN RD                                                                                           BEAVERCREEK       OH 45432‐2272
PROCUNIAR, VICKI A                   6219 CARNATION RD                                                                                              DAYTON            OH 45449‐3059
PROCUNIER, JAMES B                   9532 GRAY FOX DR                                                                                               WEEKI WACHEE      FL 34613‐3977
PROCUNIER, KURT A                    2237 HILLWOOD DR                                                                                               DAVISON           MI 48423‐9572
PROCUNIER, LARRY L                   8705 WABASH LN                                                                                                 PORT RICHEY       FL 34668‐2440
PROCUREMENT RES/PEAC                 111 PETROL POINT                  SUITE 204                                                                    PEACHTREE CITY    GA 30269
PROCY, JOHN                          3491 OREGON CT                                                                                                 MONROE            MI 48161‐9517
PROCYK, OLGA                         4679 LEHIGH DR                                                                                                 TROY              MI 48098‐4405
PROD CON/DAYTON                      2260 WEST DOROTHY LANE                                                                                         MORAINE           OH 45439
PRODAN JOHN J (494111)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510
                                                                       STREET, SUITE 600
PRODAN, GEORGE M                     25225 HALL DR                                                                                                  WESTLAKE         OH 44145‐4925
PRODAN, JOHN J                       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
PRODIGIOUS
PRODIGIOUS, PUBLICIS GROUPE          ED VOGT, MARKETING OPERATIONS     100 CUSTOMER RENAISSANCE CTR   10TH FLOOR, MC 482‐A11‐C24                                     MI 48265‐0001
OPERATING
PRODIN, ANNA M                       414 KINGSBURY AVE                                                                                              DEARBORN         MI    48128‐1578
PRODINGER, ROBERT T                  1304 BERRYWOOD PL                                                                                              LANSING          MI    48917‐1507
PRODOEHL, JOSEPH M                   W258N9447 RIVERVIEW DR                                                                                         COLGATE          WI    53017‐9657
PRODROMOS PRODROMOU                  4024 BAKER LN                                                                                                  BALTIMORE        MD    21236‐1003
PRODROMOU, PRODROMOS                 4024 BAKER LN                                                                                                  BALTIMORE        MD    21236‐1003
PRODUCERS COLOR SERVICE INC          24242 NORTHWESTERN HWY                                                                                         SOUTHFIELD       MI    48075‐2549
PRODUCERS INC                        ATTN: JACKIE SMITH                647 BUENA VISTA ST # 2                                                       MT MORRIS        MI    48458‐1995
PRODUCT & TOOLING TECHNOLOGIES       LUKE FRITZ                        33957 RIVIERA                                                                LIMA             OH    45802
PRODUCT & TOOLING TECHNOLOGIES       33957 RIVIERA                                                                                                  FRASER           MI    48026
PRODUCT & TOOLING TECHNOLOGIESINC    33957 RIVIERA                                                                                                  FRASER           MI    48026‐1614

PRODUCT AC/CHICAGO                   2506 RELIABLE PKWY                                                                                             CHICAGO           IL   60686‐0001
PRODUCT AC/INDIANAPO                 7998 CENTERPOINT DR STE 800                                                                                    INDIANAPOLIS      IN   46256‐3372
PRODUCT ACTION INTERNATIONAL         7998 CENTERPOINT DR STE 800                                                                                    INDIANAPOLIS      IN   46256‐3372
PRODUCT ACTION INTERNATIONAL         2506 RELIABLE PKWY                                                                                             CHICAGO           IL   60686‐0001
PRODUCT ACTION INTERNATIONAL I       2506 RELIABLE PKWY                                                                                             CHICAGO           IL   60686‐0001
PRODUCT ACTION INTERNATIONAL I       7998 CENTERPOINT DR STE 800       PO BOX 501362                                                                INDIANAPOLIS      IN   46256‐3372
PRODUCT ACTION INTERNATIONAL INC

PRODUCT ACTION INTERNATIONAL INC     2506 RELIABLE PKWY                                                                                             CHICAGO           IL   60686‐0001

PRODUCT ACTION INTERNATIONAL INC     7998 CENTERPOINT DR STE 800                                                                                    INDIANAPOLIS      IN   46256‐3372

PRODUCT ACTION INTERNATIONAL INC     7998 CENTERPOINT DR STE 800       PO BOX 501362                                                                INDIANAPOLIS      IN   46256‐3372

PRODUCT LIABILITY ADVISORY COUNCIL   1850 CENTENNIAL PARK DR                                                                                        RESTON           VA 20191
INC STE 510
                                     09-50026-mg             Doc 7123-32       Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                                Address1                             Address2                 Address3     Address4              City              State Zip
PRODUCT LIABILITY                   1001 19TH ST N STE 800                                                                           ARLINGTON          VA 22209‐1737
COORDINATINGCOMMITTEE
PRODUCT SUPPORT SERVICES INC        4051 N HIGHWAY 121 STE 200                                                                       GRAPEVINE         TX   76051‐2321
PRODUCTACT/INDIANAPO                7998 CENTERPOINT DR STE 800                                                                      INDIANAPOLIS      IN   46256‐3372
PRODUCTION ACCESSORIES CO           123 E GOLDEN GATE                                                                                DETROIT           MI   48203‐2053
PRODUCTION ACCESSORIES COMPANY      123 E GOLDEN GATE                                                                                DETROIT           MI   48203‐2053
PRODUCTION CON/DAYTO                2280 W DOROTHY LN                                                                                MORAINE           OH   45439‐1824
PRODUCTION CONTROL UNITS            2280 W DOROTHY LN                                                                                MORAINE           OH   45439‐1824
PRODUCTION CONTROL UNITS INC        2280 W DOROTHY LN                                                                                MORAINE           OH   45439‐1824
PRODUCTION HANDLING SYSTEMS         DBA HOVAIR AUTOMOTIVE                2855 MICHIGAN RD                                            MADISON           IN   47250‐1814
PRODUCTION IND/STHFL                19424 W 8 MILE RD                                                                                SOUTHFIELD        MI   48075‐5728
PRODUCTION INDUSTRIES INC           1048 MAIN ST                                                                                     FRANKFORT         MI   49635‐9701
PRODUCTION MACHINING OF             ALMA INC                             6595 N JEROME RD                                            ALMA              MI   48801‐9706
PRODUCTION MACHINING OF ALMA        RON RUPP                             6595 N JEROME RD                                            ALMA              MI   48801‐9706
PRODUCTION MACHINING OF ALMA        RON RUPP                             6595 JEROME ROAD                                            NICHOLASVILLE     KY   40356
PRODUCTION MACHINING OF ALMA INC    RON RUPP                             6595 JEROME ROAD                                            NICHOLASVILLE     KY   40356

PRODUCTION MACHINING OF ALMA INC    RON RUPP                             6595 N JEROME RD                                            ALMA              MI 48801‐9706

PRODUCTION METAL FINISHERS INC      1802 CURRIE ST                                                                                   RICHMOND          VA 23220‐1710
PRODUCTION MODELING CORP
PRODUCTION MODELING CORP            15726 MICHIGAN AVE                                                                               DEARBORN          MI 48126‐2903
PRODUCTION PAINT STRIPPING
PRODUCTION PAINT STRIPPING LTD      11 MCLACHLAN DR                                                            ETOBICOKE CANADA ON
                                                                                                               M9W 1E3 CANADA
PRODUCTION PRODUCTS INC             9124 CODY ST                                                                                     OVERLAND PARK     KS   66214‐1732
PRODUCTION SCREW MACHINE            1414 E 2ND ST                                                                                    DAYTON            OH   45403‐1023
PRODUCTION SERVICE CO INC           404 PILOT CT                                                                                     WAUKESHA          WI   53188‐2439
PRODUCTION SERVICE MANAGEMENT, INC. 1255 BEACH CT                                                                                    SALINE            MI   48176‐9185

PRODUCTION SERVICE MANAGEMENT, INC. ATTN: CORPORATE OFFICER/AUTHORIZED   1255 BEACH CT                                               SALINE            MI 48176‐9185
                                    AGENT
PRODUCTION SERVICES                 1255 BEACH CT                                                                                    SALINE            MI 48176‐9185
PRODUCTION SERVICES MANAGEMENT      1255 BEACH CT                                                                                    SALINE            MI 48176‐9185

PRODUCTION SERVICES MANAGEMENT INC 1255 BEACH CT                                                                                     SALINE            MI 48176‐9185

PRODUCTION SOLUTIONS INC            PO BOX 2252                                                                                      JANESVILLE        WI   53547‐2252
PRODUCTION SOLUTIONS OF WILMIN      297 LOUISE ST                                                                                    WILMINGTON        OH   45177‐1717
PRODUCTION SPECIALTY                DIV OF RGL ENTERPRISES INC           1601 N HARPER ROAD EXT                                      CORINTH           MS   38834‐3713
PRODUCTION SPR/RSVIL                1151 ALLEN DR                                                                                    TROY              MI   48083‐4002
PRODUCTION SPRING                   LUCY ALLENX107                       1151 ALLEN DR                                               TROY              MI   48083‐4002
PRODUCTION SPRING                   LUCY ALLENX107                       15890 STURGEON CT.                                          ATHENS            GA   30613
PRODUCTION SPRING CORP              LUCY ALLENX107                       1151 ALLEN DR                                               TROY              MI   48083‐4002
PRODUCTION SPRING CORP              1151 ALLEN DR                                                                                    TROY              MI   48083‐4002
PRODUCTION SPRING CORP              LUCY ALLENX107                       15890 STURGEON CT.                                          ATHENS            GA   30613
PRODUCTION SPRING LLC               1151 ALLEN DR                                                                                    TROY              MI   48083‐4002
PRODUCTION SUPPORT SERVICES INC     2880 WAUSAUKEE DR NE                                                                             GRAND RAPIDS      MI   49525‐1912
PRODUCTION TECHNOLOGIES LLC         20530 HOOVER ST                                                                                  DETROIT           MI   48205‐1064
PRODUCTION TO/MADHTS                32011 STEPHENSON HWY                                                                             MADISON HEIGHTS   MI   48071‐1045
PRODUCTION TOOL CO OF CLEVELAN      9002 DUTTON DR                                                                                   TWINSBURG         OH   44087‐1931
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PRODUCTION TOOL CO OF CLEVELAND       ATTN: CORPORATE OFFICER/AUTHORIZED   9002 DUTTON DR                                                                        TWINSBURG           OH 44087‐1931
                                      AGENT
PRODUCTION TOOL CO\CLEVELAND INC      9002 DUTTON DR                                                                                                             TWINSBURG          OH 44087‐1931

PRODUCTION TOOL SUPPLY CO             8655 E 8 MILE RD                                                                                                           WARREN             MI    48089‐3019
PRODUCTION TOOL SUPPLY CO             PO BOX 67000                                                                                                               DETROIT            MI    48267‐0587
PRODUCTION TOOL SUPPLY CO             4416 N GRAND RIVER AVE                                                                                                     LANSING            MI    48906‐2613
PRODUCTION TOOL SUPPLY OF OHIO        10801 BROOKPARK RD                                                                                                         CLEVELAND          OH    44130‐1120
DESSIL TOOL & MACH
PRODUCTIONS PLUS                      30600 TELEGRAPH RD STE 2156                                                                                                BINGHAM FARMS      MI 48025‐4532
PRODUCTIVE ACCESS INC                 148 N WILLIAMSBURY RD                                                                                                      BLOOMFIELD HILLS   MI 48301‐2769
PRODUCTIVE ACCESS INC
PRODUCTIVE ACCESS INC                 22343 LA PALMA AVE STE 110                                                                                                 YORBA LINDA        CA    92887‐3804
PRODUCTIVE ACCESS INC                 BRAD HONTZ                           22343 LA PALMA AVE, STE 110                                                           YORBA LINDA        CA    92887
PRODUCTIVE TOOL PRODUCTS INC          1075 HEADQUARTERS PARK DR                                                                                                  SAINT LOUIS        MO    63026
PRODUCTIVE TRANSPORATION SERVICES     530 GRAND ISLAND BLVD                                                                                                      TONAWANDA          NY    14150‐6520
CORP
PRODUCTIVITY IMPROVEMENT CENTER       FRMLY DURHAM COLLEGE OF APPLIE       PO BOX 5600 UNIT 80683 STATION                              BURLINGTON CANADA ON
                                                                                                                                       17R 4X3 CANADA
PRODUCTIVITY IMPROVEMENT CENTER INC 36510 TREASURY CTR                                                                                                           CHICAGO             IL   60694‐6500

PRODUCTIVITY POINT INTERNATIONAL      DEPARTMENT CH10172                                                                                                         PALATINE            IL   60055‐0172
PRODUCTIVITY POINT INTL SAN ANTONIO   45 NE LOOP 410 STE 300                                                                                                     SAN ANTONIO         TX   78216‐5830

PRODUCTIVITY PR/IL                    2427 BOND ST                                                                                                               UNIVERSITY PARK    IL 60466‐3177
PRODUCTO CHEMICALS INC                3000 DISNEY AVE                                                                                                            CINCINNATI         OH 45209‐5028
PRODUCTO DIEMAKERS SUPPLIES LT        641 CHRISLEA RD UNIT 4                                                                           WOODBRIDGE ON L4L 8A3
                                                                                                                                       CANADA
PRODUCTO DIEMAKERS SUPPLIES LTD       641 CHRISLEA RD UNIT 4                                                                           WOODBRIDGE ON L4L 8A3
                                                                                                                                       CANADA
PRODUCTOS DELCO DE CHIHUAHUA          LISA FILES                           32 CELERITY WAGON ST             C/O DELPHI‐E&C ‐ EL PASO                             EL PASO             TX   79906‐5315
PRODUCTOS DELCO DE CHIHUAHUA          DELPHI ENERGY & CHASSIS SYS          32 CELERITY WAGON ST                                                                  EL PASO             TX   79906‐5315
PRODUCTOS DELCO DE CHIHUAHUA          SUSAN MARSH                          32 CELERITY WAGON ST             C/O DELPHI‐E&C ‐ EL PASO                             EL PASO             TX   79906‐5315
PRODUCTOS DELCO DE CHIHUAHUA          LISA FILES                           C/O DELPHI‐E&C ‐ EL PASO         32 CELERITY WAGON ST                                 EL PASO             TX   79906‐5315
PRODUCTOS DELCO DE CHIHUAHUA          SUSAN MARSH                          C/O DELPHI‐E&C ‐ EL PASO         32 CELERITY WAGON ST                                 EL PASO             TX   79906‐5315
PRODUFLEX IND DE BORRACHAS LTDA       AV AFONSO MONTEIRO DA CRUZ           1449 SERRARIA DIADEMA                                       SAO PAULO BRAZIL BRAZIL
PRODUFLEX INDUSTRIA DE BORRACHAS LT   AV AFONSO MONTEIRO DA CRUZ 1.449     SERRARIA                                                    DIADEMA SP 09980 903
                                                                                                                                       BRAZIL
PROEBSTLE JANE ESTATE OF              C/O AMY PALMAFFY                     6557 CAMELIA DRIVE                                                                    SAN JOSE           CA    95120‐4607
PROEFKE, DAVID T                      28618 HALES ST                                                                                                             MADISON HEIGHTS    MI    48071‐2925
PROEHL, GERALD D                      3343 DOERR RD                                                                                                              MANCELONA          MI    49659‐9757
PROEHL, MICHAEL A                     610 JACK BURDEN RD                   LOT 16                                                                                WICKENBURG         AZ    95390‐1556
PROEN, JAMES                          PO BOX 1646                                                                                                                ROYAL OAK          MI    48068‐1646
PROEN, JOHN                           412 CENTRAL PARK DR APT A                                                                                                  ARLINGTON          TX    76014‐4581
PROESCHER, DONALD                     1214 WEDDEL AVE                                                                                                            BALTIMORE          MD    21227‐1048
PROESEL, BRUCE N                      2321 W WOODWARD DR                                                                                                         OAK CREEK          WI    53154
PROESEL, JAMES E                      635 PARK RIDGE RD                                                                                                          WATERFORD          WI    53185‐4480
PROESEL, SHIRLEY A                    635 PARK RIDGE RD                                                                                                          WATERFORD          WI    53185‐4480
PROEZA SA DE CV                       CARRETERA MIGUEL ALEMAN KM 16.5                                                                  APODACA NL 66600
                                                                                                                                       MEXICO
PROEZA SA DE CV                       CARRETERA MIGUEL ALEMAN KM 16.5      #100                                                        APODACA NL 66600
                                                                                                                                       MEXICO
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Name                                  Address1                              Address2                       Address3                   Address4                 City              State Zip
PROEZA SA DE CV                       CIRO VALDES                           AV INDUSTRIAS #4410 MANZANA    3 ZONE INDUSTRIAL 2A SEC   SAN LUIS POTOSI SLP DF
                                                                                                                                      78090 MEXICO
PROEZA SA DE CV                       DAVID GOMEZ                           CARRETERA MIGUEL ALEMAN                                   CLAYTON, VICTORIA
                                                                            KM16.5                                                    AUSTRALIA
PROEZA SA DE CV                       3940 OLIMPIC BLVD, SUITE 400                                                                                             ERLANGER           KY   41018
PROEZA SA DE CV                       3940 OLYMPIC BLVD, SUITE 400                                                                                             ERLANGER           KY   41018
PROEZA SA DE CV                       CONSTITUACION 405 PTE                                                                           MONTERREY, NL 64000
                                                                                                                                      MEXICO
PROF DR GISELA SOHEELE                PROF DR J▄RGEN SCHEELE                ST▄TTGERHOFWEG 40                                         50858 K╓LN GERMANY
PROF DR HELMURT REIHLEN & DR ERIKA    WUEFFSTR 12                                                                                     D‐12165 BERLIN GERMANY
REIHLEN
PROF DR JAN MIKRUT                    VIALE LEONARDO DA VINCI N 83 INT 19                                                             C A P 00145 ROMA ITALY
PROF. DR PETER BURG                   SCHOPPINGENWEG 49                                                                               48149 MUNSTER GERMANY
PROF. DR. JAN MIKRUT                  VIALE LEONARDO DA VINCI N. 83
PROFANCHIK, JEAN M                    326 W STATE ST                                                                                                           NILES             OH 44446‐1553
PROFESSIONAL ACCOUNT MANAGEMENT       PO BOX 391                            COLLECTION SERVICES DIVISION                                                       MILWAUKEE         WI 53201‐0391
LLC
PROFESSIONAL AFFAIRS                PO BOX 81111                                                                                                               CONYERS           GA    30013‐9111
PROFESSIONAL AIR/MI                 1415 RENSEN STREET                                                                                                         LANSING           MI    48910
PROFESSIONAL ANESTHE                PO BOX 72362                                                                                                               CLEVELAND         OH    44192‐0002
PROFESSIONAL ANESTHE                PO BOX 931338                                                                                                              CLEVELAND         OH    44193‐1524
PROFESSIONAL ANESTHE                PO BOX 804408                                                                                                              KANSAS CITY       MO    64180‐4408
PROFESSIONAL AUTO CARE CENTER       200 N US HIGHWAY 31                                                                                                        WHITELAND         IN    46184‐1462
PROFESSIONAL AUTO SERVICE INC       839 W CAROLINA AVE                                                                                                         HARTSVILLE        SC    29550‐4413
PROFESSIONAL AUTO TRANSPORT INC     PO BOX 646                                                                                                                 MIRA LOMA         CA    91752‐0646
PROFESSIONAL AUTO TRANSPORT INC     ATTN: CORPORATE OFFICER/AUTHORIZED      PO BOX 646                                                                         MIRA LOMA         CA    91752‐0646
                                    AGENT
PROFESSIONAL AUTOMOTIVE             RELOCATION SERVICES OF CT LLC           83 E AVE STE 108                                                                   NORWALK            CT   06854
PROFESSIONAL AUTOMOTIVE             RELOCATION SERVICES INC                 8186 LEES RIDGE RD                                                                 WARRENTON          VA   20186‐8732
PROFESSIONAL AUTOMOTIVE             3870 HIXSON PIKE                                                                                                           CHATTANOOGA        TN   37415‐3562
PROFESSIONAL AUTOMOTIVE             210 E POTTER DR                                                                                                            ANCHORAGE          AK   99518‐1365
PROFESSIONAL AUTOMOTIVE             5510 COMMON ST                                                                                                             LAKE CHARLES       LA   70607‐6918
PROFESSIONAL AUTOMOTIVE RELOCATION ATTN: CORPORATE OFFICER/AUTHORIZED       83 EAST AVE STE 108                                                                NORWALK            CT   06851‐4902
SERVICES OF CT LLC                  AGENT
PROFESSIONAL AUTOMOTIVE SERVICE INC 4706 US HIGHWAY 41 N                                                                                                       PALMETTO           FL   34221‐8861

PROFESSIONAL AUTOMOTIVE SERVICES INC 564 BEAUDROT RD                                                                                                           GREENWOOD          SC   29649‐8972

PROFESSIONAL BARTENDING SCHOOL        2324 GRANGE HALL RD                                                                                                      DAYTON            OH    45431‐2345
PROFESSIONAL BARTENDING SCHOOL        2710 OLD LEBANON RD STE 218                                                                                              NASHVILLE         TN    37214‐2159
PROFESSIONAL BREATHING ASSOC          39201 SCHOOLCRAFT RD # B1                                                                                                LIVONIA           MI    48150‐1069
PROFESSIONAL CAREER DEVELOPMENT       430 TECHNOLOGY PKWY                                                                                                      NORCROSS          GA    30092‐3406
INSTITUTE
PROFESSIONAL CAREER DEVELOPMENT       6065 ROSWELL RD STE 3118                                                                                                 ATLANTA            GA 30328
INSTITUTE
PROFESSIONAL CAREERS INSTITUTE        23300 GREENFIELD RD STE 203                                                                                              OAK PARK           MI 48237‐8410
PROFESSIONAL CAREERS INSTITUTEPCI     7302 WOODLAND DR                                                                                                         INDIANAPOLIS       IN 46278‐1736
PROFESSIONAL CARRIERS & BROKERS INC   PO BOX 415                                                                                                               BUFFALO            NY 14225‐0415

PROFESSIONAL CENTER AT THE GARDENS    1601 FORUM PL STE 200                 C\O MERIN HUNTER CODMAN INC                                                        WEST PALM BEACH    FL   33401‐8102
MALL LTD
PROFESSIONAL COLLECTIBLES, LIMITED
                                      09-50026-mg              Doc 7123-32    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                  Address1                         Address2                         Address3   Address4                City            State Zip
PROFESSIONAL CONSULTING ASSOCI        50025 ALDWYCH ST                                                                                     MACOMB           MI 48044‐1126
PROFESSIONAL CONSULTING ASSOCIATES    50025 ALDWYCH ST                                                                                     MACOMB           MI 48044‐1126
INC
PROFESSIONAL COURIER INT'L INC        KEVIN LATIMERE                   5195 ENGLE RD                                                       BROOK PARK      OH 44142‐1530
PROFESSIONAL DELIVERY & COURIER       7055 ENGLE ROAD SUITE 4‐402                                                                          MIDDLEBRG HTS   OH 44130
PROFESSIONAL DETAILERS INC            22622 LAMBERT ST STE 305                                                                             LAKE FOREST     CA 92630‐1669
PROFESSIONAL DISPATCH GROUP
PROFESSIONAL DISPATCH GRP             980 E MAIN ST                    REMOVED 6‐7‐00                              WELLAND CANADA ON L3B
                                                                                                                   3Y9 CANADA
PROFESSIONAL DRAPERY SCHOOL        51 EDEN GLEN RD                                                                                         BLACK MTN       NC 28711‐7721
PROFESSIONAL EDUCATION CORPORATION PO BOX 20718                                                                                            INDIANAPOLIS    IN 46220‐0718

PROFESSIONAL EDUCATIONAL SYSTEMS      PO BOX 1428                      200 SPRING STREET                                                   EAU CLAIRE      WI 54702‐1428
INC
PROFESSIONAL ELECTRIC PRODUCTS        501 PHILLIPS AVE                                                                                     TOLEDO          OH 43612‐1328
PROFESSIONAL ELECTRIC PRODUCTS        33210 LAKELAND BLVD              PO BOX 1570                                                         WILLOUGHBY      OH 44095‐5205
PROFESSIONAL ELECTRIC                 33210 LAKELAND BLVD                                                                                  EASTLAKE        OH 44095‐5205
PRODUCTSCOMPANY
PROFESSIONAL EMERG C                  PO BOX 1257                                                                                          TROY            MI    48099‐1257
PROFESSIONAL EMERGEN                  PO BOX 12949                                                                                         FORT WAYNE      IN    46866‐2949
PROFESSIONAL EMERGEN                  PO BOX 8000                                                                                          BUFFALO         NY    14267‐0002
PROFESSIONAL ENDODONTICS              ACCT OF CLEON SQUIREWELL         3000 TOWN CENTER STE 220                                            SOUTHFIELD      MI    48075
PROFESSIONAL ENGINEERING ASSOC        2430 ROCHESTER CT STE 100                                                                            TROY            MI    48083‐1862
PROFESSIONAL ENGINEERING ASSOC INC    2430 ROCHESTER CT STE 100                                                                            TROY            MI    48083‐1862

PROFESSIONAL ENGINEERING ASSOCIATES   2430 ROCHESTER CT STE 100                                                                            TROY            MI 48083‐1862
INC
PROFESSIONAL ENGINEERING              2430 ROCHESTER CT STE 100                                                                            TROY            MI 48083‐1862
ASSOCIATION
PROFESSIONAL ENGINEERS GROUP INC      136 S NINTH ST STE 106                                                                               NOBLESVILLE      IN   46060
PROFESSIONAL ENGINEERS ONTARIO        1000‐25 SHEPPARD AVE W                                                       TORONTO CANADA ON
                                                                                                                   M2N 6S9 CANADA
PROFESSIONAL ENVIRONMENTAL            TRAINERS ASSOCIATION             1821 SPENCER ST STE 2                                               TOLEDO          OH    43609
PROFESSIONAL EXPEDITING INC           847 LANE ALLEN RD                                                                                    LEXINGTON       KY    40504‐3605
PROFESSIONAL EXPRESS                  5195 ENGLE RD                                                                                        BROOK PARK      OH    44142‐1530
PROFESSIONAL FINANCI                  245 STATE ST SE STE 1A                                                                               GRAND RAPIDS    MI    49503‐4328
PROFESSIONAL GOLFCAR CORP             PO BOX 250                                                                                           BLOOMINGTON     IN    47402‐0250
PROFESSIONAL GROUNDS SERVICE L        23077 GREENFIELD RD STE 107                                                                          SOUTHFIELD      MI    48075‐3744
PROFESSIONAL GROUNDS SERVICES LLC     23077 GREENFIELD RD STE 107                                                                          SOUTHFIELD      MI    48075‐3744

PROFESSIONAL GROUP PLANS INC          ATTN: LEO TRYDULEC               1150 RARITAN RD # 203                                               CRANFORD        NJ    07016‐3369
PROFESSIONAL HOME INSPECTION          INSTITUTE C/O BE ONLINE INC      PO BOX 303                                                          MADISON         SD    57042‐0303
PROFESSIONAL IMAGING                  PO BOX 36952                                                                                         CANTON          OH    44735‐6952
PROFESSIONAL INSTITUTE                AMERICAN STRATEGIC MANAGEMENT    1515 N. COURTHOUSE ROAD, SUITE                                      ARLINGTON       VA    22201

PROFESSIONAL MANAGERS NETWORK         G3100 VAN SLYKE RD                                                                                   FLINT           MI    48551‐0001
PROFESSIONAL MANAGERS NETWORK         2300 HALLOCK YOUNG RD SW                                                                             WARREN          OH    44481‐9238
PROFESSIONAL MANAGERS NETWORK         LORDSTOWN METAL CENTER           2369 ELLSWORTH BAILEY RD SW                                         WARREN          OH    44481‐9235
PROFESSIONAL MARKETING ASSOCIATES,    HAROLD JANKE                     120 MC CABE ST                                                      PENDER          NE    68047
INC.
PROFESSIONAL MOVERS INC               1270 N PONTIAC TRL                                                                                   WALLED LAKE     MI 48390‐3139
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Name                                   Address1                         Address2                Address3              Address4               City              State Zip
PROFESSIONAL OUTDOOR MEDIA             PO BOX 1569                                                                                           JOHNSTOWN          PA 15907‐1569
ASSOCIATION
PROFESSIONAL PAINTING COMPANY          PATTERSON, STEVEN L              39938 BARBARA ST                                                     FREMONT           CA    94538
PROFESSIONAL PAINTING COMPANY          ZAMORA, LEONARDO                 ANDREW SHIN             2131 THE ALAMEDA      STE A                  SAN JOSE          CA    95126‐1142
PROFESSIONAL PAINTING COMPANY          SIEGEL MORENO & STETTLER         39938 BARBARA ST                                                     FREMONT           CA    94538‐2902
PROFESSIONAL PHOTOGRAPHERS OF          19276 EUREKA RD                                                                                       SOUTHGATE         MI    48195‐2927
MICHIGAN
PROFESSIONAL PLASTICS INC              171 CREEKSIDE DR                                                                                      AMHERST           NY    14228‐2030
PROFESSIONAL PLASTICS INC              3242 UNION RD                                                                                         CHEEKTOWAGA       NY    14227‐1044
PROFESSIONAL PRODUCT & MFG SOL         3518 WAYLAND DR                                                                                       JACKSON           MI    49202‐1234
PROFESSIONAL PRODUCT & MFG             3518 WAYLAND DR                                                                                       JACKSON           MI    49202‐1234
SOLUTION
PROFESSIONAL PSYCHIA                   PO BOX 712506                                                                                         CINCINNATI        OH    45271‐2506
PROFESSIONAL PUMP INC                  41300 COCA COLA DR                                                                                    BELLEVILLE        MI    48111‐1669
PROFESSIONAL RAD INC                   PO BOX 630110                                                                                         CINCINNATI        OH    45263‐0110
PROFESSIONAL REHAB S                   PO BOX 2449                                                                                           SHAWNEE MISSION   KS    66201‐2449
PROFESSIONAL REHABILITATIVE SERVICES   PO BOX 2449                                                                                           SHAWNEE MISSION   KS    66201‐2449
INC PA
PROFESSIONAL REMODELERS OF OHIO        3500 LORAIN AVE STE 200                                                                               CLEVELAND         OH 44113‐3725
PROFESSIONAL RESOURCE GROUP INC        901 WATERFALL WAY STE 205                                                                             RICHARDSON        TX 75080‐6791
PROFESSIONAL RESOURCE MANAGEMENT       4421 SCOTIA DR                                                                                        FORT WAYNE        IN 46814‐9792

PROFESSIONAL RESOURCE MGMT INC         4421 SCOTIA DR                                                                                        FORT WAYNE        IN    46814‐9792
PROFESSIONAL RESTORATIONS                                               4401 EASTERN AVE                                                                       MD    21224
PROFESSIONAL SALES INST INC            ACCOUNTS RECEIVABLE DEPT         30 N UNION ST STE 100                                                ROCHESTER         NY    14607‐1345
PROFESSIONAL SANITARY SUPPLY           ATTN: PETER EVANS                2935 WATERVIEW DR                                                    ROCHESTER HILLS   MI    48309‐4600
PROFESSIONAL SECRETARIES               6565 FRANTZ RD                   OCLC INC                                                             DUBLIN            OH    43017‐3395
INTERNATIONAL COLUMBUS CHAPTER
PROFESSIONAL SECRETARIES INTL          ATTN CPS SEMINAR COORD           PO BOX 20404            10502 NW AMBASSADOR                          KANSAS CITY       MO 64195‐0404
                                                                                                DRIVE
PROFESSIONAL SERVICE INDUSTRIE         1000 N OPDYKE RD STE C                                                                                AUBURN HILLS      MI 48326‐2672
PROFESSIONAL SERVICE INDUSTRIES INC    510 E 22ND ST                                                                                         LOMBARD           IL 60148‐6110

PROFESSIONAL STEER & BRAKE             1728 KING ST E                                                                 CAMBRIDGE ON N3H 3R8
                                                                                                                      CANADA
PROFESSIONAL SUPPLY INC                504 LIBERTY ST                                                                                        FREMONT           OH 43420‐1929
PROFESSIONAL TECHNICAL PACKAGI         157 BISHOPSGATE RD                                                             SCOTLAND ON N0E 1R0
                                                                                                                      CANADA
PROFESSIONAL TECHNICAL PACKAGING       157 BISHOPSGATE RD                                                             SCOTLAND ON N0E 1R0
                                                                                                                      CANADA
PROFESSIONAL TECHNICAL PACKAGING       157 BISHOPSGATE RD               GST ADDED 06/01/06 AH                         SCOTLAND CANADA ON
                                                                                                                      N0E 1R0 CANADA
PROFESSIONAL TECHNOLOGIES SERVICES     808 N MICHIGAN AVE                                                                                    SAGINAW           MI 48602‐4321

PROFESSIONAL THERAPE                   PO BOX 643407                                                                                         PITTSBURGH        PA 15264‐3407
PROFESSIONAL TIRE & RADIATOR SERVICE   3525 MAIN ST                                                                                          COLUMBIA          SC 29203‐6436

PROFESSIONAL TRANSPORTATION SERVICE 1910 E WATERLOO RD                                                                                       AKRON             OH 44312‐3018
INC
PROFESSIONAL WRECKER OPERATIONS OF 4718 EDGEWATER DR                                                                                         ORLANDO            FL   32804‐1124
FLORIDA INC
PROFESSIONAL/CHATTAN                1710 STARBOARD DR                                                                                        HIXSON            TN 37343‐4660
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Name                           Address1                              Address2                      Address3   Address4                 City                  State Zip
PROFESSOR MARCO DI NATALE      SCUOLA SUPERIORE S. ANA UNIVERSITY IN PIAZZA DEI CAVALIERI 7                   56126 PISA ITALY
                               PISA
PROFETA, JAMES R               534 SADDLE LN                                                                                           GROSSE POINTE WOODS   MI    48236‐2729
PROFFER, DENNIS C              2026 NOBLE AVE                                                                                          FLINT                 MI    48532‐3914
PROFFER, DENNIS CARLYLE        2026 NOBLE AVE                                                                                          FLINT                 MI    48532‐3914
PROFFER, DONNA F               5500 BOLAND DR                                                                                          GRAND BLANC           MI    48439‐5104
PROFFER, ERIC S                10181 MAPLE RD                                                                                          BIRCH RUN             MI    48415‐8416
PROFFER, LINDA L               5449 WOODLAWN DR                                                                                        FLINT                 MI    48506‐1105
PROFFER, MARVA L               1251 CHERRYLAWN                                                                                         PONTIAC               MI    48340
PROFFER, MARVA L               5565 PARKWOOD BLVD                                                                                      CLARKSTON             MI    48346‐3104
PROFFER, NANCY J               300 SHOREVIEW DR.                                                                                       HOUGHTON LAKE         MI    48629‐9688
PROFFER, NANCY J               300 SHORE VIEW DR                                                                                       HOUGHTON LAKE         MI    48629‐9688
PROFFER, ROBERT D              2480 MEADOWCROFT DR                                                                                     BURTON                MI    48519‐1270
PROFFIT JR, CLAUDE P           963 BENFIELD DR                                                                                         KETTERING             OH    45429‐4402
PROFFIT JR,CLAUDE P            963 BENFIELD DR                                                                                         KETTERING             OH    45429‐4402
PROFFIT, ANTHONY J             2451 PANSY RD                                                                                           CLARKSVILLE           OH    45113‐8640
PROFFIT, CAROL R               691 SOUTH RIVERVIEW AVE                                                                                 MIAMISBURG            OH    45342‐5342
PROFFIT, FREEDA D              1395 SOUTH 9TH ST                                                                                       NOBLESVILLE           IN    46060‐3750
PROFFIT, FREEDA D              1395 S 9TH ST                                                                                           NOBLESVILLE           IN    46060‐3750
PROFFITT JAMES W JR (429648)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK               VA    23510
                                                                     STREET, SUITE 600
PROFFITT JR, PAUL E            10867 AMITY RD                                                                                          BROOKVILLE            OH    45309‐9322
PROFFITT MALCOLM               3918 SIENA TER                                                                                          GREENSBORO            NC    27410
PROFFITT, BOBBY J              195 COUNTY ROAD 591                                                                                     TRINITY               AL    35673‐4138
PROFFITT, DORIS W              307 LAWSON AVE                        C/O ANTHONY MILLER                                                NEW LEBANON           OH    45345‐1442
PROFFITT, EUGENE F             38 CARLYLE E                                                                                            BELLEVILLE            IL    62221‐4517
PROFFITT, EUGENE F             38 CARLYLE EAST                                                                                         BELLEVILLE            IL    62221‐4517
PROFFITT, GARY L               PO BOX 2031                                                                                             MIDDLEBURG            FL    32050‐2031
PROFFITT, GILBERT              1565 ORCHARD VALLEY DR                                                                                  MILFORD               OH    45150‐9407
PROFFITT, HENRY C              1653 EVALIE DR                                                                                          FAIRFIELD             OH    45014‐3514
PROFFITT, IVA                  1183 CLEVELAND AVE.                                                                                     HAMILTON              OH    45013‐1711
PROFFITT, JACKIE W             6009 CREEKSIDE DR                                                                                       SWARTZ CREEK          MI    48473‐8243
PROFFITT, JACKIE W             4181 E STANLEY RD                                                                                       MOUNT MORRIS          MI    48458‐8806
PROFFITT, JAMES A              3401 OVERLAND DR                                                                                        N HUNTINGDON          PA    15642
PROFFITT, JAMES A              1697 GUISE CT                                                                                           READING               OH    45215‐3704
PROFFITT, JAMES E              2523 E MONROE PIKE                                                                                      MARION                IN    46953‐2704
PROFFITT, JAMES W              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                       NORFOLK               VA    23510‐2212
                                                                     STREET, SUITE 600
PROFFITT, JESSE M              38 ROY MCHARGUE RD                                                                                      LILY                  KY    40740‐3243
PROFFITT, JOHN                 307 LAWSON AVE                        C/O ANTHONY MILLER                                                NEW LEBANON           OH    45345‐1442
PROFFITT, JOHN H               7604 OGG RD                                                                                             KNOXVILLE             TN    37938‐4451
PROFFITT, JOYCE H              3261 LYNWOOD DR NW                                                                                      WARREN                OH    44485‐1310
PROFFITT, KATHLEEN J           410 TIMBER HILL DR                                                                                      HAMILTON              OH    45013
PROFFITT, KELLEY R             3558 MAHALEY RD                                                                                         CHAPEL HILL           TN    37034‐2100
PROFFITT, LEONARD              1183 CLEVELAND AVE                                                                                      HAMILTON              OH    45013‐1711
PROFFITT, LEONARD R            PO BOX 116                                                                                              ROANOKE               IN    46783‐0116
PROFFITT, LEONARD RAY          PO BOX 116                                                                                              ROANOKE               IN    46783‐0116
PROFFITT, LOMMIE               320 PISTOL CREEK RD                                                                                     LONDON                KY    40741‐6645
PROFFITT, LORETTA A            2734 LOCHMOOR BOULEVARD                                                                                 LAKE ORION            MI    48360‐1946
PROFFITT, LOU DEAN             211 COX DR                                                                                              HARRIMAN              TN    37748‐6003
PROFFITT, LOU DEAN             211 COX DR.                                                                                             HARRIMAN              TN    37748‐6003
PROFFITT, MARK A               5005 GILBERT AVE                                                                                        TAMPA                 FL    33615
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Name                              Address1                           Address2               Address3        Address4               City                State Zip
PROFFITT, MARY                    737 S HOSPITAL RD                                                                                WATERFORD            MI 48327‐3903
PROFFITT, MARY R                  37442 FOUNTAIN PK CIRCLE           BLDG 12A APT 402                                              WESTLAND             MI 48185
PROFFITT, MELVIN P                17000 E 49TH TER S                                                                               INDEPENDENCE         MO 64055‐6307
PROFFITT, MICHAEL L               6998 STATE LINE RD                                                                               CAMDEN               OH 45311
PROFFITT, NINA                    11988 HOWELL AVE                                                                                 MT MORRIS            MI 48458‐1400
PROFFITT, OREL D                  245 KELLY RD APT B12                                                                             BOWLING GREEN        KY 42101‐9570
PROFFITT, ORVILLE R               613 JOHN GREEN RD                                                                                JONESBOROUGH         TN 37659‐5633
PROFFITT, PAUL E                  98 SAWMILL LN                                                                                    NEW LEBANON          OH 45345‐9703
PROFFITT, PAUL E                  98 SAWMILL LANE                                                                                  NEW LEBANON          OH 45345‐9703
PROFFITT, RAY                     38 ROY MCHARGUE RD                                                                               LILY                 KY 40740‐3243
PROFFITT, RUBY                    940 OBERLIN DR                                                                                   FAIRFIELD            OH 45014‐2833
PROFFITT, THOMAS L                9726 E 44 1/2 RD                                                                                 CADILLAC             MI 49601‐8583
PROFFITT, VEDIA M                 5811 WILLOW CT                                                                                   CRYSTAL LAKE          IL 60014‐3946
PROFFITT, VIRGINIA R              215 IDLEWILD DRIVE                                                                               WHITE PINE           TN 37890‐4716
PROFFITT, WANDA                   573 TOWN HOLLOW RD                                                                               CEDAR BLUFF          VA 24609‐7094
PROFICE, CARL T                   SHANNON LAW FIRM                   100 W GALLATIN ST                                             HAZLEHURST           MS 39083‐3007
PROFICE, WILLIE L                 SHANNON LAW FIRM                   100 W GALLATIN ST                                             HAZLEHURST           MS 39083‐3007
PROFILE ENGINEERING INC           71 WCFR DR                                                                                       SPRINGFIELD          VT 05156‐9373
PROFILE GAS & AUTO                102 CENTRAL AVE                                                                                  DOVER                NH 03820‐4028
PROFILE MANUFACTURING             JOHN GALL X107                     50790 RICHARD W BLVD                   TIANJIN, P.R. CHINA
                                                                                                            (PEOPLE'S REP)
PROFILE MANUFACTURING INC         JOHN GALL X107                     50790 RICHARD W BLVD                   TIANJIN, P.R. CHINA
                                                                                                            (PEOPLE'S REP)
PROFILE MANUFACTURING INC         50790 RICHARD W BLVD                                                                             CHESTERFIELD        MI   48051‐2496
PROFILE METAL FORMING             370 REPUBLIC DR                                                                                  MC KENZIE           TN   38201‐5227
PROFILE METAL FORMING             DIANN HELBLING                     370 REPUBLIC DRIVE                                            DUNCAN              SC   29334
PROFILE METAL FORMING INC         DIANN HELBLING                     370 REPUBLIC DRIVE                                            DUNCAN              SC   29334
PROFILE MOTORS, INC.              RONALD PETELL                      38 TOWLE ROAD                                                 CONWAY              NH   03818
PROFILE PONTIAC, BUICK, AND GMC   RONALD PETELL                      38 TOWLE ROAD                                                 CONWAY              NH   03818
PROFILE PONTIAC, BUICK, AND GMC   38 TOWLE ROAD                                                                                    CONWAY              NH   03818
PROFILE PRECISION EXTRUSIONS      204 S 66TH AVE                                                                                   PHOENIX             AZ   85043
PROFILE STATE LINE SUPERSTORE     1545 CARL BROGGI HWY                                                                             LEBANON             ME   04027‐4256
PROFILED/STRLING HGT              2091 15 MILE RD                                                                                  STERLING HEIGHTS    MI   48310‐4804
PROFILES IN DIVERSITY JOURNAL     PO BOX 45605                                                                                     CLEVELAND           OH   44145‐0605
PROFIT FREIGHT SYSTEMS INC        PO BOX 105278                                                                                    ATLANTA             GA   30348‐5278
PROFIT POINT GROUP                10 INVERNESS CENTER PKWY STE 320                                                                 BIRMINGHAM          AL   35242‐4818
PROFIT, LIZZIE M                  13633 STEPHENDALE DR                                                                             CHARLOTTE           NC   28273‐6731
PROFIT, ROSIE M                   PO BOX 681634                                                                                    RIVERSIDE           MO   64168‐1634
PROFIT, SAMUEL H                  1655 CENTERVIEW DR APT 423                                                                       DULUTH              GA   30096‐7694
PROFITT ROSE                      PROFITT, ROSE                      4705 YORK RD                                                  KNOXVILLE           TN   37938
PROFITT, BERNARD                  1600 PARK AVE                                                                                    EATON               OH   45320‐8678
PROFITT, BILLY R                  5266 HOLLENBECK RD                                                                               COLUMBIAVILLE       MI   48421‐9340
PROFITT, CHARLENE                 PO BOX 1094                                                                                      CAMPTON             KY   41301‐1094
PROFITT, DENVER I                 6817 BALL RD                                                                                     ROMULUS             MI   48174‐3503
PROFITT, ELMER                    4527 EISENHOWER PLACE                                                                            MIDDLETOWN          OH   45042‐5042
PROFITT, EULA G                   481 OAK HEAVEN DR                                                                                ALTAMONTE SPRINGS   FL   32701
PROFITT, EVERETT R                1428 BETHANY COMMONS TRL                                                                         CENTERVILLE         OH   45458‐5900
PROFITT, FRED                     PO BOX 786                                                                                       CAMPTON             KY   41301‐0786
PROFITT, JACK D                   3550 GENSLEY RD                                                                                  ANN ARBOR           MI   48103‐9617
PROFITT, LENVIL G                 2471 S BUENA VISTA RD                                                                            SOUTH CHARLESTON    OH   45368‐9788
PROFITT, LENVIL G                 2471 S. BUENA VISTA RD                                                                           S. CHARLESTON       OH   45368‐9788
PROFITT, LEWIS W                  3946 KILBOURN RD.                                                                                ARCANUM             OH   45304‐9732
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Name                                  Address1                        Address2                      Address3                    Address4                    City               State Zip
PROFITT, MARK E                       8691 ORIOLE DR                                                                                                        FRANKLIN            OH 45005‐4230
PROFITT, MELBA R                      155 MEADOWLARK DR                                                                                                     HARRIMAN            TN 37748‐4149
PROFITT, NORMA J                      216 APPALOOSA CT                                                                                                      DAYTON              OH 45414‐1801
PROFITT, RAY M                        14820 HANFOR AVE                                                                                                      ALLEN PARK          MI 48101‐3010
PROFITT, ROSE
PROFITT, ROSE                         4705 YORK RD                                                                                                          KNOXVILLE          TN   37938‐2428
PROFITT, TAMMY R                      2267 TERRYLYNN AVE                                                                                                    DAYTON             OH   45439‐2741
PROFITT, WILLIAM C                    118 STONEWOOD DRIVE                                                                                                   CROSSVILLE         TN   38558‐6563
PROFITT, WILLIE L                     611 RAINBOW CT                                                                                                        ANDERSON           IN   46013‐1165
PROFORM TOOL CORP                     PO BOX 659                                                                                                            SAEGERTOWN         PA   16433‐0659
PROFORM TOOL CORP                     606 ERIE ST                     PO BOX 659                                                                            SAEGERTOWN         PA   16433‐5002
PROFORMA                              PO BOX 640814                                                                                                         CINCINNATI         OH   45264‐0814
PROFORMA CORPORATION
PROFORMA CORPORATION                  ATTN: CONTRACTS ADMINISTRATOR   26261 EVERGREEN RD STE 200                                                            SOUTHFIELD         MI   48076‐7510
PROFORMA CORPORATION                  26261 EVERGREEN RD STE 200                                                                                            SOUTHFIELD         MI   48076‐7510
PROFORMA GUST                         ATTN: WILLIAM GUST              1200 N MADISON AVE # B                                                                BAY CITY           MI   48708‐5200
PROFORMANCE AUTOMOTIVE                65 AVENUE C                                                                                                           BAYONNE            NJ   07002
PROFT, BERNICE B                      488 BEECHWOOD DR                                                                                                      CEDARBURG          WI   53012‐9006
PROFT, GEORGE E                       701 S MAIN ST TRLR 13                                                                                                 COUPEVILLE         WA   98239‐3515
PROG WORKS                            2442 E MAPLE AVE                                                                                                      FLINT              MI   48507
PROG WORKS LLC                        2442 E MAPLE AVE STE 107                                                                                              FLINT              MI   48507‐4489
PROGAR, RONALD W                      32845 MERRITT DR                                                                                                      WESTLAND           MI   48185‐1558
PROGERAL INDS DE ARTFS PLASTICOS LT   RUA WALTER BARUFALDI 300                                                                  IPERO SP 18560‐000 BRAZIL

PROGERAL INDUSTRIA DE                 ARTEFATOS PLASTICOS LTDA        RUA WALTER BARUFALDI 300      DISTRITO INDSTRL IPERO/SP   CEP 18560000 BRAZIL
                                                                                                                                BRAZIL
PROGINET CORP                         200 GARDEN CITY PLZ STE 220                                                                                           GARDEN CITY        NY 11530‐3338
PROGINET CORPORATION                  ATTN: CONTRACTS ADMINISTRATOR   200 GARDEN CITY PLZ STE 220                                                           GARDEN CITY        NY 11530‐3338
PROGINET CORPORATION
PROGRADE                              7825 REDSKY DR                                                                                                        CINCINNATI         OH 45249‐1636
PROGRAM FOR APPROPRIATE               1455 NW LEARY WAY                                                                                                     SEATTLE            WA 98107‐5136
TECHNOLOGY & HEALTH
PROGRAM INITIATIVES LLC               4251 LOCUST VALLEY LN                                                                                                 OXFORD             MI 48370‐1403
PROGRAM MGT/HOWELL                    2513 SHARMA LN                                                                                                        HOWELL             MI 48843‐8930
PROGRAM PLANNING ROFESSIONALS INC     1340 EISENHOWER PL                                                                                                    ANN ARBOR          MI 48108‐3282

PROGRAM SALES & DISTRIBUTION          1901 E ROOSEVELT RD                                                                                                   LITTLE ROCK        AR   72206‐2533
PROGRAMMERS PARADISE                  1157 SHREWSBURY AVE                                                                                                   SHREWSBURY         NJ   07702‐4321
PROGRESS ENERGY                       PO BOX 33199                                                                                                          SAINT PETERSBURG   FL   33733‐8199
PROGRESS ENERGY                                                       5712 HOLLY SHELTER RD                                                                                    NC   28429
PROGRESS ENERGY                       GEORGE SAULS                    PO BOX 1551                                                                           RALEIGH            NC   27602‐1551
PROGRESS ENERGY SERVICE COMPANY       410 S WILMINGTON ST                                                                                                   RALEIGH            NC   27601‐1849
PROGRESS INDUSTRIES LLC               30150 S WIXOM RD                                                                                                      WIXOM              MI   48393‐3440
PROGRESS MOTORS LTD                   14 BENTWORTH AVE                                                                          TORONTO ON M6A 1P3
                                                                                                                                CANADA
PROGRESS PALLET INC                   98 W GROVE ST                                                                                                         MIDDLEBORO         MA   02346‐1418
PROGRESS PAT/SFLD                     21555 TELEGRAPH ROAD                                                                                                  SOUTHFIELD         MI   48033
PROGRESS PAT/STHFLD                   21555 TELEGRAPH ROAD                                                                                                  SOUTHFIELD         MI   48033
PROGRESS PATTERN CORP                 32235 INDUSTRIAL RD                                                                                                   LIVONIA            MI   48150‐1836
PROGRESS PATTERN/LAV                  32235 INDUSTRIAL RD                                                                                                   LIVONIA            MI   48150‐1836
PROGRESS PLA/AUBRNDL                  202 PROGRESS RD                 P.O. BOX 1816                                                                         AUBURNDALE         FL   33823‐2719
PROGRESS TOOL & ENGINEERING IN        29370 JOHN R RD                                                                                                       MADISON HTS        MI   48071‐5404
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Name                                  Address1                        Address2                         Address3   Address4             City              State Zip
PROGRESS TOOL & ENGINEERING INC       29370 JOHN R RD                                                                                  MADISON HEIGHTS    MI 48071‐5404
PROGRESS WEST HLTHCA                  PO BOX 504405                                                                                    SAINT LOUIS        MO 63150‐0001
PROGRESSIVE                           RE: KATIE ALBY                  PROGRESSIVE UNIVERSAL            SUITE B                         HUDSON             WI 54016
                                                                      INSURANCE CO, 2010 O'NEIL AVE
PROGRESSIVE                           RE: REBECCA SWENSON             PO BOX 89480                                                     CLEVELAND         OH    44101
PROGRESSIVE A E                       1811 A MILE ROAD NE                                                                              GRAND RAPIDS      MI    49525
PROGRESSIVE AMERICAN INSURANCE        ATTN: STEVEN J JACOBSON, ESQ.   5701 N PINE ISLAND RD, STE 320                                   TAMARAC           FL    33321‐4400
PROGRESSIVE AMERICAN INSURANCE        JACOBSON STEVEN J LAW OFFICES   5701 NORTH PINE ISLAND ROAD                                      FORT LAUDERDALE   FL    33321
COMPANY
PROGRESSIVE ARCHITECTURE INC          1811 4 MILE RD NE                                                                                GRAND RAPIDS      MI 49525‐2442
PROGRESSIVE ART & FRAME DESIGNINC     1511 N MAIN ST                                                                                   CLAWSON           MI 48017‐1108

PROGRESSIVE AUTO CENTER            13816 E 9 MILE RD                                                                                   WARREN            MI    48089‐2759
PROGRESSIVE AUTOMATION CONTROL     PO BOX 510191                                                                                       NEW BERLIN        WI    53151‐0191
PROGRESSIVE AUTOMATION CONTROL     16285 W LINCOLN AVE                                                                                 NEW BERLIN        WI    53151‐2834
PROGRESSIVE AUTOMATION CONTROLS CO PO BOX 510191                                                                                       NEW BERLIN        WI    53151‐0191

PROGRESSIVE AUTOMOTIVE                107‐2437 14 AVE                                                             VERNON BC V1T 8Z1
                                                                                                                  CANADA
PROGRESSIVE BUSINESS                  PUBLICATIONS                    370 TECHNOLOGY DR                                                MALVERN           PA 19355‐1315
PROGRESSIVE CASUALTY AS SUBROGEE OF   ATTN: PAUL JOHNSTON             207 E MAIN ST                                                    MACUNGIE          PA 18062‐1312
DENNIS IMBER
PROGRESSIVE CASUALTY INSURANCE        KEIS GEORGE LLP                 55 PUBLIC SQUARE #800                                            CLEVELAND         OH 44113
COMPANY
PROGRESSIVE CASUALTY INSURANCE        JOHNSTON PAUL LAW OFFICES OF    207 E MAIN ST                                                    MACUNGIE          PA 18062‐1312
COMPANY
PROGRESSIVE CASUALTY INSURANCE        KEIS GEORGE LLP                 55 PUBLIC SQ STE 800                                             CLEVELAND         OH 44113‐1909
COMPANY
PROGRESSIVE CHEVROLET COMPANY         8000 HILLS AND DALES RD NE                                                                       MASSILLON         OH 44646‐5234
PROGRESSIVE CHEVROLET COMPANY         DANIEL SANDERS                  8000 HILLS AND DALES RD NE                                       MASSILLON         OH 44646‐5234
PROGRESSIVE COMMUNICATIONS, INC.      MARK HURT                       100 INDUSTRIAL PARK RD NW                                        MILLEDGEVILLE     GA 31061‐6602

PROGRESSIVE DIRECT INSURANCE       CARMAN CALLAHAN & INGHAM           266 MAIN ST                                                      FARMINGDALE       NY 11735‐2618
COMPANY
PROGRESSIVE DIRECT INSURANCE       KEIS GEORGE LLP                    55 PUBLIC SQ STE 800                                             CLEVELAND         OH 44113‐1909
COMPANY
PROGRESSIVE EXPRESS INS. CO.       ATTN: STEVEN J JACOBSON, ESQ.      5701 N PINE ISLAND RD, STE 320                                   TAMARAC            FL   33321‐4400
PROGRESSIVE EXPRESS INSURANCE      ANTHONY MERENDINO                  5701 NW 88TH AVE STE 320                                         TAMARAC            FL   33321‐4400
COMPANY
PROGRESSIVE EXPRESS INSURANCE      MARKCITY ROTHMAN & CANTWELL        8181 W BROWARD BLVD STE 300                                      PLANTATION         FL   33324‐2049
COMPANY,
PROGRESSIVE EXPRESS INSURANCE      JACOBSON, STEVEN J                 5701 NW 88TH AVE STE 320                                         TAMARAC            FL   33321‐4400
COMPANY,
PROGRESSIVE GARDEN STATE INSURANCE MEYER JAN LAW OFFICES OF           1029 TEANECK ROAD ‐ SECOND                                       TEANECK            NJ   07666
COMPANY                                                               FLOOR
PROGRESSIVE GULF INSURANCE COMPANY MCELROY THOMAS M PA                PO BOX 1450                                                      TUPELO            MS 38802‐1450

PROGRESSIVE HYDRAULICS INC            280 N MIDLAND AVE BLDG G                                                                         SADDLE BROOK       NJ   07663‐5708
PROGRESSIVE INS CO                    CHAMBLESS MATH MOORE BROWN &    PO BOX 230759                                                    MONTGOMERY         AL   36123‐0759
                                      CARR
PROGRESSIVE INSURANCE
PROGRESSIVE INSURANCE COMPANY         CARNES TERRY LAW OFFICES        12900 PRESTON RD STE 410                                         DALLAS             TX   75230‐1334
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Name                                Address1                         Address2                        Address3   Address4                City            State Zip
PROGRESSIVE INSURANCE COMPANY       CARMAN CALLAHAN & INGHAM         266 MAIN ST                                                        FARMINGDALE      NY 11735‐2618
PROGRESSIVE INSURANCE COMPANY       WALKER FERGUSON & FERGUSON       941 E BRITTON RD                                                   OKLAHOMA CITY    OK 73114‐7802
PROGRESSIVE INSURANCE COMPANY       FICKLEY R BRUCE LAW OFFICES OF   PO BOX 4005                                                        ROANOKE          VA 24015‐0005
PROGRESSIVE INSURANCE COMPANY       DEUTSCHMAN AND ASSOCIATES        77 W WASHINGTON ST STE 1525                                        CHICAGO           IL 60602‐2994
PROGRESSIVE INSURANCE COMPANY
9/8/97
PROGRESSIVE MACHINE & DESIGN        687 ROWLEY RD                                                                                       VICTOR          NY 14564‐9728
PROGRESSIVE MACHINE & DESIGN L      687 ROWLEY RD                                                                                       VICTOR          NY 14564‐9728
PROGRESSIVE MAX INSURANCE COMPANY   KEIS GEORGE LLP                  55 PUBLIC SQ STE 800                                               CLEVELAND       OH 44113‐1909

PROGRESSIVE MAX INSURANCE COMPANY WELTMAN WEINBERG & REIS CO LPA     2155 BUTTERFIELD DR STE 200‐S                                      TROY            MI 48084‐3463

PROGRESSIVE MAX INSURANCE COMPANY KEIS GEORGE LLP                    55 PUBLIC SQUARE #800                                              CLEVELAND       OH 44113

PROGRESSIVE MEDICAL                 PO BOX 631480                                                                                       CINCINNATI      OH    45263‐1480
PROGRESSIVE MEDICAL                 302 CENTER AVE                                                                                      BAY CITY        MI    48708‐5938
PROGRESSIVE MEDICAL IMAGING         4200 FASHION SQUARE BLVD                                                                            SAGINAW         MI    48603
PROGRESSIVE MEDICAL INC             250 PROGRESSIVE WAY                                                                                 WESTERVILLE     OH    43082‐9615
PROGRESSIVE MET/FERN                1300 CHANNING ST                                                                                    FERNDALE        MI    48220‐2606
PROGRESSIVE METAL FORMING INC       10850 HALL RD                                                                                       HAMBURG         MI    48139
PROGRESSIVE METAL FORMING INC       ROLAND OWENS                     10850 HALL RD                                                      HAMBURG         MI    48139
PROGRESSIVE METAL MANUFACTURIN      ERIC BORMAN                      3100 E 10 MILE RD                                                  WARREN          MI    48091‐3713
PROGRESSIVE METAL MANUFACTURIN      ERIC BORMAN                      3100 E. 10 MILE ROAD                                               MCALLEN         TX    78503
PROGRESSIVE METAL MANUFACTURING     BERNIE FORNWALD                  1300N CHANNING                                                     FERNDALE        MI    48220
CO
PROGRESSIVE METAL MANUFACTURING     ERIC BORMAN                      3100 E 10 MILE RD                                                  WARREN           MI 48091‐3713
CO
PROGRESSIVE METAL MANUFACTURING     ERIC BORMAN                      3100 E. 10 MILE ROAD                                               MCALLEN          TX   78503
CO
PROGRESSIVE METAL MANUFACTURING     1300 CHANNING ST                                                                                    FERNDALE        MI 48220‐2691
CO
PROGRESSIVE METAL MANUFACTURING     32880 DEQUINDRE RD                                                                                  WARREN           MI 48092‐1063
CO
PROGRESSIVE METAL MFG CO            1300 CHANNING ST                                                                                    FERNDALE        MI 48220‐2606
PROGRESSIVE METAL MFG. CO.          BERNIE FORNWALD                  1300N CHANNING                                                     FERNDALE        MI 48220
PROGRESSIVE MO/CONCO                9010 KEELE ST                                                               CONCORD ON L4K 2N2
                                                                                                                CANADA
PROGRESSIVE MO/VAUGH                1849 POND RUN DRIVE              SUITE 100                                                          AUBURN HILLS    MI    48326
PROGRESSIVE MOLDED PRODS LTD        401 S OLD WOODWARD AVE           STE 340                                                            BIRMINGHAM      MI    48009‐6621
PROGRESSIVE MOLDED PRODUCTS         401 S OLD WOODWARD AVE STE 340                                                                      BIRMINGHAM      MI    48009‐6621
PROGRESSIVE MOLDED PRODUCTS EFLTD   401 S OLD WOODWARD AVE STE 340                                                                      BIRMINGHAM      MI    48009‐6621

PROGRESSIVE MOLDED PRODUCTS LTD     9024 KEELE ST                                                               CONCORD CANADA ON L4K
                                                                                                                2N2 CANADA
PROGRESSIVE MOULDED PRODUCTS INC    401 S OLD WOODWARD AVE           STE 340                                                            BIRMINGHAM       MI 48009‐6621

PROGRESSIVE MOULDED PRODUCTS INC    401 S OLD WOODWARD AVE STE 340                                                                      BIRMINGHAM       MI 48009‐5621

PROGRESSIVE MOULDED PRODUCTS L      9024 KEELE ST                                                               CONCORD ON L4K 2N2
                                                                                                                CANADA
PROGRESSIVE MOULDED PRODUCTS LTD    401 S OLD WOODWARD AVE           STE 34C                                                            BIRMINGHAM       MI 48009‐6621
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PROGRESSIVE MOULDED PRODUCTS LTD                                      9024 KEELE ST                                     CONCORD,ON,L4K
                                                                                                                        2N2,CANADA
PROGRESSIVE MOULDED PRODUCTS LTD    125 VILLARBOIT CRES                                                                 VAUGHAN ON L4K 4K2
                                                                                                                        CANADA
PROGRESSIVE MOULDED PRODUCTS LTD    401 S OLD WOODWARD AVE STE 340                                                                           BIRMINGHAM       MI 48009‐5621

PROGRESSIVE MOULDED PRODUCTS LTD    6900 S BENTSEN RD                                                                                        MCALLEN          TX   78503‐8865

PROGRESSIVE MOULDED PRODUCTS LTD    9024 KEELE ST                                                                       CONCORD ON L4K 2N2
                                                                                                                        CANADA
PROGRESSIVE NEURO‐PS                50520 DRAKES BAY DR                                                                                      NOVI             MI 48374‐2545
PROGRESSIVE NORTHEASTERN INSURANCE CARMAN CALLAHAN & INGHAM           266 MAIN ST                                                            FARMINGDALE      NY 11735‐2618
COMPANY
PROGRESSIVE NORTHERN INSURANCE      GALLAGHER CASADOS & MANN PC       317 COMMERCIAL ST NE FL 2                                              ALBUQUERQUE     NM 87102‐3456
COMPANY
PROGRESSIVE NORTHWESTERN            REILLY JAMES H                    146 WESTMINSTER ST STE 500                                             PROVIDENCE       RI   02903‐2228
INSURANCE COMPANY
PROGRESSIVE NURSING STAFFERS        ATTN: MC ARTHUR CALLUM            2990 W GRAND BLVD # 406                                                DETROIT          MI 48202‐3041
PROGRESSIVE NURSING STAFFERS OF     5531 HEMPSTEAD WAY                                                                                       SPRINGFIELD      VA 22151
MICHIGAN, INC.
PROGRESSIVE NURSING STAFFERS OF     5531 HEMPSTEAD WAY                STE B                                                                  SPRINGFIELD      VA 22151‐4019
MICHIGAN, INC.
PROGRESSIVE OLDSMOBILE, CADILLAC, I 7966 HILLS AND DALES RD NE                                                                               MASSILLON       OH 44646‐5241

PROGRESSIVE OLDSMOBILE, CADILLAC,   DANIEL SANDERS                    7966 HILLS AND DALES RD NE                                             MASSILLON       OH 44646‐5241
INC.
PROGRESSIVE OLDSMOBILE, CADILLAC,   7966 HILLS AND DALES RD NE                                                                               MASSILLON       OH 44646‐5241
INC.
PROGRESSIVE PHYSICAL                19510 VENTURA BLVD STE 106                                                                               TARZANA          CA   91356‐2974
PROGRESSIVE PL/LIVON                PO BOX 510900                     31693 WEST EIGHT MILE ROAD                                             LIVONIA          MI   48151‐6900
PROGRESSIVE PLANNERS INC            32775 8 MILE RD                                                                                          LIVONIA          MI   48152‐1302
PROGRESSIVE POWER & CONTROL INC     7751 E 89TH ST                                                                                           INDIANAPOLIS     IN   46256‐1237
PROGRESSIVE PREMIER INSURANCE       DEUTSCHMAN AND ASSOCIATES         77 W WASHINGTON ST STE 1525                                            CHICAGO          IL   60602‐2994
COMPANY
PROGRESSIVE PRIMARY                 10777 NALL AVE STE 140                                                                                   OVERLAND PARK    KS 66211‐1312
PROGRESSIVE REHABILI                28776 RYAN RD                                                                                            WARREN           MI 48092‐2521
PROGRESSIVE SECURITY INSURANCE      POWERS & HIGHTOWER                PO BOX 15948                                                           BATON ROUGE      LA 70895‐5948
COMPANY
PROGRESSIVE SECURITY INSURANCE      MORSE MCGINTY BORDELON & CASLER   2450 SEVERN AVE STE 420                                                METAIRIE         LA   70001‐6952
COMPANY
PROGRESSIVE SECURITY INSURANCE      HEBBLER & GIORDANO LLC            3636 S I 10 SERVICE RD W STE 300                                       METAIRIE         LA   70001‐6418
COMPANY
PROGRESSIVE SERVICES, INC.          RHETT MYERS                       23 N 35TH AVE                                                          PHOENIX          AZ   85009‐4728
PROGRESSIVE SOLUTIONS LLC           17430 MAPLE HILL DR                                                                                      NORTHVILLE       MI   48168‐3222
PROGRESSIVE ST/OH                   1 LYMAN E HOYT DRIVE              C/O MIDWAY PRODUCTS GROUP     ATTN: ROB DARNELL                        MONROE           MI   48161
PROGRESSIVE ST/RYLOK                2807 SAMOSET RD                   ATTN: JOHN SOKOL                                                       ROYAL OAK        MI   48073‐1726
PROGRESSIVE STAMPING CO DE INC      2807 SAMOSET RD                   FRMLY PROGRESSIVE STAMPING CO                                          ROYAL OAK        MI   48073‐1726

PROGRESSIVE STAMPING CO INC         ATTN: DOUG SHANTZ, GENERAL        2807 SAMOSET                                                           ROYAL OAK        MI 48073‐1726
                                    MANAGER
PROGRESSIVE STAMPING CO INC         2807 SAMOSET RD                                                                                          ROYAL OAK        MI 48073‐1795
PROGRESSIVE STAMPING CO INC                                           1 LYMAN E HOYT DRIVE                                                                    MI 48161
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PROGRESSIVE STAMPING CO. INC.      BOB SMITH                          FABRISTEEL                   2807 SAMOSET                                   GREENSBORO        NC 27403
PROGRESSIVE STAMPING CO. INC.      BOB SMITH                          2807 SAMOSET RD              FABRISTEEL                                     ROYAL OAK         MI 48073‐1726
PROGRESSIVE STAMPING COMPANY       A DONCASTERS GROUP LIMITED COMPANY 2807 SAMOSET                                                                ROYAL OAK         MI 48073‐1795

PROGRESSIVE STAMPING INC           C/O MIDWAY PRODUCTS                PO BOX 549                   200 PROGRESSIVE DRIVE                          OTTOVILLE        OH   45876‐0549
PROGRESSIVE STAMPING, INC.         CHRIS FOOR                         200 PROGRESSIVE DRIVE,                                                      OTTOVILLE        OH   45876
PROGRESSIVE TECHNOLOGIES           4695 DANVERS ST                                                                                                GRAND RAPIDS     MI   49512
PROGRESSIVE TECHNOLOGIES           4695 DANVERS SE                                                                                                GRAND RAPIDS     MI   49512
PROGRESSIVE TO/STHFL               21000 TELEGRAPH RD                                                                                             SOUTHFIELD       MI   48033‐4280
PROGRESSIVE TOOL & IND CO          COMAU PICO                         21000 TELEGRAPH RD                                                          SOUTHFIELD       MI   48033‐4280
PROGRESSIVE TOOL & INDUSTRIES CO   1001 N HIGHWAY DR                                                                                              FENTON           MO   63026‐1907
PROGRESSIVE WEST INSURANCE COMPANY CHARNESS LAW OFFICES               6700 FALLBROOK AVE STE 192                                                  WEST HILLS       CA   91307‐3562

PROGRESSIVE WORK CEN               PO BOX 663105                                                                                                  INDIANAPOLIS     IN   46266‐0001
PROGRESSIVE WORK CENTER            5949 W RAYMOND ST                                                                                              INDIANAPOLIS     IN   46241‐4348
PROGRESSIVE/DANVERS                4695 DANVERSE DRIVE S.E.                                                                                       GRAND RAPIDS     MI   49512
PROGRESSIVE/PATTERSN               4201 PATTERSON AVE SE                                                                                          GRAND RAPIDS     MI   49512‐4033
PROGRESSIVE/SOUTHFLD               21000 TELEGRAPH RD                                                                                             SOUTHFIELD       MI   48033‐4280
PROGRESSVE DI/GR RAP               PO BOX 141640                                                                                                  GRAND RAPIDS     MI   49514‐1640
PROHAMMER, CATHERINE A             2 ALICE LN                                                                                                     CLARK            NJ   07066‐1205
PROHASKA, DIANE M                  4099 WORTH RD                                                                                                  PINCONNING       MI   48650‐8316
PROHASKA, DONALD A                 APT 8                              4025 SOUTH KINGAN AVENUE                                                    SAINT FRANCIS    WI   53235‐4784
PROHASKA, GINA L                   351 LOYOLA DR                                                                                                  ELYRIA           OH   44035‐1579
PROHASKA, JAMES K                  3097 S US HIGHWAY 23                                                                                           GREENBUSH        MI   48738‐9656
PROHASKA, LUCY                     6891 LOCK HAVEN DR                                                                                             LOCKPORT         NY   14094‐6183
PROHASKA, N G                      36705 HATHAAY APT 5                                                                                            BALTIMORE        MI   48047
PROHASKA, THOMAS E                 8901 GRANDVIEW DR                                                                                              DENTON           TX   76207‐8607
PROHEAT INC                        PO BOX 48                                                                                                      LAGRANGE         KY   40031‐0048
PROHEAT INC                        117 E ADAMS ST                     PO BOX 48                                                                   LA GRANGE        KY   40031‐1229
PROHOW, DANIEL S                   3265 PARKWOOD DR.                                                                                              ROCHESTER HLS    MI   48306‐3653
PROHOWNIK, TIMOTHY A               22313 BENJAMIN ST                                                                                              ST CLR SHORES    MI   48081‐2283
PROIA, ANTHONY C                   205 MAPLEWOOD AVE                                                                                              ROCHESTER        NY   14613‐1216
PROIA, GINA M                      30 SUMMIT RD                                                                                                   KATONAH          NY   10536‐1129
PROIA, JOSEPH                      295 WHITTIER RD                                                                                                SPENCERPORT      NY   14559
PROIA, LIDIO                       39718 MORIAH DR                                                                                                STERLING HTS     MI   48313‐5750
PROIA, LINDA C                     20 KINGSWOOD DR                                                                                                ROCHESTER        NY   14624‐3339
PROJECT ADVISORS INTL              PROJECT ADVISORS CONSORTIUM        1957 CROOKS RD                                                              TROY             MI   48084‐5504
PROJECT ALS                        511 AVENUE IF THE AMERICAS         PMB 341                                                                     NEW YORK         NY   10011
PROJECT AUTOMATION (2006) INC      85 S EDGEWARE RD                                                                        ST THOMAS ON N5P 2J7
                                                                                                                           CANADA
PROJECT AUTOMATION 2006 INC        85 SOUTH EDGEWARE ROAD                                                                  SAINT THOMAS ON N5P
                                                                                                                           2H7 CANADA
PROJECT COMPASSION MINISTRIES      ATTN: GERALD GRIMM                 3307 29TH ST                                                                DETROIT          MI   48210‐3231
PROJECT CONTROL SYSTEMS INC        35980 INDUSTRIAL RD                                                                                            LIVONIA          MI   48150‐1274
PROJECT DESIGN & PIPING INC        3615 TRANSPORTATION DR                                                                                         FORT WAYNE       IN   46818‐1379
PROJECT DYNAMICS INC               7965 KENSINGTON CT STE A2          7974 LOCHLIN DR STE B2                                                      BRIGHTON         MI   48116‐6808
PROJECT DYNAMICS INC               7974 LOCHLIN DR STE B2                                                                                         BRIGHTON         MI   48116‐1664
PROJECT EZRAH                      95 CEDAR LN STE 12                                                                                             ENGLEWOOD        NJ   07631‐4805
PROJECT HOPE                       255 CARTER HALL LN                                                                                             MILLWOOD         VA   22646‐0255
PROJECT MANAGEMENT INSTITUTE       130 S STATE RD                                                                                                 UPPER DARBY      PA   19082‐2902
PROJECT MANAGEMENT INSTITUTE       CERTIFICATION DEPARTMENT           14 CAMPUS BLVD                                                              NEWTOWN SQUARE   PA   19073‐3299
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Name                               Address1                         Address2              Address3         Address4         City                 State Zip
PROJECT MANAGEMENT INSTITUTE INC   14 CAMPUS BLVD                                                                           NEWTOWN SQUARE        PA 19073‐3299

PROJECT MANAGEMENT SERVICES IN     1795 N STATE ST                  PO BOX 149                                              GIRARD               OH 44420‐1038
PROJECT MANAGEMENT SERVICES INC    1795 N STATE ST                  PO BOX 149                                              GIRARD               OH 44420‐1038
PROJECT MANAGEMENT TRAINING        1153 HARVARD RD                  C/O FRED S FRENDO                                       GROSSE POINTE PARK   MI 48230‐1451
SERVICES
PROJECT ODYSSEY                    NO ADVERSE PARTY
PROJECT SMILE                      6611 RIDGE RD                                                                            PARMA                OH   44129‐5530
PROJECTOR PEOPLE                   6301 BENJAMIN RD STE 101                                                                 TAMPA                FL   33634‐5115
PROJETECH INC                      3654 GLENMORE AVE                                                                        CINCINNATI           OH   45211‐4730
PROJETTI, JANE E                   27 FLORENCE TOLLGATE PL UNIT 1                                                           FLORENCE             NJ   08518‐3201
PROK, HANS J                       42 BILTMORE DR                                                                           ROCHESTER            NY   14617‐3108
PROKASKI, ROBERT L                 5240 S MULLIGAN AVE                                                                      CHICAGO              IL   60638‐1333
PROKAY, GLADYS                     11817 SECTOR AVE                                                                         CLEVELAND            OH   44111‐1630
PROKES, MARY                       8908 FERNHILL AVE.                                                                       PARMA                OH   44129‐2024
PROKESCH RICHARD                   3029 CRAVEY TRL NE                                                                       ATLANTA              GA   30345‐1467
PROKOFF, MICHAEL H                 1133 GEORGE MALONE RD                                                                    GREENEVILLE          TN   37745‐1115
PROKOP DONALD & JOYCE              8341 HIGHLAND AVE                                                                        MINERAL RIDGE        OH   44440‐8700
PROKOP JR, CHARLES R               5907 MORNINGSIDE DR                                                                      PARMA                OH   44129‐3835
PROKOP, DANIEL M                   3740 BRADLEY BROWNLEE RD                                                                 CORTLAND             OH   44410‐9714
PROKOP, DAVID G                    3740 BRADLEY BROWNLEE RD                                                                 CORTLAND             OH   44410‐9714
PROKOP, DEBRA J                    9802 GRABER RD                                                                           GRABILL              IN   46741‐9731
PROKOP, DEBRA JEAN                 9802 GRABER RD                                                                           GRABILL              IN   46741‐9731
PROKOP, DONALD P                   8341 HIGHLAND AVE                                                                        MINERAL RIDGE        OH   44440‐8700
PROKOP, FLORENCE M                 1307 WESTOVER DR SE                                                                      WARREN               OH   44484‐4484
PROKOP, HELEN J                    6630 PLEASANT DR                                                                         ALMOND               WI   54909‐9375
PROKOP, JERRY S                    28442 BRENTWOOD ST                                                                       SOUTHFIELD           MI   48076‐3004
PROKOP, JOHN E                     6823 STATE ROUTE 45                                                                      BRISTOLVILLE         OH   44402‐9778
PROKOP, KATHY R                    28442 BRENTWOOD                                                                          SOUTHFIELD           MI   48076
PROKOP, KEVIN
PROKOP, KEVIN G                    39077 JAMISON ST                                                                         LIVONIA              MI   48154‐4722
PROKOP, LINDA S                    407 EARL DR NW                                                                           WARREN               OH   44483‐1115
PROKOP, LUCY E                     58 MILL CREEK RD.                                                                        NILES                OH   44446‐3208
PROKOP, MARIANNE                   9816 S. GRAHAM RD. 52                                                                    ST. CHARLES          MI   48655‐9503
PROKOP, MICHAEL T                  4702 MALPASO                                                                             LANSING              MI   48917‐1556
PROKOP, THEODORE D                 1307 WESTOVER DR SE                                                                      WARREN               OH   44484‐2814
PROKOP‐BILLS, REBECCA              32 DOGWOOD DR SW                                                                         WARREN               OH   44481‐9610
PROKOP‐JONES, REBECCA              PO BOX 9022 2550 S SPR                                                                   WARREN               OH   44483
PROKOPCHUK, PETER F                8944 LAKEVIEW BLVD                                                                       RODNEY               MI   49342‐9753
PROKOPENKO, JAMES                  6366 DICKERSON RD                                                                        AKRON                MI   48701‐9610
PROKOPENKO, NETTIE                 1846 OHIO ST                                                                             NATIONAL CITY        MI   48748‐9695
PROKOPENKO, RONALD S               1462 WESLEY CT                                                                           BAY CITY             MI   48708‐9135
PROKOPIAK, JOSEPH                  921 SPRUCE ST                                                                            BAREFOOT BAY         FL   32976‐7324
PROKOPIUS RICHARD                  6851 GLENELLA DR                                                                         SEVEN HILLS          OH   44131‐3634
PROKOPOVICH, MARY K                7005 STADIUM DRIVE                                                                       BRECKSVILLE          OH   44141
PROKOPP, CAROLYN                   6075 POINSETTIA DR                                                                       SAGINAW              MI   48603‐1030
PROKOPP, MARY A                    1846 LITTLEFIELD DR                                                                      FARWELL              MI   48622‐9741
PROKOPP, TERESA A                  2205 STONEWALL DR                                                                        ORTONVILLE           MI   48462‐9254
PROKSCH, EDWARD G                  5275 MALVERN CT                                                                          NAPLES               FL   34112‐3749
PROKSCH, PAUL A                    4176 MCGUFFEY RD                                                                         LOWELLVILLE          OH   44436‐9746
PROKUDA JR, THOMAS P               18110 HENRY CT                                                                           RAY                  MI   48096‐3546
PROLITERACY WORLDWIDE              1320 JAMESVILLE AVE                                                                      SYRACUSE             NY   13210‐4224
                                     09-50026-mg            Doc 7123-32        Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
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Name                                Address1                             Address2                       Address3             Address4                  City            State Zip
PROLOGIS                            BANK OF AMERICA                      PO BOX 60000                   FILE NO 73103                                  SAN FRANCISCO    CA 94160‐0001
PROLOGIS DEVELOPMENT SERVICES INC   2310 LYNDON B JOHNSON FWY STE 200                                                                                  DALLAS           TX 75234‐7312

PROLOGIS INDUSTRIAL PROPERTIESINC   PO BOX 847757                                                                                                      DALLAS           TX   75284‐7757
PROMA SPA                           VIALE CARLO III                      I TRAVERSA VIA GALVANI                              SAN NICOLA LA STRADA
                                                                                                                             81020 ITALY
PROMAC AUTOMATION                   DIV OF 1453836 ONTARIO LTD           160 GIBSON DR UNIT 9                                MARKHAM CANADA ON
                                                                                                                             L3R 3K1 CANADA
PROMAN SQUARE                       15019 STONETOWER DR                 C/O MICHAEL STEPHEN SQUARE                                                     SAN ANTONIO     TX    78248‐2705
PROMARK ELEC/COLUMBU                1909 ARLINGATE LN                                                                                                  COLUMBUS        OH    43228‐4113
PROMASTER AUTOMOTIVE                166 COUNTY ROAD 623                                                                                                ENTERPRISE      AL    36330‐5708
PROMEDIA LLC                        3518 W LAKE CENTER DR STE D                                                                                        SANTA ANA       CA    92704‐6979
PROMEDIA LLC D/B/A                  NATIONAL MUSCLE CAR ASSOCIATION AND MUSCLE CAR NATIONALS            STEVE WOLCOTT, CEO   3518 W LAKE CENTER        SANTA ANA       CA    92704
                                                                                                                             DRIVE SUITE D
PROMEDIA PUBLISHING              3518 W LAKE CENTER DR STE D                                                                                           SANTA ANA       CA 92704‐6979
PROMEDICA CENTRAL PH             PO BOX 2804                                                                                                           TOLEDO          OH 43606‐0804
PROMEDICA TRANSPORTATION NETWORK                                         1652 HOLLAND RD                                                                               OH 43537

PROMEDICA WEST PHYSC                PO BOX 2804                                                                                                        TOLEDO          OH    43606‐0804
PROMENADE MARKETING                 PO BOX 23398                                                                                                       BROOKLYN        NY    11202‐3398
PROMENCHENKEL, CAROL                PO BOX 654                                                                                                         GRAND BLANC     MI    48480
PROMENCHENKEL, GREGORY J            1019 SUSSEX LN                                                                                                     FLINT           MI    48532‐2655
PROMENCHENKEL, RITA E               1415 HUGHES AVE                                                                                                    FLINT           MI    48503‐3276
PROMENCHENKEL, TIFFANYE J           1449 TRANSUE AVE                                                                                                   BURTON          MI    48509‐2425
PROMER, ALBERT J                    23612 CARRIAGE LN                                                                                                  NORTH OLMSTED   OH    44070‐1409
PROMER, LAWRENCE R                  11542 FOGG LAKE RD                                                                                                 MONTAGUE        MI    49437‐9591
PROMER, RAYMOND J                   8673 FERRY ST APT 207                                                                                              MONTAGUE        MI    49437‐1385
PROMES TRENITE VAN DOORNE           PO BOX 504                           JULIANAPLEIN 22 CURACAO                             ANTILLES NETHERLANDS
                                                                                                                             NETHERLANDS
PROMESS INC                         11429 GRAND RIVER RD                 PO BOX 748                                                                    BRIGHTON        MI    48116‐9547
PROMESS INCORPORATED                11429 GRAND RIVER RD                                                                                               BRIGHTON        MI    48116‐9547
PROMET SERVICE                      PO BOX 13395                                                                                                       TEMPE           AZ    85284‐0057
PROMETEC GMBH                       47711 CLIPPER ST STE 200                                                                                           PLYMOUTH        MI    48170‐3594
PROMETEC INC                        47711 CLIPPER ST STE 200                                                                                           PLYMOUTH        MI    48170‐3594
PROMETRIC 5858‐5871                 100 WALNUT AVE                                                                                                     CLARK           NJ    07066‐1253
PROMIND SORI S R L                  VIA ANDREA SANSOVINO 243/40                                                              10151 TORINO (TO) ITALY
PROMIND SORI S.R.L.                 VIA ANDREA SANSOVINO, 243/40                                                                                       TORINO                10151
PROMINSKI, JAYNE E                  2984 SECLUDED ACRES DR 21                                                                                          DORR            MI    49323
PROMISE PARKING                     ATTN: ARTHUR VARTABEDIAN             3092 W GRAND BLVD                                                             DETROIT         MI    48202‐3005
PROMMERSBERGER, EUGENE D            6233 S BISCAYNE DR                                                                                                 NORTH PORT      FL    34287‐2004
PROMMESA SERVICIOS SA DE CV         ANA MARIA BERNAL X52                 GALZADA SAN MATEO 40                                                          NEW BERLIN      WI    53151
PROMMESA SERVICIOS SA DE CV         CALZ SAN MATEO NO 40 COL DON B       CP 52946 ATIZAPAN ESTADO DE                         MEXICO DCN16265056
                                                                                                                             MEXICO
PROMMESA SERVICIOS SA DE CV         GALZADA SAN MATEO 40                                                                     CIUDAD ADOLFO LOPEZ
                                                                                                                             MATEOS EM 82946 MEXICO
PROMOD SETH                         3015 THE HIGHLANDS DR                                                                                              SUGAR LAND       TX   77478‐4261
PROMOMAG INC                        855 RUE SOULANGES                                                                        REPENTIGNY PQ J5Y 1Z9
                                                                                                                             CANADA
PROMONTORY FINANCIAL GROUP LLC      ATTN: CORPORATE OFFICER/AUTHORIZED   1201 PENNSYLVANIA AVE NW STE                                                  WASHINGTON      DC 20004‐2443
                                    AGENT                                617
PROMOTION AGENCY                    4828 GROVER DR                                                                                                     BRIGHTON        MI 48116‐4720
PROMOTION RESOURCES UNLIMITED       1820 N 1100 E                                                                                                      SHERIDAN        IN 46069‐9047
                                    09-50026-mg             Doc 7123-32        Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                               Address1                              Address2                    Address3                  Address4               City               State Zip
PROMOTIONAL DESIGN CONCEPTS INC    DBA CREATIVE INFLATABLES              9872 RUSH ST                SPC 1                                            E EL MONTE          CA 91733‐2635
PROMOTIONAL RESOURCES              UNLIMITED INC                         25810 SCHULLEY RD                                                            ARCADIA             IN 46030‐9786
PROMOTIONAL SPECIALISTS INC        210 S PINELLAS AVE                    STE 215                                                                      TARPON SPGS         FL 34689‐3656
PROMOTIONS IN MOTION INC           5243 MOREHEAD RD                                                                                                   HARRISBURG          NC 28075
PROMOTIONS UNLIMITED 2000 INC      20700 CIVIC CENTER DR STE 170                                                                                      SOUTHFIELD          MI 48076‐4148
PROMOWICZ, MICHAEL E               1212 94TH ST                                                                                                       NIAGARA FALLS       NY 14304‐2609
PROMPHAN DANAPAT                   634 SYCAMORE ST APT 2F                                                                                             CINCINNATI          OH 45202‐2536
PROMPT PATTERN INC                 4175 E 10 MILE RD                                                                                                  WARREN              MI 48091‐1508
PRONATH, ELEANOR E                 114 BRECKENRIDGE DRIVE                                                                                             SIX MILE            SC 29682
PRONESKY, DAVID A                  14456 S HILLCREST RD                                                                                               LOCKPORT             IL 60491‐7539
PRONK, EDITH Y                     4310 FOXFIRE LN N                                                                                                  WILSON              NC 27896‐9132
PRONOVICH, KIMBERLY KAY            33511 MOUNTAIN VW                                                                                                  TRINIDAD            CO 81082‐3996
PRONOVICH, MARK A                  33511 MOUNTAIN VW                                                                                                  TRINIDAD            CO 81082‐3996
PRONOVICH, MARK ALLEN              33511 MOUNTAIN VIEW                                                                                                TRINIDAD            CO 81082‐3996
PRONOVICH, WILLIAM J               2033 EAGLE POINTE                                                                                                  BLOOMFIELD HILLS    MI 48304‐3807
PRONSKE & PATEL PC                 ATTN RAKHEE V PATEL ESQ               ATTY FOR BOYD BRYANT        2200 ROSS AVENUE SUITE                           DALLAS              TX 75201
                                                                                                     5350
PRONSKE & PATEL, P.C.              ATT: RAKHEE V. PATEL, ESQ.            ATTY FOR BOYD BRYANT        2200 ROSS AVE STE 5350E                          DALLAS              TX   75201‐7903
PRONSKE & PATEL, P.C.              ATTY FOR BOYD BRYANT, ON BEHALF OF    GERRIT M. PRONSKE, ESQ.     2200 ROSS AVE STE 5350E                          DALLAS              TX   75201‐7903
                                   HIMSELF AND ALL OTHERS SIMILARLY SI

PRONTI, RICHARD H                  31 W 31ST ST                                                                                                       BAYONNE            NJ    07002‐3903
PRONTI, RICHARD H.                 31 W 31ST ST                                                                                                       BAYONNE            NJ    07002‐3903
PRONTIKER, STEVEN                  173 LINCOLN HALL RD                                                                                                ELIZABETH          PA    15037‐2351
PRONTO                             4343 NORMANDY CT STE B                                                                                             ROYAL OAK          MI    48073‐2201
PRONTO DELIVERY SERVICE            405 N T ST                            HARLINGEN BUSINESS PK                                                        HARLINGEN          TX    78550
PRONTO EMERGENCY FREIGHT INC       6525 ANGOLA RD                                                                                                     HOLLAND            OH    43528‐9651
PRONTO FREIGHT WAYS INC            PO BOX 1759                                                                                                        TAYLOR             MI    48180‐6759
PRONTO LUBE & TUNE                 6200 W OVERLAND RD                                                                                                 BOISE              ID    83709‐3061
PRONY NARCISSE                     PO BOX 1144                                                                                                        LINDEN             NJ    07036‐0002
PROOS MANUFACTURING                SCOTT DILL                            1037 MICHIGAN                                                                PORTAGE            MI    49002
PROOS MANUFACTURING INC            1037 MICHIGAN ST NE                                                                                                GRAND RAPIDS       MI    49503‐1907
PROOS MFG INC                      SCOTT DILL                            1037 MICHIGAN                                                                PORTAGE            MI    49002
PROPAK                             AKA DANIEL C LUNDMARK                 347 CHESTNUT HILL RD                                                         YORK               PA    17402‐9561
PROPANE PLUS AUTOMOTIVE INC.       3045 FAITHFULL AVE                                                                          SASKATOON SK S7K 8B3
                                                                                                                               CANADA
PROPATH ASSOCIATES                 PO BOX 678174                                                                                                      DALLAS              TX 75267‐8174
PROPER GROUP INTERNATIONAL, INC.   13870 E 11 MILE ROAD                                                                                               WARREN              MI 48089
PROPER GROUP INTERNATIONAL, INC.   ATTN: CORPORATE OFFICER/AUTHORIZED    13870 E 11 MILE RD                                                           WARREN              MI 48089‐1471
                                   AGENT
PROPER MOLD & ENGINEERING INC      13870 E 11 MILE RD                                                                                                 WARREN             MI    48089‐1471
PROPER MOLD & ENGINEERING INC      TOM RUCZYNSKI X135                    101 CLEMSON RESEARCH BLVD                                                    KENTWOOD           MI    49512
PROPER MOLD/ANDERSON               101 CLEMSON RESEARCH BLVD                                                                                          ANDERSON           SC    29625‐6548
PROPER MOLD/MI                     12900 HALL RD STE 450                                                                                              STERLING HTS       MI    48313‐1175
PROPER MOLD/WARREN                 13870 E 11 MILE RD                                                                                                 WARREN             MI    48089‐1471
PROPER POLYMERS ‐ ANDERSON INC     13870 E 11 MILE RD                                                                                                 WARREN             MI    48089‐1471
PROPER STORAGE SYSTEMS INC         PO BOX 803                                                                                                         SEGUIN             TX    78156‐0803
PROPER TOOL/WAREN                  13870 E 11 MILE RD                                                                                                 WARREN             MI    48089‐1471
PROPER, BRUCE C                    1550 E RATTALEE LAKE RD                                                                                            HOLLY              MI    48442‐8544
PROPER, DOUGLAS J                  567 GREAT OAKS MEADOWS D                                                                                           WENTZVILLE         MO    63385
PROPER, DOUGLAS L                  PO BOX 203                                                                                                         FOSTORIA           MI    48435‐0203
PROPER, JAMES A                    3590 PALMER RD                                                                                                     RANSOMVILLE        NY    14131‐9527
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Name                              Address1                                  Address2                          Address3              Address4         City                  State Zip
PROPER, JAMES F                   21 N OUTER DR                                                                                                      VIENNA                 OH 44473
PROPER, LARRY B                   230 SYLVAN DR                                                                                                      DELAWARE               OH 43015‐8857
PROPER, MARY F                    1231 ANDOVER CT                                                                                                    WIXOM                  MI 48393‐1599
PROPER, ROBERT L                  181 W BROOKLYN AVE                                                                                                 PONTIAC                MI 48340‐1125
PROPER, SCOTT D                   36 CORNELL AVE                                                                                                     MASSENA                NY 13662‐1422
PROPER, SCOTT DAVIS               36 CORNELL AVE                                                                                                     MASSENA                NY 13662‐1422
PROPERTY SERVICES INC             FIRST FINANCIAL CENTER SUITE 100 110 S.                                                                            SIOUX FALLS            SD 57101
                                  PHILLIPS AVENUE PO BOX 2208
PROPES MOSS PAULINE               PROPES MOSS, PAULINE                      1114 PLATT DR                                                            PLANO                 TX   75023
PROPES, DELTON R                  9623 S 67TH EAST AVE                                                                                               TULSA                 OK   74133
PROPES, JASON R                   1713 BEECH DRIVE NORTH                                                                                             PLAINFIELD            IN   46168‐2137
PROPES, JOYCE A                   6491 S COUNTY ROAD 700 E                                                                                           WALTON                IN   46994‐9357
PROPES, PAULINE                   25852 SALEM CHURCH RD                                                                                              ARCADIA               IN   46030‐9764
PROPES, RONALD L                  2348 BIRCH TRACE DR                                                                                                YOUNGSTOWN            OH   44515‐4913
PROPHET, BILLY H                  142 23RD ST APT 304                                                                                                TOLEDO                OH   43604‐6509
PROPHET, CALVIN J                 333 N TROY #710                                                                                                    ROYAL OAK             MI   48067
PROPHET, CHARLES E                23665 MABEL CT                                                                                                     BROWNSTOWN            MI   48183‐5465
PROPHET, CHARLES E.               23665 MABEL CT                                                                                                     BROWNSTOWN            MI   48183‐5465
PROPHET, DELPHINE                 912 WOODLAND AVE                                                                                                   TOLEDO                OH   43607
PROPHET, PHILIP                   10190 N 300 W                                                                                                      ALEXANDRIA            IN   46001‐8416
PROPHET, PHILIP A                 10190 N 300 W                                                                                                      ALEXANDRIA            IN   46001‐8416
PROPHIT, EVELYN G                 PO BOX 7294                                                                                                        INDIAN LAKE ESTATES   FL   33855‐7294
PROPHIT, MALCOLM T                1015 CADIEUX RD 1                                                                                                  GROSSE POINTE         MI   48230
PROPPE, SHIRLEY L                 5910 S DETROIT ST                                                                                                  CENTENNIAL            CO   80121‐2808
PROPPER, RICHARD L                3315 MORRISH RD                                                                                                    SWARTZ CREEK          MI   48473‐9761
PROPPER, RICHARD LYNN             3315 MORRISH RD                                                                                                    SWARTZ CREEK          MI   48473‐9761
PROPPS, CLEON                     100 W. VENICE AVE. SUITE 1                                                                                         VENICE                FL   34285
PROPPS, CLEON W                   100 W. VENICE AVE. SUITE 1                                                                                         VENICE                FL   34285
PROPPS, MADALENE C                100 W. VENICE AVE. SUITE 1                                                                                         VENICE                FL   34285
PROPRI JR, LAWRENCE B             PO BOX 160                                                                                                         CHARM                 OH   44617‐0160
PROPRI, JOSEPH E                  1939 LYNTZ ROAD SW                                                                                                 WARREN                OH   44481
PROPST JOHN H                     PROPST, JOHN H                            AVIS WITTEN & WANDLING            111 STRATTON STREET                    LOGAN                 WV   25601
PROPST, DAVID A                   11 DIMELY CT                                                                                                       BALTIMORE             MD   21220‐1246
PROPST, DIANE S                   408 S MAIN ST APT 202                                                                                              JANESVILLE            WI   53545‐4888
PROPST, FREDERICK L               1313 AIRFIELD LN                                                                                                   MIDLAND               MI   48642‐4791
PROPST, JOHN H                    AVIS WITTEN & WANDLING                    111 STRATTON ST                                                          LOGAN                 WV   25601‐3610
PROPST, LUCILLE D                 13 PETTIGREW ST.                          LINCOLN ESTATE                                                           GETTYSBURG            PA   17325‐3223
PROPST, LUCY H                    PO BOX 548                                                                                                         FRANKLIN              WV   26807‐0548
PROPST, MARJORIE A                4349 SE BAYSHORE TER                                                                                               STUART                FL   34997‐6901
PROPST, ONA R                     134 SHELLY RD                                                                                                      GLEN BURNIE           MD   21061‐1622
PROPST, PEGGY G                   1185 INA DR                                                                                                        LORDSTOWN             OH   44481‐8636
PROPST, PEGGY G                   1185 INA DR SW                                                                                                     WARREN                OH   44481‐8636
PROPST, ROGER L                   11168 FULLER ST                                                                                                    GRAND BLANC           MI   48439‐1037
PROPST, SHIRLEY A                 412 SOUTH JONES                                                                                                    MAQUOKETA             IA   52060
PROPST, THELMA F                  4920 VICROY CT                            UNIT 220                                                                 CAPE CORAL            FL   33904
PROPST, THOMAS W                  163 TALBOTT DR                                                                                                     BOWLING GREEN         KY   42103‐1370
PROPST, WILLARD J                 2028 OLD LATTER RD                                                                                                 NEWTON                NC   28658‐7630
PROQUEST                          STAN POLITOWICZ                           3050 UNION LAKE RD STE 8F # 187                                          COMMERCE TWP          MI   48382‐4508
PROQUEST INFORMATION & LEARNING   6216 PAYSPHERE CIR                                                                                                 CHICAGO               IL   60674‐0062

PROQUEST INFORMATION AND LEARNING PO BOX 1346                                                                                                        ANN ARBOR             MI 48106‐1346
COMPANY
                                    09-50026-mg              Doc 7123-32         Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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PROQUEST INFORMATION AND LEARNING   300 NORTH ZEEB RD., P.O. BOX 1346, ANN                                                                                       ANN ARBOR         MI 48106
COMPANY                             ARBOR
PROQUEST LLC                        DBA PROQUEST INFORMATION & LEA         789 E EISENHOWER PKWY            PO BOX 1346 UPDT 11/29/07                            ANN ARBOR        MI 48108‐3218
                                                                                                            AM
PRORIDER INC                        PO BOX 52650                                                                                                                 BELLEVUE         WA   98015‐2650
PROSACHIK, FRANK A                  30 N INDEPENDENCE BLVD                                                                                                       NEW CASTLE       DE   19720‐4457
PROSANTA K GUHA                     457 FOX HILLS DR N                                                                                                           BLOOMFIELD       MI   48304‐1309
PROSCAN RADIOLOGY BU                PO BOX 634054                                                                                                                CINCINNATI       OH   45263‐4054
PROSCAPE                                                                   285 E OAK RDG                                                                                          FL   32809
PROSCH, ELDON G                     9340 LAKE RD                                                                                                                 OTISVILLE        MI   48463‐9713
PROSCH, ERMA J                      20484 9 MILE RD                                                                                                              REED CITY        MI   49677‐8475
PROSCH, JOYCE W                     732 S. STATE ST.                       APT.#61                                                                               DAVISON          MI   48423‐2810
PROSCH, JOYCE W                     732 S STATE RD APT 61                                                                                                        DAVISON          MI   48423‐1774
PROSCHKOW, ERIKA                    5375 CHELTENHAM DR                                                                                                           TROY             MI   48098‐2422
PROSE JR, CHARLES W                 7071 OAKWOOD RD                                                                                                              PARMA HEIGHTS    OH   44130‐5042
PROSE, DAVID E                      2642 ROLLING RIDGE LN NW                                                                                                     GRAND RAPIDS     MI   49534‐1344
PROSEK, SHIRLEY                     144 MAIN ST, BOX 88                                                                                                          PULASKI          WI   54162
PROSEN, JUDY A                      3634 KIRK RD                                                                                                                 YOUNGSTOWN       OH   44511‐2050
PROSENJAK, JOHN J                   516 ASHLEY AVE                                                                                                               YOUNGSTOWN       OH   44509‐1712
PROSEP                              7328 KINNIKINNICK DR                                                                                                         ROSCOE           IL   61073‐9665
PROSERVICE MACHINE LTD              444 W LASKEY RD STE N                                                                                                        TOLEDO           OH   43612‐3467
PROSERVICE MACHINE LTD              ATTN: CORPORATE OFFICER/AUTHORIZED     444 W LASKEY RD STE N                                                                 TOLEDO           OH   43612‐3467
                                    AGENT
PROSEUS, ARTHUR H                   537 JULIAN AVE                                                                                                               LANSING          MI   48917‐2715
PROSEUS, CHRISTOPHER W              11834 MCCAUGHNA RD                                                                                                           GAINES           MI   48436‐8821
PROSEUS, CHRISTOPHER W.             11834 MCCAUGHNA RD                                                                                                           GAINES           MI   48436‐8821
PROSEUS, ELIZABETH GAYE             10028 S FRANCIS RD                                                                                                           DEWITT           MI   48820‐9140
PROSEUS, MORGAN A                   7244 PEAR TREE MDWS                                                                                                          ONTARIO          NY   14519‐9617
PROSEUS, STEVEN A                   10028 S FRANCIS RD                                                                                                           DEWITT           MI   48820‐9140
PROSISE, ALLEN                      GUY WILLIAM S                          PO BOX 509                                                                            MCCOMB           MS   39649‐0509
PROSISE, JAMES W                    5803 MELISSA LN                                                                                                              POPLAR BLUFF     MO   63901‐9638
PROSISE, KENNETH C                  RR 1 BOX 126                                                                                                                 WILLIAMSVILLE    MO   63967‐9714
PROSKAUER ROSE LLP                  1585 BROADWAY                                                                                                                NEW YORK         NY   10036
PROSKAUER ROSE LLP                  ATTY FOR STATE STREET BANK AND TRUST   ATT: SCOTT K. RUTSKY & ADAM T.   1585 BROADWAY                                        NEW YORK         NY   10036‐8299
                                    CO                                     BERKOWITZ
PROSNIEWSKI JR, LEO C               2511 CLARET DR                                                                                                               FALLSTON         MD 21047‐2119
PROSONIC, MICHAEL                   203 AUSTIN AVE                                                                                                               SYRACUSE         NY 13207‐1006
PROSOURCE FINANCIAL CORP            ACCT OF WILFRED G CASWELL
PROSOWSKI FRANK (491282)            BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                                         NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
PROSOWSKI, ANDREW B                 4755 ELIZABETH LN                                                                                                            BROOKLYN         OH 44144‐3247
PROSPAL PHIL                        315 LAGO CIR                           APT 202                                                                               WEST MELBOURNE   FL 32904‐3214
PROSPEC TECHNOLOGIES INC            3235 WHARTON WAY                                                                                    MISSISSAUGA ON L4X 2B6
                                                                                                                                        CANADA
PROSPECT MOTORS HERTZ FUNDING       PO BOX 1360                                                                                                                  JACKSON          CA   95642‐1360
PROSPECT MOTORS HERTZ IN‐STATE      PO BOX 1360                                                                                                                  JACKSON          CA   95642‐1360
PROSPECT MOTORS, INC.               PO BOX 1360                                                                                                                  JACKSON          CA   95642‐1360
PROSPECT MOTORS, INC./BUDGET        PO BOX 1360                                                                                                                  JACKSON          CA   95642‐1360
PROSPECT MOTORS, INC/NCR            PO BOX 1360                                                                                                                  JACKSON          CA   95642‐1360
PROSPECT MOTORS,INC./BUDGET         PO BOX 1360                                                                                                                  JACKSON          CA   95642‐1360
PROSPECT MOTORS‐HERTZ IN‐STATE      PO BOX 1360                                                                                                                  JACKSON          CA   95642‐1360
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PROSPECT MOTORS‐HERTZ OUT‐OF‐STATE PO BOX 1360                                                                                                     JACKSON            CA 95642‐1360

PROSPECT MOTORS/ALAMO                 PO BOX 1350                                                                                                  JACKSON           CA   95642‐1380
PROSPECT MOTORS/ALAMO/CA              PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/ALAMO/FL              PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/AVIS                  6 SYLVAN WAY                                                                                                 PARSIPPANY        NJ   07054
PROSPECT MOTORS/AVIS/CA               PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/CITICAPITAL FLEET     PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/CITICAPITAL FLEET     STE 600                          300 EAST JOHN CARPENTER FWY                                                 IRVING            TX   75062‐2372
PROSPECT MOTORS/DOLLAR                PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/ENTERPRISE 49 STATE   PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360

PROSPECT MOTORS/ENTERPRISE 49         PO BOX 1360                                                                                                  JACKSON           CA 95642‐1360
STATES
PROSPECT MOTORS/ENTERPRISE CA         PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/HERTZ                 PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/NCR/CA                PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/NCR/FL                PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360
PROSPECT MOTORS/RAH CORPORATION       PO BOX 1360                                                                                                  JACKSON           CA   95642‐1360

PROSPECT MOTORS/STEWARD VENTURES      PO BOX 1360                                                                                                  JACKSON           CA 95642‐1360
INC
PROSPECT MOTORS/VANGUARD              PO BOX 1360                                                                                                  JACKSON           CA 95642‐1360
CALIFORNIA
PROSPECT MOTRS/VANGUARD OUT OF        PO BOX 1360                                                                                                  JACKSON           CA 95642‐1360
STATE
PROSPECT MOUTAIN FUND LIMITED         C/O ORE HILL PARTNERS LLC        ATTN CLAUDE A BAUM ESQ        650 FIFTH AVENUE 9TH FLOOR                    NEW YORK          NY 10019

PROSPECT MTRS/VANGUARD OUT OF         PO BOX 1360                                                                                                  JACKSON           CA 95642‐1360
STATE
PROSPECT PLACE                        11 NORTH PROSPECT ST                                                                                         YPSILANTI         MI   48198
PROSPERI, IRMA R                      6541 CREST TOP DR                                                                                            WEST BLOOMFIELD   MI   48322‐2655
PROSPERO REYES                        1111 WHEELOCK ST                                                                                             DETROIT           MI   48209‐1939
PROSS, ALFRED H                       P O BOX 247 PROSS                                                                                            PINCONNING        MI   48650
PROSSER, AUDREY                       708 STOCKTON AVENUE                                                                                          GROVE CITY        PA   16127‐1140
PROSSER, BARRY C                      197 BROOKMOUNT RD                                                                                            DAYTON            OH   45429‐6055
PROSSER, CHARLES W                    658 W.DRUEN RD.                                                                                              MAGNOLIA          KY   42757‐7615
PROSSER, CHARLES W                    658 W DRUEN RD                                                                                               MAGNOLIA          KY   42757‐7615
PROSSER, DAVID L                      6653 WICK RD                                                                                                 LOCKPORT          NY   14094‐9452
PROSSER, DAVID T                      3109 BRAINTREE RD                                                                                            FRANKLIN          TN   37069‐6415
PROSSER, DENNIS J                     3109 KRUEGER RD                                                                                              N TONAWANDA       NY   14120‐1407
PROSSER, DUANE N                      443 MATARES DR                                                                                               PUNTA GORDA       FL   33950‐5228
PROSSER, EUGENE W                     60 PARK AVE                                                                                                  TONAWANDA         NY   14150‐5315
PROSSER, HUGH M                       11178 HYNE RD                                                                                                BRIGHTON          MI   48114‐7623
PROSSER, JOAN C                       3174 HADLEY RD                                                                                               HADLEY            PA   16130‐2740
PROSSER, JOE C                        10811 W GRANDVIEW DR                                                                                         COLUMBUS          IN   47201‐8963
PROSSER, JOHN W                       10874 CLEARWATER DRIVE                                                                                       HAMPTON           GA   30228‐2648
PROSSER, JON C                        1920 DEERWALK CT                                                                                             AVON              IN   46123‐7347
PROSSER, JONATHAN
PROSSER, JOSEPH
PROSSER, JOSEPHINE                    2229 DONATO DR                                                                                               BELLEAIR BCH      FL 34635‐3400
PROSSER, JUDY                         515 GARTLAND AVE                                                                                             SANDUSKY          OH 44870
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Name                                Address1                           Address2                Address3       Address4               City             State Zip
PROSSER, KENNETH H                  2523 HIGHLAND AVE                                                                                MCKEESPORT        PA 15132‐1241
PROSSER, KENNETH P                  233 CREEKWOOD DR                                                                                 WESTFIELD         IN 46074‐9424
PROSSER, LARRY D                    707 BRENTWOOD ST                                                                                 TILTON             IL 61833‐8008
PROSSER, LESTER L                   515 GARTLAND AVE                                                                                 SANDUSKY          OH 44870‐1804
PROSSER, LILLIAN                    403 S BARBOUR ST                                                                                 BEVERLY HILLS     FL 34465‐4350
PROSSER, NELLIE S                   1016 DENNIS DR                                                                                   CHARLESTON        SC 29410‐2223
PROSSER, PATRICIA A                 233 CREEKWOOD DR.                                                                                WESTFIELD         IN 46074‐9424
PROSSER, PAUL D                     6247 DORCHESTER RD                                                                               LOCKPORT          NY 14094‐5903
PROSSER, ROBERT C                   801 CAPE HAZE LN                                                                                 NAPLES            FL 34104‐4115
PROSSER, ROBERT G                   10233 W SUN CITY BLVD                                                                            SUN CITY          AZ 85351‐3937
PROSSER, ROBERT J                   434 BUCHANAN ST                                                                                  SANDUSKY          OH 44870‐4717
PROSSER, SHARON K                   6390 OAK ST                                                                                      GLADWIN           MI 48624‐9003
PROSSER, SHAUNA R                   19 DUERR DR                                                                                      WEST MILTON       OH 45383‐1404
PROSSER, SUSAN                      BREWSTER CLARK O                   2617 E 21ST ST                                                TULSA             OK 74114‐1707
PROSSER, VICTOR G                   13850 TULSA CT                                                                                   MAGALIA           CA 95954‐9571
PROST, DIANNE E                     103 CLEVELAND AVE                                                                                WILMINGTON        DE 19803‐2568
PROST, WALLACE F                    1625 S DIVISION ST                                                                               CARTERVILLE        IL 62918‐1957
PROSTAK, ARNOLD                     1795 SHERIDAN DR                                                                                 ANN ARBOR         MI 48104‐4053
PROSTAK, MEREDITH A                 1719 SHADFORD RD                                                                                 ANN ARBOR         MI 48104‐4543
PROSTAR PEST SVCS INC               5677 S TRANSIT RD #300                                                                           LOCKPORT          NY 14094‐5842
PROSTAR PEST SVCS INC               6601 S TRANSIT RD                                                                                LOCKPORT          NY 14094
PROSTELL, ROSELLA M                 1015 E MULBERRY ST                                                                               KOKOMO            IN 46901‐4773
PROSTHETIC ORTHOTIC                 3303 N 75TH ST                                                                                   SCOTTSDALE        AZ 85251‐6402
PROSTROLLO MOTOR COMPANY            PAT PROSTROLLO                     1001 S WASHINGTON AVE                                         MADISON           SD 57042‐3412
PROSTROLLO MOTOR COMPANY            1001 S WASHINGTON AVE                                                                            MADISON           SD 57042‐3412
PROSTROLLO MOTOR SALES, INC.        500 4TH ST NE                                                                                    HURON             SD 57350‐1619
PROSTROLLO MOTOR SALES, INC.        JOHN DENIGER                       500 4TH ST NE                                                 HURON             SD 57350‐1619
PROSUHN, FREDERICK C
PROSUM INC                          2321 ROSECRANS AVE STE 4225                                                                      EL SEGUNDO        CA 90245‐4958
PROSYST SOFTWARE GMBH               DUERENER STRASSE 405                                                      KOLN D‐50858 GERMANY
PROSZEK, HENRY R                    7925 APPOLINE ST                                                                                 DEARBORN         MI   48126‐1109
PROTA, LILLIAN                      495 VAN CORTLANDT PARK AVE                                                                       YONKERS          NY   10705
PROTACK, MARGARET R                 7 LAFFERTY LANE                                                                                  NEWARK           DE   19711‐2353
PROTASIEWICZ SR, PAUL D             2161 N CARTER RD                                                                                 LINWOOD          MI   48634‐9749
PROTASIEWICZ, ARKADIUSZ             71 FILON AVE                                                                                     ROCHESTER        NY   14622‐1964
PROTASIEWICZ, TATIANA               1060 N HUNT DR                                                                                   MESA             AZ   85203‐5035
PROTEC ENGINEERING INC              29550 RYAN RD                                                                                    WARREN           MI   48092‐2213
PROTECH AUTOMOTIVE                  905 S ROCK BLVD                                                                                  SPARKS           NV   89431‐5923
PROTECH AUTOMOTIVE SERVICE          180 E 40TH ST                                                                                    HOLLAND          MI   49423‐5208
PROTECH AUTOMOTIVE SERVICE          3712 N COURTENAY PKWY                                                                            MERRITT ISLAND   FL   32953
PROTECH GLOBAL SOLUTIONS INC        45 BUTTERFIELD CIR STE C                                                                         EL PASO          TX   79905‐5222
PROTECH/WINNIPEC                    425 BERRY ST.                                                             WINNIPEC MB R3J1N6
                                                                                                              CANADA
PROTECTAIR                          2751 JOHN ST                                                              MARKHAM ON L3R 2Y8
                                                                                                              CANADA
PROTECTION INCENDIE DE LA CAPITAL
PROTECTION ONE                      PO BOX 5714                                                                                      CAROL STREAM     IL 60197‐5714
PROTECTION ONE                      1725 E 14 MILE RD STE 110                                                                        TROY             MI 48083‐4600
PROTECTION ONE                      C/O CREDITORS BANKRUPTCY SERVICE   P O BOX 740933                                                DALLAS           TX 75374
PROTECTION SERVICES INC
PROTECTION SERVICES, INC            635 LUCKNOW RD                                                                                   HARRISBURG       PA 17110‐1635
PROTECTIVE CL/BUFFAL                2150 ELMWOOD AVE                                                                                 BUFFALO          NY 14207‐1910
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Name                                 Address1                             Address2                         Address3            Address4               City            State Zip
PROTECTIVE CL/BUFFAL                 850 STEPHENSON HWY STE 508           C/O FRED HARRIS AND ASSOCIATES                                              TROY             MI 48083‐1174

PROTECTIVE CLOSURE CO, INC.          BEV HARTEN                           2150 ELMWOOD AVE                 CAPLUGS DIV.                               BUFFALO         NY    14207‐1910
PROTECTIVE CLOSURE CO, INC.          BEV HARTEN                           CAPLUGS DIV.                     2150 ELMWOOD AVE.                          OXFORD          MI    48371
PROTECTIVE INDUSTRIES INC            2150 ELMWOOD AVE                     CAPLUGS DIV                                                                 BUFFALO         NY    14207‐1910
PROTECTIVE INDUSTRIES INC            CAPLUGS DIV PLT14                    2150 ELMWOOD AVE STM REC                                                    BUFFALO         NY    14207
PROTECTIVE INDUSTRIES INC            2150 ELMWOOD AVE                                                                                                 BUFFALO         NY    14207‐1910
PROTECTIVE INDUSTRIES INC            7090 EDINBORO RD                                                                                                 ERIE            PA    16509‐4447
PROTECTIVE INDUSTRIES LLC            2150 ELMWOOD AVE                                                                                                 BUFFALO         NY    14207‐1910
PROTECTIVE INDUSTRIES LLC            7090 EDINBORO RD                                                                                                 ERIE            PA    16509‐4447
PROTECTIVE INDUSTRIES LLC            BEV HARTEN                           2150 ELMWOOD AVE                 CAPLUGS DIV.                               BUFFALO         NY    14207‐1910
PROTECTIVE INDUSTRIES LLC            BEV HARTEN                           CAPLUGS DIV.                     2150 ELMWOOD AVE.                          OXFORD          MI    48371
PROTECTIVE INDUSTRIES LLC            VIKKI CLARK                          7090 EDINBORO ROAD                                                          MUSKEGON        MI    49442
PROTECTIVE/BROOKLYN                  601 39TH ST                                                                                                      BROOKLYN        NY    11232‐3101
PROTEGA, MARIA                       2537 EASTWOOD AVE                                                                                                EVANSTON        IL    60201
PROTEGO ASESORES S DE RL             BLVD MANUEL AVILA CAMACHO 36         PISO 22 COL LOMAS DE CHAPULTEP                       DF CP 11000 MEXICO
                                                                                                                               MEXICO
PROTEGO ASESORES S DE RL             BLVD MANUEL AVILA CAMACHO 36 P       22 TORRE ESMERALDA II COL DEL/                       MEXICO CITY DF 11560
                                                                                                                               MEXICO
PROTEK LIMITED                       MAINPRIZE & MAINPRIZE                126 E GRAND BLANC RD                                                        GRAND BLANC     MI    48439
PROTEK LTD                           1085 GRANT ST                                                                                                    FENTON          MI    48430‐1715
PROTELSCH, WARREN A                  5601 CASTLE CT APT 112                                                                                           RACINE          WI    53406
PROTEUS INDUSTRIES INC               340 PIONEER WAY                                                                                                  MOUNTAIN VIEW   CA    94041‐1506
PROTHE VERNON (459264)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA    23510
                                                                          STREET, SUITE 600
PROTHE, VERNON                       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA 23510‐2212
                                                                          STREET, SUITE 600
PROTHERO JR., EDGAR R                124 E HIGH ST                                                                                                    METAMORA        MI    48455‐8902
PROTHERO, EDGAR R                    5304 ATTICA RD                                                                                                   ATTICA          MI    48412‐9665
PROTHERO, ROBERT J                   30107 DELL LN                                                                                                    WARREN          MI    48092‐4808
PROTHONOTARY ALLEGHENY COUNTY        ACCT OF FREDRICK J MIDDLETON         429 FORBES AVE STE 200                                                      PITTSBURGH      PA    15219‐1604
PROTHONOTARY NEW CASTLE COUNTY       500 N KING ST STE 500                NEW CASTLECOUNTY COURTHOUSE                                                 WILMINGTON      DE    19801‐3743

PROTHONOTARY OF ALLEGHENY CNTY       ACCT OF CURTIS W NELSON              429 FORBES AVE STE 200                                                      PITTSBURGH      PA    15219‐1604
PROTHONOTARY OF ALLEGHENY CTY        ACCT OF MARSHA BOWMAN                429 FORBES AVE STE 200                                                      PITTSBURGH      PA    15219‐1604
PROTHONOTARY‐ALLEGHENY COUNTY        ACCT OF HOWARD R EVERETT             429 FORBES AVE STE 200                                                      PITTSBURGH      PA    15219‐1604
PROTHRO CHEVROLET CO., INC.          LANNES PROTHRO                       452 N BROOKS ST                                                             MANNING         SC    29102‐3323
PROTHRO CHEVROLET, BUICK, PONTIAC,   452 N BROOKS ST                                                                                                  MANNING         SC    29102‐3323

PROTHRO CHEVROLET, BUICK, PONTIAC, G LANNES PROTHRO                       452 N BROOKS ST                                                             MANNING          SC   29102‐3323

PROTHRO CHEVROLET, BUICK, PONTIAC,   452 N BROOKS ST                                                                                                  MANNING          SC   29102‐3323
GMC TRUCK
PROTHRO JR, MAJOR L                  3350 VILLA CIR SE                                                                                                ATLANTA         GA    30354‐2818
PROTHRO, F                           1215 MARTIN LUTHER KING JR BLVD                                                                                  GAINESVILLE     GA    30501‐4891
PROTHRO, MEAGAN E                    1136 HIGHWAY 1221                                                                                                MARTHAVILLE     LA    71450‐3410
PROTHRO, OTHA L                      10755 KINA CIR                                                                                                   KEITHVILLE      LA    71047‐7019
PROTHRO, OTHA LEE                    10755 KINA CIR                                                                                                   KEITHVILLE      LA    71047‐7019
PROTHRO, WALTER
PROTICH, CONCETTA D                  79 S ANDERSON RD                                                                                                 YOUNGSTOWN      OH 44515‐2602
PROTIVITI INC                        120 S LA SALLE ST STE 2200                                                                                       CHICAGO         IL 60603‐3404
PROTIVITI INC                        120 S. LASALLE, FLOOR 22                                                                                         CHICAGO         IL 60602
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Name                                Address1                          Address2              Address3         Address4                 City               State Zip
PROTIVITI INC                       120 S LASALLE FL 22                                                                               CHICAGO              IL 60603
PROTO CAST INC                      2699 JOHN DALY ST                                                                                 INKSTER             MI 48141‐3704
PROTO CAST INC                      4690 IRONTON ST                                                                                   DENVER              CO 80239‐2924
PROTO CRAFT INC                     3720 LAPEER RD                                                                                    AUBURN HILLS        MI 48326‐1732
PROTO CRAFT/AUBURN H                3720 LAPEER ROAD                  SUITE 123                                                       AUBURN HILLS        MI 48326
PROTO CRAFT/MDSN HTS                25831 COMMERCE DR                                                                                 MADISON HEIGHTS     MI 48071‐4152
PROTO CRAFT/TROY                    2719 ELLIOTT DR                                                                                   TROY                MI 48083‐4638
PROTO FAB & FIXTURE INC             35610 MOUND RD                                                                                    STERLING HEIGHTS    MI 48310‐4725
PROTO MANUFACTURING INC             1980 E MICHIGAN AVE                                                                               YPSILANTI           MI 48198‐6010
PROTO MANUFACTURING LTD             2175 SOLAR CRES                                                          OLDCASTLE ON N0R 1L0
                                                                                                             CANADA
PROTO MANUFACTURING LTD             PAT PARENT                        2175 SOLAR CRES                        OLDCASTLE, ONTARIO,
                                                                                                             CANADA,N0R 1L0
PROTO MARK/CLNTN TWP                24601 MAPLEHURST DR                                                                               CLINTON TOWNSHIP   MI   48036‐1326
PROTO MARK/NASHVILLE                POWER SALES                       P.O. BOX 29338                                                  NASHVILLE          TN   37229
PROTO PLASTICS/TROY                 1100 PIEDMONT DR                                                                                  TROY               MI   48083‐1944
PROTO TECH/S LYON                   23333 GRISWOLD RD                                                                                 SOUTH LYON         MI   48178‐9707
PROTO TECHNIQUES INC                PO BOX 33396                                                                                      DETROIT            MI   48232‐5396
PROTO TEK/ROSEVILLE                 16094 COMMON RD                                                                                   ROSEVILLE          MI   48066‐1814
PROTO TOO/FRMNGTN HL                29660 W 9 MILE RD                                                                                 FARMINGTON HILLS   MI   48336‐4804
PROTO TOOL & GAGE INC               ATTN: KEITH STEPHENS              300 S FORD BLVD                                                 YPSILANTI          MI   48198‐6067
PROTO‐CAST INC                      2699 JOHN DALY ST                                                                                 INKSTER            MI   48141‐3704
PROTO‐TECHNIQUES INC                PO BOX 33396                                                                                      DETROIT            MI   48232‐5396
PROTO‐TECHNIQUES INC                23333 GRISWOLD RD                                                                                 SOUTH LYON         MI   48178‐9707
PROTO‐TEK MANUFACTURING INC         16094 COMMON RD                                                                                   ROSEVILLE          MI   48066‐1814
PROTO‐TEK MFG INC                   16094 COMMON RD                                                                                   ROSEVILLE          MI   48066‐1814
PROTO‐VEST INC                      7400 N GLEN HARBOR BLVD                                                                           GLENDALE           AZ   85307‐1811
PROTOCRAFT MOD/WARRN                25450 RYAN RD                                                                                     WARREN             MI   48091‐1326
PROTOCRAFT SHE/TROY                 2719 ELLIOTT DR                                                                                   TROY               MI   48083‐4638
PROTOKOWICZ, LEONARD                18 HEMLOCK DR                                                                                     PARLIN             NJ   08859‐1118
PROTOMASTER                         GEWERBERING 1                                                            WILKAU‐HABLAU ZWICKAU
                                                                                                             08112 GERMANY
PROTOMASTER RIEDEL & CO GMBH        GEWERBERING 1                                                            WILKAU‐HASSLAU SC 8112
                                                                                                             GERMANY
PROTOMASTER/WILKAU                  GEWERBERING 1                                                            WILKAU‐HASSLAU 8112
                                                                                                             GERMANY
PROTOMOLD CO INC, THE               1757 HALGREN RD                                                                                   MAPLE PLAIN        MN   55359‐9004
PROTOMOLD COMPANY INC               1757 HALGREN RD                                                                                   MAPLE PLAIN        MN   55359‐9004
PROTON HOLDINGS BHD                 1254 N MAIN ST                                                                                    ANN ARBOR          MI   48104‐1041
PROTON, LOUIS W                     2895 N MELODY ST                                                                                  KINGMAN            AZ   86401‐4307
PROTOPAPA, ALBERT J                 6805 WINTERPARK AVE                                                                               YOUNGSTOWN         OH   44515‐5622
PROTOR DANE                         262 SOUTHER RD                                                                                    FLETCHER           NC   28732‐7508
PROTOTECH L/CLINTON                 44455 REYNOLDS DR                                                                                 CLINTON TWP        MI   48036‐1245
PROTOTECH LASER INC                 44455 REYNOLDS DR                                                                                 CLINTON TWP        MI   48036‐1245
PROTOTECH LASER WELDING INC         23361 QUINN RD                                                                                    CLINTON TWP        MI   48035‐3732
PROTOTECH/CLINTON TW                23361 QUINN RD                                                                                    CLINTON TWP        MI   48035‐3732
PROTOTECH/STER HGTS                 42374 YEAREGO DR                                                                                  STERLING HEIGHTS   MI   48314‐3267
PROTOTYPE & SHORT‐RUN SERVICESINC   2512 FENDER AVE STE L                                                                             FULLERTON          CA   92831‐4436

PROTOTYPE CASTING INC               4696 IRONTON ST                                                                                   DENVER             CO 80239‐2924
PROTOTYPE EXP/SCHAUM                2301 HAMMOND DR                                                                                   SCHAUMBURG          IL 60173‐3815
PROTOTYPE MOV/WARREN                28033 LIBERTY DR                                                                                  WARREN             MI 48092‐2540
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Name                               Address1                          Address2                         Address3   Address4         City                State Zip
PROTOTYPE MOVERS INC               28033 LIBERTY DR                                                                               WARREN               MI 48092‐2540
PROTOTYPE SYSTEMS INC              35835 STANLEY DR                                                                               STERLING HEIGHTS     MI 48312‐2663
PROTOTYPE TOOLING & MFG INC        34203 JAMES J POMPO DR                                                                         FRASER               MI 48026‐3475
PROTOTYPE TOOLING & MFG INC        18361 MIKE C CT                                                                                FRASER               MI 48026‐1600
PROTRADE NET LLC ‐DWYER GROUP      DOYLE JAMES                       1020 N. UNIVERSITY PARKS DRIVE                               WACO                 TX 76707
VENDOR RELATIONS
PROTRADE STEEL CO LTD              STE 114                           5700 DARROW ROAD                                             HUDSON              OH   44236‐5026
PROTRAK INTERNATIONAL INC          237 W 35TH ST STE 507                                                                          NEW YORK            NY   10001‐1905
PROTRANS INTERNATIONAL INC         8311 N PERIMETER RD                                                                            INDIANAPOLIS        IN   46241‐3628
PROTSMAN JR, TERRY                 25 SHREWSBURY AVE                                                                              HIGHLANDS           NJ   07732‐1740
PROTSMAN, TERRY E                  97 NEPTUNE PL                                                                                  NORTH MIDDLETOWN    NJ   07748‐5639
PROTSMAN, WILLIE E                 1482 LEISURE DR                                                                                FLINT               MI   48507‐4057
PROTT, DONNA                       18844 E UNION PL                                                                               AURORA              CO   80015‐4904
PROTTENGEIER, IRMA L               5366 CALLE REAL APT D                                                                          SANTA BARBARA       CA   93111‐1680
PROTTENGER II, GEORGE W            4680 ELDER LN                                                                                  SAGINAW             MI   48604‐9535
PROTTENGER, GEORGE W               1912 PROSPECT ST                                                                               SAGINAW             MI   48601‐6881
PROTULIS, STEVE                    12536 NW 58TH MNR                                                                              CORAL SPRINGS       FL   33076‐1930
PROTYNIAK, WANDA L                 429 N SYBALD ST                                                                                WESTLAND            MI   48185‐8638
PROTZMAN, DANIEL L                 312 MOBLEY DR                                                                                  STATESBORO          GA   30458‐9112
PROTZMAN, DAVID C                  7298 SWAMP CREEK RD                                                                            LEWISBURG           OH   45338
PROUD COMPANY                      600 BURSCA DR STE 602                                                                          BRIDGEVILLE         PA   15017‐1418
PROUD LAKE RECREATION AREA         MICH DEPT OF PARK AND REC         3500 WIXOM RD                                                COMMERCE TOWNSHIP   MI   48382‐2049
PROUD OF PARMA                     7001 W RIDGEWOOD DR                                                                            PARMA               OH   44129‐6922
PROUDFIT, IOLIA G                  1171 LYNN DR                                                                                   MIDDLEVILLE         MI   49333
PROUDFIT, JAMES K                  8560 BEECHWOOD DR SE                                                                           CALEDONIA           MI   49316‐9457
PROUDFOOT LAWRENCE E SR (339725)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA   23510
                                                                     STREET, SUITE 600
PROUDFOOT, EVA                     160 KINGSBRIDGE DR                                                                             GOOSE CREEK         SC   29445‐6645
PROUDFOOT, EVELYN S                2504 CARDINAL DRIVE                                                                            YOUNGSTOWN          OH   44505‐2202
PROUDFOOT, GARY                    12481 183RD AVE                                                                                BIG RAPIDS          MI   49307‐9410
PROUDFOOT, JANIE                   2531 GRIFFITH DR., N.E.                                                                        CORTLAND            OH   44410‐9657
PROUDFOOT, JOHN L                  2531 GRIFFITH DR., N.E.                                                                        CORTLAND            OH   44410‐9657
PROUDFOOT, LAWRENCE E              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA   23510‐2212
                                                                     STREET, SUITE 600
PROUDLOCK, GREGORY A               33205 BARRINGTON ST                                                                            WESTLAND            MI   48186‐4807
PROUE, EUGENE L                    7328 S PORTER RD                                                                               BRANCH              MI   49402‐9654
PROUFLIAS, NICHOLAS T              75 SILVER LAKE AVE                                                                             EDISON              NJ   08817‐5245
PROUGH, DOLORES                    837 SOLOMON CIR                                                                                UNIONTOWN           PA   15401‐6628
PROUGH, ROBERT W                   116 COOK ST                                                                                    ROMEO               MI   48065‐5106
PROULX, ALBERT J                   PO BOX 9                                                                                       ASHFORD             CT   05278‐0009
PROULX, BARBARA M.                 417 KAISER PO BOX #1                                                                           PINCONNING          MI   48650‐0001
PROULX, BARBARA M.                 PO BOX 1                          417 KAISER                                                   PINCONNING          MI   48650‐0001
PROULX, CHARLES E                  2201 VILLAGE LN APT 201                                                                        MINNEAPOLIS         MN   55431
PROULX, CHARLES E                  4781 SUMMERHILL DR                                                                             CLARKSTON           MI   48346‐3683
PROULX, CHARLES P                  344 HICKORY LN                                                                                 WATERFORD           MI   48327‐2571
PROULX, CLAIRE E                   8D FOXBROOK MANOR                                                                              BLACKSTONE          MA   01504
PROULX, CORLEEN F                  11735 HALL RD                                                                                  ATLANTA             MI   49709‐9365
PROULX, DONAT                      C/O THORNTON & NAUMES LLP         100 SUMMER STREET 30TH FLOOR                                 BOSTON              MA   02110
PROULX, DOROTHY                    244 E NEPESSING                                                                                LAPEER              MI   48446‐2354
PROULX, GREGORY A                  PO BOX 551                                                                                     PINCONNING          MI   48650‐0551
PROULX, HELEN M                    7948 MAPLE STREET                 P O BOX 36                                                   VANDERBILT          MI   49795‐9504
PROULX, HELEN M                    7948 MAPLE ST                     P O BOX 36                                                   VANDERBILT          MI   49795‐9504
                             09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                         Address1                        Address2                        Address3   Address4         City             State Zip
PROULX, HUBERT
PROULX, JOHN E               16 CHAMONIX                                                                                 LAGUNA NIGUEL     CA   92677‐8904
PROULX, JOSEPH E             8230 SUNNYS HALO CT                                                                         MIDLOTHIAN        VA   23112‐6718
PROULX, LAURI A              4598 CLINTON DR                                                                             CLARKSTON         MI   48346‐3700
PROULX, LYNN R               PO BOX 221                                                                                  AU GRES           MI   48703
PROULX, MARIE A              19 NARRAGANSETT AVE             C/O THE BETHEL METHODIST HOME                               OSSINING          NY   10562‐2843

PROULX, MICHAEL A            1903 S WOODBRIDGE ST                                                                        BAY CITY         MI    48706‐3440
PROULX, PAUL L               951 N COURT ST                                                                              AU GRES          MI    48703‐9407
PROULX, PAUL L               951 CT RD                                                                                   AUGRES           MI    48703
PROULX, RAYMOND G            45 SPRUCEBROOK RD                                                                           NORTH SCITUATE   RI    02857‐1725
PROULX, ROBERT D             35 FRUIT ST                                                                                 WORCESTER        MA    01609‐2127
PROULX, WILLIAM F            2229 RIVIERA RD                                                                             DEFIANCE         OH    43512‐3238
PROULX, WILLIAM W            32606 BRUGGEMAN DR                                                                          WARREN           MI    48088‐5716
PROUSE, CHARLES E            7066 E 300 S                                                                                BRINGHURST       IN    46913‐9685
PROUSE, GERALD E             17684 SW FREDERICK LN                                                                       SHERWOOD         OR    97140‐8850
PROUSE, INDA M               7717 FM 9 S                                                                                 WASKOM           TX    75692‐6425
PROUSE, LAWRENCE J           341 RANSOM RD                                                                               GRAND ISLAND     NY    14072‐1471
PROUSE, MARGIE A             7066 E 300 SOUTH                                                                            BRINGHURST       IN    46913‐9685
PROUSE, ROBERT L             32638 VINES CREEK RD                                                                        DAGSBORO         DE    19939‐4016
PROUSE, THOMAS M             PO BOX 363                                                                                  PANOLA           TX    75685‐0363
PROUSE, VERONICA B           44 RAINTREE IS APT 3                                                                        TONAWANDA        NY    14150‐2718
PROUT GEORGE T JR (355959)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA    23510
                                                             STREET, SUITE 600
PROUT, DAVID E               16505 SEYMOUR RD                                                                            LINDEN            MI   48451‐9725
PROUT, DEREK                 262 SONTAG DR                                                                               FRANKLIN          TN   37064‐5762
PROUT, DOUGLAS C             208 1/2 BON AIR RD                                                                          LANSING           MI   48917‐2900
PROUT, DOUGLAS CHARLES       208 1/2 BON AIR RD                                                                          LANSING           MI   48917‐2900
PROUT, GEORGE T              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
PROUT, HENRY L               7797 E BEAL CITY RD                                                                         MT PLEASANT      MI    48858‐9255
PROUT, JAMES T               8550 E VERMONTVILLE HWY                                                                     DIMONDALE        MI    48821‐9637
PROUT, JOAN M                1722 KENTUCKY AVE                                                                           FLINT            MI    48506‐4304
PROUT, PEGGY R               8750 LENNON RD                                                                              CORUNNA          MI    48817‐9576
PROUT, ROBERT E              PAUL REICH & MYERS PC           1608 WALNUT ST STE 500                                      PHILADEPHIA      PA    19103‐5446
PROUT, ROBERT W              40476 REGENCY DR                                                                            STERLING HTS     MI    48313‐3968
PROUT, STEPHEN M             1417 STATE ROUTE 113 E                                                                      MILAN            OH    44846‐9527
PROUT, WILLIAM J             1323 GORDON AVE                                                                             LANSING          MI    48910‐2612
PROUTY LOREN (459265)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA    23510
                                                             STREET, SUITE 600
PROUTY, BETTY A              VERMILION HOUSE                 424 MONTEREY STREET                                         DANVILLE         IL    61832‐1837
PROUTY, GEORGIA              9582 MIDDLE RD.                 APT. 17                                                     EAST CONCORD     NY    14055
PROUTY, JEAN L               1844 NOTTINGHAM CT                                                                          MANSFIELD        OH    44904‐1796
PROUTY, JEAN LARAEL          1844 NOTTINGHAM CT                                                                          MANSFIELD        OH    44904‐1796
PROUTY, LOREN                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA    23510‐2212
                                                             STREET, SUITE 600
PROUTY, MILFORD E            8789 ROUTE 240                                                                              WEST VALLEY      NY    14171‐9640
PROUTY, RICHARD H            42 CLIFFORD ST                                                                              FRAMINGHAM       MA    01702‐8504
PROUTY, RONALD E             257 MOUNTAIR DR                                                                             VANDALIA         OH    45377‐2938
PROUTY, SHARON L             647 SE WILLIAMS CT                                                                          WAUKEE           IA    50263‐8395
PROUX DAVID                  2280 TRENTON ST                                                                             SAGINAW          MI    48602‐3556
PROUX JR, WALTER H           210 SOUTH BOND STREET                                                                       SAGINAW          MI    48602‐2310
                                   09-50026-mg              Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit B
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Name                               Address1                         Address2                      Address3           Address4                 City               State Zip
PROUX, DAVID E                     2280 TRENTON ST                                                                                            SAGINAW             MI 48602‐3556
PROUX, MARY                        3282 MIDLAND RD                                                                                            SAGINAW             MI 48603‐9688
PROUX, RAYMOND J                   6121 EASTMAN AVE APT 1A                                                                                    MIDLAND             MI 48640‐2558
PROUX, ROBERT J                    5129 MARTIN RD                                                                                             BEAVERTON           MI 48612‐8542
PROVALL, ANDERSON                  2103 JANES AVE                                                                                             SAGINAW             MI 48601‐1859
PROVAN CHRISTOPHER A               PROVAN, CHRISTOPHER A            FINKELSTEIN AND PARTNERS      436 ROBINSON AVE                            NEWBURGH            NY 12550
PROVAN USA/YOUNG                   3263 OAKLAND ST                                                                                            AURORA              CO 80010‐1509
PROVAN, CHRISTOPHER A              28 TONNESON DRIVE                                                                                          FORT MONTGOMERY     NY 10922
PROVAN, JAMIESON D                 PO BOX 472                                                                                                 FORT MONTGOMERY     NY 10922‐0472
PROVANCE, DEBRA S                  11510 TIMBER RIDGE DR                                                                                      KEITHVILLE          LA 71047‐9044
PROVANCE, DOREAN                   4 ART POND RD                                                                                              CONWAY              AR 72032‐9769
PROVANCE, JAMES D                  11496 TIMBER RIDGE DR                                                                                      KEITHVILLE          LA 71047‐9005
PROVANCE, JAMES DANIEL             11496 TIMBER RIDGE DR                                                                                      KEITHVILLE          LA 71047‐9005
PROVANT INC                        4601 121ST ST                                                                                              URBANDALE            IA 50323‐2311
PROVEAUX, BETTY L                  572 EDINBURG RD                                                                                            TRENTON             NJ 08619‐1720
PROVEEDORA AGRICOLA Y AUTOMOTRIZ   CARRETARA A PIEDRAS NEGRAS                                                        RAMOS ARIZPE MEXICO EM
                                                                                                                     00000 MEXICO
PROVEEDORA AGRICOLA Y AUTOMOTRIZ   AVENIDA BRAVO NO. 1220                                                            LA PAZ EM 23000 MEXICO

PROVELL GLORIA                     6003 NW 67TH AVE                                                                                           TAMARAC            FL   33321‐5631
PROVENA HOSPITALS                  DBA PROVENA ST JOSEPH MED CTR    75 REMITTANCE DR DEPT 1366                                                CHICAGO            IL   60675‐1366
PROVENCAL, RAYMOND D               1438 SUSSEX RD                                                                                             BALTIMORE          MD   21221‐6035
PROVENCAL, SUSAN M                 PO BOX 861                                                                                                 WOONSOCKET         RI   02895‐0786
PROVENCHER ROLAND J. (495375)      MOTLEY RICE                      PO BOX 1792                                                               MT PLEASANT        SC   29465‐1792
PROVENCHER, GARY W                 3410 TRAUM DR                                                                                              SAGINAW            MI   48602‐3481
PROVENCHER, MARK                   700 PLANTATION DR                                                                                          SAGINAW            MI   48638‐7133
PROVENCHER, PAUL E                 14‐16 SOUTH MAIN ST.                                                                                       DERRY              NH   03038
PROVENCHER, ROLAND J               MOTLEY RICE                      PO BOX 1792                                                               MT PLEASANT        SC   29465‐1792
PROVENCHER, TIMOTHY A              2523 RAINTREE LN                                                                                           TOLEDO             OH   43611‐1131
PROVENCHER, TIMOTHY ARTHUR         2523 RAINTREE LN                                                                                           TOLEDO             OH   43611‐1131
PROVENCIO MANUEL (652463)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA   23510
                                                                    STREET, SUITE 600
PROVENCIO TUNE‐UP CENTER           116 N. FABENS ST.                                                                                          FABENS             TX 79838
PROVENCIO, MANUEL                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
PROVENGHI, MARTA                   9029 COSMOS AVE                                                                                            EL PASO            TX   79925‐4026
PROVENSAL, CINDY N                 4609 BARNETT ST                                                                                            METAIRIE           LA   70006‐2045
PROVENZA, CARMELO                  65 BARNEY LN                                                                                               ROCHESTER          NY   14606‐5315
PROVENZA, CARMELO                  65 BARNEY LANE                                                                                             ROCHESTER          NY   14606‐5315
PROVENZA, DAVID A                  3282 LAKESIDE DR                                                                                           SHELBY TOWNSHIP    MI   48316‐2959
PROVENZA, FRANK W                  328 STRATFORD ROAD                                                                                         CATONSVILLE        MD   21228‐1844
PROVENZA, ROSA                     65 BARNEY LN                                                                                               ROCHESTER          NY   14606‐5315
PROVENZANO, AMANDA R               142 OVERVIEW CIR E                                                                                         RED LION           PA   17356‐8902
PROVENZANO, AMANDA REBECCA         142 OVERVIEW CIR E                                                                                         RED LION           PA   17356‐8902
PROVENZANO, BEN V                  136 PINNACLE LN                                                                                            ROSEBURG           OR   97471‐9878
PROVENZANO, DENNIS M               49070 FOX DR S                                                                                             PLYMOUTH           MI   48170‐2896
PROVENZANO, GEORGE A               280 CONTINENTAL DR                                                                                         LOCKPORT           NY   14094‐5222
PROVENZANO, HELEN E                37261 GREAT OAKS COURT R                                                                                   CLINTON TOWNSHIP   MI   48036
PROVENZANO, JOANNE E               95 IRONDALE DR                                                                                             DEPEW              NY   14043‐4427
PROVENZANO, JOHN C                 142 OVERVIEW CIR E                                                                                         RED LION           PA   17356‐8902
PROVENZANO, LINDA M                13 PENNSYLVANIA AVE                                                                                        LOCKPORT           NY   14094‐5725
PROVENZANO, MARIANNE               16614 CLUB DR                                                                                              SOUTHGATE          MI   48195‐6505
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Name                                  Address1                             Address2                           Address3                Address4              City                 State Zip
PROVENZANO, NICHOLAS J                4801 E COUNTY ROAD 100 S                                                                                              AVON                  IN 46123‐8338
PROVENZANO, PAULA                     10 WINDSOR PARK                                                                                                       ROCHESTER             NY 14624‐5005
PROVENZINO, MICHELE A                 43338 VINTNERS PLACE DR                                                                                               STERLING HEIGHTS      MI 48314‐1332
PROVERBS, LAVINA W                    PO BOX 271                           4111 S TURNER RD                                                                 CANFIELD              OH 44406‐0271
PROVERBS, MABEL B                     3415 SUNNYBROOK DR.                                                                                                   YOUNGSTOWN            OH 44511‐2829
PROVEY, CRAIG                         1491 MOORESVILLE PIKE                                                                                                 COLUMBIA              TN 38401‐8623
PROVIDENCE AMELLA                     21900 ALICE ST                                                                                                        SAINT CLAIR SHORES    MI 48080‐2497
PROVIDENCE CARE                       PO BOX 413923                                                                                                         KANSAS CITY           MO 64141‐3923
PROVIDENCE COLLEGE OFFICE OF          HARKINS HALL RM 400                                                                                                   PROVIDENCE             RI 02918‐0001
FINANCIAL SERVICES
PROVIDENCE EQUITY LLC                 390 PARK AVE FL 4                                                                                                     NEW YORK             NY 10022‐4608
PROVIDENCE HOSP                       3168 SOLUTIONS CTR                                                                                                    CHICAGO              IL 60677‐0001
PROVIDENCE HOSPITAL                   ACCT OF CHARLES HARVEY
PROVIDENCE HOSPITAL                   ACCT OF FELIX GUY
PROVIDENCE HOSPITAL                   ASSARIAN CANCER CENTER               47601 GRAND RIVER AVENUE                                                         NOVI                 MI    48374
PROVIDENCE INTL AUTO SHOW             C/O MOTOR TREND AUTO SHOWS           6405 FLANK DR                                                                    HARRISBURG           PA    17112
PROVIDENCE MEDICAL C                  PO BOX 413133                                                                                                         KANSAS CITY          MO    64141‐3133
PROVIDENCE MEDICAL G                  PO BOX 713202                                                                                                         COLUMBUS             OH    43271‐0001
PROVIDENCE OF ONTARIO                 MINISTER OF LABOUR                   14TH FLOOR                         400 UNIVERSITY AVENUE   TORONTO ON M7A 1T7
                                                                                                                                      CANADA
PROVIDENCE PONTIAC GMC LLC            FRANK NOLT                           796 LANCASTER PIKE                                                               QUARRYVILLE           PA   17566‐9006
PROVIDENCE PONTIAC GMC LLC            796 LANCASTER PIKE                                                                                                    QUARRYVILLE           PA   17566‐9006
PROVIDENCE VENTURES LLC               DBA BONE AND JOINT SURGERY CEN       LOCKBOX 8800                                                                     LANSING               MI   48909
PROVIDENCE WORLDWIDE LLC              34039 SCHOOLCRAFT RD                                                                                                  LIVONIA               MI   48150‐1313
PROVIDENT BANK                        ACCT OF DONALD PAYNE
PROVIDENT BANK OF MARYLAND            ACCT OF LEONARD TAYLOR JR
PROVIDENT COMMERCIAL GROUP, INC.      ONE EAST FOURTH STREET                                                                                                CINCINNATI           OH 45202

PROVIDENT COMMERCIAL GROUP, INC.      ATTN: CORPORATE OFFICER/AUTHORIZED   ONE EAST FOURTH STREET                                                           CINCINNATI           OH 45202
                                      AGENT
PROVIDENT DONALD J (407212)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK              VA 23510
                                                                           STREET, SUITE 600
PROVIDENT LIFE & ACCIDENT INSURANCE   PO BOX 406773                                                                                                         ATLANTA              GA 30384‐6673
CO
PROVIDENT MEDICAL CE                  831 S R L THORNTON FWY                                                                                                DALLAS                TX   75203‐2905
PROVIDENT NATIONAL BANK
PROVIDENT, DONALD J                   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                      NORFOLK              VA 23510‐2212
                                                                           STREET, SUITE 600
PROVIENCE, JENNY F                    14882 STEEL STREET                                                                                                    DETROIT              MI    48227‐3958
PROVIENCE, SANDRA J                   APT 1216                             8330 EAST JEFFERSON AVENUE                                                       DETROIT              MI    48214‐2744
PROVIN, MARY E                        51 PURITAN RD                                                                                                         TONAWANDA            NY    14150‐8525
PROVIN, WILLIAM C                     51 PURITAN RD                                                                                                         TONAWANDA            NY    14150‐8525
PROVINCE OF ONTARIO                   ATTN: GENERAL COUNSEL                7TH FLOOR, HEARST BLOCKE           900 BAY STREET          TORONTO ON M7A 2E1
                                                                                                                                      CANADA
PROVINCE OF ONTARIO                   MINISTRY OF ECONOMIC DEVELOPMENT     7TH FLOOR, HEARST BLOCKE 900 BAY                           TORONTO ONTARIO M7A
                                      AND TRADE INDUSTRY DIVISION          STREET                                                     2E1 CANADA

PROVINCE OF QUEBEC                    SOURCE DE DEVELOPMENT INDUSTRIEL DU 770 SHERBROOLEE OUEST 9 EME                                 MONTREAL QUEBEC H3A
                                      QUEBEC                              ETAGE                                                       1G1 CANADA
PROVINCE, ROBERT D                    PO BOX 241                                                                                                            IRONDALE             MO 63648‐0241
PROVINCIAL SERVICES
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Name                             Address1                          Address2                  Address3                 Address4                  City               State Zip
PROVINCIAL TREASURER             PROVINCIAL TREASURER OF ALBERTA   PO BOX 1333                                        EDMONTON AB T5J 2N2
                                                                                                                      CANADA
PROVINCIAL TREASURER             PROVINCIAL TREASURER OF ALBERT                                                                                 OF ALBERTA
PROVINCIAL TREASURER OF P.E.I.   95 ROCHFORD ST.                                                                      CHARLOTTETOWN PE C1A
                                                                                                                      3T6 CANADA
PROVINS, ELLA L                  198 KONA CIRCLE                                                                                                PITTSBURG          CA    94565‐5428
PROVINS, ELLA L                  198 KONA CIR                                                                                                   PITTSBURG          CA    94565‐5428
PROVINZANO, THERESA M            10200 W BLUEMOUND RD              APT 202                                                                      WAUWATOSA          WI    53226‐4356
PROVIS CARTER                    2595 LARRY TIM DR                                                                                              SAGINAW            MI    48601‐5611
PROVIS, SHARON B                 140 KIMBER DR                                                                                                  NEW LENOX          IL    60451‐1132
PROVISTA SOFTWARE INTL           ATTN JOANNE CULVER                SUITE 3500                39465 PASEO PADRE PKWY                             FREMONT            CA    94538
PROVITT, ANNA I                  701 SUMMIT AVE #16                                                                                             NILES              OH    44446‐3649
PROVITT, ANNICE L                987 COMMERCE AVE NW                                                                                            WARREN             OH    44485‐2223
PROVITT, ANNIE M                 1721 DEERFIELD AVE SW                                                                                          WARREN             OH    44485‐3940
PROVITT, DOROTHY P               139 ROOSEVELT N.W.                                                                                             WARREN             OH    44483‐3326
PROVITT, DOROTHY P               139 ROOSEVELT ST NW                                                                                            WARREN             OH    44483‐3326
PROVITT, JAMES O                 1130 ORLO DR NW                                                                                                WARREN             OH    44485‐2428
PROVITT, JOHNNIE F               2980 RED FOX RUN DR NW                                                                                         WARREN             OH    44485‐1574
PROVITT, JOHNNIE F               2252 CELESTIAL DR NE                                                                                           WARREN             OH    44484‐4484
PROVITT, JUSTINE                 1161 HIGHLAND AVE SW                                                                                           WARREN             OH    44485‐3868
PROVITT, LARRY E                 2190 JASMINE WAY                                                                                               NORTH PORT         FL    34287‐5705
PROVITT, RAYMOND E               15757 GLYNN RD                                                                                                 E CLEVELAND        OH    44112‐3528
PROVITT, WILLIS                  2556 JACKSON ST SW                                                                                             WARREN             OH    44485‐3383
PROVITT, YOLANDA G               2044 E MARKET ST                                                                                               WARREN             OH    44483
PROVITZ, ELKE                    41965 KING EDWARD CT                                                                                           CLINTON TWP        MI    48038‐4525
PROVITZ, JOHN D                  11332 SHILLING DR                                                                                              STERLING HTS       MI    48314‐3553
PROVO, JOSEPH C                  3123 APPLETREE RD                                                                                              FARWELL            MI    48622‐9769
PROVO, MARLON X                  6004 FOX COURT                                                                                                 SHREVEPORT         LA    71129‐3506
PROVO, RACHELLE S                801 FLORIDA CT                                                                                                 BAY CITY           MI    48706‐4209
PROVOAST, ELGIN R                6807 ALABASTER RD                                                                                              WHITTEMORE         MI    48770‐9733
PROVOAST, HAROLD W               2831 S MILL STATION RD                                                                                         WHITTEMORE         MI    48770‐9780
PROVOAST, LOWELL I               1896 MIDLAND RD                                                                                                BAY CITY           MI    48706‐9471
PROVOAST, RALPH M                4414 N SAGE LAKE RD                                                                                            HALE               MI    48739‐9152
PROVONSHA, WILLIAM W             2976 BROWN LN                                                                                                  ERIE               MI    48133‐9614
PROVONSIL, NORMAN J              181 YORKSHIRE PL APT G                                                                                         BELLEVUE           OH    44811‐9018
PROVORSE GEORGE (494112)         LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                      MIAMI              FL    33143‐5163
PROVORSE ROBERT                  56 PARK AVE                                                                                                    PERRY              NY    14530‐1310
PROVORSE, ELIZABETH E            6120 WILLARD RD                                                                                                MILLINGTON         MI    48746‐9206
PROVORSE, GEORGE                 LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                                      MIAMI              FL    33143‐5163
PROVORSE, GEORGE H               6120 WILLARD RD                                                                                                MILLINGTON         MI    48746‐9206
PROVORSE, JERRY E                10571 MOONLIGHT BAY RD                                                                                         CHEBOYGAN          MI    49721‐8909
PROVORSE, JERRY EDWARD           3376 AMBLESIDE DR                                                                                              FLUSHING           MI    48433‐9784
PROVOST BULK TRANSPORT INC       7887 GRENACHE                                                                        ANJOU PQ H1J 1C4 CANADA

PROVOST JR, GERALD A             PO BOX 3271                                                                                                    OLATHE             KS    66063‐1271
PROVOST JR, GERALD A             18509 E SALISBURY RD                                                                                           INDEPENDENCE       MO    64056‐3411
PROVOST, DAVID M                 41031 HARVEST LN                                                                                               CLINTON TOWNSHIP   MI    48038‐4992
PROVOST, DENNIS A                7412 SOUTHWICK DR                                                                                              DAVISON            MI    48423‐9564
PROVOST, DENNIS ARTHUR           7412 SOUTHWICK DR                                                                                              DAVISON            MI    48423‐9564
PROVOST, EDWARD L                41031 HARVEST LN                                                                                               CLINTON TWP        MI    48038‐4992
PROVOST, ERNEST E                APT 101                           45200 KEDING STREET                                                          UTICA              MI    48317‐6025
PROVOST, GENE W                  G‐4233 W. COURT ST. APT21                                                                                      FLINT              MI    48532
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PROVOST, GENEVIEVE                60 BUTTS RD APT 13                                                                               WOODSTOCK             CT 06281‐3408
PROVOST, HENRY F                  740 SENTRY RGE CROSS.NE                                                                          SUWANEE               GA 30024
PROVOST, J                        DIV OF 913746 ONTARIO INC           BOX 102                            CHATHAM ON N7M 5K1
                                                                                                         CANADA
PROVOST, JOHN F                   3721 HAMILTON RD                                                                                 HARRISON             MI   48625‐9003
PROVOST, JOHN I                   5256 BOBBIE LN                                                                                   BOSSIER CITY         LA   71112‐9826
PROVOST, LARRY J                  0987 TANAGER TR, S.W.                                                                            FIFE LAKE            MI   49633
PROVOST, LAURA G                  7732 W CAMINO DE ORO                                                                             PEORIA               AZ   85383
PROVOST, LYANN L                  6150 HENDERSON RD                                                                                COLUMBIAVILLE        MI   48421‐8803
PROVOST, MITCHELL G               5503 W WILLOUGHBY RD                                                                             LANSING              MI   48911‐6572
PROVOST, MITCHELL GUY             5503 W WILLOUGHBY RD                                                                             LANSING              MI   48911‐6572
PROVOST, ROBERT N                 7905 N COUNTY ROAD 600 W                                                                         MIDDLETOWN           IN   47356‐9406
PROVOST, ROBERTA                  14201 SE 149TH ST                                                                                NORMAN               OK   73026‐9787
PROVOST, SHARON L                 5230 CEMETERY RD                                                                                 KINGSTON             MI   48741‐8731
PROVOST, STEVEN L                 23958 BEERS RD                                                                                   MESICK               MI   49668‐9605
PROVYN NATHALIE                   TEN BOSSE 107                                                          9800 DEINZE BELGIUM
PROW, ALBERT C                    1421 VZ COUNTY ROAD 3103                                                                         EDGEWOOD             TX   75117‐5006
PROW, JERRY R                     2240 RIDGELAWN AVE                                                                               YOUNGSTOWN           OH   44509‐2119
PROW, ROBERT A                    200 BRIAR AVE                                                                                    BEDFORD              IN   47421‐7240
PROWALNY, DENNIS R                22611 FRESARD ST                                                                                 SAINT CLAIR SHORES   MI   48080‐2858
PROWANT, JOHN C                   218 HICKORY ST                                                                                   SAINT MARYS          OH   45885‐1631
PROWANT, MICHAEL B                301 W RICE ST                                                                                    CONTINENTAL          OH   45831‐9042
PROWANT, ROLLIE                   28539 AYERSVILLE RD 27                                                                           DEFIANCE             OH   43512
PROWDLEY, DAVID L                 PO BOX 6                                                                                         BENZONIA             MI   49616‐0006
PROWDLEY, ELAINE M                320 SMITH ST                                                                                     SHERIDAN             MI   48884‐9645
PROWDLEY, ELAINE M                320 SMITH ST.                                                                                    SHERIDAN             MI   48884
PROWELL, LEON D                   PO BOX 271692                                                                                    LAS VEGAS            NV   89127‐1692
PROWESS PART FABRICATION          70 MELFORD DR UNIT 1 & 2                                               SCARBOROUGH CANADA
                                                                                                         ON M1B 1Y9 CANADA
PROWESS PARTS FABRICATION LTD     70 MELFORD DR UNIT 2                                                   SCARBOROUGH ON M1B
                                                                                                         1Y9 CANADA
PROWSE, GERALD P                  333 WATERS EDGE DR                                                                               ESTILL SPGS          TN   37330‐3668
PROWSE, KEVIN L                   331 TANAGA ST                                                                                    PANAMA CITY BEACH    FL   32413‐1238
PROX, ANDREA J                    3597 EVERETT HULL RD                                                                             CORTLAND             OH   44410‐9726
PROX, ANDREA J                    1567 WEST RIDGE AVE                                                                              SHARPSVILLE          PA   16150‐1066
PROXMIRE, CONNIE L                7351 ROAD 177                                                                                    OAKWOOD              OH   45873
PROYECTOS EN COMUNICACION Y TE    LIVERPOOL 74 COLONIA JUAREZ                                            MEXICO CITY DF 06600
                                                                                                         MEXICO
PROYECTOS EN COMUNICACION Y       LIVERPOOL 74 COLONIA JUAREZ                                            MEXICO CITY DF 06600
TELEFON                                                                                                  MEXICO
PROYECTOS EN COMUNICACIONES EFY   FILADELFUA 182‐502 COLONIA          NAPOLES D F C O 03810              NAPOLES DF 03810 MEXICO
TELEFONIA SA DE CV
PROZINSKI, KIMBERLY
PROZY MITCH                       3721 PRESERVE CROSSING BLVD                                                                      GAHANNA              OH   43230‐6459
PRP ENTERPRISES, INC.             8339 AIRPORT BLVD.                                                                               MOBILE               AL   36608
PRP ENTERPRISES, INC.             410 AIRPORT BLVD                                                                                 PENSACOLA            FL   32503‐7846
PRPIC, FATIMA A                   1020 PEBBLE BEACH CV                                                                             PAINESVILLE          OH   44077‐4691
PRS INTERN/ATLANTA                5901 PEACHTREE DUNWOODY RD NE STE                                                                ATLANTA              GA   30328‐7190
                                  C475
PRSA DETROIT                      1824 E GREIG AVE                                                                                 MADISON HEIGHTS      MI 48071‐4909
PRSA, JOSIP                       4600 HARVEY AVE                                                                                  WESTERN SPRGS        IL 60558‐1649
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Name                                Address1                          Address2                      Address3           Address4         City               State Zip
PRSA‐WV                             BETHANY ROSS & JENNIFER VIEWEG    300 SUMMERS ST STE 1100       C/O CHARLES RYAN                    CHARLESTON          WV 25301‐1631
                                                                                                    ASSOCIATES
PRSTAC JOSEPH (469479)              ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                        BALTIMORE          MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
PRSTAC, JOSEPH                      ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                         BALTIMORE          MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
PRTENJAK, RUDY R                    244 BOSTON RD                                                                                       HINCKLEY           OH    44233‐9461
PRU CROW INDUSTRIAL PROPERTIES LP   C\O TRAMMELL CROW CO              PO BOX 971729                                                     DALLAS             TX    75397‐1729
PRUCEY, ALICE H                     533A WILCOX RD.                   LILAC LANE CONDO                                                  YOUNGSTOWN         OH    44515‐6216
PRUCEY, ALICE H                     533 WILCOX RD APT A               LILAC LANE CONDO                                                  YOUNGSTOWN         OH    44515‐6216
PRUCEY, BERNARD F                   9085 E MISSISSIPPI AVE APT J205                                                                     DENVER             CO    80247‐4002
PRUCEY, GREGORY V                   533 JACOB WAY APT 203                                                                               ROCHESTER          MI    48307
PRUCHA JOHN W (346541)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA    23510
                                                                      STREET, SUITE 600
PRUCHA, FRANK J                     6470 GROVE LN                                                                                       PARMA              OH 44134‐6961
PRUCHA, JERRY G                     8565 ALBION RD                                                                                      N ROYALTON         OH 44133‐1728
PRUCHA, JOHN W                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
PRUCHA, WILLIAM A                   5394 LAKESIDE DR                                                                                    GREENDALE          WI    53129‐1925
PRUCHNIC, BERNADETTE                1662 SUMAC DR                                                                                       ROCHESTER HILLS    MI    48309‐2227
PRUCHNICKI, BARBARA K               3625 23 MILE RD                                                                                     SHELBY TOWNSHIP    MI    48316‐3830
PRUCHNICKI, CONNIE J                2289 G ST                                                                                           LORAIN             OH    44052‐3117
PRUCHNICKI, MICHAEL A               3625 23 MILE RD                                                                                     SHELBY TOWNSHIP    MI    48316‐3830
PRUCHNICKI, VALLETTA N              3601 N NEW LOTHROP RD                                                                               CORUNNA            MI    48817‐9738
PRUCHNIEWSKI, FRANK R               136 KENEFICK AVENUE                                                                                 BUFFALO            NY    14220‐1612
PRUCHNIEWSKI, ROBERT W              7 RUSTY ANCHOR DR                                                                                   REHOBOTH BEACH     DE    19971‐9572
PRUCHNIEWSKI, SALLY                 104 COLTON ST                                                                                       BUFFALO            NY    14206‐2463
PRUCHNIK, WALTER P                  7331 ROBINDALE AVE                                                                                  DEARBORN HTS       MI    48127‐1722
PRUCHNIK, WALTER PATRICK            7331 ROBINDALE AVE                                                                                  DEARBORN HTS       MI    48127‐1722
PRUCHYAPUTTRA, MICHAEL S            4907 GERALD ST                                                                                      WARREN             MI    48092‐3481
PRUCINO, GARY A                     12 DONWOOD DR                                                                                       NEW CASTLE         DE    19720‐3706
PRUCNAL, LUCILLE                    101 E OAK ST                                                                                        WARRENTON          MO    63383‐1505
PRUCNAL, LUCILLE                    101 E OAK STREET                                                                                    WARRENTON          MO    63383‐1505
PRUCNELL, MARY A                    16326 PARKWOOD DR                                                                                   MACOMB             MI    48044‐3219
PRUCNELL, MARY ANNE                 16326 PARKWOOD DR                                                                                   MACOMB             MI    48044‐3219
PRUCNELL, STEVEN H                  16326 PARKWOOD DR                                                                                   MACOMB             MI    48044‐3219
PRUCO LIFE INSURANCE CO. OF NEW     ATTN: PAUL PROCYK                 THREE GATEWAY CENTER                                              NEWARK             NJ    07102‐4077
JERSEY
PRUCO LIFE INSURANCE COMPANY OF     213 WASHINGTON ST                                                                                   NEWARK              NJ   07102‐2992
NEW JERSEY
PRUDE JR, GENNIE                    1123 MORNINGSIDE DR                                                                                 ANDERSON           IN    46011‐2451
PRUDE, PAUL L                       1808 GAY AVE                                                                                        EAST SAINT LOUIS   IL    62207‐2001
PRUDEN, ALLEN J                     1707 N. VASSAULT                  BUILDING 5 UNIT #3                                                TACOMA             WA    98406
PRUDEN, CLAIRE L                    351 CLEAR LK                                                                                        DOWLING            MI    49050‐9768
PRUDEN, CLAIRE L                    351 CLEAR LAKE                                                                                      DOWLING            MI    49050‐9768
PRUDEN, FRANKLIN S                  2324 N CHESTER RD                                                                                   CHARLOTTE          MI    48813‐8849
PRUDEN, GARY L                      5721 ISLAND HWY                                                                                     CHARLOTTE          MI    48813‐8331
PRUDEN, GLEN A                      100 BOBOLINK LANE                                                                                   SOMERS             CT    06071‐1683
PRUDEN, GLEN A                      100 BOBOLINK LN                                                                                     SOMERS             CT    06071‐1683
PRUDEN, JACKIE I                    414 CRESTWOOD DRIVE                                                                                 DIMONDALE          MI    48821
PRUDEN, JOHN P                      128 FOX RUN                                                                                         WEST MONROE        LA    71291‐8137
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PRUDEN, LEONARD O, JR                 GLASSER AND GLASSER, CROWN CENTER   580 EAST MAIN STREET SUITE 600                                      NORFOLK         VA 23510

PRUDEN, MARGARET Y                    1707 N. VASSAULT                    BUILDING 5 UNIT #3                                                  TACOMA         WA    98406
PRUDENCE CARPENTER                    7650 DUTCH BETHEL RD                                                                                    FREEDOM        IN    47431‐7100
PRUDENCE DANIELS                      14 GOOSE LANE                                                                                           BATH           NH    03740‐4610
PRUDENCE HOLLINS                      16905 WILDEMERE ST                                                                                      DETROIT        MI    48221‐3335
PRUDENCE REID                         THOMAS P SOBRAN                     7 EVERGREEN LN                                                      HINGHAM        MA    02043
PRUDENCIO PEREZ                       6676 GLORIA ST                                                                                          ROMULUS        MI    48174‐4358
PRUDENCIO VALTIERRA                   334 S 6TH AVE                                                                                           SAGINAW        MI    48607‐1607
PRUDENTE, ANTHONY                     99 ECHOHILL LN                                                                                          WILLINGBORO    NJ    08046‐2203
PRUDENTE, PAMELA M                    54 PENNYBROOK RD                                                                                        LYNN           MA    01905‐1067
PRUDENTIAL ‐ GP ‐ ASO                 C/O DOTTIE BRESLIN MS 221           200 WOOD AVE S                                                      ISELIN         NJ    08830‐2706
PRUDENTIAL ANNUITIES LIFE ASSURANCE   ATTN: PAUL PROCYK                   THREE GATEWAY CENTER                                                NEWARK         NJ    07102‐4077
CORP.
PRUDENTIAL AS/MOOSIC                  30 ED PREATE DR                                                                                         MOOSIC         PA 18507‐1755
PRUDENTIAL CULLINAN PROPERTIES        C\O CULLINAN ASSET MGMT             4541 N PROSPECT RD                                                  PEORIA HTS     IL 61616
PRUDENTIAL EQUITY INVESTORS INC       717 FIFTH AVE                                                                                           NEW YORK       NY 10022
PRUDENTIAL GENERAL INSURANCE
PRUDENTIAL INSURANCE CO               LOAN                                PO BOX 198221                                                       ATLANTA        GA 30384‐8221
PRUDENTIAL INSURANCE COMPANY          LOAN                                PO BOX CS198221                                                     ATLANTA        GA 30384‐8221
PRUDENTIAL INSURANCE COMPANY OF       30 SCRANTON OFFICE PARK                                                                                 SCRANTON       PA 18507‐1796
AMERICA
PRUDENTIAL INSURANCE COMPANY OF
AMERICA
PRUDENTIAL NOMINEES LTD               3970 ROGER B CHAFFEE MEM DR SE                                                                          GRAND RAPIDS   MI 49548‐3440
PRUDENTIAL NOMINEES LTD               BOB WILKINSON                       3970 ROGER B. CHAFFEE DRIVE                                         GRAND RAPIDS   MI 49508
PRUDENTIAL NOMINEES LTD               LAURENCE POUNTNEY HILL                                                          LONDON EC4R 0HH GREAT
                                                                                                                      BRITAIN
PRUDENTIAL OVERALL SUPPLY             6920 BANDINI BLVD                                                                                       COMMERCE       CA    90040‐3326
PRUDENTIAL OVERALL SUPPLY                                                 6948 BANDINI BLVD                                                                  CA    90040
PRUDENTIAL OVERHALL SUPPLY            6920 BANDINI BLVD                                                                                       COMMERCE       CA    90040‐3326
PRUDENTIAL PROPERTY & CASUALTY        NEDWICK ROBERT A                    218 SOUTH MAPLE AVENUE                                              GREENSBURG     PA    15601
INSURANCE COMPANY
PRUDENTIAL PROPERTY AND CASUALTY      HARTIGAN AND CUISINIER              222 N LA SALLE ST STE 2150                                          CHICAGO         IL   60601‐1103
INSURANCE CO
PRUDENTIAL RETIREMENT INSURANCE &     ATTN: PAUL PROCYK                   THREE GATEWAY CENTER                                                NEWARK         NJ    07102‐4077
ANNUITY CO
PRUDENTIAL SECURITIES
PRUDENTIAL/SCRANTON                   30 SCRANTON OFFICE PARK             ATTN: GERARD PERNOT                                                 SCRANTON       PA    18507‐1796
PRUDER, BARBARA A                     2936 ALPHONSE PL                                                                                        HONOLULU       HI    96816‐1704
PRUDER, ELGIN P                       6 SAINT ANDREWS CIR                                                                                     SOUTHAMPTON    NY    11968‐3813
PRUDHAM, DELORES A                    31344 CLUB VISTA LN                                                                                     BONSALL        CA    92003‐5303
PRUDHOME, OSCAR                       NIX PATTERSON & ROACH               205 LINDA DR                                                        DAINGERFIELD   TX    75638‐2107
PRUDHOMME JR, HENRY A                 1610 LARKMOOR BLVD                                                                                      BERKLEY        MI    48072‐1993
PRUDHOMME, DON RACING INC             1232 DISTRIBUTION WAY                                                                                   VISTA          CA    92081‐8816
PRUDHOMME, HAROLD F                   1981 DOUGLAS DR                                                                                         TAWAS CITY     MI    48763‐9442
PRUDHOMME, L C                        16904 BOULDER WAY ST                                                                                    MACOMB         MI    48042
PRUDHOMME, MARJORIE E                 4080 MAPLE WOODS DR W                                                                                   SAGINAW        MI    48603‐9307
PRUDHOMME, MICHAEL J                  255 LOCKWOOD ST                                                                                         SAGINAW        MI    48602‐3027
PRUDHOMME, OLIVER E                   188 W FAIRMOUNT AVE                                                                                     PONTIAC        MI    48340‐2738
PRUDHOMME, PHILLIP C                  LEBLANC & WADDELL                   5353 ESSEN LN STE 420                                               BATON ROUGE    LA    70809‐0500
PRUDHOMME, TERRY F                    208 GREEN GRASS WAY                                                                                     MANCHESTER     TN    37355‐7390
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PRUDIAN, CRAIG R         6340 AMERICANA DR APT 810                                                                    WILLOWBROOK         IL 60527‐2247
PRUDIE KIBBY             PO BOX 22                                                                                    FRANKFORT          MI 49635
PRUDIE WILLIAMS          320 NORFOLK AVE                                                                              DAYTON             OH 45427‐2309
PRUDLOW, BARBARA J       12374 W VIRGINIA CIR UNIT 5                                                                  FRANKLIN           WI 53132‐2053
PRUDOUS MARAVIN          37740 WESTWOOD CIR APT 104                                                                   WESTLAND           MI 48185‐1059
PRUDY GONZALES           3768 BLACK HAWK AVE                                                                          MERCED             CA 95340‐8329
PRUE, AUDREY             6589 GILLETTE ROAD                                                                           BYRON              NY 14422‐9737
PRUE, CHARLES J          9339 BURNING TREE DR                                                                         GRAND BLANC        MI 48439‐9539
PRUE, DAVID E            3600 CLIFFS DR                                                                               BAY HARBOR         MI 49770‐8585
PRUE, DIANE M            163 SAXON CT                                                                                 ROCHESTER HILLS    MI 48307‐3158
PRUE, GARY               5840 LAKE RESORT TERRACE        K210                                                         CHATTANOOGA        TN 37415
PRUE, GARY               APT K210                        5840 LAKE RESORT TERRACE                                     CHATTANOOGA        TN 37415‐7087
PRUE, LEROY T            112 CROSS ROADS DR                                                                           HENDERSONVILLE     TN 37075
PRUE, LILLIAN            147 SWAMP ROAD                                                                               BROCKPORT          NY 14420
PRUE, LORETTA E          PO BOX 743                                                                                   MIDDLEBURGH        NY 12122
PRUE, NORMAN J           6394 BADGER DR                                                                               LOCKPORT           NY 14094‐5948
PRUE, RICHARD L          2360 CHELTINGHAM ST                                                                          SYLVAN LAKE        MI 48320‐1611
PRUE, SHERRI L           5714 ELIZABETH LAKE RD                                                                       WATERFORD          MI 48327‐2634
PRUE, VERONICA B         1187 CORDOVA ST SE                                                                           PALM BAY           FL 32909‐3814
PRUEHS, DAVID L          6752 SHEBREEN CT SE                                                                          CALEDONIA          MI 49316‐7711
PRUEHSNER, CATHERINE T   832 VIRGO LN                                                                                 SAINT LOUIS        MO 63125‐1730
PRUEL CHAD               PRUEL, CHAD                     STATE FARM                 P.O. BOX 82613                    LINCOLN            NE 68501‐2613
PRUEL, CHAD              STATE FARM                      PO BOX 82613                                                 LINCOLN            NE 68501‐2613
PRUEL, CHAD
PRUENT, DEBRA A          6583 MOUNTAIN DR                                                                             TROY              MI   48098‐1971
PRUENTE JR, FRANCIS C    6480 WATERS EDGE WAY                                                                         CLARKSTON         MI   48346‐3486
PRUENTE JR, THOMAS F     3847 SAN MATEO RD                                                                            WATERFORD         MI   48329‐2461
PRUENTE, DANIEL J        2170 PEAR TREE LN                                                                            OAKLAND           MI   48363‐2936
PRUENTE, ERNEST D        372 FOUR SEASONS DR                                                                          LAKE ORION        MI   48360‐2649
PRUENTE, MICHAEL J       8360 ENGLEWOOD DR                                                                            CLARKSTON         MI   48346‐1116
PRUENTE, PAUL N          500 ROLLING ACRES DR                                                                         ORTONVILLE        MI   48462‐9228
PRUESS, DARLENE R        8510W US HIGHWAY 2                                                                           MANISTIQUE        MI   49854‐8970
PRUESS, DONALD O         1839 SHOAL RUN ST                                                                            SAN ANTONIO       TX   78232‐4670
PRUESS, STEVEN C         71 GRANT AVE                                                                                 GLENS FALLS       NY   12801‐2658
PRUESS, WILLIAM C        PO BOX 443                                                                                   MANISTIQUE        MI   49854‐0443
PRUET, RONALD B          3105 STATE ROAD 236                                                                          DANVILLE          IN   46122‐8725
PRUETER, ANITA C         5304 E 15TH ST                                                                               AU GRES           MI   48703
PRUETER, DONALD A        PO BOX 177                                                                                   AU GRES           MI   48703‐0177
PRUETER, HAZEL           3910 WADSWORTH                                                                               SAGINAW           MI   48601‐9676
PRUETER, HENRY W         2801 OAKWOOD AVE                                                                             SAGINAW           MI   48601‐3981
PRUETER, LARRY E         8053 BLACKMAR RD                                                                             BIRCH RUN         MI   48415‐9006
PRUETER, LILLIAN         507 MALZAHN                                                                                  SAGINAW           MI   48602‐2747
PRUETER, WILLIAM A       342 WESTCHESTER RD                                                                           SAGINAW           MI   48638‐6251
PRUETT FRANCES           3518 HONEYSUCKLE CT                                                                          ABILENE           TX   79606‐2610
PRUETT JOSHUA SHERMAN    473 MEAD RD                                                                                  ROCHESTER HILLS   MI   48306‐2845
PRUETT MFG CO INC        1001 W SPRINGHILL DR                                                                         TERRE HAUTE       IN   47802‐8763
PRUETT, ALLEN L          4296 E MAPLE AVE                                                                             GRAND BLANC       MI   48439‐7901
PRUETT, BARBARA G        730 CORLEY ROAD RT 2                                                                         CONYERS           GA   30012
PRUETT, BARBARA J        31033 GROVE                                                                                  FRASER            MI   48026‐2727
PRUETT, BETTY C          607 RAVENS LAKE DR                                                                           ANDERSON          IN   46012‐5126
PRUETT, BETTY J          8922 N MARK DR                                                                               ALEXANDRIA        IN   46001‐8371
PRUETT, BILLIE J         21131 LADY MARION WAY                                                                        LEESBURG          FL   34748‐2329
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PRUETT, BILLY S           3600 LITTLESTONE DR                                                                   ARLINGTON          TX 76014‐3135
PRUETT, BOBBY J           6100 E VALLEY VIEW DR                                                                 FLORENCE           AZ 85132‐7999
PRUETT, BRIAN L           6275 JONES RD                                                                         GOSPORT            IN 47433‐7708
PRUETT, CAROLYN J         18604 S ROCK CREEK RD                                                                 SHAWNEE            OK 74801‐9602
PRUETT, CHARLES EUGENE    16607 BIRCH ISLAND DR                                                                 BARRYTON           MI 49305
PRUETT, CHARLES W         808 ARAPAHO DR                                                                        BURKBURNETT        TX 76354‐2932
PRUETT, CLIFFORD          7486 E COUNTY ROAD 800 N                                                              CAMPBELLSBURG      IN 47108‐7738
PRUETT, DANNY L           17 OAK HL W                                                                           BEDFORD            IN 47421‐7934
PRUETT, DANNY R           321 E 3RD ST                                                                          ARLINGTON          TX 76010‐7329
PRUETT, DANNY R           321 EAST 3RD STREET                                                                   ARLINGTON          TX 76010‐7329
PRUETT, DARRELL L         6760 LEGGETT RD                                                                       WHITTEMORE         MI 48770‐9797
PRUETT, DAVID             305 SW 15TH ST                                                                        BLUE SPRINGS       MO 64015‐4113
PRUETT, DAVID E           1450 OAKSTONE DR                                                                      ROCHESTER HLS      MI 48309‐1750
PRUETT, DEBORAH L         ROUT 8, BOX 8518                                                                      DONIPHAN           MO 63935
PRUETT, DELIA R           660 BOYD                                                                              PONTIAC            MI 48342
PRUETT, DELIA R           PO BOX 210325                                                                         AUBURN HILLS       MI 48321‐0325
PRUETT, DONALD D          5803 DEASE LAKE RD                                                                    HALE               MI 48739‐8807
PRUETT, DONALD E          410 RIDGEWAY DR                                                                       BLAND              VA 24315‐4863
PRUETT, DOROTHY J         810 SENIOR CREEK DR APT 8107                                                          ARLINGTON          TX 76010‐1951
PRUETT, ELINOR E          3067 WEST FRANCES ROAD                                                                MT. MORRIS         MI 48458‐8216
PRUETT, ELINOR E          3067 W FRANCES RD                                                                     MOUNT MORRIS       MI 48458‐8216
PRUETT, ELIZABETH H       1037 VALLEY HILL LOOP                                                                 KING GEORGE        VA 22485‐7677
PRUETT, EVERETTA          4097 WOODMONT DR                                                                      WATERFORD          MI 48329‐3975
PRUETT, FRANCES J         2330 WALTON BLVD                                                                      ROCHESTER HILLS    MI 48309‐1461
PRUETT, GARY L            11422 SKYLINE DR                                                                      FENTON             MI 48430‐8823
PRUETT, GEORGE            7187 N STATE ROAD 337 LOT 40                                                          ORLEANS            IN 47452‐9009
PRUETT, GLORIA P          13931 RUTHERFORD ST                                                                   DETROIT            MI 48227‐1744
PRUETT, H L               1066 BRIARWOOD RD                                                                     MANSFIELD          OH 44907‐2356
PRUETT, ISABELLE S        1366 SUNNYSIDE ST NE                                                                  GRAND RAPIDS       MI 49525‐2338
PRUETT, JAMES C           4859 NW MISTY LN                                                                      KANSAS CITY        MO 64151‐3147
PRUETT, JAMES H           2040 JOY RD                                                                           AUBURN HILLS       MI 48326‐2612
PRUETT, JAMES M           10044 S OCEAN DR APT 304                                                              JENSEN BEACH       FL 34957‐2447
PRUETT, JAMES R           660 BOYD ST                                                                           PONTIAC            MI 48342‐1926
PRUETT, JAMES R.          660 BOYD ST                                                                           PONTIAC            MI 48342‐1926
PRUETT, JERRY W           3462 CRANDON DR                                                                       DAVISON            MI 48423‐8588
PRUETT, JIMMIE L          1491 LOBLOLLY DRIVE                                                                   MANNING            SC 29102‐2279
PRUETT, JOHN E            5978 NEW BETHANY RD                                                                   BUFORD             GA 30518‐1434
PRUETT, JOSHUA S          473 MEAD RD                                                                           ROCHESTER HILLS    MI 48306‐2845
PRUETT, JOSHUA SHEARMAN   473 MEAD RD                                                                           ROCHESTER HILLS    MI 48306‐2845
PRUETT, JOYCE I           1969 SEYMOUR LAKE RD                                                                  OXFORD             MI 48371‐4346
PRUETT, KATHRINE E        305 SOUTHWEST 15TH STREET                                                             BLUE SPRINGS       MO 64015‐4113
PRUETT, LANCE             473 MEAD RD                                                                           ROCHESTER HILLS    MI 48306‐2845
PRUETT, LAVONNA FERN      3120 E COUNTY ROAD 300 S                                                              MUNCIE             IN 47302‐9293
PRUETT, LAVONNA FERN      3120 E. C.R. 300 SOUTH                                                                MUNCIE             IN 47302‐9293
PRUETT, LYNETTE           5523 HOWE RD                                                                          GRAND BLANC        MI 48439‐7911
PRUETT, MAJOR R           385 SNOW RD                                                                           ALBANY             KY 42602
PRUETT, MICHAEL M         4859 NW MISTY LN                                                                      KANSAS CITY        MO 64151‐3147
PRUETT, MICHELE L         7735 BIG BEND RD                                                                      MARTINSVILLE       IN 46151‐7785
PRUETT, MONICA L          46102 MEADOWVIEW DR                                                                   SHELBY TOWNSHIP    MI 48317‐4142
PRUETT, OTTO              GUY WILLIAM S                   PO BOX 509                                            MCCOMB             MS 39649‐0509
PRUETT, PATRICIA C        26650 PLAYERS CIR APT 6                                                               LUTZ               FL 33559‐8534
PRUETT, PAUL E            2325 DOC HUGHES RD                                                                    BUFORD             GA 30519‐4242
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PRUETT, PERRY W                        2921 ANGELIQUE ST                                                                               SAINT JOSEPH      MO 64501‐3436
PRUETT, ROBERT D                       991 N BOLTON AVE                                                                                INDIANAPOLIS      IN 46219‐4514
PRUETT, ROBERT G                       PO BOX 336                                                                                      ELLETTSVILLE      IN 47429‐0336
PRUETT, ROBERT L                       7704 NW 76TH WAY                                                                                KANSAS CITY       MO 64152‐4400
PRUETT, ROGER D                        PO BOX 982                                                                                      FLINT             MI 48501‐0982
PRUETT, ROGER D                        5095 RAYMOND AVE                                                                                BURTON            MI 48509‐1931
PRUETT, RONALD W                       5523 HOWE RD                                                                                    GRAND BLANC       MI 48439‐7911
PRUETT, RONNIE D                       11099 CLAR EVE DR                                                                               OTISVILLE         MI 48463‐9434
PRUETT, RONNIE DALE                    11099 CLAR EVE DR                                                                               OTISVILLE         MI 48463‐9434
PRUETT, ROY E                          3509 PINHOOK RD                                                                                 BEDFORD           IN 47421‐7762
PRUETT, RUBY F                         17831 MOBILE RD.                                                                                GEORGIANA         AL 36033‐6021
PRUETT, SHIRLEY A                      12295 WOODCREST ST                                                                              TAYLOR            MI 48180‐9298
PRUETT, STANLEY R                      1234 S ELMS RD                                                                                  FLINT             MI 48532‐5344
PRUETT, STELLA L                       G‐4084 MANNER DR                                                                                FLINT             MI 48506
PRUETT, TAMMIE L                       7085 DONELSON TRL                                                                               DAVISON           MI 48423‐2327
PRUETT, TAMMIE LEE                     7085 DONELSON TRL                                                                               DAVISON           MI 48423‐2327
PRUETT, THOMAS H                       13316 TALL GRASS CT                                                                             FORT MYERS        FL 33912‐3820
PRUETT, TOMMY W                        810 HOLLY AVE 2                                                                                 BLACK MOUNTAIN    NC 28711
PRUETT, VICKIE L                       4439 TILLIE DR                                                                                  FLINT             MI 48504‐1010
PRUETT, WILLIS D                       38730 BRONCO DR                                                                                 DADE CITY         FL 33525‐1790
PRUETT, YVONNE M                       2040 JOY RD                                                                                     AUBURN HILLS      MI 48326‐2612
PRUETT, YVONNE MARIE                   2040 JOY RD                                                                                     AUBURN HILLS      MI 48326‐2612
PRUETTE JR, GEORGE H                   316 AUSTERLITZ RD                                                                               PARIS             KY 40361‐9001
PRUETTE, JOHN T                        107 RUTGERS RD                                                                                  PENNSVILLE        NJ 08070‐3140
PRUETTE, SYNTHIA L                     1684 EAGLE TRL                                                                                  OXFORD            MI 48371‐6064
PRUGAR, MARK L                         10947 WINDJAMMER S                                                                              INDIANAPOLIS      IN 46256
PRUGH, D R
PRUGH, JESSE E                         545 DEE AVE                                                                                     MIAMISBURG       OH    45342‐3013
PRUGH, ROBERT C                        614 WEST WATER ST.                                                                              PIQUA            OH    45356‐5356
PRUGINA CARTER                         2550 BENS ST                                                                                    ANN ARBOR        MI    48103‐3883
PRUGINA L CARTER                       2550 BENS ST                                                                                    ANN ARBOR        MI    48103‐3883
PRUIETT, ARTHUR C                      G‐2074 E WHITTEMORE AVE                                                                         BURTON           MI    48529
PRUIETT, ERROL R                       2527 WINONA ST                                                                                  FLINT            MI    48504‐2773
PRUIETT, JAMES E                       10135 BEERS RD                                                                                  SWARTZ CREEK     MI    48473‐9160
PRUIETT, ROBERT L                      1122 KINZIE ST                                                                                  AKRON            OH    44305
PRUIKSMA RONALD C                      DBA PRINT MANAGEMENT                340 HAMILTON PARK DR                                        ROSWELL          GA    30075‐1400
PRUIS, GERALD W                        1645 WOODVIEW ST                                                                                JENISON          MI    49428‐8119
PRUIS, JACOB                           897 VILLAGE LN                                                                                  JENISON          MI    49428‐8375
PRUIT BEVERLY (491673)                 CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                       CLEVELAND        OH    44113‐1328
                                       COONE AND ASSOCIATES
PRUITT ALMOND RAY                      G PATTERSON KEAHEY P C              ONE INDEPENDENCE PLAZA SUITE                                BIRMINGHAM        AL   35209
                                                                           612
PRUITT ALMOND RAY (492124)             BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
PRUITT BOBBY (492125)                  BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
PRUITT BRUCE K                         PRUITT, BRUCE K
PRUITT EVELYN                          208 SUMAC CT                                                                                    HEADLAND          AL   36345‐5623
PRUITT GORDON L (ESTATE OF) (655206)   GOLDENBERG, MILLER, HELLER &        PO BOX 959                                                  EDWARDSVILLE      IL   62025‐0959
                                       ANTOGNOLI
PRUITT JAMES                           3322 HAWTHORNE AVE                                                                              DALLAS            TX   75219‐2012
                                         09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                                    Address1                            Address2                        Address3           Address4         City            State Zip
PRUITT JAMES R                          C/O MCKENNA & CHIODO                436 BOULEVARD OF THE ALLIES ‐                                       PITTSBURGH       PA 15219
                                                                            SUITE 500
PRUITT JAMES R (507047)                 (NO OPPOSING COUNSEL)
PRUITT JR CHARLES A (460117) ‐ PRUITT   DUFFY & ASSOCS JOHN J               23823 LORAIN RD                                                     NORTH OLMSTED   OH 44070
CHARLES A
PRUITT JR, CALVIN                       9942 PIERSON ST                                                                                         DETROIT         MI   48228‐1220
PRUITT JR, CLARENCE                     11415 ANDERSONVILLE RD                                                                                  DAVISBURG       MI   48350‐3137
PRUITT JR, CLYDE                        6372 IDA ST                                                                                             INDIANAPOLIS    IN   46241‐1019
PRUITT JR, EDWARD M                     2127 WISCONSIN AVE                                                                                      FLINT           MI   48506‐3746
PRUITT JR, GEORGE                       3100 S CREYTS RD                                                                                        LANSING         MI   48917‐9533
PRUITT JR, JOHNNY J                     20559 DALBY                                                                                             REDFORD         MI   48240‐1052
PRUITT JR, LANDERS                      3514 MILBOURNE AVE                                                                                      FLINT           MI   48504‐3543
PRUITT JR, ODIE                         3367 PERKINS ST                                                                                         SAGINAW         MI   48601‐6568
PRUITT JR, OTIS E                       3300 SELWYN FARMS LN APT 4                                                                              CHARLOTTE       NC   28209‐5004
PRUITT JR., CAGER                       5055 S WASHINGTON RD APT 3                                                                              SAGINAW         MI   48601‐7231
PRUITT MD                               550 PARMALEE AVE STE 310                                                                                YOUNGSTOWN      OH   44510‐1602
PRUITT MICHELLE L                       PRUITT, MICHELLE
PRUITT MICHELLE L                       PRUITT, MICHELLE                    DEBRUIN & LAYNE                 74 COURTHOUSE SQ                    LOVINGSTON      VA 22949
PRUITT OSCAR (447092)                   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH 44067
                                                                            PROFESSIONAL BLDG
PRUITT RONNIE                           PRUITT, RONNIE
PRUITT THOMAS JOSEPH (406101)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA 23510
                                                                            STREET, SUITE 600
PRUITT THURMAN                          PRUITT, THURMAN                     PO BOX 40                                                           PINEVILLE       WV 24874‐0040
PRUITT WYNEE & ALEX SIMANOVSKY&         2300 HENDERSON MILL RD NE STE 300                                                                       ATLANTA         GA 30345‐2704
ASSOCIATES LLC
PRUITT, ALICE H                         385 LIBERTY RD SW                                                                                       CALHOUN         GA   30701‐3272
PRUITT, ALICE H                         385 LIBERTY ROAD, S.W.                                                                                  CALHOUN         GA   30701‐3272
PRUITT, ALLEN D                         8800 TWP RD 34 B82                                                                                      IBERIA          OH   43325
PRUITT, ALMOND RAY                      BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD      OH   44067
                                                                            PROFESSIONAL BLDG
PRUITT, ALTON D                         212 SUN SWEPT DR LOT 3                                                                                  TROY            MO   63379
PRUITT, ANNIE P                         293 EMSLIE ST                                                                                           BUFFALO         NY   14206‐1507
PRUITT, ARNOLD E                        21144 POLAND RD                                                                                         BISMARCK        IL   61814‐5082
PRUITT, ARTHUR                          144 KASTNER AVE                                                                                         DAYTON          OH   45410‐1518
PRUITT, AUBREY R                        445 WAVETREE DR                                                                                         ROSWELL         GA   30075‐2928
PRUITT, BARBARA A                       34 MEDICINE WIND TRL                                                                                    SWANSEA         SC   29160‐8337
PRUITT, BERNICE                         9423 S. PALMER RD.                                                                                      HUBER HTS.      OH   45424‐1623
PRUITT, BERNICE                         9423 S PALMER RD                                                                                        DAYTON          OH   45424‐1623
PRUITT, BERNICE M                       2752 PRUITT RD                                                                                          CUMMING         GA   30041‐8253
PRUITT, BILLY H                         430 NATOMA ST                                                                                           PARK FOREST     IL   60466‐2517
PRUITT, BOB J                           1464 KLAHS LN                                                                                           ARNOLD          MO   63010‐1010
PRUITT, BOBBIE L                        3014 OLD HARTSVILLE ROAD                                                                                SCOTTSVILLE     KY   42164‐8618
PRUITT, BOBBY                           BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD      OH   44067
                                                                            PROFESSIONAL BLDG
PRUITT, BOBBY A                         860 MCKINLEY ST                                                                                         DEFIANCE        OH   43512‐9783
PRUITT, BOBBY J                         1162 LANIER DR SW                                                                                       MARIETTA        GA   30060‐6193
PRUITT, BRENDA M                        2780 PRUITT RD                                                                                          CUMMING         GA   30041‐8253
PRUITT, BRIAN R                         1 QUANTOCK CT                                                                                           SAINT PETERS    MO   63376‐4533
PRUITT, BRIAN R                         4569 RED BIRD RD                                                                                        BLAND           MO   65014‐2434
PRUITT, BRUCE K                         HAMMITTE & HUNT LLC                 156 BEXAR AVE W                                                     HAMILTON        AL   35570‐5575
PRUITT, C D                             12383 SANTIAGO DR                                                                                       VICTORVILLE     CA   92392‐7445
                         09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                     Address1                            Address2               Address3   Address4         City              State Zip
PRUITT, CAGER            634 S 16TH ST                                                                          SAGINAW            MI 48601‐2013
PRUITT, CARMONLITA D     486 HARRIS RD                                                                          RICHMOND HTS       OH 44143‐2538
PRUITT, CASSANDRA        1781 OAKDALE DR NW                                                                     WARREN             OH 44485‐1833
PRUITT, CEDRIC W         1740 SHAKER BLVD                                                                       OKEMOS             MI 48864‐2950
PRUITT, CHARLES A        DUFFY & ASSOCS JOHN J               23823 LORAIN RD                                    NORTH OLMSTED      OH 44070
PRUITT, CHARLES A        3431 HUBAL AVE SW                                                                      WYOMING            MI 49519‐3376
PRUITT, CHARLES E        206 S ROSEMARY ST                                                                      LANSING            MI 48917‐3854
PRUITT, CHARLES W        3131 N SQUIRREL RD APT 11                                                              AUBURN HILLS       MI 48326
PRUITT, CHRISTINA G      1460 LILA DR                                                                           TROY               MI 48085‐3407
PRUITT, CLARENCE G       109 WABASH ST                                                                          TAYLOR             TX 76574‐4272
PRUITT, CLYDE D          951 VERSAILLES ST LOT 154                                                              PLAINWELL          MI 49080
PRUITT, CONSTANCE M      507 W MAIN ST APT 102                                                                  VERMILLION         SD 57069‐1955
PRUITT, CONSTANCE M      507 W. MAIN ST. #102                                                                   VERMILLION         SD 57069‐1955
PRUITT, CORRIE J         2883 FLORENCE DR BOX 19                                                                GAINESVILLE        GA 30504
PRUITT, COURTNEY W
PRUITT, CRAIG L          5171 LAKE RIDGE DR                                                                     PRESCOTT          MI    48756
PRUITT, CYNTHIA T        2266 SARATOGA BAY DR                                                                   WEST PALM BEACH   FL    33409‐7249
PRUITT, DAVID A          5756 W 250 S                                                                           ANDERSON          IN    46011‐9437
PRUITT, DAVID M          540 S HILL ST                                                                          BUFORD            GA    30518‐3222
PRUITT, DEBORAH          8809 MADISON AVE APT 106D                                                              INDIANAPOLIS      IN    46227‐6446
PRUITT, DELORES M        178 HASKINS RD                                                                         LEWISBURG         TN    37091‐4911
PRUITT, DELORIS R        95 DAVIS RD                                                                            HILLSBORO         AL    35643‐3912
PRUITT, DENNY H          176 W YALE AVE                                                                         PONTIAC           MI    48340‐1854
PRUITT, DOLORES I        4919 GERALD ST                                                                         WARREN            MI    48092‐3481
PRUITT, DOROTHY          1210 S 27TH ST                                                                         SAGINAW           MI    48601‐6544
PRUITT, DOROTHY J        5823 HOLLISTER DR                                                                      INDIANAPOLIS      IN    46224‐3038
PRUITT, EARLENE          222 S 11TH ST                                                                          SAGINAW           MI    48601‐1811
PRUITT, EARLENE          222 S 11TH                                                                             SAGINAW           MI    48601‐1811
PRUITT, EARVIN           348 S EDITH ST                                                                         PONTIAC           MI    48342‐3416
PRUITT, EDWIN L          39929 PRETTY POND RD                                                                   ZEPHYRHILLS       FL    33540‐1572
PRUITT, EDWIN R          2617 KENWOOD DR                                                                        DULUTH            GA    30096‐3637
PRUITT, ELMER R          2734 RIVERSIDE DR                                                                      RAVEN             VA    24639‐8540
PRUITT, EMALINE          5685 TROY VILLA BLVD                                                                   HUBER HEIGHTS     OH    45424‐2645
PRUITT, ETHEL            15764 MANSFIELD ST                                                                     DETROIT           MI    48227‐1907
PRUITT, EURA L           828 MIDDLE ST                                                                          LANSING           MI    48915‐1018
PRUITT, FLORIDA L        634 S 16TH ST                                                                          SAGINAW           MI    48601‐2013
PRUITT, FRED             15913 BAYLIS ST                                                                        DETROIT           MI    48238‐1539
PRUITT, GARLAND          952 N TRIPLE X                                                                         CHOCTAW           OK    73020
PRUITT, GARY L           242 BUCKEYE AVE                                                                        MANSFIELD         OH    44906‐2414
PRUITT, GEORGIA L        144 KASTNER AVE                                                                        DAYTON            OH    45410‐1518
PRUITT, GERALD T         230 RAYMER DR                                                                          PARIS             TN    38242‐8212
PRUITT, GLORIA J         106 HUNTINGTON DR # B                                                                  MONROE            LA    71202‐3917
PRUITT, GORDON L         GOLDENBERG, MILLER, HELLER &        PO BOX 959                                         EDWARDSVILLE      IL    62025‐0959
                         ANTOGNOLI
PRUITT, GORDON L         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                               EDWARDSVILLE       IL   62025
                         ROWLAND P C
PRUITT, H TRUCKING INC   3130 WILLIAMSON RD                                                                     SAGINAW           MI    48601‐5658
PRUITT, HARLEY C         1382 HAW CREEK DR                                                                      CUMMING           GA    30041‐6535
PRUITT, HENRY M          8419 CAMPANELLA DR                                                                     DALLAS            TX    75243‐1811
PRUITT, HERSHELL R       4440 COVECREST DR                                                                      SALT LAKE CITY    UT    84124‐4010
PRUITT, JACQUELENE       318 CLIFFORD ST                                                                        PONTIAC           MI    48342‐3324
PRUITT, JAMES F          6287 HARLEM GROVETOWN RD                                                               HARLEM            GA    30814
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Name                Address1                         Address2                        Address3   Address4         City             State Zip
PRUITT, JAMES J     2667 N TIPSICO LAKE RD                                                                       HARTLAND          MI 48353‐3250
PRUITT, JAMES L     2687 BUFORD HWY                                                                              CUMMING           GA 30041‐8212
PRUITT, JAMES R     104 BRIARWOOD LN                                                                             CUMMING           GA 30040‐2044
PRUITT, JAMES R     THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES      FL 33146
PRUITT, JAMES R     MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH        PA 15219
                                                     SUITE 500
PRUITT, JAMIE L     222 S 11TH ST                                                                                SAGINAW          MI   48601‐1811
PRUITT, JANET L     933 S 4TH AVE                                                                                SAGINAW          MI   48601‐2139
PRUITT, JASIE B     PO BOX 32                                                                                    SWEET WATER      AL   36782‐0032
PRUITT, JASON J     1480 FOUR SEASONS DR                                                                         HOWELL           MI   48843‐6117
PRUITT, JERRY B     5077 BELFORD RD                                                                              HOLLY            MI   48442‐9439
PRUITT, JERRY D     3921 ALODA ST                                                                                INDIANAPOLIS     IN   46203‐3462
PRUITT, JESSE D     616 BAER DR                                                                                  MOORE            OK   73160‐3713
PRUITT, JESSE L     11415 ANDERSONVILLE ROAD                                                                     DAVISBURG        MI   48350‐3137
PRUITT, JIMMIE      PORTER & MALOUF PA               4670 MCWILLIE DR                                            JACKSON          MS   39206‐5621
PRUITT, JIMMY L     4595 POOLE RD                                                                                CUMMING          GA   30040‐8041
PRUITT, JOE         1727 KING AVE                                                                                DAYTON           OH   45420‐2444
PRUITT, JOE H       4890 SPOT RD                                                                                 CUMMING          GA   30040‐4446
PRUITT, JOHN E      7500 COSNER DRIVE                                                                            DAYTON           OH   45424‐3344
PRUITT, JOHN E      7500 COSNER DR                                                                               DAYTON           OH   45424‐3344
PRUITT, JOHN H      1366 JOLSON AVE                                                                              BURTON           MI   48529‐2026
PRUITT, JOHN M      5477 HERON CV                                                                                BEAVERTON        MI   48612‐8578
PRUITT, JOHN N      3745 TYLER ST                                                                                DETROIT          MI   48238‐3219
PRUITT, JOHN R      604 OTTER CREEK TRL                                                                          SAINT PETERS     MO   63376‐5909
PRUITT, JOHN W      543 FINCHERVILLE RD                                                                          JACKSON          GA   30233‐3400
PRUITT, JOHNNIE B   PO BOX 13603                                                                                 MOBILE           AL   36663‐0603
PRUITT, JON J       7501 CHATLAKE DR                                                                             HUBER HEIGHTS    OH   45424
PRUITT, JOY L       6423 RUIDOSO DR                                                                              SAGINAW          MI   48603‐4803
PRUITT, JUDITH A    965 LEWIS RIDGE CIR                                                                          LAWRENCEVILLE    GA   30045‐8898
PRUITT, K C         1601 WOOD CREEK LN                                                                           ALLEN            TX   75002‐1705
PRUITT, KENNETH R   PO BOX 39757                                                                                 DENVER           CO   80239
PRUITT, KERRY T     1123 MILLVIEW DR                                                                             ARLINGTON        TX   76012
PRUITT, LAMAR C     823 BRADFORD RD                                                                              TIGNALL          GA   30668‐2939
PRUITT, LARRY D     2077 APPLEBROOK DR                                                                           COMMERCE TWP     MI   48382‐1577
PRUITT, LARRY D     9011 W PARKWAY ST                                                                            REDFORD          MI   48239‐1160
PRUITT, LARRY W     3922 SW J HWY                                                                                PLATTSBURG       MO   64477‐9398
PRUITT, LAURABEL    4487 E MAIN ST                                                                               AVON             IN   46123‐9488
PRUITT, LENNIE      1634 E 92ND PL                                                                               CHICAGO          IL   60617‐3647
PRUITT, LEONA M     635 DEANNA DR                                                                                LAPEER           MI   48446‐3366
PRUITT, LEROY       2070 BUFORD DAM RD                                                                           BUFORD           GA   30518‐2018
PRUITT, LEROY C     22265 HIGHWAY 195                                                                            DOUBLE SPRINGS   AL   35553‐2921
PRUITT, LETA G      8419 CAMPANELLA DR                                                                           DALLAS           TX   75243‐1811
PRUITT, LEVADA W    1570 DEERFIELD AVE SW                                                                        WARREN           OH   44485‐3935
PRUITT, LILLIE R    3118 CUMBERLAND RD                                                                           LANSING          MI   48906‐3625
PRUITT, LONNIE R    965 LEWIS RIDGE CIR                                                                          LAWRENCEVILLE    GA   30045‐8898
PRUITT, LORA C      5046 SORRENTO CT                                                                             CAPE CORAL       FL   33904‐9427
PRUITT, MARILYN F   212 DOTY RD                                                                                  MONROE           MI   48162‐9605
PRUITT, MARK T      2111 NICHOLBY DR                                                                             WILMINGTON       DE   19808‐4230
PRUITT, MATTIE      87 ALDINE ST                                                                                 NEWARK           NJ   07112‐1551
PRUITT, MELVIN D    1560 SPUR LANE NORTHWEST                                                                     BROOKHAVEN       MS   39601‐9177
PRUITT, MICHAEL A   1232 BUCKINGHAM CIR                                                                          FRANKLIN         TN   37064‐5407
PRUITT, MICHAEL L   836 INNES ST NE                                                                              GRAND RAPIDS     MI   49503‐3518
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Name                     Address1                       Address2                      Address3   Address4         City            State Zip
PRUITT, MICHELLE C       4286 S SIBERT ST                                                                         GADSDEN          AL 35905
PRUITT, MICHELLE L       12715 SUNRISE CT                                                                         WAYLAND          MI 49348‐9201
PRUITT, MONICA L         7803 BASS RD                                                                             PORT HOPE        MI 48468‐9617
PRUITT, NETTIE L         2900 PULASKI PIKE NW                                                                     HUNTSVILLE       AL 35810‐3754
PRUITT, NORMAN F         1926 VENETIAN DR                                                                         STOCKTON         CA 95207‐5430
PRUITT, NORMAN J         22971 ENGLEHARDT ST                                                                      ST CLR SHORES    MI 48080‐2161
PRUITT, PAULA L          50 SANTEE RIVER DR                                                                       ADRIAN           MI 49221‐7716
PRUITT, PEARLIE P        2714 WINBURN AVE                                                                         DAYTON           OH 45420
PRUITT, PETER J          359 LAKE DR SE APT G                                                                     MARIETTA         GA 30060‐8328
PRUITT, PORTIA J.        2146 LAKEVIEW DR APT 233                                                                 YPSILANTI        MI 48198‐6734
PRUITT, RALPH B          137 ABERDEEN LN                                                                          MONROE           MI 48161‐9092
PRUITT, RANDAL R         29115 RIVEROAK DR                                                                        ROMULUS          MI 48174‐3019
PRUITT, RANDALL A        11163 RIVERVIEW DR                                                                       GRAND BLANC      MI 48439‐1046
PRUITT, RANDALL B        2717 BUFORD HWY                                                                          CUMMING          GA 30041‐8214
PRUITT, RICHARD D        1048 CHOVAN DR                                                                           JOLIET            IL 60435‐9332
PRUITT, RICK J           3833 SOUTH TRL                                                                           DAYTON           OH 45414‐5047
PRUITT, RICKY N          4890 SPOT RD                                                                             CUMMING          GA 30040‐4446
PRUITT, RICKY S          6372 IDA ST                                                                              INDIANAPOLIS     IN 46241‐1019
PRUITT, ROBERT E         5 PITCAIRN PL                                                                            NEWARK           DE 19702‐1432
PRUITT, ROBERT E         767 BROOKVIEW DR                                                                         GREENWOOD        IN 46142‐1804
PRUITT, ROBERT L         4090 LAKE RUSSELL CT                                                                     BUFORD           GA 30519‐3745
PRUITT, ROBERT W         1460 LILA DR                                                                             TROY             MI 48085‐3407
PRUITT, ROBERT W         FARRELL ROY                    112 N BROADWAY ST                                         TUPELO           MS 38804‐3902
PRUITT, ROBERT W         WOLFF ARDIS PC                 5810 SHELBY OAKS DR                                       MEMPHIS          TN 38134‐7315
PRUITT, RODNEY D         5519 CIBOLA DR NE                                                                        RIO RANCHO       NM 87144
PRUITT, RONNIE L         1811 SILVERADO DR.                                                                       BELLBROOK        OH 45305‐5305
PRUITT, ROSNELL          11878 WEST ROBERTA DRIVE                                                                 ROSCOMMON        MI 48653‐9747
PRUITT, ROY K            4059 KEN KLARE DR                                                                        DAYTON           OH 45432‐1950
PRUITT, RUBY             300 NORTH PLEASANT VALLEY                                                                RIVERSIDE        OH 45404
PRUITT, RUBY J           14789 ROSEMARY ST                                                                        DETROIT          MI 48213‐1539
PRUITT, RUTH C           3 LAFAYETTE CIR                                                                          CLINTON          MS 39056‐9633
PRUITT, RUTH M           230 RAYMER DR                                                                            PARIS            TN 38242‐8212
PRUITT, SABRINA D        HALE HALL BOX 389 TSU                                                                    NASHVILLE        TN 37202
PRUITT, SAM E            3506 BAGSHAW DR                                                                          SAGINAW          MI 48601‐5207
PRUITT, SELENA           635 LENER AVE SW                                                                         WARREN           OH 44485‐3373
PRUITT, SHARON L         4545 WORNALL RD APT 904                                                                  KANSAS CITY      MO 64111‐3244
PRUITT, SHAWN            4505 N STEEL RD                                                                          HEMLOCK          MI 48626‐9645
PRUITT, SHELLIE A        1232 BUCKINGHAM CIR                                                                      FRANKLIN         TN 37064
PRUITT, SHERRY           609 YESLER WAY APT 602                                                                   SEATTLE          WA 98104‐3725
PRUITT, SHYRA S          145 WAVETREE DR                                                                          ROSWELL          GA 30075‐2944
PRUITT, SONNY            395 LABADIE CT TRLR 41                                                                   ECORSE           MI 48229‐1252
PRUITT, SONNY            7143 ROBINSON AVENUE                                                                     ALLEN PARK       MI 48101‐2245
PRUITT, STEPHANIE R      517 MANOR DR                                                                             NORMAN           OK 73072‐6516
PRUITT, SUE              30 MARK DR                                                                               WEST UNION       OH 45693‐8976
PRUITT, SYLVIA G         P.O. BOX 1135                                                                            FORT WORTH       TX 76010
PRUITT, SYLVIA GRANADO   P.O. BOX 1135                                                                            FORT WORTH       TX 76010
PRUITT, TERRY L          2755 S 475 W                                                                             ANDERSON         IN 46011‐9446
PRUITT, THOMAS           2714 WINBURN AVENUE                                                                      DAYTON           OH 45420‐5420
PRUITT, THOMAS A         3281 BAKER RD                                                                            OLIVET           MI 49076‐9655
PRUITT, THOMAS JOSEPH    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                        STREET, SUITE 600
PRUITT, THORNER L        3530 MELODY LN                                                                           SAGINAW          MI 48601‐5631
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Name                                 Address1                         Address2                        Address3   Address4                City            State Zip
PRUITT, TOMMY                        425 DIRTY ANKLE RD                                                                                  CASAR            NC 28020‐8733
PRUITT, TOMMY                        425 DIRTYANKLE ROAD                                                                                 KAISER           NC 28020
PRUITT, TONY S                       1120 ANNFIELD DR                                                                                    MANSFIELD        OH 44903‐7819
PRUITT, TOSHA S                      PO BOX 312                                                                                          ADDISON          TX 75001‐0312
PRUITT, TRACY                        8219 MIDLAND RD                                                                                     FREELAND         MI 48623‐9002
PRUITT, TRICIA R                     3200 WEBBER ST                                                                                      SAGINAW          MI 48601‐4024
PRUITT, VERNICE                      1045 BRANNON RD                                                                                     LAURENCEBURG     TN 38464
PRUITT, VERNON R                     517 MANOR DR                                                                                        NORMAN           OK 73072‐6516
PRUITT, WANDA S.                     53 JULIANA DR                                                                                       DANVILLE          IL 61832‐8440
PRUITT, WANDA S.                     53 JULIANA                                                                                          DANVILLE          IL 61832‐8440
PRUITT, WESLEY                       14635 ROSEMONT AVE                                                                                  DETROIT          MI 48223‐2368
PRUITT, WILLIAM A                    PO BOX 5588                                                                                         SAGINAW          MI 48603‐0588
PRUITT, WILLIE                       3333 REX AVE                                                                                        SAINT LOUIS      MO 63114‐2928
PRUITT‐SMITH, ETTA J                 5034 WEMBERLEY DR                                                                                   MEMPHIS          TN 38125‐3472
PRUITTE, JOHNNY M                    25 S WILLARD AVE                                                                                    JANESVILLE       WI 53548‐4416
PRUITTE, JOHNNY M                    4901 CANYON TRL N APT 2706                                                                          EULESS           TX 76040‐8761
PRUKA, JAMES J                       21260 W REDWOOD DR                                                                                  PLAINFIELD        IL 60544‐6469
PRUMATICO AMBER                      400 W BAKER AVE APT G5                                                                              FULLERTON        CA 92832
PRUNEAU, LEO V                       273 HARPERS RD BOX 506                                                      WOODEND VICTORIA 3442
                                                                                                                 AUSTRALIA
PRUNEAU, MICHAEL E                   APT H‐8                          1014 WALL ROAD                                                     SPRING LAKE     NJ    07762‐2349
PRUNEDA, JOE                         7724 WOOD STORK CT NW                                                                               ALBUQUERQUE     NM    87114‐1349
PRUNER, PAMELA S.                    5088 HARBOR OAK DR                                                                                  WATERFORD       MI    48329‐1726
PRUNER, VICTOR L                     1037 HEIGHTS RD                                                                                     LAKE ORION      MI    48362‐2421
PRUNER, VICTOR L.                    1037 HEIGHTS RD                                                                                     LAKE ORION      MI    48362
PRUNIER, BARBARA                     2696 E HUBBARDTON RD                                                                                CASTLETON       VT    05735‐9755
PRUNIER, CHUNG W                     116 THOMPSON RD                                                                                     WEBSTER         MA    01570‐1414
PRUNKARD, BRADLEY J                  PO BOX 257                                                                                          SIDELL           IL   61876‐0257
PRUNKARD, DORIS F                    20 PINE TREE RD                                                                                     TRENTON         MI    48183
PRUNKARD, KATHY L                    22862 STATE ROUTE 1                                                                                 DANVILLE         IL   61834‐5914
PRUNTEK, MARLYS                      88 HAVENWOOD DR                                                                                     POMPANO BEACH   FL    33064‐3064
PRUNTY KENARD (ESTATE OF) (492653)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD      OH    44067
                                                                      PROFESSIONAL BLDG
PRUNTY, DONALD G                     5911 COUNCIL RING BLVD                                                                              KOKOMO           IN   46902‐5515
PRUNTY, GARY L                       2351 SOUTH RIDGEWOOD AVE.        LOT 36                                                             EDGEWATER        FL   32141‐2141
PRUNTY, GARY L                       2351 S RIDGEWOOD AVE LOT 36                                                                         EDGEWATER        FL   32141‐4223
PRUNTY, GARY L                       LOT 36                           2351 SOUTH RIDGEWOOD AVENUE                                        EDGEWATER        FL   32141‐4223

PRUNTY, JESSE M                      3634 LAKESIDE DR                                                                                    SHREVEPORT      LA    71119‐6516
PRUNTY, JESSE MARK                   3634 LAKESIDE DR                                                                                    SHREVEPORT      LA    71119‐6516
PRUNTY, JUDY J                       2259 GRAND AVE UNIT 5                                                                               W DES MOINES    IA    50265‐5634
PRUNTY, JUSTIN T                     3634 LAKESIDE DR                                                                                    SHREVEPORT      LA    71119‐6516
PRUNTY, MARGARET A                   25925 WILLIAMS DR                                                                                   WESTLAKE        OH    44145‐3328
PRUNTY, OTIS KENNY                   SHANNON LAW FIRM                 100 W GALLATIN ST                                                  HAZLEHURST      MS    39083‐3007
PRUNTY, PATRICIA E                   5911 COUNCIL RING BLVD                                                                              KOKOMO          IN    46902‐5515
PRUNTY, SHARON                       1929 SOUTHERNWOOD LN                                                                                INDIANAPOLIS    IN    46231‐5215
PRUS JR, FREDERICK L                 352 E 650 N                                                                                         ALEXANDRIA      IN    46001‐8622
PRUS, DANIEL J                       2016 COOPER STREET                                                                                  JACKSON         MI    49202‐1712
PRUS, HELEN A                        2930 N VERMONT                                                                                      ROYAL OAK       MI    48073‐3527
PRUS, NANCY L                        9717 SHOALS DR                                                                                      FORT WAYNE      IN    46819‐2653
PRUS, NATALIE JO                     9717 SHOALS DR                                                                                      FORT WAYNE      IN    46819‐2653
PRUS, PETER P                        2930 N VERMONT AVE                                                                                  ROYAL OAK       MI    48073‐3527
                               09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                           Address1                             Address2                      Address3   Address4         City               State Zip
PRUSA, RICHARD J               1700 PASEWALK AVE APT 415                                                                      NORFOLK             NE 68701‐5663
PRUSAC, LUKA                   9146 MEADOWLAND DR                                                                             GRAND BLANC         MI 48439‐8355
PRUSAC, STOJAN                 4148 W COURT ST                                                                                FLINT               MI 48532‐3521
PRUSACK, GENEVIEVE             8857 HEADLEY DR                                                                                STERLING HEIGHTS    MI 48314‐2662
PRUSAITIS, CHRISTINE B         285 DAVIS LAKE DRIVE                                                                           OXFORD              MI 48371‐4707
PRUSAITIS, JAMES R             285 DAVIS LAKE DRIVE                                                                           OXFORD              MI 48371‐4707
PRUSAITIS, RANDALL W           3407 DAWSON DR                                                                                 WARREN              MI 48092‐3253
PRUSAK, ANNA T                 36126 HAVERFORD PLACE                                                                          AVON                OH 44011‐3439
PRUSAK, ANNE L                 16624 S PARLIAMENT AVE                                                                         TINLEY PARK          IL 60477‐2466
PRUSAK, IRENE                  CASTLEWOOD APT 201                   17600 DETROIT AVE.                                        LAKEWOOD            OH 44107
PRUSAK, JAMES F                15600 TIGHT PINCH RD                                                                           PLEASANTVILLE       PA 16341‐2122
PRUSAK, JOHN A                 31786 WELLSTON DR                                                                              WARREN              MI 48093‐1770
PRUSAK, KELLY K                42 CADMAN DR                                                                                   WILLIAMSVILLE       NY 14221‐6964
PRUSAK, NANCY                  1886 BEDELL RD                                                                                 GRAND ISLAND        NY 14072‐1845
PRUSAK, RONALD E               126 FREDRO ST                                                                                  BUFFALO             NY 14206‐3106
PRUSAK, ROSE J                 22435 BLACKBURN                                                                                ST CLAIR SHORES     MI 48080‐2841
PRUSAK, STEPHEN R              277 N BEVERLY AVE                                                                              YOUNGSTOWN          OH 44515‐2827
PRUSAKIEWICZ, EUGENE F         2649 WELLS RD                                                                                  PETERSBURG          MI 49270‐9516
PRUSAKIEWICZ, KATHRYN C        4220 N HOLLAND SYLVANIA RD APT 114                                                             TOLEDO              OH 43623‐2582

PRUSAKIEWICZ, KATHRYN C        4220 HOLLAND SYLVANIA RD             APT114                                                    TOLEDO             OH   43623‐2577
PRUSAKIEWICZ, ROBERT S         9324 CONTINENTAL DR                                                                            TAYLOR             MI   48180‐3018
PRUSE, JOHN A                  2106 WOODLAND AVE                                                                              ROYAL OAK          MI   48073‐3875
PRUSE, ROBERT R                4747 AZALEA DR APT 210                                                                         NEW PORT RICHEY    FL   34652‐5021
PRUSH JOSEPH R (652464)        ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                               SOUTHFIELD         MI   48075‐3727
PRUSH, JOSEPH R                ZAMLER, MELLEN & SHIFFMAN            23077 GREENFIELD RD STE 557                               SOUTHFIELD         MI   48075‐3727
PRUSHA, DONALD J               7300 W BALDWIN RESERVE DR                                                                      MIDDLEBRG HTS      OH   44130‐5667
PRUSHA, JAMES M                16233 MOCK RD                                                                                  BERLIN CENTER      OH   44401‐9795
PRUSHA, ROBERT J               155 NORTH DAY AVE                                                                              CLAYTON            MO   63105
PRUSHA, THOMAS J               7520 TRUMBOWER TRL                                                                             MILLINGTON         MI   48746
PRUSHEIK, IRIS J               615 MAPLE ST                                                                                   MUKWONAGO          WI   53149‐1256
PRUSI, WALFRED H               1977 S MAIN ST                                                                                 FAIRGROVE          MI   48733‐9575
PRUSIK, VIRGINIA D             912 TAFT ST                                                                                    PORT CLINTON       OH   43452‐2244
PRUSIK, VIRGINIA D             912 TAFT STREET                                                                                PORT CLINTON       OH   43452‐2244
PRUSINOWSKI, FRANK C           38036 LYNDON ST                                                                                LIVONIA            MI   48154‐4962
PRUSINOWSKI, FRANK CHESTER     38036 LYNDON ST                                                                                LIVONIA            MI   48154‐4962
PRUSINOWSKI, JAMES S           1830 BLACKBURN LN                                                                              SPRING HILL        TN   37174‐2528
PRUSINOWSKI, JOSEPH            440 S BRYAR ST                                                                                 WESTLAND           MI   48186‐3833
PRUSINOWSKI, LAWRENCE J        7323 ROSELANE AVE                                                                              JENISON            MI   49428‐8743
PRUSINOWSKI, RICHARD C         1018 MIDLAND BLVD                                                                              ROYAL OAK          MI   48073‐2862
PRUSINOWSKI, RICHARD CASIMER   1018 MIDLAND BLVD                                                                              ROYAL OAK          MI   48073‐2862
PRUSINOWSKI, TOETEUSZ F        206 WHARF ST                                                                                   HERMANN            MO   65041‐1160
PRUSISZ, DEBORAH J             5 VIVIENNE CT                                                                                  VALLEY COTTAGE     NY   10989‐1301
PRUSKI, CLEMENS                26704 NEWPORT AVE                                                                              WARREN             MI   48089‐4554
PRUSKI, ERIKA L                6589 WILSON DR                                                                                 BRIGHTON           MI   48116‐2021
PRUSKI, MATTHEW                6589 WILSON DR                                                                                 BRIGHTON           MI   48116‐2021
PRUSKI, MICHAEL                51604 JOHNS DR                                                                                 CHESTERFIELD       MI   48047‐1415
PRUSKIEWICZ, JOSEPH J          14641 CARLTON LN                     BOX 284                                                   EDEN               MD   21822
PRUSKY JR, WALTER V            47 BANE AVE                                                                                    NEWTON FALLS       OH   44444‐1602
PRUSKY, DENNIS                 8 FRANKLIN STREET                                                                              NEWTON FALLS       OH   44444
PRUSNEK, THOMAS J              10708 PROSPECT RD                                                                              STRONGSVILLE       OH   44149‐2235
PRUSNICK, LEONARD              100 WEATHERLY WAY                                                                              PELHAM             AL   35124‐2938
                             09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                        Address1                            Address2                Address3   Address4             City               State Zip
PRUSOCK, SOPHIE T           4333 W 187TH ST                                                                             CLEVELAND           OH 44135‐1826
PRUSOCK, SOPHIE T           4333 WEST 187TH ST                                                                          CLEVELAND           OH 44135‐1826
PRUSS, JAMES A              PO BOX 168                                                                                  SAINT JOHNS         MI 48879‐0168
PRUSS, RONALD W             8758 LOZEN DR                                                                               STERLING HTS        MI 48313‐4844
PRUSS, STEPHEN D            3762 ROLLING HILLS RD                                                                       LAKE ORION          MI 48359‐1491
PRUSSAK, LEONARD J          2396 BOSTON MILLS RD                                                                        BRECKSVILLE         OH 44141‐3809
PRUSSAK, WAYNE J            2066 KING DR                                                                                STOW                OH 44224‐2637
PRUSSER, THELMA J           180E HENDERSON RT 3                                                                         OWOSSO              MI 48867‐8835
PRUSSEY JR, ROBERT J        3823 STATE ROUTE 82                                                                         NEWTON FALLS        OH 44444‐9581
PRUSSEY, ROBERT J           3823 STATE ROUTE 82                                                                         NEWTON FALLS        OH 44444‐9581
PRUSSIA, WILLIAM H          6804 WYCK FARM WAY                                                                          WILMINGTON          NC 28405‐6108
PRUSSING, RAYMOND F         1411 WOODLAND PL                                                                            PLYMOUTH            MI 48170‐1534
PRUSSNER, DOROTHY           1330 N BALL STREET                                                                          OWOSSO              MI 48867‐1714
PRUSSNER, DOROTHY           1330 N BALL ST                                                                              OWOSSO              MI 48867‐1714
PRUSSNER, GERALD L          7120 PARKRIDGE PKWY                                                                         SWARTZ CREEK        MI 48473‐1562
PRUSSNER, JOHN M            58419 COUNTY ROAD 115                                                                       GOSHEN              IN 46528‐8429
PRUSZYNSKI, NICHOLAS A      15300 HAMPDEN ST                                                                            TAYLOR              MI 48180‐4973
PRUSZYNSKI, TED S           1808 FOX POINT                                                                              HORSESHOE BND       AR 72512‐4100
PRUTEANU, VIRGIL            13056 BLUE LAKES CIR                                                                        SHELBY TOWNSHIP     MI 48315‐3559
PRUTER, SUNDAY R            428 ADELINE DR                                                                              SMYRNA              TN 37167‐5229
PRUTZMAN, DORIS M           374 NEW GRANT STREET                                                                        WILKES‐BARRE        PA 18702‐5305
PRUTZMAN, MARY              2700 PINE RUN RD                                                                            LAUREL RUN          PA 18706‐9433
PRUTZNAL, JOSEPH G          19 STENZIL ST                                                                               N TONAWANDA         NY 14120‐6514
PRUTZNAL, TERRY G           2753 REYNOLDS CIR                                                                           COLUMBIAVILLE       MI 48421‐8940
PRUTZNAL, TERRY GEROGE      2753 REYNOLDS CIR                                                                           COLUMBIAVILLE       MI 48421‐8940
PRUYN, ANNA K               20810 CAMPHOR TREE DR                                                                       KATY                TX 77449‐4628
PRUYT, JOSEPH D             19220 TAYLOR LAKE RD                                                                        HOLLY               MI 48442‐9111
PRUYT, JOSEPH DAVID         19220 TAYLOR LAKE RD                                                                        HOLLY               MI 48442‐9111
PRUYT, RONALD L             11695 MANIER RD                                                                             ATLANTA             MI 49709‐9113
PRUYT, TIMOTHY R            2195 TAYLOR LAKE CT                                                                         HOLLY               MI 48442‐9113
PRUZINSKIS JR, EDWARD G     511 MADISON AVE                                                                             RAHWAY              NJ 07065‐2304
PRUZINSKY, CARL R           15824 SCHULTZ                                                                               CLINTON TWP         MI 48038‐4163
PRUZINSKY, CARL R           15824 SCHULTZ ST                                                                            CLINTON TWP         MI 48038‐4163
PRV INTERPAT                BOX 5055 SE                                                            STOCKHOLM S‐102 42
                                                                                                   SWEDEN
PRVONOZAC GEORGE (494113)   CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                   CLEVELAND          OH 44113‐1328
                            COONE AND ASSOCIATES
PRVONOZAC, GEORGE           CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                   CLEVELAND          OH 44113‐1328
                            COONE AND ASSOCIATES
PRVONOZAC, GEORGE           1714 IRENE AVE NE                                                                           WARREN             OH 44483‐3529
PRY, EDWARD D               21997 COUNTY ROAD 525                                                                       BLOOMFIELD         MO 63825‐8583
PRY, MARK
PRY, STEPHEN R              714 FRANKLIN DR                                                                             PERTH AMBOY        NJ   08861‐1850
PRYBER, JOSEPH A            3077 MONTCLAIR DR                                                                           CLARKSTON          MI   48348‐5067
PRYBER, LAUREN L.           3077 MONTCLAIR DR                                                                           CLARKSTON          MI   48348‐5067
PRYBOLSKY, MARY ANN B       8 FALMOUTH RD                                                                               ISELIN             NJ   08830‐2407
PRYBULA, KORNELIA           5018 ESTELLA LN                                                                             SHELBY TOWNSHIP    MI   48316‐4110
PRYBULA, ROMAN A            899 COX RUN                                                                                 BLOOMFIELD HILLS   MI   48013
PRYBULA, ZENON W            33256 RICHARD O DR                                                                          STERLING HTS       MI   48310‐6116
PRYBYCIEN, RONALD           2504 DAVID STREET                                                                           MELVINDALE         MI   48122‐1922
PRYBYLOWSKI, RONALD D       4949 BELLEMEDE BOULEVARD                                                                    NEW PRT RCHY       FL   34655‐1480
PRYBYLSKI, ROSE A           1208 BIRCHWOOD DR                                                                           FLUSHING           MI   48433‐1488
                             09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                         Address1                         Address2                        Address3   Address4         City                 State Zip
PRYBYLSKI, WILLIAM J         1208 BIRCHWOOD DR                                                                            FLUSHING              MI 48433‐1488
PRYBYS, RICHARD J            40419 LA GRANGE DR                                                                           STERLING HTS          MI 48313‐5436
PRYBYS‐JACKSON, GERMAINE M   PO BOX 424                                                                                   DULUTH                GA 30096‐0009
PRYCE LARRY (460118)         KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND             OH 44114
                                                              BOND COURT BUILDING
PRYCE, JAMES E               44 MYRTLE BANK RD                                                                            HILTON HEAD ISLAND   SC 29926‐1866
PRYCE, KENNETH J             29517 RUSH ST                                                                                GARDEN CITY          MI 48135‐2049
PRYCE, LARRY                 KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                CLEVELAND            OH 44114
                                                              BOND COURT BUILDING
PRYCIAK, KRZYSZTOF           52794 BLUERIDGE DR                                                                           SHELBY TOWNSHIP      MI   48316‐2974
PRYDE, ARTHUR E              7215 AARONWAY DR                                                                             ORCHARD LAKE         MI   48324‐2471
PRYDE, ISOBEL                11295 ENGLEMAN RD                                                                            WARREN               MI   48089‐1077
PRYDE, JAMES H               6531 LINVILLE DR RTE 2                                                                       BRIGHTON             MI   48116
PRYDE, NATALIE L             8214 NORTHVIEW DR                                                                            HOWELL               MI   48855‐7256
PRYER, CAROLINE M            5923 BOIS ILE DR APT 75                                                                      HASLETT              MI   48840‐9553
PRYER, ELDRED L              37 HARVEY AVE                                                                                LOCKPORT             NY   14094‐4305
PRYER, FLOSSIE               3721 PENBROOK LN APT 11                                                                      FLINT                MI   48507‐1493
PRYER, FLOSSIE               3721 PENBROOKE LANE              APT 11                                                      FLINT                MI   48507
PRYER, RICHARD R             4920 HILLCREST AVE                                                                           OKEMOS               MI   48864‐1010
PRYFOGLE, SAMUEL B           11425 W VIRGINIA AVE                                                                         AVONDALE             AZ   85392‐5030
PRYG, FRANK M                49398 WILLOWOOD DR                                                                           MACOMB               MI   48044‐1653
PRYG, LARRY F                54126 SCARBORO WAY                                                                           SHELBY TOWNSHIP      MI   48316‐1284
PRYHODA, JOSEPH T            3 RENE DR                                                                                    SPENCERPORT          NY   14559‐1619
PRYJMA, ANASTASIA            21117 MASCH AVE                                                                              WARREN               MI   48091‐4653
PRYJMA, ANASTASIA            21117 MASCH                                                                                  WARREN               MI   48091‐4653
PRYJMAK OLGA                 PRYJMAK, OLGA                    22 OAK ROAD                                                 WHITE HAVEN          PA   18661‐3113
PRYJMAK, BOHDAN I            41433 BAYHAVEN DR                                                                            HARRISON TWP         MI   48045‐1438
PRYJMAK, OLGA                22 OAK RD                                                                                    WHITE HAVEN          PA   18661‐3113
PRYJOMSKI, LEONARD J         2525 BLAIR ST                                                                                WHITE LAKE           MI   48386‐1503
PRYKA, RONALD A              1607 SPRINGVIEW CT                                                                           ROCHESTER            MI   48307‐1735
PRYLON, BRIAN T              6441 ALDEN DR                                                                                W BLOOMFIELD         MI   48324‐2003
PRYMMER, JOHN B              972 FRONT ST SW                                                                              WARREN               OH   44485‐3616
PRYMUS, ROSA L               4230 EAST 67TH TERRACE                                                                       KANSAS CITY          MO   64132‐1476
PRYNE, KENNETH P             16603 E 53RD TERRACE CT SOUTH                                                                INDEPENDENCE         MO   64055
PRYOMSKI, DANIEL             2468 TACKLES DR                                                                              WHITE LAKE           MI   48386‐1555
PRYOMSKI, GARY R             11137 TERRACE RD                                                                             HOLLY                MI   48442‐8620
PRYOMSKI, GARY RICHARD       11137 TERRACE RD                                                                             HOLLY                MI   48442‐8620
PRYOMSKI, ZANE M             8770 BIG LAKE RD                                                                             CLARKSTON            MI   48346‐1008
PRYOR & AMAR LLC AND         NANCY KELLY CROW                 40 W BASELINE RD                STE 203                     TEMPE                AZ   85283‐1260
PRYOR ALAN C (483935)        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                  BALTIMORE            MD   21202
                                                              CHARLES CENTER 22ND FLOOR
PRYOR ANGELA                 PRYOR, ANGELA                    450 RAMSEY ROAD                                             LEBANON              TN 37087
PRYOR DALE (468740)          KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                               CLEVELAND            OH 44114
                                                              BOND COURT BUILDING
PRYOR HOLLINGSWORTH          2938 S TAFT AVE                                                                              INDIANAPOLIS         IN   46241‐5924
PRYOR JR, ANTHONY D          704 PALMER DR                                                                                PONTIAC              MI   48342‐1857
PRYOR JR, ANTHONY DWAYNE     704 PALMER DR                                                                                PONTIAC              MI   48342‐1857
PRYOR JR, GIDDEON            6560 CLINTON RD                                                                              PADUCAH              KY   42001‐9230
PRYOR KATRINA                14207 RITCHIE RD                                                                             CASCADE              MD   21719‐2009
PRYOR KERI L                 PRYOR, KERI L                    649 N YORK ST                                               ELMHURST             IL   60126‐1604
PRYOR MARIA                  31220 STAFFORD ST                                                                            BEVERLY HILLS        MI   48025‐3760
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Name                               Address1                           Address2                       Address3   Address4         City              State Zip
PRYOR RAYMOND ELWOOD (ESTATE OF)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
(459266)                                                              STREET, SUITE 600
PRYOR RESOURCES INC                2000 SHAWNEE MISSION PARKWAY       P O BOX 2951                                               SHAWNEE MISSION   KS   66205
PRYOR THOMAS (644372)              SIMMONS FIRM                       PO BOX 521                                                 EAST ALTON        IL   62024‐0519
PRYOR WALKER JR                    238 S 6TH ST                                                                                  NEWARK            NJ   07103‐2446
PRYOR WILLIAM                      PRYOR, ANGELA                      PO BOX 51575                                               LAFAYETTE         LA   70505‐1575
PRYOR WILLIAM                      PRYOR, WILLIAM                     PO BOX 51575                                               LAFAYETTE         LA   70505‐1575
PRYOR, ALAN C                      ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                  BALTIMORE         MD   21202
                                                                      CHARLES CENTER 22ND FLOOR
PRYOR, ALBERTOS W                  202 S SANFORD ST                                                                              PONTIAC           MI   48342‐3149
PRYOR, ALBINA D                    102 DYER AVE                       CHERRY BROOK HEALTH CENTER                                 COLLINSVILLE      CT   06019‐3236
PRYOR, ANGELA                      450 RAMSEY RD                                                                                 LEBANON           TN   37087‐0992
PRYOR, ANGELA                      ADAMS HENRY                        PO BOX 51575                                               LAFAYETTE         LA   70505‐1575
PRYOR, ANGELA
PRYOR, ANGELINE                    PO BOX 99                                                                                     ARCADIA           IN   46030‐0099
PRYOR, ANTHONY D                   3873 HIGH GROVE WAY                                                                           LAKE ORION        MI   48360‐1575
PRYOR, BENNIE J                    4205 OLD CYPRESS MILL RD                                                                      BRUNSWICK         GA   31520‐2127
PRYOR, BRYAN K                     22491 HAWTHORNE ST                                                                            FARMINGTON        MI   48336‐4324
PRYOR, CAROL A                     704 PALMER DR                                                                                 PONTIAC           MI   48342‐1857
PRYOR, CAROLYN S                   10295 E. US 40                                                                                CHARLOTTESVILLE   IN   46117‐9733
PRYOR, CHARLEEN L                  38416 GARWAY DR                                                                               FREMONT           CA   94536‐5921
PRYOR, CHARLES B                   20 CARRYBACK DR                                                                               ELKTON            MD   21921‐6529
PRYOR, CHARLES E                   3491 FAIRVIEW ST                                                                              DETROIT           MI   48214‐3508
PRYOR, CHARLES L                   638 CUMBERLAND ST                                                                             WESTFIELD         NJ   07090‐4156
PRYOR, CHARLES L                   1424 SUNSET DR                                                                                WINONA LAKE       IN   46590‐5733
PRYOR, CHESTER A                   5202 THORNLEIGH DR                                                                            INDIANAPOLIS      IN   46226‐2260
PRYOR, DALE                        KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND         OH   44114
                                                                      BOND COURT BUILDING
PRYOR, DALE R                      1458 QUAIL TOWER RD                                                                           LUVERNE           AL   36049‐4819
PRYOR, DAVID A                     8524 S LAKESHORE RD                                                                           HARBOR BEACH      MI   48441‐8803
PRYOR, DAVID A                     5815 DAFFODIL CIR                                                                             DAYTON            OH   45449‐2939
PRYOR, DAVID F                     2931 HYDE PARK BLVD APT 4                                                                     NIAGARA FALLS     NY   14305‐2200
PRYOR, DAVID W                     2975 VIENNA RD                                                                                ERIE              MI   48133‐9777
PRYOR, DAVID W                     906 DOLLINS ST                                                                                WILBURTON         OK   74578‐3206
PRYOR, DAVID WAYNE                 2975 VIENNA RD                                                                                ERIE              MI   48133‐9777
PRYOR, DELORES                     250 HASTINGS AVENUE                                                                           BUFFALO           NY   14215
PRYOR, DEMETRIA K                  321 BLAIRWOOD DR                                                                              FORT WORTH        TX   76134‐5336
PRYOR, DORIS W                     ROUTE # 5                          BOX # 5247                                                 SHELL KNOB        MO   65747
PRYOR, ELMER J                     839 LITTLE VALLEY RD                                                                          MAYNARDVILLE      TN   37807‐4629
PRYOR, ELORIS                      7104 BLACKBERRY CRK                                                                           BURTON            MI   48519‐1945
PRYOR, EUGENE J                    18033 UNIVERSITY PARK DR                                                                      LIVONIA           MI   48152‐3928
PRYOR, EVONNE                      APT 2                              436 FOX HILLS DRIVE SOUTH                                  BLOOMFIELD        MI   48304‐1351
PRYOR, GARY O                      48771 S I 94 SERVICE DR            APT 211                                                    BELLEVILLE        MI   48111‐1805
PRYOR, GRACE                       75 WHITEHOUSE DR                   APT 3                                                      ROCHESTER         NY   14616‐5341
PRYOR, GRAYLAND D                  PO BOX 320772                                                                                 FLINT             MI   48532‐0014
PRYOR, GREGORY J                   302A BARTON RUN BLVD                                                                          MARLTON           NJ   08053
PRYOR, HARVESTER                   2115 N WOLFE ST                                                                               MUNCIE            IN   47303‐2461
PRYOR, HENRY D                     2336 SPRING VALLEY RD                                                                         MIAMISBURG        OH   45342‐4439
PRYOR, HENRY D                     6126 TEAGARDEN CIR                                                                            DAYTON            OH   45449‐3014
PRYOR, HOWARD P                    1183 JONAH TRL                                                                                NINEVEH           IN   46164‐9093
PRYOR, JILL A                      2975 VIENNA RD                                                                                ERIE              MI   48133‐9777
PRYOR, JOANNE CECI                 20 CARRY BACK DRIVE                                                                           ELKTON            MD   21921‐6529
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Name                    Address1                         Address2                      Address3   Address4         City                  State Zip
PRYOR, JOANNE CECI      20 CARRYBACK DR                                                                            ELKTON                 MD 21921‐6529
PRYOR, JODEAN           3832 FULTON AVE                                                                            MORAINE                OH 45439‐2002
PRYOR, JOHN N           7551 N COUNTY ROAD 600 W                                                                   MIDDLETOWN             IN 47356‐9406
PRYOR, JUDITH W         662 CLARENDON DR                                                                           NOBLESVILLE            IN 46062‐9087
PRYOR, KATHERINE H      14518 ORO GRANDE ST                                                                        SYLMAR                 CA 91342‐4045
PRYOR, KENNETH G        2971 ROUNDTREE BLVD APT C2                                                                 YPSILANTI              MI 48197‐4875
PRYOR, KENNETH GEORGE   2971 ROUNDTREE BLVD APT C2                                                                 YPSILANTI              MI 48197‐4875
PRYOR, KERI L           CONSUMER LEGAL SERVICES PC       649 N YORK ST                                             ELMHURST                IL 60126‐1604
PRYOR, L B              1649 MARS HILL DR.                                                                         WEST CARROLLTON        OH 45449‐5449
PRYOR, LARRY D          10147 MAPLELAWN STREET                                                                     DETROIT                MI 48204‐4624
PRYOR, LAWRENCE D       3827 HILLBORN LN                                                                           LANSING                MI 48911‐2148
PRYOR, LEON             PO BOX 27190                                                                               CINCINNATI             OH 45227‐0190
PRYOR, LEONA J          134 HIDDEN ACRES RD                                                                        METROPOLIS              IL 62960‐6843
PRYOR, LINDLEY B        8511 EDGEMERE RD APT 304                                                                   DALLAS                 TX 75225‐3505
PRYOR, LONNIE L         834 LAFAYETTE RD                                                                           RED BOILING SPRINGS    TN 37150‐2022
PRYOR, LOUIE H          4819 SHELBYVILLE RD                                                                        INDIANAPOLIS           IN 46237‐1914
PRYOR, LUCILLE          109 BEYNE ST                                                                               MOUNT CLEMENS          MI 48043‐2411
PRYOR, LUCILLE          109 BEYNE                                                                                  MT CLEMENS             MI 48043‐2411
PRYOR, LULA M           907 HAYDEN AVE                                                                             AKRON                  OH 44320‐1707
PRYOR, MARIA            31220 STAFFORD ST                                                                          BEVERLY HILLS          MI 48025‐3760
PRYOR, MARY             773 OWEGO DR                                                                               PONTIAC                MI 48341
PRYOR, MARY L           3634 PARK LAWN DRIVE                                                                       ST LOUIS               MO 63125
PRYOR, MELVIN A         3694 CANYON DR                                                                             SAGINAW                MI 48603‐1962
PRYOR, MENDEL L         1904 N GRANT CITY RD                                                                       SHIRLEY                IN 47384‐9609
PRYOR, MENDEL LEE       1904 N GRANT CITY RD                                                                       SHIRLEY                IN 47384‐9609
PRYOR, MICHELLE         WALTMAN & GRISHAM                2807 S TEXAS AVE #201                                     BRYAN                  TX 77802‐5326
PRYOR, MYRON J          28841 BEECHWOOD ST                                                                         GARDEN CITY            MI 48135‐2462
PRYOR, MYRTLE           RR 4 BOX 137B                                                                              CHARLESTON             WV 25312‐9321
PRYOR, NINA B           6017 W DELAP RD                                                                            ELLETTSVILLE           IN 47429‐9666
PRYOR, OLIN L           RR 4 BOX 137B                                                                              CHARLESTON             WV 25312‐9321
PRYOR, PAULA J          2366 LONGLEAF DR                                                                           GREENWOOD              IN 46143‐7518
PRYOR, PHILLIP          250 HASTINGS AVE                                                                           BUFFALO                NY 14215‐2988
PRYOR, PHILLIP E        2356 LONGLEAF DR                                                                           GREENWOOD              IN 45143‐7518
PRYOR, RAYMOND ELWOOD   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                         STREET, SUITE 600
PRYOR, RAYMOND M        118 W CHEROKEE TRL                                                                         SANDUSKY              OH   44870
PRYOR, REBA             600 W 10TH ST                                                                              MUNCIE                IN   47302‐3125
PRYOR, RENETTA J        18 MALIBU DR                                                                               HIGHLAND HEIGHTS      KY   41076‐1611
PRYOR, RICHARD M        947 SANDPIPER BAY DR SOUTHWEST                                                             SUNSET BEACH          NC   28468‐5805
PRYOR, ROBERT E         19600 BAKER RD                                                                             GAMBIER               OH   43022‐9712
PRYOR, ROBERT W         2365 STONEBROOK CT                                                                         FLUSHING              MI   48433‐2595
PRYOR, ROBERT W         149 SUMMER AVE                                                                             HILLSIDE              NJ   07205‐1630
PRYOR, ROBERTA L        7000 ROSEMEAD BLVD APT 13                                                                  SAN GABRIEL           CA   91775‐1428
PRYOR, RODNEY D         100 DAVIS LA                                                                               CAMPBELLSVILLE        KY   42718
PRYOR, ROGER W          2066 ORCHARD LN                                                                            AKRON                 OH   44312‐4840
PRYOR, RONALD L         722 OLD TRAIL DR                                                                           HOUGHTON LAKE         MI   48629‐9377
PRYOR, RONALD N         233 MENASHA TRL                                                                            LAKE ORION            MI   48362‐1227
PRYOR, RUTH             37 SAWMILL CREEK TRL                                                                       SAGINAW               MI   48603‐8626
PRYOR, RUTH N           534 FEDERAL DRIVE                                                                          ANDERSON              IN   46013
PRYOR, RUTH N           534 FEDERAL DR                                                                             ANDERSON              IN   46013‐4714
PRYOR, SAVANAH          826 GULF DR APT 201                                                                        PONTIAC               MI   48341
PRYOR, SAVANAH          826 GOLF DR APT 201                                                                        PONTIAC               MI   48341‐2311
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Name                                Address1                          Address2                  Address3   Address4             City               State Zip
PRYOR, STEPHEN                      2280 JERNIGAN DR SE                                                                         ATLANTA             GA 30315‐7558
PRYOR, STEVEN D                     534 FEDERAL DR                                                                              ANDERSON            IN 46013
PRYOR, STEVEN P                     PO BOX 7115                                                                                 DEFIANCE            OH 43512‐7115
PRYOR, STEVEN W                     2649 TEMPERANCE RD                                                                          FRANKLIN            KY 42134‐7002
PRYOR, THOMAS                       34 LAFAYETTES LANDING                                                                       JONESBORO           GA 30238‐6702
PRYOR, THOMAS G                     PO BOX 1076                                                                                 FARMINGTON          MI 48332
PRYOR, TOMMY J                      9776 W RATLIFF RD                                                                           SPENCER             IN 47460‐9202
PRYOR, WILLIAM                      ADAMS HENRY                       PO BOX 51575                                              LAFAYETTE           LA 70505‐1575
PRYOR, WILLIAM F                    829 KAMMER AVE                                                                              DAYTON              OH 45417‐2333
PRYOR, WINSTON                      2218 CLEMENT ST                                                                             FLINT               MI 48504‐3114
PRYOR, WYNDOLYN                     216 W HIGH ST                                                                               HICKSVILLE          OH 43526‐1032
PRYOR, YVONNE                       108 LIBERTY LN                                                                              ELKTON              MD 21921‐5821
PRYOR,HENRY D                       6126 TEAGARDEN CIR                                                                          DAYTON              OH 45449‐3014
PRYSBY, SHARON A                    7344 FLATHEAD LAKE DR                                                                       COLORADO SPRINGS    CO 80923‐4117
PRYSE JOHNSON                       1821 WINTON STREET                                                                          MIDDLETOWN          OH 45044
PRYSE, MADELINE C                   1740 MARYKNOLL RD                                                                           ENGLEWOOD           FL 34223‐4330
PRYSIAZNY, JOHN P                   2577 WESST VILLAGE                                                                          TOLEDO              OH 43614
PRYSIAZNY, JOHN PAUL                2577 WESST VILLAGE                                                                          TOLEDO              OH 43614
PRYSLOPSKI ANDREW (ESTATE OF)       EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                   NEW YORK            NY 10017‐6530
(503750)
PRYSLOPSKI, ANDREW                  EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                   NEW YORK           NY 10017‐6530
PRYSMIAN POWER CABLES & SYSTEMS USA 700 INDUSTRIAL DR                                                                           LEXINGTON          SC 29072‐3755
LLC
PRYSOCK, DARRIUS                    4205 ASHLAND CIRCLE                                                                         DOUGLASVILLE       GA   30135‐7291
PRYSTAJKO, ROBERT H                 6937 MERTZ RD                                                                               MAYVILLE           MI   48744‐9549
PRYSTASH, JOSEPHINE T               120 WOODLAND DR                                                                             SPRUCE             MI   48762‐9771
PRYSTASH, MICHAEL J                 1894 WOODLAND TRCE                                                                          AUSTINTOWN         OH   44515‐4820
PRYTS, ALICE J                      454 SE SNEAD CIR 79                                                                         AVON PARK          FL   33825
PRZEDMOJSKI, DENNIS L               10430 CEDAR ISLAND RD                                                                       WHITE LAKE         MI   48386‐2914
PRZEDSIEBIORSTWO ZAGRANICZNE ALPHA BALICKA 182                                                             KRAKOW PL 30‐149
                                                                                                           POLAND (REP)
PRZEDWOJEWSKI, EMIL A               64510 HARTWAY RD                                                                            RAY                MI   48096‐2624
PRZEDWOJEWSKI, IRENE F              12828 NORTH 29TH PLACE                                                                      PHOENIX            AZ   85032‐6510
PRZEDWOJEWSKI, IRENE F              12828 N 29TH PL                                                                             PHOENIX            AZ   85032‐6510
PRZEDWOJEWSKI, JOSEPH W             PO BOX 92                                                                                   IRONS              MI   49644‐0092
PRZEKLAS, SUSAN                     1520 BURLINGTON DR                                                                          MOUNT CLEMENS      MI   48043‐6521
PRZEKOP, MARY                       1017 JAMAICA BLVD                                                                           TOMS RIVER         NJ   08757‐3742
PRZEKORA LARRY                      6567 HEAVEN DR                                                                              HOWELL             MI   48855‐9410
PRZEKORA, DAVID S                   61 OBTUSE RD S                                                                              BROOKFIELD         CT   06804‐3669
PRZEKORA, IRENE                     APT 127                           1320 ASHEBURY LANE                                        HOWELL             MI   48843‐1287
PRZEKORA, LAWRENCE G                6567 HEAVEN DR                                                                              HOWELL             MI   48855‐9410
PRZEKWAS, BERNICE G                 3327 CLIPPERT ST                                                                            DETROIT            MI   48210‐2837
PRZEPIORA DANIEL A (453175)         WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                           NEW YORK           NY   10038
PRZEPIORA, DANIEL                   WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                           NEW YORK           NY   10038
PRZEPIORA, DAVID E                  31 E YOUNGS DITCH RD                                                                        BAY CITY           MI   48708‐9155
PRZEPIORA, GENEVIEVE                13698 CASTLE ST                                                                             SOUTHGATE          MI   48195‐1805
PRZEPIORA, JAMES A                  128 18TH ST                                                                                 CORBIN             KY   40701‐2404
PRZEPIORA, MARYLIS A                1505 S SHERIDAN ST                                                                          BAY CITY           MI   48708‐8125
PRZESIEK, JAMES J                   72 HARPER DR                                                                                PITTSFORD          NY   14534‐3154
PRZESIEK, JOSEPH P                  946 EDGECREEK TRL                                                                           ROCHESTER          NY   14609‐1884
PRZESLAK, RONALD A                  616 AIRPORT AVE                                                                             CARLSBAD           NM   88220‐9180
PRZESLAWSKI, GERALD J               16587 GASPER RD                                                                             CHESANING          MI   48616‐9753
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Name                       Address1                        Address2            Address3         Address4         City               State Zip
PRZESLAWSKI, GERALD JOHN   16587 GASPER RD                                                                       CHESANING           MI 48616‐9753
PRZESMYCKI, JULIUS F       1424 MONTROSE AVE                                                                     ROYAL OAK           MI 48073‐2785
PRZESPO, PAUL D            38 CONSTANCE LN                                                                       CHEEKTOWAGA         NY 14227‐1360
PRZEWOZNICZEK, FLORENCE    3027 CARA CT                                                                          PALM HARBOR         FL 34684‐1641
PRZEZDECKI VAL             5604 MERIDIAN RD                                                                      GIBSONIA            PA 15044‐9439
PRZYBOCKI, BERNARD L       626 MEADOWRIDGE WAY                                                                   HUDSON              OH 44236‐1183
PRZYBOCKI, KENNETH J       1931 KLEHM CT                                                                         FORT WAYNE          IN 46814‐8846
PRZYBYL, JOHN W            12446 CRABAPPLE LN                                                                    GRAND LEDGE         MI 48837‐8907
PRZYBYL, JOSEPHINE M       55 ALDER PL                                                                           KENMORE             NY 14223‐1513
PRZYBYLA, BERNARD J        10485 JOY RD                                                                          PLYMOUTH            MI 48170‐5028
PRZYBYLA, BERNARD JOSEPH   10485 JOY RD                                                                          PLYMOUTH            MI 48170‐5028
PRZYBYLA, CAROL            450 W ONTARIO ST                                                                      ROGERS CITY         MI 49779
PRZYBYLA, CYNTHIA G        10485 JOY RD                                                                          PLYMOUTH            MI 48170‐5028
PRZYBYLA, EDWARD T         40 SUSAN DR                                                                           DEPEW               NY 14043‐1411
PRZYBYLA, JERRY            3752 WHITE LAKE HILLS DR                                                              WHITE LAKE          MI 48383‐1771
PRZYBYLA, MARK A           806 BLUE QUAIL ROAD                                                                   KELLER              TX 76248‐2963
PRZYBYLA, PETER E          806 STILLWATER CT                                                                     KELLER              TX 76248‐8414
PRZYBYLA, ROBERT G         33703 BARRINGTON ST                                                                   WESTLAND            MI 48186‐4520
PRZYBYLA, ROBERT GERARD    33703 BARRINGTON ST                                                                   WESTLAND            MI 48186‐4520
PRZYBYLEK, MARYIA          139 LAKEVIEW AVE                                                                      SOUTH PLAINFIELD    NJ 07080‐3421
PRZYBYLINSKI, WILLIAM D    4735 BUFFALO RD                                                                       BUCHANAN            MI 49107‐9219
PRZYBYLKO, AGNES K         11426 N 47TH AVE                                                                      GLENDALE            AZ 85304‐3502
PRZYBYLO, BONNIE R         2908 OAKDALE CIR                                                                      COOKEVILLE          TN 38501‐7875
PRZYBYLO, MILDRED G        1838 PRESTON CT NW APT A45                                                            GRAND RAPIDS        MI 49504‐2757
PRZYBYLO, NORBERT D        2954 HAMPIKIAN DR                                                                     MILFORD             MI 48380‐3512
PRZYBYLSKI, ADAM T         8164 CONSTITUTION BLVD APT 6                                                          STERLING HEIGHTS    MI 48313‐3856
PRZYBYLSKI, ALBERT F       6254 RIDGE RD                                                                         OSCODA              MI 48750‐9795
PRZYBYLSKI, ANTHONY R      4224 HARBORTOWNE DR APT 1                                                             SAGINAW             MI 48603‐1442
PRZYBYLSKI, DAVID A        566 THORNEHILL TRL                                                                    OXFORD              MI 48371‐5168
PRZYBYLSKI, GERALDINE M    1900 S JACKSON ST                                                                     BAY CITY            MI 48708‐8704
PRZYBYLSKI, GERTRUDE T     505 S MONROE ST                                                                       BAY CITY            MI 48708‐7274
PRZYBYLSKI, JOSEPH P       7209 PROVINCIAL CT                                                                    CANTON              MI 48187
PRZYBYLSKI, JOSEPH S       11366 GEOFFRY DR                                                                      WARREN              MI 48093‐2650
PRZYBYLSKI, MATTHEW G      5123 TREEHILL RD                                                                      GRAND BLANC         MI 48439‐2053
PRZYBYLSKI, PETER J        6667 TAMARACK TRL                                                                     LAKE                MI 48632‐9247
PRZYBYLSKI, ROBERT B       11241 KAPOK AVE                                                                       PORT RICHEY         FL 34668‐2226
PRZYBYLSKI, ROBERT J       1517 WEBBER ST                                                                        SAGINAW             MI 48601‐3412
PRZYBYLSKI, RONALD J       11895 KRUSE RD                                                                        PETERSBURG          MI 49270‐9718
PRZYBYLSKI, RONALD JAMES   11895 KRUSE ROAD                                                                      PETERSBURG          MI 49270‐9718
PRZYBYLSKI, THOMAS J       5562 LAKECRESS DR S                                                                   SAGINAW             MI 48603‐1688
PRZYBYLSKI,MATTHEW G       5123 TREEHILL RD                                                                      GRAND BLANC         MI 48439‐2053
PRZYBYSZ, MARION           6055 WESTMOOR DR                                                                      SHELBY TOWNSHIP     MI 48316‐3356
PRZYBYSZ, MARION S         6055 WESTMOOR DR                                                                      SHELBY TWP          MI 48316‐3356
PRZYBYSZ, MICHAEL C        5056 OLD FRANKLIN RD                                                                  GRAND BLANC         MI 48439
PRZYBYSZ, PAUL E           54 WILDY AVE                                                                          BUFFALO             NY 14211‐2743
PRZYDATEK, MICHAEL S       27270 GROVER ST                                                                       HARRISON TWP        MI 48045‐3526
PRZYDATEK, STANLEY         23340 CLAIRWOOD ST                                                                    ST CLAIR SHRS       MI 48080‐3415
PRZYDZIAL TIMOTHY          5816 HARTWELL ST                                                                      DEARBORN            MI 48126‐2242
PRZYDZIAL, LOUIS J         1550 SILVER RAIN AVE                                                                  LAS VEGAS           NV 89123
PRZYDZIAL, TIMOTHY M       5816 HARTWELL ST                                                                      DEARBORN            MI 48126‐2242
PRZYGOCKI, DENNIS M        140 WHITE DR                                                                          SHELBYVILLE         TN 37160
PRZYGOCKI, IRENE           7264 BRAMELL                                                                          DETROIT             MI 48239‐1053
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Name                            Address1                        Address2                   Address3   Address4            City               State Zip
PRZYGOCKI, KATHERINE E          3068 E. RIVERVIEW DR.                                                                     BAY CITY            MI 48706‐1321
PRZYGOCKI, KATHERINE E          3068 E RIVERVIEW DR                                                                       BAY CITY            MI 48706‐1321
PRZYGOCKI, M A                  2813 W PARADISE CT                                                                        BAY CITY            MI 48708‐8462
PRZYGOCKI, RONALD J             3912 SEQUIN DR                                                                            BAY CITY            MI 48706‐2047
PRZYGOCKI, SANDRA               6255 PADDOCK DR                                                                           SAGINAW             MI 48603‐2734
PRZYGOCKI, SANDRA               6255 PADDOCK LN                                                                           SAGINAW             MI 48603‐2734
PRZYGOCKI, WILLIAM R            2711 S KNIGHT RD                                                                          MUNGER              MI 48747‐9769
PRZYHOCKI, FRANKIE              215 SCOTTCHPINE                                                                           ROSCOMMON           MI 48653‐8795
PRZYHOCKI, WILLIAM G            30761 BOBRICH ST                                                                          LIVONIA             MI 48152
PRZYJACIELSKI, ZENO             33753 CHERYL ST                                                                           CLINTON TWP         MI 48035‐3938
PRZYKUCKI, ROBERT J             231 E CHOCOLAY ST                                                                         MUNISING            MI 49862‐1030
PRZYLUCKI, ROMAINE              45072 LOTHROP COURT                                                                       CANTON              MI 48188‐1077
PRZYMUS, DORIS D                2652 #2CR59                                                                               ALLIANCE            NE 69301
PRZYSIECKI, ARTHUR J            8782 E GRAND LAKE RD                                                                      PRESQUE ISLE        MI 49777‐8632
PRZYSIECKI, ARTHUR J            8782 EAST GRAND LAKE ROAD                                                                 PRESQUE ISLE        MI 49777‐8632
PRZYSTAS, BOB E                 22185 PONDVIEW                                                                            NOVI                MI 48375‐5036
PRZYSTAWSKI, GARY C             APT B3                          54 3RD AVENUE                                             GARWOOD             NJ 07027‐1135
PRZYSTUP, CELESTE J             6047 SHADOWBROOK DRIVE                                                                    LAKE                MI 48632‐9193
PRZYSTUP, MICHAEL J             160 LAZY WILLOW LN UNIT 102                                                               MYRTLE BEACH        SC 29588‐4416
PRZYSTUP, MICHAEL JOHN          160 LAZY WILLOW LN UNIT 102                                                               MYRTLE BEACH        SC 29588‐4416
PRZYSTUP, SOPHIA                19129 WOODMONT STREET                                                                     HARPER WOODS        MI 48225‐1319
PRZYTULA, ANTOINETTE L          46466 BEN FRANKLIN DR                                                                     SHELBY TWP          MI 48315‐5808
PRZYTULA, CHARLOTTE L           46466 BEN FRANKLIN DRIVE                                                                  SHELBY TWP          MI 48315‐5808
PRZYTULA, RALPH L               241 FLAG SPRINGS RD                                                                       LYNNVILLE           TN 38472‐8168
PRZYTULA, TIMOTHY L             19384 SALEM DR                                                                            WOODHAVEN           MI 48183‐4332
PRZYTULSKI, ANTHONY             8305 FORREST DR                                                                           CANTON              MI 48187‐4205
PRZYTULSKI, GRACE M             14913 MONA AVE                                                                            WARREN              MI 48089‐4754
PRZYTULSKI, GRACE M             14913 MONA                                                                                WARREN              MI 48089‐4754
PRZYWARA DEBORAH L              PRZYWARA, DEBORAH L             100 CENTURY PKWY STE 305                                  MOUNT LAUREL        NJ 08054‐1182
PRZYWARA, AGATHA                6957 W ROSE GARDEN LN                                                                     GLENDALE            AZ 85308‐9410
PRZYWARA, AGATHA                6957 W. ROSE GARDEN LANE                                                                  GLENDALE            AZ 85308
PRZYWARA, ANN B                 6927 ORCHARD AVE                                                                          DEARBORN            MI 48126‐1764
PRZYWARA, CAROLINE L            5536 CHICAGO RD                                                                           WARREN              MI 48092‐1491
PRZYWARA, GENEVIEVE T           833 E. GRAND RIVER #114                                                                   BRIGHTON            MI 48116‐2416
PRZYWARA, GENEVIEVE T           833 E GRAND RIVER AVE APT 114                                                             BRIGHTON            MI 48116‐2408
PRZYWITOWSKI, PATRICK M         4300 SOMERSET LANE                                                                        UPPR CHICHSTR       PA 19014‐3021
PRZYWOJSKI, JAN S               817 SPRINTERS ROW DR                                                                      FLORISSANT          MO 63034‐3371
PS DOORS                        4212 GATEWAY DR                 ADD GST 02/03/04 AM                                       GRAND FORKS         ND 58203‐0820
PS ENTERPRISES                  3350 OCEAN PARK BLVD STE 205                                                              SANTA MONICA        CA 90405‐3253
PS HAMILTON & CO ‐ GARNMT       NO ADVERSE PARTY
PSA PEUGEOT CITROEN             FRANCE                                                                FRANCE
PSA QUALITY SYSTEMS             PO BOX 2637 UPTD PER LTR 4/15   POSTAL STATION A GJ                   TORONTO CANADA ON
                                                                                                      M5W 2N7 CANADA
PSA QUALITY SYSTEMS             NO ADVERSE PARTY
PSA QUALITY SYSTEMS (USA) INC   59 INTERSTATE DR                                                                          WENTZVILLE         MO   63385‐4599
PSA QUALITY SYSTEMS USA         BANK ONE WHOLESALE LOCKBOX      59 INTERSTATE DR                                          WENTZVILLE         MO   63385‐4599
PSAHOS, VERNA H                 5495 WINTERSET DRIVE                                                                      ELMIREA            MI   49730
PSAILA, JOSEPH                  4359 TAHITI DR                  HERNANDO BEACH                                            HERNANDO BEACH     FL   34607‐3234
PSAILA, THERESA                 4359 TAHITI DR                                                                            SPRING HILL        FL   34607
PSAILA, THERESA                 4162 WINCREST LN                                                                          OAKLAND TOWNSHIP   MI   48306‐4768
PSAK GRAZIANO PIASECKI &        127 UNION AVE                   127 UNION AVE                                             MIDDLESEX          NJ   08846‐1039
PSALMS, DAVID                   120 NOBEL LN                                                                              COLUMBUS           MS   39702‐7079
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Name                                Address1                               Address2                 Address3   Address4                City            State Zip
PSALMS, KAY F                       521 E MCCLELLAN ST                                                                                 FLINT            MI 48505‐4231
PSALMS, KAY F                       521 E MC CLELLAN ST                                                                                FLINT            MI 48505‐4231
PSALMS, TOM L                       554 E WITHERBEE ST                                                                                 FLINT            MI 48505‐4703
PSARIS, AMY C                       5025 WASHBURN AVE S                                                                                MINNEAPOLIS      MN 55410‐2225
PSARIS, CATHERINE H                 4607 FAWN HILL CT                                                                                  ROCHESTER        MI 48306‐1677
PSARIS, LAWRENCE G                  4607 FAWN HILL CT                                                                                  ROCHESTER        MI 48306‐1677
PSARIS, NICHOLAS P                  254 GREENSVIEW DR                                                                                  BRANDON          MS 39047‐7681
PSAUTE, MICHAEL V                   2008 E GORMAN RD                                                                                   ADRIAN           MI 49221‐9655
PSC                                 987 W HURD ROAD                                                                                    MONROE           MI 48162‐9401
PSC EQUIPMENT SERVCES INC           11428B KINGSTON PIKE                                                                               KNOXVILLE        TN 37934‐3915
PSC EQUIPMENT SERVICES INC          11428B KINGSTON PIKE                                                                               KNOXVILLE        TN 37934‐3915
PSC INC/WEBSTER                     675 BASKET RD                                                                                      WEBSTER          NY 14580‐9764
PSC INDUSTRIES INC                  1100 W MARKET ST                                                                                   LOUISVILLE       KY 40203‐1438
PSCHIERER JOHN                      1021 PINNACLE RD                                                                                   HENRIETTA        NY 14467‐9754
PSE&G                                                                      938 CLINTON AVE # M307                                                       NJ 07111
PSE&G                               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 80 PARK PLZ                                                 NEWARK           NJ 07102‐4194

PSE&G CO                            200 RENAISSANCE BLVD SGN                                                                           LAWRENCE TWP     NJ   08648
PSE&G COMPANY                       PO BOX 14104                                                                                       NEW BRUNSWICK    NJ   08906‐4104
PSE&G COMPANY                       PO BOX 14106                                                                                       NEW BRUNSWICK    NJ   08906‐4106
PSEG POWER                          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 80 PARK PLZ                                                 NEWARK           NJ   07102‐4194

PSENAK, BEVERLY                      5196 LILLIAN CT                                                                                   LIVERMORE       CA    94550‐3718
PSENAK, CORA J                       2780 IRONTON AVE                                                                                  WATERFORD       MI    48329‐4411
PSENSKI, RICHARD L                   765 E 48 1/2 RD                                                                                   CADILLAC        MI    49601‐9317
PSENSKI, SHIRLEY M                   765 E 48 1/2 RD                                                                                   CADILLAC        MI    49601‐9317
PSETAS, JOANNE                       740 BEL AIR DR                                                                                    SAGINAW         MI    48638
PSETAS, JOANNE                       740 BELAIR DR                                                                                     SAGINAW         MI    48638‐5807
PSG CORROSION/DETROT                 1605 MUTUAL BLDG.                                                                                 DETROIT         MI    48226
PSHOCK, NICOLE A                     35790 DUNHAM RD                                                                                   LITCHFIELD      OH    44253‐9416
PSI                                  ATTN: PHIL SAMANO                     12100 SNOW RD # 7                                           CLEVELAND       OH    44130‐9319
PSI                                  45749 HELM ST                                                                                     PLYMOUTH        MI    48170‐6025
PSI HOLDING COMPANY                  8080 KENSINGTON CT                                                                                BRIGHTON        MI    48116‐8520
PSI PRODUCTION & EVENTS PLANNING INC 27589 SCHOOLCRAFT RD                                                                              LIVONIA         MI    48150‐2217

PSI REPAIR SERVICE INC              11878 HUBBARD ST                       PO BOX 3313                                                 LIVONIA         MI 48150‐1733
PSI REPAIR SERVICES INC             11900 MAYFIELD ST                                                                                  LIVONIA         MI 48150‐1710
PSI REPAIR SERVICES INC             3950 MALDEN RD                         PO BOX 7036                         WINDSOR ON N9C 2G4
                                                                                                               CANADA
PSIHOUNTAS, MARY K                  8663 EAST DOANE PLACE                                                                              DENVER          CO    80231‐4551
PSIHOUNTAS, MARY K                  8663 E DOANE PL                                                                                    DENVER          CO    80231‐4551
PSIK, DOUGLAS W                     2805 BURNS ST                                                                                      DEARBORN        MI    48124‐3261
PSILIDIS, ATHANASIOS                4434 VERNOR RD                                                                                     ATTICA          MI    48412‐9240
PSION PLC
PSION PLC                           105 E 2ND ST STE 4                                                                                 DAVISON         MI    48423‐1467
PSION PLC                           3000 KUSTOM DR                                                                                     HEBRON          KY    41048‐8163
PSION TEKLOGIX CORP                 105 E 2ND ST STE 4                                                                                 DAVISON         MI    48423‐1467
PSION TEKLOGIX CORP                 3000 KUSTOM DR                                                                                     HEBRON          KY    41048‐8163
PSION TEKLOGIX CORPORATION          3000 KUSTOM DR                                                                                     HEBRON          KY    41048‐8163
PSION TEKLOGIX CORPORATION          105 E 2ND ST STE 4                                                                                 DAVISON         MI    48423‐1467
PSION TEKLOGIX INC                  2100 MEADOWVALE BLVD                                                       MISSISSAUGA CANADA ON
                                                                                                               L5N 7J9
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Name                               Address1                         Address2                    Address3                   Address4                City               State Zip
PSIUK, LARRY J                     9457 MOORISH RD                                                                                                 BIRCH RUN           MI 48415‐8571
PSIUK, LORRAINE E                  9457 MOORISH RD                                                                                                 BIRCH RUN           MI 48415‐8571
PSIUK, MIKE                        4020 RIVERVIEW DR                                                                                               BRIDGEPORT          MI 48722‐9704
PSIUK, STEVEN A                    9457 MOORISH RD                                                                                                 BIRCH RUN           MI 48415‐8571
PSM INTERNATIONAL                  LONGACRES INDUSTRIAL EST         WEST MIDLANDSENGLAND                                   UNITED KINGDOM GREAT
                                                                                                                           BRITAIN
PSM INTERNATIONAL                  MCKECHNIE SPECIALIST PRODUCTS    LONGACRES WILLENHALL        WEST MIDLANDS WV13 2JS     ENGLAND GREAT BRITAIN
PSMI                               1255 BEACH CT                                                                                                   SALINE             MI   48176‐9185
PSON ESTATE OF LOUISE SIM          3910 TELEGRAPH RD STE 200                                                                                       BLOOMFIELD HILLS   MI   48302‐1461
PSOTKA, STEFAN                     30712 MOULIN AVE                                                                                                WARREN             MI   48088‐6832
PSR LOGISTICS INC                  515 RIVER RD                                                                                                    CLIFTON            NJ   07014‐1520
PSS HONG KONG LTD                  38/F PANGLIN PLAZA               #2002 JIA BIN RD            LUO HU DIST SHENZHEN PRC   518001 CHINA CHINA

PSS LIMITED T/A PSS‐STEERING &     FOLGATE RD NORTH WALSHAM         NORFOLK NR28 0AJ                                       UNITED KINGDOM GREAT
HYDRAULICS                                                                                                                 BRITAIN
PSS LIMITED T/A PSS‐STEERING &     7 FOLGATE ROAD NORTH WALSHAM     NORFOLK NR28 OAJ                                       UNITED KINGDOM GREAT
HYDRAULICS                                                                                                                 BRITAIN
PSS STEERING & HYDRAULICS DIV      ANDREW BRAMMER                   FASTCOURT LTD               FOLGATE ROAD                                       EL PASO            TX   79928
PSS TRANSPORTATION INC             7 NICHOLAS CT                                                                                                   DAYTON             NJ   08810‐1559
PSS WORLD MEDICAL, INC.            JOHN WANNAMAKER                  4353 SOUTHPOINT BOULEVARD                                                      JACKSONVILLE       FL   32216
PSSI STADIUM CORP                  ATTN CAYCE LITTLE PASTOOR        900 ART ROONEY AVE          HEINZ FIELD                                        PITTSBURGH         PA   15212‐5735
PST VANS INC                       PO BOX 27433                                                                                                    SALT LAKE CITY     UT   84127‐0433
PSV SERVICE & SALES LLC            PO BOX 19272                                                                                                    INDIANAPOLIS       IN   46219‐0272
PSYCARE INC.                       8577 E MARKET ST                                                                                                WARREN             OH   44484‐2345
PSYCARE, INC                       8577 E MARKET ST                                                                                                WARREN             OH   44484‐2345
PSYCHEMEDICS CORP                  5832 UPLANDER WAY                                                                                               CULVER CITY        CA   90230‐6608
PSYCHEMEDICS CORPORATION           PO BOX 844065                                                                                                   BOSTON             MA   02284‐4065
PSYCHEMEDICS CORPORATION           1280 MASSACHUSETTS AVE STE 200                                                                                  CAMBRIDGE          MA   02138
PSYCHEMEDICS CORPORATION           1280 MASSACHUSETTS AVE.          SUITE 200                                                                      CAMBRIDGE          MA   02138
PSYCHEMEDICS/ACTON                 125 NAGOG PARK STE 200                                                                                          ACTON              MA   01720‐3451
PSYCHEMEDICS/CAMBRID               1280 MASSACHUSETTS AVE.          SUITE 200                                                                      CAMBRIDGE          MA   02138
PSYCHIATRIC ASSOCIAT               12 PIEDMONT CTR NE STE 410       3495 PIEDMONT RD                                                               ATLANTA            GA   30305‐1791
PSYCHIATRIC SOLUTIONS INC.         TOM TOLBERT                      6640 CAROTHERS PARKWAY                                                         FRANKLIN           TN   37067
PSYCHODYNAMICS/ZEPHY               PO BOX 875                       WESTERN OFFICE                                                                 ZEPHYR COVE        NV   89448‐0875
PSYCHOLOGICAL EVALUATION & TRTMT   NO ADVERSE PARTY
CTR INC ‐ LEVY
PSYCHOLOGICAL SYSTEM               32121 WOODWARD AVE STE 201                                                                                      ROYAL OAK          MI   48073‐0999
PSYCHOLOGICAL/DOBBS                255 BROADWAY                                                                                                    DOBBS FERRY        NY   10522‐2130
PSYCHOLOGY ASSOCIATES              1150 RARITAN RD # 101                                                                                           CRANFORD           NJ   07016‐3369
PSYCHROMETRICS/BRKVL               PO BOX 99                        9899 WESTBROOK ROAD                                                            BROOKVILLE         OH   45309‐0099
PSYLLOS, IOANNIS J                 202‐2105 ALBERT MURPHY AVE                                                              LAVAL QUEBEC CANADA
                                                                                                                           H7T‐2V2
PT EDS MANUFACTURING INDONESIA     JALAN RAYA SERANG KM 24 KEL B                                                           TANGERANG ID 15610
                                                                                                                           INDONESIA
PT GARUDA DIESEL                   DJAKARTA SELATAN INDONESI                                                               DJAKARTA INDONESIA
PT GENERAL MOTORS INDONESIA á      RAYA BEKASI KM.27                MUKIAT SUTIKNO                                         PONDOK UNGU BEKASI
                                                                                                                           17132 á INDONESIA
PT GM AUTOWORLD INDONESIA á        RAYA BEKASI KM.28                MUKIAT SUTIKNO á                                       PONDOK UNGU BEKASI
                                                                                                                           17133 á INDONESIA
PT GM INDONESIA INDS               JL RAYA BEKASI KM 27             PONDOK UNGU                                            BEKASI INDONESIA
                                                                                                                           INDONESIA
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Name                             Address1                          Address2                          Address3   Address4                City                  State Zip
PT HITECH AGRATEKTRON SEMPURNA   JALAN KAMPUNG SERAYA                                                           BATAM RIAU ID 29432
                                                                                                                INDONESIA
PT PRICEWATERHOUSECOOPERS        INDONESIA FL 3 & 4 KUNINGAN       JI HR RASUNA SAID KAV X‐7 NO. 6              JAKARTA 12940 INDONESIA

PT PRODUCTIONS INC               ACCOUNTS RECEIVABLE               406 BELLA VISTA RD                                                   BRICK                  NJ   08724‐4510
PT PROS INC                      383 CORBIN CENTER DR                                                                                   CORBIN                 KY   40701‐1895
PT SEMARANG AUTOMOTIVE MFG       JALAN WALISONGO KM 9.8 TUGUREJO                                                SEMARANG ID 0000
INDONESI                                                                                                        INDONESIA
PT SYNOVATE                      MENARA JAMSOSTEK LT 17 JL GATO    SUBROTO NO 38                                JAKARTA SELATAN
                                                                                                                INDONESIA 12790
                                                                                                                INDONESIA
PTACEK JR, WALTER J              4420 MEADOWS AVE                                                                                       GRAND BLANC           MI    48439‐8689
PTACEK, BARBARA J                1029 AIRPORT DR.                                                                                       EAST TAWAS            MI    48730‐9763
PTACEK, JAMES L                  4064 W 50TH ST                                                                                         CLEVELAND             OH    44144‐1802
PTACEK, TODD A                   4296 STAUNTON DR                                                                                       SWARTZ CREEK          MI    48473
PTACEK, TODD ALLEN               4296 STAUNTON DR                                                                                       SWARTZ CREEK          MI    48473
PTACEK,TODD ALLEN                4296 STAUNTON DR                                                                                       SWARTZ CREEK          MI    48473‐8215
PTACNIK, PHILLIS M               17117 YORK BOX 738                                                                                     MACOMB                MI    48044
PTAK, ANTHONY J                  39254 BLACKSTONE DR                                                                                    STERLING HTS          MI    48313‐5029
PTAK, BARRY C                    1112 KEENER RD                                                                                         SEYMOUR               TN    37865‐3854
PTAK, DENNIS A                   3240 PALM AIRE DR                                                                                      ROCHESTER HLS         MI    48309‐1047
PTAK, IRENE                      PO BOX 106                                                                                             DELEVAN               NY    14042‐0106
PTAK, JAZMIN J                   1186 TONAWANDA ST                                                                                      BUFFALO               NY    14207‐1047
PTAK, JAZMIN JAYE                1186 TONAWANDA ST                                                                                      BUFFALO               NY    14207‐1047
PTAK, JEFFREY M                  51800 SHADYWOOD DR                                                                                     MACOMB                MI    48042‐4294
PTAK, JOSEPH                     1148 JADE DR                                                                                           MOSCOW MILLS          MO    63362‐1906
PTAK, JOSEPH J                   29207 OHMER DR                                                                                         WARREN                MI    48092‐4234
PTAK, JOSEPH S                   201 CENTRAL AVE                                                                                        NEW CASTLE            DE    19720‐5922
PTAK, KATHRYN E                  150 E 1ST ST APT 702                                                                                   OSWEGO                NY    13126‐2635
PTAK, LADD C                     10933 S HARTFORD CITY RD                                                                               WARREN                IN    46792‐9624
PTAK, MICHAEL                    33526 BEECHWOOD ST                                                                                     WESTLAND              MI    48185‐3013
PTAK, NICHOLAS A                 11333 S LOST CREEK CIR                                                                                 PARKER                CO    80138‐8473
PTAK, ROBERT J                   2975 SAVOY DR                                                                                          MELBOURNE             FL    32940‐6657
PTAK, STANLEY R                  4368 MOUNT VERNON PASS                                                                                 SWARTZ CREEK          MI    48473‐8240
PTAK, THADDEUS                   15 LIBERTY ST                                                                                          LANCASTER             NY    14086‐2927
PTAK, THADDEUS                   15 LIBERTY AVE                                                                                         LANCASTER             NY    14086‐2927
PTAK, THOMAS J                   72 BANKO DR                                                                                            DEPEW                 NY    14043‐1204
PTASHINSKI, JOSEPH G             1348 NW 14TH PL                                                                                        CAPE CORAL            FL    33993‐5018
PTASHNIK, BRIAN C                22109 DORION STREET                                                                                    ST CLR SHORES         MI    48082‐2433
PTASHNIK, DEBORAH I              25180 GODDARD RD                                                                                       TAYLOR                MI    48180‐3908
PTASHNIK, JOHN F                 53770 BLAKELY CT                                                                                       NEW BALTIMORE         MI    48047‐5530
PTASHNIK, MICHAEL R              423 BELANGER ST                                                                                        GROSSE POINTE FARMS   MI    48236‐3201
PTASHNIK, ROBERT T               5347 PARENT AVE                                                                                        WARREN                MI    48092
PTASHNIK, WILLIAM J              1883 SPRING GROVE RD                                                                                   BLOOMFIELD            MI    48304‐1159
PTASINSKI, WAYNE Z               37234 DUNDEE ST                                                                                        STERLING HEIGHTS      MI    48310‐3526
PTASZEK, JOESPHINA               30420 CHARMAINE ST                                                                                     ROSEVILLE             MI    48066‐4006
PTASZEK, ROSEMARIE               23030 EDGEWOOD                                                                                         ST CLAIR SHORES       MI    48080‐2171
PTASZNIK JR, EDWARD T            28021 BUCKINGHAM ST                                                                                    LIVONIA               MI    48154‐4615
PTASZNIK, GARY R                 14006 RIGA ST                                                                                          LIVONIA               MI    48154‐4677
PTASZNIK, ROBERT J               12152 HEMINGWAY                                                                                        REDFORD               MI    48239‐2535
PTASZNIK, ROBERT J               1106 W POTTAWATAMIE ST                                                                                 TECUMSEH              MI    49286‐1630
PTASZNYK, OLGA                   1347 VAN VLEET RD                                                                                      SWARTZ CREEK          MI    48473‐9708
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Name                                 Address1                             Address2                         Address3                     Address4         City               State Zip
PTC CUST IRA FBO FRANKLIN H MOYER    177 POND SHORE WAY                                                                                                  ORLAND              ME 04472
PTC CUST ROLLOVER IRA FBO ROBERT J   3310 LOS NOGALES                                                                                                    SIMI VALLEY         CA 93063
SULLIVAN
PTERNEAS, PETER M                    7309 HENRY                                                                                                          CENTER LINE        MI 48015‐1084
PTG MEXICO (DANA CORP.)              KEN SIELOFF                          AVCOMISION FEDERAL DE ELECTRIC   NO 800 CIRCUITO INTERIOR 1                    BROWNSTOWN TWP     MI 48192

PTI ACQUISITION LLC                  KATHY MITCHELL                       PLASTIC TRIM                     3909 RESEARCH BLVD                            NORWALK            CT   06851
PTI ACQUISITION LLC                  KATHY MITCHELL                       3909 RESEARCH BLVD               PLASTIC TRIM                                  DAYTON             OH   45430‐2109
PTI ACQUISITION LLC                  935 AULERICH RD                                                                                                     EAST TAWAS         MI   48730‐9565
PTI INTERNATIONAL INC                27611 HALSTED ROAD                                                                                                  FARMINGTON HILLS   MI   48331‐3511
PTI INTERNATIONAL INC                ATTN: CORPORATE OFFICER/AUTHORIZED   27611 HALSTED RD                                                               FARMINGTON HILLS   MI   48331‐3511
                                     AGENT
PTI MANAGEMENT GROUP INC             33871 RIVERA DR                                                                                                     FRASER             MI 48026
PTI QUALITY CONTAINMENT SOLUTI       18615 SHERWOOD ST                                                                                                   DETROIT            MI 48234‐2813
PTI QUALITY CONTAINMENT SOLUTIONS    18515 SHERWOOD ST                                                                                                   DETROIT            MI 48234‐2813

PTI QUALITY CONTAINMENT SOLUTIONS    18615 SHERWOOD ST                                                                                                   DETROIT            MI 48234‐2813

PTI QUALITY CONTAINMENT SOLUTIONS    6501 E NEVADA ST                                                                                                    DETROIT            MI 48234‐2833

PTI QUALITY CONTAINMENT SOLUTIONS    18615 SHERWWOD ST                                                                                                   DETROIT            MI 48234‐2813
LLC
PTI QUALITY/DETROIT                  18515 SHERWWOD ST                                                                                                   DETROIT            MI   48234‐2833
PTI SATELLITE PAINT LLC              6501 E NEVADA ST                                                                                                    DETROIT            MI   48234‐2833
PTICEK‐SCHWENNER, NADA               21200 NAUMANN AVE                                                                                                   EUCLID             OH   44123‐3002
PTIUCH, CAROLYN J.                   15309 DOMINIQUE LOT 845                                                                                             CLINTON TWP        MI   48038
PTL FLEET SALES INC                  RT 10 GREEN HILLS                                                                                                   READING            PA   19603
PTL INTERMODAL INC                   308 E LANCASTER AVENUE                                                                                              WYNNEWOOD          PA   19096
PTL TIRE                             135 N LAFAYETTE BLVD                                                                                                SOUTH BEND         IN   46601‐1507
PTM CORP                             6560 BETHUY RD                                                                                                      IRA                MI   48023‐1810
PTM CORP                             DONNA RUSSELL                        6560 BETHUY RD.                                                                CHARLESTOWN        IN   47111
PTM CORP/ANCHORVILLE                 6560 BETHUY ROAD                                                                                                    ANCHORVILLE        MI   48004
PTM CORPORATION                      DONNA RUSSELL                        6560 BETHUY RD.                                                                CHARLESTOWN        IN   47111
PTP INC/STERLING HGT                 6545 19 MILE RD                                                                                                     STERLING HEIGHTS   MI   48314‐2116
PTR ‐ PRECISION TECHNOLOGIES I       120 POST RD                                                                                                         ENFIELD            CT   06082‐5690
PTR PRAEZISIONSTECHNIK GMBH          120 POST RD                                                                                                         ENFIELD            CT   06082‐5690
PTR PRECISION TECHNOLOGIES           ATTN ACCTS REC                       120 POST RD                                                                    ENFIELD            CT   06082‐5690
PTS TOOLING & MACHINE LLC            22832 MACOMB INDUSTRIAL DR                                                                                          CLINTON TOWNSHIP   MI   48036‐1180
PTT TELEKOM/WIN PARK                 1000 N. ORLANDO AVENUE                                                                                              WINTER PARK        FL   32789
PU, HONGBIN                          44900 LIGHTSWAY DR                                                                                                  NOVI               MI   48375‐3820
PUACA,MICHAEL P                      1245 GREENVIEW PL                                                                                                   CROWN POINT        IN   46307‐5044
PUBILLONES, TERESA                   7834 SW 21ST TER                                                                                                    MIAMI              FL   33155‐6531
PUBILLONES, TERESA                   7834 SW 21 TERRACE                                                                                                  MIAMI              FL   33155‐6531
PUBLIC AFFAIRS ASSOCIATES INC        120 N WASHINGTON SQUARE                                                                                             LANSING            MI   48933
PUBLIC AFFAIRS ASSOCIATES, INC.      MR. TOM HOISINGTON                   600 W SHIAWASSEE ST                                                            LANSING            MI   48933‐1032
PUBLIC AFFAIRS ASSOCIATES, INC.      MR. TOM HOISINGTON                   120 N WASHINGTON SQ              STE 1050                                      LANSING            MI   48933‐1630
PUBLIC AFFAIRS GROUP INC             ATTN RICH KOLBERG                    1990 M ST NW STE 700                                                           WASHINGTON         DC   20036‐3415
PUBLIC ASSISTANCE COLLECTION UNIT    PO BOX 8938                                                                                                         MADISON            WI   53708‐8938
PUBLIC AUTO SALES & SERVICE          925 S BUCKNER BLVD                                                                                                  DALLAS             TX   75217‐4506
PUBLIC BROADCASTING SERVICE          TOM WATSON                           450 E. 33RD STREET                                                             NEW YORK           NY   10001
(PBS)/WNET
PUBLIC BROADCASTING SERVICE          2100 CRYSTAL DR                                                                                                     ARLINGTON          VA 22202
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PUBLIC BROADCASTING SERVICE            TOM WATSON                          450 E. 33RD STREET                                                    NEW YORK            NY 10001
(PBS)/WNET
PUBLIC BROADCASTING SERVICE
(PBS)/WNET
PUBLIC CITIZEN INC
PUBLIC CITIZEN LITIGATION GROUP        ATTN: ADINA ROSENBAUM & ALLISON M   ATTY FOR CENTER FOR AUTO         1600 20TH ST NW                      WASHINGTON         DC 20009
                                       ZIEVE                               SAFETY, CONSUMER ACTION, ET AL

PUBLIC COMPANY ACCOUNTING              PO BOX 631116                                                                                             BALTIMORE          MD 21263‐1116
OVERSIGHT BOARD
PUBLIC EMPLOYEES RETIREMENT SYSTEM     BERNSTEIN LITOWITZ BERGER &         1285 AVENUE OF THE AMERICAS                                           NEW YORK           NY 10019‐6028
OF MISSISSIPPI                         GROSSMANN
PUBLIC FACILITIES & RESOURCES                                              445 W CIVIC CENTER DR                                                                    CA 92701
DEPARTMENT
PUBLIC REGULATION COMMISSION           TELECOMMUNICATIONS                  224 E PALACE AVE                 UTILITY & CARRIER                    SANTA FE           NM 87501‐2013
PUBLIC RELATIONS SOCIETY OF AMERICA    1824 E GREIG AVE                                                                                          MADISON HTS        MI 48071‐4909

PUBLIC RELATIONS SOCIETY OF AMERICA    NUMBER RECORDS DEPT                 33 IRVING PL                                                          NEW YORK           NY 10003

PUBLIC RELATIONS SOCIETY OF AMERICA    33 MAIDEN LN FL 11                                                                                        NEW YORK           NY 10038‐5149

PUBLIC RELATIONS SOCIETY OF AMERICA    33 MAIDEN LN FL 11                  PRSA                                                                  NEW YORK           NY 10038‐5149

PUBLIC RELATIONS SOCIETY OF AMERICA‐   11271 VENTURA BLVD NO 514                                                                                 STUDIO CITY        CA 91604
LA
PUBLIC RELATIONS STUDENT SOCIETY OF    33 MAIDEN LN FL 11                                                                                        NEW YORK           NY 10038‐5149
AMERICA
PUBLIC SAFETY TRAINING CONSULTANTS     PO BOX 5508                                                                                               REDWOOD CITY       CA 94063‐0508

PUBLIC SECTOR CONSULTANTS INC          600 W SAINT JOSEPH ST STE 10                                                                              LANSING            MI   48933‐2265
PUBLIC SER ELEC & GAS CO               350 RARITAN CENTER PKWY                                                                                   EDISON             NJ   08837‐3913
PUBLIC SERV TRK RENT 80                2561 49TH AVE                                                                                             LONG ISLAND CITY   NY   11101‐4429
PUBLIC SERVICE CO OF CO                243 LIPAN ST                                                                                              DENVER             CO   80223‐1317
PUBLIC SERVICE CO OF NEW MEXICO        4201 EDITH NE MSES 50                                                                                     ALBUQUERQUE        NM   87107
PUBLIC SERVICE CO. OF OKLAHOMA                                             5223A S GARNETT RD                                                                       OK   74146
PUBLIC SERVICE COMMISSION OF WEST      201 BROOKS ST                                                                                             CHARLESTON         WV   25301‐1803
VIRGINA
PUBLIC SERVICE COMMISSION OF WV        PO BOX 812                                                                                                CHARLESTON         WV 25323‐0812
PUBLIC SERVICE COMPANY                 243 LIPAN ST                                                                                              DENVER             CO 80223‐1317
PUBLIC SERVICE COMPANY                 NOT AVAILABLE
PUBLIC SERVICE COMPANY OF COLORADO     550 15TH STREET                     SUITE 700                                                             DENVER             CO 80202

PUBLIC SERVICE COMPANY OF COLORADO 900 FIFTEENTH STREET                                                                                          DENVER             CO 80202

PUBLIC SERVICE COMPANY OF COLORADO SITING AND LAND RIGHTS                  550 15TH STREET                  SUITE 700                            DENVER             CO 80202

PUBLIC SERVICE COMPANY OF COLORADO 1225 17TH STREET                                                                                              DENVER             CO 80202

PUBLIC SERVICE COMPANY OF NEW          DAVID FISHER                        4201 EDITH BLVD NE                                                    ALBUQUERQUE        NM 87107‐2225
MEXICO
PUBLIC SERVICE CREDIT UNION            3044 W GRAND BLVD # L‐375                                                                                 DETROIT            MI 48202‐3075
PUBLIC SERVICE ELEC. & GAS 84          350 RARITAN CENTER PKWY                                                                                   EDISON             NJ 08837‐3913
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PUBLIC SERVICE ELECTRIC & GAS         RICK BURO                             350 RARITAN CENTER PKWY                                      EDISON             NJ 08837‐3913
PUBLIC TAXI SERVICE INC               4747 N CLARK ST                                                                                    CHICAGO             IL 60640
PUBLIC THEATRE OF KENTUCKY            545 MORRIS ALY                                                                                     BOWLING GREEN      KY 42101‐2287
PUBLIC UTILITIES COMMISSION OF NEVADA 1150 E WILLIAM ST                     ATTN: FISCAL SERVICES                                        CARSON CITY        NV 89701‐3109

PUBLIC UTILITIES DEPARTMENT           1160 S OUTER DR                                                                                    SAGINAW           MI   48601‐6506
PUBLICIS GROUPE SA                    33 ARCH ST.                                                                                        BOSTON            MA   02110
PUBLICIS GROUPE SA                    1675 BROADWAY                                                                                      NEW YORK          NY   10019
PUBLICIS GROUPE SA                    33 ARCH ST                            PO BOX 960849                                                BOSTON            MA   02110
PUBLICIS SELLING SOLUTIONS            KAREN KELLY                           2000 LENOX DRIVE                                             LAWRENCEVILLE     NJ   08648
PUBLISHERS REPRINTS LLC               24900 PITKIN RD STE 330                                                                            SPRING            TX   77386‐1806
PUBLISKI, PAUL D                      8127 STONEHAM DR                                                                                   YPSILANTI         MI   48197‐9326
PUBLIX SUPER MARKETS                  JIM CONNER                            PO BOX 407                                                   LAKELAND          FL   33802‐0407
PUBLOW, CHARLES E                     1914 24TH ST                                                                                       BAY CITY          MI   48708‐8007
PUCA, ANTHONY S                       3687 VERONA CANEY RD                                                                               LEWISBURG         TN   37091‐6635
PUCA, KATHLEEN D                      28 TOPAZ LANE                                                                                      TRENTON           NJ   08690‐3613
PUCAK ROBERT SR (639099)              GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                 PITTSBURGH        PA   15219

PUCAK, ROBERT T                       4192 STATE ROUTE 7                                                                                 BURGHILL          OH   44404‐9707
PUCCETTI, GLENNA L                    421 LOMBARD ROAD                                                                                   COLUMBUS          OH   43228‐1933
PUCCETTI, GLENNA L                    421 LOMBARD RD                                                                                     COLUMBUS          OH   43228‐1933
PUCCI FRANK (406819)                  GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                                            STREET, SUITE 600
PUCCI JR, PAUL                        2426 LEXINGTON CIR S                                                                               CANTON            MI   48188‐5910
PUCCI ROBERT R (457621)               WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                              NEW YORK          NY   10038
PUCCI, EGIDIO E                       29816 ROBERT ST                                                                                    WICKLIFFE         OH   44092‐2220
PUCCI, FRANK                          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                                            STREET, SUITE 600
PUCCI, JAMES                          1245 WARING AVE                                                                                    BRONX             NY   10469‐5730
PUCCI, ROBERT                         2082 BLENHEIM AVE                                                                                  ALLIANCE          OH   44601‐4505
PUCCI, ROBERT J                       53526 OAK GRV                                                                                      SHELBY TOWNSHIP   MI   48315‐2057
PUCCI, ROBERT R                       WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                              NEW YORK          NY   10038
PUCCIA, VINCENT                       828 EAGLESKNOLL CT                                                                                 CINCINNATI        OH   45255‐4312
PUCCINELLI, DON                       ROMANO STANCROFF MIKHOV PC            640 S SAN VICENTE BLVD STE 230                               LOS ANGELES       CA   90048‐4654
PUCCIO JEFFREY E                      2021 MONROE ST STE 101                                                                             DEARBORN          MI   48124‐2926
PUCCIO, CHARLOTTE H                   32 OAK ST                                                                                          OAKFIELD          NY   14125‐1144
PUCCIO, DONALD C                      5 LUCIA CT                                                                                         LANCASTER         NY   14086‐1041
PUCCIO, KENNETH                       131 GOLFVIEW DR                                                                                    SEWELL            NJ   08080‐1839
PUCCIO, RONALD C                      8049 E BENNETT HTS                                                                                 BATAVIA           NY   14020‐1070
PUCCIO, RONALD C.                     8049 E BENNETT HTS                                                                                 BATAVIA           NY   14020‐1070
PUCCIO, SAM J                         203 DOGWOOD RD                                                                                     EDGEWATER PARK    NJ   08010‐2601
PUCCIO, THOMAS A                      131 GOLFVIEW DR                                                                                    SEWELL            NJ   08080‐1839
PUCEL, CHRISTOPHER M                  524 BETHANY DR                                                                                     SHOREWOOD         IL   60404‐0658
PUCEVICH JR, JOSEPH L                 135 VERANDA WAY UNIT F                                                                             MURRELLS INLET    SC   29576‐7677
PUCEVICH, MARIE C                     220 MAPLELAWN DR                                                                                   BEREA             OH   44017‐2815
PUCH, STEPHANIE J                     2 GOLF VIEW COURT                                                                                  BOLINGBROOK       IL   60440‐2168
PUCHACZ, JOHN F                       3775 FIRESIDE LN                                                                                   FREELAND          MI   48623‐9219
PUCHALA, THOMAS A                     60 HERITAGE CT                                                                                     CHEEKTOWAGA       NY   14225‐3115
PUCHALLA, ERNA G                      335 E DEONE LN                                                                                     TUCSON            AZ   85704‐6903
PUCHALSKI, BERNADINE                  3 TUTHILL CT                                                                                       SAYREVILLE        NJ   08872‐2709
PUCHALSKI, GREGORY A                  13140 IOWA DR                                                                                      WARREN            MI   48088‐3142
PUCHALSKI, MARILYN J                  137 LAKELAND DR                                                                                    PALOS PARK        IL   60464‐2536
                              09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                          Address1                            Address2                        Address3   Address4         City            State Zip
PUCHALSKI, MARY               1461 LAMBERT STREET                                                                             RAHWAY           NJ 07065‐2022
PUCHALSKI, PAUL V             137 LAKELAND DR                                                                                 PALOS PARK        IL 60464‐2536
PUCHALSKI, ROBERT W           3111 FOX RD                                                                                     SANDUSKY         OH 44870
PUCHALSKI, TIMOTHY M          1354 BIELBY ST                                                                                  WATERFORD        MI 48328‐1306
PUCHALSKI, VICTORIA M         11752 MORAN ST                                                                                  HAMTRAMCK        MI 48212‐4118
PUCHALSKY, KRISTINE A         4329 KINGSTON DR                                                                                MILAN            MI 48160‐9786
PUCHALSKY, ROY G              4329 KINGSTON DR                                                                                MILAN            MI 48160‐9786
PUCHALSKY, ROY GERARD         4329 KINGSTON DR                                                                                MILAN            MI 48160‐9786
PUCHALSKY, THOMAS M           8 NITTANY DR                                                                                    MECHANICSBURG    PA 17055‐5559
PUCHAN, RUDOLPH F             3220 MEADOW RUN DR                                                                              VENICE           FL 34293‐1421
PUCHEL, MARIE M               8200 MCCARTY RD                                                                                 SAGINAW          MI 48603‐9679
PUCHEL, MICHAEL J             8200 MCCARTY RD                                                                                 SAGINAW          MI 48603‐9679
PUCHLAK, ANATOLY              5409 SANDUSKY RD                                                                                PECK             MI 48466‐9787
PUCHMEYER JR, WILLIAM F       25680 RUSTIC LN                                                                                 WESTLAKE         OH 44145‐5473
PUCHNICK, FRANCIS E           287 ZUBER RD                                                                                    ROCHESTER        NY 14622‐1645
PUCHOWSKI, VIRGINIA M         24 ANCHORAGE PT                                                                                 HILTON HEAD      SC 29928‐3061
PUCHOWSKI, VIRGINIA M         24 ANCHORAGEPOINT                                                                               HILTON HEAD      SC 29928‐3061
PUCHY, DAVID J                2617 NAPOLEON ST                                                                                INDIANAPOLIS     IN 46203‐5149
PUCILLO FRANK                 PUCILLO, FRANK                      3 SUMMIT PARK DR STE 100                                    INDEPENDENCE     OH 44131‐2598
PUCILLO, FRANK                KROHN & MOSS                        3 SUMMIT PARK DR STE 100                                    INDEPENDENCE     OH 44131‐2598
PUCILOWSKI, ANN S             3221 E BALDWIN RD APT 320                                                                       GRAND BLANC      MI 48439‐7356
PUCILOWSKI, SHIRLEY A         APT 535                             500 DAUNER HAUS STREET                                      FENTON           MI 48430‐3814
PUCILOWSKI, SHIRLEY A         500 DAUNER HAUS ST                  APT 535                                                     FENTON           MI 48430‐3814
PUCKETT ADAM                  PUCKETT, ADAM                       120 WEST MADISON STREET 10TH                                CHICAGO           IL 60602
                                                                  FLOOR
PUCKETT ADAM                  PUCKETT, JENNIFER                   120 WEST MADISON STREET 10TH                                CHICAGO          IL   60602
                                                                  FLOOR
PUCKETT BILLY R               PUCKETT, BILLY R                    PO BOX 966                                                  WEDOWEE         AL 36278‐0966
PUCKETT BOBBY GENE (502795)   PORTER & MALOUF PA                  4670 MCWILLIE DR                                            JACKSON         MS 39206‐5621
PUCKETT GARNETT L (480784)    KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND       OH 44114
                                                                  BOND COURT BUILDING
PUCKETT GEORGE (507582)       COON BRENT W                        PO BOX 4905                                                 BEAUMONT        TX 77704‐4905
PUCKETT JAMES O (439421)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                  STREET, SUITE 600
PUCKETT JOSEPH H (492126)     BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                  PROFESSIONAL BLDG
PUCKETT JR, GEORGE D          5022 LILBURN STONE MOUNTAIN RD SW                                                               LILBURN         GA 30047‐5307

PUCKETT JR, WILLIAM C         153 WOODARD DR                                                                                  MINDEN          LA 71055‐8926
PUCKETT ORVILLE B (472147)    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                  STREET, SUITE 600
PUCKETT RUFUS (506870)        (NO OPPOSING COUNSEL)
PUCKETT, ADAM                 KROHN & MOSS ‐ IN                   120 WEST MADISON STREET 10TH                                CHICAGO          IL   60602
                                                                  FLOOR
PUCKETT, ADRIAN C             7650 RAINVIEW CT                                                                                HUBER HEIGHTS   OH    45424‐2423
PUCKETT, ADRIENNE             51374 JOHNS DR                                                                                  CHESTERFIELD    MI    48047‐1465
PUCKETT, ALBERT S             1989 MAYES DR SE                                                                                MARIETTA        GA    30067‐7655
PUCKETT, ALENE                7313 BARR CIR                                                                                   DAYTON          OH    45459‐3504
PUCKETT, ALENE                7313 BARR CIRCLE                                                                                DAYTON          OH    45459‐3504
PUCKETT, BERNICE T            3846 WHITLOCK AVE                   P O BOX 214                                                 SUWANEE         GA    30024‐2215
PUCKETT, BILLY R              4981 PALMETTO ST                                                                                COLUMBUS        OH    43228‐1738
PUCKETT, BILLY R              LEE, CHAD                           PO BOX 966                                                  WEDOWEE         AL    36278‐0966
                        09-50026-mg              Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                    Address1                         Address2                       Address3   Address4         City             State Zip
PUCKETT, BOBBY GENE     PORTER & MALOUF PA               4670 MCWILLIE DR                                           JACKSON           MS 39206‐5621
PUCKETT, BOBBY H        146 JULE PEEK AVE                                                                           CEDARTOWN         GA 30125‐2237
PUCKETT, CARL J         477 SUGAR CAMP RD                                                                           BARBOURVILLE      KY 40906‐7560
PUCKETT, CHARLES T      21367 WESTVIEW AVE                                                                          FERNDALE          MI 48220‐2267
PUCKETT, CHERYL D       51074 MOTT RD TRLR 146                                                                      CANTON            MI 48188
PUCKETT, CLIFTON C      8563 SE 125TH RD                                                                            RED OAK           OK 74563‐2361
PUCKETT, CLIFTON C      RT 1 BOX 656                                                                                RED OAK           OK 74563‐9759
PUCKETT, DANA D         12668 JERICHO RD                                                                            SHERWOOD          OH 43556‐9712
PUCKETT, DANNY G        345 SPRINGVIEW DR                                                                           SANFORD           FL 32773‐5996
PUCKETT, DARYL L        2275 BEAUVIEW LN                                                                            MIAMISBURG        OH 45342‐2760
PUCKETT, DARYL LEE      2275 BEAUVIEW LN                                                                            MIAMISBURG        OH 45342‐2760
PUCKETT, DAVID C        20 SALEM RD                                                                                 LEXINGTON         OH 44904‐9775
PUCKETT, DAVID J        1685 MOOREFIELD AVE                                                                         AUSTINTOWN        OH 44515‐4509
PUCKETT, DAVID JEROME   1685 MOOREFIELD AVE                                                                         AUSTINTOWN        OH 44515‐4509
PUCKETT, DEBORAH L      11714 TOMPKINS RD                                                                           RIVES JUNCTION    MI 49277‐9629
PUCKETT, DON L          PO BOX 2344                                                                                 MOUNT VERNON       IL 62864‐0045
PUCKETT, DONALD E       2659 GOLDEN AVE                                                                             DACULA            GA 30019‐1447
PUCKETT, DONNA L        31710 MADISON ST                                                                            WAYNE             MI 48184‐1983
PUCKETT, DRURY M        105 BRIGHTON CT                                                                             COLUMBIA          TN 38401‐6206
PUCKETT, ELAINE M       1101 PATRICIA DR.                                                                           GIRARD            OH 44420‐4420
PUCKETT, ETHEL J        PO BOX 1901                                                                                 BUFORD            GA 30515‐8901
PUCKETT, FLOYD C        1264 NORTHCREST RD                                                                          LANSING           MI 48906‐1202
PUCKETT, FORREST R      144 PARKWOOD AVE                                                                            ARLINGTON         TX 76013‐1762
PUCKETT, FREDDY J       PO BOX 355                                                                                  CARRABELLE        FL 32322‐0355
PUCKETT, FREDERICK R    3846 WHITLOCK AVE                P O BOX 214                                                SUWANEE           GA 30024‐2215
PUCKETT, GARNETT L      KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                         BOND COURT BUILDING
PUCKETT, GARRY L        6705 S WILLIAMS RD                                                                          SAINT JOHNS      MI   48879‐8166
PUCKETT, GARY           783 GREENLAND DRIVE                                                                         EATON            OH   45320‐2510
PUCKETT, GARY J         310 W CENTER ST                                                                             SAINT LOUIS      MI   48880‐1467
PUCKETT, GARY L         1434 CUMBERLAND TRACE RD                                                                    BOWLING GREEN    KY   42103‐9011
PUCKETT, GARY L         9048 TWIN OAKS CT                                                                           FLUSHING         MI   48433‐1188
PUCKETT, GARY LEE       9048 TWIN OAKS CT                                                                           FLUSHING         MI   48433‐1188
PUCKETT, GEORGE         COON BRENT W                     PO BOX 4905                                                BEAUMONT         TX   77704‐4905
PUCKETT, GEORGE D       1026 ARCADIA CT                                                                             NORCROSS         GA   30093‐4701
PUCKETT, GEORGE E       13767 N SHEPARD LN                                                                          MOUNT VERNON     IL   62864
PUCKETT, GERALD A       PO BOX 292                                                                                  KAWKAWLIN        MI   48631‐0292
PUCKETT, GERALD E       4509 PEPPERMILL LANE                                                                        LAKE ORION       MI   48359‐2071
PUCKETT, GERALD N       5130 PALMER DR                                                                              KANSAS CITY      MO   64129‐2351
PUCKETT, GILL V         3224 S GREYFRIAR ST                                                                         DETROIT          MI   48217‐2408
PUCKETT, GLADYS         7184 W BRILLIANT STAR DR                                                                    TUCSON           AZ   85743‐5523
PUCKETT, GLADYS         7184 WEST BRILLIANT STAR DRIVE                                                              TUCSON           AZ   85743
PUCKETT, GLORIA J       1940 FARMER RD NW                                                                           CONYERS          GA   30012‐3202
PUCKETT, HELEN R        144 PARKWOOD AVE                                                                            ARLINGTON        TX   76013‐1762
PUCKETT, HERBERT H      3831 HIGHWAY 332                                                                            HOSCHTON         GA   30548‐3038
PUCKETT, HERSHEL L      5381 ORMAND RD                                                                              DAYTON           OH   45449‐2707
PUCKETT, HERSHEL L      5381 ORMAND ROAD                                                                            W. CARROLLTON    OH   45449‐2707
PUCKETT, HOYT A         3673 S BOGAN RD                                                                             BUFORD           GA   30519‐4360
PUCKETT, HUBERT         373 DIXIE LN                                                                                WEST LIBERTY     KY   41472‐2096
PUCKETT, IRWIN          322 ASPEN TER                                                                               DEFIANCE         OH   43512‐8703
PUCKETT, IVAN R         328 BROOKSIDE LN                                                                            PLAINFIELD       IN   46168‐1775
PUCKETT, JACQUELINE R   3108 E MIDLAND RD                                                                           BAY CITY         MI   48706‐2769
                           09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                       Address1                       Address2                       Address3   Address4         City            State Zip
PUCKETT, JAMES M           718 ROBERT WAY                                                                            POWDER SPGS      GA 30127‐4461
PUCKETT, JAMES O           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
PUCKETT, JAMES W           2302 CHATEAU DR                                                                           LAWRENCEVILLE   GA 30043‐2894
PUCKETT, JENNIFER          KROHN & MOSS ‐ IN              120 WEST MADISON STREET 10TH                               CHICAGO         IL 60602
                                                          FLOOR
PUCKETT, JIMMY G           4012 HWY 1000                                                                             WEST LIBERTY    KY   41472‐8442
PUCKETT, JIMMY G           4012 HIGHWAY 1000                                                                         WEST LIBERTY    KY   41472‐8442
PUCKETT, JOHN A            ROUTE 2                        BOX 235A                                                   LUDOWICI        GA   31316
PUCKETT, JOHN A            788 MOODY BRIDGE RD NE                                                                    LUDOWICI        GA   31316‐5916
PUCKETT, JOHN A            110 OAK VALLEY DR APT A111                                                                NASHVILLE       TN   37207‐2974
PUCKETT, JOHN D            5246 BELFAST OWENSVILLE RR#3                                                              BATAVIA         OH   45103
PUCKETT, JOHN D            22 STONEYBROOK DR                                                                         HUBBARD         OH   44425‐1047
PUCKETT, JOHN M            1727 JONES FLORER ROAD                                                                    BETHEL          OH   45106‐8524
PUCKETT, JOHN R            4406 SMILEY RD                                                                            CHAPEL HILL     TN   37034‐2555
PUCKETT, JOHNNY            391 FERGUSON RD                                                                           DELHI           LA   71232‐6583
PUCKETT, JOSEPH H          BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH   44067
                                                          PROFESSIONAL BLDG
PUCKETT, JUDY A.           510 PEDEN ST APT B                                                                        LAURINBURG      NC   28352‐3708
PUCKETT, KIMBERLY D        439 CONNIE WALTERS RD                                                                     CALHOUN         LA   71225‐8677
PUCKETT, LARRY J           801 BIG WILLOW DRIVE                                                                      SAGINAW         TX   76179‐1470
PUCKETT, LARRY L           1443 E MIZE RD                                                                            DEMOREST        GA   30535‐5328
PUCKETT, LARRY R           965 11TH AVE                                                                              ARKDALE         WI   54613‐9751
PUCKETT, LARRY V           PO BOX 99                                                                                 TALMO           GA   30575‐0099
PUCKETT, LAURA K           11298 STAFFORD RD                                                                         NEW CARLISLE    OH   45344‐8554
PUCKETT, LAVAUGHN          4714 N KENWOOD AVE                                                                        INDIANAPOLIS    IN   46208‐3530
PUCKETT, LAZETTE F         748 S FEEMSTER LAKE RD                                                                    TUPELO          MS   38804‐5227
PUCKETT, LENA M            3224 S GREYFRIAR ST                                                                       DETROIT         MI   48217‐2408
PUCKETT, LENA M            3224 GREYFRIARS                                                                           DETROIT         MI   48217‐2408
PUCKETT, LEONA             5425 PINE KNOB                                                                            CLARKSTON       MI   48346‐4080
PUCKETT, LUTHER A          13469 MITCHELL ST                                                                         DETROIT         MI   48212‐1637
PUCKETT, MARCUS            7 CAMBRAY CT                                                                              MIAMISBURG      OH   45342‐6614
PUCKETT, MARGARET A        841 LONE OAK DRIVE                                                                        COOKEVILLE      TN   38501‐3783
PUCKETT, MARGARET V        G5217 LENNON                                                                              FLINT           MI   48507‐1045
PUCKETT, MARIAN            5095 U.S. 60 E.                                                                           MOREHEAD        KY   40351‐9029
PUCKETT, MARTHA M          PO BOX 99                                                                                 TALMO           GA   30575‐0099
PUCKETT, MARTHA M          P O BOX 99                                                                                TALMO           GA   30575‐0099
PUCKETT, MARVIN R          200 BEAR CREEK DR APT 139                                                                 EULESS          TX   76039‐2059
PUCKETT, MARY M            1443 E MIZE ROAD                                                                          DEMOREST        GA   30535
PUCKETT, MARY T            815 IVES RD                    C/O JAMES W LEASURE                                        MASON           MI   48854‐9614
PUCKETT, MARY T            C/O JAMES W LEASURE            815 IVES RD                                                MASON           MI   48854
PUCKETT, MATTHEW EDWARD    1400 HERRINGTON RD APT 17101                                                              LAWRENCEVILLE   GA   30044
PUCKETT, MAX A             10161 ARROWHEAD DR                                                                        PUNTA GORDA     FL   33955‐4704
PUCKETT, MELVIN L          9313 SANDALWOOD DR                                                                        SHREVEPORT      LA   71118‐2825
PUCKETT, MELVIN LAWRENCE   9313 SANDALWOOD DR                                                                        SHREVEPORT      LA   71118‐2825
PUCKETT, MICHAEL R         4509 PEPPERMILL LN                                                                        LAKE ORION      MI   48359‐2071
PUCKETT, MICHAEL ROY       4509 PEPPERMILL LN                                                                        LAKE ORION      MI   48359‐2071
PUCKETT, NATHAN L          14168 NORTH RD                                                                            FENTON          MI   48430‐1394
PUCKETT, ORA L             477 SUGAR CAMP RD                                                                         BARBOURVILLE    KY   40906‐7560
PUCKETT, ORVILLE B         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                          STREET, SUITE 600
PUCKETT, OWEN F            106 WALNUT ST                                                                             CINCINNATI      OH 45216‐2455
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Name                           Address1                        Address2            Address3         Address4               City               State Zip
PUCKETT, PALL                  PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON             MS 39206‐5621
PUCKETT, PRIDE                 346 MOORE RD                                                                                RUSSELLVILLE        AL 35653‐6467
PUCKETT, RALPH E               6 W JERALD ST                                                                               HIGHLAND SPRINGS    VA 23075‐1337
PUCKETT, RANDOLPH M            2000 S EBRIGHT ST                                                                           MUNCIE              IN 47302‐4341
PUCKETT, RICHARD D             419 CATO CT                                                                                 NEW LEBANON         OH 45345‐1107
PUCKETT, RICHARD L             891 S COUNTY ROAD 775 W                                                                     YORKTOWN            IN 47396‐9438
PUCKETT, ROBERT J              PO BOX 268                                                                                  LIVINGSTON          KY 40445‐0268
PUCKETT, RONNIE H              39618 SABA CT                                                                               MURRIETA            CA 92563‐2548
PUCKETT, RORY M                521 SHEPHERDS WAY                                                                           OSCEOLA             IN 46561‐8405
PUCKETT, ROY G                 31710 MADISON ST                                                                            WAYNE               MI 48184‐1983
PUCKETT, RUBY L                1729 JONES FLORER RD                                                                        BETHEL              OH 45106‐8524
PUCKETT, RUSSELL R             1830 RT 725 LOT 5                                                                           SPRING VALLEY       OH 45370
PUCKETT, RUSSELL W             22 CLARKES XING                                                                             FAIRPORT            NY 14450
PUCKETT, SANDY A               34905 E TRUMAN RD                                                                           GRAIN VALLEY        MO 64029‐9495
PUCKETT, STEPHAN               2745 CASE RD                                                                                NEW RICHMOND        OH 45157‐9645
PUCKETT, STEVEN J              2208 LANCELOT DR SW                                                                         DECATUR             AL 35603‐1123
PUCKETT, THOMAS C              786 HIGH OAKS CIR                                                                           DAYTON              OH 45434‐6014
PUCKETT, THOMAS E              9833 APPLETON                                                                               REDFORD             MI 48239‐1403
PUCKETT, THOMAS W              11622 SIGAL RD                                                                              GERMANTOWN          OH 45327‐8732
PUCKETT, THOMAS W              11622 SIEGAL                                                                                GERMANTOWN          OH 45327‐5327
PUCKETT, VIRGINIA F            737 HARRISON                                                                                INKSTER             MI 48141‐1170
PUCKETT, VIRGINIA F            737 HARRISON ST                                                                             INKSTER             MI 48141‐1170
PUCKETT, WANDA                 PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON             MS 39206‐5621
PUCKETT, WANDA D               805 DEXTER DR                                                                               LENNON              MI 48449‐9618
PUCKETT, WILLIAM J             805 DEXTER DR                                                                               LENNON              MI 48449‐9618
PUCKETT, WILLIAM L             1788 HERITAGE WOODS DRIVE                                                                   GOSHEN              OH 45122‐9475
PUCKETT,MARCUS                 7 CAMBRAY CT                                                                                MIAMISBURG          OH 45342‐6614
PUCKETT‐WHITTAKER, GWENDOLYN   32130 BRUCE ST                                                                              ROMULUS             MI 48174‐4321
PUCKETTE, DAN G                5990 ROCKY SHOALS CT                                                                        TUCKER              GA 30084‐1600
PUCKETTE, IRENE B              5990 ROCKY SHOALS CT                                                                        TUCKER              GA 30084‐1600
PUCKHAM, JEFFREY A             3111 N VAN BUREN ST                                                                         WILMINGTON          DE 19802‐2939
PUCULA, JUDITH M               464 W HAZELTINE AVE                                                                         KENMORE             NY 14217‐2544
PUCULA, JUDITH M               464 W. HAZELTINE AVE.                                                                       KENMORE             NY 14217‐2544
PUCZKOWSKI, DENNIS E           9361 PARDEE RD                                                                              TAYLOR              MI 48180‐3529
PUDAR, NIKOLA J                30912 SUNDERLAND DR                                                                         FARMINGTON HILLS    MI 48331‐5918
PUDAR,NIKOLA J                 30912 SUNDERLAND DR                                                                         FARMINGTON HILLS    MI 48331‐5918
PUDDU SIMONA                   VIA DELLA QUADRIGA 6                                                 00040 ARDEA RM ITALY
PUDDUCK JR, GEORGE T           5480 MCKEACHIE RD                                                                           WHITE LAKE         MI   48383‐1335
PUDELEK, IRENE M               2005 MICHIGAN                                                                               LINCOLN PK         MI   48146‐3777
PUDELEK, IRENE M               2005 MICHIGAN BLVD                                                                          LINCOLN PARK       MI   48146‐3777
PUDELKO, PATRICK J             8246 SCHREPFER RD                                                                           HOWELL             MI   48855‐9323
PUDELKO, PATRICK JAMES         8246 SCHREPFER RD                                                                           HOWELL             MI   48855‐9323
PUDELKO, RAYMOND E             15779 E SOUTH CARIBOU LAKE RD                                                               DE TOUR VILLAGE    MI   49725‐9562
PUDER, KRISTI D                5013 NW 58TH ST                                                                             KANSAS CITY        MO   64151‐2689
PUDETTI, CARMELLA              200 KIDD CASTLE WAY APT 245                                                                 WEBSTER            NY   14580‐1974
PUDETTI, JAMES                 10 ROLLINS XING                                                                             PITTSFORD          NY   14534‐2768
PUDGEY TIRE LTD                1089 COLE HARBOUR RD                                                 DARTMOUTH NS B2V 1E8
                                                                                                    CANADA
PUDIMAT, PHILLIS K             15436 ROCK CREEK ROAD                                                                       CHARDON            OH 44024‐8838
PUDIST, MARIA
PUDLIK, RAYMOND J              23224 ELMGROVE ST                                                                           FARMINGTON HILLS   MI 48336‐3716
PUDLO, CHARLES R               1191 PIEDMONT RD                                                                            MARIETTA           GA 30066‐4033
                                 09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                             Address1                           Address2              Address3        Address4         City               State Zip
PUDLO, CHESTER W                 43131 W KIRKWOOD DR                                                                       CLINTON TOWNSHIP    MI 48038‐1224
PUDLO, EDWARD J                  5110 AVENIDA DEL TURA                                                                     FORT MYERS          FL 33903‐1357
PUDLO, EDWARD S                  3956 RUPPEL RD                                                                            PORT HOPE           MI 48468‐9378
PUDNEY ROBERT AND BOBBIE         9 N HULBERT ST                                                                            WHITE LAKE          MI 48386‐2209
PUDNEY, JAMES R                  7874 PEGLER BLVD                                                                          BRIDGEPORT          NY 13030
PUDNEY, ROBERT L                 9 N HULBERT ST                                                                            WHITE LAKE          MI 48386‐2209
PUDUP MARY                       3919 20TH ST                                                                              SAN FRANCISCO       CA 94114‐2906
PUDUP, LEO A                     200 WHITE HAMPTON LN APT 923                                                              PITTSBURGH          PA 15236‐1553
PUDUP, SUZANNE B                 6 RHODE ISLAND AVE                                                                        MASSAPEQUA          NY 11758‐3832
PUDVAN JR, BERNARD L             5753 EMERY RD                                                                             SAINT HELEN         MI 48656‐9441
PUDVAN, JERRY F                  115 E HAMPTON RD                                                                          ESSEXVILLE          MI 48732‐9723
PUDVAN, RANDAL J                 3753 CONSEAR RD                                                                           LAMBERTVILLE        MI 48144‐9748
PUDVAN, ROBERT A                 70 WATERSIDE DR APT F                                                                     GROVER              MO 63040‐1668
PUDVAN, ROBERT A                 4269 GARIBALDI PL                                                                         PLEASANTON          CA 94566‐7550
PUDVAY, LAWRENCE G               9371 S BRAND AVE                                                                          CLAIRE              MI 48617
PUDVAY, LAWRENCE G               1331 SAGINAW HYW                                                                          MULLIKEN            MI 48861
PUDVAY, LINDA D                  9277 E MOUNT MORRIS RD MOU                                                                OTISVILLE           MI 48463
PUDVAY, NINA                     68699 M 62 APT2                                                                           EDWARDBURG          MI 49112‐9601
PUDVAY, NINA                     68699 M 62 APT 2                                                                          EDWARDSBURG         MI 49112‐9601
PUDVAY, STEPHEN L                4348 KELLIE CT                                                                            HOWELL              MI 48855‐9640
PUDYK, WILLIAM F                 21977 WILSHIRE CIR 89                                                                     MACOMB              MI 48044
PUDZIMIS, RAYMOND J              8141 NATOMA AVE                                                                           BURBANK              IL 60459‐1746
PUE SR, RAYMOND L                2350 MANOR AVE                                                                            EAST POINT          GA 30344‐1028
PUE, ELIZABETH                   29 LAMONT AVE APT 1                                                                       HAMILTON TWP        NJ 08619‐2736
PUE, FRANCES K                   2350 MANOR AVE                                                                            EAST POINT          GA 30344‐1028
PUEBLA, EVA                      1989 GREGORY                                                                              LINCOLN PARK        MI 48146‐3420
PUEBLA, EVA                      1989 GREGORY AVE                                                                          LINCOLN PARK        MI 48146‐3420
PUEBLO COUNTY TREASURER          215 W. 10TH STREET                                                                        PUEBLO              CO 81003
PUEBLO, ALLEN D                  8709 CORY DR                                                                              DELTON              MI 49046‐8759
PUEBLO, DEBBY L                  8709 CORY DR                                                                              DELTON              MI 49046‐8759
PUEHLER, IRENE M                 6209 E MC KELLIPS RD. #188                                                                MESA                AZ 85215‐2845
PUEHLER, IRENE M                 2880 N ROADRUNNER PKWY                                                                    LAS CRUCES          NM 88011
PUENING MICHAEL                  PUENING, MICHAEL                   METLIFE INSURANCE     P.O. BOX 1503                    LATHAN              NY 12110
PUENING, DONALD L                9009 ANSONIA AVE                                                                          BROOKLYN            OH 44144‐2512
PUENING, MICHAEL                 METLIFE INSURANCE                  PO BOX 1503                                            LATHAM              NY 12110‐8003
PUENING, MICHAEL                 8467 KILKENNY DR                                                                          CINCINNATI          OH 45244‐2651
PUENTE HILL BUICK PONTIAC GMC    18 RANCHO CAMINO DR                STE 107                                                POMONA              CA 91766‐7004
PUENTE HILL'S CHEVROLET          17300 GALE AVE                                                                            CITY OF INDUSTRY    CA 91748‐1512
PUENTE HILLS CHEVROLET
PUENTE HILLS PONTIAC             GREAT AMERICAN INSURANCE COMPANY   17280 GALE AVE                                         CITY OF INDUSTRY   CA 91748

PUENTE HILLS PONTIAC GMC BUICK   18 RANCHO CAMINO DR STE 107                                                               POMONA             CA   91766‐7004
PUENTE JR, JOSEPH S              2413 MONTEGO DR                                                                           LANSING            MI   48912‐3525
PUENTE, ALICIA                   10418 BRAEMER ST                                                                          CROSBY             TX   77532‐7009
PUENTE, ALICIA                   10418 BRAIEMAR                                                                            CROSBY             TX   77532‐7009
PUENTE, BENJAMIN                 EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR   PO BOX 200                       DETROIT            MI   48265‐2000

PUENTE, EULALIA M                123 CLIFFORD CT                                                                           SAN ANTONIO        TX   78210‐4005
PUENTE, EULALIA M                123 CLIFFORD COURT                                                                        SAN ANTONIO        TX   78210‐4005
PUENTE, GARY T                   1231 WIELAND ST                                                                           LANSING            MI   48906‐4209
PUENTE, GERRY L                  807 N WAVERLY RD                                                                          LANSING            MI   48917‐2242
PUENTE, GILBERTO M               4691 CRAWFORD RD                                                                          DRYDEN             MI   48428‐9717
                                      09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                 Address1                               Address2                            Address3   Address4         City             State Zip
PUENTE, JOANNE M                     1523 W WIELAND RD                                                                                      LANSING           MI 48906
PUENTE, JOSE S                       2238 CEDAR ST                                                                                          MCALLEN           TX 78501
PUENTE, JOSEPH R                     5 JUDITH ST                                                                                            MASSENA           NY 13662
PUENTE, KURT J                       200 E 94TH ST APT 405                                                                                  NEW YORK          NY 10128
PUENTE, LUSILLA                      4691 CRAWFORD RD                                                                                       DRYDEN            MI 48428‐9717
PUENTE, MARIA E                      436 GROVE ST                                                                                           LEIPSIC           OH 45856‐1415
PUENTE, MERCEDES                     920 RIVERSIDE DR APT 56                                                                                NEW YORK          NY 10032‐5468
PUENTE, ROBERT                       1816 SHEPHEARD DR                                                                                      FORT WORTH        TX 76114‐2158
PUENTES, ARMANDO                     6214 FRANKLIN DOVE AVE                                                                                 EL PASO           TX 79912‐7703
PUENTES, ISIDRO                      PO BOX 3336                                                                                            QUARTZ HILL       CA 93586‐0336
PUENTES, JOSE G                      1532 SEASONS PKWY                                                                                      NORCROSS          GA 30093‐3106
PUENTES, JOSE GERMES                 1532 SEASONS PKWY                                                                                      NORCROSS          GA 30093‐3106
PUENTES, JUAN                        14421 SW 10TH ST                                                                                       MIAMI             FL 33184‐3114
PUENTES, RALPH G                     4429 SHARON ST                                                                                         DETROIT           MI 48210
PUENTES, RAUL P                      15240 ALLEN RD                                                                                         TAYLOR            MI 48180‐5384
PUERCO MIKE                          PUERCO, MIKE                           24 CANTORA                                                      FOOTHILL RANCH    CA 92610
PUERCO, MIKE                         24 CANTORA                                                                                             FOOTHILL RANCH    CA 92610‐1853
PUERNER, BRADLEY V                   3720 GALAXY DR                                                                                         JANESVILLE        WI 53546
PUERNER, LOIS E.                     62 S HARMONY DR                                                                                        JANESVILLE        WI 53545‐2673
PUERNER, RICHARD A                   4811 LEFFINGWELL RD                                                                                    CANFIELD          OH 44406‐9130
PUERTAS, JAMES R                     4095 SOLVAY DR                                                                                         WATERFORD         MI 48329‐4261
PUERTAS, LUCY                        33411 9TH ST                                                                                           UNION CITY        CA 94587‐2312
PUERTAS, LUCY                        33411 9TH STREET                                                                                       UNION CITY        CA 94587‐2312
PUERTO RICO DEPARTAMENTO DE          CENTRO GUBERNAMENTAL MINILLAS          EDIF. SUR, PISO 17 AVDA. DE DIEGO                               SAN JUAN          PR 00940‐1269
TRANSPORTACION Y OBRAS PUBLICAS                                             SANTURCE
PUERTO RICO DEPARTMENT OF TREASURY   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 9024140                                                  SAN JUAN         PR   00902‐4140

PUERTO RICO DEPARTMENT OF TREASURY PO BOX 9024140                           MONTHLY SALES & USE TAX                                         SAN JUAN         PR   00902‐4140

PUERTO RICO DEPARTMENT OF TREASURY PO BOX 9024140                                                                                           SAN JUAN         PR   00902‐4140

PUERTO RICO SECRETARY OF THE
TREASURY
PUERTO RICO TELEPHONE COMPANY/       DANIEL RODGRUGUEZ                      PO BOX 360998                                                   SAN JUAN         PR   00936‐0998
VERIZON
PUERTO RICO WIRE PRODUCTS            RONALD MILLER                          PO BOX 363167                                                   SAN JUAN         PR   00936‐3167
PUESTA NESTOR                        HAWAII STATE OF DEPARTMENT OF          425 QUEEN ST                                                    HONOLULU         HI   96813‐2903
                                     TRANSPORTATION
PUESTA NESTOR                        PUESTA, ELENA                          1188 BISHOP STREET SUITE 2806                                   HONOLULU         HI   96813
PUESTA NESTOR                        PUESTA, NESTOR                         1188 BISHOP STREET SUITE 2806                                   HONOLULU         HI   96813
PUESTA, NESTOR                       98‐1678 LAAUHUAHUA PL                                                                                  PEARL CITY       HI   96782‐1859
PUETT, ANINO L (COOK)                1125 PELZER AVE                                                                                        THE VILLAGES     FL   32162‐8688
PUETT, CHARLES                       WILLIAMS & BAILEY                      8441 GULF FWY STE 600                                           HOUSTON          TX   77017‐5051
PUETT, JIMMY D                       LANIER LAW FIRM                        6810 FM 1960 WEST SUITE 1550                                    HOUSTON          TX   77069
PUETT, JIMMY/SHIRLEY PUETT           ICO THE LANIER LAW FIRM PC             6810 FM 1960 WEST                                               HOUSTON          TX   77069
PUETZ, ANNE                          1321 N WILLIAM ST                                                                                      JOLIET           IL   60435‐4147
PUFAHL JR, JAMES D                   3660 S HEMLOCK RD                                                                                      HEMLOCK          MI   48626‐9785
PUFAHL, JAMES D                      PO BOX 72                                                                                              HEMLOCK          MI   48626‐0072
PUFAHL, ROBERT A                     171 STRIETER DR                                                                                        SAGINAW          MI   48609‐5259
PUFAHL, ROBERT ALLEN                 171 STRIETER DR                                                                                        SAGINAW          MI   48609‐5259
PUFALL EDWARD J (439422)             GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510
                                                                            STREET, SUITE 600
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Name                              Address1                           Address2                      Address3   Address4         City              State Zip
PUFALL, EDWARD J                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
PUFALL, ROBERT W                  67531 THUNDERBIRD DR                                                                         STURGIS           MI   49091
PUFALL, ROBERT W                  2209 CANTERBURY DR                                                                           KOKOMO            IN   46902‐3174
PUFF JR, ELLIS L                  2346 CAMPBELL RD                                                                             ROSE CITY         MI   48654‐9718
PUFF, DOUGLAS R                   72 OLIVER ST                                                                                 LOCKPORT          NY   14094‐4616
PUFF, JAMES W                     19031 IRONRIVER TRL                                                                          LAKEVILLE         MN   55044‐4405
PUFF, MARY C                      17 PRENTICE ST                                                                               LOCKPORT          NY   14094‐2119
PUFF, MARY C                      5893 WEST JACKSON STREET                                                                     LOCKPORT          NY   14094‐1735
PUFF, MILDRED B                   76 IDLEWOOD DR                                                                               ORCHARD PARK      NY   14127‐2822
PUFF, MILDRED B                   76 IDLEWOOD DRIVE                                                                            ORCHARD PARK      NY   14127‐2822
PUFF, NORMAN A                    5893 W JACKSON ST                                                                            LOCKPORT          NY   14094‐1735
PUFF, RICHARD C                   5528 ERIN LEE COURT                                                                          N LAS VEGAS       NV   89031‐3548
PUFF, RONALD C                    7283 KNOLL DR                                                                                NORTH TONAWANDA   NY   14120‐1505
PUFFENBARGER JR, ELVERT H         109 PEBBLE BEACH DR                                                                          BENTON            LA   71006‐9556
PUFFENBARGER RUSSELL A (410879)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                                     STREET, SUITE 600
PUFFENBARGER, CINDY               3445 ADDISON ROAD                                                                            GENEVA            OH   44041
PUFFENBARGER, CINDY               3445 ADDISON RD                                                                              GENEVA            OH   44041‐8181
PUFFENBARGER, JAMES W             1970 S BROADWAY                                                                              GENEVA            OH   44041‐8117
PUFFENBARGER, RUSSELL A           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                     STREET, SUITE 600
PUFFENBARGER, WILLIAM A           6803 NW 28TH ST                                                                              MARGATE           FL   33063‐5505
PUFFENBERGER, GERTRUDE R          PO BOX 1973                                                                                  MARTINSBURG       WV   25402‐1973
PUFFENBERGER, HENRY C             4200 SMITHVILLE RD                                                                           EATON RAPIDS      MI   48827‐9732
PUFFER JR, GILBERT A              3875 SAGE LN                                                                                 DEWITT            MI   48820‐9237
PUFFER, ELSIE W                   550 1ST AVE. S #1012                                                                         ST PETERSBURG     FL   33701
PUFFER, ELSIE W                   550 1ST AVE S APT 1012                                                                       ST PETERSBURG     FL   33701‐4133
PUFFIN PARTY & TENT RENTAL        2350 LAFAYETTE AVE                                                                           BRONX             NY   10473‐1104
PUFFINBERGER, IRIS K              19772 STATE ROUTE 111                                                                        DEFIANCE          OH   43512
PUFFPAFF, CHARLES A               8637 HUCKLEBERRY LN                                                                          LANSING           MI   48917‐8805
PUFFPAFF, MARVIN O                2445 MCCARTY RD # 16                                                                         SAGINAW           MI   48603‐2576
PUFPAFF, EDWARD M                 5184 SHAWNEE RD                                                                              SANBORN           NY   14132‐9116
PUFPAFF, JOHN F                   11520 YELLOWSTONE TRL                                                                        HARLAN            IN   46743‐9732
PUFPAFF, KAREN C.                 12151 W RANCHITO VERDE                                                                       TUCSON            AZ   85743‐8864
PUGA, ADAN T                      515 W LINWOOD RD                                                                             LINWOOD           MI   48634‐9714
PUGALEE, DIANA F                  526 SUMMIT AVE                                                                               TROY              OH   45373‐3047
PUGALEE, LUTHER D                 522 SUMMIT AVE                                                                               TROY              OH   45373‐3047
PUGALEE, LUTHER D                 522 SUMMITT                                                                                  TROY              OH   45373‐3047
PUGET SOUND ENERGY                MIKE RICHARDSON                    6905 S 228TH ST                                           KENT              WA   98032‐2961
PUGGINA, LAERCIO                  1650 CULVER AVE                                                                              DEARBORN          MI   48124‐5019
PUGH CARLTON E (481966)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                                     STREET, SUITE 600
PUGH CHARLES B (481967)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                     STREET, SUITE 600
PUGH GEORGE (459267)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                                     STREET, SUITE 600
PUGH GLENN ANTHONY (451007)       MICHIE HAMLETT LOWRY RASMUSSEN &   PO BOX 298                                                CHARLOTTESVILLE   VA 22902‐0298
                                  TWEEL, P.C.
PUGH GLENN ANTHONY (451007)       SEGAL LAW FIRM                     810 KANAWHA BLVD E                                        CHARLESTON        WV 25301‐2807
PUGH III, FREDERICK D             PO BOX 53                                                                                    HOMESTEAD         PA 15120
PUGH III, FREDERICK D             PO BOX 166                                                                                   WARREN            OH 44482‐0166
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Name                    Address1                              Address2                          Address3   Address4         City            State Zip
PUGH JOHN E (498310)    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                  PITTSBURGH       PA 15219

PUGH JR, ELBERT W       16791 ZEHNER RD                                                                                     ATHENS          AL   35611‐8367
PUGH JR, FRANK          16120 ELLIS AVE                                                                                     SOUTH HOLLAND   IL   60473‐1743
PUGH JR, FRANK          1047 N COWBOY CANYON DR                                                                             GREEN VALLEY    AZ   85614‐5548
PUGH JR, HARRY C        9467 E MEAD RD                                                                                      ELSIE           MI   48831‐9706
PUGH JR, TOMMIE         2313 W MCCLELLAN ST                                                                                 FLINT           MI   48504‐2552
PUGH LINDA              12636 TREATY LINE STREET                                                                            CARMEL          IN   46032‐7231
PUGH PATRICIA           PUGH, PATRICIA                        17295 CHESTERFIELD AIRPORT ROAD
                                                              SUITE 200 CHESTERFIELD, MO

PUGH PUGH & PUGH        333 TEXAS ST STE 2100                                                                               SHREVEPORT      LA   71101‐3680
PUGH SR, ROBERT E       120 RANDOMWOOD LN                                                                                   NEW BERN        NC   28562‐9531
PUGH SR, VIRGIL L       32740 POPLAR DR                                                                                     LEWES           DE   19958‐5105
PUGH STANLEY            PUGH, STANLEY                         310 GRANT ST STE 2201                                         PITTSBURGH      PA   15219‐2302
PUGH TIFFANY            PUGH, TIFFANY                         3454 N 37TH ST                                                MILWAUKEE       WI   53216
PUGH TRENT              910 COOKMAN AVE                                                                                     ASBURY PARK     NJ   07712‐6804
PUGH WILLIAM (459268)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510
                                                              STREET, SUITE 600
PUGH, ACRYSTAL L        26298 FIELDSTONE DR                                                                                 NOVI            MI   48374‐2150
PUGH, ALBERT G          1659 UNIONVILLE DEASON RD                                                                           BELL BUCKLE     TN   37020‐4523
PUGH, ALBERTA           PO BOX 320415                                                                                       KANSAS CITY     MO   64132‐0415
PUGH, ALETA S           2727 AMHERST RIDGE LOOP                                                                             COLONIAL HGTS   VA   23834‐5419
PUGH, ALEXANDER         965 GROVENBURG RD                                                                                   HOLT            MI   48842‐8614
PUGH, ALEXIS L          PO BOX 53                                                                                           HOMESTEAD       PA   15120‐0053
PUGH, ALICE M           PO BOX 8                                                                                            AMO             IN   46103‐0008
PUGH, ALICE M           P.O. BOX 8                                                                                          AMO             IN   46103‐0008
PUGH, ALLEN C           5334 CLEMMENS CT                                                                                    LEAVITTSBURG    OH   44430‐9500
PUGH, ANDREW J          3700 STARLIGHT LN                                                                                   LANSING         MI   48911‐1457
PUGH, ANTHONY M         2665 MORGAN RD                                                                                      JOELTON         TN   37080‐8728
PUGH, ARTHUR            1714 MILTON AVE                                                                                     LIMA            OH   45805‐2284
PUGH, AUDREY L          8010 CHESTNUT HILL LN                                                                               KNOXVILLE       TN   37924‐1054
PUGH, BARBER L          GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                  PITTSBURGH      PA   15219

PUGH, BETH A            1863 LIVE OAK CT                                                                                    AVON            IN   46123‐7482
PUGH, BETTY J           1515 WOMBLE RIDGE RD                                                                                ETHRIDGE        TN   38456‐7037
PUGH, BETTY R           505 SHIRLEY RD                                                                                      SMYRNA          TN   37167‐4792
PUGH, BETTY R           505 SHIRLEY ROAD                                                                                    SMYRNA          TN   37167‐4792
PUGH, BEVERLY M         8418 ROCKY MOUNT RD                                                                                 ROSEDALE        MD   21237
PUGH, BILL S            5339 PASADENA AVENUE                                                                                FLUSHING        MI   48433‐2463
PUGH, BILLY M           2909 LIA HILLS DR 9                                                                                 NORCROSS        GA   30071
PUGH, BILLY W           11003 COPAS RD                                                                                      LENNON          MI   48449‐9652
PUGH, BIRTHA A          PO BOX 20471                                                                                        MACON           GA   31205
PUGH, BRIAN C           12722 JOSEPH DR                                                                                     GRAND BLANC     MI   48439‐1524
PUGH, BRIAN J           1328 OLD HIGHWAY 60 W                                                                               MITCHELL        IN   47446‐7301
PUGH, CARLTON E         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
PUGH, CAROL J           235 WENDOVER DRIVE                                                                                  SALISBURY       NC 28147‐6002
PUGH, CECIL C           2493 LAKEVIEW DR                                                                                    BELLBROOK       OH 45305‐1720
PUGH, CHARLES B         GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
PUGH, CLIFFORD O        2016 FAIRFAX RD                                                                                     TOLEDO          OH 43613‐5117
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Name                   Address1                            Address2                      Address3   Address4         City              State Zip
PUGH, CURTIS L         26298 FIELDSTONE DRIVE                                                                        NOVI               MI 48374‐2150
PUGH, DANIELLE S       9945 ASHTON AVE                                                                               DETROIT            MI 48228‐1101
PUGH, DAVID W          400 S RINGOLD ST                                                                              JANESVILLE         WI 53545‐4176
PUGH, DAWN R           32 BARON LN                                                                                   MISSOURI CITY      TX 77459‐1900
PUGH, DELORIS          3550 CURLEW CT                                                                                RENO               NV 89508‐8806
PUGH, DENNIS L         4139 LOGAN GATE RD                                                                            YOUNGSTOWN         OH 44505‐5704
PUGH, DENNIS L         887 HUNTCLUB BLVD                                                                             AUBURN HILLS       MI 48326‐3685
PUGH, DIANA D          8150 CASTLE ROCK DR NE                                                                        WARREN             OH 44484‐1416
PUGH, DONALD R         5636 N LONDON RD                                                                              FAIRLAND           IN 46126‐9625
PUGH, EDWARD W         1112 ASHER ST                                                                                 JASPER             TN 37347‐2543
PUGH, ELAINE F         PO BOX 3890                                                                                   UNIVERSITY         MS 38677‐3890
PUGH, ELSIE A          10 CROCUS DR                                                                                  HENDERSONVILLE     NC 28792‐9585
PUGH, ESTALLA L        624 S GRAND TRAVERSE                                                                          FLINT              MI 48502
PUGH, FRANK L          7105 INDIANA AVE                                                                              KANSAS CITY        MO 64132‐1915
PUGH, FRANK L.         7105 INDIANA AVE                                                                              KANSAS CITY        MO 64132‐1915
PUGH, GAYLETA L        2714 BROOKFIELD LN                                                                            DENTON             TX 76209
PUGH, GEORGE           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
PUGH, GEORGE A         1515 W ALLEGHENY AVE APT 408 # 27                                                             PHILADELPHIA      PA   19132‐1754
PUGH, GEORGE A         1515 ‐ 27 W ALLEHENY AVE            APT 408                                                   PHILADELPHIA      PA   19132
PUGH, GEORGE E         3823 HERITAGE PL                                                                              BUFORD            GA   30519‐7863
PUGH, GIBSON W         8150 CASTLE ROCK DR NE                                                                        WARREN            OH   44484‐1416
PUGH, GLENN ANTHONY    SEGAL LAW FIRM                      810 KANAWHA BLVD E                                        CHARLESTON        WV   25301‐2807
PUGH, GLENN ANTHONY    MICHIE HAMLETT LOWRY RASMUSSEN &    PO BOX 298                                                CHARLOTTESVILLE   VA   22902‐0298
                       TWEEL, P.C.
PUGH, GLENN F          4292 PLATT RD                                                                                 CAMDEN            OH   45311
PUGH, GLYNDON L        517 GREGGS PL                                                                                 MCDONOUGH         GA   30253‐2368
PUGH, GREGORY D        1550 NORWOOD ST NW                                                                            WARREN            OH   44485‐2149
PUGH, GREGORY E        1208 FRANKLIN AVE                                                                             ALIQUIPPA         PA   15001‐3311
PUGH, GREGORY EUGENE   23 S PADDOCK ST                                                                               PONTIAC           MI   48342‐2623
PUGH, GRETTA B         5117 MAHER AVE                                                                                MADISON           WI   53716‐2821
PUGH, HAETIE M         3313 CHEROKEE AVE                                                                             FLINT             MI   48507‐1972
PUGH, HARRY L          2760 MERRIWEATHER N.W.                                                                        WARREN            OH   44485‐2507
PUGH, HOITE G          802 E HARRISON AVE                                                                            GUTHRIE           OK   73044‐5207
PUGH, HOITE GLEN       802 E HARRISON AVE                                                                            GUTHRIE           OK   73044‐5207
PUGH, IETTA MARIE      8930 KATHLEEN ST                                                                              CLERMONT          IN   46234‐1629
PUGH, IETTA MARIE      8930 KATHLEEN                                                                                 CLERMONT          IN   46234‐1629
PUGH, INDAVIS          325 OLD FOREST CT                                                                             MONTGOMERY        AL   36117‐3966
PUGH, J D              1110 E 9TH ST                                                                                 MUNCIE            IN   47302‐3531
PUGH, JACQUELINE R     18420 ONYX ST                                                                                 SOUTHFIELD        MI   48075‐1813
PUGH, JAMES A          1362 KIMBALL AVE                                                                              KANSAS CITY       KS   66104‐4952
PUGH, JAMES A          548 PHILLIPS DR SW                                                                            WARREN            OH   44485‐3363
PUGH, JAMES B          1065 E NORTH ST APT 8B                                                                        OWOSSO            MI   48867‐1981
PUGH, JAMES C          10006 CARR RD                                                                                 SAINT CHARLES     MI   48655‐8629
PUGH, JAMES E          301 DOVER AVE                                                                                 SHEFFIELD         AL   35660‐3207
PUGH, JAMES R          2405 SAWTOOTH OAK DRIVE                                                                       LAWRENCEVILLE     GA   30043‐3461
PUGH, JEFFERY E.       1228 AUSTIN RD                                                                                WINDER            GA   30680‐4701
PUGH, JEFFERY R        18281 KENTFIELD ST                                                                            DETROIT           MI   48219‐5704
PUGH, JEFFERY ROBERT   18281 KENTFIELD ST                                                                            DETROIT           MI   48219‐5704
PUGH, JIMMY R          2405 SAWTOOTH OAK DR                WHITE OAK PLACE                                           LAWRENCEVILLE     GA   30043‐3461
PUGH, JOE W            29290 8TH AVE E                                                                               ARDMORE           AL   35739‐8044
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Name                            Address1                              Address2                          Address3   Address4         City            State Zip
PUGH, JOHN E                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                  PITTSBURGH       PA 15219

PUGH, JOHN E                    2051 S ROCKHILL AVE                                                                                 ALLIANCE        OH   44601‐4708
PUGH, KATHLEEN                  5404 SYCAMORE RD                                                                                    SUGAR HILL      GA   30518‐2348
PUGH, KATHLEEN                  5404 SYCAMORE                                                                                       BUFORD          GA   30518‐2348
PUGH, KATHRYN                   BX 256                                                                                              WARREN          IN   46792‐0256
PUGH, KATHRYN                   PO BOX 256                                                                                          WARREN          IN   46792‐0256
PUGH, KENNETH O                 3650 SILVER SANDS DR                                                                                WATERFORD       MI   48329‐4258
PUGH, KENT L                    2841 FRIENDSHIP RD                                                                                  BUFORD          GA   30519‐1908
PUGH, LILLIA P                  11112 W CAMPBELL AVE                                                                                PHOENIX         AZ   85037
PUGH, MAMIE A                   1412 HENDRICKS ST                                                                                   ANDERSON        IN   46016‐3427
PUGH, MARK E                    2033 SEYMOUR LAKE ROAD                                                                              ORTONVILLE      MI   48462‐9229
PUGH, MARTHA                    385 BROADUS RD                                                                                      CLEVELAND       GA   30528‐4527
PUGH, MARY A                    3650 SILVER SANDS DR                                                                                WATERFORD       MI   48329‐4258
PUGH, MARY E                    2720 OTTELLO AVE                                                                                    DAYTON          OH   45414‐4818
PUGH, MARY E                    2720 OTELLO AVE                                                                                     DAYTON          OH   45414‐4818
PUGH, MARY L                    1405 JEFFREY LN                                                                                     INKSTER         MI   48141‐1505
PUGH, MICHAEL K                 901 COUNTY ROAD 95                                                                                  MOULTON         AL   35650‐5027
PUGH, MICHAEL L                 5309 BLUE GRASS LN                                                                                  SUGAR HILL      GA   30518‐4501
PUGH, MONIQUE R                 4288 HALL MARK CT                                                                                   FLINT           MI   48532‐2641
PUGH, MONIQUE RACHELLE          4288 HALL MARK CT                                                                                   FLINT           MI   48532‐2641
PUGH, MURIEL I                  PO BOX 783                                                                                          MURRAY          KY   42071‐0013
PUGH, MYRTLE L                  17721 NORWALK BLVD UNIT 27                                                                          ARTESIA         CA   90701‐4300
PUGH, MYRTLE L                  17721 NORWALK BLVD                    UNIT 27                                                       ARTESIA         CA   90701
PUGH, NORBERT H                 616 FRAZER STREET                                                                                   OWOSSO          MI   48867
PUGH, NORMA F                   5660 BREEZEWOOD DR SE                                                                               BROOKFIELD      OH   44403‐9746
PUGH, OSBORNE                   2102 WALNUT ST                                                                                      SAGINAW         MI   48601‐2033
PUGH, OTIS L                    8492 N HENDERSON FORD RD                                                                            MOORESVILLE     IN   46158‐6632
PUGH, PATRICIA                  KAHN & ASSOCIATES                     17295 CHESTERFIELD AIRPORT ROAD                               CHESTERFIELD    MO   63005
                                                                      SUITE 200
PUGH, PATRICIA W                548 PHILLIPS DR. S.W.                                                                               WARREN          OH   44485‐3363
PUGH, PATRICK                   8 CONGAREE CT                                                                                       BALTIMORE       MD   21236‐3104
PUGH, PRISCILLA                 12741 SANTA CLARA ST                                                                                DETROIT         MI   48235‐1429
PUGH, PRISCILLA A               9738 BENNINGTON DR.                                                                                 CINCINNATI      OH   45241‐3616
PUGH, RICHARD C                 9255 HARTEL RD                                                                                      GRAND LEDGE     MI   48837‐9417
PUGH, RICHARD M                 2048 BLUE BEECH CT                                                                                  TRINITY         FL   34655‐5011
PUGH, RICHARD T                 1948 BEAVER TRL                                                                                     MINERAL RIDGE   OH   44440‐9556
PUGH, RICKEY L                  4671 PINECREST DR                                                                                   SUGAR HILL      GA   30518‐4711
PUGH, ROBERT                    PORTER & MALOUF PA                    4670 MCWILLIE DR                                              JACKSON         MS   39206‐5621
PUGH, ROBERT E                  25830 STONYCROFT DR                                                                                 SOUTHFIELD      MI   48033‐5889
PUGH, ROBERT E                  3762 HEATHWOOD EAST                                                                                 WHITE LAKE      MI   48383‐3508
PUGH, ROBERT E                  PO BOX 922                                                                                          POLO            MO   64671‐0922
PUGH, ROBERT M                  147 OLD TEAL RD                                                                                     HIRAM           GA   30141‐3518
PUGH, ROBERT M                  147 OLD TEAL ROAD                                                                                   HIRAM           GA   30141‐3518
PUGH, ROBERT N                  47534 FREDERICK RD                                                                                  SHELBY TWP      MI   48317‐2810
PUGH, RODGER A                  8313 S BYAM RD                                                                                      BANCROFT        MI   48414‐9713
PUGH, ROLLY E                   7418 TORREY RD                                                                                      SWARTZ CREEK    MI   48473‐8883
PUGH, RONNIE C                  1658 EMORY ST                                                                                       AUGUSTA         GA   30904‐4027
PUGH, RT MOTOR TRANSPORTATION   233 WHILEY AVE                                                                                      LANCASTER       OH   43130‐4353
PUGH, SANDRA B                  2760 MERRIEWEATHER                                                                                  WARREN          OH   44485‐2507
PUGH, SANDRA B                  2760 MERRIWEATHER ST NW                                                                             WARREN          OH   44485‐2507
PUGH, SARAH R                   5339 PASADENA AVE                                                                                   FLUSHING        MI   48433‐2463
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Name                     Address1                         Address2                        Address3   Address4         City            State Zip
PUGH, SHIRLEY E.         473 KIRTS BLVD APT57                                                                         TROY             MI 48084‐5264
PUGH, STANLEY            AINSMAN LEVINE & DREXLER         330 GRANT STREET ‐ SUITE 1500                               PITTSBURGH       PA 15219
PUGH, STANLEY            1208 FRANKLIN AVE                                                                            ALIQUIPPA        PA 15001‐3311
PUGH, STANLEY L          727 HARVEY ST                                                                                BALTIMORE        MD 21230‐5114
PUGH, STANLEY R          8751 BAXTER RD                                                                               BENTON            IL 62812‐6140
PUGH, STEVEN V           759 LUTZKE RD                                                                                SAGINAW          MI 48609‐5920
PUGH, STEVEN VERDANE     759 LUTZKE RD                                                                                SAGINAW          MI 48609‐5920
PUGH, SUSAN M            10006 CARR RD                                                                                SAINT CHARLES    MI 48655‐8629
PUGH, THOMAS             1450 LEO ST                                                                                  SAGINAW          MI 48638‐6539
PUGH, THOMAS E           719 WOODS CT                                                                                 WALLED LAKE      MI 48390‐3774
PUGH, THOMAS E           6336 WOODMERE CT                                                                             FLINT            MI 48532‐2164
PUGH, TIFFANY            3454 N 37TH ST                                                                               MILWAUKEE        WI 53216‐3745
PUGH, TIMOTHY H          517 GREGGS PLACE                                                                             MCDONOUGH        GA 30253‐2368
PUGH, TOMMY J            5365 CAVE SPRING RD                                                                          AUBURN           KY 42206‐9786
PUGH, TRAUL              10046 GATE DR                                                                                INDIANAPOLIS     IN 46239‐8807
PUGH, TROYCE E           561 SWEETFERN LN                                                                             SUGAR HILL       GA 30518‐7612
PUGH, VIOLA              1505 STADIUM VIEW DR                                                                         MURRAY           KY 42071
PUGH, VIRGIL F           3044 S SCOTT AVE                                                                             INDEPENDENCE     MO 64052‐3027
PUGH, WALLACE            863 J H GODMAN RD                                                                            FALMOUTH         KY 41040‐8733
PUGH, WILBURN            1432 HARRISON LN                                                                             HURST            TX 76053‐4018
PUGH, WILLIAM            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                          STREET, SUITE 600
PUGH, WILLIAM R          7212 STEWART SHARON RD                                                                       HUBBARD         OH   44425
PUGH, WILLIAM T          740 W MCDOWELL RD                                                                            JACKSON         MS   39204‐5403
PUGH, WILLIE             2317 E RAHN RD                                                                               KETTERING       OH   45440‐2513
PUGH, WILLIE             2317 E. RAHN RD.                                                                             KETTERING       OH   45440‐2513
PUGH, WILLIE G           6372 RAMBLER DRIVE                                                                           PENSACOLA       FL   32505‐1804
PUGH‐DUKES, PAMELA A     331 TOD AVE NW                                                                               WARREN          OH   44485‐2959
PUGHE, TERRI L           22605 W BAKER DR                                                                             WITTMANN        AZ   85361‐1093
PUGHLINE, MARY K         3107 RIVER PLACE DRIVE                                                                       BELTON          TX   76513‐1013
PUGLIA, FRANCES H        116 STOCKTON LN                                                                              ROCHESTER       NY   14625‐1233
PUGLIA, JOAN MARY        32843 FIRWOOD DR                                                                             WARREN          MI   48088‐6224
PUGLIA, PAUL A           729 VERNON DR                                                                                BELLE VERNON    PA   15012‐3603
PUGLIA, RONALD A
PUGLIA, SALVADOR         32843 FIRWOOD DR                                                                             WARREN          MI   48088‐6224
PUGLIANO, THOMAS J       1712 CHESTER AVE                                                                             WELLSVILLE      OH   43968‐1138
PUGLIESE, ANDREW         15500 18 MILE RD                 BLDG D APT 126                                              CLINTON TWP     MI   48038
PUGLIESE, DONNA L        6 TWIN LEAF LN                                                                               LEVITTOWN       PA   19054‐2222
PUGLIESE, ESTELLA C      3247 SOUTH ELMS ROAD                                                                         SWARTZ CREEK    MI   48473‐7928
PUGLIESE, ESTELLA C      3247 S ELMS RD                                                                               SWARTZ CREEK    MI   48473‐7928
PUGLIESE, GEORGE A       5967 SAND WEDGE LN APT 104                                                                   NAPLES          FL   34110‐3376
PUGLIESE, MICHAEL        188 WHITE HORSE AVE                                                                          TRENTON         NJ   08610‐2644
PUGLIESE, RAYMOND S      4417 N BEACON ST APT 2S                                                                      CHICAGO         IL   60640
PUGLIESE, SUZANNE C      13025 AVENIDA MARBELLA                                                                       SAN DIEGO       CA   92128‐1544
PUGLISE, BRIAN S         13130 JONUS BLVD                                                                             FORT WAYNE      IN   46845‐9112
PUGLISE, DONALD C        310 LINDA K LN                                                                               ORTONVILLE      MI   48462‐8629
PUGLISE, EDWARD E        2805 HEDGEROW PASS                                                                           FORT WAYNE      IN   46804‐7849
PUGLISI MELLO (459269)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                          STREET, SUITE 600
PUGLISI, JOHN J          3 DRURY LN                                                                                   MANCHESTER      NJ 08759‐5146
PUGLISI, MELLO           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                          STREET, SUITE 600
                                 09-50026-mg                Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                             Address1                           Address2                        Address3   Address4              City              State Zip
PUGLISI, SANDRA                  126 W FARRELL AVE APT A1                                                                            TRENTON            NJ 08618‐2218
PUGLIUSO, KRISTINA IVANA
PUGMIRE, JAMES M                 7325 E BRISTOL RD                                                                                   DAVISON           MI   48423‐2461
PUGMIRE, ROBERT A                14252 BELSAY RD                                                                                     MILLINGTON        MI   48746‐9218
PUGNO, ROBERT L                  2610 WALLIN LAKE DR                                                                                 WEST BRANCH       MI   48661‐9495
PUGSLEY JR, GEORGE               PO BOX 291                                                                                          DALEVILLE         IN   47334‐0291
PUGSLEY, A                       BOX 1714 GPO                       MELBOURNE                                  MELBOURNE AUSTRALIA
PUGSLEY, ARTHUR E                4791 TOLLAND AVE                                                                                    HOLT              MI   48842‐1065
PUGSLEY, CHARLES L               8621 SW 800                                                                                         DALEVILLE         IN   47334
PUGSLEY, EVERETT D               3017 GRASSY CT                                                                                      ANDERSON          IN   46012‐9233
PUGSLEY, GEORGE E                5505 LIZ LN                                                                                         ANDERSON          IN   46017‐9671
PUGSLEY, JOHN R                  12100 W 700 S                                                                                       DALEVILLE         IN   47334
PUGSLEY, KIRK A                  1870 COUNTY ROAD 4                                                                                  CARLTON           MN   55718‐8166
PUGSLEY, LAWRENCE A              4130 FERNWAY DR                                                                                     ANDERSON          IN   46013‐4350
PUGSLEY, NORMA M                 PO BOX 85                                                                                           DALEVILLE         IN   47334‐0085
PUGSLEY, NORMA M                 P O BOX 85                                                                                          DALEVILLE         IN   47334‐0085
PUGSLEY, RICHARD E               37 KELLBOURNE DRIVE 3178           ROWVILLE VICTORIA                          ROWVILLE AUSTRALIA
PUGSLEY, RICHARD E               76354 S MARY GRACE CT                                                                               BRUCE TWP         MI   48065‐2636
PUGSLEY, RONALD C                2112 OLD HIGHWAY 99                                                                                 CHAPEL HILL       TN   37034‐2048
PUGSLEY, STEPHEN L               311 FAIRGROVE AVE                                                                                   ROYAL OAK         MI   48067‐1803
PUGSLEY, SUSAN M                 7407 COLONIAL CT                                                                                    ANDERSON          IN   46013‐3850
PUGSLEY, TERRY L                 11730 WEST 850 NORTH                                                                                MONTICELLO        IN   47960
PUGSLEY, WILLIAM H               212 PICK AVE                                                                                        CHESTERFIELD      IN   46017‐1710
PUHA, DENNIS K                   PO BOX 50001                                                                                        SPARKS            NV   89435‐0001
PUHA, DENNIS K.                  PO BOX 50001                                                                                        SPARKS            NV   89435‐0001
PUHALA, MICHAEL J                491 CREED ST                                                                                        STRUTHERS         OH   44471‐1249
PUHALA, WILLIAM P                250 PARKEDGE AVE                                                                                    TONAWANDA         NY   14150‐7821
PUHALLA JOSEPH E (429649)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                    STREET, SUITE 600
PUHALLA, GLEN E                  603 PONDEROSA CT                                                                                    GIBSONIA          PA 15044
PUHALLA, JOSEPH E                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510‐2212
                                                                    STREET, SUITE 600
PUHAR, JOSEPH D                  7115 MARLBOROUGH TER                                                                                BERKELEY          CA   94705‐1736
PUHL, LORENE E                   3101 BIRCHWOOD DR                                                                                   ANN ARBOR         MI   48105‐9266
PUHL, LORENE ELLEN               3101 BIRCHWOOD DR                                                                                   ANN ARBOR         MI   48105‐9266
PUHL, STEVEN P                   3101 BIRCHWOOD DR                                                                                   ANN ARBOR         MI   48105‐9266
PUHR, PAUL J                     6500 N BROADWAY ST                                                                                  GLADSTONE         MO   64118‐3262
PUI LING LOO                     44717 ELLERY LN                                                                                     NOVI              MI   48377‐2562
PUI YUEN                         226 SLADE CT                                                                                        ROCHESTER HILLS   MI   48307‐3863
PUIA JOHN (447098) ‐ PUIA JOHN   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD        OH   44067
                                                                    PROFESSIONAL BLDG
PUIDOKAS, JONAS E                22313 MYLLS ST                                                                                      ST CLAIR SHRS     MI   48081‐1342
PUIDOKAS, JUDY B                 1333 KINGS CARRIAGE RD                                                                              GRAND BLANC       MI   48439‐8641
PUIG, ELSA                       2055 SW 122ND AVE APT 229                                                                           MIAMI             FL   33175‐7390
PUIGDOLLERS, ARTHUR              57 BAKER ST APT 4                                                                                   NORWALK           OH   44857‐1369
PUISZIS, FRANK A                 18035 OWEN DR                                                                                       ORLAND PARK       IL   60467‐8828
PUISZIS, FRANK A                 18035 OWEN DRIVE                                                                                    ORLAND PARK       IL   60467‐8828
PUIU, CONSTANTIN                 34825 DRYDEN DR                                                                                     STERLING HTS      MI   48312‐5016
PUJARA, APURVA P                 2179 N LOVINGTON DR APT 207                                                                         TROY              MI   48083‐5813
PUJAT, GERALDINE                 6 KAY LN                                                                                            HOWELL            NJ   07731
PUJAT, GERARD A                  8538 W HUGHES DR                                                                                    TOLLESON          AZ   85353‐8733
PUJOL, HAYDEE P                  161 NW 68TH CT                                                                                      MIAMI             FL   33126‐4440
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Name                                 Address1                              Address2                        Address3               Address4         City                 State Zip
PUJOL, RAMON M                       PO BOX 940                                                                                                    BRONX                 NY 10473‐0940
PUJOLAS, WILLIAM T                   7007 W WHITEDOVE LN APT 102                                                                                   MIDDLEBURG HEIGHTS    OH 44130‐8497
PUKACH, LOIS I                       5507 MERKLE AVE                                                                                               PARMA                 OH 44129‐1508
PUKALO, BOYD R                       45288 ASHWOOD CT                                                                                              SHELBY TOWNSHIP       MI 48317‐4900
PUKALO, RANDALL P                    12130 CANTERBURY DR                                                                                           WARREN                MI 48093‐1877
PUKALUK, JAROSLAW                    5 EAGLE CT                                                                                                    SAYREVILLE            NJ 08872‐2308
PUKERUD, STEN                        1307 MANOR DRIVE                                                                                              MARION                IN 46952‐1935
PUKERUD, STEN                        1307 N MANOR DR                                                                                               MARION                IN 46952‐1935
PUKJANIS, PAVILS                     3707 CLOVER ST                                                                                                HENRIETTA             NY 14467‐9719
PUKJANIS, PAVILS                     3707 CLOVER STREET                                                                                            HENRIETTA             NY 14467‐9719
PUKLICH CHEVROLET, INC. D/B/A STAN   3701 STATE STREET                                                                                             BISMARCK              ND 58502
PUKLICH CHEVROLET
PUKSTA, THOMAS J                     315 BALL PARK BLVD NW                                                                                         GRAND RAPIDS         MI   49504‐4908
PUKULA, WAYNE J                      16453 NEWBURY CT                                                                                              CREST HILL           IL   60403‐0793
PULA JR, CHESTER J                   523 RESERVE RD                                                                                                WEST SENECA          NY   14224‐4107
PULA, EDWIN                          8424 S KOMENSKY AVE                                                                                           CHICAGO              IL   60652‐3116
PULA, MICHAEL J                      880 KNABB RD                                                                                                  ELMA                 NY   14059‐9108
PULA, WALTER J                       355 COLVIN AVE APT 8                                                                                          BUFFALO              NY   14216‐2368
PULAK BANDYOPADHYAY                  PO BOX 9022                                                                                                   WARREN               MI   48090‐9022
PULAK, FAY S                         2002 KERSHAW LN                                                                                               WILMINGTON           DE   19810‐3629
PULAR, DORIS J                       2239 BINGHAM ROAD                                                                                             CLIO                 MI   48420‐1901
PULASKEY, LAWRENCE E                 3272 SANDPIPER DR                                                                                             LAKE HAVASU CITY     AZ   86406‐5528
PULASKI CITY RECORDER                PO BOX 633                                                                                                    PULASKI              TN   38478‐0633
PULASKI CNTY COURT                   401 W MARKHAM ST                                                                                              LITTLE ROCK          AR   72201‐1407
PULASKI COUNTY ADMINISTRATIVE        201 BROADWAY ST STE 420                                                                                       LITTLE ROCK          AR   72201‐2325
SERVICES
PULASKI COUNTY COLLECTOR             301 HISTORIC 66 EAST                                                                                          WAYNESVILLE          MO   65583
PULASKI COUNTY ROAD AND BRIDGE                                             3200 BROWN ST                                                                                AR   72204
PULASKI COUNTY SHERIFF               PO BOX 752                                                                                                    SOMERSET             KY   42502‐0752
PULASKI COUNTY TREASURER             ADMINSTRATION BUILDING                 201 BROADWAY ST STE 150                                                LITTLE ROCK          AR   72201‐2341
PULASKI COUNTY TREASURER             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 8101                    COUNTY TAX COLLECTOR                    LITTLE ROCK          AR   72203‐8101

PULASKI COUNTY TREASURER             PO BOX 8101                           COUNTY TAX COLLECTOR                                                    LITTLE ROCK          AR   72203‐8101
PULASKI CTY CHANCERY COURT           401 W MARKHAM ST                                                                                              LITTLE ROCK          AR   72201‐1407
PULASKI CTY CHANCERY COURT           ACT J E BAGGETT                       401 W MARKHAM ST                                                        LITTLE ROCK          AR   72201‐1407
PULASKI JOHN JR                      2403 WENTWORTH CIR                                                                                            PINEHURST            NC   28374‐9542
PULASKI, CHARLES A                   4741 N COUNTY ROAD 500 E                                                                                      PITTSBORO            IN   46167‐9368
PULASKI, CHARLES H                   67 DOLORES DR                                                                                                 EDISON               NJ   08817‐2329
PULASKI, JASON S                     2200 ONTARIO AVE                                                                                              DAYTON               OH   45414‐5634
PULASKI, JEAN T                      590 AVENUE E                                                                                                  BAYONNE              NJ   07002‐4847
PULASKI, JOSEPH J                    67 PULASKI AVE                                                                                                SAYREVILLE           NJ   08872‐1649
PULASKI, JOYCE                       67 PULASKI AVE                                                                                                SAYREVILLE           NJ   08872‐1649
PULASKI, SARAH J                     APT 10308                             44662 BAYVIEW AVENUE                                                    CLINTON TWP          MI   48038‐7025
PULASKI, SARAH J                     PO BOX 2285                                                                                                   GREER                SC   29652‐2285
PULASKY KENNETH                      KOONCE, HAROLD                        303 FELLOWSHIP ROAD SUITE 300                                           MOUNT LAUREL         NJ   08054
PULASKY KENNETH                      PULASKY, KENNETH                      6951 N PARK DR                                                          PENNSAUKEN           NJ   08109‐4212
PULAWSKI, KARLYNN                    1419 DONALD AVE                                                                                               ROYAL OAK            MI   48073‐2024
PULAWSKI, KARLYNN                    1419 DONALD                                                                                                   ROYAL OAK            MI   48073‐2024
PULCE FARRAH                         APT K2                                2329 SOUTH CANNON DRIVE                                                 MT PROSPECT          IL   60056‐5906
PULCER JR, EDWARD                    41114 FOX RUN DR                                                                                              CLINTON TOWNSHIP     MI   48038‐4638
PULCHAK, ANDREW                      14923 DELEON DR                                                                                               HUDSON               FL   34667‐1015
PULCINE JR, WILLIAM R                15 LILAC LN                                                                                                   EDGERTON             WI   53534‐2401
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PULCINE ROBERT                   1708 E HOTEL DR                                                                                       EDGERTON           WI 53534‐9084
PULCINE, ROBERT J                1708 E HOTEL DR                                                                                       EDGERTON           WI 53534‐9084
PULCINE, RONALD S                1509 SW 35TH CIRCLE DR                                                                                OKEECHOBEE         FL 34974
PULCINE, WILLIAM R               133 SEMINOLE DR # R3                                                                                  EDGERTON           WI 53534
PULCINI HENRY (656851)           LANIER LAW FIRM                     6810 FM 1960 WEST SUITE 1550                                      HOUSTON            TX 77069
PULCINI, ELI                     830 FAIRVIEW RD                                                                                       OSCEOLA MILLS      PA 16666‐1711
PULCINI, LEONARD D               209 DEVILS DEN RD                                                                                     PARIS              PA 15021‐2357
PULCINI, MARY                    13244 CANOPY DR                                                                                       STERLING HTS       MI 48313‐1192
PULDA, AMY                       3032 3 MILE RD                                                                                        FRANKSVILLE        WI 53126‐9601
PULDA, MARK                      3032 3 MILE RD                                                                                        FRANKSVILLE        WI 53126‐9601
PULEIO FRANCESCO                 RIONE MELAROSA                      89011 BAGNARA CALABRA
PULEJO, L                        CONTRADA MALFAELE #10               TRAPPITELLO                               TAORMINA SICILY ITALY
                                                                                                               98030
PULEO, DAVID V                   6712 N DALTON CT                                                                                      KANSAS CITY       MO   64151‐2349
PULEO, IRENE W                   2975 AUTUMNWOOD TRAIL                                                                                 YOUNGSTOWN        OH   44514‐2860
PULEO, JEAN E                    124 STRAWBERRY DR                                                                                     SHAMONG           NJ   08088‐9625
PULEO, RICHARD M                 466 LYNBROOK AVE                                                                                      TONAWANDA         NY   14150‐8213
PULEO, RICHARD MYRON             466 LYNBROOK AVE                                                                                      TONAWANDA         NY   14150‐8213
PULEO, SHARON A                  3682 BIG TREE RD APT 8                                                                                HAMBURG           NY   14075‐1259
PULFER, DAVID L                  8583 STATE ROUTE 219 LOT 9                                                                            CELINA            OH   45822‐5822
PULFER, DAVID L                  LOT 9                               8583 STATE ROUTE 219                                              CELINA            OH   45822‐8803
PULFER, PHYLLIS                  25 RD 35 NORTH                                                                                        DE GRAFF          OH   43318
PULFORD MARK                     2344 CENTENNIAL LN                                                                                    ANN ARBOR         MI   48103‐9603
PULFORD, KENNETH G               2124 COLLEGE RD                                                                                       HOLT              MI   48842‐9796
PULFORD, LORRAINE T              2601 EDGEWOOD ST                                                                                      DEARBORN          MI   48124‐4115
PULFORD, MARK J                  11459 PATTERSON LAKE DR                                                                               PINCKNEY          MI   48169‐9748
PULFORD, MARK JOHN               11459 PATTERSON LAKE DRIVE                                                                            PINCKNEY          MI   48169‐9748
PULFORD, PAMELA M                256 ELLSWORTH LAKE DR                                                                                 GREGORY           MI   48137‐9654
PULFORD, RICHARD W               10869 WILDON WAY W                                                                                    GRAND LEDGE       MI   48837‐9142
PULFREY, SAMUEL F                2027 1ST AVE SW                                                                                       GREAT FALLS       MT   59404‐2502
PULGINI, ALBERT J                31 BAYNARD BLVD                                                                                       WILMINGTON        DE   19803‐4135
PULI ZOLY (491674) ‐ PULI ZOLY   CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                             CLEVELAND         OH   44113‐1328
                                 COONE AND ASSOCIATES
PULICE JR, SAMUEL                1412 OLD WYOMISSING RD                                                                                READING           PA   19610‐2506
PULICE, ANTHONY J                5750 WATSON RD                                                                                        HUBBARD           OH   44425‐1051
PULICE, ARTHUR E                 PO BOX 241                                                                                            HARTLAND          MI   48353‐0241
PULICE, ARTHUR EUGENE            PO BOX 241                                                                                            HARTLAND          MI   48353‐0241
PULICE, FRANK                    3922 OLD CREEK RD                                                                                     TROY              MI   48084‐1661
PULICE, JOHN                     30869 AVONDALE DR                                                                                     MADISON HEIGHTS   MI   48071‐2273
PULICE, JOHN W                   2458 RABY RD                                                                                          EAST LANSING      MI   48823‐7763
PULICE, JOHN WILLIAM             2458 RABY RD                                                                                          EAST LANSING      MI   48823‐7763
PULICE, LARRY B                  2170 BRUNSWICK PL                                                                                     CHARLOTTE         MI   48813‐9751
PULICE, MARK S                   1111 W GENEVA DR                                                                                      DEWITT            MI   48820‐9530
PULICE, MARY                     1412 OLD WYOMISSING ROAD                                                                              READING           PA   19610‐2506
PULICE, ROBERT                   211 ARENA DR                                                                                          WEIRTON           WV   26062‐3203
PULICE, ROBERT W                 6959 COOPER RD                                                                                        LANSING           MI   48911‐6527
PULICE, THELMA                   24895 BECK AVE                                                                                        EAST DETROIT      MI   48021‐1499
PULICE, THOMAS S                 2211 MONTEGO DR                                                                                       LANSING           MI   48912‐3521
PULIDO ADRIAN                    PULIDO, ADRIAN                      5473 BLAIR RD STE 200                                             DALLAS            TX   75231‐4168
PULIDO ADRIAN                    PULIDO, MARICELA                    5473 BLAIR RD STE 200                                             DALLAS            TX   75231‐4168
PULIDO JAMIE                     PULIDO, JAMIE                       21706 NEVADA AVE                                                  EAST POINTE       MI   48021
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Name                                Address1                       Address2                          Address3   Address4                City               State Zip
PULIDO JESUS (ESTATE OF) (635414)   COONEY & CONWAY                120 NORTH LASALLE STREET , 30TH                                      CHICAGO              IL 60602
                                                                   FLOOR
PULIDO OSCAR (437893) ‐ ANSELMAN    BARON & BUDD                   3102 OAK LANE AVE , SUITE 1100                                       DALLAS              TX   75219
LOUIS GENE
PULIDO SR., CLEMENTE A              5051 FREEMAN RD                                                                                     EATON RAPIDS       MI 48827‐9051
PULIDO, ADRIAN
PULIDO, ADRIAN                      TRACY FIRM                     5473 BLAIR RD STE 200                                                DALLAS             TX    75231‐4168
PULIDO, ANTONIO                     2901 NYSSA AVE                                                                                      MCALLEN            TX    78501‐6664
PULIDO, CARMEN                      POB 71                                                                                              OTISVILLE          MI    48463
PULIDO, HERLINDA                    5655 YOUNG RD                                                                                       BELLEVUE           MI    49021‐9432
PULIDO, JAMIE                       21706 NEVADA AVE                                                                                    EASTPOINTE         MI    48021‐2334
PULIDO, JESSE                       2137 W CUYLER AVE                                                                                   CHICAGO            IL    60618‐3013
PULIDO, JESUS                       COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                                       CHICAGO            IL    60602
                                                                   FLOOR
PULIDO, LINO                        3400 SAINT LOUIS AVE                                                                                FORT WORTH          TX   76110‐4137
PULIDO, MARIA                       28924 ALCORCON                 C/O JOSE ANTONIO#2 10TH FLOOR C              MADRID FA SPAIN

PULIDO, MARIANO                     2313 YARROW ST                                                                                      MISSION            TX    78574‐7911
PULIDO, MARICELA                    TRACY FIRM                     5473 BLAIR RD STE 200                                                DALLAS             TX    75231‐4168
PULIDO, MARIO                       1716 N LARRABEE ST                                                                                  CHICAGO            IL    60614‐5622
PULIDO, NIDIA                       3729 OAK PARK AVE                                                                                   BERWYN             IL    60402
PULIDO, THERESA F                   1152 DUTTON AVE                                                                                     SANTA ROSA         CA    95407‐6911
PULIG, FRANK L                      430 ABBE RD N                                                                                       ELYRIA             OH    44035‐3751
PULIS, CHRISTOPHER R                APT 92                         3484 NORTH STATE ROAD 9                                              GREENFIELD         IN    46140‐7957
PULIS, JOYCE E                      17 DOWNING CT                                                                                       GREENFIELD         IN    46140‐1312
PULIS, MICHAEL E                    17 DOWNING CT                                                                                       GREENFIELD         IN    46140‐1312
PULIS, MICHAEL E.                   17 DOWNING CT                                                                                       GREENFIELD         IN    46140‐1312
PULIS, PHILLIP E                    11 HENDRICK RD                                                                                      FLEMINGTON         NJ    08822‐7155
PULIS, SUSAN C                      120 AVIATION RD SE                                                                                  MARIETTA           GA    30060‐2468
PULITANO, VIRGINIA A                125 PEASE RD                                                                                        SPENCERPORT        NY    14559‐1532
PULIZARI, NANCY M                   18731 NITRA AVE                                                                                     MAPLE HEIGHTS      OH    44137‐1602
PULIZOS, ARTHUR                     4425 S QUINCY AVE                                                                                   MILWAUKEE          WI    53207‐5220
PULIZZANO, GEORGE J                 1010 ARISTA BLVD                                                                                    VALRICO            FL    33594‐6729
PULIZZI, ANITA D                    1128 BILLETTER DR                                                                                   HURON              OH    44839‐2689
PULIZZI, DINO A                     2818 E BAYVIEW LN                                                                                   SANDUSKY           OH    44870‐5904
PULJANOWSKI, WALTER X               8900 S. ROBERTS RD.                                                                                 HICKORY HILLS      IL    60457
PULJU, DENISE A                     9576 ROCKLAND                                                                                       REDFORD            MI    48239‐2247
PULK, MARJORIE A                    560 MISTY BROOK LN                                                                                  ROCHESTER HILLS    MI    48307‐2884
PULKOWNIK, RICHARD S                11 FAIRELM LN                                                                                       CHEEKTOWAGA        NY    14227‐1320
PULL, ARLO R                        8944 WABASIS SHORES DR NE                                                                           GREENVILLE         MI    48838‐8376
PULL, HAROLD J                      1277 SHEPARD ST                                                                                     CRYSTAL            MI    48818‐8624
PULLA, CHRISTIAN F                  24941 WOODRIDGE DR             65‐308                                                               FARMINGTON HILLS   MI    48335
PULLANO, FRANCESCO                  3772 WESTSIDE DR                                                                                    CHURCHVILLE        NY    14428‐9775
PULLANO, IDA A                      3820 ELIJAH CT UNIT 212                                                                             SAN DIEGO          CA    92130‐6001
PULLANO, LAMBERTINO                 166 MANDARIN DR                                                                                     ROCHESTER          NY    14626‐3857
PULLANO, PAULINE                    14 BAYBERRY DR                                                                                      PEEKSKILL          NY    10566‐4859
PULLANO, ROSA                       166 MANDARIN DR                                                                                     ROCHESTER          NY    14626‐3857
PULLAR LEO G (481968)               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA    23510
                                                                   STREET, SUITE 600
PULLAR, LEO G                       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                          NORFOLK            VA 23510‐2212
                                                                   STREET, SUITE 600
PULLARA, ELEANOR J                  4 CHERYL CT                                                                                         LITTLE FALLS        NJ   07424‐1611
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Name                                 Address1                        Address2                        Address3   Address4         City              State Zip
PULLARD, BETTY J                     301 COWARD ST                                                                               DEQUINCY           LA 70633
PULLARD, TROY                        3608 CROYDON MILL WAY                                                                       RALEIGH            NC 27616‐8315
PULLDO, JAMIE                        21706 NEVADA AVE                                                                            EASTPOINTE         MI 48021
PULLELLA, FRANK                      114 DRUMMOND DR                                                                             WILMINGTON         DE 19808‐1315
PULLEN CHARLIE                       405 E TERRACE DR                                                                            PLANT CITY         FL 33563‐9020
PULLEN DIANNE                        602 LOWORN MILL ROAD                                                                        BOWDON             GA 30108
PULLEN DONALD (ESTATE OF) (489195)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
PULLEN JR, DALE C                    693 E 500 S                                                                                 CUTLER            IN   46920‐9698
PULLEN, ARNE                         13412 S HARDING AVE                                                                         ROBBINS           IL   60472‐1110
PULLEN, BEATRICE P                   1776 FISHER TRL NE                                                                          ATLANTA           GA   30345‐3423
PULLEN, BETTY J                      2223 SELMA AVE                                                                              YOUNGSTOWN        OH   44504‐1303
PULLEN, BETTY L                      628 ANNA ST                                                                                 DAYTON            OH   45407‐1435
PULLEN, CHARLES I                    3452 ENGLISH HILLS DR NW                                                                    WALKER            MI   49544‐7401
PULLEN, CHARLES L                    8330 MERRYVIEW DR                                                                           BALTIMORE         MD   21244‐2248
PULLEN, DARRELL W                    PO BOX 22                                                                                   MARTHASVILLE      MO   63357‐0022
PULLEN, DAVID B                      428 WILLIAMS RD                                                                             FLORENCE          MS   39073‐7948
PULLEN, DAVID P                      2735 S WAGNER RD UNIT 101                                                                   ANN ARBOR         MI   48103‐8738
PULLEN, DAVID PHILIP                 2735 S WAGNER RD UNIT 101                                                                   ANN ARBOR         MI   48103‐8738
PULLEN, DENNIS R                     10137 WORTHY LAMB WAY                                                                       NEW PORT RICHEY   FL   34654‐3634
PULLEN, DONALD E                     205 MINTY DR                                                                                DAYTON            OH   45415‐3014
PULLEN, DONALD R                     PO BOX 26252                                                                                DAYTON            OH   45426‐0252
PULLEN, DONNA                        RR 2 BOX 54                                                                                 WEST HAMLIN       WV   25571‐9704
PULLEN, DONNA                        RT 2 BOX 54                                                                                 WEST HAMLIN       WV   25571‐9704
PULLEN, DOROTHEA A                   21020 MITCHELLDALE AVE                                                                      FERNDALE          MI   48220‐2221
PULLEN, DOROTHY M                    901 BROOKSIDE DR #215                                                                       LANSING           MI   48917‐8213
PULLEN, EDWARD H                     949 LENNOX ST                                                                               ANN ARBOR         MI   48103‐4529
PULLEN, EVELYN                       4489 PINERIDGE CIR                                                                          DUNWOODY          GA   30338‐6540
PULLEN, FRED D                       7708 BLUE GRASS RD                                                                          ROSEDALE          MD   21237‐1413
PULLEN, FRED D                       3453 BEAVER DAM RD                                                                          ERWIN             NC   28339‐8739
PULLEN, GARY E                       RR 1 BOX 258                                                                                WEST HAMLIN       WV   25571‐9723
PULLEN, GREGORY C                    41206 JULIE DR                                                                              CLINTON TWP       MI   48038‐2063
PULLEN, HELEN I                      6868 S 350 E                                                                                CUTLER            IN   46920‐9300
PULLEN, HELEN L                      112 W SUNNYBROOK DR                                                                         ROYAL OAK         MI   48073‐2532
PULLEN, HEYWOOD                      4535 DAYVIEW AVE                                                                            DAYTON            OH   45417‐1332
PULLEN, JANET L                      8845 S COUNTY ROAD 1000 E                                                                   GALVESTON         IN   46932‐8926
PULLEN, JANIS M                      2814 89TH AVE. EAST                                                                         PARRISH           FL   34219‐8326
PULLEN, JANIS M                      2814 89TH AVE E                                                                             PARRISH           FL   34219‐8326
PULLEN, JASPER E                     575 E DRAYTON ST                                                                            FERNDALE          MI   48220‐1328
PULLEN, JASPER ERIC                  575 E DRAYTON ST                                                                            FERNDALE          MI   48220‐1328
PULLEN, JERRY R                      BOX 832                                                                                     PRINCETON         TX   75407‐0832
PULLEN, JOHN F                       2596 COUNTY LINE RD SW                                                                      ATLANTA           GA   30331‐6602
PULLEN, JOHN L                       1657 FAIRLAWN ST                                                                            DEFIANCE          OH   43512‐4014
PULLEN, JON G                        5801 W BREWER RDER                                                                          LAINGSBURG        MI   48848
PULLEN, JOSEPH K                     3211 SUSAN DR                                                                               KOKOMO            IN   46902‐7506
PULLEN, KAREN Z                      4030 NATALIE TRL                                                                            ELLENWOOD         GA   30294‐1443
PULLEN, LARRY E                      208 W SHERRY DR                                                                             TROTWOOD          OH   45426‐3610
PULLEN, LARRY E                      717 MAPLESIDE DR                                                                            TROTWOOD          OH   45426‐2539
PULLEN, LARRY EUGENE                 717 MAPLESIDE DR                                                                            TROTWOOD          OH   45426‐2539
PULLEN, LEONARD B                    302 RATHBURN ST                                                                             DE SOTO           MO   63020‐1340
PULLEN, MARILYN R                    3452 ENGLISH HILLS DR NW                                                                    WALKER            MI   49544‐7401
PULLEN, MARY S                       3505 BRENTWOOD DR                                                                           FLINT             MI   48503‐2350
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Name                  Address1                      Address2             Address3        Address4                City             State Zip
PULLEN, MELISSA R     PO BOX 22                                                                                  MARTHASVILLE      MO 63357‐0022
PULLEN, MICHAEL L     8581 W 400 S                                                                               YORKTOWN          IN 47396
PULLEN, NANCY K       95 W 140 S                                                                                 BRINGHURST        IN 46913‐9434
PULLEN, PATRICIA A    2603 E 600 S                                                                               CUTLER            IN 46920‐9321
PULLEN, PATRICIA A    3265 HOLLANDS BRANCH RD                                                                    BARBOURSVILLE     WV 25504‐9479
PULLEN, PATRICIA A    3265 HOLLAND BRANCH RD                                                                     BARBOURSVILLE     WV 25504‐9479
PULLEN, RICHARD       271 RUSH LAKE RD                                                                           PINCKNEY          MI 48169‐9102
PULLEN, RICHARD B     35331 ELM STREET                                                                           WAYNE             MI 48184‐1261
PULLEN, RITA M        18294 LAUDER ST                                                                            DETROIT           MI 48235‐2735
PULLEN, ROBERT E      2814 89TH AVE E                                                                            PARRISH           FL 34219‐8326
PULLEN, SHAWN         6420 WESTFORD RD                                                                           TROTWOOD          OH 45426‐1121
PULLEN, SHIRLEY M     3453 BEAVER DAM RD                                                                         ERWIN             NC 28339‐8739
PULLEN, TERRI L       175 SHOOP AVE                                                                              DAYTON            OH 45417‐2245
PULLEN, TERRY T       2604 HICKORY DR                                                                            TROTWOOD          OH 45426‐2074
PULLEN, THOMAS D      307 SHORT ST                                                                               CREIGHTON         MO 64739‐9110
PULLEN, TOM L         95 WEST 140 SOUTH                                                                          BRINGHURST        IN 46913‐9434
PULLEN, TROY J        4958 S 650 W                                                                               RUSSIAVILLE       IN 46979‐9515
PULLEN, URSULA H      208 W SHERRY DR                                                                            TROTWOOD          OH 45426‐3610
PULLEN, WILLIAM J     47266 HUNTERS CHASE DR                                                                     MACOMB            MI 48042‐5128
PULLEN, WILLIAM L     4438 CARRELL RD                                                                            LEWISTON          MI 49756‐7593
PULLEN, WILLMON T     557 DENVER ST                                                                              LANSING           MI 48910‐3437
PULLEN,SHAWN          6420 WESTFORD RD                                                                           TROTWOOD          OH 45426‐1121
PULLENS, VERNON
PULLER'S REPAIRS      220 PETERSEN RD                                                    CAMPBELL RIVER BC V9W
                                                                                         3H4 CANADA
PULLER, ROBERT L      5370 SEEBALDT ST                                                                           DETROIT          MI   48204‐4233
PULLETT, MAGGIE       1007 GLENWOOD DR                                                                           DANVILLE         IL   61832‐3454
PULLEY II, MARTIN E   3410 E 5TH ST                                                                              DAYTON           OH   45403‐2745
PULLEY JOHN           PULLEY, JOHN                  1286 W. JULIAH AVE                                           FLINT            MI   48505‐1410
PULLEY, AGNES L       12 BARTLES COURT                                                                           VANDALIA         OH   45377‐2201
PULLEY, AGNES L       12 BARTLES CT                                                                              VANDALIA         OH   45377‐2201
PULLEY, ALICE         1708 YOKANO APT A                                                                          BALTIMORE        MD   21234
PULLEY, BARBARA M     10901 TANGELO TER                                                                          BONITA SPRINGS   FL   34135‐9023
PULLEY, BILLY J       784 CLAXTON ROAD                                                                           GIRARD           GA   30426‐4410
PULLEY, CRYSTAL A     1201 GOLDEN VICARY DR                                                                      WARRENTON        MO   63383‐3345
PULLEY, EDITH M       135 ROBIN AVE N                                                                            BATTLE CREEK     MI   49037
PULLEY, ELIZABETH J   217 GRIER MANOR CT                                                                         MCDONOUGH        GA   30253
PULLEY, FRANCIS W     10901 TANGELO TER                                                                          BONITA SPRINGS   FL   34135‐9023
PULLEY, HAROLD L      870 LAKESHORE DR                                                                           MARION           IN   46953‐5391
PULLEY, HARRY S       2815 WESTCHESTER RD                                                                        LANSING          MI   48911‐1042
PULLEY, JAMES L       2442 KITTLE ROAD NORTHWEST                                                                 DALTON           GA   30720‐6203
PULLEY, JAMES T       610 GREEN RIVER DR                                                                         WAYNESBORO       TN   38485‐2510
PULLEY, JAMES W       704 SIR WINSTON PL                                                                         FRANKLIN         TN   37064‐5437
PULLEY, JEROME        135 ROBIN AVE N                                                                            BATTLE CREEK     MI   49037‐1036
PULLEY, JERRY D       106 ANGIE CT                                                                               TROY             MO   63379‐2409
PULLEY, JOHN          1286 W JULIAH AVE                                                                          FLINT            MI   48505‐1410
PULLEY, JOHN M        1708 KING ST                                                                               JANESVILLE       WI   53546‐6030
PULLEY, JULIE A       1708 KING ST                                                                               JANESVILLE       WI   53546‐6030
PULLEY, KIMBERLY C    PO BOX 680743                                                                              FRANKLIN         TN   37068‐0743
PULLEY, KIRK          NO ADDRESS FOR CLMT
PULLEY, LAWRENCE R.   33855 N REYNOLDS RD                                                                        RAYVILLE         MO 64084‐9085
PULLEY, LAWRENCE R.   33855 REYNOLDS RD.                                                                         RAYVILLE         MO 64084‐9085
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Name                        Address1                        Address2                    Address3                     Address4         City               State Zip
PULLEY, LLOYD C             2625 PATTERSON RD                                                                                         FLORISSANT          MO 63031‐1705
PULLEY, MALCOLM MAURICE     2126 BRUCE AVE                                                                                            LANSING             MI 48915‐1167
PULLEY, RALPH L             1184 COLBY CT                                                                                             SAINT PETERS        MO 63376‐5520
PULLEY, SHIRLEY R           252 HOCH ST                                                                                               DAYTON              OH 45410‐1516
PULLEY, TEDDY M             3500 IRWIN ROAD                                                                                           LITTLE ROCK         AR 72210‐5218
PULLEY, WILLA M             4841 SINCLAIR LANE                                                                                        BALTIMORE           MD 21206‐6938
PULLEY, WILLIAM E           1228 ORCHARD ST                                                                                           OWOSSO              MI 48867‐4919
PULLEY, WINIFRED E          3730 CLEMENTS STREET                                                                                      DETROIT             MI 48238
PULLIAM ENTERPRISES INC     RANDALL PULLIAM                 PULL RITE                   13790 EAST JEFFERSON BLVD.                    URBANA               IL 61803

PULLIAM ENTERPRISES, INC    RANDALL PULLIAM                 PULL RITE                   13790 EAST JEFFERSON BLVD.                    URBANA              IL   61803

PULLIAM, ANTHONY M          2764 KADLER DR. APT. #10                                                                                  BELOIT             WI    53511
PULLIAM, BILLY M            PO BOX 732                                                                                                BESSEMER           AL    35021‐0732
PULLIAM, CLINTON O          357 ALCATRAZ AVE                                                                                          OAKLAND            CA    94618‐1369
PULLIAM, DENNIS W           19701 E 280TH TER                                                                                         HARRISONVILLE      MO    64701‐6396
PULLIAM, DIANA L.           1636 TANGLEWOOD                                                                                           YOUNGSTOWN         OH    44505‐1320
PULLIAM, EDDIE W            19803 E 280TH TRR                                                                                         HARRISONVILLE      MO    64701
PULLIAM, EDWARD E           1616 MURAL RD                                                                                             GALENA             MO    65656‐4672
PULLIAM, EURE C             2577 SAN PABLO AVE APT 402                                                                                BERKELEY           CA    94702‐2004
PULLIAM, EVANGELINE L       PO BOX 50303                                                                                              FORT WAYNE         IN    46805‐0303
PULLIAM, GAYLE T            8915 WOODACRE LN                                                                                          INDIANAPOLIS       IN    46234‐2848
PULLIAM, GEORGE L           1494 JOHN CLARK RD                                                                                        DOVER              DE    19904‐5422
PULLIAM, JEFF O             1647 GARFIELD AVE                                                                                         BELOIT             WI    53511‐3330
PULLIAM, JESSIE A           12655 S NEW GARDEN RD                                                                                     EXCLSOR SPRGS      MO    64024‐6252
PULLIAM, JOANN              APT 2D                          4205 SAINT ANDREWS CIRCLE                                                 MISHAWAKA          IN    46545‐8208
PULLIAM, LARRY W            701 PHEASANT RD                                                                                           HARRISONVILLE      MO    64701‐2815
PULLIAM, LAWRENCE G         52058 PEBBLE CREEK DR                                                                                     CHESTERFIELD       MI    48047‐5971
PULLIAM, LORESE             23860 W 57TH ST                                                                                           SHAWNEE            KS    66226‐2941
PULLIAM, LOUIE J            23860 WEST 57TH STREET                                                                                    SHAWNEE            KS    66226‐2941
PULLIAM, MARGUERITE         28801 BALMORAL WAY                                                                                        FARMINGTON HILLS   MI    48334‐5107
PULLIAM, MATHLON K          4117 MOUNTAIN COVE DR D                                                                                   CHARLOTTE          NC    28216
PULLIAM, MICHAEL O          3922 GILFORD CIR                                                                                          LANSING            MI    48911‐4307
PULLIAM, NORMA J            5406 E 1100 S                                                                                             LADOGA             IN    47954‐7237
PULLIAM, PATRICIA C         2500 RIDGECROFT AVE SE                                                                                    GRAND RAPIDS       MI    49546‐8000
PULLIAM, REBECCA S          6028 HEDGEROW CIR                                                                                         GRAND BLANC        MI    48439‐9788
PULLIAM, RICHARD L          13277 NORRIS RD                                                                                           RAYVILLE           MO    64084‐8252
PULLIAM, ROBERT E           PO BOX 45                                                                                                 ELKMONT            AL    35620‐0045
PULLIAM, RUBY               14 MORGAN LN                                                                                              COLUMBUS           MS    39705‐5500
PULLIAM, RUSSELL D          3600 E 12TH ST APT 103                                                                                    KANSAS CITY        MO    64127‐1510
PULLIAM, RUTH V             PO BOX 1298                                                                                               BALDWIN            MI    49304‐1298
PULLIAM, SHARON             3326 24TH STREET                                                                                          DETROIT            MI    48208
PULLIAM, SHIRLEY G          3922 GILFORD CIR                                                                                          LANSING            MI    48911
PULLIAM, STEVEN W           3737 LONG DR                                                                                              EDWARDSVILLE       IL    62025‐4572
PULLIAM, THELMA             2725 ROCKLEDGE TRAIL                                                                                      DAYTON             OH    45430‐1931
PULLIAM, TOBY R             6028 HEDGEROW CIR                                                                                         GRAND BLANC        MI    48439‐9788
PULLIAM, TRUDENCE R         2328 CALIFORNIA                                                                                           SAYNAW             MI    48601
PULLIAM, TRUDENCE ROSSAYN   1202 RANDOLPH ST                                                                                          SAGINAW            MI    48601‐3864
PULLIAM, WILLIE B           4205 N RITTER AVE                                                                                         INDIANAPOLIS       IN    46226‐3361
PULLICIN, RICHARD J         PO BOX 126                                                                                                METAMORA           MI    48455‐0126
PULLICIN, WILLIAM A         6547 WILLOW RD                                                                                            W BLOOMFIELD       MI    48324‐2053
PULLIE, FLORENCE            PO BOX 90334                                                                                              ROCHESTER          NY    14609‐0334
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Name                             Address1                            Address2                         Address3                 Address4               City            State Zip
PULLIE, FLORENCE                 P. O. BOX 90334                                                                                                      ROCHESTER        NY 14609
PULLIE, FRANK                    PO BOX 90334                                                                                                         ROCHESTER        NY 14609‐0334
PULLIE, MELVIN                   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                                     SAGINAW          MI 48604‐2602
                                                                     260
PULLIEN, BERNARD L               3584 FARMHURST LN                                                                                                    COLUMBUS        OH 43204‐1088
PULLIN TIMOTHY & CORTNEY         PULLIN, CORTNEY                     400 SW LONGVIEW BLVD SUITE 280                                                   LEES SUMMIT     MO 64081

PULLIN, CORTNEY                  KROHN & MOSS ‐ MO                    400 SW LONGVIEW BLVD STE 280                                                    LEES SUMMIT     MO    64081‐2157
PULLIN, DAVID L                  4455 LAKESHORE DR                                                                                                    SHREVEPORT      LA    71109‐3029
PULLIN, ELEANORE J               11929 CUPWORTH COURT                                                                                                 HUNTERSVILLE    NC    28078‐3738
PULLIN, LARRY                    155 DOE RUN DR                                                                                                       FAIRBURN        GA    30213‐3123
PULLIN, MELZIE                   1719 MILL ACRES DR SW                                                                                                ATLANTA         GA    30311‐3810
PULLIN, SHIRLA R                 APT 9                                70 CEDAR BLUFF DRIVE                                                            LAKE ST LOUIS   MO    63367‐2807
PULLIN, WILLIAM A                145 KRAML DRIVE                                                                                                      BURR RIDGE      IL    60527‐0301
PULLING SR, DARRELL J            4700 BARTON RD                                                                                                       WILLIAMSTON     MI    48895‐9306
PULLING, AGNES T                 2447 N WILLIAMSTON RD                                                                                                WILLIAMSTON     MI    48895‐9462
PULLING, AGNES T                 2447 NORTH WILLIAMSTON                                                                                               WILLIAMSTON     MI    48895
PULLING, CLYDE J                 126 SMITH ST                                                                                                         PORTLAND        MI    48875‐1463
PULLING, KEITH J                 8724 PECKINS RD                                                                                                      LYONS           MI    48851‐9745
PULLING, KEITH JAMES             8724 PECKINS RD                                                                                                      LYONS           MI    48851‐9745
PULLING, MARTIN L                8227 SUNSET DR                                                                                                       LYONS           MI    48851‐9696
PULLINGS, ANNIE D                625 N LOCKE ST                                                                                                       KOKOMO          IN    46901‐3010
PULLINS, ALLISON F               139 E BAY DR                                                                                                         WALLED LAKE     MI    48390‐3526
PULLINS, BEVERLY J               3304 DICKSON LANE                    APT 246                                                                         KOKOMO          IN    46902
PULLINS, BEVERLY J               3304 DIXON LN APT 246                                                                                                KOKOMO          IN    46902‐3071
PULLINS, CLARENCE                133 OLD COUNTRY CLUB RD                                                                                              NATCHEZ         MS    39120‐8966
PULLINS, CORDA                   500 HILLCLIFF DR                                                                                                     WATERFORD       MI    48328‐2518
PULLINS, CORDA                   500 HILLCLIFF                                                                                                        PONTIAC         MI    48328‐2518
PULLINS, GORDON B                5063 ROLLING ROCK CT                                                                                                 COLUMBUS        OH    43229‐4783
PULLINS, JERRY                   1709 MENIFEE                                                                                                         ANDERSON        IN    46016
PULLINS, LEONARD M               5323 WILL SCARLET LN                                                                                                 INDIANAPOLIS    IN    46228‐2181
PULLINS, LOLA E                  5063 ROLLING ROCK CT                                                                                                 COLUMBUS        OH    43229‐4783
PULLINS, PATRIA A                APT 406                              8 HERTEL AVENUE                                                                 BUFFALO         NY    14207‐2530
PULLINS, ROBERT M                926 KENSINGTON AVE                                                                                                   BUFFALO         NY    14215‐2701
PULLINS, VERNICE C               317 KRISTINA LYNN PLACE                                                                                              ENGLEWOOD       OH    45322‐5322
PULLIS, JAMES E                  6393 SALINE DR                                                                                                       WATERFORD       MI    48329‐1375
PULLIS, MICHAEL G                5699 COOMER RD                                                                                                       W BLOOMFIELD    MI    48324‐1110
PULLIS, PATRICIA A               9016 TACKLES DR                                                                                                      WHITE LAKE      MI    48386‐1571
PULLIUM, RUSH J                  100 LA SALLE ST APT 18D                                                                                              NEW YORK        NY    10027‐4731
PULLMAIN, PENNY M                259 CAREY RD                                                                                                         MASSENA         NY    13662‐3366
PULLMAN BANK AND TRUST COMPANY   1000 EAST 111TH STREET                                                                                               CHICAGO         IL    60697
PULLMAN BANK AND TRUST COMPANY   ATTN: CORPORATE OFFICER/AUTHORIZED   1000 E 111TH ST                                                                 CHICAGO         IL    60628‐4697
                                 AGENT
PULLMAN BANK OF COMMERCE &       F/K/A BANK OF COMMERCE & INDUSTRY    ATTN: CORPORATE                 6100 N NORTHWEST HWY                            CHICAGO          IL   60631‐2191
INDUSTRY                                                              OFFICER/AUTHORIZED AGENT
PULLMAN BANK OF COMMERCE &       F/K/A BANK OF COMMERCE & INDUSTRY    6100 N NORTHWEST HWY                                                            CHICAGO          IL   60631
INDUSTRY
PULLMAN DE QUERETARO SA DE CV    HORACIO MATUS                        CARR QUERETARO SLP KM 28.5      LOTE 25‐2 MANZANA NO 1                          FOSTORIA        OH 44830
                                                                                                      PARQUE
PULLMAN DE QUERETARO SA DE CV    CARR QUERETARO SLP KM 28.5           LOTE 25‐2 MANZANA NO 1 PARQUE                            QUERETARO SANTA ROSE
                                                                      INDST                                                    QA 76220 MEXICO
PULLMAN IND. INC.‐BUTLER, IN     ANTHONY / SHAWN COLEMAN              400 GALLERIA OFFICE CENTER    STE. 215                                          BUTLER           IN   48034
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Name                              Address1                       Address2                     Address3   Address4                City                State Zip
PULLMAN IND. INC.‐BUTLER, IN      RICH WOMACK                    400 GALLERIA OFFICE CENTER   STE. 215                           BUTLER               IN 48034
PULLMAN IND. INC.‐S. HAVEN, MI    ANTHONY / SHAWN COLEMAN        02000 VETERANS BLVD                                             SOUTH HAVEN          MI 49090‐8399
PULLMAN IND. INC.‐S. HAVEN, MI    RICH WOMACK                    02000 VETERANS BLVD                                             SOUTH HAVEN          MI 49090‐8399
PULLMAN INDUSTRIES                GARRY KAZACZUN                 02000 VETERANS BLVD.                                            CARTHAGE             MS
PULLMAN INDUSTRIES INC            28207 VAN DYKE AVE                                                                             WARREN               MI 48093‐2713
PULLMAN INDUSTRIES INC            100 VETERANS BLVD                                                                              SOUTH HAVEN          MI 49090‐8630
PULLMAN JESSIE A                  12655 S NEW GARDEN RD                                                                          EXCELSIOR SPRINGS    MO 64024‐6252
PULLMAN JR, WILFRED J             PO BOX 487                                                                                     SAINT JOHNS          MI 48879‐0487
PULLMAN, PETER L                  287 LOUVAINE DR                                                                                KENMORE              NY 14223‐2322
PULLMAN, RICHARD J                722 HOMESTEAD PL                                                                               JOLIET                IL 60435‐5108
PULLMAN, SALLY A                  116 ROUNDUP RD                                                                                 GLENDORA             CA 91741‐3840
PULLMAN, WILFRED J                4750 AVERY LN APT 2                                                                            GRAND LEDGE          MI 48837‐8139
PULLMAN/QUERETARO                 CARR QRO SLP KM 28.5           L 25‐2, M.1                             QUERETARO QU 76220
                                                                                                         MEXICO
PULLMATIC MANUFACTURING           430 COCHRAN DRIVE                                                      UNIONVILLE ON L3R A
                                                                                                         CANADA
PULLMATIC MFG‐ MAGNA POWERTRAIN   LIBBY BLAIR                    430 COCHRANE DR                         MARKHAM ON L3R 8E3
                                                                                                         CANADA
PULLMATIC/UNIONVILLE              430 COCHRAN DRIVE                                                      UNIONVILLE ON L3R AE3
                                                                                                         CANADA
PULLO, ROBERT D                   921 HARRISON AVE                                                                               NIAGARA FALLS       NY   14305‐1106
PULLOM, EDDIE                     3425 LAPEER RD APT 33                                                                          FLINT               MI   48503‐6002
PULLOM, WINNIE B                  7501 E JEFFERSON APT 1104                                                                      DETROIT             MI   48214‐2583
PULLON, LILBURN J                 3600 S SNODDY RD                                                                               BLOOMINGTON         IN   47401‐9409
PULLOS, DANIEL D                  12708 SHENANDOAH TRL                                                                           PLAINFIELD          IL   60585‐4703
PULLOU, CAROL F                   100 STONY RIDGE CT                                                                             HILLSDALE           MI   49242
PULLOU, MARK C                    13631 W DUNBAR RD                                                                              DUNDEE              MI   48131‐9799
PULLOU, MARK CHARLES              13631 W DUNBAR RD                                                                              DUNDEE              MI   48131‐9799
PULLUKAT, ALEX J                  49718 WATERSTONE EST CL                                                                        NORTHVILLE          MI   48168
PULLUKAT, PHILIP J                6622 CATHEDRAL DR                                                                              BLOOMFIELD HILLS    MI   48301‐3045
PULLUM, JOHN E.                   4284 ASHLAWN DR                                                                                FLINT               MI   48507‐5601
PULLUM, JOHNNY F                  214 STRATFORD LN                                                                               JACKSON             TN   38305‐6409
PULLUM, ROBERT A                  2343 SANTA FE PIKE                                                                             SANTA FE            TN   38482‐3326
PULLUM, TEDDY J                   8408 MILLER RD                                                                                 SWARTZ CREEK        MI   48473‐1248
PULLY III, HARRY C                8338 LINDEN RD                                                                                 SWARTZ CREEK        MI   48473‐9151
PULLY III, HARRY CLIFTON          8338 LINDEN RD                                                                                 SWARTZ CREEK        MI   48473‐9151
PULLY JR, HARRY C                 8338 LINDEN RD                                                                                 SWARTZ CREEK        MI   48473‐9151
PULLY, JACK H                     1255 S GRAHAM RD                                                                               FLINT               MI   48532‐3536
PULLY, MARY A                     606 SUNSET AVE                                                                                 ELKHART             IN   46514‐3448
PULLY, NELDA E                    2105 TYLER ST.                                                                                 POCAHANTAS          AR   72455‐2553
PULLY, NELDA E                    2105 TYLER ST                                                                                  POCAHONTAS          AR   72455‐2553
PULLY, ROBERT J                   7228 NC HIGHWAY 87 NORTH                                                                       REIDSVILLE          NC   27320‐0184
PULLY, ROBERT J                   7228 NC HWY 87 N                                                                               REIDSVILLE          NC   27320‐0184
PULLY, STEVEN L                   268 HICKORY ST                                                                                 MONTROSE            MI   48457‐9418
PULLY, WILLIAM C                  G3382 ARLENE AVE                                                                               FLINT               MI   48532‐4801
PULLYBLANK, LYNN R                5297 WHEELOCK RD                                                                               MOUNT MORRIS        NY   14510‐9652
PULMONARY & CRITICAL              1520 S MAIN ST STE 2                                                                           DAYTON              OH   45409‐2643
PULMONARY ASSOC PC                G3252 BEECHER RD                                                                               FLINT               MI   48532‐3614
PULMONARY CRITICAL C              44199 DEQUINDRE SUITE 618                                                                      TROY                MI   48085
PULMONARY CRITICAL C              1520 S MAIN ST STE 2                                                                           DAYTON              OH   45409‐2643
PULMONARY FIBROSIS FOUNDATION     1332 N HALSTED ST STE 201                                                                      CHICAGO             IL   60642‐2691
PULMONARY SERVICES P              8962 RELIABLE PKWY                                                                             CHICAGO             IL   60686‐0001
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Name                            Address1                             Address2                        Address3   Address4                 City              State Zip
PULMONARY TECHNOLOGY INC        200 WINDSOR DRIVE                                                                                        OAK BROOK           IL 60523
PULOS DAVID J (355019)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                     STREET, SUITE 600
PULOS, DAVID J                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA 23510‐2212
                                                                     STREET, SUITE 600
PULPFREE INC                    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 13795                                                        NEWARK             NJ   07188‐3795
                                AGENT
PULRANG, JEANNE C               6609 COLUMBUS AVE                                                                                        MINNEAPOLIS       MN    55423‐2524
PULS, BERNICE A                 5603 RUHL GARDEN DR                                                                                      KOKOMO            IN    46902
PULS, GARY L                    114 W 8TH ST                                                                                             KEARNEY           MO    64060‐8694
PULS, JUDITH A                  4800 FARMERSVILLE GERMANTN PIKE                                                                          FARMERSVILLE      OH    45325‐1219
PULS, JUNE M                    W334 S5363 RED FOX WAY                                                                                   NORTH PRAIRIE     WI    53153
PULS, LAWRENCE V                1556 KELLOGG AVE                                                                                         CORONA            CA    92879‐2915
PULS, LORENE M                  14380 LOWER GRATIS RD                                                                                    FARMERSVILLE      OH    45325‐9253
PULS, MARSHALL L                1018 BEDFORD WOODS DR                                                                                    TOLEDO            OH    43615‐4330
PULSE CLEMONCE A (407202)       GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA    23510
                                                                     STREET, SUITE 600
PULSE EMS C/O KATHLEEN MAIN     ACCT OF CATHERINE BANKSTON           1036 GRAND TRAVERSE                                                 FLINT             MI    38052
PULSE ENG/VANCOUVER             3611 NE 112TH AVE                                                                                        VANCOUVER         WA    98682‐8708
PULSE ENGINEERING ‐ VANCOUVER   3611 NE 112TH AVE                                                                                        VANCOUVER         WA    98682‐8708
PULSE ENGINEERING‐VANCOUVER     COLLEEN HILLIARD                     3611 NE 112TH AVE                                                   TUSTIN            CA    92780
PULSE ENGINEERING‐VANCOUVER     XIAOBIAN NO 1 INDUSTRIAL DISTRICT    CHANG'AN TOWN                              DONGGUAN GUANGDONG
                                                                                                                523840 CHINA (PEOPLE'S
                                                                                                                REP)
PULSE ENGINEERING‐VANCOUVER     XIAOBIAN NO 1 INDUSTRIAL DISTRICT                                               DONGGUAN GUANGDONG
                                                                                                                CN 523840 CHINA
                                                                                                                (PEOPLE'S REP)
PULSE MARKETING                 3310 W BIG BEAVER RD STE 138                                                                             TROY              MI    48084‐2807
PULSE MARKETING LLC             3310 W BIG BEAVER RD                 STE 138                                                             TROY              MI    48084‐2807
PULSE MARKETING LLC             3310 W BIG BEAVER RD STE 1308                                                                            TROY              MI    48084‐2807
PULSE, CLEMONCE A               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA    23510‐2212
                                                                     STREET, SUITE 600
PULSE, JUDITH A                 5701 PATRICIA AVE                                                                                        LAS VEGAS         NV    89130‐2526
PULSE, RONALD                   2114 CHERI CT                                                                                            FORT WAYNE        IN    46804‐7301
PULSE, RONALD                   1141 MCKINLEY ST                     APT I                                                               SANDUSKY          OH    44870‐4243
PULSE, WILLIAM H                1141 MCKINLEY ST APT I                                                                                   SANDUSKY          OH    44870‐4243
PULSE220                        STAR TRAX CORPORATE EVENTS LLC       24463 W 10 MILE RD                                                  SOUTHFIELD        MI    48033‐2931
PULSIPHER, ALAN R               1848 S 750 E                                                                                             GREENTOWN         IN    46936‐9132
PULTE CONSTRUCTION CO INC       4260 N ATLANTIC BLVD                                                                                     AUBURN HILLS      MI    48326‐1578
PULTORAK JOSEPH (460119)        KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                                       CLEVELAND         OH    44114
                                                                     BOND COURT BUILDING
PULTORAK, JOSEPH                KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                                        CLEVELAND         OH 44114
                                                                     BOND COURT BUILDING
PULVER STEPHEN                  2578 CHIPPING CT                                                                                         VILLA RICA        GA    30180‐5838
PULVER, ARDEN K                 150A GRAFTON AVE                                                                                         DAYTON            OH    45406‐5420
PULVER, BART J                  506 E 1000 N                                                                                             ROANOKE           IN    46783‐9428
PULVER, BENJAMIN R              1720 RAY STREET                                                                                          LANSING           MI    48910‐1725
PULVER, BENJAMIN R              201 W JOLLY RD APT 525                                                                                   LANSING           MI    48910
PULVER, DEREK P                 22 FORBES TER                                                                                            NORTH TONAWANDA   NY    14120‐1832
PULVER, LARRY J                 PO BOX 4314                                                                                              KANSAS CITY       KS    66104‐0314
PULVER, ROBERT D                12044 BANNER CREST DR                                                                                    EL PASO           TX    79936‐0950
PULVER, WESLEY C                3326 PINCH HWY                                                                                           POTTERVILLE       MI    48876‐8754
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Name                             Address1                           Address2                         Address3                 Address4               City               State Zip
PULVERENTI, KISHA C              2137 S 870 W                                                                                                        RUSSIAVILLE         IN 46979‐9805
PULVINO, ANTHONY L               3493 LAKEWOOD BLVD                                                                                                  NORTH PORT          FL 34287‐6149
PULVINO, ANTHONY L               804 HOUSTON RD                                                                                                      WEBSTER             NY 14580
PULVINO, GERTRUDE E              5345 MARIAN LN APT 236                                                                                              VIRGINIA BEACH      VA 23462‐1883
PULVIRENTI, ALAN R               5177 MATTAWA                                                                                                        CLARKSTON           MI 48348‐3123
PULVIRENTI, ALAN R               5177 MATTAWA DR                                                                                                     CLARKSTON           MI 48348‐3123
PUMA JR, HARRY                   20941 N MILES ST                                                                                                    CLINTON TWP         MI 48036‐1945
PUMA NICK (447101) ‐ PUMA NICK   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                    NORTHFIELD          OH 44067
                                                                    PROFESSIONAL BLDG
PUMA, ANGELO M                   117 CULPEPPER RD                                                                                                    BUFFALO            NY   14221‐3639
PUMA, CANDACE M                  2791 IRONTON AVE                                                                                                    WATERFORD          MI   48329‐4460
PUMA, DAVID F                    4028 E CHAPAROSA WAY                                                                                                CAVE CREEK         AZ   85331‐7884
PUMA, FRANK P                    1348 COTSWOLD LN                                                                                                    HAMILTON           OH   45013‐5178
PUMA, MICHELANGELO               118 KENILWORTH BLVD                                                                                                 CRANFORD           NJ   07016‐1512
PUMA, SHIRLEY M                  648 E BIANCA CIR                                                                                                    ST AUGUSTINE       FL   32086‐7612
PUMALA, JACK R                   N 8006 VANBUSKIRK RD.                                                                                               IRONWOOD           MI   49938
PUMALA, JEREMY P                 4510 MARCELLA DR                                                                                                    SHELBY TOWNSHIP    MI   48317‐1142
PUMFERY DAWN                     NO ADVERSE PARTY
PUMFORD, DANIEL B                21637 W. M‐57                                                                                                       BANNISTER          MI   48807
PUMFORD, WILLIAM T               222 FLINT ST                                                                                                        SAINT CHARLES      MI   48655‐1714
PUMFREY, GLORIA M                11630 WOOD RD                                                                                                       DEWITT             MI   48820‐9342
PUMFREY, GORDON C                4071 MITCHELL DR                                                                                                    FLINT              MI   48506‐2055
PUMFREY, JUDY E                  9075 S M52                                                                                                          PERRY              MI   48872
PUMFREY, MICHAEL D               5934 JESSUP DRIVE                                                                                                   ZEPHYRHILLS        FL   33540‐7593
PUMFREY, RONALD A                6135 FOREST LAKE DR                                                                                                 ZEPHYRHILLS        FL   33540‐7524
PUMFREY, RONALD D                11630 WOOD RD                                                                                                       DEWITT             MI   48820‐9342
PUMKLIN, KIAT                    6081 CALKINS RD                                                                                                     FLINT              MI   48532‐3202
PUMMEL, LARRY K                  1604 SAPELE DR APT B                                                                                                SPRINGFIELD        OH   45504‐4737
PUMMEL, LARRY K                  1604‐B SAPELE DR                                                                                                    SPRINGFIELD        OH   45504‐4737
PUMMELL, BRUCE K                 234 JUDD RD                                                                                                         MILAN              MI   48160‐9585
PUMMELL, CLARA K                 4305 MCNAUL RD                                                                                                      MANSFIELD          OH   44903‐9764
PUMMILL, ALICIA J                4291 MANTELL CT                                                                                                     KETTERING          OH   45440‐3870
PUMMILL, BARBARA A               6921 STONEHURST DR                                                                                                  HUBER HEIGHTS      OH   45424‐2210
PUMMILL, DAVID L                 765 WOODLAND TRACE LN                                                                                               CORDOVA            TN   38018
PUMMILL, GARY E                  4759 GOODISON PLACE DR                                                                                              OAKLAND TOWNSHIP   MI   48306‐1673
PUMMILL, GENEVA L                2120 ARAPAHO DR                                                                                                     CIRCLEVILLE        OH   43113‐9162
PUMMILL, MARK T                  474 RENOIR PL                                                                                                       DAYTON             OH   45431‐2146
PUMMILL, RONALD J                8201 MIDDLE ST                                                                                                      WAYNESVILLE        OH   45068‐9725
PUMMILL, SALLY                   4775 BONNIE RD                                                                                                      DAYTON             OH   45440‐2122
PUMMILL, THOMAS A                4291 MANTELL CT                                                                                                     KETTERING          OH   45440‐3870
PUMMILL, WARREN L                3505 ABBYWOOD ST                                                                                                    BOWLING GREEN      KY   42104‐5569
PUMMILL,RONALD J                 8201 MIDDLE ST                                                                                                      WAYNESVILLE        OH   45068‐9725
PUMO TAXI INC                    HERRICK FEINSTEIN LLP              2 PARK AVENUE                                                                    NEW YORK           NY   10016
PUMO TAXI INC                    CHARLES E DORKEY III ESQ           ALAN E KAUFMAN, ESQ, TIMOTHY J   MCKENNA LONG & ALDRIDGE 230 PARK AVENUE SUITE   NEW YORK           NY   10169
                                                                    PLUNKETT, ESQ                    LLP                     1700
PUMP & SYSTEMS                   PSI PUMPS & SYSTEMS INC            6256 N TELEGRAPH RD                                                              DEARBORN HEIGHTS   MI   48127‐3223
PUMP & SYSTEMS                   6256 N TELEGRAPH RD                                                                                                 DEARBORN HEIGHTS   MI   48127‐3223
PUMP CONSULTANTS INC             6200 MAXWELL AVE STE A                                                                                              EVANSVILLE         IN   47715‐8216
PUMP MASTERS INC                 405 CRESWELL AVE                                                                                                    SHREVEPORT         LA   71101‐4030
PUMP PRO'S INC                   7601 INNOVATION WAY                                                                                                 MASON              OH   45040‐9695
PUMP PROS INC                    7601 INNOVATION WAY                                                                                                 MASON              OH   45040‐9695
PUMP SYSTEMS CORPORATION         12 APPLE ST                                                                                                         ANNVILLE           PA   17003‐9697
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Name                         Address1                         Address2                         Address3                  Address4            City               State Zip
PUMP, JACK L                 8293 ELMHURST CT APT 2                                                                                          BIRCH RUN           MI 48415‐9259
PUMP, KLAUS H                45492 PLUM GROVE DR                                                                                             MACOMB              MI 48044‐4513
PUMPERA, JAMES L             2305 26TH ST                                                                                                    BAY CITY            MI 48708‐3801
PUMPERA, JAMES R             3709 W 121ST PL                                                                                                 ALSIP                IL 60803‐1211
PUMPERA, JOSEPH R            960 FOUR SEASONS BLVD                                                                                           AURORA               IL 60504‐4275
PUMPERNICKEL EXPRESS         PETER FARKAS                     350 MAIN ROAD                                                                  MONTVILLE           NJ 07045
PUMPHREY JR, WILLIAM E       PO BOX 21263                                                                                                    SEDONA              AZ 86341‐1263
PUMPHREY RONALD E (191066)   BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                                                 JACKSONVILLE        FL 32202
                             MCCLAMMA & YEGELWEL P.A.         BAY STREET
PUMPHREY, CHARLES D          3004 N TIMBER LN                                                                                                MUNCIE             IN   47304‐5434
PUMPHREY, DONALD H           2379 VENEZIA DR                                                                                                 DAVISON            MI   48423‐8775
PUMPHREY, EARL T             6407 SAINT JAMES DR                                                                                             INDIANAPOLIS       IN   46217‐3856
PUMPHREY, GEORGE J           250 POPLAR RD                                                                                                   MILLERSVILLE       MD   21108‐1254
PUMPHREY, KENNETH V          10921 REED RD                                                                                                   COLUMBIA STA       OH   44028‐9158
PUMPHREY, MARY F             SUMMER ON RIDGEWOOD              APT 201                          2385 COVINGTON ROAD                           AKRON              OH   44313‐4363
PUMPHREY, MICHAEL D          9386 COUNTRY CLUB LN                                                                                            DAVISON            MI   48423‐8310
PUMPHREY, ROBERT L           4401 WILSON SHARPSVILLE RD                                                                                      CORTLAND           OH   44410‐9463
PUMPHREY, RONALD             BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                                  JACKSONVILLE       FL   32202
                             MCCLAMMA & YEGELWEL P.A.         BAY STREET
PUMPHREY, ROY                WEITZ & LUXENBERG                180 MAIDEN LANE                                                                NEW YORK           NY   10038
PUMPHREY, SANDRA D           15602 ROAD 143                                                                                                  CECIL              OH   45821‐9735
PUMPHREY, WILLIAM E          4686 ENGLESSON DR NW                                                                                            WARREN             OH   44485‐1233
PUMPORTAL                    2 RAVENNA                                                                                                       IRVINE             CA   92614‐5329
PUMPS PLUS INC               22162 LANCREST CT                                                                                               FARMINGTON HILLS   MI   48335‐5806
PUMPS UNLIMITED              19 ALFANSO DRIVE                                                                                                CARSON CITY        NV   89706
PUMROY, JEREMY D             270 E BRAGG AVE                                                                                                 UPLAND             IN   46989‐9183
PUMROY, JO ANN               P.O.BOX 1401                                                                                                    DONNA              TX   78537
PUMROY, JOSEPHINE            PO BOX 1401                                                                                                     DONNA              TX   78537‐1401
PUN DANIEL                   274 MANNING RD                                                                                                  MARSHALL           TX   75672‐4084
PUNCH INTERNATIONAL NV       ATTN: MARC MAES, GUIDO DUMAREY   KOPERSTRAAT 1A                   9830 SINT‐MARTENS‐LATEM   BELGIUM, GERMANY

PUNCH TECH INC               2701 BUSHA HWY                                                                                                  MARYSVILLE         MI   48040‐1905
PUNCH, GARRETT F             41 PALMER DR                                                                                                    CAMP HILL          PA   17011‐7927
PUNCH, JONATHAN              205 CEDARCREEK PL                                                                                               NASHVILLE          TN   37211‐6610
PUNCHES, KATHRYN E           1673 E COMMERCE ST                                                                                              MILFORD            MI   48381‐2126
PUNCHES, LINDA L             22303 KINYON ST                                                                                                 TAYLOR             MI   48180‐3626
PUNCHES, PAUL E              740 PERRY ST                                                                                                    DEFIANCE           OH   43512‐2737
PUNCHUR, JUDITH L            474 ROUTE 422 E                                                                                                 BUTLER             PA   16002‐1087
PUNCHUR, THOMAS M            474 ROUTE 422 E                                                                                                 BUTLER             PA   16002‐1087
PUNCOCHAR, JONATHAN L        142 YORKTOWN RD                                                                                                 FRANKLIN           TN   37064‐3236
PUNCTUAL SERVICES INC        315 WALNUT ST                                                                                                   WRIGHTSVILLE       PA   17368‐1232
PUND LACI                    PUND, LACI                       7270 WILFRED ST                                                                SORRENTO           LA   70778‐3501
PUND, BETH M                 4964 W ENON RD                                                                                                  FAIRBORN           OH   45324‐9713
PUND, GARY L                 4964 W ENON RD                                                                                                  FAIRBORN           OH   45324‐9713
PUND, JEFFREY
PUND, LACI                   7270 WILFRED ST                                                                                                 SORRENTO           LA   70778‐3501
PUNDA, MARIA                 108 W PRICE ST                                                                                                  LINDEN             NJ   07036‐4259
PUNDT, ARTHUR B              909 ROOSEVELT ST                                                                                                STOUGHTON          WI   53589‐1265
PUNDT, ERMA O                45 NEWFIELD DR                                                                                                  ROCHESTER          NY   14616‐3039
PUNDY, SHARON                1426 N E SUNSET AVE                                                                                             ARCADIA            FL   34266
PUNEET SINHA                 297 W SQUIRE DR APT 7                                                                                           ROCHESTER          NY   14623‐1741
PUNG NICHOLAS                PUNG, NICHOLAS                   30928 FORD RD                                                                  GARDEN CITY        MI   48135‐1803
                                     09-50026-mg           Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                 Address1                         Address2         Address3         Address4              City               State Zip
PUNG, ADELBERT L                     115 FLORAL AVE                                                                           SAINT JOHNS         MI 48879‐1045
PUNG, BENJAMIN H                     612 W GRAND RIVER AVE                                                                    PORTLAND            MI 48875‐1124
PUNG, BERTHA                         3145 W MOUNT HOPE AVE                                                                    LANSING             MI 48911‐1665
PUNG, BRENDA L                       271 DILDINE RD                                                                           IONIA               MI 48846
PUNG, BRENDT J                       3035 GRIFFITH AVE                                                                        BERKLEY             MI 48072‐1385
PUNG, BRENDT J.                      3035 GRIFFITH AVE                                                                        BERKLEY             MI 48072‐1385
PUNG, BRIAN P                        11598 E DAVID HWY                                                                        WESTPHALIA          MI 48894‐9653
PUNG, CATHERINE M                    239 CARDINAL DR                                                                          DAHLONEGA           GA 30533
PUNG, CHAD M                         2764 BLACK EAGLE VALLEY DR       DRIVE                                                   HOWELL              MI 48843‐6925
PUNG, CHARLES E                      107 ARNOLD ST                                                                            IONIA               MI 48846‐2009
PUNG, DANIEL R                       9175 W STONE RD                                                                          FOWLER              MI 48835‐8701
PUNG, DAVID C                        735 IONIA RD                                                                             PORTLAND            MI 48875‐1028
PUNG, DAVID R                        4411 W HERBISON RD                                                                       DEWITT              MI 48820‐9214
PUNG, DEBRA L                        PO BOX 43                                                                                MULLIKEN            MI 48861‐0043
PUNG, DENNIS U                       620 TIM CT                                                                               TAWAS CITY          MI 48763‐9233
PUNG, GARY L                         6699 MUSGROVE HWY                                                                        SUNFIELD            MI 48890‐9024
PUNG, GAY L                          300 WEST ROBINSON                                                                        CHARLEVOIX          MI 49720‐1641
PUNG, GAY L                          300 ROBINSON ST                                                                          CHARLEVOIX          MI 49720‐1641
PUNG, HEATHER R                      1254 TIMBER RIDGE CT                                                                     MILFORD             MI 48380‐3662
PUNG, JOHN N                         4376 DERRY RD                                                                            BLOOMFIELD HILLS    MI 48302‐1834
PUNG, JOHN N                         4376 DERRY ROAD                                                                          BLOOMFIELD          MI 48302‐1834
PUNG, JONATHAN                       3868 FORESTER BOULEVARD                                                                  AUBURN HILLS        MI 48326‐3051
PUNG, JUDITH J                       13265 S JONES RD                                                                         EAGLE               MI 48822‐9609
PUNG, JUDITH J                       13265 SOUTH JONES RD                                                                     EAGLE               MI 48822‐9609
PUNG, KATHY A                        21075 WOODLAND GLEN              APT 202                                                 NORTHVILLE          MI 48167
PUNG, KATHY A                        21075 WOODLAND GLEN DR APT 202                                                           NORTHVILLE          MI 48167‐2451
PUNG, KENNETH M                      2575 N HUBBARDSTON RD                                                                    PEWAMO              MI 48873‐9721
PUNG, LINDA M                        311 W SAN MIGUEL ST                                                                      COLORADO SPRINGS    CO 80905‐1072
PUNG, LISABETH S                     4258 BELLE MEADE CIR                                                                     BELMONT             NC 28012‐6506
PUNG, MARK R                         10166 VANBUREN RD                                                                        PORTLAND            MI 48875‐9417
PUNG, MARTIN A                       1801 W MCCLELLAN ST                                                                      FLINT               MI 48504‐2587
PUNG, MATTHEW E                      PO BOX 215                                                                               MIDDLETON           MI 48856‐0215
PUNG, MICHAEL E                      14196 CHADWICK RD                                                                        PORTLAND            MI 48875‐9308
PUNG, MICHAEL J                      107 ARNOLD ST                                                                            IONIA               MI 48846‐2009
PUNG, MICHAEL J                      107 AROULD ST                                                                            IONIA               MI 48846
PUNG, PAUL H                         14165 W FRENCH RD                                                                        PEWAMO              MI 48873‐9622
PUNG, PETER H                        11175 W PRICE RD # R2                                                                    WESTPHALIA          MI 48894
PUNG, RALPH J                        545 N ELM ST                                                                             FOWLER              MI 48835‐9705
PUNG, RANDY J                        10803 E IONIA ST                                                                         FOWLER              MI 48835‐9795
PUNG, ROBERT A                       610 GRAPE ST                                                                             PORTLAND            MI 48875‐1026
PUNG, ROBERT L                       300 ROBINSON ST                                                                          CHARLEVOIX          MI 49720‐1641
PUNG, ROSEMARY T.                    15101 S HINMAN RD                                                                        EAGLE               MI 48822‐9703
PUNG, SHARON L                       9480 W STONE RD                                                                          FOWLER              MI 48835‐8720
PUNG, STEVEN R                       2590 IONIA ST                                                                            CRYSTAL             MI 48818‐9608
PUNG, THOMAS A                       10711 BARNES RD                                                                          PORTLAND            MI 48875‐8628
PUNG, WENDELL S                      2750 W LOCHER RD                                                                         DEWITT              MI 48820‐9765
PUNG, WILLIAM M                      6381 KNOX RD                                                                             PORTLAND            MI 48875‐8793
PUNI BAKER                           6009 SE56TH ST                                                                           OKLAHOMA CITY       OK 73135
PUNITIVE DAMAGES ‐ BREACH OF CONTT   NO ADVERSE PARTY

PUNKANG CO LTD                       36 1 SUCKCHEON‐RI WOOJUNG‐EUP    HWASONG‐SI                        GYEONGGI‐DO 445‐951
                                                                                                        KOREA (REP)
                                      09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                                  Address1                        Address2            Address3         Address4         City                  State Zip
PUNNAHITANOND, KAMROB                 1669 ASTER DR                                                                         ROMEOVILLE              IL 60446‐5116
PUNNEO, ROY WAYNE
PUNNETT, RICHARD W                    41420 HARRIS RD                                                                       BELLEVILLE            MI    48111‐9120
PUNNETT, ROBERT B                     9845 NEWBURG RD                                                                       TECUMSEH              MI    49286‐9754
PUNNETT, SANDRA L                     415 E WILLIAMS ST                                                                     OWOSSO                MI    48867‐2455
PUNONGBAYAN, PERFECTO G               1241 SECRET LAKE LOOP                                                                 LINCOLN               CA    95648‐8409
PUNT CHEVROLET‐PONTIAC‐CADILLAC, IN   1001 8TH ST SE                                                                        ORANGE CITY           IA    51041‐7449

PUNT CHEVROLET‐PONTIAC‐CADILLAC, INC 1001 8TH ST SE                                                                         ORANGE CITY            IA   51041‐7449

PUNT CHEVROLET‐PONTIAC‐CADILLAC, INC. JOEL PUNT                       1001 8TH ST SE                                        ORANGE CITY            IA   51041‐7449

PUNTEL, BRENDA L                      275 S RACCOON RD                                                                      YOUNGSTOWN            OH    44515‐2627
PUNTEL, CAROLINE C                    3215 W 38TH ST                                                                        CLEVELAND             OH    44109‐1315
PUNTEL, GENE R                        5315 W RADIO RD                                                                       AUSTINTOWN            OH    44515‐1823
PUNTEL, JOSEPH                        149 BENTON ST                                                                         AUSTINTOWN            OH    44515‐1725
PUNTEL, RONALD J                      923 KIRWAN DR                                                                         AUSTINTOWN            OH    44515‐3342
PUNTIERI, NICOLA M                    18 TAMWORTH RD                                                                        NORWOOD               MA    02062‐5527
PUNTONIO, JERRY J                     7 DELUCA RD                                                                           MILFORD               MA    01757‐2206
PUNTURIERO, AUGUSTINO J               455 MEADOW DR                                                                         BUFFALO               NY    14224‐1517
PUNZALAN, SOCORRO                     6217 KEY WEST DR                                                                      BAKERSFIELD           CA    93313‐5125
PUNZEL JR, HOWARD V                   4315 CASA VERDE DR                                                                    FORT WAYNE            IN    46816‐1613
PUNZEL, LEROY E                       1140 N HURON DR                                                                       JANESVILLE            WI    53545‐1318
PUNZEL, PAUL E                        6717 LUDINGTON DR                                                                     FORT WAYNE            IN    46816‐4107
PUNZEL, PAUL EDWARD                   6717 LUDINGTON DR                                                                     FORT WAYNE            IN    46816‐4107
PUNZEL, ROBERT G                      1423 LA SALLE ST                                                                      JANESVILLE            WI    53546‐2422
PUPATELLI, SANDRA M                   127 OGDEN PARMA TOWN LINE RD                                                          SPENCERPORT           NY    14559‐1623
PUPEL, HELENE J                       2523 S PERILLO DR                                                                     TUCSON                AZ    85710‐7974
PUPEL, JOSEPH A                       2523 S PERILLO DR                                                                     TUCSON                AZ    85710‐7974
PUPETER, MARVIN J                     15611 BETHANY COURT                                                                   SOUTH BELOIT          IL    61080‐9718
PUPILLO, DOMINIC S                    6892 RATTALEE LAKE RD                                                                 CLARKSTON             MI    48348‐1954
PUPILLO, JASON A                      3 WOODBURY CT                                                                         WILMINGTON            DE    19905‐1064
PUPILLO, JOHN J                       3 WOODBURY CT                                                                         WILMINGTON            DE    19805‐1064
PUPILLO, MARY                         1807 GILPIN AVENUE                                                                    WILMINGTON            DE    19806‐2305
PUPILLO, SAM S                        25614 HURON ST                                                                        ROSEVILLE             MI    48066‐4908
PUPINO JR, NICHOLAS J                 7007 CLINGAN RD UNIT 9                                                                POLAND                OH    44514‐2478
PUPKA, WARREN F                       12319 HIAWATHA DR                                                                     SHELBY TOWNSHIP       MI    48315‐1252
PUPKIEWICZ, PATRICK                   610 N BLOCKI CT                                                                       LAKE ORION            MI    48362‐2974
PUPO, OMAR A                          PO BOX 2086                                                                           LOGANVILLE            GA    30052
PUPO, PETER J                         12501 ULMERTON RD                                                                     LARGO                 FL    33774
PUPO, PETER J                         12501 ULMERTON RD               LOT 181                                               LARGO                 FL    33774
PUPPAN JR, JOHN                       670 RED PINE DR                                                                       FLINT                 MI    48506‐5231
PUPPAN, JAMES                         9784 WHITMORE LAKE RD                                                                 BRIGHTON              MI    48116‐8538
PUPPAN, ROZALIA                       9784 WHITMORE LAKE RD                                                                 BRIGHTON              MI    48116‐8538
PUPPIES BEHIND BARS                   99 MADISON AVE FL 2                                                                   NEW YORK              NY    10016‐7419
PUPPO PATRICK (510309)                WILENTZ GOLDMAN & SPITZER       PO BOX 10                                             WOODBRIDGE            NJ    07095‐0958
PUPPO, PATRICK                        WILENTZ GOLDMAN & SPITZER       PO BOX 10                                             WOODBRIDGE            NJ    07095‐0958
PUPPOS, JEFFREY M                     1804 KENMORE DR                                                                       GROSSE POINTE WOODS   MI    48236‐1982
PUPUCEVSKI, LJUBICA                   53 ALGER DR                                                                           ROCHESTER             NY    14624‐4842
PURALEWSKI, STANLEY                   705 WILSON ST                                                                         BAY CITY              MI    48708‐7765
PURANEN, ANNA J                       41604 JANET DR                                                                        CLINTON TWP           MI    48038‐2057
PURANEN, WILLARD M                    717 MARSHA DR                                                                         KOKOMO                IN    46902‐4339
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Name                                   Address1                          Address2                      Address3   Address4         City                State Zip
PURBAUGH, WILLIAM J                    8361 LANMARK DR                                                                             MENTOR               OH 44060‐2430
PURCE DANIEL                           23 S ALDER ST                                                                               DAYTON               OH 45417‐1820
PURCE DANIEL                           23 SOUTH ALDER STREET                                                                       DAYTON               OH 45417‐1820
PURCE, LAVERNE                         2846 BELLWOOD AVENUE                                                                        COLUMBUS             OH 43209‐1130
PURCEL NORMAN                          500 PALM DR                                                                                 HALLANDALE BEACH     FL 33009‐6534
PURCELL CHEVROLET                      1601 N GREEN AVE                                                                            PURCELL              OK 73080‐1730
PURCELL HARVEY WILLIAM SR (429650)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                         STREET, SUITE 600
PURCELL HELEN T (ESTATE OF) (513420)   SHEPARD LAW FIRM, PC              10 HIGH STREET, SUITE 1100                                BOSTON              MA 02110
PURCELL JANE                           813 W SAVANNA CT                                                                            DUNLAP              IL 61525‐9646
PURCELL JOHN K (466401)                ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                BALTIMORE           MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
PURCELL JR, ROBERT C                   5500 WHITEHALL BLVD                                                                         OAKLAND TOWNSHIP    MI 48306‐2281
PURCELL KENNETH R (429651)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                         STREET, SUITE 600
PURCELL SR, JERRY W                    3056 CARDINAL CIRCLE                                                                        DULUTH              GA 30096
PURCELL TIRE CO INC
PURCELL WESTERN STATES TIRE CO
PURCELL, ALLEN N                       760 BIG UGLY RD E                                                                           HARTS               WV   25524‐9458
PURCELL, ANDREW ALAN                   5406 E FARRAND RD                                                                           CLIO                MI   48420‐9167
PURCELL, ANN P                         10504 LINCOLN DR                                                                            HUNTINGTON WOODS    MI   48070‐1541
PURCELL, ANNA M                        37741 TERICREST DR                                                                          STERLING HEIGHTS    MI   48310‐3968
PURCELL, BETTY J                       43282 GAINSLEY DR                                                                           STERLING HTS        MI   48313‐1847
PURCELL, BOBBIE                        10626 S CHURCH ST                                                                           CHICAGO             IL   60643‐2910
PURCELL, CECIL M                       3437 US HIGHWAY 52                                                                          GEORGETOWN          OH   45121‐8782
PURCELL, CHRISTINA M                   420 CORMORANT DRIVE                                                                         VONORE              TN   37885‐5341
PURCELL, DAVID L                       3856 S 6 MILE RD                                                                            MERRILL             MI   48637‐9404
PURCELL, DENNIS T                      7610 SPRUCE RD                                                                              BALTIMORE           MD   21222‐1424
PURCELL, DONALD J                      427 WILER RD                                                                                HILTON              NY   14468‐9111
PURCELL, DORIS H                       2763 SUSSEX DR                                                                              SAN JOSE            CA   95127‐4049
PURCELL, DORIS M                       4020 COSSELL RD                                                                             INDIANAPOLIS        IN   46222‐4956
PURCELL, DOROTHY E                     980 WILMINGTON AVE #101                                                                     DAYTON              OH   45420‐4601
PURCELL, EDWARD E                      705 BURLINGTON RD                                                                           CANTON              MI   48188‐1501
PURCELL, EDWARD K                      2945 PINE TREE DR                                                                           EDGEWATER           FL   32141‐5617
PURCELL, ELSIE                         5539 STATE ROUTE 247                                                                        HILLSBORO           OH   45133‐7327
PURCELL, ERNEST C                      58 OLD FIELD LANE                 LOT 31                                                    WEST LIBERTY        KY   41472
PURCELL, FAY D
PURCELL, FLORENCE M                    500 STAFFORD AVE APT 4B                                                                     BRISTOL             CT   06010‐4624
PURCELL, FRANCIS L                     2014 CALUSA LAKES BLVD                                                                      NOKOMIS             FL   34275‐5322
PURCELL, GARY G                        8315 E TURNER CAMP RD                                                                       INVERNESS           FL   34453‐1703
PURCELL, GARY M                        30 TERRACE GDNS                                                                             MERIDEN             CT   06451‐5349
PURCELL, HARVEY WILLIAM                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                                         STREET, SUITE 600
PURCELL, HELEN T                       SHEPARD LAW FIRM, PC              10 HIGH STREET, SUITE 1100                                BOSTON              MA   02114‐1658
PURCELL, JACK A                        PO BOX 160                                                                                  BEECHGROVE          TN   37018‐0160
PURCELL, JACK F                        200 ORANGEWOOD DR                                                                           LAFAYETTE           LA   70503‐5127
PURCELL, JAMES C                       1861 WEXPORT LN                                                                             COMMERCE TOWNSHIP   MI   48382‐4865
PURCELL, JAMES F                       2881 MARIETTA AVE                                                                           WATERFORD           MI   48329‐3448
PURCELL, JAMES T                       651 COLFAX CT                                                                               GOLETA              CA   93117‐1649
PURCELL, JEFFREY T                     103 MEGAN TRAIL                                                                             LEWISBURG           OH   45338‐9336
PURCELL, JEFFREY T                     103 MEGAN TRL                                                                               LEWISBURG           OH   45338‐9336
PURCELL, JINNIE F                      1040 CARMICHAEL DR                                                                          MADISON             GA   30650
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Name                          Address1                         Address2                      Address3   Address4         City                State Zip
PURCELL, JOHN C               4116 FLEET LANDING BLVD                                                                    ATLANTIC BEACH       FL 32233‐7502
PURCELL, JOHN C               3120 CANEY RD                                                                              CUMMING              GA 30041‐7225
PURCELL, JOHN G               14984 N WHITEFISH POINT RD                                                                 PARADISE             MI 49768‐9608
PURCELL, JOHN K               ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE            MD 21202
                                                               CHARLES CENTER 22ND FLOOR
PURCELL, JOSEPH D             11915 WISNER AVE                                                                           GRANT               MI   49327‐9620
PURCELL, JOSEPH D.            11915 WISNER AVE                                                                           GRANT               MI   49327‐9620
PURCELL, JOSEPH H             3074 FOUR OAKS DR                                                                          DORAVILLE           GA   30360‐1754
PURCELL, JUNE H               PO BOX 4004                                                                                ORMOND BEACH        FL   32175
PURCELL, KENNETH M            1134 WHIRLAWAY LN                                                                          MONROE              GA   30655
PURCELL, KENNETH R            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                               STREET, SUITE 600
PURCELL, LANCE A              PO BOX 20154                                                                               KETTERING           OH   45420‐0154
PURCELL, LEONE B              3074 FOUR OAKS DR                                                                          DORAVILLE           GA   30360‐1754
PURCELL, LORRAINE V           25660 MARITIME CIR S                                                                       HARRISON TOWNSHIP   MI   48045‐3073
PURCELL, MARK A               5406 E FARRAND RD                                                                          CLIO                MI   48420‐9167
PURCELL, MARK ALLAN           5406 E FARRAND RD                                                                          CLIO                MI   48420‐9167
PURCELL, MARK D               109 EAGLE HAVEN DR                                                                         SUMMERTOWN          TN   38483‐3804
PURCELL, MARK J               8465 N GLEANER RD                                                                          FREELAND            MI   48623‐9543
PURCELL, NATHAN R             3334 CARLIN DR                                                                             WEST CARROLLTON     OH   45449‐2729
PURCELL, PHYLLIS              10390 AUDIE BROOK DR                                                                       SPRING HILL         FL   34608‐8424
PURCELL, RICHARD D            3915 CLIFTON RDG                                                                           HIGHLAND            MI   48357‐2812
PURCELL, RICHARD L            2560 BUSCH RD                                                                              BIRCH RUN           MI   48415‐8918
PURCELL, ROBERT A             420 CORMORANT DR                                                                           VONORE              TN   37885‐5341
PURCELL, ROBERT E             44672 RIDGEFIELD RD                                                                        CANTON              MI   48188‐1697
PURCELL, ROBERT EUGENE        44672 RIDGEFIELD RD                                                                        CANTON              MI   48188‐1697
PURCELL, SARAH J              1100 E MULBERRY ST                                                                         KOKOMO              IN   46901‐4950
PURCELL, SHARON L             PO BOX 89                                                                                  AFTON               WI   53501‐0089
PURCELL, SHERRY               220 LOCKERBIE LN                                                                           PITTSBORO           IN   46167‐8944
PURCELL, SUSAN                320 BLAKE RD N # 619                                                                       HOPKINS             MN   55343‐4502
PURCELL, THOMAS H             7054 ESTATE HILL DRIVE                                                                     SWARTZ CREEK        MI   48473‐8804
PURCELL, THOMAS W             5277 GREEN PINE CT SE                                                                      KENTWOOD            MI   49508‐6124
PURCELL, ZELMA M              HC 62 BOX 750                                                                              SALYERSVILLE        KY   41465
PURCELL‐GRAVELYN, GLENDA F    9135 BAY MEADOWS DR                                                                        RENO                NV   89523‐6859
PURCELLE M BROWN              234 KILMAR ST                                                                              ROCHESTER           NY   14621
PURCHA, EUGENE P              55 MILLARD ST                                                                              TORRINGTON          CT   06790‐3226
PURCHASE AREA ASSE            C/O RANDY GRAY                   5975 MAYFIELD HWY                                         BENTON              KY   42025
PURCHASE, CAROLYN L           8085 PARSHALLVILLE RD                                                                      FENTON              MI   48430‐9210
PURCHASE, CLAUDE F            64 MELODY LN                                                                               TONAWANDA           NY   14150‐9108
PURCHASE, DAVID L             3738 KIPLING CIR                                                                           HOWELL              MI   48843‐7475
PURCHASE, WILLIAM G           105 SUMMER BREEZE RD                                                                       PANAMA CITY BEACH   FL   32413‐6012
PURCHASED PARTS GROUP, INC.   JIM DANIELS                      13599 MERRIMAN RD.                                        GREENWICH           OH   44837
PURCHASES PLUS LLC            1457 RARITAN RD # 102                                                                      CLARK               NJ   07066‐1240
PURCHES I I, MAURICE A        6292 YORKSHIRE NORTH RIDING RD                                                             FLINT               MI   48532‐3235
PURCHES II, MAURICE ALLEN     6292 YORKSHIRE NORTH RIDING RD                                                             FLINT               MI   48532‐3235
PURCHES JR, HENRY L           6264 QUAIL RUN DR                                                                          KALAMAZOO           MI   49009‐2815
PURCHES, CAROL E              7413 YELLOW WOOD                                                                           LANSING             MI   48917‐7632
PURCHES, CLAUDE W             8235 OLD HBR                                                                               GRAND BLANC         MI   48439‐8394
PURCHES, EARLENE M            8235 OLD HBR                                                                               GRAND BLANC         MI   48439‐8394
PURCHES, HENRY L              PO BOX 311111                                                                              FLINT               MI   48531‐1111
PURCHES, LAWANDA JEAN         6049 FOUNTAIN POINTE APT 12                                                                GRAND BLANC         MI   48439‐7786
PURCHES, MAURICE A            5283 MILLWOOD DR                                                                           FLINT               MI   48504‐1127
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Name                                Address1                         Address2                       Address3                  Address4         City              State Zip
PURCHES, TANISHA M                  6292 YORKSHIRE NORTH RIDING RD                                                                             FLINT              MI 48532‐3235
PURCHES, TANISHA MICHELLE           6292 YORKSHIRE NORTH RIDING RD                                                                             FLINT              MI 48532‐3235
PURCHIARONI, MARK L                 1114 SILVER CREEK CT                                                                                       ROCHESTER HILLS    MI 48306‐4284
PURCHIARONI, MARK LEONHARD          1114 SILVER CREEK COURT                                                                                    ROCHESTER          MI 48306‐4284
PURCHIARONI, STEVEN L               6190 THREE LAKES DR                                                                                        BRIGHTON           MI 48116‐9519
PURCHIARONI, STEVEN LAWRENCE        6190 THREE LAKES DR                                                                                        BRIGHTON           MI 48116‐9519
PURCHIS, H E                        1706 WILLOWBROOK DR                                                                                        LANSING            MI 48917‐1220
PURCHIS, MILDRED R                  1706 WILLOWBROOK DRIVE                                                                                     LANSING            MI 48917‐1220
PURCIFUL, BETTY F                   1834 RAVENSWOOD DR                                                                                         ANDERSON           IN 46012‐3197
PURCIFUL, BETTY F                   1834 RAVENS WOOD DR                                                                                        ANDERSON           IN 46012‐3197
PURCIFUL, CAROL L                   8641 N ST RD 9                                                                                             ALEXANDRIA         IN 46001‐8894
PURCIFUL, CAROL L                   8641 N STATE ROAD 9                                                                                        ALEXANDRIA         IN 46001‐8894
PURCIFUL, CHARLES E                 2624 STATE ST                                                                                              ANDERSON           IN 46012‐1421
PURCIFUL, JOHN A                    4120 W 32ND ST                                                                                             ANDERSON           IN 46011‐4521
PURCIFUL, MICHELLE L                2606 STATE ST                                                                                              ANDERSON           IN 46012‐1421
PURCIFUL, NAOMI W                   1805 S CROSS LAKES CIR APT C                                                                               ANDERSON           IN 46012‐4929
PURCIFUL, NINA B                    2824 W 12TH ST                                                                                             ANDERSON           IN 46011‐2433
PURCIFUL, TARA L                    2409 DENA DR                                                                                               ANDERSON           IN 46017‐9798
PURDEF, BORIS A                     12212 ROESTA LN                                                                                            BALTIMORE          OH 43105‐9201
PURDEF, METODI A                    2225 N MOSLEY DR                                                                                           CHANDLER           AZ 85225‐1356
PURDEY, JAY H                       2450 MIAMI BEACH DR                                                                                        FLINT              MI 48507‐1058
PURDHAM, BARBARA A                  112 WHITE FAWN ROAD                                                                                        NEWARK             DE 19711‐7214
PURDIE, DAVID B                     3802 HILLSDALE DR                                                                                          AUBURN HILLS       MI 48326‐1889
PURDIE, HENRY                       PORTER & MALOUF PA               4670 MCWILLIE DR                                                          JACKSON            MS 39206‐5621
PURDIE, JOHN W                      997 HADLEY DR                                                                                              SHARON             PA 16146‐3523
PURDIE, MARSHALL                    NOT IN FILE
PURDIE, SHIRLEY A                   155 AVERY ST                                                                                               ROCHESTER         NY    14606‐1903
PURDLE, SIDNEY L                    15508 S VISALIA AVE                                                                                        COMPTON           CA    90220‐3337
PURDO, DANIEL E                     9546 EASTRIDGE DR                                                                                          TRAVERSE CITY     MI    49686‐9297
PURDOM, BILLY N                     1665 BURNS LINE RD                                                                                         CROSWELL          MI    48422‐9749
PURDOM, ILENE A                     37462 N LAUREL PARK DR                                                                                     LIVONIA           MI    48152‐3947
PURDOM, JENNIFER J.                 PO BOX 561                                                                                                 KINGSLEY          MI    49649‐0561
PURDOM, LAWRENCE J                  1359 ROSE LAKE DR                                                                                          BELLBROOK         OH    45305‐9780
PURDOM, MARY                        350 WADESBORO RD                                                                                           PADUCAH           KY    42003
PURDON JR, DAVID G                  7300 GRINDSTONE CT                                                                                         ARLINGTON         TX    76002‐3718
PURDON, DANA J                      3941 JAMES AVENUE                                                                                          FORT WORTH        TX    76110‐6020
PURDON, DAVID M                     7300 GRINDSTONE CT                                                                                         ARLINGTON         TX    76002‐3718
PURDUE                              KATHY LUKACH                     1 STAMFORD FORUM                                                          STAMFORD          CT    06901‐3516
PURDUE ENGRG STUDENT COUNCIL        2008 INDUSTRIAL ROUNDTABLE       PURDUE UNIVERSITY PESC CIVIL   550 STADIUM MALL DR ADD                    WEST LAFAYETTE    IN    47907
                                                                                                    GOI LC
PURDUE JEANNETTA                    PURDUE, JEANNETTA                9440 SANTA MONICA BOULEVARD                                               BEVERLY HILLS     CA 90210
                                                                     SUITE 500
PURDUE JEFFREY D                    8815 SPEEDWAY DR                                                                                           SHELBY TOWNSHIP   MI 48317‐3352
PURDUE RESEARCH FOUNDATION
PURDUE SOCIETY OF WOMEN ENGINEERS   ATTN EMILY DELPHY                500 STADIUM MALL DR CIVIL      ENGINEERING BLDG ROOM                      WEST LAFAYETTE     IN   47907
                                                                                                    1244
PURDUE UNIVERSITY                   585 PURDUE MALL                                                                                            WEST LAFAYETTE     IN   47907‐2088
PURDUE UNIVERSITY                   CEC BUSINESS SERVICES            128 MEMORIAL MALL              STEWART CENTER ROOM 110                    WEST LAFAYETTE     IN   47907‐2034

PURDUE UNIVERSITY                   CONTINUING ED BUSINESS OFFICE    1586 STEWART CTR ROOM 110                                                 W LAFAYETTE        IN   47907
PURDUE UNIVERSITY                   UNIVERSITY COLLECTIONS OFFICE    PO BOX 7200                                                               INDIANAPOLIS       IN   46207‐7200
PURDUE UNIVERSITY                   UNIVERSITY COLLECTIONS OFFICE    22612 NETWORK PL                                                          CHICAGO            IL   60673‐1226
                                  09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                              Address1                         Address2                         Address3     Address4         City                State Zip
PURDUE UNIVERSITY                 STUDENT SERVICES BUSINESS OFFC   2300 173RD ST                                                  HAMMOND              IN 46323‐2076
PURDUE UNIVERSITY                 OCEC BUSINESS SERVICES           128 MEMORIAL MALL STEWART                                      WEST LAFAYETTE       IN 47907
                                                                   CENTER ROOM 110
PURDUE UNIVERSITY                 UNIVERSITY COLLECTIONS OFFICE    PO BOX 5759                                                    INDIANAPOLIS         IN   46255‐5759
PURDUE UNIVERSITY                 OUTSIDE AWARDS BURSARS OFFICE    1060 HOYDE HALL                                                WEST LAFAYETTE       IN   47907
PURDUE UNIVERSITY                 ACCOUNTS RECEIVABLE              1081 SCHLEMAN                    ROOM 342                      WEST LAFAYETTE       IN   47907
PURDUE UNIVERSITY                 BURSAR OFFICE                    610 PURDUE MALL                  HOVDE HALL                    WEST LAFAYETTE       IN   47907‐2040
PURDUE UNIVERSITY                 UNIVERSITY COLLECTIONS OFFICE    1034 FREEHAFER HALL                                            WEST LAFAYETTE       IN   47907
PURDUE UNIVERSITY                 401 S GRANT ST                                                                                  WEST LAFAYETTE       IN   47907‐2024
PURDUE UNIVERSITY                                                  1843 TMB                                                                            IN   47907
PURDUE UNIVERSITY CALUMET         ACCOUNTING SERVICES              2300 173RD ST                                                  HAMMOND              IN   46323‐2076
PURDUE UNIVERSITY NORTH CENTRAL   BURSARS OFFICE                   1401 S US 421                                                  WESTVILLE            IN   46391
PURDUE UNIVERSITY PARKING         504 NORTHWESTERN AVE                                                                            WEST LAFAYETTE       IN   47907‐2103
PURDUE UNIVERSITY SCHOOL OF       701 W STADIUM AVE                NEIL ARMSTRONG HALL OF ENG                                     WEST LAFAYETTE       IN   47907‐2045
MATERIALS ENG
PURDUE UNIVERSUTY CONTINUING                                                                                                      WEST LAFAYETTE       IN   47907
EDUCATION ADMIN
PURDUE, JAMES I                   17351 HUNTINGTON ROAD                                                                           DETROIT             MI 48219‐3521
PURDUE, JEANETTA
PURDUE, JEANNETTA                 SHEINBEIN ROBERT ALAN            9440 SANTA MONICA BLVD STE 500                                 BEVERLY HILLS       CA 90210‐4608

PURDUE, JEFFREY D                 8815 SPEEDWAY DR                                                                                SHELBY TOWNSHIP     MI    48317‐3352
PURDUE, KATHLEEN                  254 HERMAN ST                                                                                   BUFFALO             NY    14211‐3155
PURDUE, PHYLLIS J                 6607 HIDDEN CREEK LOOP NE                                                                       KEIZER              OR    97303‐7879
PURDUE, SALLY A                   PO BOX 242                                                                                      PARADISE            MI    49768‐0242
PURDUE, TOMMIE D                  PO BOX 242                                                                                      PARADISE            MI    49768‐0242
PURDUE, WILLIS M                  5149 S 700 W                                                                                    PENDLETON           IN    46064‐9726
PURDUM, BERNICE M                 2935 EDDY ST                                                                                    SAGINAW             MI    48604‐2310
PURDUM, GEORGE W                  9437 MITCHELL DEWITT RD                                                                         PLAIN CITY          OH    43064‐8704
PURDUSKI, ANNA M                  813 WOODLAND CT.                                                                                WAUSEON             OH    43567‐1720
PURDUSKI, ANNA M                  813 WOODLAND DR                                                                                 WAUSEON             OH    43567‐1720
PURDY CORPORATION                 586 HILLIARD ST                  PO BOX 1898                                                    MANCHESTER          CT    06042‐2879
PURDY I I I, NORMAN M             412 THOMAS LN                                                                                   GRAND BLANC         MI    48439‐1526
PURDY JR, C W
PURDY JR, HARRY N                 CO 212 41 ST AVE                                                                                ST PETE BEACH       FL    33706
PURDY JR, JOHN O                  622 WOODCREST DR                                                                                MANSFIELD           OH    44905‐2319
PURDY JR, PAUL E                  1934 GARDNER AVE                                                                                BERKLEY             MI    48072‐1272
PURDY JR, THEODORE B              3243 EDGEWOOD PARK CT                                                                           COMMERCE TOWNSHIP   MI    48382‐4428
PURDY KRISTIN                     1961 ARAPAHO CIR                                                                                OGDEN               UT    84403
PURDY KRISTIN M                   BURNISH, JOHN J                  1090 NORTH 5900 EAST POST BOX                                  EDEN                UT    84310
                                                                   835
PURDY KRISTIN M                   PURDY, KRISTIN M                 1090 NORTH 5900 EAST POST BOX                                  EDEN                UT 84310
                                                                   835
PURDY TED                         21664 SHADYBROOK DR                                                                             NOVI                MI    48375‐5147
PURDY, ALFRED J                   124 CIRCLE DR                                                                                   ALPENA              MI    49707‐9763
PURDY, ANNA P                     PO BOX 1173                                                                                     FOREST              VA    24551‐5173
PURDY, CATHERINE                  8951 S MARSHFIELD                                                                               CHICAGO             IL    60620‐4955
PURDY, CHARLES E                  3887 BRADLEY RD                                                                                 WEBBERVILLE         MI    48892‐9018
PURDY, CHRISTOPHER A              2059 ATLAS RD                                                                                   DAVISON             MI    48423‐8306
PURDY, DARIN S                    1354 GRANT ST                                                                                   BELOIT              WI    53511‐3303
PURDY, DARREL P                   2504 WINTHROP DR                                                                                JANESVILLE          WI    53546‐3433
PURDY, DAVID R                    4086 W DODGE RD                                                                                 CLIO                MI    48420‐8525
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Name                                Address1                         Address2                  Address3       Address4         City              State Zip
PURDY, DAVID R                      4738 ENTERPRISE RD                                                                         W ALEXANDRIA       OH 45381
PURDY, DONNA K                      601 MILL ST                                                                                ORTONVILLE         MI 48462‐9728
PURDY, ERIC A                       5235 WAKEFIELD ROAD                                                                        GRAND BLANC        MI 48439‐9186
PURDY, ERIC ALLEN                   5235 WAKEFIELD ROAD                                                                        GRAND BLANC        MI 48439‐9186
PURDY, EVALINE G                    2223 E MC LEAN AVE                                                                         BURTON             MI 48529‐1741
PURDY, EVALINE G                    2223 E MCLEAN AVE                                                                          BURTON             MI 48529‐1741
PURDY, FLOYD L                      323 S TELEGRAPH RD APT 22                                                                  PONTIAC            MI 48341‐1971
PURDY, GARY G                       2422 E PIONEER RD                                                                          ROSCOMMON          MI 48653‐9194
PURDY, GEORGE L                     3060 E RIVER RD                                                                            NEWTON FALLS       OH 44444‐9791
PURDY, HELEN L                      113 NANCY ST                                                                               GASSVILLE          AR 72635‐8524
PURDY, JAMES E                      1140 S MORRISH RD                                                                          FLINT              MI 48532‐3034
PURDY, JEAN                         48609 LAKEVIEW EAST                                                                        SHELBY TOWNSHIP    MI 48317
PURDY, JOAN D                       1402 W HENRY CT                                                                            FLUSHING           MI 48433‐1586
PURDY, JOAN D                       1402 HENRY CT                                                                              FLUSHING           MI 48433‐1586
PURDY, JOAN E                       2504 WINTHROP DR                                                                           JANESVILLE         WI 53546‐3433
PURDY, JODY A                       1612 E M H TOWNLINE RD                                                                     MILTON             WI 53563‐9288
PURDY, KAREN A                      3060 E RIVER RD                                                                            NEWTON FALLS       OH 44444‐9791
PURDY, KENNETH L                    24080 LEHIGH ST                                                                            DEARBORN HTS       MI 48125‐1941
PURDY, KENT R                       500 SKYDALE DR                                                                             ANN ARBOR          MI 48105‐1164
PURDY, KRISTIN M                    C/O FULLER, ROBERT               1090 NORTH 5900 EAST      POST BOX 835                    EDEN               UT 84310
PURDY, LARRY A                      861 SHERRY DR                                                                              LAKE ORION         MI 48362‐2869
PURDY, LESTER C                     48592 LAKEVIEW E 62                                                                        UTICA              MI 48317‐2733
PURDY, LILLIAN I                    649 ROBERTSON AVE                                                                          CHARLOTTE          NC 28208‐2240
PURDY, LINDA                        325 VAN BUREN CIR                                                                          DAVISON            MI 48423‐8571
PURDY, LISA                         9412 W CENTER ST                                                                           WINDHAM            OH 44288‐1017
PURDY, MARK A                       113 NANCY ST                                                                               GASSVILLE          AR 72635‐8524
PURDY, MARK W                       6720 BERGIN RD                                                                             HOWELL             MI 48843‐9037
PURDY, MATTHEW S                    2911 N BLAIR AVE                                                                           ROYAL OAK          MI 48073‐3518
PURDY, MYRA                         1400 NE PARVIN RD. APT. 8‐304                                                              KANSAS CITY        MO 64116
PURDY, MYRA A                       708 HINKE DR                                                                               MONROE             LA 71203‐4138
PURDY, PATRICIA                     124 CIRCLE DR.                                                                             ALPENA             MI 49707
PURDY, RANDY L                      10487 E MAPLE AVE                                                                          DAVISON            MI 48423‐8793
PURDY, RICHARD A                    104 N HUDSON ST                                                                            SHERIDAN           IN 46069‐1134
PURDY, RICHARD H                    211 WEST AVE                                                                               EAST SYRACUSE      NY 13057‐2135
PURDY, RICHARD S                    746 MISSION HTS                                                                            NEW BRAUNFELS      TX 78130
PURDY, ROBERT A                     767 6 MILE RD                                                                              WHITMORE LAKE      MI 48189‐9561
PURDY, ROBERT M                     2294 E DODGE RD                                                                            CLIO               MI 48420‐9747
PURDY, ROBERT T                     22336 CANTERBURY ST                                                                        WOODHAVEN          MI 48183‐1422
PURDY, ROBERTA B                    341 S NORA DR                                                                              LAKE CITY          MI 49651‐8512
PURDY, RONALD D                     18201 DENBY                                                                                REDFORD            MI 48240‐2002
PURDY, STEVEN L                     11101 S 950 W                                                                              DALEVILLE          IN 47334
PURDY, VERN                         6062 BERRYWOOD DR N                                                                        SAGINAW            MI 48603‐1081
PURDY, WAYNE E                      64587 E NORTHPARK DR                                                                       CONSTANTINE        MI 49042‐9658
PURDY, WILLIAM C                    18204 BITTERN AVE                                                                          LUTZ               FL 33558‐2733
PURE DETROIT                        ATTN: SHAWN SANTOS               3011 W GRAND BLVD # 101                                   DETROIT            MI 48202‐3068
PURE DETROIT
PURE HEALTH SOL / DOLPHIN CAPITAL   PO BOX 644006                                                                              CINCINNATI        OH   64406
PURE HEALTH SOL / DOLPHIN CAPTIAL   PO BOX 644006                                                                              CINCINNATI        OH   64406
PURE WAT/MURFRS                     2878 SHELBYVILLE HWY.                                                                      MURFREESBORO      TN   37130
PURE WATER DYNAMICS INC             30 KALAMATH ST                                                                             DENVER            CO   80223‐1550
PUREVICH, WALTER R                  998 NW 1501ST RD                                                                           CREIGHTON         MO   64739‐9606
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Name                                    Address1                             Address2                         Address3            Address4                City                  State Zip
PUREWATER DYNAMICS INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   30 KALAMATH ST                                                               DENVER                 CO 80223‐1550
                                        AGENT
PUREWATER DYNAMICS INC                  30 KALAMATH ST                                                                                                    DENVER                CO 80223‐1550
PUREWORKS INC                           PURESAFETY                           1321 MURFREESBORO PIKE STE 200   ATTN MUST BILLING                           NASHVILLE             TN 37217‐2673

PUREWORKS INC                           1321 MURFREESBORO PIKE STE 200                                                                                    NASHVILLE             TN 37217‐2673
PUREWORKS INC                                                                1321 MURFREESBORO PIKE STE 200                                               NASHVILLE             TN 37217‐2673

PURFEERST, ADAM T                       20 REDBUD DR                                                                                                      WARRENTON             MO   63383‐3212
PURGAHN, KIMBERLY D                     304 MORNINGSIDE DR                                                                                                SAINT PETERS          MO   63376‐4005
PURGAR, SLAVKO                          620 DAVIDSON DR                                                                                                   HIGHLAND HTS          OH   44143‐2050
PURGAR, SLAVKO S                        53096 SPRINGHILL MEADOWS DR                                                                                       MACOMB                MI   48042‐2846
PURGASON, CLEVE R                       25021 HALL DR                                                                                                     WESTLAKE              OH   44145‐4921
PURGATORI, VIRGINIA                     14368 ALPENA DR                                                                                                   STERLING HTS          MI   48313‐4304
PURI AKHIL                              345 CALIFORNIA ST STE 3300                                                                                        SAN FRANCISCO         CA   94104
PURI, AKHIL                             345 CALIFORNIA ST STE 3300                                                                                        SAN FRANCISCO         CA   94104
PURI, AKHIL                             ROOM 2302 BUILDING 10                LANE 99                          PUCHENG RD.         SHANGHAI 200121 CHINA
PURI, BOB                               4876 CARLSON PARK DR                                                                                              TROY                  MI   48098‐7101
PURI, PETER J                           380 DEMOTT LANE                                                                                                   SOMERSET              NJ   08873‐2762
PURICELLI, STEVEN J                     2331 N POINT ST 103                                                                                               SAN FRANCISCO         CA   94123
PURIEFOY RUDOLPH (ESTATE OF) (465992)   HOWARD BRENNER & GARRIGAN‐NASS       1608 WALNUT ST , 17TH FLOOR                                                  PHILADELPHIA          PA   19103

PURIEFOY, RUDOLPH                       HOWARD BRENNER & GARRIGAN‐NASS       1608 WALNUT ST, 17TH FLOOR                                                   PHILADELPHIA          PA 19103

PURIFICACION FERRAGUT, LUIS JULIAN,     OLIVOS 507, JURICA                                                                        QUERETARO, MEXICO
ANA MARIA JULIAN                                                                                                                  76100
PURIFOY CHEVROLET CO.                   601 DENVER AVE                                                                                                    FORT LUPTON           CO   80621‐2159
PURIFOY CHEVROLET CO.                   ROLAND PURIFOY                       601 DENVER AVE                                                               FORT LUPTON           CO   80621‐2159
PURIFOY JR, LEROY                       5182 WOODHAVEN DR                                                                                                 FLINT                 MI   48504‐1282
PURIFOY, DARION J                       1654 MOORE ST                                                                                                     BELOIT                WI   53511‐3367
PURIFOY, ELMER B                        724 W BUNDY AVE                                                                                                   FLINT                 MI   48505‐1945
PURIFOY, ODIS L                         19 ALTO CT                                                                                                        WARREN                AR   71671‐2101
PURIFOY, SANDRA G                       114 THOMAS CT                                                                                                     SYLVESTER             GA   31791‐7250
PURIFOY, SANDRA GAY                     504 RED ROCK RD                                                                                                   SYLVESTER             GA   31791‐4420
PURIFOY, VERONICA                       10334 W TOWER AVE                                                                                                 MILWAUKEE             WI   53224‐2633
PURIFOY, WILLIAM S                      504 RED ROCK RD                                                                                                   SYLVESTER             GA   31791‐4420
PURIFY, ESTHER                          5000 TOWN CTR APT 3102                                                                                            SOUTHFIELD            MI   48075‐1118
PURINGTON, ALISON                       7908 REED CT UNIT A                                                                                               FORT GEORGE G MEADE   MD   20755
PURINGTON, OLGA                         2487 SPRINGBROOK ST                                                                                               THOUSAND OAKS         CA   91362‐1147
PURINGTON, RAY A                        11797 STATE HWY 171                                                                                               BLUE RIVER            WI   53518‐4556
PURINTUN, MARY                          2702 N FELLOWS RD                                                                                                 EVANSVILLE            WI   53536‐9524
PURINTUN, MARY A                        2702 N FELLOWS RD                                                                                                 EVANSVILLE            WI   53536‐9524
PURINTUN, MILTON L                      2702 N FELLOWS RD                                                                                                 EVANSVILLE            WI   53536‐9524
PURINTUN, RONALD M                      2731 8 1/2 ST                                                                                                     MONROE                WI   53566‐1916
PURITAN BUICK PONTIAC GMC               PO BOX 935                                                                                                        HYANNIS               MA   02601‐0935
PURITAN BUICK PONTIAC GMC               LAWRENCE MAHAN                       PO BOX 935                                                                   HYANNIS               MA   02601‐0935
PURITAN LEASING CO                      1211 CRANSTON ST                                                                                                  CRANSTON              RI   02920‐7313
PURITAN MAGNETICS INC                   900 S GLASPIE ST                                                                                                  OXFORD                MI   48371‐5140
PURITT, GREGORY C                       29 QUAMINA DR                                                                                                     ROCHESTER             NY   14605‐1234
PURITY CYLINDER GASES INC               PO BOX 9390                                                                                                       GRAND RAPIDS          MI   49509‐0390
PURITY CYLINDER GASES INC               2580 28TH ST SW                      P.O.BOX 9390                                                                 GRAND RAPIDS          MI   49519‐2106
PURK, DONALD L                          8968 43RD ST S                                                                                                    SCOTTS                MI   49088‐9314
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Name                       Address1                        Address2                  Address3   Address4         City             State Zip
PURKAPILE, CHERYL A        4934 N TUTTLE RD                                                                      EVANSVILLE        WI 53536‐9439
PURKAPILE, JOAN M          2001 WESLEY AVE APT 207                                                               JANESVILLE        WI 53545‐2684
PURKAPILE, ROBERT F        4934 N TUTTLE RD                                                                      EVANSVILLE        WI 53536‐9439
PURKAPILE, WILLIAM D       542 S JACKSON ST                                                                      JANESVILLE        WI 53548‐4723
PURKEY JENNIFER            4340 MOTORSPORTS DR SW                                                                CONCORD           NC 28027‐8977
PURKEY, C O                5501 N BARLEY CT                                                                      MUNCIE            IN 47304
PURKEY, DAVID K            130 ROLLING HILLS DR                                                                  WASKOM            TX 75692‐4000
PURKEY, DAVID KENTON       130 ROLLING HILLS DR                                                                  WASKOM            TX 75692‐4000
PURKEY, DAVID L            2324 KATELAND CT                                                                      ABINGDON          MD 21009‐3086
PURKEY, DIXIE E            711 N WOODWARD DR                                                                     BALTIMORE         MD 21221‐4748
PURKEY, GERRY V            120 PIN OAKS LN                                                                       HOHENWALD         TN 38462‐2594
PURKEY, JACK F             312 W 1550 N                                                                          SUMMITVILLE       IN 46070‐9683
PURKEY, JAMES R            3883 RT 42 N                                                                          WAYNESVILLE       OH 45068
PURKEY, JAMES W            126 TOM GRIFFIN RD                                                                    BYRDSTOWN         TN 38549‐4836
PURKEY, JANET G            1492 W HUNTSVILLE RD                                                                  PENDLETON         IN 46064‐9170
PURKEY, JERALD F           251 N LAKE ST SE                                                                      CALEDONIA         MI 49316‐7646
PURKEY, JERRY A            3406 BARNACLE LN                                                                      KITTY HAWK        NC 27949‐6025
PURKEY, JOANNE F           4423 MICHAELS DRIVE                                                                   FRANKLIN          OH 45005‐1929
PURKEY, ROGER A            3397 E 560 N                                                                          ANDERSON          IN 46012
PURKEY, VIRGIL L           1348 GOODYEAR RD                                                                      GARDNERS          PA 17324‐8957
PURKEY, VOSS E             2587 LADDIE CT                                                                        ANDERSON          IN 46012‐9409
PURKEY, WILLIAM F          8330 BLAKE ST                                                                         GREENWOOD         LA 71033‐3321
PURKEY, WILLIAM FRANKLIN   8330 BLAKE ST                                                                         GREENWOOD         LA 71033‐3321
PURKEYPILE, WALTER E       RR 1                                                                                  VICKERY           OH 43464
PURKHAISER, RICAHRD        GUY WILLIAM S                   PO BOX 509                                            MCCOMB            MS 39649‐0509
PURKISS, JAMES W           18703 MACARTHUR                                                                       REDFORD           MI 48240‐1950
PURLEE, ARLINE M           75 BUELL DR APT E                                                                     ROCHESTER         NY 14621‐2927
PURLEE, ARLINE M           75 BUELL DRIVE APT E                                                                  ROCHESTER         NY 14621‐2927
PURLEE, KENNETH E          30161 MOWRY RD 88                                                                     BURR OAK          MI 49030
PURMAN, BERNARD R          360 KEINATH DR                                                                        FRANKENMUTH       MI 48734‐9317
PURMAN, DANIEL J           3190 JULIE DR                                                                         REESE             MI 48757‐9556
PURMAN, ERIK J             220 BECKLEY FARM WAY                                                                  SPRINGBORO        OH 45066‐9480
PURMAN, ERIK JAMES         220 BECKLEY FARM WAY                                                                  SPRINGBORO        OH 45066‐9480
PURMAN, FLORENCE           809 BIRCHWOOD DRIVE                                                                   FLUSHING          MI 48433‐1372
PURMAN, FRED V             6198 N RIVER RD                                                                       FREELAND          MI 48623‐8508
PURMAN, GARY J             1070 HARDWOOD HOLW                                                                    GREENSBORO        GA 30642‐4912
PURMAN, RYAN E             3824 SABLE RIDGE DR                                                                   BELLBROOK         OH 45305‐8725
PURMORT CLYDE              6454 MCKOWN RD                                                                        SARASOTA          FL 34240‐9677
PURMORT, JEAN              #A                              123 MAYS ROAD SOUTHEAST                               MILLEDGEVILLE     GA 31061‐8504
PURNELL BROWN              5118 LEVINDALE RD                                                                     BALTIMORE         MD 21215‐5327
PURNELL GREEN I I          PO BOX 13047                                                                          FLINT             MI 48501‐3047
PURNELL WILLIAMS           507 N WARREN AVE                                                                      SAGINAW           MI 48607‐1364
PURNELL, ALLEN D           649 PRIMROSE LANE                                                                     TIPP CITY         OH 45371‐2753
PURNELL, ALLEN D           649 PRIMROSE LN                                                                       TIPP CITY         OH 45371‐2753
PURNELL, BOBBY R           552 SPRINGRIDGE RD APT B1                                                             CLINTON           MS 39056
PURNELL, CALVIN H          2090 PEAR TREE LN                                                                     OAKLAND           MI 48363‐2935
PURNELL, CARLETON          PO BOX 3542                                                                           SAN BERNARDINO    CA 92413
PURNELL, CHRISTOPHER       203 SOUTHWYK RD                                                                       NEW CASTLE        DE 19720‐8850
PURNELL, DAVID L           3200 RAYNELL ST                                                                       LANSING           MI 48911‐2861
PURNELL, DOROTHY J         2910 LUCERNE DR                                                                       JANESVILLE        WI 53545‐0602
PURNELL, EDDIE D           6723 MYSTIC WOODS PL                                                                  FORT WAYNE        IN 46835‐9361
PURNELL, EMMA C            305 VENTURA DR.                                                                       YOUNGSTOWN        OH 44505‐1145
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Name                              Address1                            Address2                   Address3         Address4                City            State Zip
PURNELL, EMMA C                   305 VENTURA DR                                                                                          YOUNGSTOWN       OH 44505‐1145
PURNELL, FREDERICK H              PO BOX 673                                                                                              NORTH JACKSON    OH 44451‐0673
PURNELL, FREDERICK H              PO BOX 503                                                                                              LAKE MILTON      OH 44429‐0503
PURNELL, GUY D                    9108 BLUE PINE DR                                                                                       INDIANAPOLIS     IN 46231‐4285
PURNELL, JOHN                     720 E TAYLOR ST                                                                                         KOKOMO           IN 46901‐4704
PURNELL, KENNETH A                1903 CHESTER AVE SW                                                                                     WARREN           OH 44481‐9757
PURNELL, LAMONT                   210 SPRING VALLEY RD                                                                                    DARBY            PA 19023‐1420
PURNELL, LELIA G                  4550 N BRETON CT SE APT 230                                                                             KENTWOOD         MI 49508‐5267
PURNELL, MARY E                   593 LAKE RIDGE DR                                                                                       LIMA             OH 45801
PURNELL, OLLIE W                  SOUTHERN LIVING APT #137            2131 SOMERSET BLVD                                                  TROY             MI 48084‐4075
PURNELL, ROBERT W                 6042 HERONS CIR                                                                                         YOUNGSTOWN       OH 44515‐5802
PURNELL, STEPHEN                  2380 DERHAKE RD                                                                                         FLORISSANT       MO 63033
PURNELL, TERENCE K                1111 N RIDGE CT                                                                                         LANSING          MI 48917‐9584
PURNELL, TERENCE KEITH            1111 N RIDGE CT                                                                                         LANSING          MI 48917‐9584
PURNELL, VELLA S                  1107 HILDA CT                                                                                           VENICE           FL 34293‐2018
PURNER CLINTON (481969)           PARKER DUMLER & KIELY               36 S CHARLES ST STE 2200                                            BALTIMORE        MD 21201‐3106
PURNER, CLINTON                   PARKER DUMLER & KIELY               111 S CALVERT ST           STE 1705                                 BALTIMORE        MD 21202‐6137
PURNER, STEPHEN C                 864 GLEBE RD                                                                                            EARLEVILLE       MD 21919‐1313
PURNHAGEN, CRAIG R                1905 EMERSON AVE                                                                                        DAYTON           OH 45406‐4808
PURNHAGEN, GALE K                 1579 JOSELIN ROAD                                                                                       DAYTON           OH 45432‐3645
PURNHAGEN, GALE K                 1579 JOSELIN RD                                                                                         DAYTON           OH 45432‐3645
PURNHAGEN, JOHN F                 20285 US HWY 27                     LOT 7                                                               CLERMONT         FL 34715
PURNHAGEN, WILLIAM J              3527 HEATHCLIFF CT                                                                                      WESTFIELD        IN 46074‐5519
PURO JR, ANDREW T                 9233 NASHUA TRL                                                                                         FLUSHING         MI 48433‐8837
PURO SYSTEMS                      TROY FEICHTER                       6001 HIATUS RD STE 13                                               TAMARAC          FL 33321‐6416
PURO, JANE M                      3813 CHURCHILL AVE                                                                                      LANSING          MI 48911‐2210
PURO, PAUL S                      5335 SOUTH SYCAMORE DRIVE                                                                               BURTON           MI 48509‐1352
PUROL, GARY P                     2525 PEARSON RD                                                                                         MILFORD          MI 48380‐4325
PUROL, GARY PHILIP                2525 PEARSON RD                                                                                         MILFORD          MI 48380‐4325
PUROL, GERALD F                   7759 E SAGINAW HWY                                                                                      LANSING          MI 48917‐9711
PUROLATOR COURIER LTD             ETOBICOKE POST STN                  PO BOX 1100                                 ETOBICOKE CANADA ON
                                                                                                                  M9C 5K2 CANADA
PUROLATOR COURIER LTD             5995 AVEBURY RD                                                                 MISSISSAUGA CANADA ON
                                                                                                                  L5R 3T8 CANADA
PUROLATOR COURIER LTD ETOBICOKE   ATTN: CORPORATE OFFICER/AUTHORIZED PO BOX 1100                                  ETOBICOKE ON M9C 5K2
POST STN                          AGENT                                                                           CANADA
PUROLATOR FIL/NC                  3200 NATAL ST                                                                                           FAYETTEVILLE    NC   28306‐2845
PUROLATOR FILTERS NA LLC          PAT BROWN                            3200 NATAL ROAD                                                    WOODBURY        TN   37190
PUROLATOR FILTERS NA LLC          PAT BROWN                            3200 NATAL ST                                                      FAYETTEVILLE    NC   28306‐2845
PUROLATOR FILTERS NA, LLC         PAT BROWN                            3200 NATAL ST                                                      FAYETTEVILLE    NC   28306‐2845
PUROLATOR FILTERS NA, LLC         PAT BROWN                            3200 NATAL ROAD                                                    WOODBURY        TN   37190
PUROLL, FELIX J                   25279 JOANNE SMITH DR                                                                                   WARREN          MI   48091‐3884
PUROLL, HELEN                     7757 STOUT                                                                                              DETROIT         MI   48228‐3294
PUROLL, HELEN                     7757 STOUT ST                                                                                           DETROIT         MI   48228‐3294
PUROLL, LARRY W                   24854 HANOVER ST                                                                                        DEARBORN HTS    MI   48125‐1828
PUROLL, LAVON R                   1627 FONTAINE AVE                                                                                       MADISON HTS     MI   48071‐4823
PUROLL, STANLEY                   2165 FAIRWEATHER DR                                                                                     INDIANAPOLIS    IN   46229‐4979
PURPLE CIRCLE LIVESTOCK CLUB      8754 FRENCHTOWN RD                                                                                      GUYS MILLS      PA   16327‐2618
PURPLE HILL INC                   C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT       2 RAFFLES LINK   MARINA BAYFRONT
                                  LTD                                                                             SINGAPORE 039392
PURPLE TRUCKS LIMITED             PO BOX 31293                                                                                            DAYTON          OH 45437‐0293
PURPLE, LEONARD H                 215 LAUGHING GULL LN                                                                                    PALM HARBOR     FL 34683‐5031
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Name                               Address1                          Address2                        Address3   Address4                  City              State Zip
PURPORA, MARY T                    5580 SCARFF RD                                                                                         NEW CARLISLE       OH 45344‐8667
PURPORA, MARY T                    5580 S SCARFF RD                                                                                       NEW CARLISLE       OH 45344‐8667
PURPOSE MAGAZINE                   ELLAVATION ENTERPRISES INC        PO BOX 83020                                                         COLUMBUS           OH 43203‐0020
PURPOSE MAGAZINE                   PO BOX 83020                                                                                           COLUMBUS           OH 43203‐0020
PURPURA ANNE                       385 TIMBER TRL                                                                                         BATAVIA             IL 60510‐1280
PURPURA MICHAEL                    2 WALTHAM ST                                                                                           HULL               MA 02045‐2436
PURPURA, JOSEPH T                  8129 NASHVILLE AVE                                                                                     BURBANK             IL 60459‐1733
PURPURA, LAWRENCE J                2424 COLVIN BOULEVARD EXT APT 3                                                                        TONAWANDA          NY 14150‐4447
PURPURA, LAWRENCE J                APT 3                             2424 COLVIN BOULEVARD EXT                                            TONAWANDA          NY 14150‐4447
PURPURA, WILLIAM J                 10775 HILLSDALE RD                                                                                     COUNTRYSIDE         IL 60525‐4806
PURPUS, EDITH                      2381 PLEASANT RIDGE CT                                                                                 GRAND JUNCTION     CO 81507‐1532
PURR JR., JACK R                   36044 OREGON ST                                                                                        WESTLAND           MI 48186‐8305
PURR JR., JACK ROBERT              36044 OREGON ST                                                                                        WESTLAND           MI 48186‐8305
PURR, DORINDA E                    11099 COUNTRY LN                                                                                       PINCKNEY           MI 48169‐9714
PURR, JACK R                       11099 COUNTRY LN                                                                                       PINCKNEY           MI 48169‐9714
PURRENHAGE, PATRICK                903 N VERMONT AVE                                                                                      ROYAL OAK          MI 48067‐5105
PURRY, KEVIN L                     19656 ANDOVER ST                                                                                       DETROIT            MI 48203‐1631
PURSCH MOTORS, INC.                2207 W OAKLAWN RD                                                                                      PLEASANTON         TX 78064‐4610
PURSCH MOTORS, INC.                ED PURSCH                         2207 W OAKLAWN RD                                                    PLEASANTON         TX 78064‐4610
PURSCHE, KURT W                    10853 ARROWHEAD DR                                                                                     CHESANING          MI 48616‐9623
PURSCHE, KURT WOLFGANG             10853 ARROWHEAD DR                                                                                     CHESANING          MI 48616‐9623
PURSCHKE, WILLIAM F                50 GOLDEN SPRUCE DR                                                                                    BAITING HOLLOW     NY 11933‐1493
PURSE, RALPH H                     1142 LUMSDEN TRACE CIR                                                                                 VALRICO            FL 33594‐4839
PURSEL, DAVID L                    1069 HALE STREET                                                                                       POTTSTOWN          PA 19464‐4072
PURSEL, DONALD F                   120 OLD FARM RD                                                                                        DANVILLE           IN 46122‐1433
PURSEL, HUGH D                     PO BOX 296                                                                                             CHINO VALLEY       AZ 86323‐0296
PURSEL, JEANETTE                   5111 BENNETTE RD                                                                                       TULEDO             OH 43612
PURSEL, MARY MARGRET               1606 W MANZANITA DR                                                                                    PRESCOTT           AZ 86303‐6121
PURSELL SCOTT                      PURSELL, SCOTT                    10000 LINCOLN DR E STE 201                                           MARLTON            NJ 08053‐3105
PURSELL, ALICE L                   143 S CUYLER AVE                                                                                       OAK PARK            IL 60302‐2915
PURSELL, ALICE L                   143 SOUTH CUYLER AVENUE                                                                                OAK PARK            IL 60302‐2915
PURSELL, CYNTHIA M                 45 JASONS LN                                                                                           PLYMOUTH           MA 02360‐3154
PURSELL, FREIDA J                  7835 DEER DR                                                                                           NINEVEH            IN 46164‐9425
PURSELL, JAMES M                   10425 HILLVIEW AVE                                                                                     CHATSWORTH         CA 91311‐2122
PURSELL, KIMBERLY S                2602 ELIZABETH DR SW                                                                                   WARREN             OH 44481‐9621
PURSELL, PATRICIA B                50 UPPER HILLTOP RD                                                                                    YARDLEY            PA 19067‐2722
PURSELL, SCOTT                     POWER & ASSOCIATES PC             10000 LINCOLN DR E STE 201                                           MARLTON            NJ 08053‐3105
PURSELL, VIOLA                     5486 NORTH ANDREA DRIVE                                                                                BLOOMINGTON        IN 47404‐8975
PURSELL, VIOLA                     5486 N ANDREA DR                                                                                       BLOOMINGTON        IN 47404‐8975
PURSELLE, ELIZABETH A              2259 CAMINO BRAZOS                                                                                     PLEASANTON         CA 94566‐5812
PURSER DOOLEY COCKBURN SMITH LLP   ATTN: J. DANIEL DOOLEY            151 FERRIS LANE, SUITE 300                 BARRIE, ONTARIO L4M 6C1
PURSER DOROTHY (492127)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD        OH 44067
                                                                     PROFESSIONAL BLDG
PURSER LORI                        6948 MAGNOLIA DR                                                                                       OLIVE BRANCH      MS   38654‐1821
PURSER, ARTHUR A                   100 TEAKWOOD DR                                                                                        KILLEN            AL   35645‐3438
PURSER, CHARLES C                  4729 COUNTY ROAD 120                                                                                   WILDWOOD          FL   34785‐9124
PURSER, DOROTHY                    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                         NORTHFIELD        OH   44067
                                                                     PROFESSIONAL BLDG
PURSER, JOHN WAYNE                 SHANNON LAW FIRM                  100 W GALLATIN ST                                                    HAZLEHURST        MS   39083‐3007
PURSER, PAMELA S                   307 W RIVER ST                                                                                         DEERFIELD         MI   49238‐9793
PURSEY POLITE                      2418 WELCH BLVD                                                                                        FLINT             MI   48504‐2986
PURSEY, JEANNETTE R                1341 PIERCE AVE APT 2                                                                                  NORTH TONAWANDA   NY   14120‐3098
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Name                     Address1                         Address2           Address3         Address4         City            State Zip
PURSIFUL, EDWARD         4807 ERICSON AVE                                                                      DAYTON           OH 45418‐1911
PURSIFUL‐POPE, GAIL      PO BOX 26163                                                                          TROTWOOD         OH 45426‐0163
PURSLEY, DONALD J        11 BAYWALK CT                                                                         GULF SHORES      AL 36542‐3216
PURSLEY, EMMA J          12672 GOOSEBERRY SPUR                                                                 BENTONVILLE      AR 72712
PURSLEY, FREDERICK H     1319 FLEENOR WAY                                                                      BOWLING GREEN    KY 42104‐4329
PURSLEY, GEORGE O        GOLDENBERG, MILLER, HELLER &     PO BOX 959                                           EDWARDSVILLE      IL 62025‐0959
                         ANTOGNOLI
PURSLEY, GERALD D        105 TAMARAC DR                                                                        LEXINGTON       OH   44904‐1127
PURSLEY, JACK A          34 E KOCHHEISER RD                                                                    BELLVILLE       OH   44813‐9232
PURSLEY, JOANNE M        11 BAYWALK CT                                                                         GULF SHORES     AL   36542‐3216
PURSLEY, LAURA P         2335 NORTH MADISON AVE           APT# 105                                             ANDERSON        IN   46011
PURSLEY, LEAH M          1405 CYPRESS SPRING DRIVE                                                             FORT WAYNE      IN   46814‐8897
PURSLEY, MARK H          310 FAIR ST                                                                           WASHINGTON      MO   63090‐1605
PURSLEY, PATRICIA J      4127 SILVER BIRCH DR                                                                  WATERFORD       MI   48329‐3868
PURSLEY, ROBERT D        7248 W 750 NORTH                                                                      MIDDLETOWN      IN   47356
PURTEE, ALICE            710 LAURA LANE                                                                        SWEETSER        IN   46987
PURTEE, CAROL            5828 MT VERNON DRIVE                                                                  MILFORD         OH   45150
PURTEE, DANIEL W         3617 S TODD ST                                                                        MARION          IN   46953‐4613
PURTEE, FRANCIS L        4501 S WASHINGTON ST                                                                  MARION          IN   46953‐5207
PURTEE, KEITH R          2361 BREWER RD                                                                        MIKADO          MI   48745‐9607
PURTEE, MARJORIE L       4501 S WASHINGTON ST                                                                  MARION          IN   46953‐5207
PURTEE, MARJORIE L       1530 WEST 31 STREET                                                                   MARION          IN   46953
PURTEE, RONALD E         8660 E 900 S                                                                          FAIRMOUNT       IN   46928‐9592
PURTELL JR, VANCE R      1403 MARLEE LN                                                                        ARLINGTON       TX   76014‐1435
PURTELL, CHRISTINE M     111 MOUNT VERNON CT                                                                   LOCUST GROVE    VA   22508‐5227
PURTELL, RICHARD F       1105 WEBBER ST                                                                        SAGINAW         MI   48601‐3419
PURTER, SHAWN A          1426 HOME AVE                                                                         DAYTON          OH   45402‐8203
PURTLEBAUGH, DONALD E    127 WESTRIDGE PL                                                                      GREENWOOD       IN   46142‐2123
PURTLEBAUGH, GEORGE R    8535 N CROSSOVER RD                                                                   BLOOMINGTON     IN   47404‐9409
PURTLEBAUGH, PEGGY J     5815 ROBINSON ROAD                                                                    BLOOMINGTON     IN   47408‐9378
PURTLEBAUGH, PEGGY J     5815 E ROBINSON RD                                                                    BLOOMINGTON     IN   47408‐9378
PURTLEBAUGH, WILLIAM B   2210 BERKLEY WAY                                                                      LEHIGH ACRES    FL   33973‐6009
PURTON, DOUGLAS G        16416 US HIGHWAY 19 N LOT 1012                                                        CLEARWATER      FL   33764‐6733
PURTON, MICHAEL B        1921 SPICEWAY DR                                                                      TROY            MI   48098‐4384
PURTON, PATRICK S        3382 STARWICK DR                                                                      CANFIELD        OH   44406‐9279
PURTON, PATRICK W        598 W WILSON ST                                                                       STRUTHERS       OH   44471‐1268
PURTRINA GAINES          7729 GRANDVILLE AVE                                                                   DETROIT         MI   48228‐4510
PURTY JR, JAMES E        37 S EDITH ST                                                                         PONTIAC         MI   48342‐2938
PURTY, MARCOS A          PO BOX 9022                      C/O HOLDEN                                           WARREN          MI   48090‐9022
PURTY, WILLIE E          1510 HAMILTON CT                                                                      WAUKEGAN        IL   60085‐4641
PURULESKI, THOMAS        40639 AUBURNDALE DR                                                                   STERLING HTS    MI   48313‐4101
PURURAWA MULAY           24735 JAMESTOWNE RD                                                                   NOVI            MI   48375‐2277
PURUSHOTHAMAN BUSHAN     9800 45TH AVE N                  APT 110                                              PLYMOUTH        MN   55442‐2658
PURUSHOTTAM JASUTKAR     15 RUE CEZANNE                                                                        SOMERSET        NJ   08873
PURVES JR, CHARLES L     3154 E FARRAND RD                                                                     CLIO            MI   48420‐9119
PURVES JR, HARRY         7071 ALLEN RD R 2                                                                     ELSIE           MI   48831
PURVES, JAMES A          339 PARK LN                                                                           LINDEN          MI   48451‐9079
PURVES, MARILYN M        339 PARK LN                                                                           LINDEN          MI   48451‐9079
PURVEY, OSCAR L          2896 ACR 335                                                                          PALESTINE       TX   75801
PURVIANCE, DAVID M       2354 OAKBROOK DR                                                                      O FALLON        MO   63368‐6551
PURVINES RON             PO BOX 530161                                                                         HENDERSON       NV   89053‐0161
PURVIS & FOSTER          6440 WIGHT ST                                                                         DETROIT         MI   48207‐4316
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Name                          Address1                         Address2                        Address3   Address4         City              State Zip
PURVIS AUTO REPAIR            1605 CAMP LN                                                                                 ALBANY             GA 31707‐4338
PURVIS CARTER JR              2931 BRIARWOOD DR                                                                            SAGINAW            MI 48601‐5870
PURVIS CLAUDIA (492654)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                               PROFESSIONAL BLDG
PURVIS DON R (495069)         MOTLEY RICE                      PO BOX 1792                                                 MT PLEASANT       SC   29465‐1792
PURVIS FORD LINCOLN MERCURY   3660 JEFFERSON DAVIS HWY                                                                     FREDERICKSBURG    VA   22408‐4163
PURVIS GIVENS                 PO BOX 310258                                                                                FLINT             MI   48531‐0258
PURVIS HUNT JR                1812 E GATE DANCER CIR                                                                       INVERNESS         FL   34453‐3394
PURVIS INDUSTRIES             CAMERON BARKER                   10500 N STEMMONS FWY                                        DALLAS            TX   75220‐2425
PURVIS L HUNT JR              1812 E GATE DANCER CIR                                                                       INVERNESS         FL   34453‐3394
PURVIS SABRINA M              PURVIS, SABRINA M                89 N HADDON AVE                                             HADDONFIELD       NJ   08033‐2423
PURVIS WILLIAM                PURVIS, WILLIAM                  9451 WINDERMERE LAKE DR 102                                 RIVERVIEW         FL   33569
PURVIS, BERNARD W             PO BOX 416                                                                                   NORFOLK           NY   13667‐0416
PURVIS, BERNIECE              1050 BERKSHIRE RD                                                                            DAYTON            OH   45419‐3739
PURVIS, BRADLEY D             909 PREBLE COUNTY LINE RD N                                                                  WEST ALEXANDRIA   OH   45381‐9715
PURVIS, CHARLENE J            2975 NORTH HAGADORN                                                                          MASON             MI   48854
PURVIS, CLAUDIA               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH   44067
                                                               PROFESSIONAL BLDG
PURVIS, CLIFTON B             2202 WYOMING RD                                                                              OWINGSVILLE       KY   40360‐8910
PURVIS, CRAIG D               1021 W FITCHBURG RD                                                                          LESLIE            MI   49251‐9747
PURVIS, DIANE K               3612 MACON                                                                                   LANSING           MI   48917
PURVIS, DIANE K               3612 MACON AVE                                                                               LANSING           MI   48917‐2282
PURVIS, DON L                 3030 BRENTWOOD RD                                                                            NEW CASTLE        IN   47362‐2073
PURVIS, DON R                 MOTLEY RICE                      PO BOX 1792                                                 MT PLEASANT       SC   29465‐1792
PURVIS, DOROTHY I             303 SOUTH LENFESTY                                                                           MARION            IN   46952‐3235
PURVIS, DOROTHY I             303 S LENFESTY AVE                                                                           MARION            IN   46952‐3235
PURVIS, DOROTHY L             209 E VAILE AVE                                                                              KOKOMO            IN   46901‐5403
PURVIS, EARL                  2480 W 1200 S                                                                                CONVERSE          IN   46919‐9403
PURVIS, GERALD J              337 BRAUN CT                                                                                 HOWELL            MI   48843‐8121
PURVIS, IRENE F               1125 LOMA VISTA WAY                                                                          VISTA             CA   92084‐7303
PURVIS, JACK E                3612 MACON AVE                                                                               LANSING           MI   48917‐2282
PURVIS, JOHN A                4618 WESTERN DR                                                                              CLAYTON           IN   46118‐9096
PURVIS, JOHN D                484 POND ST                                                                                  WAVERLY HALL      GA   31831
PURVIS, LARRY E               3073 FARMBROOK LN                                                                            METAMORA          MI   48455‐9703
PURVIS, LEWIS L               PO BOX 162                                                                                   SHARPSVILLE       IN   46068
PURVIS, LORI                  830 W WENGER RD                                                                              ENGLEWOOD         OH   45322‐2104
PURVIS, LOUISE                51 LA BELLE ST                                                                               DAYTON            OH   45403‐2323
PURVIS, MARIAN O              2211 RAINTREE DR.                                                                            ANDERSON          IN   46011‐2642
PURVIS, MARTHA                924 POLKSVILLE ROAD                                                                          SALT LICK         KY   40371
PURVIS, MERLAND               817 E PIERSON RD                                                                             FLINT             MI   48505‐3558
PURVIS, MICHAEL               LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                     MIAMI             FL   33143‐5163
PURVIS, NORMA M               126 JEFFERSON                                                                                MARINE CITY       MI   48039‐1613
PURVIS, NORMA M               126 JEFFERSON ST                                                                             MARINE CITY       MI   48039‐1613
PURVIS, PATRICIA MAE          430 S PEARL ST                                                                               COVINGTON         OH   45318‐1133
PURVIS, ROBERT                2416 N LORETTA DR                                                                            TUCSON            AZ   85716‐2529
PURVIS, ROBERT L              4461 CYNTHIA DR                                                                              TROY              MI   48085
PURVIS, SHIRLEY H             100 PAVILION DR                                                                              BRANDON           MS   39042‐2328
PURVIS, SONDRA Z              419 FAIRVIEW AVE                                                                             TIPTON            IN   46072‐2058
PURVIS, STANLEY A             1132 E ALWARD RD                                                                             DEWITT            MI   48820‐9748
PURVIS, STEVEN D              9152 CHESTERFIELD DR                                                                         SWARTZ CREEK      MI   48473‐1122
PURVIS, THOMAS J              1470 LAKE NEPESSING RD                                                                       LAPEER            MI   48446‐2927
PURVIS, TRACEY E              3892 CHURCH ST                                                                               SAGINAW           MI   48604‐1735
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Name                                 Address1                           Address2                          Address3          Address4                 City               State Zip
PURVIS, WILLIAM
PURVIS, WILLIAM                      9451 WINDERMERE LAKE DR 102                                                                                     RIVERVIEW          FL    33569
PURVIS,BRADLEY D                     909 PREBLE COUNTY LINE RD N                                                                                     WEST ALEXANDRIA    OH    45381‐9715
PURWIN JR, JOSEPH P                  22097 LEOTA DR                                                                                                  SAND LAKE          MI    49343‐9705
PURWIN OLIVER                        APT 105                            12 WESTGATE DRIVE                                                            WOBURN             MA    01801‐6439
PURWIN, JOSEPH P                     1107 INNES ST NE                                                                                                GRAND RAPIDS       MI    49503‐3634
PURYEAR JR, MADISON                  18603 FLAMINGO BLVD                                                                                             LIVONIA            MI    48152‐4319
PURYEAR ROBERT E SR (358770)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA    23510
                                                                        STREET, SUITE 600
PURYEAR ZINOBI                       6065 GRANGE HALL RD                                                                                             HOLLY               MI   48442‐8704
PURYEAR, DESAREE                     13737 WADSWORTH ST                                                                                              DETROIT             MI   48227‐3066
PURYEAR, DONNA                       2629 W GRAND BLVD                                                                                               DETROIT             MI   48208‐1234
PURYEAR, DOUGLAS W                   14401 STRATHMOOR ST                                                                                             DETROIT             MI   48227‐4819
PURYEAR, III, JAMES C                1729 CURLING WAY                                                                                                BOWLING GREEN       KY   42104‐4511
PURYEAR, JAMES E                     1610 GARY RD                                                                                                    MONTROSE            MI   48457‐9326
PURYEAR, JOHANNA                     38200 FAIRWAY CT APT 28A                                                                                        CLINTON TOWNSHIP    MI   48038‐3491
PURYEAR, JOHN J                      8214 DUBAY ST                                                                                                   DETROIT             MI   48234‐4081
PURYEAR, MARJORIE                    49 FULTON ST                                                                                                    EAST ORANGE         NJ   07017‐2110
PURYEAR, ROBERT E                    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK             VA   23510‐2212
                                                                        STREET, SUITE 600
PURYEAR, SOLOMAN                      5334 FRENCH RD                                                                                                 DETROIT            MI    48213‐3329
PURYEAR, TOMMY H                      504 EMILY DR                                                                                                   LAKESIDE           TX    76108‐9424
PURYEAR, ZINOBI A                     6065 GRANGE HALL RD                                                                                            HOLLY              MI    48442‐8704
PURZYCKI, JOANNE                      11531 ORCHARDVIEW DR                                                                                           FENTON             MI    48430‐2545
PURZYCKI, KAREN L                     349 W CANFORD PARK                                                                                             CANTON             MI    48187‐6667
PURZYCKI, MATTHEW B                   8294 GROVE CREEK CV                                                                                            CORDOVA            TN    38018
PURZYCKI, NORMAN G                    15990 WIDGEON CT                                                                                               MACOMB             MI    48044‐3239
PURZYCKI, RAYMOND B                   159 GREENWOOD RD                                                                                               CROSSVILLE         TN    38558‐8746
PUSATERI & PUSATERI PC PROFIT SHARING PUSATERI & PUSATERI P C           PROFIT SHARING PLAN               128 PRICHARD ST                            FITCHBURG          MA    01420
PLAN
PUSATERI JOANN                        NEED BETTER ADDRESS 11/09/06CP    13613 SECOND ST                                                              GRABILL            IN    46741
PUSATERI JR, SALVATORE L              464 VINE ST                                                                                                    LOCKPORT           NY    14094‐2456
PUSATERI SHERI                        PUSATERI, SHERI                   3 SUMMIT PARK DR STE 100                                                     INDEPENDENCE       OH    44131‐2598
PUSATERI, ALICE                       23 BRIDLEWOOD DR                                                                                               LOCKPORT           NY    14094‐4865
PUSATERI, GARY M                      111 PATRICE TER                                                                                                WILLIAMSVILLE      NY    14221‐4703
PUSATERI, GEORGE W                    178 KELLER AVE                                                                                                 KENMORE            NY    14217‐2508
PUSATERI, JOANNE PERAINO              208 BISCAYNE DR                                                                                                ROCHESTER          NY    14612‐4241
PUSATERI, MENZIE J                    5113 EDGEWATER COURT                                                                                           PLAINFIELD         IL    60586
PUSATERI, MICHAEL A                   2545 CARNEGIE DR                                                                                               STATE COLLEGE      PA    16803
PUSATERI, MICHAEL A                   3831 POINTE TREMBLE RD                                                                                         ALGONAC            MI    48001‐4647
PUSATERI, MICHAEL J                   10800 BRIGHTON BAY BLVD           NE APT 3103                                                                  ST PETERSBURG      FL    33716
PUSATERI, SALVATORE L                 2315 QUAKER RD                                                                                                 GASPORT            NY    14067‐9441
PUSATERI, SUSAN B                     2900 FOREST AVE                                                                                                BROOKFIELD         IL    60513‐1031
PUSC LEONARD J (ESTATE OF) (517154)   EARLY & STRAUSS                   420 LEXINGTON AVE RM 840                                                     NEW YORK           NY    10170‐0840
PUSC, LEONARD J                       EARLY & STRAUSS                   GRAYBAR BUILDING SUITE 840, 420                                              NEW YORK           NY    10170
                                                                        LEXINGTON AVENUE
PUSCEDDU EMANUELA                    23/B, RUE EMILE VANDERVELDE                                                            B‐7033 CUESMES BELGIUM
PUSCHEL, GARRY L                     4370 S GENESEE RD                                                                                               GRAND BLANC         MI   48439‐7958
PUSDESRIS, MARLENE G                 22058 CAPE COD WAY                                                                                              FARMINGTN HLS       MI   48336‐4355
PUSEY III, CALEB J                   408 W 1ST ST                                                                                                    OCILLA              GA   31774‐1708
PUSEY JR, ERNEST                     147 ROSE AVE                                                                                                    HIGHLAND HEIGHTS    KY   41076‐1125
PUSEY, BETTY J                       5370 VINEYARD DR                                                                                                CLAY                NY   13041‐9142
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Name                            Address1                          Address2                   Address3   Address4              City               State Zip
PUSEY, CRAIG R                  1126 LORENE AVE                                                                               MOUNT MORRIS        MI 48458‐2136
PUSEY, DORA M                   5488 S LINDEN RD                                                                              SWARTZ CREEK        MI 48473‐8275
PUSEY, DORA M                   5488 LINDEN RD                                                                                SWARTZ CREEK        MI 48473‐8275
PUSEY, JEFFREY D                3061 JOLLY RD                                                                                 PLYMOUTH MEETING    PA 19462‐2357
PUSEY, MARK C                   123 S VAN RD                                                                                  HOLLY               MI 48442‐9476
PUSH INC.                                                         1381 18 1/2 ST                                                                  WI 54822
PUSH TWENTY TWO                 ATTN: MIKE BERDILLE               22 W HURON ST                                               PONTIAC             MI 48342‐2192
PUSH, PEDAL, PULL INC           1160 ANN ARBOR RD W                                                                           PLYMOUTH            MI 48170‐2131
PUSHALA, JOHN M                 615 S POPLAR ST                                                                               MANTENO              IL 60950‐1693
PUSHALA, JOHN M                 615 SOUTH POPLAR STREET                                                                       MANTENO              IL 60950‐1693
PUSHARD, JUDITH A               2986 OLD DALLAS RD SW                                                                         MARIETTA            GA 30064
PUSHECK, BARBARA A              3017 LANSDOWNE RD                                                                             WATERFORD           MI 48329‐2955
PUSHECK, BENJAMIN L             3017 LANSDOWNE RD                                                                             WATERFORD           MI 48329‐2955
PUSHIES, DANIEL W               806 ROUND LAKE RD                                                                             WHITE LAKE          MI 48386
PUSHMAN MANUFACTURING CO INC    JAMES W. PUSHMAN                  1044 GRANT STREET                                           LAKE WALES          FL 33853
PUSHMAN MANUFACTURING COMPANY   JAMES W. PUSHMAN                  1044 GRANT STREET                                           LAKE WALES          FL 33853

PUSHMAN MANUFACTURING COMPANY   JAMES W. PUSHMAN                  1044 GRANT ST                                               FENTON              MI 48430‐1716

PUSHMAN, DALE M                 584 HUIZENGA AVE                                                                              ZEELAND            MI   49464‐1423
PUSHMAN, GENE E                 2228 E COOK RD                                                                                GRAND BLANC        MI   48439‐8012
PUSHWAL CLYDE (636600)          ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                    WILMINGTON         DE   19801‐1813
PUSHWAL, CLYDE                  ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                    WILMINGTON         DE   19801‐1813
PUSHWAL, CLYDE H                9895 PALACE HALL DR               APT 213                                                     LAUREL             MD   20723‐5787
PUSHWAL, HELEN M                APT 213                           9895 PALACE HALL DRIVE                                      LAUREL             MD   20723‐5787
PUSHWAL, HELEN M                9895 PALACE HALL DRIVE            APT 213                                                     LAUREL             MD   20723
PUSIC, KAREN                    4490 RITA AVENUE                                                                              AUSTINTOWN         OH   44515‐3826
PUSIC, RATKO                    4490 RITA ST                                                                                  AUSTINTOWN         OH   44515‐3826
PUSIN, CHARLES J                36 EMMA ST                                                                                    GIRARD             OH   44420‐3201
PUSKA, BERTHA I                 226 NANITA DR                                                                                 MONTROSE           MI   48457‐9165
PUSKA, MICHAEL F                APT 403                           4141 MCCARTY ROAD                                           SAGINAW            MI   48603‐9327
PUSKA, WALLACE E                6558 MILFORD RD                                                                               HOLLY              MI   48442‐8648
PUSKAR, ANNA L                  164 COUNTY PARK RD                                                                            MT. PLEASANT       PA   15666‐2382
PUSKAR, FRANK L                 835 KING ST                                                                                   PEEKSKILL          NY   10566‐1815
PUSKAR, JAMES G                 1007 NEWPORT MEWS DR                                                                          BENSALEM           PA   19020‐3948
PUSKAR, JEAN R                  618 HOMESTEAD AVE                                                                             PEEKSKILL          NY   10566‐5410
PUSKAR, JOHN G                  PO BOX 9022                       ADAM OPEL AG 86‐01                                          WARREN             MI   48090‐9022
PUSKAR, KATHLEENE A             4205 W PRICE BLVD                                                                             NORTH PORT         FL   34286‐4208
PUSKAR, KATHRYN A               817 ALTHEA AVE NW                                                                             WARREN             OH   44483‐2101
PUSKAR, LORI                    1007 NEWPORT MEWS DR                                                                          BENSALEM           PA   19020‐3948
PUSKAR, ROBERT W                41539 REDMOND CT                                                                              CLINTON TOWNSHIP   MI   48038‐5854
PUSKARCIK JR, THADDEUS R        4081 LEEWOOD RD                                                                               STOW               OH   44224‐2439
PUSKARIC, ALAN T                28 CONCORD DR 1                                                                               IRWIN              PA   15642
PUSKARIC, ALAN T                PO BOX 262                                                                                    HARRISON CITY      PA   15636‐0262
PUSKARIC, CHARLES W             MOTORVAGEN 1 FACK                 STOCKHOLM                                                   STOCKHOLM
PUSKARIC, DENNIS M              9769 SE CRAPE MYRTLE CT                                                                       HOBE SOUND         FL   33455‐3020
PUSKARZ, DAVID R                11939 GREENBRIAR DR                                                                           JEROME             MI   49249‐9592
PUSKAS, DAVID A                 5461 TOWNLINE RD                                                                              SANBORN            NY   14132‐9001
PUSSEHL, MATTHEW C              65755 CAMPGROUND RD                                                                           WASHINGTON         MI   48095‐1813
PUSTAI, IRENE                   7775 BLOOMFIELD AVE                                                     MONTREAL QC H3N‐2H4
                                                                                                        CANADA
PUSTAI, RONALD J                4 EAGLE WAY APT C                                                                             QUEENSBURY         NY 12804‐5871
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Name                                 Address1                        Address2                 Address3   Address4         City               State Zip
PUSTARFI, ROBERT                     DURST LAW FIRM PC               319 BROADWAY                                         NEW YORK            NY 10007
PUSTARFI, SANDRA                     DURST LAW FIRM PC               319 BROADWAY                                         NEW YORK            NY 10007
PUSTAY JR, FRANK                     8311 LEATHERMAN RD                                                                   WADSWORTH           OH 44281‐8417
PUSTAY, BERNARDICA S                 18088 HILLCREST DR                                                                   LAKE MILTON         OH 44429‐9728
PUSTELNIK, DONNA E                   4204 WESTON DR                                                                       BURTON              MI 48509‐1049
PUSTELNIK, DONNA E                   4204 WESTON                                                                          BURTON              MI 48509‐1049
PUSTELNIK, THOMAS E                  10835 HILLS LANE DR                                                                  GOODRICH            MI 48438‐9462
PUSTELNY, JOSEPH W                   APT 1713                        2349 RAILROAD STREET                                 PITTSBURGH          PA 15222‐4698
PUSTELNY, MATTHEW                    11486 GERALD DR                                                                      WARREN              MI 48093‐2603
PUSTELNY, MICHAEL                    5851 SCOTCH SETTLEMENT RD                                                            ALMONT              MI 48003
PUSTOLA, LINDA L                     15870 WEST ALPINE RIDGE DRIVE                                                        SURPRISE            AZ 85374‐2196
PUSTOLA, LINDA L                     15870 W ALPINE RIDGE DR                                                              SURPRISE            AZ 85374‐2196
PUSTOVER KEITH                       242 SAND CASTLE DR                                                                   HOLLAND             MI 49424‐6295
PUSTOVER, DAVID P                    50940 PARK PLACE DR                                                                  NORTHVILLE          MI 48167‐9167
PUSTOVER, JANET K                    33 CHURCHILL DRIVE                                                                   TINTON FALLS        NJ 07724
PUSTOVER, KEITH A                    242 SAND CASTLE DR                                                                   HOLLAND             MI 49424
PUSTULKA, MICHAEL J                  4094 WOODARD RD                                                                      DELEVAN             NY 14042‐9712
PUSZCZAK, MARK                       6041 MEADOWBROOK DR                                                                  NORCROSS            GA 30093‐3729
PUSZCZAK, WLADYSLAWA                 6041 MEADOWBROOK DR                                                                  NORCROSS            GA 30093‐3729
PUSZERT, RONALD L                    24 MAPLEWOOD AVE                                                                     BUFFALO             NY 14224‐1516
PUSZYKOWSKI, CURT M                  7587 ALEX CT                                                                         FREELAND            MI 48623‐8416
PUSZYKOWSKI, JOHN M                  336 S LINCOLN RD                                                                     BAY CITY            MI 48708‐9195
PUSZYKOWSKI, LEAH B                  4800 WEISS ST                                                                        SAGINAW             MI 48603
PUSZYKOWSKI, ROBERT                  3975 HACKETT RD                                                                      SAGINAW             MI 48603‐9676
PUSZYKOWSKI, VICTORIA                336 S LINCOLN RD                                                                     BAY CITY            MI 48708‐9195
PUTALA BRIAN                         3129 EXETER DR                                                                       MILFORD             MI 48380‐3233
PUTALA, BRIAN J                      3129 EXETER DR                                                                       MILFORD             MI 48380‐3233
PUTANS, BRONISLAWS B                 2308 BARNARD ST                                                                      SAGINAW             MI 48602‐5064
PUTANSU, JAMES M                     28075 RUBY CT                                                                        CHESTERFIELD        MI 48047‐5253
PUTANSU, RICHARD J                   53684 OAKVIEW DR                                                                     SHELBY TOWNSHIP     MI 48315‐1921
PUTANSU, RICHARD J                   42716 TESSMER DR                                                                     STERLING HEIGHTS    MI 48314‐3078
PUTAREK JR, JOSEPH P                 6274 TALA DR                                                                         POLAND              OH 44514‐2117
PUTAREK JR., JOSEPH P                6274 TALA DR                                                                         POLAND              OH 44514‐2117
PUTATERI, BONNIE G                   5794 LEETE RD                                                                        LOCKPORT            NY 14094‐1210
PUTCHA, NARASIMHA S                  6040 HEARTHSIDE DR                                                                   TROY                MI 48098‐5363
PUTCO INC                            216 W 1ST ST                                                                         STORY CITY           IA 50248‐1900
PUTCO INC LTR RE US PAT NO 5476349   PUTCO INC                       801 GRAND AVE STE 3200                               DES MOINES           IA 50309‐8009
PUTCO INC.                           216 W 1ST ST                                                                         STORY CITY           IA 50248‐1900
PUTERBAUGH JR, DONNELL E             7228 TARRYTON RD                                                                     CENTERVILLE         OH 45459‐3451
PUTERBAUGH, BARBARA J                786 BRITTON AVE                                                                      DAYTON              OH 45429‐5606
PUTERBAUGH, BARRY G                  3780 IRIS DR                                                                         WATERFORD           MI 48329‐1113
PUTERBAUGH, DEBORAH K                3374 DITMER RD                                                                       LAURA               OH 45337‐8739
PUTERBAUGH, EDNA M                   786 BRITTON AVE                                                                      DAYTON              OH 45429‐5606
PUTERBAUGH, ELNORA                   902 CLARKSDALE DRIVE                                                                 MUNCIE              IN 47304
PUTERBAUGH, EMERSON H                4272 CROWNWOOD AVE                                                                   DAYTON              OH 45415
PUTERBAUGH, GLEN R                   1752 WATERVIEW WAY                                                                   KOKOMO              IN 46902‐8113
PUTERBAUGH, HELEN H                  319 ALBERT RD                                                                        BROOKVILLE          OH 45309‐9247
PUTERBAUGH, HELEN M                  325 W PEABODY CIRCLE                                                                 AVON PARK           FL 33825‐2275
PUTERBAUGH, HELEN M                  1957 N LAKEMAN DR                                                                    BELLBROOK           OH 45305‐1212
PUTERBAUGH, JEWELL L                 6539 HOLLANSBURG SAMPSON RD                                                          ARCANUM             OH 45304‐9021
PUTERBAUGH, JEWELL L                 6539 HOLLANDSBURG‐SAMPSON RD.                                                        ARCANUM,            OH 45304‐9021
PUTERBAUGH, JOAN                     6818 SHAWNEE RUN RD                                                                  CINCINNATI          OH 45243‐2418
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Name                                   Address1                         Address2                        Address3   Address4         City              State Zip
PUTERBAUGH, JOHN A                     4448 REDONDA LN                                                                              DAYTON             OH 45416‐1324
PUTERBAUGH, JOHN D                     786 BRITTON AVE                                                                              DAYTON             OH 45429‐5606
PUTERBAUGH, JOHN D                     786 BRITTON DR                                                                               DAYTON             OH 45429‐5606
PUTERBAUGH, KATHERINE M                1654 PENCE PL                                                                                DAYTON             OH 45432‐3316
PUTERBAUGH, KATHERINE M                1654 PENCE PLACE                                                                             DAYTON             OH 45432‐3316
PUTERBAUGH, LANA R                     2880 S 1100 E                                                                                PERU               IN 46970
PUTERBAUGH, MICHAEL D                  1612 REDBUSH AVE                                                                             KETTERING          OH 45420‐1348
PUTERBAUGH, PEARL                      4272 CROWNWOOD AVE                                                                           DAYTON             OH 45415‐1402
PUTERBAUGH, PEARL                      4272 CORWNWOOD AVE.                                                                          DAYTON             OH 45415‐5415
PUTERBAUGH, ROBERT L                   4206 WYNFIELD PL                                                                             ENGLEWOOD          OH 45322‐2646
PUTERBAUGH, RONALD S                   5023 JORDAN RD                                                                               LEWISBURG          OH 45338‐7774
PUTERBAUGH, SHIRLEY L                  5407 WOODLAND RD                                                                             CELINA             OH 45822‐5822
PUTERBAUGH, STEPHEN E                  10950 ROSE LN                                                                                BIRCH RUN          MI 48415‐9437
PUTERBAUGH, SUZANNE                    1240 GINGHAMSBURG FREDERICK RD                                                               TIPP CITY          OH 45371‐9634
PUTERBAUGH, THELMA B                   PO BOX 168                                                                                   DALEVILLE          IN 47334‐0168
PUTERBAUGH, THELMA B                   BOX 168                                                                                      DALEVILLE          IN 47334‐0168
PUTERBAUGH, WILLIAM D                  3374 DITMER RD                                                                               LAURA              OH 45337‐8739
PUTERBAUGH,WILLIAM D                   3374 DITMER RD                                                                               LAURA              OH 45337‐8739
PUTHOFF, BERNETTA M                    4502 PARKWOOD DR                                                                             MILTON             WI 53563‐8976
PUTHOFF, DENNIS R                      4502 PARKWOOD DR                                                                             MILTON             WI 53563‐8976
PUTHOFF, DOROTHY M                     1620 MARLBORO LN                                                                             CREST HILL          IL 60403‐2016
PUTHOFF, ELLA M                        APT 19                           3280 WALTON BOULEVARD                                       ROCHESTER HLS      MI 48309‐1287
PUTHOFF, JIMMIE L                      4789 BAYSHORE DR                                                                             BLAINE             WA 98230‐6501
PUTHOFF, ROBERT H                      8 WARE AVE                                                                                   DAYTON             OH 45410‐2131
PUTIGANO, VICTORIA S                   701 SUMMIT ST                    APT 40                                                      NILES              OH 44446‐4446
PUTIGANO, VICTORIA S                   701 SUMMIT AVE APT 40                                                                        NILES              OH 44446‐3652
PUTINSKY, COLLEEN T                    5337 CHIN MAYA DR                                                                            SWARTZ CREEK       MI 48473‐8611
PUTINSKY, GOLDA M                      265 SYCAMORE DRIVE                                                                           OAKLAND            MI 48363‐1356
PUTKAMER, KEVIN
PUTKO, JULIE                           17 SANDRA AVE                                                                                TERRYVILLE        CT   06786‐5016
PUTKO, VALERIE F                       1161 WILL O WOOD DR                                                                          HUBBARD           OH   44425‐3337
PUTKOVICH, VIOLA E                     PO BOX 1636                                                                                  CASHIERS          NC   28717‐1636
PUTMAN EXPRESS                         309 E OREGON ST                                                                              LAPEER            MI   48446‐2325
PUTMAN I I, LLOYD F                    1304 PENBROKE DR # 154                                                                       OWOSSO            MI   48867‐4712
PUTMAN II, LLOYD FRANCIS               1304 PENBROKE DR # 154                                                                       OWOSSO            MI   48867‐4712
PUTMAN JOHN (447105)                   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                                        PROFESSIONAL BLDG
PUTMAN JR, FRED W                      3093 KINGS MILL RD                                                                           NORTH BRANCH      MI 48461‐8995
PUTMAN ROBERT (447106)                 BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                        PROFESSIONAL BLDG
PUTMAN ROBERT A (350842) ‐ FRIZZIOLE   WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                                NEW YORK          NY 10005
CHARLES                                                                 PLAZA
PUTMAN, AUDREY J                       1931 LORAINE AVE                                                                             LANSING           MI   48910‐8730
PUTMAN, BRYAN V                        111 SUGAR MILL DR                                                                            BOWLING GREEN     KY   42104‐0397
PUTMAN, CHARLES E                      247 ROBINHOOD WAY                                                                            FYFFE             AL   35971‐3250
PUTMAN, CHARLES P                      1002 GILBERT PL                                                                              BRENTWOOD         TN   37027‐4775
PUTMAN, CHARLES R                      5035 PHEASANT RD                                                                             WATERFORD         MI   48327‐2464
PUTMAN, CHARLIE S                      557 TRI COUNTY RD                                                                            BROOKS            GA   30205‐2452
PUTMAN, CHRISTOPHER M                  3839 GARFIELD ST                                                                             WAYNE             MI   48184‐1929
PUTMAN, CINDA                          4130 HEATHGATE DR                                                                            LANSING           MI   48911‐2518
PUTMAN, CLYDE B                        2813 W LEVEE OAKS                                                                            COLLIERVILLE      TN   38017‐8928
PUTMAN, DANIEL E                       6820 CRANBERRY DRIVE                                                                         NEW PORT RICHEY   FL   34653‐4653
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Name                                Address1                         Address2                       Address3   Address4         City              State Zip
PUTMAN, DE‐ANNE E                   1744 LAKE HEIGHTS CIR                                                                       DACULA             GA 30019‐3234
PUTMAN, DEAN E                      686 DARTMOUTH DR                                                                            ROCHESTER HILLS    MI 48307‐4518
PUTMAN, DEAN EDWARD                 686 DARTMOUTH DR                                                                            ROCHESTER HILLS    MI 48307‐4518
PUTMAN, DORIS                       573 MAJESTIC DR                                                                             DAYTON             OH 45427‐2825
PUTMAN, DOROTHY M                   39500 WARREN ROAD                #361 WEST HICKORY                                          CANTON             MI 48187
PUTMAN, DOROTHY M                   39500 WARREN RD TRLR 361         #361 WEST HICKORY                                          CANTON             MI 48187‐4349
PUTMAN, ELLINGTON E                 575 OTAY LAKES RD APT 39                                                                    CHULA VISTA        CA 91913‐1005
PUTMAN, GARRY W                     2110 N SALEM DR                                                                             INDEPENDENCE       MO 64058‐1355
PUTMAN, GREGORY D                   3817 OAKCREST LANE                                                                          ZEPHYRHILLS        FL 33541‐6423
PUTMAN, GREGORY D                   5827 PINECREST DR                                                                           NEW PRT RCHY       FL 34653‐4426
PUTMAN, HAZEL M                     3102 PROSPECT ELKTON RD                                                                     PROSPECT           TN 38477‐6228
PUTMAN, HOBART J                    1994 E SNOVER RD                                                                            MAYVILLE           MI 48744‐9711
PUTMAN, IVAN A                      3023 DEBRA CT                                                                               AUBURN HILLS       MI 48326‐2043
PUTMAN, J C                         2390 MIAMI BEACH DR                                                                         FLINT              MI 48507‐1031
PUTMAN, JACK L                      403 PINECREST DR                                                                            DOTHAN             AL 36301‐5051
PUTMAN, JEFFREY A                   10888 DEVILS LAKE HWY                                                                       ADDISON            MI 49220‐9539
PUTMAN, JEFFREY AVEN                10888 DEVILS LAKE HWY                                                                       ADDISON            MI 49220‐9539
PUTMAN, JESS A                      4346 APACHE DR                                                                              BURTON             MI 48509‐1414
PUTMAN, JOHN                        BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
PUTMAN, JOYCE A                     P.O. BOX 1866                                                                               BULLHEAD CITY     AZ   86430‐1866
PUTMAN, JOYCE A                     PO BOX 1866                                                                                 BULLHEAD CITY     AZ   86430‐1866
PUTMAN, LARRY G                     2822 N 83RD TER                                                                             KANSAS CITY       KS   66109‐1430
PUTMAN, MARRELL                     1070 KETTERING ST                                                                           BURTON            MI   48509‐2350
PUTMAN, MARTHA A                    3023 DEBRA CT                                                                               AUBURN HILLS      MI   48326‐2043
PUTMAN, MICHAEL C                   11701 MERIDIAN LINE RD                                                                      JOHANNESBURG      MI   49751‐9404
PUTMAN, MICHELE D                   207 LAFAYETTE ST                                                                            DALLAS            GA   30157‐0566
PUTMAN, PATRICIA A                  403 PINECREST DR                                                                            DOTHAN            AL   36301‐5051
PUTMAN, PATRICK M                   1839 MORIN DR                                                                               BAY CITY          MI   48708‐6955
PUTMAN, RALPH L                     967 E TIENKEN RD                                                                            ROCHESTER HILLS   MI   48306‐4548
PUTMAN, RAYMOND D                   7064 DOWN CREEK DR                                                                          VASSAR            MI   48768‐9250
PUTMAN, ROBERT F                    PO BOX 549                                                                                  CATAWBA           NC   28609‐0549
PUTMAN, ROBERT F                    40388 WORTHINGTON CT                                                                        CANTON            MI   48188‐1510
PUTMAN, RONALD O                    3418 N 1220 W                                                                               FLORA             IN   46929‐9535
PUTMAN, SHARON L                    12754 WILLOW TRAIL DR                                                                       FLORISSANT        MO   63033‐4695
PUTMAN, THOMAS E                    3770 SHERBROOK CT                                                                           COLLEGE PARK      GA   30349‐1445
PUTMAN, TRACY J                     201 N CHESTER RD                                                                            CHARLOTTE         MI   48813‐9547
PUTMAN, WILLIAM C                   348 S MAIN ST                                                                               BOAZ              AL   35957‐2028
PUTNAK, ROBERT L                    1507 4TH ST                                                                                 MONONGAHELA       PA   15063‐1204
PUTNAM BUICK, INC.                  JOSEPH PUTNAM                    900 PENINSULA AVE                                          BURLINGAME        CA   94010‐3083
PUTNAM BUICK‐PONTIAC‐GMC TRUCK, INC 900 PENINSULA AVE                                                                           BURLINGAME        CA   94010‐3083

PUTNAM BUICK‐PONTIAC‐GMC TRUCK,   900 PENINSULA AVE                                                                             BURLINGAME        CA 94010‐3083
INC.
PUTNAM CHEV‐CADI‐HUMM INC         JOSEPH PUTNAM                      198 CALIFORNIA DR                                          BURLINGAME        CA 94010‐4323
PUTNAM CHEVROLET CADILLAC &       198 CALIFORNIA DR                                                                             BURLINGAME        CA 94010‐4323
HUMMER
PUTNAM CHEVROLET‐CADILLAC‐HUMMER, JOSEPH PUTNAM                      198 CALIFORNIA DR                                          BURLINGAME        CA 94010‐4323
INC.
PUTNAM CHEVROLET‐PONTIAC COMPANY WILLIAM CAMPBELL                    500 W BUCHANAN ST                                          CALIFORNIA        MO 65018‐1225
                                     09-50026-mg          Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                             Address1                               Address2                       Address3           Address4         City          State Zip
PUTNAM CHEVROLET‐PONTIAC COMPANY 500 W BUCHANAN ST                                                                                         CALIFORNIA     MO 65018‐1225

PUTNAM COUNTY C.S.E.A.            ACCT OF PATRICK W BLOOMFIELD          1331 E FOURTH ST                                                   OTTAWA        OH   45875
PUTNAM COUNTY C.S.E.A.            ACCT OF T KELLER                      1331 E FOURTH ST                                                   OTTAWA        OH   45875
PUTNAM COUNTY C.S.E.A.            ACCOUNT OF ALPHONSE H SCHNIPKE        1331 E FOURTH ST                                                   OTTAWA        OH   45875
PUTNAM COUNTY CLERK               ACCOUNT OF RONNIE SMITH               CAUSE #CV84434                 COURTHOUSE                          GREENCASTLE   IN   31264
PUTNAM COUNTY CLERKS OFFICE       COUNTY OFFICE BUILDING                40 GLENEIDA AVE                                                    CARMEL        NY   10512
PUTNAM COUNTY CPR                 NORMIE MYER TREASURER                 493 S OAK ST                                                       OTTAWA        OH   45875‐1827
PUTNAM COUNTY CSEA ACCT OF        A H SCHNIPKE 88‐169                   PO BOX 30                      1331 E FOURTH ST                    OTTAWA        OH   45875‐0030
PUTNAM COUNTY TAX COLLECTOR       PO BOX 1339                                                                                              PALATKA       FL   32178‐1339
PUTNAM COUNTY TREASURER           245 E. MAIN STREET                                                                                       OTTAWA        OH   45875
PUTNAM COUNTY VEHICLE MAINTENANCE                                       270 CARLEN AVE                                                                   TN   38501
DEPT.
PUTNAM COURTY COURT               245 E MAIN ST STE 303                                                                                    OTTAWA        OH   45875‐1988
PUTNAM DOUGLAS                    7288 BIRCH DRIVE                                                                                         NINEVEH       IN   46164‐9438
PUTNAM HAYES & BARTLETT INC       10 CANAL PARK STE 4                                                                                      CAMBRIDGE     MA   02141‐2250
PUTNAM HAYES & BARTLETT INC       1776 EYE ST                                                                                              WASHINGTON    DC   20006
PUTNAM HOSPITAL CENT              200 WESTAGE BUSINESS CTR DR STE 230                                                                      FISHKILL      NY   12524‐2288

PUTNAM INVESTMENTS                  CONSOLIDATED CASHBOOKS              100 FINANCIAL PARK                                                 FRANKLIN      MA   02038‐3232
PUTNAM JR, JOHNNY W                 41151 COLONIAL DR                                                                                      SORRENTO      LA   70778‐3432
PUTNAM JR, LOEL R                   PO BOX 4389                                                                                            FORT SMITH    AR   72914‐4389
PUTNAM JR, WAYNE L                  11066 MAPLE RUN BLVD                                                                                   CLIO          MI   48420‐2401
PUTNAM OZELL (631528)               MAZUR & KITTEL PLLC                 1490 FIRST NATIONAL BUILDING                                       DETROIT       MI   48226
PUTNAM PRECISION MOLDING INC        11 DANCO RD                                                                                            PUTNAM        CT   06260‐3001
PUTNAM RICHARD A (407626)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                        NORFOLK       VA   23510
                                                                        STREET, SUITE 600
PUTNAM SALES & SERVICE, INC.        GREGORY KING                        139 POMFRET ST                                                     PUTNAM        CT   06260‐1803
PUTNAM TRANSFER & STORAGE CO        1705 MOXAHALA AVE                                                                                      ZANESVILLE    OH   43701‐5952
PUTNAM, AARON C                     4571 MARLETTE RD                                                                                       CLIFFORD      MI   48727‐9523
PUTNAM, AMANDA J                    27200 U DR N                                                                                           SPRINGPORT    MI   49284‐9412
PUTNAM, AMANDA J                    4143 BRIDGEPORT DR                                                                                     LANSING       MI   48911
PUTNAM, ANDREA K                    41151 COLONIAL DR                                                                                      SORRENTO      LA   70778‐3432
PUTNAM, ANDREA KANGELARIS           41151 COLONIAL DR                                                                                      SORRENTO      LA   70778‐3432
PUTNAM, ARTHUR C                    W161N10515 BROOK HOLLOW DR                                                                             GERMANTOWN    WI   53022‐5707
PUTNAM, AUDREY L                    PO BOX 62                           11267 S MISSION RD                                                 SHEPHERD      MI   48883‐0062
PUTNAM, BOBBIE J                    1653 RIVIERA ST                                                                                        SAGINAW       MI   48604‐1654
PUTNAM, BOBBIE JO                   1653 RIVIERA ST                                                                                        SAGINAW       MI   48604‐1654
PUTNAM, CALVIN E                    1122 REMINGTON TRL                                                                                     COLUMBIA      TN   38401‐9051
PUTNAM, CECIL E                     4175 MUSHROOM RD                                                                                       DEFORD        MI   48729‐9727
PUTNAM, CHRISTINE A                 8231 S 43RD ST                                                                                         FRANKLIN      WI   53132‐7915
PUTNAM, CONNIE S                    3503 MCKINLEY RD 824                                                                                   MIO           MI   48647
PUTNAM, DANIEL R                    8657 W GRAND RIVER RD                                                                                  LAINGSBURG    MI   48848‐8748
PUTNAM, DARLEEN ANN                 1209 CENTER ST, ALOHA                                                                                  CHEBOYGAN     MI   49721
PUTNAM, DARRELL J                   258 E MAIN ST UNIT E                                                                                   LOS GATOS     CA   95030‐6141
PUTNAM, DAVID J                     480 CALKINS RD                                                                                         ROCHESTER     NY   14623
PUTNAM, DAVID L                     7107 BRODERICK DR                                                                                      MELBOURNE     FL   32940‐5901
PUTNAM, DAVID M                     3226 MURPHY LN                                                                                         COLUMBIA      TN   38401
PUTNAM, DENISE L                    2325 ORE CREEK LN                                                                                      BRIGHTON      MI   48114‐6902
PUTNAM, DENNIS N                    228 OHIO AVE NW                                                                                        WARREN        OH   44485‐2752
PUTNAM, DENNIS W                    7119 VIENNA ROAD                                                                                       OTISVILLE     MI   48463‐9474
PUTNAM, DIANNA J                    1006 HAROLD ST                                                                                         BAY CITY      MI   48708‐7565
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Name                        Address1                          Address2                        Address3   Address4         City            State Zip
PUTNAM, DONALD E            1305 ORCHARD LN                                                                               HARVARD           IL 60033‐3720
PUTNAM, DONNA CHRISTINE     4571 MARLETTE RD                                                                              CLIFFORD         MI 48727‐9523
PUTNAM, DORA L              PO BOX 22992                                                                                  DENVER           CO 80222‐0992
PUTNAM, ERIC A              10009 MERRILL DR                                                                              FENTON           MI 48430
PUTNAM, FORD E              1870 S MURRAY RD                                                                              CARO             MI 48723‐9454
PUTNAM, GEORGE WASHINGTON   BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                               DALLAS           TX 75219
PUTNAM, GERALD L            471 LANSING RD                                                                                AKRON            OH 44312‐2254
PUTNAM, GERALD R            3413 BADGER CT                                                                                PUEBLO           CO 81005‐4008
PUTNAM, GLENN A             8231 S 43RD ST                                                                                FRANKLIN         WI 53132‐7915
PUTNAM, HELEN L             G 6305 BREWER RD                                                                              FLINT            MI 48507‐4603
PUTNAM, JACK W              830 WHEELING RD                                                                               IMLAY CITY       MI 48444‐9413
PUTNAM, JAMES A             PO BOX 521                                                                                    NEWTON FALLS     OH 44444‐0521
PUTNAM, JAMES E             8726 SWAN RD                                                                                  ONAWAY           MI 49765‐8820
PUTNAM, JAMES M             9815 RENTSMAN NE                                                                              CEDAR SPRINGS    MI 49319‐9769
PUTNAM, JAMES M             1906 NUECES TRL                                                                               ARLINGTON        TX 76012‐3028
PUTNAM, JANE B              16216 TERRY LN                                                                                HUNTERSVILLE     NC 28078‐9389
PUTNAM, JEAN M              1900 REDBUD LN APT 230                                                                        LANSING          MI 48917‐7643
PUTNAM, JEANNE E            160 QUARRY HILL EST 160                                                                       AKRON            NY 14001
PUTNAM, JOHN E              12774 MAXWELL RD                                                                              CARLETON         MI 48117‐9700
PUTNAM, JOHN ERNEST         12774 MAXWELL RD                                                                              CARLETON         MI 48117‐9700
PUTNAM, JOHN L              6625 SWALLOW DR                                                                               HARRISON         MI 48625‐9049
PUTNAM, JOHN P              206 PARK RIDGE DR                                                                             BRANDON          MS 39042‐2947
PUTNAM, JOHN R              103 MIDFOREST LDG                                                                             PRUDENVILLE      MI 48651
PUTNAM, JULIA A             228 OHIO AVE NW                                                                               WARREN           OH 44485‐2752
PUTNAM, KATHRYN R           1424 ROSSDALE DR                                                                              WATERFORD        MI 48328‐4771
PUTNAM, KENNETH J           1209 CENTER ST, ALOHA                                                                         CHEBOYGAN        MI 49721
PUTNAM, KENNETH L           2754 CHURCH LN                                                                                TANEYTOWN        MD 21787‐1468
PUTNAM, KENNETH LEE         2754 CHURCH LN                                                                                TANEYTOWN        MD 21787‐1468
PUTNAM, KENNETH R           6512 WATERFORD HILL TER                                                                       CLARKSTON        MI 48346‐3382
PUTNAM, KIM M               8020 W FOREST HOME AVE                                                                        GREENFIELD       WI 53220‐3736
PUTNAM, KIM MARIE           8020 W FOREST HOME AVE                                                                        GREENFIELD       WI 53220‐3736
PUTNAM, KIRK S              2937 KEMLER RD                                                                                EATON RAPIDS     MI 48827‐8931
PUTNAM, LARRY J             2460 E DECKERVILLE RD                                                                         CARO             MI 48723‐9103
PUTNAM, LIBRADA G           80 W CHICAGO AVE                                                                              PONTIAC          MI 48340‐1131
PUTNAM, LINDA J             1729 ALLEGAN ST                                                                               SAGINAW          MI 48602‐2618
PUTNAM, LYLE A              406 GAYLORD ST                                                                                NEW HUDSON       MI 48165‐9782
PUTNAM, MARIANNE T          404 N ADELAIDE                                                                                FENTON           MI 48430‐1825
PUTNAM, MARY JO             16785 EDERER RD.                                                                              HEMLOCK          MI 48626
PUTNAM, MICHAEL G           404 N ADELAIDE ST                                                                             FENTON           MI 48430‐1825
PUTNAM, NANCY               103 MIDFOREST LDG                                                                             PRUDENVILLE      MI 48651‐9471
PUTNAM, OZELL               MAZUR & KITTEL PLLC               1490 FIRST NATIONAL BUILDING                                DETROIT          MI 48226
PUTNAM, PATRICIA A          10831 LAKE ST                                                                                 PAVILION         NY 14525‐9703
PUTNAM, PAULINE             4175 MUSHROOM RD                                                                              DEFORD           MI 48729‐9727
PUTNAM, RANDALL E           1653 RIVIERA ST                                                                               SAGINAW          MI 48604‐1654
PUTNAM, RHANDY A            1451 HOLLY ST                                                                                 CANTON           GA 30114‐8738
PUTNAM, RICHARD A           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
PUTNAM, RICHARD J           1140 TOWNLINE CT                                                                              GRAND BLANC     MI   48439‐1627
PUTNAM, RICHARD L           8 BALSAM DRIVE                                                                                SAINT LOUIS     MI   48880‐1003
PUTNAM, RICK L              PO BOX 415                                                                                    IMLAY CITY      MI   48444‐0415
PUTNAM, ROBERT A            3992 BAYWATCH LNDG NW                                                                         ACWORTH         GA   30101
PUTNAM, ROBERT M            2325 ORE CREEK LN                                                                             BRIGHTON        MI   48114‐6902
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Name                        Address1                       Address2               Address3      Address4         City                 State Zip
PUTNAM, ROSELLA             4150 SCHREIBER RD                                                                    HEMLOCK               MI 48626‐9537
PUTNAM, ROSELLA             4150 S SCHRIEBER RD                                                                  HEMLOCK               MI 48626‐9537
PUTNAM, RUBY H              140 ALLENWOOD RD                                                                     FAYETTEVILLE          GA 30214‐1402
PUTNAM, RUSSELL J           2115 E EVERGREEN DR                                                                  CARO                  MI 48723‐9224
PUTNAM, SUMMER A            1845 GREENWOOD RD                                                                    LAPEER                MI 48446‐9336
PUTNAM, TERRENCE L          4450 EL CENTRO RD APT 412                                                            SACRAMENTO            CA 95834‐2662
PUTNAM, TERRENCE L          APT 412                        4450 EL CENTRO ROAD                                   SACRAMENTO            CA 95834‐2662
PUTNAM, THOMAS E            3323 RIVER ST                                                                        KINGSTON              MI 48741‐9701
PUTNAM, THOMAS E            8499 EAST M‐71 LOT 119                                                               DURAND                MI 48429
PUTNAM, WILLIAM D           4208 LITTLE RD                                                                       CASS CITY             MI 48726‐9330
PUTNAM, WILLIAM H           3746 CHASE AVE                                                                       MIAMI BEACH           FL 33140
PUTNAM, WILLIAM J           11114 ROLLINGWOOD DR                                                                 PORT RICHEY           FL 34668‐2329
PUTNAM, WILLIAM L           PO BOX 277                                                                           DRYDEN                MI 48428‐0277
PUTNAM, WILLIAM L           3105 LAKE RD N                                                                       BROCKPORT             NY 14420‐9303
PUTNAM‐VANDERZEE, JOYCE A   38 GREYLEDGE DR                                                                      LOUDONVILLE           NY 12211‐2054
PUTNEY ALTON                11217 E ATHERTON RD                                                                  DAVISON               MI 48423‐9201
PUTNEY MATTHEW J            1125 FLAMMANG DR APT 4                                                               WATERLOO               IA 50702‐4327
PUTNEY, ALTON D             11217 E ATHERTON RD                                                                  DAVISON               MI 48423‐9201
PUTNEY, CHARLES L           323 AUTHER BRADLEY RD RR3                                                            LONDON                OH 43140
PUTNEY, CLARANCE L          10520 SHERIDAN RD                                                                    MONTROSE              MI 48457‐9403
PUTNEY, CLARANCE LEON       10520 SHERIDAN RD                                                                    MONTROSE              MI 48457‐9403
PUTNEY, CLARENCE L          RTE 265                                                                              CIBOLA                AZ 85328
PUTNEY, DANIEL G            426 PLEASANT ST                                                                      GRAND LEDGE           MI 48837‐1429
PUTNEY, DAVID C             4527 TERRY DR SE                                                                     KENTWOOD              MI 49512‐5318
PUTNEY, DAVID G             5210 CHICKASAW TRL                                                                   FLUSHING              MI 48433‐1089
PUTNEY, ETHELYN             7520 KIMBALL RD                                                                      LYONS                 MI 48851‐9697
PUTNEY, GREGORY E           2824 SKIDMORE RD                                                                     BRETHREN              MI 49619‐9630
PUTNEY, GREGORY EUGENE      2824 SKIDMORE RD                                                                     BRETHREN              MI 49619‐9630
PUTNEY, GREGORY M           220 W LINCOLN ST                                                                     GRAND LEDGE           MI 48837‐1512
PUTNEY, HARRY A             183 BRIDGE ST                                                                        FRANKFORT             MI 49635‐9761
PUTNEY, JOHN D              2642 W M 21                                                                          OWOSSO                MI 48867‐8125
PUTNEY, JOHN DEWAYNE        2642 WEST M 21                                                                       OWOSSO                MI 48867‐8125
PUTNEY, JUNE A              13 SILENT MEADOWS DR                                                                 SPENCERPORT           NY 14559‐9571
PUTNEY, LYNN R              7705 QUAIL RUN EAST SE                                                               GRAND RAPIDS          MI 49508‐7297
PUTNEY, MARVA A             5210 CHICKASAW TRL                                                                   FLUSHING              MI 48433‐1089
PUTNEY, PATRICIA J          2344 BOHNBURG AVE                                                                    GROVE CITY            OH 43123‐4711
PUTNEY, ROGER A             7524 KIMBALL RD                                                                      LYONS                 MI 48851‐9697
PUTNEY, VERNON W            514 VILLAGE BLVD N                                                                   BALDWINSVILLE         NY 13027‐3099
PUTNIK, BERNADINE L         4270 BRANDYWINE DR                                                                   BOCA RATON            FL 33487‐2276
PUTNIK, LJILJANA            111 AUSTIN CT                                                                        BOWLING GREEN         KY 42104‐8598
PUTNIK, NINOSLAV            111 AUSTIN CT                                                                        BOWLING GREEN         KY 42104‐8598
PUTNIK, WILLARD             60 SAUSALITO DR                                                                      BOYNTON BEACH         FL 33436‐2028
PUTNINS, MILDA              12830 DEER PATH LN             C/O SILVIJA ROWE                                      HARTLAND              MI 48353‐3014
PUTNINS, MILDA              C/O SILVIJA ROWE               12830 DEER PATH LANE                                  HARTLAND              MI 48353
PUTNIS, RUTA                2039 NORTHWEST                                                                       LANSING               MI 48906‐3651
PUTNOKY, ELIZABETH H        3756 US HIGHWAY ROUTE I                                                              MONMOUTH JCT          NJ 08852
PUTRICH, JULIA D            13346 EAGLE NEST TRL                                                                 SHELBY TOWNSHIP       MI 48315‐2322
PUTRICH, STUART M           13346 EAGLE NEST TRL                                                                 SHELBY TOWNSHIP       MI 48315‐2322
PUTROW, JOHN A              7280 NW 44TH LN                                                                      OCALA                 FL 34482
PUTRYCUS, ROBERT            27936 ROCKWOOD ST                                                                    SAINT CLAIR SHORES    MI 48081‐3634
PUTSCH GMBH & CO KG         4120 LUELLA LN                                                                       AUBURN HILLS          MI 48326‐1576
PUTSCH GMBH & CO KG         IAN COFFER                     3275 LAPEER RD W                                      AUBURN HILLS          MI 48326‐1723
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Name                              Address1                           Address2                      Address3   Address4                 City                  State Zip
PUTSCH GMBH & CO KG               IAN COFFER                         3275 LAPEER ROAD WEST                    TILBURY, ON CANADA
PUTSCH GMBH & CO KG               PATRICK KELLEHER                   1101 EAST EIGHTH STREET                                           ARNOLD                MO 63010
PUTSCH GMBH & CO KG               VON‐MILLER‐STRASSE 17                                                       KAISERSLAUTEN RP 67887
                                                                                                              GERMANY
PUTSCHKO, WILLIAM                 65172 85TH PL                                                                                        BEND                  OR    97701‐8087
PUTSEY, BILLY E                   2958 GENES DR                                                                                        AUBURN HILLS          MI    48326‐2108
PUTSEY, HWA C                     2958 GENES DR                                                                                        LAKE ANGELUS          MI    48326‐2108
PUTSEY, NANCY L                   814 EMERSON AVE                                                                                      PONTIAC               MI    48340‐3223
PUTSEY, NANCY L                   814 EMERSON ST                                                                                       PONTIAC               MI    48340‐3223
PUTT GENE                         C/O GOLDBERG, PERSKY & WHITE, PC   1030 FIFTH AVENUE                                                 PITTSBURGH            PA    15219
PUTT, DAVID A                     1220 SW 128TH ST                                                                                     OKLAHOMA CITY         OK    73170‐6956
PUTT, RICHARD A                   5470 CLARK RD                                                                                        BATH                  MI    48808‐9761
PUTT, STEPHEN F                   1345 STATE ROUTE 534 SW                                                                              NEWTON FALLS          OH    44444‐9520
PUTT, THERESE R                   8766 WOODBRIDGE DR                                                                                   GREENDALE             WI    53129‐1086
PUTT, THOMAS D                    11691 WHITETAIL DR                                                                                   MARILLA               NY    14102‐9710
PUTTEN, ROOSEVELT                 138 SHIAWASSEE RIVER DR                                                                              ADRIAN                MI    49221‐7720
PUTTERBAUGH, JAMES B              4360 MAILBOX AVE                                                                                     NORTH FORT MYERS      FL    33903‐5844
PUTTHOFF, ARTHUR L                207 MAIN ST                                                                                          BROMLEY               KY    41016‐1205
PUTTHOFF, JOHN E                  495 12TH TERRACE                                                                                     TONGANOXIE            KS    66086‐5507
PUTTHOFF, PHOEBE                  3183 HEATHERSIDE DR                                                                                  DUBLIN                OH    43017‐1821
PUTTHOFF, THOMAS R                610 RIDGEWAY ST                                                                                      TONGANOXIE            KS    66086‐9589
PUTTI, MARINO V                   2100 GRAFTON AVE                                                                                     CLERMONT              FL    34711‐5240
PUTTKAMER, GLADYS N               1439 WILLOW STREET                                                                                   WESTERN SPRINGS       IL    60558‐1362
PUTTKAMER, GLADYS N               1439 WILLOW AVE                                                                                      WESTERN SPRINGS       IL    60558‐1362
PUTTS HOWARD L (494114)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK               VA    23510
                                                                     STREET, SUITE 600
PUTTS, HOWARD L                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK                VA 23510‐2212
                                                                     STREET, SUITE 600
PUTTS, LAWRENCE J                 3425 FOSTER RIDGE LN                                                                                 CARMEL                 IN   46033‐4640
PUTTS, MICHAEL D                  708 WESSEX DR                                                                                        MURRELLS INLET         SC   29576‐9763
PUTTY, DONALD R                   17620 OWENS ST                                                                                       ATHENS                 AL   35611‐5682
PUTTY, KATE                       12810 COLUMBIA                                                                                       REDFORD                MI   48239‐2790
PUTTY, MICHAEL W                  1175 HOLLYWOOD AVE                                                                                   GROSSE POINTE WOODS    MI   48236
PUTTY, SANDRA M                   234 SULLIVAN DR                                                                                      SAN ANTONIO            TX   78213‐3452
PUTTY, WILLIAM L                  57564 RUBY LN                                                                                        WASHINGTN TWP          MI   48094‐3147
PUTVIN, THOMAS G                  49200 VILLAGE POINTE DR                                                                              SHELBY TWP             MI   48315‐3987
PUTZ FRANK (ESTATE OF) (454771)   SIMMONS FIRM                       PO BOX 559                                                        WOOD RIVER             IL   62095‐0559
PUTZ, DAVID W                     1737 HARRISON LN                                                                                     YOUNGSTOWN             NY   14174
PUTZ, FRANK                       SIMMONS FIRM                       PO BOX 559                                                        WOOD RIVER             IL   62095‐0559
PUTZ, GARY M                      414 BARTELL LN                                                                                       WEBSTER                NY   14580‐1753
PUTZ, GERALD F                    376 ABBEY WOOD DR                                                                                    ROCHESTER              MI   48306‐2602
PUTZ, KLARA M                     10193 NANCYS BLVD APT 75                                                                             GROSSE ILE             MI   48138‐2157
PUTZ, KLARA M                     10193 NANCY'S BLVD #75                                                                               GROSSE ILSE            MI   48138‐2157
PUTZ, LEO L                       3180 HERD RD                                                                                         METAMORA               MI   48455‐9709
PUTZ, LUDWIG                      1601 LAKE CLUB DR                                                                                    GAYLORD                MI   49735
PUTZ, M.D                         1200 E MICHIGAN AVE STE 715                                                                          LANSING                MI   48912‐1899
PUTZ, RUTH E                      14122 WOODWARD DR                                                                                    ORLAND PARK            IL   60462‐2319
PUTZ, THOMAS C                    5776 CULPEPPER DR                                                                                    WEST BLOOMFIELD        MI   48322‐1516
PUTZE, KIRK A                     1745 BYRON AVE                                                                                       MADISON HEIGHTS        MI   48071‐2046
PUTZMAN, DOROTHY E                148 HEATHER HILL DRIVE                                                                               WEST SENECA            NY   14224‐4704
PUUSEPP, HILLAR                   11 ALABAMA PL                                                                                        LOCKPORT               NY   14094‐5701
PUVALOWSKI, LEONARD E             16460 JESSICA DR                                                                                     MACOMB                 MI   48042‐5763
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Name                                 Address1                            Address2                       Address3         Address4                City                State Zip
PUVALOWSKI, RONALD A                 2967 SATURN DR                                                                                              LAKE ORION           MI 48360‐1742
PUVOGEL, JAY E                       222 W LAKE DR                                                                                               CADILLAC             MI 49601‐9684
PUVOGEL, JOY L.                      90 W ELIZABETH ST                                                                                           LAKE ORION           MI 48362‐3131
PUWAL, MICHAEL J                     5110 PYLES RD                                                                                               COLUMBIAVILLE        MI 48421‐8726
PUWAL, SUSAN M                       50245 CHERRY TREE LN                                                                                        SHELBY TOWNSHIP      MI 48317‐1416
PUWAL, THOMAS J                      50245 CHERRY TREE LN                                                                                        SHELBY TOWNSHIP      MI 48317‐1416
PUYDA, WALTER H                      225 SOMERVILLE AVE                                                                                          TONAWANDA            NY 14150‐8707
PUZ, DICK L                          539 WYOMING AVE                                                                                             NILES                OH 44446‐1051
PUZA, ELEANOR E                      460 NANTUCKET PL APT H                                                                                      VERMILION            OH 44089‐3255
PUZA, ELEANOR E                      460 NATUCKET PLACE APT H                                                                                    VERMILION            OH 44089‐3253
PUZA, GERALD L                       649 BELVEDERE DR                                                                                            BENICIA              CA 94510‐3738
PUZA, TIMOTHY M                      PO BOX 334                                                                                                  STONE LAKE           WI 54876‐0334
PUZA, TIMOTHY MARK                   PO BOX 334                                                                                                  STONE LAKE           WI 54876‐0334
PUZAKULICS, DAVID A                  4808 SHERMAN RD                                                                                             KENT                 OH 44240‐7098
PUZDER, MARTHA R                     4511 CHESTNUT ROAD                                                                                          INDEPENDENCE         OH 44131‐3232
PUZELLA, HELEN                       22700 GARRISON ST APT 504                                                                                   DEARBORN             MI 48124‐2026
PUZELLA, TONY                        18107 OUTER DR                                                                                              DEARBORN             MI 48128‐1334
PUZEMIS, ANTHONY J                   61 PHYLLIS AVE                                                                                              WATERBURY            CT 06708‐3613
PUZEMIS, CHARLES P                   134 42ND ST                                                                                                 SANDUSKY             OH 44870‐4854
PUZEY, BABETTE                       1623 COUNTY ROUTE 45                                                                                        FULTON               NY 13069‐4444
PUZEY, LINDA S                       2241 ZENIA DR                                                                                               TROY                 MI 48083‐6131
PUZIO, JOHN C                        649 COUNTY ROUTE 19 UNIT 21                                                                                 ELIZAVILLE           NY 12523‐1133
PUZIO, PAUL                          30400 RIDGEFIELD AVE                                                                                        WARREN               MI 48088‐3155
PUZJAK, BEATRICE                     8272 E CARPENTER RD                                                                                         DAVISON              MI 48423‐8962
PUZJAK, JAMIE R                      4372 N GALE RD                                                                                              DAVISON              MI 48423‐8912
PUZJAK, JOHN M                       8272 E CARPENTER RD                                                                                         DAVISON              MI 48423‐8962
PUZJAK, VIRGINIA J                   4470 CHIPMUNK RD.                                                                                           MIDDLEBURG           FL 32068
PUZYCKI, ARTHUR H                    8150 GREEN VALLEY DR                                                                                        GRAND BLANC          MI 48439‐8147
PUZZA, WILLARD V                     768 ROUTE 376                                                                                               HOPEWELL JUNCTION    NY 12533‐3111
PUZZUOLI DAVID                       42449 PARKHURST RD                                                                                          PLYMOUTH             MI 48170‐2525
PUZZUOLI, ALBERT                     24074 KEYWAY DR                                                                                             MACOMB               MI 48042‐5399
PUZZUOLI, ALFREDO                    8801 STONEY POINT DR                                                                                        LAS VEGAS            NV 89134‐8615
PUZZUOLI, DAVID J                    42449 PARKHURST RD                                                                                          PLYMOUTH             MI 48170‐2525
PUZZUOLI, DAVID JOEL                 42449 PARKHURST RD                                                                                          PLYMOUTH             MI 48170‐2525
PVAW, LLC.                           PHILIP HEITZ                        200 BALLARD RD                                                          PAULS VALLEY         OK 73075‐9217
PVI INDUSTRIAL CLEANING INC          DBA PVI INDUSTRIAL WASHING          2886 CLYDON AVE SW                                                      WYOMING              MI 49519‐2402
PVL INC                              1523 N MAIN ST                                                                                              ROYAL OAK            MI 48067‐1319
PVL INC/ROYAL OAK                    1523 N MAIN ST                                                                                              ROYAL OAK            MI 48067‐1319
PW ASSOCIATE/BRMNGHM                 31333 SOUTHFIELD ROAD                                                                                       BIRMINGHAM           MI 48012
PW COMMERCE CENTER
PW COMMERCE CENTER LP                PAC/SIB LLC                         ATTN ACCT/TEN 15350 SW SEQUOIA PKWY STE 300                             PORTLAND            OR 97224

PW COMMERCE CENTER LP                8080 NORTH CENTRAL EXPRESSWAY, SUITE ATTN: PROPERTY MANAGER                                                 DALLAS               TX   75206
                                     1010
PW COMMERCE CENTER, LP               8080 NORTH CENTRAL EXPRESSWAY, SUITE ATTN: PROPERTY MANAGER                                                 DALLAS               TX   75206
                                     1010
PW PREFERRED YIELD FUND II LIMITED
PARTN
PWA EVENT SERVICES                   509 FIRST ST                                                                                                ANNAPOLIS           MD 21403‐3319
PWC ASSOCIATES                       C\O THE RUBENSTEIN CO               4100 ONE COMMERCE SQ           2005 MARKET ST                           PHILADELPHIA        PA 19103
PWC CONSULTANTS (SHENZHEN) LTD       10TH FLOOR, SHUI ON PLAZA           333 HUAI HAI ZHONG RD.                          SHANGHAI 200021 CHINA
                                                                                                                         (PEOPLE'S REP)
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Name                         Address1                                Address2                        Address3   Address4               City             State Zip
PWGSC/TPSGC                  555 BOULEVARD DE LA CARRIERE                                                       HULL PQ J8Y6 CANADA
PWO CANADA INC               255 MCBRINE DR                                                                     KITCHENER ON N2R 1G7
                                                                                                                CANADA
PYA FLANAGAN                 3805 DONNELLY ST                                                                                          FLINT            MI    48504‐3558
PYAN, ANN J                  5921 S 20TH ST                                                                                            MILWAUKEE        WI    53221‐5010
PYANOWSKI JOHN R             3412 ALSACE PL                                                                                            BUFFALO          NY    14219‐2247
PYANOWSKI, THOMAS S          47 MILNOR AVE                                                                                             LACKAWANNA       NY    14218‐3440
PYARD JR, ROBERT L           2136 STOWEVALLEY DR SE                                                                                    KENTWOOD         MI    49508‐6399
PYARD, CECELIA A.            2147 KRISLIN DR NE                                                                                        GRAND RAPIDS     MI    49505‐7155
PYARD, LINDA L               15005 DIVISION AVE NE                                                                                     CEDAR SPRINGS    MI    49319‐8875
PYARD, TIMOTHY S             15005 DIVISION AVE NE                                                                                     CEDAR SPRINGS    MI    49319‐8875
PYATSKOWIT, CASSANDRA R      3110 MARMORE AVE                                                                                          CLEVELAND        OH    44134
PYATT LARRY                  PYATT, LARRY                            804 E MAIN ST                                                     CARMEL           IN    46032
PYATT SR, JOE N              1598 S INDIAN CREEK DR                                                                                    STONE MOUNTAIN   GA    30083‐5422
PYATT, DANNY J               PO BOX 63                                                                                                 POTOSI           MO    63664‐0063
PYATT, DAVID R               9426 DIAMOND MILL RD                                                                                      BROOKVILLE       OH    45309‐9227
PYATT, ERIC W                1914 SOMERVILLE CT                                                                                        MAUMEE           OH    43537‐2217
PYATT, EUGENE R              14420 MONDOUBLEAU LANE                                                                                    FLORISSANT       MO    63034‐2438
PYATT, JAMES C               1686 SELKIRK RD                                                                                           DAYTON           OH    45432‐3514
PYATT, JAMES C               1686 SELKIRK                                                                                              DAYTON           OH    45432‐5432
PYATT, JOSEPH J              6475 BUTLER NORTH LIBERTY RD                                                                              BUTLER           OH    44822‐9751
PYATT, LARRY                 804 E MAIN ST                                                                                             CARMEL           IN    46032‐2264
PYATT, LARRY J               369 WILSON RD                                                                                             BRANSON          MO    65616‐9129
PYATT, MICHAEL D             1336 GOVERNORS RUN CT                                                                                     O FALLON         MO    63366‐5576
PYATT, PATRICIA A            21977 STATE HIGHWAY U                                                                                     IRONDALE         MO    63648‐9630
PYATT, ROBERT R              PO BOX 63                                                                                                 POTOSI           MO    63664‐0063
PYATT, THOMAS B              22 MUSSELBURGH LN                                                                                         BELLA VISTA      AR    72715‐5555
PYBURN JR, CARLOS D          5230 SUNCREST DR                                                                                          DAYTON           OH    45414‐6101
PYBURN, JAMES E              34 WRIGHT RD                                                                                              WEST MILTON      OH    45383‐1616
PYBURN, JAMES E              34 WRIGHT ROAD                                                                                            WEST MILTON      OH    45383‐1616
PYBURN, WATANNA              5230 SUNCREST DR                                                                                          DAYTON           OH    45414‐6101
PYC, HELEN                   296 S SHORE BLVD                        C/O PHYLLIS CIESLA                                                LACKAWANNA       NY    14218‐1712
PYCH, JOHN M                 13304 HANNAN RD                                                                                           ROMULUS          MI    48174‐4739
PYCH, JOHN MICHAEL           13304 HANNAN RD                                                                                           ROMULUS          MI    48174‐4739
PYCH, THADDEUS E             14837 HAGGERTY RD                                                                                         BELLEVILLE       MI    48111
PYCH, WALTER R               14837 HAGGERTY RD                                                                                         BELLEVILLE       MI    48111‐6000
PYCHA NORMAN                 PYCHA, NORMAN                           728 1ST STREET                                                    COLEPEPPER       VA    22701
PYCHA, NORMAN                728 1ST ST                                                                                                CULPEPER         VA    22701‐2043
PYCHA, NORMAN                1 GEICO LNDG                                                                                              VIRGINIA BEACH   VA    23454‐5693
PYCHINKA, WALTER             LAVIN COLEMAN ONEIL RICCI FINARELLI &   1900 HAREWOOD RD                                                  EDGEWOOD         MD    21040
                             GRAY
PYCIAK, MARGARET             4619 HATHERLY PL                                                                                          STERLING HTS     MI    48310‐5125
PYCIOR, RONALD L             19105 E 30TH TER S                                                                                        INDEPENDENCE     MO    64057‐1915
PYCZ WANDA                   28656 STEELE DR                                                                                           WARREN           MI    48088‐6342
PYCZ, CHARLES D              28656 STEELE DR                                                                                           WARREN           MI    48088‐6342
PYDEN, THOMAS J              45992 ASHFORD CIR                                                                                         NOVI             MI    48374‐3650
PYE BUICK OLDSMOBILE INC     STONE & BELLUS PC                       6111 PEACHTREE DUNWOODY RD NE                                     ATLANTA          GA    30328
                                                                     BLDG D
PYE BUICK‐OLDSMOBILE         2809 E WALNUT AVE                                                                                         DALTON           GA 30721‐8737
PYE BUICK‐OLDSMOBILE, INC.   2809 E WALNUT AVE                                                                                         DALTON           GA 30721‐8737
PYE RICHARD (447107)         BEVAN & ASSOCIATES                      10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD       OH 44067
                                                                     PROFESSIONAL BLDG
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Name                                Address1                             Address2                         Address3                  Address4                  City             State Zip
PYE, CLEOPHUS J                     13818 BRUSH ST                                                                                                            HIGHLAND PARK     MI 48203‐3107
PYE, ROOSEVELT                      2202 E 120TH ST                                                                                                           LOS ANGELES       CA 90059‐2628
PYEATT, DANIEL W                    5501 HILL RD                                                                                                              SWARTZ CREEK      MI 48473‐8267
PYEATT, DEANNA D                    7088 WILLIAM JOHN COURT                                                                                                   SWARTZ CREEK      MI 48473‐9701
PYEATT, JOHN D                      5240 KIMBERLY DR                                                                                                          GRAND BLANC       MI 48439‐5158
PYEATT, PATRICIA                    GORI JULIAN & ASSOCIATES P C         156 N MAIN ST                                                                        EDWARDSVILLE       IL 62025
PYEATT, TIMOTHY P                   13286 OLD OAKS DR                                                                                                         FENTON            MI 48430‐9497
PYEONG HWA AUTOMOTIVE               900 WILSHIRE DR                      SUITE 135                                                                            TROY              MI 48084
PYEONG HWA AUTOMOTIVE (TAICANG      TONGJI GARDEN SCIENCE A1 NO 28       SHANGHAI RD                                                TAICANG JIANGSU CN
                                                                                                                                    215400 CHINA (PEOPLE'S
                                                                                                                                    REP)
PYEONG HWA AUTOMOTIVE (TAICANG) CO TONGJI GARDEN SCIENCE A1 NO 288                                                                  TAICANG JIANGSU CN
                                                                                                                                    215400 CHINA (PEOPLE'S
                                                                                                                                    REP)
PYEONG HWA AUTOMOTIVE CO LTD        900 WILSHIRE DR                      SUITE 135                                                                            TROY             MI 48084
PYEONG HWA AUTOMOTIVE CO LTD        EUGENE PAIK X103                     PHC                              1055 JUNGLI DONG SEO GU   TAEGU KOREA (REP)
                                                                                                          DAEGU
PYEONG HWA AUTOMOTIVE CO LTD        MR. DONG‐HEE, SON                    TONGJI GARDEN SCIENCE A1 # 288   SHANGHAI RD                                         PHARR             TX   78577

PYEONG HWA AUTOMOTIVE CO LTD        TONGJI GARDEN SCIENCE A1 NO 288                                                                 TAICANG JIANGSU CN
                                                                                                                                    215400 CHINA (PEOPLE'S
                                                                                                                                    REP)
PYEONG HWA AUTOMOTIVE CO LTD        900 WILSHIRE DR STE 300              FRMLY PYEONG HWA CORP                                                                TROY             MI 48084‐1600
PYEONG HWA AUTOMOTIVE CO LTD        900 WILSHIRE DRIVE SUITE 135                                                                    TROY MI 48084 CHINA
PYEONG HWA AUTOMOTIVE CO LTD        1032 DAECHEON DONG DALSEO GU                                                                    TAEGU, 704‐8 KOREA
PYEONG HWA AUTOMOTIVE CO LTD        900 WILSHIRE DR                      STE 300                                                                              TROY             MI 48084
PYEONG HWA AUTOMOTIVE CO LTD        ATTN: CORPORATE OFFICER/AUTHORIZED   900 WILSHIRE DR STE 300                                                              TROY             MI 48084‐1600
                                    AGENT
PYEONG HWA AUTOMOTIVE CO., LTD.     1032 DAECHEON‐DONG                   DALSEO‐GU                                                  TAEGU, KOREA
PYEONG HWA AUTOMOTIVE TAICANG       MR. DONG‐HEE, SON                    TONGJI GARDEN SCIENCE A1 # 288   SHANGHAI RD                                         PHARR             TX   78577

PYEONG/KOREA                        214 NOWON 3 GA BUK‐GU                                                                           TAEGU KR 702‐8150 SOUTH
                                                                                                                                    KOREA
PYER, WARREN R                      3206 BRYANT AVE                                                                                                           BALTIMORE        MD 21227‐1803
PYERS JAMES R (400524)              SWEENEY ROBERT E CO                  1500 ILLUMINATING BLDG , 55                                                          CLEVELAND        OH 44113
                                                                         PUBLIC SQUARE
PYERS, DEAN H                       8212 CLAY CT                                                                                                              STERLING HTS     MI 48313‐4602
PYERS, GREGG E                      9842 N COUNTY ROAD 775 W W                                                                                                NORTH SALEM      IN 46165
PYERS, JAMES                        SWEENEY ROBERT E CO                  1500 ILLUMINATING BLDG, 55                                                           CLEVELAND        OH 44113
                                                                         PUBLIC SQUARE
PYETT, TIMOTHY                      3803 WRENTHAM DR                                                                                                          ARLINGTON        TX    76016‐2744
PYETT, VINSON                       2715 CHESLEY AVE                                                                                                          BALTIMORE        MD    21234‐7622
PYFFEROEN, TIMOTHY EDWARD           10349 163RD ST W                                                                                                          LAKEVILLE        MN    55044‐5401
PYFRIN, JANICE                      PO BOX 81                                                                                                                 COLLEGE CORNER   OH    45003‐0081
PYGMALION TECH CONSULTING GROUP     15 MARC TER                                                                                                               MONROE           NY    10950‐4310

PYGMALION TECHNOLOGY                15 MARC TER                                                                                                               MONROE           NY 10950‐4310
CONSULTINCORP
PYGON, JAMES L                      4757 MCKINLEY PKWY                                                                                                        HAMBURG          NY    14075‐1013
PYGON, JAMES LESLIE                 4757 MCKINLEY PKWY                                                                                                        HAMBURG          NY    14075‐1013
PYKARE, OLIVE B                     2975 VAN WYE ST SE                                                                                                        WARREN           OH    44484‐5418
PYKARE, OLIVE B                     2975 VAN WYE SE                                                                                                           WARREN           OH    44484‐5418
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Name                          Address1                          Address2                      Address3   Address4         City                 State Zip
PYKE, CHRISTINE M             2225 W BRDWAY                                                                               BUNKER HILL           IN 46914
PYKE, CHRISTINE M             2225 W BROADWAY                                                                             BUNKER HILL           IN 46914
PYKE, DANIEL T                4556 ANDERGOOD RD                                                                           LEWISTON              MI 49756‐9217
PYKE, DONALD A                8605 123RD ST E                                                                             PUYALLUP              WA 98373‐4986
PYKE, DONALD H                1370 SAND BEACH RD                                                                          BAD AXE               MI 48413‐8717
PYKE, GEORGE R                902 S LOCKE ST                                                                              KOKOMO                IN 46901
PYKE, JAMES E                 3204 COUNTRY CLUB DR E                                                                      ROCHESTER             IN 46975‐8975
PYKE, JOHN I                  6200 WALDON RD                                                                              CLARKSTON             MI 48346‐2237
PYKE, LARRY A                 6565 WALTON ST                                                                              INDIANAPOLIS          IN 46241‐1044
PYKE, PHYLLIS K               3204 COUNTRY CLUB DR E                                                                      ROCHESTER             IN 46975‐8975
PYKE, ROSE T                  3455 WILEX AVE. S.W.                                                                        WYOMING               MI 49519‐3105
PYKE, ROSE T                  3455 WILEX AVE SW                                                                           WYOMING               MI 49519‐3105
PYKE, STEVEN W                6084 TREE LINE DR                                                                           GRAND BLANC           MI 48439‐9791
PYKE, WAYNE L                 2459 HICKORY GLEN DR                                                                        BLOOMFIELD HILLS      MI 48304‐2205
PYKE, WILLIAM L               1500 CHESTNUT TRAIL CT.                                                                     OXFORD                MI 48371
PYKOSZ, MARGARET K            7656 W EMPIRE HWY                                                                           EMPIRE                MI 49630‐9720
PYLAND, DAVID D               9285 N GENESEE RD                                                                           MOUNT MORRIS          MI 48458‐9734
PYLAND, DAVID DOYLE           9285 N GENESEE RD                                                                           MOUNT MORRIS          MI 48458‐9734
PYLAND, EMILY L
PYLAND, LEONARD D             1184 S VASSAR RD                                                                            BURTON               MI   48509‐2329
PYLAND, LEONARD DEWAYNE       1184 S VASSAR RD                                                                            BURTON               MI   48509‐2329
PYLAND, TERRY M               13527 N 500 W                                                                               ELWOOD               IN   46036
PYLAND, WINFORD D             1491 COUNTY ROAD 510                                                                        LAKE CITY            AR   72437‐9037
PYLANT, ANTHONY M             3725 TROUSDALE LN                                                                           COLUMBIA             TN   38401‐8965
PYLANT, ANTHONY MAPLES        3725 TROUSDALE LN                                                                           COLUMBIA             TN   38401‐8965
PYLANT, LOUIS                 2001 RAINBOW DR                                                                             WEST MONROE          LA   71291‐7628
PYLANT, LOUIS L               2001 RAINBOW DR                                                                             WEST MONROE          LA   71291‐7628
PYLANT, MALCOLM M             27230 WELLS LN                                                                              CONROE               TX   77385‐9082
PYLANT, WILLIE                3347 COOLIDGE HWY                                                                           ROYAL OAK            MI   48073‐6858
PYLAR, ROBERT J               21331 PARKWAY ST                                                                            SAINT CLAIR SHORES   MI   48082‐2211
PYLAR, ROSE A                 33730 ELFORD DR                                                                             STERLING HEIGHTS     MI   48312‐5913
PYLAR, ROSE A                 33730 ELFORD                                                                                STERLING HEIGHTS     MI   48312‐5913
PYLAT JR, JOHN A              2378 TOPAZ DR                                                                               TROY                 MI   48085‐3840
PYLAT LOIS J                  2378 TOPAZ DR                                                                               TROY                 MI   48085‐3840
PYLAT, LOIS J                 2378 TOPAZ DR                                                                               TROY                 MI   48085‐3840
PYLE DAVID                    43477 DODARO DR                                                                             TEMECULA             CA   92592‐6603
PYLE DREHER MILLS & DYE PA    775 WOODLAND PKWY STE 100                                                                   RIDGELAND            MS   39157
PYLE JR, CHARLES H            1814 BOIS D ARC DR                                                                          ARLINGTON            TX   76013‐3314
PYLE JR, JOHN J               1152 NAPLES DR                                                                              PENSACOLA            FL   32507‐8167
PYLE PARKS L (641085)         ZAMLER, MELLEN & SHIFFMAN         23077 GREENFIELD RD STE 557                               SOUTHFIELD           MI   48075‐3727
PYLE TRANSPORT SERVICES INC   650 WESTTOWN RD                                                                             WEST CHESTER         PA   19382‐4900
PYLE, A DUIE INC              PO BOX 564                                                                                  WEST CHESTER         PA   19381‐0564
PYLE, ALAN M                  4727 WILLOWBROOK DR                                                                         SPRINGFIELD          OH   45503‐5838
PYLE, ANTHONY W               9213 NW 60TH ST                                                                             PARKVILLE            MO   64152
PYLE, BARBARA M               2760 W 500 S                                                                                MARION               IN   46953‐9323
PYLE, BARBARA P               55 OVERVIEW DR                                                                              GREENSBURG           PA   15601‐1272
PYLE, BERTHA L                14026 AZALEA DR                                                                             NEWTON FALLS         OH   44444‐9609
PYLE, BRUCE M                 32077 RED CREEK DR                                                                          CHESTERFIELD         MI   48047‐4572
PYLE, CARLOS H                309 S CLINTON ST                                                                            SUMMITVILLE          IN   46070‐9701
PYLE, CAROLINE L              2452 N EAST DR                                                                              TAWAS CITY           MI   48763‐8703
PYLE, DAVID                   304 N 480 W                                                                                 KOKOMO               IN   46901‐3714
PYLE, DAVID K                 14656 EXETER RD                                                                             CARLETON             MI   48117‐9245
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Name                    Address1                        Address2                      Address3   Address4         City            State Zip
PYLE, DAVID R           215 COWEN ST BOX 305                                                                      HAMLER           OH 43524
PYLE, DAVID W           5447 STATE ROUTE 95                                                                       BELLVILLE        OH 44813‐9152
PYLE, DONALD D          307 S 27TH ST                                                                             LEXINGTON        MO 64067‐1926
PYLE, EARL              SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST       MS 39083‐3007
PYLE, ERLENE K          3227 N 100 E                                                                              ALBION           IN 46701‐9718
PYLE, FERN A            10947 W KELSO DR                                                                          SUN CITY         AZ 85351‐4655
PYLE, FERN A            10947 KELSO DRIVE                                                                         SUN CITY         AZ 85351‐4655
PYLE, GLADYS J          14022 BLENHEIM RD N                                                                       PHOENIX          MD 21131
PYLE, GLENNA            209 S HOWARD BOX 404                                                                      SUMMITVILLE      IN 46070‐9225
PYLE, GLENNA
PYLE, HAROLD E          204 N SANDERSON DR                                                                        RICHMOND        MO   64085‐1441
PYLE, HERBERT L         920 BRADLEY AVE                                                                           FLINT           MI   48503‐3107
PYLE, JAMES R           8238 HARDY ST                                                                             OVERLAND PARK   KS   66204‐3616
PYLE, JAMES W           126TH O8 NORTH 175 E                                                                      ALEXANDRIA      IN   46001
PYLE, JEFFREY L         4344 WHEATLAND DR                                                                         SWARTZ CREEK    MI   48473‐8255
PYLE, JOHN S            64 CHAUCER DR                                                                             NEWARK          DE   19713‐3818
PYLE, JOYCE J           PO BOX 93                       8049 STATE RD                                             GOODRICH        MI   48438‐0093
PYLE, JOYCE J           P O BOX 93                      8049 STATE RD                                             GOODRICH        MI   48438‐0093
PYLE, JUDITH            HC1 BOX 1665                                                                              WAPPAPELLO      MO   63966‐9722
PYLE, JUDITH            HC 1 BOX 1665                                                                             WAPPAPELLO      MO   63966‐9722
PYLE, JUNE              938 NAAMANS CREEK RD                                                                      GARNET VALLEY   PA   19061‐1102
PYLE, KAREN R           14045 SARASOTA                                                                            REDFORD         MI   48239‐2836
PYLE, L E               4025 CLEVELAND AVE                                                                        SAINT LOUIS     MO   63110‐3920
PYLE, LEE A             208 STONECLIFF WAY                                                                        SPARTANBURG     SC   29301‐5370
PYLE, LINDA             1584 JOSLYN                                                                               PONTIAC         MI   48340‐1315
PYLE, MARGARET I        512 CAROLYN DR                                                                            MIAMISBURG      OH   45342‐2616
PYLE, MARY W            506 WEST VAN BUREN STREET                                                                 ALEXANDRIA      IN   46001‐1339
PYLE, MELVIN C          3840 JOHNSVILLE BROOKVILLE                                                                BROOKVILLE      OH   45309‐8771
PYLE, MELVIN R          710 W 3RD ST                                                                              HILLMAN         MI   49746‐9036
PYLE, MURRAY J          541 WIMBLETON DR                                                                          BIRMINGHAM      MI   48009‐5639
PYLE, NATHAN
PYLE, PARKS L           ZAMLER, MELLEN & SHIFFMAN       23077 GREENFIELD RD STE 557                               SOUTHFIELD      MI   48075‐3727
PYLE, RICHARD D         303 N MAPLE ST                                                                            CHADRON         NE   69337‐2031
PYLE, RUSSELL C         865 E FINGASTLE TURNPIKE                                                                  N TAZEWELL      VA   24630
PYLE, STEPHEN K         2421 W 500 S                                                                              MARION          IN   46953‐9322
PYLE, STEVEN E          PO BOX 82                                                                                 NEW LEBANON     OH   45345
PYLE, STEVEN L          423 E RIVER ST                                                                            JONESBORO       IN   46938‐1611
PYLE, VANCE L           1475 MIMOSA CT                                                                            GREENFIELD      IN   46140‐7825
PYLE, WILLIAM G         12301 PONDER RD                                                                           ELLENDALE       DE   19941‐2515
PYLES DIV/WIXOM         28990 S WIXOM RD                                                                          WIXOM           MI   48393‐3416
PYLES GENE & LOIS       16400 MILTON AVE                                                                          LAKE MILTON     OH   44429‐9798
PYLES JAMES             413 HERITAGE LOOP                                                                         HUTTO           TX   78634
PYLES JOHN E (342328)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                        STREET, SUITE 600
PYLES JR, LUTHER L      774 E CARPENTER RD                                                                        FLINT           MI 48505‐2209
PYLES, DAILEY L         107 N EASTWOOD                                                                            MUNCIE          IN 47303
PYLES, DAQUAN
PYLES, DICK E           5495 WILSON RD                                                                            COLUMBIAVILLE   MI   48421‐8937
PYLES, DOROTHY          240 N ELBA                                                                                LAPEER          MI   48446‐8007
PYLES, H                PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON         MS   39206‐5621
PYLES, J C              681 N 5TH ST                                                                              MIDDLETOWN      IN   47356‐1007
PYLES, JACK D           7264 MAPLECREST CIR                                                                       SWARTZ CREEK    MI   48473‐1595
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Name                           Address1                       Address2                      Address3   Address4         City              State Zip
PYLES, JACK L                  201 S HIGH ST                                                                            ARCANUM            OH 45304‐1209
PYLES, JAMES C                 555 PARK DR                                                                              CARLISLE           OH 45005‐3384
PYLES, JAMES J                 265 LAKESIDE DR                                                                          PROTEM             MO 65733‐6324
PYLES, JOHN E                  5939 PYLES RD                                                                            COLUMBIAVILLE      MI 48421‐8734
PYLES, JOHN E                  GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                              STREET, SUITE 600
PYLES, JOHN H                  2414 BASSETT PL                                                                          FLINT             MI   48504‐5102
PYLES, JOHN HENRY              2414 BASSETT PL                                                                          FLINT             MI   48504‐5102
PYLES, JOHN L                  4824 SHEVLIN CT                                                                          EAGAN             MN   55122‐2747
PYLES, JOSEPH E                10224 HORTON RD                                                                          GOODRICH          MI   48438‐9473
PYLES, JUDITH S                5120 LINDEN RR 7                                                                         ANDERSON          IN   46017
PYLES, KEITH J                 6173 RICH ST                                                                             DAVISON           MI   48423‐8930
PYLES, KEITH JAMES             6173 RICH ST                                                                             DAVISON           MI   48423‐8930
PYLES, LUTHER L                2410 BASSETT PL                                                                          FLINT             MI   48504‐5102
PYLES, MABEL A                 813 MARION ST                                                                            SHEFFIELD LAKE    OH   44054‐2129
PYLES, MABEL A                 813 MARION ST.                                                                           SHEFFIELD LAKE    OH   44054‐2129
PYLES, MARGARET E              5495 WILSON RD                                                                           COLUMBIAVILLE     MI   48421‐8937
PYLES, MARY M.                 30700 DROUILLARD RD #238                                                                 WALBRIDGE         OH   43465‐1557
PYLES, MELVIA M                19525 COUNTY ROAD 212                                                                    DEFIANCE          OH   43512‐9349
PYLES, NELSON D                240 N ELBA RD                                                                            LAPEER            MI   48446‐8007
PYLES, PATRICIA E              PO BOX 617                                                                               ABERDEEN          OH   45101‐0617
PYLES, PATRICIA E              BOX 617                                                                                  ABERDEEN          OH   45101‐0617
PYLES, PATRICK D               9264 HIGHWAY K                                                                           REDFORD           MO   63665‐7567
PYLES, REBA J                  6162 POTTER RD                                                                           BURTON            MI   48509‐1384
PYLES, ROBERT W                1515 N 100 W                                                                             GREENFIELD        IN   46140‐8605
PYLES, SHALONDA J              2414 BASSETT PL                                                                          FLINT             MI   48504‐5102
PYLES, SHARON                  4729 KEDRON RD                                                                           SPRING HILL       TN   37174‐2254
PYLES, SHERRY D                200 EUGENIA ST                                                                           ARBYRD            MO   63821
PYLES, TIMMY L                 3346 BACHER RD SW                                                                        WARREN            OH   44481‐9705
PYLES, VIVIAN M                1516 S HILL ST                                                                           MARION            IN   46953
PYLES, WANDA                   1824 UNION SW                                                                            WARREN            OH   44485‐3541
PYLES, WILLIAM J               11202 CARR RD                                                                            DAVISON           MI   48423‐9350
PYLES, WILLIAM JOSEPH          11202 CARR RD                                                                            DAVISON           MI   48423‐9350
PYLES, ZANE J                  12406 WILSON RD                                                                          OTISVILLE         MI   48463‐9609
PYLES‐ZALEWSKI, JOETTA M       16185 WHITEHEAD DR                                                                       LINDEN            MI   48451‐8773
PYLES‐ZALEWSKI, JOETTA MARIE   16185 WHITEHEAD DR                                                                       LINDEN            MI   48451‐8773
PYLILO, CAROLYN                29 SHERWOOD LN                                                                           TOMS RIVER        NJ   08757‐4407
PYLMAN, BEVERLY G              9075 APPLE BLOSSOM TRL                                                                   EMPIRE            MI   49630‐9431
PYLVAINEN, MARTIN              2671 BAY DR                                                                              WEST BLOOMFIELD   MI   48324‐2025
PYLYPENKO, VERA                C/O VALENTINA AFETIAN          9231 MERRICK                                              TAYLOR            MI   48180
PYLYPENKO, VERA                9231 MERRICK ST                C/O VALENTINA AFETIAN                                     TAYLOR            MI   48180‐3824
PYLYPIW, ALICE                 5862 NC 30                                                                               BETHEL            NC   27812
PYLYPYSHYN, ANDREW             400 LAKE PARK DR                                                                         MYRTLE BEACH      SC   29588‐6816
PYNE FREIGHT INC               15 S KEYSER AVE                                                                          TAYLOR            PA   18517‐1501
PYNE, ALICE L                  12495 EAST POTTER RD                                                                     DAVISON           MI   48423
PYNE, BERNARD H                2458 BURWOOD CT                                                                          HIGHLAND          MI   48357‐3019
PYNE, BERNARD H
PYNE, CAROLYN G                1262 TOWNSEND AVE                                                                        YOUNGSTOWN        OH   44505‐1270
PYNE, GEORGE M                 1262 TOWNSEND AVE                                                                        YOUNGSTOWN        OH   44505‐1270
PYNE, JAMES H                  940 S US 23                                                                              HARRISVILLE       MI   48740‐9502
PYNE, JANET M                  560 ECHO HOLLOW DR                                                                       HARRISON          MI   48625
PYNE, KARELYN M                PO BOX 307                                                                               FREDERICA         DE   19946
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Name                           Address1                             Address2                         Address3     Address4              City               State Zip
PYNE, KAREN L                  11348 N FENTON RD                                                                                        FENTON              MI 48430‐9723
PYNE, ROBERT L                 8698 STATE RD                                                                                            COLDEN              NY 14033‐9718
PYNE, ROBERT LUMAN             8698 STATE RD                                                                                            COLDEN              NY 14033‐9718
PYNE, VICTOR O                 560 ECHO HOLLOW DR                                                                                       HARRISON            MI 48625‐9451
PYNN, ADRIANNE B               2714 BELL SHOALS RD                                                                                      BRANDON             FL 33511‐7608
PYNN, ROBERT J                 2714 BELL SHOALS RD                                                                                      BRANDON             FL 33511‐7608
PYONG SAN CO LTD               170‐1 SANJEON‐RI DUNPO‐MYEON                                                       ASAN‐SI
                                                                                                                  CHUNGCHEONGNAM‐DO
                                                                                                                  336‐870 KOREA (REP)
PYONG SAN CORP                 170‐1 SANJEON‐RI DUNPO‐MYEON                                                       ASAN‐SI
                                                                                                                  CHUNGCHEONGNAM‐DO
                                                                                                                  336‐870 KOREA (REP)
PYONGSAN AMERICA INC           SUNG HAN                             760 WEST VETERANS BLVD                        JOHANNESBURG SOUTH
                                                                                                                  AFRICA
PYONGSAN AMERICA INC           760 W VETERANS BLVD                                                                                      AUBURN              AL   36832‐6939
PYONGSAN AMERICA INC           ATTN: CORPORATE OFFICER/AUTHORIZED   760 W VETERANS BLVD                                                 AUBURN              AL   36832‐6939
                               AGENT
PYONIN, HYMAN                  2613 NASSAU BND APT B1               WYNMOOR COMMON                                                      COCONUT CREEK      FL 33066‐2717
PYPE, NANETTE                  39368 DELLA ROSA DR                                                                                      STERLING HEIGHTS   MI 48313‐5224
PYPER TOOL & ENGINEERING INC   ATTN: CORPORATE OFFICER/AUTHORIZED   3003 WILSON DR NW                                                   GRAND RAPIDS       MI 49534‐7565
                               AGENT
PYPER TOOL & ENGINEERING INC   3003 WILSON DR NW                                                                                        GRAND RAPIDS       MI    49534
PYPKOWSKI, REGINA              5734 HEREFORD ST                                                                                         DETROIT            MI    48224‐2054
PYRA, JAMES H                  2711 FOREST AVE                                                                                          NIAGARA FALLS      NY    14301‐1439
PYRA, JAMES HENRY              2711 FOREST AVE                                                                                          NIAGARA FALLS      NY    14301‐1439
PYRAMID AUTO SALES & SERVICE   10537 BROOKS AVE                                                                                         CONVERSE           TX    78109‐2906
PYRAMID BROKERAGE, INC.        JOHN CLARK                           5786 WIDEWATERS PKWY             P.O. BOX 3                         SYRACUSE           NY    13214
PYRAMID PAPER PRODUCTS INC     725 S MAPLETON ST                                                                                        COLUMBUS           IN    47201‐7354
PYRAMID SERVICE                390 HIGHLAND AVE                                                                                         IOWA CITY          IA    52240‐4511
PYRAMID SOLUTIONS              30150 TELEGRAPH RD STE 200                                                                               BINGHAM FARMS      MI    48025‐4519
PYRAMID SOLUTIONS INC          30150 TELEGRAPH RD STE 200                                                                               BINGHAM FARMS      MI    48025‐4519
PYRC, EDITH M                  7382 HIGH POINT BLVD                                                                                     BROOKSVILLE        FL    34613‐7315
PYRC, EDITH M                  7382 HIGHPOINT BLVD                                                                                      BROOKSVILLE        FL    34613‐7315
PYRC, ROMAN                    7149 NEWBERRY RD                                                                                         DURAND             MI    48429‐9138
PYRCE, PHILIP R                237 NAGEL DR                                                                                             CHEEKTOWAGA        NY    14225‐4709
PYRCE, SHARON C                1325 DODGE RD                                                                                            GETZVILLE          NY    14068‐1388
PYRCHALLA, WILLIAM             10845 MINNESOTA CT                                                                                       ORLAND PARK        IL    60467‐9341
PYRCIAK, ROBERT J              3047 LIVINGSTON AVE                                                                                      NIAGARA FALLS      NY    14303‐2022
PYRDA, BRIAN J                 1368 CROSSINGS PKWY                                                                                      WESTLAKE           OH    44145‐6203
PYREK, RUDOLPH L               32834 OAKVIEW DR                                                                                         WARREN             MI    48092‐1023
PYRET, EDWARD M                2281 CHISHOLM CT                                                                                         HOLT               MI    48842‐8715
PYRETT, RICHARD D              4423 JOAN DR                                                                                             CLIO               MI    48420‐9406
PYRITZ, JACK E                 11200 CENTAUR RD                                                                                         WAKE FOREST        NC    27587‐9640
PYRKA MICHAEL                  BALNIUS, AL                          355 S OLD WOODWARD AVE STE 250                                      BIRMINGHAM         MI    48009‐6215

PYRKA MICHAEL                  PYRKA, MICHAEL                       PO BOX 192                                                          COLCHESTER         CT 06415‐0192
PYRKA MICHAEL                  PYRKA, MICHAEL                       33 RIVER STREET                                                     CHAGRIN FALLS      OH 44022
PYRKA MICHAEL                  PYRKA, MICHAEL                       355 S OLD WOODWARD AVE STE 250                                      BIRMINGHAM         MI 48009‐6215

PYRO SERVICE COMPANY           25812 JOHN R RD                                                                                          MADISON HEIGHTS    MI 48071‐4020
PYROGRAF PRODUCTS INC          154 W XENIA AVE                                                                                          CEDARVILLE         OH 45314‐9529
PYROMATION INC                 5211 INDUSTRIAL RD                                                                                       FORT WAYNE         IN 46825‐5117
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PYROMATION INC                  5211 INDUSTRIAL RD             PO BOX 5601                                                 FORT WAYNE         IN 46825‐5117
PYRON III, KAYSER P             6828 DEER LAKE CT                                                                          STONE MOUNTAIN     GA 30087‐5407
PYRON, LESTER L                 20425 FISHMARKET RD                                                                        TECUMSEH           OK 74873‐5640
PYRON, LESTER LEE               20425 FISHMARKET RD                                                                        TECUMSEH           OK 74873‐5640
PYRON, MORRIS R                 13871 ROBINSON LN                                                                          ELKMONT            AL 35620‐7517
PYRON, SHIRLEY                  20425 FISHMARKET RD                                                                        TECUMSEH           OK 74873‐5640
PYRON, SHIRLEY D                20425 FISHMARKET RD                                                                        TECUMSEH           OK 74873‐5640
PYRON, THOMAS A                 5853 LAKE POINT DR 2                                                                       ARLINGTON          TX 76016
PYRONICS INC                    17700 MILES RD                                                                             CLEVELAND          OH 44128‐3408
PYROTEK INC                     PO BOX 901305                                                                              CLEVELAND          OH 44190‐1305
PYROTEK INC                     100 CLEARBROOK RD STE 325                                                                  ELMSFORD           NY 10523‐1136
PYROTEK INC                     1285 CLAREMONT RD                                                                          CARLISLE           PA 17015‐9727
PYROTEK INC                     4447 E PARK 30 DR                                                                          COLUMBIA CITY      IN 46725‐8872
PYROVOLIKOS VASILIOS (481970)   COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                     HOUSTON            TX 77002‐1751
PYROVOLIKOS, VASILIOS           COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                     HOUSTON            TX 77002‐1751
PYRTLE, CAROL A                 C/O BARBARA NEWTON             1838 HOMER AVE                                              KANSAS CITY        KS 66102
PYRTLE, CAROL A                 2520 WEST 43RD AVENUE                                                                      KANSAS CITY        KS 66103‐3121
PYSARCHYK JAMES (447113)        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                               PROFESSIONAL BLDG
PYSARENKO, EWDOKIA              C/O THOMAS BRENNAN FRASER      55 E. LONG LAKE # 247                                       TROY              MI   48085
PYSARENKO, PAUL                 1400 SOUTH BLVD W                                                                          ROCHESTER HLS     MI   48309‐4366
PYSCHER JR, DUNCAN H            9410 POTTER RD                                                                             FLUSHING          MI   48433‐1955
PYSCHER, DEAN R                 41500 STAFFORD CT                                                                          CANTON            MI   48188‐1219
PYSCHER, DEAN ROBERT            41500 STAFFORD CT                                                                          CANTON            MI   48188‐1219
PYSCHER, GERALD J               1721 N OAKLEY ST                                                                           SAGINAW           MI   48602‐5366
PYSCHER, JANICE E               6247 SPRINGDALE BLVD                                                                       GRAND BLANC       MI   48439‐8524
PYSCHER, KATHLEEN A             1629 N CHARLES ST                                                                          SAGINAW           MI   48602‐4847
PYSHE, MILDRED M                1434 OAKLANDING RD                                                                         MT PLEASANT       SC   29464‐3827
PYSHER ELLIS                    103 PYSHERS LN                                                                             WIND GAP          PA   18091‐9670
PYSZ, JAMES C                   5025 AINTREE RD                                                                            ROCHESTER         MI   48306‐2710
PYSZCZYNSKI, ELIZABETH B        221 STRASMER RD                                                                            DEPEW             NY   14043‐4430
PYSZCZYNSKI, MATTHEW J          221 STRASTMER ‐ APT. 1                                                                     DEPEW             NY   14043
PYSZEL, JEANNINE M              34606 GREENTREES RD                                                                        STERLING HTS      MI   48312‐5515
PYSZEL, RICHARD J               48283 PROVIDENCE                                                                           MACOMB            MI   48044‐5936
PYSZNIAK, PAUL M                229 JACOBS RD                                                                              HUBBARD           OH   44425‐1942
PYTEL, GERALD J                 1857 N BAHAMA AVE                                                                          MARCO ISLAND      FL   34145‐4725
PYTKO, JANET G                  13 NORTHGATE DR.                                                                           HOWELL            NJ   07731
PYTKO, RICHARD F                PO BOX 396                                                                                 EDGARTOWN         MA   02539‐0396
PYTKO, THEODORE J               13 NORTHGATE DR                                                                            HOWELL            NJ   07731‐1837
PYTKO, THEODORE J.              13 NORTHGATE DR                                                                            HOWELL            NJ   07731‐1837
PYTLESKI, JAMES L               736 W HAMLIN RD                                                                            ROCHESTER HILLS   MI   48307‐3430
PYTLESKI, LAWRENCE J            9390 CARDWELL ST                                                                           LIVONIA           MI   48150‐4104
PYTLESKI, LAWRENCE JOSEPH       9390 CARDWELL ST                                                                           LIVONIA           MI   48150‐4104
PYTLEWSKI, WACTAW               801 BELLFLOWER DRIVE                                                                       BROOKLYN          MI   49230‐8329
PYTLIK, GERALD J                4334 WELLS RD                                                                              EAST TAWAS        MI   48730‐9673
PYTLIK, MARY I                  5748 SARAH AVE NW                                                                          WARREN            OH   44483‐1159
PYTLIK, MARY I                  5748 SARAH AVE.                                                                            WARREN            OH   44483‐1159
PYTLIK, MICHAEL E               6781 NASH RD                                                                               N TONAWANDA       NY   14120‐1231
PYTLINSKI, HELEN F.             5443 WHITEFORD RD.                                                                         SYLVANIA          OH   43560‐2523
PYTLOWANY, FRANK W              6647 VAN RD                                                                                CASEVILLE         MI   48725
PYTLOWANY, KATHLEEN C           6647 VAN RD                                                                                CASEVILLE         MI   48725
PYTLOWANYJ JR, WOLODYMYR        15951 NORTHWARD DR                                                                         LANSING           MI   48906‐1479
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PYTLOWANYJ, KRISTA M           305 N MORTON ST                                                                                  SAINT JOHNS          MI 48879‐1429
PYTLOWANYJ, STEVEN P           305 N MORTON ST                                                                                  SAINT JOHNS          MI 48879‐1429
PYTLOWANYJ, WOLODYMYR          1523 E CENTERLINE RD               R#5                                                           SAINT JOHNS          MI 48879‐9115
PYTOSH, VICKI L.               1912 DEANWOOD AVE                                                                                DAYTON               OH 45410‐2903
PYUNG HWA HOLDINGS CO LTD      29‐17 BONRI‐RI NONGONG‐EUP         DALSEONG‐GUN                         DAEGU KR 711‐855 KOREA
                                                                                                       (REP)
PYUNG HWA INDUSTRIAL CO LTD    29‐17 BONRI‐RI NONGONG‐EUP         DALSEONG‐GUN                         DAEGU 711‐855 KOREA
                                                                                                       (REP)
PYWELL, JAMES F                51537 SANDSHORES DR                                                                              SHELBY TOWNSHIP     MI   48316‐3850
PYZDROWSKI, THAD M             1000 S MADISON ST                                                                                DENVER              CO   80209‐4938
PYZIK, EDWARD J                3621 TULIP ST                                                                                    ANDERSON            IN   46011‐3848
PYZIK, JAMES T                 1430 LIVINGSTON HWY                                                                              BYRDSTOWN           TN   38549‐4417
PYZIK, JOHN F                  330 LONGWOOD ST                                                                                  CARMEL              IN   46032
PYZIK, NANCY A                 4400 HAMPTON CT                                                                                  ADRIAN              MI   49221‐9321
PYZYNSKI, FRANK                795 ALT BLVD                                                                                     GRAND ISLAND        NY   14072‐2447
PYZYNSKI, RANDY J              905 MOHAWK ST                                                                                    LEWISTON            NY   14092‐1484
PZ TRUCKING                    931 ORCHARD TER                                                                                  LINDEN              NJ   07036‐4035
Q & D CONSTRUCTION CO.                                            1050 S 21ST ST                                                                    NV   89431
Q & M, INC.                    BRUCE QVALE                        3400 AUTO PLAZA WAY                                           TRACY               CA   95304‐7326
Q AIR ENVIRONMENTAL CONTROLS   321 ARVIN AVE                                                           STONEY CREEK CANADA ON
                                                                                                       L8E 2M3 CANADA
Q BURGESS                      16500 N PARK DR APT 1918                                                                         SOUTHFIELD          MI 48075‐4771
Q C AUTO SERVICE               3760 STATE ST                                                                                    BETTENDORF          IA 52722‐6244
Q C INDUSTRIES INC             4057 CLOUGH WOODS DR                                                                             BATAVIA             OH 45103‐2587
Q C/MISSISSAUGA                215 COURTNEY PARK DR E                                                  MISSISSAUGA ON L5T 2T6
                                                                                                       CANADA
Q CARTER                       19235 GREYDALE AVE                                                                               DETROIT             MI   48219‐1814
Q CORPORATION                  828 VIA ALONDRA                                                                                  CAMARILLO           CA   93012‐8045
Q DAS INCORPORATED             2582 PRODUCT DR                                                                                  ROCHESTER HILLS     MI   48309‐3805
Q H AUTOMOTIVE                 226 W AVENUE I                                                                                   LANCASTER           CA   93534‐1604
Q H TECHNOLOGIES INC           PO BOX 300385                                                                                    DRAYTON PLAINS      MI   48330‐0385
Q HARRIS                       606B GUNTER CIRCLE                                                                               ALEXANDER CITY      AL   35010
Q LE HUYNH                     2708 GLENDAS WAY                                                                                 FREDERICKSBRG       VA   22408‐8036
Q MARK MANUFACTURING INC       23332 MADERO STE D                                                                               MISSION VIEJO       CA   92691‐2733
Q MARK MFG INC                 23332 MADERO STE D                                                                               MISSION VIEJO       CA   92691‐2733
Q P CARTER                     19235 GREYDALE AVE                                                                               DETROIT             MI   48219‐1814
Q POINT ROBOTIC SOLUTIONS      1859 SECTION RD                                                                                  CINCINNATI          OH   45237‐3305
Q STEVENS                      800 N WOLFE ST                                                                                   MUNCIE              IN   47303‐5029
Q W EXPRESS                    1201 KIRK ST                                                                                     ELK GROVE VILLAGE   IL   60007‐6740
Q&A ENTERTAINMENT INC          1514 CLEVELAND AVE STE 116                                                                       EAST POINT          GA   30344‐6977
Q‐AIR ENVIRONMENTAL CONTROLS   319 ARVIN AVE                                                           STONEY CREEK CANADA ON
                                                                                                       L8E 2M3 CANADA
Q‐DAS INC                      2582 PRODUCT DR                                                                                  ROCHESTER HILLS     MI   48309‐3805
Q‐LAB CORP                     800 CANTERBURY RD                                                                                CLEVELAND           OH   44145‐1419
Q‐LAB CORPORATION              PO BOX 349490                                                                                    HOMESTEAD           FL   33034‐9490
Q‐LAB CORPORATION              800 CANTERBURY RD                                                                                CLEVELAND           OH   44145‐1419
Q‐LABS GMBH                    INGERSHEIMER STRASSE 20                                                 STUTTGART D‐70499
                                                                                                       GERMANY
Q‐TECH AUTO SERVICE CENTER     1123 WINE COUNTRY RD                                                                             PROSSER             WA 99350‐1192
Q1 QUALITY LIASONS INC         181 GREEN VALLEY RD                                                                              STATEN ISLAND       NY 10312‐1822
Q1W 23W                        1W2EW
Q3 ALLMAND ENTERPRISES INC                                        12001 LEVAN ROAD                                                                  MI 48150
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Q3 ALLMAND INDUSTRIES INC               ALLMAND ASSOCIATES INC           12001 LEVAN RD                                                     LIVONIA             MI 48150‐1403
Q3 AMORTIZA/COLUMBUS                    1365 MARION RD                                                                                      COLUMBUS            OH 43207‐2142
Q3 INDUSTRIES DE MEXICO S DE RL DE CV   CARRETERRA PANAMERICANA KM 149   TRAMA SILAO‐IRAPUNTO                       TRAMA SILAO‐IRAPUNTO
                                                                                                                    CP 36294 MEXICO
Q3 MANSFIELD INC                        PO BOX 97                        FMLY HS AUTOMOTIVE                                                 MANSFIELD          OH    44901‐0097
Q3 STAMPED METAL INC                    777 MANOR PARK DR                                                                                   COLUMBUS           OH    43228‐9522
Q3 STAMPED/777 MANOR                    PO BOX 28309                     777 MANOR PARK                                                     COLUMBUS           OH    43228‐0309
Q3 STAMPED/COLUMBUS                     1365 MARION RD                                                                                      COLUMBUS           OH    43207‐2142
Q3‐ALLMAND/LIVONIA                      12001 LEVAN RD                                                                                      LIVONIA            MI    48150‐1403
QA GROUP LLC                            DBA QUANTUM ANALYTICS            PO BOX 1213 DEPARTMENT 789                                         NEWARK             NJ    07101
QA GROUP LLC                            363 VINTAGE PARK DR                                                                                 FOSTER CITY        CA    94404‐1135
QABID, AHMAD H                          4088 MILLERSVILLE RD                                                                                INDIANAPOLIS       IN    46205‐2805
QADIR S AHMAD                           675 SEWARD ST APT 414                                                                               DETROIT            MI    48202‐4445
QADIR, SYED R                           39051 UNIVERSITY DR                                                                                 STERLING HTS       MI    48310‐2775
QADQW VWERG                             DDDDDD                                                                                              VIMERCATE          WY    32456
QAFZEZI, ROBERT E                       PO BOX 202                                                                                          FRAMINGHAM         MA    01704‐0202
QAR                                     211 RALEIGH AVE.                                                            SCARBOROUGH ON M1K
                                                                                                                    1A5 CANADA
QAREEB, FULTON R                        1447 CEDARWOOD DR                                                                                   FLUSHING           MI 48433‐1875
QAREEB, FULTON RAJA EE                  1447 CEDARWOOD DR                                                                                   FLUSHING           MI 48433‐1875
QASEM OLAH J                            QASEM, AMAL                      777 S HARBOUR ISLAND BLVD STE                                      TAMPA              FL 33602‐5745
                                                                         765
QASEM OLAH J                            QASEM, JIHAD                     777 S HARBOUR ISLAND BLVD STE                                      TAMPA               FL   33602‐5745
                                                                         765
QASEM OLAH J                            QASEM, MOHAMMED                  777 S HARBOUR ISLAND BLVD STE                                      TAMPA               FL   33602‐5745
                                                                         765
QASEM OLAH J                            QASEM, OLAH J                    777 S HARBOUR ISLAND BLVD STE                                      TAMPA               FL   33602‐5745
                                                                         765
QASEM, AMAL
QASEM, AMAL                             GUNN LAW GROUP                   400 N ASHLEY DR STE 2050                                           TAMPA               FL   33602‐4344
QASEM, JIHAD                            GUNN LAW GROUP                   400 N ASHLEY DR STE 2050                                           TAMPA               FL   33602‐4344
QASEM, MOHAMMED                         GUNN LAW GROUP                   400 N ASHLEY DR STE 2050                                           TAMPA               FL   33602‐4344
QASEM, MOHAMMED
QASEM, OLAH
QASEM, OLAH J                           GUNN LAW GROUP                   400 N ASHLEY DR STE 2050                                           TAMPA              FL 33602‐4344
QASEM, UMAR                             440 GRAYSON DR                                                                                      SPRINGFIELD        MA 01119‐1648
QASHAT, ROBERT G                        5242 POPPY DRIVE                                                                                    STERLING HTS       MI 48314‐4142
QATAR HOLDING LLC                       P.O. BOX 23224                                                              DOHA QATAR
QATAR INSURANCE COMPANY                 PO BOX 666                       TAMIN STREET WEST BAY                      DOHA QATAR
QATAR INSURANCE COMPANY .               PO BOX 666                       TAMIN STREET , WEST BAY                                            DOHA
QAVEZETT B MCKINNON                     29030 LUND AVE                                                                                      WARREN             MI 48093‐2403
QAYOOM, ARMEEN                          285 FLANDERS RD                                                             WINDSOR ONTARIO
                                                                                                                    CANADA N8N‐3G2
QAYYUM, YASMIN U                        2712 GATSBY CT                                                                                      LANSING            MI 48906‐3672
QAZI, KARIM                             STEVENSON & AMMONS ‐ ROBERT E    3700 MONTROSE BLVD                                                 HOUSTON            TX 77006‐4624
                                        AMMONS
QAZI, NASIM
QAZI, ZAFAR I                           3243 FARMDALE DR                                                                                    STERLING HEIGHTS   MI 48314‐2834
QBE REGIONAL INSURANCE                  JANICE ROMINE                    1 GENERAL DR                                                       SUN PRAIRIE        WI 53590‐9334
QC CORPORATION INC                      959 GANA COURT                   7/20/07 GJ                                 MISSISSAUGA CANADA ON
                                                                                                                    L5S 1N9 CANADA
QC INDUSTRIES INC                       4057 CLOUGH WOODS DR                                                                                BATAVIA            OH 45103‐2587
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QC INSPECTION SERVICES               11975 PORTLAND AVE STE 102                                                                                          BURNSVILLE          MN 55337‐8002
QC INSPECTION SERVICES INC MINNESOTA 11975 PORTLAND AVE STE 102                                                                                          BURNSVILLE          MN 55337‐1530

QC ONICS VENTURES LP                 114 N L STREET                                                                                                      SANTA PAULA        CA   93060
QC ONICS VENTURES LP                 PO BOX 329                          1410 WOLHERT ST                                                                 SANTA CLARA        CA   95052‐0329
QC ONICS, INC.                       114 N L STREET                                                                                                      SANTA PAULA        CA   93060
QC ONICS, INC.                       PO BOX 329                          1410 WOLHERT ST                                                                 SANTA CLARA        CA   95052‐0329
QC PRODUCTS/WARREN                   25133 THOMAS DR                                                                                                     WARREN             MI   48091‐1397
QCI DBA QUANTA                       ATTN: CONTRACTS ADMINISTRATOR       1145 SO OLD US 23                                                               BRIGHTON           MI   48116
QCI INC                              1145 S OLD US HIGHWAY 23                                                                                            BRIGHTON           MI   48114‐9681
QCI INC                              1145 S OLD US HIGHWAY 23            PO BOX 42                                                                       BRIGHTON           MI   48114‐9681
QCQ DESIGN & FABRICATION LLC         8340 SILVER LAKE RD SUITE A                                                                                         LINDEN             MI   48451
QCR TECH LLC                         1605 E AVIS DR                                                                                                      MADISON HEIGHTS    MI   48071‐1514
QDATA INC                            105‐6 SHIELDS CRT                                                                           MARKHAM ON L3R 4S1
                                                                                                                                 CANADA
QDOBA MEXICAN GRILL                  29515 PLYMOUTH RD                                                                                                   LIVONIA            MI   48150‐2125
QED/UTICA                            1393 WHEATON DR STE 100             1‐75 TECH PARK, BUILDING C                                                      TROY               MI   48083‐1965
QEK GLOBAL SOL/BLMFL                 6001 N ADAMS RD STE 100             ATTN: KERRY BUDRY                                                               BLOOMFIELD         MI   48304‐1575
QEK GLOBAL SOLUTIONS                 7111 E 11 MILE RD                                                                                                   WARREN             MI   48092‐2709
QEK GLOBAL SOLUTIONS                 6001 N ADAMS RD STE 100                                                                                             BLOOMFIELD HILLS   MI   48304‐1575
QEK GLOBAL SOLUTIONS                 7133 E 11 MILE RD                                                                                                   WARREN             MI   48092‐2709
QEK GLOBAL SOLUTIONS (CANADA)
QEK GLOBAL SOLUTIONS (US) LP         6001 N ADAMS RD STE 100                                                                                             BLOOMFIELD HILLS   MI 48304‐1575
QEK GLOBAL SOLUTIONS (US), INC       ATTN DAVID B AARONSON               DRINKER BIDDLE & REATH LLP   ONE LOGAN SQUARE, 18TH &                           PHILADELPHIA       PA 19103
                                                                                                      CHERRY STREETS
QEK GLOBAL SOLUTIONS 575025          7047 MURTHUM AVE                                                                                                    WARREN             MI 48092‐3833
QEK GLOBAL SOLUTIONS 575030          7133 E 11 MILE RD                                                                                                   WARREN             MI 48092‐2709
QEK GLOBAL SOLUTIONS 575035          2901 TYLER RD                                                                                                       YPSILANTI          MI 48198‐6126
QEK GLOBAL SOLUTIONS CANADA INC      FRMLY QUAL‐EFFIC SERVICES OF C      850 WILSON RD S                                         OSHAWA CANADA ON L1H
                                                                                                                                 6E8 CANADA
QEK GLOBAL SOLUTIONS CANADA INC.     800 WILSON ROAD SOUTH                                                                       OSHAWA ON L1H6 CANADA
QEK GLOBAL SOLUTIONS INC             6001 N ADAMS RD                                                                                                     BLOOMFIELD HILLS   MI   48304
QEK SERVICES 575003                  7133 E 11 MILE RD                                                                                                   WARREN             MI   48092‐2709
QES SOLUTIONS INC                    1547 LYELL AVE                                                                                                      ROCHESTER          NY   14606
QHG FT WAYNE INC                     315 E COOK RD                                                                                                       FORT WAYNE         IN   46825‐3311
QHG OF FORT WAYNE                    DBA REDIMED BUSINESS HEALTH SERVICES PO BOX 11909                                                                   FORT WAYNE         IN   46861‐1909

QHG OF FORT WAYNE LL                 PO BOX 11909                                                                                                        FORT WAYNE         IN   46861‐1909
QI GONGSHIN                          2223 S LOVINGTON DR APT 2223                                                                                        TROY               MI   48083
QI LIU‐BARNOCKI                      PO BOX 9022                         QI LIU‐BARNOCKI,SHANGHAI                                                        WARREN             MI   48090‐9022
QI MA                                29132 SHENANDOAH DR                                                                                                 FARMINGTON HILLS   MI   48331‐2450
QI QIAN                              609 N NICHOLSON AVE., #A                                                                                            MONTEREY PARK      CA   91755
QI VAN EIKEMA HOMMES                 6953 MERRICK CT                                                                                                     W BLOOMFIELD       MI   48322‐3088
QI WANG                              1011 RIVER MIST DR                                                                                                  ROCHESTER          MI   48307‐2264
QI XIN WU                            4820 LISTRA RD                                                                                                      ROCKVILLE          MD   20853‐3123
QI YUE                               1626 REDBUD DR                                                                                                      TROY               MI   48098‐1968
QI, GONGSHIN                         2223 S LOVINGTON DR                                                                                                 TROY               MI   48083‐5846
QI, YUE                              1626 REDBUD DR                                                                                                      TROY               MI   48098‐1968
QIAN LIN                             5073 LONGVIEW DRIVE                                                                                                 TROY               MI   48098‐2350
QIAN SHI                             #9 LANE 555 BEI HONG RD                                                                     SHANGHAI CHINA 200336
QIAN WANG                            PO BOX 9022                                                                                                         WARREN             MI 48090‐9022
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Name                                 Address1                             Address2                         Address3                  Address4                 City              State Zip
QIAN YANA                            DEPT OF MATERIALS SCI & ENGR         2220 CAMPUS DR                   NORTHWESTERN UNIVERSITY                            EVANSTON            IL 60208‐0893

QIAN, CHENG                          PO BOX 87072                                                                                                             CANTON            MI   48187
QIAN, MO                             653 SEABURY DR                                                                                                           WORTHINGTON       OH   43085‐3557
QIAN, YANG                           6689 WHISPERING WOODS DR                                                                                                 WEST BLOOMFIELD   MI   48322‐5203
QIAN, YUAN Y                         42105 GREENWOOD DR                                                                                                       CANTON            MI   48187‐3614
QIAN, YUAN YAO                       42105 GREENWOOD DR                                                                                                       CANTON            MI   48187‐3614
QIANA FLORES                         3336 GLASGOW DR                                                                                                          LANSING           MI   48911‐1321
QIANA L FLORES                       3336 GLASGOW DR                                                                                                          LANSING           MI   48911‐1321
QIANA S DEAN                         1914 REPUBLIC DR                                                                                                         DAYTON            OH   45414
QIANA WADE                           APT 58                               6844 LANCASTER LAKE COURT                                                           CLARKSTON         MI   48346‐4428
QIANG WANG                           LUSTENAUERSTRA▀E 31
QIAONI JING                          2350 COOLIDGE HWY APT 201                                                                                                TROY              MI   48084‐3632
QIGUI WANG                           2431 JACKSON DR                                                                                                          ROCHESTER HILLS   MI   48309‐4094
QIJUN ZHANG                          819 PHEASANT WOODS DR                                                                                                    CANTON            MI   48188‐5225
QILICO LTD                           UNITED JERSEY BNK CORP TRUST         ATTN: CORPORATE                  210 MAIN ST 6TH FL                                 HACKENSACK        NJ   07602
                                                                          OFFICER/AUTHORIZED AGENT
QILICO LTD                           % UNITED JERSEY BNK CORP TRUST       210 MAIN ST 6TH FL                                                                  HACKENSACK        NJ   07602
QIN, CHAOFU                          6146 CHARLES DR                                                                                                          WEST BLOOMFIELD   MI   48322‐2299
QIN, SHINY                           531 E. 72ND ST.                      4B                                                                                  NEW YORK          NY   10021
QING CHANG                           325 THISTLE LN                                                                                                           TROY              MI   48098‐4644
QING YANG                            4080 WORTHINGTON DR                                                                                                      TROY              MI   48085‐5722
QING, KANG                           14168 MANDARIN DR                                                                                                        SHELBY TOWNSHIP   MI   48315‐6831
QINGDAO BENDA AUTOMOBILE PARTS       WU JIE                               9 LONGHAI RD HUANHAI ECONOMIC & TECHNOLOGICAL                                       CARTHAGE          IL
                                                                                                        DEVELOPMENT ZO
QINGDAO BENDA AUTOMOBILE PARTS CO 9 LONGHAI RD HUANHAI ECONOMIC                                                                      QINGDAO SHANDONG CN
                                                                                                                                     266108 CHINA (PEOPLE'S
                                                                                                                                     REP)
QINGDAO BENDA AUTOMOBILE PARTS CO #9 LONGHAI RD HUANHAI ECONOMIC          & TECH DEV ZONE CHENGYANG DIST                             QINGDAO 266108 CHINA
LTD                                                                                                                                  CHINA
QINGDAO DAEDONG SYSTEM AUTO       TONG KANG RD 29# TONGHE TOWN PIN                                                                   QINGDAO SHANDONG CN
FITTING                                                                                                                              266706 CHINA (PEOPLE'S
                                                                                                                                     REP)
QINGDAO DONGHWA CASTINGS CO LTD      PINGYING RD TONGHE                                                                              QINGDAO PINGDU CITY CN
                                                                                                                                     266706 CHINA (PEOPLE'S
                                                                                                                                     REP)
QINGDAO FUYUAN ELECTRONICS CO LTD    EAST OF ZHENGYANG (E) RD XIFU TOWN                                                              QINGDAO SHANDONG CN
                                                                                                                                     266000 CHINA (PEOPLE'S
                                                                                                                                     REP)
QINGDAO HAIER MOLDS CO LTD           NO 1 HAI'ER RD                                                                                  QINGDAO SHANGDONG
                                                                                                                                     266101 CHINA (PEOPLE'S
                                                                                                                                     REP)
QINGDAO HOSIDEN ELECTRONICS CO       946 CHONGQING MIDDLE RD SW                                                                      QINGDAO CN 266043
                                                                                                                                     CHINA (PEOPLE'S REP)
QINGDAO HOSIDEN ELECTRONICS CO LTD   946 CHONGQING MIDDLE RD SW                                                                      QINGDAO CN 266043
                                                                                                                                     CHINA (PEOPLE'S REP)
QINGDAO/CHINA                        9 LONGHAI RD HUANHAI ECONOMIC        & TECHNOLOGICAL DEVELOPMENT                                QINGDAO SHANDON CB
                                                                          ZN                                                         266108 CHINA
QINHUANGDAO DAIKAXINGLONG WHEEL      NO 15 HELONGJIANG WEST ST                                                                       QINHUANGDAO, HE 66004
MFG                                                                                                                                  CHINA
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Name                               Address1                          Address2                     Address3    Address4                 City              State Zip
QINHUANGDAO XINGLONG REAL ESTATE   NO 15 HELONGJIANG WEST ST                                                  QINHUANGDAO HEBEI CN
GR                                                                                                            066004 CHINA (PEOPLE'S
                                                                                                              REP)
QINWEI SUN                         11810 FARMINGTON RD                                                                                 LIVONIA            MI   48150‐1734
QIONG LIANG                        774 QUILL CREEK DR                                                                                  TROY               MI   48085‐3201
QIS                                2289 MOMENTUM PL                                                                                    CHICAGO            IL   60689‐0001
QIS INC                            870 BRIDGEVIEW S                                                                                    SAGINAW            MI   48604‐1176
QIS INC                            PO BOX 703150                                                                                       PLYMOUTH           MI   48170‐0993
QIS INC                            27481 BEVERLY ROAD                                                                                  ROMULUS            MI   48174
QIS INC.                           PO BOX 703150                                                                                       PLYMOUTH           MI   48170‐0993
QIU, YISHAN                        975 EMERSON DR                                                                                      TROY               MI   48084‐1691
QIU, ZHONGWEI                      17011 ALGONQUIN DR                                                                                  NORTHVILLE         MI   48168‐6801
QMA/AMI MANAGEMENT LLC             4848 ENCHANTED VALLEY RD                                                                            MIDDLETON          WI   53562‐4100
QMARK INC                          2233 4TH AVE N                                                                                      BIRMINGHAM         AL   35203‐3801
QMC LLC                            1760 OPDYKE CT                                                                                      AUBURN HILLS       MI   48326‐2474
QMC LLC                            ATTN: MANAGING DIRECTOR           1760 OPDYKE CT                                                    AUBURN HILLS       MI   48326‐2474
QMC LLC
QMC LLC                            ATTN: MANAGING DIRECTOR           1940 OPDYKE CT                                                    AUBURN HILLS      MI    48326‐2476
QMR PLAS/RIVER FALLS               434 HIGHLAND DR                                                                                     RIVER FALLS       WI    54022‐5202
QMS 1 INC                          5373 GUIDE MERIDIAN ROAD BLDG D                                                                     BELLINGHAM        WA    98226
QMS/HUNTSVILLE                     3307 BOB WALLACE AVE SW STE 3                                                                       HUNTSVILLE        AL    35805‐4066
QMS/MOBILE                         PO BOX 81250                                                                                        MOBILE            AL    36689‐1250
QNX SOFTWARE SYSTEM LTD            175 TERENCE MATTHEWS CRES                                                  KANATA ON K2M 1W8
                                                                                                              CANADA
QNX SOFTWARE SYSTEMS               PAUL BOSTON                       175 TERENCE MATTHEWS CRES                KANATA ON K2M 1W8
                                                                                                              CANADA
QNX SOFTWARE SYSTEMS INTERNATIONAL
CORPORATION
QNX SOFTWARE SYSTEMS LTD
QNX SOFTWARE SYSTEMS LTD           ATTN: CONTRACTS ADMINISTRATOR     175 TERENCE MATTHEWS CRES                OTTAWA ON K2M 1W8
                                                                                                              CANADA
QNX SOFTWARE SYSTEMS LTD           175 TERENCE MATTHEWS CRES                                                  KANATA ON K2M 1W8
                                                                                                              CANADA
QNX SOFTWARE SYSTEMS, LTD          175 TERENCE MATTHEWS CRES                                                  KANATA ON K2M 1W8
                                                                                                              CANADA
QNX SOFTWARE SYSTEMS, LTD.         ATTN: CONTRACTS ADMINISTRATOR     175 TERENCE MATTHEWS CRES                OTTAWA ON K2M 1W8
                                                                                                              CANADA
QPAB INC,
QPON LOCATOR                       JOHN MATTHAIS                     PO BOX 251336                                                     SAINT PAUL        MN 55125‐6336
QPS                                24260 MOUND RD                                                                                      WARREN            MI 48091‐5324
QPS COMPANIES INC                  13935 BISHOPS DR STE 330                                                                            BROOKFIELD        WI 53005‐6605
QS SERVICOS DE SELECAO S/S LTD     R DOM PEDRO H DE ORLEANS          E BRAGANCA 1 038 ‐ SALA‐02   05117‐002   SAO PAULO BRAZIL
QS SERVICOS DE SELECAO S/S LTD     RUA D PEDRO H DE ORLEANS E BRA    1038 SALA 2                              VILE JAGUARA SP 05117
                                                                                                              002 BRAZIL
QSM, INC
QSM, INC.                          ATTN: CONTRACTS ADMINISTRATOR     2000 CORPORATE RDG STE 900                                        MCLEAN             VA   22102‐7866
QSPEC SOL/OVERLAND P               6400 GLENWOOD ST STE 309                                                                            OVERLAND PARK      KS   66202‐4014
QTS INTERNATIONAL LLC              12601 GRAND RIVER RD                                                                                BRIGHTON           MI   48116‐8388
QU LIYAN                           305 N LINCOLN AVE APT 315                                                                           URBANA             IL   61801‐2494
QU, SUSAN X                        6689 WHISPERING WOODS DR                                                                            WEST BLOOMFIELD    MI   48322‐5203
QU, SUSAN XIAO‐YAN                 6689 WHISPERING WOODS DR                                                                            WEST BLOOMFIELD    MI   48322‐5203
QU‐LEGER, ROSE                     12431 LEADER STREET                                                                                 HOUSTON            TX   77072‐2466
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Name                       Address1                       Address2                    Address3                 Address4         City               State Zip
QU‐LEGER, ROSE             4235 CHILDRESS ST                                                                                    HOUSTON             TX 77005‐1013
QUA BUICK PONTIAC INC
QUAAL, DAVID C             5660 MCGRANDY RD                                                                                     BRIDGEPORT         MI   48722‐9781
QUAAL, GREGG A             16845 EDERER RD                                                                                      HEMLOCK            MI   48626‐8743
QUACH, BINH T              90 CHERRY HILL DR                                                                                    DAYTON             OH   45440‐3545
QUACH, EDWARD K            2801 ROCKLEDGE TRL                                                                                   BEAVERCREEK        OH   45430‐1933
QUACH, HA                  THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD     SUITE 44                                  CORAL GABLES       FL   33146
QUACH, MICHAEL K           1635 KATHY MARIE DR                                                                                  XENIA              OH   45385‐9209
QUACH, VINH                APT 5                          436 HICKORY POINT                                                     QUINCY             IL   62305‐8442
QUACH,MICHAEL K            1635 KATHY MARIE DR                                                                                  XENIA              OH   45385‐9209
QUACK, JOHN E              5335 S ILLINOIS ST                                                                                   INDIANAPOLIS       IN   46217‐3525
QUACK, JOHN E              5335 SOUTH ILLINOIS STREET                                                                           INDIANAPOLIS       IN   46217‐3525
QUACKENBOSS, ELIZABETH V   1153 GLENPOINTE CT                                                                                   BLOOMFIELD HILLS   MI   48304‐1509
QUACKENBOSS, ROBERT L      11565 MARSH RD                                                                                       SHELBYVILLE        MI   49344‐9627
QUACKENBUSH DON            2958 MILLS PARK DR                                                                                   RANCHO CORDOVA     CA   95670‐5502
QUACKENBUSH JR, DONALD L   747 N PERRY CREEK RD                                                                                 MIO                MI   48647‐9714
QUACKENBUSH, ALTON L       112 S CLINTON ST                                                                                     ALBION             NY   14411‐1308
QUACKENBUSH, BETTY F       104 HERMAN ST                                                                                        WESTWEGO           LA   70094‐2405
QUACKENBUSH, CANDACE       3609 SOUTHLEA DR                                                                                     KOKOMO             IN   46902‐6702
QUACKENBUSH, CHARLES M     3650 N BRENNAN RD                                                                                    HEMLOCK            MI   48626‐9670
QUACKENBUSH, DANIEL C      344 PRINCETON AVE                                                                                    BAYVILLE           NJ   08721‐2314
QUACKENBUSH, DONALD L      747 N PERRY CREEK RD                                                                                 MIO                MI   48647‐9714
QUACKENBUSH, GORDON B      5566 S REIMER RD                                                                                     BRIDGEPORT         MI   48722
QUACKENBUSH, GORDON B      5566 REIMER RD                                                                                       BRIDGEPORT         MI   48722
QUACKENBUSH, GREGG D       502 W KING ST                                                                                        SPRING HILL        KS   66083
QUACKENBUSH, HELEN H       9483 GALE RD                                                                                         OTISVILLE          MI   48463
QUACKENBUSH, JACK M        9483 GALE RD                                                                                         OTISVILLE          MI   48463‐8427
QUACKENBUSH, JILL A        PO BOX 3                                                                                             GREENTOWN          IN   46936‐0003
QUACKENBUSH, JOHN C        6655 W GALWAY CIR                                                                                    DIMONDALE          MI   48821‐9452
QUACKENBUSH, JUDYANN       8 COMSTOCK RD                                                                                        BALDWINSVILLE      NY   13027‐9348
QUACKENBUSH, MICHAEL R     2511 LANSBURY DR                                                                                     WATERFORD          MI   48329‐2325
QUACKENBUSH, RANDY L       613 H ST                                                                                             BEDFORD            IN   47421‐2329
QUACKENBUSH, ROBERT J      200 N PARK ST                                                                                        BOYNE CITY         MI   49712‐1221
QUACKENBUSH, ROBERT W      5920 S COUNTY ROAD 25 E                                                                              CLOVERDALE         IN   46120‐9648
QUACKENBUSH, RUTH A        7174 S HWY 150                                                                                       LEXINGTON          NC   27295‐5266
QUACKENBUSH, STEVEN J      5359 WAKEFIELD RD                                                                                    GRAND BLANC        MI   48439‐9020
QUACKENBUSH, THOMAS D      3608 REDHEAD TER                                                                                     LIVERPOOL          NY   13090‐1069
QUACKENBUSH, TIMOTHY E     336 N EATON AVE                                                                                      INDIANAPOLIS       IN   46219‐5347
QUACKENBUSH, TIMOTHY R     3696 EMBARCADERO ST                                                                                  WATERFORD          MI   48329‐2239
QUACKENBUSH, VERA J        3716 TUNNELTON RD                                                                                    BEDFORD            IN   47421‐8895
QUACQUARELLI, ANNA         98 E MAIN ST                                                                                         ELMSFORD           NY   10523‐3221
QUAD CITIES GOLF CLASSIC   CHARITABLE FOUNDATION          15623 COALTOWN RD           DBA JOHN DEERE CLASSIC                    EAST MOLINE        IL   61244‐9674
QUAD CITY TECH             2800 46TH AVE                                                                                        MOLINE             IL   61265‐7366
QUAD GROUP INC             1815 S LEWIS ST                                                                                      SPOKANE            WA   99224‐9789
QUAD‐CITY GMC TRUCKS       8100 N FAIRMOUNT ST                                                                                  DAVENPORT          IA   52806‐6404
QUAD‐CITY PETERBILT INC.   GEORGE GRASK                   8100 N FAIRMOUNT ST                                                   DAVENPORT          IA   52806‐6404
QUAD/GRAPHICS INC          W224N3322 DUPLAINVILLE RD                                                                            PEWAUKEE           WI   53072‐4137
QUAD/GRAPHICS, INC.        DENNIS BUCEK                   W224N3322 DUPLAINVILLE RD                                             PEWAUKEE           WI   53072‐4137
QUADE KENNETH              QUADE, KENNETH                 33159 FORD RD                                                         GARDEN CITY        MI   48135‐1153
QUADE, DARRELL J           7340 E FARMDALE AVE                                                                                  MESA               AZ   85208‐2770
QUADE, JEREMY R            543 NORTH CROSBY AVENUE                                                                              JANESVILLE         WI   53548‐2780
QUADE, JIMMIE D            1982 WHITE FEATHER LN                                                                                NOKOMIS            FL   34275‐5315
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Name                          Address1                        Address2              Address3          Address4               City               State Zip
QUADE, JUNIOR L               PO BOX 278                                                                                     DRYDEN              MI 48428‐0278
QUADE, MICHAEL L              3268 HAINES RD                                                                                 ATTICA              MI 48412‐9207
QUADE, ROBERT R               1708 MALVERN ST                                                                                BALTIMORE           MD 21224‐6239
QUADE, ROGER H                13012 EAST J‐L TOWNLINE RD                                                                     WHITEWATER          WI 53190
QUADE, RUTH M                 3701 MCKINNLEY                  LOT 46 B                                                       OMAHA               NE 68112
QUADE, SUSAN M                7340 E FARMDALE AVE                                                                            MESA                AZ 85208‐2770
QUADE, THOMAS E               491 PARIS DR                                                                                   POTTSBORO           TX 75076‐3989
QUADER, ATHER A               1808 WASHINGTON RD                                                                             ROCHESTER HILLS     MI 48306‐3551
QUADER, DONALD A              30 TOWN HOUSE CIR                                                                              ROCHESTER           NY 14616‐3006
QUADERER JR, LOUIS J          5283 VOLKMER RD                                                                                CHESANING           MI 48616‐9477
QUADERER, ARTHUR L            6258 VOLKMER RD                                                                                CHESANING           MI 48616‐9478
QUADERER, BERNARD N           13549 MORSEVILLE RD                                                                            MONTROSE            MI 48457‐9605
QUADERER, BEVERLY J           17257 E STREET RD                                                                              NEW LOTHROP         MI 48460‐9614
QUADERER, CHARLES F           6785 VOLKMER RD                                                                                CHESANING           MI 48616‐9793
QUADERER, DEAN T              3549 LA MANNA DR                                                                               STERLING HEIGHTS    MI 48310‐6147
QUADERER, DEAN T              30323 W CHICAGO ST                                                                             LIVONIA             MI 48150‐3069
QUADERER, DENNIS R            16321 STUART RD                                                                                CHESANING           MI 48616‐9788
QUADERER, FREDERICK A         12664 FERDEN RD                                                                                OAKLEY              MI 48649‐8721
QUADERER, JAMES M             2033 E MCLEAN AVE                                                                              BURTON              MI 48529‐1737
QUADERER, JOHN P              PO BOX 342                                                                                     OTISVILLE           MI 48463‐0342
QUADERER, JOHN PARKER         PO BOX 342                                                                                     OTISVILLE           MI 48463‐0342
QUADERER, KENNETH C           5600 VOLKMER RD                                                                                CHESANING           MI 48616‐9477
QUADERER, LAURA               6258 VOLKMER ROAD                                                                              CHESANING           MI 48616‐9478
QUADERER, RICHARD A           15591 BISHOP RD                                                                                CHESANING           MI 48616‐9466
QUADERER, STEVEN C            17257 E STREET RD                                                                              NEW LOTHROP         MI 48460‐9614
QUADERER, THOMAS W            16708 LINCOLN RD                                                                               CHESANING           MI 48616‐9723
QUADION CORP                  1100 XENIUM LANE NORTH                                                                         MINNEAPOLIS         MN 55441
QUADION CORP                  1100 XENIUM LN N                                                                               MINNEAPOLIS         MN 55441
QUADION CORP                  434 HIGHLAND DR                                                                                RIVER FALLS         WI 54022‐5202
QUADION CORP                  600 QUADEE DR                                                                                  WATERTOWN           SD 57201‐4036
QUADION CORP                  AV INDUSTRIAL FALCON LOTE 13                                            REYNOSA TM 88736
                                                                                                      MEXICO
QUADION CORP                  CHRIS ROSS                      434 HIGHLAND DR       QMR PLASTICS                             RIVER FALLS        WI   54022‐5202
QUADION CORP                  CHRIS ROSS                      QMR PLASTICS          434 HIGHLAND DR                          ETTRICK            WI   54627
QUADIR ADIL                   2216 TUDOR CASTLE WAY                                                                          DECATUR            GA   30035‐2167
QUADIR, TARIQ                 39 WHITE LILAC WAY                                                                             COLCHESTER         VT   05446
QUADRAD MANUFACTURING LTD     A LINAMAR COMPANY               30 MALCOLM RD                           GUELPH CANADA ON N1K
                                                                                                      1A9 CANADA
QUADRAD MANUFACTURING LTD     30 MALCOLM RD                                                           GUELPH ON N1K 1A9
                                                                                                      CANADA
QUADRANT ONE                  2 PARK AVE FL 8                                                                                NEW YORK           NY   10016‐5614
QUADRASCAN TECHNOLOGIES LLC   5115 MARYLAND WAY STE 209                                                                      BRENTWOOD          TN   37027
QUADRIVIUM PARTNERS LLC       36 KENNEDY ST                                                                                  ALEXANDRIA         VA   22305‐2517
QUADROS, HARRY F              490 WARREN AVE                                                                                 SAN LEANDRO        CA   94577‐5033
QUAEGEBEUR, JEROEN M          341 WEST 12TH STREET                                                                           NEW YORK           NY   10014‐1721
QUAEGEBEUR, JEROEN M. A.      341 WEST 12TH STREET                                                                           NEW YORK           NY   10014‐1721
QUAERNA, JAMES M              235 N PALM ST                                                                                  JANESVILLE         WI   53548‐3595
QUAERNA, JAQULINE P           1314 PURVIS AVE                                                                                JANESVILLE         WI   53548
QUAGGIOTTO, PAUL C            1096 BONADONNA CRT                                                      WINDSOR ONTARIO
                                                                                                      CANADA N9E‐4Y4
QUAGLIA MODESTINO (400745)    ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                            NEW YORK           NY 10006‐1638
QUAGLIA, MODESTINO            ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                            NEW YORK           NY 10006‐1638
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Name                              Address1                           Address2                        Address3                    Address4         City               State Zip
QUAGLIA, NICHOLAS A               10150 MUELLER CT                                                                                                NIAGARA FALLS       NY 14304‐3032
QUAGLIATA, JOSEPH T               2610 CHEYENNE PL                                                                                                SAGINAW             MI 48603‐2912
QUAGLIATA, MARY JANE              70 THISTLEDOWN DR                                                                                               ROCHESTER           NY 14617‐3019
QUAGLINE, JAMES R                 2575 FENTON PKWY APT 206                                                                                        SAN DIEGO           CA 92108
QUAID, BERNARD P                  APT 33                             705 WEST BELLWOOD DRIVE                                                      SPOKANE             WA 99218‐3320
QUAID, RICHARD C                  22135 LYNX CT                                                                                                   MURRIETA            CA 92562‐3038
QUAIL 600 PARTNERSHIP             3595 GRANDVIEW PKWY STE 400                                                                                     BIRMINGHAM          AL 35243‐1964
QUAIL JR, ALLEN M                 13302 TALBOT AVE                                                                                                HUNTINGTON WOODS    MI 48070‐1025
QUAIL SPRINGS TIRE & AUTOMOTIVE   14827 N MAY AVE                                                                                                 OKLAHOMA CITY       OK 73134‐5014
QUAIL UNLIMITED INC               ATTN CONNIE DEAN                   31 QUAIL RUN                                                                 EDGEFIELD           SC 29824‐3147
QUAIL UNLIMITED, INC              MR. ROCKY EVANS                    31 QUAIL RUN, EDGEFIELD                                                      EDGEFIELD           SC 29824
QUAIL UNLIMITED, INC.             MR. ROCKY EVANS                    31 QUAIL RUN, EDGEFIELD                                                      EDGEFIELD           SC 29824
QUAIL, ALEXANDER M                1906 ALLEN RD                                                                                                   SALEM               OH 44460‐1038
QUAINE, CHRISTINA M               531 SADDLE LANE                                                                                                 GROSSE POINTE       MI 48236‐2727
QUAINE, HOWARD P                  61418 SPRING CIRCLE TRL                                                                                         WASHINGTON          MI 48094‐1138
QUAINTANCE, DONALD M              6999 WARD RD                                                                                                    N TONAWANDA         NY 14120‐1414
QUAINTANCE, EDWARD G              1222 TANGLEWOOD DR                                                                                              SOUTH HILL          VA 23970‐1010
QUAINTANCE, VICKI E               4933 MALDEN WAY                                                                                                 COLUMBUS            OH 43228‐1348
QUAINTON, JOHN G                  41767 HILLVIEW DR                                                                                               STERLING HTS        MI 48314‐4133
QUAINTON, JOHN W                  3745 GALE RD                                                                                                    EATON RAPIDS        MI 48827‐9632
QUAINTON, JOHN WILLIAM            3745 GALE RD                                                                                                    EATON RAPIDS        MI 48827‐9632
QUAIT, JOHN H                     459 KENT WAY                                                                                                    WHITE LAKE          MI 48383‐2799
QUAIZAR, ANTHONY C                12880 TRIST RD                                                                                                  GRASS LAKE          MI 49240‐9254
QUAKE, STEVEN D                   PO BOX 72                                                                                                       CENTREVILLE         MI 49032‐0072
QUAKENBUSH LYNN (447115)          KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                CLEVELAND           OH 44114
                                                                     BOND COURT BUILDING
QUAKENBUSH, CHARLES T             4060 ABBEYGATE DR                                                                                               DAYTON             OH   45430‐2065
QUAKENBUSH, EDWARD E              PO BOX 784                                                                                                      HOXIE              KS   67740‐0784
QUAKENBUSH, EDWARD EARL           PO BOX 784                                                                                                      HOXIE              KS   67740‐0784
QUAKENBUSH, FLOYD B               1903 STONEHEDGE LN                                                                                              SOUTH BEND         IN   46614‐6344
QUAKENBUSH, FLOYD B               1255 SPARTANBURG WAY                                                                                            THE VILLAGES       FL   32162‐3787
QUAKENBUSH, LYNN                  KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                                 CLEVELAND          OH   44114
                                                                     BOND COURT BUILDING
QUAKENBUSH, ORVILLE C             1441 E MULBERRY                                                                                                 NOBLESVILLE        IN   46060‐2943
QUAKENBUSH, ORVILLE C             1441 MULBERRY ST                                                                                                NOBLESVILLE        IN   46060‐2943
QUAKENBUSH, RICHARD E             3511 N ADAMS RANCH RD                                                                                           MARTINSVILLE       IN   46151‐9362
QUAKENBUSH, RONALD B              PO BOX 82                                                                                                       YORKTOWN           IN   47396‐0082
QUAKENBUSH, STEVEN L              1354 CLORE DR                                                                                                   MARTINSVILLE       IN   46151‐2903
QUAKER CHEMICAL CORP              901 E HECTOR ST                                                                                                 CONSHOHOCKEN       PA   19428‐2307
QUAKER CHEMICAL CORPORATION EF    ELM STREET                                                                                                      CONSHOHOCKEN       PA   19428
QUAKER MANUFACTURING CORP         DAN DUVALL                         QUAKER MFG. CORP.               207 N. FOUR MILE RUN ROAD                    COLUMBIA           TN   38401

QUAKER MANUFACTURING CORP         ED STONE                           PO BOX 449                      187 GEORGETOWN RD.                           RIVERSIDE          CA   92502‐0449
QUAKER MANUFACTURING INC          PO BOX 449                                                                                                      SALEM              OH   44460‐0449
QUAKER MFG CORP                   187 GEORGETOWN RD                                                                                               SALEM              OH   44460‐2009
QUAKER MFG. INC.                  DAN DUVALL                         QUAKER MFG. CORP.               207 N. FOUR MILE RUN ROAD                    COLUMBIA           TN   38401

QUAKER OATS CO                    321 N CLARK ST STE 22 17                                                                                        CHICAGO            IL   60654
QUAKER TRANSPORTATION INC         PO BOX 11388                                                                                                    LANCASTER          PA   17605‐1388
QUAKER, CAROLYN                   13623 WADSWORTH ST                                                                                              DETROIT            MI   48227‐3039
QUAL TECH LABS INC                299 NATIONAL RD                                                                                                 EXTON              PA   19341
QUAL‐TECH INC                     301 NATIONAL RD STE 100                                                                                         EXTON              PA   19341‐2640
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Name                                 Address1                             Address2                           Address3           Address4               City               State Zip
QUAL‐TECH INC                        ATTN: CORPORATE OFFICER/AUTHORIZED   299 NATIONAL RD                                                              EXTON               PA 19341
                                     AGENT
QUALA‐DIE INC                        1250 BRUSSELLES ST                                                                                                SAINT MARYS        PA 15857‐1902
QUALCHOICE INC                       DAVIS & YOUNG                        159 SOUTH MAIN ST , 800 KEY BLDG                                             AKRON              OH 44308

QUALCOMM INC                         KELLY DYE                            5775 MOREHOUSE DR                                                            SAN DIEGO          CA 92121‐1714
QUALCOMM INC                         PO BOX 54210                                                                                                      LOS ANGELES        CA 90074‐4210
QUALCOMM INC                         5775 MOREHOUSE DR                                                                                                 SAN DIEGO          CA 92121‐1714
QUALCOMM INCORPORATED
QUALE FELDBRUEGGE CALVELLI           THOM & CROKE SC                      710 N PLANKINTON AVE APT 9                                                   MILWAUKEE          WI   53203
QUALICOAT INC                        14 SANFORD RD N                                                                                                   CHURCHVILLE        NY   14428‐9503
QUALIFIED AUTOMOTIVE                 3021 BUILDERS AVE                                                                                                 LAS VEGAS          NV   89101‐4903
QUALIFIED COURT REPORTERS INC        30539 N GREENBRIAR RD                                                                                             FRANKLIN           MI   48025‐1458
QUALIFYING DOT ORG INC               250 EXECUTIVE PARK BLVD STE 100                                                                                   WINSTON SALEM      NC   27103‐1534
QUALISYS EMPLOYMENT SCREENING LLC    ATTN: CORPORATE OFFICER/AUTHORIZED   600 TOWNPARK LN NW STE 350                                                   KENNESAW           GA   30144‐3758
                                     AGENT
QUALITECH INTERNATIONAL INC
QUALITECH INTERNATIONAL INC          42705 GRAND RIVER AVE STE 201                                                                                     NOVI               MI   48375‐1772
QUALITECH INTERNATIONAL, INC.        42705 GRAND RIVER AVE STE 201                                                                                     NOVI               MI   48375‐1772
QUALITLY AIR FORWARDING INC          6205 S ACE INDUSTRIAL DR                                                                                          CUDAHY             WI   53110‐2869
QUALITOR INC                         HAYDEN POWERS                        534 E 48TH ST                                                                HOLLAND            MI   49423‐9502
QUALITOR INC                         HAYDEN POWERS                        534 EAST 48TH ST.                                                            LAFAYETTE          IN   47902
QUALITOR INC                         STEVE MART                           MASCOTECH CO.                      1840 MC CULLOUGH   CIENEGA DE FLORES NL
                                                                                                                                66550 MEXICO
QUALITY "PLUS" SERVICES, INC.        AARON GAY                            2929 QUALITY DR                                                              PETERSBURG         VA   23805‐9371
QUALITY A/BOX 19343                  PO BOX 19343                                                                                                      INDIANAPOLIS       IN   46219‐0343
QUALITY AIR CARGO SERVICE INC        145 JOEY DR                                                                                                       ELK GROVE VLG      IL   60007‐1303
QUALITY ALIGNMENT AND BRAKE CENTER   1234 E MAIN ST                                                                                                    VALLEY CITY        ND   58072‐3502

QUALITY AMERICA INC                  PO BOX 31055                                                                                                      TUCSON             AZ   85751‐1055
QUALITY ASSURANCE INTL CORP          36010 INDUSTRIAL RD                                                                                               LIVONIA            MI   48150‐1200
QUALITY ASSURANCE SALES & SERV       7300 DRAPER RD                                                                                                    JACKSON            MI   49201‐9851
QUALITY ASSURANCE SALES & SERVICE    7300 DRAPER RD                                                                                                    JACKSON            MI   49201‐9851
QUALITY AUTO & A/C REPAIR            2771 N DIXIE HWY                                                                                                  WILTON MANORS      FL   33334‐3700
QUALITY AUTO CARE INC                55 RANDY CT                                                                                                       FUQUAY VARINA      NC   27526‐6737
QUALITY AUTO GROUP                   7370 N RIDGE RD                                                                                                   MADISON            OH   44057‐2627
QUALITY AUTO LIQUIDATORS INC         ATTN: JEFF BARTLETT                  PO BOX 180143                                                                UTICA              MI   48318‐0143
QUALITY AUTO REPAIR                  965 15TH AVE                                                                                                      LONGVIEW           WA   98632‐2322
QUALITY AUTO REPAIR LLC              431 MAIN ST                                                                                                       ROCHESTER          IN   46975‐1241
QUALITY AUTO REPAIR INTERNATIONAL,   690 OLEANDER DR                                                                                                   MERRITT ISLAND     FL   32952‐3748
INC.
QUALITY AUTO REPAIR LLC              431 MAIN ST                                                                                                       ROCHESTER          IN   46975‐1241
QUALITY AUTO SERVICE                 11810 WILES RD                                                                                                    CORAL SPRINGS      FL   33076‐2216
QUALITY AUTO SERVICE                                                      1412 GILBERT ST                                                                                 IA   50616
QUALITY AUTO SERVICE, INC            5533 NC HIGHWAY 42 W                                                                                              GARNER             NC   27529
QUALITY AUTOMOTIVE                   496 FOUNDRY ST                                                                                                    SOUTH EASTON       MA   02375‐1346
QUALITY AUTOMOTIVE                   37839 SIERRA HWY                                                                                                  PALMDALE           CA   93550‐5373
QUALITY AUTOMOTIVE                   2903 HUNTSVILLE HWY                                                                                               FAYETTEVILLE       TN   37334‐6682
QUALITY AUTOMOTIVE                   1025 E. 8TH STREET                                                                                                MISHAWAKA          IN   46544
QUALITY AUTOMOTIVE                   1668 SAWTELLE BLVD                                                                                                WEST LOS ANGELES   CA   90025‐3149
QUALITY AUTOMOTIVE                   995 REMSEN AVE                                                                                                    BROOKLYN           NY   11236‐3220
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Name                                   Address1                             Address2                         Address3   Address4                 City           State Zip
QUALITY AUTOMOTIVE AND SMOG, INC       11357 DEERFIELD DR STE A                                                                                  TRUCKEE         CA 96161‐0524

QUALITY AUTOMOTIVE DISTRIBUTOR         509 N 9TH AVE                                                                                             EVANSVILLE      IN   47712‐5219
QUALITY AUTOMOTIVE SERVICE             10915 STATE HIGHWAY 16 S                                                                                  PIPE CREEK      TX   78063‐5381
QUALITY AUTOMOTIVE SERVICES            1137 LAWRENCE AVE W                                                              NORTH YORK ON M6A 1E1
                                                                                                                        CANADA
QUALITY BRAKE & MUFFLER 2005 LTD       9820 FIFTH ST                                                                    SIDNEY BC V8L 2X3
(46229)                                                                                                                 CANADA
QUALITY BRAKE AND ALIGNMENT INC.       27044 COUNTY ROAD 20                                                                                      ELKHART        IN 46517‐4000
QUALITY BRAKES SPECIALIST & REPAIRS,                                        180 S TELEGRAPH RD                                                                  MI 48328
LLC
QUALITY BUICK PONTIAC GMC CADILLAC     DAVID STEVENSON                      1620 HOMER M ADAMS PKWY                                              ALTON           IL   62002‐5601

QUALITY BUICK PONTIAC GMC CADILLAC     1620 HOMER M ADAMS PKWY                                                                                   ALTON           IL   62002‐5601

QUALITY BUILDING SERVICES CORP         801 2ND AVE FL 8                                                                                          NEW YORK       NY    10017‐8642
QUALITY CALI/WEST AL                   10205 W GREENFIELD AVE                                                                                    WEST ALLIS     WI    53214‐3911
QUALITY CALIBRATION SERVICE INC        10205 W GREENFIELD AVE                                                                                    WEST ALLIS     WI    53214‐3911
QUALITY CAR & TRUCK REPAIR             14905 220TH AVE                                                                                           BIG RAPIDS     MI    49307‐9232
QUALITY CAR CENTER                     4293 TRIANGLE INDUSTRIAL DR                                                                               EVANS          GA    30809‐4266
QUALITY CARTAGE INC                    PO BOX 32                                                                                                 PORT CLINTON   OH    43452‐0032
QUALITY CAVITY, INC                    47955 ANNA COURT                                                                                          WIXOM          MI    48393
QUALITY CAVITY, INC                    ATTN: CORPORATE OFFICER/AUTHORIZED 47955 ANNA CT                                                          WIXOM          MI    48393‐3690
                                       AGENT
QUALITY CHEVROLET                      9600 N INTERSTATE 35                                                                                      SAN ANTONIO    TX 78233‐6607
QUALITY CHEVROLET                      1550 AUTO PARK WAY                                                                                        ESCONDIDO      CA 92029‐2059
QUALITY CHEVROLET BUICK PONTIAC LLC    QUALITY CHEVROLET BUICK PONTIAC GEO 154 EAST MAIN STREET PO BOX 310                                       NEW ROADS      LA 70760
                                       INC
QUALITY CHEVROLET PONTIAC BUICK        1041 N MAIN ST                                                                                            TOOELE         UT 84074‐1687
QUALITY CHEVROLET‐BUICK‐PONTIAC, L.    1222 HOSPITAL RD                                                                                          NEW ROADS      LA 70760‐2639

QUALITY CHEVROLET‐BUICK‐PONTIAC,       1222 HOSPITAL RD                                                                                          NEW ROADS       LA   70760‐2639
L.L.C.
QUALITY COACHES INC                    ATTN BARNEY SIMON                    53245 TRENTON LN                                                     BRISTOL         IN   46507‐9020
QUALITY CONTROL SUPPLIER SA DE CV      AV DE LAS AMERICAS 1192 COL          CUMBRES CP 25297 SALTILLO                   COAHUILA MEXICO MEXICO
QUALITY CONTROL/TROY                   376 ROBBINS DR                                                                                            TROY           MI    48083‐4558
QUALITY CONVERTERS INC                 9675 W MAPLE ST                                                                                           ORLAND         IN    46776‐5419
QUALITY CORP                           2401 S. DELAWARE                                                                                          DENVER         CO    80223
QUALITY CREATION/IN                    9232 THRUSHWOOD LN                                                                                        INDIANAPOLIS   IN    46250‐1348
QUALITY DEAR MANAGEMENT                MR. RANDY BOWDEN                     170 WHITETAIL WAY                                                    BOGART         GA    30622‐6833
ASSOCIATION
QUALITY DEER MANAGEMENT                170 WHITETAIL WAY                                                                                         BOGART         GA 30622‐6833
ASSOCIATION
QUALITY DIE CASTING CO                 301 E GRIXDALE                       UPTD 10/12/06                                                        DETROIT        MI    48203‐2036
QUALITY DISTRIBUTIONS                  3802 CORPOREX DR                                                                                          TAMPA          FL    33617
QUALITY EMERGENCY VEHICLES INC         85 SOUTH AVE                                                                                              NATICK         MA    01760‐4626
QUALITY ENG. CO.                       ABE VARKOVITZKY                      21555 MELROSE AVE. SUITE 3                                           IMLAY CITY     MI    48444
QUALITY ENG/21060 BR                   21060 BRIDGE ST                                                                                           SOUTHFIELD     MI    48033‐4087
QUALITY ENGINEERING                    21060 BRIDGE ST                                                                                           SOUTHFIELD     MI    48033‐4087
QUALITY ENGINEERING                    ABE VARKOVITZKY                      21555 MELROSE AVE. SUITE 3                                           IMLAY CITY     MI    48444
QUALITY ENGINEERING COMPANY            21060 BRIDGE ST                                                                                           SOUTHFIELD     MI    48033‐4087
QUALITY ENGINEERING SOLUTIONS          27 GREEN RD                                                                                               CHURCHVILLE    NY    14428‐9534
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QUALITY FASTENER & SUPPLY CO         3100 ADVENTURE LN                                                                              OXFORD              MI 48371‐1637
QUALITY FEEDERS INC                  9960 N 600 E                                                                                   WILKINSON           IN 46186‐9733
QUALITY FIRESTONE                    12042 KNOTT ST STE G                                                                           GARDEN GROVE        CA 92841‐2829
QUALITY FIRST SYSTEM                 10301 ENTERPRISE DR                                                                            DAVISBURG           MI 48350‐1312
QUALITY FIRST SYSTEMS INC            10301 ENTERPRISE DR                                                                            DAVISBURG           MI 48350‐1312
QUALITY FIRST TRANSPORTATION INC     1410 CHARLESTOWN PIKE                                                                          JEFFERSONVILLE      IN 47130
QUALITY FLEET SERVICE                11851 WOODBURY RD                                                                              GARDEN GROVE        CA 92843‐4019
QUALITY FUELS LTD                    3015 HILL AVE                                                                                  TOLEDO              OH 43607‐2932
QUALITY GAGE COMPANY INC             5431 PURPLE LILAC CIR                                                                          INDIANAPOLIS        IN 46254‐9401
QUALITY GLASS & AIR CONDITIONING     501 BURNETT ST                                                                                 WICHITA FALLS       TX 76301‐2317
QUALITY GLASS INC
QUALITY HOUSEKEEPING TECHNOLOG       PO BOX 300385                        7578 RED OAK VALLEY DR                                    DRAYTON PLAINS     MI 48330‐0385
QUALITY HOUSEKEEPING TECHNOLOGIES    PO BOX 300385                        7578 RED OAK VALLEY DR                                    DRAYTON PLAINS     MI 48330‐0385

QUALITY HYDRAULIC SUPPLIES           1473 ECORSE RD                                                                                 YPSILANTI          MI 48198‐5983
QUALITY INSPECTIONS                  ATTN: CORPORATE OFFICER/AUTHORIZED   2701 INDUSTRIAL ROW DR                                    TROY               MI 48084‐7015
                                     AGENT
QUALITY INSPECTIONS                  2701 INDUSTRIAL ROW                                                                            TROY               MI   48084
QUALITY JEEP LIMITED PARTNERSHIP     8101 LOMAS BLVD NE                                                                             ALBUQUERQUE        NM   87110‐7912
QUALITY LOGISTICS INC                2131 WOODRUFF RD STE 2100                                                                      GREENVILLE         SC   29607‐5959
QUALITY LP‐GAS EQUIPMENT & SERVICE   PO BOX 495206                                                                                  GARLAND            TX   75049‐5206

QUALITY MACHINE                      BILL EHRENSBERGER                    1201 MICH AVE                                             STRASBURG          OH   44680
QUALITY MACHINE & TOOL WORKS INC     BILL EHRENSBERGER                    1201 MICH AVE                                             STRASBURG          OH   44680
QUALITY MACHINE & TOOL WORKS INC     1201 MICHIGAN AVE                                                                              COLUMBUS           IN   47201‐5635
QUALITY MANUFACTURERS SERVICE        JUD LIND                             3256 IRON STREET                                          MC ALLEN           TX   78503
QUALITY MANUFACTURERS SERVICE INC    DILLARD JAMES C LAW OFFICES          1289 S LINDEN RD STE B                                    FLINT              MI   48532‐3499

QUALITY ME/FARM                      35055 W. TWELVE MILE ROAD                                                                      FARMINGTON HILLS   MI   48331
QUALITY MEASUREMENT CONTROL IN       1750 OPDYKE CT                                                                                 AUBURN HILLS       MI   48326‐2474
QUALITY MEASUREMENT CONTROL INC      1750 OPDYKE CT                                                                                 AUBURN HILLS       MI   48326‐2474
QUALITY MEDICAL EVALUATIONS, INC     110 TURNPIKE RD STE 204              WESTBORO EXECUTIVE PARK                                   WESTBOROUGH        MA   01581‐2808
QUALITY METAL IMAGES INC             1645 E AVIS DR                                                                                 MADISON HEIGHTS    MI   48071‐1514
QUALITY METAL/LIVONI                 33355 GLENDALE ST                                                                              LIVONIA            MI   48150‐1615
QUALITY METALCRAFT                   MARK ANDERSON                        33355 GLENDALE AVE                                        HENDERSON          KY   42420
QUALITY METALCRAFT INC               MARK ANDERSON                        33355 GLENDALE ST                                         LIVONIA            MI   48150‐1615
QUALITY METALCRAFT INC               33355 GLENDALE ST                                                                              LIVONIA            MI   48150‐1615
QUALITY MFG SERVICE                  JUD LIND                             3256 IRON STREET                                          MC ALLEN           TX   78503
QUALITY MFG SERVICE                  JUD LIND                             3256 IRON ST                                              BURTON             MI   48529‐1425
QUALITY MILL SUPPLY CO               PO BOX 329                                                                                     FRANKLIN           IN   46131‐0329
QUALITY MILL SUPPLY CO INC           PO BOX 508                                                                                     COLUMBUS           IN   47202‐0508
QUALITY MILL SUPPLY CO INC           2454 N CURRY PIKE                    PO BOX 1324                                               BLOOMINGTON        IN   47404‐1410
QUALITY MILL SUPPLY CO INC           5700 W KILGORE AVE                                                                             MUNCIE             IN   47304‐4720
QUALITY MILL SUPPLY CO INC           2159 EARLY LN                        PO BOX 329                                                FRANKLIN           IN   46131‐7847
QUALITY MODEL/WNDSOR                 5295 PULLEYBLANK DRIVE               RR #1                                WINDSOR ON N9A 6J3
                                                                                                               CANADA
QUALITY MOTOR CO., INC.              ALONZO ROMERO                        610 GRAND AVE                                             LAS VEGAS          NM   87701‐4515
QUALITY MOTOR CO., INC.              610 GRAND AVE                                                                                  LAS VEGAS          NM   87701‐4515
QUALITY MOTORS, INC.                 1051 S CHALLIS ST                                                                              SALMON             ID   83467‐5441
QUALITY MOTORS, INC.                 DAVE HULL                            1051 S CHALLIS ST                                         SALMON             ID   83467‐5441
QUALITY MUFFLER & MORE               ATTN: KEN STEVENS                    G4031 S SAGINAW ST                                        BURTON             MI   48529‐1658
QUALITY NDE LIMITED
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QUALITY NDE LTD                      622 TRILLIUM DR UNIT 2A                                                 KITCHENER ON N2R 1E6
                                                                                                             CANADA
QUALITY OF LIFE BACK‐TO‐SCHOOL       NEW CLOTHING CENTER                PO BOX 3291                                                 ANN ARBOR          MI    48106‐3291
QUALITY OFFSET PRINTING CO           ATTN: JOHN STONGER                 531 CAMBRIDGE AVE                                           SYRACUSE           NY    13208‐1414
QUALITY PACKAGING SYSTEMS            24260 MOUND RD                                                                                 WARREN             MI    48091‐5324
QUALITY PARTNERS ASSOCIATED INC      27481 BEVERLY RD STE 100                                                                       ROMULUS            MI    48174‐2049
QUALITY PEST MANAGEMENT              7412 MEXICO RD                                                                                 SAINT PETERS       MO    63376‐1300
QUALITY PLUS AUTOMOTIVE              10436 N CLIO RD                                                                                CLIO               MI    48420‐1967
QUALITY PLUS INC
QUALITY PLUS INC                     251 AIRPORT INDUSTRIAL DR                                                                      YPSILANTI          MI    48198‐6061
QUALITY PLUS INC                     ATTN: ROD YATES                    5655 OPPORTUNITY DR # 4                                     TOLEDO             OH    43612‐2934
QUALITY PONTIAC BUICK GMC            1615 E 10TH ST                                                                                 ROANOKE RAPIDS     NC    27870‐4103
QUALITY PONTIAC GMC BUICK            CHARLES DI LORENZO                 7901 LOMAS BLVD NE                                          ALBUQUERQUE        NM    87110‐7916
QUALITY PONTIAC GMC BUICK INC        7901 LOMAS BLVD NE                                                                             ALBUQUERQUE        NM    87110‐7916
QUALITY PONTIAC GMC BUICK, INC.      ATTN: JAMES DILORENZO              1300 LOMAS BLVD NE                                          ALBUQUERQUE        NM    87102‐2703
QUALITY PONTIAC GMC TRUCK, INC.      EDWARD O'DONNELL                   1825 KING ST                                                COCOA              FL    32926‐5125
QUALITY PONTIAC, BUICK, GMC          1615 E 10TH ST                                                                                 ROANOKE RAPIDS     NC    27870‐4103
QUALITY PONTIAC, INC.                TROY BONE                          1615 E 10TH ST                                              ROANOKE RAPIDS     NC    27870‐4103
QUALITY PONTIAC, LTD.                WILLIAM HAHN                       2470 ELIZABETH LAKE RD                                      WATERFORD          MI    48328‐3310
QUALITY PONTIAC, LTD.                2470 ELIZABETH LAKE RD                                                                         WATERFORD          MI    48328‐3310
QUALITY PONTIAC‐GMC‐CADILLAC, INC.   DAVID STEVENSON                    1620 HOMER M ADAMS PKWY                                     ALTON               IL   62002‐5601

QUALITY PRECISION SERVICES INC       3333 SE 89TH ST                                                                                OKLAHOMA CITY       OK   73135‐6216
QUALITY PRODUCTS & CONCEPTS          1305 S CEDAR ST STE 506                                                                        LANSING             MI   48910‐1596
QUALITY QUEST INC                    1000 JOHN R RD                     STE 209                                                     TROY                MI   48083‐4317
QUALITY QUICK LUBE AND SPECIALTIES   701 W MAIN ST                                                                                  NORTH MANCHESTER    IN   46962‐1450
QUALITY REPAIR                       411 S 7TH ST                                                                                   ALBION              IN   46701‐1418
QUALITY SAF/CANADA                   255 PATILLO ROAD                   RR#1                                 TECUMSEH ON N8N 2L9
                                                                                                             CANADA
QUALITY SAFETY SYSTEMS               255 PATILLO RD RR 1                                                     TECUMSEH CANADA ON
                                                                                                             N8N 2L9 CANADA
QUALITY SAFETY SYSTEMS               CHRIS FUERTH X337                  255 PATILLO RURAL RTE 1              ST. DAMIENDEBUCKLAND
                                                                                                             PQ CANADA
QUALITY SAFETY SYSTEMS COMPANY       255 PATILLO RD RR 1                                                     TECUMSEH ON N8N 2L9
                                                                                                             CANADA
QUALITY SERVICE AND REPAIR           1311 1ST ST NE                                                                                 MANDAN             ND 58554‐3710
QUALITY SERVICES                     381 ELMIRA ROAD UNIT 2                                                  GUELPH CANADA ON N1K
                                                                                                             1H3 CANADA
QUALITY SERVICES INC                 381 ELMIRA RD N UNIT 7                                                  GUELPH ON N1K 1H3
                                                                                                             CANADA
QUALITY SERVICES INTERNATIONAL INC   3462 HAISLIP HOLLOW RD                                                                         PETERSBURG          TN 37144‐2336

QUALITY SOL/GREENWOO                 2459 WILLOW LAKE DR                                                                            GREENWOOD          IN    46143‐9329
QUALITY SOLUTIONS GROUP LLC          2296 KENMORE AVE                                                                               BUFFALO            NY    14207‐1312
QUALITY SPINDLE SERVICES INC         33871 RIVIERA                                                                                  FRASER             MI    48026‐4809
QUALITY SPINDLE SERVICES INC         21520 MULLIN AVE                                                                               WARREN             MI    48089‐3081
QUALITY SPR/COLDWTR                  355 JAY ST                                                                                     COLDWATER          MI    49036‐2176
QUALITY SPRING‐TOGO INC              AL FUSON                           355 JAY STREET                                              MILWAUKEE          WI    53209
QUALITY SPRING/TOGO, INC.            AL FUSON                           355 JAY STREET                                              ADDISON            TX    75001
QUALITY SPRING\TOGO INC              355 JAY ST                                                                                     COLDWATER          MI    49036‐2176
QUALITY STATION INC                  ATTN RONALD J BOWEN                PO BOX 808                                                  GRAND BLANC        MI    48480‐0808
QUALITY SYN/TWINSBUR                 1700 HIGHLAND RD                                                                               TWINSBURG          OH    44087‐2221
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Name                                    Address1                           Address2                        Address3   Address4         City                 State Zip
QUALITY SYNTHETIC RUBBER                PO BOX 1030                                                                                    TWINSBURG             OH 44087‐9030
QUALITY SYNTHETIC RUBBER                DAVID KRAYX245                     PO BOX 1030                                                 TWINSBURG             OH 44087‐9030
QUALITY SYNTHETIC RUBBER INC            1700 HIGHLAND RD                   PO BOX 1030                                                 TWINSBURG             OH 44087‐2221
QUALITY SYNTHETIC RUBBER INC            DAVID KRAYX245                     PO BOX 1030                                                 TWINSBURG             OH 44087‐9030
QUALITY SYSTEMS & SOFTWARE              QSS INC                            400 VALLEY RD STE 200                                       MT ARLINGTON          NJ 07856‐2316
QUALITY SYSTEMS CO                      20101 9 MILE RD 11/13/06                                                                       SAINT CLAIR SHORES    MI 48080
QUALITY SYSTEMS CO                      22054 YORK MILLS CIR                                                                           NOVI                  MI 48374‐3870
QUALITY TEAM 1                          11100 OLIVE ST                                                                                 WARREN                MI 48093‐6556
QUALITY TECH AUTOMOTIVE                 1235 16TH AVE                                                                                  OAKLAND               CA 94606‐4431
QUALITY TECH INC                        PO BOX 699                                                                                     FLUSHING              MI 48433‐0699
QUALITY TECH SERVICE CENTER             2901 N NEVADA AVE                                                                              COLORADO SPRINGS      CO 80907‐6224
QUALITY TIRE & AUTO, INC                7255 KINGERY HWY                                                                               WILLOWBROOK            IL 60527‐7561
QUALITY TOOL/PLYMOUT                    41930 JOY RD                                                                                   PLYMOUTH              MI 48170‐4636
QUALITY TRANSMISSION COMPONENTS         125 RAILROAD AVE                                                                               GARDEN CITY PARK      NY 11040‐5016

QUALITY TRANSMISSION SERVICE            5944 ARSENAL ST                                                                                SAINT LOUIS          MO   63139‐2637
QUALITY TRANSMISSION SVC                PO BOX 783                                                                                     MT MORRIS            MI   48458‐0783
QUALITY TRANSPARENT BAG CO              PAUL BARKDULL                      4401 W GATE BLVD STE 310                                    AUSTIN               TX   78745‐1494
QUALITY TRANSPARENT BAG INC             TONY BLOENK                                                                                                         MI   48707
QUALITY TRANSPARENT BAG INC.            PO BOX 486                                                                                     BAY CITY             MI   48707‐0486
QUALITY TRANSPORT CO                    PO BOX 461                                                                                     FREEPORT             IL   61032‐0461
QUALITY TRANSPORTATION SERVICES INC     9568 KINGS CHARTER DR 100                                                                      ASHLAND              VA   23005

QUALITY TRUCKING INC                    PO BOX 545                                                                                     WAYNE CITY           IL 62895‐0545
QUALITY VIDEO PROGRAMS                  2722 BROWNING DR                                                                               LAKE ORION           MI 48360‐1818
QUALITY WATER & AIR INC                 1402 SOUTER DR                                                                                 TROY                 MI 48083‐2824
QUALITY X‐RAY SERVS INC ‐ ASGMT ‐ CPC   NO ADVERSE PARTY

QUALKENBUSH, DOROTHY M                  PO BOX 256                                                                                     SULPHUR SPGS         IN   47388‐0256
QUALKENBUSH, ERNEST L                   4928 OAKNOLL DR                                                                                INDIANAPOLIS         IN   46221‐3773
QUALKENBUSH, MICHAEL L                  9029 JACKSON ST                                                                                INDIANAPOLIS         IN   46231‐1151
QUALLS AUTO CTR                         ATTN: DALE QUALLS                  4780 S DIXIE DR                                             MORAINE              OH   45439‐2116
QUALLS CLEOLOUS (665817)                ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                 SOUTHFIELD           MI   48075‐3727
QUALLS CLETUS (ESTATE OF) (654423)      SIMMONS FIRM                       PO BOX 521                                                  EAST ALTON           IL   62024‐0519
QUALLS JAMES SR (492128)                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD           OH   44067
                                                                           PROFESSIONAL BLDG
QUALLS JR, WILLIE B                     2925 WHEATON AVENUE                                                                            SAINT LOUIS          MO 63114‐4641
QUALLS PHILIP B (361296)                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                                           STREET, SUITE 600
QUALLS, ANNIE D                         PO BOX 281                                                                                     ELYRIA               OH   44036‐0281
QUALLS, BETTY S                         649 W MAIN ST                                                                                  MOORE                OK   73160‐3921
QUALLS, CLEOLOUS                        ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                 SOUTHFIELD           MI   48075‐3727
QUALLS, CLETUS                          SIMMONS FIRM                       PO BOX 521                                                  EAST ALTON           IL   62024‐0519
QUALLS, D E                             8621 DAYTON                                                                                    DETROIT              MI   48210‐1803
QUALLS, DAVID D                         3324 WILLIAMSBURG ST NW                                                                        WARREN               OH   44485
QUALLS, DAVID E                         3324 WILLIAMSBURG ST NW                                                                        WARREN               OH   44485‐2259
QUALLS, DAVID M                         22936 CLINTON ST                                                                               TAYLOR               MI   48180‐4161
QUALLS, DEBRA L                         910 BELZER DR                                                                                  ANDERSON             IN   46011‐2006
QUALLS, DEBRA LOUISE                    910 BELZER DRIVE                                                                               ANDERSON             IN   46011‐2006
QUALLS, DENSELEE                        5047 DAVISON RD                                                                                LAPEER               MI   48446‐3528
QUALLS, GARRY M                         1173 BROOKWAY DR                                                                               AVON                 IN   46123‐5606
QUALLS, GUS E                           111 GUS DR                                                                                     BENTON               TN   37307‐4442
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Name                       Address1                         Address2                      Address3   Address4               City               State Zip
QUALLS, HILDA K            45 OLD KY RD                                                                                     COOKEVILLE          TN 38501
QUALLS, JACK D             902 SW SHORTHORN DR                                                                              GRAIN VALLEY        MO 64029‐9487
QUALLS, JOAN P             174 WESTWOOD DR                                                                                  HILLSDALE           MI 49242‐1151
QUALLS, JOE D              22493 UPPER FORT HAMPTON RD                                                                      ELKMONT             AL 35620‐4545
QUALLS, KENNETH G          2518 E 4TH ST                                                                                    ANDERSON            IN 46012‐3760
QUALLS, KENNETH O          1100 ARROWHEAD DR                                                                                CROSSVILLE          TN 38572‐6406
QUALLS, LAURA M            26610 COMPSON ST                                                                                 ROSEVILLE           MI 48066‐3112
QUALLS, LESTER L           7389 GERALD AVE                                                                                  WARREN              MI 48092‐3916
QUALLS, LUCILLE            625 FREDONIA RD                                                                                  MANCHESTER          TN 37355‐3079
QUALLS, MANFORD C          18 CEDAR DR                                                                                      HURRICANE           WV 25526‐9220
QUALLS, MARY M             217 WILSON ST                                                                                    KENNETT             MO 63857‐1656
QUALLS, MAX A              PO BOX 201                                                                                       ALBANY              KY 42602‐0201
QUALLS, MICHAEL B          99 LAKESHORE POINTE DR                                                                           HOWELL              MI 48843‐6502
QUALLS, MURREL             15539 BAILEY ST                                                                                  TAYLOR              MI 48180‐5118
QUALLS, PHILIP B           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
QUALLS, PHILLIP A          202 S WOOD ST                                                                                    CHESANING          MI   48616‐1366
QUALLS, REBA W             910 BELZER DR                                                                                    ANDERSON           IN   46011‐2006
QUALLS, ROBERT E           1221 ROBIONHOOD LANE                                                                             ROACH              MO   65787
QUALLS, RONNIE G           1416 SILVERSIDE DR LOT 58                                                                        GRAPEVINE          TX   76051‐2994
QUALLS, SAMUEL P           14810 TILLEY ST                                                                                  HOUSTON            TX   77084‐2158
QUALLS, STACEY R           22493 UPPER FORT HAMPTON ROAD                                                                    ELKMONT            AL   35620‐4545
QUALLS, WALLACE K          12385 WILD OAKS CIR                                                                              SOUTH LYON         MI   48178‐9303
QUALLS, WALTER B           639 HERITAGE DR                                                                                  MADISON            TN   37115‐2630
QUALLS, WILLIAM            2210 BANCROFT ST                                                                                 SAGINAW            MI   48601‐2072
QUALLS, WILLIAM M          820 RUSSELL ST                                                                                   ROCKY MOUNT        NC   27803‐2624
QUALMAN III, JACK W        10475 KINGSTON AVE                                                                               HUNTINGTON WOODS   MI   48070‐1113
QUALMAN JR, JACK W         508 OLIVIA DR                                                                                    MILFORD            MI   48381‐1044
QUALMAN, ALFRED C          343 HIGH ST                                                                                      NORTHVILLE         MI   48167‐1235
QUALMAN, AMY J             508 OLIVIA DR                                                                                    MILFORD            MI   48381‐1044
QUALMAN, EDITH J           952 HUGHES AVE                                                                                   FLINT              MI   48503‐3003
QUALMAN, KENNETH W         5171 N SEYMOUR RD                                                                                FLUSHING           MI   48433‐1064
QUALMAN, ROBERT S          1110 CHICKASAW DR                                                                                BRENTWOOD          TN   37027‐7456
QUALMED EVALUATIONS, LLC   STE.275, GATEWAY BUSINESS PARK   523 FELLOWSHIP ROAD                                             MOUNT LAUREL       NJ   08054
QUALNET
QUALORTRAN INC             PO BOX 485                       236 CARPENTER NW                                                ROME               GA 30162‐0485
QUALORTRAN INC             PO BOX 485                                                                                       ROME               GA 30162‐0485
QUALTECH SEATING SYSTEMS   3915 COMMERCE RD                                                          LONDON CANADA ON N6N
                                                                                                     1P4 CANADA
QUALTECH SYSTEMS INC       100 GREAT MEADOW RD STE 603                                                                      WETHERSFIELD       CT 06109‐2355
QUALTECH/RACINE            2200 CLARK ST                    P.O. BOX 1527                                                   RACINE             WI 53403‐3323
QUALTRICS LABS INC
QUALYS INC                 1600 BRIDGE PARKWAY 2ND FLOOR                                                                    REDWOOD CITY       CA   94065
QUALYS INC                 1600 BRIDGE PKY 2ND FL                                                                           REDWOOD CITY       CA   94065
QUAM, MARILYN A            726 E MICHELTORENA ST APT B                                                                      SANTA BARBARA      CA   93103‐4206
QUAM, TERESA L             3795 HIDDEN FOREST DR                                                                            LUDINGTON          MI   49431
QUAM, VINCENZINA           2227 S DUVAL                                                                                     MESA               AZ   85209‐2271
QUAN, RICHARD S            1904 YARDLEY CT                                                                                  CONCORD            CA   94521‐1634
QUAN, SONNY H              223 TECUMSEH ST                                                                                  CLAWSON            MI   48017‐2056
QUAN, SONNY H              375 CHERRY GROVE LN                                                                              COMMERCE TWP       MI   48390‐3978
QUAN, VINK B               5043 SHOWDOWN LN                                                                                 GRAND PRAIRIE      TX   75052‐2437
QUAN, VINK BON             5043 SHOWDOWN LN                                                                                 GRAND PRAIRIE      TX   75052‐2437
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Name                           Address1                            Address2                      Address3         Address4              City               State Zip
QUAN, WILLIAM C                13262 WESTMINISTER DR                                                                                    STERLING HEIGHTS    MI 48313‐1968
QUANCE, JUNE                   7196 SNOW APPLE DRIVE                                                                                    CLARKSTON           MI 48346‐1643
QUANCE, ROBERT L               7196 SNOW APPLE DRIVE                                                                                    CLARKSTON           MI 48346‐1643
QUANDT, CARL E                 50125 BRONTE DR E LOT 41                                                                                 SHELBY TWP          MI 48315
QUANDT, CHARLES E              11109 CRESTVIEW BLVD                                                                                     KOKOMO              IN 46901‐9536
QUANDT, CHARLES M              673 PARKSIDE CT                                                                                          CHELSEA             MI 48118‐2126
QUANDT, JAMES K                32505 WARNER DR                                                                                          WARREN              MI 48092‐3287
QUANDT, JOHN M                 57460 SCHOENHERR RD                                                                                      WASHINGTON          MI 48094‐3118
QUANDT, PHILLIP                22595 JAMES DR                                                                                           COUNCIL BLUFFS       IA 51503‐5801
QUANDT, RICHARD                4855 SEAMAN RD                                                                                           IRONS               MI 49644‐9208
QUANDT, ROBERT M               11297 LAKE SHORE DRIVE                                                                                   FIFE LAKE           MI 49633‐9342
QUANDT, ROGER P                6017 N 109TH ST                                                                                          OMAHA               NE 68164‐1543
QUANEX CORP                    1 S JACKSON SQ STE 500                                                                                   JACKSON             MI 49201‐1480
QUANG BUI                      3664 BARBARA CT                                                                                          STERLING HEIGHTS    MI 48310‐6101
QUANG STRAUSS                  1450 N STATE HIGHWAY 360 APT 177                                                                         GRAND PRAIRIE       TX 75050‐4103
QUANG TRAN                     7642 MILANO DR                                                                                           ORLANDO             FL 32835‐8161
QUANISHA L TURMAN              2628 DELLA DR                                                                                            DAYTON              OH 45408
QUANPING TONG                  PO BOX 865                          3600 CHESTNUT STREET                                                 PHILADELPHIA        PA 19105‐0865
QUANT CORPORATION              400 TRAVIS LN STE 28                                                                                     WAUKESHA            WI 53189‐7976
QUANT JR, FRANKLIN             8650 ROCHESTER RD                                                                                        GASPORT             NY 14067‐9232
QUANT, AUDREY M                8650 ROCHESTER RD                                                                                        GASPORT             NY 14067‐9232
QUANT, ROBERT E                378 STRAWBERRY RDG                                                                                       MOUNT MORRIS        MI 48458‐9114
QUANTA INC                     PO BOX 42                                                                                                BRIGHTON            MI 48116‐0042
QUANTA INC
QUANTA INC                     1145 S OLD US HIGHWAY 23                                                                                 BRIGHTON            MI 48114‐9681
QUANTA PRODUCTS LLC
QUANTA PRODUCTS LLC            GARY K. WHITING                     45 CISSEL RD                                                         NORTH EAST         MD 21901‐1014
QUANTA RESOURCES CORP          ALLEN G REITER, ESQ                 JAMES M SULLIVAN ESQ          ARENT FOX LLP    1675 BROADWAY         NEW YORK           NY 10019
QUANTA RESOURCES CORP          C/O ALLEN G REITER ESQ/JAMES M      ARENT FOX LLP                 1675 BROADWAY                          NEW YORK           NY 10019
                               SULLIVAN ESQ
QUANTA RESOURCES CORP          ALLEN G REITER & JAMES M SULLIVAN   ARENT FOX LLP                 1675 BROADWAY                          NEW YORK           NY 10019
QUANTA RESOURCES CORPORATION   C/O ALLEN G REITER ESQ & JAMES M    ARENT FOX LLP                 1675 BROADWAY                          NEW YORK           NY 10019
                               SULLIVAN ESQ
QUANTA RESOURCES CORPORATION   ALLEN G REITER, ESQ, AND JAMES      ARENT FOX LLP                 1675 BROADWAY                          NEW YORK           NY 10019
                               SULLIVAN, ESQ
QUANTA RI FS GROUP ACCOUNT     C/O MCCUSKER ANSELMI ROSEN          210 PARK AVE #3                                                      FLORHAM PARK       NJ   07932‐1012
QUANTA SERVICES                1360 POST OAK BLVD STE 2100                                                                              HOUSTON            TX   77056‐3023
QUANTA SERVICES INC            1608 MARGARET ST                                                                                         HOUSTON            TX   77093‐4010
QUANTA SERVICES, INC.          BUTCH CHRISTIAN                     1360 POST OAK BLVD STE 2100                                          HOUSTON            TX   77056‐3023
QUANTA SITE GROUP              C/O ALLEN G REITER ESQ & JAMES M    ARENT FOX LLP                 1675 BROADWAY                          NEW YORK           NY   10019
                               SULLIVAN ESQ
QUANTA SITE GROUP              ALLEN G REITER, ESQ                 JAMES M SULLIVAN, ESQ         ARENT FOX LLP    1675 BROADWAY         NEW YORK           NY   10019
QUANTA SITE GROUP              ALLEN G REITER & JAMES M SULLIVAN   ARENT FOX LLP                 1675 BROADWAY                          NEW YORK           NY   10019
QUANTA SYRACUSE PRP GROUP      HANCOCK & ESTABROOK LLP             100 MADISON ST                1500 AXA TOWER                         SYRACUSE           NY   13202‐2723
QUANTA SYRACUSE PRP GROUP      N W BERNSTEIN & ASSOCIATES          2000 M ST NW STE 745                                                 WASHINGTON         DC   20036
QUANTA/1145 OLD US23           1145 S OLD US HIGHWAY 23                                                                                 BRIGHTON           MI   48114‐9681
QUANTACHROME CORP              1900 CORPORATE DR                                                                                        BOYNTON BEACH      FL   33426‐6650
QUANTECH GLOBAL SERVICES LLC   2123 UNIVERSITY PARK DR SUITE       150 UPDATE 12/22/05 AM                                               OKEMOS             MI   48864
QUANTECH GLOBAL SERVICES LLC   755 W BIG BEAVER RD STE 420                                                                              TROY               MI   48084
QUANTECH GLOBAL SERVICES LLC   2123 UNIVERSITY PARK DR STE 15                                                                           OKEMOS             MI   48864
QUANTECH INC                   7170 BIG SKY DR STE 7                                                                                    HOLLY              MI   48442‐9663
QUANTECIA L JENNINGS           634 P.O. BOX                                                                                             GADSDEN            AL   35902‐0634
                                     09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                              Address1                               Address2                        Address3      Address4                City               State Zip
QUANTERRA INC                     SERVICES INC                           PO BOX 98301                                                          CHICAGO              IL 60693‐0001
QUANTERRIE D COOK                 PO BOX 10636                                                                                                 ATLANTA             GA 30310‐0636
QUANTITATIVE MICRO SOFTWARE       4521 CAMPUS DR 336                                                                                           IRVINE              CA 92612
QUANTITATIVE SERVICES GROUP       1560 WALL ST STE 334                                                                                         NAPERVILLE           IL 60563‐1264
QUANTITIVE SOFTWARE MANAGEMENTINC 2000 CORPORATE RDG STE 900                                                                                   MCLEAN              VA 22102‐7866

QUANTIUM TECHNOLOGIES, INC.         CHRIS LAPPI                          17872 CARTWRIGHT RD                                                   IRVINE             CA   92614‐6217
QUANTRELL CADILLAC, INC.            1490 E NEW CIRCLE RD                                                                                       LEXINGTON          KY   40509‐1020
QUANTRELL CADILLAC, INC.            BONNIE QUANTRELL JONES               1490 E NEW CIRCLE RD                                                  LEXINGTON          KY   40509‐1020
QUANTRELL SAAB                      JONES, BONNIE Q.                     1490 E NEW CIRCLE RD                                                  LEXINGTON          KY   40509‐1020
QUANTRELL SAAB                      1490 E NEW CIRCLE RD                                                                                       LEXINGTON          KY   40509‐1020
QUANTRELL, JACK W                   4394 CARLISLE HWY R#2                                                                                      CHARLOTTE          MI   48813
QUANTRILL, JOHN E                   1327 FRONT RD                                                                      AMHERSTBERG S. ON N9V
                                                                                                                       2M5 CANADA
QUANTUM COMPLIANCE SYSTEMS INC      2111 GOLFSIDE                                                                                              YPSILANTI          MI   48197
QUANTUM DESIGN                      6325 LUSK BLVD                                                                                             SAN DIEGO          CA   92121
QUANTUM DESIGN INC                  6325 LUSK BLVD                                                                                             SAN DIEGO          CA   92121
QUANTUM FUEL SYSTEMS TECHNOLOG      25242 ARCTIC OCEAN DR                                                                                      LAKE FOREST        CA   92630‐8821
QUANTUM FUEL SYSTEMS TECHNOLOG      17872 CARTWRIGHT RD                                                                                        IRVINE             CA   92614‐6217
QUANTUM FUEL SYSTEMS TECHNOLOGIES
W
QUANTUM FUEL SYSTEMS TECHNOLOGIES   17872 CARTWRIGHT RD                                                                                        IRVINE              CA 92614‐6217
W
QUANTUM FUEL SYSTEMS TECHNOLOGIES   25242 ARCTIC OCEAN DR                                                                                      LAKE FOREST        CA 92630‐8821
W
QUANTUM FUEL SYSTEMS TECHNOLOGIES   CHRIS LAPPI                          17872 CARTWRIGHT RD.                                                  SAGINAW             MI 48601
W
QUANTUM GROUP INCORPORATED          2242 S TELEGRAPH RD STE 201                                                                                BLOOMFIELD HILLS   MI   48302‐0218
QUANTUM LEAP INC                    3169 PRIDHAM ST                                                                                            KEEGO HARBOR       MI   48320‐1369
QUANTUM LEAP PACKAGING              PO BOX 119                                                                                                 BOLTON             MA   01740‐0119
QUANTUM LEAP PACKAGING INC          PO BOX 119                                                                                                 BOLTON             MA   01740‐0119
QUANTUM LEAP PACKAING, INC.         PO BOX 119                                                                                                 BOLTON             MA   01740‐0119
QUANTUM MARKET RESEARCH PVT LTD     NO 368 FLAT NO 1 NAINA APT           100 FT RD INDIRANGA BANGALORE                 560037 KARNATA INDIA
                                                                                                                       INDIA
QUANTUM MARKETING INC SUITE 125     33 BLOOMFIELD HILLS PKWY STE 125                                                                           BLOOMFIELD HILLS   MI   48304‐2936
QUANTUM MEAS/CAROLIN                1218 CANAL DR                                                                                              CAROLINA BEACH     NC   28428‐6041
QUANTUM MEASUREMENTS INC            PO BOX 1819                                                                                                LAND O LAKES       FL   34639‐1819
QUANTUM METALS INC                  3675 TAFT RD                                                                                               LEBANON            OH   45036‐6424
QUANTUM SIGNAL LLC                  3055 PLYMOUTH RD STE 203                                                                                   ANN ARBOR          MI   48105‐3208
QUANTUM TECHNOLOGIES INC            QUANTUM FUEL SYSTEMS TECH            17872 CARTWRIGHT RD                                                   IRVINE             CA   92614‐6217
QUANTUM TECHNOLOGIES WORLDWIDE,     CHARLES L. COUCH, III                1620 26TH STREET                SIXTH FLOOR                           SANTA MONICA       CA   90404
INC.
QUANTUM TECHNOLOGIES WORLDWIDE,     C. CROUCH                            1620 26TH STREET                6TH FLOOR                             SANTA MONICA        CA 90404
INC.
QUANTUM TECHNOLOGIES WORLDWIDE,     SYED F. HUSSAIN, PRESIDENT AND CEO   17872 CARTWRIGHT RD                                                   IRVINE              CA 92614‐6217
INC.
QUANTUM TRAIN/TROY                  631 E BIG BEAVER RD STE 109                                                                                TROY               MI   48083‐1400
QUANTUM TRAINING CENTERS INC        631 E BIG BEAVER RD STE 109                                                                                TROY               MI   48083‐1400
QUANTUM TRAINING CENTERS INC        PO BOX 4786                                                                                                TROY               MI   48099‐4786
QUANTUM/EAST LANSING                4660 S HAGADORN RD STE 290                                                                                 EAST LANSING       MI   48823‐5353
QUANYA MONTGOMERY                   10306 MILFORD CT                                                                                           INDIANAPOLIS       IN   46235‐2425
QUANZ ADVANCED AUTO CARE, INC.      9111 EAGLE RANCH RD NW                                                                                     ALBUQUERQUE        NM   87120‐5335
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Name                               Address1                            Address2                          Address3                    Address4         City              State Zip
QUANZHONG YAN                      6695 SMITH CT                                                                                                      TROY               MI 48098‐1780
QUAPAW, BOB                        9537 CRYSTAL WATER WAY                                                                                             ELK GROVE          CA 95624‐4058
QUARANTELLO, LYNDA M               2557 ARMY PL                                                                                                       BELLMORE           NY 11710‐4806
QUARANTO, JAMES C                  2117 BAYSIDE CT                                                                                                    FORT WAYNE         IN 46804‐7346
QUARATO SR VICTOR G (478536) ‐     ANGELOS PETER G LAW OFFICES         60 WEST BROAD ST                                                               BETHLEHEM          PA 18018
QUARATO VICTOR G
QUARATO, VICTOR G                  ANGELOS PETER G LAW OFFICES         60 WEST BROAD ST                                                               BETHLEHEM         PA    18018
QUARIE C HOWARD                    1826 WEAVER ST                                                                                                     DAYTON            OH    45408‐2540
QUARIN, ALFRED L                   1157 BLUEWOOD LN                                                                                                   CENTERVILLE       OH    45458‐2682
QUARINO, MICHAEL                   24 S HOCKEY DR                                                                                                     COLUMBUS          NJ    08022‐2217
QUARKS ELECTRONICS                 3247 ROSEFIELD DR                                                                                                  ANN ARBOR         MI    48108‐9128
QUARLES & BRADY CLIENT TR ACCT     C\O D P REIS QUARLES & BRADY        411 E WISCONSIN AVE                                                            MILWAUKEE         WI    53202
QUARLES & BRADY LLP                411 E WISCONSIN AVE STE 2040                                                                                       MILWAUKEE         WI    53202‐4426
QUARLES & BRADY LLP                ATTY FOR TECTA AMERICA CORP         ATTN: CHRISTOPHER COMBEST         300 N LASALLE ST STE4000                     CHICAGO           IL    60654
QUARLES & BRADY LLP                ATTY FOR MODINE MANUFACTURING       ATTN: CHRISTOPHER COMBEST         300 NORTH LASALLE STREET                     CHICAGO           IL    60654
                                   COMPANY                                                               SUITE 4000
QUARLES & BRADY LLP                ATT: FAYE FEINSTEIN & CHRISTOPHER   ATTY FOR UNITED PARCEL SERVICE,   300 NORTH LASALLE STREET,                    CHICAGO            IL   60654
                                   COMBEST                             INC.; UPS CAPITAL CORP.           SUITE 4000

QUARLES & BRADY STREICH LANG LLP   2 N CENTRAL AVE                     ONE RENAISSANCE                                                                PHOENIX           AZ    85004‐2305
QUARLES & BRADY TRUST ACCOUNT      NORTHWEST BARREL\MARINE CLIFFS      411 E WISCONSIN AVE                                                            MILWAUKEE         WI    53202
QUARLES BRENDA                     1440 HAWTHORNE PL                                                                                                  WELLINGTON        FL    33414‐8660
QUARLES JR, EUGENE I               5333 N ALPINE RDG                                                                                                  STEVENSVILLE      MI    49127‐1354
QUARLES JR, GARRETT M              201 KEELSON DR                                                                                                     DETROIT           MI    48215‐2979
QUARLES JR, MACK                   3732 MYRTLE AVE                                                                                                    KANSAS CITY       MO    64128‐2747
QUARLES JR, ROLLO O                1925 ALVORD ST                                                                                                     INDIANAPOLIS      IN    46202‐1849
QUARLES MACK ARTHUR (508112)       LEBLANC & WADDELL                   5353 ESSEN LN STE 420                                                          BATON ROUGE       LA    70809‐0500
QUARLES SANDY                      PO BOX 506                                                                                                         KOKOMO            IN    46903‐0506
QUARLES TRACY                      199 CENTRAL WAY                                                                                                    CHATSWORTH        GA    30705‐6290
QUARLES, BERNIECE T                1211 ORCHID STREET                                                                                                 WATERFORD         MI    48328‐1346
QUARLES, BETTY JEAN                1180 E FERRY ST                                                                                                    BUFFALO           NY    14211‐1661
QUARLES, CHERYL L                  556 GOODYEAR AVE                                                                                                   BUFFALO           NY    14211‐1671
QUARLES, CLARENCE                  163 HUGHES AVE                                                                                                     BUFFALO           NY    14208‐1048
QUARLES, COURTNEY A                875 FRANKLIN RD SE APT 214                                                                                         MARIETTA          GA    30067
QUARLES, CURTIS R                  556 GOODYEAR AVE                                                                                                   BUFFALO           NY    14211‐1671
QUARLES, DARRELL A                 700 PENHALE AVE                                                                                                    CAMPBELL          OH    44405‐1532
QUARLES, DONALD G                  PO BOX 3121                                                                                                        ANDERSON          IN    46018‐3121
QUARLES, DOROTHY M                 185 WAVERLY WALK                                                                                                   DOUGLASVILLE      GA    30134‐6645
QUARLES, EDNA V                    11816 OLD SPRING RD                                                                                                LOUISVILLE        KY    40245
QUARLES, EDNA V                    11816 OLDE SPRING RD                                                                                               LOUISVILLE        KY    40245‐1869
QUARLES, EXIE                      3732 MYRTLE AVE                                                                                                    KANSAS CITY       MO    64128‐2747
QUARLES, GEORGE R                  5717 BARTLETT RD                                                                                                   BEDFORD HEIGHTS   OH    44146‐2324
QUARLES, GEORGE W                  3102 OSCEOLA LN                                                                                                    INDIANAPOLIS      IN    46235‐2438
QUARLES, GEORGIA I                 APT 4                               917 PROSPECT AVENUE                                                            KANSAS CITY       MO    64127‐1353
QUARLES, GEORGIA I                 2635 MONTGALL                                                                                                      KANSAS CITY       MO    64127‐4034
QUARLES, GLADYS R                  PO BOX 310942                                                                                                      FLINT             MI    48531‐0942
QUARLES, GLADYS RENE               PO BOX 310942                                                                                                      FLINT             MI    48531‐0942
QUARLES, JACQUELYN                 3516 GLOUCESTER ST                                                                                                 FLINT             MI    48503‐4536
QUARLES, JAMES M                   20304 WOODBEND DR                                                                                                  NORTHVILLE        MI    48167‐3004
QUARLES, JARED M                   2926 CAMBRIDGE BLVD                                                                                                FORT WAYNE        IN    46808‐1960
QUARLES, JOHN E                    4646 NORTH GREGORY STREET                                                                                          SAGINAW           MI    48601‐6621
QUARLES, JOHN O                    2162 W SPEEDWAY BLVD APT 31102                                                                                     TUCSON            AZ    85745‐3938
                                   09-50026-mg               Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                               Address1                            Address2                       Address3   Address4             City               State Zip
QUARLES, JOSEPH L                  2030 CLIFFORD ST                                                                                   FLINT               MI 48503‐4006
QUARLES, JR., RILEY J              404 ARLINGTON DR                                                                                   WEST MONROE         LA 71291‐9783
QUARLES, LARRY J                   4511 COLUMBUS AVE APT               A‐7                                                            ANDERSON            IN 46013
QUARLES, LARRY M                   3218 SPRING DR                                                                                     ANDERSON            IN 46012‐9231
QUARLES, LILLIE B                  PO BOX 506                                                                                         KOKOMO              IN 46903‐0506
QUARLES, LISA A                    24793 PRIMROSE LN                                                                                  SOUTHFIELD          MI 48033‐4864
QUARLES, LISA ANN                  24793 PRIMROSE LN                                                                                  SOUTHFIELD          MI 48033‐4864
QUARLES, MACK ARTHUR               LEBLANC & WADDELL                   5353 ESSEN LN STE 420                                          BATON ROUGE         LA 70809‐0500
QUARLES, MALCOLM                   8126 CORUNNA RD                                                                                    FLINT               MI 48532‐5500
QUARLES, OLIVER                    417 N 20TH ST                                                                                      SAGINAW             MI 48601‐1310
QUARLES, ROBERT H                  308 EDMONSON AVE                                                                                   CHAPEL HILL         TN 37034‐3243
QUARLES, ROBERTA                   4 PANORAMA CREST AVE                                                                               LAS VEGAS           NV 89135
QUARLES, STACEY S                  1004 DIANA PLACE                                                                                   VALDOSTA            GA 31601‐4372
QUARLES, STEPHEN M                 3321 KINGS LANE                                                                                    NASHVILLE           TN 37218‐1604
QUARLES, WILLIAM A                 APT 193                             6144 VERDUN COURT                                              INDIANAPOLIS        IN 46220‐4657
QUARLES, WILLIAM A                 6144 VERDUN CT APT 193                                                                             INDIANAPOLIS        IN 46220‐4657
QUARLES, WILLIAM C                 3516 5TH AVE                                                                                       TUSCALOOSA          AL 35405‐2815
QUARLES, WILLIAM E                 1331 HORN HOLLOW RD                                                                                FLEMINGTON          MO 65650‐9563
QUARLES‐JACKSON, CAROLYN D         PO BOX 35080                                                                                       DETROIT             MI 48235‐0080
QUARLES‐JACKSON, CAROLYN DENISE    PO BOX 35080                                                                                       DETROIT             MI 48235‐0080
QUARMILEY, ABDUL S                 2207 DEERING AVE                                                                                   DAYTON              OH 45406‐5406
QUARRELLA, JACQUELAN               42047 TODDMARK LN 19                                                                               CLINTONTOWNSHIP     MI 48038
QUARRELS, ROY L                    11172 STEPHAN BRIDGE RD                                                                            ROSCOMMON           MI 48653‐8429
QUARRICK, EDWARD W                 1284 CRANBROOK CIR NE                                                                              WARREN              OH 44484‐1562
QUARRY AUTO DOCTOR                 730 WARDEN AVE.                                                               TORONTO ON M1L 4A1
                                                                                                                 CANADA
QUARRY HILL FOUNDRY SUPPLIES INC   1262 MCDOUGALL ST                                                             WINDSOR ON N8X 3M7
                                                                                                                 CANADA
QUARRY, SHAWN P                    212 HILLTOP RD                                                                                     MANSFIELD          OH   44906‐1359
QUARRY, SHAWN PATRICK              212 HILLTOP RD                                                                                     MANSFIELD          OH   44906‐1359
QUARRY, TERRY L                    212 HILLTOP RD                                                                                     MANSFIELD          OH   44906‐1359
QUARRY, TERRY LEE                  212 HILLTOP RD                                                                                     MANSFIELD          OH   44906‐1359
QUARTAROLI, DAVID J                2497 SHEFFIELD DR                                                                                  LIVERMORE          CA   94550‐6556
QUARTERMAN, JANET                  PO BOX 387                                                                                         RICEBORO           GA   31323‐0387
QUARTERMAN, JOSEPH S               1675 VILLAGE PARK LN                                                                               LAKE OSWEGO        OR   97034
QUARTERMAN, JOSEPH S               29639 FAIRWAY BLUFF DR                                                                             FAIR OAKS RANCH    TX   78015‐4471
QUARTEY, DANIEL L                  PO BOX 205                                                                                         SMYRNA             TN   37167‐0205
QUARTEY, DAVE                      805 OAK SPRINGS CT                                                                                 ANTIOCH            TN   37013‐4245
QUARTI, LEO J                      2 ASTWOOD LN                                                                                       BELLA VISTA        AR   72714‐4301
QUARTIER, CHARLES E                312 S WALNUT                                                                                       WESTVILLE          IL   61883‐1666
QUARTIER, EARL E                   312 S WALNUT                                                                                       WESTVILLE          IL   61883‐1666
QUARTO, MARK                       34337 FONTANA DR                                                                                   STERLING HEIGHTS   MI   48312‐5775
QUARTON, PAMELA S                  31 CORTE ROBLE                                                                                     SANTA ROSA BEACH   FL   32459‐3692
QUARTUCCIO, MICHAEL H              11376 SNOWBOWL RD                                                                                  HOUGHTON LAKE      MI   48629‐7511
QUARTZ, HAROLD                     GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                   SAGINAW            MI   48604‐2602
                                                                       260
QUARVE VERN M (355089)             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                       STREET, SUITE 600
QUARVE, VERN M                     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
QUARZ, ROBERT A                    95 N WOOD CT                                                                                       CHESHIRE           CT 06410‐2848
QUASAR INDUSTRIES                  2687 COMMERCE DR                                                                                   ROCHESTER HILLS    MI 48309‐3813
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Name                               Address1                            Address2                Address3   Address4         City                State Zip
QUASAR INDUSTRIES                  CHUCK HAUFF                         2687 COMMERCE DRIVE                                 HOLLAND              MI 49424
QUASAR INDUSTRIES INC              CHUCK HAUFF                         2687 COMMERCE DRIVE                                 HOLLAND              MI 49424
QUASAR INDUSTRIES INC              1911 NORTHFIELD DR                                                                      ROCHESTER HILLS      MI 48309‐3824
QUASAR INTERNATIONAL INC           2704 YALE BLVD SE                                                                       ALBUQUERQUE          NM 87106‐4272
QUASAR INTERNATIONAL, INC.         2704 YALE BLVD SE                                                                       ALBUQUERQUE          NM 87106‐4272
QUASAR INTL INC                    5550 MIDWAY PARK PL NE                                                                  ALBUQUERQUE          NM 87109‐5800
QUASAR/ROCHESTER HIL               2687 COMMERCE DR                                                                        ROCHESTER HILLS      MI 48309‐3813
QUASEBARTH, DELORES H              415 N HAMPTON RD                                                                        WICHITA              KS 67206‐1906
QUASHNE, RICHARD                   122 BRADLEY CIR                                                                         BEAR                 DE 19701‐1072
QUASNEY SR, JOHN W                 PO BOX 559                                                                              DELAWARE CITY        DE 19706‐0559
QUASNEY, THOMAS A                  14133 W PARADA DR                                                                       SUN CITY WEST        AZ 85375‐2114
QUASNY, DAVID P                    865 HARBOR RD                                                                           MILTON               WI 53563‐9621
QUASNY, STEPHANIE M                865 HARBOR RD                                                                           MILTON               WI 53563‐9621
QUASS, DAVID H                     5825 W. ROCKPORT RD RT 5                                                                JANESVILLE           WI 53548
QUASS, DIONNE M                    N2205 MORNINGSIDE LN                                                                    FORT ATKINSON        WI 53538‐9643
QUASS, PATRICIA A                  614 S FRANKLIN ST                                                                       WHITEWATER           WI 53190‐2203
QUAST JANKE & CO                   ATTN: TIMOTHY J QUAST               1010 N JOHNSON ST # 2                               BAY CITY             MI 48708‐6275
QUAST, BERNARD R                   6269 BLUE LAKE RD NE                                                                    KALKASKA             MI 49646‐9352
QUAST, CYNTHIA                     2959 HAZELWOOD LN                                                                       MOUND                MN 55364
QUAST, DONALD E                    5955 RICHMONDVILLE RD                                                                   DECKERVILLE          MI 48427‐9451
QUAST, DONALD P                    1329 BAY ST                                                                             SAGINAW              MI 48602‐4021
QUAST, HOWARD R                    47259 STATE ROUTE 162                                                                   WELLINGTON           OH 44090‐9224
QUAST, JEAN A                      22852 OAKWOOD AVE                                                                       EASTPOINTE           MI 48021‐3541
QUAST, NEAL T                      9632 WILLIAMS RD                                                                        DIAMOND              OH 44412‐9782
QUATE JR, LEE                      1212 E RIVERVIEW AVE APT 104                                                            NAPOLEON             OH 43545‐5756
QUATE, CAROLYN                     6140 LARKWOOD LANE                                                                      LONG BEACH           MS 39560‐3126
QUATE, GARY                        5101 NORTH TIMOTHY WAY                                                                  MUNCIE               IN 47304‐6127
QUATE, GARY L.                     5101 NORTH TIMOTHY WAY                                                                  MUNCIE               IN 47304‐6127
QUATE, JANET B                     502 LITTLE RIVER PATH                                                                   THE VILLAGES         FL 32162‐6027
QUATE, JASON R
QUATE, LAVERNE E                   2508 DELAWARE ST                                                                        WICKLIFFE           OH   44092‐1212
QUATE, MERRIL C                    2211 S WALNUT ST                                                                        YORKTOWN            IN   47396‐1230
QUATE, MYRON J                     6140 LARKWOOD LN                                                                        LONG BEACH          MS   39560‐3126
QUATE, PATRICIA A.                 2211 S PENN ST                                                                          MUNCIE              IN   47302‐4372
QUATE, STEVEN A                    502 LITTLE RIVER PATH                                                                   THE VILLAGES        FL   32162‐6027
QUATE, WILLIAM W                   2508 DELAWARE ST                                                                        WICKLIFFE           OH   44092‐1212
QUATEO RICHARD W (491675)          CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                               CLEVELAND           OH   44113‐1328
                                   COONE AND ASSOCIATES
QUATERMAN RENEE ELAINE             QUATERMAN, RENEE ELAINE
QUATHER, VINCENT B                 824 NORTH ST                                                                            LUZERNE             PA   18709‐1046
QUATIERI, JOHN                     36 GARLAND ST                                                                           CHELSEA             MA   02150‐1003
QUATMAN, ELMER E                   24 MAGNOLIA DR                                                                          MIDDLETOWN          OH   45042
QUATRINE, MATTHEW C                4640 REED RD                                                                            THOMPSONS STATION   TN   37179‐5251
QUATRO JR, FRED                    15082 CHAMPAIGN RD                                                                      ALLEN PARK          MI   48101‐1621
QUATRO, ARTHUR J                   3616 WOSLEY DR                                                                          FORT WORTH          TX   76133‐2137
QUATRO, MICHAEL A                  13520 PARADISE OAKS DR APT 16202                                                        EULESS              TX   76040‐8435
QUATROCHI JR, ROSARIO              15975 PINE VALLEY DR                                                                    NORTHVILLE          MI   49158‐9651
QUATROCHI, SHERRY J                15976 PINE VALLEY DR                                                                    NORTHVILLE          MI   48168‐9651
QUATTIUCCI, JESSICA
QUATTLEBAUM GROOMS TULL & BURROW 111 CENTER ST STE 1900                                                                    LITTLE ROCK         AR 72201‐4403
PLLC
QUATTLEBAUM, CLYDE G             14661 BAILEY ST                                                                           TAYLOR              MI 48180‐4552
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Name                            Address1                       Address2                      Address3   Address4                 City                  State Zip
QUATTLEBAUM, JAMES W            C/O EDWARD O MOODY PA          801 WEST 4TH STREET                                               LITTLE ROCK            AR 72201
QUATTLEBAUM, JAMES W            MOODY EDWARD O                 801 W 4TH ST                                                      LITTLE ROCK            AR 72201‐2107
QUATTLEBAUM, JOE B              606 FRIENDSHIP CHURCH RD                                                                         DOUGLASVILLE           GA 30134‐7223
QUATTLEBAUM, JOHNNY H           4217 BOB WHITE LN                                                                                OAKWOOD                GA 30566‐3244
QUATTLEBAUM, LOTTIE             PO BOX 4493                                                                                      WATERBURY              CT 06704‐0493
QUATTLEBAUM, LUCILLE            7548 STATE HIGHWAY 215 S                                                                         JENKINSVILLE           SC 29065‐9577
QUATTLEBAUM, MARGARETTE
QUATTRIN, DOLORES               1474 RICHMOND AVE                                                                                LINCOLN PARK          MI 48146‐3367
QUATTRINI LAPUDA & ASOCIADOS    AV DEL LIBERTADOR 602          4TH FL                                   BUENOS AIRES ARGENTINA
QUATTRINI, JOHN P               342 GRAYTON RD                                                                                   TONAWANDA             NY    14150‐8622
QUATTRINI, MARY K               220 MAPLEVIEW DR                                                                                 TONAWANDA             NY    14150‐7804
QUATTRO, ANTHONY J              214 RENEE DR                                                                                     STRUTHERS             OH    44471‐1522
QUATTRO, LUCY R                 PO BOX 131                                                                                       DAVIS                 WV    26260‐0131
QUATTRO, TERRENCE H             192 KIRKSWAY LN                                                                                  LAKE ORION            MI    48362‐2275
QUATTROCCHI, CHARLES M          1423 CHATEAUGAY CT                                                                               INDIANAPOLIS          IN    46217‐4888
QUATTROCCHI, ELIZABETH          THE HERITAGE OF CLARA BARTON   550 JAMES ST                                                      FREEHOLD              NJ    07728‐3412
QUATTROCCHI, MICHAEL J          1167 SALT MARSH CIR                                                                              PONTE VEDRA BEACH     FL    32082
QUATTROCHI, ANDRE J             2586 CANOE CIRCLE DR                                                                             LAKE ORION            MI    48360‐1885
QUATTROCIOCCHI, JOHN            788 CARUSO DR                                                           WINDSOR ONTARIO
                                                                                                        CANADA N9G‐2M7
QUATTROCIOCCHI, JOHN            788 CARUSO DRIVE                                                        WINDSOR ON N9G2M7
                                                                                                        CANADA
QUATTROCIOCCHI, PETER A         2499 WILDBROOK RUN                                                                               BLOOMFIELD HILLS      MI    48304‐1445
QUATTRONE BENJAMIN J &          DOUGLAS MOODY ESQ              312 ENGLISH OAK RD                                                SIMPSONVILLE          SC    29681‐5106
QUATTRONE, ANGELINE R           989 JAMES ST APT 9 D                                                                             SYRACUSE              NY    13203
QUATTRONE, BENJAMIN J           MYERS & FULLER                 2822 REMINGTON GREEN CIRCLE                                       TALLAHASSEE           FL    32308
QUATTRONE, BENJAMIN J           20411 WEALD WAY ST                                                                               SPRING                TX    77388‐5438
QUATTRONE, DOMINIC J            5 GLANSGLENN DRIVE                                                                               SIMPSONVILLE          SC    29681
QUATTRONE, JOHN J               2022 HAVERFORD DR                                                                                TROY                  MI    48098‐5330
QUATTRUCCI DOANTO               1414 HUNTINGTON RD                                                                               STRATFORD             CT    06614‐2362
QUAVEONA MILLEI                 1144 E CASS AVE                                                                                  FLINT                 MI    48505‐1608
QUAVON PRATT                    4210 OAKWOOD RD B4                                                                               OAKWOOD               GA    30566
QUAY COUNTY TREASURER           PO BOX 1226                                                                                      TUCUMCARI             NM    88401‐1226
QUAY DRUG INC                   2 PUBLIC SQ                                                                                      GALION                OH    44833‐1926
QUAY, JOSEPHINE                 6219 53RD AVE #5L                                                                                MASPETH QUEENS        NY    11378‐1307
QUAY, JOSEPHINE                 6219 53RD AVE APT 5L                                                                             MASPETH               NY    11378‐1307
QUAY, KAREN F                   704 WINDWARD RD                                                                                  JACKSON               MS    39206‐2316
QUAYLE, BETTY A                 27525 BARKLEY ST                                                                                 LIVONIA               MI    48154‐3945
QUBAIN, HUSAM I                 1812 VALLETA DR 13                                                                               RANCHO PALOS VERDES   CA    90275
QUDDUS, ZAHIR                   3128 LANDESS AVE APT A                                                                           SAN JOSE              CA    95132‐1261
QUDELLA JOHNSON                 118 TENNESSEE AVE                                                                                DANVILLE               IL   61832‐6128
QUDOOS REHMAN                   24900 FRANKLIN FARMS DR                                                                          FRANKLIN              MI    48025‐2206
QUE, RONALD J                   3563 EDGEWOOD AVE                                                                                FORT MYERS            FL    33916‐1135
QUEAR, MARJORIE E               7597 N 575 W                                                                                     FRANKTON              IN    46044‐9555
QUEARY, JOYCE L                 455 4TH PL                                                                                       PORT HUENEME          CA    93041
QUEARY, RICHARD D               3274 S COUNTY ROAD 350 W                                                                         DANVILLE              IN    46122‐8152
QUEBEC A CHICOUTIMI (CANADA),
UNIVERSITY OF
QUEBEC A MONTREAL (CANADA),
UNIVERSITY OF
QUEBEC EXPRESS INC              ROLANDO MEO                    HWY 540 B                                GORE BAY ON P0P1H0
                                                                                                        CANADA
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Name                               Address1                            Address2                Address3                 Address4                City            State Zip
QUEBEC NORTH SHORE & LABRADOR RR   100 RETTY ST                                                                         SEPT ILES CANADA PQ G4R
                                                                                                                        3E1 CANADA
QUEBECOR INC
QUEBECOR LTD                       C/O MERRILL LYNCH INTERNATIONAL BANK ATTN: TAU DEPARTMENT   2 RAFFLES LINK, MARINA   039392 SINGAPORE
                                   LIMITED                                                     BAYFRONT
QUEBECOR LTD                       C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT    2 RAFFLES LINK           MARINA BAYFRONT
                                   LIMITED                                                                              SINGAPORE 039392
QUEBECOR LTD                       C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT    2 RAFFLES LINK           MARINA BAYFRONT
                                   LIMITED                                                                              SINGAPORE 039392
QUEBECOR PT/BRIGHTON               230 N 2ND ST STE 100                                                                                         BRIGHTON        MI    48116‐1278
QUEBECOR PT/BRIGHTON               PRESS ST AND ROLLER ST                                                                                       KINGSPORT       TN    37662
QUEBECOR PT/NW CANTN               340 PEMBERWICK RD                    ATTN: JOHN HEYLAND                                                      GREENWICH       CT    06831‐4240
QUEBECOR WORLD USA                 230 N 2ND ST STE 100                                                                                         BRIGHTON        MI    48116‐1278
QUEBEDEAUX PONTIAC                 3566 E SPEEDWAY BLVD                                                                                         TUCSON          AZ    85716‐3940
QUEBEDEAUX PONTIAC                 THOMAS QUEBEDEAUX                    3566 E SPEEDWAY BLVD                                                    TUCSON          AZ    85716‐3940
QUEBEDEAUX PONTIAC‐GMC             THOMAS QUEBEDEAUX                    3566 E SPEEDWAY BLVD                                                    TUCSON          AZ    85716‐3940
QUEBEDEAUX PONTIAC‐GMC             3566 E SPEEDWAY BLVD                                                                                         TUCSON          AZ    85716‐3940
QUECK, CARL R                      1499 S. BRANDYWINE CIRCLE A315                                                                               FORT MYERS      FL    33919
QUECK, GERHART A                   40 E NORTHWOOD AVE                                                                                           COLUMBUS        OH    43201‐1202
QUEEN ANDERSON                     5366 SENECA ST                                                                                               DETROIT         MI    48213‐2952
QUEEN BANKS                        PO BOX 20143                                                                                                 JACKSON         MS    39289‐0143
QUEEN BATES                        5934 GRANDVIEW DR                                                                                            INDIANAPOLIS    IN    46228‐1347
QUEEN BROWN                        218 FRAZIER ST                                                                                               FREDERICKSBRG   VA    22401‐7239
QUEEN BRYANT                       11570 LA SALLE BLVD APT 104                                                                                  DETROIT         MI    48206
QUEEN CARLISLE                     38701 CODY DR                                                                                                ROMULUS         MI    48174‐5054
QUEEN CITY ACQUISITION, LLC        TIMOTHY WHITE                        1900 NORTH AVE                                                          SPEARFISH       SD    57783‐2913
QUEEN CITY POLYMERS                6101 SCHUMACHER PARK DR                                                                                      WEST CHESTER    OH    45069‐3818
QUEEN D DUBOIS                     235 S JACKSON ST                                                                                             YOUNGSTOWN      OH    44506
QUEEN DANIELY                      16530 MANSFIELD ST                                                                                           DETROIT         MI    48235‐3631
QUEEN DAVIDSON                     18434 HUNTINGTON RD                                                                                          DETROIT         MI    48219‐2858
QUEEN DOOLEY                       8210 NORTHLAWN ST                                                                                            DETROIT         MI    48204‐3232
QUEEN DUBOIS                       235 S JACKSON ST                                                                                             YOUNGSTOWN      OH    44506‐1614
QUEEN E BANKS                      132 CLAUDE DR                                                                                                JACKSON         MS    39209‐2596
QUEEN E FRANKLIN                   4112 COMSTOCK AVE                                                                                            FLINT           MI    48504‐3761
QUEEN E MCKNIGHT                   943 ALTA VISTA BLVD                                                                                          JACKSON         MS    39209‐7103
QUEEN ELZIE                        26015 TWIN OAKS DR                                                                                           TAYLOR          MI    48180‐9311
QUEEN ESTH SHIPP                   5326 WINTHROP BLVD                                                                                           FLINT           MI    48505‐5144
QUEEN FOSTER                       3801 COACHLIGHT COMMON ST                                                                                    LANSING         MI    48911‐4411
QUEEN FRANKLIN                     4112 COMSTOCK AVE                                                                                            FLINT           MI    48504‐3761
QUEEN FRENCH                       8060 N VASSAR RD                                                                                             MOUNT MORRIS    MI    48458‐9756
QUEEN GORDON                       4010 HOGARTH ST                                                                                              DETROIT         MI    48204‐2423
QUEEN GUY                          631 ORLEANS ST APT 70                                                                                        DETROIT         MI    48207‐3004
QUEEN HEZIKIAH JR (629821)         GUY WILLIAM S                        PO BOX 509                                                              MCCOMB          MS    39649‐0509
QUEEN HOPE                         1119 BRITTNEY WAY                                                                                            NORCROSS        GA    30093‐4827
QUEEN HUNTER                       533 FAYETTEVILLE RD                                                                                          FAIRBURN        GA    30213‐1716
QUEEN JOHNSON                      9938 ARTESIAN ST                                                                                             DETROIT         MI    48228‐1338
QUEEN JR, THURMAN                  PO BOX 455                                                                                                   MARTINSBURG     WV    25402‐0455
QUEEN JR., MILLER L                2011 E MONROE PIKE                                                                                           MARION          IN    46953‐2613
QUEEN LEONARD                      4525 TERI CT                                                                                                 MONTGOMERY      AL    36106‐3539
QUEEN MCHERRIN                     539 E AMHERST ST                                                                                             BUFFALO         NY    14215‐1542
QUEEN MOLLI S                      QUEEN, MOLLI S                       211 ADAMS ST STE 600                                                    FAIRMONT        WV    26554‐2877
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QUEEN MOLLI S                         COCHRAN, MATTHEW                    ROMAIN, JULIE GOWER   211 ADAMS STREET SUITE 600                  FAIRMONT        WV 26554

QUEEN MOLLI S                         QUEEN, STEPHEN R                    ROMAIN, JULIE GOWER   211 ADAMS STREET SUITE 600                  FAIRMONT       WV 26554

QUEEN NELLIST                         38 SOUTH MAIN STREET                                                                                  LYNDONVILLE    NY   14098
QUEEN PERRY                           2037 AITKEN AVE                                                                                       FLINT          MI   48503‐4212
QUEEN PETER III (629822)              GUY WILLIAM S                       PO BOX 509                                                        MCCOMB         MS   39649‐0509
QUEEN RAMEY                           24400 CIVIC CENTER DR               216                                                               SOUTHFIELD     MI   48033
QUEEN REESE                           4072 KENDALL ST                                                                                       DETROIT        MI   48238‐2655
QUEEN S BANKS                         132 CLAUDE DR.                                                                                        JACKSON        MS   39209
QUEEN TADEMY                          1039 SAINT JOHN DR                                                                                    PEARLAND       TX   77584‐2333
QUEEN TAYLOR                          2809 AVENUE F                                                                                         BIRMINGHAM     AL   35218‐2342
QUEEN TRUCKING INC                    WAGSTAFF ALVIS STUBBEMAN SEAMSTER   PO BOX 360                                                        ABILENE        TX   79604‐0360
                                      & LONGACRE
QUEEN WEST                            18770 GRANDVILLE AVE                                                                                  DETROIT        MI   48219‐2859
QUEEN WESTON                          727 NORTH GRANGER STREET                                                                              SAGINAW        MI   48602‐4510
QUEEN WILLE L (629823)                GUY WILLIAM S                       PO BOX 509                                                        MCCOMB         MS   39649‐0509
QUEEN WILLIAMS                        PO BOX 364                                                                                            PRINCETON      WI   54968‐0364
QUEEN WRIGHT                          1338 ASHLAND ST                                                                                       DETROIT        MI   48215‐2859
QUEEN'S UNIVERSITY, BELFAST, UNITED
KINDOM
QUEEN'S UNIVERSITY, CANADA
QUEEN, ARLENE M                       5121 HALLS MILL ROAD                LOT #13                                                           MOBILE         AL   36693
QUEEN, ARLENE M                       5121 HALLS MILL RD LOT 13                                                                             MOBILE         AL   36693‐5616
QUEEN, BENARD                         GUY WILLIAM S                       PO BOX 509                                                        MCCOMB         MS   39649‐0509
QUEEN, BILLIE J                       335 AUSTIN RD                                                                                         STOCKBRIDGE    GA   30281‐1226
QUEEN, BILLY P                        3256 HIGHWAY 50 E                                                                                     DUCK RIVER     TN   38454‐3517
QUEEN, BOBBY N                        940 PANNELL RD                                                                                        MONROE         GA   30655‐6198
QUEEN, BOBBY R                        9504 GRANT RD NW                    NW OKARCHE                                                        OKARCHE        OK   73762‐2255
QUEEN, CAROLYN S                      ROUTE 2BOX 103                                                                                        JANE LEW       WV   26378
QUEEN, CHARLES M                      PO BOX 455                                                                                            EAST LYNN      WV   25512‐0455
QUEEN, CORA D                         905 WAYSIDE LN                                                                                        DALLAS         GA   30132‐2788
QUEEN, CORA D                         905 WAYSIDE LANE                                                                                      DALLAS         GA   30132‐2788
QUEEN, CYNTHIA S                      358 S CHURCH ST                                                                                       NEW LEBANON    OH   45345‐1331
QUEEN, DANIEL J                       233 PARKER HOLLOW RD                                                                                  BONE CAVE      TN   38581‐7055
QUEEN, DAVID E                        1132 TIMBERHAVEN CT.                                                                                  SCOTTSBURG     IN   47170‐6700
QUEEN, DOROTHY R                      11265 SWEET POTATO RIDGE ROAD                                                                         BROOKVILLE     OH   45309‐5309
QUEEN, DUANE L                        RR1 DOE RUN 11                                                                                        TROY           PA   16947
QUEEN, DURWOOD N                      5365 TRACY CT                                                                                         ACWORTH        GA   30102‐2578
QUEEN, EARNEST D                      3881 CO RD# 434                                                                                       MOULTON        AL   35650
QUEEN, EDWARD A                       6009 HARDWICK ST                                                                                      LAKEWOOD       CA   90713‐1925
QUEEN, ERIC A                         6201 W 320 S                                                                                          RUSSIAVILLE    IN   46979‐9711
QUEEN, ERIC A                         11929 CHICKENBRISTLE RD                                                                               FARMERSVILLE   OH   45325
QUEEN, FRANCES N                      194 GEORGIA HWY 323                                                                                   MAYSVILLE      GA   30558
QUEEN, FRANCES T                      3800 CENTRAL DRIVE                  APT 55                                                            BEDFORD        TX   76021
QUEEN, FREDDIE J                      7848 BEAVERTON RD                                                                                     LAKE           MI   48632
QUEEN, GARRETT H                      753 AUGCLIFFE DR                                                                                      CINCINNATI     OH   45245‐1707
QUEEN, GARY N                         4412 SAINT MARTINS DR                                                                                 FLINT          MI   48507‐3727
QUEEN, GARY NEIL                      4412 SAINT MARTINS DR                                                                                 FLINT          MI   48507‐3727
QUEEN, GORDON A                       4482 CHESSWICK DR                                                                                     CINCINNATI     OH   45242‐6014
QUEEN, HEZIKIAH                       GUY WILLIAM S                       PO BOX 509                                                        MCCOMB         MS   39649‐0509
QUEEN, JACK R                         711 E MAIN ST                                                                                         CRESTLINE      OH   44827‐1125
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Name                  Address1                        Address2               Address3      Address4         City            State Zip
QUEEN, JACKIE R       10700 BITZ RD                                                                         MAYBEE           MI 48159‐9703
QUEEN, JACKIE R       630 BROWN HILL CHURCH RD                                                              SOCIAL CIRCLE    GA 30025‐3302
QUEEN, JAMES A        1426 CRESTBROOK LN                                                                    FLINT            MI 48507‐2322
QUEEN, JAMES C        2752 E DRYDEN RD                                                                      METAMORA         MI 48455‐9328
QUEEN, JAMES E        59 WICKLOW DR                                                                         HILTON HEAD      SC 29928‐3354
QUEEN, JAMES E        PO BOX 63                                                                             ADOLPHUS         KY 42120‐0063
QUEEN, JAMES E        5809 WOODSTONE CT                                                                     CLARKSTON        MI 48348‐4767
QUEEN, JAMES J        1059 HART RD                                                                          COLUMBUS         OH 43223
QUEEN, JAMES M        3358 BENNINGTON DR                                                                    CEDAR SPRINGS    MI 49319‐8804
QUEEN, JEAN H         2589 LEMONDS RD SE                                                                    SOCIAL CIRCLE    GA 30279‐9729
QUEEN, JEFFREY L      24646 LITTLE BEAR RD                                                                  WARRENTON        MO 63383‐6278
QUEEN, JERRY
QUEEN, JIMMY R        259 HIGHWAY 11 N                                                                      SOCIAL CIRCLE   GA   30025
QUEEN, JOE R          4522 FOREST PEAK CIR                                                                  MARIETTA        GA   30066‐1745
QUEEN, JOE RANDALL    4522 FOREST PEAK CIR                                                                  MARIETTA        GA   30066‐1745
QUEEN, JOHN A         15638 RT 1 BOX 1665                                                                   BLUE RIDGE      GA   30513
QUEEN, JOSEPH C       PO BOX 7766                                                                           FLINT           MI   48507‐0766
QUEEN, KATHLEEN R     RR 1 DOE RUN II                                                                       TROY            PA   16947
QUEEN, KEITH A        14251 S DIXIE HWY                                                                     MONROE          MI   48161‐9563
QUEEN, KEITH ALLAN    14251 S DIXIE HWY                                                                     MONROE          MI   48161‐9563
QUEEN, KENNETH K      182 BATH ST                                                                           ELYRIA          OH   44035‐3502
QUEEN, LARRY          9 DEVILLE CIR APT 4                                                                   WILMINGTON      DE   19808‐4529
QUEEN, LAWRENCE E     11458 DEXTER STREET                                                                   CLIO            MI   48420‐1506
QUEEN, LLOYD E        4341 FOX CT                                                                           TRENTON         MI   48183‐4003
QUEEN, LLOYD E.       4341 FOX CT                                                                           TRENTON         MI   48183‐4003
QUEEN, LORI J         59 WICKLOW DR                                                                         HILTON HEAD     SC   29928‐3354
QUEEN, LORI J         5809 WOODSTONE CT                                                                     CLARKSTON       MI   48348‐4767
QUEEN, MARY F         707 S BROAD ST                                                                        MONROE          GA   30655‐2127
QUEEN, MICHAEL W      1140 MAPLE LEAF CT                                                                    CHARLOTTE       MI   48813‐7704
QUEEN, MOLLI S        ROMAIN, JULIE GOWER             211 ADAMS ST STE 600                                  FAIRMONT        WV   26554‐2877
QUEEN, NADRA J        1891 BIRCH CT                                                                         WATERFORD       MI   48328‐1003
QUEEN, NANCY LOUISE   1226 BIRCH LANE                                                                       BEAVERTON       MI   48612‐8507
QUEEN, NANCY LOUISE   1226 BIRCH LN                                                                         BEAVERTON       MI   48612‐8507
QUEEN, PAUL           PO BOX 164                                                                            MORGANTON       GA   30560‐0164
QUEEN, PAULA M        6140 STEM LN                                                                          MOUNT MORRIS    MI   48458‐2654
QUEEN, PEGGY S        PO BOX 718                                                                            SOUTH WEBSTER   OH   45682‐0718
QUEEN, PETER          GUY WILLIAM S                   PO BOX 509                                            MCCOMB          MS   39649‐0509
QUEEN, ROBERT E       3410 RIPPLE RD                                                                        BALTIMORE       MD   21244‐3603
QUEEN, STEPHEN R      ROMAIN, JULIE GOWER             211 ADAMS ST STE 600                                  FAIRMONT        WV   26554‐2877
QUEEN, SUE            BOX 164                                                                               MORGANTON       GA   30560‐0164
QUEEN, SUSAN R        112 STEELE ST APT 3                                                                   FORT MILL       SC   29715‐2017
QUEEN, THEODORE J     427 E MAIN ST                                                                         CRESTLINE       OH   44827‐1119
QUEEN, THOMAS L       10821 SE 3RD ST                                                                       MIDWEST CITY    OK   73130‐5103
QUEEN, THURMAN        207 W CATOOSA CANYON DR                                                               CROSSVILLE      TN   38571‐0349
QUEEN, TOMMIE M       3448 MAPLE DR                                                                         SNELLVILLE      GA   30078‐2826
QUEEN, WILLIAM B      1936 PUU KAA ST                                                                       KAPAA           HI   96746‐2335
QUEEN, WILLIE L       GUY WILLIAM S                   PO BOX 509                                            MCCOMB          MS   39649‐0509
QUEENAN, FRANCES E    PO BOX 793                                                                            OGUNQUIT        ME   03907‐0793
QUEENE BUSH           12625 PHILLIPS AVE                                                                    E CLEVELAND     OH   44112‐4108
QUEENER, BETTY H      9647 DAYTON CINCINNATI PIKE                                                           MIAMISBURG      OH   45342‐4226
QUEENER, DANNY L      1908 CLARA MATHIS RD                                                                  SPRING HILL     TN   37174‐2547
QUEENER, DENNIS R     34060 LA MOYNE ST                                                                     LIVONIA         MI   48154‐2620
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Name                              Address1                         Address2                       Address3          Address4                 City              State Zip
QUEENER, EDITH                    41090 SOUTHWIND                                                                                            CANTON             MI 48188‐1312
QUEENER, HAROLD P                 2535 CORNWALL AVE                                                                                          YOUNGSTOWN         OH 44505‐3907
QUEENER, KATHRYN W                6132 ALPINE AVENUE                                                                                         INDIANAPOLIS       IN 46224‐2113
QUEENER, MINNIE A                 2535 CORNWALL                                                                                              YOUNGSTOWN         OH 44505‐3907
QUEENER, MINNIE A                 2535 CORNWALL AVE                                                                                          YOUNGSTOWN         OH 44505‐3907
QUEENER, PHYLLIS A                5535 S BECK RD                                                                                             CANTON             MI 48188‐2245
QUEENER, ULYSSIS S                278 S BURKHART RD                                                                                          HOWELL             MI 48843‐9620
QUEENESTHER WILLIAMS              1708 SKY OF RED DR UNIT 104                                                                                LAS VEGAS          NV 89128‐8468
QUEENETTA BRYANT                  4611 VANDERBILT DR                                                                                         MONTGOMERY         AL 36116‐6334
QUEENIE ANDERSON                  6601 BELLTREE LN                                                                                           FLINT              MI 48504‐1649
QUEENIE FERRELL                   4530 WALWIT ST                                                                                             DEARBORN           MI 48126‐3072
QUEENIE H TURNER                  4127 ARDERY DR                                                                                             DAYTON             OH 45406‐1406
QUEENIE JONES                     60 VICTORY DR                                                                                              PONTIAC            MI 48342‐2560
QUEENIE MERRELL                   2673 BEAL ST NW                                                                                            WARREN             OH 44485‐1205
QUEENIE SZARAFINSKI               34445 NORTHWESTERN HWY           STE 102                                                                   SOUTHFIELD         MI 48075‐2437
QUEENS BALLPARK COMPANY, LLC      THOMAS MURPHY                    CITI FIELD, FLUSHING                                                      CORONA             NY 11368
QUEENS COLLEGE                    65 30 KISSENA BLVD               BUSINESS OFFICE JH 200                                                    FLUSHING           NY 11367
QUEENS COLLEGE CONTINUING         1900 SELWYN AVE                                                                                            CHARLOTTE          NC 28274‐0001
EDUCATION
QUEENS TOYBOX                     5826 QUEENS CV                                                                                             LISLE              IL   60532‐3164
QUEENS UNIVERSITY
QUEENS UNIVERSITY BELFAST
QUEENS UNIVERSITY OF BELFAST      FINANCE DEPARTMENT RESEARCH      RM 203N LANYON N UNIVERSITY RD BELFAST BT7 INN   UNITED KINGDOM GREAT
                                                                                                                    BRITAIN
QUEENSBOROUGH COMMUNITY COLLEGE 222 05 56TH AVE AND                SPRINGFIELD BLVD                                                          BAYSIDE           NY 11364

QUEENSTON CHEVROLET               282 CENTENNIAL PKY N                                                              HAMILTON CANADA L8E
OLDSMOBILECORVETTE                                                                                                  2X4 CANADA
QUEENSU CUNNINGHAM                3516 FAIRWAY BLVD                                                                                          WICHITA FALLS      TX   76310‐1119
QUEENSVILLE SERVICE CENTRE        20221 LESLIE ST BOX 14                                                            QUEENSVILLE ON L0G 1R0
                                                                                                                    CANADA
QUEENTRY, DIANE E                 2782 CONTINENTAL DR                                                                                        TROY              MI    48083‐5705
QUEENTRY, DIANE E                 3705 OLD CREEK RD                                                                                          TROY              MI    48084‐1654
QUEENYE HURT                      3525 N OLNEY ST                                                                                            INDIANAPOLIS      IN    46218‐1340
QUEER, MERLE L                    1990 STONERIDGE DR                                                                                         ASHLAND           OH    44805‐4586
QUEFFELEC, ANDRE                  176 WELLINGTON RD                                                                                          BUFFALO           NY    14216‐2418
QUEFFELEC, LORRETTA               176 WELLINGTON RD.                                                                                         BUFFALO           NY    14216‐2418
QUEFFENNE, CHARLES F              1715 COUNTY ROAD 223                                                                                       DELTA             AL    36258‐9120
QUEFFENNE, MARTHA F               1715 COUNTY ROAD 223                                                                                       DELTA             AL    36258‐9120
QUEFFENNE, RUTH A                 100 E MAIN ST                                                                                              LEOLA             PA    17540‐1942
QUEFFENNE, RUTH A                 100 E. MAIN ST.                                                                                            LEOLA             PA    17540
QUEHL, MATTHEW S                  807 W PENINSULA CT                                                                                         OXFORD            MI    48371‐6725
QUEHL, MATTHEW S                  5805 CALETA DR                                                                                             LANSING           MI    48911‐6471
QUELINE SHAW                      3902 WALTON DR                                                                                             LANSING           MI    48910‐4367
QUELL JR, ROBERT E                8441 ALBAIN RD                                                                                             IDA               MI    48140‐9709
QUELL JR, ROBERT EDWARD           8441 ALBAIN RD                                                                                             IDA               MI    48140‐9709
QUELL, JAMES P                    53627 OAKVIEW DR                                                                                           SHELBY TOWNSHIP   MI    48315‐1922
QUELL, ROBERT E                   3365 N OTTER CREEK RD                                                                                      MONROE            MI    48161‐9577
QUELLANETT STRICKLAND             805 S LEE ST                                                                                               FITZGERALD        GA    31750‐3639
QUELLET, GERALD L                 290 HARVEST LN                                                                                             FRANKENMUTH       MI    48734‐1214
QUELLET, MICHAEL D                6716 S STEEL RD                                                                                            SAINT CHARLES     MI    48655‐9732
QUELLETTE, ALBERTA J              E 5980 AIRPORT RD.                                                                                         IRONWOOD          MI    49938‐9799
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Name                                 Address1                             Address2                     Address3   Address4         City               State Zip
QUELLETTE, ALBERTA J                 E5980 AIRPORT RD                                                                              IRONWOOD            MI 49938‐9799
QUELLETTE, KATHERINE A               3450 NORTHWAY DR APT 1                                                                        BAY CITY            MI 48706‐3367
QUELLHORST, GEORGIA                  3744 LOFTY OAKS DR                                                                            BEAVERCREEK         OH 45430‐1631
QUELLMAN, GARY F                     1406 BRENTWOOD DR                                                                             MIDLAND             MI 48640‐7210
QUELLO, DAVID D                      1601 LARKSPUR LN                                                                              WEST BEND           WI 53090‐1037
QUELLOS, JON G                       508 S CONSTANTINE ST                                                                          THREE RIVERS        MI 49093‐2506
QUELLOS, JON GEORGE                  15120 OAKLAND ST                                                                              SPRING LAKE         MI 49456‐2152
QUENCH OF NEW JERSEY INC             509 COMMERCE ST                                                                               FRANKLIN LAKES      NJ 07417
QUENCH PRES/ROEBUCK                  4159 S CHURCH STREET EXT                                                                      ROEBUCK             SC 29376‐2717
QUENCH PRES/SPRTNBRG                 PO BOX 6069                                                                                   SPARTANBURG         SC 29304‐6069
QUENCH USA                           ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 644006                                            CINCINNATI          OH 45264‐4006
                                     AGENT
QUENCH USA                           1720 CRETE ST STE A                                                                           MOBERLY            MO   65270‐3681
QUENCH USA LLC                       PO BOX 850053203                     LOCKBOX 53203                                            PHILADELPHIA       PA   19178‐0001
QUENNEVILLE, CATHY L                 23730 MAUDE LEA ST                                                                            NOVI               MI   48375‐3539
QUENNEVILLE, EDWARD G                36490 25 MILE RD                                                                              NEW BALTIMORE      MI   48047‐2809
QUENNEVILLE, ELIZABETH M             36490 TWENTY FIVE MILE RD.                                                                    NEW BALTIMORE      MI   48047
QUENNEVILLE, NOEL J                  21 GIBBONS CT                                                                                 NORTH TONAWANDA    NY   14120‐2761
QUENNEVILLE, RAYMOND O               23 LAUREL AVE                                                                                 MASSENA            NY   13662‐2029
QUENNEVILLE, ROGER R                 1506 SUNSET BLVD                                                                              ROYAL OAK          MI   48067‐1017
QUENNOZ, KATHRYN M                   853 RANDS WAY                                                                                 COLUMBIA           TN   38401‐5594
QUENNOZ, KENNETH M                   853 RANDS WAY                                                                                 COLUMBIA           TN   38401‐5594
QUENTEN LOUDERMILK                   1260 SCHOCK RD                                                                                HARBOR BEACH       MI   48441‐9711
QUENTIN ALLEN                        C/O BELL LEGAL GROUP LLC             232 KING STREET                                          GEORGETOWN         SC   29440
QUENTIN BEGGS                        15115 W COUNTY ROAD B                                                                         BRODHEAD           WI   53520‐9005
QUENTIN BLACKMAN                     1561 ELIZABETH PL                                                                             CINCINNATI         OH   45237‐5622
QUENTIN BOTE                         4201 HOLT RD                                                                                  WENTZVILLE         MO   63385‐6145
QUENTIN BRAINERD                     1705 KROUSE RD                                                                                OWOSSO             MI   48867‐9116
QUENTIN BRENNER                      171 BELAIR CIR                                                                                BELLBROOK          OH   45305‐2102
QUENTIN CANNON JR                    301 BRINKER DR                                                                                MARION             IN   46952‐3033
QUENTIN COLBY                        2462 BONANZA ROAD                                                                             LAKE ODESSA        MI   48849‐9575
QUENTIN COX                          13638 WOERNER RD                                                                              MANITOU BEACH      MI   49253‐9789
QUENTIN CROMWELL                     8170 GRAND BLANC RD                                                                           SWARTZ CREEK       MI   48473‐7609
QUENTIN D MATTHEWS                   765 SAINT CLAIR ST                                                                            PONTIAC            MI   48340‐2685
QUENTIN DALTON                       4741 RIDGEWAY DR APT 217                                                                      DEL CITY           OK   73115‐4204
QUENTIN DOWNING                      107 GIPSON ST                                                                                 POCAHONTAS         AR   72455‐2509
QUENTIN E COX                        19 N BLVD OF PRESIDENTS APT 413                                                               SARASOTA           FL   34236
QUENTIN E MOBLEY                     12275 OXFORD RD                                                                               GERMANTOWN         OH   45327
QUENTIN FELDICK                      3041 MILLSBORO RD E                                                                           MANSFIELD          OH   44903‐8786
QUENTIN FISHER JR                    BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH   44236
QUENTIN G & PHYLLIS I BOWMAN TRUST   3304 FERNDELL ST NE                                                                           SALEM              OR   97301

QUENTIN GARLAND                      PO BOX 13341                                                                                  FLINT              MI   48501‐3341
QUENTIN GRAHAM                       6414 CLUB CT W                                                                                GRAND BLANC        MI   48439‐9457
QUENTIN GUFFEY                       399 MOUNT LEBANON CHURCH RD                                                                   ALVATON            KY   42122‐9567
QUENTIN HOVIOUS                      5140 E 350 N                                                                                  MARION             IN   46952‐6843
QUENTIN HOWELL                       13593 CHERRYLAWN ST                  ATTN: EMMA HOWELL                                        DETROIT            MI   48238‐2426
QUENTIN J HILL                       37150 S WOODBRIDGE CIR               APT 102                                                  WESTLAND           MI   48185‐7247
QUENTIN JACKSON                      37968 SARNETTE ST                                                                             CLINTON TOWNSHIP   MI   48036‐4033
QUENTIN JONES                        9755 AUTRY FALLS DR                                                                           ALPHARETTA         GA   30022‐3235
QUENTIN L BOTE                       4201 HOLT RD                                                                                  WENTZVILLE         MO   63385‐6145
QUENTIN M BRENNER                    171 BELAIR CIR                                                                                BELLBROOK          OH   45305‐2102
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Name                                  Address1                         Address2                        Address3          Address4         City           State Zip
QUENTIN M MARINO LIVING TRUST U/A/D   QUENTIN M MARINO TRUSTEE         QUENTIN M MARINO                3180 BOLGUS CIR                    ANN HARBOR      MI 48105‐1564
12/12/96
QUENTIN MILLER JR                     PO BOX 310081                                                                                       FLINT          MI   48531‐0081
QUENTIN MOBLEY                        12275 OXFORD RD                                                                                     GERMANTOWN     OH   45327‐9787
QUENTIN P MORGAN                      3977 MAPLELEAF DR                                                                                   DAYTON         OH   45416
QUENTIN R EVANS                       1326 DAVIS ST                                                                                       YPSILANTI      MI   48198‐5911
QUENTIN RIHA                          2552 BRECKENRIDGE DR                                                                                ANN ARBOR      MI   48103‐6513
QUENTIN RUSSO                         208 HILLVIEW AVE NE                                                                                 GRAND RAPIDS   MI   49503‐3825
QUENTIN SAHRLE                        51 JEWELBERRY DR                                                                                    WEBSTER        NY   14580‐2479
QUENTIN SHOWN                         150 WOOD LN                                                                                         JACKSBORO      TN   37757‐4700
QUENTIN WALTERS                       856 MILFORD RD                                                                                      HOLLY          MI   48442‐1664
QUENTIN WILEY                         280 MAGNOLIA PATH                                                                                   HIRAM          GA   30141‐3564
QUENTIN, JUDY J                       734 VOISIN ST                                                                                       NEW ORLEANS    LA   70124‐1756
QUENTIS STAMPER                       1788 HANLEY RD                                                                                      LUCAS          OH   44843‐9754
QUENTON DEAN CZUBA                    NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                    DAINGERFIELD   TX   75638
QUENTON MOORE                         4617 MERCER CT                                                                                      FORT WAYNE     IN   46816‐2283
QUENTON SNOW                          846 COUNTY ROAD 173                                                                                 OKOLONA        MS   38860‐8917
QUEOLA WILLIAMS                       3362 ASHBY RD                                                                                       CLEVELAND      OH   44120‐3509
QUERBACH, BERNARD J                   10334 GRAPEFRUIT DR                                                                                 PORT RICHEY    FL   34668‐3111
QUERBACK, ROBERT J                    5055 HEIDI LN                                                                                       SAGINAW        MI   48604‐9553
QUERCIAGROSSA, GIORGIO J              4816 JUSTIN DR                                                                                      DRYDEN         MI   48428‐9304
QUERCIOLI RICHARD (447117)            KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                      CLEVELAND      OH   44114
                                                                       BOND COURT BUILDING
QUERCIOLI, RICHARD                    KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                       CLEVELAND      OH 44114
                                                                       BOND COURT BUILDING
QUEREDA A COVINGTON                   3908 NELSON MOSIER RD                                                                               LEAVITTSBURG   OH   44430‐9779
QUEREDA COVINGTON                     3908 NELSON MOSIER RD                                                                               LEAVITTSBURG   OH   44430‐9779
QUERIO, JOSEPH F                      3143 FOREST RD                                                                                      HARRISON       MI   48625‐8804
QUERNS, ELMIRA G                      122 BEAUMONT DR                                                                                     NEWTOWN        PA   18940‐2524
QUERRO, CHERYL A                      254 FOUR SEASONS DR                                                                                 LAKE ORION     MI   48360‐2647
QUERRO, FOSTER L                      254 FOUR SEASONS DR                                                                                 LAKE ORION     MI   48360‐2647
QUERRO, JOHN C                        1193 CLEARWATER ST                                                                                  WHITE LAKE     MI   48386‐3926
QUERRO, JOHN CHARLES                  1193 CLEARWATER ST                                                                                  WHITE LAKE     MI   48386‐3926
QUERRY, BEVERLY A                     2426 N BUCKEYE ST                                                                                   KOKOMO         IN   46901‐5815
QUERRY, BEVERLY A                     2426 NORTH BUCKEYE ST                                                                               KOKOMO         IN   46901
QUERRY, DOROTHY W                     5900 MONTECITO WAY                                                                                  LAS VEGAS      NV   89108‐4851
QUERRY, DOROTHY W                     5900 MONTESETO WAY                                                                                  LAS VEGAS      NV   89108
QUERRY, FRANK W                       3802 NE 86TH TER                                                                                    KANSAS CITY    MO   64156‐1304
QUERRY, RALPH D                       2426 N BUCKEYE ST                                                                                   KOKOMO         IN   46901‐5815
QUERTERMOUS, PAULINE                  3795 FUCHSIA CT                                                                                     WATERFORD      MI   48329
QUERTERMOUS, WESLEY H                 6390 SPRINGDALE BLVD                                                                                GRAND BLANC    MI   48439‐8550
QUERY, ROBERT K                       7280 JORDAN VILLAGE RD                                                                              POLAND         IN   47868‐7197
QUESADA SHERRY                        KOEN, CHRISTOPHER                4221 WILSHIRE BLVD SUITE 392                                       LOS ANGELES    CA   90010
QUESADA SHERRY                        LEE, ROSS                        4221 WILSHIRE BLVD SUITE 392                                       LOS ANGELES    CA   90010
QUESADA SHERRY                        QUESADA, SHERRY                  4221 WILSHIRE BLVD SUITE 392                                       LOS ANGELES    CA   90010
QUESADA, ALICIA                       401 FRANKLIN ST                                                                                     BAY CITY       MI   48708‐7034
QUESADA, ALMO                         1795 STONE CREAK RD                                                                                 SAN JOSE       CA   95132
QUESADA, ERNESTO                      401 FRANKLIN ST                                                                                     BAY CITY       MI   48708‐7034
QUESADA, GUADALUPE                    6079 ANCHOR COVE                                                                                    DIMONDALE      MI   48821‐9224
QUESADA, JACQUELINE                   5312 TAYLOR RD                                                                                      RIVERDALE      MD   20737‐2047
QUESADA, JOSEPH                       10282 N US 301                                                                                      OXFORD         FL   34484
QUESADA, JULIAN R                     12167 CARNEGIE DR                                                                                   TRACY          CA   95377‐9149
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Name                                Address1                         Address2                     Address3   Address4                 City                 State Zip
QUESADA, SHERRY                     EKENNA NWAJEI & CO LLP           4221 WILSHIRE BLVD STE 392                                       LOS ANGELES           CA 90010‐3537
QUESADA, VICTOR J                   35125 ABEL PL                                                                                     FREMONT               CA 94536‐2401
QUESENBERRY BOBBY (637684)          RUCKDESCHEL LAW FIRM             3645 CRAGSMOOR RD                                                ELLICOTT CITY         MD 21042‐4907
QUESENBERRY, BOBBY                  RUCKDESCHEL LAW FIRM             3645 CRAGSMOOR RD                                                ELLICOTT CITY         MD 21042‐4907
QUESENBERRY, CHARLES E              108 CORONADO CT                                                                                   ELYRIA                OH 44035‐3627
QUESENBERRY, ELBERT J               2285 W COMET RD                                                                                   CLINTON               OH 44216‐9004
QUESENBERRY, ELY                    12888 NEUGEBAUER RD 6                                                                             STOCKTON              CA 95206
QUESENBERRY, JOHNNY L               5185 EDMAN RD                                                                                     BATAVIA               OH 45103‐8501
QUESINBERRY, ELM D                  28 HILLVIEW AVE                                                                                   FRANKLIN PARK         NJ 08823‐1220
QUESINBERRY, PEARL K                7060 MAYAPPLE LANE                                                                                PENDLETON             IN 46064
QUESNEL, CARROLL                    17 PARKER AVE                                                                                     WEST HAVEN            CT 06516‐6316
QUESNEL, DAVID J
QUESNEL, GARY J                     8065 BRODERICK RD                                                        WINDSOR ON CANADA N9H‐
                                                                                                             1X1
QUESNEL, JOSEPH R                   7 MAPLE DR                                                                                        FT COVINGTON         NY 12937‐1712
QUESNEL, LENA                       8065 BRODERICK RD                                                        WINDSOR ONTARIO
                                                                                                             CANADA N9H‐1X1
QUESNELL, VIRGINIA J               248 TOUCAN STREET                                                                                  ROCHESTER HILLS      MI   48309‐3464
QUESNELL, VIRGINIA J               248 TOUCAN ST                                                                                      ROCHESTER HILLS      MI   48309‐3464
QUESNELLE, JOSEPH B                22830 LINCOLN CT                                                                                   SAINT CLAIR SHORES   MI   48082‐1773
QUEST DIAGNOSTIC                   PO BOX 822510                                                                                      PHILADELPHIA         PA   19182‐2510
QUEST DIAGNOSTIC                   13156 COLLECTION CENTER DR                                                                         CHICAGO              IL   60693‐0131
QUEST DIAGNOSTICS                  PO BOX 64378                                                                                       BALTIMORE            MD   21264‐4378
QUEST DIAGNOSTICS                  PO BOX 64477                                                                                       BALTIMORE            MD   21264‐4477
QUEST DIAGNOSTICS                  PO BOX 554                                                                                         NEEDHAM HEIGHTS      MA   02494‐0011
QUEST DIAGNOSTICS                  1201 S COLLEGEVILLE RD                                                                             COLLEGEVILLE         PA   19426‐2998
QUEST DIAGNOSTICS                  PO BOX 11530A                                                                                      NEW YORK             NY   10286‐1325
QUEST DIAGNOSTICS                  PO BOX 12989                                                                                       CHICAGO              IL   60693‐0001
QUEST DIAGNOSTICS                  ATTN: JOLANDA LOCKER              5080 VILLA LINDE PKWY # 3                                        FLINT                MI   48532‐3423
QUEST DIAGNOSTICS                  2700 COURT ST # 6                                                                                  SYRACUSE             NY   13208‐3293
QUEST DIAGNOSTICS                  11515 N SAGINAW ST                                                                                 MT MORRIS            MI   48458‐2081
QUEST DIAGNOSTICS INC              1 MALCOLM AVE                                                                                      TETERBORO            NJ   07608‐1011
QUEST DIAGNOSTICS INC              4444 GIDDINGS RD                                                                                   AUBURN HILLS         MI   48326‐1533
QUEST DIAGNOSTICS INC              1 MALCOLM AVE                     AFC 01/02                                                        TETERBORO            NJ   07608‐1011
QUEST DIAGNOSTICS INCORPORATED     PO BOX 740698                                                                                      CINCINNATI           OH   45274‐98
QUEST DIAGNOSTICS LLC IL           1355 N MITTEL BLVD                                                                                 WOOD DALE            IL   60191‐1024
QUEST DIAGNOSTICS, INC.            PETER BORAS                       1201 S COLLEGEVILLE RD                                           COLLEGEVILLE         PA   19426‐2998
QUEST ENGINEERING LLC              10522 SUCCESS LN                                                                                   DAYTON               OH   45458‐3561
QUEST ENTERPRISES                  10522 SUCCESS LN                                                                                   DAYTON               OH   45458‐3561
QUEST INTERNATIONAL INC            65 PARKER                                                                                          IRVINE               CA   92618‐1605
QUEST PARTNERS CO                  8055 OLD GRANGER RD               NAME CHANGE FAXED PKG4‐16‐                                       CLEVELAND            OH   44125‐4852
QUEST SYSTEMS INC                  8170 S EASTERN AVE STE 4612       REINSTATED ON 1‐09‐99                                            LAS VEGAS            NV   89123
QUEST/DAYTON                       10522 SUCCESS LN                                                                                   DAYTON               OH   45458‐3561
QUESTAR GAS COMPANY                KELLY MAXFIELD                    1175 W 130 S                                                     SALT LAKE CITY       UT   84104‐1801
QUESTAR REGULATED SERVICES COMPANY 1175 W 130 S                                                                                       SALT LAKE CITY       UT   84104‐1801

QUESTCARE MEDICAL SE                PO BOX 201611                                                                                     DALLAS               TX   75320‐1611
QUESTEL ORBIT INC                   8000 WESTPARK DR                                                                                  MCLEAN               VA   22102‐3105
QUESTEL, CATHY                      3886 NARRON DR SW                                                                                 ATLANTA              GA   30331‐5330
QUESTER ADAMS                       1045 W 73RD ST                                                                                    INDIANAPOLIS         IN   46260‐4042
QUESTER CAMPBELL SR                 1642 NORTHBOURNE RD                                                                               BALTIMORE            MD   21239‐3623
QUESTEX MEDIA GROUP INC.            P.O. BOX 504166                                                                                   ST. LOUIS            MO
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Name                                  Address1                         Address2                       Address3            Address4         City               State Zip
QUESTEX MEDIA GROUP INC.              PO BOX 504166                                                                                        SAINT LOUIS         MO
QUESTOR PARTNERS FUND II LP           700 E MAPLE RD FL 4TH                                                                                BIRMINGHAM          MI 48009‐6361
QUESTOR PARTNERS FUND II LP           700 E MAPLE RD                   FL 4TH                                                              BIRMINGHAM          MI 48009‐6361
QUESTOR PARTNERS FUND II LP           2000 TOWN CTR STE 2450                                                                               SOUTHFIELD          MI 48075‐1208
QUESTOR PARTNERS FUND II LP           42600 MERRILL RD                                                                                     STERLING HEIGHTS    MI 48314‐3242
QUESTOR PARTNERS FUND II LP           ANNE MACARI                      2101 W WILLOW ST                                                    LANSING             MI 48917‐1815
QUESTOR PARTNERS FUND II LP           ANNE MACARI                      2101 W. WILLOW RD.                                                  MORRISTOWN          TN 37814
QUESTOR PARTNERS FUND II LP           ANNE MACARI                      ASC ‐ SSR ACCESSORIES          2101 WILLOW ROAD                     CLEVELAND           TN 37312
QUESTOR PARTNERS FUND II LP           ANNE MACARI                      ASC INC                        28005 FORT STREET                    WENTZVILLE          MO 63385
QUESTRON CORP                         2901 AUBURN RD                                                                                       AUBURN HILLS        MI 48326
QUETONA ROLFE                         11266 RIDGEHAVEN DR                                                                                  KEITHVILLE          LA 71047‐8700
QUEVA MARTIN                          913 N WALNUT ST                                                                                      ROANOKE             TX 76262‐5008
QUEVEDO, FRANCISCO                    47 PORTLAND PL                                                                                       YONKERS             NY 10703‐2205
QUEVEDO, LEANDRO                      621 HUNTER ST                                                                                        WEST PALM BEACH     FL 33405
QUEVEDO, TERESA                       311 SANDALWOOD DR                                                                                    ROCHESTER           NY 14616‐1331
QUEZADA JR, MIGUEL                    28505 EVERGREEN RD                                                                                   SOUTHFIELD          MI 48076‐5431
QUEZADA VERONICA                      QUEZACA, VERONICA
QUEZADA, JOSEPH D                     202 COLONEL BURT BLVD                                                                                BENTON             LA 71006‐9715
QUEZADA, PABLO                        985 SIMPSON ST APT 2K                                                                                BRONX              NY 10459‐3317
QUEZADA, ROSARIO B                    985 SIMPSON ST APT 2K                                                                                BRONX              NY 10459‐3317
QUEZADA, VICTOR
QUEZAIRE, RONALD J                    PO BOX 091071                                                                                        MILWAUKEE          WI   53209‐8071
QUEZAIRE, RONALD J                    4524 N 41ST ST                                                                                       MILWAUKEE          WI   53209‐5818
QUEZON, GREGORIO M                    114 STANLEY LN                                                                                       NEW CASTLE         DE   19720‐2740
QUI TRUONG                            1305 EASTBURY DR                                                                                     LANSING            MI   48917‐8986
QUIAH, VALERIE                        2517 DUNKSFERRY RD APT D307                                                                          BENSALEM           PA   19020‐2721
QUIANNA C CLARK                       231 E BEECHWOOD AVE                                                                                  DAYTON             OH   45405‐3133
QUIBELL, DONNA J                      18597 70TH AVENUE                                                                                    MARION             MI   49665‐8225
QUIBELL, DONNA J                      18597 70TH AVE                                                                                       MARION             MI   49665‐8225
QUIBELL, RAYMOND D                    23068 135TH AVE                                                                                      TUSTIN             MI   49688‐8569
QUICENO, LUZ
QUICHO, LEONARDO R                    55 E LONG LAKE RD PMB 438                                                                            TROY               MI 48085‐4738
QUICK ‐ CABLE CORP                    DAVID KURTZ                      3700 QUICK DR                                                       FRANKSVILLE        WI 53126‐9349
QUICK ‐ CABLE CORP                    DAVID KURTZ                      3700 QUICK DRIVE                                                    ANCHORVILLE        MI
QUICK BELTON (401540) ‐ DITHOMAS      WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                                        NEW YORK           NY 10005
GEORGE                                                                 PLAZA
QUICK BELTON (401540) ‐ KENNEDY       WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                                        NEW YORK           NY 10005
THOMAS                                                                 PLAZA
QUICK BELTON (401540) ‐ SCHUFF KARL   WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                                        NEW YORK           NY 10005
                                                                       PLAZA
QUICK BOOKS TRAINING BY               SELCTIVE                         4924 BALBOA BLVD                                                    ENCINO             CA   91316‐3402
QUICK BOY INC                         157 RAVEN LN                     PO BOX 714                                                          BLOOMINGDALE       IL   60108‐1450
QUICK CABLE CORP                      3700 QUICK DR                                                                                        FRANKSVILLE        WI   53126‐9349
QUICK CASH                            958 BROOKWAY BLVD                                                                                    BROOKHAVEN         MS   39601
QUICK CLEAN SALES                     710 W 13TH ST                                                                                        MUNCIE             IN   47302‐7604
QUICK CORNER FOOD STORE               1019 BALDWIN AVE                                                                                     PONTIAC            MI   48340‐2609
QUICK CUSTOMS DELIVERY                PO BOX 17596                                                                                         EL PASO            TX   79917‐7596
QUICK DELIVERY SERVICE INC            3100 MACCORKLE AVE SW                                                                                SOUTH CHARLESTON   WV   25303
QUICK DRIVE SEALING & STRIPING        3362 INDUSTRIAL DR                                                                                   BOWLING GREEN      KY   42101‐4089
QUICK FIX                             11250 PULASKI HWY                                                                                    WHITE MARSH        MD   21162
QUICK FRED H (429652)                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510
                                                                       STREET, SUITE 600
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Name                             Address1                          Address2                        Address3   Address4         City              State Zip
QUICK FREIGHT SYSTEMS            3000 ROHR RD                                                                                  GROVEPORT          OH 43125‐9372
QUICK GREEN CONSTRUCTION LLC     10174 HIGHLAND RD STE 104                                                                     WHITE LAKE         MI 48386‐1874
QUICK HALLIE JR (344351)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                   STREET, SUITE 600
QUICK HICK'S GARAGE              10765 RANDOLPH ST                                                                             CROWN POINT       IN 46307‐7615
QUICK JEAN                       8276 SOUTHWIND BAY CIRCLE                                                                     FORT MYERS        FL 33908‐6028
QUICK JOHN (464253)              KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND         OH 44114
                                                                   BOND COURT BUILDING
QUICK JOHN A (405905)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                   STREET, SUITE 600
QUICK JR, DELBERT J              1740 TRAPHILL UNION RD                                                                        TRAPHILL          NC   28685‐9215
QUICK JR, DELBERT JACKSON        1740 TRAPHILL UNION ROAD                                                                      TRAPHILL          NC   28685‐9215
QUICK JR, NAPOLEON               6630 MAPLE LAKES DR                                                                           WEST BLOOMFIELD   MI   48322‐3066
QUICK JUSTIN                     KYLE, KRISTIN                     83421 RATTLESNAKE ROAD                                      DEXTER            OR   97431
QUICK JUSTIN                     QUICK, JUSTIN                     83421 RATTLESNAKE ROAD                                      DEXTER            OR   97431
QUICK KENNETH (510589)           LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                     MIAMI             FL   33143‐5163
QUICK PATRICK (652465)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510
                                                                   STREET, SUITE 600
QUICK SAV FOOD STORES LTD        DBA BEACON & BIDGE MARKETS        PO BOX 380                                                  FLUSHING          MI   48433‐0380
QUICK SERVICE CAB COMPANY                                          1101 W CEDAR ST                                                               PA   18102
QUICK SHOT INC                   PO BOX 400                                                                                    SPRING CITY       PA   19475‐0400
QUICK START CORPORATE SERVICES   4750 S STATE RD STE 230                                                                       ANN ARBOR         MI   48108
INSTITUTE
QUICK'S AUTOMOTIVE               1237 W BARKLEY AVE                                                                            ORANGE            CA   92868‐1214
QUICK, ANGELA M                  8520 SARAH LANE                                                                               GROSSE ILE        MI   48138‐1548
QUICK, ANGELA MILLAZO            8520 SARAH LANE                                                                               GROSSE ILE        MI   48138‐1548
QUICK, ANGELINE                  1514 CANTERBURY TRL BLDG Q #A                                                                 MT PLEASANT       MI   48858
QUICK, ARTHUR C                  219 N STEPHENSON HWY                                                                          ROYAL OAK         MI   48067
QUICK, BARBARA E                 1995 E 75 N                                                                                   LEBANON           IN   46052‐8120
QUICK, BENJAMIN G                2222 S ARCH ST                                                                                JANESVILLE        WI   53546‐5956
QUICK, BERNARD R                 12740 W STATE ROAD 11                                                                         ORFORDVILLE       WI   53576‐9543
QUICK, BETTY E                   29 S HILL DR                                                                                  LINDEN            MI   48451‐9439
QUICK, BETTY ELSIE               29 S HILL DR                                                                                  LINDEN            MI   48451‐9439
QUICK, BLANCHE                   17264 DEL WEBB BOULEVARD                                                                      SUN CITY          AZ   85373
QUICK, BRADFORD D                1135 W MILLER RD                                                                              MIO               MI   48647‐9736
QUICK, BYRON E                   616 INVERNESS CT                                                                              FULLERTON         CA   92835‐2776
QUICK, CAM                       2030 BLANKENBAKER RD                                                                          STATESBORO        GA   30458‐8829
QUICK, CECIL A                   PO BOX 936                                                                                    CHOCTAW           OK   73020‐0936
QUICK, CHARLES E                 911 MILTON BVLD                   PO BOX 443                                                  NEWTON FALLS      OH   44444
QUICK, CHARLES E                 PO BOX 443                                                                                    NEWTON FALLS      OH   44444
QUICK, CHARLES G                 175 COUNTY ROAD 1244                                                                          CULLMAN           AL   35057‐6730
QUICK, CHRISTINE                 3474 SUBURBAN DR                                                                              DAYTON            OH   45432‐2721
QUICK, COLETTE F                 1705 OGDEN N.W. AVE                                                                           WARREN            OH   44483
QUICK, DANIEL B                  141 BOONE DR                                                                                  CADIZ             KY   42211‐7847
QUICK, DAVID H                   7530 DUBONNET WAY                                                                             INDIANAPOLIS      IN   46278‐1589
QUICK, DAVID T                   34892 MICHELLE DR                                                                             ROMULUS           MI   48174‐3436
QUICK, DEBORAH M                 525 VICTORIA LN                                                                               ROMEO             MI   48065‐4828
QUICK, DEBRA A.                  3239 N RUTH RD                                                                                DECKERVILLE       MI   48427‐9636
QUICK, DOANE N                   PO BOX 226                                                                                    LEWISTON          MI   49756‐0226
QUICK, DONALD A                  5150 OXFORD CT                                                                                SWARTZ CREEK      MI   48473‐1254
QUICK, DONALD C                  1268 SURREY HTS                                                                               WESTLAND          MI   48186‐3700
QUICK, DONALD G                  635 WHITE OAK CT                                                                              ZIONSVILLE        IN   46077‐9049
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Name                Address1                           Address2                       Address3   Address4                 City              State Zip
QUICK, DOROTHY      2053 DUMONT DR                                                                                        LUZERNE            MI 48636‐9780
QUICK, DOROTHY      2053 DUMONT                                                                                           LUZERNE            MI 48636‐9780
QUICK, DWANE L      3802 CURRY LN                                                                                         JANESVILLE         WI 53546‐3446
QUICK, EARL L       15606 RAILROAD ST RT #1                                                                               MT STERLING        OH 43143
QUICK, EDNA E       2308 OLD HICKORY BLVD                                                                                 DAVISON            MI 48423‐2062
QUICK, ELLIS D      4433 COUNTY ROAD 1223                                                                                 VINEMONT           AL 35179‐8408
QUICK, EMILEE E     9335 BATTALION BLVD                                                                                   GRAYLING           MI 49738
QUICK, FLORENCE M   23205 BLUEGRASS DRIVE                                                                                 BROWNS TOWNSHIP    MI 48183
QUICK, FRANCES L    334 S CHERRY ST                    APT 143                                                            WESTFIELD          IN 46074‐8501
QUICK, FRANCES L    APT 143                            334 SOUTH CHERRY STREET                                            WESTFIELD          IN 46074‐8501
QUICK, FRANK J      6413 ARDEN COURT                                                                                      BRENTWOOD          TN 37027‐5660
QUICK, FRANK J      6413 ARDEN CT                                                                                         BRENTWOOD          TN 37027‐5660
QUICK, FRED H       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK            VA 23510‐2212
                                                       STREET, SUITE 600
QUICK, GERALD R     8087 MORIAH AVE                                                                                       BROOKSVILLE       FL   34613‐5783
QUICK, GERTIE M     4738 N COUNTY ROAD 500 E                                                                              MICHIGANTOWN      IN   46057‐9643
QUICK, H E          132 CEDAR RUN DR                                                                                      BROWNSBURG        IN   46112
QUICK, HALLIE       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA   23510‐2212
                                                       STREET, SUITE 600
QUICK, JACK W       320 MARSH DR                                                                                          MIDWAY            GA 31320‐3524
QUICK, JAMES E      R ITAPAIUNA , 1800                 ED DOPPIO SPAZIO                          SAO PAULO 05707‐000
                                                                                                 BRAZIL
QUICK, JAMES EDIS   R ITAPAIUNA , 1800                 ED DOPPIO SPAZIO                          SAO PAULO SP 05707‐000
                                                                                                 BRAZIL
QUICK, JEAN         8276 SOUTHWIND BAY CIRCLE                                                                             FORT MYERS        FL   33908‐6028
QUICK, JEFFERY D    855 E JEFFERSON ST                                                                                    FRANKLIN          IN   46131‐2522
QUICK, JERRY F      161 CIRCLE DR                                                                                         FRANKLIN          IN   46131‐1219
QUICK, JERRY L      28622 BIRCHLAWN ST                                                                                    GARDEN CITY       MI   48135‐2423
QUICK, JOHN         15061 FORD RD APT 421                                                                                 DEARBORN          MI   48126‐4643
QUICK, JOHN         KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                       CLEVELAND         OH   44114
                                                       BOND COURT BUILDING
QUICK, JOHN A       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA 23510‐2212
                                                       STREET, SUITE 600
QUICK, JOSEPH       2097 DUNWOODIE CT                                                                                     ORTONVILLE        MI   48462‐8564
QUICK, JOSEPH E.    2097 DUNWOODIE CT                                                                                     ORTONVILLE        MI   48462‐8564
QUICK, JOSEPH K     9543 BEARD RD                                                                                         LAINGSBURG        MI   48848‐9318
QUICK, JOSEPH S     21833 MCKINLEY ST                                                                                     ROCKWOOD          MI   48173‐1150
QUICK, JOYCE        996 JACKSON BRANCH RD                                                                                 NASHVILLE         IN   47448‐8156
QUICK, JOYCE E      311 PECAN TREE AVE                                                                                    LONE JACK         MO   64070‐8122
QUICK, JUSTIN       83421 RATTLESNAKE RD                                                                                  DEXTER            OR   97431‐9754
QUICK, KATHY        PO BOX 946                                                                                            ST PAULS          NC   28384‐0946
QUICK, KENNETH      LIPMAN DAVID M                     5901 SW 74TH ST STE 304                                            MIAMI             FL   33143‐5163
QUICK, KENNETH      THE LIPMAN LAW FIRM                5915 PONCE DE LEON BLVD        SUITE 44                            CORAL GABLES      FL   33146
QUICK, KENNETH E    34878 MICHELLE DR                                                                                     ROMULUS           MI   48174‐3436
QUICK, KENNETH W    2308 OLD HICKORY BLVD                                                                                 DAVISON           MI   48423‐2062
QUICK, KEVIN C      PO BOX 679                                                                                            BUFFALO           NY   14223‐0679
QUICK, KIM E        848 PANORAMA RD                                                                                       FULLERTON         CA   92831‐1030
QUICK, LOUISE       4075 LONDONDERRY AVE                                                                                  COLUMBUS          OH   43228‐3430
QUICK, LUCRETIA     9137 MANSFIELD RD APT 68                                                                              SHREVEPORT        LA   71118‐3142
QUICK, LUCY R       117 PINE LN                                                                                           ODENVILLE         AL   35120‐6851
QUICK, LUCY R       117 PINE LANE                                                                                         ODENVILLE         AL   35120‐6851
QUICK, M S
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Name                            Address1                          Address2                      Address3   Address4         City              State Zip
QUICK, MARY D                   40 MARIE AVE                                                                                CHEEKTOWAGA        NY 14227
QUICK, MARY L                   1002 VIRGO DRIVE                                                                            FRANKLIN           IN 46131
QUICK, MARY L                   1070 WEST JEFFERSON STREET                                                                  FRANKLIN           IN 46131‐2179
QUICK, MEGAN J                  258 RICHARD ST                                                                              ROCHESTER          NY 14607‐3826
QUICK, MICHAEL A                203 SUMMIT AVE                                                                              WEST SENECA        NY 14224‐2300
QUICK, MICHAEL ALLEN            203 SUMMIT AVE                                                                              WEST SENECA        NY 14224‐2300
QUICK, MONTY L                  PO BOX 312                        106 E PLUM STREET                                         VAN BUREN          IN 46991‐0312
QUICK, NATHAN                   308 N MAIN ST                                                                               PUNXSUTAWNEY       PA 15767‐1235
QUICK, NATHAN D                 701 COLUMBIA AVE                                                                            TOMPKINSVILLE      KY 42167‐1213
QUICK, PATRICK                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                  STREET, SUITE 600
QUICK, PAUL C                   995 N CASS LAKE RD APT 226                                                                  WATERFORD         MI   48328‐2381
QUICK, PEARL                    10778 NAPLES RD SE                                                                          FIFE LAKE         MI   49633
QUICK, PETER L                  PO BOX 2544                                                                                 DEARBORN          MI   48123‐2544
QUICK, RALPH W                  6612 NARROW VALLEY WAY APT 1003                                                             RALEIGH           NC   27615‐7554
QUICK, RICHARD A                6697 CROSS RD                     P.O. BOX 355                                              SPRINGVILLE       NY   14141
QUICK, RICHARD L                3594 MEADOWLEIGH LN                                                                         WATERFORD         MI   48329‐2447
QUICK, RILLA M                  4433 COUNTY ROAD 1223                                                                       VINEMONT          AL   35179‐8408
QUICK, ROBERT A                 616 LAKE LARCH LN                                                                           LAKELAND          FL   33805‐3583
QUICK, ROBERT A                 6931 WILDWOOD CT                                                                            INDIANAPOLIS      IN   46268‐2454
QUICK, ROBERT M                 2378 CHALET DR                                                                              ROCHESTER HILLS   MI   48309‐2051
QUICK, ROLAND J                 1938 CRESCENT ST                                                                            FRANKLIN          IN   46131‐1048
QUICK, RUTH A                   164 BARNSTEAD DR APT 15                                                                     SPRINGVILLE       NY   14141
QUICK, SHIRLEY A                82 TWIN OAKS DR                                                                             LAPEER            MI   48446‐7630
QUICK, SHIRLEY ANN              346 LOCHAVEN RD                                                                             WATERFORD         MI   48327‐3836
QUICK, SHIRLEY B                8156 INDIANA ST                                                                             DETROIT           MI   48204‐3278
QUICK, SUSAN D                  3542 MONROE ST                                                                              DEARBORN          MI   48124‐3658
QUICK, TERRY L                  10660 WASHINGTON AVE                                                                        OSSINEKE          MI   49766
QUICK, THOMAS F                 29 S HILL DR                                                                                LINDEN            MI   48451‐9439
QUICK, THOMAS G                 3631 MEADOWLEIGH LN                                                                         PONTIAC           MI   48055
QUICK, VIRGINIA                 5150 OXFORD CT                                                                              SWARTZ CREEK      MI   48473‐1254
QUICK, VIRGINIA E               4331 BADOUR RD                                                                              HEMLOCK           MI   48626‐9502
QUICK, VIRGINIA E               4331 S. BADOUR RD                                                                           HEMLOCK           MI   48626‐9502
QUICK, VIVIAN L                 213 OAK GROVE DR                                                                            ALBANY            GA   31705‐4718
QUICK, WINFORD A                6431 BRIDLEWOOD DR S                                                                        EAST AMHERST      NY   14051‐2036
QUICK‐BOY INC                   157 RAVEN LN                                                                                BLOOMINGDALE      IL   60108‐1450
QUICK‐CABLE CORP                DAVID KURTZ                       3700 QUICK DR                                             FRANKSVILLE       WI   53126‐9349
QUICK‐CABLE CORP                DAVID KURTZ                       3700 QUICK DRIVE                                          ANCHORVILLE       MI
QUICKCLICK LOANS                PO BOX 5040                                                                                 ALPHARETTA        GA   30023‐5040
QUICKENDEN BRENT                418 HAY ST                                                                                  ROCK SPRINGS      WY   82901‐6634
QUICKLE SR., LAMAR F            705 6TH ST                                                                                  NEWARK            DE   19711‐8717
QUICKLEY, LARRY E               48225 BAYSHORE DR                                                                           BELLEVILLE        MI   48111‐4603
QUICKLEY, LARRY EARL            48225 BAYSHORE DR                                                                           BELLEVILLE        MI   48111‐4603
QUICKSET INTERNATIONAL INC      3650 WOODHEAD DR                                                                            NORTHBROOK        IL   60062‐1817
QUICKSEY, PERVIES               10 BAME AVE 1                                                                               BUFFALO           NY   14215
QUICKSIGN                       8902 CORPORATION DR                                                                         INDIANAPOLIS      IN   46256‐1256
QUICKSTRAT CORPORATE SERVICES   3800 PACKARD ST STE 100                                                                     ANN ARBOR         MI   48108‐2073
QUICKWAY EXPEDITER              5688 US HIGHWAY 20                                                                          WAKEMAN           OH   44889‐9461
QUIEL, JOHN L                   315 PLANK RD                                                                                HUDSON            MI   49247‐9761
QUIEL, ROBERT R                 9 ROCKBRIDGE LN                                                                             PENFIELD          NY   14526‐2918
QUIEL, TARZA M                  315 PLANK RD                                                                                HUDSON            MI   49247‐9761
QUIER, ARLINE J                 21413 N 158TH DR                                                                            SUN CITY WEST     AZ   85375‐6639
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Name                        Address1                         Address2                          Address3                      Address4              City               State Zip
QUIET AVIATION              1609 HANGAR RD                                                                                                         SANFORD             FL 32773
QUIETT, KEN                 3255 LONGFORD DR                                                                                                       JOLIET               IL 60431‐9393
QUIG, JOHN W                238 E 5TH ST                                                                                                           FLORENCE            NJ 08518‐2404
QUIG, MARY L                810 RIVER ACRES                                                                                  BROCKVILLE ONTARIO
                                                                                                                             CANADA K6V‐5T1
QUIG, VINCENT T             702 WINDDRIFT STREET                                                                                                   HARLINGEN          TX 78550‐3967
QUIGG JR, HARVEY C          PO BOX 1939                                                                                                            DAYTON             OH 45401‐1939
QUIGG PARTNERS              LEVEL 7, THE BAYLEYS BUILDING    28 BRANDON STREET                 P.O. BOX 3035                 WELLINGTON 6140 NEW
                                                                                                                             ZEALAND
QUIGGIN, KATHLEEN J         2221 W 82ND ST                                                                                                         BLOOMINGTON        MN   55431‐1305
QUIGGLE MARLENE             357 DARTMOUTH TRL                                                                                                      SAGAMORE HILLS     OH   44067‐3406
QUIGGLE, EMERY L            5345 GIRDLE ROAD NW                                                                                                    W FARMINGTON       OH   44491‐8711
QUIGGLE, EMERY L            5345 GIRDLE RD                                                                                                         W FARMINGTON       OH   44491‐8711
QUIGGLE, RICHARD P          357 DARTMOUTH TRL                                                                                                      SAGAMORE HILLS     OH   44067‐3406
QUIGLEY CHEVROLET           326 MAIN ST                                                                                                            BALLY              PA   19503‐9626
QUIGLEY CLYDE               22182 CAMP ARROWHEAD RD                                                                                                LEWES              DE   19958‐5710
QUIGLEY COMPANIES           VAN PRODUCTS COMPANY             38880 GRAND RIVER AVE                                                                 FARMINGTON HILLS   MI   48335‐1526
QUIGLEY COMPANIES           38880 GRAND RIVER AVE                                                                                                  FARMINGTON HILLS   MI   48335‐1526
QUIGLEY ERICA               545 MUSKET CT                                                                                                          COLLEGEVILLE       PA   19426‐1874
QUIGLEY IND.                SHARON GIMIK X11                 21547 TELEGRAPH RD                                                                    SOUTHFIELD         MI   48033
QUIGLEY INDUSTRIES INC      38880 GRAND RIVER AVE                                                                                                  FARMINGTON HILLS   MI   48335‐1526
QUIGLEY JACK                5615 KING RD                                                                                                           HOWELL             MI   48843‐9439
QUIGLEY JOHN                70 ELLIOT ST                                                                                                           BRAINTREE          MA   02184‐6104
QUIGLEY JR, CHARLES         304 S 68TH ST                                                                                                          KANSAS CITY        KS   66111‐2306
QUIGLEY JR, JAMES J         38009 VIA LA COLINA                                                                                                    MURRIETA           CA   92563‐5615
QUIGLEY MANUFACTURING INC   491 W MAIN ST                                                                                                          VANDERBILT         MI   49795‐9754
QUIGLEY MANUFACTURING INC   8250 MILL ST                                                                                                           VANDERBILT         MI   49795‐9701
QUIGLEY MANUFACTURING INC   DORY GRIGGS                      8250 MILL ST                      QUIGLEY INDUSTRIES                                  VANDERBILT         MI   49795‐9701
QUIGLEY MANUFACTURING INC   DORY GRIGGS                      QUIGLEY INDUSTRIES                8250 MILL ST                                        NEW HUDSON         MI   48165
QUIGLEY MANUFACTURING INC   SHARON GIMIK X11                 21547 TELEGRAPH RD                                              KORNTAL‐MUENCHINGEN
                                                                                                                             GERMANY
QUIGLEY MANUFACTURING INC   38880 GRAND RIVER AVE                                                                                                  FARMINGTON HILLS   MI   48335‐1526
QUIGLEY MOTOR CO INC        100 SUNSET DR                                                                                                          MANCHESTER         PA   17345‐1330
QUIGLEY MTR                 100 SUNSET DRIVE                                                                                                       MANCHESTER         PA   17345
QUIGLEY RICHARD             4 NESHAMINY INTERPLEX SUITE 11                                                                                         TREVOSE            PA   19053
QUIGLEY SHAWNIE S           QUIGLEY, DAVID                   KIMMEL & SILVERMAN PC             30 EAST BUTLER PIKE , SUITE                         AMBLER             PA   19002
                                                                                               310
QUIGLEY SHAWNIE S           QUIGLEY, SHAWNIE S               30 EAST BUTLER PIKE , SUITE 310                                                       AMBLER             PA 19002
QUIGLEY THOMAS              22306 BLUEBERRY LN                                                                                                     LAKE FOREST        CA 92630‐4301
QUIGLEY WILLIAM (459270)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                           NORFOLK            VA 23510
                                                             STREET, SUITE 600
QUIGLEY, AARON              1571 PLUNKETTS RD                                                                                                      BUFORD             GA   30519‐5069
QUIGLEY, ANDREW J           1571 PLUNKETTS RD                                                                                                      BUFORD             GA   30519‐5069
QUIGLEY, BRENDA M           16 HERITAGE LN                                                                                                         WINDHAM            ME   04062‐4984
QUIGLEY, CATHERINE M        3641 NUTMEG                                                                                                            IRVINE             CA   92606‐2638
QUIGLEY, DANIEL M           5163 WINSHALL DR                                                                                                       SWARTZ CREEK       MI   48473‐1222
QUIGLEY, DANIEL MARTIN      5163 WINSHALL DR                                                                                                       SWARTZ CREEK       MI   48473‐1222
QUIGLEY, DAVID P            10032 NEWFOUND GAP                                                                                                     BRIGHTON           MI   48114‐9672
QUIGLEY, DONALD M           4001 ALTIUS LN                                                                                                         DENTON             TX   76210‐0478
QUIGLEY, DOROTHY            3928 PINCKNEY RD                                                                                                       HOWELL             MI   48843‐7803
QUIGLEY, DOUGLAS W          149 MANNAL ST                                                                                                          BEAVER FALLS       PA   15010‐1639
QUIGLEY, EMMA I             4447 N MALDEN ST APT 1           C/O PATRICIA GREENBERG                                                                CHICAGO            IL   60640‐5683
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Name                        Address1                         Address2                      Address3   Address4                 City              State Zip
QUIGLEY, FRANCIS F          494 MAIN ST                                                                                        FARMINGTON         CT 06032‐2911
QUIGLEY, GEORGE A           PO BOX 578                                                                                         FENTON             MI 48430‐0578
QUIGLEY, HUGH W             5125 WEDGE CT E                                                                                    BRADENTON          FL 34203‐4029
QUIGLEY, JACK L             1625 N HADLEY RD                                                                                   ORTONVILLE         MI 48462‐9794
QUIGLEY, JAMES R            4507 RFD                                                                                           LONG GROVE          IL 60047‐9732
QUIGLEY, JANE M             3613 DAVISON LAKE RD                                                                               ORTONVILLE         MI 48462‐9524
QUIGLEY, JEFFREY H          668 BENDING BRK                                                                                    FLUSHING           MI 48433‐3017
QUIGLEY, JEFFREY S          11289 E STANLEY RD                                                                                 DAVISON            MI 48423‐9308
QUIGLEY, JENNIFER M         16W611 MOCKINGBIRD LN APT 33‐1                                                                     WILLOWBROOK         IL 60527
QUIGLEY, JOANN              222 LAWRENCE AVE                                                                                   MIAMISBURG         OH 45342‐3532
QUIGLEY, JOHN R             5615 KING RD                                                                                       HOWELL             MI 48843‐9439
QUIGLEY, JOHN W             252 E LAKESHORE DR                                                                                 DOUBLE SPRINGS     AL 35553‐3226
QUIGLEY, LENORA             848 ALPINE WAY                                                                                     FOREST PARK        GA 30297‐3766
QUIGLEY, LEONARD M          2674 CRESTWOOD DR. N.W.                                                                            WARREN             OH 44485‐1225
QUIGLEY, MARY A             38621 JONATHAN ST                                                                                  CLINTON TWP        MI 48036‐1842
QUIGLEY, MICHAEL E          2800 WHISPERING HILLS DR                                                                           WASHINGTON TWP     MI 48094‐1043
QUIGLEY, MILDRED M          3052 ATWOOD DR                                                                                     HOWELL             MI 48843‐9031
QUIGLEY, PATRICIA J         2393 E RAHN RD                                                                                     KETTERING          OH 45440‐2541
QUIGLEY, ROBERT C           1078 BLOOMER RD                                                                                    ROCHESTER HILLS    MI 48307‐2311
QUIGLEY, ROBERT J           995 STONEHEDGE DR                                                                                  HOWELL             MI 48843‐7292
QUIGLEY, ROBERT J           PO BOX 127                                                                                         CONTINENTAL        OH 45831‐0127
QUIGLEY, ROBERT R           PO BOX 3                                                                                           CONTINENTAL        OH 45831‐0003
QUIGLEY, RONALD J           1890 BULLOCK RD                                                                                    BAY CITY           MI 48708‐9620
QUIGLEY, TERESA A           1408 COUTANT ST                                                                                    FLUSHING           MI 48433‐1821
QUIGLEY, THERESA            3 CARIBBEAN COURT                                                                                  TOMS RIVER         NJ 08753‐1642
QUIGLEY, THERESA A          11384 BAYBERRY DR                                                                                  BRUCE TWP          MI 48065‐3741
QUIGLEY, THOMAS W           29508 HAGY RD                                                                                      DEFIANCE           OH 43512‐8941
QUIGLEY, TIM
QUIGLEY, VICTOR E           5040 ONEIDA DR                                                                                     CLARKSTON         MI 48348‐3253
QUIGLEY, WILLIAM            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510‐2212
                                                             STREET, SUITE 600
QUIGLEY, WILLIAM A          3004 CREEKVIEW LN                                                                                  GOODLETTSVILLE    TN   37072‐8956
QUIGLEY, WILMA J            4215 ALBAR DR                                                                                      TOLEDO            OH   43623‐1105
QUIJADA, RAFAEL             3735 E AVENUE Q13                                                                                  PALMDALE          CA   93550‐8502
QUIJANO, ABELARDO           9328 INVERNESS RD                                                                                  GRAND BLANC       MI   48439‐9564
QUIJANO, IRMA Y             1896 LAKE FOREST LN                                                                                ORANGE PARK       FL   32003‐8627
QUIJANO, SERAPIO A          5457 MAURA DR                                                                                      FLUSHING          MI   48433‐1057
QUIJANO, SHERRY L           9328 INVERNESS RD                                                                                  GRAND BLANC       MI   48439‐9564
QUIJANO, VINCENT P          3949 DUNBAR ST                                                                                     AUSTINTOWN        OH   44515‐4640
QUIJANO, VINCENT PAUL       3949 DUNBAR ST                                                                                     AUSTINTOWN        OH   44515‐4640
QUIK COUR SERVICES          4305 GARDEN CRESENT                                                       PETROLLA CANADA ON N0N
                                                                                                      1R0 CANADA
QUIK X TRANSPORTATION INC   6767 DAVAND DR                                                            MISSISSAUGA ON L5T 2T2
                                                                                                      CANADA
QUIKPRO EXPRESS             700 MORSE RD STE 209                                                                               COLUMBUS          OH   43214‐1879
QUIKRETE                    FRANK CHICK                      3490 PIEDMONT RD NE                                               ATLANTA           GA   30305‐1752
QUIKTRIP CORP.              4705 S. 129TH E. AVE., TULSA                                                                       TULSA             OK   74134
QUIKTRIP CORP.              4705 S 129TH EAST AVE                                                                              TULSA             OK   74134‐7005
QUILES, ANDERSON            439 THEODORE DR                                                                                    MONROE            MI   48162‐3222
QUILES, ANGELO M            6711 PAX CT                                                                                        ARLINGTON         TX   76002‐3520
QUILES, EFRAIN              51 CALLE VICENTE MUNOZ BARRIOS                                                                     CIDRA             PR   00739‐3203
QUILES, JOSE A              910 W 6TH ST                                                                                       MARION            IN   46953‐1633
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Name                         Address1                        Address2                        Address3   Address4         City           State Zip
QUILES, JOSE R               121 STUART DR                                                                               FREEHOLD        NJ 07728
QUILES, MANUEL               2936 OAK RUN BLVD                                                                           KISSIMMEE       FL 34744‐5031
QUILES, MARTA                1104 LUCAYA CIRCLE                                                                          ORLANDO         FL 32824‐6201
QUILES, MARY A               517 SOUTH 61ST ST                                                                           MILWAUKEE       WI 53214
QUILES, MARY A               4040 S HOWELL AVE                                                                           MILWAUKEE       WI 53207‐4408
QUILES, NORBERTO             517 SOUTH 61ST STREET                                                                       MILWAUKEE       WI 53214‐1850
QUILES, ROBERT N             594 SALUS DR                                                                                WATERFORD       MI 48327‐1471
QUILICO, MARTHA EISKE        5139 HEIDI LN                                                                               SAGINAW         MI 48604‐9510
QUILL                        PO BOX 37600                                                                                PHILA           PA 19101
QUILL, ELIZABETH B           280 MIDDLE HOLLAND RD                                                                       HOLLAND         PA 18966
QUILL, MICHAEL J             1001 SHEFFIELD DR                                                                           WILMINGTON      NC 28411‐7077
QUILL, NAN M                 180 ELTON AVE                                                                               SYRACUSE        NY 13205‐3228
QUILLAN, RICKY T             7400 GALLOP TRL SE                                                                          CALEDONIA       MI 49316‐8187
QUILLEN JR, WILLIAM H        2110 J V LEDFORD RD                                                                         YOUNG HARRIS    GA 30582‐1939
QUILLEN MICHAEL K (480785)   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND       OH 44114
                                                             BOND COURT BUILDING
QUILLEN PAULE (411212)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510
                                                             STREET, SUITE 600
QUILLEN, ADAM F              28 N CRAWFORD ST                                                                            TROY           OH   45373‐3401
QUILLEN, ADAM F              28 N. CRAWFORD ST.                                                                          TROY           OH   45373‐3401
QUILLEN, CLARA M             1041 S LINCOLN                                                                              MT PLEASANT    MI   48858‐9042
QUILLEN, DONALD W            805 W 7TH ST                                                                                COLUMBIA       TN   38401‐3053
QUILLEN, DONNA V             6889 WEIDNER RD                                                                             SPRINGBORO     OH   45066‐7439
QUILLEN, ELIZA               16 ROGERS DR                                                                                GERMANTOWN     OH   45327‐5327
QUILLEN, ELIZABETH A         67 SUNSET DRIVE                                                                             SPRINGFIELD    OH   45504‐5903
QUILLEN, FRED L              1101 FOX CREEK CT                                                                           WOODSTOCK      GA   30189‐6895
QUILLEN, GARY R              6011 COVERED WAGONS TRL                                                                     FLINT          MI   48532‐2100
QUILLEN, GARY RAMON          6011 COVERED WAGONS TRL                                                                     FLINT          MI   48532‐2100
QUILLEN, GLENNA              PO BOX 63                       BOX 63                                                      JEREMIAH       KY   41826
QUILLEN, GLENNA              PO BOX 63                                                                                   JEREMIAH       KY   41826
QUILLEN, JACKIE              3421 CLEARVIEW AVE                                                                          MORAINE        OH   45439‐1111
QUILLEN, JAMES P             517 S HIGHAM ST                                                                             PEWAMO         MI   48873‐9797
QUILLEN, JEREMY E            71 CLEARVIEW LN                                                                             FRANKLIN       OH   45005
QUILLEN, JUNE F              4145 TIWA LN                                                                                TITUSVILLE     FL   32796‐2983
QUILLEN, LARONDA K           1304 COUNCIL CT                                                                             KOKOMO         IN   46902‐5422
QUILLEN, LILLIAN             1618 W BOGART RD                                                                            SANDUSKY       OH   44870‐5705
QUILLEN, LILLIAN             1618 W. BOGART RD.                                                                          SANDUSKY       OH   44870‐5705
QUILLEN, MARK E              6703 BILLINGS RD                                                                            CASTALIA       OH   44824‐9216
QUILLEN, MARTINA R.          137 W JACKSON BOX 640                                                                       GALVESTON      IN   46932
QUILLEN, MARVIN E            1034 BUD IKERD RD                                                                           BEDFORD        IN   47421‐7975
QUILLEN, MICHAEL K           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND      OH   44114
                                                             BOND COURT BUILDING
QUILLEN, MILDRED J           354 DOGWOOD LANE                                                                            JACKSBORO,     TN 37757‐2802
QUILLEN, MILDRED J           354 DOGWOOD LN                                                                              JACKSBORO      TN 37757‐2802
QUILLEN, PAUL E              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510‐2212
                                                             STREET, SUITE 600
QUILLEN, ROGER DWIGHT        MEGGESIN LAURIE J               3102 OAK LAWN AVE STE 1100                                  DALLAS         TX   75219‐4283
QUILLEN, STUART E            9666 MIAMISBURG‐SPRINGBORO                                                                  MIAMISBURG     OH   45342‐4762
QUILLEN, WILLARD K           3420 CLEARVIEW RD                                                                           DAYTON         OH   45439‐1112
QUILLEN,JACKIE               3421 CLEARVIEW AVE                                                                          MORAINE        OH   45439‐1111
QUILLER, MARIE               7449 S HALL ST                                                                              HOUSTON        TX   77028‐2327
QUILLER, PAMELA              APT 19                          686 GHOLSON AVENUE                                          CINCINNATI     OH   45229‐2361
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Name                          Address1                         Address2                      Address3   Address4                City             State Zip
QUILLIAM, WANDA               215 W WATER ST                                                                                    BORDEN            IN 47106‐8810
QUILLIAMS, JEANINE R          3405 MAYBERRY LN                                                                                  NORTHPORT         AL 35473
QUILLIAN WOOD JR              4761 ERICSON AVE.                                                                                 DAYTON            OH 45418‐1909
QUILLIE L MANGHAM             202 W FOSS AVE                                                                                    FLINT             MI 48505‐2085
QUILLIE MANGHAM               202 W FOSS AVE                                                                                    FLINT             MI 48505‐2085
QUILLIE MAXWELL               16850 WYOMING ST APT 233                                                                          DETROIT           MI 48221‐3414
QUILLIE STRONG                6128 STEM LN                                                                                      MOUNT MORRIS      MI 48458‐2654
QUILLIN'S AUTO SERVICE INC.   120 E ANN ST                                                                                      PUNTA GORDA       FL 33950‐6004
QUILLIN, BLAIN                1487 S CLARK RD                                                                                   DANSVILLE         MI 48819‐9603
QUILLIN, DAVID L              RR 1 BOX 88                                                                                       DEER CREEK        OK 74636‐9563
QUILLIN, DONNA G              12316 E 59TH TER                                                                                  KANSAS CITY       MO 64133‐4511
QUILLIN, DONNA G              12316 E 59 TERR                                                                                   KANSAS CITY       MO 64133‐4511
QUILLIN, GLENN B              339 NOTTINGHAM RD                                                                                 NOTTINGHAM        PA 19362
QUILLIN, HATTIE VIRGINIA      727 E. 60TH ST                   APT. #818                                                        CHICAGO            IL 60637‐2593
QUILLIN, HATTIE VIRGINIA      727 E 60TH ST APT 818                                                                             CHICAGO            IL 60637‐2593
QUILLIN, JAMES H              BOONE ALEXANDRA                  205 LINDA DR                                                     DAINGERFIELD      TX 75638‐2107
QUILLIN, JAMES L              2441 FLICKER PL                                                                                   MELBOURNE         FL 32904‐8014
QUILLIN, LESTER A             2629 POWERS AVE NW                                                                                GRAND RAPIDS      MI 49544‐1867
QUILLIN, RICHARD S            2618 KITCHENER ST SW                                                                              GRAND RAPIDS      MI 49519‐4575
QUILLINS, THOMAS              820 CLUB LN                                                                                       BELOIT            WI 53511‐2415
QUILLMAN, JOHN M              14 AUDUBON DR                                                                                     MONROE            LA 71203‐2703
QUILLMAN, SUSAN HUBKA         53 CEDAR CREEK DR                                                                                 CEDAR MOUNTAIN    NC 28718‐9021
QUILOGY                       PO BOX 1620                                                                                       SAINT CHARLES     MO 63302‐1620
QUILTER, DAVID J              1222 N FREER RD                                                                                   CHELSEA           MI 48118‐1106
QUILTILANT ALEXANDER          16769 EVERGREEN RD                                                                                DETROIT           MI 48219‐3306
QUILTY JOHN P (357512)        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510
                                                               STREET, SUITE 600
QUILTY, JOHN P                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA 23510‐2212
                                                               STREET, SUITE 600
QUILTY, SCOTT D               737 ROSELLA PLACE                                                                                 THE VILLAGES     FL   32162‐1610
QUILTY, WILLIAM J             737 ROSELLA PL                                                                                    THE VILLAGES     FL   32162‐1610
QUIMBY EUGENE                 1474 ELLSWORTH BAILEY RD SW                                                                       WARREN           OH   44481‐9770
QUIMBY JR, CHARLES S          2000 CR 801‐B                                                                                     CLEBURNE         TX   76031
QUIMBY JR, CHARLES SIDNEY     2000 CR 801‐B                                                                                     CLEBURNE         TX   76031
QUIMBY, CAROL A               2041 FERROL ST                                                                                    LANSING          MI   48910‐0362
QUIMBY, CHESTER L             166 S COLLEGE RD                                                                                  MASON            MI   48854‐9786
QUIMBY, DAVID L               128 DOLLENA AVE                                                                                   PRUDENVILLE      MI   48651‐9762
QUIMBY, DOUGLAS A             2176 WICKLOW CT                                                                                   DAVISON          MI   48423‐8391
QUIMBY, ESTHER M              14 CAROL AVE                                                                                      HIGDEN           AR   72067
QUIMBY, GEORGE J              14110 S DEWITT RD                                                                                 LANSING          MI   48906‐9213
QUIMBY, IRENE R               3321 CRESTON AVE.                                                                                 LANSING          MI   48906‐3108
QUIMBY, JEREMY D              434 MAYFIELD LN                                                                                   EATON RAPIDS     MI   48827‐8371
QUIMBY, MARY E                201 MALL DR S APT 100                                                                             LANSING          MI   48917‐3272
QUIMBY, MARY E                201 MALL DR                      APT 100                                                          LANSING          MI   48917
QUIMBY, RANDY W               2372 9 MILE RD NW                                                                                 GRAND RAPIDS     MI   49544‐9729
QUIMBY, TERRY L               6136 E PRICE RD                                                                                   SAINT JOHNS      MI   48879‐9140
QUIMBY, TEX‐ANN S             2000 COUNTY ROAD 801B                                                                             CLEBURNE         TX   76031‐8120
QUIMBY, WAYNE R               301 DOUGLAS AVE                                                                                   LANSING          MI   48906‐4125
QUIMMCO SA DE CV              AV ROBLE 701 TORRE QUIMMCO                                                GARZA GARCIA NL 66250   GARZA GARCIA     NL   66250
                                                                                                        MEXICO
QUIMPER, MARY                 3857 OLIVE ST                                                                                     SAGINAW          MI 48601‐5542
QUIN GALBRAITH                2166 DR. ROBERTSON RD.                                                                            SPRING HILL      TN 37174
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Name                          Address1                         Address2                   Address3          Address4              City              State Zip
QUIN OGLETREE                 1531 W SPARROW RD                                                                                   SPRINGFIELD        OH 45502‐8758
QUIN SEKULICH(COACH)          3208 MCPHADDEN PL SW                                                          EDMONTON AB T6W 1L1
                                                                                                            CANADA
QUIN, ERNEST C                216 CHEROKEE RD                                                                                     PONTIAC           MI   48341‐2004
QUIN, FLORA                   4901 VINEWOOD ST                                                                                    DETROIT           MI   48208‐1887
QUIN, FLORA                   4901 VINEWOOD                                                                                       DETROIT           MI   48208‐1887
QUIN, JOYCE L                 178 CHARLES LN                                                                                      PONTIAC           MI   48341‐2927
QUIN, MAGGIE                  GORI JULIAN & ASSOCIATES P C     156 N MAIN ST                                                      EDWARDSVILLE      IL   62025
QUIN‐JEFFERSON, MAE O         5975 DOMINE ST.                                                                                     DETROIT           MI   48211‐1513
QUIN‐JEFFERSON, MAE O         5975 DOMINE ST                   20413 ANGLIN ST                                                    DETROIT           MI   48234‐1459
QUINAL, MANUELA A             28655 WALKER AVE                                                                                    WARREN            MI   48092‐4153
QUINANOLA, JAMES B            2207 STONE RIDGE CIRCLE                                                                             BEREA             OH   44017‐3105
QUINANOLA, RENAE M            27225 LYNDE DRIVE                                                                                   OLMSTED FALLS     OH   44138‐1760
QUINANOLA, RENAE M            27225 LYNDE DR                                                                                      OLMSTED FALLS     OH   44138‐1760
QUINBY SCHWITZERLETT          83 BLACK RIVER RD                                                                                   MYRTLE BEACH      SC   29588‐7468
QUINBY, CHARLES E             PO BOX 181                                                                                          WASHINGTONVLE     OH   44490‐0181
QUINBY, HARRY D               3825 HELSEY FUSSELMAN RD                                                                            SOUTHINGTON       OH   44470‐9764
QUINBY, HEATHER M             155 STEWART AVE NW                                                                                  WARREN            OH   44483‐2043
QUINBY, KEVIN C               155 STEWART AVE NW                                                                                  WARREN            OH   44483
QUINBY, MARK C                5133 ALVA AVE NW                                                                                    WARREN            OH   44483‐1209
QUINCE H ANDERSON             NIX, PATTERSON & ROACH, LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                         DAINGERFIELD      TX   75638
QUINCE JACKSON                291 MONTEREY ST                                                                                     HIGHLAND PARK     MI   48203‐3421
QUINCE JR, LEE K              489 PEARSALL AVE                                                                                    PONTIAC           MI   48341‐2660
QUINCE, BETTY J               274 EARLMORE                                                                                        PONTIAC           MI   48341‐2748
QUINCE, BEVERLY A             1857 LUDGATE LN                                                                                     ROCHESTER HILLS   MI   48309‐2965
QUINCE, CARLOS A              373 TROY DEL WAY                                                                                    WILLIAMSVILLE     NY   14221‐3333
QUINCE, CARLOS T              221 SWEET BRIAR RD                                                                                  TONAWANDA         NY   14150‐7538
QUINCE, CARLTON L             210 OGEMAW RD                                                                                       PONTIAC           MI   48341‐1148
QUINCE, DOROTHY A             19 HARRIS ST                                                                                        PONTIAC           MI   48341‐2179
QUINCE, ERNEST K              24900 GLENBROOKE DR                                                                                 SOUTHFIELD        MI   48033‐2515
QUINCE, HARVEY L              20466 MARLOWE ST                                                                                    DETROIT           MI   48235‐1645
QUINCE, JERRY L               756 2ND AVE                                                                                         PONTIAC           MI   48340‐2837
QUINCE, JOHN H                456 HARVEY AVE                                                                                      PONTIAC           MI   48341‐2824
QUINCE, JUDY L                576 HOWLAND AVE                                                                                     PONTIAC           MI   48341‐2766
QUINCE, LOIS                  489 PEARSALL                                                                                        PONTIAC           MI   48341‐2660
QUINCE, LOIS                  489 PEARSALL AVE                                                                                    PONTIAC           MI   48341‐2660
QUINCE, TAJUANA G             44 VISTA CIR                                                                                        NORTH OLMSTED     OH   44070‐5704
QUINCE, VICTOR R              24900 GLENBROOKE DR                                                                                 SOUTHFIELD        MI   48033‐2515
QUINCE‐GREENHOUSE, AUDREY E   PO BOX 430564                                                                                       PONTIAC           MI   48343‐0564
QUINCEL, ALBERT H             2335 PARK RIDGE CT                                                                                  GROVE CITY        OH   43123‐1818
QUINCEY N GILLEY              330 LANCER                                                                                          NEW CARLISLE      OH   45344
QUINCEY, LOIS L               140 DIXON AVE                                                                                       BIRMINGHAM        AL   35209‐5102
QUINCI E PAGE                 2623 WYOMING ST                                                                                     SAINT LOUIS       MO   63118‐2401
QUINCIOLA HARVEY              10221 VISCOUNT DR                                                                                   SAINT LOUIS       MO   63136‐5639
QUINCY A WILLIAMS             7412 BERGERAC CT #A                                                                                 CENTERVILLE       OH   45459
QUINCY COLE                   43 HARRISON DR                                                                                      DALEVILLE         AL   36322‐4841
QUINCY COLLEGE                BUSINESS OFFICE                  34 CODDINGTON ST                                                   QUINCY            MA   02169‐4501
QUINCY E DUNN                 PO BOX 320795                                                                                       FLINT             MI   48532‐0014
QUINCY E LONG                 5089 CRAINS RUN RD.                                                                                 MIAMISBURG        OH   45342
QUINCY GAMBLE                 6429 BRIARCLIFF DR                                                                                  BELLEVILLE        MI   48111‐5156
QUINCY GRIT 90967
QUINCY GRIT 91498
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Name                            Address1                           Address2              Address3     Address4              City               State Zip
QUINCY HAYES                    PO BOX 430635                                                                               PONTIAC             MI 48343‐0635
QUINCY HILLERY                  2062 DARTMOTH WAY                                                                           VILLA RICA          GA 30180‐5860
QUINCY HODGE                    1020 WHITEWATER TRL                                                                         DESOTO              TX 75115‐1408
QUINCY HOGAN                    815 IMANI CIR                                                                               TOLEDO              OH 43604‐8425
QUINCY INDS INC ‐ ASGMT ‐ CPC   NO ADVERSE PARTY
QUINCY J JOHNSON                2516 MALVERN AVE                                                                            DAYTON             OH   45406
QUINCY JUSTICE                  1254 BETHEL ROAD                                                                            PULASKI            TN   38478‐6228
QUINCY L COTTON                 116 ALLEN                                                                                   GADSDEN            AL   35903
QUINCY L JONES                  405 CHANDLER ST                                                                             DETROIT            MI   48202‐2828
QUINCY L TELLIS                 3815 MONROE AVE                                                                             DAYTON             OH   45416‐1911
QUINCY MOORE                    2542 RHAPSODY LN                                                                            FLORISSANT         MO   63031‐1923
QUINCY R&R REALTY TRUST         50 ADAMS ST                                                                                 QUINCY             MA   02169‐2002
QUINCY SCOTT                    214 E 10TH ST                                                                               GEORGETOWN         IL   61846‐1103
QUINCY T WYATT JR               5055 PENSACOLA BLVD                                                                         MORAINE            OH   45439‐2940
QUINCY WYATT JR                 5055 PENSACOLA BLVD                                                                         MORAINE            OH   45439‐2940
QUINCY, ALVINA G                25386 POTOMAC DR                                                                            SOUTH LYON         MI   48178‐1084
QUINCY, KENNETH A               3611 NORTHFIELD RD                                                                          DAYTON             OH   45415
QUINCY, KENNETH A               523 SALEM AVE                                                                               DAYTON             OH   45406‐5817
QUINCY, RICHARD J               1300 CANOPY WALK LN APT 1325                                                                PALM COAST         FL   32137‐6529
QUINCY, ROBERT H                11911 66TH ST LOT 120                                                                       LARGO              FL   33773
QUINDEN MARKETING LTD           1403‐909 BURRAND STREET                                               VANCOUVER CANADA BC
                                                                                                      V6Z 2N2 CANADA
QUINDLEN, STEPHEN K             1110 JANICE DR                                                                              NEWARK             DE   19713‐2353
QUINDLEN, STEPHEN P             5 BLACK WILLOW CT                                                                           WILMINGTON         DE   19808‐1146
QUINE, G W                      1493 MERRY RD                                                                               WATERFORD          MI   48328‐1242
QUINE, MARGARET J               6940 DEADSTREAM ROAD                                                                        HONOR              MI   49640‐9799
QUINE, R W                      136 LEONARD ST                                                                              GLOUCESTER         MA   01930
QUINE, TIMOTHY J                10982 E. COUNTY LINE RD.                                                                    BANNISTER          MI   48807
QUINELL, SALLY P                PO BOX 58                                                                                   HELENA             NY   13649‐0058
QUINEY, FRANCES K               21931 KARR RD BOX#37                                                                        BELLEVILLE         MI   48111
QUINEY, ISAAC                   16725 AVON AVE                                                                              DETROIT            MI   48219‐4119
QUINIAN, GEORGE                 VARAS & MORGAN                     PO BOX 886                                               HAZLEHURST         MS   39083‐0886
QUINLAN DESIREE D               QUINLAN, DESIREE D                 641A N YORK ST                                           ELMHURST           IL   60126‐1604
QUINLAN JAMES F SR (423897)     ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                      NEW YORK           NY   10006‐1638
QUINLAN LUMBER CO               2470 E BRISTOL RD                                                                           BURTON             MI   48529‐1325
QUINLAN MIRACLE                 16124 HIGHWAY 987 BROWNIES CRK                                                              MIRACLE            KY   40856‐8978
QUINLAN MOTORS, INC.            THOMAS BLAKE                       4301 CLINTON HWY                                         KNOXVILLE          TN   37912‐5625
QUINLAN PACKAGING               2470 E BRISTOL RD                                                                           FLINT              MI   48529‐1325
QUINLAN PACKAGING CO            2470 E BRISTOL RD                                                                           BURTON             MI   48529‐1325
QUINLAN PAT                     11351 BIG LAKE RD                                                                           DAVISBURG          MI   48350‐3501
QUINLAN'S EQUIPMENT INC         MR JOHN QUINLAN                    1030 S SUPERIOR ST    PO BOX 459                         ANTIGO             WI   54409
QUINLAN'S EQUIPMENT, INC.       1030 S SUPERIOR ST                                                                          ANTIGO             WI   54409‐2828
QUINLAN'S EQUIPMENT, INC.       JOHN QUINLAN                       1030 S SUPERIOR ST                                       ANTIGO             WI   54409‐2828
QUINLAN, ADAM J                 66 MEADOW LN                                                                                ITHACA             MI   48847‐1846
QUINLAN, ANTHONY A              11724 STECKERT BRIDGE RD BOX 519                                                            ROSCOMMON          MI   48653
QUINLAN, BARBARA                G3475 CAMDEN AVE                                                                            BURTON             MI   48529
QUINLAN, BERNADINE P            34574 MAPLE LANE DR                                                                         STERLING HEIGHTS   MI   48312‐5213
QUINLAN, BRYON J                7660 PONTIAC LAKE RD                                                                        WHITE LAKE         MI   48386‐1333
QUINLAN, CHAD                   3201 CARDIFF CT                                                                             LANSING            MI   48911‐1509
QUINLAN, DAVID J                9235 FAIRVIEW RD                                                                            WILLIAMSBURG       MI   49690‐9778
QUINLAN, DORA V                 510 DISCO LOOP ROAD                                                                         FRIENDSVILLE       TN   37737‐2232
QUINLAN, HAROLD P               2447 NORTH HADLEY RT #1                                                                     LAPEER             MI   48446
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Name                             Address1                        Address2                          Address3   Address4         City                 State Zip
QUINLAN, JAMES                   ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                           NEW YORK              NY 10006‐1638
QUINLAN, JANET M                 10343 E BLUE LAKE DR                                                                          MECOSTA               MI 49332‐9405
QUINLAN, JOHN A                  4180 S 82ND RD                                                                                BOLIVAR               MO 65613
QUINLAN, JOHN K                  2757 PEBBLE BEACH DR                                                                          OAKLAND               MI 48363‐2452
QUINLAN, JOHN M                  149 LAKE CLIFF DRIVE                                                                          ERIE                  PA 16511‐1241
QUINLAN, KAREN J                 167 SCANLON RD                                                                                MOORESVILLE           NC 28115‐6779
QUINLAN, LORETTA M               703 LAFAYETTE ST.                                                                             NILES                 OH 44446‐3118
QUINLAN, LORETTA M               703 LAFAYETTE AVE                                                                             NILES                 OH 44446‐3118
QUINLAN, LORI B                  CONSUMER LEGAL SERVICES PC      649 N YORK ST                                                 ELMHURST               IL 60126‐1604
QUINLAN, MARGARET A              5162 OLD FRANKLIN RD                                                                          GRAND BLANC           MI 48439‐8629
QUINLAN, MERRILYN O              2335 PLEASANT VIEW DR                                                                         ROCHESTER HILLS       MI 48306‐3146
QUINLAN, MICHAEL D               7555 S OLD 27                                                                                 GRAYLING              MI 49738‐7378
QUINLAN, MICHAEL J               3479 FARNSWORTH RD                                                                            LAPEER                MI 48446‐8740
QUINLAN, MICHAEL L               1264 GRAM ST                                                                                  BURTON                MI 48529‐2022
QUINLAN, MICHAEL R               20824 SAINT GERTRUDE ST                                                                       SAINT CLAIR SHORES    MI 48081‐1127
QUINLAN, PAMELA                  2 STRAWBERRY LN                                                                               NORTH READING         MA 01864‐2446
QUINLAN, PATRICK C               11351 BIG LAKE RD                                                                             DAVISBURG             MI 48350‐3501
QUINLAN, PATRICK J               8400 THORNTREE DR                                                                             GROSSE ILE            MI 48138‐1516
QUINLAN, PETER D                 58 NATURE VIEW DR                                                                             UXBRIDGE              MA 01569‐1559
QUINLAN, RAYMOND                 GUY WILLIAM S                   PO BOX 509                                                    MCCOMB                MS 39649‐0509
QUINLAN, RAYMOND A               22684 BAYVIEW DR                                                                              ST CLR SHORES         MI 48081‐2447
QUINLAN, ROBERT J                5058 CHURCHILL RD                                                                             BROWN CITY            MI 48416‐9413
QUINLAN, ROSILA                  11301 N 99TH AVE RM 206‐1                                                                     PEORIA                AZ 85345
QUINLAN, SCOTT                   9270 BRUCE ROAD                                                                               DECATUR                IL 62526‐8424
QUINLAN, SCOTT                   9270 BRUCE RD                                                                                 DECATUR                IL 62526‐8424
QUINLAN, THOMAS J                1203 E PIERCE RD                                                                              ITHACA                MI 48847‐9407
QUINLAN, THOMAS JOSEPH           1203 E PIERCE RD                                                                              ITHACA                MI 48847‐9407
QUINLAN, THOMAS R                16061 DORT ST                                                                                 ROSEVILLE             MI 48066‐3785
QUINLAN, WM S                    P O BOX 85152 MB‐275                                                                          SAN DIEGO             CA 92186
QUINLEY AVRIL                    QUINLEY, AVRIL                  1700 PLEASURE HOUSE RD STE 102A                               VIRGINIA BEACH        VA 23455‐4062

QUINLEY AVRIL                    QUINLEY, BETSY                  1700 PLEASURE HOUSE RD STE 102A                               VIRGINIA BEACH       VA 23455‐4062

QUINLIVAN, DENNIS J              1011 FELTL CT APT 702                                                                         HOPKINS              MN   55343‐3911
QUINLIVAN, LOIS J                14843 BROOKFIELD ST                                                                           LIVONIA              MI   48154‐3001
QUINLIVEN, CLARA A               1712 DIXIE HWY 256                                                                            CRETE                IL   60417‐3949
QUINLIVEN, CLARA A               1712 S DIXIE HWY TRLR 256                                                                     CRETE                IL   60417‐3949
QUINN APRIL                      QUINN, APRIL                    180 MONTGOMERY ST STE 2200                                    SAN FRANCISCO        CA   94104‐4210
QUINN BRIAN                      4449 EAST WELDON AVENUE                                                                       PHOENIX              AZ   85018‐6055
QUINN BUSECK LERMAUIS TOONEY &   2222 W GRANDVIEW BLVD                                                                         ERIE                 PA   16506‐4508
KROTO INC
QUINN CARL (440815)              GEORGE & SIPES                  151 N DELAWARE ST STE 1700                                    INDIANAPOLIS         IN   46204‐2503
QUINN CHEVROLET 2D ACTION        QUINN CHEVROLET BUICK INC       1406 W 6TH ST STE 400                                         CLEVELAND            OH   44113‐1300
QUINN CHEVROLET BUICK INC        1406 W 6TH ST STE 400                                                                         CLEVELAND            OH   44113‐1300
QUINN CHEVROLET BUICK INC        QUINN, RICHARD                  1406 W 6TH ST STE 400                                         CLEVELAND            OH   44113‐1300
QUINN CHEVROLET BUICK INC        MORGANSTERN MACADAMS & DEVITO   BURGESS BLDG, STE 400, 1406 W                                 CLEVELAND            OH   44113‐1300
                                 COMPANY LPA                     SIXTH ST
QUINN CHEVROLET BUICK INC        114 S JEFFERSON ST                                                                            LISBON               OH   44432‐1404
QUINN CHEVROLET BUICK, INC.      114 S JEFFERSON ST                                                                            LISBON               OH   44432‐1404
QUINN CHEVROLET BUICK, INC.      RICHARD QUINN                   114 S JEFFERSON ST                                            LISBON               OH   44432‐1404
QUINN EDWARD                     QUINN, EDWARD                   29129 JOHNSTON ROAD P.O. BOX                                  DADE CITY            FL   33523
                                                                 910
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Name                                Address1                          Address2                           Address3   Address4         City               State Zip
QUINN EMANUEL URQUHART OLIVER &     555 TWIN DOLPHIN DR STE 560                                                                      REDWOOD CITY        CA 94065‐2138
HEDGES LLP
QUINN JAMES (493088)                ANGELOS PETER G                   100 N CHARLES STREET , ONE                                     BALTIMORE          MD 21201
                                                                      CHARLES CENTER
QUINN JOHN B (407517)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
QUINN JOHN FRANCIS (439423)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                      STREET, SUITE 600
QUINN JOHNSTON HENDERSON &          227 NE JEFFERSON AVE                                                                             PEORIA              IL   61602‐1211
PRETORIUS CHARTERED
QUINN JR, JAMES                     451 E 123RD ST                                                                                   CLEVELAND          OH    44108‐1869
QUINN JR, JAMES F                   306 W HERR ST                                                                                    ENGLEWOOD          OH    45322‐1220
QUINN JR, JARLATH                   2436 CEDAR KEY DR                                                                                LAKE ORION         MI    48360‐1822
QUINN JR, JOHN J                    GM CORP 3‐220 (DUBAI)                                                                            DETROIT            MI    48202
QUINN JR, PADAY T                   765 ROLLING HILLS LN APT 1                                                                       LAPEER             MI    48446‐4760
QUINN JR, THOMAS P                  67 WESTWOOD RD                                                                                   LANCASTER          NY    14086‐9522
QUINN JR., GERALD P                 24890 WILMOT AVE                                                                                 EASTPOINTE         MI    48021‐1354
QUINN KEVIN                         1053 LINCOLN DR                                                                                  BRIGHTON           MI    48116‐3793
QUINN LAW GROUP PLLC                39555 ORCHARD HILL PL STE 520                                                                    NOVI               MI    48375‐5526
QUINN LLOYD M (344450)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA    23510
                                                                      STREET, SUITE 600
QUINN MAGGIE (ESTATE OF) (653324)   GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                     EDWARDSVILLE        IL   62025‐0959
                                    ANTOGNOLI
QUINN MARGARET                      QUINN, MARGARET                   7825 FAY AVE STE 200                                           LA JOLLA           CA    92037‐4270
QUINN MATT                          2610 PEREGRINE LOOP                                                                              MISSOULA           MT    59808‐5814
QUINN MITCHELL                      QUINN, MITCHELL                   108 E 5TH ST                                                   ROYAL OAK          MI    48067‐2608
QUINN MOTORS OF ELLSWORTH, INC.     405 W MAIN ST                                                                                    ELLSWORTH          WI    54011
QUINN MOTORS OF ELLSWORTH, INC.     MEGHAN QUINN KUMMER               405 W MAIN ST                                                  ELLSWORTH          WI    54011
QUINN ROBERT PAUL                   321 N SHIPWRECK AVE                                                                              PONTE VEDRA        FL    32081‐5003
QUINN SANDY (491283)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD         OH    44067
                                                                      PROFESSIONAL BLDG
QUINN SR, DONALD M                  4507 SHERMAN RD                                                                                  SAGINAW            MI    48604‐1549
QUINN THOMAS                        QUINN, THOMAS                     P.O. BOX 21169                                                 ROANOKE            VA    24018
QUINN WILLARD                       BUNCH, DONNA                      PO BOX 1124                                                    SOMERSET           KY    42502‐1124
QUINN WILLARD                       BUNCH, DONNA                      116 WEST MAIN STREET P O BOX 726                               RICHMOND           KY    40476

QUINN WILLARD                       QUINN, JUSTIN                     PO BOX 1124                                                    SOMERSET           KY    42502‐1124
QUINN WILLARD                       QUINN, WILLARD                    CHASE BANK BUILDING, SUITE 2A                                  RICHMOND           KY    40476
QUINN WILLIS O                      FELDER, MARY                      PO BOX 428                                                     CLARKSDALE         MS    38614‐0428
QUINN WILLIS O                      QUINN, WILLIS O                   PO BOX 428                                                     CLARKSDALE         MS    38614‐0428
QUINN WILLIS O                      TOBIAS, CAROLYN QUINN             PO BOX 428                                                     CLARKSDALE         MS    38614‐0428
QUINN WILLIS O                      TOBIAS, CAROLYN QUINN             PO BOX 16570                                                   JACKSON            MS    39236‐6570
QUINN WILLIS O                      CHAPMAN LEWIS & SWAN              P O BOX 428                                                    CLARKSDALE         MS    38614‐0428
QUINN, AARON J                      3261 KATIE LN                                                                                    MILFORD            MI    48380‐2020
QUINN, ADRIAN W                     8 CANDY LN                                                                                       MERRIMACK          NH    03054‐3904
QUINN, AGNES E                      STONERIDGE WEST                   41000 WOODWARS AVENUE                                          BLOOMFIELD HILLS   MI    48304
QUINN, ALAN T                       13838 BUCKSKIN TRAIL DR                                                                          CORONA             CA    92883‐6609
QUINN, ALICE L                      9190 WOODRIDGE DR                                                                                DAVISON            MI    48423‐8392
QUINN, ALTA C                       8517 MAPLE RD                                                                                    CLAY               NY    13041‐8904
QUINN, ANITA L                      10431 CHICKAGAMI TRAIL                                                                           BRUTUS             MI    49716‐9595
QUINN, ANITA L                      1746 DUTCHESS LOOP                                                                               THE VILLAGES       FL    32162‐2330
QUINN, ANN L                        3544 MELDRUM RD                                                                                  CASCO              MI    48064‐1902
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Name                     Address1                        Address2                     Address3   Address4         City               State Zip
QUINN, ANN Y             APT 209                         36430 VAN DYKE AVENUE                                    STERLING HTS        MI 48312‐2751
QUINN, ANN Y             36430 VAN DYKE AVENUE           APT #209                                                 STERLING HEIGHTS    MI 48312
QUINN, ANNIE B           784 W MAPLE AVE APT C                                                                    ADRIAN              MI 49221‐1664
QUINN, ANNIE T           33118 SANDPIPER COURT                                                                    NORTH RIDGEVILLE    OH 44039‐6316
QUINN, ANTHONY J         3300 NW JEFFERSON ST                                                                     BLUE SPRINGS        MO 64015‐7263
QUINN, ANTHONY JOSEPH    3300 NW JEFFERSON ST                                                                     BLUE SPRINGS        MO 64015‐7263
QUINN, APRIL             GROSS & BELSKY LLP              180 MONTGOMERY ST STE 2200                               SAN FRANCISCO       CA 94104‐4210
QUINN, ARCHIE L          PO BOX 255                                                                               FORISTELL           MO 63348‐0255
QUINN, ARLENE M          1301 WYNFIELD AVE                                                                        BRISTOL             PA 19007‐2548
QUINN, AUSTIN G          1806 VINTON RD                                                                           ROYAL OAK           MI 48067‐1033
QUINN, BARBARA G         30 SPRINGBROOK CIR                                                                       ROCHESTER           NY 14606‐4628
QUINN, BARBARA J         15651 NOLA CIR                                                                           LIVONIA             MI 48154‐1527
QUINN, BERNICE           2362 S 74TH ST                                                                           WEST ALLIS          WI 53219‐1839
QUINN, BERT E            36645 CHATHAM CT                                                                         CLINTON TWP         MI 48035‐1115
QUINN, BETTE S           1481 MARBACH DR APT 104                                                                  WASHINGTON          MO 63090‐4637
QUINN, BIRDEAN           1026 UNDERWOOD AVE SE                                                                    GRAND RAPIDS        MI 49506‐3262
QUINN, BRIAN W           660 BAKER ST                                                                             ROCHESTER HILLS     MI 48307‐4200
QUINN, BRIAN W           48226 REVERE DR                                                                          MACOMB              MI 48044‐5014
QUINN, BRONIE L          2632 PLANO RD                                                                            BOWLING GREEN       KY 42104
QUINN, CARL              GEORGE & SIPES                  151 N DELAWARE ST STE 1700                               INDIANAPOLIS        IN 46204‐2503
QUINN, CARL L            8 EDWARDSPORT ROAD                                                                       WASHINGTON          IN 47501‐1013
QUINN, CAROLE M          34695 BRIDGE ST                                                                          LIVONIA             MI 48152‐1147
QUINN, CAROLYN           PO BOX 546                                                                               SUMMIT              MS 39666
QUINN, CHARLES R         17 SYLVAN AVE                                                                            PLEASANT RIDGE      MI 48069‐1235
QUINN, COLLEEN C         4042 BROOKSTONE CT                                                                       HOWELL              MI 48843‐7509
QUINN, COLLEEN CENCICH   4042 BROOKSTONE CT                                                                       HOWELL              MI 48843‐7509
QUINN, CONSTANCE J       12533 S YOUNGS PL                                                                        OKLAHOMA CITY       OK 73170‐3409
QUINN, DANIEL J          6147 COLONIAL STREET                                                                     DEARBORN HTS        MI 48127‐3103
QUINN, DANIEL P          815 MALZAHN ST                                                                           SAGINAW             MI 48602‐2936
QUINN, DANIEL P.         PO BOX 106                                                                               IRVING              NY 14081‐0106
QUINN, DENNIS J          120 FOREST LAKE BLVD APT 607                                                             DAYTONA BEACH       FL 32119
QUINN, DOLORES D         PO BOX 217                                                                               FOOTVILLE           WI 53537‐0217
QUINN, DONNA L           14 IVY LN                                                                                WETHERSFIELD        CT 06109‐2515
QUINN, DORIS ANN         806 FREMONT ST APT B                                                                     ELKHART             IN 46516‐2171
QUINN, DOROTHY           6147 COLONIAL STREET                                                                     DEARBORN HTS        MI 48127‐3103
QUINN, DOROTHY B         4695 WOODS EDGE DRIVE                                                                    ZIONSVILLE          IN 46077
QUINN, DOROTHY M         709 BERRY ST                                                                             MARTINSBURG         WV 25401‐1712
QUINN, DOUGLAS M         9315 FRANCES RD                                                                          OTISVILLE           MI 48463‐9460
QUINN, DWIGHT O          1682 ELMHURST ST                                                                         DETROIT             MI 48206‐1335
QUINN, DWIGHT P          7 VALLEY VIEW HICKORY HILLS                                                              BLUE GRASS           IA 52726
QUINN, EDWARD            PO BOX 910                                                                               DADE CITY           FL 33526‐0910
QUINN, EDWARD            2044 LA BELLE ST                                                                         DETROIT             MI 48238‐2942
QUINN, EDWARD H          26 COURT ST STE 502                                                                      BROOKLYN            NY 11242‐1105
QUINN, EDWARD J          5390 CLYDESDALE LN                                                                       SAGINAW             MI 48603‐2824
QUINN, EDWARD J          5926 HILLCREST DR                                                                        HARRISON            TN 37341‐5946
QUINN, ELISHA E          SHANNON LAW FIRM                100 W GALLATIN ST                                        HAZLEHURST          MS 39083‐3007
QUINN, ELIZABETH E       PO BOX 118                                                                               CAMDEN              IN 46917‐0118
QUINN, ELIZABETH M       1776 EAST 650 NORTH                                                                      ALEXANDRIA          IN 46001‐8630
QUINN, ELIZABETH Q       6049 JEANETTE                                                                            HASLETT             MI 48840‐8240
QUINN, ERIN J            3173 BARKSIDE CT                                                                         ATLANTA             GA 30341‐4201
QUINN, ERIN JOSEPH       3173 BARKSIDE CT                                                                         ATLANTA             GA 30341‐4201
QUINN, ESSIE M           14902 KENTFIELD                                                                          DETROIT             MI 48223‐2165
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Name                   Address1                        Address2                      Address3   Address4         City            State Zip
QUINN, FRANCIS J       4602 NORTHERN CIR                                                                         DAYTON           OH 45424‐5735
QUINN, FREDERICK       6902 MOHICAN LN                                                                           WESTLAND         MI 48185‐2811
QUINN, GEARY A         2926 SW 25TH ST                                                                           CAPE CORAL       FL 33914‐3803
QUINN, GENEVA          634 ALTON AVE                                                                             PONTIAC          MI 48341‐2608
QUINN, GEORGE M        1340 KANTERBURY LN                                                                        MOORESVILLE      IN 46158‐2002
QUINN, GEORGE O        15826 KENTUCKY ST                                                                         DETROIT          MI 48238‐1130
QUINN, GERALD F        4949 LONE RD                                                                              FREELAND         MI 48623‐9276
QUINN, GERALD J        4299 BUCKEYE CT                                                                           FARWELL          MI 48622‐8733
QUINN, GERALD R        PO BOX 118                                                                                HARLAN           IN 46743‐0118
QUINN, GORDON J        6320 COULSON CT                                                                           LANSING          MI 48911‐5630
QUINN, GRACE C         1234 S CO RD 820 W                                                                        RUSSIAVILLE      IN 46979
QUINN, HAL M           6515 BELINDER AVE                                                                         MISSION HILLS    KS 66208‐1960
QUINN, HAROLD L        4806 HAMILTON AVE APT 2B                                                                  BALTIMORE        MD 21206‐3880
QUINN, HARRIE H        217 DECCA DR                                                                              WHITE LAKE       MI 48386‐2123
QUINN, HARRIETT L      1717 BELLEVUE AVE APT A219                                                                RICHMOND         VA 23227‐5156
QUINN, HEIDI ANN       9473 PATRICIA DR                                                                          OTISVILLE        MI 48463‐9401
QUINN, HENRY J         1227 WILDWOOD WAY                                                                         CHASKA           MN 55318‐9735
QUINN, HOWARD L        4042 WYNDHAM COURT                                                                        GRAND RAPIDS     MI 49544
QUINN, HUGH E          1696 DURANGO DR                                                                           DEFIANCE         OH 43512‐4025
QUINN, HUGH EDWARD     1696 DURANGO DR                                                                           DEFIANCE         OH 43512‐4025
QUINN, IRVING J        444 DELMAR PL                                                                             SYRACUSE         NY 13208‐3107
QUINN, IVAN M          10019 WALNUT SHORES DR                                                                    FENTON           MI 48430‐2435
QUINN, JACQUELYNNE M   9031 DEER CREEK RD                                                                        GREENTOWN        IN 46936‐9622
QUINN, JACQUILINE      8206 WOODVIEW RD                                                                          CLARKSTON        MI 48348‐4058
QUINN, JACQUILINE A    8206 WOODVIEW RD                                                                          CLARKSTON        MI 48348‐4058
QUINN, JAMES           ANGELOS PETER G                 100 N CHARLES STREET, ONE                                 BALTIMORE        MD 21201‐3812
                                                       CHARLES CENTER
QUINN, JAMES E         664 1/2 CHESTNUT STREET EXT                                                               LEETONIA        OH   44431‐9703
QUINN, JAMES E         140 MULBERRY RD                                                                           CHESTERFIELD    IN   46017‐1719
QUINN, JAMES F         6883 EMERALD SHORES DR                                                                    TROY            MI   48085‐1439
QUINN, JAMES H         3095 NORTH 375 EAST                                                                       ANDERSON        IN   46012‐9428
QUINN, JAMES K         507 FLINT ST                                                                              ROCHESTER       NY   14611‐3605
QUINN, JAMES M         1036 WABASH AVE                                                                           GRAFTON         OH   44044‐1334
QUINN, JAMES M         6849 CORDOBA                                                                              ALANSON         MI   49705‐8217
QUINN, JAMES P         312 WOLF CREEK WAY                                                                        ROUND ROCK      TX   78664‐4068
QUINN, JAMES R         10 HEMLOCK RADIAL PASS                                                                    OCALA           FL   34472‐6192
QUINN, JAMES T         15 CEDAR RUN LN APT 7                                                                     LAKE ST LOUIS   MO   63367‐2718
QUINN, JAMES T         3210 VICTOR LN                                                                            FORT WAYNE      IN   46818‐1665
QUINN, JANICE P        2613 BISHOP RD                                                                            APPLETON        NY   14008‐9626
QUINN, JEFFREY A       2613 BISHOP RD                                                                            APPLETON        NY   14008‐9626
QUINN, JEFFREY L       3764 EAST GLENWOOD DRIVE                                                                  MARTINSVILLE    IN   46151‐6161
QUINN, JENNIFER S      21 MEDINA LN                                                                              INDIANAPOLIS    IN   46227‐9408
QUINN, JESSE J         675 BUCKLEY WAY                                                                           AURORA          CO   80011‐4534
QUINN, JIMMY D         PO BOX 445                                                                                HOLLAND         TX   76534‐0445
QUINN, JOALENN M       4677 BAYBERRY LN                                                                          ZIONSVILLE      IN   46077‐9345
QUINN, JOE L           6071 HOLLADAY ROAD                                                                        HOLLADAY        TN   38341
QUINN, JOHN B          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
QUINN, JOHN D          2915 MONROE ST                                                                            BELLWOOD        IL 60104‐2239
QUINN, JOHN D          PO BOX 63                                                                                 SPRUCE PINE     AL 35585‐0063
QUINN, JOHN FRANCIS    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                       STREET, SUITE 600
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Name                   Address1                       Address2                      Address3   Address4         City                 State Zip
QUINN, JOHN J          425 WALNUT AVE                                                                           ALDAN                 PA 19018‐4224
QUINN, JOHN J          4677 BAYBERRY LN                                                                         ZIONSVILLE            IN 46077‐9345
QUINN, JOHN J          66815 DEQUINDRE ROAD                                                                     WASHINGTON            MI 48095‐1619
QUINN, JOHN J          822 ORION DR                                                                             FRANKLIN              IN 46131‐7387
QUINN, JOHN L          2417 BLARNEY DR                                                                          DAVISON               MI 48423‐9503
QUINN, JOHN R          PO BOX 963                                                                               ADRIAN                MI 49221‐0963
QUINN, JOHN R          1505 STILLMAN RD                                                                         MASON                 MI 48854‐9432
QUINN, JOHN S          113 BELMONT AVE                                                                          WILMINGTON            DE 19804‐1552
QUINN, JOHN W          E3478 378TH AVE                                                                          MENOMONIE             WI 54751‐5335
QUINN, JOHN W          2814 HARRISON AVE                                                                        CINCINNATI            OH 45211
QUINN, JOSEPH E        1253 THELMA ST                                                                           MOUNT MORRIS          MI 48458‐1718
QUINN, JOSEPH ELMER    1253 THELMA ST                                                                           MOUNT MORRIS          MI 48458‐1718
QUINN, JOSEPH F        39 HALIDAY ST                                                                            CLARK                 NJ 07066‐1840
QUINN, JOSEPH G        PO BOX 341                                                                               CARBON                IN 47837‐0341
QUINN, JUNE D          71 VICTORIA LANE                                                                         MARLBORO              MA 01752‐3677
QUINN, JUNE V          P.O. BOX 26033                                                                           SCOTTSDALE            AZ 85255
QUINN, JUSTIN          HAY RICHARD                    PO BOX 1124                                               SOMERSET              KY 42502
QUINN, KATHLEEN T      35984 LEON ST                                                                            LIVONIA               MI 48150‐2551
QUINN, KEITH E         2411 LOWELL                                                                              OFALLON               MO 63366‐8304
QUINN, KEITH E         2411 LOWELL LN                                                                           O FALLON              MO 63368‐8304
QUINN, KELLY B         201 LAGOON BEACH DR                                                                      BAY CITY              MI 48706‐1436
QUINN, KEVIN M         33680 GLEN ST                                                                            WESTLAND              MI 48186‐4594
QUINN, KEVIN T         1053 LINCOLN DR                                                                          BRIGHTON              MI 48116‐3793
QUINN, KRISTIN         4381 NEWARK CIR                                                                          GRAND BLANC           MI 48439‐2510
QUINN, KRISTINA        1514 SOUTHEAST 13TH STREET                                                               DEERFIELD BCH         FL 33441‐7138
QUINN, KYLE            5269 COUNTY HOME RD                                                                      WINTERVILLE           NC 28590‐7834
QUINN, LARRY J         5511 STONE RD                                                                            LOCKPORT              NY 14094‐9467
QUINN, LASHONDA        403 CHAPMAN LN                                                                           COLUMBIA              TN 38401‐2625
QUINN, LAWRENCE M      230 W ROOSEVELT AVE                                                                      NEW CASTLE            DE 19720‐2565
QUINN, LAWRENCE M      20903 ROCKHILL DR                                                                        MACOMB                MI 48044‐6327
QUINN, LAWRENCE M      6780 SINSONTE                                                                            FORT PIERCE           FL 34951‐4430
QUINN, LELAND D        11483 NORA DR                                                                            FENTON                MI 48430‐8702
QUINN, LELIA E         7437 LORENE CT                                                                           INDIANAPOLIS          IN 46237‐9608
QUINN, LELIA E         7437 LORENE CT.                                                                          INDIANAPOLIS          IN 46237‐9608
QUINN, LEOTA C         APT 21                         400 GOLDEN GATE POINT                                     SARASOTA              FL 34236‐6660
QUINN, LINDA L         PO BOX 341                                                                               CARBON                IN 47837‐0341
QUINN, LLOYD M         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                      STREET, SUITE 600
QUINN, LOIS E.         4922 CANEY CT                                                                            PORT RICHEY          FL   34668‐6233
QUINN, LUCY ADELAIDE   13510 MONICA ST                                                                          DETROIT              MI   48238‐2522
QUINN, LUCY ADELAIDE   13510 MONICA                                                                             DETROIT              MI   48238‐2522
QUINN, MAGGIE          GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                EDWARDSVILLE         IL   62025‐0959
                       ANTOGNOLI
QUINN, MARC G          6519 HORNCLIFFE DR                                                                       CLARKSTON            MI   48346‐3080
QUINN, MARGARET        BICKEL LAW FIRM INC            7825 FAY AVE STE 200                                      LA JOLLA             CA   92037‐4270
QUINN, MARGARET J      3703 SANCTUARY WAY N                                                                     JACKSONVILLE BEACH   FL   32250‐5048
QUINN, MARIE           APT E                          7 LAMPLIGHT VILLAGE ROAD                                  MONROE               NY   10950‐4204
QUINN, MARIE L         3095 NORTH 375 EAST                                                                      ANDERSON             IN   46012
QUINN, MARK C          41 DAYL DR                                                                               KENSINGTON           CT   06037‐1205
QUINN, MARK R          337 CLAYTON MANOR DR                                                                     MIDDLETOWN           DE   19709‐8859
QUINN, MARK S          APT 2A                         59 SUMMER STREET                                          PLYMOUTH             MA   02360‐3462
QUINN, MELODY S        8025 MOORE ST                                                                            ARVADA               CO   80005‐2023
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Name                  Address1                          Address2                        Address3   Address4         City                   State Zip
QUINN, MELODY S       8025 MOORE STREET                                                                             ARVADA                  CO 80005‐2023
QUINN, MICHAEL C      16725 WANATAH TRL                                                                             WESTFIELD               IN 46074‐8016
QUINN, MICHAEL D      15022 HIX ST                                                                                  LIVONIA                 MI 48154‐4873
QUINN, MICHAEL F      79 DEEPLANDS CT                                                                               GROSSE POINTE SHORES    MI 48236‐2612
QUINN, MICHAEL J      10223 CHAPEL PINES PL                                                                         FORT WAYNE              IN 46804‐3309
QUINN, MICHAEL J      6883 EMERALD SHORES DR                                                                        TROY                    MI 48085‐1439
QUINN, MICHAEL J      9873 STATE ROUTE 503 N                                                                        LEWISBURG               OH 45338‐8921
QUINN, MICHAEL P      1439 WOODVIEW RD                                                                              YARDLEY                 PA 19067‐5779
QUINN, MICHAEL R      704 RAYMOND DR                                                                                LEWISTON                NY 14092‐1189
QUINN, MICHAEL T      79 DEEPLANDS CT                                                                               GROSSE POINTE SHORES    MI 48236‐2612
QUINN, MICHAEL T      313 S AIRPORT WAY                                                                             MANTECA                 CA 95337‐8427
QUINN, NANCY A        4062 LA NARK AVE                                                                              WATERFORD               MI 48328‐1225
QUINN, NANCY A        101 CHURCH ST                                                                                 RED SPRINGS             NC 28377
QUINN, NANCY RITA     2235 EAST CHERRY HILLS PLACE                                                                  CHANDLER                AZ 85249‐4149
QUINN, NICHOLAS       551 REGENCY DR                                                                                EL PASO                 TX 79912‐4208
QUINN, OTIS L         12533 S YOUNGS PL                                                                             OKLAHOMA CITY           OK 73170‐3409
QUINN, PATRICIA M     7 VALLEY VIEW DR                  HICKORY HILLS                                               BLUE GRASS               IA 52726‐9568
QUINN, PATRICIA S     6068 E DODGE RD                                                                               MOUNT MORRIS            MI 48458‐9720
QUINN, PATRICK D      781 ENGLEWOOD DR                                                                              ROCHESTER HILLS         MI 48309‐1066
QUINN, PATRICK J      2408 W SYCAMORE AVE                                                                           OAK CREEK               WI 53154‐1054
QUINN, PATRICK L      8083 WINTERS LN                                                                               WHITMORE LAKE           MI 48189‐9555
QUINN, PATSY M        PO BOX 1071                                                                                   SUMMIT                  MS 39666‐9666
QUINN, PAUL W         528 BRADFORD ROAD RT 2 BOX 158C                                                               JASPER                  AL 35503
QUINN, PENNIE A       2424 MCGILL ST                                                                                SAGINAW                 MI 48601‐1426
QUINN, PERRY L        9304 SAINT REGIS LN                                                                           PORT RICHEY             FL 34668‐4787
QUINN, PERRY L        11001 AGAPE LN                                                                                NORMAN                  OK 73026‐8323
QUINN, PETER D        4 SURREY LN                                                                                   PONTIAC                 MI 48340‐1427
QUINN, RANDY M        3412 WILLOWCREEK DRIVE                                                                        SUNNYVALE               TX 75182‐4009
QUINN, RAYMOND R      71 VICTORIA LN                                                                                MARLBOROUGH             MA 01752‐3677
QUINN, RAYMOND R      905 RIVER RD                                                                                  WESTMORELAND            NH 03467‐4413
QUINN, REBECCA L      118 RONALD DR                                                                                 LEWISBURG               OH 45338‐9312
QUINN, RICHARD        MORGANSTERN MACADAMS & DEVITO     BURGESS BLDG, STE 400, 1406 W                               CLEVELAND               OH 44113‐1300
                      COMPANY LPA                       SIXTH ST
QUINN, RICHARD D      8206 WOODVIEW RD                                                                              CLARKSTON              MI   48348‐4058
QUINN, RICHARD F      16 COLUMBUS DR                                                                                BAYONNE                NJ   07002‐4362
QUINN, RICHARD F      744 REDWOOD DR                                                                                TROY                   MI   48083‐1022
QUINN, RICHARD J      164 W 1450 N                                                                                  SUMMITVILLE            IN   46070‐9694
QUINN, RICHARD L      1894 BIG CYPRESS ST NE                                                                        PALM BAY               FL   32905‐3351
QUINN, RICHARD T      710 RADNOR AVE                                                                                PINE BEACH             NJ   08741‐1234
QUINN, RITA L         711 LAMOREAUX DR                                                                              LAPEER                 MI   48446‐1746
QUINN, RITA LEE       711 LAMOREAUX DR                                                                              LAPEER                 MI   48446‐1746
QUINN, ROBERT
QUINN, ROBERT B       1121 SUNSET DR                                                                                ANDERSON               IN   46011‐1622
QUINN, ROBERT B       9525 CAR KARE DR                                                                              ZEBULON                NC   27597‐7622
QUINN, ROBERT C       1960 MORTENSON BLVD                                                                           BERKLEY                MI   48072‐1702
QUINN, ROBERT H       PO BOX 401                                                                                    NAUBINWAY              MI   49762‐0401
QUINN, ROBERT J       109 MONTY CT                                                                                  MURFREESBORO           TN   37127‐6942
QUINN, ROBERT J       8880 SW 27H AVE                   B18                                                         OCALA                  FL   34476
QUINN, ROBERT L       139 KENNEDY ST                                                                                ISELIN                 NJ   08830‐1423
QUINN, ROBERT P       2124 WOLF LAKE RD                                                                             GRASS LAKE             MI   49240‐9192
QUINN, ROBERT PERRY   2124 WOLF LAKE RD                                                                             GRASS LAKE             MI   49240‐9192
QUINN, ROBERT S       1917 KRISTIN DRIVE                                                                            TROY                   MI   48084‐1424
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Name                    Address1                        Address2            Address3         Address4         City               State Zip
QUINN, ROBERT S         5605 JUNEBERRY CT                                                                     WATERFORD           MI 48329‐3488
QUINN, RONALD E         15023 COLLIER DR SE                                                                   HUNTSVILLE          AL 35803‐3631
QUINN, RONALD R         16593 LYONHURST CIR                                                                   NORTHVILLE          MI 48168‐4420
QUINN, ROSE A           724 S MILFORD RD                                                                      MILFORD             MI 48381‐2797
QUINN, ROSE ANN         724 S MILFORD RD                                                                      MILFORD             MI 48381‐2797
QUINN, ROSS R           809 W TRINDLE RD # 2F                                                                 MECHANICSBURG       PA 17055
QUINN, ROY K            211 S TIPPECANOE DR                                                                   TIPP CITY           OH 45371‐1178
QUINN, ROY K            211 S. TIPPECANOE DR.                                                                 TIPP CITY           OH 45371‐5371
QUINN, ROYAL W          3113 ENCLAVE CT                                                                       KOKOMO              IN 46902‐8128
QUINN, RUBY E           5152 LORIN DR                                                                         SHELBY TOWNSHIP     MI 48316‐2320
QUINN, RUBY E           5152 LORIN DRIVE                                                                      UTICA               MI 48316‐2320
QUINN, SANDRA G         3311 GRADY LANE                                                                       DURHAM              NC 27705‐9063
QUINN, SANDRA G         3311 GRADY LN                                                                         DURHAM              NC 27705‐9063
QUINN, SCOTT            3683 DANBRIDGE DR                                                                     LANSING             MI 48906‐9277
QUINN, SHAUNTEL R       1128 VICTOR AVE                                                                       LANSING             MI 48910
QUINN, SHAWN G          1412 DEER CREEK TRL                                                                   GRAND BLANC         MI 48439‐9267
QUINN, SHAWN GERALD     1412 DEER CREEK TRL                                                                   GRAND BLANC         MI 48439‐9267
QUINN, SHEILA C         257 PINEHURST POINTE DRIVE                                                            ST AUGUSTINE        FL 32092‐3703
QUINN, SONJA M          32560 CAMBRIDGE DR                                                                    WARREN              MI 48093‐1269
QUINN, SPENCE W         500 COUNTY RD 750                                                                     ATHENS              TN 37303‐7303
QUINN, SPENCE W         500 COUNTY ROAD 750                                                                   ATHENS              TN 37303‐6228
QUINN, STEPHEN P        4919 W 12TH ST                                                                        SPEEDWAY            IN 46224‐6913
QUINN, STEPHEN R        6068 E DODGE RD                                                                       MOUNT MORRIS        MI 48458‐9720
QUINN, STEPHEN ROLAND   6068 E DODGE RD                                                                       MOUNT MORRIS        MI 48458‐9720
QUINN, STEVEN R         215 PENNSYLVANIA AVE                                                                  CHALFONT            PA 18914‐3009
QUINN, TERESA G         1340 KANTERBURY LN                                                                    MOORESVILLE         IN 46158‐2002
QUINN, TERRY G          1767 W 900 N                                                                          ALEXANDRIA          IN 46001‐8358
QUINN, THELMA P         522 SHORT CUT RD                                                                      MOLENA              GA 30258‐3223
QUINN, THELMA P         522 SHORTCUT ROAD                                                                     MOLENA              GA 30258
QUINN, THOMAS           PO BOX 21169                                                                          ROANOKE             VA 24018‐0537
QUINN, THOMAS
QUINN, THOMAS E         7437 LORENE CT                                                                        INDIANAPOLIS       IN   46237‐9608
QUINN, THOMAS E         71 DUNHAM ST                                                                          SOUTHINGTON        CT   06489‐1219
QUINN, THOMAS E         1934 RAINBOW DR                                                                       ROCHESTER HILLS    MI   48306‐3242
QUINN, THOMAS F         16748 W ONEIDA DR                                                                     LOCKPORT           IL   60441‐4200
QUINN, THOMAS F         81641 48TH AVE #31                                                                    INDIO              CA   92201
QUINN, THOMAS G         2980 PARMAN RD                                                                        DANSVILLE          MI   48819‐9616
QUINN, THOMAS L         1176 TOWNSHIP ROAD              1426 ROUTE 5                                          ASHLAND            OH   44805
QUINN, THOMAS M         7 TINA RD                                                                             MILFORD            MA   01757
QUINN, THOMAS M         8068 NORTH LAKE DRIVE                                                                 TRUSSVILLE         AL   35173‐1868
QUINN, THOMAS M         4151 STANDISH DR                                                                      INDIANAPOLIS       IN   46221‐2438
QUINN, TIMOTHY A        2109 HAZEL AVE                                                                        KETTERING          OH   45420‐2125
QUINN, TIMOTHY B        41473 TWAIN PL                                                                        NOVI               MI   48377‐2860
QUINN, TIMOTHY E        201 LAGOON BEACH DR                                                                   BAY CITY           MI   48706‐1436
QUINN, TIMOTHY J        4042 BROOKSTONE CT                                                                    HOWELL             MI   48843‐7509
QUINN, TIMOTHY J        13598 NORTHRIDGE DR                                                                   HOLLY              MI   48442‐8222
QUINN, VERA J           5213 SOUTHWEST 9TH PLACE                                                              CAPE CORAL         FL   33914‐7016
QUINN, VERA J           5213 SW 9TH PL                                                                        CAPE CORAL         FL   33914‐7016
QUINN, VERSIE M         632 MARMION AVE                                                                       TOLEDO             OH   43607
QUINN, VINCENT K        17920 GULF BLVD APT 701                                                               REDINGTON SHORES   FL   33708‐1143
QUINN, VIRGINIA M       5855 BIANCO                                                                           ALANSON            MI   49706‐8217
QUINN, VIRGINIA S       1834 PROGRESS LN                                                                      CHARLOTTE          NC   28205‐5712
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Name                       Address1                           Address2                        Address3   Address4         City            State Zip
QUINN, WILBOURN L          PO BOX 361                                                                                     MARMADUKE        AR 72443‐0361
QUINN, WILLARD
QUINN, WILLARD             DANIEL A. SIMONS ‐ BROOKE BOWMAN   CHASE BANK BUILDING, SUITE 2A                               RICHMOND         KY   40476
                           MANSFIELD
QUINN, WILLIAM H           61 MITCHELL AVE                                                                                NEW BRUNSWICK   NJ    08901‐3242
QUINN, WILLIAM H           108 LT KILLARNEY BCH                                                                           BAY CITY        MI    48706
QUINN, WILLIAM J           PO BOX 105                                                                                     IRVING          NV    14081‐0106
QUINN, WILLIAM J           4B WAVECREST AVE                                                                               WINFIELD PARK   NJ    07036‐6648
QUINN, WILLIAM J           2213 BELVINWOOD                                                                                FUQWAY VARINA   NC    27526‐5189
QUINN, WILLIAM M           608 PRITZ AVE                                                                                  DAYTON          OH    45410‐2433
QUINN, WILLIAM M           20 PADDOCK VIEW DR                                                                             CLARENCE        NY    14031
QUINN, WILLIAM M           508 PRITZ AVE                                                                                  DAYTON          OH    45410‐2433
QUINN, WILLIAM P           9190 WOODRIDGE DR.                                                                             DAVISON         MI    48423‐8392
QUINN, WILLIS              3048 SUMMIT DR SW                                                                              BOGUE CHITTO    MS    39629‐9453
QUINN, WILLIS O            CHAPMAN LEWIS & SWAN               PO BOX 428                                                  CLARKSDALE      MS    38614‐0428
QUINN, YVONNE              PO BOX 63                                                                                      SPRUCE PINE     AL    35585‐0063
QUINNAN, BRIAN A           5430 MARY CT                                                                                   SAGINAW         MI    48603‐3638
QUINNAN, DAVID T           2201 KENNELY RD                                                                                SAGINAW         MI    48609‐9315
QUINNAN, EDWARD J          108 KENSINGTON PL                                                                              COLUMBIA        TN    38401‐8884
QUINNAN, JAMES P           4379 SOUTH WESTERVELT ROAD                                                                     SAGINAW         MI    48604‐1543
QUINNAN, WILLIAM A         4379 S WESTERVELT RD                                                                           SAGINAW         MI    48604‐1543
QUINNELLA JONES            4715 SULLIVANT AVE LOT 142                                                                     COLUMBUS        OH    43228‐2843
QUINNELLY, JERRY W         665 SOUTHERN OAKS DR                                                                           FLORENCE        MS    39073‐9456
QUINNELLY, JERRY WAYNE     665 SOUTHERN OAKS DR                                                                           FLORENCE        MS    39073‐9456
QUINNEY JR, NELSON N       1828 WARSAW ROAD 85                                                                            ALICEVILLE      AL    35442‐7220
QUINNEY, ANTHONY           G3064 MILLER RD APT 613                                                                        FLINT           MI    48507‐1342
QUINNEY, CARLAS R          819 BRITTEN AVE                                                                                LANSING         MI    48910‐1323
QUINNEY, DERRICK L         2010 WELLESLEY DR                                                                              LANSING         MI    48911‐1603
QUINNEY, JOHN L            202 E DARTMOUTH ST                                                                             FLINT           MI    48505‐4979
QUINNEY, LUCY M            202 E DARTMOUTH ST                                                                             FLINT           MI    48505‐4979
QUINNEY, MACK FITZGERALD   2231 STRATHMORE RD                                                                             LANSING         MI    48910‐2887
QUINNEY, VICKIE D          2231 STRATHMORE RD                                                                             LANSING         MI    48910‐2887
QUINNIE, EDDIE             1532 4TH AVE W                                                                                 BIRMINGHAM      AL    35208‐5312
QUINNIE, PATRICIA E        PO BOX 15                                                                                      CHEEKTOWAGA     NY    14225
QUINNIE, ROSEMARY          26 COLUMBIA ST APT 3                                                                           BROCKTON        MA    02301‐4217
QUINNIPIAC COLLEGE         BURSAR OFFICE                      275 MOUNT CARMEL AVE                                        HAMDEN          CT    06518‐1905
QUINNTRELL D WILLIS        PO BOX 2474                                                                                    DETROIT         MI    48202‐0474
QUINONES LUZ MARIA         QUINONES, LUZ MARIA                HC03 33587                                                  ATILLO          PR    00659
QUINONES, ACTE S           D4 URB PASEO RIVIERA BOX 791                                                                   GUAYAMA         PR    00785
QUINONES, ALICIA           13876 SW 56TH ST                   P.O. BOX 446                                                MIAMI           FL    33175‐6021
QUINONES, AMPARO
QUINONES, AMY C            3451 BROOKHOLLOW DR NE                                                                         ROCKFORD        MI    49341‐9231
QUINONES, AMY CHRISTINE    3451 BROOKHOLLOW DR NE                                                                         ROCKFORD        MI    49341‐9231
QUINONES, ARMANDO M        516 BLENHEIM DR                                                                                ROCKFORD        IL    61108‐2014
QUINONES, DAISY C          3838 SAINT JAMES CIR                                                                           BALDWIN PARK    CA    91706‐3917
QUINONES, DOMINGO G        5104 LEVINDALE RD                                                                              BALTIMORE       MD    21215‐5327
QUINONES, EDMUND J         6379 HAMM RD                                                                                   LOCKPORT        NY    14094‐6527
QUINONES, EDWIN M          15 ABERDEEN COURT                                                                              HALEDON         NJ    07508‐1218
QUINONES, FRANCISCO        PONCE DE LEON #339                                                                             GUAYNABO        PR    00967
QUINONES, GUERRERO M       4243 CAPELLA DR                                                                                JANESVILLE      WI    53546‐3522
QUINONES, HECTOR R         PO BOX 8773                                                                                    CAGUAS          PR    00726‐8773
QUINONES, HUMBERTO R       86 HARRIET ST                                                                                  DOVER           DE    19901‐8758
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Name                             Address1                         Address2                    Address3   Address4             City            State Zip
QUINONES, JESUS                  15586 SW 63RD TER                                                                            MIAMI            FL 33193‐2837
QUINONES, JOSE F                 930 PEPPERWOOD DR                                                                            BRUNSWICK        OH 44212‐2440
QUINONES, JUAN D                 2244 CHATTERTON AVE                                                                          BRONX            NY 10472‐6308
QUINONES, LAURIANO               100 ERSKINE PL # 8                                                                           BRONX            NY 10475
QUINONES, LUZ MARIA              HC03 33587                                                                                   ATILLO           PR 00659
QUINONES, MANUEL                 358 FLEMISH CIR                                                                              EL PASO          TX 79912‐7119
QUINONES, MARIA                  13201 ASTOR AVE                                                                              CLEVELAND        OH 44135‐5005
QUINONES, MIGUEL A               786 CALLE MADEIRA                                                                            SAN JUAN         PR 00924‐1767
QUINONES, MILDRED E              74 BELKNAP AVE                                                                               YONKERS          NY 10710‐5404
QUINONES, NILDA E                905 S 24TH ST                                                                                TAMPA            FL 33605‐6562
QUINONES, NORBERTO               9166 W 122ND ST APT 826                                                                      OVERLAND PARK    KS 66213‐2563
QUINONES, NORBERTO               8314 W 124TH ST                                                                              OVERLAND PARK    KS 66213‐1430
QUINONES, OSCAR A                PO BOX 3884                                                                                  RAMONA           CA 92065‐0966
QUINONES, OSVALDO R              1005 DONNAWOOD DR                                                                            JOPPA            MD 21085‐1603
QUINONES, PABLO                  DEARIE & ASSOCIATES JOHN C       515 MADISON AVE RM 1118                                     NEW YORK         NY 10022‐5456
QUINONES, RAMONITA               2161 QUIMBY AVENUE                                                                           BRONX            NY 10473‐1332
QUINONES, RICHARD                108 WHITE CEDAR DR                                                                           SICKLERVILLE     NJ 08081‐3422
QUINONES, SAMUEL                 4501 W 191ST ST                                                                              CLEVELAND        OH 44135‐1720
QUINONES, VICTOR S               4892 WESTMINSTER LN                                                                          BROADVIEW HTS    OH 44147‐2065
QUINONES, VICTOR SAMUEL          4892 WESTMINSTER LN                                                                          BROADVIEW HTS    OH 44147‐2065
QUINONES, WILLIAM                PO BOX 2001                                                                                  YAUCO            PR 00698‐2001
QUINONEZ, AURORA
QUINONEZ, PANFILO R              EMILIO CARRANZO NO 125                                                  JALISCO PONCITLAN
                                                                                                         MEXICO 45950
QUINOY, CALEB R                  44 DEPEYSTER ST                                                                              SLEEPY HOLLOW   NY 10591‐2704
QUINOY, PILAR                    44 DEPEYSTER ST                                                                              SLEEPY HOLLOW   NY 10591‐2704
QUINSIGAMOND COMMUNITY COLLEGE   670 W BOYLSTON ST                                                                            WORCESTER       MA 01606‐2064

QUINSLAN SHUMPERT                3238 SKANDER DR                                                                              FLINT           MI   48504
QUINT PLUM/WYANDOTTE             4144 6TH ST                                                                                  WYANDOTTE       MI   48192‐7106
QUINT SHERWOOD                   2802 RACHEL RD                                                                               CHAMPAIGN       IL   61822‐7350
QUINT, DANIEL D                  50888 CHESTWICK CT                                                                           PLYMOUTH        MI   48170‐8214
QUINT, EDNA M                    3731 OMAHA STREET SOUTHWEST                                                                  GRANDVILLE      MI   49418‐1873
QUINT, EDWARD A                  6421 PLEASANT VALLEY DR SW                                                                   BYRON CENTER    MI   49315‐9048
QUINT, PAUL E                    3231 BADGER AVE SW                                                                           WYOMING         MI   49509‐3054
QUINT, THOMAS D                  600 RIVER PLACE DR APT 6645                                                                  DETROIT         MI   48207‐5026
QUINT, WAYNE R                   3390 THORNAPPLE RIVER DR SE                                                                  GRAND RAPIDS    MI   49546‐9138
QUINTA DURANDETTI                9707 EARHART RD                                                                              SOUTH LYON      MI   48178‐7029
QUINTA M PRESSLEY                PO BOX 95                                                                                    LILBURN         GA   30048‐0095
QUINTAILLA, ESPERANZA            13758 BACKUS ST                                                                              SOUTHGATE       MI   48195‐1815
QUINTANA DOTTA JORGE             QUINTANA DOTTA, JORGE            C29 CALLE AYMACO PARQ LAS              PORT RICO            SAN JUAN        PR   00727
QUINTANA DOTTA, JORGE            C29 CALLE AYMACO PARQ LAS                                                                    SAN JUAN        PR   00727
QUINTANA EDWARD                  QUINTANA, EDWARD
QUINTANA SIERRA, JOSE LUIS
QUINTANA, ALFREDO L              4172 N 700 E                                                                                 NEEDHAM         IN   46162‐9748
QUINTANA, ANA M                  13630 BOMBAY ST                                                                              SYLMAR          CA   91340‐1004
QUINTANA, ANGELO G               13983 WARWICK ST                                                                             DETROIT         MI   48223‐2937
QUINTANA, ARMANDO L              5325 BRENDA BLVD                                                                             GREENWOOD       IN   46143‐8902
QUINTANA, BENITO A               3122 E BELLERIVE DR                                                                          CHANDLER        AZ   85249‐3905
QUINTANA, BERNARDO               321 N MACNEIL ST APT 1                                                                       SAN FERNANDO    CA   91340‐2920
QUINTANA, CARLOS D               3840 CHANTRY WAY                                                                             GREENWOOD       IN   46143‐9625
QUINTANA, CARLOS L               7031 IRA CT                                                                                  INDIANAPOLIS    IN   46217‐8410
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QUINTANA, CARLOS LARA                   7031 IRA CT                                                                                INDIANAPOLIS       IN 46217‐8410
QUINTANA, CAROL J                       1623 MILITARY RD # 386                                                                     NIAGARA FALLS      NY 14304
QUINTANA, DELILA FRANCESCA
QUINTANA, DOLORES                       1286 FOLSOM AVE                                                                            HAYWARD           CA    94544‐5610
QUINTANA, EDUARDO                       6108 FOXFIRE CIR                                                                           CLARKSTON         MI    48346‐1658
QUINTANA, EDWARDO                       214 KIRBY ST                                                                               BAY CITY          MI    48706‐3842
QUINTANA, FAITH E                       PO BOX 682006                                                                              FRANKLIN          TN    37068‐2006
QUINTANA, FRANK T                       22 RR 5367B                                                                                FARMINGTON        NM    87401
QUINTANA, GERALDINE ATENCIO             BRANCH BRIAN K LAW OFFICE OF   902 ROMA AVE NW                                             ALBUQUERQUE       NM    87102‐1942
QUINTANA, GLORIA D                      P.O BOX 1708                                                                               BISHOP            CA    93515
QUINTANA, IGNACIO H                     345 PAMELA KAY LN                                                                          LA PUENTE         CA    91746‐2727
QUINTANA, JAMES R                       15137 OCONNOR AVE                                                                          ALLEN PARK        MI    48101‐2937
QUINTANA, JANICE                        3672 E WYATT WAY                                                                           GILBERT           AZ    85297‐7815
QUINTANA, JOBITA L                      1423 AUSTIN AVE                                                                            LINCOLN PARK      MI    48146‐2004
QUINTANA, JOHN                          10326 FARMINGTON AVE                                                                       SUNLAND           CA    91040‐1842
QUINTANA, JOSE                          SIMMONS FIRM                   PO BOX 521                                                  EAST ALTON         IL   62024‐0519
QUINTANA, JOSE I                        1439 OTTER DR                  C/O ANTONIO A REYES                                         ROCHESTER HILLS   MI    48306‐4335
QUINTANA, JOSEPH ELIAS
QUINTANA, JUAN                          6165 SOUTHWARD AVE                                                                         WATERFORD         MI 48329‐1439
QUINTANA, LUIS F
QUINTANA, MANUEL                        3627 ROSEMEAR AVE                                                                          BROOKFIELD        IL    60513‐1738
QUINTANA, MARIA E                       6158 S KILDARE AVE                                                                         CHICAGO           IL    60629‐4906
QUINTANA, MARIA E                       6158 S. KILDARE                                                                            CHICAGO           IL    60629‐4906
QUINTANA, MICHAEL J                     PO BOX 682006                                                                              FRANKLIN          TN    37068‐2006
QUINTANA, MIGUEL A                      PO BOX 1920                                                                                LARES             PR    00669‐1920
QUINTANA, PATRICK                       602 RAFORD WILSON RD                                                                       COMMERCE          GA    30529‐4091
QUINTANA, SALVADOR                      682 BAKER RD                                                                               COLUMBIA          TN    38401‐5557
QUINTANA, SANTOS V                      PO BOX 116                                                                                 WILLOW SPGS       IL    60480‐0116
QUINTANA, SHIRLEY S                     1510 COUNTY ROAD 484                                                                       POPLAR BLUFF      MO    63901‐7647
QUINTANA, UBALDO                        5719 S CAMPBELL AVE                                                                        CHICAGO           IL    60629‐1021
QUINTANA, VICENTE                       7701 KNOLLS DR                                                                             WATERFORD         MI    48329‐2621
QUINTANA‐GUZMAN, MARIA G                13811 BERRYKNOLL DR                                                                        SHELBY TOWNSHIP   MI    48315‐6817
QUINTANILLA EMILIA (ESTATE OF) (501028) BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH    44067
                                                                       PROFESSIONAL BLDG
QUINTANILLA JARIO                     QUINTANILLA, DELICIA             1309 WEST MISSION BLVD #70                                  ONTARIO           CA    91762
QUINTANILLA JARIO                     QUINTANILLA, JARIO               1309 WEST MISSION BLVD #70                                  ONTARIO           CA    91762
QUINTANILLA JR, IRINEO                1205 AYERSVILLE AVE                                                                          DEFIANCE          OH    43512
QUINTANILLA, ANTONIO                  1834 E BENWICK RD                                                                            TOLEDO            OH    43613‐2306
QUINTANILLA, BEATRICE R               3102 CHEYENNE AVE                                                                            FLINT             MI    48507‐1906
QUINTANILLA, C M                      5034 FETTUCCINE AVE                                                                          SEBRING           FL    33872‐2119
QUINTANILLA, CARLOS M                 5034 FETTUCCINE AVE                                                                          SEBRING           FL    33872
QUINTANILLA, CARLOS R                 7177 HARVARD AVE                                                                             MOUNT MORRIS      MI    48458‐2108
QUINTANILLA, CELINDA                  5951 PROVIDENCE RD APT 6                                                                     CHARLOTTE         NC    28226‐5885
QUINTANILLA, DANIEL                   6054 BALLARD DR                                                                              FLINT             MI    48505‐4802
QUINTANILLA, DAVID                    5211 E CARPENTER RD                                                                          FLINT             MI    48506‐4517
QUINTANILLA, DAVID                    1208 ANZIO LANE                                                                              FLINT             MI    48507‐4002
QUINTANILLA, DAVID                    1208 ANZIO LN                                                                                FLINT             MI    48507‐4002
QUINTANILLA, DAVID                    APT 24F                          315 WEST 33RD STREET                                        NEW YORK          NY    10001‐2793
QUINTANILLA, DELICIA                  1309 W MISSION BLVD APT 70                                                                   ONTARIO           CA    91762‐6846
QUINTANILLA, DIANA                    28855 STARLIGHT RD                                                                           PERRYSBURG        OH    43551‐4676
QUINTANILLA, DIANE L                  PO BOX 573                                                                                   GENESEE           MI    48437‐0573
QUINTANILLA, DIANE LEIGH              PO BOX 573                                                                                   GENESEE           MI    48437‐0573
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Name                                 Address1                            Address2                       Address3   Address4         City               State Zip
QUINTANILLA, ELADIO                  PO BOX 573                                                                                     GENESEE             MI 48437‐0573
QUINTANILLA, ELADIO                  12165 ANDERSONVILLE RD                                                                         DAVISBURG           MI 48350‐3035
QUINTANILLA, EMILIA                  BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
QUINTANILLA, ERADIO I                1415 W MOUNT HOPE AVE                                                                          LANSING            MI   48910‐9079
QUINTANILLA, ESPERANZA A             2708 N ALBANY AVE                                                                              CHICAGO            IL   60647‐1502
QUINTANILLA, ESPERANZA A             2708 N ALBANY                                                                                  CHICAGO            IL   60647‐1502
QUINTANILLA, HERMELINDA              210 N HAZELTON ST                                                                              FLUSHING           MI   48433
QUINTANILLA, IRINEO G                2420 VINE AVE APT A                                                                            MCALLEN            TX   78501‐6405
QUINTANILLA, JAMES M                 2739 W LASKEY RD                                                                               TOLEDO             OH   43613‐3258
QUINTANILLA, JAMES MASON             2739 W LASKEY RD                                                                               TOLEDO             OH   43613‐3258
QUINTANILLA, JARIO                   1309 W MISSION BLVD APT 70                                                                     ONTARIO            CA   91762‐6846
QUINTANILLA, MONICA
QUINTANILLA, OMAR                    3123 HOLLY AVE                                                                                 FLINT              MI   48506‐3054
QUINTANILLA, ORALIA                  3115 S AVERS AVE                                                                               CHICAGO            IL   60623‐4938
QUINTANILLA, PATRICK F               2374 W MOUNT MORRIS RD                                                                         MOUNT MORRIS       MI   48458
QUINTANILLA, REFUGIO                 28855 STARLIGHT RD                                                                             PERRYSBURG         OH   43551‐4676
QUINTANILLA, REYNALDO                7305 CLEARVIEW DR                                                                              FAIRVIEW           TN   37062‐9208
QUINTANILLA, RICHARD                 1271 LOUIS AVE                                                                                 FLINT              MI   48505‐1239
QUINTANILLA, RICHARD                 1271 LOUIS AVENUE                                                                              FLINT              MI   48505‐1239
QUINTANILLA, SANTIAGO                107 N VIRGINIA AVE                                                                             MERCEDES           TX   78570‐2640
QUINTANILLA, SANTIAGO                107 NORTH VIRGINIA AVENUE                                                                      MERCEDES           TX   78570‐2640
QUINTANILLA, TOMAS                   1075 E PRINCETON AVE                                                                           FLINT              MI   48505‐1513
QUINTECH/WARREN                      29260 VAN DYKE                      SUITE 1108                                                 WARREN             MI   48093
QUINTEILLA K GARRETT                 1028 E COLDWATER RD                                                                            FLINT              MI   48505‐1502
QUINTEK GROUP INC                    8424 E TWELVE MILE RD                                                                          WARREN             MI   48093
QUINTEK GROUP INC                    44028 MOUND RD                                                                                 STERLING HEIGHTS   MI   48314
QUINTEK/WARREN                       8424 E. TWELVE MILE                                                                            WARREN             MI   48093
QUINTEL, EDGAR W                     3735 S AIRPORT RD                                                                              BRIDGEPORT         MI   48722‐9559
QUINTEL, NORMAN R                    734 N PINE RD                       STERLING HOUSE                                             BAY CITY           MI   48708‐9178
QUINTELA, EVA                        6 NORTH CT                                                                                     BAYONNE            NJ   07002‐1221
QUINTELA, EVA                        6 NORTH COURT                                                                                  BAYONNE            NJ   07002‐1221
QUINTELA, KATHLEEN L.                3540 S PERKEY RD                                                                               CHARLOTTE          MI   48813‐9138
QUINTELA, PHILLIP                    1334 W WIELAND RD                                                                              LANSING            MI   48906‐6800
QUINTEN ESCUE                        34 ORANGE TREE CIR                                                                             WINTER GARDEN      FL   34787‐3822
QUINTEN ROUSE                        1106 JAMES PL                                                                                  DANVILLE           IL   61832‐3427
QUINTEN WATKINS                      15544 BATES DR                                                                                 LEROY              MI   49655‐8153
QUINTEN WHITAKER                     705 WILLITTS RD                                                                                HASTINGS           MI   49058‐8506
QUINTER A HOOVER                     3225 FAIRWAY DRIVE                                                                             KETTERING          OH   45409‐1213
QUINTER HOOVER                       3225 FAIRWAY DR                                                                                KETTERING          OH   45409‐1213
QUINTER KAREN & KIMMEL & SILVERMAN   30 E BUTLER AVE                                                                                AMBLER             PA   19002‐4514

QUINTER, SUZANNE R                   900 W GRANT ST                                                                                 PIQUA              OH   45356‐3418
QUINTERN, DONALD R                   2799 ANGLING RD                                                                                MEDINA             NY   14103‐9651
QUINTERN, DUANE P                    5 RALPH PL                                                                                     PALM COAST         FL   32164‐6866
QUINTERN, FREDERICK W                411 E OAK ORCHARD ST FRNT LOWER                                                                MEDINA             NY   14103‐1610
QUINTERN, NORMAN E                   2660 LATTIN RD                                                                                 ALBION             NY   14411‐9725
QUINTERN, RONALD R                   193 WHITTIER RD                                                                                ROCHESTER          NY   14624‐1077
QUINTERN, SARAH E                    1 LYNWOOD DRIVE                                                                                LYNDONVILLE        NY   14098
QUINTERO JR, EDUARDO                 462 CHELSEA DR                                                                                 SAINT CHARLES      MO   63304
QUINTERO JR, MARCELINO               1624 N MARTIN LUTHER KING JR BLVD                                                              LANSING            MI   48915‐1547
QUINTERO OSCAR                       QUINTERO, OSCAR                     230 ROUTE 206                                              FLANDERS           NJ   07836
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Name                        Address1                          Address2                          Address3   Address4                City                State Zip
QUINTERO, ANDRES M          6131 WINDCHARME AVE                                                                                    LANSING              MI 48917‐1279
QUINTERO, ANTHONY A         3134 KARNES BLVD                                                                                       KANSAS CITY          MO 64111‐3653
QUINTERO, BENJAMIN A        2951 S LOOMIS ST FL 2                                                                                  CHICAGO               IL 60608‐5613
QUINTERO, CARLOS E          1205 AYERSVILLE AVE                                                                                    DEFIANCE             OH 43512‐3108
QUINTERO, CHERYL M          215 ENGLAND DR                                                                                         O FALLON             MO 63366
QUINTERO, ELADIO H          2646 PEARL ST                                                                                          DETROIT              MI 48209‐3700
QUINTERO, ELENA E           6122 SOUTH VIA DEL AQUA DRIVE                                                                          FORT MOHAVE          AZ 86426‐7006
QUINTERO, HECTOR L          3602 CYPRESS FERN WAY                                                                                  CORAL SPRINGS        FL 33065‐6051
QUINTERO, JOSE              3928 BURNLEY DR                                                                                        PLANO                TX 75025‐2068
QUINTERO, JOSEFINA VARGAS   2827 S LA BREA AVE APT 14                                                                              LOS ANGELES          CA 90016
QUINTERO, JUAN
QUINTERO, NOE E             4733 ROBINSON RD                                                                                       SYLVANIA            OH   43560‐1745
QUINTERO, PATRICIA A        17 SW 98TH ST                                                                                          OKLAHOMA CITY       OK   73139‐8803
QUINTERO, PATRICIA M        22608 POPLAR CT                                                                                        HAZEL PARK          MI   48030‐1928
QUINTERO, ROBERT            22608 POPLAR CT                                                                                        HAZEL PARK          MI   48030‐1928
QUINTEROS, CARLOS G         18234 CHATSWORTH ST                                                                                    NORTHRIDGE          CA   91326‐3208
QUINTEROS, CELIA ORTIZ      ATLEE HALL & BROOKHART            PO BOX 449                                                           LANCASTER           PA   17608‐0449
QUINTEROS, PAULINE          201 W MAIN ST                                                                                          TROY                TX   76579‐2718
QUINTESSENCE HOTEL          3004 CHEMIN DE LA CHAPELLE        CANADA                                       MONT TREMBLANT PQ J8E
                                                                                                           1E1 CANADA
QUINTIERI I I, TONY F       9739 W CHADWICK RD                                                                                     DEWITT              MI   48820‐9120
QUINTIERI II, TONY FRANK    9739 W CHADWICK RD                                                                                     DEWITT              MI   48820‐9120
QUINTIERI, MARY F           2516 MEADOWLANE DR                                                                                     LANSING             MI   48906‐3433
QUINTIERI, MICHAEL J        6319 BERNER CT                                                                                         GRAND LEDGE         MI   48837‐1677
QUINTIERI, TONY F           2516 MEADOWLANE DR                                                                                     LANSING             MI   48906‐3433
QUINTIN COLLINS             6424 KIRCH CT                                                                                          INDIANAPOLIS        IN   46268‐5088
QUINTIN D JONES             4844 WILBARGER ST                                                                                      FORT WORTH          TX   76119‐4159
QUINTIN DAUGHERTY           628 FILDEW AVE                                                                                         PONTIAC             MI   48341‐2634
QUINTIN JONES               4844 WILBARGER ST                                                                                      FORT WORTH          TX   76119‐4159
QUINTIN KIDD
QUINTIN L TULLOCH SR        2109 W 67TH PL                                                                                         CHICAGO             IL   60636‐2562
QUINTIN LUCAS               2011 BYRON RD                                                                                          HOWELL              MI   48855‐8764
QUINTIN MATLOCK             PO BOX 148                        103 DENI DR                                                          UNION LAKE          MI   48387‐0148
QUINTIN RUBIO               399 B HERITAGE VILLIAGE                                                                                SOUTHBURY           CT   06488
QUINTIN TULLOCH SR.         2109 W 67TH PL                                                                                         CHICAGO             IL   60636‐2562
QUINTIN WILSON              5281 BRIDGE TRL W                                                                                      COMMERCE TOWNSHIP   MI   48382‐4838
QUINTIN YAO                 2906 MAFFIE ST                                                                                         HENDERSON           NV   89052‐7064
QUINTIN, ROBERT T           512 WILLOW WAY UPLAND                                                                                  CHESTER             PA   19015
QUINTINA ENZINNA            7174 CHESTNUT RIDGE RD                                                                                 LOCKPORT            NY   14094
QUINTINA STEWART            3830 PARK FOREST DR                                                                                    FLINT               MI   48507‐2257
QUINTINA, JOSEPH            180 MAIN ST                       APT 1B                                                               MEDWAY              MA   02053‐1585
QUINTINE CAYWOOD            7197 GRANADA DR                                                                                        FLINT               MI   48532‐3025
QUINTINE R CAYWOOD          7197 GRANADA DR                                                                                        FLINT               MI   48532‐3025
QUINTINO LEOPOLD (660932)   LEVIN SIMES & KAISER              160 SANSOME STREET ‐ 12TH FLOOR                                      SAN FRANCISCO       CA   94104

QUINTINO, LEOPOLD           LEVIN SIMES & KAISER              160 SANSOME STREET ‐ 12TH FLOOR                                      SAN FRANCISCO        CA 94104

QUINTIS SINGLETON JR        9400 N BRAY RD                                                                                         CLIO                MI   48420‐9773
QUINTO PERTELESI            WEITZ AND LUXENBERG PC            700 BROADWAY                                                         NEW YORK CITY       NY   10003
QUINTO SBRAGIA              5417 CLOVERBROOK DR                                                                                    FORT WAYNE          IN   46806‐3515
QUINTO, DOROTHY W           360 WITCHES ROCK ROAD                                                                                  BRISTOL             CT   06010‐7194
QUINTO, ELIZABETH S         136 PLAINSBORO RD                                                                                      CRANBURY            NJ   08512‐3232
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Name                                    Address1                              Address2                      Address3   Address4                  City            State Zip
QUINTO, PHILIP E                        3 YARDVILLE ALLENTOWN RD                                                                                 ALLENTOWN        NJ 08501‐1671
QUINTO, PURIFICACION F                  3653 BLUFF RD                                                                                            INDIANAPOLIS     IN 46217‐3207
QUINTO, RAYMOND J                       342 WILLIS ST                                                                                            BRISTOL          CT 06010‐7224
QUINTO, ROSE M                          1732 S CLINTON AVE                                                                                       TRENTON          NJ 08610‐6216
QUINTON AKERS                           5521 HOLLENBECK RD                                                                                       COLUMBIAVILLE    MI 48421‐9386
QUINTON B. MCNEW, TRUSTEE               5571 HALIFAX AVE                                                                                         FORT MEYERS      FL 33912
QUINTON BAILEY                          3151 MURRAY HILL DR                                                                                      SAGINAW          MI 48601‐5634
QUINTON BARBEE                          2316 KELLAR AVE                                                                                          FLINT            MI 48504‐7103
QUINTON BARRETT                         6171 BERT KOUNS INDUSTRIAL LOOP APT                                                                      SHREVEPORT       LA 71129‐5005
                                        H106
QUINTON BOWENS                          8849 SAINT CLAIR DR                                                                                      SHREVEPORT      LA   71118‐2000
QUINTON BRADLEY                         935 ALPHA ST                                                                                             INGLEWOOD       CA   90302‐1407
QUINTON C HARMON                        107 WILLOW DR                                                                                            SOMERSET        KY   42503‐4142
QUINTON DANIEL                          7669 E X AVE                                                                                             VICKSBURG       MI   49097‐9503
QUINTON EMILY                           221 SEMEL CIRCLE                                                                                         ATLANTA         GA   30309
QUINTON HARMON                          107 WILLOW DR                                                                                            SOMERSET        KY   42503‐4142
QUINTON HAZ/HINCKLEY                    A5 WATLING ST                                                                  HINCKLEY UK LE10 3BQ
                                                                                                                       GREAT BRITAIN
QUINTON HAZ/RUGBY                       2 CENTRAL PARK DRIVE                  WARWICKSHIRE                             RUGBY GB CV23 OWE
                                                                                                                       GREAT BRITAIN
QUINTON HAZELL AUTOMOTIVE LIMITED       A5 WATLING ST                                                                  HINCKLEY, UK LE10 GREAT
                                                                                                                       BRITAIN
QUINTON HAZELL AUTOMOTIVE LTD           LOGIX PARK A5 WATLING STREET          HINCKLEY LE10 3BQ                        UNITED KINGDOM GREAT
                                                                                                                       BRITAIN
QUINTON HAZELL AUTOMOTIVE LTD           JIM CRAWFORD 1525                     BRON‐Y‐NANT CONWAY RD                                              TAWAS CITY      MI 48763
                                                                              MOCHDRE
QUINTON HAZELL ITALIA SPA               GIAN P CRUCCINELLI                    VIA NAZIONALE NORD 9/A                   SCHWANENSTADT AUSTRIA
QUINTON HAZELL PLC                      JIM CRAWFORD                          BLDG #1 HAZELL WAY BERMUDA               COLICO ITALY
QUINTON HOWARD JR                       4646 GRUBBS REX RD                                                                                       ARCANUM         OH   45304‐9236
QUINTON J SMITH                         1137 ANDOVER FOREST DR                                                                                   LEXINGTON       KY   40509
QUINTON J WILLIAMS                      4365 SPRINGCREEK DR APT C                                                                                DAYTON          OH   45405
QUINTON JOHNSON                         527 EVANS AVE                                                                                            MIAMISBURG      OH   45342‐3307
QUINTON JR, JAMES M                     410 ONTARIO AVENUE                                                                                       PARK CITY       UT   84060
QUINTON JR, JAMES MICHAEL               410 ONTARIO AVENUE                                                                                       PARK CITY       UT   84060
QUINTON KELLEY
QUINTON L SHORTER                       8618 HILLSIDE ST                                                                                         OAKLAND         CA   94605‐3936
QUINTON LACEWELL                        288 PIPERS LN                                                                                            MOUNT MORRIS    MI   48458‐8703
QUINTON LYNCH                           683 BAY POINTE DR                                                                                        OXFORD          MI   48371‐5155
QUINTON MCDONALD                        505 N HAMILTON ST                                                                                        OLATHE          KS   66061‐3326
QUINTON MURPHY JR                       130 RENWOOD PL                                                                                           SPRINGBORO      OH   45066‐1072
QUINTON ROBIN                           3405 LINDHAVEN DR                                                                                        PEARLAND        TX   77584
QUINTON SMITH                           322 HERMAN ST                                                                                            BUFFALO         NY   14211‐2926
QUINTON SMITH                           PO BOX 136                            6165 PENWOOD RD                                                    MOUNT MORRIS    MI   48458‐0136
QUINTON STEELE                          19175 SNOWDEN ST                                                                                         DETROIT         MI   48235‐1259
QUINTON WILLIS G (ESTATE OF) (467051)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510
                                                                              STREET, SUITE 600
QUINTON, ARNOLD L                       509 NORMANDY DR                                                                                          BLUFFTON        IN   46714‐4053
QUINTON, EMILY K                        221 SEMEL CIRCLE                      246                                                                ATLANTA         GA   30309
QUINTON, EVELYN E                       2435 SILVER STREET                                                                                       ANDERSON        IN   46012‐1621
QUINTON, EVELYN E                       2435 SILVER ST                                                                                           ANDERSON        IN   46012‐1621
QUINTON, JAMES E                        1585 BISCHOFF RD                                                                                         EAST TAWAS      MI   48730‐9741
QUINTON, JAMES M                        120 NE COVE RD                                                                                           DAWSONVILLE     GA   30534‐5706
                                      09-50026-mg              Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                                  Address1                         Address2                      Address3   Address4              City            State Zip
QUINTON, ROY L                        1310 FULTON AVE                                                                                 ALEXANDRIA       IN 46001‐2717
QUINTON, THOMAS S                     9385 SHANNON DR                                                                                 BRIGHTON         MI 48116‐8820
QUINTON, VERNON S                     19820 N COUNTY ROAD 200 E                                                                       EATON            IN 47338‐9216
QUINTON, WILLIS G                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
QUINTRAL LEE                          96 E MONTCALM ST                                                                                PONTIAC         MI   48342‐1348
QUINTRELL RANDALL D PC                999 PEACHTREE ST NE 26TH FL                                                                     ATLANTA         GA   30309
QUINTRELL, SAMMY W                    3318 SPANISH OAK TER                                                                            SARASOTA        FL   34237‐7426
QUINTUS, ARLENE                       1654 HONEY BEE LN                                                                               WILMINGTON      NC   28412‐2359
QUINTUS, STEFAN                       179 OLD HAVERSTRAW RD                                                                           CONGERS         NY   10920‐1609
QUINZON, BARTOLOME                    13386 S NORTH AVE                                                                               CHINO           CA   91710‐7310
QUINZY, FREDDIE M                     11621 RAWSONVILLE RD                                                                            BELLEVILLE      MI   48111‐9373
QUINZY, FREDDIE MAE                   11621 RAWSONVILLE RD                                                                            BELLEVILLE      MI   48111‐9373
QUINZY, JAMES E                       225 FARMERS SW                                                                                  GRAND RAPIDS    MI   49503
QUINZY, JOHN E                        11621 RAWSONVILLE RD                                                                            BELLEVILLE      MI   48111‐9373
QUINZY, JOHN EDMUND                   11621 RAWSONVILLE RD                                                                            BELLEVILLE      MI   48111‐9373
QUINZY, SHANTE M                      9308 MONTEREY BAY DRIVE                                                                         ORLANDO         FL   32832‐5654
QUINZY, SHANTE M.                     9308 MONTEREY BAY DRIVE                                                                         ORLANDO         FL   32832‐5654
QUIONA C STEPHENS                     5 LARETA COURT                                                                                  TROTWOOD        OH   45426‐3007
QUIRAM, PETER G                       10 PENRITH AVE                   DUNSTABLE                                BEDFORDSHIRE UNITED
                                                                                                                KINGDOM LU63AN
QUIRANTE, DELORES                     2375 SOWER BLVD                                                                                 OKEMOS          MI   48864‐3263
QUIRARTE JR, DAVID                    13302 N 88TH PL                                                                                 SCOTTSDALE      AZ   85260‐7633
QUIRARTE, ROBERT M                    1437 S 36TH ST                                                                                  KANSAS CITY     KS   66106‐2025
QUIRE, PAUL M                         14627 ELROND DR                                                                                 STERLING HTS    MI   48313‐5624
QUIRICONI, NEAL C                     20130 S GREENFIELD LN                                                                           FRANKFORT       IL   60423
QUIRING ELVIN                         1159 S AVENIDA CONALEA                                                                          TUCSON          AZ   85748‐6821
QUIRING, J M                          3835 BEXLEY SQ                                                                                  RENO            NV   89503‐1820
QUIRING, SHELLEY A                    1213 MORRISON TRL                                                                               EDMOND          OK   73012‐6417
QUIRINO DIPAOLO                       2016 ISABELLE DR                                                                                GIRARD          OH   44420‐1179
QUIRINO EPIFANIO                      QUIRINO, EPIFANIO                7825 FAY AVE STE 200                                           LA JOLLA        CA   92037‐4270
QUIRINO S DIPAOLO                     2016 ISABELLE DR.                                                                               GIRARD          OH   44420‐1179
QUIRINO SALAZAR                       3200 N CEDAR ST                                                                                 LANSING         MI   48906‐3210
QUIRION, GARY P                       45 DEERFIELD RD                                                                                 BRISTOL         CT   06010‐3236
QUIRK ACQUISITION CO.                 JOHN QUIRK                       1000 BRIGHTON AVE                                              PORTLAND        ME   04102‐1010
QUIRK CHEV,CAD,OLDS OF BANGOR                                                                                                         BANGOR          ME   04401‐4205
QUIRK CHEV,CAD,OLDS OF BANGOR         293 HOGAN RD                                                                                    BANGOR          ME   04401‐4205
QUIRK CHEVROLET                       PO BOX 850972                                                                                   BRAINTREE       MA   02185‐0972
QUIRK CHEVROLET                       1000 BRIGHTON AVE                                                                               PORTLAND        ME   04102‐1010
QUIRK CHEVROLET BUICK HUMMER                                                                                                          MANCHESTER      NH   03103‐4078
QUIRK CHEVROLET BUICK HUMMER          1250 S WILLOW ST                                                                                MANCHESTER      NH   03103‐4040
QUIRK CHEVROLET, CADILLAC & SAAB OF   JOHN QUIRK                       293 HOGAN RD                                                   BANGOR          ME   04401‐4205

QUIRK CHEVROLET, CADILLAC & SAAB OF   293 HOGAN RD                                                                                    BANGOR          ME 04401‐4205

QUIRK CHEVROLET, CADILLAC & SAAB OF   293 HOGAN RD                                                                                    BANGOR          ME 04401‐4205
BANGOR
QUIRK DAN                             50 BEACON ST                                                                                    CHESTNUT HILL   MA   02467‐1303
QUIRK FRANK L (415490)                SIMMONS FIRM                     PO BOX 559                                                     WOOD RIVER      IL   62095‐0559
QUIRK SAAB OF BANGOR                  293 HOGAN RD                                                                                    BANGOR          ME   04401‐4205
QUIRK SAAB OF BANGOR                  QUIRK, JOHN J                    293 HOGAN RD                                                   BANGOR          ME   04401‐4205
QUIRK, BARBARA D                      2700 N WASHINGTON ST TRLR 170                                                                   KOKOMO          IN   46901‐7807
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QUIRK, EDWARD L                 1812 GROVE AVE                                                                                 OWOSSO            MI 48867‐3954
QUIRK, FRANK L                  SIMMONS FIRM                     PO BOX 559                                                    WOOD RIVER         IL 62095‐0559
QUIRK, G B                      101 BELOIT CT                                                                                  CARY              NC 27511‐5255
QUIRK, JANET S                  PO BOX 155                                                                                     SHARPSVILLE       IN 46068‐0155
QUIRK, LAUREL S                 1812 GROVE AVE                                                                                 OWOSSO            MI 48867‐3954
QUIRK, LINDA L                  3930 RIVER RD UNIT 65                                                                          EAST CHINA        MI 48054‐2928
QUIRK, MARGARET L               3360 S HADLEY RD                                                                               ORTONVILLE        MI 48462‐9114
QUIRK, MARY J                   17 LAKE SPRINGS DR                                                                             MCLOUD            OK 74851‐8961
QUIRK, MAX A                    PO BOX 214                                                                                     GALVESTON         IN 46932‐0214
QUIRK, MAX A                    BOX 214                                                                                        GALVESTON         IN 46932‐0214
QUIRK, MIRIAM N                 1615 BUICK LN                                                                                  KOKOMO            IN 46902‐2579
QUIRK, PATRICIA A               2114 N JAY ST                                                                                  KOKOMO            IN 46901‐1620
QUIRK, PATRICK S                2304 W BRYDEN RD                                                                               MUNCIE            IN 47304‐1707
QUIRK, ROBERT E                 3930 RIVER RD UNIT 65                                                                          EAST CHINA        MI 48054‐2928
QUIRK, ROBERT R                 3612 FOX RIDGE RD                                                                              LOUISVILLE        TN 37777‐3447
QUIRK, SHIRLEY                  210 TURNBERRY CIR SW                                                                           NORTH CANTON      OH 44709‐1097
QUIRK, THELMA L                 5502 LONG BOW DR                                                                               KOKOMO            IN 46902‐5441
QUIRLES, LAWRENCE T             4197 DEVONSHIRE RD                                                                             DETROIT           MI 48224‐3635
QUIRLES, PTLEMY                 11407 GRANDVILLE AVE                                                                           DETROIT           MI 48228‐1385
QUIRNO ESCUDERO                 842 E SAINT CHARLES ST APT B                                                                   BROWNSVILLE       TX 78520‐5108
QUIROGA JR, ROBERTO             5543 HARPER RD                                                                                 HOLT              MI 48842‐9663
QUIROGA, CATHERINE G            2S640 CERNY RD UNIT B1                                                                         WARRENVILLE        IL 60555‐2573
QUIROGA, FLORA R                1290 MAURER AVE                                                                                PONTIAC           MI 48342‐1960
QUIROGA, JOSE                   3913 STRATFORD AVE                                                                             LANSING           MI 48911‐2236
QUIROGA, MARCIA A               4845 WILCOX RD                                                                                 HOLT              MI 48842‐1955
QUIROGA, MARCIA A               4845 WILCOX ROAD                                                                               HOLT              MI 48842‐1955
QUIROGA, MARGARITA R            13856 WEIDNER ST                                                                               PACOIMA           CA 91331‐3550
QUIROGA, MARIA BEATRICE         7560 CROSWELL RD                                                                               CROSWELL          MI 48422‐9126
QUIROGA, RENE                   2377 W 1100 N                                                                                  HUNTINGTON        IN 46750‐7919
QUIROGA, ROBERTO                4407 REXFORD AVE                                                                               HOLT              MI 48842‐2026
QUIROGA, SALLY J                3840 N HARTFORD DR                                                                             SAGINAW           MI 48603‐7234
QUIROGA, SALLY J                7285 DEWEIGAN LN                                                                               MOUNT PLEASANT    MI 48858
QUIROGA, SHANNON M              2377 W 1100 N                                                                                  HUNTINGTON        IN 46750‐7919
QUIROS, RICHARD
QUIROS, ROMULO C                37 SUNNYSIDE RD                                                                                WEST ORANGE      NJ 07052‐2031
QUIROZ GALVEZ, RICARDO JAIVER   LANGDON AND EMISON               THE EAGLE BUILDING, PO BOX 220,                               LEXINGTON        MO 64067
                                                                 911 MAIN STREET
QUIROZ JR, BALDOMERO            30 DEL SANTELLO                                                                                LAKE ELSINORE    CA   92532‐0209
QUIROZ, CARMEN                  25428 VIA ESCOVAR                                                                              VALENCIA         CA   91355‐2914
QUIROZ, GEORGE                  1821 HANOVER ST                                                                                LINCOLN PARK     MI   48146‐1421
QUIROZ, JESSE B                 2228 N BOSART AVE                                                                              INDIANAPOLIS     IN   46218‐3838
QUIROZ, JOHN                    1523 VIA BARRETT                                                                               SAN LORENZO      CA   94580‐1305
QUIROZ, JOHN R                  PO BOX 14153                                                                                   LANSING          MI   48901‐4153
QUIROZ, JOSE M                  36584 LEONE ST                                                                                 NEWARK           CA   94560‐3023
QUIROZ, RAFAEL                  913 JACOBS CROSSING CT                                                                         BURLESON         TX   76028‐5140
QUIROZ, RICARDO                 815 SALINAS AVE UNIT 1009                                                                      LAREDO           TX   78040‐8032
QUIROZ, ROXANE M                1350 BAY HARBOR DR APT 108                                                                     PALM HARBOR      FL   34685
QUIRRENBACH, HANNA E            2160 W. DIXON LAKE DR.,                                                                        GAYLORD          MI   49735
QUIRRENBACH, HANNA E            2160 W DIXON LAKE DR                                                                           GAYLORD          MI   49735‐8214
QUIRRENBACH, HENRI              2160 W DIXON LAKE DR                                                                           GAYLORD          MI   49735‐8214
QUIRT LLC                       2564 N SQUIRREL NO 254                                                                         AUBURN HILLS     MI   48326
QUISENBERRY JR, GEORGE H        4030 E LUPINE AVE                                                                              PHOENIX          AZ   85028‐2221
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Name                               Address1                           Address2                        Address3   Address4                City             State Zip
QUISENBERRY, AARON                 2734 N 75TH TER                                                                                       KANSAS CITY       KS 66109‐1604
QUISENBERRY, JERRY L               1433 HOUSTON MINES ROAD                                                                               TROUTVILLE        VA 24175‐7173
QUISENBERRY, SHIRLEY D             1252 W 73RD ST APT E                                                                                  INDIANAPOLIS      IN 46260‐4082
QUISENBERRY, SHIRLEY D             1252 WEST 73RD STREET              APT E                                                              INDIANAPOLIS      IN 46260
QUISENG, JAMES G                   2100 SEVILLE DR                                                                                       TRACY             CA 95377‐8957
QUISPE, MARTHA                     KIMMEL & SILVERMAN PC              1930 E MARLTON PIKE SUITE Q29                                      CHERRY HILL       NJ 08003
QUIST, KENNETH R                   12230 IRISH RD                                                                                        OTISVILLE         MI 48463‐9430
QUIST, KYLE ANTHONY
QUIST, RUBY                        8213 WILLARD RD                                                                                       MILLINGTON       MI   48746‐9310
QUITALDI, ANTHONY J                248 STONE RD                                                                                          ROCHESTER        NY   14616‐3831
QUITALDI, ANTHONY J                248 STONE RD.                                                                                         ROCHESTER        NY   14616‐3831
QUITALDI, BARBARA D                248 STONE ROAD                                                                                        ROCHESTER        NY   14616‐3831
QUITALDI, BARBARA D                248 STONE RD                                                                                          ROCHESTER        NY   14616‐3831
QUITMAN BROWN                      1815 E STATE ROAD 28                                                                                  ALEXANDRIA       IN   46001‐8910
QUITMAN COUNTY TAX COLLECTOR       COURTHOUSE                                                                                            MARKS            MS   38646
QUITMAN DUKES                      6 FISHERS HILL DR                                                                                     SAINT PETERS     MO   63376‐5971
QUITMAN IRELAND                    12445 S MORGAN ST                  APT 113                                                            CALUMET PARK     IL   60827
QUITMAN ISD                        1101 E GOODE ST STE A                                                                                 QUITMAN          TX   75783‐1651
QUITMON LIPKINS JR                 C/O BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH   44236
QUITON, JO A                       71 PONDEROSA TRL N                                                                                    BELLEVILLE       MI   48111‐5397
QUITSCHAU, AMY M                   2132 W NATIONAL AVE APT 2                                                                             MILWAUKEE        WI   53204
QUITTER, CHARLES W                 5545 STATE ROUTE 133                                                                                  WILLIAMSBURG     OH   45176‐8218
QUIXX LINDEN, L.P.                 QUIXX LINDEN, L.P. ATTN: R. ROSS   AMARILLO NATIONAL'S PLAZA TWO                                      AMARILLO         TX
                                   MCCAUSLAND
QUIZNOS                            ATTN: STEVE KHAMIS                 3999 CENTERPOINT PKWY # 103                                        PONTIAC          MI   48341‐3122
QULO DANIEL                        2800 OXFORD AVE                                                                                       DAYTON           OH   45406‐4338
QUNICY D JOHNSON                   237 HICKORY RD                                                                                        RIDGELAND        MS   39157
QUNNON J CANNON                    750 LOUNSBURY AVE                                                                                     PONTIAC          MI   48340‐2452
QUNTION UTSEY                      BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS       OH   44236
QUOCK CHOY                         353 ANN CT                                                                                            LIVERMORE        CA   94550‐5217
QUOCKCO, DONALD E                  PO BOX 1281                                                                                           NEWARK           NJ   07101‐1281
QUOIN INC                          601 1ST ST NW                                                                                         GRAND RAPIDS     MI   49504‐5517
QUONG & ASSOCIATES INC             54 FORTUNA AVE                                                                                        SAN FRANCISCO    CA   94115‐3818
QUORDELL D BEAUCHAMP               411 HARPER AVE APT 2                                                                                  DETROIT          MI   48202‐3558
QUORUM INF TECH                    COLLEEN GOTTSELIG                  #300, 10655 SOUTHPORT ROAD SW              CALGARY AB T2W 4Y1
                                                                                                                 CANADA
QUORUM INFO.
QUORUM INFORMATION SYSTEMS         6715 8 ST NE                       SUITE 200                                  CALGARY AB T2E 7H7
                                                                                                                 CANADA
QUORUM INFORMATION SYSTEMS INC     300 10655 SOUTHPORT RD SW                                                     CALGARY CANADA AB T2W
                                                                                                                 4Y1 CANADA
QUORUM INFORMATION SYSTEMS INC     300‐10655 SOUTHPORT RD SW                                                     CALGARY AB T2W 4Y1
                                                                                                                 CANADA
QUORUM INFORMATION SYSTEMS, INC.   2451 DIEPPE AVE SW                 SUITE 100                                  CALGARY AB T3E 7K1
                                                                                                                 CANADA
QUORUM INFORMATION SYSTEMS, INC.   6715 ‐ 8TH STREET, NE              SUITE 2                                    CALGARY AB T3E 7K1
                                                                                                                 CANADA
QUORUM INFORMATION SYSTEMS, INC.   6715 8 ST NE                       SUITE 200                                  CALGARY AB T2E 7H7
                                                                                                                 CANADA
QUORUM INFORMATION TECH, INC.      19301 SHELBURNE RD                                                                                    SHAKER HEIGHTS   OH 44118‐4952
QUORUM INFORMATION TECHNOLOGIE     10655 SOUTHPORT RD SW STE 300                                                 CALGARY AB T2W 4Y1
                                                                                                                 CANADA
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QUORUM INFORMATION TECHNOLOGIES
INC
QUORUM INFORMATION TECHNOLOGIES   10655 SOUTHPORT RD SW STE 300                                          CALGARY AB T2W 4Y1
INC                                                                                                      CANADA
QUORUM INFORMATION TECHNOLOGIES   11069 SHADOW CREEK                                                                             STERLING HEIGHTS    MI 48313
INC
QUORUM INFORMATION TECHNOLOGIES   ATTN ACCOUNTS RECEIVABLE         PO BOX 874                            STERLING HEIGHTS MI
US INC                                                                                                   48311 CANADA
QUOVATIS LEWIS                    723 E JAMIESON                                                                                 FLINT              MI    48505
QURAISHI, ABDUL R                 853 RAMBLEWOOD DR                                                                              ROCHESTER          MI    48307‐6067
QURESHI                           PO BOX 1123                                                                                    JACKSON            MI    49204‐1123
QURESHI                           106 MAIN ST                                                                                    DANSVILLE          NY    14437‐1610
QURESHI, ABED N                   210 BOXGROVE RD                                                                                ALPHARETTA         GA    30022‐4439
QURESHI, IQBAL A                  6456 W CIMARRON TRL                                                                            FLINT              MI    48532‐2021
QURESHI, KHURSHID A               3025 ROYAL PINE DR                                                                             COLORADO SPRINGS   CO    80920‐1485
QURESHI, MOHAMMAD A               40307 DENBIGH DR                                                                               STERLING HEIGHTS   MI    48310‐6942
QURESHI, NADEEM A                 29642 TERRACE CT                                                                               WARREN             MI    48093‐6750
QURIK MICHAEL                     5792 HEIGHTS RD                                                                                SANTA ROSA         CA    95404‐1018
QUTEJA, SAEEDA A                  2702 SPRINGTIME DR                                                                             TROY               MI    48083‐6807
QUYE, JASON R                     1508 MARIA ST                                                                                  FLINT              MI    48507‐5528
QUYEN D LA                        3502 W CALLE DEL NORTE                                                                         SANTA ANA          CA    92704‐1402
QUYNH LEVERENZ                    3644 CHARLWOOD DR                                                                              ROCHESTER HILLS    MI    48306‐3625
QUZELLA BREWER                    2441 OUSLEY CT                                                                                 DECATUR            GA    30032‐6460
QV REALTY                         PO BOX 1386                                                                                    BANGOR             ME    04402‐1386
QVESTER VAUGHN                    1843 LAUREL OAK DR                                                                             FLINT              MI    48507‐2253
QVICK, STEPHEN P                  1626 LARCHWOOD DR                                                                              DAYTON             OH    45432‐3611
QVM/CMC MANUFACTURERS ASSOC       PO BOX 3070                                                                                    WARRENTON          VA    20188‐1770
QWENDOLYN MILLARD                 6372 OYSTER KEY LN                                                                             PLAINFIELD         IN    46168‐9162
QWEST                             800 MAIN ST                                                                                    GRAND JUNCTION     CO    81501‐3537
QWEST                             PO BOX 29040                                                                                   PHOENIX            AZ    85038‐9040
QWEST                             PO BOX 91154                                                                                   SEATTLE            WA    98111‐9254
QWEST                             PO BOX 91155                                                                                   SEATTLE            WA    98111‐9255
QWEST                             CUSTOMER CARE                    PO BOX 29040                                                  PHOENIX            AZ    85038‐9040
QWEST CENTER                      455 N 10TH ST                    AND CONVENTION AUTHORITY                                      OMAHA              NE    68102‐1151
QWEST COMMUNICATIONS              6327 N 67TH AVE                                                                                GLENDALE           AZ    85301‐4303
QWEST COMMUNICATIONS              700 W MINERAL AVE M/C F0502                                                                    LITTLETON          CO    80120
QWEST COMMUNICATIONS              5325 ZUNI ST SUITE A39                                                                         DENVER             CO    80221
QWEST COMMUNICATIONS              5325 ZUNI ST. SUITE A39                                                                        DENVER             CO    80221
QWEST COMMUNICATIONS
QWEST COMMUNICATIONS                                               6327 N 67TH AVE                                                                   AZ 85301
QWEST COMMUNICATIONS                                               21011 N 27TH AVE                                                                  AZ 85027
QWEST COMMUNICATIONS              STEVEN HOPE                      700 W MINERAL AVE                                             LITTLETON           CO 80120‐4511
QWR LTD                           1775 SYLVESTRE DR RR 1                                                 WINDSOR CANADA ON N8N
                                                                                                         2L9 CANADA
R
R & A SERVICE STATION LTD.        103 DOUGLAS ROAD                                                       KENSINGTON PE C0B 1M0
                                                                                                         CANADA
R & A SERVICE,INC. DBA JUSTICE    9012 W 79TH ST                                                                                 JUSTICE             IL   60458‐1346
FIRESTONE
R & B AUTOMOTIVE                  425 KING ST                                                            WELLAND ON L3B 3K4
                                                                                                         CANADA
R & B CAR COMPANY, INC            2105 N BIOMET DR                                                                               WARSAW              IN   46582‐7859
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R & B HOLT ENTERPRISES                WILLIAM HOLTVOGHT                    4 HOPEWOOD DR                                                PIQUA                OH 45356‐4218
R & B PRODUCTIONS INC SHOW            AUTO SHOW3\99                        7150 W UNIVERSITY ST                                         PEORIA                IL 61614
R & B SERVICE                         3811 S MICHIGAN ST                                                                                SOUTH BEND           IN 46614‐2539
R & B WIRE/BOX 985                    PO BOX 985                                                                                        FAYETTEVILLE         TN 37334‐0985
R & C SERVICES, INC.                  RICHARD ACRA                         1198 STATE ROAD 46 E                                         BATESVILLE           IN 47006‐9232
R & D CUSTOM MACHINE & TOOL           5961 AMERICAN RD E                                                                                TOLEDO               OH 43612‐3950
R & D ERGO SOLUTIONS INC              446 HARROP DR                                                              MILTON CANADA ON L9T
                                                                                                                 3H2 CANADA
R & D THIEL                                                                2340 NEWBURG RD                                                                  IL   61008
R & D TRUCKING CO INC                 RTE 13 BOX 30F                       K ALDERMAN                                                   FLORENCE            AL   35634
R & E AUTOMATED SYSTEMS LLC           44440 PHOENIX DR                                                                                  STERLING HEIGHTS    MI   48314‐1467
R & E HAULING INC                     PO BOX 2800                                                                                       BALTIMORE           MD   21225‐0800
R & E TRUCKING                        ATTN: RANDAL ERMICK                  14141 ECKLES RD                                              PLYMOUTH            MI   48170‐2759
R & H SPRING & TRUCK REPAIR           4806 W HURLEY POND RD                                                                             WALL TOWNSHIP       NJ   07719‐9633
R & I MFG CO INC                      DIV OF BSM INC                       118 NAPCO DR                                                 TERRYVILLE          CT   06786‐7309
R & J AUTO ENTERPRISES LLC            ELROY CHRISTENSON                    5660 392ND ST                                                NORTH BRANCH        MN   55056‐5201
R & J MANUFACTURING CO                3200 MARTIN RD                                                                                    COMMERCE TOWNSHIP   MI   48390‐1629
R & J TRANSPORT INC                   608 N 41ST ST                                                                                     MANITOWOC           WI   54220‐3520
R & J TRUCKING CO INC                 8063 SOUTHERN BLVD                                                                                BOARDMAN            OH   44512‐6306
R & K AUTOPLEX                        1403 E STATE RD #114                                                                              LEVELLAND           TX   79336
R & K CHEVROLET‐OLDS, INC.            OTHA WOOD                            1403 E STATE RD #114                                         LEVELLAND           TX   79336
R & K EXPEDITING                      2936 FUNNELLS RD                                                                                  SPRING LAKE         MI   49456
R & K SUPPLY/HINCKLY                  1854 HINCKLEY HILLS RD                                                                            HINCKLEY            OH   44233‐9321
R & K TOOL INC                        28214 BECK RD                                                                                     WIXOM               MI   48393‐3623
R & K VOLLMAR MOTORS, INC.            RANDALL VOLLMAR                      117 W 2ND ST                                                 HOLSTEIN            IA   51025‐7705
R & L AUTO REPAIR                     211 E 2ND ST                                                                                      ARLINGTON           WA   98223‐1301
R & L CARMICHAEL REV LIV TRUST        RICHARD E CARMICHAEL                 11757 E ARABIAN PK DRIVE                                     SCOTTSDALE          AZ   85259
R & L CARRIERS                        JERRY JOHNS                          600 GILLIAM RD                                               WILMINGTON          OH   45177‐9089
R & L CARRIERS INC                    2483 ST RT 22 WEST                                                                                WILMINGTON          OH   45177
R & L EXPRESS INC                     534 GOLF RD                                                                                       STREATOR            IL   61364‐1108
R & L INDUSTRIES INC                  6440 E HOLLY RD                                                                                   HOLLY               MI   48442‐9739
R & L INDUSTRIES INC                  ATTN: CORPORATE OFFICER/AUTHORIZED   6440 E HOLLY RD                                              HOLLY               MI   48442‐9739
                                      AGENT
R & L PERFORMANCE AUTO SERVICE        887 PALOMAR ST                                                                                    CHULA VISTA         CA 91911‐2634
R & M AIR SYSTEMS                     2000 OAKLEY PARK RD STE 205A 5                                                                    COMMERCE TOWNSHIP   MI 48390
R & M AIR SYSTEMS INC                 2000 E OAKLEY PARK RD STE 205                                                                     COMMERCE TOWNSHIP   MI 48390‐1506
R & M AUTO SERVICE                    440 COURTLAND AVE E                                                        KITCHENER ON N2G 2W4
                                                                                                                 CANADA
R & M AUTOMOTIVE CENTER               47378 VAN DYKE AVE                                                                                SHELBY TOWNSHIP     MI 48317‐3361
R & M CONTRACTING CORP                PO BOX 5008                          33881 ECORSE RD                                              DEARBORN            MI 48128‐0008
R & M DIODATI FAMILY LTD. PARTNERSHIP 11423 SUNRISE GOLD CIRCLE            SUITE 16                                                     RANCHO CORDOVA      CA 95742

R & M DISCOUNT                        ATTN: MARTIN GARRETT                 3880 DIVISION AVE S                                          WYOMING             MI   49548‐3274
R & M ENGINEERING INC                 11448 N LINDEN RD                                                                                 CLIO                MI   48420
R & M INC                             PO BOX 5008                                                                                       DEARBORN            MI   48128‐0008
R & M INVESTMENTS                     11423 SUNRISE GOLD CIR STE 16                                                                     RANCHO CORDOVA      CA   95742‐6585
R & M INVESTMENTS                     11423 SUNRISE GOLD CIR               STE 16                                                       RANCHO CORDOVA      CA   95742‐6585
R & M MACHINE INC                     23895 REGENCY PARK DR                                                                             WARREN              MI   48089‐2677
R & M SERVICES INC                    13012 BATTALION WAY                                                                               EL PASO             TX   79938‐4368
R & M TRUCKING INC                    29850 ECORSE RD                                                                                   ROMULUS             MI   48174‐3520
R & O TOOL SERVICE INC                7708 OLYMPIC PKWY                                                                                 SYLVANIA            OH   43560‐4308
R & O TOOL SERVICE INC                ROBERT MCPHERSON                     7708 OLYMPIC PARKWAY                                         SYLVANIA            OH   43560‐4808
                                       09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                                   Address1                             Address2                Address3   Address4               City              State Zip
R & R AUTO REPAIR                      2881 FRUITRIDGE RD                                                                             SACRAMENTO         CA 95820‐6303
R & R AUTO SYSTEMS                     5735 S RAINBOW BLVD                                                                            LAS VEGAS          NV 89118‐2529
R & R EXPRESS                          PO BOX 16098                                                                                   PITTSBURGH         PA 15242‐0098
R & R INC./GRAND HAV                   PO BOX 161                                                                                     GRAND HAVEN        MI 49417‐0161
R & R MANUFACTURING                    RICHARD L. MOYSE                     572 W. 5TH AVE                                            ROSEVILLE          MI
R & R MANUFACTURING INC                RICHARD L. MOYSE                     572 W. 5TH AVE                                            ROSEVILLE          MI
R & R PLUMBING INC                     ATTN: RYLAND LUTTRELL                11313 TIDEWATER TRL                                       FREDERICKSBURG     VA 22408‐2038
R & R READY MIX INC                    6050 MELBOURNE RD                                                                              SAGINAW            MI 48604‐9710
R & R TECHNOLOGIES LLC                 3020 AIRPARK DR S                                                                              FLINT              MI 48507‐3477
R & R TECHNOLOGIES LLC                 7560 E COUNTY LINE RD                                                                          EDINBURGH          IN 46124‐1100
R & R TECHNOLOGIES LLC DEPT 105301     PO BOX 67000                                                                                   DETROIT            MI 48267‐0002
R & R TRUCKING CO                      123 HILLES AVE                       PO BOX 423                                                BARNESVILLE        OH 43713‐1374
R & R TRUCKING INC                     1818 BURLINGTON ST E                                                    HAMILTON ON L8H 3L4
                                                                                                               CANADA
R & S AUTO SERVICE                     2660 TROUT LAKE RD.                                                     NORTH BAY ON P1B 7S7
                                                                                                               CANADA
R & S AUTO SERVICE LTD                 420 ORMONT DR                                                           WESTON ON M9L 1N9
                                                                                                               CANADA
R & S AUTOMOTIVE                       2024 29TH ST                                                                                   BEDFORD           IN   47421‐5304
R & S AUTOMOTIVE                       24773 VALLEY ST                                                                                NEWHALL           CA   91321‐2628
R & S OIL CO., INC.                    90 LINCOLN AVE                                                                                 UNDERWOOD         ND   58576
R & S TRANSPORTATION & LOGISTICS INC   1770 E KEATING AVE                                                                             MUSKEGON          MI   49442‐6119

R & S TRANSPORTATION SERVICES INC.                                          2990 DUSS AVE                                                               PA   15003
R & T AUTO REPAIR INC.                 1909 W OSTERHOUT AVE                                                                           PORTAGE           MI   49024‐6759
R & T PERFORMANCE AUTOMOTIVE           1220 GREG ST                                                                                   SPARKS            NV   89431‐6005
R & W CHEVROLET COMPANY, INC.          221 US #13 BYP                                                                                 WINDSOR           NC   27983
R & W INDUSTRIES INC                   PO BOX 70450                                                                                   ROCHESTER HILLS   MI   48307‐0010
R & W INDUSTRIES INC                   ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 70450                                              ROCHESTER HILLS   MI   48307‐0010
                                       AGENT
R & W SCALES                           PO BOX 70450                                                                                   ROCHESTER HILLS   MI   48307‐0010
R + W AMERICA LP                       120 TOWER LN                                                                                   BENSENVILLE       IL   60106
R A BICKHAM                            2317 BANCROFT ST                                                                               SAGINAW           MI   48601‐1514
R A BROOKSHIRE                         109 DEER TRACE CIRCLE                                                                          LUFKIN            TX   75901
R A BUXMAN                             2845 E MALIBU                                                                                  BAY CITY          MI   48706
R A CUSHMAN CO                         1940 N MILLER RD                                                                               SAGINAW           MI   48609‐9218
R A DINKEL & ASSOCIATES INC            4641 WILLOUGHBY RD                                                                             HOLT              MI   48842‐2162
R A HAFERTEPE & JUDY HAFERTEPE         RAYMOND HAFERTEPE                    1731 W ETHANS GLEN DR                                     PALATINE          IL   60067‐0925
R A LEE ELECTRIC                       ATTN: RICHARD LEE                    263 W MONTCALM ST                                         PONTIAC           MI   48342‐1150
R A MUELLER INC                        7272 PREMONT                                                                                   HOUSTON           TX   77040
R A NELSON                             1002 N 20TH AVE                                                                                KELSO             WA   98626
R A S MANUFACTURING CO                 PO BOX 5238                                                                                    POLAND            OH   44514‐0238
R A WATTENBARGER                       442 CHIMNEY HILL DR                                                                            COLLEGE STATION   TX   77840
R ABBOTT                               1164 COUNTY ROAD 181                                                                           MOULTON           AL   35650‐5616
R ACOFF                                2774 25TH AVE                                                                                  OAKLAND           CA   94601‐1337
R ALMOND                               128 S CORY DR                                                                                  EDGEWATER         FL   32141‐7222
R AMBROSE                              65 W HALLETT ST                                                                                HILLSDALE         MI   49242‐1986
R AND R ENTERTAINMENT                  3605 ALBRECHT AVE                                                                              AKRON             OH   44312‐3652
R ANDRINGA                             7800 BURRSTONE DR SE                                                                           CALEDONIA         MI   49316‐9570
R ANGELINI                             3860 CASS ELIZABETH RD                                                                         WATERFORD         MI   48328‐4506
R ARMSTRONG                            30 DOUGLAS DR                                                                                  BELLINGHAM        MA   02019‐1751
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Name                            Address1                            Address2                      Address3                    Address4                City                State Zip
R B & W CORP. OF CANADA         DAVE BISHOP X312                    5190 BRADCO BLVD.                                         TAICANG,JIANGSU CHINA
                                                                                                                              (PEOPLE'S REP)
R B BLISS III                   4539 NETTLE CREEK CT                                                                                                  PORT ORANGE         FL    32127‐9208
R B CAMPBELL                    545 N UNION RD                                                                                                        DAYTON              OH    45427
R B ELECTRIC CO                 ATTN: ROBERT BIANCO                 545 LEXINGTON AVE                                                                 CRANFORD            NJ    07016‐2736
R B L PLASTICS INC              6040 RUSSELL ST                                                                                                       DETROIT             MI    48211‐2120
R BAILEY JR                     49891 W HURON RIVER DR                                                                                                BELLEVILLE          MI    48111‐4402
R BAKER                         4846 SKYLINE DR                                                                                                       PERRINTON           MI    48871‐9758
R BANDA                         3749 ORANGE ST                                                                                                        SAGINAW             MI    48601‐5551
R BARNETT                       9383 HIGHWAY 196                                                                                                      FAUBUSH             KY    42544‐6510
R BARNEY                        PO BOX 7                                                                                                              DERMOTT             AR    71638‐0007
R BASS                          658 NEWMAN LN                                                                                                         PONTIAC             MI    48340‐3300
R BAZILEWICH                    404 MARSH COVE LN                                                                                                     PONTE VEDRA BEACH   FL    32082‐1660
R BEAMAN                        1764 QUINCY DR                                                                                                        ROCHESTER HILLS     MI    48306‐3654
R BEDELL                        11731 BIRWOOD ST                                                                                                      DETROIT             MI    48204‐1961
R BEISH                         1270 ENGLISHTOWN RD                                                                                                   OLD BRIDGE          NJ    08857‐1509
R BERNARD                       45 MAJESTIC OAKS                                                                                                      SPRINGBORO          OH    45066‐9507
R BIGELOW                       51 MYRTLE AVE                                                                                                         CLIFTON             NJ    07014‐2003
R BIGHAM                        1792 TYLER RD                                                                                                         YPSILANTI           MI    48198‐8013
R BLACKWELL                     1346 LITTLE LAKE RD                                                                                                   OAK RIDGE           LA    71264‐9309
R BLISCHOK                      7 INVERNESS LN                                                                                                        EASTON              PA    18045‐2187
R BLONDELL                      1204 E REID RD                                                                                                        GRAND BLANC         MI    48439‐8835
R BLUE                          645 WILBER PL                                                                                                         MONTEBELLO          CA    90640‐3763
R BONZA                         2134 MICHIGAN BLVD                                                                                                    LINCOLN PARK        MI    48146‐3779
R BOWSER                        291 PETES LN                                                                                                          PUNXSUTAWNEY        PA    15767‐1177
R BOX                           234 N EDISON ST                                                                                                       GREENVILLE          MS    38701‐3757
R BOYER JR                      8421 FOREST RD                                                                                                        GASPORT             NY    14067‐9213
R BRANHAM                       5658 LOWE AVE                                                                                                         WARREN              MI    48092‐3197
R BRAY                          22 HELIX CT                                                                                                           SAN RAMON           CA    94583‐3917
R BREITENSTEIN                  445 S WOLF CREEK PIKE                                                                                                 BROOKVILLE          OH    45309‐9337
R BREITMAIER DECEDENTS TRUST    CARLTON J BREITMAIER TTEE           UA DTD 07/21/2000             55 CATHERDRAL ROCK DR #44                           SEDONA              AZ    86351‐8626

R BRIMER                        C/O THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                                       HOUSTON             TX    77017
R BRITTON                       1543 E CLINTON TRL                                                                                                    CHARLOTTE           MI    48813‐9334
R BROWLEY                       2292 WAGONWHEEL ST                                                                                                    JENISON             MI    49428‐9143
R BROWN                         396 LINDA VISTA DR                                                                                                    PONTIAC             MI    48342‐1742
R BROWN                         6210 E ARBOR AVE APT 140                                                                                              MESA                AZ    85206‐1693
R BROWN JR                      11186 HARRINGTON LN                                                                                                   FISHERS             IN    46038‐3207
R BRUCE BANCROFT                7536 DELTA COMMERCE DR                                                                                                LANSING             MI    48917‐1000
R BRYANT                        PO BOX 174                                                                                                            TROY                AL    36081‐0174
R C DAVIS                       901 E LINDEN CIR                                                                                                      MANSFIELD           OH    44906‐2966
R C DELPH                       175 VERNON PLACE                                                                                                      CARLISLE            OH    45005
R C GRIFFITH                    6118 ROSECREST DR                                                                                                     DAYTON              OH    45414‐2831
R C HOLLOWAY COMPANY            222 MILL ST                                                                                                           SALISBURY           MD    21801‐4207
R C L KELSEY                    2204 N VASSAR RD                                                                                                      DAVISON             MI    48423‐9552
R C LEFFKE AND ASSOCIATES INC   4230 LYNDON B JOHNSON FWY STE 150                                                                                     DALLAS              TX    75244‐5889
R C MELVIN                      3015 CRESTWOOD CT                                                                                                     BAY CITY            MI    48706‐2503
R C PAWLAK                      1406 18TH ST                                                                                                          BAY CITY            MI    48706
R C SHROYER                     C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                                        BOSTON HTS          OH    44236
R C THOMAS JR                   9857 DEER CREEK ROAD                                                                                                  MRENO VALLEY        CA    92557
R CALDERON                      545 W 164TH ST APT 2H                                                                                                 NEW YORK            NY    10032‐4937
R CARNELL                       PO BOX 357                                                                                                            RIDGELY             TN    38080‐0357
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R CATROW                  240 VICTOR APT 2                                                                                  DAYTON             OH 45405‐3774
R CHAFFEE                 12481 BEAVER CREEK RD                                                                             SALEM              OH 44460‐9267
R CHAMBERS                132 CHARIOT DR                                                                                    ANDERSON           IN 46013‐1016
R CHARLIE NELSON          609 CARGILE DR                                                                                    GREENSBORO         AL 36744
R CHOUINARD AND           B CHOUINARD CO ‐ TTEE           CHOUINARD FAMILY TRUST U/A DTD 45944 HWY 26                       DAYVILLE           OR 97825‐6516
                                                          11/24/1998
R CHRISTENSEN, MARSHAL    ACCOUNT OF DOUGLAS J CHIRICO    PO BOX 23742                                                      ROCHESTER         NY   14692‐3742
R CHRISTENSEN, MARSHAL    ACCT OF DOUGLAS J CHIRICO       PO BOX 23742                                                      ROCHESTER         NY   14692‐3742
R CHRISTENSEN, MARSHAL    ACCT OF WILLIAM R MANGANO       PO BOX 23742                   INDEX# 93 00567                    ROCHESTER         NY   14692‐3742
R CLARK ENTERPRISES       PO BOX 313                                                                                        EAGLE CREEK       OR   97022‐0313
R CLARK JR                218 TRICKUM HILLS LN                                                                              WOODSTOCK         GA   30188‐4320
R CLEMONS                 4260 BIELEFELD DR                                                                                 FLORISSANT        MO   63033‐4257
R COBB JR                 7515 E WASHINGTON ST            TRLR 110                                                          INDIANAPOLIS      IN   46219
R COBBS                   3101 AYRE CT                                                                                      FLINT             MI   48506‐5402
R CONRAD                  1534 FERNWOOD BLVD                                                                                ALLIANCE          OH   44601‐3831
R CONWELL                 1402 W 10TH ST                                                                                    MUNCIE            IN   47302‐2169
R COOK                    1039 N CHARLES ST                                                                                 CARLINVILLE       IL   62626‐1126
R COOLEY                  703 W 12TH ST                                                                                     ANDERSON          IN   46016‐1234
R CRAIG SAUNDERS MD       1305 AIRPORT FWY STE 121                                                                          BEDFORD           TX   76021‐6603
R CUMMINGS                158 CARTER ST                                                                                     ROCHESTER         NY   14621‐5136
R D BRADLEY               1415 E SALEM LN                                                                                   OLATHE            KS   66062‐2130
R D ELDRIDGE              2930 E DOROTHY LN                                                                                 KETTERING         OH   45420‐3816
R D FILIP INC             ATTN: RICK FILIP                1236 N MAIN ST                                                    KOKOMO            IN   46901‐2849
R D JANNEY                2532 JONATHAN ST                                                                                  CARTHAGE          MO   64836‐7885
R D LIGHT                 1252 HOOT OWL PT ROAD                                                                             KIMBERLING CITY   MO   65686
R D NELSON                1913 RICHLEY                                                                                      DAYTON            OH   45408‐2512
R D RITENOUR              10252 BROOKVILLE PHILLIPSBU                                                                       BROOKVILLE        OH   45309‐9222
R D S ROLANDO             PO BOX 597                      115 HEXAGON                                                       LEONARD           MI   48367‐0597
R D SPECIALTIES INC       560 SALT RD                                                                                       WEBSTER           NY   14580‐9718
R D STRACHAN              494 HELEN DR                                                                                      HUBBARD           OH   44425‐2251
R DALTON                  306 OLD MILL CREEK DR APT A1                                                                      ALEXANDRIA        IN   46001‐8123
R DANIEL                  7914 HAMMOND LN APT 9                                                                             MECOSTA           MI   49332‐9350
R DAUGHERTY               230 TWIN LAKES DR                                                                                 ELYRIA            OH   44035‐4700
R DAVID HEEKIN MD PA      2627 RIVERSIDE AVE STE 300                                                                        JACKSONVILLE      FL   32204
R DAVIDSON                321 E WESTBROOK RD              C/O GWENDOLYN WAGNER                                              BROOKVILLE        OH   45309‐9200
R DAVIS                   509 YORKTOWN LN                                                                                   AVON              IN   46123
R DE WHITT                3461 CARTER CIR                                                                                   FISHER            AR   72429‐9710
R DEKKER                  2682 WALDON WOODS                                                                                 WYOMING           MI   49519
R DELPH                   175 VERNON PL                                                                                     CARLISLE          OH   45005‐3779
R DENISE MENDEZ           ACCT OF GREGORY R ZAMORA        LUBBOCK COUNTY                                                    LUBBOCK           TX   79401‐3420
R DEPPLER                 157 COOPERS COVE ROAD                                                                             LYNCHBURG         TN   37352
R DILLDINE                3591 CLINTONVILLE ROAD                                                                            WATERFORD         MI   48329‐2401
R DIMOND                  983 PINE RD                                                                                       BAY CITY          MI   48706‐1949
R DIXON                   PO BOX 2682                                                                                       ANDERSON          IN   46018‐2682
R DUDLEY, DAYNA           3701 RISEDORPH AVE                                                                                FLINT             MI   48506
R DURKIN CLERK OF COURT   ACCT OF CAROLYN ADAMS           PO BOX 6047 2ND FL CTY HALL                                       YOUNGSTOWN        OH   44501
R DWIGHT SEATON II        316 W ADAMS ST                                                                                    NASHVILLE         IL   62263‐1406
R E BEST                  GENERAL DELIVERY                                                                                  UNIONTOWN         MO   63783‐9999
R E BROWN                 3595 ROSLYN AVE                                                                                   KETTERING         OH   45429‐4824
R E FRITZ                 906 TOMAHAWK TRAIL                                                                                XENIA             OH   45385‐4136
R E KING                  5052 PETERSON                                                                                     SAGINAW           MI   48601
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R E L SEAL P ENG                      144 ROSEGLEN RD UNIT 12                                                   PORT HOPE CANADA ON
                                                                                                                L1A 3V6 CANADA
R E M TRUCKING LLC                    2633 SCHAEFER ST                                                                                SAGINAW         MI    48602‐5835
R E OLDS TRANSPORTATION MUSEUM        240 MUSEUM DR                                                                                   LANSING         MI    48933‐1905
R E SALTER                            26719 LA SALLE                                                                                  ROSEVILLE       MI    48066‐7132
R E TRIPLETT                          2957 ROBIN RD                                                                                   RIVERSIDE       CA    92506‐1437
R E WARNER & ASSOCIATES INC           LA OFFICE PLZ II AT LACENTRE      25777 DETROIT RD STE 200                                      WESTLAKE        OH    44145
R E WELLS CONSTRUCTION                22635 S RECKER RD                                                                               GILBERT         AZ    85298‐8971
R E YOUNT                             RT #2                                                                                           POTOSI          MO    63664‐9802
R ELDRIDGE                            2930 E DOROTHY LN                                                                               KETTERING       OH    45420‐3816
R ELMORE                              1128 W SHARPSHIRE DR                                                                            WAXAHACHIE      TX    75165‐6326
R EPPS                                973 KAHITE TRL                                                                                  VONORE          TN    37885‐2669
R ERNST                               2175 E BRISTOL RD                                                                               BURTON          MI    48529‐1386
R EVRETT                              6930 SNOW HILL RD                                                                               OOLTEWAH        TN    37363‐9184
R F KLINE INC.                                                          7700 GROVE RD                                                                 MD    21704
R F LISY                              111 PORTER AVE.                                                                                 BUFFALO         NY    14201‐1053
R F MCNEELY                           2203 MERIDIAN RD                                                                                MITCHELL        IN    47446‐‐ 69
R F STEINER AND COMPANY               2221 5TH AVE                                                                                    HUNTINGTON      WV    25703‐1225
R F STEINER AND COMPANY               DIRK MCFANN                       2221 5TH AVE                                                  HUNTINGTON      WV    25703‐1225
R F YOUNCE                            4205 PLEASANT VIEW AVE                                                                          DAYTON          OH    45420‐2836
R FARMER                              PO BOX 25914                                                                                    SAINT LOUIS     MO    63136‐0914
R FEAGIN                              274 E 2ND ST                                                                                    MANSFIELD       OH    44902‐7721
R FERREIRA                            140 EAGLE CT                                                                                    DYER            IN    46311‐4028
R FERRIS                              8360 ROBERT PL                                                                                  CARLISLE        OH    45005‐4130
R FITCH                               4455 W HENRIETTA RD               WOODCREST COMMONS, APT 104                                    HENRIETTA       NY    14467‐9610

R FLETCHER                            46 MADDEN RD                                                                                    KINGSTON        GA    30145‐1616
R FLORES                              3454 PALACIOS AVE                                                                               DALLAS          TX    75212‐3239
R FRANKLIN                            1160 CLAIRMOUNT ST                                                                              DETROIT         MI    48202‐1532
R FRIEND                              4768 HURLBUT ST                                                                                 DETROIT         MI    48214‐1525
R FULTZ                               1054 RIVERSIDE RD                                                                               TAZEWELL        TN    37879‐6361
R G PODLESKI                          1420 5TH ST                                                                                     BAY CITY        MI    48708‐6140
R G RALEY                             3 NIGHTINGALE PL                                                                                KETTERING       OH    45420‐2925
R G RAY CORP                          900 BUSCH PKWY                                                                                  BUFFALO GROVE   IL    60089‐4503
R G SCHNEIDER                         ACCT OF GREGORY PECK              99 EXCHANGE ST ROOM 1‐HALL                                    ROCHESTER       NY    14614
R G SHELLEY LTD
R G SMITH CO INC                      1249 DUEBER AVE SW                                                                              CANTON          OH 44706‐1635
R G WARDEN                            3672 LAKEVIEW DR                                                                                BEAVERTON       MI 48612‐8723
R G WORLEY & ASSOCIATES INC           8866 PENFIELD WAY                                                                               MAINEVILLE      OH 45039‐9731
R G YOUNG AUTO                        1151 LONDON RD                                                            SARNIA ON N7S 1P3
                                                                                                                CANADA
R GARBE                               23600 RECREATION ST                                                                             ST CLAIR SHRS    MI 48082‐3014
R GEORGE & CYNTHIA KLUMB              W180 S7748 PIONEER DR                                                                           MUSKEGO          WI 53150‐9461
R GIL                                 6069 FOUNTAIN POINTE APT 1                                                                      GRAND BLANC      MI 48439‐7609
R GILBERT
R GILCHRIST                           16504 DUNN RD                                                                                   E LIVERPOOL     OH 43920‐3919
R GLEN JACKSON AND SUSAN J JACKSON JT 1520 WEST 2100 NORTH                                                                            HELPER          UT 84526
TEN
R GOESSENS                            C/O NATIXIS PRIVATE BANKING       51 AVENUE J F KENNEDY                   L 1855 LUXEMBOURG
                                                                                                                EUROPE
R GONZALES                            1506 ORCHID ST                                                                                  WATERFORD        MI 48328‐1405
R GOOLSBY                             600 MARTIN ST SE                  APT K4                                                        ATLANTA          GA 30312‐2931
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R GRABOWSKI                   5983 COUNTY ROAD 7                                                                                         GARRETT             IN 46738‐9730
R GRAVELIN                    24 RIVER ST                                                                                                NORWOOD             NY 13668‐1011
R GREEN                       3737 CHANNEL RD                                                                                            HALE                MI 48739‐9043
R GRIFFITH                    6118 ROSECREST DR                                                                                          DAYTON              OH 45414‐2831
R GRUBBS                      6459 MOCKINGBIRD LN                                                                                        CLARKSTON           MI 48346‐2957
R H CARTER ARCHITECTS INC
R H CARTER ARCHITECTS INC     5040 DUNDAS ST W                                                                   TORONTO CANADA ON
                                                                                                                 M9A 1B8 CANADA
R H COWAN CO LLC              5434 N BOSART AVE                                                                                          INDIANAPOLIS        IN   46220‐5724
R H HALE                      C/O G PATTERSON KEAHEY PC        ONE INDEPENDENCE PLAZA SUITE                                              BIRMINGHAM          AL   35209
                                                               612
R H LONG MOTOR SALES INC      350 WORCESTER RD                                                                                           FRAMINGHAM         MA    01702‐5372
R H LYNCH                     1464 TUSCOLA RD                                                                                            BAY CITY           MI    48706
R H M RUBBER MFG              RAY HOYER                        PO BOX 377/30187                                                          HUNTSVILLE         AL    35824
R H NEWMAN                    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS         OH    44236
R H PAINT RESTORATION &       AUTOMOTIVE DETAILING             17 MACCARL CRES                                   WHITBY CANADA ON L1R
                                                                                                                 2T7 CANADA
R H WHITE CONSTRUCTION                                         6 WRIGHT AVE                                                                                 NH    03054
R H WHITE CONSTRUCTION                                         41 CENTRAL ST                                                                                MA    01501
R HAIMOWITZ TTEE              SAMUEL L SWILLER U/T/A           DTD 05/11/1992                 33 BEECHWOOD WAY                           BRIARCLIFF MANOR   NY    10510‐2405
R HALL                        2945 SPINNAKER DR                                                                                          AURORA             IL    60503‐5742
R HALL                        3818 KELLAR AVE                                                                                            FLINT              MI    48504‐3701
R HAMBRICK                    1613 SHANNON DR                                                                                            MIDWEST CITY       OK    73130‐6734
R HAMILTON                    4506 WEBB LN                                                                                               MURFREESBORO       TN    37129
R HARRIS                      4015 DOMENIQUE LN                                                                                          FLORISSANT         MO    63034‐2245
R HARVEY                      1340 KINGSHIGHWAY                                                                                          WASHINGTON PK      IL    62204‐2805
R HEINY                       329 BURR OAK CT                                                                                            SPRING HILL        TN    37174‐7503
R HENDRICKSON                 PO BOX 581                                                                                                 PEARISBURG         VA    24134‐0581
R HIGGINS                     755 S MARIAS AVE                                                                                           CLAWSON            MI    48017‐1858
R HILL                        1560 HAYES ST                                                                                              GARY               IN    46404‐2737
R HOLLAND                     423 PALO VERDE DR                                                                                          LEESBURG           FL    34748‐8809
R HOLLINGER                   299 KENDRY                                                                                                 BLOOMFIELD         MI    48302‐0440
R HONNOLD                     223 W ELM ST                                                                                               PENDLETON          IN    46064‐1115
R HOWARD                      2871 HARRIS RD                                                                                             HAMILTON           OH    45013‐9740
R HOWARD MC CUMBER            APT 136                          200 WEST EDGEWOOD BOULEVARD                                               LANSING            MI    48911‐5669

R HUGHES                      245 EAST HILLSIDE DRIVE                                                                                    FARMINGTON         MO    63640‐1050
R HUNT                        1651 LIVINGSTON ST                                                                                         CARLYLE            IL    62231‐1343
R I DIVISION OF TAXATION      ONE CAPITOL HILL                                                                                           PROVIDENCE         RI    02908
R IGRAS                       22733 BUCKINGHAM ST                                                                                        DEARBORN           MI    48128‐1838
R J BEACHMAN                  PO BOX 268                                                                                                 BARNEGAT LIGHT     NJ    08006‐0268
R J CONLIN INC                3777 PLAZA DR STE 1                                                                                        ANN ARBOR          MI    48108‐3634
R J CONTROL CONSULTANTS INC   300 POWDERHORN RIDGE CT                                                                                    ROCHESTER HILLS    MI    48309
R J CYR CO INC                COUNTY RD 46 HWY 401 RR#3                                                          MAIDSTONE CANADA ON
                                                                                                                 N0R 1K0 CANADA
R J CYR CO INC
R J DIBBLEY TRUCKING          PO BOX 1460                                                                        TILBURY CANADA ON N0P
                                                                                                                 2L0 CANADA
R J G VERREIGDT               KURKHOUT 52                                                                        2719JX ZOETERMEER THE
                                                                                                                 NETHERLANDS
R J JANOVICH JR               2204 KEPPEN                                                                                                LINCOLN PARK       MI 48146
R J OLAUGHLIN                 1861 PREVO RD                                                                                              LINWOOD            MI 48634
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Name                                Address1                             Address2                 Address3              Address4         City              State Zip
R J PAVLIK INC                      DBA PAVLIK DESIGN TEAM               1301 E BROWARD BLVD                                             FORT LAUDERDALE    FL 33301
R J REYNOLDS TOBACCO                401 N MAIN ST                                                                                        WINSTON SALEM      NC 27101‐3804
R J SANTEL                          1123 BARON AVE                                                                                       ST LOUIS           MO 63138‐2902
R J SOBIERAY & G SOBIERAY CO‐TTEE   RICHARD J SOBIERAY SR REV TRUST      DTD 01/15/1998           1829 SAN GABRIEL ST                    THE VILLAGES       FL 32159‐9443
R J SPRAGUE                         9359 VALLEY RD NW                                                                                    RAPID CITY         MI 49676‐9474
R J TELECOMMUNICATIONS              17 W LAWRENCE ST                                                                                     PONTIAC            MI 48342‐2181
R J TREMBLAY                        2491 VALLEY LN                                                                                       GRAND BLANC        MI 48439‐8149
R J VISSING ASSOCIATES LLC          329 HENRY CLAY BLVD                                                                                  LEXINGTON          KY 40502‐1023
R J ZENDLER                         1335 S LINDEN RD STE G                                                                               FLINT              MI 48532‐3420
R JACKSON                           746 S NOTTINGHAM RD                                                                                  JONESBORO          GA 30236‐1818
R JACKSON                           3743 HIGHWAY Z                                                                                       HILLSBORO          MO 63050‐3714
R JACQUES                           4846 LAKESIDE DR                                                                                     LAKE               MI 48632‐9233
R JESIENSKI                         5595 N ROSEDALE CIR                                                                                  BEVERLY HILLS      FL 34465‐2238
R JOHNSON                           6147 HATZ LN                                                                                         SCURRY             TX 75158‐3803
R JOHNSTON                          1 HASTINGS CT                                                                                        MANSFIELD          TX 76063‐3327
R JONES                             5763 AMBASSADOR DR APT 1                                                                             SAGINAW            MI 48603
RK                                  1                                    1                        1                     1                1                  AK 11111
R K HOPPE CORPORATION               ATTN: CORPORATE OFFICER/AUTHORIZED   53125 GRAND RIVER AVE    PO BOX 208                             NEW HUDSON         MI 48165‐9311
                                    AGENT
R K HOPPE CORPORATION               53125 GRAND RIVER                    PO BOX 208                                                      NEW HUDSON        MI   48165
R K CAMPF TRANSPORT                 554 STEWART RD                                                                                       SALEM             OH   44460‐4146
R KATHERINE GRONER                  3217 STARLITE                                                                                        WARREN            OH   44485‐1621
R KEITH BELYEA TTEE                 U/A DTD 09/14/1990                   J RONALD BELYEA TRUST    40 SHOOTING STAR                       IRVINE            CA   92604‐3361
R KELLER                            305 BRENTWOOD ST                                                                                     TILTON            IL   61833‐7520
R KELSEY                            2204 N VASSAR RD                                                                                     DAVISON           MI   48423‐9552
R KENDRICK PETRY JR TTE             1614 BINNEY DR                                                                                       FORT PIERCE       FL   34949
R KIMMICK                           HC 1 BOX 594                                                                                         BRODHEADSVILLE    PA   18322‐9647
R KISER
R KUBIK                             7725 MEADOWOOD DR                                                                                    CANFIELD          OH   44406‐8417
R KULL                              205 OAK SHORES DR                                                                                    MCDONOUGH         GA   30253‐5498
R L BENTLEY                         225 BOYCE RD                                                                                         CENTERVILLE       OH   45458‐2477
R L DEPPMANN COMPANY                6200 BARON DR                                                                                        BRIDGEPORT        MI   48722‐9402
R L DEPPMANN COMPANY                6910 TREELINE DR STE A                                                                               BRECKSVILLE       OH   44141‐3366
R L GABBARD                         1071 DONEGAN RD                      LOT 1507                                                        LARGO             FL   33771‐2954
R L HERON & ASSOCIATES INC          1200A SCOTTSVILLE RD STE 395                                                                         ROCHESTER         NY   14624‐5717
R L HERON AND ASSOCIATES INC        5371 TRANSIT RD                                                                                      WILLIAMSVILLE     NY   14221‐2823
R L HOLLIDAY COMPANY INC            525 MCNEILLY RD                                                                                      PITTSBURGH        PA   15226‐2503
R L M INDUSTRIES INC                100 HUMMER LAKE RD                                                                                   OXFORD            MI   48371‐2304
R L M INDUSTRIES INC                100 HUMMER LAKE RD                   PO BOX 505                                                      OXFORD            MI   48371‐2304
R L MILLER INC                      705 MANSFIELD AVE                                                                                    PITTSBURGH        PA   15205‐4374
R L MILLS                           6975 JAYSVILLE SAINT JOHNS RD                                                                        GREENVILLE        OH   45331
R L OATMAN & ASSOCIATES INC         600 FAIRMOUNT AVE STE 101                                                                            TOWSON            MD   21286‐1000
R L POLK & CO                       6400 MONROE BLVD                                                                                     TAYLOR            MI   48180‐1814
R L POLK & CO                       26955 NORTHWESTERN HWY                                                                               SOUTHFIELD        MI   48033‐4716
R L POLK & CO                       ATTN: CORPORATE OFFICER/AUTHORIZED   26955 NORTHWESTERN HWY                                          SOUTHFIELD        MI   48033‐4716
                                    AGENT
R L POWELL                          8019 E 69TH ST                                                                                       KANSAS CITY       MO 64133‐5602
R L PULS                            1565 MARY FRANCES CT                                                                                 MIAMISBURG        OH 45342‐2642
R L ROBERTS
R L SCHMITT CO INC                  34506 GLENDALE ST                                                                                    LIVONIA           MI 48150‐1304
R L WOODRUFF                        4262 KNOLLCROFT                                                                                      DAYTON            OH 45426
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Name                                  Address1                            Address2                  Address3            Address4               City             State Zip
R LACKEY SPECIALIZED TRANSPORTATION   BOX 495                                                                           HASTINGS CANADA ON K0L
LTD                                                                                                                     1Y0 CANADA
R LACY INC                            PO BOX 2146                                                                                              LONGVIEW          TX 75606‐2146
R LADWIG                              20 NOTRE DAME DR                                                                                         ROCHESTER         NY 14623‐5124
R LANE & FK WALLACH CO TTEE           RITA LANE REVOCABLE TRUST AGREEMENT 616 SOUTH ORANGE APT 6E                                              MAPLEWOOD         NJ 07040

R LAWRENCE                            789 BAY ST                                                                                             PONTIAC            MI    48342‐1901
R LEE                                 ATEL                                                                                                   SF                 CA    94108
R LIGHT                               1252 HOOT OWL PT ROAD                                                                                  KIMBERLING CITY    MO    65686
R LONG                                109 STOLZ DR                                                                                           MIDDLETOWN         OH    45042‐3848
R LOPEZ                               2705 W DEXTER DR                                                                                       SAGINAW            MI    48603‐3277
R LUCAS                               PO BOX 667                                                                                             NEWAYGO            MI    49337‐0667
R LUCENTE
R LYNCH                               33 S FAIRWAY DR                                                                                        ALEXANDRIA         IN    46001‐2811
R M ANGELINI                          3860 CASS ELIZABETH RD                                                                                 WATERFORD          MI    48328‐4506
R M CORPORATION                       73 WASHINGTON ST                                                                                       PLAINVILLE         MA    02762‐2127
R M DISTRIBUTING COMPANY INC          2915 W 73RD ST                                                                                         DAVENPORT          IA    52806‐1059
R M ELECTRIC INC                      16037 GOVE RD                                                                                          LANSING            MI    48909
R M J SERVICES INC                    PO BOX 74748                                                                                           ROMULUS            MI    48174‐0748
R M NEWELL CO INC                     5150 MAIN ST                                                                                           WILLIAMSVILLE      NY    14221‐5231
R M TIMBERLAKE                        2850 WOODWARD                                                                                          BLOOMFIELD HL      MI    48304‐1657
R M WRIGHT COMPANY                    23910 FREEWAY PARK DR               MOVED PER LTR 04/10/03                                             FARMINGTON HILLS   MI    48335‐2816
R MACDONALD                           679 RISING SUN RD                                                                                      RISING SUN         MD    21911‐1629
R MALEY                               112 W 16TH ST                       ROBERT L. MALEY INC.                                               ANDERSON           IN    46016‐1603
R MANSON BLACKWELL                    C/O BARON & BUDD PC                 THE CENTRUM SUITE 1100    3102 OAK LAWN AVE                        DALLAS             TX    75219‐4281
R MAPLES                              11095 WARNER RD                                                                                        DARIEN CENTER      NY    14040‐9507
R MAQUAIRE                            NATIXIS PRIVATE BANKING INT'L       51 AVENUE JF KENNEDY                          L‐1855 LUXEMBOURG
R MARINO                              33 SHERWOOD RD                                                                                         MANALAPAN          NJ    07726‐1837
R MARTINEZ                            1562 CHARTER OAK DR                                                                                    ROCHESTER HILLS    MI    48309‐2702
R MATTHEW GROSS                       1213 PLEASANTVIEW DR                                                                                   FLUSHING           MI    48433‐2802
R MCCABE JR                           6440 DENTON HILL RD                                                                                    FENTON             MI    48430‐9476
R MCDEARIS                            93 PENINSULA CT                                                                                        MARTIN             GA    30557‐5041
R MCGATHY                             151 S UNIONVILLE RD                                                                                    BAY PORT           MI    48720‐9796
R MCGEE                               191 W KENNETT RD APT 102                                                                               PONTIAC            MI    48340‐2679
R MCGIBONEY                           PO BOX 543                                                                                             COVINGTON          GA    30015‐0543
R MCNEELY                             2203 MERIDIAN RD                                                                                       MITCHELL           IN    47446‐6942
R MELVIN                              3015 CRESTWOOD CT                                                                                      BAY CITY           MI    48706‐2503
R MENDICINO                           PO BOX 186                                                                                             HINCKLEY           OH    44233‐0186
R MERRITT                             2436 E HILL RD                                                                                         GRAND BLANC        MI    48439‐5064
R MERRY                               9950 LINDA DR                                                                                          YPSILANTI          MI    48197‐6915
R MICKENS                             505 LINNAEUS AVE                                                                                       FLINT              MI    48503‐3929
R MILLER                              57 CARLTON AVE                                                                                         JERSEY CITY        NJ    07306‐3401
R MILLER                              2581 MURAL DR                                                                                          CHAMBLEE           GA    30341‐3829
R MILLER                              18831 WOOD ST                                                                                          MELVINDALE         MI    48122‐1443
R MITCHELL                            1211 W 15TH ST                                                                                         MUNCIE             IN    47302‐3071
R MITTELSTADT                         35720 STRONGFORD DR                                                                                    NEW BALTIMORE      MI    48047‐5867
R MOORE                               17003 TIREMAN ST                                                                                       DETROIT            MI    48228‐3555
R MORAN                               1119 WILDWOOD DR                                                                                       KOKOMO             IN    46901‐1802
R MORAN                               13712 FALMOUTH DR                                                                                      TUSTIN             CA    92780
R MORRIS                              12907 E 54TH TER                                                                                       KANSAS CITY        MO    64133‐3120
R MOSES SR                            PO BOX 6581                                                                                            YOUNGSTOWN         OH    44501‐6581
R MYERS                               1847 W FARWELL AVE                                                                                     CHICAGO            IL    60626‐3117
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Name                            Address1                         Address2                Address3    Address4                City              State Zip
R MYERS                         7210 HANCOCK RIDGE RD                                                                        MARTINSVILLE       IN 46151‐7006
R N BIGELOW                     51 MYRTLE AVE                                                                                CLIFTON            NJ 07014‐2003
R N BOYLE                       3271 FOREST RD                                                                               GAYLORD            MI 49735‐9515
R N KARGUS TRANSPORTATION INC   1 RIDGEWOOD AVE                                                      GUELPH CANADA ON N1H
                                                                                                     6C3 CANADA
R N S SERVICE                   318 S ELM ST                                                                                 ORRVILLE          OH   44667‐1841
R NELSON                        15325 LINDSAY ST                                                                             DETROIT           MI   48227‐1519
R NORMAN                        377 WATSONS MILL RD                                                                          ELMER             NJ   08318‐2908
R NORRIS                        1317 NICKEL OAK BND                                                                          MCDONOUGH         GA   30252‐8439
R OLESEK                        3910 BRIMFIELD AVE                                                                           AUBURN HILLS      MI   48326‐3343
R P ADAMS CO INC                225 E PARK DR                                                                                BUFFALO           NY   14240
R P M ASSOC                     91 N SAGINAW ST # 206                                                                        PONTIAC           MI   48342‐2165
R P WILLIAM/COLUMBI             PO BOX 236                       HIGHWAY 412 EAST                                            COLUMBIA          TN   38402‐0236
R PADGETT                       PO BOX 695                                                                                   COOKEVILLE        TN   38503‐0695
R PALMER                        2726 WINDHAM CLB                                                                             COLUMBUS          OH   43219‐3173
R PARENTEAU                     2280 ROWE RD                                                                                 MILFORD           MI   48380‐2332
R PARR                          141 CASINO RD                                                                                NOCONA            TX   76255‐6904
R PERKINS                       1820 S MICHIGAN AVE                                                                          SAGINAW           MI   48602‐1334
R PETRUSHA                      2914 AUTEN RD                                                                                ORTONVILLE        MI   48462‐8841
R PHAM                          102 BROWN AVE                                                                                SYRACUSE          NY   13211‐1720
R PORTER                        12469 BROWNSFORD RD                                                                          FOUNTAIN RUN      KY   42133‐8526
R PORTER                        447 REAUME CT                                                                                ROCHESTER HILLS   MI   48307‐2485
R POWELL                        8019 E 69TH ST                                                                               KANSAS CITY       MO   64133‐5602
R PRITCHETT JR                  PO BOX 14624                                                                                 SAGINAW           MI   48601‐0624
R R DONNELLEY RECEIVABLES INC   PO BOX 905151                                                                                CHARLOTTE         NC   28290‐5151
R R MURPHY                      255 CAMBRIDGE DR                                                                             FAIRBORN          OH   45324
R R PARTNERSHIP                 700 KENILWORTH DR                                                                            TOWSON            MD   21204‐2427
R RAFFLER                       9773 SPICER RD                                                                               GRAND LEDGE       MI   48837‐9415
R RALEY                         3 NIGHTINGALE PL                                                                             KETTERING         OH   45420‐2925
R RANDALL                       2857 SANTIA DR                                                                               TROY              MI   48085‐3984
R RAYMO                         74 MAPLE ST                                                                                  MASSENA           NY   13662‐1011
R REALTY LLC                    VALLEY NATIONAL BANK             1615‐1625 ROUTE 48 E                                        LITTLE FALLS      NJ   07424
R REARDON                       630 GIRARD AVE                                                                               MARION            OH   43302‐4920
R REESE JR                      147 S AVERY RD                                                                               WATERFORD         MI   48328‐3403
R REININGER & SON LTD           PO BOX 2000                      1240 TWINNEY CRESCENT               NEWMARKET CANADA ON
                                                                                                     L3Y5N1 CANADA
R REMILLARD                     65 LOUISE ST                                                                                 WOONSOCKET        RI   02895‐6651
R REYNOLDS                      126 W PROSPECT ST                                                                            MANSFIELD         OH   44907‐1230
R RHODA                         320 22ND ST                                                                                  BEDFORD           IN   47421‐4614
R RIGGIN                        209 WHEELIS ST                                                                               WEST MONROE       LA   71292‐3847
R RIOFSKI                       10 ALTEMUS DR                                                                                LANDENBERG        PA   19350‐1357
R RITENOUR                      10252 BROOKVILLE PHILLIPSBG RD                                                               BROOKVILLE        OH   45309‐9222
R ROBERTS                       928 BALLARD ST SE                                                                            GRAND RAPIDS      MI   49507‐2039
R ROBISON                       649 OTTER LAKE RD                                                                            FOSTORIA          MI   48435‐9618
R ROMANS                        5051 MIDAS AVENUE                                                                            ROCKLIN           CA   95677‐2270
R RUTH                          32264 SHERIDAN DR                                                                            BEVERLY HILLS     MI   48025‐4249
R S CRUM & CO                   1181 GLOBE AVE                                                                               MOUNTAINSIDE      NJ   07092‐2903
R S D C/HOLT                    1775 HOLLOWAY DR                                                                             HOLT              MI   48842‐9795
R S E INC                       51529 BIRCH ST                                                                               NEW BALTIMORE     MI   48047‐1588
R S ELECTRONICS                 981 KEYNOTE CIR STE 10                                                                       CLEVELAND         OH   44131‐1842
R S FINIHSING SYSTEMS INC       89A CONNIE CRESENT UNIT #6                                           CONCORD CANADA ON L4K
                                                                                                     1L3 CANADA
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Name                           Address1                                Address2                    Address3   Address4         City            State Zip
R S HARRITAN                   3280 FORMEX RD                                                                                  RICHMOND         VA 23224‐6370
R S HUGHES COMPANY INC         5145 MLK FWY SH 287                                                                             FORT WORTH       TX 76119
R S MATERIAL HANDLING
R S P EXPRESS                  RAZVAN POP                              42306 JENNINGS CT                                       CANTON          MI   48188‐1125
R S S MCKOSKY                  TATYANA MCKOSKY JT TEN                  PO BOX 336                                              NORTHFORD       CT   06472‐0336
R S TECHNICAL SERVICES INC     13684 BECKWITH DR NE                    P.O.BOX 291                                             LOWELL          MI   49331‐9365
R SAEGER                       5378 MILLINGTON RD                                                                              MILLINGTON      MI   48746‐8701
R SAMANO Y CIA SA DE CV        AV DE LA PAZ NO 70 BARRIO DE TLAXCALA                                          MEXICO
                               SAN LUIS POTOSI
R SANDOVAL                     3211 SHAMROCK LN                                                                                FOREST HILL     TX   76119‐7130
R SAUL                         3726 NEWPORT WAY DR                                                                             WATERFORD       MI   48329‐4285
R SCHLAPPI                     7150 E EATON HWY                                                                                SUNFIELD        MI   48890‐9043
R SCOTT                        2719 ALLISTER CIR                                                                               MIAMISBURG      OH   45342‐5859
R SCOTT                        1145 S WASHBURN RD                                                                              DAVISON         MI   48423‐8007
R SCOTT                        1204 CALLAWAY DR N                                                                              SHOREWOOD       IL   60404‐8155
R SCOTT BELL                   1080 RAVENSVIEW TRL                                                                             MILFORD         MI   48381‐2972
R SCOTT WEILER                 5646 W STINEMYER RD                                                                             NEW PALESTINE   IN   46163‐8935
R SCREEN                       100 LYNNRICH DR                                                                                 THOMASTON       CT   06787‐1031
R SEIBERT JR                   4349 MCCANDLISH RD                                                                              GRAND BLANC     MI   48439‐1803
R SHERMAN                      8812 RAMONA AVE                                                                                 SAINT LOUIS     MO   63121‐4017
R SHERROD                      9351 PINYON TREE LN APT 132                                                                     DALLAS          TX   75243‐3313
R SIGHT INVESTIGATIONS, INC.   PO BOX 2228                                                                                     LONGWOOD        FL   32752
R SIMMS                        1224 N LAFOUNTAIN ST                                                                            KOKOMO          IN   46901‐2922
R SKELTON                      5132 TORREY RD                                                                                  FLINT           MI   48507‐5902
R SLATON                       THE MADEKSHO LAW FIRM                   8866 GULF FREEWAY STE 440                               HOUSTON         TX   77017
R SLEDGE                       1220 CASIMIR ST                                                                                 SAGINAW         MI   48601‐1225
R SMITH                        4020 MILLS RD                                                                                   PRESCOTT        MI   48756‐9629
R SMITH                        415 W 8TH ST                                                                                    MUNCIE          IN   47302‐3110
R SMITH                        4390 BURGESS HILL LN                                                                            ALPHARETTA      GA   30022‐8002
R SOUDER                       4131 WICKER CT                                                                                  CLIO            MI   48420‐8285
R SPEICHER                     1050 CENTRAL PARKWAY AVE SE                                                                     WARREN          OH   44484‐4451
R STANESU                      431 CLAYPOOL BOYCE RD                                                                           ALVATON         KY   42122‐8732
R STARCHER                     PO BOX 195                                                                                      MOUNT ZION      WV   26151
R STOKES                       3817 N BENNINGTON AVE                                                                           KANSAS CITY     MO   64117‐7803
R STORCH JR                    329 HARLAN DR                                                                                   FRANKENMUTH     MI   48734‐1450
R STOVER                       2870 PLUM CREEK DR                                                                              OAKLAND         MI   48363‐2151
R STRACHAN                     494 HELEN DR                                                                                    HUBBARD         OH   44425‐2251
R STREET                       1051 CAROWAY BLVD                                                                               GAHANNA         OH   43230‐6215
R SUTTON                       2959 COUNTY ROAD 108                                                                            TOWN CREEK      AL   35672‐7007
R SWAIN                        6057 CALKINS RD                                                                                 FLINT           MI   48532‐3202
R SWEET                        2317 SHERWOOD LN                                                                                NORWOOD         OH   45212‐2219
R SWILLEY                      7156 E FRANCES RD                                                                               MOUNT MORRIS    MI   48458‐9714
R T LAIRD INC                  PO BOX 701603                                                                                   PLYMOUTH        MI   48170‐0967
R T LAIRD INC                  ATTN: BOB LAIRD                         13101 ECKLES RD                                         PLYMOUTH        MI   48170‐4245
R T PADGETT                    PO BOX 695                                                                                      COOKEVILLE      TN   38503‐0695
R T TRANSPORTATION INC         PO BOX 9605                                                                                     NEW LENOX       IL   60451
R TAYLOR                       231 SW 22ND ST                                                                                  OKLAHOMA CITY   OK   73109‐5903
R TERESA LAROCQUE              3605 GROSVENOR DR                                                                               ELLICOTT CITY   MD   21042
R TERRELL JR                   P O BOX 12 DUNBAR STA                                                                           DAYTON          OH   45417
R THOMPSON                     1815 5TH ST NW                                                                                  ATTALLA         AL   35954‐1322
R TISCH                        378 HYATT ST                                                                                    AVENEL          NJ   07001‐1139
R TOWNSEND                     48 MECHANIC ST                                                                                  PONTIAC         MI   48342
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Name                         Address1                          Address2                        Address3   Address4                   City               State Zip
R TRAYLOR JR                 418 DAMON ST                                                                                            FLINT               MI 48505‐3732
R TREMBLAY                   2491 VALLEY LN                                                                                          GRAND BLANC         MI 48439‐8149
R TSCHAMPION                 25 GREAT OAK DR                                                                                         SHORT HILLS         NJ 07078‐3426
R TURKE                      110 CONCORDIA DR                                                                                        BELLA VISTA         AR 72715‐8423
R VILLARREAL                 1682 LAKESVIEW DR                                                                                       OXFORD              MI 48371‐4541
R VISION                     RICHARD BOND                      PO BOX 465                                                            WAKARUSA            IN 46573‐0455
R VISION                     RICHARD BOND                      2666 S COUNTRY CLUB RD                                                WARSAW              IN 46580‐7408
R VORPE                      6141 TROUT RIVER BLVD                                                                                   JACKSONVILLE        FL 32219‐2522
R W BECK & ASSOC             PO BOX 68                                                                                               COLUMBUS            NE 68602‐0068
R W CRAWFORD                 ATTN: R W CRAWFORD                9492 TAYLORSVILLE RD                                                  DAYTON              OH 45424‐6348
R W DIEKEN                   2603 E JACKSON ST                                                                                       MUNCIE              IN 47303‐4150
R W HAMILTON LTD             P O BOX 435                                                                  ST CATHARINES CANADA
                                                                                                          ON L2R 6V9 CANADA
R W HAMILTON LTD             14 WRIGHT ST                      PO BOX 435 STN MAIN WRIGHT ST              ST CATHARINES ON L2R 6V9
                                                                                                          CANADA
R W PLADSEN INC              STEPHEN PLADSEN                   201 ROSSVILLE RD                                                      WAUKON              IA   52172‐1937
R W SEARS
R WALKER                     10593 S FORDNEY RD                                                                                      SAINT CHARLES      MI    48655‐9518
R WALLS                      40 WHITNEY TRCE                                                                                         BRASELTON          GA    30517‐2364
R WARLAND                    1169 WESTWOOD DR                                                                                        FLINT              MI    48532‐2676
R WEAVER                     3609 WILLIAMSON RD                                                                                      SAGINAW            MI    48601‐5669
R WEBB                       819 W RIDGEWAY AVE                                                                                      FLINT              MI    48505‐5104
R WEILER                     5646 W STINEMYER RD                                                                                     NEW PALESTINE      IN    46163‐8935
R WEISS & M WEISS CO‐TTEE    C/O ROBERT E WEISS TTEE           24 WEDGEWOOD RD                                                       WESTPORT           CT    06880
R WELCH                      5401 OVERHILL DR                                                                                        SAGINAW            MI    48603‐1757
R WESTBROOK
R WESTON                     1006 ZEPHYR ST                                                                                          YPSILANTI          MI    48198‐6250
R WHEELER JR                 1032 W 13TH ST                                                                                          ANDERSON           IN    46016‐3464
R WHITFORD                   1251 W CLEVELAND RD                                                                                     PERRINTON          MI    48871‐9656
R WILLIAM MOORE              1260 HAGEN RD                                                                                           NAPA               CA    94558
R WILLIS                     5291 HIGHLAND SHORE DR                                                                                  FLUSHING           MI    48433‐2448
R WINFIELD                   69 CARR ST                                                                                              PONTIAC            MI    48342‐1708
R WORLEY                     3863 WRIGHTSBORO RD LOT 60                                                                              AUGUSTA            GA    30909‐9764
R WRIGHT                     2119 NEEPER ST                                                                                          GRAND BLANC        MI    48439‐8520
R WYNN                       1913 BARTH ST                                                                                           FLINT              MI    48504‐3195
R YOUNG                      124 VALLEY FORGE CT                                                                                     EATON              OH    45320‐8631
R YOUNGBLOOD                 1427 W 11TH ST                                                                                          MUNCIE             IN    47302‐2170
R YOUNGNG                    8604 CENTRAL ST                                                                                         DETROIT            MI    48204‐4404
R ZANETTE                    NATIXIS PRIVATE BANKING           51 AVENUE JF KENNEDY                       L 1855 LUXEMBOURG
R ZOELLNER                   1173 DAWN VALLEY DR                                                                                     MARYLAND HEIGHTS   MO 63043‐3605
R&B PLASTICS MACHINERY LLC   1605 WOODLAND DR                                                                                        SALINE             MI 48176‐1638
R&D ENTERPRISES INC
R&E AUTOMATED SYSTEMS        44440 PHOENIX DR                                                                                        STERLING HEIGHTS   MI    48314‐1467
R&G SERVICE CENTER, INC.     635 S 75TH ST                                                                                           OMAHA              NE    68114‐4643
R&G SERVICE CENTER, INC.     14305 C CIR                                                                                             OMAHA              NE    68144‐3349
R&G SERVICE CENTER, INC.     635 S 75TH ST                                                                                           OMAHA              NE    68114‐4643
R&J                          MARK CARROCCE                     8063 SOUTHERN BLVD                                                    YOUNGSTOWN         OH    44512‐6306
R&J AUTOMOTIVE               460 PITTSBURGH RD                                                                                       BUTLER             PA    16002‐7654
R&K TOOL INC                 28214 BECK RD                                                                                           WIXOM              MI    48393‐3623
R&K TOOL SALES & CO (INC)    12 EXECUTIVE PARK DR              PO BOX 2965                                                           HENDERSONVILLE     TN    37075‐3450
R&K TOOLS SALES INC          12 EXECUTIVE DR                                                                                         HENDERSONVILLE     TN    37077
R&L TECHNOLOGIES             30000 STEPHENSON HWY                                                                                    MADISON HEIGHTS    MI    48071
                                     09-50026-mg                Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit B
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Name                                 Address1                             Address2                        Address3   Address4                  City               State Zip
R&M AUTO MART                        102 9TH ST                                                                                                CHARLES CITY         IA 50616‐3705
R&M AUTOMOTIVE                       172 KELSEY ST                                                                                             NEWINGTON           CT 06111‐5418
R&M DIODATI FAMILY LIMITED           11423 SUNRISE GOLD CIR STE 16        DBA R & M INVESTMENTS                                                RANCHO CORDOVA      CA 95742‐6585
PARTNERSHIP
R&M ENGINEERING INC                  11446 N LINDEN RD                    PO BOX 135                                                           CLIO               MI 48420‐8586
R&M INVESTMENTS                      11423 SUNRISE GOLD CIR STE 16                                                                             RANCHO CORDOVA     CA 95742‐6585
R&M INVESTMENTS                      ATTN: CORPORATE OFFICER/AUTHORIZED   11423 SUNRISE GOLD CIR STE 16                                        RANCHO CORDOVA     CA 95742‐6585
                                     AGENT
R&M MACHINE INC                      23895 REGENCY PARK DR                                                                                     WARREN             MI    48089‐2677
R&P OAK HILL                         3556 LAKE SHORE RD STE 620                                                                                BUFFALO            NY    14219‐1460
R&R AUTO GROUP                       PO BOX 619                           388 ROUTE 61S                                                        SCHUYLKILL HAVEN   PA    17972‐0619
R&R STRATEGIES INC                   2194 FOOTHILLS DR S STE 100                                                                               GOLDEN             CO    80401
R&R TECHNOLOGIES LLC                 3020 AIRPARK DR S                                                                                         FLINT              MI    48507‐3477
R&R TECHNOLOGIES LLC                 7560 E COUNTY LINE RD                                                                                     EDINBURGH          IN    46124‐1100
R&W METAL FABRICATING & DESIGN       54 SPALDING DR                       PO BOX 8 STN MAIN SPALDING DR              BRANTFORD ON N3T 5M3
                                                                                                                     CANADA
R&W METAL FABRICATING & DESIGN IN

R&W METAL FABRICATING & DESIGN INC   54 SPALDING DR                       PO BOX 8 STN MAIN SPALDING DR              BRANTFORD ON N3T 5M3
                                                                                                                     CANADA
R&W METAL FABRICATING AND DESIGHN    54 SPALDING DRIVE                    PO BOX 8                                   BRANTFORD ON N3T 5M3
INC                                                                                                                  CANADA
R‐BAC INDUSTRIES LLC                 1080 MARITIME AVE                                                                                         PORT WASHINGTON    WI    53074‐2800
R‐VISION MOTORIZED, LLC              PO BOX 465                                                                                                WAKARUSA           IN    46573‐0465
R. A. CUEVAS, JR.                    COUNTY ATTORNEY'S OFFICE             111 NW 1ST ST STE 2810                                               MIAMI              FL    33128‐1930
R. A. CUEVAS, JR.                    COUNTY ATTORNEY'S OFFICE             112 NORTHWEST FIRST STREET,                                          MIAMI              FL    33131
                                                                          SUITE 2810
R. A. CUEVAS, JR.                    COUNTY ATTORNEY'S OFFICE             113 NORTHWEST FIRST STREET,                                          MIAMI               FL   33128
                                                                          SUITE 2810
R. A. CUEVAS, JR.                    COUNTY ATTORNEY'S OFFICE             114 NORTHWEST FIRST STREET,                                          MIAMI               FL   33131
                                                                          SUITE 2810
R. BETANCOURT AUTO                   1310 SW 70TH AVE                                                                                          MIAMI              FL    33144‐5425
R. C. OLSEN CADILLAC, INC.           201 CAMBRIDGE RD                                                                                          WOBURN             MA    01801‐4705
R. C. OLSEN CADILLAC, INC.           RICHARD OLSEN                        201 CAMBRIDGE RD                                                     WOBURN             MA    01801‐4705
R. CHARLIE NELSON                    SPECIAL ACCOUNT                      609 CARGILE DR                                                       GREENSBORO         AL    36744
R. CLARK                             6383 CHILTERN RD NW                                                                                       CANAL FULTON       OH    44614‐8745
R. COOPER                            1025 BIRCHWOOD LN                                                                                         DESOTO             TX    75115‐4101
R. D BLAGG                           5400 26TH ST W APT M216                                                                                   BRADENTON          FL    34207
R. D. BANKS CHEVROLET, INC.          RUSSELL BANKS                        5729 MAHONING AVE NW                                                 WARREN             OH    44483‐1139
R. D. BANKS CHEVROLET, INC.          5729 MAHONING AVE NW                                                                                      WARREN             OH    44483‐1139
R. DAVIS                             4227 CICERO ST                                                                                            DALLAS             TX    75216‐6640
R. DELL HOWARD                       26452 S POINT RD                                                                                          GOETZVILLE         MI    49736‐9204
R. E. SMITH MOTOR COMPANY, INC.      243 S CAPTAIN GLOSTER DR                                                                                  GLOSTER            MS    39638‐3581
R. ELPING, K. DINE & E. CARRIG       1540 BROADWAY                                                                                             NEW YORK           NY    11036
R. ETHIER & FILS INC.                820 RUE DE MARTIGNY                                                             SAINT‐JEROME QC J5L 1Z6
                                                                                                                     CANADA
R. G. AUTO ELECTRIC                  924 BROADWAY                                                                                              CHULA VISTA        CA    91911‐1704
R. H. LONG MOTOR SALES, INC.         CHARLES LONG                         218 TURNPIKE RD                                                      SOUTHBOROUGH       MA    01772‐1736
R. HICKEY                            700 PERRY SMITH LN                                                                                        CARYVILLE          TN    37714‐3293
R. HOLLISTER III                     1692 GARRY DR                                                                                             BELLBROOK          OH    45305‐1359
R. HUDDLESTON
                                       09-50026-mg                Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                   Address1                            Address2                         Address3   Address4               City             State Zip
R. J. BURNE OLDSMOBILE CADILLAC PON    1201‐1209 WYOMING AVE                                                                                  SCRANTON          PA 18503

R. J. BURNE OLDSMOBILE CADILLAC        1201‐1209 WYOMING AVE                                                                                  SCRANTON         PA 18509
PONTIAC
R. J. CHEVROLET, INC.                  GREGORY STAHL                       1271 RIDGE RD W                                                    ROCHESTER        NY 14615‐2406
R. JAMES TORRES
R. JONES JR                            4837 HILLSIDE AVE                                                                                      FORT WORTH       TX   76119‐5129
R. JUNE HOWELL                         269 MARSHALL AVE. E.                                                                                   WARREN           OH   44483
R. K WILLIAMS                          1079 OLD SYLVARENA RD                                                                                  WESSON           MS   39191
R. K. BELT & SONS, INC.                EVAN BELT                           300 E WASHINGTON AVE                                               RED OAK          IA   51566‐2334
R. K. BELT & SONS, INC.                300 E WASHINGTON AVE                                                                                   RED OAK          IA   51566‐2334
R. K. CHEVROLET, INC.                  2661 VIRGINIA BEACH BLVD                                                                               VIRGINIA BEACH   VA   23452‐7630
R. K. CHEVROLET, INC.                  JAMES GEE                           502 N DELSEA DR                                                    VINELAND         NJ   08360‐3102
R. K. CHEVROLET, INC.                  ROBERT KLINE                        2661 VIRGINIA BEACH BLVD                                           VIRGINIA BEACH   VA   23452‐7630
R. K. CHEVROLET, INC.                                                                                                                         VIRGINIA BEACH   VA   23452
R. L. BROOKDALE MOTORS/REPUBLIC LEAS   7417 BROOKLYN BLVD                                                                                     BROOKLYN PARK    MN   55443‐3202

R. L. REISING SALES, INC.              722 DIXIE HWY                                                                                          BEECHER          IL   60401
R. L. REISING SALES, INC.              JOSEPH REISING                      722 DIXIE HWY                                                      BEECHER          IL   60401
R. LEE MOTORS, INC.                    RODNEY LEE                          5803 STATE HIGHWAY 29 S                                            ALEXANDRIA       MN   56308‐6029
R. LEE MOTORS, INC.                    5803 STATE HIGHWAY 29 S                                                                                ALEXANDRIA       MN   56308‐6029
R. LOUD                                782 LOUD RD                                                                                            DAWSON           GA   39842‐4439
R. M. BURRITT MOTORS, INC.             340 STATE ROUTE 104                                                                                    OSWEGO           NY   13126‐2956
R. M. BURRITT MOTORS, INC.             CHRIS BURRITT                       340 STATE ROUTE 104                                                OSWEGO           NY   13126‐2956
R. P. VAN HOLLEBEKE
R. PATZENHAUER AND S. PATZENHAUER      C/O FAM PATZENHAUER                 ROSTOCKER STRASSE 16                        39124 MAGDEBURG
                                                                                                                       GERMANY
R. R HOLLISTER III                     1692 GARRY DR                                                                                          BELLBROOK        OH 45305
R. REININGER                           NORM JUDD                           1240 TWINNEY DR.                            NEWMARKET ON L3Y 5N1
                                                                                                                       CANADA
R. REININGER & SON LTD                 TIM TUCKER                          1240 TWINNEY CRESCENT/POB 2000              OAKVILLE ON CANADA

R. ROSSON                             7785 SANTOLINA DR                                                                                       INDIANAPOLIS     IN 46237‐3717
R. SCOTT BELL                         1026 FLOYD ST                                                                                           BIRMINGHAM       MI 48009‐3635
R. SESSION                            1317 TOLTEC DR                                                                                          DALLAS           TX 75232‐1555
R. SHAH
R. SUMLING                            20625 STRATFORD RD                                                                                      DETROIT          MI 48221‐1385
R. TIMOTHY WESTON, K&L GATES LLP, C/O MARKET SQUARE PLAZA, 17 NORTH                                                                           HARRISBURG       PA 17101
JACK'S CREEK PRP GROUP                SECOND STREET, 18TH FLOOR
R. W. PLADSEN, INC.                   STEPHEN PLADSEN                      201 ROSSVILLE RD                                                   WAUKON           IA   52172‐1937
R. W. PLADSEN, INC.                   201 ROSSVILLE RD                                                                                        WAUKON           IA   52172‐1937
R. WAGNER                             UNDISCLOSED PENTHOUSE                SEVERAL                                                            DETROIT          MI   90210
R. WILLIAM HAPPEL                     1566 WILSON AVE                                                                                         CHAMBERSBURG     PA   17201‐1378
R. WILLIAM STEPHENS, STEPHENS &       410 MAIN STREET                                                                                         BUFFALO          NY   14202
STEPHENS
R. WILLIAM STEPHENS, STEPHENS &       C/O FRONTIER CHEMICAL PROCESSING PRP 410 MAIN STREET                                                    BUFFALO          NY 14202
STEPHENS                              GROUP
R. WILLIAM STEPHENS, STEPHENS &       410 MAIN STREET                                                                                         BUFFALO          NY 14202
STEPHENS LLP
R. WILLIAM STEPHENS, STEPHENS &       410 MAIN STREET                                                                                         BUFFALO          NY 14202
STEPHENS, C/O PAS MAIN SITE PRP GROUP
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Name                                    Address1                             Address2                     Address3              Address4                  City               State Zip
R. WILLIAMS                             1079 OLD SYLVARENA RD                                                                                             WESSON              MS 39191‐9003
R. WILSON MARTIN, P.C. PROFIT SHARING   MARTIN, LUTZ, ROGGOW AND EUBANKS,    PO DRAWER 1837                                                               LAS CRUCES          NM 88004‐1837
PLAN                                    P.C.
R.A. HILLMAN ENTERPRISES                134 WHEELER AVE                                                                                                   ARCADIA            CA    91006‐3215
R.A. ZAIDAN & ASSOCIATES                25309 BRIARWYKE DR                                                                                                FARMINGTON HILLS   MI    48336‐1654
R.A.B. MOTORS, INC.                     MILAN SUGA                           10520 QUEENS BLVD                                                            FOREST HILLS       NY    11375‐4247
R.A.B. MOTORS, INC.                     BOB BAILER                           10520 QUEENS BLVD                                                            FOREST HILLS       NY    11375‐4247
R.A.B. MOTORS, INC.                     10520 QUEENS BLVD                                                                                                 FOREST HILLS       NY    11375‐4247
R.A.H. CORP                             79 JOHN GLENN DRIVE                                                                                               CONCORD            CA    94520
R.B. ENTERPRISES                        N89W15963 MAIN ST                                                                                                 MENOMONEE FALLS    WI    53051‐2938
R.B. FRIES, INC.                        BRIAN BARTHOLOMAY                    900 MAIN ST                                                                  VANDLING           PA    18421‐1024
R.B. FRIES, INC.                        900 MAIN ST                                                                                                       VANDLING           PA    18421‐1024
R.B. HOPPER
R.B. INC.                               RICK QUIGLEY                         400 N DERR DR                                                                LEWISBURG          PA 17837‐1021
R.BROWN ELECTRIC SERVICE,INC.                                                450 WASHINGTON POST RD                                                                          NC 28560
R.C.F. COBUZZI                          2480 TILLEMONT                                                                          MONTREAL QC H2H 1G2
                                                                                                                                CANADA
R.C.J. INDUSTRIES INC.                  R. C. JORDAN, III                    3905 LOST TREE CT                                                            TITUSVILLE          FL   32796‐2950
R.D. HARTSFIELD
R.D.BALOW
R.E. SMITH MOTOR COMPANY, INC.          243 S CAPTAIN GLOSTER DR                                                                                          GLOSTER            MS    39638‐3581
R.E. WHITE & ASSOCIATES                 5 BRANDYWINE LN                                                                                                   COLUMBIA           SC    29206‐1366
R.G. HANSON/BLOOMING                    703 EAST LINCOLN                                                                                                  BLOOMINGTON        IL    61701
R.G. KELSEY                             3393 BRENTHILL DR                                                                                                 GRAND BLANC        MI    48439‐7975
R.G. RAY CORPORATION                    CHANTEL BLOUNT                       900 BUSCH PKY; POB 7230                            CIVAC JIUTEPEC CP 62500
                                                                                                                                MEXICO
R.G. RAY CORPORATION                    CHANTEL BLOUNT                       PO BOX 7230                                                                  BUFFALO GROVE      IL 60089‐7230
R.G. WICKLUND & SON                     240 N STATE ST                                                                                                    CONCORD            NH 03301‐3224
R.H. LONG MOTOR SALES, INC.             350 WORCESTER RD                                                                                                  FRAMINGHAM         MA 01702‐5372
R.J. PHILLIPS AUTO REPAIRS INC.         107 WARREN RD.                                                                          WHITBY ON L1N 2C4
                                                                                                                                CANADA
R.J. SHORE AUTOMOTIVE                   80 SHORE DR                                                                                                       BRANFORD            CT   06405‐4823
R.J.MORAN
R.K. CHEVROLET OLDSMOBILE CADILLAC      502 N DELSEA DR                                                                                                   VINELAND            NJ   08360‐3102

R.L. POLK/SOUTHFIELD                    26955 NORTHWESTERN HWY                                                                                            SOUTHFIELD         MI 48033‐4716
R.L.POLK
R.L.POLK                                26955 NORTHWESTERN HWY.                                                                                           SOUTHFIELD         MI    48033
R.O.I. ENERGY L.L.C.                    9400 N. BROADWAY                                                                                                  OKLAHOMA CITY      OK    73114
R.O.I. ENERGY, L.L.C.                   9400 N. BROADWAY                                                                                                  OKLAHOMA CITY      OK    73114
R.O.I. ENERGY, L.L.C.                   WORLDWIDE REAL ESTATE                GENERAL MOTORS CORPORATION   200 RENAISSANCE CTR                             DETROIT            MI    48265‐0001

R.O.I. ENERGY, LLC                      WORLDWIDE REAL ESTATE                PO BOX 200                   MC 482 B38 LCN                                  DETROIT            MI 48265‐2000
R.O.S.E. INFORMATIK, INC.               2400 EXECUTIVE HILLS DR                                                                                           AUBURN HILLS       MI 48326‐2980
R.P. LUMBER COMPANY, INC.               ROBERT PLUMMER                       514 E VANDALIA ST                                                            EDWARDSVILLE       IL 62025‐1855
R.R. ALMGREN, VIOLA M. ALMGREN,         4326 SUNSET BLVD.                                                                                                 LOS ANGELES        CA
HARRIS L. WOODS AND MARY A. WOODS

R.R. AUTOMOTIVE LTD                     P O BOX 33 ‐ EVERGREEN MOBILE HOME                                                      EDMONTON AB T5Y 4M2
                                        PARK 167TH AVE                                                                          CANADA
R.R. CHARLEBOIS, INC.                   41 HERCULES DR                                                                                                    COLCHESTER         VT 05446‐5847
R.T.O., INC.                            JONATHAN ROSE                        160 WELLMAN ST STE A                                                         NORFOLK            VA 23502‐4619
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Name                             Address1                          Address2                           Address3                     Address4         City               State Zip
R.W. MILSTEAD OR LYNN MILSTEAD   2653 ANNETTE ST                                                                                                    FLAGLER BEACH       FL 32136
R/S AND CO C/F                   DOROTHY P MALVEG                  IRA ROLLOVER DTD 03/17/1992        536 S PLEASANT VIEW RD APT                    PLYMOUTH            WI 53073‐4384
                                                                                                      3
RA D NORTH                       5065 PENSACOLA BLVD                                                                                                MORAINE            OH   45439‐2940
RA LINE/ROYAL OAK                1815 BELLAIRE AVE                                                                                                  ROYAL OAK          MI   48067‐1512
RA'OOF, RAHEEM M                 1308 2ND ST.                                                                                                       BIRMINGHAM         AL   35214‐5322
RA'SHONDA M FEARS                2425 OAKRIDGE DR.                                                                                                  DAYTON             OH   45417
RA, YOUNG J                      19 DEER TRACK LN                                                                                                   NEWARK             DE   19711‐2966
RA, YOUNG JU                     19 DEER TRACK LN                                                                                                   NEWARK             DE   19711‐2966
RA‐MARK DARDEN                   1350 HIGHLAND MEADOWS DRIVE                                                                                        FLINT              MI   48532
RAAB SAMUEL (447124)             CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                                 CLEVELAND          OH   44115
                                 GAROFOLI                          FL
RAAB WILLIAM H (502013)          ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                                         WILMINGTON         DE   19801‐1813
RAAB WILLIAM H JR                ANGELOS PETER G                   100 N CHARLES STREET               ONE CHARLES CENTER                            BALTIMORE          MD   21201‐3812
RAAB, ANTON J                    4106 WILDER RD # 321                                                                                               BAY CITY           MI   48706
RAAB, AUBRIE E                   845 COUTANT ST                                                                                                     FLUSHING           MI   48433‐1724
RAAB, DONALD H                   507 IRVIN ST                                                                                                       OGDENSBURG         NY   13669‐1933
RAAB, FRANZ                      26600 RIDGEMONT ST                                                                                                 ROSEVILLE          MI   48066‐7124
RAAB, JAMES E                    PO BOX 420                                                                                                         MORLEY             MI   49336‐0420
RAAB, JANIS M                    11325 BANCROFT STREET                                                                                              SWANTON            OH   43558‐8914
RAAB, JOSEPH                     5053 E MOUNT MORRIS RD                                                                                             MOUNT MORRIS       MI   48458‐9713
RAAB, MARK J                     489 JASON PL APT B                                                                                                 BRICK              NJ   08724‐3055
RAAB, MARTIN J                   22871 HILLOCK AVE                                                                                                  WARREN             MI   48089‐5418
RAAB, MICHAEL A                  706 SEBEK ST                                                                                                       OXFORD             MI   48371‐4453
RAAB, MICHAEL G                  272 SILVER BUGLE LN                                                                                                W CARROLLTON       OH   45449‐2367
RAAB, MITCHELL A                 208 HURONDALE DR                                                                                                   WHITE LAKE         MI   48386‐2528
RAAB, NORMAN J                   11325 BANCROFT ST                                                                                                  SWANTON            OH   43558‐8914
RAAB, NORMAN M                   27834 RYAN RD                                                                                                      WARREN             MI   48092‐5132
RAAB, ROBERT A                   2924 ABBOTT RD                                                                                                     MIDLAND            MI   48642‐4769
RAAB, ROBERT G                   5239 SANDALWOOD CIR                                                                                                GRAND BLANC        MI   48439‐4266
RAAB, SAMUEL                     CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                                  CLEVELAND          OH   44115
                                 GAROFOLI                          FL
RAAB, STANLEY E                  16401 SILVERADO DRIVE                                                                                              SOUTHGATE          MI   48195‐3925
RAAB, THOMAS L                   5830 GRAYDON DR                                                                                                    SEVEN HILLS        OH   44131‐1906
RAAB, W M                        10040 DAVISBURG RD                                                                                                 DAVISBURG          MI   48350‐2019
RAAB, WILLIAM H                  ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                                                         WILMINGTON         DE   19801‐1813
RAAB, WILLIAM H                  ANGELOS PETER G                   100 N CHARLES STREET, ONE                                                        BALTIMORE          MD   21201‐3812
                                                                   CHARLES CENTER
RAABE, GARRY J                   15085 MOROCCO RD                                                                                                   PETERSBURG         MI   49270‐9321
RAABE, JULIE L                   2271 HAWAII AVE SW                                                                                                 HURON              SD   57350‐4313
RAACK, KENNETH J                 360 E ROBINDALE RD                                                                                                 LAS VEGAS          NV   89123
RAACK, LORETTA M                 6423 SANDPIPER WAY                                                                                                 LAS VEGAS          NV   89103
RAAD JOHN                        PO BOX 9022                                                                                                        WARREN             MI   48090‐9022
RAAD MALLOIAN                    3225 SHADOWLAWN ST                                                                                                 SAN DIEGO          CA   92110‐4748
RAAD MAROKI                      2170 LIMESTONE CT                                                                                                  STERLING HEIGHTS   MI   48314‐3779
RAAD, ANTOINETTE                 43207 GINA DR                                                                                                      STERLING HTS       MI   48314‐6302
RAAD, ASMAHAN J                  3733 LANCASTER DR                                                                                                  STERLING HTS       MI   48310‐4407
RAAD, ELIAS K                    2426 KENSINGTON RD                                                                                                 LANSING            MI   48910‐2855
RAAD, GHASSAN                    27574 GALEWAY EAST APT D          302                                                                              FARMINGTON HILLS   MI   48334
RAAD, JOHN J                     PO BOX 9022                                                                                                        WARREN             MI   48090‐9022
RAAD, KRISTINE K                 PO BOX 9022                                                                                                        WARREN             MI   48090‐9022
RAAD, KRISTINE KEHOE             1120 S KENWOOD AVE                                                                                                 BALTIMORE          MD   21224
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Name                                Address1                         Address2                      Address3             Address4             City                State Zip
RAAD, MARK P                        915 KNAPP AVE                                                                                            FLINT                MI 48503‐3053
RAAD, MARK PHILIP                   915 KNAPP AVE                                                                                            FLINT                MI 48503‐3053
RAAD, PHILLIS M                     G3277 MILLER RD                                                                                          FLINT                MI 48507‐1358
RAAD, PHILLIS M                     2721 YALE ST                                                                                             FLINT                MI 48503
RAAD, PHILLIS MARIE                 PO BOX 939                                                                                               FENTON               MI 48430
RAAS INC                            8 SORRENTO DR                    #5                                                                      OSPREY               FL 34229‐9510
RAASCH'S AMERICAN CAR CARE CENTER   2915 SCHOFIELD AVE                                                                                       SCHOFIELD            WI 54476‐2511

RAASCH, DENNIS A                    2086 LINDA LN                                                                                            GREENWOOD           IN   46143‐9182
RAASCH, DONALD                      765 DORO LN                                                                                              SAGINAW             MI   48504‐1108
RAASCH, EDWARD C                    202 W SUMNER AVE                                                                                         INDIANAPOLIS        IN   46217‐3259
RAASCH, HOWARD H                    6222 N STONEY CREEK RD                                                                                   MONROE              MI   48162‐9365
RAASCH, PHYLLIS L                   3365 LYTLE RD                                                                                            WAYNESVILLE         OH   45068‐9640
RAASCH, THOMAS A                    62 PARK FOREST DR N                                                                                      WHITELAND           IN   46184‐9783
RAASHIDA ABDULLAH                   PO BOX 352894                                                                                            TOLEDO              OH   43635‐2894
RAATZ RICHARD E (429653)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK             VA   23510
                                                                     STREET, SUITE 600
RAATZ, AMANDA J.                    4693 STATE ST                                                                                            GAGETOWN            MI   48735
RAATZ, EDWIN R                      4110 BOULDER MDW NE                                                                                      BELMONT             MI   49306‐9035
RAATZ, GORDON R                     202 WINDJAMMER DR                                                                                        LANSING             MI   48917‐3469
RAATZ, GORDON R                     729 S HAYFORD AVE                                                                                        LANSING             MI   48912‐3825
RAATZ, LAURRANE M                   202 WINDJAMMER DR                                                                                        LANSING             MI   48917‐3469
RAATZ, RICHARD E                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK             VA   23510‐2212
                                                                     STREET, SUITE 600
RABAA, DIANE L                      1224 NASH AVE                                                                                            YPSILANTI           MI   48198‐6290
RABAA, RASHED S                     4190 IVERNESS LN                                                                                         WEST BLOOMFIELD     MI   48323‐2827
RABADI, DANA                        7909 W NORWICH DR                                                                                        MUNCIE              IN   47304‐9170
RABADI, VICTOR A                    920 SANCTUARY RD                                                                                         NAPLES              FL   34120‐4846
RABADUE, LAURA B                    109 PARK RD                                                                                              SUFFOLK             VA   23434‐6219
RABADUE, ROBERT M                   1382 W PARISH RD                                                                                         LINWOOD             MI   48634‐9719
RABADUE, RONALD G                   1009 NORTH SHERMAN STREET                                                                                BAY CITY            MI   48708‐6066
RABAEY, JOHN A                      2683 COUNTY ROAD 5                                                                                       MARSHALL            MN   56258‐5347
RABAEY, JOHN ALBERT                 2683 COUNTY ROAD 5                                                                                       MARSHALL            MN   56258‐5347
RABAGLINO MARIA ROSA                LA SCALA                         STUDIO LEGALE E TRIBUTANO     CROSO MAGENTA N 42   20123 MILANO ITALY
RABAGO, FERNE C                     1650 KAUHIKOA RD                                                                                         HAIKU               HI   96708‐5860
RABAGO, JESUS                       PO BOX 563                                                                                               SNOWFLAKE           AZ   85937‐0563
RABAGO, LUEVA G                     PO BOX 563                                                                                               SNOWFLAKE           AZ   85937‐0563
RABAJA, PHILLIP R                   1018 BONITA DR                                                                                           ALTAMONTE SPRINGS   FL   32714‐7208
RABAR THOMAS (505495)               MOTLEY RICE LLC                  312 S MAIN STREET STE 200                                               PROVIDENCE          RI   02903‐7109
RABAR, THOMAS                       MOTLEY RICE LLC                  312 S MAIN ST STE 200                                                   PROVIDENCE          RI   02903‐7109
RABAS GARAGE INC.                   15203 MARIBEL RD                                                                                         MARIBEL             WI   54227‐9543
RABAS GARAGE INC.                   15203 MARIBEL RD                                                                                         MARIBEL             WI   54227‐9543
RABASSA, JOHN A                     315 HOLBROOK LN                                                                                          SAGINAW             MI   48638‐6256
RABASSA, SANTIAGO                   8702 NW 110TH LN                                                                                         HIALEAH GARDENS     FL   33018‐4558
RABATIN, AMY E                      11004 HARTLAND RD                                                                                        FENTON              MI   48430‐2576
RABATIN, AMY E.                     11004 HARTLAND RD                                                                                        FENTON              MI   48430‐2576
RABATIN, ARLENE B                   2257 SILVER FOX LN NE                                                                                    WARREN              OH   44484‐1144
RABATIN, JOHN A                     2718 HAWKS RD                                                                                            WELLSVILLE          NY   14895‐9103
RABATIN, ROBERT U                   4565 BAYWOOD DR                                                                                          BRUNSWICK           OH   44212‐5504
RABATIN, SANDRA A                   2718 HAWKS RD                                                                                            WELLSVILLE          NY   14895‐9103
RABAUT‐LEFAUVE, MARY F              4 HIGHLAND LN                                                                                            ANN ARBOR           MI   48104‐1727
RABB JR, JOHN                       # 110                            107 THRUWAY DRIVE                                                       BARDSTOWN           KY   40004‐6795
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Name                              Address1                           Address2                        Address3               Address4         City               State Zip
RABB JR, JOHN                     95 STONEHOUSE RD                                                                                           BARDSTOWN           KY 40004‐9045
RABB ROBERT (459271)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                             NORFOLK             VA 23510
                                                                     STREET, SUITE 600
RABB SR, EUGENE                   807 DALEWOOD PL                                                                                            TROTWOOD           OH   45426‐5426
RABB, CAROL A                     10020 NORTH BOULVARD                                                                                       CLEVLAND           OH   44108
RABB, CHARLES L                   63 GANSON ST                                                                                               N TONAWANDA        NY   14120‐7212
RABB, DANIEL B                    3724 E STATE RD                                                                                            HASTINGS           MI   49058‐8441
RABB, DAVID L                     7193 BALDWIN RD                                                                                            SWARTZ CREEK       MI   48473‐9134
RABB, DIANA                       3128 WINBERRY DR                                                                                           FRANKLIN           TN   37064‐6229
RABB, GEORGE W                    2175 MILLVILLE RD                                                                                          LAPEER             MI   48446‐7707
RABB, JULIUS J                    12848 CALLENDER ST                                                                                         SOUTHGATE          MI   48195‐1041
RABB, LAWRENCE E                  1308 MAROT DR                                                                                              TROTWOOD           OH   45427‐2114
RABB, LAWRENCE E                  1308 MAROT DRIVE                                                                                           TROTWOOD           OH   45427‐2114
RABB, LEASIE                      1471 NEWPORT DR                                                                                            MACEDONIA          OH   44056‐1969
RABB, ROBERT                      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
RABB, SR.,EUGENE                  807 DALEWOOD PL                                                                                            TROTWOOD           OH   45426‐2209
RABBAH, KHALED                    5717 HUBBELL ST                                                                                            DEARBORN HEIGHTS   MI   48127‐2443
RABBANI DAVID                     3009 NE 183RD LN                                                                                           AVENTURA           FL   33160‐4904
RABBANI SHEIKH                    13130 HADLEY ST APT 2021                                                                                   OVERLAND PARK      KS   66213‐5159
RABBE, WILLIAM H                  1301 ARUNDEL DR                                                                                            KOKOMO             IN   46901‐3918
RABBEN STUBBS                     6902 MILAM LN                                                                                              ARLINGTON          TX   76002‐5105
RABBI GERSHON STEINBERG‐CAUDILL
RABBI SALIMI MD PC                6240 RASHELLE DR STE 204                                                                                   FLINT              MI 48507‐3935
RABBIT OFFICE AUTOMATION          904 WEDDELL CT                                                                                             SUNNYVALE          CA 94089‐4617
RABBIT TANAKA CORPORATION USA
RABBY, GLADIN                     PORTER & MALOUF PA                 4670 MCWILLIE DR                                                        JACKSON            MS   39206‐5621
RABE DAVID & HELEN                807 GREEN ST                                                                                               BRODHEAD           WI   53520‐1051
RABE, BETTY L                     8930 DAVISBURG ROAD                                                                                        CLARKSTON          MI   48348‐4118
RABE, CHARLES H                   6059 E SIERRA BLANCA ST                                                                                    MESA               AZ   85215‐7753
RABE, DAVID D                     807 GREEN ST                                                                                               BRODHEAD           WI   53520‐1051
RABE, ESTHER F                    1804 KIMBER AVE                                                                                            MARQUETTE          MI   49855‐1508
RABE, HAZEL                       10860 E BURT RD                                                                                            BIRCH RUN          MI   48415‐9340
RABE, HAZEL                       10860 BURT RD                                                                                              BIRCH RUN          MI   48415‐9340
RABE, JAMES T                     1222 E PINCONNING RD                                                                                       PINCONNING         MI   48650‐8911
RABE, JASON M                     807 GREEN ST                                                                                               BRODHEAD           WI   53520‐1051
RABE, MARGARET E                  1205 W 4TH AVE                                                                                             BRODHEAD           WI   53520‐1518
RABE, MARGARET E                  1205 WEST FOURTH AVE                                                                                       BRODHEAD           WI   53520‐1518
RABE, RICHARD D                   3208 W SUBLETT RD                                                                                          ARLINGTON          TX   76017‐4750
RABE, STACEY C                    1626 E TAMARRON CT                                                                                         SPRINGBORO         OH   45066‐9212
RABEAU, THOMAS B                  1108 VINETREE DR                                                                                           BRANDON            FL   33510‐2086
RABECCA MICHELIS                  1114 N VAN BUREN ST                                                                                        BAY CITY           MI   48708‐6077
RABECCA R MICHAELIS               1118 N VAN BUREN ST                                                                                        BAY CITY           MI   48708‐6077
RABEL, MICHAEL O                  5633 NORTH PARK EXT.                                                                                       WARREN             OH   44481
RABEL, MICHAEL R                  5619 LIBERTY AVE                                                                                           NEWTON FALLS       OH   44444‐8410
RABEN SERVICE CENTER INC          780 KING ST                                                                                                CHAPPAQUA          NY   10514‐3812
RABEN TIRE                        1167 S GREEN RIVER RD                                                                                      EVANSVILLE         IN   47715‐6803
RABEN TIRE                        4300 N 1ST AVE                                                                                             EVANSVILLE         IN   47710‐3620
RABEN TIRE                        8000 HIGHWAY 66                                                                                            NEWBURGH           IN   47630
RABENA PETER                      LYNNE KIZIS, ESQ                   WILENTZ, GOLDMAN, AND SPITZER   90 WOODBRIDGE CENTER                    WOODBRIDGE         NJ   07095
                                                                                                     DRIVE
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Name                          Address1                         Address2                          Address3   Address4         City            State Zip
RABENA, PETER                 WILENTZ GOLDMAN & SPITZER        88 PINE STREET, WALL STREET PLAZA                             NEW YORK         NY 10005

RABENER MICHAEL (632849)      BRAYTON PURCELL                  PO BOX 6169                                                   NOVATO          CA   94948‐6169
RABENER, MICHAEL              BRAYTON PURCELL                  PO BOX 6169                                                   NOVATO          CA   94948‐6169
RABENHORST, ARTHUR E          5474 ABEL RD                                                                                   HAMBURG         NY   14075‐3641
RABENHORST, ARTHUR EDWARD     5474 ABEL RD                                                                                   HAMBURG         NY   14075‐3641
RABENHORST, MICHAEL C         6843 NETTLE CREEK DRIVE                                                                        DERBY           NY   14047‐9587
RABENHORST, MICHAEL CHARLES   6843 NETTLE CREEK DRIVE                                                                        DERBY           NY   14047‐9587
RABER JARROD                  RABER, JARROD                    1801 E 9TH ST STE 1710                                        CLEVELAND       OH   44114‐3198
RABER JR, RICHARD A           210 CLIVE AVE                                                                                  WATERFORD       MI   48328‐2804
RABER, AMANDA M               1524 W EASTON RD                                                                               BURBANK         OH   44214‐9752
RABER, BRENT D                30474 TOWER RD                                                                                 SALEM           OH   44460‐9524
RABER, CAROL A                221 WALNUT ST                                                                                  TIPTON          IN   46072‐1640
RABER, DAVID C                4735 FILER ST                                                                                  WATERFORD       MI   48328‐2832
RABER, DEBORAH D              3233 S 150 E                                                                                   KOKOMO          IN   46902‐9544
RABER, ESTHER A               235 GOLDNER AVE                                                                                WATERFORD       MI   48328‐2854
RABER, JARROD                 KROHN & MOSS ‐ OH                1801 E 9TH ST STE 1710                                        CLEVELAND       OH   44114‐3198
RABER, LARRY J                3374 E 100 S                                                                                   KOKOMO          IN   46902‐2836
RABER, NEDRA I                5014 NORTHERN LIGHTS DR UNIT F                                                                 FORT COLLINS    CO   80528‐3172
RABER, NORMA J                3374 E 100 S                                                                                   KOKOMO          IN   46902‐2836
RABER, RICHARD L              3211 WALDO AVE                                                                                 MIDLAND         MI   48642‐3981
RABER, WILLIAM E              1472 W WACKERLY RD                                                                             SANFORD         MI   48657‐9603
RABERG, JOYCE M               3819 STILLWELL                                                                                 LANSING         MI   48911‐2184
RABERG, SIEGFRIED K           3819 STILLWELL AVE                                                                             LANSING         MI   48911‐2184
RABERT, SYBIL                 3429 M‐53 VAN DYKE                                                                             ALMONT          MI   48003
RABESS, CECILIA E             343 N DEARBORN ST U 1                                                                          CHICAGO         IL   60654
RABEY GLINDA                  55 LOOKOUT PT                                                                                  JACKSONS GAP    AL   36861‐2541
RABEY, ELEANOR C              200 VILLAGE DR APT 351                                                                         DOWNERS GROVE   IL   60516‐3075
RABHI, LOUNES                 1985 UPLAND DR                                                                                 ANN ARBOR       MI   48105‐2274
RABIAH A MAJEED               PO BOX 462                                                                                     JACKSON         MI   49204‐0462
RABIAH MAJEED                 PO BOX 462                                                                                     JACKSON         MI   49204‐0462
RABICH JR, PAUL R             2766 E WIRBLE RD                                                                               PINCONNING      MI   48650‐9601
RABIDEAU, ALBIN H             711 E DEVEREAUX LAKE RD                                                                        INDIAN RIVER    MI   49749‐9161
RABIDEAU, BARBARA J           1053 MEANWELL RD                                                                               DUNDEE          MI   48131‐9723
RABIDEAU, CHRISTOPHE P        378 CHIP RD                                                                                    AUBURN          MI   48611‐9741
RABIDEAU, DARRIN J            21630 CHESTER                                                                                  RAY TWP         MI   48096‐3101
RABIDEAU, DONALD C            3 ROSEWOOD DR                                                                                  HARRISBURG      PA   17109‐5537
RABIDEAU, GARY F              1635 BRIARSON DR                                                                               SAGINAW         MI   48638‐4498
RABIDEAU, GARY F              PO BOX 8882                                                                                    KODIAK          AK   99615
RABIDEAU, GARY L              313 WITMER RD                                                                                  N TONAWANDA     NY   14120‐1642
RABIDEAU, JAMES E             2125 HOBART RD                                                                                 GAGETOWN        MI   48735‐9745
RABIDEAU, JAMES R             S77W20298 WOOD BERRY LN                                                                        MUSKEGO         WI   53150‐8257
RABIDEAU, JEREMY              5732 SHANNON LN                                                                                CLARKSTON       MI   48348‐5165
RABIDEAU, JOHN P              330 CHIDESTER                                                                                  YPSILANTI       MI   48197
RABIDEAU, JUDITH L            4250 OTTO ST                                                                                   FLINT           MI   48507‐3649
RABIDEAU, JUDY D              3120 N DOW RD                                                                                  WEST BRANCH     MI   48661‐9420
RABIDEAU, KATIE E             701 LIVINGSTON AVENUE                                                                          PONTIAC         MI   48340‐2446
RABIDEAU, KENNETH A           118 DELTON ST                                                                                  TONAWANDA       NY   14150‐5364
RABIDEAU, LAURA E             3312 BIRCHBROOK DR                                                                             BAY CITY        MI   48706‐2418
RABIDEAU, LAURENCE W          7048 CONNOISARAULEY RD                                                                         WEST VALLEY     NY   14171‐9730
RABIDEAU, MARIE L             1200 FREMONT ST                                                                                BAY CITY        MI   48708‐7965
RABIDEAU, MARY                1010 ELK ST                                                                                    GLADWIN         MI   48624‐1300
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Name                                   Address1                              Address2                        Address3                  Address4         City            State Zip
RABIDEAU, MICHAEL D                    6022 W EMERY RD                                                                                                  HOUGHTON LAKE    MI 48629‐9058
RABIDEAU, ROBERT L                     2146 WAYWARD DR                                                                                                  ROCHESTER HLS    MI 48309‐2131
RABIDEAU, ROBERT R                     1549 E CARO RD                                                                                                   CARO             MI 48723‐9307
RABIDEAU, SHIRLEY                      UNIT A                                1450 TOBIAS DRIVE                                                          CHULA VISTA      CA 91911‐4481
RABIDEAU, THOMAS R                     4825 E STERLING RD                                                                                               STERLING         MI 48659‐9539
RABIDEAU, TIMOTHY F                    373 BLOCK ST                                                                                                     FRANKENMUTH      MI 48734‐1155
RABIDEAU, TIMOTHY J                    313 WITMER RD                                                                                                    N TONAWANDA      NY 14120‐1642
RABIDEAU, WILLIAM E                    4546 THORNTON HWY                                                                                                CHARLOTTE        MI 48813‐8515
RABIDOUX SUSAN                         12810 HIGH MEADOWS PIKE                                                                                          PROSPECT         KY 40059‐9138
RABIE JR, ROBERT A                     17750 COLVIN RD                                                                                                  SAINT CHARLES    MI 48655‐9782
RABIE, DONNA M                         1830 GRATIOT AVE.                                                                                                SAGINAW          MI 48602‐2636
RABIE, MARIE M                         2406 N BOND                                                                                                      SAGINAW          MI 48602‐5405
RABIEGO, VALERIE T                     7425 W ARTHUR AVE                                                                                                WEST ALLIS       WI 53219‐2464
RABIEJ JR, LOUIS J                     1603 E BRIARWOOD TER                                                                                             PHOENIX          AZ 85048‐9415
RABIEJ, DIANE                          1603 E BRIARWOOD TER                                                                                             PHOENIX          AZ 85048‐9415
RABIHA MURFIK                          4265 FIRESTONE ST                                                                                                DEARBORN         MI 48126‐2940
RABINA, CHRIS A                        16339 STUEBNER AIRLINE RD APT 510                                                                                SPRING           TX 77379‐7347
RABINE, ELMER A                        48280 JEFFERSON AVE                                                                                              CHESTERFIELD     MI 48047‐2220
RABINE, JOHN L                         9553 SAINT CLAIR BLVD                                                                                            ALGONAC          MI 48001‐4388
RABINE, NORMAN C                       3010 CUNARD DR                                                                                                   VALRICO          FL 33596
RABINETTE, DAVID A                     12179 WILLARD RD                                                                                                 MILLINGTON       MI 48746‐9314
RABINETTE, DAVID ALAN                  12179 WILLARD RD                                                                                                 MILLINGTON       MI 48746‐9314
RABINETTE, DONALD J                    531 WHIP POOR WILL DR                                                                                            SEBRING          FL 33875‐6252
RABINETTE, HOWARD L                    17720 NORWAY PINE DR                                                                                             LEROY            MI 49655‐8239
RABINETTE, RUBY                        531 WHIP‐POOR‐WILL DR                                                                                            SEBRING          FL 33875
RABINOWITZ FOUNDATION INC              ATTN ALLAN C RABINOWITZ               911 PARK AVE APT 9B                                                        NEW YORK         NY 10075
RABINOWITZ, LUBETKIN & TULLY, L.L.C.   ATTY FOR THE RABINOWITZ FAMILY, LLC   ATTN: JONATHAN I. RABINOWITZ,   293 EISENHOWER PARKWAY,                    LIVINGSTON       NJ 07039
                                                                             ESQ.                            SUITE 100
RABIOLA, FRANK T                       5830 E MCKELLIPS RD APT 93                                                                                       MESA            AZ   85215
RABIOLA, JOSEPH                        3934 E MILWAUKEE ST                                                                                              JANESVILLE      WI   53546‐1449
RABIROFF MARLEN (514061)               CLAPPER & PATTI                       2330 MARINSHIP WAY STE 140                                                 SAUSALITO       CA   94965‐2847
RABIROFF, MARLEN                       CLAPPER & PATTI                       2330 MARINSHIP WAY STE 140                                                 SAUSALITO       CA   94965‐2847
RABISH JR, HENRY G                     2104 FREMONT ST                                                                                                  BAY CITY        MI   48708‐8119
RABISH, PHYLLIS                        1788 E PINCONNING RD                                                                                             PINCONNING      MI   48650‐9302
RABISH, PHYLLIS                        1788 E. PINCONNING RD.                                                                                           PINCONNING      MI   48650‐9302
RABJOHN, HERBERT L                     128 LAFAYETTE ST                                                                                                 ELYRIA          OH   44035‐3923
RABKA, FLORENCE                        901 W JOLIET HWY                                                                                                 NEW LENOX       IL   60451‐2191
RABKE OPAL                             3711 MEADOWLARK AVE                                                                                              SAN ANTONIO     TX   78210‐5724
RABLE, CHARLES A                       119 N ASPEN CT UNIT 2                                                                                            WARREN          OH   44484‐1080
RABLEE, BARBARA J                      1983 OAKWELL FARMS PKWY APT 703                                                                                  SAN ANTONIO     TX   78218‐1763
RABOIN, DIANA R                        7253 BLUEWATER DRIVE                                                                                             CLARKSTON       MI   48348‐4207
RABOIN, PETER D                        7 PATTON ST                                                                                                      LAWRENCE        MA   01843‐3720
RABOINE, ALBERT M                      30236 FOREST DR                                                                                                  BURLINGTON      WI   53105
RABOLD ENVIRONMENTAL LLC               PO BOX 1298                                                                                                      BOWLING GREEN   KY   42102‐1298
RABOLD, MARY E                         831 FAIRWAY COURT                                                                                                MIAMISBURG      OH   45342‐3315
RABOLD, MARY E                         831 FAIRWAY CT                                                                                                   MIAMISBURG      OH   45342‐3315
RABON HAYMON                           1401 COUNTY RD., #844                                                                                            LOGAN           AL   35098
RABON JACKSON                          18158 BUCKHORN LAKE RD                                                                                           HOLLY           MI   48442‐8531
RABON SMITH                            13685 DURKEE RD                                                                                                  GRAFTON         OH   44044‐1209
RABON, ELDORA                          2407 HASKELL AVE                      C/O JACK W RABON                                                           KANSAS CITY     KS   66104‐4628
RABON, ERNEST L.                       GORI JULIAN & ASSOCIATES P C          156 N MAIN ST                                                              EDWARDSVILLE    IL   62025
RABON, VINNIE F                        16506 SPRUELL ST                                                                                                 HUNTERSVILLE    NC   28078‐3263
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Name                    Address1                             Address2                     Address3   Address4         City            State Zip
RABORN FLANAGAN         37 COUNTY ROAD 43                                                                             DENNIS           MS 38838‐9436
RABORN MADDOX           27172 N WALES RD                                                                              ELKMONT          AL 35620‐4836
RABORN, CHRISTINA J     38031 DOW CT                                                                                  PERU             IN 46970‐8729
RABOURN, JACK D         506 PIN OAK ST                                                                                ADRIAN           MO 64720‐9110
RABOURN, SAMUEL M       7920 JANEL DR                                                                                 INDIANAPOLIS     IN 46237‐9398
RABOURN, SAMUEL MASON   7920 JANEL DR                                                                                 INDIANAPOLIS     IN 46237‐9398
RABOURN, WESLEY D       1004 EDITH AVE                                                                                ADRIAN           MO 64720‐9111
RABOVSKY, AMY B         12841 LARSEN ST                                                                               OVERLAND PARK    KS 66213‐3450
RABOVSKY, RAYMOND F     12841 LARSEN ST                                                                               OVERLAND PARK    KS 66213‐3450
RABQUER, LESLIE B       PO BOX 26                                                                                     MANSFIELD        OH 44901‐0026
RABQUER, MICHAEL P      PO BOX 26                                                                                     MANSFIELD        OH 44901‐0026
RABREN, ALFRED S        2 DACUS DR                                                                                    GREENVILLE       SC 29605‐6008
RABREN, BYRL            2 DACUS DRIVE                                                                                 GREENVILLE       SC 29605‐6008
RABUCK, JENNIFER J      233 E HOOVER DR                                                                               FORT WAYNE       IN 46816‐1063
RABUCK, JENNIFER J      233 EAST HOOVER DRIVE                                                                         FORT WAYNE       IN 46816‐1063
RABUN JR, HENRY         185 PROCELL LN                                                                                COLUMBIA         LA 71418‐5046
RABUN JR, HENRY E       185 PROCELL LN                                                                                COLUMBIA         LA 71418‐5046
RABUN, C L              3290 NORMANDY CIR NE                                                                          MARIETTA         GA 30062‐5325
RABUN, DEBORAH          5780 POINT OF THE WOODS DR.                                                                   W BLOOMFIELD     MI 48324‐2155
RABUN, HAROLD G         5325 COBBLESTONE WAY NW                                                                       LILBURN          GA 30047‐5907
RABURN JOHNSON          1384 SPRING VALLEY LN                                                                         STONE MTN        GA 30087‐3149
RABURN, BARBARA         8525 DR MARTIN LUTHER KING JR ST N                                                            ST PETERSBURG    FL 33702‐3505
RABURN, BARBARA         8525 9TH ST N                                                                                 ST PETERSBURG    FL 33702‐3505
RABURN, CAROLYN         710 HICKORY GROVE LOOP                                                                        OAKLAND          TN 38060‐4404
RABURN, LARRY H         5069 OGDEN HWY                                                                                ADRIAN           MI 49221‐9641
RABY MAGGIE             RABY, MAGGIE                         5655 OLD PARIS MURRAY ROAD                               PARIS            TN 38242
RABY, ALBERT D          751 ARVIN RD                                                                                  RUSSELLVILLE     TN 37860‐9425
RABY, BARBARA G         1641 PRAIRIE DR                                                                               PONTIAC          MI 48340‐1085
RABY, BENNY L           HC 86 BOX 339                                                                                 PINEVILLE        KY 40977
RABY, BETTY L           24429 CEDAR LN                                                                                ELKMONT          AL 35620‐6333
RABY, CHARLES P         7238 BENTLEY LAKE RD                                                                          PINCKNEY         MI 48169‐8890
RABY, CHARLES W         6043 E PIERSON RD                                                                             FLINT            MI 48506‐2249
RABY, DALLAS J          9940 EL MONTE ST                                                                              OVERLAND PARK    KS 66207‐3630
RABY, EDWARD J          2740 LOOSEMORE RD                                                                             PORT AUSTIN      MI 48467‐9570
RABY, EUGENE O          610 N INDEPENDENCE HWY                                                                        INVERNESS        FL 34453‐1639
RABY, GEORGIANNA M      3705 FOREST DR                                                                                LUPTON           MI 48635‐8752
RABY, HAZEL L           3424 PIPESTONE DR                                                                             BATON ROUGE      LA 70814‐5237
RABY, JAMES A           1109 W PARKWOOD AVE                                                                           FLINT            MI 48507‐3631
RABY, JAMES D           7368 SUGARLOAF DR                                                                             ANTIOCH          TN 37013‐4616
RABY, JEFFREY           5944 E HASKELL LAKE RD                                                                        HARRISON         MI 48625‐8885
RABY, KATHLEEN R        3481 ROSE CITY RD                                                                             LUPTON           MI 48635
RABY, KENNETH A         506 MORGAN DRIVE                                                                              MOUNT MORRIS     MI 48458‐3126
RABY, KENNETH A         506 MORGAN DR                                                                                 MOUNT MORRIS     MI 48450‐3126
RABY, LUCILLE           1129 ROWE ST                                                                                  NEW TAZEWELL     TN 37825‐7109
RABY, MAGGIE            5655 OLD PARIS MURRAY RD                                                                      PARIS            TN 38242‐7258
RABY, MAMIE             15 WILLOW PL                                                                                  FRANKLIN         NC 28734‐7001
RABY, MAMIE             15 WILLOW PLACE                                                                               FRANKLIN         NC 28734‐7001
RABY, MANUEL A          PO BOX 731                                                                                    GREENVILLE       MI 48838‐0731
RABY, MATTHEW S         5961 HIGH POINT CT                                                                            BRIGHTON         MI 48116‐8065
RABY, MATTHEW SCOTT     5961 HIGH POINT CT                                                                            BRIGHTON         MI 48116‐8065
RABY, MICHAEL L         500 HUNT CLUB RD                                                                              BLANCHARD        OK 73010‐5021
RABY, PATRICIA A        2740 LOOSEMORE RD                                                                             PORT AUSTIN      MI 48467‐9570
                                       09-50026-mg              Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                                   Address1                         Address2                  Address3   Address4               City                State Zip
RABY, PATRICIA A                       2740 LOOSEMORE RD                P.O. BOX 603                                                PORT AUSTIN          MI 48467‐9570
RABY, REBECCA E.                       2215 S GRANT AVE                                                                             JANESVILLE           WI 53546‐5914
RABY, REBECCA E.                       2215 S GRANT ST                                                                              JANESVILLE           WI 53546‐5914
RABY, RHONDA                           35715 PHYLLIS ST                                                                             WAYNE                MI 48184‐2023
RABY, ROBERT E                         281 ROCKWELL AVE                                                                             PONTIAC              MI 48341‐2454
RABY, ROBERT L                         25 TRAE RD                                                                                   FRANKLIN             NC 28734‐7463
RABY, ROGER W                          1129 ROWE ST                                                                                 NEW TAZEWELL         TN 37825‐7109
RABY, ROGER WAYNE                      1129 ROWE ST                                                                                 NEW TAZEWELL         TN 37825
RABY, SANDRA D                         2671 N EAST SHORE DR                                                                         BIRCHWOOD            WI 54817‐3052
RABY, SCOTTY D                         9262 TOWNLEY RD                                                                              FENTON               MI 48430‐9331
RABY, SHARON R                         156 HARMON BRANCH RD                                                                         PRINCETON            WV 24740‐4799
RABY, SUSAN D                          380 STRAWBERRY RDG                                                                           MOUNT MORRIS         MI 48458‐9114
RABY, THOMAS A                         2651 N EAST SHORE DR                                                                         BIRCHWOOD            WI 54817‐3052
RABY, WILLIAM C                        8058 HAVILAND BEACH DR                                                                       LINDEN               MI 48451‐8749
RABY, WINSTON                          403 ARNETT BLVD                                                                              ROCHESTER            NY 14619‐1127
RAC                                    JAHN RATZLAFF                    6050 E 56TH AVE                                             COMMERCE CITY        CO 80022‐3928
RAC I I, WILLIAM G                     1006 RAMSEY DR                                                                               MANSFIELD            OH 44905‐2350
RAC II, WILLIAM G                      1006 RAMSEY DR                                                                               MANSFIELD            OH 44905‐2350
RAC NATIONAL PRODUCT SVC               ATTN: SHAUN DEVRIES              12795 PREMIER CENTER CT                                     PLYMOUTH             MI 48170‐3212
RAC TRANSPORT CO INC                   PO BOX 881902                                                                                STEAMBOAT SPRINGS    CO 80488‐1902
RAC'S AUTO CARE LTD                    8002‐7 WOODLAWN RD W                                                  GUELPH ON N1H 1G8
                                                                                                             CANADA
RAC, WILLIAM G                         1701 W COMMERCE AVE APT 141                                                                  HAINES CITY         FL 33844
RACANELLI LOUIS (ESTATE OF) (653325)   BELLUCK & FOX LLP                546 5TH AVE # 4                                             NEW YORK            NY 10035‐5000

RACAY, LEONARD F                       432 LINCOLN AVE                                                                              DOWNERS GROVE       IL   60515‐3048
RACCAGNI ITALO                         VIA MAMELI                       PALAZZOLO S/O                                               BRESCIA             IA   24060
RACCAGNI ITALO                         VIA MAMELI                                                                                   PALAZZOLO S/O       IA   25036
RACCO, CHARLES H                       8683 KING GRAVES RD NE                                                                       WARREN              OH   44484‐1116
RACCO, JENNIFER L                      807 ANDOVER CT                                                                               BOWLING GREEN       KY   42104‐5457
RACCUGLIA                              423 95TH ST                                                                                  BROOKLYN            NY   11209
RACE JR, LYLE G                        PO BOX 1976                                                                                  QUARTZSITE          AZ   85346‐1976
RACE MARVIN R                          RACES HONDA‐YAMAHA‐KAWASAKI      66 MINARD RUN RD                                            BRADFORD            PA   16701‐3745
RACE ROCKS AUTOMOTIVE                  1057B MARWOOD AVE                                                     VICTORIA BC V9C 2P7
                                                                                                             CANADA
RACE STREET RALLY                      1995 LAFAYETTE ST                                                                            SANTA CLARA         CA 95050‐3953
RACE TECH INC                          18 N SECOND STREET SUITE 213                                                                 SAINT CHARLES       MO 63301
RACE TECHNOLOGY LTD                    STRELLEY HALL MAIN ST STRELLEY   NOTTINGHAM NG8 6PE                   UNITED KINGDOM GREAT
                                                                                                             BRITAIN
RACE TECHNOLOGY USA LLC                2317 WESTWOOD AVE STE 101                                                                    RICHMOND            VA   23230‐4019
RACE, DANIEL G                         920 TECUMSEH AVE                                                                             WATERFORD           MI   48327‐3138
RACE, DARRYL R                         2037 SIDNEYWOOD DR APT F                                                                     DAYTON              OH   45449
RACE, DAVID J                          PO BOX 37                                                                                    PIFFARD             NY   14533‐0037
RACE, DONALD L                         8800 MACOMB ST APT 240                                                                       GROSSE ILE          MI   48138‐1986
RACE, FERN M                           996 HEARTHSIDE ST                C/O JAMES E RACE                                            SOUTH LYON          MI   48178‐2041
RACE, JAMES E                          996 HEARTHSIDE ST                                                                            SOUTH LYON          MI   48178‐2041
RACE, KENNETH O                        861 SUMMERTIME AVE SE                                                                        KENTWOOD            MI   49508‐7525
RACE, LAWRENCE E                       RR BOX 1 BOX 175                                                                             NOXEN               PA   18636
RACE, LAWRENCE E                       RD 1 PO BOX 175                                                                              NOXEN               PA   18636‐9766
RACE, MARK P                           PO BOX 980753                                                                                YPSILANTI           MI   48198‐0753
RACE, MARK PATRICK                     PO BOX 980753                                                                                YPSILANTI           MI   48198‐0753
RACE, MICHAEL A                        1503 COCALICO CT                                                                             NAPERVILLE          IL   60563‐2591
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Name                                  Address1                            Address2                       Address3   Address4         City                 State Zip
RACE, PHILLIP G                       6138 SUMMERHILL DR                                                                             HUDSONVILLE           MI 49426‐8905
RACE, RAYMOND L                       PO BOX 3123                                                                                    MONTROSE              MI 48457‐0823
RACE, WILLIAM H                       PO BOX 341                                                                                     DURAND                MI 48429‐0341
RACELAND AUTO CENTER                  3913 HIGHWAY 308                                                                               RACELAND              LA 70394‐2948
RACEMARK INTERNATIONAL LLC, D/B/A GG LEE BALDWIN *MAIL TO PO BOX*         1711 HIGHWAY 41 SOUTH SW                                   CALHOUN               GA 30701‐3624
BAILEY, LLC
RACENIS, KARLIS I                     PO BOX 383                                                                                     MANCHESTER           MI 48158
RACER WHOLESALE/GA                    1020 SUN VALLEY DR                                                                             ROSWELL              GA 30076‐1416
RACER, CLINTON                        GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW              MI 48604‐2602
                                                                          260
RACER, MICHAEL E                      840 BUCKHORN DR                                                                                LAKE ORION           MI    48362‐2824
RACER, ROBERT R                       59 BAERMAR ST                                                                                  SHELBY               OH    44875‐1706
RACER, RONALD E                       PO BOX 551                                                                                     DURAND               MI    48429‐0551
RACERS GROUP                          1995 S MCDOWELL BOULEVARD EXT                                                                  PETALUMA             CA    94954‐6919
RACETRACK AUTO CENTER                 10436 RACETRACK RD                                                                             BERLIN               MD    21811‐3268
RACETTE, DANIEL J                     1565 N CHEVROLET AVE                                                                           FLINT                MI    48504‐6101
RACETTE, EDWARD T                     PO BOX 244                                                                                     MARLETTE             MI    48453‐0244
RACETTE, EVELYN                       29254 HUGHES                                                                                   ST. CLAIR SHORES     MI    48081‐3217
RACETTE, EVELYN                       29254 HUGHES ST                                                                                SAINT CLAIR SHORES   MI    48081‐3217
RACETTE, MARIE L                      11109 W GLEN                                                                                   CLIO                 MI    48420‐1990
RACETTE, MARVIN E                     709 CADILLAC ST                                                                                FLINT                MI    48504‐4865
RACETTE, RONALD R                     1269 JOSEPH DR                                                                                 HOLLY                MI    48442‐9410
RACETTE, RONALD ROBERT                1269 JOSEPH DR                                                                                 HOLLY                MI    48442‐9410
RACETTE, TERRY E                      8799 MURPHY LAKE RD                                                                            VASSAR               MI    48768‐9631
RACEWAY ASSOCIATES LLC                DBA CHICAGOLAND SPEEDWAY            500 SPEEDWAY BLVD                                          JOLIET               IL    60433‐9643
RACEWAY ASSOCIATES LLC                500 SPEEDWAY BLVD                                                                              JOLIET               IL    60433‐9643
RACEWAY AUTOMOTIVE OF LAKE CITY, INC. JOHN ISGETT                         410 W MAIN ST                                              LAKE CITY            SC    29560‐2318

RACEWAY CHEVROLET, BUICK, PONTIAC,   410 W MAIN ST                                                                                   LAKE CITY             SC   29560‐2318

RACEWAY CHEVROLET, BUICK, PONTIAC,   410 W MAIN ST                                                                                   LAKE CITY             SC   29560‐2318
GMC
RACEY JOHN W                         3472 STATE ROUTE 7                                                                              ANDOVER              OH    44003‐9622
RACEY, CAROL A                       40 ALEXANDER PKWY                                                                               NORTH TONAWANDA      NY    14120‐9588
RACEY, CAROL A                       40 ALEXANDER PARKWAY                                                                            NORTH TONAWANDA      NY    14120‐9588
RACH, ALBERT W                       756 CHICAGO AVE                                                                                 LANSING              MI    48915‐2049
RACH, ANTHONY L                      914 STATE ROUTE 183                                                                             ATWATER              OH    44201‐9571
RACH, FREDERICK A                    910 W DANSVILLE RD                                                                              MASON                MI    48854‐9661
RACH, GEORGE                         12410 UNION AVE NE                                                                              ALLIANCE             OH    44601‐9340
RACH, PAUL V                         1213 ALSDORF ST                                                                                 LANSING              MI    48910‐1203
RACH, SHARI L                        1811 S HAWTHORNE PARK DR                                                                        JANESVILLE           WI    53545‐2034
RACHAEL AYOTTE                       28164 WILDWOOD TRL                                                                              FARMINGTON HILLS     MI    48336‐2157
RACHAEL B GRAVES                     1119 N VAN BUREN ST                                                                             BAY CITY             MI    48708‐6077
RACHAEL COFFEY                       5616 NW 87TH TER                     APT C256                                                   KANSAS CITY          MO    64154‐2403
RACHAEL CROWDER                      8033 E 10 MILE RD APT 804                                                                       CENTER LINE          MI    48015‐1423
RACHAEL DRISCOLL                     425 W HIGH ST                                                                                   MONTPELIER           IN    47359‐1035
RACHAEL FRANKLIN                     BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.          OH    44236
RACHAEL GRIFFEY
RACHAEL HUDSON                       119 HELTONVILLE ROAD EAST                                                                       BEDFORD              IN    47421‐9239
RACHAEL JAMES                        3025 BLUE RIDGE BLVD                                                                            INDEPENDENCE         MO    64052
RACHAEL JEFFRIES                     1105 GLENDALE STREET                                                                            BURTON               MI    48509‐1937
RACHAEL LESZCZYNSKI                  12321 DICE RD                                                                                   FREELAND             MI    48623‐9217
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Name                        Address1                        Address2                 Address3    Address4         City              State Zip
RACHAEL MANN                3900 HAMMERBERG RD APT 248                                                            FLINT              MI 48507
RACHAEL MASEN               5990 BORDMAN RD                                                                       LEONARD            MI 48367‐1442
RACHAEL MCCARTHY            415 SEMINOLE STREET                                                                   HOLLY              MI 48442‐1359
RACHAEL MOORE               727 CHERRY LANE DRIVE                                                                 LAUREL             MS 39440
RACHAEL R CLINKSCALE        6223 MARSHALL BAY CIR                                                                 GROVE CITY         OH 43123
RACHAEL REISTER             330 WATSON ST                                                                         COOPERSVILLE       MI 49404‐1018
RACHAEL RICHARDSON          1036 EDPAS ROAD                                                                       NEW BRUNSWICK      NJ 08901‐3819
RACHAEL SKEANS              2935 ANNA CT                                                                          TRENTON            MI 48183‐3501
RACHAEL STRADER             3933 COCHISE TER                                                                      SARASOTA           FL 34233‐1526
RACHAEL TAYLOR              6450 FLOYD ST                                                                         DETROIT            MI 48210‐1199
RACHAEL WILLARD             120 CLARK STREET                                                                      JANESVILLE         WI 53545‐4832
RACHAL A REYNOLDS           APT 19102                       2650 SOUTH FORUM DRIVE                                GRAND PRAIRIE      TX 75052‐7051
RACHAL RENE                 RACHAL, RENE                    137 SAINT DENIS ST                                    NATCHITOCHES       LA 71457‐4635
RACHAL REYNOLDS             APT 19102                       2650 SOUTH FORUM DRIVE                                GRAND PRAIRIE      TX 75052‐7051
RACHAL, CARL R              20061 BILTMORE ST                                                                     DETROIT            MI 48235‐2430
RACHAL, DENISE M            20061 BILTMORE ST                                                                     DETROIT            MI 48235‐2430
RACHAL, DENISE P            517 NW 167TH ST                                                                       EDMOND             OK 73012‐6758
RACHAL, GEORGE R            2001 HIGHWAY 80 E LOT 34                                                              CALHOUN            LA 71225‐9191
RACHAL, JOHN S              1435 LEVEE LN                                                                         CEDAR HILL         TX 75104‐4009
RACHAL, JOHN STANLEY        1435 LEVEE LN                                                                         CEDAR HILL         TX 75104‐4009
RACHAL, JONATHAN M          421 JOHNSON ST APT 409100                                                             SHAW A F B         SC 29152
RACHAL, REGIS A             20061 BILTMORE ST                                                                     DETROIT            MI 48235‐2430
RACHALS, JESSIE C           299 LAVERNE DR APT 1                                                                  GREEN BAY          WI 54311‐8475
RACHAR, JAMES C             12386 GALE RD                                                                         OTISVILLE          MI 48463‐9432
RACHAR, JAMES CHRISTOPHER   12386 GALE RD                                                                         OTISVILLE          MI 48463‐9432
RACHAR, THEODORE W          1237 PINE RDG                                                                         HIGHLAND           MI 48357‐4881
RACHARD J. BYRNE
RACHEAL ENGLUND             9068 BENNETT LAKE RD                                                                  FENTON            MI   48430‐9053
RACHEAL JONES               2805 WINIFRED RD                                                                      ALBANY            GA   31721‐8838
RACHEAL L MIDDLESTETTER     10 S WILLIAMS DR                                                                      WEST MILTON       OH   45383
RACHECK, JOHN A             3330 COUNTY LINE RD. N.W.                                                             W. FARMINGTON     OH   44491‐9772
RACHECK, PATRICIA A         3324 COUNTY LINE RD                                                                   WEST FARMINGTON   OH   44491‐9772
RACHECK, PATRICIA A         1838 LEXINGTON AVE NW           NW                                                    WARREN            OH   44485‐1725
RACHED, JAWAD
RACHEL
RACHEL A BITTNER            93 RESERVOIR RD                                                                       SPRINGFIELD       VT   05156‐2208
RACHEL A COWIN              1133 DUNAWAY ST APT 2                                                                 MIAMISBURG        OH   45342
RACHEL A NORDSTROM          1268 E PRINCETON AVE                                                                  FLINT             MI   48505‐1755
RACHEL A O'BRIEN            4343 16TH ST SW                                                                       LOVELAND          CO   80537‐7861
RACHEL A WINDOVER           112 MITCHELL AVE                                                                      MATTYDALE         NY   13211‐1738
RACHEL ACKLEY               PO BOX 42                                                                             BANCROFT          MI   48414‐0042
RACHEL AGOSTA               24 BANK ST                                                                            BEACON            NY   12508‐2517
RACHEL ALLEMAN              18873 NW 23 PLACE                                                                     PEMBROKE PINES    FL   33029
RACHEL ALLEN                PO BOX 682                                                                            COMMERCE          GA   30529
RACHEL ALLEN                5645 KINGSVILLE RD.                                                                   CORTLAND          OH   44410
RACHEL ANDERSON             101 W 2ND ST                                                                          ALBANY            IN   47320‐1707
RACHEL ANDERSON             6 W 103RD PL                    C/O GM WHSING & DIST                                  CHICAGO           IL   60628‐2610
RACHEL ANDREW
RACHEL ANGE                 1657 HAWTHORNE DR                                                                     MAYFIELD HTS      OH 44124‐3021
RACHEL ANNA BRAUN           HINTER EICHBAUM 417             D‐55595 WALLHAUSEN
RACHEL ANNA BRAUN           HINTER EICHBAUM 47                                                                    WALLHAUSEN        DE 55595
RACHEL BALDWIN‐HEIBER       415 W 15TH ST                                                                         PERU              IN 46970‐1561
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Name                                  Address1                       Address2             Address3        Address4               City              State Zip
RACHEL BAUGH                          160 NAN CREEK ROAD                                                                         WEST MONROE        LA 71291‐9714
RACHEL BENTLEY                        735 CONLEY RD                                                                              FOREST PARK        GA 30297‐1011
RACHEL BLAIS                          716 WALDMAN AVE                                                                            FLINT              MI 48507‐1768
RACHEL BLANCK                         12726 INDEPENDENCE AVE                                                                     SHELBY TOWNSHIP    MI 48315‐4640
RACHEL BOKOR                          816 E NORTH BROADWAY ST                                                                    COLUMBUS           OH 43224‐3931
RACHEL BOLINGER                       445 PEAR ST                                                                                EATON              OH 45320‐1285
RACHEL BOONE KEITH FUND AT TRUSTEES   SCHOOL OF MEDICINE             715 ALBANY ST L219                                          BOSTON             MA 02118
OF BOSTON UNIVERSITY
RACHEL BOYLE                          200 MISSISSIPPI RIVER BLVD N   APT 3D                                                      ST PAUL           MN   55104‐5617
RACHEL BRENT‐JONES                    1802 SANDSTONE DR                                                                          KILLEEN           TX   76549‐4922
RACHEL BREWER                         8117 PARTLO RD                                                                             WHITTEMORE        MI   48770‐9758
RACHEL BRITTAIN                       3612 SE 26TH ST                                                                            OKLAHOMA CITY     OK   73115
RACHEL BROWN                          613 GRACE ST                                                                               FLINT             MI   48503‐5156
RACHEL BRYANT                         1857 KINGBIRD LANE                                                                         LIBERTY           MO   64068‐7434
RACHEL BULL                           702 W COLUMBIA ST                                                                          MASON             MI   48854‐1026
RACHEL BUNTON                         9229 BIRCH RUN RD                                                                          MILLINGTON        MI   48746‐9570
RACHEL BYERS                          1054 WILLOW GROVE CT                                                                       ROCHESTER HILLS   MI   48307‐2546
RACHEL CALLAHAN                       2607 S NEBRASKA ST                                                                         MARION            IN   46953‐3542
RACHEL CARR                           4762 KOLMAR AVE                                                                            DAYTON            OH   45432‐3123
RACHEL CARTWRIGHT                     1 EVANS TURN DR                                                                            DOVER             DE   19901‐9255
RACHEL CAUDELL                        9551 S STRAWTOWN PIKE                                                                      FAIRMOUNT         IN   46928‐9769
RACHEL CHARRON                        41400 7 MILE RD                                                                            NORTHVILLE        MI   48167‐2206
RACHEL CLARK                          27400 FRANKLIN RD APT 112                                                                  SOUTHFIELD        MI   48034‐2312
RACHEL CLARK                          17989 WOOD ST                                                                              MELVINDALE        MI   48122‐1430
RACHEL CLARK                          8004 E DEVONSHIRE RD                                                                       MUNCIE            IN   47302‐9047
RACHEL COLON                          9159 LAFAYETTE BLVD                                                                        DETROIT           MI   48209‐1748
RACHEL CURRY                          989 COUNTY ROAD 307                                                                        DE BERRY          TX   75639‐3015
RACHEL DARTHARD                       18901 ARCHDALE ST                                                                          DETROIT           MI   48235‐3268
RACHEL DAVIDSON                       45518 BIRCHCREST STREET                                                                    UTICA             MI   48317‐6001
RACHEL DAVIS                          1915 W 52ND ST                                                                             CLEVELAND         OH   44102‐3339
RACHEL DAVIS                          1228 C ST                                                                                  SANDUSKY          OH   44870‐5058
RACHEL DECKARD                        4763 KEMPF ST                                                                              WATERFORD         MI   48329‐1810
RACHEL E AUSTIN                       130 COTTAGE ST                                                                             ROCHESTER         NY   14608
RACHEL E GEDDES                       1200 CENTER AVE APT 12                                                                     BAY CITY          MI   48708‐6185
RACHEL E NEAU                         6036 LAKE DR                                                                               YPSILANTI         MI   48197‐7012
RACHEL ESPARZA                        3854 TWINKLE STAR DR                                                                       LAS VEGAS         NV   89115‐1231
RACHEL FESTERLING                     1359 MAPLEASH AVE                                                                          COLUMBIA          TN   38401‐6331
RACHEL FIELDS                         4879 ENGLEDOW RD                                                                           DE SOTO           MO   63020‐6112
RACHEL FITZPATRICK                    512 W PRINCETON AVE                                                                        YOUNGSTOWN        OH   44511‐2419
RACHEL FRANKLIN                       1925 SOUTHERN BLVD NW APT 29                                                               WARREN            OH   44485‐1660
RACHEL FREEL                          3244 S TOWERLINE RD                                                                        BRIDGEPORT        MI   48722‐9615
RACHEL FREEMAN                        5335 ROSE LN                                                                               FLINT             MI   48506‐1582
RACHEL GARCIA                         807 W BARNES LAKE RD                                                                       COLUMBIAVILLE     MI   48421‐9383
RACHEL GASCO                          10265 HADDON AVE                                                                           PACOIMA           CA   91331‐3116
RACHEL GENDRON                        519 SARA ST                                                         SHERBROOKE QC CANADA
                                                                                                          J1H 5S6
RACHEL GONSALVES                      78 PIONEER AVE                                                                             BROCKTON          MA   02301‐4127
RACHEL GREENE                         2076 ROLAND AVE                                                                            FLINT             MI   48532‐3919
RACHEL GUERRERO                       7007 VARIEL AVE                                                                            CANOGA PARK       CA   91303‐2247
RACHEL GUESMAN                        3663 ELMWOOD AVE NE                                                                        WARREN            OH   44483‐2328
RACHEL GUINN                          4041 GRANGE HALL RD LOT 70                                                                 HOLLY             MI   48442‐1921
RACHEL GUNTER                         16031 BIRMINGHAM HWY                                                                       ALPHARETTA        GA   30004‐2604
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Name                                Address1                       Address2               Address3                   Address4               City              State Zip
RACHEL GUTHRIE                      198 DAUGHTRY RD.                                                                                        SEMINARY           MS 39479
RACHEL HALL                         6132 ROCKY FORK RD                                                                                      SMYRNA             TN 37167‐6121
RACHEL HANES                        11867 SYCAMORE DR                                                                                       PLYMOUTH           MI 48170‐4429
RACHEL HEDGES                       2209 ANJOU CT                                                                                           KOKOMO             IN 46902‐2901
RACHEL HIGGINS, ESQ                 WIGINGTON RUMLEY DUNN LLP      800 N SHORELINE BLVD   14TH FLOOR SOUTH TOWER                            CORPUS CHRISTI     TX 78401
RACHEL HUGHES                       1910 SHERIDAN DR APT 4                                                                                  BUFFALO            NY 14223‐1220
RACHEL HUNT BY & THROUGH HER        AND NEXT FRIEND EDDIE HUNT     ATTN DAVID E HARRIS    SICO WHITE HOELSCHER &     802 NORTH CARANCAHUA   CORPUS CHRISTI     TX 78470‐0002
BROTHER, GUARDIAN                                                                         BRAUGH LLP
RACHEL HUNT BY & THROUGH HER        AND NEXT FRIEND EDDIE HUNT     ATTN: DAVID E HARRIS   SICO, WHITE, HOELSCHER &   802 NORTH CARANCAHUA   CORPUS CHRISTI     TX   78470
BROTHER, GUARDIAN                                                                         BRAUGH, LLP
RACHEL I MOORE                      1326 E YALE AVE                                                                                         FLINT             MI    48505‐1753
RACHEL ICE                          1426 E 60TH ST APT 4                                                                                    ANDERSON          IN    46013‐3049
RACHEL ISAAC                        808 COMMONWEALTH AVE                                                                                    FLINT             MI    48503‐6902
RACHEL ISAAC                        6115 ROBERT CIR                                                                                         YPSILANTI         MI    48197‐8281
RACHEL IVEY                         659 WALNUT ST                                                                                           WESTLAND          MI    48186‐9509
RACHEL J GIDLEY                     2205 E TUSCALOOSA AVE                                                                                   GADSDEN           AL    35904‐1625
RACHEL J HALL                       98 JUNIPER DRIVE                                                                                        FAIRBORN          OH    45324
RACHEL JACKSON                      8571 MENDOTA ST                                                                                         DETROIT           MI    48204‐3032
RACHEL JAMES                        2052 NATURE PARK DR            C/O CRAIG E JAMES                                                        NORTH LAS VEGAS   NV    89084‐3153
RACHEL JOHNSON                      15127 WEST SOUTH RANGE ROAD                                                                             SALEM             OH    44460‐9129
RACHEL JOHNSON                      433 WALNUT ST                                                                                           GREENFIELD        IN    46140‐2049
RACHEL JONES                        2655 OLIVER DR APT 156                                                                                  HAYWARD           CA    94545‐4145
RACHEL JR, WILLIE A                 429 RACHEL DR                                                                                           DALLAS            GA    30157‐5846
RACHEL JUSTICE                      603 EAST STAUNTON ROAD                                                                                  TROY              OH    45373‐2203
RACHEL KAATZ                        6562 DEER ISLE DR                                                                                       CHERRY VALLEY     IL    61016‐9148
RACHEL KAPELANSKI REVOCABLE TRUST   RACHEL KAPELANSKI              4469 GERTRUDE                                                            DEARBORN HTS      MI    48125

RACHEL KEELER                       20333 WEYHER ST                                                                                         LIVONIA           MI    48152‐2083
RACHEL KGAMA                        2205 E GENESEE ST                                                                                       SYRACUSE          NY    13210‐2219
RACHEL KILLIN                       844 BEECHWOOD DR                                                                                        GIRARD            OH    44420‐2135
RACHEL KIMBER                       PO BOX 624                                                                                              DAVISON           MI    48423‐0624
RACHEL KONSDORF                     2267 SALT ST APT 2                                                                                      SAGINAW           MI    48602‐1279
RACHEL L APPOLD                     1000 CENTER AVE APT 1                                                                                   BAY CITY          MI    48708‐6173
RACHEL L BOODRAM                    7500 ROSWELL ROAD              UNIT 67                                                                  SANDY SPRINGS     GA    30350
RACHEL L BROADDUS                   1893 WHITT ST                                                                                           XENIA             OH    45385
RACHEL L HAMMOND                    2985 MILLICENT                                                                                          DAYTON            OH    45408‐2224
RACHEL L HAWKE                      610 CHERRY HILL DR #4                                                                                   MIAMISBURG        OH    45342‐3325
RACHEL L HULSEY                     35 EISENHOWER DR                                                                                        DAYTON            OH    45431
RACHEL L PARINI                     303 MC KENNEY AVE                                                                                       SYRACUSE          NY    13211‐1735
RACHEL L PARTINGTON                 603 ANN PLACE                                                                                           SIDNEY            OH    45365
RACHEL L WINGO WILLIAMS             1300 BARNITZ                                                                                            MIDDLETOWN        OH    45042
RACHEL LEITH                        1259 STANLEY BLVD                                                                                       BIRMINGHAM        MI    48009‐4147
RACHEL LEMONDS                      1638 BARTON BRIDGE RD                                                                                   MONROE            GA    30655‐7609
RACHEL LEVERETT                     3323 SHEFFER AVE                                                                                        LANSING           MI    48906‐2453
RACHEL LLOYD                        9603 ECHO LN                                                                                            SAINT LOUIS       MO    63114‐3731
RACHEL LOPEZ                        14678 PARKVIEW ST                                                                                       RIVERVIEW         MI    48193‐7636
RACHEL M FRANKLIN                   1925 SOUTHERN BLVD NW APT 29                                                                            WARREN            OH    44485‐1660
RACHEL M KAERCHER                   167 WEST CT                                                                                             BAY CITY          MI    48706‐2037
RACHEL M LEEDY                      229 MURCHISON LANE                                                                                      DAYTON            OH    45431‐2238
RACHEL M STAPLETON                  3447 STONEY CREEK ST                                                                                    SPRINGFIELD       OH    45504‐1357
RACHEL M STODDARD                   2600 RTE. 414                                                                                           MONTOUR FALLS     NY    14865‐9706
RACHEL M WATKINS                    3422 CAROL ANN LN                                                                                       MIDDLETOWN        OH    45044‐7805
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Name                  Address1                          Address2          Address3         Address4         City               State Zip
RACHEL MARLER         419 CLEVELAND AVE                                                                     SAINT BERNARD       OH 45217‐1331
RACHEL MARTINEZ       2881 2 MILE RD                                                                        BAY CITY            MI 48706‐1246
RACHEL MATA           PO BOX 3392                                                                           SANTA FE SPGS       CA 90670‐1392
RACHEL MC CLAIN       4950 E PRATT RD                                                                       SAINT JOHNS         MI 48879‐9179
RACHEL MCLELAND       2414 GRAND AVE                                                                        NEW CASTLE          IN 47362‐2456
RACHEL MEANS          223 VERNAL AVE                                                                        MILTON              WI 53563‐1246
RACHEL MIRACLE        57 JENNY BRANCH RD                                                                    MIRACLE             KY 40856‐8993
RACHEL MOORE          1326 E YALE AVE                                                                       FLINT               MI 48505‐1753
RACHEL MURRELL        13423 BLANCO ROAD #122                                                                SAN ANTONIO         TX 78216
RACHEL MYRICK         6097 ELDON RD                                                                         MOUNT MORRIS        MI 48458‐2744
RACHEL N BELLAMAH     10413 SHARPSBURG DR                                                                   INDEPENDENCE        KY 41051
RACHEL N GREEN        1334 PRIMROSE AVE APT 16                                                              TOLEDO              OH 43612‐4073
RACHEL N WHITMER      411 E SIEBENTHALER                                                                    DAYTON              OH 45405‐2435
RACHEL NATALI         3243 TEMPLETON RD NW                                                                  WARREN              OH 44481‐9151
RACHEL NICKLOSOVICH   PO BOX 27074                                                                          LANSING             MI 48909‐7074
RACHEL NOBLE          PO BOX 198                                                                            DAYTON              OH 45409‐0198
RACHEL NOBLE          P.O. BOX 198                                                                          DAYTON              OH 45409‐0198
RACHEL NODIN          277 BLUFF VIEW DR                                                                     SPENCER             TN 38585‐3507
RACHEL O GUESMAN      3663 ELMWOOD AVE NE                                                                   WARREN              OH 44483‐2328
RACHEL PARTINGTON     603 ANN PL                                                                            SIDNEY              OH 45365‐1127
RACHEL PEARSALL       1008 HUBBLE DR                                                                        HOLLY               MI 48442‐1031
RACHEL PETROCCO       32 BROAD AVE                                                                          SOUTH WAVERLY       PA 18840‐2701
RACHEL PLATT          10637 ROSETON AVE                                                                     SANTA FE SPRINGS    CA 90670‐4212
RACHEL PORTER
RACHEL R ROBERTS      17 BRADFORD ST                                                                        DAYTON             OH   45410
RACHEL R WILSON       3201 BELLFLOWER ST                                                                    DAYTON             OH   45409
RACHEL RADER          388 LEDBETTER RD                                                                      XENIA              OH   45385‐5331
RACHEL RAISIN         8412 BIRCH RUN RD                                                                     MILLINGTON         MI   48746‐9518
RACHEL REASONOVER     800 KENNY NELSON RD                                                                   LEWISBURG          TN   37091‐6675
RACHEL RICHARDSON     31 SPARKS STREET                                                                      TROTWOOD           OH   45426‐3014
RACHEL ROBERTSON      14401 GLASTONBURY AVE                                                                 DETROIT            MI   48223‐2981
RACHEL RODRIGUEZ      1221 S CORNELL AVE                                                                    FLINT              MI   48505‐1311
RACHEL RODRIGUEZ      26954 ROZANA CT                                                                       SOUTH BEND         IN   46619‐9495
RACHEL ROOD           1083 WOLF RD                                                                          CORTLAND           NY   13045
RACHEL ROSALES        2115 WILKINS ST                                                                       SAGINAW            MI   48601‐3380
RACHEL ROSEBUR        4385 OLD COLONY DR                                                                    FLINT              MI   48507‐3537
RACHEL ROUMAYA        4584 WALDEN DR                                                                        BLOOMFIELD HILLS   MI   48301‐1149
RACHEL ROUSSEAU       7241 COUNTY RD 49A                                                                    CRP CHRISTI        TX   78415‐9726
RACHEL ROUTH          2509 E 5TH ST                                                                         ANDERSON           IN   46012‐3708
RACHEL RUHLMANN       18 MAPLE ST                                                                           LOCKPORT           NY   14094‐4914
RACHEL RUSSELL        713 PIERCE ST                                                                         FIFE LAKE          MI   49633‐9035
RACHEL S ALLEN        5645 KINGSVILLE RD.                                                                   CORTLAND           OH   44410
RACHEL S CARR         5017 PENSACOLA BLVD                                                                   MORAINE            OH   45439‐2940
RACHEL S KILLIN       844 BEACHWOOD DR.                                                                     GIRARD             OH   44420‐2135
RACHEL SARABIA        1517 IDLEWILDE DR                                                                     EL PASO            TX   79925‐2453
RACHEL SELF           191 S MORNINGSIDE DR                                                                  CARTERSVILLE       GA   30121‐3635
RACHEL SEPP
RACHEL SHELTON        1314 ELON RD                                                                          MADISON HEIGHTS    VA   24572‐6010
RACHEL SHELTON        4714 S COLONIAL OAKS DR APT 624                                                       MARION             IN   46953‐7312
RACHEL SHERMAN        4662 COACHMAKER DR                                                                    BLOOMFIELD HILLS   MI   48302‐2227
RACHEL SHERMAN        14300 KILDERRY COURT                                                                  LOUISVILLE         KY   40245
RACHEL SIMS           51 WARREN ST                                                                          ROGERSVILLE        AL   35652‐7430
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Name                             Address1                          Address2                      Address3   Address4         City            State Zip
RACHEL SLAPPY                    20081 BLOOM ST                                                                              DETROIT          MI 48234‐2406
RACHEL SMITH                     150 SALEM RD                                                                                MINFORD          OH 45653‐8711
RACHEL SMITH                     154 COUNTY ROAD 367                                                                         TRINITY          AL 35673‐4614
RACHEL SOVEREIGN MEMORIAL HOME   ATTN: PAT BOLANDER                1014 CENTER AVE                                           BAY CITY         MI 48708‐5199
RACHEL SPROUSE                   13849 WILLESDEN CIR                                                                         FISHERS          IN 46037‐6268
RACHEL SRANSON                   512 MAIN STREET                                                                             CASCO            WI 54205‐9414
RACHEL STANCO                    60 ROOSEVELT ST                                                                             ROSELAND         NJ 07068‐1259
RACHEL STAPLETON                 343 S FOSTORIA AVE                                                                          SPRINGFIELD      OH 45505‐2613
RACHEL STILES‐MARTIN             1864 23D STREET                                                                             WYANDOTTE        MI 48192
RACHEL STODDARD                  2600 STATE ROUTE 414                                                                        MONTOUR FALLS    NY 14865‐9706
RACHEL STOUT                     1441 W 400 S                                                                                KOKOMO           IN 46902‐5032
RACHEL SVEDA                     2070 OWOSSO AVE                                                                             OWOSSO           MI 48867‐3945
RACHEL VARGO                     APT 606                           2287 SOUTH CENTER ROAD                                    BURTON           MI 48519‐1139
RACHEL VEGA                      1440 N 300 E                                                                                KOKOMO           IN 46901‐3624
RACHEL VIDAL ‐ KRAWCZYK          256 KENNEDY AVE                                                                             ANGOLA           NY 14006‐9291
RACHEL VIDAL‐KRAWCZYK            256 KENNEDY AVE                                                                             ANGOLA           NY 14006‐9291
RACHEL VOILES                    1311 WOODMAN DR                                                                             DAYTON           OH 45432‐3424
RACHEL WALKER                    11906 CROMWELL AVE                                                                          CLEVELAND        OH 44120‐1910
RACHEL WARD                      5623 CLOVERLAND DR                                                                          BRENTWOOD        TN 37027‐4715
RACHEL WARTELLA                  APT 304                           5201 WOODHAVEN COURT                                      FLINT            MI 48532‐4172
RACHEL WESTSTROCK                302 W YORK AVE                                                                              FLINT            MI 48505‐2096
RACHEL WHITEHEAD                 100 RANDALL ST                    CHARLES GATE NURSING CENTER                               PROVIDENCE        RI 02904‐2723
RACHEL WICK                      549 W WALNUT AVE                                                                            SEMINOLE         OK 74868‐3166
RACHEL WILKINS                   2512 FOXHUNTERS RD                                                                          FLATWOODS        KY 41139‐1285
RACHEL WILLIAMS                  1008 N PALMERA DR                                                                           LA FERIA         TX 78559‐6234
RACHEL WILLIAMS                  125 HILL PLACE DR                                                                           LAPEER           MI 48446‐3375
RACHEL WILSON                    4639 PEACHTREE PLACE PKWY APT J                                                             DORAVILLE        GA 30360‐2368
RACHEL WILSON                    4732 KINGSLEY DR                                                                            INDIANAPOLIS     IN 46205‐2128
RACHEL YOST                      0‐4555 LEONARD                                                                              LAMONT           MI 49430
RACHEL, AUBREY H                 4980 PINE KNOB LN                                                                           CLARKSTON        MI 48346‐4059
RACHEL, BARBARA L                906 LOGWOOD RD SW                                                                           HARTSELLE        AL 35640‐2648
RACHEL, ROY R                    268 WOOD RD                                                                                 SMITHVILLE       TN 37166‐8038
RACHEL, WILLIAM D                2060 CLAUDE ST NW                                                                           ATLANTA          GA 30318‐1833
RACHELE COMBS                    PO BOX 431                                                                                  CHARLESTOWN      MD 21914‐0431
RACHELE FARDEN                   267 PHEASANT WAY                                                                            PRUDENVILLE      MI 48651‐9469
RACHELE MCCLESKEY                407 CARNABY ST                                                                              STAFFORD         VA 22554‐5066
RACHELE ORAM
RACHELE THOMAS                   1730 PREBLE CTY BUTLER TWP RD                                                               NEW MADISON     OH   45346‐9769
RACHELL HOGARD                   6500 N DORT HWY                                                                             MOUNT MORRIS    MI   48458‐2559
RACHELL PIERCE                   3042 WINSLOW APT B                                                                          TOLEDO          OH   43606
RACHELL, ELI                     C/O MOODY                         801 WEST FOURTH ST                                        LITTLE ROCK     AR   72201
RACHELL, ELI JR                  C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                       LITTLE ROCK     AR   72201
RACHELLE BYRD                    5035 MOUNT MORRIS RD                                                                        COLUMBIAVILLE   MI   48421‐8998
RACHELLE COLEMAN                 105 INDEPENDENCE WAY                                                                        ROSWELL         GA   30075‐7919
RACHELLE COPLEY                  8341 PHILADELPHIA DR                                                                        FAIRBORN        OH   45324‐1937
RACHELLE D MORAIS                31405 WILLOW CT.                                                                            WARREN          MI   48093‐7946
RACHELLE DENNIS                  9365 S STATE RD                                                                             MORRICE         MI   48857‐9751
RACHELLE GILCHRIST               2965 LOUISE RITA CT                                                                         YOUNGSTOWN      OH   44511‐3325
RACHELLE HAYWARD                 6058 PLAINS RD                                                                              EATON RAPIDS    MI   48827‐9669
RACHELLE JOHNSON                 543 LAURELWOOD DRIVE SOUTHEAST                                                              WARREN          OH   44484‐2418
RACHELLE L STILES                5769 HILLARY                                                                                TROTWOOD        OH   45426‐1473
RACHELLE M BYRD                  5035 MOUNT MORRIS RD                                                                        COLUMBIAVILLE   MI   48421‐8998
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Name                        Address1                               Address2                     Address3   Address4               City              State Zip
RACHELLE M COPLEY           8341 PHILADELPHIA DR                                                                                  FAIRBORN           OH 45324
RACHELLE MOFFETT            2023 COPEMAN BLVD                                                                                     FLINT              MI 48504‐3035
RACHELLE PROVO              801 FLORIDA CT                                                                                        BAY CITY           MI 48706‐4209
RACHELLE SMOKOVITZ          2340 ARCADIA DR                                                                                       CANTON             MI 48188‐2277
RACHELLE THOMPSON           919 WESTON ST                                                                                         LANSING            MI 48917‐4175
RACHELLE Y STEWART          945 A GLASTONBURY CIRCLE                                                                              RIDGELAND          MS 39157
RACHELSON MARY              58 5TH AVE                                                                                            HAWTHORNE          NJ 07506‐2160
RACHFAL, RONALD J           15161 PENNSYLVANIA AVE                                                                                ALLEN PARK         MI 48101‐3700
RACHFORD, ROBERT J          4346 FRANKLIN AVENUE                                                                                  WESTERN SPRINGS     IL 60558‐0558
RACHFORD, ROGER J           2008 HALPIN RD                                                                                        CLARKSVILLE        OH 45113‐9377
RACHFORD, RONALD T          8976 SYMMES TRACE CT                                                                                  LOVELAND           OH 45140‐7710
RACHIAL HOWARD              524 LOU ALICE DR                                                                                      COLUMBIAVILLE      MI 48421‐9706
RACHIC, DONALD J            504 E LIBERTY ST                                                                                      LOWELLVILLE        OH 44436‐1234
RACHIELE, JOSEPH F          58 MEADOWDALE LN                                                                                      WEST SENECA        NY 14224‐2571
RACHILLA, ALPHONSE A        1491 TIVERTON TRAIL DR                                                                                ROCHESTER HILLS    MI 48306‐4077
RACHKOSKIE, SHIRLEY J       18 LEPORE DR                                                                                          LANCASTER          PA 17602‐2640
RACHKOSKIE, SHIRLEY J       18 LEPORE DRIVE                                                                                       LANCASTER          PA 17602‐2640
RACHLE FOSTER               207 S BALTZ ST                                                                                        POCAHONTAS         AR 72455‐2613
RACHLIN & WOLFSON LLP       ATTN: ALAN RACHLIN, PATRICK DI MONTE   390 BAY STREET, SUITE 1500              TORONTO, ONTARIO M5H
                                                                                                           2Y2
RACHNER & ASSOCIATES LLC    4514 LAKESHORE CT                                                                                     BRIGHTON          MI    48116‐9779
RACHNER, RICHARD J          4514 LAKESHORE CT                                                                                     BRIGHTON          MI    48116‐9779
RACHOR, CHARLES L           16297 SEYMOUR RD                                                                                      LINDEN            MI    48451‐9736
RACHOR, GAIL                909 NICOLE PL                                                                                         SANTA FE          NM    87505‐0705
RACHOW, DONALD E            1814 NORTH WOODBRIDGE STREET                                                                          SAGINAW           MI    48602‐5110
RACHOW, KATHRYN             76 MENDON IONIA RD                                                                                    MENDON            NY    14506‐9737
RACHOZA, RAYMOND            12 N JACKSON ST                                                                                       BEVERLY HILLS     FL    34465
RACHOZA, VICTOR D           609 SE 19TH TER                                                                                       CAPE CORAL        FL    33990‐2357
RACHOZA, VICTOR D           4128 SW 15TH AVE                                                                                      CAPE CORAL        FL    33914
RACHTMAN RIKI               160 WEST FOOTHILL PKWY #105‐129                                                                       CORONA            CA    92882
RACHUBA, BARRY D            4384 JEAN RD                                                                                          BAY CITY          MI    48706‐2204
RACHUBA, LUCIAN B           5149 ELM ST                                                                                           MILLERSBURG       MI    49759‐9555
RACHUCKI, ZBIGNIEW          PO BOX 5284                                                                                           OLD BRIDGE        NJ    08857‐5284
RACHUI AUTOMOTIVE SERVICE   600 W BROWN ST                                                                                        HEARNE            TX    77859‐3019
RACHUNAS, MARY A            10 SKITKA AVE                                                                                         CARTERET          NJ    07008‐1512
RACHUNAS, MARY A            10 SKITKA AVENUE                                                                                      CARTERET          NJ    07008‐1512
RACHWAL, BERNADETTE         8134 ZIMMERMAN ROAD                                                                                   HAMBURG           NY    14075‐7142
RACHWAL, LEONARD J          26800 CECILE ST                                                                                       DEARBORN HTS      MI    48127‐3330
RACHWAL, MARLENE            22447 NONA STREET                                                                                     DEARBORN          MI    48124‐2722
RACHWAL, STANLEY S          G 3064 MILLER RD                       APT 706                                                        FLINT             MI    48507‐1342
RACHWAL, STANLEY S          8240 MILLER RD #1                                                                                     SWARTZ CREEK      MI    48473‐1360
RACHWAL, VIRGINIA           5203 LAWNDALE                                                                                         DETROIT           MI    48210‐2050
RACHWAL, VIRGINIA           5203 LAWNDALE ST                                                                                      DETROIT           MI    48210‐2050
RACHWITZ, ALAN C            PO BOX 797                                                                                            FLINT             MI    48501‐0797
RACHWITZ, DARLENE C         6120 BELTON ST                                                                                        GARDEN CITY       MI    48135
RACHWITZ, DAVID G           22028 LAFONS LN                                                                                       ROMULUS           MI    48174‐9534
RACHWITZ, GERALD H          4317 ZANDER DR                                                                                        BAY CITY          MI    48706‐2247
RACHWITZ, HARVEY W          1049 BLUEBELL LN                                                                                      DAVISON           MI    48423‐7906
RACHWITZ, ROBERT R          1049 BLUEBELL LN                                                                                      DAVISON           MI    48423‐7906
RACICH, DOROTHY M           1410 DELLMAR ST                                                                                       JOLIET             IL   60435‐3872
RACICK, JAY J               512 LAWRENCE AVE                                                                                      GIRARD            OH    44420‐2225
RACICOT, CAROL A            3656 COUNTRY CLUB DR                                                                                  CHASE CITY        VA    23924
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Name                              Address1                            Address2                Address3     Address4         City               State Zip
RACICOT, EARL F                   3656 COUNTRY CLUB DR                                                                      CHASE CITY          VA 23924‐4804
RACICOT, MICHAEL H                696 FIELDSTONE DR                                                                         ROCHESTER           MI 48309‐1560
RACICOT, MICHAEL H                408 TIMBERLEA DR APT 5                                                                    ROCHESTER HILLS     MI 48309‐2630
RACIN CHARLES                     2713 W COMET RD                                                                           CLINTON             OH 44216‐9009
RACINE & ASSOCIATES               MARIE T RACINE                      211 W FORT ST STE 500                                 DETROIT             MI 48226
RACINE COUNTY CLERK OF COURT      ACCT OF HARRISON SPALDING           730 WISCONSIN AVE                                     RACINE              WI 53403‐1238
RACINE I I I, WILLIAM C           61 BINDON DR                                                                              NORTH BRANCH        MI 48461‐9726
RACINE III, WILLIAM C             61 BINDON DR                                                                              NORTH BRANCH        MI 48461‐9726
RACINE JR, WALTER F               G‐5495 S LINDEN RD                                                                        SWARTZ CREEK        MI 48473
RACINE OLSON NYE BUDGE & BAILEY   201 E CENTER ST                                                                           POCATELLO           ID 83201‐6339
RACINE S SIMPSON                  5620‐46 LAKE LIZZIE DRIVE                                                                 ST CLOUD            FL 34771‐9405
RACINE SIMPSON                    5620 LAKE LIZZIE DR LOT 46                                                                SAINT CLOUD         FL 34771‐9405
RACINE UNITED COMMUNITY SVCS      2000 DOMANIK DR                                                                           RACINE              WI 53404‐2910
RACINE, DAVID M                   8547 WINDY HILL PKWY                                                                      GRAND BLANC         MI 48439‐8960
RACINE, DAVID W                   2533 LIVERPOOL ST                                                                         AUBURN HILLS        MI 48326‐3426
RACINE, DENNIS M                  7140 E BALDWIN RD                                                                         GRAND BLANC         MI 48439‐9507
RACINE, DOUGLAS E                 PO BOX 190335                                                                             BURTON              MI 48519‐0335
RACINE, GEORGETTE M               1260 WILLIAMSPORT DR UNIT 2                                                               WESTMONT             IL 60559‐3073
RACINE, GERARD                    DEARIE & ASSOCS JOHN C              3265 JOHNSON AVE                                      RIVERDALE           NY 10463
RACINE, JOSEPH                    3664 BADGER AVE SW                                                                        GRAND RAPIDS        MI 49509‐4009
RACINE, KENNETH E                 11625 25TH ST SE                                                                          EVERETT             WA 98205‐2560
RACINE, MELISSA A                 2965 SUMMIT DR                                                                            HIGHLAND            MI 48356‐2437
RACINE, PAUL F                    PO BOX 233                                                                                VERMONTVILLE        MI 49096‐0233
RACINE, PHILLIP R                 2000 SWAFFER RD                                                                           MILLINGTON          MI 48746‐9613
RACINE, RITA S                    2773 BIGGS HWY                                                                            NORTH EAST          MD 21901‐1818
RACINE, RITA SUE                  2773 BIGGS HWY                                                                            NORTH EAST          MD 21901‐1818
RACINE, ROSEMARIE                 1986 E DRYDEN RD                                                                          METAMORA            MI 48455‐9211
RACINE, ULRIC J                   1360 AMBRA DRIVE                                                                          MELBOURNE           FL 32940‐6756
RACINES, JUAN C                   269 TERRYDALE DR SE                                                                       MARIETTA            GA 30067‐7327
RACINES, SALLY J                  15997 WINDSOR LN                                                                          HOLLY               MI 48442‐9652
RACING REFLECTIONS, INC.
RACIOPPI JR, NICHOLAS             20 CRAWFORD DR                                                                            BATH               ME   04530‐2347
RACIUNAS, EDMUND                  104 TIMBERLINE DR                                                                         LEMONT             IL   60439‐4426
RACK AMERICA INC                  1275 GLENLIVET DR STE 100                                                                 ALLENTOWN          PA   18106‐3107
RACK PROCESS/DAYTON               2350 ARBOR BLVD                                                                           MORAINE            OH   45439‐1724
RACK PROCESSING CO                2350 ARBOR BLVD                                                                           MORAINE            OH   45439‐1724
RACK PROCESSING CO INC            2350 ARBOR BLVD                                                                           MORAINE            OH   45439‐1724
RACKA, ANTHONY V                  35712 CONGRESS RD                                                                         FARMINGTON HILLS   MI   48335‐1222
RACKAUSKAS, MONIKA I              2901 KENSINGTON AVE                                                                       WESTCHESTER        IL   60154‐5134
RACKE, JACK L                     449 TANASI WAY                                                                            LOUDON             TN   37774‐3199
RACKE, RICHARD                    107 TANASI CT                                                                             LOUDON             TN   37774‐2137
RACKEL, CATHERINE L               446 KAYLER RD                                                                             EATON              OH   45320‐9243
RACKEL, IRENE C                   PO BOX 304                                                                                FOLLY BEACH        SC   29439‐0304
RACKEL, ROBERT D                  5315 BROWN RD                                                                             MILLINGTON         MI   48746‐9422
RACKETA, CLARA T                  233 EAST LIBERTY ST.                                                                      GIRARD             OH   44420‐2651
RACKETA, CLARA T                  233 E LIBERTY ST                                                                          GIRARD             OH   44420‐2651
RACKETA, IDA R                    144 N CRESCENT DR                                                                         HERMITAGE          PA   16148‐1755
RACKI, ANTONINA                   18 BIRCH POINT SHRS                                                                       OXFORD             MA   01540‐1836
RACKI, GARY A                     12632 W 65TH TER                                                                          SHAWNEE            KS   66216‐2565
RACKI, GARY ALAN                  12632 W 65TH TER                                                                          SHAWNEE            KS   66216‐2565
RACKI, JANICE M                   5222 WORCHESTER DR                                                                        SWARTZ CREEK       MI   48473‐1268
RACKI, JOHN C                     1329 CHESTNUT ST                                                                          ALDEN              NY   14004‐1425
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RACKI, MARGARET B                14612 W 68TH STREET                                                                                          SHAWNEE               KS 66216‐2146
RACKLEY JR, ELERY T              1137 SIMPSON DR                                                                                              HURST                 TX 76053‐4525
RACKLEY JR, ELERY THOMAS         1137 SIMPSON DR                                                                                              HURST                 TX 76053‐4525
RACKLEY JUANITA                  RACKLEY, JUANITA                 1715 GRAY STONE BLVD APT 26                                                 MT PLEASANT           SC 29464
RACKLEY, CHARLES K               7 PACE RD                                                                                                    HIRAM                 GA 30141‐1806
RACKLEY, DENNIS                  40104 WOODSIDE DR S                                                                                          NORTHVILLE            MI 48168‐3427
RACKLEY, HARVEY R                8400 DILIP DR                                                                                                GUTHRIE               OK 73044‐9084
RACKLEY, JERRY L                 81 CROSS CREEK PKWY                                                                                          DALLAS                GA 30157‐3113
RACKLEY, JUANITA                 1715 GREYSTONE BLVD APT 26                                                                                   MT PLEASANT           SC 29464‐7577
RACKLEY, WILBUR D                23 CHURCH ST                                                                                                 SPENCER               MA 01562‐2526
RACKLIN BERNSTEIN MINJARES &     1111 N GRAND BLVD STE 203                                                                                    GLENDALE              CA 91202
ASSOCIATES
RACKLIN MORTON                   RACKLIN, MORTON                  22260 HAGGERTY RD STE 250                                                   NORTHVILLE           MI   48167‐8985
RACKLYEFT, DANIEL F              14810 STONEHAM LN                                                                                            RIVERVIEW            MI   48193‐7741
RACKNOR, CHERIE J                695 ROLLING HILLS LANE                                                                                       LAPEER               MI   48446
RACKNOR, JAMES M                 695 ROLLING HILLS LN APT 1                                                                                   LAPEER               MI   48446‐4719
RACKS INDUSTRIALES SA DE CV      BLVD VITO ALESSIO ROBLES NO 37   INT 20 COL PLAZA INDUSTRIAL                      SALTILLO CZ 25107 MEXICO
RACO AUTO ELECTRIC               11 BALFOUR STREET                                                                 ST CATHARINES ON L2R 2G4
                                                                                                                   CANADA
RACO INDUSTRIES                  5480 CREEK ROAD                                                                                              CINCINNATI           OH   45242
RACO INDUSTRIES INC              5480 CREEK RD                                                                                                CINCINNATI           OH   45242
RACO INTERNATIONAL INC           3350 INDUSTRIAL BLVD                                                                                         BETHEL PARK          PA   15102‐2544
RACO STEEL CO                    2100 W 163RD PL                                                                                              MARKHAM              IL   60428‐5649
RACOM INFORMATION TECHNOLOGIES   1820 L AND A RD                                                                                              METAIRIE             LA   70001‐6237

RACOR INDUSTRIES,INC             LANE DINGES                      3400 FINCH RD                 CUSTOMER SERVICE                              MODESTO              CA   95354‐4125
RACOR INDUSTRIES,INC             LANE DINGES                      CUSTOMER SERVICE              3400 FINCH RD                                 WALLED LAKE          MI   48390
RACOUILLAT, JEFF F               4469 VALLE VIS                                                                                               PITTSBURG            CA   94565‐6081
RACQUEL E MYLES                  189 TERRACE PARK                                                                                             ROCHESTER            NY   14619‐2418
RACQUEL MAXWELL                  4084 PENDLETON WAY                                                                                           INDIANAPOLIS         IN   46225‐5224
RACQUELISA MOORE                 536 NTH 8TH STREET                                                                                           GRIFIN               GA   30223
RACQUELSA MOORE                  536 N 8TH ST                                                                                                 GRIFFIN              GA   30223‐2504
RACSAN, INC.
RACSKO, JOHN W                   196 W SCHWAB AVE                                                                                             MUNHALL              PA   15120‐2270
RACUNAS, JOHN M                  9533 DEARBORN ST                                                                                             OVERLAND PARK        KS   66207‐2821
RACY JR, WILLIAM                 1337 BROCKLEY AVE                                                                                            LAKEWOOD             OH   44107‐2440
RACZ JR, MARTIN                  225 LAKESIDE DRIVE                                                                                           QUINCY               MI   49082‐8522
RACZ JR, STEVE                   PO BOX 23                                                                                                    COOKEVILLE           TN   38503‐0023
RACZ JR, STEVE J                 PO BOX 648                                                                                                   PARKMAN              OH   44080‐0648
RACZ, ANNA                       1395 ROSE AVE                                                                                                LINCOLN PARK         MI   48146‐3350
RACZ, ANNA                       1395 ROSE                                                                                                    LINCOLN PK           MI   48146‐3350
RACZ, CAMILLE A                  6 MINK HOLLOW LN                                                                                             MILLSTONE TOWNSHIP   NJ   08510
RACZ, JO A                       PO BOX 23                                                                                                    COOKEVILLE           TN   38503‐0023
RACZ, RICHARD K                  207 GATES ST                                                                                                 CORTLAND             OH   44410
RACZAK, STEVEN J                 1316 CEDARWOOD DR APT B3                                                                                     WESTLAKE             OH   44145‐1885
RACZEK, MILDRED T                11085 KADER DR                                                                                               PARMA                OH   44130‐7242
RACZKA II, PAUL B                7870 DUBUQUE RD                                                                                              CLARKSTON            MI   48348‐3816
RACZKA, ALEKSANDER               32452 REVERE DR                                                                                              WARREN               MI   48092‐3225
RACZKA, BERNARD R                2661 CLYDE PARK AVE SW                                                                                       WYOMING              MI   49509
RACZKA, BETTY A                  275 LAUREL LEAK, LAKE VILLA                                                                                  OXFORD               MI   48371‐6349
RACZKA, JEAN                     10500 CAMBRIDGE CT                                                                                           GREAT FALLS          VA   22066‐4215
RACZKA, KENNETH E                13900 MILLER AVE                                                                                             CHAFFEE              NY   14030‐9753
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Name                         Address1                        Address2                 Address3    Address4            City               State Zip
RACZKA, MELANIE              1571 TURNER AVE NW                                                                       GRAND RAPIDS        MI 49504‐3237
RACZKA, THOMAS J             4058 MCKINLEY PKWY                                                                       BLASDELL            NY 14219‐2932
RACZKIEWICZ, LORAINE L       5053 CARRIAGE LN                                                                         LOCKPORT            NY 14094‐9747
RACZKIEWICZ, TIMOTHY D       5053 CARRIAGE LN                                                                         LOCKPORT            NY 14094‐9747
RACZKOWSKI, AUDREY A         42748 TESSMER DR                                                                         STERLING HEIGHTS    MI 48314‐3078
RACZKOWSKI, BRIAN H          305 TRAFALGAR CT                                                                         BOLINGBROOK          IL 60440‐1044
RACZKOWSKI, EVA              12428 W BLUESTEM DR                                                                      SUN CITY WEST       AZ 85375‐1928
RACZKOWSKI, GARRET V         12010 SECOR RD                                                                           PETERSBURG          MI 49270‐9795
RACZKOWSKI, JAMES J          33 CENTENNIAL CT                                                                         WEST SENECA         NY 14224‐3724
RACZKOWSKI, LISA M           12010 SECOR RD                                                                           PETERSBURG          MI 49270
RACZKOWSKI, ROBERT           25 IVANHOE RD                                                                            CHEEKTOWAGA         NY 14215‐3609
RACZKOWSKI, ROBERT L         2866 111TH ST                                                                            TOLEDO              OH 43611‐2827
RACZYINSKI, STELLA           1470 JAMAICA LN                                                                          MARION               IL 62959‐8652
RACZYK, RONALD A             7 ATLANTIC AVE                                                                           CHEEKTOWAGA         NY 14206‐1209
RACZYNSKI, ANGELINA          271 DAVIS AVE                                                                            KEARNY              NJ 07032‐3417
RACZYNSKI, LOUIS J           7041 APPOLINE ST                                                                         DEARBORN            MI 48126‐1933
RACZYNSKI, RALPH F           8332 DALE                                                                                CENTER LINE         MI 48015‐1530
RAD AIR                                                      1200 PORTAGE TRAIL EXT                                                       OH 44313
RAD AIR                      767 N COURT ST                                                                           MEDINA              OH 44256‐1749
RAD AIR COMPLETE CAR CARE    27051 DETROIT RD                                                                         WESTLAKE            OH 44145‐2373
RAD AIR COMPLETE CAR CARE    6221 SOM CENTER RD                                                                       SOLON               OH 44139‐2912
RAD AIR COMPLETE CAR CARE    3904 MEDINA RD                                                                           AKRON               OH 44333‐2463
RAD AIR COMPLETE CAR CARE    6565 PEARL RD                                                                            PARMA HEIGHTS       OH 44130‐3826
RAD AIR COMPLETE CAR CARE    5266 TURNEY RD                                                                           GARFIELD HEIGHTS    OH 44125‐2663
RAD ASSOC OF NEW HAR         PO BOX 2009                                                                              EAST SYRACUSE       NY 13057‐4509
RAD‐AIR COMPLETE CAR CARE    7893 BROADVIEW RD                                                                        SEVEN HILLS         OH 44131‐6102
RADA EUBANKS                 PO BOX 21                                                                                PERRY               AR 72125‐0021
RADA JOHNSON                 464 OLD HOPPERTOWN RD                                                                    RUSSELL SPRINGS     KY 42642‐9410
RADA RADOVANOVIC             2532 CHATEAU AVE                                                     WINDSOR ON N8P1N2
                                                                                                  CANADA
RADA, BARTOLOMEJ             538 FAIRWAY RD                                                                           LINDEN              NJ   07036‐5413
RADA, BRUCE A                1119 DEER CREEK DR                                                                       ANDERSON            IN   46011‐9601
RADA, JANE B                 4007 CREEDMOOR PL                                                                        ANDERSON            IN   46011‐1606
RADABAUGH LARRY D (631289)   GOLDENBERG, MILLER, HELLER &    PO BOX 959                                               EDWARDSVILLE        IL   62025‐0959
                             ANTOGNOLI
RADABAUGH, ALBERT P          8184 MACKAY CT                                                                           UTICA              MI    48317‐5541
RADABAUGH, ARTHUR W          1116 N CATHERINE ST                                                                      BAY CITY           MI    48706‐3610
RADABAUGH, BEVERLY           1116 NORTH CATHERINE ST.                                                                 BAY CITY           MI    48706
RADABAUGH, BRENDA K          15012 STEEL RD                                                                           CHESANING          MI    48616‐9529
RADABAUGH, DARRELL Z         1024 OAKWOOD DR                                                                          ELYRIA             OH    44035‐3234
RADABAUGH, DAVID C           304 E FISHER ST                                                                          BAY CITY           MI    48706‐4604
RADABAUGH, DOTTIE L          PO BOX 218                                                                               ELIZABETH          WV    26143‐0218
RADABAUGH, JAMES W           7050 STAR LANE RD                                                                        NEWPORT            MI    48166‐9758
RADABAUGH, JANICE F          7050 STAR LANE RD                                                                        NEWPORT            MI    48166‐9758
RADABAUGH, JOHN D            401 W SYCAMORE ST                                                                        COLUMBUS GRV       OH    45830‐1018
RADABAUGH, LARRY D           GOLDENBERG, MILLER, HELLER &    PO BOX 959                                               EDWARDSVILLE       IL    62025‐0959
                             ANTOGNOLI
RADABAUGH, RICKY A           15012 STEEL RD                                                                           CHESANING          MI    48616‐9529
RADABAUGH, THOMAS K          124 S TRUMBULL RD                                                                        BAY CITY           MI    48708‐9200
RADABAUGH, VIOLET L          3326 S 250 E                                                                             KOKOMO             IN    46902‐9248
RADABAUGH, VIVIAN K          12948 S US 31 TRAILER 38                                                                 KOKOMO             IN    46901
RADACH FARMS                 5223 RIDGEVIEW DR LOOP NE                                                                MOSES LAKE         WA    98837‐8519
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Name                          Address1                        Address2                        Address3              Address4         City            State Zip
RADACHI, FRANK V              247 BRANDTSON AVE                                                                                      ELYRIA           OH 44035‐3933
RADADVANTAGE LLC              6245 LEMAY FERRY RD                                                                                    SAINT LOUIS      MO 63129‐2805
RADAKER, ARNOLD M             5225 LAUREL VALLEY AVE                                                                                 SARASOTA         FL 34234‐3034
RADAKER, EARL C               903 GLEN ECHO DR                                                                                       ANDERSON         IN 46012‐9757
RADAKOVIC, ANTON              PARKER DUMLER & KIELY           111 S CALVERT ST                STE 1705                               BALTIMORE        MD 21202‐6137
RADAKOVIC, WILLIAM J          1453 MADDEN DR                                                                                         MONROEVILLE      PA 15146‐3907
RADAKOVICH MICHAEL            CASCINO MICHAEL P               220 S ASHLAND                                                          CHICAGO           IL 60607
RADAKOVICH MICHAEL            CASCINO MICHAEL P               220 S. ASHLAND                                                         CHICAGO           IL 60607
RADAKOVICH, ANDREE            1 KULAS LN APT. 319                                                                                    PARLIN           NJ 08859
RADAKOVICH, ANDREE            1 KULAS LN APT 319                                                                                     PARLIN           NJ 08859‐2265
RADAKOVICH, DAVID             2238 NOLEN DR                                                                                          FLINT            MI 48504‐4885
RADAKOVICH, DUSAN R           1595 HORBUR DR #153                                                                                    TRENTON          MI 48183
RADAKOVICH, NICHOLAS          1 KULAS LN APT 319                                                                                     PARLIN           NJ 08859‐2265
RADAKOVITZ, JOHN M            2301 OAKMONT WAY UNIT 406                                                                              DARIEN            IL 60561‐5526
RADAKOVITZ, LARRY M           14543 WILLOW ST                                                                                        ORLAND PARK       IL 60462‐2693
RADAKOVITZ, MARGARET M        2301 OAKMONT WAY UNIT 406                                                                              DARIEN            IL 60561‐5526
RADAKOVITZ, MICHAEL N         11701 S RIDGELAND AVE TRLR 60                                                                          WORTH             IL 60482‐3032
RADAL WESTERN CORPORATION     211 NORTH ST. PAUL STREET                                                                              DALLAS           TX 75201
RADAMIS, MAGED                1674 FAIRFAX DR                                                                                        CANTON           MI 48188‐1181
RADANK, DELORES R             8143 S LEGEND DR                                                                                       FRANKLIN         WI 53132‐9623
RADAR BAYARD GLENN (512081)   COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                HOUSTON          TX 77002‐1751
RADAR IND/WARREN              12400 STEPHENS RD                                                                                      WARREN           MI 48089‐4326
RADAR INDUSTRIES              JOE WIERBICKI                   PLANT 27                        27101 GROESBECK HWY                    CANTON           MI 48187
RADAR INDUSTRIES              JOE WIERBICKI                   PLANT 28                        28101 GROESBECK HWY                    FRANKLIN PARK     IL 60131
RADAR INDUSTRIES              LORETTA WILLIAMS                27101 GROESBECK HWY                                                    WARREN           MI 48089‐4162
RADAR INDUSTRIES INC          PAUL GRAF                       12400 STEPHENS RD                                                      WARREN           MI 48089
RADAR INDUSTRIES INC          12400 STEPHENS RD                                                                                      WARREN           MI 48089‐4326
RADAR INDUSTRIES INC          JIM HOWE                        12400 STEPHENS RD               PLANT 12                               WARREN           MI 48089‐4326
RADAR INDUSTRIES INC          JIM HOWE                        PLANT 12                        12400 STEPHENS RD                      BOWLING GREEN    KY 42101
RADAR INDUSTRIES INC          JOE WIERBICKI                   PLANT 27                        27101 GROESBECK HWY                    CANTON           MI 48187
RADAR INDUSTRIES INC          JOE WIERBICKI                   PLANT 28                        28101 GROESBECK HWY                    FRANKLIN PARK     IL 60131
RADAR INDUSTRIES INC          LORETTA WILLIAMS                27101 GROESBECK HWY                                                    WARREN           MI 48089‐4162
RADAR INDUSTRIES INC          27101 GROESBECK HWY                                                                                    WARREN           MI 48089‐1590
RADAR INDUSTRIES INC          28101 GROESBECK HWY                                                                                    ROSEVILLE        MI 48066‐2394
RADAR INDUSTRIES INC.         JIM HOWE                        12400 STEPHENS RD               PLANT 12                               WARREN           MI 48089‐4326
RADAR INDUSTRIES INC.         JIM HOWE                        PLANT 12                        12400 STEPHENS RD                      BOWLING GREEN    KY 42101
RADAR LINDA                   5590 WILD ROSE LN                                                                                      MILFORD          OH 45150‐2655
RADAR, BAYARD GLENN           COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                HOUSTON          TX 77002‐1751
RADATZ PAUL                   32546 GARFIELD RD                                                                                      FRASER           MI 48026‐3853
RADATZ, PAUL A                32546 GARFIELD RD                                                                                      FRASER           MI 48026‐3853
RADATZ, TERRY A               23661 N PARK DR                                                                                        NEW BOSTON       MI 48164‐7816
RADAWIEC, RAYMOND             4591 REFLECTIONS DR                                                                                    STERLING HTS     MI 48314‐1944
RADBURN CAR CARE CENTER       22‐20 FAIR LAWN AVE                                                                                    FAIR LAWN        NJ 07410‐3428
RADCA, GARY R                 6001 BAUMHART RD                                                                                       LORAIN           OH 44053
RADCA, MARY L                 100 EMILY LN                                                                                           ELYRIA           OH 44035‐0917
RADCLIFF JR, GEORGE W         PO BOX 13662                                                                                           EDWARDSVILLE     KS 66113‐0662
RADCLIFF JR, GEORGE W         PO BOX 13112                                                                                           EDWARDSVILLE     KS 66113‐0112
RADCLIFF MARK (491284)        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                          NORTHFIELD       OH 44067
                                                              PROFESSIONAL BLDG
RADCLIFF, CLIFFORD R          RR 4 BOX 192                                                                                           RIDGELEY        WV 26753‐9221
RADCLIFF, DALE E              3483 W 116TH ST                                                                                        GRANT           MI 49327‐8904
RADCLIFF, DARLA J             3556 N DEQUINCY ST                                                                                     INDIANAPOLIS    IN 46218‐1637
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RADCLIFF, DARLA JEAN                  3556 N DEQUINCY ST                                                                              INDIANAPOLIS      IN 46218‐1637
RADCLIFF, DELORES                     PO BOX 1158                                                                                     INGLEWOOD         CA 90308‐1158
RADCLIFF, ELIJAH                      20485 CAROL ST                                                                                  DETROIT           MI 48235‐1633
RADCLIFF, FREDERICK A                 128 GENESEE PARK BLVD                                                                           ROCHESTER         NY 14611‐4018
RADCLIFF, GEORGE F                    329 W G TALLEY RD                                                                               ALVATON           KY 42122‐9663
RADCLIFF, IVA                         404 VILLAGE BOULEVARD NORTH                                                                     BALDWINSVILLE     NY 13027‐3071
RADCLIFF, JAMES W                     82 COUNTY ROAD 4681                                                                             POPLAR BLUFF      MO 63901‐3042
RADCLIFF, JOHN B                      2600 ELMCREST RD                                                                                STERLING HTS      MI 48310‐4259
RADCLIFF, MAX                         15594 STAUNTON CIR                                                                              PORT CHARLOTTE    FL 33981‐4247
RADCLIFF, NANCY A                     RR 1 BOX 690                                                                                    HASKELL           OK 74436‐8746
RADCLIFF, RONAL B                     7563 STARY DR                                                                                   PARMA             OH 44134‐5866
RADCLIFF, ROY W                       PO BOX 916                                                                                      ELIZABETH         WV 26143‐0916
RADCLIFF, SANDRA F                    20485 CAROL ST                                                                                  DETROIT           MI 48235‐1633
RADCLIFF, TERRY A                     4826 DICKSON DR                                                                                 STERLING HTS      MI 48310‐4630
RADCLIFF, TRACY L                     516 BALTIMORE ST                                                                                DAYTON            OH 45404‐2707
RADCLIFFE CARL (ESTATE OF) (489196)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                                          PROFESSIONAL BLDG
RADCLIFFE, ANNA M                     12745 SPICER ST                                                                                 CARLETON         MI   48117
RADCLIFFE, CHARLES J                  102 BREADY RD                                                                                   HATBORO          PA   19040‐3501
RADCLIFFE, CHARLES R                  46694 BEN FRANKLIN DR                                                                           SHELBY TWP       MI   48315‐5216
RADCLIFFE, DAVID L                    200 S CENTRAL ST                                                                                OLATHE           KS   66061‐3609
RADCLIFFE, DOROTHY N                  8871 REDSTONE DR                                                                                PINCKNEY         MI   48169‐8291
RADCLIFFE, FORREST S                  1412 N ALTON AVE                                                                                INDIANAPOLIS     IN   46222‐2969
RADCLIFFE, JAMES D                    14625 S GARDNER RD                                                                              GARDNER          KS   66030‐9316
RADCLIFFE, JOHN R                     4913 E BENNINGTON RD                                                                            DURAND           MI   48429‐9034
RADCLIFFE, PHILLIP C                  7607 NE AQUILLA CT                                                                              VANCOUVER        WA   98682‐4272
RADCLIFFE, RITCHIE J                  2302 S OTTER CREEK RD                                                                           LA SALLE         MI   48145‐9516
RADCLIFFE, RUBY I                     13295 S LAKESHORE DR                                                                            OLATHE           KS   66061‐5008
RADCLIFFE, RUBY I                     13295 LAKESHORE DR                                                                              OLATHE           KS   66061‐5008
RADCLIFFE, WESLEY A                   1716 COLWOOD RD                                                                                 CARO             MI   48723
RADDANT, HARLEY C                     200 PROSPECT CIRCLE                                                                             SHAWANO          WI   54166‐3626
RADDATZ, GUENTER                      5580 SECORD LAKE RD                                                                             DRYDEN           MI   48428‐9308
RADDATZ, HANS J                       C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE RTE 157                                        EDWARDSVILLE     IL   62025
                                      ROWLAND PC
RADDATZ, HAROLD M                     700 E STONEGATE DR APT 222                                                                      OAK CREEK        WI   53154‐8628
RADDATZ, HENRY A                      8320 SANDPIPER ST                                                                               CANTON           MI   48187‐1707
RADDATZ, JACQUELINE K                 5010 S 24TH ST                                                                                  MILWAUKEE        WI   53221‐3448
RADDATZ, MARGARET                     633 DICKINSON BLVD                                                                              KINGSFORD        MI   49802
RADDATZ, MARGARET A                   6468 ANCROFT CT                                                                                 CLARKSTON        MI   48346‐4712
RADDATZ, PETER H                      9512 EPSI CT                                                                                    HUDSON           FL   34669
RADDE, DONALD F                       82 MERCURY DR                                                                                   ROCHESTER        NY   14624‐2408
RADDE, JOHANNE P                      82 MERCURY DR                                                                                   ROCHESTER        NY   14624‐2408
RADDEN, BOBBIE J                      2112 FRANCIS AVE SE                                                                             GRAND RAPIDS     MI   49507‐3017
RADDEN, MAE T                         6 MISTY CREEK LANE                                                                              GREENVILLE       SC   29611‐7718
RADDEN, RODNEY                        9200 MILLIKEN AVE APT 10113                                                                     RCH CUCAMONGA    CA   91730‐8524
RADDEN, RODNEY                        18 OAK KNOLL DR                                                                                 MATAWAN          NJ   07747‐2650
RADDENBACH, DAVID H                   W4985 FOWLER DRIVE                                                                              MERRILL          WI   54452‐8762
RADDENBACH, LINDA A                   280 LEBA LN                                                                                     HUNTINGTON       IN   46750‐1266
RADDER, ROBERT P                      362 WILER RD                                                                                    HILTON           NY   14468
RADE BABIC                            55266 PARKVIEW DR                                                                               SHELBY TWP       MI   48316‐1067
RADE BESLACH                          5140 W COURT ST                                                                                 FLINT            MI   48532‐4113
RADE G BESLACH                        5140 W COURT ST                                                                                 FLINT            MI   48532‐4113
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RADE KORALIJA             9451 SHERWOOD DR                                                                         SALINE               MI 48176‐9464
RADE TESIC                36863 ASHOVER DR                                                                         FARMINGTON HILLS     MI 48335‐5413
RADE TOLJAGA              18035 OAK WAY DR                                                                         HUDSON               FL 34667‐6396
RADE, EILEEN C            13771 WINCHESTER ST                                                                      OAK PARK             MI 48237‐4111
RADEBACH, MARY P          5615 S BLACKMOOR DR                                                                      MURRELLS INLET       SC 29576‐8943
RADEBAUGH, ELEANOR S      34118 CORTLAND AVE                                                                       FARMINGTON           MI 48335‐3508
RADEBAUGH, JERALD P       P.O. BOX 117 ‐ 2531 STE. RTE.602                                                         NORTH ROBINSON       OH 44856
RADECK, RALPH E           8217 BRIAR LN                                                                            JENISON              MI 49428‐8627
RADECKE, ROCHELLE M       41715 LAUREL OAKS CT                                                                     PLYMOUTH             MI 48170‐6803
RADECKI, HENRY J          113 CRANDON BLVD                                                                         CHEEKTOWAGA          NY 14225‐3721
RADECKI, MILDRED          113 CRANDON BLVD.                                                                        CHEEKTOWAGA          NY 14225‐3721
RADECKI, PATRICK A        14401 ROBBE RD                                                                           BELLEVILLE           MI 48111‐3087
RADECKI, RICHARD          860 LONDON AVE                                                                           LINCOLN PARK         MI 48146‐3119
RADECKI, VERONICA         2930 HOLBROOK ST                                                                         HAMTRAMCK            MI 48212‐3512
RADEE, GEORGE R           521 MADISON ST                                                                           CHARLOTTE            MI 48813‐1928
RADEE, KATHRINE K         425 E SEMINARY ST                                                                        CHARLOTTE            MI 48813‐1619
RADEE, TOBY M             3610 CARLISLE HWY                                                                        CHARLOTTE            MI 48813‐9560
RADEER, MARY Z            401 SW 4TH AVE APT 604                                                                   FT LAUDERDALE        FL 33315‐1036
RADEER, MARY Z            401 SOUTH WEST 4TH AVENUE          APT 604                                               FT LAUDERDALE        FL 33315
RADEKA, BETHANY A         32 VILLAGE GREEN CIR                                                                     SAVANNAH             GA 31411‐1508
RADEKA, GEORGE            32 VILLAGE GREEN CIR                                                                     SAVANNAH             GA 31411‐1508
RADEL, RICHARD R          P3 RR 5                                                                                  NAPOLEON             OH 43545
RADELAT GEORGE (499372)   LIPMAN DAVID M                     5901 SW 74TH ST STE 304                               MIAMI                FL 33143‐5163
RADELAT, GEORGE           LIPMAN DAVID M                     5901 SW 74TH ST STE 304                               MIAMI                FL 33143‐5163
RADELAT, GEORGE           THE LIPMAN LAW FIRM                5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES         FL 33146
RADELT, FREDRICK W        2825 BOWMAN RD                                                                           IMLAY CITY           MI 48444‐9769
RADELT, MARTIN F          7543 ROSS RD                                                                             ALMONT               MI 48003‐8004
RADEMACHER JAMES L        RADEMACHER, JAMES L
RADEMACHER, ADELINE D     1770 N WRIGHT RD R #1                                                                    FOWLER              MI   48835‐9755
RADEMACHER, ARLENE D      N194 POTTAWATOMI TRAIL                                                                   MILTON              WI   53563‐9501
RADEMACHER, CAROLYN K     5897 PARKS ROAD                                                                          ST JOHNS            MI   48879
RADEMACHER, CAROLYN K     5897 W PARKS RD                                                                          SAINT JOHNS         MI   48879‐9558
RADEMACHER, CHRISTINE E   6772 S LOWELL RD # R4                                                                    SAINT JOHNS         MI   48879‐9252
RADEMACHER, CLAUD J       11470 W PARKS RD # R2                                                                    FOWLER              MI   48835
RADEMACHER, DANIEL J      4051 S GROVE RD                                                                          SAINT JOHNS         MI   48879‐9577
RADEMACHER, DARRYL W      39343 SURREY HEIGHTS CT                                                                  WESTLAND            MI   48186‐3723
RADEMACHER, DAVID A       4465 DETROIT STREET                                                                      SPRUCE              MI   48762‐9737
RADEMACHER, DAVID C       816 ACADEMY RD                                                                           HOLLY               MI   48442‐1546
RADEMACHER, DAVID CARL    816 ACADEMY RD                                                                           HOLLY               MI   48442‐1546
RADEMACHER, DEBRA L       3184 WYNNS MILL CT                                                                       METAMORA            MI   48455‐8956
RADEMACHER, DIANE G       108 30TH ST                                                                              DES MOINES          IA   50312‐4424
RADEMACHER, DOUGLAS       2310 WOODRUFF AVE                                                                        LANSING             MI   48912‐3336
RADEMACHER, EUGENE G      28798 ASHLAND AVE                                                                        HARRISON TOWNSHIP   MI   48045‐2250
RADEMACHER, FRANCIS W     261 ISLAND DR                                                                            STANTON             MI   48888‐9126
RADEMACHER, GERALD E      1009 S OAKLAND ST                                                                        SAINT JOHNS         MI   48879‐2305
RADEMACHER, GERALD W      2353 GRAYSTONE DR                                                                        OKEMOS              MI   48864‐3238
RADEMACHER, GERY H        6061 N BAUER RD                                                                          FOWLER              MI   48835‐9743
RADEMACHER, JAMES E       12740 W LEHMAN RD                                                                        WESTPHALIA          MI   48894‐9756
RADEMACHER, JAMES J       476 ALBION RD                                                                            EDGERTON            WI   53534‐9376
RADEMACHER, JAMES L       10820 W PARKS RD                                                                         FOWLER              MI   48835‐9108
RADEMACHER, JEFFREY H     425 LAKEVIEW ST                                                                          CRYSTAL             MI   48818
RADEMACHER, JOHN L        13381 W STATE RD                                                                         GRAND LEDGE         MI   48837‐9611
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Name                                   Address1                          Address2                      Address3                 Address4         City               State Zip
RADEMACHER, JOHN M                     1107 N PENNSYLVANIA AVE                                                                                   LANSING             MI 48906‐5327
RADEMACHER, JOHN W                     1101 W TWINBROOK DR               APT 4                                                                   DEWITT              MI 48820
RADEMACHER, JOSEPH J                   2353 HARTEL RD                                                                                            CHARLOTTE           MI 48813‐8328
RADEMACHER, JOSH                       2920 YOUNG AVE                                                                                            LANSING             MI 48906‐2556
RADEMACHER, LARRY J                    11701 HIDDEN RIDGE DR                                                                                     DEWITT              MI 48820‐7748
RADEMACHER, LONNIE J                   13190 HIDE AWAY LN                                                                                        DEWITT              MI 48820‐9184
RADEMACHER, LOUIS J                    404 BIRCH LANE, BOX 461                                                                                   WESTPHALIA          MI 48894
RADEMACHER, MARY L                     11136 COBBLESTONE LN                                                                                      GRAND LEDGE         MI 48837‐9116
RADEMACHER, MARY L                     5535 W PARKS RD                                                                                           ST JOHNS            MI 48879‐9558
RADEMACHER, MELVIN G                   1700 S FRANCIS RD                                                                                         SAINT JOHNS         MI 48879‐8704
RADEMACHER, MONICA M                   1933 WOOD ST APT 5                                                                                        LANSING             MI 48912‐3465
RADEMACHER, PEGGY A                    1107 N PENNSYLVANIA AVE                                                                                   LANSING             MI 48906‐5327
RADEMACHER, PEGGY ANN                  1107 N PENNSYLVANIA AVE                                                                                   LANSING             MI 48906‐5327
RADEMACHER, PETER J                    5342 E KENTWOOD DR                                                                                        MILTON              WI 53563‐8473
RADEMACHER, RACHAEL C                  8694 CLARKLAKE RD                                                                                         CLARKLAKE           MI 49234
RADEMACHER, RICHARD J                  8205 FOUNTAIN VIEW CT                                                                                     FLUSHING            MI 48433‐2197
RADEMACHER, ROBERT A                   6612 LOCH MOOR CT                                                                                         CLARKSTON           MI 48346‐3068
RADEMACHER, ROGER J                    5741 AMBLER ST                                                                                            HOLT                MI 48842‐9791
RADEMACHER, ROSALIE                    10161 ISLAND RD                   R #1, BOX 108                                                           FOWLER              MI 48835‐9725
RADEMACHER, ROSALIE                    10161 W ISLAND RD                 R #1, BOX 108                                                           FOWLER              MI 48835‐9725
RADEMACHER, THOMAS R                   3658 DELTA RIVER DR                                                                                       LANSING             MI 48906‐3475
RADEMACHER, URBAN J                    1308 BROOKSIDE DR                                                                                         LANSING             MI 48917‐9282
RADEMACKER, WAYNE G                    42 COE AVE                                                                                                OAKFIELD            NY 14020
RADEMAKER, AMY
RADEMAKER, ELIZABETH A                 309 E LEWIS ST                                                                                            SWAYZEE            IN   46986‐9552
RADEMAKER, GERALD E                    44 W 34TH ST                                                                                              HOLLAND            MI   49423‐7109
RADEN II, RUSSELL N                    47923 PAVILLON RD                                                                                         CANTON             MI   48188‐6290
RADEN, LEON L                          11078 KENNEDY                                                                                             PINCKNEY           MI   48169‐8108
RADEN, MICHAEL A                       50636 JIM DR                                                                                              CHESTERFIELD       MI   48047‐1840
RADEN, RUSSELL N                       45766 PURCELL DR                                                                                          PLYMOUTH           MI   48170‐3639
RADER CHRISTOPHER                      4145 21ST RD N                                                                                            ARLINGTON          VA   22207‐3139
RADER EDWARD                           1830 SABAL PALM DR APT 301                                                                                DAVIE              FL   33324‐5937
RADER FISHMAN & GRAUER PLLC            39533 WOODWARD AVE STE 140                                                                                BLOOMFIELD HILLS   MI   48304‐5098
RADER JOHNNIE F (ESTATE OF) (467052)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK            VA   23510
                                                                         STREET, SUITE 600
RADER JR, HARRY E                      14495 BRAGG RD                                                                                            MT STERLING        OH   43143‐9460
RADER JR, JOSEPH R                     2345 S HONEY CREEK RD                                                                                     GREENWOOD          IN   46143‐9516
RADER JR, WALTER E                     25 W COLLEGE AVE                                                                                          BROWNSBURG         IN   46112‐1234
RADER JR., RONALD J                    3009 GRAND PARK                                                                                           ROCHESTER HLS      MI   48307‐5181
RADER JR., RONALD JAMES                3009 GRAND PARK                                                                                           ROCHESTER HLS      MI   48307‐5181
RADER LEROY & LOUISA                   17706 TALON DR                                                                                            HOLT               MO   64048‐8847
RADER MICHELLE                         GOLDEN, SHARON                    SAFECO                        7131 SW SAGERT ST. 105                    PHILLIPI           WV   26416
RADER MICHELLE                         RADER, MICHELLE                   SAFECO                        P.O. BOX 461                              ST. LOUIS          MO   63166
RADER MIKE                             14709 HARVEST CREST AVE                                                                                   BAKERSFIELD        CA   93314‐9064
RADER RICHARD                          14607 E 300 S                                                                                             AKRON              IN   46910‐9722
RADER WATKINS                          1461 DAYTON YELLOW SPRGS RD.                                                                              XENIA              OH   45385‐9518
RADER, ANGELA M                        3019 N 9TH ST                                                                                             SAINT JOSEPH       MO   64505‐1925
RADER, BAYARD G                        39 W QUARRY ST APT 8                                                                                      NEWTON FALLS       OH   44444‐1638
RADER, BENJAMIN D                      2065 MILLSBORO RD                                                                                         MANSFIELD          OH   44906‐3328
RADER, BETTY J                         248 OELKERS ST                                                                                            N TONAWANDA        NY   14120‐4030
RADER, BRIAN K                         10851 POMONA ST                                                                                           MIAMISBURG         OH   45342‐4866
RADER, CHARLENE                        1377 CHAPEL RD                                                                                            GASSAWAY           WV   26624‐9511
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Name                  Address1                         Address2                         Address3   Address4         City              State Zip
RADER, CHRISTOPHER    4145 21ST RD N                                                                                ARLINGTON          VA 22207‐3139
RADER, DANIEL L       4166 LAKEKNOLL DR                                                                             MASON              OH 45040‐8927
RADER, DAVID R        7211 REDONDO CT                                                                               CINCINNATI         OH 45243‐1235
RADER, DENISE L       8095 WOODSTONE CT                                                                             GRAND BLANC        MI 48439‐7097
RADER, DENNIS A       3001 E STROOP RD                                                                              KETTERING          OH 45440‐1349
RADER, DONALD J       APT 301                          932 1ST STREET NORTH                                         JAX BCH            FL 32250‐7197
RADER, DOUG E         14305 CHARTER OAKS DR                                                                         DAVISON            MI 48423‐3365
RADER, EDWARD L       2894 JEFFERSON DR                                                                             PLAINFIELD         IN 46168‐9692
RADER, ELISHA L       106 GALEWOOD DR                                                                               NEW CARLISLE       OH 45344
RADER, ELIZABETH J.   7211 REDONDO CT                                                                               CINCINNATI         OH 45243‐1235
RADER, ERNEST         3435 E CENTERTON RD                                                                           MOORESVILLE        IN 46158‐6890
RADER, FLORENCE L     5821 SAWMILL LAKE RD                                                                          ORTONVILLIE        MI 48462‐9621
RADER, FRED J         603 EAVEY ST                                                                                  XENIA              OH 45385‐9649
RADER, FREDERICK
RADER, GARY R         65166 CAMPGROUND RD                                                                           WASHINGTON        MI   48095‐1824
RADER, GERALD H       1216 CARTWRIGHT CIR N                                                                         GOODLETTSVLLE     TN   37072‐3606
RADER, GERALD HINES   1216 CARTWRIGHT CIR N                                                                         GOODLETTSVLLE     TN   37072‐3606
RADER, GILBERT J      PO BOX 823                       3645 OLD PINE TRAIL                                          PRUDENVILLE       MI   48651‐0823
RADER, GILBERT J      3645 OLD PINE TRAIL PO BOX 823                                                                PRUDENVILLE       MI   48651‐8651
RADER, GRACE E        4936 RIOVIEW                                                                                  CLARKSTON         MI   48346‐3674
RADER, GRACE E        4936 RIOVIEW DR                                                                               CLARKSTON         MI   48346‐3674
RADER, HAROLD J       3855 STATE ROUTE 546                                                                          LEXINGTON         OH   44904‐9329
RADER, JAMES A        127 PASADENA AVE                                                                              COLUMBUS          OH   43228‐6112
RADER, JOANN          2709 TRANSIT RD                                                                               NEWFANE           NY   14108‐9701
RADER, JOHN H         729 DAVID DR                                                                                  TYLER             TX   75703‐4818
RADER, JOHN H         6970 N 100 W                                                                                  HARTFORD CITY     IN   47348‐9221
RADER, JOHNNIE F      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                       STREET, SUITE 600
RADER, JOSIE E        31 REBECCA ST                                                                                 SHINNSTON         WV   26431‐1411
RADER, JOSIE E        31 REBECCA STREET                                                                             SHINTSTON         WV   26431
RADER, KEVIN G        2567 S LIPKEY RD                                                                              NORTH JACKSON     OH   44451‐9746
RADER, LENWOOD E      11273 CRIMSON                                                                                 MIAMISBURG        OH   45342‐4893
RADER, LEO L          1018 LAKEVIEW ST                                                                              WATERFORD         MI   48328‐3817
RADER, LOUTICA L      PO BOX 24868                                                                                  DAYTON            OH   45424
RADER, LOUTICA L      772 FAWCETT DR                                                                                DAYTON            OH   45434‐8125
RADER, MARGARET N.    8400 GANT COURT                                                                               CRESTWOOD         KY   40014
RADER, MARGARET N.    8400 GANT CT                                                                                  CRESTWOOD         KY   40014‐8955
RADER, MARK A         2184 HAWTHORNE CT                                                                             AVON              IN   46123‐8205
RADER, MARK A         1075 MEANDERING WAY                                                                           FRANKLIN          TN   37067‐4043
RADER, MARK R         13402 LAWRENCE ST                                                                             SPRING HILL       FL   34609‐8905
RADER, MARTHA E       5920 NE 22ND TER                                                                              FORT LAUDERDALE   FL   33308‐2617
RADER, MARY E         6970 N 100 W                                                                                  HARTFORD CITY     IN   47348‐9221
RADER, MARY E         6970 NORTH 100 WEST                                                                           HARTFORD CITY     IN   47348‐9221
RADER, MICHAEL E      22 MILDRED CT                                                                                 NESCONSET         NY   11767‐1621
RADER, MICHELLE       113 S MAIN ST                                                                                 PHILIPPI          WV   26416‐1316
RADER, MICHELLE       SAFECO                           PO BOX 461                                                   SAINT LOUIS       MO   63166‐0461
RADER, NANCY R        1108 MARION DR                                                                                HOLLY             MI   48442‐1040
RADER, NERVIE HELEN   8956 S UNION RD                                                                               MIAMISBURG        OH   45342‐4033
RADER, NERVIE HELEN   8956 S. UNION ROAD                                                                            MIAMISBURG        OH   45342‐4033
RADER, NOAH R         C/O GLASSER AND GLASSER, CROWN   580 EAST MAIN STREET SUITE 600                               NORFOLK           VA   23510
                      CENTER
RADER, RACHEL V       388 LEDBETTER RD                                                                              XENIA             OH 45385‐5331
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Name                         Address1                            Address2                       Address3   Address4         City               State Zip
RADER, REBECCA L             535 QUEEN ELEANOR CT                                                                           MIAMISBURG          OH 45342‐2758
RADER, REMONIA               RR 1 BOX R6                                                                                    OAK HILL            WV 25901‐9444
RADER, REMONIA               RR1 BOX R6                                                                                     OAK HILL            WV 25901
RADER, RICHARD L             5078 E 1400 N                                                                                  ELNORA              IN 47529‐5088
RADER, ROBIN R               711 S PROSPECT ST                                                                              GALLATIN            MO 64640‐1702
RADER, RONALD                GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                 260
RADER, RONALD L              8401 EATON RD                                                                                  DAVISBURG          MI   48350‐1505
RADER, SHARON                APT 37                              1044 SOUTH 23RD STREET                                     RICHMOND           IN   47374‐6656
RADER, SHARON                82 JOY ST                                                                                      CLARKSTON          MI   48346‐4119
RADER, STANLEY F             1700 FLINT RD                                                                                  SAINT HELEN        MI   48656‐9423
RADER, SUSAN E               249 RIVERVIEW AVE                                                                              NEWTON FALLS       OH   44444‐1446
RADER, TAMARA L              2567 SOUTH LIPKEY ROAD                                                                         NORTH JACKSON      OH   44451‐9746
RADER, TIMOTHY M             1723 MARYLAND BLVD                                                                             BIRMINGHAM         MI   48009‐1929
RADER, TIMOTHY W.            C/O SAFECO INSURANCE COMPANY OF     PO BOX 461                                                 SAINT LOUIS        MO   63166
                             AMERICA
RADER, TINA R                211 BRONWOOD ST                                                                                NEW LEBANON        OH   45345‐1303
RADER, VERNICE C             2284 WESTERN MEADOWS DR                                                                        FLUSHING           MI   48433‐9412
RADER, WILLIAM D             840 BAGBY RD                                                                                   CRITTENDEN         KY   41030‐8957
RADERMACHER, PAMELA          143 RUE MARSEILLE                                                                              KETTERING          OH   45429‐1882
RADERSTORF, WALTER E         13619 S 200 WEST                                                                               KOKOMO             IN   46901
RADERSTORF, WALTER E         13619 S 200 W                                                                                  KOKOMO             IN   46901
RADETICH, CAROLINE R         6390 BADGER DR                                                                                 LOCKPORT           NY   14094‐5948
RADEZ, LOUISE                4412 BUXTON CT                                                                                 INDIANAPOLIS       IN   46254‐2117
RADFORD BEN ALLEN (343077)   MILLER & BONDURANT LTD              121 COMMODORE LN                                           SMITHFIELD         VA   23430‐2315
RADFORD BUICK INC            489 HIGHWAY 384                                                                                LAKE CHARLES       LA   70607‐8944
RADFORD BUICK, INC.          2113 BROAD ST                                                                                  LAKE CHARLES       LA   70601‐4772
RADFORD COMER                5311 BROAD BLVD                                                                                NORTH RIDGEVILLE   OH   44039‐2203
RADFORD COMER                BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.        OH   44236
RADFORD DEWEY & DARLYN       RADFORD, DARLYN                     210 S WALKER ST                                            PRINCETON          WV   24740‐2747
RADFORD DEWEY & DARLYN       RADFORD, DEWEY                      210 S WALKER ST                                            PRINCETON          WV   24740‐2747
RADFORD DONNIE               G PATTERSON KEAHEY P C              ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM         AL   35209
                                                                 612
RADFORD G MEADE              9930 MILLARD RD                                                                                TROTWOOD           OH 45426
RADFORD JAMES E (626723)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                 STREET, SUITE 600
RADFORD JOE E (645417)       BIFFERATO GENTILOTTI & BIDEN        PO BOX 2165                                                WILMINGTON         DE   19899‐2165
RADFORD JR, HOWARD L         11617 CHRISTIANSBURG JACKSON RD                                                                SAINT PARIS        OH   43072‐9667
RADFORD JR, HOWARD LEE       11617 CHRISTIANSBURG JACKSON RD                                                                SAINT PARIS        OH   43072‐9667
RADFORD JR, SAMUEL L         62 BARTHEL ST                                                                                  BUFFALO            NY   14211‐2224
RADFORD MEADE                9930 MILLARD RD                                                                                TROTWOOD           OH   45426‐4339
RADFORD P HOLFIELD           C/O WILLIAMS KHERKHER HART &        8441 GULF FREEWAY STE 600                                  HOUSTON            TX   77007
                             BOUNDAS, LLP
RADFORD UNIVERSITY           PO BOX 6922                                                                                    RADFORD            VA   24142‐6922
RADFORD, BARNEY J            396 GOODYEAR AVE                                                                               BUFFALO            NY   14211‐2312
RADFORD, BEN                 MILLER & BONDURANT LTD              121 COMMODORE LN                                           SMITHFIELD         VA   23430‐2315
RADFORD, BENJAMIN D          1014 WHITE PINE ST                                                                             NEW CARLISLE       OH   45344‐1129
RADFORD, BERTHA              515 MISTY MOSS LANE                                                                            ST. PETERS         MO   63376
RADFORD, CARL C              515 MISTY MOSS LN                                                                              SAINT PETERS       MO   63376‐5316
RADFORD, DALE M              801 MARQUETTE ST                                                                               FLINT              MI   48504‐7715
RADFORD, DENNIS K            10325 WALMER ST                                                                                OVERLAND PARK      KS   66212‐1742
RADFORD, GEORGE H            3620 CHEVIOT PL                                                                                INDIANAPOLIS       IN   46205‐2528
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Name                  Address1                        Address2                      Address3   Address4         City               State Zip
RADFORD, GEORGE W     15160 E BARRE RD                                                                          ALBION              NY 14411‐9416
RADFORD, GREGORY T    2726 CAROLINE AVE                                                                         INDIANAPOLIS        IN 46218‐2754
RADFORD, HAROLD E     64 MASON AVE                                                                              ROCHESTER           NY 14626‐3326
RADFORD, HOWARD L     1014 WHITE PINE ST                                                                        NEW CARLISLE        OH 45344‐1129
RADFORD, JAMES C      2318 CHESNING AVE                                                                         JACKSON             MI 49202‐2930
RADFORD, JAMES E      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                      STREET, SUITE 600
RADFORD, JAMES L      4232 N PARK AVE                                                                           INDIANAPOLIS       IN   46205‐1813
RADFORD, JAMES L      18111 SHERRINGTON RD                                                                      SHAKER HTS         OH   44122‐5041
RADFORD, JAMES W      PO BOX 27                                                                                 MOORELAND          IN   47360‐0027
RADFORD, JANICE F     1756 W HWY 1376                                                                           EAST BERNSTADT     KY   40729
RADFORD, JANICE M     6340 S 425 W                                                                              PENDLETON          IN   46064‐8758
RADFORD, JANICE MAE   6340 S 425 W                                                                              PENDLETON          IN   46064‐8758
RADFORD, JOE E        BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                               WILMINGTON         DE   19899‐2165
RADFORD, JOHN H       6340 S 425 W                                                                              PENDLETON          IN   46064‐8758
RADFORD, JOHN L       19160 INDIAN WELLS CT # 33P                                                               NORTH FORT MYERS   FL   33903
RADFORD, JUDITH A     1055 SOUTH 10TH STREET                                                                    COTTONWOOD         AZ   86326‐4428
RADFORD, LARRY E      1430 RURAL ST # 1                                                                         ROCKFORD           IL   61107‐3036
RADFORD, LARRY E      PO BOX 282                                                                                ROANOKE            IN   46783‐0282
RADFORD, LAURA        4860 PEBBLE WAY W APT M                                                                   INDIANAPOLIS       IN   46268‐6015
RADFORD, LAURA        4860 PEBBLE WAY WEST            APT M                                                     INDIANAPOLIS       IN   46268
RADFORD, LAWRENCE H   2838 KRISTEN DR E                                                                         INDIANAPOLIS       IN   46218‐3278
RADFORD, LEILA W      1622 E 34TH ST                                                                            INDIANAPOLIS       IN   46218‐1917
RADFORD, LEONARD M    2545 W 62ND ST                                                                            INDIANAPOLIS       IN   46268‐2706
RADFORD, LONNIE       3150 W 51ST ST                                                                            INDIANAPOLIS       IN   46228‐2112
RADFORD, LOUELLA      APT 91                          1053 WINBURN DRIVE                                        LEXINGTON          KY   40511‐1439
RADFORD, MARJORIE     17300 SOUTHFIELD APT 503                                                                  DETROIT            MI   48235‐3366
RADFORD, MARY         3216 GRUNDY RD                                                                            SOMERSET           KY   42501‐5022
RADFORD, MARY         3216 GRUNDY ROAD                                                                          SOMERSET           KY   42501
RADFORD, MARY R       2643 NW 46TH ST                                                                           OKLAHOMA CITY      OK   73112‐8228
RADFORD, NANNETTE R   2003 SUFFOLK LN                                                                           INDIANAPOLIS       IN   46260‐3016
RADFORD, ORA L        MOODY EDWARD O                  801 W 4TH ST                                              LITTLE ROCK        AR   72201‐2107
RADFORD, ORA L        C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                       LITTLE ROCK        AR   72201
RADFORD, PATRICIA A   4620 BELMONT CT                                                                           HUBER HEIGHTS      OH   45424‐3672
RADFORD, PEGGY        2756 COUNTY RD 324                                                                        MOULTON            AL   35650
RADFORD, PHILLIP R    2326 DAWSON ST                                                                            INDIANAPOLIS       IN   46203
RADFORD, RAYMOND L    2580 SCOTCH HILL NO2                                                                      N HUNTINGDON       PA   15642
RADFORD, REBECCA L    1027 CLOVERLEAF DR                                                                        NEW CARLISLE       OH   45344‐1143
RADFORD, RENEATHA     3018 ANZIO DR                                                                             DALLAS             TX   75224‐3304
RADFORD, RICHARD M    6914 LIMERICK                                                                             ONSTED             MI   49265‐9598
RADFORD, ROBERT C     3513 STABILE RD                                                                           ST JAMES CITY      FL   33956‐2336
RADFORD, ROBERT W     32165 CHESTER ST                                                                          GARDEN CITY        MI   48135‐1743
RADFORD, ROBIE L      400 SUNSET                                                                                WHITE LAKE         MI   48383‐2861
RADFORD, RUTH A       19080 SW 92ND LOOP                                                                        DUNNELLON          FL   34432‐2710
RADFORD, SHERRY       2618 CELINA RD                                                                            BURKESVILLE        KY   42717‐9222
RADFORD, SYBIL B.     2037 DERBYSHIRE DR                                                                        MACON              GA   31216‐7561
RADFORD, WALTER R     2643 NW 46TH ST                                                                           OKLAHOMA CITY      OK   73112‐8228
RADFORD, WILLIAM H    2756 COUNTY ROAD 324                                                                      MOULTON            AL   35650‐6958
RADGE, WALLACE N      20 LAKEVIEW DR                                                                            OXFORD             MI   48370‐3030
RADGIN, MARY N        2645 RIVERSIDE DR APT 811                                                                 TRENTON            MI   48183‐2839
RADGINSKI, ANNA       1700 21ST AVE W APT 123                                                                   BRADENTON          FL   34205‐5780
RADHA IYER            1121 CARRIE CT                                                                            ROCHESTER HILLS    MI   48309‐3766
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Name                                 Address1                              Address2                    Address3   Address4                    City              State Zip
RADHA KRISHNA BEHARA
RADHA R. M NARUMANCHI                657 MIDDLETON AVENUE                                                                                     NEW HAVEN          CT   06513
RADHA R.M. NARUMANCHI & RADHA B.D.   657 MIDDLETOWN AVENUE                                                                                    NEW HAVEN          CT   06513
NARUMANCHI
RADHAKRISHNA, SEETHARAMIAH           10209 TENAVA CT                                                                                          AUSTIN            TX    78726‐1374
RADHIKA CHERUKURU                    APT C                                 3213 STONEBURG COURT                                               GREENSBORO        NC    27409‐8821
RADHIKA RAJAPPA                      18867 ARLEEN CT                                                                                          LIVONIA           MI    48152‐1966
RADI‐O‐SOUND COMMUNICATIONS          535 E STATE ST                                                                                           SALEM             OH    44460‐2932
RADIA, RAJIV J                       8570 SPYGLASS DR                                                                                         DULUTH            GA    30097‐6651
RADIA, VISHAKHA                      1899 VINSETTA CT                                                                                         ROCHESTER HILLS   MI    48306‐1645
RADIAC ABRASIV/SALEM                 1015 S COLLEGE ST                                                                                        SALEM             IL    62881‐2428
RADIADORES RICHARD SA                TTE GRAL PERON 1628 S5 P                                                     BUENOS AIRES ARGENTINA
RADIAL TIRE                          9810 WATERMAN RD                                                                                         ELK GROVE          CA 95624‐4015
RADIALL                              101 RUE PHILIBERT HOFFMANN                                                   ROSNY SOUS BOIS 93110
                                                                                                                  FRANCE
RADIALL                              6825 W GALVESTON ST                   STE 11                                                             CHANDLER          AZ 85226‐2517
RADIALL ANTENNA TECHNOLOGIES INC     3611 NE 112TH AVE                                                                                        VANCOUVER         WA 98682‐8708

RADIALL INCORPORATED                 3611 NE 112TH AVE                                                                                        VANCOUVER         WA 98682‐8708
RADIALL/MEXICO                       PRIVADA DE LOS MURRIETA 35            COL PARQUE INDUSTRIAL SAN              SONORA /NOGALES MX
                                                                           RAMON                                  84000 MEXICO
RADIAN CORP                          PO BOX 841687                                                                                            DALLAS             TX 75284‐1687
RADIANCE IND/CHESTER                 PO BOX 230411                                                                                            FAIR HAVEN         MI 48023‐5218
RADIANCE MOLD & ENGINEERING          ATTN: CORPORATE OFFICER/AUTHORIZED    PO BOX 230411                                                      FAIR HAVEN         MI 48023‐0411
                                     AGENT
RADIANCE MOLD & ENGINEERING
RADIANCE MOLD & ENGINEERING INC      28195 KEHRIG ST                                                                                          CHESTERFIELD       MI 48047‐5218
RADIANCE MOLD & ENGINEERING, INC.    28195 KEHRIG DRIVE                                                                                       CHESTERFIELD       MI 48047

RADIANCE MOLD & ENGINEERING, INC.     ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 230411                                                      FAIR HAVEN         MI 48023‐0411
                                      AGENT
RADIANCE MOLD & ENGR INC              PO BOX 230411                                                                                           FAIR HAVEN         MI   48023‐5218
RADIANCE TECHNOLOGIES INC             2901 TASMAN DR STE 113                                                                                  SANTA CLARA        CA   95054‐1137
RADIANT COMMUNICATIONS                1490 S LINDEN RD                                                                                        FLINT              MI   48532‐4178
RADIANT COMMUNICATIONS                1600 S OPDYKE RD                                                                                        PONTIAC            MI   48341‐3152
RADIANT LOGISTICS GLOBAL SERVICES INC 14789 COLLECTION CENTER DR                                                                              CHICAGO            IL   60693‐0147

RADIANT LOGISTICS PARTNER            THOMAS TIMPF                          1227 120TH AVE NE                                                  BELLEVUE          WA 98005‐2121
RADIANT LOGISTICS PARTNERS LLC       THOMAS TIMPF                          1227 120TH AVE NE                                                  BELLEVUE          WA 98005‐2121
RADIATEUR M.R. (1995) INC.           465 RUE BERTRAND                                                             TROIS‐RIVIERES QC G8T 5Y4
                                                                                                                  CANADA
RADIATEUR SPECIALITE                 1361 BLVD DU ROYAUME                                                         JONQUIERE QC G7X 7V3
                                                                                                                  CANADA
RADIATION PROTECTION SERVICES        1153 ROUTE 3 NORTH STE 82                                                                                GAMBRILLS         MD 21054
RADIATION SERVICES OF INDIANA        422 PARK 800 DR                                                                                          GREENWOOD         IN 46143‐9525
RADIATOR ENGINEERING                 4000 INTERNATIONAL BLVD                                                                                  OAKLAND           CA 94601‐4014
RADICAL PERFORMANCE                  22 JUTLAND RD. UNIT E                                                        TORONTO ON M8Z 2G9
                                                                                                                  CANADA
RADICAN, CAROLYN S.                  6830 PARK SQUARE DR APT B                                                                                AVON              IN    46123‐8899
RADICAN, HERALD                      WEITZ & LUXENBERG                     180 MAIDEN LANE                                                    NEW YORK          NY    10038
RADICAN, MARY W                      21631 PRIDAY AVENUE                                                                                      EUCLID            OH    44123‐2680
RADICH, TIMOTHY J                    950 MURNAN RD                                                                                            GALLOWAY          OH    43119
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Name                                 Address1                        Address2                       Address3        Address4            City            State Zip
RADICK, ALBERT J                     401 DELAWARE AVE                                                                                   WILMINGTON       DE 19804‐3026
RADICK, CLARA N                      401 DELAWARE AVE                                                                                   WILMINGTON       DE 19804‐3026
RADICK, JAMES P                      3415 DUTCHER RD                                                                                    HOWELL           MI 48843‐9644
RADICK, LOUIS M                      HIGHLANDS @ NEW CASTLE PLACE    12600 NORTH PORT               WASHINGTON RD                       MEQUON           WI 53092
RADICK, PAMELA J                     2236 S FENNER RD                                                                                   CARO             MI 48723‐9671
RADICK, WALTER N                     4619 CARO RD                                                                                       VASSAR           MI 48768‐9721
RADIE BISHOP                         2887 MCINTIRE RD                                                                                   MORROW           OH 45152‐9581
RADIE, JOHANNA F                     144 OLD CHAPIN RD APT 11B                                                                          LEXINGTON        SC 29072‐2049
RADIG, NANCY                         1734 S PARK AVE                                                                                    TITUSVILLE       FL 32780‐3312
RADIG, NANCY                         1734 S. PARK AVE.                                                                                  TITUSVILLE       FL 32780‐3312
RADIGAN EDWARD                       2844 KILKIERANE DR                                                                                 TALLAHASSEE      FL 32309‐2661
RADIGAN, MARGARET A                  45574 W MEADOWS LN                                                                                 MARICOPA         AZ 85239‐6775
RADIKA STEVEN (355960)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510
                                                                     STREET, SUITE 600
RADIKA, STEVEN                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510‐2212
                                                                     STREET, SUITE 600
RADIMECKY, JOAN C                    141 VERMONT DRIVE                                                                                  MANTENO         IL   60950
RADIMECKY, JOAN C                    141 VERMONT DR                                                                                     MANTENO         IL   60950‐1377
RADIN, GEORGE K                      1318 E 2350TH RD                                                                                   EUDORA          KS   66025‐9278
RADINA, KURT A                       11970 HOLLAND RD                                                                                   REESE           MI   48757‐9309
RADINOVICH, JOHN                     10110 SHERWOOD RD                                                                                  FOWLERVILLE     MI   48836‐9768
RADIO 1540                           622 COLLEGE STREET, 4TH FLOOR                                                  TORONTO ON CANADA
RADIO AMERICA                        1100 N GLEBE RD STE 900                                                                            ARLINGTON       VA 22201‐5767
RADIO FUN INTERNATIONAL INVESTMENT
LIMITED
RADIO MUSICAL FM 106.3               30 N SAGINAW ST                                                                                    PONTIAC         MI 48342‐2161
RADIO ONE                            ALFRED LIGGINS, III             5900 PRINCESS GARDEN PARKWAY   7TH FLOOR                           LANHAM          MD 20706

RADIO ONE INC KKBT‐FM                BANK OF AMERICA                 FILE 56592                                                         LOS ANGELES     CA   90074‐6592
RADIO ONE OF TEXAS LP                PO BOX 847339                                                                                      DALLAS          TX   75284‐7339
RADIO PARTS CO                       RM ELECTRONICS                  650 ALPHA DR                                                       PITTSBURGH      PA   15238‐2802
RADIO PARTS CO                       650 ALPHA DR                                                                                       PITTSBURGH      PA   15238‐2802
RADIO SHACK                          JAIME CABELLERO                 100 THROCKMORTON                                                   FORT WORTH      TX   76102
RADIO TRANSFER EXPEDITERS            2600 5 MILE RD NE                                                                                  GRAND RAPIDS    MI   49525
RADIOLOGIC IMAGING C                 PO BOX 780                                                                                         SAINT CHARLES   MO   63302‐0780
RADIOLOGICAL ASSOC/SACRAMENTO        PO BOX 160008                                                                                      SACRAMENTO      CA   95816‐0008
RADIOLOGICAL PHY/NAS                 239 CLIFFDALE RD                                                                                   NASHVILLE       TN   37214‐2114
RADIOLOGICAL PHY/TN                  PO BOX 140910                                                                                      NASHVILLE       TN   37214‐0910
RADIOLOGICAL PHYSICS ASSOCIATION     PO BOX 140910                                                                                      NASHVILLE       TN   37214‐0910
RADIOLOGY ALLIANCE P                 PO BOX 440166                                                                                      NASHVILLE       TN   37244‐0166
RADIOLOGY ASSOC BFLO                 PO BOX 1333                                                                                        BUFFALO         NY   14240‐1333
RADIOLOGY ASSOC OF MUNCIE INC        PO BOX 1270                                                                                        MUNCIE          IN   47308‐1270
RADIOLOGY ASSOC OF T                 PO BOX 93337                                                                                       FORT WORTH      TX   76199‐0001
RADIOLOGY ASSOCIATES                 PO BOX 757                                                                                         MANSFIELD       OH   44901‐0757
RADIOLOGY ASSOCS THE                 PO BOX 225                                                                                         PAOLI           PA   19301‐0225
RADIOLOGY CONSULTANT                 5352 BECKLEY RD STE C                                                                              BATTLE CREEK    MI   49015‐4155
RADIOLOGY EDUCATION SEMINARS         4721 TROUSDALE DR STE 120                                                                          NASHVILLE       TN   37220‐1370
RADIOLOGY IMAGING AS                 PO BOX 3509                                                                                        SHREVEPORT      LA   71133‐3509
RADIOLOGY INCORPORAT                 DEPT L647                                                                                          COLUMBUS        OH   43260‐01
RADIOLOGY INCORPORAT                 DEPARTMENT L‐647                                                                                   COLUMBUS        OH   43260‐0001
RADIOLOGY INCORPORAT                 DEPT L 647                                                                                         COLUMBUS        OH   43260‐0001
RADIOLOGY MUSKEGON P                 PO BOX 208                                                                                         MUSKEGON        MI   49443‐0208
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Name                                  Address1                         Address2                Address3       Address4               City               State Zip
RADIOLOGY OF HUNTSVI                  20006 FRANKLIN STREET SUITE 20                                                                 HUNTSVILLE          AL 35801
RADIOLOGY SERVICES O                  PO BOX 20238                                                                                   CANTON              OH 44701‐0238
RADIOLOGY SPECIALIST                  PO BOX 50709                                                                                   HENDERSON           NV 89016‐0709
RADIOLOGY SUB SPECIA                  PO BOX 6550                                                                                    SAGINAW             MI 48608‐6550
RADIONOFF, LEONARD                    3518 LINKWOOD DR                                                                               HOUSTON             TX 77025‐3731
RADIONOFF, STEPHEN                    799 YACKS DR                                                                                   BEULAH              MI 49617‐9119
RADIOSHACK                            COMMERCIAL SALES DIVISION        300 TRINITY CAMPUS DR   MS # EF7‐105                          FORT WORTH          TX 76102‐1901
RADISEK, JOSEF                        24690 HAWTHORNE DR                                                                             EUCLID              OH 44117‐1909
RADISOVICH, WALTER P                  21901 SUMPTER RD                                                                               BELLEVILLE          MI 48111‐9098
RADISSON AIRP/ST LOU                  11228 LONE EAGLE DR                                                                            BRIDGETON           MO 63044‐2739
RADISSON BAY/TAMPA                    7700 W COURTNEY CAMPBELL CSWY                                                                  TAMPA               FL 33607‐1430
RADISSON GRA/FORT MI                  375 STAR LIGHT DR                                                                              FORT MILL           SC 29715‐8357
RADISSON HOT/ENGLEWO                  401 SOUTH VAN BRUNT STREET                                                                     ENGLEWOOD           NJ 07631
RADISSON HOT/NEWARK                   128 FRONTAGE RD                                                                                NEWARK              NJ 07114‐3721
RADISSON HOT/UTICA                    200 GENESEE ST                                                                                 UTICA               NY 13502‐4307
RADISSON HOTEL                        4243 GENESEE ST                                                                                CHEEKTOWAGA         NY 14225
RADISSON HOTEL ‐ LEXINGTON            RADISSON HOTEL NY EASTSIDE       511 LEXINGTON AVE                                             NEW YORK            NY 10017‐2017
RADISSON HOTEL DETROIT ‐ BLOOMFIELD   39475 WOODWARD AVE                                                                             BLOOMFIELD HILLS    MI 48304‐5023
HILLS
RADISSON HOTEL/CROMW                  100 BERLIN RD                                                                                  CROMWELL           CT    06416‐2603
RADISSON INN/MADISON                  517 GRAND CANYON DR                                                                            MADISON            WI    53719‐1032
RADISSON KINGSLEY HOTEL               39475 WOODWARD AVE                                                                             BLOOMFIELD HILLS   MI    48304‐5023
RADISSON MART/MIAMI                   711 NW 72ND AVE                                                                                MIAMI              FL    33126‐3001
RADISSON N.O./KENNER                  2150 VETERANS MEMORIAL BLVD                                                                    KENNER             LA    70062‐5427
RADISSON ORANG/IRVIN                  18800 MACARTHUR BLVD                                                                           IRVINE             CA    92612‐1410
RADISSON PHO/PHOENIX                  3333 E UNIVERSITY DR                                                                           PHOENIX            AZ    85034‐7215
RADISSON PLAZ/STHFLD                  1500 TOWN CTR                                                                                  SOUTHFIELD         MI    48075‐1141
RADISSON PLAZA HOTEL SASKATCHEWAN     2125 VICTORIA AVENUE                                                    REGINA CANADA SK S4P
                                                                                                              OS3 CANADA
RADISSON PLAZA/CHARL                  101 S. TRYON STREET                                                                            CHARLOTTE          NC    28280
RADISSON PLAZA/KALAM                  100 W MICHIGAN AVE                                                                             KALAMAZOO          MI    49007‐3965
RADISSON QUAL/SEATTL                  17001 PACIFIC HIGHWAY SOUTH                                                                    SEATAC             WA    98188
RADISSON RESORT                       1275 S HURON ST                                                                                YPSILANTI          MI    48197‐7020
RADISSON ROAD/CHTNGA                  827 BROAD STREET                                                                               CHATTANOOGA        TN    37402
RADISSON STE/HOUSTON                  1400 OLD SPANISH TRL                                                                           HOUSTON            TX    77054‐1816
RADISSON STE/KANSAS                   106 W 12TH ST                                                                                  KANSAS CITY        MO    64105‐1902
RADISSON SUI/BUFFALO                  601 MAIN STREET                                                                                BUFFALO            NY    14203
RADISSON SUITE/FARMI                  37529 GRAND RIVER AVE                                                                          FARMINGTN HLS      MI    48335‐2879
RADISSON/ALBUQUERQUE                  1901 UNIVERSITY BLVD SE                                                                        ALBUQUERQUE        NM    87106‐3928
RADISSON/BLOOMINGTON                  7800 NORMANDALE BLVD                                                                           MINNEAPOLIS        MN    55439‐3147
RADISSON/BOCA RATON                   999 E CAMINO REAL                                                                              BOCA RATON         FL    33432‐6311
RADISSON/CLEARWATER                   1201 GULF BLVD                                                                                 CLEARWATER         FL    33767‐2746
RADISSON/HEBRON                       CINC/NORTH KY INT'L AIRPORT                                                                    HEBRON             KY    41048
RADISSON/LISLE                        3000 WARRENVILLE RD                                                                            LISLE               IL   60532‐0917
RADISSON/MINNEAPOLIS                  615 WASHINGTON AVE. SE                                                                         MINNEAPOLIS        MN    55414
RADISSON/ROCHESTER                    175 JEFFERSON RD                                                                               ROCHESTER          NY    14623‐2138
RADISSON/SACRAMENTO                   500 LEISURE LN                                                                                 SACRAMENTO         CA    95815‐4207
RADISSON/SAN DIEGO                    1433 CAMINO DEL RIO S                                                                          SAN DIEGO          CA    92108‐3521
RADISSON/SCOTTSDALE                   7171 N SCOTTSDALE RD                                                                           SCOTTSDALE         AZ    85253‐3630
RADISSON/SOUTHBURY                    1284 STRONGTOWN RD                                                                             SOUTHBURY          CT    06488‐1971
RADISSON/TREVOSE                      2400 OLD LINCOLN HWY                                                                           TREVOSE            PA    19053‐6805
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Name                           Address1                         Address2                         Address3   Address4         City             State Zip
RADISYS CORP                   CHRIS SAMPLE                     515 SOUTH FLOWER ST, 3RD FLOOR                               LOS ANGELES       CA 90071

RADITH WALKER                  4041 GRANGE HALL RD LOT 191                                                                   HOLLY            MI   48442‐1900
RADJA, VIRGLEN C               11618 GLENVIEW DR                                                                             ORLAND PARK      IL   60467‐7121
RADKA, DALE W                  1067 S 9TH ST                                                                                 AU GRES          MI   48703‐9560
RADKA, FLORENCE H              75 HECLA ST                                                                                   BUFFALO          NY   14216‐1606
RADKA, GEORGE M                31 SAINT LUCIAN CT                                                                            CHEEKTOWAGA      NY   14225‐2247
RADKA, KYLE NEWMAN             306 CEDARWOOD DR                                                                              FLUSHING         MI   48433‐1873
RADKA, WILLARD J               1672 KERN RD                     P.O. BOX 326                                                 REESE            MI   48757‐9454
RADKE EDWARD                   1655 FM 477                                                                                   SEGUIN           TX   78155‐1064
RADKE JR, ALFRED               100 PLANK HILL RD                                                                             BRISTOL          CT   06010‐2561
RADKE, ALBERT                  6323 SAND PIPPERS DR                                                                          LAKELAND         FL   33809
RADKE, ARTHUR C                1217 PARKDALE ST                                                                              LANSING          MI   48910‐1880
RADKE, BETTY                   4152 FOUR LAKES AVENUE                                                                        LINDEN           MI   48451‐9445
RADKE, CASEY A                 4577 CLEARVIEW DR                                                                             CLARKSTON        MI   48348‐4005
RADKE, DAVID A                 1067 GULICK RD                                                                                HASLETT          MI   48840‐9108
RADKE, DORIS F                 1126 SUMMERGREEN LN                                                                           LANSING          MI   48917‐9283
RADKE, EARL D                  26723 FREDERICK AVE                                                                           COLUMBIA STA     OH   44028‐9702
RADKE, EUGENE S                4241 ISLAND PARK DR                                                                           WATERFORD        MI   48329‐1916
RADKE, EUGENE STANLEY          4241 ISLAND PARK DR                                                                           WATERFORD        MI   48329‐1916
RADKE, GERALDINE F             1217 PARKDALE ST                                                                              LANSING          MI   48910‐1880
RADKE, HAROLD P                17024 TREMLETT DR                                                                             CLINTON TWP      MI   48035‐2384
RADKE, HELEN C                 1524 BIANCA WAY                                                                               GILROY           CA   95020‐2617
RADKE, JACK E                  1663 WILTSHIRE DR                                                                             BRUNSWICK        OH   44212‐3658
RADKE, JAN R                   4790 BURLINGAME AVE SW                                                                        WYOMING          MI   49509‐4903
RADKE, JANET                   55 W BAGLEY RD APT 309                                                                        BEREA            OH   44017‐1997
RADKE, JANET C                 4414 OZARK AVE                                                                                NORTH PORT       FL   34287‐3946
RADKE, JOANN V                 9950 BYRON HWY                                                                                BRENTWOOD        CA   94513‐3816
RADKE, JOHN K                  1700 BARR RD                                                                                  OXFORD           MI   48371‐6209
RADKE, JOHN KARL               1700 BARR RD                                                                                  OXFORD           MI   48371‐6209
RADKE, MATHEW J                4577 CLEARVIEW DR                                                                             CLARKSTON        MI   48348‐4005
RADKE, MICHAEL                 4577 CLEARVIEW DR                                                                             CLARKSTON        MI   48348‐4005
RADKE, RAYMOND R               50 N 21ST ST APT 63                                                                           LAS VEGAS        NV   89101‐5024
RADKE, SANDRA L                6439 MEANDER GLEN DR                                                                          AUSTINTOWN       OH   44515‐2175
RADKE, VERONICA R              4241 ISLAND PARK DR                                                                           WATERFORD        MI   48329‐1916
RADKE, VERONICA REYES          4241 ISLAND PARK DR                                                                           WATERFORD        MI   48329‐1916
RADKE, WILLIAM H               2381 BEAVER RD                                                                                MIDLAND          MI   48642‐9229
RADKE‐WENDEL, JOYCE A          8156 ORA LAKE RD                                                                              HALE             MI   48739‐8904
RADKOWSKI, MATTHEW J           50 PHILADELPHIA ST                                                                            BUFFALO          NY   14207‐1626
RADL, EMMA                     3500 W CHESTER PIKE CH23                                                                      NEWTOWN SQUARE   PA   19073
RADLE ROBERT A & ILENE AND     KIMMEL & SILVERMAN               30 E BUTLER AVE                                              AMBLER           PA   19002‐4514
RADLER ENTERPRISES TEXAS INC   14450 T C JESTER BLVD STE 100                                                                 HOUSTON          TX   77014‐1332
RADLER JR, JOHN                22 BRENWAL AVE                                                                                EWING            NJ   08618‐1741
RADLEY CHEVROLET               3670 JEFFERSON DAVIS HWY                                                                      FREDERICKSBURG   VA   22408‐4160
RADLEY DOMESTIC AUTOMOBILES    KAREN RADLEY                     3421 JEFFERSON DAVIS HWY                                     FREDERICKSBURG   VA   22401‐4160
RADLEY IMPORTS INCORPORATED    KAREN RADLEY                     3670 JEFFERSON DAVIS HWY                                     FREDERICKSBURG   VA   22408‐4160
RADLEY RAYMOND R (410885)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510
                                                                STREET, SUITE 600
RADLEY, FLORENCE               23 ATWATER DR                                                                                 SAINT PETERS     MO 63376‐3113
RADLEY, JAMES E                19026 LAUREL DR                                                                               LIVONIA          MI 48152‐4809
RADLEY, LOTTIE S               4953 DUDLEY ST                                                                                DEARBORN HTS     MI 48125‐2609
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Name                             Address1                           Address2                        Address3   Address4         City            State Zip
RADLEY, RAYMOUND R               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                                    STREET, SUITE 600
RADLICK, ALAN R                  226 JONATHON DR                                                                                ALMONT          MI   48003‐8972
RADLICK, JON M                   50203 BUCCANEER DR                                                                             MACOMB          MI   48044‐1217
RADLICK, MARY ALICE              1220 41ST AVENUE EAST                                                                          ELLENTON        FL   34222‐2540
RADLICK, MARY ALICE              1220 41ST AVE E                                                                                ELLENTON        FL   34222
RADLICK, MELVIN                  37647 ADRIAN DR                                                                                STERLING HTS    MI   48310‐4010
RADLICK, NORBERT                 36651 TULANE DR                                                                                STERLING HTS    MI   48312‐2866
RADLICK, PATRICIA J              12889 BRIGHTON CIR                                                                             CARMEL          IN   46032‐8621
RADLICK, SHIRLEY E               24357 ROSEWOOD AVE                                                                             TAYLOR          MI   48180‐6804
RADLICKI, MARK D                 2003 KINGSTON DR                                                                               PINCKNEY        MI   48169‐8550
RADLICKI, MARK DAVID             2003 KINGSTON DR                                                                               PINCKNEY        MI   48169‐8550
RADLIFF, CHARLES E               2926 MAYOR DR                                                                                  KOKOMO          IN   46902‐3593
RADLIFF, MARY JANE L             802 S 90TH ST                                                                                  WEST ALLIS      WI   53214‐2830
RADLOFF JACK ESTATE OF           10094 GLEN EAGLE LN                                                                            TWINSBURG       OH   44087‐2648
RADLOFF, BRUCE D                 8248 INTERLAKEN BEACH RD                                                                       INTERLAKEN      NY   14847
RADLOFF, HAROLD C                5861 L. L. ROAD                                                                                GARDEN          MI   49835
RADLOFF, LARRY A                 9411 COUNTY ROAD 21N                                                                           STRYKER         OH   43557‐9776
RADLOFF, LARRY ALLEN             9411 COUNTY ROAD 21N                                                                           STRYKER         OH   43557‐9776
RADLOFF, SCOTT                   607 FAIRWAY DR                                                                                 CASSELTON       ND   58012‐3817
RADLOFF, TODD W                  3405 HAMPSHIRE RD                                                                              JANESVILLE      WI   53546‐2221
RADLOFF, VETA B.                 4344 RACHEL BLVD                                                                               SPRING HILL     FL   34607‐2532
RADLOFF,BRUCE D                  8248 INTERLAKEN BEACH RD                                                                       INTERLAKEN      NY   14847
RADMAN, ANTHONY J                46139 RIVERWOODS DR                                                                            MACOMB          MI   48044‐5759
RADMAN, IVAN                     606 68TH ST                                                                                    DOWNERS GROVE   IL   60516‐3642
RADMAN, STACY L                  46139 RIVERWOODS DR                                                                            MACOMB          MI   48044‐5759
RADMANOVICH, G                   EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                         DETROIT         MI   48265‐2000

RADMER WILLIAM D (660933)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                                    STREET, SUITE 600
RADMER, DIANE M                  1904 BURBANK AVE                                                                               JANESVILLE      WI   53546‐5960
RADMER, DIANE M                  1904 W BURBANK AVE                                                                             JANESVILLE      WI   53546‐5960
RADMER, RONALD R                 675 S MARTINIQUE CT                                                                            GILBERT         AZ   85233‐7106
RADMER, WILLIAM D                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                                    STREET, SUITE 600
RADNEY JR, ROBERT T              41979 SARATOGA CIR                                                                             CANTON          MI   48187‐3537
RADNEY, ALANDA O                 245 MCCART RD NE                                                                               CONYERS         GA   30013‐1458
RADNEY, ANNABELLE                2942 MINNIE AVE                                                                                CLEVELAND       OH   44104‐4042
RADNEY, BARBARA A                19146 SANTA BARBARA DR                                                                         DETROIT         MI   48221‐1625
RADNEY, BYRON                    245 MCCART RD NE                                                                               CONYERS         GA   30013‐1458
RADNEY, LILLIAN I                18701 SUSSEX ST                                                                                DETROIT         MI   48235‐2881
RADNEY, ROBERT T                 41979 SARATOGA CIR                                                                             CANTON          MI   48187‐3537
RADNEY, SANDRA                   41979 SARATOGA CIR                                                                             CANTON          MI   48187‐3537
RADNEY, VICTOR D                 18701 SUSSEX ST                                                                                DETROIT         MI   48235‐2881
RADNOR CURD                      311 WATER ST                                                                                   BAKERSVILLE     NC   28705‐7204
RADNOR TOWNSHIP                                                     301 IVEN AVE                                                                PA   19087
RADO BILL (447127) ‐ RADO BILL   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
                                                                    PROFESSIONAL BLDG
RADO, BILL                       BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                                    PROFESSIONAL BLDG
RADO, CHARLOTTE                  405 PORTER DR                                                                                  ENGLEWOOD       OH 45322‐2312
RADO, JOSEPH                     4441 THORNAPPLE CIR                                                                            BURTON          MI 48509‐1255
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Name                          Address1                            Address2                       Address3   Address4              City               State Zip
RADO, LOUIS C                 405 PORTER DR                                                                                       ENGLEWOOD           OH 45322‐2312
RADO, MARGUERITE A            6521 GARBER RD                                                                                      DAYTON              OH 45415
RADO, ROBERT T                1425 FARINGDON DR                                                                                   PLANO               TX 75075‐2721
RADO, THOMAS E                16265 COUNTY ROAD 32                                                                                BELLEVUE            OH 44811‐9590
RADO, WILLIAM C               408 ASBURY LN                                                                                       NILES               OH 44446‐2851
RADOCAY, ROBERT               294 MERRIMAN RD                                                                                     SEWICKLEY           PA 15143‐2475
RADOCHA, ANDREW M             573 DICES SPRING RD                                                                                 WEYERS CAVE         VA 24486‐2307
RADOCHONSKI, SANDRA J         9029 PARK HILL COURT                                                                                HICKORY HILLS        IL 60457‐7202
RADOCHONSKI, SANDRA JO        9029 PARK HILL COURT                                                                                HICKORY HILLS        IL 60457‐7202
RADOCK, PETER J               PO BOX 127                                                                                          MARLBOROUGH         MA 01752‐0127
RADOICIC, ANGELA D            2651 ORMSBY DR                                                                                      STERLING HEIGHTS    MI 48310‐6972
RADOICIC, JEFFREY             49272 BERKSHIRE DR                                                                                  CHESTERFIELD        MI 48047‐1769
RADOICIC, JOHN                2651 ORMSBY DR                                                                                      STERLING HEIGHTS    MI 48310‐6972
RADOJCICH, DENNIS R           1988 STONEBRIDGE DR N                                                                               ANN ARBOR           MI 48108‐8587
RADOJKA NENADIC               5504 N PITTSBURGH AVE                                                                               CHICAGO              IL 60656‐1443
RADOLOGY PROFESSIONA          16101 SNOW RD STE 102                                                                               CLEVELAND           OH 44142‐2817
RADOMINSKI, MARK M            192 ORCHARD PL                                                                                      LACKAWANNA          NY 14218‐1706
RADOMINSKI, RICHARD W         103 RAYMOND AVE                                                                                     CHEEKTOWAGA         NY 14227‐1308
RADOMIR DJUROVIC              32716 EXETER DR                                                                                     WARREN              MI 48092‐1125
RADOMIR MILOSAVLEVSKI         16319 RICHFIELD ST                                                                                  LIVONIA             MI 48154‐1424
RADOMSKI, THOMAS A            53858 FRANKLIN DR                                                                                   SHELBY TOWNSHIP     MI 48316‐2310
RADOMSKY, BRIDGETTE K         2520 CACTUS WAY                                                                                     CHEYENNE            WY 82009‐5255
RADOMSKY, SAMUEL J            PO BOX 1249                                                                                         STANDISH            MI 48658‐1249
RADON, FREDERICK A            1220 BELVIDERE ST                                                                                   EL PASO             TX 79912‐1829
RADON, GLORIA J               1436 CAGLE LOOP RD                                                                                  SEAGROVE            NC 27341‐8080
RADON, JOHN                   1191 MARKS RD                                                                                       VALLEY CITY         OH 44280‐9728
RADON, KATHLEEN               1220 BELVIDERE ST                                                                                   EL PASO             TX 79912‐1829
RADON, ROBERT A               4213 CHERYL DR                                                                                      FLINT               MI 48506‐1405
RADONICH, ANDREW M            13795 CHILLICOTHE RD                                                                                NOVELTY             OH 44072‐9513
RADONICH, GERTRUDE K          1016 WEBSTER ST.                                                                                    FARRELL             PA 16121‐1230
RADONICH, MATTHEW A           1001 HURON RD E APT 704                                                                             CLEVELAND           OH 44115‐1716
RADONISKY, RICHARD A          30 DRESSAGE PL                                                                                      FREEHOLD            NJ 07728‐9374
RADOS LOUIS S (404822)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                  STREET, SUITE 600
RADOS, ANTE                   35601 HOBBIE DR                                                                                     EASTLAKE           OH   44095‐2312
RADOS, APOLINA L              9 QUEENS PL                                                                                         ORCHARD PARK       NY   14127‐2269
RADOS, DRAGICA                36201 VALLEY RIDGE DR                                                                               EASTLAKE           OH   44095‐2365
RADOS, LOUIS S                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
RADOSA JOSEPH P SR (469975)   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                    SAGINAW             MI 48604‐2602
                                                                  260
RADOSA, JOSEPH P              GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                    SAGINAW             MI 48604‐2602
                                                                  260
RADOSH, MARK A                7212 E DIEHL LAKE DR                                                                                BERLIN CENTER      OH   44401‐9659
RADOSH, WALTER A              6749 BRIGHAM ST                                                                                     PORTAGE            MI   49024‐3114
RADOSH, WALTER M              5527 CRABTREE RD                                                                                    BLOOMFIELD HILLS   MI   48301‐1202
RADOSKY, MARK R               126 VERMONT AVE                                                                                     LOCKPORT           NY   14094‐5732
RADOSKY, STANLEY J            7361 BISHOP RD                                                                                      APPLETON           NY   14008‐9633
RADOSLAV BARESIC              MATESICA #22 DIKLO                                                            ZADAR 23000 CROATIA
RADOSLAV DIMITRIJEVSKI        8821 KNOLSON AVE                                                                                    LIVONIA            MI 48150‐3309
RADOSLAVA ZOVKO               1648 N SHORE DR                                                                                     PAINESVILLE        OH 44077‐4679
RADOVAN BERAR                 1708 HAMMAN DR                                                                                      TROY               MI 48085‐5039
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Name                                  Address1                         Address2                        Address3   Address4               City           State Zip
RADOVAN PAREZ                         1135 BRIGHT GLEN CIR                                                                               WESTLAKE VLG    CA 91361‐3319
RADOVANOVIC, RADA                     2532 CHATEAU AVENUE                                                         WINDSOR ON N8P 1N2
                                                                                                                  CANADA
RADOVANOVICH, NEVENKA                 37054 COLGATE CT                                                                                   STERLING HTS   MI 48310‐4042
RADOVCIC MARKO (ESTATE OF) (651478)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
RADOVCIC, MARKO                       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
RADOVIC, BERNARD                      APT 412                          2120 ROBBINS AVENUE                                               NILES          OH   44446‐3964
RADOVIC, DUSANKA                      36522 BAGDAD DR                                                                                    STERLING HTS   MI   48312‐3013
RADOVIC, MARY                         1101 EAST AVE SE                                                                                   WARREN         OH   44484‐4901
RADOWICK, BETTY R                     147 HENDERSON DR LOT #218                                                                          STATESVILLE    NC   28677
RADOWICK, GEORGE R                    117 N OSBORN AVE                                                                                   YOUNGSTOWN     OH   44509‐2031
RADOWICK, JEAN A                      8501 HUNTERS TRACE LN                                                                              PLANO          TX   75024‐7706
RADOWICK, MARGARET                    2269 NIAGARA DRIVE                                                                                 TROY           MI   48083‐5669
RADOWICK, RAYANN R                    224 EDWARDS AVE                                                                                    CANFIELD       OH   44406‐1412
RADOWICK, RYAN R                      1997 HEATHER LN                                                                                    YOUNGSTOWN     OH   44511‐1253
RADOWIEC, GREGORY W                   4515 ROCHESTER RD                                                                                  TROY           MI   48085‐5715
RADOWIEC, GREGORY WILLIAM             4515 ROCHESTER RD                                                                                  TROY           MI   48085‐5715
RADOYCIS, LAVERNE                     924 SANTA ANITA DR                                                                                 WOODSTOCK      GA   30189‐7184
RADSACK, EDWARD R                     2709 PINE RIDGE DR                                                                                 ANOKA          MN   55303‐6504
RADSACK, IRENE L                      2709 PINE RIDGE DR                                                                                 ANOKA          MN   55303‐6504
RADTECH AUTO REPAIR                   321 REXDALE BLVD UNIT 4                                                     ETOBICOKE ON M9W 1R8
                                                                                                                  CANADA
RADTKA TEDDY E                        3483 ELLSWORTH BAILEY RD SW                                                                        WARREN         OH   44481‐9200
RADTKA TEDDY E & FREDIA G             3483 ELLSWORTH BAILEY RD SW                                                                        WARREN         OH   44481‐9200
RADTKA, CINDY L                       198 STRATFORD LN                                                                                   LAKE ORION     MI   48360‐1352
RADTKA, JOSEPH J                      665 W HURON RIVER DR                                                                               BELLEVILLE     MI   48111‐2613
RADTKA, JOSEPH JOHN                   665 W HURON RIVER DR                                                                               BELLEVILLE     MI   48111‐2613
RADTKA, RAY R                         44625 MARIGOLD DR                                                                                  STERLING HTS   MI   48314‐1224
RADTKE CARL O                         1365 ABERCROMBIE WAY                                                                               THE VILLAGES   FL   32162‐7700
RADTKE ERNEY O (355155)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK        VA   23510
                                                                       STREET, SUITE 600
RADTKE JR, DONALD H                   205 EVEREST RD                                                                                     MILTON         VT   05468‐3440
RADTKE JR, DONALD HENRY               205 EVEREST ROAD                                                                                   MILTON         VT   05468‐3440
RADTKE, ANN MARIE                     30112 FLORENCE                                                                                     GARDEN CITY    MI   48135‐2628
RADTKE, DAVID E                       13403 MAPLE LAWN DRIVE                                                                             SHELBY TWP     MI   48315‐2305
RADTKE, DAVID R                       1039 MONTICELLO PL                                                                                 GALLATIN       TN   37066‐4853
RADTKE, DAVID ROY                     1039 MONTICELLO PL                                                                                 GALLATIN       TN   37066‐4853
RADTKE, DORIS E                       1001 SELDEN RD APT A                                                                               IRON RIVER     MI   49935‐8900
RADTKE, DORIS E                       1001 SELDEN ROAD APT A                                                                             IRON RIVER     MI   49935
RADTKE, DOUGLAS A                     PO BOX 9022                      GM KOREA                                                          WARREN         MI   48090‐9022
RADTKE, DOUGLAS R                     5407 LONE PINE CT                                                                                  BRIGHTON       MI   48116‐8876
RADTKE, ERIC B                        83 HALDANE DR                                                                                      TROY           MI   48098‐2902
RADTKE, ERNEY O                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK        VA   23510‐2212
                                                                       STREET, SUITE 600
RADTKE, GERTRUDE W                    2349 GAYNOR AVE NW                                                                                 GRAND RAPIDS   MI   49544‐1828
RADTKE, JEROME I                      4291 COASH RD                                                                                      VANDERBILT     MI   49795‐9502
RADTKE, KAREN S                       353 S YORK ST                                                                                      DEARBORN       MI   48124‐1441
RADTKE, LEONARD P                     22281 RAVEN AVE                                                                                    EAST DETROIT   MI   48021‐2645
RADTKE, LILLIAN A                     5946 ALAN DR APT 34                                                                                BRIGHTON       MI   48116‐8503
RADTKE, MARY E                        236 10 MILE RD NW                                                                                  SPARTA         MI   49345‐8300
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Name                        Address1                         Address2            Address3         Address4             City                 State Zip
RADTKE, MELVIN E            3499 SARATOGA DR                                                                           HAMILTON              OH 45011‐8002
RADTKE, MYRA M              5566 THOMPSON RD                                                                           CLARENCE              NY 14031‐1110
RADTKE, NATHAN D            4113 N WOODHUE DR                                                                          JANESVILLE            WI 53545‐9048
RADTKE, PATRICIA            108 PATRICE TERR                                                                           WILLIAMSVILLE         NY 14221‐4704
RADTKE, PATRICIA I          26252 VAN BUREN RD                                                                         DEARBORN HTS          MI 48127‐1112
RADTKE, ROBERT E            6630 N 85TH ST                                                                             MILWAUKEE             WI 53224‐5414
RADTKE, ROBERT G            26252 VAN BUREN RD                                                                         DEARBORN HEIGHTS      MI 48127‐1112
RADTKE, ROBERT H            151 FOREST PARK BLVD                                                                       JANESVILLE            WI 53545‐4103
RADTKE, ROWENA E            2336 N 84TH ST                                                                             WAUWATOSA             WI 53226‐1902
RADTKE, ROWENA E            2336 NORTH 84TH STREET                                                                     WAUWATOSA             WI 53226‐1902
RADTKE, TIMOTHY A           5347 ENGLISH DR                                                                            TROY                  MI 48085‐4005
RADU BOTEZATU               3101 CHESAPEAKE DR                                                                         STERLING HEIGHTS      MI 48314‐1868
RADU THEYYUNNI              4439 WESTEDGE WAY                                                                          GRAND BLANC           MI 48439‐9793
RADU, CATHERINE B           450 BROADWAY AVE SE                                                                        WARREN                OH 44484‐4608
RADU, CHARLES A             7513 GONCZ DR                                                                              MASURY                OH 44438‐9767
RADU, CHARLES S             1466 WAKEFIELD DR                                                                          HERMITAGE             PA 16148‐6729
RADU, DARLENE B             7513 GONCZ DR                                                                              MASURY                OH 44438‐9767
RADU, GEORGE                96 ZARKA                         ZRENIJANINA                          UZDIN SERBIA‐
                                                                                                  MONTENEGRO 26216
RADU‐EUGEN CIOANCA          CALEA REPUBLICII 77                                                                        BACCAU                    5500
RADUANO, TRACI S            1611 NW 70TH TER                                                                           HOLLYWOOD            FL   33024‐5438
RADUE, ALAN J               37840 MORAVIAN DR                                                                          CLINTON TWP          MI   48036‐1759
RADUE, GARY H               14123 APRIL LN                                                                             WARREN               MI   48088‐5810
RADULOVIC, DJORDJE          411 BOARDWALK DR                                                                           WALLED LAKE          MI   48390‐3544
RADULOVICH, WALTER J        19288 BERDEN ST                                                                            HARPER WOODS         MI   48225‐2404
RADULSKI, FRANCIS J         900 S HOWARD ST                                                                            FENTON               MI   48430‐4158
RADULSKI, PATRICIA A        47037 SUGARBUSH RD                                                                         CHESTERFIELD         MI   48047‐5001
RADULSKI, ROBERT R          924 LINDA DR                                                                               TOLEDO               OH   43612‐3121
RADULSKI, RONALD            47037 SUGARBUSH RD                                                                         CHESTERFIELD         MI   48047‐5001
RADUNS, BEULAH S            315 GUTHERS HILL ROAD                                                                      BOOMER               NC   28606
RADUNS, GARY W              PO BOX 427                       8703 MAIN ST                                              BARKER               NY   14012‐0427
RADUNS, GLORIA V            4473 GRAYCE AVE                                                                            GASPORT              NY   14067‐9225
RADUNS, RICHARD E           9 CHURCH ST                                                                                MIDDLEPORT           NY   14105‐1203
RADUNS, RONALD L            4473 GRAYCE AVE                                                                            GASPORT              NY   14067‐9225
RADUNS, THOMAS D            6335 WOLCOTTSVILLE RD                                                                      AKRON                NY   14001‐9002
RADVANSKY, JOHN             2580 MILLER RD                                                                             RILEY                MI   48041‐1066
RADVANSKY, JOHN E           325 NANCY CIR                                                                              BRUNSWICK            OH   44212‐1452
RADVANYI, ROSE              5755 CANADA ST                                                        WINDSOR ON CAN N9H
                                                                                                  1M4
RADWAN B JABRI              2501 RIDGEMOOR CT                                                                          ARLINGTON            TX   76016‐1434
RADWAN JABRI                2501 RIDGEMOOR CT                                                                          ARLINGTON            TX   76016‐1434
RADWAN, MICHAEL G           29822 OAKLEY ST                                                                            LIVONIA              MI   48154‐3736
RADWANSKI, ARTHUR P         8047 CENTRE LN                                                                             EAST AMHERST         NY   14051‐1518
RADWANSKI, BERNICE          8047 CENTRE LN                                                                             EAST AMHERST         NY   14051‐1518
RADWANSKI, BERNICE          8047 CENTRE LANE                                                                           E. AMHERST           NY   14051‐1518
RADWANSKI, LEONARD S        33929 WILLOW RD                                                                            NEW BOSTON           MI   48164‐9397
RADWANSKI, VALENTINA        429 CRESCENT AVE                                                                           BUFFALO              NY   14214‐1959
RADWAY, ALEX                PO BOX 533                                                                                 MULBERRY             FL   33860‐0533
RADWAY, RICHARD R           15684 HARRISON DR                                                                          BROOK PARK           OH   44142‐1929
RADWELL INTERNATIONAL       111 MOUNT HOLLY BY PASS                                                                    LUMBERTON            NJ   08048‐1113
RADWELL INTERNATIONAL INC   111 MOUNT HOLLY BY PASS                                                                    LUMBERTON            NJ   08048‐1113
RADWICK ERIC W              2212 CAROL VIEW DR APT 105                                                                 CARDIFF BY THE SEA   CA   92007‐1970
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Name                           Address1                          Address2                     Address3   Address4         City             State Zip
RADWICK, DOUGLAS M             771 TAWNY COURT                                                                            OCEANSIDE         CA 92057‐6337
RADWICK, DOUGLAS M             771 TAWNY CT                                                                               OCEANSIDE         CA 92057‐6337
RADWIN SALLY                   RADWIN, SALLY                     5055 WILSHIRE BLVD STE 300                               LOS ANGELES       CA 90036‐6101
RADWIN, SALLY                  KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                               LOS ANGELES       CA 90036‐6101
RADY CONSULTANTS INC           250 DEBARTOLO PL BLDG B                                                                    YOUNGSTOWN        OH 44512
RADY JR, JOSEPH R              404 N MERCER ST                                                                            DURAND            MI 48429‐1336
RADY, DONALD G                 4206 GRAND BLANC RD                                                                        SWARTZ CREEK      MI 48473‐9111
RADY, PATRICIA M               118 FREDERICK RD                                                                           NICHOLASVILLE     KY 40356‐8157
RADY, PATRICIA MAE             118 FREDERICK RD                                                                           NICHOLASVILLE     KY 40356
RADZAWICH, LOUIS A             9 PEACH ORCHARD DR                                                                         EAST BRUNSWICK    NJ 08816‐2720
RADZIENDA, KENNETH T           8679 APT 1 KENNEDY CIR                                                                     WARREN            MI 48093
RADZIEWICZ, BARBARA J          8206 WOODVIEW RD                                                                           CLARKSTON         MI 48348‐4058
RADZIEWICZ, EDWARD             4989 19 MILE RD                                                                            STERLING HTS      MI 48314‐1919
RADZIEWICZ, JOSEPH J           61 MILLAY RD                                                                               MORGANVILLE       NJ 07751‐1414
RADZIEWICZ, ROBERT A           521 GEYER ST                                                                               FRANKENMUTH       MI 48734
RADZIEWICZ, STANLEY M          1324 TIMOTHY ST                                                                            SAGINAW           MI 48638‐6504
RADZIK, RAYMOND R              16333 76TH AVE                                                                             TINLEY PARK        IL 60477‐1572
RADZILOWSKI, CLEMENT L         1821 CALIFORNIA AVE                                                                        WHITE OAK         PA 15131‐2317
RADZINOWICZ, FLORIAN L         22031 DUVALLE ST                                                                           ROMULUS           MI 48174‐9535
RADZINSKI, RAYMOND D           39673 BAROQUE BLVD                                                                         CLINTON TWP       MI 48038‐2613
RADZIOCH, MARGARETA            11007 RACINE RD                                                                            WARREN            MI 48093‐2515
RADZIOCH, MARGARETA            11007 RACINE                                                                               WARREN            MI 48093‐2515
RADZIOCH, STEFAN
RADZISZEWSKI, JOHN E           2403 LAKESHORE BLVD               APT 663                                                  YPSILANTI        MI   48198‐6918
RADZISZEWSKI, JOHN EDWARD      42790 SHADOWLAWN DR                                                                        CANTON           MI   48187‐3440
RADZISZEWSKI, KAREN            17 BROOKDALE RD                                                                            SEYMOUR          CT   06483‐2403
RADZIUS, MARLANE               202 FAIRVIEW CT                   FAIRFIELD COMMONS APTS                                   MIDDLETOWN       DE   19709
RADZIWANIUK, KATHLEEN J        12450 WILL MILL DR                                                                         MILFORD          MI   48380‐2609
RADZIWANIUK, KATHLEEN JEWELL   12450 WILL MILL DR                                                                         MILFORD          MI   48380‐2609
RADZIWON, LAWRENCE J           1256 ST CHARLES DR                                                                         LOCKPORT         IL   60441‐3397
RADZWION, LAWRENCE D           1885 RALEIGH AVE APT 10                                                                    LAPEER           MI   48446‐4163
RADZYMINSKI, JASON E           6682 CRENSHAW DRIVE                                                                        CLEVELAND        OH   44130‐3906
RAE ANN DILL                   8510 E 29TH N                     UNIT 1303                                                WICHITA          KS   67226
RAE BISSONNETTE                8258 DAVISON RD                                                                            DAVISON          MI   48423‐2036
RAE CARR                       27939 TAVISTOCK TRL                                                                        SOUTHFIELD       MI   48034‐2101
RAE CHITTICK                   9540 TIMBER RIDGE DR                                                                       GRAND BLANC      MI   48439‐7380
RAE COLEMAN                    PO BOX 401105                                                                              REDFORD          MI   48240‐9105
RAE CRUZ                       8270 PINEHILL DR                                                                           POLAND           OH   44514‐3606
RAE DAVIS                      9787 W 1100 S35                                                                            LA FONTAINE      IN   46940‐9315
RAE DUSSEAU                    2469 LORRAINA LN                                                                           HARTLAND         MI   48353‐2643
RAE FOLDIE                     214 NORTH STREET                                                                           STANDISH         MI   48658‐9165
RAE GLICKOFF                   6220 NIGHTINGALE ST                                                                        DEARBORN HTS     MI   48127‐3046
RAE GOODRICH                   2306 9TH ST                                                                                BAY CITY         MI   48708‐6911
RAE HOOD                       1067 E BEARD RD                                                                            PERRY            MI   48872‐9521
RAE J MALONE                   248 COTTAGE ST                                                                             PONTIAC          MI   48342‐3104
RAE JR, JAMES H                123 ERICSON RD                                                                             CORDOVA          TN   38018‐7331
RAE L LYTLE                    8574 DAVIS NORTH RD                                                                        N BLOOMFIELD     OH   44450‐9736
RAE L MERRITT                  4656 HIGHWAY 224                                                                           WELLINGTON       MO   64097‐9151
RAE LEWIS                      9420 N WEBSTER RD                                                                          CLIO             MI   48420‐8546
RAE LEYDA                      PO BOX 83                                                                                  ELCO             PA   15434‐0083
RAE LUSTIG                     7222 MILLER LN                                                                             GRAND BLANC      MI   48439‐7438
RAE MACKOWIAK                  7154 NICHOLSON RD                                                                          CALEDONIA        WI   53108‐9655
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RAE MICHAEL           RAE, MICHAEL L                 2325 GRANT BUILDING 330 GRANT                               PITTSBURGH               PA 15219
                                                     STREET
RAE MYERS             35 HORSESHOE LN                                                                            MCLOUD                  OK   74851‐8413
RAE N UPHAM           2629 PEMBERTON RD                                                                          LAURA                   OH   45337‐9744
RAE PIERCE            1505 W TERRITORIAL RD                                                                      RIVES JCT               MI   49277‐9717
RAE RIGGS‐PATE        526 TABOR ST                                                                               ADRIAN                  MI   49221‐3369
RAE SHEIKHO           4310 SEYMOUR ST                                                                            DEARBORN                MI   48126‐2957
RAE STONE             2622 E IDAHO TRL                                                                           JANESVILLE              WI   53546‐9546
RAE TUFFNAIL          3602 CLAIRMONT ST                                                                          FLINT                   MI   48532‐5224
RAE UPHAM             2629 PEMBERTON RD                                                                          LAURA                   OH   45337‐9744
RAE, BENTE M          50 HEARTWOOD DRIVE                                                                         MARIETTA                GA   30062‐5106
RAE, COURTNEY A       908 E ARCHWOOD AVE                                                                         AKRON                   OH   44306‐2368
RAE, DAISY R          2500 WOODCLIFF TRL                                                                         HARTLAND                MI   48353‐2533
RAE, DAVID            164 GOODWIN ST                                                                             INDIAN ORCHARD          MA   01151‐2111
RAE, ERIC             BOONE ALEXANDRA                205 LINDA DR                                                DAINGERFIELD            TX   75638‐2107
RAE, JACK A           25846 S RIBBONWOOD DR                                                                      SUN LAKES               AZ   85248‐8850
RAE, JAMES L          3117 MARGARET ST                                                                           AUBURN HILLS            MI   48326‐3631
RAE, JOAN B           10767 BELLVIEW DR                                                                          NORTH HUNTINGDON        PA   15642‐4286
RAE, KATHERINE F      1305 COVENTRY SQUARE DRIVE                                                                 ANN ARBOR               MI   48103‐6313
RAE, LENORE A         123 ERICSON RD                                                                             CORDOVA                 TN   38018‐7331
RAE, LUCY A           6812 BELLFLOWER CT                                                                         MENTOR                  OH   44060
RAE, MARY A           1020 DOLLIVER DR                                                                           ROCHESTER HILLS         MI   48306‐3918
RAE, RAYETTA R        3971 BRADLEY BROWNLEE RD                                                                   CORTLAND                OH   44410‐9766
RAE, RAYETTA S        3971 BRADLEY BROWNLEE RD                                                                   CORTLAND                OH   44410
RAE, ROBERT W         43099 STRAND DR                                                                            STERLING HEIGHTS        MI   48313‐2741
RAE, ROBIN R          3971 BRADLEY BROWNLEE RD                                                                   CORTLAND                OH   44410‐9766
RAE, S S              91 WINN ST                                                                                 WOBURN                  MA   01801‐2830
RAE, STANLEY T        1020 DOLLIVER DR                                                                           ROCHESTER HLS           MI   48306‐3918
RAE, STEVEN H         2280 FEDERALIST PL                                                                         O FALLON                MO   63368‐8562
RAE, THOMAS           11968 WEBSTER RD                                                                           STRONGSVILLE            OH   44136‐3720
RAEANN BUCHINGER      3760 WADSWORTH RD                                                                          SAGINAW                 MI   48601‐9694
RAEANNA LEEVER        8988 N VALLEY VIEW CT                                                                      MIDDLETOWN              IN   47356‐8600
RAEANNE L WILLIAMS    43 PEFFLEY ST                                                                              GERMANTOWN              OH   45327
RAEB, ANTON           27360 GROVELAND ST                                                                         ROSEVILLE               MI   48066‐4336
RAEB, ANTON           43943 LEEANN LN                                                                            CANTON                  MI   48187‐2831
RAEB, IRMA            27360 GROVELAND                                                                            ROSEVILLE               MI   48066‐4336
RAEB, KYLE C          31908 SAINT MARGARET ST                                                                    SAINT CLAIR SHORES      MI   48082‐2237
RAEBER, NICK O        626 CHESTNUT DR                                                                            GRAND PRAIRIE           TX   75052‐6707
RAEBURN MABRY         12292 ROY DOLLAR RD                                                                        COLLINSVILLE            MS   39325‐9144
RAEBURN, MARY G       7842 CASTLE ROCK DR NE                                                                     WARREN                  OH   44484‐1409
RAEBURN, PAMELA       4813 GROVER DR                                                                             YOUNGSTOWN              OH   44512‐1608
RAEBURN, PAMELA       4813 GROVER DRIVE                                                                          YOUNGSTOWN              OH   44512‐1608
RAEBURN, RICHARD L    4813 GROVER DR                                                                             YOUNGSTOWN              OH   44512‐1608
RAEBURN, ROBERT J     533 WYOMING AVE                                                                            FAIRFIELD               OH   45014‐1661
RAEBURN, RONALD A     609 RIDGE RD APT 320                                                                       NEWTON FALLS            OH   44444‐1098
RAEBURN, TERRY R      25 RUSSO DR                                                                                CANFIELD                OH   44406‐9665
RAED SAHOURI          9225 ROLSTON RD                                                                            GAINES                  MI   48436‐9734
RAEDEKE, HERBERT D    919 KOPRA ST                                                                               TRUTH OR CONSEQUENCES   NM   87901‐1655

RAEDEKE, MARJORIE J   2929 N DEXTER ST                                                                           FLINT                   MI 48506‐3188
RAEDEKE, PAULINE N    919 KOPRA ST                                                                               T OR C                  NM 87901‐1655
RAEDEKE, SHIRLEY      9261 COACHHOUSE LN                                                                         ESTERO                  FL 33928‐4240
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Name                         Address1                           Address2                      Address3   Address4                City              State Zip
RAEDER, PETRINA J            5527 LANE AVE                                                                                       RAYTOWN            MO 64133‐3253
RAEDER, PETRINA J            5527 LANE                                                                                           RAYTOWN            MO 64133‐3253
RAEDER, PHYLLIS R            5512 LANE                                                                                           RAYTOWN            MO 64133
RAEDER, PHYLLIS R            5512 LANE AVE                                                                                       RAYTOWN            MO 64133‐3254
RAEDER, ROBERT E             5512 LANE AVE                                                                                       RAYTOWN            MO 64133‐3254
RAEF KHEIR                   12549 GREENHILL DR                                                                                  GRAND BLANC        MI 48439‐1818
RAEF UND MONIKA PRAPPACHER   WEICHSELHECKEN 39                                                           97332 VOLKACH GERMANY
RAEFFAELE DEANGELIS          41 HILLSIDE AVE                                                                                     NUTLEY            NJ   07110‐1615
RAEFORD A BLADES             2410 LOCKSLEY ST                                                                                    SUN CITY CENTER   FL   33573‐6527
RAEFORD BLADES               2410 LOCKSLEY ST                                                                                    SUN CITY CENTER   FL   33573‐6527
RAEGAN BIGGS                 805 DELAWARE ST                                                                                     DETROIT           MI   48202‐2301
RAEJEAN S HICKS              4739 DEWEESE RD                                                                                     TROY              OH   45373
RAEL ALBERT (626724)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                STREET, SUITE 600
RAEL, ALBERT                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
RAEL, NORMAN R               6712 SHANNON LN                                                                                     MENTOR            OH   44060‐4565
RAELA PECK                   PO BOX 685                                                                                          BRIGHTON          MI   48116‐0685
RAELEAN ISBILL               BOC 206                                                                                             WAYNE             OK   73095
RAELEAN ISBILL               PO BOX 206                                                                                          WAYNE             OK   73095‐0206
RAELENE BEVICH               100 BELTZVILLE DR                                                                                   LEHIGHTON         PA   18235‐6203
RAELIGH, DONALD R            3208 E 5TH ST                                                                                       DAYTON            OH   45403
RAELLA BAKER                 7290 LEE RD NE                                                                                      BROOKFIELD        OH   44403‐9606
RAELLA M BAKER               7290 LEE RD NE                                                                                      BROOKFIELD        OH   44403‐9606
RAELYNN M DUFF               643 S RIVERVIEW AVE                                                                                 MIAMISBURG        OH   45342‐3029
RAEMARIE MACKAY              64 MOUNTAIN SCHOOL RD                                                                               WEARE             NH   03281‐5621
RAEMON HARRINGTON            1601 E 7TH ST                      C/O RAEMON P HARRINGTON                                          ANDERSON          IN   46012‐3425
RAESCH, ALICE V              1660 MINSTREL TERRACE                                                                               CUMMING           GA   30041‐9715
RAESE, WAYNE H               W8377 CTY. TRK. G                                                                                   WONEWOC           WI   53968
RAESIDE, ANNE C              920 TAMIAMI TRL S APT 556                                                                           VENICE            FL   34285‐3635
RAESIDE, SYBIL E             16971 WOODWORTH                                                                                     REDFORD           MI   48240‐2457
RAETECH CORP                 4750 VENTURE DR STE 100                                                                             ANN ARBOR         MI   48108
RAETHER JR, FRED W           1643 S GRANT AVE                                                                                    JANESVILLE        WI   53546‐5710
RAETHER, ELEANOR M           PO BOX 332                         2431 HIDDENISLE                                                  WATERS            MI   49797‐0332
RAETHER, ELEANOR M
RAETHER, ERNEST A            N81 W15899 ROBINHOOD DRIVE                                                                          MENOMONEE FALLS   WI   53051‐3736
RAETHER, ERNEST A            N81W15899 ROBINHOOD DR                                                                              MENOMONEE FALLS   WI   53051‐3736
RAETHER, JOSEPHINE M         3333 5TH AVE UNIT 3H                                                                                SOUTH MILWAUKEE   WI   53172‐3942
RAETHER, KATHRYN E           111 N POMPANO BEACH BLVD APT 504                                                                    POMPANO BEACH     FL   33062‐5712
RAETHER, RODNEY F            2650 FISHBECK RD                                                                                    HOWELL            MI   48843‐8809
RAETTIG, VIRGINIA P          4180 CHARLES CITY RD                                                                                RICHMOND          VA   23231‐6217
RAETZ, CARL W                6773 RAPIDS RD LOT 220                                                                              LOCKPORT          NY   14094
RAETZ, DAVID J               1057 RIVER VALLEY DR                                                                                LAKE ORION        MI   48362‐3489
RAETZ, LESLIE A              15707 BLUE SKIES ST                                                                                 LIVONIA           MI   48154‐1521
RAETZ, MARY E                RT#1                               6700 REAMS RD                                                    ALANSON           MI   49706
RAETZ, SONJA S               1057 RIVER VALLEY DR                                                                                LAKE ORION        MI   48362‐3489
RAETZEL, RALPH W             15550 FLOYD LN                                                                                      OVERLAND PARK     KS   66223‐3288
RAETZKE, WILLIAM E           306 LOBLOLLY CT                                                                                     SUFFOLK           VA   23435‐2269
RAEVSKY, NANCY               C/O JUSTIN P RAEVSKY               870 WYMOUNT TER                                                  PROVO             UT   84604‐2089
RAEVSKY, NANCY               870 WYMOUNT TERRACE                                                                                 PROVO             UT   84604‐2089
RAF FLUID POWER INC          6750 ARNOLD MILLER PKWY                                                                             SOLON             OH   44139‐4363
RAFAEL
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Name                       Address1                          Address2                     Address3   Address4                City               State Zip
RAFAEL ABREU               2891 W 76TH ST APT 201                                                                            HIALEAH             FL 33018‐5375
RAFAEL ALONSO              902 CANADIAN CIR                                                                                  GRAND PRAIRIE       TX 75050‐2307
RAFAEL ALVARADO            11932 PUEBLO DORMIDO WAY                                                                          EL PASO             TX 79936‐5033
RAFAEL ALVAREZ             HC 1 BOX 9303                                                                                     SAN SEBASTIAN       PR 00685‐9708
RAFAEL ALVAREZ             1237 OAKWOOD COURT                                                                                ROCHESTER HLS       MI 48307‐2539
RAFAEL ARAIZA              9443 FARMTREE RD                                                                                  SWARTZ CREEK        MI 48473‐8561
RAFAEL AYBAR               10900 STEVENS RD                                                                                  DEFIANCE            OH 43512‐8705
RAFAEL BALLESTER           81 COUNTRY LIFE DR                                                                                O FALLON            MO 63366‐2768
RAFAEL BANDA               3749 ORANGE ST                                                                                    SAGINAW             MI 48601‐5551
RAFAEL BAQUERO             10 SPARLING CIR                                                                                   LOS LUNAS           NM 87031‐9471
RAFAEL BENITEZ             3472 WEDGEWOOD DR                                                                                 ROCHESTER HILLS     MI 48306‐3772
RAFAEL CARMONA             PO BOX 232                                                                                        ELWOOD              NJ 08217‐0232
RAFAEL CASTILLO            6215 STERLING RD                                                                                  LYNN                MI 48097‐2106
RAFAEL CASTRO              9712 LORETTA AVE                                                                                  CLEVELAND           OH 44102‐4731
RAFAEL CRUZ                70 MARANATHA CT                                                                                   YOUNGSTOWN          OH 44505‐4916
RAFAEL CRUZ                1 RIVER PLZ APT 5E                                                                                TARRYTOWN           NY 10591‐3637
RAFAEL DECASAS             5005 CALIENTE DR                                                                                  ARLINGTON           TX 76017‐3428
RAFAEL DIAZ                10117 LEV AVE                                                                                     ARLETA              CA 91331‐4529
RAFAEL DIAZ                BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.         OH 44236
RAFAEL ELIZONDO            2024 GLENDALE AVE                                                                                 FLINT               MI 48503‐2111
RAFAEL F GOMEZ             566 E WILLARD AVE                                                                                 LANSING             MI 48910‐3446
RAFAEL FEW                 4945 SHADWELL                                                                                     DAYTON              OH 45426
RAFAEL FIMBRES             2359 W IRONWOOD RIDGE DR                                                                          TUCSON              AZ 85745‐1371
RAFAEL FIMBRES JR          115 IBERIS CT                                                                                     ARLINGTON           TX 76018‐1615
RAFAEL G OSORIO            1975 S ICE BEAR WAY                                                                               MERIDIAN            ID 83642‐8134
RAFAEL GARCIA              11610 HENSELL RD                                                                                  HOLLY               MI 48442‐8010
RAFAEL GARCIA              57 GROVELAND AVE                                                                                  EWING               NJ 08638‐2864
RAFAEL GARCIA
RAFAEL GOMEZ               566 E WILLARD AVE                                                                                 LANSING            MI   48910‐3446
RAFAEL GONZALEZ            135 E MATSON AVE                                                                                  SYRACUSE           NY   13205‐1801
RAFAEL GONZALEZ            1119 W LOS ANGELES AVE APT 2                                                                      MONTEBELLO         CA   90640‐4663
RAFAEL GONZALEZ            2790 HICKS PIKE                                                                                   CYNTHIANA          KY   41031‐5728
RAFAEL GONZALEZ            1323 BARLOW AVE                                                                                   DALLAS             TX   75224‐2531
RAFAEL GUERRA              PO BOX 360444                                                                                     MILPITAS           CA   95036‐0444
RAFAEL HENRY               PTY‐103121601 NW 97TH AVE                                                                         MIAMI              FL   33102
RAFAEL INDERMUEHLE         CHUTZENSTRASSE 46                                                         3007 BERN SWITZERLAND
RAFAEL JIMENEZ             157 LUIS F. THOMEN                APT 700A                                SANTO DOMINGO
                                                                                                     DOMINICAN REPUBLIC
RAFAEL KHATCHATRIAN        7845 FULTON AVE                                                                                   NORTH HOLLYWOOD    CA   91605‐1811
RAFAEL L ROBINSON          8631 PREAKNESS DR                                                                                 FLORENCE           KY   41042
RAFAEL LOPEZ               2488 GREENS MILL RD                                                                               COLUMBIA           TN   38401‐6176
RAFAEL LOPEZ               PO BOX 363                                                                                        PINCONNING         MI   48650‐0363
RAFAEL LOPEZ JR            11175 56TH TER                                                                                    SEMINOLE           FL   33772‐7225
RAFAEL M FUENTES           73 MARKIE DRIVE WEST                                                                              ROCHESTER          NY   14606‐4551
RAFAEL M GONZALEZ          PO BOX 210972                                                                                     DALLAS             TX   75211‐0972
RAFAEL MAGANA JR           1616 E WAYNE ST                                                                                   FORT WAYNE         IN   46803‐1097
RAFAEL MANRIQUEZ           305 MAYWINN DR                                                                                    DEFIANCE           OH   43512‐1756
RAFAEL MANRIQUEZ I I       14923 DOHONEY RD                                                                                  DEFIANCE           OH   43512‐6961
RAFAEL MARROQUIN           6561 HIGHVIEW ST                                                                                  DEARBORN HEIGHTS   MI   48127‐2126
RAFAEL MARTINEZ‐VILANOVA   C/MARIA DE ZAYAS 4, 5¬C           02006 ALBACETE
RAFAEL MEJIA               10277 N HARBOR WAY                                                                                CITRUS SPRINGS     FL 34434‐2737
RAFAEL MOLINA              5099 CRANBERRY DR                                                                                 MINERAL RIDGE      OH 44440‐9441
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Name                         Address1                          Address2                  Address3   Address4             City                  State Zip
RAFAEL MONSIVAIS             6096 WILLIAMS ST                                                                            DOWNERS GROVE           IL 60516‐2014
RAFAEL MORALES               339 W GRAND LEDGE HWY                                                                       SUNFIELD               MI 48890‐9050
RAFAEL MORATAYA              5203 VILLA DEL MAR AVE APT 1320                                                             ARLINGTON              TX 76017‐1726
RAFAEL MORATO                47 EAST STREET                                                                              SOUTH SALEM            NY 10590
RAFAEL MOYA                  264 KING ST APT S10                                                                         PORT CHESTER           NY 10573‐4100
RAFAEL MOYET                 400 GALLASH ST SW                                                                           PALM BAY               FL 32908‐1251
RAFAEL NERSESOV              3123 SCENIC LAKE DR               APT 20                                                    ANN ARBOR              MI 48108‐2147
RAFAEL NUNEZ                 11508 POTTER ST                                                                             NORWALK                CA 90650
RAFAEL ORTIZ                 4850 RAYNER PARK DRIVE                                                                      LAKE ORION             MI 48359‐1923
RAFAEL ORTIZ                 4459 SETON AVE                                                                              BRONX                  NY 10466‐1140
RAFAEL OSORIO                1975 S ICE BEAR WAY                                                                         MERIDIAN               ID 83642‐8134
RAFAEL PENA                  290 NUTMEG DR                                                                               DIMONDALE              MI 48821‐9554
RAFAEL PEREZ                 11943 CATRAKEE DR                                                                           JACKSONVILLE           FL 32223‐1977
RAFAEL PEREZ                 79 ROSSMORE ST                                                                              ROCHESTER              NY 14606‐5517
RAFAEL PEREZ                 10850 SW 75TH ST                                                                            MIAMI                  FL 33173‐2783
RAFAEL PETER OHO             SCHWANENGASSE 1                                                        55252 MAINZ‐KASTEL
                                                                                                    GERMANY
RAFAEL PISCOPIELLO           69 COLLEGE AVE                                                                              SLEEPY HOLLOW         NY   10591
RAFAEL QUIJADA               3735 E AVENUE Q13                                                                           PALMDALE              CA   93550‐8502
RAFAEL QUIROZ                913 JACOBS CROSSING CT                                                                      BURLESON              TX   76028‐5140
RAFAEL RAMIREZ               1921 AVENUE D                                                                               GRAND PRAIRIE         TX   75051‐4532
RAFAEL RESTO                 PO BOX 4081                                                                                 AUBURN HILLS          MI   48321
RAFAEL REYES                 5458 NASSAR ST                                                                              FLINT                 MI   48505‐1000
RAFAEL RIVERA                BUZ ON 9‐56 BO JOBOS                                                                        ISABELA               PR   00662
RAFAEL ROCHA                 7502 CRONIN AVE                                                                             JUSTICE               IL   60458‐1324
RAFAEL RODRIGUEZ             540 W NATALIE LN                                                                            ADDISON               IL   60101‐3420
RAFAEL RODRIGUEZ             22304 W 52ND ST                                                                             SHAWNEE               KS   66226‐3887
RAFAEL SERRANO               233 THERESE ST                                                                              DAVENPORT             FL   33897‐5459
RAFAEL SORIA                 2225 PONTIAC CIR                                                                            NAPERVILLE            IL   60565‐3205
RAFAEL SUAREZ                1353 BLOSSOM AVE                                                                            YPSILANTI             MI   48198‐3306
RAFAEL SUAREZ‐JUNQUERA       2062 MAPLERIDGE RD                                                                          ROCHESTER HILLS       MI   48309‐2747
RAFAEL TAMEZ                 2415 E MAPLE AVE                                                                            BURTON                MI   48529‐2153
RAFAEL TIJERINA              4612 W 99TH ST                                                                              OAK LAWN              IL   60453‐3134
RAFAEL TIJERINA              4612 WEST 99TH STREET                                                                       OAK LAWN              IL   60453‐3134
RAFAEL TIJERINA JR.          8116 NW HARDEN DR                                                                           KANSAS CITY           MO   64151‐3736
RAFAEL TILES                 4767 QUARTON RD                                                                             BLOOMFIELD TOWNSHIP   MI   48301‐1028
RAFAEL TREVINO               3916 BURLESON RETTA RD                                                                      BURLESON              TX   76028‐3609
RAFAEL V GONZALEZ            1119 W LOS ANGELES AVE APT 2                                                                MONTEBELLO            CA   90640‐4663
RAFAEL V MORENO              10234 ANNETTA AVE                                                                           SOUTH GATE            CA   90280
RAFAEL VILLA                 1615 SUMMIT AVE                                                                             HILLSIDE              NJ   07205‐1403
RAFAELA CIRILO               1309 S HAMILTON ST                                                                          SAGINAW               MI   48602‐1402
RAFAELA EBY                  211 HOLDEN DR                                                                               MARTINEZ              GA   30907‐1377
RAFAELA MURILLO              24628 W RIVER RD                                                                            PERRYSBURG            OH   43551‐9460
RAFAELA SMOLAR               121 PALMETTO DR                                                                             CRESTVIEW             FL   32539
RAFAELA VIURQUEZ             7421 W 57TH ST                                                                              SUMMIT                IL   60501‐1319
RAFAELA ZUNIGA               4120 CENTRAL ST                                                                             DETROIT               MI   48210‐2706
RAFAI, MANISHA S             47104 N POINTE DR                                                                           CANTON                MI   48187‐1443
RAFAIANI LAWRENCE (481971)   COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                   HOUSTON               TX   77002‐1751
RAFAIANI, LAWRENCE           COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                   HOUSTON               TX   77002‐1751
RAFAIL, LEO                  20929 LEONARD RD                                                                            LUTZ                  FL   33558‐8359
RAFAL KEDZIERSKI             1211 LAKESHORE DR                                                                           IRVING                TX   75060
RAFAL WILK                   43215 COVE CT                                                                               STERLING HTS          MI   48313‐2338
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Name                        Address1                          Address2               Address3    Address4                  City                     State Zip
RAFALIK JOSEPH K            RAFALIK, JOSEPH K                 17401 LIDO LN                                                HUNTINGTON BEACH          CA 92647‐6143
RAFALIK, HELEN              2994 TROWBRIDGE                                                                                HAMTRAMCK                 MI 48212‐3257
RAFALIK, ROMAN              47970 LIBERTY DR                                                                               SHELBY TWP                MI 48315‐4056
RAFALKO, EDWARD D           105 ALLYSON KAY DRIVE                                                                          KERNERSVILLE              NC 27284‐2288
RAFALKO, GERALD P           21736 SUNRISE BLVD                                                                             NOVI                      MI 48375‐5163
RAFALSKI, GREGORY J         123 HOMESTEAD AVE                                                                              TRENTON                   NJ 08610‐3312
RAFALSKI, RALPH J           2779 BLACK EAGLE VALLEY DR                                                                     HOWELL                    MI 48843‐6946
RAFALSKI, ROBERT C          4997 ROCKY POINT RD                                                                            COOKEVILLE                TN 38506
RAFALSKI, WALTER M          22 N PERRY ST                                                                                  VANDALIA                  OH 45377
RAFANIELLO, HELEN S         815 STAFFORD AVE APT 10C                                                                       BRISTOL                   CT 06010‐3854
RAFAT HATTAR                19890 GALLAHAD DR                                                                              MACOMB                    MI 48044‐1755
RAFAY, JOHN J               18800 WESTWOOD DR APT 222                                                                      STRONGSVILLE              OH 44136‐3437
RAFEAL TORRES               PO BOX 6385                                                                                    FORT WORTH                TX 76115‐0385
RAFELD, RUSSELL L           793 SUNSET BLVD APT 6                                                                          MANSFIELD                 OH 44907
RAFF, CHRISTIAN             4311 E LINDA DR                                                                                PORT CLINTON              OH 43452‐9725
RAFF, DAVID C               5115 SHUNPIKE RD                                                                               LOCKPORT                  NY 14094‐9715
RAFF, DOROTHY               2581 MASSILLON ROAD                                                                            AKRON                     OH 44312
RAFF, DORTHY A              2581 MASSILLON RD                 C/O DONNA BURCH‐COOL                                         AKRON                     OH 44312‐5315
RAFF, ELLEN                 468 S 7TH ST                                                                                   FULTON                    NY 13069‐3023
RAFF, PATRICIA A            12266 WOODLINE DR                                                                              FENTON                    MI 48430‐3514
RAFFA NUNZIO J (130603)     CHERRY FERRARA MUTZEL BELEFONTE   220 N JACKSON ST                                             MEDIA                     PA 19063‐2807
                            MCFADDEN & WESNER L.L.P.
RAFFA, ANTHONY T            874 FRASER RD                                                                                  KAWKAWLIN                MI 48631‐9432
RAFFA, BARBARA M            2809 ELDON AVE                                                                                 DREXEL HILL              PA 19026‐2211
RAFFA, FREDERICK A
RAFFA, NUNZIO J             CHERRY FERRARA MUTZEL BELEFONTE   220 N JACKSON ST                                             MEDIA                    PA 19063‐2807
                            MCFADDEN & WESNER L.L.P.
RAFFAELA CASTONGUAY         2 HUBBARD DR                                                                                   WHITE PLAINS             NY 10605‐4912
RAFFAELA DEMEO              558 PALISADE AVE                                                                               YONKERS                  NY 10703‐2108
RAFFAELA LUPO               CORSO V VENETO 44                                                    POZZALLO RAGUSA 97016
                                                                                                 ITALY
RAFFAELA RAPPUHN            9485 JEFFERSON RD                                                                              CLIFFORD                 MI   48727‐9711
RAFFAELA SCICCHITANO        852 LEONARD DR                                                                                 WESTBURY                 NY   11590‐1414
RAFFAELE CALABRESE          PIAZZA BENCO 1                                                                                 TRIESTE                  IN   34122
RAFFAELE CASSARINO          62 NANETTE DR                                                                                  ROCHESTER                NY   14626‐4020
RAFFAELE CAVALLARO          VICO II CORSO UMBERTO 1‐10                                           MAROPATI RC 89020 ITALY
RAFFAELE COLLENEA ISERNIA   CORSO GARIBALDI 95                                                                             BENEVENTO                   82100
RAFFAELE DEMICHELE          5002 DRIFTWOOD DR                                                                              LIVERPOOL                NY 13088‐5936
RAFFAELE GHIGGI             AM WEIDENGRABEN 70 TRIER
RAFFAELE GHIGGI             AM WEIDENGRABEN 70                54296                  TRIER
RAFFAELE MELLA              15 LEARY ST                                                                                    EASTCHESTER              NY   10709‐3615
RAFFAELE MUGLIA             48178 BEACON SQUARE DR                                                                         MACOMB                   MI   48044‐1439
RAFFAELE NICOTERA           16859 BALD EAGLE DR                                                                            KENDALL                  NY   14476‐9617
RAFFAELE PASSARIELLO        VIA GIARDINI, 33                                                                               GIUGLIANO IN CAMPANIA,   IL   80014
                                                                                                                           ITALY
RAFFAELE TUZZO              2915 OLDEN OAK LN APT 203                                                                      AUBURN HILLS             MI   48326‐2156
RAFFAELE, DOMINIC N         10 CANARY CT                                                                                   MIDDLETOWN               DE   19709‐2184
RAFFAELE, KATERINA          2647 BRADFORDT DR                                                                              WEST MELBOURNE           FL   32904‐7450
RAFFAELINO MORICONE         112 MARIAN DR                                                                                  MATTYDALE                NY   13211‐1826
RAFFAELLI KAREN             1951 ROYAL BIRKDALE DR                                                                         OXFORD                   MI   48371‐5846
RAFFAELLO ARDANESE          1298 MARYLAND BLVD                                                                             BIRMINGHAM               MI   48009‐4124
RAFFEALLI, ROBERT F         5011 CARBO CIR                                                                                 SANTA BARBARA            CA   93111‐2710
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Name                            Address1                           Address2                      Address3   Address4              City              State Zip
RAFFEE, MD                      5051 VILLA LINDE PKWY SUITE 2                                                                     FLINT              MI 48532
RAFFEL, CLINE                   PO BOX 273                                                                                        LILLIAN            AL 36549‐0273
RAFFEL, EVA Y                   6900 S COUNTY RD 25A                                                                              TIPP CITY          OH 45371‐2401
RAFFEL, HORST K                 718 BOWMAN BEND RD                                                                                HARRIMAN           TN 37748‐8520
RAFFEL, KEITH                   40 SUNSET DR                                                                                      NIAGARA FALLS      NY 14304‐3718
RAFFEL, NANCY L                 718 BOWMAN BEND RD                                                                                HARRIMAN           TN 37748‐8520
RAFFENSBERGER, HARRY J          35 SANIBEL LN                                                                                     CHAMBERSBURG       PA 17201‐4821
RAFFENSBERGER, JOHN A           2448 PUNDERSON DR                                                                                 HILLIARD           OH 43026‐8663
RAFFERTY HAROLD J JR (429654)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                   STREET, SUITE 600
RAFFERTY JOSEPH (487843)        WEITZ & LUXENBERG                  180 MAIDEN LANE                                                NEW YORK          NY   10038
RAFFERTY JR, JOHN V             10 ROCKLAND RD                                                                                    EWING             NJ   08638‐1523
RAFFERTY SUBARU INC             RAFFERTY SUBARU                    4700 WICHESTER PIKE                                            NEWTON            PA   19073
RAFFERTY, ANN B                 104 ALBINE DR                                                                                     GLENSHAW          PA   15116
RAFFERTY, BRIAN                 8 HICKORY HILL DR                                                                                 EWING             NJ   08618‐1008
RAFFERTY, DANIEL                7653 NW 79TH AVE APT 212                                                                          TAMARAC           FL   33321‐2874
RAFFERTY, DANIEL S              10530 DAVISBURG RD                                                                                DAVISBURG         MI   48350‐2033
RAFFERTY, DOROTHY A             3910 PINE AVE                                                                                     LEVITTOWN         PA   19056‐3358
RAFFERTY, GEORGE C              25124 CRISLER ST                                                                                  TAYLOR            MI   48180‐3234
RAFFERTY, GEORGE F              7151 E US HIGHWAY 50 # 158                                                                        GOLD CANYON       AZ   85118‐9769
RAFFERTY, HAROLD J              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA   23510‐2212
                                                                   STREET, SUITE 600
RAFFERTY, JOSEPH                WEITZ & LUXENBERG                  180 MAIDEN LANE                                                NEW YORK          NY 10038
RAFFERTY, KAREN                 333 E PARENT AVE                   UNIT 41                                                        ROYAL OAK         MI 48067‐3763
RAFFERTY, KAREN                 333 E PARENT AVE UNIT 41                                                                          ROYAL OAK         MI 48067‐3763
RAFFERTY, M G
RAFFERTY, MARGARET M            7141 RUE DE PALISADES                                                                             SARASOTA          FL   34238‐2898
RAFFERTY, MARY C                102 SAINT ANDREW CT                                                                               INDIANA           PA   15701‐3470
RAFFERTY, MICHAEL J             4 OTTER PATH                                                                                      CORAM             NY   11727‐2148
RAFFERTY, SHEILA M              244 MERTON AVE                                                                                    GLEN ELLYN        IL   60137‐5564
RAFFERTY, THOMAS M              3090 SANDYWOOD DR                                                                                 KETTERING         OH   45440‐1503
RAFFERTY, THOMAS V              2784 VALLEY CREEK RD                                                                              CULLEOKA          TN   38451‐2370
RAFFETY, CHARLES
RAFFETY, CYNTHIA
RAFFETY, REBECCA
RAFFI DERMANUELIAN              1525 HAMPSTEAD LN                                                                                 ROCHESTER HILLS   MI   48309‐2948
RAFFILE ROBERT                  275 PRETTY MARSH RD                                                                               MOUNT DESERT      ME   04660‐6104
RAFFIN, BRUNO                   16488 CROSSWIND LN                                                                                MACOMB            MI   48042‐5768
RAFFIO, JOSEPH                  5665 DON MANUEL RD                                                                                ELKTON            FL   32033‐3338
RAFFLENBEUL RUDOLF              STAHLWARENFABRIK GMBH & CO         EILPER STR 126 128                       HAGEN PER GEORGE D‐
                                                                                                            58091 GERMANY
RAFFLER, ANNA                   2918 HARTLINE DR                                                                                  ROCHESTER HILLS   MI   48309‐4315
RAFFLER, DARWIN C               R#1 10320 CARLTON CENTER                                                                          WOODLAND          MI   48897
RAFFLER, EARL E                 51261 NEUMAIER DR                                                                                 SHELBY TWP        MI   48316‐4044
RAFFLER, LEONARD F              921 W AUBURN RD                                                                                   ROCHESTER HILLS   MI   48307‐4903
RAFFLER, LINDA C                53314 SOPHIA DR                                                                                   SHELBY TWP        MI   48316‐2445
RAFFLER, MARVIN G               10890 E CARLTON CENTER RD                                                                         WOODLAND          MI   48897‐9670
RAFFLER, NANCY                  4522 MARGO LN                                                                                     BURLINGTON        KY   41005
RAFFLER, R K                    9773 SPICER RD                                                                                    GRAND LEDGE       MI   48837‐9415
RAFFLER, R KEVIN                9773 SPICER RD                                                                                    GRAND LEDGE       MI   48837‐9415
RAFFLER, RICHARD L              9793 SPICER RD                                                                                    GRAND LEDGE       MI   48837‐9415
RAFFLOER, PATRICIA A            153 E CHESTER ST 00B6                                                                             VALLEY STREAM     NY   11580
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Name                          Address1                         Address2                         Address3                  Address4                 City               State Zip
RAFFO, JUAN F                 48645 CHAURMONT CT                                                                                                   SHELBY TWP          MI 48315‐4032
RAFFO, JUAN FRANCISCO         48645 CHAURMONT CT                                                                                                   SHELBY TWP          MI 48315‐4032
RAFFONE, PATRICIA P           PO BOX 16632                                                                                                         FERNANDINA BEACH    FL 32035‐3128
RAFFORD, DOROTHY E            2340 EAST JASMINE STREET                                                                                             MESA                AZ 85213‐2922
RAFFORD, PATSY                1649 RIVER ROAD                                                                                                      ASTOR               FL 32002
RAFIC BAYDOUN                 6034 OAKMAN BLVD                                                                                                     DEARBORN            MI 48126‐2328
RAFID ANTONE                  14 GERDON AVE                                                                                                        PONTIAC             MI 48342‐1117
RAFID KHAN                    8044 CRESTON DR                                                                                                      FREELAND            MI 48623‐8731
RAFIDI, MUNIR B               2256 E ARMS DR                                                                                                       HUBBARD             OH 44425‐3301
RAFKIN ROBERT                 RAFKIN, ROBERT                   640 S SAN VICENTE BLVD STE 230                                                      LOS ANGELES         CA 90048‐4654
RAFKIN ROBERT                 RAFKIN, SHANNON                  640 S SAN VICENTE BLVD STE 230                                                      LOS ANGELES         CA 90048‐4654
RAFKO, FRANK J                5567 CENTRAL DR                                                                                                      MONROE              MI 48161‐3677
RAFLIK, RAYMOND               2039 PARTRIDGE LN                                                                                                    STEVENS POINT       WI 54481‐9588
RAFLIK, RICHARD               620 RIVER HTS                                                                                                        SHAWANO             WI 54166‐1246
RAFLOWITZ, MICHAEL            15 CLASSIC DR                                                                                                        TRUMBULL            CT 06611‐2625
RAFN‐LARSEN AUTOMOBILER A/S   ENERGIVEJ 20                                                                                BALLERUP DK‐27 DENMARK
RAFORD KEETH JR               2380 MOTT RD                                                                                                         NORTH BRANCH       MI   48461‐9746
RAFORD OGLE                   5531 PAWNEE LN                                                                                                       GREELEY            CO   80634‐9307
RAFOTH, THEODORE A            1221 JOHNSON RD                                                                                                      CHURCHVILLE        NY   14428‐9307
RAFTARI, ABBAS                3617 VALLEYVIEW LANE                                                                                                 W BLOOMFIELD       MI   48323‐3363
RAFTER, DAVID P               800 MILLBROOK CIR                                                                                                    NASHVILLE          TN   37221‐4062
RAFTER, LEDA G                800 MILLBROOK CIR                                                                                                    NASHVILLE          TN   37221‐4062
RAFTER, WILLIAM R             1090 KINGSWOOD WAY                                                                                                   PORT ORANGE        FL   32129‐4106
RAFTERY, MARIE D              1785 SR 61 NORTH RD 3                                                                                                NORWALK            OH   44857‐9803
RAFTERY, MARY ANN             192 NORTHLAND AVE                                                                                                    ROCHESTER          NY   14609‐3549
RAFTERY, THOMAS R             1785 STATE ROUTE 61                                                                                                  NORWALK            OH   44857‐9355
RAFTIS, GEORGE D              19303 COACHWOOD RD                                                                                                   RIVERVIEW          MI   48193‐7882
RAFTIS, NICHOLAS C            6061 SIVLER KING BLVD UNIT 703                                                                                       CAPE CORAL         FL   33914‐8100
RAFTOPOULOS, ANDREW P         157 ROSE BRIER DR                                                                                                    ROCHESTER HILLS    MI   48309‐1122
RAFTOPOULOS, SPYROS A         20 E WHITE BEAR DR                                                                                                   SUMMIT HILL        PA   18250‐1715
RAFUS FITTEN                  16565 ROBSON ST                                                                                                      DETROIT            MI   48235‐4046
RAG TESTEQUITY INC            2450 TURQUOISE CIR                                                                                                   NEWBURY PARK       CA   91320‐1209
RAGAIN, ROBERT F              115 N SHEPPARD DR                                                                                                    EULESS             TX   76039‐3570
RAGALYI STEVEN P              3636 BRADLEY BROWNLEE RD                                                                                             CORTLAND           OH   44410‐9733
RAGALYI, DON R                852 RIDGE RD                                                                                                         VIENNA             OH   44473‐9735
RAGAN JR, C R                 6403 MOONSTRUCK PKWY                                                                                                 INDIANAPOLIS       IN   46259‐6825
RAGAN JR, MICHAEL             289 ALVA WAY                                                                                                         MONROEVILLE        PA   15146‐4506
RAGAN JR, WILLIE B            238 YORKSHIRE BLVD APT 216                                                                                           DEARBORN HEIGHTS   MI   48127‐3513
RAGAN JUNE E ESTATE OF        504 COUNTY RD 370 WIDOWS CREEK                                                                                       STEVENSON          AL   35772
RAGAN MARIE ALANA             RAGAN, MARIE ALANA               400 SW LONGVIEW BLVD SUITE 280                                                      LEES SUMMIT        MO   64081

RAGAN MICHAEL                 191 ALTA VISTA DR                                                                                                    JACKSON            TN   38305‐3103
RAGAN RONALD                  RAGAN, IRENE                     NORMAN TAYLOR & ASSOCIATES       425WEST BROADWAY                                   GLENDALE           CA   91204
RAGAN RONALD                  RAGAN, RONALD                    425WEST BROADWAY                                                                    GLENDALE           CA   91204
RAGAN TROY FRANKLIN           RAGAN, DESSARAE                  R. STAN MORRIS                   2325 HENRY GUNTERSVILLE                            CROSSVILLE         AL   35976
RAGAN, AJ                     89 CEDAR DR                                                                                                          GADSDEN            AL   35901‐9243
RAGAN, ALLEN                  89 CEDAR DR                                                                                                          GADSDEN            AL   35901‐9243
RAGAN, ALTON R                1801 E FARRALL                                                                                                       SHAWNEE            OK   74801
RAGAN, ANDREW J               10175 SOUTH AVE EXT                                                                                                  POLAND             OH   44514
RAGAN, ARTHUR C               9044 E AVENUE T6                                                                                                     LITTLEROCK         CA   93543‐2728
RAGAN, BRADLEY C              4069 SQUIRE HILL DRIVE                                                                                               FLUSHING           MI   48433‐3100
RAGAN, CARL R                 1095 E 500 S                                                                                                         ATLANTA            IN   46031‐9325
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Name                      Address1                         Address2                       Address3   Address4         City              State Zip
RAGAN, CARL R             1095 E. 500 S                                                                               ATLANTA            IN 46031‐9325
RAGAN, CATHERINE          414 JUNIPER DR                                                                              WEST MIFFLIN       PA 15122‐1236
RAGAN, CHRISTINE M        10150 SHERIDAN RD                                                                           BURT               MI 48417‐2171
RAGAN, CLYDE E            2839 SO. CO. RD. 1150E                                                                      GREENTOWN          IN 46936
RAGAN, CURTIS R           4270 CABIN CT                                                                               NEW PALESTINE      IN 46163‐9485
RAGAN, DANIEL W           259 ARMSTRONG AVE                                                                           FLUSHING           MI 48433‐9295
RAGAN, DAVID M            333 BIRDIE RD                                                                               GRIFFIN            GA 30223‐5605
RAGAN, DELMAR D           13475 MARIES ROAD 325                                                                       VIENNA             MO 65582‐8198
RAGAN, DESSARAE           R. STAN MORRIS                   2325 HENRY GUNTERSVILLE                                    CROSSVILLE         AL 35976
RAGAN, DESSARE
RAGAN, DEWEY J            10150 SHERIDAN RD                                                                           BURT              MI   48417‐2171
RAGAN, DOROTHY            8099 I‐30 W.                                                                                CUMBY             TX   75433‐9719
RAGAN, GLENN D            115 BROOKVILLE DR                                                                           HARVEST           AL   35749‐9792
RAGAN, JACK R             13300 W 400 S                                                                               DALEVILLE         IN   47334
RAGAN, JAMES              PORTER & MALOUF PA               4670 MCWILLIE DR                                           JACKSON           MS   39206‐5621
RAGAN, JANINE A           3690 MAIN ST APT 20                                                                         MINERAL RIDGE     OH   44440‐9770
RAGAN, JANINE A           3690 MAIN ST #20                                                                            MINERAL RIDGE     OH   44440‐9770
RAGAN, JEANETTE K         8584 N PEOPLES RD                                                                           EDMORE            MI   48829‐9736
RAGAN, JOHN P             1835 FARMBROOK DR                                                                           TROY              MI   48098‐2548
RAGAN, LINDA S            2212 KITCHEN DR                                                                             ANDERSON          IN   46017‐9794
RAGAN, MARIE ALANA        KROHN & MOSS ‐ MO                400 SW LONGVIEW BLVD STE 280                               LEES SUMMIT       MO   64081‐2157
RAGAN, MAUDE A            921 N MORRISON ST                                                                           KOKOMO            IN   46901‐3351
RAGAN, MILDRED C          338 MORGAN HILL RD                                                                          WETUMPKA          AL   36092‐9610
RAGAN, PATRICK HENRY      3136 RISEDORPH AVE                                                                          FLINT             MI   48506‐3047
RAGAN, ROBERT C           417 BOXWOOD LN, EVERGREEN                                                                   MIDDLETOWN        DE   19709
RAGAN, ROBERT F           338 MORGAN HILL RD                                                                          WETUMPKA          AL   36092‐9610
RAGAN, ROSALIND ANN       201 NUTTER ST                                                                               WINDFALL          IN   46076‐9215
RAGAN, STEVEN P           2347 HEMPSTEAD RD                                                                           AUBURN HILLS      MI   48326‐3409
RAGAN, TIMOTHY L          APT 77                           6340 FOX GLEN DRIVE                                        SAGINAW           MI   48638‐7327
RAGAN, TROY FRANKLIN      ADDRESS NOT IN FILE
RAGAN, WALTER G           11833 POINT BLVD                                                                            NEW PORT RICHEY   FL   34654‐1443
RAGAN, WANDA H            PO BOX 473                                                                                  HAYESVILLE        NC   28904‐0473
RAGAN, WARREN E           502 POPLAR THICKET RD                                                                       ALEXANDRIA        KY   41001‐7114
RAGAN, WAYNE O            12670 NICHOLS RD                                                                            BURT              MI   48417‐2392
RAGAN, WILLIAM H          220 WELCOME WAY BLVD W           APT 105D                                                   INDIANAPOLIS      IN   46214‐4956
RAGANO CARMELLA T         RAGANO, CARMELLA T               649 N YORK ST                                              ELMHURST          IL   60126‐1604
RAGANS, BILLIE M          768 N PAUL L DUNBAR ST                                                                      DAYTON            OH   45407‐1927
RAGANS, BILLIE M          768 N PAUL LAURENCE DUNBAR ST                                                               DAYTON            OH   45402‐5927
RAGANS, JUNE R            1306 WALDEN RD                                                                              TALLAHASSEE       FL   32317‐8499
RAGAP JR, HARRY A         965 TROMBLEY DR                                                                             TROY              MI   48083‐5140
RAGAP, ROBERT J           3284 PRATT RD                                                                               METAMORA          MI   48455‐9710
RAGAP, ROBERT JAMES       3284 PRATT RD                                                                               METAMORA          MI   48455‐9710
RAGAR INTERNATIONAL INC   PO BOX 6955                                                                                 LAREDO            TX   78042‐6955
RAGARD, MATTHEW           8 WATERS REACH LANE                                                                         SIMPSONVILLE      SC   29681‐6557
RAGATZ III, THOMAS W      5241 DRAYTON RD                                                                             CLARKSTON         MI   48346‐3709
RAGATZ III, THOMAS W.     5241 DRAYTON RD                                                                             CLARKSTON         MI   48346‐3709
RAGATZ, ANN C             4457 OAK GROVE RD                                                                           NORTH BRANCH      MI   48461‐8933
RAGATZ, JACOB E           2665 COREY ST                                                                               WATERFORD         MI   48328‐2725
RAGATZ, JACOB ELTON       2665 COREY ST                                                                               WATERFORD         MI   48328‐2725
RAGATZ, JUDITH P          2500 MANN RD LOT 301                                                                        CLARKSTON         MI   48346‐4220
RAGATZ, JUDITH P          2500 MAIN RD LOT 301                                                                        CLARKSTON         MI   48346‐4220
RAGATZ, KAY LOUISE        4973 OAK HILL DR                                                                            WATERFORD         MI   48329‐1752
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Name                             Address1                            Address2                          Address3   Address4                City                   State Zip
RAGAUSKAS, MARCELLA R            3137 KENILWORTH AVE                                                                                      BERWYN                   IL 60402‐3002
RAGAUSKAS, MARCELLA R            3137 S KENILWORTH AVE                                                                                    BERWYN                   IL 60402‐3002
RAGAY, MICHAEL J                 PO BOX 293                                                                                               RAPID RIVER             MI 49878‐0293
RAGAZZINE JUDY                   2781 W LIBERTY ST                                                                                        GIRARD                  OH 44420‐3117
RAGAZZINE THOMAS D               2011 N LIPKEY RD                                                                                         NORTH JACKSON           OH 44451‐9607
RAGAZZINE, THOMAS D              2011 N LIPKEY RD                                                                                         NORTH JACKSON           OH 44451‐9607
RAGAZZO, HELEN L                 1245 NILES CORTLAND RD                                                                                   NILES                   OH 44446‐3511
RAGE PERFORMANCE INC             8455 LOMA PL                                                                                             UPLAND                  CA 91786‐4237
RAGEN, ROBERT P                  708 E BEAUMONT AVE                                                                                       MILWAUKEE               WI 53217‐4811
RAGER, JANET M                   805 S PENDLETON AVE                                                                                      PENDLETON               IN 46064‐1356
RAGER, JOANNE                    1503 POLE BRIDGE ROAD                                                                                    MIDDLETOWN              DE 19709‐2169
RAGER, JOHN D                    805 S PENDLETON AVE                                                                                      PENDLETON               IN 46064‐1356
RAGER, LARRY C                   442 PARKVIEW LN                                                                                          RIVER FALLS             WI 54022‐5787
RAGER, RITA E                    107 MOOMAW RD                                                                                            CLARKSVILLE             OH 45113‐8212
RAGER, ROD J                     522 HENN HYDE RD NE                                                                                      WARREN                  OH 44484‐1209
RAGEUR, FLORENCE B               347 NANCY DR                                                                                             BATON ROUGE             LA 70819‐3450
RAGG, JAMES A                    3679 S HOOSIER HWY                                                                                       BLUFFTON                IN 46714‐9675
RAGGETS, JOAN M                  26801 ORIOLE AVENUE                                                                                      EUCLID                  OH 44132‐1524
RAGGI, BRUCE A                   6221 BUCKSKIN DR                                                                                         FARMINGTON              NY 14425‐1136
RAGGI, JEFFREY                   85 HOLLEY BROOK DR                                                                                       PENFIELD                NY 14526‐1145
RAGGIO CAPPEL CHOZEN & BERNIAR   PO BOX 820                                                                                               LAKE CHARLES            LA 70602‐0820
RAGGIO STEFANO                   VIA A. MASARATI 22                                                               29012 CAORSO PC ITALY
RAGHAVA, SMIT                    2025 ROCHELLE RUN                                                                                        ROCHESTER HILLS        MI 48309‐3746
RAGHAVAN, JAGANNATH              25248 CAROLLTON DR                                                                                       FARMINGTON HILLS       MI 48335‐1307
RAGHAVAN, MADHUSUDAN             6816 TRAILVIEW CT                                                                                        WEST BLOOMFIELD        MI 48322‐4562
RAGHBIR S RANDHAWA               4561 FLEMING ST                                                                  VANCOUVER BC V5N 3W4
                                                                                                                  CANADA
RAGHU CHANDOK                    801 KROMRAY RD                                                                                           LEMONT                 IL   60439‐6104
RAGHU KIDAMBI                    RAGHU KIDAMBI                       330 POTRERO AVE                                                      SUNNYVALE              CA   94085‐4113
RAGHU PADMANABHAN                1091 CANYON CREEK DR                                                                                     ROCHESTER HILLS        MI   48306‐4283
RAGHURAM ATTALURI                PO BOX 9022                         GMPT INDIA, PUNE                                                     WARREN                 MI   48090‐9022
RAGIS, JAMES                     47639 PROVINCE CT                                                                                        SHELBY TWP             MI   48315‐4668
RAGLAND CARLIS & RITA            PO BOX 4                                                                                                 SHAWNEE ON DELAWARE    PA   18356‐0004
RAGLAND JR, ALTON                19501 BROOKFIELD LN                                                                                      WARRENSVILLE HEIGHTS   OH   44122‐7030
RAGLAND JR, DEWAYNE              4433 SAINT JAMES CT APT 2                                                                                FLINT                  MI   48532
RAGLAND LAURA                    7015 RADFORD DR                                                                                          FREDERICKSBURG         VA   22407
RAGLAND PAUL                     COONEY & CONWAY                     120 NORTH LASALLE STREET , 30TH                                      CHICAGO                IL   60602
                                                                     FLOOR
RAGLAND, ALLAN D                 5319 BRENDONRIDGE RD                                                                                     INDIANAPOLIS           IN   46226‐1584
RAGLAND, AMARY D                 1156 PELHAM WOOD RD                                                                                      PARKVILLE              MD   21234‐5939
RAGLAND, ANNIE M                 2117 CANNIFF ST                                                                                          FLINT                  MI   48504
RAGLAND, ANNIE M                 COON BRENT W                        PO BOX 4905                                                          BEAUMONT               TX   77704‐4905
RAGLAND, ARLETTA D               613 CHANDLER DR                                                                                          TROTWOOD               OH   45426‐2507
RAGLAND, BEATRICE G              4700 SEVEN SPRINGS RD                                                                                    RAYMOND                MS   39154‐9154
RAGLAND, BEVERLY                 40 TRAFFORD ST                                                                                           LONG BEACH             CA   90805‐2144
RAGLAND, CARLIS N                1 SUSAN CT APT D4                                                                                        WEST ORANGE            NJ   07052‐6244
RAGLAND, CAROL L                 6609 E 134TH ST                                                                                          GRANDVIEW              MO   64030‐3233
RAGLAND, CHARLES W               156 CARROLL CIR                                                                                          CARROLLTON             GA   30117‐2547
RAGLAND, CLARENCE C              546 NIAGARA ST                                                                                           LOCKPORT               NY   14094‐1906
RAGLAND, DARRELL D               18921 OAKFIELD ST                                                                                        DETROIT                MI   48235‐3062
RAGLAND, DEWAYNE                 426 LAFAYETTE STREET                                                                                     FLINT                  MI   48503‐2120
RAGLAND, DOLLIE J                132 DELLWOOD PL                                                                                          GADSDEN                AL   35901‐9691
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Name                       Address1                        Address2                         Address3   Address4         City            State Zip
RAGLAND, DONALD L          152 FAWN LN                                                                                  WEBSTER          NY 14580‐2819
RAGLAND, EVA L             82 S 20TH #D                                                                                 COLUMBUS         OH 43205
RAGLAND, FREIDA            5412 GUY RD.                                                                                 GUNTERSVILLE     AL 35976‐2956
RAGLAND, FREIDA            5412 GUY RD                                                                                  GUNTERSVILLE     AL 35976‐2956
RAGLAND, HAROLD D          1415 DUNLAP AVE                                                                              INDIANAPOLIS     IN 46241‐3911
RAGLAND, IDA A             817 HURON AVE                                                                                DAYTON           OH 45407‐1325
RAGLAND, IMOGENE K         1852 TAMARACK CIR N                                                                          COLUMBUS         OH 43229‐4579
RAGLAND, JAMES E           1156 PELHAM WOOD RD                                                                          BALTIMORE        MD 21234‐5939
RAGLAND, JAMES T           556 LOCUST CORNER RD                                                                         CINCINNATI       OH 45245‐3106
RAGLAND, JOSEPH
RAGLAND, LAURA M           4271 TUXEDO                                                                                  DETROIT         MI   48204‐1547
RAGLAND, LAURA M           20202 LANBURY AVE                                                                            WARRENSVL HTS   OH   44122‐6526
RAGLAND, LAURA M           4271 TUXEDO ST                                                                               DETROIT         MI   48204‐1547
RAGLAND, LEFLORA           PO BOX 201431                                                                                CHICAGO         IL   60620‐7431
RAGLAND, LILONA A          20190 NE 164TH ST                                                                            LUTHER          OK   73054‐8823
RAGLAND, MARION            4184 E 147TH ST                                                                              CLEVELAND       OH   44128‐1865
RAGLAND, MARY H            PO BOX 2112                                                                                  ANDERSON        IN   46018
RAGLAND, MONICA L          4710 SEVEN SPRINGS RD                                                                        RAYMOND         MS   39154‐9612
RAGLAND, NANCY             1917 N HOLMES AVE                                                                            INDIANAPOLIS    IN   46222‐2851
RAGLAND, NIKKIA L          1852 TAMARACK CIR N                                                                          COLUMBUS        OH   43229‐4579
RAGLAND, NIKKIA LANNETTE   1852 TAMARACK CIR N                                                                          COLUMBUS        OH   43229‐4579
RAGLAND, PAUL              COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                               CHICAGO         IL   60602
                                                           FLOOR
RAGLAND, ROBERT A          BUILDING 2646                   APARTMENT 106                                                AUBURN HILLS    MI   48326
RAGLAND, ROBERT A          2646 BEACON HILL CT             APT 106                                                      AUBURN HILLS    MI   48326‐4247
RAGLAND, ROBERT G          5007 DREW CT                                                                                 ARLINGTON       TX   76017‐2309
RAGLAND, ROCHELLE          WOOTEN LAW FIRM                 10 2ND AVE SE                                                LAFAYETTE       AL   36862‐2021
RAGLAND, ROCHELLE          MORRIS HAYNES & HORNSBY         505 NORTH 20TH STREET ‐ SUITE                                BIRMINGHAM      AL   35203
                                                           1150
RAGLAND, STEPHEN K         PO BOX 307161                                                                                COLUMBUS        OH   43230‐7161
RAGLAND, SUSIE M           1406 HAWKWOOD RD                                                                             SHERWOOD        AR   72120‐5521
RAGLAND, TERESA M          426 LAFAYETTE ST                                                                             FLINT           MI   48503‐2120
RAGLAND, TIMOTHY G         3631 FLORIAN DR                                                                              COLUMBUS        OH   43219‐3003
RAGLAND, VELECIA A.        28040 UNIVERSAL DR                                                                           WARREN          MI   48092‐2429
RAGLAND, VERNON T          1826 TERRACE CT                                                                              FLINT           MI   48507‐4330
RAGLAND, WILLIAM D         832 S 23RD ST                                                                                SAGINAW         MI   48601‐1567
RAGLAND, WILLIE A          2917 BARTH ST                                                                                FLINT           MI   48504
RAGLE, JOHN I              258 INCLINE RD                                                                               CORBIN          KY   40701‐9565
RAGLE, JOHNNY M            5309 FENWICK AVE                                                                             NORWOOD         OH   45212‐1609
RAGLE, RL                  GUY WILLIAM S                   PO BOX 509                                                   MCCOMB          MS   39649‐0509
RAGLE, RONALD G            286 JONATHON CT                                                                              LOVELAND        OH   45140‐9561
RAGLE, WILLIAM M           2430 JACKSON ST                                                                              ANDERSON        IN   46016‐5137
RAGLIN, ARTHUR L           3444 SADDLEBROOK WAY                                                                         LAKELAND        FL   33810‐6742
RAGLIN, CAROLYN A          C/O MOODY                       801 WEST FOURTH ST                                           LITTLE ROCK     AR   72201
RAGLIN, CAROLYN A          C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                          LITTLE ROCK     AR   72201
RAGLIN, DANIEL L           6825 TEXTILE RD                                                                              YPSILANTI       MI   48197‐8991
RAGLIN, DEBORAH E          2617 WINDLOW DR                                                                              DAYTON          OH   45406‐1248
RAGLIN, DEBORAH ESTELLE    2617 WINDLOW DR                                                                              DAYTON          OH   45406‐1248
RAGLIN, GARY R             14043 CHANDLER RD                                                                            BATH            MI   48808‐9757
RAGLIN, JAMES R            126 BOYNTON DR                                                                               ALTON           IL   62002
RAGLIN, JESSE H            6509 AVA COURT DR                                                                            FORT WORTH      TX   76112‐8008
RAGLIN, MARGARET           721 DENNISON AVE                                                                             DAYTON          OH   45408‐1220
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RAGLIN, MARK L             6515 FAIRWAY DR                                                                                             JENISON               MI 49428‐9225
RAGLIN, PATRICE A          200 MEADOWLARK DR                                                                                           GODFREY                IL 62035‐2358
RAGLIN, ROBERT J           2704 SCHAAF DR                                                                                              COLUMBUS              OH 43209‐3282
RAGLIN, RONALD F           563 HEATHER DR APT 3A                                                                                       DAYTON                OH 45405‐1739
RAGLIN, TED                LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                                    PHILADELPHIA          PA 19106
                           GRAY                                    510 WALNUT STREET
RAGLON, ARETHA             3817 E 72ND ST                                                                                              KANSAS CITY          MO   64132‐2041
RAGLON, CATHERINE          1418 N WALKER ST                                                                                            HOPE                 AR   71801‐9284
RAGLOW, JAMES F            42652 ARGYLE CT                                                                                             CANTON               MI   48187‐2322
RAGNI, JOSEPH V            5767 CRYSTAL CREEK CT                                                                                       WASHINGTON           MI   48094‐2608
RAGNI, STEVEN J            13838 BARCROFT WAY                                                                                          WARREN               MI   48088‐5106
RAGNO VANESSA              RAGNO, VANESSA                          8001 LINCOLN DRIVE WEST                                             MARLTON              NJ   08053
RAGNO, VANESSA             GORBERG GORBERG & ZUBER                 8001 LINCOLN DRIVE WEST                                             MARITON              NJ   08053
RAGNOLI, DIANA             4510 STRATHCONA                                                                                             HIGHLAND             MI   48357
RAGNONE, ANGELA M          6175 MYRTLE AVE                                                                                             FLUSHING             MI   48433‐2361
RAGNONE, DANTE A           13110 JENNINGS RD                                                                                           LINDEN               MI   48451‐9478
RAGNONE, DANTE ANTHONY     13110 JENNINGS RD                                                                                           LINDEN               MI   48451‐9478
RAGNONE, JAN D             5236 DILLON RD                                                                                              FLUSHING             MI   48433
RAGNONE, JOSEPH D          1031 ROMAN DR                                                                                               FLINT                MI   48507‐4017
RAGNONE, MARY              PO BOX 114                                                                                                  FLUSHING             MI   48433‐0114
RAGNONE, PETER D           PO BOX 114                                                                                                  FLUSHING             MI   48433‐0114
RAGNONE, ROBERT A          5239 DILLON RD                                                                                              FLUSHING             MI   48433‐9706
RAGNONE, STEPHEN W         14021 HOGAN RD                                                                                              LINDEN               MI   48451‐8661
RAGNONE, THOMAS E          12213 TOWNLINE RD                                                                                           GRAND BLANC          MI   48439‐1634
RAGO, F R
RAGO, GEORGE A             6 DARK LEAF DR                                                                                              TRENTON              NJ 08610‐1310
RAGO, MARGARET R           24313 COLGATE ST                                                                                            DEARBORN HEIGHTS     MI 48125‐1907
RAGO, ROSANNE              VIA LIVORNO 14                                                                        CATANIA ITALY 95127
RAGON, LINDA M             2761 HIGHFALLS RD.                                                                                          GRIFFIN              GA   30223‐7736
RAGON, LINDA M             2761 HIGH FALLS RD                                                                                          GRIFFIN              GA   30223‐7736
RAGON, MARY L              2314 DOUBLE EAGLE DR                                                                                        MISSION              TX   78572‐9873
RAGONE, PAUL V             3390 COUNTRY CLUB RD                                                                                        BRONX                NY   10465‐1260
RAGOONANAN, ADESH          12376 LAVENDER LOOP                                                                                         BRADENTON            FL   34212
RAGOONANAN, ANAN           12831 DAISY PL                                                                                              BRADENTON            FL   34212
RAGOZINE, DIANA K          5739 THOMPSON CLARK RD                                                                                      BRISTOLVILLE         OH   44402‐9716
RAGOZINE, MICHAEL C        26 NAVAJO TRL                                                                                               GIRARD               OH   44420‐3631
RAGOZINE, PHILIP R         21501 WILLOW WISP ST                                                                                        SAINT CLAIR SHORES   MI   48082‐2268
RAGOZZINO, GIUSEPPE        226 CHURCHILL RD                                                                                            GIRARD               OH   44420‐1921
RAGOZZINO, NICK G          57350 NORTH AVE                                                                                             RAY                  MI   48096‐4501
RAGSDALE      N/P, IRA M   701 E WOODWARD HTS APT #205                                                                                 HAZEL PARK           MI   48030
RAGSDALE CARL              C/O NADA                                8400 WESTPARK DRIVE                                                 MCLEAN               VA   22102
RAGSDALE CHEVROLET, INC.   324 MAIN ST                                                                                                 SPENCER              MA   01562‐1841
RAGSDALE LENISHA           3416 CHESTNUT RIDGE RD                                                                                      SANTA FE             TN   38482‐3017
RAGSDALE WILLIAM           2005 DUMONT DR                                                                                              VALRICO              FL   33596‐7193
RAGSDALE, CEDRIC B         1900 SUNSET HARBOUR DRIVE               UNIT 1608                                                           MIAMI BEACH          FL   33139
RAGSDALE, CHARLES G        1325 4TH ST                                                                                                 BEDFORD              IN   47421‐1820
RAGSDALE, DAVID L          923 N MITCHNER AVE                                                                                          INDIANAPOLIS         IN   46219‐5121
RAGSDALE, EDITH A          851 HOVEY ST SW                                                                                             GRAND RAPIDS         MI   49504‐6226
RAGSDALE, ELEANOR E        409 W GRIFFIN ST                                                                                            HARRISBURG           AR   72432‐2609
RAGSDALE, ELIZABETH W      519 ATWOOD ST SW                                                                                            ATLANTA              GA   30310‐1605
RAGSDALE, FRAN             1730 BREWER BLVD SW                                                                                         ATLANTA              GA   30310‐4750
RAGSDALE, GARY L           245 WAKEFIELD DR E                                                                                          GREENWOOD            IN   46142
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Name                     Address1                          Address2          Address3         Address4         City               State Zip
RAGSDALE, GARY W         103 N FAYETTE ST                                                                      FAYETTE             OH 43521‐9608
RAGSDALE, GEORGE         PO BOX 264                                                                            PETERSBURG          VA 23804‐0264
RAGSDALE, JAMES E        522 SOUTH LAS UVAS                                                                    GREEN VALLEY        AZ 85614‐2237
RAGSDALE, JAMES H        2840 GRANDVIEW BLVD                                                                   WATERFORD           MI 48329‐2918
RAGSDALE, JAMES H        3601 TURTLE CREEK BLVD APT 1001                                                       DALLAS              TX 75219‐5547
RAGSDALE, JANICE L       140 BARBARA TRL                                                                       SOCIAL CIRCLE       GA 30025‐4920
RAGSDALE, JEANETTE C     2840 GRANDVIEW                                                                        WATERFORD           MI 48329‐2918
RAGSDALE, JENNIFER       704 CATES RD                                                                          GADSDEN             AL 35901‐8181
RAGSDALE, JOHN K         3645 HOMESTEAD CIR W                                                                  PLAINFIELD          IN 46168‐7762
RAGSDALE, JOSEPH G.      2429 PECAN SPRINGS RD                                                                 CLEBURNE            TX 76031‐8823
RAGSDALE, JUDY A         3057 E WILSON RD                                                                      CLIO                MI 48420‐9704
RAGSDALE, JUDY ANN       3057 E WILSON RD                                                                      CLIO                MI 48420‐9704
RAGSDALE, LENISHA        3416 CHESTNUT RIDGE RD                                                                SANTA FE            TN 38482‐3017
RAGSDALE, LESLIE T       HOHN EDWARD L                     205 LINDA DR                                        DAINGERFIELD        TX 75638‐2107
RAGSDALE, LOUIS L        7151 BUHR ST                                                                          DETROIT             MI 48212‐1413
RAGSDALE, MARLYN L       78 SPRINGBROOK RD                                                                     AFTON               TN 37616‐6054
RAGSDALE, MICHAEL C      5398 SQUIRE LN                                                                        FLINT               MI 48506
RAGSDALE, NORMA J        5000 GREELEY                                                                          KANSAS CITY         KS 66104‐3134
RAGSDALE, NORMA J        5000 GREELEY AVE                                                                      KANSAS CITY         KS 66104‐3134
RAGSDALE, RAYMOND        7164 W 812 RD                                                                         FORT GIBSON         OK 74434‐6025
RAGSDALE, RICKEY L       R2                                                                                    VEEDERSBURG         IN 47987
RAGSDALE, RITA G         1774 FORT VALLEY DR SW                                                                ATLANTA             GA 30311‐5113
RAGSDALE, SHARON J       1201 EMERALD DR                                                                       EMERALD ISLE        NC 28594‐6834
RAGSDALE, SHIRLEY M      3981 CEDAR CREEK RD                                                                   SLINGER             WI 53086‐9797
RAGSDALE, STEVEN D       6402 QUAIL RDG W                                                                      PLAINFIELD          IN 46168‐9346
RAGSDALE, TERRI S        11821 WOODLAND HILL DR                                                                CHOCTAW             OK 73020‐8228
RAGSDALE, THOMAS         5320 TAMIANI AVE                                                                      RICHMOND            VA 23227‐2941
RAGSDALE, VIVIAN R       837 LONGVALE DR                                                                       DAYTON              OH 45427
RAGSDALE, WALTER E       7537 MORGAN HOUSE DR                                                                  MEMPHIS             TN 38125
RAGSDALE, WALTER E       1660 SHADOWLAWN BLVD                                                                  MEMPHIS             TN 38106‐5418
RAGSDALE‐VINE, NANCY M   125 BROWN RD                                                                          HOWELL              NJ 07731‐2404
RAGSDEL, PAUL J          83 BENT TREE ESTATE LN                                                                BENTON              KY 42025‐6377
RAGSDILL, KERSTIN R      MOODY EDWARD O                    801 W 4TH ST                                        LITTLE ROCK         AR 72201‐2107
RAGSDILL, STEPHEN A      998 COUNTY ROAD 1255                                                                  DETROIT             TX 75436‐4309
RAGSDILL, STEPHEN A      605 DELTA DR                                                                          EULESS              TX 76039‐7408
RAGSTON, JAMES           7408 VASSAR RD                                                                        OTISVILLE           MI 48463‐9467
RAGU                     800 SYLVAN AVE                                                                        ENGLEWOOD CLIFFS    NJ 07632‐3201
RAGU, SRIDHAR            31475 MOUND RD APT G                                                                  WARREN              MI 48092‐1652
RAGUCCI, MARGARET        445 E86TH ST APT 2I                                                                   NEW YORK            NY 10028
RAGUCKAS, ELEANOR T      3265 LOCHMORE COURT                                                                   COMMERCE TWP        MI 48382‐5117
RAGUCKAS, ROBERT V       72 STEUBEN ST                                                                         MERIDEN             CT 06451‐2804
RAGUSA, BLAISE A         2086 NORTON ST                                                                        ROCHESTER           NY 14609‐2455
RAGUSA, FRANK            GUY WILLIAM S                     PO BOX 509                                          MCCOMB              MS 39649‐0509
RAGUSA, GIOVANNA         115 GOVERNOR TERR                                                                     ROCHESTER           NY 14609‐2834
RAGUSA, MARY H           32 INDEPENDENCE ST                                                                    TARRYTOWN           NY 10591‐4406
RAGUSA, NICOLA           356 NW SHORELINE CIR                                                                  PORT ST LUCIE       FL 34986‐2913
RAGUSA, SALVATORE        329 MARBLEHEAD DR                                                                     ROCHESTER           NY 14615‐1135
RAGUSIN, MARINO M        16304 20TH RD                                                                         WHITESTONE          NY 11357‐4025
RAGUSO, LIDIA            9024 MEADOW MIST CT                                                                   RELEIGH             NC 27617‐7478
RAGUSO, ROBERT           18503 BRIDOON DR                                                                      CYPRESS             TX 77433‐1147
RAGUSO, SANDRA L         37650 GRANTLAND ST                                                                    LIVONIA             MI 48150‐5019
RAGUZ, IVKA              26381 AARON DR                                                                        EUCLID              OH 44132‐2546
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RAGUZ, KAZIMIR                        36426 VALLEYVIEW DR                                                                   EASTLAKE             OH 44095‐1316
RAGUZIN FLAVIO (431480)               THALER STEVEN                    115 BROADWAY FRNT 3                                  NEW YORK             NY 10006‐1638
RAGUZIN, FLAVIO                       THALER STEVEN                    115 BROADWAY FRNT 3                                  NEW YORK             NY 10006‐1638
RAHACH, OTTO J                        10495 ASBURY RD                                                                       MANTUA               OH 44255‐9760
RAHAL‐MILLER CHEVROLET‐BUICK, INC.    QUENTON RAHAL*                   4204 LAFAYETTE ST                                    MARIANNA             FL 32446‐8234

RAHAL‐MILLER CHEVROLET‐BUICK‐CADILL   4204 LAFAYETTE ST                                                                     MARIANNA             FL   32446‐8234

RAHAL‐MILLER CHEVROLET‐BUICK‐         4204 LAFAYETTE ST                                                                     MARIANNA             FL   32446‐8234
CADILLAC
RAHALEY MIKE                          GRAND HARBOR TENNIS CLASSIC      580 ARBOR ST                                         HARBOR SPRINGS      MI    49740‐1304
RAHALL, RONALD J                      514 ORCHARD DR                                                                        MANSFIELD           OH    44903‐9471
RAHALL, WILLIAM J                     24 WOODSIDE ST                                                                        PUTNAM              CT    06260
RAHAMA C WILLIAMS                     585 CREEKSIDE DR                                                                      HUBBARD             OH    44425‐2677
RAHAMA WILLIAMS                       585 CREEKSIDE DR                                                                      HUBBARD             OH    44425‐2677
RAHAMAN, SYED O                       6476 CHURCH ST                                                                        CLARKSTON           MI    48346‐2120
RAHAMING, YVONNE S                    2350 N TAYLOR RD                                                                      CLEVELAND HTS       OH    44112‐3016
RAHBE, EDWARD E                       PO BOX 183                                                                            ELFRIDA             AZ    85610‐0183
RAHE, DANEY E                         10710 E 19TH TER S                                                                    INDEPENDENCE        MO    64052
RAHE, DAWN M                          527 WOODLAND EAST DR                                                                  GREENFIELD          IN    46140‐8890
RAHE, DAWN MARIE                      527 WOODLAND EAST DR                                                                  GREENFIELD          IN    46140‐8890
RAHE, ERIC T                          3901 W 26TH ST                                                                        MUNCIE              IN    47302‐4992
RAHE, JANET                           6713 LAKE RD W                                                                        ASHTABULA           OH    44004‐9285
RAHE, JOHN F                          23170 STATE ROUTE 51 W                                                                GENOA               OH    43430‐1043
RAHE, JOHN FRANCIS                    23170 STATE ROUTE 51 W                                                                GENOA               OH    43430‐1043
RAHE, RAYMOND D                       1813 N FARVIEW DR                                                                     INDEPENDENCE        MO    64058‐1549
RAHEEL
RAHEEL SYED                           41508 GLADE RD                                                                        CANTON              MI    48187‐3770
RAHEEM RA'OOF                         1308 2ND ST                                                                           BIRMINGHAM          AL    35214‐5322
RAHEEM T JOHNSON                      1142 LOCKWOOD RD                                                                      BARBERTON           OH    44203
RAHEL Z AZAZI                         14 MARIO DR.                                                                          DAYTON              OH    45426
RAHEM, LAFAYETTE
RAHHAL, RODGER G                      48630 MANHATTAN CIR                                                                   CANTON              MI    48188‐1496
RAHIE, JOHN G                         15182 MERION CT                                                                       NORTHVILLE          MI    48168‐8491
RAHIJA, JAMES P                       3748 N 124TH ST                                                                       KANSAS CITY         KS    66109‐4217
RAHIJA, JAMES PAUL                    3748 N 124TH ST                                                                       KANSAS CITY         KS    66109‐4217
RAHIJEH ZERKA                         3417 MILLER RD                                                                        FLINT               MI    48503‐4607
RAHILL, CLARENCE G                    8578 LAKESIDE DR                                                                      ENGLEWOOD           FL    34224‐7694
RAHILL, JOAN E                        25280 QUARTERDECK DR                                                                  HARRISON TWP        MI    48045
RAHILL, PHYLLIS E                     8578 LAKESIDE DR                                                                      ENGLEWOOD           FL    34224‐7694
RAHILL, WILLIAM H                     353 4TH CT E                                                                          CARMEL              IN    46033‐1991
RAHILLY, ETHEL P                      137A GEORGETOWN WRIGHTSTOWN RD                                                        WRIGHTSTOWN         NJ    08562‐2518

RAHIM F SHABAZZ                       24 WYNDMOOR AVE                                                                       NEWARK              NJ    07112‐1217
RAHIM MAYANG                          6784 EIDENBOROUGH DR                                                                  WEST BLOOMFIELD     MI    48322
RAHIM, NEHAL S                        9734 RAVENSHIRE DR                                                                    SUPERIOR TOWNSHIP   MI    48198‐3287
RAHJA, JOANNE M                       5802 PRENTICE RD                                                                      WATERFORD           MI    48327‐2658
RAHJA, MARTIN A                       5802 PRENTICE RD                                                                      WATERFORD           MI    48327‐2658
RAHJA, NANCY M                        351 N SQUIRREL RD LOT 104                                                             AUBURN HILLS        MI    48326‐4045
RAHL, CAROLYN S                       112 CENTER STREET                PO BOX 264                                           LAUGHLINTOWN        PA    15655
RAHL, RODNEY G                        14427 HOLMES CIR                                                                      OMAHA               NE    68137‐1326
RAHL, TIMOTHY F                       2261 E VERMONTVILLE HWY                                                               CHARLOTTE           MI    48813‐8705
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Name                              Address1                              Address2                       Address3   Address4         City                 State Zip
RAHLEN MURPHY JR                  8441 NEW LONDON CT                                                                               INDIANAPOLIS          IN 46256‐9783
RAHLF JAMES D                     RAHLF, JAMES D                        7400 W STATE ST                                            WAUWATOSA             WI 53213‐2736
RAHM, ARCHIE F                    405 VERMILION ST                                                                                 GEORGETOWN             IL 61846‐1631
RAHM, BRIAN                       116 T ST NE                                                                                      AUBURN                WA 98002‐5108
RAHM, JACK D                      404 CHAMBERS STREET                                                                              VEEDERSBURG           IN 47987‐8227
RAHM, NAOMI I                     2415 S STRINGTOWN RD                                                                             COVINGTON             IN 47932‐8018
RAHM, RICKY L                     2348 S STRINGTOWN RD                                                                             COVINGTON             IN 47932‐8018
RAHM, RUTH C.                     14068 LAKESIDE BLVD N                                                                            SHELBY TOWNSHIP       MI 48315‐6071
RAHMAAD, LAURA B                  6522 DARYLL DR                                                                                   FLINT                 MI 48505‐1962
RAHMAAD, MARZUQ J                 8215 E POTTER RD                                                                                 DAVISON               MI 48423‐8186
RAHMAN HAKEEM                     103 ASHTON PL                                                                                    SPRING LAKE           NC 28390
RAHMAN HUSAN MD                   5256 POND BLUFF DR                                                                               WEST BLOOMFIELD       MI 48323‐2442
RAHMAN KHALIFA, MARIA C           91 DOGWOOD LN                                                                                    STATEN ISLAND         NY 10305‐2812
RAHMAN LONG                       BRENT COON & ASSOCIATES               215 ORLEANS                                                BEAUMONT              TX 77701
RAHMAN LONG                       1739 NAYLOR LLOYD RD APT 5                                                                       GIRARD                OH 44420
RAHMAN SELINA                     12325 WILD TURKEY CT APT C                                                                       SAINT LOUIS           MO 63141
RAHMAN, ALVAIN M                  100 RIVERFRONT DR APT 901                                                                        DETROIT               MI 48226‐4537
RAHMAN, BILAL A                   2036 JEFFERSON AVE APT 4                                                                         MEMPHIS               TN 38104‐2735
RAHMAN, HUSAN MD                  5256 POND BLUFF DR                                                                               WEST BLOOMFIELD       MI 48323‐2442
RAHMAN, HUSAN MD                  HUSAN RAHMAN                          5256 POND BLUFF DR                                         WEST BLOOMFIELD       MI 48323
RAHMAN, KHWAJA M                  6122 MAYAPPLE DR                                                                                 TROY                  MI 48085‐1065
RAHMAN, MARVIN A                  10804 COBBLESTONE DR                                                                             BENBROOK              TX 76126‐4502
RAHMAN, MOHAMMAD                  3219 RHODE ISLAND DR                                                                             TROY                  MI 48083‐2369
RAHMAN, MOHAMMED M                1929 PLYMOUTH RD APT 3000                                                                        ANN ARBOR             MI 48105‐2148
RAHMAN, MOHAMMED M                1173 NOTTINGHAM RD                                                                               GROSSE POINTE PARK    MI 48230‐1339
RAHMAN, MOHAMMED Z                12516 CLIFF EDGE DRIVE                                                                           HERNDON               VA 20170‐2061
RAHMAN, MOUDUDUR                  5530 SHALE DR                                                                                    TROY                  MI 48085‐3936
RAHMAN, NAIMAH                    109 N BROADWAY #2                                                                                BALTIMORE             MD 21231
RAHMAN, NAZVEEN S                 47418 WALLINGFORD CT                                                                             CANTON                MI 48188‐6284
RAHMAN, NAZVEEN S                 3160 CEDAR CREST DR                                                                              TROY                  MI 48083‐5699
RAHMAN, RAAFAT A                  PO BOX 588                                                                                       PONTE VEDRA BEACH     FL 32004‐0588
RAHMAN, SELINA                    12325 WILD TURKEY CT APT C                                                                       SAINT LOUIS           MO 63141
RAHMAN, SHAKEEB M                 11270 MAPLE VALLEY DR                                                                            PLYMOUTH              MI 48170‐6390
RAHMBERG, JAMES A                 385 CAMPBELL CT                                                                                  TROY                  MO 63379‐1804
RAHME AZAR                        22717 FRANCIS ST                                                                                 SAINT CLAIR SHORES    MI 48082‐1793
RAHME, LANA D                     553 MEADOWDALE ST                                                                                FERNDALE              MI 48220‐2446
RAHMES ROBERT (494115)            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH            PA 15219

RAHMES, ROBERT                    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH            PA 15219

RAHMON GHARAJANLOO                33160 LYNDON ST                                                                                  LIVONIA              MI    48154‐4172
RAHMON, EDWARD                    1904 LOOKOUT POINT PL                                                                            ESCONDIDO            CA    92026‐3347
RAHMON, ELIAS A                   8291 E BRISTOL RD                                                                                DAVISON              MI    48423‐8767
RAHMON, VICTOR                    2755 OAKWOOD CREEK WAY                                                                           ESCONDIDO            CA    92027‐5252
RAHN E LEBO                       300 SNYDER MILL RD                                                                               DALMATIA             PA    17017
RAHN EARL W (415491)              SIMMONS FIRM                          PO BOX 559                                                 WOOD RIVER            IL   62095‐0559
RAHN FOUNTAIN PLAZA PARTNERSHIP   8120 WASHINGTON VILLAGE DR                                                                       DAYTON               OH    45458
RAHN FREDERICK                    12050 HINES CT                                                                                   PLYMOUTH             MI    48170‐1807
RAHN WILLIAM                      691 IROLO ST APT 1010                                                                            LOS ANGELES          CA    90005‐4113
RAHN, ARNOLD J                    3103 CROMWELL ST                                                                                 NORTHVILLE           MI    48167‐8680
RAHN, CONNIE L                    48115 FULLER RD                                                                                  CHESTERFIELD         MI    48051‐2923
RAHN, CRAIG R                     2629 ORO VISTA RD NW                                                                             ALBUQUERQUE          NM    87107‐2947
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RAHN, DENNIS C                     256 W BEVERLY AVE                                                                      PONTIAC                MI 48340‐2623
RAHN, DENNIS C                     494 S PINEGROVE AVE                                                                    WATERFORD              MI 48327‐2849
RAHN, DENNIS CHRISTOPHER           494 S PINEGROVE AVE                                                                    WATERFORD              MI 48327‐2849
RAHN, EARL W                       SIMMONS FIRM                     PO BOX 559                                            WOOD RIVER              IL 62095‐0559
RAHN, EDWARD E                     10904 MISSION LAKES AVE                                                                LAS VEGAS              NV 89134‐5534
RAHN, ESTHER M                     22 S PINE CT                                                                           APPLETON               WI 54914‐8840
RAHN, HAROLD                       3570 RUE FORET APT 82                                                                  FLINT                  MI 48532‐2841
RAHN, JACK F                       5580 3 MILE RD                                                                         BAY CITY               MI 48706‐9005
RAHN, JAMES H                      6581 S FOREST LAKE DR                                                                  ALGER                  MI 48610‐9429
RAHN, JEFFREY A                    5580 3 MILE RD                                                                         BAY CITY               MI 48706‐9005
RAHN, JOANN E                      311 S 5TH ST                     APT 110                                               LINWOOD                MI 48634‐9211
RAHN, LAWRENCE G                   1727 BRIARWOOD DRIVE                                                                   FLINT                  MI 48507‐1433
RAHN, LORYETTA S                   6581 S. FOREST LAKE                                                                    ALGER                  MI 48610
RAHN, MAX LEROY                    BOONE ALEXANDRA                  205 LINDA DR                                          DAINGERFIELD           TX 75638‐2107
RAHN, MELVIN H                     2655 CEDARGROVE S                                                                      JENISON                MI 49428‐7138
RAHN, RALPH A                      91 MESERO WAY                                                                          HOT SPRINGS VILLAGE    AR 71909‐6029
RAHNE, CHARLES D                   3425 COVENTRY DR                                                                       PARMA                  OH 44134‐5652
RAHRIG, RICHARD C                  36411 CHESTNUT RIDGE RD                                                                N RIDGEVILLE           OH 44039‐8609
RAHRIG, SHARON A                   415 48TH ST                                                                            SANDUSKY               OH 44870‐4983
RAHSAAN R PRICE                    1213 WISCONSIN BLVD.                                                                   DAYTON                 OH 45408
RAHTZ, FLORENCE M                  7148 DALEVIEW RD                                                                       CINCINNATI             OH 45247‐3467
RAHTZ, GERALDINE                   17540 FREEDOM LN                                                                       BROWNSTOWN             MI 48193‐4583
RAHTZ, ROBERT P                    742 W SHARON RD                                                                        CINCINNATI             OH 45240‐3121
RAHUL BAHADKAR                     92‐28 212 PLACE                                                                        QUEENS VILLAGE         NY 11428
RAHUL GUPTA                        4190 OAK TREE CIR                                                                      OAKLAND TWP            MI 48306‐4661
RAHUL MITAL                        2706 BROADMOOR DR                                                                      ROCHESTER HILLS        MI 48309‐1368
RAHUL VERMA                        PROEFSSOR BISHAKH BHATTACHARYA   IIT KANPUR       IIT KANPUR       KANPUR INDONESIA    KANPUR
RAHWAY PATHOLOGY, PA               PO BOX 640                                                                             BELLEVILLE             NJ   07109‐0640
RAHWAY VALLEY SEWERAGE AUTHORITY   1050 E HAZELWOOD AVE                                                                   RAHWAY                 NJ   07065‐5818

RAI                                31275 NORTHWESTERN HWY STE 241                                                         FARMINGTON HILLS      MI    48334‐2579
RAI PARVATANENI                    43405 HOPTREE DR                                                                       STERLING HTS          MI    48314‐4500
RAI, DEVI N                        2848 RIVER TRAIL DR                                                                    ROCHESTER HILLS       MI    48309‐3201
RAI, NAND S                        2848 RIVER TRAIL DR                                                                    ROCHESTER HILLS       MI    48309‐3201
RAIA DELOR WHITE                   1930 SNOWY EGRET                                                                       NEW BRAUNFELS         TX    78130‐1232
RAIA ERNEST                        11 BAYBERRY LN                                                                         MIDDLETOWN            NJ    07748‐1424
RAIA, DONNA M                      56726 INLAND CT                                                                        MACOMB                MI    48042‐1189
RAIA, JULIA                        815 CARTIER DR                                                                         CANAL FULTON          OH    44614‐8482
RAIA, PETER A                      41111 HIDDEN OAKS DR                                                                   CLINTON TOWNSHIP      MI    48038‐4531
RAIA, ROY D                        531 N OXFORD ST                                                                        INDIANAPOLIS          IN    46201‐2457
RAIBLE, JACK M                     7350 CHINO VALLEY DR SW                                                                BYRON CENTER          MI    49315‐8571
RAIBLE, JOHN M                     10691 NORTH 900 WEST                                                                   CARTHAGE              IN    46115‐9433
RAIC, ILIJA                        6507 DRESDEN CT                                                                        ALPHARETTA            GA    30005‐8387
RAICH, ERIC J                      3963 EDWARD DR                                                                         BRUNSWICK             OH    44212‐1509
RAICH, STEVE H                     23890 SETTLERS DR                                                                      MACOMB                MI    48042‐5923
RAICHE, MARY J                     1311 W DELAVAN DR                                                                      JANESVILLE            WI    53546
RAICHEL, DAVID                     1214 LOWER FERRY RD                                                                    EWING                 NJ    08618‐1446
RAICHEL, DUANE R                   10394 E POTTER RD                                                                      DAVISON               MI    48423‐8163
RAICHEL, EUNICE H                  6812 CARLINDA AVE                                                                      COLUMBIA              MD    21046‐1109
RAICHEL, FRANCES R                 10394 E POTTER RD                                                                      DAVISON               MI    48423‐8163
RAICHEL, FRANCES RAMONA            10394 E POTTER RD                                                                      DAVISON               MI    48423‐8163
RAICHEL, MARY D.                   128 SHREWSBURY CT                                                                      PENNINGTON            NJ    08534‐5409
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RAICHEL, PEARL                      5304 RAY RD                                                                                                LINDEN           MI 48451‐8461
RAICHLE BANNING WEISS & STEPHENS    R WM STEPHENS\RAICHLE BANNING     410 MAIN ST                                                              BUFFALO          NY 14202
RAICHLE BANNING WEISS & STEPHENS    410 MAIN ST                                                                                                BUFFALO          NY 14202
ATTORNEYS AT LAW
RAICHOUNI, KARIM                    26848 ROCHELLE ST                                                                                          DEARBORN HTS    MI   48127‐3646
RAIDAN SOBH                         468 CHARING CROSS DR                                                                                       GRAND BLANC     MI   48439‐1569
RAIDEL, THOMAS G                    709 POPLAR AVE                                                                                             AUSTINTOWN      OH   44515‐1440
RAIDER AVIAT/MT PLEA                PO BOX 112                                                                                                 MT PLEASANT     TN   38474‐0112
RAIDER TRUCK LINES INC              PO BOX 3998                                                                                                VANDERGRIFT     PA   15690
RAIDER, ERNEST E                    2771 BRANTWOOD CT.                                                                                         DAYTON          OH   45414‐2158
RAIDER, PETER J                     19 S BOROUGH RD                                                                                            SOUTHINGTON     CT   06489
RAIDL‐DAURIO, JANELL A              18962 N 94TH WAY                                                                                           SCOTTSDALE      AZ   85255‐5504
RAIF COLEMAN SR                     C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                HOUSTON         TX   77007
                                    BOUNDAS LLP
RAIFF, DONALD L                     3905 GORDON ST                                                                                             TERRELL         NC 28682‐9732
RAIFF, JEROME E                     917 CHELSEA AVE                                                                                            DAYTON          OH 45420‐2724
RAIFFEISEN KAPITALANLAGE            BERNSTEIN LITOWITZ BERGER &       1285 AVENUE OF THE AMERICAS                                              NEW YORK        NY 10019‐6028
GESELLSCHAFT MBH                    GROSSMANN
RAIFFEISEN ZENTRALBANK OESTERREICH  ELENA VAYSSAKH                    GEORG GUNDOLF                 DIANOVA 20‐127    OMSK, 644073, RUSSIA
AG
RAIFFEISEN ZENTRALBANK OESTERREICH  PFIRSCHING HEINRICH               13 SAN MARTINI IN POGGIO      50020 PONTICINO   ITALY
AG
RAIFFEISEN ZENTRALBANK OESTERREICH  LOEWER BRUNO
AG
RAIFFEISEN ZENTRALBANK OESTERREICH  POCK WILLIBALD
AG
RAIFFEISEN ZENTRALBANK OESTERREICH  PEHR‐PRILLER OTTILIE
AG
RAIFFEISEN ZENTRALBANK OESTERREICH  SCHILCHER STEFAN
AG
RAIFFEISENBANK BASEL                 ST. JAKOBSSTRASSE 7                                                              4052                     BASEL
RAIFFEISENBANK BASEL                ST JAKOBSTRASSE 7                                                                 4052 BASEL SWITZERLAND
RAIFFEISENLANDESBANK                EUROPAPLATZ 1A                    4020 LINZ
OBEROESTERREICH AKT
RAIFFEISENLANDESBANK OBER╓STERREICH 4020 LINZ
AG
RAIFFEISENLANDESBANK OBER╓STERREICH EUROPAPLATZ 1A                    4020 LINZ
AKTI
RAIFORD BROOKSHIRE                  5295 LINDEN RD                                                                                             SWARTZ CREEK    MI   48473‐8200
RAIFORD HELTON                      747 DAVIS RD                                                                                               CARROLLTON      GA   30116‐6260
RAIFORD JIMMY & KAREN               316 OAK ST                                                                                                 SMITHFIELD      NC   27577‐5025
RAIFORD MCCRAW                      16538 ROBERTS ST                                                                                           ROSEVILLE       MI   48066‐3715
RAIFORD, CLAUDE D                   C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                                      LITTLE ROCK     AR   72201
RAIFORD, CLAUDE D                   MOODY EDWARD O                    801 W 4TH ST                                                             LITTLE ROCK     AR   72201‐2107
RAIFORD, DIANA K                    6304 NW 24TH ST                                                                                            OKLAHOMA CITY   OK   73127‐1405
RAIFORD, DONNA                      1386 BELL AVENUE                                                                                           SOPERTON        GA   30457‐3516
RAIFORD, GILBERT R                  3 GATEWAY                                                                                                  EUCLID          OH   44119‐2447
RAIFORD, SAMUEL T                   6409 HOOVER AVE                                                                                            TROTWOOD        OH   45427‐1551
RAIFORD, WILLIAM B                  MERKEL & COCKE                    PO BOX 1388                                                              CLARKSDALE      MS   38614‐1388
RAIFSNIDER, CHESTER R               1277 COUNTY ROAD 327                                                                                       GLEN ROSE       TX   76043‐5459
RAIFSNIDER, MYRNA G                 17484 JUNIPER DR                                                                                           CONKLIN         MI   49403‐9730
RAIGER, ELAINE D                    8259 FAIRHILL DR. N. E.                                                                                    WARREN          OH   44484‐1916
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Name                           Address1                             Address2                         Address3   Address4                 City             State Zip
RAIGNER, VICTOR W              280 HODGES LN                                                                                             WINCHESTER        VA 22603‐2146
RAIGOSA, HECTOR O              4908 WOOD CREEK DR                                                                                        CARMEL            IN 46033‐5963
RAIGOSA, HECTOR OCTAVIO        4908 WOOD CREEK DR                                                                                        CARMEL            IN 46033‐5963
RAIK HERING                    OISTERWIJKER STR. 24                 63303 DREIEICH
RAIK HERING                    OISTERWIJKER STR 24                                                              63303 DREIEICH GERMANY
RAIKE, MICHAEL W               11017 HARRIS RD                                                                                           DEFIANCE         OH    43512‐8906
RAIKE, MICHAEL WAYNE           11017 HARRIS RD                                                                                           DEFIANCE         OH    43512‐8906
RAIKE, STUART W                1326 LAKEWAY DR                                                                                           DEFIANCE         MO    63341‐1431
RAIKE, STUART WALKER           1326 LAKEWAY DR                                                                                           DEFIANCE         MO    63341‐1431
RAIKE, TIFFANIE R              11017 HARRIS RD                                                                                           DEFIANCE         OH    43512‐8906
RAIKES, DANIEL W               11364 CARRIER AVE                                                                                         WARREN           MI    48089‐1072
RAIL HEAD CFS                  69 LE FANTE LANE                                                                                          BAYONNE          NJ    07002
RAIL SCALE INC                 7235 BONNEVAL RD                                                                                          JACKSONVILLE     FL    32256‐7565
RAIL TECH LLC                  PO BOX 85567                                                                                              WESTLAND         MI    48185‐0567
RAIL‐BRIDGE CORP               535 MOUNTAIN AVE                                                                                          NEW PROVIDENCE   NJ    07974
RAILCREW XPRESS                JEFF HILL                            15729 COLLEGE BLVD                                                   LENEXA           KS    66219‐1360
RAILEAN, DAVID C               1564 N GARFIELD RD                                                                                        LINWOOD          MI    48634‐9754
RAILER JR, PERRY E             6225 SOMMERSET RD                                                                                         LANSING          MI    48911‐5677
RAILER, PERRY E                2418 W KALAMAZOO ST                                                                                       LANSING          MI    48917‐3845
RAILER/NSHVILLE                PO BOX 101494                                                                                             NASHVILLE        TN    37224‐1494
RAILEY GEORGE DONALD JR        DBA FURNITURE ART WORKSHOP LLC       934 PARKEY RD                                                        GAMBRILLS        MD    21054‐1045
RAILEY, EARLE T                32 LORENZ AVE                                                                                             DAYTON           OH    45417‐2251
RAILEY, HOWARD J               PO BOX 404                                                                                                RICHMOND         MO    64085‐0404
RAILEY, PATRICK W              402 CUNNINGHAM ST                                                                                         RICHMOND         MO    64085‐2156
RAILEY, RANDALL J              300 PARLIAMENT DRIVE                                                                                      HORSESHOE BND    AR    72512‐3324
RAILI SCOTT                    2638 CONNESTEE TRL                                                                                        BREVARD          NC    28712‐7405
RAILI, MARIA R                 1520 CHURCH ST                                                                                            SIMI VALLEY      CA    93065‐3974
RAILI, MARIA R                 1520 N.CHURCH ST                                                                                          SIMI VALLEY      CA    93065‐3974
RAILLING, EDWARD B             15924 FOWLER RD                                                                                           OAKLEY           MI    48649‐8756
RAILLING, EDWARD BRUCE         15924 FOWLER RD                                                                                           OAKLEY           MI    48649‐8756
RAILLING, FREDERICK            1885 BELFAST FARMINGTON RD                                                                                LEWISBURG        TN    37091‐7020
RAILROAD COMMISSION OF TEXAS
RAILSBACK, NORMAN L            804 SHADY LN                                                                                              BEDFORD          TX    76021‐5330
RAILSIDE AUTO SERVICE          213 RAILROAD ST                                                                                           WAYLAND          MI    49348‐1053
RAILSON, HILDA                 3131 SIERRA HWY APT 6O                                                                                    ROSAMOND         CA    93560
RAILSON, RODERICK L            29021 BOUQUET CANYON RD SPC 265                                                                           SANTA CLARITA    CA    91390‐3176
RAILSTON, DALE B               6671 GOLDEN STAR CV                                                                                       BARTLETT         TN    38134‐1800
RAILTECH LLC                   38235 N EXECUTIVE DR                 PO BOX 85567                                                         WESTLAND         MI    48185‐1971
RAILTECH LLC                   PO BOX 85567                                                                                              WESTLAND         MI    48185‐0567
RAILWAY COMPANY                GENERAL MOTORS CORPORATION
RAILWORKS ANNEX/ARMCORE        1624 W ARMSTRONG RD                  PO BOX 433                                                           FRANKFORT        IN 46041‐8272
RAILWORKS ANNEX/ARMCORE        1550 N BAILEY RD                                                                                          NORTH JACKSON    OH 44451‐8601
RAILWORKS CORP                 ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 10                                                            MOLINE           MI 49335‐0010
                               AGENT
RAILWORKS TRACK SERVICES INC   1550 N BAILEY RD                                                                                          N JACKSON        OH    44451‐9601
RAIMAN, LOUIS                  75 E OVERLOOK WAY                                                                                         MANALAPAN        NJ    07726
RAIMATO, MARIO M               202 LAFAYETTE ST                                                                                          KENNETT SQ       PA    19348‐3214
RAIMI J BLACKERBY              117 N WEST ST                                                                                             ROYAL OAK        MI    48067‐2261
RAIMONDI ANTHONY               RAIMONDI, ANTHONY                    120 WEST MADISON STREET , 10TH                                       CHICAGO          IL    60602
                                                                    FLOOR
RAIMONDI, ANTHONY              KROHN & MOSS ‐ IL                    120 WEST MADISON STREET, 10TH                                        CHICAGO           IL   60602
                                                                    FLOOR
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Name                               Address1                             Address2               Address3         Address4                City            State Zip
RAIMONDI, ROBERT R                 15 GRAHAM BLVD                                                                                       STATEN ISLAND    NY 10305‐4044
RAIMONDI, WILLIAM R                14 WHITE TAIL CT                                                                                     STROUDSBURG      PA 18360‐8962
RAIMUND HIRASHIMA                  612 N SANDPIPER                                                                                      INGLESIDE        TX 78362‐4686
RAIMUND KAMPE                      VON NEUENAHR STR. 22                                                         50181 BEDBURG GERMANY
RAIMUND KAMPE                      IGNAZ‐PERNER‐STR. 1A                 85560 EBERSBERG
RAIMUND KOSCHYK                    PARISER STR. 52                      10719 BERLIN
RAIMUND KOSCHYK                    PARISER STR. 52                                                              10719 BERLIN GERMANY
RAIMUNDO MARIN                     42148 GOLDEN EAGLE LANE                                                                              PALM DESERT     CA 92260‐7941
RAIN AND HAIL LLC                  9200 NORTHPARK DR STE 300                                                                            JOHNSTON        IA 50131‐3006
RAIN AND HAIL LLC                  MONIKA SCHALLER                      9200 NORTHPARK DRIVE                                            JOHNSTON        IA 50131
RAIN CLOUD LTD                     C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT    2 RAFFLES LINK   MARINA BAYFRONT
                                   LIMITED                                                                      SINGAPORE 039392
RAIN FOR RENT                      221 MCDONALD AVE                                                                                     JOLIET          IL    60431‐7929
RAIN, CURT M                       5568 SEYBOLD RD                                                                                      BROOKVILLE      OH    45309‐8241
RAIN, KIRK J                       409 W COMMERCE ST                                                                                    MILFORD         MI    48381‐1823
RAIN, ROBERT J                     6080 WATERLOO RD                                                                                     CENTERVILLE     OH    45459‐1915
RAINA CHAVEZ                       356 NELSON ST                                                                                        PONTIAC         MI    48342‐1544
RAINA CRANE                        672 GARFIELD AVE                                                                                     MOUNT MORRIS    MI    48458‐1522
RAINA GETER                        11324 RIVERDALE                                                                                      REDFORD         MI    48239‐1441
RAINBO COMPANY LLC
RAINBOLT JEFFREY                   PO BOX 6767                                                                                          SANTA BARBARA   CA    93160‐6767
RAINBOLT, CLIFFORD E               PO BOX 504                                                                                           EMINENCE        MO    65466‐0504
RAINBOLT, DARLENE S                PO BOX 2056                                                                                          BAY MINETTE     AL    36507‐2056
RAINBOLT, JIM K                    16699 PEACOCK LN                                                                                     HASLETT         MI    48840‐9136
RAINBOLT, JOANNE M                 16699 PEACOCK LN                                                                                     HASLETT         MI    48840‐9136
RAINBOLT, JOYCE M                  17935 GILL ST                                                                                        ROBERTSDALE     AL    36567‐3077
RAINBOLT, MARK R                   11192 LAKE RD                                                                                        OTISVILLE       MI    48463‐9716
RAINBOLT, MAXINE E                 16699 PEACOCK LN                    C/O JIM K RAINBOLT                                               HASLETT         MI    48840‐9136
RAINBOLT, ROBERT A                 17935 GILL ST                                                                                        ROBERTSDALE     AL    36567‐3077
RAINBOLT, ROBERTA B                11771 SILVER LAKE ROAD                                                                               BYRON           MI    48418
RAINBOW                            ATTN: SHATONYA TERRY                6565 WOODWARD AVE                                                DETROIT         MI    48202‐3239
RAINBOW AUTO                       10122 124 AVE                                                                GRANDE PRAIRIE AB T8V
                                                                                                                0R4 CANADA
RAINBOW CHEVROLET CADILLAC, LLC    GUILLERMO PAREDES                   1916 JACKSBORO PIKE                                              LA FOLLETTE     TN    37766‐3103
RAINBOW CHEVROLET CADILLAC, LLC    1916 JACKSBORO PIKE                                                                                  LA FOLLETTE     TN    37766‐3103
RAINBOW CHEVROLET, INC.            GERALD CUTTER                       711 ALA MOANA BLVD                                               HONOLULU        HI    96813‐5506
RAINBOW CHEVROLET‐PONTIAC, L.L.C.  LLOYD GUILLOT                       2020 W AIRLINE HWY                                               LA PLACE        LA    70068‐3032
RAINBOW CHEVROLET‐PONTIAC, L.L.C.  2020 W AIRLINE HWY                                                                                   LA PLACE        LA    70068‐3032
RAINBOW CITY, AL                   DIRECTOR OF REVENUE
RAINBOW GIFTS AND FLOWERS          NO ADDRESS
RAINBOW KITCHEN COMMUNITY SERVICES 135 E 9TH AVE                                                                                        HOMESTEAD       PA 15120‐1601

RAINBOW LAUNDRY & DRY CLEANING     ATTN: DONNA KOUNTOURIS              5825 JACKMAN RD                                                  TOLEDO          OH 43613‐1764
RAINBOW LOGISTICS LLC              PO BOX 7160                                                                                          RAINBOW CITY    AL 35906‐7160
RAINBOW NORTHSHORE PONTIAC BUICK   2925 N HIGHWAY 190                                                                                   COVINGTON       LA 70433‐9036
GM
RAINBOW NORTHSHORE PONTIAC BUICK   2925 N HIGHWAY 190                                                                                   COVINGTON        LA   70433‐9036
GMC, L.L.C.
RAINBOW NORTHSHORE PONTIAC BUICK   CRAIG BOUDREAUX                     2925 N HIGHWAY 190                                               COVINGTON        LA   70433‐9036
GMC, L.L.C.
RAINBOW PRINTING                   2139 16TH ST                        PO BOX 97                                                        BEDFORD          IN   47421‐3003
RAINBOW PRINTING                   PO BOX 97                                                                                            BEDFORD          IN   47421
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Name                            Address1                         Address2                 Address3    Address4              City                     State Zip
RAINBOW PROMOTIONS LLC          3505 LONG BEACH BLVD STE 2G                                                                 LONG BEACH                CA 90807‐3947
RAINBOW ROOM                    30 ROCKEFELLER PLAZA                                                                        NEW YORK                  NY 10112
RAINBOW TRUCKING SERVICES INC   2425 RALPH AVE                                                                              LOUISVILLE                KY 40216‐5038
RAINBOW, MARY L                 161 E LORAIN ST                                                                             OBERLIN                   OH 44074‐1211
RAINBOW, MARY L                 161 E. LORAIN STREET                                                                        OBERLIN                   OH 44074‐1211
RAINCHECK LOUNGE INC            310 S AVERILL AVE                                                                           FLINT                     MI 48506‐4006
RAINDROP GEOMAGIC               PO BOX 12219                                                                                RESEARCH TRIANGLE PARK    NC 27709‐2219

RAINE JR, FRANK F               1222 EMMONS AVE                                                                             BIRMINGHAM               MI    48009‐2082
RAINE, BURKE                    2903 STATE ST APT 3103                                                                      DALLAS                   TX    75204
RAINE, JAMES E                  113 FAWNS REST ROAD                                                                         SILER CITY               NC    27344‐9429
RAINE, VIRGINIA L               1375 S GALENA ST., APT# L1101                                                               DENVER                   CO    80247
RAINE, WILLIE L                 16805 GERARD AVE                                                                            MAPLE HEIGHTS            OH    44137‐3306
RAINEE DAY                      19900 SPRING CREEK RD                                                                       MACOMB                   OK    74852‐8807
RAINEE S DAY                    19900 SPRING CREEK RD                                                                       MACOMB                   OK    74852‐8807
RAINELL GODDARD                 9622 COVENTRY COURT 422                                                                     NORTHVILLE               MI    48167
RAINER & ANNA WADEWITZ          KURGARFENWEG 7                                                        72250 FREUDEUSTADT
                                                                                                      GERMANY
RAINER AND ELISABETH MICHELS    LAERCHENWEG 34                                                        D‐74747 RAVENSTEIN
                                                                                                      GERMANY
RAINER AND HELGA ELSNER         AM HIRSCHSPRUNG 11                                                    34508 WILLINGEN
                                                                                                      GERMANY
RAINER D. LEMCKE                GEIBELSTRASSE 12                                                      29664 WALSRODE
                                                                                                      GERMANY
RAINER DORFF                    MERGENTHEIMER STR. 20            D‐50968 K╓LN
RAINER DUCHMANN                 OSKAR‐VON‐MILLER‐STRASSE 20                                           60314 FRANKFURT AM
                                                                                                      MAIN GERMANY
RAINER EBERTH
RAINER GERHARZ                  2105 RUSSET DR                                                                              TROY                     MI 48098‐5220
RAINER GLASER                   2500 DEAN DR                                                                                WASHINGTON               MI 48094‐1055
RAINER GOEHRING                 FREILIGRATHSTRASSE 13                                                 GERMANY
RAINER GOETSCH                  VAN KEMPEN STR. 6                                                                           KOELN                          51143
RAINER G╓HRING                  FREILIGRATHSTRASSE 13                                                                       HOFHEIM                        65719
RAINER HAAS                     ZUM FUERSTENBERG 39                                                   D‐59755 ARNSBERG
                                                                                                      GERMANY
RAINER HAAS                     ZUM F▄RSTENBERG 39               D‐59755 ARNSBERG
RAINER HALSTENBACH              MYLLENDONKER STR. 253            41065 MOENCHENGLADBACH
RAINER HOLST                    AM SEEDEICH 1                                                         HILLGROVEN 25764
                                                                                                      GERMANY
RAINER JUNKER                   BLUMENWEG 29                                                          D‐63128 DIETZENBACH
                                                                                                      GERMANY
RAINER LAPP                     324 MCCABE ST                                                                               PORT CHARLOTTE            FL   33953‐3637
RAINER LINGENTHAL               AHORNSTR.6                                                                                  BERLIN                         14163
RAINER LINGENTHAL               AHORNSTR.6                       14163 BERLIN
RAINER MATT                     GOLDAMMERWEG 3                                                                              WAIBLINGEN               DE 71336
RAINER MATTERN                  AM LINDLEIN 1
RAINER MICHELS                  LAERCHENWEG 34                   D‐74747 RAVENSTEIN
RAINER MICHELS                  LAERCHENWEG 34                                                        D‐74747 RAVENSTEIN
                                                                                                      GERMANY
RAINER OR EDITH HOESS           INNERBERG 43                                                          A‐6133 WEERBERG /
                                                                                                      EUROPE ‐ AUSTRIA
RAINER OSTERLOH                 1948 HILL RD                                                                                WENTZVILLE               MO 63385‐2615
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Name                             Address1                         Address2                  Address3   Address4               City              State Zip
RAINER PIOTROWSKI                26940 COOLIDGE ST N                                                                          DEARBORN HTS       MI 48127‐2868
RAINER PUFAHL                    MONTGOLFIER‐ALLEE 17             60486 FRANKFURT
RAINER PUFHAL AND KARIN PUFAHL   MONTGOLFIER ALLEE 17             60486 FRANKFURT                      GERMANY
RAINER RATZESBERGER              MUELBERGERSTRASSE 91                                                                         ESSLINGEN              73728
RAINER WEINGARTNER               KAISER‐WILHELM‐RING 34                                                40545 DUSSELDORF
                                                                                                       GERMANY
RAINER WINKELHAKE                HEILIGENSTADTER WEG 13                                                D‐37213 WITZENHAUSEN
                                                                                                       GERMANY
RAINER WINKELHAKE                HEILIGENST─DTERWEG 13                                                 037213 WITZENHAUSEN
                                                                                                       GERMANY
RAINER, ANNIE D                  P.O. BOX 175                                                                                 SANDHILL          MS   39161‐9161
RAINER, BILLY R                  2104 URBANDALE ST                                                                            SHREVEPORT        LA   71118‐3327
RAINER, BILLY W                  9000 W WILDERNESS WAY APT 57                                                                 SHREVEPORT        LA   71106‐6833
RAINER, DANIEL L                 321 S DEL RANCHO                                                                             MESA              AZ   85208‐8767
RAINER, DONALD L                 3019 GEORGE ST                                                                               ANDERSON          IN   46016‐5448
RAINER, ELIZABETH A              321 S DEL RANCHO                                                                             MESA              AZ   85208‐8767
RAINER, FREDERICK W              307 GREENVILLE AVE                                                                           EWING             NJ   08638‐3507
RAINER, JAMES E                  22 ELLWOOD PL                                                                                CHEEKTOWAGA       NY   14225‐2619
RAINER, LOUISE B                 476A MARTIN LUTHER KING BLVD.                                                                TRENTON           NJ   08618
RAINER, M                        C/O CAROLE SCHLATTER             3111 FUTURA DRIVE                                           ROSWELL           NM   88201‐7703
RAINER, M                        3111 FUTURA DRIVE                                                                            ROSWELL           NM   88201‐7703
RAINER, ORAS E                   601 OAK AVE                                                                                  PEVELY            MO   63070‐2040
RAINER, PATRICIA M               3336 HESSEL AVE                                                                              ROCHESTER HILLS   MI   48307‐4842
RAINER, RICHARD A                78 E SUMMERSET LN                                                                            AMHERST           NY   14228‐1611
RAINER, RICHARD L                PO BOX 103                                                                                   FORTVILLE         IN   46040‐0103
RAINER, SARAH V                  5209 KIMBERLY DR                                                                             GRAND BLANC       MI   48439‐5161
RAINER, WALTER P                 10149 HAMILTON ST                                                                            BELLEVILLE        MI   48111‐1406
RAINES AUTO CENTER               401 S LOUISE ST                                                                              ATLANTA           TX   75551‐2704
RAINES JERRY                     7986 FM 749                                                                                  PAMPA             TX   79065‐1706
RAINES JR, ALVIN
RAINES JR, CHARLES A             10980 E NICKLEPLATE RD                                                                       PEWAMO            MI   48873‐9739
RAINES JR, JOHN T                3725 RON LN                                                                                  YOUNGSTOWN        OH   44505‐4344
RAINES JR, WILLIAM D             4701 202ND ROAD                                                                              SOLDIER           KS   66540
RAINES RITA                      RAINES, RITA                     298 CRESTWOOD CROSSINGS                                     POWDER SPRINGS    GA   30127
RAINES SR, EDMOND J              6301 JOHNSON RD                                                                              LOWELLVILLE       OH   44436‐9785
RAINES, AARON L                  1141 CRESCENT LAKE RD                                                                        WATERFORD         MI   48327‐2411
RAINES, ALAN W                   8027 HILLSIDE CV                                                                             OLIVE BRANCH      MS   38654‐1521
RAINES, ARLENE G.                5085 ZINK RD                                                                                 MAYBEE            MI   48159‐9612
RAINES, AUBREY K                 104 ARLINGTON CT                                                                             KOKOMO            IN   46902‐9320
RAINES, AUTUM LEOTA              2032 2ND ST                                                                                  WESTLAND          MI   48186‐9747
RAINES, BETTY J                  1594 NORTHWEST BLVD 3                                                                        COLUMBUS          OH   43212
RAINES, BETTY J                  #A                               1620 GRANDVIEW AVENUE                                       COLUMBUS          OH   43212‐2458
RAINES, BETTY JO                 23 ORILLA DR                                                                                 BRIDGETON         NJ   08302‐4320
RAINES, BETTY JO                 23 ORILLIA DR.                                                                               BRIDGETON         NJ   08302‐4320
RAINES, BILL N                   44 PETE PRITCHETT LN                                                                         BEDFORD           IN   47421‐8537
RAINES, BLANCHE M                3949 W ALEXANDER RD UNIT 1353                                                                N LAS VEGAS       NV   89032‐2927
RAINES, BLANCHE M                3949 W ALEXANDER RD              APT #1353                                                   N LAS VEGAS       NV   89032‐2927
RAINES, BRIAN M                  1906 SAINT LOUIS DR                                                                          KOKOMO            IN   46902‐5994
RAINES, CATHERINE                626 HIGH ST                                                                                  ELYRIA            OH   44035‐3150
RAINES, CATHERINE                626 HIGH STREET                                                                              ELYRIA            OH   44035‐3150
RAINES, CECIL R                  1784 KENNERLY RD                                                                             ORANGEBURG        SC   29118‐9160
RAINES, CECILIA M                2114 N F ST                                                                                  ELWOOD            IN   46036‐1351
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RAINES, CECILIA M      2114 NORTH F ST                                                                            ELWOOD            IN 46036‐1351
RAINES, CHARLOTTE F    1822 FAIRVIEW ST                                                                           ANDERSON          IN 46016‐4138
RAINES, CHERYL A       1623 W 1300 N                                                                              FARR WEST         UT 84404‐3487
RAINES, CHERYL L       1911 GRAYSON HWY #8‐143                                                                    GRAYSON           GA 30017‐1245
RAINES, CINDY A        3828 BURCHFIELD DR                                                                         LANSING           MI 48910‐4489
RAINES, CLINTON        238 WHITWORTH DR SW                                                                        ATLANTA           GA 30331‐3816
RAINES, DAPHNE         6700 TARA BLVD APT G5                                                                      JONESBORO         GA 30236‐1475
RAINES, DARLENE A      3175 ARIS ST NW                                                                            WARREN            OH 44485‐1604
RAINES, DARRIN L       7620 WOODWIND DR                                                                           ALVARADO          TX 76009‐8653
RAINES, DEVIN D        21431 163RD ST                                                                             BASEHOR           KS 66007‐5166
RAINES, DEVIN DEVEE    21431 163RD ST                                                                             BASEHOR           KS 66007‐5166
RAINES, ERICA          5611 HEATHLAND CIR                                                                         CLARKSTON         MI 48346‐3114
RAINES, FLOYD B        8948 FOX GLOVE WAY                                                                         MIAMISBURG        OH 45342‐5257
RAINES, FRED           145 ACADEMY CT APT 119                                                                     ELYRIA            OH 44035
RAINES, GEORGE C       513 HARDING PLACE                                                                          KALAMAZOO         MI 49007‐2470
RAINES, GEORGE CLEVE   513 HARDING PLACE                                                                          KALAMAZOO         MI 49007‐2470
RAINES, GEORGE F       871 SITES RD                                                                               MANSFIELD         OH 44903‐8854
RAINES, GEORGE M       43 CRESTWOOD DR                                                                            MIDDLETOWN        IN 47356‐9317
RAINES, GERALD         19190 SORRENTO ST                                                                          DETROIT           MI 48235‐1230
RAINES, HERBERT L      PO BOX 7097                                                                                DEFIANCE          OH 43512‐7097
RAINES, JOHN D         8457 WASHINGTON VILLAGE DR                                                                 CENTERVILLE       OH 45458‐1846
RAINES, JOSEPH E       13570 BROOKS RD                                                                            CEMENT CITY       MI 49233‐9622
RAINES, JOSEPH E       35103 BAKEWELL ST                                                                          WESTLAND          MI 48185‐2161
RAINES, LAURIE L       15106 POTOMAC ST NE                                                                        FOREST LAKE       MN 55025‐9447
RAINES, LAWRENCE       2145 COITSVILLE HUBBARD RD                                                                 YOUNGSTOWN        OH 44505‐4377
RAINES, LOIS           PO BOX 363                    714MAPLE ST                                                  FRANKTON          IN 46044‐0363
RAINES, LOIS           714MAPLE ST PO BOX 363                                                                     FRANKTON          IN 46044
RAINES, MARGARET L     21431 163RD ST                                                                             BASEHOR           KS 66007‐5166
RAINES, MARK J         218 CEDAR PARK DR                                                                          CENTERVILLE       TN 37033‐4158
RAINES, MARY           1007 HIGHLAND RD                                                                           EASLEY            SC 29640‐2633
RAINES, MARY F         7506 W 450 N                                                                               SHARPSVILLE       IN 46060‐8944
RAINES, MARY F         812 MELODY LANE                                                                            KOKOMO            IN 46902‐3938
RAINES, MARY J         1210 OPEN FORK RD                                                                          MOREHEAD          KY 40351‐7662
RAINES, MARY M         610 THORNE GAP RD                                                                          COOKEVILLE        TN 38506‐7799
RAINES, MEGAN S        3668 S SHIMMONS CIR                                                                        AUBURN HILLS      MI 48326‐3920
RAINES, MERLE          GUY WILLIAM S                 PO BOX 509                                                   MCCOMB            MS 39649‐0509
RAINES, MICHAEL J      2160 SPRING HOLLOW LN                                                                      GERMANTOWN        TN 38139‐5628
RAINES, MICHEAL C      5611 HEATHLAND CIR                                                                         CLARKSTON         MI 48346‐3114
RAINES, NANCY M        RR 1 BOX 96‐P                                                                              BASEHOR           KS 66007
RAINES, RAYMOND D      5602 COUNTY ROAD A                                                                         LIBERTY CTR       OH 43532‐9602
RAINES, RITA           298 CRESTWOOD CROSSINGS                                                                    POWDER SPRINGS    GA 30127
RAINES, ROBERT C       2755 SUBSTATION RD                                                                         MEDINA            OH 44256‐8307
RAINES, ROBERT C       2755 SUB STATION RD                                                                        MEDINA            OH 44256‐8307
RAINES, RONALD D       930 PALAMINO DR                                                                            OVID              MI 48866‐9501
RAINES, STEPHANIE L    6210 MUNSELL RD                                                                            HOWELL            MI 48843‐9638
RAINES, SUSAN          KROGER GARDIS & REGAS LLP     111 MONUMENT CIR STE 900                                     INDIANAPOLIS      IN 46204
RAINES, SUSAN          GIRARDI AND KEESE             1126 WILSHIRE BLVD                                           LOS ANGELES       CA 90017
RAINES, SUSAN          ENGSTROM LIPSCOMB & LACK      10100 SANTA MONICA BOULEVARD ,                               LOS ANGELES       CA 90067‐4107
                                                     16TH FLOOR
RAINES, SUSAN R        PO BOX 301                                                                                 OOLITIC          IN 47451‐0301
RAINES, THOMAS H       686 DOE LANE                                                                               MANSFIELD        GA 30055‐2111
RAINES, THOMAS H       686 DOE LN                                                                                 MANSFIELD        GA 30055‐2111
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Name                      Address1                          Address2                             Address3   Address4         City             State Zip
RAINES, THOMAS L          410 BANKSTOWN RD                                                                                   BROOKS            GA 30205‐1609
RAINES, VELLA             715 W JACKSON ST                                                                                   ALEXANDRIA        IN 46001‐1316
RAINES, WANDA L           1122 EVANSCOVE RD                                                                                  MAGGIE VALLEY     NC 28751‐9546
RAINES, WANDA L           1122 EVANS COVE RD                                                                                 MAGGY VALLEY      NC 28751‐9546
RAINES, WILLIE            1510 UNIONPORT RD APT 5F                                                                           BRONX             NY 10462‐7804
RAINEY CLARECE            C/O GOLDBERG PERSKY WHITE PC      1030 FIFTH AVE                                                   PITTSBURGH        PA 15219
RAINEY JAMES W (404900)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510
                                                            STREET, SUITE 600
RAINEY JR, ARVIL G        846 BENCHWOOD CT                                                                                   WINTER SPRINGS   FL    32708‐5109
RAINEY JR, CLIFTON        753 MILLER RUN                                                                                     ATLANTA          GA    30349‐1048
RAINEY JR, EDWARD L       5180 LOST DUTCHMAN DR                                                                              LITHONIA         GA    30038‐3802
RAINEY JR, EDWARD L       PO BOX 82630                                                                                       CONYERS          GA    30013
RAINEY JR, JAMES B        2904 N TIMBER LN                                                                                   MUNCIE           IN    47304‐5432
RAINEY JR, LESTER E       9500 N WHEELING AVE LOT 38                                                                         MUNCIE           IN    47304‐9100
RAINEY JR, RODDEY         22450 FAIRWAY DR                                                                                   SOUTHFIELD       MI    48033‐6644
RAINEY JR, WILLIAM T      1013 MIMOSA CT                                                                                     CONWAY           SC    29527‐5919
RAINEY RHONDA             ARTHUR, RODERICK STACY            1100 FINANCIAL CENTER ‐ 505                                      BIRMINGHAM       AL    35203
                                                            NORTH 20TH STREET
RAINEY RHONDA             ARTHUR, RYAN                      1100 FINANCIAL CTR 505 20TH ST. N.                               BIRMINGHAM        AL   34203

RAINEY RHONDA             FRYE, WESLEY                      440 W MAIN ST                                                    CENTRE            AL   35960‐1312
RAINEY RHONDA             FRYE, WESLEY                      1100 FINANCIAL CENTER ‐ 505                                      BIRMINGHAM        AL   35203
                                                            NORTH 20TH STREET
RAINEY RHONDA             RAINEY, RHONDA                    1100 FINANCIAL CTR 505 20TH ST. N.                               BIRMINGHAM        AL   34203

RAINEY ROBERT (664773)    SIMMONS FIRM                      PO BOX 521                                                       EAST ALTON       IL    62024‐0519
RAINEY RUTH E             413 BROOMSAGE RD                                                                                   BEDFORD          IN    47421‐7578
RAINEY SABRINA            RAINEY, SABRINA                   9450 OLD LOVELESS VILLE ROAD                                     PADUCAH          KY    42001
RAINEY SR, LESTER E       5801 W BETHEL AVE                                                                                  MUNCIE           IN    47304
RAINEY SR, LESTER E       # 224                             5801 WEST BETHEL AVENUE                                          MUNCIE           IN    47304‐9549
RAINEY'S AUTOMOTIVE       408 MAIN ST NW                                                                                     LENOIR           NC    28645‐5107
RAINEY'S REPAIR CENTER    79 GEORGES RD # 87                                                                                 NEW BRUNSWICK    NJ    08901
RAINEY, ALFRED            PO BOX 25                                                                                          MOORESVILLE      AL    35649‐0025
RAINEY, ALFRED            3720 JUNIPER BAY RD                                                                                CONWAY           SC    29527‐4219
RAINEY, ALTON D           PO BOX 42                                                                                          KILLEN           AL    35645‐0042
RAINEY, ANTHONY T         2952 LONGWOOD DR                                                                                   JACKSON          MS    39212‐2513
RAINEY, BESSIE            PO BOX 965                                                                                         PERRYSBURG       OH    43552‐0965
RAINEY, BONITA S          PO BOX 87                                                                                          MARKLEVILLE      IN    46056‐0087
RAINEY, C. SUE            308 STATE ROAD 58 E                                                                                BEDFORD          IN    47421‐7671
RAINEY, C. SUE            308 STATE RD. 58 E.                                                                                BEDFORD          IN    47421‐7671
RAINEY, CAROLYN H         334 KENNEDY SELLS RD                                                                               AUBURN           GA    30011‐3452
RAINEY, CAROLYN H         334 KENNEDY‐SELLS RD                                                                               AUBURN           GA    30011‐3452
RAINEY, CARRIE L          757 DUBUQUE DR                                                                                     MONTGOMERY       AL    36109
RAINEY, CHARLES O         19 MARY ELAINE DR                                                                                  HAMILTON         OH    45013‐3818
RAINEY, CLARENCE          SAVINIS JANICE M                  1030 FIFTH AVE, THIRD FL                                         PITTSBURGH       PA    15219
RAINEY, CLAUDETTE FRANC   3905 VINEYARD RD                                                                                   KANSAS CITY      MO    64130‐1631
RAINEY, CLAUDETTE FRANC   7715 E 90TH ST                                                                                     KANSAS CITY      MO    64138‐4014
RAINEY, DANIEL A          3164 OLD WINCHESTER TRL                                                                            XENIA            OH    45385‐8737
RAINEY, DEWITT L          5713 LAKEFRONT DR                                                                                  SHREVEPORT       LA    71119‐3913
RAINEY, DONALD B          7785 W OTSEGO LAKE DR                                                                              GAYLORD          MI    49735‐8650
RAINEY, DOROTHY G         2023 FLAMINGO WAY                                                                                  FRANKLIN         IN    46131‐7774
RAINEY, EARNEST L         PO BOX 1041                                                                                        MADISON          TN    37116‐1041
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Name                    Address1                         Address2                      Address3   Address4         City             State Zip
RAINEY, EDWARD R        670 HARRIS RD                                                                              BOLIVAR           TN 38008‐4054
RAINEY, ELIZABETH       399 LEETONIA DRIVE                                                                         TROY              MI 48085‐5517
RAINEY, ELIZABETH       1717 W FORK RD                                                                             CINCINNATI        OH 45223‐1207
RAINEY, ELZIE E         35 ANDREA ST                                                                               WURTLAND          KY 41144‐6283
RAINEY, FRANCES         17531 ARDMORE ST                                                                           DETROIT           MI 48235‐2604
RAINEY, FRANKLIN D      1700 UNDERWOOD ST                                                                          NASHVILLE         TN 37208‐2448
RAINEY, GEORGE D        1106 N GENESEE DR                                                                          LANSING           MI 48915‐1910
RAINEY, GWENDOLYN C     5250 HIGHWAY 138 APT 3322                                                                  UNION CITY        GA 30291‐6520
RAINEY, HAVAND
RAINEY, HELEN A         7207 CRESCENT DRIVE                                                                        MASON            OH   45040
RAINEY, HELEN D         11403 WILSON RD                                                                            MONTROSE         MI   48457‐9115
RAINEY, HOWARD W        6618 PARKWOOD DR                                                                           LOCKPORT         NY   14094‐6644
RAINEY, HOWARD WARNER   6618 PARKWOOD DR                                                                           LOCKPORT         NY   14094‐6644
RAINEY, JACK D          PO BOX 411                                                                                 NEWPORT          IN   47966‐0411
RAINEY, JACK R          9705 HICKORY HOLLOW RD LOT 43                                                              LEESBURG         FL   34788‐9363
RAINEY, JAMES D         777 HIGH OAKS CIR                                                                          BEAVERCREEK      OH   45434‐6014
RAINEY, JAMES D         901 HOLLYWOOD DR                                                                           OWOSSO           MI   48867‐1141
RAINEY, JAMES F         1942 TRIPP RD                                                                              WOODSTOCK        GA   30188‐1916
RAINEY, JAMES L         16209 N 200 W                                                                              SUMMITVILLE      IN   46070‐9375
RAINEY, JAMES V         121 ARISTIDES ST                                                                           DUNEDIN          FL   34698‐9601
RAINEY, JAMES W         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                         STREET, SUITE 600
RAINEY, JAMESETTA N     4170 MCCLOSKEY CT                                                                          CHANTILLY        VA   20151
RAINEY, JASON S         159 BEREHAVEN DRIVE                                                                        BUFFALO          NY   14228‐1837
RAINEY, JASON SCOTT     159 BEREHAVEN DRIVE                                                                        BUFFALO          NY   14228‐1837
RAINEY, JEAN N          3507 EVAN BROOKE DR SW                                                                     GRANDVILLE       MI   49418‐9274
RAINEY, JENNIE          1927 LOOMIS                                                                                ROCKFORD         IL   61102‐2665
RAINEY, JENNIE          1927 LOOMIS ST                                                                             ROCKFORD         IL   61102‐2665
RAINEY, JUDITH A.       8580 SUNNINGDALE BLVD                                                                      INDIANAPOLIS     IN   46234‐7002
RAINEY, KAPELYN         9450 OLD LOVELESS VILLE ROAD                                                               PADUCAH          KY   42001
RAINEY, KATHELENE A     2000 SOUTH PHILLIP DRIVE                                                                   MUNCIE           IN   47302‐2037
RAINEY, L V             5240 HARVARD AVE                                                                           RAYTOWN          MO   64133‐2344
RAINEY, LINDA A         2158 W FAIRWAY DR                                                                          BRANDON          MS   39047‐8628
RAINEY, LLOYD
RAINEY, LORA E          1248 NE 43RD TER                                                                           KANSAS CITY      MO   64116‐2250
RAINEY, LORENE P        12741 ALCOVY RD                                                                            COVINGTON        GA   30014
RAINEY, M R             PO BOX 79078                                                                               SAINT LOUIS      MO   63178‐9078
RAINEY, MARILYN J       777 HIGH OAKS CIR                                                                          BEAVERCREEK      OH   45434‐6014
RAINEY, MARSHA S        654 N. HICKORY ST                                                                          OWOSSO           MI   48867‐2330
RAINEY, MARSHA S        654 N HICKORY ST                                                                           OWOSSO           MI   48867‐2330
RAINEY, MATTIE R        2117 CHESTNUT HILL CR                                                                      DECATUR          GA   30032‐6116
RAINEY, MELINDA K       122 RUBEN RD                                                                               SPRING HILL      TN   37174‐9604
RAINEY, MICHELE L       5240 HARVARD AVE                                                                           RAYTOWN          MO   64133‐2344
RAINEY, MIKITA M        2717 MACKIN RD                                                                             FLINT            MI   48504‐3389
RAINEY, MINERVA F       1724 W CATALPA AVE 101                                                                     ANAHEIM          CA   92801
RAINEY, OLIE W          PO BOX 803                                                                                 FITZGERALD       GA   31750‐0803
RAINEY, OMA             1118 S. M13                                                                                LENNON           MI   48449‐9329
RAINEY, OPAL            15561 BRANDT ST                                                                            ROMULUS          MI   48174‐3208
RAINEY, PATRICIA A      820 PROSPECT ST                                                                            SANDUSKY         OH   44870
RAINEY, PAUL J          9046 WESTFIELD DR                                                                          FLUSHING         MI   48433‐8812
RAINEY, PAUL JAMES      9046 WESTFIELD DR                                                                          FLUSHING         MI   48433‐8812
RAINEY, R A             531 CARROLTON BLVD                                                                         WEST LAFAYETTE   IN   47906
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Name                           Address1                         Address2                             Address3        Address4         City              State Zip
RAINEY, RENEE Q                6040 CHARLESGATE ROAD                                                                                  DAYTON             OH 45424‐1123
RAINEY, RHONDA
RAINEY, RHONDA                 SMITH & ALSPAUGH                 1100 FINANCIAL CTR 505 20TH ST. N.                                    BIRMINGHAM         AL   34203

RAINEY, RHONDA                 C/O SMITH & ALSPAUGH PC          1100 FINANCIAL CTR                   505 20TH ST N                    BIRMINGHAM        AL    35203
RAINEY, RICHARD K              PO BOX 22                                                                                              ATLANTIC          IA    50022‐0022
RAINEY, ROBERT                 SIMMONS FIRM                     PO BOX 521                                                            EAST ALTON        IL    62024‐0519
RAINEY, ROBERT A               2462 HOLLY MOUNTAIN RD                                                                                 CLINTON           AR    72031‐6490
RAINEY, ROBERT P               1042 HAYES AVE                                                                                         HAMILTON          OH    45015‐2022
RAINEY, RODGER D               9112 FENTON RD                                                                                         GRAND BLANC       MI    48439‐8313
RAINEY, RODGER DALE            9112 FENTON RD                                                                                         GRAND BLANC       MI    48439‐8313
RAINEY, ROGER D                7770 COUNTY ROAD 59                                                                                    MOULTON           AL    35650‐5291
RAINEY, RUSSELL L              1187 KINGSTON AVE                                                                                      FLINT             MI    48507‐4743
RAINEY, SABRINA                9450 OLD LOVELESS VILLE ROAD                                                                           PADUCAH           KY    42001
RAINEY, SHIRLEY                1607 DEERFIELD DR                                                                                      CLARKSVILLE       TN    37043‐5943
RAINEY, STEPHEN L              PO BOX 793                                                                                             DULUTH            GA    30096‐0015
RAINEY, STEPHEN LAMAR          PO BOX 793                                                                                             DULUTH            GA    30096‐0015
RAINEY, STEVEN R               PO BOX 256                                                                                             NEW PALESTINE     IN    46163‐0256
RAINEY, TINA M                 1216 WALNUT ST                                                                                         OWOSSO            MI    48867‐4329
RAINEY, TINA MARIE             1216 WALNUT ST                                                                                         OWOSSO            MI    48867‐4329
RAINEY, TONY R                 1841 S WALNUT ST                                                                                       JANESVILLE        WI    53546‐6050
RAINEY, WILBERT M              PO BOX 12185                                                                                           HAMTRAMCK         MI    48212‐0185
RAINEY, WILBERT S              PO BOX 61                                                                                              SMOKERUN          PA    16681‐0061
RAINEY, WILLENE J              4031 DOSTER DR SW                                                                                      ATLANTA           GA    30331‐4357
RAINEY, WILLIAM T              22590 FRISBEE ST                                                                                       DETROIT           MI    48219‐1864
RAINEY, WILLIE M.              1811 CECILIA DR SE                                                                                     ATLANTA           GA    30316‐3647
RAINFOREST FOUNDATION          32 BROADWAY STE 1614                                                                                   NEW YORK          NY    10004‐1633
RAINGE SR, JOSEPH E            890 VILLAGE GREEN LANE           BLD 3 APT 1030                                                        WATERFORD         MI    48328
RAINGE, ERNESTIN               1645 MARSHBANK DR                                                                                      PONTIAC           MI    48340‐1077
RAINGE, LINDA S                1770 UNIVERSITY DR                                                                                     COLUMBIA          TN    38401‐6412
RAINGE, LOUIS A                1645 MARSHBANK DR                                                                                      PONTIAC           MI    48340‐1077
RAINGE, MARY J                 31 LOCUST RD                                                                                           CHELMSFORD        MA    01824‐3848
RAINGE‐WORKS, MILDRED L        577 WALL ST                                                                                            HAYNEVILLE        AL    36040‐6311
RAINIE CLONTZ                  1333 LESLEY AVE                                                                                        INDIANAPOLIS      IN    46219‐3143
RAINIER ROBERT M SR (461723)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                            BALTIMORE         MD    21202
                                                                CHARLES CENTER 22ND FLOOR
RAINIER SR., RICHARD W         PO BOX 482                                                                                             GREAT CACAPON     WV 25422‐0482
RAINIER, ROBERT M              ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                             BALTIMORE         MD 21202
                                                                CHARLES CENTER 22ND FLOOR
RAINIER, VIRGINIA B            119 ELIZABETH AVE                                                                                      TRENTON           NJ    08610‐6521
RAINKIN WAYNE                  1070 CRESTVIEW CT UNIT 7                                                                               ESTES PARK        CO    80517‐9135
RAINKO, FRANK W                53222 HILLSIDE DR                                                                                      SHELBY TOWNSHIP   MI    48316‐2734
RAINKO, JOHN T                 37716 IRENE DR                                                                                         STERLING HTS      MI    48312‐1934
RAINKO, WALTER                 37321 MAAS DR                                                                                          STERLING HTS      MI    48312‐1945
RAINMAKERTHINKING INC          125 LAWRENCE ST                                                                                        NEW HAVEN         CT    06511‐2543
RAINNEY, JOHN A                8783 BECKUM HOLLOW RD                                                                                  MT PLEASANT       TN    38474‐3220
RAINNEY, JOHN W                5601 DUNCAN RD LOT 29                                                                                  PUNTA GORDA       FL    33982‐4736
RAINNEY, LINDA S               1065 FOUNTAIN HEAD LANE                                                                                LAWRENCEVILLE     GA    30043‐7538
RAINONE VITO (354892)          ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                   NEW YORK          NY    10006‐1638
RAINONE, RICHARD A             PO BOX 79                                                                                              HANOVERTON        OH    44423‐0079
RAINONE, VITO                  ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                                   NEW YORK          NY    10006‐1638
RAINS DAVID                    APT 1412                         607 BIGLEAF MAPLE WAY                                                 WESTFIELD         IN    46074‐6013
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Name                         Address1                          Address2                      Address3   Address4         City             State Zip
RAINS HERSHEL L (355958)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                               STREET, SUITE 600
RAINS JOHN EDWARD (433295)   SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                           HASTINGS         MN   55033‐2432
RAINS JR, BOYD A             13480 CEDAR VALLEY RD                                                                       SALADO           TX   76571‐6801
RAINS JR, JAMES A            14995 W PINCHOT AVE                                                                         GOODYEAR         AZ   85395‐8676
RAINS JR, ROY R              409 E GREEN ST                                                                              MONTPELIER       IN   47359‐1311
RAINS JR, SAMUEL L           419 SOUTHWAY CT                                                                             BARGERSVILLE     IN   46106‐9397
RAINS JR, SAMUEL LEE         419 SOUTHWAY CT                                                                             BARGERSVILLE     IN   46106‐9397
RAINS SR, LEROY              3533 BARKERS MILL RD                                                                        CLARKSVILLE      TN   37042‐1510
RAINS THOMAS B (626725)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                               STREET, SUITE 600
RAINS, AGNES M               PO BOX 1314                                                                                 POWELL           TN   37849
RAINS, BERTHA P              3327 TOWNSHIP LINE RD                                                                       LEBANON          OH   45036‐9730
RAINS, BONNIE L              329 S CLEARVIEW DR                                                                          NEW CASTLE       IN   47362‐9136
RAINS, CARL                  WEITZ & LUXENBERG                 180 MAIDEN LANE                                           NEW YORK         NY   10038
RAINS, CARL W                110 OHIO ST                                                                                 YPSILANTI        MI   48198‐7820
RAINS, CAROLYN M             112 W MAIN ST                                                                               CHESTERFIELD     IN   46017‐1106
RAINS, CHARLES E             1307 HENRY HALL DRIVE                                                                       MURFREESBORO     TN   37129‐6465
RAINS, CHARLES R             5411 ROLSTON AVE                                                                            NORWOOD          OH   45212‐1035
RAINS, CHARLES RAY           PO BOX 490                                                                                  BLOOMFIELD       KY   40008‐0490
RAINS, CLARA                 1747 HUFFMAN AVE                                                                            DAYTON           OH   45403‐3109
RAINS, CLIFFORD W            300 COUNTY ROAD 2415                                                                        HONEY GROVE      TX   75446‐3204
RAINS, CLYDE W               43632 APPOMATTAX CT                                                                         CANTON           MI   48188‐1707
RAINS, CLYTIE                243 WINONA DR                                                                               HENDERSON        NV   89015
RAINS, DARRELL A             7029 WESTON CT                                                                              INDIANAPOLIS     IN   46214‐3642
RAINS, DAVID E               271 REDBUD CIR                                                                              ANDERSON         IN   46013‐1034
RAINS, DAVID J               1815 EMERSON AVE                                                                            YPSILANTI        MI   48198‐9266
RAINS, DAVID JAMES           1815 EMERSON AVE                                                                            YPSILANTI        MI   48198‐9266
RAINS, DAVID M               PO BOX 95206                                                                                OKLAHOMA CITY    OK   73143‐5206
RAINS, DAVID M               1346 PEMBROKE LN                                                                            OXFORD           MI   48371‐5924
RAINS, DELMER                5208 S BREEZEWOOD DR                                                                        MUNCIE           IN   47302‐9121
RAINS, DONALD L              PO BOX 12730                                                                                NORWOOD          OH   45212‐0730
RAINS, DONNA S               13437 KETRIDGE AVE                                                                          PORT CHARLOTTE   FL   33953‐1324
RAINS, DOROTHY J             65 CLIFF END ST                                                                             WILLIAMSBURG     KY   40769‐2017
RAINS, EDNA                  2604 N DOGWOOD                                                                              SALLISAW         OK   74955‐1800
RAINS, EDSEL Y               1508 14TH AVE SW                                                                            DECATUR          AL   35601‐5402
RAINS, EDWARD L              122 DEEDS AVENUE                                                                            DAYTON           OH   45404‐1716
RAINS, ELDON M               4229 JOHNSTON AVE                                                                           RIDGECREST       CA   93555‐8355
RAINS, ELLA C                329 GLOUCHESTER DR                                                                          LOCUST GROVE     GA   30248‐2057
RAINS, FLONNIE M             120 APT1D SAILBOAT RUN                                                                      DAYTON           OH   45458
RAINS, GEORGE L              200 W 69TH ST                                                                               CINCINNATI       OH   45216‐1914
RAINS, GEORGE LARRY          200 W 69TH ST                                                                               CINCINNATI       OH   45216‐1914
RAINS, GEORGE W              1529 UPPER TUG FORK RD                                                                      ALEXANDRIA       KY   41001‐8875
RAINS, HERSHELL L            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                               STREET, SUITE 600
RAINS, JAMES L               660 OAKLAWN CIR                                                                             CORBIN           KY   40701‐2927
RAINS, JEANNE C              917 LONGFELLOW RD                                                                           ANDERSON         IN   46011‐1827
RAINS, JERRY D               PO BOX 963                                                                                  FLEMING NEON     KY   41840‐0963
RAINS, JERRY K               7326 KIMBERLY LN                                                                            PLAINFIELD       IN   46168‐8460
RAINS, JIMMIE S              PO BOX 3048                                                                                 SANTA CLARA      CA   95055‐3048
RAINS, JIMMY R               20050 KARR RD                                                                               BELLEVILLE       MI   48111‐8610
RAINS, JIMMY R               1815 EMERSON AVE                                                                            YPSILANTI        MI   48198‐9266
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Name                         Address1                          Address2                      Address3   Address4         City              State Zip
RAINS, JIMMY RAY             1815 EMERSON AVE                                                                            YPSILANTI          MI 48198‐9266
RAINS, JOHN                  1106 HARDING ST                                                                             RICHLAND           WA 99352‐4214
RAINS, JOHN B                1340 CAVE SPRINGS ESTATE DR                                                                 SAINT PETERS       MO 63376‐6525
RAINS, JOHN EDWARD           SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                           HASTINGS           MN 55033‐2432
RAINS, KENNETH L             1424 N 10TH ST                                                                              VAN BUREN          AR 72956‐2687
RAINS, LINDA S               5909 HIGHWAY 805                                                                            JENKINS            KY 41537‐8884
RAINS, LOIS                  110 OHIO ST,                                                                                YPSILANTI          MI 49198‐7820
RAINS, LOUIS R               PO BOX 652                                                                                  BRADFORD           AR 72020‐0652
RAINS, LOYD E                RT.1 BOX 553 G                                                                              NEWALLA            OK 74857
RAINS, MARION E              115 VERNON PL                                                                               CARLISLE           OH 45005‐3779
RAINS, MARION E              115 VERNON PLACE                                                                            CARLISLE           OH 45005‐3779
RAINS, MARK A                2522 GADWALL CIR                                                                            INDIANAPOLIS       IN 46234‐9657
RAINS, MARTHA W              129 E MARKET ST STE 1100          C/O KONSTANTINE ORFANOS                                   INDIANAPOLIS       IN 46204‐3295
RAINS, MYRTLE A              80 PHEASANT RUN CIRCLE                                                                      SPRINGBORO         OH 45066‐1492
RAINS, NORA F                3260 GLADY RD                                                                               BLANCHESTER        OH 45107‐7894
RAINS, PEGGY S               RT 1 BOX 553 G                                                                              NEWALLA            OK 74857
RAINS, RICHARD L             6140 W RALSTON RD                                                                           INDIANAPOLIS       IN 46221‐9679
RAINS, RONALD L              855 VALLEY CIRCLE DR APT 101                                                                SALINE             MI 48176‐1452
RAINS, RUSSELL J             1718 S PENN ST                                                                              MUNCIE             IN 47302‐3576
RAINS, RUSSELL JAY           1718 S PENN ST                                                                              MUNCIE             IN 47302‐3576
RAINS, SIDNEY A              6033 HOLLISTER DR                                                                           INDIANAPOLIS       IN 46224‐3042
RAINS, STEVEN C              1714 MEYER CT                                                                               GREENVILLE         MI 48838‐8180
RAINS, THOMAS B              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                               STREET, SUITE 600
RAINS, VERNON C              4702 SPRINGBROOK DR                                                                         WILLIAMSBURG      MI   49690‐9330
RAINS, VIRGIL                BARTON & WILLIAMS                 3007 MAGNOLIA ST                                          PASCAGOULA        MS   39567‐4126
RAINS, VIRGINIA A            6344 THORNEYCROFT DR                                                                        SHELBY TOWNSHIP   MI   48316‐3343
RAINS, WALTER C              3327 TOWNSHIP LINE RD                                                                       LEBANON           OH   45036‐9730
RAINS, WAYNE L               220 WILLOW LN                                                                               HARTSVILLE        TN   37074‐3864
RAINS, WILLIAM H             495 HIGHWAY 1534                                                                            PINEVILLE         KY   40977‐7906
RAINS, WILMA F               180 ANDY FOX LN                                                                             CLINTON           TN   37716‐7052
RAINSFORD, JOHN G            4737 MOORPARK WAY                                                                           SACRAMENTO        CA   95842‐3146
RAINTREE ISLAND APARTMENTS   DBA RAINTREE APARTMENTS           103 RAINTREE IS                                           TONAWANDA         NY   14150‐2701
RAINVILLE, JOSEPH D          1699 MACINTYRE RD                                                                           CALEDONIA         NY   14423‐9710
RAINWATER DORIS              6667 GASCONY PL                                                                             FORT WORTH        TX   76132‐3575
RAINWATER MOTOR CO.          800 N ROONEY ST                                                                             FORT STOCKTON     TX   79735‐5729
RAINWATER, BETTY J           752 N. PARK ST                                                                              OWOSSO            MI   48867
RAINWATER, BETTY J           752 N PARK ST                                                                               OWOSSO            MI   48867‐1747
RAINWATER, BONNEE B          819 E VW AVE                                                                                VICKSBURG         MI   49097‐7732
RAINWATER, BRADLEY S         5100 ATLAS RD                                                                               GRAND BLANC       MI   48439‐9707
RAINWATER, BRADLEY SCOTT     5100 ATLAS RD                                                                               GRAND BLANC       MI   48439‐9707
RAINWATER, DAVID L           5080 WAY ST                                                                                 BURTON            MI   48509‐1537
RAINWATER, DESSIE M          C/O MOODY                         801 WEST FOURTH ST                                        LITTLE ROCK       AR   72201
RAINWATER, DESSIE M          C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                       LITTLE ROCK       AR   72201
RAINWATER, DEWEY E           46070 MEADOWS CIR E                                                                         MACOMB            MI   48044‐3940
RAINWATER, HAROLD V          752 N PARK ST                                                                               OWOSSO            MI   48867‐7147
RAINWATER, HILLMAN           407 W MILL ST                                                                               MILLSTADT         IL   62260‐1151
RAINWATER, JAMES R           25745 MOUNT PLEASANT RD                                                                     ARCADIA           IN   46030‐9555
RAINWATER, JULIAN            511 LUM HARPER RD                                                                           DERIDDER          LA   70634‐7784
RAINWATER, JULIE R           2296 MACSCOTT CT                                                                            SWARTZ CREEK      MI   48473‐9740
RAINWATER, JULIE RENE        2296 MACSCOTT CT                                                                            SWARTZ CREEK      MI   48473‐9740
RAINWATER, KESSI S           G3209 HOGARTH AVE                                                                           FLINT             MI   48532‐5129
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Name                              Address1                         Address2                      Address3   Address4           City               State Zip
RAINWATER, KESSI SUE              G3209 HOGARTH AVE                                                                            FLINT               MI 48532‐5129
RAINWATER, LEAH                   1961 HOLLYWOOD DR                                                                            LAWRENCEVILLE       GA 30044‐3815
RAINWATER, MARY E                 2212 N 250 E LOT 91                                                                          KOKOMO              IN 46901‐3482
RAINWATER, NEAL H                 36 ABERDEEN CIRCLE                                                                           CORDELE             GA 31015‐5108
RAINWATER, NELLIE R               357 CR 3340                                                                                  KEMPNER             TX 76539
RAINWATER, NELLIE R               357 COUNTY ROAD 3340                                                                         KEMPNER             TX 76539‐8742
RAINWATER, RICHARD W              2296 MACSCOTT CT                                                                             SWARTZ CREEK        MI 48473‐9740
RAINWATER, RICHARD WILLIAM        2296 MACSCOTT CT                                                                             SWARTZ CREEK        MI 48473‐9740
RAINWATER, ROBERT H               22460 KLINES RESORT RD LOT 234                                                               THREE RIVERS        MI 49093‐8621
RAINWATER, TEDDY L                5279 E MAPLE AVE                                                                             GRAND BLANC         MI 48439‐8610
RAINWATER, WILLIAM B              464 ELLIS ST                     C/O FAIRCHILD CAMERA & INST                                 MOUNTAIN VIEW       CA 94043‐2204
RAINY, JIMMY                      11 NIAGARA ST                                                                                ROCHESTER           NY 14605‐2433
RAIO, DOLORES                     10 CIRCLE RD                     C/O ROSEMARIE DELORENZO                                     FLORHAM PARK        NJ 07932‐2529
RAIO, DOLORES                     C/O ROSEMARIE DELORENZO          10 CIRCLE ROAD                                              FLORHAM PARK        NJ 07932
RAIONDE TOLIVER                   PO BOX 553                                                                                   BALDWIN             MI 49304‐0553
RAIRDEN, DONALD E                 19701 NORTH TAMIAMI TR           LOT 207                                                     NORTH FORT MYERS    FL 33903
RAIRDON, GERALD G                 6101 CANTERBURY CT                                                                           PITTSBORO           IN 46167‐9569
RAIRIE, CAROL                     3856 ROOT RD                                                                                 GASPORT             NY 14067‐9402
RAIRIE, CAROL                     3856 ROOT ROAD                                                                               GASPORT             NY 14067‐9402
RAIRIE, DOREEN M                  809 90TH ST,                                                                                 NIAGARA FALLS       NY 14304
RAIRIE, JERALD E                  809 90TH ST                                                                                  NIAGARA FALLS       NY 14304‐3519
RAIRIGH, CHAD A                   10066 N IONIA RD                                                                             VERMONTVILLE        MI 49096‐9765
RAIRIGH, GARY E                   7237 N MOE RD                                                                                MIDDLEVILLE         MI 49333‐9446
RAIRIGH, MARIE                    905 CHURCH ST                                                                                TROY                TN 38260‐5009
RAIRIGH, MARJORIE A E             1614 COMFORT STREET                                                                          LANSING             MI 48915‐1509
RAIRIGH, RANDALL C                8220 FATHOM RD                                                                               PENSACOLA           FL 32514‐6714
RAIRIGH, ROSE                     580‐76TH STREET S.E                                                                          GRAND RAPIDS        MI 49508‐7266
RAIRIGH, ROSE                     580 76TH ST SE                                                                               GRAND RAPIDS        MI 49508‐7266
RAIRIGH, SAMUEL W                 2941 MALIBU DR SW                                                                            WARREN              OH 44481‐9230
RAIS, EMMANUEL G                  344 TILMOR DR                                                                                WATERFORD           MI 48328‐2564
RAIS, FREDERIC W                  2440 S LONG LAKE RD                                                                          FENTON              MI 48430‐1462
RAIS, KATHRYN A                   22707 PLACID DR                                                                              FOLEY               AL 36535‐9392
RAIS, KATHRYN ANN                 22707 PLACID DR                                                                              FOLEY               AL 36535‐9392
RAIS, MARILYN                     15507 KNOLSON ST                                                                             LIVONIA             MI 48154‐1368
RAIS, ROBERT C                    PO BOX 2154                      53 MARINA HEIGHTS                                           NEW CASTLE          NH 03854‐2154
RAIS, THOMAS G                    10144 DUFFIELD RD                                                                            MONTROSE            MI 48457‐9182
RAISA MANDRUCH                    11442 KLINGER ST                                                                             HAMTRAMCK           MI 48212‐3158
RAISA YUDKOVICH                   67 LISA CIR                                                                                  WHITE LAKE          MI 48386‐3442
RAISBECK LARA RODRIGUEZ RUEDA &   CALLE 35 NO 7 25 4 PISO          APARTADO AEREO 3746                      BOGOTA COLOMBIA
GONZALEZ                                                                                                    COLOMBIA
RAISBECK, PATRICIA                536 CORUNNA AVE                                                                              OWOSSO             MI   48867‐3622
RAISCH DOUGLAS                    PO BOX 643                                                                                   SAN JOSE           CA   95106‐0643
RAISCH, PAUL C                    1449 FAIRFIELD DR                                                                            NORTH TONAWANDA    NY   14120‐2250
RAISER JAMES                      245 CARTER DR                                                                                EDISON             NJ   08817‐2098
RAISER, JOSEPH C                  APT B                            1211 WINESAP WAY                                            ANDERSON           IN   46013‐5560
RAISIN VALLEY LINES INC           631 1\2 DEPOT ST                                                                             BLISSFIELD         MI   49228
RAISIN, RACHEL L                  8412 BIRCH RUN RD                                                                            MILLINGTON         MI   48746‐9518
RAISINGHANI VIJAY                 APT 436                          1616 HOPE DRIVE                                             SANTA CLARA        CA   95054‐1776
RAISKY, MIROSLAW H                PO BOX 4984                                                                                  AUSTINTOWN         OH   44515‐0984
RAISKY, NORBERT                   PO BOX 4984                                                                                  YOUNGSTOWN         OH   44515‐0984
RAISON, DIANE FAY                 1403 N ELEVATION ST                                                                          HANCOCK            MI   49930‐1160
RAISON, WILLIAM E                 7555 PECK LAKE RD                                                                            SARANAC            MI   48881‐9657
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Name                              Address1                          Address2                     Address3   Address4             City               State Zip
RAISOR MOTOR COMPANY              307 S MAIN ST                                                                                  MORTON               IL 61550‐1936
RAISOR TRUCKING COMPANY INC       3801 MUD LN                                                                                    LOUISVILLE          KY 40229‐2761
RAISOR, CASSY D                   4977 W 16TH ST APT A                                                                           SPEEDWAY            IN 46224‐5727
RAISOR, NINA M                    1918 MERIDIAN STREET                                                                           DANVILLE             IL 61832‐1833
RAISOR, NINA M                    2200 N VERMILION ST APT 50                                                                     DANVILLE             IL 61832
RAISOR, WILLIAM S                 5419 GUILFORD AVE                                                                              INDIANAPOLIS        IN 46220‐3210
RAISS I I I, CARL F               2280 LAKE RIDGE DR                                                                             GRAND BLANC         MI 48439‐7364
RAITANEN, NANCY L                 8944 COOLEY LAKE ROAD                                                                          WHITE LAKE          MI 48386‐4027
RAITER JOHN M                     18497 BENNETT RD                                                                               N ROYALTON          OH 44133‐6044
RAITER, JOHN M                    18497 BENNETT RD                                                                               N ROYALTON          OH 44133‐6044
RAITERI, JEANETTE M               644 PARKLAND DR                                                                                ROCHESTER HLS       MI 48307‐3447
RAITH ROBERT                      7315 POUDRE VISTA DR                                                                           GREELEY             CO 80634
RAITI, DIXIE                      BOX 147 R.D. #1                                                                                TRANSFER            PA 16154‐9605
RAITI, DIXIE                      PO BOX 147                                                                                     TRANSFER            PA 16154‐0147
RAITI, ELIZABETH J                396 ROSEWAE AVE                                                                                CORTLAND            OH 44410‐1269
RAITTER, JOHN S                   4246 E EMELITA AVE                                                                             MESA                AZ 85206‐2625
RAITZ, RICHARD J                  223 NORTHDALE DR                                                                               TOLEDO              OH 43612‐3617
RAIZADA, TANUJ                    29659 WORTHINGTON CT                                                                           NOVI                MI 48377‐2196
RAJ                               45435 CYPRESS CT                                                                               CANTON              MI 48188‐1091
RAJ K. SINGLA AND ADARSH SINGLA   111 YALE STREET                                                                                ROSLYN HEIGHTS      NY 11577
RAJ KOMMAREDDY                    22235 SWAN ST APT 434                                                                          SOUTH LYON          MI 48178‐1542
RAJ LAKSHMANAN
RAJ MUPPALLA
RAJ RANGANATHAN                   APT 47                            15212 NORTHEAST 16TH PLACE                                   BELLEVUE           WA   98007‐8440
RAJ, AKASH                        279 ROSLYN CT                     JACOBS FERRY                                                 WEST NEW YORK      NJ   07093‐8325
RAJ, RAMASWAMY G                  3666 OLD CREEK RD                                                                              TROY               MI   48084‐1669
RAJ, SURESH D                     12407 KING ST                                                                                  OVERLAND PARK      KS   66213‐2148
RAJA BYRNSIDE                     37223 EUCLID AVE TRLR 38                                                                       WILLOUGHBY         OH   44094‐5645
RAJA MISHRA                       54280 IROQUOIS LN                                                                              SHELBY TWP         MI   48315‐1126
RAJA, MEERA N                     2350 HIDDEN LAKE CT                                                                            WEST BLOOMFIELD    MI   48324‐3302
RAJABI, MOHAMMED A                5233 E NORTH ST                                                                                INDIANAPOLIS       IN   46219‐5633
RAJAEE ZAID                       5551 HAMPSHIRE DR                                                                              W BLOOMFIELD       MI   48322‐1130
RAJAGOPAL GUDIMELLA               2134 PEACHTREE CT                                                                              WEST BLOOMFIELD    MI   48324‐1464
RAJAGOPALAN SAI SV                34430 COASTAL DR                                                                               STERLING HEIGHTS   OH   48310‐5565
RAJAGOPALAN SATISH                9731 DAWN CHASE WAY                                                                            KNOXVILLE          TN   37931‐4274
RAJAGOPALAN SATYA                 1060 PARKLAND RD                                                                               LAKE ORION         MI   48360‐2806
RAJAGOPALAN, SAI S.V.             34430 COASTAL DR                                                                               STERLING HEIGHTS   MI   48310‐5565
RAJAGOPALAN, SATISH               9731 DAWN CHASE WAY                                                                            KNOXVILLE          TN   37931‐4274
RAJAGOPALAN, SHASHI               4153 GLENHAVEN CT                                                                              CHINO HILLS        CA   91709‐6120
RAJAGOPALAN, SOWMYA G             64 ACORN DRIVE                                                                                 SUMMIT             NJ   07901‐4152
RAJAGOPALAN, SRINIVASAN           1784 KIRTS BLVD APT 216                                                                        TROY               MI   48084‐4340
RAJAI K W DAJANI & ASSOCIATES     1ST FL JORDAN TOWER BLD 11 AAB    ST SHMEISSANI PO BOX 5590               AMMAN 11183 JORDAN
                                                                                                            JORDAN
RAJALA, BERNICE D                 715 BUSSE HWY APT A4                                                                           PARK RIDGE         IL   60068‐2450
RAJAM, SHAM K                     3615 NORMANDY DR                                                                               ROCHESTER          MI   48306‐4743
RAJAN CHAKRAVARTY                 PO BOX 930812                                                                                  WIXOM              MI   48393‐0812
RAJAN PRASANNA                    1856 VILLAGE GREEN BLVD APT 205                                                                ROCHESTER HILLS    MI   48307‐5691
RAJAN THOMAS                      6182 CATAWBA DR                                                                                CANFIELD           OH   44406‐9539
RAJAN VYAS                        6312 COUNTRY RIDGE DR                                                                          TROY               MI   48098‐6547
RAJANAGAPRASAD KODALI             2730 BROADMOOR DR                                                                              ROCHESTER HILLS    MI   48309‐1368
RAJANI, SAILESH                   23116 CASS AVE                                                                                 FARMINGTON         MI   48335‐4116
RAJAPPA, RADHIKA                  18867 ARLEEN CT                                                                                LIVONIA            MI   48152‐1966
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Name                                   Address1                           Address2            Address3         Address4                 City                   State Zip
RAJARAJESWARI, UNKNOWN
RAJARAM BOJJI 834 SPRING KNOLL DR.
20170 VA
RAJASEKHAR AILA                        19770 YVONNE DR                                                                                  MACOMB                  MI   48044‐6316
RAJASEKHARAIAH, CHANDRA                555 BRUSH ST APT 1915                                                                            DETROIT                 MI   48226‐4355
RAJAT DAFTUAR                          5122 VILLAGE COMMONS DR                                                                          W BLOOMFIELD            MI   48322‐3381
RAJCA, RICHARD D                       2420 RUSH MENDON ROAD                                                                            HONEOYE FALL            NY   14472‐9054
RAJCA, STANLEY H                       16640 WHITE HAVEN DR                                                                             NORTHVILLE              MI   48168‐2330
RAJCA, STANLEY J                       5833 FARMINGTON CT                                                                               HANOVER PARK            IL   60133‐5304
RAJCOVSKI, BOB B                       5100 TEMPLE DR                                                                                   STERLING HEIGHTS        MI   48310‐4070
RAJDA, ROBERT V                        1018 S 12TH ST                                                                                   AU GRES                 MI   48703‐9573
RAJDL, MARK E                          28019 GETTYSBURG ST                                                                              FARMINGTON HILLS        MI   48331‐3124
RAJDL, MARK EMIL                       28019 GETTYSBURG ST                                                                              FARMINGTON HILLS        MI   48331‐3124
RAJE, ROGER R                          2442 GADY RD                                                                                     ADRIAN                  MI   49221‐9386
RAJEENIE BELL                          2303 APPLETREE LN                                                                                ARLINGTON               TX   76014‐3908
RAJEEV MUTREJA                         4236 PEPPERMILL LN                                                                               DALLAS                  TX   75287
RAJEEV RAMANAN                         1065 DUNDEE DR                                                                                   CANTON                  MI   48188‐1289
RAJEEV VYAS                            842 TEN POINT DR                                                                                 ROCHESTER HLS           MI   48309‐2583
RAJEH
RAJEK, LARRY D                         3625 JEFFERS PKWY NW                                                                             PRIOR LAKE             MN    55372‐4476
RAJENDRA BOTHRA, M.D.                  27423 VAN DYKE AVE                                                                               WARREN                 MI    48093‐2867
RAJENDRA GUPTA                         1972 HUTCHINS DR                                                                                 ROCHESTER HILLS        MI    48309‐2976
RAJENDRA PRADHAN                       645 EAST 14TH STREET               APARTMENT 11B                                                 NEW YORK               NY    10009
RAJENDRA SHAH                          35338 GLENGARY CIRCLE                                                                            FARMINGTON HILLS       MI    48331
RAJENDRA, ANITA                        2153 COUNCIL BLUFF CT NE                                                                         ATLANTA                GA    30345
RAJER, KATHERINE                       8721 CINDY RD                                                                                    OKLAHOMA CITY          OK    73132‐3110
RAJESH BHAGIRATH                       1888 HEATHERSTONE WAY                                                   WINDSOR ON CANADA N9H‐
                                                                                                               2E7
RAJESH KRISHNAN                        9162 MEADOWLAND DR                                                                               GRAND BLANC            MI    48439‐8355
RAJESH MUMMINENI                       45074 MIDDLEBURY CT                                                                              CANTON                 MI    48188‐3215
RAJESH NAGAPPALA                       2964 CRESTWOOD CT                                                                                ORION                  MI    48359‐1582
RAJESH NAGPAL                          39901 SANDPOINT WAY                                                                              NOVI                   MI    48375‐5502
RAJESH PARMAR                          6366 COUNTRY RIDGE DR                                                                            TROY                   MI    48098‐6549
RAJESH WUNNAVA                         42231 GRANDOVER CT                                                                               CANTON                 MI    48187‐3985
RAJESH YADAVA                          25 AVE AT PORT IMPERIAL APT 821                                                                  WEST NEW YORK          NJ    07093‐8359
RAJESHWARI MISHAL                      580 VIA MEDIA                                                                                    PALOS VERDES ESTATES   CA    90274‐1252
RAJESWARAN, SWARNA K                   15512 BROOKSTONE DR                                                                              CLINTON TOWNSHIP       MI    48035‐1060
RAJEWSKI, ALLEN E                      2213 26TH ST                                                                                     BAY CITY               MI    48708
RAJEWSKI, DONALD                       PO BOX 629                                                                                       BAY CITY               MI    48707‐0629
RAJEWSKI, EDWIN S                      433 SAGEWOOD TER                                                                                 AMHERST                NY    14221‐3901
RAJEWSKI, GERALD F                     1511 KINGS BRIDGE RD                                                                             GRAND BLANC            MI    48439‐8723
RAJEWSKI, GLORIA J                     2524 BULLOCK RD                                                                                  BAY CITY               MI    48708‐8405
RAJEWSKI, MARK E                       2443 KOPKA CT                                                                                    BAY CITY               MI    48708‐8167
RAJEWSKI, MARY                         2515 22ND ST                                                                                     BAY CITY               MI    48708‐7612
RAJEWSKI, MICHAEL J                    813 S VAN BUREN ST                                                                               BAY CITY               MI    48708‐7316
RAJEWSKI, PAUL F                       28348 GROBBEL AVE                                                                                WARREN                 MI    48092‐3416
RAJEWSKI, TERRANCE M                   71 S GREEN RD                                                                                    BAY CITY               MI    48708
RAJEWSKI, THOMAS R                     6063 FOUNTAIN POINT                                                                              GRAND BLANC            MI    48439
RAJEWSKI, THOMAS R                     6063 FOUNTAINPOINTE APT 10                                                                       GRAND BLANC            MI    48439
RAJINDAR K SAINI & MITRA SAINI JTTEN   7437 OSKALOOSA DR                                                                                ROCKVILLE              MD    20855‐2672

RAJINDER P SINGH                       3155 WYOMING DRIVE                                                                               XENIA                  OH 45385
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Name                    Address1                         Address2                        Address3   Address4         City               State Zip
RAJINDER SINGH          3155 WYOMING DR                                                                              XENIA               OH 45385‐4449
RAJIV
RAJIV GUPTA             1390 BARDSTOWN TRL                                                                           ANN ARBOR          MI    48105‐2861
RAJIV MEHTA             1428 BRADBURY DR                                                                             TROY               MI    48098‐6313
RAJIV SONDHI            27718 W ECHO VLY UNIT 117                                                                    FARMINGTON HILLS   MI    48334‐4455
RAJKO BARISIC           10429 LORETO RIDGE DR                                                                        KIRTLAND           OH    44094‐9549
RAJKOVIC, OLGA          4295 W COLLEGE AVE                                                                           MILWAUKEE          WI    53221‐4548
RAJLIN, JUAN            420 W 25TH ST APT 3B                                                                         NEW YORK           NY    10001‐6550
RAJMOULI KOMARIVELLI    44 CRESTFIELD AVE                                                                            TROY               MI    48085‐4782
RAJMUND NARUSZEWICZ     448 PARK BARRINGTON DR                                                                       BARRINGTON          IL   60010
RAJNEESH SINGH          29360 MORNINGVIEW                                                                            FARMINGTON HILLS   MI    48334‐4003
RAJNISH, PAULINE A      8717 SMART ST                                                                                DETROIT            MI    48210‐1882
RAJNISH, PAULINE A      8717 SMART                                                                                   DETROIT            MI    48210‐1882
RAJOTTE, CORINNE M      344 STEVENS ST # UP1             SHADY OAKES                                                 BRISTOL            CT    06010
RAJOY, JOSE A           798 E 53RD ST                                                                                HIALEAH            FL    33013‐1660
RAJPATI KUEPPER         270 WATERS AVE                                                                               STATEN ISLAND      NY    10314‐2027
RAJPUT, SUNITA          7330 ELENA DR NE                                                                             ALBUQUERQUE        NM    87113‐2131
RAJSIC, MILAN M         19305 TAYLOR LAKE RD                                                                         HOLLY              MI    48442‐8925
RAJSICH, DONALD E       9195 APPLE ORCHARD DR                                                                        FENTON             MI    48430‐8912
RAJSKI, JERRY W         PO BOX 152                                                                                   WOODBRIDGE         NJ    07095‐0152
RAJSKUB, BARBARA A      36711 GREENBUSH RD                                                                           WAYNE              MI    48184‐1126
RAJT, TIMOTHY J         6260 MEYER AVE                                                                               BRIGHTON           MI    48116‐2024
RAJWANTI RAMGOOLAM      12 GEORGE ST                                                                                 FRAMINGHAM         MA    01702‐8711
RAK & CO                3882 MEADOW LN                                                                               SALINE             MI    48176‐9060
RAK LAWRENCE (491285)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH    44067
                                                         PROFESSIONAL BLDG
RAK MATTHEW             RAK, MATTHEW                     3 SUMMIT PARK DR STE 100                                    INDEPENDENCE       OH    44131‐2598
RAK, CECILIA A          29302 YORKSHIRE LN                                                                           WARREN             MI    48088‐5113
RAK, DONELLA L          1503 N IRISH RD                                                                              DAVISON            MI    48423‐2218
RAK, HERBERT P          7073 PARKRIDGE PKWY                                                                          SWARTZ CREEK       MI    48473‐1551
RAK, JONATHAN DEAN      664 FOREST AVE                                                                               GREENWOOD          IN    46143‐1747
RAK, KENNETH J          3821 WILDWING DR                                                                             N TONAWANDA        NY    14120‐1383
RAK, MABEL              1595 DAVID PL                                                                                TRAVERSE CITY      MI    49686‐4910
RAK, MATTHEW            KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                    INDEPENDENCE       OH    44131‐2598
RAK, SHIRLEY L          2202 LEITH STREET                                                                            FLINT              MI    48506
RAK, SHIRLEY L          2202 LEITH ST                                                                                FLINT              MI    48506‐2822
RAK, STELLA M           5143 S NEW ENGLAND AVE                                                                       CHICAGO            IL    60638‐1107
RAK, WILLIAM J          1503 N. IRISH ROAD                                                                           DAVISON            MI    48423‐2218
RAK, WILLIAM J          1503 N IRISH RD                                                                              DAVISON            MI    48423‐2218
RAKAR BRIAN             RAKAR, BRIAN                     30 E BUTLER AVE                                             AMBLER             PA    19002‐4514
RAKAR, JOHN A           4767 TAYLORSVILLE RD                                                                         HUBER HEIGHTS      OH    45424‐2460
RAKAR, RAYMOND M        4574 IRELAN ST                                                                               DAYTON             OH    45440‐1549
RAKAR, SANDY            4767 TAYLORSVILLE RD                                                                         HUBER HEIGHTS      OH    45424
RAKAUSKY, KENNETH J     207 W MAIN ST APT 1                                                                          WESTVILLE          IL    61883
RAKAUSKY, KENNETH J     181 ADAMS ST                                                                                 WESTVILLE          IL    61883‐1450
RAKE, CLAUDIA C         81 LINDEN AVE                    APARTMENT 318                                               ROCHESTER          NY    14610‐4610
RAKE, CLAUDIA C         81 LINDEN AVE APT 318                                                                        ROCHESTER          NY    14610‐3556
RAKE, LLOYD F           4 NEDSLAND AVE                                                                               TITUSVILLE         NJ    08560‐1712
RAKE, RAMON B           1550 N MORSE ST                                                                              WHEATON            IL    60187‐3436
RAKER JR, HOWARD J      1794 MEADOW DR                                                                               MONROE             MI    48162‐4179
RAKER, HOWARD J         1738 SPAULDING RD                                                                            MONROE             MI    48162‐9505
RAKER, JULIE            19075 540TH AVE                                                                              AUSTIN             MN    55912‐5878
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Name                          Address1                          Address2                      Address3         Address4         City               State Zip
RAKER, LINDA M                HC 60 BOX 66502                                                                                   ROUND MOUNTAIN      NV 89045‐9634
RAKERS, VIRGIL E              246 MAPLEMERE AVE                                                                                 BOWLING GREEN       KY 42103‐9070
RAKES AARON                   APT 303                           5920 WALNUT STREET                                              PITTSBURGH          PA 15232‐2066
RAKES DONALD L (407625)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                STREET, SUITE 600
RAKES GARY                    RAKES, GARY                       ALLSTATE INSURANCE            309 APPIAN AVE                    NAPOLEON           OH   43545
RAKES, ARNOLD                 2057 GINTER RD                                                                                    DEFIANCE           OH   43512‐8725
RAKES, BETHEL G               21630 ROAD 122                                                                                    OAKWOOD            OH   45873‐9324
RAKES, DAVID A                4470 JOAN DR                                                                                      CLIO               MI   48420‐9406
RAKES, DELMER K               33 JERICHO RD                                                                                     WOODLAWN           VA   24381‐5201
RAKES, DONALD L               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
RAKES, ELBERT F               890 DOLAN ST                                                                                      DEFIANCE           OH   43512‐3203
RAKES, ELIZABETH R            203 E ANDOVER                                                                                     MUNCIE             IN   47303‐1204
RAKES, ELIZABETH R            203 E ANDOVER AVE                                                                                 MUNCIE             IN   47303‐1204
RAKES, ERNEST                 646 CHINOOK DR                                                                                    DEFIANCE           OH   43512‐3354
RAKES, GARY                   ALLSTATE INSURANCE                PO BOX 65150                                                    WEST DES MOINES    IA   50265‐0150
RAKES, JOHN W                 61375 RICHFIELD ST                                                                                SOUTH LYON         MI   48178‐9745
RAKES, JOHNNIE W              RT 1 ‐ 21630 RD 122 BOX 331                                                                       OAKWOOD            OH   45873
RAKES, MARY A                 541 ASHER PASS                                                                                    MILAN              MI   48160‐1580
RAKES, MELANIE D              21548 ROAD 122                                                                                    OAKWOOD            OH   45873‐9324
RAKES, RHONDA S.              PO BOX 3503                                                                                       EUREKA             CA   95502‐3503
RAKES, S V                    412 E BARTLOW ST                                                                                  DESHLER            OH   43516‐1332
RAKES, SHIRLEY H              PO BOX 506                                                                                        WILLIAMSTOWN       KY   41097‐0506
RAKES, VIRGIL                 146 OAK ST                                                                                        LEETONIA           OH   44431‐1022
RAKESH GUPTA                  PO BOX 9022                                                                                       WARREN             MI   48090‐9022
RAKESH GUPTA                  1051 BYRON DR                                                                                     TROY               MI   48098‐4429
RAKESH M VERMA                3126 OLD MASTERS DR                                                                               SUGAR LAND         TX   77479
RAKESH PATEL                  376 RIVERWOOD DR                                                                                  CLAYTON            NC   27527
RAKESH SAXENA                 251 FALLING BROOK DR                                                                              TROY               MI   48098‐4694
RAKESH TRIVEDI                29866 HEMLOCK AVE                                                                                 FARMINGTON HILLS   MI   48336‐2055
RAKESTRAW ROBERT J (410952)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                STREET, SUITE 600
RAKESTRAW, CAROL J            4535 CEDAR TRAIL BOX188                                                                           CENTRAL LAKE       MI   49622
RAKESTRAW, CLIFFORD D         4429 NORLEDGE AVE                                                                                 KANSAS CITY        MO   64123‐1245
RAKESTRAW, CYNTHIA R          APT 4                             1275 UPTON STREET                                               ALCOA              TN   37701‐3055
RAKESTRAW, DONALD L           5533 AUTUMN WOODS DR #3                                                                           TROTWOOD           OH   45426‐1341
RAKESTRAW, EVA M              C/O PAUL KELLAR                   1718 W BENNETT                                                  KOKOMO             IN   46901
RAKESTRAW, EVA M              1718 BENNETT ST                   C/O PAUL KELLAR                                                 KOKOMO             IN   46901‐5118
RAKESTRAW, HARRY W            4535 CEDAR TRAIL BOX188                                                                           CENTRAL LAKE       MI   49622
RAKESTRAW, JACK D             846 RICHARD ST NE                                                                                 MARIETTA           GA   30060‐1873
RAKESTRAW, KYLE D             14237 N 15TH PL                                                                                   PHOENIX            AZ   85022‐4432
RAKESTRAW, MORRIS K           4610 COUNTY ROAD 1518                                                                             CULLMAN            AL   35058‐1492
RAKESTRAW, RICHARD            3818 STORMONT RD                                                                                  DAYTON             OH   45426‐2362
RAKESTRAW, ROBERT E           467 WESTON MANOR DR                                                                               THE VILLAGES       FL   32162‐4345
RAKESTRAW, ROBERT J           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
RAKESTRAW, VIOLA              390 BURMAN AVE APT B                                                                              TROTWOOD           OH   45426‐2763
RAKESTRAW, VIRGINIA R.        4866 BECKER DR                                                                                    DAYTON             OH   45427‐3018
RAKHNAYEV KATERINA O          6435 110TH STREET                                                                                 FOREST HILLS       NY   11375‐1437
RAKHNAYEV, KATERINA O         260 W 54TH ST APT 16C                                                                             NEW YORK           NY   10019‐5541
RAKHNAYEV, KATERINA O.        6435 110TH STREET                                                                                 FOREST HILLS       NY   11375‐1437
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Name                             Address1                            Address2                       Address3   Address4         City                  State Zip
RAKIB JUMMANI                    50309 HANCOCK ST                                                                               CANTON                 MI 48188‐6664
RAKIC, LJUBOMIR                  7232 ANTOINETTE DR                                                                             PARMA                  OH 44129‐6502
RAKICH, MARGARET R               4922 CHESTNUT RD                                                                               NEW FANE               NY 14108‐9620
RAKICKI, WALTER                  5350 GOLF VIEW RD                                                                              BELLAIRE               MI 49615‐9730
RAKIEWICZ, J P                   225 NORTH WOOD AVENUE                                                                          LINDEN                 NJ 07036
RAKIJASIC THOMAS SR (491676)     CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND              OH 44113‐1328
                                 COONE AND ASSOCIATES
RAKOCY ROBERT (491677)           CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                      CLEVELAND             OH 44113‐1328
                                 COONE AND ASSOCIATES
RAKOCY, CYNTHIA J                4300 RAVINEWOODDR                                                                              MILFORD               MI 48382
RAKOCZY, FRANK L                 19591 VERONICA DR                                                                              BROWNSTOWN TOWNSHIP   MI 48174‐2649

RAKOCZY, FRANK L                 15815 LAKESIDE DR APT 8                                                                        SOUTHGATE             MI   48195‐4670
RAKOCZY, MARIA                   7726 ALDERSYDE DRIVE                                                                           MIDDLEBURG HEIGHTS    OH   44130
RAKONZA, CECELIA E               3000 N PEEBLY DR                                                                               MIDWEST CITY          OK   73110‐1508
RAKOS, CHARLOTTE E               46 YORKSHIRE DRIVE                                                                             OAK BROOK             IL   60521
RAKOSKI, BEULAH M                11312 W 49TH ST                                                                                SHAWNEE               KS   66203‐1022
RAKOSKI, DONALD E                GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW               MI   48604‐2602
                                                                     260
RAKOSKY, ROBERT G                415 THORPE DR                                                                                  SANDUSKY              OH 44870‐1622
RAKOTZ EUGENE HENRY (657432)     LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                 BIRMINGHAM            MI 48009‐5394
                                                                     406
RAKOTZ, EUGENE HENRY             LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                 BIRMINGHAM            MI 48009‐5394
                                                                     406
RAKOVALIS, BILL N                1915 PRESERVE CIR E                                                                            CANTON                MI   48188‐2223
RAKOVAN, PAULA M                 404 E LAKE DR                                                                                  SARASOTA              FL   34232‐1918
RAKOVEC, JOSEPH                  15792 HICKOX BLVD                                                                              MIDDLEBRG HTS         OH   44130‐3555
RAKOVEC, LUELLA T                13399 GERALD DR                                                                                MIDDLEBRG HTS         OH   44130‐5716
RAKOVIC, DONALD                  7126 N PINNACLE PASS DR                                                                        PRESCOTT VALLEY       AZ   86315‐3429
RAKOW WAYNE J (459272)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA   23510
                                                                     STREET, SUITE 600
RAKOW, CHARLES F                 386 CATHOLIC CHURCH RD                                                                         LESLIE                MI 49251‐9519
RAKOW, WAYNE J                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510‐2212
                                                                     STREET, SUITE 600
RAKOWICZ, JOHN T                 30850 GREENLAND ST                                                                             LIVONIA               MI 48154‐3230
RAKOWIECKI JOHN                  RAKOWIECKI, JOHN
RAKOWKSI, WITOLD                 2042 INDEPENDENCE DR.                                                                          NEW WINDSOR           NY 12553
RAKOWSKI STANLEY J (ESTATE OF)   THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                       BOSTON                MA 02110‐2104
(652466)
RAKOWSKI, ARNOLD J               PO BOX 8144                                                                                    GOLETA                CA   93118‐8144
RAKOWSKI, BERNICE                2453 E CODY ESTEY RD 193                                                                       PINCONNING            MI   48650
RAKOWSKI, DARLENE J              1301 S JOHNSON ST                                                                              BAY CITY              MI   48708‐7633
RAKOWSKI, DAVID A                10202 S NICHOLSON RD                                                                           OAK CREEK             WI   53154‐5816
RAKOWSKI, FREDERICK A            5164 S 44TH ST                                                                                 GREENFIELD            WI   53220‐5110
RAKOWSKI, LEONARD T              117 WHITE FAWN RD                                                                              NEWARK                DE   19711‐7213
RAKOWSKI, ROBERT A               5164 S 44TH ST                                                                                 GREENFIELD            WI   53220‐5110
RAKOWSKI, STANLEY J              THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                       BOSTON                MA   02110‐2104
RAKOWSKI, VERONICA R             2712 LOWELL ST                                                                                 SAGINAW               MI   48601‐3914
RAKOWSKI, VERONICA R             2712 LOWELL AVE                                                                                SAGINAW               MI   48601‐3914
RAKOZY, SHARON A                 47250 VALLEY FORGE DR                                                                          MACOMB                MI   48044‐4843
RAKSHIT, DEBKUMAR                30244 STERLING DRIVE                                                                           NOVI                  MI   48377‐3915
RAKSTIS, JOSEPH J                15613 ORANGE BLOSSOM DR                                                                        ORLAND PARK           IL   60462‐5145
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Name                           Address1                        Address2                     Address3     Address4         City              State Zip
RAKUN, OLGA L                  904 JEFFERSON AVENUE                                                                       SHEBOYGAN          WI 53081‐4421
RAKUTIS, PEARL M               55 COUNTRY DR                                                                              BRIDGEWATER        MA 02324‐2057
RAL[H D CHANEY
RALABATE, ANTHONY A            1112 PARKSIDE AVE LOWR                                                                     BUFFALO           NY   14214
RALABATE, FRANK C              178 SHETLAND DR                                                                            AMHERST           NY   14221‐4712
RALANDA GORDON                 19735 GREYDALE AVE                                                                         DETROIT           MI   48219‐1834
RALCO INDUSTRIES INC           2720 AUBURN CT                                                                             AUBURN HILLS      MI   48326
RALCO INDUSTRIES INC           THOMAS GITTER                   2720 AUBURN CRT                                            EVANSVILLE        IN
RALCO INDUSTRIES, INC          2720 AUBURN CT.                                                                            AUBURN HILLS      MI   48326
RALCO RALCO INDUSTRIES, INC.   2720 AUBURN CT.                                                                            AUBURN HILLS      MI   48326
RALEIGH AUSTIN                 5809 FARLEY AVE                                                                            RAYTOWN           MO   64133‐3268
RALEIGH BREWER                 602 VICTORIA DR                                                                            FRANKLIN          OH   45005‐1548
RALEIGH BUCKLES JR             1011 SKYVIEW DR                                                                            WEST CARROLLTON   OH   45449‐1640
RALEIGH BUCKLES JR             1011 SKYVIEW DRIVE                                                                         WEST CARROLLTON   OH   45449‐1640
RALEIGH DANIEL                 RALEIGH, DANIEL                 173 LIEWELLYN PLACE                                        STATEN ISLAND     NY   10310‐2604
RALEIGH DOUST                  PO BOX 2386                                                                                HOWELL            MI   48844‐2386
RALEIGH DRAPER                 625 S HOMER RD                                                                             MIDLAND           MI   48640‐8340
RALEIGH FORD JR                520 W WITHERBEE ST                                                                         FLINT             MI   48503‐5133
RALEIGH GIBSON                 9735 SPRINGCRESS DR                                                                        NOBLEVILLE        IN   46060‐4394
RALEIGH HAYNES                 5642 14TH ST                                                                               DETROIT           MI   48208‐1605
RALEIGH HENSLEY                3975 DARRTOWN RD                                                                           OXFORD            OH   45056‐9120
RALEIGH HUGHES                 103 E BERKELEY ST                                                                          UNIONTOWN         PA   15401‐4225
RALEIGH J WOOD                 3938 LARKSPUR DR                                                                           DAYTON            OH   45406‐3417
RALEIGH JONES                  978 SOMERVILLE JACKSONBURG RD                                                              SOMERVILLE        OH   45064‐9456
RALEIGH JR, ED                 5026 W LAKE RD                                                                             CLIO              MI   48420‐8207
RALEIGH JR, THOMAS W           4202 WASHINGTON CRESCENT DR                                                                TROY              MI   48085‐3656
RALEIGH JR, WESLEY             PO BOX 494                                                                                 SCIENCE HILL      KY   42553‐0494
RALEIGH JR, WILLIAM E          700 CLOUGH ST                                                                              HOLLY             MI   48442‐1314
RALEIGH L BREWER               602 VICTORIA DR                                                                            FRANKLIN          OH   45005‐1548
RALEIGH L CUMMINGS             124 MAGNOLIA ST                                                                            ROCHESTER         NY   14608‐2935
RALEIGH MELTON                 PO BOX 130                                                                                 CAMDEN            OH   45311‐0130
RALEIGH MORGAN                 752 MC KEEHAN CROSSING                                                                     CORBIN            KY   40701‐9572
RALEIGH MORGAN                 752 MCKEEHANS XING                                                                         CORBIN            KY   40701‐9572
RALEIGH NATIONAL LEASE                                                                                                    RALEIGH           NC   27603
RALEIGH OSTRANDER              3333 GERNADA DR                                                                            CLIO              MI   48420‐1912
RALEIGH R THORNTON             3100 VALERIE ARMS DR. #2                                                                   DAYTON            OH   45405‐‐ 20
RALEIGH SIMPSON                1230 STONEY RIDGE RD                                                                       WEST BRANCH       MI   48661‐8450
RALEIGH THORNTON               3100 VALERIE ARMS DR APT 2                                                                 DAYTON            OH   45405‐2057
RALEIGH VICTORY                23053 PARK ST                                                                              DEARBORN          MI   48124
RALEIGH WADHOLM                1222 MADISON RD                                                                            ELWOOD            IN   46036‐3220
RALEIGH, ARTHUR R              2226 PEBBLE BEACH BLVD          FAIRWAYS COUNTRY CLUB                                      ORLANDO           FL   32826‐5258
RALEIGH, CAROL A               1 LIGHTHOUSE RD                                                                            HILTON            NY   14468‐8951
RALEIGH, CHARLES H             32 POWDER HORN DR                                                                          PALM COAST        FL   32164‐4932
RALEIGH, CITY OF               REVENUE COLLECTOR               PRIVILEGE LICENSE DIVISION   PO BOX 590                    RALEIGH           NC   27602
RALEIGH, DANIEL                173 LLEWELLYN PL                                                                           STATEN ISLAND     NY   10310‐2604
RALEIGH, DARRELL W             4977 DEPOY ST                                                                              DAYTON            OH   45424‐1709
RALEIGH, DAVID G               PO BOX 56                                                                                  NEW LOTHROP       MI   48460‐0056
RALEIGH, DOROTHY D             3327 YUMA CIR                                                                              LAS VEGAS         NV   89169‐3230
RALEIGH, ELEANORE M            7021 WILSON RD                                                                             OTISVILLE         MI   48463‐9426
RALEIGH, GARY J                3787 OGDEN HWY                                                                             ADRIAN            MI   49221‐9670
RALEIGH, HAZEL                 5026 W LAKE RD                                                                             CLIO              MI   48420‐8207
RALEIGH, HAZEL                 5026 W LAKE RD.                                                                            CLIO              MI   48420
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Name                               Address1                        Address2                      Address3   Address4         City               State Zip
RALEIGH, HELENE E                  1921 BRENNER ST                                                                           SAGINAW             MI 48602‐3671
RALEIGH, J. G                      7 SABRE DR                                                                                HIGHLAND HEIGHTS    KY 41076‐1930
RALEIGH, JAMES D                   703 SUMMIT ST                                                                             WITHEE              WI 54498‐9794
RALEIGH, JAMES R                   5080 TREAT HWY                                                                            ADRIAN              MI 49221‐9648
RALEIGH, JANE A                    129 W THIRD                     P.O.BOX 644                                               PERRY               MI 48872‐8164
RALEIGH, JANE A                    129 E 3RD ST                    P.O.BOX 644                                               PERRY               MI 48872‐8178
RALEIGH, JEANNE                    1030 RUSSELL ST                                                                           COVINGTON           KY 41011‐3065
RALEIGH, JENNIFER M                3787 OGDEN HWY                                                                            ADRIAN              MI 49221‐9670
RALEIGH, JOAN S                    7117 SMITH RD                                                                             GAINES              MI 48436‐9750
RALEIGH, JOHN P                    1541 EARLMONT RD                                                                          BERKLEY             MI 48072‐2129
RALEIGH, JOHN R                    28663 BINGHAM DR                                                                          CHESTERFIELD        MI 48047‐3741
RALEIGH, JOSEPH                    13936 HWY 1110                                                                            ALTRO               KY 41339
RALEIGH, JOSEPH                    13995 HWY 1110                                                                            JACKSON             KY 41339
RALEIGH, LINDA M                   2416 WAGON RD                                                                             MAYVILLE            MI 48744‐9516
RALEIGH, LUCILLE M                 16 BARRY ST                                                                               BROCKPORT           NY 14420‐1602
RALEIGH, LYNDA J.                  10514 ELGIN AVE                                                                           HUNTINGTON WOODS    MI 48070‐1535
RALEIGH, MANUEL R                  2416 WAGON RD                                                                             MAYVILLE            MI 48744‐9516
RALEIGH, MARCILENE M               12138 VIENNA RD                                                                           MONTROSE            MI 48457‐9405
RALEIGH, MARK W                    11002 GARRISON RD                                                                         DURAND              MI 48429‐9708
RALEIGH, MARTHA                    331 E HIGH ST                                                                             OWINGSVILLE         KY 40360‐2101
RALEIGH, MARTHA                    331 EAST HIGH ST.                                                                         OWINGSVILLE         KY 40360‐2101
RALEIGH, MARY A                    10848 EASTON ROAD                                                                         NEW LOTHROP         MI 48460‐9714
RALEIGH, MARY A                    10848 EASTON RD                                                                           NEW LOTHROP         MI 48460‐9714
RALEIGH, MICHAEL W                 2093 EAGLE POINTE                                                                         BLOOMFIELD HILLS    MI 48304‐3807
RALEIGH, NANCY A                   9550 MAPLE ST                   PO BOX 117                                                NEW LOTHROP         MI 48460‐7702
RALEIGH, NELLIE                    13936 HWY 1110                                                                            ALTRO               KY 41339
RALEIGH, PHYLLIS J                 6353 QUEENS CT                                                                            FLUSHING            MI 48433‐3523
RALEIGH, RANDALL C                 7117 SMITH RD                                                                             GAINES              MI 48436‐9750
RALEIGH, RANDY M                   4512 ADAMS ST                                                                             KANSAS CITY         KS 66103‐3415
RALEIGH, RAVEN                     5046 TREAT HWY                                                                            ADRIAN              MI 49221‐9648
RALEIGH, RICHARD E                 10705 RUNYAN LAKE RD                                                                      FENTON              MI 48430‐2449
RALEIGH, ROBERT J                  4825 KOKOSING RD                                                                          HALE                MI 48739‐8945
RALEIGH, ROSE                      716 RICHWOOD AVE                                                                          BALTIMORE           MD 21212‐4622
RALEIGH, SAM B                     4430 LYTLE RD                                                                             CORUNNA             MI 48817‐9103
RALEIGH, STEVEN D                  10816 EASTON RD                                                                           NEW LOTHROP         MI 48460‐9714
RALEIGH, STEVEN DAVID              10816 EASTON RD                                                                           NEW LOTHROP         MI 48460‐9714
RALEIGH, THOMAS W                  2093 EAGLE POINTE 747                                                                     BLOOMFIELD HILLS    MI 48304
RALEIGH, VICKI                     4430 LYTLE RD                                                                             CORUNNA             MI 48817‐9103
RALEIGH, WILLIAM A                 688 NWY 3403                                                                              PARTRIDGE           KY 40862
RALEIGH, WILLIAM F                 1 LIGHTHOUSE RD                                                                           HILTON              NY 14468‐8951
RALEIGH, WILLIAM F                 1 LIGHTHOUSE ROAD                                                                         HILTON              NY 14468‐8951
RALEIGH‐DURHAM AIRPORT AUTHORITY                                   200 HALEYS BRANCH RD.                                                         NC 27623

RALENA GLASENER                    2036 BETH ANN WAY                                                                         MIAMISBURG         OH   45342
RALENE RICCIARDI                   PO BOX 184                                                                                EASTLAKE           MI   49626‐0184
RALEY CURTIS                       95 BAKER CEMETERY RD                                                                      WILLIFORD          AR   72482‐7155
RALEY HERMAN E (429655)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                   STREET, SUITE 600
RALEY RONALD J                     437 PINE VALLEY CT                                                                        OXFORD             MI 48371‐6077
RALEY SCOTT                        PO BOX 35                                                                                 HAMPSTEAD          NC 28443‐0035
RALEY, HERMAN E                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                   STREET, SUITE 600
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Name                           Address1                           Address2                   Address3            Address4                 City              State Zip
RALEY, JANICE L                437 PINE VALLEY COURT                                                                                      OXFORD             MI 48371‐6077
RALEY, JIM L                   18302 HIGHWAY 102                                                                                          SHAWNEE            OK 74801‐5627
RALEY, JOAN A                  3210 RINIEL RD                                                                                             LENNON             MI 48449‐9411
RALEY, JOHN L                  1650 HIGHWAY 81 W                                                                                          MCDONOUGH          GA 30253‐6433
RALEY, JOSEPHINE S             23 AGEROLA ROAD                                                                                            DURHAM             CT 06422‐1921
RALEY, MARJORIE A              7647 N 37TH ST                                                                                             TERRE HAUTE        IN 47805‐1115
RALEY, NOEL J                  SHANNON LAW FIRM                   100 W GALLATIN ST                                                       HAZLEHURST         MS 39083‐3007
RALEY, R G                     3 NIGHTINGALE PL                                                                                           KETTERING          OH 45420‐2925
RALEY, RONALD J                437 PINE VALLEY CT                                                                                         OXFORD             MI 48371‐6077
RALEY, STEVEN C                5177 DANVILLE RD                                                                                           HARTSELLE          AL 35640‐8031
RALEY, THOMAS A                51 KNOX AVE                                                                                                BUFFALO            NY 14216‐3310
RALF ARNO                      GRENZSTR. 5
RALF ARNO                      KLAUS WIEMANN WALTRAUT WIEMANN     GARNSTR 54                                     47918 TONISVORST
                                                                                                                 GERMANY
RALF BIENEN                    XANTENERSTR. 24                                                                   47665 SONSBECK
RALF BRINKMANN                 32436 FARM LN                                                                                              WARRENTON         MO 63383‐3719
RALF CONEN                     DE RIDDER STR 12                   61476 KRONBERG
RALF CONEN                     DE RIDDER STR 12                                                                  61476 KRONBERG,
                                                                                                                 GERMANY
RALF DIERAUF                   AM BAUMFELD 28                                                                    96231 BAD STAFFELSTEIN
                                                                                                                 GERMANY
RALF ERNST FRIEDRICH STEFFEN   SCHLUCHTWEG 20                     32257 B▄NDE
RALF ESCHBACH                  C/O DR. KLOKE & KOLLEGEN           BAHNSTR 1                                      MARSBERG DE 34431
                                                                                                                 GERMANY
RALF ESCHBACH                  RALF ESCHBACH                      TWISTERSTR. 11             MARSBERG DE 34431   GERMANY
RALF ESCHBACH                  TWISTERSTR. 11                     MARSBERG DE 34431
RALF GERHARDS                  WARDENBACHER STR. 27               51570 WINDECK
RALF HEINE                     HERMANN‐LOENS‐STRASSE 27                                                          D 27753 DELMENHORST
                                                                                                                 GERMANY
RALF HEINE                     HERMANN‐LONS‐STRASSE 27                                                           D‐27753 DELMENHORST
                                                                                                                 GERMANY
RALF HIEBL                     23296 HIDDEN CREEK DR                                                                                      MACOMB            MI 48042‐5024
RALF J SIEVERS                 STEINPILZWEG 17                                                                   STUTTGART GERMANY
RALF KALKBRENNER               HANGSTR. 11
RALF KOSOWICZ                  8180 S 12TH ST                                                                                             PORTAGE           MI 49024‐4501
RALF MAUL                      DORNFELDERWEG 1 A                                                                 93059 REGENSBURG
                                                                                                                 GERMANY
RALF NICKEL                    524 BEDLINGTON DR                                                                                          ROCHESTER HILLS   MI 48307‐3573
RALF NICOLAY                   UELLENDAHLER STR. 204              D‐42109 WUPPERTAL
RALF PRAPPACHER                WEICHSELHECKEN 39                                                                                          VOLKACH           DE
RALF PREIS                     IM STEINGARTEN 18                  DE‐35460 STAUFENBERG
RALF REGGE                     ADOLF‐KOLPING‐STR.33
RALF REICHE                    VALERYSTR.94                       D 85716 UNTERSCHLEI▀HEIM   GERMANY
RALF REICHE                    VALERYSTR 94                                                                      D 85716
                                                                                                                 UNTERSCHLEISSHEIM
                                                                                                                 GERMANY
RALF ROBERT CONEN              DE RIDDER STR 12                                                                  61476 KRONBERG
                                                                                                                 GERMANY
RALF SIEVER                    BRESLAUER STR 9A                                                                  52388 NORVENICH
                                                                                                                 GERMANY
RALF STEFFEN                   SCHLUCHTWEG 20                                                                                             BUENDE                 32257
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Name                                    Address1                         Address2                        Address3   Address4            City            State Zip
RALF THUMMET                            C/O HARALD THUMMET               AMSELWEG 15                                90562 HEROLDSBERG
                                                                                                                    GERMANY
RALF, KATHLEEN J                        402 E FOREST ST                                                                                 MONROEVILLE     IN    46773‐9303
RALF, KATHLEEN JOAN                     402 E FOREST ST                                                                                 MONROEVILLE     IN    46773‐9303
RALICH, GEORGE                          14150 GREEN BEAVER RD                                                                           SALEM           OH    44460‐9256
RALIE GREEN                             635 HUFFINE MANOR CIR                                                                           FRANKLIN        TN    37067‐5671
RALIEGH BARNES                          APT 326                          2501 WIGWAM PARKWAY                                            HENDERSON       NV    89074‐6274
RALIEGH HALL                            1845 OLD HIGHWAY 14 S                                                                           GREER           SC    29651‐6513
RALIEGH NELSON                          9040 N US HIGHWAY 281                                                                           BURNET          TX    78611‐5784
RALIS, LOIS M                           614 SOUTH FAIRFIELD AVENUE                                                                      ELMHURST        IL    60126‐4239
RALKO SUSAN                             592 BURGESS DR                                                                                  WHITE LAKE      MI    48386‐2816
RALL, DENNIS C                          52 PINE DR WALTON LAKE                                                                          CRESTLINE       OH    44827
RALL, NORBERT F                         2935 NOBLET RD                                                                                  MANSFIELD       OH    44903‐7705
RALL, NORMA                             1900 WHITE LAKE RD                                                                              HIGHLAND        MI    48356‐1329
RALL, WAYNE R                           11344 FIVE OAKS PKWY                                                                            SAINT LOUIS     MO    63128‐1405
RALLIDES, JAMES                         6510 BENDELOW DR                                                                                LAKELAND        FL    33810‐4809
RALLING STEWART                         6505 CHERIE LN                                                                                  COLLEGE PARK    GA    30349‐1113
RALLINGS, LILLIAN CHATWOOD              C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                            LITTLE ROCK     AR    72201
RALLINGS, LILLIAN CHATWOOD              C/O MOODY                        801 WEST FOURTH ST                                             LITTLE ROCK     AR    72201
RALLINS WALTER J (ESTATE OF)            C/O MCKENNA & CHIODO             436 BOULEVARD OF THE ALLIES ‐                                  PITTSBURGH      PA    15219
                                                                         SUITE 500
RALLINS WALTER J (ESTATE OF) (507048)   (NO OPPOSING COUNSEL)

RALLINS, WALTER                         THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                       CORAL GABLES     FL 33146
RALLINS, WALTER J                       MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                  PITTSBURGH       PA 15219
                                                                         SUITE 500
RALLO, RAY J                            1848 NOTTINGHAM CT                                                                              MANSFIELD       OH    44904‐1796
RALLS COUNTY COLLECTOR                  PO BOX 340                                                                                      NEW LONDON      MO    63459‐0340
RALLS, GLORIA L                         6396 ROLLING GLEN DR                                                                            HUBER HEIGHTS   OH    45424‐1368
RALLS, SARAH F                          1679 E OAKLAND ST                                                                               GILBERT         AZ    85295‐5657
RALLS, SHELLI                           AMMONS LAW FIRM                  3700 MONTROSE BLVD                                             HOUSTON         TX    77006‐4624
RALLS, WILLIAM                          GUY WILLIAM S                    PO BOX 509                                                     MCCOMB          MS    39649‐0509
RALLY AUTO GROUP, INC.                  LARRY MAYLE                      39012 CARRIAGE WAY                                             PALMDALE        CA    93551‐3707
RALLY CAD CHEV BUICK PONT GMC                                                                                                           PALMDALE        CA    93551‐3707
RALLY CAD CHEV BUICK PONT GMC           39012 CARRIAGE WAY                                                                              PALMDALE        CA    93551‐3707
RALLY CADILLAC CHEVROLET BUICK PONT     39012 CARRIAGE WAY                                                                              PALMDALE        CA    93551‐3707

RALLY CADILLAC CHEVROLET BUICK PONTI LARRY MAYLE                         39012 CARRIAGE WAY                                             PALMDALE         CA 93551‐3707

RALLY CADILLAC CHEVROLET BUICK          39012 CARRIAGE WAY                                                                              PALMDALE         CA 93551‐3707
PONTIAC GMC
RALLY CAPITAL SERVICES LLC              201 E 2ND ST                     RMVD MS                                                        ROCK FALLS      IL    61071‐1362
RALLY'S HAMBURGERS                      ATTN: TARA SMITH                 G3514 S SAGINAW ST                                             BURTON          MI    48529‐1261
RALP THOMAS                             402 STOCKTON AVE                                                                                ROSELLE         NJ    07203‐1445
RALPH & ADRIENNE FRANCIOSI              257 WARREN ST                                                                                                   NJ
RALPH & ELLEN LOEB                      RALPH LOEB JR AND ELLEN G LOEB   1403 THADDEUS COVE                                             AUSTIN          TX    78746
RALPH & FLORENCE DURSO                  11018 TILBURG ST                                                                                SPRING HILL     FL    34608
RALPH & VICKY STEELE                    107 W. MARY                                                                                     KIRKSVILLE      MO    63501
RALPH A BELANGER & LEONA C BELANGER     16 TAYLOR HOME DR                                                                               LACONIA         NH    03246

RALPH A EVANS                           3648 HERTLAND DR                                                                                KETTERING       OH 45439‐2447
RALPH A FOX                             PO BOX 191                                                                                      SAINT MARVS     WV 26170‐0181
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Name                              Address1                            Address2                 Address3      Address4         City           State Zip
RALPH A HENDERSON                 3 PLEASANT CREEK COURT                                                                      FAIRFIELD       OH 45014
RALPH A HENDERSON & JEAN L        HUSBAND & WIFE AS JOINT OWNERS OF   3 PLEASANT CREEK COURT                                  FAIRFIELD       OH 45014
HENDERSON,                        CLAIM
RALPH A HENDERSON AND JEAN L      HUSBAND AND WIFE AS JOINT OWNERS OF 3 PLEASANT CREEK COURT                                  FAIRFIELD      OH 45014‐4863
HENDERSON                         CLAIM
RALPH A HENDERSON AND JEAN L      3 PLEASANT CREEK COURT                                                                      FAIRFIELD      OH 45014
HENDERSON JT OWNER
RALPH A HILLER CO                 6005 ENTERPRISE DR                                                                          EXPORT         PA   15632‐8969
RALPH A KING                      480 JOHN ST                                                                                 CARLISLE       OH   45005‐3307
RALPH A MADONNA                   303 BREMAN AVE                                                                              SYRACUSE       NY   13211‐1532
RALPH A RAYMOND                   10901 DEHMEL RD                                                                             BIRCH RUN      MI   48415‐9706
RALPH A SANCHEZ                   706 E AVENUE 43                                                                             LOS ANGELES    CA   90031
RALPH A SIMMONS                   4135 SOCIAL ROW RD.                                                                         WAYNESVILLE    OH   45068‐9202
RALPH A SMITH                     8721 PARKHAVEN PT                                                                           CENTERVILLE    OH   45458
RALPH A SMITH                     6071 DUNANT ST                                                                              SAN DIEGO      CA   92122
RALPH A TEEGARDEN                 956 ASPEN RD                                                                                NEW CARLISLE   OH   45344‐3004
RALPH A WALLEN                    2090 COLONY DR.                                                                             ORANGEBURG     SC   29115
RALPH A WILSON                    348 ROCKVILLE SPR DR SE                                                                     EATONTON       GA   31024
RALPH A WOOD                      2388 DAYS MILL RD                                                                           HILLSBORO      KY   41049‐8653
RALPH AARON                       APT 720                             960 SOUTH 4TH STREET                                    LOUISVILLE     KY   40203‐3246
RALPH AILSTOCK                    277 HOWLAND WILSON RD SE                                                                    WARREN         OH   44484‐2505
RALPH ALANIZ                      1550 CORONEL ST                                                                             SAN FERNANDO   CA   91340‐3126
RALPH ALANIZ                      9321 ORION AVE                                                                              NORTH HILLS    CA   91343‐3211
RALPH ALCOSER                     940 SANTA CLARA ST                                                                          FILLMORE       CA   93015‐1723
RALPH ALDRIDGE                    10829 WHITE AVE                                                                             KANSAS CITY    MO   64134‐2511
RALPH ALEE                        4480 DEL SOL BLVD                                                                           SARASOTA       FL   34243‐2678
RALPH ALEO                        20404 SUMMIT RD                                                                             LANSE          MI   49946‐8042
RALPH ALFRED                      421 LOMBARD RD                                                                              COLUMBUS       OH   43228‐1933
RALPH ALLBEE                      PO BOX 7                                                                                    HARRISON       MI   48625‐0007
RALPH ALLEN                       4580 LAFAYETTE LN E                                                                         ESTERO         FL   33928‐3614
RALPH ALLEN                       13180 SPRUCE ST                                                                             SOUTHGATE      MI   48195‐1632
RALPH ALLEN                       GOLDENBERG, MILLER, HELLER &        PO BOX 959                                              EDWARDSVILLE   IL   62025‐0959
                                  ANTOGNOLI
RALPH AMBROSE                     PO BOX 223                                                                                  GEORGETOWN     FL   32139‐0223
RALPH AMICK                       PO BOX 115                                                                                  GALION         OH   44833‐0115
RALPH AND CATHRYN GATTO ‐ TRUST   RALPH AND CATHRUN GATTO             16 CORRILLO DR                                          SAN RAFAEL     CA   94903
RALPH AND IRENE HAUBENSTRICKER    9520 JUNCTION RD                                                                            FRANKENMUTH    MI   48734
RALPH ANDERSON
RALPH ANDERSON                    222 OAK GROVE RD                                                                            DAHLONEGA      GA   30533‐4853
RALPH ANDERSON                    40815 47TH AVE                                                                              WAHKON         MN   56386‐2527
RALPH ANDERSON                    PO BOX 12                                                                                   DUGGER         IN   47848‐0012
RALPH ANDERSON                    6141 SAND HILL RD                                                                           POLAND         IN   47868‐7007
RALPH ANDERSON JR.                254 AUCKLAND DR                                                                             NEWARK         DE   19702‐6210
RALPH ANGELO                      24 KENNEDY DR                                                                               CENTEREACH     NY   11720‐3023
RALPH ANTCLIFF                    1184 MAPLE LEAF CT                                                                          CHARLOTTE      MI   48813‐7704
RALPH ARIAS                       20W105 97TH ST                                                                              LEMONT         IL   60439‐9683
RALPH ARMENI JR                   651 COITSVILLE HUBBARD RD                                                                   YOUNGSTOWN     OH   44505‐4630
RALPH ARMES                       801 COBBLESTONE LN                                                                          ELWOOD         IL   60421‐6023
RALPH ARMSTEAD                    1 BELMONT CT                                                                                FREEHOLD       NJ   07728‐9242
RALPH ARNOLD                      351 STROEBEL DR                                                                             FRANKENMUTH    MI   48734‐9319
RALPH ARNOLD                      1504 SE 11TH ST                                                                             LEES SUMMIT    MO   64081‐3137
RALPH ARNOLD WESTON               MOTLEY RICE LLC                     28 BRIDGESIDE BLVD       PO BOX 1792                    MT PLEASANT    SC   29465
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Name                 Address1                            Address2                     Address3   Address4                   City                  State Zip
RALPH ARTLER         PO BOX 867                                                                                             DE LEON SPRINGS        FL 32130‐0867
RALPH ARVIN          814 COCKEYS MILL RD                                                                                    REISTERSTOWN           MD 21136‐5120
RALPH ASBROCK        660 PEARTREE HILL RD                                                                                   SHREVEPORT             LA 71106‐7972
RALPH ASCENCIO       6235 GLOUCESTER DR                                                                                     CANTON                 MI 48187‐2825
RALPH ASHCRAFT       515 E WALNUT ST                                                                                        PORTLAND               IN 47371‐1523
RALPH ASTARITA       4711 THICK RD                                                                                          CHAPEL HILL            TN 37034‐2648
RALPH ATTANASIO      31 HEUSSY AVE                                                                                          BUFFALO                NY 14220‐1011
RALPH AULTMAN        104 S OAKLAWN DR                                                                                       MIDLAND                MI 48640‐9013
RALPH AURICCHIO      76 WESTWOOD RD                                                                                         LANCASTER              NY 14086‐9518
RALPH AUTAUBO        1009 N SOUTHMINSTER ST                                                                                 MOORE                  OK 73160‐1857
RALPH AVALLONE       1611 GANDER COVE LN APT 17                                                                             MATTHEWS               NC 28105‐8310
RALPH B ARLINGHAUS   4819 WILLOW ST                                                                                         BELLAIRE               TX 77401
RALPH B LEGGETT JR   1590 S MEADOW LN                                                                                       BOLIVAR                MO 65613‐3375
RALPH B NEIFFER JR   7885 STATE ROUTE 380                                                                                   WILMINGTON             OH 45177‐8359
RALPH B PENNO        710 STURGEON PLACE                                                                                     PUNTA GORDA            FL 33950‐7039
RALPH B. GILBERT     5744 SUNMIST DR                                                                                        RANCHO PALOS VERDES    CA 90275
RALPH BAER           3219 MARATHON RD                                                                                       COLUMBIAVILLE          MI 48421‐8974
RALPH BAGLEY         3064 WENDGATE DR                                                                                       MARIETTA               GA 30062‐1401
RALPH BAIANO         5872 COHOLAN ST                                                             NIAGARA FALLS ON L2J‐1K3
                                                                                                 CANADA
RALPH BAILEY         397 FLORIDA ST                                                                                         BUFFALO               NY   14208‐1308
RALPH BAILEY         1114 N GRAHAM AVE                                                                                      INDIANAPOLIS          IN   46219‐3130
RALPH BAILEY         BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.           OH   44236
RALPH BAKER          BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS.           OH   44236
RALPH BAKER          4219 TOLEDO ST                                                                                         DETROIT               MI   48209‐1364
RALPH BAKER          5 FIELDS RD                                                                                            MOORESVILLE           IN   46158‐1735
RALPH BAKER JR       38 GRAVES RD                                                                                           CENTRAL SQUARE        NY   13036‐2287
RALPH BAKER JR       7290 LEE RD NE                                                                                         BROOKFIELD            OH   44403‐9606
RALPH BALL           19906 N GOLDEN BARREL DR                                                                               SURPRISE              AZ   85374‐4787
RALPH BALL           6462 WINDSOR HWY                                                                                       POTTERVILLE           MI   48876‐8712
RALPH BALL           26652 RICHARD DR                                                                                       WARREN                MI   48089‐3513
RALPH BALL           1642 ACOMA DR                                                                                          AKRON                 OH   44306‐4202
RALPH BALL           C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS            OH   44236
RALPH BALL JR        1490 S ROYSTON RD                                                                                      EATON RAPIDS          MI   48827‐9092
RALPH BANDA JR       9732 WOODLAND HLS                                                                                      SAN ANTONIO           TX   78250‐5024
RALPH BANDA, JR      8822 TIMBER CROSS ST                                                                                   SAN ANTONIO           TX   78250‐4121
RALPH BANKS          9043 GREEN MEADOW DR                                                                                   BROOKVILLE            IN   47012‐9415
RALPH BARBER         509 MILL POND DR                                                                                       FENTON                MI   48430‐2368
RALPH BARCUS         485 RIDGELAND RD                                                                                       GREENCASTLE           IN   46135‐9402
RALPH BARD           3149 ROTTERDAM DR                                                                                      CLIO                  MI   48420‐2318
RALPH BARNARD        23301 WILLIAMS AVE                                                                                     EUCLID                OH   44123‐1524
RALPH BARRECA        5037 N MICHIGAN AVE                                                                                    KANSAS CITY           MO   64118‐6034
RALPH BARRETT        PO BOX 601                                                                                             BUNKER HILL           WV   25413‐0601
RALPH BARTLETT       801 HENRY CT                                                                                           FLUSHING              MI   48433‐1593
RALPH BARTON         308 COUNTY ROAD 840                                                                                    BLACK                 MO   63625‐9226
RALPH BASTIN         1112 WESTWOOD DR                                                                                       MOORESVILLE           IN   46158‐1127
RALPH BATES          13620 NW 79TH TER                                                                                      KANSAS CITY           MO   64152‐5618
RALPH BATTISTA       211 HILL TOP LANE                                                                                      SPENCERPORT           NY   14559‐1409
RALPH BAVARO         64 SWEET BRIAR RD                                                                                      TONAWANDA             NY   14150‐7500
RALPH BAVARO         131 KOESTER ST                                                                                         BUFFALO               NY   14220‐1447
RALPH BEALS          1600 OAKWOOD RD                                                                                        ORTONVILLE            MI   48462‐8507
RALPH BEAM           124 JUNE PL                                                                                            BROOKVILLE            OH   45309‐1536
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Name                Address1                         Address2                      Address3               Address4         City              State Zip
RALPH BEAM          3258 QUEEN CT                                                                                          BAY CITY           MI 48706‐1625
RALPH BEARDEN       1982 ROY RD                                                                                            ELLIJAY            GA 30536‐3811
RALPH BEAVER JR     1645 PIKE PKWY                                                                                         STREETSBORO        OH 44241‐5456
RALPH BECK          35324 PONDEROSA DR                                                                                     FRUITLAND PARK     FL 34731‐6238
RALPH BECK          PO BOX 178                                                                                             SHARPSVILLE        IN 46068‐0178
RALPH BEDELL        401 AVON ST                                                                                            FLINT              MI 48503‐1936
RALPH BELANGER      15130 DRAKE ST                                                                                         SOUTHGATE          MI 48195‐3247
RALPH BELCHER       2905 SHALLOW RIDGE RD                                                                                  WHITE PINE         TN 37890‐4133
RALPH BELKNAP       4819 GRANDVIEW DR                                                                                      YPSILANTI          MI 48197‐3728
RALPH BELL          9237 SPRUCE AVE                                                                                        NEWAYGO            MI 49337‐8315
RALPH BELL JR       12698 BARLOW ST                                                                                        DETROIT            MI 48205‐3302
RALPH BELL JR       14086 IRISH RD                                                                                         MILLINGTON         MI 48746‐9245
RALPH BELLAFRONTE   314 RUNYON AVE                                                                                         MIDDLESEX          NJ 08846‐2225
RALPH BELT SR       2580 FRANKLIN RD                                                                                       RUSSELLVILLE       KY 42276‐9431
RALPH BENTLEY       7500 SKYLARK CIRCLE                                                                                    FRANKLIN           OH 45005‐4245
RALPH BENTON        6665 BELL RD                                                                                           BIRCH RUN          MI 48415‐9048
RALPH BERKOWITZ     5 VERMONT DRIVE                                                                                        PARAMUS            NJ 07652
RALPH BERRY         121 WEDGEMONT DR                                                                                       ELKTON             MD 21921‐4937
RALPH BESECKER      7751 BRIDGEWATER RD                                                                                    DAYTON             OH 45424‐1022
RALPH BEVILACQUA    1388 DON CASTER DR                                                                                     BOARDMAN           OH 44511
RALPH BIEBER        2066 DIAMOND AVE                                                                                       FLINT              MI 48532‐4536
RALPH BIGELOW       3249 W. COURT ST.                                                                                      FLINT              MI 48532
RALPH BINT          14712 AUBURNDALE ST                                                                                    LIVONIA            MI 48154‐3544
RALPH BIRCHMEIER    108 BOATMAN RD                                                                                         HOUGHTON LAKE      MI 48629‐8224
RALPH BIRDSONG      920 MEREDITH ST                                                                                        DAYTON             OH 45402‐6141
RALPH BISCOGLIA     4565 BUCKINGHAM DR                                                                                     WARREN             MI 48092‐3010
RALPH BISHOFF       5422 N VASSAR RD                                                                                       FLINT              MI 48506‐1232
RALPH BISHOP        49 PROSPECT ST                                                                                         LOCKPORT           NY 14094‐4244
RALPH BISHOP        349 W LYTLE 5 POINTS RD                                                                                SPRINGBORO         OH 45066‐9048
RALPH BITTERMAN     1377 EASTON RD RT #2                                                                                   OWOSSO             MI 48867
RALPH BIXLER        161 HARVARD AVE                                                                                        ELYRIA             OH 44035‐6039
RALPH BLACK         409 WOODIES RD                                                                                         WAYNESBURG         PA 15370‐2677
RALPH BLACK         11112 SADDLEBRED DR                                                                                    INDIANAPOLIS       IN 46239‐8976
RALPH BLACKPORT     3319 CHESSINGTON DR                                                                                    LAND O LAKES       FL 34638‐7946
RALPH BLANKENSHIP   13093 AL HIGHWAY 24                                                                                    MOULTON            AL 35650‐6011
RALPH BLAYLOCK      6110 TEAGARDEN CIR                                                                                     DAYTON             OH 45449‐3014
RALPH BLEVINS       2271 STATE ROUTE 28                                                                                    GOSHEN             OH 45122‐9553
RALPH BLUST         53061 TUNDRA DR                                                                                        SHELBY TOWNSHIP    MI 48316‐2160
RALPH BOGUE         768 E HUNTERS RUN DR                                                                                   MARION             IN 46953‐5446
RALPH BOHON         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH 44236
RALPH BOLICK        5112 BRYSON LN                                                                                         EAST CHINA         MI 48054‐4113
RALPH BOLTON        11111 STOW RD                                                                                          WEBBERVILLE        MI 48892‐9564
RALPH BONELLI       LYNNE KIZIS ESQ                  WILENTZ GOLDMAN AND SPILZER   90 WOODBRIDGE CENTER                    WOODBRIDGE         NJ 07095
                                                                                   DRIVE
RALPH BONNER        1139 SHADOW RIDGE DR                                                                                   SEBRING           FL   33872‐9211
RALPH BOSLEY        5316 SKYE DR                                                                                           NEW MIDDLETOWN    OH   44442
RALPH BOSWORTH      5376 LINDEN RD                                                                                         SWARTZ CREEK      MI   48473‐8274
RALPH BOTTIGLIER    1356 FAIRFAX CIR E 81                                                                                  BOYNTON BEACH     FL   33436
RALPH BOWER         18092 HIGHWAY 3                                                                                        AVA               IL   62907‐2816
RALPH BOWERMAN      2687 W MUSGROVE HWY RR#2                                                                               LAKE ODESSA       MI   48849
RALPH BOWLING       PO BOX 2                                                                                               OMER              MI   48749‐0002
RALPH BOWYER        PO BOX 247                                                                                             MARKLEVILLE       IN   46056‐0247
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Name                  Address1                         Address2                     Address3   Address4         City               State Zip
RALPH BOYD            2227 N SYCAMORE DR                                                                        BURTON              MI 48509‐1373
RALPH BOYKIN          33791 GATES ST                                                                            CLINTON TOWNSHIP    MI 48035‐4208
RALPH BRACE           APT 13                           881 ARTHUR DRIVE                                         MILTON              WI 53563‐3731
RALPH BRAGG           3709 CHEROKEE AVE                                                                         FLINT               MI 48507‐1933
RALPH BRAGG           3434 DRAPER AVE SE                                                                        WARREN              OH 44484‐3327
RALPH BRAUN JR        6400 DENHOFF RD                                                                           KINGSTON            MI 48741‐8707
RALPH BRAZEL          6506 KINGS POINTE RD                                                                      GRAND BLANC         MI 48439‐8711
RALPH BRAZELL         1212 NE 25TH ST                                                                           MOORE               OK 73160‐9512
RALPH BREIDENSTEIN    2215 PRIMROSE AVE.                                                                        FORT WORTH          TX 76111
RALPH BREWER          PO BOX 44                                                                                 NANCY               KY 42544‐0044
RALPH BRIGHT          3368 MOUNT ZION RD # R4                                                                   MANSFIELD           OH 44903
RALPH BRISBOIS        1725 E SALZBURG RD                                                                        BAY CITY            MI 48706‐9781
RALPH BROCK           1518 BAMBOO CIR                                                                           HARLINGEN           TX 78552‐2065
RALPH BROUGHTON       1976 LOVELL CT                                                                            MILFORD             MI 48381‐4171
RALPH BROUGHTON       47 SMITH HOLLOW RD                                                                        GRAY                KY 40734‐6938
RALPH BROWN           335 W STATE ST                                                                            WELLSVILLE          NY 14895‐1362
RALPH BROWN           PO BOX 378                                                                                WEIDMAN             MI 48893‐0378
RALPH BROWN           9433 E MOGOLLON TRL                                                                       GOLD CANYON         AZ 85218‐4623
RALPH BROWN           4762 PINE TRACE ST                                                                        YOUNGSTOWN          OH 44515‐4814
RALPH BROWN           1435 BONSAL ST                                                                            BALTIMORE           MD 21224‐5934
RALPH BROWN           3460 TRINITY RD                                                                           DEFIANCE            OH 43512‐9656
RALPH BROWN           PO BOX 13186                                                                              EDWARDSVILLE        KS 66113‐0186
RALPH BROWN           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
RALPH BROWN           RALPH BROWN                      8424 ARCOLA AVE                                          HUDSON              FL 34667‐3637
RALPH BRUESEWITZ      3140 S DELAWARE AVE                                                                       MILWAUKEE           WI 53207‐3019
RALPH BRUMBY          40 W MAIN ST                                                                              BERLIN HEIGHTS      OH 44814‐9688
RALPH BRUNK           603 ANGELICA PL                                                                           BRANDON             FL 33510‐2944
RALPH BRUNO           522 ROLLINGWOOD DR                                                                        SHOREWOOD            IL 60404‐0656
RALPH BRUSH           12469 N FENTON RD                                                                         FENTON              MI 48430‐9793
RALPH BUCHHEIT        10122 KINGSGATE DR F 1                                                                    OKLAHOMA CITY       OK 73159
RALPH BUGAMELLI       11538 CREEKSIDE CT                                                                        STERLING HEIGHTS    MI 48312‐2022
RALPH BUGGIA          1339 TROUT DR                                                                             SAGINAW             MI 48638‐5662
RALPH BULLINGTON      1336 JACKSONVILLE HWY                                                                     FITZGERALD          GA 31750
RALPH BUNCH           206 US HIGHWAY 250                                                                        POLK                OH 44866‐9742
RALPH BUNDY JR        13304 W 70TH TER                                                                          SHAWNEE             KS 66216‐2681
RALPH BURCHART        3091 TALON CIR                                                                            LAKE ORION          MI 48360‐2608
RALPH BURGER          119 RUTLEDGE ST                                                                           SYRACUSE            NY 13219‐2929
RALPH BURGETT         618 W SHORE BLVD                                                                          SHEFFIELD LK        OH 44054‐1347
RALPH BURK            3420 CARNATION LN                                                                         ZEPHYRHILLS         FL 33541‐2492
RALPH BURKE           1410 S CENTER RD APT 1                                                                    SAGINAW             MI 48638‐6324
RALPH BURKHART JR     944 CHALLENGER AVE                                                                        DAVENPORT           FL 33897‐6439
RALPH BURLESON SR     2737 LIPKA RD                                                                             PINCONNING          MI 48650‐9490
RALPH BURNER JR       207 ELIZABETH ST                                                                          MONTROSE            MI 48457‐9157
RALPH BURNETTE        1584 NEW HOPE RD RT #2                                                                    LAWRENCEVILLE       GA 30045
RALPH BURRESS         621 W STATE ST                                                                            ALBANY              IN 47320‐1638
RALPH BURRIS JR       565 SALEM CHURCH RD                                                                       NEWARK              DE 19702‐2726
RALPH BUSCO           619 ORWOOD PL                                                                             SYRACUSE            NY 13208‐3122
RALPH BUSSE           1300 ABERDEEN ST NE                                                                       GRAND RAPIDS        MI 49505‐3825
RALPH BUTLER          337 N ROGERS ST                                                                           MASON               MI 48854‐1233
RALPH BUTTERMORE      845 WARDS CORNER RD                                                                       LOVELAND            OH 45140‐5926
RALPH BUTZ            856 E LAWN AVE                                                                            URBANA              OH 43078‐1277
RALPH BYDLOWSKI III   3443 HAINES RD                                                                            PETERSBURG          MI 49270‐9523
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Name                  Address1                         Address2                     Address3   Address4         City               State Zip
RALPH BYDLOWSKI JR    12645 TODD RD                                                                             IDA                 MI 48140‐9726
RALPH BYRD            1739 BREEZIE POINT LN                                                                     DANDRIDGE           TN 37725‐6517
RALPH C CERVANTES     4510 CADILLAC PL                                                                          SAGINAW             MI 48604‐1034
RALPH C DEMARCO       635 DAKOTA AVE                                                                            NILES               OH 44446
RALPH C DUNMAN        3509 MINERVA DR                                                                           FLINT               MI 48504‐1749
RALPH C EVANS         1104 GUENTHER RD.                                                                         DAYTON              OH 45427‐3137
RALPH C FERDON        191 W KENNETT RD APT 204                                                                  PONTIAC             MI 48340‐2680
RALPH C GRAY          862 LANDSDOWNE NW                                                                         WARREN              OH 44485‐2226
RALPH C HALL          4826 WORTH ST                                                                             MILLINGTON          MI 48746‐9504
RALPH C JONES         3893 FERNWALD DRIVE                                                                       DAYTON              OH 45440‐3439
RALPH C KRAWCZYK JR   18902 GARFIELD ST                                                                         REDFORD             MI 48240‐1721
RALPH C SEEGRAVES     2831 BELAND AVE                                                                           KEEGO HARBOR        MI 48320‐1174
RALPH C SPALDING      1063 STATE ROUTE 503 N                                                                    W ALEXANDRIA        OH 45381
RALPH C STONE
RALPH C WOZNIAK       8051 WEST BANCROFT                                                                        TOLEDO             OH   43617‐1651
RALPH C YATES         1919 MALVERN AVE                                                                          DAYTON             OH   45406‐4450
RALPH CADDELL         365 RUNN ST                                                                               BEREA              OH   44017‐1855
RALPH CAIN            9995 MCPHERSON RD                                                                         MILLINGTON         MI   48746‐9440
RALPH CAIN            1809 GREENHAVEN LN                                                                        GRAPEVINE          TX   76051‐7335
RALPH CALDWELL        21028 MEADOWLARK ST                                                                       FARMINGTON         MI   48336‐5060
RALPH CALDWELL        13314 MAPLEROW AVE                                                                        GARFIELD HTS       OH   44105‐6928
RALPH CALDWELL        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH   44236
RALPH CALZALOIA       3 WILLOW RD                                                                               MILFORD            MA   01757‐1321
RALPH CAMPBELL        PO BOX 82                                                                                 YERKES             KY   41778‐0082
RALPH CAMPBELL        P.O BOX 82                                                                                YERKES             KY   41778
RALPH CANNELL         1205 RAY ST                                                                               DEXTER             MO   63841‐1440
RALPH CANNING JR      1 BOLEN CT                                                                                BLUFFTON           SC   29909‐4443
RALPH CANTRELL        3763 BUCKINGHAM RD                                                                        FORT MYERS         FL   33905‐7204
RALPH CARB            115 BELLA VISTA DR APT 35                                                                 GRAND BLANC        MI   48439‐1583
RALPH CARB            3522 WHITTIER AVE                                                                         FLINT              MI   48506‐4718
RALPH CARBONE         3528 STATE ROUTE 5                                                                        CORTLAND           OH   44410‐1631
RALPH CARBONE         44298 SATURN DR                                                                           STERLING HEIGHTS   MI   48314‐3173
RALPH CARELLA         1315 SHIELDS RD                                                                           YOUNGSTOWN         OH   44511‐3639
RALPH CAREY           1315 CHALET DR                                                                            WILMINGTON         DE   19808‐5801
RALPH CARKHUFF        75 MEADOW RD                                                                              CLARK              NJ   07066‐2106
RALPH CARLSON         4147 E COUNTY RD S                                                                        BELOIT             WI   53511‐7821
RALPH CARLSTROM       19090 SE CATFISH DR                                                                       NEWALLA            OK   74857‐8865
RALPH CARNES          191 ANDREW DR                                                                             STOCKBRIDGE        GA   30281‐6368
RALPH CARPENTER       513 LORAINE STREET                                                                        EARLVILLE          IL   60518‐6315
RALPH CARPENTER       7851 KAYE DR                                                                              CARLISLE           OH   45005‐3825
RALPH CARTER          PO BOX 7063                                                                               FLINT              MI   48507‐0063
RALPH CARTINO         26 BELMONT AVE                                                                            NILES              OH   44446‐3008
RALPH CASCARELLI      7906 WALNUT ST                                                                            BOARDMAN           OH   44512‐7730
RALPH CASH            3081 W PINE LAKE RD                                                                       COLUMBIANA         OH   44408‐9324
RALPH CASS            5853 PORT AUSTIN RD                                                                       CASEVILLE          MI   48725‐9794
RALPH CASSIBBA        37 COUNTRY VILLAGE CT                                                                     BAYONNE            NJ   07002‐1505
RALPH CASSITY         11936 N MELANIE DR                                                                        ALEXANDRIA         IN   46001
RALPH CASTRO          3048 AMELIA AVE                                                                           FLUSHING           MI   48433‐2302
RALPH CATONE SR       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS     OH   44236
RALPH CAUDILL         1458 CHANDLER AVE                                                                         LINCOLN PARK       MI   48146‐2010
RALPH CAUDILL         1594 WILSON AVE                                                                           LINCOLN PARK       MI   48146‐2125
RALPH CEFARATTI       4812 FOX RUN DR                                                                           STOW               OH   44224‐6086
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Name                     Address1                        Address2                      Address3   Address4         City            State Zip
RALPH CERBONE            256 SHELDON AVE                                                                           TARRYTOWN        NY 10591‐6213
RALPH CERVANTES          4510 CADILLAC PL                                                                          SAGINAW          MI 48604‐1034
RALPH CHAMBERLAIN        5329 MOYER RD                                                                             WEBBERVILLE      MI 48892‐9764
RALPH CHAMBERS JR        159 CENTER ST APT 6                                                                       DENNIS PORT      MA 02639‐2135
RALPH CHAMBLISS          1122 CLEO ST                                                                              LANSING          MI 48915‐1440
RALPH CHANEY             11 GEORGE A GREEN DR                                                                      GORDONVILLE      TX 76245‐2711
RALPH CHAPERON           14214 HIGHWAY 123                                                                         HAGARVILLE       AR 72839‐9309
RALPH CHAPPEL            6173 EVANSWOOD RD                                                                         TROY             MI 48085‐1135
RALPH CHARLES (459273)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                         STREET, SUITE 600
RALPH CHARLETTE          86 STATICE LN                                                                             HYANNIS         MA   02601‐2189
RALPH CHESNEY            4644 BIG HORN DR N                                                                        NESBIT          MS   38651
RALPH CHIEFFO            5 SUFFOLK LN                                                                              MIDDLETOWN      NJ   07748‐1704
RALPH CHIERA             WEITZ & LUXENBERG PC            700 BROADWAY                                              NEW YORK CITY   NY   10003
RALPH CHRISTIAN          996 ISLAND FORD RD                                                                        JACKSBORO       TN   37757‐4114
RALPH CHRISTIE           2356 ISLES RD                                                                             SANDUSKY        MI   48471‐8927
RALPH CICCIO             245 MIDDLE ST                                                                             BRISTOL         CT   06010‐7438
RALPH CLACK              410 COTTON ST                                                                             PULASKI         TN   38478‐3718
RALPH CLARK              4233 LEERDA ST                                                                            FLINT           MI   48504‐2180
RALPH CLARK              8765 SHEPHARD RD                                                                          BROWN CITY      MI   48416‐8617
RALPH CLARK JR           1535 N HERBERT RD                                                                         MIDLAND         MI   48642‐9429
RALPH CLARKE             252 DUKE CIR                                                                              LEESBURG        FL   34748‐8503
RALPH CLAXTON            PO BOX 3882                                                                               HIGHLAND PARK   MI   48203‐0882
RALPH CLEMENT            6159 LANCASTER DR                                                                         FLINT           MI   48532‐3216
RALPH CLEMENTS           7199 W WHITE BIRCH AVE                                                                    LAKE CITY       MI   49651‐8509
RALPH CLENIN             27767 FARM ROAD 1075                                                                      SELIGMAN        MO   65745‐7189
RALPH CLEVENGER          3293 STATE ROUTE 503 N                                                                    LEWISBURG       OH   45338‐9765
RALPH CLEVENHAGEN        57 BERTHA RD                                                                              VINEMONT        AL   35179‐4006
RALPH CLUTE JR           13444 ALLIS RD                                                                            ALBION          NY   14411‐9518
RALPH COBB               9357 HARBOR COVE CIR APT 252                                                              WHITMORE LAKE   MI   48189‐9219
RALPH COCHRAN            406 PRINDLE CT                                                                            BEL AIR         MD   21015‐4829
RALPH COFFER             2179 LONDON BRIDGE DR                                                                     ROCHESTER HLS   MI   48307‐4234
RALPH COLASANTO          30 ALDERBROOK TRAIL                                                                       ROCHESTER       NY   14624
RALPH COLE               1600 24TH ST                                                                              BAY CITY        MI   48708‐8003
RALPH COLEMAN            1 ACKERSON LAKE RD                                                                        JACKSON         MI   49201‐8749
RALPH COLEMAN            2009 FOX HILL DR APT 5                                                                    GRAND BLANC     MI   48439‐5202
RALPH COLLARD            655 W PARTRIDGE LN                                                                        LUTHER          MI   49656‐9712
RALPH COLLIER            5917 N TERESA DR                                                                          ALEXANDRIA      IN   46001‐8610
RALPH COLLINS            4241 OSBORN RD                                                                            MEDWAY          OH   45341‐9780
RALPH COLLINS            9560 W 24 RD                                                                              MESICK          MI   49668‐9321
RALPH COLLINS            15544 SEYMOUR RD                                                                          LINDEN          MI   48451‐8569
RALPH COLTER             10709 SAN TROPEZ CIR                                                                      ESTERO          FL   33928‐2473
RALPH COMER              5887 LAFAYETTE RD                                                                         MEDINA          OH   44256‐8502
RALPH COMFORT            1497 W VINE ST                                                                            ALLIANCE        OH   44601‐5522
RALPH COMLEY             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.     OH   44236
RALPH COMPTON            3038 COIN ST                                                                              BURTON          MI   48519‐1536
RALPH COMPTON            171 HARROD RD                                                                             MEIGS           GA   31765‐4211
RALPH COMPTON            360 CONNELLY RD                                                                           RISING SUN      MD   21911‐1009
RALPH COMPTON JR         3059 ALCOTT AVE                                                                           FLINT           MI   48506‐2145
RALPH CONE               9423 W EHRLINGER RD                                                                       ORFORDVILLE     WI   53576‐9674
RALPH CONNER             8106 E 93RD TER                                                                           KANSAS CITY     MO   64138‐4257
RALPH CONNER             PO BOX 53                                                                                 KENNARD         IN   47351‐0053
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Name                               Address1                           Address2                    Address3   Address4         City             State Zip
RALPH CONTURSO                     324 FERNHILL DR                                                                            DEBARY            FL 32713‐4519
RALPH COOK                         PO BOX 150                                                                                 SWEETSER          IN 46987‐0150
RALPH COOK                         2224 PATRICIA DR                                                                           KETTERING         OH 45420‐1038
RALPH COOK                         1000 R G CURTIS AVE                                                                        LANSING           MI 48911‐4842
RALPH COOK                         208 EDGEWATER DR                                                                           WINCHESTER        TN 37398‐1906
RALPH COOK                         1137 WILLARD RD                                                                            BIRCH RUN         MI 48415‐8610
RALPH COOK                         102 STONE TRACE                                                                            MT. ORAB          OH 45154‐8567
RALPH COOMER                       3141 NEW COLUMBIA RD                                                                       CAMPBELLSVILLE    KY 42718‐9354
RALPH COON JR                      5518 KIMBERLY DR                                                                           GRAND BLANC       MI 48439‐5166
RALPH COOP                         1332 W EUCLID AVE                                                                          MARION            IN 46952‐3451
RALPH COOTS                        38155 N BONKAY DR                                                                          CLINTON TWP       MI 48036‐2107
RALPH COPELAND                     400 NORTHSIDE DR                                                                           GRIFFIN           GA 30223‐1310
RALPH CORDES                       4055 LOCKE AVE                                                                             BRIDGETON         MO 63044‐2036
RALPH CORNETT                      25156 WEST RD                                                                              BROWNSTOWN        MI 48134‐9254
RALPH COTA JR                      876 E SAVANNAH DR                                                                          CHANDLER          AZ 85225‐1364
RALPH COULTER                      PO BOX 207                                                                                 KOKOMO            IN 46903‐0207
RALPH COUSINS                      231 SYLVAN GLEN RD                                                                         REYNOLDSVILLE     PA 15851‐4581
RALPH COX                          2648 STATE ROUTE 42 EAST                                                                   CEDARVILLE        OH 45314
RALPH COX                          7811 S 700 W                                                                               WILLIAMSPORT      IN 47993‐8264
RALPH COYLE                        876 HAMLIN CENTER RD                                                                       HAMLIN            NY 14464
RALPH CRANE                        5950 BLACK JACK RD                                                                         FLOWERY BRANCH    GA 30542‐5407
RALPH CRAWFORD JR                  C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                               HOUSTON           TX 77007
                                   BOUNDAS LLP
RALPH CREEKMORE                    428 ROGERS HILL RD                                                                         GLASGOW          KY   42141‐9628
RALPH CREIGHTON                    12210 FLEMMING RD                                                                          WEST SALEM       OH   44287‐9745
RALPH CRIMALDI                     18550 HANNA ST                                                                             MELVINDALE       MI   48122‐1435
RALPH CRITES                       4168 W WILSON RD                                                                           CLIO             MI   48420‐9482
RALPH CROCKETT                     7594 MOUNT HOLLY RD                                                                        WAYNESVILLE      OH   45068‐9630
RALPH CROLEY                       2211 LAWN AVE                                                                              NORWOOD          OH   45212‐1613
RALPH CROSTHWAITE                  2259 PONDBROOK DR                                                                          HILLSDALE        MI   49242‐9419
RALPH CROTTI                       PO BOX 29                                                                                  PEACH BOTTOM     PA   17563‐0029
RALPH CROUSHORE JR                 308 MOHAWK DR                                                                              MCKEESPORT       PA   15135‐3126
RALPH CROWE                        5073 WILMINGTON PIKE                                                                       CENTERVILLE      OH   45440‐2246
RALPH CRUMP                        ATTN: CASHIERS OFFICE              GRAND RAPIDS HOME FOR                                   GRAND RAPIDS     MI   49505
                                                                      VETERANS
RALPH CWIK                         152 GUSSETT DR                                                                             GARNER           NC   27529‐4376
RALPH D ARNETT                     7837 JAY ROAD                                                                              WEST MILTON      OH   45383‐9726
RALPH D BAKER JR                   7290 LEE RD NE                                                                             BROOKFIELD       OH   44403‐9606
RALPH D BLACK                      409 WOODIES ROAD                                                                           WAYNESBURG       PA   15370‐2677
RALPH D COX                        2648 STATE ROUTE 42 EAST                                                                   CEDARVILLE       OH   45314
RALPH D DOSSETT & NEOMA F JONES‐   56 EDGEMONT DRIVE                                                                          OROVILLE         CA   95966
DOSSETT
RALPH D DRUMMER                    C/O BRAYTON PURCELL                222 RUSH LANDING RD                                     NOVATO           CA   94948‐6169
RALPH D ERNEST/DET                 12818 PURITAN ST                   C/O RED LION CONTROLS                                   DETROIT          MI   48227‐4018
RALPH D FULTZ SR                   1317 HWY 1274                                                                              FRENCHBURG       KY   40322
RALPH D GRIFFIN                    176 GROVE DRIVE                                                                            CORTLAND         OH   44410‐1428
RALPH D GRIMES                     138 MCREYNOLDS ST                                                                          DAYTON           OH   45403‐2419
RALPH D HERRING                    6091 DEBRY RD                                                                              DAYTON           OH   45418
RALPH D HOLLOWAY                   5944 HENDON AVE                                                                            DAYTON           OH   45431‐1531
RALPH D JONES                      20404 RANDOLPH PKWY                                                                        HIGHLAND HILLS   OH   44122
RALPH D KEY                        541 REEVES DR                                                                              GAINESBORO       TN   38562
RALPH D MERIAN                     33167 OAKLEY ST                                                                            LIVONIA          MI   48154‐3591
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Name                                Address1                         Address2                      Address3   Address4         City            State Zip
RALPH D MOORBY                      40 MARION ST                                                                               PITTSBURGH       PA 15205‐3349
RALPH D MOORE                       14 W FUNDERBURG RD                                                                         FAIRBORN         OH 45324‐2816
RALPH D SHAMEL                      8149 FAULKNER DR                                                                           DAVISON          MI 48423‐9534
RALPH D SMITH                       1256 TIMOTHY ST                                                                            SAGINAW          MI 48638‐6574
RALPH D WELLS                       5130 BLUFFVIEW DR                                                                          DAYTON           OH 45424‐2509
RALPH D WILLIAMS                    2260 GRANT SIDING                                                                          CHEBOYGAN        MI 49721‐9250
RALPH D WILSON                      1215 MOUND RD                                                                              MIAMISBURG       OH 45342‐3211
RALPH D WILSON                      50 EMS B20D LANE                                                                           PIERCETON        IN 46562‐9129
RALPH D YORK                        1711 KINGSBURY DR                                                                          NASHVILLE        TN 37215
RALPH D YORK TRUSTEE                THE RUTH H YORK BYPASS TRUST     1711 KINGSBURY DR                                         NASHVILLE        TN 37215
RALPH D ZASTROW                     525 TREMONT ST                                                                             N TONAWANDA      NY 14120‐6216
RALPH D'ANGELO                      27703 SNOW ORCHID CT                                                                       LEESBURG         FL 34748‐2128
RALPH DABNEY JR.                    2210 W CONCORD RD                                                                          MUNCIE           IN 47304‐2124
RALPH DAIGLE                        THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON          TX 77017
RALPH DAILEY                        RR 2 BOX 191M                                                                              WORTHINGTON      IN 47471‐9759
RALPH DAILEY                        PO BOX 563                                                                                 GALION           OH 44833‐0563
RALPH DALTON                        3361 S COUNTY ROAD 400 W                                                                   NEW CASTLE       IN 47362‐9721
RALPH DANCE                         12824 MOUND RD                                                                             WINCHESTER       OH 45697‐9650
RALPH DANGELO                       8 CHURCH ST                                                                                SALINEVILLE      OH 43945‐1112
RALPH DANIELLO & MARIA G DANIELLO   14 SOUNDVIEW AVE                                                                           LOCUST VALLEY    NY 11560‐1722

RALPH DARNALL                       14542 HIGHWAY 62 W                                                                         VIOLA           AR   72583‐9277
RALPH DARR                          6789 POLISH RD                                                                             PITTSVILLE      WI   54466‐9775
RALPH DART                          8200 GRAND BLANC RD                                                                        SWARTZ CREEK    MI   48473‐7609
RALPH DAVIS                         1918 NICKI ST                                                                              FAIRMONT        WV   26554‐9278
RALPH DAVIS                         8911 W WESTERN RESERVE RD                                                                  CANFIELD        OH   44406‐9424
RALPH DAVIS                         HC 62 BOX 179                                                                              OZONE           AR   72854‐9122
RALPH DAVIS                         736 CENTER DR APT 130            HACIENDA VALLECITOS                                       SAN MARCOS      CA   92069‐3588
RALPH DAVIS                         601 SUMAC ST                                                                               TRUMANN         AR   72472‐1013
RALPH DAVIS                         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.     OH   44236
RALPH DAY                           1607 ESTEY RD                                                                              BEAVERTON       MI   48612‐8850
RALPH DE GUISE                      9091 WOODRIDGE DR                                                                          DAVISON         MI   48423‐8373
RALPH DE JARNETT                    1023 TERRACE LN                                                                            YPSILANTI       MI   48198‐3085
RALPH DE ROSIA                      10446 COPE RD                                                                              ONAWAY          MI   49765‐8508
RALPH DEAN JR                       4354 MOLLINEAUX RD                                                                         FRANKFORT       MI   49635
RALPH DECKER                        246 LANE AVE                                                                               GETTYSBURG      PA   17325‐3221
RALPH DEEDS                         382 PILGRIM                                                                                BIRMINGHAM      MI   48009
RALPH DEFALCO                       750 SHARRETTS LN                                                                           ARNOLD          MD   21012‐1186
RALPH DEJESUS                       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.     OH   44236
RALPH DELEON                        4100 GLENBURNE BLVD                                                                        LANSING         MI   48911‐2536
RALPH DELONG                        790 HUNTERS RUN                                                                            PERRYSBURG      OH   43551‐5490
RALPH DENSMORE JR                   815 HOGARTH AVE                                                                            WATERFORD       MI   48328‐4132
RALPH DENTON                        9020 BALDWIN RD                                                                            GAINES          MI   48436‐9764
RALPH DESANTIS                      208 BROOKHAVEN DR                                                                          COLUMBIA        TN   38401‐8871
RALPH DESPER                        1435 NORTHCREST DR                                                                         ANDERSON        IN   46012‐2817
RALPH DEVER                         1682 YALTA RD                                                                              DAYTON          OH   45432‐2349
RALPH DEWITT                        PO BOX 8142                                                                                HUALAPAI        AZ   86412‐0142
RALPH DEWITT                        3362 NICKELBY DR                                                                           SHELBY TWP      MI   48316‐4897
RALPH DEWLEY                        111 SPRUCE AVE                                                                             GREER           SC   29651‐4441
RALPH DEWS                          4709 W KENN DR                                                                             MUNCIE          IN   47302‐8885
RALPH DEXTER                        1404 STATE ROUTE 2270 E                                                                    BELTON          KY   42324‐3250
RALPH DEY                           403 WEISS ST                                                                               SAGINAW         MI   48604‐2450
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Name                                  Address1                              Address2                      Address3             Address4         City                 State Zip
RALPH DEZEWIECKI                      2236 S REESE RD                                                                                           REESE                 MI 48757‐9354
RALPH DIABO                           1404 BALFOUR ST                                                                                           GROSSE POINTE PARK    MI 48230‐1024
RALPH DIAZ                            45754 CORNWALL ST                                                                                         SHELBY TOWNSHIP       MI 48317‐4708
RALPH DICKENS                         PO BOX 725                                                                                                SOCIAL CIRCLE         GA 30025‐0725
RALPH DIETLIN                         2323 BATES RD                                                                                             MOUNT MORRIS          MI 48458‐2605
RALPH DILLON                          6321 MAPLE LAWN RD                                                                                        INDIANAPOLIS          IN 46241‐9230
RALPH DIMICHELE                       815 STAFFORD AVE APT C9                                                                                   BRISTOL               CT 06010‐3854
RALPH DINGESS JR                      2836 CHERRY LN                                                                                            KINSTON               NC 28504‐9149
RALPH DINGUS                          1153 IROQUOIS AVE                                                                                         WHEELERSBURG          OH 45694‐8913
RALPH DIPIERO                         824 COUNTY ROAD 1092                                                                                      CULLMAN               AL 35057‐6429
RALPH DOERNBERG
RALPH DOLL                            555 NEW BRUNSWICK AVE APT 5E                                                                              FORDS                NJ    08863‐2151
RALPH DOLLINS                         17514 SANDY CLIFFS DR                                                                                     HOUSTON              TX    77090‐2064
RALPH DOMINY                          10470 BALDWIN RD                                                                                          GAINES               MI    48436‐9773
RALPH DONALDSON                       105 LORD ST                                                                                               EDGERTON             WI    53534‐2015
RALPH DONALDSON JR                    19000 FENTON ST APT 117                                                                                   DETROIT              MI    48219‐2267
RALPH DONNERSBACH                     10683 AMITY RD                                                                                            BROOKVILLE           OH    45309‐9322
RALPH DORTON                          1937 PERRY DR                                                                                             MANSFIELD            TX    76063‐5131
RALPH DOSTER                          15 MARIA LN                                                                                               CHEEKTOWAGA          NY    14227‐3512
RALPH DOTSON                          14533 N 300 W                                                                                             SILVER LAKE          IN    46982‐9696
RALPH DOTSON JR                       10768 S 100 W                                                                                             SILVER LAKE          IN    46982‐9069
RALPH DOTY                            166 RANCHETTE CIR                                                                                         FLORAHOME            FL    32140‐1116
RALPH DOUBLEDEE                       8353 FRANCES RD                                                                                           OTISVILLE            MI    48463‐9470
RALPH DOUGHERTY                       3275 MOUNT OLIVET RD                                                                                      DALLAS               GA    30132‐2802
RALPH DOUGHTY                         4916 NORTHLANE                                                                                            LANSING              MI    48917‐4423
RALPH DOUGLAS                         3380 SOUTHFIELD DR                                                                                        SAGINAW              MI    48601‐5644
RALPH DOVE                            5055 STATE ROUTE 503 N                                                                                    LEWISBURG            OH    45338‐8770
RALPH DOWD                            1919 GARDNER RD                                                                                           HAMILTON             OH    45013‐1119
RALPH DOWDLE
RALPH DRAGOO                          4700 PALOMAR AVE                                                                                          DAYTON               OH    45426‐1945
RALPH DRUMM                           8182 5TH ST                                                                                               ONEKAMA              MI    49675‐9780
RALPH DUFRESNE JR                     3254 N EUCLID AVE                                                                                         BAY CITY             MI    48706‐1329
RALPH DUGGINS                         9139 DUBLIN WAY                                                                                           DAVISON              MI    48423‐8575
RALPH DUNCAN                          4931 HIGHWAY 81                                                                                           LOGANVILLE           GA    30052‐2363
RALPH DUNCAN                          1748 GLADWIN DR                                                                                           MAYFIELD HTS         OH    44124‐3134
RALPH DUNCAN                          4030 STONELEIGH CT                                                                                        MARION               IN    46952‐8621
RALPH DUNCAN                          5364 LENNON RD                                                                                            SWARTZ CREEK         MI    48473‐7902
RALPH DUNMAN                          3509 MINERVA DR                                                                                           FLINT                MI    48504‐1749
RALPH DUNTON                          8104 E MOUNT MORRIS RD                                                                                    OTISVILLE            MI    48463‐9416
RALPH DUPREY                          2816 WISNER                                                                                               WATERFORD            MI    48329‐2889
RALPH DURAN                           4361 MISSION BLVD SPC 198                                                                                 MONTCLAIR            CA    91763‐6066
RALPH DURBIN                          4345 CLEAR VIEW DR APT 2                                                                                  GENESEO              NY    14454‐9419
RALPH E & MAUREEN P MCCORKLE JT TEN   3576 ASHLEY RD                                                                                            BIRMINGHAM           AL    35209‐5708

RALPH E ABBOTT TRUST                  RALPH E ABBOTT TRUST RALPH E ABBOTT   U/A/O 07/07/94 BOBCAT TRAIL   3264 ROYAL PALM DR                    NORTH PORT            FL   34288‐8638
                                      TRUSTEE
RALPH E ADAMS                         2645 PINTO                                                                                                COMMERCE TWSP        MI    48382‐3453
RALPH E BELL                          8660 BOBBY PL                                                                                             CARLISLE             OH    45005
RALPH E BISHOP                        349 W LYTLE 5 POINTS RD                                                                                   SPRINGBORO           OH    45066‐9048
RALPH E CALDWELL                      21028 MEADOWLARK ST                                                                                       FARMINGTON           MI    48336‐5060
RALPH E CANTRELL                      3763 BUCKINGHAM RD.                                                                                       FORT MYERS           FL    33905‐7204
RALPH E CLEMENTS                      46 E RUTGERS AVE                                                                                          PONTIAC              MI    48340‐2748
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Name                        Address1                               Address2                 Address3                     Address4                 City            State Zip
RALPH E CLINGER             269 EAST AVE                                                                                                          GREENVILLE       PA 16125
RALPH E CRAWFORD III        3783 FRIENDSVILLE RD UNIT 73                                                                                          WOOSTER          OH 44691‐7110
RALPH E DAVIS               8911 WESTERN RESERVE RD.                                                                                              CANFIELD         OH 44406‐9424
RALPH E DOVE                5055 STATE ROUTE 503 N                                                                                                LEWISBURG        OH 45338‐8770
RALPH E EGLESTON            181 OAK DR                                                                                                            CARLISLE         OH 45005‐5810
RALPH E FLEMING             816 NORTH GREECE RD                                                                                                   ROCHESTER        NY 14626
RALPH E GOINS               9255 MILLARD ROAD                                                                                                     DAYTON           OH 45426‐4360
RALPH E GUTHRIE             3101 ARIZONA AVE                                                                                                      FLINT            MI 48506‐2527
RALPH E HAYNES              2949 E CUNNINGTON LN                                                                                                  KETTERING        OH 45420‐3862
RALPH E HENSON              9570 HELTON AVE                                                                                                       FRANKLIN         OH 45005‐1002
RALPH E HOEHN               2654 PCR 500                                                                                                          PERRYVILLE       MO 63775‐8267
RALPH E HOWIE               4025 OAK ST                                                                                                           LOWELLVILLE      OH 44436
RALPH E IRVING              C/O WEITZ & LUXENBERG P C              700 BROADWAY                                                                   NEW YORK CITY    NY 10003
RALPH E JACKSON             675 SEWARD ST APT 207                                                                                                 DETROIT          MI 48202‐2442
RALPH E JOHNSON             295 JULIA LN                                                                                                          PIEDMONT         AL 36272
RALPH E KING                499 FITZOOTH DRIVE                                                                                                    MIAMISBURG       OH 45342
RALPH E KING                1494 HONEYBEE DR                                                                                                      DAYTON           OH 45427‐3223
RALPH E LEE                 1281 LOWER BELLBROOK RD                                                                                               XENIA            OH 45385‐7317
RALPH E LEMASTER            C/O THE SUTTER LAW FIRM, PLLC          1598 KANAWHA BLVD E                                                            CHARLESTON       WV 25311
RALPH E MASTERS             7549 SADDLER KROHLER RD                                                                                               FARMDALE         OH 44417
RALPH E MEGONNELL JR        426 HAYES ST                                                                                                          YPSILANTI        MI 48198‐6065
RALPH E MISSELL             9607 HUNGRY HOLLOW RD                                                                                                 HAMMONDSPORT     NY 14840‐9445
RALPH E MURPHY              630 AUSTIN SMITH DR                                                                                                   MONROE           OH 45050‐1444
RALPH E MURPHY              12322 SHARP RD                                                                                                        LINDEN           MI 48451‐8920
RALPH E MURPHY              9 GREENGAGE RD                                                                                                        SAINT PETERS     MO 63376‐1508
RALPH E MURRAY              GLASSER AND GLASSER                    CROWN CENTER             580 EAST MAIN ST STE 600                              NORFOLK          VA 23510
RALPH E ORNDORF             5740 WATERLOO                                                                                                         DAYTON           OH 45459‐1832
RALPH E POMMERING TRUSTEE   RALPH E POMMERING TR                   6980 DEARWESTER DR                                                             CINCINNATI       OH 45236‐2218
RALPH E RAYNARD             104 LAKE ST                                                                                                           PEABODY          MA 01960‐4718
RALPH E RESEIGH             285 STONY LAKE DR                                                                                                     OXFORD           MI 48371
RALPH E RICHARDSON          1118 PORT‐WILLIAM RD.                                                                                                 WILMINGTON       OH 45177
RALPH E ROWLAND             622 LONGVALE DR                                                                                                       DAYTON           OH 45427‐2221
RALPH E SWIGART             8389 POST TOWN RD.                                                                                                    DAYTON           OH 45426‐4450
RALPH E TEAGUE              POA, JUANITA R. BARKER 3443 S. SHELDON                                                                                CANTON           MI 48188
                            ROAD
RALPH E TUTTLE JR           12064 FRUIT RIDGE RD                                                                                                  DEFIANCE        OH    43512‐9097
RALPH E VANCE               5031 EAGLE CREEK RD.                                                                                                  LEAVITTSBURG    OH    44430‐9768
RALPH E WHITE               2910 ELEAZER RD                                                                                                       XENIA           OH    45385‐9729
RALPH E WILLIS              2316 QUEEN AVE                                                                                                        MIDDLETOWN      OH    45044‐4736
RALPH E WILSON              60 PACELINE CIRCLE                     SUITE 230                                                                      XENIA           OH    45385‐9340
RALPH E ZIMMERMAN           39 S 7TH ST                                                                                                           ZANESVILLE      OH    43701‐4301
RALPH EAGLEN JR             5672 S PROSPECT ST                                                                                                    RAVENNA         OH    44266‐3625
RALPH EARL                  1282 LAWRENCEPORT MAIN                                                                                                MITCHELL        IN    47446‐6749
RALPH EARP FRAME SVC        ATTN: JAKE JOHNSON                     1215 N MADISON AVE                                                             BAY CITY        MI    48708‐5928
RALPH ECKERT                2602 RUTLEDGE AVE                                                                                                     JANESVILLE      WI    53545‐1340
RALPH EDDIE                 4110 PRITCHARD OHLTOWN RD                                                                                             NEWTON FALLS    OH    44444‐8729
RALPH EDGAR                 G 5135 WOODHAVEN CT                                                                                                   FLINT           MI    48532
RALPH EDMEADS               1610 CRAWFORTH ST UNIT 45                                                                    WHITBY ONTARIO L1N 9B1
                                                                                                                         CANADA
RALPH EDWARD DODGEN         ATTN: ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                            EAST ALTON       IL   62024
                                                                 ANGELIDES & BARNERD LLC    521
RALPH EDWARDS               116 1/2 S MAIN ST APT D                                                                                               TIPTON           IN   46072‐1892
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RALPH EDWARDS               3640 N OXFORD ST                                                                                          INDIANAPOLIS        IN 46218‐1250
RALPH EDWARDS               1208 WORNALL RD                                                                                           EXCELSIOR SPG       MO 64024‐1483
RALPH EDWARDS               1077 CREDE WAY                                                                                            WAYNESVILLE         OH 45068‐9225
RALPH EDWARDS PRODUCTIONS   6922 HOLLYWOOD BLVD STE 300                                                                               HOLLYWOOD           CA 90028‐6123
RALPH EFU                   PO BOX 1117                                                                                               CROSS CITY          FL 32628‐1117
RALPH EGLESTON              181 OAK DR                                                                                                CARLISLE            OH 45005‐5810
RALPH EIKAMP                53711 LUANN DR                                                                                            SHELBY TWP          MI 48316‐1948
RALPH ELDER                 2277 19 MILE RD NE                                                                                        CEDAR SPRINGS       MI 49319‐8842
RALPH ELDREDGE              3180 KIOWA BLVD N                                                                                         LAKE HAVASU CITY    AZ 86404‐1523
RALPH ELDRIDGE              5310 WEST C.R. 400 NORTH                                                                                  MUNCIE              IN 47304
RALPH ELLER                 PO BOX 41                                                                                                 MIDDLETOWN          IN 47356‐0041
RALPH ELLINGWOOD            3515 SLOAN AVE                                                                                            ANDERSON            IN 46013‐2229
RALPH ELLIOTT               849 JONES RD                                                                                              WALTON              KY 41094‐8751
RALPH ELLIOTT               1617 COUNTY ROAD 155                                                                                      CARDINGTON          OH 43315‐9738
RALPH ELLIS JR              2717 NW 44TH ST                                                                                           OKLAHOMA CITY       OK 73112‐3743
RALPH ELMORE                23431 HAIG ST                                                                                             TAYLOR              MI 48180‐3425
RALPH ELMORE JR             9850 MORTENVIEW DR                                                                                        TAYLOR              MI 48180‐3765
RALPH ELMS JR               6213 DAYTON FARMERSVILLE RD                                                                               DAYTON              OH 45418‐1613
RALPH ELSWICK               7381 EMERSON                                                                                              WASHINGTON          MI 48094‐2723
RALPH ELY                   14950 S DEWITT RD                                                                                         LANSING             MI 48906‐9362
RALPH EMERSON HINSON        WEITZ & LUXENBERG PC             700 BROADWAY                                                             NEW YORK CITY       NY 10003
RALPH ENGELBRECHT           10665 BARKLEY                    APT 106                                                                  OVERLAND PARK       KS 66212
RALPH ENGLISH               3676 NEELEY HOLLOW RD                                                                                     COLUMBIA            TN 38401‐8432
RALPH ENGLISH               11 LEGACY CROSSING CT                                                                                     SAINT CHARLES       MO 63303‐1747
RALPH ENOCH JR              26252 PRINCESS LN                                                                                         BONITA SPRINGS      FL 34135‐6533
RALPH ERBSCHLOE             20548 BEE ROCK DR                                                                                         RAYMONDVILLE        MO 65555‐9179
RALPH ERIKSEN               220 BRISCOE BLVD                                                                                          WATERFORD           MI 48327‐2400
RALPH ERMLER                27635 PALOMINO DR                                                                                         WARREN              MI 48093‐8326
RALPH ESKRIDGE              P.O.BOX 9907                                                                                              KANSAS CITY         MO 64134
RALPH ESSEX                 2341 W COUNTY ROAD 390 S                                                                                  PAOLI               IN 47454‐9405
RALPH ESTEL                 10 KINGWOOD LN                                                                                            LEVITTOWN           PA 19055‐2423
RALPH EUGENE FRY            ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD         PO BOX 521         EAST ALTON           IL 62024
                                                             ANGELIDES & BARNERD LLC
RALPH EULER                 515 E GRATIOT C LINE                                                                                      WHEELER            MI   48662
RALPH EVANS                 516 N BUCKINGHAM CT                                                                                       ANDERSON           IN   46013‐4469
RALPH EVERSOLE              1130 TIOGA TRL                                                                                            WILLOUGHBY         OH   44094‐7316
RALPH EWELL                 ATTN MICHAEL C SHEPARD           SHEPARD LAW FIRM PC        10 HIGH ST                                    BOSTON             MA   02110
RALPH EWING                 16740 CATHERINE ST                                                                                        LAKE MILTON        OH   44429‐9631
RALPH F BRIGMAN JR          GLASSER AND GLASSER              CROWN CENTER               580 EAST MAIN ST STE 600                      NORFOLK            VA   23510
RALPH F COMPTON JR          3059 ALCOTT AVE                                                                                           FLINT              MI   48506‐2145
RALPH F COOK                2224 PATRICIA DR                                                                                          KETTERING          OH   45420‐1038
RALPH F COOK                509 FLAMINGO LANE                                                                                         ALBANY             GA   31707
RALPH F DEWITT              P.O.BOX 8142                                                                                              HUALAPAI           AZ   86412
RALPH F DONNERSBACH         10683 AMITY ROAD                                                                                          BROOKVILLE         OH   45309‐9322
RALPH F MANDELKA, SR        5057 CITADEL DR                                                                                           CANTON             MI   48188‐2778
RALPH F MCKEE JR            162 LEDBETTER RD                                                                                          XENIA              OH   45385‐5327
RALPH F WARNER JR           30 MAJORIE CT                                                                                             WEST MILTON        OH   45383‐1326
RALPH FACKLER               3370 DU PON DR                                                                                            STERLING HTS       MI   48310‐2543
RALPH FALK                  1321 HORNBAKE DR                                                                                          JEFFERSON HILLS    PA   15025‐2707
RALPH FARR                  8985 BIRCH RUN RD                                                                                         MILLINGTON         MI   48746‐9573
RALPH FEENEY                4768 SYLVESTER AVE                                                                                        WATERFORD          MI   48329‐1847
RALPH FEERER                128 HIGHRIDGE CT                                                                                          FRANKLIN           OH   45005‐1759
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Name                   Address1                         Address2                       Address3   Address4         City               State Zip
RALPH FELKER           24 RONNIE DR                                                                                O FALLON            MO 63366‐2273
RALPH FELLHAUER        212 S WATER ST                                                                              CLINTON             MO 64735‐2037
RALPH FERDON           3115 FARNSWORTH RD                                                                          LAPEER              MI 48446‐8721
RALPH FERGUSON         383 S ROBINSON ST                                                                           WOODBURN            KY 42170‐9761
RALPH FERRARA          N7619 JUPITER DR                                                                            FOND DU LAC         WI 54937‐8891
RALPH FERRI            1230 CENTRE RD                                                                              RHINEBECK           NY 12572‐3281
RALPH FIDLER           34621 S OBANNON RD                                                                          CREIGHTON           MO 64739‐8668
RALPH FINKBEINER       620 BEACH ST                                                                                SEBEWAING           MI 48759‐1225
RALPH FINNEREN         937 BEARDON                                                                                 LAKE ORION          MI 48362‐2006
RALPH FISH             1114 M ST                                                                                   BEDFORD             IN 47421‐2929
RALPH FISHER           PO BOX 883                       207 COURT ST                                               WARTBURG            TN 37887‐0883
RALPH FISHER           871 LIBERTY VILLAGE DR                                                                      FLORISSANT          MO 63031‐8931
RALPH FIX              PO BOX 466                                                                                  FREMONT             MI 49412‐0466
RALPH FLECKER          809 W BROADWAY ST                                                                           ALEXANDRIA          IN 46001‐1724
RALPH FLESHER          460 FONSO CIR                                                                               BOWLING GREEN       KY 42104‐5582
RALPH FLORIO JR        5453 MAPLE PARK DR                                                                          FLINT               MI 48507‐3902
RALPH FLOYD            6712 HIGHLAND AVE                                                                           CINCINNATI          OH 45236‐3917
RALPH FOLSOM           PO BOX 2313                                                                                 MUNCIE              IN 47307‐0313
RALPH FORD             700 CEDAR CIR SE                                                                            CONYERS             GA 30094‐4500
RALPH FOSTER           8629 AKRON RD                                                                               LOCKPORT            NY 14094‐9340
RALPH FOSTER           2235 PUMPKINVINE HILL RD                                                                    MARTINSVILLE        IN 46151‐7403
RALPH FOULDS JR        5610 LAWNDALE RD                                                                            SAGINAW             MI 48604‐9456
RALPH FOX              28545 ST. HWY W                                                                             WARRENTON           MO 63383
RALPH FRANCISCO        413 DARBYHURST RD                                                                           COLUMBUS            OH 43228‐1322
RALPH FRANKLIN         2580 NORTHVIEW AVE                                                                          DECATUR             GA 30032‐4221
RALPH FREEBURG         1222 PETTS RD                                                                               FENTON              MI 48430‐1548
RALPH FRENCH           480 HALE DR                                                                                 BAY CITY            MI 48708‐6950
RALPH FRENCH           800 E SOUTH B ST APT 41                                                                     GAS CITY            IN 46933‐2109
RALPH FRENDO           13649 WRIGHT ST                                                                             GIBRALTAR           MI 48173‐9567
RALPH FREY             6555 SCIO CHURCH RD                                                                         ANN ARBOR           MI 48103‐9269
RALPH FRIES JR         3334 WINDY HILL RD                                                                          CROWN POINT         IN 46307‐8919
RALPH FUEHR JR         10745 CEMETERY RD                                                                           ERIE                MI 48133‐9732
RALPH FULTZ SR         1317 HIGHWAY 1274                                                                           FRENCHBURG          KY 40322‐8248
RALPH FURBEE           169 25TH ST SE                                                                              NEW PHILADELPHIA    OH 44663‐3319
RALPH G DUGGINS        9139 DUBLIN WAY                                                                             DAVISON             MI 48423‐8575
RALPH G HAJJ           6615 COURTLAND DR NE                                                                        ROCKFORD            MI 49341‐9606
RALPH G HOWARD         14701 DECHANT RD                                                                            NEW LEBANON         OH 45345‐9721
RALPH G MARTIN         444 POPLAR RD                                                                               PELLSTON            MI 49769‐9348
RALPH G NUTTER         MCKENNA & ASSOCIATES PC          436 BOULEVARD OF THE ALLIES‐                               PITTSBURG           PA 15219‐1331
                                                        SUITE 500
RALPH G ROHNER JR MC   3600 OLENTANGY RIVER RD STE C1                                                              COLUMBUS           OH   43214‐3437
RALPH G TAYLOR         17932 SE 86TH OAK LEAF TER                                                                  THE VILLAGES       FL   32162‐4836
RALPH G TUCCI          14634 MOORE AVE                                                                             ALLEN PARK         MI   48101‐1648
RALPH G WEIBLE         5513 W FRANCES RD                                                                           CLIO               MI   48420‐8572
RALPH GADEMSKE JR      127 BASSETT RD                                                                              WILLIAMSVILLE      NY   14221‐2641
RALPH GALLORO          14933 HELEN ST                                                                              SOUTHGATE          MI   48195‐1972
RALPH GAMEL            940 WEBBER CHAPEL RD                                                                        BATESVILLE         AR   72501‐8294
RALPH GAMRATH          3285 FOREST RD                                                                              HARRISON           MI   48625
RALPH GARCIA           9252 FRANKLIN ST                                                                            CHATSWORTH         CA   91311‐6312
RALPH GARGUIOLO        189 DARTWOOD DR                                                                             CHEEKTOWAGA        NY   14227‐3165
RALPH GARNER           46650 SMITH LAKE RD                                                                         MARCELL            MN   56657‐2091
RALPH GARNER           15 PEYTON'S PLACE                APT P                                                      BLUE RIDGE         GA   30513
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RALPH GARNER        PO BOX 1                                                                                   ELKTON                  TN 38455‐0001
RALPH GARRETT       8735 BISHOPSWOOD DRIVE                                                                     JACKSONVILLE            FL 32244‐6003
RALPH GARRETT JR    89 CREEKWOOD DRIVE                                                                         LAKE ORION              MI 48362‐1150
RALPH GASSER        PO BOX 53                                                                                  OTTOVILLE               OH 45876‐0053
RALPH GATES         5609 S 200 E                                                                               WARREN                  IN 46792‐9496
RALPH GATTO         16 CARRILLO DRIVE                                                                          SAN RAFAEL              CA 94903
RALPH GAUKER        3527 W 1000 S                                                                              PENDLETON               IN 46064‐9523
RALPH GAW           724 ALPINE DR                                                                              ANDERSON                IN 46013‐5000
RALPH GENTILE       2729 WOODLAND ST NE                                                                        WARREN                  OH 44483‐4417
RALPH GENTILE       2729 WOODLAND AVE                                                                          WARREN                  OH 44483
RALPH GEORGE        1603 BUCKRIDGE NORTH DR APT B                                                              INDIANAPOLIS            IN 46227‐5075
RALPH GEORGE        4350 ROUND LAKE BND                                                                        INDIANAPOLIS            IN 46234‐7747
RALPH GERZESKI      253 S LINCOLN RD                                                                           BAY CITY                MI 48708‐3601
RALPH GETZ SR       6515 HARTWOOD DR                                                                           FENTON                  MI 48430‐9024
RALPH GEURIN        704 CEREAL AVE                                                                             HAMILTON                OH 45013‐2738
RALPH GIBSON        8255 SCOTTSVILLE RD                                                                        FRANKLIN                KY 42134‐6188
RALPH GIGER         65 ORCHARD DR                                                                              QUARRYVILLE             PA 17566‐9104
RALPH GILBERT       1831 SHAKESPEARE BLVD                                                                      FORT WAYNE              IN 46818‐9153
RALPH GILES         765 DIAHANN DR                                                                             TIPP CITY               OH 45371‐2115
RALPH GILLILAND     784 HALLOCK YOUNG RD                                                                       MINERAL RIDGE           OH 44440‐9753
RALPH GILLIS, JR    C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY, STE 600                                HOUSTON                 TX 77007
                    BOUNDAS, LLP
RALPH GINDER        6995 S 600 W                                                                               PENDLETON              IN   46064‐8726
RALPH GIVENS        9336 NW 60TH ST                                                                            PARKVILLE              MO   64152‐6203
RALPH GIZOWSKI      1600 N DELANO ST                                                                           SAINT CLAIR            MI   48079‐5263
RALPH GLADDEN       5414 HONEY MANOR DR                                                                        INDIANAPOLIS           IN   46221‐3911
RALPH GLOMSKI       2387 SHADYCROFT DR                                                                         BURTON                 MI   48519‐1241
RALPH GLUGLA        21215 ELWELL RD                                                                            BELLEVILLE             MI   48111‐8617
RALPH GODFREY       C/O EMBRY & NEUSNER              PO BOX 1409                                               GROTON                 CT   06340
RALPH GOECKE        471 KAYLYN CIR                                                                             FAIRBORN               OH   45324‐7573
RALPH GOINS         9255 MILLARD RD                                                                            DAYTON                 OH   45426‐4360
RALPH GONZALES      1555 BEL AIR ST                                                                            SAGINAW                MI   48604‐1627
RALPH GONZALES JR   113 S 15TH ST                                                                              SAGINAW                MI   48601‐1845
RALPH GONZALEZ      23578 GLENWOOD ST                                                                          CLINTON TWP            MI   48035‐2939
RALPH GONZALEZ      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.            OH   44236
RALPH GOODE         505 LENNOX RD                                                                              WILMINGTON             DE   19809‐2116
RALPH GOODPASTURE   684 SE 650                                                                                 KNOB NOSTER            MO   65336‐2208
RALPH GOOLSBY       19059 NADOL DR                                                                             SOUTHFIELD             MI   48075‐5818
RALPH GORDON        22 ANJOU CT                                                                                MANCHESTER             NJ   08759‐6269
RALPH GORDON JR     2290 E 1700 N                                                                              SUMMITVILLE            IN   46070‐9170
RALPH GORE          854 LEXINGTON AVE                                                                          MANSFIELD              OH   44907‐1996
RALPH GOUBEAUX      883 SUNSET DR                                                                              ENGLEWOOD              OH   45322‐2229
RALPH GRADDICK      121 KENWAY DR                                                                              LANSING                MI   48917‐3034
RALPH GRANTOM       8532 ELLIS DR                                                                              NORTH RICHLAND HILLS   TX   76180‐2438
RALPH GRAY          1936 WINTON DR                                                                             AVON                   IN   46123‐5306
RALPH GRAY          10242 S PRAIRIE AVE                                                                        CHICAGO                IL   60628‐2114
RALPH GRAY          PO BOX 1258                                                                                JAMESTOWN              TN   38556‐1258
RALPH GRAY          THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON                TX   77017
RALPH GRAZIOSO      229 ORLANDO BLVD                                                                           TOMS RIVER             NJ   08757‐6233
RALPH GRECO         804 BRIGHTON RD                                                                            TONAWANDA              NY   14150‐7051
RALPH GREEN         1508 HOLLY HILL DR                                                                         FRANKLIN               TN   37064‐6745
RALPH GREER         914 E RICHMOND ST                                                                          KOKOMO                 IN   46901‐3118
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Name                       Address1                         Address2                     Address3   Address4         City              State Zip
RALPH GRENNAY              1604 E 2ND ST                                                                             DEFIANCE           OH 43512‐2471
RALPH GRIEFENSTINE         507 DAVIS ST                                                                              CRESTLINE          OH 44827‐1306
RALPH GRIEFENSTINE         124 N PIERCE ST                                                                           CRESTLINE          OH 44827‐1530
RALPH GRIEFENSTINE I I I   124 N PIERCE ST                                                                           CRESTLINE          OH 44827‐1530
RALPH GRIER                1927 WOOD LN                                                                              FLINT              MI 48503‐4512
RALPH GRIFFIN              10507 TRASK DR                                                                            SAINT LOUIS        MO 63136‐2348
RALPH GRIFFIN              176 GROVE ST                                                                              CORTLAND           OH 44410‐1428
RALPH GRIFFIN JR           2600 HOOVER AVE                                                                           DAYTON             OH 45407‐1532
RALPH GRIFFITH             240 W SOUTH ST                                                                            HILLSBORO          OH 45133‐1352
RALPH GRIFFUS              2271 MCCONNELL HWY                                                                        CHARLOTTE          MI 48813‐9721
RALPH GRIM                 109 AIKEN LN                                                                              CLEAR BROOK        VA 22624‐1101
RALPH GRUBB JR             2009 GENTLE RD                                                                            LEWISBURG          TN 37091‐6702
RALPH GUEST                26136 HAMPDEN ST                                                                          MADISON HTS        MI 48071‐3588
RALPH GUEVARA              14101 N SAGINAW RD                                                                        CLIO               MI 48420‐8802
RALPH GUEVARA              7185 W FREELAND RD                                                                        FREELAND           MI 48623‐9749
RALPH GUILD                10 SOUTH LAKE TRAIL                                                                       PALM BEACH         FL 33480
RALPH GUMPF                BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
RALPH GUNTHER              1797 S RIVERSIDE DR                                                                       AU GRES            MI 48703‐9794
RALPH GUSTIN               4028 E US 36                                                                              MARKLEVILLE        IN 46056
RALPH GUTHRIE              3101 ARIZONA AVE                                                                          FLINT              MI 48506‐2527
RALPH GUTMAN               1777 WEATHERED WOOD TRL                                                                   CENTERVILLE        OH 45459‐7501
RALPH H BOEGER             50 HILLARY DR                                                                             ROCHESTER          NY 14624‐5245
RALPH H BOETTCHER          WAYNE BOETTCHER POA              103 PARMA DRIVE                                          PITTSBURGH         PA 15209‐1527
RALPH H CLARKE             252 DUKE CIRCLE                                                                           LEESBURG           FL 34748‐8503
RALPH H DAY                1607 ESTEY RD                                                                             BEAVERTON          MI 48612‐8850
RALPH H IGE IRA            2263 HOOLAULEA ST                                                                         PEARL CITY         HI 96782
RALPH H JOHNSON            211 RIDGEVIEW                                                                             MURPHY             TX 75094
RALPH H MUMPOWER JR        1643 LIBERTY ELLERTON ROAD                                                                DAYTON             OH 45418
RALPH H OLINGER            3103 HAMILTON SCIPIO RD                                                                   HAMILTON           OH 45013‐9225
RALPH H PENA               142 W RUTGERS AVE                                                                         PONTIAC            MI 48340‐2758
RALPH H TINCH              10902 DAYTON CINCINNATI PIKE                                                              MIAMISBURG         OH 45342
RALPH H WARD               939 SETTLEMYRE RD.                                                                        OREGONIA           OH 45054‐9713
RALPH H WENDLING           98 W FLOYD AVENUE                                                                         DAYTON             OH 45415‐3436
RALPH HACKEMACK
RALPH HAEFNER              338 CHARLEMAGNE BLVD APT G101                                                             NAPLES            FL   34112‐7075
RALPH HAGERMAN             6017 THREE CEDARS LN                                                                      FREDERICKSBURG    VA   22407‐4388
RALPH HAHN                 901 WILHELM ST                                                                            DEFIANCE          OH   43512‐2948
RALPH HAJIK                247 CARLISLE AVE                                                                          WESTMONT          IL   60559‐8611
RALPH HAJJ                 6615 COURTLAND DR NE                                                                      ROCKFORD          MI   49341‐9606
RALPH HALE                 4300 FOWLER DR                                                                            WATERFORD         MI   48329‐1904
RALPH HALL                 4826 WORTH ST                                                                             MILLINGTON        MI   48746‐9504
RALPH HALL                 4032 CLARK RD                                                                             PRESCOTT          MI   48756‐9394
RALPH HALL                 2440 MONTE MURREY RD                                                                      LEWISBURG         TN   37091‐5427
RALPH HAM                  5701 BATAVIA RD                                                                           CINCINNATI        OH   45244‐3310
RALPH HAMILTON             6128 DOUGLAS RD                                                                           TOLEDO            OH   43613‐1250
RALPH HAMILTON             5185 N FRONTAGE RD                                                                        FAIRLAND          IN   46126‐9640
RALPH HAMMER II            6087 N IRISH RD                                                                           DAVISON           MI   48423‐8929
RALPH HAMNER               187 LONGFELLOW RD                                                                         WALTHAM           MA   02453‐6775
RALPH HANSEN               480 N RIVER RD                                                                            SAGINAW           MI   48609‐6820
RALPH HANSEN               3306 ABBEY LN                                                                             LAFAYETTE         IN   47909‐6706
RALPH HANSON               610 SARGENT CREEK CT                                                                      ROCHESTER HILLS   MI   48309‐1632
RALPH HAPNEY               4237 OXFORD DR                                                                            BRUNSWICK         OH   44212‐3569
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Name                       Address1                          Address2                         Address3   Address4         City               State Zip
RALPH HARBISON             400 THREE ROD RD                                                                               ALDEN               NY 14004‐9428
RALPH HARDAWAY             8344 MOUNTAIN PASS                                                                             RIVERDALE           GA 30274‐4804
RALPH HARDEN               PO BOX 696                                                                                     YOUNGSTOWN          OH 44501‐0696
RALPH HARDEN               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.         OH 44236
RALPH HARDIN               2726 E OAKWOOD DR 91                                                                           AVON PARK           FL 33825
RALPH HARDING              54267 WOODCREEK BLVD                                                                           SHELBY TOWNSHIP     MI 48315‐1431
RALPH HARDY                4033 RACE ST                                                                                   FLINT               MI 48504‐2237
RALPH HARPER               1330 CIBOLA DR                                                                                 MELBOURNE           FL 32934
RALPH HARRIMAN             5211 MONTICELLO DR                                                                             SWARTZ CREEK        MI 48473‐8249
RALPH HARRIS               218 W 1300 N                                                                                   ALEXANDRIA          IN 46001‐8953
RALPH HARRIS               3065 FOREST ST                                                                                 DENVER              CO 80207‐2720
RALPH HARRIS               17 E BEECHWOOD LN                                                                              INDIANAPOLIS        IN 46227‐2130
RALPH HARRIS               5563 MYERS LAKE AVE NE                                                                         BELMONT             MI 49306‐9644
RALPH HARRIS JR            177 S ELBA RD                                                                                  LAPEER              MI 48446‐2782
RALPH HARRIS SR            BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.         OH 44236
RALPH HARRISON JR          554 PALMERSTON ST                                                                              RIVER ROUGE         MI 48218‐1154
RALPH HARSCH               3085 WEILACHER RD SW                                                                           WARREN              OH 44481‐9105
RALPH HARTING JR           7399 WHITTINGHAM WAY                                                                           WEST BLOOMFIELD     MI 48322‐3288
RALPH HARVEY (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTRY TOWER, 11TH FLOOR,                                NEW HAVEN           CT 06510
                                                             265 CHURCH
RALPH HARVEY (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN           CT   06510
                                                             265 CHURCH ST
RALPH HAUSE JR             6510 MILLWOOD RD                                                                               CUMMING            GA    30041‐2185
RALPH HAUSER               510 E SAMARIA RD                                                                               TEMPERANCE         MI    48182‐9319
RALPH HAWKINS              1818 STEVENSON ST                                                                              FLINT              MI    48504‐3411
RALPH HAY                  55 LODERDALE RD                                                                                ROCHESTER          NY    14624‐2837
RALPH HAYDEN               220 MAC AVE APT 406                                                                            EAST LANSING       MI    48823‐4392
RALPH HAYGOOD JR           7807 CR 772                                                                                    WEBSTER            FL    33597‐6035
RALPH HAYNES               2949 E CUNNINGTON LN                                                                           KETTERING          OH    45420‐3862
RALPH HAZELWOOD            2690 HAMILTON MASON RD                                                                         HAMILTON           OH    45011‐5358
RALPH HEIDACKER            28453 QUAIL HOLLOW RD                                                                          FARMINGTON HILLS   MI    48331‐2752
RALPH HEINE                13026 LANARK PL                                                                                FORT WAYNE         IN    46814‐8848
RALPH HEIST                5293 OAKES RD                     RT 1                                                         CLAYTON            OH    45315‐8933
RALPH HEITZ                3500 LAKE BLVD #222                                                                            OCEANSIDE          CA    92056‐4500
RALPH HELMLE               11584 ADAMS DR                                                                                 WARREN             MI    48093‐1137
RALPH HENDERSON            8002 HIGHWAY 3                                                                                 PLAIN DEALING      LA    71064‐4400
RALPH HENDRIX              1179 MIDDLEBROOKS RD                                                                           WOODBURY           GA    30293‐2605
RALPH HENIGE               600 S MAIN ST                                                                                  CHESANING          MI    48616‐1710
RALPH HENRY                3113 SENECA ST                                                                                 FLINT              MI    48504‐3820
RALPH HENSEL               1662 C.R. 1095 RT 4                                                                            ASHLAND            OH    44805
RALPH HENSON               9570 HELTON DR                                                                                 FRANKLIN           OH    45005‐1002
RALPH HENTGES              8020 N HOPE AVE                                                                                KANSAS CITY        MO    64151‐3748
RALPH HERINGTON            PO BOX 206                                                                                     MOUNT MORRIS       MI    48458‐0206
RALPH HERNANDEZ            34106 E SPENCER RD                                                                             OAK GROVE          MO    64075‐7035
RALPH HERNDON              8374 E MOUNT MORRIS RD                                                                         OTISVILLE          MI    48463‐9463
RALPH HERRELL JR           1437 S 725 W                                                                                   TIPTON             IN    46072‐9176
RALPH HETHERINGTON         PO BOX 301                        2496 20 MILE RD                                              BARRYTON           MI    49305‐0301
RALPH HEWITT
RALPH HIDAY                1918 N BALSAM CT                                                                               ANDERSON           IN    46011‐2729
RALPH HILBORN              12041 CRAWFORD RD                                                                              OTISVILLE          MI    48463‐9730
RALPH HILLERS              207 CHIPPEWA CT                                                                                GIRARD             OH    44420‐3617
RALPH HILLIGOSS            846 BRIARWOOD DR                                                                               ANDERSON           IN    46012‐9803
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Name                  Address1                         Address2                     Address3   Address4         City             State Zip
RALPH HILTON          47 HUNTING RIDGE RD                                                                       NEWARK            DE 19702‐3718
RALPH HINDBAUGH       25441 DONALD                                                                              REDFORD           MI 48239‐3333
RALPH HINES           9828 SHEPHERDS DR                                                                         KANSAS CITY       MO 64131‐3217
RALPH HINKLEY         180 W 6TH ST                     P O BOX 235                                              ROANOKE           IN 46783‐1034
RALPH HISER           23‐ GORDON AVE                                                                            ROMEOVILLE         IL 60446‐1706
RALPH HODGE           5021 BIGAM RD                                                                             BATAVIA           OH 45103‐9584
RALPH HODGES          1246 S M‐13                                                                               LENNON            MI 48449
RALPH HODGES          11010 OLDS RD                                                                             OTISVILLE         MI 48463‐9744
RALPH HODGSON JR      2749 NORTHAMPTON RD                                                                       CUYAHOGA FALLS    OH 44223‐2759
RALPH HODSON          5926 S 475 E                                                                              MARKLEVILLE       IN 46056‐9724
RALPH HOEHN           2654 PCR 500                                                                              PERRYVILLE        MO 63775‐8267
RALPH HOGAN           1 COURT ST APT 12O                                                                        NEWARK            NJ 07102‐2657
RALPH HOLBROOK        863 SUTHERLAND AVE                                                                        JANESVILLE        WI 53545‐1629
RALPH HOLBROOK        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
RALPH HOLCOMB         3424 LONGVIEW AVE                                                                         ROCHESTER HLS     MI 48307‐5639
RALPH HOLDER          1266 W STATE ROAD 28                                                                      ALEXANDRIA        IN 46001‐8671
RALPH HOLEWA          843 HIGHBANKS DR                                                                          ALLEGAN           MI 49010‐1692
RALPH HOLFORD         4975 CASCADE RD SE                                                                        GRAND RAPIDS      MI 49546‐3763
RALPH HOLLAND         2091 OAK RUN DR N                                                                         INDIANAPOLIS      IN 46260
RALPH HOLLAND JR      4991 LYLE RD                                                                              COLUMBUS          OH 43229‐5307
RALPH HOLLANDER       1957 OAKLEIGH WOODS DR NW                                                                 GRAND RAPIDS      MI 49504‐2590
RALPH HOLLIDAY        37531 NEUKOM AVE                                                                          ZEPHYRHILLS       FL 33541‐9303
RALPH HOLLIDAY        313 E NORTH ST                                                                            TIPTON            IN 46072‐1447
RALPH HOLLOWAY        5944 HENDON AVE                                                                           DAYTON            OH 45431‐1531
RALPH HOLZER          1440 ALBERTA AVE                                                                          BURTON            MI 48509‐2111
RALPH HOOVER          137 CHAPEL HILL DR NW                                                                     WARREN            OH 44483‐1179
RALPH HOPKINS         135 LOCUST DR                                                                             ERIN              TN 37061‐5055
RALPH HOPKINS         1692 PATTERSON RD                                                                         SOMERSET          KY 42503
RALPH HOPPE           611 ELM ST                                                                                MOUNT MORRIS      MI 48458‐1917
RALPH HOPSON          3347 N EMERSON AVE APT 57                                                                 INDIANAPOLIS      IN 46218‐2471
RALPH HORN            1715 HARRYS BRANCH RD                                                                     WHITEWOOD         VA 24657‐9471
RALPH HOSEY JR        8828 WHIPPOORWILL RD                                                                      DIAMOND           OH 44412‐9708
RALPH HOSKINS         2933 HUMMINGBIRD DRIVE                                                                    SAINT CHARLES     MO 63301‐1247
RALPH HOTALING        3902 LOCKPORT OLCOTT RD LOT 77                                                            LOCKPORT          NY 14094‐1158
RALPH HOUSER          420 AVALON DR                                                                             GREENTOWN         IN 46936‐1607
RALPH HOWARD          14701 DECHANT RD                                                                          NEW LEBANON       OH 45345‐9721
RALPH HOWARD          2563 FAIROAKS RD                                                                          DECATUR           GA 30033‐1418
RALPH HOWARD          7568 TIMKEN AVE                                                                           WARREN            MI 48091‐2031
RALPH HOWARD          7050 ALDREDGE DR                                                                          SWARTZ CREEK      MI 48473‐9741
RALPH HOWARD JR       5242 CLEAR LAKE RD                                                                        NORTH BRANCH      MI 48461‐8515
RALPH HOWDERSHELT     10716 MCCLAIN RD                                                                          NEWTON FALLS      OH 44444‐9208
RALPH HOWIE           4025 OAK ST                                                                               LOWELLVILLE       OH 44436‐9745
RALPH HUBER           101 BARSTOW PL                                                                            LAWRENCE          KS 66049‐1601
RALPH HUDAK           294 GRAY RD                                                                               LAPEER            MI 48446‐2851
RALPH HUDAK           7848 ROME GREENWICH RD                                                                    SHILOH            OH 44878‐8816
RALPH HUDNELL         8145 DEWEY RD                                                                             THOMPSON          OH 44086‐9764
RALPH HUFF            87 SIMMONS ST                                                                             ROCHESTER         NY 14606‐5629
RALPH HUFFMAN         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
RALPH HUGHES          3536 WAYNESVILLE RD                                                                       SPRING VALLEY     OH 45370‐9727
RALPH HUIZAR          4900 CRANDALL RD                                                                          HOWELL            MI 48855‐5800
RALPH HUMBERTSON SR   42 LIBERTO LN                                                                             DOVER             DE 19901‐1832
RALPH HUMERICKHOUSE   781 W STATE ROAD 38                                                                       NEW CASTLE        IN 47362‐9787
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Name                     Address1                         Address2            Address3         Address4         City               State Zip
RALPH HUMPHREY           RT. #2, 4378 FUNK RD.                                                                  SHELBY              OH 44875
RALPH HUNLEY             430 HOLLIFIELD DR                                                                      JACKSBORO           TN 37757‐3606
RALPH HUNTER             7612 MARK AVE                                                                          HUBER HEIGHTS       OH 45424‐3269
RALPH HURT               9707 WILD HORSE RD                                                                     MC LOUTH            KS 66054‐4263
RALPH HUSEMANN           8522 CORUNNA RD                                                                        FLINT               MI 48532‐5502
RALPH HUSMANN            7610 WESCLIN RD                                                                        GERMANTOWN           IL 62245‐1516
RALPH HUTSON             2004 STEFANI CT                                                                        ARLINGTON           TX 76013‐4810
RALPH HYER               1005 MILLWOOD AVE                                                                      WASHINGTON COURT    OH 43160‐1049
                                                                                                                HOUSE
RALPH I STAMPS           55 MAXWELL CT                                                                          TIPP CITY          OH   45371
RALPH IANNUZZI           117 KENSINGTON CIR                                                                     BELVIDERE          NJ   07823‐1716
RALPH IOZZI              4D SPARROW ST                                                                          MANCHESTER         NJ   08759‐5346
RALPH IV, GEORGE J       9428 BLANCHARD RD                                                                      WEST FALLS         NY   14170
RALPH J BARONE           WEITZ & LUXENBERG PC             700 BROADWAY                                          NEW YORK CITY      NY   10003
RALPH J DILLHOFF         721 HOLLENDALE DRIVE                                                                   KETTERING          OH   45429‐3152
RALPH J FERRARA          10728 EL RANCHO DR W                                                                   SUN CITY           AZ   85351‐3758
RALPH J IORLANO          C/O EMBRY & NEUSNER              PO BOX 1409                                           GROTON             CT   06340
RALPH J LIVINGSTON       243 MURCHISON LANE                                                                     RIVERSIDE          OH   45431‐2238
RALPH J MALYS            1835 KINSMAN RD NE                                                                     N BLOOMFIELD       OH   44450‐9728
RALPH J MCDANIEL         5540 WADSWORTH RD                                                                      DAYTON             OH   45414
RALPH J MORRISON         3400 VIOLA DR                                                                          LANSING            MI   48911‐3323
RALPH J NEWMAN           4125 ANGELS PASS                                                                       PINCKNEY           MI   48169‐9005
RALPH J SCHULTZ JR       1248 CREIGHTON AVE                                                                     DAYTON             OH   45420
RALPH J SIRLIN           23880 WOODWARD AVE                                                                     PLEASANT RIDGE     MI   48069‐1133
RALPH J SPICER           5618 BETTY LN                                                                          MILFORD            OH   45150‐2378
RALPH J STEINBRUGGE JR   146 CHURCH STREET                                                                      DAYTON             OH   45410‐1802
RALPH J TALIENTO         128 GATES MANOR DRIVE                                                                  ROCHESTER          NY   14606‐4804
RALPH J TARR             420 REVERE BEACH                 APT 401                                               REVERE             MA   02151
RALPH J VALERIO          672 CHAPEL LN                                                                          CAMPBELL           OH   44405‐2006
RALPH JABOT              204 COLONY LAKE LN                                                                     DICKINSON          TX   77539‐6169
RALPH JACK               1363 N EMERALD DR                                                                      MEARS              MI   49436‐9696
RALPH JACKSON            1403 SUMMIT ST                                                                         FORT WAYNE         IN   46803‐1243
RALPH JACKSON            109 MARSHALL ST SW                                                                     HARTSELLE          AL   35640‐4105
RALPH JACKSON            6322 MCKENZIE DR                                                                       FLINT              MI   48507‐3888
RALPH JACKSON JR         335 LONICERA CT                                                                        WILMINGTON         NC   28411‐8321
RALPH JACOBS             223 WALNUT ST                                                                          CIRCLEVILLE        OH   43113‐2223
RALPH JAMES              7120 PARTRIDGE DR                                                                      FLUSHING           MI   48433‐8853
RALPH JAMES              5859 WABADA AVE                                                                        SAINT LOUIS        MO   63112‐3811
RALPH JARRETT            1207 SPRUCE ST                   P.O. BOX 579                                          EUDORA             KS   66025‐9317
RALPH JARVIS             10 MICHAEL RD                                                                          LAPEER             MI   48446‐9406
RALPH JAWOROWSKI         32451 FIRWOOD DR                                                                       WARREN             MI   48088‐6220
RALPH JENNINGS           1812 GARDNER RD                                                                        WESTCHESTER        IL   60154‐4400
RALPH JERGER             4497 S 700 E                                                                           MARION             IN   46953‐9556
RALPH JESSEE             600 S WILDER RD                                                                        LAPEER             MI   48446‐9430
RALPH JESSEE I I I       300 SW KILLARNEY LN                                                                    BLUE SPRINGS       MO   64014‐4928
RALPH JIMENEZ            840 S HOSPITAL RD                                                                      WATERFORD          MI   48327‐3904
RALPH JOHNSON            8950 PARK ST                                                                           LENEXA             KS   66215‐3466
RALPH JOHNSON            APT 114                          2244 Q AVENUE                                         NEW CASTLE         IN   47362‐2167
RALPH JOHNSON            505 BIRCH ST                                                                           HIXTON             WI   54635‐4401
RALPH JOHNSON            4907 LANSDOWNE RD                                                                      FREDERICKSBURG     VA   22408‐2583
RALPH JOHNSON            10402 STEPHEN YOUNG RD                                                                 CAMDEN             OH   45311‐9235
RALPH JOHNSON            9231 FOX AVE                                                                           ALLEN PARK         MI   48101‐1507
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Name                 Address1                          Address2                     Address3                   Address4         City              State Zip
RALPH JOHNSON        5830 RATTLE RUN RD                                                                                         SAINT CLAIR        MI 48079‐3901
RALPH JOHNSON        BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                               BOSTON HEIGHTS     OH 44236
RALPH JOHNSON        315 JULIA LANE                                                                                             PIEDMONT           AL 36272‐6915
RALPH JOHNSON        211 RIDGEVIEW DRIVE                                                                                        MURPHY             TX 75094
RALPH JOHNSON        RALPH JOHNSON FOR EMILY JOHNSON   211 RIDGEVIEW                                                            MURPHY             TX 75094
RALPH JOHNSON        211 RIDGEVIEW                                                                                              MURPHY             TX 75094
RALPH JONES          136 7TH AVE                       LOWER APT                                                                NORTH TONAWANDA    NY 14120‐4014
RALPH JONES          88 MELROSE AVE                                                                                             YOUNGSTOWN         OH 44512‐2213
RALPH JONES          1460 CORYDALE DR APT 142                                                                                   FAIRFIELD          OH 45014‐3371
RALPH JONES          20404 RANDOLPH PKWY                                                                                        HIGHLAND HILLS     OH 44122‐7014
RALPH JONES          1173 WESTWOOD DR NW                                                                                        WARREN             OH 44485‐1979
RALPH JONES          3893 FERNWALD DR                                                                                           DAYTON             OH 45440‐3439
RALPH JONES          2210 GREENFIELD AVE                                                                                        NOBLESVILLE        IN 46060‐4035
RALPH JONES          1713 ALHAMBRA DR                                                                                           ANDERSON           IN 46013‐2586
RALPH JONES          4722 BIRCHCREST DR                                                                                         FLINT              MI 48504‐2002
RALPH JONES          17310 CENTRAL PARK AVE                                                                                     HAZEL CREST         IL 60429‐1508
RALPH JONES          501 E LEWISTON AVE                                                                                         FERNDALE           MI 48220‐1358
RALPH JONES          2 BLAINE AVE                                                                                               BUFFALO            NY 14208‐1057
RALPH JONES          6885 CLINTONVILLE RD                                                                                       CLARKSTON          MI 48348‐4917
RALPH JONES JR       1190 JOLLYTOWN RD                                                                                          NEW FREEPORT       PA 15352
RALPH JORDAN         BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.        OH 44236
RALPH JUSTICE        18 BOBCAT LN                                                                                               BERWICK            ME 03901‐2448
RALPH JUSTICE        986 CALDWELL CORNER RD                                                                                     TOWNSEND           DE 19734‐9625
RALPH JUSTICE        18 BOBCAT LANE                                                                                             BERWICK            ME 03901
RALPH K BARCLAY JR   183 OLD WALNUT HILL RD                                                                                     UNIONTOWN          PA 15401
RALPH K GRIFFITH     240 W SOUTH STREET                                                                                         HILLSBORO          OH 45133‐1352
RALPH K MORAN        2330 LEIBY OSBORNE RD                                                                                      SOUTHINGTON        OH 44470
RALPH K TYLER        211 E 4TH ST                                                                                               TILTON              IL 61833‐7416
RALPH KAPLAN         CGM IRA ROLLOVER CUSTODIAN        SPECIAL ACCOUNT Y            3903 NOSTRAND AVE APT 1P                    BROOKLYN           NY 11235

RALPH KASPER         6212 KRISTA DR                                                                                             SPRING HILL       FL   34609‐8963
RALPH KATERBERG      725 BALDWIN ST                    APT A21                                                                  JENISON           MI   49428
RALPH KEENER         162 MIDWEST PKWY                                                                                           SARASOTA          FL   34232‐1549
RALPH KEESLING       3548 DEANS SHOP RD                                                                                         ESTILL SPRINGS    TN   37330‐5115
RALPH KEETON         324 CORDOVA RD.                                                                                            WILLIAMSTOWN      KY   41097
RALPH KELLEY         BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                               BOSTON HEIGHTS    OH   44236
RALPH KELLY          5925 NORTH 600 E                                                                                           BROWNSBURG        IN   46112
RALPH KEMP           455 SUNNEHANNA DR UNIT 448                                                                                 MYRTLE BEACH      SC   29588‐5399
RALPH KENDALL        1826 WALNUT ST                                                                                             ANDERSON          IN   46016‐2035
RALPH KENNARD        6304 W MCARTHUR LN                                                                                         MUNCIE            IN   47304‐8818
RALPH KENNEDY        1203 KINGWOOD LN                                                                                           ROCKVALE          TN   37153‐4078
RALPH KERNEY         3331 MERRILL AVENUE                                                                                        ROYAL OAK         MI   48073‐6816
RALPH KESSLER        6748 SARA CT                                                                                               PLAINFIELD        IN   46168‐7892
RALPH KETCHMARK      12640 HOLLY RD                    APT C103                                                                 GRAND BLANC       MI   48439‐1855
RALPH KIDD           3419 CORNWALL RD                                                                                           BALTIMORE         MD   21222‐6034
RALPH KIDD           1900 BEARDSLEY RD                                                                                          PINCKNEY          MI   48169‐8802
RALPH KIMBELL        3101 MARY WALKER PL                                                                                        CHATTANOOGA       TN   37411‐1050
RALPH KING           1577 RABBITSVILLE RD                                                                                       MITCHELL          IN   47446‐6713
RALPH KING           499 FITZOOTH DR                                                                                            MIAMISBURG        OH   45342‐5903
RALPH KING           480 JOHN ST                                                                                                CARLISLE          OH   45005‐3307
RALPH KING           314 MILLCREEK DR                                                                                           CHESTERFIELD      IN   46017‐1706
RALPH KING           67 ATWATER DR                                                                                              SAINT PETERS      MO   63376‐3113
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RALPH KING              1494 HONEYBEE DR                                                                                DAYTON              OH 45427‐3223
RALPH KING              612 E MAIN ST                                                                                   GAS CITY            IN 46933‐1542
RALPH KISE              3734 N US HIGHWAY 23 UNIT 2                                                                     OSCODA              MI 48750‐8813
RALPH KLAUKA            5561 FISH LAKE RD                                                                               NORTH BRANCH        MI 48461‐9569
RALPH KLAWITER          215 E MAIN ST                                                                                   ROCKFORD            MI 49341‐1051
RALPH KLEMAN            17126 KING RD                                                                                   BOWLING GREEN       OH 43402‐9467
RALPH KLOCKZIEM JR      2788 WEIGL RD                                                                                   SAGINAW             MI 48609‐7082
RALPH KLOS JR           3763 WRIGHT RD                                                                                  LAURA               OH 45337‐9779
RALPH KLUMPP            1098 BARTON WAY DR                                                                              TROY                MI 48098‐2020
RALPH KNICK             BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH 44236
RALPH KOEHLER           4961 N OLD FORT WAYNE RD                                                                        HUNTINGTON          IN 46750‐9603
RALPH KOEHLER           200 W 20TH ST SPACE # A 55                                                                      RIFLE               CO 81650
RALPH KOHNKE            317 CREEKWOOD CIR                                                                               LINDEN              MI 48451‐8969
RALPH KOLBE             ZENKERSTRASSE 24A                                                        91052 ERLANGEN
                                                                                                 GERMANY
RALPH KOLMER            75 NORWAY DR                                                                                    ROCHESTER          NY   14616‐1683
RALPH KOPPELBERGER JR   32007 LANCASTER DR                                                                              WARREN             MI   48088‐1350
RALPH KOSS              2250 PORTOFINO PL UNIT 236                                                                      PALM HARBOR        FL   34683‐7752
RALPH KOWALEWSKI SR     9809 6 MILE RD                                                                                  NORTHVILLE         MI   48168‐9460
RALPH KRAMER            24363 SMITH AVE                                                                                 WESTLAKE           OH   44145‐4818
RALPH KRAMER            2057 S VAN BUREN RD                                                                             REESE              MI   48757‐9202
RALPH KRAUSE            1332 E STORM CLOUD DR                                                                           KINGMAN            AZ   86409‐1164
RALPH KREGER            14156 GLENWOOD DR                                                                               SHELBY TWP         MI   48315‐5423
RALPH KULBETH           2713 GLEN OAKS DR                                                                               NORMAN             OK   73071‐4347
RALPH KUSCHELL          1921 N 110TH AVE                                                                                AVONDALE           AZ   85392‐5440
RALPH L CLAXTON         PO BOX 3882                                                                                     HIGHLAND PARK      MI   48203‐0882
RALPH L COLLINS         4241 OSBORNE RD                                                                                 MEDWAY             OH   45341‐‐ 97
RALPH L CONRAD          1506 BISCAYNE DR                                                                                TOLEDO             OH   43612‐4003
RALPH L DAVIS           1918 NICKI ST                                                                                   FAIRMONT           WV   26554‐9278
RALPH L DAVISON JR      17 JONES PL                                                                                     EDISON             NJ   08817
RALPH L DEVER           1682 YALTA RD                                                                                   DAYTON             OH   45432‐2349
RALPH L ELSEY           36 CLARE AVE                                                                                    ROSLINDALE         MA   02131
RALPH L HUGHES          3536 WAYNESVILLE RD                                                                             SPRING VALLEY      OH   45370
RALPH L LAPRADD         9264 BENSON RD                                                                                  LINCOLN            DE   19960‐3058
RALPH L LOGAN           732 S. BEECHGROVE ROAD                                                                          WILMINGTON         OH   45177‐9112
RALPH L MASON           3885 STANLEY RD                                                                                 LAPEER             MI   48446‐9043
RALPH L MOUNT JR        256 BRIANCLIFF RD.                                                                              DAYTON             OH   45415‐3423
RALPH L PONDISCIO       411 CRAWFORD TER                                                                                UNION              NJ   07083‐7331
RALPH L REECE           6136 W ELKTON RD                                                                                SOMERVILLE         OH   45064‐9460
RALPH L SHIELDS         102 MARCHESTER DR.                                                                              KETTERING,         OH   45429‐1702
RALPH L SHIFFLET        30 GIBRALTAR DR                                                                                 GERMANTOWN         OH   45327‐9349
RALPH L SHORT           2501 CROSS RD                                                                                   WINCHESTER         OH   45697‐9749
RALPH L SIPES           10457 MELROSE DR                                                                                N HUNTINGDON       PA   15642‐9787
RALPH L TRENT           8511 UPPER MIAMISBURG RD                                                                        MIAMISBURG         OH   45342
RALPH L WHITAKER        1581 TOD AVE NW                                                                                 WARREN             OH   44485‐1908
RALPH LA FAVE           21058 COLWELL ST                                                                                FARMINGTON HILLS   MI   48336‐6109
RALPH LA MERE           113 N MAIN ST                                                                                   BLISSFIELD         MI   49228‐1033
RALPH LAESCH            10137 WORTHY LAMB WAY                                                                           NEW PORT RICHEY    FL   34654‐3634
RALPH LAFONTAINE        2955 LONGVIEW AVE                                                                               ROCHESTER HLS      MI   48307‐5572
RALPH LAMARCO           961 KIRWAN DR                                                                                   YOUNGSTOWN         OH   44515‐3342
RALPH LAMAY             240 OAK ST APT D                                                                                MONTROSE           MI   48457‐9062
RALPH LAMBERSON JR      5104 ARROWHEAD BLVD                                                                             KOKOMO             IN   46902‐5317
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RALPH LAMBERSON, JR.           5104 ARROWHEAD BLVD                                                                      KOKOMO                IN 46902‐5317
RALPH LANDOLFO JR              PO BOX 40369                                                                             BAY VILLAGE           OH 44140‐0369
RALPH LANDON                   3997 NEWGARDEN RD                                                                        SALEM                 OH 44460‐9518
RALPH LANDRY                   2875 JAMES RD                                                                            AUBURN HILLS          MI 48326‐2111
RALPH LANGLOIS                 316 S OTTAWA ST                                                                          TECUMSEH              MI 49286‐2038
RALPH LAPOMPE                  495 E 46TH ST                                                                            BROOKLYN              NY 11203‐4203
RALPH LAPRADD                  9264 BENSON RD                                                                           LINCOLN               DE 19960‐3058
RALPH LARGENT                  625 3RD ST                                                                               MARTINSBURG           WV 25404‐4549
RALPH LARKIN JR                9540 W CAROL AVE                                                                         PEORIA                AZ 85345‐6951
RALPH LARSON CHEVROLET, INC.   531 S MAIN ST                                                                            HECTOR                MN 55342
RALPH LARSON CHEVROLET, INC.   RALPH LARSON                    531 S MAIN ST                                            HECTOR                MN 55342
RALPH LAVALLE                  1021 DELMAR AVE                                                                          UNION                 MO 63084‐1130
RALPH LAWRENCE                 3344 E 150 S                                                                             ANDERSON              IN 46017‐9740
RALPH LAY                      1790 DECATUR PIKE                                                                        WINCHESTER            OH 45697‐9711
RALPH LAYNE                    PO BOX 1822                                                                              MURRAY                KY 42071‐0033
RALPH LE PARD                  5184 DARBY ST                                                                            FLINT                 MI 48532‐4148
RALPH LEARY                    548 LAKE MYSTIC LN                                                                       LAKELAND              FL 33813‐1120
RALPH LEATHERBERRY             99 WYNN WOOD CIR                                                                         CAMDEN                DE 19934‐4422
RALPH LEDOUX                   8221 NE 51ST ST                                                                          KANSAS CITY           MO 64119‐4218
RALPH LEE                      1281 LOWER BELLBROOK RD                                                                  XENIA                 OH 45385‐7317
RALPH LEE                      1220 N 10TH ST                                                                           ELWOOD                IN 46036‐1017
RALPH LEE                      3822 E 71ST TER                                                                          KANSAS CITY           MO 64132‐2044
RALPH LEE                      28721 JEFFERSON AVE APT 112                                                              SAINT CLAIR SHORES    MI 48081‐1361
RALPH LEGGETT JR               1590 S MEADOW LN                                                                         BOLIVAR               MO 65613‐3375
RALPH LEGRAND                  311 CHURCH ST                                                                            YORKVILLE              IL 60560‐1327
RALPH LEISURE I I I            PO BOX 852                                                                               GREENFIELD            IN 46140‐0852
RALPH LEIVISKA                 5250 LAFAYETTE RD                                                                        INDIANAPOLIS          IN 46254‐1617
RALPH LENART                   30094 PRESCOTT ST                                                                        ROMULUS               MI 48174‐9709
RALPH LEONARDI                 54 BRADLEY DR                                                                            NEWARK                DE 19702‐4150
RALPH LEPAR                    BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS        OH 44236
RALPH LETOBAR                  1047 FOXGLOVE LN                                                                         DAVISON               MI 48423‐7905
RALPH LEWIN                    AAM POLIZEIPRESIDIUM 3
                               RECKLINGHAUSEN
RALPH LEWIS                    7264 MORRIS RD                                                                           HAMILTON             OH   45011‐5433
RALPH LEWIS                    5893 MILBURNE DR                                                                         MILFORD              OH   45150‐2158
RALPH LEWIS                    1400 ZILLOCK RD F302                                                                     SAN BENITO           TX   78586
RALPH LEWIS                    795 STEWART RD                                                                           ANDERSON             IN   46012‐9609
RALPH LEWIS                    3055 E MONROE RD                                                                         MIDLAND              MI   48642‐7249
RALPH LIKES                    BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS       OH   44236
RALPH LILLY                    38315 WALNUT ST                                                                          ROMULUS              MI   48174‐1071
RALPH LIMBAUGH                 2375 LAKEVIEW DR                                                                         HALE                 MI   48739‐8808
RALPH LINDEMANN                10268 SOUTHWEST HWY                                                                      CHICAGO RIDGE        IL   60415
RALPH LIPINSKI                 3713 S 57TH CT                                                                           CICERO               IL   60804‐4238
RALPH LITTLE                   32625 BOCK ST                                                                            GARDEN CITY          MI   48135‐1266
RALPH LLOYD                    1883 RIVERVIEW DR                                                                        DEFIANCE             OH   43512‐2565
RALPH LOCKARD                  29728 OAKVIEW ST                                                                         LIVONIA              MI   48154‐4472
RALPH LOEB JR                  RALPH LOEB JR R/O IRA           1403 THADDEUS COVE                                       AUSTIN               TX   78746
RALPH LOFARO                   1 OX YOKE RD                                                                             GARRISON             NY   10524‐7438
RALPH LOGAN                    601 SPRINGRIDGE DR                                                                       LEXINGTON            KY   40503‐1717
RALPH LOMMER                   2697 BASELINE RD APT 103                                                                 GRAND ISLAND         NY   14072‐1691
RALPH LONG                     4671 MAIN ST                                                                             MILLINGTON           MI   48746‐9068
RALPH LONG                     PO BOX 4583                                                                              SHERWOOD             OH   43556‐0583
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RALPH LONG                      10405 MANCHESTER AVE                                                                                        KANSAS CITY       MO 64134‐2062
RALPH LONZI                     78 FRONTENAC AVE                                                                                            BUFFALO           NY 14216‐2411
RALPH LOVELL                    2020 W BELLEVUE HWY                                                                                         OLIVET            MI 49076‐9440
RALPH LOWE                      3652 HARBISON AVE                                                                                           PITTSBURGH        PA 15212‐1932
RALPH LOWE                      111 E VAN LAKE DR.                                                                                          VANDALIA          OH 45377‐3233
RALPH LUDWIG                    209 E 14TH ST                                                                                               MIO               MI 48647‐9050
RALPH LUETZKENDORF              SEBASTIAN RIEGER STR 19                                                              86899 LANDSBERG
                                                                                                                     GERMANY
RALPH LUNDY                     1509 E FOREST AVE                                                                                           YPSILANTI        MI   48198‐4164
RALPH LUPU                      1313 VAN VLEET RD                                                                                           SWARTZ CREEK     MI   48473‐9708
RALPH LUSANE                    PO BOX 389                                                                                                  FLINT            MI   48501‐0389
RALPH LUTZ                      7055 SCENIC RIDGE DR                                                                                        CLARKSTON        MI   48346‐1346
RALPH M AND JANICE H MCCULLEY   MCCULLEY JOHN REV LVG TRUST UAD   3/5/98 RALPH MCCULLEY AND     116 LAKE VALLEY RD                          HENDERSONVILLE   TN   37075‐4349
                                                                  JANICE H MCCULLEY TTEES FBO
RALPH M AND VIRGINIA B PRICE    555 GLENWOOD AVE B306                                                                                       MENLO PARK       CA 94025
RALPH M BEENE                   UNIT 283                          125 FITCH BOULEVARD                                                       YOUNGSTOWN       OH 44515‐2246
RALPH M COLEY                   ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521             EAST ALTON       IL 62024
                                                                  ANGELIDES & BARNERD LLC
RALPH M DALTON                  5150 PATHVIEW DR                                                                                            HUBER HEIGHTS    OH   45424‐2563
RALPH M DEBEVEC                 1550 RORY LANE #138                                                                                         SIMI VALLEY      CA   93330‐6300
RALPH M GONZALES JR             113 S 15TH ST                                                                                               SAGINAW          MI   48601‐1845
RALPH M HEIST                   5293 OAKES RD                     RT 1                                                                      CLAYTON          OH   45315‐8933
RALPH M LONG                    4139 BRENTON DRIVE                                                                                          DAYTON           OH   45416‐1653
RALPH M MILLER                  1522 WAKE AVE                                                                                               RIVERSIDE        OH   45431
RALPH M SZYMASZEK               8068 PIEDMONT                                                                                               DETROIT          MI   48228
RALPH M TAYLOR                  BARON & BUDD PC                   THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                           DALLAS           TX   75219‐4281
RALPH MAC CALLUM                3610 WEDGWOOD DR                                                                                            PORTAGE          MI   49024‐5528
RALPH MACDONALD                 4 SUN AIR BLVD W                                                                                            HAINES CITY      FL   33844‐9654
RALPH MACIEJEWSKI               11624 CHAMPAIGN AVE                                                                                         WARREN           MI   48089‐1215
RALPH MACKAYS AUTO REPAIR       24 BIGGS DR                                                                          RIVERVIEW NB E1B 3H5
                                                                                                                     CANADA
RALPH MADDOCKS                  127 SALEM DR                                                                                                PENNSVILLE       NJ   08070‐3015
RALPH MADISON                   104 FOX HOLLOW DR                                                                                           METAMORA         MI   48455‐8990
RALPH MAHL SR                   6880 SWAN CREEK RD                                                                                          SAGINAW          MI   48609‐7075
RALPH MAHONEY                   33 TULIP AVENUE SOUTHWEST                                                                                   CONCORD          NC   28025‐5722
RALPH MAIORANA                  1323 CRESCENT DR                                                                                            DERBY            NY   14047‐9571
RALPH MALOTT                    1612 2ND ST                                                                                                 BEDFORD          IN   47421‐1606
RALPH MALOY                     2573 CHESTNUT ST                                                                                            GIRARD           OH   44420‐3106
RALPH MALYS                     1835 KINSMAN RD NE                                                                                          N BLOOMFIELD     OH   44450‐9728
RALPH MANDELKA                  5057 CITADEL DR                                                                                             CANTON           MI   48188‐2778
RALPH MANER                     764 BRAEMAR AVE SW                                                                                          ATLANTA          GA   30311‐2943
RALPH MANTELA                   709 RACHELLE ST                                                                                             WHITE LAKE       MI   48386‐2979
RALPH MARCEAU                   90 ELMWOOD RD                                                                                               LUNENBURG        MA   01462‐1467
RALPH MARENNA                   340 WITCHES ROCK RD                                                                                         BRISTOL          CT   06010‐7194
RALPH MARINUCCI                 104 FOREST GARDEN DR                                                                                        BOARDMAN         OH   44512‐6227
RALPH MARKS                     BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                                BOSTON HTS       OH   44236
RALPH MARQUEZ                   957 S AIRPORT WAY                                                                                           MANTECA          CA   95337‐8210
RALPH MARSHALL                  342 HOLLY ST SW                                                                                             WYOMING          MI   49548‐4247
RALPH MARSINGILL                2017 GLENALLAN AVE                                                                                          SILVER SPRING    MD   20902‐1372
RALPH MARSTELLER                7556 BUCHANAN DR                                                                                            BOARDMAN         OH   44512‐5701
RALPH MARTIN                    LOT 440                           6035 SOUTH TRANSIT ROAD                                                   LOCKPORT         NY   14094‐6357
RALPH MARTIN                    8537 HEARNS POND RD                                                                                         SEAFORD          DE   19973‐5709
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RALPH MARTIN         444 POPLAR RD                                                                         PELLSTON            MI 49769‐9348
RALPH MARTINEZ       19039 PLEASANTDALE ST                                                                 SANTA CLARITA       CA 91351‐3331
RALPH MARTZ          PO BOX 161                                                                            MARION              IN 46952‐0161
RALPH MASON          131 BROMWICH LN                                                                       TOLEDO              OH 43615‐5507
RALPH MASON          122 NW 12TH ST                                                                        OAK ISLAND          NC 28465‐7025
RALPH MASTERS        6849 S DIXIE HWY                                                                      FRANKLIN            OH 45005‐2843
RALPH MASTROIANNI    PO BOX 274                                                                            MILFORD             MA 01757‐0274
RALPH MATEEN         127 W NEWALL ST                                                                       FLINT               MI 48505‐4133
RALPH MAURER         3961 PARDEE AVE                                                                       DEARBORN HTS        MI 48125‐2407
RALPH MAUTZ          408 SCOTT ST                                                                          SANDUSKY            OH 44870‐3733
RALPH MAXWELL        214 HAMPTON ST                                                                        ROCKMART            GA 30153‐1754
RALPH MAXWELL JR     5025 BAXTER RD                                                                        BAXTER              TN 38544‐4526
RALPH MAY            7939 E 100 S                                                                          PORTLAND            IN 47371‐9683
RALPH MAYES          6311 COLORADO ST                                                                      ROMULUS             MI 48174‐1819
RALPH MAYFIELD       611 BENTON ST                                                                         WARSAW              MO 65355‐3192
RALPH MAYFIELD       711 FULMAR CT                                                                         POINCIANA           FL 34759‐4533
RALPH MAZE           924 N MORGAN AST                                                                      KOKOMO              IN 45901
RALPH MAZURKIEWICZ   14 BOSTWICK PL                                                                        DEPEW               NY 14043‐2802
RALPH MC ADAMS       APT 112                       6955 LANCASTER LAKE COURT                               CLARKSTON           MI 48346‐4435
RALPH MC ADAMS       1554 DORMIE DR                                                                        GLADWIN             MI 48624‐8104
RALPH MC DANIEL      422 BEASLEY RD                                                                        GALT                MO 64641‐9172
RALPH MC KINNEY      6320 RICHMOND AVE                                                                     KANSAS CITY         MO 64133‐4647
RALPH MC MAHAN       3216 8TH AVE                                                                          SAINT JAMES CITY    FL 33956‐2128
RALPH MC MAHON       274 SAMPLES CHAPEL RD SE                                                              CLEVELAND           TN 37323‐8902
RALPH MC MULLEN      1412 IRENE AVE                                                                        FLINT               MI 48503‐3552
RALPH MC PHERSON     1222 LAWRENCE AVE                                                                     DELTONA             FL 32725‐5717
RALPH MCBRIDE JR     6327 WALL ST                                                                          RAVENNA             OH 44266‐1731
RALPH MCCARTY        248 PENNSYLVANIA AVE                                                                  MC DONALD           OH 44437‐1936
RALPH MCCLEESE       12322 BENSON RD                                                                       MOUNT MORRIS        MI 48458‐1465
RALPH MCCOOL         10200 W MOUNT MORRIS RD                                                               FLUSHING            MI 48433‐9281
RALPH MCCORD         12864 OLIO RD                                                                         FISHERS             IN 46037‐7209
RALPH MCCULLEN       4724 HARVARD AVE                                                                      KANSAS CITY         MO 64133‐2335
RALPH MCCUTCHEN      9204 E OUTER DR                                                                       DETROIT             MI 48213‐4008
RALPH MCGREGOR       185 OAKLAND BLVD                                                                      STOCKBRIDGE         GA 30281‐3886
RALPH MCHONE         12309 LANGLEY HILL DR                                                                 KELLER              TX 76248‐1201
RALPH MCKEE JR       162 LEDBETTER RD                                                                      XENIA               OH 45385‐5327
RALPH MCKINNEY       2174 STATE ROUTE 96 E                                                                 SHELBY              OH 44875‐9311
RALPH MCMANUS        2625 W NESTEL RD                                                                      PRUDENVILLE         MI 48651‐9662
RALPH MCMILLIN       56 WILLIAM SCREVEN ST                                                                 GEORGETOWN          SC 29440‐6831
RALPH MCMURTRY       PO BOX 187                                                                            WHITE HOUSE         TN 37188‐0187
RALPH MEADE          12500 FULLMER RD                                                                      DEFIANCE            OH 43512‐8846
RALPH MECKLER        30 MAHONING CT                                                                        NEWTON FALLS        OH 44444‐1901
RALPH MEDER          10700 HARRIS RD                                                                       CHESANING           MI 48616‐9435
RALPH MEGONNELL JR   426 HAYES ST                                                                          YPSILANTI           MI 48198‐6065
RALPH MEIER          11789 ABBEY RD                                                                        NORTH ROYALTON      OH 44133‐2631
RALPH MELCHOR        9062 COUNTY ROAD D                                                                    LEIPSIC             OH 45856
RALPH MELTON         4052 CROSLEY AVE                                                                      NORWOOD             OH 45212‐2808
RALPH MELTON         1048 ULREY LN                                                                         ENGLEWOOD           FL 34223‐2454
RALPH MENDOZA        1912 MAPLEWOOD RD                                                                     FORT WAYNE          IN 46819‐1641
RALPH MENEAR         1954 LARCHMONT AVE NE                                                                 WARREN              OH 44483‐3508
RALPH MERIAN         33167 OAKLEY ST                                                                       LIVONIA             MI 48154‐3591
RALPH MERROW         1922 COLLINGWOOD AVE                                                                  SAGINAW             MI 48601‐3617
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RALPH MESSEL JR      855 N STEPHANIE ST UNIT 612                                                               HENDERSON          NV 89014‐3082
RALPH MEUTER         5685 WAYNE DR                                                                             FLOWERY BRANCH     GA 30542‐3941
RALPH MEYER          2266 PIONEER AVE                                                                          WINTERSET           IA 50273
RALPH MIDDLETON      2334 TANDY DR                                                                             FLINT              MI 48532‐4958
RALPH MILKS JR       3910 WOODBERRY LAKE DR                                                                    GREENSBORO         NC 27455‐0944
RALPH MILLER         3003 COOMER RD                                                                            NEWFANE            NY 14108‐9679
RALPH MILLER         130 SAINT THOMAS LN                                                                       CAHOKIA             IL 62206‐1802
RALPH MILLER         HC 74 BOX 93                                                                              MONTICELLO         KY 42633‐9203
RALPH MILLER         206 N SPRUCE DR                                                                           MAHOMET             IL 61853‐9277
RALPH MILLER         1342 OGAN AVE                                                                             HUNTINGTON         IN 46750‐3844
RALPH MILLER         PO BOX 67                                                                                 GREENWOOD          LA 71033‐0067
RALPH MILLER         574 MAYER RD                                                                              COLUMBUS           MI 48063‐2100
RALPH MILLER         1493 TERRAWENDA DR                                                                        DEFIANCE           OH 43512‐3701
RALPH MILLER
RALPH MILLER JR      53 DEER MEADOWS LN                                                                        REXFORD           MT   59930‐9401
RALPH MILLS          6384 VIOLET BLOSSOM DR                                                                    LAS VEGAS         NV   89108‐0834
RALPH MILONCZYK      6511 W FOREST HOME AVE                                                                    GREENFIELD        WI   53220‐2403
RALPH MINOR          3421 E 12TH ST                                                                            WHITE CLOUD       MI   49349‐9538
RALPH MISENER        29244 CRAWFORD AVE                                                                        PUNTA GORDA       FL   33982‐8582
RALPH MITCHELL       1330 W FAIRVIEW LN                                                                        ROCHESTER HILLS   MI   48306‐4138
RALPH MITCHELL       2109 WAVERLY AVE                                                                          KANSAS CITY       KS   66104‐4745
RALPH MOBILIO        9324 APT B 6TH STREET                                                                     OSCODA            MI   48750
RALPH MOECKEL        2112 OHIO AVE                                                                             CINCINNATI        OH   45202‐4922
RALPH MOISTNER       2701 N VIRGINIA AVE                                                                       MUNCIE            IN   47303‐1796
RALPH MOLL JR        4780 BUSCH RD                                                                             BIRCH RUN         MI   48415‐8785
RALPH MONROE         11274 HIBNER RD                                                                           HARTLAND          MI   48353‐1225
RALPH MONTEMALE      976 STATE RD                                                                              WEBSTER           NY   14580‐9346
RALPH MONTILEONE     9314 CHESAPEAKE DR                                                                        BRENTWOOD         TN   37027‐7458
RALPH MONTINARELLI   6 E POINTE                                                                                FAIRPORT          NY   14450
RALPH MOORBY         40 MARION ST                                                                              PITTSBURGH        PA   15205‐3349
RALPH MOORE          901 HOWARD LN                                                                             VANDALIA          OH   45377‐1872
RALPH MOORE          14 W FUNDERBURG RD                                                                        FAIRBORN          OH   45324‐2816
RALPH MOORE          204 RIGHT CURVE                                                                           JACKSONVILLE      AR   72076
RALPH MOORE          2420 JUDY CONN DR                                                                         LAPEER            MI   48446‐8332
RALPH MOREY          8006 PONTIAC ST                                                                           GOODRICH          MI   48438‐8711
RALPH MOREY          6401 E TOWNLINE LAKE RD                                                                   HARRISON          MI   48625‐9084
RALPH MORGAN JR      1084 W BOATFIELD AVE                                                                      FLINT             MI   48507‐3606
RALPH MORRIS         1004 COUNTY ROAD 400                                                                      HILLSBORO         AL   35643‐4320
RALPH MORRISON       768 WHEELWRIGHT RD                                                                        BARRE             MA   01005‐8850
RALPH MORRISON       6445 STONEHURST DR                                                                        HUBER HEIGHTS     OH   45424‐2168
RALPH MORRISON       3400 VIOLA DR                                                                             LANSING           MI   48911‐3323
RALPH MORRISON JR    870 W WALNUT ST                                                                           SAINT CHARLES     MI   48655‐1258
RALPH MORSE          71 STATE ST                                                                               MIDDLEPORT        NY   14105‐1113
RALPH MOSSNER        4963 HART RD                                                                              FRANKENMUTH       MI   48734‐9621
RALPH MOUNT JR       256 BRIARCLIFF RD                                                                         DAYTON            OH   45415‐3423
RALPH MULARSKI       1866 NIKKI CT                                                                             HOWELL            MI   48843‐8127
RALPH MUMPOWER       742 HEETER DR                                                                             NEW LEBANON       OH   45345‐1631
RALPH MUMPOWER JR    1643 LIBERTY ELLERTON RD                                                                  DAYTON            OH   45418‐1101
RALPH MUOLO          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH   44236
RALPH MURPHY         12322 SHARP RD                                                                            LINDEN            MI   48451‐8920
RALPH MURPHY         630 AUSTIN SMITH DR                                                                       MONROE            OH   45050‐1444
RALPH MURPHY         9 GREENGAGE RD                                                                            SAINT PETERS      MO   63376‐1508
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Name                        Address1                          Address2                     Address3          Address4         City                State Zip
RALPH MURRAY                2560 N SMITH RD, R#3                                                                              EATON RAPIDS         MI 48827
RALPH MUTTER                43416 BALLANTINE PL                                                                               ASHBURN              VA 20147‐5214
RALPH MYERS                 5715 GREENWOOD CIR                C/O MARCIA L MYERS                                              NAPLES               FL 34112‐8301
RALPH MYERS                 6880 PACKINGHAM DR                                                                                ENGLEWOOD            OH 45322‐3709
RALPH N STEPNEY             2575 TRINITY CIRCLE APT D                                                                         COLORADO SPRINGS     CO 80918‐6952
RALPH NACCHIO               1618 MEISTER ST                                                                                   PISCATAWAY           NJ 08854‐1663
RALPH NADLER                1295 ARROW WOOD DR                                                                                BREA                 CA 92821‐2103
RALPH NAJAR                 12729 WOODCOCK AVE                                                                                SYLMAR               CA 91342‐4622
RALPH NALBACH JR            9512 FALCON TRAK NE                                                                               WARREN               OH 44484‐1722
RALPH NARCISO               40 WIDMER RD                                                                                      WAPPINGERS FL        NY 12590‐3020
RALPH NAREMOORE             C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY, STE 600                                      HOUSTON              TX 77007
                            BOUNDAS, LLP
RALPH NAZARIAN              PO BOX 337                                                                                        MONTROSE            MI   48457‐0337
RALPH NEAL                  PO BOX 63                                                                                         SULPHUR SPRINGS     IN   47388‐0063
RALPH NEELEY                R1                                                                                                PLYMOUTH            OH   44865
RALPH NEFF                  2237 RAVINE WOODS DR                                                                              GROVE CITY          OH   43123‐8581
RALPH NEGRO                 21 JONATHAN LN                                                                                    YOUNGSTOWN          OH   44511‐1835
RALPH NEIFFER JR            7885 STATE ROUTE 380                                                                              WILMINGTON          OH   45177‐8359
RALPH NEILL                 18295 WHITETAIL LN                                                                                ATHENS              AL   35613‐8631
RALPH NELLINGER             1918 GETTYSBURG LN                                                                                COLUMBIA            TN   38401‐6812
RALPH NEW                   PO BOX 497                                                                                        SAINT HELEN         MI   48656‐0497
RALPH NEWBY                 941 TOESTRING VALLEY RD                                                                           SPRING CITY         TN   37381‐5356
RALPH NEWMAN                4125 ANGELS PASS                                                                                  PINCKNEY            MI   48169‐9005
RALPH NEWTH                 3121 WHITE OAK RD                                                                                 LORIDA              FL   33857‐9664
RALPH NEWTOWN               1214 BEL AIR DR                                                                                   FLINT               MI   48507‐3304
RALPH NICASTRO              C/O BEVAN & ASSOCIATES LPA INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS          OH   44236
RALPH NICHOLS               1216 COLD SPRINGS RD                                                                              WALLAND             TN   37886‐2134
RALPH NICHOLS               59 1ST ST                                                                                         OXFORD              MI   48371‐4602
RALPH NICHOLS               2700 SHIMMONS RD LOT 44                                                                           AUBURN HILLS        MI   48326‐2003
RALPH NICHOLS CORP          5600 CROOKS RD NO 8                                                                               TROY                MI   48098
RALPH NICHOLS CORPORATION   27777 FRANKLIN ROAD SUITE 1560                                                                    SOUTHFIELD          MI   48034
RALPH NICHOLS/STHFLD        27777 FRANKLIN ROAD               SUITE 1560                                                      SOUTHFIELD          MI   48034
RALPH NIEDECKEN             13116 N JENNINGS RD                                                                               CLIO                MI   48420‐8885
RALPH NIXON                 PO BOX 18305                                                                                      RIVER ROUGE         MI   48218‐0305
RALPH NOELL                 5466 PIN OAK CIR                                                                                  SHEFFIELD VILLAGE   OH   44054‐2417
RALPH NOLAND                6438 METCALF AVE                                                                                  SHAWNEE MISSION     KS   66202‐3950
RALPH NORMAN                4900 CANTERBURY CT                                                                                VASSAR              MI   48768‐1578
RALPH NUNAMAKER             296 GILT EDGE STAGE                                                                               LEWISTOWN           MT   59457‐2085
RALPH NUNN                  551 MAIN ST                                                                                       HERCULANEUM         MO   63048‐1027
RALPH O FEERER              128 HIGHRIDGE CRT                                                                                 FRANKLIN            OH   45005
RALPH O ROSS                P O BOX527                                                                                        MIAMISBURG          OH   45343‐0527
RALPH O YOUNG               APT 352247 W DAY‐YELLOW SPG RD                                                                    DAYTON              OH   45324
RALPH OLEKSIUK              113 GILBERT AVE                                                                                   NILES               OH   44446‐3306
RALPH OLIVER                9843 N 775 E                                                                                      WILKINSON           IN   46186‐9502
RALPH OLSON                 NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD        TX   75638
RALPH ONSTOTT               10079 BERRIDGE ROAD                                                                               GREENVILLE          MI   48838‐8712
RALPH OPRE                  PO BOX 624                                                                                        CAMP VERDE          AZ   86322‐0624
RALPH ORNDORF               5740 WATERLOO RD                                                                                  DAYTON              OH   45459‐1832
RALPH OSBORN                11930 SCIOTO DARBY RD                                                                             ORIENT              OH   43146‐9100
RALPH OSBORNE               10801 OLD DAYTON RD                                                                               NEW LEBANON         OH   45345‐9688
RALPH OTTO                  24566 ALMOND AVE                                                                                  EAST DETROIT        MI   48021‐1325
RALPH OTTO                  9849 BROOKVILLE PHILLIPSBG RD                                                                     BROOKVILLE          OH   45309‐9608
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RALPH OTTO                    2725 ONTARIO AVE                                                                                   DAYTON              OH 45414‐5174
RALPH OUELLETTE               629 VANIER                                                                  WINDSOR ONTARIO
                                                                                                          N8X3E4 CANADA
RALPH OWENS                   3946 SW 66TH AVE                                                                                   PALM CITY          FL    34990‐5355
RALPH OWENS                   71 E SOUTH ST                                                                                      BELLBROOK          OH    45305‐1945
RALPH OWENS                   14767 WESTPOINT ST                                                                                 TAYLOR             MI    48180‐8207
RALPH OWENS                   1003 HONEYSUCKLE DR                                                                                MOORESVILLE        IN    46158‐2033
RALPH OWENS JR                311 ELMEAD CT APT 2014                                                                             GREENWOOD          IN    46142‐4033
RALPH OXENDALE                14211 CLINTONIA RD                                                                                 PORTLAND           MI    48875‐9322
RALPH OZANICH                 4643 S MORRICE RD RTE 1                                                                            OWOSSO             MI    48867
RALPH P MAIORANA              1323 CRESCENT DR                                                                                   DERBY              NY    14047‐9571
RALPH P STRAHAN               3652 ELPASO AVE                                                                                    DAYTON             OH    45406‐1503
RALPH PACK                    6745 MIDDLETOWN RD                                                                                 NEW MIDDLETWN      OH    44442‐9733
RALPH PAINTER                 1545 N RIDGE RD                                                                                    CANTON             MI    48187‐4646
RALPH PAKIZER                 20595 HILLSBORO DR                                                                                 MACOMB             MI    48044‐3546
RALPH PALMER                  111 POINTE VIEW CT                                                                                 JACKSON            GA    30233‐6345
RALPH PALMERO                 C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH    44236
RALPH PANHUYZEN               [NULL]                              JANSSTRAAT 53‐B                         HAARLEM NETHERLANDS    HAARLEM
RALPH PANHUYZEN
RALPH PARENT                  78 SIMPKINS DR                                                                                     BRISTOL            CT    06010‐2688
RALPH PARENT                  4884 HENDERSON LAKE RD                                                                             PRESCOTT           MI    48756‐9696
RALPH PARISH                  2360 GIBSON RD                                                                                     GRAND BLANC        MI    48439‐8548
RALPH PARKER                  RR 13                                                                                              ANDERSON           IN    46011
RALPH PARRIS                  6107 CATBIRD AVE                                                                                   FORT WAYNE         IN    46818‐2538
RALPH PASCUZZI                207 HARBOUR WEST DR                                                                                WESTMINSTER        SC    29693‐6455
RALPH PATTERSON               144 LUDEN AVE                                                                                      MUNROE FALLS       OH    44262‐1408
RALPH PATTERSON               241 W BURNS LINE RD                                                                                MELVIN             MI    48454‐9751
RALPH PATTERSON               623 W JEFFERSON ST                                                                                 ALEXANDRIA         IN    46001‐1730
RALPH PAWLAK                  8630 BUTTERCUP DR                   AT SUNFLOWER CT.                                               EAST AMHERST       NY    14051‐2038
RALPH PEARCE                  2503 WEDGEWOOD DR                                                                                  MANSFIELD          OH    44903‐7404
RALPH PECK                    1492 SPRINGMILL PONDS BLVD                                                                         CARMEL             IN    46032‐8248
RALPH PECK                    4217 MOORE LN                                                                                      CULLEOKA           TN    38451‐2055
RALPH PEDERSEN                PO BOX 1103                                                                                        BEDFORD            IN    47421‐1103
RALPH PENA                    142 W RUTGERS AVE                                                                                  PONTIAC            MI    48340‐2758
RALPH PENNO                   710 STURGEON PL                                                                                    PUNTA GORDA        FL    33950‐7039
RALPH PENROSE                 349 RIVER BEND RD                                                                                  SCOTTSVILLE        KY    42164‐9433
RALPH PENTECOST               332 RENKER RD                                                                                      LANSING            MI    48917‐2838
RALPH PERDUE JR               PO BOX 44                                                                                          WAYNESVILLE        OH    45068‐0044
RALPH PERLA                   1403 3RD ST                                                                                        SANDUSKY           OH    44870‐3916
RALPH PERRY JR                3554 DOBBIN DR                                                                                     STERLING HEIGHTS   MI    48310‐3077
RALPH PETERSON                PO BOX 398                                                                                         ALBA               TX    75410‐0398
RALPH PETTEY                  10344 N LEWIS RD                                                                                   CLIO               MI    48420‐7938
RALPH PETTIFORD               2034 GLENDALE ST                                                                                   DETROIT            MI    48238‐3661
RALPH PETTY                   4945 ELAINE ST                                                                                     INDIANAPOLIS       IN    46224‐2424
RALPH PFAU                    1162 AMELITH RD                                                                                    BAY CITY           MI    48706‐9380
RALPH PHEGLEY
RALPH PHILPOT                 9301 E 79TH ST                                                                                     RAYTOWN            MO 64138‐1649
RALPH PIASTA & ILENE PIASTA   COMP 32 RR 1                                                                DAUPHIN, MB, R7N 2T4
                                                                                                          CANADA
RALPH PICARDO                 1009 WILLAIMS DR                                                                                   AIKEN               SC   29803
RALPH PICKERING               122 TIMBERBROOK RUN                                                                                WESTFIELD           IN   46074‐9529
RALPH PIEL                    PO BOX 50918                                                                                       BOWLING GREEN       KY   42102‐4218
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RALPH PIERCE          7079 EAGLE DR                                                                           NINEVEH             IN 46164‐9630
RALPH PIERCE          1129 MILLBURY RD                                                                        NORTHWOOD           OH 43619‐2607
RALPH PIERCE          2842 RED SKY CT                                                                         NEW SMYRNA          FL 32168‐5784
RALPH PIERCE JR       721 HAZELTON ST APT 2                                                                   FLINT               MI 48503
RALPH PINSON          5000 TOWN CTR APT 3006                                                                  SOUTHFIELD          MI 48075‐1118
RALPH PITSENBARGER    HC 61 BOX 23                                                                            FRANKLIN            WV 26807‐9603
RALPH PIZMOHT         14444 CRESTVIEW DR                                                                      NOVELTY             OH 44072‐9739
RALPH PLACINTO        269 ABBY BROOK LN                                                                       HOWELL              MI 48843‐7316
RALPH PLATT           336 N ANN ST                                                                            FOWLERVILLE         MI 48836‐8945
RALPH PLESHAK         32221 BARTON ST                                                                         GARDEN CITY         MI 48135‐1292
RALPH PLUMMER         190 N HIGH SCHOOL RD                                                                    INDIANAPOLIS        IN 46214‐3952
RALPH POMPA           57673 HIDDEN TIMBERS DR                                                                 SOUTH LYON          MI 48178‐8705
RALPH PONDISCIO       411 CRAWFORD TER                                                                        UNION               NJ 07083‐7331
RALPH PONTIAC, INC.   3939 RIDGE RD W                                                                         ROCHESTER           NY 14626‐3536
RALPH PONTIAC, INC.   MICHAEL RALPH                       3939 RIDGE RD W                                     ROCHESTER           NY 14626‐3536
RALPH PONZAR          809 S YOSEMITE CT                                                                       SAINT PETERS        MO 63376‐2088
RALPH POOLE           1524 CLELAND CRSE                                                                       WILMINGTON          DE 19805‐4517
RALPH POOR            3770 SHAW RD                                                                            KINGSTON            MI 48741‐9504
RALPH PORLAS          4191 MCCARTY RD APT 28                                                                  SAGINAW             MI 48603‐9316
RALPH PORRO
RALPH POWELL          221 E 9TH ST                                                                            GEORGETOWN         IL   61846‐1526
RALPH POWELL          1717 OLD TOWN RD SE                                                                     GRAND RAPIDS       MI   49508‐2696
RALPH PRATER          8230 GERMANTOWN RD                                                                      WASHINGTON         MO   63090‐6050
RALPH PRATTO          15427 NORTHVILLE FOREST DR APT 30                                                       PLYMOUTH           MI   48170‐4925
RALPH PRESTO JR       907 REGENTS PARK DR                                                                     MONROE             MI   48161‐9761
RALPH PRINCE          6086 BYRAM LAKE DR                                                                      LINDEN             MI   48451‐8784
RALPH PRINGLE         8301 PORTLAND RD                                                                        CASTALIA           OH   44824‐9768
RALPH PROVOAST        4414 N SAGE LAKE RD                                                                     HALE               MI   48739‐9152
RALPH PRUITT          137 ABERDEEN LN                                                                         MONROE             MI   48161‐9092
RALPH PRZYTULA        241 FLAG SPRINGS RD                                                                     LYNNVILLE          TN   38472‐8168
RALPH PUCKETT         6 W JERALD ST                                                                           HIGHLAND SPRINGS   VA   23075‐1337
RALPH PUENTES         4429 SHARON ST                                                                          DETROIT            MI   48210
RALPH PULLEY          1184 COLBY CT                                                                           SAINT PETERS       MO   63376‐5520
RALPH PUNG            545 N ELM ST                                                                            FOWLER             MI   48835‐9705
RALPH PURSE           1142 LUMSDEN TRACE CIR                                                                  VALRICO            FL   33594‐4839
RALPH PUTMAN          967 E TIENKEN RD                                                                        ROCHESTER HILLS    MI   48306‐4548
RALPH QUERRY          2426 N BUCKEYE ST                                                                       KOKOMO             IN   46901‐5815
RALPH R BRADEN        824 BEECHWOOD CT.                                                                       JACKSON            MS   39206
RALPH R ELDREDGE      3180 KIOWA BLVD N                                                                       LAKE HAVASU CITY   AZ   86404‐1523
RALPH R HAWKINS       1818 STEVENSON ST                                                                       FLINT              MI   48504‐3411
RALPH R HUFF          87 SIMMONS ST                                                                           ROCHESTER          NY   14606‐5629
RALPH R MARSTELLER    7556 BUCHANAN DR                                                                        BOARDMAN           OH   44512‐5701
RALPH R MOORE         901 HOWARD LN                                                                           VANDALIA           OH   45377‐1872
RALPH R OSBORNE       10801 OLD DAYTON RD                                                                     NEW LEBANON        OH   45345‐9688
RALPH R OTTO          2725 ONTARIO AVE                                                                        DAYTON             OH   45414
RALPH R PELFREY       1051 #1 HUFFMAN AVE.                                                                    DAYTON             OH   45403‐2921
RALPH R STROHPAUL     402 WOODSIDE LN                                                                         BAY CITY           MI   48708‐5551
RALPH RADECK          8217 BRIAR LN                                                                           JENISON            MI   49428‐8627
RALPH RAFALSKI        2779 BLACK EAGLE VALLEY DR                                                              HOWELL             MI   48843‐6946
RALPH RAMSEY          20662 LAKE MONTCALM RD                                                                  HOWARD CITY        MI   49329‐9027
RALPH RAMSEY          CASCINO MICHAEL P                   220 SOUTH ASHLAND AVE                               CHICAGO            IL   60607
RALPH RANGE           15563 SOUTHWAY DR                                                                       BROOK PARK         OH   44142‐3757
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RALPH RASCH          PO BOX 152                      3159 PHELP                                            UNIONVILLE        MI 48767‐0152
RALPH RASEY          2668 N MASON RD                                                                       VERMONTVILLE      MI 49096‐8513
RALPH RAY            200 HILLTOPPER DR                                                                     BOWLING GREEN     KY 42101‐0513
RALPH RAY            755 BERKLEY DR                                                                        PENSACOLA         FL 32503‐2358
RALPH RAYMOND        10901 DEHMEL RD                                                                       BIRCH RUN         MI 48415‐9706
RALPH READING JR     41441 TYLER RD                                                                        BELLEVILLE        MI 48111‐1454
RALPH REAGAN         INMATE # 280244                 PARR HIGHWAY CORRECTION                               ADRIAN            MI 49221
RALPH REAH           5340 HOLT RD                                                                          HOLT              MI 48842‐9506
RALPH REAVIS         218 OXFORD PLACE DR                                                                   FORT MILL         SC 29715‐9610
RALPH RECTOR JR      6132 S 300 E                                                                          MARKLEVILL        IN 46056‐9755
RALPH REED           3407 W MOUNT HOPE AVE LOT G25                                                         LANSING           MI 48911‐1218
RALPH REED           2849 CLARK RD                                                                         PRESCOTT          MI 48756‐9319
RALPH REEVES         203 LOCUST LN                                                                         MOORESVILLE       IN 46158‐1140
RALPH REID           2335 WATKINS LAKE RD                                                                  WATERFORD         MI 48328‐1441
RALPH REID           351 HILLCLIFF DR                                                                      WATERFORD         MI 48328‐2522
RALPH REINHART III   48080 WALDEN RD                                                                       MACOMB            MI 48044‐4909
RALPH REITANO        19949 W MARION RD                                                                     BRANT             MI 48614‐9743
RALPH RENO           1508 MAINSAIL DR APT 6                                                                NAPLES            FL 34114‐7840
RALPH RENSING        100 TODD LN                                                                           BELLEVILLE         IL 62221‐5750
RALPH RENY           6447 HILLTOP LN                                                                       MAUMEE            OH 43537‐9765
RALPH REPP           PO BOX 57                                                                             CICERO            IN 46034‐0057
RALPH RESCH I I I    3366 CURTIS ST                                                                        MOGADORE          OH 44260‐1008
RALPH RESEIGH        285 STONY LAKE DR                                                                     OXFORD            MI 48371‐6740
RALPH RHEINSCHMIDT
RALPH RHOADES        1001 HENRY CT                                                                         FLUSHING         MI   48433‐1595
RALPH RIALE          97 BENNETT AVE                                                                        NORTH EAST       MD   21901‐6301
RALPH RICHARDSON     1118 PORT WILLIAM RD                                                                  WILMINGTON       OH   45177‐9694
RALPH RICHEY         5529 E SOUTHERN AVE                                                                   INDIANAPOLIS     IN   46203‐5631
RALPH RICKER JR      89 KENTUCKY AVE                                                                       ARCADIA          FL   34266‐4222
RALPH RICKS          420 PETTIGREW RD                                                                      STARR            SC   29684‐8859
RALPH RINEHART JR    558 NORTHFIELD DR                                                                     YOUNGSTOWN       NY   14174‐1110
RALPH RISOLO SR      1275 COURTNEY DR                                                                      VICTOR           NY   14564‐9561
RALPH RIVERA         5084 KNAPP DR                                                                         FLINT            MI   48506‐2112
RALPH ROA            677 E BRICKLEY AVE                                                                    HAZEL PARK       MI   48030‐1270
RALPH ROBBINS        BOX 599 ROUTE 2                                                                       PENNINGTON GAP   VA   24277
RALPH ROBERTS        3854 MEANDER DR                                                                       MINERAL RIDGE    OH   44440‐9014
RALPH ROBERTS        15987 W PINE LAKE RD                                                                  SALEM            OH   44460‐9123
RALPH ROBERTS        9000 U.S.HWY. LOT 222                                                                 CLERMONT         FL   34711
RALPH ROBERTS        414 WHISPERING DR                                                                     SPRING HILL      TN   37174‐9600
RALPH ROBERTSON      424 TAMARAC DR                                                                        DAVISON          MI   48423‐1940
RALPH ROBINSON       3390 KETTERING RD                                                                     SAGINAW          MI   48603‐2301
RALPH ROBINSON       2812 WALFORD DR                                                                       DAYTON           OH   45440‐2235
RALPH ROBISON        1602 RYAN RD                                                                          CARO             MI   48723‐9565
RALPH ROCHA          1309 BUNDY CT                                                                         SMYRNA           TN   37167‐6477
RALPH RODEN
RALPH RODRIGUEZ      2102 VINEWOOD ST                                                                      DETROIT          MI   48216‐5507
RALPH ROGERS         1035 CLIFT CAVE RD                                                                    SODDY DAISY      TN   37379‐5704
RALPH ROGERS         PO BOX 345                                                                            EVENING SHADE    AR   72532‐0345
RALPH ROGERS         37901 HURON POINT                                                                     MOUNT CLEMENS    MI   48045
RALPH ROGUS          36 BEACONSFIELD CT.                                                                   LINCOLNSHIRE     IL   60069
RALPH ROHDE          304 BUTTERNUT LN                                                                      BEREA            OH   44017‐1315
RALPH ROMANO         906 FORESTDALE RD                                                                     ROYAL OAK        MI   48067‐1646
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RALPH ROMEO         2555 VESER LN APT E1                                                                             WILLOW GROVE     PA 19090‐1125
RALPH RONDO         1592 S MONOCLE LAKE RD                                                                           BRIMLEY          MI 49715‐9337
RALPH ROOD          8269 N GLEANER RD                                                                                FREELAND         MI 48623‐9510
RALPH ROSAS         1775 RIBBLE ST                                                                                   SAGINAW          MI 48601‐6855
RALPH ROSE          8730 ELKHORN CREEK ROAD                                                                          ASHCAMP          KY 41512
RALPH ROSS          1900 BLUE RIDGE BLVD LOT 71                                                                      KANSAS CITY      MO 64126‐3110
RALPH ROSS          PO BOX 527                                                                                       MIAMISBURG       OH 45343‐0527
RALPH ROSS          C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                 HOUSTON          TX 77017
RALPH ROTTGEN       514 SHILOH CIR                                                                                   COLUMBIA         TN 38401‐5316
RALPH ROWLSON       4381 E TU AVE                                                                                    VICKSBURG        MI 49097‐8440
RALPH ROYAL         6950 LUMLEY RD                                                                                   BEAR LAKE        MI 49614‐9326
RALPH ROYSDEN       809 W 9TH ST                                                                                     MUNCIE           IN 47302‐3102
RALPH RUBADEAU      145 PIKE STREET BOX 201                                                                          FT COVINGTON     NY 12937
RALPH RUCKLE        19950 PINE ECHO RD                                                                               N FT MYERS       FL 33917‐4846
RALPH RUDD          6417 PORTER RD                                                                                   GRAND BLANC      MI 48439‐8556
RALPH RUDD          905 JOSEPHINE ST                                                                                 NEWPORT          AR 72112‐2803
RALPH RUELLE        3790 RED BUD LN                                                                                  CLARKSTON        MI 48348‐1453
RALPH RUFENER       209 S MECCA ST                                                                                   CORTLAND         OH 44410‐1439
RALPH RULESTEAD     18 SOUTH LEXINGTON DRIVE                                                                         JANESVILLE       WI 53545‐2139
RALPH RUNNING       420 FLETCHER DR                                                                                  SMITHVILLE       MO 64089‐9613
RALPH RUSHTON       2292 S TERM ST                                                                                   BURTON           MI 48519‐1031
RALPH RUSSO         365 NORRAN DR                                                                                    ROCHESTER        NY 14609‐1003
RALPH RUTLEDGE      227 OBERLE AVE                                                                                   BALTIMORE        MD 21221‐4766
RALPH RYAN          133 S MORRICE RD                     PO BOX 294                                                  MORRICE          MI 48857‐9729
RALPH RYAN          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                    BALTIMORE        MD 21201

RALPH RYAN JR       3930 BOSTON RD                                                                                   BRUNSWICK       OH   44212‐1223
RALPH S ANDALORO    WEITZ AND LUXENBERG PC               700 BROADWAY                                                NEW YORK CITY   NY   10003
RALPH S ARNOLD      351 STROEBEL DR                                                                                  FRANKENMUTH     MI   48734
RALPH S BIGLEY      18 W HILLCREST AVE                                                                               CHALFONT        PA   18914
RALPH S FODER       1076 CENTER ST E                                                                                 WARREN          OH   44481
RALPH S GOECKE      471 KALYNN CIRCLE                                                                                FAIRBORN        OH   45324‐‐ 75
RALPH S JAMES III   1021 PLEASANT HILL ROAD                                                                          FLEETWOOD       PA   19522
RALPH S KEENER      162 MIDWEST PARKWAY                                                                              SARASOTA        FL   34232‐1549
RALPH S MC ADAMS    PO BOX 229                                                                                       OXFORD          MI   48371‐0229
RALPH S MESSURA     1291 LAKE AVE                                                                                    ROCHESTER       NY   14613‐1227
RALPH S ROBINSON    C/O EMBRY & NEUSNER                  PO BOX 1409                                                 GROTON          CT   06340
RALPH S YEAKEL      2861 CRESTWOOD N.W.                                                                              WARREN          OH   44485‐1230
RALPH SABINASH      2828 S 76TH ST                                                                                   WEST ALLIS      WI   53219‐2825
RALPH SADLER        39644 BYERS DR                                                                                   STERLING HTS    MI   48310‐2618
RALPH SAILES        PO BOX 3194                                                                                      ANDERSON        IN   46018‐3194
RALPH SALSMAN       1596 10TH ST                                                                                     DANVILLE        IN   46122‐9163
RALPH SALTZ JR      2051 GLENCOE RD                                                                                  CULLEOKA        TN   38451‐2149
RALPH SAMOY         5281 WOODCREEK TRL                                                                               CLARKSTON       MI   48346‐3971
RALPH SAMPLES, JR   BEVAN & ASSOCIATES, LPA, INC         6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS      OH   44236
RALPH SANDERSON     4050 BLUEBERRY LN                                                                                FORT GRATIOT    MI   48059
RALPH SANDY         HC 37 BOX 198                                                                                    LEWISBURG       WV   24901‐9536
RALPH SANTILLO      7060 LINCOLN AVENUE EXT                                                                          LOCKPORT        NY   14094‐6218
RALPH SAWYER        520 MILAN AVE LOT 219                                                                            NORWALK         OH   44857‐8736
RALPH SCAGLIONE     WEITZ & LUXENBERG PC                 700 BROADWAY                                                NEW YORK CITY   NY   10003
RALPH SCALA         WEITZ & LUXENBERG PC                 700 BROADWAY                                                NEW YORK CITY   NY   10003
RALPH SCHAMP        4146 GRAY DR                                                                                     WOOSTER         OH   44691‐6917
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Name                Address1                         Address2                     Address3   Address4         City               State Zip
RALPH SCHARLE
RALPH SCHELL        G‐3380 BEACON ST                                                                          FLINT              MI    48504
RALPH SCHERZO       1206 PAUL MARTIN DR                                                                       EDGEWOOD           MD    21040‐1217
RALPH SCHEUERLEIN   5082 FREELAND, ROUTE #1                                                                   FREELAND           MI    48623
RALPH SCHICKEDANZ   16215 ASHEBORO CT                                                                         FORT MYERS         FL    33908‐3518
RALPH SCHILLING     12482 LAKE RD                                                                             MONTROSE           MI    48457‐9443
RALPH SCHLAK        2357 EUGENE ST                                                                            BURTON             MI    48519‐1353
RALPH SCHLEICHER    27271 W PLEASANT RIDGE ST                                                                 DEARBORN HEIGHTS   MI    48127‐1675
RALPH SCHMIDT       G 7222 W CARPENTER                                                                        FLUSHING           MI    48433
RALPH SCHMIDT JR    3008 E BAYVIEW LN                                                                         SANDUSKY           OH    44870‐5905
RALPH SCHMUDE       4111 NORVELL RD                                                                           GRASS LAKE         MI    49240‐9759
RALPH SCHNEIDER     11265 MORRISH RD                                                                          GAINES             MI    48436‐9724
RALPH SCHNIPKE      ROUTE 1                                                                                   CLOVERDALE         OH    45827
RALPH SCHOMAKER     1020 LEDDY RD                                                                             SAGINAW            MI    48609‐8824
RALPH SCHROEDER     1869 HAVERHILL DR                                                                         LAPEER             MI    48446‐9792
RALPH SCHROER
RALPH SCHROUGHAM    5494 S 600 W                                                                              TRAFALGAR          IN    46181‐9174
RALPH SCHUCH        304 VICTORY HL                                                                            COATESVILLE        IN    46121‐8964
RALPH SCHUELER      1503 BLACK RD                                                                             HAMILTON           OH    45013‐8534
RALPH SCHUETT       1400 MARKET PLACE BLVD PMB 175                                                            CUMMING            GA    30041‐7925
RALPH SCHULTE       73 KIMBERLY LN                                                                            SAINT PETERS       MO    63376‐2112
RALPH SCHULTZ       1657 YOUNGSTOWN WILSON RD                                                                 YOUNGSTOWN         NY    14174‐9787
RALPH SCHULTZ       3003 GALE CT                                                                              SPRING HILL        TN    37174‐6588
RALPH SCHWAB        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH    44236
RALPH SCHWALM       5008 BEECH ROAD                                                                           HOPE               MI    48628‐9608
RALPH SCYOC         97 CHURCH ST                                                                              LAGRANGE           OH    44050‐9783
RALPH SECORD        9170 N LAKE RD                                                                            FOSTORIA           MI    48435‐9720
RALPH SECQUER       640 ROOSEVELT AVE                                                                         MOUNT MORRIS       MI    48458‐1527
RALPH SEEGRAVES     2831 BELAND AVE                                                                           KEEGO HARBOR       MI    48320‐1174
RALPH SEELEY        G5062 W FRANCES RD                                                                        CLIO               MI    48420
RALPH SEITZ         1734 N CLEAR LAKE RD                                                                      WEST BRANCH        MI    48661‐9497
RALPH SENA JR       72 FERNCLIFF RD                                                                           BLOOMFIELD         NJ    07003‐5414
RALPH SERGI         52 PLYMOUTH RD                                                                            FISHKILL           NY    12524‐1407
RALPH SETTING JR    1449 WHITE OAK DR NE                                                                      WARREN             OH    44484‐1651
RALPH SETTLE        148 OLD GRITSMILL RD                                                                      SPARTA             GA    31087‐2209
RALPH SEWELL        7420 S 88TH AVE                                                                           JUSTICE            IL    60458‐1010
RALPH SHAMEL        8149 FAULKNER DR                                                                          DAVISON            MI    48423‐9534
RALPH SHARP         1449 NE THOMPSON RD                                                                       DECATUR            AL    35603‐6729
RALPH SHARPE        327 WASHINGTON AVE                                                                        NILES              OH    44446‐3142
RALPH SHARPE        424 JACOBS PLACE DR                                                                       SAINT PETERS       MO    63376‐7795
RALPH SHAWANIBIN    14803 HOLMUR ST                                                                           DETROIT            MI    48238‐2141
RALPH SHEAR         1 PERSHING LN                                                                             PALM COAST         FL    32164‐4704
RALPH SHEFFER       49595 BOOTJACK RD                                                                         LAKE LINDEN        MI    49945‐9785
RALPH SHEPARD       12916 GEORGIA AVE                                                                         GRAND LEDGE        MI    48837‐1904
RALPH SHEPARD JR    3329 CHRISTY WAY N                                                                        SAGINAW            MI    48603‐7220
RALPH SHIELDS       102 MARCHESTER DR                                                                         KETTERING          OH    45429‐1702
RALPH SHIFFLET      30 GIBRALTAR DR                                                                           GERMANTOWN         OH    45327‐9349
RALPH SHIMELONIS    7393 CHURCHILL SQ                                                                         MENTOR             OH    44060‐4767
RALPH SHIRLEY       17725 GARDEN SPOT DR                                                                      HAGERSTOWN         MD    21740‐9110
RALPH SHORES        6557 N TREMONT ST                                                                         INDIANAPOLIS       IN    46260‐4370
RALPH SHORT         3125 W SANILAC RD                                                                         VASSAR             MI    48768‐9555
RALPH SHORT         2501 CROSS ROAD                                                                           WINCHESTER         OH    45697‐9749
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Name                 Address1                     Address2                   Address3          Address4         City              State Zip
RALPH SHRECKENGOST   6529 TARAWA DR                                                                             SARASOTA           FL 34241‐5645
RALPH SHRIFT         PO BOX 38                                                                                  WILMORE            PA 15962‐0038
RALPH SICURANZA      PO BOX 9                                                                                   COLBURN            ID 83865‐0009
RALPH SILMAN I I I   8210 BEA LN                                                                                GREENWOOD          LA 71033‐3300
RALPH SIMMONS        9711 HIGHLAND DR                                                                           PERRINTON          MI 48871‐9668
RALPH SIMMONS        4135 E SOCIAL ROW RD                                                                       WAYNESVILLE        OH 45068‐9202
RALPH SIMS           13385 COGBURN RD                                                                           ALPHARETTA         GA 30004‐3693
RALPH SINKS          6464 MAYFAIR ST                                                                            TAYLOR             MI 48180‐1939
RALPH SINLEY         16123 BELL AVE                                                                             EASTPOINTE         MI 48021‐4804
RALPH SIPES          10457 MELROSE DR                                                                           N HUNTINGDON       PA 15642‐9787
RALPH SIRON          535 S MAIN ST                                                                              AU GRES            MI 48703‐9774
RALPH SIZEMORE SR    1301 MILLSBORO RD APT 106                                                                  MANSFIELD          OH 44906‐4121
RALPH SKELLENGER     10405 E POTTER RD                                                                          DAVISON            MI 48423‐8164
RALPH SKRZYCKI       833 LAMOREAUX DR                                                                           LAPEER             MI 48446‐1746
RALPH SLATER         201 FROST WOODS RD APT 207                                                                 MADISON            WI 53716‐3589
RALPH SLAUGHTER      2522 RAVENWOOD AVE                                                                         DAYTON             OH 45406‐1952
RALPH SLAUGHTER      2522 RAVENWOOD AVE.                                                                        DAYTON             OH 45406‐1952
RALPH SLEEPER        1629 GOGUAC ST W                                                                           BATTLE CREEK       MI 49015‐1629
RALPH SLETTEN        NIX PATTERSON & ROACH LLP    GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD       TX 75638
RALPH SLOAN          2304 HUDSON DR SW                                                                          LILBURN            GA 30047‐4727
RALPH SMITH          90 CONCORD ST                                                                              BRISTOL            CT 06010‐3610
RALPH SMITH          11116 ELDREDGE RD                                                                          CATTARAUGUS        NY 14719‐9799
RALPH SMITH          2518 COUNTY ROAD 1428                                                                      VINEMONT           AL 35179‐7942
RALPH SMITH          25885 HUNTER GATES RD                                                                      LESTER             AL 35647‐3117
RALPH SMITH          6432 FOSTORIA RD                                                                           OTTER LAKE         MI 48464‐9785
RALPH SMITH          PO BOX 217                                                                                 GIRDLER            KY 40943‐0217
RALPH SMITH          595 WINTON LANE                                                                            ALPINE             TN 38543
RALPH SMITH          3227 COUNTY LINE RD                                                                        EAST LANSING       MI 48823‐1527
RALPH SMITH          151 RAINBOW DR # 5165                                                                      LIVINGSTON         TX 77399‐1051
RALPH SMITH          570 ROBINSON RD                                                                            CEDARTOWN          GA 30125‐4379
RALPH SMITH          6279 BROOKSIDE LN                                                                          HOSCHTON           GA 30548‐8216
RALPH SMITH          1081 FLAT ROCK RD                                                                          MADISON            GA 30650‐3139
RALPH SMITH          RT 2 BOX 60 B                                                                              REEDSVILLE         WV 26547
RALPH SMITH          320 WALNUT ST                                                                              AUBURNDALE         FL 33823‐4220
RALPH SMITH          23 E DEERFIELD RD                                                                          MT PLEASANT        MI 48858‐9547
RALPH SMITH          1256 TIMOTHY ST                                                                            SAGINAW            MI 48638‐6574
RALPH SMITH          8721 PARK HAVEN PT                                                                         CENTERVILLE        OH 45458‐2834
RALPH SMITH          12350 PRESTON RD                                                                           BRITTON            MI 49229‐8501
RALPH SMITH          1343 BEAVER CREEK LANE                                                                     KETTERING          OH 45429‐3701
RALPH SMITH JR       8647 COLVIN DR                                                                             PLAIN CITY         OH 43064‐9628
RALPH SMITHBERGER    100 RIO MAR DR                                                                             JEFFERSON HILLS    PA 15025‐3413
RALPH SMITHSON       1555 CUMBERLAND RD                                                                         MARTINSVILLE       OH 45146‐9513
RALPH SNYDER         3123 NORTH HILLS BOULEVARD                                                                 ADRIAN             MI 49221‐9555
RALPH SNYDER         1113 BEAL RD                                                                               MANSFIELD          OH 44905‐1611
RALPH SOTO           497 POKER FLAT RD                                                                          COPPEROPOLIS       CA 95228‐9794
RALPH SOTO           8320 W MONEE MANHATTAN RD                                                                  MONEE               IL 60449‐9648
RALPH SPALDING       1063 STATE ROUTE 503 N                                                                     W ALEXANDRIA       OH 45381‐9731
RALPH SPENCE         8909 W 148TH ST                                                                            OVERLAND PARK      KS 66221‐2206
RALPH SPENCER JR     4949 W US HIGHWAY 36                                                                       GREENCASTLE        IN 46135‐8992
RALPH SPICER         5618 BETTY LN                                                                              MILFORD            OH 45150‐2378
RALPH SPICER         2125 S TECUMSEH RD LOT 207                                                                 SPRINGFIELD        OH 45502‐8593
RALPH SPIGGLE        1802 DAYTON AVE                                                                            INDIANAPOLIS       IN 46203‐3523
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Name                                   Address1                        Address2                      Address3            Address4         City               State Zip
RALPH SPOTLESON                        5160 STERLING AVE                                                                                  AUSTINTOWN          OH 44515‐3952
RALPH ST CLAIR                         24176 ROSITA LN                                                                                    NORTH OLMSTED       OH 44070‐1517
RALPH STADLER                          2496 E TOBIAS RD                                                                                   CLIO                MI 48420‐7924
RALPH STALEY                           225 SALEM CHURCH RD                                                                                BELLE VERNON        PA 15012‐2913
RALPH STAMPS                           55 MAXWELL CT                                                                                      TIPP CITY           OH 45371‐2339
RALPH STANDEN                          4147 BRISTOLWOOD DRIVE                                                                             FLINT               MI 48507‐5534
RALPH STANGE                           741 CR 489                      LOT 18                                                             LAKE PANASOFFKEE    FL 33538
RALPH STANLEY                          174 JIM HOLLOW RD                                                                                  CARMICHAELS         PA 15320‐2526
RALPH STANLEY                          135 CEABURN STANLEY DR                                                                             CLINTWOOD           VA 24228‐6887
RALPH STAVESKI                         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS          OH 44236
RALPH STEED                            PO BOX 440341                                                                                      KENNESAW            GA 30160‐9506
RALPH STEELE                           512 BARRETT ST                                                                                     WILMINGTON          DE 19802‐2021
RALPH STEIN                            101 PRIVATE ROAD 1315                                                                              MORGAN              TX 76671‐3221
RALPH STEINBRUGGE JR                   146 CHURCH ST                                                                                      DAYTON              OH 45410‐1802
RALPH STEPHAN                          2015 E HOUGHTON LAKE DR                                                                            HOUGHTON LAKE       MI 48629‐7601
RALPH STEPHEN                          22567 MANOR ST                                                                                     ST CLAIR SHRS       MI 48081‐2359
RALPH STEPHENSON                       1744 PARKWAY DR N                                                                                  MAUMEE              OH 43537‐2617
RALPH STEVENS                          10850 BISHOP RD                                                                                    SAINT CHARLES       MI 48655‐9616
RALPH STIMAC                           2226 SHERWOOD AVE                                                                                  WESTCHESTER          IL 60154‐4952
RALPH STINSON                          20875 WATERSCAPE WAY                                                                               NOBLESVILLE         IN 46062‐8373
RALPH STINSON                          621 S 4TH ST                                                                                       DUGGER              IN 47848‐8052
RALPH STONEBRAKER                      415 SHERMAN AVE                                                                                    SHARON              PA 16146‐3907
RALPH STOVER                           13465 GATES RD                                                                                     MULLIKEN            MI 48861‐9710
RALPH STOVER                           NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT      205 LINDA DR                         DAINGERFIELD        TX 75638
RALPH STROHPAUL                        744 SEIDLERS RD                                                                                    AUBURN              MI 48611‐8700
RALPH STROHPAUL                        402 WOODSIDE LN                                                                                    BAY CITY            MI 48708‐5551
RALPH STRONG                           5515 STARLIT DR                                                                                    SAINT LOUIS         MO 63129‐2245
RALPH STUART                           4480 VALLEY VIEW AVE                                                                               HAMBURG             NY 14075‐5337
RALPH STURDIVANT                       THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                        HOUSTON             TX 77017
RALPH SULLIVAN                         8576 HENIZE RD                                                                                     GEORGETOWN          OH 45121‐9435
RALPH SUMNER                           5383 LEWIS AVE LOT 171                                                                             TOLEDO              OH 43612‐3166
RALPH SUMNER                           107 MALLARD RD                                                                                     FITZGERALD          GA 31750‐9404
RALPH SUTTLES                          134 ZIMMERMAN RD                                                                                   HAMPSHIRE           TN 38461‐5120
RALPH SUTTON                           17339 STATE RD 114                                                                                 GROVER HILL         OH 45849
RALPH SWABB                            3653 STATE ROUTE 49                                                                                ARCANUM             OH 45304‐9798
RALPH SWEARNS                          172 JEFFERSON ST                                                                                   CROSSVILLE          TN 38572‐1774
RALPH SWEAT                            4164 MAPLELEAF RD                                                                                  WATERFORD           MI 48328‐4065
RALPH SWEGAN                           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS      OH 44236
RALPH SWIGART                          8389 POST TOWN RD                                                                                  DAYTON              OH 45426‐4450
RALPH SZYDLOWSKI                       10147 ABERDEEN DR                                                                                  GRAND BLANC         MI 48439‐9574
RALPH SZYGENDA                         445 ARLINGTON ST                                                                                   BIRMINGHAM          MI 48009‐1638
RALPH T ARGUE I I I                    23911 DONALDSON                                                                                    CLINTON TWP         MI 48035
RALPH T GILLILAND                      784 HALLOCK YOUNG ROAD                                                                             MINERAL RIDGE       OH 44440‐9753
RALPH T GRIEFENSTINE I I I             124 N PIERCE ST                                                                                    CRESTLINE           OH 44827‐1530
RALPH T KELLY                          668 PALLISTER ST                                                                                   DETROIT             MI 48202‐2419
RALPH T KIRBY KIRBY CHEVROLET & LUCY   PO BOX 767                                                                                         ROCK HILL           SC 29731‐6767
MCDOW ESQ
RALPH T PENROSE                        349 RIVER BEND RD                                                                                  SCOTTSVILLE        KY   42164‐9433
RALPH T SPICER                         2125 S TECUMSEH RD LOT 207                                                                         SPRINGFIELD        OH   45502
RALPH T STEIN                          101 PRIVATE ROAD 1315                                                                              MORGAN             TX   76671‐3221
RALPH T WHITAKER                       BARON & BUDD PC                 THE CENTRUM SUITE 1100        3102 OAK LAWN AVE                    DALLAS             TX   75219‐4281
RALPH TACKETT                          245 WOODCROFT TRL                                                                                  BEAVERCREEK        OH   45430‐1954
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Name                           Address1                        Address2             Address3        Address4         City            State Zip
RALPH TACKETT                  245 WOODCROFT TR                                                                      BEAVERCREEK      OH 45430‐1954
RALPH TACY                     8027 N MORLEY DR                                                                      WILLIS           MI 48191‐9683
RALPH TAGG                     58 OLIVER STREET                                                                      LOCKPORT         NY 14094‐4616
RALPH TALIENTO                 355 S MAIN ST                                                                         ALBION           NY 14411
RALPH TANNER                   5633 KLENK RD                                                                         STERLING         MI 48659‐9704
RALPH TAYLOR                   17932 SE 86TH OAK LEAF TER                                                            THE VILLAGES     FL 32162‐4836
RALPH TAYLOR                   26989 CROOKED CREEK RD                                                                ATLANTA          IN 46031‐9707
RALPH TAYLOR                   2264 MOUNT VERNON BLVD                                                                E CLEVELAND      OH 44112‐3663
RALPH TAYLOR                   29932 HARTLEY RD                                                                      SALEM            OH 44460‐9762
RALPH TAYLOR                   843 ORION RD                                                                          LAKE ORION       MI 48362‐3515
RALPH TAYLOR                   512 KATHYS WAY                                                                        XENIA            OH 45385‐4882
RALPH TEDROW                   5645 HACKER CREEK RD                                                                  MARTINSVILLE     IN 46151‐8758
RALPH TEEGARDEN                956 ASPEN RD                                                                          NEW CARLISLE     OH 45344‐3004
RALPH TEMPLE                   14847 S AIRPORT RD                                                                    LANSING          MI 48906‐9148
RALPH TERRELL JR               818 FLORIDA AVE                                                                       MC DONALD        OH 44437‐1608
RALPH TERRELL JR               2343 MISSISSIPPI DR                                                                   XENIA            OH 45385‐4641
RALPH TERRY                    7605 W M 72                                                                           CURRAN           MI 48728‐9766
RALPH TERRY                    9297 N MARTINDALE ST                                                                  DETROIT          MI 48204‐1701
RALPH TETRO JR                 52 KEYEL DR                                                                           ROCHESTER        NY 14625‐1355
RALPH TEXTER                   39569 166TH ST E                                                                      PALMDALE         CA 93591‐3229
RALPH THAYER CHEVROLET, INC.   1225 N MAIN ST                                                                        BOWLING GREEN    OH 43402‐1342
RALPH THAYER CHEVROLET, INC.   PAUL THAYER                     1225 N MAIN ST                                        BOWLING GREEN    OH 43402‐1342
RALPH THEM                     232 S MAIN ST                                                                         ITHACA           MI 48847‐1482
RALPH THIBAULT                 12 GARVIN AVE                                                                         MASSENA          NY 13662‐1817
RALPH THOMAS                   427 EARL DR NW                                                                        WARREN           OH 44483‐1115
RALPH THOMAS
RALPH THOMPSON                 163 N MCCAMPBELL ST                                                                   ARANSAS PASS    TX   78336‐2632
RALPH THOMPSON                 236 LONGSTREET DR                                                                     GETTYSBURG      PA   17325‐8919
RALPH THOMPSON                 8831 W DORSEY CT                                                                      KNIGHTSTOWN     IN   46148‐9500
RALPH THOMPSON                 PO BOX 180                                                                            HOLLY           MI   48442‐0180
RALPH THORNTON                 16462 SEYMOUR RD                                                                      LINDEN          MI   48451‐9645
RALPH THORPE                   926 E COUNTY ROAD 500 S                                                               MUNCIE          IN   47302‐8709
RALPH TINSON JR                486 SOUTH ALGER R 2                                                                   ITHACA          MI   48847
RALPH TOLLIVER                 4229 COLUMBIA RD                                                                      MEDINA          OH   44256‐7707
RALPH TOMASOV                  1893 CARMEN RD                                                                        BARKER          NY   14012‐9666
RALPH TOMPKINS                 PO BOX 177                                                                            FOSTORIA        MI   48435‐0177
RALPH TORBETT                  137 CHESTNUT CV                                                                       HEMPHILL        TX   75948‐6486
RALPH TORRES                   617 BELLA LOOP                                                                        DUNEDIN         FL   34698
RALPH TRIGGIANO                MOTLEY RICE LLC                 28 BRIDGESIDE BLVD   PO BOX 1792                      MT PLEASANT     SC   29465
RALPH TRIMBLE                  3122 LODWICK DR NW APT 2                                                              WARREN          OH   44485‐1551
RALPH TRINGHESE                19909 N RAWHIDE WAY                                                                   SURPRISE        AZ   85387‐8276
RALPH TRONT                    14590 COON HOLLOW RD                                                                  THREE RIVERS    MI   49093‐9563
RALPH TRUEX                    1240 E 690 S                                                                          WOLCOTTVILLE    IN   46795‐9558
RALPH TRUITT                   1948 HARMON ST                                                                        YPSILANTI       MI   48198‐6616
RALPH TUCCI                    14634 MOORE AVE                                                                       ALLEN PARK      MI   48101‐1648
RALPH TUCK                     316 TAYLOR ST                                                                         BAY CITY        MI   48708‐7743
RALPH TUCKER                   1116 TROTWOOD LN                                                                      FLINT           MI   48507‐3711
RALPH TURNER                   5915 SILVERADO PL                                                                     PASO ROBLES     CA   93446‐8361
RALPH TURNER                   909 ELM RD                                                                            EXCELSIOR SPG   MO   64024‐3501
RALPH TUTTLE                   1821 BURTON ST                                                                        BELOIT          WI   53511‐2843
RALPH TYLER SERVICES LTD       1120 CHESTER AVE STE 200                                                              CLEVELAND       OH   44114
RALPH TYREE                    149 MILDRED RD                                                                        MC KEE          KY   40447‐9444
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Name                      Address1                        Address2                       Address3   Address4         City                 State Zip
RALPH ULMAN               613 S DEWITT ST                                                                            BAY CITY              MI 48706‐4663
RALPH UMANA
RALPH URBACH JR           4217 BURKEY RD                                                                             YOUNGSTOWN           OH   44515‐3533
RALPH UTHE                1531 W GRAND CANYON DR                                                                     CHANDLER             AZ   85248‐4816
RALPH V BREWER            P.O. BOX 44 HWY 761                                                                        NANCY                KY   42544‐0044
RALPH V CHAMBLISS         1122 CLEO ST                                                                               LANSING              MI   48915‐1440
RALPH V EPPERSON          G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM           AL   35209
                                                          612
RALPH V EVANS             1308 N JASMINE PL                                                                          ANAHEIM              CA   92801
RALPH V HARSCH JR         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                 BOSTON HEIGHTS       OH   44236
RALPH V PERDUE JR         P O BOX 44                                                                                 WAYNESVILLE          OH   45068
RALPH V POPE              314 MELROSE ST                                                                             MARION HEIGHTS       PA   17832
RALPH VALENTINE           PO BOX 306                                                                                 HGHTN LK HTS         MI   48630‐0306
RALPH VALERIO             672 CHAPEL LN                                                                              CAMPBELL             OH   44405‐2006
RALPH VALITUTTI           6621 MONTICELLO N                                                                          WASHINGTON           MI   48095‐2454
RALPH VAN DER BOS         630 SOUTHLAND AVE                                                                          PORTAGE              MI   49024‐2773
RALPH VAN GUNDY           49 OAKWOOD AVE                                                                             FAIRBORN             OH   45324‐2823
RALPH VAN STORY           APT 8                           41 WILLIAMSTOWNE COURT                                     BUFFALO              NY   14227‐2057
RALPH VANCE               5031 EAGLE CREEK RD                                                                        LEAVITTSBURG         OH   44430‐9768
RALPH VANMATRE            106 SOUTH WOODWORTH             5 SOUTH                                                    FRANKTON             IN   46044
RALPH VANSTONE            106 TWIN OAKS DR                                                                           LAPEER               MI   48446‐7630
RALPH VARNEY              114 W SHOWALTER DR                                                                         GEORGETOWN           KY   40324‐2079
RALPH VAUGHN              26471 ISLEWORTH PT                                                                         SOUTHFIELD           MI   48034‐5666
RALPH VEAL JR             2765 WENTWORTH AVE                                                                         DAYTON               OH   45406
RALPH VEIK                6638 BERRYWOOD DR                                                                          BRIGHTON             MI   48116‐2038
RALPH VESEY               187 CHERRY VALLEY DR APT F20                                                               INKSTER              MI   48141‐1407
RALPH VIGIL               PO BOX 181                                                                                 CAPAC                MI   48014‐0181
RALPH VIGLIOTTI REALTY    521 EAST JEFFERSON                                                                         DETROIT              MI   48226
RALPH VILLA               PO BOX 4187                                                                                BISBEE               AZ   85603‐4187
RALPH VINCENT             WEITZ & LUXENBERG PC            700 BROADWAY                                               NEW YORK CITY        NY   10003
RALPH VINES               12519 STATE HIGHWAY 100                                                                    PEARL                IL   62361‐2305
RALPH VOGAN               2238 GEORGELAND DR                                                                         WATERFORD            MI   48329‐3739
RALPH VOLPE               7009 SALGE DR                                                                              FORT WAYNE           IN   46835‐1728
RALPH VULGAMOTT           14075 COUNTY ROAD 307                                                                      SAINT JOSEPH         MO   64505‐9347
RALPH W BALLANTINE        21 SEA OLIVE ROAD                                                                          HILTON HEAD ISLAND   SC   29928
RALPH W BARNES            100 HICKORY LANE                                                                           YALE                 MI   48097
RALPH W BROWN             2207 SALT ST                                                                               SAGINAW              MI   48602‐1267
RALPH W CHRISTIAN         996 ISLAND FORD RD.                                                                        JACKSBORO            TN   37757‐4114
RALPH W CLARK             4233 LEERDA ST                                                                             FLINT                MI   48504‐2180
RALPH W CLEER             5724 SARAH AVE NW                                                                          WARREN               OH   44483‐1159
RALPH W COFFER            2179 LONDON BRIDGE DR                                                                      ROCHESTER HLS        MI   48307‐4234
RALPH W EARLE CO INC      5930 E MOLLOY RD                P O BOX 2369                                               SYRACUSE             NY   13211‐2109
RALPH W EGBERT            7076 SAFARI DR                                                                             DAYTON               OH   45424
RALPH W ELLIOTT           849 JONES ROAD                                                                             WALTON               KY   41094
RALPH W FURBEE            169 25TH ST SE                                                                             NEW PHILADELPHIA     OH   44663‐3319
RALPH W KOPPELBERGER JR   32007 LANCASTER DR                                                                         WARREN               MI   48088‐1350
RALPH W LEWIS             7264 MORRIS RD                                                                             HAMILTON             OH   45011‐5433
RALPH W OLDFIELD          830 CHELSEA DRIVE                                                                          CARLISLE             OH   45005
RALPH W ROBINSON          2812 WALFORD DRIVE                                                                         DAYTON               OH   45440‐2235
RALPH W ROWE              9885 TEXTILE RD                                                                            YPSILANTI            MI   48197‐7037
RALPH W SCHWALM           5008 BEECH RD                                                                              HOPE                 MI   48628
RALPH W SHEPHERD          630 NORTH ALEX ROAD                                                                        W CARROLLTON         OH   45449‐1330
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Name                     Address1                       Address2                     Address3   Address4         City               State Zip
RALPH W STANGE           741 CR 489 LOT #18                                                                      LAKE PANASOFFKEE    FL 33538
RALPH W SWABB            3653 STATE ROUTE 49 NORTH                                                               ARCANUM             OH 45304‐9798
RALPH W TAYLOR           512 KATHYS WAY                                                                          XENIA               OH 45385‐4882
RALPH WAGNER             456 N FLAJOLE RD                                                                        LINWOOD             MI 48634‐9738
RALPH WALDEN             405 THURMAN RD                                                                          STOCKBRIDGE         GA 30281‐1432
RALPH WALDRON            970 HIGHWAY 226                                                                         SAVANNAH            TN 38372‐5951
RALPH WALKER             254 DARBY DR                                                                            LEXINGTON           OH 44904‐1060
RALPH WALKER             386 WATERHOUSE RD                                                                       DAYTON              TN 37321‐5647
RALPH WALL               19917 S HARRAH RD                                                                       NEWALLA             OK 74857‐7203
RALPH WALL JR            2644 NW 30TH ST                                                                         NEWCASTLE           OK 73065‐6427
RALPH WALLACE            130 FAGLEY ST                                                                           BETHEL              OH 45106‐1508
RALPH WALLACE            2758 HUTTON RD                                                                          KANSAS CITY         KS 66109‐4449
RALPH WALLEN             9312 TERRY ST                                                                           ROMULUS             MI 48174‐1543
RALPH WALLEN             2090 COLONY DRIVE                                                                       ORANGEBURG          SC 29115‐9267
RALPH WALLER             10916 S NORMAL AVE                                                                      CHICAGO              IL 60628‐3228
RALPH WALSH              2520 BROOKWAY LN APT 206                                                                ARLINGTON           TX 76006‐6121
RALPH WALTON             7425 MEADOW LANE DR                                                                     YPSILANTI           MI 48197
RALPH WALTON             7425 MEADLOW LANE DR                                                                    YPSILANTI           MI 48197
RALPH WARD               939 SETTLEMYRE RD                                                                       OREGONIA            OH 45054‐9713
RALPH WARD               6439 WINDING WAY LANE                                                                   MAINEVILLE          OH 45039
RALPH WARE               BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS      OH 44236
RALPH WARNER             303 PARKWAY ST                                                                          LAPEER              MI 48446‐2388
RALPH WARNER             4039 ELMHURST RD                                                                        WATERFORD           MI 48328‐4026
RALPH WARNER JR          30 MARJORIE CT                                                                          WEST MILTON         OH 45383‐1326
RALPH WARRELL            1747 PERSHING BLVD                                                                      DAYTON              OH 45420‐2424
RALPH WARREN             8257 PINE ST                                                                            TAYLOR              MI 48180‐2253
RALPH WARRIOR CHAMPION   FOSTER & SEAR, LLP             817 GREENVIEW DRIVE                                      GRAND PRAIRIE       TX 75050
RALPH WASTIER JR         8359 CONGRESS DR                                                                        CANTON              MI 48187‐2017
RALPH WATERS             PO BOX 1937                                                                             WARREN              OH 44482‐1937
RALPH WATKINS            4710 HIGHWAY 1933                                                                       TALBERT             KY 41339‐8568
RALPH WATKINS            10265 STANLEY RD                                                                        FLUSHING            MI 48433‐9302
RALPH WATSON             2900 N APPERSON WAY TRLR 217                                                            KOKOMO              IN 46901‐1486
RALPH WATSON             78 LANDMARK NORTH                                                                       ROXBORO             NC 27574‐7154
RALPH WATSON             7159 MAY                                                                                CHICAGO              IL 60621‐1005
RALPH WATTS              208 KING GEORGE DR                                                                      GLEN BURNIE         MD 21061‐4014
RALPH WEATHERFORD        58 SWALLOW DR                                                                           DAYTON              OH 45415‐3521
RALPH WEATHERLY          1619 8TH ST SW                                                                          DECATUR             AL 35601‐3705
RALPH WEAVER             148 TIMBERLAND ST                                                                       WOODSTOCK           GA 30188‐3928
RALPH WEAVER             5900 HART LAKE RD                                                                       OTTER LAKE          MI 48464‐9694
RALPH WEAVER             BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTOH HTS          OH 44236
RALPH WEBB               38215 WARREN RD                                                                         WESTLAND            MI 48185‐1929
RALPH WEBB               1064 RIP STEELE RD                                                                      COLUMBIA            TN 38401‐7745
RALPH WEBER              7327 RIDGE RD                                                                           LOCKPORT            NY 14094‐9458
RALPH WEBER              7439 PINEWOOD DR                                                                        CLEVELAND           OH 44130‐5554
RALPH WEBER              33 GINGER HILL RD                                                                       FINLEYVILLE         PA 15332‐3811
RALPH WEBER              13010 N LINDEN RD                                                                       CLIO                MI 48420‐8206
RALPH WEEKS              PO BOX 644                                                                              GUIN                AL 35563‐0644
RALPH WEIBLE             5513 W FRANCES RD                                                                       CLIO                MI 48420‐8572
RALPH WEIDENHAMMER       6305 BRIAN CIRCLE LN                                                                    BURTON              MI 48509‐1374
RALPH WEIDNER            1846 JOHN WHITE RD                                                                      HUBBARD             OH 44425‐9771
RALPH WEISS              9557 N VICKERYVILLE RD                                                                  VESTABURG           MI 48891‐9522
RALPH WEISS              675 EASTGATE DR                                                                         FRANKENMUTH         MI 48734‐1201
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Name                        Address1                         Address2                     Address3   Address4         City                State Zip
RALPH WEIST                 24498 LISA DR                                                                             ATHENS               AL 35613‐7255
RALPH WELCH                 221 HAINES RD                                                                             XENIA                OH 45385‐9305
RALPH WELCH                 4300 HARVEST LN                                                                           FRANKLIN             OH 45005‐4955
RALPH WELCH                 3314 HELBER ST                                                                            FLINT                MI 48504‐4104
RALPH WELCH                 700 S WAVERLY AVE                                                                         SELMA                IN 47383‐9447
RALPH WELLONS               2718 ARTHURS WAY                                                                          ANDERSON             IN 46011‐9049
RALPH WELLS                 5130 BLUFFVIEW DR                                                                         DAYTON               OH 45424‐2509
RALPH WELLS                 2180 N 5TH ST                                                                             KALAMAZOO            MI 49009‐8510
RALPH WENDLING              98 W FLOYD AVE                                                                            DAYTON               OH 45415‐3436
RALPH WERK                  1172 ROCK VALLEY DR                                                                       ROCHESTER            MI 48307‐6002
RALPH WESTBROOK             3219 HATHERLY AVE                                                                         FLINT                MI 48504‐4314
RALPH WESTFALL              9621 SCOT ST                                                                              HUDSON               FL 34669‐3764
RALPH WETZSTEIN             5914 63 ST CT W                                                                           UNIVERSITY PLACE     WA 98467
RALPH WHITACRE              1932 HARSTON TRL                                                                          THE VILLAGES         FL 32162‐1114
RALPH WHITAKER              1581 TOD AVE NW                                                                           WARREN               OH 44485‐1908
RALPH WHITAKER              2128 GAY DR                                                                               KETTERING            OH 45420‐1405
RALPH WHITAKER              2514 SWISS ST                                                                             WEST MONROE          LA 71291‐5120
RALPH WHITE                 1743 BETHEL RD                                                                            FRIERSON             LA 71027‐2045
RALPH WHITE                 12511 BANYAN DR                                                                           FORT MYERS           FL 33908‐3892
RALPH WHITE MERCHANDISING   2540 SPRING CYPRESS RD                                                                    SPRING               TX 77388‐4627
RALPH WHITE MERCHANDISING
RALPH WHITNER JR            5560 WOODSIDE DR SW                                                                       ATLANTA             GA   30331‐7767
RALPH WHITTEMORE            121 COLLEY DRIVE                                                                          ASHVILLE            AL   35953‐3132
RALPH WHITTEY               3476 WILLOW RD                                                                            HENDERSONVILLE      NC   28739‐7791
RALPH WICKLUND              2831 STATION SOUTH DR                                                                     THOMPSONS STATION   TN   37179‐5233
RALPH WIEPERT               746 CENTURY LN                                                                            WINTER HAVEN        FL   33881‐8740
RALPH WIGHT                 12925 TURNER RD                                                                           PORTLAND            MI   48875‐9418
RALPH WILCOX                #B                               40 BRANDY MILL WAY                                       PAWLEYS ISL         SC   29585‐6058
RALPH WILDY                 901 JEFFERSON AVE                                                                         FESTUS              MO   63028‐1748
RALPH WILES                 BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH   44236
RALPH WILKEN                1632 KENILWOOD WAY                                                                        BOWLING GREEN       KY   42104‐4540
RALPH WILKINS               16321 CAPLINGER POND RD                                                                   MARION              IL   62959‐6409
RALPH WILKINS               10951 PHELPS AVE                                                                          SPARTA              MI   49345‐8700
RALPH WILLIAMS              5517 WHITWOOD RD                                                                          BALTIMORE           MD   21206‐3749
RALPH WILLIAMS              550 MARY ERNA DR                                                                          FAIRBURN            GA   30213‐2796
RALPH WILLIAMS              157 W 121ST ST                                                                            LOS ANGELES         CA   90061‐1705
RALPH WILLIAMS              2260 GRANT SIDING RD                                                                      CHEBOYGAN           MI   49721‐9250
RALPH WILLIAMS              2240 PEA RIDGE FIRE TOWER RD                                                              CELINA              TN   38551‐7245
RALPH WILLIAMS              2622 N LIPKEY RD                                                                          NORTH JACKSON       OH   44451‐9665
RALPH WILLIAMS              1286 DYEMEADOW LN                                                                         FLINT               MI   48532‐2320
RALPH WILLIAMS              5623 POPLAR COVE                                                                          HONEOYE             NY   14471
RALPH WILLIAMS JR           APT 24                           911 MILTON BOULEVARD                                     NEWTON FALLS        OH   44444‐9781
RALPH WILLIAMS JR           BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS      OH   44236
RALPH WILLIS                2316 QUEEN AVE                                                                            MIDDLETOWN          OH   45044‐4736
RALPH WILLIS                4305 KING RICHARDS LN                                                                     FORT WORTH          TX   76133‐6715
RALPH WILSON                204 WAKEFIELD DR                                                                          ANDERSON            IN   46013‐4766
RALPH WILSON                1794 E 1100 N                                                                             ALEXANDRIA          IN   46001‐9041
RALPH WILSON                1521 E 1700 N                                                                             SUMMITVILLE         IN   46070‐9163
RALPH WILSON                50 EMS B 20 D LANE                                                                        PIERCETON           IN   46562
RALPH WILSON                348 ROCKVILLE SPR DR SE                                                                   EATONTON            GA   31024
RALPH WILSON                88 HILLCREST ST                                                                           MANSFIELD           OH   44907‐1604
RALPH WILSON                60 PACELINE CIR STE 230                                                                   XENIA               OH   45385‐1282
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Name                   Address1                         Address2                      Address3   Address4               City              State Zip
RALPH WILSON           42 FREDERICK ST                                                                                  RITTMAN            OH 44270‐1137
RALPH WILSON           1215 MOUND RD                                                                                    MIAMISBURG         OH 45342‐3211
RALPH WILSON           6700 MAPLE DR                                                                                    CLARKSTON          MI 48346‐4404
RALPH WILSON           2624 SHINER DR                                                                                   LAKE WALES         FL 33898‐8822
RALPH WILSON I I I     105 HAGEN AVE                                                                                    N TONAWANDA        NY 14120‐4460
RALPH WIMBERLEY        419 LAUREL AVE                                                                                   WILMINGTON          IL 60481‐1459
RALPH WIND             7567 EASTLANE AVE                                                                                JENISON            MI 49428‐8922
RALPH WINGATE          8550 CRABB RD                                                                                    TEMPERANCE         MI 48182‐9542
RALPH WINTER           5608 GLEN OAK CT                                                                                 SALINE             MI 48176‐9545
RALPH WINTERS          603 LAURA LANE                                                                                   SWEETSER           IN 46987
RALPH WINTERS          5664 DUNNIGAN RD                                                                                 LOCKPORT           NY 14094‐9537
RALPH WIRKNER          16000 TICK RIDGE RD                                                                              AMESVILLE          OH 45711‐9492
RALPH WISCHMEYER       3908 PINEVIEW LN                                                                                 GREENWOOD          IN 46142‐8339
RALPH WOFFORD          6297 TANBARK CT                                                                                  FLINT              MI 48532‐2157
RALPH WOLBAUGH         120 W MAIN ST                                                                                    SHELBY             OH 44875‐1411
RALPH WOLF             9540 TUPPER LAKE RD                                                                              MULLIKEN           MI 48861‐9703
RALPH WOLFE            329 E ROMEO RD                                                                                   LEONARD            MI 48367‐4266
RALPH WOLSKI           12073 CHASE BLVD                                                                                 LIVONIA            MI 48150‐5039
RALPH WOOD             2388 DAYS MILL RD                                                                                HILLSBORO          KY 41049‐8653
RALPH WOOD             1635 BOULEVARD                                                                                   PEEKSKILL          NY 10566‐4848
RALPH WOODBURY         1216 S BAKER RD                                                                                  WELLSTON           MI 49689‐9709
RALPH WOODHULL         202 GOODRICH ST                                                                                  VASSAR             MI 48768‐1731
RALPH WOODS            3847 RUCKLE ST                                                                                   INDIANAPOLIS       IN 46205‐2715
RALPH WOODSIDE JR      2105 ANTRIM DR                                                                                   DAVISON            MI 48423‐8438
RALPH WOODY            652 BIG OAK ROAD                 RTE #1                                                          GLADWIN            MI 48624
RALPH WORMER           2808 S MACEDONIA AVE                                                                             MUNCIE             IN 47302‐5440
RALPH WREN             498 BAY ST                                                                                       PONTIAC            MI 48342‐1912
RALPH WRIGHT           6164 KINGS SHIRE RD                                                                              GRAND BLANC        MI 48439‐8712
RALPH YATES            1919 MALVERN AVE                                                                                 DAYTON             OH 45406‐4450
RALPH YEAKEL           2861 CRESTWOOD DR NW                                                                             WARREN             OH 44485‐1230
RALPH YEARY            1755 ALLENDALE DR                                                                                SAGINAW            MI 48638‐4475
RALPH YENSAN           6147 REGER DR                                                                                    LOCKPORT           NY 14094‐6303
RALPH YOUNG            1202 SEAGATE DR APT 101                                                                          PALM HARBOR        FL 34685‐2481
RALPH YOUNGPETER       18205 STATE ROUTE 190                                                                            FORT JENNINGS      OH 45844‐9167
RALPH YOUNGS           1060 E CHARLES RD                                                                                MARION             IN 46952‐9296
RALPH ZAHLER           1734 N WASHINGTON ST                                                                             JANESVILLE         WI 53548‐0100
RALPH ZAPINSKI         3527 WESSON ST                                                                                   DETROIT            MI 48210‐3055
RALPH ZASTROW          525 TREMONT ST                                                                                   NORTH TONAWANDA    NY 14120‐6216
RALPH ZAUNER           2256 4TH ST                                                                                      GRAND ISLAND       NY 14072‐1502
RALPH ZEMANEK          4820 HILLCREST DR                                                                                SAGINAW            MI 48638‐4640
RALPH ZIELINSKI        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH 44236
RALPH ZIMMERMAN        39 S 7TH ST                                                                                      ZANESVILLE         OH 43701‐4301
RALPH ZWART            603 VILLAGE ST                                                                                   KALAMAZOO          MI 49008‐1144
RALPH ZYCH             8750 W PLEASANT VALLEY RD                                                                        PARMA              OH 44130‐7628
RALPH ZYNDA            4819 STILWELL DR                                                                                 WARREN             MI 48092‐4629
RALPH'S AUTO SERVICE   80 KENSINTON AUTO SERVICE                                                 CHARLOTTETOWN PE C1A
                                                                                                 7N3 CANADA
RALPH'S AUTO SERVICE   1010 W 29TH ST                                                                                   ANDERSON          IN   46016‐6000
RALPH'S AUTO SVC LLC   ATTN: RALPH ELLINGWOOD           1010 W 29TH ST                                                  ANDERSON          IN   46016‐6000
RALPH, BRIAN S         6159 OLD NIAGARA RD 2                                                                            LOCKPORT          NY   14094
RALPH, CHARLES         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA   23510‐2212
                                                        STREET, SUITE 600
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Name                         Address1                         Address2                         Address3   Address4               City                  State Zip
RALPH, CHARLES E             707 BRIARWOOD LN                                                                                    FENTON                 MI 48430‐1830
RALPH, CHARLES F             13276 W WARREN CIR                                                                                  LAKEWOOD               CO 80228‐4620
RALPH, DAVID T               831 W LINWOOD RD                                                                                    LINWOOD                MI 48634‐9839
RALPH, DEL RIO, JR.          9 BRITTANY DR                                                                                       KENNER                 LA 70065‐2008
RALPH, DIANE                 11145 EAST RD                                                                                       BURT                   MI 48417
RALPH, GEORGE R              1024 10TH ST                                                                                        IRWIN                  PA 15642‐3747
RALPH, GEORGE W              PO BOX 1062                                                                                         BAY CITY               MI 48706‐0062
RALPH, GERALDINE E           1704 SOUTHEAST MANOR PLACE                                                                          BLUE SPRINGS           MO 64014‐3830
RALPH, JAMES A               7334 GOLF GATE DRIVE                                                                                LANSING                MI 48917‐8836
RALPH, JAMES C               1134 N PARKER AVE                                                                                   INDIANAPOLIS           IN 46201‐2270
RALPH, JAMES C               11 S TRANSIT HILL DR                                                                                DEPEW                  NY 14043‐4803
RALPH, JAMES E               11535 PLAZA DR APT 207E                                                                             CLIO                   MI 48420‐1794
RALPH, JAMES R               4160 W LAKESIDE DR                                                                                  WEST BRANCH            MI 48661‐9639
RALPH, JASON B               3130 TIDEWIND CT                                                                                    MANVEL                 TX 77578‐7830
RALPH, JOAN L                8432 RUNNING DEER AVE UNIT 101                                                                      LAS VEGAS              NV 89145‐4596
RALPH, LONZO M               5780 PARADISE LAKE RD                                                                               MARTINSVILLE           IN 46151‐8466
RALPH, LYNDELL C             201 E ELIZABETH ST APT 104                                                                          FENTON                 MI 48430‐2384
RALPH, NED R                 5931 AVALON DR                                                                                      PINCONNING             MI 48650‐6419
RALPH, NELVA E               PO BOX 2047                                                                                         PRIEST RIVER           ID 83856‐2047
RALPH, PARTHENIA R.          1107 GRACE ST                    APT 2                                                              GEORGETOWN              IL 61846‐1165
RALPH, PARTHENIA R.          APT 2                            1107 GRACE STREET                                                  GEORGETOWN              IL 61846‐1165
RALPH, ROBERT S              231 E 2ND ST                                                                                        OVID                   MI 48866‐9412
RALPH, WALTER S              5949 SWEETWATER CT                                                                                  TOLEDO                 OH 43614‐1023
RALPH, WILLIAM C             12638 CASTETTER CT                                                                                  FISHERS                IN 46038‐1081
RALPH‐DETLEF SCHUBERT        AM FRIEDENSBERG 10                                                           19055 SCHWERIN
RALPHAEL READ                3206 BLACKBERRY CRK                                                                                 BURTON                MI    48519‐1937
RALPHARD TEDROW              3806 W 116TH ST                                                                                     CLEVELAND             OH    44111‐5213
RALPHIA TEPROVICH            43 COBBLESTONE LN                                                                                   WILLIAMSVILLE         NY    14221‐1663
RALPHS CHEVROLET‐CADILLAC‐   PO BOX 79423                                                                                        NORTH DARTMOUTH       MA    02747‐0985
OLDSMOBILE
RALPHS PARKING LOT MAINT     5353 E BRISTOL RD                                                                                   BURTON                 MI   48519‐1507
RALSON, DAVID G              506 MARKET ST NE                                                                                    DECATUR                AL   35601‐1977
RALSON, JOHN A               1904 DRESDEN DR SW                                                                                  DECATUR                AL   35603‐1013
RALSON, ROBERT G             2117 PARKPLACE ST SE                                                                                DECATUR                AL   35601‐3459
RALSTIN, ADRIAN G            1517 EWING RD                                                                                       ROCHESTER              IN   46975‐8984
RALSTON BROWN                1480 WINDORAH WAY APT C                                                                             WEST PALM BEACH        FL   33411‐1979
RALSTON JR, ALONZO           5099W C R 200 N                                                                                     NEW CASTLE             IN   47362
RALSTON LORI                 RALSTON, LORI                    120 WEST MADISON STREET , 10TH                                     CHICAGO                IL   60602
                                                              FLOOR
RALSTON MARY ANN             116 FAIRFIELD DR                                                                                    MONESSEN              PA    15062‐2313
RALSTON TIMOTHY              6906 E HORNED OWL TRL                                                                               SCOTTSDALE            AZ    85266‐8521
RALSTON, ALEXANDER P         13900 LAKESIDE BLVD N APT 311B                                                                      SHELBY TOWNSHIP       MI    48315
RALSTON, ANGELA M            4462 SMITH STEWART RD                                                                               VIENNA                OH    44473‐9655
RALSTON, CHARLES             8125 WHITE FALLS DR                                                                                 RENO                  NV    89506‐3112
RALSTON, DONALD A            62797 CRIMSON DR                                                                                    WASHINGTON TOWNSHIP   MI    48094‐1744
RALSTON, DONALD W            1235 GLEN MEADOW DR                                                                                 FINDLAY               OH    45840‐6223
RALSTON, DORIS A             660 N SPRING ST APT 618                                                                             INDEPENDENCE          MO    64050‐2772
RALSTON, DUANE K             2472 BRENTHAVEN DR                                                                                  BLOOMFIELD            MI    48304‐1440
RALSTON, EDITH M             11055 WHITE OAKS DR.                                                                                CLIO                  MI    48420‐1449
RALSTON, EDWARD R            PO BOX 843                                                                                          MIAMISBURG            OH    45343‐0843
RALSTON, EDWIN E             1786 ANTIOCH RD                                                                                     HAMERSVILLE           OH    45130
RALSTON, FRANK E             18 DUCHESS DR                                                                                       SICKLERVILLE          NJ    08081‐5654
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RALSTON, GARY B                     18840 RIVERSIDE DR                                                                                   BEVERLY HILLS      MI 48025‐3061
RALSTON, GEORGE R                   203 CHESHIRE CIR                                                                                     NOBLESVILLE        IN 46062‐9020
RALSTON, GLADYS                     7410 BISCAYNE CT                                                                                     DAYTON             OH 45424‐3232
RALSTON, JAMES D                    4725 MORRISON RD                                                                                     ALGER              MI 48610‐9358
RALSTON, JAMES W                    22460 KLINES RD. LOT 269                                                                             THREE RIVERS       MI 49093
RALSTON, JANICE                     2201 ALEXANDRIA CT                                                                                   O FALLON           MO 63368‐8584
RALSTON, JANICE J                   1230 SPRINGWOOD CIR                                                                                  CONYERS            GA 30012‐4229
RALSTON, JOHN W                     606 1/2 E OHIO ST                                                                                    GEORGETOWN         OH 45121‐1138
RALSTON, JOYCE E                    34 LAZY BEND DRIVE                                                                                   HUNTSVILLE         TX 77320‐0254
RALSTON, KENNETH L                  2232 IVES RD                                                                                         LESLIE             MI 49251‐9565
RALSTON, LLOYD L                    10339 ROTH QUARRY RD                                                                                 STE GENEVIEVE      MO 63670‐8447
RALSTON, LORI                       KROHN & MOSS ‐ IL                    120 WEST MADISON STREET, 10TH                                   CHICAGO             IL 60602
                                                                         FLOOR
RALSTON, MARSHALL J                 5259 TILMANN LN                                                                                      WEIDMAN           MI   48893‐8201
RALSTON, MARTHA J                   2452 RAINBOW CT                                                                                      CINCINNATI        OH   45230‐1423
RALSTON, MARTHA J                   2452 RAINBOW COURT                                                                                   CINCINNATI        OH   45230‐1423
RALSTON, MICHAEL J                  11 BRIARWOOD CT                                                                                      WARRENTON         MO   63383‐1056
RALSTON, MICHAEL JACK               11 BRIARWOOD CT                                                                                      WARRENTON         MO   63383‐1056
RALSTON, MYRON C                    11055 WHITE OAK DR                                                                                   CLIO              MI   48420‐1449
RALSTON, PATRICIA L                 PO BOX 502                                                                                           SCOTTSVILLE       KY   42164‐0502
RALSTON, PATRICIA LOUISE            PO BOX 502                                                                                           SCOTTSVILLE       KY   42164‐0502
RALSTON, ROBERT A                   48 BELLHURST RD                                                                                      TONAWANDA         NY   14150‐4207
RALSTON, ROBERT E                   5104 TRULL BROOK DR                                                                                  NOBLESVILLE       IN   46062‐9645
RALSTON, ROBERTA L                  3924 NW 82ND ST                                                                                      KANSAS CITY       MO   64151‐1820
RALSTON, RONALD L                   1814 INISHEER CT                                                                                     INDIANAPOLIS      IN   46217‐5430
RALSTON, SHARON L                   15 AVENUE DE LA MER APT 2307                                                                         PALM COAST        FL   32137‐2289
RALSTON, SHIRLEY A                  3924 NW 82ND ST                                                                                      KANSAS CITY       MO   64151
RALSTON, THOMAS R                   5021 SEMINARY RD APT 524                                                                             ALEXANDRIA        VA   22311‐1929
RALSTON, VIRGIL D                   2493 E RIVERSIDE DR                                                                                  IONIA             MI   48846‐9669
RALSTON, WILLIAM J                  165 BERMONT AVE                                                                                      MUNROE FALLS      OH   44262‐1142
RALT POLDUWE FRUDRICH‐HOLSDER STR   D‐44328 DORTMUND                     GERMANY
261
RALTH, BRIAN                        165 MOCKINGBIRD LN                                                                                   SEDONA            AZ   86336‐9192
RALUCA POPESCU                      5238 BRETT CT                                                                                        WEST BLOOMFIELD   MI   48322‐2135
RALYA, MARCIA R                     7031 E MOUNT HOPE HWY                                                                                GRAND LEDGE       MI   48837‐8417
RAM CONSTRUCTION SERVICES           ABBOTT NICHOLSON QUILTER ESSHAKI &   300 RIVER PLACE DR STE 3000                                     DETROIT           MI   48207‐5066
                                    YOUNGBLOOD
RAM CONTRACT CARRIERS LTD           PO BOX 100                                                                      ESSEX ON N8M 2Y1
                                                                                                                    CANADA
RAM GUPTA                           4065 SUMMERFIELD DR                                                                                  TROY              MI   48085‐7034
RAM METER INC                       1903 BARRETT DR                                                                                      TROY              MI   48084‐5372
RAM METER/TROY                      1903 BARRETT DR                                                                                      TROY              MI   48084‐5372
RAM NATIONWIDE INC                  RAM MOTOR FREIGHT DIV                PO BOX                                                          CINCINNATI        OH   45270‐2141
RAM OPTICAL/HNTNGTN                 PO BOX 19607                                                                                         IRVINE            CA   92623‐9607
RAM SOLUTIONS INC                   301 WALNUT BLVD #A                                                                                   ROCHESTER         MI   48307‐2057
RAM STUDIOS SIGNS & GRAPHICS        G3460 S SAGINAW ST                                                                                   BURTON            MI   48529‐1222
RAM TOOL & SUPPLY                   1432 MAC ARTHUR CO                                                                                   CARROLLTON        TX   75007‐4417
RAM TOOL & SUPPLY                   CHAD FERGUSON                        1432 MAC ARTHUR DR                                              CARROLLTON        TX   75007‐4417
RAM VISWANATHAN
RAM WESTERN EXPRESS LTD             173 ADVANCE BLVD UNIT 36                                                        BRAMPTON CANADA ON
                                                                                                                    L6T 4Z7 CANADA
RAM, PALLAVI S                      112 CRESTHILL RD                                                                                     YONKERS           NY 10710‐2615
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RAM‐TUFF REPAIRS LTD            P O BOX 8 SITE 14 R R # 1                                                           EDMONTON AB T6H 4N6
                                                                                                                    CANADA
RAMA NARASIMHAN                 2002 UPSHIRE CT                                                                                           BOWIE              MD 20721‐2819
RAMA RAO & ALFRED INC           18447 W 8 MILE RD                                                                                         DETROIT            MI 48219‐1520
RAMA TECH LLC                   ATTN REGINA HARRIS                  7565 HAGGERTY RD    INACTIVATE PER NYTO LEGAL                         BELLEVILLE         MI 48111‐1601
                                                                                        5/03
RAMA, JOHN R                    PO BOX 1379                                                                                               WARREN             MI    48090‐1379
RAMA, PEDRO                     36 CLINTON AVE                                                                                            OSSINING           NY    10562‐4323
RAMABHAI F PATEL                4625 S DIXIE DR                                                                                           MORAINE            OH    45439‐2113
RAMACHANDRA DIWAKAR             5528 WYNNWOOD CT                                                                                          TROY               MI    48098‐2679
RAMACHANDRAN KANNAN             392 BRACKEN CT                                                                                            TROY               MI    48098
RAMACHANDRAPPA, NAVEEN          3661 KNIGHTBRIDGE CIR                                                                                     STERLING HEIGHTS   MI    48314‐1999
RAMADA ARPT/TAMPA               5303 W KENNEDY BLVD                                                                                       TAMPA              FL    33609‐2414
RAMADA CONFER/ANDOVE            311 LOWELL ST.                                                                                            ANDOVER            MA    01810
RAMADA HOTEL                    3000 VAN DYKE AVE                                                                                         WARREN             MI    48093
RAMADA HOTEL/TREVOSE            2400 OLD LINCOLN HWY                                                                                      TREVOSE            PA    19053‐6805
RAMADA HTL/EST HARTF            100 E RIVER DR                                                                                            EAST HARTFORD      CT    06108‐3233
RAMADA INN/CHATTNOGA            HIGHWAY 41 & I‐75                                                                                         CHATTANOOGA        TN    37412
RAMADA INN/COLUMBIA             PO BOX 482                          HWY. 31 NORTH                                                         COLUMBIA           TN    38402‐0482
RAMADA INN/DENVER               3737 QUEBEC ST                                                                                            DENVER             CO    80207‐1618
RAMADA INN/E WINDSOR            161 BRIDGE ST                                                                                             EAST WINDSOR       CT    06088‐9547
RAMADA INN/NEW HARTF            141 CHAMPION ROAD                                                                                         NEW HARTFORD       NY    13413
RAMADA INN/PITTSBURG            1 BIGELOW SQUARE                                                                                          PITTSBURGH         PA    15219
RAMADA INN/SYRACUSE             1305 BUCKLEY RD                                                                                           SYRACUSE           NY    13212‐4308
RAMADA LODGE HOTEL              2170 HARVEY AVE HWY 97N                                                             KELOWNA BC V1Y 6G8
                                                                                                                    CANADA
RAMADA‐TYSON'S/FALLS            7801 LEESBURG PIKE                                                                                        FALLS CHURCH       VA    22043‐2404
RAMADAN BOOTHANNA               1804 ROSECRANS CIR                                                                                        FLORENCE           KY    41042‐7957
RAMADAN, JUDITH ANN             2307 HELEN ST                                                                                             ALBANY             GA    31705‐4115
RAMAGE SUZAN                    PO BOX 203                                                                                                SPUR               TX    79370‐0203
RAMAGE, FRANCES                 3220 COLONEL SPRINGS WAY                                                                                  FORT MILL          SC    29708
RAMAGE, IRENE                   2211 HALL RD                                                                                              INDEPENDENCE       MO    64052‐1642
RAMAGE, IRENE                   2211 S HALL RD                                                                                            INDEPENDENCE       MO    64052‐1642
RAMAGE, JOSEPH N                8759 HURON ST                                                                                             TAYLOR             MI    48180‐2952
RAMAGE, NORMAN D                1045 PENNCRAFT RD                                                                                         E MILLSBORO        PA    15433‐1233
RAMAGE, ROBERT G                214 FITZNER DR                                                                                            DAVISON            MI    48423‐1920
RAMAGE, WAYNE E                 764 WELCH CT                                                                                              LAKEWOOD           CO    80401‐4663
RAMAGLINO, ANTHONY P            7349 BARNYARD CIR                                                                                         LIVERPOOL          NY    13088
RAMAGLINO, DOREEN M             829 SUMMER FIELD                                                                                          PRESCOTT           AZ    86303‐5953
RAMAGLINO, DOREEN M             829 SUMMER FLD                                                                                            PRESCOTT           AZ    85303‐5953
RAMAGLINO, JENNIE C             7352 FARMSTEAD RD                                                                                         LIVERPOOL          NY    13088‐4714
RAMAH BAPTIST CHURCH CEMETERY   PO BOX 646                                                                                                PALMETTO           GA    30268‐0646
RAMAH L MCKENZIE SR             560 WOODLAWN AVE                                                                                          YPSILANTI          MI    48198‐6137
RAMAKER, SUSAN M                2103 NELSON AVE # B                                                                                       REDONDO BEACH      CA    90278‐2407
RAMAKRISHNA TATAVARTHI          478 EVELYN LN APT 102                                                                                     ROCHESTER HLS      MI    48307‐4049
RAMAKRISHNA,CHALAKUD            15645 FARMINGTON RD                                                                                       LIVONIA            MI    48154‐2851
RAMAKRISHNAN JAYANTHY           5073 HEATHER DR APT 207                                                                                   DEARBORN           MI    48126
RAMAKRISHNAN NAREN              DEPT OF COMPUTER SCIENCE            660 MCBRYDE HALL    VIRGINIA TECH                                     BLACKSBURG         VA    24061‐0001
RAMALEY, LAWRENCE E             4942 MALCOLM CT                                                                                           COLUMBIA CITY      IN    46725‐8900
RAMALHETE, ESMERALDA R          10 DIANA CIR                                                                                              MILFORD            MA    01757‐3283
RAMALHETE, JOSEPH P             2 FARESE RD                                                                                               MILFORD            MA    01757‐3110
RAMALHO JR., MANUEL Z           132 KENSINGTON AVE                                                                                        COLONIA            NJ    07067‐2911
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Name                            Address1                         Address2                          Address3   Address4         City              State Zip
RAMALHO, JAMES                  107 TYLER RD                                                                                   WOODBINE           NJ 08270‐9627
RAMALHO, MANUEL Z               132 KENSINGTON AVE                                                                             COLONIA            NJ 07067‐2911
RAMALIA, GERALD C               8165 28 MILE RD                                                                                HARRIETTA          MI 49638
RAMALLO, JUAN                   31 WESTWIND LN                                                                                 AMHERST            NY 14228‐1888
RAMAMURTHY, KANNAN              30129 STERLING DR                                                                              NOVI               MI 48377‐3917
RAMAMURTHY, RAVISHANKAR         285 CARSON DR                                                                                  WESTLAND           MI 48185‐9656
RAMAN CROSE                     2304 N COUNTRY CLUB RD                                                                         MUNCIE             IN 47303‐9283
RAMAN, SUNDAR                   4224 KESTREL CT                                                                                INDIANAPOLIS       IN 46254
RAMAN, SUNDAR                   7810 PEACHMONT AVE NW            APT K5                                                        NORTH CANTON       OH 44720‐5782
RAMANA DE WALLS                 8664 COMMUNITY BLVD                                                                            WARREN             MI 48093‐6707
RAMANAN, RAJEEV M               1065 DUNDEE DR                                                                                 CANTON             MI 48188‐1289
RAMANATH, ANURADHA              PO BOX 403                                                                                     WILDER             VT 05088‐0403
RAMANAUSKAS, DAVID R            19930 SUNSET ST                                                                                LIVONIA            MI 48152‐1716
RAMANAUSKAS, DAVID ROY          19930 SUNSET ST                                                                                LIVONIA            MI 48152‐1716
RAMANI, KARTHIK                 C/O AMERT BHANSALI               5‐E MCFARLAND                                                 PALO ALTO          CA 94309
RAMANIS, VIESTURS K             7926 PINEY WOOD CT                                                                             INDIANAPOLIS       IN 46214‐1532
RAMANNA, DANIEL R               26522 ROOSEVELT LN                                                                             WIND LAKE          WI 53185‐2110
RAMANUJAM RAMANUJAM             3441 STILLWATER BLVD                                                                           MAUMEE             OH 43537‐9420
RAMANUJAM, RAMANUJAM            3441 STILLWATER BLVD                                                                           MAUMEE             OH 43537‐9420
RAMAPO COLLEGE OF NEW JERSEY    505 RAMAPO VALLEY RD                                                                           MAHWAH             NJ 07430‐1623
RAMAPO COLLEGE OF NEW JERSEY    BURSARS OFFICE                   505 RAMAPO VALLEY RD                                          MAHWAH             NJ 07430‐1623
RAMAPPAN, VIJAY A               24935 PORTSMOUTH AVE                                                                           NOVI               MI 48374‐3139
RAMAPRAKASH, ARAKERE            56863 KIRKRIDGE TRL                                                                            SHELBY TOWNSHIP    MI 48316‐5802
RAMAROSON, DANIEL T             370 E FREEHOLD RD                                                                              FREEHOLD           NJ 07728
RAMASAMY UTHURUSAMY             80 GROSSE PINES DR                                                                             ROCHESTER HILLS    MI 48309‐1828
RAMASKA MARY                    4919 ALLENDALE DR                                                                              CLEVELAND          OH 44143‐1435
RAMASOCKY, ALAN J               457 HOWLAND AVE                                                                                TOLEDO             OH 43605‐2548
RAMASOCKY, ALAN JAMES           415 BOGAR ST                                                                                   TOLEDO             OH 43605‐1210
RAMASUBRAMANIAM, SOMASUNDARAM   9 REGENT ST APT 501                                                                            JERSEY CITY        NJ 07302‐7339

RAMASWAMY RAJ                   3666 OLD CREEK RD                                                                              TROY              MI   48084‐1669
RAMASWAMY SUBRAMANIAN           PO BOX 9022                      ADAM OPEL AG PKZ R2 05                                        WARREN            MI   48090‐9022
RAMASWAMY, SHREYASWINI          7111 MARSHALL AVE SE             APT 303                                                       AUBURN            WA   98092‐8283
RAMASWAMY, SHREYASWINI          883 GRANDVIEW DR                                                                               COMMERCE TWP      MI   48390‐5932
RAMAZAN BAN                     18957 ASPEN DR                                                                                 LIVONIA           MI   48152‐4813
RAMAZETTI, DENNIS G             FERRARO & ASSOCIATES             4000 PONCE DE LEON BLVD STE 700                               CORAL GABLES      FL   33146‐1434

RAMBALA, FRANK A                141 SUMMIT AVE                                                                                 WALDWICK          NJ   07463‐2133
RAMBALDO, CHARLES S             1528 HELEN ST                                                                                  GARDEN CITY       MI   48135‐3024
RAMBALDO, JESSICA M             4471 DEAN ST                                                                                   WAYNE             MI   48184‐1812
RAMBAUM, HARRY A                116 JOAN CT                                                                                    MARYSVILLE        MI   48040‐1378
RAMBERG JR, GORDON EUGENE       5215 DON SHENK DR                                                                              SWARTZ CREEK      MI   48473‐1218
RAMBERG, BRUCE C                7098 E ATHERTON RD                                                                             DAVISON           MI   48423‐2402
RAMBERG, CAROLE M               5314 LINDEN RD                                                                                 SWARTZ CREEK      MI   48473‐8274
RAMBERG, DAWN D                 1508 HUNTINGTON LN                                                                             DAVISON           MI   48423
RAMBERG, EVA M                  7384 CROSS CREEK DR                                                                            SWARTZ CREEK      MI   48473‐1499
RAMBERG, MAE L                  5392 MILLER RD                                                                                 SWARTZ CREEK      MI   48473‐1511
RAMBERG, MARGARET E             7098 E ATHERTON RD                                                                             DAVISON           MI   48423‐2402
RAMBERG, RICHARD M              10147 HILL RD                                                                                  SWARTZ CREEK      MI   48473‐8522
RAMBERG, ROBIN                  5215 DON SHENK DR                                                                              SWARTZ CREEK      MI   48473‐1218
RAMBERG, RONALD L               8037 MORRISH RD                                                                                SWARTZ CREEK      MI   48473‐9162
RAMBERGER, ANNA P               1412 N JAY ST                                                                                  KOKOMO            IN   46901‐2411
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RAMBERGER, ARTHUR W     537 KNIGHT ST                                                                                             CANNELTON              IN 47520‐1621
RAMBIS, MYRNA L         502 WELCOME WAY                                                                                           ANDERSON               IN 46013‐1166
RAMBLE, JUNE E          3942 KENRICK DRIVE                                                                                        BETHLEHEM              PA 18020‐4518
RAMBLE, STEVEN C        43 KINGSLEY RD                                                                                            ROCHESTER              NY 14612‐5419
RAMBO JR, MULCA         5231 KENTWOOD ROAD                                                                                        DAYTON                 OH 45427‐2220
RAMBO MARK              RAMBO, JULIE                   KAHN & ASSOCIATES      55 PUBLIC SQUARE, SUITE 650                         CLEVELAND              OH 44113

RAMBO MARK              RAMBO, MARK                    55 PUBLIC SQ STE 650                                                       CLEVELAND             OH   44113‐1909
RAMBO MELISSA D         363 W MAIN ST                                                                                             TRAPPE                PA   19426‐1919
RAMBO, ALLEN RAY        3005 KINGFISH DR                                                                                          SHREVEPORT            LA   71119‐3417
RAMBO, ALLEN RAY R      3005 KINGFISH DR                                                                                          SHREVEPORT            LA   71119‐3417
RAMBO, ANNA M           2200 N LOTTIE AVE                                                                                         OKLAHOMA CITY         OK   73111‐2140
RAMBO, ANNA M           2200 NORTH LOTTIE AVENUE                                                                                  OKLAHOMA CITY         OK   73111‐2140
RAMBO, ANNA R           2763 W HICKORY DR                                                                                         ANDERSON              IN   46013‐9762
RAMBO, BEULAH E         630 MECHANICS VALLEY RD                                                                                   NORTHEAST             MD   21901‐3621
RAMBO, BEULAH G         630 MECHANICS VALLEY RD                                                                                   NORTH EAST            MD   21901‐3621
RAMBO, BILLY J          9983 SORRENTO ST                                                                                          DETROIT               MI   48227‐3728
RAMBO, BOBBY J          31296 RHEA VALLEY RD                                                                                      MEADOWVIEW            VA   24361‐2042
RAMBO, BOBBY JOHN       31296 RHEA VALLEY RD                                                                                      MEADOWVIEW            VA   24361‐2042
RAMBO, CHARLES A        1776 N MILLER RD                                                                                          SAGINAW               MI   48609‐9592
RAMBO, CYNTHIA L        3005 KINGFISH DR                                                                                          SHREVEPORT            LA   71119‐3417
RAMBO, CYNTHIA LOUISE   3005 KINGFISH DR                                                                                          SHREVEPORT            LA   71119‐3417
RAMBO, DANIEL K         PO BOX 188                                                                                                MINERAL RIDGE         OH   44440‐0188
RAMBO, FRANCIS P        1129 W. WEBB ROAD                                                                                         MINERAL RIDGE         OH   44440
RAMBO, FREDERICK E      3476 MELODY LANE                                                                                          SAGINAW               MI   48601‐5629
RAMBO, GLORIA J         1541 WEST STEWART ST                                                                                      DAYTON                OH   45408‐5408
RAMBO, GLORIA J         1541 W STEWART ST                                                                                         DAYTON                OH   45408‐1819
RAMBO, III,MULCA        615 SMALLWOOD RD                                                                                          DAYTON                OH   45427‐2244
RAMBO, JERRY R          50364 CARROLL RD                                                                                          E LIVERPOOL           OH   43920‐9515
RAMBO, JULIE            KAHN & ASSOCIATES              55 PUBLIC SQ STE 650                                                       CLEVELAND             OH   44113‐1909
RAMBO, KAREN A          3476 MELODY LN                                                                                            SAGINAW               MI   48601‐5629
RAMBO, KENNETH W        3633 ASHLAND ST                                                                                           MINERAL RIDGE         OH   44440‐9305
RAMBO, LARRY            2717 E 125TH ST                                                                                           BURNSVILLE            MN   55337‐3451
RAMBO, MARK             KAHN & ASSOCIATES              55 PUBLIC SQ STE 650                                                       CLEVELAND             OH   44113‐1909
RAMBO, RICHARD L        402 KIRKWOOD DR                                                                                           VANDALIA              OH   45377‐1943
RAMBO, RONALD R         1741 WARNER CT                                                                                            MINERAL RIDGE         OH   44440‐9583
RAMBO, SANDRA C         1708 E REDFERN WAY                                                                                        ANDERSON              IN   46011‐2723
RAMBO, THOMAS L         5474 E PRATT RD                                                                                           SAINT JOHNS           MI   48879‐9134
RAMBO, TIFFANY N        3005 KINGFISH DR                                                                                          SHREVEPORT            LA   71119‐3417
RAMBO, TOMMIE           430 LORENZ AVE                                                                                            DAYTON                OH   45417‐2340
RAMBO, WILLIAM H        4212 42ND ST W                                                                                            BRADENTON             FL   34205‐2340
RAMBOUR, MICHELE        167 COUNTRY CLUB DR                                                                                       GROSSE POINTE FARMS   MI   48236‐2901
RAMBOW, HAROLD A        1176 PIONEER CIR                                                                                          GROVELAND             FL   34736‐9646
RAMBOW, JANET M         18425 NORBORNE                                                                                            DETROIT               MI   48240‐1834
RAMBUS, ROSALEE         19780 BELAND ST                                                                                           DETROIT               MI   48234‐3530
RAMBUS, STEVEN T        1828 WILLARD AVE SE                                                                                       GRAND RAPIDS          MI   49507
RAMBY, EILEEN E         1924 BROWNELL RD                                                                                          DAYTON                OH   45403‐3411
RAMBY, HOMER G          5624 O NEALL RD                                                                                           WAYNESVILLE           OH   45068‐9453
RAMBY, MICHAEL J        554 GABRIEL ST                                                                                            VANDALIA              OH   45377‐1837
RAMBY, RICHARD T        2811 SOUTHSIDE DRIVE                                                                                      TROY                  OH   45373‐7597
RAMCHARAN, LUTCHMAN     253 PATRIOTS WAY                                                                                          ELKTON                MD   21921‐5129
RAMCO EUROPE SRL        VIA UGO VAGLIA 11 13                                                                GAVARDO 25085 ITALY
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RAMCO INDUSTRIES INC               2006 TOBSAL CT                                                                                               WARREN              MI 48091‐3797
RAMCO MANU/AUBURN                  1101 OREN DR                                                                                                 AUBURN              IN 46706‐2674
RAMCO SPECIALTIES INC              BOB CHARTON                      5369 HUDSON DR                                   SALTILLO CZ 25070 MEXICO
RAMCO SPECIALTIES INC              5369 HUDSON DR                                                                                               HUDSON             OH   44236‐3777
RAMCZYK, ANGELINE E                3138 S 15TH ST                                                                                               MILWAUKEE          WI   53215‐4630
RAMCZYK, ETTA A                    3138 S 15TH ST                                                                                               MILWAUKEE          WI   53215‐4630
RAMDEENS ELECTRICAL CONTRACT       132‐10A LIBERTY AVE                                                                                          RICHMOND HILL      NY   11411
RAMDEV, NIHARIKA                   145 W 67TH ST APT 35H                                                                                        NEW YORK           NY   10023‐5940
RAMEL'S AUTO SERVICE               3501 S EMERALD AVE                                                                                           CHICAGO            IL   60609‐1604
RAMEL, JOYCE M                     PO BOX 1065                                                                                                  BRANSON WEST       MO   65737‐1065
RAMELL, BARBARA A                  2049 SAUNDERS SETTLEMENT RD                                                                                  NIAGARA FALLS      NY   14304
RAMELL, JOHN P                     2049 SAUNDERS SETTLEMENT RD                                                                                  NIAGARA FALLS      NY   14304‐1101
RAMELLI, DANIEL                    20 BAYBERRY LN                                                                                               REHOBOTH BEACH     DE   19971‐1221
RAMELLI, EVELINA C                 208 GATES POND RD                                                                                            BERLIN             MA   01503‐1305
RAMELLI,DANIEL                     20 BAYBERRY LN                                                                                               REHOBOTH BEACH     DE   19971‐1221
RAMELS, BRENT W                    16775 W BRIDLINGTON AVE                                                                                      SURPRISE           AZ   85374‐6864
RAMELS, LISA M                     16775 W BRIDLINGTON AVE                                                                                      SURPRISE           AZ   85374‐6864
RAMELS, LISA MARIE                 16775 W BRIDLINGTON AVE                                                                                      SURPRISE           AZ   85374‐6864
RAMER BIGGS                        1428 FOLEY AVE                                                                                               YPSILANTI          MI   48198‐6502
RAMER NICHOLE                      RAMER, NICHOLE                   16029 S BRADLEY DR                                                          OLATHE             KS   66062‐3932
RAMER, EMZLEY E                    2104 N 9 1/2 ST                                                                                              PARAGOULD          AR   72450‐6507
RAMER, JODIE A                     6224 S 600 E                                                                                                 WALTON             IN   46994
RAMER, JOSEPH L                    34461 CHERRY HILL RD                                                                                         WESTLAND           MI   48186‐4307
RAMER, JOSEPH LEWIS                34461 CHERRY HILL RD                                                                                         WESTLAND           MI   48186‐4307
RAMER, MARIE G                     12928 TAKOMA DR                                                                                              STERLING HEIGHTS   MI   48313‐3376
RAMER, RETTA                       167 KA LAMA PL                                                                                               LEESBURG           FL   34788‐7994
RAMER, RETTA                       167 KALAMA PL                                                                                                LEESBURG           FL   34788‐7994
RAMER, STEPHEN E                   3320 WEATHERED ROCK CIR                                                                                      KOKOMO             IN   46902‐6066
RAMER, WILLIAM E                   LEBLANC & WADDELL                5353 ESSEN LN STE 420                                                       BATON ROUGE        LA   70809‐0500
RAMES KANTHI                       NEED BETTER ADDRESS 11/14/06CP   22440 WEST SKY LAKE PLACE                                                   VAN NUYS           CA   91388
RAMESH
RAMESH DHARIA                      11700 LANDING PLACE                                                                                          NORTH PALM BEACH   FL   33408
RAMESH GOWDA                       63 N SQUIRREL RD                                                                                             AUBURN HILLS       MI   48326‐4002
RAMESH GOYAL                       3301 ROCKY CREST DR                                                                                          ROCHESTER HILLS    MI   48306‐3750
RAMESH JOSHI                       2140 TIMBERRIDGE CT                                                                                          WEST BLOOMFIELD    MI   48324‐1463
RAMESH N PATEL, THE PATEL FAMILY   RAMESH N PATEL                   1739 MIRASSON PLACE                                                         SAN JOSE           CA   95124‐5723
TRUST UA 03/25/1994
RAMESH PATEL                       2941 WESSELS DR                                                                                              TROY               MI   48085‐7018
RAMESH PATHAK                      31 BLAISDELL WAY                                                                                             FREMONT            CA   94536
RAMESH R GOSWAMI                   CHARLES SCHWAB & CO INC CUST     IRA CONTRIBUTORY              6310 N POINT WAY                              SACRAMENTO         CA   95831
RAMESH RAMIAH                      2852 BIRCHDALE DR                                                                                            TROY               MI   48083‐6809
RAMESH REBBA                       35406 TIMBERWOOD CT                                                                                          CLINTON TOWNSHIP   MI   48035‐2115
RAMESH SETH                        44340 HARSDALE DR                                                                                            CANTON             MI   48187‐3257
RAMESH SETH                        3252 GREENSPRING LN                                                                                          ROCHESTER HILLS    MI   48309‐2743
RAMESS NAKHLEH                     685 W BRENTWOOD ST                                                                                           DETROIT            MI   48203‐4511
RAMESWARAM KANTHI                  22440 SKYLAKE PL                                                                                             SANTA CLARITA      CA   91390‐5236
RAMEY AUTOMOTIVE, INC.             2750 CLINCH ST                                                                                               RICHLANDS          VA   24641‐2114
RAMEY AUTOMOTIVE, INC.             JAMES RAMEY                      2750 CLINCH ST                                                              RICHLANDS          VA   24641‐2114
RAMEY CHEVROLET CADILLAC CO.       DWIGHT RAMEY                     600 E LAMBERTH RD                                                           SHERMAN            TX   75090‐2817
RAMEY CHEVROLET CADILLAC CO.       600 E LAMBERTH RD                                                                                            SHERMAN            TX   75090‐2817
RAMEY CHEVROLET COMPANY, LTD.      DARREL RAMEY                     600 E LAMBERTH RD                                                           SHERMAN            TX   75090‐2817
RAMEY CHEVROLET, INC.              JAMES RAMEY                      27992 GOVERNOR GC PERRY HWY                                                 TAZEWELL           VA   24651
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Name                          Address1                         Address2               Address3      Address4         City            State Zip
RAMEY CHEVROLET, INC.         27992 GOVERNOR GC PERRY HWY                                                            TAZEWELL         VA 24651
RAMEY FLOCK JEFFUS CRAWFORD   HARPER & COLLINS                 500 FIRST CITY PLACE                                  TYLER            TX 75710
RAMEY I I, JOHN L             7236 SINDALL RD                                                                        BALTIMORE        MD 21234‐6817
RAMEY II, JOHN LEE            7236 SINDALL RD                                                                        BALTIMORE        MD 21234‐6817
RAMEY JR, GERALD C            3690 ST RT 46 BLDG 248 APT 13                                                          MINERAL RIDGE    OH 44440
RAMEY JR, HOWARD E            2031 LAUREL CV                                                                         BALL GROUND      GA 30107‐2655
RAMEY JR, JOHN F              600 WELLER AVE                                                                         MANSFIELD        OH 44904‐2137
RAMEY JR, LEONARD             3889 STATE RT 49                                                                       ARCANUM          OH 45304‐9796
RAMEY JR, LEONARD             3889 STATE ROUTE 49                                                                    ARCANUM          OH 45304‐9796
RAMEY JR., GERALD C           3690 ST RT 46 BLDG 248 APT 13                                                          MINERAL RIDGE    OH 44440
RAMEY JUDITH                  1218 HIDDEN RDG APT 1074                                                               IRVING           TX 75038‐4469
RAMEY MIKE                    4310 WYLIE RD                                                                          DEXTER           MI 48130‐8556
RAMEY MOTORS, INC.            RTE 19 & 460                                                                           PRINCETON        WV 24740
RAMEY MOTORS, INC.            JAMES RAMEY                      RTE 19 & 460                                          PRINCETON        WV 24740
RAMEY, ALBERT G               29059 PRESTWICK RD                                                                     SUN CITY         CA 92586‐2888
RAMEY, ARNOLD F               PO BOX 654                                                                             LAFAYETTE        TN 37083‐0654
RAMEY, BARBARA ANN            508 ROSEWOOD DR                                                                        STEDMAN          NC 28391‐9788
RAMEY, BARBARA D              8484 SHIELDS DRIVE                                                                     SAGINAW          MI 48609
RAMEY, BETTY J                104 GREAT OAK DR                                                                       ROSCOMMON        MI 48653‐9388
RAMEY, BILLY J                613 FALLBROOK LN                                                                       CLARKSVILLE      TN 37040‐5535
RAMEY, BOBBY H                1011 N PERRY ST                                                                        NAPOLEON         OH 43545‐1053
RAMEY, CARLENA N              833 MERCER ST                                                                          YOUNGSTOWN       OH 44502‐1525
RAMEY, CECIL                  3323 KINGS HWY                                                                         DAYTON           OH 45406‐3806
RAMEY, CECIL                  3323 KINGS HIGHWAY                                                                     DAYTON           OH 45406‐3806
RAMEY, CHARLSTON A            116 WANDLE AVE                                                                         BEDFORD          OH 44146‐2656
RAMEY, CHRISTOPHER            1776 CATBIRD RD                                                                        GILMER           TX 75645‐6872
RAMEY, CHRISTOPHER
RAMEY, CHRISTOPHER JACOB
RAMEY, CONSTANCE V            2487 WINSHIRE DR                                                                       DECATUR         GA   30035‐4227
RAMEY, CRAIG R                2416 HILLCREST AVE                                                                     ANDERSON        IN   46011‐1079
RAMEY, DAVID G                13902 RUE ROYALE LANE                                                                  MC CORDSVILLE   IN   46055‐9102
RAMEY, DAVID G                4617 COMANCHE DRIVE                                                                    JAMESTOWN       OH   45335
RAMEY, DEBRA JEAN             5788 SUWANEE DAM RD                                                                    SUGAR HILL      GA   30518‐5644
RAMEY, DELENA D               913 BRISTOL DR                                                                         VANDALIA        OH   45377‐2850
RAMEY, DISSIA L               14065 30TH AVE LOT 2                                                                   REMUS           MI   49340
RAMEY, DONALD                 3173 CHAPARRAL WAY                                                                     LITHONIA        GA   30038‐3118
RAMEY, DONALD W               4206 AGNES AVE                                                                         KANSAS CITY     MO   64130‐1410
RAMEY, DOROTHY E              813 REMINGTON AVE                                                                      FLINT           MI   48507‐1632
RAMEY, DOROTHY H              1199 PINE THICKETT DR.                                                                 BUFORD          GA   30518‐4868
RAMEY, DOROTHY M              2236 BINGHAM AVE                                                                       KETTERING       OH   45420‐3719
RAMEY, EARL E                 2775 2 MILE RD                                                                         BAY CITY        MI   48706‐1247
RAMEY, EDWARD H               355 BELMONT ST                                                                         DETROIT         MI   48202‐1361
RAMEY, ELAINE N               2614 LIZ LN                                                                            KISSIMMEE       FL   34744‐3053
RAMEY, ELAINE N               2614 LIZ LANE                                                                          KISSSIMMEE      FL   34744‐3053
RAMEY, ELIZABETH A            612 ATLANTIC RD                                                                        NEW MARKET      TN   37820‐4631
RAMEY, ERNEST D               44600 MIDDLE RIDGE RD                                                                  AMHERST         OH   44001‐2589
RAMEY, ERVIN B                348 WASHINGTON ST NE                                                                   WARREN          OH   44483‐4929
RAMEY, GARY D                 632 ALEXANDRIA PIKE                                                                    ANDERSON        IN   46012‐2907
RAMEY, GEORGE                 35 TRUMBULL CT APT 2                                                                   YOUNGSTOWN      OH   44505‐2070
RAMEY, GEORGE W               1062 TIFTONIA VIEW RD                                                                  CHATTANOOGA     TN   37419‐1331
RAMEY, GERALD
RAMEY, GERALD C               1600 MACK AVE                                                                          DAYTON          OH 45404‐2709
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Name                Address1                         Address2                Address3   Address4         City           State Zip
RAMEY, GERALD C     1600 MACK AVENUE                                                                     DAYTON          OH 45404‐2709
RAMEY, GRACE        87 KENSINGTON AVENUE                                                                 BUFFALO         NY 14214‐2705
RAMEY, GREGORY S    11420 BALLYCASTLE PL                                                                 FORT WAYNE      IN 46818‐9162
RAMEY, HARLEY G     705 ELLIOTT ST                                                                       BUCKNER         MO 64016‐9779
RAMEY, HESTER P     6956 BROADWAY AVE                                                                    SHREVEPORT      LA 71109‐8310
RAMEY, IRENE E      9007 E 52ND ST                                                                       KANSAS CITY     MO 64133‐2133
RAMEY, IRENE E      3307 OHIO                                                                            KANSAS CITY     KS 66102‐4555
RAMEY, IVY S.       465 SWEETLEAF DRIVE                                                                  FLINT           MI 48506
RAMEY, JAMES A      1400 S RIVERVIEW DR                                                                  YORKTOWN        IN 47396‐1067
RAMEY, JAMES D      732 COBBLER LN W                                                                     MT STERLING     KY 40353‐1385
RAMEY, JAMES E      433 LEXINGTON STEAM CORNERS RD                                                       LEXINGTON       OH 44904‐9347
RAMEY, JAMES G      112 ASHLAND DR                                                                       LA FONTAINE     IN 46940‐9248
RAMEY, JAMES H      4105 WABANINGO RD                                                                    OKEMOS          MI 48864‐3438
RAMEY, JAMES R      42 WINFOUGH ST. BOX 61                                                               COALTON         OH 45621
RAMEY, JEANETTE L   2451 E WHEELER RD                                                                    BAY CITY        MI 48706‐9484
RAMEY, JEANETTE L   2451 WHEELER RD                                                                      BAY CITY        MI 48706‐9484
RAMEY, JOHN B       419 SANDERS BRANCH RD                                                                CHAPMANVILLE    WV 25508‐0309
RAMEY, JOHN B       PO BOX 309                                                                           QUINWOOD        WV 25981
RAMEY, JUANITA M    6864 MCCLEAN BLVD                                                                    PARKVILLE       MD 21234
RAMEY, JUNIOR       15700 ISLAND RD                                                                      GRAFTON         OH 44044‐9816
RAMEY, KENNETH      601 GLASPIE RD                                                                       OXFORD          MI 48371‐5018
RAMEY, KYLE
RAMEY, LARRY E      600 WELLER AVE                                                                       MANSFIELD      OH   44904
RAMEY, LARRY L      PO BOX                                                                               DAYTON         OH   45401
RAMEY, LARRY L      PO BOX 391                                                                           DAYTON         OH   45401‐5401
RAMEY, LAVINIA M    1763 RANSBURG AVE                                                                    COLUMBUS       OH   43223‐2519
RAMEY, LEOLA        5512 PEBBLE LN                                                                       NORFOLK        VA   23502‐4410
RAMEY, LEOLA        5512 PEBBLE LANE                                                                     NORFOLK        VA   23502‐4410
RAMEY, LETHA F      PO BOX 103                                                                           NINEVEH        IN   46164‐0103
RAMEY, LORETTA      2409 CALUMET ST                                                                      FLINT          MI   48503‐2810
RAMEY, LOUIS A      344 CLEVELAND AVE                                                                    GLENDALE       OH   45246‐4624
RAMEY, MABLE L      5512 WALLACE AVE                                                                     KANSAS CITY    MO   64129‐2665
RAMEY, MARCELLA J   1920 W BRANDON AVE                                                                   MARION         IN   46952‐1508
RAMEY, MARK A       1508 LINDENWOOD DR                                                                   KOKOMO         IN   46902‐5814
RAMEY, MARSHALL     25 URBANA AVE                                                                        DAYTON         OH   45404‐2262
RAMEY, MAZEL        1164 CREEKSIDE CT                                                                    BURTON         MI   48509
RAMEY, MICHAEL      4310 WYLIE RD                                                                        DEXTER         MI   48130‐8556
RAMEY, MILTON       3819 BOSTEDOR RD                                                                     EATON RAPIDS   MI   48827‐8014
RAMEY, MOSES        2450 EASTGATE RD APT 2                                                               TOLEDO         OH   43614
RAMEY, NELLIE N     786 E 156TH ST                                                                       CLEVELAND      OH   44110‐3070
RAMEY, OLENA        2881 MADISON AVE                                                                     COVINGTON      KY   41015‐1172
RAMEY, PATSY        TRACY FIRM                       5473 BLAIR RD STE 200                               DALLAS         TX   75231‐4168
RAMEY, PATSY J      505 BURT ST                                                                          OAKWOOD        OH   45873‐8902
RAMEY, PAUL         1029 W BUDER AVE                                                                     FLINT          MI   48507‐3609
RAMEY, PAUL P       7726 CLOVERNOOK AVE APT 1009                                                         CINCINNATI     OH   45231‐3541
RAMEY, PHYLLIS M    517 W FRIENDSHIP ST                                                                  MEDINA         OH   44256‐1814
RAMEY, QUEEN E      24400 CIVIC CENTER DR            216                                                 SOUTHFIELD     MI   48033
RAMEY, R W          1460 CLEARWATER                                                                      FLATWOODS      KY   41139
RAMEY, RASTUS E     PO BOX 122                                                                           LOGANVILLE     GA   30052‐0122
RAMEY, RICHARD      3250 STEPHEN DR S                                                                    COLUMBUS       OH   43204‐1754
RAMEY, RICHARD E    7148 KOLDYKE DR                                                                      FISHERS        IN   46038‐2738
RAMEY, RICKY L      PO BOX 1424                                                                          ENKA           NC   28728‐1424
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Name                         Address1                          Address2                      Address3                     Address4               City              State Zip
RAMEY, ROBERT R              104 GREAT OAK DR                                                                                                    ROSCOMMON          MI 48653‐9388
RAMEY, ROGER P               1445 COURTLAND BLVD                                                                                                 ROCHESTER HILLS    MI 48307‐1509
RAMEY, RUBY L                304 HUNTER RD                                                                                                       MANSFIELD          LA 71052‐6064
RAMEY, RUEL B                1723 MELBOURNE RD                                                                                                   BALTIMORE          MD 21222‐4822
RAMEY, SAMEY                 PO BOX 203                                                                                                          ACWORTH            GA 30101‐0203
RAMEY, SARA M                96 SHERWOOD DR                                                                                                      LEXINGTON          OH 44904‐1041
RAMEY, SARA M                96 SHERWOOD DRIVE                                                                                                   LEXINGTON          OH 44904‐1041
RAMEY, SHIRLEY M             PO BOX 492758                                                                                                       LAWRENCEVILLE      GA 30049‐0046
RAMEY, STEPHANIE R           4813 BEHNFELDT RD                                                                                                   NEY                OH 43549‐9752
RAMEY, TEDDY S               PO BOX 134                                                                                                          SHERWOOD           OH 43556‐0134
RAMEY, THOMAS A              3011 COVERT RD                                                                                                      FLINT              MI 48506‐2031
RAMEY, VELMA                 1064 S EDGEWOOD AVE                                                                                                 LOMBARD             IL 60148‐4012
RAMEY, VELMA                 1064 S. EDGEWOOD AVE.                                                                                               LOMBARD             IL 60148‐4012
RAMEY, WALTER A              1223 E CAVANAUGH RD                                                                                                 LANSING            MI 48910‐5627
RAMEY, WANDA L               20205 FENTON STREET                                                                                                 ROSEVILLE          MI 48066‐2265
RAMEY, WILLIAM A             1059 CHRISTIAN HILLS DR                                                                                             ROCHESTER HILLS    MI 48309‐2843
RAMEY, WILLIAM G             5133 BOOTH AVE                                                                                                      KANSAS CITY        MO 64129‐2301
RAMEY, WILLIAM P             813 REMINGTON AVE                                                                                                   FLINT              MI 48507‐1632
RAMEZ SAAD                   7714 NORMILE ST                                                                                                     DEARBORN           MI 48126‐1282
RAMFJORD ROBERT H (429656)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                       NORFOLK            VA 23510
                                                               STREET, SUITE 600
RAMFJORD, ROBERT H           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA 23510‐2212
                                                               STREET, SUITE 600
RAMI AL NEMER                FNB BLDG ALLENBY STR              BLDG MARFAA 147               PO BOX 11 435 RJAD EL SOLH   BEIRUT LEBANON

RAMI DEBOUK                  6963 TERNES ST                                                                                                      DEARBORN          MI 48126‐1767
RAMIA STEVEN                 PO BOX 2517                                                                                                         WALNUT CREEK      CA 94595‐0517
RAMIA, JOSEPH L              C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA 23510
                                                               STREET, SUITE 600
RAMIAH, RAMESH               2852 BIRCHDALE DR                                                                                                   TROY              MI   48083‐6809
RAMIC FORT WORTH LLC         2000 PAYSPHERE CIR                                                                                                  CHICAGO           IL   60674‐0020
RAMIC ST PETERS LLC          2000 PAYSHIRE CIR                                                                                                   CHICAGO           IL   60674‐0001
RAMIC ST. PETERS LLC         2000 PAYSPHERE CIR                                                                                                  CHICAGO           IL   60674‐20
RAMIE FIELDER                304 DAWSON RD                                                                                                       PRINCETON         KY   42445‐1712
RAMIG JR, JACOB              3456 OVERTON ST                                                                                                     WATERFORD         MI   48328‐1408
RAMIG, RONALD C              3378 LONGVIEW AVE                                                                                                   ROCHESTER HLS     MI   48307‐5638
RAMILLER, EMILY M            5874 SANDY SHORES DR NW                                                                                             WILLIAMS          MN   56686‐4478
RAMILLER, FRANCIS R          1110 ANGOLA AVE                                                                                                     MOUNT MORRIS      MI   48458‐2139
RAMILLER, JOHN               10506 HILL RD                                                                                                       GOODRICH          MI   48438‐9769
RAMIN, RONALD L              89 RENFREW AVE                                                                                                      MOUNT MORRIS      MI   48458‐8856
RAMIN, TODD M                816 HILLARY COURT                                                                                                   LONGWOOD          FL   32750‐7143
RAMIN, WILLIAM K             2376 MUSSON RD                                                                                                      HOWELL            MI   48855‐9082
RAMINDER SINGH               30 JUNIPER LN                                                                                                       SYOSSET           NY   11791‐3038
RAMINDER SINGH               6390 EASTERN RANGE RD                                                                                               INDIANAPOLIS      IN   46234‐5029
RAMING, CHARLES F            1095 KENSINGTON LN                                                                                                  CINCINNATI        OH   45245‐1567
RAMINGER, DENNIS M           4466 RIVERVIEW RD                                                                                                   BREWERTON         NY   13029
RAMINSKI, LEONARD            11104 KAREN DR                                                                                                      ORLAND PARK       IL   60467‐4482
RAMIR N JOHNSON              PO BOX 5071                                                                                                         FLINT             MI   48505‐0071
RAMIRES TINA                 205 CENTURY BLVD                                                                                                    LAREDO            TX   78046‐5106
RAMIRES, JOSE A              633 LAKE DOT CIR APT 404          WILLIAM BOOTH TOWERS                                                              ORLANDO           FL   32801‐1151
RAMIRES, RICHARD J           5820 EAST AVE                                                                                                       BALTIMORE         MD   21206‐1413
RAMIRES, RICHARD JUAN        5820 EAST AVE                                                                                                       BALTIMORE         MD   21206‐1413
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Name                                 Address1                          Address2                       Address3   Address4         City             State Zip
RAMIREV, ROBERT                      3011 W 38TH ST                                                                               CHICAGO            IL 60632
RAMIREZ & SONS                       102 60TH ST                                                                                  WEST NY           NJ 07093‐2804
RAMIREZ AUTO CARE                    4421 MISSION BLVD                                                                            MONTCLAIR         CA 91763‐6020
RAMIREZ CARLOS                       RAMIREZ, CARLOS                   44 CERES ST                                                PROVIDENCE         RI 02908
RAMIREZ CARLOS (499373)              LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                    MIAMI             FL 33143‐5163
RAMIREZ CENTENO YARITZA              RAMIREZ CENTENO, YARITZA          1 COND SANTA JUANA APT 812                                 CAGUAS            PR 00725‐2106
RAMIREZ CENTENO, YARITZA             1 COND SANTA JUANA APT 812                                                                   CAGUAS            PR 00725‐2106
RAMIREZ CHRISTINA                    517 E TERRACE AVE                                                                            GILBERT           AZ 85234‐2449
RAMIREZ CHRISTINE                    RAMIREZ, CHRISTINE                101 NE 3RD AVENUE SUITE 1500                               FT LAUDERDALE     FL 33301
RAMIREZ CHRISTINE                    SEGIN, DEAN                       101 NE 3RD AVENUE SUITE 1500                               FT LAUDERDALE     FL 33301
RAMIREZ EVERADO                      RAMIREZ, EVERADO                  926 BODARK LANE                                            AUSTIN            TX 78745‐5545
RAMIREZ FELIPE JR                    RAMIREZ, ANA C                    111 SOLEDAD , SUITE 222                                    SAN ANTONIO       TX 78205
RAMIREZ FELIPE JR                    RAMIREZ, EDELIA                   111 SOLEDAD , SUITE 222                                    SAN ANTONIO       TX 78205
RAMIREZ FELIPE JR                    RAMIREZ, FELIPE                   111 SOLEDAD , SUITE 222                                    SAN ANTONIO       TX 78205
RAMIREZ FELIPE JR                    RAMIREZ, RANDY                    111 SOLEDAD , SUITE 222                                    SAN ANTONIO       TX 78205
RAMIREZ FELIPE JR                    RAMIREZ, ROY A                    111 SOLEDAD , SUITE 222                                    SAN ANTONIO       TX 78205
RAMIREZ FLORENTINO JR                4632 NASHWOOD LN                                                                             DALLAS            TX 75244‐7731
RAMIREZ FRANCISCO MARTINEZ           RAMIREZ, FRANCISCO MARTINEZ       9047 FLOWER ST                                             BELLFLOWER        CA 90706‐5605
RAMIREZ IRMA                         RAMIREZ, IRMA                     200 E BIG BEAVER RD                                        TROY              MI 48083‐1208
RAMIREZ ISAI                         RAMIREZ, IRMA                     1001 TEXAS ST STE 220                                      HOUSTON           TX 77002‐3130
RAMIREZ ISAI                         RAMIREZ, ISAAC                    1001 TEXAS ST STE 220                                      HOUSTON           TX 77002‐3130
RAMIREZ ISAI                         RAMIREZ, ISAI                     1001 TEXAS ST STE 220                                      HOUSTON           TX 77002‐3130
RAMIREZ ISAI                         RAMIREZ, ISI BETSABE              1001 TEXAS ST STE 220                                      HOUSTON           TX 77002‐3130
RAMIREZ ISAI                         RAMIREZ, ISMERAI IVANNA           1001 TEXAS ST STE 220                                      HOUSTON           TX 77002‐3130
RAMIREZ ISAI                         RAMIREZ, ISRAEL                   1001 TEXAS ST STE 220                                      HOUSTON           TX 77002‐3130
RAMIREZ JACKELINE J                  RAMIREZ, JACKELINE J              425 W BROADWAY STE 220                                     GLENDALE          CA 91204‐1269
RAMIREZ JEANETTE                     RAMIREZ, JEANETTE                 15594 MALLORY CT.                                          MOORPARK          CA 93021‐3250
RAMIREZ JOSE                         RAMIREZ, JOSE                     UNKNOWN
RAMIREZ JR, ALEJANDRO                2349 HOPETON AVE                                                                             SAN JOSE         CA    95122‐3022
RAMIREZ JR, AMADO                    3042 S KOLIN AVE                                                                             CHICAGO          IL    60623‐4305
RAMIREZ JR, ARNULFO                  1430 RIVERBEND DRIVE                                                                         DEFIANCE         OH    43512‐6877
RAMIREZ JR, CAMERINO                 25 N ALBONI PL                                                                               LONG BEACH       CA    90802‐5434
RAMIREZ JR, DOMINGO                  4519 MALVERN HILL RD                                                                         GRAND PRAIRIE    TX    75052‐1673
RAMIREZ JR, ESPIRIDION               1225 SW 100TH TER                                                                            OKLAHOMA CITY    OK    73139‐2996
RAMIREZ JR, GONZALO J                1824 VROMAN RD                                                                               MT PLEASANT      MI    48858‐9410
RAMIREZ JR, GUADALUPE                5110 OAK RD                                                                                  VASSAR           MI    48768‐9575
RAMIREZ JR, JESSE                    2670 E PINCONNING RD                                                                         PINCONNING       MI    48650
RAMIREZ JR, JOHN                     8704 VIRGINIA PINE CT                                                                        FREDERICKSBURG   VA    22407‐8733
RAMIREZ JR, MAX                      1488 PRAIRIE ROSE                                                                            SEGUIN           TX    78155‐0277
RAMIREZ JR, SAMUEL                   3139 S HURON RD                                                                              BAY CITY         MI    48706‐1561
RAMIREZ JR, TOMAS G                  4360 7TH ST                                                                                  ECORSE           MI    48229‐1155
RAMIREZ JR, VICENTE                  4805 VAN DYKE RD                                                                             BROWN CITY       MI    48416‐9682
RAMIREZ JUAN                         PO BOX 1375                                                                                  FOUR OAKS        NC    27524‐1375
RAMIREZ LEON, MARIA LUZ
RAMIREZ MARIA                        RAMIREZ, MARIA                    257 N AUSTIN STREET                                        SAN BENITO       TX 78586‐4703
RAMIREZ PORFIRIO (459274)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                       STREET, SUITE 600
RAMIREZ RENE & THE TORRES LAW FIRM   110 BROADWAY ST STE 370                                                                      SAN ANTONIO       TX   78205‐1992

RAMIREZ ROBERTO                      RAMIREZ, ROBERTO                  5055 WILSHIRE BLVD STE 300                                 LOS ANGELES      CA 90036‐6101
RAMIREZ RODOLFO                      RAMIREZ, RODOLFO                  9047 FLOWER ST                                             BELLFLOWER       CA 90706‐5605
RAMIREZ ROY                          33614 ARKSEY AVE                                                                             ACTON            CA 93510‐1454
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Name                       Address1                        Address2                  Address3   Address4         City               State Zip
RAMIREZ SANDRA             RAMIREZ, SANDRA                 413 29TH ST                                           HIDALGO             TX 78557
RAMIREZ STEVEN             5032 FORBES AVE CMU SMC 7167                                                          PITTSBURGH          PA 15289‐2000
RAMIREZ STEVEN             190 CHICKERING RD APT 202D                                                            NORTH ANDOVER       MA 01845
RAMIREZ TORO JOHANN        TORO, JOHANN RAMIREZ
RAMIREZ VALADEZ, ARACELI
RAMIREZ, AARON M           232 WEST PRINCETON AVENUE                                                             PONTIAC            MI    48340‐1844
RAMIREZ, ADALBERTO C       5097 TUBBS RD                                                                         WATERFORD          MI    48327‐1358
RAMIREZ, ADAN              3570 FM 639                                                                           FROST              TX    76641‐3564
RAMIREZ, ALBERT            1834 OLD OAKLAND AVE                                                                  LANSING            MI    48915‐1379
RAMIREZ, ALBERT L          18307 E INDIAN HILLS RD                                                               NEWALLA            OK    74857‐8653
RAMIREZ, ALBERTO           424 KINNAIRD AVE                                                                      FORT WAYNE         IN    46807‐1933
RAMIREZ, ALBERTO           ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                     HOUSTON            TX    77069
RAMIREZ, ALEJANDRO
RAMIREZ, ALEX R            3865 GOLDEN HORN LN                                                                   FORT WORTH         TX 76123‐2561
RAMIREZ, ALFRED S          206 KALMIA DR                                                                         ARLINGTON          TX 76018‐1633
RAMIREZ, ALICE B           3700 S ADAMS RD                                                                       AUBURN HILLS       MI 48326
RAMIREZ, ALYSSA
RAMIREZ, ANA C             YANTA VIRGIL W                  111 SOLEDAD, SUITE 222                                SAN ANTONIO        TX    78205‐2219
RAMIREZ, ANA L             HC 5 BOX 6288                                                                         AGUAS BUENAS       PR    00703‐9004
RAMIREZ, ANDREZ B          9539 AUTUMN RUN LN                                                                    CONVERSE           TX    78109‐4650
RAMIREZ, ANGEL OMAR
RAMIREZ, ANGELO L          262 PIANO LANE                                                                        DAVENPORT           FL   33896‐8369
RAMIREZ, ANNASTINA
RAMIREZ, ANSELMO           5403 BROAD ST                                                                         ROSCOE             IL    61073‐7322
RAMIREZ, ANTHONY E         104 SW 132ND PL                                                                       OKLAHOMA CITY      OK    73170‐1424
RAMIREZ, ANTONIO           238 SANTA FE ST                                                                       SAN JUAN           TX    78589‐3603
RAMIREZ, ARMANDO           PO BOX 3206                                                                           LAKE HAVASU CITY   AZ    86405‐3206
RAMIREZ, ARMANDO           772 N MOLLISON AVE UNIT A                                                             EL CAJON           CA    92021‐5659
RAMIREZ, ARTHUR A          24996 HENDON ST                                                                       LAGUNA HILLS       CA    92653‐4606
RAMIREZ, ARTURO O          22100 M DR N                                                                          MARSHALL           MI    49068‐9327
RAMIREZ, ASDRUBAL          1459 ALOHA ST                                                                         DAVISON            MI    48423‐1354
RAMIREZ, BENITO            326 REMOLINO                                                                          SAN ANTONIO        TX    78237‐3957
RAMIREZ, BLANCA L          1514 N FRANKLIN AVE                                                                   FLINT              MI    48506‐3769
RAMIREZ, CARLOS            LIPMAN DAVID M                  5901 SW 74TH ST STE 304                               MIAMI              FL    33143‐5163
RAMIREZ, CARLOS            44 CERES ST                                                                           PROVIDENCE         RI    02908‐2449
RAMIREZ, CARLOS A          520 BRISTOL PIKE UNIT 49                                                              ANDALUSIA          PA    19020‐6312
RAMIREZ, CARLOS O          9625 GAZA DR                                                                          EL PASO            TX    79927
RAMIREZ, CARLOS O          366 COACHMAN DR APT 3B                                                                TROY               MI    48083‐4745
RAMIREZ, CARLOS R          THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES       FL    33146
RAMIREZ, CARMEN            1810 STATE ST                                                                         SAGINAW            MI    48602‐5237
RAMIREZ, CARMEN J          2648 HIGHLAND AVE                                                                     YOUNGSTOWN         OH    44514
RAMIREZ, CARMEN T          13755 HUBBARD ST                                                                      SYLMAR             CA    91342‐4364
RAMIREZ, CAROL A           9062 RHYAN RD                                                                         WHITE LAKE         MI    48386‐4615
RAMIREZ, CARRIE F          10789 S US HIGHWAY 27                                                                 DEWITT             MI    48820‐8420
RAMIREZ, CATARINO V        68 W GILFORD RD                                                                       CARO               MI    48723
RAMIREZ, CESAR M           PO BOX 5394                                                                           ALOHA              OR    97006‐0394
RAMIREZ, CHARLES S         3700 BUCHANAN AVE SPC 36                                                              RIVERSIDE          CA    92503‐4867
RAMIREZ, CHERYL E          6131 STERLING DR                                                                      NEWPORT            MI    48166‐9647
RAMIREZ, CHRIS I           6620 WEYER RD                                                                         IMLAY CITY         MI    48444‐9647
RAMIREZ, CHRIS ISIAH       6620 WEYER RD                                                                         IMLAY CITY         MI    48444‐9647
RAMIREZ, CHRISTOPHER M     4306 S INDIAN LAKE DR                                                                 JANESVILLE         WI    53548‐9724
RAMIREZ, CLARA N           206 KALMIA DR                                                                         ARLINGTON          TX    76018‐1633
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Name                       Address1                        Address2                         Address3   Address4         City            State Zip
RAMIREZ, CONCEPCION        2207 LYRIC AVE                                                                               LOS ANGELES      CA 90027‐4751
RAMIREZ, CRISTOBAL L       1306 N AVENUE R                                                                              FREEPORT         TX 77541‐3716
RAMIREZ, CYNTHIA G         2218 CANSLER AVE                                                                             GADSDEN          AL 35904‐2505
RAMIREZ, DANIEL M          6705 BASSWOOD DR                                                                             FORT WORTH       TX 76135‐1527
RAMIREZ, DAVID             3600 RUTHERFORD DR                                                                           SPRING HILL      TN 37174‐2173
RAMIREZ, DAVID             ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                            HOUSTON          TX 77069
RAMIREZ, DAVID
RAMIREZ, DAVID A           616 AKEHURST LN                                                                              WHITE LAKE      MI    48386
RAMIREZ, DAVID C           11401 RINCON AVE                                                                             SAN FERNANDO    CA    91340‐4140
RAMIREZ, DAVID G           1209 KRUST DR                                                                                OWOSSO          MI    48867‐1923
RAMIREZ, DAVID GERARD      1209 KRUST DR                                                                                OWOSSO          MI    48867‐1923
RAMIREZ, DAVID M           5145 PLEASANT AVE APT 110                                                                    FAIRFIELD       OH    45014‐2628
RAMIREZ, DAVID T           1991 CRESCENT LAKE RD                                                                        WATERFORD       MI    48327‐1315
RAMIREZ, DAVID TODD        1991 CRESCENT LAKE RD                                                                        WATERFORD       MI    48327‐1315
RAMIREZ, DIANA             HOCKEMA TIPPIT & ESCOBEDO       1 PASEO DEL PRADO AVE BLDG 101                               EDINBURG        TX    78539‐1401

RAMIREZ, DOLORES           304 AMBROSIO LN                                                                              MARION          TX    78124‐3081
RAMIREZ, DOLORES           304 AMBROSIO LANE                                                                            MARION          TX    78124‐3081
RAMIREZ, DOMINGO D         17048 OAKWOOD AVE                                                                            LANSING         IL    60438‐1133
RAMIREZ, E                 CENTRAL FOUNDRY                                                                              DEFIANCE        OH    43512
RAMIREZ, EDELIA            YANTA VIRGIL W                  111 SOLEDAD, SUITE 222                                       SAN ANTONIO     TX    78205‐2219
RAMIREZ, EDGAR GARCIA
RAMIREZ, EFREN             9266 NIVER AVE                                                                               ALLEN PARK      MI    48101‐1542
RAMIREZ, ELISEO M          1156 CRESTON LN                                                                              SAN JOSE        CA    95122‐2732
RAMIREZ, ELIZABETH         190 N MERIDIAN AVE SPC 32                                                                    RIALTO          CA    92376‐0135
RAMIREZ, ELVIRA            119 JUDSON                                                                                   PONTIAC         MI    48342‐3033
RAMIREZ, ELVIRA            119 E JUDSON ST                                                                              PONTIAC         MI    48342‐3033
RAMIREZ, ERASMO            2400 THUNDERBIRD AVE                                                                         MCALLEN         TX    78504‐4234
RAMIREZ, ERNEST N          211 FLORA VISTA ST                                                                           SAN JACINTO     CA    92582‐3121
RAMIREZ, ERNESTO           512 S PENNSYLVANIA AVE                                                                       LANSING         MI    48912‐1731
RAMIREZ, EUGENIO S         1829 MAYFLOWER DR SW                                                                         WYOMING         MI    49519‐9663
RAMIREZ, EULALIO BRECEDA   STEVENSON & AMMONS ‐ ROBERT E   3700 MONTROSE BLVD                                           HOUSTON         TX    77006‐4624
                           AMMONS
RAMIREZ, EVER EDUARDO
RAMIREZ, EVERADO           926 BODARK LN                                                                                AUSTIN           TX   78745‐5545
RAMIREZ, EZEQUIEL
RAMIREZ, EZEQUIEL          7930 S LOWELL RD                                                                             SAINT JOHNS     MI    48879‐9344
RAMIREZ, FAUSTO            1580 EMERALD PINES DR.                                                                       CANTON          MI    48188‐2231
RAMIREZ, FELIPE            YANTA VIRGIL W                  111 SOLEDAD, SUITE 222                                       SAN ANTONIO     TX    78205‐2219
RAMIREZ, FELIX R           59211 HAMILTON CIRCLE                                                                        WASHINGTON      MI    48094‐3948
RAMIREZ, FERNANDO          4111 OGDEN HWY                                                                               ADRIAN          MI    49221‐8607
RAMIREZ, FERNANDO L        2773 LAGUNA SECA AVENUE                                                                      HENDERSON       NV    89052‐4430
RAMIREZ, FIDEL S           4401 BECKETT PL                                                                              SAGINAW         MI    48603‐2083
RAMIREZ, FLORENCE          214 SWAN AVE                                                                                 HOHENWALD       TN    38462
RAMIREZ, FLORENTINO        8549 SHALLOW CREEK DRIVE                                                                     FORT WORTH      TX    76179‐4380
RAMIREZ, FRANCISCA A       PO BOX 2827                                                                                  LAREDO          TX    78044‐2827
RAMIREZ, FRANCISCO         4403 VISTA GLEN CT                                                                           MANSFIELD       TX    76063‐8691
RAMIREZ, FRANCISCO O       3208 ISLAND HWY                                                                              CHARLOTTE       MI    48813‐9383
RAMIREZ, FRANK R           251 COUNTY ROAD 466                                                                          ALICE           TX    78332‐7701
RAMIREZ, FRANK S           811 SUNRIDGE DR                                                                              WAUPACA         WI    54981
RAMIREZ, FRANK T           2954 N 450 W                                                                                 KOKOMO          IN    46901‐9112
RAMIREZ, GARY              PO BOX 3548                                                                                  WICHITA FALLS   TX    76301‐0548
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Name                      Address1                           Address2                 Address3   Address4         City            State Zip
RAMIREZ, GELASIO          1300 SARATOGA AVE UNIT 402                                                              VENTURA          CA 93003‐6404
RAMIREZ, GENARO S         1001 COMFORT ST                                                                         LANSING          MI 48915‐1401
RAMIREZ, GEORGE           427 MONTEREY ST                                                                         KISSIMMEE        FL 34759‐6133
RAMIREZ, GEORGE A         11147 BLUCHER AVE                                                                       GRANADA HILLS    CA 91344‐4310
RAMIREZ, GEORGE D         156 W AVERILL ST                                                                        SPARTA           MI 49345‐1209
RAMIREZ, GEORGIE A        BOX 3806                                                                                ALAMO            TX 78516
RAMIREZ, GEORGIE A        PO BOX 3806                                                                             ALAMO            TX 78516
RAMIREZ, GILBERT          2278 GODDARD AVE                                                                        SIMI VALLEY      CA 93063‐2844
RAMIREZ, GILBERT          10816 VARIEL AVE                                                                        CHATSWORTH       CA 91311‐1462
RAMIREZ, GILBERT          395 1ST AVE                                                                             PONTIAC          MI 48340‐2801
RAMIREZ, GONZALO G        1832 CARRIAGE HOUSE CIR APT 1703                                                        ARLINGTON        TX 76011‐4431
RAMIREZ, GONZALO S        PO BOX 3806                                                                             ALAMO            TX 78516
RAMIREZ, GREGORY B        PO BOX 8007                                                                             FLINT            MI 48501‐8007
RAMIREZ, GREY Z           3525 JOSLYN ROAD                                                                        AUBURN HILLS     MI 48326
RAMIREZ, GUADALUPE        324 NW 84TH ST                                                                          OKLAHOMA CITY    OK 73114‐3404
RAMIREZ, HECTOR           939 CLEVELAND AVE                                                                       LINCOLN PARK     MI 48146‐2726
RAMIREZ, HECTOR R         6965 BULWER ST                                                                          DETROIT          MI 48210‐2827
RAMIREZ, HELEN T          9356 NAGLE AVE                                                                          ARLETA           CA 91331‐5911
RAMIREZ, HENRY R          12121 BEVERLY DR                                                                        WHITTIER         CA 90601‐2702
RAMIREZ, HERMELINDO       PO BOX 63                                                                               FALCON HTS       TX 78545‐0063
RAMIREZ, HERNAN           PO BOX 6585                                                                             BUENA PARK       CA 90622‐6585
RAMIREZ, HUGO E           27651 AUDREY AVE                                                                        WARREN           MI 48092‐2682
RAMIREZ, IRMA             KAHN & ASSOCIATES LLC              55 PUBLIC SQ STE 650                                 CLEVELAND        OH 44113‐1909
RAMIREZ, IRMA             FARRAR & BALL LLP                  1001 TEXAS ST STE 220                                HOUSTON          TX 77002‐3130
RAMIREZ, ISAAC            FARRAR & BALL LLP                  1001 TEXAS ST STE 220                                HOUSTON          TX 77002‐3130
RAMIREZ, ISAI             FARRAR & BALL LLP                  1001 TEXAS ST STE 220                                HOUSTON          TX 77002‐3130
RAMIREZ, ISAURO           211 S MCKINLEY RD                                                                       FLUSHING         MI 48433‐2039
RAMIREZ, ISI BETSABE      FARRAR & BALL LLP                  1001 TEXAS ST STE 220                                HOUSTON          TX 77002‐3130
RAMIREZ, ISIAH P          6620 WEYER RD                                                                           IMLAY CITY       MI 48444‐9647
RAMIREZ, ISMERAI IVANNA   FARRAR & BALL LLP                  1001 TEXAS ST STE 220                                HOUSTON          TX 77002‐3130
RAMIREZ, ISRAEL           FARRAR & BALL LLP                  1001 TEXAS ST STE 220                                HOUSTON          TX 77002‐3130
RAMIREZ, JACKELINE J      TAYLOR AND HODGES                  425 W BROADWAY STE 220                               GLENDALE         CA 91204‐1269
RAMIREZ, JAMES V          1829 DRIFTWOOD DR                                                                       EL CENTRO        CA 92243‐4157
RAMIREZ, JAR I            601 N PARK BLVD APT 1408                                                                GRAPEVINE        TX 76051
RAMIREZ, JEANETTE         15594 MALLORY CT                                                                        MOORPARK         CA 93021‐3250
RAMIREZ, JEANNE           4201 BRUNSWICK AVE                                                                      FLINT            MI 48507‐2528
RAMIREZ, JESSE            9062 RHYAN RD                                                                           WHITE LAKE       MI 48386‐4615
RAMIREZ, JESSE G          7906 MILTON AVE APT D                                                                   WHITTIER         CA 90602‐2042
RAMIREZ, JESSICA M        1450 E CINDY ST                                                                         CHANDLER         AZ 85225‐5407
RAMIREZ, JESUS            5036 OLD NILES FERRY RD                                                                 MARYVILLE        TN 37801‐0930
RAMIREZ, JESUS            105 N GROVER AVE                                                                        ALMA             MI 48801‐2511
RAMIREZ, JESUS A          PO BOX 5311                                                                             HUNTINGTON       IN 46750‐5311
RAMIREZ, JESUS D          PO BOX 58                                                                               FREELAND         MI 48623‐0058
RAMIREZ, JESUS F          7707 HARTWELL ST                                                                        DEARBORN         MI 48126‐1119
RAMIREZ, JHONATAN SOSA
RAMIREZ, JOE G            5155 W TROPICANA AVE UNIT 1030                                                          LAS VEGAS       NV   89103
RAMIREZ, JOE L            1824 W CALLE DE POMPAS                                                                  PHOENIX         AZ   85085‐8023
RAMIREZ, JOHN C           13932 DAVENTRY ST                                                                       PACOIMA         CA   91331‐3512
RAMIREZ, JOHN J           4734 HAGEMANN ST                                                                        KANSAS CITY     KS   66106‐3532
RAMIREZ, JOHN L           12817 BISCAYNE AVE                                                                      VICTORVILLE     CA   92392‐7267
RAMIREZ, JOHN M           9828 SKYLINE CIR LOT 6                                                                  SHREVEPORT      LA   71118
RAMIREZ, JOHNATHAN SOSA   HESSLER, TIMOTHY WADE              225 30TH ST STE 312                                  SACRAMENTO      CA   95816‐3359
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Name                          Address1                              Address2               Address3   Address4            City            State Zip
RAMIREZ, JOHNNY D             PO BOX 18                                                                                   SAN FERNANDO     CA 91341‐0018
RAMIREZ, JORGE                2805 MORTON AVE                                                                             ORLEANS          MI 48865‐9114
RAMIREZ, JORGE A              7334 INGOMAR LN                                                                             CLARKSTON        MI 48348‐5402
RAMIREZ, JOSE                 5800 SW 127TH AVE A‐2205                                                                    MIAMI            FL 33183
RAMIREZ, JOSE A               3036 E HIGHWAY 47                                                                           OLD MONROE       MO 63369‐2017
RAMIREZ, JOSE J               3170 ORCHARD LAKE RD LOT 1                                                                  KEEGO HARBOR     MI 48320‐1252
RAMIREZ, JOSE L               537 HARDING AVE                                                                             SAN FERNANDO     CA 91340‐2329
RAMIREZ, JOSEFA               8339 APPLE BLOSSOM LN                                                                       FLUSHING         MI 48433‐1192
RAMIREZ, JOSEPH               49430 MAYFLOWER CT                                                                          SHELBY TWP       MI 48315‐3961
RAMIREZ, JOSEPH D             348 CORNELL AVE                                                                             ELYRIA           OH 44035‐6645
RAMIREZ, JOY L                24996 HENDON ST                                                                             LAGUNA HILLS     CA 92653‐4606
RAMIREZ, JR., RONALD EUGENE   1509 S GALENA WAY APT 1021                                                                  DENVER           CO 80247‐3134
RAMIREZ, JR.,RONALD E         1509 S GALENA WAY APT 1021                                                                  DENVER           CO 80247‐3134
RAMIREZ, JUAN A               665 N COUNTY ROAD 1080                                                                      KINGSVILLE       TX 78363‐8845
RAMIREZ, JUAN C               260 W RUTGERS AVE                                                                           PONTIAC          MI 48340‐2762
RAMIREZ, JUAN J               30423 GLENBORO DRIVE                                                                        SPRING           TX 77386‐2525
RAMIREZ, JUANITA              3277 JANES AVE                                                                              SAGINAW          MI 48601‐6359
RAMIREZ, JUANITA              3277 JANES ST                                                                               SAGINAW          MI 48601‐6359
RAMIREZ, JULIAN               1158 ECKMAN AVE                                                                             PONTIAC          MI 48342‐1933
RAMIREZ, JULIO
RAMIREZ, JULIO A              11147 BLUCHER AVE                                                                           GRANADA HILLS   CA   91344‐4310
RAMIREZ, KANDI M              27709 ORIOLE CT                                                                             FLAT ROCK       MI   48134‐4711
RAMIREZ, KATHRYN J            5551 SW 140TH AVE                                                                           OCALA           FL   34481
RAMIREZ, KELLY SUE            810 SIDNEY ST                                                                               BAY CITY        MI   48706‐3873
RAMIREZ, KYLE J               6131 STERLING DR                                                                            NEWPORT         MI   48166‐9647
RAMIREZ, LIDYA M              1359 HILLTOP DR.                                                                            PONTIAC         MI   48340‐2172
RAMIREZ, LINDA S              70 W PRINCETON AVE                                                                          PONTIAC         MI   48340‐1836
RAMIREZ, LISA R               8100 W CARO RD                                                                              REESE           MI   48757‐9225
RAMIREZ, LORENZA              CALZ J REYES HEROLE                   #103 COL BUENA VISTA              ZACATECAS MEXICO
RAMIREZ, LORENZO S            4619 WOLVERINE DR                                                                           SAGINAW         MI 48603‐2967
RAMIREZ, LUIS                 2 DAKOTA CT                                                                                 SACRAMENTO      CA 95833‐1730
RAMIREZ, LUIS
RAMIREZ, LUIS M               11942 HIGHLAND ST                                                                           MOUNT MORRIS    MI 48458‐1409
RAMIREZ, LUPE                 630 BROWN ST                                                                                ALMA            MI 48801‐2804
RAMIREZ, LYDIA                7106 EDSEL LN                                                                               MODESTO         CA 95358‐9539
RAMIREZ, MACRINA
RAMIREZ, MANUEL J             625 WILLIAMSON AVE                                                                          LOS ANGELES     CA   90022‐3410
RAMIREZ, MANUEL S             5978 GRAND RIVER DR                                                                         GRAND LEDGE     MI   48837‐8911
RAMIREZ, MARCIAL M            1309 N WALNUT ST                                                                            LANSING         MI   48906‐4739
RAMIREZ, MARIA                37 SOUTH TUSCOLA RD.                                                                        BAY CITY        MI   48708‐9644
RAMIREZ, MARIA                37 N TUSCOLA RD                                                                             BAY CITY        MI   48708‐6975
RAMIREZ, MARIA                SAYRE FEDERICO CASTELAN LAW OFFICES   900 N BROADWAY FL 7                                   SANTA ANA       CA   92701‐3456
                              OF
RAMIREZ, MARIA                257 N AUSTIN ST                                                                             SAN BENITO      TX   78586‐4703
RAMIREZ, MARIA D              609 MAIN AVE                                                                                LAREDO          TX   78040
RAMIREZ, MARIA E              15865 GODDARD RD APT 205                                                                    SOUTHGATE       MI   48195‐4468
RAMIREZ, MARIA E              900 W BENNINGTON RD                                                                         OWOSSO          MI   48867‐9781
RAMIREZ, MARIA M              5133 JEFFERSON                                                                              HOUSTON         TX   77023‐3226
RAMIREZ, MARIA R              PO BOX 113                                                                                  ENCINAL         TX   78019‐0113
RAMIREZ, MARIA‐CECI           1132 N LOUISE ST APT 1                                                                      GLENDALE        CA   91207‐1613
RAMIREZ, MARIANO A            8100 W CARO RD                                                                              REESE           MI   48757‐9225
RAMIREZ, MARIANO J            2545 E AVENUE I SPC 86                                                                      LANCASTER       CA   93535‐1010
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Name                  Address1                          Address2                      Address3   Address4         City            State Zip
RAMIREZ, MARIE E      625 WILLIAMSON AVE                                                                          LOS ANGELES      CA 90022‐3410
RAMIREZ, MARIO        2003 UPLAND DR                                                                              FRANKLIN         TN 37067‐4090
RAMIREZ, MARTHA       1328 VISCONTI DR                                                                            COLTON           CA 92324‐1613
RAMIREZ, MARTIN       11942 HIGHLAND ST                                                                           MOUNT MORRIS     MI 48458‐1409
RAMIREZ, MARTIN G     368 WESTBROOK DR                                                                            O FALLON         MO 63366‐2463
RAMIREZ, MARTIN T     3944 CIRCLE DR 20                                                                           MASON            MI 48854
RAMIREZ, MARY H       4890 S RIDGESIDE CIR                                                                        ANN ARBOR        MI 48105‐9403
RAMIREZ, MARY L       11147 BLUCHER AVE                                                                           GRANADA HILLS    CA 91344‐4310
RAMIREZ, MATILDA      21552 BIRCH HILL                                                                            DIAMOND BAR      CA 91765
RAMIREZ, MAURO        1310 S 14TH AVE                                                                             EDINBURG         TX 78539‐5636
RAMIREZ, MICHAEL      1646 WOODHURST DR                                                                           DEFIANCE         OH 43512‐3442
RAMIREZ, MICHAEL A    6911 SCOTT WOODS CT NE                                                                      COMSTOCK PARK    MI 49321‐9620
RAMIREZ, MIGUEL H     584 TULANE ST                                                                               SAGINAW          MI 48604‐2249
RAMIREZ, MOISES       982 3D FOUR MILE RD NW                                                                      WALKER           MI 49544
RAMIREZ, MONICO T     637 GRIFFITH ST                                                                             SAN FERNANDO     CA 91340‐4010
RAMIREZ, NICHOLAS M   1404 NW AMESBURY RD                                                                         BLUE SPRINGS     MO 64015‐2412
RAMIREZ, NIEVES       APT 1417                          3501 SHORELINE DRIVE                                      AUSTIN           TX 78728‐4495
RAMIREZ, NIEVES       3501 SHORELINE DR                 APT 1417                                                  AUSTIN           TX 78728‐4495
RAMIREZ, NINA M       290 SO 22ND ST                                                                              SAN JOSE         CA 95116‐2725
RAMIREZ, NIVIA        86 23 51ST AVE 2ND FL                                                                       ELMHURST         NY 11373
RAMIREZ, OCTAVIO R    1564 HUBBARD ST                                                                             DETROIT          MI 48209‐3317
RAMIREZ, OLIVIA       2865 JAMES RD                                                                               AUBURN HILLS     MI 48326‐2111
RAMIREZ, PABLO G      4803 SHADOW CREST DR                                                                        ARLINGTON        TX 76018‐1092
RAMIREZ, PAUL Y       6 DELAWARE ST                                                                               PONTIAC          MI 48341‐1102
RAMIREZ, PEDRO        6204 JAMESON DR                                                                             WATERFORD        MI 48329‐3077
RAMIREZ, PEDRO G      6085 MAYBEE RD                                                                              CLARKSTON        MI 48346‐4709
RAMIREZ, PEDRO M      2819 W 36TH ST                                                                              CHICAGO           IL 60632‐1701
RAMIREZ, PEDRO O      1194 KENNY ST                                                                               OXNARD           CA 93036‐1851
RAMIREZ, PETER        8215 HASTY AVE                                                                              PICO RIVERA      CA 90660‐5326
RAMIREZ, PETER A      6539 ELMDALE RD                                                                             MIDDLEBRG HTS    OH 44130‐2614
RAMIREZ, PHOEBE Q     681 BORREGAS AVE                                                                            SUNNYVALE        CA 94086‐3018
RAMIREZ, PORFIRIO     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                        STREET, SUITE 600
RAMIREZ, RAFAEL G     1921 AVENUE D                                                                               GRAND PRAIRIE   TX   75051‐4532
RAMIREZ, RALPH        6150 LINDSEY LN                                                                             LANSING         MI   48911‐6342
RAMIREZ, RAMIRO A     908 S GRANGER ST                                                                            SAGINAW         MI   48602‐1601
RAMIREZ, RAMON        1343 S 27TH ST                                                                              KANSAS CITY     KS   66106‐2124
RAMIREZ, RAMON H      3010 BIGWOOD DR                                                                             SAN JOSE        CA   95127‐1805
RAMIREZ, RANDY        YANTA VIRGIL W                    111 SOLEDAD, SUITE 222                                    SAN ANTONIO     TX   78205‐2219
RAMIREZ, RAUL C       9102 CASCADE BASIN FLS                                                                      TOMBALL         TX   77375‐5354
RAMIREZ, RAYMOND R    15276 COBALT ST                                                                             SYLMAR          CA   91342‐2726
RAMIREZ, RENATO W     2433 ELMWOOD AVE                                                                            BERWYN          IL   60402‐2625
RAMIREZ, RENE R       3400 WILL SCARLET WAY                                                                       MODESTO         CA   95355
RAMIREZ, REYES        4133 MISTY SHORES DRIVE                                                                     DEFIANCE        OH   43512
RAMIREZ, RICARDO      3100 ISLAND HWY                                                                             CHARLOTTE       MI   48813‐8749
RAMIREZ, RICARDO
RAMIREZ, RICARDO E    118 S CEDAR ST                                                                              OWOSSO          MI   48867
RAMIREZ, RICARDO S    5216 YAGER DR # 82911                                                                       LEWISVILLE      TX   75056
RAMIREZ, RICHARD E    188 E FRANCIS RD                                                                            NEW LENOX       IL   60451‐1214
RAMIREZ, RICHARD J    17675 LAUREL RD                                                                             MORGAN HILL     CA   95037‐3104
RAMIREZ, RICK B       131 EVERGREEN DR                                                                            WICHITA FALLS   TX   76306
RAMIREZ, ROBERT       1020 WICKLOW WAY                                                                            CANYON LAKE     TX   78133‐3002
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Name                  Address1                        Address2                      Address3   Address4         City              State Zip
RAMIREZ, ROBERT       502 GREENWOOD TRL                                                                         OSSIAN             IN 46777‐9676
RAMIREZ, ROBERT L     801 ALLEN AVE                                                                             SOUTH BELOIT        IL 61080‐2023
RAMIREZ, ROBERT LEE   ERNSTER CLETUS P III            2700 POST OAK BLVD STE 1350                               HOUSTON            TX 77056‐5785
RAMIREZ, ROBERT M     645 W PLATA AVE                                                                           MESA               AZ 85210‐8330
RAMIREZ, ROBERT M     PO BOX 997                                                                                DRISCOLL           TX 78351‐0997
RAMIREZ, ROBERT M     16670 STATE ROUTE 115                                                                     COLUMBUS GROVE     OH 45830‐9273
RAMIREZ, ROBERTO      435 E COUNTY ROAD 2090                                                                    KINGSVILLE         TX 78363‐8844
RAMIREZ, ROBERTO      9741 S BURRELL ST                                                                         OAK CREEK          WI 53154‐5113
RAMIREZ, ROBERTO      KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                LOS ANGELES        CA 90036‐6101
RAMIREZ, ROBERTO      310 E MAIN ST                                                                             DEWITT             MI 48820‐8972
RAMIREZ, RODOLFO      LEMONLAWATTORNEYNET             9047 FLOWER ST                                            BELLFLOWER         CA 90706‐5605
RAMIREZ, RODOLFO R    5507 VIVIAN ST                                                                            DEARBORN HTS       MI 48125‐1885
RAMIREZ, RODRIGO      1520 SE 6TH AVE                                                                           CAPE CORAL         FL 33990‐2114
RAMIREZ, ROGELIO      2707 PEALE DR                                                                             SAGINAW            MI 48602‐3470
RAMIREZ, ROLANDO      PO BOX 744                                                                                MERCEDES           TX 78570‐0744
RAMIREZ, RONALD E     17160 MADISON ST                                                                          SOUTHFIELD         MI 48076‐1208
RAMIREZ, RONALD J     601 SOUTH MADISON AVENUE                                                                  LA GRANGE           IL 60525‐2804
RAMIREZ, ROSA
RAMIREZ, ROSA         8409 GARDEN ST                                                                            ALTA LOMA         CA   91701‐4540
RAMIREZ, ROY A        YANTA VIRGIL W                  111 SOLEDAD, SUITE 222                                    SAN ANTONIO       TX   78205‐2219
RAMIREZ, ROY V        33614 ARKSEY AVE                                                                          ACTON             CA   93510‐1454
RAMIREZ, RUBEN        665 N COUNTY ROAD 1080                                                                    KINGSVILLE        TX   78363‐8845
RAMIREZ, RUBEN R      1408 WOODSIDE AVE                                                                         BAY CITY          MI   48708‐5478
RAMIREZ, RUPERT M     13890 VAUGHN ST                                                                           PACOIMA           CA   91331‐2742
RAMIREZ, SAMUEL D     400 S MAIN ST                                                                             CAPAC             MI   48014‐3719
RAMIREZ, SANDRA       413 29TH ST                                                                               HIDALGO           TX   78557‐3619
RAMIREZ, SESARIO P    44805 N HILLS DR APT M125                                                                 NORTHVILLE        MI   48167‐2181
RAMIREZ, SHERI L      2605 SW 93RD ST                                                                           OKLAHOMA CITY     OK   73159‐6714
RAMIREZ, SHIRLEY      101 BENT CREEK DR                                                                         GARLAND           TX   75040‐1153
RAMIREZ, SIBERIO C    14050 TOURMALINE DR                                                                       RENO              NV   89521‐9609
RAMIREZ, SOSTENES     7125 W 74TH ST                                                                            CHICAGO           IL   60638‐5926
RAMIREZ, STEVEN       2207 LYRIC AVE                                                                            LOS ANGELES       CA   90027‐4751
RAMIREZ, STEVEN A     201 LAKEWOOD POINT DR                                                                     BOSSIER CITY      LA   71111‐2175
RAMIREZ, STEVEN E     1938 ENGLEWOOD AVE                                                                        MADISON HEIGHTS   MI   48071‐1053
RAMIREZ, SUSANA       1307 NW CARDIFF DR                                                                        BLUE SPRINGS      MO   64015‐2422
RAMIREZ, SYLVIA
RAMIREZ, TELESFORO    8339 APPLE BLOSSOM LN                                                                     FLUSHING          MI 48433‐1192
RAMIREZ, TERESA G     523 HAIG ST                                                                               DEFIANCE          OH 43512‐3013
RAMIREZ, THERESA
RAMIREZ, THOMAS       38435 TIMPANOGAS CIR                                                                      FREMONT           CA   94536‐1853
RAMIREZ, TINA M       3070 TWINLEAF ST                                                                          COMMERCE TWP      MI   48382‐4260
RAMIREZ, TOMAS G      4399 7TH ST                                                                               ECORSE            MI   48229‐1115
RAMIREZ, TOMMY V      PO BOX 997                                                                                FILLMORE          CA   93016‐0997
RAMIREZ, TRISHA L     859 STONY POINT CT                                                                        DEFIANCE          OH   43512‐1341
RAMIREZ, VANESA       746 A ST                                                                                  FILLMORE          CA   93015‐1211
RAMIREZ, VERONICA     4399 7TH ST                                                                               ECORSE            MI   48229‐1115
RAMIREZ, VICENTE      340 6TH ST                                                                                IMLAY CITY        MI   48444‐1057
RAMIREZ, VICENTE G    8833 SNOWDEN AVE                                                                          ARLETA            CA   91331‐6135
RAMIREZ, VICKIE M     35 ANN ST                                                                                 COOPERSVILLE      MI   49404‐1114
RAMIREZ, VICTOR C     1704 LE NICHE LN                                                                          LANCASTER         CA   93535‐4464
RAMIREZ, VICTOR L     9552 GERALD AVE                                                                           NORTHRIDGE        CA   91343‐2633
RAMIREZ, VIRGILIO     PO BOX 1112                                                                               BRONX             NY   10452
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Name                        Address1                       Address2                      Address3   Address4         City              State Zip
RAMIREZ, VIRGINIA           637 GRIFFITH ST                                                                          SAN FERNANDO       CA 91340‐4010
RAMIREZ, WANDA L            APT G                          565 WEST DICKEY ROAD                                      GRAND PRAIRIE      TX 75051‐3186
RAMIREZ, WANDA LOUISE       APT G                          565 WEST DICKEY ROAD                                      GRAND PRAIRIE      TX 75051‐3186
RAMIREZ, WILMA              1991 CRESCENT LAKE RD                                                                    WATERFORD          MI 48327‐1315
RAMIREZ, YOLANDA            ELCO ADMINISTRATIVE SERVICES   P.O BOX 560706                                            DALLAS             TX 75356
                            COMPANY
RAMIREZ, YOLANDA D          12811 TEAL OAKS LN                                                                       HOUSTON           TX   77041
RAMIREZ‐ALMOND, SHERRIE L   822 W WILDWOOD AVE                                                                       FORT WAYNE        IN   46807‐1643
RAMIRO A SALDANA            PO BOX 372                                                                               ELWOOD            IN   46036‐0372
RAMIRO AZEVEDO              7 DOUGLAS MOWBRAY RD                                                                     CORTLANDT MANOR   NY   10567‐4303
RAMIRO BARAJAS              4409 ALDER DR                                                                            FLINT             MI   48506‐1451
RAMIRO BLANCO               3010 NOBLE ST                                                                            ANDERSON          IN   46016‐5472
RAMIRO BRISENO              797 WAVERLY RD                                                                           DIMONDALE         MI   48821‐9661
RAMIRO CABRALES             523 HULL AVE                                                                             SAN JOSE          CA   95125‐1650
RAMIRO CAMARENA             3827 W 55TH ST                                                                           CHICAGO           IL   60632‐3718
RAMIRO CANAS                THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON           TX   77017
RAMIRO CANTU JR             904 WINTERCREST CT                                                                       ARLINGTON         TX   76017‐6100
RAMIRO CAVASOS SR           1064 HARDING ST NW                                                                       GRAND RAPIDS      MI   49544‐1843
RAMIRO CENA                 102 SUNSET DR                                                                            LAREDO            TX   78041‐2636
RAMIRO ESTRADA              16 SPRING HILL LN                                                                        BETHEL            CT   06801‐2726
RAMIRO FERREIRA             1515 SMOKEDRIFT LN                                                                       LANSING           MI   48917‐1272
RAMIRO GARCIA               3551 MILLICENT CT                                                                        SAN JOSE          CA   95148‐1414
RAMIRO GARZA                PO BOX 8059                                                                              BAYTOWN           TX   77522‐8059
RAMIRO GARZA JR             8176 COUNTY ROAD FG                                                                      DELTA             OH   43515‐9474
RAMIRO GONZALES             226 E JACKSON ST                                                                         LANSING           MI   48906‐4017
RAMIRO GONZALES             31171 SAPPHIRE DR                                                                        BROWNSTOWN        MI   48173‐8747
RAMIRO GUAJARDO             201 W 17TH ST                                                                            SAN JUAN          TX   78589‐2585
RAMIRO GUERRA               3824 N SCHUERBACH RD                                                                     MISSION           TX   78574‐5762
RAMIRO GUZMAN               5824 PONCE CT                                                                            SAN JOSE          CA   95120‐1722
RAMIRO GUZMAN               7507 VAIL VALLEY DR                                                                      AUSTIN            TX   78749‐2934
RAMIRO HERNANDEZ            16803 LONDELIUS ST                                                                       NORTHRIDGE        CA   91343‐4549
RAMIRO HERNANDEZ III        5537 HOMESTEAD RD                                                                        ARLINGTON         TX   76017‐3066
RAMIRO HERRERA              304 S ELM ST                                                                             SAGINAW           MI   48602‐1855
RAMIRO HINOJOSA             23847 EDWARD ST                                                                          DEARBORN          MI   48128‐1223
RAMIRO JIMENEZ              PO BOX 585                                                                               DANVILLE          IL   61834‐0585
RAMIRO LISABET
RAMIRO LONGORIA JR          948 PETTIBONE AVE                                                                        FLINT             MI   48507‐1764
RAMIRO MORALES              PO BOX 1021                                                                              SANTA TERESA      NM   88008‐1021
RAMIRO RODRIGUEZ            614 E WAYNE ST                                                                           PAULDING          OH   45879‐1426
RAMIRO SALDANA              PO BOX 372                                                                               ELWOOD            IN   46036‐0372
RAMIRO SANDOVAL             903 BRANCH CREEK DR                                                                      MANSFIELD         TX   76063‐2855
RAMIRO SINGLETERRY          1214 S CLEMENS AVE                                                                       LANSING           MI   48912‐2504
RAMIRO TORREZ               718 DURANT ST                                                                            LANSING           MI   48915‐1327
RAMIRO TORREZ               PO BOX 872                                                                               TALLEVAST         FL   34270‐0872
RAMIRO TREJO                1400 SW 131ST WAY APT 408                                                                PEMBROKE PINES    FL   33027‐2472
RAMIRO VELA                 2506 PLOVER ST                                                                           VICTORIA          TX   77901‐7337
RAMIRO VILLANUEVA           7266 N SILVERY LN                                                                        DEARBORN HTS      MI   48127‐1735
RAMIRO VILLARREAL           9130 WATER RD                                                                            HOLLY             MI   48442‐9165
RAMIRO VILLARREAL           7494 GROVE ST                                                                            SWARTZ CREEK      MI   48473‐1412
RAMIZ SHAMAN                36857 ARLENE DRIVE                                                                       STERLING HTS      MI   48310‐4314
RAMIZ, MARIO E              6925 N GULLEY RD                                                                         DEARBORN HTS      MI   48127‐2034
RAMJIT, GURUCHARAN          209 S ESSEX AVE                                                                          ORANGE            NJ   07050‐3401
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RAMJOHN PATRICIA       RAMJOHN, PATRICIA              325 NW 189TH ST                                                MIAMI               FL 33169‐3946
RAMJOHN, PATRICIA      325 NW 189TH ST                                                                               MIAMI               FL 33169‐3946
RAMKE, ILSE M          7245 WOODHAVEN DR                                                                             LOCKPORT            NY 14094‐6242
RAMKUMAR BENIWAL       571 BEE ST                                                                                    MERIDEN             CT 06450
RAMLA PTY LTD          796 HIGH ST                                                         KEW EAST VI 3102
                                                                                           AUSTRALIA
RAMLA PTY LTD          53 SHEEHAN RD                                                       HEIDELBERG WEST VI 3081
                                                                                           AUSTRALIA
RAMLAWI, NABIL A       44249 SUFFOLK CT                                                                              CANTON             MI   48187‐2129
RAMLOW, DONALD D       3915 SW 9TH AVE APT 117                                                                       CAPE CORAL         FL   33914‐7937
RAMLOW, DONALD N       8440 BEERS RD                                                                                 SWARTZ CREEK       MI   48473‐9101
RAMLOW, RICHARD R      314 PINE ST                                                                                   JOLIET             IL   60435‐7126
RAMM SR, ROGER R       3683 ORCHARD HILL DR                                                                          CANFIELD           OH   44406‐9268
RAMM, ELIZABETH C      3107 GLEN ELYN BLVD                                                                           SARASOTA           FL   34237‐3632
RAMM, JAMES R          5121 BRANDON RD                                                                               TOLEDO             OH   43615‐4707
RAMM, JOHN             6745 DAWNING DR                                                                               BROOKLYN           OH   44144‐3544
RAMM, PATRICIA N       14 CAPTAIN JOHN SMITH LOOP                                                                    NORTH FORT MYERS   FL   33917
RAMM, TODD A           1254 BRIGHAM WAY                                                                              GENEVA             IL   60134‐2924
RAMM, TODD ANDREW      1254 BRIGHAM WAY                                                                              GENEVA             IL   60134‐2924
RAMM, VIVIAN           3683 ORCHARD HILL DR                                                                          CANFIELD           OH   44406‐9268
RAMMACHER, DIANA L     803 MERRILL                                                                                   LANSING            MI   48912‐4325
RAMMACHER, DIANA L     803 MERRILL ST                                                                                LANSING            MI   48912‐4325
RAMMACHER, MARY T      12782 WATERVIEW ST                                                                            GOWEN              MI   49326‐9778
RAMMEL, CAMILLE A      5260 MARSHALL RD                                                                              DAYTON             OH   45429
RAMMEL, LARRY F        6879 ARCANUM BEARSMILL RD                                                                     GREENVILLE         OH   45331‐9274
RAMMEL, MONICA S       8539 SWEET POTATO RIDGE RD                                                                    BROOKVILLE         OH   45309‐9609
RAMMEL, THOMAS G       7125 FRUITVILLE RD             # 995                                                          SARASOTA           FL   34240‐8957
RAMMEL, VERA L         4549 CRESTSHIRE DR                                                                            KETTERING          OH   45440
RAMMING, BETTY         224 STARK ROAD                                                                                SOUTH COLTON       NY   13687
RAMMING, BETTY         224 STARK RD                                                                                  SOUTH COLTON       NY   13687‐3416
RAMMING, BRETT R       63 SUNSET COVE CIR                                                                            EASTLAKE           OH   44095‐1466
RAMMING, DOROTHY J     7974 CHESTNUT RIDGE RD                                                                        GASPORT            NY   14067‐9277
RAMMING, FRANCES S     23 BRAMLEIGH RD                                                                               LUTHERVILLE        MD   21093‐5708
RAMMING, GARY C        5016 LITTLE STATON RD                                                                         MARSHVILLE         NC   28103‐7658
RAMMING, GERALDINE M   911 OAK GROVE RD                                                                              ROCKY MOUNT        NC   27804‐9547
RAMMING, JOHN K        7974 CHESTNUT RIDGE RD                                                                        GASPORT            NY   14067‐9277
RAMMING, KELLY J       1960 THREE SPRINGS ROAD                                                                       BOWLING GREEN      KY   42104‐8701
RAMMING, KELLY JEAN    1960 THREE SPRINGS ROAD                                                                       BOWLING GREEN      KY   42104‐8701
RAMMING, PATRICIA J    1633 HESS RD                                                                                  APPLETON           NY   14008‐9610
RAMMING, VIRGINIA F    2175 S JODI PL                                                                                DEWEY              AZ   86327‐6831
RAMNANI SAMEER         66 ROSE DR                                                                                    EAST MEADOW        NY   11554‐1134
RAMNANI, BHAGWAN P     19734 BOUMA AVENUE                                                                            CERRITOS           CA   90703‐6712
RAMO, MICHELE M        750 RIVER EDGE CT                                                                             FLUSHING           MI   48433‐2130
RAMOIE, LAVERNE E      1078 EMERALD FOREST LN                                                                        DAVISON            MI   48423‐9024
RAMOIE, RICHARD A      7083 BRANCH ST                                                                                MOUNT MORRIS       MI   48458‐9472
RAMOINO, BERNARD J     4121 BOULDER DR                                                                               JANESVILLE         WI   53546‐3465
RAMOINO, DEAN M        4121 BOULDER DR                                                                               JANESVILLE         WI   53546‐3465
RAMON A ALVAREZ        285 AYCRIGG AVE. APT. 10 F                                                                    PASSAIC            NJ   07055
RAMON ABREGO           5737 GRAVES ST                                                                                WATERFORD          MI   48327‐1908
RAMON ABREGO JR        16479 CRAIG DR                                                                                OAK FOREST         IL   60452‐4341
RAMON ABREU            1068 FAIRMONT DR                                                                              COLUMBIA           TN   38401‐7709
RAMON AGUILAR          333 E RIVERDALE DR                                                                            EDGERTON           WI   53534‐8454
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RAMON ALAMO             HC 2 BOX 3923                                                                                                               LUQUILLO            PR 00773‐9820
RAMON ALFONSO           PO BOX 211                                                                                                                  JUANA DIAZ          PR 00795‐0211
RAMON ALVAREZ           4587 SANTA CLARA AVE                                                                                                        MIDDLEBURG          FL 32068‐6341
RAMON ALVAREZ           36037 56TH ST E                                                                                                             PALMDALE            CA 93552‐6312
RAMON ALVAREZ           383 ROYAL OAK BLVD                                                                                                          RICHMOND HTS        OH 44143‐1709
RAMON ANZALDUA          5108 GRANDE CIR                                                                                                             HARLINGEN           TX 78552‐8915
RAMON B RAKE            1550 N MORSE ST                                                                                                             WHEATON              IL 60187‐3436
RAMON BAKER             PO BOX 2731                                                                                                                 PORT ARANSAS        TX 78373‐2731
RAMON BAKERJIAN         28384 E GREENMEADOW CIR                                                                                                     FARMINGTON HILLS    MI 48334‐5154
RAMON BASULTO           7031 TEAK WAY                                                                                                               RANCHO CUCAMONGA    CA 91701‐5918
RAMON BELL              747 WOODLAWN DR                                                                                                             TOLEDO              OH 43612‐4332
RAMON BENSEN            115 S HELEN AVE                                                                                                             ROCHESTER HILLS     MI 48307‐2527
RAMON BERNUS            NO                                    NUESTRA SE╤ORA DEL CARMEN, 143                               SANT ADRIA DEL BESOS ‐
                                                              BJ                                                           BARCELONA 8930 SPAIN
RAMON BETANCOURT        8561 E MONROE RD                                                                                                            WHEELER            MI   48662‐8703
RAMON BLESSING          7220 5 MILE RD                                                                                                              CINCINNATI         OH   45230‐3926
RAMON CANALES           13946 DUCHARME DR                                                                                                           DEWITT             MI   48820‐9653
RAMON CARBAJAL          44136 61ST ST W                                                                                                             LANCASTER          CA   93536‐1704
RAMON CARTES            PO BOX 80                                                                                          CANETE CHILE
RAMON CASTILLO          PO BOX 443                                                                                                                  MEDINA             NY 14103‐0443
RAMON CASTILLON         2215 WEMBLEY DOWNS DR                                                                                                       ARLINGTON          TX 76017‐4548
RAMON CERCOS            ATTN JULIAN ESCRIBANO                 BANCO SABADELL ‐ MIAMI BRANCH    2 SOUTH BISCAYNE BLVD STE                            MIAMI              FL 33131
                                                                                               3301
RAMON CHAPLIN           9107 N 500 E                                                                                                                ALEXANDRIA         IN   46001‐8285
RAMON CINTRON           51 FERNWOOD PARK                                                                                                            ROCHESTER          NY   14609‐2662
RAMON COFFEY            6937 SHELLCROSS DR                                                                                                          DAYTON             OH   45424‐2204
RAMON COLON             297 W YALE AVE                                                                                                              PONTIAC            MI   48340‐1752
RAMON CORONA            33360 13TH ST                                                                                                               UNION CITY         CA   94587‐2214
RAMON CORTES            BEVAN & ASSOCIATES, LPA, INC.           6555 DEAN MEMORIAL PARKWAY                                                          BOSTON HTS.        OH   44236
RAMON CRESPO            27288 M40                                                                                                                   PAW PAW            MI   49079
RAMON DE JESUS          11558 GRAZELEY CT                                                                                                           ORLANDO            FL   32837‐5777
RAMON DELOSSANTOS       1175 W RATHBUN RD                                                                                                           BURT               MI   48417‐9641
RAMON DEPRADA           213 RIVERVIEW PL                                                                                                            CLIFFSIDE PK       NJ   07010‐1112
RAMON DIAZ              7750 56TH AVE                                                                                                               HUDSONVILLE        MI   49426‐9732
RAMON DIAZ              11 HARTLAND CT                                                                                                              COLONIA            NJ   07067‐1907
RAMON DOMINGUEZ         1778 DE WINTON PL                                                                                                           LAWRENCEVILLE      GA   30043‐5019
RAMON DOTSON            9620 DEVERS RD                                                                                                              SHREVEPORT         LA   71119‐9794
RAMON DURAN             1571 REBECCA RUN                                                                                                            HUDSONVILLE        MI   49426‐9576
RAMON DUYOS             524 MORRIS AVE                                                                                                              ELIZABETH          NJ   07208
RAMON EDMONDS           3013 S GENESEE RD                                                                                                           BURTON             MI   48519
RAMON ELOSEGUI          4601 HEMLOCK LOOP                                                                                                           CLARKSTON          MI   48348‐1362
RAMON ESPINAL           856 NW 206TH TER                                                                                                            MIAMI              FL   33169‐2385
RAMON ESPINOZA JR       1002 W 4TH ST                                                                                                               WESLACO            TX   78596‐5709
RAMON F ACCETTELLA JR   C/O AMERIPRISE FINANCIAL SERVICES, INC. 401 FRANKLIN AVE, SUITE 101                                                         GARDEN CITY        NY   11530

RAMON FARIA JR          C/O BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                            BOSTON HTS.        OH   44236
RAMON FELICIANO         644 COLLIER RD                                                                                                              PONTIAC            MI   48340‐1310
RAMON G HAWLEY          10309 N LEWIS RD                                                                                                            CLIO               MI   48420‐7938
RAMON GAFFORD           319 GOVERNORS DR                                                                                                            FLORESVILLE        TX   78114‐4250
RAMON GARCIA            226 S CLEMENS AVE                                                                                                           LANSING            MI   48912‐3006
RAMON GARIBAY           211 W LEDGE DR                                                                                                              LANSING            MI   48917‐9225
RAMON GARZA             1920 ARLINGTON ST                                                                                                           KINGMAN            AZ   86401‐6211
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RAMON GILL          1505 TERRAWENDA DR                                                                         DEFIANCE          OH 43512‐3244
RAMON GODINEZ       1932 DAYTON ST                                                                             SAGINAW           MI 48601‐4942
RAMON GOMEZ         1447 NW 156TH AVE                                                                          PEMBROKE PINES    FL 33028‐1665
RAMON GOMEZ         10301 BOND RD                                                                              DEWITT            MI 48820‐9781
RAMON GONZALES      1258 S FETTERLY AVE                                                                        LOS ANGELES       CA 90022‐3708
RAMON GONZALEZ      PO BOX 862                                                                                 PENITAS           TX 78576‐0862
RAMON GONZALEZ      8795 DAVEY DR                                                                              NEWPORT           MI 48166‐8852
RAMON GONZALEZ      32 COUNTRY WOOD DR                                                                         PHILLIPS RANCH    CA 91766‐4818
RAMON GONZALEZ JR   2055 DELANEY ST                                                                            BURTON            MI 48509‐1022
RAMON GRABEL        490 TAHOE TRL                                                                              MARTIN            GA 30557‐2564
RAMON GUERRA        713 S 41ST ST                                                                              MCALLEN           TX 78501‐8412
RAMON H BAKER       PO BOX 2731                                                                                PORT ARANSAS      TX 78373‐2731
RAMON H PADILLA     79 CAMEO PL                                                                                COLONIA           NJ 07067
RAMON HARPER        1931 N BOWMAN AVENUE RD APT A                                                              DANVILLE           IL 61832‐2041
RAMON HAWLEY        10309 N LEWIS RD                                                                           CLIO              MI 48420‐7938
RAMON HEADAPOHL     2 MIDSHIPS LN                                                                              SALEM             SC 29676‐4430
RAMON HECKMAN       1013 MILTON BLVD                                                                           NEWTON FALLS      OH 44444‐9792
RAMON HERNANDEZ     2277 E BRISTOL RD                                                                          BURTON            MI 48529‐1326
RAMON HERNANDEZ     4540 KEWEENAW DR                                                                           OKEMOS            MI 48864‐1821
RAMON HERNANDEZ     12108 BELLOWS COURT                                                                        EL PASO           TX 79936
RAMON HICKS         9652 CHASE BRIDGE RD                                                                       ROSCOMMON         MI 48653‐9772
RAMON HILL          8393 ILENE DR                                                                              CLIO              MI 48420‐8518
RAMON HILTON        40 HAWKINS HWY                                                                             BROOKLYN          MI 49230
RAMON HUTCHINS      PO BOX 149                        6814 SAGINAW ST                                          NORTH BRANCH      MI 48461‐0149
RAMON JOHNSON       357 COMMONWEALTH AVENUE                                                                    CONCORD           MA 01742‐2003
RAMON JOHNSON       8458 GENEVA RD                                                                             PASADENA          MD 21122‐2639
RAMON JR, JESSE G   704 NE WINDROSE CT APT B                                                                   KANSAS CITY       MO 64155‐3233
RAMON JR, JESSE G   809 SWEETGUM ST                                                                            MOORE             OK 73160
RAMON JR, JOE       2600 HEMKER LN                                                                             MANISTEE          MI 49660‐9660
RAMON KINKADE       7137 WEDWORTH ST                                                                           WATERFORD         MI 48327‐3762
RAMON LANTIGUA      1421 SYDNEY MILL DR                                                                        BUFORD            GA 30519‐7347
RAMON LEDESMA       607 RICHARD AVE                                                                            LANSING           MI 48917‐2750
RAMON LEVARIO       6423 JOHNSON RD                                                                            FLUSHING          MI 48433‐1137
RAMON LIGHTSEY      30805 WOODGATE DR                                                                          SOUTHFIELD        MI 48076‐1062
RAMON LIRA JR       13821 HAMERSLEY DR                                                                         BATH              MI 48808‐8461
RAMON LUCIANO       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH 44236
RAMON MANNA         8585 SHADY GLEN TRL                                                                        POLAND            OH 44514‐5836
RAMON MARTINEZ      1540 SUNGATE DR                                                                            CERES             CA 95307‐9395
RAMON MARTINEZ      26183 ANNAGROVE LN                                                                         CHESTERFIELD      MI 48051‐2644
RAMON MATOS         PO BOX 22081                                                                               TRENTON           NJ 08607‐0081
RAMON MCGEE         3561 RIDGECLIFFE DR                                                                        FLINT             MI 48532‐3740
RAMON MEJIA         16045 E 123RD AVE                                                                          BRIGHTON          CO 80603‐6945
RAMON MELLA         8312 S 77TH CT                                                                             BRIDGEVIEW         IL 60455‐1743
RAMON MERVAU        11804 LAPPLEY AVE NE                                                                       ROCKFORD          MI 49341‐9576
RAMON MOLINA        1021 AVENUE A                                                                              FLINT             MI 48503‐1401
RAMON MONT          2425 ADAIR ST                                                                              FLINT             MI 48506‐3417
RAMON MONTEZ        7375 BECKWOOD DR                                                                           FORT WORTH        TX 76112‐5927
RAMON MORALES       8610 HONILEY ST                                                                            SAN ANTONIO       TX 78254‐2207
RAMON NATAL         392 DELAVAN ST                                                                             NEW BRUNSWICK     NJ 08901‐2351
RAMON NATAL         392 DELAVAN STREET                                                                         NEW BRUNSWICK     NJ 08901‐2351
RAMON NIEVES        CALLE GUARAGUAO VISTA DEL MORRO                                                            TACANO            PR 00962
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Name                     Address1                             Address2                         Address3     Address4                City                 State Zip
RAMON NIEVES             THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES                22ND FLOOR                           BALTIMORE             MD 21201

RAMON NORRIS SR          1179 CEDAR AVE                                                                                             CINCINNATI           OH 45224‐2665
RAMON NUNEZ              6800 RASBERRY LN APT 2606                                                                                  SHREVEPORT           LA 71129‐2527
RAMON ORTEGON JR         PO BOX 366                                                                                                 LA PRYOR             TX 78872‐0366
RAMON ORTI GINER         C/ CREIXELL, 73                      08720 ‐ VILAFRANCA DEL PENEDES
                                                              (BARCELON
RAMON ORTIZ              4474 W ROSE HILL DR                                                                                        LOS ANGELES          CA   90032‐2544
RAMON ORTIZ              52826 PAINT CREEK DR                                                                                       MACOMB               MI   48042‐2961
RAMON PATINO             216 GLEN VIEW TER                                                                                          ABINGDON             MD   21009‐3114
RAMON PAULINO            601 W 136TH ST APT 5                                                                                       NEW YORK             NY   10031‐8130
RAMON PEREZ              PO BOX 407                                                                                                 ENCINAL              TX   78019‐0407
RAMON PEREZ              BEVAN & ASSOCIATES, LPA, INC         6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS           OH   44236
RAMON PEREZ              36 MARINA GARDENS DR                                                                                       PALM BEACH GARDENS   FL   33410‐3503
RAMON R BUCIO            2426 CATALPA DR                                                                                            DAYTON               OH   45406‐2155
RAMON R GARZA            1920 ARLINGTON ST                                                                                          KINGMAN              AZ   86401‐6211
RAMON RAKE               1550 N MORSE ST                                                                                            WHEATON              IL   60187‐3436
RAMON RAMIREZ            1343 S 27TH ST                                                                                             KANSAS CITY          KS   66106‐2124
RAMON RAMOS              THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                           HOUSTON              TX   77017
RAMON RAMSEY             209 WASHBOARD RD                                                                                           SPRINGVILLE          IN   47462‐5177
RAMON RANGEL             44251 WHITHORN DR                                                                                          STERLING HTS         MI   48313‐1059
RAMON RIVERA             164 BOWIE LN APT B                                                                                         KISSIMMEE            FL   34743‐4016
RAMON RIVERA             C/O BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS           OH   44236
RAMON RIVERA JR          BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                            BOSTON HEIGHTS       OH   44236
RAMON RODRIGUEZ          1505 JEROME ST                                                                                             LANSING              MI   48912‐2219
RAMON RODRIGUEZ          2306 FORDNEY ST                                                                                            SAGINAW              MI   48601‐4812
RAMON RODRIGUEZ          4594 PINE SHADOW CT NW                                                                                     LILBURN              GA   30047‐3540
RAMON RODRIGUEZ          7527 MAYFAIR ST                                                                                            TAYLOR               MI   48180‐2604
RAMON RODRIGUEZ JR       6 SEMINARY CT                                                                                              TOWNSEND             DE   19734‐2034
RAMON ROMAN              PO BOX 488                                                                                                 MERIDEN              CT   06450‐0488
RAMON ROMO               10117 TANTARRA DR                                                                                          BURLESON             TX   76028‐7860
RAMON ROOD               PO BOX 26                                                                                                  DUNBRIDGE            OH   43414‐0026
RAMON ROSADO             13 S MIDLAND DR                                                                                            PONTIAC              MI   48342‐2961
RAMON ROSADO             806 VALLEY HILL DR                                                                                         BRANDON              FL   33510‐3550
RAMON RUFFIN             49839 LABAERE DR                                                                                           MACOMB               MI   48044‐1257
RAMON RUIZ               711 OLD CANYON RD SPC 22                                                                                   FREMONT              CA   94536‐1763
RAMON RUIZ               55 CALLE MANUEL CORCHADO                                                                                   MAYAGUEZ             PR   00682‐5706
RAMON RUIZ               535 GREENBAY AVE                                                                                           CALUMET CITY         IL   60409‐3431
RAMON SAGRISTA PACAREU   AVDA MERIDIANA 27                    3RD FLOOR                                     08018 BARCELONA SPAIN
RAMON SANABRIA           4773 PARKRIDGE DR                                                                                          WATERFORD            MI   48329‐1646
RAMON SANCHEZ            4105 ROHR RD                                                                                               LAKE ORION           MI   48359‐1943
RAMON SARRAGA            5110 LYONS CIR S                                                                                           WARREN               MI   48092‐4412
RAMON SARRAGA            5110 SOUTH LYONS CIRCLE                                                                                    WARREN               MI   48092
RAMON SEPEDA             PO BOX 3308                                                                                                BONITA SPRINGS       FL   34133
RAMON SERVIN             3903 WEST TRAVIS STREET                                                                                    SAN ANTONIO          TX   78207‐3234
RAMON SESE               8740 RIVER RUN DR                                                                                          WHITE LAKE           MI   48386‐4611
RAMON SHIMMONS           2803 HOYT ST                                                                                               NILES                MI   49120‐9425
RAMON SILVA              138 E RUDDY DUCK CIR                                                                                       OXFORD               PA   19363‐4210
RAMON SOLANO             721 ALLENCREST DR                                                                                          ARLINGTON            TX   76001‐7346
RAMON SOLIS              971 RIVER ROCK                                                                                             NEW BRAUNFELS        TX   78130‐2408
RAMON T WITKOWSKI        APT 1                                2107 STIRRUP LANE                                                     TOLEDO               OH   43613‐1631
RAMON TORRES             2305 CARLYSLE COVE DR                                                                                      LAWRENCEVILLE        GA   30044‐2277
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Name                     Address1                        Address2                     Address3   Address4         City               State Zip
RAMON TORRES             9257 ESSEX ST                                                                            ROMULUS             MI 48174‐1579
RAMON TORRES             1706 VAN WAGONER DR                                                                      SAGINAW             MI 48638‐4415
RAMON TORRES             BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS      OH 44236
RAMON TREVINO            111 PARKHURST ST                                                                         PONTIAC             MI 48342‐2642
RAMON TREVINO JR.        994 CHELSEA BLVD                                                                         OXFORD              MI 48371‐3599
RAMON VALENTE            1928 NE 24TH TER                                                                         CAPE CORAL          FL 33909‐4525
RAMON VALLES             333 CLELA AVE                                                                            LOS ANGELES         CA 90022‐1913
RAMON VEGA               21750 IVANHOE TRL                                                                        PLAINFIELD           IL 60544‐6989
RAMON VILLARREAL JR      202 ALICE ST                                                                             SAGINAW             MI 48602‐2703
RAMON VILLEGAS           750 PINE DR APT 8                                                                        POMPANO BEACH       FL 33060‐7281
RAMON WITKOWSKI          2107 STIRRUP LN APT 1                                                                    TOLEDO              OH 43613‐1631
RAMON WITT               7425 ORION ST                                                                            LOVES PARK           IL 61111‐3121
RAMON WOODARD            6480 MIDDLE LAKE RD                                                                      CLARKSTON           MI 48346‐2312
RAMON, ANTHONY S         4915 BILLINGS RD                                                                         CASTALIA            OH 44824‐9316
RAMON, BERNIE            12101 DAWNHAVEN AVE                                                                      LANSING             MI 48917‐9716
RAMON, CANDELARIO G      9311 DOWNING RD                                                                          BIRCH RUN           MI 48415‐9734
RAMON, CATARINO D        1478 HUNTERS CHASE DR                                                                    CHAPEL HILL         TN 37034‐2094
RAMON, DEMETRIO D        4906 HUFF RD                                                                             BERLIN HEIGHTS      OH 44814‐9613
RAMON, ELISAO M          8391 SW 202ND TER                                                                        DUNNELLON           FL 34431‐5256
RAMON, ERNEST            4532 CADILLAC PL                                                                         SAGINAW             MI 48604‐1034
RAMON, FEBRONIO          1202 SOUTHAMPTON DR                                                                      DECATUR             IN 46733‐1069
RAMON, FILEMON           1376 MEADOW WOOD DR                                                                      MANISTEE            MI 49660‐9128
RAMON, JUOQUIN D         2035 GINTER RD                                                                           DEFIANCE            OH 43512‐8725
RAMON, MARTIN M          7410 BRADLEY RD                                                                          SAGINAW             MI 48601‐9431
RAMON, MARY B            1311 STATE ST                                                                            BAY CITY            MI 48706‐3672
RAMON, MERCEDES C        14777 COUNTY RD 163                                                                      DEFIANCE            OH 43512‐9322
RAMON, MERCEDES C        14777 COUNTY ROAD 163                                                                    DEFIANCE            OH 43512‐9322
RAMON, NANCY             3909 CALLE PUEBLA                                                                        LAREDO              TX 78046‐6052
RAMON, NANCY R.          3909 CALLE PUEBLA                                                                        LAREDO              TX 78046
RAMON, PAULINE M         4509 WAHL RD                                                                             SANDUSKY            OH 44870‐9735
RAMON, PEDRO             2400 HEMKER LN                                                                           MANISTEE            MI 49660‐8936
RAMON, PETRA             1958 VINEWOOD ST                                                                         DETROIT             MI 48216‐1449
RAMON, REYNALDO V        4509 WAHL RD                                                                             SANDUSKY            OH 44870‐9735
RAMON, RODERICK M        5224 HAROLD DR                                                                           FLUSHING            MI 48433‐2539
RAMON, RODERICK MARTIN   5224 HAROLD DR                                                                           FLUSHING            MI 48433‐2539
RAMON, RUBEN C           2871 STANDEL LN                                                                          MANISTEE            MI 49660‐9265
RAMON, SIMON E           10224 ARLETA AVE                                                                         ARLETA              CA 91331‐4412
RAMON, TERRY R           5224 HAROLD DR                                                                           FLUSHING            MI 48433‐2539
RAMON, VIOLA             401 N CHERRY ST                                                                          PAULDING            OH 45879‐1216
RAMON, VIOLA             401 NORTH CHERRY ST                                                                      PAULDING            OH 45879
RAMONA ARREDONDO         16020 BINNEY ST                                                                          HACIENDA HEIGHTS    CA 91745‐2206
RAMONA AUSTIN            727 BELL RD APT 1807                                                                     ANTIOCH             TN 37013‐8038
RAMONA AUTOMOTIVE        1936 MAIN ST                                                                             RAMONA              CA 92065‐2524
RAMONA B CARTER          1787 ROGERS RD                                                                           FAIRVIEW            MI 48621‐9751
RAMONA BAISCH            627 RIVERVIEW CT                                                                         GLADWIN             MI 48624‐1956
RAMONA BALDRIDGE         4421 LONGFELLOW AVE                                                                      DAYTON              OH 45424‐5950
RAMONA BARILE            13639 MIDDLEBURY                                                                         SHELBY TOWNSHIP     MI 48315‐2828
RAMONA BASSETT           24 ADAIR DR                                                                              TAYLORSVILLE        GA 30178‐1729
RAMONA BATEMAN           5563 E MAPLE CREEK RD                                                                    FRANKLIN            ID 83237‐5131
RAMONA BATISTIA          2909 5TH ST NE                                                                           GREAT FALLS         MT 59404
RAMONA BATTERSHELL       10211 EDISON ST NE                                                                       ALLIANCE            OH 44601‐9768
RAMONA BEACH             3400 ROANOKE ST                                                                          THE VILLAGES        FL 32162‐7108
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Name                       Address1                           Address2                  Address3   Address4         City                 State Zip
RAMONA BISHIR
RAMONA BOWMAN              512 DOYLE RD                                                                             LAINGSBURG           MI    48848‐9611
RAMONA BROWN               22 LOCH LOMA DR                                                                          MOUNT MORRIS         MI    48458‐8852
RAMONA BRYANT              17044 E 2550 N R.                                                                        DANVILLE             IL    61834
RAMONA BURRUS              39997 S INTERSTATE 94 SERVICE DR                                                         BELLEVILLE           MI    48111‐2858
RAMONA BUTTS               1528 BUTLERS CHAPEL RD                                                                   MARTINSBURG          WV    25403‐0967
RAMONA C JUAREZ            3900 HAMMERBERG RD APT 347                                                               FLINT                MI    48507‐6027
RAMONA C MUELLENSCHLADER   904 EDGEFIELD DR                                                                         SHREVEPORT           LA    71118‐3406
RAMONA C STEWART           6150 OAK HILL DR                                                                         W FARMINGTON         OH    44491‐8703
RAMONA CAMPBELL            PO BOX 143                                                                               GRAND BLANC          MI    48480‐0143
RAMONA CARDINALI           11 HUEY BOOTS DR                                                                         HAYDEN               AL    35079‐4100
RAMONA CARROLL             1175 COOL RIDGE DR                                                                       GRAND BLANC          MI    48439‐4971
RAMONA CARTER              1787 ROGERS RD                                                                           FAIRVIEW             MI    48621‐9751
RAMONA CHACON              3381 LAPEER ST                                                                           SAGINAW              MI    48601‐6371
RAMONA CHAPMAN             PO BOX 9314                                                                              INGLEWOOD            CA    90305‐9314
RAMONA CLARK               452 ROSEWOOD CT                                                                          MANSFIELD            OH    44906‐1717
RAMONA CLAY                PO BOX 235                                                                               ARNETT               WV    25007‐0235
RAMONA CLAY                673 W BROADWAY ST                                                                        WELLSTON             OH    45692‐1135
RAMONA CLINGERMAN          1731 BOULAN DR                                                                           TROY                 MI    48084‐1542
RAMONA COATS               1971 N MONROE ST                   FOUNTAIN VIEW OF MONROE                               MONROE               MI    48162‐4255
RAMONA COLBERT             4614 W 180 S                                                                             RUSSIAVILLE          IN    46979‐9443
RAMONA COLBURN             31706 HARDESTY RD                                                                        SHAWNEE              OK    74801‐3921
RAMONA COX                 6546 ASHLAR AVE                                                                          HUBBARD              OH    44425‐2408
RAMONA CRAMER              14207 N DESERT FLOWER DR                                                                 FOUNTAIN HILLS       AZ    85268‐4160
RAMONA CREEK               828 NW 23RD ST                                                                           MOORE                OK    73160‐1211
RAMONA D WASHINGTON        10 BLAIRVILLE RD                                                                         NEW CASTLE           DE    19720‐8600
RAMONA DEAK                1017 ANNABELLE ST                                                                        MC DONALD            OH    44437‐1633
RAMONA DELISE‐ROBERTS      20855 MERRIMAN RD                                                                        ROMULUS              MI    48174‐9286
RAMONA DOCKERY             495 SHARY VIEW RD                                                                        BRANSON              MO    65616‐7737
RAMONA DOMINE              1723 FLINT DR                                                                            AUBURNDALE           FL    33823‐9678
RAMONA DORSEY              32724 ROBESON ST                                                                         SAINT CLAIR SHORES   MI    48082‐1052
RAMONA DULANEY             3459 BILSKY ST                                                                           BURTON               MI    48519‐1038
RAMONA E JONES             1136 HEATHERWOODE ROAD                                                                   FLINT                MI    48532‐2336
RAMONA EDWARDS             4400 GLEN ESTE WITHAMSVILLE RD                                                           CINCINNATI           OH    45245‐1306
RAMONA F POTTS             307 SOUTH ELM STREET                                                                     W CARROLLTON         OH    45449‐1738
RAMONA FINLEY              395 JOSLYN AVE                                                                           PONTIAC              MI    48342‐1521
RAMONA G COTTEN            749 MAPLEHURST                                                                           DAYTON               OH    45407‐1546
RAMONA G DORSEY            32724 ROBESON ST                                                                         SAINT CLAIR SHORES   MI    48082‐1052
RAMONA G WILSON            120 SEWARD ST APT 310                                                                    DETROIT              MI    48202‐4447
RAMONA GONZALEZ            1206 N. WALNUT #2‐S                                                                      DANVILLE             IL    61832
RAMONA GUERRERO            3083 IVY HILL CIR UNIT A                                                                 CORTLAND             OH    44410‐9361
RAMONA H BATISTA           2909 5TH ST NE                                                                           GREAT FALLS          MT    59404
RAMONA HAIL                135 BAKER CALHOUN RD                                                                     SOMERSET             KY    42503‐4775
RAMONA HAMBY               7998 SAYLOR TRL                                                                          HIXSON               TN    37343‐1776
RAMONA HARRIS              2172 W DODGE RD                                                                          CLIO                 MI    48420‐1665
RAMONA HARRISON            13 WHISPERING DR                                                                         TROTWOOD             OH    45426‐3026
RAMONA HEFLIN              336 ESTONIA DRIVE                                                                        NEW LEBANON          OH    45345‐1312
RAMONA HELMS               1792 HOLIDAY HAVEN RD                                                                    SMITHVILLE           TN    37166‐7310
RAMONA HINOJOSA            110 WILLIAM EVANS ST.              APT.16B                                               SAN MARCOS           TX    78666
RAMONA HOHENSTEIN          5114 W CEMETERY RD                                                                       JANESVILLE           WI    53548‐9248
RAMONA HOLBROOK            359 STRATFORD CT                                                                         DIMONDALE            MI    48821‐9779
RAMONA HUFF                6547 BETHLEHEM RD                                                                        PLEASUREVILLE        KY    40057‐9549
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Name                     Address1                           Address2          Address3         Address4         City               State Zip
RAMONA HURD              5108 HOAGLAND BLACKSTUB RD                                                             CORTLAND            OH 44410‐9519
RAMONA HUTSON            1626 NE 50TH ST                                                                        OKLAHOMA CITY       OK 73111‐6804
RAMONA IANNOTTI          14560 ARDEN ST                                                                         LIVONIA             MI 48154‐3502
RAMONA IRELAND           1030 S 74TH TER                                                                        KANSAS CITY         KS 66111‐3279
RAMONA J CURRIE          4901 ERICSON AVE                                                                       DAYTON              OH 45418‐1913
RAMONA J HENNINGTON      RT. 1 BOX 1A, OLD HWY 27                                                               UTICA               MS 39175‐9801
RAMONA JONES             1136 HEATHERWOODE RD                                                                   FLINT               MI 48532‐2336
RAMONA JUAREZ            3900 HAMMERBERG RD APT 347                                                             FLINT               MI 48507‐5027
RAMONA K HARVEY          656 NATHAN PL.                                                                         DAYTON              OH 45409
RAMONA K HICKMAN         525 LINTON CT.                                                                         BEAVERCREEK         OH 45430
RAMONA K KLEINERT        4375 SHANKS PHALANX NW                                                                 SOUTHINGTON         OH 44470‐9598
RAMONA KENDALL           13479 S 400 E                                                                          KOKOMO              IN 46901‐9250
RAMONA KLEINERT          4375 SHANKS PHALANX RD                                                                 SOUTHINGTON         OH 44470‐9598
RAMONA L BURRUS          39997 S INTERSTATE 94 SERVICE DR                                                       BELLEVILLE          MI 48111‐2858
RAMONA L HARRIS          2172 W DODGE RD                                                                        CLIO                MI 48420‐1665
RAMONA L HUNTER          18 BROOKHAVEN DR                                                                       TROTWOOD            OH 45426‐3156
RAMONA L SETTERS         6119 TAYLORSVILLE RD                                                                   HUBER HEIGHTS       OH 45424‐2951
RAMONA L TRIMBLE         1825 WOODVINE ST APT 3                                                                 FAIRBORN            OH 45324
RAMONA LAGE‐STOCK        CHARLES‐OTTINA‐STR. 9D             63165 MUEHLHEIM
RAMONA LAWRENCE          27331 RED RIVER DR                                                                     LATHRUP VILLAGE    MI   48076‐3218
RAMONA LEES              1138 CENTER ST W                                                                       WARREN             OH   44481‐9419
RAMONA LUCAS             129 OAKMONT ST                                                                         N HUNTINGDON       PA   15642‐2551
RAMONA M CAMPBELL        PO BOX 143                                                                             GRAND BLANC        MI   48480‐0143
RAMONA M HARRISON        13 WHISPERING DR                                                                       TROTWOOD           OH   45426‐3026
RAMONA M WILSON          1114 E. CENTRAL AVE                                                                    MIAMISBURG         OH   45342
RAMONA MALIN             3027 NICHOLS RD                                                                        LENNON             MI   48449‐9328
RAMONA MAYS              PO BOX 2065                                                                            TAHLEQUAH          OK   74465‐2065
RAMONA MC DONOUGH        6100 LITTLE PORTAGE LAKE RD                                                            LAND O LAKES       WI   54540‐9745
RAMONA MCCAULLEY         1187 E TOWNLINE 16 RD                                                                  PINCONNING         MI   48650‐9332
RAMONA MEYERS            6961 RUSH LIMA RD                                                                      HONEOYE FALLS      NY   14472‐9006
RAMONA MUELLENSCHLADER   904 EDGEFIELD DR                                                                       SHREVEPORT         LA   71118‐3406
RAMONA O REYES           500 GREENWOOD AVE                                                                      LEHIGH ACRES       FL   33972‐4026
RAMONA ORTEGA            2394 S GENESEE RD                                                                      BURTON             MI   48519‐1234
RAMONA ORTIZ             8090 OSAGE AVE                                                                         ALLEN PARK         MI   48101‐2477
RAMONA P LEES            1138 CENTER ST W                                                                       WARREN             OH   44481‐9419
RAMONA P SAURER          201 ELY DRIVE S                                                                        NORTHVILLE         MI   48167
RAMONA PARK PRP GROUP    C\O GARY A PETERS TREASURER        450 W 4TH ST                                        ROYAL OAK          MI   48067‐2557
RAMONA PEARSON           1619 VIRGINIA AVE S                                                                    MINNEAPOLIS        MN   55426
RAMONA PEHOWSKI          427 W LOHRVILLE BLVD                                                                   REDGRANITE         WI   54970‐9780
RAMONA PETTIT            220 E VAILE AVE                                                                        KOKOMO             IN   46901‐5404
RAMONA PFAU              23 LOWER SALEM RD                                                                      SOUTH SALEM        NY   10590
RAMONA PHOENIX           121 GEORGE ST                                                                          BRISTOL            CT   06010‐6874
RAMONA REINKE            93 SWEET BRIAR RD                                                                      TONAWANDA          NY   14150‐7534
RAMONA RESTO             231 TALMADGE ST                                                                        NEW BRUNSWICK      NJ   08901‐3038
RAMONA REYES             500 GREENWOOD AVE                                                                      LEHIGH ACRES       FL   33972‐4026
RAMONA RIDER             7436 S CATAWBA WAY                                                                     AURORA             CO   80016‐5212
RAMONA RISKER            28311 KIRKSIDE LN                                                                      FARMINGTON HILLS   MI   48334‐2649
RAMONA RONDY             PO BOX 12                          136 WILLOW ST                                       SPRINGPORT         MI   49284‐0012
RAMONA RUBIO             7469 S SAGINAW ST                                                                      NEW LOTHROP        MI   48460‐9694
RAMONA S BALDRIDGE       4421 LONGFELLOW AVE                                                                    DAYTON             OH   45424
RAMONA SALTER            2328 STONE ABBEY BLVD                                                                  ORLANDO            FL   32828‐4601
RAMONA SCHULDT           11350 SAND CREEK HWY                                                                   SAND CREEK         MI   49279‐9783
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Name                         Address1                         Address2                         Address3                     Address4         City               State Zip
RAMONA SHAWA                 9893 S STRAITS HWY               PO BOX 341                                                                     WOLVERINE           MI 49799‐9765
RAMONA SHEETS                PO BOX 535271                                                                                                   GRAND PRAIRIE       TX 75053‐5271
RAMONA SHEPPARD              1742 N LOREL                                                                                                    CHICAGO              IL 60639
RAMONA SINNETT               5806 PESHEWA CT                                                                                                 KOKOMO              IN 46902‐5542
RAMONA SKELLETT              16171 MURRAY RD                                                                                                 BYRON               MI 48418‐9083
RAMONA SLAUGHTER             10234 E STATE ROAD 18                                                                                           GALVESTON           IN 46932‐8945
RAMONA SMITH                 2413 COCKATIEL DR                                                                                               NORTH LAS VEGAS     NV 89084‐3117
RAMONA SMITH                 1105 E MAPLE AVE                                                                                                BURTON              MI 48529‐1928
RAMONA STEWART               6150 OAK HILL DR                                                                                                W FARMINGTON        OH 44491‐8703
RAMONA STROBEL               13806 SHERI HOLLOW LN                                                                                           HOUSTON             TX 77082‐3314
RAMONA SYKES                 1464 SHERIDAN DR                                                                                                SAINT LOUIS         MO 63132‐2640
RAMONA TOMLIN                4071 ADRIAN DR SE                                                                                               WARREN              OH 44484‐2751
RAMONA VANCE                 6199 ALEXANDRA ST                                                                                               SAGINAW             MI 48603‐4238
RAMONA VANDENBERG            1143 S RIVER ST                                                                                                 SHAWANO             WI 54166‐3229
RAMONA VILLANEUVA            1560 LANSING ST                                                                                                 DETROIT             MI 48209‐2112
RAMONA WALL                  11636 BROOKSHIRE ST                                                                                             TEMPERANCE          MI 48182‐9697
RAMONA WALTON
RAMONA WARRUM                152 SOUTH DR                                                                                                    ANDERSON           IN   46013‐4142
RAMONA WASHINGTON            10 BLAIRVILLE RD                                                                                                NEW CASTLE         DE   19720‐8600
RAMONA WHISLER               2127 N E ST                                                                                                     ELWOOD             IN   46036‐1338
RAMONA WILLINGHAM            PO BOX 73                                                                                                       OTISVILLE          MI   48463‐0073
RAMONA WILSON                1114 E CENTRAL AVE                                                                                              MIAMISBURG         OH   45342‐2558
RAMONA WINTER                90 PLUM RD                                                                                                      MAHOPAC            NY   10541‐4249
RAMONA WOJEWSKI              26600 ANN ARBOR TRAIL            #33                                                                            DEARBORN HEIGHTS   MI   48127
RAMONA WOOD                  5758 HILL RD                                                                                                    POWDER SPRINGS     GA   30127‐4030
RAMONA WORGISS               8740 LENNON RD                                                                                                  CORUNNA            MI   48817‐9576
RAMONA YING                  1835 WASHINGTON RD                                                                                              ROCHESTER HILLS    MI   48306‐3553
RAMONA ZILKA                 23167 TUMBLEWEED LN              C/O THOMAS E. ZILKA                                                            BROWNSTOWN TWP     MI   48183‐1180
RAMONA ZUNIGA                2833 BELLEVIEW AVE                                                                                              KANSAS CITY        MO   64108‐3536
RAMONAITIS, JOAN             11311 ARDEN ST.                                                                                                 LIVONIA            MI   48150
RAMONAITIS, JOAN             11311 ARDEN ST                                                                                                  LIVONIA            MI   48150‐2838
RAMOND CRITE SR              9350 MEYERS RD                                                                                                  DETROIT            MI   48228‐2670
RAMOND RODRIGUEZ             1916 PRESTON AVE                                                                                                LOS ANGELES        CA   90026‐1828
RAMONDO TORREZ               2915 GREENBELT DR                                                                                               LANSING            MI   48911‐2366
RAMONIA GREGORY              8001 NW 19TH ST                                                                                                 OKLAHOMA CITY      OK   73127‐1127
RAMONITA QUINONES            2161 QUIMBY AVE                                                                                                 BRONX              NY   10473‐1332
RAMONITA QUINONES            133 DELAVAN STREET                                                                                              NEW BRUNSWICK      NJ   08901‐2617
RAMONS INC FOOD & CATERING   201 WOODBURY AVE                                                                                                MARTINSBURG        WV   25404‐4845
RAMONT, DENNIS J             3191 CHIPPEWA BEACH RD                                                                                          INDIAN RIVER       MI   49749‐9726
RAMONT, ROBERT V             4044 NIXON RD                                                                                                   DIMONDALE          MI   48821‐8787
RAMOS ANGEL F SR (638797)    BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                                                 DALLAS             TX   75219
RAMOS BARBARA                RAMOS, BARBARA                   4500 S LE JEUNE RD                                                             CORAL GABLES       FL   33146‐1813
RAMOS CASTANEDA              1036 APPLEWOOD RD                                                                                               FORT WAYNE         IN   46825‐3706
RAMOS EMILY                  RAMOS, EMILY                     120 WEST MADISON STREET , 10TH                                                 CHICAGO            IL   60602
                                                              FLOOR
RAMOS ERIC                   RAMOS, ERIC                      10 CRESTMONT RD APT 4N                                                         MONTCLAIR          NJ   07042‐1935
RAMOS I, FRANK A             212 EMBER DR                                                                                                    OREGON             OH   43616‐1714
RAMOS II, BENJAMIN           11485 CHEYENNE TRL APT 302                                                                                      PARMA HEIGHTS      OH   44130‐1995
RAMOS JAVIER                 RAMOS, JAVIER                    9369 SHERIDAN STREET SUITE 656                                                 HOLLYWOOD          FL   33024
RAMOS JAVIER                 GONZALEZ, MARYBEL                WEISBERG & MEYERS LLC            9369 SHERIDAN STREET SUITE                    COOPER CITY        FL   33024
                                                                                               656
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Name                              Address1                           Address2                         Address3                     Address4                City            State Zip
RAMOS JESSE G (481972)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                           NORFOLK          VA 23510
                                                                     STREET, SUITE 600
RAMOS JOSE                        RAMOS, JOSE                        5055 WILSHIRE BLVD STE 300                                                            LOS ANGELES     CA   90036‐6101
RAMOS JOSE                        RAMOS, NATALE                      5055 WILSHIRE BLVD STE 300                                                            LOS ANGELES     CA   90036‐6101
RAMOS JR, ALFRED                  713 CROCKETT DR                                                                                                          POTTERVILLE     MI   48876‐9539
RAMOS JR, ANTONIO H               6744 LONE ELM DR                                                                                                         RACINE          WI   53402
RAMOS JR, JOAQUIM J               1537 FAIRVIEW AVE                                                                                                        LANGHORNE       PA   19047‐3706
RAMOS JR., DAVID                  8351 FAIR OAKS DR                                                                                                        GOODRICH        MI   48438‐9201
RAMOS MAGDALENDA                  AZAGUIRE, ANDRES AVELINO           11766 WILSHIRE BLVD FL 6                                                              LOS ANGELES     CA   90025‐6546
RAMOS MAGDALENDA                  RAMOS, MAGDALENDA                  11766 WILSHIRE BLVD FL 6                                                              LOS ANGELES     CA   90025‐6546
RAMOS MD                          2800 HEARNE AVE                                                                                                          SHREVEPORT      LA   71103‐3934
RAMOS MEXICO ASSEMBLY             CARR MONTERREY                                                                                   RAMOS ARIZPE SL 00000
                                                                                                                                   MEXICO
RAMOS NORBERTO                    RAMOS, NORBERTO                    FARR,KAUFMAN,SULLIVAN,JENSEN,    205 26TH STREET, SUITE 34,                           OGDEN           UT 84401
                                                                     MEDSKER,OLDS & NICHOLS,L.L.C     BAMBERGER SQUARE BLDG.

RAMOS THOMAS (450447)             WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                                                       NEW YORK        NY 10038
RAMOS TRANSMISSION GM SHIPMENTS   KM 8.5 CARRETERA A PIEDRAS         NEGRAS MUNICIPIO DE RAMOS ARIZ                                RAMOS ARIZPE MX 25900

RAMOS, AGUSTIN                    6195 DEERWOODS TRL                                                                                                       ALPHARETTA      GA   30005‐3670
RAMOS, ALEJANDRO                  7454 AGAWA TRL NE                                                                                                        ROCKFORD        MI   49341‐8524
RAMOS, ALFONSO                    5755 9TH AVE                                                                                                             COUNTRYSIDE     IL   60525‐4002
RAMOS, ALFREDO A                  113 ELMWOOD ST                                                                                                           DELTA           OH   43515‐1125
RAMOS, AMADEO                     48 CALLE VERDE LUZ                                                                                                       ISABELA         PR   00662‐4127
RAMOS, AMPARO                     5720 LANCE DR                                                                                                            KOKOMO          IN   46902‐5437
RAMOS, ANGEL F                    BARON & BUDD                       3102 OAK LANE AVE, SUITE 1100                                                         DALLAS          TX   75219
RAMOS, ANITA                      136 W MANSFIELD                                                                                                          PONTIAC         MI   48340
RAMOS, ANTONIO                    THE LIPMAN LAW FIRM                5915 PONCE DE LEON BLVD          SUITE 44                                             CORAL GABLES    FL   33146
RAMOS, ANTONIO A                  3220 SEYMOUR RD APT 2                                                                                                    WICHITA FALLS   TX   76309‐2051
RAMOS, ANTONIO A                  3533 87TH ST                                                                                                             JACKSON HTS     NY   11372‐5631
RAMOS, ANTONIO A                  35‐33 87TH ST                                                                                                            JACKSON HGTS    NY   11372‐5631
RAMOS, ARMANDO M                  1007 HICKORY CT                                                                                                          DAYTON          NV   89403‐6320
RAMOS, BARBARA                    WATT GORDON C PA                   4500 S LE JEUNE RD                                                                    CORAL GABLES    FL   33146‐1813
RAMOS, CARLOS S                   9717 103RD ST                                                                                                            JACKSONVILLE    FL   32210‐8619
RAMOS, CARMELO I                  102 SUNSET CT APT 6                                                                                                      HAMBURG         NY   14075‐4250
RAMOS, CINTYA G                   2330 NORTH HANCOCK STREET                                                                                                PHILADELPHIA    PA   19133‐3720
RAMOS, CLAUDIO ALBERTO
RAMOS, CLEMENTE G                 12219 ROSEMARY ST                                                                                                        DETROIT         MI   48213‐1443
RAMOS, CONCHITA                   1668 TERRAWENDA DR                                                                                                       DEFIANCE        OH   43512‐3247
RAMOS, CRESCENCIA                 75 BURHANS AVE FL 1                                                                                                      YONKERS         NY   10701‐5525
RAMOS, CRUZ                       PARKS CHRISTOPHER M                1 PLAZA SQUARE                                                                        PORT ARTHUR     TX   77642
RAMOS, DANIELLE                   15417 PAUL RD                                                                                                            SUGAR LAND      TX   77498‐1370
RAMOS, DAVID                      6 PATRIOT TRL                                                                                                            SHELTON         CT   06484‐5372
RAMOS, DEBORAH M                  49 CAROLINA AVE                                                                                                          LOCKPORT        NY   14094‐5705
RAMOS, DELORES M                  6933 SEINE AVE                                                                                                           HIGHLAND        CA   92346‐3352
RAMOS, DOLORES O                  14502 BAHAMA AVE                                                                                                         COMPTON         CA   90220‐1212
RAMOS, E R                        EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                                                   DETROIT         MI   48265‐2000

RAMOS, EDILBERTO                  PO BOX 38                                                                                                                YONKERS         NY 10702‐0038
RAMOS, EDMUNDO V                  1725 SILVER LINDEN CT                                                                                                    FORT WAYNE      IN 46804‐5207
RAMOS, EDUARDO
RAMOS, EDWARD E                   15518 CROSSDALE AVE                                                                                                      NORWALK         CA 90650‐6231
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Name                  Address1                          Address2                         Address3   Address4         City                State Zip
RAMOS, ELIZABETH F    62 HYDE CT                                                                                     BEDMINSTER           NJ 07921‐1814
RAMOS, EMILIO         393 LUIS LLORSEN TORRES                                                                        SALINAS              PR 00751
RAMOS, ERIC           KAHN & ASSOCIATES LLC             10 CRESTMONT RD APT 4N                                       MONTCLAIR            NJ 07042‐1935
RAMOS, ERNEST         1717 MANCHESTER DR                                                                             ARLINGTON            TX 76012‐3021
RAMOS, ERNESTO P      4158 ALVIN ST                                                                                  SAGINAW              MI 48603‐3021
RAMOS, ESTEBAN O      13410 SW 4TH TER                                                                               MIAMI                FL 33184‐1153
RAMOS, FELIPE J       1100 NE 115 ST                                                                                 BISCAYNE PARK        FL 33161‐6740
RAMOS, FELIX          2309 XENOPS AVE                                                                                MCALLEN              TX 78504‐5522
RAMOS, FELIX B        9336 WHITCOMB ST                                                                               DETROIT              MI 48228‐2218
RAMOS, FILOMENO H     2444 BURNSIDE ST                                                                               DETROIT              MI 48212‐2649
RAMOS, FILOMENO H     6321 S CALIFORNIA AVE             APT 1                                                        CHICAGO               IL 60629
RAMOS, FRANCISCO      TURNER & ASSOCIATES               4705 SOMERS AVENUE ‐ SUITE 100                               NORTH LITTLE ROCK    AR 72116

RAMOS, FRANCISCO      TIMOTHY J RYAN AND ASSOCIATES     8027 WARNER AVENUE                                           HUNTINGTON BEACH    CA   92647
RAMOS, FRANCISCO      419 GOLF COURSE PKWY                                                                           DAVENPORT           FL   33837‐5525
RAMOS, FRANCISCO C    435 DRAKE AVE                                                                                  UPLAND              CA   91786‐4223
RAMOS, FRANCISCO J    1301 SE 7TH ST                                                                                 HOMESTEAD           FL   33033
RAMOS, GARY R         2433 GASPAR AVE                                                                                LOS ANGELES         CA   90040‐2217
RAMOS, GILBERT        2228 JASON WAY                                                                                 MODESTO             CA   95350‐2562
RAMOS, GLADYS M       24053 CURRIER                                                                                  DEARBORN HGTS       MI   48125‐2035
RAMOS, GLADYS M       24053 CURRIER ST                                                                               DEARBORN HTS        MI   48125‐2035
RAMOS, GONZALO
RAMOS, GONZALO        GOLDMAN & GRANT                   205 W RANDOLPH ST STE 1100                                   CHICAGO             IL   60606‐1813
RAMOS, GUILLERMO S    1931 EMILY CT                                                                                  AUBURN HILLS        MI   48326‐2624
RAMOS, HAIDE          319 5TH AVE APT 1                                                                              MAYWOOD             IL   60153
RAMOS, HECTOR T       551 N HUNTINGTON ST                                                                            SAN FERNANDO        CA   91340‐1916
RAMOS, HERIBERTO      BOX 9000 STE 228                                                                               CAYEY               PR   00737
RAMOS, ISAEL          14 SHULL DR                                                                                    NEWARK              DE   19711‐7717
RAMOS, ISRAEL
RAMOS, JAIME E        176 RUSSELL DRIVE                                                                              WEARE               NH 03281
RAMOS, JAIME G        1442 SE 28TH TER                                                                               CAPE CORAL          FL 33904‐3917
RAMOS, JESSE G        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
RAMOS, JOE V          PO BOX 656                                                                                     PERRYSBURG          OH   43552‐0656
RAMOS, JOHN A         2717 SW 111TH ST                                                                               OKLAHOMA CITY       OK   73170‐2402
RAMOS, JOHN A         4045 CAPITOL DR                                                                                FORT COLLINS        CO   80526
RAMOS, JOSE           KROHN & MOSS ‐ CA,                5055 WILSHIRE BLVD STE 300                                   LOS ANGELES         CA   90036‐6101
RAMOS, JOSE A         3384 VALLEY RISE DR                                                                            HOLLY               MI   48442‐1906
RAMOS, JOSE C         1529 PICO ST                                                                                   SAN FERNANDO        CA   91340‐3108
RAMOS, JOSE E         1249 CALLE PICOGORDO UNIT A                                                                    RIO RICO            AZ   85648‐6666
RAMOS, JOSE I         5720 LANCE DR                                                                                  KOKOMO              IN   46902‐5437
RAMOS, JR,ANTONIO H   6744 LONE ELM DR                                                                               RACINE              WI   53402‐1478
RAMOS, JUAN A         5779 MARYANNE PL                                                                               HALTOM CITY         TX   76137‐2682
RAMOS, JUAN A         1303 MOPSICK AVE                                                                               LINDEN              NJ   07036‐4719
RAMOS, JUAN F         17700 AVALON BLVD SPC 379                                                                      CARSON              CA   90746‐0135
RAMOS, JULIA C.       WEST GARDEN LANE                  291 GARDEN LANE                  APT 9                       FOWLERVILLE         MI   48836
RAMOS, JULIO S        499 STORIE RD                                                                                  JEFFERSON           TX   75657‐7529
RAMOS, LARRY          11667 EDGEWOOD RD                                                                              BELLEVUE            MI   49021‐9754
RAMOS, LARRY E        43283 NORMANDY AVE                                                                             STERLING HEIGHTS    MI   48314‐2264
RAMOS, LEE M          127 FUNSTON ST                                                                                 YOUNGSTOWN          OH   44510‐1314
RAMOS, LEONARDO A     219 RUMSEY AVE                                                                                 LANSING             MI   48912‐2832
RAMOS, LEWIS A        7835 MEMORY LN                                                                                 CANFIELD            OH   44406‐9103
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RAMOS, LORENZO G       3443 SHAW DR                                                                            DRAYTON PLNS        MI 48020
RAMOS, LUCAS           APT 112                        26560 BURG ROAD                                          WARREN              MI 48089‐1098
RAMOS, LUCAS           26560 BURG ROAD                BUIDING B APT 112                                        WARREN              MI 48089
RAMOS, LUCIANO         139 N 24TH AVE                                                                          MELROSE PARK         IL 60160‐3031
RAMOS, LUCIE E         596 CASCADE DR                                                                          SUNNYVALE           CA 94087‐4403
RAMOS, LUIS C          14 SHULL DR                                                                             NEWARK              DE 19711‐7717
RAMOS, MAGDALENDA
RAMOS, MAGDALENDA      ROOFIAN MICHAEL & ASSOCIATES   11766 WILSHIRE BLVD FL 6                                 LOS ANGELES        CA   90025‐6546
RAMOS, MANUEL J        PO BOX 594                                                                              YONKERS            NY   10702‐0594
RAMOS, MARCELLA        13711 BECKNER ST                                                                        LA PUENTE          CA   91746‐2022
RAMOS, MARCO A         3128 SHELLEY CT                                                                         WOODRIDGE          IL   60517‐3622
RAMOS, MARIA A         10323 GOLFSIDE DR                                                                       GRAND BLANC        MI   48439‐9437
RAMOS, MARIE A         7 VISIONS CIR                                                                           ROCHESTER          NY   14626‐4710
RAMOS, MARISOL         905 FRIENDSHIP ST                                                                       PHILADELPHIA       PA   19111‐4104
RAMOS, MARK A          5499 LIBERTY BELL RD                                                                    GRAND BLANC        MI   48439‐7700
RAMOS, MARY M          14 NANCY RD APT 7                                                                       SOUTH EASTON       MA   02375‐1626
RAMOS, MICHAEL G       8120 PIONEER OAK                                                                        CONVERSE           TX   78109
RAMOS, MIGUEL          VILLA MAR                      CALLE PALMAR SUR #22                                     CAROLINA           PR   00979
RAMOS, MILDRED         PO BOX 3574                                                                             CAROLINA           PR   00984‐3574
RAMOS, MODESTO H       47 PARKERSON RD                                                                         EDISON             NJ   08817‐4151
RAMOS, NARCISO C       26955 BEREA AVE                                                                         DEARBORN HEIGHTS   MI   48127‐2816
RAMOS, NATALE          KROHN & MOSS ‐ CA,             5055 WILSHIRE BLVD STE 300                               LOS ANGELES        CA   90036‐6101
RAMOS, NICHOLAS M      8508 ROYAL WOODS DR                                                                     CLARKSTON          MI   48348‐3497
RAMOS, NORBERTO
RAMOS, OCTAVIO P       3913 LANKFORD TRL                                                                       KELLER             TX   76248‐9573
RAMOS, OSCAR A         1087 AVENUE SEBILLE                                                                     RIO RICO           AZ   85648
RAMOS, OSVALDO         1529 39TH ST                                                                            BROOKLYN           NY   11218‐4413
RAMOS, OSVALDO         5602 TUGHILL DR                                                                         TAMPA              FL   33624‐4808
RAMOS, PATROCINIO G    5112 WINSFORD BY WAY                                                                    FLINT              MI   48506‐1373
RAMOS, PETER           11417 CALLAGHAN AVE                                                                     SPRING HILL        FL   34608‐3008
RAMOS, PETER S         25 S HUDSON ST                                                                          WESTMONT           IL   60559‐1841
RAMOS, PORFIRIO R      527 CHESTNUT AVE                                                                        REDLANDS           CA   92373
RAMOS, RAMSES          26032 GLENBROOKE DRIVE                                                                  DENHAM SPGS        LA   70726‐6568
RAMOS, RAUL            2917 S. UNION AVE.                                                                      CHICAGO            IL   60616
RAMOS, RAUL            10322 BELGROVE PL                                                                       ORLANDO            FL   32817‐2853
RAMOS, RAYMOND         20529 GORDON PLACE                                                                      LAKEWOOD           CA   90715‐1674
RAMOS, REMIGIO R       31878 BIRCHWOOD DR                                                                      LAKE ELSINORE      CA   92532‐2627
RAMOS, RICHARD A       PO BOX 406                                                                              LANCASTER          CA   93584‐0406
RAMOS, RITA            513 RUBY ST                                                                             SAGINAW            MI   48602‐1170
RAMOS, RITA            513 RUBY                                                                                SAGINAW            MI   48602‐1170
RAMOS, ROBERT          520 SW 88TH PL W                                                                        MIAMI              FL   33174‐2481
RAMOS, ROBERTO R       905 W RAMONA RD                                                                         ALHAMBRA           CA   91803‐3442
RAMOS, RODOLFO         16026 SOUTH WYANDOTTE DRIVE                                                             OLATHE             KS   66062‐3935
RAMOS, RODOLFO P       524 GARLAND ST SE                                                                       KENTWOOD           MI   49548‐7670
RAMOS, ROSA            3650 CRESTVIEW DR                                                                       SHREVEPORT         LA   71119‐6526
RAMOS, RUTH            7744 SMART ST                                                                           DETROIT            MI   48210‐1911
RAMOS, SERGIO          3412 FLINT HILL PL                                                                      WOODBRIDGE         VA   22192‐1011
RAMOS, STARRDAI SKYI   5499 LIBERTY BELL RD                                                                    GRAND BLANC        MI   48439‐7700
RAMOS, THOMAS          WEITZ & LUXENBERG P.C.         180 MAIDEN LANE                                          NEW YORK           NY   10038
RAMOS, THOMAS M        721 WILKSHIRE CT                                                                        GRAND BLANC        MI   48439‐1500
RAMOS, TINA M          7454 AGAWA TRL NE                                                                       ROCKFORD           MI   49341‐8524
RAMOS, VALERIE         1336 BANCROFT AVE                                                                       YUBA CITY          CA   95993‐5209
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Name                         Address1                          Address2                            Address3               Address4              City                     State Zip
RAMOS, VICTOR                9523 VERONA LAKES BLVD                                                                                             BOYNTON BEACH             FL 33472
RAMOS, VICTORIA L            1032 N OAKLAND BLVD APT 5                                                                                          WATERFORD                 MI 48327‐1562
RAMOS, YOLANDA               1709 ALGONQUIN RD                                                                                                  FREDERICK                 MD 21701‐9392
RAMOS, ZENIA
RAMOTH, DAVID C              7241 PARKLANE DR                                                                                                   CLAY                     MI 48001‐4223
RAMOZ, RONALD                18247 TOWNSEND AVE                                                                                                 BROWNSTOWN               MI 48193‐8206
RAMP CHEVROLET               1395 ROUTE 112                                                                                                     PORT JEFFERSON STATION   NY 11776‐3052

RAMP CHEVROLET INC.          JOHN RAMPONE                      1395 ROUTE 112                                                                   PORT JEFFERSON STATION   NY 11776‐3052

RAMP CHEVROLET INC.          1395 ROUTE 112                                                                                                     PORT JEFFERSON STATION   NY 11776‐3052

RAMP CHEVROLET, INC          CHARLES R. RAMPONE, JR.           1395 ROUTE 112                                                                   PORT JEFFERSON STATION   NY 11776‐3052

RAMP CHEVROLET, INC.         CHARLES R. RAMPONE, JR.           1395 ROUTE 112                                                                   PORT JEFFERSON STATION   NY 11776‐3052

RAMP, DARRELL W              29 WILLIAMS DR                                                                                                     WEST MIDDLESEX           PA 16159‐3525
RAMPAK GROUP INC             CHARLENE DAVIS                    1356 KRESS ST                                                                    HOUSTON                  TX 77020‐7421
RAMPANELLI ALBERT            LYNNE KIZIS, ESQ                  WILENTZ, GOLDMAN, AND SPITZER       90 WOODBRIDGE CENTER                         WOODBRIDGE               NJ 07095
                                                                                                   DRIVE
RAMPANELLI, MARION           WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                                                NEW YORK                 NY 10005

RAMPANI, RALPH E             11983 BROOKINGTON DR                                                                                               BRIDGETON                MO   63044‐2837
RAMPART, SHIRLEY A.          3250 MC CORMICK DRIVE                                                                                              WATERFORD                MI   48328‐1640
RAMPART, SHIRLEY A.          3250 MCCORMICK DR                                                                                                  WATERFORD                MI   48328‐1640
RAMPART, WILLIAM M           502 NORTH ST                                                                                                       HOLLY                    MI   48442‐1217
RAMPELT CIPRIAN JON          WALTER‐SCOTT‐STR 4                                                                           80687 MUNCHEN
RAMPELT, GLORIA M            12661 E KALIL DR                                                                                                   SCOTTSDALE               AZ   85259‐3406
RAMPENTHAL, THOMAS R         2816 CARRIAGE HILL DR                                                                                              BOWLING GREEN            KY   42104‐4392
RAMPENTHAL, WILLIAM L        55695 LORRAINE DR                                                                                                  SHELBY TWP               MI   48316‐0938
RAMPERSAD, RAMESH            5709 FIVE FLAGS BLVD APT 2016                                                                                      ORLANDO                  FL   32822‐2559
RAMPINO, ROBERT M            371 SAGEWOOD TER                                                                                                   BUFFALO                  NY   14221‐3943
RAMPINO, ROBERT MICHAEL      371 SAGEWOOD TER                                                                                                   BUFFALO                  NY   14221‐3943
RAMPLEY, BERTHA J            PO BOX 432                                                                                                         MEADOWVIEW               VA   24361‐0432
RAMPLEY, ROY M               205 IVY CHASE LN                                                                                                   NORCROSS                 GA   30092‐4639
RAMPS, EDWARD A              150 ELEANOR DR                                                                                                     SPRINGBORO               OH   45066‐1316
RAMPULLA VINCENZO (659089)   ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                                 BETHLEHEM                PA   18018
RAMPULLA, DEBRA
RAMPULLA, VINCENZO           ANGELOS PETER G LAW OFFICES       60 WEST BROAD ST                                                                 BETHLEHEM                PA 18018‐5737
RAMRIEZ, YOLANDA             NO ADDRESS
RAMROTH LAURIE               4655 W 37TH AVE APT 301                                                                                            DENVER                   CO   80212
RAMROTH, LASCA C             1809 PERSIMMON CIR                                                                                                 EDGEWATER                FL   32132‐2815
RAMSAY WARD                  307 S PHOENIX AVE                                                                                                  RUSSELLVILLE             AR   72801‐4864
RAMSAY, BRENT E              2058 HOWE RD                                                                                                       BURTON                   MI   48519‐1126
RAMSAY, CAMERON              3064 FLORINE AVE                                                                                                   MOUNT MORRIS             MI   48458‐9451
RAMSAY, CAROL
RAMSAY, CARROLL S            1694 W TAFT RD                    R#4                                                                              SAINT JOHNS              MI   48879‐9263
RAMSAY, CARROLL S            1694 TAFT RD                      R4                                                                               ST JOHNS                 MI   48879
RAMSAY, CATHERINE B          APT 201                           865 NORTH CASS AVENUE                                                            WESTMONT                 IL   60559‐6405
RAMSAY, CRAIG S              1700 W FRENCH RD                                                                                                   SAINT JOHNS              MI   48879‐9486
RAMSAY, CRAIG SCOTT          1700 W FRENCH RD                                                                                                   SAINT JOHNS              MI   48879‐9486
RAMSAY, DAVID A              62060 TAYBERRY CIR                                                                                                 SOUTH LYON               MI   48178‐9286
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Name                        Address1                             Address2                      Address3   Address4         City               State Zip
RAMSAY, DAVID A.            62060 TAYBERRY CIR                                                                             SOUTH LYON          MI 48178‐9286
RAMSAY, FRIEDA E            1320 HICKORY LN                                                                                ZIONSVILLE          IN 46077‐1931
RAMSAY, FRIEDA E            1320 HICKORY LANE                                                                              ZIONSVILLE          IN 46077‐1931
RAMSAY, JAMES E             1371 SAINT ANTHONY ST                                                                          NEW ORLEANS         LA 70116‐1564
RAMSAY, JAMES J             624 INDIANA AVE                                                                                MC DONALD           OH 44437‐1807
RAMSAY, JAMES J             2361 WATSON MARSHALL RD                                                                        MC DONALD           OH 44437‐1212
RAMSAY, JANET W             9640 ELIZABETH LAKE RD                                                                         WHITE LAKE          MI 48386‐2723
RAMSAY, KURT D              106 W OAK ST                                                                                   SAINT JOHNS         MI 48879‐2181
RAMSAY, LENIDA J            731 LYNNDALE DR                                                                                ROCHESTER HLS       MI 48309‐2441
RAMSAY, LESLIE S            3092 BROOKHILL DR                                                                              BIRMINGHAM          AL 35242‐3755
RAMSAY, LESLIE SUSAN        3092 BROOKHILL DR                                                                              BIRMINGHAM          AL 35242
RAMSAY, LUDLOW A            2052 TARBOLTON CIR                                                                             FOLSOM              CA 95630‐6132
RAMSAY, MITCHELL B          1840 S PARENT ST                                                                               WESTLAND            MI 48186‐4222
RAMSAY, ROBERT M            9640 ELIZABETH LAKE RD                                                                         WHITE LAKE          MI 48386‐2723
RAMSAY, RODNEY B            3092 BROOKHILL DR                                                                              BIRMINGHAM          AL 35242‐3755
RAMSBURG, KIMBERLY          124 HALIFAX CT                                                                                 MARTINSBURG         WV 25403‐5076
RAMSBURG, LEE R             4501 W 63RD ST                                                                                 SHAWNEE MSN         KS 66208‐1510
RAMSDALE GLENN L (429657)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                 STREET, SUITE 600
RAMSDALE, GLENN L           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                 STREET, SUITE 600
RAMSDELL GORDON (494116)    GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                 STREET, SUITE 600
RAMSDELL, DAVID C           4 WILDBROOK DR                                                                                 BIDDEFORD          ME   04005‐9773
RAMSDELL, EVA M             PO BOX 76                                                                                      VIENNA             GA   31092‐0076
RAMSDELL, EVA M             BOX 76                                                                                         VIENNA             GA   31092‐0076
RAMSDELL, GORDON            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                 STREET, SUITE 600
RAMSDELL, HAZEL J           1007 OAK WAY                                                                                   CANTON             GA   30114‐8989
RAMSDELL, JEFFREY R         148 COTTAGE ST                                                                                 LOCKPORT           NY   14094‐4304
RAMSDELL, NORMA B           542 TAMPICO DR                                                                                 NORTH PORT         FL   34287‐1540
RAMSDELL, ROGER M           9452 MARSHALL RD                                                                               BIRCH RUN          MI   48415‐8562
RAMSDELL, RONALD K          2566 TRANSIT RD                                                                                NEWFANE            NY   14108‐9506
RAMSDEN, CAROL A            1351 PEPPERTREE DR                                                                             DERBY              NY   14047‐9562
RAMSDEN, DAVE               6200 FOSTER DR                                                                                 MORRISVILLE        PA   19067‐5216
RAMSDEN, DONALD B           212 NORTH ONEIDA STREET                                                                        TECUMSEH           MI   49286‐1535
RAMSDEN, GERALD L           10595 N GLEANER RD                                                                             FREELAND           MI   48623‐9709
RAMSDEN, JERRY D            2680 MIDDLEBURY LN                                                                             BLOOMFIELD HILLS   MI   48301‐4164
RAMSDEN, MARIE C            315 NEUSE DR                                                                                   CHOCOWINITY        NC   27817‐8504
RAMSDEN, WILMER H           8315 N MIDNIGHT WAY N                                                                          TUCSON             AZ   85741
RAMSDILL, ALICE O           3205 ROLLING HILL AVENUE                                                                       PORTAGE            MI   49024‐6652
RAMSE, WILFERD              35535 RICHLAND                                                                                 LIVONIA            MI   48150‐2545
RAMSEL, EDWARD C            1309 LONGVIEW AVE                                                                              BALTIMORE          MD   21237‐1348
RAMSER FAMILY TRUST         WILLIAM A RAMSER, CAROL L RAMSER CO‐ RD #3 BOX 210‐B                                           WHEELING           WV   26003
                            TTEES
RAMSER MEDIA                710 WEST AVE                                                                                   AUSTIN             TX   78701‐2727
RAMSER, DANIEL L            9419 W MORELAND RD                                                                             PARMA              OH   44129‐2473
RAMSETT, DENNIS L           1509 S ARCH ST                                                                                 JANESVILLE         WI   53546‐5732
RAMSETT, STEVEN W           7008 CADILLAC BLVD                                                                             ARLINGTON          TX   76016‐5435
RAMSEUR, OTHA C             1454 E 110TH ST                                                                                CLEVELAND          OH   44106‐1375
RAMSEUR, ROBERT D           1520 W 28TH ST                                                                                 INDIANAPOLIS       IN   46208‐5263
RAMSEUR, SHIRLEY D          432 MELBOURNE ST                                                                               DETROIT            MI   48202‐2512
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Name                                  Address1                           Address2                       Address3        Address4         City               State Zip
RAMSEY ARTHUR R (494117)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK             VA 23510
                                                                         STREET, SUITE 600
RAMSEY BOBBY DEE (ESTATE OF) (664105) (NO OPPOSING COUNSEL)

RAMSEY CHEVROLET‐GEO INC              DBA CHEVROLET OF UPPER SADDLE      633 N STATE RT 17                                               PARAMUS            NJ   07652‐3110
RAMSEY COLLINS                        8336 S DAMEN AVE                                                                                   CHICAGO            IL   60620‐6020
RAMSEY COUNTY PUBLIC WORKS                                               1425 PAUL KIRKWOLD DR                                                              MN   55112
RAMSEY DELIVERY                       380 BROOKES DR SUITE 200                                                                           HAZELWOOD          MO   63042
RAMSEY DONALD E (483562)              HEARD ROBINS CLOUD LUBEL &         500 DALLAS ST STE 3100                                          HOUSTON            TX   77002‐4711
                                      GREENWOOD LLP
RAMSEY FREDERICK (638205)             JACOBS & CRUMPLAR P.A.             PO BOX 1271                    2 EAST 7TH ST                    WILMINGTON         DE   19899‐1271
RAMSEY GREGORY                        RAMSEY, GREGORY                    PO BOX 776                                                      TERRELL            TX   75160‐0012
RAMSEY HOLMES                         36 COURTLAND ST                                                                                    STATESBORO         GA   30458
RAMSEY I I, OREN B                    1701TOWNE CROSSING#1613                                                                            MANSFIELD          TX   76063
RAMSEY II, OREN B                     1701TOWNE CROSSING#1613                                                                            MANSFIELD          TX   76063
RAMSEY II,OREN B                      1301 E DEBBIE LN STE 102                                                                           MANSFIELD          TX   76063‐3310
RAMSEY JIMMY                          9221 STONEGATE                                                                                     OKLAHOMA CITY      OK   73130‐6246
RAMSEY JOSEPH W                       33143 MORRISON DRIVE                                                                               STERLING HEIGHTS   MI   48312‐6551
RAMSEY JR, ANTHONY B                  40 SUBERTOWN RD                                                                                    WHITMIRE           SC   29178‐9003
RAMSEY JR, ARTHUR L                   33 WASHINGTON SQ                                                                                   TUSCALOOSA         AL   35401‐5141
RAMSEY JR, EVERETT                    PO BOX 172                                                                                         LAKE               MI   48632‐0172
RAMSEY JR, GEORGE D                   1730 US HWY.56 #56                                                                                 VEVAY              IN   47043
RAMSEY JR, JAMES C                    5137 REUTER ST                                                                                     DEARBORN           MI   48126‐3362
RAMSEY JR, LESLIE                     9015 STATE ROUTE 368                                                                               HUNTSVILLE         OH   43324‐9665
RAMSEY JR, MARVIN W                   8008 MACNAUGHTON DR                                                                                JACKSONVILLE       FL   32244‐5589
RAMSEY JR, MURTH L                    PO BOX 29130                                                                                       CUMBERLAND         IN   46229‐0130
RAMSEY JR, REEDER B                   3510 S EBRIGHT ST                                                                                  MUNCIE             IN   47302‐5723
RAMSEY JR, ROBERT D                   3810 SPRINGFIELD OVERLOOK ST                                                                       INDIANAPOLIS       IN   46234‐1354
RAMSEY JR, WILLIAM K                  7750 E VIA DE VIVA                                                                                 SCOTTSDALE         AZ   85258‐3473
RAMSEY JR, WILLIAM T                  615 13TH AVE S APT 144                                                                             SURFSIDE BEACH     SC   29575‐3173
RAMSEY KENNETH                        PO BOX 431                                                                                         MONTICELLO         KY   42633‐0431
RAMSEY LADONNA                        RAMSEY, LADONNA                    120 WEST MADISON STREET 10TH                                    CHICAGO            IL   60602
                                                                         FLOOR
RAMSEY LEWIS                          RAMSEY LEWIS                       200 E DELAWARE PL APT 6A                                        CHICAGO            IL   60611‐5782
RAMSEY MIDDLETON                      1090 FORREST HILLS DR                                                                              BOGART             GA   30622
RAMSEY NORRIS                         13170 PATRICK HENRY HWY                                                                            BROOKNEAL          VA   24528‐3477
RAMSEY PONTIAC                        9625 HICKMAN RD                                                                                    URBANDALE          IA   50322‐5317
RAMSEY PONTIAC                        THOMAS CAREY                       9625 HICKMAN RD                                                 URBANDALE          IA   50322‐5317
RAMSEY PONTIAC‐GMC                    PO BOX 510                                                                                         RAMSEY             NJ   07445‐0510
RAMSEY PONTIAC‐GMC, L.L.C.            PO BOX 510                                                                                         RAMSEY             NJ   07445‐0510
RAMSEY PONTIAC‐GMC, LLC               SANDY CERAMI                       PO BOX 526                                                      PARAMUS            NJ   07653‐0526
RAMSEY PONTIAC‐GMC, LLC               ATTN: SANDY CERAMI                 PO BOX 526                                                      PARAMUS            NJ   07653‐0525
RAMSEY PONTIAC‐OLDS‐GMC TRUCK, INC.   6716 CHURCH HILL RD                                                                                CHESTERTOWN        MD   21620‐2300

RAMSEY PONTIAC‐OLDS‐GMC TRUCK, INC. HENRY RAMSEY                         6716 CHURCH HILL RD                                             CHESTERTOWN        MD 21620‐2300

RAMSEY RATLIFF JR                     1201 W HOME AVE                                                                                    FLINT              MI 48505‐2553
RAMSEY RICHARD H (667811)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                                         STREET, SUITE 600
RAMSEY SAAB VOLVO
RAMSEY WALTER A                       C/O GOLDBERG PERSKY AND WHITE PC   1030 FIFTH AVENUE                                               PITTSBURGH         PA 15219
RAMSEY, ADAM M                        420 TREEMONT DR                                                                                    CLARKSVILLE        TN 37043
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Name                    Address1                       Address2                      Address3                     Address4         City               State Zip
RAMSEY, ADELL           6993 MENDENHALL RD                                                                                         CAMBY               IN 46113‐9299
RAMSEY, AGNES M         PO BOX 403                     208 MAPLE ST.                                                               HOLCOMB             MO 63852‐0403
RAMSEY, AKEMA CAMILLE   15200 FORRER ST                                                                                            DETROIT             MI 48227‐2313
RAMSEY, ALBERT D        4420 BONNYMEDE ST                                                                                          JACKSON             MI 49201‐8511
RAMSEY, ALBERT M        42704 ALBA CT                                                                                              BELLEVILLE          MI 48111‐4817
RAMSEY, ALICIA R        723 GENTRY DR                                                                                              ARLINGTON           TX 76018‐2349
RAMSEY, ALTON R         516 DIAMOND HEAD LN                                                                                        UNION               MO 63084‐4474
RAMSEY, ALVIN F         18430 N 350 E                                                                                              SUMMITVILLE         IN 46070‐9007
RAMSEY, ALVIN FRANK     18430 N 350 E                                                                                              SUMMITVILLE         IN 46070‐9007
RAMSEY, ANDREW D        170 COURT ST                                                                                               PONTIAC             MI 48342‐2510
RAMSEY, ANN M           12 CLARK ST                                                                                                YONKERS             NY 10704‐2810
RAMSEY, ANN M           12 CLARK STREET                                                                                            YONKERS             NY 10704‐2810
RAMSEY, ARENDA P        720 RIDGEWOOD DR                                                                                           HARTWELL            GA 30643‐4141
RAMSEY, ARTHUR R        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                 NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
RAMSEY, AUDREY M        823 S. GULF                                                                                                HOLDENVILLE        OK   74848‐4653
RAMSEY, AUDREY M        823 S GULF ST                                                                                              HOLDENVILLE        OK   74848‐4653
RAMSEY, B J             30 WOODS CREEK CT                                                                                          COVINGTON          GA   30016‐7180
RAMSEY, BARBARA J       415 PALMERSTON ST                                                                                          RIVER ROUGE        MI   48218‐1173
RAMSEY, BARBARA L       742 CAMPBELL ST                                                                                            FLINT              MI   48507‐2423
RAMSEY, BEATRICE I      12515 RIDGEVIEW RD                                                                                         KEARNEY            MO   64060
RAMSEY, BENJAMIN L      420 TREEMONT DRIVE                                                                                         CLARKSVILLE        TN   37043‐2873
RAMSEY, BERNICE         1221 NATURE VIEW BLVD                                                                                      DAVISON            MI   48423‐2891
RAMSEY, BERNICE M       524 W MIDDLE ST                                                                                            CHELSEA            MI   48118‐1229
RAMSEY, BERNICE MARIE   524 W MIDDLE ST                                                                                            CHELSEA            MI   48118‐1229
RAMSEY, BERTHA          20210 SANTA BARBARA                                                                                        DETROIT            MI   48221‐1280
RAMSEY, BETTY J         4520 ELMWOOD AVE                                                                                           KANSAS CITY        MO   64130‐2245
RAMSEY, BIRDIE M        774 WALTHAM ST                                                                                             MT MORRIS          MI   48458
RAMSEY, BIRDIE M        774 WALTHAM DR.                                                                                            MT. MORRIS         MI   48458
RAMSEY, BLAINE O        19835 MIDWAY BLVD                                                                                          PORT CHARLOTTE     FL   33948‐6327
RAMSEY, BOBBIE JO       812 HISTORIC HWY 441 NORTH                                                                                 CLARKESVILLE       GA   30523
RAMSEY, BOBBY DEE       C/O BRENT COON & ASSOCIATES    WESLEYAN TOWER                24 EAST GREENWAY PLAZA STE                    HOUSTON            TX   77046
                                                                                     725
RAMSEY, BRUCE H         15121 COUNTY ROAD 201                                                                                      DEFIANCE           OH   43512‐9307
RAMSEY, CANDIS          ROUTE # 1                      BOX # 188                                                                   EAST LYNN          WV   25512
RAMSEY, CARL A          4536 LINCOLN DR                                                                                            GASPORT            NY   14067‐9212
RAMSEY, CARL J          4625 SCAMMEL                                                                                               DRAYTON PLNS       MI   48020
RAMSEY, CAROL A         1232 W KEMPER RD               APT 256                       C/O CYNTHIA SWAN                              CINCINNATI         OH   45240
RAMSEY, CARROLL G       8806 BROWNS VALLEY LANE                                                                                    CAMBY              IN   46113‐8821
RAMSEY, CATHERINE       1000 S BALDWIN RD                                                                                          OXFORD             MI   48371‐5600
RAMSEY, CECIL J         2549 LARUE RIDGE RD                                                                                        DOVER              AR   72837‐8305
RAMSEY, CHARLES E       6993 MENDENHALL RD                                                                                         CAMBY              IN   46113‐9299
RAMSEY, CHARLES T       1900 SEE AVE                                                                                               HAMILTON           OH   45015‐1272
RAMSEY, CHRISTOPHER M   6646 FRONT POINT DR                                                                                        INDIANAPOLIS       IN   46237‐4482
RAMSEY, CLIFFORD M      106 CIRCLE DR                                                                                              ANDERSON           IN   46013‐4700
RAMSEY, CONNIE S        2364 W N ST                                                                                                KOKOMO             IN   46901
RAMSEY, CONRAD W        5504 N 200 W                                                                                               WHITELAND          IN   46184‐9521
RAMSEY, CURTIS A        PO BOX 431156                                                                                              PONTIAC            MI   48343‐1156
RAMSEY, CURTIS J        9802 S 150 W                                                                                               BUNKER HILL        IN   46914‐9518
RAMSEY, CYNTHIA L       24866 TODDY LN                                                                                             FARMINGTON HILLS   MI   48335‐2075
RAMSEY, CYNTHIA M       4716 KENILWOOD AVE                                                                                         DAYTON             OH   45424‐1909
RAMSEY, DALE E          3100 BUCKSKIN PATH                                                                                         SAINT CHARLES      MO   63301‐1291
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Name                        Address1                       Address2                         Address3         Address4         City              State Zip
RAMSEY, DALE L              4806 E 775 S                                                                                      PERU               IN 46970‐7896
RAMSEY, DANIEL D            9604 WINDSOR LN                                                                                   CLARKSTON          MI 48348‐5405
RAMSEY, DAVID C             3980 PRESCOTT ST APT 1                                                                            HAMTRAMCK          MI 48212‐3178
RAMSEY, DAVID H             211 COLD SPRINGS RD                                                                               STUARTS DRAFT      VA 24477
RAMSEY, DAVID L             8042 LONGVIEW DR NE                                                                               WARREN             OH 44484‐1927
RAMSEY, DAVID L             19920 LIBSTAFF RD                                                                                 DUNDEE             MI 48131‐9615
RAMSEY, DAVID W             1895 BOULDER DR                                                                                   HASTINGS           MI 49058‐9105
RAMSEY, DIANA               5000 ATKINS RD                                                                                    CLYDE              MI 48049‐4558
RAMSEY, DIANA L             417 WALKER ST APT 6                                                                               TALLAHASSEE        FL 32304
RAMSEY, DOLORES A           14833 MARLOWE ST                                                                                  DETROIT            MI 48227‐2924
RAMSEY, DONALD C            114 CLAIR HILL DR                                                                                 ROCHESTER HILLS    MI 48309‐2105
RAMSEY, DONALD D            4311 FOXTON COURT                                                                                 DAYTON             OH 45414‐5414
RAMSEY, DONALD D            4311 FOXTON CT                                                                                    DAYTON             OH 45414‐3930
RAMSEY, DONALD E            HEARD ROBINS CLOUD LUBEL &     500 DALLAS ST STE 3100                                             HOUSTON            TX 77002‐4711
                            GREENWOOD LLP
RAMSEY, DONALD L            8231 ROBERTS ST                                                                                   MASURY            OH   44438‐1224
RAMSEY, DONALD L            7516 MAJESTIC WOOD DR                                                                             LINDEN            MI   48451‐8632
RAMSEY, DONNA W             2532 ALLYSON DR SE                                                                                WARREN            OH   44484‐3776
RAMSEY, EARL V              10955 COLUMBIANA CANFIELD RD                                                                      CANFIELD          OH   44406
RAMSEY, EDWARD F            9208 N SHELDON RD                                                                                 PLYMOUTH          MI   48170‐4064
RAMSEY, EDWARD M            2001 OAKLAND RD                                                                                   BALTIMORE         MD   21220‐4715
RAMSEY, EDWIN E             2600 HARDEN BLVD LOT 265                                                                          LAKELAND          FL   33803‐7936
RAMSEY, EILEEN              WALSH LAW PC                   11605 MIRACLE HILLS DR STE 205                                     OMAHA             NE   68154‐4467
RAMSEY, ELIAM               19978 TRACEY ST                                                                                   DETROIT           MI   48235‐1535
RAMSEY, ELIZABETH           373 WRIGHT LN                  C/O JOYCE RAMSEY                                                   PIONEER           TN   37847‐2461
RAMSEY, ELIZABETH GRIFFIN   2980 HOYLE FARM DR SW                                                                             MARIETTA          GA   30064‐7531
RAMSEY, ELVIS               111 OLDE OAKS DR                                                                                  WEST MONROE       LA   71292‐2148
RAMSEY, ERNEST              APT 4                          5757 LAWTON LOOP EAST DRIVE                                        INDIANAPOLIS      IN   46216‐2228
RAMSEY, ERNEST J            PO BOX 82                                                                                         GASPORT           NY   14067‐0082
RAMSEY, ESTELLA L           355 OAK ST                                                                                        GALION            OH   44833‐3334
RAMSEY, EUGENE P            4062 ANTHONY DR                                                                                   STERLING HTS      MI   48310‐5057
RAMSEY, EUGENE R            7250 DUNWOODY RD                                                                                  OXFORD            OH   45056‐8990
RAMSEY, EUVENNA S           10062 SW 62ND CIR                                                                                 OCALA             FL   34476‐3621
RAMSEY, EVELYN M            175 JOHNSON AVE APT 9D                                                                            LAWRENCEVILLE     NJ   08648‐3447
RAMSEY, FRANKLIN J          6138 CRAIGMONT DR                                                                                 GOLETA            CA   93117‐1737
RAMSEY, FRED                8615 HUBBELL ST                                                                                   DETROIT           MI   48228‐2447
RAMSEY, FREDDY J            PO BOX 837                                                                                        BROOKLYN          MI   49230‐0837
RAMSEY, FREDERICK           JACOBS & CRUMPLAR P.A.         PO BOX 1271                      2 EAST 7TH ST,                    WILMINGTON        DE   19899‐1271
RAMSEY, FREDERICK L         10668 FALLIS RD                                                                                   LOVELAND          OH   45140‐2317
RAMSEY, GARY L              911 NW 61ST TER                                                                                   KANSAS CITY       MO   64118‐3055
RAMSEY, GARY R              322 S 2ND ST                                                                                      ODESSA            MO   64076
RAMSEY, GEORGE L            5721 N CENTRAL RD                                                                                 BETHANY           OK   73008‐2121
RAMSEY, GERALD S            2610 HARNECK RD                                                                                   APPLEGATE         MI   48401‐9785
RAMSEY, GERALD SCOTT        4331 WALL RD                                                                                      PORT HURON        MI   48060‐2449
RAMSEY, GERALDINE J         3141 REGATTA CIRCLE                                                                               SARASOTA          FL   34231‐8113
RAMSEY, GERRY W             6267 KINCAID RD                                                                                   CINCINNATI        OH   45213‐1415
RAMSEY, GLADYS R            14711 STONE ROAD                                                                                  WAYZATA           MN   55391‐2444
RAMSEY, GLEN E              PO BOX 1881                                                                                       MISSION           TX   78573‐0031
RAMSEY, GLEN E              6701 STOLL LN                                                                                     CINCINNATI        OH   45236‐4038
RAMSEY, GLEN R              2136 CRABAPPLE DR                                                                                 SHREVEPORT        LA   71118‐3929
RAMSEY, GLEN RAY            2136 CRABAPPLE DR                                                                                 SHREVEPORT        LA   71118‐3929
RAMSEY, GLORIA M            6434 S MORGAN ST                                                                                  CHICAGO           IL   60621
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Name                 Address1                      Address2                       Address3   Address4         City               State Zip
RAMSEY, GREGORY      HARDEN RONALD E               PO BOX 776                                                 TERRELL             TX 75160‐0012
RAMSEY, GWENDOLYN    4875 UPPER PATTON PARK RD                                                                MARTINSVILLE        IN 46151‐9166
RAMSEY, HARRISON N   1276 W GALBRAITH RD                                                                      CINCINNATI          OH 45231‐5539
RAMSEY, HARRY M      2909 LEWISBURG WESTERN ROAD                                                              LEWISBURG           OH 45338‐9009
RAMSEY, HELEN        505 RAMSEY DR                                                                            PONDER              TX 76259‐4286
RAMSEY, HELEN C      6040 LANCASTER DR                                                                        FLINT               MI 48532‐3215
RAMSEY, HELEN L.     2236 TAMARACK DR                                                                         OKEMOS              MI 48864‐3914
RAMSEY, HELEN M      4299 LAHRING RD                                                                          LINDEN              MI 48451‐9473
RAMSEY, HENRY L      522 KAYE LANI AVE                                                                        MONROE              MI 48161‐2489
RAMSEY, HERBERT B    47950 PAVIOLLION RD                                                                      CANTON              MI 48188‐6294
RAMSEY, HERMAN C     29588 E BRITTANY CT                                                                      ROSEVILLE           MI 48066‐2042
RAMSEY, HOWARD R     20001 CONANT ST APT 7                                                                    DETROIT             MI 48234
RAMSEY, ICEL R       4500 DOBRY DRIVE                                                                         STERLING HEIGHTS    MI 48314
RAMSEY, IRENE B      601 HAWTHORNE AVE NW                                                                     WARREN              OH 44483‐2237
RAMSEY, IRVIN E      PO BOX 26                     206 SOUTH KANSAS                                           SELDEN              KS 67757‐0026
RAMSEY, IVORY C      204 HUGLEY ROAD                                                                          FAIRFAX             AL 36854‐4521
RAMSEY, IVORY C      204 HUGULEY RD                                                                           VALLEY              AL 36854‐4521
RAMSEY, JACK E       314 MAPLE DR                                                                             LINDEN              MI 48451‐8947
RAMSEY, JACOB        12 LOISEL DR                                                                             EAST SAINT LOUIS     IL 62203‐2033
RAMSEY, JAMES        PO BOX 301                                                                               MOUNT VERNON        NY 10550
RAMSEY, JAMES A      1771 CHERRY DR                                                                           BEAVERCREEK         OH 45432‐2301
RAMSEY, JAMES E      8032 JORDAN RD                                                                           GRAND BLANC         MI 48439‐9726
RAMSEY, JAMES H      2501 PROVIDENCE CHURCH RD                                                                ANDERSON            SC 29626‐6440
RAMSEY, JAMES K      1415 CHATHAM DR                                                                          FLINT               MI 48505‐2591
RAMSEY, JAMES M      3602 LESLEY AVE                                                                          INDIANAPOLIS        IN 46218
RAMSEY, JAMES P      7536 MANNING RD                                                                          MIAMISBURG          OH 45342‐1565
RAMSEY, JAMES P      715 HIGH ST                                                                              MIDDLETOWN          IN 47356‐1314
RAMSEY, JANAI P      514 NEWMAN LN APT 16                                                                     GADSDEN             AL 35903‐3759
RAMSEY, JANET        3143 BOND AVE                                                                            EAST SAINT LOUIS     IL 62207‐1723
RAMSEY, JASPER       3301 VIRGILINA RD                                                                        ROXBORO             NC 27574
RAMSEY, JEARL D      8521 WV HIGHWAY 5 E                                                                      BURNSVILLE          WV 26335‐7102
RAMSEY, JEFFREY J    318 N CEDAR AVE                                                                          NILES               OH 44446‐2542
RAMSEY, JERRY A      11906 SE 277TH ST                                                                        KENT                WA 98030‐8302
RAMSEY, JERRY T      3683 E 103RD ST                                                                          CLEVELAND           OH 44105‐2449
RAMSEY, JESSE L      8 BLACK JACK CT                                                                          LITTLE ROCK         AR 72204‐8101
RAMSEY, JO A         40 S SHIRLEY ST                                                                          PONTIAC             MI 48342‐2846
RAMSEY, JOE M        3867 REINWOOD DR                                                                         DAYTON              OH 45414‐2445
RAMSEY, JOHN A       12 STONER DR                                                                             WEST MIDDLESEX      PA 16159‐3828
RAMSEY, JOHN A       12 STONER DR.                                                                            W. MIDDLESEX        PA 16159‐3828
RAMSEY, JOHN E       601 HAWTHORNE AVE NW                                                                     WARREN              OH 44483‐2237
RAMSEY, JOHN M       1020 HITCH RD                                                                            MARYVILLE           TN 37804‐2339
RAMSEY, JOHNIE L     4160 STANDING ROCK RD                                                                    JAMESTOWN           TN 38556‐5041
RAMSEY, JOHNNIE D    8470 E COUNTY ROAD 300 N                                                                 BROWNSBURG          IN 46112‐9387
RAMSEY, JOSEPH W     33143 MORRISON DR                                                                        STERLING HTS        MI 48312‐6551
RAMSEY, JOYCE C      1280 PENBROOKE TRAIL                                                                     CENTERVILLE         OH 45459‐5459
RAMSEY, JULIA A      2525 LAKE DRIVE                                                                          ANDERSON            IN 46012‐1824
RAMSEY, KENNETH A    3620 DIXIE DR                                                                            TOLEDO              OH 43611‐1743
RAMSEY, KERRY        5193 CONCORDIA DR                                                                        GRAND BLANC         MI 48439‐8686
RAMSEY, LACEY        8134 SANFORD DR                                                                          WESTLAND            MI 48185‐1567
RAMSEY, LADONNA      KROHN & MOSS ‐ IN             120 WEST MADISON STREET 10TH                               CHICAGO              IL 60602
                                                   FLOOR
RAMSEY, LANA TEREE   68 CHARLES LN                                                                            PONTIAC             MI 48341‐2925
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Name                     Address1                       Address2                         Address3   Address4         City              State Zip
RAMSEY, LARRY D          1399 BELCHER RD S LOT 253                                                                   LARGO              FL 33771‐5227
RAMSEY, LARRY D          8479 W CO RD 100 N                                                                          FARMLAND           IN 47340
RAMSEY, LARRY DOUGLAS    8479 W CO RD 100 N                                                                          FARMLAND           IN 47340
RAMSEY, LARRY R          489 HOFFER ST                                                                               PORT CHARLOTTE     FL 33953‐2402
RAMSEY, LARRY R          489 HOFFER STREET                                                                           PORT CHARLOTTE     FL 33953‐3953
RAMSEY, LARRY W          1`609 WALDMAN AVENUE                                                                        FLINT              MI 48507
RAMSEY, LARRY W          1609 WALDMAN AVE                                                                            FLINT              MI 48507‐1508
RAMSEY, LAURA M          22180 TALLWOOD CT UNIT 805                                                                  ESTERO             FL 33928‐2379
RAMSEY, LAURA M          22180 TALLWOOD CT              APT 805                                                      ESTERO             FL 33928‐2379
RAMSEY, LE'ANN B         15121 COUNTY ROAD 201                                                                       DEFIANCE           OH 43512‐9307
RAMSEY, LEONARD A        104 NANCI LANE                                                                              GREENEVILLE        TN 37743‐4817
RAMSEY, LINDA A          2455 BAYWOOD ST                                                                             DAYTON             OH 45406‐1408
RAMSEY, LINDA K          PO BOX 214                                                                                  HIGGINS LAKE       MI 48627‐0214
RAMSEY, LINDA L          1800 TEASDALE LANE                                                                          KOKOMO             IN 46902‐4569
RAMSEY, LORI J           490 HAMBURG RD                                                                              TRANSFER           PA 16154‐2608
RAMSEY, LUCILLE          114 STEEPLECHASE LANE                                                                       NASHVILLE          TN 37221‐4312
RAMSEY, MADELENE P       5900 BRIDGE RD APT 501                                                                      YPSILANTI          MI 48197‐7010
RAMSEY, MADILENE         APT 4                          5757 LAWTON LOOP EAST DRIVE                                  INDIANAPOLIS       IN 46216‐2228
RAMSEY, MARCUS           75 VISTA CT                                                                                 MONROE             OH 45050‐1638
RAMSEY, MARGARET         12608 S. ST. RD. 19                                                                         CONVERSE           IN 46919‐9768
RAMSEY, MARGARET         12608 S STATE ROAD 19                                                                       CONVERSE           IN 46919‐9768
RAMSEY, MARIAN M         10854 E LE MARCHE DR                                                                        SCOTTSDALE         AZ 85255‐8822
RAMSEY, MARK             C/O WALSH LAW PC               11605 MIRACLE HILLS DR STE 205                               OMAHA              NE 68154‐4467
RAMSEY, MARK C           6989 OLD ZION RD                                                                            COLUMBIA           TN 38401‐6025
RAMSEY, MARK E           2933 PAYNE RD SW                                                                            ALBUQUERQUE        NM 87121
RAMSEY, MARTHA           4749 COULSON DR                                                                             DAYTON             OH 45418‐1972
RAMSEY, MARTHA H         3974 SKYVIEW DRIVE                                                                          BRUNSWICK          OH 44212‐1226
RAMSEY, MARY             2021 OAKDALE ST                                                                             DETROIT            MI 48209‐1430
RAMSEY, MARY C           2114 HOLLY WAY ST                                                                           LANSING            MI 48910
RAMSEY, MARY ELIZABETH   C/O JOYCE RAMSEY               373 WRIGHT LANE                                              PIONEER            TN 37847
RAMSEY, MARY L           413 BERWYN AVE                                                                              EWING              NJ 08618‐2527
RAMSEY, MARY L           PO BOX 202474                                                                               CLEVELAND          OH 44120‐8124
RAMSEY, MARY L           5243 JOSEPH ST                                                                              MAPLE HEIGHTS      OH 44137‐1533
RAMSEY, MARY M           9802 S 150 W                                                                                BUNKER HILL        IN 46914‐9518
RAMSEY, MARY M           1730 HIGHWAY 56                                                                             VEVAY              IN 47043‐9647
RAMSEY, MASON            2980 HOYLE FARM DR SW                                                                       MARIETTA           GA 30064‐7531
RAMSEY, MATTHEW S        405 KALYE CT                                                                                MOUNT JULIET       TN 37122‐6123
RAMSEY, MAVERNE G        PO BOX 580                                                                                  ANDERSON           IN 46015‐0580
RAMSEY, MAXINE E         440 WARBURTON AVE APT 2D                                                                    YONKERS            NY 10701‐1820
RAMSEY, MICHAEL A        10562 BEACON AVE                                                                            GARDEN GROVE       CA 92843‐5311
RAMSEY, MICHAEL A        28 E CHICAGO AVE                                                                            PONTIAC            MI 48340‐1215
RAMSEY, MICHAEL J        711 VALLEY DR                                                                               ANDERSON           IN 46011‐2039
RAMSEY, MICHAEL P        9236 BALDWIN RD                                                                             GAINES             MI 48436‐9719
RAMSEY, MICHAEL R        404 RED TAIL PLACE                                                                          TRENTON            OH 45067‐9000
RAMSEY, MICHAEL W        25 CRESCENT LN                                                                              LEVITTOWN          PA 19055‐1621
RAMSEY, MURTH L          PO BOX 29130                                                                                CUMBERLAND         IN 46229‐0130
RAMSEY, NANCY E          9639 MAPLE DR                                                                               INDIANAPOLIS       IN 46280‐1769
RAMSEY, NOBLE            1000 S BALDWIN RD                                                                           OXFORD             MI 48371‐5600
RAMSEY, NORMAN           14535 N MCCAULEY LN            C/O DANNY RAMSEY                                             MOUNT VERNON        IL 62864‐7969
RAMSEY, OSCAR
RAMSEY, OTTIS            3006 MADISON PL                                                                             COOKEVILLE        TN 38501‐6693
RAMSEY, PAMELA M         114 CLAIR HILL DR                                                                           ROCHESTER HILLS   MI 48309‐2105
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Name                 Address1                          Address2                      Address3   Address4         City               State Zip
RAMSEY, PARA LEE     8044 MACTAVISH WAY W.                                                                       JACKSONVILLE        FL 32244‐5554
RAMSEY, PATRICIA A   2323 VILLAGE OF PENNBROO          K                                                         LEVITTOWN           PA 19054
RAMSEY, PATRICIA J   91 COTTAGE ST                                                                               WHITINSVILLE        MA 01588‐1454
RAMSEY, PATRICIA M   615 THOMAS PL                                                                               BOUND BROOK         NJ 08805‐1114
RAMSEY, PAUL A       16244 BAK RD                                                                                BELLEVILLE          MI 48111‐3514
RAMSEY, PAUL E       10910 CHANDLER RD                                                                           DEWITT              MI 48820‐9787
RAMSEY, PAUL E       1897 STATE ROUTE 981                                                                        SCOTTDALE           PA 15683‐2724
RAMSEY, PAUL R       1538 GLORIA ST                                                                              WESTLAND            MI 48186‐8924
RAMSEY, PHILLIP L    PO BOX 251                                                                                  MERIT               TX 75458‐0251
RAMSEY, PINNIE       938 E YORK AVE                                                                              FLINT               MI 48505‐6001
RAMSEY, RALPH L      20662 LAKE MONTCALM RD                                                                      HOWARD CITY         MI 49329‐9027
RAMSEY, RAMON D      209 WASHBOARD RD                                                                            SPRINGVILLE         IN 47462‐5177
RAMSEY, RANDY W      6190 N HURRICANE RD                                                                         WHITELAND           IN 46184‐9314
RAMSEY, REBECCA      PO BOX 244                                                                                  MORRISVILLE         PA 19067‐0244
RAMSEY, REBECCA      530 EHRET RD                                                                                FAIRLESS HILLS      PA 19030
RAMSEY, REGEANIA     P O BOX 1502                                                                                MORGANTOWN          KY 42261‐1502
RAMSEY, REGEANIA     PO BOX 1502                                                                                 MORGANTOWN          KY 42261‐1502
RAMSEY, RENO V       8319 INDEPENDENCE DR                                                                        STERLING HEIGHTS    MI 48313‐3830
RAMSEY, RICHARD E    1002 NORMA AVE                                                                              HAINES CITY         FL 33844‐5316
RAMSEY, RICHARD H    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
RAMSEY, RICHARD P    15803 E 37TH TER S                                                                          INDEPENDENCE       MO 64055‐3656
RAMSEY, RICHARD W    1755 SIEBOLDT QUARRY RD                                                                     SPRINGVILLE        IN 47462‐5358
RAMSEY, ROBERT
RAMSEY, ROBERT G     720 RIDGEWOOD DR                                                                            HARTWELL           GA   30643‐4141
RAMSEY, ROBERT G     12608 S STATE ROAD 19                                                                       CONVERSE           IN   46919‐9768
RAMSEY, ROBERT L     2836 FOREST RD                                                                              LANSING            MI   48910‐3783
RAMSEY, ROBERT P     12471 ATWATER AVE NE                                                                        ALLIANCE           OH   44601‐9698
RAMSEY, RONALD A     6566 MILLER RD                                                                              ELBA               NY   14058‐9704
RAMSEY, RONALD C     9219 WIND RIVER CT                                                                          INDIANAPOLIS       IN   46234‐2054
RAMSEY, RONALD E     8960 DAVIDGATE DR                                                                           HUBER HEIGHTS      OH   45424‐6420
RAMSEY, RONALD J     11535 PLAZA DR APT 205W                                                                     CLIO               MI   48420
RAMSEY, RONALD K     12215 NEW PERRY LN                                                                          SELLERSBURG        IN   47172‐8321
RAMSEY, RONALD L     6434 PHEASANT DR                                                                            NINEVEH            IN   46164‐9659
RAMSEY, RONALD LEE   6578 OAK HILL DR                                                                            ENON               OH   45323‐1618
RAMSEY, RONALD R     2840 WHITE CT NE                                                                            CONYERS            GA   30012‐2606
RAMSEY, ROSA         104 NANCI LANE                                                                              GREENEVILLE        TN   37743‐4817
RAMSEY, ROSA L       104 NANCI LN                                                                                GREENEVILLE        TN   37743‐4817
RAMSEY, ROSCOE C     91 SOUTHAMPTON ST                                                                           BUFFALO            NY   14209‐2109
RAMSEY, ROSEANN J    152 E IROQUOIS RD                                                                           PONTIAC            MI   48341‐1609
RAMSEY, ROY J        25129 CROSSTIE TRL                                                                          COLUMBIA STA       OH   44028‐8704
RAMSEY, RUBY N       6355 DUNCAN ST                                                                              TAYLOR             MI   48180‐1121
RAMSEY, RUSS         35906 SOMERSET ST                                                                           WESTLAND           MI   48186‐4115
RAMSEY, RUSS E       35906 SOMERSET ST                                                                           WESTLAND           MI   48186‐4115
RAMSEY, SANDRA       APT 13210                         10574 OAK LANE                                            BELLEVILLE         MI   48111‐4384
RAMSEY, SANDRA L     4417 CUTHBERTSON ST                                                                         FLINT              MI   48507‐2575
RAMSEY, SHAWN        5408 VASSAR ROAD                                                                            GRAND BLANC        MI   48439‐9112
RAMSEY, SHEILA       352 STATE ST                                                                                HUDSON             NY   12534‐1910
RAMSEY, SHEILA       352 STATE STREET                                                                            HUDSON             NY   12534‐1910
RAMSEY, SHEILA A     1834 LYNN MAR AVE                                                                           YOUNGSTOWN         OH   44514‐1451
RAMSEY, SHEILA A     1974 WOLOSYN CIR APT 3                                                                      YOUNGSTOWN         OH   44514‐1348
RAMSEY, SHIRLEY      35906 ANN ARBOR TRL                                                                         LIVONIA            MI   48150‐3556
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Name                            Address1                           Address2                        Address3            Address4               City            State Zip
RAMSEY, SPENCER L               906 ALHAMBRA DR                                                                                               ANDERSON         IN 46012
RAMSEY, STANLEY (               2455 BAYWOOD ST                                                                                               DAYTON           OH 45406‐1408
RAMSEY, STANLEY (NMI)           2455 BAYWOOD ST                                                                                               DAYTON           OH 45406‐1408
RAMSEY, STANLEY A               PO BOX 2341                                                                                                   FLORISSANT       MO 63032‐2341
RAMSEY, STEVEN L                2070 WOODALE AVE                                                                                              YPSILANTI        MI 48198‐9217
RAMSEY, STEVEN L                9256 US HIGHWAY 84 E                                                                                          TIMPSON          TX 75975‐2121
RAMSEY, STEVEN M                2364 W N ST                                                                                                   KOKOMO           IN 46901
RAMSEY, SUZANNE M               27 RED BUD RD                                                                                                 ROCHESTER        NY 14624‐4717
RAMSEY, SYLVESTER               28461 EVERGREEN RD                                                                                            SOUTHFIELD       MI 48076‐2474
RAMSEY, THELMA C                1895 BOULDER DR                                                                                               HASTINGS         MI 49058
RAMSEY, THELMA R                7536 MANNING RD.,                                                                                             MIAMISBURG       OH 45342‐5342
RAMSEY, THOMAS A                219 SW HAWKINS CT                                                                                             FORT WHITE       FL 32038‐7105
RAMSEY, THOMAS J                1018 N CEDAR ST                                                                                               LANSING          MI 48906‐5211
RAMSEY, THOMAS J                3416 CLEARVIEW RD                                                                                             DAYTON           OH 45439‐1112
RAMSEY, THOMAS J                285 WOODLAND DR                                                                                               ORCHARD PARK     NY 14127‐2950
RAMSEY, THOMAS L                4800 ELK RUN                                                                                                  YUKON            OK 73099‐3112
RAMSEY, THOMAS S                7850 N HAWKINS HWY                                                                                            MANITOU BEACH    MI 49253‐9509
RAMSEY, TOMMIE M                17208 SUNDERLAND RD                                                                                           DETROIT          MI 48219‐4201
RAMSEY, VIOLA                   157 JACKS RIDGE RD                                                                                            MC KEE           KY 40447‐9104
RAMSEY, VIOLA                   157 JACK RIDGE RD                                                                                             MCKEE            KY 40447‐9104
RAMSEY, VIRGINIA                160 SOUTHERN OAKS DR                                                                                          SAINT CHARLES    MO 63303‐4069
RAMSEY, WILLIAM                 940 SILVOOR LANE                                                                                              OXFORD           OH 45056‐2439
RAMSEY, WILLIAM A               1206 BRIGHTON LN                                                                                              BEL AIR          MD 21014
RAMSEY, WILLIAM B               ROUTE 2 BOX 16433                  HIGHWAY 62 WEST                                                            CAMPBELL         MO 63933
RAMSEY, WILLIAM J               27 ROCKLAND DR                                                                                                FAIRBORN         OH 45324‐4329
RAMSEY, WILLIAM L               621 TROMLEY ST                                                                                                INKSTER          MI 48141‐1224
RAMSEY, WILMA L                 4221 VICTORIA DRIVE                                                                                           FORT SMITH       AR 72904
RAMSEY‐KOHL, RITA G             6531 SE FEDERAL HWY APT H208                                                                                  STUART           FL 34997‐8346
RAMSEYER, DOUGLAS A             1079 FARNSWORTH RD                                                                                            LAPEER           MI 48446‐1523
RAMSEYER, FLOYD A               712 ELMWOOD RD                                                                                                FOSTORIA         MI 48435‐9680
RAMSEYER, JOHN D                2517 BROOKSHIRE DR                                                                                            KOKOMO           IN 46902‐4785
RAMSEYER, MARK S                44764 FENWICK DR                                                                                              CANTON           MI 48188‐3244
RAMSEYER, MARVIN O              3046 THORNAPPLE LN                                                                                            BAY CITY         MI 48706‐3181
RAMSEYER, MARY J                4492 W 250 S                                                                                                  RUSSIAVILLE      IN 46979‐9454
RAMSEYER, RICHARD L             508 EDGEWATER DR                                                                                              KOKOMO           IN 46902‐3524
RAMSEYER, SHARON M              1039 S FOSTER RD                                                                                              AU GRES          MI 48703‐9430
RAMSEYH AUTO GROUP
RAMSHAW, GENEVIEVE              935 UNION LAKE RD APT 123                                                                                     WHITE LAKE      MI 48386‐4531
RAMSOFT INC EMPLOYEE            PENSION PLAN #3                    JACK MILLER AND VIVIAN MILLER   8 VALLEY POINT DR                          HOLMDEL         NJ 07733‐1325
                                                                   TTEES
RAMSON JONES                    4301 VILLAGE PARKWAY CIR W APT 3                                                                              INDIANAPOLIS     IN   46254‐4321
RAMSONS LOGISTICS SYSTEMS INC   7781 HOWARD AVENUE                                                                     MCGREGOR CANADA ON
                                                                                                                       N0R 1J0 CANADA
RAMSOUR, CLARA L                1111 ARCHWOOD DR SW                                                                                           OLYMPIA         WA    98502‐5609
RAMSTAD, ARTHUR H               413 APPLEWOOD LN                                                                                              JANESVILLE      WI    53548‐3284
RAMSTAD, DAVID A                11192 JASMINE DR                                                                                              ROSCOE          IL    61073‐9410
RAMSTAD, JANE K                 413 APPLEWOOD LN                                                                                              JANESVILLE      WI    53548
RAMSTAR CARBIDE TOOL INC        2190 BLACKACRE DR                                                                      OLDCASTLE ON N0R 1L0
                                                                                                                       CANADA
RAMSTAR CARBIDE TOOL INC        2190 BLACK ACRE DR                                                                     OLDCASTLE ON N0R 1L0
                                                                                                                       CANADA
RAMSTHALER, CLIFFORD            43 KENMORE RD                                                                                                 EDISON           NJ   08817‐4009
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Name                      Address1                            Address2                   Address3             Address4            City               State Zip
RAMTHUN, DAVID MICHAEL    2816 BRIAR ROSE COURT                                                                                   FORT WAYNE          IN 46815‐8077
RAMTHUN, LORRAINE M       815 W HAPPY HOLLOW RD                                                                                   JANESVILLE          WI 53546‐8930
RAMTHUN, LORRAINE M       815 HAPPY HOLLOW ROAD                                                                                   JANESVILLE          WI 53546‐8930
RAMTHUN, PATRICK A        7322 WINNEBAGO DR                                                                                       FORT WAYNE          IN 46815‐6427
RAMTHUN, STEVEN ANTHONY   7322 WINNEBAGO DR                                                                                       FORT WAYNE          IN 46815‐6427
RAMUNDO, FRANK            1719 SE 5TH CT                                                                                          CAPE CORAL          FL 33990‐2206
RAMUNNI, LUCY J           23 PERKIOMEN AVE                                                                                        STATEN ISLAND       NY 10312‐2016
RAMUNO, JOSEPH A          37 BETHANY RD                                                                                           FRAMINGHAM          MA 01702‐8501
RAMUS, RICHARD R          42146 CARRIAGE COVE CIR             BUILDING 6 APT 104                                                  CANTON              MI 48187‐3557
RAMUS, TIM W              31653 MARY ANN DR                                                                                       WARREN              MI 48092‐5026
RAMY ASSELIN              3418 ARDENDALE LANE                 APT C                                                               SACRAMENTO          CA 95825‐1465
RAMY N SULAIMAN           3245 ESTATE VIEW CT                                                                                     COMMERCE TWP        MI 48382‐5139
RAMZI YONO                39353 HYLAND DR                                                                                         STERLING HTS        MI 48310‐2732
RAMZY, BOBBIE G           3450 MARLEY RD                                                                                          JACKSBORO           TX 76458‐3806
RAN CHARBY                8905 GOODALE AVE                                                                                        UTICA               MI 48317‐5731
RAN‐SHEL COMPANY          CHET LUCAS                          5585 GATEWOOD DR                                                    STERLING HEIGHTS    MI 48310‐2227
RAN‐SHEL COMPANY          CHET LUCAS                          5585 GATEWOOD                                   WHITBY ON CANADA
RAN‐SHEL INC              5585 GATEWOOD DR                                                                                        STERLING HEIGHTS   MI 48310‐2227
RAN‐SHEL INC              CHET LUCAS                          5585 GATEWOOD                                   WHITBY ON CANADA
RAN‐SHEL INC              CHET LUCAS                          5585 GATEWOOD DR                                                    STERLING HEIGHTS   MI   48310‐2227
RANA D HARTMAN            8994 HICKORYGATE LANE                                                                                   HUBER HEIGHTS      OH   45424
RANA, THERESA E           1459 PORCH ROCK RD                                                                                      PIKEVILLE          TN   37367‐8405
RANADEY, VIKASH           1570 SKY VALLEY DRIVE #D201                                                                             SPARKS             NV   89503
RANAE BROWN               5144 WARWICK WOODS TRL                                                                                  GRAND BLANC        MI   48439‐9405
RANAGAN, GARY R           PO BOX 270                                                                                              MILLERSBURG        OH   44654‐0270
RANAL INC                 2851 HIGH MEADOW CIR STE 120                                                                            AUBURN HILLS       MI   48326‐2790
RANAL INC                 2851 HIGH MEADOW CIR                STE 120                                                             AUBURN HILLS       MI   48326‐2790
RANALDO G NORTH           ROBERT W PHILLIPS                   SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521          EAST ALTON         IL   62024
                                                              ANGELIDES & BARNERD LLC
RANALLETTE, ANN M         14400 EL MONTE RD                                                                                       ATASCADERO         CA 93422‐1126
RANALLI EDWARD (494118)   CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                               CLEVELAND          OH 44113‐1328
                          COONE AND ASSOCIATES
RANALLI, EDWARD           CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                               CLEVELAND          OH 44113‐1328
                          COONE AND ASSOCIATES
RANALLI, EDWARD A         830 TAYLOR AVE                                                                                          GIRARD             OH   44420‐2460
RANALLI, MARY G           2407 SUNLADEN DRIVE                                                                                     GROVE CITY         OH   43123‐1587
RANALLI, TONY D           6875 NASH RD                                                                                            NORTH TONAWANDA    NY   14120‐1251
RANALLO JR, JOSEPH A      15804 E 3RD TERRACE CT S                                                                                INDEPENDENCE       MO   64050‐3382
RANALLO, JOSEPH A         6251 SE HIGHWAY 33                                                                                      HOLT               MO   64048‐8351
RANALLO, MARY A           6251 SE HIGHWAY 33                                                                                      HOLT               MO   64048
RANALLO, RONALD F         1779 VALERIE LN                                                                                         NEW BRIGHTON       MN   55112‐1731
RANARD JR, DANIEL         PO BOX 515                                                                                              SPENCER            IN   47460‐0515
RANARD, HARRIETT E        2150 S SMITH RD                                                                                         BLOOMINGTON        IN   47401‐8916
RANARD, STEPHEN G         2000 FREEMAN RD                                                                                         SPENCER            IN   47460‐7434
RANARD, WILLIAM H         610 S OHIO ST                                                                                           MARTINSVILLE       IN   46151‐2225
RANC, PAUL E              2415 WOOD LENHART RD                                                                                    LEAVITTSBURG       OH   44430‐9736
RANCE CAIN                2242 RONDA AVE                                                                                          NORWOOD            OH   45212‐1129
RANCE DARTY               15661 BAYLIS ST                                                                                         DETROIT            MI   48238‐3910
RANCE H CREECH            5523 WOODBRIDGE LN                                                                                      DAYTON             OH   45429
RANCE WILLIAMS            26723 SENATOR BLVD                                                                                      SOUTHFIELD         MI   48034‐5606
RANCE, CARROLL R          3559 LISA LN                                                                                            PLAINFIELD         IN   46168‐8206
RANCE, DAN W              70 WESTERN AVE                                                                                          BUFFALO            NY   14215
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Name                              Address1                        Address2                Address3    Address4         City               State Zip
RANCE, DENIS N                    2039 HAMILTON AVE                                                                    JENNINGS            FL 32053‐3009
RANCE, GARY W                     1885 WILKISON LN                                                                     MARTINSVILLE        IN 46151‐8709
RANCE, OLA M                      4729 W POLK ST                                                                       CHICAGO              IL 60644‐5236
RANCE, OLA M                      4729 W POLK                                                                          CHICAGO              IL 60644‐5236
RANCE, ROBERT R                   5831 COZY DR                                                                         PITTSBORO           IN 46167‐9557
RANCE, RONALD H                   2822 GERMAIN DR                                                                      SAGINAW             MI 48601‐5607
RANCE, VICTORIA A                 201 GLENVIEW RD                                                                      CANFIELD            OH 44406‐1155
RANCE, WILTON                     2250 MAYFIELD RD                                                                     SAGINAW             MI 48602‐3522
RANCEFUL, EMMA J                  1413 7TH AVE SE                 S. E.                                                DECATUR             AL 35601‐4215
RANCEFUL, JAMES M                 PO BOX 844                                                                           TYLERTOWN           MS 39667‐0844
RANCEFUL, JAMES M                 101 AUSTIN GUY RD                                                                    TYLERTOWN           MS 39667‐7174
RANCEFUL, MICHAEL DEMETRICE       6714 LANGSFORD LN                                                                    PLAINFIELD           IL 60586‐6598
RANCH CATERING INC                3560 MOUNT ACADIA BLVD                                                               SAN DIEGO           CA 92111‐4531
RANCHER JR, SAUL                  538 N 24TH ST                                                                        SAGINAW             MI 48601‐6203
RANCHER, JOSH L                   105 FID LANE                                                                         BOLIGEE             AL 35443
RANCHO AUTOCARE                   9311 9TH ST                                                                          RANCHO CUCAMONGA    CA 91730‐4507
RANCHO AUTOMOTIVE                 MR. JOHN BOULIANNE, PRESIDENT   17280 GALE AVE                                       CITY OF INDUSTRY    CA 91748‐1502
RANCHO AUTOMOTIVE, INC. D/B/A MVP ATTN: MR. JOHN BOULIANNE        1 RIO RANCHO RD                                      POMONA              CA 91766‐4775
REALTY, LLC
RANCHO CALIFORNIA WATER DISTRICT  PO BOX 9017                     12135 WINCHESTER ROAD                                TEMECULA           CA 92589‐9017
RANCHO CORDOVA CHAMBER OF         2729 PROSPECT PARK DR STE 117                                                        RANCHO CORDOVA     CA 95670‐6291
COMMERCE
RANCHO GRANDE MOTORS              1404 AUTO PARK WAY                                                                   SAN LUIS OBISPO    CA 93405‐7202
RANCHO MIRADA CHEVROLET INC       PO BOX 4357                                                                          TROY               MI 48099‐4357
RANCHO MIRADA CHEVROLET, INC.     INTERCOMPANY
RANCHO MIRADA CHEVROLET, INC.     PO BOX 4357                                                                          TROY               MI   48099‐4357
RANCHO MOBILE HOME ESTATES        29994 CORTE CANTERA                                                                  TEMECULA           CA   92591‐5340
RANCHO MOTOR CO.                  15425 DOS PALMAS RD                                                                  VICTORVILLE        CA   92392‐2476
RANCHO MOTOR COMPANY, INC.        14400 7TH ST                                                                         VICTORVILLE        CA   92395‐4212
RANCHO MOTOR COMPANY, INC.        JOHN WILKINS                    15425 DOS PALMAS RD                                  VICTORVILLE        CA   92392‐2476
RANCHO PHYSICAL THER              PO BOX 870                                                                           MURRIETA           CA   92564‐0870
RANCHO RECYCLING; DARIN D. MOORE
RANCHO SANTIAGO COMMUNITY COLLEGE 1530 W 17TH ST                                                                       SANTA ANA           CA 92706‐3398

RANCHO SIMI RECREATION AND PARK                                   1692 SYCAMORE DR                                                        CA 93065
DISTRICT
RANCHO SPECIALTY HOS               10841 WHITE OAK AVE                                                                 RANCHO CUCAMONGA   CA   91730‐3811
RANCHO VALLEY CHEVROLET            JOHN BOULIANNE                 1 RIO RANCHO RD                                      POMONA             CA   91766‐4775
RANCHO VALLEY CHEVROLET, INC.      1 RIO RANCHO RD                                                                     POMONA             CA   91766‐4775
RANCHO VALLEY CHEVROLET, INC.      JOHN BOULIANNE                 1 RIO RANCHO RD                                      POMONA             CA   91766‐4775
RANCIFER, CLEVELAND S              269 MERGANSER DR                                                                    OAKLEY             CA   94561‐1693
RANCIK, KELLY                      22 BOSTWICK PL                                                                      DEPEW              NY   14043
RANCIVILLE, ROY D                  PO BOX 601                                                                          DANVILLE           IL   61834‐0601
RANCK, CHARLES E                   475 LULLABY CIR                                                                     AMHERST            OH   44001‐1222
RANCK, DAVID L                     1030 MOORE ST                                                                       HUNTINGDON         PA   16652‐1839
RANCK, DOUGLAS A                   1817 CALLIS RD                                                                      LAPEER             MI   48446‐7763
RANCK, HELEN T                     148 WILLOW AVE                                                                      CORTLAND           OH   44410‐1246
RANCK, J ELECTRIC                  1993 GOVER PKWY                PO BOX 547                                           MOUNT PLEASANT     MI   48858‐8137
RANCK, JOSEPH E                    7544 ROGERS DR                                                                      INDIANAPOLIS       IN   46214‐2232
RANCK, PEGGY J                     5988 SANDALWOOD DR                                                                  CARMEL             IN   46033
RANCK, TIMOTHY D                   6290 WILLARD RD                                                                     BIRCH RUN          MI   48415‐8771
RANCO                              8115 US RTE 42 N                                                                    PLAIN CITY         OH   43064
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Name                              Address1                             Address2               Address3                     Address4              City                  State Zip
RANCO INC                         CHRISTIAN SHANK                      RANCO NORTH AMERICA    1900 BILLY MITCHELL BLDG C                         BUFFALO GROVE           IL

RANCO INC                         8115 US RTE 42 N                                                                                               PLAIN CITY            OH    43064
RANCO NORTH AMERICA LP            8115 US HIGHWAY 42 N                                                                                           PLAIN CITY            OH    43064‐9667
RANCO NORTH AMERICA LP            14595 COLLECTION CENTER DR                                                                                     CHICAGO               IL    60693‐0145
RANCO/CLEVELAND                   6306 HAMPSTEAD AVE                   ATTN: FRANK LOUCKA                                                        CLEVELAND             OH    44129‐3727
RANCOUR II, MARK J                6646 PELHAM RD                                                                                                 TAYLOR                MI    48180‐1900
RANCOUR, ALLAN D                  6027 WINNEBAGO ST                                                                                              GROVE CITY            OH    43123‐9075
RANCOUR, ARTHUR D                 12945 HALL RD                                                                                                  ATLANTA               MI    49709‐9363
RANCOUR, JEROME P                 9190 N BRAY RD                                                                                                 CLIO                  MI    48420‐9766
RANCOUR, MAURICE A                C/O GOLDENBERG HELLER ANTOGNOLI &    2227 S STATE RTE 157                                                      EDWARDSVILLE          IL    62025
                                  ROWLAND C
RANCOUR, NANCY A                  6027 WINNEBAGO ST                                                                                              GROVE CITY            OH    43123‐9075
RANCOURT JR, VANCE L              7489 BROCKWAY ST                                                                                               MOUNT MORRIS          MI    48458‐2907
RANCOURT, JAMES F                 12690 AVOCET DR                                                                                                CARMEL                IN    46033‐8203
RANCOURT, LILLIAN G               9456 BEAVER CREEK DR                                                                                           MENTOR                OH    44060‐7118
RANCOURT, RALPH C                 7117 W LAKE RD                                                                                                 INDIANAPOLIS          IN    46214‐3831
RANCOURT, ROBERT C                1747 NEWCASTLE RD                                                                                              GROSSE POINTE WOODS   MI    48236‐1991
RANCOURT, VANCE L                 5502 W FRANCES RD                                                                                              CLIO                  MI    48420‐8560
RANCURELLO, JOHN J                133 CUSHWA DR                                                                                                  CENTERVILLE           OH    45459‐4315
RAND & SON CONSTRUCTION CO        1428 W 9TH ST                                                                                                  KANSAS CITY           MO    64101‐1220
RAND AUTOMOTIVE                   450 BETA ST                                                                              VICTORIA BC V8Z 1B1
                                                                                                                           CANADA
RAND CHEVROLET, INC.              BARRY WILLIAMS                       2 AUTOMOTIVE BLVD                                                         ELKTON                MD    21921‐6375
RAND CONSTRUCTION COMPANY         1428 W 9TH ST                                                                                                  KANSAS CITY           MO    64101‐1220
RAND CORP                         ATTN ROBERT RIVELLE                  1776 MAIN ST                                                              SANTA MONICA          CA    90401‐3208
RAND E SHIVERDECKER               4602 SUCASA CIRCLE                                                                                             ENGLEWOOD             OH    45322
RAND ENVIRONMENTAL SERVICES IN    35555 GENRON CT                                                                                                ROMULUS               MI    48174‐3654
RAND ENVIRONMENTAL SERVICES INC   35555 GENRON CT                                                                                                ROMULUS               MI    48174‐3654
RAND ENVIRONMENTAL SERVICES INC   35555 GENRON COURT                                                                                             ROMULUS               MI    48174
RAND ENVIRONMENTAL SERVICES INC   ATTN: CORPORATE OFFICER/AUTHORIZED   35555 GENRON CT                                                           ROMULUS               MI    48174‐3654
                                  AGENT
RAND GRAY                         747 HAWTHORNE AVE                                                                                              ANDERSON              IN    46011‐2121
RAND JR, ROBERT E                 8326 HILLCREST RD APT C                                                                                        KANSAS CITY           MO    64138‐2752
RAND KULKIS                       4400 STANTON RD                                                                                                OXFORD                MI    48371‐5729
RAND MCNALLY                      9855 WOODS DRIVE                                                                                               SKOKIE                IL    60077‐1074
RAND NEY                          177 SUE DR                                                                                                     GERMANTOWN            OH    45327‐1629
RAND RICHTER                      65 MARNE RD                                                                                                    BUFFALO               NY    14215‐3611
RAND RUSSON                       4370 MISSION RD APT 2                                                                                          KANSAS CITY           KS    66103‐2700
RAND SOUTH                        7311 HERBST RD                                                                                                 BRIGHTON              MI    48114‐9446
RAND W HOLLOWAY                   1728 STONE ROAD #5                                                                                             ROCHESTER             NY    14615‐1633
RAND WILLIAM                      42 COTTAGE RD                                                                                                  KENSINGTON            NH    03833‐6707
RAND'S AUTOMOTIVE CENTER          185 MEMORIAL DR                                                                                                SHREWSBURY            MA    01545‐4030
RAND, ARTHUR J                    841 STIRLING ST                                                                                                PONTIAC               MI    48340‐3166
RAND, CAROL B                     600 OAKSHIRE PL                                                                                                ALAMO                 CA    94507‐2326
RAND, CYNTHIA R                   5700 REVERE RUN                                                                                                CANFIELD              OH    44406‐8674
RAND, DAVID P                     270 HARROW CIR                                                                                                 BLOOMFIELD HILLS      MI    48304‐3918
RAND, ELAINE J                    923 PRINCETON DR                                                                                               CLARKSVILLE           TN    37042‐4667
RAND, JOSEPH R                    103 N SHETLAND CT                                                                                              GARNER                NC    27529‐4540
RAND, PAULA                       3115 STARLITE DR NW                                                                                            WARREN                OH    44485‐1619
RAND, RITA M                      252 BARTLEY AVE                                                                                                MANSFIELD             OH    44903‐2006
RAND, ROBERT M                    1455 N LAZY LN                                                                                                 PALMER                AK    99645‐8626
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Name                   Address1                          Address2            Address3         Address4         City               State Zip
RAND, TAMMY L          9340 LIPTON LN                                                                          DALLAS              TX 75217‐8671
RAND, TAMMY LASHAWN    9340 LIPTON LN                                                                          DALLAS              TX 75217‐8671
RAND, TONY J           SHANNON LAW FIRM                  100 W GALLATIN ST                                     HAZLEHURST          MS 39083‐3007
RAND, WALTER           17 S JESSIE ST                                                                          PONTIAC             MI 48342‐2814
RAND,DAVID P           270 HARROW CIR                                                                          BLOOMFIELD HILLS    MI 48304‐3918
RANDA ROGERS           2528 LIMERICK CIR                                                                       HOLT                MI 48842‐8788
RANDA WHITE            900 CREST RIDGE CT                                                                      IRVING              TX 75061‐9326
RANDA, LORI K          520 N 65TH AVE W                                                                        DULUTH              MN 55807‐1122
RANDAL A BENNING       312 E RIVER RD                                                                          FLUSHING            MI 48433‐2140
RANDAL A DOYLE         63 S SECOND STREET                                                                      CAMDEN              OH 45311‐1047
RANDAL A LAPAN         2363 N 11 MILE RD                                                                       PINCONNING          MI 48650‐8963
RANDAL A MIDDLETON     W233 S8625 CHATEAU LN                                                                   BIG BEND            WI 53103‐9654
RANDAL ACKERMAN        258 HARRISON DR                                                                         DAVISON             MI 48423‐8551
RANDAL AFFOLDER        101 PERRY ST APT 221                                                                    GRAND LEDGE         MI 48837
RANDAL ANDERSON        8454 PENINSULAR DR                                                                      FENTON              MI 48430‐9105
RANDAL ARNDT           900 FULLER LANE                                                                         WHITE LAKE          MI 48386
RANDAL BALDUFF         308 GRAYWYND CT                                                                         LAKE SAINT LOUIS    MO 63367‐4355
RANDAL BATEY           5007 N VASSAR RD                                                                        FLINT               MI 48506‐1750
RANDAL BEANS           62 DWIGGINS RD                                                                          ELSBERRY            MO 63343‐3112
RANDAL BENNING         312 E RIVER RD                                                                          FLUSHING            MI 48433‐2140
RANDAL BREITNER        7905 S COUNTY LINE HWY                                                                  RIGA                MI 49276‐9629
RANDAL BROWN           10850 GARRISON HOLLOW RD                                                                CLEAR SPRING        MD 21722‐1825
RANDAL BRYSON          10400 ROSSMAN HWY RR#3                                                                  EATON RAPIDS        MI 48827
RANDAL BRZEZINSKI      57 TRUDY LN                                                                             CHEEKTOWAGA         NY 14227‐1903
RANDAL CHARTERS        155 COLEMAN DR                                                                          WATERFORD           MI 48328‐3611
RANDAL CHRISTENSEN     1491 REBECCA RUN                                                                        HUDSONVILLE         MI 49426‐9575
RANDAL CLAUCHERTY      3308 TRILLIUM LN APT 22                                                                 JACKSON             MI 49201‐8045
RANDAL COBB            PO BOX 2718                                                                             CROSSVILLE          TN 38557‐2718
RANDAL COGAR           22707 PLACID DR                                                                         FOLEY               AL 36535‐9392
RANDAL COLAIZZI
RANDAL CRONK           815 SOUTHWOOD DR                                                                        FENTON             MI   48430‐1470
RANDAL CURTIS          6031 ETIWANDA AVE                                                                       TARZANA            CA   91356‐1605
RANDAL D POWERS, JR.   139 STRAWBERRY FIELDS DR                                                                GERMANTOWN         OH   45327
RANDAL DUFRESNE        3881 LAKEVIEW BLVD                                                                      ORCHARD LAKE       MI   48324‐3036
RANDAL EVANOFF         500 N BECK RD                                                                           CANTON             MI   48187‐4800
RANDAL FLOYED          859 E GLASS RD                                                                          ORTONVILLE         MI   48462‐8505
RANDAL FOLSOM          2312 SANDPIPER CT                                                                       OKLAHOMA CITY      OK   73170‐3604
RANDAL FOX             24045 WINTERGREEN CIR                                                                   NOVI               MI   48374‐3682
RANDAL G SOWARDS       7370 MORROW ROSSBURG RD                                                                 MORROW             OH   45152
RANDAL GAINES          5004 S EASTERN AVE TRLR 451                                                             OKLAHOMA CITY      OK   73129‐7158
RANDAL GARMAN          62 FAIRVIEW RD                                                                          LITITZ             PA   17543
RANDAL GILLITZER       4264 N RIVER RD                                                                         JANESVILLE         WI   53545‐8920
RANDAL GRIFFITH        6509 W COUNTY ROAD 950 N                                                                MIDDLETOWN         IN   47356‐9334
RANDAL HANKLA
RANDAL HARLEY          322 EGGERTS CROSSING RD                                                                 LAWRENCEVILLE      NJ   08648‐2810
RANDAL HETTEMA         30072 VALLEY GLEN ST                                                                    CASTAIC            CA   91384‐3248
RANDAL HOWARD          2917 WESTMONT AVE                                                                       LANSING            MI   48906‐2543
RANDAL HUDSON          4711 ANCHORAGE DR                                                                       ARLINGTON          TX   76016‐5303
RANDAL HUNT            PO BOX 232                                                                              ELSIE              MI   48831‐0232
RANDAL HUTSON          1000 HAMILTON BLVD                                                                      HAGERSTOWN         MD   21742‐3308
RANDAL J SMITH         857 CAMPBELL ST                                                                         FLINT              MI   48507‐2424
RANDAL JACKSON         13393 IDLE HILLS RD                                                                     BROOKLYN           MI   49230‐8516
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Name                   Address1                        Address2            Address3         Address4         City               State Zip
RANDAL KANDOW          10294 N LINDEN RD                                                                     CLIO                MI 48420‐8559
RANDAL KAUFMANN        8029 GIBBONS RD                                                                       GRANT TOWNSHIP      MI 48032‐1700
RANDAL KNICKERBOCKER   446 S SHELDON ST                                                                      CHARLOTTE           MI 48813‐1844
RANDAL L BREITNER      7905 S COUNTY LINE HWY                                                                RIGA                MI 49276‐9629
RANDAL L CHARTERS      155 COLEMAN DR                                                                        WATERFORD           MI 48328‐3611
RANDAL L CLAY          6207 SHADY KNOLL                                                                      DAYTON              OH 45414
RANDAL L RIDENOUR      9114 OLD STAGE RD.                                                                    WAYNESVILLE         OH 45068
RANDAL LAPAN           2363 N 11 MILE RD                                                                     PINCONNING          MI 48650‐8963
RANDAL LOWERY          7536 SCARLET IBIS LN                                                                  JACKSONVILLE        FL 32256‐2878
RANDAL MAES            2 EVERGREEN DR                                                                        SELFRIDGE ANGB      MI 48045‐5017
RANDAL MARTIN          527 CONNER PL                                                                         RAHWAY              NJ 07065‐4307
RANDAL MILLS           1478 JAMES ST                                                                         BURTON              MI 48529‐1234
RANDAL NIXON           170 STEINFELDT RD                                                                     LANCASTER           NY 14086‐2386
RANDAL NORMAN          7228 N 1125 E                                                                         WILKINSON           IN 46186‐9791
RANDAL NORTH           2422 PIONEER DR                                                                       BELOIT              WI 53511‐2551
RANDAL NORTON          5230 PRESIDENT DR                                                                     TOLEDO              OH 43611‐1124
RANDAL OBENAUF         2128 LYON BLVD                                                                        POLAND              OH 44514‐1565
RANDAL ORDWAY          27131 BLANCHARD RD                                                                    DEFIANCE            OH 43512‐8985
RANDAL PHILLIPS        4943 HALSEY ST                                                                        SHAWNEE MSN         KS 66216‐2029
RANDAL PICKETT         439 SHOAL CREEK RD                                                                    GOODSPRING          TN 38460‐5309
RANDAL PRUITT          29115 RIVEROAK DR                                                                     ROMULUS             MI 48174‐3019
RANDAL PUDVAN          3753 CONSEAR RD                                                                       LAMBERTVILLE        MI 48144‐9748
RANDAL REED            PO BOX 372                                                                            MAYVILLE            MI 48744‐0372
RANDAL ROBINSON        36 S GENESEE AVE                                                                      PONTIAC             MI 48341‐1513
RANDAL S WOODWARD      3077 TREMAINSVILLE RD APT 301                                                         TOLEDO              OH 43613‐1864
RANDAL SAATHOFF        27 S FAIRWAY DR                                                                       ALEXANDRIA          IN 46001‐2811
RANDAL SALTER          17321 SCOTTSDALE BLVD                                                                 SHAKER HTS          OH 44120‐5218
RANDAL SCOTT           6200 E EXCHANGE RD                                                                    DURAND              MI 48429‐9110
RANDAL SERVIS          PO BOX 53                                                                             WHITTEMORE          MI 48770‐0053
RANDAL SKIVER          28330 HOFFMAN RD                                                                      DEFIANCE            OH 43512‐8935
RANDAL SMITH           4475 RISKE DR APT 3                                                                   FLINT               MI 48532‐4257
RANDAL SOWARDS         7370 MORROW ROSSBURG RD                                                               MORROW              OH 45152‐9437
RANDAL STOUT           23907 W 70TH ST                                                                       SHAWNEE             KS 66226‐3544
RANDAL STRICKLIN JR    211 RAINBOW DR # 11106                                                                LIVINGSTON          TX 77399‐2011
RANDAL TAYLOR          178 COURTNEY CIR                                                                      CUMBERLAND GAP      TN 37724‐4262
RANDAL TAYLOR          5470 BANGOR AVE                                                                       FLUSHING            MI 48433‐9000
RANDAL TERLECKI        2418 CHURCHILL AVE                                                                    TRENTON             MI 48183‐2329
RANDAL VERUS           443 S WAVERLY RD                                                                      EATON RAPIDS        MI 48827‐9753
RANDAL VIVAR           1320 VON ELM PL                                                                       YUKON               OK 73099‐3134
RANDAL VORE            8610 HIGHLAND RD                                                                      WHITE LAKE          MI 48386‐2022
RANDAL WALTERS         4473 N BELSAY RD                                                                      FLINT               MI 48506‐1639
RANDAL WALTON          8521 WESTBROOK PL                                                                     SHREVEPORT          LA 71108‐5722
RANDAL WOLFF           N1886 JEFFERY RD                                                                      MONROE              WI 53566‐9793
RANDAL WOODWARD        3077 TREMAINSVILLE RD APT 301                                                         TOLEDO              OH 43613‐1864
RANDAL YATES           19 WHITTIER HTS                                                                       HAGERSTOWN          MD 21742‐4512
RANDALE C DAVIS        3877 SHILOH RD                                                                        LAURA               OH 45337‐9798
RANDALE DAVIS          3877 SHILOH RD                                                                        LAURA               OH 45337‐9798
RANDALE KUTSKILL       3275 ALDERDALE DR                                                                     STERLING HEIGHTS    MI 48310‐6931
RANDALE, JAMES L       3626 GERALD LN                                                                        HAMILTON            OH 45015‐2044
RANDALE, ROBERT A      5367 FRIEDA DR                                                                        FAIRFIELD           OH 45014
RANDALL
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Name                                 Address1                             Address2                       Address3   Address4         City               State Zip
RANDALL A & SHIRLEY G PALMER TTEES   PALMER FAMILY TRUST U/A DTD 01/24/91 2630 LA MIRADA LN                                          LOS OSOS            CA 93402‐4432

RANDALL A BOWSER                     3908 E 78TH PLACE                                                                               SARASOTA           FL   34243‐4229
RANDALL A BRADSHAW                   8374 N MCKINLEY RD                                                                              FLUSHING           MI   48433‐8844
RANDALL A BURNS                      90 LONGVIEW CIR                                                                                 NORTH LIMA         OH   44452‐9550
RANDALL A COLVIN                     1550 WOOD AVE SE LOT 3                                                                          ATTALLA            AL   35954‐7412
RANDALL A COOGAN                     503 BREMAN AVE                                                                                  SYRACUSE           NY   13211‐1229
RANDALL A EVANOFF                    14736 COCHRAN ST                                                                                SOUTHGATE          MI   48195‐2571
RANDALL A FRANCE                     7321 LATTICE DR                                                                                 INDIANAPOLIS       IN   46217‐5250
RANDALL A KIDDER                     10354 FRANK DUKE BLVD                                                                           FLORENCE           KY   41042
RANDALL A LAPAN                      2363 N 11 MILE RD                                                                               PINCONNING         MI   48650‐8963
RANDALL A MASTERS                    11010 CONSTANTIA CV                                                                             ROANOKE            IN   46783‐8910
RANDALL A MAYO                       5551 BROOKBANK PL                                                                               DAYTON             OH   45440
RANDALL A MULLENIX                   755 MACEDONIA RD                                                                                BLANCHESTER        OH   45107‐8760
RANDALL ACHTERHOF                    13975 TAFT RD                                                                                   SPRING LAKE        MI   49456‐9521
RANDALL ADAMS                        13448 N FENTON RD                                                                               FENTON             MI   48430‐1118
RANDALL ALLISON                      3300 DOGWOOD CT                                                                                 BLOOMFIELD HILLS   MI   48304‐2519
RANDALL ALT                          4825 LINDA LN                                                                                   METAMORA           MI   48455‐8935
RANDALL ALT                          328 FULLERTON PLACE                                                                             ABINGDON           MD   21009‐2501
RANDALL ANDREWS                      65690 N BIG HILL RD                                                                             STURGIS            MI   49091‐9132
RANDALL ANTROBUS                     333 MAGGART RD                                                                                  ELMWOOD            TN   38560‐4028
RANDALL ARMSTEAD                     10402 WASHBURN RD                                                                               GOODRICH           MI   48438‐8832
RANDALL ARMSTRONG                    3225 PALM DR                                                                                    DAYTON             OH   45449‐2929
RANDALL ARNDT                        1259 W GORDON RD                                                                                AU GRES            MI   48703‐9524
RANDALL ARNDT                        3176 S BELSAY RD                                                                                BURTON             MI   48519‐1620
RANDALL ARNHOLT                      1895 OSBUN RD                                                                                   MANSFIELD          OH   44903‐9783
RANDALL ARNOT                        27 BLUEBIRD HILL DR                                                                             LAKE ORION         MI   48359‐1806
RANDALL ASBURY                       1396 WEBBER AVE                                                                                 BURTON             MI   48529‐2034
RANDALL ASKINS                       17093 ROAD J                                                                                    OTTAWA             OH   45875‐9440
RANDALL AUDREY                       RANDALL, AUDREY                      30800 TELEGRAPH ROAD , SUITE                               BINGHAM FARMS      MI   48025
                                                                          2985
RANDALL AUILER                       2694 E SHEEPNECK RD                                                                             CULLEOKA           TN   38451‐2309
RANDALL AUTOMOTIVE                   3615 S MARTIN LUTHER KING JR BLVD                                                               LANSING            MI   48910‐4350
RANDALL AUTOMOTIVE                   2516 E KALAMAZOO ST                                                                             LANSING            MI   48912‐3934
RANDALL B ASBURY                     1396 WEBBER AVE                                                                                 BURTON             MI   48529‐2034
RANDALL B BARKER CARRIE BURKS &      30928 FORD RD                                                                                   GARDEN CITY        MI   48135‐1803
CONSUMER LEGAL SERVICES
RANDALL B BLANKENSHIP                567 WHARTON ST                                                                                  YPSILANTI          MI 48198‐8014
RANDALL B CLARK                      3100 DORF DR.                                                                                   DAYTON             OH 45418
RANDALL B DACUS‐PERSONAL REP FOR     C/O BRAYTON PURCELL                  222 RUSH LANDING RD                                        NOVATO             CA 94948‐6169
GARY E DACUS
RANDALL B EMRICK JR                  14141 ECKLES RD                                                                                 PLYMOUTH           MI   48170‐2759
RANDALL B INGRAM                     6041 HALDERMAN RD                                                                               W ALEXANDRIA       OH   45381
RANDALL B KESTER                     12900 SW 9TH STREET #206                                                                        BEAVERTON          OR   97005
RANDALL B KLING                      2700 POWHATTAN PL                                                                               KETTERING          OH   45420‐3914
RANDALL B LEPPARD                    709 E MOLLOY RD                                                                                 SYRACUSE           NY   13211‐1605
RANDALL B NAPIER                     11740 STECK ROAD                                                                                BROOKVILLE         OH   45309‐9373
RANDALL BAKER                        20 5TH ST                                                                                       KEANSBURG          NJ   07734‐2910
RANDALL BAKER JR                     262 SUNNYBROOK RD                                                                               JACKSON            NJ   08527‐4615
RANDALL BALANOWSKI                   1835 REDBUD LN                                                                                  LANSING            MI   48917‐7634
RANDALL BARNABY                      5259 OTTAWA ST                                                                                  BURTON             MI   48509‐2025
RANDALL BARNARD                      595 S BALDWIN RD                                                                                OXFORD             MI   48371‐4113
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Name                     Address1                         Address2                     Address3   Address4              City              State Zip
RANDALL BARNHART         6183 RIVER RD                                                                                  FLUSHING           MI 48433‐2581
RANDALL BARTLETT         1676 GIBSON WAY                                                                                MERIDIAN           ID 83642‐3007
RANDALL BARTLETT         25708 ISLAND LAKE DR                                                                           NOVI               MI 48374‐2174
RANDALL BARTLETT         14336 MARILYN RD                                                                               NOBLESVILLE        IN 46060‐9590
RANDALL BARTZ            1835 CYPRESS SPRING DR                                                                         FORT WAYNE         IN 46814‐8810
RANDALL BATTISFORE       3781 W NEEDMORE HWY                                                                            CHARLOTTE          MI 48813‐8669
RANDALL BEACH            675 MASTERS WAY                                                                                BOWLING GREEN      KY 42104‐8586
RANDALL BEARINGS INC     BOBBIE COTRELL                   P. O. BOX 1258                          KITCHENER ON CANADA
RANDALL BEARINGS, INC.   BOBBIE COTRELL                   P. O. BOX 1258                          KITCHENER ON CANADA
RANDALL BEARINGS, INC.   BOBBIE COTRELL                   PO BOX 1258                                                   LIMA              OH   45802‐1258
RANDALL BEECHY           1636 DILG LEAGUE DR                                                                            SHREVEPORT        LA   71109‐1908
RANDALL BEEMER           8099 CHAUCER DR                                                                                WEEKI WACHEE      FL   34607‐2209
RANDALL BEENY            5473 HIDDEN VALLEY TRL                                                                         LINDEN            MI   48451‐8832
RANDALL BEHM             7228 NORMAN RD                                                                                 N TONAWANDA       NY   14120‐4909
RANDALL BEIKMANN         841 NELSON ST                                                                                  BRIGHTON          MI   48116‐1619
RANDALL BELBECK          12453 ECLIPSE CT                                                                               NEW PORT RICHEY   FL   34654‐6355
RANDALL BENEDICK         19644 PINE WOODS DR                                                                            LAKE ANN          MI   49650‐9526
RANDALL BENTOSKI         541 LIBERTY ST                                                                                 ENGLEWOOD         FL   34223‐3822
RANDALL BERNER           1763 N LAPEER RD                                                                               LAPEER            MI   48446‐7601
RANDALL BERRY            4311 G P EASTERLY RD                                                                           W FARMINGTON      OH   44491‐9738
RANDALL BERTRAM          13009 W COUNCIL RD                                                                             YORKTOWN          IN   47396‐9718
RANDALL BISHOP           3404 CALUMET RD                                                                                LUDLOW FALLS      OH   45339‐9702
RANDALL BLACK            6622 MANSFIELD ST                                                                              GARDEN CITY       MI   48135‐2015
RANDALL BLACK            BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.       OH   44236
RANDALL BLACKFORD        13861 RIKER RD                                                                                 CHELSEA           MI   48118‐9508
RANDALL BLAKE            3054 KEEPORT DR                                                                                SPRING HILL       FL   34609‐3228
RANDALL BLALOCK          1006 COOLIDGE ST                                                                               SEMINOLE          OK   74868‐2902
RANDALL BLAND            9429 E MONTEGO LN                                                                              SHREVEPORT        LA   71118‐3607
RANDALL BLANKENSHIP      3746 DOWELL LN                                                                                 PULASKI           VA   24301‐7132
RANDALL BLANKENSHIP      567 WHARTON ST                                                                                 YPSILANTI         MI   48198‐8014
RANDALL BLASZYK          2316 ORPINGTON DR                                                                              TROY              MI   48083‐5941
RANDALL BLEDSOE          616 VAUGHANS GAP RD                                                                            SPRING HILL       TN   37174‐2582
RANDALL BOLTON           11103 KENYON RD                                                                                GRAND LEDGE       MI   48837‐9786
RANDALL BONNELL          2914 ROUNDTREE BLVD                                                                            YPSILANTI         MI   48197‐4811
RANDALL BOROWICZ         2845 N BYRON RD                                                                                LENNON            MI   48449‐9606
RANDALL BOURASSA         4468 BILLMAR ST SW                                                                             GRANDVILLE        MI   49418‐2204
RANDALL BOWERS           1903 WATKINS LAKE RD                                                                           WATERFORD         MI   48328‐1431
RANDALL BOWSER           3908 78TH PL E                                                                                 SARASOTA          FL   34243‐4229
RANDALL BOYETT           8770 SHANE LN                                                                                  KEITHVILLE        LA   71047‐7602
RANDALL BRADSHAW         8374 N MCKINLEY RD                                                                             FLUSHING          MI   48433‐8844
RANDALL BRADY            2356 COMANCHE TRL                                                                              GRAND PRAIRIE     TX   75052‐8595
RANDALL BRASICH          PO BOX 40056                                                                                   FORT WAYNE        IN   46804‐0056
RANDALL BROWN            15166 CENTER RD                                                                                EAST LANSING      MI   48823‐9486
RANDALL BROWN            9289 LAKE RD                                                                                   OTISVILLE         MI   48463‐9611
RANDALL BROWN            18620 SELLENSCHUTTER HOLLOW RD                                                                 MARTHASVILLE      MO   63357‐3142
RANDALL BROWN            510 W DUSTMAN RD                 APT 61                                                        BLUFFTON          IN   46714‐1166
RANDALL BROWNE           3100 E COLUMBIA RD                                                                             DANSVILLE         MI   48819‐9789
RANDALL BROWNING         303 N CHERRY ST                                                                                FLUSHING          MI   48433‐1671
RANDALL BRUNSTING        11471 LONG LAKE DR                                                                             SPARTA            MI   49345‐8413
RANDALL BUCKLEY          6214 LEWISVILLE AVE                                                                            BENSALEM          PA   19020‐2513
RANDALL BURBO            46 SMITH CT 3                                                                                  LAKE ORION        MI   48362‐2767
RANDALL BURDEN           28469 ROSSLYN AVE                                                                              GARDEN CITY       MI   48135‐2763
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Name                           Address1                        Address2          Address3         Address4         City              State Zip
RANDALL BURGESS                PO BOX 965                                                                          SPRING HILL        TN 37174‐0965
RANDALL BURKE                  4556 W 1350 S                                                                       GALVESTON          IN 46932‐8501
RANDALL BURLISON               257 VISTORIA DR                                                                     NORTH PORT         FL 34287‐2593
RANDALL BURMEISTER             845 ROWLINSON LN                                                                    ORTONVILLE         MI 48462‐8559
RANDALL BURNS                  90 LONGVIEW CIR                                                                     NORTH LIMA         OH 44452‐9550
RANDALL BURNS                  4 BUNKER HILL RD                                                                    SILEX              MO 63377‐2454
RANDALL BUSH                   15354 GREENLAWN ST                                                                  DETROIT            MI 48238‐1834
RANDALL BUTLER                 6148 YOUNGSTOWN KINGSVILLE RD                                                       CORTLAND           OH 44410‐9794
RANDALL BUTTERFIELD            4758 BRIGGS RD                                                                      OTTER LAKE         MI 48464‐9705
RANDALL BUTTS                  885 FEATHERBED RD                                                                   MARTINSBURG        WV 25404‐0378
RANDALL BYERS                  PO BOX 892217                                                                       OKLAHOMA CITY      OK 73189‐2217
RANDALL C BLAISDELL            3327 GULF WATCH COURT                                                               SARASOTA           FL 34231
RANDALL C COCHRAN              20 FOREST GLEN AVE                                                                  DAYTON             OH 45405
RANDALL C MCINTOSH             110 BROOKHAVEN DR                                                                   COLUMBIA           TN 38401‐8876
RANDALL C REVLETT              5279 WOODBINE AVE                                                                   DAYTON             OH 45432‐3631
RANDALL C SEAY                 6120 MAJORS LN                                                                      COLUMBIA           MD 21045
RANDALL C SMITH                3 BERWICK CT                                                                        MIAMISBURG         OH 45342
RANDALL CAJKA                  19857 ANDERSON RD                                                                   BOWLING GREEN      OH 43402‐9667
RANDALL CAMPBELL               2829 KEENAN AVENUE                                                                  DAYTON             OH 45414‐4913
RANDALL CARDER                 525 GEORGETOWN AVE APT B27                                                          ELYRIA             OH 44035‐9406
RANDALL CARLISLE               30335 WHITTIER AVE                                                                  MADISON HTS        MI 48071‐2067
RANDALL CARPENTER              3609 N BENTON RD                                                                    MUNCIE             IN 47304‐8951
RANDALL CARPENTER              4031 HIGHWAY 30 E                                                                   JACKSON            KY 41339
RANDALL CARTER                 11311 RATHBUN RD                                                                    BIRCH RUN          MI 48415‐9720
RANDALL CARY                   2980 RIDGE RD                                                                       HARRISON           MI 48625‐9238
RANDALL CHAMBERLAIN            7210 GARVIN                                                                         WATERFORD          MI 48329‐2828
RANDALL CHAMPAGNE              18041 BRENTWOOD DR                                                                  RIVERVIEW          MI 48193‐8116
RANDALL CHAPMAN                9950 W LEVI DR                                                                      TOLLESON           AZ 85353‐4420
RANDALL CHARLES                3877 HEARTHSTONE DR                                                                 CHAPEL HILL        TN 37034‐2083
RANDALL CHEVROLET INC.         7200 STATE ROUTE 96                                                                 VICTOR             NY 14564‐9754
RANDALL CHILDERS               3975 E M 71                                                                         CORUNNA            MI 48817‐9508
RANDALL CHILDS                 23025 SUSSEX ST                                                                     OAK PARK           MI 48237‐2435
RANDALL CHURCH                 2506 W TOWNLINE RD                                                                  SAGINAW            MI 48601‐9737
RANDALL CHURCH                 2465 PEBBLE RIDGE CT                                                                DAVISON            MI 48423‐8621
RANDALL CIANEK                 715 S MONROE ST                                                                     BAY CITY           MI 48708‐7278
RANDALL CLARK                  2781 MOHICAN AVE                                                                    KETTERING          OH 45429‐3736
RANDALL CLAYTON                7735 SUNFLOWER WAY                                                                  FRISCO             TX 75034‐2475
RANDALL COBB                   1887 FOREST VIEW COURT                                                              COMMERCE TWP       MI 48390‐3931
RANDALL COBLEY                 2730 BULLOCK RD                                                                     BAY CITY           MI 48708‐4915
RANDALL COCHRANE               13093 VILLAGE CT                                                                    CLIO               MI 48420‐8264
RANDALL COFFMAN                9413 S BLACK HAWK HILLS DR                                                          EDINBURGH          IN 46124
RANDALL COOK                   7874 S FENMORE RD                                                                   MERRILL            MI 48637‐9732
RANDALL COOL                   6101 OLD DOUGLAS RD                                                                 KALAMAZOO          MI 49009‐5437
RANDALL COOPER                 262 JANO WAY                                                                        GLASGOW            KY 42141‐7713
RANDALL COOPER                 8887 EASTON RD                                                                      NEW LOTHROP        MI 48460‐9765
RANDALL COUNTY TAX COLLECTOR   PO BOX 9514                                                                         AMARILLO           TX 79105‐9514
RANDALL COX                    575 STONE RD                                                                        SCOTTSVILLE        KY 42164‐8309
RANDALL CRABLE                 610 W MORSE AVE                                                                     BONNER SPRINGS     KS 66012‐1622
RANDALL CRAMER                 1317 VALLEY VIEW DR                                                                 BOARDMAN           OH 44512‐3750
RANDALL CRANS                  10611 W OAK RIDGE RD                                                                EVANSVILLE         WI 53536‐8307
RANDALL CREGAR                 406 RED HAWK DR                                                                     LEANDER            TX 78641‐8096
RANDALL CROCKETT               6065 SHILLINGHAM DR                                                                 WEST BLOOMFIELD    MI 48322‐1560
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Name                             Address1                        Address2                     Address3              Address4         City              State Zip
RANDALL CURTIS                   1704 WHITT DR                                                                                       SPRING HILL        TN 37174‐9500
RANDALL CUSSANS                  4175 WHISPERING OAK DR                                                                              FLINT              MI 48507‐5513
RANDALL D GROVER                 3540 NEW MARKET BANTA RD                                                                            WEST ALEXANDRIA    OH 45381
RANDALL D HARRINGTON             717 TRUMBULL DR                                                                                     NILES              OH 44446‐2123
RANDALL D HEALY                  10302 DEHMEL RD                                                                                     BIRCH RUN          MI 48415‐9733
RANDALL D JASPER                 PO BOX 320616                                                                                       FLINT              MI 48532‐0011
RANDALL D MUSSELL                4010 COOPER RD                                                                                      STOCKBRIDGE        MI 49285‐9774
RANDALL D PETTIT                 55 SESAME ST.                                                                                       SPRINGBORO         OH 45066‐1074
RANDALL D WELCH                  5117 INLAND ST                                                                                      FLINT              MI 48505‐1706
RANDALL D WILSON                 117 S MONROE ST                                                                                     TROY               OH 45373‐2932
RANDALL DAVENPORT                630 S 11 MILE RD                                                                                    LINWOOD            MI 48634‐9722
RANDALL DAVES                    23809 GRISWOLD RD                                                                                   SOUTH LYON         MI 48178‐8932
RANDALL DAVIDSON                 BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.        OH 44236
RANDALL DAVIS                    9009 JOHNSON RD                                                                                     NORTH BENTON       OH 44449‐9625
RANDALL DAVIS                    13825 E 13 MILE RD APT 8                                                                            WARREN             MI 48088‐3265
RANDALL DAVIS                    3113 TWIN CIRCLE ST                                                                                 MOORE              OK 73160‐7526
RANDALL DECHER                   317 5TH AVE APT 6                                                                                   MANISTEE           MI 49660‐1374
RANDALL DECKER                   STE 43J                         1000 WALDEN CREEK TRACE                                             SPRING HILL        TN 37174‐6510
RANDALL DEHAAN                   10515 WHISPERING WATERS LN SE                                                                       CALEDONIA          MI 49316‐8843
RANDALL DELLINGER                3291 SUNNYBROOK                                                                                     BURTON             MI 48519‐2860
RANDALL DELPH                    1522 BURTON CT                                                                                      ANDERSON           IN 46013‐2542
RANDALL DESCHLER                 14 ANNAPOLIS LN                                                                                     ROTONDA WEST       FL 33947‐2201
RANDALL DEYOUNG                  4232 MCCARTY LN RD                                                                                  LAFAYETTE          IN 47905
RANDALL DIBELL                   5280 N JEROME DR                                                                                    ELOY               AZ 85131
RANDALL DICKINSON                3738 PINCH HWY                                                                                      POTTERVILLE        MI 48876‐8751
RANDALL DIGIACOMO                9433 CHESAPEAKE DR                                                                                  BRENTWOOD          TN 37027‐8703
RANDALL DIV OF BURKART/RANDALL   HILLARY BRADY                   A TEXTRON COMPANY            RMR #1 474 S NELSON                    GREENSBURG         IN 47240
RANDALL DIXON                    210 PINECONE DR                                                                                     SPRINGBORO         OH 45066‐8705
RANDALL DLUGOSS                  1023 CHEROKEE AVE                                                                                   ROYAL OAK          MI 48067‐3384
RANDALL DODGE                    11074 W GLEN                                                                                        CLIO               MI 48420‐1989
RANDALL DOLAK                    4105 BURKEY RD                                                                                      YOUNGSTOWN         OH 44515‐3531
RANDALL DORRIS SR.               11276 PANHANDLE RD                                                                                  HAMPTON            GA 30228‐1585
RANDALL DUNLAP                   6286 LOBDELL RD                                                                                     LINDEN             MI 48451‐9158
RANDALL DUNN                     9137 NOBLET RD                                                                                      DAVISON            MI 48423‐8714
RANDALL DUNNAVANT                1825 LEWISBURG HWY                                                                                  PULASKI            TN 38478‐6835
RANDALL DUNNEBACK                3142 6 MILE RD NW                                                                                   GRAND RAPIDS       MI 49544‐9740
RANDALL DURHAM                   3365 PHILLIP AVE                                                                                    FLINT              MI 48507‐3302
RANDALL E BUTLER                 6148 YOUNSTOWN KINGSVILLE                                                                           CORTLAND           OH 44410
RANDALL E CARTER                 911 CENTRAL AVE                                                                                     TILTON              IL 61833‐7913
RANDALL E DAVIS                  2117 BUFFALO ROAD               APT#158                                                             ROCHESTER          NY 14624
RANDALL E DIBELL                 3477 IVY HILL CIR UNIT E                                                                            CORTLAND           OH 44410‐9119
RANDALL E DILLON                 251 TRAVIS DR                                                                                       DAYTON             OH 45431‐2272
RANDALL E ELLIS                  665 HATHAWAY TRL                                                                                    TIPP CITY          OH 45371‐1190
RANDALL E LEMASTER               7348 STATE ROUTE 15                                                                                 DEFIANCE           OH 43512‐9764
RANDALL E RAIDER                 3511 FAIR LANE                                                                                      DAYTON             OH 45416‐1207
RANDALL E SIMMS                  161 OAK GLN                                                                                         DAVISON            MI 48423‐9191
RANDALL E TRUESDALE              2013 SWALLOWTAIL CT                                                                                 CLAYTON            OH 45315
RANDALL E TRUSTY                 732 NEW BURLINGTON ROAD                                                                             WILMINGTON         OH 45177
RANDALL E VANDERBILT             3705 LIVE OAK BLVD                                                                                  FORT WAYNE         IN 46804‐3935
RANDALL E WELLER                 868 OSAGE TRL                                                                                       JAMESTOWN          OH 45335‐1130
RANDALL E WILLIAMS               232 W CORNELL AVE                                                                                   PONTIAC            MI 48340‐2724
RANDALL EBERHARDT                2890 N OAK ST                                                                                       CURRAN             MI 48728‐9744
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Name                                  Address1                      Address2                   Address3   Address4         City               State Zip
RANDALL ELLIS                         665 HATHAWAY TRL                                                                     TIPP CITY           OH 45371‐1190
RANDALL ELLIS                         2733 LEIBY OSBORNE RD                                                                SOUTHINGTON         OH 44470‐9568
RANDALL ELLIS                         4924 CATSKILL                                                                        GALESBURG           MI 49053‐9717
RANDALL EMMETT FILMS 1 INC            1438 GOWER ST                                                                        HOLLYWOOD           CA 90028
RANDALL ENGLER                        4014 NELSON MOSIER RD                                                                LEAVITTSBURG        OH 44430‐9779
RANDALL EPISCOPO                      303 STONEHAM DR                                                                      HOCKESSIN           DE 19707‐1418
RANDALL ERB                           714 RIVER ROCK BLVD                                                                  MURFREESBORO        TN 37128‐4835
RANDALL ERWIN                         193 RISEMAN CT                                                                       OXFORD              MI 48371‐4188
RANDALL EVANOFF                       14736 COCHRAN ST                                                                     SOUTHGATE           MI 48195‐2571
RANDALL F LAWRENCE                    345 WOODSTONE RD APT H‐5                                                             CLINTON             MS 39056‐4958
RANDALL FANCHER                       4385 OAKGUARD DR                                                                     WHITE LAKE          MI 48383‐1579
RANDALL FARROW                        1017 WOLLENHAUPT DR                                                                  VANDALIA            OH 45377‐3265
RANDALL FAULKNER                      194 WALNUT RD                                                                        HOSCHTON            GA 30548‐1536
RANDALL FAUSETT                       3261 UPTON RD                                                                        OVID                MI 48866‐9644
RANDALL FAVORS                        8002 WILLIAM ST                                                                      TAYLOR              MI 48180‐7403
RANDALL FEIX                          2989 HEMLOCK PL                                                                      MANSFIELD           OH 44903‐8414
RANDALL FERGUSON                      3896 PENNYROYAL RD                                                                   FRANKLIN            OH 45005‐1065
RANDALL FICK                          11474 HENDERSON RD                                                                   OTISVILLE           MI 48463‐9727
RANDALL FITZMAURICE                   3366 N 900 W                                                                         ANDREWS             IN 46702‐9513
RANDALL FLOYD                         43746 VINTAGE OAKS DR                                                                STERLING HEIGHTS    MI 48314‐2059
RANDALL FLYNN                         8171 NEW LOTHROP RD                                                                  NEW LOTHROP         MI 48460‐9677
RANDALL FOREMAN                       1051 HOMESTEAD AVENUE                                                                METAIRIE            LA 70005
RANDALL FOREN                         7515 HAVILAND                                                                        LINDEN              MI 48451
RANDALL FORTNER                       221 SHOTWELL ST                                                                      WHITE LAKE          MI 48386‐2465
RANDALL FOSTER                        293 OGLETHORPE DR                                                                    LAPEER              MI 48446‐2769
RANDALL FOUTS                         4220 THOMAS RD                                                                       WELLSVILLE          KS 66092‐8895
RANDALL FRANCE                        7321 LATTICE DR                                                                      INDIANAPOLIS        IN 46217‐5250
RANDALL FRAZIER                       1193 BRIARCLIFFE DR                                                                  FLINT               MI 48532‐2104
RANDALL FREEMAN                       1122 HILLGATE WAY                                                                    LANSING             MI 48912‐5013
RANDALL FRENCH                        10342 BRITAIN ST                                                                     DETROIT             MI 48224‐1937
RANDALL FROST                         1727 PETERS RD                                                                       LUPTON              MI 48635‐9757
RANDALL FRUTH                         16343 PAINTER RD                                                                     DEFIANCE            OH 43512‐8814
RANDALL FRY                           1867 BETHBIREI RD                                                                    LEWISBURG           TN 37091‐6253
RANDALL G BIGGS TRUST U/A DTD 5‐26‐   RANDALL BIGGS                 1101 S PACIFIC ST UNIT A                               OCEANSIDE           CA 92054
1994
RANDALL G DIXON                       210 PINECONE DR                                                                      SPRINGBORO         OH   45066‐8705
RANDALL G GREENWELL                   28082 HOOVER RD.                                                                     WARREN             MI   48093
RANDALL G HASTY                       9996 OVERTON ST                                                                      REESE              MI   48757‐9542
RANDALL G KOLODZIEJSKI                31234 REID DR                                                                        WARREN             MI   48092‐1709
RANDALL G TAULBEE                     317 ASBURY DR                                                                        MARYVILLE          TN   37804‐3607
RANDALL G VLAD                        PO BOX 8823                                                                          WARREN             OH   44484‐0823
RANDALL GAILEY                        PO BOX 5831                                                                          GAINESVILLE        GA   30504‐0831
RANDALL GALLAGHER                     4406 CAPAC RD                                                                        MUSSEY             MI   48014‐3109
RANDALL GALLINGER                     6080 DEER PARK PASS                                                                  GRAND BLANC        MI   48439‐9610
RANDALL GALYEN                        PO BOX 294                                                                           WILSON             NY   14172‐0294
RANDALL GARLAND                       12336 OLD CORUNNA RD                                                                 LENNON             MI   48449‐9709
RANDALL GARNER                        4212 MAPLEWOOD MEADOWS AVE                                                           GRAND BLANC        MI   48439‐3500
RANDALL GARTON                        510 CHESTER AVE                                                                      SPRING HILL        TN   37174‐2439
RANDALL GAVIN                         3311 S SEVERSON RD                                                                   BRODHEAD           WI   53520‐9763
RANDALL GELLIS                        5844 SUMMIT LN                                                                       WESLEY CHAPEL      FL   33545‐4342
RANDALL GIBBONS                       PO BOX 183                                                                           BLANFORD           IN   47831‐0183
RANDALL GIBSON                        10 HEATHER RD                                                                        NEWARK             DE   19702‐3709
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RANDALL GILBERT                 4050 O BRIEN RD                                                                                    VASSAR             MI 48768
RANDALL GILLESPIE               PO BOX 26                                                                                          GILLSVILLE         GA 30543‐0026
RANDALL GINGRICH                7560 ROSSMAN HWY                                                                                   EATON RAPIDS       MI 48827‐8328
RANDALL GODIER                  5654 DOVE MEADOW LN                                                                                SAINT LOUIS        MO 63129‐5903
RANDALL GOINS                   326 RILEY ST                                                                                       DUNDEE             MI 48131‐1029
RANDALL GOLDEN                  4920 TUDOR RD                                                                                      STILESVILLE        IN 46180‐9442
RANDALL GOODWIN                 2241 E NORTH UNION RD                                                                              BAY CITY           MI 48706‐9295
RANDALL GORE                    3709 E 1150 N                                                                                      ALEXANDRIA         IN 46001‐8180
RANDALL GORMAN                  524 N ARCH ST                                                                                      JANESVILLE         WI 53548‐2702
RANDALL GOSS                    6033 MAPLE RIDGE DR                                                                                BAY CITY           MI 48706‐9063
RANDALL GOULD                   1262 SCOUT RD                                                                                      EATON RAPIDS       MI 48827‐9345
RANDALL GRAHAM                  15002 DEER TRAIL DRIVE                                                                             NOBLESVILLE        IN 46060‐4677
RANDALL GRASS                   21702 U S 23 N                                                                                     MILLERSBURG        MI 49759
RANDALL GRAVES                  4217 BELLEMEAD DR                                                                                  BELLBROOK          OH 45305‐1406
RANDALL GRAVES                  903 E ERIE RD                                                                                      ERIE               MI 48133‐9729
RANDALL GRAY                    42849 FAIRFIELD DR                                                                                 BELLEVILLE         MI 48111‐1652
RANDALL GREENWELL               28082 HOOVER RD.                                                                                   WARREN             MI 48093
RANDALL GRENIER                 4506 WOODRIDGE DR                                                                                  SANDUSKY           OH 44870‐7063
RANDALL GRIDER                  4171 MORGAN RD                                                                                     ORION              MI 48359‐1949
RANDALL GRIGSBY                 360 ALMEDIA DR                                                                                     MIAMISBURG         OH 45342‐2653
RANDALL GROYA                   1506 N DEWITT ST                                                                                   BAY CITY           MI 48706‐3545
RANDALL GRUNEWALD               PO BOX 3192                                                                                        LUBBOCK            TX 79452‐3192
RANDALL GUBBINS                 12478 DORWOOD RD                                                                                   BURT               MI 48417‐2357
RANDALL GUERTIN                 56825 INDIAN TRL                                                                                   MACOMB             MI 48042‐1409
RANDALL GUFFEY                  53501 BEECHWOOD DR                                                                                 SHELBY TOWNSHIP    MI 48316‐3729
RANDALL GUILD                   1184 MIZZEN DR                                                                                     OKEMOS             MI 48864‐4403
RANDALL GULLEDGE                4932 GRANGE HALL RD                                                                                HOLLY              MI 48442‐8782
RANDALL GUTIERREZ               1217 NASSAU DR                                                                                     MIAMISBURG         OH 45342‐3243
RANDALL H BUTLER FAMILY TRUST   C/O DONALD T JACK JR TRUSTEE    2800 CANTRELL RD STE 500                                           LITTLE ROCK        AR 72202
RANDALL H DECKER                STE 43J                         1000 WALDEN CREEK TRACE                                            SPRING HILL        TN 37174‐6510
RANDALL H SHELTON               8103 BUCKINGHAM AVE                                                                                ALLEN PARK         MI 48101‐2233
RANDALL H STURM                 1284 S LINDEN RD                                                                                   FLINT              MI 48532‐3460
RANDALL HADSALL                 3700 S WESTPORT AVE #1849                                                                          SIOUX FALLS        SD 57106
RANDALL HAGGARD                 1136 TAMARA LN                                                                                     COLUMBIA           TN 38401‐8015
RANDALL HALDEMAN                3166 BEECHGROVE RD                                                                                 BUCYRUS            OH 44820‐2072
RANDALL HALL                    1393 WILSON RD                                                                                     RISING SUN         MD 21911‐2058
RANDALL HALL                    5166 PIERCE RD NW                                                                                  WARREN             OH 44481‐9309
RANDALL HAMAN                   412 BELL ST                                                                                        CHAPEL HILL        TN 37034‐3240
RANDALL HAMILTON                1203 TULIP TREE RD                                                                                 FORT WAYNE         IN 46825‐4843
RANDALL HAMKINS                 7919 ALTA VISTA DR                                                                                 PINCKNEY           MI 48169‐8477
RANDALL HAMMOND                 1975 MIDVALE ST                                                                                    YPSILANTI          MI 48197‐4423
RANDALL HANSON                  4497 W 200 N LOT 33                                                                                HUNTINGTON         IN 46750‐9072
RANDALL HARBERT                 1138 FOX TRAIL DR W                                                                                NEW PALESTINE      IN 46163‐9754
RANDALL HARDIN                  1858 W SCHWARTZ BLVD                                                                               THE VILLAGES       FL 32159‐6131
RANDALL HARDY JR                6606 GARFIELD AVE                                                                                  CASS CITY          MI 48726‐1613
RANDALL HARLOW                  1901 MARTIN ST                                                                                     INDIANAPOLIS       IN 46237‐1040
RANDALL HARMIC                  139 SWITCHPOINT DR                                                                                 STEWARTSTOWN       PA 17363‐8329
RANDALL HARMON                  225 LUCE AVE                                                                                       FLUSHING           MI 48433‐1712
RANDALL HARRINGTON              201 TEALWOOD DR                                                                                    BOSSIER CITY       LA 71111‐2362
RANDALL HARTLEY                 317 MILLER RD                                                                                      COTTAGEVILLE       WV 25239
RANDALL HARTSOCK                ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON          IL 62024
                                                                ANGELIDES & BARNERD LLC
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RANDALL HARVEY         402 LINDA VISTA ST                                                                   ANN ARBOR          MI 48103‐3624
RANDALL HASTON         1104 CLAIRE DR                                                                       SPRING HILL        TN 37174‐7349
RANDALL HASTY          3121 BIGPOINTE ARMS BLVD       #7                                                    SAGINAW            MI 48603
RANDALL HATTON         1837 S BAYBERRY DR                                                                   MIAMISBURG         OH 45342‐2612
RANDALL HEALY          10302 DEHMEL RD                                                                      BIRCH RUN          MI 48415‐9733
RANDALL HEMRY          5012 MILL CREEK TRL                                                                  FORT WORTH         TX 76179‐5023
RANDALL HENDRICK       2607 ASHVILLE DR NE                                                                  GRAND RAPIDS       MI 49525‐3003
RANDALL HENDRICKS JR   519 VITERRA CT                                                                       KISSIMMEE          FL 34759‐3617
RANDALL HENRY          6269 MAPLE AVE                                                                       SWARTZ CREEK       MI 48473‐8230
RANDALL HERR           1170 TRUWOOD DR                                                                      ROCHESTER HLS      MI 48307‐5458
RANDALL HEWATT         1680 KNIGHT CIR                                                                      LOGANVILLE         GA 30052‐2552
RANDALL HEWATT         2909 N SHARON CHURCH RD                                                              LOGANVILLE         GA 30052‐5272
RANDALL HINMAN         G6354 E PIERSON RD                                                                   FLINT              MI 48506
RANDALL HINTON         10528 LAKE SHORE DR                                                                  FENTON             MI 48430‐2424
RANDALL HIPKINS        4915 BRANCH RD                                                                       FLINT              MI 48506‐2087
RANDALL HIRONS         11930 W COUNTY ROAD 850 N                                                            GASTON             IN 47342‐9003
RANDALL HODDER         1141 N FRASER RD                                                                     PINCONNING         MI 48650‐9471
RANDALL HODGES         2345 CAUSEY RD SE                                                                    MEADVILLE          MS 39653‐7244
RANDALL HOGUE          206 DIAMOND OAKS DR                                                                  HUDSON OAKS        TX 76087‐8723
RANDALL HOLBROOK       203 4TH ST                                                                           SAINT AUGUSTINE    FL 32080‐2908
RANDALL HOLLAND        2612 COUNTY ROAD 531                                                                 BURLESON           TX 76028‐2122
RANDALL HOLLENSTEIN    1539 S WILLARD AVE                                                                   JANESVILLE         WI 53546‐5440
RANDALL HOLLENSTINE    48016 DEER TRAIL DR                                                                  CANTON             MI 48187‐4745
RANDALL HOLLIFIELD     4025 LAKEWAY BLVD                                                                    BENTON             LA 71006‐9793
RANDALL HOOKSTEAD      9027 N BOWERS LAKE RD                                                                MILTON             WI 53563‐9029
RANDALL HOSTETTER
RANDALL HOSTOTTLE      53538 AZALEA DR                                                                      MACOMB            MI   48042‐5760
RANDALL HOUSE          8328 LANDMARK CT UNIT 208                                                            WEST CHESTER      OH   45069‐8843
RANDALL HOWARD         232 VALLEYSIDE DR                                                                    CANTON            GA   30115‐4833
RANDALL HOWARD         3956 PETTY LN                                                                        COLUMBIA          TN   38401‐7316
RANDALL HUBINGER       214 RIVERSIDE RD                                                                     MARQUETTE         MI   49855‐9552
RANDALL HUDSON         3998 LAMONT DR                                                                       WATERFORD         MI   48329‐2018
RANDALL HUFF           1350 MERRY RD                                                                        WATERFORD         MI   48328‐1239
RANDALL HUFFMAN        2709 W BROOKFIELD DR                                                                 MUNCIE            IN   47302‐2048
RANDALL HUGHES         6348 DIANNE ST                                                                       SHREVEPORT        LA   71119‐5214
RANDALL HUGHES         4314 HEDGETHORN CIR                                                                  BURTON            MI   48509‐1257
RANDALL HUNTER         623 W BROADWAY ST                                                                    ALEXANDRIA        IN   46001‐1720
RANDALL HUTCHINSON     5350 SANDPIT RD                                                                      BEDFORD           IN   47421‐5547
RANDALL I I, GARY L    184 JUPITER LN                                                                       SUMMERVILLE       SC   29483‐5619
RANDALL INC.           RANDALL FARNSWORTH             7200 STATE ROUTE 96                                   VICTOR            NY   14564‐9754
RANDALL INGRAM         6041 HALDERMAN RD                                                                    W ALEXANDRIA      OH   45381‐9525
RANDALL IRELAND        10474 HENDERSON RD                                                                   OTISVILLE         MI   48463‐9623
RANDALL ISLER          11929 S 89TH EAST AVE                                                                BIXBY             OK   74008‐1823
RANDALL IVY            1469 PROPER AVE                                                                      BURTON            MI   48529‐2045
RANDALL J COBLEY       2730 BULLOCK RD                                                                      BAY CITY          MI   48708‐4915
RANDALL J FERN         6445 MONROVIA DR                                                                     WATERFORD         MI   48329‐3162
RANDALL J GROENDYK     ACCT OF THOMAS GRZESZAK        630 KENMORE S.E.                                      GRAND RAPIDS      MI   37956
RANDALL J GUFFEY       53501 BEECHWOOD DR                                                                   SHELBY TOWNSHIP   MI   48316‐3729
RANDALL J HATTON       1837 S BAYBERRY DR                                                                   MIAMISBURG        OH   45342‐2612
RANDALL J HORN         2994 STATE ROUTE 122                                                                 FRANKLIN          OH   45005‐9429
RANDALL J HULL         526 GAMEWELL DR                                                                      MIAMISBURG        OH   45342
RANDALL J PURDY        PO BOX 342                                                                           SYRACUSE          NY   13211‐0342
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Name                          Address1                          Address2                          Address3   Address4         City               State Zip
RANDALL J VANLEEUWEN          728 BEERY BLVD                                                                                  UNION               OH 45322‐2905
RANDALL J WINKELMAN           34368 CLINTON PLAZA DR                                                                          CLINTON TOWNSHIP    MI 48035‐3343
RANDALL J WOLFORD             6 ELEANOR AVE                                                                                   LINTHICUM           MD 21090‐1614
RANDALL J. GILLARY, PC        ATTN KEVIN ALBUS                  201 W. BIG BEAVER RD., STE 1020                               TROY                MI 48084
RANDALL JACKSON               18883 MILL RD                                                                                   GEORGETOWN           IL 61846‐6259
RANDALL JACOBS                22851 KISSINGER RD                                                                              LEAVENWORTH         KS 66048‐7147
RANDALL JAMES                 22824 PARK LN                                                                                   WOODBURN            IN 46797‐9654
RANDALL JAMES W SR (346534)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510
                                                                STREET, SUITE 600
RANDALL JANETZKE              5661 N CANAL RD                                                                                 DIMONDALE          MI   48821‐9729
RANDALL JARMAN                3620 HIGHTREE AVE SE                                                                            WARREN             OH   44484‐3730
RANDALL JASPER                PO BOX 320616                                                                                   FLINT              MI   48532‐0011
RANDALL JENKINS               1185 LINUS ST                                                                                   FLINT              MI   48507‐4103
RANDALL JENSEN                6633 ROSEBUSH LN                                                                                INDIANAPOLIS       IN   46237‐8404
RANDALL JOHN J (461106)       SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                               HASTINGS           MN   55033‐2432
RANDALL JOHNSON               602 S DUNBAR RD                                                                                 JANESVILLE         WI   53548‐9133
RANDALL JOHNSON               790 SW US HIGHWAY 40 PMB 106                                                                    BLUE SPRINGS       MO   64015‐4602
RANDALL JONES                 3875 HIGHWAY 124 W                                                                              JEFFERSON          GA   30549‐3119
RANDALL JONES                 C/O THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                   HOUSTON            TX   77017
RANDALL JONES                 67 OXFORD AVE                                                                                   DAYTON             OH   45408‐6147
RANDALL JORDAN                8766 DUNBLANE CT                                                                                TALLAHASSEE        FL   32312‐4061
RANDALL JOYCE                 2948 ONTARIO AVENUE                                                                             NIAGARA FALLS      NY   14305‐3316
RANDALL JR, CHARLES E         151 16TH ST                                                                                     CAMPBELL           OH   44405‐1932
RANDALL JR, CHARLES W         1594 HANNIBAL ST                                                                                NOBLESVILLE        IN   46060‐2938
RANDALL JR, DAVE W            5321 W 77TH ST                                                                                  PRAIRIE VLG        KS   66208‐4722
RANDALL JR, FRANK             2118 DWIGHT AVE                                                                                 FLINT              MI   48503‐5855
RANDALL JR, HOWARD E          29074 BAY POINTE DR                                                                             CHESTERFIELD       MI   48047‐6016
RANDALL JR, JOSEPH            2605 HALCYON AVE                                                                                BALTIMORE          MD   21214‐2532
RANDALL JR, LEROY             521 S EASTLAWN CT                                                                               DETROIT            MI   48215‐3297
RANDALL JUSTICE               59020 MONTEGO DR                                                                                NEW HUDSON         MI   48165‐9532
RANDALL K GROSS               482 GREENUP CT                                                                                  FRANKLIN           OH   45005‐2146
RANDALL K LITTLEJOHN          4016 BRENTON AVE.                                                                               DAYTON             OH   45416‐1607
RANDALL K PATTERSON           1204 PEARL ST SW                                                                                WARREN             OH   44485‐3652
RANDALL K STRONG              C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                     HOUSTON            TX   77007
                              BOUNDAS LLP
RANDALL K TUCKER              2062 ASHMORE DR APT C                                                                           DAYTON             OH   45420‐2042
RANDALL KAGE                  4805 COAL BANK RD                                                                               SPARTA             TN   38583‐3048
RANDALL KAKOCZKI              1831 SEAVY HIGHT RD                                                                             COLUMBIA           TN   38401‐8210
RANDALL KANOWSKI              33725 CHIEF LN                                                                                  WESTLAND           MI   48185‐6936
RANDALL KEENE                 430 PARK AVE                                                                                    SALEM              OH   44460‐3350
RANDALL KELPINSKI             1907 24TH ST                                                                                    BAY CITY           MI   48708‐8006
RANDALL KEMPF                 6170 JAMES DR                                                                                   SIX LAKES          MI   48886‐8789
RANDALL KENYON                9868 WILLOW RD                                                                                  WILLIS             MI   48191‐8000
RANDALL KERN                  6821 N 300 W                                                                                    MIDDLETOWN         IN   47356
RANDALL KERN                  3896 N CRANBERRY BLVD                                                                           NORTH PORT         FL   34286‐7417
RANDALL KERR                  236 CHARLESTOWN PL                                                                              AUSTINTOWN         OH   44515‐1934
RANDALL KESSLER               2245 LAKECREST DR                                                                               MANSFIELD          OH   44903‐6913
RANDALL KEVIN A               RANDALL, KEVIN A
RANDALL KEYS                  17217 JACKSON RD                                                                                HOLLEY             NY   14470‐9772
RANDALL KIDDER                824 MOORE ST                                                                                    DAVISON            MI   48423‐1110
RANDALL KIMBLE                HC 32 BOX 437                                                                                   PETERSBURG         WV   26847‐9612
RANDALL KING                  446 SHANNON WAY                                                                                 LAWRENCEVILLE      GA   30044‐3798
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Name                   Address1                         Address2                     Address3   Address4         City              State Zip
RANDALL KIRK           2207 DOMINION DR                                                                          CHARLOTTESVILLE    VA 22901
RANDALL KLINE          4399 TICKNOR AVE                                                                          NEWTON FALLS       OH 44444‐1141
RANDALL KLINE          PO BOX 507                                                                                SWEETSER           IN 46987‐0507
RANDALL KLING          2700 POWHATTAN PL                                                                         KETTERING          OH 45420‐3914
RANDALL KLITZMAN       17120 WAPPES RD                                                                           CHURUBUSCO         IN 46723‐9026
RANDALL KOLODZIEJSKI   31234 REID DR                                                                             WARREN             MI 48092‐1709
RANDALL KOYL           3055 W FARRAND RD                                                                         CLIO               MI 48420‐8830
RANDALL KRAKOWSKI      2613 S JEFFERSON ST                                                                       BAY CITY           MI 48708‐8754
RANDALL KREZ           11929 W 700 S‐90                                                                          WARREN             IN 46792‐9520
RANDALL KROEG          32949 COUNTY ROAD 358                                                                     LAWTON             MI 49065‐9418
RANDALL KUHN           261 W STATE ST                                                                            HARTFORD           WI 53027‐1152
RANDALL KUIPER         12500 WOODLAND PARK DR NE                                                                 BELDING            MI 48809‐9393
RANDALL KURTH          3440 PASADENA DR                                                                          TROY               MI 48083‐5947
RANDALL L ARNOT        27 BLUEBIRD HILL DR                                                                       LAKE ORION         MI 48359‐1806
RANDALL L BALANOWSKI   1836 REDBUD LN                                                                            LANSING            MI 48917‐7634
RANDALL L BARTLETT     1676 GIBSON WAY                                                                           MERIDIAN           ID 83642‐3007
RANDALL L BEAN         2197 FALMOUTH AVE                                                                         DAYTON             OH 45406‐2514
RANDALL L BROWN        164 CHARLES CT.                                                                           FRANKLIN           OH 45005
RANDALL L BURTON       4343 E KITRIDGE RD                                                                        DAYTON             OH 45424
RANDALL L DE GARMO     2659 FERNCLIFF                                                                            DAYTON             OH 45420‐3317
RANDALL L DECHER       317 5TH AVE APT 6                                                                         MANISTEE           MI 49660‐1374
RANDALL L DUNN         1061 DUBOIS RD                                                                            CARLISLE           OH 45005
RANDALL L ENGLER       4014 NELSON MOSIER RD.                                                                    LEAVITTSBURG       OH 44430‐9779
RANDALL L FARROW       1017 WOLLENHAUPT DR                                                                       VANDALIA           OH 45377‐3265
RANDALL L FIELDS       C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY, STE 600                               HOUSTON            TX 77007
                       BOUNDAS, LLP
RANDALL L FOWLER       9770 COURTLAND DR NE                                                                      ROCKFORD          MI   49341‐9776
RANDALL L GADWAY       1548 BISCAYNE DR                                                                          TOLEDO            OH   43612‐4003
RANDALL L GRIDER       4171 MORGAN RD                                                                            ORION             MI   48359‐1949
RANDALL L HODGES       2345 CAUSEY RD                                                                            MEADVILLE         MS   39653
RANDALL L KENDING      3396 ORRSTOWN RD                                                                          ORRSTOWN          PA   17244
RANDALL L LAUBHAN      PO BOX 6686                                                                               SAGINAW           MI   48608‐6686
RANDALL L MILLER       15398 POWERLINE ROAD                                                                      HOLLEY            NY   14470‐9033
RANDALL L POTVIN       1559 ROUND LAKE RD                                                                        INTERLOCHEN       MI   48643‐8436
RANDALL L SCHAPPERT    1500 MUSTANG DR                                                                           DEFIANCE          OH   43512‐1387
RANDALL L SHEPARD      431 6TH ST                                                                                ROCHESTER         MI   48307‐1401
RANDALL L SHERWOOD     40 EAST LONG MEADOW DRIVE                                                                 SPRINGBORO        OH   45066
RANDALL L SKAGGS       PO BOX 321094                                                                             FLINT             MI   48532‐0019
RANDALL L TUSSEY       309 FULTON LANE                                                                           MIDDLETOWN        OH   45044‐5018
RANDALL L VELZEN       250 MONROE AVE NW STE 200        250 MONROE AVE NW                                        GRAND RAPIDS      MI   49503‐2230
RANDALL L WEAVER       469 RILEY WILLS RD                                                                        LEBANON           OH   45036
RANDALL L WHITE        9647 FLYNN RD                                                                             INDIANAPOLIS      IN   46241‐9553
RANDALL L WILLIAMS     4939 E SAINT JOE HWY                                                                      GRAND LEDGE       MI   48837‐9492
RANDALL LANOUE         14034 WASHBURN RD                                                                         OTTER LAKE        MI   48464‐9749
RANDALL LARAMY         635 WILLOW ST                                                                             HOWARD CITY       MI   49329‐8706
RANDALL LATHAM         1340 WOODROW HARPER RD                                                                    AMBROSE           GA   31512‐3364
RANDALL LATTA          281 CLEARWATER SQ                                                                         SPARTA            TN   38583‐8811
RANDALL LATTY          6525 GUARDRAIL RD                                                                         PINEWOOD          SC   29125‐9177
RANDALL LAUBHAN        PO BOX 6686                                                                               SAGINAW           MI   48608‐6686
RANDALL LAUG           18082 LOVELL RD                                                                           SPRING LAKE       MI   49456‐2341
RANDALL LAVIRE         392 HASLETT RD                                                                            HASLETT           MI   48840‐9767
RANDALL LAWSON         601 E 1100 N                                                                              ROANOKE           IN   46783‐9425
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Name                  Address1                      Address2                           Address3   Address4         City             State Zip
RANDALL LAYMAN        11485 LAPEER RD                                                                              DAVISON           MI 48423‐8184
RANDALL LEDSINGER     3608 ROUNDWOOD FOREST DR                                                                     ANTIOCH           TN 37013‐5458
RANDALL LEE           1011 COUNTY ROAD 370                                                                         TRINITY           AL 35673‐3247
RANDALL LEE           ATEL LEASING CORPORATION      600 CALIFORNIA STREET, 6TH FLOOR                               SAN FRANCISCO     CA 94108

RANDALL LEININGER     8254 OLD HBR                                                                                 GRAND BLANC      MI   48439‐8394
RANDALL LEMASTER      7348 STATE ROUTE 15                                                                          DEFIANCE         OH   43512‐9764
RANDALL LENTINI       47546 STEPHANIE DR                                                                           MACOMB           MI   48044‐4833
RANDALL LEVANDOWSKI   APT 16                        1810 SOUTH CHIPMAN STREET                                      OWOSSO           MI   48867‐4739
RANDALL LEWIS         330 PARK ST                                                                                  CLIO             MI   48420‐1417
RANDALL LIEBROCK      PO BOX 326                    261 LONE OAK                                                   HEMLOCK          MI   48626‐0326
RANDALL LIECHTI       4090 AUTUMN HUE LN                                                                           DAVISON          MI   48423‐8975
RANDALL LINDNER       423 WASHINGTON ST                                                                            DIMONDALE        MI   48821‐8726
RANDALL LINN          14169 HENDERSON RD                                                                           OTISVILLE        MI   48463‐9717
RANDALL LOGAN         210 METHODIST ST                                                                             RED OAK          TX   75154‐6326
RANDALL LONG          4260 SYLVAN RD                                                                               GRASS LAKE       MI   49240‐9618
RANDALL LOWERY        150 QUAIL RD APT 44                                                                          PERRYSBURG       OH   43551‐2560
RANDALL LUCAS         8818 COOLEY RD                                                                               RAVENNA          OH   44266‐9720
RANDALL LUFT          4890 LYTLE RD                                                                                CORUNNA          MI   48817‐9593
RANDALL LYNCH         3125 PATTERSON RD                                                                            BAY CITY         MI   48706‐1825
RANDALL M BROWN       9289 LAKE RD                                                                                 OTISVILLE        MI   48463‐9611
RANDALL M EK          7529 JEANNE DRIVE                                                                            LINO LAKES       MN   55014‐1085
RANDALL M GELLIS      5844 SUMMIT LN                                                                               WESLEY CHAPEL    FL   33545‐4342
RANDALL M HAUSER      36 LEBANON AVE                                                                               GREENVILLE       PA   16125‐1918
RANDALL M MARICH      4040 LOVES CREEK DR                                                                          HOWELL           MI   48843‐9667
RANDALL M MORGAN      2457 MILTON ST. S.E.                                                                         WARREN           OH   44484‐5250
RANDALL M O NEAL      11023 CARR RD                                                                                DAVISON          MI   48423‐9317
RANDALL M ONEILL      1331 CEDARWOOD DR                                                                            MINERAL RIDGE    OH   44440
RANDALL M PARD        1411 MALCOLM DR                                                                              DRESHER          PA   19044
RANDALL MACDONALD     4231 RED ARROW RD                                                                            FLINT            MI   48507‐5446
RANDALL MADISON       9150 GREENWAY CT APT M206                                                                    SAGINAW          MI   48609‐6758
RANDALL MAINER        5428 VASSAR RD                                                                               GRAND BLANC      MI   48439‐9112
RANDALL MARICH        4040 LOVES CREEK DR                                                                          HOWELL           MI   48843‐9667
RANDALL MARTIN        9101 HOLLOW RD                                                                               NEWALLA          OK   74857‐9142
RANDALL MASH          PO BOX 1635                                                                                  JEFFERSON        NC   28640‐1635
RANDALL MASSEY        3737 EL JOBEAN ROAD           #M‐14                                                          PORT CHARLOTTE   FL   33953
RANDALL MASTERS       11010 CONSTANTIA CV                                                                          ROANOKE          IN   46783‐8910
RANDALL MATHIS        4419 SKINNER LAKE RD                                                                         LAPEER           MI   48446‐9097
RANDALL MC CRITE      9452 PRESERVE DR                                                                             FENTON           MI   48430‐9277
RANDALL MC GOVERN     935 SUMMITVILLE DRIVE                                                                        WEBSTER          NY   14580‐4130
RANDALL MCBRIDE       RANDALL, MCBRIDE              16133 VENTURA BLVD STE 700                                     ENCINO           CA   91436‐2406
RANDALL MCCOLLUM      2415 RAINIER ST                                                                              SAGINAW          MI   48603‐3323
RANDALL MCINTOSH      110 BROOKHAVEN DR                                                                            COLUMBIA         TN   38401‐8876
RANDALL MCPEAK        4454 W PARK DR                                                                               BAY CITY         MI   48706‐2512
RANDALL MCPHERSON     5440 EDGAR RD                                                                                CLARKSTON        MI   48346‐1929
RANDALL MEADOWS       1352 CHERRY LN                                                                               UNIONTOWN        OH   44685‐9527
RANDALL MEKUS         4585 ADAMS RIDGE RD                                                                          DEFIANCE         OH   43512‐8769
RANDALL MENZ          1091 WINDSOR ST                                                                              FLINT            MI   48507‐4238
RANDALL MEY           11911 BAUMGARTNER RD                                                                         SAINT CHARLES    MI   48655‐9675
RANDALL MICHALIK      2822 GRANGE HALL RD                                                                          ORTONVILLE       MI   48462‐8409
RANDALL MILAM         12 CLEARPOND LN                                                                              SHAWNEE          OK   74801‐5612
RANDALL MILES         410 LAUREL LAKE RESORT RD                                                                    CORBIN           KY   40701‐7851
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Name                              Address1                          Address2               Address3    Address4         City                 State Zip
RANDALL MILLER                    7352 DAVIS HWY                                                                        CHARLOTTE             MI 48813‐9339
RANDALL MILLER                    505 2ND ST                                                                            OXFORD                MI 48371‐1513
RANDALL MILLER                    316 SPRINGHOUSE CIR                                                                   FRANKLIN              TN 37067‐5833
RANDALL MILLS                     5335 STADLER RD                                                                       MONROE                MI 48162‐9426
RANDALL MITCHELL                  414 WALKER AVE                                                                        KANSAS CITY           KS 66101‐2340
RANDALL MITCHELL
RANDALL MIZUNO                    2379 MATTHEW CT                                                                       HARTLAND             MI   48353‐2638
RANDALL MOELLER                   3905 STANTON DR                                                                       FORT WAYNE           IN   46815‐5041
RANDALL MOLZAN                    1636 SHIPWRECK CT                                                                     SURFSIDE BEACH       SC   29575‐4613
RANDALL MONROE                    5940 NATCHEZ TRACE RD                                                                 FRANKLIN             TN   37064‐9213
RANDALL MONTGOMERY                3891 BUFFALO RD                                                                       SUMMERTOWN           TN   38483‐7163
RANDALL MOON                      2832 CRABAPPLE LN                                                                     DACULA               GA   30019‐1048
RANDALL MOORE                     22747 ROAD M # 12                                                                     CLOVERDALE           OH   45827
RANDALL MOORE                     530 SOUTH HIGHLAND DRIVE                                                              MUSTANG              OK   73064‐3310
RANDALL MOORE                     4216 S STATE RD                                                                       DAVISON              MI   48423‐8602
RANDALL MORAN                     3640 MAY CENTER RD                                                                    LAKE ORION           MI   48360‐2520
RANDALL MORELL                    1105 BEST RD                                                                          METAMORA             MI   48455‐8939
RANDALL MORGAN                    609 MARSHALL FULLER RD                                                                DALLAS               GA   30157‐6164
RANDALL MORGAN                    8461 DYER RD                                                                          WHITTEMORE           MI   48770‐9608
RANDALL MORRIS                    18285 WILDEMERE STREET                                                                DETROIT              MI   48221‐2730
RANDALL MORROW                    43741 BURTRIG RD                                                                      BELLEVILLE           MI   48111‐2967
RANDALL MOSER                     31346 HOSPITAL DR                                                                     PAOLA                KS   66071‐6255
RANDALL MOTORS, INC.              GEORGE RANDALL                    801 W AVENUE N                                      SAN ANGELO           TX   76903‐8358
RANDALL MOTORS, INC.              801 W AVENUE N                                                                        SAN ANGELO           TX   76903‐8358
RANDALL MULLINS                   1267 DOMINION RD                                                                      GERRARDSTOWN         WV   25420‐4180
RANDALL MURPHY                    1234 S JOHNSVILLE FARMERSVIL RD                                                       NEW LEBANON          OH   45345‐9111
RANDALL MURPHY                    6096 W FARRAND RD                                                                     CLIO                 MI   48420‐8214
RANDALL MUSSELL                   4010 COOPER RD                                                                        STOCKBRIDGE          MI   49285‐9774
RANDALL MYERS                     14 NANEA AVE APT A                                                                    WAHIAWA              HI   96786‐3220
RANDALL N PIGOTT                  844 SHADOWOOD LANE SE                                                                 WARREN               OH   44484‐2443
RANDALL NAUSEDA                   18922 SOUTHAMPTON ST                                                                  LIVONIA              MI   48152‐3050
RANDALL NESBIT                    2326 CHESHIRE DR                                                                      AURORA               IL   60502‐6936
RANDALL NEVINS                    113 VILLA CT                                                                          BRAZIL               IN   47834‐3341
RANDALL NOBLE                     9225 CAMBY RD                                                                         CAMBY                IN   46113‐9298
RANDALL NOLAN                     3930 STATE ROUTE 601                                                                  NORWALK              OH   44857‐9505
RANDALL NORDEN                    PO BOX 154                                                                            RIDGEVILLE CORNERS   OH   43555‐0154
RANDALL NOWICKI                   3096 SHERWOOD LN                                                                      BAY CITY             MI   48706‐1238
RANDALL NYE                       75 NAUGATUCK WAY APT B                                                                WATERVILLE           OH   43566‐1171
RANDALL O MOONEY REV TRUST        809 EAST MAITLAND LN                                                                  NEW CASTLE           PA   16105‐5223
RANDALL O'SAKO                    9450 EDGEWOOD DR                                                                      WINDHAM              OH   44288‐1019
RANDALL OAKLEY                    165 RANDALL LN                                                                        LONDON               KY   40741‐6602
RANDALL OHLROGGE                  PO BOX 61                                                                             PICKENS              SC   29671‐0061
RANDALL OLDSMOBILE‐CADILLAC‐GMC   RANDALL FARNSWORTH                2555 STATE ROUTE 332                                CANANDAIGUA          NY   14424‐8007
TRUCK, INC.
RANDALL ONEAL                     11023 CARR RD                                                                         DAVISON              MI   48423‐9317
RANDALL OSBORNE                   12 S FAIRWAY DR                                                                       ALEXANDRIA           IN   46001‐2812
RANDALL OSTERMAN                  3502 W MOTT AVE                                                                       FLINT                MI   48504‐6953
RANDALL OWENS                     11545 NW LINCOLN RD                                                                   RIVERDALE            MI   48877‐9205
RANDALL P GORE                    3709 E 1150 N                                                                         ALEXANDRIA           IN   46001‐8180
RANDALL P LEWIS                   330 PARK ST                                                                           CLIO                 MI   48420‐1417
RANDALL P NOWICKI                 3096 SHERWOOD LN                                                                      BAY CITY             MI   48706‐1238
RANDALL PAGE                      9331 E ATHERTON RD                                                                    DAVISON              MI   48423‐8764
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RANDALL PALAN                    2211 MINERAL POINT AVE                                                                  JANESVILLE        WI 53548‐2735
RANDALL PAPPAL                   PO BOX 9022                                                                             WARREN            MI 48090‐9022
RANDALL PARENT                   15 CYPRUS RUN                     SUN CITY HILTON HEAD                                  BLUFFTON          SC 29909
RANDALL PARKER                   11614 SO CO RD 175E                                                                     CLOVERDALE        IN 46120
RANDALL PARKER                   29488 EDWARD DR                                                                         INKSTER           MI 48141‐1033
RANDALL PATE                     219 VANCE LN                                                                            DANVILLE           IL 61832‐2836
RANDALL PAUL                     204 RAINBOW DR # 10430                                                                  LIVINGSTON        TX 77399‐2004
RANDALL PAULSON ARCHITECTS INC   85 A MILL ST STE 200                                                                    ROSWELL           GA 30075
RANDALL PEABODY                  29095 STATE ROUTE 281                                                                   DEFIANCE          OH 43512‐8967
RANDALL PENTICUFF                5120 EASTWOOD WAY                                                                       ANDERSON          IN 46017‐9636
RANDALL PERRY                    2008 RAPANOS DR                                                                         MIDLAND           MI 48642‐5140
RANDALL PERRY
RANDALL PETERSON                 3398 STONEYRIDGE DR                                                                     HUDSONVILLE      MI   49426‐9092
RANDALL PETROCK                  3973 VIA SIENA                                                                          POLAND           OH   44514‐5338
RANDALL PETTIT                   55 SESAME ST                                                                            SPRINGBORO       OH   45066‐1074
RANDALL PICEK                    2082 E 500 N                                                                            OSSIAN           IN   46777‐9664
RANDALL PIERCE                   1705 S HARRISON ST                                                                      ALEXANDRIA       IN   46001‐2817
RANDALL PIGOTT                   844 SHADOWOOD LN SE                                                                     WARREN           OH   44484‐2443
RANDALL PILLEN                   4149 W PIONEER RD # 144                                                                 MEQUON           WI   53097
RANDALL PLUMMER                  5882 W 2400 RD                                                                          PARKER           KS   66072‐5048
RANDALL POLASZEK                 1475 OAKSHADE ST APT 44                                                                 WALLED LAKE      MI   48390‐2101
RANDALL PONTIAC BUICK GMC        RANDALL FARNSWORTH                2555 STATE ROUTE 332                                  CANANDAIGUA      NY   14424‐8007
RANDALL PONTIAC BUICK GMC        2555 STATE ROUTE 332                                                                    CANANDAIGUA      NY   14424‐8007
RANDALL PORTER                   2680 HONE WEIR RD                                                                       CELINA           OH   45822‐9465
RANDALL POTVIN                   1559 ROUNFD LAKE RD                                                                     INTERLOCHEN      MI   48643‐8435
RANDALL PRICE                    19959 SHERWOOD RD                                                                       BELLEVILLE       MI   48111‐9376
RANDALL PRICE                    8536 MILLIGAN EAST RD                                                                   BURGHILL         OH   44404‐9729
RANDALL PRICE                    165 TURNBERRY PL APT H                                                                  SAINT PETERS     MO   63376‐4455
RANDALL PRIDEMORE                1296 HIRA ST                                                                            WATERFORD        MI   48328‐1516
RANDALL PRINDLE                  1574 GREENWOOD DR                                                                       NORCROSS         GA   30093‐1447
RANDALL PROCKISH                 596 S GOLDEN KEY ST                                                                     GILBERT          AZ   85233‐6848
RANDALL PRUITT                   11163 RIVERVIEW DR                                                                      GRAND BLANC      MI   48439‐1046
RANDALL PRUITT                   2717 BUFORD HWY                                                                         CUMMING          GA   30041‐8214
RANDALL PRUSAITIS                3407 DAWSON DR                                                                          WARREN           MI   48092‐3253
RANDALL PUKALO                   12130 CANTERBURY DR                                                                     WARREN           MI   48093‐1877
RANDALL PUTNAM                   1653 RIVIERA ST                                                                         SAGINAW          MI   48604‐1654
RANDALL R GOODWIN                2241 E NORTH UNION RD                                                                   BAY CITY         MI   48706‐9295
RANDALL R MILLER                 505 2ND ST. RT 2                                                                        OXFORD           MI   48371
RANDALL R OHLROGGE               PO BOX 61                                                                               PICKENS          SC   29671‐0061
RANDALL R SEAMES                 770 21ST ST SW                                                                          NAPLES           FL   34117‐3214
RANDALL R SMITH                  1108 PARK PL                                                                            DAYTON           OH   45449‐1625
RANDALL R TURCSAK                2626 REESE RD                                                                           ORTONVILLE       MI   48462‐9032
RANDALL R WALKER                 4237 GLENAYRE DR                                                                        ENGLEWOOD        OH   45322‐2617
RANDALL RAILEY                   300 PARLIAMENT DR                                                                       HORSESHOE BEND   AR   72512‐3324
RANDALL RAIRIGH                  8220 FATHOM RD                                                                          PENSACOLA        FL   32514‐6714
RANDALL RALEIGH                  7117 SMITH RD                                                                           GAINES           MI   48436‐9750
RANDALL RATLIFF                  5111 IROQUOIS BLVD                                                                      CLARKSTON        MI   48348‐3226
RANDALL RATLIFF                  1406 CAMP RAVINE RD                                                                     BURNS            TN   37029‐5260
RANDALL RAWLINS                  1474 BRANCH RD 70                                                                       ORLEANS          MI   48865
RANDALL RAY                      112 DONNA LN                                                                            JACKSBORO        TN   37757‐2727
RANDALL READNOUR                 667 WANDERING WAY                                                                       OKLAHOMA CITY    OK   73170‐1603
RANDALL REDDING                  2427 COUNTRY LAKE LN                                                                    POWDER SPGS      GA   30127‐1582
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Name                   Address1                           Address2                       Address3   Address4         City                  State Zip
RANDALL REED           PO BOX 884                                                                                    OAKWOOD                GA 30566‐0015
RANDALL REEVES         31004 BURLINGTON ST                                                                           WESTLAND               MI 48186‐5338
RANDALL REICH          6739 GREGORY RD                                                                               DEXTER                 MI 48130‐9697
RANDALL REID           BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                 BOSTON HEIGHTS         OH 44236
RANDALL REINERT        2061 S BRADLEYVILLE RD                                                                        REESE                  MI 48757‐9217
RANDALL REINKER        2016 S. BIG BEND BLVD.                                                                        ST LOUIS               MO 63117
RANDALL REITER
RANDALL RENNER         16744 STATE ROAD 32 E                                                                         NOBLESVILLE           IN   46060‐6810
RANDALL RENNPAGE       521 ROSLYN RD                                                                                 GROSSE POINTE WOODS   MI   48236‐1345
RANDALL REYNOLDS       1210 S PENNSYLVANIA ST                                                                        MARION                IN   46953‐2402
RANDALL RIDENOUR       563 RIVER OAKS DR                                                                             MILFORD               MI   48381‐1039
RANDALL RILEY          4600 E 531 N                                                                                  ROANOKE               IN   46783‐8809
RANDALL RIVERS         4759 MELROSE ST                                                                               SAGINAW               MI   48601‐6926
RANDALL ROBERT         15821 19 MILE RD APT 329                                                                      CLINTON TWP           MI   48038‐6337
RANDALL ROBINSON       14035 RESERVATION RD NE                                                                       OKEECHOBEE            FL   34974‐2819
RANDALL ROCHE          4404 ROADOAN RD                                                                               BROOKLYN              OH   44144‐2744
RANDALL RODRIGUEZ      1421 PARISH RD                                                                                KAWKAWLIN             MI   48631‐9463
RANDALL ROGERS         17849 JEFFERY ST                                                                              ATHENS                AL   35611‐5655
RANDALL ROKICKI        456 OVERLOOK TRL                                                                              PLAINFIELD            IN   46168‐1080
RANDALL ROLLER         147 S 925 E                                                                                   GREENFIELD            IN   46140‐9429
RANDALL ROLLER         300 CASSIDY LN                                                                                MITCHELL              IN   47446‐5210
RANDALL ROMINE         5760 LUM RD                                                                                   ATTICA                MI   48412‐9384
RANDALL RONE           311 W 5TH AVE                                                                                 GARRETT               IN   46738‐1937
RANDALL RORABACHER     6087 DENTON RD                                                                                BELLEVILLE            MI   48111‐1012
RANDALL ROSS           4327 DALE ST                                                                                  PORTSMOUTH            OH   45662‐5004
RANDALL ROWE           15398 RICHMOND RD                                                                             COLUMBIA              TN   38401‐9083
RANDALL RUCKER         711 N YOUNGS RD                                                                               ATTICA                MI   48412‐9602
RANDALL RYAN           RANDALL, RYAN                      10100 SANTA MONICA BOULEVARD                               LOS ANGELES           CA   90067
                                                          SUITE 2460
RANDALL S BELBECK      12453 ECLIPSE CT                                                                              NEW PORT RICHEY       FL   34654‐6355
RANDALL S GUTIERREZ    1217 NASSAU DR                                                                                MIAMISBURG            OH   45342‐3243
RANDALL S KEITH        4675 HENRY DR                                                                                 SAGINAW               MI   48638‐5684
RANDALL S MARTIN       9101 HOLLOW RD                                                                                NEWALLA               OK   74857‐9142
RANDALL S MORGAN       9649 NEW BURLINGTON RD                                                                        WAYNESVILLE           OH   45068
RANDALL S SIMPSON      8683 STATE ROUTE 725 E                                                                        GERMANTOWN            OH   45327‐9404
RANDALL S WILSON       PO BOX 851462                                                                                 YUKON                 OK   73085‐1462
RANDALL S,M. LEHMAN
RANDALL SALISBURY      6012 W M 21                                                                                   SAINT JOHNS           MI   48879‐9509
RANDALL SALYER         2857 FARMERSVILLE JOHNSONVILLE R                                                              FARMERSVILLE          OH   45325
RANDALL SARJEANT       4063 EAGLE ROCK CT SW                                                                         GRANDVILLE            MI   49418‐3152
RANDALL SAUNDERS       624 PLAYERS CROSSING WAY                                                                      BOWLING GREEN         KY   42104‐5534
RANDALL SAXON          1149 PIERCE RD                                                                                COLLINSVILLE          MS   39325‐9010
RANDALL SCHAEFER       6301 OLD SAINT LOUIS RD APT 6                                                                 BELLEVILLE            IL   62223‐4551
RANDALL SCHAPPERT      1500 MUSTANG DR                                                                               DEFIANCE              OH   43512‐1387
RANDALL SCHARRER       10590 BUSCH RD                                                                                BIRCH RUN             MI   48415‐8009
RANDALL SCHILLINGER    6120 WOODSDALE DR                                                                             GRAND BLANC           MI   48439‐8552
RANDALL SCHLICKBERND   702 E ST                                                                                      SOUTH SIOUX CITY      NE   68776‐2072
RANDALL SCHMIT         2112 CRESTVIEW ST                                                                             JANESVILLE            WI   53546‐5783
RANDALL SCHOFIELD      5189 CHANTELLE DR                                                                             FLINT                 MI   48507‐2903
RANDALL SCHOTT         547 CEDAR ST APT 2                                                                            LAPEER                MI   48446‐2193
RANDALL SCHULTZ        2530 IRIS CT                                                                                  RACINE                WI   53402‐1438
RANDALL SCHULZ         35913 FIERIMONTE DR                                                                           CLINTON TWP           MI   48035‐2109
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Name                   Address1                        Address2                   Address3            Address4         City              State Zip
RANDALL SCHWARZ        5564 CARROLLTON CT                                                                              ROCHESTER HILLS    MI 48306‐2395
RANDALL SCOTT          305 BIG CEDAR DR                                                                                DUNLAP             TN 37327‐4623
RANDALL SCRACE         15162 RIVIERA SHORES DR                                                                         HOLLY              MI 48442‐1128
RANDALL SEAMES         770 21ST ST SW                                                                                  NAPLES             FL 34117‐3214
RANDALL SEARIGHT       5755 CORUNNA AVE                                                                                CLARKSTON          MI 48346‐3405
RANDALL SEARS          20475 CENTRALIA                                                                                 REDFORD            MI 48240‐1105
RANDALL SEBERT         2101 S WASHBURN RD                                                                              DAVISON            MI 48423‐8009
RANDALL SEDER          8315 S BEYER RD                                                                                 BIRCH RUN          MI 48415‐8421
RANDALL SEIDEL         137 TURNER ST                                                                                   ROMEO              MI 48065‐4678
RANDALL SELECKI        3789 KNEPPER RD                                                                                 LAMBERTVILLE       MI 48144‐9783
RANDALL SHARP          3596 N 155TH TER                                                                                BASEHOR            KS 66007‐9254
RANDALL SHAW           2070 KAISER TOWER RD                                                                            PINCONNING         MI 48650‐9761
RANDALL SHEILA         RANDALL, SHEILA                 30 E BUTLER AVE                                                 AMBLER             PA 19002‐4514
RANDALL SHELTON        8103 BUCKINGHAM AVE                                                                             ALLEN PARK         MI 48101‐2233
RANDALL SHERWOOD       40 E LONG MEADOW DR                                                                             SPRINGBORO         OH 45066‐8130
RANDALL SHETTERLEY     3281 GRANT RD                                                                                   ROCHESTER HLS      MI 48309‐4112
RANDALL SHOOK          6010 W JACKSON ST                                                                               MUNCIE             IN 47304‐5024
RANDALL SHOURD         3304 BROOKGATE DR                                                                               FLINT              MI 48507‐3211
RANDALL SHRODE         C/O NIX PATTERSON & ROACH LLP   GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                      DAINGERFIELD       TX 75638
RANDALL SIEJAK         1137 RANSOM RD                                                                                  LANCASTER          NY 14086‐9728
RANDALL SIMMONS        1105 NE 70TH TER                                                                                GLADSTONE          MO 64118‐2705
RANDALL SIMMS          161 OAK GLN                                                                                     DAVISON            MI 48423‐9191
RANDALL SISCO          4335 ROSS RD                                                                                    TIPP CITY          OH 45371‐9276
RANDALL SISCO          4335 ROSS RD                                                                                    TIPP CITY          OH 45371‐9276
RANDALL SKAGGS         PO BOX 321094                                                                                   FLINT              MI 48532‐0019
RANDALL SLATER         2195 GILBREATH RD                                                                               MOSHEIM            MI 37818‐2368
RANDALL SMALL          11514 PEARL DR                                                                                  NEW PORT RICHEY    FL 34654‐2703
RANDALL SMALL          4112 W RIVERSIDE AVE                                                                            MUNCIE             IN 47304‐3159
RANDALL SMELSER        3520 ISLAND CLUB DR APT 2                                                                       NORTH PORT         FL 34288‐5500
RANDALL SMITH          245 OHLTOWN RD                                                                                  YOUNGSTOWN         OH 44515‐1929
RANDALL SMITH          3 BERWICK CT                                                                                    MIAMISBURG         OH 45342‐6610
RANDALL SMITH          2374 LASSITER DR                                                                                ROCHESTER HILLS    MI 48309‐1519
RANDALL SOBOCIENSKI    28141 GRIX RD                                                                                   NEW BOSTON         MI 48164‐9719
RANDALL SOCIER         1280 8 MILE RD                                                                                  KAWKAWLIN          MI 48631‐9722
RANDALL SOERGEL        4504 E M H TOWNLINE RD                                                                          MILTON             WI 53563‐9494
RANDALL SONIER         11902 WOOD RD                                                                                   DEWITT             MI 48820‐9342
RANDALL SORENSEN       1061 SPRUCE ST                                                                                  MOUNT MORRIS       MI 48458‐8560
RANDALL SOWA           39932 SOUTH DAKOTA HWY 20                                                                       CONDE              SD 57434
RANDALL SPARKMAN       7912 DUNDALK AVENUE                                                                             DUNDALK            MD 21222‐6035
RANDALL SPOHN          5626 SAMARIA RD                                                                                 OTTAWA LAKE        MI 49267‐9729
RANDALL SPRADLIN       C/O BARON & BUDD PC             THE CENTRUM SUITE 1100     3102 OAK LAWN AVE                    DALLAS             TX 75219‐4281
RANDALL SPRINGER       1345 DEER TRACK TRL                                                                             GRAND BLANC        MI 48439‐8342
RANDALL SR, NORMAN R   PO BOX 232                                                                                      SPICELAND          IN 47385‐0232
RANDALL STANK          10246 DOW RD                                                                                    MULLIKEN           MI 48861‐9775
RANDALL STEELE         116 S DORCHESTER AVE                                                                            ROYAL OAK          MI 48067‐3930
RANDALL STEFANIAK      2507 25TH ST                                                                                    BAY CITY           MI 48708‐4200
RANDALL STEGEWANS      7101 SUNSET AVE                                                                                 JENISON            MI 49428‐8927
RANDALL STEWART        4929 E MAPLE LN                                                                                 JANESVILLE         WI 53546‐9572
RANDALL STOCKWOOD      8708 WEST HARBOR BOULEVARD                                                                      PEORIA             AZ 85383‐9726
RANDALL STODDARD       8550 WARNER RD                                                                                  SALINE             MI 48176‐9085
RANDALL STREET MEDIC   675 W RANDALL ST                                                                                COOPERSVILLE       MI 49404‐1305
RANDALL STROUD         1202 WHITES CIR                                                                                 DARLINGTON         SC 29532‐4552
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Name                     Address1                          Address2                     Address3                   Address4         City             State Zip
RANDALL STROUSE          8260 MERIDIAN RD                                                                                           LAINGSBURG        MI 48848‐9705
RANDALL STURM MD         ATTN: RANDALL STURM               1284 S LINDEN RD                                                         FLINT             MI 48532‐3460
RANDALL SWARTZ           2101 S HIGH ST                                                                                             MUNCIE            IN 47302‐4033
RANDALL SYBERT           22 E ROMEO RD                                                                                              ROMEOVILLE         IL 60446‐1529
RANDALL T COOK           7874 S FENMORE RD                                                                                          MERRILL           MI 48637
RANDALL T GRIGSBY        360 ALMEDIA DR                                                                                             MIAMISBURG        OH 45342
RANDALL TANNER           8217 BUSCH RD                                                                                              BIRCH RUN         MI 48415‐8548
RANDALL TAULBEE          317 ASBURY DR                                                                                              MARYVILLE         TN 37804‐3607
RANDALL TAYLOR
RANDALL TEICHOW          4708 FISH RD                                                                                               KIMBALL          MI   48074‐1504
RANDALL TERRY            699 COUNTY ROAD 592                                                                                        HILLSBORO        AL   35643‐4252
RANDALL TESTER           78 UNION SCHOOL RD                                                                                         ELKTON           MD   21921‐2198
RANDALL TEUBERT          9409 N FULTON ST                                                                                           EDGERTON         WI   53534‐9787
RANDALL TEXT/STHFLD      26600 TELEGRAPH RD STE 100                                                                                 SOUTHFIELD       MI   48033‐5368
RANDALL TEXTRON          KIM HARRIS                        DIV. OF TEXTRON, INC.        P.O. BOX 559, HWY. US 52                    MORRISTOWN       IN   46161
RANDALL THACKER          PO BOX 441                                                                                                 STANTON          KY   40380‐0441
RANDALL THAYER           3630 BRIGHTON DR                                                                                           LANSING          MI   48911‐2121
RANDALL THIEL            6727 E HIGH ST                                                                                             LOCKPORT         NY   14094‐5306
RANDALL THOMAS           5896 BULLARD RD                                                                                            FENTON           MI   48430‐9410
RANDALL THOMAS           BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS       OH   44236
RANDALL THOMPSON         5273 SNYDER DR SW                                                                                          WYOMING          MI   49418‐9514
RANDALL THOMPSON         3590 CAPALDI CIR                                                                                           ORION            MI   48359‐1400
RANDALL THOMPSON         3840 MAPLE RD                                                                                              BURTCHVILLE      MI   48059‐1639
RANDALL TIETZ            703 ROYAL AVE                                                                                              ROYAL OAK        MI   48073‐5704
RANDALL TODD JR          PO BOX 46                                                                                                  SEBRING          OH   44672‐0046
RANDALL TOM              2327 SUL ROSS ST                                                                                           SAN ANGELO       TX   76904‐5309
RANDALL TOUCHSTONE       120 GREEN MEADOW CIR                                                                                       TOWNSEND         DE   19734‐9038
RANDALL TRANSIER         PO BOX 254                                                                                                 CONVERSE         IN   46919‐0254
RANDALL TROUTT           11225 E POTTER RD                                                                                          DAVISON          MI   48423‐8155
RANDALL TUCKER           134 GREEN ACRES RD                                                                                         COTTONTOWN       TN   37048‐4623
RANDALL TURCSAK          2626 REESE RD                                                                                              ORTONVILLE       MI   48462‐9032
RANDALL TUTTLE           8261 PINE LAKE DRIVE                                                                                       DAVISBURG        MI   48350
RANDALL TYLER
RANDALL TYLER            9833 ELIZABETH LAKE RD                                                                                     WHITE LAKE       MI   48386‐2726
RANDALL V GREEN          392 SHAKER MILL BEND RD                                                                                    BOWLING GREEN    KY   42103‐9084
RANDALL V SLAUGHTER      1611 ACADEMY PL                                                                                            DAYTON           OH   45406‐‐ 47
RANDALL VAN DER CAMMEN   6638 DARTMOOR DR                                                                                           FLOWERY BRANCH   GA   30542‐6619
RANDALL VANDERBILT       3705 LIVE OAK BLVD                                                                                         FORT WAYNE       IN   46804‐3935
RANDALL VANDERHEYDEN     6173 LAKE WALDON DR                                                                                        CLARKSTON        MI   48346‐2293
RANDALL VANOOYEN         34139 TAWAS TRAIL                                                                                          WESTLAND         MI   48185‐2319
RANDALL VERSTRATE        1859 KEYHILL AVE SE                                                                                        GRAND RAPIDS     MI   49546‐4355
RANDALL VESPER           4411 FRANKLIN AVE                                                                                          NORWOOD          OH   45212‐2905
RANDALL VESPER           609 VIRGINIA LN                                                                                            CINCINNATI       OH   45244‐1329
RANDALL VESPER           609 VIRGINIA LANE                                                                                          CINCINNATI       OH   45244
RANDALL VEST             480 OLL HART RD                                                                                            PROTEM           MO   65733‐6388
RANDALL VIEIRA           13300 KAY ST                                                                                               PAULDING         OH   45879‐8890
RANDALL VINEY            1043 PARK PL                                                                                               MILTON           WI   53563‐1382
RANDALL VUKADINOVICH     14386 KARNES RD                                                                                            DEFIANCE         OH   43512‐9058
RANDALL W ARMSTRONG      3225 PALM DR                                                                                               DAYTON           OH   45449
RANDALL W CLARK          2781 MOHICAN AVE                                                                                           KETTERING        OH   45429‐3736
RANDALL W DELLINGER      3291 SUNNYBROOK                                                                                            BURTON           MI   48519‐2860
RANDALL W PERKINS        540 BENNINGTON AVE                                                                                         YOUNGSTOWN       OH   44505
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RANDALL W REDDING    2427 COUNTRY LAKE LN                                                                   POWDER SPGS         GA 30127‐1582
RANDALL W SCHAEFER   6301 OLD LOUIS RD. APT. 6                                                              BELLEVILLE           IL 62223
RANDALL W STURGILL   6020 CHARLESGATE STREET                                                                HUBERHEIGHTS        OH 45424
RANDALL W TRAMMELL   C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON             TX 77007
                     BOUNDAS LLP
RANDALL WADDELL      675 BECKENHAM WALK DR                                                                  DACULA             GA   30019‐6737
RANDALL WAITS        2745 CARTERSVILLE HWY                                                                  ROCKMART           GA   30153‐3346
RANDALL WALKER       4237 GLENAYRE DR                                                                       ENGLEWOOD          OH   45322‐2617
RANDALL WALKER       112 GREEN ACRES DR                                                                     OLD MONROE         MO   63369‐2317
RANDALL WALLACE      919 WOOD CREEK PL                                                                      GREENWOOD          IN   46142‐7280
RANDALL WALTER       PO BOX 9022                    C/O GM KOREA                                            WARREN             MI   48090‐9022
RANDALL WALTERS      2447 OAKBROOK DR                                                                       KOKOMO             IN   46902‐7517
RANDALL WARNER       58 BEATRICE AVE                                                                        BUFFALO            NY   14207‐1622
RANDALL WARREN       4537 SCOTT HOLLOW RD                                                                   CULLEOKA           TN   38451‐3112
RANDALL WATTERS      1028 NORRIS DR                                                                         BOSSIER CITY       LA   71111‐2728
RANDALL WAYNE JR     1472 YOLANDA DR                                                                        YOUNGSTOWN         OH   44515‐4653
RANDALL WEAVER       469 RILEY WILLS RD                                                                     LEBANON            OH   45036‐9407
RANDALL WEBB         1626 WEBB RIDGE RD.                                                                    OLIVE HILL         KY   41164
RANDALL WEITZEL      24 RIDGE LAKE DR                                                                       MANNING            SC   29102‐9511
RANDALL WELLER       868 OSAGE TRL                                                                          JAMESTOWN          OH   45335‐1130
RANDALL WELLS        8280 FREMONT ST                                                                        WESTLAND           MI   48185‐1802
RANDALL WEST I I I   3197 REAMER RD                                                                         LAPEER             MI   48446‐7711
RANDALL WHITE        4346 MEADOWBROOK CT                                                                    GRAND BLANC        MI   48439‐7322
RANDALL WHITE        8647 FLYNN RD                                                                          INDIANAPOLIS       IN   46241‐9553
RANDALL WHITMAN      1716 MOUNT ELLIOTT AVE                                                                 FLINT              MI   48504‐7215
RANDALL WHITMAN      34434 MANOR RUN CIRCLE                                                                 STERLING HTS       MI   48312‐5332
RANDALL WHITNEY      9626 S AIRPORT RD                                                                      DEWITT             MI   48820‐9104
RANDALL WHITNEY      8510 N MAYNE RD                                                                        ROANOKE            IN   46783‐9172
RANDALL WICKHAM      805 1/2 RANDY LN                                                                       SAINT JOHNS        MI   48879‐8737
RANDALL WILHELM      28595 COUNTY ROAD 480                                                                  MC MILLAN          MI   49853‐9328
RANDALL WILKINSON    3886 HUNT RD                                                                           LAPEER             MI   48446‐2976
RANDALL WILLIAMS     3600 N COUNTY ROAD 700 W                                                               MUNCIE             IN   47304‐9662
RANDALL WILLIAMS     3109 ROUNDWOOD FOREST LN                                                               ANTIOCH            TN   37013‐5404
RANDALL WILLIAMS     4939 E SAINT JOE HWY                                                                   GRAND LEDGE        MI   48837‐9492
RANDALL WILLIS       218 N FULTON                                                                           PARKER CITY        IN   47368
RANDALL WILLMANN     971 E 300 N                                                                            HARTFORD CITY      IN   47348‐9205
RANDALL WILSON       PO BOX 851462                                                                          YUKON              OK   73085‐1462
RANDALL WILSON       3072 PONDEROSA RD                                                                      SPENCER            IN   47460‐5562
RANDALL WILSON       PO BOX 484                                                                             MORRISTOWN         IN   46161‐0484
RANDALL WILSON       PO BOX 2742                                                                            DETROIT            MI   48202‐0742
RANDALL WINKELMAN    34368 CLINTON PLAZA DR                                                                 CLINTON TOWNSHIP   MI   48035‐3343
RANDALL WINTERS      797 W NORTH UNION RD                                                                   AUBURN             MI   48611‐9587
RANDALL WOLFORD      6 ELEANOR AVE                                                                          LINTHICUM          MD   21090‐1614
RANDALL WOLFORD      3850 CALLA RD E                                                                        POLAND             OH   44514‐3016
RANDALL WRAY         31548 WHITEFIELD CT                                                                    MURRIETA           CA   92563‐6216
RANDALL WRIGHT       300 ROYAL OAKS BLVD #310                                                               FRANKLIN           TN   37064
RANDALL YEATER       854 GRACE ST                                                                           MANSFIELD          OH   44905‐2011
RANDALL YOST         PO BOX 24                      5918 DEASE LAKE ROAD                                    LONG LAKE          MI   48743‐0024
RANDALL YOST JR      4005 E 52ND ST                                                                         MOUNT MORRIS       MI   48458‐9456
RANDALL YOUNG        15890 JACKSON LN                                                                       ATHENS             AL   35613‐7361
RANDALL YOUNG        230 EMERSON AVE                                                                        YPSILANTI          MI   48198‐4252
RANDALL ZUIDEMA      3056 LOCKE AVE SW                                                                      GRANDVILLE         MI   49418‐1419
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Name                          Address1                           Address2                           Address3   Address4         City            State Zip
RANDALL'S AUTO HAUS INC.      426 BROAD ST                                                                                      MENASHA          WI 54952‐3147
RANDALL'S AUTO HAUS INC.      426 BROAD ST                                                                                      MENASHA          WI 54952‐3147
RANDALL'S SERVICE CENTER      8366 W STATE ROUTE 66                                                                             NEWBURGH         IN 47630‐2533
RANDALL, ADAM S               177 BRAKEFIELD DR                                                                                 JANESVILLE       WI 53546‐2244
RANDALL, ALLAN J              7323 LEHIGH CT                                                                                    ZEPHYRHILLS      FL 33540‐1014
RANDALL, ANDREW L             3629 BAYVIEW LN                                                                                   PLAINFIELD       IN 46168‐7319
RANDALL, ANDREW L.            3629 BAYVIEW LN                                                                                   PLAINFIELD       IN 46168‐7319
RANDALL, ANICE J              4212 SABAL CT                                                                                     BAKERSFIELD      CA 93301‐5978
RANDALL, ANNA L               PO BOX 151                                                                                        BOYES HOT SPG    CA 95416‐0151
RANDALL, ANNA M               21951 ELWELL RD                                                                                   BELLEVILLE       MI 48111‐9303
RANDALL, ANNA MARIE           21951 ELWELL RD                                                                                   BELLEVILLE       MI 48111‐9303
RANDALL, ARCHIE               PORTER & MALOUF PA                 4670 MCWILLIE DR                                               JACKSON          MS 39206‐5621
RANDALL, AUDREY               PARKER BRIAN P                     30800 TELEGRAPH ROAD, SUITE 2985                               BINGHAM FARMS    MI 48025

RANDALL, BARBARA R            14405 CURTIS ST                                                                                   DETROIT         MI   48235‐2704
RANDALL, BEA                  502 AUBURN AVE                                                                                    MONROE          LA   71201‐5304
RANDALL, BELISA               34049 MABRY RD                                                                                    ALBE,ARLE       NC   28001‐8718
RANDALL, BENJAMIN H           4417 ORCHIDS TRACE                                                                                ROSWELL         GA   30076
RANDALL, BERNARD              301 WINDRIDGE LN                                                                                  ORTONVILLE      MI   48462‐9704
RANDALL, BERT A               1152 ABBEY CT                                                                                     WESTLAND        MI   48185‐8519
RANDALL, BETTY M              11384 MCKINLEY                                                                                    MARION          MI   49665‐9531
RANDALL, BEULA                7306 TYLER RD RFD2                                                                                BRECKENRIDGE    MI   48615
RANDALL, BEVERLY A            11650 MARLOWE ST                                                                                  DETROIT         MI   48227‐2739
RANDALL, BRIAN L              8909 RAWSONVILLE RD                                                                               BELLEVILLE      MI   48111‐9365
RANDALL, BRIAN LEE            8909 RAWSONVILLE RD                                                                               BELLEVILLE      MI   48111‐9365
RANDALL, BRUCE H              11917 SHETLAND CT                                                                                 STERLING HTS    MI   48313‐1669
RANDALL, CARL D               42 CLARKSON AVE                                                                                   MASSENA         NY   13662‐1756
RANDALL, CARL DOUGLAS         42 CLARKSON AVE                                                                                   MASSENA         NY   13662‐1756
RANDALL, CAROL L              APT 5214                           500 RIVER PLACE DRIVE                                          DETROIT         MI   48207‐5048
RANDALL, CHARLES              3181 SANDHILL RD                                                                                  MASON           MI   48854‐9425
RANDALL, CHARLES D            1060 PROSPER DR                                                                                   TROY            MI   48098‐2026
RANDALL, CHARLES W            238 W SIMON TER NW                                                                                ATLANTA         GA   30318‐7418
RANDALL, CHERYL L             2118 DWIGHT AVE                                                                                   FLINT           MI   48503‐5855
RANDALL, CHRISTOHER MICHAEL   101 S SAGINAW ST APT 204                                                                          HOLLY           MI   48442‐1672
RANDALL, CHRISTOPHER R        670 WINDING WAY                                                                                   WEST MILTON     OH   45383‐1338
RANDALL, CLANTON D            SHANNON LAW FIRM                   100 W GALLATIN ST                                              HAZLEHURST      MS   39083‐3007
RANDALL, CLARENCE J           14434 W WHITE ROCK DR                                                                             SUN CITY WEST   AZ   85375‐5787
RANDALL, CLARENCE O           G4077 BEECHER RD                                                                                  FLINT           MI   48532‐2706
RANDALL, CLEO P               238 W SIMON TER NW                                                                                ATLANTA         GA   30318‐7418
RANDALL, CLEO P               238 WEST SIMON TERR.                                                                              ATLANTA         GA   30318‐7418
RANDALL, CLYDE                PO BOX 5088                                                                                       ST. LOUIS       MO   63115
RANDALL, CONSTANCE O          174 CHURCH STREET                  REAR APT                                                       LOCKPORT        NY   14094
RANDALL, CORDELIA L           PO BOX 68622                                                                                      INDIANAPOLIS    IN   46268‐0622
RANDALL, DALE E               624 STONEYBROOK DR                                                                                KETTERING       OH   45429‐5320
RANDALL, DALE L               108 S EAST ST                                                                                     PORTLAND        MI   48875‐1523
RANDALL, DANIEL E             8235 20 MILE RD                                                                                   SAND LAKE       MI   49343‐9489
RANDALL, DANNY E              119 MAYWOOD CIR                                                                                   JACKSON         MS   39211‐5508
RANDALL, DAVID E              2012 RUNNYMEDE BLVD                                                                               ANN ARBOR       MI   48103‐5032
RANDALL, DAVID G              2264 W ROSE CENTER RD                                                                             HOLLY           MI   48442‐9198
RANDALL, DAVID T              1615 N WEST ST                                                                                    LIMA            OH   45801‐2626
RANDALL, DAVID W              16362 FOREST LAKE DR                                                                              NORTHVILLE      MI   48168‐4312
RANDALL, DEBRA A              23868 MONROE ST                                                                                   ARMADA          MI   48005‐4819
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Name                      Address1                            Address2                       Address3   Address4               City            State Zip
RANDALL, DENNIS L         2821 FROEDE RD                                                                                       KINGSTON         MI 48741‐9528
RANDALL, DENNIS W         252 CORNELL ST                                                                                       HOWELL           MI 48843‐1732
RANDALL, DENNIS WILLIAM   252 CORNELL ST                                                                                       HOWELL           MI 48843‐1732
RANDALL, DERONDA F        1535 INDIANWOOD DR                                                                                   BROOKFIELD       WI 53005‐5555
RANDALL, DONALD E         3762 PARK VIEW DR                                                                                    JANESVILLE       WI 53546‐1714
RANDALL, DONALD H         593 BALDWIN HEIGHTS CIR                                                                              HOWARD           OH 43028‐9699
RANDALL, DONALD L         1268 HAYES RD                                                                                        MUIR             MI 48860‐9782
RANDALL, DORIS V          G3344 BROOKGATE DR                                                                                   FLINT            MI 48507
RANDALL, DOUGLAS H        5677 N SEAGULL DR NE                                                                                 BELMONT          MI 49306‐9629
RANDALL, EDDIE B          1155 INDIANA AVE                                                                                     TOLEDO           OH 43607‐4041
RANDALL, EDWARD N         2433 WEIR RD NE                                                                                      WARREN           OH 44483‐2515
RANDALL, ELIZABETH        10001 KENNEDY AVE                                                                                    CLEVELAND        OH 44104‐3455
RANDALL, ELMER J          1296 CO RT 58                                                                                        COLTON           NY 13625
RANDALL, EVERETT E        938 STOCKER AVE                                                                                      FLINT            MI 48503‐3060
RANDALL, EVERETT H        2846 S 350 W                                                                                         KOKOMO           IN 46902‐4767
RANDALL, EZELL            PO BOX 210491                                                                                        SAINT LOUIS      MO 63121‐8491
RANDALL, FRANCIS C        5400 M99                                                                                             DIMONDALE        MI 48821
RANDALL, FRANKLIN P       3733 MIRAMAR AVE NE                                                                                  GRAND RAPIDS     MI 49525‐2459
RANDALL, FRED N           6988 MCKEAN RD LOT 284                                                                               YPSILANTI        MI 48197‐6036
RANDALL, GENE R           GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                     SAGINAW          MI 48604‐2602
                                                              260
RANDALL, HAROLD L         9339 SEYMOUR RD                                                                                      SWARTZ CREEK    MI   48473‐9129
RANDALL, HAROLD W         2550 S ELLSWORTH RD UNIT 167                                                                         MESA            AZ   85209‐2203
RANDALL, HARVEY P         112 CORONA                                                                                           CHARLOTTE       MI   48813‐8425
RANDALL, HELEN            2040 GENEVA ST                                                                                       DEARBORN        MI   48124‐2535
RANDALL, HELEN            2040 GENEVA                                                                                          DEARBORN        MI   48124‐2535
RANDALL, HOWARD L         5655 HENDERSON DR                                                                                    BROWNSBURG      IN   46112‐8680
RANDALL, IDA K            617 W 5TH ST                                                                                         RUSHVILLE       IN   46173‐1555
RANDALL, IDA K            617 WEST 5TH STREET                                                                                  RUSHVILLE       IN   46173
RANDALL, JACK E           637 MERRICK DR                                                                                       BEAVERCREEK     OH   45434‐5815
RANDALL, JACK H           935 S GRAVEYARD RD                                                                                   PARAGON         IN   46166‐9510
RANDALL, JAMES C          4561 MICHAEL AVE                                                                                     NORTH OLMSTED   OH   44070‐2918
RANDALL, JAMES R          1140 JADE DR                                                                                         MOSCOW MILLS    MO   63362‐1906
RANDALL, JAMES W          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
RANDALL, JENNIE L.        APT A118                            718 SOUTH DARGAN STREET                                          FLORENCE        SC   29506‐2577
RANDALL, JENNIE L.        718 S. DARGAN ST. APT311‐A                                                                           FLORENCE        SC   29506‐5525
RANDALL, JESSE G          119 MILES RD                                                                                         HOMER           LA   71040‐6907
RANDALL, JOHN E           8322 ULERY RD                                                                                        NEW CARLISLE    OH   45344‐9134
RANDALL, JOHN H           129 GREENBRIER LOOP                                                                                  CROSSVILLE      TN   38558‐7711
RANDALL, JOHN J           SIEBEN POLK LAVERDIERE & DUSICH     999 WESTVIEW DR                                                  HASTINGS        MN   55033‐2432
RANDALL, JOHN L           5409 NORTH 58TH STREET                                                                               TERRE HAUTE     IN   47805‐7957
RANDALL, JOHN O           38 DESMOND CT                                                                                        TONAWANDA       NY   14150‐7831
RANDALL, JOSEPH D         30 GREENDALE DRIVE                                                                                   SAINT LOUIS     MO   63121‐4701
RANDALL, JOSEPH L         5999 NW COUNTY LINE RD                                                                               COLEMAN         MI   48618‐9204
RANDALL, JOSEPH WESLEY    5121 DURWOOD DR                                                                                      SWARTZ CREEK    MI   48473‐1123
RANDALL, JOY E            221 APPLEWOOD RD                                                              KINGSVILLE ON CANADA
                                                                                                        N9Y‐3N9
RANDALL, JOYCE            1101 N MAIN ST                                                                                       BURKESVILLE     KY   42717‐8961
RANDALL, JOYCE            1101 NORTH MAIN ST                                                                                   BURKESVILLE     KY   42717
RANDALL, JUDGE            758 1/2E ALMA                                                                                        FLINT           MI   48505
RANDALL, JULIE            805 E COUNTRY LN                                                                                     SHIPSHEWANA     IN   46565
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Name                   Address1                               Address2              Address3   Address4         City               State Zip
RANDALL, KATHRYN       C/O OFFICE OF THE PUBLIC GUARDIAN OF   69 W. WASHINGTON ST                               CHICAGO              IL 60602
                       COOK COUNTY
RANDALL, KEVIN A       6223 PAMBROOK CT                                                                         COLUMBUS           OH    43213‐3417
RANDALL, LARRY F       808 1/2 S LANSING ST                                                                     SAINT JOHNS        MI    48879‐2144
RANDALL, LAWRENCE C    24040 NEW YORK ST                                                                        DEARBORN           MI    48124‐3211
RANDALL, LEWIS C       405 MOUNTAIN ASH DRIVE                                                                   CANANDAIGUA        NY    14424‐9519
RANDALL, LINDA E       267 S MAIN ST                                                                            VERMONTVILLE       MI    49096‐9401
RANDALL, LORENE L      2118 DWIGHT AVE                                                                          FLINT              MI    48503‐5855
RANDALL, LORENE L      2118 DWIGHT ST                                                                           FLINT              MI    48503‐5855
RANDALL, LORI A        5908 N JONES DR                                                                          MILTON             WI    53563‐8806
RANDALL, LORINDA M     7612 ANDREW TURN                                                                         PLAINFIELD         IN    46168‐9384
RANDALL, LUCILLE M     12624 PAGELS DR.APT 131                                                                  GRAND BLANC        MI    48439‐2401
RANDALL, MACAFEE       3716 OAKMOUNT AVE                                                                        SAINT LOUIS        MO    63121‐4812
RANDALL, MARIA         2841 FROEDE RD                         RFD#1                                             KINGSTON           MI    48741‐9528
RANDALL, MARIETTA D    5001 SW 20TH ST APT 3511                                                                 OCALA              FL    34474
RANDALL, MARK A        1809 SUSAN CT                                                                            FRANKLIN           TN    37064‐1137
RANDALL, MARK A        397 ROLLING GREEN CIR S                                                                  ROCHESTER HILLS    MI    48309‐1257
RANDALL, MARVIN G      5829 COLEMAN ST                                                                          NORTH LAS VEGAS    NV    89031‐1159
RANDALL, MARY C        1860 N COOPER ST APT B7                                                                  ARLINGTON          TX    76011
RANDALL, MARY K        8291 RIVERVIEW ST                                                                        DEARBORN HEIGHTS   MI    48127‐1413
RANDALL, MARY L        7128 GROVELAND                                                                           ST LOUIS           MO    63121‐2719
RANDALL, MARY L        646 E HOBSON AVE                                                                         FLINT              MI    48505‐2864
RANDALL, MARY P        5121 DURWOOD DR                                                                          SWARTZ CREEK       MI    48473‐1123
RANDALL, MATILDA       180 S COLONY APT 301                                                                     SAGINAW            MI    48603
RANDALL, MICHAEL       443 N PEMBER RD                                                                          JANESVILLE         WI    53546‐8627
RANDALL, MICHAEL D     1023 WILLOW DR                                                                           CHOCTAW            OK    73020‐7145
RANDALL, MICHAEL F     2553 OAKES PLANTATION DR                                                                 RALEIGH            NC    27610‐9329
RANDALL, MICHAEL L     5232 STATE ROAD 50                                                                       DELAVAN            WI    53115‐4202
RANDALL, MICHAEL L     632 LUCAS LN                                                                             OAKWOOD             IL   61858‐5801
RANDALL, MICHAEL R     21832 FERNCUKO ST                                                                        TEHACHAPI          CA    93561‐8154
RANDALL, MOSE          WEITZ & LUXENBERG                      180 MAIDEN LANE                                   NEW YORK           NY    10038
RANDALL, MURRY L       22746 LIX RD                                                                             WARRENTON          MO    63383‐4612
RANDALL, MURRY LEE     22746 LIX RD                                                                             WARRENTON          MO    63383‐4612
RANDALL, NANCY C       2846 S 350 W                                                                             KOKOMO             IN    46902‐4767
RANDALL, NANCY C       2846 S. 350 W.                                                                           KOKOMO             IN    46902‐4767
RANDALL, NATHANIEL L   1102 S CHELTON RD APT 123                                                                COLORADO SPRINGS   CO    80910‐1705
RANDALL, NORMAN R      BOONE ALEXANDRA                        205 LINDA DR                                      DAINGERFIELD       TX    75638‐2107
RANDALL, NORMAN T      3422 RECTOR CORNER RD                                                                    MARSHALL           NC    28753‐8164
RANDALL, OLEAN R       205 COACH LN                                                                             N FT MYERS         FL    33917‐3097
RANDALL, PARKER W      1206 RANDY DR                                                                            GRAHAM             TX    76450‐4705
RANDALL, PATRICIA A    1305 RED BIRD CT                                                                         KOKOMO             IN    46902‐5825
RANDALL, PENELOPE A    7842 KAISER ST                                                                           CANTON             MI    48187‐4263
RANDALL, PERRY G       1327 GOODFELLOW                                                                          ST LOUIS           MO    63112‐3710
RANDALL, PERRY G       4115 LOUISIANA AVENUE                                                                    SAINT LOUIS        MO    63118‐4205
RANDALL, PHYLLIS S     50103 LEXINGTON AVE W                                                                    SHELBY TOWNSHIP    MI    48317‐2397
RANDALL, R S           2857 SANTIA DR                                                                           TROY               MI    48085‐3984
RANDALL, R STEPHEN     2857 SANTIA DR                                                                           TROY               MI    48085‐3984
RANDALL, RANDY         5211 N 8TH ST E                                                                          OMAHA              NE    68110
RANDALL, RANDY B       7501 APOLLO DR                                                                           JOSHUA             TX    76058‐4329
RANDALL, RANDY BOYD    7501 APOLLO DR                                                                           JOSHUA             TX    76058‐4329
RANDALL, RANDY L       1500 DUCK CREEK LN                                                                       ORTONVILLE         MI    48462‐9097
RANDALL, RENEE C       61411 WOODFIELD WAY                                                                      WASHINGTN TWP      MI    48094‐1537
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Name                                 Address1                          Address2                      Address3                   Address4         City                State Zip
RANDALL, RICHARD D                   4625 ROSSMAN RD                                                                                             KINGSTON             MI 48741‐9531
RANDALL, RICHARD J                   PO BOX 2225                                                                                                 KANSAS CITY          KS 66110‐0225
RANDALL, RICHARD M                   1183 TOPEKA ST                                                                                              KINGMAN              AZ 86401‐6271
RANDALL, ROBERT                      FT4 BX 218                        JJ CR 611                                                                 ANGLETON             TX 77515
RANDALL, ROBERT E                    6315 SALINE DR                                                                                              WATERFORD            MI 48329‐1375
RANDALL, ROBERT E                    5036 E FRANCES RD                                                                                           MOUNT MORRIS         MI 48458‐9727
RANDALL, ROBERT J                    646 E HOBSON AVE                                                                                            FLINT                MI 48505‐2864
RANDALL, ROBERT L                    1458 DEVOE DR                                                                                               BEAVERCREEK          OH 45434‐6717
RANDALL, ROGER S                     13619 VIOLA DR                                                                                              STERLING HTS         MI 48312‐4268
RANDALL, ROGER STEWART               13619 VIOLA DR                                                                                              STERLING HTS         MI 48312‐4268
RANDALL, ROGER W                     51 RIEL RD                                                                                                  COLTON               NY 13625
RANDALL, RONALD G                    15430 GAYLORD                                                                                               REDFORD              MI 48239‐3907
RANDALL, RONALD K                    2583 FAIRWAY XING                                                                                           MANSFIELD            OH 44903‐6508
RANDALL, RONALD R                    6300 N LONDON AVE APT C                                                                                     KANSAS CITY          MO 64151‐2592
RANDALL, RUSSELL E                   47424 WOODALL RD                                                                                            SHELBY TOWNSHIP      MI 48317‐3046
RANDALL, RYAN
RANDALL, RYAN                        CHEONG DENOVE ROWELL & BENNETT    10100 SANTA MONICA BLVD STE                                               LOS ANGELES         CA 90067‐4146
                                                                       2460
RANDALL, SALLY A                     10823 TURNE GRV                                                                                             FISHERS             IN   46037‐9006
RANDALL, SALLY S                     2113 AVALON CIRCLE                                                                                          BAY CITY            MI   48708‐7621
RANDALL, SANDRA G                    1468 READY AVE                                                                                              BURTON              MI   48529‐2054
RANDALL, SHIRLEY A                   4725 HEMMETER CT APT 6                                                                                      SAGINAW             MI   48603‐3838
RANDALL, STEVEN                      11520 HARRISON RD                                                                                           SHAWNEE             OK   74804‐7520
RANDALL, STEVEN P                    855 W JEFFERSON ST LOT 6                                                                                    GRAND LEDGE         MI   48837‐1357
RANDALL, TAMARA A                    12954 KINLOCK DR                                                                                            STERLING HEIGHTS    MI   48312‐1562
RANDALL, THERESE P                   3825 GLOUCESTER ST                                                                                          FLINT               MI   48503
RANDALL, THOMAS                      2951 MOUNTAIN VIEW DR #102                                                                                  LAKE ORION          MI   48360
RANDALL, THOMAS R                    5886 BEATTIE AVE                                                                                            LOCKPORT            NY   14094‐6630
RANDALL, TIM A                       323 N ELIZABETH ST                                                                                          LYONS               MI   48851‐9682
RANDALL, TIMOTHY J                   4485 CARMANWOOD DR                                                                                          FLINT               MI   48507‐5652
RANDALL, TIMOTHY JAMES               4485 CARMANWOOD DR                                                                                          FLINT               MI   48507‐5652
RANDALL, TIMOTHY M                   20635 EMMETT ST                                                                                             TAYLOR              MI   48180‐4310
RANDALL, VERNON R                    208 BIRCHWOOD DR                                                                                            ELLIJAY             GA   30540‐6252
RANDALL, VICKI A                     11130 COOLIDGE RD                                                                                           GOODRICH            MI   48438‐9781
RANDALL, VIRGINIA                    13320 WILSHIRE                                                                                              DETROIT             MI   48213‐1952
RANDALL, VIRGINIA A                  23104 CHARTER OAKS DR                                                                                       DAVISON             MI   48423‐3330
RANDALL, WANDA                       213 ROSELAWN DR                                                                                             XENIA               OH   45385‐1943
RANDALL, WARREN W                    6809 N US HIGHWAY 51                                                                                        JANESVILLE          WI   53545‐9602
RANDALL, WAYNE I                     1599 DEMOREST RD                                                                                            COLUMBUS            OH   43228‐3420
RANDALL, WILLIAM H                   1976 HARBOR ISLAND DR D                                                                                     ORANGE PARK         FL   32003
RANDALL, WILLIE                      314 SAUNDERS AVE.                                                                                           BECKLIE             WV   25801
RANDALL, WILLIE B                    265 HCR 3448                                                                                                MALONE              TX   76660‐3031
RANDALL,CHRISTOPHER R                670 WINDING WAY                                                                                             WEST MILTON         OH   45383‐1338
RANDALL‐REILLY PUBLISHING CO., LLC   MICHAEL REILLY                    3200 RICE MINE RD NE                                                      TUSCALOOSA          AL   35406‐1510
RANDALS, MICHAEL                     W 9449 TONY ROAD O                                                                                          BLACK RIVER FALLS   WI   54615
RANDANT, DELORIS                     PO BOX 352                                                                                                  HOFFMAN             IL   62250‐0352
RANDANT, DELORIS                     P.O BOX 352                                                                                                 HOFFMAN             IL   62250
RANDAU CHARLES                       MOTOR CITY CHIEFS MESS            ATTN EVENTS COORDINATOR       25154 PLATTSBURG ST BLDG                    SELFRIDGE ANGB      MI   48045
                                                                                                     1408
RANDAU, ERIC E                       3422 VAN CAMPEN RD                                                                                          FLINT               MI 48507‐3349
RANDAZZA, BENETT E                   PO BOX 387                                                                                                  MOORPARK            CA 93020‐0387
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Name                      Address1                        Address2                          Address3                      Address4         City                 State Zip
RANDAZZO CHARLENE         IANELLI, BERARDELLI             KIMMEL & SILVERMAN PC             30 EAST BUTLER PIKE , SUITE                    AMBLER                PA 19002
                                                                                            310
RANDAZZO CHARLENE         RANDAZZO, CHARLENE              30 EAST BUTLER PIKE , SUITE 310                                                  AMBLER               PA   19002
RANDAZZO, ANTHONY         6258 LADD RD                                                                                                     FRANKLIN             TN   37067‐7905
RANDAZZO, BENJAMIN A      1312 SUNRISE BLVD                                                                                                MONROE               MI   48162‐4382
RANDAZZO, CARRIE C        2616 W LATIGO CIR                                                                                                SIOUX FALLS          SD   57108‐1531
RANDAZZO, CHARLENE        KIMMEL & SILVERMAN PC           30 EAST BUTLER PIKE, SUITE 310                                                   AMBLER               PA   19002
RANDAZZO, CHARLES J       305 SOMERVILLE AVE                                                                                               TONAWANDA            NY   14150‐8751
RANDAZZO, CLARE           99 MEADOW LANE                                                                                                   BUFFALO              NY   14223‐1310
RANDAZZO, CLARE           99 MEADOW LN                                                                                                     BUFFALO              NY   14223‐1310
RANDAZZO, JAMES A         3511 MASSINI AVE                                                                                                 NORTH PORT           FL   34286‐2412
RANDAZZO, JOHNNY S        20335 MARTIN RD                                                                                                  SAINT CLAIR SHORES   MI   48081‐1044
RANDAZZO, JOHNNY SAMUEL   20335 MARTIN RD                                                                                                  SAINT CLR SHORES     MI   48081‐1044
RANDAZZO, JOSEPH J        33797 PINE RIDGE DR W                                                                                            FRASER               MI   48026‐5022
RANDAZZO, JOSEPHINE A     46012 CONDOR AVE                                                                                                 SHELBY TOWNSHIP      MI   48317‐5304
RANDAZZO, LOUIS J         102 NORWOOD RD                                                                                                   BRISTOL              CT   06010‐2357
RANDAZZO, MARIE L         2988 S HUBBARD ST                                                                                                WAYNE                MI   48184‐1408
RANDAZZO, NANCY           269 ROSEMONT AVE.                                                                                                KENMORE              NY   14217‐1052
RANDAZZO, RONALD L        4538 33RD CT E                                                                                                   BRADENTON            FL   34203‐8876
RANDAZZO, SHEILA A        APT 1504                        11007 MILL CREEK WAY                                                             FORT MYERS           FL   33913‐6681
RANDAZZO, THOMAS A        318 WOLCOTT AVE                                                                                                  ROCHESTER            NY   14606‐3925
RANDAZZO, THOMAS J        1700 CHAPPEL WOODS TRL                                                                                           NATIONAL CITY        MI   48748‐9457
RANDAZZO, VINCENT S       281 ARMSTRONG RD                                                                                                 ROCHESTER            NY   14612‐4263
RANDAZZO, VITO            16870 HELEN ST                                                                                                   SOUTHGATE            MI   48195
RANDAZZO, WILLIAM         22027 NORMANDY AVE                                                                                               EASTPOINTE           MI   48021‐2511
RANDE CRONK               219 COUNTRY FOREST DR                                                                                            FORT WAYNE           IN   46818‐1483
RANDE LEPPIEN             1316 BAYLISS ST                                                                                                  MIDLAND              MI   48640‐5508
RANDEE BOOSE              125 E RUSSELL AVE                                                                                                FLINT                MI   48505‐2742
RANDEE YORK               8114 FOX TAIL CT                                                                                                 YPSILANTI            MI   48197‐9259
RANDEL BUFF               9532 MANOR WOODS RD                                                                                              FORT WAYNE           IN   46804‐4724
RANDEL CONNER             105 RAINBOW DR # 518                                                                                             LIVINGSTON           TX   77399‐1005
RANDEL DANIEL             288 S 35TH ST                                                                                                    GALESBURG            MI   49053‐8613
RANDEL FRANCISCO          1445 S VASSAR RD                                                                                                 DAVISON              MI   48423‐2372
RANDEL HENDRICKS          21483 BETHEL RD                                                                                                  TECUMSEH             OK   74873‐5253
RANDEL HUMPHREY           1793 NEW HIGHWAY 7                                                                                               COLUMBIA             TN   38401‐1570
RANDEL SMITH              4240 MAHOGANY DR                                                                                                 STERLING HTS         MI   48310‐4577
RANDEL VITATOE            901 S 20TH ST                                                                                                    NEW CASTLE           IN   47362‐2502
RANDEL, ANNA L            23880 CARONA AVE.                                                                                                CORNING              CA   96021
RANDEL, DOROTHY M         3468 WILLARD RD                                                                                                  BIRCH RUN            MI   48415‐8309
RANDEL, JOHNNY            23880 CARONA AVE                                                                                                 CORNING              CA   96021‐8615
RANDEL, OTIS K            6985 SEMINOLE BLVD APT 47                                                                                        SEMINOLE             FL   33772
RANDEL, ROBERT E          247 KENDAL DR                                                                                                    OBERLIN              OH   44074‐1910
RANDEL, TORIAN            16483 N WILLIAMS DR                                                                                              SURPRISE             AZ   85374‐3722
RANDELL BLASDELL          301 SMITH ST APT 21                                                                                              CLIO                 MI   48420‐2053
RANDELL BRICKMAN          5581 MADRID DR                                                                                                   AUSTINTOWN           OH   44515‐4154
RANDELL BROOKS            485 ALANDALE DR                                                                                                  TALLMADGE            OH   44278‐1408
RANDELL C STEWART         18686 POINCIANA                                                                                                  REDFORD              MI   48240‐2031
RANDELL CARR              8547 SILVER LAKE RD                                                                                              LINDEN               MI   48451‐9777
RANDELL CASZATT           4439 CASZATT DR                                                                                                  MT PLEASANT          MI   48858‐8268
RANDELL CRAWFORD          8197 RAMBLEWOOD DR                                                                                               BIRCH RUN            MI   48415‐8540
RANDELL DOWNARD           313 WILSON PARK DR                                                                                               W CARROLLTON         OH   45449‐1644
RANDELL DRIVER            4546 CITATION BLVD                                                                                               INDIANAPOLIS         IN   46237‐2161
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Name                   Address1                      Address2               Address3      Address4         City            State Zip
RANDELL E MAINOUS      6434 COTTON RUN RD                                                                  MIDDLETOWN       OH 45042
RANDELL EASLEY         1751 E 44TH ST                                                                      IDLEWILD         MI 49642‐8571
RANDELL FAUGHT         3001 RUSSELL RD                                                                     ARLINGTON        TX 76001‐6916
RANDELL GREGORY        2768 S COUNTY ROAD 650 E                                                            GREENCASTLE      IN 46135‐7982
RANDELL GROVE          8674 KATELIN DR                                                                     EATON RAPIDS     MI 48827‐8938
RANDELL HAYES          3126 MCLEAN RD                                                                      FRANKLIN         OH 45005‐4766
RANDELL HELM           PO BOX 175                                                                          CARROLLTON       MI 48724‐0175
RANDELL HITTS          1881 ELLINGER RD                                                                    ALANSON          MI 49706‐9671
RANDELL J CARR         4605 MIDDLE ST 228                                                                  COLUMBIAVILLE    MI 48421
RANDELL L GREGORY      2768 S COUNTY ROAD 650 E                                                            GREENCASTLE      IN 46135‐7982
RANDELL M SCOTT        RR 1 BOX 10571 SMITH ROAD                                                           LEESBURG         OH 45135‐9801
RANDELL MERRITT        881 WHEELOCK ST                                                                     DETROIT          MI 48209‐1937
RANDELL MERTZ          113 LILY LN                                                                         ROSCOMMON        MI 48653‐8118
RANDELL OUTEN          289 KINGS WAY                                                                       CANTON           MI 48188‐1187
RANDELL PINEGAR        210 HOWARD AVE                                                                      ROCKVILLE        IN 47872‐1775
RANDELL R HAYES        3126 MCLEAN RD                                                                      FRANKLIN         OH 45005‐4766
RANDELL REED           33613 SUNRISE DR                                                                    FRASER           MI 48026‐5033
RANDELL ROBBINS        2576 NEW COLUMBIA HWY                                                               LEWISBURG        TN 37091‐6729
RANDELL ROGERS         1122 THISTLE DR                                                                     MESQUITE         TX 75149‐2623
RANDELL SCOTT          RR 1 BOX 10571                                                                      LEESBURG         OH 45135
RANDELL STEWART        18686 POINCIANA                                                                     REDFORD          MI 48240‐2031
RANDELL THAYER         2401 CASON LN                                                                       LEWISBURG        TN 37091‐6399
RANDELL WADE           210 N 5TH ST                                                                        ELSBERRY         MO 63343‐1208
RANDELL WELCH          5117 INLAND ST                                                                      FLINT            MI 48505‐1706
RANDELL, DAVID T       202 FLORIDA AVENUE                                                                  AMSTERDAM        NY 12010‐5415
RANDELL, JAMES E       6241 LORRAINE AVE                                                                   SAINT LOUIS      MO 63121‐5623
RANDELL, JOYCE SADIE   4634 RED MAPLE DRIVE                                                                WARREN           MI 48092‐2356
RANDELS, EFFIE         13994 MENDOTA                                                                       DETROIT          MI 48238‐2226
RANDELS, EFFIE         13994 MENDOTA ST                                                                    DETROIT          MI 48238‐2226
RANDELS, LEE W         1715 CAPLES RD                                                                      WEST MONROE      LA 71292‐8214
RANDEN BROWN           1421 CYPRESS ST                                                                     SAGINAW          MI 48602‐2827
RANDERS, VICTOR M      2206 GALWAY DR                                                                      MANSFIELD        TX 76063‐7568
RANDEZ, ARTURO O       201 WEBER AVE                                                                       PATTERSON        CA 95363‐2429
RANDHAWA, JASDEEP      50481 KOSS DR                                                                       MACOMB           MI 48044‐6320
RANDI DIXON            6178 HAVELOCK DR                                                                    CLARKSTON        MI 48346‐2348
RANDI DULANEY          3354 TUPELO CT                                                                      OAKLAND          MI 48363‐2640
RANDI EVANS            1069 MELBOURNE DR                                                                   NEW HAVEN        IN 46774‐2641
RANDI GLASS            2614 SASSAFRAS CV                                                                   FORT WAYNE       IN 46818‐8956
RANDI H MILLER         4028 EVALINE ST SE                                                                  WARREN           OH 44484
RANDI JONES            917 E FAIRCHILD ST                                                                  DANVILLE          IL 61832‐3347
RANDI MERRIFIELD       576 SNOWFALL CT                                                                     HOWELL           MI 48843‐7378
RANDI N PHILLIPS       5702 TROY VILLA BLVD BLVD                                                           DAYTON           OH 45424
RANDI SPIECE           514 WAKEMAN ST                                                                      FENTON           MI 48430‐2923
RANDIE LEMMONS         13145 SPRUCE AVE                                                                    GRANT            MI 49327‐8713
RANDIG, NORA           3824 N SUNNYFIELD DR                                                                COPLEY           OH 44321‐1941
RANDIG, NORA           3824 SUNNYFIELD DR                                                                  COPLEY           OH 44321
RANDLE GELISPIE        6008 MADEIRA DR                                                                     LANSING          MI 48917‐3098
RANDLE GERMAN          1128 LEXINGTON RIDGE RD                                                             HOSCHTON         GA 30548‐3730
RANDLE HILBURN SR      48606 CEMETERY RD                                                                   MAUD             OK 74854‐4808
RANDLE JACKSON         23360 CRYSTAL DR                                                                    CLINTON TWP      MI 48036‐1285
RANDLE JACQUELINE      RANDLE, JACQUELINE            55 PUBLIC SQ STE 650                                  CLEVELAND        OH 44113‐1909
RANDLE JR, FREDDIE     5463 WADEAN PL                                                                      OAKLAND          CA 94601‐5718
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Name                       Address1                        Address2               Address3      Address4         City            State Zip
RANDLE JR, FREDDIE G       3820 MOUNTAIN COVE RD                                                                 SNELLVILLE       GA 30039‐8429
RANDLE JR, GEORGE          8991 SOLITUDE LN                                                                      BELLEVILLE       MI 48111‐4491
RANDLE JR, LAUREE          PO BOX 742                                                                            NORTH LIBERTY     IA 52317‐0742
RANDLE LEWIS               PO BOX 14425                                                                          SAGINAW          MI 48601‐0425
RANDLE ROSE                PO BOX 13841                                                                          DAYTON           OH 45413‐0841
RANDLE SCHONEWETTER        3259 AMELIA RT # 2                                                                    FLUSHING         MI 48433
RANDLE SHREVE              5472 MOCERI LN                                                                        GRAND BLANC      MI 48439‐4364
RANDLE SR, JOHN            3822 HICKORY ROCK DRIVE                                                               POWELL           OH 43065‐7327
RANDLE SR, WILLIAM G       377 LANDON ST                                                                         BUFFALO          NY 14211‐1219
RANDLE SR, WILLIAM GLENN   377 LANDON ST                                                                         BUFFALO          NY 14211‐1219
RANDLE STEPHEN             2500 E GRAND BLVD                                                                     DETROIT          MI 48211‐2006
RANDLE, A D                1951 SAINT JAMES DR                                                                   MEMPHIS          TN 38116‐2027
RANDLE, ALICE              343 DADE DR                                                                           NASHVILLE        TN 37211‐4924
RANDLE, AMMIE              6608 BARR ST                                                                          SAINT LOUIS      MO 63121‐3223
RANDLE, ANN C              500 CAROLINA AVE                                                                      ANN ARBOR        MI 48103‐3969
RANDLE, ARDYS              1360 14TH ST                                                                          TURTLE LAKE      WI 54889‐6001
RANDLE, ARDYS              1360 14TH ST.                                                                         TURTLE LAKE      WI 54889
RANDLE, ARTHUR E           PO BOX 1093                                                                           SAGINAW          MI 48606‐1093
RANDLE, BARBARA A          8991 SOLITUDE LN                                                                      BELLEVILLE       MI 48111‐4491
RANDLE, BETTY              11023 RIVERWIND DR                                                                    POWELL           OH 43065‐7512
RANDLE, CARL               4005 BRIGHTON CV                                                                      BRANDON          MS 39042‐7309
RANDLE, DANIEL             PO BOX 55920                                                                          HAYWARD          CA 94545‐0920
RANDLE, EDWARD V           PO BOX 1832                                                                           GARY             IN 46409‐0832
RANDLE, ERNEST             520 KENSINGTON DR                                                                     RICHMOND         IN 47374‐6618
RANDLE, ESSIE L            1316 COLLINS RD.                                                                      MEDON            TN 38356‐9389
RANDLE, FRANK B            22282 CITY CENTER DR APT 4214                                                         HAYWARD          CA 94541‐2813
RANDLE, GENEVIEVE ANN      1129 1/2 INGLESIDE AVE                                                                BALTIMORE        MD 21207‐4737
RANDLE, GENEVIEVE ANN      11291/2 INGLESIDE AVE                                                                 BALTIMORE        MD 21207
RANDLE, GERALD J           7982 S STATE ROAD 39                                                                  LIZTON           IN 46149‐9602
RANDLE, JACQUELINE         KAHN & ASSOCIATES               55 PUBLIC SQ STE 650                                  CLEVELAND        OH 44113‐1909
RANDLE, JAMES C            106 W STATE ROAD 234                                                                  JAMESTOWN        IN 46147‐9083
RANDLE, JAMES T            400 MEADOW LN APT 612                                                                 SOMERVILLE       TN 38068‐9777
RANDLE, JANICE E           901 E HAVENS ST                                                                       KOKOMO           IN 46901‐3121
RANDLE, JOHN W             2521 E COURT ST                                                                       FLINT            MI 48503‐2814
RANDLE, LADONNA S          1456 WARRINGTON                                                                       DANVILLE          IL 61832‐5377
RANDLE, LEROY              1415 W STANLEY RD                                                                     MOUNT MORRIS     MI 48458‐2315
RANDLE, LESLIE             1140 MARSHALL RD                                                                      CRUGER           MS 38924‐3809
RANDLE, LESLIE             13874 ECHO PARK CT                                                                    BURNSVILLE       MN 55337
RANDLE, LILLIE             4320 LEE AVE                                                                          ST LOUIS         MO 63115
RANDLE, LINDA A            116 S SHORE RD                                                                        ELKTON           MD 21921‐8157
RANDLE, LINDA A            118 S SHOTRE RD                                                                       ELKTON           MD 21921‐8157
RANDLE, LONNIE             3210 36TH ST                                                                          MERIDIAN         MS 39305
RANDLE, LOVELL             3728 PLAZA DR                                                                         FORT WAYNE       IN 46806‐4349
RANDLE, MARY R             1841 LAUREL OAK DR                                                                    FLINT            MI 48507‐2253
RANDLE, NAOMI              106 MOCKINGBIRD LN                                                                    ELLENTON         FL 34222‐4250
RANDLE, PAUL A             1410 CLEVELAND AVE                                                                    DANVILLE          IL 61832
RANDLE, RICHARD W          3013 FERNDALE AVE                                                                     BALTIMORE        MD 21207‐6710
RANDLE, ROBERT             142 GOEMBEL AVE                                                                       BUFFALO          NY 14211‐2404
RANDLE, ROBERT E           6175 ELDON RD                                                                         MOUNT MORRIS     MI 48458‐2715
RANDLE, ROBERT P           142 GOEMBLE AVE APT 1                                                                 BUFFALO          NY 14211
RANDLE, RONALD L           17420 FORRISTER RD                                                                    HUDSON           MI 49247‐9720
RANDLE, RUTH O             P O BOX 851                                                                           SAGINAW          MI 48606‐0851
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Name                              Address1                          Address2                        Address3   Address4              City               State Zip
RANDLE, RUTH O                    PO BOX 851                                                                                         SAGINAW             MI 48606‐0851
RANDLE, SALLY                     PO BOX 742                                                                                         NORTH LIBERTY        IA 52317‐0742
RANDLE, SHIRLEY J                 725 SEYMOUR AVE                                                                                    COLUMBUS            OH 43205‐2945
RANDLE, STEPHEN L                 1972 HUNTERS RIDGE DR                                                                              BLOOMFIELD HILLS    MI 48304‐1036
RANDLE, THOMAS C                  12640 MADISON ST NE                                                                                BLAINE              MN 55434‐3172
RANDLE, THOMAS E                  PO BOX 250                                                                                         BUFFALO             NY 14207‐0250
RANDLE, THOMAS W                  106 MOCKINGBIRD LN                                                                                 ELLENTON            FL 34222‐4250
RANDLE, WANDA L                   10701 HALLWOOD DR                                                                                  ST LOUIS            MO 63136‐5715
RANDLE, WILLIAM W                 8334 FEATHER HOLW                                                                                  FENTON              MI 48430‐8376
RANDLE‐SINEGAL, LATASHA A         18262 STAHELIN AVE                                                                                 DETROIT             MI 48219‐2840
RANDLEMAN, WAYNE A                62 HACKLER FORD TRL                                                                                BUFFALO             MO 65622‐8638
RANDLES, BRENDA N                 7010 N CHARLESWORTH ST                                                                             DEARBORN HTS        MI 48127‐1994
RANDLES, DAVID W                  404 S BRADY ST                                                                                     ATTICA              IN 47918‐1427
RANDLES, EDNA P                   4940 DEARTH RD                                                                                     SPRINGBORO          OH 45066‐7415
RANDLES, JAMES E                  350 E GUNN RD                                                                                      ROCHESTER           MI 48306‐1807
RANDLES, LEE V                    10939 FRANKFORT RD                                                                                 HOLLAND             OH 43528‐9737
RANDLES, PAUL D                   2763 WOODMONT DR W                                                                                 CANTON              MI 48188‐1628
RANDLES, RAYMOND R                7010 N CHARLESWORTH ST                                                                             DEARBORN HTS        MI 48127‐1994
RANDLES, ROBERT H                 11580 FORDLINE ST APT 102                                                                          ALLEN PARK          MI 48101‐1051
RANDO, THOMAS A                   1914 HOPE MEADOW WAY                                                                               POWHATAN            VA 23139‐7062
RANDOL C THOMPSON                 280 NIKKI CT                                                                                       CARLISLE            OH 45005‐4248
RANDOL KARRY                      RANDOL, KARRY                     2325 GRANT BUILDING 310 GRANT                                    PITTSBURGH          PA 15219
                                                                    STREET
RANDOL MICHAEL EARL (ESTATE OF)   BRAYTON PURCELL                   PO BOX 6169                                                      NOVATO              CA 94948‐6169
(632379)
RANDOL THOMPSON                   280 NIKKI CT                                                                                       CARLISLE           OH   45005‐4248
RANDOL WRIGHT                     764 MABEL JOSEPHINE DR                                                                             TRACY              CA   95377‐8698
RANDOL, DENNIS G                  38100 E FAULKENBERRY RD                                                                            LONE JACK          MO   64070‐8505
RANDOL, DOROTHY M                 14208 W HEATHER LN                APT 75 B                                                         DALEVILLE          IN   47334
RANDOL, JACKIE L                  1276 S DARLINGTON HWY                                                                              BISHOPVILLE        SC   29010‐8540
RANDOL, KENNETH A                 9025 E 12TH ST                                                                                     INDIANAPOLIS       IN   46229‐2301
RANDOL, MARK T                    2221 MARTHA LN                                                                                     GREENWOOD          MO   64034‐9462
RANDOL, MICHAEL EARL              BRAYTON PURCELL                   PO BOX 6169                                                      NOVATO             CA   94948‐6169
RANDOL, NORMAN E                  18025 N 125 E                                                                                      SUMMITVILLE        IN   46070‐9110
RANDOL, PAMELA M                  2928 N 43RD ST                                                                                     KANSAS CITY        KS   66104‐2412
RANDOL, RANDY C                   7054 E ATHERTON RD                                                                                 DAVISON            MI   48423‐2402
RANDOL, RANDY CHRIS               7054 E ATHERTON RD                                                                                 DAVISON            MI   48423‐2402
RANDOLF BEEM                      3010 S COCHRAN RD                                                                                  CHARLOTTE          MI   48813‐9103
RANDOLF C HUEBNER                 1259‐ 52 STREET                                                              EDMONTON AB T6L 1Z4
                                                                                                               CANADA
RANDOLF D GRAHAM                  12751 DUNDEE DR                                                                                    GRAND LEDGE        MI   48837‐8956
RANDOLF GRAHAM                    12751 DUNDEE DR                                                                                    GRAND LEDGE        MI   48837‐8956
RANDOLF MARTIN                    111 SUTTON CT                                                                                      WINCHESTER         VA   22601‐5742
RANDOLPH A PEEPLES                7481 LOUISE AVE                                                                                    JENISON            MI   49428‐9724
RANDOLPH ABNER JR                 19969 TRINITY ST                                                                                   DETROIT            MI   48219‐1339
RANDOLPH ADAMS                    92 TEXAS AVE                                                                                       ROCHESTER HLS      MI   48309‐1572
RANDOLPH AIDE                     4745 W BROWNVIEW DR                                                                                JANESVILLE         WI   53545‐9041
RANDOLPH ALLEN                    1783 RING NECK DR                                                                                  ROCHESTER          MI   48307‐6008
RANDOLPH ALVAREZ                  1009 CUTTING HORSE DR                                                                              MANSFIELD          TX   76063‐5727
RANDOLPH ANDERSON                 5012 EDMONDSON PIKE                                                                                NASHVILLE          TN   37211‐5128
RANDOLPH B WOLFE                  121 EAST 11TH AVE APT B                                                                            COLUMBUS           OH   43201‐2164
RANDOLPH B. HOBBS                 ACCT OF JOSEPH GREGORY
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Name                            Address1                        Address2                 Address3                   Address4         City              State Zip
RANDOLPH BANASZAK               1531 GREEN AVE                                                                                       BAY CITY           MI 48708‐5506
RANDOLPH BEGLEY                 1277 ARK HIGHWAY #175                                                                                HARDY              AR 72542
RANDOLPH BELLANT                1388 MAYFIELD DR                                                                                     LANSING            MI 48906‐1499
RANDOLPH BENTLEY                12782 IROQUOIS DR                                                                                    BIRCH RUN          MI 48415‐9305
RANDOLPH BERG                   2113 ROOSEVELT AVE                                                                                   JANESVILLE         WI 53546‐5974
RANDOLPH BERTIE                 PO BOX 405                                                                                           BETHEL             OH 45106‐0405
RANDOLPH BISHOP                 26456 BLANCHARD RD                                                                                   DEFIANCE           OH 43512‐8982
RANDOLPH BOYD                   18004 TERESA DR                                                                                      MACOMB             MI 48044‐1642
RANDOLPH BROWN                  3422 BEN HOGAN LN                                                                                    BILLINGS           MT 59106‐1040
RANDOLPH BROWNE                 PO BOX 68                                                                                            TWINING            MI 48766‐0068
RANDOLPH BUTLER                 3825 REXMERE RD                                                                                      BALTIMORE          MD 21218‐2035
RANDOLPH CABAN                  950 EDEN DR                                                                                          SOUTHPORT          NC 28461‐9518
RANDOLPH CAMPOS                 24750 TAFT RD                                                                                        NOVI               MI 48375‐2273
RANDOLPH CAREER CENTER          17101 HUBBELL ST                                                                                     DETROIT            MI 48235‐3942
RANDOLPH CARL                   RANDOLPH, CARL                  3200 W END AVE STE 500                                               NASHVILLE          TN 37203‐1322
RANDOLPH CARTER                 PO BOX 430891                                                                                        PONTIAC            MI 48343‐0891
RANDOLPH CHAMPION               727 GENEVA RD                                                                                        DAYTON             OH 45417‐1214
RANDOLPH CLARK                  PO BOX 283                                                                                           OLIVET             MI 49076‐0283
RANDOLPH CLAWSON                4354 CORRIVEAU RD                                                                                    MILLERSBURG        MI 49759
RANDOLPH COOK                   4777 OXFORD PL                                                                                       CARMEL             IN 46033‐3373
RANDOLPH COOK                   1190 S WASHBURN RD                                                                                   DAVISON            MI 48423‐9155
RANDOLPH COOLE                  428 N SAGE LAKE RD                                                                                   HALE               MI 48739‐9148
RANDOLPH COUNTY COLLECTOR       107 W BROADWAY ST                                                                                    POCAHONTAS         AR 72455‐3406
RANDOLPH COUNTY COLLECTOR       110 S MAIN                                                                                           HUNTSVILLE         MO 65259
RANDOLPH COUNTY COURT CLERK     100 S MAIN ST RM 307                                                                                 WINCHESTER         IN 47394‐1832
RANDOLPH COUNTY TAX COLLECTOR   725 MCDOWELL RD                                                                                      ASHEBORO           NC 27205‐7370
RANDOLPH CROFTON                875 MARTIN LUTHER KING JR DR                                                                         MINERAL SPRINGS    AR 71851‐9044
RANDOLPH CROSS                  1625 ALLENDALE AVE                                                                                   OWOSSO             MI 48867‐3805
RANDOLPH CUMMINGS               9100 SUSAN CIR                                                                                       NEWPORT            MI 48166‐9284
RANDOLPH DAVIS                  3250 W STRANGE HWY                                                                                   MULLIKEN           MI 48861‐9750
RANDOLPH DIRKS JR               9885 MEEKER RD                                                                                       DAYTON             OH 45414‐1237
RANDOLPH DISHMON                19780 TEPPERT ST                                                                                     DETROIT            MI 48234‐3549
RANDOLPH DOTSON                 2301 SELMA AVE                                                                                       YOUNGSTOWN         OH 44504‐1305
RANDOLPH DOWD                   167 CORKEY LN                                                                                        MOUNT MORRIS       MI 48458‐2453
RANDOLPH DUBERVILLE             12122 FOLEY RD                                                                                       FENTON             MI 48430‐9400
RANDOLPH DUFFY                  3720 BRUSHY LN                                                                                       CHARLOTTE          NC 28270‐4427
RANDOLPH DUNLAP                 6350 BAKER RD                                                                                        BRIDGEPORT         MI 48722‐9788
RANDOLPH E CAMPOS               24750 TAFT RD                                                                                        NOVI               MI 48375‐2273
RANDOLPH E MONTGOMERY           1071 HUGHES LN                                                                                       WESSON             MS 39191
RANDOLPH EDUCATIONAL SERVICES   LOIS H ROTHSCHILD M A           3155 ROUTE 10            PROFESSIONAL PLAZA SUITE                    DENVILLE           NJ 07834
                                                                                         215
RANDOLPH ENGELHARDT             2047 BRUSSELS ST                                                                                     TOLEDO            OH   43613‐4520
RANDOLPH F FORSYTH              2105 LEITH STREET                                                                                    FLINT             MI   48506‐4911
RANDOLPH F SIPLE                4081 FOREST GLEN CT                                                                                  WATERFORD         MI   48329‐2310
RANDOLPH FINNEY                 1185 PLAINS RD                                                                                       WALLKILL          NY   12589‐4048
RANDOLPH FLICK                  6426 KLAM RD                                                                                         OTTER LAKE        MI   48464‐9660
RANDOLPH FORSYTH                2759 CARR                       APT C1                                                               FLINT             MI   48506
RANDOLPH FOSTER                 2708 NE 167TH PL                                                                                     GAINESVILLE       FL   32609‐4438
RANDOLPH FOX                    7001 SUMMERFIELD DR N                                                                                INDIANAPOLIS      IN   46214‐1356
RANDOLPH FREEMAN                3517 BENNETT AVE                                                                                     FLINT             MI   48506‐4703
RANDOLPH G MC MASTERS           29082 LONGVIEW AVE                                                                                   WARREN            MI   48093‐‐ 52
RANDOLPH GARBER                 496 HOLBROOK LN                                                                                      SAGINAW           MI   48638‐6255
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Name                                   Address1                       Address2                        Address3   Address4         City               State Zip
RANDOLPH GARCIA                        5617 BEARD RD                                                                              BYRON               MI 48418‐9700
RANDOLPH GLASCOE                       299 LANGSHIRE DR                                                                           MCDONOUGH           GA 30253‐8052
RANDOLPH GRAHAM                        51 COLGATE ST                                                                              ROCHESTER           NY 14619‐1310
RANDOLPH GRIERSON                      8435 HOSPITAL RD                                                                           FREELAND            MI 48623‐9748
RANDOLPH GROSS                         1325 E 8TH ST                                                                              MUNCIE              IN 47302‐3620
RANDOLPH GULLY                         444 N 58TH ST                                                                              EAST SAINT LOUIS     IL 62203‐1308
RANDOLPH H DIRKS JR                    9885 MEEKER RD                                                                             DAYTON              OH 45414‐1237
RANDOLPH HADDIX                        12010 HAAS RD                                                                              ATLANTA             MI 49709‐9404
RANDOLPH HALL                          4055 HICKORY ST                                                                            INKSTER             MI 48141‐2915
RANDOLPH HELM                          21117 RANDALL ST                                                                           FARMINGTON HILLS    MI 48336‐5326
RANDOLPH HELTMAN                       5681 SALLY RD                                                                              CLARKSTON           MI 48348‐3031
RANDOLPH HICKS                         PO BOX 330273                  719 HANCOCK ST                                              BROOKLYN            NY 11233‐0273
RANDOLPH HNILICA                       398 LAKE ST                                                                                SHREWSBURY          MA 01545‐3910
RANDOLPH HOBBS                         6186 HEDGEROW CIR                                                                          GRAND BLANC         MI 48439‐9787
RANDOLPH HOLTE                         2474 N FAIRWAY LN                                                                          BLUFFTON            IN 46714‐9231
RANDOLPH HOUSNER                       9198 EDGEWOOD CIR                                                                          LINDEN              MI 48451‐8589
RANDOLPH HUBER                         2364 STONEBROOK CT                                                                         FLUSHING            MI 48433‐2594
RANDOLPH HUBER                         PO BOX 71                                                                                  BURT                MI 48417‐0071
RANDOLPH HUBERT (ESTATE OF) (489197)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                      PROFESSIONAL BLDG
RANDOLPH HURLEY                        3393 INDIANWOOD RD                                                                         LAKE ORION         MI   48362‐1038
RANDOLPH IHRKE                         16 PLEASANT ST                                                                             OXFORD             MI   48371‐4645
RANDOLPH IVES                          PO BOX 534                                                                                 BIRCH RUN          MI   48415‐0534
RANDOLPH J JOSEPH                      78 E BEVERLY AVE                                                                           PONTIAC            MI   48340‐2610
RANDOLPH JAMES (447152)                BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
RANDOLPH JAMES (454018)                BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                                      PROFESSIONAL BLDG
RANDOLPH JEDRZEJEWSKI                  1101 CLINTON FRANKFORT ROAD                                                                CLINTON            PA   15026
RANDOLPH JIGGETTS                      74 17TH AVE APT B                                                                          NEWARK             NJ   07103‐2526
RANDOLPH JOHNSON                       229 E BELCREST RD                                                                          BEL AIR            MD   21014‐5319
RANDOLPH JOHNSON                       1758 BIG HILL ROAD                                                                         KETTERING          OH   45439‐2224
RANDOLPH JONES                         C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                   HOUSTON            TX   77007
                                       BOUNDAS LLP
RANDOLPH JORDAN                        4012 TIDEWOOD RD                                                                           BALTIMORE          MD   21220‐2376
RANDOLPH JR, BENJAMIN F                1812 ARCH ST                                                                               YOUNGSTOWN         OH   44505‐3506
RANDOLPH JR, CHARLIE                   656 RASKOB ST                                                                              PONTIAC            MI   48340‐3039
RANDOLPH JR, DONALD D                  1351 BROWN HOLLOW DR                                                                       SAINT JOHNS        MI   48879‐8728
RANDOLPH JR, LEWIS                     9450 SHYRE CIR                                                                             DAVISON            MI   48423‐8625
RANDOLPH JR, NETTER                    2502 N MORRISON RD                                                                         MUNCIE             IN   47304‐5069
RANDOLPH JR, WILLIAM H                 8114 HAZEN WAY                                                                             INDIANAPOLIS       IN   46216‐2113
RANDOLPH JR, WILLIE                    101 COUNTRY CLUB PLACE         APT 610                                                     MARSHA             TX   75672
RANDOLPH JR, WILLIE                    101 COUNTRY CLUB DR APT 610                                                                MARSHALL           TX   75672‐5878
RANDOLPH JR, WILLIE                    PO BOX 29213                                                                               SHREVEPORT         LA   71149‐9213
RANDOLPH JR., STEPHEN K                6204 E 129TH ST                                                                            GRANDVIEW          MO   64030‐2633
RANDOLPH KINDER                        303 EVERGREEN RD                                                                           FITZGERALD         GA   31750‐8983
RANDOLPH KING                          7990 IRISH RD                                                                              MILLINGTON         MI   48746‐9509
RANDOLPH KING                          220 PINE ST                                                                                IMLAY CITY         MI   48444‐1219
RANDOLPH KOVALA                        5101 OAK BARK CT                                                                           HOWELL             MI   48843‐7896
RANDOLPH L HOSIER                      4250 JACKSONBURG RD                                                                        HAMILTON           OH   45011
RANDOLPH LEEK                          7844 CABERFAE TRL                                                                          CLARKSTON          MI   48348‐3705
RANDOLPH LIPSKI                        3630 LAKESHORE DR                                                                          WATERFORD          MI   48329‐2284
                                       09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                  Address1                        Address2                        Address3       Address4         City               State Zip
RANDOLPH LLOYD (ESTATE OF) (460122)   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                   CLEVELAND           OH 44114
                                                                      BOND COURT BUILDING
RANDOLPH LLOYD D (ESTATE OF) (457584) KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                   CLEVELAND          OH 44114
                                                                      BOND COURT BUILDING
RANDOLPH LONG                         50832 WEAR RD                                                                                   SUMPTER TWP        MI 48111‐9327
RANDOLPH M PUCKETT                    2000 S EBRIGHT ST                                                                               MUNCIE             IN 47302‐4341
RANDOLPH MACON WOMANS COLLEGE         2500 RIVERMONT AVE                                                                              LYNCHBURG          VA 24503‐1555

RANDOLPH MAIDLOW                      1248 STARBOARD DR                                                                               OKEMOS             MI   48864‐3482
RANDOLPH MAISCH                       411 RIDGEWOOD RD                                                                                FRANKLIN           TN   37064‐5235
RANDOLPH MALLETTE                     24 HICKORY RDG                                                                                  DAVISON            MI   48423‐9165
RANDOLPH MARGARET                     RANDOLPH, MARGARET              1148 READING DR NW                                              ACWORTH            GA   30102‐6991
RANDOLPH MARTIN                       111 SUTTON CT                                                                                   WINCHESTER         VA   22601‐5742
RANDOLPH MAULDIN                      4068 MAIN ST                                                                                    BROWN CITY         MI   48416‐7904
RANDOLPH MCCLURE                      1297 LONDOLYN TER N                                                                             TRAVERSE CITY      MI   49686‐8804
RANDOLPH MECH                         29269 GLEN OAKS BLVD E                                                                          FARMINGTON HILLS   MI   48334‐2930
RANDOLPH MELVIN                       1103 WILLIAMSON CIR                                                                             PONTIAC            MI   48340‐3315
RANDOLPH MONTFORD                     132 CEDARBROOK AVE                                                                              SO PLAINFIELD      NJ   07080‐‐ 46
RANDOLPH MONTGOMERY                   1071 HUGHES LN                                                                                  WESSON             MS   39191‐9711
RANDOLPH MOORE                        165 S OPDYKE RD LOT 137                                                                         AUBURN HILLS       MI   48326‐3169
RANDOLPH MURRAY                       669 PROVINCETOWN RD                                                                             AUBURN HILLS       MI   48326‐3443
RANDOLPH MUSGROVE                     158 W ELMWOOD                                                                                   LEONARD            MI   48367‐1701
RANDOLPH NANZER                       7035 60TH ST SE                                                                                 GRAND RAPIDS       MI   49512‐9656
RANDOLPH P PIPER                      503 S SAGINAW ST                                                                                FLINT              MI   48502
RANDOLPH PARKER                       294 VIA FELICIA                                                                                 THOUSAND OAKS      CA   91320‐6919
RANDOLPH PEEPLES                      7481 LOUISE AVE                                                                                 JENISON            MI   49428‐9724
RANDOLPH PLEASANT                     7639 DELAINE COURT                                                                              INDIANAPOLIS       IN   46254
RANDOLPH POE SR                       9460 BELSAY RD                                                                                  MILLINGTON         MI   48746‐9587
RANDOLPH PRATHER                      PO BOX 80384                                                                                    CONYERS            GA   30013‐8384
RANDOLPH PUCKETT                      2000 S EBRIGHT ST                                                                               MUNCIE             IN   47302‐4341
RANDOLPH REINKE                       1055 ROBERTA ST                                                                                 VENICE             FL   34285‐7142
RANDOLPH RICE                         2437 HIALEAH DR                                                                                 FLINT              MI   48507‐1061
RANDOLPH RICHARD LEE                  NIX PATTERSON & ROACH LP        GM BANKRUPTCY DEPARTMENT        205 LINDA DR                    DAINGERFIELD       TX   75638
RANDOLPH RILEY                        128 FERNBORO RD                                                                                 ROCHESTER          NY   14618‐1716
RANDOLPH ROBERT ESTATE OF             400 N UNIVERSITY AVE APT 403                                                                    LITTLE ROCK        AR   72205‐3127
RANDOLPH ROBERT L (467053)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA   23510
                                                                      STREET, SUITE 600
RANDOLPH ROBINSON                     5424 TALL OAKS DR                                                                               FLINT              MI   48507‐3675
RANDOLPH S TEUBER                     1293 NORTH RD.SE                                                                                WARREN             OH   44484
RANDOLPH SALAZAR                      5301 COPLEY SQUARE RD                                                                           GRAND BLANC        MI   48439‐8633
RANDOLPH SANOVIC                      28923 COVENTRY CT                                                                               FARMINGTON HILLS   MI   48331‐2517
RANDOLPH SANTOS                       2083 PERSIMMON DR                                                                               CIBOLO             TX   78108‐3174
RANDOLPH SCOTT                        275 N MAIN ST                                                                                   CARSONVILLE        MI   48419‐9480
RANDOLPH SCOTT                        1180 S COUNTY ROAD D                                                                            JANESVILLE         WI   53548‐5042
RANDOLPH SCOTT
RANDOLPH SHEPHERD                     811 N SYCAMORE ST                                                                               LANSING            MI   48906‐5058
RANDOLPH SHERRY                       511 PRESSWICK LANE                                                                              SAINT CHARLES      MO   63303‐3845
RANDOLPH SIPLE                        4081 FOREST GLEN CT                                                                             WATERFORD          MI   48329‐2310
RANDOLPH SKAGGS                       1500 E BOGART RD APT 4A                                                                         SANDUSKY           OH   44870‐7153
RANDOLPH SKORA                        12800 NATHALINE                                                                                 REDFORD            MI   48239‐4611
RANDOLPH SMITH                        1007 WEBBER ST                                                                                  SAGINAW            MI   48601‐3316
RANDOLPH SMITH                        4730 CROMWELL STREET NORTH                                                                      HOLT               MI   48842‐1622
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Name                           Address1                         Address2                 Address3    Address4         City             State Zip
RANDOLPH SODERBERG             1153 W DEXTER TRL                                                                      MASON             MI 48854‐9616
RANDOLPH SPANN                 1378 WICHATA ST                                                                        ATLANTA           GA 30311
RANDOLPH STILL                 18966 SANTA BARBARA DR                                                                 DETROIT           MI 48221‐2152
RANDOLPH STRIPLING JR          409 N BRIDGE ST                                                                        DE WITT           MI 48820‐8907
RANDOLPH T WENCEL              638 HAYES ST                                                                           YPSILANTI         MI 48198‐8026
RANDOLPH TATRO                 8472 FENTON RD                                                                         GRAND BLANC       MI 48439‐8968
RANDOLPH TAYLOR                11140 DETWILER RD                                                                      COLUMBIANA        OH 44408‐9736
RANDOLPH TERRY                 3525 STARLING RD                                                                       BETHEL            OH 45106‐8670
RANDOLPH TETER                 HC 81 BOX 66                                                                           SENECA ROCKS      WV 26884‐9003
RANDOLPH TIRE CENTER           829 PAT BOOKER RD                                                                      UNIVERSAL CITY    TX 78148‐4129
RANDOLPH TOOL & MFG CO         PO BOX 188                                                                             ROYAL OAK         MI 48068‐0188
RANDOLPH UNDERWOOD             1341 LEWIS RD                                                                          MANSFIELD         OH 44903‐8950
RANDOLPH WALKER                22240 KELLY ROAD                                                                       EASTPOINTE        MI 48021‐2618
RANDOLPH WHITE                 319 AGATE DR                                                                           ROSCOMMON         MI 48653‐8753
RANDOLPH WHITEAKER             W8681 BIG BASS LAKE RD                                                                 SPOONER           WI 54801‐7805
RANDOLPH WHITERS               652 SHEFFIELD RD                                                                       AUBURN HILLS      MI 48326‐3527
RANDOLPH WILLIS                1921 MORTON ST                                                                         ANDERSON          IN 46016‐4154
RANDOLPH WITTINE               4370 SHELDON RD                                                                        ROCHESTER         MI 48306‐1846
RANDOLPH WRIGHT                1 CLINTON CT                                                                           NEW CASTLE        DE 19720‐3843
RANDOLPH WYSOCKI               28436 ELMWOOD ST                                                                       GARDEN CITY       MI 48135‐2446
RANDOLPH YOUNG                 28605 DENISE ST                                                                        MADISON HTS       MI 48071‐2986
RANDOLPH, ADRIENNE A           7788 TAMARACK PL                                                                       AVON              IN 46123‐9812
RANDOLPH, ADRIENNE ALEXANDRA   7788 TAMARACK PL                                                                       AVON              IN 46123‐9812
RANDOLPH, ALAN L               7402 HAYWARD RD                                                                        DELTON            MI 49046‐9755
RANDOLPH, ALFRED C             8343 E 48 RD                                                                           CADILLAC          MI 49601‐8427
RANDOLPH, ALICE L              914 BROADMOOR LN                                                                       ST CHARLES        MO 63301‐6212
RANDOLPH, ANDREW L             901 SUNSET POINTE DR                                                                   SALISBURY         NC 28146‐5709
RANDOLPH, ANN K                18 WEDGESIDE DR                                                                        LITTLE ROCK       AR 72210
RANDOLPH, BERTIE               PO BOX 405                                                                             BETHEL            OH 45106‐0405
RANDOLPH, BETTIE A             1001 RIVERVIEW DR                                                                      FINLEYVILLE       PA 15332‐1611
RANDOLPH, BETTY R              13641 GRACKLE DR                                                                       FORT MYERS        FL 33908‐5817
RANDOLPH, BEULAH A             4004 S HOUCK STREET                                                                    MARION            IN 46953
RANDOLPH, BEULAH A             1417 N WABASH AVE                                                                      MARION            IN 46952‐1870
RANDOLPH, BILLY D              2220 OLD SALEM RD                                                                      AUBURN HILLS      MI 48326‐3428
RANDOLPH, BOBBY J              4445 BLANTON CHAPEL RD                                                                 MANCHESTER        TN 37355‐4125
RANDOLPH, CALVIN               20060 BENTLER ST                                                                       DETROIT           MI 48219‐1374
RANDOLPH, CALVIN E             1333 DONAL DR                                                                          FLINT             MI 48532‐2638
RANDOLPH, CALVIN EUGENE        1333 DONAL DR                                                                          FLINT             MI 48532‐2638
RANDOLPH, CARL                 SMITH T CRAIG                    3200 W END AVE STE 500                                NASHVILLE         TN 37203‐1322
RANDOLPH, CARL C               10600 KENNEL LN                                                                        CHARLOTTE         NC 28277‐8792
RANDOLPH, CARLTON L            995 N CASS LAKE RD APT 134                                                             WATERFORD         MI 48328‐2377
RANDOLPH, CAROL                8267 E COLDWATER RD                                                                    DAVISON           MI 48423‐8965
RANDOLPH, CARRIE D             5166 W 8TH STREET RD                                                                   ANDERSON          IN 46011‐9101
RANDOLPH, CHARLES L            1417 N WABASH AVE                                                                      MARION            IN 46952‐1870
RANDOLPH, CHARLES W            7645 OYSTER BAY DR                                                                     CHARLEVOIX        MI 49720‐8823
RANDOLPH, CHERYL D             22 WALDO ST                                                                            PONTIAC           MI 48341‐1224
RANDOLPH, CHRISTOPHER          UNKNOWN
RANDOLPH, CLAYTON A            6342 ADAMSON DR                                                                        WATERFORD        MI   48329‐3004
RANDOLPH, CLIFFORD S           1722 SMITH CEMETERY RD                                                                 SODDY DAISY      TN   37379‐3743
RANDOLPH, CORA                 19172 TEPPERT ST                                                                       DETROIT          MI   48234‐3512
RANDOLPH, CORTEZ M             14411 BRISTOL AVE                                                                      GRANDVIEW        MO   64030‐4103
RANDOLPH, DANIEL P             JUAREZ                                                                                 PASADENA         CA   91000
                            09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                        Address1                          Address2                       Address3   Address4         City              State Zip
RANDOLPH, DANNY P           26720 CURLEW WAY                                                                             MILLSBORO          DE 19966‐6827
RANDOLPH, DARIUS            5648 S EAGLE CT                                                                              YPSILANTI          MI 48197‐9246
RANDOLPH, DAVID             4311 AMBERGATE CT                                                                            FRANKLIN           TN 37064‐7727
RANDOLPH, DAVID A           13685 CHIPPING WAY CT                                                                        SHELBY TWP         MI 48315‐2859
RANDOLPH, DAVID E           2714 COUNTY ROAD 261                                                                         TOWN CREEK         AL 35672‐4338
RANDOLPH, DAVID L           3789 ELLSWORTH DRIVE                                                                         DAYTON             OH 45431‐2498
RANDOLPH, DEBRA K           2485 N KNOLL DR                                                                              BEAVERCREEK        OH 45431‐2479
RANDOLPH, DIANA R           1079 S GROVE ST                                                                              YPSILANTI          MI 48198‐6448
RANDOLPH, DIANA ROSEMARY    1079 S GROVE ST                                                                              YPSILANTI          MI 48198‐6448
RANDOLPH, DIETRICH RODALE   5235 WASHTENAW ST                                                                            BURTON             MI 48509‐2031
RANDOLPH, DONNA J           3459 PINEWOOD CT 46                                                                          DAVISON            MI 48423
RANDOLPH, DOROTHY B         6250 TROY FREDERICK RD                                                                       TIPP CITY          OH 45371‐9624
RANDOLPH, DOROTHY L         778 NORWICH RD                                                                               VANDALIA           OH 45377
RANDOLPH, ELIZABETH J       3180 THORNFIELD LN                                                                           FLINT              MI 48532‐3753
RANDOLPH, ELSIE S           5725 BENEDICT ROAD                                                                           DAYTON             OH 45424‐4213
RANDOLPH, ERMA M            PO BOX 2384                                                                                  SURF CITY          NC 28445‐0020
RANDOLPH, ERSKINE           15702 WHIPPLE AVE                                                                            MARKHAM             IL 60428‐3968
RANDOLPH, ETHEL             5444 WOLFPEN PL HILL RD LOT 414                                                              MILFORD            OH 45150
RANDOLPH, FRANCES           4004 S HOUCK ST                                                                              MARION             IN 46953‐5126
RANDOLPH, FRANCES           1417 N WABASH AVE                                                                            MARION             IN 46952‐1870
RANDOLPH, FREDERICK         11511 SAINT PATRICK ST                                                                       DETROIT            MI 48205‐3790
RANDOLPH, GARY G            843 DUNBAR DR                                                                                WINTER SPRINGS     FL 32708‐2006
RANDOLPH, GENE B            9341 TAYLORSVILLE RD                                                                         HUBER HEIGHTS      OH 45424‐6345
RANDOLPH, GENEVIEVE C       1547 SPRING WATER WAY                                                                        HIGHLANDS RANCH    CO 80129‐5431
RANDOLPH, GEORGE B          911 HENDERSON LN                                                                             THE VILLAGES       FL 32162‐6672
RANDOLPH, GORDON W          778 NORWICH RD                                                                               VANDALIA           OH 45377‐1630
RANDOLPH, GUY P             11 PORTER ST APT 406                                                                         DANVERS            MA 01923
RANDOLPH, HARLEY D          8267 E COLDWATER RD                                                                          DAVISON            MI 48423‐8965
RANDOLPH, HEATHER M         4919 BALLARD RD                                                                              LANSING            MI 48911‐2942
RANDOLPH, ISAAC E           6108 GIFFORD ST                                                                              INDIANAPOLIS       IN 46228‐1258
RANDOLPH, JACKIE L          464 LYNCH AVE                                                                                PONTIAC            MI 48342‐1955
RANDOLPH, JACKIE L          3037 LINCOLNVIEW                                                                             AUBON HILLS        MI 48326
RANDOLPH, JAMES             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
RANDOLPH, JAMES A           19184 WARRINGTON DR                                                                          DETROIT           MI   48221‐1821
RANDOLPH, JAMES ALLEN       19184 WARRINGTON DR                                                                          DETROIT           MI   48221‐1821
RANDOLPH, JAMES D           3012 201ST STREET                                                                            LYNWOOD           IL   60411‐1500
RANDOLPH, JAMES D           PO BOX 57                                                                                    DANVILLE          AL   35619‐0057
RANDOLPH, JAMES H           1111 DARLINGTON DR                                                                           BEAVERCREEK       OH   45434‐6303
RANDOLPH, JAMES K           1494 E OOLITIC RD                                                                            BEDFORD           IN   47421‐8625
RANDOLPH, JAMES R           9036 GEMSTONE DR                                                                             LAS VEGAS         NV   89134‐8558
RANDOLPH, JANET M           1096 HOMECREST DR                                                                            PIGGOTT           AR   72454‐1021
RANDOLPH, JANICE L          1716 CHERRY HILL LN                                                                          KOKOMO            IN   46902‐3128
RANDOLPH, JENNIFER          333 N 25TH ST                                                                                MILWAUKEE         WI   53233‐2501
RANDOLPH, JEREMY T          135 W LOGAN ST                                                                               MARKLE            IN   46770
RANDOLPH, JEREMY TODD       135 W LOGAN ST                                                                               MARKLE            IN   46770
RANDOLPH, JERRY D           2904 NEBRASKA AVE                                                                            TOLEDO            OH   43607‐3123
RANDOLPH, JERRY DERONE      2904 NEBRASKA AVE                                                                            TOLEDO            OH   43607‐3123
RANDOLPH, JIMMIE L          6501 BIG SPRINGS DR                                                                          ARLINGTON         TX   76001‐5122
RANDOLPH, JIMMY J           233 PIPER BLVD                                                                               DETROIT           MI   48215‐3035
RANDOLPH, JIMMY L           2880 CASCADE CT                                                                              GAINESVILLE       GA   30504‐9202
RANDOLPH, JOANNE H          233 WEBSTER RD                                                                               WEBSTER           NY   14580‐9590
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Name                    Address1                         Address2                       Address3   Address4         City            State Zip
RANDOLPH, JOHN O        4004 12TH ST                                                                                ECORSE           MI 48229‐1306
RANDOLPH, JOHNNIE       1710 LOST CROSSING TRL                                                                      ARLINGTON        TX 76002‐3632
RANDOLPH, JOHNNY R      937 NE 28TH ST                                                                              OKLAHOMA CITY    OK 73105‐7912
RANDOLPH, JOSEPH T      10878 PADDOCK DR                                                                            WALTON           KY 41094‐7433
RANDOLPH, JOSEPHINE M   11886 ANCHORAGE WAY                                                                         BOCA RATON       FL 33428‐5604
RANDOLPH, JULIA D       PO BOX 30960                                                                                SANTA BARBARA    CA 93130‐0960
RANDOLPH, KEITH F       922 DAVIS HILL RD                                                                           FRANKFORT        OH 45628‐9724
RANDOLPH, KELLY K       135 W LOGAN ST                                                                              MARKLE           IN 46770
RANDOLPH, KENNETH E     1303 CHALET DR                                                                              WILMINGTON       DE 19808‐5801
RANDOLPH, KENNETH G     778 NORWICH RD                                                                              VANDALIA         OH 45377‐1630
RANDOLPH, KIMBERLY D    131 SHAWNEE CT                                                                              FRANKLIN         OH 45005‐7117
RANDOLPH, KORNELIUS A   19980 CANTERBURY RD                                                                         DETROIT          MI 48221‐1811
RANDOLPH, LAKEDERIA R   6777 RASBERRY LN APT 2728                                                                   SHREVEPORT       LA 71129‐2570
RANDOLPH, LARRY J       4505 STONECASTLE DR APT 109                                                                 KETTERING        OH 45440‐3110
RANDOLPH, LARRY S       6363 JAYSVILLE SAINT JOHNS RD                                                               GREENVILLE       OH 45331‐9248
RANDOLPH, LARRY W       656 GAS LINE RD                                                                             BEDFORD          IN 47421‐7426
RANDOLPH, LEONARD J     11675 HAAS RD                                                                               ATLANTA          MI 49709‐9354
RANDOLPH, LLOYD         KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                         BOND COURT BUILDING
RANDOLPH, LLOYD D       KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND       OH 44114
                                                         BOND COURT BUILDING
RANDOLPH, LORETTA J     127 ROSECROFT DR                                                                            ROCHESTER       NY   14616‐4805
RANDOLPH, LUCILLE       P O BOX 227                                                                                 OOLITIC         IN   47451‐0227
RANDOLPH, LUCILLE       PO BOX 227                                                                                  OOLITIC         IN   47451‐0227
RANDOLPH, LYNDA         603 VINE ST NW                                                                              DECATUR         AL   35601‐1229
RANDOLPH, LYNDALL M     3217 N 300 E                                                                                KOKOMO          IN   46901‐8355
RANDOLPH, MADELINE E    11 HARDING AVE                                                                              WALTHAM         MA   02453‐6802
RANDOLPH, MADGE         3032 DURANT HTS                                                                             FLINT           MI   48507‐4514
RANDOLPH, MARCY D       PO BOX 51832                                                                                IRVINE          CA   92619‐1832
RANDOLPH, MARGARET      1148 READING DR NW                                                                          ACWORTH         GA   30102‐6991
RANDOLPH, MARTHA N      PO BOX 614                                                                                  PLEASANT HILL   TN   38578
RANDOLPH, MARVIN T      6682 CHARRING CROSS DR                                                                      KALAMAZOO       MI   49048‐9655
RANDOLPH, MELVIN L      1103 WILLIAMSON CIR                                                                         PONTIAC         MI   48340‐3315
RANDOLPH, MICHAEL D     4817 MUND RD                                                                                SHAWNEE         KS   66218‐9091
RANDOLPH, MICHAEL K     PO BOX 130                                                                                  MEDWAY          OH   45341‐0130
RANDOLPH, NELL J        2667 BURTON AVE                                                                             FORT WORTH      TX   76105‐4708
RANDOLPH, NICOLINA      11588 CARTWRIGHT RD                                                                         HUNT            NY   14846
RANDOLPH, NORMA N       4401 GENESEE AVENUE                                                                         DAYTON          OH   45406‐3216
RANDOLPH, PAMALA S      2013 LAVENDER CT                                                                            SPRING HILL     TN   37174‐4557
RANDOLPH, PAMALA SUE    2013 LAVENDER CT                                                                            SPRING HILL     TN   37174‐4557
RANDOLPH, PATRICIA A    4906 33RD ST N                                                                              ST PETERSBURG   FL   33714
RANDOLPH, PRINCE E      28 RUSSELL RD                                                                               JACKSON         TN   38301‐3815
RANDOLPH, RAYMOND C     PO BOX 374                                                                                  MULBERRY        IN   46058‐0374
RANDOLPH, REESE A       2906 BUTTONWOOD WALK                                                                        HAZEL CREST     IL   60429‐2102
RANDOLPH, RITA A        309 LUX ST                                                                                  CINCINNATI      OH   45216‐1518
RANDOLPH, ROBERT        506 PIER LN                                                                                 MELBOURNE       FL   32951‐4267
RANDOLPH, ROBERT        506 PIER LANE                                                                               MELBOURNE       FL   32951‐4267
RANDOLPH, ROBERT C      8265 REESE RD                                                                               CLARKSTON       MI   48348‐2766
RANDOLPH, ROBERT D      529 BRIDGESTONE CT                                                                          INVERNESS       IL   60010‐6420
RANDOLPH, ROBERT L      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                         STREET, SUITE 600
RANDOLPH, ROGER H       243 LINCOLN AVE                                                                             LOCKPORT        NY 14094‐5532
                                 09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                             Address1                        Address2                        Address3                    Address4              City           State Zip
RANDOLPH, RONALD S               1329 GLENROSE AVE                                                                                                 LANSING         MI 48915‐2201
RANDOLPH, RONNIE L               3729 HOPKINS HOMES ANX                                                                                            BRUNSWICK       GA 31520
RANDOLPH, ROOSEVELT              3714 MILBOURNE AVE                                                                                                FLINT           MI 48504‐2254
RANDOLPH, ROSIE MAE              3425 COLORADO AVE                                                                                                 KANSAS CITY     MO 64128‐2324
RANDOLPH, ROSIE MAE              3425 COLORADO                                                                                                     KANSAS CITY     MO 64128‐2324
RANDOLPH, RUTH A                 4710 BURNHAM LN                                                                                                   DAYTON          OH 45429‐1104
RANDOLPH, RUTH A                 4710 BURNHAM LANE                                                                                                 DAYTON          OH 45429‐1104
RANDOLPH, SAMMIE L               510 S 30TH                                                                                                        SAGINAW         MI 48601‐6431
RANDOLPH, SAMMIE L               510 S 30TH ST                                                                                                     SAGINAW         MI 48601‐6431
RANDOLPH, SAMUEL LEE             GORI JULIAN & ASSOCIATES P C    156 N MAIN ST                                                                     EDWARDSVILLE     IL 62025
RANDOLPH, SHARON A               18011 RUTHERFORD ST                                                                                               DETROIT         MI 48235‐3157
RANDOLPH, SHAWN M                2485 N KNOLL DR                                                                                                   BEAVERCREEK     OH 45431‐2479
RANDOLPH, SHIRLEY A              26121 EUREKA RD APT 308                                                                                           TAYLOR          MI 48180‐4944
RANDOLPH, SHIRLEY C              3790 SNAPFINGER RD                                                                                                LITHONIA        GA 30038‐3527
RANDOLPH, SHIRLEY LEE            503 BARRETT DR                                                                                                    MALDEN          MO 63863‐1201
RANDOLPH, STEPHANIE D            PO BOX 252561                                                                                                     W BLOOMFIELD    MI 48325‐2561
RANDOLPH, STEPHANIE R            1925 MACKIN RD                                                                                                    FLINT           MI 48504
RANDOLPH, STEPHANIE RENEE        1925 MACKIN RD                                                                                                    FLINT           MI 48504
RANDOLPH, TALMADGE               1371 LANDS END                                                                                                    ORANGEBURG      SC 29118
RANDOLPH, TALMADGE               1473 ELLIS AVE                                                                                                    ORANGEBURG      SC 29118‐2511
RANDOLPH, TED J                  5908 CEDAR LAKE DR A                                                                                              INDIANAPOLIS    IN 46254
RANDOLPH, TERRI L                8321 OAKLAND AVE                                                                                                  KANSAS CITY     KS 66112‐1741
RANDOLPH, TERRI LYNN             8321 OAKLAND AVE                                                                                                  KANSAS CITY     KS 66112‐1741
RANDOLPH, THOMAS E               420 METZ RD E                                                                                                     COLUMBIANA      OH 44408‐9411
RANDOLPH, THOMAS M               1090 S OHIO ST                                                                                                    MARTINSVILLE    IN 46151‐2545
RANDOLPH, THURMAN G              338 MOIZE CUT OFF RD APT A                                                                                        JACKSON         TN 38305‐8618
RANDOLPH, TODD W                 121 CLARENDON AVE                                                                                                 COLUMBUS        OH 43223‐1004
RANDOLPH, TONY L                 600 BELINDER LN APT 2701                                                                                          SCHAUMBURG       IL 60173
RANDOLPH, UNA M                  4352 W ROUNDHOUSE RD APT 5                                                                                        SWARTZ CREEK    MI 48473‐1453
RANDOLPH, VERLYN R               14200 DRESSLER AVE                                                                                                GARFIELD HTS    OH 44125‐5020
RANDOLPH, VIOLET                 PO BOX 374                                                                                                        MULBERRY        IN 46056‐0374
RANDOLPH, VIVIAN R               19327 TRACEY ST                                                                                                   DETROIT         MI 48235‐1739
RANDOLPH, WALTER L               2851 HARVEY RD                                                                                                    PHENIX          VA 23959‐3110
RANDOM HOUSE INC                 2002 BETHEL RD                                                                                                    FINKSBURG       MD 21048
RANDOMBYTE SOFTWARE SRL          STR CLUCERU SANDU 4 BL 29C      SC B AP 86 SECTOR 2 BUCHAREST                               ROMANIA 022431
                                                                                                                             ROMANIA
RANDOMBYTE SOFTWARE SRL          STR CLUCERU SANDU 4             BL 29C SC B AP 86 SECTOR 2                                  BUCHAREST RO 022431
                                                                                                                             ROMANIA
RANDOW JR, SAMUEL H              24 RIDGE DRIVE, IVY RIDGE                                                                                         NEW CASTLE     DE   19720
RANDS, KYLE J                    14034 MILL CANYON PEAK DR                                                                                         RIVERTON       UT   84096‐6404
RANDS, WILLIAM J                 7630 AUGUST AVE                                                                                                   WESTLAND       MI   48185‐2577
RANDST/PURCHA                    ATTN: SAM ALSUP                 198404 BNA DRIVE                BUILDING 200 SUITE 500                            NASHVILLE      TN   37216
RANDSTAD HOLDING NV              100 SATURN PKWY                 MAIL DROP 371‐999‐G15                                                             SPRING HILL    TN   37174‐2492
RANDSTAD STAFFING SERVICE        JONES ,JANE                     100 SATURN PKWY                 TINA GREEN MD 371‐999‐G15                         SPRING HILL    TN   37174‐2492

RANDSTAD STAFFING SERVICE        100 SATURN PKWY                 MAIL DROP 371‐999‐G15                                                             SPRING HILL    TN   37174‐2492
RANDSTAD STAFFING SERVICES       100 SATURN PKWY                 MAIL CODE 371‐999‐G15                                                             SPRING HILL    TN   37174‐2492
RANDSTAD STAFFING SERVICES INC   100 SATURN PKWY                                                                                                   SPRING HILL    TN   37174‐2492
RANDSTAD/SPRING HILL             100 SATURN PKWY                 MAIL DROP 371‐999‐G15           ATTN: TINA GREEN                                  SPRING HILL    TN   37174‐2492
RANDT, ELLEN E                   3243 LUDWIG ST                                                                                                    BURTON         MI   48529‐1033
RANDT, KENNETH H                 6332 BARNES RD                                                                                                    MILLINGTON     MI   48746‐9553
RANDY                            RANDY DINWIDDIE                 169 ATCHINSON RD                                                                  OLEAN          MO   65064‐2148
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Name                              Address1                      Address2            Address3         Address4         City              State Zip
RANDY
RANDY POWER                       13475 E ROUTE D                                                                     CENTRALIA         MO    65240‐4133
RANDY A ASBRIDGE                  9488 HEGEL RD                                                                       GOODRICH          MI    48438‐9256
RANDY A CANTWELL                  9228 W MINERAL POINT RD                                                             JANESVILLE        WI    53548‐8721
RANDY A CLERE                     895 EAST EVERSTON ROAD                                                              TIPP CITY         OH    45371
RANDY A CURTIS                    9088 LAINGSBURG RD                                                                  LAINGSBURG        MI    48848‐9307
RANDY A FREIE                     481 RAILROAD ST                                                                     MOSCOW MILLS      MO    63362‐1614
RANDY A GIBBONS                   1321 HORSESHOE DR                                                                   LEWISBURG         TN    37091‐6907
RANDY A JANOS                     5103 E JUDDVILLE RD                                                                 OWOSSO            MI    48867‐9673
RANDY A JOHNSON                   305 S ROCKINGCHAIR RD                                                               PARAGOULD         AR    72450‐3444
RANDY A JOHNSON                   404 SOUTH ROCKINGCHAIR ROAD                                                         PARAGOULD         AR    72450‐3458
RANDY A JUDD                      3621 SCHEYHING RD                                                                   LEWISBURG         OH    45338
RANDY A KOHL                      10322 E ML AVE                                                                      GALESBURG         MI    49053‐9642
RANDY A PURNHAGEN                 217‐1/2S WATER ST                                                                   LEWISBURG         OH    45338
RANDY A RAFALSKI                  1235 N WILLARD RD                                                                   CATON             MI    48187‐3229
RANDY A SENSENBAUGH               3952 ARK AVE                                                                        DAYTON            OH    45416
RANDY A SPRUDE                    2908 CALIFORNIA AVE.                                                                KETTERING         OH    45419
RANDY A WINKELMAN                 2628 MEANWELL RD                                                                    PETERSBURG        MI    49270‐9462
RANDY A WUERFEL                   5842 CURSON DR                                                                      TOLEDO            OH    43612‐4009
RANDY ADAMS                       72 POTTER DR                                                                        BELLEVILLE        MI    48111‐3608
RANDY ADAMS                       6330 OLD LOG TRL                                                                    KALAMAZOO         MI    49009‐9123
RANDY ADKINS                      11177 POTTER RD                                                                     FLUSHING          MI    48433‐9788
RANDY ALBERS                      16090 W TOWNLINE RD                                                                 SAINT CHARLES     MI    48655‐8705
RANDY ALDERSON                    212 MAPLEWOOD DR                                                                    CLARKSTON         MI    48348‐1482
RANDY ALDRIDGE                    1805 MORREN DR                                                                      NORMAN            OK    73071‐3235
RANDY ALT                         9648 MELBOURNE AVE                                                                  ALLEN PARK        MI    48101‐1365
RANDY ALTER                       4815 COVENTRY PKWY                                                                  FORT WAYNE        IN    46804‐7132
RANDY AND BRIANNE SANADA FAMILY   RANDY AND BRIANNE SANADA      14359 LAUREL LANE                                     MOORPARK          CA    93021
TRUST
RANDY ANGELL                      12600 100TH ST SE                                                                   ALTO               MI 49302‐9618
RANDY ANSELMINO
RANDY ARICKX                      15087 TOWERING OAKS DR                                                              SHELBY TOWNSHIP   MI    48315‐1661
RANDY ARMFIELD                    6537 W 600 N                                                                        MARION            IN    46952‐9176
RANDY ARMSTRONG                   447 OVERLOOK DR                                                                     WATERVILLE        OH    43566‐1520
RANDY ARMSTRONG                   3610 ALDON LN                                                                       FLINT             MI    48506‐2680
RANDY ARNOLD                      2348 PINE LAKE AVENUE                                                               KEEGO HARBOR      MI    48320‐1427
RANDY ARTHUR                      718 ORLEY PLACE                                                                     BEL AIR           MD    21014‐6869
RANDY ASBRIDGE                    9488 HEGEL RD                                                                       GOODRICH          MI    48438‐9256
RANDY ASHER                       212 S MAIN ST                                                                       GERMANTOWN        OH    45327‐1332
RANDY ASHTON                      7270 SE 1100 RD                                                                     COLLINS           MO    64738‐6175
RANDY AVERY                       PO BOX 12                                                                           PICKFORD          MI    49774‐0012
RANDY AVERY                       1456 W MOUNT MORRIS RD                                                              MOUNT MORRIS      MI    48458‐1829
RANDY AYERS                       3133 W AUBURN RD                                                                    ROCHESTER HILLS   MI    48309‐3519
RANDY B BRUNNER                   2903 ARMEN AVE                                                                      KETTERING         OH    45432
RANDY B FRANZEL                   3305 SYCKELMOORE ST                                                                 TRENTON           MI    48183‐3570
RANDY B LOYD                      853 PARKMAN RD. APT. #1                                                             WARREN            OH    44485
RANDY B NEWTON                    198 S MERRIMAC ST                                                                   PONTIAC           MI    48340‐2540
RANDY BAILEY                      9174 N 350 W                                                                        ALEXANDRIA        IN    46001‐8427
RANDY BAILEY                      530 PERKINSWOOD BLVD NE                                                             WARREN            OH    44483‐4408
RANDY BAILEY                      132 CHEEKWOOD DR                                                                    MADISON           AL    35758‐3016
RANDY BAILEY                      10820 TERRACE RD                                                                    HOLLY             MI    48442‐8036
RANDY BAKER                       5202 LAUR RD                                                                        NORTH BRANCH      MI    48461‐9543
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Name                             Address1                       Address2               Address3      Address4         City            State Zip
RANDY BAKER                      11400 GETTYSBURG DARKE RD                                                            NEW PARIS        OH 45347‐9269
RANDY BAKER                      5262 FISH LAKE RD                                                                    NORTH BRANCH     MI 48461‐9567
RANDY BALDWIN                    320 WEST OTTAWA                                                                      LANSING          MI 48933
RANDY BALL                       730 PEPPERMILL CIR                                                                   LAPEER           MI 48446‐2677
RANDY BALOGA                     46836 MAIDSTONE RD                                                                   CANTON           MI 48187‐1406
RANDY BANDERA                    660 KEYES RD                                                                         SUNSET           TX 76270‐6458
RANDY BANKS                      5562 W 11200 N                                                                       HIGHLAND         UT 84003‐9484
RANDY BARANOWSKI                 1890 N 9 MILE RD                                                                     SANFORD          MI 48657‐9694
RANDY BARNES                     5764 E CHARLES RD                                                                    IONIA            MI 48846‐9751
RANDY BAYN                       6106 NEW PARIS WAY                                                                   ELLENTON         FL 34222‐7261
RANDY BEACH                      1826 STANLEY ST                                                                      SAGINAW          MI 48602‐1064
RANDY BEAVERS                    19967 GREENVIEW AVE                                                                  DETROIT          MI 48219‐1527
RANDY BECKER                     3728 S GREENWICH LN                                                                  INDEPENDENCE     MO 64055‐3411
RANDY BEEBE                      10130 E MOUNT MORRIS RD                                                              DAVISON          MI 48423‐9333
RANDY BEERS                      4526 WILDCAT RD                                                                      SAINT JOHNS      MI 48879‐9095
RANDY BEHMLANDER                 124 POTEET CT                                                                        BOWLING GREEN    KY 42104‐6455
RANDY BELL                       152 STOKES DRIVE                                                                     STOCKBRIDGE      GA 30281‐5925
RANDY BENEFIELD                  3000 S LIGHTNER LN                                                                   OKLAHOMA CITY    OK 73179‐3607
RANDY BENNETT                    PO BOX 393                                                                           MARKLE           IN 46770‐0393
RANDY BENNETT                    7211 ALOUISE CT                                                                      WHITE LAKE       MI 48383‐3003
RANDY BENNINGFIELD               834 GRIDER POND RD                                                                   BOWLING GREEN    KY 42104‐0802
RANDY BERGDALL                   5715 SCHLATTER RD                                                                    LEO              IN 46765‐9596
RANDY BERKBUEGLER                17 CHEROKEE SUNSET CT                                                                O FALLON         MO 63366‐5989
RANDY BIALECKI                   10307 STARK ST                                                                       TEMPERANCE       MI 48182‐9707
RANDY BIERLEIN                   1539 S BEYER RD                                                                      SAGINAW          MI 48601‐9433
RANDY BIERMAKER                  3937 CURTIS RD                                                                       BIRCH RUN        MI 48415‐9083
RANDY BIGGINS                    10160 SHEPHERD RD                                                                    ONSTED           MI 49265‐9559
RANDY BIRDWELL                   50622 GRAEFIELD CIR                                                                  PLYMOUTH         MI 48170‐8217
RANDY BISSELL                    PO BOX 1852                                                                          ROYAL OAK        MI 48068‐1852
RANDY BLACK                      14859 COUNTY RD 171                                                                  DEFIANCE         OH 43512‐8323
RANDY BLACKMON                   1052 ZEPHYR ST                                                                       YPSILANTI        MI 48198‐6250
RANDY BLAIR                      409 ALEXANDER BLVD                                                                   SPRING HILL      TN 37174‐2442
RANDY BLANDFORD                  560 HIGHLAND AVE                                                                     KENMORE          NY 14223‐1625
RANDY BLEHM                      1050 CRANBROOK DR                                                                    SAGINAW          MI 48638‐5437
RANDY BLIESENER                  APT 113                        5716 RICHWOOD STREET                                  LANSING          MI 48911‐5238
RANDY BLOCK                      206 BROOKHAVEN DR                                                                    COLUMBIA         TN 38401‐8871
RANDY BLUEHER                    316 E 34TH ST                                                                        ANDERSON         IN 46013‐4616
RANDY BODO                       711 HUNTER BLVD                                                                      LANSING          MI 48910‐4542
RANDY BOERSIG
RANDY BOESEL                     4600 RHODE ISLAND DR           APT 1                                                 YOUNGSTOWN      OH   44515‐4415
RANDY BOOTH                      7100 JOSE LAKE ROAD                                                                  SOUTH BRANCH    MI   48761‐9656
RANDY BOURDON                    303 FRANCIS CT                                                                       AUBURN          MI   48611‐9407
RANDY BOWEN CHEVROLET, INC.      RANDALL BOWEN                  1201 MANVEL AVE                                       CHANDLER        OK   74834‐4433
RANDY BOWEN CHEVROLET‐PONTIAC‐   1201 MANVEL AVE                                                                      CHANDLER        OK   74834‐4433
OLDSM
RANDY BOWEN CHEVROLET‐PONTIAC‐   1201 MANVEL AVE                                                                      CHANDLER        OK 74834‐4433
OLDSMOBILE‐GMC, INC.
RANDY BOWERS                     3607 S WARREN RD                                                                     HUNTINGTON      IN   46750‐9249
RANDY BOWERSON                   1184 OLANDER DR                                                                      LAPEER          MI   48446‐9676
RANDY BOYCE                      313 CHAMBERS RD                                                                      MANSFIELD       OH   44903‐8774
RANDY BOYLAN                     212 N MARION AVE                                                                     JANESVILLE      WI   53548‐3350
RANDY BRADFORD                   2529 JULIE DR                                                                        COLUMBIAVILLE   MI   48421‐8911
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Name                                Address1                             Address2                    Address3   Address4         City            State Zip
RANDY BRAEUTIGAN                    10415 HARRIS RD                                                                              CHESANING        MI 48616‐9408
RANDY BRAMLETT                      7271 JOHNSON RD                                                                              FLUSHING         MI 48433‐9049
RANDY BRAND                         7904 S COUNCIL RD                                                                            OKLAHOMA CITY    OK 73169‐2410
RANDY BREEDLOVE                     2878 STATE ROUTE 314                                                                         SHELBY           OH 44875‐8914
RANDY BREWER                        605 W DAVISBURG RD                                                                           HOLLY            MI 48442‐8553
RANDY BRIGGS                        22097 GADDY RD                                                                               TECUMSEH         OK 74873‐6291
RANDY BRITT                         169 TREETOP TRL                                                                              ARLINGTON        TX 76015‐3845
RANDY BRITTON                       9038 FOWLERVILLE RD                                                                          FOWLERVILLE      MI 48836‐9419
RANDY BROOKS                        6310 WAYOATA CT                                                                              FORT WAYNE       IN 46815‐6357
RANDY BROWN                         23331 MOORESVILLE RD                                                                         ATHENS           AL 35613‐3102
RANDY BROWN                         2373 WESTLAWN DR                                                                             KETTERING        OH 45440‐2047
RANDY BROWN                         4109 SILVERTON CIR                                                                           NORMAN           OK 73072‐5136
RANDY BROWN                         2091 GARNER RD                                                                               MT PLEASANT      TN 38474‐2818
RANDY BRUCE                         PMB 331                              990 HIGHWAY 287 N STE 105                               MANSFIELD        TX 76063‐2611
RANDY BUIS                          5436 SHAE LAKE DR                                                                            MOORESVILLE      IN 46158‐7176
RANDY BULCAK                        3745 LAKE PLEASANT RD                                                                        NORTH BRANCH     MI 48461‐8928
RANDY BURNWORTH                     4302 OLD CASTLE CIR                                                                          LANSING          MI 48911‐2528
RANDY BUSCH                         1022 S RIVER RD                                                                              SAGINAW          MI 48609‐6852
RANDY C CALHOUN                     681 GLENBROOKE APT 8110                                                                      WATERFORD        MI 48327‐2244
RANDY C CALKINS                     PO BOX 217                                                                                   LIMA             NY 14485
RANDY C CHESTEEN                    1205 E FLOWERS RD                                                                            TERRY            MS 39170‐9785
RANDY C MAULDIN                     823 W HARWOOD RD APT B                                                                       HURST            TX 76054‐3290
RANDY C MOORE                       4560 BELLE RIVER RD                                                                          ATTICA           MI 48412‐9724
RANDY C VAN STEENBURGH              6178 MEREDITH GRADE RD                                                                       HARRISON         MI 48625‐9665
RANDY C WAHL                        2776 THE HTS                                                                                 NEWFANE          NY 14108‐1216
RANDY C WALTERS                     26350 WALKER PASS RD.                                                                        MORENO VALLEY    CA 92555‐2424
RANDY C. SMITH , AEC                C/O SOLVENT RECOVERY SERVICES OF NEW PO BOX 310                                              MONT VERNON      NH 03057‐0310
                                    ENGLAND PRP GROUP
RANDY C. SMITH , AEC, C/O PHILIPS   PO BOX 310                                                                                   MONT VERNON     NH 03057‐0310
SERVICES PRP GROUP
RANDY C. SMITH, FRANK BROWN,        C/O SEABOARD CHEM CORP PRP GROUP     PO BOX 310                                              MONT VERNON     NH 03057‐0310
AMERICAN ENVIRONMENTAL
CONSULTANTS
RANDY CAINS                         46 STATE ROUTE 603 W                                                                         SHILOH          OH   44878‐8848
RANDY CALHOUN                       681 GLENBROOKE APT 8110                                                                      WATERFORD       MI   48327‐2244
RANDY CALLISON                      1403 MOLE AVE                                                                                JANESVILLE      WI   53548‐1528
RANDY CAMPBELL                      612 PRINCETON CT                                                                             MANSFIELD       OH   44904‐1621
RANDY CANTU                         191 N COLLEGE RD                                                                             MASON           MI   48854‐9567
RANDY CANTWELL                      9228 W MINERAL POINT RD                                                                      JANESVILLE      WI   53548‐8721
RANDY CAPONI                        2373 COUNTY ROAD 4220                                                                        ANNONA          TX   75550‐3615
RANDY CARLSON
RANDY CARPENTER                     2333 RANDY DR                                                                                KETTERING       OH   45440‐1915
RANDY CARROLL                       1111 N HURON DR                                                                              JANESVILLE      WI   53545‐1317
RANDY CARROLL                       8290 HOLCOMB RD                                                                              CLARKSTON       MI   48348‐4314
RANDY CARTWRIGHT                    2713 W NIGHTHAWK WAY                                                                         PHOENIX         AZ   85045‐4218
RANDY CASSERILLA                    10970 W TIDEWATER CIR                                                                        CRYSTAL RIVER   FL   34428‐6325
RANDY CASTLEBERRY SR.               15 WIEST LN                                                                                  GERRARDSTOWN    WV   25420‐4236
RANDY CHADWICK                      17460 GRATIOT RD                                                                             HEMLOCK         MI   48626‐8620
RANDY CHAMBERLAIN                   305 ROSETTE ST                                                                               HOLLY           MI   48442‐1340
RANDY CHAMPAGNE                     23023 40TH AVE                                                                               BARRYTON        MI   49305‐9791
RANDY CHAMPION                      16800 S TAMIAMI TRL                                                                          FORT MYERS      FL   33908‐4507
RANDY CHANCELLOR                    5625 WOODFIELD PKWY                                                                          GRAND BLANC     MI   48439‐9427
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Name                                Address1                          Address2              Address3              Address4         City               State Zip
RANDY CHAPMAN                       13743 W CAREFREE DR                                                                            HOMER GLEN           IL 60491‐8657
RANDY CHARBONNEAU                   2068 W ERICKSON RD                                                                             LINWOOD             MI 48634‐9748
RANDY CHRISTOPHER                   360 N DALTON AVE                                                                               ALBANY              IN 47320‐1306
RANDY CLARK                         1136 HARDING DR                                                                                FLINT               MI 48507‐4250
RANDY CLARK                         3536 WINDSOR WAY                                                                               ANDERSON            IN 46011‐3053
RANDY CLARK                         5817 LEWIS AVE                                                                                 IDA                 MI 48140‐9740
RANDY CLARK                         14333 SEYMOUR RD                                                                               MONTROSE            MI 48457‐9074
RANDY CODDINGTON
RANDY COKER                         113 CORONADO CT                                                                                ELYRIA             OH    44035‐3626
RANDY COMBS                         6330 SHERINGHAM RD                                                                             BLOOMFIELD HILLS   MI    48301‐1507
RANDY CONWAY                        1029 ORCHARD ST                                                                                LANSING            MI    48912‐1512
RANDY COOK                          28639 WHITE RD                                                                                 PERRYSBURG         OH    43551‐3655
RANDY COOK                          4693 NIXON RD                                                                                  DIMONDALE          MI    48821‐9718
RANDY COOK                          3699 HIGHVIEW DRIVE                                                                            OXFORD             MI    48371‐5737
RANDY COOK                          2114 HAYES DENTON RD                                                                           COLUMBIA           TN    38401‐8227
RANDY COOKE                         153 N CLAYTON ST                                                                               MOUNT DORA         FL    32757‐5612
RANDY COOMER                        775 BROWNING AVE                                                                               ENGLEWOOD          OH    45322‐2032
RANDY COPELAND                      11307 ROAD 189                                                                                 OAKWOOD            OH    45873‐9340
RANDY CORBEIL                       4741 ROSY DR                                                                                   LEONARD            MI    48367‐1747
RANDY CORBIN                        1725 CAMERON RD                                                                                BERLIN             MI    48002‐2212
RANDY COTTERMAN                     6801 PABLO DR                                                                                  HUBER HEIGHTS      OH    45424‐2222
RANDY COX                           495 BUCKEYE LN                                                                                 NAPOLEON           OH    43545‐2309
RANDY COX                           3570 E. M‐43 HWY.                                                                              HASTINGS           MI    49058
RANDY COX                           PO BOX 53                                                                                      CLARKRANGE         TN    38553‐0053
RANDY COX                           801 S AVENUE B E                                                                               HASKELL            TX    79521‐7549
RANDY CRAIG                         202 GAY ST                                                                                     VAN WERT           OH    45891‐1411
RANDY CRAVER                        600 CALM LAKE CIR APT B                                                                        ROCHESTER          NY    14612
RANDY CRUMP                         2349 WALLIS AVE                                                                                OVERLAND           MO    63114‐3415
RANDY CRUPPENINK                    4388 CARMANWOOD DR                                                                             FLINT              MI    48507‐5602
RANDY CULLISON                      341530 E 1000 RD                                                                               MEEKER             OK    74855‐5416
RANDY CURNOW BUICK PONTIAC GMC      7707 STATE AVE                                                                                 KANSAS CITY        KS    66112‐2819
TRUC
RANDY CURNOW BUICK PONTIAC GMC      RANDOLPH CURNOW                   7707 STATE AVE                                               KANSAS CITY         KS   66112‐2819
TRUCK, INC.
RANDY CURNOW BUICK PONTIAC GMC      7707 STATE AVE                                                                                 KANSAS CITY         KS   66112‐2819
TRUCK, INC.
RANDY CURRIDEN                      18 MEGHANS WAY                                                                                 PENNSVILLE         NJ    08070‐9653
RANDY CURTIS                        9088 LAINGSBURG RD                                                                             LAINGSBURG         MI    48848‐9307
RANDY CURTIS                        19320 DOVE CT                                                                                  MACOMB             MI    48044‐1435
RANDY D ADCOCK                      200 VALLEY DR                                                                                  ATTALLA            AL    35954‐1021
RANDY D BAKER                       11400 GETTYSBURG DARKE RD                                                                      NEW PARIS          OH    45347
RANDY D CORNETT                     5780 CORWIN RD                                                                                 WAYNESVILLE        OH    45068‐9462
RANDY D DAY                         360 NORTH SECTION ST.                                                                          SOUTH LEBANON      OH    45065
RANDY D FITZ                        2844 WILLIAMSBURG ST NW                                                                        WARREN             OH    44485‐2251
RANDY D OSBORNE, PERSONAL REP FOR   JAMES R OSBORNE                   C/O BRAYTON PURCELL   222 RUSH LANDING RD                    NOVATO             CA    94948‐6169

RANDY D ROGERS                      5910 MUNGER RD                                                                                 DAYTON             OH    45459‐1142
RANDY D SCOTT                       5341 SONORA RD                                                                                 LEWISBURG          OH    45338‐8962
RANDY D SHADE                       6375 PIN OAK CT                                                                                DAYTON             OH    45424
RANDY D VINCENT                     220 ALLISON DR                                                                                 PULASKI            TN    38478
RANDY D WANG                        275 S REED ST                                                                                  ASHLEY             MI    48806‐9332
RANDY D WATTS                       204 DEVONSHIRE ST                                                                              YPSILANTI          MI    48198‐6021
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Name                 Address1                        Address2                   Address3          Address4         City                State Zip
RANDY DAGLEY         150 PEACH BLOSSOM LN                                                                          BOWLING GREEN        KY 42103‐7057
RANDY DALE HARTLEY   NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD         TX 75638
RANDY DANIELS        4998 ASH HILL RD                                                                              SPRING HILL          TN 37174‐9209
RANDY DARLEY         6062 LAKE RD                                                                                  MILLINGTON           MI 48746‐9209
RANDY DARLING        1705 IRVIN ST                                                                                 NEW CASTLE           IN 47362‐2355
RANDY DARLING        3010 S VASSAR RD                                                                              BURTON               MI 48519‐1670
RANDY DAVIS          11231 E SMART AVE                                                                             SUGAR CREEK          MO 64054‐1536
RANDY DAVIS          4407 BURCHFIELD AVE                                                                           LANSING              MI 48910‐5219
RANDY DAVIS          717 MARIDAY ST                                                                                LAKE ORION           MI 48362‐3509
RANDY DAVIS          PO BOX 725                                                                                    HELOTES              TX 78023‐0725
RANDY DAWLEY         7414 HARTEL ST                                                                                WESTLAND             MI 48185‐5556
RANDY DAY            360 N SECTION ST                                                                              SOUTH LEBANON        OH 45065‐1125
RANDY DECK           1219 MARTIN RD                                                                                BOWLING GREEN        OH 43402‐9240
RANDY DEGG           2582 N CARTER RD                                                                              PINCONNING           MI 48650‐7980
RANDY DELANA         17801 E 227TH ST                                                                              HARRISONVILLE        MO 64701‐3788
RANDY DELOSH         59 PROSPECT AVE                                                                               MASSENA              NY 13662‐1747
RANDY DEPOTTEY       8632 MURPHY LAKE RD                                                                           VASSAR               MI 48768‐9631
RANDY DESHAIES       632 N RACQUETTE RIVER RD                                                                      MASSENA              NY 13662‐3250
RANDY DIAMOND        4060 GENESEE RD                                                                               LAPEER               MI 48446‐3608
RANDY DINSMORE       2389 7 MILE RD                                                                                KAWKAWLIN            MI 48631‐9702
RANDY DIURBA         6601 DOWNS RD NW                                                                              WARREN               OH 44481‐9464
RANDY DIXON          621 ONANDAGA AVE                                                                              YPSILANTI            MI 48198
RANDY DOAN           PO BOX 73                                                                                     JONESVILLE           TX 75659‐0073
RANDY DODSON         4342 NAPA VALLEY DR                                                                           BELLBROOK            OH 45305‐1566
RANDY DOLLISON       PO BOX 692                                                                                    TIPTON               MO 65081‐0692
RANDY DOMER          30447 ST RT 62                                                                                SALEM                OH 44460
RANDY DOVER          405 LAKE CIR                                                                                  COLUMBIA             TN 38401‐8881
RANDY DOWNIE         2268 IMLAY CITY RD                                                                            LAPEER               MI 48446‐3262
RANDY DOWNING        2416 BLUE HARBOR DR                                                                           FORT WAYNE           IN 46804‐8406
RANDY DOYEN          2212 N DEWITT RD                                                                              SAINT JOHNS          MI 48879‐9464
RANDY DRESBACK       3381 JOSSMAN HLS                                                                              ORTONVILLE           MI 48462‐9050
RANDY DROZDOWSKI     28947 OAKMONT DR                                                                              CHESTERFIELD         MI 48051‐3659
RANDY DUBOIS         5487 VAN WAGNEN RD                                                                            VASSAR               MI 48768‐9738
RANDY DUFFY          10958 S MOUNT HOPE RD                                                                         CARSON CITY          MI 48811‐9755
RANDY DUGGAN         1216 WRECKENRIDGE RD                                                                          FLINT                MI 48532‐3231
RANDY DUNN           12313 HICKORY CREEK BLVD                                                                      OKLAHOMA CITY        OK 73170‐4525
RANDY DUNNINGTON     4609 LEIPERS CREEK RD                                                                         WILLIAMSPORT         TN 38487‐2164
RANDY DUNSMORE       6336 BROOKVIEW DR                                                                             GRAND BLANC          MI 48439‐9712
RANDY DUPUIS         206 W SMITH ST                                                                                BAY CITY             MI 48705‐3604
RANDY DYBING
RANDY E HARDY        2636 DELLA DR                                                                                 DAYTON              OH   45417‐4430
RANDY E HIXENBAUGH   659 W HEIGHTS AVE                                                                             YOUNGSTOWN          OH   44509
RANDY E PROCKISH     1899 S GRAND DR                                                                               APACHE JUNCTION     AZ   85220‐7325
RANDY E RODGERS      37 E LONGFELLOW AVE                                                                           PONTIAC             MI   48340‐2743
RANDY EAGLE          4833 MAMIE DR                                                                                 FORT WAYNE          IN   46835‐3639
RANDY EARP           3477 GREENSPRING LN                                                                           ROCHESTER HLS       MI   48309‐2733
RANDY EDMONDSON      6214 WAUBUN RD                                                                                INDIAN RIVER        MI   49749‐9732
RANDY EDWARDS        2008 WILCOX ST                                                                                INDIANAPOLIS        IN   46222‐3881
RANDY ELAM           14123 CAMERON RD                                                                              EXCELSIOR SPRINGS   MO   64024‐8475
RANDY ELLIOTT        6672 N RAISIN CENTER HWY                                                                      TECUMSEH            MI   49286‐9514
RANDY ELLIS          1811 EMBURY PARK RD                                                                           DAYTON              OH   45414‐5540
RANDY EPPERSON       1067 GREEN MEADOWS DR                                                                         GRAND BLANC         MI   48439‐8903
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Name                Address1                        Address2                   Address3   Address4         City            State Zip
RANDY ERPENBACH     9911 TUMBLEWEED BLVD                                                                   FORT WAYNE       IN 46825‐2687
RANDY F SCHLIEWE    25715 NORFOLK ST                                                                       DEARBORN HTS     MI 48125‐1128
RANDY FARMER        9980 N GLEN DR                                                                         MOORESVILLE      IN 46158‐6406
RANDY FARR          APT 146                         3404 SUMMERS DRIVE NORTH                               FORT WORTH       TX 76137‐6504
RANDY FARR          8207 HOLLISTER RD                                                                      LAINGSBURG       MI 48848‐9230
RANDY FARRIN        1807 BRIARWOOD STREET                                                                  POCAHONTAS       AR 72455‐1750
RANDY FARRIS        PO BOX 96                                                                              DE BERRY         TX 75639‐0096
RANDY FERGUSON      130 CURRY ST                                                                           CLIO             MI 48420‐1136
RANDY FIDELL        5656 GAY ST                                                                            TOLEDO           OH 43613‐1813
RANDY FIEGE         95 MANDARIN DR                                                                         ROCHESTER        NY 14626‐3846
RANDY FIENE         1302 N MAIN ST                                                                         HIGGINSVILLE     MO 64037‐1229
RANDY FINKBEINER    16022 WINDSOR LN                                                                       HOLLY            MI 48442‐9653
RANDY FISHER        2801 BENT OAKS DR                                                                      BURLESON         TX 76028‐2345
RANDY FISHER        8606 S SHERIDAN RD                                                                     FENWICK          MI 48834‐9768
RANDY FISHER        10625 BAYNE RD                                                                         NASHVILLE        MI 49073‐8744
RANDY FLAGG         6228 BRANFORD DR                                                                       W BLOOMFIELD     MI 48322‐1088
RANDY FLECK         5197 OLD COVE RD                                                                       CLARKSTON        MI 48346‐3820
RANDY FLEGEL        606 S ELY HWY                                                                          ITHACA           MI 48847‐9778
RANDY FOELLER       2875 BOXWOOD RD                                                                        TOLEDO           OH 43613‐3222
RANDY FORD          5142 HARVEST LN                                                                        TOLEDO           OH 43623‐2221
RANDY FORD          607 E KNIGHT ST                                                                        EATON RAPIDS     MI 48827‐1358
RANDY FORTMAN       8390 DOMERSVILLE RD                                                                    DEFIANCE         OH 43512‐9192
RANDY FOWLER        800 SOUTH M66 HIGHWAY                                                                  NASHVILLE        MI 49073
RANDY FRANK         6226 CARNATION RD                                                                      W CARROLLTON     OH 45449‐3060
RANDY FRANZEL       3305 SYCKELMOORE ST                                                                    TRENTON          MI 48183‐3570
RANDY FRECHEN       13906 W WALKER RD                                                                      FOWLER           MI 48835‐9277
RANDY FRECKELTON    24615 ALMOND AVE                                                                       EASTPOINTE       MI 48021‐4233
RANDY FREDERICK     37 PARK AVE                                                                            MASSENA          NY 13662‐1442
RANDY FREDERIKSEN   5697 WILLOW CREEK DR                                                                   SARANAC          MI 48881‐8723
RANDY FREIE         481 RAILROAD ST                                                                        MOSCOW MILLS     MO 63362‐1614
RANDY FRENCH        9417 ALLAN RD                                                                          NEW LOTHROP      MI 48460‐9796
RANDY FRENCH        5210 S IVA RD                                                                          SAINT CHARLES    MI 48655‐8740
RANDY FRENCH
RANDY FRY           10001 GOODALL RD LOT 86 A9                                                             DURAND          MI   48429
RANDY FRY           9105 STEEL ST                                                                          DETROIT         MI   48228‐2679
RANDY FRY           5176 PANTHER TRL                                                                       CHIPLEY         FL   32428‐3488
RANDY FULLER        18064 W RICH RD                                                                        BRANT           MI   48614‐9717
RANDY FULLER        31628 FAIRCHILD ST                                                                     WESTLAND        MI   48186‐4908
RANDY G COX         PO BOX 53                                                                              CLARKRANGE      TN   38553‐0053
RANDY G DELANA      17801 E 227TH ST                                                                       HARRISONVILLE   MO   64701‐3788
RANDY G FISHER      10625 BAYNE RD                                                                         NASHVILLE       MI   49073‐8744
RANDY G MANN        4531 LACLEDE ST                                                                        INDIANAPOLIS    IN   46221‐3224
RANDY G MOORE       5 CHERRY ST                                                                            PERRY           NY   14530
RANDY G ROSS        3505 W. BOYER                                                                          SANTA ANA       CA   92703‐1403
RANDY GARDNER       9754 US HIGHWAY 2                                                                      RAPID RIVER     MI   49878‐9405
RANDY GARNER        10901 KATIE CIR                                                                        MUSTANG         OK   73064‐9421
RANDY GEISEL        5611 FIREWOOD DR                                                                       ARLINGTON       TX   76016‐1128
RANDY GIBBONS       1321 HORSESHOE DR                                                                      LEWISBURG       TN   37091‐6907
RANDY GILLELAND     4185 MONKS RD                                                                          PINCKNEY        MI   48169‐9003
RANDY GLASGOW       10699 HOLMES HWY                                                                       EATON RAPIDS    MI   48827‐9509
RANDY GLASS         PO BOX 7640                                                                            FLINT           MI   48507‐0640
RANDY GODDARD       5830 PREBLE COUNTY LINE RD                                                             LEWISBURG       OH   45338‐9602
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Name                Address1                         Address2                     Address3   Address4         City              State Zip
RANDY GOLDEN        313 N MUSTANG RD                                                                          TUTTLE             OK 73089‐8420
RANDY GOMEZ         9748 MONROE BLVD                                                                          TAYLOR             MI 48180‐3619
RANDY GONZALEZ      4369 KATHLEEN DR                                                                          PIGEON             MI 48755‐9631
RANDY GOODMAN
RANDY GOSSETT       PO BOX 821                                                                                UNION LAKE        MI   48387‐0821
RANDY GRACZYK       17101 CICOTTE AVE                                                                         ALLEN PARK        MI   48101‐3116
RANDY GRANDCHAMP    1636 N MUSKEGON RD                                                                        HOUGHTON LAKE     MI   48629‐9241
RANDY GREEN         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
RANDY GREENE        4811 CIRCLE DR                                                                            CLARKSTON         MI   48348‐3917
RANDY GREENWAY      1060 W BROCKER RD                                                                         METAMORA          MI   48455‐8931
RANDY GREGORY       3064 CHARLWOOD DR                                                                         ROCHESTER HILLS   MI   48306‐3610
RANDY GREW          4794 ZIELINSKI LN                                                                         AUBURN            MI   48611‐9208
RANDY GRIFFITH      5522 S DEEP RIVER RD                                                                      PINCONNING        MI   48650‐8317
RANDY GRIGG         26914 DOVER                                                                               REDFORD           MI   48239‐1902
RANDY GRIMES        4392 N HILLCREST CIR                                                                      FLINT             MI   48506‐1422
RANDY GRUNDSTROM    610 JOHNSON ST                                                                            CHARLOTTE         MI   48813‐1927
RANDY GRZESIAK      7701 GARDEN RDG                                                                           FREELAND          MI   48623‐8503
RANDY GUERIN        PO BOX 21                                                                                 LINWOOD           MI   48634‐0021
RANDY GUILD         120 E KENT ST                                                                             GRAND LEDGE       MI   48837‐1706
RANDY GUNNELS       2216 BRIAR LN                                                                             BURTON            MI   48509‐1233
RANDY GUNTER        1093 HARRIET ST                                                                           MOUNT MORRIS      MI   48458‐1603
RANDY GUOAN         4642 WYATT RD                                                                             STANDISH          MI   48658‐9191
RANDY GUTHRIDGE     1868 STATION RD                                                                           VALLEY CITY       OH   44280‐9522
RANDY H BLANDFORD   5910 W WAUTOMA BCH RD                                                                     HILTON            NY   14468‐9127
RANDY H DEGG        2582 N CARTER RD                                                                          PINCONNING        MI   48650‐7980
RANDY H REMMING     5500 CONESUS SOUTH LIVONIA                                                                CONESUS           NY   14435
RANDY HALAZON       3700 WASHBURN RD                                                                          VASSAR            MI   48768‐8914
RANDY HALE          38102 N RUSTY LN                                                                          QUEEN CREEK       AZ   85240‐4138
RANDY HALL          2111 S SILVER ISLAND RD                                                                   COVINGTON         IN   47932‐8052
RANDY HALL          2347 BASTEAN RD                                                                           WENTZVILLE        MO   63385‐2205
RANDY HALL          3846 CLAIBORNE AVE                                                                        SHREVEPORT        LA   71109‐4404
RANDY HAMILTON      4297 E LAKE RD                                                                            CLIO              MI   48420‐9145
RANDY HAMILTON      6044 HURON ST                                                                             TAYLOR            MI   48180‐1367
RANDY HAMMAR        8612 SHAWN DR                                                                             YPSILANTI         MI   48197‐7128
RANDY HAMPTON       21384 SHARP RD                                                                            ATHENS            AL   35613‐3900
RANDY HARDENBURG    4420 SULGRAVE DR                                                                          SWARTZ CREEK      MI   48473‐8268
RANDY HARDING       PO BOX 3883                                                                               WISE              VA   24293‐3883
RANDY HARDY         5398 LENNON RD                                                                            SWARTZ CREEK      MI   48473‐7902
RANDY HARDY         2636 DELLA DR                                                                             DAYTON            OH   45408‐2430
RANDY HARDY         1178 OAKLAWN DR                                                                           PONTIAC           MI   48341‐3601
RANDY HARLAN        PO BOX 287                                                                                KEWADIN           MI   49648‐0287
RANDY HARLESS       105 WESTBURY RD                                                                           PENDLETON         IN   46064‐9192
RANDY HARMON        440 MAPLE LN                                                                              MOORESVILLE       IN   46158‐1325
RANDY HARRELL       1073 E SILVERBELL RD                                                                      LAKE ORION        MI   48360‐2334
RANDY HARRIS        4305 COUNTY ROAD 75                                                                       BERGHOLZ          OH   43908‐7908
RANDY HART          3873 W BARNES LAKE RD                                                                     COLUMBIAVILLE     MI   48421‐9117
RANDY HATFIELD      1100 WEISS ST                                                                             SAGINAW           MI   48602‐5469
RANDY HAWKINS       202 S FRANKLIN ST                                                                         SAINT LOUIS       MI   48880‐1739
RANDY HAWLEY        11304 N BELSAY RD                                                                         CLIO              MI   48420‐9756
RANDY HAY           18339 STATE ROUTE 56                                                                      LAURELVILLE       OH   43135‐9276
RANDY HEBERT        10281 CEDAR POINT DR                                                                      WHITE LAKE        MI   48386‐2974
RANDY HECK          10355 GRAND BLANC RD                                                                      GAINES            MI   48436‐9772
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Name                                  Address1                        Address2            Address3         Address4         City           State Zip
RANDY HEFLER                          1539 E LINDA LN                                                                       GILBERT         AZ 85234‐1046
RANDY HENDRICKSON                     6365 MUIRFIELD DR                                                                     TEMPERANCE      MI 48182‐9682
RANDY HENNE                           392 COLORADO RIDGE DR                                                                 HEMLOCK         MI 48626‐9376
RANDY HENNELLS                        17091 MICHAEL CT                                                                      MACOMB          MI 48044‐5593
RANDY HENRY                           PO BOX 225                                                                            MAPLE RAPIDS    MI 48853‐0225
RANDY HENSON                          9168 WARD NORTH RD                                                                    KINSMAN         OH 44428‐9539
RANDY HERRON                          7400 N HIX RD                                                                         WESTLAND        MI 48185‐1955
RANDY HESLOP                          5383 N MCKINLEY RD                                                                    FLUSHING        MI 48433‐1153
RANDY HESS                            34751 WICK RD                                                                         ROMULUS         MI 48174‐1619
RANDY HIATT                           9121 N WALNUT ST                                                                      MUNCIE          IN 47303‐9670
RANDY HIGH                            PO BOX 5                                                                              NEW ROSS        IN 47968‐0005
RANDY HILL                            N277 ARMSTRONG AVE                                                                    FLUSHING        MI 48433
RANDY HILL                            PO BOX 684                                                                            MOULTON         AL 35650‐0684
RANDY HILL                            2012 N TURNER ST                                                                      MUNCIE          IN 47303‐2451
RANDY HILTZ                           PO BOX 177                                                                            OTISVILLE       MI 48463‐0177
RANDY HITT                            1205 HAMILTON ST                                                                      TOLEDO          OH 43607‐4365
RANDY HOLBROOK                        14844 CIRCLE DR                                                                       CHOCTAW         OK 73020‐6225
RANDY HOLDEN                          1727 UNIVERSITY DR                                                                    COLUMBIA        TN 38401‐6413
RANDY HOLLINGSWORTH                   4321 SEIDEL PL                                                                        SAGINAW         MI 48638‐5601
RANDY HOOD                            8234 S PEOGA RD                                                                       TRAFALGAR       IN 46181‐8996
RANDY HOPPER                          27844 MORAN ST                                                                        HARRISON TWP    MI 48045‐2931
RANDY HOPPES                          6376 BLUE WATER HWY                                                                   MUIR            MI 48860‐9704
RANDY HORTON                          6353 HILL RD                                                                          SWARTZ CREEK    MI 48473‐8202
RANDY HORTON
RANDY HOSKINS                         4880 HUSTON DR                                                                        ORION          MI 48359‐2132
RANDY HOSLER PONTIAC (FLEET)          PO BOX 1648                                                                           CLARKSTON      MI 48347
RANDY HOSLER PONTIAC‐BUICK‐GMC, INC   9603 DIXIE HWY                                                                        CLARKSTON      MI 48348‐4143

RANDY HOSLER PONTIAC‐BUICK‐GMC, INC. 9603 DIXIE HWY                                                                         CLARKSTON      MI 48348‐4143

RANDY HOSLER PONTIAC‐BUICK‐GMC, INC. RANDY HOSLER                     9603 DIXIE HWY                                        CLARKSTON      MI 48348‐4143

RANDY HOTCHKISS                       1001 GEORGETOWN COURT                                                                 POTTERVILLE    MI   48876‐9506
RANDY HOWARD                          N5876 STATE ROAD 89                                                                   DELAVAN        WI   53115‐2425
RANDY HUBER                           205 CHASE ST                                                                          STRYKER        OH   43557‐9466
RANDY HUDSON                          809 LOVINGHAM DR                                                                      ARLINGTON      TX   76017‐6455
RANDY HUDSON                          303 PARKWEST CT APT J10                                                               LANSING        MI   48917‐2589
RANDY HULL                            526 GAMEWELL DR                                                                       MIAMISBURG     OH   45342‐2786
RANDY HUNLEY                          1350 LEXINGTON ONTARIO RD                                                             MANSFIELD      OH   44903‐8632
RANDY HUNT                            1479 WESTWOOD DR                                                                      FLINT          MI   48532‐2669
RANDY HUNTER                          PO BOX 143                                                                            STATHAM        GA   30666‐0004
RANDY HUNTER                          11181 DAISY LN                                                                        SAGINAW        MI   48609‐9442
RANDY HUNTER                          3104 LUCE RD                                                                          FLUSHING       MI   48433‐2358
RANDY HURST                           1011 N PASADENA ST                                                                    YPSILANTI      MI   48198‐4229
RANDY HUSH                            4B WESTON FORBES COVE                                                                 EDISON         NJ   08820
RANDY HUTSON                          6831 N COUNTY ROAD 100 E                                                              SPRINGPORT     IN   47386‐9731
RANDY HYDE                            5392 W 600 N                                                                          SHARPSVILLE    IN   46068‐8900
RANDY HYMAN                           1315 SAN JUAN DR                                                                      FLINT          MI   48504‐3232
RANDY HYNEK                           318 S ATWOOD AVE                                                                      JANESVILLE     WI   53545‐4102
RANDY IRELAN                          1317 MORRIS RD                                                                        LAPEER         MI   48446‐9422
RANDY IRVAN                           2100 CARRIE CT                                                                        COLUMBIA       TN   38401‐6927
RANDY J BLOCK                         206 BROOKHAVEN DR                                                                     COLUMBIA       TN   38401‐8871
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Name                                Address1                          Address2            Address3         Address4         City              State Zip
RANDY J BREWER                      5477 S CLAYTON RD                                                                       FARMERSVILLE       OH 45325‐9211
RANDY J CHADWICK                    17460 GRATIOT RD                                                                        HEMLOCK            MI 48626‐8620
RANDY J CUZZORT                     514 WARWICK LN                                                                          PICKERINGTON       OH 43147
RANDY J GEIGER                      55 TIMOR RD SE                                                                          RIO RANCHO         NM 87124
RANDY J KAPALA                      1754 PARKWOOD AVE                                                                       YPSILANTI          MI 48198‐7801
RANDY J LUEK                        1900 FOSTER AVE                                                                         JANESVILLE         WI 53545‐0813
RANDY J MINARDI                     95 BEEKMAN AVE APT 238S                                                                 SLEEPY HOLLOW      NY 10591‐7702
RANDY J MOORE                       4151 LEVALLEY RD                                                                        COLUMBIAVILLE      MI 48421‐9311
RANDY J MORGAN                      479 BISCAYNE DR                                                                         ROCHESTER          NY 14612
RANDY J REYNOLDS                    2802 CRANDALL RD                                                                        ALBION             NY 14411
RANDY J RICHARD                     25 DONNA MARIE CIRCLE                                                                   ROCHESTER          NY 14606‐3458
RANDY J WALTERS                     PO BOX 362                                                                              SYRACUSE           NY 13211‐0362
RANDY JACKSON                       PO BOX 512                                                                              BROWNFIELD         TX 79316
RANDY JACKSON                       298 ANTOINETTE DR                                                                       ROCHESTER HILLS    MI 48309‐1112
RANDY JACKSON                       4130 CHICKORY LN                                                                        LANSING            MI 48910‐4911
RANDY JACKSON                       2059 RAMSEY RDG                                                                         HELTONVILLE        IN 47436‐8660
RANDY JACKSON                       PO BOX 741                                                                              DECATUR            AL 35602‐0741
RANDY JAHN                          PO BOX 186                                                                              LAPEER             MI 48446‐0186
RANDY JANOS                         5103 E JUDDVILLE RD                                                                     OWOSSO             MI 48867‐9673
RANDY JEANS                         3830 CRAMTON RD                                                                         METAMORA           MI 48455‐9629
RANDY JOHNSON                       91 AIRPORT RD                                                                           NOTTINGHAM         PA 19362‐9730
RANDY JOHNSON                       8328 FAWN HEATHER CT                                                                    LAS VEGAS          NV 89149‐4518
RANDY JOHNSON                       305 S ROCKINGCHAIR RD                                                                   PARAGOULD          AR 72450‐3444
RANDY JOHNSON                       10491 OVERHILL DR                                                                       BRIGHTON           MI 48114‐7579
RANDY JOHNSON
RANDY JONES
RANDY JONES                         786 CARSON SALT SPRINGS RD                                                              MINERAL RIDGE     OH   44440‐9335
RANDY JONES                         3900 BYRNWYCKE DR                                                                       BUFORD            GA   30519‐3994
RANDY JONES                         6136 ROBERTA ST                                                                         BURTON            MI   48509‐2428
RANDY JONES                         4134 O CONNOR ST                                                                        FLINT             MI   48504
RANDY JONES CHEVROLET‐OLDSMOBILE‐   1755 NW 9TH ST                                                                          CORVALLIS         OR   97330‐2142
GE
RANDY JONES CHEVROLET‐OLDSMOBILE‐   1755 NW 9TH ST                                                                          CORVALLIS         OR 97330‐2142
GEO
RANDY K FRY                         3809 WHITTIER AVE                                                                       FLINT             MI   48506‐3160
RANDY K HUGHES                      1308 CAMPHILL WAY APT 6                                                                 W CARROLLTON      OH   45449‐3146
RANDY K STEWART                     PO BOX 82                                                                               NEWTONSVILLE      OH   45158‐0082
RANDY KAATZ                         37510 PEGGY LN                                                                          RICHMOND          MI   48062‐4941
RANDY KAISER
RANDY KAMERLING                     2522 EDEN ST SW                                                                         WYOMING           MI   49519‐6828
RANDY KASHMARK                      1402 W CINNABAR AVENUE                                                                  PHOENIX           AZ   85021‐2253
RANDY KEIDEL                        11019 MESSMORE RD                                                                       UTICA             MI   48317‐4447
RANDY KELLER                        312 PENMAN AVENUE                                                                       CORTLAND          OH   44410
RANDY KELSO                         3547 US 50 E                                                                            BEDFORD           IN   47421
RANDY KESSLER                       3924 DAVISON LAKE RD                                                                    ORTONVILLE        MI   48462‐9533
RANDY KEY                           656 N CLEAR LAKE RD                                                                     WEST BRANCH       MI   48661‐9470
RANDY KILBOURNE                     1115 REMINGTON TRL                                                                      COLUMBIA          TN   38401‐9052
RANDY KIMBERLY                      PO BOX 6576                                                                             KOKOMO            IN   46904‐6576
RANDY KINCAID                       15651 COLUMBIA HWY                                                                      LYNNVILLE         TN   38472‐5211
RANDY KING                          6517 BALDWIN RD                                                                         SWARTZ CREEK      MI   48473‐9104
RANDY KINSEY                        2514 SOWELL MILL PIKE                                                                   COLUMBIA          TN   38401‐7446
RANDY KIRBY                         4007 ABOITE LAKE DR                                                                     FORT WAYNE        IN   46804‐3909
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Name                  Address1                            Address2                     Address3   Address4         City              State Zip
RANDY KIRBY           1503 COUNTY RD#120                                                                           MOULTON            AL 35650
RANDY KLAMERT         2540 SUMMER OAKS CIR                                                                         SUMMERTOWN         TN 38483‐9205
RANDY KNIEPER         7873 VICS CT                                                                                 NOBLESVILLE        IN 46062‐6578
RANDY KNOPER          7439 TYLER ST                                                                                HUDSONVILLE        MI 49426‐9519
RANDY KOHL            10322 E ML AVE                                                                               GALESBURG          MI 49053‐9642
RANDY KOLESZAR        BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
RANDY KOZAK           N499 COLDSPRING RD                                                                           WHITEWATER         WI 53190‐2838
RANDY KOZICKI         53510 SPURRY LN                                                                              CHESTERFIELD       MI 48051‐1783
RANDY KRANZ           23525 28 MILE RD                                                                             RAY                MI 48096‐3329
RANDY KRAUSE          2060 E TAYLOR ST                                                                             HUNTINGTON         IN 46750‐4001
RANDY KRAWCZYK        13301 OLD OAKS DR                                                                            FENTON             MI 48430‐9498
RANDY KRETZINGER      1895 WALNUT ST                                                                               HOLT               MI 48842‐1613
RANDY KROUT           4611 PORT WILLIAMS RD                                                                        WILLIAMS           IN 47470‐8857
RANDY KUHN            C/O BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
RANDY KUNKEL          9445 HEAD‐O‐LAKE RD.                                                                         OTTAWA LAKE        MI 49267
RANDY L BALDWIN       C/O CATHY STULL, GUARDIAN 320‐322                                                            LANSING            MI 48933
                      WEST OTTAWA
RANDY L BIERMAKER     3937 CURTIS RD                                                                               BIRCH RUN         MI   48415‐9083
RANDY L BOLES         133 SPRINGHILL DRIVE                                                                         ATTALLA           AL   35954
RANDY L BROWN         4109 SILVERTON CIR                                                                           NORMAN            OK   73072‐5136
RANDY L BURNWORTH     4302 OLD CASTLE CIR                                                                          LANSING           MI   48911‐2528
RANDY L CAMERON       11509 23 AVE SO                                                                              BURNSVILLE        MN   55337
RANDY L CHAMBERLAIN   305 ROSETTE ST                                                                               HOLLY             MI   48442‐1340
RANDY L COMBS         149 N BROWNSCHOOL RD                                                                         VANDALIA          OH   45377‐‐ 28
RANDY L CORNETT       1521 SARASOTA DR                                                                             TOLEDO            OH   43612‐4032
RANDY L COWAN         2421 BEAVERVALLEY RD APT B                                                                   FAIRBORN          OH   45324
RANDY L DORSEY        188 PARKDALE AVE                                                                             PONTIAC           MI   48340‐2550
RANDY L DOYEN         2212 N DEWITT RD                                                                             SAINT JOHNS       MI   48879‐9464
RANDY L DURECKI       1158 PANAMA AVE                                                                              MOUNT MORRIS      MI   48458‐2533
RANDY L FISHER        2801 BENT OAKS DR                                                                            BURLESON          TX   76028‐2345
RANDY L GEISEL        5611 FIREWOOD DR                                                                             ARLINGTON         TX   76016‐1128
RANDY L GONZALEZ      6587 MAYVILLE RD                                                                             MARLETTE          MI   48453‐9707
RANDY L GRUNDSTROM    610 JOHNSON ST                                                                               CHARLOTTE         MI   48813‐1927
RANDY L GUERIN        PO BOX 21                                                                                    LINWOOD           MI   48634‐0021
RANDY L HAMILTON      6044 HURON ST                                                                                TAYLOR            MI   48180‐1367
RANDY L HARDING       PO BOX 3883                                                                                  WISE              VA   24293‐3883
RANDY L HERBERT       4918 SILVER ARROW DR                                                                         DAYTON            OH   45424
RANDY L HERMAN        725 DUTCH LN LOT 18                                                                          HERMITAGE         PA   16148‐2872
RANDY L HILL          33 W CORNELL AVE                                                                             PONTIAC           MI   48340‐2717
RANDY L HULL          526 GAMEWELL DR                                                                              MIAMISBURG        OH   45342‐2786
RANDY L JAHN          PO BOX 186                                                                                   LAPEER            MI   48446‐0186
RANDY L JAYCOX        479 PRENTICE DR                                                                              SAINT PETERS      MO   63376‐4544
RANDY L JESTICE       1106 E. CENTRAL AVE                                                                          MIAMISBURG        OH   45342
RANDY L LESZCZYNSKI   31127 LYONS CIR E                                                                            WARREN            MI   48092‐1714
RANDY L MAJOR         3779 WACHTEL DR                                                                              HOLT              MI   48842‐9700
RANDY L MCCARTNEY     229 S. BEVERLY AVE.                                                                          AUSTINTOWN        OH   44515
RANDY L MCLEOD        6219 N MCKINLEY RD                                                                           FLUSHING          MI   48433‐1166
RANDY L MEAD          1023 NILES CORTLAND RD APT B                                                                 WARREN            OH   44484
RANDY L MILLER        115 MCGREGOR ST                                                                              SAGINAW           MI   48602‐1219
RANDY L MUSGROVE      1131 RED BLUFF DR                   APT B                                                    WEST CARROLLTON   OH   45449
RANDY L NORLING       818 MARQUETTE ST                                                                             BAY CITY          MI   48706‐4019
RANDY L RIDDLE        1007 COLUMBIA AVE                                                                            GROVE CITY        CA   16127
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Name                Address1                       Address2                 Address3    Address4         City                 State Zip
RANDY L ROSENBOOM   3532 MADISON AVE                                                                     ROCK RAPIDS            IA 51246
RANDY L RUDY        3511 TOBE ROBERTSON RD                                                               COLUMBIA              TN 38401‐7506
RANDY L SEALS       616 FLOODED GUM ST                                                                   ARLINGTON             TX 76002‐4587
RANDY L SESSOMS     7170 E LAKE CT                                                                       PERRYSBURG            OH 43551‐6107
RANDY L SIMES       5246 EMBASSY PLACE                                                                   DAYTON                OH 45414‐3700
RANDY L SMITH       121 S. BANK ST                                                                       CORTLAND              OH 44410
RANDY L SPIECE      8691 BIRCH DR                                                                        HALE                  MI 48739‐9229
RANDY L STEVENSON   66 OLD SR 41                                                                         PEEBLES               OH 45660
RANDY L ULEN        1605 SOUTH 123 DRIVE                                                                 AVENDALE              AZ 85323
RANDY L VANDYKE     7939 TRINITY RD                                                                      DEFIANCE              OH 43512‐8525
RANDY L WHEELER     173 DUNLOP AVE                                                                       TONAWANDA             NY 14150‐7810
RANDY L WHITE       PO BOX 195                                                                           RAYMONDVILLE          NY 13678‐0195
RANDY L WICKHAM     PO BOX 161                                                                           SPRINGFIELD           OH 45501
RANDY L WILCHER     22526 MOROCCO AVE.                                                                   PT. CHARLOTTE         FL 33952‐1933
RANDY L WILKINS     1184 DOWAGIAC AVE                                                                    MOUNT MORRIS          MI 48458‐2578
RANDY L WILKINSON   1995 TRANSIT RD                                                                      KENT                  NY 14477‐9743
RANDY LABERGE       2280 W CHIPPEWA RIVER RD                                                             MIDLAND               MI 48640‐9127
RANDY LAFLEUR       26801 JEFFERSON AVE                                                                  SAINT CLAIR SHORES    MI 48081‐2481
RANDY LANEY         RANDY LANEY                    851 OLD SAN ANTONIO RD                                DALE                  TX 78616‐3202
RANDY LANTTO        26440 OAK RIDGE CIR                                                                  EXCELSIOR             MN 55331‐7973
RANDY LARSON        2285 BUSH HILL DR                                                                    HOLT                  MI 48842‐9789
RANDY LAWHORN       3135 PUEBLO DR                                                                       LONDON                OH 43140‐8771
RANDY LEE           8662 W BLACK LN                                                                      CHEBOYGAN             MI 49721‐9430
RANDY LEMIEUX       9099 GARFIELD ST                                                                     COOPERSVILLE          MI 49404‐9750
RANDY LENTZ         15721 KRISTIN LN                                                                     RIVERVIEW             MI 48193‐8136
RANDY LESZCZYNSKI   31127 LYONS CIRVCLE E.                                                               WARREN                MI 48092
RANDY LEWIS         5445 N HENKE RD                                                                      MILTON                WI 53563‐8679
RANDY LILLY         3015 BAILEY AVE                                                                      LINCOLN PARK          MI 48146‐2535
RANDY LINDQUIST     5150 N MILFORD RD                                                                    HIGHLAND              MI 48356‐1052
RANDY LIZOTTE       10105 MCWAIN RD                                                                      GRAND BLANC           MI 48439‐2519
RANDY LOISELLE      11412 WHITAKER RD                                                                    FENTON                MI 48430‐9008
RANDY LONG          891 KNODT RD                                                                         ESSEXVILLE            MI 48732‐9740
RANDY LOOSER        1916 SAVOY DR APT 103                                                                ARLINGTON             TX 76006‐6832
RANDY LOTT          2705 ASH ST                                                                          CARLETON              MI 48117‐9167
RANDY LOWDER        623 RILEY RD                                                                         NEW CASTLE            IN 47362‐1612
RANDY LOY           PO BOX 104                                                                           BRYANT                IN 47326‐0104
RANDY LUEK          1900 FOSTER AVE                                                                      JANESVILLE            WI 53545‐0813
RANDY LUND          11946 W SPRING VALLEY CORS                                                           JANESVILLE            WI 53548‐9269
RANDY M COOMER      775 BROWNING AVE                                                                     ENGLEWOOD             OH 45322‐2032
RANDY M CURRIDEN    18 MEGHANS WAY                                                                       PENNSVILLE            NJ 08070‐9653
RANDY M DAVIS       PO BOX 725                                                                           HELOTES               TX 78023‐0725
RANDY M HRYWNAK     40 GREENLAWN                                                                         ROCHESTER             NY 14622‐2342
RANDY M SCOTT       401 S BARKER AVE                                                                     EL RENO               OK 73036‐3703
RANDY M SIMPATICO   113 MATILDA ST                                                                       ROCHESTER             NY 14606‐5556
RANDY MAAG          21520 ROAD O                                                                         CLOVERDALE            OH 45827‐9300
RANDY MAC LACHLAN   4506 ELIZABETH ST                                                                    WAYNE                 MI 48184‐2156
RANDY MACDONALD     874 REGONDA DR                                                                       DEFIANCE              OH 43512‐4015
RANDY MAJOR         3779 WACHTEL DR                                                                      HOLT                  MI 48842‐9700
RANDY MALZAHN       325 E GARRISON RD                                                                    OWOSSO                MI 48867‐9760
RANDY MANN          4531 LACLEDE ST                                                                      INDIANAPOLIS          IN 46221‐3224
RANDY MANN          3214 AMHERST AVE                                                                     COLLINSVILLE           IL 62234‐1604
RANDY MANUELLA      2817 PARK LN                                                                         SANDUSKY              OH 44870‐5962
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Name                              Address1                          Address2                     Address3   Address4             City           State Zip
RANDY MARION CHEVROLET‐PONTIAC‐   220 W PLAZA DR                                                                                 MOORESVILLE     NC 28117‐6820
BUIC
RANDY MARION CHEVROLET‐PONTIAC‐   RANDALL MARION                    220 W PLAZA DR                                               MOORESVILLE    NC 28117‐6820
BUICK, LLC
RANDY MARION CHEVROLET‐PONTIAC‐   220 W PLAZA DR                                                                                 MOORESVILLE    NC 28117‐6820
BUICK, LLC
RANDY MARION PONTIAC BUICK GMC    13701 STATESVILLE RD                                                                           HUNTERSVILLE   NC 28078‐9038
TRUC
RANDY MARION PONTIAC BUICK GMC    RANDALL MARION                    13701 STATESVILLE RD                                         HUNTERSVILLE   NC 28078‐9038
TRUCK
RANDY MARION PONTIAC BUICK GMC    RANDALL MARION                    13701 STATESVILLE RD                                         HUNTERSVILLE   NC 28078‐9038
TRUCK, LLC
RANDY MARION PONTIAC BUICK GMC    13701 STATESVILLE RD                                                                           HUNTERSVILLE   NC 28078‐9038
TRUCK, LLC
RANDY MARKLEVITZ                  416 131ST AVE                                                                                  WAYLAND        MI 49348‐9522
RANDY MARTALOCK                   7016 E RYAN RD                                                                                 MILTON         WI 53563‐9705
RANDY MASLOVICH                   4511 GAPAM CRT                                                            WINDSOR ON N9G‐2W5
                                                                                                            CANADA
RANDY MASON                       34501 W HIGHWAY 66                                                                             BRISTOW        OK   74010‐2387
RANDY MASTAKO                     24690 NOTTINGHAM DR                                                                            NOVI           MI   48374‐2756
RANDY MATHESON                    4373 E BRISTOL RD                                                                              BURTON         MI   48519‐1407
RANDY MATHEWS                     PO BOX 134                                                                                     CASSTOWN       OH   45312‐0134
RANDY MATTHEWS                    114 WILSON AVE                                                                                 RISING SUN     MD   21911‐2147
RANDY MATZKE                      589 S FAWN AVE                                                                                 GRAND MARSH    WI   53936‐9765
RANDY MAULDIN                     823 W HARWOOD RD APT B                                                                         HURST          TX   76054‐3290
RANDY MAULDIN                     6116 SHEPHARD RD                                                                               BROWN CITY     MI   48416‐8720
RANDY MAY                         PO BOX 76                                                                                      CURRAN         MI   48728‐0076
RANDY MAYFIELD                    11501 SPICER DR                                                                                PLYMOUTH       MI   48170‐4358
RANDY MC CANN                     1826 N VERNON ST                                                                               DEARBORN       MI   48128‐2505
RANDY MC CANTS                    3815 EAMES CIR                                                                                 SHREVEPORT     LA   71119‐6912
RANDY MC KIBBIN                   1965 LAUREL OAK DR                                                                             FLINT          MI   48507‐6038
RANDY MCCLUNG                     132 CRESENT DR                                                                                 PORTLAND       MI   48875‐1701
RANDY MCCOY                       14691 POWER DAM ROAD                                                                           DEFIANCE       OH   43512‐8816
RANDY MCDOWELL                    5188 E VIENNA RD                                                                               CLIO           MI   48420‐9726
RANDY MCGEACHY                    168 APOLLO CIR                                                                                 FLUSHING       MI   48433‐9321
RANDY MCGILLIS                    15220 ARROWHEAD DR                                                                             CHESANING      MI   48616‐9622
RANDY MCLEOD                      6219 N MCKINLEY RD                                                                             FLUSHING       MI   48433‐1166
RANDY MCNEW                       9481 MCAFEE RD                                                                                 MONTROSE       MI   48457‐9123
RANDY MEAD                        1023 NILES CORTLAND RD SE APT B                                                                WARREN         OH   44484‐2556
RANDY MEADOWS                     49 VINEWOOD CT                                                                                 PONTIAC        MI   48341‐1572
RANDY MEDINA                      5809 SCHAFER RD                                                                                LANSING        MI   48911‐4900
RANDY MEDLEY                      1916 NICOLET ST                                                                                JANESVILLE     WI   53546‐5760
RANDY MEEKER                      4510 W ELKTON RD                                                                               HAMILTON       OH   45011‐8814
RANDY MELANSON                    150 AL DON DR                                                                                  PINCKNEY       MI   48169‐9169
RANDY MERCER                      20458 PINE LAKE RD                                                                             BATTLE CREEK   MI   49014‐8114
RANDY MICHAELIS                   206 LEONARD ST                                                                                 CHESANING      MI   48616‐1424
RANDY MIDCAP                      BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS     OH   44236
RANDY MIELENS                     1177 S KNIGHT RD                                                                               MUNGER         MI   48747‐9782
RANDY MILES                       8063 ROOSEVELT ST                                                                              TAYLOR         MI   48180‐2489
RANDY MILLER                      PO BOX 982                                                                                     FENTON         MI   48430‐0982
RANDY MILLER                      923 DOWNS STREET                                                                               DEFIANCE       OH   43512‐2903
RANDY MILLER                      102 SECRETARIAT CT                                                                             BEAR           DE   19701‐3317
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Name                Address1                        Address2            Address3         Address4         City              State Zip
RANDY MILLER        537 ELM RD                                                                            MT OLIVE           MS 39119‐5047
RANDY MILTON        1128 W HAPPY HOLLOW RD                                                                JANESVILLE         WI 53546‐9028
RANDY MINARDI       95 BEEKMAN AVE APT. 238 S                                                             SLEEPY HOLLOW      NY 10591
RANDY MIXON         213 GILBERT AVE                                                                       FAIRBORN           OH 45324‐3310
RANDY MOORE         7158 S HEMLOCK LN                                                                     MOUNT MORRIS       MI 48458‐9486
RANDY MOORE         4560 BELLE RIVER RD                                                                   ATTICA             MI 48412‐9724
RANDY MOORE         4151 LEVALLEY RD                                                                      COLUMBIAVILLE      MI 48421‐9311
RANDY MOORE         5108 N WEIR DR                                                                        MUNCIE             IN 47304‐6138
RANDY MOORE
RANDY MOOREHEAD     8518 SLABSTONE CT               CORNERSTONE PK                                        RALEIGH           NC   27613‐7485
RANDY MORGAN        PO BOX 5094                                                                           NORMAN            OK   73070‐5094
RANDY MORRICE       14787 S MERRILL RD                                                                    ELSIE             MI   48831‐9227
RANDY MOSS          6417 YEATMAN LN                                                                       COLUMBIA          TN   38401‐7931
RANDY MOYER SR      3140 COUNTY ROAD 4                                                                    SWANTON           OH   43558‐9734
RANDY MURRAY        10669 E SPENCER RD                                                                    CRYSTAL           MI   48818‐9751
RANDY MUSGROVE      1131 REDBLUFF DR APT B                                                                WEST CARROLLTON   OH   45449‐3186
RANDY N BLIESENER   5716 RICHWOOD ST APT 113                                                              LANSING           MI   48911‐5238
RANDY NECESSARY     149 FM 382                                                                            OVALO             TX   79541‐2901
RANDY NEERING       4044 HUNTER RD                                                                        PINCONNING        MI   48650‐9732
RANDY NELSON        46 REBECCA PARK                                                                       BUFFALO           NY   14207‐1838
RANDY NELSON        8543 GILMOUR LN                                                                       FREELAND          MI   48623‐9045
RANDY NEWELL        4026 N BELSAY RD                                                                      FLINT             MI   48506‐1632
RANDY NICHOLS       7913 E COUNTY ROAD 400 S                                                              COATESVILLE       IN   46121‐9676
RANDY NILES         7224 S DUFFIELD RD                                                                    DURAND            MI   48429‐9303
RANDY NORLING       818 MARQUETTE ST                                                                      BAY CITY          MI   48706‐4019
RANDY NUNN          1015 RAIBLE AVE                                                                       ANDERSON          IN   46011‐2538
RANDY O JONES       4134 O CONNOR ST                                                                      FLINT             MI   48504
RANDY O'BRIEN       3547 E GRESHAM HWY                                                                    POTTERVILLE       MI   48876‐9753
RANDY O'DELL        9629 FERNWOOD DR APT J214                                                             OLMSTED FALLS     OH   44138‐2680
RANDY OHMAN         7945 SHERIDAN RD                                                                      MILLINGTON        MI   48746‐9619
RANDY OLIVER        1092 CLIFF WHITE RD                                                                   COLUMBIA          TN   38401‐6759
RANDY OLIVER        38 WESTBROOK DR                                                                       O FALLON          MO   63366‐2453
RANDY OSTRANDER     1246 TREMONT AVE                                                                      FLINT             MI   48505
RANDY OWINGS        631 NORTH LANCELOT DRIVE                                                              MARION            IN   46952‐2461
RANDY OZANICH       2325 BENNETT AVE                                                                      FLINT             MI   48506‐3656
RANDY P HOLDER      33 BRADSTREET RD APT 11                                                               DAYTON            OH   45459
RANDY P JACKSON     PO BOX 741                                                                            DECATUR           AL   35602‐0741
RANDY P MEDLEY      1916 NICOLET ST                                                                       JANESVILLE        WI   53546‐5760
RANDY P RAY         6035 S TRANSIT RD LOT 305                                                             LOCKPORT          NY   14094‐6326
RANDY PADFIELD      617 KINGS LYNN RD                                                                     STOUGHTON         WI   53589‐4838
RANDY PAGE          3542 PERCY KING RD                                                                    WATERFORD         MI   48329‐1357
RANDY PALMER        9915 REESE RD                                                                         CLARKSTON         MI   48348‐1855
RANDY PALMIERI      2635 TOURNAMENT DR                                                                    GREENWOOD         IN   46143‐9595
RANDY PARHAM        1422 DEVONSHIRE COUNTY DR                                                             WENTZVILLE        MO   63385‐4355
RANDY PARK          8150 BERGIN RD                                                                        HOWELL            MI   48843‐9052
RANDY PARKHURST     14124 W LANG RD                                                                       ORFORDVILLE       WI   53576‐9774
RANDY PATRAW        109 LARUE RD                                                                          MASSENA           NY   13662‐3368
RANDY PATSY         1903 SENECA STREET                                                                    LEAVENWORTH       KS   66048‐1621
RANDY PAUL          204 W MULBERRY ST                                                                     SOUTH WHITLEY     IN   46787‐1232
RANDY PEAKE         9206 CHARLOTTE HWY                                                                    PORTLAND          MI   48875‐8416
RANDY PEBWORTH      4506 YORK ST                                                                          WICHITA FALLS     TX   76309‐4030
RANDY PERNOD        814 FAIRMOUNT AVE                                                                     FAIRMOUNT         IN   46928‐2111
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Name                                Address1                       Address2                     Address3   Address4         City            State Zip
RANDY PERRY                         931 NETTIE ST                                                                           NATCHITOCHES     LA 71457‐5225
RANDY PETTY                         133 SADIES RIDGE CT                                                                     HAMPTON          GA 30228‐3055
RANDY PHELPS                        9417 SE 174TH LOOP                                                                      SUMMERFIELD      FL 34491‐6465
RANDY PHILPOT                       7303 HERITAGE OAKS CT                                                                   ARLINGTON        TX 76001‐7078
RANDY PHIPPS                        3700 BRADDOCK ST                                                                        KETTERING        OH 45420
RANDY PICKENS                       920 CO. RD. #20                                                                         MOUNT HOPE       AL 35651
RANDY PIFER                         8970 NASHVILLE HWY                                                                      VERMONTVILLE     MI 49096‐9539
RANDY PLUTKO                        27190 CAROL LN                                                                          NEW BOSTON       MI 48164‐9636
RANDY POLLOW                        5679 S TRANSIT RD                                                                       LOCKPORT         NY 14094‐5842
RANDY POOLE                         4154 CALDERWOOD DR                                                                      SHREVEPORT       LA 71119‐7622
RANDY POTTER                        8172 CORRISON RD                                                                        GRAND LEDGE      MI 48837‐9216
RANDY POTTER                        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
RANDY POWELL                        265 SUMMERFIELD LN                                                                      LEBANON          OH 45036‐1152
RANDY PRATT                         725 OKEMOS RD                                                                           MASON            MI 48854‐9333
RANDY PRETHER                       11188 W ISLAND RD                                                                       FOWLER           MI 48835‐9726
RANDY PREVOST                       7362 GRANDWOOD DR                                                                       SWARTZ CREEK     MI 48473‐9416
RANDY PROCKISH                      12687 E 42ND PL                                                                         YUMA             AZ 85367‐4700
RANDY PUNG                          10803 E IONIA ST                                                                        FOWLER           MI 48835‐9795
RANDY PURDY                         10487 E MAPLE AVE                                                                       DAVISON          MI 48423‐8793
RANDY QUACKENBUSH                   613 H ST                                                                                BEDFORD          IN 47421‐2329
RANDY QUIMBY                        2372 9 MILE RD NW                                                                       GRAND RAPIDS     MI 49544‐9729
RANDY R ADKINS                      7750 STOCKHOLM DR                                                                       DAYTON           OH 45424
RANDY R AMBURGEY                    611 PAT RD                                                                              LEESBURG         FL 34748
RANDY R BARES                       215 W 6TH ST                                                                            TILTON            IL 61833‐7801
RANDY R GADWAY                      1540 BISCAYNE DR                                                                        TOLEDO           OH 43612‐4003
RANDY R KUBILIUS                    1646 GARWOOD DR                                                                         DAYTON           OH 45432
RANDY R NELSON                      46 REBECCA PARK                                                                         BUFFALO          NY 14207‐1838
RANDY R POWELL                      265 SUMMER FIELD LN                                                                     LEBANON          OH 45036‐1152
RANDY R REHMERT                     342 LAWSON AVE                                                                          NEW LEBANON      OH 45345‐1443
RANDY R SNYDER                      8638 OAKES RD                                                                           ARCANUM          OH 45304
RANDY RANDALL                       7501 APOLLO DR                                                                          JOSHUA           TX 76058‐4329
RANDY RANDALL                       1500 DUCK CREEK LN                                                                      ORTONVILLE       MI 48462‐9097
RANDY RANDOL                        7054 E ATHERTON RD                                                                      DAVISON          MI 48423‐2402
RANDY RASE                          1419 11 MILE RD                                                                         AUBURN           MI 48611‐9729
RANDY RATZLAFF                      10782 SPARKLING WATERS CT                                                               SOUTH LYON       MI 48178‐9297
RANDY RAY                           6035 S TRANSIT RD LOT 305                                                               LOCKPORT         NY 14094‐6326
RANDY RAYL                          2237 NOBLE AVE                                                                          FLINT            MI 48532‐3917
RANDY REAGAN                        3595 W EDGAR RD                                                                         SIX LAKES        MI 48886‐9764
RANDY REED                          1138 SUMMIT PLACE                                                                       BIRMINGHAM       AL 35243‐3121
RANDY REED CHEVROLET, LLC           3921 FREDERICK AVE                                                                      SAINT JOSEPH     MO 64506‐3022
RANDY REED CHEVROLET, LLC           RANDALL REED                   3921 FREDERICK AVE                                       SAINT JOSEPH     MO 64506‐3022
RANDY REED PONTIAC‐BUICK‐GMC TRUCK, 9550 NW PRAIRIE VIEW RD                                                                 KANSAS CITY      MO 64153‐1815

RANDY REED PONTIAC‐BUICK‐GMC TRUCK, RANDALL REED                   9550 NW PRAIRIE VIEW RD                                  KANSAS CITY     MO 64153‐1816
INC.
RANDY REED PONTIAC‐BUICK‐GMC TRUCK, 10 NW BARRY RD                                                                          KANSAS CITY     MO 64155‐2729
INC.
RANDY REHMERT                       342 LAWSON AVE                                                                          NEW LEBANON     OH   45345‐1443
RANDY REIFFER                       242 LEE BARRON LOOP                                                                     HOT SPRINGS     AR   71913‐5852
RANDY REINHARDT                     21400 LAKEFIELD RD                                                                      MERRILL         MI   48637‐9723
RANDY REINKE                        1016 CHESANING ST                                                                       SAINT CHARLES   MI   48655‐1806
RANDY REITZEL                       15008 VICTORIA CT                                                                       SHELBY TWP      MI   48315‐4457
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Name                        Address1                       Address2                   Address3          Address4         City               State Zip
RANDY RENNPAGE
RANDY REVARD                APT 222                        7903 ELM AVENUE                                               RCH CUCAMONGA      CA    91730‐6849
RANDY REYNOLDS              2405 SPICE VALLEY RD                                                                         MITCHELL           IN    47446‐5368
RANDY REZLER                4790 W WESTGATE DR                                                                           BAY CITY           MI    48706‐2634
RANDY RICHARD               10118 BATH RD                                                                                LAINGSBURG         MI    48848‐9324
RANDY RICHARDS              250 DOVER CT                                                                                 DIMONDALE          MI    48821‐9776
RANDY RICHARDSON            4272 E CARPENTER RD                                                                          FLINT              MI    48506‐1038
RANDY RICKMAN               1815 THETA PIKE                                                                              COLUMBIA           TN    38401‐1310
RANDY RIDENOUR              616 S ELIZABETH ST                                                                           LIMA               OH    45804‐1216
RANDY RINNAS                751 NORCHESTER ST                                                                            SOUTH LYON         MI    48178‐1241
RANDY ROBINSON              1118 COUNTY ROAD 2022                                                                        GLEN ROSE          TX    76043‐6197
RANDY ROBINSON              2516 RUSHBROOK DR                                                                            FLUSHING           MI    48433‐2564
RANDY ROBINSON              3255 QUICK RD                                                                                HOLLY              MI    48442‐1061
RANDY ROBINSON              42301 HANFORD RD                                                                             CANTON             MI    48187‐3521
RANDY ROBINSON              1125 EMERSON DR                                                                              BURLESON           TX    76028‐7105
RANDY RODGERS               11491 WING DR                                                                                CLIO               MI    48420‐1528
RANDY RODGERS               4002 JACQUE ST                                                                               FLINT              MI    48532‐3842
RANDY ROGERS                5910 MUNGER RD                                                                               DAYTON             OH    45459‐1142
RANDY ROLISON               1283 PLYMOUTH PL                                                                             DAYTONA BEACH      FL    32119‐1570
RANDY ROPER MOTORS, LLC     RANDY ROPER                    808 ILLINOIS AVE                                              JOPLIN             MO    64801‐5006
RANDY RUDY                  3511 TOBE ROBERTSON RD                                                                       COLUMBIA           TN    38401‐7506
RANDY RUIZ                  7645 TRENTON TRAIL                                                                           CLEVELAND          OH    44130‐6821
RANDY RUSSELL CHRISTENSEN   C/O NIX PATTERSON & ROACH LP   GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD       TX    75638
RANDY RYLEE                 PO BOX 126                                                                                   HOMER              GA    30547‐0126
RANDY S BAYN                6106 NEW PARIS WAY                                                                           ELLENTON           FL    34222‐7261
RANDY S CANTRELL            1385 MAPLEGROVE DRIVE                                                                        FAIRBORN           OH    45324‐3543
RANDY S DENNY               925 WEINLAND DRIVE                                                                           NEW CARLISLE       OH    45344‐2650
RANDY S FRANK               6226 CARNATION RD                                                                            W CARROLLTON       OH    45449
RANDY S FURCO               210 MOHAWK DR                                                                                SYRACUSE           NY    13211‐1834
RANDY S HOPPER              27844 MORAN ST                                                                               SELFRIDGE ANGB     MI    48045‐2931
RANDY S PADGETT SR          1510 DAYTONA DR                                                                              TOLEDO             OH    43612‐4016
RANDY S TINKLENBERG         669 LAKE ST                                                                                  KALAMAZOO          MI    49001‐2943
RANDY SAINT                 158 COUNTY ROAD 1240                                                                         VINEMONT           AL    35179‐8485
RANDY SANDERSON             PO BOX 129                                                                                   NIOTA              TN    37826‐0129
RANDY SANDULA               3464 NEEDHAM RD                                                                              LEXINGTON          OH    44904
RANDY SANDUSKY              15656 POPLAR ST                                                                              SOUTHGATE          MI    48195‐3808
RANDY SARGESON              3367 GRANDE CTST                                                                             BAY CITY           MI    48706
RANDY SAVAGE                2401 PEACH BLOSSOM CT                                                                        BEDFORD            TX    76021‐7234
RANDY SCHATZ                1471 BONHAM PKWY                                                                             LANTANA            TX    76226‐6435
RANDY SCHELLING             112 ANN LN                                                                                   STONEWALL          LA    71078‐9639
RANDY SCHLIEWE              25715 NORFOLK ST                                                                             DEARBORN HEIGHTS   MI    48125‐1128
RANDY SCHMIDT               4129 WINTERFIELD RUN                                                                         FORT WAYNE         IN    46804‐2668
RANDY SCHMIDT               2537 LOOMIS RD                                                                               SAINT JOHNS        MI    48879‐9204
RANDY SCHNEIDER             13105 N LINDEN RD                                                                            CLIO               MI    48420‐8233
RANDY SCHNELL               3805 COLUMBUS AVE                                                                            SANDUSKY           OH    44870‐5722
RANDY SCHROEDER             2405 ELVA DR                                                                                 KOKOMO             IN    46902‐2935
RANDY SCHUMACHER            6296 TIMBERLYNE WAY                                                                          MACHESNEY PK       IL    61115‐7651
RANDY SCOTT                 7240 E COUNTY ROAD 1000 S                                                                    CLOVERDALE         IN    46120‐9039
RANDY SCOTT                 401 S BARKER AVE                                                                             EL RENO            OK    73036‐3703
RANDY SCOTT                 411 GREENLER RD                                                                              DEFIANCE           OH    43512‐9078
RANDY SCUTCHFIELD           10130 MOUNT HOPE RD                                                                          MUNITH             MI    49259‐9659
RANDY SEALE                 2099 W MOUNT MORRIS RD                                                                       MOUNT MORRIS       MI    48458‐8239
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Name               Address1                        Address2                     Address3   Address4         City                State Zip
RANDY SEAMANS
RANDY SELLERS      801 CAROM CIR                                                                            MASON               MI    48854‐9376
RANDY SERFASS      134 SPENCER CIR                                                                          FOREST HILL         MD    21050‐3190
RANDY SERR         10363 BISHOP HWY                                                                         DIMONDALE           MI    48821‐8736
RANDY SESSOMS      7170 E LAKE CT                                                                           PERRYSBURG          OH    43551‐6107
RANDY SHANCE       300 NORTH EATON BOX 677                                                                  NASHVILLE           MI    49073
RANDY SHATTUCK     2446 LANSING RD                                                                          CHARLOTTE           MI    48813‐8407
RANDY SHERWOOD     1484 S AINGER RD                                                                         CHARLOTTE           MI    48813‐9540
RANDY SHIFFER      504 W HOWE AVE                                                                           LANSING             MI    48906‐3043
RANDY SHIPP        6712 VILLA RICA HWY                                                                      DALLAS              GA    30157‐6901
RANDY SHUEY        6184 SCHOOLHOUSE RD.                                                                     ELIZABETHTOWN       PA    17022
RANDY SHUMAKER     5086 BATTLE CREEK RD                                                                     OLIVET              MI    49076‐9662
RANDY SIMON        11918 CLINTON ST                                                                         ALDEN               NY    14004‐9470
RANDY SIPE         5900 N COUNTY ROAD 750 W                                                                 MUNCIE              IN    47304‐9698
RANDY SKELLEN      4037 DANIELS RD                                                                          RANSOMVILLE         NY    14131‐9416
RANDY SLICK        PO BOX 352                                                                               MERRILL             MI    48637‐0352
RANDY SLUJA        5866 PENNY FARM DR SE                                                                    KENTWOOD            MI    49508‐6494
RANDY SMITH        RR 2 BOX 281B                                                                            MEEKER              OK    74855‐9671
RANDY SMITH        319 N SHIAWASSEE ST                                                                      DURAND              MI    48429‐1248
RANDY SMITH        6465 HARWOOD RD                                                                          IONIA               MI    48846‐9448
RANDY SMITH        1401 FRIENDSHIP RD                                                                       SOMERVILLE          AL    35670‐3740
RANDY SMITH        PO BOX 891                                                                               ARDMORE             TN    38449‐0891
RANDY SMITH        734 BETNER DR                                                                            MANSFIELD           OH    44907‐2708
RANDY SMITH        24670 HOPKINS ST                                                                         DEARBORN HTS        MI    48125‐1619
RANDY SMITH        4107 CHURCH ST                                                                           MONROE              LA    71203‐5707
RANDY SNEED        PO BOX 351                                                                               THOMPSONS STATION   TN    37179‐0351
RANDY SNEED        PO BOX 393                                                                               SPRING HILL         TN    37174‐0393
RANDY SNYDER       8638 OAKES RD                                                                            ARCANUM             OH    45304‐9610
RANDY SPIECE       8691 BIRCH DR                                                                            HALE                MI    48739‐9229
RANDY STANTON      9209 COUNTY ROAD 519                                                                     ALVARADO            TX    76009‐8542
RANDY STCHARLES    37562 DALE DR                                                                            NEW BOSTON          MI    48164‐9047
RANDY STEVENS      361 COPE DR                                                                              SHREVEPORT          LA    71106‐8247
RANDY STEWART      PO BOX 82                                                                                NEWTONSVILLE        OH    45158‐0082
RANDY STOCKFORD    726 PARK AVE                                                                             SOUTH MILWAUKEE     WI    53172‐1328
RANDY STROUSE      4450 S SHEPARDSVILLE RD                                                                  SAINT JOHNS         MI    48879‐8126
RANDY STURGILL     4151 CHARTER OAK DR                                                                      FLINT               MI    48507‐5551
RANDY STURK        6690 WESTMINISTER ST                                                                     FENTON              MI    48430‐9022
RANDY SUGG         735 3RD ST                                                                               FENTON              MI    48430‐4120
RANDY SUTTON       28910 E KING WILLIAM DR                                                                  FARMINGTON HILLS    MI    48331‐2578
RANDY SYMCHYCH     2890 ROUNDTREE DR                                                                        TROY                MI    48083‐2344
RANDY T HALPENNY   8071 RT 258                                                                              MT MORRIS           NY    14510‐9563
RANDY T HATFIELD   LOT 49 DAKIN COURT                                                                       ORGENIA             OH    45054
RANDY T ZACHERY    4551 NEVADA AVE                                                                          DAYTON              OH    45416
RANDY TABER        1140 S RIVER RD                                                                          BEAVERTON           MI    48612‐9414
RANDY TAKACS       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS      OH    44236
RANDY TALBOT       1073 BROOKSIDE DR                                                                        GRAND LEDGE         MI    48837‐1372
RANDY TAYLOR       108 HIGHLAND RIM DR                                                                      COLUMBIA            TN    38401‐6121
RANDY TAYLOR       10721 STATE ROUTE 104                                                                    LOCKBOURNE          OH    43137‐9644
RANDY TEFTELLER    612 W 400 N                                                                              SHARPSVILLE         IN    46068‐9085
RANDY TERRIAN      2025 CHESTNUT RDG                                                                        SAGINAW             MI    48609‐9330
RANDY THAYER       10875 RIVERSIDE DR                                                                       DIMONDALE           MI    48821‐9745
RANDY THELEN       1301 TIMBERCREEK DR                                                                      GRAND LEDGE         MI    48837‐2322
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Name                   Address1                        Address2           Address3         Address4         City                State Zip
RANDY THOMAS           709 E HIGH ST                                                                        EATON                OH 45320‐1900
RANDY THOMAS           5404 RUFFEL GROUSE DR                                                                SHELBYVILLE          MI 49344‐9464
RANDY THOMPSON         8831 BUCHANAN HWY                                                                    DALLAS               GA 30157‐7802
RANDY THORNTON         PO BOX 498                                                                           FLINT                MI 48501‐0498
RANDY THORPE           51 S 8TH AVE                                                                         BEECH GROVE          IN 46107‐1822
RANDY TILLMAN          4905 ARROWHEAD DR                                                                    KETTERING            OH 45440
RANDY TINKLENBERG      669 LAKE ST                                                                          KALAMAZOO            MI 49001‐2943
RANDY TOMPKINS         10211 W HAZELWOOD AVE                                                                PHOENIX              AZ 85037‐5219
RANDY TOMPKINS         153 BRANDUS DRIVE                                                                    HAYESVILLE           NC 28904‐4645
RANDY TONG             6021 SE 85TH ST                                                                      OKLAHOMA CITY        OK 73135‐6012
RANDY TRAGER           1820 RUBY AVE                                                                        ROCHESTER HLS        MI 48309‐4228
RANDY TRAUB            2966 W HOUGHTON LAKE RD                                                              LAKE CITY            MI 49651‐8413
RANDY TRAYER           3663 W PRATT RD                                                                      DEWITT               MI 48820‐8029
RANDY TUNKS            9102 E RYE DR                                                                        CLINTON              WI 53525‐8787
RANDY TUPPER           10255 CHADWICK RD                                                                    LAINGSBURG           MI 48848‐9452
RANDY TURNER           1207 MARTIN DR                                                                       ANDERSON             IN 46012‐4156
RANDY TURVEY           1068 ARROWHEAD DR                                                                    BURTON               MI 48509‐1420
RANDY TUTTLE           140 SW 77TH AVE                                                                      OCALA                FL 34474‐1656
RANDY V FILION         18430 186TH PL NE                                                                    WOODINVILLE          WA 98072
RANDY V TAULBEE        4059 MARIANNE DR                                                                     DAYTON               OH 45404‐1361
RANDY VALENTI          43129 CHAUCER CT                                                                     STERLING HTS         MI 48313‐1830
RANDY VAN ASSCHE       53159 FREDA DR                                                                       MACOMB               MI 48042‐2830
RANDY VAN STEENBURGH   6178 MEREDITH GRADE RD                                                               HARRISON             MI 48625‐9665
RANDY VANCE            10634 BARAGA ST                                                                      TAYLOR               MI 48180‐3758
RANDY VANHOOK SR       3285 JANES AVE                                                                       SAGINAW              MI 48601‐6359
RANDY VANPETTEN        8404 TWIN LAKE RD NE                                                                 MANCELONA            MI 49659‐8832
RANDY VANVEELEN        4507 REID RD                                                                         SWARTZ CREEK         MI 48473‐8859
RANDY VANWORMER        1066 E HARVARD AVE                                                                   FLINT                MI 48505‐1508
RANDY VINCENT          220 ALLISON DR                                                                       PULASKI              TN 38478
RANDY VINING           1431 GLENROSE AVE                                                                    LANSING              MI 48915‐2203
RANDY VOELKER          3519 RIVERVIEW DR                                                                    SAGINAW              MI 48601‐9311
RANDY VOHWINKLE        12140 SEYMOUR RD                                                                     MONTROSE             MI 48457‐9783
RANDY VOLLETT          2812 HUNTINGTON PARK DR                                                              WATERFORD            MI 48329‐4525
RANDY W BAILEY         530 PERKINSWOOD BLVD NE                                                              WARREN               OH 44483‐4408
RANDY W BISSELL        PO BOX 1852                                                                          ROYAL OAK            MI 48068‐1852
RANDY W BISSELL        2939 CROOKS RD                                                                       ROYAL OAK            MI 48073
RANDY W BOVEE          24 BUNNY RUN                                                                         CHURCHVILLE          NY 14428‐9770
RANDY W CARPENTER      2333 RANDY DR                                                                        KETTERING            OH 45440
RANDY W COLLINS        663 BOWSER DR                                                                        NEW CARLISLE         OH 45344
RANDY W COOPER         71745 FAIRPOINT NEW ATHENS RD                                                        SAINT CLAIRSVILLE    OH 43950
RANDY W COTTERMAN      6801 PABLO DR                                                                        HUBER HEIGHTS        OH 45424
RANDY W FRY            5176 PANTHER TRL                                                                     CHIPLEY              FL 32428‐3488
RANDY W MIXON JR       4409 LESHER DR                                                                       DAYTON               OH 45429
RANDY W PERRY          1901 N JONES BLVD APT 1009                                                           LAS VEGAS            NV 89108
RANDY W PHILLIPS       2816 BRANDON AVENUE                                                                  DAYTON               OH 45414‐4806
RANDY W POWELL         4894 THOREAU AVE                                                                     HUBER HEIGHTS        OH 45424
RANDY W THORPE         51 S 8TH AVE                                                                         BEECH GROVE          IN 46107‐1822
RANDY WACHNER          2079 RINGLE RD                                                                       VASSAR               MI 48768‐9729
RANDY WADE
RANDY WAGG             9244 MIDVALE DR                                                                      SHREVEPORT          LA 71118‐3442
RANDY WAHL             2776 THE HTS                                                                         NEWFANE             NY 14108‐1216
RANDY WAITE            6127 DUFFIELD RD                                                                     SWARTZ CREEK        MI 48473‐8515
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Name                                 Address1                       Address2                     Address3             Address4           City             State Zip
RANDY WALDRUP                        2127 CENTENNIAL LN                                                                                  ANN ARBOR         MI 48103‐9602
RANDY WALKER                         PO BOX 1032                                                                                         SPRING HILL       TN 37174‐1032
RANDY WALKER                         4312 FAIRWOOD DR                                                                                    BURTON            MI 48529‐1914
RANDY WALLACE                        3211 PREAKNESS WAY                                                                                  LANSING           MI 48906‐9094
RANDY WALTERS                        KIMMEL & SILVERMAN PC          30 E BUTLER AVE                                                      AMBLER            PA 19002
RANDY WANG                           275 S REED ST                                                                                       ASHLEY            MI 48806‐9332
RANDY WASHBURN                       6173 ROSEWOOD PKWY                                                                                  WHITE LAKE        MI 48383‐2791
RANDY WATKINS                        11473 CROSBY RD                                                                                     FENTON            MI 48430‐8924
RANDY WATSON                         6130 DRY CREEK RUN                                                                                  TERRELL           TX 75160‐0106
RANDY WAYNE BRONKHORST               NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                         DAINGERFIELD      TX 75638
RANDY WAYNE HODGE                    ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON         IL 62024
                                                                    ANGELIDES & BARNERD LLC
RANDY WEAKS                          PO BOX 771                                                                                          DEFIANCE         OH   43512‐0771
RANDY WEBB                           5889 CORNELL ST                                                                                     TAYLOR           MI   48180‐1246
RANDY WEGENER                        14030 APPLE DR                                                                                      FRUITPORT        MI   49415‐9508
RANDY WEGERSKI                       1883 MOUNT HOPE RD                                                                                  LEWISTON         NY   14092‐9761
RANDY WELBORN                        1363 CO RD#188                                                                                      MOULTON          AL   35650
RANDY WELCH                          3923 THORNBURY PL                                                                                   FORT WAYNE       IN   46804‐2643
RANDY WELCH                          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                           BOSTON HEIGHTS   OH   44236
RANDY WELCH                          5123 INLAND ST                                                                                      FLINT            MI   48505‐1706
RANDY WENZLICK                       6338 BLUEJAY DR                                                                                     FLINT            MI   48506‐1761
RANDY WERNER                         999 E BLACKMORE RD                                                                                  MAYVILLE         MI   48744‐8613
RANDY WEST                           10942 E GREENWAY RD                                                                                 SCOTTSDALE       AZ   85255‐1824
RANDY WHEELER                        2504 MISTY LN                                                                                       DAVISON          MI   48423‐8368
RANDY WHITAKER                       691 S BARRY RD                                                                                      ITHACA           MI   48847‐9403
RANDY WHITAKER                       9548 E POLK RD                                                                                      WHEELER          MI   48662‐9503
RANDY WHITE                          PO BOX 195                                                                                          RAYMONDVILLE     NY   13678‐0195
RANDY WHITE                          403 TURNER ST                                                                                       CLEBURNE         TX   76033‐4449
RANDY WICKHAM                        PO BOX 161                                                                                          SPRINGFIELD      OH   45501‐0161
RANDY WIEGAND                        81 E MAPLE DR                                                                                       FRANKLIN         IN   46131‐9605
RANDY WIEMKEN                        U‐675 RD 20                                                                                         ARCHBOLD         OH   43502
RANDY WIGGINTON                      1895 S OSBORNE RD                                                                                   DANSVILLE        MI   48819‐9618
RANDY WIGHTMAN                       2085 EASTON RD # 2                                                                                  OWOSSO           MI   48867
RANDY WILLIAMS                       12271 DOW RD                                                                                        SUNFIELD         MI   48890‐9754
RANDY WILLIAMS                       32070 BRUCE ST                                                                                      ROMULUS          MI   48174‐4319
RANDY WILLIAMS                       248 ALLANHURST AVE                                                                                  VANDALIA         OH   45377‐1719
RANDY WILLIAMS                       2527 HICKORY FELLOWSHIP RD                                                                          HICKORY          MS   39332‐3092
RANDY WILSON                         11352 WILLARD RD                                                                                    MILLINGTON       MI   48746‐9105
RANDY WILSON                         2592 LANERGAN DR                                                                                    TROY             MI   48084‐1050
RANDY WINCHESTER                     3777 NATHAN LN                                                                                      VINELAND         NJ   08361‐7002
RANDY WING                           2512 YORK RD                                                                                        LANSING          MI   48911‐1237
RANDY WINKELMAN                      2628 MEANWELL RD                                                                                    PETERSBURG       MI   49270‐9462
RANDY WINNER                         8639 MOON LAKE DR                                                                                   LAINGSBURG       MI   48848‐9336
RANDY WINTERS                        3416 CABESPRING                                                                                     BOWLING GREEN    KY   42104
RANDY WIRICK                         3896 STATE ROUTE 39                                                                                 MILLERSBURG      OH   44654‐9683
RANDY WISE BUICK‐GMC                 2530 OWEN RD                                                                                        FENTON           MI   48430‐1768
RANDY WISE BUICK‐GMC, INC.           RANDOLPH WISE                  2530 OWEN RD                                                         FENTON           MI   48430‐1768
RANDY WISE CHEVROLET                 G5100 CLIO RD                                                                                       FLINT            MI   48504‐1267
RANDY WISE CHEVROLET BUICK PONTIAC   1250 DEXTER ST                                                                                      MILAN            MI   48160‐1100

RANDY WISE CHEVROLET BUICK PONTIAC   RANDOLPH WISE                  1250 DEXTER ST                                                       MILAN            MI 48160‐1100
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Name                                  Address1                                Address2                  Address3   Address4                City               State Zip
RANDY WISE CHEVROLET‐BUICK‐PONTIAC,   RANDOLPH WISE                           1250 DEXTER ST                                               MILAN               MI 48160‐1100
INC.
RANDY WITTINE INC                     4370 SHELDON RD                                                                                      ROCHESTER          MI   48306‐1846
RANDY WOGEN                           6473 DALTON DR                                                                                       FLUSHING           MI   48433‐2332
RANDY WOLF                            3687 LOWER ELKTON RD                                                                                 LEETONIA           OH   44431‐9631
RANDY WOLF                            8430 WEIL                                                                                            CENTER LINE        MI   48015‐1744
RANDY WOLFE                           45 HORIZON DR                                                                                        CROSSVILLE         TN   38571‐6805
RANDY WOLFE                           9185 COUNTY ROAD 46                                                                                  GALION             OH   44833‐9664
RANDY WOLFORD                         P.O. BOX 993                                                                                         MITCHELL           SD   57301
RANDY WOLSTENHOLME                    178 RIVER RD                                                                                         NORFOLK            NY   13667‐4116
RANDY WOOLUM                          23189 WAGONWHEEL DR                                                                                  BROWNSTOWN TWP     MI   48183‐1160
RANDY WOOTEN                          628 N FAIRVIEW AVE                                                                                   LANSING            MI   48912‐3116
RANDY WRIGHT                          15718 OELKE RD                                                                                       DUNDEE             MI   48131‐9776
RANDY WRIGHT                          2323 MOORESVILLE PIKE                                                                                CULLEOKA           TN   38451‐2163
RANDY WRIGHT                          5747 BAAS RD                                                                                         BATAVIA            OH   45103‐9629
RANDY WRIGHT                          3050 MONTICELLO BLVD                                                                                 CLEVELAND HTS      OH   44118‐1248
RANDY YEADON                          4404 WILLOUGHBY RD                                                                                   HOLT               MI   48842‐9752
RANDY YEAGER                          11951 KEEFER HWY                                                                                     PORTLAND           MI   48875‐9710
RANDY YEAGER                          6762 MCCARTY RD                                                                                      SAGINAW            MI   48603‐9605
RANDY YORK                            15220 CHARLUENE DR                                                                                   FENTON             MI   48430‐1406
RANDY ZDENEK                          2129 N OAK RD                                                                                        DAVISON            MI   48423‐8116
RANDY ZEIGLER                         2142 HICKS LN                                                                                        COLUMBIA           TN   38401‐6823
RANDY ZERBE                           6462 BRIAN CIRCLE LN                                                                                 BURTON             MI   48509‐1377
RANDY'S AUTO SERVICE                  105 W MAIN AVE                                                                                       CHEWELAH           WA   99109‐9257
RANDY'S AUTOMOTIVE                    R R #3 ‐ 773 CONCESSION RD 12 ‐ E. OF                                        WATERFORD ON N0E 1Y0
                                      REG. RD 5                                                                    CANADA
RANDY'S AUTOMOTIVE                    17532 GRIFFIN LN                                                                                     HUNTINGTON BEACH   CA   92647
RANDY'S AUTOMOTIVE                    206 YELLOW JASMINE DR                                                                                SENECA             SC   29678‐5453
RANDY'S AUTOMOTIVE                    640 MERRITT RD                                                                                       MARIETTA           GA   30062‐3445
RANDY'S AUTOMOTIVE SERVICE, INC       26 SPRING ST                                                                                         MEDFIELD           MA   02052‐2422
RANDY'S BOBBY & STEVE'S               8100 FLYING CLOUD DR                                                                                 EDEN PRAIRIE       MN   55344‐5332
RANDY'S GARAGE INC.                   737 S BRIDGE ST                                                                                      LABELLE            FL   33935‐4449
RANDY'S HAIR SAFARI                   ATTN: RANDY BENNETT                     308 E MOLLOY RD                                              MATTYDALE          NY   13211‐1695
RANDY'S MOBILE MECHANICAL SERVICE     2750 CLOVERDALE AVE                                                                                  CONCORD            CA   94518‐2415

RANDY'S OLDE TOWNE SERVICE            2604 S AIRPORT RD W                                                                                  TRAVERSE CITY      MI 49684‐4677
RANDY'S PERFORMANCE                   1 INDUSTRIAL RD                                                              KEMPTVILLE ON K0G 1J0
                                                                                                                   CANADA
RANDY'S TIRE & AUTO                                                           1059 W LITTLETON BLVD                                                           CO   80120
RANDY, TREAS                          BRAYTON PURCELL                         PO BOX 6169                                                  NOVATO             CA   94948‐6169
RANDYL L HURST                        8140 STEARNS RD                                                                                      OLMSTED FALLS      OH   44138‐1057
RANDYLL LACASSE                       166 FREDERICKSBURG DR                                                                                AVON LAKE          OH   44012‐1864
RANDZA, DEE F                         9700 BLUE HERON                                                                                      EATON RAPIDS       MI   48827‐8519
RANEE JACKSON                         11467 COLONIAL WOODS DR                                                                              CLIO               MI   48420‐1503
RANEE SHENOI MD                       7373 W JEFFERSON AVE STE 303                                                                         LAKEWOOD           CO   80235‐2048
RANELLA, MARY                         38740 BYRIVER ST                                                                                     CLINTON TWP        MI   48036‐1813
RANELLA, MARY                         38740 BYRIVER                                                                                        CLINTON TWP        MI   48036‐1813
RANELLE, ROCCO J                      C/O MARY CRISTE                         201 MISSION LAGUNA LANE   APT 204                            LAS VEGAS          NV   89107
RANELLI, MARLENE G                    38 LOVELACE LN                                                                                       W HENRIETTA        NY   14586‐9716
RANER, CATHERINE L                    70 WOODBRIAR DR                                                                                      ROCHESTER          NY   14616‐2313
RANER, ROBERT S                       70 WOODBRIAR DR                                                                                      ROCHESTER          NY   14616‐2313
RANES, DEANNA J                       39 WOODLAND TRL                                                                                      BELTON             TX   76513‐6250
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Name                         Address1                       Address2                     Address3   Address4         City              State Zip
RANES, JOYCE E               3414 LEITH ST                                                                           FLINT              MI 48506‐3100
RANES, LLOYD J               204 GARY DR                    GRAND LAKE TOWN                                          VINITA             OK 74301‐6654
RANEW'S FLEET SERVICE, LLC   1308 HIGHWAY 41 N                                                                       MILNER             GA 30257‐3734
RANEY ‐ BROWN, BEVERLY A     10717 LEWIS CT                                                                          KANSAS CITY        MO 64134‐3040
RANEY PALMER                 1216 DALE DR                                                                            MONROE             GA 30656‐3525
RANEY, ANN C                 15833 KINGS DR                                                                          ATHENS             AL 35611‐5669
RANEY, ANNA M                11242 CHARLES DR                                                                        WARREN             MI 48093‐5574
RANEY, B P                   206 BROOKWOOD DR E                                                                      ATHENS             AL 35613‐2308
RANEY, BARBARA J             11489 E COUNTY ROAD 600 N                                                               FOREST             IN 46039‐9602
RANEY, BETTY L               2605 COLUMBUS BLVD                                                                      KOKOMO             IN 46901‐6453
RANEY, CLAYTON E             14269 BRONTE DR S                                                                       SHELBY TOWNSHIP    MI 48315‐3620
RANEY, DANIEL R              10251 E 12 3/4 RD                                                                       MANTON             MI 49663‐9771
RANEY, DANIEL R              10251 12 3/4 RD                                                                         MANTON             MI 49663
RANEY, DAVID W               812 CAMINO VIEJO                                                                        SANTA BARBARA      CA 93108‐2314
RANEY, ELLA D                775 W ROGER RD SP 171                                                                   TUCSON             AZ 85705‐2674
RANEY, ESTOL V               11489 E COUNTY ROAD 600 N                                                               FOREST             IN 46039‐9602
RANEY, EVELYN RAMONA         4851 W 50 S                                                                             KOKOMO             IN 46901‐8897
RANEY, GILBERT M             28930 NEW LANCASTER RD                                                                  LOUISBURG          KS 66053‐8241
RANEY, JAMES DON             775 W ROGER RD LOT 171                                                                  TUCSON             AZ 85705‐2674
RANEY, JAMES E               12212 WAYNE TRACE RD                                                                    SOMERVILLE         OH 45064‐9633
RANEY, JANET A               12949 SKYLINE DR                                                                        PLAINFIELD          IL 60585‐1992
RANEY, JANET L               218 VALENTI COUNTRY ESTATES                                                             ONEIDA             NY 13421‐2603
RANEY, JOCELYN A             13204 NEW JERSEY AVE                                                                    KANSAS CITY        KS 66109‐3397
RANEY, JOSEPH M              24003 RANEY DR                                                                          SOUTH LYON         MI 48178‐9073
RANEY, LARRY M               3272 PARKWOOD DR                                                                        ROCHESTER HLS      MI 48306‐3652
RANEY, LEANNE M              3378 PARK MEADOW DR                                                                     LAKE ORION         MI 48362‐2071
RANEY, LOIS J                64 FARRAGUT AVE                                                                         SEASIDE PARK       NJ 08752‐1224
RANEY, LOREN J               4840 S 400 E                                                                            CUTLER             IN 46920‐9415
RANEY, MARCY E               169 IDA RED AVE                                                                         SPARTA             MI 49345‐1715
RANEY, MARGARET              4715 N CAIDA PL                                                                         TUCSON             AZ 85718
RANEY, MARGARET              APT 1114                       4354 MOUNT HOPE ROAD                                     WILLIAMSBURG       MI 49690‐9215
RANEY, MARY E                9705 N FR 229                                                                           STRAFFORD          MO 65757
RANEY, MICHAEL A             169 IDA RED AVE                                                                         SPARTA             MI 49345‐1715
RANEY, MICHAEL P             3378 PARK MEADOW DR                                                                     LAKE ORION         MI 48362‐2071
RANEY, PHENA M               10890 RAMSDALE NORTH EAST                                                               ROCKFORD           MI 49341
RANEY, ROBIN L               55565 11 MILE RD                                                                        NEW HUDSON         MI 48165‐9761
RANEY, RONALD L              13204 NEW JERSEY AVE                                                                    KANSAS CITY        KS 66109‐3397
RANEY, ROSS                  18096 TILLMAN MILL RD                                                                   ATHENS             AL 35614‐5018
RANEY, SHELBY                3210 MORNINGSIDE DR                                                                     SAINT JOSEPH       MO 64503‐1355
RANEY, WILLIAM C             1600 BRANDONHALL DR                                                                     MIAMISBURG         OH 45342‐6350
RANFT, CHARLENE E            112 MILL BRIDGE CT                                                                      SAINT PETERS       MO 63376‐7004
RANFT, ERNST L               51 FRANKLIN CREEK RD S                                                                  SAVANNAH           GA 31411‐2870
RANFT, SCOTT G               3975 US HIGHWAY 50 W                                                                    MITCHELL           IN 47446‐5417
RANFT, SCOTT GERALD          3975 US HIGHWAY 50 W                                                                    MITCHELL           IN 47446‐5417
RANG, ROBERT D               67320 HARTWAY RD                                                                        RAY                MI 48096‐1415
RANG, THOMAS R               167 ELMWOOD CT                                                                          SALINE             MI 48176‐1313
RANGAN, KARTHIK              460 E 13 MILE RD APT 201                                                                MADISON HEIGHTS    MI 48071‐2134
RANGANATHA MULABAGULA        PO BOX 9022                                                                             WARREN             MI 48090‐9022
RANGANATHAN, RAJ P           APT 47                         15212 NORTHEAST 16TH PLACE                               BELLEVUE           WA 98007‐8440
RANGARAJAN, AMAR             1621 TREESIDE DR                                                                        ROCHESTER HILLS    MI 48307‐3475
RANGARAJAN, LATHA            2465 SOMERSET BOULEVARD        APT. #7                                                  TROY               MI 48084
RANGARAJU, SHASHIKANTH       44904 LAFAYETTE DR                                                                      NOVI               MI 48377‐2550
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Name                          Address1                        Address2                          Address3   Address4         City               State Zip
RANGASWAMY VASUDEVAN TTEE     13428 CARILLO LANE                                                                            LOS ALTOS           CA 94022
RANGE ARTHUR (464255)         KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                 CLEVELAND           OH 44114
                                                              BOND COURT BUILDING
RANGE BARB & KIRBY            2460 150TH AVE                                                                                MILFORD            IA 51351‐7280
RANGE JR, THOMAS              5152 WINERY DRIVE                                                                             CHESAPEAKE         VA 23321‐1599
RANGE, ARTHUR                 KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                  CLEVELAND          OH 44114
                                                              BOND COURT BUILDING
RANGE, CHARLES D              PO BOX 431                                                                                    LAS VEGAS          NV   89125‐0431
RANGE, DANIEL L               22750 MANNING ST                                                                              FARMINGTON         MI   48336‐3941
RANGE, DANNY L                22750 MANNING ST                                                                              FARMINGTON         MI   48336‐3941
RANGE, DENNIS F               1140 E HIGHWAY U                                                                              MOSCOW MILLS       MO   63362‐1926
RANGE, JOYCE M                1140 E HIGHWAY U                                                                              MOSCOW MILLS       MO   63362‐1926
RANGE, NATHANIEL D            1140 E HIGHWAY U                                                                              MOSCOW MILLS       MO   63362‐1926
RANGE, RALPH C                15563 SOUTHWAY DR                                                                             BROOK PARK         OH   44142‐3757
RANGE, THOMAS A               2471 VICTORIA LN                                                                              HOLLY              MI   48442
RANGE, WILLIAM T              20473 HULL ST                                                                                 DETROIT            MI   48203‐1247
RANGE, WILLIE L               3564 FOXTAIL CT                                                                               DECATUR            GA   30034‐6421
RANGE,NATHANIEL D             27 SMORE CT                                                                                   FORISTELL          MO   63348‐1078
RANGE‐GOWDA, ANANDA H         1920 GOLFVIEW DR APT 104                                                                      TROY               MI   48084‐3831
RANGE‐GOWDA, ANANDA H         18325 W 13 MILE RD APT 24                                                                     SOUTHFIELD         MI   48076‐1158
RANGEL BRANDIE                RANGEL, BRANDIE                 810 S CASINO CENTER BLVD                                      LAS VEGAS          NV   89101‐6719
RANGEL CLAUDIA                RANGEL, CLAUDIA                 120 WEST MADISON STREET , 10TH                                CHICAGO            IL   60602
                                                              FLOOR
RANGEL JR, PAUL D             16449 FESTIAN DR                                                                              CLINTON TWP        MI 48035‐2228
RANGEL JR, PAUL D.            16449 FESTIAN DR                                                                              CLINTON TWP        MI 48035‐2228
RANGEL NATIVIDAD M (472148)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                              STREET, SUITE 600
RANGEL SOLOMEN M (626726)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                              STREET, SUITE 600
RANGEL, ADOLFO                132 FILLMORE PL                                                                               BAY CITY           MI   48708‐5563
RANGEL, ANDREW M              22575 QUARRY RD                                                                               WELLINGTON         OH   44090‐9788
RANGEL, ANTHONY C             34978 NORTHVIEW CIR                                                                           NORTH RIDGEVILLE   OH   44039‐1782
RANGEL, CLAUDIA               KROHN & MOSS ‐ CA               10474 SANTA MONICA BLVD STE 401                               LOS ANGELES        CA   90025‐6932

RANGEL, DAVID                 232 ROBERTS ST.                                                                               NILES              OH   44446‐4446
RANGEL, DENISE A              5310 CAMERON CT                                                                               SHEFFIELD VLG      OH   44054‐2980
RANGEL, DOROTHY               73640 SAWMILL CANYON WAY                                                                      PALM DESERT        CA   92260‐1244
RANGEL, GLORIA A              212 EUCLID                                                                                    MT CLEMENS         MI   48043‐5730
RANGEL, GLORIA A              212 EUCLID ST                                                                                 MOUNT CLEMENS      MI   48043‐5730
RANGEL, GUADALUPE             227 N AVENUE 63                                                                               LOS ANGELES        CA   90042‐2726
RANGEL, JOE S                 12151 ROBERT ST                                                                               PAULDING           OH   45879‐8854
RANGEL, JOHN F                3095 S STONE RD                                                                               MARION             IN   46953‐4722
RANGEL, JOSEPH J              3999 S PARK RD                                                                                KOKOMO             IN   46902
RANGEL, JOSEPH S              2244 W LOGAN BLVD # 1                                                                         CHICAGO            IL   60647‐2115
RANGEL, JUAN                  115 E WAYNE ST                                                                                PAULDING           OH   45879‐1503
RANGEL, LILLIE                42 S HIGHLAND ST                                                                              MOUNT CLEMENS      MI   48043‐2140
RANGEL, LILLIE                42 SOUTH HIGHLAND                                                                             MOUNT CLEMENS      MI   48043‐2140
RANGEL, LUPE                  21195 ABRAHM                                                                                  MT CLEMENS         MI   48035‐3516
RANGEL, LUPE                  21195 ABRAHM ST                                                                               CLINTON TWP        MI   48035‐3516
RANGEL, LUPE I                6017 HARDING AVE                                                                              SOUTH GATE         CA   90280‐8211
RANGEL, MANUEL A              17904 CLIFF DR                                                                                INDEPENDENCE       MO   64055‐6903
RANGEL, MANUEL ANTONIO        17904 CLIFF DR                                                                                INDEPENDENCE       MO   64055‐6903
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Name                                 Address1                         Address2                       Address3   Address4         City             State Zip
RANGEL, MARIA                        11731 OFFLEY AVE                                                                            NORWALK           CA 90650‐7760
RANGEL, MARIA LUISA                  GUERRA & MOORE LTD LLP           4201 N MCCOLL RD                                           MCALLEN           TX 78504‐2524
RANGEL, MARIA ROSALINDA              JOLLY NORMAN                     1018 PRESTON ST STE 450                                    HOUSTON           TX 77002‐1818
RANGEL, MARIA ROSALINDA              HASTINGS STEVE                   101 N SHORELINE BLVD STE 420                               CORPUS CHRISTI    TX 78401‐2825
RANGEL, MARIA ROSALINDA              LAW OFFICES OF RAMON GARCIA      222 W UNIVERSITY DR                                        EDINBURG          TX 78539‐3301
RANGEL, MARIA S                      610 NICHOLAS ST                                                                             DEFIANCE          OH 43512‐1548
RANGEL, MICHAEL J                    1960 MAPLE RD                                                                               GLADWIN           MI 48624‐8778
RANGEL, NATIVIDAD M                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
RANGEL, PAUL
RANGEL, RACHEL                       TRACY & CARBOY                   12201 MERIT DRIVE                                          DALLAS           TX 75251
RANGEL, RAMON                        227 N AVENUE 63                                                                             LOS ANGELES      CA 90042‐2726
RANGEL, RAMON A
RANGEL, RAMON R                      44251 WHITHORN DR                                                                           STERLING HTS     MI   48313‐1059
RANGEL, RAYMOND P                    15612 THORNLAKE AVE                                                                         NORWALK          CA   90650‐6765
RANGEL, REFUGIO                      3709 W 66TH ST                                                                              CHICAGO          IL   60629‐4732
RANGEL, REFUGIO E                    6600 SCOTT LANE                  APT 12B                                                    HANOVER PARK     IL   60133
RANGEL, RICHARD                      6017 HARDING AVE                                                                            SOUTH GATE       CA   90280‐8211
RANGEL, ROMOLO S                     PO BOX 104                                                                                  LA VILLA         TX   78562‐0104
RANGEL, RUBEN S                      2005 S VALLEY AVE                                                                           MARION           IN   46953‐2912
RANGEL, RUDOLPH G                    7939 S BYRON RD                                                                             DURAND           MI   48429‐9443
RANGEL, SALVADOR                     11731 OFFLEY AVE                                                                            NORWALK          CA   90650‐7760
RANGEL, SALVADOR E                   1541 W ROSCOE ST APT 3                                                                      CHICAGO          IL   60657‐1398
RANGEL, SALVADOR E                   APT 3                            1541 WEST ROSCOE STREET                                    CHICAGO          IL   60657‐1398
RANGEL, SOLOMEN M                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                                      STREET, SUITE 600
RANGEL, TERESA                      16416 FAIRVIEW ST                                                                            MADERA           CA   93638‐0715
RANGEL, VICTOR                      3520 N NEENAH AVE                                                                            CHICAGO          IL   60634‐3827
RANGELOFF, STEPHEN J                120 DOGWOOD AVE                   (LOTP ‐ JOHNSON CREEK)                                     JEFFERSON        TX   75657‐9151
RANGER CHEVROLET‐CADILLAC‐PONTIAC‐O 1502 E HOWARD ST                                                                             HIBBING          MN   55746‐1263

RANGER CHEVROLET‐CADILLAC‐PONTIAC‐   1502 E HOWARD ST                                                                            HIBBING          MN 55746‐1263
OLDSMOBILE‐BUICK‐GMC
RANGER JR, PAUL E                    4026 WEATHERWOOD DR                                                                         TRAVERSE CITY    MI   49684‐9791
RANGER JR, PAUL EDWIN                4026 WEATHERWOOD DRIVE                                                                      TRAVERSE CITY    MI   49684‐9791
RANGER TOOL & DIE CO                 317 S WESTERVELT RD                                                                         SAGINAW          MI   48604‐1330
RANGER, BONITA F                     1528 WINNSBORO PASS                                                                         FORT WAYNE       IN   46845‐2003
RANGER, CHARLOTTE M                  2415 FAIR LN                                                                                BURTON           MI   48509‐1309
RANGER, CHERYL A                     4145 N CENTER RD                                                                            FLINT            MI   48506‐1474
RANGER, CHERYL ADELE                 4145 N CENTER RD                                                                            FLINT            MI   48506‐1474
RANGER, DEBRA L                      8306 PEACHTREE AVE NE                                                                       ROCKFORD         MI   49341
RANGER, DENIS B                      407 MAIN ST                                                                                 FENTON           MI   48430‐2133
RANGER, DONALD J                     28318 CUNNINGHAM DR                                                                         WARREN           MI   48092‐3466
RANGER, FRANCIS J                    218 S VALLEY ST                                                                             WEST BRANCH      MI   48661‐1440
RANGER, FRANKLIN P                   113 NORTHERN BLVD                                                                           CENTRAL SQUARE   NY   13036
RANGER, GORDON L                     4411 S HILLCREST CIR                                                                        FLINT            MI   48506‐1451
RANGER, HAROLD L                     118 1/2 N COWEN ST                                                                          GARRETT          IN   46738
RANGER, HOWARD H                     3125 SOUTHERN AIRE               LOT # 368                                                  AVON PARK        FL   33825
RANGER, JAMES D                      5527 WHITFIELD DR                                                                           TROY             MI   48098‐5105
RANGER, JAMES L                      1077 E 112TH ST                                                                             GRANT            MI   49327‐7422
RANGER, JANICE E                     4423 HEDGETHORN CIR                                                                         BURTON           MI   48509‐1248
RANGER, JOSEPH D                     10628 OAKLAND DR                 C/O MARJORIE M DERYKE                                      PORTAGE          MI   49024‐6681
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Name                        Address1                         Address2                  Address3   Address4                 City                State Zip
RANGER, JOSEPH G            27744 LATHRUP BLVD                                                                             LATHRUP VLG          MI 48076‐3573
RANGER, LUCIANA L           200 RIVER PLACE DR APT 30                                                                      DETROIT              MI 48207‐4464
RANGER, MARY ANN            3640 CAMDEN CT                                                                                 AUBURN HILLS         MI 48326‐1888
RANGER, MICHAEL G           4423 HEDGETHORN CIR                                                                            BURTON               MI 48509‐1248
RANGER, MILDRED E           1010 ALICE ST                                                                                  EAST TAWAS           MI 48730‐9689
RANGER, ORVIL               9378 LAPEER RD                                                                                 DAVISON              MI 48423‐1736
RANGER, PATRICIA A          10108 WYNDHAM CREST BOULVD.                                                                    SANFORD              FL 32773
RANGER, RAYMOND F           3709 WOODROW AVE                                                                               FLINT                MI 48506‐3135
RANGER, ROBERT E            3640 CAMDEN CT                                                                                 AUBURN HILLS         MI 48326‐1888
RANGER, RUTH E              96 ECKHERT STREET                                                                              BUFFALO              NY 14207‐1140
RANGER, RUTH E              5588 DAVISON RD                                                                                LAPPER               MI 48446‐2720
RANGER, RUTH E              96 ECKHERT ST                                                                                  BUFFALO              NY 14207‐1140
RANGER, STEPHEN C           G9159 LEWIS RD                                                                                 CLIO                 MI 48420
RANGER, TIMOTHY M           3111 VIA REAL                                                                                  CARPINTERIA          CA 93013‐3087
RANGLER, CLINTON C          24893 BUTTERNUT CT                                                                             STURGIS              MI 49091‐8325
RANGO, JOSEPHINE MADEL      C/O POLAN                        313 BEEKMAN ROAD                                              HOPEWELL JUNCTION    NY 12533
RANGO, JOSEPHINE MADEL      313 BEEKMAN RD                   C/O POLAN                                                     HOPEWELL JUNCTION    NY 12533‐6264
RANGOLI INDIAN CUISINE      3055 E WALTON BLVD                                                                             AUBURN HILLS         MI 48326‐2369
RANGSI SAKDINAWAT           2602 MANDY WAY                                                                                 ARLINGTON            TX 76017‐3742
RANGUETTE, TERRY L          3597 II RD                                                                                     GARDEN               MI 49835‐9434
RANGWALA MURTUZA Y          #414/5 SS RESIDENCY 4TH CROSS    WILSON GARDEN BANGALORE              BANGALORE 560006 INDIA
                                                             560027
RANI E PIGG                 10638 HOLCOMB ROAD                                                                             NEWTON FALLS        OH   44444‐9261
RANI FINSTAD                4140 RIDGE SIDE DR                                                                             ROCHESTER           MI   48306‐4652
RANI JETTI SANDHYA          5600 ORANGETHORPE AVE APT 1310                                                                 LA PALMA            CA   90623
RANI PIGG                   10638 HOLCOMB RD                                                                               NEWTON FALLS        OH   44444‐9261
RANI S STEVENS              17511 LAKEWOOD HEIGHTS BLVD                                                                    LAKEWOOD            OH   44107
RANIA GHAFARI               200 BEDLINGTON DR                                                                              ROCHESTER HILLS     MI   48307‐3519
RANIERI CARMEN T (116029)   GREITZER & LOCKS                 1500 WALNUT STREET                                            PHILADELPHIA        PA   19102
RANIERI DANIEL M            5801 DAWN VISTA OVAL                                                                           PARMA               OH   44129‐6118
RANIERI, ANTONIO
RANIERI, CARMEN             GREITZER & LOCKS                 1500 WALNUT STREET                                            PHILADELPHIA        PA   19102
RANIERI, GREGORIO           152 EMILIA CIR                                                                                 ROCHESTER           NY   14606‐4612
RANIERI, JOANNE L           152 EMILIA CIR                                                                                 ROCHESTER           NY   14606‐4612
RANIERI, JOSEPH S           PO BOX 11                                                                                      STARRUCCA           PA   18462‐0011
RANIERI, MILDRED R          402 COMMONS WAY UNIT B                                                                         FISHKILL            NY   12524‐1772
RANIERO PASQUALONE          43 OLD HAWLEYVILLE RD                                                                          BETHEL              CT   06801‐3112
RANIEWICZ, JANET M          29 HUTTON CIR                                                                                  CHURCHVILLE         NY   14428‐9107
RANIEWICZ, MARK J           29 HUTTON CIR                                                                                  CHURCHVILLE         NY   14428
RANINEN, ARNOLD B           7711 N SANTA MONICA BLVD                                                                       MILWAUKEE           WI   53217‐3260
RANINEN, WILLIAM            7711 N SANTA MONICA BLVD                                                                       FOX POINT           WI   53217‐3260
RANISZEWSKI, ALVIN J        4180 CROOKS ST                                                                                 WEST BLOOMFIELD     MI   48323‐1225
RANISZEWSKI, ALVIN J        4180 CROOKS                                                                                    WEST BROOMFIELD     MI   48232
RANISZEWSKI, JOSEPH R       6626 N LAFAYETTE ST                                                                            DEARBORN HTS        MI   48127‐2157
RANISZEWSKI, MANDY L        4180 CROOKS ST                                                                                 W BLOOMFIELD        MI   48323‐1225
RANISZEWSKI, MARVIN M       4441 E MICHIGAN AVE                                                                            AU GRES             MI   48703‐9464
RANISZEWSKI, OLINE G        4180 CROOKS ST                                                                                 WEST BLOOMFIELD     MI   48323‐1225
RANISZEWSKI, WILLIAM M      6477 E POTTER RD                                                                               DAVISON             MI   48423‐9500
RANJINI SHARMA              2681 SANTIA CT                                                                                 TROY                MI   48085‐3988
RANJIT JAGAT                53 YEW RD                                                                                      BALTIMORE           MD   21221‐3285
RANJIT JHITA                360 FOREST CREST DR                                                                            COMMERCE TOWNSHIP   MI   48390‐1209
RANJITH KUMARASINGHE
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Name                        Address1                      Address2                   Address3   Address4         City              State Zip
RANJITSINGH, DANIEL         5363 SANDLEWOOD CT                                                                   WATERFORD          MI 48329‐3485
RANK CHARLES R              8 PARKVIEW CT                                                                        FRANKEMUTH         MI 48734‐1222
RANK JOHN                   11834 CEDAR CREEK RD                                                                 CEDARBURG          WI 53012‐9784
RANK PREC/DES PLAINE        411 JARVIS AVE                                                                       DES PLAINES         IL 60018‐1911
RANK TAY/DES PLAINES        2100 GOLF RD STE 350                                                                 ROLLING MEADOWS     IL 60008‐4231
RANK TAY/ROLLING MEA        2100 GOLF RD STE 350                                                                 ROLLING MEADOWS     IL 60008‐4231
RANK, CHARLES R             8 PARKVIEW CT                                                                        FRANKENMUTH        MI 48734‐1222
RANK, DAYTHA                516 COTTAGE AVENUE                                                                   PIQUA              OH 45356‐3340
RANK, DONALD R              10749 N DUNCAN RD B                                                                  PIQUA              OH 45356
RANK, EILEEN M              342 EDINBOROUGH ST                                                                   TEMPERANCE         MI 48182‐1196
RANK, ELTON A               6330 W FRANCES RD                                                                    CLIO               MI 48420‐8549
RANK, JAMES J               313 ABBOTSBURY DR                                                                    WESTERVILLE        OH 43082‐9121
RANK, JANE E                N6642 COUNTY ROAD V                                                                  CECIL              WI 54111‐9509
RANK, JUANITA K             1620 SW 5TH AVE                                                                      POMPANO BEACH      FL 33060‐9010
RANK, JUANITA K             1620 S.W. 5TH AVENUE                                                                 POMPANO BEACH      FL 33060‐9010
RANK, LYNN R                1121 W VIENNA RD                                                                     CLIO               MI 48420‐1709
RANK, LYNN RENE             1121 W VIENNA RD                                                                     CLIO               MI 48420‐1709
RANK, STEPHEN E             1855 N CENTER RD                                                                     SAGINAW            MI 48638‐5565
RANK, STEPHEN EUGENE        1855 N CENTER RD                                                                     SAGINAW            MI 48638‐5565
RANK, STEVEN                13701 RIVERCREST DR                                                                  WHITE PIGEON       MI 49099‐8133
RANK, VICTORIA L            3949 W 9TH CT                                                                        WISCONSIN DELLS    WI 53965
RANKA ROBERT W              18099 PARKE LN                                                                       GROSSE ILE         MI 48138‐1039
RANKA, ROBERT W             18099 PARKE LN                                                                       GROSSE ILE         MI 48138‐1039
RANKART, JOHN G             626 PAULEY PL NE                                                                     ATLANTA            GA 30328‐5222
RANKART, MARIE              626 PAULEY PL NE                                                                     ATLANTA            GA 30328‐5222
RANKE, CARL F               1012 GARFIELD AVE                                                                    CHEBOYGAN          MI 49721‐2256
RANKE, DOROTHY              616 S WINDING DR                                                                     WATERFORD          MI 48328‐4160
RANKE, DOROTHY              616 SOUTH WINDING DRIVE                                                              WATERFORD          MI 48328‐4160
RANKE, GARY F               10174 GERA RD                                                                        BIRCH RUN          MI 48415‐9753
RANKE, GARY FREDERICK       10174 GERA RD                                                                        BIRCH RUN          MI 48415‐9753
RANKE, SANDRA A             3583 BAY HARBOR DR                                                                   BRIGHTON           MI 48114‐7695
RANKEL BROOKE               10621 MCGREGOR BLVD                                                                  FORT MYERS         FL 33919‐1646
RANKEL, BROOKE M            10621 MCGREGOR BLVD                                                                  FORT MYERS         FL 33919‐1646
RANKEN TECHNICAL COLLEGE    4431 FINNEY AVE                                                                      SAINT LOUIS        MO 63113‐2811
RANKERT, FRANK E            1600 BOCA RATON BLVD                                                                 KOKOMO             IN 46902‐3171
RANKERT, JEFFREY D          844 E LIBERTY ST                                                                     MILFORD            MI 48381‐2053
RANKEY JR, CHARLES F        1104 SHERWOOD FOREST DR                                                              DAYTON             OH 45449‐2246
RANKEY, JAMES M             1085 EAST BEAVER ROAD                                                                KAWKAWLIN          MI 48631‐9164
RANKHORN HAROLD             21915 RUST RD                                                                        NEW BOSTON         MI 48164‐9666
RANKHORN, HAROLD L          21915 RUST RD                                                                        NEW BOSTON         MI 48164‐9666
RANKHORN, LLOYD E           PO BOX 173                                                                           MOUNT GILEAD       OH 43338‐0173
RANKIE, EDWARD E            6624 SANDERS RD                                                                      LOCKPORT           NY 14094‐9521
RANKIN BRIAN                PO BOX 12304                                                                         OKLAHOMA CITY      OK 73157‐2304
RANKIN C LONG JR            2863 VAN OSS DR                                                                      BEAVERCREEK        OH 45431‐3351
RANKIN COUNTY               211 E GOVERNMENT ST STE D                                                            BRANDON            MS 39042‐3269
RANKIN COUNTY MISSISSIPPI   TAX COLLECTOR                 211 E. GOVERNMENT STREET                               BRANDON            MS 39042
RANKIN CTY WELFARE DEPT     ACCT OF JAMES W HAMMACK JR    PO BOX 738                                             BRANDON            MS 39043‐0738
RANKIN DAVID                3928 WOSLEY DR                                                                       FORT WORTH         TX 76133‐2628
RANKIN DOUG                 6775 CANTERBURY LN                                                                   CLARKSTON          MI 48348‐2874
RANKIN EMERGENCY GRO        PO BOX 2995                                                                          SAN ANTONIO        TX 78299‐2995
RANKIN FIELDS               8870 BUTLER WARREN RD                                                                MASON              OH 45040‐9279
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Name                               Address1                       Address2                      Address3   Address4         City               State Zip
RANKIN HARVEY D (494119)           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                  STREET, SUITE 600
RANKIN JACK (ESTATE OF) (667178)   WISE & JULIAN                  156 N MAIN ST STOP 1                                      EDWARDSVILLE       IL   62025‐1972
RANKIN JR, HARRY E                 1010 EATON GREEN DR                                                                      CHARLOTTE          MI   48813‐9381
RANKIN JR., JOHN E                 1045 S IL ROUTE 53                                                                       LOMBARD            IL   60148‐3226
RANKIN LONG JR                     2863 VAN OSS DR                                                                          BEAVERCREEK        OH   45431‐3351
RANKIN PHYSICAL THERAPY            23 FITNESS LN                                                                            BERKELEY SPRINGS   WV   25411‐7080
RANKIN ROBERT                      DBA RANKIN BIOMEDICAL CORP     9580 DOLORES                                              CLARKSTON          MI   48348‐2400
RANKIN ROGER L (629824)            GUY WILLIAM S                  PO BOX 509                                                MCCOMB             MS   39649‐0509
RANKIN RUTHERFORD                  25221 CHAMPAIGN ST                                                                       TAYLOR             MI   48180‐2090
RANKIN SHANDRA                     3928 WOSLEY DR                                                                           FORT WORTH         TX   76133‐2628
RANKIN, ALBERT O                   14718 COIT RD                                                                            CLEVELAND          OH   44110‐3620
RANKIN, BARBARA A                  11479 FARMHILL DR                                                                        FENTON             MI   48430‐2529
RANKIN, BILLIE
RANKIN, BOB R                      9144 ROLLING GREENS TRL                                                                  MIAMISBURG         OH   45342‐6781
RANKIN, BRIAN E                    PO BOX 12304                                                                             OKLAHOMA CITY      OK   73157‐2304
RANKIN, BRITTANY A                 208 PINEGROVE DR                                                                         BELLBROOK          OH   45305‐2116
RANKIN, BRYANT L                   11500 RUNYAN LAKE RD                                                                     FENTON             MI   48430
RANKIN, BYRLE M                    261 E MAIN ST                                                                            NEW LEBANON        OH   45345‐1226
RANKIN, CANDACE R                  35519 SMITH UNIT 81 BLDG 15                                                              ROMULUS            MI   48174
RANKIN, CANDACE RENA               35519 SMITH UNIT 81 BLDG 15                                                              ROMULUS            MI   48174
RANKIN, CATHERINE J                831 NORTHSTAR LOOP                                                                       NEW BRAUNFELS      TX   78130‐8322
RANKIN, CHARLES J                  1807 REX ST                                                                              LANSING            MI   48910‐3627
RANKIN, CHARLES L                  1706 DIAMOND RIDGE CT                                                                    O FALLON           MO   63366‐4797
RANKIN, CHARLIE W                  4933 CRANSTON DR                                                                         TOLEDO             OH   43615‐2911
RANKIN, CLETIS P                   1581 ELDER ST                                                                            LAKE               MI   48632‐9578
RANKIN, DANIEL W                   PO BOX 711                                                                               LOUISBURG          KS   66053‐0711
RANKIN, DARLENE H                  1045 SOUTH ROUTE STATE RD 53                                                             LOMBARD            IL   60148
RANKIN, DAVID P                    27 JAMESTOWN CT                                                                          AUSTINTOWN         OH   44515‐1919
RANKIN, DEBRA L                    4530 ETHEL ST                                                                            OKEMOS             MI   48864‐3048
RANKIN, DEMARIO                    4829 NEWTON DR                                                                           MEMPHIS            TN   38109‐6703
RANKIN, DESIREE D                  104 ALPINE PL                                                                            CHEEKTOWAGA        NY   14225‐3969
RANKIN, DONALD J                   4440 NEW RD                                                                              AUSTINTOWN         OH   44515‐3809
RANKIN, DONNA E                    1354 KENNETH ST                                                                          YOUNGSTOWN         OH   44505
RANKIN, DOROTHY C                  17091 MARYLAND ST                                                                        SOUTHFIELD         MI   48075‐2966
RANKIN, DOUGLAS C                  6775 CANTERBURY LN                                                                       CLARKSTON          MI   48348‐2874
RANKIN, EDWARD B                   30 CHEROKEE LN                                                                           COLUMBIANA         OH   44408‐8432
RANKIN, EDWARD W                   4530 ETHEL ST                                                                            OKEMOS             MI   48864‐3048
RANKIN, ELEANORE                   125 E TAMI CIRCLE              H 203                                                     WESTLAND           MI   48186
RANKIN, ELVA I                     26902 SANDY HILL CT.                                                                     NEW HUDSON         MI   48165
RANKIN, ELVA I                     26902 SANDY HILL CT.           APT 1                                                     NEW HUDSON         MI   48165‐9603
RANKIN, EMERSON E                  1570 FAWN LAKE DR                                                                        WEST BRANCH        MI   48661‐9074
RANKIN, EMMA S                     382 SCR 26                                                                               MIZE               MS   39116‐5324
RANKIN, GAIL E                     49 W NOTTINGHAM RD                                                                       DAYTON             OH   45405‐5210
RANKIN, GAIL ETTA                  49 W NOTTINGHAM RD                                                                       DAYTON             OH   45405‐5210
RANKIN, GEORGE A                   5591 WENDSBURY DR                                                                        DAYTON             OH   45426
RANKIN, GERALDINE                  342 E FERRY ST                                                                           BUFFALO            NY   14208‐1503
RANKIN, GLENNA M                   120 PIN OAK CT                                                                           LEXINGTON          SC   29073‐7911
RANKIN, GREGORY J                  3378 SHANE DR                                                                            BAY CITY           MI   48706
RANKIN, GROVER C                   SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
RANKIN, HARVEY D                   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
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Name                     Address1                        Address2               Address3     Address4             City              State Zip
RANKIN, HAZEL            22 GREENWOOD AVE                                                    ST CATHARINES ON
                                                                                             CANADA L2P‐1X6
RANKIN, HERBERT J        1326 CATALPA DR                                                                          DAYTON            OH    45406‐4701
RANKIN, HOLLY M          981 LAKESHIRE DR                                                                         GALLOWAY          OH    43119
RANKIN, INEZ L           6210 CEDAR BEND WAY                                                                      AVON              IN    46123‐7273
RANKIN, JACK             WISE & JULIAN                   156 N MAIN ST STOP 1                                     EDWARDSVILLE      IL    62025‐1972
RANKIN, JAMES            WEITZ & LUXENBERG               180 MAIDEN LANE                                          NEW YORK          NY    10038
RANKIN, JAMES E          8247 CR 109D‐I                                                                           LADY LAKE         FL    32159
RANKIN, JEFFREY L        2213 AMERICAN DR                                                                         MARION            IN    46952‐9400
RANKIN, JERRY L          8550 BROADWAY ST                                                                         INDIANAPOLIS      IN    46240‐2227
RANKIN, JOAQUIN I        1706 DIAMOND RIDGE CT                                                                    O FALLON          MO    63366‐4797
RANKIN, JOHN C           2267 JEFFERSON AVE                                                                       NORWOOD           OH    45212‐3234
RANKIN, JOHN R           6340 GERMANTOWN PIKE                                                                     MORAINE           OH    45418‐1636
RANKIN, JOHN T           PO BOX 405                                                                               DUGGER            IN    47848‐0405
RANKIN, JOHN T           541 BECKRIDGE DR                                                                         EDGEWOOD          KY    41017‐3309
RANKIN, JOHN T           688 BALLANTRAE DR                                                                        WENTZVILLE        MO    63385‐2869
RANKIN, JOSEPH           18616 LAWRENCE DR                                                                        STANWOOD          MI    49346
RANKIN, JUANITA G        817 EMERSON RD                                                                           CARMEL            IN    46032‐2028
RANKIN, JUDY A           9320 S HARVEY AVE                                                                        OKLAHOMA CITY     OK    73139‐8636
RANKIN, KELLI L          12995 BLACK WALNUT DR                                                                    SHELBY TOWNSHIP   MI    48315‐6907
RANKIN, LARRY G          28653 BLANCHARD RD                                                                       DEFIANCE          OH    43512‐8081
RANKIN, LEE E            1405 PERKINS LN                                                                          COLUMBIA          TN    38401‐5623
RANKIN, LOUIS H          208 SCHWARTZ RD                                                                          LANCASTER         NY    14086‐9400
RANKIN, MALCOLM L        3103 BATTLEMENT RD SW                                                                    DECATUR           AL    35603‐3139
RANKIN, MARGARET B       482 BROAD ST. LOT 4                                                                      FORESTVILLE       CT    06010‐6612
RANKIN, MARGARET B       482 BROAD ST TRLR 4                                                                      BRISTOL           CT    06010‐6612
RANKIN, MARK D           4498 IRVINGTON CT NE                                                                     ROSWELL           GA    30075‐5722
RANKIN, MICHAEL          3700 UPPERWOOD DR NE                                                                     GRAND RAPIDS      MI    49525‐9562
RANKIN, MICHAEL P        503 1ST AVENUE NORTHEAST                                                                 MAGEE             MS    39111‐3509
RANKIN, PATRICK S        946 SIMPSON HOWELL RD                                                                    ELIZABETH         PA    15037
RANKIN, PAUL E           14119 W ALEPPO DR                                                                        SUN CITY WEST     AZ    85375‐5215
RANKIN, PEARLIA MAE      SHANNON LAW FIRM                100 W GALLATIN ST                                        HAZLEHURST        MS    39083‐3007
RANKIN, PERRY S          37 POINT OF MAINE DRIVE                                                                  MACHIASPORT       ME    04655‐3426
RANKIN, POWELL D         10038 MORLEY ST                                                                          DETROIT           MI    48204‐2525
RANKIN, RICHARD H        10017 HEDGESVILLE RD                                                                     HEDGESVILLE       WV    25427‐6014
RANKIN, RICHARD HUNTER   10017 HEDGESVILLE RD                                                                     HEDGESVILLE       WV    25427‐6014
RANKIN, ROBERT           2499 FOREST HILL AVE SE         # 19‐21                                                  GRAND RAPIDS      MI    49546‐8257
RANKIN, ROBERT H         1100 TARPON CENTER DR APT 402                                                            VENICE            FL    34285‐1148
RANKIN, ROGER L          GUY WILLIAM S                   PO BOX 509                                               MCCOMB            MS    39649‐0509
RANKIN, RONALD           2319 ADAMS AVE                                                                           NORWOOD           OH    45212‐3313
RANKIN, RONALD C         1061 DEERING ST                                                                          GARDEN CITY       MI    48135‐4106
RANKIN, RONALD L         12221 WESTCREEK CT                                                                       INDIANAPOLIS      IN    46236‐9280
RANKIN, RONALD LEE       12221 WESTCREEK CT                                                                       INDIANAPOLIS      IN    46236‐9280
RANKIN, ROSE             1061 DEARING                                                                             GARDEN CITY       MI    48135‐4106
RANKIN, ROSE             1061 DEERING ST                                                                          GARDEN CITY       MI    48135‐4106
RANKIN, SHAUNA           107 NEBO VALLEY DR                                                                       WESTMINSTER       SC    29693‐3327
RANKIN, SHIRLEY          6319 SHOSHONI ST                                                                         FLINT             MI    48506‐1144
RANKIN, SHIRLEY          6319 SHOSHONI                                                                            FLINT             MI    48506‐1144
RANKIN, THOMAS E         11040 E PURDUE FARM RD                                                                   DUBOIS            IN    47527‐9673
RANKIN, TRACEY M         PO BOX 4392                                                                              TROY              MI    48099
RANKIN, WANDA            350 S. KENILWORTH AVE                                                                    LIMA              OH    45805‐3241
RANKIN, WANDA            350 S KENILWORTH AVE                                                                     LIMA              OH    45805‐3241
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Name                        Address1                       Address2                    Address3   Address4                City            State Zip
RANKIN, WILEY E             31350 MINTON ST                                                                               LIVONIA          MI 48150‐2981
RANKIN, WILLIAM
RANKIN, WILLIAM L           23833 MERRILL AVE                                                                             SOUTHFIELD      MI   48075‐3496
RANKIN, WILLIE              PORTER & MALOUF PA             4670 MCWILLIE DR                                               JACKSON         MS   39206‐5621
RANKINE SR., ROBERT R       1100 SHELLEY DR                                                                               GOLDSBORO       NC   27534
RANKINE JR, ALEXANDER M     1411 GRACY FARMS LN APT 79                                                                    AUSTIN          TX   78758‐2227
RANKINE, ROBERT             PO BOX 59                                                                                     MAYSVILLE       GA   30558‐0059
RANKINS JR, ESSIE D         1931 BOULDER HILLS DR                                                                         ELLENWOOD       GA   30294‐1022
RANKINS, DOROTHY            638 SPENCER ST                                                                                FLINT           MI   48505‐4277
RANKINS, DOROTHY            638 SPENCER STREET                                                                            FLINT           MI   48505‐4277
RANKINS, DRUESILLAR         2074 E INDIAN WELLS DR                                                                        CHANDLER        AZ   85249
RANKINS, HENRY L            3814 KELLAR AVE                                                                               FLINT           MI   48504‐3701
RANKINS, LARRY W            19325 AMBER WAY                                                                               NOBLESVILLE     IN   46060‐8384
RANKINS, LOUISE             2227 PERKINS                                                                                  SAGINAW         MI   48601‐2055
RANKINS, LOUISE             2227 PERKINS ST                                                                               SAGINAW         MI   48601‐2055
RANKINS, MARCUS WAYNE       PO BOX 310094                                                                                 FLINT           MI   48531‐0094
RANKINS, RICHARD A          3520 LAKESIDE DR                                                                              SHREVEPORT      LA   71119‐6514
RANKINS, RICHARD ALLEN      3520 LAKESIDE DR                                                                              SHREVEPORT      LA   71119‐6514
RANKINS, RODNEY B           126 PROSPECT ST                                                                               SOMERSET        NJ   08873‐2669
RANKINS, WAYNE L            6424 BRAY RD                                                                                  FLINT           MI   48505
RANKINS, WAYNE L            730 JEFFERSON ST                                                                              MOUNT MORRIS    MI   48458
RANKLIN, WILLIAM F          13137 AKRON CANFIELD RD                                                                       NORTH JACKSON   OH   44451‐9723
RANKO BABI?
RANKO BABIC
RANKO BABIC (┤ ABOVE C)
RANKO MELJNIKOV             ONSTMETTINGER WEG 21                                                  70567 STUTTGART
                                                                                                  GERMANY
RANLY, CAROL A              900 LABELLE TER                                                                               RICHLAND        MI   49083‐8609
RANLY, MARTIN U             900 LABELLE TER                                                                               RICHLAND        MI   49083
RANLY, MICHAEL N            463 ST JAMES PL                                                                               SPRINGBORO      OH   45066‐5066
RANLY, MICHAEL N            463 SAINT JAMES PL                                                                            SPRINGBORO      OH   45066‐9748
RANLY, TERRI L              463 SAINT JAMES PL                                                                            SPRINGBORO      OH   45066‐9748
RANNARD, PATRICIA           154 SIMPSON DR                                                                                PULASKI         PA   16143
RANNEBARGER JASON           RANNEBARGER, JASON             5473 BLAIR ROAD SUITE 200                                      DALLAS          TX   75231
RANNEBARGER, FLOYD          62 OAK CT                                                                                     BROOKLYN        MI   49230‐8968
RANNEBARGER, JASON          THE TRACY FIRM                 5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
RANNEL CHEEK                482 JOHNSON LN                                                                                BEDFORD         IN   47421‐8508
RANNELLS, RONALD M          8724 NEW BOWLING GREEN RD                                                                     SMITHS GROVE    KY   42171‐9063
RANNELLS, RONALD MITCHELL   8724 NEW BOWLING GREEN RD                                                                     SMITHS GROVE    KY   42171‐9063
RANNENBERG JR, ORLANDO      406 DRAKESBOROUGH DR                                                                          BOWLING GREEN   KY   42103‐8706
RANNER, DOROTHY             PORTER & MALOUF PA             4670 MCWILLIE DR                                               JACKSON         MS   39206‐5621
RANNEY JR, MICHAEL J        5631 JEFFREY DR                                                                               LOCKPORT        NY   14094‐6672
RANNEY JR, RUSSEL S         9464 LAINGSBURG RD                                                                            LAINGSBURG      MI   48848‐9328
RANNEY, ALICE J             1007 CHARLESGATE CIR                                                                          EAST AMHERST    NY   14051‐1293
RANNEY, CHARLES A           200 E 400 S                                                                                   LEBANON         IN   46052‐9750
RANNEY, DALE H              714 LABADIE CT                                                                                ROCHESTER HLS   MI   48307‐2428
RANNEY, DELMAR L            574 LONG POND RD                                                                              ROCHESTER       NY   14612‐3041
RANNEY, IVAN H              2371 SE US HWY 31              LOT 32                                                         ARCADIA         FL   34266‐7965
RANNEY, IVAN H              2371 SE HIGHWAY 31 LOT 32                                                                     ARCADIA         FL   34266‐7965
RANNEY, MILDRED B           574 LONG POND RD                                                                              ROCHESTER       NY   14612‐3041
RANNEY, REBECCA J           11274 OAK RD                                                                                  OTISVILLE       MI   48463‐9724
RANNEY, RICHARD H           4120 BRANHAM RD                                                                               NATIONAL CITY   MI   48748‐9556
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Name                        Address1                         Address2                         Address3                  Address4                  City               State Zip
RANNEY, ROBERT L            4664 MILES DR                                                                                                         HOLT                MI 48842‐1541
RANNEY, ROGER E             951 N WILDER RD                                                                                                       LAPEER              MI 48446‐3436
RANNEY, ROY C               PO BOX 2                                                                                                              LOCKPORT            NY 14095‐0002
RANNEY, SANDRA K            1549 W RIDGEVIEW DR                                                                                                   LAPEER              MI 48446‐1473
RANNEY, TIMOTHY H           501 PROSPECT AVE APT 10                                                                                               LOCK HAVEN          PA 17745‐8335
RANNEY, WILLIAM A           866 WOODLAWN DR                                                                                                       COLUMBIAVILLE       MI 48421‐9607
RANNO, JOHN J               PO BOX 448                                                                                                            COLUMBIA            CT 06237
RANNOW RICHARD T (300534)   BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                                                       JACKSONVILLE        FL 32202
                            MCCLAMMA & YEGELWEL P.A.         BAY STREET
RANNOW, RICHARD             BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG, 233 EAST                                                        JACKSONVILLE        FL   32202
                            MCCLAMMA & YEGELWEL P.A.         BAY STREET
RANNY L SAGE JR             8120 LITTLE RICHMOND RD                                                                                               TROTWOOD           OH    45426
RANNY NUNLEY                3146 HILLVIEW DR                                                                                                      METAMORA           MI    48455‐8509
RANNY RUSSELL               412 FAIRVIEW AVE                                                                                                      TIPTON             IN    46072‐2057
RANOL D MANIS               2402 ST CHARLES ST                                                                                                    DAYTON             OH    45410‐2719
RANOL MANIS                 2402 SAINT CHARLES AVE                                                                                                DAYTON             OH    45410‐2719
RANONI, GEORGE P            307 ROSELAND DR                                                                                                       CANTON             MI    48187‐3952
RANOTOR UTVECKLINGS AB      TILSKOGSVAGEN 15                                                                            SIGTUNA SE 19340 SWEDEN
RANOUR, MAURICE A           GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                                           EDWARDSVILLE        IL   62025‐0959
                            ANTOGNOLI
RANOUS, CLARA H             420 PENFIELD RD                                                                                                       ROCHESTER          NY    14625‐2045
RANOUS, EDWIN E             84 KENDALL MILLS RD                                                                                                   HOLLEY             NY    14470‐9206
RANOWSKI, ROSE A            4305 CHEYENNE AVE                                                                                                     FLINT              MI    48507‐2823
RANPAK CORP                 8023 CRILE RD                                                                                                         PAINESVILLE        OH    44077‐9180
RANPAK CORP                 NED BURRY                                                                                                                                OH    44077
RANQUE INDOSUEZ             RICHARD STEIN                    1230 AVENUE OF THE AMERICAS      ROCKAFELLER CENTER, 4TH                             NEW YORK           NY    10020
                                                                                              FLOOR
RANQUE INDOSUEZ
RANSAW, ANNIE H             6090 DUNBRITAN LN                                                                                                     COLLEGE PARK       GA    30349‐4308
RANSBOTTOM, KATHLEEN L      514 SANTA FE BLVD                                                                                                     KOKOMO             IN    46901‐4059
RANSBURG JR, ROBERT L       9908 E 84TH ST                                                                                                        RAYTOWN            MO    64138‐3393
RANSBURG, ANNETTE           941 OLD JACKSON RD                                                                                                    CANTON             MS    39046‐9034
RANSBURG, ANNIE R           947 OLD JACKSON RD                                                                                                    CANTON             MS    39046‐9034
RANSBURG, MILTON            947 OLD JACKSON RD                                                                                                    CANTON             MS    39046‐9034
RANSBY, OTIS                2465 UNION RD SW                                                                                                      ATLANTA            GA    30331‐2700
RANSCO IND/OXNARD           1400 STATHAM PKWY                                                                                                     OXNARD             CA    93033‐3918
RANSDELL, AARON D           63 CARRIAGE LAKE DR                                                                                                   BROWNSBURG         IN    46112‐8065
RANSDELL, MICHAEL W         31838 DAY LILY DR                                                                                                     ROCKWOOD           MI    48173‐8769
RANSDELL, NELLIE K          6006 W 25TH ST APT 1027                                                                                               SPEEDWAY           IN    46224‐3631
RANSDELL, NELLIE K          6006 W. 25TH ST APT 1027                                                                                              SPEEDWAY           IN    46224‐3631
RANSDELL, PHILIP J          30955 HUNTSMAN DR W                                                                                                   FARMINGTON HILLS   MI    48331‐1399
RANSDELL, PHILIP J          2678 MCLEMORE RD                                                                                                      FRANKLIN           TN    37064‐1128
RANSDELL, ROBERT R          5060 CASTLEVIEW CT                                                                                                    DAYTON             OH    45424‐2535
RANSDELL, THEODORE N        252 TOPAZ CIR                                                                                                         CANFIELD           OH    44406‐9676
RANSEL JAMES M (468048)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                           BALTIMORE          MD    21202
                                                             CHARLES CENTER 22ND FLOOR
RANSEL, JAMES M             ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                                            BALTIMORE          MD 21202
                                                             CHARLES CENTER 22ND FLOOR
RANSELL MILLER JR           5811 MAYBURN BARCLAY RD                                                                                               FARMDALE           OH    44417‐9744
RANSEY, AUDREY L            6136 APPLEGATE DR                                                                                                     TOLEDO             OH    43615‐2543
RANSEY, MILTON              6136 APPLEGATE DR                                                                                                     TOLEDO             OH    43615‐2543
RANSFORD A NEMBHARD         1523 ELMHURST CIR SE                                                                                                  PALM BAY           FL    32909‐8833
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Name                                Address1                        Address2                      Address3   Address4         City            State Zip
RANSFORD NEMBHARD                   1523 ELMHURST CIR SE                                                                      PALM BAY         FL 32909‐8833
RANSFORD, ANTHONY L                 4620 SE 37TH ST                                                                           DEL CITY         OK 73115‐3662
RANSFORD, ANTHONY LEWIS             4620 SE 37TH ST                                                                           DEL CITY         OK 73115‐3662
RANSFORD, GARY D                    12 SPRING FAWN LN                                                                         SAINT PETERS     MO 63376‐4233
RANSHAW, CARL A                     3722 LUKENS RD                                                                            GROVE CITY       OH 43123‐8804
RANSHAW, CARL A                     3529 NUGGET DR                                                                            BOWLING GREEN    KY 42104‐7439
RANSHAW, DUANE A                    1420 17 MILE RD                                                                           REMUS            MI 49340‐9566
RANSHAW, JEAN                       G4233 W COURT ST APT 2                                                                    FLINT            MI 48532
RANSHAW, LYLE F                     5086 E CENTERLINE RD                                                                      SAINT JOHNS      MI 48879‐9155
RANSHAW, RICHARD C                  5576 EUGENE DR                                                                            DIMONDALE        MI 48821‐9724
RANSHAW, RONALD R                   PO BOX 74                                                                                 CHIPPEWA LAKE    MI 49320‐0074
RANSHAW, ROSELLA                    145 N MILWAUKEE AVE APT 1010                                                              VERNON HILLS      IL 60061‐4174
RANSHAW, ROSELLA                    145 NORTH MILWAUKEE AVENUE      APT# 1010                                                 VERNON HILLS      IL 60061
RANSHELL'S AUTOMOTIVE TIRE CENTER   13901 S BURNHAM AVE                                                                       BURNHAM           IL 60633‐1604

RANSKI, TERESA                      26 E 51ST ST                                                                              BAYONNE         NJ   07002‐4117
RANSKI, TERESA                      26 EAST 51ST STREET                                                                       BAYONNE         NJ   07002‐4117
RANSLEM, WAYNE F                    206 NE 126TH AVE APT 39                                                                   VANCOUVER       WA   98684
RANSOHOFF INC                       4933 PROVIDENT DR                                                                         CINCINNATI      OH   45246‐1020
RANSOHOFF/CINCINNATI                4933 PROVIDENCE DRIVE                                                                     CINCINNATI      OH   45246
RANSOHOFF/HAMILTON                  NORTH 5TH AT FORD BLVD.                                                                   HAMILTON        OH   45011
RANSOM COCHRAN JR                   PO BOX 310355                                                                             FLINT           MI   48531‐0355
RANSOM ENVIRONMENTAL                2127 HAMILTON AVE                                                                         HAMILTON        NJ   08619‐3610
RANSOM GAINES                       1757 RADCLIFF RD                                                                          DAYTON          OH   45406‐4920
RANSOM GENE                         319 ANDERSON STREET NORTHEAST                                                             LAKE PLACID     FL   33852‐6039
RANSOM HAGER                        9485 HOGAN RD                                                                             FENTON          MI   48430‐9380
RANSOM JAMES L (342259)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                    STREET, SUITE 600
RANSOM JONES                        PO BOX 16                                                                                 EMLYN           KY   40730‐0016
RANSOM JR STEWART L                 6323 ROBISON LN                                                                           SALINE          MI   48176‐9248
RANSOM JR, BENNIE M                 3308 WILKERSON DR                                                                         GAINESVILLE     GA   30506‐4422
RANSOM JR, DAVID                    5945 BUCHER RD                                                                            WHITEHOUSE      OH   43571‐9542
RANSOM JR, JOHN T                   2700 EATON RAPIDS RD LOT 111                                                              LANSING         MI   48911‐6318
RANSOM JR, JOHN THOMAS              2700 EATON RAPIDS RD LOT 111                                                              LANSING         MI   48911‐6318
RANSOM JR, STEWART L                6323 ROBISON LN                                                                           SALINE          MI   48176‐9248
RANSOM KAMPER                       17 STABLESTONE DR                                                                         UNION           MO   63084‐4415
RANSOM MEADE                        23824 RAVEN AVE                                                                           EASTPOINTE      MI   48021‐3446
RANSOM MEADE JR                     48431 NEWCASTLE CT                                                                        SHELBY TWP      MI   48315‐4287
RANSOM PIPES                        3200 PIPES LANE                                                                           LIBERTY         MS   39645
RANSOM SLONE                        PO BOX 174                      LITTLEDOTY BR                                             DEMA            KY   41859
RANSOM SR, VERNON R                 803 S MAIN ST                                                                             FRANKLIN        OH   45005‐2730
RANSOM SR, VERNON R                 803 S. MAIN ST.                                                                           FRANKLIN        OH   45005‐2730
RANSOM, ANGELINE L                  PO BOX 470724                                                                             CHARLOTTE       NC   28247‐0724
RANSOM, CALEB L
RANSOM, CAROLYN A                   13147 GREYWOLF LN                                                                         COVINGTON       GA   30014
RANSOM, CAROLYN E                   2331 ALLERTON RD                                                                          AUBURN HILLS    MI   48326‐2507
RANSOM, CHARLES E                   4831 SUGARTREE DR                                                                         DAYTON          OH   45414‐4725
RANSOM, CORDELL                     SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST      MS   39083‐3007
RANSOM, DANIEL W                    605 S 7TH ST                                                                              DELAVAN         WI   53115‐2328
RANSOM, DAVID L                     5094 DELAND RD                                                                            FLUSHING        MI   48433‐1308
RANSOM, DEBORAH                     1300 E 16TH ST                                                                            FOWLER          IN   47944‐8616
RANSOM, DEMARIO                     20559 E HAMILTON CIR                                                                      AURORA          CO   80013‐8971
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Name                    Address1                             Address2                      Address3   Address4               City               State Zip
RANSOM, DENVER P        3609 E GILBERT ST                                                                                    MUNCIE              IN 47303‐4384
RANSOM, DERREOUS D      4 RUSHMORE LN                                                                                        STAFFORD            VA 22554
RANSOM, DONNA L         361 E VERMONTVILLE HWY                                                                               CHARLOTTE           MI 48813‐8621
RANSOM, E J             28460 WESTLAKE VILLAGE DR APT D102                                                                   WESTLAKE            OH 44145‐6722
RANSOM, ELIZABETH A     PO BOX 447                           MALLORY HOLLOW ROAD                                             MALLORY             WV 25634
RANSOM, ERIC R          1027 SHERIDAN ST                     C/O ELAINE MURPHY                                               DETROIT             MI 48214‐2405
RANSOM, EUNICE          332 CENTRAL ST                                                                                       INKSTER             MI 48141‐1193
RANSOM, EVADNA O        1164 N DR ML KING JR ST 702                                                                          NATCHEZ             MS 39120
RANSOM, EVELYN          20032 SORRENTO ST                                                                                    DETROIT             MI 48235‐1193
RANSOM, FRED W          2760 6 MILE RD NW                                                                                    COMSTOCK PARK       MI 49321‐9737
RANSOM, G M             38 BOBRICH DR APT 3                                                                                  ROCHESTER           NY 14610
RANSOM, HAROLD E        2857 SULPHUR SPRINGS RD                                                                              INWOOD              WV 25428‐3509
RANSOM, HELEN M         459 DENNEY CEMETARY ROAD                                                                             BIDWELL             OH 45614
RANSOM, HENDERSON E     RT 1 BOX 332                                                                                         CARDWELL            MO 63829‐9764
RANSOM, HERBERT L       2046 LOCKBOURNE RD                   C/O KIDNEY CENTRE COLUMBUS                                      COLUMBUS            OH 43207‐1462
                                                             SOUTH
RANSOM, HERSE           PORTER & MALOUF PA                   4670 MCWILLIE DR                                                JACKSON            MS 39206‐5621
RANSOM, IVAN M          454 RIVER RD                                                                                         HOGANSBURG         NY 13655‐2141
RANSOM, JAMES L         GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
RANSOM, JEFFREY P       14 OLDE PRESTWICK WAY                                                                                PENFIELD           NY   14526
RANSOM, JERRY LOUIS     SHANNON LAW FIRM                     100 W GALLATIN ST                                               HAZLEHURST         MS   39083‐3007
RANSOM, JERRY W         36629 GROVE ST                                                                                       LIVONIA            MI   48154‐1623
RANSOM, JOY A           2183 ANTRIM DR                                                                                       DAVISON            MI   48423‐8438
RANSOM, JOY ANN         2183 ANTRIM DR                                                                                       DAVISON            MI   48423‐8438
RANSOM, KATHY M         701 HURON ST                                                                                         FLINT              MI   48507‐2550
RANSOM, KATHY M.        701 HURON ST                                                                                         FLINT              MI   48507‐2550
RANSOM, KENNETH         2324 PEACH ST REAR 2ND FLR                                                                           ERIE               PA   16502‐2846
RANSOM, KENNETH         125 SW CAMPUS DR APT 15 306                                                                          FEDERAL WAY        WA   98023‐8357
RANSOM, KRISTIN M       6203 N EAGLE RD                                                                                      JANESVILLE         WI   53548‐8600
RANSOM, LANCE T         253 WOODVIEW DR                                                               ESSEX ON CANADA N8M‐
                                                                                                      3E8
RANSOM, LARRY P         4350 EMMAUS RD                                                                                       FRUITLAND PARK     FL   34731‐5917
RANSOM, LINK            119 ILLINOIS CIR                                                                                     ELYRIA             OH   44035‐7226
RANSOM, LIZELLE         23429 ANN ARBOR TRL                                                                                  DEARBORN HEIGHTS   MI   48127‐1572
RANSOM, LOUIS A         155 AMETHYST CIR                                                                                     GARDENA            CA   90248‐3374
RANSOM, MICHELLE D      34 RANSOM RD                                                                                         HOGANSBURG         NY   13655‐3129
RANSOM, PERRY H         701 HURON ST                                                                                         FLINT              MI   48507‐2550
RANSOM, PERRY HERMAN    701 HURON ST                                                                                         FLINT              MI   48507‐2550
RANSOM, RAY M           3543 CRICKLEWOOD ST # B                                                                              TORRANCE           CA   90505‐6624
RANSOM, RICHARD D       98 CAIN ROAD                                                                                         SOMERVILLE         AL   35670‐4704
RANSOM, RICHARD N       8835 ROSS RD                                                                                         LEXINGTON          OH   44904‐9414
RANSOM, ROBERT D        32 N JEFFERSON ST                                                                                    NAMPA              ID   83651‐7628
RANSOM, RUTH L          321 E 2ND ST                                                                                         XENIA              OH   45385‐3421
RANSOM, RYAN C
RANSOM, SHAWN M         4145 DEMOREST COVE CT                                                                                GROVE CITY         OH   43123‐1087
RANSOM, SHEILA C        PO BOX 275                                                                                           GOOD HOPE          GA   30641‐0275
RANSOM, SHEILA COOPER   PO BOX 275                                                                                           GOOD HOPE          GA   30641‐0275
RANSOM, SIGNA Y         301 PARKINSON AVE                                                                                    TRENTON            NJ   08610‐5411
RANSOM, STEVEN D        2116 WARREN AVE                                                                                      DOWNERS GROVE      IL   60515‐3223
RANSOM, STEWART D       6323 ROBISON LN                                                                                      SALINE             MI   48176‐9248
RANSOM, SUSAN E         PO BOX 15691                                                                                         SACRAMENTO         CA   95852‐0691
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Name                              Address1                         Address2                      Address3               Address4         City            State Zip
RANSOM, SUSAN R                   3308 WILKERSON DR                                                                                      GAINESVILLE      GA 30506‐4422
RANSOM, TIMOTHY J                 6879 DIXIE HWY                                                                                         BRIDGEPORT       MI 48722‐9759
RANSOM, VALINA C                  15216 FAIRMOUNT                                                                                        DETROIT          MI 48205
RANSOM, VIOLET                    6134 MINOSA SE                                                                                         KEENTWOOD        MI 49548‐6824
RANSOM, VIOLET                    6134 MINOSA DR SE                                                                                      KENTWOOD         MI 49548‐6824
RANSOM, WILLIAM R                 362 POPP AVE                                                                                           SELLERSBURG      IN 47172‐1633
RANSOM, WILLIAM T                 193 DALY RD                                                                                            MASSENA          NY 13662‐3302
RANSOM, WILLIAM T                 3780 WOODLANE RD                                                                                       GAINESVILLE      GA 30506‐2031
RANSOM, WILLIAM TERRY             3780 WOODLANE RD                                                                                       GAINESVILLE      GA 30506‐2031
RANSOM, WILLIAM TODD              193 DALY RD                                                                                            MASSENA          NY 13662‐3302
RANSOM, WILLIE J                  1350 JEFF ST                                                                                           YPSILANTI        MI 48198‐6243
RANSOME, CALVIN                   PO BOX 91                                                                                              NEWELLTON        LA 71357‐0091
RANSOME, MARK V                   504 ROBINSON RD                                                                                        CARNEYS POINT    NJ 08069‐2574
RANSOME, WILLIE A                 PO BOX 4728                                                                                            AUSTINTOWN       OH 44515‐0728
RANSON PEGGY                      1115 WILDWOOD CT                                                                                       MARION           IN 46952‐1222
RANSON, GARY L                    5307 PALEO PINES CIR                                                                                   FORT PIERCE      FL 34951‐2386
RANSON, ROBERTA F                 P.O. BOX 18123                                                                                         INDIANAPOLIS     IN 46218‐0123
RANSPACH, CHARLES R               6139 SANCTUARY POINTE DR                                                                               GRAND BLANC      MI 48439‐9030
RANSPACH, SHIRLEY A               5137 GERALD ST                                                                                         WARREN           MI 48092‐3411
RANTA, JOSEPH W                   E5326 AIRPORT RD                                                                                       IRONWOOD         MI 49938‐9519
RANTA, JUDITH A                   46924 BARTLETT DR                                                                                      CANTON           MI 48187‐1409
RANTA, MARVIN                     20227 MILBURN ST                                                                                       LIVONIA          MI 48152‐1618
RANTA, NINA L                     15427 DELAWARE AVE                                                                                     REDFORD          MI 48239‐3973
RANTA, RICHARD M                  16967 CENTRALIA                                                                                        REDFORD          MI 48240‐2469
RANTA, ROBERT W                   12284 WINDSOR BEACH DR                                                                                 FENTON           MI 48430‐9728
RANTA, THOMAS J                   46924 BARTLETT DR                                                                                      CANTON           MI 48187‐1409
RANTA, THOMAS JAMES               46924 BARTLETT DR                                                                                      CANTON           MI 48187‐1409
RANTALA JR, CHARLES W             6123 GORDON RD                                                                                         WATERFORD        MI 48327‐1740
RANTALA JR,CHARLES W              6123 GORDON RD                                                                                         WATERFORD        MI 48327‐1740
RANTALA, CHARLES W                1417 13TH ST S                                                                                         VIRGINIA         MN 55792‐3342
RANTANEN, JAMES M                 14691 N 97TH ST                                                                                        SCOTTSDALE       AZ 85260‐3815
RANTILLA, RICHARD R               38 STRATFORD DR                                                                                        BLUFFTON         SC 29909‐4648
RANTOUL PRODUCTS ‐ PLANT #3       KIM HARRIS                       COLLINS AND AIKMAN            735 PACESETTER DRIVE                    ROSCOMMON        MI 48653
RANTOUL PRODUCTS ‐ PLANT #3       KIM HARRIS                       735 PACESETTER DR             COLLINS AND AIKMAN                      RANTOUL           IL 61866‐3659
RANTTILA KRISTINA M               GHAFARI ESQ, LLC
RANTTILA KRISTINA M               RANTTILA, KRISTINA M
RANTTILA KRISTINA M               WINSLOW, GARY
RANTTILA, EDWARD G                826 BONNIE BRAE AVE NE                                                                                 WARREN          OH   44483‐5241
RANTTILA, MICHAEL C               117 VINE TREE PL                                                                                       CORTLAND        OH   44410‐1663
RANTTILA, WILLIAM A               7 NAVAJO TRL                                                                                           GIRARD          OH   44420‐3607
RANTZ AUTO CENTER                 1941 COLORADO BLVD                                                                                     EAGLE ROCK      CA   90041‐1236
RANURO, ADA M                     721 HAMILTON AVE                                                                                       RIDGEFIELD      NJ   07657‐2615
RANVILLE BERNARD ALTON (429658)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA   23510
                                                                   STREET, SUITE 600
RANVILLE, BERNARD ALTON           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                           NORFOLK         VA 23510‐2212
                                                                   STREET, SUITE 600
RANVILLE, DONALD R                3802 S BAY BLUFFS DR                                                                                   CEDAR           MI   49621‐9668
RANVILLE, JOANNE L                1102 DEER CREEK TRL                                                                                    GRAND BLANC     MI   48439‐9262
RANVILLE, KARLYN J                2137 MAXWELL RD                                                                                        PETOSKEY        MI   49770‐8852
RANVILLE, MARK A                  9346 VARODELL DR                                                                                       DAVISON         MI   48423‐8608
RANVILLE, RAYMOND M               4151 WHISPERING OAK DR                                                                                 FLINT           MI   48507‐5513
RANVILLE, STEPHEN J               PO BOX 508                                                                                             CADILLAC        MI   49601‐0508
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Name                      Address1                        Address2                      Address3                  Address4         City               State Zip
RANVILLE, TIMOTHY         3401 W WILSON RD                                                                                         CLIO                MI 48420‐1955
RANVILLE, TIMOTHY J       3323 PENCOMBE PL                                                                                         FLINT               MI 48503‐2337
RANYAK, JOSEPH            3648 GRAY ST                                                                                             MUSCOY              CA 92407‐6152
RANZ MOTOR CO., INC.      1401 W BEECH ST                                                                                          CHANUTE             KS 66720
RANZ MOTOR CO., INC.      EDWARD RANZ                     1401 W BEECH ST                                                          CHANUTE             KS 66720
RANZAU, DONALD F          PO BOX 173                                                                                               RDGVILLE CORS       OH 43555‐0173
RANZENBACH JR, ALFRED B   90 SANDY BROOK DR                                                                                        HAMLIN              NY 14464‐9106
RANZENBACH, ELSIE B       279 COLE AVE                                                                                             ROCHESTER           NY 14606‐3806
RANZENBACH, KAREN L       518 MAIDEN LN                                                                                            ROCHESTER           NY 14616‐4147
RANZILLA, CYNTHIA A       124 W 60TH ST APT 34A                                                                                    NEW YORK            NY 10023‐7469
RANZINGER, LUCILLE A      17738 DEVONSHIRE ST UNIT 2                                                                               NORTHRIDGE          CA 91325‐1245
RANZY, KEITH T            14816 HALLAUER RD                                                                                        OBERLIN             OH 44074‐9717
RANZY, LOUISE             PO BOX 392                                                                                               OBERLIN             OH 44074‐0392
RAO CHALASANI             PO BOX 9022                     C/O G.M. BANGALORE                                                       WARREN              MI 48090‐9022
RAO L, PRASANNA D         2715 WILD LILAC DRIVE                                                                                    PEARLAND            TX 77584‐3758
RAO UPENDRA               APT 341                         125 SOUTH STREET                                                         VERNON ROCKVL       CT 06066‐4468
RAO VENKAT                5744 BELLAZA DR                                                                                          PLEASANTON          CA 94588
RAO YUANQIAO              108 MAJESTIC OAK CIR                                                                                     LAKE JACKSON        TX 77566‐5771
RAO, ANITA B              1870 WALNUT DR                                                                                           MOUNTAIN VIEW       CA 94040‐4004
RAO, ARVIND M.            320 BONNIE BRAE AVE                                                                                      ROCHESTER           NY 14618‐2135
RAO, J R                  7395 BRITTS BND W                                                                                        NEW ALBANY          OH 43054‐9141
RAO, JOHN                 ATTN LYNNE KIZIS ESQ            WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER DR                    WOODBRIDGE          NJ 07095

RAO, M K R                5238 CHAMBLEE DUNWOODY RD                                                                                DUNWOODY           GA   30338‐4839
RAO, MD                   DEPT CH # 17931                                                                                          PALATINE           IL   60055‐0001
RAO, MICHELLE             32200 ARLINGTON DR                                                                                       BEVERLY HILLS      MI   48025‐4216
RAO, MICHELLE C           32200 ARLINGTON DR                                                                                       BEVERLY HILLS      MI   48025‐4216
RAO, MRUTYUNJAYA          7705 CAVENDISH PL                                                                                        SUWANEE            GA   30024‐6107
RAO, RONALD A             1046 MOONGLOW RD                                                                                         HUDSON             WI   54016‐7322
RAO, SANTUI               18166 GLEN CAIRN WAY                                                                                     STRONGSVILLE       OH   44149‐6792
RAO, SRIHARI R            786 RED RUN DR                                                                                           TROY               MI   48085‐1353
RAO, SRINIVAS             887 TEN POINT DR                                                                                         ROCHESTER HILLS    MI   48309‐2584
RAO, STELLA K             154 MECHANIC ST                                                                                          FORESTVILLE        CT   06010‐5429
RAO, STEPHEN R            32200 ARLINGTON DR                                                                                       BEVERLY HILLS      MI   48025‐4216
RAO, SUDHIR P             1706 SE 33RD ST                                                                                          OCALA              FL   34471‐6783
RAO, SUDHIR PUSKUR        1706 SOUTHEAST 33RD STREET                                                                               OCALA              FL   34471‐6783
RAO,MRUTYUNJAYA           29302 STILLWATER                                                                                         FARMINGTON HILLS   MI   48334‐4005
RAO,SRINIVAS              887 TEN POINT DR                                                                                         ROCHESTER HILLS    MI   48309‐2584
RAONA, GARY L             2022 GUTHRIE AVE                                                                                         ROYAL OAK          MI   48067‐3548
RAONA, GARY L.            2022 GUTHRIE AVE                                                                                         ROYAL OAK          MI   48067‐3548
RAOOFI, DEE A             16453 COLLINGHAM DR                                                                                      DETROIT            MI   48205‐1507
RAOUL BECNEL              311 HAYNES AVE                                                                                           SHREVEPORT         LA   71105‐3821
RAOUL GOMEZ               10590 260TH ST                                                                                           BLANCHARD          OK   73010‐3219
RAOUL MENDEZ              4123 SANDOVAL AVE                                                                                        PICO RIVERA        CA   90660‐1550
RAOUL RAULD               56 GULF WINDS DR                                                                                         PALM HARBOR        FL   34683
RAP AUTOMOTIVE            2602 LINCOLNWAY E                                                                                        GOSHEN             IN   46526‐7304
RAPA JR, EDWARD A         4031 LOTUS DR                                                                                            WATERFORD          MI   48329‐1228
RAPA, JOHN                1472 WASHINGTON ST                                                                                       BATH               ME   04530‐2923
RAPA, LINDA J             1610 CORK CT                                                                                             HAZELWOOD          MO   63042‐1627
RAPA, LINDA JOAN          1610 CORK CT                                                                                             HAZELWOOD          MO   63042‐1627
RAPACH, PAUL E            8008 FARM CROSSING CIR                                                                                   POWELL             OH   43065‐7121
RAPACHIETTA, CAROL J      1020 OAK TRAIL CIRCLE                                                                                    CONCORD            NC   28025‐1506
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Name                                Address1                       Address2                        Address3   Address4         City               State Zip
RAPACIOLI, NORMA                    DURST LAW FIRM PC              319 BROADWAY                                                NEW YORK            NY 10007
RAPACIOLI, QUINTO                   DURST LAW FIRM PC              319 BROADWAY                                                NEW YORK            NY 10007
RAPADAS, MELING R                   PO BOX 26                                                                                  LAPEER              MI 48446‐0026
RAPAGNA, HARRY A                    31180 SHANNON DR                                                                           LACOMBE             LA 70445‐2806
RAPAILLE DR                         RAPAILLE, DR
RAPALA, MARGARET L                  635 E LAVERNE DR                                                                           OAK CREEK          WI 53154‐3028
RAPAPORT, PINKHAS A                 1601 SCRIBNER RD                                                                           PENFIELD           NY 14526‐9752
RAPAPORT, POLLOK, FARRELL &         PO BOX 24127                                                                               LANSING            MI 48909‐4127
WALDRON, P.C
RAPASI, JILL A                      2703 LIGGETT DR                                                                            PARMA              OH   44134‐2603
RAPASI, JILL ANN                    2703 LIGGETT DR                                                                            PARMA              OH   44134‐2603
RAPASKY, JOHN W                     6707 ORCHARD BLVD                                                                          CLEVELAND          OH   44130‐4228
RAPCAN, DALE E                      1505 CLYDE DR                                                                              NAPERVILLE         IL   60565
RAPCIEWICZ, CARL A                  16 SWEETBRIAR LN                                                                           BORDENTOWN         NJ   08505‐2738
RAPCIEWICZ, MARIETTA M              844 FRANKLIN ST                                                                            TRENTON            NJ   08610‐6114
RAPCIEWICZ, ROBERT L                104 WHISPER CT                                                                             BURLINGTON         NJ   08016‐4273
RAPCIEWICZ, STANLEY                 6045 YORKRIDGE DR                                                                          ALPHARETTA         GA   30005‐8399
RAPCZYNSKI, DEANNA P                33 ANDERSON AVE                                                                            BELLMAWR           NJ   08031‐1102
RAPELJE, JOHN A                     13672 N WESTERN RD                                                                         CAMBY              IN   46113‐8495
RAPELJE, PRESTON C                  1436 WICKHAM DR                                                                            LANSING            MI   48906‐5586
RAPELJE, ROY ALAN                   1610 SHERBROOK RD                                                                          LANSING            MI   48906‐1370
RAPELJE, VIVIAN L                   5030 STAFFORD AVE                                                                          LANSING            MI   48910‐5347
RAPER ALVIN (447161)                BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                   PROFESSIONAL BLDG
RAPER DEBORAH                       295 OLD ATHENS RD                                                                          MADISONVILLE       TN   37354‐6166
RAPER LANNY                         32130 BLOCK ST                                                                             GARDEN CITY        MI   48135‐1503
RAPER, DALE T                       22 HIGH ST                                                                                 LOGAN              WV   25601‐3506
RAPER, DANNY H                      3419 NOAHS ARK RD                                                                          JONESBORO          GA   30236‐5512
RAPER, DARLENE                      11936 NORTH MELANIE DRIVE                                                                  ALEXANDRIA         IN   46001‐9099
RAPER, DARLENE                      11936 N MELANIE DR                                                                         ALEXANDRIA         IN   46001
RAPER, DAVID K                      4508 E 200 S TRLR 478                                                                      KOKOMO             IN   46902‐8200
RAPER, ELEANOR L                    910 MAPLE ST                                                                               MIDDLETOWN         IN   47356‐1253
RAPER, GARRY D                      905 BEVERLY ST NE                                                                          HARTSELLE          AL   35640‐1633
RAPER, GERALDINE                    15266 COLLEGE AVE                                                                          ALLEN PARK         MI   48101‐3536
RAPER, GERALDINE                    15266 COLLEGE STREET                                                                       ALLEN PARK         MI   48101‐3536
RAPER, JACK INDUSTRIAL SUPPLY INC   145 W 14TH ST                  PO BOX 2189                                                 ANDERSON           IN   46016‐1635
RAPER, JAMES R                      3218 E 6TH ST                                                                              ANDERSON           IN   46012‐3828
RAPER, JOHN W                       5943 SAINT JOHN DR 61                                                                      ALEXANDRIA         VA   22310
RAPER, LANNY A                      32130 BLOCK ST                                                                             GARDEN CITY        MI   48135‐1503
RAPER, MARION E                     14320 SE 85TH AVE                                                                          SUMMERFIELD        FL   34491‐9381
RAPER, MARJORIE                     1144 SUGAR PINE DR                                                                         ANDERSON           IN   46012‐5501
RAPER, MARVIN L                     7065 HUNTERS RIDGE DR                                                                      PLAINFIELD         IN   46168‐7920
RAPER, MICHAEL                      2237 DRAPER AVE                                                                            YPSILANTI          MI   48197‐4311
RAPER, PAUL Q                       3585 SPRING DR                                                                             DORAVILLE          GA   30360‐2426
RAPER, R W                          24921 MUIRLANDS BLVD SPC 273                                                               LAKE FOREST        CA   92630‐4832
RAPER, TOMMY F                      1256 OLD TELLICO HIGHWAY                                                                   MADISONVILLE       TN   37354
RAPERT, JACKIE R                    7 CALUMET MEADOWS CT                                                                       SAINT PETERS       MO   63376‐3786
RAPESHOVSKI, RISTO P                125 MANDARIN DR                                                                            ROCHESTER          NY   14626‐3853
RAPETTI, OSVALDO E                  5125 W TOTHILL CIR                                                                         STERLING HEIGHTS   MI   48310‐7214
RAPEZZI, CYRIL J                    8661 N FERNWOOD CT                                                                         WASHINGTON         MI   48094‐1552
RAPHAEL AGNEW                       182 AVERILL BLVD                                                                           FRANKLIN SQUARE    NY   11010
RAPHAEL ANDONACH JR                 3001 STATE ROUTE 97                                                                        BUTLER             OH   44822‐9797
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Name                             Address1                         Address2                      Address3   Address4         City                  State Zip
RAPHAEL BANKS                    5022 SPRING WELL LN                                                                        GRAND BLANC            MI 48439‐4236
RAPHAEL BUDNICK                  5755 YORKSHIRE DR                WEDGEWOOD MANOR                                           ZEPHYRHILLS            FL 33542‐7970
RAPHAEL CONSULTING INC           115 S WHITEHALL RD                                                                         NORRISTOWN             PA 19403‐3342
RAPHAEL CURTIS                   1402 GROTON CT                                                                             MIDLOTHIAN             VA 23114‐3254
RAPHAEL GRILLS                   538 VENICE CT                                                                              BAY CITY               MI 48708‐6966
RAPHAEL JACQUES                  RAPHAEL, JACQUES                 1234 MARKET ST STE 2040                                   PHILADELPHIA           PA 19107‐3720
RAPHAEL JR, THOMAS               170 SLOBODA AVE                                                                            MANSFIELD              OH 44906‐1351
RAPHAEL KLAHR                    MELLER STR. 154                  49082 OSNABR▄CK
RAPHAEL NORMAN                   C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                 HOUSTON                TX   77007
                                 BOUNDAS LLP
RAPHAEL SMITH                    80 UPLAND RD                                                                               YORKTOWN HEIGHTS      NY    10598‐4319
RAPHAEL SMITH                    35179 NORTHMONT DR                                                                         FARMINGTON HILLS      MI    48331‐2642
RAPHAEL TRAMMELL                 55 S PLAZA                                                                                 DAYTON                OH    45417‐1805
RAPHAEL ZAMMIT                   4135 SANDY LN                                                                              BLOOMFIELD TOWNSHIP   MI    48301‐1644
RAPHAEL ZAPIEN                   302 NW 79TH TER                                                                            KANSAS CITY           MO    64118‐1421
RAPHAEL, ALAN R                  414 OPAL DR                                                                                MANSFIELD             OH    44907‐1474
RAPHAEL, EMMANUEL R              35018 VITO DR                                                                              STERLING HEIGHTS      MI    48310‐5000
RAPHAEL, ERIC L                  1344 BROOKWOOD ST                                                                          BIRMINGHAM            MI    48009‐1066
RAPHAEL, JACQUES                 LAW OFFICES OF DAVID GORBERG &   32 PARKING PLZ STE 700                                    ARDMORE               PA    19003‐2440
                                 ASSOCIATES
RAPHAEL, NAOMI                   BERNSTEIN LITOWITZ BERGER &      1285 AVENUE OF THE AMERICAS                               NEW YORK              NY 10019‐6028
                                 GROSSMANN
RAPHAELLA BIANCHINO              3047 TREMONT ST                                                                            PHILADELPHIA          PA    19136‐1110
RAPHAELS SCHOOL OF BEAUTY        2668 MAHONING AVE NW                                                                       WARREN                OH    44483‐2022
RAPHALEA A DERODRIQUEZ           14 GEORGE ST                                                                               FRAMINGHAM            MA    01702‐8711
RAPHDEL M NOLAN                  6213 DAYTON FARMERSVILLE RD                                                                DAYTON                OH    45418‐‐ 16
RAPHEAL MCKELLEY                 2026 HOWARD AVE                                                                            FLINT                 MI    48503‐4210
RAPHUHN, BRADLEY DAVID           7250 PEBBLE PL                                                                             GRAND LEDGE           MI    48837‐9126
RAPHUS LEWIS                     8187 DORCHESTER CT                                                                         GRAND BLANC           MI    48439‐8071
RAPID 2‐WAY INC                  6440 NORWALK RD STE E                                                                      MEDINA                OH    44256‐7152
RAPID AIR FREIGHT INC            11015 CLEVELAND AVE NW                                                                     UNIONTOWN             OH    44685
RAPID CHEVROLET CO INC           2090 DEADWOOD AVE N                                                                        RAPID CITY            SD    57702‐0344
RAPID CHEVROLET CO., INC.        2090 DEADWOOD AVE N                                                                        RAPID CITY            SD    57702‐0344
RAPID CHEVROLET CO., INC.        KEVIN RANDALL                    2090 DEADWOOD AVE N                                       RAPID CITY            SD    57702‐0344
RAPID CONTROL SERVICE INC        2479 28TH ST SW                                                                            GRAND RAPIDS          MI    49519‐2103
RAPID DELIVERY INC               1 COMMERCE WAY                   LONDON ONTARIO                                            NORWOOD               MA    02062‐4628
RAPID DELIVERY OF INDIANA INC    PO BOX 42326                                                                               INDIANAPOLIS          IN    46242‐0326
RAPID DELIVERY SERVICE           DIV OF RDS INC                   834 NORTHWEST 34TH ST                                     OKLAHOMA CITY         OK    73189
RAPID DES/GRAND BLAN             3089 TRI PARK DR                 P.O. BOX 237                                              GRAND BLANC           MI    48439‐7020
RAPID DESIGN SERVICE INC         PO BOX 2791                                                                                GRAND RAPIDS          MI    49501‐2791
RAPID DESIGN/DECATUR             445 MOULTON ST E                                                                           DECATUR               AL    35601‐3001
RAPID DESIGN/GR RAPD             14200 IRONWOOD DRIVE N.W.                                                                  GRAND RAPIDS          MI    49534
RAPID DIESEL                     1502 E CENTRE ST                                                                           RAPID CITY            SD    57703‐3000
RAPID EXPRESS                    PO BOX 3261                                                                                WINDSOR LOCKS         CT    06096‐3261
RAPID EXPRESS INC                RT 1 BOX 1510                                                                              DECATUR               AL    35603
RAPID FREIGHT RECOVERY           PO BOX 110281                                                                              NASHVILLE             TN    37222‐0281
RAPID FREIGHT SALES              1000 MAIN ST                     STE 208                                                   VOORHEES              NH    08043‐4633
RAPID GLOBAL BUSINESS SOLUTION   31791 SHERMAN AVE                                                                          MADISON HTS           MI    48071‐1428
RAPID GRAN/INDIANAPO             9336 STONEBRIDGE DR APT D                                                                  INDIANAPOLIS          IN    46240‐4543
RAPID INDUSTRIES INC             4003 OAKLAWN DR                  P.O.BOX 19259                                             LOUISVILLE            KY    40219‐2701
RAPID INDUSTRIES INC             4003 OAKLAWN DR                                                                            LOUISVILLE            KY    40219‐2701
RAPID LINE/GND RAPID             1475 GEZON PKWY SW                                                                         WYOMING               MI    49509
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Name                                  Address1                              Address2                       Address3   Address4                 City               State Zip
RAPID MAGAZINE INC.                   5920 PALMER RD                                                                  PALMER RAPIDS ON K0J 2E0
                                                                                                                      CANADA
RAPID METALS LLC                    6346 ORCHARD LAKE RD STE 102                                                                               WEST BLOOMFIELD     MI   48322‐2328
RAPID MOTORS INC.                   414 E OMAHA ST                                                                                             RAPID CITY          SD   57701‐1606
RAPID POWER CORPORATION             85 MEADOWLAND DR                                                                                           SOUTH BURLINGTON    VT   05403‐4401
RAPID PROTOTYPE CO INC              4141 N ATLANTIC BLVD                                                                                       AUBURN HILLS        MI   48326‐1570
RAPID PROTOTYPES INC
RAPID PROTOTYPING BETEILIGUNGS GMBH SEEBER FLUR 10                                                                    BAD KREUZNACH RP 55545
                                                                                                                      GERMANY
RAPID RESPONSE INC                    3343 HARLEM RD                                                                                           BUFFALO            NY    14225
RAPID SERVICE INC                     PO BOX 356                                                                                               GREER              SC    29652‐0356
RAPID SYSTEMS INC                     2900 COLE CT STE B                                                                                       NORCROSS           GA    30071‐5016
RAPID TRANSIT INC                     PO BOX 30563                                                                                             KNOXVILLE          TN    37930‐0563
RAPID TRANSPORT INC                   SHEILA MAYS                            3241 COUNTY FARM RD                                               JACKSON            MI    49201‐9024
RAPID TRUCKING                        50741 ELSEY ST                                                                                           NEW BALTIMORE      MI    48047‐1696
RAPID UNITED STEEL HAULERS INC        PO BOX 36                                                                                                CORTLAND           OH    44410‐0036
RAPID‐AMERICAN CORP.                  RUBIN BAUM LEVIN CONSTANT &            30 ROCKEFELLER PLAZA                                              NEW YORK           NY    10112
                                      FRIEDMAN
RAPID‐AMERICAN CORPORATION (336258) ‐ RUBIN BAUM LEVIN CONSTANT &            30 ROCKEFELLER PLAZA                                              NEW YORK            NY 10112
GREEN HARRY F                         FRIEDMAN
RAPID‐AMERICAN CORPORATION (336258) ‐ RUBIN BAUM LEVIN CONSTANT &            30 ROCKEFELLER PLAZA                                              NEW YORK            NY 10112
GREEN VIOLET                          FRIEDMAN
RAPIDES PARISH                        SHERIFFS DEPARTMENT                    PO BOX 1590                                                       ALEXANDRIA          LA   71309‐1590
RAPIDES PARISH SALES TAX              ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 671                                                        ALEXANDRIA          LA   71309‐0671

RAPIDES PARISH SALES TAX              PO BOX 671                                                                                               ALEXANDRIA          LA   71309‐0671
RAPIDES PARISH SALES TAX FUND         PO BOX 671                            SALES AND USE TAX DEPARTMENT                                       ALEXANDRIA          LA   71309‐0671

RAPIDFORM INC                         1185 BORDEAUX DR                      STE A                                                              SUNNYVALE          CA    94089‐1215
RAPIDFORMS                            PO BOX 88042                                                                                             CHICAGO            IL    60680‐1042
RAPIDIGM INC                          ATTN ACCOUNTS RECEIVABLE              24 SUMMIT PARK DR 100                                              PITTSBURGH         PA    15275‐1110
RAPIDS TRANSPORT INC                  3241 COUNTY FARM RD                                                                                      JACKSON            MI    49201‐9024
RAPIDS TUMBLE FINISH INC              ATTN: LOUANN LOOMIS                   1607 HULTS DR                                                      EATON RAPIDS       MI    48827‐9500
RAPIDS TUMBLE FINISH INC              1607 HULTS DR                                                                                            EATON RAPIDS       MI    48827‐9500
RAPIDS, KIM M                         23480 SHERMAN ST                                                                                         OAK PARK           MI    48237‐2340
RAPIER, CORA                          PO BOX 538                                                                                               WOODBINE           KY    40771‐0771
RAPIER, DEEDRU ANNE                   1004 W PARKWAY AVE                                                                                       KNOXVILLE          TN    37912‐3209
RAPIER, ELZIE                         154 BRAMLITT LN                                                                                          TIGER              GA    30576‐1518
RAPIER, MILDRED M                     3328 SOLDIERS HOME RD                                                                                    WEST LAFAYETTE     IN    47906‐1257
RAPIER, WILLIE B                      708 S 18TH ST                                                                                            WEST MEMPHIS       AR    72301‐5754
RAPIN JR, EDWARD B                    4947 HOLLOWAY RD                                                                                         ADRIAN             MI    49221‐8365
RAPIN, ANTHONY A                      50127 WATERLOO                                                                                           CHESTERFIELD       MI    48047‐3797
RAPIN, BARBARA J                      4947 HOLLOWAY RD                                                                                         ADRIAN             MI    49221
RAPIN, JOSEPH A                       4989 N GLEANER RD                                                                                        FREELAND           MI    48623‐9227
RAPIN, RICHARD M                      1468 S KNIGHT RD                                                                                         MUNGER             MI    48747‐9702
RAPIN, ROBERT R                       20574 BREEZEWAY DR                                                                                       MACOMB             MI    48044‐3518
RAPISARDA, KATHY L                    2602 W RHODODENDRON DR                                                                                   ABINGDON           MD    21009‐1593
RAPISTAN DEM/FARMING                  38755 HILLS TECH DR                                                                                      FARMINGTON HILLS   MI    48331‐3408
RAPISTAN/FRMNGTN HIL                  24300 INDOPLEX CIRCLE DRIVE                                                                              FARMINGTN HLS      MI    48331
RAPISTAN/GR RAPIDS                    ONE RAPISTAN BUILDING                                                                                    GRAND RAPIDS       MI    49505
RAPITIS, NICK E                       3279 GOLDENGATE AVE                                                                                      ROCKY RIVER        OH    44116‐3627
RAPLEE, PRESTON LE RAY                305 LAKE ST                                                                                              XENIA              OH    45385‐5415
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Name                        Address1                       Address2                         Address3   Address4         City              State Zip
RAPLEE‐THRELKELD, VERNA M   2289 YEW STREET RD                                                                          BELLINGHAM         WA 98229‐6816
RAPOLZ, FRANCES C           5374 SOUTH STREET                                                                           VERMILION          OH 44089‐1351
RAPONE, HENRY J             5349 LEEWARD LN                                                                             NEW PORT RICHEY    FL 34652‐3079
RAPONEY, VIOLET M           47 HOLT ST                                                                                  BRISTOL            CT 06010‐5350
RAPOSA, DOLLY R             PO BOX 101                                                                                  SOMERSET           MA 02726‐0101
RAPOSA, WILLIAM             31 SLADE ST 116                                                                             SOMERSET           MA 02725
RAPP ANTHONY G              RAPP, ANTHONY G                1790 WILMINGTON PIKE SUITE 200                               GLEN MILLS         PA 19342
                                                           THE SPEAKMAN HOUSE
RAPP BRANDON                11210 STATE ROUTE 108                                                                       WAUSEON           OH   43567‐9514
RAPP CHEVROLET, INC.        700 S BROADWAY AVE                                                                          MARION            SD   57043‐2168
RAPP CHEVROLET, INC.        GLEN RAPP                      700 S BROADWAY AVE                                           MARION            SD   57043‐2168
RAPP DANIELLE & JAMES       RAPP, DANIELLE                 200 E BIG BEAVER RD                                          TROY              MI   48083‐1208
RAPP DENNIS                 C/O PAUL REICH & MYERS P.C.    1608 WALNUT ST STE 500                                       PHILADELPHIA      PA   19103‐5446
RAPP DENNIS (458616)        PAUL REICH & MYERS P.C.        1608 WALNUT ST STE 500                                       PHILADELPHIA      PA   19103‐5446
RAPP GENE & MELINDA         1580 SPRING MOUNTAIN DR                                                                     CANYON LAKE       TX   78133‐3656
RAPP JR, WILLIAM S          394 PASSAIC AVE                                                                             KEARNY            NJ   07032‐1205
RAPP, ALBERT F              1000 NE 83RD ST                                                                             KANSAS CITY       MO   64118‐1346
RAPP, APRIL L               5541 FAIRFIELD SCHOOL RD                                                                    COLUMBIANA        OH   44408‐9611
RAPP, ARTHUR                GUY WILLIAM S                  PO BOX 509                                                   MCCOMB            MS   39649‐0509
RAPP, CHESTER R             4 BLACK TERN TER                                                                            HILTON            NY   14468‐8908
RAPP, CHRISTOPHER S         505 E SHAG BARK LN                                                                          STREAMWOOD        IL   60107‐6888
RAPP, DEREK W               10224 MAD RIVER RD                                                                          NEW VIENNA        OH   45159
RAPP, DOROTHY R             2018 DIPLOMAT LANE                                                                          KOKOMO            IN   46902
RAPP, EDWARD L              206 PINE HILL RD                                                                            SPENCERPORT       NY   14559‐1010
RAPP, EUGENE S              12015 MUDDLETY VALLEY RD                                                                    SUMMERSVILLE      WV   26651‐7488
RAPP, EUGENE S              12015 MUDDELTY VALLEY ROAD                                                                  SUMMERSVILLE      WV   26651‐9413
RAPP, FRANK B               3637 CACO ST                                                                                FLINT             MI   48504‐6526
RAPP, GENEVIEVE             1111 ROCKY RD                                                                               LAWRENCEVILLE     GA   30044‐6211
RAPP, GUS                   GUY WILLIAM S                  PO BOX 509                                                   MCCOMB            MS   39649‐0509
RAPP, HAROLD W              4708 KINGSLEY CIR W                                                                         SANDUSKY          OH   44870‐6044
RAPP, HARRY A               3324 S OAKLEY AVE                                                                           CHICAGO           IL   60608‐6025
RAPP, HELFRIED              2214 N KEARNEY DR                                                                           SAGINAW           MI   48603‐3413
RAPP, ISABELLE M            2017 S 79TH ST APT 2                                                                        WEST ALLIS        WI   53219‐1137
RAPP, JAMES B               3441 INDIAN CREEK RDG NW                                                                    WALKER            MI   49544‐9429
RAPP, JEANETTE L            133 SKYVIEW DR                                                                              VANDALIA          OH   45377‐2234
RAPP, JOHN W                129 NIWODIHI TRAIL                                                                          VONORE            TN   37885‐6700
RAPP, KENNETH A             18276 BOXELDER DR                                                                           BROWNSTOWN TWP    MI   48174‐9261
RAPP, LARRY G               6485 WESTERN AVE                                                                            RIVERSIDE         CA   92505‐2129
RAPP, LARRY W               RR 2 BOX 336                                                                                BUTLER            MO   64730‐9522
RAPP, LORI                  PO BOX 286                                                                                  NEW MIDDLETOWN    OH   44442‐0286
RAPP, LOUISE A              2692 MORRIS LN                                                                              GIRARD            OH   44420‐3126
RAPP, MARY V                1769 ROCKWELL                                                                               XENIA             OH   45385‐3844
RAPP, MARY V                1769 ROCKWELL DR                                                                            XENIA             OH   45385‐3844
RAPP, MATTHEW J             210 SOMERSET DRIVE                                                                          GERMANTWN HLS     IL   61548‐8338
RAPP, MINDY R               210 SOMERSET DRIVE                                                                          GERMANTWN HLS     IL   61548‐8338
RAPP, NORBERT J             11080 KILARNEY DR                                                                           WASHINGTON        MI   48095‐2508
RAPP, PATRICIA M            1115 SHOLEY RD                                                                              HENRICO           VA   23231‐6706
RAPP, REBA J                2912 SUNSET LANE                                                                            SANDUSKY          OH   44870‐5984
RAPP, REBA J                2912 SUNSET LN                                                                              SANDUSKY          OH   44870‐5984
RAPP, REGANA L              41435 DUBLIN DR                                                                             PARKER            CO   80138‐4604
RAPP, RICHARD H             19240 32 MILE RD                                                                            RAY               MI   48096‐1221
RAPP, ROBERT P              368 26TH ST                                                                                 OTSEGO            MI   49078‐9621
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Name                                Address1                          Address2                        Address3   Address4         City                 State Zip
RAPP, ROBERT PAUL                   368 26TH ST                                                                                   OTSEGO                MI 49078‐9621
RAPP, RONALD L                      20 INDIAN SPRINGS DR NE                                                                       RYDAL                 GA 30171‐1636
RAPP, RONALD LEE                    20 INDIAN SPRINGS DR NE                                                                       RYDAL                 GA 30171‐1636
RAPP, STEPHEN D                     104 WINDING DR                                                                                HOUGHTON LAKE         MI 48629‐9153
RAPP, STEVEN
RAPP‐SCHULTES, KAREN L              1114 BEDFORD RD                                                                               GROSSE POINTE PARK   MI   48230‐1444
RAPPA JR, NICHOLAS J                308 HAMILTON AVE                                                                              PENNSVILLE           NJ   08070‐1306
RAPPA, GIOVANNIE                    5403 BRADDOCK DR                                                                              ZEPHYRHILLS          FL   33541‐2699
RAPPA, MICHAEL A                    5 BENEDETTE DR                                                                                WATERFORD WORKS      NJ   08089
RAPPACH, ALEX                       2608 WEST CAVETT DRIVE                                                                        SHREVEPORT           LA   71104‐3713
RAPPACH, RAYMOND H                  36 POTOMAC DR.                                                                                NILES                OH   44446‐2118
RAPPACH, RAYMOND H                  36 POTOMAC AVE                                                                                NILES                OH   44446‐2118
RAPPACH, RONALD M                   7963 BROOKWOOD ST NE                                                                          WARREN               OH   44484‐1546
RAPPAHANNOCK ADULT ACTIVITIES INC   750 KINGS HWY                                                                                 FREDERICKSBURG       VA   22405‐3166

RAPPAHANNOCK BIG BROTHERS BIG       325 A WALLACE STREET                                                                          FREDERICKSBURG       VA 22401
SISTERS
RAPPAHANNOCK CITIZENS CORP          1301 CARDWELL ST                                                                              FREDERICKSBURG       VA 22401‐7105
RAPPAHANNOCK ELECTRIC COOPERATIVE                                     14380 FREDERICKSBURG TURNPIKE                                                    VA 22427

RAPPAHANNOCK LAWN & LANDSCAPING     4411 PLANK RD                                                                                 FREDERICKSBURG       VA 22407‐4809
INC
RAPPAHANNOCK LOCKSMITH SERVICE      13331 BLACK MEADOW RD                                                                         SPOTSYLVANIA         VA   22553‐4142
RAPPAHANNOCK UNITED WAY             PO BOX 398                                                                                    FREDERICKSBURG       VA   22404‐0398
RAPPAPORT, ASERKOFF & GELLES        60 STATE STREET                   SUITE 1525                                                  BOSTON               MA   02109
RAPPAPORT, BERNARD                  4113 7TH AVE APT 16                                                                           BROOKLYN             NY   11232
RAPPAPORT, BERNICE E                2220 VIEW RIDGE DR                                                                            BELLINGHAM           WA   98229‐5928
RAPPAPORT, JENNIFER                 GORBERG DAVID J & ASSOCIATES      2325 GRANT BUILDING 310 GRANT                               PITTSBURGH           PA   15219
                                                                      STREET
RAPPAPORT, ROBERT                   10831 ROYAL DEVON WAY                                                                         LAKE WORTH           FL   33449‐8650
RAPPAS, SPIROS P                    2280 BELLE MEADE DR                                                                           DAVISON              MI   48423‐2054
RAPPAZZO, FRANCA                    PO BOX 314                                                                                    BREWERTON            NY   13029‐0314
RAPPAZZO, FRANCA                    BOX 314                                                                                       BREWERTON            NY   13029‐0314
RAPPE, FRANK C                      1912 LOURDES CT                                                                               LANDING              MI   48910‐0617
RAPPE, FRANK C                      1912 LOURDES COURT                                                                            LANSING              MI   48910‐0617
RAPPE, H T
RAPPEL, DENNIS P                    68 GRANT DR                                                                                   HIGHLAND             MI   48357‐3778
RAPPETTE, MARK                      WANEZEK & JAEKELS SC              PO BOX 22250                                                GREEN BAY            WI   54305‐2250
RAPPHUN JUDITH                      6657 MAUNA LOA BLVD                                                                           SARASOTA             FL   34241‐5732
RAPPLEAN, DONALD R                  1019 MOUNT PLEASANT RD                                                                        OWENSVILLE           MO   65066‐4001
RAPPLEY, CAROLYN G                  4278 CARDINAL DR                                                                              GRAND BLANC          MI   48439‐7904
RAPPLEY, CAROLYN GERTRUDE           4278 CARDINAL DR                                                                              GRAND BLANC          MI   48439‐7904
RAPPLEY, CHARLES L                  7607 N OLD CHANNEL TRL                                                                        MONTAGUE             MI   49437‐9281
RAPPLEY, CONNIE J                   4836 S WASHINGTON RD                                                                          SAGINAW              MI   48601‐7204
RAPPLEY, DONALD D                   11230 ROOSEVELT RD                                                                            SAGINAW              MI   48609‐9774
RAPPLEY, JANE S                     3050 CHATFIELD ST                                                                             FLINT                MI   48504‐4460
RAPPLEY, JONATHAN H                 11375 ROOSEVELT RD                                                                            SAGINAW              MI   48609‐9774
RAPPLEY, MARY                       14360 SWAN CREEK RD                                                                           HEMLOCK              MI   48626‐9745
RAPPLEY, MILDRED M                  16300 SILVER PARKWAY                                                                          FENTON               MI   48430
RAPPLEY, RICHARD M                  61 DEVONSHIRE RD                                                                              PLEASANT RDG         MI   48069‐1210
RAPPLEY, RICHARD W                  240 N MILL ST                                                                                 MERRILL              MI   48637‐8724
RAPPLEY, RITA D                     4500 CLOVER WAY W                                                                             SAGINAW              MI   48603‐1058
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RAPPLEY, RITA D                4500 CLOVERWAY WEST                                                                           SAGINAW               MI 48603‐1058
RAPPLEY, RONALD R              9681 SWAN VALLEY DR                                                                           SAGINAW               MI 48609‐9566
RAPPLEY, RUSSELL G             3505 CASSIE LN                                                                                CERES                 CA 95307‐9583
RAPPLEY, RUSSELL GRANT         3505 CASSIE LN                                                                                CERES                 CA 95307‐9583
RAPPLEY, STEVE M               3529 RIVERWOODS DR NE                                                                         ROCKFORD              MI 49341‐9268
RAPPLEY, THOMAS W              4836 S WASHINGTON RD                                                                          SAGINAW               MI 48601‐7204
RAPPLEY, TRESEA                3122 S PORTAGE AVE                                                                            GRAYLING              MI 49738‐7352
RAPPOLD, NELSON G              12477 RAPIDS RD                                                                               AKRON                 NY 14001
RAPPOLDT, CLIFTON W            11801 OAKDALE CT                                                                              LOCUST GROVE          VA 22508‐3075
RAPPORT JENNIFER               RAPPAPORT, JENNIFER               2325 GRANT BUILDING 310 GRANT                               PITTSBURGH            PA 15219
                                                                 STREET
RAPPORT LEADERSHIP INSTITUTE   2755 EAST DESERT INN RD                                                                       LAS VEGAS            NV   89121
RAPPOSELLI, VINCENT G          41 SARATOGA DR                                                                                NEW CASTLE           DE   19720‐4234
RAPPUHN, ALLEN R               160 N ROSLYN RD                                                                               WATERFORD            MI   48328‐3060
RAPPUHN, CARY L                104 ELIZABETHS WAY                                                                            POTTERVILLE          MI   48876‐9545
RAPPUHN, CHRISTIAN A           9757 NORMAN RD                                                                                CLARKSTON            MI   48348‐2411
RAPPUHN, DANIEL L              6560 N LAPEER RD                                                                              FOSTORIA             MI   48435‐9624
RAPPUHN, DONALD F              298 ARC LN                                                                                    SPARTA               TN   38583‐3114
RAPPUHN, EVELYN J              506 TREE PARK CIRCLE                                                                          FLOWERY BR           GA   30542‐2811
RAPPUHN, FRANK C               10152 E RICHFIELD RD                                                                          DAVISON              MI   48423‐8418
RAPPUHN, FREDERICK             4307 N MAC RD                                                                                 IRONS                MI   49644‐8677
RAPPUHN, GERALD L              250 ROBINHOOD DR                                                                              MONTROSE             MI   48457‐9415
RAPPUHN, IRWIN D               3856 HURON ST                                                                                 NORTH BRANCH         MI   48461‐6151
RAPPUHN, JADINE C              9757 NORMAN RD                                                                                CLARKSTON            MI   48348‐2411
RAPPUHN, JOHN W                5123 MARILYN DR                                                                               FLINT                MI   48506‐1578
RAPPUHN, KENNETH W             5312 REDWOOD TER                                                                              NORTH PORT           FL   34286‐7720
RAPPUHN, MARGARET L            10152 E RICHFIELD RD                                                                          DAVISON              MI   48423‐8418
RAPPUHN, MAXINE B              PO BOX 412                                                                                    OWOSSO               MI   48867‐0412
RAPPUHN, MICHAEL J             8147 GALE RD                                                                                  OTISVILLE            MI   48463
RAPPUHN, RAFFAELA              9485 JEFFERSON RD                                                                             CLIFFORD             MI   48727‐9711
RAPPUHN, RICHARD W             7920 MAINVIEW DR                                                                              WATERFORD            MI   48327‐3655
RAPPUHN, RONALD D              4143 MILL ST                                                                                  NORTH BRANCH         MI   48461‐9381
RAPPUHN, ROXANNE K             7250 PEBBLE PL                                                                                GRAND LEDGE          MI   48837‐9126
RAPPUHN, VERNON A              3372 KENNEDY RD                                                                               NORTH BRANCH         MI   48461‐9303
RAPPUHN, VERNON ARTHUR         3372 KENNEDY RD                                                                               NORTH BRANCH         MI   48461‐9303
RAPPUHN, WAYNE                 9485 JEFFERSON RD                                                                             CLIFFORD             MI   48727‐9711
RAPPUHN, WILLIAM               2740 EDGEFIELD DR                                                                             WATERFORD            MI   48328‐3204
RAPPUHN‐ASHLOCK, BARBARA J     1124 RINN                                                                                     BURTON               MI   48509‐2354
RAPPUHN‐ASHLOCK, BARBARA J     1124 RINN ST                                                                                  BURTON               MI   48509‐2354
RAPS, SCOTT E                  7000 NE 56TH ST                                                                               KANSAS CITY          MO   64119‐3321
RAPSAWICH, JOHN M              5194 STATE ROUTE 121                                                                          GREENVILLE           OH   45331‐9755
RAPSAWICH, THOMAS              5194 STATE ROUTE 121                                                                          GREENVILLE           OH   45331‐9755
RAPSKE, ERWIN G                21701 REVERE ST                                                                               SAINT CLAIR SHORES   MI   48080‐3954
RAPSKE, KENNETH F              37826 MALLAST ST                                                                              HARRISON TWP         MI   48045‐2715
RAPSON DONALD E (494120)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA   23510
                                                                 STREET, SUITE 600
RAPSON, CALVIN T               7046 CROSSWINDS DR                                                                            SWARTZ CREEK         MI   48473‐9778
RAPSON, DALE T                 2050 E FOX DR                                                                                 COLUMBIA CITY        IN   46725‐8932
RAPSON, DIANNE D               2206 CANDLEWICK DR                                                                            FORT WAYNE           IN   46804‐1384
RAPSON, DONALD E               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA   23510‐2212
                                                                 STREET, SUITE 600
RAPSON, DONALD L               1088 S APPLE CT                                                                               PLAINWELL            MI 49080‐2010
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Name                             Address1                          Address2                         Address3                     Address4         City               State Zip
RAPSON, ELIZABETH C              9134 SHERWOOD DR                                                                                                 DAVISBURG           MI 48350‐1932
RAPSON, GARY A                   PO BOX 353                                                                                                       FIFE LAKE           MI 49633‐0353
RAPSON, GARY L                   4628 LUNOW DR                                                                                                    OKLAHOMA CITY       OK 73135‐3204
RAPSON, GEORGE C                 20 WILLIAM DR                                                                                                    MOUNTAIN HOME       AR 72653‐6646
RAPSON, JOHN R                   360 PINEY SPUR RD                                                                                                ELLIJAY             GA 30536‐7050
RAPSON, JOHN R                   360 N PINEY SPUR RD                                                                                              ELLIJAY             GA 30540
RAPSON, JOYCE A                  1088 S APPLE CT                                                                                                  PLAINWELL           MI 49080‐2010
RAPSON, NORMAN A                 1237 GLENMEADOW LN                                                                                               EAST LANSING        MI 48823‐2223
RAPSON, THERESA C                1361 TURTLECREEK CIR                                                                                             EAST LANSING        MI 48823‐6332
RAPSON, THOMAS I                 92 SPOKANE DR                                                                                                    PONTIAC             MI 48341‐1161
RAPSON, TIMOTHY M                2206 CANDLEWICK DR                                                                                               FORT WAYNE          IN 46804‐1384
RAPSON, TIMOTHY MALVIN           2206 CANDLEWICK DR                                                                                               FORT WAYNE          IN 46804‐1384
RAPSTINE I I I, EDWARD J         21616 NE 188TH ST                                                                                                HOLT                MO 64048‐8766
RAPSTINE III, EDWARD JAMES       21616 NE 188TH ST                                                                                                HOLT                MO 64048‐8766
RAPSTINE, EDWARD J               2105 NE 78TH ST                                                                                                  KANSAS CITY         MO 64118‐2025
RAPTIS, CONSTANTINE N            55587 DANUBE AVE                                                                                                 MACOMB              MI 48042‐2362
RAPTIS, GEORGE D                 46537 PLUM GROVE DR                                                                                              MACOMB              MI 48044‐4621
RAPTIS, GEORGIA                  1615 W 13 MILE RD                                                                                                MADISON HTS         MI 48071‐2010
RAPTIS, ILIAS G                  2872 HOFFMAN CIR NE                                                                                              WARREN              OH 44483‐3010
RAPTIS, MARIANNE S               2872 HOFFMAN CIR NE                                                                                              WARREN              OH 44483‐3010
RAPTIS, MARIANNE S               2872 HOFFMAN CR                                                                                                  WARREN              OH 44483‐3010
RAPTOSH, JAMES S                 16860 CORAL LN                                                                                                   MACOMB              MI 48042‐1117
RAPTOSH, MARY S                  1613 OAKVIEW DR                                                                                                  CANTON              MI 48187‐3139
RAPUANO JR., LEON A              2508 KITTIWAKE DR # I                                                                                            WILMINGTON          DE 19805
RAPUANO JR., LEON ANTHONY        2508 KITTIWAKE DR # I                                                                                            WILMINGTON          DE 19805
RAQUEL A SMITH                   1202 S MICHIGAN AVE APT 3                                                                                        SAGINAW             MI 48602‐1461
RAQUEL ASKENAZI DE HANONO        ATTEN: ADRIANA CAJIGAS            511 FIFTH AVENUE NEW YORK N.Y.   TEL.212‐551‐8771                              NEW YORK            NY 10017

RAQUEL BALDWIN                   2714 CLAREMONT DR                                                                                                GRAND PRAIRIE      TX   75052‐4302
RAQUEL DIAZ                      1065 AVILA TERRAZA                                                                                               FREMONT            CA   94538‐4602
RAQUEL ENRIQUEZ                  4344 WINDEMERE DR                                                                                                SAGINAW            MI   48603‐1267
RAQUEL ERENFEJCHT                2865 CASS ST                                                                                                     UNIONVILLE         MI   48767‐9695
RAQUEL GRIFFIN                   0 MACKINTOSH ST                                                                                                  FRANKLIN           MA   02038‐1625
RAQUEL HAVILAND                  17840 ELIZABETH ST                                                                                               ROSEVILLE          MI   48066‐7428
RAQUEL HERNANDEZ AS REP OF THE   DECEASED ET AL                    C/O WATTS GUERRA CRAFT LLP       2402 DUNLAVY ST, SUITE 300                    HOUSTON            TX   77006
ESTATE OF HECTOR HERNANDEZ
RAQUEL HYDUK                     1066 BLOOMER RD                                                                                                  ROCHESTER HILLS    MI   48307‐2311
RAQUEL MILLER                    DAVID R LIRA                      GIRARDI KEESE                    1126 WILSHIRE BOULEVARD                       LOS ANGELES        CA   90017
RAQUEL MORANTES                  35200 SIMS ST APT 215                                                                                            WAYNE              MI   48184‐1288
RAQUEL SCOTTEN                   2190 NE 68TH ST APT 524                                                                                          FT LAUDERDALE      FL   33308
RAQUEL STEWART                   7371 QUEENS CT                                                                                                   ALMA               MI   48801‐8742
RAQUEL VARGAS                    4404 CASTON LN                                                                                                   WICHITA FALLS      TX   76302‐2822
RAQUEL WRIGHT                    2119 KOPER DR                                                                                                    STERLING HEIGHTS   MI   48310‐5229
RAQUEL ZAMORANO                  2727 S 37TH DR                                                                                                   YUMA               AZ   85364‐5983
RAQUELLA YODER                   10201 FM 1925                     LOT 3                                                                          EDCOUCH            TX   78538
RAQUEPAW, DOROTHY L              6587 BIRCH RUN RD                                                                                                BIRCH RUN          MI   48415‐8553
RAQUEPAW, EARL                   12085 ROTTIERS ST                                                                                                BIRCH RUN          MI   48415‐9485
RAQUEPAW, GLEN                   PO BOX 84                                                                                                        BIRCH RUN          MI   48415‐0084
RAQUEPAW, GREGORY C              2125 NERREDIA ST                                                                                                 FLINT              MI   48532‐4820
RAQUEPAW, JAMES E                110 E CENTER ST                   NUMBER 584                                                                     MADISON            SD   57042‐2908
RAQUEPAW, JOHN W                 11145 MARSHALL RD                                                                                                BIRCH RUN          MI   48415‐8557
RAQUEPAW, REBECCA                6733 CORTLAND AVE                                                                                                BRIGHTON           MI   48114
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Name                               Address1                           Address2                Address3         Address4               City               State Zip
RAQUEPAW, RICHARD D                6251 NORTH M‐65                                                                                    CURRAN              MI 48728
RAQUEPAW, WAYNE                    9831 E TOWNLINE RD                                                                                 FRANKENMUTH         MI 48734‐8500
RAQUET, ORVILLE K                  PO BOX 268                                                                                         ARCADIA             IN 46030‐0268
RAR DESIGN & AUTOMATION INC
RARA, EDWARD J                     29 WOODELL AVE                                                                                     BUFFALO            NY   14211‐2734
RARDEEN, DUANE E                   3705 ENGLAND DR                                                                                    SHELBYVILLE        MI   49344‐9452
RARDEN SR, DONALD                  PO BOX 3892                                                                                        NORTH FORT MYERS   FL   33918‐3892
RARDEN, JANINE                     6 OLD STATE RD                                                                                     MILAN              OH   44846‐9614
RARDEN, JOEL                       129 CONNESTOGA TRL                                                                                 NORTH FORT MYERS   FL   33917‐3051
RARDEN, PAMELA S                   190 HERITAGE TRAIL DR                                                                              MIDDLETOWN         OH   45044‐3282
RARDEN, RICKY J                    305 GRAND PASS                                                                                     SANDUSKY           OH   44870‐6132
RARDIN JR, FRANKLIN I              5319 MAPLESBURG DR                                                                                 MONCLOVA           OH   43542‐9532
RARDIN JR, FRANKLIN IRVING         5319 MAPLESBURG DR                                                                                 MONCLOVA           OH   43542‐9532
RARDIN, DELBERT R                  2151 ROSLYN AVE                                                                                    FLINT              MI   48532‐3928
RARDIN, ELINOR A                   2151 ROSLYN AVE                                                                                    FLINT              MI   48532‐3928
RARDIN, TERRY G                    3450 W COOK RD                                                                                     GRAND BLANC        MI   48439‐9320
RARDON, MARILYN                    3109 SPARTAN RD                                                                                    SALINEVILLE        OH   43945‐9601
RARE RATIONALISM SP                C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT   2 RAFFLES LINK   MARINA BAYFRONT
                                   LTD                                                                         SINGAPORE 039392
RARES                              395 GARNSEY RD                                                                                     PITTSFORD          NY 14534‐4543
RAREWAVE LLC
RAREY, ROBERT P                    1450 WHITE ASH DR                                                                                  COLUMBUS           OH   43204‐1558
RARICK, GENE F                     1541 COVENTRY RD                                                                                   DAYTON             OH   45410‐3210
RARICK, GLEN R                     845 SHANEY LN                                                                                      BROOKVILLE         OH   45309‐1375
RARICK, HAROLD M                   21300 ARCHWOOD CIR APT 123                                                                         FARMINGTON HILLS   MI   48336‐4132
RARICK, MILTON R                   3388 LUCE RD                                                                                       FLUSHING           MI   48433‐2373
RARITAN CLEANERS                   ATTN: MINBAE KIM                   1208 RARITAN RD                                                 CRANFORD           NJ   07016‐3328
RARITAN ELECTRICAL SUPPLY CO       33 GROSS AVE                                                                                       EDISON             NJ   08837‐3240
RARITAN EXPRESS DISTRIBUTION       108 NEW ERA DR                                                                                     SOUTH PLAINFIELD   NJ   07080‐1435
RARITAN ROAD EXXON                 1401 RARITAN RD                                                                                    CLARK              NJ   07066‐1222
RARITAN ROAD EXXON                 ATTN: FRANK DE MILLE               1401 RARITAN RD                                                 CLARK              NJ   07066‐1222
RARITAN VALLEY COMMUNITY COLLEGE   PO BOX 3300                        FINANCE OFFICE                                                  SOMERVILLE         NJ   08876‐1265

RARO, ALBERT A                     3196 HICKOX RD                                                                                     HAMBURG            NY   14075‐6723
RAROG, DANIEL T                    4195 RODEO DR                                                                                      MILFORD            MI   48381‐3767
RAS ENGINEERING                    MR. ROBERT A. SINKE, JR.           3889 RAYE LN                                                    HARTLAND           MI   48353‐1245
RASA DURAI                         7122 HARDING DR                                                                                    FAIRVIEW           TN   37062‐9061
RASA KRONAS                        ACCT OF ROMUALDAS KRONAS           1713 59TH ST S                                                  GULFPORT           FL   33707‐4010
RASAK, MARTHA C                    111 FOXPOINTE DR                                                                                   SWARTZ CREEK       MI   48473‐8281
RASALA, BERNADINE                  4694 HICKORY LN                                                                                    LEWISTON           NY   14092‐1104
RASALA, BERNADINE                  4694 HICKORY LANE                                                                                  LEWISTON           NY   14092
RASALAN, JOSEFINA V                5145 CLYDESDALE LN                                                                                 SAGINAW            MI   48603‐2820
RASALEE HERSTON                    1283 TOWNSHIP ROAD 353                                                                             POLK               OH   44866‐9767
RASAMNY YOUNIS MOTOR CO SAL        BLVD. CHIAH                        PO BOX 11‐2737                           BEIRUT LEBANON
RASAMNY YOUNIS MOTOR CO.           P.O. BOX 2737                                                               BEIRUT LEBANON
RASAMNY YOUNIS MOTOR CO.           P.O.BOX 2737                                                                BEIRUT LEBANON
RASANAYAKAM, SHARVA                11801 BENT OAKS ST                                                                                 PARKER             CO   80138‐5737
RASBACH, ALEX L                    5736 W WAUTOMA BEACH RD                                                                            HILTON             NY   14468‐9126
RASBACH, KRISTY D                  2403 FOREST HILLS DR                                                                               ORION              MI   48359‐1168
RASBAND, WAYNE L                   RR 2 BOX 2621                                                                                      ROOSEVELT          UT   84066‐9539
RASBERRY, BENJAMIN F               45 TWIN HILL DR                                                                                    WILLINGBORO        NJ   08046
RASBERRY, DORIS                    3209 HERRICK ST                                                                                    FLINT              MI   48503‐3418
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Name                                    Address1                            Address2                       Address3   Address4         City              State Zip
RASBERRY, JAMES                         5101 ELYRIA LN                                                                                 DAYTON             OH 45406‐1119
RASBERRY, JOHN M                        114 STACY CT                                                                                   BURLINGTON         NJ 08016‐1507
RASBERRY, KATHLEEN                      1043 BALMORAL PARKWAY                                                                          FLINT              MI 48532‐3502
RASBERRY, LARRY W                       4225 ROBINHOOD ST                                                                              SHREVEPORT         LA 71109‐8131
RASBERRY, RENEE M                       3256 RICKMAN AVE NE                                                                            GRAND RAPIDS       MI 49525
RASCANO, JUDITH M                       4921 HURON DR                                                                                  CLARKSTON          MI 48348‐3206
RASCANO, MARY ANN                       21916 LANGE ST                                                                                 ST CLAIR SHRS      MI 48080‐3945
RASCATI, CARMELINA M                    54 GENE ST                                                                                     EAST HAVEN         CT 06513‐2709
RASCH SERVICE STATION                   11149 MANCHESTER RD                                                                            KIRKWOOD           MO 63122‐1253
RASCH STEPHEN P (481973)                GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510
                                                                            STREET, SUITE 600
RASCH, MARTIN J                         4408 NEWBURG RD                                                                                BANCROFT          MI   48414‐9798
RASCH, MARVIS J                         9132 SW 192ND COURT RD                                                                         DUNNELLON         FL   34432‐2780
RASCH, MARVIS J                         9132 S W 192ND CT RD                                                                           DUNNELLON         FL   34432‐2780
RASCH, PHYLLIS L                        2022 GRANTHAM GREENS DR                                                                        SUN CITY CENTER   FL   33573‐7214
RASCH, RALPH E                          PO BOX 152                          3159 PHELP                                                 UNIONVILLE        MI   48767‐0152
RASCH, ROBERT E                         2574 DAVISTA DR                                                                                HIGHLAND          MI   48356‐1622
RASCH, STEPHEN P                        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510‐2212
                                                                            STREET, SUITE 600
RASCH, WANDA L                          23603 MERRIMAN RD                                                                              NEW BOSTON        MI   48164‐9463
RASCHAK, KATHERINE K                    P. O. BOX 821                                                                                  YOUNGSTOWN        OH   44501‐0821
RASCHAK, KATHERINE K                    PO BOX 821                                                                                     YOUNGSTOWN        OH   44501‐0821
RASCHBAUM, ARTURO M                     109 TREATY ELM LN                                                                              HADDONFIELD       NJ   08033‐3415
RASCHE, ALVIN L                         GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW           MI   48604‐2602
                                                                            260
RASCHE, DAVID M                         2529 PEMMICAN RUN                                                                              GAINESVILLE       GA   30504‐3908
RASCHE, DEBORAH J                       406 5TH ST                                                                                     ANN ARBOR         MI   48103‐4837
RASCHER, ALOYSIUS E                     14335 JAMESTOWN RD APT 8                                                                       BREESE            IL   62230‐3681
RASCHIE LANE                            135 SNEAD RD                                                                                   STONEVILLE        NC   27048‐8279
RASCHILLA, ANTHONY C                    2036 ISABELLE DR                                                                               GIRARD            OH   44420‐1179
RASCHILLA, CAROL                        1262 OHLTOWN RD                                                                                MINERAL RIDGE     OH   44440‐9608
RASCHILLA, PAULINE M                    1419 HILLCRST DR.                                                                              NILES             OH   44446‐3709
RASCHILLA, PAULINE M                    1419 HILLCREST AVE                                                                             NILES             OH   44446‐3709
RASCHKE JR, HERMAN O                    111 BAHIA DR                                                                                   PALMETTO          FL   34221‐3436
RASCHKE, ARTHUR L                       1599 DUTTON RD                                                                                 ROCHESTER HILLS   MI   48306‐2434
RASCHKE, CAROL A                        6599 MERE DR                                                                                   EDEN PRAIRIE      MN   55346‐2324
RASCHKE, EDWARD C                       5017 N PRESSLER DR                                                                             BAY CITY          MI   48706‐3211
RASCO                                   1108 LOWELL ST                                                                                 ELYRIA            OH   44035‐4802
RASCO WAREHOUSE INC.                    13 PARK ST                                                                                     DOVER             NH   03820‐3140
RASCO, WESLEY A                         9724 ELM CREEK WAY                                                                             FORT WORTH        TX   76140‐8100
RASCO, WILLIE R                         3384 CREEKWOOD DR                                                                              SAGINAW           MI   48601‐5601
RASCOE JR, LARS E                       2024 RIVIERA ST                                                                                INDIANAPOLIS      IN   46260‐4345
RASCOE, ARTHUR T                        1329 BURDSAL PKWY                                                                              INDIANAPOLIS      IN   46208‐5203
RASCOE, DELENA E                        7557 LIPPINCOTT WAY                                                                            INDIANAPOLIS      IN   46268‐4714
RASCOE, GRACINDA R                      21 CHURCH DR                                                                                   WOLCOTT           CT   06716‐1910
RASCOE, KEI'NEKIA T                     9133 BUSHNELL LN                                                                               SHREVEPORT        LA   71118‐2358
RASCOE, SAM E                           1633 W 59TH ST                                                                                 INDIANAPOLIS      IN   46228‐1833
RASCOE, THOMAS                          1039 CANDYMAN ROAD                                                                             WASKOM            TX   75692‐6607
RASCON, RICARDO L                       11513 E 27TH ST                                                                                YUMA              AZ   85367‐4969
RASDALL HENRY JR (ESTATE OF) (642830)   BRAYTON PURCELL                     PO BOX 6169                                                NOVATO            CA   94948‐6169

RASDALL, HENRY                          BRAYTON PURCELL                     PO BOX 6169                                                NOVATO            CA 94948‐6169
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Name                       Address1                            Address2                      Address3   Address4         City            State Zip
RASDELL, BRENDA R          1559 W 64TH ST                                                                                INDIANAPOLIS     IN 46260‐4400
RASE LARRY & MYRNA         102 NORTH PROSPECT STREET                                                                     NIXA             MO 65714‐8602
RASE MICHAEL P             EASR, MICHAEL P                     309 WASHINGTON ST                                         PORTSMOUTH       OH 45662‐3913
RASE MICHAEL P             RASE, DEBORAH I                     309 WASHINGTON ST                                         PORTSMOUTH       OH 45662‐3913
RASE, JAMES C              4178 BRADYLEIGH BLVD                                                                          ROCHESTER        MI 48306‐4710
RASE, JAMES E              620 SPRING CREST DR                                                                           EL PASO          TX 79912‐4153
RASE, JOYCE I              4858 3 MI RD RT #1                                                                            BAY CITY         MI 48706
RASE, NANCY J              886 W CENTER RD                                                                               ESSEXVILLE       MI 48732‐2006
RASE, RANDY D              1419 11 MILE RD                                                                               AUBURN           MI 48611‐9729
RASE, RICKY H              207 CENTER DR                                                                                 PINCONNING       MI 48650‐9343
RASE, ROBERT L             5941 S MAPLE VALLEY RD                                                                        SAINT HELEN      MI 48656‐8541
RASE, SCOTT E              762 BAY RD                                                                                    BAY CITY         MI 48706‐1920
RASE, WILLIAM D            3948 TALL OAK DR                                                                              PRESCOTT         MI 48756‐9307
RASEGAN, ALEXANDER H       56414 9 MILE RD                                                                               SOUTH LYON       MI 48178‐8995
RASEGAN, JANICE L          PO BOX 966                                                                                    FOWLERVILLE      MI 48836‐0966
RASEL, FRANCES G           PO BOX 98                                                                                     DAVISBURG        MI 48350‐0098
RASEL, FRANCIS GAY         PO BOX 98                                                                                     DAVISBURG        MI 48350‐0098
RASEL, MICHAEL             110 PINETREE CT                                                                               HARRISON CITY    PA 15636‐1231
RASEL, NORVIN L            PO BOX 98                                                                                     DAVISBURG        MI 48350‐0098
RASENER, DORIS J           404 N CARTER LN                                                                               SWAYZEE          IN 46986‐9620
RASENER, HAROLD M          3517 32ND AVE W                                                                               SEATTLE          WA 98199‐1659
RASER TECHNOLOGIES INC.    5152 NORTH EDGEWOOD DRIVE                                                                     PROVO            UT 84604
RASER TECHNOLOGIES, INC.   ATTN: GENERAL COUNSEL               5152 EDGEWOOD DR STE 375                                  PROVO            UT 84604‐5596
RASERA, LOUIS S            1620 RANDY DR                                                                                 COOKEVILLE       TN 38501‐3048
RASETA DANIEL (491678)     CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                     CLEVELAND        OH 44113‐1328
                           COONE AND ASSOCIATES
RASETA GEORGE (494121)     CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                     CLEVELAND       OH 44113‐1328
                           COONE AND ASSOCIATES
RASETA JR, THOMAS G        263 HAGER ST                                                                                  HUBBARD         OH 44425‐2031
RASETA STEPHEN (494122)    CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                     CLEVELAND       OH 44113‐1328
                           COONE AND ASSOCIATES
RASETA, GEORGE             CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                     CLEVELAND       OH 44113‐1328
                           COONE AND ASSOCIATES
RASETA, NICK R             3541 IVY HILL CIR UNIT C                                                                      CORTLAND        OH 44410‐9391
RASETA, ROY R              621 WHIPPLE AVE                                                                               CAMPBELL        OH 44405‐1537
RASETA, STEPHEN            CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                     CLEVELAND       OH 44113‐1328
                           COONE AND ASSOCIATES
RASEY JR, LOWELL A         4107 RELLIM AVE NW                                                                            WARREN          OH   44483‐2041
RASEY, DAVID C             1396 FOUST RD                                                                                 XENIA           OH   45385‐9416
RASEY, RALPH B             2668 N MASON RD                                                                               VERMONTVILLE    MI   49096‐8513
RASEY, VIRGINIA E          780 STRAUB RD W APT 38                                                                        MANSFIELD       OH   44904‐2111
RASEY, VIRGINIA E          160 SCOTLAND BOULEVARD                                                                        MANSFIELD       OH   44906‐2239
RASFULDI, RIVIANY N        380 RIVARD BOULEVARD                                                                          WATERFORD       MI   48327‐2664
RASH GEORGE                405 COLLEGE AVE                                                                               BRENHAM         TX   77833‐4122
RASH MADORA                6625 MASSACHUSETTS AVE                                                                        INDIANAPOLIS    IN   46226‐5647
RASH VAN O (410974)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                               STREET, SUITE 600
RASH, CARLOS R             3590 KIVETT LN                                                                                MARTINSVILLE    IN   46151‐8937
RASH, CARROLL W            2905 W SYCAMORE RD                                                                            KOKOMO          IN   46901
RASH, CHARLES M            PO BOX 172                                                                                    CLARKSTON       MI   48347‐0172
RASH, DANIEL W             632 CAMBRIDGE DR                                                                              KOKOMO          IN   46902‐6910
RASH, DARREL E             1451 BOWES RD                                                                                 LOWELL          MI   49331‐1698
                         09-50026-mg              Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                     Address1                         Address2                      Address3   Address4         City              State Zip
RASH, DARRYL J           3150 S FRANKLIN RD                                                                         INDIANAPOLIS       IN 46239‐9516
RASH, DAVID J            1460 ROSEVIEW DR                                                                           DAYTON             OH 45432‐3816
RASH, DAVID M            PO BOX 1193                                                                                CLARKSTON          MI 48347‐1193
RASH, DAVID M            3305 BEWELL AVE SE                                                                         LOWELL             MI 49331‐8910
RASH, DONALD E           12131 PINE ROW LN                                                                          GRAND BLANC        MI 48439‐1620
RASH, DOUGLAS L          1156 MUSTANG RIDGE DR                                                                      HASLET             TX 76052‐4840
RASH, EULA A             2887 W 50 S                                                                                KOKOMO             IN 46902‐5969
RASH, JIM J              1235 S LOCKE ST                                                                            KOKOMO             IN 46902‐1742
RASH, JON A              PO BOX 14                                                                                  LOWELL             MI 49331‐0014
RASH, LARRY W            58 E RUTGERS AVE                                                                           PONTIAC            MI 48340‐2748
RASH, LILLIE             206 PLEASANT AVE                                                                           DAYTON             OH 45403‐2730
RASH, LORI A             3305 BEWELL AVE SE                                                                         LOWELL             MI 49331‐8910
RASH, MADORA M           6625 MASSACHUSETTS AVE                                                                     INDIANAPOLIS       IN 46226‐5647
RASH, MATTHEW A          1057 W SHELLY LN                                                                           ALEXANDRIA         IN 46001‐8373
RASH, MILLARD L          1826 BORDEAUX DR                                                                           FAIRBORN           OH 45324‐2863
RASH, PAULINE J          1235 S LOCKE                                                                               KOKOMO             IN 46902‐1742
RASH, ROLAND E           PO BOX 7                                                                                   SUDLERSVILLE       MD 21668‐0007
RASH, THOMAS D           PO BOX 1112                                                                                ANTWERP            OH 45813‐1112
RASH, THOMAS D           #6 HUNTINGTON PLACE                                                                        KETTERING          OH 45420‐5420
RASH, THOMAS D           6 HUNTINGTON PL                                                                            KETTERING          OH 45420‐2923
RASH, VAN O              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                          STREET, SUITE 600
RASHAAD CALHOUN          2043 PINTAIL COVE                                                                          LITHONIA          GA   30058
RASHAAD CALHUN           2043 TINTELL COVE                                                                          ATLANTA           GA   30058
RASHAAD, RHONDA F        153 BRIAN CIR                                                                              ANTIOCH           TN   37013‐4342
RASHAAD, RHONDA F.       153 BRIAN CIR                                                                              ANTIOCH           TN   37013‐4342
RASHAD A FISHER          190762 JACKSON ST UNIVERSITY                                                               JACKSON           MS   39217‐0001
RASHAD ASSAEDI           1155 RIVERSIDE                                                                             DEARBORN          MI   48120‐1719
RASHAD II, KEVIN A       970 PEMBERTON ROAD                                                                         GROSSE POINTE     MI   48230‐1732
RASHAD J MCKEE           4438 ST JAMES AVE                                                                          DAYTON            OH   45406
RASHAD SALEEM            2827 MALLERY ST                                                                            FLINT             MI   48504‐3053
RASHAD WORKMAN           7051 NORTHVIEW DR                                                                          LOCKPORT          NY   14094‐5334
RASHAD, HANEEFAH IFRAJ   PO BOX 185                                                                                 LAKE              MS   39092‐0185
RASHAD, KEVIN A          970 PEMBERTON ROAD                                                                         GROSSE POINTE     MI   48230‐1732
RASHAD, OTERA L          1922 BEVERLY CT                                                                            ANDERSON          IN   46011‐4035
RASHADA, ABDUR R         3132 DOUGLASS ST                                                                           SAGINAW           MI   48601‐4316
RASHADA, MARIE E         3132 DOUGLASS ST                                                                           SAGINAW           MI   48601‐4316
RASHADA, MARIE E         3132 DOUGLAS                                                                               SAGINAW           MI   48601‐4316
RASHADEEN, AJIB          16161 STOUT ST                                                                             DETROIT           MI   48219‐3320
RASHAMIER NELSON         1099 HERRINGTON LN                                                                         PONTIAC           MI   48342‐1836
RASHANDA CROSS           PO BOX 38195                                                                               SAINT LOUIS       MO   63138‐0195
RASHANDA GREEN           109 ROARING SPRINGS DR                                                                     DESOTO            TX   75115‐5817
RASHARD WILLIAMS         1852 AKRON ST                                                                              DALLAS            TX   75212‐5103
RASHAWN L HAYES          413 NEAL AVE                                                                               DAYTON            OH   45405‐4418
RASHAWN LEE              1601 ARLENE AVE                                                                            DAYTON            OH   45406‐3303
RASHAWN REED             5809 CLOVERLAWN DR                                                                         FLINT             MI   48504‐7067
RASHAWNDA WILLIAMS       2936 SEATON CIRCUIT N                                                                      WARREN            MI   48091‐1628
RASHE REVIERE            14915 MINOCK ST                                                                            DETROIT           MI   48223
RASHE'D SHARIFF          PO BOX 19623                                                                               SHREVEPORT        LA   71149‐0623
RASHED RABAA             4190 IVERNESS LN                                                                           WEST BLOOMFIELD   MI   48323‐2827
RASHED, ATIF             3431 CLOVERTREE LANE                                                                       FLINT             MI   48532‐4706
RASHED, HANEEF H         3431 CLOVERTREE LANE                                                                       FLINT             MI   48532‐4706
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Name                           Address1                          Address2                  Address3   Address4         City                State Zip
RASHED, JAMES H                5547 MAHONING AVE                                                                       AUSTINTOWN           OH 44515‐2316
RASHEED I SAMPSON              1466 SHARE AVE                                                                          YPSILANTI            MI 48198‐6527
RASHEED, A M                   1235 AUGUSTA DR                                                                         ALBANY               GA 31707‐5004
RASHEED, D SALAAM              2351 LANSING ST                                                                         AURORA               CO 80010‐1331
RASHEED, DAWUD K               630 ATLANTA AVE SE                                                                      ATLANTA              GA 30312‐3640
RASHEED, NAZEEH M              2488 WHITES MILL LN                                                                     DECATUR              GA 30032‐6314
RASHEED‐HENRY, ZAKEYA N        2817 AVENUE H                                                                           FORT WORTH           TX 76105‐2229
RASHEED‐HENRY, ZAKEYA NAILAH   2817 AVENUE H                                                                           FORT WORTH           TX 76105‐2229
RASHEEDA S BARNWELL            93 SEWARD ST APT 600                                                                    DETROIT              MI 48202‐4417
RASHEEDI, MOHAMMED             THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES         FL 33146
RASHEEN BROWN                  390 W HOPKINS AVE APT 200                                                               PONTIAC              MI 48340‐1769
RASHID, ABDUL R                1840 CAMPBELLTON RD SW APT MM2                                                          ATLANTA              GA 30311‐4150
RASHID, ASHLEY
RASHID, BRIAN
RASHID, EDMUND J               5141 DURWOOD DR                                                                         SWARTZ CREEK        MI 48473‐1123
RASHID, ERA                    2999 SPENCER PRESTON RD                                                                 MARTINSVILLE        VA 24112
RASHID, HAROLD A               2695 BRIARWOOD BLVD                                                                     EAST POINT          GA 30344‐5314
RASHID, JAMIE
RASHID, KATHY
RASHID, KULSUM                 1776 PALMETTO CT                                                                        BLOOMFIELD          MI   48302‐1743
RASHID, KULSUM R               1776 PALMETTO CT                                                                        BLOOMFIELD          MI   48302‐1743
RASHID, KURATIBISH A           266 NW 26TH ST                                                                          MIAMI               FL   33127‐4116
RASHID, MAHIR A                221 W JACKSON AVE                                                                       FLINT               MI   48505‐6613
RASHID, SIKANDER               2198 SOMERSET RD                                                                        BLOOMFIELD HILLS    MI   48302‐0665
RASHID, THEODORE B             1426 N VINCENT CIR                                                                      MESA                AZ   85207‐4402
RASHID, TIMOTHY J              449 N MAIN ST                                                                           ROMEO               MI   48065‐4626
RASHID, TIMOTHY JOHN           449 N MAIN ST                                                                           ROMEO               MI   48065‐4626
RASHID‐MEREM, RENEE J          201 WOODCREEK CT                                                                        COMMERCE TOWNSHIP   MI   48390‐1274
RASHIDA DAVIS                  5633 W HILLS RD                                                                         FORT WAYNE          IN   46804‐4399
RASHIDA S DAVIS                5633 W HILLS RD                                                                         FORT WAYNE          IN   46804‐4399
RASHIDA TAYLOR                 12923 KORNBLUM AVENUE APT. C                                                            HAWTHORNE           CA   90250
RASHIEM BRIGGS                 1313 ASPEN CT                                                                           FLINT               MI   48507‐3200
RASHKE, KENNETH D              5975 SMITH RD                                                                           BROOK PARK          OH   44142‐2432
RASHKIN MD                     2925 N SYCAMORE DR                202                                                   SIMI VALLEY         CA   93065
RASHLEIGH, SANDRA R            1815 YORKTOWN DR                                                                        SENECA              SC   29672‐2398
RASHLEIGH, WILLIAM A           1093 ZUNI DR                                                                            BURTON              MI   48509‐1448
RASHMI N SHAH                  310 LAKEFRONT CT                                                                        SUGAR LAND          TX   77478
RASHO ZAIA                     776 N MORRISON AVE                                                                      PALATINE            IL   60067
RASHOTT JR, THEODORE N         4857 LACLAIR RD                                                                         STANDISH            MI   48658‐9663
RASHOTT, DONALD H              4637 LACLAIR RD                                                                         STANDISH            MI   48658‐9754
RASHOTTE, CAROLYN M            10235 COUNTY LINE RD                                                                    ORTONVILLE          MI   48462‐8901
RASHOTTE, LOTTIE M             402 N 4TH ST                                                                            EDINA               MO   63537‐1333
RASHOTTE, SIMON E              10285 CALKINS RD                                                                        SWARTZ CREEK        MI   48473‐9725
RASHTI MICHAEL                 1 PLUM BEACH POINT RD                                                                   PORT WASHINGTON     NY   11050‐1313
RASIE BOX                      234 N EDISON ST                                                                         GREENVILLE          MS   38701‐3757
RASIK DHOLAKIA                 3087 HIDDEN TIMBER DR                                                                   ORION               MI   48359‐1579
RASIMAS, BEVERLY               1360 EDITH AVE NE                                                                       GRAND RAPIDS        MI   49505‐5509
RASIMOVICH, DOLORES C          6000 PENROD ST                                                                          DETROIT             MI   48228‐3870
RASIMOWICZ, ANTHONY J          8 EDWARD CT                                                                             TRENTON             NJ   08609‐2408
RASIN, DEBORAH M               49740 WATERSTONE E. CIR.                                                                NORTHVILLE          MI   48167
RASIN, DEBORAH M               575 WEST ST STE 110                                                                     MANSFIELD           MA   02048‐1160
RASINSKI, JENNIFER L           33 SENECA ST                                                                            GOWANDA             NY   14070‐1018
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Name                            Address1                           Address2                         Address3                   Address4             City                  State Zip
RASK, ERIC M                    2603 N CONNECTICUT AVE                                                                                              ROYAL OAK              MI 48073‐4216
RASK, PATRICIA A                1169 BARNEY ST                                                                                                      OWATONNA               MN 55060‐3897
RASK, RODNEY B                  1110 HAWTHORNE RD                                                                                                   GROSSE POINTE WOODS    MI 48236‐1466
RASKA, EDWARD L                 385 SCARLET DR                                                                                                      GREENTOWN              IN 46936‐8794
RASKAUSKAS, BERNARD J           12350 VILLAGIO WAY                                                                                                  FORT MYERS             FL 33912‐1497
RASKAUSKAS, MARCIA A            12350 VILLAGIO WAY                                                                                                  FORT MYERS             FL 33912‐1497
RASKAY JR, FRANK                4245 PETERSON RD                                                                                                    FLETCHER               OH 45326‐8732
RASKE JEAN                      RASKE, CHARLES                     3320 S COCONUT ISLAND DR                                                         BONITA SPRINGS         FL 34134‐9141
RASKE JEAN                      RASKE, JEAN                        3320 S COCONUT ISLAND DR                                                         BONITA SPRINGS         FL 34134‐9141
RASKE, CHARLES                  3320 S COCONUT ISLAND DR                                                                                            BONITA SPRINGS         FL 34134‐9141
RASKE, CHARLES R                3320 S COCONUT ISLAND DR APT 202                                                                                    BONITA SPRINGS         FL 34134‐9141
RASKE, JEAN                     3320 S COCONUT ISLAND DR                                                                                            BONITA SPRINGS         FL 34134‐9141
RASKOPF, EMMETT J               1555 N PLACITA CHISTOSO                                                                                             GREEN VALLEY           AZ 85614‐4148
RASKOV, JAMES A                 108 ARGALI PL                                                                                                       CORTLAND               OH 44410‐1603
RASLICH, FRANK E                11930 ARDEL DR                                                                                                      LENNON                 MI 48449‐9665
RASLICH, MARY E                 6333 BUELL RD                                                                                                       VASSAR                 MI 48768‐9614
RASLICH, STEPHEN C              5213 RAY RD                                                                                                         LINDEN                 MI 48451‐8460
RASLPH R RHOADS JR              364 FANCY HILL RD                                                                                                   BOYERTOWN              PA 19512
RASMER, KENNETH R               2710 EAST 140TH PLACE SOUTH                                                                                         BIXBY                  OK 74008‐3635
RASMER, LEONARD J               2003 18TH ST                                                                                                        BAY CITY               MI 48708‐7516
RASMER, ROGER A                 2094 E HOTCHKISS RD                                                                                                 BAY CITY               MI 48706‐9083
RASMER, SYLVESTER J             5088 OAKHURST CT                                                                                                    BAY CITY               MI 48706‐3145
RASMUS, FLORENCE R              1008 S FARRAGUT ST                                                                                                  BAY CITY               MI 48708‐8010
RASMUSON, ERIC N                5600 AUSTIN RD                                                                                                      SALINE                 MI 48176‐9603
RASMUSSE, JAMES                 25057 AGATE RD                                                                                                      BARSTOW                CA 92311‐3328
RASMUSSEN AUTO REPAIR           1023 N MAPLE AVE                                                                                                    FRESNO                 CA 93702‐1514
RASMUSSEN COLLEGE               3500 FEDERAL DR                                                                                                     EAGAN                  MN 55122‐1346
RASMUSSEN DAVID                 LINDSAY, LISA A                    1100 NEW YORK AVENUE NW , WEST                                                   WASHINGTON             DC 20005
                                                                   TOWER SUITE 500
RASMUSSEN DAVID                 LINDSAY, LISA A                    411 EAST WISCONSIN AVENUE ‐                                                      MILWAUKEE             WI 53202
                                                                   SUITE 700 ‐ P O BOX 3262
RASMUSSEN DAVID                 MACKIE, SUSAN                      1100 NEW YORK AVENUE NW , WEST                                                   WASHINGTON            DC 20005
                                                                   TOWER SUITE 500
RASMUSSEN DAVID                 MACKIE, SUSAN                      411 EAST WISCONSIN AVENUE ‐                                                      MILWAUKEE             WI 53202
                                                                   SUITE 700 ‐ P O BOX 3262
RASMUSSEN DAVID                 RASMUSSEN, DAVID                   1100 NEW YORK AVENUE NW , WEST                                                   WASHINGTON            DC 20005
                                                                   TOWER SUITE 500
RASMUSSEN DAVID                 RASMUSSEN, DAVID                   411 EAST WISCONSIN AVENUE ‐                                                      MILWAUKEE             WI 53202
                                                                   SUITE 700 ‐ P O BOX 3262
RASMUSSEN DAVID 2D ACTION       RASMUSSEN, DAVID                   1622 LOCUST ST                                                                   PHILADELPHIA          PA 19103‐6305
RASMUSSEN DAVID 2D ACTION       RASMUSSEN, DAVID                   1100 NEW YORK AVENUE NW , WEST                                                   WASHINGTON            DC 20005
                                                                   TOWER SUITE 500
RASMUSSEN DAVID 2D ACTION       RASMUSSEN, DAVID                   411 EAST WISCONSIN AVENUE ‐                                                      MILWAUKEE             WI 53202
                                                                   SUITE 700 ‐ P O BOX 3262
RASMUSSEN GMBH                  EDISONSTR 4                                                                                    MAINTAL D‐63477
                                                                                                                               GERMANY
RASMUSSEN GMBH                  GREG NIBLING                       NORMA RASMUSSEN GMBH             EDISONSTR 4                MONTE CARLO MONACO
RASMUSSEN GORDON                36501 COUNTRY RD #104                                                                                               DIXON                 CA   95620
RASMUSSEN III, CHARLES W        536 KIRKCALDY WAY                                                                                                   ABINGDON              MD   21009‐2418
RASMUSSEN III, CHARLES WALTER   536 KIRKCALDY WAY                                                                                                   ABINGDON              MD   21009‐2418
RASMUSSEN JAMES                 MORENO, ADRIANA                    JACQUE BEAUGELMANS               1901 AVENUE OF THE STARS                        LOS ANGELES           CA   90067
                                                                                                    SUITE 1900
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Name                                Address1                            Address2                        Address3                    Address4         City              State Zip
RASMUSSEN JAMES                     RASMUSSEN, JAMES                    JACQUE BEAUGELMANS              1901 AVENUE OF THE STARS                     LOS ANGELES        CA 90067
                                                                                                        SUITE 1900
RASMUSSEN MOTORS INC.               209 W CHERRY ST                                                                                                  VERMILLION        SD 57069‐1109
RASMUSSEN MOTORS INC.               GARY RASMUSSEN                      209 W CHERRY ST                                                              VERMILLION        SD 57069‐1109
RASMUSSEN RALPH E SR (439424)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510
                                                                        STREET, SUITE 600
RASMUSSEN RICHARD                   RASMUSSEN, RICHARD                  INGENIX                         10701 WEST RESEARCH DRIVE                    WAUWATOSA         WI 53226
                                                                                                        WI030‐3550
RASMUSSEN RICHARD                   RASMUSSEN, TRAVIS                   INGENIX                         10701 WEST RESEARCH DRIVE                    WAUWATOSA         WI 53226
                                                                                                        WI030‐3550
RASMUSSEN SITE REMEDIATION GROUP    GONZALEZ SAGGIO & HARLAN, LLP C/O   225 EAST MICHIGAN STREET        FOURTH FLOOR                                 MILWAUKEE         WI 53202
                                    NED WITTE
RASMUSSEN STEWART CHEVROLET BUICK   THOMAS RASMUSSEN                    2455 E HIGHWAY 33                                                            CRETE             NE 68333‐2636
PONTIAC, INC.
RASMUSSEN STEWART CHEVROLET BUICK   2455 E HIGHWAY 33                                                                                                CRETE             NE 68333‐2636
PONTIAC, INC.
RASMUSSEN WAYNE I (411846)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK           VA 23510
                                                                        STREET, SUITE 600
RASMUSSEN, ALLAN R                  13 MEADOW CT                                                                                                     FOLEY             MO   63347
RASMUSSEN, ANDREW S                 317 N GRANT ST                                                                                                   BAY CITY          MI   48708‐6564
RASMUSSEN, CATHERINE A              1525 S 400 E TRLR 21                                                                                             SPRINGVILLE       UT   84663‐2475
RASMUSSEN, CATHERINE A              1525 S 400 E LOT # 21                                                                                            SPRINGVILLE       UT   84663
RASMUSSEN, DAVID                    VONBRIESEN & ROPER                  411 EAST WISCONSIN AVENUE ‐                                                  MILWAUKEE         WI   53201‐3262
                                                                        SUITE 700 ‐ P O BOX 3262
RASMUSSEN, DAVID                    BERGER & MONTAGUE P.C.              1622 LOCUST ST                                                               PHILADELPHIA      PA 19103‐6305
RASMUSSEN, DAVID                    COHEN MILSTEIN HAUSFELD & TOLL      1100 NEW YORK AVENUE NW, WEST                                                WASHINGTON        DC 20005‐3943
                                                                        TOWER SUITE 500
RASMUSSEN, DAVID T                  2340 NORFOLK APT 105                                                                                             ROCHESTER HLS     MI   48309‐3179
RASMUSSEN, DOUGLAS W                8211 W DIXON RD                                                                                                  REESE             MI   48757‐9531
RASMUSSEN, ERIC S                   15259 MERION CT                                                                                                  NORTHVILLE        MI   48168‐8491
RASMUSSEN, ERNEST A                 429 S MAIN ST APT 333                                                                                            CHARITON          IA   50049‐2511
RASMUSSEN, ESTHER A                 1700 S RIVER RD APT 142                                                                                          JANESVILLE        WI   53546
RASMUSSEN, EUGENE                   BOONE ALEXANDRA                     205 LINDA DR                                                                 DAINGERFIELD      TX   75638‐2107
RASMUSSEN, JAMES                    JACQUE BEAUGELMANS                  1901 AVENUE OF THE STARS STE                                                 LOS ANGELES       CA   90067‐6020
                                                                        1900
RASMUSSEN, JAMES G                  810 W MCCONNELL ST                                                                                               SAINT JOHNS       MI   48879‐1746
RASMUSSEN, JANISE A                 5701 BROOKS DR 10                                                                                                OXFORD            MI   48371
RASMUSSEN, JEAN R                   3909 NORTH EDGEWOOD DRIVE                                                                                        JANESVILLE        WI   53545‐9068
RASMUSSEN, JEANETTE R               4900 W 138TH ST                                                                                                  LEAWOOD           KS   66224‐1108
RASMUSSEN, JEFFREY D                406 LORRAINE AVE                                                                                                 BALTIMORE         MD   21221‐6819
RASMUSSEN, JEFFREY DAVID            406 LORRAINE AVE                                                                                                 BALTIMORE         MD   21221‐6819
RASMUSSEN, JERRY L                  3141 DANBURY DR W                                                                                                JANESVILLE        WI   53546‐8825
RASMUSSEN, JOHN I                   1134 THOMAS AVE APT C                                                                                            SAN DIEGO         CA   92109‐4191
RASMUSSEN, JOHN I                   1134 THOMAS AVE                     C                                                                            SAN DEIGO         CA   92109
RASMUSSEN, JOHN P                   6750 RATTALEE LAKE RD                                                                                            CLARKSTON         MI   48348‐1952
RASMUSSEN, JOHN S                   4458 HICKORYWOOD DR                                                                                              OKEMOS            MI   48864‐3076
RASMUSSEN, JON E                    5685 CURTIS BLVD                                                                                                 COCOA             FL   32927‐2216
RASMUSSEN, JOSEPH J                 3550 7 MILE RD                                                                                                   BAY CITY          MI   48706‐9427
RASMUSSEN, KAREN L                  25256 RAYBURN DR                                                                                                 WARREN            MI   48089‐4649
RASMUSSEN, KATHRYN F                48190 BLUEBIRD DR                                                                                                SHELBY TOWNSHIP   MI   48317‐2402
RASMUSSEN, KATHRYN L                803 NE COLUMBUS                                                                                                  LEES SUMMIT       MO   64063‐2514
RASMUSSEN, KATHY A                  4772 NICOL CMN APT 107                                                                                           LIVERMORE         CA   94550‐7257
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Name                           Address1                         Address2                           Address3   Address4         City                State Zip
RASMUSSEN, KATHY S             PO BOX 2947                                                                                     KOKOMO               IN 46904‐2947
RASMUSSEN, KERRY L             11603 WOODLAND STRASSE                                                                          EAGLE                MI 48822‐9624
RASMUSSEN, KERRY LEE           11603 WOODLAND STRASSE                                                                          EAGLE                MI 48822‐9624
RASMUSSEN, KEVIN
RASMUSSEN, KIMBERLY K          2411 FAIRWOOD DR                                                                                FORT WAYNE          IN   46816‐3821
RASMUSSEN, KIRK E              52723 KARON DR                                                                                  MACOMB              MI   48042‐5642
RASMUSSEN, LISA H              1103 HAGERER ST                                                                                 RACINE              WI   53402‐4814
RASMUSSEN, LUCINDA A           1542 S LAURIE LN                                                                                NEW BERLIN          WI   53146‐1243
RASMUSSEN, MARY A              866 CARLSON RD                                                                                  MANISTEE            MI   49660
RASMUSSEN, MARY ANN            866 CARLSON RD                                                                                  MANISTEE            MI   49660
RASMUSSEN, MARY P              254 MANALAPAN ROAD                                                                              SPOTSWOOD           NJ   08884‐1816
RASMUSSEN, NICHOLAS            2233 WESTBROOK DRIVE                                                                            FORT WAYNE          IN   46805‐3238
RASMUSSEN, NORMA L             8543 CHAPEL PINES DR                                                                            INDIANAPOLIS        IN   46234‐2161
RASMUSSEN, PATRICK J           3462 BLUE LAKE DR                                                                               FLINT               MI   48506‐2063
RASMUSSEN, PAUL J              2440 PLEASANT VIEW DR                                                                           ROCHESTER HILLS     MI   48306‐3148
RASMUSSEN, PAUL W              5500 CAREY RD                                                                                   COMMERCE TOWNSHIP   MI   48382‐1203
RASMUSSEN, RALPH E             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA   23510‐2212
                                                                STREET, SUITE 600
RASMUSSEN, REBECCA E.          4219 N 450 W                                                                                    COLUMBIA CITY       IN 46725‐9189
RASMUSSEN, RICHARD             3433 120TH ST                                                                                   RANDOLPH            IA 51649‐6046
RASMUSSEN, RICHARD             INGENIX                          10701 WEST RESEARCH DRIVE WI030‐                               WAUWATOSA           WI 53226
                                                                3550
RASMUSSEN, RICHARD E           1390 GREBE RD                                                                                   HIGHLAND            MI   48357‐3924
RASMUSSEN, ROBERT J            10651 VALLEY CT                                                                                 ORLAND PARK         IL   60462‐7435
RASMUSSEN, ROBERT W            1077 E NEW RD                                                                                   GREENFIELD          IN   46140‐8985
RASMUSSEN, RONALD L            910 WINCHESTER DR                                                                               RENO                NV   89506‐6738
RASMUSSEN, SHIRLEY             4603 W JASON RD                                                                                 DEWITT              MI   48820‐8007
RASMUSSEN, STACY               2233 WESTBROOK DRIVE                                                                            FORT WAYNE          IN   46805‐3238
RASMUSSEN, SUNETRA             1015 S MORRISH RD                                                                               FLINT               MI   48532‐3035
RASMUSSEN, SUSAN R             1527 BRISTOL LN                                                                                 HANFORD             CA   93230‐7915
RASMUSSEN, TERRY L             PO BOX 235                                                                                      HADLEY              MI   48440‐0235
RASMUSSEN, THOMAS A            5355 CARLSON RD                                                                                 MANISTEE            MI   49660‐9497
RASMUSSEN, TIM E               9117 E 43 ST TERR                                                                               KANSAS CITY         MO   64133
RASMUSSEN, TOM                 1924 DANBURY W                                                                                  OKEMOS              MI   48864‐1850
RASMUSSEN, TRAVIS              3433 120TH ST                                                                                   RANDOLPH            IA   51649‐6046
RASMUSSEN, VERNA               2244 MALLARD DR                                                                                 REESE               MI   48757‐9466
RASMUSSEN, WALTER J            715 GEORGE AVE                                                                                  ESSEX               MD   21221‐4729
RASMUSSEN, WANDA               1131 N LEXINGTON DRIVE                                                                          JANESVILLE          WI   53545‐2122
RASMUSSEN, WAYNE L             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA   23510‐2212
                                                                STREET, SUITE 600
RASMUSSEN, WAYNE L             2004 N POLZIN RD                                                                                JANESVILLE          WI   53548‐8725
RASMUSSEN‐STEWART AUTO GROUP   2455 E HIGHWAY 33                                                                               CRETE               NE   68333‐2636
RASNA CORP/TROY                100 W BIG BEAVER RD STE 200                                                                     TROY                MI   48084‐5283
RASNAKE, BILLY B               2004 NAVION ST                                                                                  RICHMOND            VA   23228‐1317
RASNAKE, DEWEY C               14075 E MEADOW RD                                                                               DEWEY               AZ   86327‐6726
RASNAKE, DOUGLAS M             16255 LARGE HOLLOW RD                                                                           ABINGDON            VA   24210‐9079
RASNAKE, FRANCES R             3741 KINGSWOOD DR                                                                               KETTERING           OH   45429‐4319
RASNAKE, KAREN
RASNAKE, KEMPER B              20427 RICH VALLEY RD                                                                            ABINGDON            VA   24210‐1759
RASNAKE, LESTER J              496 FANKLIN RD                                                                                  WAYNESVILLE         OH   45068‐8400
RASNAKE, LESTER J              496 FRANKLIN RD                                                                                 WAYNESVILLE         OH   45068‐8400
RASNAKE, MAGGIE                653 5TH AVE                                                                                     HAYSI               VA   24256‐5164
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Name                                  Address1                           Address2                      Address3   Address4                 City              State Zip
RASNAKE, MAGGIE                       653 FIFTH AVE                                                                                        HAYSI              VA 24256‐9639
RASNER, DONALD L                      3304 W JORDAN CT                                                                                     BLOOMINGTON        IN 47403‐4100
RASNIC, LAQUITA A                     718 CREIGHTON AVE                                                                                    DAYTON             OH 45410‐5410
RASNICK SAMUEL (429659)               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                         STREET, SUITE 600
RASNICK, FLOYD A                      4717 STANTON LAKE RD                                                                                 ATTICA            MI   48412‐9329
RASNICK, JAMES E                      1209 E SECOND ST                                                                                     GREENFIELD        IN   46140‐2638
RASNICK, JAMES ELIJAH                 1209 E SECOND ST                                                                                     GREENFIELD        IN   46140‐2638
RASNICK, SAMUEL                       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510‐2212
                                                                         STREET, SUITE 600
RASO PAUL (412534)                    DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY   10463
RASO PAUL (412534) ‐ RUP CARL         DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY   10463
RASO PAUL (412534) ‐ RYBOS JOHN       DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY   10463
RASO PAUL (412534) ‐ SAVOY FRANCIS    DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY   10463
RASO PAUL (412534) ‐ SHIKARIDES       DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY   10463
ANDREW
RASO PAUL (412534) ‐ STELLA FRANK     DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY 10463
RASO PAUL (412534) ‐ SWINSON EMMETT   DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY 10463

RASO PAUL (412534) ‐ TEDONE STEPHEN   DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY 10463

RASO PAUL (412534) ‐ TIMON KEVIN      DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY   10463
RASO PAUL (412534) ‐ WAGNER KARL      DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  BRONX             NY   10463
RASO, AURORA                          4614 S WINCHESTER AVE                                                                                CHICAGO           IL   60609‐3850
RASO, MICHAEL L                       11 ALIDREW DR                                                                                        COLD SPRING       KY   41076‐9741
RASO, PAUL CAMERON                    DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                  RIVERDALE         NY   10463
RASOOL MD                             PO BOX 33278                                                                                         GRANADA HILLS     CA   91394‐3278
RASOOL, ANGELA Y                      209 S PLAZA TRL                                                                                      VIRGINIA BEACH    VA   23452‐5445
RASOOL, ANGELA Y                      209 SOUTH PLAZA TRAIL                                                                                VIRGINIA BEACH    VA   23452
RASOOL, HAMIN                         1388 SENTINEL RIDGE DR                                                                               FLINT             MI   48532‐3749
RASOR, CAROL P                        5408 W ORCHID LN                                                                                     GLENDALE          AZ   85302‐4838
RASOR, EVELYN R                       4986 FRANLOU AVE                                                                                     DAYTON            OH   45432‐3120
RASOR, JOHN R                         5035 E US HIGHWAY 40                                                                                 GREENFIELD        IN   46140‐9407
RASOR, KRISTEN                        288 KENDALE ST                                                                                       BOWLING GREEN     KY   42103
RASOR, WILLIAM E                      10275 PLEASANT PLAIN RD.                                                                             BROOKVILLE        OH   45309‐5309
RASOUL, HASSAN                        3435 SHEPHERD HILLS DR                                                                               MINNEAPOLIS       MN   55431‐1542
RASOVIC MIKE                          8 INDUSTRIAL PARK                                                                                    WALDWICK          NJ   07463‐1512
RASP, CAROL S                         8101 LAURA LYNNE LN                                                                                  INDIANAPOLIS      IN   46217‐4926
RASP, EDWARD W                        479 RIDGE RD APT F4                                                                                  NEWTON FALLS      OH   44444‐1277
RASP, JAY L                           4712 W 8TH AVE                                                                                       STILLWATER        OK   74074‐1400
RASPA ALESSIO                         VIA OLIVELLO, 44                                                            06089 TORGIANO PERUGIA
                                                                                                                  ITALY
RASPA, ANTHONY L                      215 KARSEY ST                                                                                        HIGHLAND PARK     NJ   08904‐3123
RASPANTE, PETER                       105 COLUMBIA DR                                                                                      COATESVILLE       PA   19320‐4325
RASPATELLO, GAETANO                   9071 MILL CREEK RD APT 3020                                                                          LEVITTOWN         PA   19054‐4239
RASPBERRY JR, WILLIAM H               10700 LINNELL DR                                                                                     SAINT LOUIS       MO   63136‐4533
RASPBERRY, FREDERICK J                1310 SAN JUAN DR                                                                                     FLINT             MI   48504‐3289
RASPBERRY, FREDERICK J.S.             1310 SAN JUAN DR                                                                                     FLINT             MI   48504‐3289
RASPBERRY, TIAJUANA L                 1559 E 13 MILE RD                                                                                    MADISON HEIGHTS   MI   48071‐1524
RASPER, DONNA P                       2424 N 70TH ST                                                                                       WAUWATOSA         WI   53213‐1322
RASPER, EDWARD F                      7512 W CARMEN AVE                                                                                    MILWAUKEE         WI   53218‐2240
RASPER, JEFFREY W                     6713 MARTIN MILL PIKE                                                                                KNOXVILLE         TN   37920‐6831
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Name                          Address1                             Address2                      Address3                Address4                  City              State Zip
RASPILLER TIM                 31012 N 142ND ST                                                                                                     SCOTTSDALE         AZ 85262‐6628
RASPOLIC, ANGELA M            3509 BRUNSWICK AVE                                                                                                   FLINT              MI 48507‐1472
RASPOLIC, MICHAEL W           5489 N LINDEN RD                                                                                                     FLINT              MI 48504‐1105
RASPOLIC, MICHAEL WAYNE       5489 N LINDEN RD                                                                                                     FLINT              MI 48504‐1105
RASPOLIC, PHYLLIS I           302 SHADYGROVE LN                                                                                                    ROSCOMMON          MI 48653‐8513
RASPOLIC, PHYLLIS I           302 SHADY GROVE LANE                                                                                                 ROSCOMMON          MI 48653‐8513
RASS ANTHONY                  2003 FERRIS AVE                                                                                                      FLINT              MI 48503‐4045
RASS HUGGINS                  PO BOX 1453                                                                                                          FRANKLIN           NC 28744‐1453
RASS, HERMAN D                37254 BRISTOL ST                                                                                                     LIVONIA            MI 48154‐1764
RASSA, EDWARD A               1122 WALTERS MILL RD                                                                                                 FOREST HILL        MD 21050‐1416
RASSA, EDWARD A               1106 WALTERS MILL RD                                                                                                 FOREST HILL        MD 21050‐1416
RASSAS PONTIAC BUICK, INC.    395 BROAD ST                                                                                                         RED BANK           NJ 07701‐2103
RASSAS PONTIAC BUICK, INC.    AARON RASSAS                         395 BROAD ST                                                                    RED BANK           NJ 07701‐2103
RASSEGA, GERALD J             4402 MARY ELLEN DR.                                                                                                  VIENNA             OH 44473‐9517
RASSEGA, GERALD J             4402 MARYELLEN DR                                                                                                    VIENNA             OH 44473‐9517
RASSEGA, MARIE E              161 GERTRUDE ST NW                                                                                                   WARREN             OH 44483‐1401
RASSEL, MICHAEL P             976 MEADOR RD                                                                                                        FRANKLIN           KY 42134‐6835
RASSEL, MICHAEL PAUL          976 MEADOR RD                                                                                                        FRANKLIN           KY 42134‐6835
RASSENFOSS, WILLIAM O         1862 RIVERVIEW DR                                                                                                    DEFIANCE           OH 43512‐2524
RASSET INC DONALD W
RASSET, DONALD
RASSET, SUSAN
RASSEY INDUSTRIES             DAN DOSTERT                          15711 E 12 MILE RD                                                              ROSEVILLE         MI   48066‐1844
RASSEY INDUSTRIES             DAN DOSTERT                          15711 EAST 12 MILE RD                                                           AURORA            IL   60506
RASSEY INDUSTRIES INC         DAN DOSTERT                          15711 E 12 MILE RD                                                              ROSEVILLE         MI   48066‐1844
RASSEY INDUSTRIES INC         DAN DOSTERT                          15711 EAST 12 MILE RD                                                           AURORA            IL   60506
RASSEY INDUSTRIES INC         15711 E 12 MILE RD                                                                                                   ROSEVILLE         MI   48066‐1844
RASSEY INDUSTRIES INC         50375 CENTRAL INDUSTRIAL DR                                                                                          SHELBY TOWNSHIP   MI   48315‐3114
RASSIE BOYCE                  11260 SPROULE AVE                                                                                                    PACOIMA           CA   91331‐1550
RASSINI                       ROBERT J. ANDERSON                   14500 N BECK RD                                                                 PLYMOUTH          MI   48170‐3383
RASSINI CHASSIS SYSTEMS       RASSINI SA DE CV                     1812 MAGDA DR                                                                   MONTPELIER        OH   43543‐9373
RASSINI CHASSIS SYSTEMS LLC   DON ROSOCHACKIX235                   1812 MAGNA DR                                                                   RUSSELL SPRINGS   KY   42642
RASSINI FRENOS SA DE CV       GUSTAVO ABURTO X247                  C/O PTI QUALITY CONTAINMENT   18615 SHERWOOD STREET                             ROMULUS           MI
RASSINI FRENOS SA DE CV       14500 N BECK RD                                                                                                      PLYMOUTH          MI   48170‐3383
RASSINI FRENOS SA DE CV       CARRETERA A MOYOTZINGO KM 2.5                                                              SAN MARTIN TEXMELUCAN,
                                                                                                                         P 74129 MEXICO
RASSINI FRENOS SA DE CV       CARRETERA A MOYOTZINGO KM 2.5        COLONIA BALTAZAR                                      SAN MARTIN TEXMELUCAN
                                                                                                                         PU 74129 MEXICO
RASSINI INTERNATIONAL INC     14500 N BECK RD                                                                                                      PLYMOUTH          MI 48170‐3383
RASSINI RHEEM S A DE C V      ATTN: CORPORATE OFFICER/AUTHORIZED   14500 N BECK RD                                                                 PLYMOUTH          MI 48170‐3383
                              AGENT
RASSINI RHEEM.SA DE CU        DON ROSOCHACKI‐235                   CALLE PUERTO ARTURO           PIEDROS NEGRAS          DANDENONG 3175
                                                                                                                         AUSTRALIA
RASSINI S A MUELLES           AV ELECTRICIDAD NO 6 COL IND         XALOSTOC                                              MEXICO DF 55346 MEXICO
RASSINI S.A. (MUELLES)        AV ELECTRICIDAD Y PUGIBET                                                                  XALOSTOC EM 00000
                                                                                                                         MEXICO
RASSINI SA DE CV              14500 N BECK RD                                                                                                      PLYMOUTH          MI 48170‐3383
RASSINI SA DE CV              PUERTO ARTURO #803                   COL BRAVO                                             PIEDRAS NEGRAS CZ 26030
                                                                                                                         MEXICO
RASSINI SA DE CV              PUERTO ARTURO #803                                                                         PIEDRAS NEGRAS, C 26030
                                                                                                                         MEXICO
RASSINI/MONTPELIER            1812 MAGDA DR                                                                                                        MONTPELIER        OH 43543‐9373
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Name                                Address1                            Address2                       Address3   Address4         City              State Zip
RASSIOCILLIO D BROWN                676 LOTHROP RD APT 7                                                                           DETROIT            MI 48202‐2731
RASSIZI, BENJAMIN                   2420 DELTA RIVER DR                                                                            LANSING            MI 48906‐3751
RASSMAN, MARK G                     12351 BUCKEYE DR                                                                               PAULDING           OH 45879‐8872
RASSNER, MAIRI A                    10527 W MOHAWK CT                                                                              FORT WAYNE         IN 46804‐4959
RASSNER, MAIRI ALEANA               10527 W MOHAWK CT                                                                              FORT WAYNE         IN 46804‐4959
RASSNER, RONALD G                   476 CHILI AVE                                                                                  PERU               IN 46970‐1209
RAST KEVIN                          601 AVANEL DR                                                                                  MODESTO            CA 95356‐1761
RAST, HARRIET F                     1015 WHISPERING OAK CT                                                                         ARLINGTON          TX 76012‐2802
RAST, LARRY L                       251 N TURKEY PINE LOOP                                                                         LECANTO            FL 34461‐8432
RAST, MARILYN L                     251 N TURKEY PINE LOOP                                                                         LECANTO            FL 34461‐8432
RAST, PATRICIA L                    5938 THORNTON RD                                                                               OSCODA             MI 48750‐9276
RAST, RENEE L                       4503 SOUTH 25TH ST                                                                             FORT PIERCE        FL 34981
RAST, ROBERT D                      8855 W PINE LAKE RD                                                                            SALEM              OH 44460‐9250
RAST, ROGER W                       2912 POMONA DR                                                                                 EAU CLAIRE         WI 54701‐6846
RAST, SHANNON W                     3723 GLADE FOREST DR                                                                           KINGWOOD           TX 77339‐6105
RASTELLI, HELEN M                   16648 24TH RD                                                                                  WHITESTONE         NY 11357‐4014
RASTELLI, MARION J                  800 LINCOLN AVE E APT 209                                                                      CRANFORD           NJ 07016‐3181
RASTELLI, MARION J                  800 LINCOLN AVENUE EAST             APT 209                                                    CRANFORD           NJ 07016‐181
RASTELLI, ROBERTO L                 32214 LOOMIS DR                                                                                FARMINGTON         MI 48336‐2442
RASTELLI, ROBERTO L.                32214 LOOMIS DR                                                                                FARMINGTON         MI 48336‐2442
RASTETTER, FRANCES C                8523 S HOOSIER ST                                                                              ROSEDALE           IN 47874‐7221
RASTETTER, FRANCES C                8523 S. HOOSIER STREET                                                                         ROSEDALE           IN 47874‐7221
RASTETTER, MICHAEL W                9155 N 400 W                                                                                   FRANKTON           IN 46044‐9412
RASTIGUE, WAYNE A                   17667 REDWOOD DR                                                                               MACOMB             MI 48042‐3518
RASTOGI, CHETAN                     3535 CHERISHED VIEW DR                                                                         TROY               MI 48084‐1733
RASTOGI, SANJAY K                   5401 CREEKMONTE DR                                                                             ROCHESTER          MI 48306‐4796
RASTORFER, JOHN W                   3708 SW 1ST PL                                                                                 CAPE CORAL         FL 33914‐5011
RASTOSKEY, SAMUEL C                 3829 SHEFFIELD RD                                                                              HICKORY CORNERS    MI 49060‐9741
RASTUS RAMEY                        PO BOX 122                                                                                     LOGANVILLE         GA 30052‐0122
RASUL, HATIM T                      12 CLARK ST                                                                                    EATONVILLE         FL 32751‐5306
RASZEJA, JOHN N                     66 LAKESIDE DR                                                                                 WEST SENECA        NY 14224‐1014
RASZEJA, JOHN NORMAN                66 LAKESIDE DR                                                                                 WEST SENECA        NY 14224‐1014
RASZKOWSKI, JAMES A                 8617 SHOAL CREEK LN                                                                            INDIANAPOLIS       IN 46234‐9548
RASZKOWSKI, JASON A                 6720 COURTNEY PARK RD APT 7105                                                                 CHARLOTTE          NC 28217
RASZL, ADAM E                       228 LILAC CT                                                                                   REDLANDS           CA 92373‐6126
RATA, CHESTER                       13037 E 12 MILE RD                                                                             WARREN             MI 48088‐3668
RATAICZAK, FRANCIS E                GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
                                                                        260
RATAJ JR CASIMER (503266) ‐ RATAJ   GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW           MI 48604‐2602
CASIMER                                                                 260
RATAJ, CASIMER                      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW           MI 48604‐2602
                                                                        260
RATAJACK, ROBERT W                  17710 DENBY                                                                                    DETROIT           MI   48240‐2368
RATAJCZAK, EDWARD M                 2302 GARFIELD RD                                                                               AUBURN            MI   48611‐9734
RATAJCZAK, ELEANORE                 48 ANDRES PL                                                                                   CHEEKTOWAGA       NY   14225‐3204
RATAJCZAK, FELIX R                  5651 YOUNG RD                                                                                  LOCKPORT          NY   14094
RATAJCZAK, GERALD D                 1446 VAN VLEET RD                                                                              FLUSHING          MI   48433‐9732
RATAJCZAK, GERALD R                 1801 33RD ST                                                                                   BAY CITY          MI   48708‐8145
RATAJCZAK, MICHAEL J                PO BOX 6175                                                                                    SAGINAW           MI   48608‐6175
RATAJCZAK, NANCY L                  5115 WESTCOMBE LN                                                                              W BLOOMFIELD      MI   48324‐2263
RATAJCZAK, R                        11525 E 10 MILE RD                                                                             WARREN            MI   48089‐3802
RATAJCZAK, RANAE L                  1446 N VAN VLEET RD                                                                            FLUSHING          MI   48433
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RATAJCZAK, ROBERT C                     265 LYDIA LN                                                                                    CHEEKTOWAGA       NY 14225‐5237
RATAJCZAK, ROBERT CONRAD                265 LYDIA LN                                                                                    CHEEKTOWAGA       NY 14225‐5237
RATAJCZAK, ROBERT J                     6225 HIDDEN CREEK DR APT 223                                                                    LORAIN            OH 44053‐4315
RATAJCZAK, RONALD B                     1838 OPALINE DR                                                                                 LANSING           MI 48917‐8638
RATAJCZAK, TERRANCE E                   2816 AGNES DR                                                                                   BAY CITY          MI 48708‐8476
RATAJCZAK, THEODOSIA                    509 HAROLD ST                                                                                   BAY CITY          MI 48708‐7560
RATAJCZAK, THOMAS J                     2858 ROSWELL PKWY                                                                               EDEN              NY 14057‐1231
RATAJCZAK, THOMAS JOHN                  2858 ROSWELL PKWY                                                                               EDEN              NY 14057‐1231
RATAJSKY, JOSEPH M                      360 W TEMPERANCE RD                                                                             TEMPERANCE        MI 48182‐9372
RATALSKY, HELEN                         27219 NORMA DR                                                                                  WARREN            MI 48093‐8318
RATAY, LINDA S                          316 WOODDUCK CT                                                                                 HAVRE DE GRACE    MD 21078‐4248
RATAY, TOM R                            442 WINTER PARK DR                                                                              O FALLON          MO 63366‐5531
RATCHFORD PAINTING CO                   PO BOX 1774                                                                                     MUNCIE            IN 47308‐1774
RATCHFORD, ANTHONY                      LANIER & WILSON L.L.P.          1331 LAMAR, SUITE 675                                           HOUSTON           TX 77010
RATCHFORD, CHARLES W                    2602 BUTTERMILK PIKE                                                                            VILLA HILLS       KY 41017‐1157
RATCHFORD, PAUL D                       1135 CRYSTAL POINT CIR                                                                          BULLHEAD CITY     AZ 86429‐5878
RATCHFORD, RYAN C                       11603 FAIRFAX COMMONS DR                                                                        FAIRFAX           VA 22030
RATCLIFF BRIAN                          100 E CHURCH ST                                                                                 EL DORADO         AR 71730‐4602
RATCLIFF GERALD L (439425)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510
                                                                        STREET, SUITE 600
RATCLIFF JR, CALEB D                    1179 ECKMAN AVE                                                                                 PONTIAC          MI 48342‐1934
RATCLIFF JR, HUBERT                     91 MARYWOOD CT                                                                                  NEW ORLEANS      LA 70128‐2029
RATCLIFF JR, LILMON B                   1231 DUFRAIN AVE                                                                                PONTIAC          MI 48342‐1932
RATCLIFF LUMBER INC                     12307 WOODBINE AVE              PO BOX 717                                 GORMLEY ON L0H 1G0
                                                                                                                   CANADA
RATCLIFF WILLIAM (ESTATE OF) (492130)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD       OH 44067
                                                                        PROFESSIONAL BLDG
RATCLIFF, ALBERT P                      100 SOUTH 10961 WEST                                                                            RUSSIAVILLE      IN   46979
RATCLIFF, ALTIS                         480 ELM ST                                                                                      PONTIAC          MI   48342‐3424
RATCLIFF, ANDREW M                      SHANNON LAW FIRM                100 W GALLATIN ST                                               HAZLEHURST       MS   39083‐3007
RATCLIFF, ARTHUR F                      1770 S ALCONY CONOVER RD                                                                        TROY             OH   45373‐9628
RATCLIFF, CHARLES O                     1113 N LEEDS ST                                                                                 KOKOMO           IN   46901‐2627
RATCLIFF, CHARLIE E                     252 RAPID ST                                                                                    PONTIAC          MI   48341‐2255
RATCLIFF, CLARENCE                      GUY WILLIAM S                   PO BOX 509                                                      MCCOMB           MS   39649‐0509
RATCLIFF, CLAUDATRICE                   6340 NORMANDY DR APT 3                                                                          SAGINAW          MI   48638
RATCLIFF, DAVID B                       2449 PAVONIA RD                                                                                 MANSFIELD        OH   44903‐7812
RATCLIFF, DAVID C                       N2774 MODE LN                                                                                   FORT ATKINSON    WI   53538‐8819
RATCLIFF, DAVID M                       1430 SANDERS RD                                                                                 TROY             OH   45373‐8638
RATCLIFF, DENNY R                       5302 CANDLE LN                                                                                  NORTHPORT        AL   35473‐1117
RATCLIFF, DONALD R                      1307 OLD JOPPA RD                                                                               JOPPA            MD   21085‐3315
RATCLIFF, DONALD W                      6048 E US HIGHWAY 36                                                                            BAINBRIDGE       IN   46105‐9615
RATCLIFF, EDWARD A                      12400 WOLCOTT RD                                                                                SAINT PARIS      OH   43072‐9608
RATCLIFF, ELIZABETH E                   5241 N SUGAR HILLS DR                                                                           GREENFIELD       IN   46140
RATCLIFF, ERNEST J                      SHANNON LAW FIRM                100 W GALLATIN ST                                               HAZLEHURST       MS   39083‐3007
RATCLIFF, ETHEL M                       4312 LIME QUAT DR                                                                               WIMAUMA          FL   33598
RATCLIFF, EWELA C                       1770 S ALCONY CONOVER RD                                                                        TROY             OH   45373‐9628
RATCLIFF, FREDDIE J                     7342 DESOTO ST                                                                                  DETROIT          MI   48238‐1908
RATCLIFF, GERALD L                      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA   23510‐2212
                                                                        STREET, SUITE 600
RATCLIFF, GERALEAN                      631 SHEFFIELD RD                                                                                AUBURN HILLS     MI 48326‐3528
RATCLIFF, HAROLD                        432 SPEEDWAY WOODS DR                                                                           INDIANAPOLIS     IN 46224‐6142
RATCLIFF, JANET K                       2805 DORAL PARK CT                                                                              KOKOMO           IN 46901‐7022
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Name                      Address1                          Address2                       Address3   Address4         City           State Zip
RATCLIFF, JANICE          274 E WILSON AVE                                                                             PONTIAC         MI 48341‐3267
RATCLIFF, JANICE          1472 CIRCLE DR APT 110                                                                       PONTIAC         MI 48340‐1508
RATCLIFF, JANICE L.       807 ROGERS RD                                                                                VILLA HILLS     KY 41017‐1021
RATCLIFF, JIM L           4312 LIME QUAT DR                                                                            WIMAUMA         FL 33598‐4512
RATCLIFF, JOHN A          PO BOX 2439                                                                                  KOKOMO          IN 46904‐2439
RATCLIFF, JOHN C          1751 HAWKINS COVE DR E                                                                       JACKSONVILLE    FL 32246
RATCLIFF, JOHN J          3640 WEST 127TH STREET                                                                       CLEVELAND       OH 44111‐4503
RATCLIFF, JUANITA         19785 12 MILE ROAD                                                                           SOUTHFIELD      MI 48076
RATCLIFF, JUANITA         19785 W 12 MILE RD                                                                           SOUTHFIELD      MI 48076‐2584
RATCLIFF, LEARY M         226 BENOIST CIR                                                                              BOSSIER CITY    LA 71111‐5131
RATCLIFF, LEONARD T       11052 N COONEY RD                                                                            MOORESVILLE     IN 46158‐6420
RATCLIFF, LONZELL A       762 WORCESTER AVE                                                                            WESTCHESTER      IL 60154‐2535
RATCLIFF, NANCY           8102 MANSANILLO CT                                                                           ARLINGTON       TX 76002‐4527
RATCLIFF, RANDY BARNEY    SHANNON LAW FIRM                  100 W GALLATIN ST                                          HAZLEHURST      MS 39083‐3007
RATCLIFF, SUSAN B.        5462 RICKOVER DR                                                                             BATON ROUGE     LA 70811‐1078
RATCLIFF, THELMA F.       27 MORGAN BRANCH RD.                                                                         LEICESTER       NC 28748‐7573
RATCLIFF, VERONICA        32185 ECORSE RD                                                                              ROMULUS         MI 48174‐1924
RATCLIFF, WESLY           SHANNON LAW FIRM                  100 W GALLATIN ST                                          HAZLEHURST      MS 39083‐3007
RATCLIFF, WILLIAM         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD      OH 44067
                                                            PROFESSIONAL BLDG
RATCLIFF, WILLIAM R       PO BOX 139                        29 TUCKER RD                                               NORFOLK        MA   02056‐0139
RATCLIFF, ZACHARY W       711 WANDA LANE                                                                               SHREVEPORT     LA   71107
RATCLIFF‐GOOD, BONNIE B   419 W LINCOLN RD APT E3                                                                      KOKOMO         IN   46902‐3538
RATCLIFF‐RONDEAU, NANCY   8102 MANSANILLO CT.                                                                          ARLINGTON      TX   76002‐4527
RATCLIFFE JR, EARL        #1                                115 NORTH STREET                                           PUTNAM         CT   06260‐1154
RATCLIFFE REBECCA         RATCLIFFE, REBECCA                120 WEST MADISON STREET 10TH                               CHICAGO        IL   60602
                                                            FLOOR
RATCLIFFE, B A            823 9TH AVENUE                                                                               JASPER         AL   35501
RATCLIFFE, EARL T         6747 WOODRIDGE DR                                                                            AVON           IN   46123‐8323
RATCLIFFE, EUNICE B       6073 W DODGE RD                                                                              CLIO           MI   48420‐8508
RATCLIFFE, JESSICA        25238 SPRING IRIS LANE                                                                       KATY           TX   77494‐5580
RATCLIFFE, JOSEPH R       21211 COUNTY ROAD 1                                                                          EMILY          MN   56447‐4001
RATCLIFFE, ROBERT L       3101 GREENLAWN AVE                                                                           COMMERCE TWP   MI   48382‐4626
RATCLIFFE, STEPHEN D      13 BIRCH ST                                                                                  N BROOKFIELD   MA   01535‐1901
RATCLIFFE, TOMMIE L       4645 ROSSMAN RD                                                                              KINGSTON       MI   48741
RATCLIFFE, TONY L         12276 E SHORE                                                                                ATLANTA        MI   49709‐9078
RATCLIFFE, VICKIE L       6747 WOODRIDGE DR                                                                            AVON           IN   46123‐8323
RATCLIFFE, WILLIAM L      221 6TH AVE APT 5                                                                            GALION         OH   44833‐3337
RATDAVONG, KHAMPHONE      741 FIELDVIEW DR                                                                             GRAND LEDGE    MI   48837‐9193
RATE, EDWIN A             16 BURT ST                                                                                   ATTLEBORO      MA   02703‐4543
RATE, KRISTEN M           14411 CLUB CIR                                                                               ALPHARETTA     GA   30004
RATEAU, MARGARET C        473 ASHLEY DR                                                                                GRAND BLANC    MI   48439‐1571
RATEAU, MARTIN H          473 ASHLEY DR                                                                                GRAND BLANC    MI   48439‐1571
RATEAU, OWEN L            9665 E BROOKS RD                                                                             LENNON         MI   48449‐9677
RATELL SR, DAVID R        2355 S CANAL ST                                                                              NEWTON FALLS   OH   44444‐1808
RATELL, JOSEPH M          6173 BROADWAY ST                                                                             INDIANAPOLIS   IN   46220‐1834
RATELL, JOSEPH M          1666 DENISON AVE NW                                                                          WARREN         OH   44485‐1715
RATELL, NANCY M           306 EDA CT                                                                                   ESSEXVILLE     MI   48732‐1126
RATELL, NANCY M           306 EDA COURT                                                                                ESSEXVILLE     MI   48732‐1126
RATERING, KURT D          9813 EARHART RD                                                                              SOUTH LYON     MI   48178‐7029
RATERINK, CHRISTINE L     564 108TH ST SE                                                                              CALEDONIA      MI   49316‐9232
RATERINK, GARRETT G       1130 GULF BLVD                                                                               ENGLEWOOD      FL   34223
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Name                                 Address1                          Address2                      Address3   Address4         City            State Zip
RATERINK, GEORGE G                   560 108TH ST SE                                                                             CALEDONIA        MI 49316‐9232
RATERINK, STEVEN G                   246 N 500 E LOT 231                                                                         MARION           IN 46952‐8530
RATERINK, STEVEN G                   4416 ROYAL GLEN DR NE                                                                       COMSTOCK PARK    MI 49321‐9578
RATERMAN II, LOUIS J                 9870 MEEKER RD                                                                              DAYTON           OH 45414‐1219
RATERMAN, BETTY L                    1029 PIN OAK DRIVE                                                                          WARRENTON        MO 63383‐1381
RATES, DENNIS P                      2305 ROYAL OAKS DR                                                                          MANSFIELD        TX 76063‐5315
RATES, HARRY                         1971 PAGEL AVE                                                                              LINCOLN PARK     MI 48146‐3440
RATES, RICHARD                       1749 FRIAR TUCK DR                                                                          N HUNTINGDON     PA 15642‐4403
RATES, WALTER H                      12512 VIA CATHERINA COURT                                                                   GRAND BLANC      MI 48439‐1406
RATH BRIAN                           RATH, BRIAN                       21707 LOCUST STREET                                       MATTESON          IL 60443
RATH JR, RAYMOND L                   8170 FAIRFIELD CIR                                                                          CLARKSTON        MI 48346‐1118
RATH LYLE D (414673)                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                       STREET, SUITE 600
RATH, ANNETTE                        32724 COLUMBUS DR                                                                           WARREN          MI   48088‐6215
RATH, B                              21707 LOCUST ST                                                                             MATTESON        IL   60443
RATH, BEVERLY L                      733 SUNSET BLVD APT 2                                                                       MANSFIELD       OH   44907‐2553
RATH, BRIAN                          21707 LOCUST ST                                                                             MATTESON        IL   60443‐2742
RATH, BRIAN S                        1628 CHURCH RD                                                                              HAMLIN          NY   14464‐9748
RATH, DARRELL F                      4620 REAN MEADOW DR                                                                         KETTERING       OH   45440‐1924
RATH, DAVID F                        11210 HENSELL RD                                                                            HOLLY           MI   48442‐8551
RATH, EDWARD S                       9489 BLUEWING TER                                                                           CINCINNATI      OH   45241‐3302
RATH, FRANCIS A                      6800 MULBERRY LN APT B                                                                      LOCKPORT        NY   14094‐6820
RATH, G A                            12 MAYFAIR DR                                                                               BELLA VISTA     AR   72715‐5390
RATH, GENE B                         10065 HAMILTON AVE                                                                          CINCINNATI      OH   45231‐2133
RATH, GLORIA P                       915 N 75TH ST                                                                               MILWAUKEE       WI   53213‐3137
RATH, GRANT E                        914 ANDOVER CT SE                                                                           GRAND RAPIDS    MI   49508‐4769
RATH, JAMES E                        4348 STATE ROUTE 18                                                                         HICKSVILLE      OH   43526‐9245
RATH, JAMES F                        174 BERKSHIRE AVE                                                                           BUFFALO         NY   14215‐1504
RATH, JEFFREY N                      27 PARISH RD                                                                                CHURCHVILLE     NY   14428‐9549
RATH, JOHN S                         3521 SANDY TRAIL LN                                                                         PLANO           TX   75023‐5839
RATH, JOHN W                         5 WYNCREST DR                                                                               ROCHESTER       NY   14624‐4110
RATH, LINDA S                        200 LEDGENEST DR                                                                            MCKINNEY        TX   75070‐5843
RATH, LYLE D                         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                                       STREET, SUITE 600
RATH, MICHAEL J                      81 SUN HAVEN CT                                                                             WENTZVILLE      MO   63385‐7001
RATH, MICHAEL J                      1695 HILLCREST DR                                                                           ROCHESTER HLS   MI   48306‐3139
RATH, MICHAEL J                      41 HIGHVIEW DR                                                                              HAMLIN          NY   14464‐9322
RATH, MICHAEL JOSEPH                 81 SUN HAVEN CT                                                                             WENTZVILLE      MO   63385‐7001
RATH, MICHELLE L                     27 PARISH RD                                                                                CHURCHVILLE     NY   14428‐9549
RATH, NEAL A                         278 MILFORD ST APT 17                                                                       ROCHESTER       NY   14615‐1842
RATH, ROBERT J                       708 BERKSHIRE CT 330                                                                        DOWNERS GROVE   IL   60516
RATH, ROBIN I                        32724 COLUMBUS DR                                                                           WARREN          MI   48088‐6215
RATH, TODD R                         30 MILLFORD XING                                                                            PENFIELD        NY   14526‐1173
RATH, VIRGINIA M                     26807 BEHRENS RD                                                                            DEFIANCE        OH   43512‐9178
RATH, WILLIAM F                      733 SUNSET BLVD APT 2                                                                       MANSFIELD       OH   44907‐2553
RATHA TRAMMELL                       2413 FAITH RD                                                                               HARTSVILLE      SC   29550‐6272
RATHAUS, KRISTIN L                   6407 SANCTUARY COURT                                                                        GRAND BLANC     MI   48439
RATHBONE, HELEN J                    1993 SANDHILL RD                                                                            MASON           MI   48854‐9421
RATHBUM, BERNITA E                   1690 VAN DEKARR                                                                             OWOSSO          MI   48867‐9757
RATHBUM, BERNITA E                   1690 VANDECARR RD                                                                           OWOSSO          MI   48867‐9757
RATHBUN CHARITABLE REMAINDER TRUST   C/O REX RATHBUN TRUSTEE           1656 W LK SAMMAMISH NE                                    BELLEVUE        WA   98008‐3332
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Name                            Address1                           Address2                       Address3   Address4         City            State Zip
RATHBUN FOREST                  10009 QUAIL RUN RD                                                                            TYLER            TX 75709‐3914
RATHBUN GLENN ALBERT (439426)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                   STREET, SUITE 600
RATHBUN TIMOTHY (662170)        BRAYTON PURCELL                    621 SW MORRISON ST STE 950                                 PORTLAND        OR   97205‐3824
RATHBUN, BARBARA J              4215 TYRELL RD                                                                                OWOSSO          MI   48867‐8202
RATHBUN, BERNICE R              313 SE CHELSEA LN                                                                             LEES SUMMIT     MO   64063‐2475
RATHBUN, CHRISTOPHER D          16751 N TURNER ST LOT 50                                                                      LANSING         MI   48906
RATHBUN, CHRISTOPHER D          50 BEE JAY DR                                                                                 LANSING         MI   48906‐2313
RATHBUN, CRAIG K                145 S ROSLYN RD                                                                               WATERFORD       MI   48328‐3554
RATHBUN, DONALD G               5604 BERKELEY RD                                                                              GOLETA          CA   93117‐2157
RATHBUN, DONALD R               2964 BURKLEY RD                                                                               WILLIAMSTON     MI   48895‐9764
RATHBUN, GLADYS E               1009 HAMLIN 2813                                                                              LA FERIA        TX   78559
RATHBUN, GLENN ALBERT           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                                   STREET, SUITE 600
RATHBUN, HELEN                  13272 BIRRELL ST                                                                              SOUTHGATE       MI   48195‐1039
RATHBUN, JAMES A                141 LOCKWOOD ST                                                                               SAGINAW         MI   48602‐3025
RATHBUN, JANE                   3728 CECIL RD                                                                                 CADILLAC        MI   49601‐9588
RATHBUN, JOAN M                 2398 BRIGGS ST                                                                                WATERFORD       MI   48329‐3707
RATHBUN, JOEL F                 241 HADDON RD                                                                                 ROCHESTER       NY   14626
RATHBUN, JON M                  2001 MEEK DR NE                                                                               BELMONT         MI   49306‐9787
RATHBUN, JOSEPH W               PO BOX 382                                                                                    GRANDVIEW       MO   64030‐0382
RATHBUN, JOSEPHINE M            376 CRESTWOOD DR                                                                              OXFORD          MI   48371‐6138
RATHBUN, JOSEPHINE M            488 WYNDHAM DR                                                                                OXFORD          MI   48371‐6161
RATHBUN, KATHY L                1812 BIRCHCREST RD                                                                            WATERFORD       MI   48328
RATHBUN, KENNETH R              APT 204                            31215 FLORALVIEW DRIVE SOUTH                               FARMINGTN HLS   MI   48331‐5869
RATHBUN, LAURENCE
RATHBUN, LORETTA L              2530 MARFITT RD APT 140                                                                       EAST LANSING    MI   48823‐6300
RATHBUN, LORETTA L              2530 MARFITT RD                    APT 140                                                    EAST LANSING    MI   48823‐6300
RATHBUN, MARY E                 1404 S SWEGLES                                                                                ST JOHNS        MI   48879‐2326
RATHBUN, MARY E                 11155 WILBUR HWY                                                                              EATON RAPIDS    MI   48827‐9221
RATHBUN, PAMILA                 2511 CARPENTER BRIDGE RD                                                                      COLUMBIA        TN   38401‐7808
RATHBUN, PAUL G                 9852 BERND RD                                                                                 PAVILION        NY   14525‐9717
RATHBUN, RICHARD D              488 WYNDHAM DR                                                                                OXFORD          MI   48371‐6161
RATHBUN, RICHARD P              112 E DANSVILLE RD                                                                            DANSVILLE       MI   48819‐9712
RATHBUN, ROBERT K               8417 W KINSEL HWY                                                                             VERMONTVILLE    MI   49096‐8583
RATHBUN, ROBERT L               120 GARLAND DR APT 511                                                                        LAKE JACKSON    TX   77566‐6287
RATHBUN, RUTH A                 10357 GOLFSIDE DR                                                                             GRAND BLANC     MI   48439‐9437
RATHBUN, SCOTT A                1104 S DELANEY RD                                                                             OWOSSO          MI   48867‐9111
RATHBUN, SCOTT ALAN             1104 S DELANEY RD                                                                             OWOSSO          MI   48867‐9111
RATHBUN, SCOTT CHRISTOPHER      2679 S CANAL RD                                                                               EATON RAPIDS    MI   48827‐9391
RATHBUN, SHARON                 22 REDWOOD DR                                                                                 CHEEKTOWAGA     NY   14225
RATHBUN, STANLEY J              10357 GOLFSIDE DR                                                                             GRAND BLANC     MI   48439
RATHBUN, TAMMY M                41 BROAD ST APT A                                                                             MOUNT HOLLY     NJ   08060
RATHBUN, TIMOTHY                BRAYTON PURCELL                    621 SW MORRISON ST STE 950                                 PORTLAND        OR   97205‐3824
RATHBUN, VICTORIA               3227 KEEWAYDIN PL                                                                             MINNEAPOLIS     MN   55417‐1425
RATHBUN, WARD J                 10393 MONTROSE DR                                                                             MANCELONA       MI   49659‐8919
RATHBUN, WILLARD B              12136 MCKINLEY RD                                                                             MONTROSE        MI   48457
RATHBURM, CONNIE S              4220 CAMARGO DR. #5                                                                           DAYTON          OH   45415
RATHBURN, CAROL A               4340 TILLIE DR.                                                                               FLINT           MI   48504
RATHBURN, CAROL A               4340 TILLIE DR                                                                                FLINT           MI   48504‐1032
RATHBURN, DAVID L               19300 LANCASTER DR                                                                            WOODHAVEN       MI   48183‐4320
RATHBURN, DOROTHY M             PO BOX 11                                                                                     NEWAYGO         MI   49337‐0011
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Name                         Address1                             Address2                           Address3   Address4         City              State Zip
RATHBURN, HELEN M            6001 SOUTH HUSON STREET                                                                             TACOMA             WA 98409‐1225
RATHBURN, JAMES RICHARD      25 ARMSTRONG ST                                                                                     FLUSHING           MI 48433‐9208
RATHBURN, JEFFREY SCOTT      1590 EBERLY RD                                                                                      FLINT              MI 48532
RATHBURN, LAURIE F           19300 LANCASTER DR                                                                                  WOODHAVEN          MI 48183‐4320
RATHBURN, PHILIP L           789 N WHEATON RD                                                                                    CHARLOTTE          MI 48813‐8826
RATHBURN, ROBERT L           1135 RT. #4 HARVEST DR.                                                                             WARREN             OH 44481‐4481
RATHBURN, ROBERT L           1135 HARVEST DR NE                                                                                  WARREN             OH 44481‐9330
RATHBURN, RONALD L           128 W WILLOW ST                                                                                     BUTLER             IN 46721‐1462
RATHBURN, SANDRA J           7750 BELDALE AVE                                                                                    HUBER HEIGHTS      OH 45424‐3207
RATHBURN, WILLIAM A          549 TOWNVIEW CIR E                                                                                  MANSFIELD          OH 44907‐1135
RATHEL, RICHARD E            6910 W COUNTY ROAD 900 N                                                                            GASTON             IN 47342‐9037
RATHER, BARBARA A            1505 SHERWOOD AVE                                                                                   BALTO              MD 21239‐2403
RATHER, LADONNA S            1717 W 15TH LN                                                                                      APACHE JUNCTION    AZ 85220‐6900
RATHER, MARY O               1422 E END AVE                       C/O PAUL L RATHER                                              DYER               IN 46311‐1622
RATHER, MICHAEL              1954 LATHAM RD                                                                                      NATIONAL CITY      MI 48748
RATHER, PAUL D               1717 W 15TH LN                                                                                      APACHE JCT         AZ 85220‐6900
RATHER, RICHARD J            2545 KIRK AVE                                                                                       BALTIMORE          MD 21218‐4827
RATHEY JANET                 PO BOX 5093                                                                                         LANCASTER          PA 17606‐5093
RATHFELDER, PETER A          631 W SENDERO CLARO                                                                                 TUCSON             AZ 85737
RATHFON, GEORGE R            3501 E BACON RD                                                                                     HILLSDALE          MI 49242‐9760
RATHGENS ROBERT C (447164)   CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH 44115
                             GAROFOLI                             FL
RATHGENS, ROBERT C           CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND         OH 44115
                             GAROFOLI                             FL
RATHI, KESHAVLAL             36824 CLIFFORD DR                                                                                   STERLING HTS      MI 48312‐3121
RATHINAVELU CHENGALVARAYAN   339 MILLCREEK LN                                                                                    NAPERVILLE        IL 60540‐8292
RATHJE JEFF                  RATHJE, JEFF                         7674 W LAKE MEAD BLVD SUITE 245                                LAS VEGAS         NV 89128

RATHJE, JEFF                 GREENBERG LAW OFFICES OF GEORGE D    7674 W LAKE MEAD BLVD STE 245                                  LAS VEGAS         NV 89128‐6650

RATHJE, KENNETH W            7238 LEGION RD                                                                                      CASEVILLE         MI   48725‐9762
RATHJEN, JUANITA L           26713 S LITTLE RD                                                                                   GARDEN CITY       MO   64747‐9785
RATHKA, BONNIE M             768 GRAY RD                                                                                         WEST BRANCH       MI   48661‐8919
RATHKA, JANET A              PO BOX 268                                                                                          DE TOUR VILLAGE   MI   49725‐0268
RATHKA, JERALD A             5191 CLINTONVILLE RD                                                                                CLARKSTON         MI   48346‐4222
RATHKA, MELANIE DAWN         5191 CLINTONVILLE RD                                                                                CLARKSTON         MI   48346‐4222
RATHKE, ARLAN E              1162 MYSTICAL ST                                                                                    HENDERSON         NV   89052‐4934
RATHKE, BETTY J              4631 IMPERIAL DR UNIT A                                                                             TOLEDO            OH   43623‐3387
RATHKE, JAMES T              2254 RICHMAND DR                                                                                    NORTHWOOD         OH   43619‐1125
RATHKE, JAMES THOMAS         2254 RICHMAND DRIVE                                                                                 NORTHWOOD         OH   43619‐1125
RATHKE, MARGARET H           238 AMESBURY CIR                                                                                    SUN CITY CENTER   FL   33573‐5803
RATHKE, PAMELA L             38096 PLAINVIEW DR                                                                                  STERLING HTS      MI   48312‐1433
RATHKE, RONALD J             6561 HIGH LAKE RD                                                                                   LAND O LAKES      WI   54540‐9783
RATHMAN, JOHN F              5341 LANCELOT DR                                                                                    INDIANAPOLIS      IN   46228‐2171
RATHMANN & ASSOCIATES        ATTN: CORPORATE OFFICER/AUTHORIZED   1031 LAMI ST                                                   SAINT LOUIS       MO   63104‐4216
                             AGENT
RATHNA VELU                  PO BOX 1073                                                                                         LITTLEROCK        CA   93543‐1073
RATHNAM, KANDASAMY           2622 LOCKSLEY CT                                                                                    TROY              MI   48083‐5713
RATHNAW, DENNIS J            1905 WALDEN CT                                                                                      SUTTONS BAY       MI   49682‐9491
RATHS JR, CHARLES A          3901 LEE HILL RD                                                                                    MAYVILLE          MI   48744‐9669
RATHS PAUL                   26736 180TH ST                                                                                      NORCROSS          MN   56274‐3060
RATHS, FREDRICK W            9890 SW 69TH CT                                                                                     TRENTON           FL   32693
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Name                                  Address1                        Address2             Address3        Address4               City                 State Zip
RATHSACK, THOMAS D                    1195 SORRENTO LN                                                                            FLINT                 MI 48507‐4027
RATHSAM, DENNIS C                     2 WESTFALLS LANE                                                                            PALM COAST            FL 32164‐7707
RATHSAM, DENNIS C                     2 WESTFALLS LN                                                                              PALM COAST            FL 32164‐7707
RATHSBURG, MARCELINE A                9663 WESTWOOD CIR                                                                           CLARKSTON             MI 48348‐5408
RATHSBURG, MARTIN J                   9663 WESTWOOD CIR                                                                           CLARKSTON             MI 48348‐5408
RATHSBURG, MARTIN JOHN                9663 WESTWOOD CIR                                                                           CLARKSTON             MI 48348‐5408
RATHUR MUHAMMAD TALHA                 54840 FRANKLIN DR                                                                           SHELBY TOWNSHIP       MI 48316‐1625
RATHUR, BILAL A                       1067 EASTOVER DR                                                                            BLOOMFIELD HILLS      MI 48304‐2533
RATHUR, MUHAMMAD T                    54840 FRANKLIN DR                                                                           SHELBY TOWNSHIP       MI 48316‐1625
RATHWEG, ROBERTA A                    1539 NORTH REGENCY DRIVE                                                                    XENIA                 OH 45385‐1657
RATHWEG, ROBERTA A                    1539 N REGENCY DR                                                                           XENIA                 OH 45385‐1657
RATHWEG, WALTER C                     9173 BELLBROOK RD                                                                           WAYNESVILLE           OH 45068‐9018
RATHWELL, DENNIS G                    PO BOX 483                                                                                  OWOSSO                MI 48867‐0483
RATHWELL, HARLAN                      15661 HALLAUER RD                                                                           OBERLIN               OH 44074‐9788
RATHZ, CAROLYN S                      223 MOCCOSIN CT                                                                             GREENWOOD             IN 46142‐7305
RATHZ, RAYMOND J                      7260 RIVER GLEN DR                                                                          FISHERS               IN 46038‐2746
RATHZ, SILVAN L                       223 MOCCOSIN CT                                                                             GREENWOOD             IN 46142‐7305
RATICAN, RANDY J                      3312 W RIVERSIDE AVE                                                                        MUNCIE                IN 47304‐3861
RATIGAN ROBERT JR                     200 INTRACOASTAL PL APT 208                                                                 JUPITER               FL 33469‐2318
RATINI, ALFRED                        5425 BRIGHT BALDWIN RD                                                                      NEWTON FALLS          OH 44444‐9431
RATINI, MARGARET                      PO BOX 44                                                                                   BRISTOLVILLE          OH 44402‐0044
RATINO, FRANK J                       7536 MONTEREY BAY DR UNIT 5                                                                 MENTOR ON THE LAKE    OH 44060‐9004
RATION ORTI GINER & TRINIDAD GRIMAU   RATION ORTI GINER               G/CREIXELL 73                        08720 VILAFRANCO DEL
ESCOFET                                                                                                    PENEDES BARCELONA
                                                                                                           SPAIN
RATIONAL AUTO REPAIR AND              12129 ROXIE DR                                                                              AUSTIN                TX   78729‐7107
MAINTENANCE
RATIU, MARIA L                        108 PENN LN                                                                                 FALLSINGTON          PA    19054‐2516
RATIU, SORIN                          56411 GARDEN LN                                                                             MACOMB               MI    48042‐1197
RATKA, HAROLD J                       91 N MENLO PARK ST                                                                          MOUNTAIN HOUSE       CA    95391‐1154
RATKAY MICHELE                        677 VISTA PACIFICA CIRCLE                                                                   PISMO BEACH          CA    93449‐3275
RATKEWICZ, ANNA                       26123 LILA LANE                                                                             DEARBORN HTS         MI    48127‐4138
RATKO DIMOVSKI                        15928 HAVERHILL DR                                                                          MACOMB               MI    48044‐1943
RATKO POPOVICH                        5901 BOULDER CREEK DR                                                                       YOUNGSTOWN           OH    44515‐4269
RATKOS, BRUCE E                       9092 CORINNE ST                                                                             PLYMOUTH             MI    48170‐4020
RATKOS, BRUCE ERNEST                  9092 CORINNE ST                                                                             PLYMOUTH             MI    48170‐4020
RATKOS, GARY D                        9928 NEIL ARMSTRONG CT                                                                      FORT WAYNE           IN    46804‐7010
RATKOS, LEROY P                       2105 PINCONNING RD                                                                          RHODES               MI    48652‐9513
RATKOS, NORMAN H                      9940 PARRENT RD                                                                             REESE                MI    48757‐9505
RATKOS, PHILLIP A                     9032 SPRING FOREST DR                                                                       FORT WAYNE           IN    46804‐6447
RATKOS, RONALD C                      216 ADAMS ST                                                                                BAY CITY             MI    48708‐5844
RATKOS, SUE A                         9940 PARRENT RD                                                                             REESE                MI    48757‐9505
RATKOSKY KEN                          RATKOSKY, KEN                   9608 FRANCES DRIVE                                          VALLEY VIEW          OH    44125‐4715
RATKOSKY, KEN                         9608 FRANCES DR                                                                             VALLEY VIEW          OH    44125‐4715
RATKOVICH, BETTY J                    857 FAYETTEVILLE                OWENS BURG RD                                               BEDFORD              IN    47421
RATKOVICH, BETTY J                    143 MAGNER RD                                                                               ORLEANS              IN    47452‐7223
RATKOVICH, DENNIS J                   6671 MOUNTAIN DR                                                                            TROY                 MI    48098‐1909
RATKOVICH, GLADYS J                   364 N LOMBARD AVE                                                                           LOMBARD              IL    60148‐2013
RATKOVICH, JAMES M                    747 FAYETTEVILLE OWEN RD                                                                    BEDFORD              IN    47421‐8443
RATKOVICH, JOHN D                     1 RATKOVICH LN                                                                              BEDFORD              IN    47421‐8546
RATKOVICH, KENNETH                    2798 BLOOMFIELD XING                                                                        BLOOMFIELD           MI    48304‐1713
RATKOVICH, MARY L                     1 PATTON VW                                                                                 BEDFORD              IN    47421‐8627
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Name                                Address1                           Address2                       Address3   Address4         City             State Zip
RATKOVICH, MIKE W                   1048 OLD STATE ROAD 37 N                                                                      BEDFORD           IN 47421‐8074
RATKOWIAK, ANTHONY T                452 WINDSOR DR                                                                                OSWEGO             IL 60543‐9824
RATKOWIAK, STEVEN A                 4318 BAZA                                                                                     LEONARD           MI 48367‐1906
RATKOWSKI, GENEVIEVE M              4935 PALMER ST                                                                                DEARBORN          MI 48126‐2821
RATLEDGE JR, ROLAND W               70 BERN DR., SWISS VLG                                                                        WINTER HAVEN      FL 33881
RATLEDGE, BRIAN L                   1382 LAUREL VALLEY DR                                                                         WATERFORD         MI 48327‐1619
RATLEDGE, DALLAS O                  13905 W COLONIAL DR                                                                           WINTER GARDEN     FL 34787‐4203
RATLEDGE, JACKIE                    48 WILLIAMS LN                                                                                CONOWINGO         MD 21918‐1922
RATLEDGE, JEFFERSON M               7267 MADISON AVE                                                                              CANADIAN LAKE     MI 49346‐8320
RATLEDGE, MARY A                    4 ENCLAVE                                                                                     PARAGOULD         AR 72450‐6010
RATLEDGE, MARY A                    4 ENCLAVE CIRCLE                                                                              PARAGOULD         AR 72450
RATLEDGE, RONNIE L                  21 TWIN DR                                                                                    PORT DEPOSIT      MD 21904
RATLIFF AUTOMOBILE COMPANY INC      BAILEY RATLIFF                     207 W YOUNG ST                                             LLANO             TX 78643‐1264
RATLIFF BILLIE RAY (342323)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510
                                                                       STREET, SUITE 600
RATLIFF CHEVROLET, BUICK, PONTIAC   207 W YOUNG ST                                                                                LLANO            TX 78643‐1264
RATLIFF CYNTHIA                     5213 RAVENSCREEK CT                                                                           LEAGUE CITY      TX 77573‐6251
RATLIFF FLOYD W SR (439427)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                       STREET, SUITE 600
RATLIFF JOHN B (401293)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                       STREET, SUITE 600
RATLIFF JOHN R SR (346654)          GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                       STREET, SUITE 600
RATLIFF JR, ALBERT                  1409 LYNTON AVE                                                                               FLINT            MI   48507‐3245
RATLIFF JR, FORREST L               17821 258TH ST                                                                                TONGANOXIE       KS   66086‐3224
RATLIFF JR, RAMSEY                  1201 W HOME AVE                                                                               FLINT            MI   48505‐2553
RATLIFF KAREN                       98 PIKE CT                                                                                    LAGRANGE         OH   44050‐9645
RATLIFF MARY                        PO BOX 57                                                                                     MOOREFIELD       WV   26836‐0057
RATLIFF OLIVER W JR (640588)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510
                                                                       STREET, SUITE 600
RATLIFF ROBERT C (401525)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                       STREET, SUITE 600
RATLIFF STEVEN A                    PO BOX 7213                                                                                   GREENWOOD        IN 46142‐6422
RATLIFF THOMAS                      49 MAJESTIC VALLEY DRIVE                                                                      CONWAY           AR 72032‐8245
RATLIFF, ADA                        BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD       OH 44067
                                                                       PROFESSIONAL BLDG
RATLIFF, AFTON H                    795 CASTRO LN                                                                                 CINCINNATI       OH   45246‐2603
RATLIFF, ALAN C                     3640 PONTIAC LAKE RD                                                                          WATERFORD        MI   48328‐2343
RATLIFF, ANDY R                     1638 HUMPHREY AVENUE                                                                          DAYTON           OH   45410‐3309
RATLIFF, ARTHUR L                   625 BLOOMFIELD AVE                                                                            PONTIAC          MI   48341‐2715
RATLIFF, AVONELL                    PO BOX 4119                                                                                   AUBURN HEIGHTS   MI   48057
RATLIFF, BARBARA S                  303 CREWDSON AVE                                                                              CHATTANOOGA      TN   37405‐4109
RATLIFF, BETHANY
RATLIFF, BETTY L                    983 W SCHOOL ST                                                                               SILOAM SPRINGS   AR 72761‐6101
RATLIFF, BILLIE RAY                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
RATLIFF, BILLY J                    PO BOX 968                                                                                    BOURBON          MO   65441‐0968
RATLIFF, BOBBY K                    20534 PEPPERWOOD ST                                                                           WOODHAVEN        MI   48183‐4389
RATLIFF, BOBBY KEITH                20534 PEPPERWOOD ST                                                                           WOODHAVEN        MI   48183‐4389
RATLIFF, CAROL S                    6193 KETCHUM AVE APT 2                                                                        NEWFANE          NY   14108‐1124
RATLIFF, CATHERINE                  613 OSBORNE DR                                                                                COLUMBIA         TN   38401‐8929
RATLIFF, CECIL                      5630 BENEDICT ROAD                                                                            DAYTON           OH   45424‐4212
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Name                        Address1                         Address2                      Address3   Address4         City               State Zip
RATLIFF, CHADD C            16233 ROAD 83                                                                              CECIL               OH 45821‐9628
RATLIFF, CHARLOTTE F        2207 JOYCE AVENUE                                                                          NEWPORT             KY 41071‐2607
RATLIFF, CHARLOTTE F        2207 JOYCE AVE                                                                             NEWPORT             KY 41071‐2607
RATLIFF, CHARLOTTE R        7280 PREBLE COUNTY LINE RD                                                                 GERMANTOWN          OH 45327‐9564
RATLIFF, CLARENCE M         521 STANLEY CLARK RD                                                                       WELLINGTON          KY 40387‐9125
RATLIFF, CLAYTON            7035 FORD AVE                                                                              WARREN              MI 48091‐3046
RATLIFF, CLEAPHUS           2315 PUMPKIN CREEK LN                                                                      SPRING HILL         TN 37174‐7515
RATLIFF, CORINE             20012 HARNED ST                                                                            DETROIT             MI 48234‐1568
RATLIFF, CORINE             20012 HARNED                                                                               DETROIT             MI 48234‐1568
RATLIFF, CRISTINA           4300 COUNTY ROAD 607                                                                       ALVARADO            TX 76009
RATLIFF, DANNY E            PO BOX 462                                                                                 MAYNARDVILLE        TN 37807‐0462
RATLIFF, DENNIS J           773 ALLISON AVE NW                                                                         WARREN              OH 44483‐2110
RATLIFF, DENNIS J           7600 LAKE CAMPUS DR                                                                        CELINA              OH 45822‐2921
RATLIFF, DENNIS R           34 KIMBERLY ST                                                                             DECATUR             AL 35603‐5473
RATLIFF, DENZIL R           1509 BLUETEAL DR                                                                           BRANDON             FL 33511‐8351
RATLIFF, DONALD R           10286 GER‐MIDD RD                                                                          GERMANTOWN          OH 45327
RATLIFF, DONNA MAY          3420 W 50TH ST                                                                             CLEVELAND           OH 44102‐5810
RATLIFF, DONNA MAY          3420 W 50TH                                                                                CLEVELAND           OH 44102‐5810
RATLIFF, EDNA P             20026 CHAPEL ST                                                                            DETROIT             MI 48219‐1359
RATLIFF, EDWARD             PO BOX 835                                                                                 COWPENS             SC 29330‐0835
RATLIFF, ELIZABETH A        703 SCENIC DR                                                                              KINGSTON            TN 37763‐3219
RATLIFF, EVALYN             37322 MEDJOOL AVE,                                                                         PALM DESERT         CA 92211
RATLIFF, FAY                6840 SUERWIER ROAD                                                                         APPLEGATE           MI 48401
RATLIFF, FLORENE            265 PHOEBE WAY                                                                             INWOOD              WV 25428‐3914
RATLIFF, FLORRINE           265 PHOEBE WAY                                                                             INWOOD              WV 25428
RATLIFF, FLOYD W            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                             STREET, SUITE 600
RATLIFF, FORREST L          6193 KETCHUM AVE APT 2                                                                     NEWFANE            NY   14108‐1124
RATLIFF, FREDDY J           820 CAROLE ST                                                                              MIAMISBURG         OH   45342‐1702
RATLIFF, GARLAND J          423 CORNWALL AVE                                                                           BUFFALO            NY   14215‐3158
RATLIFF, GILBERT A          5468 ROXFORD DRIVE                                                                         DAYTON             OH   45432‐3628
RATLIFF, GRACE E            295 SEVENTH ST                                                                             MANISTEE           MI   49660
RATLIFF, GRACE E            295 7TH ST                                                                                 MANISTEE           MI   49660‐1943
RATLIFF, GRADY J            3912 HUNTER PEAK RD                                                                        ROANOKE            TX   76262‐3836
RATLIFF, GREGORY            23027 CLINTON ST                                                                           TAYLOR             MI   48180‐4123
RATLIFF, GREGORY A          501 CHEE COURT                                                                             DAYTON             OH   45429‐3103
RATLIFF, GWENDOLYN J        12 S MIDLAND DR                                                                            PONTIAC            MI   48342‐2960
RATLIFF, HAROLD L           37322 MEDJOOL AVE                                                                          PALM DESERT        CA   92211‐1393
RATLIFF, HERBERT E          10 S COURT ST                                                                              DECATUR            AL   35603‐7401
RATLIFF, JAMES E            10580 E CALLE DEL ESTE                                                                     TUCSON             AZ   85748‐6841
RATLIFF, JAMES R            205 5TH ST                                                                                 WINFIELD           MO   63389‐1143
RATLIFF, JAMES R            498 N SAGINAW ST                                                                           PONTIAC            MI   48342‐1462
RATLIFF, JASON K            3610 TURF LN                                                                               FORT WAYNE         IN   46804‐3962
RATLIFF, JASON S            42797 RICHMOND DR                                                                          STERLING HEIGHTS   MI   48313‐2930
RATLIFF, JASON SCOTT        42797 RICHMOND DR                                                                          STERLING HEIGHTS   MI   48313‐2930
RATLIFF, JASON T            885 CAUDILL ROAD                                                                           FRANKLIN           KY   42134‐9494
RATLIFF, JEAN E             2675 LONE OAK DR                                                                           ANN ARBOR          MI   48103‐9266
RATLIFF, JERRY L            804 N 15TH ST                                                                              OZARK              AR   72949
RATLIFF, JIM TRUCKING INC   PO BOX 383                                                                                 OAKWOOD            VA   24631‐0383
RATLIFF, JOANN L.           207 N. FRANKLIN RD.                                                                        GREENWOOD          IN   46143
RATLIFF, JOHN A             7713 OAKLAND DR                                                                            PORTAGE            MI   49024‐4929
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Name                       Address1                      Address2                      Address3   Address4         City            State Zip
RATLIFF, JOHN B            GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
RATLIFF, JOHN R            GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                         STREET, SUITE 600
RATLIFF, JOHN R            643 COTTAGE LN                                                                          GREENWOOD       IN   46143‐8439
RATLIFF, JOHN T            113 TURKEY RUN CT                                                                       WRIGHT CITY     MO   63390‐2823
RATLIFF, JOSEPH R          PO BOX 202                                                                              BERLIN CENTER   OH   44401‐0202
RATLIFF, JOSHUA EDWARD     1005 W 9TH ST                                                                           MUNCIE          IN   47302‐2245
RATLIFF, JOYCE J           5049 MONTICELLO RD                                                                      WESSON          MS   39191‐6093
RATLIFF, JUANITA H         415 HIGHWAY 321                                                                         HAMPTON         TN   37658‐3373
RATLIFF, KAREN A           98 PIKE CT                                                                              LAGRANGE        OH   44050‐9645
RATLIFF, KARYN A           407 BAY VIEW DR                                                                         EDGEWATER       MD   21037‐2912
RATLIFF, KATHERINE         C/O ACS RECOVERY SERVICES     PO BOX 4003                                               SCHAUMBURG      IL   60168‐4003
RATLIFF, KAY S             455 HERMAY DR                                                                           HAMILTON        OH   45013‐6042
RATLIFF, KEN R             883 W COUNTY ROAD 625 N                                                                 LIZTON          IN   46149‐9499
RATLIFF, KEN R             112 BRECKENRIDGE STREET                                                                 FRANKLIN        KY   42134‐2172
RATLIFF, KENNETH D         295 LAFAYETTE 227                                                                       TAYLOR          AR   71861‐8743
RATLIFF, KENNETH DALE      295 LAFAYETTE 227                                                                       TAYLOR          AR   71861‐8743
RATLIFF, KENNETH W         3606 WASHINGTON AVE                                                                     BEDFORD         IN   47421‐5618
RATLIFF, KENNY R           1412 NASH AVE                                                                           YPSILANTI       MI   48198‐6211
RATLIFF, LARRY D           225 N FRANKLIN RD                                                                       GREENWOOD       IN   46143‐8685
RATLIFF, LARRY G           6310 S JAY RD                                                                           WEST MILTON     OH   45383‐5383
RATLIFF, LARRY J           2004 COURTLAND AVE                                                                      NORWOOD         OH   45212‐3010
RATLIFF, LARRY L           1202 CLENDENEN ST                                                                       RAYMORE         MO   64083‐9546
RATLIFF, LARRY R           921 N TUXEDO ST                                                                         INDIANAPOLIS    IN   46201‐2548
RATLIFF, LAWRENCE J        122 POINT DR                                                                            MONTICELLO      KY   42633‐8435
RATLIFF, LEAH D            1028 GERMANTWN‐MIDDLETWN                                                                GERMANTOWN      OH   45327
RATLIFF, LELAH B           8133 FRANCES RD                                                                         FLUSHING        MI   48433‐8825
RATLIFF, LEONDIUS F        2209 WESTLAWN DR                                                                        KETTERING       OH   45440‐2033
RATLIFF, LILLIAN L         1900 REDBUD LN APT 125                                                                  LANSING         MI   48917‐7640
RATLIFF, LINDA A           3124 COLUMBUS AVE                                                                       ANDERSON        IN   46016‐5440
RATLIFF, LINDA H           2305 INVERNESS DR                                                                       PENSACOLA       FL   32503‐5049
RATLIFF, LINDA K           5571 AVENUE D                                                                           BOKEELIA        FL   33922‐3258
RATLIFF, LYDIA T           330 PICKETT RD                                                                          UNION CITY      OH   45390‐9049
RATLIFF, LYDIA T           330 PICKETT RD.                                                                         UNION CITY      OH   45390‐9049
RATLIFF, MAE L             1204 ROCK ISLAND                                                                        EL DORADO       AR   71730‐7258
RATLIFF, MARCUS L          PO BOX 980592                                                                           YPSILANTI       MI   48198‐0592
RATLIFF, MARCUS LORENZO    PO BOX 980592                                                                           YPSILANTI       MI   48198‐0592
RATLIFF, MARILYN G         6828 WOODCREEK LN                                                                       DOUGLASVILLE    GA   30135‐1680
RATLIFF, MARLION           1163 LANSDALE COURT                                                                     DAYTON          OH   45414‐2189
RATLIFF, MARLION           1153 LANSDALE CT                                                                        DAYTON          OH   45414‐2189
RATLIFF, MARY E            RT 4 BOX 104                                                                            DECATUR         AL   35603
RATLIFF, MARY L            PO BOX 57                                                                               MOOREFIELD      WV   26836‐0057
RATLIFF, MARY L            P O BOX 57                                                                              MOOREFIELD      WV   26836‐0057
RATLIFF, MARY M            2343 KY ROUTE 3224 3224 322                                                             RIVER           KY   41254
RATLIFF, MATTHEW D         8909 SPRING VIEW DR                                                                     FORT WAYNE      IN   46804‐5964
RATLIFF, MATTHEW DOUGLAS   8909 SPRING VIEW DR                                                                     FORT WAYNE      IN   46804‐5964
RATLIFF, MELISSA K         200 MATLOCK MEADOW DR                                                                   ARLINGTON       TX   76002‐3348
RATLIFF, MELISSA KAY       200 MATLOCK MEADOW DR                                                                   ARLINGTON       TX   76002‐3348
RATLIFF, MELVIN L          8101 MACKENZIE RD                                                                       SAINT LOUIS     MO   63123‐3451
RATLIFF, MICHAEL T         160 COUSINS DR                                                                          CARLISLE        OH   45005‐6217
RATLIFF, MILDRED L         122 VANDALE CT                                                                          DAYTON          OH   45404‐2184
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Name                       Address1                        Address2                      Address3   Address4         City                State Zip
RATLIFF, MILTON C          906 LANE RD NW                                                                            HARTSELLE            AL 35640‐8511
RATLIFF, NANCY KAY         3418 LINDEN AVE                                                                           DAYTON               OH 45410‐3037
RATLIFF, NICHOLAS A        708 E NORTH H ST                                                                          GAS CITY             IN 46933‐1234
RATLIFF, ODELL D           1755 BOGIE LAKE RD                                                                        WHITE LAKE           MI 48383
RATLIFF, OLIVE             9912 CANDY RD                                                                             CAMBRIDGE            OH 43725‐9575
RATLIFF, OLIVER M          202 ROYAL OAK DR                                                                          CLINTON              MS 39056‐5830
RATLIFF, OLIVER W          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                           STREET, SUITE 600
RATLIFF, PAMELA            COLLINS JOHN C                  PO BOX 475                                                SALYERSVILLE        KY   41465‐0475
RATLIFF, PATRICIA E        528 TURTLE HATCH RD                                                                       NAPLES              FL   34103‐8541
RATLIFF, PATSY S           7428 OCEOLA FARMS CT                                                                      HOWELL              MI   48855
RATLIFF, PAUL L            320 DAVID LN                                                                              MARYVILLE           TN   37803‐6304
RATLIFF, PAUL R            883 W COUNTY ROAD 625 N                                                                   LIZTON              IN   46149‐9499
RATLIFF, RANDALL B         5111 IROQUOIS BLVD                                                                        CLARKSTON           MI   48348‐3226
RATLIFF, RANDALL L         1406 CAMP RAVINE RD                                                                       BURNS               TN   37029‐5260
RATLIFF, REBECCA           2311 SHERMAN SQUARE DR                                                                    SAINT CHARLES       MO   63303
RATLIFF, REBECCA J         4141 PACIFIC HWY                                                                          SAN DIEGO           CA   92110
RATLIFF, RICHARD P         3536 LAWRENCE AVE                                                                         WATERFORD           MI   48329‐2165
RATLIFF, RICHARD PATRICK   3536 LAWRENCE AVE                                                                         WATERFORD           MI   48329‐2165
RATLIFF, RICK A            823 N ANDERSON ST                                                                         ELWOOD              IN   46036‐1231
RATLIFF, ROBERT C          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                           STREET, SUITE 600
RATLIFF, RODNEY P          765 HARBOR DR                                                                             LEBANON             OH   45036‐2714
RATLIFF, ROGER             91 WYNDENERE DR                                                                           FRANKLIN            OH   45005‐2465
RATLIFF, ROGER             PO BOX 515                                                                                FRANKLIN            OH   45005‐0515
RATLIFF, ROGER K           8218 N STATE ROAD 135                                                                     MORGANTOWN          IN   46160‐8995
RATLIFF, ROGER K           1100 LAON LN                                                                              DESOTO              TX   75115‐7706
RATLIFF, ROGER KEITH       8218 NORTH STATE ROAD 135                                                                 MORGANTOWN          IN   46160‐8995
RATLIFF, ROLLIN            3300 BRADDOCK ST                                                                          KETTERING           OH   45420‐1203
RATLIFF, ROLLIN            3300 BRADDOCK                                                                             KETTERING           OH   45420‐1203
RATLIFF, RONALD A          526 SWEAT RD                                                                              GRIMSLEY            TN   38565‐5005
RATLIFF, ROSIE             235 S. MARSHALL                 C/O GLENDA PRICE                                          PONTIAC             MI   48342‐3247
RATLIFF, ROSIE             235 S MARSHALL ST               C/O GLENDA PRICE                                          PONTIAC             MI   48342‐3247
RATLIFF, RUBY E            950 PRATER RIDGE RD                                                                       WELLINGTON          KY   40387‐8278
RATLIFF, RUBY J            959 CARTERVILLE HEIGHTS RD                                                                WYTHEVILLE          VA   24382‐3788
RATLIFF, SCOTT A           11404 HIGHWAY 80                                                                          GREENWOOD           LA   71033‐2104
RATLIFF, SHANNON
RATLIFF, SHARON K          108 EVERGREEN DR RT 2                                                                     DEFIANCE            OH   43512
RATLIFF, SHERRY            495 CHAPMAN ST BOX 93                                                                     WAYNESVILLE         OH   45068‐8436
RATLIFF, SHERRY A          214 WINCHESTER DR                                                                         ROSCOMMON           MI   48653‐8773
RATLIFF, SIE L             1504 BELL ST                                                                              PINE BLUFF          AR   71601‐2404
RATLIFF, STELLA W          1927 N CHARLES ST               C/O JO ANN THOMAS                                         SAGINAW             MI   48602‐4853
RATLIFF, STEPHEN E         404 DRIFTWOOD COURT                                                                       FRANKLIN            IN   46131‐7944
RATLIFF, STEPHEN L         10062 N HUNT CT                                                                           DAVISON             MI   48423‐3510
RATLIFF, STEVEN A          PO BOX 7213                                                                               GREENWOOD           IN   46142‐6422
RATLIFF, STEVEN D          4037 SPRINGHILL DR                                                                        TUSCALOOSA          AL   35405‐4744
RATLIFF, SYLETTA           1504 BELL AVE                                                                             PINE BULFF          AR   71601‐2404
RATLIFF, SYLETTA           1504 BELL ST                                                                              PINE BLUFF          AR   71601‐2404
RATLIFF, TERRY G           5011 E 75 S                                                                               FRANKLIN            IN   46131‐8495
RATLIFF, THELMA            3166 WEST 31 ST                                                                           CLEVELAND           OH   44109‐1508
RATLIFF, THEODORE          204 BOMBAY ST                                                                             EXCELSIOR SPRINGS   MO   64024
RATLIFF, THERMAN R         2229 EVERGREEN DR                                                                         DEFIANCE            OH   43512‐9665
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Name                      Address1                        Address2                     Address3              Address4         City             State Zip
RATLIFF, THOMAS
RATLIFF, THOMAS A         82 LEO LN                                                                                           MARTINSBURG      WV    25405‐6169
RATLIFF, THOMAS D         1755 BOGIE LAKE RD                                                                                  WHITE LAKE       MI    48383‐2731
RATLIFF, URIAH R          807 W WILLARD ST                                                                                    MUNCIE           IN    47302‐2231
RATLIFF, URIAH ROYCE      807 W WILLARD ST                                                                                    MUNCIE           IN    47302‐2231
RATLIFF, VERSAL           3166 W 31ST ST                                                                                      CLEVELAND        OH    44109‐1508
RATLIFF, WALTER P         959 CARTERVILLE HEIGHTS RD                                                                          WYTHEVILLE       VA    24382‐3788
RATLIFF, WAYNE A          PO BOX 214                                                                                          GERMANTOWN       OH    45327‐0214
RATLIFF, WESLEY B         20756 STATE ROUTE 114                                                                               GROVER HILL      OH    45849‐9602
RATLIFF, WILLIAM O        2660 FREMBES RD                                                                                     WATERFORD        MI    48329‐3613
RATLIFF, YVETTE A         PO BOX 690                                                                                          GRAND BLANC      MI    48480‐0690
RATLIFF,DONALD R          10286 GER‐MIDD RD                                                                                   GERMANTOWN       OH
RATLIFF,WAYNE A           PO BOX 214                                                                                          GERMANTOWN       OH    45327‐0214
RATLIFFE, BARBARA J       7203 BOGLEY RD APT 102                                                                              BALTIMORE        MD    21244‐8171
RATNA ILAN                212 PURPLE LEAF RD                                                                                  FUQUAY VARINA    NC    27526‐6911
RATNASRI ADHARAPURAPU     835 W WHITTEN ST                                                                                    CHANDLER         AZ    85225‐6418
RATNER ALLAN              TOMOCHICHI LANE                                                                                     SAVANNAH         GA    31411
RATON SERV/MILWAUKEE      W227N937 WESTMOUND DR                                                                               WAUKESHA         WI    53186‐1647
RATONYI, LOUISE D         33830 SWAN DR                                                                                       STERLING HTS     MI    48312‐6734
RATOS, JAMES              1408 CANNONBALL TRL                                                                                 YORKVILLE        IL    60560‐4714
RATOWSKI, CARL J          1055 CATHOLIC CHURCH RD                                                                             LESLIE           MI    49251‐9314
RATTAI, RAYMOND R         2738 ADAMS RD                                                                                       OAKLAND          MI    48363‐1914
RATTAN SIMARPREET S       2153 WILKES WAY                                                                                     LEXINGTON        KY    40505‐4848
RATTAN, ASHOK K           13176 CONNELL DR                                                                                    OVERLAND PARK    KS    66213‐3314
RATTAN, FRED L            503 CONNALLY TER                                                                                    ARLINGTON        TX    76010‐4450
RATTAN, FRED L            821 S CLINTON LN                                                                                    MIDLOTHIAN       TX    76065‐6282
RATTAN, MICHAEL D         228 STANLEY PARK LN                                                                                 FRANKLIN         TN    37069
RATTAY, CONRAD            8401 S BALDWIN RD                                                                                   ASHLEY           MI    48806‐9736
RATTAY, JEROME J          2407 MAPLE CT                                                                                       PANAMA CITY      FL    32404‐3047
RATTAY, MARY              29722 CITATION CIR APT 23202                                                                        FARMINGTON HLS   MI    49331‐5830
RATTAY, MARY              29722 CITATION CIR              APT 23202                                                           FARMINGTN HLS    MI    48331‐5830
RATTAY, ROBERT            3644 ELMWOOD AVE. N.E.                                                                              WARREN           OH    44483‐2364
RATTER, LOLA R            230 MILLPORT RD                                                                                     WEST MIFFLIN     PA    15122‐2547
RATTEY, NANCY E           17901 NE WASCO ST                                                                                   PORTLAND         OR    97230‐6709
RATTI, ELIZABETH H        1822 HARDING DR                                                                                     WICKLIFFE        OH    44092‐1051
RATTIEN, RONALD           PO BOX 240                                                                                          BRONX            NY    10465‐0240
RATTIGAN ANN M            RATTIGAN, JASON                 KIMMEL & SILVERMAN           30 EAST BUTLER PIKE                    AMBLER           PA    19002
RATTIGAN ANN M            RATTIGAN, ANN M                 30 E BUTLER AVE                                                     AMBLER           PA    19002‐4514
RATTIGAN, A G             4545 CHESTNUT RIDGE RD 109A                                                                         AMHERST          NY    14228
RATTIGAN, ANN M           KIMMEL & SILVERMAN              30 E BUTLER AVE                                                     AMBLER           PA    19002‐4514
RATTIGAN, CHRISTINE M     21892 BLUE BIRD LN                                                                                  FRANKFORT        IL    60423‐2293
RATTIGAN, JASON           KIMMEL & SILVERMAN              30 E BUTLER AVE                                                     AMBLER           PA    19002‐4514
RATTIGAN, MICHAEL J       3600 FISK AVE 2                                                                                     PHILADELPHIA     PA    19129
RATTIGAN, THOMAS F        20 CENTRAL AVE                                                                                      HOPATCONG        NJ    07843‐1803
RATTINI, DAMON            19 NEW MILFORD RD                                                                                   ATWATER          OH    44201‐9725
RATTINI, JOSEPH J         304 S HIGH ST                                                                                       BALTIMORE        MD    21202‐4333
RATTLER MARCEL (635416)   BRAYTON PURCELL                 PO BOX 6169                                                         NOVATO           CA    94948‐6169
RATTLER, MARCEL           BRAYTON PURCELL                 PO BOX 6169                                                         NOVATO           CA    94948‐6169
RATTLER, WOODROW          816 JOSEPHINE BAKER AVE                                                                             SAINT LOUIS      MO    63106‐1650
RATTLESNAKE CLUB          300 RIVER PLACE                                                                                     DETROIT          MI    48207
RATTNER RUTH F            1002 ANN ST                                                                                         BIRMINGHAM       MI    48009‐1770
RATTS JOSHUA              APT C                           3445 WEST DORCHESTER RIDGE                                          PEORIA           IL    61604‐1798
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Name                        Address1                        Address2              Address3       Address4             City               State Zip
RATTS, HENRY C              7692 S STATE ROAD 39                                                                      CLAYTON             IN 46118‐9325
RATTY, LULA GRACE           PO BOX 624                                                                                ROCKAWAY BEACH      MO 65740‐0624
RATTY, LULA GRACE           P.O. BOX 624                                                                              ROCKAWAY BEACH      MO 65740‐0624
RATTY, MARY J               4022 SHANNON DR                                                                           FORT WAYNE          IN 46835‐2155
RATTY, MICHAEL L            4022 SHANNON DR                                                                           FORT WAYNE          IN 46835‐2155
RATU, JOHN J                10188 ROOSEVELT RD                                                                        CARSON CITY         MI 48811‐9610
RATU, LEISA E               8120 E JEFFERSON AVE APT BA1                                                              DETROIT             MI 48214‐5524
RATUSH, ALBERT W            42409 W ELDON ST                                                                          CLINTON TWP         MI 48038‐6821
RATUSHNY, ANNE              185 GRANT AVE                   C/O JULIANNA PETRUK                  WINDSOR ON N8N‐2X9
                                                                                                 CANADA
RATUSZNIK, DIANNE           6933 19 MILE RD NE                                                                        CEDAR SPRINGS      MI   49319
RATUSZNIK, SHARON F         44040 CADBURRY DR                                                                         CLINTON TWP        MI   48038‐1445
RATUSZNY, LEONARD           GUY WILLIAM S                   PO BOX 509                                                MCCOMB             MS   39649‐0509
RATVASKY, ANDREW M          40 S 3RD ST                                                                               SHARPSVILLE        PA   16150‐1205
RATYNSKI, JAMES E           320 AGNES DR                                                                              BAY CITY           MI   48708‐8425
RATZ, DOTTIE S              2908 MOORE RD                                                                             ANDERSON           IN   46011‐4627
RATZ, EDWARD W              1540 HELENA AVE                                                                           HARTLAND           MI   48353‐3780
RATZ, HAROLD E              2824 W DEBORAH DR                                                                         MONROE             LA   71201‐1918
RATZ, PEGGY C               723 COUNTRY LN                                                                            ANDERSON           IN   46013‐1529
RATZ, REBECCA S             818 CANYON CREEK DR                                                                       HOLLY              MI   48442‐1560
RATZ, RICHARD J             205 HAMS CREEK RD                                                                         PULASKI            TN   38478‐8348
RATZ, ROBERT J              1000 SARATOGA CT                                                                          NORTHVILLE         MI   48167‐1003
RATZA, CLIFTON J            1474 HAWKS NEST CT                                                                        HUBERTUS           WI   53033‐9551
RATZA, DENNIS A             3380 E FARRAND RD                                                                         CLIO               MI   48420‐9162
RATZA, FRANCIS R            3670 BIRCH RUN RD                                                                         MILLINGTON         MI   48746‐9303
RATZA, JAMES C              5227 W FARRAND RD                                                                         CLIO               MI   48420‐8234
RATZA, LAWRENCE J           9180 PINE BLUFF DR                                                                        FLUSHING           MI   48433‐1252
RATZA, MARK J               13071 N CENTER RD                                                                         CLIO               MI   48420‐9120
RATZA, MARK JOHN            13071 N CENTER RD                                                                         CLIO               MI   48420‐9120
RATZA, MARKAY T             #2                              1876 MILLVILLE ROAD                                       LAPEER             MI   48446‐7618
RATZA, MARKAY T             1876 MILLVILLE RD               APT 2 SOUTH                                               LAPEER             MI   48446
RATZA, MICHAEL J            8526 WILLARD RD                                                                           MILLINGTON         MI   48746
RATZA, MICHAEL J            3098 MURPHY LAKE RD                                                                       MILLINGTON         MI   48746‐9621
RATZA, MICHAEL JOSEPH       3098 MURPHY LAKE RD                                                                       MILLINGTON         MI   48746‐9621
RATZA, MITCHELL W           12423 IRISH RD                                                                            OTISVILLE          MI   48463‐9430
RATZA, RONALD D             6629 MAIN ST # RT2                                                                        VASSAR             MI   48768
RATZA, RONALD DEAN          6629 MAIN ST # RT2                                                                        VASSAR             MI   48768
RATZA, VANNAH L             116 WILLARD FERRY RD            P.O. BOX AB                                               JONESBORO          IL   62952
RATZLAFF'S SERVICE CENTER   12524 CARSON ST                                                                           HAWAIIAN GARDENS   CA   90716‐1608
RATZLAFF, RANDY L           10782 SPARKLING WATERS CT                                                                 SOUTH LYON         MI   48178‐9297
RATZLAFF, WALTER E          5304 VINEYARD LN                                                                          FLUSHING           MI   48433‐2438
RATZLOFF, JANET K           213 PHILLIPS PL                                                                           ROYAL OAK          MI   48067‐2732
RATZOW, FREDERICK R         49106 MILFORD CT                                                                          SHELBY TWP         MI   48315‐3962
RAU DAVID                   14685 STATE ROUTE 111                                                                     DEFIANCE           OH   43512‐8615
RAU DONALD                  441 NESSLER WAY                                                                           SPRING HILL        FL   34609‐9415
RAU GERHARD                 KRAICHGAUST 4                                                        D‐76297 STUTENSEE
                                                                                                 GERMANY
RAU LYDIA                   TECKST 16                                                            D 89518 HEIDENHEIM
                                                                                                 GERMANY
RAU, ALEXANDER              34 MARGARET RD                                                                            MONROE             NY 10950‐4536
RAU, BERNADINE M            95 PILGRIM RD                                                                             TONAWANDA          NY 14150‐9025
RAU, BERNARD                12900 CLYDE RD                                                                            FENTON             MI 48430‐9426
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Name                 Address1                         Address2               Address3     Address4         City                 State Zip
RAU, BETH E          1123 N OSBORNE AVE                                                                    JANESVILLE            WI 53548‐1456
RAU, BETTY J         3205 ALDEN DR                                                                         LANSING               MI 48910‐3454
RAU, BRIAN M         615 EAST ST APT 1                                                                     FLINT                 MI 48503‐6121
RAU, BRIAN MICHAEL   615 EAST ST APT 1                                                                     FLINT                 MI 48503‐6121
RAU, CHAD M          1406 KNAPP AVE                                                                        FLINT                 MI 48503‐6707
RAU, CHAD M.         1406 KNAPP AVE                                                                        FLINT                 MI 48503‐6707
RAU, CHARLES B       185 VARIAN LN                                                                         ROCHESTER             NY 14624‐1740
RAU, CHARLOTTE A     53031 CAMDEN CT                                                                       MACOMB                MI 48042‐2821
RAU, CHARLOTTE ANN   53031 CAMDEN CT                                                                       MACOMB                MI 48042‐2821
RAU, CHRISTOPHER A   7338 N JENNINGS RD                                                                    MOUNT MORRIS          MI 48458‐9305
RAU, DAVID A         3200 DICKERSON RD                                                                     GAGETOWN              MI 48735‐9757
RAU, DAVID L         14685 STATE ROUTE 111                                                                 DEFIANCE              OH 43512‐8615
RAU, DAVID LEE       14685 STATE ROUTE 111                                                                 DEFIANCE              OH 43512‐8615
RAU, DEBORAH A       1794 OAKDELL DR                                                                       MENLO PARK            CA 94025‐5768
RAU, DONALD J        4337 BUCKBEAN                                                                         SAGINAW               MI 48603‐0002
RAU, DONALD R        28913 STATE ROUTE 281                                                                 DEFIANCE              OH 43512‐8965
RAU, EDWARD A        11550 MCCLURE DR                                                                      WOLVERINE             MI 49799‐9803
RAU, EDWARD L        PO BOX 424                       307 E RICE ST                                        CONTINENTAL           OH 45831‐0424
RAU, ERIC A          8032 FRANCES RD                                                                       OTISVILLE             MI 48463‐9422
RAU, ERIC ALAN       8032 FRANCES RD                                                                       OTISVILLE MI 48463    MI 48463‐9422
RAU, ERIC S          2003 PEPPERLANE RT8 BOX                                                               BENTON                KY 42025
RAU, FRED C          2718 E RIDING DR                                                                      WILMINGTON            DE 19808‐3643
RAU, FREDERICK D     4768 STATE ROUTE 634                                                                  CONTINENTAL           OH 45831‐9222
RAU, GLENDA          9305 MEADOW VALLEY LN UNIT 102                                                        LOUISVILLE            KY 40291‐3946
RAU, GRACE           20078 WOODWORTH                                                                       REDFORD               MI 48240‐1126
RAU, GREGORY H       117 MORAN RD                                                                          GROSSE POINTE         MI 48236‐3606
RAU, HENRY (DAVID)   1901 WARD RD                                                                          LYNDONVILLE           NY 14098‐9800
RAU, HILLARY         APT 2111                         1550 TRENT BOULEVARD                                 LEXINGTON             KY 40515‐1924
RAU, IRENE M         464 S FREMONT ST                                                                      JANESVILLE            WI 53545‐4266
RAU, IRENE M         464 S. FREEMONT                                                                       JANESVILLE            WI 53545‐4266
RAU, JAMES           JAMES RAU                        1083 STAMM ROAD                                      ALGER                 MI 48610
RAU, JAMES
RAU, JAMES D         1083 STAMM DR                                                                         ALGER                MI   48610‐9628
RAU, JOHN            115 BELVIEW DR                                                                        ROCHESTER            NY   14609‐2022
RAU, JOHN C          1229 CHESANING RD                                                                     MONTROSE             MI   48457‐9367
RAU, JOHN CLAYTON    1229 CHESANING RD                                                                     MONTROSE             MI   48457‐9367
RAU, JOHN J          4210 HUNTERS CREEK RD                                                                 METAMORA             MI   48455‐9223
RAU, JOHN P          4679 LAKEVIEW DR                                                                      HALE                 MI   48739
RAU, JOHN P          345 RIVER WOODS DR                                                                    FLUSHING             MI   48433‐2132
RAU, JOSEPH G        6369 LAURA LN                                                                         FLINT                MI   48507‐4629
RAU, KATHY M         7314 LAWRENCE ST                                                                      GRAND BLANC          MI   48439‐9341
RAU, KEITH MARTIN    G 1131 E STANLEY RD                                                                   MOUNT MORRIS         MI   48458
RAU, LOIS C          1586 STANDLEY RD                                                                      DEFIANCE             OH   43512
RAU, M GAYE          203 E KING ST                                                                         OWOSSO               MI   48867‐2333
RAU, MARIAN          4149 HOLIDAY RD                                                                       TRAVERSE CITY        MI   49686‐3931
RAU, MARTHA A        420 LELAND ST                                                                         FLUSHING             MI   48433‐1343
RAU, MARY A          925 CHURCH ST                                                                         JANESVILLE           WI   53548‐2308
RAU, MARY I          7338 NO JENNINGS ROAD                                                                 MT MORRIS            MI   48458‐9305
RAU, MARY I          7338 N JENNINGS RD                                                                    MOUNT MORRIS         MI   48458‐9305
RAU, MARY J          1133 DEWITT ST                                                                        SEBRING              FL   33872‐4384
RAU, MARY J          6350 LAKE ST                                                                          NEWAYGO              MI   49337
RAU, MATTHEW E       13627 STATE ROUTE 634                                                                 CLOVERDALE           OH   45827‐9461
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Name                   Address1                        Address2                      Address3   Address4         City           State Zip
RAU, MAVIS             G 1131 E STANLEY RD                                                                       MOUNT MORRIS    MI 48458
RAU, MELVIN A          24160 STATE ROUTE 613                                                                     CONTINENTAL     OH 45831‐8924
RAU, MICHAEL L         5251 ROAD 21                                                                              PAYNE           OH 45880‐9355
RAU, N V               12486 SPRINGBROOKE RUN                                                                    CARMEL          IN 46033‐9147
RAU, PATRICIA A        11150 ROLSTON RD                                                                          BYRON           MI 48418
RAU, PATRICIA K        607 BEACH ST                                                                              MOUNT MORRIS    MI 48458‐1907
RAU, PERRY L           PO BOX 294                                                                                CONTINENTAL     OH 45831‐0294
RAU, PETER A           308 FRANCES AVE                                                                           FLUSHING        MI 48433‐1737
RAU, PETER ANTHONY     308 FRANCES AVE                                                                           FLUSHING        MI 48433‐1737
RAU, RICHARD O         110 LONDON CT                                                                             CROSSVILLE      TN 38558‐8673
RAU, ROBERT B          3158 YORKSHIRE DR                                                                         BAY CITY        MI 48706
RAU, ROBERT W          3972 MAIN STREET RD                                                                       STANDISH        MI 48658‐9743
RAU, ROSEMARY L        110 PEER AVE                                                                              FLINT           MI 48503‐5706
RAU, RUSSELL K         7314 LAWRENCE ST                                                                          GRAND BLANC     MI 48439‐9341
RAU, SHIRLEY M         8164 S FOREST HILLS CIR                                                                   FRANKLIN        WI 53132‐9605
RAU, STEPHANIE A       1049 AGNES ST                                                                             MOUNT MORRIS    MI 48458‐2245
RAU, STEVEN M          950 PLYMOUTH RD                                                                           SAGINAW         MI 48638‐7143
RAU, THOMAS A          6685 HEMLOCK RD                                                                           LAKEVIEW        MI 48850‐9741
RAU, THOMAS K          1049 AGNES ST                                                                             MOUNT MORRIS    MI 48458‐2245
RAU, THOMAS W          931 INDIGO CREEK CIR                                                                      DAYTON          OH 45458‐9240
RAU, VIRGINIA R        53 WOOLSEY CT                                                                             PENNINGTON      NJ 08534‐1425
RAU, VIVIAN A          224 HENDERSON LAKE DR                                                                     LUPTON          MI 48635‐9321
RAU, WILLIAM A         20195 ROAD C20                                                                            CONTINENTAL     OH 45831‐9651
RAU, WILLIAM C         6385 WILSON RD                                                                            OTISVILLE       MI 48463‐9437
RAU, WILLIAM R         12340 TOWNLINE RD                                                                         GRAND BLANC     MI 48439‐1696
RAUB TRANSPORT INC     PO BOX 35                                                                                 CORTLAND        OH 44410‐0035
RAUB, BETTY            PO BOX 2002                                                                               GARDEN CITY     MI 48136‐2002
RAUB, JODI             107 BUTTERNUT ST                                                                          WESTLAND        MI 48186
RAUB, JOHN W           513 SUDBURY CT                                                                            INDIANAPOLIS    IN 46234‐2252
RAUB, KAREN S          2708 EVELYN RD                                                                            YOUNGSTOWN      OH 44511‐1816
RAUB, KARL F           21457 HOLMBURY RD                                                                         NORTHVILLE      MI 48167‐1053
RAUB, LINDA R          388 BROADWAY AVE SE                                                                       WARREN          OH 44484‐4606
RAUB, LINDA R          388 BROADWAY SE                                                                           WARREN          OH 44484‐4484
RAUB, NANCY D          21457 HOLMBURY RD                                                                         NORTHVILLE      MI 48167‐1053
RAUB, RUTH A           1195 NIBLOCK AVE NW                                                                       WARREN          OH 44485‐2136
RAUB, RUTH ANN         1195 NIBLOCK AVENUE NORTHWEST                                                             WARREN          OH 44485‐2136
RAUB, SCOT J           10002 SAWTOOTH CT                                                                         FORT WAYNE      IN 46804‐3915
RAUB, THOMAS C         2335 MAIN AVE SW                                                                          WARREN          OH 44481‐9698
RAUBA, RICHARD G       336 SELBORNE RD                                                                           RIVERSIDE        IL 60546‐1625
RAUBACH, ROBERT D      504 KATELYN DR S                                                                          SPRING HILL     TN 37174‐7585
RAUBACH, ROBERT D      504 KATELYN DRIVE SOUTH                                                                   SPRING HILL     TN 37174‐7585
RAUBACHER, JOHN R      16780 DUNSWOOD RD                                                                         NORTHVILLE      MI 48168‐2312
RAUBACHER, MICHAEL J   PO BOX 9022                                                                               WARREN          MI 48090‐9022
RAUBER, FERNANDO       2813 MARATHON ST                                                                          LOS ANGELES     CA 90026‐2921
RAUBER, HENRY L        1003 LISA LN                                                                              RICHMOND        MO 64085‐1163
RAUBINGER, DANIEL F    4083 PENROSE CT                                                                           TROY            MI 48098‐6323
RAUBINGER, FRED J      7056 HILL RD                                                                              SWARTZ CREEK    MI 48473‐7601
RAUBINGER, JAMES L     6700 WESTSIDE SAGINAW RD        # 503                                                     BAY CITY        MI 48706‐9325
RAUBUCH, HAROLD D      1038 E PINCKLEY ST                                                                        BRAZIL          IN 47834‐8206
RAUCH ALLAN (667812)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                       STREET, SUITE 600
RAUCH ELISSA           4230 SAN GIORGIO ST                                                                       NEW ORLEANS     LA   70129‐2843
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Name                                Address1                        Address2                      Address3                  Address4                City               State Zip
RAUCH, ALLAN                        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA 23510‐2212
                                                                    STREET, SUITE 600
RAUCH, CLARA                        3935 LE SAGE ST                                                                                                 LYNWOOD            CA   90262‐2823
RAUCH, DAVID E                      391 HOWELL DRIVE                                                                                                SPRING CITY        TN   37381‐7381
RAUCH, DAVID E                      391 HOWELL DR                                                                                                   SPRING CITY        TN   37381‐6201
RAUCH, DOLORES M                    342 STUBBS DR                                                                                                   TROTWOOD           OH   45426‐3109
RAUCH, DOLORES M                    342 STUBBS DRIVE                                                                                                TROTWOOD           OH   45426‐3109
RAUCH, DONALD J                     7302 HILLSBORO CT                                                                                               CANTON             MI   48187‐2241
RAUCH, FLORENCE M                   5253 E BROAD ST #206                                                                                            COLUMBUS           OH   43213‐3835
RAUCH, FLORENCE R                   30928 BALMORAL ST                                                                                               GARDEN CITY        MI   48135‐1982
RAUCH, FRANCIS P                    1132 CORA ST                                                                                                    WYANDOTTE          MI   48192‐2806
RAUCH, GABRIEL                      604 HIGHLAND AVE                                                                                                MANSFIELD          OH   44903‐1848
RAUCH, GERHARDT                     6115 SUNDERLAND DR                                                                                              PARMA              OH   44129‐4627
RAUCH, HERMAN C                     2837 RED OAK CIR                                                                                                NEW SMYRNA BEACH   FL   32168‐5787
RAUCH, JEAN F                       8881 S COUNTRY DR APT 103                                                                                       OAK CREEK          WI   53154‐3887
RAUCH, JOHN W                       15997 PIERCE ST                                                                                                 WEST OLIVE         MI   49460‐9508
RAUCH, MICHAEL L                    983 OMARD DR                                                                                                    XENIA              OH   45385‐2457
RAUCH, PHYLLIS                      4156 DILLING RD                                                                                                 BRETHREN           MI   49619
RAUCH, RICHARD G                    10181 BIRCH DR. LAKE STEVENS                                                                                    RIVERDALE          MI   48877
RAUCH, RICHARD H                    7281 COTTONWOOD KNL                                                                                             WEST BLOOMFIELD    MI   48322‐4046
RAUCH, ROBERT A                     107 EL PORTON                                                                                                   LOS GATOS          CA   95032‐1125
RAUCH, VIRGINIA M                   3786 HOBSTONE PL                                                                                                DUBLIN             CA   94568‐8816
RAUCHMAN, LEO                       9804 SEAVITT DR                                                                                                 ALLEN PARK         MI   48101‐1293
RAUDABAUGH KAREN                    281 HIGH MEADOW DR                                                                                              MARIETTA           GA   30068‐3926
RAUDENBUSH, NELLIE H                1551 FRANKLIN ST SE             RM 4042                                                                         GRAND RAPIDS       MI   49506‐8203
RAUEN GEORGE (ESTATE OF) (498851)   SIMMONS FIRM                    PO BOX 521                                                                      EAST ALTON         IL   62024‐0519
RAUEN, CARL J                       4334 FLORAL AVE                                                                                                 NORWOOD            OH   45212‐3254
RAUEN, GEORGE                       SIMMONS FIRM                    PO BOX 521                                                                      EAST ALTON         IL   62024‐0519
RAUEN, ROBERT W                     6651 IMHOFF RD                                                                                                  OXFORD             OH   45056‐9198
RAUERT, THEODORE G                  ATTN LYNNE KIZIS ESQ            WILENTZ GOLDMAN AND SPITZER   90 WOODBRIDGE CENTER DR                           WOODBRIDGE         NJ   07095

RAUFMAN, JACK B                     S1633 SIMPSON RD                                                                                                REEDSBURG          WI 53959‐9075
RAUFOSS AS                          TOM ENGEN                       P.O. BOX 0002                                           RAUFOSS AS NORWAY
RAUFOSS ASA                         TOM ENGEN                       P.O. BOX 0002                                           RAUFOSS AS NORWAY
RAUFOSS AUTOMOTIVE                  FRANCOIS CARRIERE               4050 RUE LAVOISIER                                      BOISBRIAND QC J7H 1R4
                                                                                                                            CANADA
RAUFOSS AUTOMOTIVE COMPONENTS       JEAN MEREDITH                   4050 RUE LAVOISIER                                      XIAMEN FUJIAN CHINA
                                                                                                                            (PEOPLE'S REP)
RAUFOSS AUTOMOTIVE COMPONENTS       4050 LAVOISIER                                                                          BOISBRIAND CANADA PQ
CANADA LP                                                                                                                   J7H 1R4 CANADA
RAUFOSS AUTOMOTIVES RAUFOSS         4050 RUE LAVOISIER                                                                      BOISBRIAND QC J7H 1R4
CANADA                                                                                                                      CANADA
RAUFOSS TECHNOLOGY AS               ATTN BJORN H KARLSON            PO BOX 77                                               RAUFOSS N‐2831 NORWAY
RAUFOSS TECHNOLOGY AS               RAUFOSS INDUSTRIPARK BYGN 261                                                           RAUFOSS 2831 NORWAY
RAUFOSS/ST THERESE                  4050 RUE LAVOISIER                                                                      ST THERESE QB J7H 1R4
                                                                                                                            CANADA
RAUGHLEY, JOHN D                    5 DAVIES RD                                                                                                     NEWARK             DE   19713‐1803
RAUGHTER, JOHN P                    2900 OVERLOOK DR                                                                                                ASTON              PA   19014‐1623
RAUGUST, CHEREE H                   PO BOX 1249                                                                                                     MOSES LAKE         WA   98837
RAUH JR, MARTIN                     3811 CHAPMAN RD                                                                                                 SHELBY TOWNSHIP    MI   48316‐1405
RAUH, CHERYL L                      2700 SHIMMONS RD LOT 140                                                                                        AUBURN HILLS       MI   48326‐2047
RAUH, FREDDY L                      PO BOX 367                                                                                                      BIG BEAR LAKE      CA   92315
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Name                   Address1                          Address2                      Address3   Address4         City                   State Zip
RAUHORN ELECTRIC INC   17171 23 MILE RD                                                                            MACOMB                  MI 48042‐4100
RAUHUT, RICHARD G      39185 DEQUINDRE RD                                                                          TROY                    MI 48085‐3755
RAUHUT, THEODORE A     2805 BOULDER RIDGE DR                                                                       JEFFERSONVILLE          IN 47130‐8678
RAUL A GARCIA JR       6215 LAKE DR                                                                                YPSILANTI               MI 48197‐7053
RAUL ACOSTA            15427 ROXFORD ST                                                                            SYLMAR                  CA 91342‐1262
RAUL ALAFITA           4157 TIPTON WOODS DR                                                                        ADRIAN                  MI 49221‐9594
RAUL ALVARADO          PO BOX 427                                                                                  MAINEVILLE              OH 45039‐0427
RAUL ALVARADO          734 W BLACKHAWK DR                                                                          FORT ATKINSON           WI 53538‐1019
RAUL ANDRADE SOTO      THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                               HOUSTON                 TX 77017
RAUL ANZALDUA          4809 INGHAM ST                                                                              LANSING                 MI 48911‐2961
RAUL AVILA             2027 SCOTTEN ST                                                                             DETROIT                 MI 48209‐3910
RAUL BAEZ‐TORO         116 URB EL RETIRO                                                                           MAYAGUEZ                PR 00582
RAUL BALTAZAR          1753 BRADBURY DR                                                                            MONTEBELLO              CA 90640‐2143
RAUL BARBA             13037 KAMLOOPS ST                                                                           PACOIMA                 CA 91331‐3318
RAUL BENAVIDES         4291 156TH ST W                                                                             ROSEMOUNT               MN 55068‐4673
RAUL BLANCO            1206 RANDALITO DR                                                                           ARLINGTON               TX 76010‐3528
RAUL BOJORQUEZ         1407 S GILBERT ST APT 15                                                                    FULLERTON               CA 92833‐4355
RAUL BUISON            370 BOYNE ST                                                                                NEW HUDSON              MI 48165‐9780
RAUL CANTU             30634 PINTO DR                                                                              WARREN                  MI 48093‐5057
RAUL CARAN             5242 RANGE VIEW AVE                                                                         LOS ANGELES             CA 90042‐1702
RAUL CEDILLO           550 E WILLARD AVE                                                                           LANSING                 MI 48910‐3446
RAUL CHACON            564 S HILLVIEW AVE                                                                          LOS ANGELES             CA 90022‐2626
RAUL CHAVEZ            938 N DITMAN AVE                                                                            LOS ANGELES             CA 90063‐3813
RAUL COELHO            73 ALTA AVE                                                                                 YONKERS                 NY 10705‐1402
RAUL CORONA            4254 PLEASANT VILLA DR                                                                      ARLINGTON               TX 76016‐4461
RAUL CORTINAS          4663 HEATHERBROOK LN                                                                        GRAND PRAIRIE           TX 75052‐3558
RAUL CURIEL            211 JACKSON AVE                                                                             TULARE                  CA 93274‐8302
RAUL DEANDA            11537 168TH ST                                                                              ARTESIA                 CA 90701‐1701
RAUL DEGALDO           FOSTER & SEAR, LLP                817 GREENVIEW DRIVE                                       GRAND PRAIRIE           TX 75050
RAUL DELA CRUZ         1214 MACKINAW ST                                                                            SAGINAW                 MI 48602‐2342
RAUL DELAO             607 MAGNOLIA ST                                                                             ARLINGTON               TX 76012‐5022
RAUL DELATORRE         3149 DOT AVE                                                                                FLINT                   MI 48506‐2147
RAUL DIAZ              1575 RHEINGOLD CT                                                                           SPARKS                  NV 89434‐5815
RAUL DURAN             1865 WILSON AVE                                                                             SAGINAW                 MI 48638‐4798
RAUL E BACON           13 PALLISTER ST                                                                             DETROIT                 MI 48202‐2416
RAUL E LASTRA          14600 BURIN AVE.                                                                            LAWNDALE                CA 90260
RAUL ESPINOZA          2133 WILLOW SHORE DR SE APT 101                                                             KENTWOOD                MI 49508‐0903
RAUL EURESTE           PO BOX 298                                                                                  HAMLER                  OH 43524‐0298
RAUL FLORES            8209 TOMBSTONE DR                                                                           ARLINGTON               TX 76001‐8522
RAUL FONSECA           5728 COUNTY ROAD 6                                                                          DELTA                   OH 43515‐9234
RAUL FUENTES           221 DEVONSHIRE DRIVE                                                                        DIMONDALE               MI 48821‐9777
RAUL GALLARDO          3315 NORTH MONROE                                                                           CARROLLTON              MI 48724
RAUL GARCIA            206 CORNERSTONE WAY                                                                         MANTECA                 CA 95336‐2885
RAUL GARCIA            6190 OAKPARK TRL                                                                            HASLETT                 MI 48840‐8984
RAUL GARCIA            2905 ALPHA WAY                                                                              FLINT                   MI 48506‐1850
RAUL GARZA             1608 ARDIS DR                                                                               SAGINAW                 MI 48609‐9529
RAUL GARZA JR          3017 S WAVERLY RD APT 3                                                                     LANSING                 MI 48911
RAUL GOMEZ JR          114 MUSCODY ST                                                                              TECUMSEH                MI 49286‐1928
RAUL GONZALES          4518 KILLARNEY PARK DR                                                                      BURTON                  MI 48529‐1832
RAUL GONZALES          1000 HANSON RD                                                                              JOPPA                   MD 21085‐4113
RAUL GUERRERO          9008 COURTENAY ST APT 6308                                                                  NORTH RICHLAND HILLS    TX 76180‐0922
RAUL HERNANDEZ         5738 ASHLEY DR                                                                              LANSING                 MI 48911‐4804
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Name                Address1                         Address2                      Address3   Address4         City               State Zip
RAUL HERNANDEZ JR   5502 CORONATION DR                                                                         ARLINGTON           TX 76017‐4968
RAUL HINOJOSA JR    6023 SYLVAN RIDGE DR                                                                       TOLEDO              OH 43623‐6001
RAUL HUERTA         2215 ROBINWOOD AVE                                                                         SAGINAW             MI 48601‐3559
RAUL J GALLARDO     3315 NORTH MONROE                                                                          CARROLLTON          MI 48724
RAUL JIMENEZ        2505 MCGREGOR DR                                                                           AUSTIN              TX 78745‐4331
RAUL JUANATEY
RAUL LEYVA          5157 1/2 ELIZABETH ST                                                                      CUDAHY             CA   90201‐5385
RAUL LIMAS          312 N FRANCIS AVE                                                                          LANSING            MI   48912‐4114
RAUL LUNA           8617 N CLINTON TRL                                                                         MULLIKEN           MI   48861‐9744
RAUL LUNA           PO BOX 330                                                                                 CHIPPEWA LAKE      MI   49320‐0330
RAUL M CORONA       4254 PLEASANT VILLA DR                                                                     ARLINGTON          TX   76016‐4461
RAUL M LEYVA        5157 1/2 ELIZABETH ST                                                                      CUDAHY             CA   90201‐5385
RAUL MAGANA         15253 LEMARSH ST                                                                           MISSION HILLS      CA   91345‐2723
RAUL MAISONETTE     100 DONIZETTI PL APT 10F                                                                   BRONX              NY   10475‐2015
RAUL MANRIQUEZ      228 TINLEY DR                                                                              LANSING            MI   48911‐5053
RAUL MARTINEZ       601 FAIRVIEW DR                                                                            MISSION            TX   78574‐7613
RAUL MARTINEZ       2920 TORREYA DR                                                                            MCKINNEY           TX   75071‐6264
RAUL MELGOZA        14906 ENVOY ST                                                                             SYLMAR             CA   91342‐5419
RAUL MENDIOLA       20704 SANDALWOOD LN                                                                        STRONGSVILLE       OH   44149‐5716
RAUL MIRANDA        11325 SHADE LANE ST                                                                        SANTA FE SPGS      CA   90670
RAUL MOLINA         102 COUNTY ROAD 479                                                                        CASTROVILLE        TX   78009‐5606
RAUL MORALES        JAIME L BREW CALLE 7‐216                                                                   PONCE              PR   00730
RAUL MORENO         197 W NEW YORK AVE                                                                         PONTIAC            MI   48340‐1152
RAUL MOSQUEDA       110 FLORENCE ST                                                                            SAGINAW            MI   48602‐1202
RAUL MOYA JR        465 KENILWORTH AVE                                                                         PONTIAC            MI   48342‐1845
RAUL MUNIZ          9241 E CD AVE                                                                              RICHLAND           MI   49083‐9501
RAUL NIETO          2148 TACOMA DR                                                                             STANTON            MI   48888‐8707
RAUL OCHOA          4383 HATCHERY RD                                                                           WATERFORD          MI   48329‐3628
RAUL OSPINA         3135 W STONYBROOK DR                                                                       ANAHEIM            CA   92804‐3107
RAUL PABLOS         4007 E BAILEY RD                                                                           CHATTAROY          WA   99003‐8758
RAUL PALMA          25524 FOUNTAIN GLEN CT APT 106                                                             VALENCIA           CA   91381‐1690
RAUL PATINO         17011 LOST CYPRESS DR                                                                      CYPRESS            TX   77429‐1503
RAUL PENA           5870 SHETLAND WAY                                                                          WATERFORD          MI   48327‐2047
RAUL PEREIRA        1893 S OCEAN DR APT 207                                                                    HALLANDALE BEACH   FL   33009‐7635
RAUL PERERA         29244 ROAN DR                                                                              WARREN             MI   48093‐3511
RAUL PEREZ          3315 COLQUITT RD                                                                           SHREVEPORT         LA   71118‐3600
RAUL PEREZ          4440 HESS AVE                                                                              SAGINAW            MI   48601‐6731
RAUL PEREZ          3114 S RENE DR                                                                             SANTA ANA          CA   92704
RAUL PEREZ JR       508 HUNTER CROSSING                                                                        BOSSIER CITY       LA   71111‐8130
RAUL PIMENTEL
RAUL PINA           2607 ROCHELLE PL                                                                           SIMI VALLEY        CA   93063‐2264
RAUL PUENTES        15240 ALLEN RD                                                                             TAYLOR             MI   48180‐5384
RAUL R GONZALES     1114 5TH ST                                                                                BAY CITY           MI   48708‐6032
RAUL RAMIREZ        9102 CASCADE BASIN FLS                                                                     TOMBALL            TX   77375‐5354
RAUL RAMOS          2917 S. UNION AVE.                                                                         CHICAGO            IL   60616‐3575
RAUL REBUSTILLOS    1094 S MAPLECREST CT                                                                       TOMS RIVER         NJ   08753‐5296
RAUL RENDON         3363 LOGSDON DR                                                                            FREMONT            OH   43420‐9684
RAUL REYES          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS         OH   44236
RAUL RIOS           9664 E JAN AVE                                                                             MESA               AZ   85209‐7041
RAUL RIOS           THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON            TX   77017
RAUL RIVERA         13317 122ND ST                                                                             S OZONE PARK       NY   11420‐3212
RAUL RIVERA         2463 POTOMAC LN                                                                            NORTHWOOD          OH   43619‐1148
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Name                     Address1                       Address2                      Address3   Address4         City               State Zip
RAUL ROCHA               4305 WILDWOOD LOOP                                                                       CLARKSTON           MI 48348‐1459
RAUL ROCHA               317 FITZHUGH ST                                                                          BAY CITY            MI 48708‐7158
RAUL RODRIGUEZ           2391 N PEACOCK TRL                                                                       IRONS               MI 49644‐8819
RAUL RODRIGUEZ           PO B0X 4930                                                                              AUSTINTOWN          OH 44515
RAUL ROMERO              1071 HOWARD ST                                                                           LINCOLN PARK        MI 48146‐1536
RAUL ROSA                60 DINO DR 60                                                                            KEASBEY             NJ 08832
RAUL RUIZ                2001 GUINEVERE ST                                                                        ARLINGTON           TX 76014‐1611
RAUL RUIZ                2318 W ARGYLE ST                                                                         CHICAGO              IL 60625‐1808
RAUL SALINAS             16411 ELMER RD                                                                           ALBION              MI 49224‐9303
RAUL SANCHEZ             1002 E 27TH ST                                                                           MARION              IN 46953‐3720
RAUL SANCHEZ             APT 17                         2222 SHERWOOD AVENUE                                      TOLEDO              OH 43614‐4355
RAUL SANCHEZ             128 KIM DR                                                                               ANDERSON            IN 46012‐1013
RAUL SANCHEZ             475 HORACE ST                                                                            DEFIANCE            OH 43512‐2880
RAUL TAMEZ               6050 HEARTHSIDE PL                                                                       GRAND BLANC         MI 48439‐9198
RAUL TAWIL ABADI         ATN. ADRIANA CAJIGAS           511 FIFTH AV. NEW YORK,N.Y.                               NEW YORK            NY 10017
RAUL TORRES              PO BOX 44453                                                                             SHREVEPORT          LA 71134‐4453
RAUL TREVINO             6372 AQUEDUCT LN                                                                         SAGINAW             MI 48603‐1669
RAUL VALENTIN            1582 CRAIGLEE AVE                                                                        YOUNGSTOWN          OH 44506‐1622
RAUL VALENTIN            BRENT COON & ASSOCIATES        215 ORLEANS                                               BEAUMONT            TX 77701
RAUL VALENZUELA          14643 HAYNES ST                                                                          VAN NUYS            CA 91411‐1615
RAUL VALLE               825 INDIAN BRIDGE LN                                                                     DEFIANCE            OH 43512‐1942
RAUL VASQUEZ             C/O WEITZ & LUXENBERG PC       700 BROADWAY                                              NEW YORK            NY 10003
RAUL VEGA                7911 CLYBOURN AVE                                                                        SUN VALLEY          CA 91352‐4630
RAUL VEGAMONTES          703 HANSEN AVE                                                                           LAS CRUCES          NM 88005‐1221
RAUL VELASQUEZ           834 E GIER ST                                                                            LANSING             MI 48906‐4250
RAUL VIELMA              17504 ROAD 168                                                                           PAULDING            OH 45879‐9037
RAUL VILLARREAL JR       PO BOX 9022                                                                              WARREN              MI 48090‐9022
RAUL VIZCARRA            144 EAST COUNTY ROAD 239                                                                 ORANGE GROVE        TX 78372‐9429
RAUL VIZCARRA JR         3465 W CARPENTER RD                                                                      FLINT               MI 48504‐1253
RAUL ZARAGOZA            2057 SEVERIN AVENUE                                                                      MODESTO             CA 95354
RAUL ZUNZUNEGUI          3001 PONDEROSA CIR                                                                       DECATUR             GA 30033‐1528
RAUL'S AUTOMOTIVE INC.   13200 POND SPRINGS RD                                                                    AUSTIN              TX 78729
RAULAND D POLLARD        732 SUPERIOR AVENUE                                                                      DAYTON              OH 45407‐2307
RAULAND POLLARD          732 SUPERIOR AVE                                                                         DAYTON              OH 45402‐6307
RAULERSON, HEATHER A     21121 PARKER ST                                                                          FARMINGTON HILLS    MI 48336‐5159
RAULERSON, WADE          11629 NW 2ND AVE                                                                         GAINESVILLE         FL 32607‐1115
RAULICKIS, JONAS         26662 CECILE ST                                                                          DEARBORN HTS        MI 48127‐3330
RAULINAVICH, THOMAS C    6 FERN HOLLOW RD                                                                         HOWELL              NJ 07731‐2264
RAULINITZ, GERTRUD       9328 SAW MILL RD                                                                         N RIDGEVILLE        OH 44039‐9753
RAULINITZ, GERTRUD       12799 DOULA LN                                                                           NORTH ROYALTON      OH 44133‐1020
RAULINS, JEWEL W         4709 SHILOH VIMVILLE RD                                                                  MERIDIAN            MS 39301‐7563
RAULINTIS, JOSEPHINE S   4 NED CT                                                                                 MIDDLETOWN          NJ 07748
RAULS, CORNELIUS         3225 PROCTOR AVE                                                                         FLINT               MI 48504‐2684
RAULS, VIOLA             3113 CLEMENT ST                                                                          FLINT               MI 48504‐4102
RAULSTON, LINDA B        1290 HEATHERWOODE RD                                                                     FLINT               MI 48532‐2337
RAULSTON, PATSY A        6375 HIGHWAY 92                                                                          FAIRBURN            GA 30213
RAULSTON, RONALD E       1290 HEATHERWOODE RD                                                                     FLINT               MI 48532‐2337
RAUM JR, CLIFTON E       24 MAINE ST                                                                              KENNEBUNKPORT       ME 04046‐6173
RAUM, DONALD L           PO BOX 158                                                                               MORRICE             MI 48857‐0158
RAUM, DONALD LEROY       PO BOX 158                                                                               MORRICE             MI 48857‐0158
RAUM, ROBERT P           17711 EGLANTINE LN                                                                       FORT MYERS BEACH    FL 33931‐7136
RAUMAKER RODNEY          14424 MOWSBURY DR                                                                        AUSTIN              TX 78717
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Name                                  Address1                        Address2                      Address3   Address4             City                  State Zip
RAUMTECHNIK MESSE & EVENT SERVICES    PLIENINGERSTR54                                                          OSTFILDERN 73760
GMBH                                                                                                           GERMANY
RAUN, DANIEL J                        58 DEAN RD                                                                                    MARLBOROUGH           MA    01752
RAUNIO, ETHEL P                       343 WASHINGTON AVENUE                                                                         CRYSTAL FALLS         MI    49920‐1636
RAUNUL REID                           2301 LARCHMONT PLACE                                                                          MOUNT LAUREL          NJ    08054‐5925
RAUPACH, CARRIE L                     1614 CHATTANOOGA AVE                                                                          YOUNGSTOWN            OH    44514‐1155
RAUPACH, MARGARET G                   7497 KIRK RD                                                                                  CANFIELD              OH    44406‐9648
RAUPP JR, NORMAN J                    16088 FAIRFAX CT                                                                              HOLLY                 MI    48442‐9651
RAUPP, BETTY E                        5924 RAUP RD                                                                                  WHITE LAKE            MI    48383‐1163
RAUPP, BETTY E                        5924 RAUPP                                                                                    WHITE LAKE            MI    48383‐1163
RAUPP, KAREN A                        3531 BARBIZON CT                                                                              JACKSONVILLE          FL    32257‐7077
RAUPP, KURT K                         31221 7 MILE RD                                                                               LIVONIA               MI    48152‐3368
RAUPP, MARGARET A                     1430 SAUK LN                                                                                  SAGINAW               MI    48638‐5539
RAUPP, MARVIN G                       284 DANNY DR                                                                                  BROOKLYN              MI    49230‐9045
RAUPP, NOVA M                         21 TABER RD                                                                                   NEWFIELD              NY    14867
RAUPP, ROBERT B                       4750 ROUND LAKE HWY                                                                           MANITOU BEACH         MI    49253‐9627
RAUPP, ROBERT BENNETT                 4750 ROUND LAKE HWY                                                                           MANITOU BEACH         MI    49253‐9627
RAUPP, RUSSELL R                      1430 SAUK LN                                                                                  SAGINAW               MI    48638‐5539
RAUS LEONARD R (472149)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK               VA    23510
                                                                      STREET, SUITE 600
RAUS REYNOLD J (405394)                SCHULTE J BRYAN                PO BOX 517                                                    BURLINGTON             IA   52601‐0517
RAUS REYNOLD J (405394) ‐ RAUS MARILYN SCHULTE J BRYAN                PO BOX 517                                                    BURLINGTON             IA   52601‐0517

RAUS, LEONARD R                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK                VA 23510‐2212
                                                                      STREET, SUITE 600
RAUS, MARILYN                         SCHULTE J BRYAN                 PO BOX 517                                                    BURLINGTON            IA    52601‐0517
RAUS, REYNOLD J                       SCHULTE J BRYAN                 PO BOX 517                                                    BURLINGTON            IA    52601‐0517
RAUSCH ALBERT D (442453)              SIMMONS FIRM                    PO BOX 559                                                    WOOD RIVER            IL    62095‐0559
RAUSCH I I, BYRON A                   3321 N 51ST ST                                                                                KANSAS CITY           KS    66104‐1602
RAUSCH II, BYRON A                    3321 N 51ST ST                                                                                KANSAS CITY           KS    66104‐1602
RAUSCH JR, JOHN F                     PO BOX 153                                                                                    BRIGHAM CITY          UT    84302‐0153
RAUSCH PETROLEUM LIMITED, CO.         123 N HIGHWAY 52                                                                              GUTTENBERG            IA    52052‐9466
RAUSCH STURM ISRAEL & HORNIK SC       2448 S 102ND ST                                                                               MILWAUKEE             WI    53227
RAUSCH, ALBERT D                      SIMMONS FIRM                    PO BOX 559                                                    WOOD RIVER            IL    62095‐0559
RAUSCH, ALLEN E                       PO BOX 1042                                                                                   LANDER                WY    82520‐1042
RAUSCH, ARLINE E                      5101 W WATERBERRY DR                                                                          HURON                 OH    44839‐2267
RAUSCH, BEATRICE J                    21400 DIX TOLEDO HWY            APT 444                                                       BROWNSTOWN TOWNSHIP   MI    48183

RAUSCH, BEATRICE J                    21400 DIX TOLEDO HWY APT 444                                                                  BROWNSTOWN TWP        MI    48183‐1371
RAUSCH, BYRON A                       3321 N 51ST ST                  C/O BYRON ARTHUR RAUSCH II                                    KANSAS CITY           KS    66104‐1602
RAUSCH, CARL G                        347 GLENGARRY DR                                                                              AURORA                OH    44202‐8585
RAUSCH, CLARA C                       9402 W GLEN OAKS CIR                                                                          SUN CITY              AZ    85351‐1410
RAUSCH, CLAUDE C                      3321 W 91ST ST                                                                                CLEVELAND             OH    44102‐4833
RAUSCH, DONALD B                      167 ATTRIDGE RD                                                                               CHURCHVILLE           NY    14428‐9713
RAUSCH, ERVIN F                       HC 61 BOX 95                                                                                  ENCINO                NM    88321‐9707
RAUSCH, GEORGE E                      885 ORO LOMA RD                                                                               WASHOE VALLEY         NV    89704‐9579
RAUSCH, GUY D                         670 BOLLINGER RD                                                                              BELLVILLE             OH    44813‐9060
RAUSCH, GUY DENNIS                    670 BOLLINGER RD                                                                              BELLVILLE             OH    44813‐9060
RAUSCH, HAMELL, EHRLE & STURM         ACCT OF TERRY E JACKSON         1233 NORTH MAYFAIR ROAD                                       MILWAUKEE             WI    53226
RAUSCH, JAMES J                       428 RIVERSIDE DR                                                                              CHEBOYGAN             MI    49721‐2248
RAUSCH, JOSEPH J                      15525 W GRANGE AVE                                                                            NEW BERLIN            WI    53151‐7944
RAUSCH, MARCIA J                      430 SOUTH FRONT STREET                                                                        COLUMBUS              OH    43215‐7601
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RAUSCH, MARIA               15478 PACKEN DR.                                                                                CLINTON TWP            MI 48038‐4123
RAUSCH, MARIA               15478 PACKAN DR                                                                                 CLINTON TWP            MI 48038‐4123
RAUSCH, MARION P            4279 EVERETT HULL RD                                                                            CORTLAND               OH 44410‐9771
RAUSCH, MARION P            4279 EVERETT‐HULL RD. N.E.                                                                      CORTLAND               OH 44410‐9771
RAUSCH, MARLENE             2824 C ST                                                                                       MCKEESPORT             PA 15133‐2524
RAUSCH, MELBA J             82 ENGLE RD                                                                                     BUFFALO                MO 65622‐7473
RAUSCH, PATRICK M           717 CHRIS LN                                                                                    ORTONVILLE             MI 48462‐8516
RAUSCH, PAUL D              PO BOX 668                                                                                      VIENNA                 OH 44473‐0668
RAUSCH, PETER L             6710 HOLLY PL SW                                                                                SEATTLE                WA 98136
RAUSCH, PETER M             686 N RENAUD RD                                                                                 GROSSE POINTE WOODS    MI 48236‐1722
RAUSCH, RICHARD N           PO BOX 1205                                                                                     BETHANY BEACH          DE 19930‐1205
RAUSCH, WILLIAM E           9210 HOWLAND SPRINGS RD SE                                                                      WARREN                 OH 44484‐3134
RAUSCH, WILLIAM M           PO BOX 24                                                                                       CLARKSTON              MI 48347‐0024
RAUSCHENBACH JR, ROBERT R   785 W MAIN ST                                                                                   WASHINGTONVILLE        OH 44490‐9731
RAUSCHENBACH, ROBERTA       127 DEER VALLEY DR                                                                              SEWICKLEY              PA 15143‐9502
RAUSCHENBERG, CAROLYN R     5970 CALLAWAY CIRCLE                                                                            YOUNGSTOWN             OH 44515‐4188
RAUSCHENBERG, HEATHER J     2665 DECAMP ROAD                                                                                YOUNGSTOWN             OH 44511‐1237
RAUSCHENBERGER, JAMES A     9483 E MOUNT MORRIS RD                                                                          OTISVILLE              MI 48463‐9413
RAUSCHENDORFER, ANNE        2789 HILLENDALE                                                                                 ROCHESTER HILLS        MI 48309‐1924
RAUSCHER, JACOB J           7755 OXGATE CT                       APT 329                                                    HUDSON                 OH 44236‐1878
RAUSCHERT, CHARLES P        18 GLENWOOD LN                                                                                  STOCKTON               NJ 08559‐2115
RAUSCHUBER DAVID            2123 CLUBSIDE DR                                                                                CORINTH                TX 76210‐3064
RAUSCHUBER STEPHANIE        2123 CLUBSIDE DR                                                                                CORINTH                TX 76210‐3064
RAUSER, CHRISTOPHER D       6084 STRAWBERRY CIR                                                                             COMMERCE TOWNSHIP      MI 48382‐5510
RAUSER, MICHAEL             24767 KING RD                                                                                   ROMULUS                MI 48174‐9432
RAUSHENBACH DANA            RAUSHENBACH, DANA                    120 WEST MADISON STREET 10TH                               CHICAGO                 IL 60602
                                                                 FLOOR
RAUSIN, ARIELLE             HENRY N DIDIER JR @ NEWSOME DIDIER   20 N ORANGE AVE STE 800                                    ORLANDO                FL   32801‐4641
                            PA
RAUSIN, ERIC DOUGLAS
RAUSIN, KRISTA RACHELLE
RAUSINI, HILDA R            185 WESTGRILL DR                                                                                PALM COAST            FL    32164‐4009
RAUT, JEFFREY M             2804 5TH ST                                                                                     BALTIMORE             MD    21219‐1610
RAUT, JEFFREY MARK          2804 5TH ST                                                                                     BALTIMORE             MD    21219‐1610
RAUT, JOHN C                1945 MIDLAND RD                                                                                 BALTIMORE             MD    21222‐4643
RAUTENBERG I I, ARTHUR      15051 ELLEN DR                                                                                  LIVONIA               MI    48154‐5148
RAUTH, JOHN A               2858 MAXON RD                                                                                   VARYSBURG             NY    14167‐9717
RAUTH, LINDA J              165 MAYVILLE AVE                                                                                KENMORE               NY    14217‐1822
RAUTH, RICKY P              165 MAYVILLE AVE                                                                                KENMORE               NY    14217‐1822
RAUTIO RICHARD D            3490 SUBURBAN DR                                                                                DAYTON                OH    45432‐2721
RAUTIO, MONTE L             PO BOX 283                                                                                      SCOTT DEPOT           WV    25560‐0283
RAUTIO, NILS J              401 AMITY RD                                                                                    GALLOWAY              OH    43119‐9721
RAUTIO, RICHARD D           3490 SUBURBAN DRIVE                                                                             BEAVERCREEK           OH    45432‐2721
RAUTIO, RICHARD T           1213 PURSELL AVE                                                                                DAYTON                OH    45420‐1944
RAUTIO, ROGER E             16023 LORETO ST                                                                                 ROSEVILLE             MI    48066‐1440
RAUTIO, SHIRLEY A           3490 SUBURBAN DR                                                                                BEAVERCREEK           OH    45432‐2721
RAUTIOLA, DELORES A         15579 FIRESTEEL RD                                                                              ONTONAGON             MI    49953‐9798
RAUTIOLA, KEVIN E           12220 WHITTAKER RD                                                                              MILAN                 MI    48160
RAUTIOLA, KEVIN EUGENE      12220 WHITTAKER RD                                                                              MILAN                 MI    48160
RAUTZEN, ROBERT R           341 SHADYWOOD DR D                                                                              DAYTON                OH    45415
RAUZAN JR, ANDREW A         647 MATAWAW AVE.                                                                                CAMPBELL              OH    44405
RAV ENTERPRISES             43311 JOY RD STE 304                                                                            CANTON                MI    48187
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RAV INVESTIGATIVE & SECURITY SERVICES   44 WEST 28TH STREET 6TH STREET                                                                  NEW YORK            NY 10010

RAV SECURITY SERVICES                   4201 VINELAND ROAD SUITE 1‐2                                                                    ORLANDO            FL   32811
RAVAGE, VELMA M                         382 E ANDERSON RD                                                                               SEQUIM             WA   98382‐8075
RAVAIOLI, ROBERT                        68 SCHOOL STREET                                                                                CLARK              NJ   07066‐1424
RAVAL, PRAVIN B                         16 LONGFORD CT                                                                                  OSWEGO             IL   60543‐8881
RAVALENA COOPER                         107 TIGER LILLY DR                                                                              PARRISH            FL   34219‐9118
RAVALLI COUNTY TREASURER                205 BEDFORD                      CH BOX 5005                                                    HAMILTON           MT   59840
RAVANI, CHANDRAKAN D                    227 TANGLEWOOD DR                                                                               ROCHESTER HILLS    MI   48309‐2215
RAVANI, KIRIT T                         6355 E SURREY RD                                                                                BLOOMFIELD HILLS   MI   48301
RAVARY JR, RAY R                        1940 WHITTIER                                                                                   YPSILANTI          MI   48197‐1729
RAVARY JR, RAY R                        1940 WHITTIER RD                                                                                YPSILANTI          MI   48197‐1729
RAVARY JR, RAY ROY                      1940 WHITTIER RD                                                                                YPSILANTI          MI   48197‐1729
RAVAS, DAVID A                          2813 RIDGE TRAIL DR                                                                             TRAVERSE CITY      MI   49684‐7572
RAVAS, DOUGLAS D                        33236 KENTUCKY ST                                                                               LIVONIA            MI   48150‐3631
RAVAS, JEFFREY G                        3478 PARK ISLAND DR                                                                             OXFORD             MI   48371‐5733
RAVAS,JEFFREY G                         3478 PARK ISLAND DR                                                                             OXFORD             MI   48371‐5733
RAVE, JAMES L                           1363 W 61ST ST                                                                                  CLEVELAND          OH   44102‐2103
RAVE, NADAV                             3619 BROOK STREET                                                                               LAFAYETTE          CA   94549‐4201
RAVEANE, DENISE V                       3812 HILLSIDE DR                                                                                ROYAL OAK          MI   48073‐6481
RAVEGLIA RAYMOND                        118 MAID MARION LN                                                                              MCMURRAY           PA   15317‐2506
RAVELING GEORGE                         5521 W 62ND ST                                                                                  BALDWIN HILLS      CA   90056‐2007
RAVEN COMBS                             1688 S IOLA ST APT 208                                                                          AURORA             CO   80012‐5049
RAVEN ENGINEERING INC                   27994 TRAILWOOD CT               ACCOUNTING OFFICE                                              FARMINGTON HILLS   MI   48331‐2946
RAVEN ENGINEERING INC                   3270 ADVENTURE LN                                                                               OXFORD             MI   48371‐1638
RAVEN LANE                              PO BOX 183322                                                                                   ARLINGTON          TX   76096‐3322
RAVEN N WILLIAMS                        427 EDGEWOOD AVE                                                                                DAYTON             OH   45407
RAVEN NEAL                              112 ROANOKE PL                                                                                  MONROE             LA   71202‐3920
RAVEN R LANE                            402 TIMBERLEA DR APT 17                                                                         ROCHESTER HILLS    MI   48309
RAVEN R LANE                            PO BOX 183322                                                                                   ARLINGTON          TX   76096‐3322
RAVEN ROTSAERT                          3880 BALD MOUNTAIN RD                                                                           AUBURN HILLS       MI   48326‐1813
RAVEN, CINDI                            3365 WOODASH LN                                                                                 BUFORD             GA   30519‐6994
RAVEN, CRAIG A                          6366 RUTLAND ST                                                                                 DETROIT            MI   48228‐3810
RAVEN, DOROTHY F                        1540 LAKE JODECO RD                                                                             JONESBORO          GA   30236‐8111
RAVEN, HARRIET V                        BOX 132                                                                                         BRIDGEPORT         TX   76426‐0132
RAVEN, HARRIET V                        PO BOX 132                                                                                      BRIDGEPORT         TX   76426‐0132
RAVEN, JOHN S                           519 E LINCOLN AVE                                                                               ROYAL OAK          MI   48067‐3301
RAVEN, KATHERINE A                      2417 PECAN DR                                                                                   GRAND PRAIRIE      TX   75050‐1620
RAVEN, ROBERT H                         26536 VIRGINIA DR                                                                               WARREN             MI   48091‐1027
RAVENELL, JR.,RONNIE                    16145 TEMPLAR CIR                                                                               SOUTHFIELD         MI   48075‐6934
RAVENELL, OLIVER J                      17107 NEW JERSEY ST                                                                             SOUTHFIELD         MI   48075‐2985
RAVENELLE, BRIAN B                      197 PROVIDENCE ST                                                                               WOONSOCKET         RI   02895‐5171
RAVENELLE, JOSEPH P                     1235 VICTORY HWY APT B                                                                          OAKLAND            RI   02858‐1121
RAVENNA ALUMINUM INC                    PAM HEMRICK X103                 5159 S PROSPECT ST     FOUNDRY SYSTEMS INTL                    RAVENNA            OH   44266‐9031
RAVENNA ALUMINUM INC                    PAM HEMRICK X103                 FOUNDRY SYSTEMS INTL   5159 S PROSPECT ST                      FARMINGTON         NH   03835
RAVENNA ALUMINUM INC                    5159 S PROSPECT ST                                                                              RAVENNA            OH   44266‐9031
RAVENNA ALUMINUM INDUSTRIES             5159 S PROSPECT ST                                                                              RAVENNA            OH   44266‐9031
RAVENNA PATTERN & MANUFACTURIN          13101 APPLE AVE                  PO BOX 219                                                     RAVENNA            MI   49451‐9755

RAVENNA PATTERN & MANUFACTURING         13101 APPLE AVE                  PO BOX 219                                                     RAVENNA            MI 49451‐9755
INC
RAVENNA PATTERN & MFG INC               13101 APPLE AVE                                                                                 RAVENNA            MI 49451‐9755
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Name                           Address1                          Address2                        Address3                Address4                 City               State Zip
RAVENNA REPAIR SERVICE         5361 MCCORMICK RD                                                                                                  RAVENNA             OH 44266‐9184
RAVENNA TOWNSHIP               PO BOX 153                                                                                                         RAVENNA             MI 49451‐0153
RAVENNA VILLAGE TREASURERS     12090 CROCKERY CREEK DR                                                                                            RAVENNA             MI 49451‐9460
RAVENNA, A J                   6 HILLCREST CIR                                                                                                    BEDFORD             IN 47421‐5611
RAVENS, BILLIE                 12922 TULIP TREE LANE                                                                                              HAZELWOOD           MO 63042‐1555
RAVENS, WALLACE J              12922 TULIP TREE LANE                                                                                              HAZELWOOD           MO 63042‐1555
RAVENSCRAFT JR, WILLIAM        3418 RIVER BLUFF RD                                                                                                ANDERSON            IN 46012‐4634
RAVENSCROFT, KENT              319 RIDGE RD                                                                                                       WEAVERVILLE         CA 96093
RAVENSCROFT, LISA              APT 3109                          16009 EAST 28TH TERRACE SOUTH                                                    INDEPENDENCE        MO 64055‐7521
RAVENSCROFT, WAYNE C           RR 2 BOX 306A                                                                                                      WEST UNION          WV 26456‐9564
RAVENSCROFT, WILLIAM           PO BOX 4026                                                                                                        SANTA BARBARA       CA 93140‐4026
RAVER, BERNARD J               7 RIDGEVIEW DR                                                                                                     ELLINGTON           CT 06029
RAVER, MARIAN L                1309 RANIKE DR                                                                                                     ANDERSON            IN 46012‐2744
RAVERA, GILIO                  1505 COTTONWOOD CIR                                                                                                AUBURN              CA 95603‐2926
RAVERT JOHN C                  PAUL REICH & MYERS PC             1608 WALNUT ST                  STE 500                                          PHILADELPHIA        PA 19103‐5446
RAVERTA SHARON                 299 JEFFREY LN                                                                                                     WEST SPRINGFIELD    MA 01089‐4462
RAVESCHOT, ROBERT              2376 CHESTNUT CIR                                                                                                  LAKE ORION          MI 48360‐2284
RAVESI, BERNARD A              6 BROWN RD                                                                                                         DEERFIELD           NH 03037‐1505
RAVETTO, CHARLES G             8009 NATCHEZ AVE                                                                                                   BURBANK              IL 60459‐1739
RAVEY, JENNIFER M              1737 TAFT AVE                                                                                                      NILES               OH 44446‐4113
RAVEY, JOSEPH D                586 PURDUE AVE                                                                                                     YOUNGSTOWN          OH 44515‐4125
RAVEZZANI, CARL E              12826 EXCALIBUR LN                                                                                                 BRUCE TWP           MI 48065‐4472
RAVI BHATTIPROLU               2353 BRENTHAVEN DR                                                                                                 BLOOMFIELD HILLS    MI 48304‐1437
RAVI DESAI                     1842 CARPENTER DR                                                                                                  TROY                MI 48098‐4364
RAVI KANT MD                   300 OLD POND RD STE 201                                                                                            BRIDGEVILLE         PA 15017‐1270
RAVI MATHURA                   4026 LAKE OAKLAND SHORES DR       DRIVE                                                                            WATERFORD           MI 48329‐2161
RAVI PATTU                     4084 PENROSE DR                                                                                                    TROY                MI 48098‐6318
RAVI SASTRY                    21769 LADYSLIPPER SQ                                                                                               ASHBURN             VA 20147‐6952
RAVI SHAH                      22485 HAMPTON CT                                                                                                   FARMINGTON HILLS    MI 48335‐3921
RAVI VEGESINA                  32234 W 12 MILE RD                                                                                                 FARMINGTN HLS       MI 48334‐3503
RAVI VELNATI                   2884 BIRCHWOOD DR                                                                                                  WATERFORD           MI 48329‐3492
RAVI VERMA                     2438 KINGSCROSS DR                                                                                                 SHELBY TWP          MI 48316‐1250
RAVI,VINODH C                  316 VALENCIA ST APT 312                                                                                            SAN FRANCISCO       CA 94103
RAVI.P
RAVIANI, YVONNE L              2114 COLUMBIA DR                                                                                                   RICHARDSON         TX   75081‐3207
RAVICCHIO, JAMES               884 TUPPER CT                                                                                                      LINDEN             MI   48451‐8509
RAVILLE SASSER                 1488 BLACKWATER RD                                                                                                 LONDON             KY   40744‐7469
RAVILLE, DAVID A               625 MOODY RD                                                                                                       MALONE             NY   12953‐3832
RAVILLE, DAVID ALLEN           625 MOODY RD                                                                                                       MALONE             NY   12953‐3832
RAVINDER BANSAL                KRONTALSTRASSE 66A                                                                        D‐12305 BERLIN GERMANY
RAVINDER SAMRA                 1314 S LINDEN RD STE B                                                                                             FLINT              MI   48532‐3456
RAVINDRA KHARMAI               1550 NOTTINGHAM DR                                                                                                 MADISON HTS        MI   48071‐3042
RAVINDRA PATIL                 2875 TROY CENTER DR APT 4027                                                                                       TROY               MI   48084‐4728
RAVINDRAN VENKATAKRISHNAN      8 SUMMIT ROAD                                                                                                      SOUTHBOROUGH       MA   01772
RAVINEWOOD COURT INC           11871 GRAND RIVER RD                                                                                               BRIGHTON           MI   48116‐8505
RAVINIA FESTIVAL ASSOCIATION   STEPHANIE KIMMEL                  418 SHERIDAN RD                 ASSOCIATE DIRECTOR OF                            HIGHLAND PARK      IL   60035‐5031
                                                                                                 DEVELOPM
RAVIRAJ NAYAK                  1427 KIRTS BLVD APT 202                                                                                            TROY               MI   48084‐4308
RAVIS HALL                     PO BOX 92                                                                                                          MILL SPRING        MO   63952‐0092
RAVIS HAMPTON                  998 E BUTTERFIELD HWY                                                                                              CHARLOTTE          MI   48813‐9185
RAVIS, EDNA I                  1160 HEMINGWAY RD                                                                                                  LAKE ORION         MI   48360‐1228
RAVISHANKAR RAMAMURTHY         285 CARSON DR                                                                                                      WESTLAND           MI   48185‐9656
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Name                            Address1                             Address2                         Address3                     Address4               City             State Zip
RAVITCH, JOSEPH L               7710 WARWICK AVE                                                                                                          DARIEN             IL 60561‐4541
RAVITSKY, PAVEL                 APT 314                              11500 PINEHURST WAY NORTHEAST                                                        SEATTLE           WA 98125‐6344

RAVITSKY, PAVEL                 11500 PINEHURST WAY NE APT 314                                                                                            SEATTLE          WA 98125‐6344
RAVIV ACS LTD                   KIBBUTZ REVIVIM D N                                                                                HALUTZA 85515 ISRAEL
RAVIV PRECISION INJECTION MLD   TIM GARVERICK                        KIBBUTZ RIVIVIM                                               LUEDENSCHEID GERMANY
RAVIZEC JOHN H (491679)         CHRISTOPHER J. HICKEY, ESQ. BRENT    1220 W 6TH ST STE 303                                                                CLEVELAND        OH 44113‐1328
                                COONE AND ASSOCIATES
RAVNELL COOPER JR               2901 BEWICK ST                                                                                                            DETROIT          MI   48214‐2121
RAVON A LOVE                    1123 N GRANT ST                                                                                                           BAY CITY         MI   48708‐6050
RAVON DEEMS                     19 DOGWOOD LN                                                                                                             ARAGON           GA   30104‐5312
RAVOTTI, MICHAEL J              3567 MCCRACKEN RD                                                                                                         SALEM            OH   44460‐9415
RAVURI, NAVEEN K                1938 NORTH WILSON AVENUE                                                                                                  ROYAL OAK        MI   48073‐4221
RAW THRILLS INC.
RAWA, CAROLE D                  PO BOX 141                                                                                                                HILLTOWN         PA   18927‐0141
RAWA, STEPHEN R                 780 JOSLYN RD                                                                                                             LAKE ORION       MI   48362‐2120
RAWAILLOT, MICHAEL L            7330 WINTHROP WAY UNIT 7                                                                                                  DOWNERS GROVE    IL   60516‐4090
RAWAL, SUDHA R                  632 STONEY CREEK AVE                                                                                                      BATON ROUGE      LA   70808‐8188
RAWAT DINESH SINGH              410 W FREEMAN ST APT 6                                                                                                    CARBONDALE       IL   62901‐2785
RAWCO AUTOMOTIVE                872 E FORREST RD                                                                                                          SEYMOUR          MO   65746‐6172
RAWDEN, DAVID A                 4281 RIVER BOTTOM DR                                                                                                      NORCROSS         GA   30092‐1359
RAWDON, RONALD P                4913 WYOMING TRL                                                                                                          FORT WORTH       TX   76180‐7207
RAWLAND HUMBEL                  5012 W COLDWATER RD                                                                                                       FLINT            MI   48504‐1002
RAWLE & HENDERSON LLP           ATTY FOR OAK HARBOR FREIGHT LINES,   ATTN: GARY F. SEITZ AND STEVEN   14 WALL STREET, 27TH FLOOR                          NEW YORK         NY   10005
                                INC.                                 MONTGOMERY
RAWLE & HENDERSON LLP           STEVEN MONTGOMERY, GARY F SEITZ      14 WALL STREET                   27TH FLOOR                                          NEW YORK         NY   10005
RAWLEIGH FERGUSON               RR 1 BOX 83CC                                                                                                             BLOOMFIELD       IN   47424‐9716
RAWLEIGH HARTWELL               945 VAN DYKE RD                                                                                                           BEAVERTON        MI   48612‐9151
RAWLEIGH MADLOCK                341 S 22ND ST                                                                                                             SAGINAW          MI   48601‐1452
RAWLEIGH MORTON                 4712 WAKEFIELD RD APT 303                                                                                                 BALTIMORE        MD   21216‐1045
RAWLEIGH, E L                   158 FRAZIER ST                                                                                                            BROCKPORT        NY   14420‐1762
RAWLES JR., JERRY L             526 VINEYARD DRIVE                                                                                                        DALLAS           GA   30132‐6001
RAWLES, A M                     SHANNON LAW FIRM                     100 W GALLATIN ST                                                                    HAZLEHURST       MS   39083‐3007
RAWLES, JOHN                    1444 ORCHARD TER                                                                                                          HILLSIDE         NJ   07205‐1827
RAWLES, MARTHA J                3320 DUBOIS ST                       C/O PHILLIP RAWLES                                                                   WEST LAFAYETTE   IN   47906‐1199
RAWLES, RONNIE W                3379 AZTEC RD APT 7A                                                                                                      ATLANTA          GA   30340
RAWLES, WILLIAM                 201 W WEDGWOOD DR                                                                                                         YORKTOWN         VA   23693‐5504
RAWLEY, BERNICE M               8925 PINEHURST ST                                                                                                         DETROIT          MI   48204‐4917
RAWLEY, ELIZABETH K             PO BOX 294                                                                                                                FRANKENMUTH      MI   48734‐0294
RAWLEY, MELVIN A                491 W BLANCHARD RD                                                                                                        SHEPHERD         MI   48883‐9552
RAWLEY‐ MCCLELLAND, DORIS T     101 CALADIUM LN                                                                                                           NEWARK           DE   19711‐6803
RAWLIN A SAMS JR                4197 SWEDEN WALKER RD                                                                                                     BROCKPORT        NY   14420‐2711
RAWLING, JAMES                  1416 MONTICELLO CIR                                                                                                       SAINT GEORGE     UT   84790‐7642
RAWLINGS HOWARD                 9512 CONKLIN AVE                                                                                                          CINCINNATI       OH   45242‐6108
RAWLINGS JR, DONALD             4415 JANES RD                                                                                                             SAGINAW          MI   48601‐9625
RAWLINGS LISA (633637)          SIMMONS FIRM                         PO BOX 521                                                                           EAST ALTON       IL   62024‐0519
RAWLINGS, ALVIN E               4911 IVANHOE AVE                                                                                                          BALTIMORE        MD   21212‐4522
RAWLINGS, BARBARA               3302 ELM ST N                                                                                                             FARGO            ND   58102‐1128
RAWLINGS, BARBARA J             1100 CYPRESS                                                                                                              ST AUGUSTINE     FL   32086‐5377
RAWLINGS, BARBARA J             1100 CYPRESS RD                                                                                                           ST AUGUSTINE     FL   32086‐5377
RAWLINGS, BONNIE J              5408 E CO RD ‐ 500 S                                                                                                      KOKOMO           IN   46902
RAWLINGS, CAROLYN               7902 SUTTON PLACE DR.                                                                                                     WARREN           OH   44484
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RAWLINGS, DARLENE K               20902 SLEEPY HOLLOW DR                                                                       MACOMB             MI 48044‐6345
RAWLINGS, DAVID A                 PO BOX 248                                                                                   BURLINGTON         WV 26710‐0248
RAWLINGS, DONALD J                4415 JANES RD                                                                                SAGINAW            MI 48601‐9625
RAWLINGS, DOROTHY S               4162 SQUIRES LN                                                                              COLUMBUS           OH 43220‐3949
RAWLINGS, EUNICE                  885 RODNEY DR SW                                                                             ATLANTA            GA 30311‐2350
RAWLINGS, GARRETT                 1115 VILLAGE DR                                                                              SEVIERVILLE        TN 37862‐5029
RAWLINGS, JAMES R                 7902 SUTTON PL NE                                                                            WARREN             OH 44484‐1461
RAWLINGS, JAMES S                 636 MADDOX RD                                                                                ALEXANDRIA         KY 41001‐9422
RAWLINGS, JOSEPHINE               2238 2ND ST                                                                                  WYANDOTTE          MI 48192‐4608
RAWLINGS, JUNE TEEPIE             11188 S PFLUMM RD                                                                            SHAWNEE MISSION    KS 66215‐4810
RAWLINGS, LISA                    SIMMONS FIRM                    PO BOX 521                                                   EAST ALTON          IL 62024‐0519
RAWLINGS, MARK                    1115 VILLAGE DR                                                                              SEVIERVILLE        TN 37862‐5029
RAWLINGS, MATHEW L                108 JOELLA LN                                                                                SWEETWATER         TN 37874
RAWLINGS, MATTHEW D               357 AMBLESIDE LN                                                                             ABERDEEN           MD 21001‐1850
RAWLINGS, MATTHEW D.              357 AMBLESIDE LN                                                                             ABERDEEN           MD 21001‐1850
RAWLINGS, MICHA L                 814 BOLINGER ST                                                                              ROCHESTER HILLS    MI 48307‐2825
RAWLINGS, MICHAEL T               950 HATCH ST                                                                                 CINCINNATI         OH 45202‐1534
RAWLINGS, MICHAEL W               3573 BROOKDALE DRIVE                                                                         SANTA CLARA        CA 95051‐4625
RAWLINGS, RAYMOND W               6147 S RIDGEWOOD AVE LOT 14                                                                  PORT ORANGE        FL 32127‐6824
RAWLINGS, RICHARD A               PO BOX 530073                                                                                DEBARY             FL 32753‐0073
RAWLINGS, ROBERT D                24751 HUTCHINSON RD                                                                          LOS GATOS          CA 95033‐8371
RAWLINGS, ROBERT L                22 SKOPLEE STREET                                                                            GIRARD             OH 44420‐3307
RAWLINGS, RUSSELL E               5306 DEE ALVA DR                                                                             FAIRFIELD          OH 45014‐1545
RAWLINGS, RYLIE
RAWLINGS, TINA H                  38 DONATELLO                                                                                 ALISO VIEJO       CA   92656‐1492
RAWLINGS, V M                     210 SOUTH ST                                                                                 ORTONVILLE        MI   48462‐8530
RAWLINGS, WILLIAM D               55851 ZUHLKE RD                                                                              CHESTERFIELD      MI   48051‐1045
RAWLINGS, WILLIAM E               200 SOUTHWAY DR.                                                                             DAYTON            OH   45440‐3507
RAWLINGS, WILLIAM M               3 DELL CT                                                                                    BALTIMORE         MD   21244‐2848
RAWLINGS, ZELMA M                 507 SHAMROCK LN                                                                              BALTIMORE         MD   21208‐3622
RAWLINKO, WASYL                   258 COLERIDGE AVE                                                                            SYRACUSE          NY   13204‐2605
RAWLINS WILLIAM HOBERT (477811)   BARON & BUDD                    3102 OAK LANE AVE , SUITE 1100                               DALLAS            TX   75219
RAWLINS, ADONIS S                 1980 BLOOMFIELD OAKS DR                                                                      WEST BLOOMFIELD   MI   48324
RAWLINS, ANDREW                   216 ROSE ST                     C/O DELLA NEAL                                               IRVINE            KY   40336‐1145
RAWLINS, BARBARA J                480 CONCORD AVENUE              APT 2 I                                                      BRONX             NY   10455‐4824
RAWLINS, CLARA J                  3301 SUMMER WOOD CIR                                                                         SNELLVILLE        GA   30039‐5343
RAWLINS, CLARA J                  3301 SUMMERWOOD CIRCLE                                                                       SNELLVILLE        GA   30039‐5343
RAWLINS, DONALD E                 5583 KAY DR                                                                                  MILFORD           OH   45150‐2875
RAWLINS, DOROTHY A                5200 WILLIAMS ST                                                                             WAYNE             MI   48184‐2087
RAWLINS, DOROTHY J                3666 JOHNSVILLE BROOKVILLE RD                                                                BROOKVILLE        OH   45309‐9759
RAWLINS, DOUGLAS K                1024 HUTLEY WAY                                                                              ROSEVILLE         CA   95746‐7157
RAWLINS, E A                      5663 MARKEY RD                                                                               DAYTON            OH   45415‐3446
RAWLINS, EDWARD E                 12 FOREST PARK DR                                                                            LEADINGTON        MO   63601‐4410
RAWLINS, GERALD A                 32 MARK DR                                                                                   NEW CARLISLE      OH   45344‐9182
RAWLINS, HAROLD T                 1229 CHALET AVE                                                                              NEW CARLISLE      OH   45344‐2610
RAWLINS, HAROLD T                 1229 CHALET DR                                                                               NEW CARLISLE      OH   45344‐2610
RAWLINS, JEFF A                   2338 OPECHEE WAY                                                                             FORT WAYNE        IN   46809‐1439
RAWLINS, JOHN R                   2959 N 1050 E                                                                                CHARLOTTESVLE     IN   46117
RAWLINS, JOYCE E                  14904 SEA HOLLY CT                                                                           FORT WAYNE        IN   46814
RAWLINS, KENNETH F                4000 STATE ROUTE 503 SOUTH                                                                   W ALEXANDRIA      OH   45381‐9355
RAWLINS, MARIE A                  1011 HEATH AVE NW                                                                            PALM BAY          FL   32907‐7947
RAWLINS, MICHAEL L                4812 S STATE ROAD 109                                                                        KNIGHTSTOWN       IN   46148‐9579
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RAWLINS, MICHELLE L        5919 HARSHMANVILLE RD                                                                       HUBER HEIGHTS       OH 45424‐5316
RAWLINS, MICHELLE LYNN     5919 HARSHMANVILLE RD                                                                       HUBER HEIGHTS       OH 45424‐5316
RAWLINS, MYRTIE W          745 SCENIC HWY                                                                              LAWRENCEVILLE       GA 30045‐6364
RAWLINS, NANCY M           2501 CRUMPS LANDING CIRCLE                                                                  SNELLVILLE          GA 30039
RAWLINS, PHILIP D          333 SYCAMORE ST                                                                             BROOKVILLE          OH 45309‐1730
RAWLINS, PHILIP DALE       333 SYCAMORE ST                                                                             BROOKVILLE          OH 45309‐1730
RAWLINS, RANDALL C         1474 BRANCH RD 70                                                                           ORLEANS             MI 48865
RAWLINS, REGINA E          6800 JACKSON AVE                                                                            WARREN              MI 48091‐4810
RAWLINS, RHODA M           88 OLD OAKEN BUCKET ROAD                                                                    SCITUATE            MA 02066‐4433
RAWLINS, RODNEY C          2305 S CUSTER RD APT 2807                                                                   MCKINNEY            TX 75070‐5225
RAWLINS, RUTH G            2980 FANNIE THOMPSON RD                                                                     MONROE              GA 30656‐3446
RAWLINS, TAMARA A          4000 STATE ROUTE 503 SOUTH                                                                  W ALEXANDRIA        OH 45381‐9355
RAWLINS, THOMAS L          2706 GARFIELD AVE                                                                           BAY CITY            MI 48708‐8607
RAWLINS, WILLIAM HOBERT    BARON & BUDD                   3102 OAK LANE AVE, SUITE 1100                                DALLAS              TX 75219
RAWLINSON, MARK            THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD          SUITE 44                    CORAL GABLES        FL 33146
RAWLINSON, MARK E          782 MUIRFIELD CIR                                                                           BOWLING GREEN       KY 42104‐5548
RAWLINSON, MARK EDWARD     782 MUIRFIELD CIR                                                                           BOWLING GREEN       KY 42104‐5548
RAWLINSON, PATRICIA A      3117 JANE LN                                                                                HALTOM CITY         TX 76117‐4025
RAWLINSON, PATRICIA ANNE   3117 JANE LN                                                                                HALTOM CITY         TX 76117‐4025
RAWLINSON, RUSSELL J       38 MILK ST                                                                                  MILLVILLE           MA 01529‐1633
RAWLINSON, SIMONE A        38 MILK ST #45                                                                              MILLVILLE           MA 01529
RAWLOO KHALAP
RAWLS JAMES RANDEL         C/O EDWARD O MOODY P A         801 WEST 4TH STREET                                          LITTLE ROCK        AR   72201
RAWLS JR, HERBERT R        PO BOX 1333                                                                                 ANDALUSIA          AL   36420‐1223
RAWLS JR, HERBERT R        5443 ROCKBRIDGE RD                                                                          STONE MTN          GA   30088‐1420
RAWLS JR, JOSEPH W         1121 CABOT DR                                                                               FLINT              MI   48532‐2672
RAWLS SHERRY               9111 HIGHWAY 171                                                                            WILLIAMSTON        NC   27892
RAWLS, ALBERTA E           9921 WESTWOOD ST                                                                            DETROIT            MI   48228‐1328
RAWLS, ALICE J             6381 WAILEA DR                                                                              GRAND BLANC        MI   48439‐8594
RAWLS, ALICE J             6381 WALIEA DR                                                                              GRAND BLANC        MI   48493
RAWLS, ALLEN               18853 BRETTON DR                                                                            DETROIT            MI   48223‐1336
RAWLS, AMANDA J            24241 SUSAN DR                                                                              FARMINGTON HILLS   MI   48336‐2812
RAWLS, ARTHUR R            12160 ELLERBE RD                                                                            SHREVEPORT         LA   71115‐9570
RAWLS, ARTHUR ROLLIN       12160 ELLERBE RD                                                                            SHREVEPORT         LA   71115‐9570
RAWLS, BERTHA M            6094 ELDON RD                                                                               MOUNT MORRIS       MI   48458
RAWLS, BETTY J             180 MOHAWK RD                                                                               PONTIAC            MI   48341‐1128
RAWLS, BUSTER              446 E 124TH ST                                                                              CLEVELAND          OH   44108
RAWLS, CLARENCE            500 LIDA ST                                                                                 MANSFIELD          OH   44903‐1227
RAWLS, CURTIS L            157 COLORADO ST                                                                             HIGHLAND PARK      MI   48203‐3303
RAWLS, DEKIEA L            1917 CHERRYLAWN DR                                                                          FLINT              MI   48504‐5421
RAWLS, DEKIEA LASHAWN      1917 CHERRYLAWN DR                                                                          FLINT              MI   48504‐5421
RAWLS, DELLA               4318 NORTH ST                                                                               FLINT              MI   48505‐5340
RAWLS, ELIZABETH           19996 SNOWDEN ST                                                                            DETROIT            MI   48235‐1168
RAWLS, ERLINDA             325 E GRACELAWN                                                                             FLINT              MI   48505‐5249
RAWLS, EVELYN L            309 E ENTERPRISE ST                                                                         BROOKHAVEN         MS   39601‐2917
RAWLS, GLENN O             55 HIRAM ST                                                                                 LAKE ORION         MI   48360‐2208
RAWLS, GLORIA D            226 OAKLAND TER                                                                             HILLSIDE           NJ   07205‐1505
RAWLS, GLORIA J            9941 E OUTER DR                                                                             DETROIT            MI   48224‐2459
RAWLS, JAMES C             845 E 7TH ST                                                                                FLINT              MI   48503‐2740
RAWLS, JAMES RANDEL        MOODY EDWARD O                 801 W 4TH ST                                                 LITTLE ROCK        AR   72201‐2107
RAWLS, JAMES W             C/O GLASSER AND GLASSER        580 EAST MAIN STREET SUITE 600                               NORFOLK            VA   23510
RAWLS, JAY                 224 LINDEN ST                                                                               MONCKS CORNER      SC   29461‐8409
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Name                   Address1                       Address2                      Address3         Address4         City               State Zip
RAWLS, JOHN D          3713 BROWNELL BLVD                                                                             FLINT               MI 48504‐2122
RAWLS, JOHN E          1485 S IRISH RD                                                                                DAVISON             MI 48423‐8313
RAWLS, JOHNNIE L       3713 BROWNELL BLVD                                                                             FLINT               MI 48504‐2122
RAWLS, JOSEPH W        1121 CABOT DR                                                                                  FLINT               MI 48532‐2672
RAWLS, KATHLEEN        1851 LAUREL OAK DR                                                                             FLINT               MI 48507‐2253
RAWLS, KEVIN R         206 W HAMILTON AVE                                                                             FLINT               MI 48503‐1048
RAWLS, LOU J           1485 S IRISH RD                                                                                DAVISON             MI 48423‐8313
RAWLS, LOVELIA K       1603 SPRING VILLAGE LN                                                                         MANSFIELD           OH 44906‐3237
RAWLS, MATTHEW D       434 GOLDSBERRY CIR                                                                             SHREVEPORT          LA 71106‐8346
RAWLS, MATTHEW W       511 COUNTRY LN                                                                                 EWING               NJ 08628‐3309
RAWLS, MITCHELL G      112 E WESTRIDGE DR APT C                                                                       WEST MONROE         LA 71291
RAWLS, MYRA            2622 CLEMENT ST                                                                                FLINT               MI 48504‐7312
RAWLS, NICK D          226 OAKLAND TER                                                                                HILLSIDE            NJ 07205‐1505
RAWLS, OTIS            12545 MCCOY CLR.                                                                               DETROIT             MI 48213
RAWLS, ROBERT A        1084 CORA DR                                                                                   FLINT               MI 48532‐2719
RAWLS, SANDRA          1301 W MCCLELLAN ST                                                                            FLINT               MI 48504‐2637
RAWLS, TANSY M         103 PIMA ST                                                                                    CLINTON             MS 39056‐3031
RAWLS, THOMAS          1823 VALLEY LN                                                                                 FLINT               MI 48503‐4578
RAWLS, VINCENT L       24241 SUSAN DR                                                                                 FARMINGTON HILLS    MI 48336‐2812
RAWLS, WALTER C        136 FLETCHER PL                                                                                BRANDON             MS 39042‐7798
RAWLS, WILLIAM B       1739 BROOKVIEW RD                                                                              DUNDALK             MD 21222
RAWLS, WILLIE O        355 E MOORE ST                                                                                 FLINT               MI 48505‐5373
RAWLUSZKI, MATHEW J    875 S DELANO RD                                                                                AU GRES             MI 48703‐9400
RAWNSLEY, WANDA E      531 HANLEY ST                                                                                  PLAINFIELD          IN 46168‐1637
RAWNSLEY, WANDA E      531 HANLEY ST.                                                                                 PLAINFIELD          IN 46168‐1637
RAWRYSZ INCORPORATED   BIG STASHS                     1020 S WOOD AVE                                                 LINDEN              NJ 07036‐4562
RAWSKI KAREN           RAWSKI, KAREN JOYCE            3000 TOWN CENTER SUITE 1250                                     SOUTHFIELD          MI 48075
RAWSKI, JEROME J       7740 MOODY AVE                                                                                 BURBANK              IL 60459‐1233
RAWSKI, KAREN JOYCE    1335 RIDGEVIEW CIR                                                                             LAKE ORION          MI 48362‐3458
RAWSKI, KAREN JOYCE    WITTENBERG ALAN                3000 TOWN CTR STE 1250                                          SOUTHFIELD          MI 48075
RAWSKI, KAREN JOYCE    WITTENBERG ALAN                3000 TOWN CENTER SUITE 1250                                     SOUTHFIELD          MI 48075
RAWSKI, THOMAS P       18430 S NUNNELEY RD                                                                            CLINTON TOWNSHIP    MI 48035‐1336
RAWSKI, WILLIAM J      10763 TREAT HWY                                                                                JASPER              MI 49248‐9707
RAWSON LINDA           2217 SCARLET ROSE DR                                                                           LAS VEGAS           NV 89134‐5905
RAWSON TRAVIS          11471 W RIVER DR                                                                               DEWITT              MI 48820
RAWSON, ARLYNE B       18215 JAMESTOWN CIR                                                                            NORTHVILLE          MI 48168‐1826
RAWSON, FREDERICK H    PO BOX 10                                                                                      PULLMAN             MI 49450‐0010
RAWSON, GARY L         1566 HERKENDER AVE                                                                             AKRON               OH 44310‐2714
RAWSON, JEFFREY P      8891 SUGARLAND DR APT 21203                                                                    SHREVEPORT          LA 71115‐2851
RAWSON, JEFFREY P      406 BELLE ROUGE RUE                                                                            BOSSIER CITY        LA 71115‐5181
RAWSON, JIMMY          GUY WILLIAM S                  PO BOX 509                                                      MCCOMB              MS 39649‐0509
RAWSON, JOHN F         3460 N GALE RD                                                                                 DAVISON             MI 48423‐8520
RAWSON, SUE A.         237 54TH ST.                                                                                   GRAND JCT           MI 49056
RAWSON, TERRY R        364 CASLER RD                                                                                  CHARLOTTE           MI 48813‐9360
RAWSON, THOMAS         39090 CUDY CIR                                                                                 PALM DESERT         CA 92260‐1402
RAWZIN ERICA & ALAN    4535 NAUTILUS CT                                                                               MIAMI BEACH         FL 33140‐2817
RAXCO/ROCKVILLE        2440 RESEARCH BLVD.            SUITE 200                                                       ROCKVILLE           MD 20850
RAXTER, DORIS C        36 TATHAM ST                                                                                   ANDREWS             NC 28901
RAXTER, NEWELL E       7607 NE 275TH ST                                                                               BATTLE GROUND       WA 98604‐6308
RAY
RAY SANDERS            4769 LALLY DR                                                                                  HOUSE SPRINGS      MO 63051‐2531
RAY & NAOMI PAULSEN    REVOCABLE TRUST UADO           E NAOMI PAULSEN TTEE          1257 LAVINE DR                    POCATELLO          ID 83201‐2909
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Name                              Address1                           Address2                       Address3                Address4         City               State Zip
RAY & RON'S AUTO                  1793 E OHIO PIKE                                                                                           AMELIA              OH 45102‐2007
RAY ‐ LUTHER, DELORES N           2133 MEMORY GARDEN RD                                                                                      JAMESTOWN           TN 38556
RAY A ANDREWS                     4249 BUSHNELL‐CAMPBELL NW                                                                                  FOWLER              OH 44418‐9711
RAY A COOK                        BOX 44                                                                                                     SOUTHINGTON         OH 44470
RAY A CUNNINGHAM                  167 MCCALL CIR                                                                                             FRANKLIN            NC 28734‐9341
RAY A DAVIS                       PO BOX 190                                                                                                 JEFFERSON           OR 97352
RAY A DAVIS                       400 SHELLY ST CSV, PO BOX 190‐04                                                                           JEFFERSON           OR 97352‐0190
RAY A GALLEGOS                    8051 CAROB DR                                                                                              MOHAVE VALLEY       AZ 86440
RAY A JOHNSON                     18952 GREENLAWN ST                                                                                         DETROIT             MI 48221‐2113
RAY A JOHNSON                     311 BRENTWOOD ST                                                                                           TILTON               IL 61833‐7520
RAY A LAFOLLETTE                  1203 US 35 EAST                                                                                            XENIA               OH 45385‐7839
RAY A NAUGLE                      2201 HARMONY HILL DR                                                                                       LANCASTER           PA 17601
RAY A PARKER                      1531 COMMONS DR 4                                                                                          MIAMISBURG          OH 45342
RAY A PECK                        1708 PATTERSON RD                                                                                          DAYTON              OH 45420
RAY A RICHARDS                    15650 GEORGE WASHINGTON DR                                                                                 SOUTHFIELD          MI 48075‐6911
RAY A ROBINSON & DORIS ROBINSON   RAY A ROBINSON TTEE DORIS SHERRY   ROBINSON FAMILY REV TRUST      8700 RILEY DR APT 322                    LITTLE ROCK         AR 72205‐6517
                                  ROBINSON TTEE
RAY A ROYSTER                     1412 W ARGYLE ST APT 1                                                                                     CHICAGO            IL    60640‐3591
RAY ABEYTA                        2238 CRUZ CT                                                                                               PUEBLO             CO    81003‐5119
RAY ADAMS                         417 WILDLIFE DR                                                                                            SOMERSET           KY    42503‐6254
RAY ADAMS                         3151 OLD SCARBORO RD                                                                                       STREET             MD    21154‐1935
RAY ALCANTAR                      405 BERLIN WAY                                                                                             PATTERSON          CA    95363‐9577
RAY ALLAN CHRISTIANSEN            C/O NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT       205 LINDA DRIVE                          DAINGERFIELD       TX    75638
RAY ALLEN                         384 BUTTERCUP DR                                                                                           ROCHESTER HILLS    MI    48307‐5209
RAY ALLEN                         3814 HAZEL AVE                                                                                             NORWOOD            OH    45212‐3826
RAY ALLEN                         1210 BURKHARDT AVE                                                                                         AKRON              OH    44301‐1938
RAY ALLEN                         217 PORTER DR                                                                                              ENGLEWOOD          OH    45322‐2449
RAY ALLEN                         5706 WOODSON RD                                                                                            RAYTOWN            MO    64133‐3459
RAY ALLEN                         300 EDWARDS DR                                                                                             GLEN CARBON         IL   62034‐3221
RAY ALLREAD                       124 HIAWATHA DR                                                                                            GREENVILLE         OH    45331‐2818
RAY AMBER                         RAY, AMBER                         19331 55TH AVENUE NORTH EAST                                            LAKE FOREST PARK   WA    98155
RAY AMYOTTE                       1310 S JACKSON ST                                                                                          BAY CITY           MI    48708‐8066
RAY AND ROY'S REPAIR              13524 E SPRAGUE AVE STE 6                                                                                  SPOKANE VALLEY     WA    99216‐0888
RAY ANDERSON                      1449 KNUTH AVE APT 801                                                                                     EUCLID             OH    44132‐3126
RAY ANDREWS                       4249 BUSHNELL CAMPBELL RD                                                                                  FOWLER             OH    44418‐9711
RAY AQUILA
RAY ARMSTRONG                     2155 6TH ST                                                                                                BAY CITY           MI 48708‐6802
RAY ARREDONDO                     7038 LAFAYETTE BLVD                                                                                        DETROIT            MI 48209‐2270
RAY ARTHUR                        2600 HARDEN BLVD LOT 270                                                                                   LAKELAND           FL 33803‐7936
RAY ARTHUR B ‐ LEVY               NO ADVERSE PARTY
RAY ARTHUR HATFIELD               C/O THE LAW OFFICES OF PETER G     100 N CHARLES ST               22ND FL                                  BALTIMORE          MD 21201
                                  ANGELOS
RAY B POWERS                      2048 COUNTY RD # 47                                                                                        WATERLOO           OH    45688
RAY BACH, SAHARA JANE             HARRIS LESLEY LAW OFFICE OF        55 RIVER ST STE 100                                                     SANTA CRUZ         CA    95060‐4567
RAY BAILEY                        1029 DIAMOND MILL RD                                                                                       BROOKVILLE         OH    45309‐9395
RAY BAILEY                        PO BOX 42                                                                                                  KETTLE ISLAND      KY    40958‐0042
RAY BAKER                         8889 BROOKLINE AVE                                                                                         PLYMOUTH           MI    48170‐4009
RAY BALDNER                       1642 TOWNSHIP ROAD 1323                                                                                    ASHLAND            OH    44805‐9266
RAY BARNES                        67 JOSIAH PVT. DRIVE                                                                                       TOCCOA             GA    30577
RAY BARNES                        800 BUFFALO RD                                                                                             QUEBECK            TN    38579‐2210
RAY BARNES                        9473 BIRCH RUN                                                                                             BRIGHTON           MI    48114‐8950
RAY BARNETT                       1506 POTTERSHOP RD                                                                                         NANCY              KY    42544‐4452
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Name                                    Address1                         Address2                         Address3       Address4         City            State Zip
RAY BARNHILL                            5978 HICKORY HILLS DR                                                                             HILLSBORO        OH 45133‐9087
RAY BARR                                2813 MORAVEC DR                                                                                   HIGH RIDGE       MO 63049‐1546
RAY BARTON
RAY BATCHELOR                           321 E 98TH ST                                                                                     INGLEWOOD       CA   90301‐4205
RAY BEACH                               4355 S LEMON RD                                                                                   DURAND          MI   48429‐9128
RAY BEASLEY                             256 COUNTY ROAD 3163                                                                              QUITMAN         TX   75783‐5732
RAY BEAUBIEN                            3712 ACADIA DRIVE                                                                                 LAKE ORION      MI   48360‐2718
RAY BELL                                4037 BELLVILLE RD N                                                                               BELLVILLE       OH   44813
RAY BENDER                              1204 135TH AVE                                                                                    WAYLAND         MI   49348‐9568
RAY BENDER                              637 139TH AVE                                                                                     WAYLAND         MI   49348‐9740
RAY BENNETT                             2609 E PEARL ST                                                                                   INDIANAPOLIS    IN   46201‐4113
RAY BENNETT                             6035 S TRANSIT RD LOT 74                                                                          LOCKPORT        NY   14094‐6322
RAY BENNETT                             143 ROSS RD                                                                                       WINDER          GA   30680‐3324
RAY BERGERON                            41919 ARTHUR ST                                                                                   BELLEVILLE      MI   48111‐3459
RAY BIAZZA                              49812 LABAERE DR                                                                                  MACOMB          MI   48044‐1255
RAY BICKHAM                             2317 BANCROFT ST                                                                                  SAGINAW         MI   48601‐1514
RAY BIGGERS                             18425 BURBANK BLVD.              SUITE 610                                                        TARZANA         CA   91356
RAY BILBREY                             1101 E 25TH ST                                                                                    MUNCIE          IN   47302‐5352
RAY BILLY JOE (456458)                  SKAGGS JOHN H                    405 CAPITOL STREET ‐ SUITE 607                                   CHARLESTON      WV   25301
RAY BIRD                                2417 E MEMORIAL DR                                                                                MUNCIE          IN   47302‐4677
RAY BLACK                               600 W WALTON BLVD APT 213                                                                         PONTIAC         MI   48340‐1097
RAY BLAIR                               5325 BRITTON RD                                                                                   BANCROFT        MI   48414‐9787
RAY BLAKE                               1909 WESTWOOD DR                                                                                  TWINSBURG       OH   44087‐1246
RAY BLAKE I I I                         115 GRAND MANOR DR                                                                                GRAND LEDGE     MI   48837‐1247
RAY BLANKENSHIP                         11222 HORTON RD                                                                                   HOLLY           MI   48442‐9422
RAY BLEVINS                             89 SUNSET DR                                                                                      BEREA           OH   44017‐1425
RAY BOLDEN                              112 VICTORY DR                                                                                    DAYTON          OH   45427
RAY BOULWARE                            13985 MEADOWLARK LN                                                                               NEWBURY         OH   44065‐9630
RAY BOWLING                             98 HYPATHIA AVE                                                                                   DAYTON          OH   45404‐2306
RAY BOWMAN
RAY BOXLEY                              1860 ROXBURY RD                                                                                   E CLEVELAND     OH 44112‐4748
RAY BOYER                               4829 STURBRIDGE LN # B                                                                            LOCKPORT        NY 14094‐3459
RAY BRANDT MOTORS OF MISSISSIPPI, LLC   1122 PASS RD                                                                                      GULFPORT        MS 39501‐6230

RAY BRANTLEY                            5939 S TERRY JOE AVE                                                                              OKLAHOMA CITY   OK   73129‐9261
RAY BRASHAW                             1800 2ND ST                                                                                       BAY CITY        MI   48708‐6206
RAY BRAYTON                             3008 N VERMONT AVE                                                                                OKLAHOMA CITY   OK   73107‐1222
RAY BRITTAIN                            PO BOX 773                                                                                        MAYVILLE        MI   48744‐0773
RAY BRITTON                             124 AVONLEA PL                                                                                    JOHNSON CITY    TN   37604‐1708
RAY BROOKS                              239 ASH ST                                                                                        BRUCETON        TN   38317‐2011
RAY BROOKS                              PO BOX 641                                                                                        TAZEWELL        TN   37879‐0641
RAY BROOKS                              3612 ASHBY RD                                                                                     SAINT ANN       MO   63074‐2719
RAY BROWN                               5001 CANNON BLVD                                                                                  LAS VEGAS       NV   89108‐1359
RAY BROWNING                            NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT         205 LINDA DR                    DAINGERFIELD    TX   75638
RAY BRUFF                               9604 E ARNOLD LAKE RD                                                                             HARRISON        MI   48625‐9672
RAY BRYANT JR                           PO BOX 52                                                                                         MONTROSE        MO   64770‐0052
RAY BRYSON                              PO BOX 4554                                                                                       FLINT           MI   48504‐0554
RAY BUCEY                               400 STATE ROUTE 173                                                                               STEWARTSVILLE   NJ   08886‐2535
RAY BUICK INC
RAY BUICK, INC.                         5011 W 63RD ST                                                                                    CHICAGO         IL 60638‐5718
RAY BUICK, INC.                         RAY GIESELMANN                   5011 W 63RD ST                                                   CHICAGO         IL 60638‐5718
RAY BUNZOW                              10834 MOHAWK TRL                                                                                  ROSCOMMON       MI 48653‐9122
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Name                         Address1                          Address2                      Address3   Address4         City             State Zip
RAY BURCH                    206 N STATE ST                                                                              RIDGE FARM         IL 61870‐9453
RAY BURCHFIELD               4459 NORMANDY RD                                                                            FORT WORTH        TX 76103‐1947
RAY BURCHFIELD               4407 OLD GRANBURY RD                                                                        GRANBURY          TX 76049‐7456
RAY BURGOON                  6261 PENNA ST                                                                               SPRING HILL       FL 34609‐8936
RAY BURK                     9509 EMERSON RD                                                                             VAN WERT          OH 45891‐9168
RAY BURROWS
RAY BUTCHER                  1504 EDGEWOOD ST NE                                                                         WARREN           OH   44483‐4124
RAY BUTLER                   7100 BLUEWATER DR                                                                           CLARKSTON        MI   48348‐4273
RAY BYRD                     4523 ELMER AVE                                                                              DAYTON           OH   45417
RAY C BOXLEY                 1860 ROXBURY RD                                                                             CLEVELAND        OH   44112‐4748
RAY C BROWN                  2916 SLOAN ST APT 1                                                                         FLINT            MI   48504
RAY C BUCEY                  400 RT 173                                                                                  STEWARTSVILLE    NJ   08886
RAY C CARSON                 796 MILLER ST SW                                                                            WARREN           OH   44485‐4150
RAY C KREITZER               66 E MAIN ST PO BOX 223                                                                     PHILLIPSBURG     OH   45354‐0223
RAY C MANNINEN               14890 BELLAIRE RD                                                                           BARAGA           MI   49908‐9106
RAY CABLE                    4949 WAHLSBURG EAST RD                                                                      GEORGETOWN       OH   45121‐9484
RAY CAMPBELL                 2608 PATRICK HENRY CT                                                                       AUBURN HILLS     MI   48326‐2323
RAY CAMPBELL                 3900 HAMMERBERG RD                APT 343                                                   FLINT            MI   48507‐6027
RAY CARTER                   1559 N LAKE PLEASANT RD                                                                     ATTICA           MI   48412‐9305
RAY CARTER                   2837 MACKIN RD                                                                              FLINT            MI   48504‐7541
RAY CARTER                   1009 GALLAGHER ST                                                                           SAGINAW          MI   48601‐3320
RAY CASTILLO                 3005 RUCKLE ST                                                                              SAGINAW          MI   48601‐3140
RAY CHAMBERLAIN JR           4075 HOLT RD LOT 94                                                                         HOLT             MI   48842‐1833
RAY CHAMBERLAND
RAY CHARLES                  8612 HIGHWAY 271 S                                                                          FORT SMITH       AR 72908‐8823
RAY CHASTAIN                 4286 SE HAZEL VIEW RD                                                                       KINGSTON         MO 64650‐9109
RAY CHESTER (459275)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                               STREET, SUITE 600
RAY CHEVROLET                716 W SUMMERS DR                                                                            ABBEVILLE        LA   70510‐2722
RAY CHEVROLET, INC.          CARY RAY                          1400 W LOCUST ST                                          CABOT            AR   72023‐2457
RAY CHEVROLET, INC.          RAYMOND SCARPELLI                 39 N US HIGHWAY 12                                        FOX LAKE         IL   60020‐1222
RAY CHEVROLET, INC.          39 N US HIGHWAY 12                                                                          FOX LAKE         IL   60020‐1222
RAY CHEVROLET, INC.          1400 W LOCUST ST                                                                            CABOT            AR   72023‐2457
RAY CHEVROLET‐OLDS, INC.     STEPHEN DOMINGUES                 716 W SUMMERS DR                                          ABBEVILLE        LA   70510‐2722
RAY CHEVROLET‐OLDS, INC.     716 W SUMMERS DR                                                                            ABBEVILLE        LA   70510‐2722
RAY CHILDRESS REALTY LP      ATTN LARRY MARBLE                 PO BOX 983                                                HEMPSTEAD        TX   77445‐0983
RAY CHILDRESS REALTY LP      ATTN LAWRENCE G MARBLE            900 BUSINESS HIGHWAY 290 N                                HEMPSTEAD        TX   77445‐6984
RAY CHILDRESS REALTY, L.P.   ATTN: LARRY MARBLE                PO BOX 983                                                HEMPSTEAD        TX   77445‐0983
RAY CHILDRESS REALTY, L.P.   LARRY MARBLE                      PO BOX 983                                                HEMPSTEAD        TX   77445‐0983
RAY CHRISTENSEN              1643 N KNIGHT RD                                                                            ESSEXVILLE       MI   48732‐9697
RAY CHURCH                   1414 PADGETT RD                                                                             SHELBY           NC   28150‐7917
RAY CICCARIELLO              47 NORTHAMPTON ST                                                                           ROCHESTER        NY   14606‐2711
RAY CLADY                    K889 COUNTY ROAD 15                                                                         NAPOLEON         OH   43545‐7307
RAY CLARK                    1008 S WHITNEY RD                                                                           MUNCIE           IN   47302‐9249
RAY CLARK                    629 MURRAY HILL DR                                                                          YOUNGSTOWN       OH   44505‐1549
RAY CLARK                    4624 WINTERFIELD RUN                                                                        FORT WAYNE       IN   46804‐4863
RAY CLARKE JR                5736 MESA VERDE CIR                                                                         ROCKLIN          CA   95677‐2628
RAY CLAY                     3014 N 10TH ST                                                                              KANSAS CITY      KS   66104‐5352
RAY CLEMONS                  11718 CHURCHILL RD                                                                          RIVES JUNCTION   MI   49277‐9797
RAY COFER                    3650 HIGHWAY 142                                                                            NEWBORN          GA   30056‐2048
RAY COMBS                    P O 63                                                                                      MILLERSBURG      MI   49759
RAY COMBS                    716 FALLVIEW AVE.                                                                           ENGLEWOOD        OH   45322
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Name                           Address1                              Address2                     Address3          Address4         City             State Zip
RAY COMPTON                    BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS    OH 44236
RAY CONDON                     RD5 1151 KEEFER RD.                                                                                   MANSFIELD         OH 44903
RAY CONKLIN                    16 WALTER MORSE RD                                                                                    BELLINGHAM        MA 02019‐1012
RAY CONTRERAZ                  202 E BALDWIN AVE                                                                                     PAULDING          OH 45879‐1103
RAY COOK                       PO BOX 2651                                                                                           HOT SPRINGS       AR 71914‐2651
RAY COOK                       416 ATWOOD ST NW                                                                                      WARREN            OH 44483‐2119
RAY COOK                       PO BOX 44                                                                                             SOUTHINGTON       OH 44470‐0044
RAY COOK                       5192 HIDDEN HARBOR DR                                                                                 GAINESVILLE       GA 30504‐8172
RAY COOK                       THE LAW OFFICES OF PETER G ANGELOS    100 NORTH CHARLES STREET     22ND FLOOR                         BALTIMORE         MD 21201

RAY CORBETT
RAY COTTRILL                   BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.      OH   44236
RAY COUNTS                     2246 LOGSDON ST                                                                                       NORTH PORT       FL   34287‐4104
RAY COX                        355 WEST CIR                                                                                          DAHLONEGA        GA   30533‐0725
RAY CRAIG                      47 CRESTWOOD DR                                                                                       MOORESVILLE      IN   46158‐1257
RAY CRAWFORD                   11803 E 975 N                                                                                         ODON             IN   47562‐5383
RAY CRESS                      7927 S RANGELINE RD                                                                                   ENGLEWOOD        OH   45322‐9600
RAY CROEL                      2506 LYONS RD                                                                                         LYONS            MI   48851‐9708
RAY CUNNINGHAM                 531 S BROADWAY                                                                                        ENGLEWOOD        FL   34223‐3881
RAY CUNNINGHAM                 167 MCCALL CIR                                                                                        FRANKLIN         NC   28734‐9341
RAY CURTIS                     407 MONTE VISTA DR                                                                                    FORT WAYNE       IN   46814‐9046
RAY D DENNIS                   316 EAST ROGER DRIVE                                                                                  TRENTON          OH   45067‐9482
RAY D HAMLIN                   120 N GEBHART‐CHURCH RD                                                                               MIAMISBURG       OH   45342‐2734
RAY D KERSHNER                 5949 HOMEDALE ST                                                                                      W CARROLLTON     OH   45449
RAY D STOUT                    60 ALUM AVE                                                                                           WESTON           WV   26452‐1969
RAY DAIGLE                     SAME                                  PO BOX 56                                                       PAINCOURTVILLE   LA   70391‐0056
RAY DARLING                    2719 S VINE ST                                                                                        MUNCIE           IN   47302‐5232
RAY DARNELL                    9724 SANDRIDGE DR                                                                                     BETHANY          LA   71007‐8734
RAY DAVIDSON                   1117 S WHEELING ST APT B11                                                                            OREGON           OH   43616‐3256
RAY DAVIS                      8614 MARKLEIN AVE                                                                                     SEPULVEDA        CA   91343‐5823
RAY DAVIS                      400 SHELLY ST CSV, PO BOX 190‐04042                                                                   JEFFERSON        OR   97352
RAY DAWSON                     2221 CAROL WAY                                                                                        LANSING          MI   48911‐1630
RAY DEAN                       45 MAPLE IN THE WOOD                                                                                  PORT ORANGE      FL   32129‐2339
RAY DEATON                     1096 DAVIS CHAPEL RD                                                                                  ALPHA            KY   42603‐5013
RAY DEES                       2480 JACK SPRINGS RD                                                                                  ATMORE           AL   36502‐4554
RAY DEIS                       1935 OWEN CT                                                                                          XENIA            OH   45385‐4925
RAY DENNISON CHEVROLET, INC.   BRIAN DENNISON                        2320 N 8TH ST                                                   PEKIN            IL   61554‐1545
RAY DENNISON CHEVROLET, INC.   2320 N 8TH ST                                                                                         PEKIN            IL   61554‐1545
RAY DILLEY                     100 THORPE DR                                                                                         JACKSON          MI   49203‐5688
RAY DITTEBRAND                 11497 CO MOOR BLVD                                                                                    STRONGSVILLE     OH   44149‐3163
RAY DITTELBERGER               1300 DEXTER DR W                                                                                      PORT ORANGE      FL   32129‐7401
RAY DONALD                     RAY, DONALD                           158 BARRE DRIVE NW                                              PORT CHARLOTTE   FL   33952
RAY DOTSON                     9840 WASHINGTON WATERLOO RD NE                                                                        WSHNGTN CT HS    OH   43160‐9327
RAY DOTSON JR                  4976 THICK RD                                                                                         CHAPEL HILL      TN   37034‐2664
RAY DOWDEN                     2737 APACHE DR                                                                                        ANDERSON         IN   46012‐1401
RAY DUNN                       31 SUNDAGO PARK ST                    #C                                                              HASTINGS         MI   49058
RAY DUNN                       172 SOUTH ST                                                                                          LOCKPORT         NY   14094‐4638
RAY DUNNAM                     HC 6 BOX 307                                                                                          DONIPHAN         MO   63935‐9014
RAY DWIGHT HERRON              NIX, PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD     TX   75638
RAY DWINE P JR                 C/O GOLDBERG PERSKY & WHITE PC        1030 FIFTH AVENUE                                               PITTSBURGH       PA   15219
RAY E BROWN                    34034 LUANNE DR                                                                                       N RIDGEVILLE     OH   44039‐2146
RAY E CRESS                    7927 RANGELINE RD                                                                                     ENGLEWOOD        OH   45322‐9600
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Name                         Address1                          Address2                      Address3       Address4         City            State Zip
RAY E FRY                    3848 ADDISON AVE                                                                                DAYTON           OH 45405‐5129
RAY E HARDY                  6020 LAKE DR                                                                                    YPSILANTI        MI 48197‐7012
RAY E LOCKE                  185 W. ST.RT. 571                                                                               TIPP CITY        OH 45371‐9698
RAY E MURPHY                 7583 RT. 127, S.                                                                                CAMDEN           OH 45311‐9501
RAY E POWELL                 4806 PIER NINE DR                                                                               ARLINGTON        TX 76016‐5370
RAY E PRY                    215 SHAW AVE                                                                                    LEWISTOWN        PA 17044
RAY E ROBERTSON              2240 ARCADIA RD                                                                                 BIRMINGHAM       AL 35214‐1606
RAY E ROBINSON               4541 SAINT JAMES AVE                                                                            DAYTON           OH 45406‐2322
RAY E SPEICHER               3490 DRAPER S.E.                                                                                WARREN           OH 44484‐3327
RAY E TINDALL                221 HEMLOCK                                                                                     FRANKLIN         OH 45005‐1583
RAY EAGLE                    34241 ROSSLYN ST                                                                                WESTLAND         MI 48185‐3661
RAY EARLY                    13600 MORGAN AVE RD #4                                                                          ALLIANCE         OH 44601
RAY EASON                    9715 CHASE LAKE RD                                                                              FOWLERVILLE      MI 48836‐8731
RAY EDGELL                   722 CLEMENS AVE                                                                                 ELYRIA           OH 44035‐3224
RAY EDGELL                   5822 RILEY RD                                                                                   OOLTEWAH         TN 37363‐6884
RAY EDGELL                   BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.      OH 44236
RAY EGGERS                   PO BOX 74543                                                                                    ROMULUS          MI 48174‐0543
RAY EGLEY                    2109 E BRADFORD PIKE                                                                            MARION           IN 46952‐8689
RAY ELLER                    1017 DALE AVE                                                                                   FRANKLIN         OH 45005‐1714
RAY ELLIS                    526 HEART RD                                                                                    NEWPORT          TN 37821‐4812
RAY ESPINOZA                 233 MARY LOU LANE                                                                               FERNLEY          NV 89408
RAY EVANS                    3106 BROOKSTONE DR                                                                              DANVILLE          IL 61832‐7951
RAY F HEREFORD               C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                     HOUSTON          TX 77007
                             BOUNDAS LLP
RAY F SOHN & THELMA E SOHN   TRUST UAD 4/23/83                 RAY F SOHN TTEE               1985 GRATIOT                    MARYSVILLE      MI   48040‐2215
RAY FARLEY                   716 NAFUS ST                                                                                    OWOSSO          MI   48867‐3379
RAY FARLEY                   2062 JOSEPHINE BLVD                                                                             BRUNSWICK       OH   44212‐4032
RAY FARMER                   G 4461 E COURT ST                                                                               BURTON          MI   48509
RAY FAUVER SR                3673 WARDENSVILLE GRADE                                                                         WINCHESTER      VA   22602‐3267
RAY FELLHAUER                973 NW COUNTY ROAD B                                                                            URICH           MO   64788‐8107
RAY FENSTERMAKER             7101 DRAKE ST LN RD NE                                                                          BURGHILL        OH   44404
RAY FETH                     2040 W BOONVILLE NEW HARMONY RD                                                                 EVANSVILLE      IN   47725‐9577

RAY FICK JR                  1557 CENTER ST                                                                                  METAMORA        MI   48455‐9307
RAY FIELDER                  2358 S GENESEE RD                                                                               BURTON          MI   48519‐1234
RAY FIELDS                   7043 JORDAN ROAD                                                                                LEWISBURG       OH   45338‐9752
RAY FIELDS                   7043 JORDON RD                    P O BOX 236                                                   LEWISBURG       OH   45338‐9752
RAY FOSTER                   308 W LAKE BLVD                                                                                 DANVILLE        IL   61832‐1020
RAY FOX                      3217 SPRING HOLLOW AVE APT A                                                                    BOWLING GREEN   KY   42104‐4802
RAY FRANCIS E (439428)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510
                                                               STREET, SUITE 600
RAY FRITTS                   1630 FREELAND RD                                                                                FREELAND        MD   21053‐9577
RAY FRY                      3848 ADDISON AVE                                                                                DAYTON          OH   45405‐5129
RAY FURLONG                  1650 SE PORTOLA DRIVE                                                                           GRANTS PASS     OR   97526
RAY FUSON                    173 FRONT ST                                                                                    WEST MILTON     OH   45383
RAY FUSON                    105 W WASHINGTON ST APT 11                                                                      CLARKSTON       MI   48346‐1565
RAY FYE                      10854 ALLEGHANY RD                                                                              DARIEN CENTER   NY   14040‐9502
RAY G ALLEN                  5362 MIDDLEBURY ROAD                                                                            DAYTON          OH   45432‐3601
RAY G GATICA                 3047 E STANLEY RD                                                                               MOUNT MORRIS    MI   48458‐8805
RAY G GILLIAM                4682 DURST CLAGG RD                                                                             CORTLAND        OH   44410
RAY G VISSER                 1221 W GENEVA DR                                                                                DEWITT          MI   48820
RAY GALLOWAY                 15643 KENNEBEC ST                                                                               SOUTHGATE       MI   48195‐3817
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Name                                  Address1                           Address2                          Address3            Address4         City             State Zip
RAY GARCIA                            7491 SWAN CREEK RD                                                                                        SAGINAW           MI 48609‐5330
RAY GARMAN JR                         G8131 OHARA DR                                                                                            DAVISON           MI 48423
RAY GATICA                            3047 E STANLEY RD                                                                                         MOUNT MORRIS      MI 48458‐8805
RAY GATTARI                           19958 W CLAIRVIEW CT                                                                                      GROSSE POINTE     MI 48236‐2306
RAY GILL                              5988 APPLEWOOD LN                                                                                         NEWFANE           NY 14108‐9521
RAY GILLARD                           3302 MALLERY ST                                                                                           FLINT             MI 48504‐2988
RAY GILLESPIE                         2923 DOUGLAS DR                                                                                           BAY CITY          MI 48706‐1221
RAY GILLIAM                           4682 DURST CLAGG RD                                                                                       CORTLAND          OH 44410‐9549
RAY GLEN (ESTATE OF) (633638) ‐ RAY   COONEY & CONWAY                    120 NORTH LASALLE STREET , 30TH                                        CHICAGO            IL 60602
GLEN                                                                     FLOOR
RAY GOLD                              200 HASTINGS RD                                                                                           ATHENS           AL   35613‐2516
RAY GOLSON                            1081 SANDSTONE PASS                                                                                       FLINT            MI   48532‐2130
RAY GOMEZ                             711 17TH ST                                                                                               BAY CITY         MI   48708‐7299
RAY GOOD                              731 FILLMORE PL                                                                                           BAY CITY         MI   48708‐5572
RAY GORDON B (400388)                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                            NORFOLK          VA   23510
                                                                         STREET, SUITE 600
RAY GOSS                              33 ELIZABETH LN                                                                                           BARBOURVILLE     KY   40906‐7468
RAY GRAY                              5231 LIN HILL DR                                                                                          SWARTZ CREEK     MI   48473‐8872
RAY GRAY                              5243 LINDORA DR                                                                                           COLUMBUS         OH   43232‐4678
RAY GRAY                              1605 AVALON CREEK BOULEVARD                                                                               VIENNA           OH   44473‐9558
RAY GREEN                             14646 CHARLOTTE HWY                                                                                       MULLIKEN         MI   48861‐9602
RAY GREEN                             402 BRITTANY DR                                                                                           LANSING          MI   48906‐1615
RAY GREENE                            3331 E WASHINGTON RD                                                                                      WHITE CLOUD      MI   49349
RAY GREENFIELD
RAY GREER JR                          916 W STATE ST                                                                                            ALBANY           IN   47320‐1519
RAY GREGORY                           7200 HIGHWAY 80                                                                                           MANCHESTER       KY   40962‐8766
RAY GRIFFIN                           9757 ELM RD                                                                                               OVID             MI   48866‐9560
RAY GRIFFON                           601 S ETHLYN RD                                                                                           MOSCOW MILLS     MO   63362‐3115
RAY GRIGSBY                           BARON & BUDD PC                    THE CENTRUM SUITE 1100            3102 OAK LAWN AVE                    DALLAS           TX   75219‐4281
RAY GRODI                             975 COLE RD                                                                                               MONROE           MI   48162‐4141
RAY GROSSBAUER                        4580 MCDOWELL RD                                                                                          LAPEER           MI   48446‐9070
RAY GRUBB                             4322 ARCADIA BLVD                                                                                         DAYTON           OH   45420‐3117
RAY GUEST                             16176 SOFTWATER LAKE DR                                                                                   LINDEN           MI   48451‐9702
RAY GUTIERREZ                         830 WEST ST                                                                                               LAPEER           MI   48446‐3067
RAY GUTIERREZ                         237 S 31ST ST                                                                                             SAN JOSE         CA   95116‐2957
RAY GUYTON                            PO BOX 78                                                                                                 MELROSE          OH   45861‐0078
RAY H BRAYTON                         3008 N VERMONT AVE                                                                                        OKLAHOMA CITY    OK   73107‐1222
RAY H MCCLINTOCK                      1903 LEXINGTON AVE NW                                                                                     WARREN           OH   44485‐1728
RAY H SMITH                           1376 FOUST RD.                                                                                            XENIA            OH   45385‐9416
RAY H. CUELLAR                        FOSTER & SEAR, LLP                 817 GREENVIEW DRIVE                                                    GRAND PRAIRIE    TX   75050
RAY HACKER                            2097 FAIRKNOLL DR.                                                                                        BEAVER CREEK     OH   45431‐3212
RAY HACKWORTH                         4780 E KINSEL HWY                                                                                         CHARLOTTE        MI   48813‐8713
RAY HALL                              PO BOX 373                                                                                                DONIPHAN         MO   63935‐0373
RAY HALL                              BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.      OH   44236
RAY HAMILTON                          14034 KENTFIELD ST                                                                                        DETROIT          MI   48223‐2761
RAY HAMLIN                            120 N GEBHART CHURCH RD                                                                                   MIAMISBURG       OH   45342‐2734
RAY HANCHETT                          5391 DAVISON RD                                                                                           LAPEER           MI   48446‐2717
RAY HARDAWAY                          EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                                    DETROIT          MI   48265‐2000

RAY HARDAWAY                          2700 PARKWOOD AVE                  NHC HEALTH CARE CHATTANOOGO                                            CHATTANOOGA      TN 37404‐1730

RAY HARDIN                            BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                             BOSTON HEIGHTS   OH 44236
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Name                                  Address1                           Address2                      Address3                Address4         City            State Zip
RAY HAROLD J (429660)                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                            NORFOLK          VA 23510
                                                                         STREET, SUITE 600
RAY HARRA                             6695 STATE ROUTE 676                                                                                      STOCKPORT       OH    43787‐9232
RAY HARRINGTON                        9310 FINCH CREEK RD                RR BOX NO 255                                                          BELLAIRE        MI    49615‐8870
RAY HARRISON                          THE MADEKSHO LAW FIRM              8866 GULF FREEWAY STE 440                                              HOUSTON         TX    77017
RAY HART                              1204 S CHURCH ST                                                                                          HASTINGS        MI    49058‐2524
RAY HART                              681 E HENDERSON RD                                                                                        OWOSSO          MI    48867‐9458
RAY HAVENS                            399 RAILROAD ST                                                                                           SOUTH LEBANON   OH    45065‐1425
RAY HEIN                              438 E MAIN ST                                                                                             OWOSSO          MI    48867‐3139
RAY HENDERLY                          13221 ALMOND DR                                                                                           OKLAHOMA CITY   OK    73170‐1159
RAY HERALD                            PO BOX 1674                                                                                               LONDON          KY    40743‐1674
RAY HERNANDEZ                         105 CLAY ST                                                                                               ITHACA          MI    48847‐9511
RAY HERR                              C/O CHARLES SCHWAB & CO INC CUST   IRA CONTRIBUTORY              25 W 374 MAYFLOWER RD                    NAPERVILLE      IL    60540
RAY HESS                              4567 TOM LUNN RD                                                                                          SPRING HILL     TN    37174‐5103
RAY HESTER                            PO BOX 1432                                                                                               OKMULGEE        OK    74447‐1432
RAY HESTER                            1743 RED BUD CIR NW                                                                                       PALM BAY        FL    32907‐8745
RAY HEWITT                            PO BOX 13607                                                                                              FLINT           MI    48501‐3607
RAY HINER                             5214 W 300 S                                                                                              NEW CASTLE      IN    47362
RAY HINES                             203 W CHARLES ST                                                                                          CHAMPAIGN       IL    61820‐5101
RAY HOARD                             5294 DUNSTER RD                                                                                           GRAND BLANC     MI    48439‐9732
RAY HODGES                            2245 SNAPPING SHOALS RD                                                                                   MCDONOUGH       GA    30252‐5742
RAY HOLDINGS INC                      3040 SKOKIE VALLEY RD                                                                                     HIGHLAND PARK   IL    60035‐1049
RAY HOLDREN JR                        127 BENNETT AVE                                                                                           NORTH EAST      MD    21901‐6302
RAY HOLLIFIELD                        21 PROSPECT ST                                                                                            METUCHEN        NJ    08840‐2249
RAY HOLLIS                            792 CARPENTER ST                                                                                          AKRON           OH    44310‐1947
RAY HOLT                              5901 CROSS CREEK DR                                                                                       SWARTZ CREEK    MI    48473‐1484
RAY HOOSE                             309 PINE ST                                                                                               DIMONDALE       MI    48821‐9630
RAY HOWARD                            51 DEERFIELD RD                                                                                           COVINGTON       GA    30014‐1634
RAY HOXSIE BUICK‐PONTIAC‐GMC TRUCK,   PO BOX 355                                                                                                WESTERLY        RI    02891‐0355

RAY HOXSIE BUICK‐PONTIAC‐GMC TRUCK,   PO BOX 355                                                                                                WESTERLY         RI   02891‐0355
INC.
RAY HUFFINES CHEVROLET, INC.                                                                                                                    PLANO           TX    75075
RAY HUFFINES CHEVROLET, INC.          S. RAY HUFFINES                    1001 COIT RD                                                           PLANO           TX    75075‐5814
RAY HUFFINES CHEVROLET, INC.          1001 COIT RD                                                                                              PLANO           TX    75075‐5814
RAY HUGHES                            348 POWDER HOUSE RD                                                                                       PRINCETON       WV    24740‐7134
RAY HUISH                             6105 KIRK RD                                                                                              CANFIELD        OH    44406‐8615
RAY HURST                             16755 LOUISVILLE RD                                                                                       SMITHS GROVE    KY    42171‐8720
RAY HUTCHINS                          183 PICKETTS WAY                                                                                          ACWORTH         GA    30101‐8614
RAY HUTCHINSON                        PO BOX 187                                                                                                CHESTER         GA    31012‐0187
RAY HUTSON CHEVROLET, INC             MICHAEL HUTSON                     3232 MORMON COULEE RD                                                  LA CROSSE       WI    54601‐6746
RAY HUTSON CHEVROLET, INC             3232 MORMON COULEE RD                                                                                     LA CROSSE       WI    54601‐6746
RAY HWANG                             6229 BRITTANY TREE DR                                                                                     TROY            MI    48085‐1087
RAY IMES                              59 BERKELEY TER                                                                                           IRVINGTON       NJ    07111‐3757
RAY INDUSTRIES, INC.                  THE AMERICAN RD., DEARBORN                                                                                DEARBORN        MI    48121
RAY INDUSTRIES, INC.                  2600 SEA RAY DR                                                                                           KNOXVILLE       TN    37914‐6442
RAY INVESTMENT SARL                   7602 WOODLAND DR STE 200                                                                                  INDIANAPOLIS    IN    46278‐2715
RAY IRVIN                             41735 CAROUSEL ST                                                                                         NOVI            MI    48377‐2201
RAY IRWIN                             2201 NW 10TH ST                                                                                           BLUE SPRINGS    MO    64015‐1513
RAY ISOM                              2284 SHARP RD                                                                                             ADRIAN          MI    49221‐8628
RAY J ALLREAD                         124 HIAWATHA DR                                                                                           GREENVILLE      OH    45331‐2818
RAY J ARENT                           MOTLEY RICE LLC                    28 BRIDGESIDE BLVD            PO BOX 1792                              MT PLEASANT     SC    29465
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Name                   Address1                             Address2                       Address3     Address4         City            State Zip
RAY JACKSON            5205 E 162 S                                                                                      MARION           IN 46953‐9128
RAY JAMES A (665588)   KEAHEY G PATTERSON JR                ONE INDEPENDENCE PLAZA SUITE                                 BIRMINGHAM       AL 35209
                                                            612
RAY JEAN               RAY, JEAN                            PO BOX 206                                                   CLARKSDALE      MS   38614‐0206
RAY JEAN               TATE, ROBIN                          PO BOX 428                                                   CLARKSDALE      MS   38614‐0428
RAY JEAN               TATE, ROBIN                          PO BOX 206                                                   CLARKSDALE      MS   38614‐0206
RAY JEAN               TATE, ROBIN                          PO BOX 81                                                    ABERDEEN        MS   39730‐0081
RAY JEFFERY            3739 KINGSWAY DR                                                                                  HIGHLAND        MI   48356‐1847
RAY JENKINS            119 E 42ND ST                                                                                     COVINGTON       KY   41015‐1843
RAY JERGOVICH          5855 SUTHERLAND DR                                                                                WATERFORD       MI   48327‐2060
RAY JESSE JR           6618 POOLE RD                                                                                     RALEIGH         NC   27610‐4594
RAY JETT               2700 N BALDWIN RD                                                                                 OXFORD          MI   48371‐2104
RAY JOHNSON            752 S EAST AVE                                                                                    VINELAND        NJ   08360‐5890
RAY JONES              PO BOX 55                                                                                         FLOWERY BR      GA   30542‐0001
RAY JONES              4364 82ND ST SW                                                                                   BYRON CENTER    MI   49315‐8648
RAY JONES              8163 E BRISTOL RD                                                                                 DAVISON         MI   48423‐8716
RAY JONES CHEVROLET    1727 TENAHA ST                                                                                    CENTER          TX   75935‐7031
RAY JONES CHEVROLET    MARLIN JONES                         1727 TENAHA ST                                               CENTER          TX   75935‐7031
RAY JR, CHARLES W      1500 HIGHWAY F                                                                                    EOLIA           MO   63344‐2335
RAY JR, ERNEST C       21718 EDISON ST                                                                                   DEARBORN        MI   48124‐2930
RAY JR, EUGENE C       5154 NORWOOD CT                                                                                   SAINT LOUIS     MO   63115‐1038
RAY JR, GEORGE C       1574 WESTGATE DR                                                                                  DEFIANCE        OH   43512‐3710
RAY JR, GERALD V       9250 BENNETT LAKE RD                                                                              FENTON          MI   48430‐9053
RAY JR, HARMON         PO BOX 24                                                                                         DOVER           MO   64022‐0024
RAY JR, HERMAN         4619 MAC DR                                                                                       ANDERSON        IN   46013‐2751
RAY JR, HOWARD         5042 WAKEFIELD RD                                                                                 SAGINAW         MI   48601‐9460
RAY JR, JAY L          130 N EMERSON ST                                                                                  KANSAS CITY     MO   64119‐3157
RAY JR, JAY LEE        130 N EMERSON ST                                                                                  KANSAS CITY     MO   64119‐3157
RAY JR, JOHN W         1320 E OAKLAND AVE                                                                                LANSING         MI   48906‐5542
RAY JR, KENNETH G      11102 RIDGE VIEW TRL                                                                              FENTON          MI   48430‐4002
RAY JR, LEON E         2990 RICHMOND DR                                                                                  MOBILE          AL   36695‐8270
RAY JR, MARIO A        145 ISLAND LAKE CRES                                                                              OXFORD          MI   48371‐3649
RAY JR, RAYMOND H      1036 MILL POND RD                                                                                 MT PLEASANT     TN   38474‐1034
RAY JR, STANLEY        26 CHARLES LN                                                                                     PONTIAC         MI   48341‐2925
RAY JR, THOMAS R       617 SCENIC VIEW DR                                                                                SUNRISE BEACH   MO   65079‐5227
RAY JR, VERNON O       8730 CASE RD                                                                                      BROOKLYN        MI   49230‐9430
RAY JR, WILLIE         264 HUMBOLDT PKWY                                                                                 BUFFALO         NY   14214‐2704
RAY JURA               416 N BLY RD                                                                                      INDEPENDENCE    MO   64056‐3803
RAY K KING             114 COUNTY RD 362                                                                                 NIOTA           TN   37826‐3230
RAY KARPOICZ           1818 MANSE RD                                                                                     WATERFORD       MI   48328‐1629
RAY KEENER             4325 WALNUT ST                                                                                    INKSTER         MI   48141‐2958
RAY KELLER             THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES              22ND FLOOR                    BALTIMORE       MD   21201

RAY KEMMER             1189 HELMER LAKE RD                                                                               FAIRVIEW        MI   48621‐9719
RAY KENTNER            11157 STATE HIGHWAY 37                                                                            LISBON          NY   13658‐3243
RAY KERHAERTS GARAGE   1396 RIDGE RD W                                                                                   ROCHESTER       NY   14615‐2418
RAY KIMMEL             2604 SHURLEY RD                                                                                   ELDORADO        OH   45321‐9776
RAY KING               114 COUNTY ROAD 362                                                                               NIOTA           TN   37826‐3230
RAY KING               32 MARTIN LUTHER KING JR BLVD N                                                                   PONTIAC         MI   48342‐2919
RAY KISER              677 DOGWOOD CIR                                                                                   NORCROSS        GA   30071‐2119
RAY KLINESMITH         4290 ARBELA RD                                                                                    MILLINGTON      MI   48746‐9317
RAY KNOLL              7777 46TH AVE N LOT 78                                                                            ST PETERSBURG   FL   33709‐2442
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Name                                Address1                          Address2                   Address3                   Address4           City            State Zip
RAY KOPITZKI                        11398 MAPLE RIDGE RD                                                                                       MEDINA           NY 14103‐9766
RAY KOWALSKI                        123 COULTER CT                                                                                             LAPEER           MI 48446‐7739
RAY KRAWCZYK                        61 W RUTGERS AVE                                                                                           PONTIAC          MI 48340‐2755
RAY KREITZER                        PO BOX 223                        66 E MAIN ST                                                             PHILLIPSBURG     OH 45354‐0223
RAY KWIATKOWSKI                     796 CHAMPION AVE W                                                                                         WARREN           OH 44483‐1316
RAY L ALLEN                         217 PORTER AVE.                                                                                            ENGLEWOOD        OH 45322‐2449
RAY L AND JANE M GARLAND            2645 OLD CIFAX RD                                                                                          GOODE            VA 24556
RAY L BYRD                          4523 ELMER AVE                    PO BOX 0123                                                              DAYTON           OH 45417‐1336
RAY L POLLARD                       3519 RHODES AVENUE                                                                                         NEW BOSTON       OH 45662‐4917
RAY L. HELLWIG PLUMBING & HEATING                                     1301 LAURELWOOD RD                                                                        CA 95054
RAY LAETHEM PONTIAC‐BUICK‐GMC TRUCK 17677 MACK AVE                                                                                             DETROIT          MI 48224‐1470

RAY LAETHEM PONTIAC‐BUICK‐GMC       17677 MACK AVE                                                                                             DETROIT         MI 48224‐1470
TRUCK, INC.
RAY LAETHEM PONTIAC‐BUICK‐GMC       RAYMOND LAETHEM                   17677 MACK AVE                                                           DETROIT         MI 48224‐1470
TRUCK, INC.
RAY LAETHEM PONTIAC‐GMC, INC.       RAY LAETHEM PONTIAC‐GMC, INC.     17677 MACK AVE                                                           DETROIT         MI   48224‐1470
RAY LAETHEM PONTIAC‐GMC, INC.       RAY LAETHEM PONTIAC‐GMC, INC.     RAYMOND F. LAETHEM, JR.    17677 MACK AVE                                DETROIT         MI   48224‐1470
RAY LAETHEM PONTIAC‐GMC, INC.       17677 MACK AVE                                                                                             DETROIT         MI   48224‐1487
RAY LAETHEM PONTIAC‐GMC, INC.       RAYMOND F. LAETHEM, JR.           17677 MACK AVE                                                           DETROIT         MI   48224‐1487
RAY LAFOLLETTE                      1203 OLD 35                                                                                                XENIA           OH   45385‐7839
RAY LAMINACK                        PO BOX 45                                                                                                  WHITELAND       IN   46184‐0045
RAY LANGE                           13220 ANDOVER DR                                                                                           PLYMOUTH        MI   48170‐8209
RAY LANTZER                         1113 W ADAMS ST                                                                                            PLYMOUTH        IN   46563‐1627
RAY LAPRADE                         26 ALVERN AVE                                                                                              MASSENA         NY   13662‐2218
RAY LARIVEY                         PO BOX 125                                                                                                 NORTH JAVA      NY   14113‐0125
RAY LARRY                           RAY, LARRY                        3031 FLORA AVE                                                           KANSAS CITY     MO   64109‐1617
RAY LATHROP                         GLASSER AND GLASSER               CROWN CENTER               580 EAST MAIN ST STE 600                      NORFOLK         VA   23510
RAY LAUERMAN JR                     7350 TEXTILE RD                                                                                            SALINE          MI   48176‐8812
RAY LEE                             1674 CENTRA VILLA DR SW                                                                                    ATLANTA         GA   30311‐3964
RAY LEMOS                           5221 DEWEY ST                                                                                              WICHITA FALLS   TX   76306‐1350
RAY LEWIS                           186 CALAIS CT                                                                                              SWANSEA         IL   62226‐1067
RAY LEWIS JR                        1306 MIAMI ST                                                                                              YOUNGSTOWN      OH   44505‐3748
RAY LILJEBERG                       23432 WOODVIEW DR                                                                                          NORTH OLMSTED   OH   44070‐1689
RAY LINDSEY                         8666 STATE ROUTE 66                                                                                        OAKWOOD         OH   45873‐9636
RAY LINGERFELT                      2191 TITSHAW DR                                                                                            GAINESVILLE     GA   30504‐5865
RAY LINK                            PO BOX 365                                                                                                 TRAFALGAR       IN   46181‐0365
RAY LIPPERT                         ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD         PO BOX 521         EAST ALTON      IL   62024
                                                                      ANGELIDES & BARNERD LLC
RAY LISA                            RAY, JANET                        30 E BUTLER AVE                                                          AMBLER          PA   19002‐4514
RAY LIVENGOOD                       1916 CHESTNUT AVE                                                                                          HUNTINGTON      IN   46750‐9058
RAY LOCKE                           185 W STATE ROUTE 571                                                                                      TIPP CITY       OH   45371‐9698
RAY LOGAN                           10859 HIGHWAY 779                                                                                          ROCKHOLDS       KY   40759‐7707
RAY LONG                            2007 NE 65TH ST                                                                                            GLADSTONE       MO   64118‐3733
RAY LOOK                            13330 STATE RD                                                                                             LAKE ODESSA     MI   48849‐9409
RAY LORD                            4520 ELEANOR DR                                                                                            FENTON          MI   48430‐9142
RAY LOWRIMORE                       3624 WINDY LN                                                                                              ALVARADO        TX   76009‐6562
RAY LUNDBERG                        22536 PARAGUAY DR                                                                                          SAUGUS          CA   91350‐2344
RAY LYNCH                           10231 COSS RD                                                                                              HILLSBORO       OH   45133‐6644
RAY M CARLYSLE JR                   16373 LAW STATE ROUTE 7                                                                                    CROWN CITY      OH   45623
RAY M KENION                        1615 SALEM                                                                                                 DAYTON          OH   45406‐4922
RAY M MC RAE                        3636 W 64 ST                                                                                               CHICAGO         IL   60629‐4029
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Name                                 Address1                       Address2                Address3     Address4         City           State Zip
RAY M OWENS                          1018 KINGS LOOP                                                                      JAMESTOWN       TN 38556
RAY M PARRISH                        2365 OZARK PLATEAU DR                                                                HENDERSON       NV 89044
RAY M POPROCKY                       819 MAYFIELD RD                                                                      SHARPSVILLE     PA 16150
RAY MACKEY                           11407 BROOKFIELD ST                                                                  LIVONIA         MI 48150‐5713
RAY MAHLA                            2386 FAWN CIR                                                                        ANDERSON        IN 46017‐9354
RAY MALLETTE                         3700 N. NEBO RD.‐400W                                                                MUNCIE          IN 47304
RAY MANN                             2704 CYPRESS WAY APT 2                                                               CINCINNATI      OH 45212‐1766
RAY MANNINEN                         14890 BELLAIRE RD                                                                    BARAGA          MI 49908‐9106
RAY MANTHE JR                        2908 ROLLING HILLS DR                                                                PLATTE CITY     MO 64079‐7630
RAY MARTIN                           15766 ROSEMONT AVE                                                                   DETROIT         MI 48223‐1330
RAY MARTIN                           1690 STAGE RD                                                                        IONIA           MI 48846‐9806
RAY MARTIN                           5050 POST RD                                                                         CUMMING         GA 30040‐5234
RAY MARTIN                           CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                 CHICAGO          IL 60607
RAY MARTINEZ                         1560 EIFERT RD LOT 37                                                                HOLT            MI 48842‐1969
RAY MARTINEZ                         501 BRINKBY AVE APT 1005                                                             RENO            NV 89509‐4402
RAY MASSEY                           4202 GERTRUDE ST                                                                     DEARBORN HTS    MI 48125‐2820
RAY MASTERSON                        2658 COUNTY ROAD 135                                                                 TOWN CREEK      AL 35672‐6308
RAY MATSIL                           4701 BONNIE CT                                                                       W BLOOMFIELD    MI 48322‐4467
RAY MATTHEW                          RAY, MATTHEW                   607 OAK ST                                            TYRONE          PA 16686
RAY MAXINE                           321 COUNTY ROAD 1426                                                                 VINEMONT        AL 35179
RAY MAXWELL                          1283 BOB BULLOCK RD                                                                  COOKEVILLE      TN 38506
RAY MAYNARD JR                       8101 N OAK FLAT RD                                                                   MUNCIE          IN 47303‐9310
RAY MC COMAS                         48432 PANCAKE CLARKSON RD                                                            ROGERS          OH 44455‐9724
RAY MC CRAW                          13130 GEOFFRY DR                                                                     WARREN          MI 48088‐3626
RAY MC LEAN                          2371 BOWMAN RD                                                                       IMLAY CITY      MI 48444‐9736
RAY MC LEMORE                        7806 TROUP AVE                                                                       KANSAS CITY     KS 66112‐2226
RAY MCCHRISTIAN & JEANS PC           5822 CROMO DR STE 400                                                                EL PASO         TX 79912‐5555
RAY MCCLELLAN                        955 PEPPERWOOD DR                                                                    BRUNSWICK       OH 44212‐2456
RAY MCCLINTOCK                       1903 LEXINGTON AVE NW                                                                WARREN          OH 44485‐1728
RAY MCCOY                            40775 LODGE RD                                                                       LEETONIA        OH 44431‐9658
RAY MCDANIEL                         6114 SUN VALLEY DR                                                                   GRAND BLANC     MI 48439‐9166
RAY MCINCHAK                         4942 S WALNUT ST                                                                     BEAVERTON       MI 48612‐8885
RAY MCNEAL                           44 LESLIE LN                                                                         MONROE          LA 71203‐2715
RAY MEADE                            936 EASTGATE CT                                                                      FRANKENMUTH     MI 48734‐1246
RAY MEDLEN                           3845 W 250 S                                                                         KOKOMO          IN 46902‐9124
RAY MELLINGER                        2614 IDA AVE                                                                         NORWOOD         OH 45212‐4214
RAY MENDEZ                           804 NE MULBERRY ST                                                                   LEES SUMMIT     MO 64086‐5453
RAY MERSDORF                         4140 2 MILE RD                                                                       BAY CITY        MI 48706‐2322
RAY MEYERS                           1102 GARY BLVD                                                                       BRUNSWICK       OH 44212‐2910
RAY MIDDLETON                        6106 HOPKINS RD                                                                      FLINT           MI 48506‐1658
RAY MIKLES                           7031 UNION SCHOOLHOUSE RD                                                            DAYTON          OH 45424‐5206
RAY MILES                            1538 INDIAN MEADOWS DR                                                               FRANKLIN        TN 37064‐9636
RAY MILLER                           148 PRITTSTOWN RD                                                                    MT PLEASANT     PA 15666‐2200
RAY MILLER                           126 THOREAU DR                                                                       BURNSIDE        KY 42519‐9167
RAY MILLER BUICK‐GMC TRUCK, INC.     MICHAEL MILLER                 246 COX CREEK PKWY                                    FLORENCE        AL 35630‐1571
RAY MILLER BUICK‐PONTIAC‐GMC, INC.   MICHAEL MILLER                 246 COX CREEK PKWY                                    FLORENCE        AL 35630‐1571

RAY MILLER BUICK‐PONTIAC‐GMC, INC.   246 COX CREEK PKWY                                                                   FLORENCE        AL   35630‐1571

RAY MILLIGAN                         2537 THOMASON CIR APT 274                                                            ARLINGTON      TX 76006‐5072
RAY MILLS                            24127 WICK RD                                                                        TAYLOR         MI 48180‐3360
RAY MILNER                           4983 W CHERRY CREEK RD                                                               LEWISTON       MI 49756‐7510
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Name                Address1                        Address2                      Address3   Address4         City            State Zip
RAY MIZE            913 MULLINIX RD                                                                           GREENWOOD        IN 46143‐8657
RAY MOCZYGEMBA      THE MADEKSHO LAW FIRM           8866 GULF FREEWAY STE 440                                 HOUSTON          TX 77017
RAY MOGENSEN        600 ADMIRAL BLVD APT 1107                                                                 KANSAS CITY      MO 64106‐1574
RAY MOORE           235 FRANKLIN ST                                                                           MILFORD          MI 48381‐2406
RAY MOORE           238 CHEROKEE RD                                                                           LUCAS            KY 42156‐9352
RAY MORELAN         4201 SAYLOR ST                                                                            DAYTON           OH 45416‐2025
RAY MORELAND        PO BOX 34                                                                                 CLAYTONVILLE      IL 60926‐0034
RAY MORNSON         3201 SKYLINE DR                                                                           FORT WORTH       TX 76114‐1427
RAY MORRIS          2587 PEYTON WOODS TRL SW                                                                  ATLANTA          GA 30311‐2156
RAY MORROW          2160 TOMOTLA RD                                                                           MARBLE           NC 28905‐8429
RAY MOTE            527 RICHARDS CHAPEL RD                                                                    COVINGTON        GA 30016‐4494
RAY MOYER III       5814 NORTH PENNSLYVNIA AVE      APT 208B                                                  OKLAHOMA CITY    OK 73112
RAY MULLINS         503 BURT ST                                                                               OAKWOOD          OH 45873‐8902
RAY MULLOY          2111 EWERS RD                                                                             DANSVILLE        MI 48819‐9747
RAY MUNOZ           14522 MOJAVE ST                                                                           HESPERIA         CA 92345‐2444
RAY MURPHY          7583 RT. 127, S.                                                                          CAMDEN           OH 45311
RAY MYERS           6709 E LEWIS DR                                                                           ALBANY           IN 47320‐9720
RAY MYLENEK         34691 CRISTINI CT                                                                         FRASER           MI 48026‐5258
RAY N BARNETT       1506 POTTERSHOP RD                                                                        NANCY            KY 42544‐4452
RAY N GRILLIOT      1720 FAIRMONT AVENUE                                                                      CINCINNATI       OH 45214‐1223
RAY N POE           62 STILLMEADOW DR.                                                                        CINCINNATI       OH 45245
RAY NANCY G         LANGUAGE CENTER THE             910 FLYNT DR                                              FLOWOOD          MS 39232‐9796
RAY NAQUIN          1500 S ELM ST                                                                             HAMMOND          LA 70403
RAY NATHAN          9616 DEVONSHIRE DR                                                                        HUNTERSVILLE     NC 28078‐4858
RAY NEBGEN
RAY NELSON          20140 N GOLDEN BARREL DR                                                                  SURPRISE        AZ 85374‐4792
RAY NICHOLS         412 GREG DR SW                                                                            LILBURN         GA 30047‐5208
RAY NICK            204 E MOUNT HOPE AVE            C/O TRI‐COUNTY GUARDIANSHIP                               LANSING         MI 48910‐9158
                                                    SERV
RAY NICKELL         896 WILDERNESS DR                                                                         ALGER           MI   48610‐8625
RAY NIVER           31 CHARLOTTE ST                                                                           LOCKPORT        NY   14094‐2101
RAY NOVAK           7588 MAPLE RD                                                                             FRANKENMUTH     MI   48734‐9547
RAY OCKULY          4016 48TH AVE S                                                                           ST PETERSBURG   FL   33711‐4606
RAY OEHRING         4810 LEASIDE DR                                                                           SAGINAW         MI   48603‐2932
RAY OWENBY          9252 LAKE RD                                                                              OTISVILLE       MI   48463‐9611
RAY OWENS           1018 KINGS LOOP                                                                           JAMESTOWN       TN   38556‐6068
RAY P UITTO         2060 BRITTAINY OAKS TRL NE                                                                WARREN          OH   44484‐3956
RAY PAMELA          PO BOX 204                                                                                BERGLAND        MI   49910‐0204
RAY PARDON          4141 HAMILTON EATON RD LOT 81                                                             HAMILTON        OH   45011‐9648
RAY PARHAM          18227 HEYDEN ST                                                                           DETROIT         MI   48219‐3499
RAY PARTLO          1352 ATHLONE ST                                                                           OXFORD          MI   48371‐6000
RAY PERKINS         5086 TEWKESBURY DR                                                                        DAYTON          OH   45424‐3753
RAY PERKINS         5086 TEWKSBURY DR                                                                         DAYTON          OH   45424‐3753
RAY PERRY           PO BOX 782                                                                                CLAYTON         AL   36016‐0782
RAY PETTIBON        814 CITY WALLS ST                                                                         CARY            NC   27513‐1695
RAY PFARRKIRCHNER   6460 KILIMANJARO DR                                                                       EVERGREEN       CO   80439‐5304
RAY PICARD JR       7114 E 100TH TER                                                                          KANSAS CITY     MO   64134‐1744
RAY PICHOTTA        PO BOX 1379                                                                               SIMI VALLEY     CA   93062‐1379
RAY PIORECKI        232 BLUE SPRING ST                                                                        POINCIANA       FL   34759‐5208
RAY PITTMAN
RAY PITTS           1044 E COLDWATER RD                                                                       FLINT           MI 48505‐1502
RAY POLLARD         3519 RHODES AVE                                                                           NEW BOSTON      OH 45662‐4917
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Name                         Address1                         Address2                          Address3         Address4         City               State Zip
RAY POLLARD                  8805 CECILE PL                                                                                       SPENCER             OK 73084‐3552
RAY PONTIUS                  PO BOX 141                                                                                           LAKE MILTON         OH 44429‐0141
RAY POPILEK                  1433 W STANLEY RD                                                                                    MOUNT MORRIS        MI 48458‐2315
RAY PORTER                   18643 WARWICK ST                                                                                     DETROIT             MI 48219‐2820
RAY PORTER                   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS          OH 44236
RAY POTH                     931 S LEXINGTON SPRINGMILL RD                                                                        MANSFIELD           OH 44903‐8652
RAY POWELL                   20750 WILMOT RD                                                                                      BELLEVILLE          MI 48111‐8600
RAY POWELL JR                259 TAYLOR BLAIR RD                                                                                  W JEFFERSON         OH 43162‐9668
RAY POWERS                   58 GOSS LN                                                                                           RISING SUN          MD 21911‐1921
RAY PRATT                    19349 GRABOWSKI RD                                                                                   SAINT CHARLES       MI 48655‐9735
RAY PRESCOTT                 1490 E BUENA VISTA DR                                                                                CHANDLER            AZ 85249‐8562
RAY PRESTON                  5727 COTTONWOOD ST                                                                                   SHAWNEE             KS 66216‐5017
RAY PRESTON JR (429661)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                              STREET, SUITE 600
RAY PRICE CHEVROLET          PO BOX 190                                                                                           MOUNT POCONO       PA   18344‐0190
RAY PRICE CHEVROLET          1400 ROUTE 940 BOX 190                                                                               MOUNT POCONO       PA
RAY PRICE CHEVROLET, INC.    RAYMOND PRICE                    1400 ROUTE 940, BOX 190                                             MOUNT POCONO       PA   18344
RAY PROCTOR                  53 DARLINGTON RD                                                                                     HAMILTON           OH   45011‐2423
RAY PROFFITT                 38 ROY MCHARGUE RD                                                                                   LILY               KY   40740‐3243
RAY PURINGTON                11797 STATE HWY 171                                                                                  BLUE RIVER         WI   53518‐4556
RAY QUINNEY & NEBEKER P.C.   ATT: STEPHEN C. TINGEY           36 SOUTH STATE STREET, SUITE 1400 P.O. BOX 45385                    SALT LAKE CITY     UT   84145

RAY R HAVENS                 399 RAILROAD ST                                                                                      S. LEBANON         OH   45065‐1425
RAY R MARTINEZ               1191 DOWAGIAC AVE                                                                                    MOUNT MORRIS       MI   48458‐2577
RAY R RAIMONDI               7204 E CAMINO VALLE VERDE                                                                            TUCSON             AZ   85715
RAY R WELLS                  23781 FAIRGREENS E                                                                                   LAGUNA NIGUEL      CA   92677
RAY RAMSEY
RAY RANSOM                   3543 CRICKLEWOOD ST # B                                                                              TORRANCE           CA   90505‐6624
RAY RAVARY JR                415 FRANKLIN ST                                                                                      TRAVERSE CITY      MI   49686
RAY RAZO                     1863 CIPRIAN AVE                                                                                     CAMARILLO          CA   93010‐2453
RAY REDMANN                  3308 N HARMONY TOWN HALL RD                                                                          JANESVILLE         WI   53546‐9311
RAY REECE                    690 MAYES RD                                                                                         POWDER SPRINGS     GA   30127‐4431
RAY REECE                    219 N MURPHEY ST                                                                                     MOUNTAIN CITY      TN   37683‐1315
RAY RHONE JR                 20080 WEYBRIDGE ST APT 302                                                                           CLINTON TOWNSHIP   MI   48036‐2479
RAY RICE                     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS         OH   44236
RAY RICHARDS                 15650 GEORGE WASHINGTON DR                                                                           SOUTHFIELD         MI   48075‐6911
RAY RICHARDSON               806 ADAMS DR                                                                                         MIDLAND            MI   48642‐3306
RAY RICHMOND                 30 SCENIC DR                                                                                         OLMSTED FALLS      OH   44138‐2957
RAY RICKENBACH               772 CENTURY 21 DR                                                                                    JACKSONVILLE       FL   32216‐9266
RAY RIDINGS MOTORS, INC.     RAY RIDINGS                      620 HOUSTON ST                                                      WILLS POINT        TX   75169‐2716
RAY RIKSEN                   37317 COUNTY ROAD 388                                                                                GOBLES             MI   49055‐9655
RAY RINKER JR                3836 TROTTERS RIDGE DR                                                                               LAS VEGAS          NV   89122‐3409
RAY ROBERTS                  5820 GARESCHE AVE                                                                                    SAINT LOUIS        MO   63120‐1922
RAY ROBERTSON                1443 STATE HIGHWAY 420                                                                               NORFOLK            NY   13667‐3247
RAY ROBERTSON                2240 ARCADIA RD                                                                                      BIRMINGHAM         AL   35214‐1606
RAY ROBINSON                 2047 WHITE OAK CIR NW                                                                                KENNESAW           GA   30144‐2849
RAY ROBINSON                 4501 N SHERMAN DR                                                                                    INDIANAPOLIS       IN   46226‐3073
RAY ROBINSON                 RAY ROBINSON                     1737 TIMBER RIDGE                                                   YPSILANTI          MI   48198
RAY ROBINSON                 1737 TIMBERIDGE                                                                                      YPSILANTI          MI   48198
RAY ROBINSON                 109 ROSLYN CT                                                                                        MURFREESBORO       TN   37128‐4765
RAY RODRIGUEZ                8885 LAURENA DR                                                                                      OVID               MI   48866‐9519
RAY RODRIGUEZ JR             10608 S BRYANT AVE                                                                                   MOORE              OK   73160‐9535
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Name                                Address1                          Address2            Address3         Address4         City               State Zip
RAY ROGERS                          PO BOX 282                                                                              HARRIS              NC 28074‐0282
RAY ROSALES                         1894 COMMONWEALTH AVE                                                                   AUBURN HILLS        MI 48326‐2608
RAY ROSE                            1744 WESTGATE DR                                                                        HOWELL              MI 48843‐6469
RAY ROSE                            11501 MILLER DR                                                                         GALESBURG           MI 49053‐9583
RAY ROSS JR                         831 TRALGER DR                                                                          TOLEDO              OH 43612‐3937
RAY RUBELMAN JR                     1599 N PETERSON RD                                                                      MUSKEGON            MI 49445‐9616
RAY RUDD CHEV‐BU‐PONT‐GMC‐CAD       PO BOX 219                                                                              KIRKLIN             IN 46050‐0219
RAY RUSHING                         G 5475 WEBSTER RD                                                                       FLINT               MI 48504
RAY RUSSELL                         3723 PLYMOUTH SPRINGMILL ROAD                                                           SHELBY              OH 44875‐9582
RAY S ELLER                         1017 DALE AVE                                                                           FRANKLIN            OH 45005‐1714
RAY S PALLISTER                     8140 LINKS WAY                                                                          PORT ST LUCIE       FL 34986
RAY S PRATT                         19349 GRABOWSKI RD                                                                      SAINT CHARLES       MI 48655‐9735
RAY S RUSSELL                       2493 BYERS RIDGE DR                                                                     MIAMISBURG          OH 45342
RAY S WITTE                         1846 LAREDO DR                                                                          HAMILTON            OH 45013‐1893
RAY SANCHEZ                         10205 MANTLE CT                                                                         OKLAHOMA CITY       OK 73162‐4438
RAY SANDERS                         4769 LALLY DR                                                                           HOUSE SPRINGS       MO 63051‐2531
RAY SAUNDERS                        PO BOX 181                                                                              EAST LYNNE          MO 64743‐0181
RAY SAUNDERS
RAY SAYLOR                          1308 S RIBBLE AVE                                                                       MUNCIE             IN   47302‐3730
RAY SCHAUBEL                        2100 SMOKE DRIFT TRL                                                                    HASTINGS           MI   49058‐8353
RAY SCHENCK                         LOT 75 CRESTWOOD PARK                                                                   MIDDLETOWN         IN   47356
RAY SCHLEMMER                       24170 SIEFFERMAN CT                                                                     LAWRENCEBURG       IN   47025‐7773
RAY SCHULTE                         8008 OLD STATE RD                                                                       BREESE             IL   62230‐3400
RAY SCOTT                           709 SLACK DR                                                                            ANDERSON           IN   46013‐3617
RAY SEALES                          4325 CAYUGA TRL                                                                         FLINT              MI   48532‐3570
RAY SEXTON                          4107 HAMILTON MILL RD                                                                   BUFORD             GA   30519‐3913
RAY SHAFER                          3604 SHERWOOD AVE                                                                       NIAGARA FALLS      NY   14301‐2718
RAY SHARPLESS                       1553 SHARPLESS MINE RD                                                                  SWANTON            MD   21561‐1545
RAY SHARRIE                         6408 LAKE TRAIL DR                                                                      WESTERVILLE        OH   43082‐8729
RAY SHAWLEY                         1335 SAMANTHA WAY                                                                       NORTH HUNTINGDON   PA   15642‐5808
RAY SHEPHERD MOTORS, INC.           DAVID SHEPHERD                    1901 S MAIN ST                                        FORT SCOTT         KS   66701‐3017
RAY SHETTERLY                       1228 ALDINO STEPNEY RD                                                                  ABERDEEN           MD   21001‐1406
RAY SHIKLES                         3016 PORTER RD                                                                          INDEPENDENCE       MO   64055‐2740
RAY SHUSTER                         1175 W LAUREL CIR                                                                       MT PLEASANT        PA   15666‐2183
RAY SIDEBOTTOM                      590 EASON DR                                                                            SEVERN             MD   21144‐1235
RAY SIFFERLIN                       1146 COBBLEFIELD DRIVE                                                                  MANSFIELD          OH   44903‐8256
RAY SILER                           107 WHEELER LN APT B5                                                                   LA FOLLETTE        TN   37766‐2952
RAY SIMONS                          5803 SUNDROPS AVE                                                                       GALLOWAY           OH   43119‐9357
RAY SIMPSON                         8268 WEST US 10                                                                         BRANCH             MI   49402
RAY SKIBBE                          3270 LAKE POINTE BLVD APT 200                                                           SARASOTA           FL   34231‐2609
RAY SKILLMAN CHEVROLET              3891 S POST RD                                                                          INDIANAPOLIS       IN   46239‐8302
RAY SKILLMAN CHEVROLET, INC.        WILLIAM SKILLMAN                  3891 S POST RD                                        INDIANAPOLIS       IN   46239‐8302
RAY SKILLMAN GMC                    8424 US 31 S                                                                            INDIANAPOLIS       IN   46227‐6230
RAY SKILLMAN GMC TRUCK, INC.        WILLIAM SKILLMAN                  8424 US 31 S                                          INDIANAPOLIS       IN   46227‐6230
RAY SKILLMAN OLDSMOBILE GMC TRUCK   8424 US 31 S                                                                            INDIANAPOLIS       IN   46227‐6230
INC
RAY SMITH                           8325 NORCROFT DR                                                                        CHARLOTTE          NC   28269‐1304
RAY SMITH                           47624 METZ RD                                                                           NEW WATERFORD      OH   44445
RAY SMITH                           10910 MAPLE VALLEY RD                                                                   GLADWIN            MI   48624‐9130
RAY SMITH                           1376 FOUST RD                                                                           XENIA              OH   45385‐9416
RAY SMITH                           2004 STEEN RD                                                                           MOUNT CROGHAN      SC   29727‐8690
RAY SMITH                           411 S GROVER AVE LOT 76                                                                 ALMA               MI   48801
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Name                                 Address1                         Address2                      Address3                     Address4         City               State Zip
RAY SMITH                            9166 W TIMBERVIEW DR                                                                                         NEWPORT             MI 48166‐9548
RAY SMITH CHEVROLET‐BUICK‐PONTIAC,   260 W MAIN ST                                                                                                CAMDEN              TN 38320‐1643

RAY SMITH CHEVROLET‐BUICK‐PONTIAC,   260 W MAIN ST                                                                                                CAMDEN             TN 38320‐1643
INC.
RAY SMITH CHEVROLET‐BUICK‐PONTIAC,   BRENT SMITH                      260 W MAIN ST                                                               CAMDEN             TN 38320‐1643
INC.
RAY SMITH JR.                        6938 PUTTER PL                                                                                               SYRACUSE           IN    46567‐8401
RAY SNEED                            1847 HOUSTON ST                                                                                              DEARBORN           MI    48124‐4125
RAY SNYDER                           2018 SANTA BARBARA DR                                                                                        FLINT              MI    48504‐2065
RAY SNYDER                           7585 WARNER ST                                                                                               ALLENDALE          MI    49401‐8759
RAY SOBLOTNE                         325 RAINBOW DRIVE                                                                                            KOKOMO             IN    46902‐3868
RAY SOLDAN                           901 HOWARD DRIVE                                                                                             DEL CITY           OK    73115
RAY SPEARMAN                         5617 DUPONT ST                                                                                               FLINT              MI    48505‐2654
RAY SPEICHER                         3490 DRAPER AVE SE                                                                                           WARREN             OH    44484‐3327
RAY SPINKS                           4305 MOUNTAIN VIEW RD                                                                                        OAKWOOD            GA    30566‐2142
RAY SR, LEONARD L                    5347 MESA VERDE DR                                                                                           INDIANAPOLIS       IN    46237‐9073
RAY SR, RONALD B                     1654 NE 6TH ST                                                                                               MOORE              OK    73160‐7982
RAY STACK                            1315 N TRUMBULL ST                                                                                           BAY CITY           MI    48708‐6362
RAY STANLEY                          1720 E 25TH ST                                                                                               MUNCIE             IN    47302‐5918
RAY STANLEY C (429662)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA    23510
                                                                      STREET, SUITE 600
RAY STEWART                          1609 BRUSHY BRANCH RD                                                                                        MANCHESTER          KY   40962‐6407
RAY STINSON ENTERPRISES
RAY STOTTS                           49520 TETON PASS                                                                                             SHELBY TOWNSHIP    MI    48315‐3396
RAY STOUT                            60 ALUM AVE                                                                                                  WESTON             WV    26452‐1969
RAY STRANGE                          791 MOUNT TABOR RD                                                                                           OXFORD             GA    30054‐4504
RAY STRINGER                         214 CLIFTY ST                                                                                                SOMERSET           KY    42501‐1612
RAY STRONG                           111 BON JAN LN                                                                                               HIGHLAND HEIGHTS   KY    41076‐3700
RAY STROUSE                          10561 POTTERS RD                                                                                             LOWELL             MI    49331‐9233
RAY STULL                            26292 CHANEY LN                                                                                              WARSAW             MO    65355‐4055
RAY STULL                            6001 NE 60TH ST                                                                                              KANSAS CITY        MO    64119‐1754
RAY STURGILL                         6411 HENDERSON RD                                                                                            COLUMBIAVILLE      MI    48421‐8812
RAY SUFFEL                           87 RENFREW AVE                                                                                               MOUNT MORRIS       MI    48458‐8856
RAY SUMMERFIELD                      PO BOX 696                                                                                                   LONGS              SC    29568‐0696
RAY SUMMERS                          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS         OH    44236
RAY SWANK                            239 FLICK HILL RD                                                                                            SOMERSET           PA    15501‐6466
RAY SWINGLER                         41 VICAR LN                                                                                                  LEVITTOWN          PA    19054‐1309
RAY SYMONS                           2284 GOSHEN RD                                                                                               SALEM              OH    44460‐9685
RAY T ARDS                           928 OLD RIVER ROAD                                                                                           HARRISVILLE        MS    39082
RAY T BEALS SR                       53 W FAIRMOUNT AVE                                                                                           PONTIAC            MI    48340‐2733
RAY T BOYER                          4829B STURBRIDGE LN                                                                                          LOCKPORT           NY    14094‐3459
RAY T MORELAN                        4201 SAYLOR ST                                                                                               DAYTON             OH    45416‐2025
RAY T WEBBER                         4754 DUNDEE DRIVE                                                                                            BRADENTON          FL    34210
RAY T WHITNEY                        229 ELLER AVE                                                                                                ENGLEWOOD          OH    45322‐1728
RAY TALLEY                           1374 PRATT DR                                                                                                LAPEER             MI    48446‐2933
RAY TAMMY                            RAY, TAMMY                       346 PARK ST STE 200                                                         BIRMINGHAM         MI    48009‐3436
RAY TAMMY                            RAY, DANIEL                      LIBLANG & ASSOCIATES          346 PARK STREET, SUITE 200                    BIRMINGHAM         MI    48009
RAY TANDLER                          2922 FOREST DR                                                                                               BRYANT             AR    72022‐9026
RAY TAYLOR                           535 STEWARDS GLN                                                                                             BIRMINGHAM         AL    35242‐6051
RAY TERRY A (506494)                 DONALDSON & BLACK                208 W WENDOVER AVE                                                          GREENSBORO         NC    27401‐1307
RAY THATCHER                         102 MCGREGOR RD                                                                                              VANDERBILT         MI    49795‐9702
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Name                               Address1                        Address2                       Address3             Address4         City             State Zip
RAY THOMAS                         834 CRANFORD HOLLOW RD                                                                               COLUMBIA          TN 38401‐0903
RAY THOMASON                       P0 BOX 43                                                                                            VANLEER           TN 37181
RAY THOMPSON                       2502 GALAXY LN                                                                                       INDIANAPOLIS      IN 46229‐1124
RAY THOMPSON                       12748 HORAN ST                                                                                       CARLETON          MI 48117‐9186
RAY THORNSBERRY                    54 N PLEASANT AVE                                                                                    NILES             OH 44446‐1135
RAY THRAMS                         531 N. BURROAK RD.                                                                                   COLON             MI 49040
RAY TINDALL                        221 HEMLOCK ST                                                                                       FRANKLIN          OH 45005‐1583
RAY TORRES                         3606 VAGO LN                                                                                         FLORISSANT        MO 63034‐2342
RAY TRENNER                        C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                         CHICAGO            IL 60602
RAY TULLOS                         3271 ELMERS DR                                                                                       SAGINAW           MI 48601‐6916
RAY UITTO                          2060 BRITTAINY OAKS TRL NE                                                                           WARREN            OH 44484‐3956
RAY UNDERWOOD                      1434 RACHAEL LN                                                                                      WATERLOO           IL 62298‐5580
RAY VALDES                         PO BOX 630                      SEMINOLE CO TAX COLLECTOR                                            SANFORD           FL 32772‐0630
RAY VALDEZ MCCHRISTIAN & JEANSPC   5822 CROMO DR                                                                                        EL PASO           TX 79912
RAY VAN JR                         RAY, VAN JR,                    DUE CABALLERO PERRY PRICE &    8201 JEFFERSON HWY                    BATON ROUGE       LA 70809
                                                                   GUIDRY
RAY VAN JR                         RAY, VAN JR                     8201 JEFFERSON HWY                                                   BATON ROUGE       LA   70809‐1623
RAY VARELA
RAY VARSOLONA
RAY VATER                          1 HAWLEY AVE                                                                                         DANBURY          CT    06810‐5006
RAY VISSER                         1221 W GENEVA DR                                                                                     DEWITT           MI    48820
RAY W FENSTERMAKER                 7101 DRAKE ST LN RD NE                                                                               BURGHILL         OH    44404‐‐ 00
RAY W PAVY                         5611 HOLLYHOCK DRIVE                                                                                 DAYTON           OH    45449‐2915
RAY W WONDERLY                     14890 KIEFER RD                                                                                      GERMANTOWN       OH    45327‐8593
RAY WAGERS                         8440 HEATHER CT                                                                                      FRANKLIN         OH    45005‐3940
RAY WAGNER                         20631 RD E‐16                                                                                        CONTINENTAL      OH    45831
RAY WAGNER                         712 S PLEASANT ST                                                                                    ROYAL OAK        MI    48067‐3110
RAY WALKER                         755 BONITA DR                                                                                        WHITE LAKE       MI    48383‐2822
RAY WALTER                         NIX PATTERSON & ROACH LLP       GM BANKRUPTCY                  205 LINDA DRIVE                       DAINGERFIELD     TX    75638
RAY WALTERS                        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                            HOUSTON          TX    77007
                                   BOUNDAS LLP
RAY WARD                           220 ROSEWOOD AVE                                                                                     YPSILANTI        MI    48198‐5856
RAY WARE                           114 OTHA RD                                                                                          SUMMERTOWN       TN    38483‐7104
RAY WARES                          PO BOX 382                      9520 ASH                                                             NEW LOTHROP      MI    48460‐0382
RAY WASHAM                         1103 COLUMBIA AVE                                                                                    MONTICELLO       KY    42633‐1671
RAY WATKINS                        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                           BOSTON HEIGHTS   OH    44236
RAY WATTERSON                      1110 LOCKWOOD DR                                                                                     LOCKPORT         NY    14094‐7122
RAY WATTS                          1204 MONTGOMERY DR                                                                                   GLEN BURNIE      MD    21061‐4016
RAY WAYMAN                         4514 SE 10TH PL                                                                                      CAPE CORAL       FL    33904‐8611
RAY WEAKLAND                       2618 BREEZEWAY ST                                                                                    NORTH BRANCH     MI    48461‐9761
RAY WEAVER                         1040 OVERLOOK CV                                                                                     GREENSBORO       GA    30642‐3283
RAY WEBB                           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                           BOSTON HEIGTS    OH    44236
RAY WEBBER                         4754 DUNDEE DR                                                                                       BRADENTON        FL    34210‐2900
RAY WEIKAL
RAY WELCH                          1429 N CASS LAKE RD                                                                                  WATERFORD        MI    48328‐1319
RAY WELLS                          169 RIDGE DR # X                                                                                     ARCHBOLD         OH    43502
RAY WELLS                          22276 LANGPORT DR                                                                                    BROOKSVILLE      FL    34601‐2713
RAY WEST                           8628 PONTIUS ST NE                                                                                   ALLIANCE         OH    44601‐9791
RAY WEST                           10899 HIGH BLUFFS DR                                                                                 CHEBOYGAN        MI    49721‐9422
RAY WHALEY                         741 WEST MC CELLAN                                                                                   FLINT            MI    48504
RAY WHITE                          276 GRANGER VIEW CIR                                                                                 FRANKLIN         TN    37064‐2972
RAY WHITTLE                        160 KIBBEE RD                                                                                        MCDONOUGH        GA    30252‐3916
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Name                      Address1                       Address2                      Address3          Address4         City            State Zip
RAY WIEGANDS NURERY INC   47747 ROMEO PLANK RD                                                                            MACOMB           MI 48044‐2819
RAY WILCOX                6087 CROWN PT                                                                                   FLINT            MI 48506‐1627
RAY WILCOX                7182 E CARPENTER RD                                                                             DAVISON          MI 48423‐8958
RAY WILCOXSON             6240 DAYTON FARMERSVILLE                                                                        DAYTON           OH 45418‐1614
RAY WILDER                5285 CECELIA ANN AVE                                                                            CLARKSTON        MI 48346‐3909
RAY WILLIAMS              9900 NE 7TH ST                                                                                  MIDWEST CITY     OK 73130‐2723
RAY WILLIAMS              8637 NE 20TH ST                                                                                 OKLAHOMA CITY    OK 73141‐2244
RAY WILLIAMS              712 TRAVERS CIR                                                                                 MISHAWAKA        IN 46545‐3770
RAY WILLIAMS              9927 WEST CO. ROAD 725 NORTH                                                                    OSGOOD           IN 47037
RAY WILLIAMS              3968 E 700 N                                                                                    WHITELAND        IN 46184‐9413
RAY WILLIAMS              470 WILLOWOOD DR E                                                                              MANSFIELD        OH 44906‐1769
RAY WILLIS                NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                    DAINGERFIELD     TX 75638
RAY WILSON                110 WILKINS DR                                                                                  MONROE           LA 71202‐7224
RAY WILSON                1519 COUNTY ROAD 7                                                                              DELTA            OH 43515‐9435
RAY WILSON                110 WILKINS DRIVE                                                                               MONROE           LA 71202‐7224
RAY WILSON JR             1811 SCHOOLCRAFT ST                                                                             HOLT             MI 48842‐1725
RAY WILSON JR
RAY WILT                  531 SEXTON ST                                                                                   STRUTHERS       OH   44471‐1148
RAY WINNINGHAM            1500 RUSTIC RIDGE RD                                                                            CANTON          MI   48188‐1247
RAY WIRTA                 8490 WILLARD RD                                                                                 MILLINGTON      MI   48746‐9110
RAY WITTE                 1846 LAREDO DR                                                                                  HAMILTON        OH   45013‐1893
RAY WOHLFARTH
RAY WONDERLY              14890 KIEFER RD                                                                                 GERMANTOWN      OH   45327‐8593
RAY WOOD JR               1605 MARLOW RD                                                                                  MAYSVILLE       GA   30558‐3138
RAY WOODS                 1460 CLARKS CREEK RD                                                                            HENDERSON       TN   38340‐3410
RAY WOOLDRIDGE            121 S RIDGE RD                                                                                  TROY            MO   63379‐6345
RAY WOOLDRIDGE            2720 MCAFEE RD                                                                                  HILLSBORO       OH   45133‐7278
RAY WOZNIAK               328 LOCKWOOD ST                                                                                 ALPENA          MI   49707‐2544
RAY WRIGHT                4644 CRAMPTON WAY                                                                               HOLT            MI   48842‐1572
RAY WYMAN R (494123)      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK         VA   23510
                                                         STREET, SUITE 600
RAY YEARY                 179 RUBY LN                                                                                     LA FOLLETTE     TN   37766‐5172
RAY YOUNAN                2639 N PARISH PL                                                                                BURBANK         CA   91504‐1606
RAY YOUNG                 295 WASHINGTON RD                                                                               GROSSE POINTE   MI   48230‐1613
RAY YOUNG JR              407 HALEY CT                                                                                    LAINGSBURG      MI   48848‐8816
RAY'S AUTO CARE           4071 2ND ST                                                                                     YORBA LINDA     CA   92886‐1818
RAY'S AUTO CENTER         5445 STEILACOOM BLVD SW                                                                         LAKEWOOD        WA   98499‐3122
RAY'S AUTO SERVICE, INC   1457 BROADWAY                                                                                   HAVERHILL       MA   01832‐1051
RAY'S AUTOMOTIVE CENTER   3060 CENTRAL AVE                                                                                COLUMBUS        IN   47203‐2239
RAY'S DRIVE IN            ATTN: STEVE WADDELL            1900 N COURTLAND AVE                                             KOKOMO          IN   46901‐2136
RAY'S GARAGE              N113 COUNTY ROAD 17D                                                                            OKOLONA         OH   43545
RAY'S TIRE SERVICE        1903 CYPRESS ST                                                                                 WEST MONROE     LA   71291‐2614
RAY'S TRUCK SERVICE       727 E PACIFIC AVE                                                                               SPOKANE         WA   99202‐2229
RAY, ALAN J               11428 BRIARCLIFF DR                                                                             WARREN          MI   48093‐2578
RAY, ALAN N               19329 SIDANI LN                                                                                 SAUGUS          CA   91350‐3221
RAY, ALBERT H             4270 MONTMORENCY STREET                                                                         LEWISTON        MI   49756‐8606
RAY, ALBERT W             4825 AMESBOROUGH RD                                                                             DAYTON          OH   45420‐3353
RAY, ALFRED T             APT 106                        4044 SARA DRIVE                                                  UNIONTOWN       OH   44685‐8163
RAY, ALICE L              1020 E SUMMIT ST                                                                                ALLIANCE        OH   44601‐3222
RAY, ALICE L              4809 S COUNTY ROAD 750 E                                                                        FILLMORE        IN   46128‐9437
RAY, ALICE L              1020 E SUMMIT                                                                                   ALLIANCE        OH   44601
RAY, ALOKE K              26239 SE 162ND PL                                                                               ISSAQUAH        WA   98027‐8237
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Name                Address1                      Address2                         Address3   Address4         City               State Zip
RAY, ALOKE KUMAR    26239 SE 162ND PL                                                                          ISSAQUAH            WA 98027
RAY, ALTON W        PO BOX 218                                                                                 CHINA SPRING        TX 76633‐0218
RAY, AMBER          19331 55TH AVE NE                                                                          LAKE FOREST PARK    WA 98155‐3103
RAY, ANGELINE C     5947 EVERETT HULL ROAD                                                                     FOWLER              OH 44418‐9750
RAY, ANTHONY        1207 CRESTVIEW DR                                                                          TUSCOLA              IL 61953‐2106
RAY, ANTIONETTEE    7113 LINWOOD AVE                                                                           CLEVELAND           OH 44103
RAY, ARTHUR J       911 N VERLINDEN AVE                                                                        LANSING             MI 48915‐1373
RAY, ARTURO F       413 W WITHERBEE ST                                                                         FLINT               MI 48503‐1083
RAY, AURELIA        16820 GERARD AVE                                                                           MAPLE HEIGHTS       OH 44137‐3329
RAY, BARBARA F      140 ST RT 503                                                                              ARCANUM             OH 45304‐9459
RAY, BARBARA F      140 STATE ROUTE 503                                                                        ARCANUM             OH 45304‐9459
RAY, BARBARA W      8615 MOSEY MNR                                                                             INDIANAPOLIS        IN 46231‐2526
RAY, BEN D          210 MORNING DOVE LN                                                                        SUWANEE             GA 30024‐6075
RAY, BERNARD E      6083 S 425 W                                                                               PENDLETON           IN 46064‐9617
RAY, BERNARD EARL   6083 S 425 W                                                                               PENDLETON           IN 46064‐9617
RAY, BERTHA L       1007 WEST WASHINGTON STREET                                                                ATHENS              AL 35611‐2356
RAY, BETTY J        213 CLAIBORNE RD.                                                                          LAFOLLETTE          TN 37766‐8007
RAY, BETTY J        6105 RAPID RUN                                                                             CINCINNATI          OH 45233‐4550
RAY, BETTY J        3525 GREYSTONE DR                                                                          SPRING HILL         TN 37174‐2195
RAY, BETTY JO       6143 SUL ROSS LN                                                                           DALLAS              TX 75214‐2133
RAY, BETTY M        149 S FAIRFIELD RD                                                                         DAYTON              OH 45440‐3622
RAY, BEVERLY A      602 WILKERSON                                                                              HUNTINGTON          IN 46750‐2346
RAY, BILL J         11827 PINE TIMBER LN                                                                       FORT MYERS          FL 33913‐8631
RAY, BILLIE E       2247 SAFFORD AVE                                                                           COLUMBUS            OH 43223‐1732
RAY, BILLY          880 RYAN RD                                                                                MEDINA              OH 44256‐2440
RAY, BILLY J        5105 N MILES RD                                                                            STANTON             MI 48888
RAY, BILLY JOE      SKAGGS JOHN H                 405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON          WV 25301
RAY, BOBBIE         622 N OAKLEY ST                                                                            SAGINAW             MI 48602‐4579
RAY, BOBBIE C       9375 E COLE RD                                                                             DURAND              MI 48429‐9479
RAY, BOBBY          2192 GARLAND ST                                                                            DETROIT             MI 48214‐3154
RAY, BOBBY G        2115 COUNTY ROAD 1210                                                                      ARLINGTON           KY 42021‐9047
RAY, BOBBY J        11705 FRANCIS AVE                                                                          PLYMOUTH            MI 48170‐4411
RAY, BOBBY JOE      11705 FRANCIS AVE                                                                          PLYMOUTH            MI 48170‐4411
RAY, BONNIE W       970 WOODWINDS DR                                                                           COOKEVILLE          TN 38501‐4084
RAY, BORAH          704 BISHOPSGATE RD                                                                         ANTIOCH             TN 37013‐1778
RAY, BRENDA J       19931 NORWOOD ST                                                                           DETROIT             MI 48234‐1823
RAY, BRUCE B        4474 BARNOR DR                                                                             INDIANAPOLIS        IN 46226‐3512
RAY, BRUCE W        304 19TH ST                                                                                BEDFORD             IN 47421‐4412
RAY, C L            4285 BOXWOOD TRL                                                                           ELLENWOOD           GA 30294‐6517
RAY, CARLAN J       1122 PINEHURST AVE                                                                         FLINT               MI 48507‐2338
RAY, CAROL          821 NEUBERT AVE                                                                            FLINT               MI 48507‐1720
RAY, CAROL A        821 NEUBERT AVE                                                                            FLINT               MI 48507‐1720
RAY, CAROLINE A     3519 17TH ST CT EAST                                                                       BRADENTON           FL 34208‐4711
RAY, CAROLINE M     2480 EMMONS AVE                                                                            ROCHESTER HLS       MI 48307‐4713
RAY, CAROLYN        2245 WISTERIA DR                                                                           SNELLVILLE          GA 30078‐2655
RAY, CAROLYN        230 VIEW LN                                                                                MOREHEAD            KY 40351‐9433
RAY, CAROLYN        230 VIEW LANE                                                                              MOREHEAD            KY 40351‐9433
RAY, CAROLYN S      10966 WOLF PEN GAP ROAD                                                                    SUCHES              GA 30572‐2307
RAY, CECELIA        4544 ALURA                                                                                 SAGINAW             MI 48604‐1032
RAY, CEDRIC         SHANNON LAW FIRM              100 W GALLATIN ST                                            HAZLEHURST          MS 39083‐3007
RAY, CHARLENE C     1616 STEADMAN RD                                                                           TALLAPOOSA          GA 30176‐2233
RAY, CHARLES D      9015 34TH AVE E                                                                            PALMETTO            FL 34221‐1669
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Name                 Address1                        Address2                      Address3   Address4         City           State Zip
RAY, CHARLES D       330 S HUDSON ST                                                                           WESTMONT         IL 60559‐1914
RAY, CHARLES E       45 STATE ROUTE 808                                                                        CLINTON         KY 42031‐8824
RAY, CHARLES E       PO BOX 172118                                                                             KANSAS CITY     KS 66117‐1118
RAY, CHARLES E       PO BOX 430196                                                                             PONTIAC         MI 48343‐0196
RAY, CHARLES E       414 N 18TH ST                                                                             KANSAS CITY     KS 66102
RAY, CHARLES G       3529 SWARTHMORE CT                                                                        MURFREESBORO    TN 37128‐4773
RAY, CHARLES P       5621 DELMAR BLVD APT 608                                                                  SAINT LOUIS     MO 63112‐2657
RAY, CHARLES W       1721 N ST                                                                                 BEDFORD         IN 47421‐4113
RAY, CHARLEY W       1905 WARTENBURG ST                                                                        SAGINAW         MI 48601‐6042
RAY, CHARLINE T      179 DELANO DR                                                                             JACKSON         MS 39209‐2114
RAY, CHARLOTTE A     5817 MONTICELLO DR NW                                                                     CONCORD         NC 28027‐8897
RAY, CHESTER         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                     STREET, SUITE 600
RAY, CHRIS M         1290 LAKE LOGAN RD                                                                        ARDMORE        TN    38449‐5237
RAY, CHRISTINE L     5225 KESWICK LANE                                                                         FORT WAYNE     IN    46835‐4934
RAY, CHRISTINE L     5225 KESWICK LN                                                                           FORT WAYNE     IN    46835
RAY, CHRISTINE P     4918 PALMER                                                                               LANSING        MI    48910‐5331
RAY, CHRISTINE P     4918 PALMER ST                                                                            LANSING        MI    48910‐5331
RAY, CHRISTOPHER A   2224 HIGH WHEEL DRIVE APARTME                                                             XENIA          OH    45385‐5385
RAY, CHRISTOPHER A   3580 STERLING PARK CIR                                                                    GROVE CITY     OH    43123‐3974
RAY, CLAYTON W       29550 GRANDON ST                                                                          LIVONIA        MI    48150‐4067
RAY, CLIFFORD L      929 PRIMROSE CT                                                                           HENDERSON      NV    89011‐3066
RAY, CLINTON L       290 ATHENS DR                                                                             AUSTINTOWN     OH    44515‐4159
RAY, CLYDE E         9104 FIREBIRD DR                                                                          LAS VEGAS      NV    89134‐8502
RAY, COLLEEN R       209 MAPLEWOOD CT UNIT 7                                                                   SOUTH LYON     MI    48178‐1863
RAY, CORNELIA        4355 S LINDEN RD                                                                          FLINT          MI    48507‐2909
RAY, CRAIG S         G9070 N SAGINAW APT 506                                                                   MOUNT MORRIS   MI    48458
RAY, CURTIS L        1140 CHERINGTON DR                                                                        GALION         OH    44833‐1003
RAY, DALE E          9828 LANE ST                                                                              DENVER         CO    80260‐8032
RAY, DALE W          4801 STEWARD RD                                                                           HINSDALE       NY    14743‐9807
RAY, DALILA K        3525 GREYSTONE DR                                                                         SPRING HILL    TN    37174‐2195
RAY, DANIEL          LIBLANG & ASSOCIATES            346 PARK ST STE 200                                       BIRMINGHAM     MI    48009‐3436
RAY, DANIEL L        4003 CNTY HWY M                                                                           EDGERTON       WI    53534
RAY, DANIEL W        1001 BIRCHWAY CT                                                                          SOUTH LYON     MI    48178‐2520
RAY, DANNY R         6862 WRIGHT CT                                                                            ARVADA         CO    80004
RAY, DARLENE         1625 N 74TH CT                                                                            KANSAS CITY    KS    66112‐2294
RAY, DARRIN J        3121 KETZLER DR                                                                           FLINT          MI    48507‐1223
RAY, DARRYL          103 REDBUD DR                                                                             SHELBYVILLE    TN    37160‐4346
RAY, DARYL D         855 ASHAR AVE                                                                             WHITEFISH      MT    59937‐2867
RAY, DAVID           2224 SAGINAW RD SE                                                                        GRAND RAPIDS   MI    49506
RAY, DAVID A         26 S UNIONVILLE RD                                                                        BAY PORT       MI    48720‐9652
RAY, DAVID ARTHUR    26 S UNIONVILLE RD                                                                        BAY PORT       MI    48720‐9652
RAY, DAVID B         21456 E CHIPMUNK TRL                                                                      WOODHAVEN      MI    48183‐5213
RAY, DAVID F         5900 LYNWOOD DR                                                                           OAK LAWN        IL   60453‐1520
RAY, DAVID L         1507 SPRUCE CIR                                                                           ALBERTVILLE    AL    35950
RAY, DAVID L         117 CONTINENTAL DR                                                                        LOCKPORT       NY    14094‐5223
RAY, DEBORAH A       317 MAY POST OFFICE ROAD                                                                  STRASBURG      PA    17579‐9506
RAY, DEBORAH L       704 BISHOPSGATE RD                                                                        ANTIOCH        TN    37013‐1778
RAY, DELORES Y       1522 MEADOWBROOK AVE                                                                      YOUNGSTOWN     OH    44514‐1157
RAY, DELOYE          132 JOHNSON RD                                                                            COOKEVILLE     TN    38506‐9057
RAY, DENICE Y        5301 FISCHER ROAD                                                                         CLARKSVILLE    OH    45113‐9636
RAY, DENICE Y        5301 FISCHER RD                                                                           CLARKSVILLE    OH    45113‐5113
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Name               Address1                         Address2               Address3     Address4         City             State Zip
RAY, DENNIS
RAY, DENNIS L      3594 JONATHON DR                                                                      BEAVERCREEK      OH    45434‐5914
RAY, DENNIS R      1585 LINDBERGH ST                                                                     WYANDOTTE        MI    48192‐3727
RAY, DIANE         9375 E COLE RD                                                                        DURAND           MI    48429‐9479
RAY, DON A         11991 N IONIA RD                                                                      SUNFIELD         MI    48890‐9701
RAY, DONALD        158 BARRE DR NW                                                                       PORT CHARLOTTE   FL    33952‐8020
RAY, DONALD E      80571 AVENIDA CAMARILLO                                                               INDIO            CA    92203‐7521
RAY, DONALD E      23724 STATE LINE RD                                                                   LAWRENCEBURG     IN    47025‐9132
RAY, DONALD E      1518 GOETZ BLVD                                                                       JOPLIN           MO    64801‐1440
RAY, DONALD G      541 W MARLIN CT                                                                       TERRYTOWN        LA    70056‐2851
RAY, DONALD H      1525 KNOB HL                                                                          COMMERCE TWP     MI    48382‐1919
RAY, DONALD L      15329 DRAKE ST                                                                        SOUTHGATE        MI    48195‐3249
RAY, DONALD L      1415 GRAM ST                                                                          BURTON           MI    48529
RAY, DONALD L      WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                      NEW YORK         NY    10038
RAY, DONNA L       117 CONTINENTAL DR                                                                    LOCKPORT         NY    14094‐5223
RAY, DORIS A       PO BOX 44                                                                             ERICK            OK    73645‐0044
RAY, DORIS J       4946 W 24TH ST                                                                        SPEEDWAY         IN    46224‐5112
RAY, DORIS J       REGENCY HEALTHCARE CENTER        12575 S TELEGRAPH RD                                 TAYLOR           MI    48180
RAY, DORIS O       4557 SCOTT RD                                                                         CHAMBERSBURG     PA    17202‐8271
RAY, DORIS O       4557 SCOTT ROAD                                                                       CHAMBERSBURG     PA    17202
RAY, DOROTHY L     150 HIGHLAND AVENUE                                                                   ROCHESTER        NY    14620‐3024
RAY, DOUGLAS C     3195 US HIGHWAY 20 W                                                                  LINDSEY          OH    43442‐9502
RAY, DWIGHT A      61 OLIVIA ST                                                                          TRINITY          AL    35673
RAY, E D           11037 RENE ST                                                                         LENEXA           KS    66215‐2039
RAY, EARL A        2235 MANHATTAN AVE                                                                    INDIANAPOLIS     IN    46241‐5002
RAY, EARL E        6800 HICKORY RIDGE RD                                                                 HOLLY            MI    48442‐9122
RAY, EARL J        5691 LAKE GROVE DR                                                                    WHITE LAKE       MI    48383‐1223
RAY, EARL R        526 OLD FOREST WAY RD                                                                 PANAMA CITY      FL    32404‐8619
RAY, EARNEST E     6860 FISH LAKE RD                                                                     NORTH BRANCH     MI    48461‐8714
RAY, EDDIE L       6432 N CHERRYTREE TER                                                                 HERNANDO         FL    34442‐2208
RAY, EDDIE L       PO BOX 748                                                                            PORTLAND         TN    37148‐0748
RAY, EDNA A        5521 N INDEPENDENCE, APT. 109N                                                        OKLAHOMA CITY    OK    73112
RAY, EDNA L        360 JAMES AVE APT B‐8                                                                 MANSFIELD        OH    44907
RAY, EDNA S        3110 LOCKPORT OLCOTT RD                                                               NEWFANE          NY    14108‐9603
RAY, EDWARD        1522 MEADOWBROOK AVE                                                                  YOUNGSTOWN       OH    44514‐1157
RAY, EDWARD B      11141 MULLIGAN ST                                                                     CINCINNATI       OH    45241‐2625
RAY, EDWARD W      8342 WHITEHORN LN                                                                     FENTON           MI    48430‐8383
RAY, EDWIN F       2729 BENAVIDES DR                                                                     LADY LAKE        FL    32162‐0043
RAY, EDWINA M      23240 MAPLERIDGE DR                                                                   SOUTHFIELD       MI    48075‐3341
RAY, ELIZABATH     704 BISHOPSGATE RD                                                                    ANTIOCH          TN    37013‐1778
RAY, ELIZABETH     704 BISHOPS GATE RD                                                                   ANTIOCH          TN    37013
RAY, ELIZABETH J   502 PINE                                                                              CUBA             MO    65453‐1623
RAY, ELIZABETH R   8501 ROSELAWN ST                                                                      DETROIT          MI    48204‐3260
RAY, ELLA          7732 WYKES                                                                            DETROIT          MI    48210‐1026
RAY, ELROY
RAY, ERIN L        108 HARRIET AVE                                                                       LANSING          MI    48917‐3426
RAY, ERIN LEIGH    108 HARRIET AVE                                                                       LANSING          MI    48917‐3426
RAY, ERNEST K      570 BUCKEYE LN                                                                        NAPOLEON         OH    43545‐2327
RAY, ETHEL J       33787 ORBAN DR                                                                        STERLING HTS     MI    48310‐6354
RAY, ETTA          2816 CEDAR WOOD DR                                                                    FRISCO           TX    75034‐4714
RAY, EVA L         2170 AMERICUS BLVD                                                                    CLEARWATER       FL    34623
RAY, FARLEY G      717 W BRICKLEY AVE                                                                    HAZEL PARK       MI    48030‐1039
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Name               Address1                       Address2                         Address3   Address4         City             State Zip
RAY, FLORA         725 CHAVERS RD                                                                              ALBERTVILLE       AL 35951
RAY, FRANCES L     2288 STATE ROUTE 132                                                                        GOSHEN            OH 45122‐9714
RAY, FRANCES M     5623 CARROLL LAKE RD                                                                        COMMERCE TWP      MI 48382‐3123
RAY, FRANCIS E     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                  STREET, SUITE 600
RAY, FRANK         PO BOX 4853                                                                                 JOPLIN           MO   64803‐4853
RAY, FREDERICK E   1196 ASHWORTH ST NE                                                                         HARTSELLE        AL   35640‐1657
RAY, GARY A        8055 BENSON RD                                                                              MOUNT MORRIS     MI   48458
RAY, GARY M        4231 CHARTER OAK DR                                                                         FLINT            MI   48507‐5511
RAY, GARY R        23790 KNIGHT RD                                                                             HILLMAN          MI   49746‐8790
RAY, GENEVIEVE L   2 EGGERS AVE                                                                                BELLE VERNON     PA   15012‐1312
RAY, GEORGE C      1957 NELAWOOD RD                                                                            EAST CLEVELAND   OH   44112‐2213
RAY, GEORGE E      10 STONEYSIDE LN                                                                            SAINT LOUIS      MO   63132‐4122
RAY, GEORGE O      8915 CAIN DR NE                                                                             WARREN           OH   44484‐1704
RAY, GERALD L      5943 THORNTON RD                                                                            OSCODA           MI   48750‐9276
RAY, GERALD T      2021 HOWE RD                                                                                BURTON           MI   48519‐1125
RAY, GLADYS J      5961 CARDINAL CT                                                                            PITSBORO         IN   46167‐9316
RAY, GLEN          COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                               CHICAGO          IL   60602
                                                  FLOOR
RAY, GLEN E        2224 HIGH WHEEL DRIVE          APT 214                                                      XENIA            OH   45385‐5385
RAY, GLEN E        2224 HIGH WHEEL DR APT 214                                                                  XENIA            OH   45385‐5387
RAY, GLENN A       PO BOX 357                                                                                  BROWNSVILLE      KY   42210‐0357
RAY, GLORIA J      414 OAKWOOD RD                                                                              JONESVILLE       SC   29353‐3306
RAY, GLORIA J      4228 BREEZEWOOD                                                                             DAYTON           OH   45406‐1312
RAY, GLORIA L      218 N MYRA STREET                                                                           WORTHINGTON      IN   47471‐1007
RAY, GLORIA L      218 N MYRA ST                                                                               WORTHINGTON      IN   47471‐1007
RAY, GORDON B      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510‐2212
                                                  STREET, SUITE 600
RAY, GORDON W      429 COUNTY ROAD 227                                                                         MOULTON          AL   35650‐6474
RAY, GREGORY T     13617 W COUNTY ROAD 400 N                                                                   QUINCY           IN   47456‐9475
RAY, HARLEY B      1026 NUTANA BLVD                                                                            MOUNT MORRIS     MI   48458‐2121
RAY, HARLEY L      PO BOX 9195                                                                                 WICHITA FALLS    TX   76308
RAY, HAROLD G      5409 INZA CT                                                                                ANDERSON         IN   46011‐1415
RAY, HAROLD J      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510‐2212
                                                  STREET, SUITE 600
RAY, HAROLD L      9290 S LINCOLN RD                                                                           SHEPHERD         MI   48883‐9524
RAY, HAROLD W      3207 LINDA LANE                                                                             CANYON           TX   79015‐4803
RAY, HATTIE MAE    5042 WAKEFIELD                                                                              SAGINAW          MI   48601‐9460
RAY, HELEN J       29 SPARROW HILL DR                                                                          ORION            MI   48359‐1851
RAY, HELEN J       11725 ASBURY PARK                                                                           DETROIT          MI   48227‐1182
RAY, HELEN L       PO BOX 168                                                                                  BOURBON          MO   65441‐0168
RAY, HELEN L       BOX 168                                                                                     BOURBON          MO   65441‐0168
RAY, HELEN M       46528 MORNINGTON RD                                                                         CANTON           MI   48188‐3012
RAY, HENRY A       128 HENRY RAY RD                                                                            VILLA RICA       GA   30180‐4257
RAY, HENRY L       14439 SPRING GARDEN ST                                                                      DETROIT          MI   48205‐3514
RAY, HOWARD A      103 MAPLE AVE APT 4                                                                         GREENVILLE       PA   16125‐7915
RAY, HOWARD O      8218 MAYBURN BARCLAY RD                                                                     KINSMAN          OH   44428‐9722
RAY, HOWELL M      7093 BRAUN DR                                                                               HOWELL           MI   48843‐8164
RAY, INA M         3038 ELIZABETH ST                                                                           INDIANAPOLIS     IN   46234‐1615
RAY, IRVIN L       41735 CAROUSEL STREET                                                                       NOVI             MI   48377‐2201
RAY, J C           3523 BELVIDERE                                                                              DETROIT          MI   48214
RAY, JACK A        606 MILLER LAKE RD                                                                          COLUMBIAVILLE    MI   48421‐9715
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Name                Address1                       Address2            Address3         Address4         City              State Zip
RAY, JACK ALAN      606 MILLER LAKE RD                                                                   COLUMBIAVILLE      MI 48421‐9715
RAY, JACK E         1561 PR 1337                                                                         MOBERLY            MO 65270
RAY, JACKIE E       1639 E 17TH ST                                                                       ANDERSON           IN 46016‐2108
RAY, JACQUAN        3053 BRIDGE WALK DR                                                                  LAWRENCEVILLE      GA 30044‐5119
RAY, JACQUELINE M   1526 SWEETBRIAR DR                                                                   ELWOOD             IN 46036‐2718
RAY, JAMAR D        1741 MOUNTAIN ASH DR                                                                 WEST BLOOMFIELD    MI 48324‐4004
RAY, JAMES          1359 PRESIDENTS LANDING DR                                                           O FALLON           MO 63366‐8484
RAY, JAMES A        2109 TULANE DR                                                                       LANSING            MI 48912‐3545
RAY, JAMES A        9252 E COUNTY ROAD 800 S                                                             PLAINFIELD         IN 46168‐9121
RAY, JAMES A        7322 WINDEMERE DR                                                                    LOUISVILLE         KY 40214‐4046
RAY, JAMES A        1024 SPRINGMEADOW LN                                                                 TROTWOOD           OH 45426‐4719
RAY, JAMES A        PO BOX 360173                                                                        DECATUR            GA 30036‐0173
RAY, JAMES A        1024 SPRING MEADOW LANE                                                              TROTWOOD           OH 45426‐5426
RAY, JAMES B        4511 DEBRA AVE                                                                       DAYTON             OH 45420‐3307
RAY, JAMES B        5980 VERNON ST                                                                       BELLEVILLE         MI 48111‐5010
RAY, JAMES E        58 ENOLA AVE                                                                         KENMORE            NY 14217‐1708
RAY, JAMES E        2275 BATES RD                                                                        MOUNT MORRIS       MI 48458‐2603
RAY, JAMES E        14628 ARCHDALE ST                                                                    DETROIT            MI 48227‐1444
RAY, JAMES E        205 JOSHLYN RD                                                                       FITZGERALD         GA 31750‐7830
RAY, JAMES G        15035 STERLING OAKS DR                                                               NAPLES             FL 34110‐4106
RAY, JAMES H        7732 WYKES ST                                                                        DETROIT            MI 48210‐1026
RAY, JAMES L        1437 SW 129TH ST                                                                     OKLAHOMA CITY      OK 73170‐6918
RAY, JAMES M        1241 SW 81ST ST                                                                      OKLAHOMA CITY      OK 73139‐2526
RAY, JAMES M        23215 PARK PLACE DR                                                                  SOUTHFIELD         MI 48033‐7113
RAY, JAMES M        10219 TIDEWATER TRL                                                                  FORT WAYNE         IN 46845‐8918
RAY, JAMES R        1317 CHIPPEWA AVE                                                                    AKRON              OH 44305‐2703
RAY, JAMES W        5150 W EPLER AVE                                                                     INDIANAPOLIS       IN 46221‐4200
RAY, JANE C         PO BOX 164                                                                           ANDERSON           IN 46015‐0164
RAY, JANE C         P O BOX 164                                                                          ANDERSON           IN 46015‐0164
RAY, JANICE M       200 HILLTOPPER DR                                                                    BOWLING GREEN      KY 42101‐0513
RAY, JANINE M       2507 JACK PINE CT                                                                    ELGIN              SC 29045‐7100
RAY, JASON D        6224 N DRURY AVE                                                                     KANSAS CITY        MO 64119‐1651
RAY, JEAN           40019 BISHOP DR                                                                      HAMILTON           MS 39746‐9645
RAY, JEAN           C.KENT HANEY                   PO BOX 206                                            CLARKSDALE         MS 38614‐0206
RAY, JEFFERY A      3071 SAINT CLAIR DR                                                                  ROCHESTER HILLS    MI 48309‐3936
RAY, JENNIFER       134 SENIORS WAY                                                                      SENECA             SC 29678‐3580
RAY, JENNIFER       134 SENIOR WAY                                                                       SENECA             SC 29678‐3580
RAY, JERRY B        210 SWEETWATER DR                                                                    FAYETTEVILLE       GA 30214‐7415
RAY, JERRY D        7100 ULMERTON RD LOT 2189                                                            LARGO              FL 33771‐5144
RAY, JERRY E        529 ISBILL RD APT 608                                                                MADISONVILLE       TN 37354‐2100
RAY, JERRY E        1132 VICKSBURG DR                                                                    FESTUS             MO 63028‐3480
RAY, JERRY L        601 NORTON RD                                                                        CORUNNA            MI 48817
RAY, JESSIE I       2242 PARKWAY DR                                                                      DEERFIELD          OH 44411‐9765
RAY, JEWEL M        13768 REFUGEE RD SW                                                                  PATASKALA          OH 43062‐9422
RAY, JIMMIE D       5832 E COLE RD                                                                       BANCROFT           MI 48414‐9412
RAY, JIMMY D        132 BAYSWATER RD                                                                     KILLEN             AL 35645‐8500
RAY, JIMMY L        39 AIRSHIRE PL                                                                       HAZELWOOD          MO 63042‐2705
RAY, JOAN L         165 W FAIRMOUNT AVE                                                                  PONTIAC            MI 48340‐2737
RAY, JOCELYN        6474 HILLANDALE DR                                                                   NORCROSS           GA 30092‐3831
RAY, JOETTA B       6748 CRYSTAL DR                                                                      OLIVE BRANCH       MS 38654‐5176
RAY, JOHN B         4129 CROCUS RD                                                                       WATERFORD          MI 48328‐2111
RAY, JOHN F         3401 N CENTER RD                                                                     FLINT              MI 48506‐2690
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Name                 Address1                          Address2                       Address3   Address4         City              State Zip
RAY, JOHN H          C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                              EDWARDSVILLE        IL 62025
RAY, JOHN L          PO BOX 210426                                                                                AUBURN HILLS       MI 48321‐0425
RAY, JOHNNIE B       3207 LINDA LANE                                                                              CANYON             TX 79015‐4803
RAY, JOHNNIE B       3207 LINDA LN                                                                                CANYON             TX 79015‐4803
RAY, JOHNNIE E       109 NW PARKER DR                                                                             GRAIN VALLEY       MO 64029‐7902
RAY, JOHNNY L        6644 ROYAL PALM BEACH BLVD                                                                   WEST PALM BEACH    FL 33412‐1812
RAY, JOSEPH R        6742 FORREST COMMONS BLVD                                                                    INDIANAPOLIS       IN 46227‐2395
RAY, JOSEPH V        24371 MANZANITA DR                                                                           LAKE FOREST        CA 92630‐3039
RAY, JOYCE A         10 HENRY ST                                                                                  DAYTON             OH 45402‐5402
RAY, JOYCE D         5343 WEST FARRAND ROAD                                                                       CLIO               MI 48420‐8249
RAY, JUANITA MARIE   33 W HIGH TER                                                                                ROCHESTER          NY 14619‐1832
RAY, JUDITH E        4700 PLANK RD                                                                                LOCKPORT           NY 14094‐9761
RAY, KAREN L         3689 E 149TH ST                                                                              CLEVELAND          OH 44120‐4929
RAY, KAREN M         655 RIDGELINE DR.                                                                            HURST              TX 76053
RAY, KATHLEEN L      PO BOX 440                                                                                   FREELAND           MI 48623
RAY, KATHRYN         809 CHRISTOPHER CIRCLE                                                                       ALBERTVILLE        AL 35951‐3703
RAY, KATHRYN A       15223 KENNEBEC ST                                                                            SOUTHGATE          MI 48195‐2035
RAY, KATHRYN M       172 EMS D17 LN                                                                               SYRACUSE           IN 46567‐8091
RAY, KATHRYN M       172 EMS D17 LANE                                                                             SYRACUSE           IN 46567‐8091
RAY, KENNETH A       320 W GENESEE ST                                                                             FLINT              MI 48505‐4038
RAY, KENNETH D       PO BOX 2                                                                                     WELLSTON           MI 49689‐0002
RAY, KENNETH E       712 WINDING WILLOWS                                                                          BOSSIER CITY       LA 71111‐5168
RAY, KENNETH G       6310 ANALII ST                                                                               DIAMONDHEAD        MS 39525‐3958
RAY, KENNETH J       1506 DAKOTA AVE                                                                              FLINT              MI 48506‐2739
RAY, KENNETH J       248 MANLEY RD                                                                                GRIFFIN            GA 30223‐6479
RAY, KENNETH JAMES   248 MANLEY RD                                                                                GRIFFIN            GA 30223‐6479
RAY, KENNETH O       33918 SANDWOOD DR                                                                            WESTLAND           MI 48185‐9404
RAY, LARRY           3031 FLORA AVE                                                                               KANSAS CITY        MO 64109‐1617
RAY, LARRY D         4040 TYRELL RD                                                                               OWOSSO             MI 48867‐9253
RAY, LARRY L         487 N TWIN PINES DR                                                                          LAKE LEELANAU      MI 49653‐9794
RAY, LARRY P         PO BOX 39281                                                                                 INDIANAPOLIS       IN 46239‐0281
RAY, LAVADA M        628 S ILLINOIS AVE                                                                           LITCHFIELD          IL 62056‐2716
RAY, LEBERT          4926 BELLINGHAM DR                                                                           INDIANAPOLIS       IN 46221‐3704
RAY, LEE R           PO BOX 231                                                                                   CULLEN             LA 71021‐0231
RAY, LELILA S        10706 N 675 E                                                                                PENDLETON          IN 46064‐9203
RAY, LENORA S        4411 AMANDA AVE                                                                              NORTH PORT         FL 34286‐6012
RAY, LEON FREEMAN    G PATTERSON KEAHEY PC             ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAMD        AL 35209
                                                       612
RAY, LEONARD         1033 MUDLINE RD                                                                              MAGNOLIA          MS   39652‐4162
RAY, LEONARD W       8100 GEORGETOWN RD                                                                           CAMBRIDGE         OH   43725
RAY, LESTER          282 S MONROE AVE                                                                             COLUMBUS          OH   43205‐1752
RAY, LESTER          1727 BRUSSELS ST 24                                                                          TOLEDO            OH   43613
RAY, LESTER B        1422 HIGHVIEW DR APT H103                                                                    COLUMBIA          TN   38401‐9400
RAY, LILLY GALE      3406 CLARKE RD                                                                               MEMPHIS           TN   38115‐3523
RAY, LILY A          5121 EASTCREEK DR                                                                            ARLINGTON         TX   76018‐0902
RAY, LIONEL E        118 EDGEWOOD DR                                                                              BEDFORD           IN   47421‐3978
RAY, LISA R          428 CIRCLE PT                                                                                CLARKSTON         MI   48348‐1489
RAY, LOIS E          1424 CLINTON ST                                                                              ALGONAC           MI   48001‐1302
RAY, LOIS RUTH       9 S. STEWART                                                                                 DANVILLE          IL   61832‐6243
RAY, LOIS RUTH       9 S STEWART ST                                                                               DANVILLE          IL   61832‐6243
RAY, LONDON B        333 GLENSIDE COURT                                                                           DAYTON            OH   45426‐2700
RAY, LORETTA         201 DASHER CT                                                                                BEAR              DE   19701‐1171
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Name                   Address1                        Address2                Address3     Address4         City               State Zip
RAY, LORETTA L         9632 LENORE                                                                           REDFORD             MI 48239‐1687
RAY, LOUISE            513 E GRACELAWN AVE                                                                   FLINT               MI 48505‐5258
RAY, LOY F             6007 FORESTCREEK CT             C/O MYMA F. HALL                                      ARLINGTON           TX 76016‐1021
RAY, LOYE              395 JUNE CHAPEL RD                                                                    COOKEVILLE          TN 38506‐0785
RAY, LUCY M            195 PROSPECT ST                                                                       PONTIAC             MI 48341‐3037
RAY, LULLER B          1403 COPELAND AVE                                                                     BELOIT              WI 53511‐4607
RAY, LYLA JEAN         600 MARBLETON RD                                                                      UNICOI              TN 37692‐6832
RAY, MABEL             6418 ROSECREST DR               C/O KATHY S BAKER                                     DAYTON              OH 45414‐2836
RAY, MALINDA E         3905 JORDAN RD                                                                        MARTINSVILLE        IN 46151‐8441
RAY, MALINDA E         3905 JORDAN ROAD                                                                      MARTINSVILLE        IN 46151‐8441
RAY, MAMIE             P O BOX 231                                                                           CULLEN              LA 71021‐0231
RAY, MAMIE             PO BOX 231                                                                            CULLEN              LA 71021‐0231
RAY, MANUEL            4995 CIRCLE DR                                                                        LEXINGTON           MI 48450‐9226
RAY, MARCELLUS         20417 STOEPEL ST                                                                      DETROIT             MI 48221‐1353
RAY, MARGARET M        1315 NE 15TH ST                                                                       OKLAHOMA CITY       OK 73117‐2022
RAY, MARGARETE E       14346 SE 15TH ST                                                                      CHOCTAW             OK 73020‐7003
RAY, MARGIE L          3929 RAYWOOD DR                                                                       GRAND PRAIRIE       TX 75052‐6910
RAY, MARGIE LOUISE     3929 RAYWOOD DR                                                                       GRAND PRAIRIE       TX 75052‐6910
RAY, MARJORIE C        APT 319                         14707 NORTHVILLE ROAD                                 PLYMOUTH            MI 48170‐6074
RAY, MARK A            3950 REDFERN DR                                                                       INDIANAPOLIS        IN 46237‐1462
RAY, MARTHA            THOMPSON ROBERT SIMMS           308 N ELM ST                                          TUSKEGEE            AL 36083‐1714
RAY, MARTHA            THOMAS MEANS & GILLIS P.C.      PO BOX 5058                                           MONTGOMERY          AL 36103‐5058
RAY, MARVIN            PO BOX 467                                                                            PIGGOTT             AR 72454‐0467
RAY, MARY              303 GREENFIELD BV                                                                     GRENNVILLE          NC 27834‐1112
RAY, MARY A            18329 FARMINGTON ROAD                                                                 LIVONIA             MI 48152‐3253
RAY, MARY E            210 MORNING DOVE LANE                                                                 SUWANEE             GA 30024‐6075
RAY, MARY E            3379 BEAVER RD                                                                        BAY CITY            MI 48706‐1165
RAY, MARY E.           15335 MULBERRY ST                                                                     SOUTHGATE           MI 48195‐2090
RAY, MARY F            1816 WHITNEY AVE                                                                      NIAGARA FALLS       NY 14301‐1336
RAY, MARY J            45 CONSTANTIA AVE                                                                     DAYTON              OH 45419‐4102
RAY, MARY K            343 S 9TH STREET                                                                      WOOD RIVER           IL 62095‐2095
RAY, MARY T            PO BOX 224                                                                            YARMOUTH PORT       MA 02675
RAY, MARY T            13825 CONQUER HILL RD R                                                               BYESVILLE           OH 43723
RAY, MATTHEW
RAY, MATTHEW           116 PEANUT BUTTER LN                                                                  TYRONE             PA   16686‐2527
RAY, MAYBELLE          2477 RAY RD                                                                           FENTON             MI   48430‐9761
RAY, MELVIN K          6023 BLUE RIBBON RD                                                                   HILLSBORO          OH   45133‐8119
RAY, MELVIN O          6691 OLD GREENHILL RD                                                                 BOWLING GREEN      KY   42103‐9727
RAY, MERRILL C         10034 E CLEMENTS CIR                                                                  LIVONIA            MI   48150‐3276
RAY, MICHAEL A         11242 LORMAN DR                                                                       STERLING HEIGHTS   MI   48312‐4966
RAY, MICHAEL L         1961 MORRIS RD                                                                        LAPEER             MI   48446‐9323
RAY, MICHAEL N         409 ROYAL AVE                                                                         ROYAL OAK          MI   48073‐2538
RAY, MICHAELLYNN F     606 PHILLIPS DR                                                                       ANDERSON           IN   46012‐3834
RAY, MICHAELLYNN FAY   606 PHILLIPS DR                                                                       ANDERSON           IN   46012‐3834
RAY, MICHELE M         9817 LOVEJOY RD                                                                       BYRON              MI   48418‐9536
RAY, MINNIE W          10720 STATE RUTE 295                                                                  GRAND RAPIDS       OH   43522
RAY, N G               26473 S STATE HIGHWAY 47                                                              WARRENTON          MO   63383‐7073
RAY, NANCI K           4156 HUNTERS CIR E                                                                    CANTON             MI   48188‐2347
RAY, NICK              GUY WILLIAM S                   PO BOX 509                                            MCCOMB             MS   39649‐0509
RAY, NORA E            6312 JOHNNIE TER                                                                      OKLAHOMA CITY      OK   73149‐2202
RAY, NORA M            PO BOX 1031                                                                           SOUTH SHORE        KY   41175‐1031
RAY, NORA M            P.O.BOX 1031                                                                          SOUTH SHORE        KY   41175
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Name                   Address1                         Address2                      Address3   Address4         City            State Zip
RAY, NORMA J           1209 N KENWOOD DR                                                                          BROKEN ARROW     OK 74012‐1932
RAY, OLA B             PO BOX 5831                                                                                SAGINAW          MI 48603‐0831
RAY, OLLIE L           PO BOX 631                                                                                 JACKSON          GA 30233‐0013
RAY, OMER              415 CATHERINE AVE                                                                          W CARROLLTON     OH 45449‐1339
RAY, ORMAN A           2692 NE HIGHWAY 70 60                                                                      ARCADIA          FL 34266
RAY, OZELL H           ROUTE 4 BOX 67E                                                                            RUSK             TX 75785‐9488
RAY, PALMER D          1666 OLIVE DR                                                                              MANSFIELD        OH 44906‐1756
RAY, PAMELA D          304 19TH ST                                                                                BEDFORD          IN 47421‐4412
RAY, PAMELA J          1210 DENICE ST                                                                             WESTLAND         MI 48186
RAY, PATRICIA          108 NORTHCREEK TER                                                                         LEWISBURG        OH 45338‐8083
RAY, PATRICIA E        703 BEERY BOULEVARD                                                                        ENGLEWOOD        OH 45322‐2903
RAY, PATRICIA E        703 BEERY BLVD                                                                             ENGLEWOOD        OH 45322‐2903
RAY, PATRICIA M        117 KINGSBROOK DR                                                                          FRANKENMUTH      MI 48734‐1267
RAY, PATRICIA M        2402 KEYSTONE RD                                                                           PARMA            OH 44134‐3025
RAY, PATRICK S         5799 Z. HWY                                                                                BATES CITY       MO 64011
RAY, PAUL              4553 DURANT AVE                                                                            SAINT LOUIS      MO 63115‐1324
RAY, PAUL A            10706 N 675 E                                                                              PENDLETON        IN 46064‐9203
RAY, PAUL D            5343 W FARRAND RD                                                                          CLIO             MI 48420‐8249
RAY, PAUL G            2273 E HIBBARD RD                                                                          OWOSSO           MI 48867‐9709
RAY, PAYONG            20060 NW 125TH AVE                                                                         MICANOPY         FL 32667
RAY, PEGGY J           11026 RIVERSIDE RD                                                                         LEESBURG         FL 34700‐3137
RAY, PHILIP W          703 E 9TH ST                                                                               ANDERSON         IN 46012‐4004
RAY, PHILLIP B         46528 MORNINGTON RD                                                                        CANTON           MI 48188‐3012
RAY, PHILLIP W         20060 NW 125TH AVE RR1                                                                     MICANOPY         FL 32667
RAY, PHYLLIS           702 LEE ST                                                                                 SHIRLEY          IN 47384‐9740
RAY, PHYLLIS           702 LEE ST.                                                                                SHIRLEY          IN 47384
RAY, PHYLLIS A         4650 W M 21                                                                                SAINT JOHNS      MI 48879‐9588
RAY, PRESTON           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                        STREET, SUITE 600
RAY, RALPH A           200 HILLTOPPER DR                                                                          BOWLING GREEN   KY   42101‐0513
RAY, RALPH A           1143 CHAMBERS ST                                                                           TRENTON         NJ   08610
RAY, RALPH D           633 TATTERSHOLL CT                                                                         FORT WAYNE      IN   46804‐3539
RAY, RALPH E           755 BERKLEY DR                                                                             PENSACOLA       FL   32503‐2358
RAY, RANDALL B         112 DONNA LN                                                                               JACKSBORO       TN   37757‐2727
RAY, RANDY P           6035 S TRANSIT RD LOT 305                                                                  LOCKPORT        NY   14094‐6326
RAY, RAYMOND L         PO BOX 785                                                                                 PLAINFIELD      IN   46168‐0785
RAY, REGINA D          69 RUTLEDGE DR                                                                             YOUNGSTOWN      OH   44505‐4921
RAY, RICHARD           4223 LAKECRESS DR W                                                                        SAGINAW         MI   48603‐1681
RAY, RICHARD C         13 W HEMPFIELD DR                                                                          IRWIN           PA   15642‐4526
RAY, RICHARD K         15 CREST RD                                                                                LAFAYETTE       CA   94549‐3351
RAY, RICHARD KENNETH   15 CREST RD                                                                                LAFAYETTE       CA   94549‐3351
RAY, RICKEY L          1136 SHOAL CREEK RD                                                                        DECATUR         AL   35603
RAY, ROBERT            PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON         MS   39206‐5621
RAY, ROBERT A          4817 MCCLINTOCKSBURG RD                                                                    NEWTON FALLS    OH   44444‐9270
RAY, ROBERT E          2115 CROSS WILLOW LN                                                                       INDIANAPOLIS    IN   46239‐8750
RAY, ROBERT G          970 WOODWINDS DR                                                                           COOKEVILLE      TN   38501‐4084
RAY, ROBERT H          8520 GATEWAY CT                                                                            ENGLEWOOD       FL   34224‐7659
RAY, ROBERT H          920 25TH ST                                                                                BEDFORD         IN   47421‐5138
RAY, ROBERT J          2015 MOSBY RD APT F4                                                                       MERIDIAN        MS   39307‐4939
RAY, ROBERT J          168 EAGLES GLEN DR                                                                         FRANKLIN        TN   37067‐4480
RAY, ROBERT M          23680 W MANOR DR                                                                           GENOA           OH   43430‐9761
RAY, ROBERT R          1424 CLINTON ST                                                                            ALGONAC         MI   48001‐1302
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Name                   Address1                         Address2                      Address3   Address4         City              State Zip
RAY, ROBERT R          1728 BAILEY ST                                                                             LANSING            MI 48910‐1745
RAY, ROBERTA G         617 SCENIC VIEW DRIVE                                                                      SUNRISE BEACH      MO 65079‐5227
RAY, ROGER D           15223 SANDERSON RD                                                                         HARVEST            AL 35749‐7041
RAY, ROGER D           23500 RANCH HOUSE TRL                                                                      ATLANTA            MI 49709‐9775
RAY, ROGER F           2191 GINTER RD                                                                             DEFIANCE           OH 43512‐8896
RAY, ROGER W           7040 NW HEIDELBERG RD                                                                      EDMOND             OK 73012‐9306
RAY, ROGER WILLIAM     7040 NW HEIDELBERG RD                                                                      EDMOND             OK 73012‐9306
RAY, ROLAND C          14201 ROSEMONT AVE                                                                         DETROIT            MI 48223‐3553
RAY, RONALD G          PO BOX 201                                                                                 CARSON CITY        MI 48811‐0201
RAY, RONALD J          8525 SORRENTO ST                                                                           DETROIT            MI 48228‐4030
RAY, RONALD L          4232 ELLA BLVD                                                                             HOUSTON            TX 77018‐1088
RAY, RONALD S          414 OAKWOOD RD                                                                             JONESVILLE         SC 29353‐3306
RAY, RONNIE J
RAY, ROSALENE          160 STARK RD                                                                               ROCHESTER HILLS   MI   48307‐3867
RAY, ROSAMOND F        406 WEBSTER AVE                                                                            ROCHESTER         NY   14609‐4708
RAY, ROY               PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON           MS   39206‐5621
RAY, ROY L             2253 MORRISH                                                                               BURTON            MI   48519
RAY, ROY L             2253 MORRISH ST                                                                            BURTON            MI   48519‐1053
RAY, RUBY M            210 SWEETWATER DR                                                                          FAYETTEVILLE      GA   30214‐7415
RAY, RUBY M            1403 DONOVAN ST                                                                            BURTON            MI   48529‐1223
RAY, RUTH              3806 WHEELER RD                                                                            STANDISH          MI   48658
RAY, RUTH F            808 ORCHARD AVE                                                                            AVALON            PA   15202‐2610
RAY, SANDRA K          1323 CHARGENE STREET                                                                       SAINT CHARLES     MO   63301‐2507
RAY, SARA JEAN         603 E RIVER ST                                                                             GRAND LEDGE       MI   48837
RAY, SARAH L           18445 GENTLE BREEZE CT                                                                     HUDSON            FL   34667‐5573
RAY, SHARON K          110 MARSH'S LANE                                                                           ELYRIA            OH   44035
RAY, SHARON L          4613 BRENTWOOD CT                                                                          ZIONSVILLE        IN   46077‐9486
RAY, SHAUNDRA NICOLE   12360 RICHMOND AVE APT 1037                                                                HOUSTON           TX   77082
RAY, SHAWN D           408 W MILL ST                                                                              BUTLER            MO   64730‐1438
RAY, SHAYLOR A         118 SPOKANE DR                                                                             PONTIAC           MI   48341‐1163
RAY, SHAYLOR A         118 SPOKANE                                                                                PONTIAC           MI   48341‐1163
RAY, SHEILA            19930 PREST ST                                                                             DETROIT           MI   48235‐1807
RAY, SHIRLEY M         1431 LAKE VUE DR                                                                           ROAMING SHORES    OH   44085‐9755
RAY, STACY R           145 ISLAND LAKE CRES                                                                       OXFORD            MI   48371‐3649
RAY, STANLEY C         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                        STREET, SUITE 600
RAY, STEVEN H          9742 S GREEN RD                                                                            SHEPHERD          MI   48883‐9531
RAY, STEVEN J          4809 S COUNTY ROAD 750 E                                                                   FILLMORE          IN   46128‐9437
RAY, STUART N          504 AKRON RD                                                                               CAINSVILLE        MO   64632‐9561
RAY, SUSAN A           1234 HARTSTOWN RD                                                                          JAMESTOWN         PA   16134‐9306
RAY, SYLVESTER         4228 BREEZEWOOD AVENUE                                                                     DAYTON            OH   45406‐1312
RAY, SYLVESTER         10939 S MANHATTAN PL                                                                       LOS ANGELES       CA   90047‐4628
RAY, TAMMY             LIBLANG & ASSOCIATES             346 PARK ST STE 200                                       BIRMINGHAM        MI   48009‐3436
RAY, TERRY A           DONALDSON & BLACK                208 W WENDOVER AVE                                        GREENSBORO        NC   27401‐1307
RAY, TERRY L           659 SEVENTH AVE MURRAY MANOR 1                                                             WILMINGTON        DE   19808
RAY, TERRY L           27 WESTON ROAD                                                                             LEESBURG          FL   34748‐7103
RAY, TERRY M           4411 AMANDA AVE                                                                            NORTH PORT        FL   34286‐6012
RAY, THELMA E          C/O JANET DEWLEY                 4270 MONTMORENCY STREET                                   LEWISTON          MI   49756‐8606
RAY, THEODORE          5989 S MOHAWK AVE                                                                          YPSILANTI         MI   48197‐6724
RAY, THERESA           119 ELLINGTON RD                                                                           DAYTON            OH   45431‐1936
RAY, THERESA M         13617 W COUNTY ROAD 400 N                                                                  QUINCY            IN   47456‐9475
RAY, THOMAS            GUY WILLIAM S                    PO BOX 509                                                MCCOMB            MS   39649‐0509
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Name                         Address1                             Address2                      Address3                  Address4         City               State Zip
RAY, THOMAS C                3901 S CORNWELL AVE                                                                                           CLARE               MI 48617‐9745
RAY, THOMAS E                301 BETHEL DR                                                                                                 WOODSTOCK           GA 30189‐5148
RAY, THOMAS M                422 MULFORD AVE                                                                                               DAYTON              OH 45417‐2036
RAY, THURMAN E               12805 WISNER HWY                                                                                              CLINTON             MI 49236‐9731
RAY, TRAVIS S                4817 MCCLINTOCKSBURG RD                                                                                       NEWTON FALLS        OH 44444‐9270
RAY, TROY                    976 ALFORD RD                                                                                                 LITHONIA            GA 30058‐6002
RAY, TUHIN                   DELPHI DELCO ELECTRONICS             BOX 9005 M/S BANGALORE                                                   KOKOMO              IN 46904
RAY, VAN JR                  2865 ELGIN ST                                                                                                 BATON ROUGE         LA 70805‐7308
RAY, VAN JR,                 DUE CABALLERO PERRY PRICE & GUIDRY   8201 JEFFERSON HWY                                                       BATON ROUGE         LA 70809

RAY, VERNETHA                6606 SALLY CT                                                                                                 FLINT              MI   48505‐1935
RAY, VERONICA                609 NINTH AVE                                                                                                 PLEASANT GROVE     AL   35127‐1617
RAY, VERONICA                609 9TH AVE                                                                                                   PLEASANT GROVE     AL   35127‐1617
RAY, VICTOR A                3412 BUCKINGHAM TRL                                                                                           WEST BLOOMFIELD    MI   48323‐2809
RAY, VIRGINIA                165 WOODMONT DR                                                                                               SPARTA             TN   38583‐6636
RAY, WANDA W                 4332 BLUE HERON DR                                                                                            PONTE VEDRA        FL   32082‐3002
RAY, WARREN L                343 SOUTH 9TH STREET                                                                                          WOOD RIVER         IL   62095‐2401
RAY, WILLIAM                 811 CROW                                                                                                      INDEPENDANCE       MO   64056‐1836
RAY, WILLIAM                 811 N CROW AVE                                                                                                INDEPENDENCE       MO   64056‐1836
RAY, WILLIAM B               1050 AGAR RD                                                                                                  CARO               MI   48723‐1022
RAY, WILLIAM D               2896 MAPLE GROVE DR                                                                                           REX                GA   30273‐2357
RAY, WILLIAM E               17210 O CONNOR                                                                                                ALLEN PARK         MI   48101
RAY, WILLIAM E               5310 HEYWOOD RD                                                                                               SANDUSKY           OH   44870‐8310
RAY, WILLIAM F               907 COUNTY STREET 2934                                                                                        TUTTLE             OK   73089‐2433
RAY, WILLIAM G               11204 TECUMSEH CLINTON RD            RD                                                                       CLINTON            MI   49236‐9541
RAY, WILLIAM J               22 GILBERT AVE                                                                                                DAYTON             OH   45403‐2914
RAY, WILLIAM O               48490 DENTON RD APT 304                                                                                       BELLEVILLE         MI   48111‐1965
RAY, WILLIAM O               8730 CASE RD                                                                                                  BROOKLYN           MI   49230‐9430
RAY, WILLIAM P               3847 N COUNTY ROAD 800 W                                                                                      MIDDLETOWN         IN   47356‐9734
RAY, WILLIE D                6312 JOHNNIE TER                                                                                              OKLAHOMA CITY      OK   73149‐2202
RAY, WILLIE J                1411 LAKEVIEW RD                                                                                              CLEVELAND          OH   44112‐4619
RAY, WYMAN R                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
RAY,JON                      736 SAN GRANDE CT                                                                                             GRAND PRAIRIE      TX   75050‐8004
RAY‐A‐MOTIVE                 9844 ARTESIA BLVD                                                                                             BELLFLOWER         CA   90706‐6712
RAY‐ALLEN, DIETTRA V         6105 SILVER ARROWS WAY                                                                                        COLUMBIA           MD   21045‐7411
RAY‐JOHNSON, WAIKIKSE D      1948 CHICAGO BLVD                                                                                             DETROIT            MI   48206‐1737
RAYA, CARMEN G               7601 CALLE REAL                                                                                               GOLETA             CA   93117
RAYA, LOUIS J                2940 HOLLY ST                                                                                                 KANSAS CITY        MO   64108‐3543
RAYA, NORMA A                2940 HOLLY ST                                                                                                 KANSAS CITY        MO   64108‐3543
RAYANA B MARKER              1237 CORRAL LN                                                                                                SOUTH LYON         MI   48178‐5304
RAYANA MARKER                1237 CORRAL LN                                                                                                SOUTH LYON         MI   48178‐5304
RAYANN MASON                 1324 SWEITZER ST LOT D9                                                                                       GREENVILLE         OH   45331‐3303
RAYARAPU, SATISH             45404 CYPRESS CT                                                                                              CANTON             MI   48188‐1091
RAYAS, FRANCISCO J           8001 YARMOUTH AVE                                                                                             RESEDA             CA   91335‐1542
RAYBAUD, EDWARD J            22535 KAUL ST                                                                                                 ST CLAIR SHRS      MI   48081‐2611
RAYBESTOS POWERTRAIN LLC     312 S ST CLAIR ST                                                                                             SULLIVAN           IN   47882‐7497
RAYBESTOS POWERTRAIN LLC     DAVID PERRY                          312 ST CLAIRE ST                                                         WARREN             MI
RAYBESTOS PRODUCTS COMPANY   AL CHOMA                             1204 DARLINGTON AVE           RAYTECH COMPOSITES, INC                    CRAWFORDSVILLE     IN   47933‐1958
RAYBESTOS PRODUCTS COMPANY   AL CHOMA                             RAYTECH COMPOSITES, INC       1204 DARLINGTON AVE                        ERIE               PA   16514
RAYBESTOS/FRMNGTN HL         32255 NORTHWESTERN HWY STE 280                                                                                FARMINGTON HILLS   MI   48334‐1527
RAYBON LIPFORD               11029 WALKER ST                                                                                               GRAND BLANC        MI   48439‐1053
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Name                       Address1                           Address2            Address3         Address4         City                    State Zip
RAYBON WHITE               2725 STILL CREEK DR                                                                      ZIONSVILLE               IN 46077‐1193
RAYBON, ALBERTA S          704 MARSHA DR                                                                            KOKOMO                   IN 46902
RAYBON, ALICE J            700 RALSTON AVE APT 2                                                                    DEFIANCE                 OH 43512‐1567
RAYBON, CATHY R            6011 GROVEGATE LN                                                                        TUCKER                   GA 30084
RAYBON, LEONARD E          325 5TH AVE NW                                                                           DECATUR                  AL 35601
RAYBON, LEONARD E          525 12TH AVE NW                                                                          DECATUR                  AL 35601‐1127
RAYBON, MAMIE              940 WATKINS ST SE                                                                        GRAND RAPIDS             MI 49507‐1347
RAYBORN ALBERT             542 FILDEW AVE                                                                           PONTIAC                  MI 48341‐2631
RAYBORN, ALBERT L          542 FILDEW AVE                                                                           PONTIAC                  MI 48341‐2631
RAYBORN, BARNEY            GUY WILLIAM S                      PO BOX 509                                            MCCOMB                   MS 39649‐0509
RAYBORN, EDDIE E           12631 LANGER AVE                                                                         BATON ROUGE              LA 70814‐7331
RAYBORN, LARRY             GUY WILLIAM S                      PO BOX 509                                            MCCOMB                   MS 39649‐0509
RAYBORN, LORESE            542 FILDEW AVE                                                                           PONTIAC                  MI 48341‐2631
RAYBORN, MARY              121 SOUTHVIEW DR                                                                         MOUNT CARMEL              IL 62863‐1782
RAYBORN, RILEY J           121 SOUTHVIEW DR                                                                         MOUNT CARMEL              IL 62863‐1782
RAYBOURN SASSER            10391 GALE RD                                                                            GOODRICH                 MI 48438‐9046
RAYBUCK III, RICHARD N     6097 BROOKSTONE LN                                                                       GRAND BLANC              MI 48439‐9432
RAYBUCK, ASHVINDER K       6097 BROOKSTONE LN                                                                       GRAND BLANC              MI 48439‐9432
RAYBUCK, JOHN D            132 PRESTWICK DR                                                                         BOARDMAN                 OH 44512‐1015
RAYBUCK, JOHN I            7100 STRUTHERS RD                                                                        POLAND                   OH 44514‐2269
RAYBUCK, JOHN INGLIS       7100 STRUTHERS RD                                                                        POLAND                   OH 44514‐2269
RAYBURG, DOROTHY J         5647 DEARTH RD                                                                           SPRINGBORO               OH 45066‐7773
RAYBURG, PLURIA R          751 GREENLAWN AVENUE                                                                     DAYTON                   OH 45403‐3331
RAYBURG, RYAN T            2194 TAMPICO TRL                                                                         BELLBROOK                OH 45305‐1463
RAYBURN BRITT              PO BOX 302                                                                               STONE MTN                GA 30086‐0302
RAYBURN COOPER             970 STANDLEY RD                                                                          DEFIANCE                 OH 43512‐3635
RAYBURN COPLEY             651 TOTTYS BEND LOOP                                                                     DUCK RIVER               TN 38454‐3621
RAYBURN DIECK              11176 LENNON RD                                                                          SWARTZ CREEK             MI 48473‐8508
RAYBURN E DIECK            11176 LENNON RD                                                                          SWARTZ CREEK             MI 48473‐8508
RAYBURN JOHNSON            6815 RIVER RD                                                                            MUSCLE SHOALS            AL 35661‐4907
RAYBURN JR, JOHN R         147 POND RD                                                                              HONEOYE FALLS            NY 14472‐9352
RAYBURN LEWIS              RAYBURN, LEWIS                     30 E BUTLER AVE                                       AMBLER                   PA 19002‐4514
RAYBURN MASON JR           625 DANIELS ST                                                                           TRUTH OR CONSEQUENCES    NM 87901‐3321

RAYBURN NAIREMORE          12508 SAM SUTTON RD                                                                      COKER                    AL   35452‐4246
RAYBURN NEWTON
RAYBURN RAYMOND (483563)   BILBREY & HYLIA                    8724 PIN OAK RD                                       EDWARDSVILLE            IL    62025‐6822
RAYBURN SHROUT             705 PINEHURST DR                                                                         TIPP CITY               OH    45371‐8605
RAYBURN SIFFORD            3713 N 154TH ST                                                                          BASEHOR                 KS    66007‐9523
RAYBURN, AGNES M           8445 RAE DR                                                                              WESTLAND                MI    48185‐1512
RAYBURN, BARBARA           11254 BROUGHAM DR                                                                        STERLING HTS            MI    48312‐3702
RAYBURN, BETTILEE          1049 SEMINOLE AVE                                                                        WHEELERSBURG            OH    45694‐9383
RAYBURN, CHARLES T         PO BOX 388                                                                               NEW VIENNA              OH    45159‐0388
RAYBURN, EDDIE D           PO BOX 1740                                                                              SEFFNER                 FL    33583‐1740
RAYBURN, JILL D            1890 S ELBA                                                                              LAPEER                  MI    48446‐9787
RAYBURN, JO A              18547 WILLIAMS ST                                                                        LIVONIA                 MI    48152‐2841
RAYBURN, JOHN E            1401 S CLYDE MORRIS BLVD           APT 7                                                 DAYTONA BEACH           FL    32114
RAYBURN, JOHNNY D          1266 STATE HIGHWAY                 1662                                                  OLIVE HILL              KY    41164
RAYBURN, JOSEPH S          81 OAK ST                          P O BOX 85                                            ARAGON                  GA    30104‐2261
RAYBURN, JULIA J           12901 TRACY DR                                                                           OKLAHOMA CITY           OK    73165‐8726
RAYBURN, LINDA J           143 MAIN ST                                                                              MOULTON                 AL    35650
RAYBURN, LINDA J           14811 DENMAR LN                                                                          DANVILLE                IL    61834‐5579
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Name                          Address1                      Address2                   Address3          Address4          City               State Zip
RAYBURN, MARK K               8305 FOREST COVE DR                                                                          SHREVEPORT          LA 71107‐9264
RAYBURN, MARY BETH            18328 DONNELLY AVE                                                                           BROWNSTOWN          MI 48193‐8221
RAYBURN, MICHAEL J            9314 CROCKETT RD                                                                             BRENTWOOD           TN 37027‐8461
RAYBURN, MIRTHA C             157 SAVONA WALK                                                                              LONG BEACH          CA 90803‐4135
RAYBURN, PATSY O              555 LOGGER HEAD LN                                                                           MANY                LA 71449‐7913
RAYBURN, RAYMOND              BILBREY & HYLIA               8724 PIN OAK RD                                                EDWARDSVILLE         IL 62025‐6822
RAYBURN, RITA L               5552 N 100 W                                                                                 PERU                IN 46970‐8246
RAYBURN, ROBERT L             2301 GASLIGHT COURT SW        APT 4                                                          DECATUR             AL 35603
RAYBURN, ROLAND N             2204 19 MILE RD                                                                              BARRYTON            MI 49305‐9729
RAYBURN, TONY L               11984 CHRISTOPHER RD                                                                         ELKMONT             AL 35620‐7746
RAYBURN, WALTER W             5526 CORUNNA RD                                                                              FLINT               MI 48532‐5301
RAYBURN, WILLIAM P            566 GREENCOVE DR                                                                             HOLLY               MI 48442‐8632
RAYCE, JEFFREY S              224 LINDEN AVE                                                                               ROYAL OAK           MI 48073‐3469
RAYCEAN HUNTER                3131 MC COMB ST                                                                              ANN ARBOR           MI 48108‐1832
RAYCHEL, IRENE                24 HEWARD AVE                                                                                BUFFALO             NY 14207‐1411
RAYCHEL, JEROME P             24 HEWARD AVE                                                                                BUFFALO             NY 14207‐1411
RAYCHOK JR, PAUL G            1696 HARTSVILLE TRL                                                                          THE VILLAGES        FL 32162‐2271
RAYCLAN,LTD.                  SS 13 GMDAT                                                                GMDAT BERMUDA
RAYCO CAR SERVICE             8245 E BUTHERUS DR STE 101                                                                   SCOTTSDALE         AZ   85260‐2554
RAYCO MACHINE CO INC          3955 INDUSTRIAL BLVD                                                                         INDIANAPOLIS       IN   46254
RAYCO MACHINE COMPANY INC     3955 INDUSTRIAL BLVD                                                                         INDIANAPOLIS       IN   46254
RAYCO MANUFACTURING INC       5520 BRIDGEWOOD DR                                                                           STERLING HEIGHTS   MI   48310‐2217
RAYCOM MEDIA                  PAUL MCTEAR                   RSA TOWER, 20TH FLOOR      201 MONROE ST                       MONTGOMERY         AL   36104‐3731
RAYCOM MEDIA                  PAUL MCTEAR                   201 MONROE ST FL 20                                            MONTGOMERY         AL   36104‐3601
RAYCON CORP                   2850 S INDUSTRIAL HWY                                                                        ANN ARBOR          MI   48104
RAYCRAFT, BARBARA A           8924 OAK MEADOW DR UNIT 25                                                                   SAGINAW            MI   48609‐5705
RAYCRAFT, KIMBERLY J          265 BARRINGTON CIR                                                                           LANSING            MI   48917‐6832
RAYCRAFT, KIMBERLY JO         265 BARRINGTON CIR                                                                           LANSING            MI   48917‐6832
RAYCRAFT, PAMELA K            10132 MCCABE RD                                                                              BRIGHTON           MI   48116‐8526
RAYDELL EVANS                 725 E LORADO AVE                                                                             FLINT              MI   48505‐2242
RAYDELL MOORE                 PO BOX 51286                                                                                 SPARKS             NV   89435‐1286
RAYE A BROWN                  3425 S DAYTON AVE                                                                            MUNCIE             IN   47302‐5881
RAYE A OHL                    1529 FISHER DR                                                                               HUBBARD            OH   44425‐3304
RAYE ALTA RONNFELDT‐BALFOUR   NIX, PATTERSON & ROACH LLP    GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                     DAINGERFIELD       TX   75638
RAYE BAKER                    2069 E HILL RD                                                                               GRAND BLANC        MI   48439‐5107
RAYE BROWN                    3425 S DAYTON AVE                                                                            MUNCIE             IN   47302‐5881
RAYE EICHELBERGER             10005 SHELBURNE RD                                                                           KELLER             TX   76248‐8525
RAYE GUY                      PO BOX 390                                                                                   UNION              WV   24983‐0390
RAYE HILL                     5142 BIG SKY DR                                                                              ABILENE            TX   79606‐5330
RAYE OHL                      1529 FISHER DR                                                                               HUBBARD            OH   44425‐3304
RAYE SWINEA                   975 GREESON HOLLOW RD                                                                        WAYNESBORO         TN   38485‐4545
RAYE, DELOIS C                816 CLIFTWOOD DR                                                                             SILER CITY         NC   27344‐2302
RAYE, ROXIE                   30245 W 13 MILE RD APT 219                                                                   FARMINGTON HILLS   MI   48334‐2215
RAYE‐REDMOND, SANDRA D        6600 WESTFORD RD                                                                             TROTWOOD           OH   45426‐1125
RAYEBERY GRAY                 4126 MILBOURNE AVE                                                                           FLINT              MI   48504‐3553
RAYED SAEED                   2138 PINE BLUFFS CT                                                                          HIGHLAND           MI   48357‐4328
RAYEL BOOTH                   18611 BARLOW ST                                                                              DETROIT            MI   48205‐2646
RAYES, SIMON                  35677 TINA DR                                                                                STERLING HEIGHTS   MI   48310‐5030
RAYESKE, ALLEN E              9257 S NICHOLSON RD.                                                                         OAK CREEK          WI   53154‐3154
RAYESKE, LOWELL A             9257 S NICHOLSON RD                                                                          OAK CREEK          WI   53154‐4637
RAYESKE, RANDOLPH J           28928 KRAMER DR                                                                              WATERFORD          WI   53185‐3418
RAYETTA S RAE                 3971 BRADLEY BROWNLEE RD.                                                                    CORTLAND           OH   44410
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Name                                 Address1                        Address2                        Address3   Address4         City            State Zip
RAYFEN H BESHEARS                    1752 RUSSET LANE                                                                            SAN MARINO       CA 91108
RAYFIELD HOLBROOK                    20012 KLINGER ST                                                                            DETROIT          MI 48234‐1742
RAYFIELD JAMES                       15415 COUNTY ROAD 137                                                                       SIMLA            CO 80835‐9613
RAYFIELD RICHARDSON                  1730 STONEMORE DR                                                                           DEFIANCE         OH 43512‐3718
RAYFIELD SUSAN                       28026 TOTHILL DR                                                                            SANTA CLARITA    CA 91350‐1853
RAYFIELD TAYLOR III                  911 8TH ST                                                                                  NEWARK           DE 19711‐8724
RAYFIELD TAYLOR JR                   1 COACHLIGHT CT                                                                             NEW CASTLE       DE 19720‐3907
RAYFIELD, BRENDA J                   236 N FLORIDALE AVE                                                                         SAINT LOUIS      MO 63135‐2223
RAYFIELD, BRENDA J                   9539 NW 60TH ST                                                                             PARKVILLE        MO 64152‐3595
RAYFIELD, DANNY J                    700 HOUSER ST                                                                               PARK HILLS       MO 63601‐2286
RAYFIELD, EARL H                     PO BOX 3                                                                                    DES ARC          MO 63636‐0003
RAYFIELD, GLENDAL E                  159 DEVINE RD                                                                               BISMARCK         MO 63624‐8503
RAYFIELD, GORDON                     47 NANCE RD                                                                                 WEST ORANGE      NJ 07052‐1630
RAYFIELD, MARY P                     234 RED HAWK LN                                                                             WINSTON SALEM    NC 27107‐6036
RAYFIELD, RONALD R                   6497 KINSEY RD                                                                              BLOOMSDALE       MO 63627‐9187
RAYFORD BELL JR                      147 OAKLAND CIR                                                                             STOCKBRIDGE      GA 30281‐3894
RAYFORD BENNIE M                     C/O EDWARD O MOODY P A          801 WEST 4TH STREET                                         LITTLE ROCK      AR 72201
RAYFORD BOWLING                      5562 S 350 E                                                                                MIDDLETOWN       IN 47356
RAYFORD BUSHA                        3839 DAVISON RD                                                                             LAPEER           MI 48446‐2806
RAYFORD FRANK (ESTATE OF) (489198)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                     PROFESSIONAL BLDG
RAYFORD GRAY                         801 W PATERSON ST                                                                           FLINT           MI   48504‐7243
RAYFORD HARBAUGH                     5810 MIDDLEBROOK BLVD                                                                       BROOK PARK      OH   44142‐2661
RAYFORD HATHCOCK                     6815 FORESTLAWN CT                                                                          WATERFORD       MI   48327‐1111
RAYFORD HULTZ                        580 S ANGLING PIKE                                                                          HARTFORD CITY   IN   47348‐8825
RAYFORD IRBY                         2200 W DICKERSON ST APT 54                                                                  BOZEMAN         MT   59718‐6808
RAYFORD JOHNSON                      132 PINEHURST DR                                                                            KINGSPORT       TN   37660‐1523
RAYFORD JR, JOE                      8915 SHANONNAIR DR                                                                          SAINT LOUIS     MO   63136
RAYFORD JR., JAMES A                 70 BIRCKHEAD PL                                                                             TOLEDO          OH   43608‐2321
RAYFORD M DENNIS                     RAYFORD M DENNIS IRA ROLLOVER   4008 JUSTIN WAY                                             MACON           GA   31204‐1475
RAYFORD M MAYS                       RT 2 BOX 214                                                                                COLLINSVILLE    AL   35961‐9802
RAYFORD POOLE                        4830 PARKGATE PL APT 35                                                                     SYLVANIA        OH   43560
RAYFORD STEVENS                      23269 PARK PLACE DR                                                                         SOUTHFIELD      MI   48033‐2667
RAYFORD TURNER                       469 PONDER PL APT 102                                                                       NASHVILLE       TN   37228‐1921
RAYFORD, ALICIA                      526 FOREST AVE                                                                              RYE             NY   10580‐3437
RAYFORD, BENNIE M                    C/O MOODY                       801 WEST FOURTH ST                                          LITTLE ROCK     AR   72201
RAYFORD, CELESTE D                   1107 MARTIN DR                                                                              ANDERSON        IN   46012‐4154
RAYFORD, CHARLES EDWARD              SHANNON LAW FIRM                100 W GALLATIN ST                                           HAZLEHURST      MS   39083‐3007
RAYFORD, DAVE                        1162 ECKMAN AVE                                                                             PONTIAC         MI   48342‐1933
RAYFORD, DAVID E                     1345 KUMLER AVENUE                                                                          DAYTON          OH   45406‐5930
RAYFORD, EDDIE L                     1219 DREXEL DR                                                                              ANDERSON        IN   46011‐2440
RAYFORD, EDWARD E                    16519 GREENLAWN ST                                                                          DETROIT         MI   48221‐2936
RAYFORD, ELVIN                       6717 WAGONET RD                                                                             FOREST HILL     TX   76140‐1343
RAYFORD, ERIC B                      28233 E LARKMOOR DR                                                                         SOUTHFIELD      MI   48076‐2415
RAYFORD, ETHEL M                     19790 LAUDER ST                                                                             DETROIT         MI   48235‐1616
RAYFORD, ETHEL M                     19790 LAUDER                                                                                DETROIT         MI   48235‐1616
RAYFORD, EULA M                      10034 ELMIRA STREET                                                                         DETROIT         MI   48204‐2570
RAYFORD, HAZEL R                     3379 FLAT SHOALS RD APT F1                                                                  DECATUR         GA   30034‐1323
RAYFORD, IDA M                       414 SUMMIT ST                                                                               DEFIANCE        OH   43512‐2239
RAYFORD, IDA MAE                     414 SUMMIT ST                                                                               DEFIANCE        OH   43512‐2239
RAYFORD, IRIS B                      827 S JAMES RD APT 7                                                                        COLUMBUS        OH   43227‐1063
RAYFORD, JOE I                       1515 HENDRICKS ST                                                                           ANDERSON        IN   46016‐3430
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Name                        Address1                       Address2                         Address3   Address4         City               State Zip
RAYFORD, JOHNNIE M          10 PARISH WAY                                                                               POOLER              GA 31322‐8224
RAYFORD, JOHNNIE R          GENERAL DELIVERY                                                                            ANDERSON            IN 46011
RAYFORD, KUMASI             499 KENSINGTON DR              APT 241                                                      ROCHESTER HLS       MI 48307‐4067
RAYFORD, KUMASI             499 KENSINGTON DR APT 241                                                                   ROCHESTER HLS       MI 48307‐4067
RAYFORD, LOUIS F            2411 MORTON ST                                                                              ANDERSON            IN 46016‐5072
RAYFORD, MARILYN J          PO BOX 614                                                                                  ANDERSON            IN 46015‐0614
RAYFORD, MARY F             512 CROSSKEYS DRIVE                                                                         CLINTON             MS 39056‐9056
RAYFORD, MICHAEL            1771 NORTHWOOD CIR                                                                          JACKSON             MS 39213‐7818
RAYFORD, NAPOLEON T         3191 BLUEFIELD DR                                                                           COLUMBUS            OH 43207
RAYFORD, NORMAN D           1223 KATHY LN SW                                                                            DECATUR             AL 35601
RAYFORD, PRECIOUS           14013 FAIRMOUNT                                                                             DETROIT             MI 48205‐1269
RAYFORD, RAYMOND E          1210 LOUISE ST                                                                              ANDERSON            IN 46016
RAYFORD, VIRGINIA A         1223 KATHY LN SW                                                                            DECATUR             AL 35601
RAYFORD, WILLIE             19334 FIVE POINT                                                                            DETROIT             MI 48204
RAYFORD, WILLIE C           2539 W 12TH ST                                                                              ANDERSON            IN 46011‐2547
RAYFORD, WILLIE C           1219 DREXEL DR                                                                              ANDERSON            IN 46011‐2440
RAYFORD, WILLIE F           2811 W 34TH ST                                                                              ANDERSON            IN 46011‐4717
RAYFORD‐JONES, STACY L      4214 DELAWARE ST                                                                            ANDERSON            IN 46013‐4342
RAYFUS CHOICE               FOSTER & SEAR, LLP             817 GREENVIEW DRIVE                                          GRAND PRAIRIE       TX 75050
RAYGADA, FRANK              11 HAITI CT                                                                                 TOMS RIVER          NJ 08757‐6448
RAYGEIN ADAMS               1049 CARTER DR                                                                              FLINT               MI 48532‐2713
RAYHAVEN EQUIP CO INC       22122 TELEGRAPH RD                                                                          SOUTHFIELD          MI 48033‐4213
RAYHAVEN GROUP              22122 TELEGRAPH RD                                                                          SOUTHFIELD          MI 48033‐4213
RAYHILL, CLAUDE             339 N 9TH ST                                                                                MITCHELL            IN 47446‐1340
RAYHILL, GERALD R           3500 N DELAWARE ST                                                                          INDEPENDENCE        MO 64050‐1119
RAYHILL, JERRY              919 W WARREN ST                                                                             MITCHELL            IN 47446‐1336
RAYHILL, MICHAEL E          255 TIMBERLINK DR                                                                           GRAND ISLAND        NY 14072
RAYHILL, NANCY S            1 COUNTRY CLUB PL                                                                           WAXAHACHIE          TX 75165‐1623
RAYHILL, TERRY              979 S 9TH ST                                                                                MITCHELL            IN 47446‐5979
RAYHON, EDWARD              KIMMEL & SILVERMAN PC          1930 E MARLTON PIKE SUITE Q29                                CHERRY HILL         NJ 08003
RAYHON, EDWARD J            1203 BEACH BLVD                                                                             SUN CITY CENTER     FL 33573‐5406
RAYIS ARTHUR                RAYIS, ARTHUR                  640 S SAN VICENTE BLVD STE 230                               LOS ANGELES         CA 90048‐4654
RAYKHINSHTEYN, MICHAEL      35110 OAKLAND ST                                                                            FARMINGTON          MI 48335‐3343
RAYKHLINA, MARIA            17437 CEDAR LAKE CIR                                                                        NORTHVILLE          MI 48168‐2296
RAYKOVICH, ROSE M           449 SHADY LN                                                                                WISCONSIN RAPIDS    WI 54494‐6271
RAYL INDUSTRIAL SUPPLY CO   PO BOX 167                                                                                  OXFORD              MI 48371‐0167
RAYL JR, ALLEN B            4356 S SHORE ST                                                                             WATERFORD           MI 48328‐1159
RAYL, BEVERLY J             3090 S COUNTY ROAD 950 W                                                                    DALEVILLE           IN 47334‐9624
RAYL, CLIFFORD R            7817 WHITE PINE WAY                                                                         SANDY               UT 84094‐0256
RAYL, DANIEL L              4804 BROOKHAVEN DR                                                                          KOKOMO              IN 46901‐3608
RAYL, EVERETT M             RR 2 BOX 69A                                                                                VERSAILLES          MO 65084
RAYL, GARY L                327 ELLENHURST DR                                                                           ANDERSON            IN 46012‐3742
RAYL, GAYLE A               2237 NOBLE AVE                                                                              FLINT               MI 48532‐3917
RAYL, HAROLD L              6138 LAKEVIEW LN                                                                            CASS CITY           MI 48726‐9012
RAYL, HEATH E               454 HARTZELL RD                                                                             NORTH BENTON        OH 44449‐9734
RAYL, JAMES R               6215 FENTON RD                                                                              FLINT               MI 48507‐4787
RAYL, JAY E                 PO BOX 263                                                                                  LAINGSBURG          MI 48848‐0263
RAYL, JOAN M                2103 BURNINGTREE DR SE                                                                      DECATUR             AL 35603‐5129
RAYL, LAURIE W              29131 ROSSLYN AVE                                                                           GARDEN CITY         MI 48135‐2769
RAYL, LAVON S               PO BOX 305                                                                                  KOKOMO              IN 46903‐0305
RAYL, LINDA L               4804 BROOKHAVEN DR                                                                          KOKOMO              IN 46901‐3608
RAYL, MARJORIE L            7817 WHITE PINE WAY                                                                         SANDY               UT 84094‐0256
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RAYL, MARK A              3493 975 W                                                                               SHIRLEY             IN 47384
RAYL, MARK ALAN           3493 975 W                                                                               SHIRLEY             IN 47384
RAYL, RANDY P             2237 NOBLE AVE                                                                           FLINT               MI 48532‐3917
RAYL, RONALD D            21268 HIGHWAY W                                                                          BARNETT             MO 65011‐3342
RAYL, RUBY L              128 DOHI AMA LN                                                                          ANDERSON            SC 29624‐6274
RAYL, WILMA S             2915 BURTON DR                                                                           KOKOMO              IN 46902‐3279
RAYLANA S ANDERSON        4102 W HOLLOW TRACE DR                                                                   PEORIA               IL 61615
RAYLAND HOLDING S A       ALICE ROSAS MENDES FRANCO        MMG BLDG 2ND FL                    MARBELLA, CITY OF
                                                                                              PANAMA REPUBLIC OF
                                                                                              PANAMA
RAYLE, ANNA M             RR 2 18704 BOX 80A                                                                       CLOVERDALE         OH   45827‐9802
RAYLE, ASHLEY N           405 N 4TH ST                                                                             CONTINENTAL        OH   45831‐9079
RAYLE, ASHLEY NICOLE      405 N 4TH ST                                                                             CONTINENTAL        OH   45831‐9079
RAYLE, HOWARD C           PO BOX 426                       204 FORREST ST                                          CONTINENTAL        OH   45831‐0426
RAYLE, K. NORBERT         17700 AVALON BLVD SPC 215                                                                CARSON             CA   90746‐0376
RAYLE, KEVIN N            715 S GILBERT ST                                                                         ANAHEIM            CA   92804‐3452
RAYLE, PAULINE M          715 S GILBERT ST                                                                         ANAHEIM            CA   92804‐3452
RAYLE, WILLIAM N          48 ASHWOOD AVE                                                                           DAYTON             OH   45405‐2639
RAYLEAN, CAROL L          4902 KNAPP                                                                               DIMONDALE          MI   48821‐9740
RAYLEAN, CAROL L          4902 KNAPP ST                                                                            DIMONDALE          MI   48821‐9740
RAYLEEN BAUDERS           11059 LANGDON DR                                                                         CLIO               MI   48420‐1541
RAYLEEN HUSTYI            3030 LEXINGTON RD                                                                        WATERFORD          MI   48328‐1619
RAYLENE BALL              11065 E GOODALL RD                                                                       DURAND             MI   48429‐9741
RAYLENE CRADY             600 STATE HIGHWAY 495 LOT 1111                                                           ALAMO              TX   78516‐7007
RAYLES I I, JAMES A       7160 W GLENDALE LN                                                                       GREENFIELD         IN   46140‐9659
RAYLS, ARLENE L           5623 SANDSTONE AVE                                                                       KOKOMO             IN   46901‐8854
RAYLS, DAVID J            5716 PRINCETON DR                                                                        KOKOMO             IN   46902‐5282
RAYLS, DEBORAH S          5716 PRINCETON DR                                                                        KOKOMO             IN   46902‐5282
RAYLS, EDWARD D           5623 SANDSTONE AVE                                                                       KOKOMO             IN   46901‐8854
RAYLS, JAY                7924 MOUNT SHASTA CIR                                                                    LAS VEGAS          NV   89145‐4983
RAYLS, JOE                1528 S 200 E                                                                             KOKOMO             IN   46902‐4125
RAYLS, REBECCA S.         3808 CARMELITA BLVD                                                                      KOKOMO             IN   46902‐4623
RAYLS, TOM E              1952 S STATE ROAD 29                                                                     FLORA              IN   46929‐9296
RAYMA HUGHES              5285 N BEACON DR                                                                         AUSTINTOWN         OH   44515‐4068
RAYMA STONE REESE         333 OLD FORT STREET                                                                      TULLAHOMA          TN   37388‐2942
RAYMAKER JR, THEODORE M   804 W PARISH RD                                                                          KAWKAWLIN          MI   48631‐9780
RAYMAKER JR, WILLIAM A    2656 N HICKORY RD                                                                        OWOSSO             MI   48867‐8830
RAYMAN BAZILIO            9039 NAUTICAL WATCH DR                                                                   INDIANAPOLIS       IN   46236‐9035
RAYMAN JR, MILT W         3128 WAYNE AVE                                                                           DAYTON             OH   45420‐1964
RAYMAN KEVIN              ALLSTATE INSURANCE COMPANY       223 N MONROE ST                                         MEDIA              PA   19063‐3019
RAYMAN KEVIN              RAYMAN, KEVIN                    223 N MONROE ST                                         MEDIA              PA   19063‐3019
RAYMAN, ANTOINETTE S      108 APT A ROYAL OAK DR                                                                   WHITE OAK          PA   15131
RAYMAN, KATHLEEN N        62030 INDIAN TRL                                                                         RAY                MI   48096‐3212
RAYMAN, KEVIN             CRAWFORD STEWART & ASSOC         223 N MONROE ST                                         MEDIA              PA   19063‐3019
RAYMAN, KEVIN             220 RAY RD                                                                               JAMESTOWN          PA   16134‐9510
RAYMAN, SHARON L          1512 PAVEY PL                                                                            XENIA              OH   45385‐1692
RAYMAN, TERRY L           8165 WILLIAMS RD                                                                         DEWITT             MI   48820‐7503
RAYMAND DONALD            27653 W ECHO VLY UNIT 212                                                                FARMINGTON HILLS   MI   48334‐4416
RAYMELL TAYLOR            7385 E SOUTH ST                                                                          NEWTON             IL   62448‐4301
RAYMENT & COLLINS LTD
RAYMENT JR, FRED J        1400 TRENT CT                                                                            CHEYENNE           WY 82009‐4039
RAYMENT, FRANCIS E        1719 LILLIAN DR                                                                          NATIONAL CITY      MI 48748‐9683
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RAYMENT, GARY M             7135 SHERWOOD LN                                                                          DAVISON             MI 48423‐2369
RAYMENT, GARY MAC           7135 SHERWOOD LN                                                                          DAVISON             MI 48423‐2369
RAYMENT, JAMES P            323 SWAMP FOX DR                                                                          FORT MILL           SC 29715‐6701
RAYMENT, VIRGINIA M         1307 N PLANTATION DR                                                                      COOKEVILLE          TN 38506‐6108
RAYMER JR, RUSSELL H        303 W MAIN ST                                                                             DEWITT              MI 48820‐8950
RAYMER KENNETH W (355949)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510
                                                           STREET, SUITE 600
RAYMER ROBIN                DBA RAYMER PLASTERING REPAIR   652 N 8TH AVE                                              CANTON             IL   61520‐2110
RAYMER, CONNIE M            303 W MAIN ST                                                                             DEWITT             MI   48820
RAYMER, DAVID E             15004 E 51ST ST                                                                           KANSAS CITY        MO   64136‐1142
RAYMER, DONALD D            2194 W RAUCH RD                                                                           TEMPERANCE         MI   48182‐9664
RAYMER, DORIS M             254 ELWELL ST SW                                                                          WYOMING            MI   49548‐4212
RAYMER, FRIEDA L            40671 COUNTY ROAD 103                                                                     CAMPBELL           MO   63933‐7120
RAYMER, FRIEDA L            40671 COUNTY RD 103                                                                       CAMPBELL           MO   63933
RAYMER, GEORGE F            16772 BRIDLEPATH                                                                          SPRING LAKE        MI   49456‐2618
RAYMER, GILFORD G           PO BOX 1630                                                                               BRACKETTVILLE      TX   78832‐1630
RAYMER, GLADYS R            707 W RIVERSIDE BLVD           ASTA CARE CENTER OF ROCKFORD                               ROCKFORD           IL   61103‐2125

RAYMER, GLADYS R            ASTA CARE CENTER OF ROCKFORD   707 WEST RIVERSIDE BLVD.                                   ROCKFORD           IL   61103‐2125
RAYMER, JEFFREY S           164 TROY LN                                                                               HOHENWALD          TN   38462‐4013
RAYMER, JOHN M              6221 N NICHOLSON RD                                                                       FOWLERVILLE        MI   48836‐9671
RAYMER, JUDITH A            652 BENT OAK DR                                                                           LAKE ST LOUIS      MO   63367‐1446
RAYMER, KENNETH W           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                           STREET, SUITE 600
RAYMER, LELAND W            16800 E SALISBURY RD                                                                      INDEPENDENCE       MO   64056‐1740
RAYMER, MARCILLE L          229 DENESE LANE                                                                           AUBURNDALE         FL   33823‐2304
RAYMER, MARCILLE L          229 DENESE LN                                                                             AUBURNDALE         FL   33823‐2304
RAYMER, MARGARET A          1235 BAY HL                                                                               WATERFORD          MI   48327‐1480
RAYMER, MARGARET ANN        1235 BAY HL                                                                               WATERFORD          MI   48327‐1480
RAYMER, MARY F              12100 SEMINOLE BLVD ‐ #133                                                                LARGO              FL   33778‐2818
RAYMER, MONICA M            4803 DUNCKEL RD                                                                           LANSING            MI   48910‐5825
RAYMER, RITCHIE R           61460 HWY H H                                                                             GREEN CITY         MO   63545
RAYMER, RUBY                2607 E OTTAWA ST                                                                          SPRINGFIELD        MO   65804‐2678
RAYMER, RUBY                2507 E OTTAWA ST                                                                          SPRINGFIELD        MO   65804‐2678
RAYMER, RUSSELL H           303 W MAIN ST                                                                             DEWITT             MI   48820‐8950
RAYMER, SHERRILL J          20570 COUNTY RD. 510                                                                      BLOOMFIELD         MO   63825
RAYMER, SHERRILL JEAN       20570 COUNTY ROAD 510                                                                     BLOOMFIELD         MO   63825‐9390
RAYMER, VIRGINIA W          6486 WEST 1100 SOUTH                                                                      FORTVILLE          IN   46040‐9201
RAYMIE WALSH                4685 PINEGROVE AVE                                                                        AUSTINTOWN         OH   44515‐4848
RAYMIE, ROBERT L            4215 ORION PATH                                                                           LIVERPOOL          NY   13090‐1909
RAYMO DAVID                 712 WILKINS ST W                                                                          STILLWATER         MN   55082‐4460
RAYMO JR, LOUIS J           40868 PROVENCAL CT                                                                        CLINTON TOWNSHIP   MI   48038‐7126
RAYMO, ANGELA M             36851 BLANCHARD BLVD APT 203                                                              FARMINGTON         MI   48335‐2951
RAYMO, CHARLES L            1603 SUNSET ST                                                                            MONROE             MI   48162‐4378
RAYMO, CHARLES S            3054 GRANDVIEW DR                                                                         MONROE             MI   48162‐4400
RAYMO, JAMES L              3677 BLUEBUSH RD                                                                          MONROE             MI   48162‐9449
RAYMO, R                    74 MAPLE ST                                                                               MASSENA            NY   13662
RAYMO, WILLIAM A            3264 STATE HIGHWAY 310                                                                    NORFOLK            NY   13667‐4131
RAYMOMD KHAN                5901 MURFIELD DRIVE                                                                       ROCHESTER HILLS    MI   48306
RAYMON D WATKINS            2005 HARLAN RD                                                                            WAYNESVILLE        OH   45068‐9518
RAYMON FRAZIER              20100 SHOALS CT                                                                           CLINTON TOWNSHIP   MI   48038‐4926
RAYMON H MILLER             2800 TRANSIT RD                                                                           ALBION             NY   14411‐9727
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Name                            Address1                             Address2                       Address3     Address4               City            State Zip
RAYMON JOHNSON                  29070 BEECHNUT ST                                                                                       INKSTER          MI 48141‐1173
RAYMON K BARBER                 1725 HOPEWELL DRIVE                                                                                     DAYTON           OH 45418‐2244
RAYMON KIRK                     PO BOX 432                                                                                              FRENCH LICK      IN 47432‐0432
RAYMON KUTZOR                   THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES              22ND FLOOR                          BALTIMORE        MD 21201

RAYMON LEE COOPER               2000 S OCEAN BLVD APT 101                                                                               DELRAY BEACH    FL   33483
RAYMON M FRAZIER                20100 SHOALS CT                                                                                         CLINTON TWP     MI   48038‐4926
RAYMON MILLER                   2800 TRANSIT RD                                                                                         ALBION          NY   14411‐9727
RAYMON PASHIA                   3205 KENAI CT                                                                                           ARNOLD          MO   63010‐3800
RAYMON ROUSSEAU JR.             41 TREEHAVEN LN                                                                                         ELMA            NY   14059‐9309
RAYMON STEMBRIDGE               1766 FM 2123                                                                                            PARADISE        TX   76073‐2210
RAYMON WATKINS                  2005 HARLAN RD                                                                                          WAYNESVILLE     OH   45068‐9518
RAYMOND
RAYMOND PIORECKI                C/O COONEY AND CONWAY                120 NORTH LASALLE 30TH FLOOR                                       CHICAGO         IL   60602
RAYMOND & DONNA TOTTEN          3448 CURTIS ROAD                                                                                        SYRACUSE        NY   13215
RAYMOND & JUDITH STACHERSKI     TRUSTEES U/A/D 10/27/1997            RAYMOND & JUDITH STACHERSKI    TRUST        2535 BAY VISTA DRIVE   HIGHLAND        MI   48357
RAYMOND & KIVITZ                1125 PLANK RD                                                                                           DUNCANSVILLE    PA   16635‐8406
RAYMOND & MARILYN YEATS JTTEN   47 AQUA MARINE AVE                                                                                      NAPLES          FL   34114
RAYMOND & PROKOP PC             26300 NORTHWESTERN HWY 4TH FL                                                                           SOUTHFIELD      MI   48076
RAYMOND A                       SPEZIALBEFESTIGUNGSELEMENTE          WELTWEIT TEICHSTR 57 D79539                 LORRACH GERMANY
                                                                                                                 GERMANY
RAYMOND A AUSTIN                134 N MERCER AVE                                                                                        SHARPSVILLE     PA   16150‐2211
RAYMOND A BEST                  26064 ROSS ST                                                                                           INKSTER         MI   48141‐3294
RAYMOND A BRADBERRY JR          1036 PINBROOK DR                                                                                        LAWRENCEVILLE   GA   30043‐6706
RAYMOND A CHAMPION              688 RALDE CIR                                                                                           RIDGELAND       MS   39157
RAYMOND A COOLEY                622 SAWTOOTH ST                                                                                         POWELL          WY   02435
RAYMOND A COPELAND              3949 CADWALLADER SONK RD                                                                                CORTLAND        OH   44410‐9444
RAYMOND A CREECH                1222 FUDGE DR                                                                                           BEAVERCREEK     OH   45434‐6721
RAYMOND A CUELLAR               1509 S OUTER DR                                                                                         SAGINAW         MI   48601‐6634
RAYMOND A DENNIE                345 SPRUCE ST                                                                                           MOUNT MORRIS    MI   48458‐1936
RAYMOND A DRAKE                 4181 CHALMETTE DRIVE                                                                                    DAYTON          OH   45440‐3226
RAYMOND A GADD                  1570 CEDAR BARK TRAIL APT5                                                                              W.CARROLLTON    OH   45449‐2581
RAYMOND A GMBH & CO KG          POSTFACH 2140                                                                    LOERRACH, GERMANY
                                                                                                                 79511 GERMANY
RAYMOND A HAWKINS               5008 ROOSEVELT AVE                                                                                      MIDDLETOWN      OH   45044‐6228
RAYMOND A HAWLEY                #5 THORPE AVE.                       P.O. BOX 691                                                       HAMMANDSPORT    NY   14840‐9300
RAYMOND A HUTCHINSON            905 E EXCHANGE ST                                                                                       OWOSSO          MI   48867‐3245
RAYMOND A KOEHLKE               2738 CHOWINGS ST                                                                                        FAIRFIELD       OH   45014‐8662
RAYMOND A LAFAVE II             253 CUSTER ST                                                                                           DETROIT         MI   48202‐3107
RAYMOND A LESNIAK               187 MEADOWBROOK AVE SE                                                                                  WARREN          OH   44483‐6324
RAYMOND A LOCKHART              C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                          HOUSTON         TX   77007
                                BOUNDAS LLP
RAYMOND A LONG                  109 DAIRY LANE                                                                                          CLEARFIELD      PA   16830
RAYMOND A METIVIER              11875 MILE RD                                                                                           NEW LEBANON     OH   45345‐9143
RAYMOND A MINOR                 2747 SLDRS HOME W CAR                                                                                   DAYTON          OH   45418‐2451
RAYMOND A MROZINSKI             1316 HINE ST                                                                                            BAY CITY        MI   48708‐4909
RAYMOND A NOVOTNY               PO BOX 209                                                                                              PLEASANT UNTY   PA   15676‐0209
RAYMOND A OCONNELL              8556 HARPERS FERRY RD                                                                                   SPRINGWATER     NY   14560‐9757
RAYMOND A OMLOR                 3817 VILLANOVA DR                                                                                       KETTERING       OH   45429
RAYMOND A RAZZANO               245 CENTER ST                                                                                           WARREN          OH   44481
RAYMOND A ROBERTS               419 N TURNER RD                                                                                         AUSTINTOWN      OH   44515
RAYMOND A RUIZ                  2522 DOUGLASS ST                                                                                        SAGINAW         MI   48601‐3253
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Name                   Address1                        Address2             Address3        Address4         City            State Zip
RAYMOND A SCHOMMER     138 MARRETT FARM RD                                                                   UNION            OH 45322‐3414
RAYMOND A SMITH        C/O EMBRY & NEUSNER             PO BOX 1409                                           GROTON           CT 06340
RAYMOND A SMITH        EMBRY & NEUSNER                 PO BOX 1409                                           GROTON           CT 06340
RAYMOND A TERRELL      8763 ALYCE ST                                                                         FRANKLIN         OH 45005‐3203
RAYMOND A WARDYNSKI    3602 S DAMEN                                                                          CHICAGO           IL 60609‐1137
RAYMOND A WARE         MOTLEY RICE LLC                 28 BRIDGESIDE BLVD   PO BOX 1792                      MT PLEASANT      SC 29465
RAYMOND A WOLF JR      34822 PHYLLIS ST                                                                      WAYNE            MI 48184‐2463
RAYMOND A WOLF JR.     34822 PHYLLIS ST                                                                      WAYNE            MI 48184‐2463
RAYMOND A YOUNGERMAN   7321 WINDSOR RIDGE                                                                    HUBER HEIGHTS    OH 45424‐7307
RAYMOND A ZACCARINO    37 NECK HILL RD                                                                       MENDON           MA 01756‐1129
RAYMOND A ZAMORA       1736 10TH ST                                                                          DETROIT          MI 48216‐1905
RAYMOND ABBOUD         26441 EUREKA DR                                                                       WARREN           MI 48091‐1180
RAYMOND ABSHEAR        4132 ROUTT LN                                                                         FRANKLIN         OH 45005‐4648
RAYMOND ABSHEAR        4132 ROUTT LANE                                                                       FRANKLIN         OH 45005‐4648
RAYMOND ABSTON         5498 E MONTPELIER PIKE                                                                MARION           IN 46953
RAYMOND ACKERSON       2712 MONTEGO DR                                                                       LANSING          MI 48912‐4548
RAYMOND ADAMS          8 BRAESIDE LN                                                                         CAMILLUS         NY 13031‐1539
RAYMOND ADAMS          6637 BALSAM DR                                                                        REYNOLDSBURG     OH 43068‐1925
RAYMOND ADAMS          4545 W HILLCREST AVE                                                                  DAYTON           OH 45406‐2312
RAYMOND ADAMS          226 MARIANNA DR                                                                       AUBURNDALE       FL 33823‐5501
RAYMOND ADAMS          9343 W BELDING RD                                                                     BELDING          MI 48809‐9234
RAYMOND ADAMS          PO BOX 95                                                                             NEW BOSTON       TX 75570‐0095
RAYMOND ADAMS          4998 HIGHLAND CT                                                                      CLARKSTON        MI 48348‐5022
RAYMOND ADDINGTON      35278 GLEN LN                                                                         WILDOMAR         CA 92595‐9065
RAYMOND ADEMSKI        408 MILMAR RD                                                                         WILMINGTON       DE 19804‐1116
RAYMOND ADKINS         10915 E GOODALL RD UNIT 44                                                            DURAND           MI 48429
RAYMOND ADKINS         6020 STATE ROUTE 46                                                                   CORTLAND         OH 44410‐9665
RAYMOND ADKINS         6020 STATE RT. 46                                                                     CORTLAND         OH 44410‐9665
RAYMOND ADKINS JR      1181 EASTVIEW RD NE                                                                   CONYERS          GA 30012‐4560
RAYMOND ADLER          497 BISMARCK LN                                                                       RUSSELLVILLE     KY 42276‐8577
RAYMOND ADSITT         20782 AUBRY ST                                                                        PERRIS           CA 92570‐9004
RAYMOND AGLE           8170 COUNTRY CLUB DR                                                                  BROOKSVILLE      FL 34613‐2705
RAYMOND AGOSTINELLI    20 DRAPER RD                                                                          FRAMINGHAM       MA 01702‐8708
RAYMOND AGUIRRE JR     46820 WOODFIELD DR                                                                    MATTAWAN         MI 49071‐8636
RAYMOND AHO            240 BOGIE LAKE RD                                                                     WHITE LAKE       MI 48383‐2700
RAYMOND AHRENS         527 NATHAN ST                                                                         BURLESON         TX 76028‐5811
RAYMOND AINSLEY        633 ROSEGARDEN DR NE                                                                  WARREN           OH 44484‐1834
RAYMOND AKANS          41021 RIGGS RD                                                                        BELLEVILLE       MI 48111‐6009
RAYMOND ALBRECHT       2618 BRUNSWICK RD                                                                     YOUNGSTOWN       OH 44511‐2114
RAYMOND ALEXANDER      PO BOX 67                                                                             HARRINGTON       DE 19952‐0067
RAYMOND ALFORD         10473 WOESTE RD                                                                       ALEXANDRIA       KY 41001‐7983
RAYMOND ALLEN          3924 REX RD                                                                           REX              GA 30273‐1328
RAYMOND ALLEN          240 PARKER DR                                                                         SPRINGBORO       OH 45066‐1338
RAYMOND ALLEN          PO BOX 41                                                                             THEODOSIA        MO 65761‐0003
RAYMOND ALLEN          3975 FORDLINE RD                                                                      LINCOLN PARK     MI 48146‐3712
RAYMOND ALLEN          2229 PHEASANT RUN                                                                     REESE            MI 48757‐9471
RAYMOND ALLEN JR       4328 BREEZEWOOD AVE                                                                   DAYTON           OH 45406‐1314
RAYMOND ALLEN JR       4328 BREEZEWOOD AVE                                                                   DAYTON           OH 45406‐1314
RAYMOND ALLEVA         21 SKYLARK LN                                                                         LAKEWOOD         NJ 08701‐5732
RAYMOND ALLISON        9294 EAST RD                                                                          BURT             MI 48417‐9782
RAYMOND ALLISON        7928 HERBERT RD                                                                       CANFIELD         OH 44406‐9706
RAYMOND ALSIP          1804 WILLIAMS AVE                                                                     NORWOOD          OH 45212‐3504
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Name                           Address1                             Address2        Address3       Address4         City              State Zip
RAYMOND ALTSCHEFFEL            2008 S FARRAGUT ST                                                                   BAY CITY           MI 48708‐3809
RAYMOND ALVA                   1539 W 600 S                                                                         PERU               IN 46970‐8369
RAYMOND ALVAREZ                1422 HIGHVIEW DR APT I303                                                            COLUMBIA           TN 38401‐9403
RAYMOND ALVAREZ                4811 VALLEYDALE CT                                                                   ARLINGTON          TX 76013‐5425
RAYMOND ALVES JR               1425 RUSKIN RD                                                                       DAYTON             OH 45406‐4652
RAYMOND ALVES JR               1425 RUSKIN RD.                                                                      DAYTON             OH 45406‐4652
RAYMOND AMBROSINO              370 BLUE BAYOU DR                                                                    KISSIMMEE          FL 34743‐6113
RAYMOND AMELOOT                79701 CAPAC RD                                                                       ARMADA             MI 48005‐1111
RAYMOND AMES                   729 KINGRIDGE PL                                                                     SHREVEPORT         LA 71108‐6017
RAYMOND AMMON                  50314 STAGECOACH RD                                                                  E LIVERPOOL        OH 43920‐9579
RAYMOND ANDERSON               PO BOX 23081                                                                         PHILADELPHIA       PA 19124‐0781
RAYMOND ANDERSON               505 EAST 87TH STREET                                                                 NEW YORK           NY 10128
RAYMOND ANDERSON               318 HICKORY LANE BOX 356                                                             WESTPHALIA         MI 48894
RAYMOND ANDERSON               2097 COUNTY ROAD 353                                                                 BONO               AR 72416‐7504
RAYMOND ANDRADE                15 MASSASOIT AVE                                                                     SWANSEA            MA 02777‐2526
RAYMOND ANDRES                 PO BOX 455                           121 S SAGINAW                                   MONTROSE           MI 48457‐0455
RAYMOND ANDREWS                412 JOY HAVEN DR                                                                     SEBASTIAN          FL 32958‐6608
RAYMOND ANDREWS                PO BOX 623                                                                           LAFAYETTE          TN 37083‐0623
RAYMOND ANDREWS I I            9829 N BALTIMORE RD                                                                  MONROVIA           IN 46157‐9033
RAYMOND ANDRUS                 99 OLD KAWKAWLIN RD                                                                  BAY CITY           MI 48706‐2116
RAYMOND ANDRUSIAK              2400 BENNETT ST                                                                      DEARBORN           MI 48124‐3413
RAYMOND ANDRZEJEWSKI           26730 BELANGER ST                                                                    ROSEVILLE          MI 48066‐3147
RAYMOND ANGERER                1057 HOWARD DR                                                                       TEMPERANCE         MI 48182‐9306
RAYMOND ANKNEY                 304 LEWISVILLE RD                                                                    OXFORD             PA 19363‐2261
RAYMOND ANNABELL               123 VALLEY CIR NE                                                                    WARREN             OH 44484‐1084
RAYMOND ANRECIO                876 VERONA LAKE DR                                                                   WESTON             FL 33326‐3547
RAYMOND ANSPACH                16211 W COURSE DR                                                                    TAMPA              FL 33624‐1143
RAYMOND ANTHONY                6300 87TH ST #A103                                                                   KENOSHA            WI 53142‐1437
RAYMOND APPLEBEE               1806 E WEBSTER RD LOT 223                                                            FLINT              MI 48505‐5742
RAYMOND APPOLD                 24133 SNUG HARBOR DR                                                                 SEAFORD            DE 19973‐7522
RAYMOND ARMOCK                 2320 ROOSEVELT ST                                                                    COOPERSVILLE       MI 49404‐9653
RAYMOND ARMSTRONG              20980 POTOMAC ST                                                                     SOUTHFIELD         MI 48076‐2330
RAYMOND ARNDT                  4115 18TH ST                                                                         DORR               MI 49323‐9012
RAYMOND ARNOLD                 PO BOX 483                                                                           KELLEYS ISLAND     OH 43438‐0483
RAYMOND ARNOLD                 884 JOHNSON PLANK RD NE                                                              WARREN             OH 44481‐9361
RAYMOND ARNOLD                 700 W SHERMAN DR                                                                     AUBREY             TX 76227‐4608
RAYMOND ARNOLD                 3479 CABERFAE STREET NORTHWEST                                                       GRAND RAPIDS       MI 49544‐9485
RAYMOND ARNOLD                 14043 WOODVIEW CT                                                                    FENTON             MI 48430‐3313
RAYMOND ARNOTT                 2381 S BELSAY RD                                                                     BURTON             MI 48519‐1215
RAYMOND ARNSPERGER             3851 E GLENEAGLE PL                                                                  CHANDLER           AZ 85249‐9443
RAYMOND ARTHUR                 1731 KILBURN RD N                                                                    ROCHESTER HILLS    MI 48306‐3033
RAYMOND ARTHUR E (ESTATE OF)   GOLDENBERG, MILLER, HELLER &         PO BOX 959                                      EDWARDSVILLE        IL 62025‐0959
(637080)                       ANTOGNOLI
RAYMOND ASHBAUGH               3003 N ELM ST                                                                        MUNCIE            IN   47303‐2005
RAYMOND ASHCRAFT JR            1575 SOUTH M66 HWY                                                                   NASHVILLE         MI   49073
RAYMOND ASHLEY                 3550 NE HWY 70‐ LOT #70                                                              ARCADIA           FL   34266
RAYMOND ASPDEN                 5915 PONCE DE LEON BOULEVARD SUITE                                                   CORAL GABLES      FL   33146
                               44
RAYMOND ASTORGA                3698 BLAKE CANYON DRIVE              BOX 5                                           NORTH LAS VEGAS   NV   89032
RAYMOND ATHERTON               5488 DUFFIELD RD                                                                     FLUSHING          MI   48433‐9766
RAYMOND ATWOOD                 W15598 HIAWATHA TRL                                                                  GOULD CITY        MI   49838‐9040
RAYMOND AUSTIN                 134 N MERCER AVE                                                                     SHARPSVILLE       PA   16150‐2211
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Name                                   Address1                       Address2                   Address3             Address4           City            State Zip
RAYMOND AUSTIN                         5495 POINT DR                                                                                     MECOSTA          MI 49332‐9665
RAYMOND AUVENSHINE                     4101 S PINE DELL DR                                                                               LANSING          MI 48911‐6158
RAYMOND AZELIO                         799 WICHITAW DR                                                                                   FREMONT          CA 94539‐7135
RAYMOND B EAKINS                       8 CREEKSIDE ST                                                                                    JAMESTOWN        OH 45335
RAYMOND B HOSMER                       1903 S E 37TH TERR                                                                                CAPE CORAL       FL 33904‐5087
RAYMOND B HOSTERT                      ROBERT W PHILLIPS              SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON        IL 62024
                                                                      ANGELIDES & BARNERD LLC
RAYMOND B RICKETTS                     1956 N FAIRFIELD RD            APT 112                                                            BEAVERCREEK     OH   45432‐2755
RAYMOND BABCOCK                        4818 FRONTIER AVE                                                                                 NIAGARA FALLS   NY   14304‐3130
RAYMOND BACH                           432 DELLWOOD AVE                                                                                  DAYTON          OH   45419‐3525
RAYMOND BACHMANN                       60469 MIRIAM DR                                                                                   WASHINGTON      MI   48094‐2139
RAYMOND BACHUS                         1317 S R 603 R 1                                                                                  ASHLAND         OH   44805
RAYMOND BACK                           2345 N MAIN ST                                                                                    DAYTON          OH   45405‐3440
RAYMOND BACON                          185 PRESWICK ST                                                                                   TEMPERANCE      MI   48182‐1175
RAYMOND BADGLEY                        2446 COLUMBUS DR W                                                                                HAMILTON        OH   45013‐4254
RAYMOND BADY                           4015 KETCHAM ST                                                                                   SAGINAW         MI   48601‐4166
RAYMOND BAER                           4622 DOWER DR                                                                                     ELLICOTT CITY   MD   21043‐6406
RAYMOND BAILEY                         183 JACKSON ST                                                                                    LOCKPORT        NY   14094‐2309
RAYMOND BAILEY                         28 PONDEROSA TRL S                                                                                BELLEVILLE      MI   48111‐5398
RAYMOND BAILEY                         PO BOX 75                                                                                         ONAWAY          MI   49765‐0075
RAYMOND BAILEY AND CAROLINE J BAILEY   592 S CRAIG PLACE                                                                                 LOMBARD         IL   60148‐2765

RAYMOND BAILOR                         1851 W CLARK RD                                                                                   DEWITT          MI   48820‐9628
RAYMOND BAIR                           104 WOODCREST DR                                                                                  SWARTZ CREEK    MI   48473‐8280
RAYMOND BAIRD                          7603 W SOUTH RANGE RD                                                                             SALEM           OH   44460‐9228
RAYMOND BAISE                          1921 LAKEWOOD AVE                                                                                 HURON           OH   44839‐1120
RAYMOND BAK                            2445 OLD FARMINGTON RD                                                                            LEWISBURG       TN   37091‐2243
RAYMOND BAKER                          290 ELM AVE                                                                                       SHARON          PA   16146‐2326
RAYMOND BAKER                          6520 TYMILL CT                                                                                    DAYTON          OH   45415‐1450
RAYMOND BAKER                          705 N. STATE STREET            108                                                                WESTERVILLE     OH   43082
RAYMOND BAKER                          1996 INDIAN LAKE RD                                                                               NATIONAL CITY   MI   48748‐9624
RAYMOND BAKER                          524 E 26TH AVE                                                                                    N KANSAS CITY   MO   64116‐3001
RAYMOND BALBAUGH                       19879 STATE ROUTE 15                                                                              CONTINENTAL     OH   45831‐9635
RAYMOND BALEIX                         252 RAMONA WAY                                                                                    TRACY           CA   95376‐1939
RAYMOND BALL                           604 SE 2ND ST                                                                                     GRAND PRAIRIE   TX   75051‐1832
RAYMOND BALLARD                        168 DAWN DR                                                                                       TONEY           AL   35773‐9796
RAYMOND BALLOU                         103 TRAVIS LN                                                                                     DAVENPORT       FL   33837‐8456
RAYMOND BALLWEG JR                     841 MARTY LEE LN                                                                                  CARLISLE        OH   45005‐3833
RAYMOND BANDI                          6149 PETH RD                                                                                      GREAT VALLEY    NY   14741‐9781
RAYMOND BANKS JR                       6125 DAYTON LIBERTY RD                                                                            DAYTON          OH   45418‐1415
RAYMOND BANKS JR                       6125 DAYTON‐LIBERTY ROAD                                                                          DAYTON          OH   45418‐1415
RAYMOND BARBER                         21570 211TH ST                                                                                    TONGANOXIE      KS   66086‐4128
RAYMOND BARBISH                        308 E 312TH ST                                                                                    WILLOWICK       OH   44095‐3625
RAYMOND BARKER                         3426 HADDEN RD                                                                                    ROCHESTER       MI   48306‐1138
RAYMOND BARKER                         1409 MONTCLAIR ST                                                                                 ARLINGTON       TX   76015‐1422
RAYMOND BARKER                         12050 COLDWATER RD                                                                                COLUMBIAVILLE   MI   48421‐8802
RAYMOND BARLOW                         3401 RAGLA RD                                                                                     HASTINGS        MI   49058‐9442
RAYMOND BARNARD                        24 EVERGREEN LN                                                                                   HAMILTON        NJ   08690‐3114
RAYMOND BARNES                         548 COVENTRY FARM RD                                                                              VILLA RIDGE     MO   63089‐2429
RAYMOND BARNETT                        37326 CATHERINE MARIE DR                                                                          STERLING HTS    MI   48312‐2020
RAYMOND BARNHILL                       294 E PECK LAKE RD                                                                                IONIA           MI   48846‐8428
RAYMOND BARR                           876 GLENWOOD AVE                                                                                  BUFFALO         NY   14211‐1322
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Name                               Address1                           Address2                      Address3          Address4         City              State Zip
RAYMOND BARR                       29 SPRINGWOOD AVE                                                                                   STEWARTSTOWN       PA 17363‐4034
RAYMOND BARRETT                    916 ROSEMOND AVE                                                                                    JONESBORO          AR 72401
RAYMOND BARRON                     915 JEFFERSON CT                                                                                    MONROE             MI 48161‐1806
RAYMOND BARRON                     1305 W 32ND ST                                                                                      HOLLAND            MI 49423‐6780
RAYMOND BARRON JR                  5530 BROPHY DR                                                                                      TOLEDO             OH 43611‐1508
RAYMOND BARRY                      5947 GARLOW RD                                                                                      NIAGARA FALLS      NY 14304‐1054
RAYMOND BARTHOLOMEW JR             7385 CRAWFORD CREEK RD                                                                              CANEADEA           NY 14717‐8743
RAYMOND BARTLE                     2348 MURRAY RD                                                                                      BROWN CITY         MI 48416‐8124
RAYMOND BARTLETT                   1667 NW 785TH RD                                                                                    BATES CITY         MO 64011‐9110
RAYMOND BASER                      11152 STONEY BROOK DR                                                                               GRAND LEDGE        MI 48837‐9185
RAYMOND BASS                       PO BOX 77217                                                                                        JACKSONVILLE       FL 32226‐7217
RAYMOND BASTONE JR.                5270 ANTLER CT                                                                                      SUWANEE            GA 30024‐4116
RAYMOND BATEMAN                    1108 HUNTERS POINTE LN                                                                              BOWLING GREEN      KY 42104‐7224
RAYMOND BATES                      2715 MILLER GRABER RD                                                                               NEWTON FALLS       OH 44444‐8721
RAYMOND BATES JR                   519 YORKTOWN RD                                                                                     GREENWOOD          IN 46142‐1975
RAYMOND BATTAGLIA                  910 SHANNON RD                                                                                      GIRARD             OH 44420‐2048
RAYMOND BAUER                      369 E BROOKS ST                                                                                     NEWAYGO            MI 49337‐8838
RAYMOND BAUER                      4413 DONCASTER AVE                                                                                  HOLT               MI 48842‐2013
RAYMOND BAYSDEN                    4029 FARMER MARK RD                                                                                 BRYAN              OH 43506‐9638
RAYMOND BEACH                      1639 N K ST                                                                                         ELWOOD             IN 46036‐1142
RAYMOND BEARD                      6205 STEM LN                                                                                        MOUNT MORRIS       MI 48458‐2655
RAYMOND BEASLEY                    1007 FAIR ST                                                                                        CLAY CITY          IN 47841‐1518
RAYMOND BEAUCAR                    134 EVELYN RD                                                                                       BRISTOL            CT 06010‐8007
RAYMOND BEBO                       1219 MCKIMMY DR                                                                                     BEAVERTON          MI 48612‐9189
RAYMOND BECKER                     11884 W DEERFIELD RD                                                                                REMUS              MI 49340‐9637
RAYMOND BECKLER                    BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                       BOSTON HEIGHTS     OH 44236
RAYMOND BEDELL SR.                 206 CHURCH PKWY                                                                                     N SYRACUSE         NY 13212‐2415
RAYMOND BEDFORD                    3259 HARTLAND RD                                                                                    GASPORT            NY 14067‐9418
RAYMOND BEDNARSKI                  705 SANDRA LN APT 264                                                                               NORTH TONAWANDA    NY 14120‐6496
RAYMOND BEDTELYON                  674 W STATE RD                                                                                      WEST BRANCH        MI 48661‐9800
RAYMOND BEEBE                      2310 W HOWARD CITY EDMORE RD                                                                        SIX LAKES          MI 48886‐9521
RAYMOND BEIL                       10950 NEW BUFFALO RD                                                                                NORTH LIMA         OH 44452‐9516
RAYMOND BELAND                     50 BLUEBERRY HILL RD                                                                                WATERBURY          CT 06704‐2101
RAYMOND BELCER                     4990 E SABAL PALM BLVD APT 206                                                                      TAMARAC            FL 33319‐2660
RAYMOND BELCER                     WEITZ & LUXENBERG                  700 BROADWAY                                                     NEW YORK CITY      NY 10003
RAYMOND BELFORD                    272 1ST ST                                                                                          MILAN              MI 48160‐1006
RAYMOND BELL                       300 S WINDING BROOKE DR                                                                             SEAFORD            DE 19973‐4816
RAYMOND BELLAMY                    18485 FENMORE ST                                                                                    DETROIT            MI 48235‐3256
RAYMOND BELLEHUMEUR JR             5126 FOX CHASE CT                                                                                   WHITE LAKE         MI 48383‐1660
RAYMOND BELLIS                     36871 W 148TH ST                                                                                    RAYVILLE           MO 64084‐8219
RAYMOND BELOIN                     9150 SW 96TH COURT RD                                                                               OCALA              FL 34481‐6595
RAYMOND BELTER                     12645 MAIN ST                                                                                       ALDEN              NY 14004‐9601
RAYMOND BELTRAN                    6679 LAKE SPRINGS STREET                                                                            MIRA LOMA          CA 91752‐3407
RAYMOND BENEZRA, LAWRENCE BENEZRA, MARK BENEZRA & JACK LEE CO‐TTEES   BUFFALO IND LLC PS PLN & TR   99 S SPOKANE ST                    SEATTLE            WA 98134‐2218
                                                                      1/1/05
RAYMOND BENGE                       2526 VICTORIA LN                                                                                   HOLLY             MI   48442‐8359
RAYMOND BENJAMIN                    8278 JENNINGS RD                                                                                   SWARTZ CREEK      MI   48473‐9148
RAYMOND BENNETT                     3027 ROLLA PL                                                                                      SAINT LOUIS       MO   63115‐3206
RAYMOND BENNETT JR                  12536 PANORAMA DRIVE                                                                               BURLESON          TX   76028‐7072
RAYMOND BENNINGHOFF                 553 BEAZELL RD                                                                                     BELLE VERNON      PA   15012‐4735
RAYMOND BENSON                      PO BOX 275                                                                                         OTTER LAKE        MI   48464‐0275
RAYMOND BERARDI                     7007 CLINGAN RD UNIT 22                                                                            YOUNGSTOWN        OH   44514‐2480
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RAYMOND BERG           ROUTE # 1                                                                                                       HIXTON           WI 54635
RAYMOND BERGAL         2234 LOREE CIR                                                                                                  NIAGARA FALLS    NY 14304‐3016
RAYMOND BERGER         1796 BAYVIEW DR                                                                                                 FORT WAYNE       IN 46815‐4219
RAYMOND BERGERON       21998 LIX RD                                                                                                    WARRENTON        MO 63383‐4597
RAYMOND BERGERON       C/O DORAIS & FORTIER                ATTN: DANIELE DORAIS         198 BD CURE LABELLE   SAINTE‐THERESE, QC J7E
                                                                                                              2X5
RAYMOND BERGMAN        330 DEAUVILLE DR                                                                                                DAYTON          OH   45429‐5931
RAYMOND BERKOBIEN      2345 WEIGL RD                                                                                                   SAGINAW         MI   48609‐7056
RAYMOND BERRY          4005 HERITAGE DR                                                                                                MODESTO         CA   95356‐8754
RAYMOND BERRY          16525 LASSEN ST                                                                                                 SEPULVEDA       CA   91343‐1232
RAYMOND BERRY          12425 N SAGINAW RD                                                                                              CLIO            MI   48420‐2200
RAYMOND BERTHELSON     920 CURTIS AVE                                                                                                  WALL TOWNSHIP   NJ   07719
RAYMOND BERWICK        179 LEMONGOLD ST                                                                                                HENDERSON       NV   89012‐5475
RAYMOND BESHEARS       PO BOX 60                                                                                                       PURLEAR         NC   28665‐0060
RAYMOND BEST           26064 ROSS ST                                                                                                   INKSTER         MI   48141‐3294
RAYMOND BETHAM         36913 MARGARETA ST                                                                                              LIVONIA         MI   48152‐2889
RAYMOND BETSCH         2330 MAPLE RD APT 333                                                                                           BUFFALO         NY   14221‐4061
RAYMOND BETTS          8902 JOSE LAKE TRL                                                                                              SOUTH BRANCH    MI   48761‐9600
RAYMOND BEUKEMA        807 IRIS CT                                                                                                     COLUMBIA        TN   38401‐7279
RAYMOND BEUTLER        G6208 EAST ATHERTON                                                                                             BURTON          MI   48519
RAYMOND BEZY           24035 MELODY RD                                                                                                 WARREN          MI   48089‐2104
RAYMOND BIBBS          11620 LAKE AVE                                                                                                  CLEVELAND       OH   44102‐6110
RAYMOND BIELEWSKI      36444 IDAHO DR                                                                                                  STERLING HTS    MI   48312‐3152
RAYMOND BIERZYNSKI     PO BOX 9022                         SHANGHAI                                                                    WARREN          MI   48090‐9022
RAYMOND BIGELOW        4041 W CROSSINGS                                                                                                SAGINAW         MI   48603‐8710
RAYMOND BIGGERS        C/O KELLER FISHBACK & JACKSON LLP   18425 BURBANK BLVD STE 610                                                  TARZANA         CA   91356
RAYMOND BIGGERSTAFF    4631 WOODLYNN CT                                                                                                FORT WAYNE      IN   46816‐4195
RAYMOND BILLETT        101 E ELMWOOD DR                                                                                                CENTERVILLE     OH   45459‐4421
RAYMOND BILLINGSLEY    21832 FERNCUKO ST                                                                                               TEHACHAPI       CA   93561‐8154
RAYMOND BILOHLAVEK     PO BOX 443                                                                                                      KENDALL         NY   14476‐0443
RAYMOND BINKOWSKI      31130 EVENINGSIDE                                                                                               FRASER          MI   48026‐3328
RAYMOND BINNING        1000 HERON CT                                                                                                   DUNEDIN         FL   34698‐8209
RAYMOND BIRLEW         PO BOX 55801                                                                                                    OKLAHOMA CITY   OK   73155‐0801
RAYMOND BISBEE         14 SUSANNE DR                                                                                                   WHITINSVILLE    MA   01588‐1226
RAYMOND BISCIGLIA      4521 DEER CREEK CT APT 7                                                                                        YOUNGSTOWN      OH   44515‐5423
RAYMOND BISHOP         PO BOX 9525                                                                                                     PINE BLUFF      AR   71611‐9525
RAYMOND BISHOP         1071 W CODY ESTEY RD                                                                                            PINCONNING      MI   48650‐7965
RAYMOND BISHOP         3055 VOLKMER RD                                                                                                 CHESANING       MI   48616‐9724
RAYMOND BISSETT        6702 LINCOLN RD                                                                                                 BROWN CITY      MI   48416‐9132
RAYMOND BLACK          1727 PARKHILL DR                                                                                                DAYTON          OH   45406‐4025
RAYMOND BLACK          648 COUNTY ROAD 213                                                                                             VENUS           TX   76084‐3881
RAYMOND BLACK          1144 LAWRENCE HWY                                                                                               CHARLOTTE       MI   48813‐8855
RAYMOND BLACKBURN JR   38885 WABASH ST                                                                                                 ROMULUS         MI   48174‐1195
RAYMOND BLAIR          2541 OAKWOOD RD                                                                                                 ORTONVILLE      MI   48462‐9412
RAYMOND BLAKE JR       5108 W WILSON RD                                                                                                CLIO            MI   48420‐9461
RAYMOND BLANK          2699 CHAPPEL DAM RD                                                                                             GLADWIN         MI   48624‐8913
RAYMOND BLAZIK         7 TAWNY RD                                                                                                      LEVITTOWN       PA   19056‐1527
RAYMOND BLEVINS JR     713 FRANKLIN RD                                                                                                 WAYNESVILLE     OH   45068‐8469
RAYMOND BLIND          337 BELLA VISTA DR                                                                                              GRAND BLANC     MI   48439
RAYMOND BLOCHER        7080 COATS GROVE RD                                                                                             WOODLAND        MI   48897‐9772
RAYMOND BLOOM          BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS.     OH   44236
RAYMOND BOADWAY        2060 INDIAN LAKE RD                                                                                             NATIONAL CITY   MI   48748‐9315
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Name                   Address1                         Address2                     Address3   Address4         City             State Zip
RAYMOND BOARMAN        460 MILLER RD.                                                                            FALLING WATERS    WV 25419
RAYMOND BOBICH         9987 STEFFAS RD                                                                           MAYBEE            MI 48159‐9611
RAYMOND BOBICH         8651 JACKMAN RD                                                                           TEMPERANCE        MI 48182‐9460
RAYMOND BOCK           3680 MARKWOOD CT                                                                          OXFORD            MI 48370‐2916
RAYMOND BOGGS          14640 STATE ROUTE 45                                                                      LISBON            OH 44432‐9635
RAYMOND BOHN           697 PORTAGE EASTERLY RD                                                                   CORTLAND          OH 44410‐9537
RAYMOND BOKS           2502 S JEFFERSON ST                                                                       BAY CITY          MI 48708‐8753
RAYMOND BOKSAI         3055 KEITH DR                                                                             FLINT             MI 48507‐1205
RAYMOND BOLDEN         2922 CUNNINGTON LN                                                                        KETTERING         OH 45420‐3835
RAYMOND BOLES          PO BOX 40                                                                                 PALL MALL         TN 38577‐0040
RAYMOND BOLES          P.O BOX 40                                                                                PALL MALL         TN 38577‐0040
RAYMOND BOLLENBERG     24801 HARMON ST                                                                           ST CLAIR SHRS     MI 48080‐3137
RAYMOND BOLSLEY        6074 BAILEY ST                                                                            TAYLOR            MI 48180‐1281
RAYMOND BOLT           3271 DILLON RD                                                                            FLUSHING          MI 48433‐9763
RAYMOND BONGARD        1234 E GRANT RD                                                                           ASHLEY            MI 48806‐9733
RAYMOND BOOKER         12238 N COUNTY ROAD 800 E                                                                 ROACHDALE         IN 46172‐9438
RAYMOND BOONE          PO BOX 5342                                                                               FLINT             MI 48505‐0342
RAYMOND BOONE          3555 SOMERSET HILLS DR                                                                    SAINT CHARLES     MO 63303‐7320
RAYMOND BOONSTRA       882 HOOD RD                                                                               FAYETTEVILLE      GA 30214‐4241
RAYMOND BOOTY          3970 STATE ROAD 252                                                                       MARTINSVILLE      IN 46151‐8693
RAYMOND BORGMAN        11024 HERMENITT DR                                                                        DELTON            MI 49046‐7797
RAYMOND BORGMAN        28 OLIVER DR                                                                              WILLIAMSTON       MI 48895‐9413
RAYMOND BORKOWSKI      644 VIA SANTA CRUZ                                                                        VISTA             CA 92081‐6335
RAYMOND BORN           1245 STOCKTON DR                                                                          N BRUNSWICK       NJ 08902‐3135
RAYMOND BOROWICZ       126 S CENTER ST                                                                           BRAIDWOOD          IL 60408‐1939
RAYMOND BOSO           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
RAYMOND BOSTICK        8730 CHRISTYGATE LN                                                                       HUBER HEIGHTS     OH 45424‐6400
RAYMOND BOTTORF        455 MARION AVE                                                                            MANSFIELD         OH 44903‐2052
RAYMOND BOUDREAU       25840 W MIAMI ST                                                                          BUCKEYE           AZ 85326‐2934
RAYMOND BOURNE         2525 US HIGHWAY 27 S                                                                      AVON PARK         FL 33825‐9752
RAYMOND BOURNE JR      22 PATTON DR                                                                              SPRINGBORO        OH 45066‐8816
RAYMOND BOUTON JR      1308 CONDE ST                                                                             JANESVILLE        WI 53546‐5878
RAYMOND BOWERS         1901 MARLETTE RD                                                                          KIMBALL           MI 48074‐2723
RAYMOND BOWERSON       133 JEFFERSON ST                                                                          STERLING          MI 48659‐9504
RAYMOND BOWLES         8404 GREEN RD                                                                             FENTON            MI 48430‐8937
RAYMOND BOWMAN         7 TROPICAL DR                                                                             OCEAN RIDGE       FL 33435‐7026
RAYMOND BOWNS          2439 BEECH DRIVE                                                                          KAWKAWLIN         MI 48631‐9106
RAYMOND BOX            PO BOX 14296                                                                              SAGINAW           MI 48601‐0296
RAYMOND BOYDEN         6055 HOPKINS RD                                                                           FLINT             MI 48506‐1655
RAYMOND BOYER          3741 LOCKWOOD AVE                                                                         TOLEDO            OH 43612‐1208
RAYMOND BOZUNG         9033 W KINLEY RD                                                                          SAINT JOHNS       MI 48879‐9536
RAYMOND BRADBERRY      936 SILLYCOOK TRL                                                                         CLARKESVILLE      GA 30523‐1147
RAYMOND BRADBERRY JR   1036 PINBROOK DR                                                                          LAWRENCEVILLE     GA 30043‐6706
RAYMOND BRADY          268 ASPEN AVE                                                                             LANGHORNE         PA 19047‐2602
RAYMOND BRADY          305 WIDMER CT                                                                             AUBURN            MI 48611‐9404
RAYMOND BRAGG          1595 S FAIRVIEW RD                                                                        WEST BRANCH       MI 48661‐9258
RAYMOND BRAIS          9 RANDALL CT                                                                              MASSENA           NY 13662‐2407
RAYMOND BRAMSTEDT      3 ELBRING DR                     C/O BEVERLY A BRAMSTEDT                                  SAINT LOUIS       MO 63135‐1113
RAYMOND BRANDT         852 BLIVEN RD                                                                             EDGERTON          WI 53534‐9543
RAYMOND BRANDT         1500 E BEARD RD                                                                           PERRY             MI 48872‐9608
RAYMOND BRANIGAN       183 GOLDENRIDGE DR                                                                        LEVITTOWN         PA 19057‐3804
RAYMOND BRANNON        818 W RANKIN ST                                                                           FLINT             MI 48504‐2811
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Name                   Address1                         Address2                   Address3          Address4         City            State Zip
RAYMOND BRASSARD       88 WEEPING ELM ROAD                                                                            MOUNT JULIET     TN 37122‐5049
RAYMOND BRATZKE        2511 SUNNYRIDGE CT                                                                             MONROE           WI 53566‐1542
RAYMOND BRAYER         1440 RIDLEY DR                                                                                 FRANKLIN         TN 37064‐9614
RAYMOND BRAZELTON      PO BOX 681                                                                                     EVART            MI 49631‐0681
RAYMOND BREEDS         212 ERIEVIEW BLVD                                                                              SHEFFIELD LK     OH 44054‐1909
RAYMOND BREESE         8091 S 100 E                                                                                   PENDLETON        IN 46064‐9330
RAYMOND BRESCOLL       4925 SURREY DR                                                                                 STERLING HTS     MI 48310‐5193
RAYMOND BRIER          1380 MOUNT PLEASANT RD           C/O ROBERT BRIER                                              GREENSBURG       PA 15601‐6332
RAYMOND BRIGGS         7868 RAMBUOY ROAD                                                                              SPRING HILL      FL 34606
RAYMOND BRIGGS         1447 STOGDILL RD                                                                               BLUFFTON         IN 46714‐3841
RAYMOND BRINER         PO BOX 341                                                                                     CRESTLINE        OH 44827‐0341
RAYMOND BRIODY         7141 RIEGLER ST                                                                                GRAND BLANC      MI 48439‐8516
RAYMOND BRISCOE        7163 LINDSEY DR                                                                                SWARTZ CREEK     MI 48473‐1903
RAYMOND BRISKY         80 HAMILTON ST                                                                                 BEREA            OH 44017‐2407
RAYMOND BRITTON        223 OCEAN PALM DR                                                                              FLAGLER BEACH    FL 32136‐4113
RAYMOND BRIZENDINE     197 W WEBER RD                                                                                 GREENFIELD       IN 46140‐2545
RAYMOND BROCK          1540 S MAIN ST                                                                                 UPLAND           IN 46989‐9136
RAYMOND BROCK
RAYMOND BROKENBROUGH   10 FARRAGUT LN                                                                                 NEW CASTLE      DE   19720‐2919
RAYMOND BROM           6785 HANKEE RD                                                                                 MANTUA          OH   44255‐9034
RAYMOND BROWN          PO BOX 2854                                                                                    YOUNGSTOWN      OH   44511‐0854
RAYMOND BROWN          1623 KINGSTON RD                                                                               KOKOMO          IN   46901‐5280
RAYMOND BROWN          1563 N 500 E                                                                                   ANDERSON        IN   46012‐9223
RAYMOND BROWN          517 RED MAPLE DR                                                                               TECUMSEH        MI   49286
RAYMOND BROWN          419 PARK DR                                                                                    BETHALTO        IL   62010‐1856
RAYMOND BROWN          2800 S 500 E                                                                                   SELMA           IN   47383
RAYMOND BROWN          11522 RICKMAN DR                                                                               BELLEVILLE      MI   48111‐2422
RAYMOND BROWN          4522 EAST M H TOWNLINE ROAD                                                                    MILTON          WI   53563‐9494
RAYMOND BROWN          1323 S WARNER ST                                                                               BAY CITY        MI   48706‐5171
RAYMOND BROWN          PO BOX 279                                                                                     CLIO            MI   48420‐0279
RAYMOND BROWN          4902 WALNUT RIDGE DR             APT#9                                                         FLINT           MI   48532
RAYMOND BROWN          4451 MOLLWOOD DR                                                                               FLINT           MI   48506‐2006
RAYMOND BROWN          381 E JEFFERSON ST                                                                             ANDREWS         IN   46702‐9754
RAYMOND BROWN          39365 HYLAND DR                                                                                STERLING HTS    MI   48310‐2732
RAYMOND BROWN JR       119 MENDON ST                                                                                  BLACKSTONE      MA   01504‐1208
RAYMOND BROWN JR       751 N CHEVROLET AVE                                                                            FLINT           MI   48504‐4803
RAYMOND BRUCE          1434 COVENTRY RD                                                                               DAYTON          OH   45410‐3111
RAYMOND BRUCE BRALEY   NIX, PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DANGERFIELD     TX   75638
RAYMOND BRUDER         135 TURNBERRY CT                                                                               MILFORD         MI   48381‐2333
RAYMOND BRUMM          2113 THAMES AVE SW                                                                             HUNTSVILLE      AL   35803‐2037
RAYMOND BRUNELLE       16455 ROEHL RD                                                                                 MUSSEY          MI   48014‐2810
RAYMOND BRUSSEAU       8081 PEBBLE CREEK                                                                              FARWELL         MI   48622
RAYMOND BRYANT         212 E 3RD BOX 56                                                                               MONTROSE        MO   64770
RAYMOND BRYANT         5125 MARK DAVID DR                                                                             SWARTZ CREEK    MI   48473‐8557
RAYMOND BRYANT JR      9503 SEA VIEW CV                                                                               FORT WAYNE      IN   46835‐9604
RAYMOND BUCHANAN       PO BOX 701                                                                                     JENISON         MI   49429‐0701
RAYMOND BUCHANAN       2968 WALDON PARK DR                                                                            ORION           MI   48359‐1336
RAYMOND BUCHANAN SR    161 ABERDEEN LN                                                                                JACKSONVILLE    NC   28540‐8429
RAYMOND BUCHOLZ        17603 WEST RD                                                                                  WELLINGTON      OH   44090‐9689
RAYMOND BUCK           PO BOX 1142                                                                                    DAVENPORT       FL   33836‐1142
RAYMOND BUCKHANNON     66 TORQUE WAY                                                                                  MIDDLE RIVER    MD   21220‐3523
RAYMOND BUCKLEW        163 MOUNTAIN VIEW DR                                                                           STEPHENSON      VA   22656‐2117
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Name                            Address1                         Address2                          Address3   Address4         City               State Zip
RAYMOND BUDDE                   142 POKUKALA ST                                                                                KAPAA               HI 96746‐9550
RAYMOND BUDNIK                  341 HOMESTEAD DR                                                                               N TONAWANDA         NY 14120‐1648
RAYMOND BUDZINSKI               6322 NEW CASTLE LN                                                                             RACINE              WI 53402‐1592
RAYMOND BUFORD JR               6421 VERDUN ST                                                                                 MOUNT MORRIS        MI 48458‐2320
RAYMOND BUFORD SR               7457 VASSAR RD                                                                                 OTISVILLE           MI 48463‐9467
RAYMOND BUGBEE                  10122 VANBUREN RD                                                                              PORTLAND            MI 48875‐9417
RAYMOND BUITRON                 2026 KANSAS AVE                                                                                SAGINAW             MI 48601‐5217
RAYMOND BULLS                   6110 ROBIN HILL RD                                                                             BALTIMORE           MD 21207‐6117
RAYMOND BULLY                   2460 ASHWOOD DR                                                                                FLINT               MI 48504‐6545
RAYMOND BUNCE                   1126 S WASHINGTON ST                                                                           KOKOMO              IN 46902‐6347
RAYMOND BUNCE                   2466 PFISTER HWY                                                                               ADRIAN              MI 49221‐9452
RAYMOND BURDINE                 BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.         OH 44236
RAYMOND BURGHDOFF               1344 CUT OFF RD                                                                                ETHRIDGE            TN 38456‐7052
RAYMOND BURKART                 5685 WILLIAMS LAKE RD                                                                          WATERFORD           MI 48329‐3273
RAYMOND BURKE                   3261 BELSTONE DR                                                                               GROVE CITY          OH 43123‐8042
RAYMOND BURKS JR                800 S 12TH ST                                                                                  MONROE              LA 71202‐2334
RAYMOND BURNETT                 PO BOX 604                                                                                     JAMESTOWN           PA 16134‐0604
RAYMOND BURNS                   658 WENDY PL                                                                                   CORTLAND            OH 44410‐1529
RAYMOND BURNS                   626 W WOODLAND AVE                                                                             KOKOMO              IN 46902‐6258
RAYMOND BURNS                   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.         OH 44236
RAYMOND BURROUGHS               414 BRIAN GARTH                                                                                HAVRE DE GRACE      MD 21078‐4120
RAYMOND BURT JR                 122 BURT CT                                                                                    OXFORD              MI 48371‐2829
RAYMOND BURTON                  1816 CHAMPIONS DR                                                                              NASHVILLE           TN 37211‐6864
RAYMOND BURZYCK JR              26755 HOFFMAN RD                                                                               DEFIANCE            OH 43512‐8978
RAYMOND BUSH                    PO BOX 297                                                                                     NEWPORT             IN 47966‐0297
RAYMOND BUSH                    8040 FAIRHILL DR NE                                                                            WARREN              OH 44484‐1910
RAYMOND BUSH                    5386 W POLK RD                                                                                 ALMA                MI 48801‐8800
RAYMOND BUSH                    1648 SHAGBARK DR                                                                               ROCHESTER HILLS     MI 48309‐1823
RAYMOND BUTLER                  15021 COUNTY ROAD 169                                                                          DEFIANCE            OH 43512‐9301
RAYMOND BUTLER                  6600 SWEETZER WAY                                                                              LAS VEGAS           NV 89108‐7308
RAYMOND BUTLER                  736 CAMELLIA GREEN DR                                                                          SUN CITY CENTER     FL 33573‐6904
RAYMOND BUTLER                  436 FOX HILLS DR S APT 1                                                                       BLOOMFIELD HILLS    MI 48304‐1314
RAYMOND BUTTACAVOLI             416 GABRIEL AVE                                                                                YUBA CITY           CA 95993‐9389
RAYMOND BYNUM                   305 SEMINOLE DR                                                                                ANNISTON            AL 36206‐1575
RAYMOND BYRD                    499 MARKET ST                                                                                  LOCKPORT            NY 14094‐2528
RAYMOND BYRD                    2231 PICCADILLY AVE                                                                            DAYTON              OH 45406‐2625
RAYMOND BYRD                    PO BOX 232                                                                                     HAZEL PARK          MI 48030‐0232
RAYMOND BYRD                    PO BOX 1744                                                                                    SAGINAW             MI 48605‐1744
RAYMOND BYRD                    2231 PICADILLY AVENUE                                                                          DAYTON              OH 45406‐2625
RAYMOND BYSTRZYCKI              6 KRISTOPHER DR                                                                                YARDVILLE           NJ 08620‐3005
RAYMOND C AINSLEY               2563 EDGEWATER DR                                                                              CORTLAND            OH 44410
RAYMOND C AINSLEY               633 ROSEGARDEN DRIVE NORTHEAST                                                                 WARREN              OH 44484
RAYMOND C ALLISON BY MARY LOU   SIEBEN POLK P A                  1640 S FRONTAGE ROAD, SUITE 200                               HASTINGS            MN 55033
ALLISON
RAYMOND C BATES                 2715 MILLER GRABER ROAD                                                                        NEWTON FALLS       OH   44444
RAYMOND C FIELD                 510 E WENGER RD                                                                                ENGLEWOOD          OH   45322‐2832
RAYMOND C JONES                 1192 RIDGE LAKE DR.                                                                            MINERAL RIDGE      OH   44440
RAYMOND C MANOFSKY              1155 PAIGE AVE NE                                                                              WARREN             OH   44483
RAYMOND C MARTIN                2018 NE 17TH CT                  APT 22                                                        FORT LAUDERDALE    FL   33305‐2550
RAYMOND C MC COOL               162 GOLDENROD DR                                                                               HOUGHTON LAKE      MI   48629‐9137
RAYMOND C MILLER JR             6530‐1 CAPE HATTERAS WAY                                                                       ST PETERSBURG      FL   33702‐7056
RAYMOND C MYNHIER               1711 MACARTHUR AVE #3                                                                          DAYTON             OH   45418‐2663
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Name                    Address1                        Address2                     Address3          Address4         City              State Zip
RAYMOND C NEUNEKER JR   NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD       TX 75638
RAYMOND C NICHOLAS      8088 DERRYMORE CT                                                                               DAVISON            MI 48423‐9510
RAYMOND C PIESKO        10159 CARMER ROAD                                                                               FENTON             MI 48430‐2403
RAYMOND C SEARLES       21 GREENFIELDS DR                                                                               LAKEWOOD           NJ 08701
RAYMOND C TIPTON        4784 BURKHARDT                                                                                  DAYTON             OH 45403
RAYMOND C WEHNER        3085 MAGNOLIA DRIVE                                                                             TROY               OH 45373
RAYMOND C WESOLOWSKI    1290 CAMBRIDGE AVENUE                                                                           N TONAWANDA        NY 14120‐2302
RAYMOND C ZINCK         205 CHRISTINA WAY                                                                               CARLISLE           OH 45005‐6209
RAYMOND CAILLE          16330 PENN DR                                                                                   LIVONIA            MI 48154‐1028
RAYMOND CAIN            2106 ARDMORE AVE APT 140                                                                        FORT WAYNE         IN 46802‐4846
RAYMOND CAIN            812 R ST                                                                                        BEDFORD            IN 47421‐2422
RAYMOND CALCATERRA      46188 WINSTON DR                                                                                SHELBY TOWNSHIP    MI 48315‐5614
RAYMOND CALDWELL JR     110 3RD ST                                                                                      NEW LONDON         OH 44851‐1134
RAYMOND CALLAHAN        13189 IPOLITA ST                                                                                VENICE             FL 34293‐4532
RAYMOND CALLEN          17 ALDEN RD                                                                                     WATERTOWN          MA 02472‐4901
RAYMOND CALLIHAN        1101 MCKENZIE DR                                                                                MANSFIELD          TX 76063‐6378
RAYMOND CALORE          367 S FEDERAL HWY APT C221                                                                      DEERFIELD BEACH    FL 33441‐4110
RAYMOND CALORE JR       35 MOCKING BIRD HL                                                                              LAKE GEORGE        NY 12845‐3828
RAYMOND CAMACHO         12391 CORIANDER DR                                                                              ORLANDO            FL 32837‐8505
RAYMOND CAMP            5485 HAMPDEN AVE                                                                                ROCKVALE           TN 37153‐4435
RAYMOND CAMPBELL        2110 BARBARA DR                                                                                 FLINT              MI 48504‐1692
RAYMOND CAMPBELL        920 CORBETT ST                                                                                  HAGERSTOWN         MD 21740‐6415
RAYMOND CAMPBELL        206 S WAYNE ST                                                                                  ALEXANDRIA         IN 46001‐2440
RAYMOND CAMPBELL        4661 MELODY LN                                                                                  CINCINNATI         OH 45245‐1109
RAYMOND CAMPBELL        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS     OH 44236
RAYMOND CANNON          801 W 34TH ST                                                                                   MARION             IN 46953‐4257
RAYMOND CANTRELL        11530 STATE HIGHWAY O                                                                           MINERAL POINT      MO 63660‐9597
RAYMOND CAOUETTE        29 PRAIRIE AVE                                                                                  BELLINGHAM         MA 02019‐1941
RAYMOND CAPPY           1618 WELLINGTON AVE                                                                             YOUNGSTOWN         OH 44509‐1147
RAYMOND CARAWAY         3505 S KEARSLEY BLVD                                                                            FLINT              MI 48506‐2049
RAYMOND CARD            800 S SAINT MARYS ST                                                                            SIOUX CITY          IA 51106‐1353
RAYMOND CARD            70 TWIN OAKS DR                                                                                 LAPEER             MI 48446‐7630
RAYMOND CAREY           1527 PORTER RD                                                                                  BEAR               DE 19701‐2111
RAYMOND CARL DOOLEY     FOSTER & SEAR, LLP              817 GREENVIEW DRIVE                                             GRAND PRAIRIE      TX 75050
RAYMOND CARLEY          4478 ESTA DR                                                                                    FLINT              MI 48506‐1454
RAYMOND CARLSON         6378 WILLARD RD                                                                                 BIRCH RUN          MI 48415‐8517
RAYMOND CARMONEY        PO BOX 385                                                                                      NASHVILLE          MI 49073‐0385
RAYMOND CARNEY          3720 HILLSIDE DR                                                                                ROYAL OAK          MI 48073‐6744
RAYMOND CARPENTER       933 E BOCOCK RD                                                                                 MARION             IN 46952‐8796
RAYMOND CARPENTER       5832 PLAINFIELD ST                                                                              DEARBORN HTS       MI 48127‐2881
RAYMOND CARPENTER       631 NEVADA RD                                                                                   RICHMOND           KS 66080‐9162
RAYMOND CARPENTER       796 WOODCREST DR                                                                                MANSFIELD          OH 44905‐2324
RAYMOND CARR            6050 SHAFFER RD NW                                                                              WARREN             OH 44481‐9317
RAYMOND CARR            6205 JACKMAN RD APT 3                                                                           TOLEDO             OH 43613‐1748
RAYMOND CARROLL         101 TEBEAU CT                                                                                   AUBURN HILLS       MI 48326‐3064
RAYMOND CARROLL JR      1111 N HURON DR                                                                                 JANESVILLE         WI 53545‐1317
RAYMOND CARTER          6395 S STINE RD                                                                                 OLIVET             MI 49076‐9657
RAYMOND CARTER          27 LOCH LOMA DR                                                                                 MOUNT MORRIS       MI 48458‐8852
RAYMOND CARTER          4216 W 25TH ST                                                                                  ANDERSON           IN 46011‐4555
RAYMOND CARTER          4220 CHERRY GROVE RD                                                                            JAMESTOWN          OH 45335‐9739
RAYMOND CARTER          20221 KENTFIELD ST                                                                              DETROIT            MI 48219‐1425
RAYMOND CARTER JR       2794 W PRICE BLVD                                                                               NORTH PORT         FL 34286‐4930
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Name                              Address1                         Address2                     Address3          Address4         City             State Zip
RAYMOND CASPERS                   712 W YOUNGS DITCH RD                                                                            BAY CITY          MI 48708‐9166
RAYMOND CASSIDY                   31711 HENNEPIN ST                                                                                GARDEN CITY       MI 48135‐1451
RAYMOND CATALANO                  2632 AMY CT                                                                                      MOORE             OK 73160‐9500
RAYMOND CAVELL                    8838 MARGO DR                                                                                    BRIGHTON          MI 48114‐8941
RAYMOND CAYER                     8332 BIRCH RUN RD                                                                                MILLINGTON        MI 48746‐9701
RAYMOND CHAFFEE                   8 PINE ST                                                                                        NORWALK           OH 44857‐2230
RAYMOND CHAILLE SR                2001 CARDINAL AVE                                                                                DAYTON            OH 45414‐3330
RAYMOND CHAMBERLAIN               2285 PAWNEE DR NW ROUTE 6                                                                        LONDON            OH 43140
RAYMOND CHAMBERLIN                46575 DOGWOOD CIR                                                                                NEW WATERFORD     OH 44445‐9607
RAYMOND CHAMLEE                   1104 FAIRWEATHER DR                                                                              KERNERSVILLE      NC 27284‐9234
RAYMOND CHANEY                    NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGEFIELD       TX 75638
RAYMOND CHANGET                   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.       OH 44236
RAYMOND CHAPEL                    10151 S 700 W                                                                                    FAIRMOUNT         IN 46928‐9738
RAYMOND CHAPIN                    3609 OGEMA AVE                                                                                   FLINT             MI 48507‐1838
RAYMOND CHAPMAN                   249 N 200 W                                                                                      TIPTON            IN 46072‐8576
RAYMOND CHARLAND                  2246 OLD HICKORY BLVD                                                                            DAVISON           MI 48423‐2063
RAYMOND CHARLEBOIS                3462 MERWIN RD                                                                                   LAPEER            MI 48446‐7803
RAYMOND CHARTRAND                 3625 E STERNBERG RD                                                                              FRUITPORT         MI 49415‐9763
RAYMOND CHARVAT                   10629 E DUPCZA DR                                                                                DURAND            MI 48429‐9790
RAYMOND CHATREAU                  3290 WOODLAND LN                                                                                 LEWISTON          MI 49756‐8685
RAYMOND CHAVEZ                    12923 SUNBURST STREET                                                                            PACOIMA           CA 91331‐3344
RAYMOND CHAVEZ                    8988 GULLO AVE                                                                                   ARLETA            CA 91331‐6125
RAYMOND CHENIER                   1100 CHOCTAW RIDGE RD                                                                            MIDWEST CITY      OK 73130‐6129
RAYMOND CHENOWETH                 9531 WHIPPLE SHORES DR                                                                           CLARKSTON         MI 48348‐2165
RAYMOND CHERRY                    1018 WRIGHT ST                                                                                   SAGINAW           MI 48602‐2839
RAYMOND CHESMORE JR               2310 GATSBY LN                                                                                   THE VILLAGES      FL 32162‐5052
RAYMOND CHESS                     1084 ANDANTE CT                                                                                  OXFORD            MI 48370‐2523
RAYMOND CHEVALIER                 13500 FRENCH LN                                                                                  DAVISBURG         MI 48350‐2821
RAYMOND CHEVROLET & OLDSMOBILE,   118 RTE 173                                                                                      ANTIOCH            IL
INC
RAYMOND CHEVROLET & OLDSMOBILE,   MARK SCARPELLI                   118 RTE 173                                                     ANTIOCH           IL   60002
INC.
RAYMOND CHEVROLET & OLDSMOBILE,   118 RTE 173                                                                                      ANTIOCH           IL   60002
INC.
RAYMOND CHILDERS                  81 AUCTION LN                                                                                    BERKELEY SPGS    WV    25411‐5019
RAYMOND CHOUINARD                 4190 HAYNES RD                                                                                   STOCKBRIDGE      MI    49285‐9521
RAYMOND CHRISTANI                 455 WEST OHIO AVENUE                                                                             SEBRING          OH    44672‐1127
RAYMOND CHRISTIAN                 1387 BELLEVUE RD                                                                                 FOREST           VA    24551‐3509
RAYMOND CHRISTIE                  1263 AUSTIN AVE                                                                                  LINCOLN PARK     MI    48146‐2002
RAYMOND CHURCH                    11378 HIDDEN OAKS DR                                                                             CLIO             MI    48420‐2904
RAYMOND CIANEK                    304 MAIN ST                                                                                      ESSEXVILLE       MI    48732‐1655
RAYMOND CLAEYS                    15706 EXETER CT                                                                                  FRASER           MI    48026‐2334
RAYMOND CLARK                     PO BOX 74                                                                                        LOOKOUT          CA    96054‐0074
RAYMOND CLARK                     4525 HOLLEY BYRON RD             ROUTE 3                                                         HOLLEY           NY    14470‐9073
RAYMOND CLARK                     1260 COTTONWOOD CT                                                                               MOORESVILLE      IN    46158‐7618
RAYMOND CLARK                     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS   OH    44236
RAYMOND CLARK SR                  1414 MAIN ST                                                                                     BEECH GROVE      IN    46107‐1547
RAYMOND CLAYTON                   7905 THON DRIVE                                                                                  VERONA           PA    15147
RAYMOND CLEM                      2725 MINOT AVE                                                                                   CINCINNATI       OH    45209‐1610
RAYMOND CLEMONS                   5080 CAMBRIDGE CT                                                                                FLUSHING         MI    48433‐1387
RAYMOND CLEMONS                   3112 BELL OAKS CIR APT C                                                                         MONTGOMERY       AL    36116‐3128
RAYMOND CLEVENGER JR              3293 WHEATCROFT DR                                                                               CINCINNATI       OH    45239‐6130
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Name                  Address1                           Address2                     Address3   Address4         City               State Zip
RAYMOND CLINE         4476 DURST CLAGG RD                                                                         CORTLAND            OH 44410‐9503
RAYMOND CLORE         PO BOX 306                                                                                  NEWPORT             IN 47966‐0306
RAYMOND CLOUTIER      484 COURT HOUSE LN                                                                          PASCOAG              RI 02859‐2811
RAYMOND CLOUTIER      4164 HUNTER RD                                                                              PINCONNING          MI 48650‐9732
RAYMOND COAKLEY       65 BEVERLY AVE                                                                              LOCKPORT            NY 14094‐2551
RAYMOND COBB          1310 BALD EAGLE LAKE RD                                                                     ORTONVILLE          MI 48462‐9096
RAYMOND COBB          4678 MARLYN RT 4                                                                            VASSAR              MI 48768
RAYMOND COCKE         2493 N GENESEE RD                                                                           BURTON              MI 48509‐1133
RAYMOND COCUCCI       110 HIGHWAY AVE                                                                             CONGERS             NY 10920‐2837
RAYMOND COLE          254 MORROW RD                                                                               SOUTH LEBANON       OH 45065‐1326
RAYMOND COLE          702 GOLFVIEW WAY                                                                            BOWLING GREEN       KY 42104‐5533
RAYMOND COLE          BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
RAYMOND COLLINS       111 CORONADO                                                                                CATLIN               IL 61817‐9658
RAYMOND COLLINS       16029 RIVER RIDGE TRL                                                                       LINDEN              MI 48451‐8593
RAYMOND COLLINS       461 CALHOUN AVE                                                                             CALUMET CITY         IL 60409‐2313
RAYMOND COLLINS III   1369 E DOWNEY AVE                                                                           FLINT               MI 48505‐1731
RAYMOND COLONNA       12064 MILLION DOLLAR HWY                                                                    MEDINA              NY 14103‐9647
RAYMOND COMBS         7500 DULL RD                                                                                ARCANUM             OH 45304‐9418
RAYMOND COMBS         PO BOX 293                                                                                  CLARKSVILLE         OH 45113‐0293
RAYMOND COMER         4186 BELLEVUE RD                                                                            ONONDAGA            MI 49264‐9715
RAYMOND CONDRY        322 HOSMER ST                                                                               MARLBOROUGH         MA 01752‐1442
RAYMOND CONLEY        16495 STUART RD                                                                             CHESANING           MI 48616‐9789
RAYMOND CONNORS       2310 RM RD                                                                                  ROCK                MI 49880‐9408
RAYMOND COOK          1574 DAWN ST                                                                                YPSILANTI           MI 48198‐3261
RAYMOND COOK          223 WATER, BOX 16                                                                           MAPLE RAPIDS        MI 48853
RAYMOND COOK JR       1046 N NASHUA TER                                                                           INVERNESS           FL 34453‐0512
RAYMOND COOLEY        1306 PARK DR                                                                                MIDDLETOWN          OH 45044‐6346
RAYMOND COPELAND      3949 CADWALLADER SONK RD                                                                    CORTLAND            OH 44410‐9444
RAYMOND COREY         1437 BRIARWOOD DR                                                                           LANSING             MI 48917‐1711
RAYMOND CORNELIUS     11292 BUTTERNUT RD                                                                          CHARDON             OH 44024‐9326
RAYMOND CORNELL       608 E 13TH ST                                                                               GEORGETOWN           IL 61846‐1220
RAYMOND COUCH         1360 ISLAND CREEK RD                                                                        MANCHESTER          OH 45144‐9564
RAYMOND COUELL        5 DILLER DR                                                                                 ORCHARD PARK        NY 14127‐1633
RAYMOND COUGHRAN      29168 TRIBBEY RD                                                                            WANETTE             OK 74878‐6044
RAYMOND COURTADE      8136 GREENRIDGE DR                                                                          JENISON             MI 49428‐8526
RAYMOND COUSIN        6068 APPLECREST CT                                                                          BOARDMAN            OH 44512‐3158
RAYMOND COWAN         1847 FAUVER AVE                                                                             DAYTON              OH 45420‐2504
RAYMOND COY           154 WATERS EDGE DR                                                                          SOMERSET            KY 42501‐6008
RAYMOND COY JR        7445 LORENE CT                                                                              INDIANAPOLIS        IN 46237‐9608
RAYMOND CRAFT         600 GALE RD                                                                                 EATON RAPIDS        MI 48827‐9103
RAYMOND CRAIB         1931 N 400 E                                                                                ANDERSON            IN 46012‐9469
RAYMOND CRANE         10017 SEYFORTH RD                                                                           SILVERWOOD          MI 48760‐9722
RAYMOND CRANE JR      565 STIRLING ST                                                                             PONTIAC             MI 48340‐3160
RAYMOND CRAW          1050 RUSSELL PT                                                                             SUWANEE             GA 30024‐4248
RAYMOND CRAWFIS       4318 S BANCROFT RD                                                                          DURAND              MI 48429‐9743
RAYMOND CRAWFORD      EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                      DETROIT             MI 48265‐2000

RAYMOND CREECH        1222 FUDGE DR                                                                               BEAVERCREEK        OH   45434‐6721
RAYMOND CROCCO        WEITZ & LUXENBERG P C              700 BROADWAY                                             NEW YORK           NY   10003
RAYMOND CROSSE        2112 SPRUCEWOOD DR                                                                          STERLING HEIGHTS   MI   48310‐5865
RAYMOND CROSTON       21201 KELLER RD                                                                             FOLEY              AL   36535‐4027
RAYMOND CROSTON JR    5813 W WILLOW HWY                                                                           LANSING            MI   48917‐1212
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Name                        Address1                       Address2                        Address3   Address4             City            State Zip
RAYMOND CROTEAU             4401 HILL RD                                                                                   SWARTZ CREEK     MI 48473‐8846
RAYMOND CROUCH              9016 BIRKHILL DR                                                                               STERLING HTS     MI 48314‐2503
RAYMOND CUBEL               134 N GREEN SPRINGS RD                                                                         INDIANAPOLIS     IN 46214‐3956
RAYMOND CUELLAR             1509 S OUTER DR                                                                                SAGINAW          MI 48601‐6634
RAYMOND CULLERS JR.         3400 W RIGGIN RD UNIT 32                                                                       MUNCIE           IN 47304‐6193
RAYMOND CUMMINGS            25 ROBERT ST                                                                                   FLINT            MI 48507‐2185
RAYMOND CUNNINGHAM          2707 8 MILE RD                                                                                 AUBURN           MI 48611‐9736
RAYMOND CUNNINGHAM          796 ANN ST                                                                                     PLYMOUTH         MI 48170‐1261
RAYMOND CUNNINGHAM          36794 BRIDGEWATER CT                                                                           CLINTON TWP      MI 48035‐1110
RAYMOND CURLEW              11314 LOVELAND ST                                                                              LIVONIA          MI 48150‐2749
RAYMOND CYR                 900 N ALEXANDER AVE                                                                            ROYAL OAK        MI 48067‐3608
RAYMOND CZURAK              3337 GLADIOLA AVE SW                                                                           WYOMING          MI 49519‐3226
RAYMOND D & ALICE I SMITH   C/O MCKENNA & ASSOCIATES PC    436 BOULEVARD OF THE ALLIES ‐                                   PITTSBURGH       PA 15219
                                                           SUITE 500
RAYMOND D ADAMS             4545 W HILLCREST AVE                                                                           DAYTON          OH   45406‐2312
RAYMOND D AUSTIN            1377 KENNETH ST                                                                                YOUNGSTOWN      OH   44505‐3825
RAYMOND D BLEVINS JR        713 FRANKLIN                                                                                   WAYNESVILLE     OH   45068
RAYMOND D COLE              254 MORROW RD                                                                                  SOUTH LEBANON   OH   45065‐1326
RAYMOND D COMBS             PO BOX 293                                                                                     CLARKSVILLE     OH   45113‐0293
RAYMOND D COWAN             1847 FAUVER AVE                                                                                DAYTON          OH   45420
RAYMOND D DWIRE             5093 DIAMOND MILL RD                                                                           GERMANTOWN      OH   45327
RAYMOND D FISHER            606 S MAIN ST                                                                                  ARCANUM         OH   45304‐1232
RAYMOND D JOHNSTON          1439 DARREL RD                                                                                 TOLEDO          OH   43612‐4213
RAYMOND D KASHMAR           500 JOHNSON AVE                                                                                BERWICK         PA   18603
RAYMOND D LLAMAS            3870 CICOTTE ST APT 1R                                                                         DETROIT         MI   48210
RAYMOND D LUNSFORD          520 N SEXTON                                                                                   RUSHVILLE       IN   46173
RAYMOND D MUENCHEN          114 1/2 S. CLEMENS AVE.                                                                        LANSING         MI   48912
RAYMOND D REDD              7401 BELLEPLANE DR                                                                             HUBER HEIGHTS   OH   45424
RAYMOND D REDD              4401 PROCUNNIAR                                                                                DAYTON          OH   45424‐5844
RAYMOND D RICHARDSON        3510 S. NORTH BRANCH DRIVE                                                                     BEAVERTON       MI   48612
RAYMOND D SHEPPARD          325 N. BENTLEY AVE.                                                                            NILES           OH   44446
RAYMOND D SMITH             7287 CONCORD RD.                                                                               EATON           OH   45320
RAYMOND D STORMER           1925 SOUTHERN BLVD NW          APT 24                                                          WARREN          OH   44485‐1631
RAYMOND D TRURAN            7598 VENICE DR. N.E.                                                                           WARREN          OH   44484‐1502
RAYMOND D TYLER             2572 THORNTON AVE                                                                              FLINT           MI   48504‐2358
RAYMOND D WALKER            650 N KERBY RD                                                                                 CORUNNA         MI   48817‐9702
RAYMOND D ZORNES            7640 W HIGHWAY 36 36                                                                           SHARPSBURG      KY   40374
RAYMOND D'ANGELO            115 BAYTON DR                                                                                  ROCHESTER       NY   14622‐1536
RAYMOND D'HONDT JR          53071 GREGORY DR                                                                               MACOMB          MI   48042‐5705
RAYMOND D. SMITH            ALICE I. SMITH                 857 EAST ST                                                     RICHLANDS       VA   24641‐1331
RAYMOND DABROWSKI           1703 32ND ST                                                                                   BAY CITY        MI   48708‐8728
RAYMOND DAEHN               1922 WINTER PASS TRAIL                                                                         ARLINGTON       TX   76002‐3611
RAYMOND DAGENAIS            775 GUY ST                                                                CORNWALL ON K6H4W2
                                                                                                      CANADA
RAYMOND DAGENAIS            13083 HARBOR LANDINGS DR                                                                       FENTON          MI   48430‐8899
RAYMOND DAGNAN              6067 RUDY RD                                                                                   TIPP CITY       OH   45371‐8723
RAYMOND DAILEY              400 GREENLER RD UNIT 1507                                                                      DEFIANCE        OH   43512‐4201
RAYMOND DALBY               N2339 E ROCKDALE RD                                                                            CAMBRIDGE       WI   53523‐9789
RAYMOND DALEY               5309 HIBBS DR                                                                                  FORT WORTH      TX   76137‐4901
RAYMOND DAME                5460 MADISON AVE SE                                                                            GRAND RAPIDS    MI   49548‐5853
RAYMOND DANIEL              3508 W WOODHAVEN DR                                                                            BLOOMINGTON     IN   47403‐4135
RAYMOND DANIELEWICZ         13348 CHAMPAIGN AVE                                                                            WARREN          MI   48089‐1347
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RAYMOND DANN           18580 WESTMORELAND RD                                                                     DETROIT           MI 48219‐5000
RAYMOND DAVENPORT      286 PUMPKIN CENTER CIR                                                                    QUITMAN           AR 72131‐8882
RAYMOND DAVID          7228 HOLABIRD AVE                                                                         BALTIMORE         MD 21222‐1809
RAYMOND DAVID JR       5817 MORA PL                                                                              ELKTON            FL 32033‐4031
RAYMOND DAVIDSON       9464 W 1300 N                                                                             ELWOOD            IN 46036‐8706
RAYMOND DAVIDSON       RUBENSLEI 3 B23                  2018 ANTWERP
RAYMOND DAVIS          32 MATILDA AVE                                                                            MARION           NC   28752‐3644
RAYMOND DAVIS          189 POTOMAC CT                                                                            MEDINA           OH   44256‐3865
RAYMOND DAVIS          4478 WHEELER RD                                                                           STANDISH         MI   48658‐9170
RAYMOND DAVIS          755 OSAGE HIGHLANDS LOOP                                                                  CAMDENTON        MO   65020‐4528
RAYMOND DAVIS          1147 W SCHUMACHER AVE                                                                     FLINT            MI   48507‐3617
RAYMOND DAVIS          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS   OH   44236
RAYMOND DAVIS JR       3747 COLUMBINE CT                                                                         WATERFORD        MI   48329‐2127
RAYMOND DAVIS JR       1409 S ELMS RD                                                                            FLINT            MI   48532‐5348
RAYMOND DAVIS JR       643 POINSETTIA DR                                                                         LARGO            FL   33770‐1516
RAYMOND DAWLEY         10910 BRAMPTON HTS P1 LANE                                                                BRAMPTON         MI   49837
RAYMOND DE BUCK SR     379 N POINTE DR                                                                           ATTICA           MI   48412‐9706
RAYMOND DE CLARK       27101 GILBERT DR                                                                          WARREN           MI   48093‐4490
RAYMOND DE GROOTE      3058 LOSS TRL                                                                             MILFORD          MI   48380‐2937
RAYMOND DE MEYERE      41619 BEDFORD DR                                                                          CANTON           MI   48187‐3703
RAYMOND DEATON         PO BOX 407                       APT 4                                                    AMELIA           OH   45102‐0407
RAYMOND DEBERRY        9621 HEMLOCK DR                                                                           SAINT LOUIS      MO   63137‐1359
RAYMOND DECAPITO       247 CRANBERRY CT                                                                          WARREN           OH   44483‐1551
RAYMOND DECKER II      2150 S HENDERSON RD                                                                       DAVISON          MI   48423‐9121
RAYMOND DEETER         11310 LITTLE RICHMOND RD                                                                  BROOKVILLE       OH   45309‐9316
RAYMOND DEGIORGIO      4085 WILDWOOD CT                                                                          COMMERCE TWP     MI   48382‐1080
RAYMOND DEGROODT       405 E 307TH ST                                                                            WILLOWICK        OH   44095‐3727
RAYMOND DEGROW JR      11225 WILD POND DR NE                                                                     ROCKFORD         MI   49341‐7603
RAYMOND DEIBOLDT JR.   6064 S TRANSIT RD                                                                         LOCKPORT         NY   14094‐6310
RAYMOND DELCAMBRE      5056 WALDEN AVE                                                                           FORT WORTH       TX   76132‐2116
RAYMOND DELGADO        2508 ALTOONA ST                                                                           FLINT            MI   48504‐7701
RAYMOND DELGADO        11267 W CORUNNA RD                                                                        LENNON           MI   48449‐9721
RAYMOND DELLARIO       9017 ASHER ST                                                                             GASPORT          NY   14067‐9409
RAYMOND DELONG         PO BOX 112                                                                                REMUS            MI   49340‐0112
RAYMOND DELONG         181 LUMPKIN COUNTY PARK RD                                                                DAHLONEGA        GA   30533‐6626
RAYMOND DELOZIER       5051 N HWY A1A                   APT PH2‐4                                                FT PIERCE        FL   34949
RAYMOND DELOZIER       5051 N. HWY. A1A                 APT. PH2‐4                                               FORT PIERCE      FL   34949
RAYMOND DEMBNY         PO BOX 94                                                                                 ROGERS CITY      MI   49779‐0094
RAYMOND DEMOND         9317 STATE RD                                                                             NASHVILLE        MI   49073‐9750
RAYMOND DENCZAK        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH   44236
RAYMOND DENNIE         345 SPRUCE ST                                                                             MOUNT MORRIS     MI   48458‐1936
RAYMOND DENNIS JR      239 E JACKSON ST                                                                          LANSING          MI   48906‐4018
RAYMOND DENNO          7175 HELEN ST                                                                             SAGINAW          MI   48609‐5304
RAYMOND DENNY MILLER   FOSTER & SEAR, LLP               817 GREENVIEW DR.                                        GRAND PRAIRIE    TX   75050
RAYMOND DENTON         9447 LOOKOUT POINT DR                                                                     LAINGSBURG       MI   48848‐8782
RAYMOND DERR JR        2420 FAIRVIEW DR                                                                          FOREST HILL      MD   21050‐1634
RAYMOND DESANDER       PO BOX 584                                                                                CLIO             MI   48420‐0584
RAYMOND DESIO          WEITZ & LUXENBERG PC             700 BROADWAY                                             NEW YORK CITY    NY   10003
RAYMOND DESIO          C/O WEITZ & LUXENBERG PC         700 BROADWAY                                             NEW YORK CITY    NY   10003
RAYMOND DESISTO        G3504 LARCHMONT ST                                                                        FLINT            MI   48532‐4943
RAYMOND DESZELL        8255 ELIZABETH LAKE RD                                                                    WHITE LAKE       MI   48386‐3415
RAYMOND DIAL           11236 OAKWOOD DR                                                                          BYRON            MI   48418‐8601
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Name                  Address1                         Address2                         Address3     Address4         City              State Zip
RAYMOND DIAZ          215 HOLLANDALE CIR APT G                                                                        ARLINGTON          TX 76010‐2308
RAYMOND DIAZ          1849 PLUM CREEK DR                                                                              MIDLOTHIAN         TX 76065‐5682
RAYMOND DIAZ JR       3102 SUN VALLEY ST                                                                              IRVING             TX 75062‐4004
RAYMOND DIBBLE        3362 LOON LAKE SHORES RD                                                                        WATERFORD          MI 48329‐4229
RAYMOND DICKERSON     3889 J.5 RD                                                                                     BARK RIVER         MI 49807‐9783
RAYMOND DIEM          1703 M L KING AVE                                                                               FLINT              MI 48503‐1001
RAYMOND DIETER        5249 N SHORE RD                                                                                 PINCONNING         MI 48650‐7503
RAYMOND DIETZ         4751 SCHOTT RD                                                                                  MAYVILLE           MI 48744‐9628
RAYMOND DILLINGER     PO BOX 193                                                                                      JENISON            MI 49429‐0193
RAYMOND DILLON        34403 IRIS LN                                                                                   EASTLAKE           OH 44095‐2457
RAYMOND DIONNE        1581 TIMBER RIDGE DR                                                                            CHOCTAW            OK 73020‐7951
RAYMOND DIPASQUALE    168 DIANE DR                                                                                    CHEEKTOWAGA        NY 14225‐5202
RAYMOND DIPPOLITO     11249 N PALMYRA RD                                                                              NORTH JACKSON      OH 44451‐9725
RAYMOND DIX           CASCINO MICHAEL P                220 SOUTH ASHLAND AVE                                          CHICAGO             IL 60607
RAYMOND DIXON         1267 E CORNELL AVE                                                                              FLINT              MI 48505‐1750
RAYMOND DIXON         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH 44236
RAYMOND DOBROWOLSKI   50870 SEADEN DR                                                                                 CHESTERFIELD       MI 48047‐4682
RAYMOND DOBY          18376 198TH ST                                                                                  TONGANOXIE         KS 66086‐5417
RAYMOND DODGE         8839 BEARD RD                                                                                   BYRON              MI 48418‐9733
RAYMOND DOERR JR      1763 EDINBOROUGH DR                                                                             ROCHESTER HILLS    MI 48306‐3631
RAYMOND DOGGETT       257 HOWARD ST                                                                                   BUFFALO            NY 14206‐1654
RAYMOND DOLATA        1124 W TENAYA WAY                                                                               FRESNO             CA 93711‐2045
RAYMOND DOLLAR        C/O G PATTERSON KEAHEY PC        ONE INDEPENDENCE PLAZA STE 612                                 BIRMINGHAM         AL 35209

RAYMOND DOLTZ JR.     23 WILLIAM ST                                                                                   MINE HILL         NJ   07803‐2437
RAYMOND DOMINGUEZ     319 N DRURY AVE                                                                                 KANSAS CITY       MO   64123‐1416
RAYMOND DOMKE         960 NANETTE ST                                                                                  TAWAS CITY        MI   48763‐9310
RAYMOND DOMZALSKI     42 HARVEST LN                                                                                   DEPEW             NY   14043‐4448
RAYMOND DONOVAN       PO BOX 575                                                                                      ORTONVILLE        MI   48462‐0575
RAYMOND DONSTON       6192 IROQUOIS RD                                                                                WESTMINSTER       CA   92683‐1904
RAYMOND DORELL        C/O COONEY AND CONWAY            120 NORTH LASALLE                30TH FLOOR                    CHICAGO           IL   60602
RAYMOND DORN          22712 BALDWIN RD RT 1                                                                           BANNISTER         MI   48807
RAYMOND DORTY         4623 ANSON ST                                                                                   LANSING           MI   48911‐2801
RAYMOND DOTA          5975 KIRK RD                                                                                    CANFIELD          OH   44406‐9614
RAYMOND DOUGHTY       11351 WILSON RD                                                                                 OTISVILLE         MI   48463‐9733
RAYMOND DOUGLAS       1834 KELLY LYNN TRL                                                                             CHEBOYGAN         MI   49721‐9638
RAYMOND DOWDICAN JR   53324 LORINA CT                                                                                 CHESTERFIELD      MI   48047‐6120
RAYMOND DOWELL        125 W TOBIAS ST                                                                                 FLINT             MI   48503‐3973
RAYMOND DRAKE         4181 CHALMETTE DR                                                                               DAYTON            OH   45440‐3226
RAYMOND DRAUS         3635 SEVILLE LN                                                                                 SAGINAW           MI   48604‐9581
RAYMOND DRAYS         5142 W OLEARY RD                                                                                JANESVILLE        WI   53548‐9181
RAYMOND DRISCOLL      134 PATTI DR                                                                                    FRANKLIN          OH   45005‐2334
RAYMOND DRISKILL      1257 ALEXANDRINE AVE                                                                            MOUNT MORRIS      MI   48458‐1707
RAYMOND DRIVER        5438 MICHIGAN RD                                                                                ARCADE            NY   14009‐9103
RAYMOND DRUGMAND      3649 NEWTON TOMLINSON RD SW                                                                     WARREN            OH   44481‐9217
RAYMOND DRUGMAND      1576 WILSON AVE                                                                                 NEWTON FALLS      OH   44444‐9754
RAYMOND DRUMGOOLE     630 KILMARNOCK TRL                                                                              BEL AIR           MD   21014‐2849
RAYMOND DRUMMOND      3847 SAMPSON RD                                                                                 YOUNGSTOWN        OH   44505‐1631
RAYMOND DRZEWIECKI    3121 PONEMAH DR                                                                                 FENTON            MI   48430‐1344
RAYMOND DUBEAU        591 WRENTHAM RD                                                                                 BELLINGHAM        MA   02019‐2653
RAYMOND DUBOIS        PO BOX 584                                                                                      MEADOWS LANDS     PA   15348‐0384
RAYMOND DUDOCK        9615 ARTESIA BEACH RD                                                                           SAINT HELEN       MI   48656‐9524
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RAYMOND DUEHRING       3179 HASLER LAKE RD                                                                      LAPEER              MI 48446‐9635
RAYMOND DUKE           110 WHIPPOORWILL LN                                                                      WHITEHOUSE          TX 75791‐3202
RAYMOND DULANEY        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
RAYMOND DUNCAN         3281 GILCHRIST                                                                           WATERFORD           MI 48328‐1616
RAYMOND DUNLAP         11151 LAPEER RD                                                                          DAVISON             MI 48423‐8118
RAYMOND DUPERRE        34760 MAPLEGROVE DR APT G                                                                STERLING HEIGHTS    MI 48312‐4786
RAYMOND DUQUETTE       PO BOX 277                                                                               FALKVILLE           AL 35622‐0277
RAYMOND DURAND         75 DESMARAIS ST                                                                          CUMBERLAND           RI 02864‐2059
RAYMOND DURANT         1 BORDE AQUA DR                                                                          EDGEWATER           FL 32132‐3581
RAYMOND DURTKA         1557 BERKSHIRE ST                                                                        WESTLAND            MI 48186‐5365
RAYMOND DUTCHER        344 ELM ST., BOX 507                                                                     DIMONDALE           MI 48821
RAYMOND DUTY           11523 MARTINSVILLE RD                                                                    CARLETON            MI 48117‐9149
RAYMOND DWYER          631B HUNTINGTON DR                                                                       LAKEWOOD            NJ 08701‐7859
RAYMOND DYE            3224 RUST AVE                                                                            SAGINAW             MI 48601‐3147
RAYMOND DYE            3342 WINDLAND DR                                                                         FLINT               MI 48504‐1720
RAYMOND DYKHOUSE       1023 WASHINGTON BLVD                                                                     LAKE ODESSA         MI 48849‐1073
RAYMOND DZUBA          1902 MAPLERIDGE RD                                                                       SAGINAW             MI 48604‐1743
RAYMOND E ALLEN        249 ATLANTIC ST NW B                                                                     WARREN              OH 44483
RAYMOND E BARNES       144 E. MAPLE STREET                                                                      CENTERVILLE         OH 45390‐1645
RAYMOND E BOSTICK      8730 CHIRSTYGATE LANE                                                                    HUBER HEIGHTS       OH 45424‐6400
RAYMOND E BOWLES       8404 GREEN RD                                                                            FENTON              MI 48430‐8937
RAYMOND E BROWN        PO BOX 279                                                                               CLIO                MI 48420‐0279
RAYMOND E BURNETT      PO BOX 604                                                                               JAMESTOWN           PA 16134
RAYMOND E CATES        2985 JAYSVILLE SAINT JOHNS RD                                                            ARCANUM             OH 45304
RAYMOND E CLINE        4476 DURST CLAGG RD                                                                      CORTLAND            OH 44410‐9503
RAYMOND E DAVIS IRRA   RAYMOND E DAVIS                 15 BRANNON COURT                                         FLORENCE            AL 35630
RAYMOND E DEETER       11310 LITTLE RICHMOND RD                                                                 BROOKVILLE          OH 45309‐9316
RAYMOND E DEMOND       1080 N WELLMAN RD                                                                        WOODLAND            MI 48897‐9771
RAYMOND E DOLMAN       9475 DUNKIRK RD                                                                          SPRING HILL         FL 34608
RAYMOND E DONNELLY     14026 W PAVILLION DR                                                                     SUN CITY WEST       AZ 85375
RAYMOND E DOSS         745 WASHINGTON AVE                                                                       GREENVILLE          OH 45331
RAYMOND E FORNEY       3607 E HIGHWAY 917                                                                       MULLINS             SC 29574
RAYMOND E GARDNER      RT #1 BOX 182‐A                                                                          SOUTHINGTON         OH 44470‐9801
RAYMOND E GEIS         6601 HEDINGTON SQUARE                                                                    CENTERVILLE         OH 45459‐6920
RAYMOND E GEPHART      2734 BACK VALLEY RD                                                                      SPEEDWELL           TN 37870‐7428
RAYMOND E GROETSCH     498 WASHINGTON STREET                                                                    ADAMS BASIN         NY 14410
RAYMOND E GROETSCH     PO BOX 803                                                                               ADAMS BASIN         NY 14410‐0803
RAYMOND E HALE         PO 1264                                                                                  GRAND ISLAND        NY 14072
RAYMOND E HANNAH JR    239 SPARKLING CT                                                                         AUBURNDALE          FL 33823‐9285
RAYMOND E HAROLD       1509 DESS DR.                                                                            ORLANDO             FL 32818‐5610
RAYMOND E HATCH        4611 SOUTHGATE                                                                           BYRDSTOWN           TN 38549‐‐ 48
RAYMOND E HENDRICKS    8137 S RAILROAD ST NW                                                                    WASHINGTON C H      OH 43160‐9075
RAYMOND E HOLLIDAY     11928 CREEK RD                                                                           CARLETON            MI 48117‐9752
RAYMOND E JAMES        792 CLEAR SPRINGS RD                                                                     RUSSELL SPGS        KY 42642‐8859
RAYMOND E JOHNSON      4405 THOMPSON DR                                                                         DAYTON              OH 45416‐2237
RAYMOND E JONES        1531 UPLANDS DR.                                                                         SPRINGFIELD         OH 45506‐4024
RAYMOND E KALTENBACH   4729 PENSACOLA BLVD                                                                      MORAINE             OH 45439‐2829
RAYMOND E KECK         6534 MT HOLLY ROAD                                                                       WAYNESVILLE         OH 45068‐9736
RAYMOND E KING         8293 CRESTVIEW DR                                                                        GREENVILLE          MI 48838‐8162
RAYMOND E KNIGHT       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                HOUSTON             TX 77007
                       BOUNDAS LLP
RAYMOND E LAZIER       13362 PASCO MONTRA RD                                                                    MAPLEWOOD          OH 45340‐9719
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Name                      Address1                         Address2             Address3        Address4         City              State Zip
RAYMOND E LEWIS           2116 BRANDT PIKE                                                                       DAYTON             OH 45404‐1422
RAYMOND E LOPEZ           2021 MARILYN LANE                                                                      ARLINGTON          TX 76010‐8024
RAYMOND E LOWREY          604 COLONY TRAIL                                                                       NEW CARLISLE       OH 45344‐8569
RAYMOND E MCFARLAND       10 JAY ST                                                                              NEWTON FALLS       OH 44444
RAYMOND E MEESSEMAN       13029 N HOLLY RD                                                                       HOLLY              MI 48442‐9502
RAYMOND E MONTNEY         950 VOORHEIS RD APT 4                                                                  WATERFORD          MI 48328‐3878
RAYMOND E PARKS           3578 COUNTY ROAD 427                                                                   AUBURN             IN 46706‐9430
RAYMOND E PARSON          219 W 7TH ST                                                                           TILTON              IL 61833‐7807
RAYMOND E PENKALA         304 S WILLIAMS ST                                                                      BAY CITY           MI 48706‐4682
RAYMOND E PETERSON        2902 E.HILLCREST AVE.                                                                  ORANGE             CA 92867‐3026
RAYMOND E SCOTT           1129 PANAMA AVE                                                                        MOUNT MORRIS       MI 48458‐2533
RAYMOND E SETTY           557 ST RT 132 PO BOX 85                                                                CLARKSVILLE        OH 45113‐0085
RAYMOND E SHERWOOD        4446‐B LOVE LANE                                                                       BEAVERCREEK        OH 45430
RAYMOND E SMITH           607 SMITH AVENUE                                                                       XENIA              OH 45385‐2223
RAYMOND E SMITH           NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPT   205 LINDA DR                     DAINGERFIELD       TX 75638
RAYMOND E STEVENS         5161 SUGAR MAPLE DRIVE                                                                 KETTERING          OH 45440
RAYMOND E THOMPSON        7441 RIVER RD                                                                          COTTRELLVILLE      MI 48039‐2822
RAYMOND E THOMPSON        7441 S RIVER RD BLDG E                                                                 COTTRELLVILLE      MI 48039
RAYMOND E WENDLING        19204 BUECHE RD                                                                        NEW LOTHROP        MI 48460‐9643
RAYMOND E WEST JR         PO BOX 212                                                                             EATON RAPIDS       MI 48827‐0212
RAYMOND E. CONNOLLY
RAYMOND E. KELLEY, INC.                                    33 MAIN ST                                                              NY   14026
RAYMOND EALY              17840 SE 100TH TER                                                                     SUMMERFIELD       FL   34491‐7400
RAYMOND EASTHAM           7449 PAPAYA TRL                                                                        GAYLORD           MI   49735‐7834
RAYMOND EASTLAND          31701 S JACOBSON RD                                                                    HARRISONVILLE     MO   64701‐7381
RAYMOND EASTON            923 N SUMAC DR                                                                         JANESVILLE        WI   53545‐2148
RAYMOND EATON             1416 CHAMPAIGN RD                                                                      LINCOLN PARK      MI   48146‐3300
RAYMOND EBERSBERGER       8385 KEMPA ST                                                                          ROMULUS           MI   48174‐2221
RAYMOND ECHTINAW          2424 FRANKSON AVE                                                                      ROCHESTER HILLS   MI   48307‐4632
RAYMOND ECKENRODE         201 HAYDEN PL                                                                          JACKSONVILLE      NC   28540‐9104
RAYMOND ECKER             3878 FIVE LAKES RD                                                                     NORTH BRANCH      MI   48461‐8407
RAYMOND EDDY JR           7330 ALBOSTA DR                                                                        SAGINAW           MI   48609‐5220
RAYMOND EDMONDS           3237 HARWOOD ST                                                                        KETTERING         OH   45429‐4256
RAYMOND EICKHOLT          104 RAINBOW DR PMB 427                                                                 LIVINGSTON        TX   77399‐1004
RAYMOND ELAM JR           9222 SEMINOLE                                                                          REDFORD           MI   48239‐2326
RAYMOND ELAM SR           1000 S GOLD AVE                                                                        DEMING            NM   88030‐4758
RAYMOND ELKINS            1165 PALMER RD                                                                         CAMDEN            TN   38320‐6727
RAYMOND ELLERBE           51237 S ADELE CIR                                                                      CHESTERFIELD      MI   48047‐3088
RAYMOND ELLERT            2859 REBOR CT                                                                          CINCINNATI        OH   45239‐6316
RAYMOND ELLIS             28 BELLWOOD DR                                                                         SWARTZ CREEK      MI   48473‐8283
RAYMOND ELLIS             6054 FREEDOM LN                                                                        FLINT             MI   48506‐1650
RAYMOND ELLISON           3601 N GRAND RIVER AVE                                                                 LANSING           MI   48906‐2714
RAYMOND ELM               274 SOLOMON DR                                                                         CADIZ             KY   42211‐8077
RAYMOND ELSWICK           4173 MANOR DR                                                                          GRAND BLANC       MI   48439‐7903
RAYMOND EMERICK           7551 KINDE RD                                                                          PORT HOPE         MI   48468‐9603
RAYMOND EMERSON           317 HILLENDALE RD                                                                      AVONDALE          PA   19311‐9742
RAYMOND EMERY             1222 COTTAGE ST                                                                        ASHLAND           OH   44805‐1766
RAYMOND ENGEL             2220 S GRANT AVE                                                                       JANESVILLE        WI   53546‐5915
RAYMOND ENGR/MDLTWN       217 SMITH ST                                                                           MIDDLETOWN        CT   06457‐8750
RAYMOND ENTINGH           1109 FIREWOOD DR                                                                       BEAVERCREEK       OH   45430‐1211
RAYMOND EPPERSON          10 PRINCE JOHN LN                                                                      PALM COAST        FL   32164‐7158
RAYMOND ERDMANN           1407 S WILLARD AVE                                                                     JANESVILLE        WI   53546‐5438
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Name                          Address1                          Address2                       Address3             Address4                City               State Zip
RAYMOND ERLANDSON             37540 N LAUREL PARK DR                                                                                        LIVONIA             MI 48152‐3949
RAYMOND ERNST JR              47 FLOWER ST                                                                                                  BUFFALO             NY 14214‐1131
RAYMOND ERP JR                1618 FEISE FOREST DR                                                                                          O FALLON            MO 63368‐6800
RAYMOND ERVIN                 RR 2 BOX 568                                                                                                  ROSE HILL           VA 24281‐9652
RAYMOND ESCOE                 2050 ROCK CREEK RD                                                                                            BUFORD              GA 30519‐4335
RAYMOND ESHBAUGH              339 PLYMOUTH DR                                                                                               DAVISON             MI 48423‐1725
RAYMOND ESLICK                13565 27 MILE RD                                                                                              WASHINGTON          MI 48094‐2419
RAYMOND ESQUIBEL              3313 VISTA DE VEGAS                                                                                           LAS VEGAS           NM 87701‐9700
RAYMOND ESTEPP                413 SAINT JOHN ST APT 1                                                                                       WYANDOTTE           MI 48192‐2956
RAYMOND ESUNIS                5N151 PINE CT                                                                                                 WEST CHICAGO         IL 60185‐2057
RAYMOND ET CIE (A)            113 COURS BERRIAT                                                                     GRENOBLE 38000 FRANCE
RAYMOND ETCHISON              12298 N STATE ROAD 9                                                                                          ALEXANDRIA         IN   46001‐8924
RAYMOND EVANS                 12456 W WINDSOR RD                                                                                            PARKER CITY        IN   47368‐9337
RAYMOND EVANS                 58 CIRCLE DR                                                                                                  CHESTERFIELD       IN   46017‐1568
RAYMOND EVANS JR              659 RED PINE DR                                                                                               FLINT              MI   48506‐5230
RAYMOND EVERLING              2915 BECKENHAM WAY                                                                                            GREENWOOD          IN   46143‐7547
RAYMOND EVERT                 10 WILLARD CT                                                                                                 GRAND LEDGE        MI   48837‐1356
RAYMOND EVERY                 485 N EVERY RD                                                                                                MASON              MI   48854‐9650
RAYMOND EVES                  2518 CAMDEN AVE                                                                                               FLINT              MI   48507‐1609
RAYMOND EVES                  G‐8460 BEECHER RD                                                                                             FLUSHING           MI   48433
RAYMOND F BAUMBICK            404 VIKING WAY                                                                                                BROCKPORT          NY   14420‐2435
RAYMOND F BERGMAN             330 DEAUVILLE DR                                                                                              DAYTON             OH   45429‐5931
RAYMOND F BRUSSEAU            8081 PEBBLE CREEK DR                                                                                          FARWELL            MI   48622
RAYMOND F DE CLARK            27101 GILBERT DR                                                                                              WARREN             MI   48093‐4490
RAYMOND F DIETER              5249 N SHORE RD                                                                                               PINCONNING         MI   48650‐7503
RAYMOND F EICHEN              ROBERT W PHILLIPS                 SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD   PO BOX 521              EAST ALTON         IL   62024
                                                                ANGELIDES & BARNERD LLC
RAYMOND F FOGARTY AMENDED &   RESTATED DECLARATION OF TRUST     4381 SW PARKGATE BLVD                                                       PALM CITY          FL   34990‐4453
RAYMOND F HARRISON            5449 PINEAPPLE HWY                                                                                            GREENVILLE         AL   36037
RAYMOND F MITCHELL            5656 BASORE RD                                                                                                DAYTON             OH   45415
RAYMOND F NIMRICK             220 W 5TH ST                                                                                                  TILTON             IL   61833‐7430
RAYMOND F ROANTREE            659 W BLUFF CT                                                                                                ROCHESTER HILLS    MI   48307‐6081
RAYMOND F ROSS                4669 WEST LAKE RD                                                                                             GENESEO            NY   14454‐9618
RAYMOND F WEBER               102 HILL AVE                                                                                                  CARNEGIE           PA   15106‐3007
RAYMOND F YOUNCE              4020 EAST 4TH STREET                                                                                          DAYTON             OH   45403
RAYMOND FABER                 1217 VAN VLEET RD                                                                                             SWARTZ CREEK       MI   48473‐9708
RAYMOND FAHIE                 180 PINE HILL DR                                                                                              DEFUNIAK SPRINGS   FL   32435‐8676
RAYMOND FALESKA               100 BEACH AVE                                                                                                 MANAHAWKIN         NJ   08050‐3111
RAYMOND FARMER                4361 4TH ST                                                                                                   WAYNE              MI   48184‐2130
RAYMOND FARMER                4801 JUSTIN DR                                                                                                DRYDEN             MI   48428‐9304
RAYMOND FARMER                5001 HAUSER DR                                                                                                PFAFFTOWN          NC   27040‐9742
RAYMOND FARRELL BARRETT       C/O G PATTERSON KEAHEY PC         ONE INDEPENDENCE PLAZE SUITE                                                BIRMINGHAM         AL   35209
                                                                612
RAYMOND FAUST                 3851 HI CREST DR                                                                                              LAKE ORION         MI   48360‐2418
RAYMOND FAVINGER              PO BOX 182                                                                                                    LENNI              PA   19052‐0182
RAYMOND FAY                   3374 EMERALD RIDGE                                                                                            CINCINATTI         OH   45211
RAYMOND FEARING               1100 CONCORD RD                                                                                               MARLBOROUGH        MA   01752‐5624
RAYMOND FEDEWA                9682 NELSON RD                                                                                                PORTLAND           MI   48875‐9772
RAYMOND FEHER                 368 HASLETT RD                                                                                                WILLIAMSTON        MI   48895‐9375
RAYMOND FELIX                 15323 KENNEBEC ST                                                                                             SOUTHGATE          MI   48195‐3814
RAYMOND FELL                  15254 HANOVER AVE                                                                                             ALLEN PARK         MI   48101‐2676
RAYMOND FERNANDEZ             4557 ALAMEDA DR                                                                                               FREMONT            CA   94536‐5704
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Name                        Address1                        Address2                      Address3   Address4         City              State Zip
RAYMOND FERNANDEZ           37064 CABRILLO DR                                                                         FREMONT            CA 94536‐5710
RAYMOND FERRETT             4694 WAYNICK DR                                                                           BRITTON            MI 49229‐9431
RAYMOND FERRIO              64 SANWOOD DR                                                                             HARRISVILLE         RI 02830‐1330
RAYMOND FERRY               27341 2ND AVE                                                                             ALLEGAN            MI 49010‐9601
RAYMOND FERUSKI             12991 W PLEASANT VALLEY RD                                                                PARMA              OH 44130‐5608
RAYMOND FICHTENBERG         1196 WRECKENRIDGE RD                                                                      FLINT              MI 48532‐3231
RAYMOND FICK                5883 2 MILE RD                                                                            BAY CITY           MI 48706‐3125
RAYMOND FICKEN              3601 E 106TH TER                                                                          KANSAS CITY        MO 64137‐1708
RAYMOND FIELD               510 E WENGER RD                                                                           ENGLEWOOD          OH 45322‐2832
RAYMOND FIELDS              PO BOX 267                                                                                KING GEORGE        VA 22485‐0267
RAYMOND FIKE                7541 LOTUS DR                                                                             PORT RICHEY        FL 34668‐3232
RAYMOND FINK                8108 RAMBLEWOOD DR LOT 142                                                                BIRCH RUN          MI 48415
RAYMOND FINLEY              751 E 3RD ST                                                                              LANCASTER          TX 75146‐2611
RAYMOND FINNEY              32515 JAMES ST                                                                            GARDEN CITY        MI 48135‐1615
RAYMOND FISCHER             1906 HAWTHORNE RD                                                                         EDGEWOOD           MD 21040‐2421
RAYMOND FISCHER             HC 2 BOX 4330                                                                             LOWNDES            MO 63951‐9729
RAYMOND FISH                2550 S ALGER RD                                                                           ITHACA             MI 48847‐9681
RAYMOND FISHER              606 S MAIN ST                                                                             ARCANUM            OH 45304‐1232
RAYMOND FISHER              3507 WHISTLE STOP LN                                                                      VALRICO            FL 33594‐6840
RAYMOND FISHER              12121 SUNSET DR                                                                           GARFIELD HTS       OH 44125‐4947
RAYMOND FISHER              5300 CLAIRTON BLVD              C/O ATRIA SOUTHILLS                                       PITTSBURGH         PA 15236‐2713
RAYMOND FISHER              3821 SPRING RD                                                                            SPRUCE             MI 48762‐9753
RAYMOND FISHER              PO BOX 970493                                                                             YPSILANTI          MI 48197‐0809
RAYMOND FISHER JR           3222 UPPER FORDS CREEK RD                                                                 OROFINO            ID 83544‐9633
RAYMOND FITZGERALD JR       25639 SHINNECOCK DR                                                                       MONEE               IL 60449‐8411
RAYMOND FLEMING             RT 4 P.O. 1430                                                                            EUFAULA            OK 74432
RAYMOND FLESHER             BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.        OH 44236
RAYMOND FLETCHER            638 N MCKINLEY RD LOT 53                                                                  FLUSHING           MI 48433‐1376
RAYMOND FLIEARMAN           7374 DAGGET RD                                                                            HOWARD CITY        MI 49329‐9097
RAYMOND FLIS                16545 COLLINSON AVE                                                                       EAST DETROIT       MI 48021‐4518
RAYMOND FLOOD               3205 N US HIGHWAY 23                                                                      OSCODA             MI 48750‐9571
RAYMOND FLOOD               740 SUFFOLK DR                                                                            JANESVILLE         WI 53546‐1824
RAYMOND FLORES              2722 WELLESLEY DR                                                                         SAGINAW            MI 48603‐2939
RAYMOND FLORES              5348 RAMBO LN                                                                             TOLEDO             OH 43623‐1849
RAYMOND FLOURNOY
RAYMOND FLOYD               143 LAWRENCE STREET             FORT MCMURRAY, ALBERTA T9K2S4 CANADA

RAYMOND FLYNN               84 BEATRICE AVE                                                                           BUFFALO           NY   14207‐1622
RAYMOND FLYNN               1029 ELLSWORTH AVE                                                                        JEANNETTE         PA   15644‐1529
RAYMOND FOGLER              PO BOX 275                                                                                METAMORA          MI   48455‐0275
RAYMOND FORD                2073 COPAS RD                                                                             OWOSSO            MI   48867‐9076
RAYMOND FOREIGN AUTO INC,   64 EPPING ST                                                                              RAYMOND           NH   03077
RAYMOND FORGET              25 REILLY AVE                                                                             BLACKSTONE        MA   01504‐1616
RAYMOND FORGET              8239 N BRAY RD                                                                            MOUNT MORRIS      MI   48458‐8986
RAYMOND FORMAN              10255 E ELK LAKE DR                                                                       RAPID CITY        MI   49676‐8609
RAYMOND FORNEY              6576 QUILTING WAY                                                                         COLUMBIA          MD   21045‐4631
RAYMOND FORTIER             19635 LIVERPOOL AVE                                                                       LIVONIA           MI   48152‐4007
RAYMOND FORTUNATE           8543 MARY ANN AVE                                                                         SHELBY TOWNSHIP   MI   48317‐3209
RAYMOND FOSHEE              3350 WALTAN RD                                                                            VASSAR            MI   48768‐8902
RAYMOND FOSTER              925 BLUE MOUNTAIN LN                                                                      ANTIOCH           TN   37013‐1785
RAYMOND FOSTER              4280 CHANCELLOR DR                                                                        DEWITT            MI   48820‐7877
RAYMOND FOSTER              THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                               HOUSTON           TX   77017
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Name                   Address1                         Address2                     Address3   Address4               City               State Zip
RAYMOND FOURNIER       9157 NOBLET RD                                                                                  DAVISON             MI 48423‐8714
RAYMOND FOUST          7338 EMBURY RD                                                                                  GRAND BLANC         MI 48439‐8133
RAYMOND FOWLER         13493 NORTH RD                                                                                  ALDEN               NY 14004‐9776
RAYMOND FOWLER         326 PINEHURST WAY                                                                               CANTON              GA 30114‐7749
RAYMOND FOWLER         7415 WILDHORSE NESA CT                                                                          LAS VEGAS           NV 89131
RAYMOND FOWLER         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.         OH 44236
RAYMOND FOX            405 HOSKINS RD                                                                                  WILMINGTON          OH 45177‐8817
RAYMOND FOX            2 CALLE DE REAL ST                                                                              PENDLETON           IN 46064‐9126
RAYMOND FOX            472 MAPLE GROVE RD                                                                              LAPEER              MI 48446‐3282
RAYMOND FRACALOSSI     7905 EXETER RD                                                                                  MONROE              MI 48162‐9383
RAYMOND FRANCISCO      3330 LINDEN PL                                                                                  CANFIELD            OH 44406‐8470
RAYMOND FRANZ          26412 TORREYPINES DR                                                                            NEWHALL             CA 91321‐2234
RAYMOND FRANZEN        2480 E 2700TH ST                                                                                GOLDEN               IL 62339‐2304
RAYMOND FRASE          1719 ELSMERE RD                                                                                 WATERFORD           MI 48328‐1612
RAYMOND FRAZIER        8432 CLINTON RIVER RD                                                                           STERLING HTS        MI 48314‐1624
RAYMOND FREDERICK      1001 STARKEY RD LOT 493                                                                         LARGO               FL 33771‐5493
RAYMOND FREER          698 HOWLAND WILSON RD SE                                                                        WARREN              OH 44484‐2546
RAYMOND FRENCH         301 SOUTH MAIN                                                                                  SENATH              MO 63876
RAYMOND FRISBIE        806 CLARK ST                                                                                    LANSING             MI 48906‐5526
RAYMOND FRITSCH        HEISTERBACHSTR 12                                                        BERLIN GERMANY 12559
RAYMOND FRITZ          2134 AUTUMN HAZE TRL                                                                            MIAMISBURG         OH   45342‐4475
RAYMOND FROMM          3250 E WILDERMUTH RD                                                                            OWOSSO             MI   48867‐9622
RAYMOND FRONCZEK       6945 LAKOTA RIDGE DR                                                                            LIBERTY TWP        OH   45011‐8747
RAYMOND FROST          8042 DOUGLAS RD                                                                                 LAMBERTVILLE       MI   48144‐9631
RAYMOND FROY           2073 MARY CATHERINE ST                                                                          YPSILANTI          MI   48198‐6281
RAYMOND FRY            37 N MAYSVILLE RD                                                                               GREENVILLE         PA   16125‐9223
RAYMOND FULCHER        21261 WHITMAN DR                                                                                MACOMB             MI   48044‐1873
RAYMOND FULLER         1470 W VALLEY RD                                                                                LANSING            MI   48906‐6842
RAYMOND FULLER         6905 SHENANDOAH DR                                                                              FOREST HILL        TX   76140‐1817
RAYMOND FULTON         45 PASHA DR                                                                                     BROOKS             GA   30205‐2217
RAYMOND FULTZ          852 VILLAGE PKWY                                                                                WATERVILLE         OH   43566‐1238
RAYMOND FURNO          2945 BLUE JAY CT                                                                                RACINE             WI   53402‐1389
RAYMOND FURTAW         1107 N SCHEURMANN RD                                                                            ESSEXVILLE         MI   48732‐1730
RAYMOND G ALLEN        240 PARKER DR                                                                                   SPRINGBORO         OH   45066‐1338
RAYMOND G FREEMAN      43 SPRUCE ST                                                                                    PRINCETON          NJ   08542‐3848
RAYMOND G FREER        698 HOWLAND WILSON RD                                                                           WARREN             OH   44484
RAYMOND G HARTLINE     11331 BAYSIDE BLVD                                                                              FORT MYERS BEACH   FL   33931‐3148
RAYMOND G JOHNSON      3122 TAGGART ST.                                                                                DAYTON             OH   45420
RAYMOND G JOHNSON      1604 HIGHWAY 80                                                                                 RUSSELLVILLE       AL   35654‐9147
RAYMOND G LOWETZ       3867 N. BREVORT LK RD.                                                                          MORAN              MI   49760
RAYMOND G MARELLO II   150 DESMOND DR                                                                                  TONAWANDA          NY   14150‐7725
RAYMOND G MCCORMICK    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS         OH   44236
RAYMOND G THOMAS       530 KENILWORTH AVE SE                                                                           WARREN             OH   44483‐‐ 60
RAYMOND GABRIEL        48357 151ST ST                                                                                  MILBANK            SD   57252‐6020
RAYMOND GACHEWICZ      6857 SHOREBROOK DR                                                                              SHELBY TOWNSHIP    MI   48316‐5090
RAYMOND GADD           1570 CEDAR BARK TRL UNIT 5                                                                      DAYTON             OH   45449‐2581
RAYMOND GAETH          162 BIRCH DR                                                                                    LEVITTOWN          PA   19054‐2106
RAYMOND GAGNEUR JR     4425 KIOWA CT                                                                                   ADRIAN             MI   49221‐9330
RAYMOND GAGNON         20620 SHADY LANE AVE                                                                            ST CLAIR SHRS      MI   48080‐4217
RAYMOND GAINES         703 PENFIELD AVE                                                                                ELYRIA             OH   44035‐3242
RAYMOND GALINDO        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.        OH   44236
RAYMOND GALLAGHER      3051 W STANLEY RD                                                                               MOUNT MORRIS       MI   48458‐9484
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Name                    Address1                             Address2                     Address3             Address4           City               State Zip
RAYMOND GALLAWAY        6194 ROBERTS RD                                                                                           MECOSTA             MI 49332‐9667
RAYMOND GAMBOA          5895 MACKINAW RD                                                                                          SAGINAW             MI 48604‐9767
RAYMOND GAMELIN         4277 COLUMBINE AVE                                                                                        BURTON              MI 48529‐2401
RAYMOND GANN            C/O CASCINO MICHAEL P                220 S ASHLAND AVE                                                    CHICAGO              IL 60607
RAYMOND GANN            CASCINO MICHAEL P                    220 S ASHLAND AVE                                                    CHICAGO              IL 60607
RAYMOND GANT            276 LINWOOD AVE APT 34                                                                                    BUFFALO             NY 14209‐1823
RAYMOND GANT            2648 N 100 W                                                                                              GREENFIELD          IN 46140‐8621
RAYMOND GARCIA          2260 N CENTER RD                                                                                          SAGINAW             MI 48603‐3729
RAYMOND GARCIA JR       BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                           BOSTON HTS.         OH 44236
RAYMOND GARDNER         5339 LUCERNE AVE                                                                                          KALAMAZOO           MI 49048‐9269
RAYMOND GARDNER         969 CHASE WAY BLVD                                                                                        AUBURN HILLS        MI 48326‐3879
RAYMOND GARGAN          2608 HERMOSA DR                                                                                           WOLVERINE LAKE      MI 48390‐2003
RAYMOND GARGANO         918 KALE ADAMS RD                                                                                         LEAVITTSBURG        OH 44430‐9420
RAYMOND GARNER          410 W PIERCE ST                                                                                           ALEXANDRIA          IN 46001‐1139
RAYMOND GARNER          450 W END AVE APT 53                                                                                      NORTH PLAINFIELD    NJ 07060‐6634
RAYMOND GARRETT         802 S PARK AVE                                                                                            ALEXANDRIA          IN 46001‐2549
RAYMOND GARRETT         4034 ROSE MARY DR                                                                                         STERLING HEIGHTS    MI 48310‐4583
RAYMOND GASKILL         4763 FAIRFIELD SCHOOL RD                                                                                  LEETONIA            OH 44431‐9690
RAYMOND GAUDREAU JR     19736 STAMFORD DR                                                                                         LIVONIA             MI 48152‐1243
RAYMOND GAUTHIER        1406 39TH ST                                                                                              BAY CITY            MI 48708‐4906
RAYMOND GAWRON
RAYMOND GAY             2418 LONGVIEW AVE                                                                                         DAYTON             OH   45431‐1918
RAYMOND GEASLER         6600 ROGUEVIEW CT NE                                                                                      BELMONT            MI   49305‐9515
RAYMOND GEHRINGER JR    922 GROVEHILL RD                                                                                          BALTIMORE          MD   21227‐3810
RAYMOND GEIS            6601 HEDINGTON SQ                                                                                         CENTERVILLE        OH   45459‐6920
RAYMOND GELL            6100 ROBERTA ST                                                                                           BURTON             MI   48509‐2428
RAYMOND GENE LUNBERY    ROBERT W PHILLIPS                    SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON         IL   62024
                                                             ANGELIDES & BARNERD LLC
RAYMOND GENOVA          220 PARKGATE AVE                                                                                          AUSTINTOWN         OH   44515‐3240
RAYMOND GEORGE          2303 S BUCKBOARD TRL                                                                                      COTTONWOOD         AZ   86326‐5813
RAYMOND GEORGE          5084 FOREST RD                                                                                            MENTOR             OH   44060‐1308
RAYMOND GEORGE MURPHY   NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                         DAINGERFIELD       TX   75638
RAYMOND GEPHART         2734 BACK VALLEY RD                                                                                       SPEEDWELL          TN   37870‐7428
RAYMOND GERALD H        RAYMOND, GERALD H                    8 E PINE AVE                                                         WASHINGTON         PA   15301‐6704
RAYMOND GERALD H        308 DOUBLETREE DR                                                                                         VENETIA            PA   15367‐1434
RAYMOND GERARD          7860 RATTLE RUN RD                                                                                        COLUMBUS           MI   48063‐2112
RAYMOND GERHART JR      2275 S 300 W                                                                                              KOKOMO             IN   46902‐4670
RAYMOND GERLICH         2805 BROOKE PINES CT                                                                                      PLANT CITY         FL   33566‐9626
RAYMOND GERMAIN         1701 EVERGREEN ST                                                                                         TRENTON            MI   48183‐1876
RAYMOND GERMAN          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET     22ND FLOOR                              BALTIMORE          MD   21201

RAYMOND GEROW           1927 STANLEY ST                                                                                           SAGINAW            MI   48602‐1085
RAYMOND GERVAIS         8 DIANA ST                                                                                                BLACKSTONE         MA   01504‐2007
RAYMOND GESCHWENDER     5077 BERG RD                                                                                              BUFFALO            NY   14218‐3700
RAYMOND GEYER           8843 WINDSOR HWY                                                                                          DIMONDALE          MI   48821‐8741
RAYMOND GEYSER          20877 OAK TRAIL CT                                                                                        STRONGSVILLE       OH   44149‐1302
RAYMOND GIACOMEL        107 DUNCAN ST                                                                                             JEANNETTE          PA   15644‐1018
RAYMOND GIACOMO         602 ORANGE RD                                                                                             DALLAS             PA   18612‐6109
RAYMOND GIBSON          950 BROOKSIDE DR                                                                                          CEDAR HILL         TX   75104‐4715
RAYMOND GIERMAN         6751 SAINT MARYS ST                                                                                       BROWN CITY         MI   48416‐8781
RAYMOND GIERUCKI        22856 S BROOKSIDE DR                                                                                      DEARBORN HTS       MI   48125‐2327
RAYMOND GIGL JR.        1 MAPLEWOOD CT                                                                                            BARNEGAT           NJ   08005‐2008
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Name                   Address1                         Address2                     Address3   Address4         City               State Zip
RAYMOND GILBERT        124 WESTGATE DR                                                                           WILMINGTON          DE 19808‐1442
RAYMOND GILBERT        2081 S 350 W                                                                              RUSSIAVILLE         IN 46979‐9451
RAYMOND GILL           632 DEL VALLE AVE                                                                         LA PUENTE           CA 91744‐3053
RAYMOND GILL           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
RAYMOND GILLEM         13495 UNADILLA RD                                                                         GREGORY             MI 48137‐9751
RAYMOND GILLIAM        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
RAYMOND GILMORE        7565 CARTER RD                                                                            BENTLEY             MI 48613‐9618
RAYMOND GISI           27 GLENMARK CT                                                                            MARYLAND HEIGHTS    MO 63043‐1610
RAYMOND GITTINS        928 HAMMOND RD                                                                            HARRISON            MI 48625‐9244
RAYMOND GLAB           9326 RAMBLEBROOK RD                                                                       BALTIMORE           MD 21236‐1755
RAYMOND GLANN          1265 CHESANING RD                                                                         MONTROSE            MI 48457‐9367
RAYMOND GLAZE          1007 CHAD CT                                                                              PLAINFIELD          IN 46168‐2382
RAYMOND GLOCK          267 MIDDLE DR                                                                             W JEFFERSON         OH 43162‐1315
RAYMOND GLOETZNER      29045 SHIAWASSEE RD                                                                       FARMINGTON HILLS    MI 48336‐4956
RAYMOND GLOVE          9025 KOSIMO ST                                                                            NEW PORT RICHEY     FL 34654‐1214
RAYMOND GLOVER         512 17TH AVE                                                                              MIDDLETOWN          OH 45044‐5631
RAYMOND GLOVER         2105 CRESTWOOD DR                                                                         ANDERSON            IN 46016‐2748
RAYMOND GLOVER         16728 WINTHROP ST                                                                         DETROIT             MI 48235‐3622
RAYMOND GLOVER         5101 SE 88TH ST                                                                           OKLAHOMA CITY       OK 73135‐6519
RAYMOND GLUMM          2887 2 MILE RD                                                                            BAY CITY            MI 48706‐1246
RAYMOND GOECKE         5436 OAKHAVEN CIR                                                                         KETTERING           OH 45440‐2811
RAYMOND GOKEY          5252 LOOMIS RD                                                                            UNIONVILLE          MI 48767‐9481
RAYMOND GOLDEN         7653 MORNING LAKE DR                                                                      LAS VEGAS           NV 89131‐3685
RAYMOND GOLOTA         1595 VANSTONE DR                                                                          COMMERCE TWP        MI 48382‐1981
RAYMOND GOLWAY         36199 PERKINS ST                                                                          FREMONT             CA 94536‐4755
RAYMOND GOMEZ          2810 W LORAINE ST                                                                         FORT WORTH          TX 76106‐5254
RAYMOND GOMEZ JR       824 GLEN MEADOW DR                                                                        SPARKS              NV 89434‐1539
RAYMOND GONSALVES SR   850 TURTLE CREEK DR                                                                       CHOCTAW             OK 73020‐7433
RAYMOND GONZALES       1620 BEDFORD RD                                                                           GLEN BURNIE         MD 21061‐1414
RAYMOND GOODE          8618 E 52ND TER                                                                           KANSAS CITY         MO 64129‐2206
RAYMOND GOODSON        4425 S NEW COLUMBUS RD                                                                    ANDERSON            IN 46013‐3456
RAYMOND GORALEWSKI     175 OVERLAKE DR                                                                           LAKE ORION          MI 48362‐1540
RAYMOND GORALSKI       7059 S ROBERTS RD                                                                         BRIDGEVIEW           IL 60455‐1041
RAYMOND GORNEY         6229 GREENVIEW DR                                                                         BURTON              MI 48509‐1360
RAYMOND GORNOWICZ      13311 HOLTFORTH RD                                                                        FENTON              MI 48430‐9545
RAYMOND GOTHAM         10915 ALBEE RD                                                                            BURT                MI 48417‐9433
RAYMOND GOUJON         5879 FOREST CREEK DR                                                                      EAST AMHERST        NY 14051‐1964
RAYMOND GOULD          6737 MALLARD DR                                                                           BRECKSVILLE         OH 44141‐2844
RAYMOND GRAEZYK        2753 EMOGENE ST                                                                           MELVINDALE          MI 48122‐1827
RAYMOND GRAJEK         443 CHALET DR                                                                             MESQUITE            NV 89027‐3749
RAYMOND GRANT          26264 POWER RD                                                                            FARMINGTON HILLS    MI 48334‐4356
RAYMOND GRAWBURG       34854 TYLER DR                                                                            STERLING HTS        MI 48310‐5666
RAYMOND GRAY           PO BOX 692                                                                                ATHOL               MA 01331‐0692
RAYMOND GRAY           2101 E COUNTY ROAD M                                                                      MILTON              WI 53563‐9615
RAYMOND GREEN          376 MAPLEWOOD LINE                                                                        PONTIAC             MI 48341
RAYMOND GREEN          3950 PRISCILLA AVE                                                                        INDIANAPOLIS        IN 46226‐4856
RAYMOND GREEN          4951 STATE ROUTE 305                                                                      FOWLER              OH 44418‐9701
RAYMOND GREEN JR       5285 TORCH LN                                                                             DAYTON              OH 45427‐2743
RAYMOND GREENHOUSE     2 FIRETHORN CT                                                                            EDISON              NJ 08820‐4128
RAYMOND GREENING       614 PROVINCETOWN RD                                                                       AUBURN HILLS        MI 48326‐3442
RAYMOND GREGG          124 CRESCENT RD                                                                           THOMASTON           GA 30286‐7457
RAYMOND GREGORY        11130 HIDDEN POND DR NE          NE                                                       ROCKFORD            MI 49341‐7346
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Name                               Address1                         Address2                      Address3                    Address4         City               State Zip
RAYMOND GRENNAY                    10385 REID RD                                                                                               SWARTZ CREEK        MI 48473‐8518
RAYMOND GRIBBLE JR                 RR 2                                                                                                        TOMS RIVER          NJ 08757
RAYMOND GRIER                      245 ALDINE ST                                                                                               NEWARK              NJ 07112‐1448
RAYMOND GRIES                      2603 ELM DR                                                                                                 GIRARD              OH 44420‐3110
RAYMOND GRIFFES                    200 N HAYWOOD RD                                                                                            WEBBERVILLE         MI 48892‐9233
RAYMOND GRIFFITH                   1306 N APPLE BLOSSOM LN                                                                                     GREENFIELD          IN 46140‐8066
RAYMOND GRIMES                     438 PINE ST                                                                                                 LOCKPORT            NY 14094‐5507
RAYMOND GRISWOLD JR                1228 JACK PINE DR                                                                                           WILLIAMSTON         MI 48895‐9706
RAYMOND GROACH                     149 ARIANNA WAY                                                                                             AUBURNDALE          FL 33823‐9625
RAYMOND GROPE JR                   9631 GLADSTONE RD                                                                                           NORTH JACKSON       OH 44451‐9608
RAYMOND GROSHEK                    1792 SUNSET LAKE RD                                                                                         AMHERST JUNCTION    WI 54407‐8927
RAYMOND GROSS                      5008 ROAD 192                                                                                               ANTWERP             OH 45813‐9200
RAYMOND GROSSARTH                  C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                               NEW YORK CITY       NY 10003
RAYMOND GRYCAN                     34424 EUCLID AVE LOT 513                                                                                    WILLOUGHBY          OH 44094‐3344
RAYMOND GRZECHOWSKI                7437 PLAINFIELD ST                                                                                          DEARBORN HTS        MI 48127‐1677
RAYMOND GUANTI                     10908 OLD LANDING RD                                                                                        KINGSVILLE          MD 21087‐1747
RAYMOND GUARINO                    10907 BENT TREE PLACE                                                                                       TAMPA               FL 33618‐4116
RAYMOND GUESS                      346 LONGFELLOW ST                                                                                           INKSTER             MI 48141‐1144
RAYMOND GUILL                      2339 FERGUSON RD                                                                                            MANSFIELD           OH 44906‐1149
RAYMOND GUILMETTE                  5 BALSAM CT                                                                                                 ATKINSON            NH 03811‐2710
RAYMOND GUNDERSON                  152 E MANOGUE RD                                                                                            JANESVILLE          WI 53545‐9657
RAYMOND GUNTHER                    3770 BROOKSHIRE ST                                                                                          TRENTON             MI 48183‐3969
RAYMOND GUO                        49848 PARKSIDE DR                                                                                           NORTHVILLE          MI 48168‐6824
RAYMOND GUSTAFSON                  14165 TRUMPETER LN                                                                                          LANSING             MI 48906‐9224
RAYMOND GUTHART                    7740 E 300 N                                                                                                CRAIGVILLE          IN 46731‐9711
RAYMOND GUTIERREZ                  417 N SPRING AVE                                                                                            LA GRANGE PK         IL 60526‐1814
RAYMOND GUY JR                     5300 S BERRYMAN RD                                                                                          OKLAHOMA CITY       OK 73150‐3504
RAYMOND GUZMAN                     135 N. BAYMAR                                                                                               WEST COVINA         CA 91791‐1401
RAYMOND GYDE                       9951 HOFFMAN RD                                                                                             MAYBEE              MI 48159‐9727
RAYMOND H AND DELORES M OCHS TRUST RAYMOND H OCHS TRUSTEE           1904 CHOCTAW ST                                                            LEAVENWORTH         KS 66048
6/3/1997
RAYMOND H BILLETT                  101 E. ELMWOOD DR.                                                                                          CENTERVILLE        OH   45459‐4421
RAYMOND H CARDER                   10838 STATE ROUTE 81                                                                                        UTICA              KY   42376‐9739
RAYMOND H CARDER                   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                 BOSTON HTS.        OH   44236
RAYMOND H DENNARD                  168 GOODWIN AVENUE                                                                                          NEWARK             NJ   07112
RAYMOND H DURHAM                   1263 HAWTHORNE AVE                                                                                          YPSILANTI          MI   48198‐5943
RAYMOND H EVANS JR                 659 RED PINE DR                                                                                             FLINT              MI   48506‐5230
RAYMOND H FRY                      37 N MAYSVILLE RD                                                                                           GREENVILLE         PA   16125‐9223
RAYMOND H HAVILAND                 27228 N 21 W                                                                                                PEWAUKEE           WI   53072
RAYMOND H HUBER                    ATTN ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD PO BOX                    EAST ALTON         IL   62024
                                                                    ANGELIDES & BARNERD LLC       521
RAYMOND H LITTERAL                   RAYMOND H LITTERAL             P.O BOX 6184                                                               MARIANNA           FL   32447
RAYMOND H NICHOLS                    4260 CALLAHAN RD                                                                                          SOUTH VIENNA       OH   45369
RAYMOND H RAPPACH                    36 POTOMAC DR.                                                                                            NILES              OH   44446‐2118
RAYMOND H REIDLING                   1371 MCCLURE RD                                                                                           TOLEDO             OH   43612‐4023
RAYMOND H STURGIS JR                 9185 ECKHART RD                                                                                           GERMANTOWN         OH   45327
RAYMOND HAAS JR                      943 N ARLINGTON AVE                                                                                       INDIANAPOLIS       IN   46219‐4534
RAYMOND HABBIT                       C/O THE MADEKSHO LAW FIRM      8866 GULF FREEWAY SUITE 440                                                HOUSTON            TX   77017
RAYMOND HAGEDORN                     5394 OAKRIDGE DR                                                                                          HAMBURG            NY   14075‐4072
RAYMOND HAGENE                       18 VAN RUE DR                                                                                             BELLEVILLE         IL   62220‐3056
RAYMOND HAGGY                        1205 SOUTH WEST 78 PERR                                                                                   OKLAHOMA CITY      OK   73139
RAYMOND HAKA                         PO BOX 1216                                                                                               BRIGHTON           MI   48116‐2816
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Name                              Address1                         Address2                     Address3          Address4         City               State Zip
RAYMOND HALEY                     260 CORAL WAY ST                                                                                 INDIALANTIC         FL 32903
RAYMOND HALL                      1304 W MAPLE ST                                                                                  LANSING             MI 48915‐2136
RAYMOND HALL                      7443 E BOSAGA WAY                                                                                MESA                AZ 85208‐1232
RAYMOND HALL                      4681 STATE ROUTE 82                                                                              NEWTON FALLS        OH 44444‐9511
RAYMOND HALL                      1275 TAWAS BEACH RD                                                                              EAST TAWAS          MI 48730‐9501
RAYMOND HALL                      BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.         OH 44236
RAYMOND HALLIWILL                 3075 HAGER RD                                                                                    NASHVILLE           MI 49073‐9762
RAYMOND HALLOCK                   720 BROOKSIDE DR                                                                                 TOMS RIVER          NJ 08753‐5605
RAYMOND HAMADY                    6814 BROOKHOLLOW DR SW                                                                           WARREN              OH 44481‐8634
RAYMOND HAMILTON                  13179 N CLIO RD                                                                                  CLIO                MI 48420‐1028
RAYMOND HAMMOND                   7365 STATE ROUTE 7                                                                               KINSMAN             OH 44428‐9788
RAYMOND HAMMONDS                  4625 SE 110TH ST                                                                                 OKLAHOMA CITY       OK 73165‐8328
RAYMOND HAMMONS                   1071 LANGNAU RD                                                                                  LONDON              KY 40741‐8503
RAYMOND HAMPTON                   2 N PARADE AVE                                                                                   BUFFALO             NY 14211‐1209
RAYMOND HANDLING CONCEPTS         41400 BOYCE RD                                                                                   FREMONT             CA 94538‐3113
RAYMOND HANDLING CONSULTANTS LC   4925 RAYMOND INDUSTRIAL DR       REC 1099 06/19/06 AH                                            LAKELAND            FL 33815‐3295

RAYMOND HANDLING SOLUTIONS        PO BOX 3683                                                                                      SANTA FE SPGS      CA   90670‐1683
RAYMOND HANEBUTH                  405 ENGLEWOOD AVE                                                                                HILLSIDE           IL   60162‐1841
RAYMOND HANEL                     3448 PORTLAND DR                                                                                 JANESVILLE         WI   53546‐3536
RAYMOND HANNAH                    611 EAST 6TH STREET                                                                              ANDERSON           IN   46012‐3356
RAYMOND HANNAH JR                 239 SPARKLING CT                                                                                 AUBURNDALE         FL   33823‐9285
RAYMOND HANSEN                    2159 MILES RD                                                                                    LAPEER             MI   48446‐8058
RAYMOND HANSHUE                   2454 BRUNSON RD                                                                                  LUDINGTON          MI   49431‐9336
RAYMOND HANSON                    6157 W 87TH ST                                                                                   OAK LAWN           IL   60453‐1180
RAYMOND HARDAGE                   PO BOX 232                                                                                       POCAHONTAS         AR   72455
RAYMOND HARDGROVE                 5350 BROAD BLVD                                                                                  N RIDGEVILLE       OH   44039‐2204
RAYMOND HARDING                   2804 S POST RD                                                                                   MIDWEST CITY       OK   73130‐7516
RAYMOND HARDING JR                9513 TODDS TAVERN DR                                                                             SPOTSYLVANIA       VA   22551‐3524
RAYMOND HARLEN                    C/O NIX PATTERSON & ROACH LLP    GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD       TX   75638
RAYMOND HAROLD                    1509 DESS DR                                                                                     ORLANDO            FL   32818‐5610
RAYMOND HARPER                    19951 GREENVIEW AVE                                                                              DETROIT            MI   48219‐1527
RAYMOND HARRINGTON                229 1/2 E CLINTON ST                                                                             OVID               MI   48856‐9704
RAYMOND HARRIS                    6511 TEAKWOOD CT                                                                                 CINCINNATI         OH   45224‐2111
RAYMOND HARRIS                    3606 TRUMBULL AVE                                                                                FLINT              MI   48504‐3700
RAYMOND HARRIS                    193 VALENCIA LAKES DR                                                                            VENICE             FL   34292‐7401
RAYMOND HARRIS                    7702 TRENTMAN RD                                                                                 FORT WAYNE         IN   46816‐2830
RAYMOND HARRISON                  C/O COONEY AND CONWAY            120 NORTH LASALLE            30TH FLOOR                         CHICAGO            IL   60602
RAYMOND HARRISON                  12642 MENDOTA ST                                                                                 DETROIT            MI   48238‐3012
RAYMOND HARRISON                  PO BOX 513                                                                                       DURAND             MI   48429‐0513
RAYMOND HARROD JR                 2319 BLOCKTON RD                                                                                 ROCHESTER HLS      MI   48306‐3901
RAYMOND HARRYMAN                  9290 E PERSHING AVE                                                                              SCOTTSDALE         AZ   85260‐7400
RAYMOND HART                      1733 GIGI LN                                                                                     DARIEN             IL   60561‐3545
RAYMOND HARTLEY                   1400 NORTH RD SE                                                                                 WARREN             OH   44484‐2901
RAYMOND HARTLINE                  11331 BAYSIDE BLVD                                                                               FORT MYERS BEACH   FL   33931‐3148
RAYMOND HARTMAN                   26249 CRYSTAL AVE                                                                                WARREN             MI   48091‐4006
RAYMOND HARTMAN JR                201 S MULBERRY ST                                                                                CORNERSVILLE       TN   37047‐4218
RAYMOND HARTSIG                   47257 CHERRY VALLEY DR                                                                           MACOMB             MI   48044‐2834
RAYMOND HARVEY                    1009 PARKVIEW AVE                                                                                MC DONALD          OH   44437‐1660
RAYMOND HARVEY                    455 S MARIE ST                                                                                   WESTLAND           MI   48186‐3815
RAYMOND HASSAY                    4983 KONA CT UNIT 5                                                                              SOUTHPORT          NC   28461‐7583
RAYMOND HATALA                    1926 GRANT AVE                                                                                   SOUTH PLAINFIELD   NJ   07080‐3064
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Name                   Address1                          Address2            Address3         Address4         City               State Zip
RAYMOND HATCH          4611 SOUTHGATE RD                                                                       BYRDSTOWN           TN 38549‐4847
RAYMOND HATCH          17590 FANTAIL ST                                                                        RENO                NV 89508‐6840
RAYMOND HATCHER        715 CROCKETT DR                                                                         POTTERVILLE         MI 48876‐9539
RAYMOND HATFIELD       518 W 3RD ST                                                                            RUSHVILLE           IN 46173‐1719
RAYMOND HATFIELD       6582 DEVONHILL RD                                                                       COLUMBUS            OH 43229‐1359
RAYMOND HAUSER         RR 1 BOX 236                                                                            AURORA              WV 26705‐9626
RAYMOND HAUSZ          8086 BASS CT                                                                            NINEVEH             IN 46164‐9501
RAYMOND HAWKINS        5008 ROOSEVELT AVE                                                                      MIDDLETOWN          OH 45044‐6228
RAYMOND HAWKINS        7731 ESSINGTON CIR                                                                      DAYTON              OH 45459‐4103
RAYMOND HAWLEY         5 THORPE AVE                      P.O. BOX 691                                          HAMMONDSPORT        NY 14840‐9300
RAYMOND HAYDEN         2954 FARMERS CREEK RD                                                                   METAMORA            MI 48455‐9708
RAYMOND HAYES          13331 ALMETZ ST                                                                         SYLMAR              CA 91342‐1833
RAYMOND HAYES          1021 UNION AVE                                                                          SAGINAW             MI 48602‐5556
RAYMOND HAYMES         225 BIG HORN DR UNIT 6                                                                  BOULDER CITY        NV 89005‐1420
RAYMOND HAYS           6851 E COUNTY ROAD 100 N                                                                AVON                IN 46123‐9398
RAYMOND HAZEL          49 LONG DR                                                                              DANVILLE            AL 35619‐6360
RAYMOND HEATH          40 N EASTWAY DR                                                                         PONTIAC             MI 48342‐2929
RAYMOND HEAVEN         6305 STONEY RIDGE DR                                                                    AUSTINTOWN          OH 44515‐5582
RAYMOND HEBSTREIT      112 ALLEN RD                                                                            GLEN BURNIE         MD 21061‐1613
RAYMOND HECEI          295 CLARK ST                                                                            KENMORE             NY 14223‐1303
RAYMOND HEIGL          325 W ADAMS ST                                                                          PITTSFIELD           IL 62363‐1301
RAYMOND HEIM           5954 TONAWANDA CREEK RD                                                                 LOCKPORT            NY 14094‐7932
RAYMOND HEINONEN       1660 OLD M28                                                                            TROUT CREEK         MI 49967‐9472
RAYMOND HEISZ          5980 N LILLY LN                                                                         MILTON              WI 53563‐9452
RAYMOND HELDENBRAND    11393 STATE HIGHWAY 6                                                                   WINSTON             MO 64689‐9182
RAYMOND HELTON         575 PHILLIP ST                                                                          HUNTINGTON          IN 46750‐1455
RAYMOND HEMBREE        129 BEAR CREEK DR                                                                       OLD FORT            TN 37362‐7692
RAYMOND HENDRICKS      8137 S RAILROAD ST NW                                                                   WASHINGTON COURT    OH 43160‐9075
                                                                                                               HOUSE
RAYMOND HENGEL         1211 NW HONEYLOCUST CT                                                                  GRAIN VALLEY       MO   64029‐7221
RAYMOND HENIKA         415 N MCLELLAN ST                                                                       BAY CITY           MI   48708‐6772
RAYMOND HENN           2782 FIELDS AVE                                                                         KETTERING          OH   45420‐3400
RAYMOND HENRY          727 N CHILDRENS HOME RD                                                                 TROY               OH   45373‐9647
RAYMOND HENSON         105 W SHEFFIELD AVE                                                                     PONTIAC            MI   48340‐1851
RAYMOND HENSON JR      3225 E 42ND ST                                                                          INDIANAPOLIS       IN   46205‐3013
RAYMOND HERBIN         10906 DICE RD                                                                           FREELAND           MI   48623‐8522
RAYMOND HERBORT        301 N CAMPBELL AVE                                                                      MARION             IN   46952‐3025
RAYMOND HERDMAN        6854 FORRER ST                                                                          DETROIT            MI   48228‐3782
RAYMOND HERMAN         618 ROSEGARDEN DR NE                                                                    WARREN             OH   44484‐1833
RAYMOND HERNANDEZ      2375 E CHURCH ST                                                                        DES PLAINES        IL   60016‐3703
RAYMOND HERNANDEZ      13021 K16 HWY                                                                           VALLEY FALLS       KS   66088‐4129
RAYMOND HERZINGER      402 3RD ST                                                                              WARETOWN           NJ   08758‐2905
RAYMOND HESSER JR.     4209 E COLDWATER RD                                                                     FLINT              MI   48506‐1051
RAYMOND HESTER         102 OAK DR                                                                              GRIFFIN            GA   30223‐6835
RAYMOND HETHERINGTON   6725 MACKINAW RD                                                                        BAY CITY           MI   48706‐9332
RAYMOND HETRICK        673 BELSHAZZAR RD                                                                       BROOKVILLE         PA   15825‐8729
RAYMOND HETZER         8239 N BRAY RD                                                                          MOUNT MORRIS       MI   48458‐8986
RAYMOND HEVEY          2150 W. RANDOLPH ST.              BUILDING 2                                            SAINT CHARLES      MO   63301
RAYMOND HEWITT         7406 JENNINGS RD                                                                        SWARTZ CREEK       MI   48473‐8865
RAYMOND HEWITT         5996 ANGLERS DR                                                                         ORTONVILLE         MI   48462‐9507
RAYMOND HEYDENBURG     24133 ROBINWOOD ST                                                                      LEESBURG           FL   34748‐7897
RAYMOND HICKS          2122 S WASHINGTON AVE                                                                   SAGINAW            MI   48601‐3229
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Name                  Address1                       Address2            Address3         Address4         City                State Zip
RAYMOND HIGDON        304 CORONADO RD                                                                      INDIANAPOLIS         IN 46234‐2532
RAYMOND HIGH          63 CARR ST                                                                           PONTIAC              MI 48342‐1708
RAYMOND HILDENBRAND   1960 ISAAC STREET                                                                    PAHRUMP              NV 89060‐3937
RAYMOND HILE          3596 HUNT RD                                                                         LAPEER               MI 48446‐2954
RAYMOND HILL          2003 MARLOW DR                                                                       WARREN               MI 48092‐5408
RAYMOND HILL          1721 LAKE LANSING RD                                                                 HASLETT              MI 48840‐8202
RAYMOND HILL          7062 COUNTY ROAD 6 2                                                                 DELTA                OH 43515‐9206
RAYMOND HILL          2865 IROQUOIS DR                                                                     OREGON               OH 43616‐2203
RAYMOND HILLEARY JR   611 DOUGLAS AVE                                                                      DANVILLE              IL 61832‐6756
RAYMOND HILLER        15926 HIGHWAY 438 W                                                                  LINDEN               TN 37096‐5411
RAYMOND HIMMERT       4090 ORIENT DR                                                                       HERNANDO BEACH       FL 34607‐3224
RAYMOND HINTON        2712 HAMPTON PARK CIR                                                                FOLEY                AL 36535‐1128
RAYMOND HIRBOUR       2689 STATE HWY 20                                                                    RICHFIELD SPRINGS    NY 13439
RAYMOND HIRKAWAY      1438 N TIMBERWOLF TRL                                                                BALDWIN              MI 49304‐8687
RAYMOND HOCQUARD JR   951 E HENRY ST                                                                       CHARLOTTE            MI 48813‐1666
RAYMOND HODGES        3511 BARBARA DR                                                                      STERLING HTS         MI 48310‐6103
RAYMOND HODGES        4261 BETHUY RD                                                                       CASCO                MI 48064‐2302
RAYMOND HOEKMAN       703 PEACH LN                                                                         FREMONT              MI 49412‐9057
RAYMOND HOEMANN       9320 FOX GLEN DR                                                                     SAINT LOUIS          MO 63126‐2927
RAYMOND HOEPPNER      14146 GYPSY RD                                                                       WARSAW               MO 65355‐3911
RAYMOND HOFFMAN       3400 NW 67TH ST                                                                      KANSAS CITY          MO 64151‐2284
RAYMOND HOGGE         3781 STEEL AVE                                                                       KINGMAN              AZ 86409‐0953
RAYMOND HOLDEN        10390 ELMIRA ST                                                                      DETROIT              MI 48204‐2572
RAYMOND HOLEWA        7556 N 32ND ST                                                                       RICHLAND             MI 49083‐9463
RAYMOND HOLLAS        69 BRATTLEBORO DR                                                                    GREENSBURG           PA 15601
RAYMOND HOLLERBACH    28949 LEM CT                                                                         PERRYSBURG           OH 43551‐4603
RAYMOND HOLLIDAY      11928 CREEK RD                                                                       CARLETON             MI 48117‐9752
RAYMOND HOLLINS       3521 RUBY LN                                                                         SAINT CHARLES        MO 63303‐6475
RAYMOND HOLLOCK       5716 W HILLS RD                                                                      FORT WAYNE           IN 46804‐4355
RAYMOND HOLTON        9464 LINDA DR                                                                        DAVISON              MI 48423‐1797
RAYMOND HOLYCROSS     1715 BATESTOWN RD                                                                    DANVILLE              IL 61832‐5301
RAYMOND HOOD          8030 ELLERTON AVE                                                                    SAINT LOUIS          MO 63114‐5312
RAYMOND HOOKS         4402 NEWCASTLE CIR                                                                   LITHONIA             GA 30038‐3507
RAYMOND HOOPER        PO BOX 232                                                                           GRANT                MI 49327‐0232
RAYMOND HOOVER        1579 SURREY RD                                                                       TROY                 OH 45373‐1127
RAYMOND HORCH JR      547 YATES STREET BOX 92                                                              WILLIAMSPORT         OH 43164
RAYMOND HORN          12464 MANTILLA RD                                                                    SAN DIEGO            CA 92128
RAYMOND HORN          26 HASTINGS RD                                                                       YARDVILLE            NJ 08620‐1522
RAYMOND HORN          776 E COLUMBIA AVE                                                                   PONTIAC              MI 48340‐2049
RAYMOND HOSMER        1903 SE 37TH TER                                                                     CAPE CORAL           FL 33904‐5087
RAYMOND HOUSE         12621 S COUNTY ROAD 175 E                                                            MUNCIE               IN 47302‐8736
RAYMOND HOVANSKI      208 1/2 4TH ST                                                                       BECKLEY              WV 25801‐6013
RAYMOND HOWARD        209 LUTHER AVE                                                                       PONTIAC              MI 48341‐2776
RAYMOND HOWARD        34841 MOUND RD                                                                       STERLING HEIGHTS     MI 48310‐5723
RAYMOND HOWE          1101 ASHBY RD                                                                        LAWRENCEBURG         KY 40342‐9519
RAYMOND HOWELL        2612 RONDOWA AVE                                                                     DAYTON               OH 45404‐2309
RAYMOND HUDDLESON     1255 N HAMILTON RD             P.M.B. 188                                            GAHANNA              OH 43230‐6785
RAYMOND HUDGINS JR    PO BOX 444                                                                           SAUTE‐NACOCHE        GA 30571‐0444
RAYMOND HUDSON        901 N MONROE ST                                                                      HARTFORD CITY        IN 47348‐1622
RAYMOND HUERTA        100 WILLIAM DURFEE DR                                                                EATON RAPIDS         MI 48827‐9593
RAYMOND HUFF          639 BLUE ASH DR SE                                                                   GRAND RAPIDS         MI 49548‐7612
RAYMOND HUFFMAN       2843 W 50 S                                                                          KOKOMO               IN 46902‐5969
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Name                                 Address1                        Address2                     Address3             Address4             City               State Zip
RAYMOND HUFFMAN                      7499 TUCKER RD                                                                                         ONAWAY              MI 49765‐8760
RAYMOND HUGGARD                      1222 HINSDALE AVE                                                                                      BELOIT              WI 53511‐4712
RAYMOND HUGHES                       211 GUY ST                                                                                             WALBRIDGE           OH 43465‐1126
RAYMOND HUGHES                       1812 CRYSTAL ST                                                                                        ANDERSON            IN 46012‐2415
RAYMOND HUGHES                       PO BOX 51                                                                                              BARBEAU             MI 49710‐0052
RAYMOND HUGHES                       PO BOX 05142                                                                                           DETROIT             MI 48205‐0142
RAYMOND HUGHSON                      658 WOLVERINE RD                                                                                       MASON               MI 48854‐9312
RAYMOND HUGO                         BEMO LUXENBOURG                 16 BOULEVARD ROYAL                                L 2449 LUXENBOURG
RAYMOND HUMPHRIES                    6135 FOREST RIDGE DR                                                                                   NORTH OLMSTED      OH   44070‐4123
RAYMOND HUNT                         4 MOUNTBATTEN CT APT 103                                                                               BALTIMORE          MD   21207‐5498
RAYMOND HUNT                         4078 HERNER COUNTY LINE RD                                                                             SOUTHINGTON        OH   44470‐9551
RAYMOND HUNTOON                      362 HYATT ST                                                                                           JANESVILLE         WI   53545‐2464
RAYMOND HURLEY                       5200 S PRICETOWN RD                                                                                    BERLIN CENTER      OH   44401‐8702
RAYMOND HURST SR                     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                             HOUSTON            TX   77007
                                     BOUNDAS, LLP
RAYMOND HUTCHINSON                   905 E EXCHANGE ST                                                                                      OWOSSO             MI   48867‐3245
RAYMOND HUTT                         5916 SEASHELL TERRACE                                                                                  BOYNTON BEACH      FL   33437
RAYMOND I ANNABELL                   123 VALLEY CIRCLE                                                                                      WARREN             OH   44484‐‐ 10
RAYMOND I HOOVER                     ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   PO BOX 521           EAST ALTON         IL   62024
                                                                     ANGELIDES & BARNERD LLC
RAYMOND I I, DUAINE O                8743 BUNTON RD                                                                                         WILLIS             MI   48191‐9618
RAYMOND I MADEJ                      67 DUNLOP AVE                                                                                          TONAWANDA          NY   14150‐7808
RAYMOND II, DUAINE OSBERN            8743 BUNTON RD                                                                                         WILLIS             MI   48191‐9618
RAYMOND II, ROBERT L                 13596 KENYON RD                                                                                        GRAND LEDGE        MI   48837‐9733
RAYMOND IKEN                         12924 ITHACA RD                                                                                        SAINT CHARLES      MI   48655‐8510
RAYMOND ILKKA                        6646 VISTA DR                                                                                          SAGINAW            MI   48603‐9690
RAYMOND ILL                          8729 BARNES RD                                                                                         MILLINGTON         MI   48746‐9548
RAYMOND INTIHAR                      10715 SHERMAN RD                                                                                       CHARDON            OH   44024‐8423
RAYMOND IRELAND                      10418 TRISTAN DR                                                                                       DOWNEY             CA   90241‐2748
RAYMOND ISAKSON                      37524 S ENTRY LN                                                                                       CHASSELL           MI   49916‐9256
RAYMOND IULG                         1600 NE DIXIE HWY               BLDG 13 UNIT 203                                                       JENSEN BEACH       FL   34957
RAYMOND IVERSON                      715 ROGERS ST                                                                                          MILTON             WI   53563‐1724
RAYMOND IWANKOWSKI                   35361 ALTA VISTA DR                                                                                    STERLING HEIGHTS   MI   48312‐4401
RAYMOND J BALL                       286 HEIDT RD.                   LOT 2                                                                  PALATKA            FL   32177
RAYMOND J BALLWEG                    440 ETHELROB CIR                                                                                       CARLISLE           OH   45005‐4293
RAYMOND J BALLWEG JR                 841 MARTY LEE LN                                                                                       CARLISLE           OH   45005‐3833
RAYMOND J BRUCE                      1434 COVENTRY RD                                                                                       DAYTON             OH   45410
RAYMOND J CATES                      402 S HIGH ST                                                                                          ARCANUM            OH   45304‐1214
RAYMOND J CHAVIE                     WEITZ & LUXENBERG P C           700 BROADWAY                                                           NEW YORK CITY      NY   10003
RAYMOND J DAVIS                      755 OSAGE HIGHLANDS LOOP                                                                               CAMDENTON          MO   65020‐4528
RAYMOND J DEHMER                     PO BOX 272                                                                                             BOULDER JCT        WI   54512
RAYMOND J DEMPSTER                   103 BRIDGEWATER CT                                                                                     DOTHAN             AL   36303
RAYMOND J ELLIS APC MONEY PURCHASE   RAYMOND J ELLIS                 1525 HIDDEN LANE                                                       ANCHORAGE          AK   99501
PENSION PLAN
RAYMOND J GAFFNEY                    4924 BECKER DR.                                                                                        DAYTON             OH   45427‐3020
RAYMOND J GARETY 3D                  1315 CENTER AVE APT 2                                                                                  BAY CITY           MI   48708‐6171
RAYMOND J GARGANO                    918 KALE ADAMS RD.                                                                                     LEAVITTSBURG       OH   44430‐9420
RAYMOND J GEWINNER ANGELA R          RAYMOND J GEWINNER              ANGELA R GEWINNER JTWROS     1224 PALISADES DR                         FOUR SEASONS       MO   65049
GEWINNER
RAYMOND J GLANN                      1265 CHESANING RD                                                                                      MONTROSE           MI 48457‐9367
RAYMOND J GREENING                   614 PROVINCETOWN RD                                                                                    AUBURN HILLS       MI 48326‐3442
RAYMOND J HAARMAN                    RAYMOND J HAARMAN               9033 WINTON ROAD                                                       CINCINNATI         OH 45231
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Name                                Address1                             Address2                      Address3     Address4         City            State Zip
RAYMOND J HAKA T D ENTERPRISESINC   PO BOX 1216                                                                                      BRIGHTON         MI 48116‐2816

RAYMOND J INGALLS                   C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                  HOUSTON          TX   77007
                                    BOUNDAS, LLP
RAYMOND J JOHNSON                   PO BOX 15                                                                                        HARTFORD        OH    44424‐0015
RAYMOND J KLASS                     201 E SMITH ST                                                                                   BAY CITY        MI    48706‐3876
RAYMOND J KOZIOL                    1906 CRITTENDEN RD APT 3                                                                         ROCHESTER       NY    14623‐1421
RAYMOND J KRONAUER                  17290 NASH RD                                                                                    MIDDLEFIELD     OH    44062
RAYMOND J LANGFORD                  384 SUNSET DRIVE                                                                                 CARLISE         OH    45005
RAYMOND J LOVELESS                  3606 MIDDLE URBANA RD                                                                            URBANA          OH    43078‐9227
RAYMOND J MCADOO                    5790 STATE ROUTE 46                                                                              CORTLAND        OH    44410
RAYMOND J MELDER                    582 JOAN ST                                                                                      CRANBERRY TWP   PA    16066
RAYMOND J MESAEH                    24637 DARTMOUTH                                                                                  DEARBORN HTS    MI    48125‐1611
RAYMOND J PATER                     714 MICHIGAN AVE STE B                                                                           HOLLAND         MI    49423‐6903
RAYMOND J PERLOZZI                  9191 NORTH LIMA ROAD                 #34B                                                        POLAND          OH    44514
RAYMOND J PETERS                    455 E WALNUT                                                                                     HAZLETON        PA    18201
RAYMOND J POSADNY JR                1539 BOWMAN AVE                                                                                  KETTERING       OH    45409
RAYMOND J RENICK                    1541 100TH AVE                                                                                   KENOSHA         WI    53144
RAYMOND J ROBBINS                   3513 CARDINAL DR SW                                                                              WARREN          OH    44481‐9208
RAYMOND J SAWYER                    4329 LOUELLA DR                                                                                  WATERFORD       MI    48329‐4024
RAYMOND J SCHULTZ JR                26628 W BENES RD                                                                                 ANTIOCH         IL    60002‐7002
RAYMOND J SETTLEMYRE                963 JOHNSON ST                                                                                   OWOSSO          MI    48867‐3824
RAYMOND J SIMS                      C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY, STE 600                                  HOUSTON         TX    77007
                                    BOUNDAS, LLP
RAYMOND J SMITH                     5456 E. SWAMP ROAD                                                                               WINCHESTER      OH    45697‐9518
RAYMOND J STARR                     1136 N MAPLELEAF RD                                                                              LAPEER          MI    48446‐8074
RAYMOND J VALDEZ                    641 RYE AVE                                                                                      LA HABRA        CA    90631‐6736
RAYMOND J WALEK                     PO BOX 1126                                                                                      LOCKPORT        NY    14095‐1126
RAYMOND J WARD                      360 HACKLESHIN RD.                                                                               PEEBLES         OH    45660‐9724
RAYMOND J WEBB                      18 PARKLANE N                                                                                    MOUNTAINTOP     PA    18707
RAYMOND J ZEILER                    LAW OFFICES OF PETER G. ANGELOS      100 NORTH CHARLES STREET      22ND FLOOR                    BLATIMORE       MD    21201
RAYMOND J ZEILER                    C/O LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                    BALTIMORE       MD    21201

RAYMOND J. MASEK                    183 W. MARKET STREET                 SUITE 300                                                   WARREN          OH    44481
RAYMOND JACKSON                     12320 WANDERING WAY                                                                              FORT WAYNE      IN    46818‐8984
RAYMOND JACKSON                     810 CREEKSIDE DR                                                                                 TONAWANDA       NY    14150‐1309
RAYMOND JACKSON                     2512 HOEVELWOOD DR                                                                               FORT WAYNE      IN    46806‐5304
RAYMOND JACKSON                     4831 GREENVILLE RD                                                                               FARMDALE        OH    44417‐9771
RAYMOND JACKSON                     1460 E POND DR APT 12                                                                            OKEMOS          MI    48864‐2375
RAYMOND JACKSON                     89 S 20TH ST                                                                                     KANSAS CITY     KS    66102‐4854
RAYMOND JACKSON                     1924 NE 52ND ST                                                                                  OKLAHOMA CITY   OK    73111‐7010
RAYMOND JACKSON                     C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                 HOUSTON         TX    77017
RAYMOND JACOB                       9900 DOE RD                                                                                      HARRISON        MI    48625‐8577
RAYMOND JACOBS                      1335 JAYBE CT                                                                                    ESSEXVILLE      MI    48732‐9534
RAYMOND JAIMET                      109 S MAIN ST                                                                                    LENZBURG        IL    62255‐1903
RAYMOND JAKUBIEC                    22033 CALIFORNIA ST                                                                              ST CLAIR SHRS   MI    48080‐3511
RAYMOND JAKUBUS                     39146 OTIS ALLEN ROAD                                                                            ZEPHYRHILLS     FL    33540‐3078
RAYMOND JAMES                       792 CLEAR SPRINGS RD                                                                             RUSSELL SPGS    KY    42642‐8859
RAYMOND JAMES                       PO BOX 291445                                                                                    KERRVILLE       TX    78029‐1445
RAYMOND JAMES                       WALTER EVERLY                        6 PENN DR                                                   WEST GROVE      PA    19390
RAYMOND JAMES C/F                   C/O ERWIN REITTER                    859 YORKLYN RD                                              HOCKESSIN       DE    19707
RAYMOND JAMES C/F                   ROSE MAO                             134 HAMILTON RD                                             LANDENBERG      PA    19350
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Name                        Address1                          Address2                      Address3        Address4         City                 State Zip
RAYMOND JAMES C/F           PHILIP ADELIZZI IRA               2976 PENNVIEW AVE                                              BROOMALL              PA 19008
RAYMOND JAMES FBO ANTHONY   RAYMOND JAMES CSDN                FBO: ANTHONY PANISSIDI        517 E MAIN ST                    LINCOLNTON            NC 28092
PANISSIDI
RAYMOND JAMISON JR          6522 FAIRLANE DR                                                                                 BOSTON               NY   14025‐9637
RAYMOND JASINSKI            619 HOME RD S                                                                                    MANSFIELD            OH   44906‐3363
RAYMOND JENDERS             APT 203                           1000 WILLIAMS AVENUE                                           S MILWAUKEE          WI   53172‐3737
RAYMOND JENKINS             4334 KINGSTON HWY                                                                                LOUDON               TN   37774‐7201
RAYMOND JENKINS             THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                    HOUSTON              TX   77017
RAYMOND JENKINS             1309 SW AVE E ‐ APT #5                                                                           BELLE GLADE          FL   33430
RAYMOND JENKS               22788 230TH AVE                                                                                  PARIS                MI   49338‐9429
RAYMOND JENNINGS            304 PLEASANT ROAD                                                                                CONOWINGO            MD   21918
RAYMOND JENROW              216 MCCONNELL ST BOX 53                                                                          GAINES               MI   48436
RAYMOND JIA                 46736 GLENGARRY BLVD                                                                             CANTON               MI   48188‐3045
RAYMOND JIMENEZ             4131 TIMBERLANE DR                                                                               DEFIANCE             OH   43512‐9606
RAYMOND JOHANNINGSMEIER     314 OLIVE ST                                                                                     BATESVILLE           IN   47006‐1055
RAYMOND JOHN ANDREA         WEITZ & LUXENBERG PC              700 BROADWAY                                                   NEW YORK             NY   10003
RAYMOND JOHN P (360422)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA   23510
                                                              STREET, SUITE 600
RAYMOND JOHN PERRON         MOTLEY RICE LLC                   28 BRIDGESIDE BLVD            PO BOX 1792                      MT PLEASANT          SC   29465
RAYMOND JOHNSON             BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS       OH   44236
RAYMOND JOHNSON             PO BOX 15                                                                                        HARTFORD             OH   44424‐0015
RAYMOND JOHNSON             411 WALNUT STREET #3257                                                                          GREEN COVE SPRINGS   FL   32043
RAYMOND JOHNSON             2046 MINERVA ST                                                                                  WESTLAND             MI   48186‐3905
RAYMOND JOHNSON             2794 W BLUEWATER HWY                                                                             IONIA                MI   48846‐9537
RAYMOND JOHNSON             PO BOX 1627                                                                                      SPRING HILL          TN   37174‐1627
RAYMOND JOHNSON             1058 BUICK AVE                    C/O DELAINE BOLAY                                              YPSILANTI            MI   48198‐6202
RAYMOND JOHNSON             91 CLAREMONT AVE                                                                                 BUFFALO              NY   14222‐1107
RAYMOND JOHNSON             1428 KNOLLRIDGE LN                                                                               FLINT                MI   48507‐5610
RAYMOND JOHNSON             1604 HIGHWAY 80                                                                                  RUSSELLVILLE         AL   35654‐9147
RAYMOND JOHNSON             1275 CENTER ST                                                                                   ASHLAND              OH   44805‐4140
RAYMOND JOHNSON             6588 EATON LEWISBURG RD                                                                          LEWISBURG            OH   45338‐8748
RAYMOND JOHNSON             8215 BEMIS RD                                                                                    YPSILANTI            MI   48197‐9717
RAYMOND JOHNSON             15165 GARDEN ST                                                                                  LIVONIA              MI   48154‐4013
RAYMOND JOHNSON             3116 SANDLIN RD SW                                                                               DECATUR              AL   35603‐1326
RAYMOND JOHNSON             1406 E RICHMOND AVE                                                                              FORT WORTH           TX   76104‐6117
RAYMOND JOHNSON             2005 ROOT ST                                                                                     FLINT                MI   48505‐4751
RAYMOND JOHNSON             7740 CHALMETTE DR APT B                                                                          HAZELWOOD            MO   63042‐3579
RAYMOND JOHNSON             PO BOX 1014                                                                                      LAKE SHERWOOD        MO   63357‐1014
RAYMOND JOHNSON             4280 MALLARDS LANDING RD                                                                         HIGHLAND             MI   48357
RAYMOND JOHNSON             119 E LINSEY BLVD APT 2                                                                          FLINT                MI   48503
RAYMOND JOHNSON             6588 EATON LEWISBURG RD                                                                          LEWISBURG            OH   45338‐8748
RAYMOND JOHNSON JR          1601 E 57TH ST                                                                                   KANSAS CITY          MO   64110‐2909
RAYMOND JOHNSON JR          1158 HEMLOCK DR                                                                                  DESOTO               TX   75115‐4268
RAYMOND JOHNSTON            15325 KELLOGG RD                                                                                 BOWLING GREEN        OH   43402‐9302
RAYMOND JONES               11105 BLACKBERRY CRK                                                                             BURTON               MI   48519‐1953
RAYMOND JONES               2675 HAYDEN DR                                                                                   EAST POINT           GA   30344‐1053
RAYMOND JONES               4353 W SUMMIT ST                                                                                 LAKEWOOD             NY   14750‐9703
RAYMOND JONES               3782 ARK AVE                                                                                     DAYTON               OH   45416‐2004
RAYMOND JONES               24442 HASS ST                                                                                    DEARBORN HTS         MI   48127‐3243
RAYMOND JONES               5363 E COUNTY ROAD 800 N                                                                         FRANKFORT            IN   46041‐7932
RAYMOND JONES               5317 N 200 E                                                                                     KOKOMO               IN   46901‐8129
RAYMOND JONES               7515 SOUTH STATE ROUTE 202                                                                       TIPP CITY            OH   45371‐8302
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RAYMOND JONES             1531 UPLANDS DR                                                                             SPRINGFIELD           OH 45506‐4024
RAYMOND JONES             1192 RIDGE LAKE DR                                                                          MINERAL RIDGE         OH 44440‐9022
RAYMOND JONES             145 S DENNY DR                                                                              NEW CASTLE            IN 47362‐9138
RAYMOND JONES             14000 GLENWOOD ST                                                                           DETROIT               MI 48205‐2882
RAYMOND JONES             1441 CEDAR ST                                                                               SAGINAW               MI 48601‐2659
RAYMOND JONES             13511 E 41ST TER S                                                                          INDEPENDENCE          MO 64055‐3355
RAYMOND JONES
RAYMOND JONES             C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                    HOUSTON               TX   77007
                          BOUNDAS LLP
RAYMOND JONES SR          166 FRENCH ST                                                                               BUFFALO              NY    14211‐1354
RAYMOND JORDAN            1401 BENT DR                                                                                FLINT                MI    48504‐1987
RAYMOND JOUBERT           96394 HIGH POINTE DR                                                                        AMELIA ISLAND        FL    32034‐6955
RAYMOND JR BIRTCHER       122 PARK PL                                                                                 NAPOLEON             OH    43545‐1344
RAYMOND JR, ERVIN F       126 SW ENDEAVOR CT                                                                          LAKE CITY            FL    32024‐0592
RAYMOND JR, EVERETT H     260 SUMMER ST                                                                               FRANKLIN             MA    02038‐1413
RAYMOND JR, FRANK S       PO BOX 399                                                                                  WEST WINFIELD        NY    13491‐0399
RAYMOND JR, GEORGE F      2659 BENDER AVE                                                                             WATERFORD            MI    48329‐3409
RAYMOND JR, GEORGE L      10 GREEN ST                                                                                 MILFORD              MA    01757‐3246
RAYMOND JR, JOHN H        8977 N M 37                                                                                 MESICK               MI    49668‐9327
RAYMOND JR, WILLIAM P     5581 CONRAD RD                                                                              MAYVILLE             MI    48744‐9618
RAYMOND JUDE              10065 FIRETHORNE DR                                                                         N HUNTINGDON         PA    15642‐2611
RAYMOND JULIANO           2147 FERRIER RD                                                                             EDEN                 NY    14057‐9613
RAYMOND JUZYSTA           8757 KNOX RD                                                                                CLARKSTON            MI    48348‐1727
RAYMOND K BACK            2345 N MAIN ST                                                                              DAYTON               OH    45405‐3440
RAYMOND K BARKER          3426 HADDEN RD                                                                              ROCHESTER            MI    48306‐1138
RAYMOND K CRAIN           8414 MOSSHANG CT                                                                            HOUSTON              TX    77040
RAYMOND K HOPWOOD         503 HIGHLAND STREET                                                                         BOAZ                 AL    35957
RAYMOND K TSCHIRHART JR   234 N DELMAR AVE                                                                            DAYTON               OH    45403‐1610
RAYMOND KABALAN           180 LAKE POINTE CIR                                                                         CANFIELD             OH    44406‐8757
RAYMOND KACZMAREK         PO BOX 615                                                                                  LAKEWOOD             OH    44107‐0915
RAYMOND KACZMAREK         104 CRISFIELD AVE                                                                           CHEEKTOWAGA          NY    14206‐1918
RAYMOND KACZOROWSKI       2100 SYLVAN RD                                                                              CHELSEA              MI    48118‐9304
RAYMOND KAISER            13461 GAINESVILLE AVE                                                                       PORT CHARLOTTE       FL    33981‐3837
RAYMOND KALTENBACH        4605 PENSACOLA BLVD                                                                         MORAINE              OH    45439‐2827
RAYMOND KAMINSKI          31 ASHBURY CT                                                                               EAST AMHERST         NY    14051‐2260
RAYMOND KAMINSKI          544 TANNERY RD                                                                              WEST FALLS           NY    14170‐9757
RAYMOND KAMINSKI I I      PO BOX 23436                                                                                FLAGSTAFF            AZ    86002‐3436
RAYMOND KANALOS           1010 W LOST DUTCHMAN PL                                                                     ORO VALLEY           AZ    85737‐9724
RAYMOND KANNINEN          5442 NONPAREIL RD                                                                           SUTHERLIN            OR    97479‐4720
RAYMOND KANTOWSKI         C/O DAVID A. NOYES & COMPANY   209 S. LASALLE ST., 12TH FLOOR                               CHICAGO              IL    60606
RAYMOND KARBOWSKI         3855 TOWNLINE RD                                                                            STANDISH             MI    48658‐9109
RAYMOND KARCZEWSKI        22871 GROVE APT 57                                                                          SAINT CLAIR SHORES   MI    48080
RAYMOND KARDELL           8794 SHARP RD RT 1                                                                          CLIFFORD             MI    48727
RAYMOND KARR              1518 HICKORY LN                                                                             CARO                 MI    48723‐1311
RAYMOND KARTAVICIUS       2328 BURR OAK AVE                                                                           N RIVERSIDE          IL    60546‐1320
RAYMOND KARTES            4416 DIEBOLD RANCH RD                                                                       WEST BRANCH          MI    48661‐9657
RAYMOND KASAT             4143 AQUARINA ST                                                                            WATERFORD            MI    48329‐2119
RAYMOND KASPER            808 N CASS AVE                                                                              VASSAR               MI    48768‐1405
RAYMOND KASPER            4895 AUSTON ST                                                                              SPRINGFIELD          OH    45502‐9264
RAYMOND KASPEREK          8766 AKRON RD                                                                               LOCKPORT             NY    14094‐9340
RAYMOND KASPRZYK          1006 S VAN BUREN ST                                                                         BAY CITY             MI    48708‐7319
RAYMOND KAVANAGH          130 W MEYERS AVE                                                                            HAZEL PARK           MI    48030‐3512
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Name                         Address1                          Address2                         Address3   Address4         City               State Zip
RAYMOND KAYLOR               1243 DOVE DR                                                                                   ASHLAND             OH 44805‐3626
RAYMOND KEARNEY              195 BIG WOODS RD                                                                               WARRENTON           NC 27589‐8638
RAYMOND KEARNS               SHIRE AT CULVERTON                                                                             ROCHESTER           NY 14609
RAYMOND KEEFHAVER            4443 STATE HIGHWAY BB                                                                          KING CITY           MO 64463‐8120
RAYMOND KEETON III           5344 STATE ROUTE 142 SE                                                                        W JEFFERSON         OH 43162‐9753
RAYMOND KEISER               7766 PLEASANTVIEW RD                                                                           LEVERING            MI 49755‐9715
RAYMOND KEITH                7096 NEFF RD                                                                                   MOUNT MORRIS        MI 48458‐1840
RAYMOND KELLEN               BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.         OH 44236
RAYMOND KELLER               594 JUDY LN                                                                                    BRUNSWICK           OH 44212‐2148
RAYMOND KELLEY               PO BOX 212                                                                                     MEDWAY              MA 02053‐0212
RAYMOND KELLEY               4415 RUPPRECHT RD                                                                              VASSAR              MI 48768‐9108
RAYMOND KELLEY               200 A STREET                                                                                   CLEAR               AK 99704‐5360
RAYMOND KELLY                4531 COUNTRY WAY W                                                                             SAGINAW             MI 48603‐1073
RAYMOND KELLY                284 MORELAND DR                                                                                CANFIELD            OH 44406‐1025
RAYMOND KELLY JR             6095 E FRESHMAN DR                                                                             SAGINAW             MI 48604‐9540
RAYMOND KELSO                708 W BANFILL AVE                                                                              BONIFAY             FL 32425‐2508
RAYMOND KEMPER               17700 NW COREY RD                                                                              NORTH PLAINS        OR 97133‐6221
RAYMOND KENNARD              8540 EAST ST                                                                                   MILLINGTON          MI 48746‐5103
RAYMOND KENNARD              5864 PINKERTON RD                                                                              VASSAR              MI 48768‐9668
RAYMOND KENNEDY              18444 ROBSON ST                                                                                DETROIT             MI 48235‐2864
RAYMOND KENNEDY              18500 E 9TH ST N                                                                               INDEPENDENCE        MO 64056‐2065
RAYMOND KENNEDY              320 N 12TH ST                                                                                  SAN JOSE            CA 95112‐3334
RAYMOND KENNEDY              5025 S EDGEHILL ST                                                                             INDIANAPOLIS        IN 46221‐4905
RAYMOND KENNEY               15500 DELOOF ST                                                                                EAST LANSING        MI 48823‐9407
RAYMOND KENNY                4002 CHIMNEY WOOD TRL                                                                          INDIAN TRAIL        NC 28079‐7699
RAYMOND KENT JR              2395 LAKE ANGELUS LN                                                                           LAKE ANGELUS        MI 48326‐1009
RAYMOND KERN A (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FL 265                               NEW HAVEN           CT 06510
                                                               CHURCH ST
RAYMOND KERN A (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTRY TOWER, 11TH FLOOR,                                NEW HAVEN           CT   06510
                                                               265 CHURCH
RAYMOND KERO                 2584 BENSON RD                                                                                 TAWAS CITY         MI    48763‐9419
RAYMOND KERSPILO JR          5317 WYNDEMERE COMMON SQ                                                                       SWARTZ CREEK       MI    48473‐8911
RAYMOND KESSLER              223 HYATT LN                                                                                   LINDEN             MI    48451‐8702
RAYMOND KESSLER              1208 CAMBRIDGE BLVD                                                                            COLUMBUS           OH    43212‐3204
RAYMOND KETTEL               151 FAIRWAY CIR                                                                                NORWALK            OH    44857‐1902
RAYMOND KHAN                 5901 MURFIELD DRIVE                                                                            ROCHESTER HILLS    MI    48306
RAYMOND KIDDER               101 HILLCREST RD                                                                               FLEMINGTON         NJ    08822‐7173
RAYMOND KIDNEY               37 WELD ST                                                                                     LOCKPORT           NY    14094‐4841
RAYMOND KIDNEY               269 COUNTY ROAD 800                                                                            POLK               OH    44866‐9703
RAYMOND KIEFER               10124 LUDLOW AVE                                                                               HUNTINGTON WOODS   MI    48070‐1545
RAYMOND KIEL                 20534 PIKE 218                                                                                 BOWLING GREEN      MO    63334‐4204
RAYMOND KIFF                 1001 HUMBOLDT PKWY                                                                             BUFFALO            NY    14208‐2221
RAYMOND KILLIPS              3932 OLIVE ST                                                                                  SAGINAW            MI    48601‐5546
RAYMOND KIMBALL              17111 DETROITER AVENUE                                                                         DAVISBURG          MI    48350‐1139
RAYMOND KIMBRELL             500 RIVERS RD                                                                                  WILLIAMSON         GA    30292‐3610
RAYMOND KIMMERY              7445 MORRISH RD                                                                                SWARTZ CREEK       MI    48473‐7610
RAYMOND KINDEL               1827 E WASHINGTON RD                                                                           ITHACA             MI    48847‐9470
RAYMOND KINEL                5934 PARKRIDGE DR                                                                              EAST CHINA         MI    48054‐4721
RAYMOND KING                 48 LINCOLNSHIRE DR                                                                             LOCKPORT           NY    14094‐5931
RAYMOND KING                 261 VIRGIN RUN RD                                                                              VANDERBILT         PA    15486‐1139
RAYMOND KING                 9550 PIERSON ST                                                                                DETROIT            MI    48228‐1517
RAYMOND KING                 305 UTAH ST                                                                                    TOLEDO             OH    43605‐2245
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Name                   Address1                        Address2                      Address3   Address4         City                 State Zip
RAYMOND KING           8293 CRESTVIEW DR                                                                         GREENVILLE            MI 48838‐8162
RAYMOND KING           837 MOSIER RD                                                                             GIRARD                OH 44420‐2340
RAYMOND KING SR        1363 ANTLER ALY                                                                           JAMESTOWN             PA 16134‐6103
RAYMOND KINNER         32 MARRETT ROAD                                                                           LEXINGTON             MA 02421‐5704
RAYMOND KINYON         218 RIPLEY RD                                                                             LINDEN                MI 48451‐9010
RAYMOND KIRBY          13602 ASTON ST                                                                            ROMULUS               MI 48174‐1068
RAYMOND KIRCHBERGER    273 COTTAGE ST                                                                            LOCKPORT              NY 14094‐4903
RAYMOND KIRKLAND       1153 DEER CREEK TRL                                                                       GRAND BLANC           MI 48439‐9263
RAYMOND KIRKPATRICK    803 FAIR AVE                                                                              SALEM                 OH 44460‐3920
RAYMOND KIRN           2042 GILMAN ST                                                                            GARDEN CITY           MI 48135‐2933
RAYMOND KISER          6903 N US HIGHWAY 68                                                                      WILMINGTON            OH 45177‐8877
RAYMOND KISSINGER      981 FLORENCE DR                                                                           FARWELL               MI 48622‐9633
RAYMOND KISSNER        7040 S 080 E                                                                              WOLCOTTVILLE          IN 46795‐8933
RAYMOND KLEINBERG      42868 BLOOMINGDALE DR                                                                     STERLING HEIGHTS      MI 48314‐2843
RAYMOND KLIMASZEWSKI   3765 PINCONNING RD                                                                        RHODES                MI 48652‐9745
RAYMOND KLINGER        5145 INLAND DR                                                                            SYLVANIA              OH 43560‐9708
RAYMOND KLONOWSKI      5551 MARY CT                                                                              SAGINAW               MI 48603
RAYMOND KLOSOWSKI      1823 RIVER RD                                                                             KAWKAWLIN             MI 48631‐9421
RAYMOND KLOTZ          3895 NW DEER OAK DR                                                                       JENSEN BEACH          FL 34957‐3448
RAYMOND KLOTZ          12444 TEACHOUT RD                                                                         MANITOU BEACH         MI 49253‐9737
RAYMOND KLUG           2806 JACKSON RD                                                                           WENTZVILLE            MO 63385‐4205
RAYMOND KLUKOWSKI      17645 PROSPECT ST                                                                         MELVINDALE            MI 48122‐1133
RAYMOND KNAPP          14009 S MARYBROOK DR                                                                      PLAINFIELD             IL 60544‐3507
RAYMOND KNIGHT         THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                               HOUSTON               TX 77017
RAYMOND KNOEBEL III    798 BERKSHIRE RD                                                                          GROSSE POINTE PARK    MI 48230‐1818
RAYMOND KNUCKLES       11080 W COUNTY ROAD 350 N                                                                 KOKOMO                IN 46901
RAYMOND KNUDSON        PO BOX 9581                                                                               LANCASTER             CA 93539‐9581
RAYMOND KOAN           422 HOLLAND RD                                                                            FLUSHING              MI 48433‐2131
RAYMOND KOBOS          C/O BECKY M. DIMAGGIO           BELLEVUE MANOR                                            SYRACUSE              NY 13219
RAYMOND KOCIENSKI      9262 ST HWY RT 56                                                                         NORFOLK               NY 13667
RAYMOND KOEHLKE        2738 CHOWINGS ST                                                                          FAIRFIELD             OH 45014
RAYMOND KOENIG         300 E WASHINGTON ST UNIT 13N                                                              N ATTLEBORO           MA 02760‐2380
RAYMOND KOLANDER       806 W MACALAN DR                                                                          MARION                IN 46952‐2041
RAYMOND KOLEFF         2204 CHESTNUT ST                                                                          TOLEDO                OH 43608‐2702
RAYMOND KOLEHMAINEN    46535 BOOTJACK RD                                                                         LAKE LINDEN           MI 49945‐9830
RAYMOND KOLESAR        5915 DUNHAM RD                                                                            MAPLE HEIGHTS         OH 44137‐4053
RAYMOND KOLHAGEN       2861 OAKLAWN PARK                                                                         SAGINAW               MI 48603‐6161
RAYMOND KOLLAR         331 MONTRIDGE DR                                                                          CANFIELD              OH 44406‐1230
RAYMOND KONEN          54565 WHITE SPRUCE LN                                                                     SHELBY TOWNSHIP       MI 48315‐1468
RAYMOND KONKO JR       6100 RHONDA DR                                                                            N RIDGEVILLE          OH 44039‐1530
RAYMOND KONOWAL        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.           OH 44236
RAYMOND KONSDORF       3909 VENTURA DR                                                                           SAGINAW               MI 48604‐1835
RAYMOND KOOPMAN        5794 BIRKENHILLS CT                                                                       OAKLAND TOWNSHIP      MI 48306‐4931
RAYMOND KOPCHAK        4303 PERSHING AVE                                                                         PARMA                 OH 44134‐2313
RAYMOND KOPP           107 SETTLERS TRL                                                                          UNION                 OH 45322‐8783
RAYMOND KOSAL          358 NORTH DR                                                                              DAVISON               MI 48423‐1677
RAYMOND KOSMALSKI      1013 CRANBERRY PIKE                                                                       EAST TAWAS            MI 48730‐9760
RAYMOND KOSTECKI       37343 CLUBHOUSE DR                                                                        STERLING HTS          MI 48312‐2245
RAYMOND KOSTOVNY       1362 ARONA RD                                                                             IRWIN                 PA 15642‐5010
RAYMOND KOWALSKI       10475 W JEFFERSON RD                                                                      RIVERDALE             MI 48877‐9744
RAYMOND KOWALSKI       PO BOX 261                                                                                HIGHMOUNT             NY 12441
RAYMOND KOWALSKY       2620 MCKNIGHT RD                                                                          CULLEOKA              TN 38451‐2607
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Name                         Address1                             Address2                    Address3     Address4         City           State Zip
RAYMOND KOZIEROWSKI          41379 HARVARD DR                                                                               STERLING HTS    MI 48313‐3633
RAYMOND KOZIOL               1906 CRITTENDEN RD APT 3                                                                       ROCHESTER       NY 14623‐1421
RAYMOND KRAATZ               1525 GENESEE DR                                                                                ROYAL OAK       MI 48073‐4710
RAYMOND KRAJECKI             404 S FRANKLIN ST                                                                              JANESVILLE      WI 53548‐4745
RAYMOND KRAMER               1710 W 101ST ST                                                                                CHICAGO          IL 60643‐2139
RAYMOND KRAMER               6669 ANDERSONVILLE RD                                                                          CLARKSTON       MI 48346‐2701
RAYMOND KRATT                24 DICKENS LN                                                                                  CROSSVILLE      TN 38558‐2735
RAYMOND KRAUS                PO BOX 284                                                                                     WACCABUC        NY 10597‐0284
RAYMOND KRAUSE               PO BOX 9022                                                                                    WARREN          MI 48090‐9022
RAYMOND KRAWCZYK             2842 DEER RIDGE DR                                                                             MILFORD         MI 48381‐2120
RAYMOND KRISPINSKY           12235 S CHIPPEWA DR                                                                            PHOENIX         AZ 85044‐2242
RAYMOND KRISS                8899 POINT CHARITY DR                                                                          PIGEON          MI 48755‐9627
RAYMOND KROL                 32424S TOWER RD                                                                                GOETZVILLE      MI 49736
RAYMOND KROLIKOWSKI          926 DONALD AVE                                                                                 ROYAL OAK       MI 48073‐2054
RAYMOND KROODSMA             1210 S SHELDON ST                                                                              CHARLOTTE       MI 48813‐2127
RAYMOND KRUCZEK              211 E NORTH A ST                                                                               GAS CITY        IN 46933‐1429
RAYMOND KRUEGER              8402 E 111TH TER                                                                               KANSAS CITY     MO 64134‐3402
RAYMOND KRULL                1811 KRULL RD                                                                                  HERMANN         MO 65041‐4800
RAYMOND KRUPP                3209 LUCE RD                                                                                   FLUSHING        MI 48433‐2372
RAYMOND KUBIK                12106 BOLDREY DR                                                                               FENTON          MI 48430‐9654
RAYMOND KUBINSKI             2852 CANTERBURY CT                                                                             MILFORD         MI 48381‐4445
RAYMOND KUCALABA             10825 DETWILER RD                                                                              CANFIELD        OH 44406‐9162
RAYMOND KUEHN                253 MARION OAKS LN                                                                             OCALA           FL 34473‐2809
RAYMOND KUGLER               203 FLETCHER DR                                                                                N SYRACUSE      NY 13212‐2710
RAYMOND KUJAWA               7046 LAMBERTON RD                                                                              RACINE          WI 53402‐1154
RAYMOND KUSMIERSKI           184 CANTERBURY DR                                                                              CROSSVILLE      TN 38558‐7095
RAYMOND KUTCHEY              5167 NATURA DR                                                                                 HOWELL          MI 48843‐7474
RAYMOND KUTZOR               THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES           22ND FLOOR                    BALTIMORE       MD 21201

RAYMOND KWILINSKI            9230 LOOKING GLASS                                                                             GRAND LEDGE    MI   48837
RAYMOND L & VIOLA A HARPST   251 FREDONIA RD                      PO BOX 84                                                 FREDONIA       PA   16124
RAYMOND L ADDINGTON          35278 GLEN LN                                                                                  WILDOMAR       CA   92595‐9065
RAYMOND L ADDINGTON          35278 GLEN LANE                                                                                WILDOMAR       CA   92595‐9065
RAYMOND L BACH               432 DELLWOOD AVE                                                                               DAYTON         OH   45419‐3525
RAYMOND L BADGLEY            2446 COLUMBUS DR WEST                                                                          HAMILTON       OH   45013‐4254
RAYMOND L BAKER              6520 TYMILL CT                                                                                 DAYTON         OH   45415‐1450
RAYMOND L BROCKMAN           1161 MARSHA DR                                                                                 MIAMISBURG     OH   45342
RAYMOND L BYRD               499 MARKET ST                                                                                  LOCKPORT       NY   14094‐2528
RAYMOND L CHAILLE JR         2424 OLD DERBY CT                                                                              VANDALIA       OH   45377
RAYMOND L CHAILLE SR         2001 CARDINAL AVE.                                                                             DAYTON         OH   45414‐3330
RAYMOND L CHAMBERLAIN        2285 PAWNEE DR NW ROUTE 6                                                                      LONDON         OH   43140
RAYMOND L COLEGROVE JR       12207 WELLINGTON DR                                                                            MEDWAY         OH   45341
RAYMOND L COOLEY             1306 PARK DRIVE                                                                                MIDDLETOWN     OH   45044‐6346
RAYMOND L DARLING            1097 E HARVARD AVE                                                                             FLINT          MI   48505‐1507
RAYMOND L DHARTE             40970 E ROSEWOOD                                                                               CLINTON TWP    MI   48038
RAYMOND L DICKERSON          3889 J.5 ROAD                                                                                  BARK RIVER     MI   49807‐9783
RAYMOND L EICKHOLT           104 RAINBOW DR APT 427                                                                         LIVINGSTON     TX   77399
RAYMOND L ELAM SR            1000 S GOLD STREET                                                                             DEMING         NM   88030
RAYMOND L ELAM, SR.          1000 S GOLD AVE                                                                                DEMING         NM   88030‐4758
RAYMOND L ELLISON            C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                 HOUSTON        TX   77007
                             BOUNDAS LLP
RAYMOND L FOX                405 HOSKINS RD                                                                                 WILMINGTON     OH 45177‐8817
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Name                    Address1                      Address2             Address3        Address4         City               State Zip
RAYMOND L FRICK         228 BYERS RD                  STE 101                                               MIAMISBURG          OH 45342‐3675
RAYMOND L GUSTIN        108 VILLA DR DR                                                                     NEW CARLISLE        OH 45344
RAYMOND L HALE          565 N. ATLANTIC AVE.                                                                NEW SMYRNA BEACH    FL 32169
RAYMOND L HALLETT       201 E 8TH ST                                                                        TILTON               IL 61833‐7811
RAYMOND L HARTRUP       C/O MOTLEY RICE LLC           28 BRIDGESIDE BLVD   PO BOX 1792                      MT PLEASANT         SC 29465
RAYMOND L HAWKINS       113 SENNA CT                                                                        DAYTON              OH 45431
RAYMOND L HAWKINS SR.   113 SENNA CT                                                                        DAYTON              OH 45431‐3513
RAYMOND L HUNTLEY       1018 W 2ND ST                                                                       DAYTON              OH 45402
RAYMOND L JACKSON       810 CREEKSIDE DR                                                                    TONAWANDA           NY 14150‐1309
RAYMOND L JONES         2675 HAYDEN DR                                                                      EAST POINT          GA 30344‐1053
RAYMOND L JONES         3782 ARK AVE                                                                        DAYTON              OH 45416‐2004
RAYMOND L KLOTZ         12444 TEACHOUT RD                                                                   MANITOU BEACH       MI 49253‐9737
RAYMOND L KOPP          107 SETTLERS TRAIL                                                                  UNION               OH 45322
RAYMOND L LUCAS         1951 ELSMERE AVE                                                                    DAYTON              OH 45406
RAYMOND L MEEKER        9660 HWY 571                                                                        MANCELONA           MI 49659
RAYMOND L MILES         8429 DEERCREEK                                                                      WARREN              OH 44484
RAYMOND L MONTI         454 CLEVELAND AVE E                                                                 WARREN              OH 44483‐1907
RAYMOND L PORSCH        121 WEDGEWOOD DR                                                                    JOHNSTOWN           PA 15904
RAYMOND L RICHARDS      PO BOX 40                                                                           MINERAL             TX 78125
RAYMOND L RILEY         4548 KINGS‐GRAVE RD                                                                 VIENNA              OH 44473
RAYMOND L ROBINSON      229 E TAYLOR ST                                                                     FLINT               MI 48505‐4985
RAYMOND L RYDER         696 DUFILHO RD                                                                      OPELOUSAS           LA 70570‐1332
RAYMOND L SCODELLER     ACCT OF JAMES DAVID WOOD      1927 VASSAR DR                                        LANSING             MI 48912
RAYMOND L SEDLAK        1191 NORMANDY TERRACE DR                                                            FLINT               MI 48532‐3550
RAYMOND L SMITH         1159 TRUMBULL AVE SE                                                                WARREN              OH 44484‐4579
RAYMOND L SMITH         2016 SPARROW ST                                                                     SPRING HILL         TN 37174
RAYMOND L STEEN         69 PARKSIDE DR                                                                      WEST SENECA         NY 14224‐3405
RAYMOND L STROUD        113 DURNER ST                                                                       DAYTON              OH 45408‐2019
RAYMOND L SWADLING      5574 VALLEY RD                                                                      ALANSON             MI 49706‐9757
RAYMOND L THOMPSON      2043 FONTAINBLEAU DRIVE                                                             CONYERS             GA 30094‐4804
RAYMOND L UNGER         1268 HOUSELCRAFT N. W.                                                              BRISTOLVILLE        OH 44402‐9603
RAYMOND L UPCHURCH JR   1145 MAGNOLIA DR                                                                    INKSTER             MI 48141‐1791
RAYMOND L WARD          8443 BERKSHIRE DR                                                                   YPSILANTI           MI 48198‐3640
RAYMOND L WILLIAMS      8757 HOWLAND SPRINGS RD SE                                                          WARREN              OH 44484‐3125
RAYMOND L ZIMMERMAN     1529 LINCOLN ST                                                                     DANVILLE             IL 61832‐7571
RAYMOND L. JOHNSTON     3400 APPALACHIAN DR                                                                 COLUMBIA            MO 65203
RAYMOND L. JORDAN       1401 BENT DR                                                                        FLINT               MI 48504‐1987
RAYMOND LAAKSONEN       8245 BROOK DR                                                                       FLUSHING            MI 48433‐8878
RAYMOND LAAKSONEN       10401 S CAROLINA ST                                                                 OSCODA              MI 48750‐1911
RAYMOND LABRIE          372 FORDCROFT DR                                                                    ROCHESTER HILLS     MI 48309‐1145
RAYMOND LACHAPELLE      40 W WRENTHAM RD UNIT 1                                                             CUMBERLAND           RI 02864‐2144
RAYMOND LACHOWSKI       2910 CRESTWOOD DR NW                                                                WARREN              OH 44485‐1231
RAYMOND LACHOWSKI       221 CROSS CREEK DR NW                                                               WARREN              OH 44483‐7115
RAYMOND LACHOWSKI       2910 CRESTWOOD DR.                                                                  WARREN              OH 44485‐1231
RAYMOND LACLAIR         3365 GERNADA DR                                                                     CLIO                MI 48420‐1912
RAYMOND LACONIS         726 KENTUCKY DR                                                                     ROCHESTER HILLS     MI 48307‐3734
RAYMOND LAFOREST        PO BOX 2178                                                                         BAY CITY            MI 48707‐2178
RAYMOND LAHAIE          4209 VAN VLEET RD                                                                   SWARTZ CREEK        MI 48473‐8610
RAYMOND LALUMIERE       46 VILLAGE WAY                                                                      NORTH SMITHFIELD     RI 02896‐7246
RAYMOND LAMB            2320 E 8TH ST                                                                       ANDERSON            IN 46012‐4304
RAYMOND LAMBERT         3051 JEFFERSON AVE                                                                  DEFIANCE            OH 43512
RAYMOND LAMBERT         PO BOX 6202                                                                         SPRING HILL         FL 34611‐6202
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Name                                  Address1                          Address2                       Address3                     Address4         City            State Zip
RAYMOND LAMM JR                       278 RIVER OAKS DR                                                                                              BAINBRIDGE       GA 39817‐6871
RAYMOND LAMPKE                        70 ALYS DR E                                                                                                   DEPEW            NY 14043‐1420
RAYMOND LAMROUEX                      214 N FRANKLIN ST                                                                                              SAGINAW          MI 48604‐1210
RAYMOND LANCE                         105 BLOCK ST                                                                                                   WILLIAMSTON      MI 48895‐9019
RAYMOND LANCZKI                       31721 GRANDVIEW AVE                                                                                            WESTLAND         MI 48186
RAYMOND LANDIS                        14313 SE 45TH CT                                                                                               SUMMERFIELD      FL 34491‐3030
RAYMOND LANE                          113 FOREST PARK CT                                                                                             LONGWOOD         FL 32779‐5801
RAYMOND LANE                          1260 WEBSTER AVE                                                                                               BROOKFIELD       WI 53005‐7347
RAYMOND LANGDON                       2739 MAPLE AVE                                                                                                 NEWFANE          NY 14108‐1308
RAYMOND LANGE                         7838 IVANHOE ST                                                                                                AFFTON           MO 63123‐3509
RAYMOND LANGFORD                      384 SUNSET DR                                                                                                  CARLISLE         OH 45005‐3092
RAYMOND LANTZ                         4800 TIMBERLINE TRL                                                                                            BARTON CITY      MI 48705‐9781
RAYMOND LANZOTTI                      5132 MCFAUL RD                                                                                                 BALTIMORE        MD 21206‐3036
RAYMOND LAPOINTE                      126 E PRINCETON AVE                                                                                            PONTIAC          MI 48340‐1953
RAYMOND LARGE                         11435 LOCH NESS DR                                                                                             HILLSBORO        OH 45133‐9372
RAYMOND LARGE                         11435 LOCHNESS DRIVE                                                                                           HILLSBORO        OH 45133‐9372
RAYMOND LARISON                       5404 CHELSEA RD                                                                                                INDIANAPOLIS     IN 46241‐3407
RAYMOND LARKIN                        1980 HATCH RD                                                                                                  BAY CITY         MI 48708‐4413
RAYMOND LAROUECH                      75 N WILLOW ST                                                                                                 EAST AURORA      NY 14052‐1610
RAYMOND LARRY CARTER                  C/O GLASSER AND GLASSER           CROWN CENTER                   580 EAST MAIN STREET SUITE                    NORFOLK          VA 23510
                                                                                                       600
RAYMOND LARSON                        13955 GRAFTON RD                                                                                               CARLETON        MI   48117‐9217
RAYMOND LARSON                        6582 WAGNER RD R 1                                                                                             EAST LANSING    MI   48823
RAYMOND LARSON JR                     1015 S LILY POND PT                                                                                            HOMOSASSA       FL   34448‐1496
RAYMOND LASH                          2586 BERTHA AVE                                                                                                FLINT           MI   48504‐2306
RAYMOND LASITER SR                    29 INDIAN LN                                                                                                   WOODBURY        CT   06798‐2420
RAYMOND LAURIN                        16201 OCEANA AVE                                                                                               ALLEN PARK      MI   48101‐1943
RAYMOND LAY                           515 RIVERVIEW AVE                                                                                              MONROE          MI   48162‐2956
RAYMOND LAZIER                        13362 PASCO MONTRA RD                                                                                          MAPLEWOOD       OH   45340‐9719
RAYMOND LE DOUX                       1762 TERRAPIN BRANCH RD                                                                                        MT PLEASANT     TN   38474‐1953
RAYMOND LEAVER JR                     316 BROADVIEW BLVD N                                                                                           GLEN BURNIE     MD   21061‐2405
RAYMOND LECHNER                       6400 TAYLOR RD UNIT 220                                                                                        PUNTA GORDA     FL   33950‐8372
RAYMOND LEDUC                         18 WINTER ST                                                                                                   MARLBOROUGH     MA   01752‐4505
RAYMOND LEDUC                         4526 CENTRAL BLVD                                                                                              ANN ARBOR       MI   48108‐1306
RAYMOND LEE                           28321 MARCIA AVE                                                                                               WARREN          MI   48093‐7209
RAYMOND LEEDOM                        739 ESTATES BLVD APT 93                                                                                        MERCERVILLE     NJ   08619‐2609
RAYMOND LEET                          3380 BROOKGATE DR                                                                                              FLINT           MI   48507‐3211
RAYMOND LEFKO                         145 MAPLEVIEW DR                                                                                               AMHERST         NY   14226‐2849
RAYMOND LEH                           300 WILLOW VALLEY LAKES DRIVE     APT C 028                                                                    WILLOWSTREET    PA   17584
RAYMOND LEHMAN                        1932 RIVER CREST WAY                                                                                           LAWRENCEVILLE   GA   30045‐2707
RAYMOND LEIBY                         2861 SMITH ST                                                                                                  WILLARD         OH   44890
RAYMOND LEMANSKI                      35712 WEIDEMAN ST                                                                                              CLINTON TWP     MI   48035‐5206
RAYMOND LEMKE                         1374 MCKINLEY PKWY                                                                                             LACKAWANNA      NY   14218‐1643
RAYMOND LENCH                         3611 PRATT RD                                                                                                  METAMORA        MI   48455‐9713
RAYMOND LENK                          98 LAUREL LN                                                                                                   TROY            MO   63379‐3010
RAYMOND LENN                          1383 GOFFE ST                                                                                                  SAINT CLAIR     MI   48079‐5105
RAYMOND LENZ                          C/O COONEY AND CONWAY             120 NORTH LASALLE 30TH FLOOR                                                 CHICAGO         IL   60602
RAYMOND LEROY & CATHERINE L GRIEBEL   135 PLAZA DR                      APT 1222                                                                     KERRVILLE       TX   78028

RAYMOND LESPERANCE                    115 RUTLAND ST                                                                                                 WOONSOCKET      RI 02895‐2216
RAYMOND LEVOCK                        24713 STAR VALLEY DR                                                                                           ST CLAIR SHRS   MI 48080‐1030
RAYMOND LEWANDOWSKI                   203 PORTLAND AVE                                                                                               WILMINGTON      DE 19804‐2209
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Name                         Address1                        Address2             Address3        Address4         City                State Zip
RAYMOND LEWANDOWSKI          113 IVANHOE RD                                                                        CHEEKTOWAGA          NY 14215‐3622
RAYMOND LEWIS                8108 MILL ST BOX 447                                                                  HANOVER              WI 53542
RAYMOND LEWIS                3316 GREEN ACRE WAY                                                                   SEBRING              FL 33870‐3952
RAYMOND LEWIS JR             524 BRYANT ST                                                                         ORMOND BEACH         FL 32174‐9027
RAYMOND LEWIS LIVINGSTON     FOSTER & SEAR, LLP              817 GREENVIEW DR.                                     GRAND PRAIRIE        TX 75050
RAYMOND LICKWAR              6121 EAGLE CREEK RD                                                                   LEAVITTSBURG         OH 44430‐9417
RAYMOND LIEBERMAN
RAYMOND LIEVENS              38830 LAKESHORE DR                                                                    HARRISON TOWNSHIP   MI   48045‐2873
RAYMOND LILL                 5901 NEWBROOK CIR SPC 42                                                              RIVERBANK           CA   95367‐2886
RAYMOND LILLER               226 DOUGLAS ROAD                                                                      BEAVER FALLS        PA   15010
RAYMOND LINDSAY              2322 EUGENE ST                                                                        BURTON              MI   48519‐1354
RAYMOND LINDSTROM            2362 S ELMS RD                                                                        SWARTZ CREEK        MI   48473‐9769
RAYMOND LINONGE IKOME        MIEREGEMSTRAAT 191 BUS 6                                                              MERCHTEM                 1785
RAYMOND LION                 1156 SARAH ST                                                                         BETHEL PARK         PA   15102‐2654
RAYMOND LIPE                 7702 LINDEN AVE                                                                       DARIEN              IL   60561‐4531
RAYMOND LIPOWSKI             2595 AVONHURST DR                                                                     TROY                MI   48084‐1001
RAYMOND LIPSKEY              8320 POLK RD                                                                          MINDEN CITY         MI   48456‐9756
RAYMOND LIPUT JR.            1217 8TH AVE                                                                          TOMS RIVER          NJ   08757‐2647
RAYMOND LITTELL              PO BOX 303                                                                            JAMESTOWN           IN   46147‐0303
RAYMOND LITTELL              1424 PALMER AVE                                                                       KALAMAZOO           MI   49001‐4350
RAYMOND LITTERAL             PO BOX 6184                     RAYMOND H LITTERAL                                    MARIANNA            FL   32447‐6184
RAYMOND LITTERAL             12300 SEMINOLE BLVD LOT 89                                                            LARGO               FL   33778‐2736
RAYMOND LITTLE               9386 COUNTY RD# 50                                                                    MANSFIELD           OH   44904
RAYMOND LITWIN JR            18660 TECUMSEH RD                                                                     DUNDEE              MI   48131‐9643
RAYMOND LOCKE                5191 WOODHAVEN CT APT 722                                                             FLINT               MI   48532‐4189
RAYMOND LOHMANN              49540 ISHPEMING DR                                                                    CHESTERFIELD        MI   48047‐4380
RAYMOND LOIK                 10286 CEMETERY RD                                                                     OTISVILLE           MI   48463‐9747
RAYMOND LOMBARDO             14 METCALF AVE                                                                        MILFORD             MA   01757‐2022
RAYMOND LONCHAR              30630 RIDGE RD # AL44                                                                 WICKLIFFE           OH   44092‐1166
RAYMOND LONGACRE             214 PHILIP LANE                                                                       EPHRATA             PA   17522
RAYMOND LOO                  7185 ILANAWAY DR                                                                      WEST BLOOMFIELD     MI   48324‐2493
RAYMOND LOPEZ                326 S JACKSON ST                                                                      YOUNGSTOWN          OH   44506‐1739
RAYMOND LOPEZ                2021 MARILYN LANE                                                                     ARLINGTON           TX   76010‐8024
RAYMOND LOPEZ                4313 DIAZ AVE                                                                         FORT WORTH          TX   76107‐6314
RAYMOND LOPEZ                209 E FLINT ST                                                                        BENSON              AZ   85602‐6185
RAYMOND LOPOSSA              174 TAYLOR ST                                                                         MOORESVILLE         IN   46158‐1448
RAYMOND LOREL ELLINGSN JR.
RAYMOND LOUKS                8611 IRISH RD                                                                         MILLINGTON          MI   48746
RAYMOND LOVE                 PO BOX 196                                                                            BEAVERTON           MI   48612‐0196
RAYMOND LOVELESS             3606 MIDDLE URBANA RD                                                                 URBANA              OH   43078‐9227
RAYMOND LOVETTE              114 HOBART STREET                                                                     ROCHESTER           NY   14611‐2518
RAYMOND LOWE                 667 RIVERSIDE ST                                                                      PONTIAC             MI   48342‐2553
RAYMOND LOWE JR              1935 WALCOTT ST                                                                       SAGINAW             MI   48601‐3150
RAYMOND LOWETZ               N3867 BREVORT LAKE RD                                                                 MORAN               MI   49760‐9662
RAYMOND LOWREY               604 COLONY TRL                                                                        NEW CARLISLE        OH   45344‐8569
RAYMOND LOWRY                2870 IROQUOIS DR                                                                      THOMPSONS STATION   TN   37179‐5004
RAYMOND LUBINSKI             7035 HILL AVE                                                                         HOLLAND             OH   43528‐9524
RAYMOND LUBINSKI             7808 N HAWKINS HWY                                                                    MANITOU BEACH       MI   49253‐9509
RAYMOND LUCAS                800 W HAVEN BLVD                                                                      ROCKY MOUNT         NC   27803‐2607
RAYMOND LUCOT                135 SPARTAN WAY                                                                       NEWPORT             TN   37821‐4843
RAYMOND LUFT                 274 GRANT ST                                                                          LEOMINSTER          MA   01453‐5151
RAYMOND LUKES                7137 CHAIN LAKE DR                                                                    SOUTH BRANCH        MI   48761‐9651
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Name                     Address1                       Address2                     Address3      Address4         City             State Zip
RAYMOND LUTCHKA          1212 PORT WILLIAMS RD                                                                      WILLIAMS          IN 47470‐8804
RAYMOND LUTZ             7543 FISHER SIGEL RD                                                                       SIGEL             PA 15860‐1011
RAYMOND LYONS            6524 S DELANEY RD                                                                          OWOSSO            MI 48867‐9721
RAYMOND LYSARZ           25 PETER ST                                                                                BUFFALO           NY 14207‐2825
RAYMOND LYSZCZARZ        3813 DARTMOUTH RD                                                                          OXFORD            MI 48371‐5517
RAYMOND LYTLE            2026 NE 3RD ST                                                                             CAPE CORAL        FL 33909‐2748
RAYMOND M BROWN          PO BOX 2854                                                                                YOUNGSTOWN        OH 44511
RAYMOND M FEIST          C/O MOTLEY RICE LLC            28 BRIDGESIDE BLVD           PO BOX 1792                    MT PLEASANT       SC 29465
RAYMOND M MILLS          1439 WALKER RD                                                                             WALKER            KY 40997‐6413
RAYMOND M SEIBERT        648 PRITZ AVE                                                                              DAYTON            OH 45410‐2433
RAYMOND M SHIPMAN        5888 LORENZO DR                                                                            GRAND PRAIRIE     TX 75052‐8766
RAYMOND M SMITH          1317 CONNELL ST                                                                            BURTON            MI 48529‐2201
RAYMOND M TAKACH         390 ELVINA ST                                                                              LEAVITTSBURG      OH 44430‐9718
RAYMOND M VANDER WOUDE   107 GORDON AVE                                                                             MATTYDALE         NY 13211‐1816
RAYMOND MACHA            64616 LIMERICK LN                                                                          WASHINGTON TWP    MI 48095‐2533
RAYMOND MACIAG           30619 MANOR DR                                                                             MADISON HTS       MI 48071‐2297
RAYMOND MACKOWIAK        2662 ORDWAY RD                                                                             GAYLORD           MI 49735‐9251
RAYMOND MADRIGAL         1048 ARMSTRONG AVE                                                                         ROSAMOND          CA 93560‐6672
RAYMOND MAFFETT          486 IMPALA DR                                                                              MANSFIELD         OH 44903‐9647
RAYMOND MAGEE            23294 CORNERSTONE VILLAGE DR                                                               SOUTHFIELD        MI 48075‐3686
RAYMOND MAJCHER          4521 MAPLETON DR                                                                           HOWELL            MI 48843‐6835
RAYMOND MAJEWSKI         20130 BITTERROOT RANCH DR                                                                  KATY              TX 77449‐1700
RAYMOND MAJEWSKI         8203 KALTZ                                                                                 CENTER LINE       MI 48015‐1756
RAYMOND MAJKOWSKI        34235 LA MOYNE ST                                                                          LIVONIA           MI 48154‐2621
RAYMOND MAJSZAK          28380 LOS OLAS DR                                                                          WARREN            MI 48093‐4946
RAYMOND MALEN            3717 HOLLY TRL                                                                             LONGVIEW          TX 75605‐2541
RAYMOND MALIK            3606 S 55TH CT                                                                             CICERO             IL 60804‐4348
RAYMOND MALINOWSKI       PO BOX 66217                                                                               ROSEVILLE         MI 48066‐6217
RAYMOND MALISZEWSKI      20688 ROSEDALE DR                                                                          CLINTON TWP       MI 48036‐2286
RAYMOND MALLEY JR        2 VIRGINIA RD                                                                              TERRYVILLE        CT 06786‐5501
RAYMOND MALOTT           100 LEAPER RD                                                                              BATESVILLE        AR 72501‐9051
RAYMOND MANN             BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS        OH 44236
RAYMOND MANNING          219 ASBURY RD                                                                              FLEMINGSBURG      KY 41041‐8769
RAYMOND MANNOR           440 EBENEZER CHURCH RD                                                                     JEFFERSON         GA 30549‐4503
RAYMOND MARBURY          4611 CHRISTOPHER AVE                                                                       DAYTON            OH 45406
RAYMOND MARCHIONDA       27939 THOMAS AVE                                                                           WARREN            MI 48092‐3594
RAYMOND MARCINIAK        5236 PETAL BROOK DR                                                                        BAY CITY          MI 48706‐3079
RAYMOND MARCRUM          2711 MERAMEC ST                                                                            SAINT LOUIS       MO 63118‐4565
RAYMOND MARCUM           660 IXORA DR                                                                               MELBOURNE         FL 32935‐4980
RAYMOND MARDYLA          53036 BRIAR DR                                                                             SHELBY TWP        MI 48316‐2213
RAYMOND MAREK            P. O. 61                                                                                   JOHNSTON CITY      IL 62951
RAYMOND MARENTETTE       9089 88TH ST                                                                               HOWARD CITY       MI 49329‐9065
RAYMOND MARKLEY          9462 W 1200 S 35                                                                           MARION            IN 46952‐6615
RAYMOND MARKS            1208 E ELM LN                                                                              MARION            IN 46952‐4245
RAYMOND MARLIN           5900 GLENS CT                                                                              SEBRING           FL 33876‐6301
RAYMOND MARRISON         518 S MADISON ST                                                                           ADRIAN            MI 49221‐3114
RAYMOND MARSH            8190 STANLEY RD                                                                            FLUSHING          MI 48433‐1110
RAYMOND MARSHALL         1142 WORSHAM MILL RD B                                                                     RUFFIN            NC 27326‐9413
RAYMOND MARSHALL         4024 WALDON RD                                                                             LAKE ORION        MI 48360‐1634
RAYMOND MARSHALL         11828 124TH AVE                                                                            GRAND HAVEN       MI 49417‐8800
RAYMOND MARSHALL         3960 WALDRON RD                                                                            NORTH ADAMS       MI 49262‐9730
RAYMOND MARTIN           6447 COLUMBINE DR                                                                          INDIANAPOLIS      IN 46224‐2060
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Name                   Address1                          Address2                     Address3   Address4         City              State Zip
RAYMOND MARTIN         25337 MONARCH CT                                                                           LOXLEY             AL 36551‐7563
RAYMOND MARTIN         836 FAIRWAY DR                                                                             INDIANAPOLIS       IN 46260‐4159
RAYMOND MARTIN         2018 NE 17TH CT APT 22                                                                     FORT LAUDERDALE    FL 33305‐2550
RAYMOND MARTIN         2093 S TERM ST                                                                             BURTON             MI 48519‐1026
RAYMOND MARTINEZ       19110 AVENUE OF THE OAKS UNIT D                                                            NEWHALL            CA 91321‐5385
RAYMOND MARUSKIN       107 OXFORD ST                                                                              CAMPBELL           OH 44405‐1912
RAYMOND MARX           142 STARLING PL                   SILVERMEAD                                               FREEHOLD           NJ 07728‐3418
RAYMOND MASANO         169 RUTLEDGE AVE                                                                           HAWTHORNE          NY 10532‐1501
RAYMOND MASENGALE      2306 PURSER RD                                                                             DAYTON             TN 37321‐5149
RAYMOND MASON          9012 N GOLFVIEW DR                                                                         CITRUS SPRINGS     FL 34434‐4856
RAYMOND MASTERS        6466 NIGHTINGALE ST                                                                        DEARBORN HTS       MI 48127‐2131
RAYMOND MATTHEW        875 SHEFFIELD RD                                                                           AUBURN HILLS       MI 48326‐3532
RAYMOND MATUSZAK       111 N MAIN ST.                                                                             LYNDONVILLE        NY 14098
RAYMOND MATUZ          7649 N LIMA RD                                                                             POLAND             OH 44514‐2686
RAYMOND MAUS           4329 S DOVER AVE                                                                           INDEPENDENCE       MO 64055‐4833
RAYMOND MAXSON JR      407 MCDONALD ST                                                                            BAY CITY           MI 48706‐4188
RAYMOND MAY            2S070 IVY LN                                                                               LOMBARD             IL 60148‐5172
RAYMOND MAYEUX         520 GLADSTONE BLVD                                                                         SHREVEPORT         LA 71104‐4416
RAYMOND MAYHUE         1530 BURTON ST SE                                                                          GRAND RAPIDS       MI 49507‐3746
RAYMOND MAYNARD JR     304 MILES ST                                                                               ALEXANDRIA         IN 46001‐1956
RAYMOND MAZEROLLE      407 WASHINGTON RD                                                                          TERRYVILLE         CT 06786‐6718
RAYMOND MAZUR          1411 E WINDEMERE AVE                                                                       ROYAL OAK          MI 48073‐5614
RAYMOND MC ALLISTER    3163 HERBELL DR                                                                            WATERFORD          MI 48328‐3122
RAYMOND MC CANN        8703 E 327TH ST                                                                            DREXEL             MO 64742‐9271
RAYMOND MC CONNON JR   1902 S YANKEE SPRINGS RD                                                                   MIDDLEVILLE        MI 49333‐9081
RAYMOND MC COOL        162 GOLDENROD DR                                                                           HOUGHTON LAKE      MI 48629‐9137
RAYMOND MC COWN        13767 HALE RD                                                                              OBERLIN            OH 44074‐9783
RAYMOND MC CULLOUGH    5092 BUCHANAN AVE                                                                          WARREN             MI 48092‐1705
RAYMOND MC DONALD      3653 RIALTO WAY                                                                            GRAND PRAIRIE      TX 75052‐7214
RAYMOND MC GINNIS      933 N KIGER RD                                                                             INDEPENDENCE       MO 64050‐3138
RAYMOND MC GULL        1428 S HOMAN AVE                                                                           CHICAGO             IL 60623‐1647
RAYMOND MC GULL        1000 N WALLER AVE                                                                          CHICAGO             IL 60651‐2611
RAYMOND MC GURTY       39 BENTON ST                                                                               TONAWANDA          NY 14150‐2301
RAYMOND MC KIEARNAN    3401 W BUS 83 116 LOT 450                                                                  HARLINGEN          TX 78552
RAYMOND MC LAVISH      5157 SILENT LOOP APT 103                                                                   NEW PORT RICHEY    FL 34652‐3513
RAYMOND MCBRIDE        223 COWAN PL                                                                               DAYTON             OH 45431‐1525
RAYMOND MCCLELLAN      612 POINT OF VIEW DR                                                                       COLUMBIA           TN 38401‐9238
RAYMOND MCCLURE        2572 PLUM ST                                                                               SNELLVILLE         GA 30078‐3323
RAYMOND MCCOMBS        BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
RAYMOND MCDANIEL       330 POND LICK                                                                              MOREHEAD           KY 40351‐9531
RAYMOND MCDANIEL       1420 PERRY ROAD                   BLDG 5                                                   GRAND BLANC        MI 48439
RAYMOND MCDANIEL       1017 AGNES AVE                                                                             KANSAS CITY        MO 64127‐1328
RAYMOND MCDANIEL       27737 PINE POINT DR PMB 1011                                                               WESLEY CHAPEL      FL 33544‐8761
RAYMOND MCDONALD       3333 S TACOMA AVE                                                                          INDIANAPOLIS       IN 46237‐1108
RAYMOND MCDOUGAL       115 KING JAMES CT SE                                                                       CONYERS            GA 30013‐5233
RAYMOND MCDOWELL       4224 DELHI DR                                                                              DAYTON             OH 45432‐3410
RAYMOND MCDOWELL       4224 DELHI DRIVE                                                                           DAYTON             OH 45432‐3410
RAYMOND MCFARLAND      10 E JAY ST                                                                                NEWTON FALLS       OH 44444‐1348
RAYMOND MCFERREN       514 WOODRUFF RD                                                                            MANSFIELD          OH 44904‐9583
RAYMOND MCGAUGHEY      2165 ROSSER TER RT 2                                                                       TUCKER             GA 30084
RAYMOND MCGRATTAN      4778 MANAYUNK AVE                                                                          PHILADELPHIA       PA 19128
RAYMOND MCINTOSH       1947 BELLWOOD DR                                                                           MANSFIELD          OH 44904‐1629
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RAYMOND MCINTYRE      815 APOLLO DR                                                                             MIDLAND               MI 48642‐6080
RAYMOND MCKAY         4836 WORTH ST                                                                             MILLINGTON            MI 48746‐9504
RAYMOND MCKELLAR      2237 E TOBIAS RD                                                                          CLIO                  MI 48420‐7949
RAYMOND MCKENZIE      26155 CATHEDRAL                                                                           REDFORD               MI 48239‐1810
RAYMOND MCKERCHIE     PO BOX 1123                                                                               SAULT SAINTE MARIE    MI 49783‐7123
RAYMOND MCKINNON JR   14261 NE 4TH ST                                                                           CHOCTAW               OK 73020‐7543
RAYMOND MCLEOD        5274 HADLEY RD                                                                            GOODRICH              MI 48438‐9640
RAYMOND MCMULLEN      C/O EVELYN MCMULLEN              PO BOX 3084                                              MONTROSE              MI 48457‐0784
RAYMOND MCNEILLY      3373 PETTY LN                                                                             COLUMBIA              TN 38401‐7320
RAYMOND MCNEMAR       407 GRAY MOUNT CIR                                                                        ELKTON                MD 21921‐6372
RAYMOND MCPHERSON     5415 E HAYES RD R 2                                                                       ASHLEY                MI 48806
RAYMOND MCQUERN       409 COUNTRYSIDE DR                                                                        LEBANON               IN 46052‐8837
RAYMOND MCRAE         C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS            OH 44236
RAYMOND MCVEY         803 OLD ORCHARD RD                                                                        ANDERSON              IN 46011‐2479
RAYMOND MEACHAM III   9730 ALLEN RD                                                                             CLARKSTON             MI 48348‐1810
RAYMOND MEADS         2408 PESEK RD                                                                             EAST JORDAN           MI 49727‐8817
RAYMOND MEALS JR      601 SUE ANN LN                                                                            BURLESON              TX 76028‐6535
RAYMOND MEANS         3955 RADTKA DR SW                                                                         WARREN                OH 44481‐9207
RAYMOND MEARS         1185 SOUTHERN BLVD NW                                                                     WARREN                OH 44485‐2247
RAYMOND MEEHLEDER     6700 WESTSIDE SAGINAW ROAD                                                                BAY CITY              MI 48706‐9325
RAYMOND MEEKER        9660 HWY 571                                                                              MANCELONA             MI 49659
RAYMOND MEESSEMAN     13029 N HOLLY RD                                                                          HOLLY                 MI 48442‐9502
RAYMOND MEHIGH        252 STANLEY DR                                                                            CORUNNA               MI 48817‐1155
RAYMOND MEIERS        1126 OAKMONT DR                                                                           TEMPERANCE            MI 48182‐9102
RAYMOND MEJIA         534 S HAMBLEDON AVE                                                                       LA PUENTE             CA 91744‐5714
RAYMOND MELCHIORRE    3712 DARBYSHIRE DR                                                                        HILLIARD              OH 43026‐2530
RAYMOND MELEWSKI      6745 SUMMIT DR                                                                            CANFIELD              OH 44406‐9064
RAYMOND MELTON        2047 WHITTLESEY ST                                                                        FLINT                 MI 48503‐4348
RAYMOND MENDENHALL    2667 DOUGLAS LN                                                                           THOMPSONS STATION     TN 37179‐5009
RAYMOND MENDEZ        14556 DOHONEY RD                                                                          DEFIANCE              OH 43512‐6964
RAYMOND MERCER        610 BEAVERS RIDGE RD                                                                      PEEBLES               OH 45660‐9604
RAYMOND MERRILL       6241 MOCKINGBIRD LN                                                                       FLINT                 MI 48506‐1605
RAYMOND MERROW        10405 REID RD                                                                             SWARTZ CREEK          MI 48473‐8518
RAYMOND MESA
RAYMOND MESAEH        24637 DARTMOUTH ST                                                                        DEARBORN HTS         MI   48125‐1611
RAYMOND MESICK        82 HIGHLAND AVE                                                                           GUILFORD             CT   06437‐3378
RAYMOND MESSER        9647 SW 92ND CT                                                                           OCALA                FL   34481‐9447
RAYMOND MESSER SR     494 WENCELLA DR                                                                           HAMILTON             OH   45013‐4178
RAYMOND METHAM        638 S ELM AVE                                                                             TALLMADGE            OH   44278‐2808
RAYMOND METIVIER      11875 MILE RD                                                                             NEW LEBANON          OH   45345‐9143
RAYMOND METZGER       2184 CRAWFORD TOMS RUN RD                                                                 BROOKVILLE           OH   45309‐9793
RAYMOND MEYERS
RAYMOND MICHELLE      304 LATOUR CT                                                                             LAREDO               TX   78041‐9111
RAYMOND MIEHLKE       4404 HARDING AVE                                                                          HOLT                 MI   48842‐9767
RAYMOND MIELKE        1704 S RIVERSIDE DR                                                                       AU GRES              MI   48703‐9794
RAYMOND MIKESKA       3100 WESTADOR CT                                                                          ARLINGTON            TX   76015‐2337
RAYMOND MIKULA JR     4267 E COLONY RD                                                                          SAINT JOHNS          MI   48879‐9070
RAYMOND MILES         8429 DEER CREEK LN NE                                                                     WARREN               OH   44484‐2077
RAYMOND MILLER        SO 2401 THREE ROD ROAD                                                                    EAST AURORA          NY   14052
RAYMOND MILLER        1567 BRADLEY AVE                                                                          FLINT                MI   48503‐3448
RAYMOND MILLER        1130 OAKLAND DR                                                                           ANDERSON             IN   46012‐4536
RAYMOND MILLER        8181 W COUNTY RD 100S                                                                     FARMLAND             IN   47340
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Name                 Address1                          Address2                      Address3   Address4         City               State Zip
RAYMOND MILLER       7075 LOGSDON RD                                                                             HAMILTON            OH 45011‐5466
RAYMOND MILLER       G‐1479 W YALE AVE                                                                           FLINT               MI 48505
RAYMOND MILLER       2436 MALLARD ST                                                                             CAMERON             LA 70631‐4508
RAYMOND MILLER       14196 N WHITEFISH POINT RD                                                                  PARADISE            MI 49768‐9606
RAYMOND MILLER       4434 STILLWAGON RD                                                                          WEST BRANCH         MI 48661‐9656
RAYMOND MILLER       7065 BACKWATER CV                                                                           AUSTINTOWN          OH 44515‐2163
RAYMOND MILLER       17205 ROAD J                                                                                OTTAWA              OH 45875‐9440
RAYMOND MILLER       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS          OH 44236
RAYMOND MILLER       C/O BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS          OH 44236
RAYMOND MILLER I I   2381 ALTA WEST RD                                                                           MANSFIELD           OH 44903‐8230
RAYMOND MILLER JR    37092 DICKINSON CT                                                                          FARMINGTON HILLS    MI 48335‐4818
RAYMOND MILLSAP      3550 MAPLE GROVE RD                                                                         DECKERVILLE         MI 48427‐9766
RAYMOND MINOR        2747 SOLDIERS HOME WEST CAR RD                                                              DAYTON              OH 45418‐2451
RAYMOND MINTER       27577 LAHSER RD APT 330                                                                     SOUTHFIELD          MI 48034
RAYMOND MISCHKE      APT S109                          2751 REGENCY OAKS BOULEVARD                               CLEARWATER          FL 33759‐1518
RAYMOND MITCHELL     4723 WIKIUP BRIDGE WAY                                                                      SANTA ROSA          CA 95404‐1116
RAYMOND MITCHELL     10715 STATE RD                                                                              RIVES JUNCTION      MI 49277‐9305
RAYMOND MOCKABEE     5348 FALLWOOD DR APT 106                                                                    INDIANAPOLIS        IN 46220‐5648
RAYMOND MODISETTE    12125 SE 15TH ST                                                                            CHOCTAW             OK 73020‐7101
RAYMOND MOFFAT       4037 LAUREL FLAT CT                                                                         LAS VEGAS           NV 89129‐4501
RAYMOND MOJICA       10706 CARLYLE CT                                                                            WILLIAMSPORT        MD 21795‐1607
RAYMOND MOMPHARD     218 CHERRY ST                                                                               ELSBERRY            MO 63343‐1603
RAYMOND MONETTE      9346 MONICA DR                                                                              DAVISON             MI 48423‐2865
RAYMOND MONROE SR    415 OAK RD                                                                                  SEAFORD             DE 19973‐2031
RAYMOND MONTGOMERY   1881 COUNTRY RD 61                                                                          KITTS HILL          OH 45645
RAYMOND MONTGOMERY   PO BOX 155                                                                                  DANVILLE            AL 35619‐0155
RAYMOND MONTI        454 CLEVELAND AVE E                                                                         WARREN              OH 44483‐1907
RAYMOND MONTLE       9345 ARBELA RD                                                                              MILLINGTON          MI 48746‐9578
RAYMOND MONTNEY      950 VOORHEIS RD APT 4                                                                       WATERFORD           MI 48328‐3878
RAYMOND MOOMAW       69 CHURCHILL DR                                                                             WHITMORE LAKE       MI 48189‐9009
RAYMOND MOORE        52320 BRIGGS CT                                                                             SHELBY TOWNSHIP     MI 48316‐3318
RAYMOND MOORE        10405 MCELROY DR                                                                            KEITHVILLE          LA 71047‐8910
RAYMOND MOORE        11315 SPRUCE DR                                                                             CHESTERLAND         OH 44026‐1452
RAYMOND MOORE        45 S 700 W                                                                                  ANDERSON            IN 46011‐9401
RAYMOND MOORE        23053 WESTCHESTER BLVD APT G203                                                             PUNTA GORDA         FL 33980‐5439
RAYMOND MOORE        6206 NORTHWOOD DR                                                                           BALTIMORE           MD 21212‐2801
RAYMOND MOORE        20 BLUEJAY CIR                                                                              STOUGHTON           MA 02072‐3995
RAYMOND MOORE        THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                                 HOUSTON             TX 77017
RAYMOND MOREFIELD    503 WOODLAND EAST DR                                                                        GREENFIELD          IN 46140
RAYMOND MORENO       5396 FROVAN PL                                                                              SAGINAW             MI 48638‐5519
RAYMOND MORENO JR    3115 JUDAH RD                                                                               ORION               MI 48359‐2155
RAYMOND MORGAN       305 W LEDGE DR                                                                              LANSING             MI 48917‐9227
RAYMOND MORRIS       12 VALLEY VIEW DR                                                                           BATAVIA             NY 14020‐1115
RAYMOND MORRISH      10915 E GOODALL RD UNIT 375                                                                 DURAND              MI 48429‐9054
RAYMOND MORRISON     779 N 900 W                                                                                 ANDERSON            IN 46011‐9153
RAYMOND MORTON       1302 N CHERRY ST                                                                            CAMERON             MO 64429‐1213
RAYMOND MOSE         2047 E BOATFIELD AVE                                                                        BURTON              MI 48529‐1711
RAYMOND MOSS         2059 CLARA MATHIS RD                                                                        SPRING HILL         TN 37174‐7575
RAYMOND MOTON        760 BRIDGEPORT AVE APT 201                                                                  STREETSBORO         OH 44241‐4050
RAYMOND MROZINSKI    1316 HINE ST                                                                                BAY CITY            MI 48708‐4909
RAYMOND MUCHA
RAYMOND MUELLER      7423 PINE VISTA DR                                                                          BRIGHTON           MI 48116‐4731
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Name                            Address1                             Address2             Address3   Address4            City               State Zip
RAYMOND MUENCHEN                114 1/2 S CLEMENS AVE                                                                    LANSING             MI 48912
RAYMOND MULDER                  5110 RIDGE CT                                                                            HUDSONVILLE         MI 49426‐1757
RAYMOND MULL                    195 COUNTY ROAD 849                                                                      ETOWAH              TN 37331‐5035
RAYMOND MULLINS                 13695 GARDEN WAY                                                                         ATHENS              AL 35611‐7740
RAYMOND MULTHAUF                456 E MILWAUKEE ST                                                                       JEFFERSON           WI 53549‐1606
RAYMOND MULVANEY                384 STERLING DR                                                                          DIMONDALE           MI 48821‐9773
RAYMOND MUNIZ                   3196 GREYNOLDS AVE                                                                       SPRING HILL         FL 34608‐4124
RAYMOND MUNOZ                   2110 W 36TH ST                                                                           LORAIN              OH 44053‐2510
RAYMOND MURPHY                  520 HILLCREST DR                                                                         KOKOMO              IN 46901‐3439
RAYMOND MURPHY                  179 FAIRPARK DR                                                                          BEREA               OH 44017‐2402
RAYMOND MURPHY                  104 MARSTON ST                                                                           DETROIT             MI 48202‐2540
RAYMOND MURRAY                  11310 GRINERT STREET                                                                     DETROIT             MI 48234
RAYMOND MURRELL                 6360 IMHOFF RD                                                                           OXFORD              OH 45056‐9195
RAYMOND MYATT                   PO BOX 380                                                                               LINDEN              MI 48451‐0380
RAYMOND MYERS                   1064 JAMES ST NW                                                                         MARIETTA            GA 30060‐6921
RAYMOND MYERS JR                810 S LINCOLN ST                                                                         MARTINSVILLE        IN 46151‐2517
RAYMOND N KUBINSKI              2852 CANTERBURY CT                                                                       MILFORD             MI 48381‐4445
RAYMOND N WEISBRODT             3838 EILEEN ROAD                                                                         KETTERING           OH 45429‐4108
RAYMOND N. AND DIXIE S. SMITH   23782 SYCAMORE HGTS RD                                                                   SILOAM SPRINGS      AR 72761‐8217
RAYMOND N. EMARD                11967 W. VOMAC RD.                                                                       DUBLIN              CA 94568
RAYMOND NADOLSKI                15907 MAPLEWOOD AVE                                                                      MAPLE HEIGHTS       OH 44137‐3934
RAYMOND NAGEL                   2240 EVERGREEN DR                                                                        DEFIANCE            OH 43512
RAYMOND NAJJAR                  C/O BANQUE DE L'EUROPE MERIDIONALE ‐ 16 BOULEVARD ROYAL              L‐2449 LUXEMBOURG
                                BEMO
RAYMOND NALLEY                  1739 DAVES CREEK RD                                                                      CUMMING            GA   30041‐6507
RAYMOND NAPIERALA               186 N UNION RD                                                                           WILLIAMSVILLE      NY   14221‐5363
RAYMOND NAPIERALSKI             221 BRIGHT ST                                                                            CHEEKTOWAGA        NY   14206‐2660
RAYMOND NASH                    7976 SUNNYSIDE RD                                                                        INDIANAPOLIS       IN   46236‐8371
RAYMOND NASSENSTEIN             736 UNION AVE                                                                            ROMEOVILLE         IL   60446‐1432
RAYMOND NAVARRO                 1240 WIND CHIME DR                                                                       WATERFORD          MI   48327‐2984
RAYMOND NAWARA                  41 HIGHLAND DR                                                                           BLOOMFIELD HILLS   MI   48302‐0355
RAYMOND NEAL JR                 4910 EDWARDS AVE                                                                         FLINT              MI   48505‐6208
RAYMOND NELSON                  905 S EDWARDS RD                                                                         MUNCIE             IN   47302‐9208
RAYMOND NELSON                  13535 WESTWOOD ST                                                                        DETROIT            MI   48223‐3437
RAYMOND NELSON                  800 S BIRNEY ST                                                                          BAY CITY           MI   48708‐7541
RAYMOND NELSON                  3320 CHESANING RD                                                                        CHESANING          MI   48616‐9771
RAYMOND NERRETER                2470 GOLFVIEW CIR                                                                        FENTON             MI   48430‐9633
RAYMOND NETTNIN                 245 VALLEY MEADOW DR                                                                     DECATUR            TX   76234‐8425
RAYMOND NEUMANN                 1120 BROOKFOREST DR                                                                      MOUNTAIN HOME      AR   72653‐4915
RAYMOND NEWSOM                  19934 HANNA ST                                                                           DETROIT            MI   48203‐1225
RAYMOND NEWTON                  3365 N THOMAS RD                                                                         BLOOMINGTON        IN   47404‐9474
RAYMOND NEWTON                  88 HOLT ST                                                                               CHATHAM            VA   24531‐3081
RAYMOND NEZOL                   19390 HAZELWOOD ST                                                                       ROSEVILLE          MI   48066‐7932
RAYMOND NICHOLAS                8088 DERRYMORE CT                                                                        DAVISON            MI   48423‐9510
RAYMOND NICHOLS                 417 N TIBBS AVE                                                                          INDIANAPOLIS       IN   46222‐4939
RAYMOND NIRVA                   11700 ZIEGLER ST                                                                         TAYLOR             MI   48180‐4391
RAYMOND NOEL                    7488 E KEMPER RD LOT 16                                                                  CINCINNATI         OH   45249‐1647
RAYMOND NOEL                    833 E BRIGHTON AVE APT 406                                                               SYRACUSE           NY   13205‐2522
RAYMOND NORMAN JR               802 FIRST SOUTH ST                                                                       ENTERPRISE         OR   97828‐6002
RAYMOND NORRIS                  191 N DODGE LAKE AVE                                                                     HARRISON           MI   48625‐9313
RAYMOND NOVOTNY                 PO BOX 209                                                                               PLEASANT UNTY      PA   15676‐0209
RAYMOND NOWAK                   79 LEAWOOD DR                                                                            TONAWANDA          NY   14150‐4749
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Name                  Address1                      Address2                      Address3   Address4         City                   State Zip
RAYMOND NOWAK         4890 MIKES DR                                                                           CASEVILLE               MI 48725‐9761
RAYMOND NOWAK         27065 PINEWOOD DR APT 204                                                               WIXOM                   MI 48393‐3297
RAYMOND NOWICKI       120 HILLSON AVE                                                                         PITTSBURGH              PA 15227
RAYMOND NOWOWIECKI    6195 LAKE OAK LNDG E                                                                    CUMMING                 GA 30040‐9575
RAYMOND NULL          106 IMO BLVD                                                                            GREENVILLE              OH 45331‐2825
RAYMOND NYLANDER      2311 OAK ST                                                                             MCKEESPORT              PA 15132‐4917
RAYMOND O ADLER       497 BISMARCK LANE                                                                       RUSSELLVILLE            KY 42276‐8577
RAYMOND O CONNOR      1 RYLAND PL                                                                             PALM COAST              FL 32164‐6415
RAYMOND O HENSON JR   3225 E 42ND ST                                                                          INDIANAPOLIS            IN 46205‐3013
RAYMOND O JONES       208 S H ST                                                                              TILTON                   IL 61833‐7825
RAYMOND O PING JR     10225 HIGHWAY 192                                                                       SOMERSET                KY 42501‐5601
RAYMOND O'DELL        19940 HIGH STAKES VW                                                                    PUEBLO                  CO 81008‐3742
RAYMOND O'NEAL        THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                               HOUSTON                 TX 77017
RAYMOND ODELL         1352 WILLIAMSBURG RD                                                                    FLINT                   MI 48507‐5628
RAYMOND OGAZ          10 E HAWTHORN PKWY APT 241                                                              VERNON HILLS             IL 60061‐1436
RAYMOND OGLESBY       6376 PINE FROST DR                                                                      DOUGLASVILLE            GA 30135‐3348
RAYMOND OKDIE         59225 HUDSON CREEK LN                                                                   NEW HUDSON              MI 48165‐8590
RAYMOND OLESKIE       7001 REBER DR                                                                           SHELBY TOWNSHIP         MI 48317‐2454
RAYMOND OLIVER        PO BOX 276                                                                              SOMERSET                NJ 08875
RAYMOND OLIVER        5255 BOWERS RD                                                                          ATTICA                  MI 48412‐9686
RAYMOND OLSEY         14119 N CLIO RD                                                                         CLIO                    MI 48420‐8804
RAYMOND ONEY          7882 CELESTIAL CIR                                                                      LIBERTY TOWNSHIP        OH 45044‐8211
RAYMOND ONYETT        323 RAINBOW DR                                                                          KOKOMO                  IN 46902‐3868
RAYMOND ORASCO        526 SPRINGWOOD DR                                                                       JOLIET                   IL 60431‐0647
RAYMOND OREBAUGH      611 S WORTH AVE                                                                         INDIANAPOLIS            IN 46241‐0611
RAYMOND OREL          5525 MCCUE RD                                                                           HOLT                    MI 48842‐9646
RAYMOND ORLAND        4060 BOBBY JONES DR                                                                     FLINT                   MI 48506‐1404
RAYMOND ORLANDO       12080 SARA LN                                                                           WASHINGTON              MI 48094‐3154
RAYMOND ORLOVSKY      7118 GRAYSON DR                                                                         CANFIELD                OH 44406‐7637
RAYMOND ORLOWSKI      4203 SCOVILLE AVE                                                                       STICKNEY                 IL 60402‐4431
RAYMOND OSBORN        1475 W 68TH ST                                                                          NEWAYGO                 MI 49337‐9738
RAYMOND OSGA          2109 DAVID MILLER RD                                                                    JOHNSON CITY            TN 37604‐3511
RAYMOND OSGA JR       157 W BROOKLYN AVE                                                                      PONTIAC                 MI 48340‐1123
RAYMOND OSTASZEWSKI   8142 E M‐48                                                                             STALWART                MI 49736
RAYMOND OSTRANDER     16940 OAKLEY RD LOT 78                                                                  CHESANING               MI 48616‐9571
RAYMOND OTOCKI        3361 BREWER RD                                                                          DARIEN                   IL 60561‐1751
RAYMOND OTT           PO BOX 95                                                                               FARMERSVILLE STATION    NY 14060‐0095
RAYMOND OTT           454 KIRKWOOD DR                                                                         OXFORD                  MI 48371‐6145
RAYMOND OUELLETTE     21 ASHLEY RD                                                                            BRISTOL                 CT 06010‐2604
RAYMOND OUSLEY        1120 BALDWIN AVE                                                                        SHARON                  PA 16146‐2516
RAYMOND OUSLEY JR     2796 IVANHOE RD                                                                         SHARPSVILLE             PA 16150‐4130
RAYMOND OUSLEY JR.    2796 IVANHOE RD                                                                         SHARPSVILLE             PA 16150‐4130
RAYMOND OWENS         PO BOX 62                                                                               EMPIRE                  MI 49630‐0062
RAYMOND OWENS JR      PO BOX 1293                                                                             ZEBULON                 GA 30295‐1293
RAYMOND P ALLARD      PO BOX 112                                                                              JENISON                 MI 49429‐0112
RAYMOND P BELL        300 S WINDING BROOKE DR                                                                 SEAFORD                 DE 19973‐4816
RAYMOND P CARR        6050 SHAFFER RD.                                                                        WARREN                  OH 44481‐9317
RAYMOND P ENTINGH     1109 FIREWOOD DRIVE                                                                     BEAVERCREEK             OH 45430‐1211
RAYMOND P GENOVA      220 PARKGATE AVE                                                                        AUSTINTOWN              OH 44515‐3240
RAYMOND P GENOVA      1634 WILSON AVE NW                                                                      WARREN                  OH 44483
RAYMOND P HUDSON      260 CHANDLER ST                                                                         DETROIT                 MI 48202‐2827
RAYMOND P KELLY III   284 MORELAND DR                                                                         CANFIELD                OH 44406‐1025
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Name                       Address1                        Address2                     Address3          Address4         City                 State Zip
RAYMOND P KLOTZ            3895 NW DEER OAK DR                                                                             JENSEN BEACH          FL 34957‐3448
RAYMOND P KREMER           38 WOODLAND                                                                                     DAYTON                OH 45409‐2852
RAYMOND P RUPERT           128 DEER RIDGE LN                                                                               BROOKLYN              MI 49230‐9596
RAYMOND PADILLA            79 CAMEO PL                                                                                     COLONIA               NJ 07067‐1130
RAYMOND PAINE              3312 W CENTRAL AVE                                                                              FRANKLIN              WI 53132‐9152
RAYMOND PAJAK              54 HARRY RD                                                                                     BRIDGEWATER           NJ 08807‐3151
RAYMOND PALEDINO           5968 STATE ROAD 37                                                                              MITCHELL              IN 47446‐5379
RAYMOND PALLANTE           1403 RED OAK DR                                                                                 GIRARD                OH 44420‐1449
RAYMOND PALMER             495 MORNINGSIDE DR                                                                              GRAND BLANC           MI 48439‐1614
RAYMOND PALUCH             14621 CHEROKEE TRL                                                                              MIDDLEBURG HEIGHTS    OH 44130‐6648
RAYMOND PANKOWSKI          102 WOODEN CARRIAGE DR                                                                          HOCKESSIN             DE 19707‐1429
RAYMOND PAQUETTE           3206 S STERLING AVE                                                                             INDEPENDENCE          MO 64052‐2759
RAYMOND PARA               BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS            OH 44236
RAYMOND PARADY             13340 COPPER AVE                                                                                PORT CHARLOTTE        FL 33981‐5557
RAYMOND PARAMORE JR        2875 KINGS CORNER EAST RD                                                                       LEXINGTON             OH 44904
RAYMOND PARENT             31420 W CHICAGO ST                                                                              LIVONIA               MI 48150‐2826
RAYMOND PARKER             422 W CHERRY ST                                                                                 POTTERVILLE           MI 48876‐9752
RAYMOND PARKS              1671 BRADFORD ST NW                                                                             WARREN                OH 44485‐1817
RAYMOND PARKS              1414 SULPHUR SPRING RD                                                                          ARBUTUS               MD 21227‐2701
RAYMOND PARKS              2112 BUNKER CT                                                                                  AUBURN                IN 46706‐9483
RAYMOND PARKS              16503 DAWNLIGHT DR                                                                              FENTON                MI 48430‐8956
RAYMOND PARR               3366 UTAH RD                                                                                    WELLSVILLE            KS 66092‐8558
RAYMOND PARRISH            2204 19 MILE RD                                                                                 BARRYTON              MI 49305‐9729
RAYMOND PARSON             2558 HACKMAN DR                                                                                 SAINT LOUIS           MO 63136‐5837
RAYMOND PARSONS            11635 PAMPUS DR                                                                                 MIRA LOMA             CA 91752‐3042
RAYMOND PARTAKA            4812 SHORELINE CT                                                                               WATERFORD             MI 48329‐1689
RAYMOND PARTIN             26600 ANN ARBOR TRAIL           APT 27                                                          DEARBORN HEIGHTS      MI 48127
RAYMOND PARTSCH            305 WPA RD                                                                                      SIDMAN                PA 15955‐4508
RAYMOND PASCHKET           5237 RAY RD                                                                                     LINDEN                MI 48451‐8460
RAYMOND PASTERNAK          47334 JUNIPER RD                                                                                MACOMB                MI 48044‐2433
RAYMOND PASTERZ            7884 DITCH RD                                                                                   GASPORT               NY 14067‐9482
RAYMOND PATE               106 FORESTBERRY ST                                                                              OAK RIDGE             TN 37830‐3008
RAYMOND PATER              522 ARCHER ST                                                                                   MCKEESPORT            PA 15132‐3607
RAYMOND PATRICK ERICKSON   NIX, PATTERSON & ROACH          GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD          TX 75638
RAYMOND PATTERSON          N9406 KRAUSE RD                                                                                 ENGADINE              MI 49827‐9558
RAYMOND PATTERSON          9460 DAWN CT                                                                                    SAINT LOUIS           MO 63136‐5137
RAYMOND PAWLAK             31 SPRING RIDGE DR                                                                              DEBARY                FL 32713‐3725
RAYMOND PAWLICKI           18 CAROLYNN RD                                                                                  ELIZABETH             NJ 07201‐1804
RAYMOND PAYNE              111 GORDON TER                                                                                  COLUMBIA              TN 38401‐2694
RAYMOND PAYNE              9250 LAPEER RD                                                                                  DAVISON               MI 48423‐1757
RAYMOND PAYNE              660 WASHINGTON ST APT 309                                                                       CANTON                MA 02021‐3020
RAYMOND PEAKE              4454 W WILSON RD                                                                                CLIO                  MI 48420‐9405
RAYMOND PECAR              30010 LISCH ST                                                                                  ROCKWOOD              MI 48173‐9440
RAYMOND PECHIN             18 TIMBER LN                                                                                    OXFORD                PA 19363‐4220
RAYMOND PECK JR            1649 MAPLE POINT RD                                                                             BEAVERTON             MI 48612‐9493
RAYMOND PECKENS            6482 BARRIE CIR                                                                                 BRIGHTON              MI 48114‐7430
RAYMOND PEERY              1090 CABOT DR                                                                                   FLINT                 MI 48532‐2634
RAYMOND PEETE              3003 RIDGE RD                                                                                   RANSOMVILLE           NY 14131‐9756
RAYMOND PEGG               711 CARTER RD                                                                                   DOYLINE               LA 71023‐3209
RAYMOND PELSINSKI          6006 CHAPEL PINES RUN                                                                           FORT WAYNE            IN 46804‐3300
RAYMOND PELTIER I I I      2010 STARKWEATHER ST                                                                            FLINT                 MI 48506‐4728
RAYMOND PELTIER JR         200 BELTON DRIVE                                                                                DOTHAN                AL 36305‐6397
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Name                  Address1                       Address2                      Address3   Address4         City             State Zip
RAYMOND PELYHES       1443 PEPPERWOOD DR                                                                       NILES             OH 44446‐3542
RAYMOND PENA          THE MADEKSHO LAW FIRM          8866 GULF FREEWAY SUITE 440                               HOUSTON           TX 77017
RAYMOND PENIGAR       2341 W LOTUS AVE                                                                         FORT WORTH        TX 76111‐1646
RAYMOND PENKALA       304 S WILLIAMS ST                                                                        BAY CITY          MI 48706‐4682
RAYMOND PENNEY        72 WRENTHAM MNR                                                                          BELLINGHAM        MA 02019‐2620
RAYMOND PENROD        4108 CASTEL DR                                                                           GROVEPORT         OH 43125‐8915
RAYMOND PERACCINY     3 BRIGHT ST                                                                              LOCKPORT          NY 14094‐4103
RAYMOND PERKINS       4521 E 46 RD                                                                             CADILLAC          MI 49601‐9736
RAYMOND PERKINS       6092 MAHONING AVE NW                                                                     WARREN            OH 44481‐9465
RAYMOND PERKINS       231 BELLEVUE ST SW                                                                       WYOMING           MI 49548‐3040
RAYMOND PERRISH       57 BRENTON AVE                                                                           TONAWANDA         NY 14150‐8306
RAYMOND PERRY         28 OLD TOWN RD                                                                           BEACON            NY 12508‐2913
RAYMOND PERRY         90 TURNER LOOP RD                                                                        HUMBOLDT          TN 38343‐8527
RAYMOND PERRY         7529 MILAN AVE                                                                           SAINT LOUIS       MO 63130‐1315
RAYMOND PERRY         2625 BULLOCK RD                                                                          BAY CITY          MI 48708‐8469
RAYMOND PETERS        1178 MAURER AVE                                                                          PONTIAC           MI 48342
RAYMOND PETERS        3195 N CIRCLE LN APT 104A                                                                SPRINGFIELD       MO 65803‐6150
RAYMOND PETERS        6801 W 70TH ST LOT 36                                                                    SHREVEPORT        LA 71129‐2333
RAYMOND PETERSON      2902 E HILLCREST AVE                                                                     ORANGE            CA 92867‐3026
RAYMOND PETERSON      1759 WEST 500 NORTH                                                                      CAYUGA            IN 47928
RAYMOND PETERSON      80 SALZBURG RD                                                                           BAY CITY          MI 48706‐3484
RAYMOND PETERSON      N1704 HIGHWAY K                                                                          FORT ATKINSON     WI 53538
RAYMOND PETTY         2201 CECIL AVE                                                                           BALTIMORE         MD 21218‐6305
RAYMOND PETTY         1528 EASTMONT PL                                                                         SAINT LOUIS       MO 63130‐1301
RAYMOND PFEIFER       PO BOX 320350                                                                            FLINT             MI 48532‐0007
RAYMOND PFEIL         8327 AVERY RD                                                                            BROADVIEW HTS     OH 44147‐1651
RAYMOND PHILLIPS      11314 JUDY DR                                                                            STERLING HTS      MI 48313‐4920
RAYMOND PHILLIPS      2266 S PEGGY LN                                                                          ROCKVILLE         IN 47872‐7917
RAYMOND PHIPPS        17984 DEFIENCE HENRY LINE                                                                NEW BAVARIA       OH 43548
RAYMOND PICHARDO JR   7622 MCGEE ST                                                                            KANSAS CITY       MO 64114‐1941
RAYMOND PICKERING     16 LAURA DR                                                                              SANDY CREEK       NY 13145‐2150
RAYMOND PIERCE        5390 FLINTROCK DR                                                                        CLIMAX            MI 49034‐9783
RAYMOND PIESKO        10159 CARMER ROAD                                                                        FENTON            MI 48430
RAYMOND PIETRAS       948 GRIFFIN ST                                                                           TOLEDO            OH 43609‐2314
RAYMOND PIETRYGA      3399 CHATHAM LN                                                                          BAY CITY          MI 48706‐1581
RAYMOND PIGMAN        3744 EMBARCADERO ST                                                                      WATERFORD         MI 48329‐2241
RAYMOND PING JR       10225 HIGHWAY 192                                                                        SOMERSET          KY 42501‐5601
RAYMOND PITA III      7930 HAVEN DR APT 2                                                                      NAPLES            FL 34104‐5968
RAYMOND PITMAN        796 WEBBER CT                                                                            LINDEN            MI 48451‐8603
RAYMOND PIZUR         8065 SAUNDERS RD                                                                         BELFAST           NY 14711‐8635
RAYMOND PLAAG         329 KNIGHTS BRIDGE LN                                                                    SUMMIT POINT      WV 25446‐3532
RAYMOND PLACER        PO BOX 295                                                                               NILES             OH 44446‐0295
RAYMOND POHL          911 CLARK RD                                                                             LANSING           MI 48917‐2144
RAYMOND POLAKOWSKI    5141 FENN RD                                                                             MEDINA            OH 44256‐7047
RAYMOND POLASEK       5112 FRANKWILL AVE                                                                       CLARKSTON         MI 48346‐3718
RAYMOND POLLARD       86 LABBE LN                                                                              LEONARD           MI 48367‐2950
RAYMOND PONCE         10537 CANDYTUFT ST                                                                       VENTURA           CA 93004‐3571
RAYMOND POPE          5323 COLTON CRK                                                                          SAN ANTONIO       TX 78251‐3546
RAYMOND POSADNY JR    1539 BOWMAN AVE                                                                          KETTERING         OH 45409‐1804
RAYMOND POTTER        225 N BURTON AVE                                                                         SPRINGFIELD       MO 65802‐2310
RAYMOND POTTLE        8 INDEPENDENCE WAY APT 429                                                               FRANKLIN          MA 02038‐7320
RAYMOND POWELL        100 MEADOWVIEW DR                                                                        ROANOKE RAPIDS    NC 27870‐9275
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Name                              Address1                        Address2                       Address3                    Address4         City               State Zip
RAYMOND POWELL                    4806 PIER NINE DR                                                                                           ARLINGTON           TX 76016‐5370
RAYMOND POWELL JR                 10165 BEERS RD                                                                                              SWARTZ CREEK        MI 48473‐9160
RAYMOND POWELL LAW OFFICE         2000 CHESTNUT BLVD                                                                                          CUYAHOGA FALLS      OH 44223‐1323
RAYMOND POYER                     2090 CORONADO W                                                                                             MERCEDES            TX 78570‐7117
RAYMOND POZNIAK                   3913 STANNARD DR                                                                                            TOLEDO              OH 43613‐4121
RAYMOND PRICE                     1674 M‐88 HWY N                                                                                             CENTRAL LAKE        MI 49622
RAYMOND PRICE                     7141 CAPISTRANO AVE                                                                                         WEST HILLS          CA 91307‐2322
RAYMOND PRICE                     54124 SALEM DR                                                                                              SHELBY TOWNSHIP     MI 48316‐1370
RAYMOND PRICE JR                  13000 WOODWORTH RD                                                                                          NEW SPRINGFIELD     OH 44443‐9767
RAYMOND PRIEUR                    7010 BROWNS LAKE RD                                                                                         JACKSON             MI 49201‐8363
RAYMOND PRILL                     PO BOX 341                                                                                                  LANSE               MI 49946‐0341
RAYMOND PRINCE                    710 GREGWOOD CT                                                                                             DUNDALK             MD 21222‐2843
RAYMOND PROMER                    8673 FERRY ST APT 207                                                                                       MONTAGUE            MI 49437‐1385
RAYMOND PROUX                     6121 EASTMAN AVE APT 1A                                                                                     MIDLAND             MI 48640‐2558
RAYMOND PROVENCAL                 1438 SUSSEX RD                                                                                              BALTIMORE           MD 21221‐6035
RAYMOND PROVITT                   15757 GLYNN RD                                                                                              E CLEVELAND         OH 44112‐3528
RAYMOND PRYOR                     BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS          OH 44236
RAYMOND PUDELKO                   15779 E SOUTH CARIBOU LAKE RD                                                                               DE TOUR VILLAGE     MI 49725‐9562
RAYMOND PUDLIK                    23224 ELMGROVE ST                                                                                           FARMINGTON HILLS    MI 48336‐3716
RAYMOND PUDZIMIS                  8141 NATOMA AVE                                                                                             BURBANK              IL 60459‐1746
RAYMOND PURZYCKI                  159 GREENWOOD RD                                                                                            CROSSVILLE          TN 38558‐8746
RAYMOND PUTMAN                    7064 DOWN CREEK DR                                                                                          VASSAR              MI 48768‐9250
RAYMOND QUENNEVILLE               23 LAUREL AVE                                                                                               MASSENA             NY 13662‐2029
RAYMOND QUIBELL                   23068 135TH AVE                                                                                             TUSTIN              MI 49688‐8569
RAYMOND QUINN                     905 RIVER RD                                                                                                WESTMORELAND        NH 03467‐4413
RAYMOND QUINTO                    342 WILLIS ST                                                                                               BRISTOL             CT 06010‐7224
RAYMOND R ARNOLD                  884 JOHNSON PLANK RD                                                                                        WARREN              OH 44481‐9361
RAYMOND R CLAYTON                 7677 S RACCOON RD                                                                                           CANFIELD            OH 44406
RAYMOND R DRISCOLL                134 PATTI COURT                                                                                             FRANKLIN            OH 45005‐1324
RAYMOND R EASTHAM                 7449 PAPAYA TRL                                                                                             GAYLORD             MI 49735‐7834
RAYMOND R GORDON                  76 MEAD ST                                                                                                  ROCHESTER           NY 14621‐‐ 45
RAYMOND R HUDDLESON               1255 NORTH HAMILTON ROAD        P.M.B. 188                                                                  GAHANNA             OH 43230
RAYMOND R JACKSON                 4831 GREENVILLE RD. N.E.                                                                                    FARMDALE            OH 44417‐9771
RAYMOND R JUDAY REVOCABLE TRUST   RAYMON R JUDAY TTEE             469 MORROW                                                                  KALAMAZOO           MI 49048‐9575
RAYMOND R JUDAY REVOCABLE TRUST   RAYMOND R JUDAY TTEE            1347 N TIMUCUAN TRL                                                         INVERNESS           FL 34453
RAYMOND R LEMANSKI                35712 WEIDEMAN ST                                                                                           CLINTON TWP         MI 48035‐5206
RAYMOND R MAY                     1725 WHEATLAND AVE                                                                                          DAYTON              OH 45429
RAYMOND R MCMULLEN                ATTN ROBERT W PHILLIPS          C/O SIMMONS BROWDER GIANARIS 707 BERKSHIRE BLVD ‐ PO BOX                    EAST ALTON           IL 62024
                                                                  ANGELIDES & BARNERD LLC      521

RAYMOND R NEZOL                   19390 HAZELWOOD ST.                                                                                         ROSEVILLE          MI   48066
RAYMOND R REESE                   1023 APRIL SHOWERS LN                                                                                       LANCASTER          TX   75134‐4605
RAYMOND R REGHETTI                312 OLD OAK DR                                                                                              CORTLAND           OH   44410
RAYMOND R ROSS                    311 NORTH ST                                                                                                EATON              OH   45320‐1565
RAYMOND R SORIANO                 5397 LABELLE RD                                                                                             WHITE LAKE         MI   48383
RAYMOND R WEISHAAR                208 FORREST AVE                                                                                             LAUREL             MT   59044
RAYMOND R WELLS                   121 FLORIDA RD S                                                                                            SYRACUSE           NY   13211‐1812
RAYMOND RABOVSKY                  12841 LARSEN ST                                                                                             OVERLAND PARK      KS   66213‐3450
RAYMOND RACE                      PO BOX 3123                                                                                                 MONTROSE           MI   48457‐0823
RAYMOND RADAWIEC                  4591 REFLECTIONS DR                                                                                         STERLING HTS       MI   48314‐1944
RAYMOND RADFORD                   2582 SCOTCH HILL NO2                                                                                        N HUNTINGDON       PA   15642
RAYMOND RADZIK                    16333 76TH AVE                                                                                              TINLEY PARK        IL   60477‐1572
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Name                  Address1                              Address2                     Address3   Address4         City               State Zip
RAYMOND RAFLIK        2039 PARTRIDGE LN                                                                              STEVENS POINT       WI 54481‐9588
RAYMOND RAINES        5602 COUNTY ROAD A                                                                             LIBERTY CTR         OH 43532‐9602
RAYMOND RAMIREZ       15276 COBALT ST                                                                                SYLMAR              CA 91342‐2726
RAYMOND RANDLES       7010 N CHARLESWORTH ST                                                                         DEARBORN HTS        MI 48127‐1994
RAYMOND RANGEL        15612 THORNLAKE AVE                                                                            NORWALK             CA 90650‐6765
RAYMOND RANVILLE      4151 WHISPERING OAK DR                                                                         FLINT               MI 48507‐5513
RAYMOND RAPPACH       36 POTOMAC AVE                                                                                 NILES               OH 44446‐2118
RAYMOND RATH JR       8170 FAIRFIELD CIR                                                                             CLARKSTON           MI 48346‐1118
RAYMOND RATTAI        2738 ADAMS RD                                                                                  OAKLAND             MI 48363‐1914
RAYMOND RAY           PO BOX 785                                                                                     PLAINFIELD          IN 46168‐0785
RAYMOND RAY JR        1036 MILL POND RD                                                                              MT PLEASANT         TN 38474‐1034
RAYMOND RAYBURN       LAW OFFICES OF MICHAEL R BILBREY PC   8724 PIN OAK RD                                          EDWARDSVILLE         IL 62025

RAYMOND RAZ JR        4271 MONTGOMERY DR                                                                             SHELBY TOWNSHIP    MI   48316‐3917
RAYMOND REA           13063 W BLACK HILL RD                                                                          PEORIA             AZ   85383‐7612
RAYMOND REAM          207 PINE ST                                                                                    CHESTERTOWN        MD   21620‐1411
RAYMOND REAVES        PO BOX 13326                                                                                   FLINT              MI   48501‐3326
RAYMOND REAY JR       3592 TUNDRA RD                                                                                 VENICE             FL   34293‐5446
RAYMOND REDBURN       PO BOX 441                                                                                     BRECKENRIDGE       MI   48615‐0441
RAYMOND REDDING       19160 MONTE VISTA ST                                                                           DETROIT            MI   48221‐3204
RAYMOND REDING        843 DEERFIELD RD                                                                               ANDERSON           IN   46012‐9374
RAYMOND REED          421 W 29TH ST                                                                                  MARION             IN   46953‐3568
RAYMOND REED          PO BOX 325                                                                                     RUSSIAVILLE        IN   46979‐0325
RAYMOND REED          218 NE CHATEAU DR                                                                              BLUE SPRINGS       MO   64014‐2626
RAYMOND REED          4356 BADGER RD                                                                                 LYONS              MI   48851‐9758
RAYMOND REESE         1023 APRIL SHOWERS LN                                                                          LANCASTER          TX   75134‐4605
RAYMOND REEVES        310 N FREMONT ST                                                                               LAWTON             MI   49065‐9742
RAYMOND REID          727 ZENITH ST                                                                                  BELLE FOURCHE      SD   57717‐2277
RAYMOND REID          11638 IACOPELLI CT                                                                             STERLING HEIGHTS   MI   48312‐2101
RAYMOND REILLY JR     9000 N COUNTY ROAD H                                                                           EDGERTON           WI   53534‐8895
RAYMOND REINART       324 OAK ST                                                                                     GRANTON            WI   54436‐7704
RAYMOND REMESCH       1210 63RD ST                                                                                   BALTIMORE          MD   21237‐2506
RAYMOND REMINGTON     10112 N 600 W                                                                                  ELWOOD             IN   46036‐8922
RAYMOND RENAUD        4485 EDGEWOOD ST                                                                               DEARBORN HTS       MI   48125‐3227
RAYMOND RENEAU        909 R C THOMPSON RD                                                                            CHESNEE            SC   29323‐8499
RAYMOND RENNIE        4265 STATE PARK DR                                                                             AKRON              OH   44319‐3444
RAYMOND RENTERIA      39112 162ND ST E                                                                               PALMDALE           CA   93591‐3409
RAYMOND RENUSCH       12144 SW EGRET CIR APT 806                                                                     LAKE SUZY          FL   34269‐8792
RAYMOND REPROGEL      1063 PARKSLEY AVE                                                                              BALTIMORE          MD   21223‐3213
RAYMOND RESKE         5014 SURREY DR                                                                                 STERLING HTS       MI   48310‐5192
RAYMOND REUBART       19 CONNOLLY DR                                                                                 SAINT LOUIS        MO   63135‐1018
RAYMOND REYNOLDS      11747 SPENCER MILLS RD                                                                         SPENCER            OH   44275‐9328
RAYMOND REYNOLDS      1187 LOCKWOOD DR                                                                               LOCKPORT           NY   14094‐7133
RAYMOND REYNOLDS      LOT 270                               4301 NORTH HIGHWAY 19A                                   MOUNT DORA         FL   32757‐2030
RAYMOND REYNOLDS      533 PARK VW                                                                                    CLIO               MI   48420‐1473
RAYMOND REZMER        1890 GRAVEL CREEK RD                                                                           NORTH BRANCH       MI   48461‐9576
RAYMOND RHODES        5319 COMICE WAY                                                                                KNOXVILLE          TN   37918‐6825
RAYMOND RHODES        BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH   44236
RAYMOND RIALE I I I   4609 OLD LINDEN HILL RD                                                                        WILMINGTON         DE   19808‐2907
RAYMOND RICER         9501 HIGHLAND DR                                                                               GROSSE ILE         MI   48138‐1271
RAYMOND RICHARD       344 COLEBROOK DR                                                                               TROY               MI   48083‐5001
RAYMOND RICHARD P     2811 WAYNEWOOD DR                                                                              FORT WAYNE         IN   46809‐2626
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Name                   Address1                             Address2                     Address3     Address4         City               State Zip
RAYMOND RICHARDSON     3340 MERWIN RD                                                                                  LAPEER              MI 48446‐7802
RAYMOND RICHARDSON     734 COMMONWEALTH AVE                                                                            BRONX               NY 10473‐3404
RAYMOND RICHARDSON     3510 NORTH BRANCH DRIVE                                                                         BEAVERTON           MI 48612‐8153
RAYMOND RICHTER        1303 N WASHINGTON ST                                                                            JANESVILLE          WI 53548‐1566
RAYMOND RICKARD        3 HOWARD ST                                                                                     BROOKFIELD          MA 01506‐1623
RAYMOND RICKETTS       1956 N FAIRFIELD RD APT 112                                                                     BEAVERCREEK         OH 45432‐2755
RAYMOND RICKMAN        39 APPALOOSA WAY                                                                                WRIGHT CITY         MO 63390‐3718
RAYMOND RIDDELL        1074 SW TIBURON WAY                                                                             PALM CITY           FL 34990‐3868
RAYMOND RIDDLEBARGER   1300 N VAN DYKE RD                                                                              MARLETTE            MI 48453‐9573
RAYMOND RIDGE          2823 WEST IONIA STREET                                                                          LANSING             MI 48917‐2953
RAYMOND RIGEL          15795 VIRGINIA CT                                                                               MONROE              MI 48161‐9515
RAYMOND RIGONI         11566 SW WOOD DUCK PL                                                                           TIGARD              OR 97223‐5711
RAYMOND RIOS           331 HUGHES LN                                                                                   BAKERSFIELD         CA 93304‐3421
RAYMOND RIPPY          5237 W NAOMI ST                                                                                 INDIANAPOLIS        IN 46241‐4448
RAYMOND RISING         444 W WESTLANE DR                                                                               LAKE CITY           MI 49651‐9507
RAYMOND RITCHIE        3097 LAKEVIEW CIR                                                                               LINCOLN             MI 48742‐9455
RAYMOND RITGER         1116 CHARLOTTE PL                                                                               RAHWAY              NJ 07065‐2728
RAYMOND RIVERA         6133 ORMES RD                                                                                   VASSAR              MI 48768‐8804
RAYMOND RIVERA         91 STAINED CEDAR CT                                                                             MARTINSBURG         WV 25404‐0467
RAYMOND ROANTREE       659 W BLUFF CT                                                                                  ROCHESTER HILLS     MI 48307‐6081
RAYMOND ROBAK JR       29109 ELMWOOD ST                                                                                ROSEVILLE           MI 48066‐2280
RAYMOND ROBBINS        3513 CARDINAL DR SW                                                                             WARREN              OH 44481‐9208
RAYMOND ROBBINS        437 URBANE RD NE                                                                                CLEVELAND           TN 37312‐4759
RAYMOND ROBERTS        1751 SHANE DR                                                                                   SPRING HILL         TN 37174‐9505
RAYMOND ROBERTS        8366 CHRISTINE ST                                                                               WARREN              MI 48093‐2878
RAYMOND ROBERTS        37560 WINDWOOD DR                                                                               FARMINGTON HILLS    MI 48335‐2751
RAYMOND ROBERTSHAW     3520 HOPKINS RD                                                                                 YOUNGSTOWN          OH 44511‐3055
RAYMOND ROBERTSON      1800 LYON RD                                                                                    NEW HAVEN           MO 63068‐2631
RAYMOND ROBEY          5268 HAGERMAN RD                                                                                BELLVILLE           OH 44813‐9157
RAYMOND ROBINSON       229 E TAYLOR ST                                                                                 FLINT               MI 48505‐4985
RAYMOND ROBINSON       22035 LOGUE AVE                                                                                 WARREN              MI 48091‐2568
RAYMOND ROBINSON       8241 HIGHLAND DR SW                                                                             COVINGTON           GA 30014‐3483
RAYMOND ROBINSON       1703 BROOKVIEW RD                                                                               DUNDALK             MD 21222‐1207
RAYMOND RODELA JR      478 VIK MAR LN                                                                                  ATTICA              MI 48412‐9806
RAYMOND RODENBUCHER    BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS          OH 44236
RAYMOND RODGERS        214 N SAGINAW ST                                                                                HOLLY               MI 48442‐1407
RAYMOND RODGERS        1137 CLAYBOURNE RD                                                                              DAYTON              OH 45429
RAYMOND RODGERS JR     3125 DAVENPORT AVENUE                                                                           SAGINAW             MI 48602‐3648
RAYMOND ROESSLER       10355 NEW HAVEN RD                                                                              HARRISON            OH 45030‐1846
RAYMOND ROESSLER       169 SW 51ST ST                                                                                  CAPE CORAL          FL 33914‐7106
RAYMOND ROGERS         4261 GRANGE HALL RD LOT 57                                                                      HOLLY               MI 48442‐1162
RAYMOND ROHE           8633 MILLIS RD                                                                                  SHELBY TOWNSHIP     MI 48317‐3229
RAYMOND ROHLOFF        154 CASTLEWOOD DR                                                                               CHEEKTOWAGA         NY 14227‐2617
RAYMOND ROHLOFF        24 BROADWAY ST                                                                                  WEST SENECA         NY 14224‐1733
RAYMOND ROHRAFF        1809 N BERRY ST                                                                                 WESTLAND            MI 48185‐3543
RAYMOND ROLLINS        3036 EAST AVE                                                                                   PARKVILLE           MD 21234‐3105
RAYMOND ROMANS         5206 ROBERTS DR                                                                                 ASHLAND             KY 41102‐8353
RAYMOND ROMEO          6301 SUTTON RD                                                                                  WHITMORE LAKE       MI 48189‐9546
RAYMOND ROMPALA        4708 PEARL ROAD                                                                                 CLEVELAND           OH 44109
RAYMOND ROMSPERT       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                    BALTIMORE           MD 21201

RAYMOND ROMSTADT       5140 STARR AVE                                                                                  OREGON             OH 43616‐2618
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Name                   Address1                       Address2            Address3         Address4         City            State Zip
RAYMOND RONQUILLO      110 W YPSILANTI AVE                                                                  PONTIAC          MI 48340‐1873
RAYMOND ROOT           1202 GARY DR                                                                         CARO             MI 48723‐1210
RAYMOND ROOT           6836 N RIDGE RD W                                                                    GENEVA           OH 44041‐6809
RAYMOND ROPER          2922 SANDRA LN                                                                       DECATUR          GA 30033‐1816
RAYMOND ROSALES        1719 GREEN ST                                                                        SAGINAW          MI 48602‐1102
RAYMOND ROSCOE I I     30441 J CARLS ST                                                                     ROSEVILLE        MI 48066‐1489
RAYMOND ROSE           2912 LONG RD                                                                         AKRON            OH 44312‐5534
RAYMOND ROSE           153 CALICO LOOP                                                                      GRANTVILLE       GA 30220‐1765
RAYMOND ROSE           1063 COUNTY ROAD 325                                                                 MOULTON          AL 35650‐8056
RAYMOND ROSE           1155 LAUREL CT                                                                       YPSILANTI        MI 48198‐3131
RAYMOND ROSECRANS      29301 STATE ROUTE 58                                                                 SULLIVAN         OH 44880‐9603
RAYMOND ROSEEN         WEITZ & LUXENBERG PC           700 BROADWAY                                          NEW YORK CITY    NY 10003
RAYMOND ROSENBERG      4414 KENNETT ST                                                                      NORTH PORT       FL 34288‐2845
RAYMOND ROSENTHAL      S11335 COUNTY ROAD B                                                                 ELEVA            WI 54738‐9298
RAYMOND ROSINSKI       14783 CHESTERFIELD AVE                                                               WARREN           MI 48089‐2181
RAYMOND ROSOWICZ       2045 TIMBER CREEK DR E                                                               CORTLAND         OH 44410‐1810
RAYMOND ROSS           4669 W LAKE RD                                                                       GENESEO          NY 14454‐9618
RAYMOND ROSSOW         2027 DIPLOMAT DRIVE                                                                  CLEARWATER       FL 33764‐3770
RAYMOND ROTH           1897 HICKORY RIDGE DR                                                                DAYTON           OH 45432‐4035
RAYMOND ROTH           9888 FELTHAM CT                                                                      CLARENCE         NY 14031‐2077
RAYMOND ROTH           C/O WEITZ & LUXEMBERG P C      700 BROADWAY                                          NEW YORK         NY 10003
RAYMOND ROTHENTHALER   6497 KUTTSHILL DR NE                                                                 ROCKFORD         MI 49341‐9215
RAYMOND ROWELL         1300 ROBINSON RD                                                                     ELM GROVE        LA 71051‐8738
RAYMOND ROY            545 WEXFORD HOLLOW RUN                                                               ROSWELL          GA 30075‐1490
RAYMOND ROYSTON        11301 VISTA CANYON DR                                                                CHARLOTTE        NC 28226
RAYMOND ROZIER         1289 FOUR SEASONS BLVD                                                               TAMPA            FL 33613‐2325
RAYMOND RUBIN          9320 MERRIMAN RD                                                                     LIVONIA          MI 48150‐2904
RAYMOND RUCINSKI       33235 WARREN RD APT 424                                                              WESTLAND         MI 48185‐2927
RAYMOND RUDNICKI       3297 PLEASANT AVE                                                                    HAMBURG          NY 14075‐3616
RAYMOND RUFFER         1936 SUNNYSIDE AVE                                                                   WESTCHESTER       IL 60154‐4258
RAYMOND RUOFF          3327 BURR OAK DR                                                                     GROVE CITY       OH 43123‐2208
RAYMOND RUPERT         128 DEER RIDGE LN                                                                    BROOKLYN         MI 49230‐9596
RAYMOND RUSH           PO BOX 721                                                                           JIGGER           LA 71249‐0721
RAYMOND RUSHING        9605 HIGHWAY 114 W                                                                   SCOTTS HILL      TN 38374‐6025
RAYMOND RUSSELL        393 BENNETT ST                                                                       N TONAWANDA      NY 14120‐4103
RAYMOND RUSSELL        434 KENNEBUNK RD                                                                     ALFRED           ME 04002‐3410
RAYMOND RUSSELL JR     2817 MORGAN TRL                                                                      MARTINSVILLE     IN 46151‐6696
RAYMOND RUST           9117 PINE BLUFF DR                                                                   FLUSHING         MI 48433‐1221
RAYMOND RUSTOWICZ      4644 DEERFIELD RD                                                                    HAMBURG          NY 14075‐2232
RAYMOND RUSZKIEWICZ    9695 WOODBINE                                                                        REDFORD          MI 48239‐1695
RAYMOND RUTH           PO BOX 509                                                                           GREENVILLE       PA 16125‐0509
RAYMOND RYBINSKI       47610 BARBARA RD                                                                     MACOMB           MI 48044‐2410
RAYMOND RYS            771 S WHITE ASH CT                                                                   BALSAM LAKE      WI 54810‐2407
RAYMOND S ADAMS        4545 W HILLCREST                                                                     DAYTON           OH 45406
RAYMOND S ANTTILA      13010 WEST COLFAX PLACE                                                              BUTLER           WI 53007‐1214
RAYMOND S COSTANZO     WELTZ & LUXENBERG P C          700 BROADWAY                                          NEW YORK CITY    NY 10003
RAYMOND S EDMONDS      3237 HARWOOD ST                                                                      KETTERING        OH 45429
RAYMOND S HARRISON     4715 STRATSBURG                                                                      DAYTON           OH 45427‐2742
RAYMOND S JACKSON      1359 OCONNOR RD                                                                      LUCASVILLE       OH 45648
RAYMOND S LANGILL      38 BROOKVIEW RD                                                                      ROCHESTER        NY 14624‐5246
RAYMOND S LANGILL      38 BROOKVIEW ROAD                                                                    ROCHESTER        NY 14624‐5246
RAYMOND S SHEGOS DDS   ATTN: RAYMOND S SHEGOS         752 SAINT MARY ST                                     MT MORRIS        MI 48458‐2249
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Name                      Address1                        Address2                     Address3   Address4             City               State Zip
RAYMOND S SORENSEN        334 CLEAR BRANCH DR                                                                          BROWNSBURG          IN 46112
RAYMOND S TURNER          4056 MYRON AVE                                                                               DAYTON              OH 45416‐1659
RAYMOND S ZIENTARA        1400 HOGAN RD                                                                                WEBSTER             NY 14580‐9310
RAYMOND SABAT             213 VALLEY RIDGE RD                                                                          FRANKLIN            TN 37064‐5263
RAYMOND SACILOWSKI        APT C24                         413 WEST 11TH STREET                                         ALEXANDRIA          IN 46001‐2829
RAYMOND SACK              434 BUDLONG ST                                                                               ADRIAN              MI 49221‐1485
RAYMOND SALAC             1498 KARL ST                                                                                 SAN JOSE            CA 95122‐1640
RAYMOND SALO              9813 KINGS VLY                                                                               CLARKSTON           MI 48348‐4192
RAYMOND SALTZMAN          4762 LONSBERRY RD RT #2                                                                      COLUMBIAVILLE       MI 48421
RAYMOND SAMELAK           20442 CHAREST ST                                                                             DETROIT             MI 48234‐1654
RAYMOND SAMOLYK           16 LAKE AVE                                                                                  HELMETTA            NJ 08828‐1112
RAYMOND SAMONS            9248 OAKWOOD LN                                                                              SEMINOLE            FL 33776‐2169
RAYMOND SAMONS            9248 OAKWOOD LANE                                                                            SEMINOLE            FL 33776
RAYMOND SAMPLES           BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS          OH 44236
RAYMOND SAMPSON           7154 NICHOLS RD                                                                              SWARTZ CREEK        MI 48473‐8517
RAYMOND SANBORN           APT 808                         8720 NORTH HICKORY STREET                                    KANSAS CITY         MO 64155‐4143
RAYMOND SANDERS           1233 ALA ALII ST APT 7                                                                       HONOLULU            HI 96818‐1878
RAYMOND SANTOS            457 SAND DUNE WAY                                                                            RIPON               CA 95366‐9371
RAYMOND SAPIENZA          15203 STONE HENGE DR                                                                         FENTON              MI 48430‐3700
RAYMOND SARGENT           13050 FM 2010                                                                                CHANDLER            TX 75758‐6826
RAYMOND SARL (A)          113 COURS BERRIAT                                                       GRENOBLE FR 38000
                                                                                                  FRANCE
RAYMOND SASINOWSKI        8945 MARGO DR                                                                                BRIGHTON           MI   48114‐8940
RAYMOND SATHER            2525 COLE RD                                                                                 LAKE ORION         MI   48362‐2115
RAYMOND SATKOWIAK         1685 WETTERS RD                                                                              KAWKAWLIN          MI   48631‐9457
RAYMOND SAVAGE            1239 CLUBHOUSE DR                                                                            LAKE ISABELLA      MI   48893‐9343
RAYMOND SAVARD            193 BROWN ST                                                                                 S ATTLEBORO        MA   02703‐6985
RAYMOND SAVOIE            2048 COLLEGE AVE                                                                             LINCOLN PARK       MI   48146‐1315
RAYMOND SAWYER            4329 LOUELLA DR                                                                              WATERFORD          MI   48329‐4024
RAYMOND SAXTON            2587 MILLER GRABER RD                                                                        NEWTON FALLS       OH   44444‐9724
RAYMOND SCHAENER          3157 BUNNY RUN DR                                                                            NORTH FORT MYERS   FL   33917‐1525
RAYMOND SCHAFFER          7986 ROLLER RD                                                                               SALEM              OH   44460‐9241
RAYMOND SCHANZ            840 CLIFFS DR                                                                                YPSILANTI          MI   48198
RAYMOND SCHARRER JR       1943 EVERETT AVE                                                                             YOUNGSTOWN         OH   44514‐1021
RAYMOND SCHAUMAN          4191 MCCARTY RD APT 10                                                                       SAGINAW            MI   48603‐9315
RAYMOND SCHEMEL           2321 FLAIR DR                                                                                OKLAHOMA CITY      OK   73159‐5817
RAYMOND SCHENK            4832 BUTTERCUP WAY                                                                           ANDERSON           IN   46013‐1520
RAYMOND SCHIAN            11058 MAPLE ROAD                                                                             BIRCH RUN          MI   48415
RAYMOND SCHINLER          3723 WHITE RIVER DR.                                                                         HESPERIA           MI   49421
RAYMOND SCHLOSSER         5918 BIG LAKE CANAL RD                                                                       SEARS              MI   49679‐8741
RAYMOND SCHLUECHTERMANN   7041 LONE ELM DR                                                                             RACINE             WI   53402‐1245
RAYMOND SCHMIDT           17557 W 135TH ST                                                                             LOCKPORT           IL   60441‐7455
RAYMOND SCHMIT            PO BOX 9022                                                                                  WARREN             MI   48090‐9022
RAYMOND SCHNEIDER         1133 MAPLE LEAF CT                                                                           CHARLOTTE          MI   48813‐7705
RAYMOND SCHNEIDER         24 ALVERNA CT                                                                                CROWLEY            TX   76036‐2001
RAYMOND SCHNEIDER         3847 MCDONALD AVE                                                                            SAINT LOUIS        MO   63116‐4716
RAYMOND SCHNELL           15101 MCKEIGHAN RD                                                                           CHESANING          MI   48616‐9616
RAYMOND SCHOMMER          138 MARRETT FARM RD                                                                          UNION              OH   45322‐3414
RAYMOND SCHOTTER          6384 W STANLEY RD                                                                            MOUNT MORRIS       MI   48458‐9318
RAYMOND SCHROEDER         1230 SW 5TH CT BOCA ISLANDS                                                                  BOCA RATON         FL   33432
RAYMOND SCHROEDER         3789 ALBERT MATTHEWS RD                                                                      COLUMBIA           TN   38401‐8960
RAYMOND SCHULTZ           700 HILLWOOD                                                                                 WHITE LAKE         MI   48383‐2960
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Name                  Address1                             Address2                     Address3   Address4         City              State Zip
RAYMOND SCHULTZ       208 W HIGH ST                                                                                 FENTON             MI 48430‐2206
RAYMOND SCHULTZ       2311 PROSPECT AVE                                                                             EVANSTON            IL 60201‐1837
RAYMOND SCHULTZ JR    26628 W BENES RD                                                                              ANTIOCH             IL 60002‐7002
RAYMOND SCHUTTE JR    591 SOMERVILLE AVE                                                                            TONAWANDA          NY 14150‐8154
RAYMOND SCIBIOR       1918 ALLENWAY CT                                                                              ROCHESTER HLS      MI 48309‐3313
RAYMOND SCIOG         APT 202                              625 WINDSOR SQUARE                                       NAPLES             FL 34104‐8913
RAYMOND SCOTT         38 VILLAGE GATE BOULEVARD                                                                     DELAWARE           OH 43015‐8912
RAYMOND SCOTT         324 TAMARA CIR                                                                                NEWARK             DE 19711‐6929
RAYMOND SCOTT         7935 BAMFIELD RD                                                                              SOUTH BRANCH       MI 48761‐9714
RAYMOND SCOTT         RAYMOND, SCOTT                       16133 VENTURA BLVD STE 700                               ENCINO             CA 91436‐2406
RAYMOND SCRUGGS       155 DAILEY MILL RD                                                                            MCDONOUGH          GA 30253‐8223
RAYMOND SEAL          4489 E 800 S                                                                                  MARKLEVILLE        IN 46056‐9739
RAYMOND SEARS         10315 CARROLLWOOD LN                                                                          TAMPA              FL 33618‐4700
RAYMOND SEAVER        12400 NORTHWAY PKWY                                                                           FREELAND           MI 48623‐9570
RAYMOND SEELEY        13258 ALLEN ST                                                                                BATH               MI 48808‐8714
RAYMOND SEIBERT       648 PRITZ AVE                                                                                 DAYTON             OH 45410‐2433
RAYMOND SEIBOLD       107 BRIGHTON CT                                                                               COLUMBIA           TN 38401‐6206
RAYMOND SEIGLE        2202 BOGART RD                                                                                HURON              OH 44839‐9530
RAYMOND SEITLER       6201 US HIGHWAY 41 N LOT 2094                                                                 PALMETTO           FL 34221‐7334
RAYMOND SELBY         373 COUNTY ROAD 33980 N                                                                       POWDERLY           TX 75473‐4901
RAYMOND SEMINATORE    6557 PAXTON GUINEA RD                                                                         LOVELAND           OH 45140‐8135
RAYMOND SEPPALA       53 S OAK DR                                                                                   LAGRANGE           GA 30241‐8479
RAYMOND SERRANO       300 LUMAGHI HTS                                                                               COLLINSVILLE        IL 62234‐6326
RAYMOND SETTLEMYRE    963 JOHNSON ST                                                                                OWOSSO             MI 48867‐3824
RAYMOND SETTY         PO BOX 85                            557 ST RT 132                                            CLARKSVILLE        OH 45113‐0085
RAYMOND SEWELL        5014 THOMPSON MILL RD                                                                         LITHONIA           GA 30038‐2335
RAYMOND SEXTON JR     13063 STATE ROUTE 774                                                                         BETHEL             OH 45106‐9635
RAYMOND SHACKLEFORD   563 HEATHER DR #2 B                                                                           DAYTON             OH 45405
RAYMOND SHADE         1285 MONROE ORLEANS COUNTY LINE RD                                                            KENDALL            NY 14476‐9700

RAYMOND SHAMPINE      3740 WOODPOINTE                                                                               ORTONVILLE        MI   48462
RAYMOND SHANKS        665 SPRUCE ST                                                                                 MOUNT MORRIS      MI   48458‐1980
RAYMOND SHANNON       PO BOX 752                                                                                    HAZELHURST        MS   39083‐0752
RAYMOND SHARICK       18820 CHAMBERLAIN RD                                                                          GRAFTON           OH   44044‐9630
RAYMOND SHARP         14856 COUNTY RD. #163                                                                         DEFIANCE          OH   43512
RAYMOND SHATTUCK      14709 LAVERGNE AVE                                                                            MIDLOTHIAN        IL   60445‐2403
RAYMOND SHAVER        1679 BURNSIDE RD                                                                              NORTH BRANCH      MI   48461‐9669
RAYMOND SHAW          2002 ALEXANDRIA PIKE                                                                          ANDERSON          IN   46012‐1802
RAYMOND SHAW          PO BOX 286                                                                                    GREENTOWN         IN   46936‐0286
RAYMOND SHELBY JR     7327 LAKE RD                                                                                  MONTROSE          MI   48457‐9719
RAYMOND SHELDON       7879 WILDCAT RD                                                                               OVID              MI   48866‐9656
RAYMOND SHELDON JR    10550 HEDGESVILLE RD                                                                          HEDGESVILLE       WV   25427‐6007
RAYMOND SHELL         1441 W 15TH ST                                                                                MUNCIE            IN   47302‐2982
RAYMOND SHEPHERD      229 AMOLEE LN                                                                                 SEVIERVILLE       TN   37876‐1957
RAYMOND SHERMAN       4431 JOAN DR                                                                                  CLIO              MI   48420‐9406
RAYMOND SHERRY        13410 NW 8TH CT                                                                               SUNRISE           FL   33325‐1114
RAYMOND SHERWOOD      4446 LOVE LN APT B                                                                            BEAVERCREEK       OH   45430‐1677
RAYMOND SHILOWSKI     4 BOWDOIN DR                                                                                  MILFORD           MA   01757‐1255
RAYMOND SHIMONIS      P.O. BOX 2774                                                                                 HOMOSASSA SPGS.   FL   34447
RAYMOND SHIPMAN       807 SE 14TH ST                                                                                OAK GROVE         MO   64075‐9551
RAYMOND SHIPMAN       5888 LORENZO DR                                                                               GRAND PRAIRIE     TX   75052‐8766
RAYMOND SHIRCLIFFE    2545 GLENMARY AVE                                                                             LOUISVILLE        KY   40204
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Name                    Address1                             Address2                      Address3     Address4         City            State Zip
RAYMOND SHIRLEY         177 SCOTTWOOD AVE                                                                                NORWALK          OH 44857‐1612
RAYMOND SHIVLEY         10618 AVON AVE                                                                                   CLEVELAND        OH 44105‐4213
RAYMOND SHOEMAKER       PO BOX 613                                                                                       FULTON           MS 38843‐0613
RAYMOND SHOEMAKER       802 E EPLER AVE                                                                                  INDIANAPOLIS     IN 46227‐1814
RAYMOND SHOLLER         185 TWIN OAKES LN                                                                                SPARTA           KY 41086‐9309
RAYMOND SHUE            1569 COUNTY ROAD 3271 WEST                                                                       MT ENTERPRISE    TX 75681‐6879
RAYMOND SHUST           21112 W 118TH TER                                                                                OLATHE           KS 66061
RAYMOND SIFTER          BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS       OH 44236
RAYMOND SILSBY          4200 ROWLEY RD                                                                                   WILLIAMSTON      MI 48895‐9539
RAYMOND SIMMER          1223 HEAVENRIDGE RD                                                                              ESSEXVILLE       MI 48732‐1739
RAYMOND SIMMONS         6217 LANGDON CT                                                                                  SAINT LOUIS      MO 63134‐1606
RAYMOND SIMONETTI       THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES             22ND FLOOR                    BALTIMORE        MD 21201

RAYMOND SIMPSON
RAYMOND SIMS            1128 BORGSTROM AVE                                                                               YPSILANTI       MI   48198‐6404
RAYMOND SINDONI         97 FLORADALE AVE                                                                                 TONAWANDA       NY   14150‐9017
RAYMOND SINGLETON       40 COTTONTAIL CIR                                                                                ALVATON         KY   42122‐9540
RAYMOND SINKIEWICZ      396 N LIBERTY ST                                                                                 BELLEVILLE      MI   48111‐2640
RAYMOND SKAGGS          24931 ALMOND AVE                                                                                 EASTPOINTE      MI   48021‐4237
RAYMOND SKERKAVICH      97 HOOD DR                                                                                       CANFIELD        OH   44406‐1316
RAYMOND SKERSKI         10041 CLIFFWOOD CT                                                                               CINCINNATI      OH   45241‐1084
RAYMOND SKLEBEK         1716 E 18TH ST                                                                                   ANDERSON        IN   46016‐2125
RAYMOND SKORNIA         1102 S CHILSON ST                                                                                BAY CITY        MI   48706‐5053
RAYMOND SKRDLA          525 WILEY RD                                                                                     WEST SALEM      OH   44287‐8715
RAYMOND SKRINAK         3215 RODS DR                                                                                     SANDUSKY        OH   44870‐5480
RAYMOND SKRZYPCZAK JR   577 S LINCOLN RD                                                                                 BAY CITY        MI   48708‐9613
RAYMOND SKYTTA          84 MOUNT EVEREST WAY                                                                             SWARTZ CREEK    MI   48473‐1622
RAYMOND SLAVIC
RAYMOND SLIVENSKY       38041 SARNETTE ST                                                                                CLINTON TWP     MI   48036‐4036
RAYMOND SLIWA           1017 KIMMEL BRIDGE RD                                                                            MURPHYSBORO     IL   62966‐4618
RAYMOND SLOWINSKI       23800 CRANBROOKE DR                                                                              NOVI            MI   48375‐3669
RAYMOND SMALLWOOD       3625 PETERS RD                                                                                   COLUMBIAVILLE   MI   48421‐9203
RAYMOND SMIDDY          50 KELLY RD                                                                                      FT COVINGTON    NY   12937‐2819
RAYMOND SMIECINSKI      3967 COVENTRY CT                                                                                 WATERFORD       MI   48329‐3919
RAYMOND SMITH           4417 N WASHINGTON ST                                                                             UBLY            MI   48475‐9792
RAYMOND SMITH           8911 APPOLINE ST                                                                                 DETROIT         MI   48228‐2625
RAYMOND SMITH           3631 2 MILE RD                                                                                   BAY CITY        MI   48706‐9223
RAYMOND SMITH           24851 CRISLER ST                                                                                 TAYLOR          MI   48180‐3344
RAYMOND SMITH           APT 104                              1915 BALDWIN AVENUE                                         PONTIAC         MI   48340‐1174
RAYMOND SMITH           1317 CONNELL ST                                                                                  BURTON          MI   48529‐2201
RAYMOND SMITH           PO BOX 3076                                                                                      YOUNGSTOWN      OH   44511‐0076
RAYMOND SMITH           4718 VANGUARD AVE                                                                                DAYTON          OH   45418‐1938
RAYMOND SMITH           5456 SWAMP RD                                                                                    WINCHESTER      OH   45697‐9518
RAYMOND SMITH           7364 PEARL RD                                                                                    CLEVELAND       OH   44130‐4807
RAYMOND SMITH           1159 TRUMBULL AVE SE                                                                             WARREN          OH   44484‐4579
RAYMOND SMITH           2823 GREENBROOK CT                                                                               SNELLVILLE      GA   30078‐3218
RAYMOND SMITH           731 NE 139TH TER                                                                                 WILLISTON       FL   32696‐8760
RAYMOND SMITH           PO BOX 196                                                                                       JONESBORO       IN   46938‐0196
RAYMOND SMITH           2016 SPARROW ST                                                                                  SPRING HILL     TN   37174‐2687
RAYMOND SMITH           516 TRAVIS RANCH TRL                                                                             ARLINGTON       TX   76002‐3025
RAYMOND SMITH           C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                 HOUSTON         TX   77017
RAYMOND SMITH           C/O BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS      OH   44236
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Name                  Address1                      Address2            Address3         Address4         City                 State Zip
RAYMOND SMITH         7026 BLUFFWOOD CT                                                                   BROWNSBURG            IN 46112‐8650
RAYMOND SMITH III     1710 NORTH DENVER DRIVE                                                             MARION                IN 46952‐1345
RAYMOND SMITH JR      4525 W TWAIN AVE SPC 8                                                              LAS VEGAS             NV 89103‐1611
RAYMOND SMITH JR      716 MOUNT CLAIR AVE                                                                 DAYTON                OH 45408‐1563
RAYMOND SMOLINSKI     250 LAKESIDE DR                                                                     ATLANTIC HIGHLANDS    NJ 07716‐2459
RAYMOND SMYTH JR      33 HENRIETTA AVE                                                                    BUFFALO               NY 14207‐1623
RAYMOND SNYDER        3282 ROLSTON RD                                                                     FENTON                MI 48430‐1093
RAYMOND SNYDER        500 N BRADY ST                                                                      CORUNNA               MI 48817‐1427
RAYMOND SNYDER        2870 12 OAKS DRIVE                                                                  CHARLOTTE             MI 48813‐8320
RAYMOND SNYDER        609 RUSSELL ST                                                                      LATHROP               MO 64465‐9313
RAYMOND SOBOTA        22941 STORMS RD                                                                     CENTREVILLE           MI 49032‐8706
RAYMOND SODOMA        324 N RICHMOND AVE                                                                  WESTMONT               IL 60559‐1537
RAYMOND SOLIMANI      309 CAMBRIDGE GROVE CIR                                                             ALVATON               KY 42122‐9581
RAYMOND SOLOMON       401 HENDLEY ST                                                                      HAWKINSVILLE          GA 31036
RAYMOND SONNTAG       38785 HILLDALE ST                                                                   CLINTON TWP           MI 48036‐2563
RAYMOND SOOS JR       17230 BERLIN STATION RD                                                             BERLIN CENTER         OH 44401‐9712
RAYMOND SORIA         109 S 13TH ST                                                                       SAGINAW               MI 48601‐1837
RAYMOND SORIANO       5397 LABELLE RD                                                                     WHITE LAKE            MI 48383
RAYMOND SORRELLS      1012 HOLLY ST                                                                       BLYTHEVILLE           AR 72315‐2652
RAYMOND SOUSA         6065 TAYLOR RIDGE DR                                                                WEST CHESTER          OH 45069‐1989
RAYMOND SOUTHARD SR   5955 WARREN RD                                                                      CORTLAND              OH 44410‐9710
RAYMOND SOUTHERN      104 F C CARDWELL RD                                                                 MORGANTOWN            KY 42261‐9046
RAYMOND SOWA          5287 RICHFIELD RD                                                                   FLINT                 MI 48506‐2110
RAYMOND SOWERS        4889 DECKER AVE                                                                     THORNVILLE            OH 43076‐8140
RAYMOND SOYKA         409 E 4TH AVE                                                                       ROSELLE               NJ 07203‐1428
RAYMOND SPEARS        1111 E FREDERICK ST                                                                 INDEPENDENCE          MO 64050‐3132
RAYMOND SPERLING      2275 CURTIS RD                                                                      BIRCH RUN             MI 48415‐8906
RAYMOND SPICER        7645 GRAND RIVER RD                                                                 BANCROFT              MI 48414‐9767
RAYMOND SPIRNAK       714 4TH ST                                                                          SUTERSVILLE           PA 15083‐1050
RAYMOND SPOLAR        6606 WESTERN AVENUE                                                                 WILLOWBROOK            IL 60527‐1879
RAYMOND SPOONER       2012 TERRY CT                                                                       BELOIT                WI 53511‐2048
RAYMOND SPOUTZ        5500 TONI COURT                                                                     HUBER HEIGHTS         OH 45424‐4157
RAYMOND SPRAGUE       308 WILLA DR                                                                        HOCKESSIN             DE 19707
RAYMOND SPRATT        3844 GRAY POND CT                                                                   INDIANAPOLIS          IN 46237‐4701
RAYMOND SPROW         920 EDEN VALE LN                                                                    HOWELL                MI 48843‐6602
RAYMOND SPYCHALSKI    5014 N SHORE RD                                                                     PINCONNING            MI 48650‐7506
RAYMOND SR, JOHN E    PO BOX 2185                                                                         MARSHALL              TX 75671‐2185
RAYMOND SROKA         31634 BELLEAU DR                                                                    WARREN                MI 48092‐1452
RAYMOND STADLER       3236 S US HIGHWAY 23                                                                GREENBUSH             MI 48738‐9650
RAYMOND STAFFORD      1949 S CROSBY AVE                                                                   JANESVILLE            WI 53546‐5617
RAYMOND STAHL         289 SOUTHVIEW DR                                                                    ARCADE                NY 14009‐9519
RAYMOND STALEY JR     1261 PARTRIDGE POINT RD                                                             ALPENA                MI 49707‐5106
RAYMOND STANIECKI     6090 W HOUGHTON LAKE DR                                                             HOUGHTON LAKE         MI 48629‐9704
RAYMOND STANISKI      13696 NORTHMOOR DR                                                                  CEMENT CITY           MI 49233‐9038
RAYMOND STANISZ       1837 HALLMARK DR                                                                    TROY                  MI 48098‐4355
RAYMOND STANKIEWICZ   15614 MILLAR RD                                                                     CLINTON TWP           MI 48036‐1617
RAYMOND STANLEY       9231 CHAMBERLAIN ST                                                                 DETROIT               MI 48209‐1740
RAYMOND STANSBURY     3509 W LAYTON AVE                                                                   GREENFIELD            WI 53221‐2031
RAYMOND STAPERT       1750 E RAYMOND ST                                                                   INDIANAPOLIS          IN 46203‐4164
RAYMOND STARR         1136 N MAPLELEAF RD                                                                 LAPEER                MI 48446‐8074
RAYMOND STASIK        505 GERMANIA ST APT 316                                                             BAY CITY              MI 48706‐5080
RAYMOND STASKIEWS     PO BOX 922                                                                          RICHFIELD             NC 28137‐1004
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Name                    Address1                       Address2                     Address3   Address4         City               State Zip
RAYMOND STECH           396 GREENLEAF DRIVE                                                                     LAVONIA             GA 30553‐6024
RAYMOND STEEN           69 PARKSIDE DR                                                                          WEST SENECA         NY 14224‐3405
RAYMOND STEFFES         446 VILLAGE CIR SW CI                                                                   WINTER HAVEN        FL 33880
RAYMOND STEIGERWALD     6443 MAYBURN ST                                                                         DEARBORN HEIGHTS    MI 48127‐2216
RAYMOND STEPP           351 W 30TH ST                                                                           INDIANAPOLIS        IN 46208‐5142
RAYMOND STEVENS         317 OLEAN ST                                                                            EAST AURORA         NY 14052‐2532
RAYMOND STEVENS         5161 SUGAR MAPLE DR                                                                     KETTERING           OH 45440‐2545
RAYMOND STEVENS         2277 BURROUGHS DR                                                                       TOLEDO              OH 43614‐4311
RAYMOND STEWARD         2545 E STEVENSON LAKE RD                                                                CLARE               MI 48617‐9017
RAYMOND STEWART         2316 SAWMILL CT APT 205                                                                 BURLINGTON          KY 41005‐8375
RAYMOND STEWART         1429 LINCOLN AVE                                                                        MOUNT MORRIS        MI 48458‐1306
RAYMOND STEWART         6550 N FARMINGTON RD                                                                    WESTLAND            MI 48185‐2885
RAYMOND STILL JR        115 KOLLAR DR                                                                           MCKEESPORT          PA 15133‐2001
RAYMOND STILLWAGON      7269 ELMCREST AVE                                                                       MOUNT MORRIS        MI 48458‐1806
RAYMOND STINER          12667 B ST                                                                              LA SALLE            MI 48145‐9616
RAYMOND STISLICKI       6756 BURNLY ST                                                                          GARDEN CITY         MI 48135‐2038
RAYMOND STOCKWELL       1481 S CUMMINGS RD                                                                      DAVISON             MI 48423‐9147
RAYMOND STOICK          11662 PLAZA DR APT 5                                                                    CLIO                MI 48420‐1748
RAYMOND STONE           2264 GREENWOOD RD                                                                       LUPTON              MI 48635‐9790
RAYMOND STORM           604 HANDY DR                                                                            BAY CITY            MI 48706‐3511
RAYMOND STORMER         1925 SOUTHERN BLVD NW APT 24                                                            WARREN              OH 44485‐1631
RAYMOND STOTKA          23422 ISLE DR                                                                           NISSWA              MN 56468‐2241
RAYMOND STRACHAN        30870 PLUM LANE DR                                                                      MADISON HEIGHTS     MI 48071‐1508
RAYMOND STREET          244 BURNING LEAF DR                                                                     SAINT PETERS        MO 63376‐7047
RAYMOND STRIBLING       802 CROWN CT                                                                            KELLER              TX 76248‐8460
RAYMOND STRICKLIN JR    2698 EVELYN RD                                                                          YOUNGSTOWN          OH 44511‐1802
RAYMOND STRUDGEON       5875 FORT RD                                                                            SAGINAW             MI 48601‐9360
RAYMOND STRZYNSKI       6384 CEDAR CREEK RD                                                                     NORTH BRANCH        MI 48461‐8845
RAYMOND STUBLER         902 NE 180TH ST                                                                         SMITHVILLE          MO 64089‐8744
RAYMOND STUMPHF         9966 AGATE STREET NORTHWEST                                                             CANAL FULTON        OH 44614‐8111
RAYMOND STURDIVANT JR   1210 IRWIN DR                                                                           WATERFORD           MI 48327‐2022
RAYMOND STURGELL        253 LINCOLN ST                                                                          SPENCER             IN 47460‐1127
RAYMOND STURGIS JR      9185 ECKHART RD                                                                         GERMANTOWN          OH 45327‐9714
RAYMOND SUFFOLK         5163 TROYER DR                 C/O JAMES SUFFOLK                                        KENT                OH 44240‐7008
RAYMOND SUGGS           24174 CHARLEVOIX ST                                                                     FLAT ROCK           MI 48134‐8048
RAYMOND SUHAYSIK        CASCINO MICHAEL P              220 SOUTH ASHLAND AVE                                    CHICAGO              IL 60607
RAYMOND SUITERS         315 BEGONIA LN 323                                                                      DAVENPORT           FL 33837
RAYMOND SULLIVAN        715 S 600 E                                                                             MARION              IN 46953‐9543
RAYMOND SUMMERVILLE     562 HARRIET ST                                                                          FLINT               MI 48505‐4753
RAYMOND SUPER           BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
RAYMOND SURBAUGH        615 PENNSYLVANIA AVE                                                                    RAINELLE            WV 25962‐1521
RAYMOND SUTTON          6005 GREENMAN ST                                                                        HASLETT             MI 48840‐8215
RAYMOND SUTTON          1007 COMBS LN                                                                           BONNE TERRE         MO 63628‐3637
RAYMOND SUZOW           10755 E AVENUE R10                                                                      LITTLEROCK          CA 93543‐1504
RAYMOND SWADLING        5574 VALLEY RD                                                                          ALANSON             MI 49706‐9757
RAYMOND SWAIN           1717 MITCHELL LAKE RD                                                                   LUM                 MI 48412‐9220
RAYMOND SWANSON         10525 HILL RD                                                                           GOODRICH            MI 48438‐9769
RAYMOND SWIDERSKI JR    49949 LEXINGTON AVE E                                                                   SHELBY TOWNSHIP     MI 48317‐6301
RAYMOND SWOPE           1114 E MEYERS AVE                                                                       HAZEL PARK          MI 48030‐2136
RAYMOND SYMBORSKI       1075 S HURON RD                                                                         KAWKAWLIN           MI 48631‐9412
RAYMOND SZCZEPANIK      31529 CARION DR                                                                         WARREN              MI 48092‐1387
RAYMOND SZCZERBICKI     319 S CHESTER ST                                                                        BALTIMORE           MD 21231‐2728
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RAYMOND SZEWC          6205 19 MILE RD                                                                       STERLING HEIGHTS    MI 48314‐2107
RAYMOND SZEWCZYK       4022 BADEN DR                                                                         HOLIDAY             FL 34691‐3406
RAYMOND SZUBA          PO BOX 615                                                                            BUHL                MN 55713‐0615
RAYMOND SZYMENDERA     275 GRIFFITH ST                                                                       SLOAN               NY 14212‐2266
RAYMOND T BAUMAN JR    316 ELECTRIC AVE                                                                      ROCHESTER           NY 14613‐1004
RAYMOND T BERARDI      108 ARBORWAY LANE                                                                     ROCHESTER           NY 14612
RAYMOND T FREDRICK     59 ST KATHRINES WAY                                                                   BROCKPORT           NY 14420‐1757
RAYMOND T HARTMAN JR   201 S MULBERRY ST                                                                     CORNERSVILLE        TN 37047
RAYMOND T KELLOW       33511 DEER RUN ST                                                                     MAGNOLIA            TX 77355‐3889
RAYMOND T LANE         MOTLEY RICE LLC                 28 BRIDGESIDE BLVD   PO BOX 1792                      MT PLEASANT         SC 29465
RAYMOND T REED         4356 BADGER RD                                                                        LYONS               MI 48851‐9758
RAYMOND T ROZNOWSKI    1609 3RD ST                                                                           BAY CITY            MI 48708‐6131
RAYMOND T TERLECKI     3863 TIMOTHY LANE                                                                     YOUNGSTOWN          OH 44511‐3321
RAYMOND TACKETT        326 STAHL AVE                                                                         CORTLAND            OH 44410‐1140
RAYMOND TAGLIAFERRI    1180 LAWRENCEVILLE RD                                                                 TRENTON             NJ 08648‐3892
RAYMOND TAHTINEN       20 JAYNE RD                                                                           TUNKHANNOCK         PA 18657
RAYMOND TAKACH         390 ELVINA ST                                                                         LEAVITTSBURG        OH 44430‐9718
RAYMOND TAMASOVICH     13080 SOUTH AVE EXT.                                                                  NORTH LIMA          OH 44452
RAYMOND TANGREDI       4116 WICKHAM AVE                                                                      BRONX               NY 10466‐2040
RAYMOND TANTO          5621 ANNAPOLIS DR                                                                     LANSING             MI 48911‐5002
RAYMOND TARASIEWICZ    1670 STEFF CT SW                                                                      WYOMING             MI 49519‐7203
RAYMOND TAUNTON        19708 SUNSET ST                                                                       DETROIT             MI 48234‐2082
RAYMOND TAYLOR         3438 RAVENWOOD BLVD                                                                   TOLEDO              OH 43614‐3738
RAYMOND TAYLOR         8211 W BETHEL AVE                                                                     MUNCIE              IN 47304‐9015
RAYMOND TAYLOR         475 2ND AVE                                                                           PONTIAC             MI 48340‐2826
RAYMOND TAYLOR         698 WOODVIEW DR                                                                       HARBOR SPRINGS      MI 49740‐9592
RAYMOND TAYLOR         11909 IDA CENTER RD                                                                   IDA                 MI 48140‐9790
RAYMOND TAYLOR         22 ELMWOOD PARK W                                                                     TONAWANDA           NY 14150‐3315
RAYMOND TAYLOR
RAYMOND TELEGO         27110 JONES LOOP RD UNIT 190                                                          PUNTA GORDA        FL   33982‐2473
RAYMOND TELGARSKY      350 MARKET ST APT 302                                                                 JOHNSTOWN          PA   15901‐1722
RAYMOND TENEYUQUE      4675 ANGEL FALLS CT APT 102                                                           HOLLAND            MI   49424‐7215
RAYMOND TERBURGH       3385 QUICK RD                                                                         HOLLY              MI   48442‐1060
RAYMOND TERESI         77 WOODWARD AVE                                                                       KENMORE            NY   14217‐1517
RAYMOND TERLECKI       3863 TIMOTHY LN                                                                       YOUNGSTOWN         OH   44511‐3321
RAYMOND TERRELL        8763 ALYCE ST                                                                         FRANKLIN           OH   45005‐3203
RAYMOND TERRELL JR     PO BOX 292                                                                            GRATIS             OH   45330‐0292
RAYMOND TESSIER        10455 BALFOUR AVE                                                                     ALLEN PARK         MI   48101‐3803
RAYMOND TESTER         1468 KENNETH ST                                                                       BURTON             MI   48529‐2210
RAYMOND THAYER         122 N HURON RD                                                                        AU GRES            MI   48703‐9615
RAYMOND THELEN         10135 E DAVID HWY                                                                     PEWAMO             MI   48873‐9714
RAYMOND THERIAULT      571 MILL ST                                                                           MILFORD            MI   48381‐2269
RAYMOND THIBAULT       138 SMALL RD                                                                          MASSENA            NY   13662‐3336
RAYMOND THIEKEN        7374 MILLIKIN RD                                                                      LIBERTY TOWNSHIP   OH   45044‐9418
RAYMOND THOMAS         6107 LAKE RD W                                                                        ASHTABULA          OH   44004
RAYMOND THOMAS         144 S COVENTRY DR                                                                     ANDERSON           IN   46012‐3215
RAYMOND THOMAS         2267 MAGIC MANTLE DR                                                                  LEWISVILLE         TX   75056‐5553
RAYMOND THOMAS         7000 E NEVADA ST                                                                      DETROIT            MI   48234‐3001
RAYMOND THOMAS         11821 DWYER ST                                                                        DETROIT            MI   48212‐2519
RAYMOND THOMPSON       C/O BRIGHTON GARDENS BUCKHEAD   3088 LENOX ROAD                                       ATLANTA            GA   30324
RAYMOND THOMPSON       16868 MILL RD                                                                         GEORGETOWN         IL   61846‐6006
RAYMOND THOMPSON       2303 LARCHMONT AVE NE                                                                 WARREN             OH   44483‐2836
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Name                   Address1                        Address2            Address3         Address4         City             State Zip
RAYMOND THOMPSON       2043 FONTAINBLEAU DR                                                                  CONYERS           GA 30094‐4804
RAYMOND THOMPSON       4100 ALPHA ST                                                                         LANSING           MI 48910‐0710
RAYMOND THOMPSON       7441 RIVER RD                                                                         COTTRELLVILLE     MI 48039‐2822
RAYMOND THOMSON        978 ELLISON CT                                                                        AUSTELL           GA 30168‐5402
RAYMOND THREET         13805 LAWRENCE 1155                                                                   MOUNT VERNON      MO 65712‐7427
RAYMOND THURLBY        3960 N GUNNELL RD                                                                     DIMONDALE         MI 48821‐8739
RAYMOND THWEATT        2680 GREENFIELD RD                                                                    BERKLEY           MI 48072‐1053
RAYMOND TIJERINA JR    1218 LAMSON ST                                                                        SAGINAW           MI 48601‐3452
RAYMOND TILTON         2300 SE 174TH CT                                                                      SILVER SPRINGS    FL 34488‐6050
RAYMOND TILTON         1863 S SIXSHOOTER RD                                                                  APACHE JCT        AZ 85219‐9322
RAYMOND TOAL           PO BOX 305                      ELIZABETH ROAD                                        BUNOLA            PA 15020‐0305
RAYMOND TOBIAS         3850 JIM DR                                                                           BRIDGEPORT        MI 48722‐9617
RAYMOND TOBOLA         4900 QUEENS CIR                                                                       GLADWIN           MI 48624‐8225
RAYMOND TODOROFF       32627 LEONA ST                                                                        GARDEN CITY       MI 48135‐3229
RAYMOND TOHM           38031 MATTIX RD                                                                       LISBON            OH 44432‐9731
RAYMOND TOMBAUGH       623 N COLLEGE RD                                                                      MASON             MI 48854‐9544
RAYMOND TOMPKINS       345 GAELIC WAY                                                                        TYRONE            GA 30290‐1866
RAYMOND TOROK          4489 EASTWOOD DR                                                                      SWARTZ CREEK      MI 48473‐8802
RAYMOND TORRANCE JR    PO BOX 902087                                                                         KANSAS CITY       MO 64190‐2087
RAYMOND TORRES         616 S CHARLES ST                                                                      SAGINAW           MI 48602‐2414
RAYMOND TORRES         3940 FERDINAND DR                                                                     PORT HOPE         MI 48468‐9381
RAYMOND TORRES         8211 NOBLE AVE                                                                        PANORAMA CITY     CA 91402‐4509
RAYMOND TORRIE         2447 LINWOOD AVE                                                                      NIAGARA FALLS     NY 14305‐3103
RAYMOND TOTH           250 SHERMAN CT                                                                        ORTONVILLE        MI 48462‐8501
RAYMOND TOVAR          2238 LIPSCOMB ST                                                                      FORT WORTH        TX 76110‐2049
RAYMOND TRABBIC        4649 RYAN RD                                                                          TOLEDO            OH 43614‐3123
RAYMOND TRAMMELL       20051 REVERE ST                                                                       DETROIT           MI 48234‐1774
RAYMOND TRANGENSTEIN   5012 CROFTSHIRE DR                                                                    DAYTON            OH 45440‐2402
RAYMOND TREMPALA       1958 S 28TH ST # A                                                                    MILWAUKEE         WI 53215
RAYMOND TRIPLETT       2957 ROBIN RD                                                                         RIVERSIDE         CA 92506‐1437
RAYMOND TRUDEAU        PO BOX 392                                                                            OLIVET            MI 49076‐0392
RAYMOND TRUEMAN        306 CANTERBURY DR                                                                     HURON             OH 44839‐1492
RAYMOND TRURAN         7598 VENICE HEIGHTS DR NE                                                             WARREN            OH 44484‐1502
RAYMOND TRZCINSKI      PO BOX 211                      9511 JACKMAN RD.                                      TEMPERANCE        MI 48182‐0211
RAYMOND TUCKER         4326 STANTONSBURG RD                                                                  GREENVILLE        NC 27834‐7927
RAYMOND TUCKER         2229 MARYANN PL                                                                       TOLEDO            OH 43614‐2044
RAYMOND TUCKER         1633 DREXEL ST                                                                        DEARBORN          MI 48128‐1107
RAYMOND TUMBRY         36282 WESTFIELD DR                                                                    N RIDGEVILLE      OH 44039‐3840
RAYMOND TURNER         1734 YALTA RD                                                                         BEAVERCREEK       OH 45432‐2351
RAYMOND TURNER         10471 RAWSONWILL RD                                                                   BELLEVILLE        MI 48111
RAYMOND TURNER         509 PATTERSON DR                                                                      COLUMBIA          TN 38401‐5550
RAYMOND TURNER         1734 YALTA                                                                            BEAVERCREEK       OH 45432‐2351
RAYMOND TURPEN         208 W 2ND ST                                                                          ANDERSON          IN 46016‐2206
RAYMOND TYLENDA        16741 JOAN ST                                                                         SOUTHGATE         MI 48195‐2902
RAYMOND TYLER          2572 THORNTON AVE                                                                     FLINT             MI 48504‐2358
RAYMOND TYSON          2951 WELLAND DR                                                                       SAGINAW           MI 48601‐6942
RAYMOND TYTKA          40 VERN LN                                                                            CHEEKTOWAGA       NY 14227‐1340
RAYMOND UHLER          580 BARTS CHURCH RD                                                                   HANOVER           PA 17331‐7705
RAYMOND UNDERWOOD JR   5332 MEADOWOOD DR                                                                     INDIANAPOLIS      IN 45224‐3336
RAYMOND UNGER          1268 HOUSEL CRAFT RD                                                                  BRISTOLVILLE      OH 44402‐9603
RAYMOND UPCHURCH JR    1145 MAGNOLIA DR                                                                      INKSTER           MI 48141‐1791
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Name                   Address1                           Address2                    Address3   Address4         City               State Zip
RAYMOND URANGA         C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY STE 600                               HOUSTON             TX 77007
                       BOUNDAS LLP
RAYMOND URBANEK        422 BAKER AVE                                                                              CLAIRTON           PA   15025‐1304
RAYMOND URICH          303 LOWRIE BLVD                                                                            NORTHFIELD         OH   44067‐1212
RAYMOND USHER          PO BOX 331                                                                                 TONGANOXIE         KS   66086‐0331
RAYMOND UTTER JR       1244 NW 68TH ST                                                                            KANSAS CITY        MO   64118‐2977
RAYMOND V KANNINEN     5442 NONPAREIL RD.                                                                         SUTHERLIN          OR   97479‐4720
RAYMOND VALDEZ         641 RYE AVE                                                                                LA HABRA           CA   90631‐6736
RAYMOND VALENTINE      6408 CHURCH ST                                                                             MARLETTE           MI   48453‐1315
RAYMOND VAN PELT       PO BOX 337                                                                                 EATON              IN   47338‐0337
RAYMOND VAN SICKLE     6211 W. WORTHWEST HWY. 1706                                                                DALLAS             TX   75214
RAYMOND VAN WINKLE     PO BOX 1000                        WARD 21C                                                CHATTAHOOCHEE      FL   32324‐1000
RAYMOND VANASSE        13120 CASTLE HARBOUR DR UNIT A10                                                           NAPLES             FL   34110
RAYMOND VANBELKUM      22 COBBLESTONE BLVD                                                                        GAS CITY           IN   46933‐1651
RAYMOND VANCLEAVE      1484 HOLLYWOOD ST NE                                                                       WARREN             OH   44483‐4154
RAYMOND VANDAN         W7432 COUNTY ROAD X                                                                        DELAVAN            WI   53115‐3156
RAYMOND VANEEKHOUTTE   2123 WOOD RD                                                                               ERIE               MI   48133‐9725
RAYMOND VANHECKE       8222 GREEN VALLEY DR                                                                       GRAND BLANC        MI   48439‐8148
RAYMOND VANHOOK        606 EDENBURG DR                                                                            COLUMBIA           TN   38401‐5206
RAYMOND VANMULLEKOM    3363 WILDER RD                                                                             BAY CITY           MI   48706‐2363
RAYMOND VANN           21828 N BEN GEORGE RD                                                                      TAHLEQUAH          OK   74464‐8404
RAYMOND VARGO          50561 MAURICE RD                                                                           CHESTERFIELD       MI   48047‐3749
RAYMOND VASQUEZ        21454 EDWARDS DR                                                                           EASTON             KS   66020‐7298
RAYMOND VAUGHN         1690 MCALPINE DR                                                                           MOUNT MORRIS       MI   48458‐2357
RAYMOND VAUGHN JR      2637 ELIZABETH DR SW                                                                       WARREN             OH   44481‐9621
RAYMOND VEERKAMP       6445 PHEASANT CT                                                                           INDIANAPOLIS       IN   46237‐2961
RAYMOND VEGA JR        105 PARKDALE AVE                                                                           PONTIAC            MI   48340‐2549
RAYMOND VELASQUEZ      7617 JARBOE ST                                                                             KANSAS CITY        MO   64114‐1663
RAYMOND VELASQUEZ      12860 RIDGE RD                                                                             NORTH HUNTINGDON   PA   15642‐2968
RAYMOND VELAZQUEZ      7014 GRENADIER CT                                                                          SHELBY TOWNSHIP    MI   48317‐4222
RAYMOND VICKERS JR     7347 SALEM RD                                                                              LEWISBURG          OH   45338‐7701
RAYMOND VILLEGAS JR    701 DRAHNER ST                                                                             EATON RAPIDS       MI   48827‐2010
RAYMOND VIOLANTE SR    27 DILLON ST                                                                               WORCESTER          MA   01604‐4505
RAYMOND VOLKMANN       1150 E RANDVILLE DR UNIT 1H                                                                PALATINE           IL   60074‐2920
RAYMOND VON ITTER      34926 PARTRIDGE XING                                                                       RICHMOND           MI   48062‐5527
RAYMOND VROMAN         PO BOX 316                                                                                 VICTOR             NY   14564‐0316
RAYMOND VYBIRAL        11726 HIGHBANK LN                                                                          SURING             WI   54174‐9271
RAYMOND W AKERS        540 MIDDLE ST P O BOX 202                                                                  POLK               OH   44866‐0202
RAYMOND W BAKER JR     C/O BRAYTON PURCELL                222 RUSH LANDING RD                                     NOVATO             CA   94948‐6169
RAYMOND W BIRCH 3D     1640 PRIMROSE AVE                                                                          TOLEDO             OH   43612‐4062
RAYMOND W DIAL         11236 OAKWOOD DR                                                                           BYRON              MI   48418‐8601
RAYMOND W HECKROTH     1401 W JANE ST APT C                                                                       BAY CITY           MI   48706‐2956
RAYMOND W KRAMER       1710 W 101ST ST                                                                            CHICAGO            IL   60643‐2139
RAYMOND W LAMPKE       70 ALYS DRIVE EAST                                                                         DEPEW              NY   14043‐1420
RAYMOND W SARGENT      13050 FM 2010                                                                              CHANDLER           TX   75758‐6826
RAYMOND W SMITH        C/O WILLIAMS KHERKHER HART &       8441 GULF FREEWAY           STE 600                     HOUSTON            TX   77007
                       BOUNDAS L L P
RAYMOND W VENNITTI     1726 LAURA LN                                                                              MINERAL RIDGE      OH   44440
RAYMOND WACEK          5766 BINGHAM DR                                                                            TROY               MI   48085‐3843
RAYMOND WACHOWIAK      89 WHITNEY PL                                                                              CHEEKTOWAGA        NY   14227‐2552
RAYMOND WACHOWSKI      9201 ALLEN RD                                                                              CLARKSTON          MI   48348‐2726
RAYMOND WAECHTER       6121 LAKE WALDON DR                                                                        CLARKSTON          MI   48346‐2292
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Name                  Address1                             Address2                       Address3      Address4         City             State Zip
RAYMOND WAGGONER      7075 E ANN ST                                                                                      MORRISTOWN        IN 46161‐9783
RAYMOND WAGNER        807 N SELTZER ST                                                                                   CRESTLINE         OH 44827‐1043
RAYMOND WAGNER        8459 ADAMS RD                                                                                      ELWELL            MI 48832‐9752
RAYMOND WAHLER        9401 ELAINE DR                                                                                     SWARTZ CREEK      MI 48473‐8556
RAYMOND WAIBEL        323 OAKES RD                                                                                       BROADVIEW HTS     OH 44147‐3128
RAYMOND WAITE         6046 PINEDALE DR                                                                                   TOLEDO            OH 43613‐5626
RAYMOND WAKAT         2240 RICHWOOD RD                                                                                   AUBURN HILLS      MI 48326‐2528
RAYMOND WALEK         444 DAVISON RD                                                                                     LOCKPORT          NY 14094‐4026
RAYMOND WALKER        1212 W MAPLE ST                                                                                    KOKOMO            IN 46901‐5270
RAYMOND WALKER        650 N KERBY RD                                                                                     CORUNNA           MI 48817‐9702
RAYMOND WALKER        5242 EDMONDSON PIKE APT 305                                                                        NASHVILLE         TN 37211‐5836
RAYMOND WALKER        C/O COONEY AND CONWAY                120 NORTH LASALLE 30TH FLOOR                                  CHICAGO            IL 60602
RAYMOND WALKER        MOTLEY RICE LLC                      28 BRIDGESIDE BLVD             PO BOX 1792                    MOUNT PLEASANT    SC 29465
RAYMOND WALLACE       131 SE PARADISE PL                                                                                 STUART            FL 34997‐7327
RAYMOND WALLACE       8028 SW SACAJAWEA WAY                                                                              WILSONVILLE       OR 97070‐6427
RAYMOND WALLER        45 PRIVATE DRIVE 5713                                                                              IRONTON           OH 45638‐8866
RAYMOND WALTER        2483 DAM RD                                                                                        WEST BRANCH       MI 48661
RAYMOND WALTER        718 SUNSET LN                                                                                      O FALLON          MO 63366‐2278
RAYMOND WALTERS       1375 SIOUX DR                                                                                      XENIA             OH 45385‐4232
RAYMOND WALTERS       33708 COLFAX DR                                                                                    STERLING HTS      MI 48310‐6047
RAYMOND WALTON        229 BLAINE AVE                                                                                     BUFFALO           NY 14208‐1019
RAYMOND WANTTAJA      28235 TOWNLEY ST                                                                                   MADISON HTS       MI 48071‐2846
RAYMOND WARD          360 HACKLESHIN RD                                                                                  PEEBLES           OH 45660‐9724
RAYMOND WARD          3571 WATERFORD RD                                                                                  NEW WATERFORD     OH 44445‐9738
RAYMOND WARD          1007 E BOGART RD APT 10D                                                                           SANDUSKY          OH 44870‐6412
RAYMOND WARD          8443 BERKSHIRE DR                                                                                  YPSILANTI         MI 48198‐3640
RAYMOND WARD          C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                     HOUSTON           TX 77007
                      BOUNDAS LLP
RAYMOND WARE          21280 LASHER APT.#201                                                                              SOUTHFIELD       MI   48033
RAYMOND WARGEL        3463 PARKLAND AVE SW                                                                               WYOMING          MI   49509‐3435
RAYMOND WARNER        8990 VALLEY RD NW                                                                                  RAPID CITY       MI   49676‐8509
RAYMOND WARREN        21247 HAMILTON AVE                                                                                 FARMINGTN HLS    MI   48336‐5837
RAYMOND WASHINGTON    1647 MIDDLEWAY PIKE                                                                                BUNKER HILL      WV   25413‐3533
RAYMOND WASHINGTON    THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES              22ND FLOOR                     BALTIMORE        MD   21201

RAYMOND WASILEWSKI    258 JUDITH DR                                                                                      STORMVILLE       NY   12582‐5262
RAYMOND WATKINS       34 W MCKINLEY ST                                                                                   BROOKVILLE       OH   45309‐1607
RAYMOND WATSON        295 ADAMS CT                                                                                       FERNDALE         MI   48220‐2423
RAYMOND WATSON        BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGHTS   OH   44236
RAYMOND WEAD          2 BRUMBAUGH ST                       C/O DARLA BOURNE                                              ARCANUM          OH   45304‐1206
RAYMOND WEATHERFORD   38 W MAIN ST                                                                                       BROWNSBURG       IN   46112‐1242
RAYMOND WEATHERS      413 6TH AVE                                                                                        COLUMBIA         TN   38401‐2827
RAYMOND WEAVER        4798 1ST ST                                                                                        BARRYTON         MI   49305‐9524
RAYMOND WEAVER        5745 TOWNLINE RD                                                                                   BIRCH RUN        MI   48415‐9005
RAYMOND WEBB          330 MONTGOMERY RD                                                                                  RISING SUN       MD   21911‐2102
RAYMOND WEBER         102 HILL AVE                                                                                       CARNEGIE         PA   15106‐3007
RAYMOND WEBSTER JR    37 HILL ST                                                                                         LOCKPORT         NY   14094‐2226
RAYMOND WEDDING       805 N STATE RD                                                                                     OWOSSO           MI   48867‐9034
RAYMOND WEGHER        507 DANIEL AVE                                                                                     FLUSHING         MI   48433‐1314
RAYMOND WEIER         6605 FLETCHER RD SE                                                                                FIFE LAKE        MI   49633‐9439
RAYMOND WEINZERL      433 BRIARWOOD LN                                                                                   WENTZVILLE       MO   63385‐2745
RAYMOND WEIRICH       2055 E BOCOCK RD                                                                                   MARION           IN   46952‐8799
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RAYMOND WEISBRODT      3838 EILEEN RD                                                                                      KETTERING          OH 45429‐4108
RAYMOND WEISMILLER     BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH 44236
RAYMOND WELCH          3925 S VANDECAR RD                                                                                  MT PLEASANT        MI 48858‐8099
RAYMOND WELDIN         110 MARYLAND AVE, WESTVIEW                                                                          WILMINGTON         DE 19804
RAYMOND WELKER         5200 LAKEWOOD TER                   APT 108                                                         IMPERIAL           MO 63052‐4038
RAYMOND WENDLING       19204 BUECHE RD                                                                                     NEW LOTHROP        MI 48460‐9643
RAYMOND WENTZ          4819 E 176TH ST                                                                                     CLEVELAND          OH 44128‐3937
RAYMOND WERBE          33827 COACHWOOD DR                                                                                  STERLING HTS       MI 48312‐6515
RAYMOND WERNER         15309 STEPHENS DR                                                                                   EAST DETROIT       MI 48021‐1563
RAYMOND WERTH          2433 S STEWART RD                                                                                   CHARLOTTE          MI 48813‐9310
RAYMOND WERWINSKI JR   25 HONEYBEE LN                                                                                      AMHERST            NY 14228‐2800
RAYMOND WESCOAT        PO BOX 215                                                                                          OTTER LAKE         MI 48464‐0215
RAYMOND WESLEY         202 RAINBOW DR PMB 10281                                                                            LIVINGSTON         TX 77399‐2002
RAYMOND WESS           5260 SUMMERFIELD DR                                                                                 IMPERIAL           MO 63052‐2110
RAYMOND WEST JR        PO BOX 212                                                                                          EATON RAPIDS       MI 48827‐0212
RAYMOND WESTBROOK      13800 FREEMANVILLE RD                                                                               ALPHARETTA         GA 30004‐3555
RAYMOND WESTPHAL       W148N7515 WOODLAND DR                                                                               MENOMONEE FALLS    WI 53051‐4521
RAYMOND WESTRICK       1808 AYERSVILLE AVE                                                                                 DEFIANCE           OH 43512‐3611
RAYMOND WETHERBEE      1031 E HOFFMAN ST                                                                                   THREE RIVERS       MI 49093‐1017
RAYMOND WEXLER         1021 COLFAX ST                                                                                      EVANSTON            IL 60201‐2608
RAYMOND WEXLER         1021 COLFAX                                                                                         EVANSTON, IL        IL 60220
RAYMOND WHALEY         PO BOX 163                                                                                          SIDELL              IL 61876‐0163
RAYMOND WHATMAN        206 KELLY AVE                                                                                       BELLVILLE          OH 44813‐1124
RAYMOND WHEELER        3441 BRIAN RD S                                                                                     PALM HARBOR        FL 34685‐2108
RAYMOND WHEELOCK       238 ONEIDA ST                                                                                       PONTIAC            MI 48341‐1629
RAYMOND WHETZEL        3357 HUNTERS TRL UNIT B                                                                             CORTLAND           OH 44410‐9135
RAYMOND WHIPPLE        367 MIDFOREST LDG                                                                                   PRUDENVILLE        MI 48651‐8430
RAYMOND WHISMAN        5444 MISSISSIPPI DR                                                                                 FAIRFIELD          OH 45014‐2416
RAYMOND WHITAKER       4 SPRING LAKE LN                                                                                    OCALA              FL 34472‐2724
RAYMOND WHITE          1031 S TAXIWAY FOXTROT                                                                              LAKE CITY          MI 49651‐9205
RAYMOND WHITE          23094 PARK PLACE DR                                                                                 SOUTHFIELD         MI 48033‐2663
RAYMOND WHITE          6572 W STATE ROAD 14                                                                                ROCHESTER          IN 46975‐7905
RAYMOND WHITFORD       733 DRYER FARM RD                                                                                   LANSING            MI 48917‐2345
RAYMOND WHITMIRE       NIX PATTERSON & ROACH LLP           GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD       TX 75638
RAYMOND WHITTAKER      5132 PARK LAKE RD                                                                                   EAST LANSING       MI 48823‐3885
RAYMOND WHITTING       PO BOX 181                                                                                          SAULT S MARIE      MI 49783‐0181
RAYMOND WHITTINGTON    11312 16TH RD SW                                                                                    STOUTSVILLE        OH 43154‐9793
RAYMOND WIEDEMAN       2850 US HIGHWAY 67                                                                                  FESTUS             MO 63028‐3656
RAYMOND WIGGINS        1199 NEAFIE AVE                                                                                     PONTIAC            MI 48342‐1966
RAYMOND WIIK           4041 GRANGE HALL RD LOT 56                                                                          HOLLY              MI 48442‐1920
RAYMOND WILDER         32100 S RIVER RD                                                                                    SELFRIDGE ANGB     MI 48045‐1898
RAYMOND WILDEY         1730 ROODS LAKE RD                                                                                  LAPEER             MI 48446‐8322
RAYMOND WILHOITE       10833 N 23RD ST                                                                                     ELWOOD             IN 46036‐9006
RAYMOND WILKEVICH      411 N NORTH SHORE DR                                                                                LAKE ORION         MI 48362‐3064
RAYMOND WILLIAMS       20765 QUARRY RD                                                                                     WELLINGTON         OH 44090‐9785
RAYMOND WILLIAMS       8757 HOWLAND SPRINGS RD SE                                                                          WARREN             OH 44484‐3125
RAYMOND WILLIAMS       980 N HOPEWELL RD                                                                                   FRANKLIN           IN 46131‐7983
RAYMOND WILLIAMS       3535 N EDGEWOOD DR                                                                                  JANESVILLE         WI 53545‐9020
RAYMOND WILLIAMS       1404 ARMSTRONG DR                                                                                   DESOTO             TX 75115‐2976
RAYMOND WILLIAMS       90 CARR ST                                                                                          PONTIAC            MI 48342‐1709
RAYMOND WILLIAMS       874 WHISPERING WINDSONG DR                                                                          O FALLON           MO 63366‐3162
RAYMOND WILLIAMS       C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH 44236
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RAYMOND WILLIAMS III   5479 VINCENT AVE                                                                       WATERFORD         MI 48327
RAYMOND WILLIAMSON     356 TANNER FARM DR                                                                     ROCKMART          GA 30153‐6829
RAYMOND WILLIAMSON     CASCINO MICHAEL P                  220 SOUTH ASHLAND AVE                               CHICAGO            IL 60607
RAYMOND WILLIS         6325 HIGHWAY Z                                                                         HOUSTON           MO 65483‐2224
RAYMOND WILLIS         201 N GILBERT ST                                                                       INDEPENDENCE      MO 64056‐1651
RAYMOND WILLIS         9181 SPRINGWOOD CT                                                                     HOWELL            MI 48843‐6119
RAYMOND WILLIS JR      215 N MERRILL ST                                                                       FORTVILLE         IN 46040‐1227
RAYMOND WILSON         2229 CLIFTON SPRING M.                                                                 DECATUR           GA 30034
RAYMOND WILSON         10229 VAN VLEET RD                                                                     GAINES            MI 48436‐9780
RAYMOND WILSON         PO BOX 347                                                                             WATERS            MI 49797‐0347
RAYMOND WILSON         7169 RIEGLER ST                                                                        GRAND BLANC       MI 48439‐8516
RAYMOND WILSON         410 E FLINT PARK BLVD                                                                  FLINT             MI 48505‐3444
RAYMOND WILSON         2037W. CLARENCE RD                                                                     HARRISON          MI 48625
RAYMOND WILSON         12061 N HOLLY RD                                                                       HOLLY             MI 48442‐9498
RAYMOND WILSON         708 E LUCIUS AVE                                                                       YOUNGSTOWN        OH 44502‐2436
RAYMOND WILSON JR      3083 OAKRIDGE CT                                                                       LAKE ORION        MI 48360‐1732
RAYMOND WING           5712 WOOD VALLEY DR                                                                    HASLETT           MI 48840‐9786
RAYMOND WINKELMAN      5084 CASS ELIZABETH RD                                                                 WATERFORD         MI 48327‐3221
RAYMOND WINN           6207 W BRADEN RD                                                                       PERRY             MI 48872‐9124
RAYMOND WINSTON        9104 SUNSET RIDGE RD                                                                   RANDALLSTOWN      MD 21133‐3600
RAYMOND WINTERS        302 SLEEPER                        PO BOX 734                                          CHARLOTTE         MI 48813‐8429
RAYMOND WISE           89 MEADOW CREEK EAST BLVD                                                              WHITELAND         IN 46184‐9691
RAYMOND WITHERITE      6234 DALE RD                                                                           NEWFANE           NY 14108‐9716
RAYMOND WITTEN         82 MARY STAFFORD LN                                                                    FLINT             MI 48507‐4252
RAYMOND WITTICH        14306 DETROIT AVE APT 434                                                              LAKEWOOD          OH 44107‐4459
RAYMOND WITTUM         134 PARKWAY DR                                                                         DAVISON           MI 48423‐9138
RAYMOND WLODARSKI      1034 HAWK ST                                                                           TOLEDO            OH 43612‐2815
RAYMOND WOHLSCHEID     5060 CLARK RD                                                                          BATH              MI 48808‐9756
RAYMOND WOJDACKI JR    3458 LANDVIEW DR                                                                       ROCHESTER         MI 48306‐1155
RAYMOND WOJEWODA       12160 SANDERS DR                                                                       FREELAND          MI 48623‐9535
RAYMOND WOLAK          1722 COUNTRY MEADOWS DR                                                                SEVIERVILLE       TN 37862‐9350
RAYMOND WOLF           11710 WIND HOLLOW CT                                                                   TOLAR             TX 76476‐5085
RAYMOND WOLF JR        34822 PHYLLIS ST                                                                       WAYNE             MI 48184‐2463
RAYMOND WOLFE          1400 LAKEVIEW CT                                                                       RICHMOND          IN 47374‐1791
RAYMOND WOMACK         10460 LANELL WOODS RD                                                                  FESTUS            MO 63028‐5507
RAYMOND WOOD           4231 ASBURY DR                                                                         TOLEDO            OH 43612‐1805
RAYMOND WOOD           50 CLINE DR                                                                            MASSENA           NY 13662‐3133
RAYMOND WOODBURY
RAYMOND WOODS
RAYMOND WOODS          2212 SW 43RD LN                                                                        CAPE CORAL       FL   33914‐3513
RAYMOND WOODS          1023 DEER CHASE                                                                        STONE MOUNTAIN   GA   30088‐2403
RAYMOND WOODS          3313 CHELSEA DR                                                                        CLEVELAND HTS    OH   44118‐1321
RAYMOND WOODS          5375 OLEKSYN RD                                                                        FLINT            MI   48504‐1015
RAYMOND WOODS JR       900 MARTIN LUTHER KING JR BLVD S                                                       PONTIAC          MI   48341
RAYMOND WOODS JR.      108 COVE POINT WAY                                                                     PERRYVILLE       MD   21903‐2566
RAYMOND WOOLUMS        512 S HOLT RD                                                                          INDIANAPOLIS     IN   46241‐1520
RAYMOND WORDEN         96 S PEARL ST                                                                          HAGERSTOWN       IN   47346‐1515
RAYMOND WORDEN JR      44 MYRICK ST                                                                           WHITE LAKE       MI   48386‐2442
RAYMOND WORKMAN JR     304 EAST ASH, BOX 56                                                                   CONTINENTAL      OH   45831
RAYMOND WORLEY         6211 BROADBRIDGE RD                                                                    COTTRELLVILLE    MI   48039‐2604
RAYMOND WORMSLEY       3724 CHOICE CT                                                                         YOUNGSTOWN       OH   44505‐4380
RAYMOND WORTH          5855 RUPPRECHT RD                                                                      VASSAR           MI   48768‐9261
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Name                              Address1                           Address2                     Address3   Address4         City            State Zip
RAYMOND WOZNIAK                   BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
RAYMOND WOZNY                     14749 LUTZ AVE                                                                              WARREN           MI 48088‐2045
RAYMOND WRIGHT                    1106 MCCORMICK DR                                                                           FENTON           MI 48430‐1507
RAYMOND WRITESMAN                 33428 SKEINE LN                                                                             WARSAW           MO 65355‐4771
RAYMOND WUNDER                    PO BOX 34                                                                                   SYRACUSE         NY 13211‐0034
RAYMOND YAKLIN                    2460 MEADOWBROOK LN                                                                         CLIO             MI 48420‐1950
RAYMOND YANEZ                     2804 TRINITY OAKS DR APT 160                                                                ARLINGTON        TX 76006‐2221
RAYMOND YANKEE                    3209 PLANTATION TRL                                                                         FORT WAYNE       IN 46818‐9405
RAYMOND YARBROUGH                 1725 COUNTY ROAD 309                                                                        EASTLAND         TX 76448‐6501
RAYMOND YAWORSKI                  5263 LAGRANT RD                                                                             STERLING         MI 48659‐9623
RAYMOND YERKA                     15806 WICK RD                                                                               ALLEN PARK       MI 48101‐1537
RAYMOND YOUNCE                    4020 E 4TH ST                                                                               DAYTON           OH 45403‐2838
RAYMOND YOUNG                     2311 CALVERTON HEIGHTS AVE                                                                  BALTIMORE        MD 21216‐4810
RAYMOND YOUNG                     3085 N GENESEE RD APT 323                                                                   FLINT            MI 48506‐2194
RAYMOND YOUNG                     10204 ELLERBE RD                                                                            SHREVEPORT       LA 71106‐7454
RAYMOND YOUNG
RAYMOND YOUNGERMAN                7321 WINDSOR RIDGE DR                                                                       HUBER HEIGHTS   OH    45424‐7307
RAYMOND YOUNGMAN                  8101 IRWIN ST NE                                                                            ALBUQUERQUE     NM    87109‐5209
RAYMOND YOUNGS                    841 LEA CASTLE PL                                                                           MIAMISBURG      OH    45342‐2024
RAYMOND ZACCARINO                 37 NECK HILL RD                                                                             MENDON          MA    01756‐1129
RAYMOND ZACH                      CASCINO MICHAEL P                  220 SOUTH ASHLAND AVE                                    CHICAGO          IL   60607
RAYMOND ZACHARY & BARBARA ZACHARY 17519 MAPLE AVE                                                                             LANSING          IL   60438

RAYMOND ZACK                        17135 SCARBOROUGH DR                                                                      MACOMB          MI    48044‐3363
RAYMOND ZAMORA                      1736 10TH ST                                                                              DETROIT         MI    48216‐1905
RAYMOND ZAMORA                      3353 FLAMINGO DR                                                                          SAGINAW         MI    48601‐5758
RAYMOND ZAMORA                      18180 SW SANDRA LN                                                                        BEAVERTON       OR    97006‐3833
RAYMOND ZAPALAC                     14472 FM 744                                                                              BARRY           TX    75102‐4336
RAYMOND ZASTROW                     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH    44236
RAYMOND ZATIRKA                     11539 WILSON AVE                                                                          BELLEVILLE      MI    48111‐2427
RAYMOND ZAVATCHAN                   1313 KIRK ST                                                                              CONNELLSVILLE   PA    15425‐3836
RAYMOND ZBICIAK                     2358 BLARNEY DR                                                                           DAVISON         MI    48423‐9503
RAYMOND ZEHLER                      900 MORMAN RD                                                                             HAMILTON        OH    45013‐4358
RAYMOND ZEITLER                     620 DEL NORTE ST                                                                          FOUNTAIN        CO    80817‐1720
RAYMOND ZELINSKI                    15388 MASONIC                                                                             FRASER          MI    48026‐3614
RAYMOND ZEMAITIS                    17007 8TH AVE                                                                             MARNE           MI    49435‐9617
RAYMOND ZIELINSKI                   208 MIMOSA AVE                                                                            SWANSEA         IL    62226‐1832
RAYMOND ZIELINSKI JR                141 AMBER ST                                                                              BUFFALO         NY    14220‐1861
RAYMOND ZIENTARA                    1400 HOGAN RD                                                                             WEBSTER         NY    14580‐9310
RAYMOND ZIGAN                       PO BOX 1183                      404 SUMMIT AVE                                           LEWISTOWN       MT    59457‐1183
RAYMOND ZINK                        5191 WOODHAVEN CT APT 716                                                                 FLINT           MI    48532‐4189
RAYMOND ZINKIEWICZ                  1331 ASHLAND AVE                                                                          DAYTON          OH    45420‐1505
RAYMOND ZIPPEL                      2720 EAGLE ST                                                                             JACKSONVILLE    FL    32216‐5424
RAYMOND ZITELLA                     C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH    44236
RAYMOND ZWIERZCHOWSKI               30601 HIDDEN PINES LN                                                                     ROSEVILLE       MI    48066‐7301
RAYMOND, ALAN A                     PO BOX 4231                                                                               BUFFALO         NY    14217‐0432
RAYMOND, ALAN P                     8097 MIDDLE RD                                                                            SPRINGVILLE     NY    14141‐9763
RAYMOND, ALFRED                     10635 ABISKO DR                                                                           WHITTIER        CA    90604‐2404
RAYMOND, ALICE M                    PO BOX 62                                                                                 WAYNE           MI    48184‐0062
RAYMOND, ARTHUR A                   3052 NAVARRE BLVD                                                                         MONROE          MI    48162‐4925
RAYMOND, ARTHUR ANTHONY             3052 NAVARRE BLVD                                                                         MONROE          MI    48162‐4925
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Name                    Address1                        Address2                            Address3                  Address4         City               State Zip
RAYMOND, ARTHUR E       GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                                     EDWARDSVILLE         IL 62025‐0959
                        ANTOGNOLI
RAYMOND, ARTHUR J       1731 KILBURN RD N                                                                                              ROCHESTER HILLS    MI   48306‐3033
RAYMOND, ARTHUR R       10101 CANADA RD                                                                                                BIRCH RUN          MI   48415‐9217
RAYMOND, BARBARA        5135 SOUTH 2150 W                                                                                              ROY                UT   84067‐3418
RAYMOND, BARBARA        5135 S 2150 W                                                                                                  ROY                UT   84067‐3418
RAYMOND, BARBARA J      72 RIVERVIEW DR                                                                                                LAPEER             MI   48446‐7631
RAYMOND, BERNARD J      6101 FOSTORIA RD                                                                                               OTTER LAKE         MI   48464‐9783
RAYMOND, BEVERLY        1396 LINKWOOD LN                                                                                               DECATUR            GA   30033‐3329
RAYMOND, BRIAN J        11374 BALFOUR DR                                                                                               FENTON             MI   48430‐9058
RAYMOND, BRUCE A        12131 W CORUNNA RD                                                                                             LENNON             MI   48449‐9710
RAYMOND, CARLEE         14706 E 22ND AVE                                                                                               SPOKANE VALLEY     WA   99037‐9327
RAYMOND, CHERI A        13596 KENYON RD                                                                                                GRAND LEDGE        MI   48837‐9733
RAYMOND, CHESTER F      33725 HIVELEY ST                                                                                               WESTLAND           MI   48186‐4588
RAYMOND, CHRISTOPHER    822 BUTLER ST                                                                                                  CHESTER            PA   19013‐3723
RAYMOND, CLIFFORD J     31021 HUNTERS WHIP LN                                                                                          FARMINGTON HILLS   MI   48331
RAYMOND, CYNTHIA A      29455 WALNUT ST                                                                                                FLAT ROCK          MI   48134‐2732
RAYMOND, CYNTHIA L      273 EWINGVILLE RD                                                                                              EWING              NJ   08638‐1811
RAYMOND, DALE D         1396 LINKWOOD LN                                                                                               DECATUR            GA   30033‐3329
RAYMOND, DANIEL J       5261 HIGHLAND RD 112                                                                                           WATERFORD          MI   48327
RAYMOND, DAVID J        3515 STOLZENFELD AVE                                                                                           WARREN             MI   48091
RAYMOND, DEBORAH JANE   33329 NAVIN CT                                                                                                 LIVONIA            MI   48152‐1886
RAYMOND, DEBORAH S      PO BOX 322                                                                                                     GRAND LEDGE        MI   48837‐0322
RAYMOND, DEBRA L        2036 ELLIOTT ST                                                                                                HOLT               MI   48842‐1432
RAYMOND, DOLLY A        1908 TURNING WHEEL LN                                                                                          FRANKLIN           TN   37067‐8641
RAYMOND, DONALD W       12258 W CORUNNA RD                                                                                             LENNON             MI   48449‐9710
RAYMOND, DORIS V        9731 REX ST                                                                                                    HUDSON             FL   34669‐3881
RAYMOND, DORIS V        9731 REX STREET                                                                                                HUDSON             FL   34669‐3881
RAYMOND, DUAINE O       8743 BUNTON RD                                                                                                 WILLIS             MI   48191‐9618
RAYMOND, DUANE G        3671 WILDWOOD RD                                                                                               HOLLY              MI   48442‐8813
RAYMOND, ELIJAH         629 1/2W 85TH STREET                                                                                           LOS ANGELES        CA   90044
RAYMOND, ELIZABETH A    866 TYLER RD                                                                                                   LENNON             MI   48449‐9309
RAYMOND, ELIZABETH C    1515 LITTLE REFUGE ROAD                                                                                        WALESKA            GA   30183‐3029
RAYMOND, ENIS           2224 UNION PLACE CT                                                                                            COLUMBIA           TN   38401‐5827
RAYMOND, ERICKA L       6370 W 442 N                                                                                                   HUNTINGTON         IN   46750‐8924
RAYMOND, EUGENE P       1571 E CODY ESTEY RD                                                                                           PINCONNING         MI   48650‐8489
RAYMOND, EVELYN A       94 DIVINITY ST                                                                                                 BRISTOL            CT   06010‐6004
RAYMOND, FRANKLIN C     28 SASSAFRAS LN                                                                                                MONMOUTH JCT       NJ   08852‐2029
RAYMOND, GARRY L        5811 STERLING GREEN TRL                                                                                        ARLINGTON          TX   76017‐4225
RAYMOND, GARY A         8952 GORDON RD                                                                                                 PARMA              MI   49269‐9632
RAYMOND, GARY L         PO BOX 162                                                                                                     EAGLE              MI   48822‐0162
RAYMOND, GENEVIEVE E    140 MAPLE VIEW CT                                                                                              HEMLOCK            MI   48626‐9419
RAYMOND, GEORGE         1314 OLD HICKORY LN                                                                                            FOREST             VA   24551‐3833
RAYMOND, GEORGE         ATTN LYNNE KIZIS ESQ            WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                    WOODBRIDGE         NJ   07095

RAYMOND, GEORGE         WILENTZ GOLDMAN & SPITZER       88 PINE STREET, WALL STREET PLAZA                                              NEW YORK           NY 10005

RAYMOND, GERALD L       5824 RODESILER HWY                                                                                             BLISSFIELD         MI   49228‐9570
RAYMOND, GERALDINE A    44805 N HILLS DR APT M128                                                                                      NORTHVILLE         MI   48167‐6143
RAYMOND, GLADYS         51 HENRY CIRCLE                                                                                                HOWELL             NJ   07731
RAYMOND, GLORIA R       473 LILLIAN AVE                                                                                                SYRACUSE           NY   13206‐2160
RAYMOND, GODFREY J      5555 MOTHER LODE DR                                                                                            PLACERVILLE        CA   95667‐8231
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Name                     Address1                       Address2                      Address3   Address4         City            State Zip
RAYMOND, GREGORY S       945 S FENNER RD                                                                          CARO             MI 48723‐9647
RAYMOND, HARLAN W        606 W FITZGERALD                                                                         DURAND           MI 48429
RAYMOND, HARRY A         12302 CREEKSIDE DR                                                                       CLIO             MI 48420‐8227
RAYMOND, HELEN           64 CYPRESS                                                                               BRISTOL          CT 06010‐3538
RAYMOND, HELEN           64 CYPRESS ST                                                                            BRISTOL          CT 06010‐3538
RAYMOND, HENRY O         11392 COONTZ RD                                                                          ORIENT           OH 43146‐9715
RAYMOND, JACK            3043 LANGLEY RD                                                                          UNIONTOWN        PA 15401‐6885
RAYMOND, JAMES H         6575 SUNNYSIDE DR                                                                        LEESBURG         FL 34748‐9537
RAYMOND, JAMES L         1028 DUNROBIN DRIVE                                                                      FRANKLIN         TN 37067‐5699
RAYMOND, JEFFREY         4648 DUGGER RD                                                                           CULLEOKA         TN 38451‐3131
RAYMOND, JENNIE L        1327 E HURD RD                                                                           CLIO             MI 48420‐7926
RAYMOND, JEREMY NATHAN   14243 HOLLY BERRY CIR                                                                    FISHERS          IN 46038
RAYMOND, JERRY E         1123 1ST AVE                                                                             LAKE ODESSA      MI 48849‐1116
RAYMOND, JOAN            640 E ARMOUR BLVD APT 302                                                                KANSAS CITY      MO 64109‐2252
RAYMOND, JOAN C          1149 CHANDLER OAKS DR                                                                    JACKSONVILLE     FL 32221‐1355
RAYMOND, JOANNE J        109 PRESIDIO PL                                                                          WILLIAMSVILLE    NY 14221‐3755
RAYMOND, JOHN C          57147 PULVER RD                                                                          THREE RIVERS     MI 49093‐9702
RAYMOND, JOHN F          6088 WALMORE RD                                                                          SANBORN          NY 14132‐9340
RAYMOND, JOHN P          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                        STREET, SUITE 600
RAYMOND, JOHN S          198 COUNTY ROAD 3405                                                                     JOAQUIN          TX   75954‐5740
RAYMOND, JOSEPH
RAYMOND, JOSEPH A        6417 ROYAL OAKS DR                                                                       FREDERICKSBRG   VA    22407‐6349
RAYMOND, JOSEPH D        13736 BIRCH TREE WAY                                                                     SHELBY TWP      MI    48315‐6000
RAYMOND, JOSEPH D        1277 KATRINA DR SE                                                                       KENTWOOD        MI    49508‐6138
RAYMOND, JOSEPH R        28204 SPEIDEL RD                                                                         E ROCHESTER     OH    44625‐9764
RAYMOND, JOYCE R         6924 LESLIE ST                                                                           HALE            MI    48739‐9530
RAYMOND, JUANITA M       1046 MILLVILLE RD                                                                        LAPEER          MI    48446‐1109
RAYMOND, KEITH E         1820 HOLLIDAY DR SW                                                                      WYOMING         MI    49519‐4231
RAYMOND, KELLY L         APT 303                        251 DANIEL BURNHAM SQUARE                                 COLUMBUS        OH    43215‐2683
RAYMOND, KENNETH D       11379 SHAFTSBURG RD                                                                      LAINGSBURG      MI    48848‐9732
RAYMOND, LAMARR C        2374 OCCIDENTAL HWY                                                                      ADRIAN          MI    49221‐9504
RAYMOND, LARRY E         1350 FLUSHING RD                                                                         FLUSHING        MI    48433‐2295
RAYMOND, LARRY J         116 RENFREW AVE                                                                          MOUNT MORRIS    MI    48458‐8894
RAYMOND, LARRY L         3338 SOUTHGATE DR                                                                        FLINT           MI    48507‐3219
RAYMOND, LEO V           143 E STATE ST                                                                           MONTROSE        MI    48457‐9144
RAYMOND, LEON M          826 E HOLLY RD                                                                           BELOIT          WI    53511‐1622
RAYMOND, LINDA L         12302 CREEKSIDE DR                                                                       CLIO            MI    48420
RAYMOND, LINDA L         403 S FRANKLIN RD                                                                        INDIANAPOLIS    IN    46219‐7723
RAYMOND, LOREN J         4475 CURTIS RD                                                                           LEONARD         MI    48367‐1609
RAYMOND, LOUIS B         581 2ND AVE                                                                              HALE            MI    48739‐9159
RAYMOND, MANSIL W        768 S DIAMOND RD                                                                         MASON           MI    48854‐9601
RAYMOND, MARCIA J        4049 CAPE COLE BLVD                                                                      PUNTA GORDA     FL    33955‐3822
RAYMOND, MARCIA L        12241 W CORUNNA RD                                                                       LENNON          MI    48449‐9710
RAYMOND, MARIAN          2196 KURTZ RD                                                                            FAIRVIEW        MI    48621‐9740
RAYMOND, MARIAN          2196 KURTZ                                                                               FAIRVIEW        MI    48621‐9740
RAYMOND, MARK            54 FREEDOM LN                                                                            MARTINSBURG     WV    25405‐6838
RAYMOND, MARTHA J        723 WISCONSIN RD                                                                         HOLLISTER       MO    65672‐5249
RAYMOND, MARTIN J        5360 PENNY LN                                                                            CUMMING         GA    30040‐0278
RAYMOND, MARY I          2038 CARTIER ST                                                                          FLINT           MI    48504‐4864
RAYMOND, MARY IRENE      2038 CARTIER ST                                                                          FLINT           MI    48504‐4864
RAYMOND, MARY J          3477 SOUTHGATE DR                                                                        FLINT           MI    48507‐3222
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Name                     Address1                       Address2            Address3         Address4         City               State Zip
RAYMOND, MARY L          5040 PETERSON ST                                                                     SAGINAW             MI 48601‐6839
RAYMOND, MERLE K         603 S 8TH ST                                                                         UPPER SANDSKY       OH 43351‐1605
RAYMOND, MICHAEL D       5834 RODESILER HWY.                                                                  BLISSFIELD          MI 49228
RAYMOND, MICHELLE L      21617 MADISON STREET                                                                 ST CLR SHORES       MI 48081‐3719
RAYMOND, NATHAN D        4400 VERMILLION TRL                                                                  ARLINGTON           TX 76017‐3227
RAYMOND, NATHAN DONALD   4400 VERMILLION TRL                                                                  ARLINGTON           TX 76017‐3227
RAYMOND, NORMA S         5261 HIGHLAND RD UNIT 112                                                            WATERFORD           MI 48327‐1937
RAYMOND, NORMAN J        640 ROLLING HILLS LN                                                                 LAPEER              MI 48446‐2882
RAYMOND, NORMAN L        3327 PLEASANT RD                                                                     CABOOL              MO 65689‐9327
RAYMOND, OLLIE           9 ALLEN ST                                                                           IRVINGTON           NJ 07111‐2117
RAYMOND, ORLAND D        4060 BOBBY JONES DR                                                                  FLINT               MI 48506‐1404
RAYMOND, PAM J           1700 S WEST AVE APT#H‐1                                                              JACKSON             MI 49203‐3951
RAYMOND, PAMELA J        46 SENTINEL TRL                                                                      PALM COAST          FL 32164‐5414
RAYMOND, PATSY M         55590 E 315 RD                                                                       JAY                 OK 74346‐5469
RAYMOND, PAUL M          11712 TEACHERS DR                                                                    EL PASO             TX 79936‐4358
RAYMOND, RALPH A         10901 DEHMEL RD                                                                      BIRCH RUN           MI 48415‐9706
RAYMOND, RENE P          78 GREEN VALLEY RD                                                                   FLINT               MI 48505‐5291
RAYMOND, RENE P          11662 SUITE E PLAZA DR                                                               CLIO                MI 48420
RAYMOND, RICHARD C       3340 N US HIGHWAY 27 # 3                                                             SAINT JOHNS         MI 48879
RAYMOND, RICHARD D       12263 W CORUNNA RD                                                                   LENNON              MI 48449‐9710
RAYMOND, RICHARD E       7277 PARKLANE DR                                                                     CLAY                MI 48001‐4223
RAYMOND, RICHARD J       8 SWEETWOOD DR                                                                       AMHERST             NY 14228‐3017
RAYMOND, RICHARD J       989 TOWN TRL                                                                         PINCKNEY            MI 48169‐8015
RAYMOND, RICHARD L       9619 N ROYSTON RD                                                                    GRAND LEDGE         MI 48837‐9472
RAYMOND, RICHARD P       2811 WAYNEWOOD DR                                                                    FORT WAYNE          IN 46809‐2626
RAYMOND, RICK W          6370 W 442 N                                                                         HUNTINGTON          IN 46750‐8924
RAYMOND, RITA M          1540 WAYNE ST APT D                                                                  TROY                OH 45373‐2770
RAYMOND, RITA M          1540 D WAYNE ST                                                                      TROY                OH 45373‐2770
RAYMOND, ROBERT D        12194 W CORUNNA RD                                                                   LENNON              MI 48449‐9710
RAYMOND, ROBERT H        18339 MAIN ST                                                                        STRONGSVILLE        OH 44149‐1507
RAYMOND, ROBERT J        4672 2ND ST                                                                          CHEBOYGAN           MI 49721‐9223
RAYMOND, ROBERT J        4672 2ND STREET                                                                      CHEBOYGAN           MI 49721‐9223
RAYMOND, ROBERT W        3251 E GILFORD RD                                                                    CARO                MI 48723‐9364
RAYMOND, ROBERTA L       8045 N. MACARTHUR BLVD                                                               IRVING              TX 75063
RAYMOND, ROBERTA L       7923 N GLEN DR                 APT 3035                                              IRVING              TX 75063‐8023
RAYMOND, RONALD B        2590 PARDEE RD                                                                       HOWELL              MI 48843‐8835
RAYMOND, SHARON K        4434 MAPLE POINTE TRL                                                                GRAND BLANC         MI 48439
RAYMOND, SHIRLEY A       1870 S HEMLOCK RD                                                                    HEMLOCK             MI 48626‐8716
RAYMOND, SUZANNE M       307 E SAPHIRE ST                                                                     MORRICE             MI 48857‐8744
RAYMOND, SUZANNE MARIE   307 E SAPHIRE ST                                                                     MORRICE             MI 48857‐8744
RAYMOND, TERRY L         5862 S HURON RD                                                                      PINCONNING          MI 48650‐6411
RAYMOND, TERRY M         12241 W CORUNNA RD                                                                   LENNON              MI 48449‐9710
RAYMOND, THOMAS F        16885 KENSINGTON DR 39                                                               MACOMB              MI 48044
RAYMOND, THOMAS F        268 NATURE VIEW CT                                                                   FORT MYERS BEACH    FL 33931‐3514
RAYMOND, TIMOTHY E       PO BOX 202                                                                           COLUMBIAVILLE       MI 48421‐0202
RAYMOND, TIMOTHY M       4434 MAPLE POINTE TRL                                                                GRAND BLANC         MI 48439‐9798
RAYMOND, TODD J          6724 NW EVANS AVE                                                                    KANSAS CITY         MO 64151‐2114
RAYMOND, UNA P           222 DRIFTWOOD ST                                                                     MANDEVILLE          LA 70448‐6309
RAYMOND, VICKIE S        1785 ALLEN DR                                                                        SALEM               OH 44460‐4101
RAYMOND, VIRGINIA C      2036 EVERGREEN LN                                                                    ALANSON             MI 49706
RAYMOND, WAYNE E         490 PENINSULA DR                                                                     COLUMBIAVILLE       MI 48421‐9774
RAYMOND, WILBUR M        6301 HIDDEN SPRINGS DR                                                               ARLINGTON           TX 76001‐5134
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Name                                Address1                             Address2                Address3   Address4         City            State Zip
RAYMOND, WILLIAM G                  2318 FARMER ST                                                                           SAGINAW          MI 48601‐4654
RAYMOND, WILLIAM H                  26 LEON PL                                                                               FREDONIA         NY 14063‐1314
RAYMOND, WILLIAM L                  PO BOX 152                                                                               BANCROFT         MI 48414‐0152
RAYMOND, WILLIAM P                  5651 CONRAD RD                                                                           MAYVILLE         MI 48744‐9618
RAYMOND, WILLIAM R                  285 DEER CT                                                                              GRAND BLANC      MI 48439‐7068
RAYMOND, WINIFRED J                 206 PLEASANT STREET                                                                      MILLIS           MA 02054
RAYMOND,D SEMIRAGLIO                200 NORTH ESSEX AVENUE                                                                   MARGATE CITY     NJ 08402‐1828
RAYMOND,JUSTEN M                    6301 HIDDEN SPRINGS DR                                                                   ARLINGTON        TX 76001‐5134
RAYMONDA GROSS                      3633 S SPRUCE AVE                                                                        WHITE CLOUD      MI 49349‐8582
RAYMONDA HOUSTON                    602 WILLOW BROOK DR NE                                                                   WARREN           OH 44483‐4642
RAYMONDA, HAROLD F                  10 PLEASANT ST                                                                           NORWOOD          NY 13668‐1305
RAYMONDA, RICHARD H                 PO BOX 151                                                                               WOLCOTT          CO 81655
RAYMONDE COLLARD                    22 RUE DE TETOUAN                                                                        10000 RABAT
RAYMONDE D'ARIENZO                  21 ORCHARD RD                                                                            MASSENA         NY   13662‐1133
RAYMONDE LE MIEUX                   305 FAWN TRL                         C/O MURIEL M ZILBAUER                               WEST SENECA     NY   14224‐4511
RAYMONDE SPEIRS                     6 WILDWOOD DR                                                                            SACO            ME   04072
RAYMONDO JR, DENNIS                 349 NORMAN ST                                                                            FALL RIVER      MA   02721‐4407
RAYMONDO, ROSANNE                   406 PROTZMAN RD                                                                          BUTLER          PA   16002‐9111
RAYMONDS ALIGNMENT                  3828 CLARKS CREEK RD                                                                     PLAINFIELD      IN   46168‐1926
RAYMOR, JOHN W                      9381 HOGAN RD                                                                            FENTON          MI   48430‐9204
RAYMOR, WILLIAM J                   217 PARK ISLAND DR                                                                       LAKE ORION      MI   48362‐2763
RAYMORE, ANTHONY                    2930 MCMANAWAY DR                                                                        MIDLOTHIAN      VA   23112
RAYMORE, CARRIE L                   21 PROSPECT ST                                                                           TRENTON         NJ   08618‐4636
RAYMORE, DORIS T                    3104 W 12TH ST                                                                           ANDERSON        IN   46011‐2475
RAYMORE, PETER B                    2237 E STATE ROAD 38                                                                     MARKLEVILLE     IN   46056‐9758
RAYMOS BALL                         18948 PIERSON ST                                                                         DETROIT         MI   48219‐2561
RAYMOS LARRY (ESTATE OF) (643384)   HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                           ANTIOCH         CA   94509‐2323

RAYMOS, LARRY                       HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                           ANTIOCH         CA 94509‐2323

RAYMOURE, ROBERT E                  2006 ROSELAND AVE                                                                        ROYAL OAK       MI   48073‐5013
RAYMUND MARTINEZ                    42025 W COLBY DR                                                                         MARICOPA        AZ   85238‐8644
RAYMUNDO ABREGO                     3556 SANDUSKY RD                                                                         PECK            MI   48466‐9400
RAYMUNDO CHAVEZ                     5000 N 14 1/2 ST                                                                         MCALLEN         TX   78504‐3302
RAYMUNDO ESPINOZA                   PO BOX 374                                                                               BENAVIDES       TX   78341‐0374
RAYMUNDO JUAREZ                     3916 HIDDLESTON CIR                                                                      OKLAHOMA CITY   OK   73135‐2043
RAYMUNDO LOPEZ                      1537 INDIANA AVE                                                                         FLINT           MI   48506‐3519
RAYMUNDO MONTES                     1601 FERDINAND ST                                                                        DETROIT         MI   48209‐2172
RAYMUNDO TORRES                     203 E HARRISON ST                                                                        GILBERT         AZ   85295‐4893
RAYMUNDO VALDEZ                     2234 SOLANO DR                                                                           EL PASO         TX   79935‐2629
RAYMUNDO, VICTORIA R                8 BRAGG                                                                                  IRVINE          CA   92620
RAYMUS, GERALD J                    545 HUNTER POINT COVE                                                                    MUSCLE SHOALS   AL   35661‐5661
RAYN, ELIZABETH M                   PO BOX 3162                                                                              MARION          IN   46953‐0162
RAYN, TONYA R                       1212 1/2 E SYCAMORE                                                                      KOKOMO          IN   46901
RAYNA D ROGERS                      118 TALL HICKORY TRAIL                                                                   DAYTON          OH   45415‐3613
RAYNA, ALFREDO                      TRACY FIRM                           5473 BLAIR RD STE 200                               DALLAS          TX   75231‐4168
RAYNAK, JEROME A                    3126 CURTIS DR                                                                           FLINT           MI   48507‐1220
RAYNAL, MAXINE                      7235 S JANET ST TRLR 23                                                                  OKLAHOMA CITY   OK   73150‐7426
RAYNALD HOLDER                      123 UPHAM ST                                                                             MOBILE          AL   36607‐3330
RAYNALDO GARCIA SR                  PO BOX 91                                                                                DEFIANCE        OH   43512‐0091
RAYNAR WRIGHT                       725 W BOSTON BLVD                                                                        DETROIT         MI   48202‐1400
RAYNARD ANDERSON                    18035 HELEN ST                                                                           DETROIT         MI   48234‐3009
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Name                         Address1                        Address2                       Address3   Address4         City                State Zip
RAYNARD GREEN                1205 GRAVES CT                                                                             CEDAR HILL           TX 75104‐2371
RAYNARD HARPER               178 ROOSEVELT AVE                                                                          BUFFALO              NY 14215‐2839
RAYNARD JONES                3720 STRATFORD AVE                                                                         LANSING              MI 48911‐2233
RAYNARD NEWBERRY             21285 PATTERSON DR                                                                         MACOMB               MI 48044‐1333
RAYNARD R FRYE               PO BOX 263                                                                                 BLUEFIELD            VA 24605‐0263
RAYNE GAHLAU                 54039 KATHERINE WOOD DR                                                                    MACOMB               MI 48042‐2316
RAYNEILL & ASSOCIATES, LLC   ROBERT OLDHAM                   3851 LONG PRAIRIE RD STE 109                               FLOWER MOUND         TX 75028‐1799
RAYNEILL & ASSOCIATES, LLC   ROBERT OLDHAM                   3861 LONG PRAIRIE RD STE 109                               FLOWER MOUND         TX 75028‐1799
RAYNELL FLEMMING             3856 TALTON ST                                                                             SHREVEPORT           LA 71119‐7013
RAYNELL STRIBLING            4350 STAUNTON DR                                                                           SWARTZ CREEK         MI 48473‐8278
RAYNER CLIVE                 2301 PARK AVE STE 101                                                                      ORANGE PARK          FL 32073‐5558
RAYNER COLTON                111 MONTAGUE ST                                                                            BROOKLYN             NY 11201
RAYNER JR, CHARLES G         31 MORRISON LAKE GDNS                                                                      SARANAC              MI 48881‐9705
RAYNER JR, GEORGE W          38 PLANTATION RD RTE NO 5                                                                  ADAIRSVILLE          GA 30103
RAYNER ZOLLIE L (429663)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510
                                                             STREET, SUITE 600
RAYNER, CHAD                 1305 S HANOVER ST                                                                          HASTINGS            MI   49058‐2542
RAYNER, CHARLES R            5628 TROOST AVE                                                                            N HOLLYWOOD         CA   91501‐1757
RAYNER, DEBORAH P            3410 EAGLES LOFT UNIT A                                                                    CORTLAND            OH   44410‐9166
RAYNER, DENNIS A             1689 VALDOSTA CIR                                                                          PONTIAC             MI   48340‐1083
RAYNER, DENNIS ANDREW        1689 VALDOSTA CIR                                                                          PONTIAC             MI   48340‐1083
RAYNER, DOUGLAS W            12239 OAK RD                                                                               OTISVILLE           MI   48463
RAYNER, EARL C               11042 W IRONWOOD HILLS DR       C/O SHARON MAE FISHER                                      CASA GRANDE         AZ   85294‐7290
RAYNER, HOWARD J             36 LIMBERLOST                                                                              MCLOUD              OK   74851‐8595
RAYNER, JAMES B              8265 KIMBLE DR                                                                             PINCKNEY            MI   48169‐8259
RAYNER, JOHN A               605 E MAPLE RD                                                                             LINTHICUM           MD   21090‐2620
RAYNER, LEROY                1042 LOUGHERY LN                                                                           INDIANAPOLIS        IN   46228‐1323
RAYNER, MARY                 PORTER & MALOUF PA              4670 MCWILLIE DR                                           JACKSON             MS   39206‐5621
RAYNER, RUFUS                PORTER & MALOUF PA              4670 MCWILLIE DR                                           JACKSON             MS   39206‐5621
RAYNER, THOMAS J             272 SW CREST GLN                                                                           LAKE CITY           FL   32024‐4109
RAYNER, WALTER               5564 NORTHLAND ROAD                                                                        INDIANAPOLIS        IN   46228‐2065
RAYNER, ZOLLIE L             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA   23510‐2212
                                                             STREET, SUITE 600
RAYNER‐JONES, JENNIE V       1013 S WALNUT ST                                                                           O FALLON            IL   62269‐2469
RAYNES III, S H              675 CATHCART RD                                                                            BLUE BELL           PA   19422‐1403
RAYNES ROZZELLE              565 BERNHARD RD                                                                            WHITEHALL           OH   43213‐2852
RAYNES ROZZELLE JR           1185 HARWOOD DR APT E                                                                      MANSFIELD           OH   44906‐2827
RAYNES, BILLIE G             35700 E MICHIGAN AVE APT 212                                                               WAYNE               MI   48184‐1642
RAYNES, DOROTHY              PO BOX 7165                                                                                PANAMA CITY BEACH   FL   32413
RAYNES, DOROTHY              64 GLADES CIR                                                                              LARGO               FL   33771
RAYNES, LUTHER C             533 W VINE ST                                                                              MONDOVI             WI   54755‐1033
RAYNES, NORMA J              533 W VINE ST                                                                              MONDOVI             WI   54755‐1033
RAYNES, STEPHEN F            2415 CORIANDER CT                                                                          TROY                OH   45373‐8751
RAYNHAM SATURN, INC.         RICK MASTRIA                    1545 ROUTE 44                                              RAYNHAM             MA   02767‐1045
RAYNIAK, JEAN                13278 COMMON RD.                                                                           WARREN              MI   48088‐6802
RAYNIAK, JEAN                2836 BAY DR                                                                                PORT AUSTIN         MI   48467‐9622
RAYNO KICHUKOV
RAYNO, ERNEST R              596 165TH AVE                                                                              HERSEY              MI   49539‐8779
RAYNO, ERNEST R              596 165TH AVENUE                                                                           HERSEY              MI   49639‐8779
RAYNOLD AND JEANNE NICHOLS   69 ANSOM RD                                                                                STARKS              ME   04911
RAYNOLD SNYDER               637 N BALL ST                                                                              OWOSSO              MI   48867‐2309
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Name                                  Address1                          Address2                     Address3            Address4            City                State Zip
RAYNOR DOOR AUTHORITY OF DENVER       5150 HAVANA ST                    UNIT G                                                               DENVER               CO 80239‐2139

RAYNOR JR, WILLIAM T                  245 MALAGA CT                                                                                          MERRITT ISLAND       FL   32953‐3045
RAYNOR RAYMOND (ESTATE OF) (657159)   SIMONS EDDINS & GREENSTONE

RAYNOR TIMMIE (653326)                CICONTE ROSEMAN & WASSERMAN       1300 N KING ST                                                       WILMINGTON          DE 19801‐3220
RAYNOR WILLIAM N (478538)             ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                           BALTIMORE           MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
RAYNOR, ELRICK                        213 ADAMS ST                                                                                           PARK HILLS          MO    63601‐2201
RAYNOR, HELEN D                       3402 WESTBURY RD                                                                                       SHAKER HTS          OH    44120‐4216
RAYNOR, JOHN A                        398 ADAM ST                                                                                            TONAWANDA           NY    14150‐1904
RAYNOR, RAYMOND                       EARLY LUDWICK & SWEENEY LLC       ONE CENTURY TOWER 11TH FL    265 CHURCH STREET                       NEW HAVEN           CT    06510
RAYNOR, ROBERT H                      3759 N LELAND AVE                                                                                      INDIANAPOLIS        IN    46218‐1751
RAYNOR, TIMMIE                        CICONTE ROSEMAN & WASSERMAN       1300 N KING ST                                                       WILMINGTON          DE    19801‐3220
RAYNOR, TIMMIE/CAROL RAYNOR           ICO THE LANIER LAW FIRM PC        6810 FM 1960 WEST                                                    HOUSTON             TX    77069
RAYNOR, WILLIAM N                     ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                            BALTIMORE           MD    21202
                                                                        CHARLES CENTER 22ND FLOOR
RAYNUSH, DAVID A                      1183 DELMONTE ST                                                                                       WOLVERINE LAKE      MI    48390‐1906
RAYOLA BYRNE                          5215 DUTCHER RD                                                                                        HOWELL              MI    48843‐9652
RAYON, SIDNEY A                       10403 DUPREY ST                                                                                        DETROIT             MI    48224
RAYONIA COLBERT                       6255 TRAILWOOD TER                                                                                     SHREVEPORT          LA    71119‐7232
RAYONNA J RUTLAND                     21 RIO GRANDE DR                                                                                       TROTWOOD            OH    45426‐2918
RAYOS, ARMANDO G                      2715 W WILLOW ST APT 2                                                                                 LANSING             MI    48917‐1832
RAYOS, JOEL                           2908 OPITZ RD                                                                                          ANTHONY             NM    88021‐8959
RAYOS, JOEL
RAYOT, ELIZABETH E                    2435 ARABELLA DR NE                                                                                    LANCASTER           OH    43130‐9706
RAYOT, GARY L                         2435 ARABELLA DR NE                                                                                    LANCASTER           OH    43130‐9706
RAYOUK, KENNETH J                     6848 LAKEVIEW DR                                                                                       KINSMAN             OH    44428‐9566
RAYPHELIA GREEN                       APT 520                           814 EAST KEARSLEY STREET                                             FLINT               MI    48503‐1959
RAYPLEX LIMITED                       341 DURHAM COURT                                                                   OSHAWA ON L1J 1W8
                                                                                                                         CANADA
RAYPLEX LTD
RAYRAT, PHILLIP D                     3365 SHAWNEE LN                                                                                        WATERFORD           MI 48329‐4349
RAYRAY JR, J                          7201 SOUTHFIELD WAY                                                                                    STOCKTON            CA 95207‐1136
RAYROR CAPITAL SA                     C/O SAL OPPENHEIM JR & CIE S CA   4 RUE JEAN MONNET                                L‐2180 LUXEMBOURG
                                                                                                                         (EUROPE)
RAYS DELIVERY SERVICE INC             2843 PEARL AVE                                                                                         MELROSE PARK        IL    60164‐1421
RAYS PHARMACY INC                     400 S MAIN ST                                                                                          MANSFIELD           TX    76063‐3107
RAYS PROPERTIES INC                   30675 N RIVER RD                                                                                       HARRISON TOWNSHIP   MI    48045‐1454
RAYS REFRIGERATION CO                 RAYS REFRIGERATION CO,            GUTMAN HOWARD A              1259 ROUTE 46                           PARSIPPANY          NJ    07054
RAYS REFRIGERATION CO                 RAYS REFRIGERATION CO             1259 ROUTE 46                                                        PARSIPPANY          NJ    07054
RAYS REFRIGERATION CO,                GUTMAN HOWARD A                   1259 ROUTE 46                                                        PARSIPPANY          NJ    07054
RAYS SERVICE CENTER #1                228 LOUISIANA AVE                                                                                      PERRYSBURG          OH    43551‐1459
RAYS TRASH SERVICE INC                PO BOX I                                                                                               CLAYTON             IN    46118‐4909
RAYSHELLA L DODGE                     4474 BAYBERRY CV                                                                                       BELLBROOK           OH    45305
RAYSHON L COVINGTON                   1725 HAWTHORNE LN                                                                                      CHARLOTTE           NC    28205
RAYSIK, KATIE M                       615 S 8TH STREET APT 4                                                                                 DEEP WATER          MO    64740
RAYSIK, MARGARET L                    PO BOX 6872                                                                                            LEAWOOD             KS    66206‐0872
RAYSIN, BARBARA J                     4244 KEENE DR                                                                                          GRAND BLANC         MI    48439‐7906
RAYSIN, MICHAEL J                     4255 CRESTKNOLL DR                                                                                     GRAND BLANC         MI    48439‐2062
RAYSIN, WALTER H                      6297 HERNER RD                                                                                         ALGER               MI    48610‐8506
RAYSOR, MARJORIE W                    234 MERCER AVE.                                                                                        ROCHESTER           NY    14606‐4124
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Name                                  Address1                        Address2                  Address3                  Address4                City               State Zip
RAYSOR, MARJORIE W                    234 MERCER AVE                                                                                              ROCHESTER           NY 14606‐4124
RAYSOR, SIDNEY C                      6970 S TOBAGO DR                                                                                            CHANDLER            AZ 85249‐8653
RAYTECH AUTOMOTIVE COMPONENTS CO      44600 MERRILL RD                COMPONENTS CO                                                               STERLING HEIGHTS    MI 48314‐1451

RAYTECH CORP ASBESTOS PERSONAL INJU AL CHOMA                          1204 DARLINGTON AVE       RAYTECH COMPOSITES, INC                           CRAWFORDSVILLE      IN   47933‐1958

RAYTECH CORP ASBESTOS PERSONAL INJU AL CHOMA                          RAYTECH COMPOSITES, INC   1204 DARLINGTON AVE                               ERIE               PA 16514

RAYTEK/SANTA CRUZ                     1201 SHAFFER RD                                                                                             SANTA CRUZ         CA    95060‐5762
RAYTHEAN TECHNICAL SERVICES           BANK OF AMERICA WHOLESALE LB    4101 E PLANO PKWY                                                           PLANO              TX    75074‐1814
RAYTHEON                              141 SPRING ST                                                                                               LEXINGTON          MA    02421‐7860
RAYTHEON                              C\O HUGHES AIRCRAFT CO          13532 N CENTRAL EXPY                                                        DALLAS             TX    75243‐1108
RAYTHEON CO
RAYTHEON CO                           1919 TECHNOLOGY DR              M/C 483‐620‐100                                                             TROY               MI    48083‐4245
RAYTHEON CO                           6125 E 21ST ST                  MS 3Z                                                                       INDIANAPOLIS       IN    46219‐2001
RAYTHEON CO                           870 WINTER ST                                                                                               WALTHAM            MA    02451‐1449
RAYTHEON COMPANY                      ATTN: GENERAL COUNSEL           600 CORPORATE PARK DR                                                       SAINT LOUIS        MO    63105‐4204
RAYTHEON COMPANY                      GLENN H. LENZEN, JR.            141 SPRING ST                                                               LEXINGTON          MA    02421‐7860
RAYTHEON COMPANY                      141 SPRING ST                                                                                               LEXINGTON          MA    02421‐7860
RAYTHEON COMPANY                      JOHN PRIOR                      235 WYMAN ST                                                                WALTHAM            MA    02451‐1209
RAYTHEON PROFESSIONAL SERVICE         1919 TECHNOLOGY DR              M/C 483‐620‐100                                                             TROY               MI    48083‐4245
RAYTHEON PROFESSIONAL SERVICES        600 NORTH BRIDGE RD.            #09‐06 PARKVIEW SQUARE                              SINGAPORE 188778
                                                                                                                          SINGAPORE
RAYTHEON PROFESSIONAL SERVICES LLC    12160 SUNRISE VALLEY DRIVE                                                                                  RESTON             VA 20191

RAYTHEON PROFESSIONAL SERVICES, LLC   DAVID FOWLER                    12160 SUNRISE VALLEY DR   OFFICE OF THE GENERAL                             RESTON             VA 20191‐3407
                                                                                                COUNSEL
RAYTHEON PROFESSIONAL SERVICESLLC     6620 CHASE OAKS BLVD M/S 8426                                                                               PLANO               TX   75023

RAYTHEON PROFESSIONAL SERVICESLLC     PO BOX 3534                                                                                                 BOSTON             MA 02241‐0001

RAYTHEON SYSTEMS CO                   PO BOX 6171                                                                                                 ARLINGTON          TX    76005‐6171
RAYTHEON SYSTEMS COMPANY              C/O DAVID RAPOZA B30 M/S13      75 COROMAR DR                                                               GOLETA             CA    93117
RAYTHEON TECHNICAL SERVICES CO        6125 E 21ST ST                  MS 3Z                                                                       INDIANAPOLIS       IN    46219‐2001
RAYTHEON TRAINING LLC                 1919 TECHNOLOGY DR              M/C 483‐620‐100                                                             TROY               MI    48083‐4245
RAYTRANS                              19358 DEPT CH                                                                                               PALATINE           IL    60055‐0001
RAYTRUX INC                           4708 WAYNE RD                                                                                               BATTLE CREEK       MI    49037‐7324
RAYVELYN DEJARNETT                    21802 ROSE HOLLOW DR                                                                                        SOUTHFIELD         MI    48075‐5510
RAYVONCE WHITE                        1309 SCARLETT DR                                                                                            ANDERSON           IN    46013‐2859
RAZ JR, RAYMOND E                     4271 MONTGOMERY DR                                                                                          SHELBY TOWNSHIP    MI    48316‐3917
RAZ, ELIZABETH                        12837 S OAK PARK AVE                                                                                        PALOS HEIGHTS      IL    60463‐2222
RAZ, NANCY M                          4271 MONTGOMERY DR                                                                                          SHELBY TWP         MI    48316‐3917
RAZAK MOHAMMED (515019)               COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                     HOUSTON            TX    77002‐1751
RAZAK, MOHAMMED                       COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                     HOUSTON            TX    77002‐1751
RAZAN, ELFRIEDE M                     672 BROAD AVE S                                                                                             NAPLES             FL    34102‐7148
RAZAQ, MOHAMMED A                     59 CLIFTON HILL                                                                     LONDON UNITED KINGDOM
                                                                                                                          NW8 0JN
RAZBAN, ALI                           3835 CARWINION WAY                                                                                          CARMEL             IN    46032‐9703
RAZDAN NEIL                           RAZDAN, NEIL                    100 WEST RD STE 300                                                         TOWSON             MD    21204‐2370
RAZDAN, MOHAN K                       7005 ANDRE DR                                                                                               INDIANAPOLIS       IN    46278‐1533
RAZDAN, NEIL                          KAHN & ASSOCIATES LLC           55 PUBLIC SQ STE 650                                                        CLEVELAND          OH    44113‐1909
RAZDOLSKY, ELIZABETH                  1655 CARDINAL RDG                                                                                           W BLOOMFIELD       MI    48324‐3421
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Name                              Address1                           Address2            Address3         Address4                City                  State Zip
RAZEK, BLANCHE W                  9647 IDLEWOOD DR                                                                                BROOKLYN               OH 44144‐3122
RAZEM, ANNE S                     5721 SEQUOIA DR                                                                                 PARMA                  OH 44134
RAZER, CAROLYN S                  604 PERSIMMON ST SW                                                                             GRAVETTE               AR 72736
RAZGYS, CATHERINE B               6380 32ND AVE N                                                                                 ST PETERSBURG BEACH    FL 33710‐2435
RAZINSKY, ELIAS                   650 COLUMBIA ST UNIT 216                                                                        SAN DIEGO              CA 92101‐6741
RAZLER, KAREN S                   191 GOLDENRIDGE DR                                                                              LEVITTOWN              PA 19057‐3804
RAZMIC, LINDA K                   12610 W CIMZAR TRL                                                                              ALBANY                 IN 47320‐9313
RAZMUS, FRANK C                   1738 4 MILE RD NE                                                                               GRAND RAPIDS           MI 49525‐2441
RAZO EDUARDO (507585)             COON BRENT W                       PO BOX 4905                                                  BEAUMONT               TX 77704‐4905
RAZO RUBEN (ESTATE OF) (503751)   BRAYTON PURCELL                    PO BOX 6169                                                  NOVATO                 CA 94948‐6169
RAZO, ABEL J                      4321 N ASHTREE ST                                                                               MOORPARK               CA 93021‐2129
RAZO, ABRAHAM R                   20450 GRESHAM ST                                                                                WINNETKA               CA 91306‐1037
RAZO, ARTHUR V                    8039 MCNULTY AVE                                                                                CANOGA PARK            CA 91306‐2118
RAZO, DAVID A                     822 WOODROW AVE                                                                                 BAKERSFIELD            CA 93308
RAZO, DAVID D                     4501 CULVER ST                                                                                  DEARBORN HTS           MI 48125‐3344
RAZO, EDUARDO                     COON BRENT W                       PO BOX 4905                                                  BEAUMONT               TX 77704‐4905
RAZO, EDUARDO A                   4000 E 134TH ST TRLR 134                                                                        CHICAGO                 IL 60633‐1029
RAZO, LENORE                      13132 ORMOND DR                                                                                 BELLEVILLE             MI 48111‐2214
RAZO, MAX W                       29533 ABELIA RD                                                                                 CANYON CNTRY           CA 91387‐1957
RAZO, RAY M                       1863 CIPRIAN AVE                                                                                CAMARILLO              CA 93010‐2453
RAZO, ROMAN R                     5619 JACKSON ST                                                                                 DEARBORN HTS           MI 48125‐3055
RAZO, RUBEN                       BRAYTON PURCELL                    PO BOX 6169                                                  NOVATO                 CA 94948‐6169
RAZON, ORLANDO E                  34827 CLOVER ST                                                                                 UNION CITY             CA 94587‐5315
RAZOOK, GEORGE D                  3330 PLAINVIEW DR                                                                               TOLEDO                 OH 43615‐1747
RAZOOK, LINNICE J                 6750 LEXINGTON PLACE                                                                            TEMPERANCE             MI 48182‐1378
RAZOR, JOHN C                     3793 W STATE RD 36                                                                              MIDDLETOWN             IN 47356
RAZOR, LAURA B                    PO BOX 17016                                                                                    DAYTON                 OH 45417‐0016
RAZOR, LUTHER R                   228 SANTA FE TRL                                                                                NORTH FORT MYERS       FL 33917‐3092
RAZOV, BRANKA S                   1130 E 344TH ST                                                                                 EASTLAKE               OH 44095‐2942
RAZOV, BRUNO                      731 CAMINO DR                                                                                   EASTLAKE               OH 44095‐2266
RAZUM, MARY A                     200 PALMER CIRCLE NE                                                                            WARREN                 OH 44484‐4484
RAZUM, MARY A                     200 PALMER CIR NE                                                                               WARREN                 OH 44484‐5547
RAZUM, RICHARD G                  200 PALMER CIR NE                                                                               WARREN                 OH 44484‐5547
RAZVAN NISTOR
RAZZANO JR, MARIO M               4805 W AIRE LIBRE AVE                                                                           GLENDALE              AZ   85306‐1401
RAZZANO, CAROLINE P               504 N RHODES AVE                                                                                NILES                 OH   44446‐3826
RAZZANO, JODELLE F                1457 SPROULE AVE                                                                                SAINT LOUIS           MO   63139‐3106
RAZZANO, MICHAEL A                359 TOWSON DR NW                                                                                WARREN                OH   44483‐1732
RAZZANO, PHILLIP A                4995 PARKMAN RD NW                                                                              WARREN                OH   44481‐9144
RAZZANO, RAYMOND A                245 CENTER ST                                                                                   WARREN                OH   44481‐4481
RAZZANO, RAYMOND A                245 CENTER ST W                                                                                 WARREN                OH   44481‐9305
RAZZANO, SYLVIA                   4824 HIRAM AVE NW                                                                               WARREN                OH   44483‐1302
RAZZANO, SYLVIA                   4824 HIRAM AVE.                                                                                 WARREN                OH   44483‐1302
RAZZAQ, NAVAID                    56591 EDGEWOOD DR                                                                               SHELBY TOWNSHIP       MI   48316‐5838
RAZZOOG, KATHLEEN M               6004 GLEN EAGLE DR                                                                              HUDSONVILLE           MI   49424
RAZZOOG, KATHLEEN M               6009 GLEN EAGLE DR                                                                              HUDSONVILLE           MI   49426‐8749
RAZZOOG, TOM E                    6009 GLEN EAGLE DR                                                                              HUDSONVILLE           MI   49426‐8749
RAZZOOG, TOM E                    6004 GLEN EAGLE DR                                                                              HUDSONVILLE           MI   49425
RB & W CORPORATION                5190 BRADCO BLVD                                                        MISSISSAUGA CANADA ON
                                                                                                          L4W 1G7 CANADA
RB & W/CLEVELAND                  CORAOPOLIS PLANT                   NARROWS RUN ROAD                                             CORAOPOLIS            PA 15108
RB & W/MISSISSAUGA                10080 WELLMAN RD                                                                                STREETSBORO           OH 44241‐1511
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RB & W/MISSISSAUGA                    5190 BRADCO BLVD                                                                              MISSISSAUGA ON L4W 1G7
                                                                                                                                    CANADA
RB INDUSTRIES INC DEPT 128901         7965 BILLINGHAM RD G44‐56                                                                                            WEST BLOOMFIELD      MI    48324
RB MASSEY                             BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                                       BOSTON HEIGHTS       OH    44236
RB MERIWETHER                         2251 GLENMOOR RD NORTH                                                                                               CLEARWATER           FL    33764‐4921
RB&W ‐ CLEVELAND                      10080 WELLMAN RD                                                                                                     STREETSBORO          OH    44241‐1611
RB&W CORP OF CANADA                   5190 BRADCO BLVD                                                                              MISSISSAUGA ON L4W 1G7
                                                                                                                                    CANADA
RB&W MANUFACTURING                    PARK‐OHIO INDUSTRIES                RB&W K ENT                        PO BOX 71‐4646                                 COLUMBUS             OH    43271‐4646
RB'S AUTOMOTIVE                       16500 CRAWFORD AVE                                                                                                   COUNTRY CLUB HILLS   IL    60478‐2060
RB'S AUTOMOTIVE                       16500 CRAWFORD AVE                                                                                                   COUNTRY CLUB HILLS   IL    60478‐2060
RBA TEK                               3209 VOGUE DR                                                                                                        EL PASO              TX    79935‐1529
RBC C/F LAWRENCE WHITMAN IRA          RBC WEALTH MGT C/F LAWRENCE DAVID   RR 1 BOX 79 A                                                                    RAVENSWOOD           WV    26164
                                      WHITMAN IRA
RBC DEXIA CORPORATION                 77 KING ST., W, ROYAL TRUST TOWER   12TH FL., P.O. BOX 7500, STN A                            TORONTO ON M5W 1P9
                                                                                                                                    CANADA
RBC DEXIA INVESTOR SERVICES           77 KING ST., W, ROYAL TRUST TOWER   12TH FL., P.O. BOX 7500, STN A                            TORONTO ON M5W 1P9
                                                                                                                                    CANADA
RBC GENERAL INSURANCE COMPANY         6880 FINANCIAL DR.                  6880 FINANCIAL DR FINANCIAL DR.                           MISSISSAUGA ON L5N 7Y5
                                                                                                                                    CANADA
RBC TRUSTEES GUERNSEY LTD             CANADA CRT UPLAND RD ST PETER       PORT GUERNSEY GY1 3BQ                                     UNITED KINGDOM GREAT
                                                                                                                                    BRITAIN
RBC WEALTH MANAGEMENT C/F DIXIE     DIXIE L PROWSE IRA                    3256 MOLES DR                                                                      CHARLESTON         WV 25302‐4520
PROWSE
RBC WEALTH MANAGEMENT C/F JAMES     JAMES M SCHLAG IRA                    107 PAUL AVE                                                                       POCA               WV 25159
SCHLAG
RBC WEALTH MANAGEMENT C/F PATRICIA 31263 COUNTY ROAD 28                                                                                                      RACINE             OH 45771
FIELDS IRA
RBC WEALTH MGMT C/F                 WILLIAM LANHAM IRA                    RT 3 BOX 189                                                                       ROMANCE            WV 25248‐0189
RBC WEALTH MGT C/F CHARLES BURDETTE CHARLES BURDETTE IRA                  593 WATTS CHAPEL RD                                                                KENNA              WV 25248

RBC WEALTH MGT C/F DIANA DURST        DIANA DURST IRA                     5302 KENSINGTON LANE                                                               CHARLESTON         WV 25313
RBC WEALTH MGT C/F DONALD WALDIE      DONALD WALDIE IRA                   228 FULTON DR                                                                      PT PLEASANT        WV 25550

RBC WEALTH MGT C/F ELLA J. KIDD       ELLA J KIDD IRA                     RT 1 BOX 85                                                                        MILLWOOD           WV 25262
RBC WEALTH MGT C/F GARY FOULKS        GARY FOULKS IRA                     23 DYES DR                                                                         WASHINGTON         WV 26181
RBC WEALTH MGT C/F JUDITH RIDER IRA   RBC WEALTH MGT C/F                  JUDITH RIDER IRA                  PO BOX 363                                       MOUNT CARBON       WV 25139

RBC WEALTH MGT C/F MYRNA PARKER       RBC WEALTH MGT C/F                  MYRNA PARKER IRA                  1709 SMITH RD                                    CHARLESTON         WV    25314
RBC WEALTH MGT C/F PHILIP DARBY       PHILIP DARBY IRA                    921 ROOSEVELT BLVD                PO BOX 455                                       ELEANOR            WV    25070
RBC WEALTH MGT C/F ROSALIE TAYLOR     ROSALIE TAYLOR IRA                  2313 MONROE AVE                                                                    ST ALBANS          WV    25177
RBC WEALTH MGT C/F WILLIAM            RR 1 BOX 79                                                                                                            RAVENSWOOD         WV    26164
SCHINDLER IRA
RBC WEALTH MGT. C/F KATHRYN BROWN     RBC WEALTH MGT C/F KATHRYN BROWN    1423 SATTES CIRCLE                                                                 CHARLESTON         WV 25301
                                      IRA
RBE INC                               4300 DELEMERE BLVD STE 201                                                                                             ROYAL OAK           MI   48073
RBE INC                               44060 WOODWARD AVE STE 206                                                                                             BLOOMFIELD HILLS    MI   48302‐5040
RBR TRUCKING INC                      PO BOX 337                                                                                                             ROCKTON             IL   61072‐0337
RBS ASSET FINANCE                     71 SOUTH WHACKER DRIVE              28TH FLOOR, MAIL STOP IH2800                                                       CHICAGO             IL   60606
RBS ASSET FINANCE                     ATTN: MIKE O'GRADY                  71 SOUTH WHACKER DRIVE            28TH FLOOR, MAIL STOP                            CHICAGO             IL   60680
                                                                                                            IH2800
RBS ASSET FINANCE (FORMERLY ICX)      71 S WACKER DR FL 28                                                                                                   CHICAGO             IL   60606‐4666
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Name                                 Address1                           Address2                       Address3                  Address4                 City             State Zip
RBS CITIZENS NA                      870 WESTMINSTER ST                                                                                                   PROVIDENCE         RI 02903‐4024
RBS COUTTS BANK LTD                  ATTN: ERICH VOGEL/ OCAEL           STAUFFACHERSTRASSE 1                                     CH 8022 ZURICH
                                                                                                                                 SWITZERLAND
RBTL                                 885 E MAIN ST                                                                                                        ROCHESTER        NY   14605‐2723
RBX INC                              PO BOX 2118                                                                                                          SPRINGFIELD      MO   65801‐2118
RC AUTO & SMOG                       1410B S SANTA FE AVE                                                                                                 VISTA            CA   92084‐7204
RC BUSH AND SHIRLEY L. BUSH JT TEN   RC BUSH                            SHIRLEY L BUSH                 39 OAKLAWN DR                                      GRANITE CITY     IL   62040‐3808
RC ELIFF
RC ENTERPRISES                       ATTN: LAURA REYMOND                10950 PIERSON DR # 100                                                            FREDERICKSBURG   VA 22408‐8083
RC ENTERPRISES AUTO & TRUCK REPAIR   4433 SPENCE RD                                                                                                       SPRINGFIELD      OH 45502‐8402

RC MAXWELL/FARMINGTN                 PO BOX 587                                                                                                           FARMINGTON       MI   48332‐0587
RC MOTORS                            5599 OPORTO MADRID BLVD S                                                                                            IRONDALE         AL   35210‐1432
RC MURPHY                            2709 CUMBERLAND ST                                                                                                   SAGINAW          MI   48601‐4267
RC SIMPSON INC                       5950 FAIRVIEW RD STE 604                                                                                             CHARLOTTE        NC   28210‐3113
RC TRANSPORT INC                     PO BOX 389459                                                                                                        CHICAGO          IL   60638‐9459
RC VIDEO                             14887 E LIVERPOOL RD                                                                                                 EAST LIVERPOOL   OH   43920‐9712
RCB AUTOMOTIVE, INC.                 BRYAN BETTEN                       930 OMALLEY DR                                                                    COOPERSVILLE     MI   49404‐9678
RCC ELEC/LAWRNCVILLE                 11 PRINCESS RD STE B                                                                                                 LAWRENCEVILLE    NJ   08648‐2319
RCC SYSTEMS INC                      11686 LACKLAND RD                                                                                                    SAINT LOUIS      MO   63146‐6009
RCC SYSTEMS INC                      8433 MID COUNTY INDUSTRIAL DR                                                                                        SAINT LOUIS      MO   63114‐6009
RCH ‐ MS                             CHRIS HALGAS                       301 COMMERCE DR                                                                   MOORESTOWN       NJ   08057‐4215
RCH‐MS                               301 COMMERCE DR                                                                                                      MOORESTOWN       NJ   08057‐4215
RCI MICHIGAN INC                     3544 SOLUTIONS CTR                                                                                                   CHICAGO          IL   60677‐0001
RCM ASSOCIATES                       12376 OAK HOLLOW DR                                                                                                  SAINT LOUIS      MO   63141‐7432
RCM INDUSTRIES INC                   DARRELL HALTOM                     3021 CULLERTON DRIVE                                                              LIVONIA          MI   48150
RCM INDUSTRIES INC                   DARRELL HALTOM                     RCM INDUSTRIES                 3021 CULLERTON                                     LAREDO           TX   78045
RCM INDUSTRIES INC                   3021 CULLERTON DR                                                                                                    FRANKLIN PARK    IL   60131
RCM INDUSTRIES INC.                  DARRELL HALTOM                     3021 CULLERTON DRIVE                                                              LIVONIA          MI   48150
RCN                                  PO BOX 747089                                                                                                        PITTSBURGH       PA   15274‐7089
RCO ENG/29200 CALAHN                 29200 CALAHAN RD                                                                                                     ROSEVILLE        MI   48066‐1849
RCO ENG/29250 CALAHN                 29250 CALAHAN RD                                                                                                     ROSEVILLE        MI   48066‐1849
RCO ENG/PONTIAC                      20001 CENTERPOINTE PARKWAY         SUITE 109                                                                         PONTIAC          MI   48341
RCO ENGINEERING                      29250 CALAHAN RD                   PO BOX 198                                                                        ROSEVILLE        MI   48066‐1849
RCO ENGINEERING                      29200 CALAHAN RD                                                                                                     ROSEVILLE        MI   48066‐1849
RCO ENGINEERING INC                  29200 CALAHAN RD                                                                                                     ROSEVILLE        MI   48066‐1849
RCO ENGINEERING INC                  29250 CALAHAN RD                                                                                                     ROSEVILLE        MI   48066‐1849
RCO ENGINEERING INC                  29250 CALAHAN RD                   PO BOX 198                                                                        ROSEVILLE        MI   48066‐1849
RCO ENGINEERING INC                  MIKE PICCOLO                       29200 CALAHAN RD                                                                  ROSEVILLE        MI   48066‐1849
RCO ENGINEERING INC                  777 ENTERPRISE DR                                                                                                    PONTIAC          MI   48341‐3169
RCO ENGINEERING, INC.                MIKE PICCOLO                       29200 CALAHAN RD                                                                  PORT HURON       MI   48060
RCO ENTERPRISES
RCR ADMINISTRATIVE SERVICES LLC      PO BOX 1189                        425 INDUSTRIAL DR UPDATE PER                                                      WELCOME          NC   27374‐1189
RCR COMPANIES                        12620 MAGNOLIA AVE                                                                                                   RIVERSIDE        CA   92503‐4636
RCR ENTERPRISES LLC                  BILL PATTERSON                     PO BOX 1189                     425 INDUSTRIAL DR.                                WELCOME          NC   27374‐1189
RCR ENTERPRISES, LLC                 CHUCK SPICER                       425 INDUSTRIAL DR.                                                                WELCOME          NC   27374
RCR ENTERPRISES, LLC                 C/O WILLIAM B. SULLIVAN            WOMBLE CARLYLE SANDRIGE & RICE, ONE WEST FOURTH STREET                            WINSTON‐SALEM    NC   27101
                                                                        PLLC
RCR MOTORSPORTS LIMITED              1721 MAZO CRES                                                                              MISSISSAUGA ON L5J 1Y9
                                                                                                                                 CANADA
RCR MOTORSPORTS LTD                  1721 MAZO CRESCENT                                                                          MISSISSAUGA CANADA ON
                                                                                                                                 L5J 1Y9 CANADA
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RCR MOTORSPORTS LTD                   1721 MAZO CRES                                                                           MISSISSAUGA ON L5J 1Y9
                                                                                                                               CANADA
RCR PROMOTIONS LLC                    425 INDUSTRIAL DR                                                                                                 WELCOME            NC    27374
RCR SERVICES INC                      1451 E 33RD ST                                                                                                    CLEVELAND          OH    44114‐4032
RCR TEAM #29 LLC ‐ KEVIN HARVICK      KEVIN HARVICK, INC.                   FRED LEKSE                     703 PARK LAWN CT                             KERNERSVILLE       NC    27284‐8967
RCR TEAM #29 LLC ‐ KEVIN HARVICK      KEVIN HARVICK, INC.                   ATT: FRED LEKSE                703 PARK LAWN CT.                            KERNERSVILLE       NC    27284‐8967
RCR TEAM #31 LLC ‐ JEFF BURTON        425 INDUSTRIAL DRIVE                                                                                              WELCOME            NC    27374
RCR TEAM #31 LLC, PERSONAL SERVICES   JEFF BURTON                           425 INDUSTRIAL DRIVE                                                        WELCOME            NC    27374
AGREEMENT‐
RCRA ‐ PURGE ISSUE ‐ GM V. EPA FOIA   NO ADVERSE PARTY
APPEAL
RCS CONTRACTOR SUPPLIES               152 BRAZOS DR                                                                                                     DANVILLE            IN   46122‐7913
RCS REPAIR LTD.                       815 RAILWAY AVE.                                                                         LIPTON SK S0G 3B0
                                                                                                                               CANADA
RCS TECHNOLOGIES INC                  PO BOX 531066                                                                                                     LIVONIA             MI 48153‐1066
RCS TECHNOLOGIES INC                  PO BOX 531066                         37555 MEADOWHILL E                                                          LIVONIA             MI 48153‐1066
RD & SONS INC                         WRIGHT CHANEY BERRY & DANIEL P.A.     PO BOX 947                                                                  ARKADELPHIA         AR 71923‐0947
RD ELECTRONIC GMBH                    ARNIKASTRASSE 2                                                                          HOEHENKIRCHEN D‐85635
                                                                                                                               GERMANY
RD ELECTRONIC GMBH                    ARNIKASTR 2                                                                              HOEHENKIRCHEN‐
                                                                                                                               SIEGERTBRN BY 85635
                                                                                                                               GERMANY
RD ELECTRONIC LLC                     1899 HARLEY DR                                                                                                    ANN ARBOR           MI 48103‐8974
RD NETTLES                            2408 SHERIDAN AVE                                                                                                 SAGINAW             MI 48601‐3612
RD OFFUTT FARM NW                                                           75906 THREE MILE CANYON ROAD                                                                    OR 97818

RD RUBBER PRODUCTS INC                1600 SOUTH RD                         PO BOX 149                                                                  GARRETT             IN   46738‐1726
RD RUBBER PRODUCTS INC                101 N GUILFORD ST                                                                                                 GARRETT             IN   46738‐1301
RD SERVICE CENTER                     126 HIGHWAY 138 SE                                                                                                RIVERDALE           GA   30274‐4004
RD WERNER/GREENVILLE                  93 WERNER RD                                                                                                      GREENVILLE          PA   16125‐9434
RD WORLD GLOBE ENTERPRISES            3341 FAWNRIDGE DR                                                                                                 ROCKFORD            IL   61114‐5449
RD'S AUTO SERVICE CENTRE              811‐467 DELMONTE LANE C. PO BOX 811                                                      TIMMINS ON P4N 7B5
                                                                                                                               CANADA
RD‐ELECTRONIC LLC                     1899 HARLEY DR                                                                                                    ANN ARBOR           MI 48103‐8974
RDA GROUP                             RESEARCH DATA ANALYSIS INC            450 ENTERPRISE CT                                                           BLOOMFIELD          MI 48302‐0386
RDB HOLDINGS LLC & YBY HOLDINGS LLC   MURRAY HL                             PO BOX 30181                                                                NEW YORK            NY 10087‐0181

RDC CO                                ATTN: RICHARD DENNIS                  13101 ECKLES RD                                                             PLYMOUTH           MI    48170‐4245
RDC COMPANY                           PO BOX 700138                                                                                                     PLYMOUTH           MI    48170‐0943
RDC CORP                              30 N SAGINAW ST                                                                                                   PONTIAC            MI    48342‐2161
RDC CORP/STERLING HT                  37900 MOUND RD                                                                                                    STERLING HTS       MI    48310‐4132
RDC MACHINE INC                       G7503 FENTON RD                                                                                                   GRAND BLANC        MI    48439
RDF CORP                              23 ELM AVE                            PO BOX 490                                                                  HUDSON             NH    03051‐3224
RDF CORP                              23 ELM AVE                                                                                                        HUDSON             NH    03051‐3224
RDI OF MICHIGAN LLC                   728 E FOX HILLS DR                                                                                                BLOOMFIELD HILLS   MI    48304‐1361
RDK COLLECTION SERVICES INC           1441 E MAPLE RD                       STE 301                                                                     TROY               MI    48083‐4027
RDLINK 005383 02 18 08
RDLINK 527740 01 03 08
RDLINK 5388 07 11 08
RDO EQUIPMENT CO.                     RONALD OFFUTT                         6610 HIGHWAY 32                                                             LISBON             ND 58054‐9701
RDO TRUCK CENTER CO                   KENNETH USELDINGER                    3401 38TH ST S                                                              FARGO              ND 58104‐6904
RDO TRUCK CENTER CO                   3401 38TH ST S                                                                                                    FARGO              ND 58104‐6904
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RDP CORPORATION                    5877 HUBERVILLE AVE                                                                                             DAYTON              OH 45431‐1218
RDP ELECTROSENSE                   2216 POTTSTOWN PIKE                                                                                             POTTSTOWN           PA 19465‐8718
RDR GROUP INC                      5250 GRAND AVE STE 14 # 206                                                                                     GURNEE               IL 60031‐1877
RDRD FTF                           VVH
RDS
RDS LAND CO                        PO BOX 18762                                                                                                    PITTSBURGH         PA    15236‐0762
RDS ROLANDO                        PO BOX 597                                                                                                      LEONARD            MI    48367‐0597
RE CERTIFY COM INC                 14520 SNAPDRAGON CIR                                                                                            NORTH POTOMAC      MD    20878‐4319
RE ESTATE OF TYANNE MOO            1637 SEMINOLE ST                                                                                                FLINT              MI    48503‐5112
RE FRANK                           THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD        SUITE 44                                     CORAL GABLES       FL    33146
RE FRANK (470903) ‐ RE FRANK       ANANIA, BANDKLAYDER,                BANK OF AMERICA TOWER , SUIT                                                MIAMI              FL    33131
                                   BLACKWELL,BAUMGARTEN,TORRICELLA &   4300
                                   STEIN
RE JEANIA A OWENS‐PIERCE           1524 CORNELL DR                                                                                                 DAYTON             OH    45406
RE LEGGETTE CO                     9335 SAINT STEPHENS ST                                                                                          DEARBORN           MI    48126‐3801
RE SMITH AND CG SMITH JT TEN TOD   H SMITH                             4951 PYRENEES DR                                                            FORT COLLINS       CO    80526‐3845
RE SPECIALTY/WARREN                6871 DOWNS RD NW                                                                                                WARREN             OH    44481‐9412
RE, ALICE C                        110 RUBENS DR                                                                                                   NOKOMIS            FL    34275‐4207
RE, DOROTHY M                      8261 KATIE LN                                                                                                   WILLIAMSVILLE      NY    14221‐7379
RE, DOROTHY M                      8261 KATIE LN.                                                                                                  WILLIAMSVILLE      NY    14221‐7379
RE, FRANK                          ANANIA, BANDKLAYDER,                BANK OF AMERICA TOWER, SUIT                                                 MIAMI              FL    33131‐2144
                                   BLACKWELL,BAUMGARTEN,TORRICELLA &   4300
                                   STEIN
RE, RANDALL G                      14717 VERDUN ESTATES DR                                                                                         FLORISSANT         MO    63034
RE‐NU ELECTRIC CO INC              20163 JOHN R ST                                                                                                 DETROIT            MI    48203‐1137
RE‐SOL                             1771 HARMON ROAD                                                                                                AUBURN HILLS       MI    48326
RE‐TRAC CORPORATION                STEVE LEMPELIUS                     PO BOX                                                                      BRANDON            SD    57005
RE‐TRAC CORPORATION                STEVE LEMPELIUS                     PO BOX 457/1200 BIRCH                             ALFDORF GERMANY
RE‐TREE WNY                        C/O THE BUFFALO NEWS                PO BOX 5173                                                                 BUFFALO            NY 14240‐5173
REA & SONS CEMENT CO INC           ATTN: TONY REA                      28726 PLYMOUTH RD                                                           LIVONIA            MI 48150‐2336
REA DONALD                         376 WATERCREST RD                                                                                               FOREST GROVE       OR 97116‐1138
REA INTER/ MISSISSAU               2565 RENA ROAD                      FLUID MOTION TECHNOLOGIES                         MISSISSAUGA ON L4T 1G6
                                                                                                                         CANADA
REA INTER/ MISSISSAU               7405 TRANMERE RD                                                                      MISSISSAUGA ON L5S 1L4
                                                                                                                         CANADA
REA INTERNATIONAL INC              AMK METAL PRODUCTS                  248 SIMPSON AVE S                                 BOWMANVILLE CANADA
                                                                                                                         ON L5S 1L4 CANADA
REA INTERNATIONAL INC              MONICA MITU X 241                   ALFIELD INDUSTRIAL             30 AVIVA PARK DR   JIANGSU CHINA (PEOPLE'S
                                                                                                                         REP)
REA INTERNATIONAL INC.             MARIJANA VUJCIC X327                ATLAS FLUID SYSTEMS DIV.       10 ATLAS CT        STRATFORD, ONT. CA ON
                                                                                                                         CANADA
REA JAMES                          3617 ROBIN CT                                                                                                   SPRING GROVE       IL    60081‐9660
REA MAGNET WIRE CO INC             3600 E PONTIAC ST                                                                                               FORT WAYNE         IN    46803‐3804
REA MAGNET WIRE COMPANY INC        3600 E PONTIAC ST                   PO BOX 6128                                                                 FORT WAYNE         IN    46803‐3800
REA MILTON C (439429)              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA    23510
                                                                       STREET, SUITE 600
REA MOTORS, INC.                   20 W MAIN ST                                                                                                    PORT JERVIS        NY 12771‐1819
REA MOTORS, INC.                   JOSEPH REA                          20 W MAIN ST                                                                PORT JERVIS        NY 12771‐1819
REA SOLLESTRE                      27299 HYSTONE DR                                                                                                FARMINGTON HILLS   MI 48334‐5319
REA TOOL & DIE COMPANY LTD         7405 TRANMERE DRIVE                                                                   MISSISSAUGA CANADA ON
                                                                                                                         L5S 1L4 CANADA
REA VAZQUEZ                        38907 CARR DR                                                                                                   ZEPHYRHILLS         FL   33540‐1837
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Name                   Address1                        Address2                       Address3   Address4         City            State Zip
REA, ALBERT D          1111 W PERKINS ST                                                                          HARTFORD CITY    IN 47348‐1114
REA, ALLEN C           1401 BARBARA DR                                                                            FLINT            MI 48505‐2534
REA, BARBARA A         PO BOX 1766                                                                                WEST MONROE      LA 71294‐1766
REA, BARBARA E         24 CLEARVIEW AVENUE                                                                        NORTHEAST        MD 21901
REA, BETTY M           5225 OLD ALTON EDWARD RD                                                                   EDWARDSVILLE      IL 62025‐7211
REA, DALE L            12845 TALL TREE CT                                                                         HAZELWOOD        MO 63042‐1544
REA, DAVID D           18 CARRIAGE CT                                                                             PITTSFORD        NY 14534‐4010
REA, DENISE M          30050 BEECHWOOD ST                                                                         GARDEN CITY      MI 48135‐2331
REA, DENISE MARIE      30050 BEECHWOOD ST                                                                         GARDEN CITY      MI 48135‐2331
REA, ELLIS H           209 W FORD AVE                                                                             MUSCLE SHOALS    AL 35661‐2103
REA, ELLSWORTH W       APT 3B                          1338 SAFFRON LANE SOUTHEAST                                GRAND RAPIDS     MI 49508‐7345
REA, ELLSWORTH W       1338 SAFFRON AVENUE                                                                        GRAND RAPIS      MI 49508
REA, ERVIN G           706 CHIMNEY ROCK DR                                                                        TYLER            TX 75703‐4184
REA, FRANCIS M         3383 OLD ELK NECK RD                                                                       ELKTON           MD 21921‐6841
REA, GARY M            2420 VILLA DR                                                                              ARNOLD           MO 63010‐2825
REA, GERALD G          3250 CHAMBOURNE ST                                                                         COMMERCE TWP     MI 48382‐4608
REA, GERALD M          7629 DEVINS RDG                                                                            CLARKSTON        MI 48348‐4353
REA, HENRY E           BRANDT MILNES REA & WISE        4990 USX TOWER                                             PITTSBURGH       PA 15219
REA, HERMAN            G PATTERSON KEAHEY PC           ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM       AL 35209
                                                       612
REA, HERMAN A          620 EASTLAKE DR                                                                            MUSCLE SHOALS   AL   35661‐4523
REA, J L               RR 1 BOX 17D                                                                               MARQUAND        MO   63655‐9706
REA, J L               ROUTE 1 BOX 17D                                                                            MARQUAND        MO   63655‐9706
REA, JACKIE R          1904 STATE ST                                                                              E CARONDELET    IL   62240‐1326
REA, JAMES W           105 CRESWELL AVE                                                                           ELKTON          MD   21921‐6105
REA, JOANNE J          701 E MAIN ST                                                                              HARTFORD CITY   IN   47348‐2226
REA, JOANNE J          701 E. MAIN STREET                                                                         HARTFORD CITY   IN   47348‐2226
REA, JOHN              1792 PARK RD                                                                               RIDGEWAY        SC   29130‐7800
REA, JOHN E            16792 FARM RD 31                                                                           MARSHALL        TX   75672
REA, KAREN ELIZABETH   18190 VALERIE DR                                                                           HILLMAN         MI   49746‐7905
REA, KEITH A           PO BOX 1610                                                                                OCEAN PARK      WA   98640‐1610
REA, KURT              2017 SEQUOIA ST                                                                            SAN MARCOS      CA   92078‐5453
REA, LARRY             PO BOX 4234                                                                                FLINT           MI   48504‐0234
REA, LARRY L           1090 E VIENNA RD                                                                           CLIO            MI   48420‐1834
REA, LEONARD H         501 S SAGINAW ST                                                                           DURAND          MI   48429‐1641
REA, LLOYD R           217 WOODLAND DR                                                                            HARTFORD CITY   IN   47348‐8951
REA, LOUISE A          8120 PARISIEN DR.                                                                          STERLING HGTS   MI   48313‐4722
REA, MARY H            21334 CLARA PLACE                                                                          SEDRO WOOLLEY   WA   98284‐8718
REA, MILTON C          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
REA, NANCY K           3163 E VIENNA RD                                                                           CLIO            MI   48420‐9133
REA, PATRICIA A        27 CLAIRE DR                                                                               FLORISSANT      MO   63031‐8224
REA, RAYMOND           13063 W BLACK HILL RD                                                                      PEORIA          AZ   85383‐7612
REA, RICHARD W         430 WILSON RD                                                                              RISING SUN      MD   21911‐2273
REA, ROBERT C          2651 INGERSOLL ST SW                                                                       WYOMING         MI   49519‐4525
REA, ROBERT H          515 N ELIZABETH ST                                                                         DEARBORN        MI   48128‐1765
REA, ROGER R           1966 LAKEVIEW DR                                                                           HUBBARD LAKE    MI   49747‐9636
REA, THOMAS P          4415 RESACA DR                                                                             GROVE CITY      OH   43123
REA, VERA Y            3130 CHESTNUT ST                                                                           DEARBORN        MI   48124‐4314
REA, WANDA GENE        2806 ALPHA WAY                                                                             FLINT           MI   48506‐1873
REA, WILBURN L         410 CAPITOL WAY #214                                                                       OLYMPIA         WA   98501
REA, WILLIE E          429 E GENESEE ST                                                                           FLINT           MI   48505‐4225
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Name                                Address1                          Address2               Address3      Address4                 City            State Zip
REA‐TONE ROSS                       2828 COLORADO AVE                                                                               FLINT            MI 48506‐2442
REABE BURTON                        PO BOX 334                                                                                      SAINT GERMAIN    WI 54558‐0334
REACH OUT & READ                    56 ROLAND ST                      STE 100D                                                      CHARLESTOWN      MA 02129‐1243
REACH, DAVID S                      1536 DARST AVE                                                                                  DAYTON           OH 45403‐2810
REACH, MAUREEN                      1067 WINDBROOK DR                                                                               DELTONA          FL 32725‐7375
REACH, THOMAS D                     1007 SHIRLEY LN                                                                                 BOSSIER CITY     LA 71111‐2634
REACHGLOBAL                         2441 KENWOOD CIR                                                                                MANSFIELD        OH 44906‐1546
REACHOUT, TERRY R
REACIE HAYNIE                       1776 MACK RD                                                                                    SAGINAW         MI 48601‐6836
REACT TECHNOLOGIES                  7‐201 2600 SKYMARK AVE                                                 MISSISSAUGA CANADA ON
                                                                                                           L4W 5B2 CANADA
REACT TECHNOLOGIES INC
REACT TECHNOLOGIES INC              ATTN: CONTRACTS ADMINISTRATOR     2600 SKYMARK AVE.      BLDG 7‐201    MISSISSAUGA ON L4W 5B2
                                                                                                           CANADA
REACT TECHNOLOGIES, INC.            ATTN: CONTRACTS ADMINISTRATOR     2600 SKYMARK AVE.      BLDG 7‐201    MISSISSAUGA ON L4W 5B2
                                                                                                           CANADA
REACTION DESIGN                     6440 LUSK BLVD STE D205                                                                         SAN DIEGO       CA 92121‐2763
REACTIVE SYSTEMS INC                120B E BROAD ST                                                                                 FALLS CHURCH    VA 22046‐4501
REACTIVE SYSTEMS INC                341 KILMAYNE DR STE 101                                                                         CARY            NC 27511‐4490
REACTIVITY INC
REACTIVITY INC                      9800 PYRAMID CT STE 400                                                                         ENGLEWOOD       CO   80112‐2669
READ ASSOCIATION                    100 S JEFFERSON AVE STE 401                                                                     SAGINAW         MI   48607‐1291
READ ERNEST O                       1932 NW 56TH TER                                                                                OCALA           FL   34482‐4289
READ FOR LITERACY INC               325 N MICHIGAN ST                                                                               TOLEDO          OH   43604‐6614
READ JOHN D                         READ, JOHN D                      3120 CENTRAL MALL DR                                          PORT ARTHUR     TX   77642‐8039
READ JR, ERNEST O                   1932 NW 56TH TER                                                                                OCALA           FL   34482‐4289
READ JR, WILLIAM J                  66 N SANBORN RD                                                                                 BARTON CITY     MI   48705‐9751
READ LILLIAN                        2960 SILVER CREEK RD LOT 144                                                                    BULLHEAD CITY   AZ   86442‐7941
READ REVOCABLE TRUST U/A 11/14/97   860 GLENWOOD CIRCLE                                                                             FULLERTON       CA   92832
READ, ANNETTE                       26190 SCHOONER LN                                                                               MILLSBORO       DE   19966‐6971
READ, BETTY J                       C/O JAMES READ                    18041 PELKEY                                                  DETROIT         MI   48205
READ, CHARLES E                     424 DOVERDALE DR                                                                                MONROE          OH   45050‐1056
READ, DIANNA G                      265 HEDGE ROW HOLLOW                                                                            OCALA           FL   34482
READ, DOLLIE D                      301 S INSCORE ST                                                                                RECTOR          AR   72461‐1916
READ, DONALD J                      9073 N STATE RD                                                                                 OTISVILLE       MI   48463‐9407
READ, DONALD JOHN                   9073 N STATE RD                                                                                 OTISVILLE       MI   48463‐9407
READ, DONALD W                      704 POPLAR ST                                                                                   HONEY GROVE     TX   75446‐2146
READ, DOUGLAS J                     1824 TIMBERLANE DR                                                                              TRAVERSE CITY   MI   49686‐2051
READ, EDWARD A                      53 E LIBERTY ST                                                                                 NEWTON FALLS    OH   44444‐1648
READ, EILEEN M                      7021 LANDOVER BLVD                                                                              SPRING HILL     FL   34608‐1320
READ, ERIN J                        4871 N 100 W                                                                                    KOKOMO          IN   46901‐9159
READ, ERNEST L                      811 ANNAPOLIS DR                                                                                ARLINGTON       TX   76017‐6007
READ, EUGENIA C                     1421 INDIANHEAD WAY                                                                             CLAYTON         CA   94517‐1240
READ, FRANKLIN B                    1460 W LONG LAKE RD                                                                             BLOOMFIELD      MI   48302
READ, FREDERICK E                   6728 OAK ORCHARD RD                                                                             ELBA            NY   14058‐9413
READ, GERALD D                      13121 SHERIDAN RD                                                                               MONTROSE        MI   48457‐9346
READ, GERALD DUANE                  13121 SHERIDAN RD                                                                               MONTROSE        MI   48457‐9346
READ, GERALDINE P                   2621 SEMINOLE DR                                                                                ANDERSON        IN   46012‐1325
READ, GERALDINE P                   2621 SEMINOLE                                                                                   ANDERSON        IN   46012‐1325
READ, GLENN R                       4066 LOCH DR                                                                                    HIGHLAND        MI   48357‐2234
READ, H L
READ, HELEN L                       4115 CADILLAC                                                                                   WAYNE           MI 48184‐1808
                                   09-50026-mg          Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                               Address1                          Address2               Address3   Address4         City                 State Zip
READ, HELEN L                      4115 CADILLAC AVE                                                                    WAYNE                 MI 48184‐1808
READ, JAMES R                      5300 BIANCA DR                                                                       GRAND BLANC           MI 48439‐7651
READ, JANE E                       5021 OAK ORCHARD RD                                                                  ALBION                NY 14411‐9411
READ, JESS J                       6047 PIMENTA AVE                                                                     LAKEWOOD              CA 90712‐1039
READ, JOEL W                       2773 BLAIRS LANDING RD                                                               KARNACK               TX 75661‐1713
READ, JOEL WAYNE                   2773 BLAIRS LANDING RD                                                               KARNACK               TX 75661‐1713
READ, JOHN C                       1751 W LONG LAKE RD                                                                  ORLEANS               MI 48865‐9765
READ, JOHN D                       MCPHERSON MONK HUGHES BRADLEY &   3120 CENTRAL MALL DR                               PORT ARTHUR           TX 77642‐8039
                                   WIMBERLEY LLP
READ, JOHN F                       122 VILLA LN                                                                         SAINT CLAIR SHORES   MI   48080‐2736
READ, KARL E                       45245 KENTUCKY ST                                                                    PAISLEY              FL   32767‐9543
READ, KENNETH L                    56 HERITAGE EST                                                                      ALBION               NY   14411‐9760
READ, LINDA J                      15312 E 90TH ST N                                                                    OWASSO               OK   74055
READ, LOREN A                      934 CUMBERLAND CIR                                                                   MINNEOLA             FL   34715‐6502
READ, MARIE‐MAGDA B                4320 ALBRITTON RD                                                                    SAINT CLOUD          FL   34772‐7928
READ, MARK A                       15011 DIAMOND RD                                                                     VICTORVILLE          CA   92394‐9527
READ, MARTHA S                     107 SAINT ANDREWS CIR                                                                HIDEAWAY             TX   75771‐5055
READ, MARY D                       4727 GLEN MOOR WAY                                                                   KOKOMO               IN   46902‐9589
READ, NORWOOD G                    1900 B WESTLANE                                                                      KERRVILLE            TX   78028
READ, PATRICIA G                   344 HEIGLE RD                                                                        TUMBLING SHOALS      AR   72581‐9234
READ, PETER M                      591 KEYSTONE RD S                                                                    TRAVERSE CITY        MI   49686‐8832
READ, RALPHAEL D                   3206 BLACKBERRY CRK                                                                  BURTON               MI   48519‐1937
READ, RICHARD A                    4727 GLEN MOOR WAY                                                                   KOKOMO               IN   46902‐9589
READ, RICHARD E                    11802 HARTDALE AVE                                                                   WHITTIER             CA   90604‐3239
READ, RONNEY S                     1528 N MARIPOSA AVE                                                                  ONTARIO              CA   91764‐1513
READ, RUTH                         108 PINE ST BOX 167                                                                  GRANT                MI   49327
READ, SHARON A                     35535 DUNSTON DR                                                                     STERLING HEIGHTS     MI   48310‐4965
READ, SUEANN D                     10868 PINE VALLEY PATH                                                               INDIANAPOLIS         IN   46234
READ, TAMMY J                      4066 LOCH DR                                                                         HIGHLAND             MI   48357‐2234
READ, THOMAS A                     PO BOX 442                                                                           GROSSE ILE           MI   48138‐0442
READ, VELMA J                      8020 CRESTWOOD DRIVE                                                                 GARRETTSVILLE        OH   44231‐1024
READE, JACK C                      9922 E 38TH ST                                                                       KANSAS CITY          MO   64133‐1202
READE, JOSEPH K                    5721 HARVARD AVE                                                                     RAYTOWN              MO   64133‐3438
READELL COLE                       19481 GLASTONBURY RD                                                                 DETROIT              MI   48219
READER JR, CHARLES J               28215 SHOCK ST                                                                       ST CLAIR SHRS        MI   48081‐3545
READER LORA                        READER, LORA                      917 PASTURE ROSE                                   JULIET               IN   46410‐3006
READER'S DIGEST ASSOCIATION, INC   EVA DILLON                        260 MADISON AVE FL 5                               NEW YORK             NY   10016‐2401
READER, CASEY Q                    1312 GARDENIA AVE                                                                    ROYAL OAK            MI   48067‐1427
READER, COLLEEN K                  311 E LIBERTY ST                                                                     MILFORD              MI   48381‐1952
READER, GEORGE A                   812 SOFT PINE CT                                                                     NEW SMYRNA BEACH     FL   32168‐6167
READER, HARRY W                    192 MEADOWBROOK AVE                                                                  YOUNGSTOWN           OH   44512‐3002
READER, IVAN G                     11400 HIGHLAND RD‐M59                                                                HARTLAND             MI   48353
READER, JASON DONALD               313 FITCH ST                                                                         OVID                 MI   48866‐9681
READER, KAREN R                    164 S MAIN ST                                                                        CUSTER               MI   49405‐9796
READER, LON A                      164 S MAIN ST                                                                        CUSTER               MI   49405‐9796
READER, LORA                       917 PASTURE ROSE                                                                     JULIET               IN   46410‐3006
READER, ROBERT                     612 GREEN TREE LN                                                                    BEAR                 DE   19701‐1074
READER, WILLIAM G                  5873 WAYNE RD                                                                        ROMULUS              MI   48174‐1743
READES, ROGER                      2338 ALLISON DR                                                                      MIDDEDGEVILLE        GA   31061‐4981
READETT JR, PAUL B                 229 GLENWOOD AVE                                                                     FENTON               MI   48430‐3225
READHIMER SR, CHARLES              77 OAK VALLEY DR                                                                     SPRING HILL          TN   37174‐2597
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Name                                  Address1                        Address2            Address3         Address4         City               State Zip
READING AND LANGUAGE ARTS CENTERS     35990 WOODWARD AVE                                                                    BLOOMFIELD HILLS    MI 48304‐0900
INC
READING BODY WORKS INC                MARK ROBINSON                   PO BOX 650                                            SHILLINGTON        PA   19607‐0650
READING BODY WORKS, INC.              MARK ROBINSON                   PO BOX 650                                            SHILLINGTON        PA   19607‐0650
READING EAGLE COMPANY                 MICHAEL J. MIZAK JR.            P. O. BOX 582                                         READING            PA   19601
READING EAGLE COMPANY                 MICHAEL J. MIZAK JR.            PO BOX 582                                            READING            PA   19603‐0582
READING EQUIPMENT & DISTRIBUTION      1363 BOWMANSVILLE ROAD                                                                BOWMANSVILLE       PA   17507
READING EQUIPMENT & DISTRIBUTION, I

READING EQUIPMENT & DISTRIBUTION,     1363 BOWMANSVILLE ROAD                                                                BOWMANSVILLE       PA 17507
INC
READING EQUIPMENT & DISTRIBUTION,     1363 BOWMANSVILLE ROAD                                                                BOWMANSVILLE       PA 17507
INC‐SUFFOLK
READING EQUIPMENT & DISTRIBUTION,     1363 BOWMANSVILLE RD                                                                  BOWMANSVILLE       PA 17507
INC.
READING EQUIPMENT & DISTRIBUTION,     1363 BOWMANSVILLE ROAD                                                                BOWMANSVILLE       PA 17507
INC.PONTIAC
READING EQUIPMENT & DISTRIBUTION,IN

READING EQUIPMENT &                   1363 BOWMANSVILLE ROAD                                                                BOWMANSVILLE       PA 17507
DISTRIBUTION,INC.‐SUFFOLK
READING GLADYS                        7329 WOODHOLLOW RD                                                                    SPRING HILL        FL   34606‐7271
READING JAMES                         4607 FALL AVENUE                                                                      RICHMOND           CA   94804‐4339
READING JR, BERL R                    18521 ROAD 45                                                                         ANTWERP            OH   45813‐9120
READING JR, RALPH E                   41441 TYLER RD                                                                        BELLEVILLE         MI   48111‐1454
READING SR, RICHARD S                 1601 INDIAN CREEK CIR                                                                 FRANKLIN           TN   37064‐9625
READING TRUCK BODY INC                PO BOX 650                                                                            SHILLINGTON        PA   19607‐0650
READING TRUCK BODY, INC.              HANCOCK BLVD & GERRY ST                                                               READING            PA   19603
READING TRUCK BODY, INC.              HANCOCK BLVD. & GERRY STREET                                                          READING            PA   19603
READING TRUCK BODY, INC.
READING, BETTY L                      4379 REDBUSH DR S.W.                                                                  GRANDVILLE         MI   49418‐3059
READING, CHARLES K                    1951 N 64TH ST UNIT 66                                                                MESA               AZ   85205‐3623
READING, CHRISTOPHER                  6573 PHELAN CT                                                                        CLARKSTON          MI   48346‐1251
READING, DONALD H                     1587 BIRMINGHAM BLVD                                                                  BIRMINGHAM         MI   48009‐1994
READING, HELEN L                      34425 5 MILE RD                                                                       LIVONIA            MI   48154‐2655
READING, JAMES A                      12200 HIGH MEADOW CT                                                                  OKLAHOMA CITY      OK   73170‐6001
READING, MARGARET                     328 LYONS DR                                                                          TROY               MO   63379‐2519
READING, MICHAEL S                    1189 KNOWLING LOOP RD                                                                 TALBOTT            TN   37877
READING, PAUL A                       7961 E CAMINO REAL                                                                    SCOTTSDALE         AZ   85255‐6135
READING, SUZANNE R                    2808 PONCA CT                                                                         KETTERING          OH   45420‐3843
READING, TESSIE H                     113 S BELL AVE                                                                        YARDLEY            PA   19067‐1727
READING, WILLIAM JOHN                 1184 CABOT DR                                                                         FLINT              MI   48532‐2636
READINGER, RICHARD                    9313 NE 166TH CIR                                                                     BATTLE GROUND      WA   98604‐6144
READITH V PETERY                      418 FIFTH AVE                                                                         DENVER             PA   17517‐1204
READITH YOUNG                         4190 WILLIAMSON DR                                                                    DAYTON             OH   45416‐2147
READNOUR, JUDY D                      667 WANDERING WAY                                                                     OKLAHOMA CITY      OK   73170‐1603
READNOUR, RANDALL D                   667 WANDERING WAY                                                                     OKLAHOMA CITY      OK   73170‐1603
READO, MICHAEL M                      PO BOX 1125                                                                           SPRINGFIELD        LA   70462‐1125
READUS, IRENE V                       6172 RICHMOND RD                                                                      OAKWOOD VILLAGE    OH   44146‐3108
READUS, THOMAS                        124 FENTON ST                                                                         LANSING            MI   48910‐4518
READUS, THOMAS                        124 FENTON STREET                                                                     LANSING            MI   48910‐4518
READY AUTO TRANSPORT                  4115 E VALLEY AUTO DR STE 206                                                         MESA               AZ   85206‐4612
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Name                             Address1                        Address2                      Address3   Address4         City                State Zip
READY TECHNOLOGY INC             DBA STANDARD DIE SUPPLY         333 PROGRESS RD                                           DAYTON               OH 45449
READY TECHNOLOGY INC             333 PROGRESS RD                                                                           DAYTON               OH 45449
READY TO GO INC                  1220 E NORTHWEST STE 205                                                                  GRAPEVINE            TX 76092
READY TOOL CO DEPT 265           PO BOX 150473                                                                             HARTFORD             CT 06115‐0473
READY, BERNICE M                 24737 SOUTH WALNUT STREET                                                                 ELWOOD                IL 60421
READY, BERNICE M                 24737 S WALNUT ST                                                                         ELWOOD                IL 60421‐9475
READY, BETTY J                   2213 N CONCORD DR                                                                         JANESVILLE           WI 53545‐0539
READY, JOHN A                    1303 N FARVIEW DR                                                                         INDEPENDENCE         MO 64056‐1054
READY, JOHNNY                    BARTON & WILLIAMS               3007 MAGNOLIA ST                                          PASCAGOULA           MS 39567‐4126
READY, KENNETH W                 2972 ROCKBRIDGE DR                                                                        LITTLETON            CO 80129
READY, LESLIE D                  1414 OAKHILL DR                                                                           ALGER                MI 48610‐9368
READY, MARK W                    2956 WESTBOROUGH DR                                                                       SAINT CHARLES        MO 63301‐4547
REAFORD BLANKENSHIP              13220 US HIGHWAY 441 SE                                                                   OKEECHOBEE           FL 34974‐2001
REAFORD BLANKENSHIP              13220 US HWY 441 SE                                                                       OKEECHOBEE           FL 34974
REAGAN ALLIE E (429664)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                 STREET, SUITE 600
REAGAN BRENDA                    5 BELLE BROOK LN                                                                          DERRY               NH   03038‐4855
REAGAN BUICK PONTIAC GMC, INC    PO BOX 850                                                                                ELKHORN             NE   68022‐0850
REAGAN BUICK, INC.               KENNETH REAGAN                  PO BOX 850                                                ELKHORN             NE   68022‐0850
REAGAN COUNTY TAS ASSESSOR/      PO BOX 100                                                                                BIG LAKE            TX   76932‐0100
COLLECTOR
REAGAN EQUIPMENT OF COTTONDALE                                   5915 UNIVERSITY BLVD E                                                        AL   35453
REAGAN RICHARDSON                12721 CHESTNUT PASSWAY                                                                    FORT WAYNE          IN   46814‐8945
REAGAN STEPHANIE                 PO BOX 1700                                                                               PIGEON FORGE        TN   37868‐1700
REAGAN, ALBERT W                 681 AVENIDA LOMA PORTAL                                                                   NEWBURY PARK        CA   91320‐2032
REAGAN, ALINE                    624 EAST 30TH STREET                                                                      MARION              IN   46953
REAGAN, ALINE                    624 E 30TH ST                                                                             MARION              IN   46953‐3770
REAGAN, ALLIE E                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                                 STREET, SUITE 600
REAGAN, BERNARD                  318 WHIPPOORWILL DR             C/O JAYNE REAGAN GUIDRY                                   BATESVILLE          IN   47006‐9030
REAGAN, BILLY R                  LEBLANC & WADDELL               5353 ESSEN LN STE 420                                     BATON ROUGE         LA   70809‐0500
REAGAN, BOBBY B                  2404 GUM CREEK RD                                                                         OXFORD              GA   30054‐2702
REAGAN, CARL W                   9513 TIMBER RIDGE DR                                                                      GRAND BLANC         MI   48439‐7380
REAGAN, CHARLIE E                314 FITE ST                                                                               BONNE TERRE         MO   63628‐1240
REAGAN, DARRYL M                 2537 OTTELLO AVE                                                                          DAYTON              OH   45414‐4762
REAGAN, DICKY L                  4396 THOM RD                                                                              COLUMBIAVILLE       MI   48421‐9372
REAGAN, DOROTHY E                520 N DELAWANDA AVE                                                                       MUNCIE              IN   47303‐4240
REAGAN, GLADYS E                 15850 N 66TH DR                                                                           GLENDALE            AZ   85306‐2206
REAGAN, HARRY O                  4318 CLIFFORD RD                                                                          BROWNSBURG          IN   46112‐8533
REAGAN, HOSIER D                 PO BOX 359                                                                                JAMESTOWN           TN   38556‐0359
REAGAN, HOSIER D                 P.O. BOX 359                                                                              JAMESTOWN           TN   38556‐0359
REAGAN, JAMES D                  275 ANN ST                      MILLSTONE                                                 HILLSBOROUGH        NJ   08844‐5105
REAGAN, JAMES P                  PO BOX 88                                                                                 MILTON              KY   40045‐0088
REAGAN, JIMMIE L                 RR 1 BOX 220                                                                              PATTON              MO   63662‐9753
REAGAN, JOHN F                   6 OLYMPIA AVE                                                                             OLD ORCHARD BEACH   ME   04064‐1314
REAGAN, JOSEPH R                 15 SIERRA RD                                                                              ROCHESTER           NY   14624‐4524
REAGAN, KAREN K.                 4257 E TANAGER CT SE                                                                      SOUTHPORT           NC   28461‐8514
REAGAN, L. PAULETTE              1058 W WHITTEMORE AVE                                                                     FLINT               MI   48507‐3642
REAGAN, LEROY                    2920 KENNEDY RD APT D                                                                     JANESVILLE          WI   53545‐0486
REAGAN, LINDA L                  22227 DONNELLY AVE                                                                        BROWNSTOWN          MI   48193‐8222
REAGAN, M K                      3560 RUE FORET APT 63                                                                     FLINT               MI   48532‐2840
REAGAN, MARILYN P                PO BOX 26                                                                                 SULPHUR SPRINGS     IN   47388‐0026
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Name                                Address1                        Address2                  Address3            Address4         City             State Zip
REAGAN, MARION A                    178 PARTRIDGEBERRY LN                                                                          SWANZEY           NH 03446‐3707
REAGAN, MAVIS                       10829 W SANTA FE DR                                                                            SUN CITY          AZ 85351‐2609
REAGAN, MICHAEL J                   17 HIDDEN MEADOWS DR                                                                           BERGEN            NY 14416‐9559
REAGAN, MICHELLE A                  APT 12209                       2770 BARDIN ROAD                                               GRAND PRAIRIE     TX 75052‐7319
REAGAN, MINNIE LOU                  1603 VIRGINIA PLACE                                                                            CLEBURNE          TX 76033‐6438
REAGAN, OWEN Y                      1616 W 9TH ST                                                                                  MUNCIE            IN 47302‐2199
REAGAN, PAUL T                      21672 WASHINGTON DR                                                                            BROWNSTOWN        MI 48193‐7583
REAGAN, RALPH                       INMATE # 280244                 PARR HIGHWAY CORRECTION   2727 E BEECHER ST                    ADRIAN            MI 49221
REAGAN, RANDY A                     3595 W EDGAR RD                                                                                SIX LAKES         MI 48886‐9764
REAGAN, ROBERT G                    4856 ARROWHEAD DR                                                                              KETTERING         OH 45440‐2118
REAGAN, RONALD                      7262 PARSONAGE RD                                                                              SARANAC           MI 48881‐9514
REAGAN, RONALD L                    65 HOLIDAY LN                                                                                  MOORESVILLE       IN 46158‐1022
REAGAN, RONALD L                    65 HOLIDAY LANE                                                                                MOORESVILLE       IN 46158‐1022
REAGAN, SHARON L                    4378 KIMBERLY DR                                                                               DORR              MI 49323‐9027
REAGAN, SHIRLEY O                   4126 HAMILTON PLACE CT                                                                         ANDERSON          IN 46013‐5608
REAGAN, TERRENCE M                  3698 BEEBE RD                                                                                  NEWFANE           NY 14108‐9619
REAGAN, THOMAS D                    2281 EDGMON FOREST LN                                                                          CHATTANOOGA       TN 37421‐2320
REAGAN, TONYA L                     3595 W EDGAR RD                                                                                SIX LAKES         MI 48886‐9764
REAGAN, WESLEY J                    1044 PETERS FORD RD                                                                            JAMESTOWN         TN 38556‐5752
REAGAN, WILLIAM J                   6216 BOULDER DR                                                                                BURTON            MI 48529‐1545
REAGAN, WILLIAM R                   1181 WOODLAND RD NE                                                                            CONYERS           GA 30012‐4546
REAGAN, WIRT                        907 N MERIDIAN ST                                                                              EATON             IN 47338
REAGEN, GENE M                      1037 SEYBURN AVE                                                                               WATERFORD         MI 48327‐3440
REAGGLE, CHARLES W                  241 S BAYSHORE DR                                                                              COLUMBIANA        OH 44408‐9344
REAGIN, DURHAM K                    3564 KLONDIKE RD                                                                               LITHONIA          GA 30038‐3503
REAGIN, REBECCA F                   635 MOUNT VERNON HWY NW                                                                        ATLANTA           GA 30327‐4317
REAGLE, MARILYN                     5922 BEAR RIDGE RD                                                                             LOCKPORT          NY 14094‐9218
REAGLE, MARION G                    12031 ROLLING HILLS                                                                            WICHITA           KS 67235
REAGLE, TERRY L                     1247 MERCER RD                                                                                 FRANKLIN          PA 16323‐4921
REAGOR, CHARLES                     16 RIVERVIEW TER B                                                                             WINFIELD PARK     NJ 07036
REAGOR, ELLEN K                     10117 REID RD                                                                                  SWARTZ CREEK      MI 48473‐8567
REAGOR, GAIL C                      5333 WORCHESTER DR                                                                             SWARTZ CREEK      MI 48473‐1113
REAGOR, JAMES L                     551 E PATERSON ST                                                                              FLINT             MI 48505‐4710
REAGOR, JANICE L.                   204 DAYBREAK LN                                                                                SAUK CENTRE       MN 56378‐8379
REAGOR, LEON J                      1639 E MICHELLE ST                                                                             WEST COVINA       CA 91791‐3813
REAGOR, MAE                         3206 S 51ST ST                                                                                 FORT SMITH        AR 72903‐4607
REAGOR, PAUL B                      13110 W 90TH TER                                                                               LENEXA            KS 66215‐3412
REAGOR, SCOTT M                     2137 LEE RD                                                                                    SPRING HILL       TN 37174‐2520
REAGOR, SCOTT M                     2409 TRIVACA LN                                                                                NOLENSVILLE       TN 37135‐5031
REAGOR, TRACY A                     1815 NEW HIGHWAY 7                                                                             COLUMBIA          TN 38401‐1594
REAH TATRO                          2500 MANN RD LOT 279                                                                           CLARKSTON         MI 48346‐4286
REAH, CHARLES H                     3504 CENTER RD                                                                                 HIGHLAND          MI 48357‐3574
REAH, RALPH H                       5340 HOLT RD                                                                                   HOLT              MI 48842‐9506
REAH, RALPH HANK                    5340 HOLT RD                                                                                   HOLT              MI 48842‐9506
REAHLE, JAMES E                     1448 DEFOREST RD S E                                                                           NILES             OH 44446‐4446
REAHM, LORRAINE M                   4316 BILLMAR ST SW                                                                             GRANDVILLE        MI 49418‐1720
REAK, RICHARD H                     PO BOX 923                                                                                     SHELBYVILLE       TN 37162‐0923
REAL BOISCLAIR                      255 OAK ISLAND DR                                                                              WOLVERINE LAKE    MI 48390‐2041
REAL ESTATE ANALYSIS CORP           205 N MICHIGAN AVE STE 3916                                                                    CHICAGO            IL 60601‐5925
REAL ESTATE EXCHANGE SERVICES INC   3535 ROSWELL RD STE 63                                                                         MARIETTA          GA 30062‐8828
REAL ESTATE GROUP                   115 E 23RD ST STE 200                                                                          NEW YORK          NY 10010
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Name                                  Address1                         Address2                        Address3             Address4         City              State Zip
REAL ESTATE PAINTING AND ENHANCING

REAL ESTATE PAINTING AND ENHANCING    BAUMAN LOEWE & WITT PLLC         8765 EAST BELL ROAD SUITE 204                                         SCOTTSDALE         AZ   85260

REAL LANDSCAPING
REAL LIFE 101 SCHOLARSHIP FUND         PO BOX 428                                                                                            TROY               MI   48099‐0428
REAL MIRIAM                            REAL, MIRIAM                    5055 WILSHIRE BLVD STE 300                                            LOS ANGELES        CA   90036‐6101
REAL REEL CORPORATION                  DBA MULTIWALL PACKAGING         50 TAYLOR DR                                                          RUMFORD            RI   02916‐1030
REAL TIME                              7 SHERWOOD PL                                                                                         WHARTON            NJ   07885‐2028
REAL TIME DEVELOPMENT CORP             7 SHERWOOD PL                                                                                         WHARTON            NJ   07885‐2028
REAL TIME ENTERPRISES                  160 OFFICE PARK WAY                                                                                   PITTSFORD          NY   14534
REAL TIME INC                          1060 1ST AVE STE 201                                                                                  KING OF PRUSSIA    PA   19406‐1336
REAL TIME INNOVATIONS INC
REAL TIME INNOVATIONS INC              ATTN: CEO                       155A MOFFETT PARK DR.                                                 SUNNYVALE          CA   94089
REAL TIME INSTRUMENTS INC              66 ARGONAUT STE 140                                                                                   ALISO VIEJO        CA   92656‐1438
REAL TREAT POPCORN                     431 ASYLUM ST                                                                                         FLINT              MI   48503‐2656
REAL VENTURES ‐ CLARK STREET THREE ,   SMITH GROUP DEVELOPMENT, INC.   150 W JEFFERSON AVE STE 100                                           DETROIT            MI   48226‐4452
LLC
REAL VENTURES ‐ CLARK STREET TWO , LLC SMITH GROUP DEVELOPMENT, INC.   150 W JEFFERSON AVE STE 100                                           DETROIT            MI 48226‐4452

REAL VENTURES ‐ CLARK STREET, LLC     SMITH GROUP DEVELOPMENT, INC.    150 W JEFFERSON AVE STE 100                                           DETROIT            MI 48226‐4452
REAL VENTURES‐CLARK STREET FIVE LLC   ATTN: KATHLEEN H KLAUS ESQ       MADDIN HAUSER WARTELL ROTH &    28400 NORTHWESTERN                    SOUTHFIELD         MI 48034
                                                                       HELLER PC                       HIGHWAY 3RD FL
REAL VENTURES‐CLARK STREET LLC        KATHLEEN H KLAUS ESQ             MADDIN HAUSER WARTELL ROTH &    28400 NORTHWESTERN                    SOUTHFIELD         MI 48034
                                                                       HELLER, P C                     HIGHWAY 3RD FLOOR
REAL VENTURES‐CLARK STREET LLC        BURTON FARBMAN                   28400 NORTHWESTERN HWY          4TH FLOOR                             SOUTHFIELD         MI 48034
REAL VENTURES‐CLARK STREET SIX LLC    ATTN: KATHLEEN H KLAUS ESQ       MADDIN HAUSER WARTELL ROTH &    28400 NORTHWESTERN                    SOUTHFIELD         MI 48034
                                                                       HELLER PC                       HIGHWAY 3RD FL
REAL VENTURES‐CLARK STREET TWO, LLC   KATHLEEN H KLAUS ESQ             MADDIN HAUSER WARTELL ROTH &    28400 NORTHWESTERN                    SOUTHFIELD         MI 48034
                                                                       HELLER, P C                     HIGHWAY 3RD FLOOR
REAL, BARBARA C                       10440 OMELVENY ST                                                                                      PACOIMA           CA    91331‐3711
REAL, HENRY                           10626 STANWIN AVE                                                                                      MISSION HILLS     CA    91345‐2240
REAL, KATRINA                         1939 LAUREL OAK DR                                                                                     FLINT             MI    48507‐6038
REAL, MARY L                          204 KNOB RD                                                                                            LEBANON           TN    37087
REAL, MONTY B                         DAVIS MARK A LAW OFFICE OF       120 N MAIN ST                                                         VICTORIA          TX    77901‐6501
REAL, ROMAINE D                       7511 QUAIL SPRINGS DR                                                                                  ARLINGTON         TX    76002‐3469
REAL, ROMAINE D.                      7511 QUAIL SPRINGS DR                                                                                  ARLINGTON         TX    76002‐3469
REAL‐TIME INNOVATIONS, INC.           ATTN: CEO                        155A MOFFETT PARK DR.                                                 SUNNYVALE         CA    94089
REALE, ANTHONY G                      35 WOOD RUN COMMONS                                                                                    ROCHESTER         NY    14612‐2273
REALE, CORRINE M                      74 JENNINGS TERRACE DR                                                                                 GLADWIN           MI    48624‐9770
REALE, DANIEL                         6587 SLAYTON SETTLEMENT RD                                                                             LOCKPORT          NY    14094‐1136
REALE, DONNA M                        4 COUNTRY LIFE                                                                                         DEFIANCE          MO    63341‐1429
REALE, ELEANOR M                      1445 SAINT BERNADETTE LN                                                                               FLORISSANT        MO    63031‐7824
REALE, JANICE                         8352 N M52                                                                                             HENDERSON         MI    48841
REALE, JOHN D                         7574 WHEELER RD                                                                                        GASPORT           NY    14067‐9314
REALE, MARIA R                        292 BOCA AVE                                                                                           ROCHESTER         NY    14626‐4518
REALE, MICHAEL J                      40 MILL ST                                                                                             MIDDLEPORT        NY    14105‐1018
REALE, SALVATORE J                    8352 N M52                                                                                             HENDERSON         MI    48841
REALE, UMBERTO                        106 ASTRONAUT DR                                                                                       ROCHESTER         NY    14609‐1840
REALE, VINCENT J                      4660 BAILEY BRIDGE RD                                                                                  FREELAND          MI    48623‐9316
REALEY JR, RICHARD G                  38 LOWRY DR WOODLAND APTS                                                                              WILMINGTON        DE    19805
REALEY, DELLA M                       2816 GRUBB RD                                                                                          WILMINGTON        DE    19810‐2319
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Name                                 Address1                             Address2                      Address3                    Address4         City                  State Zip
REALEY, DONALD C                     2816 GRUBB RD                                                                                                   WILMINGTON             DE 19810‐2319
REALI SR, FRED D                     1339 CAVALCADE DR                                                                                               YOUNGSTOWN             OH 44515‐3843
REALIGH NELSON                       408 DOVE CT                                                                                                     LUMBERTON              NJ 08048‐4234
REALINI, PETER A                     193 BEAVER ST                                                                                                   FRANKLIN               MA 02038‐1805
REALIUS TRAMMELL JR                  18816 HULL ST                                                                                                   DETROIT                MI 48203‐2112
REALM TRANSFER                       ATTN MICHELE LUKAS                   30400 MOUND RD                MAIL CODE 480 108 215                        WARREN                 MI 48092‐2029
REALMUTO, GIANFRANCO J               1413 S IRISH RD                                                                                                 DAVISON                MI 48423‐8313
REALNETWORKS                         2601 ELLIOTT AVE                                                                                                SEATTLE                WA 98121
REALPH, HILMA B                      2145 PRESTWICK DR                                                                                               DISCOVERY BAY          CA 94505‐1408
REALS, DAVID W                       5841 ACTON ST                                                                                                   EAST SYRACUSE          NY 13057‐3003
REALS, JEFFREY A                     134 LOWER CROSS ROAD                                                                                            GREENWICH              CT 06831‐3014
REALTIME MEDIA INC                   1060 1ST AVE STE 201                                                                                            KING OF PRUSSIA        PA 19406‐1336
REALTIME REPORTING                   ONE LEADERSHIP SQ.,SUITE 1520        211 NORTH ROBINSON                                                         OKLAHOMA CITY          OK 73102
REALTIME TECHNOLOGY AG               423 N MAIN ST STE 300                                                                                           ROYAL OAK              MI 48067‐1884
REALTIONAL, LLC F/K/A RELATIONAL     233 CARONDELET ST                                                                                               NEW ORLEANS            LA 70130‐3002
FUNDING CORPORATION
REALTIONAL, LLC F/K/A RELATIONAL     DRYADES SAVINGS BANK, F.S.B.         233 CARONDELET ST                                                          NEW ORLEANS            LA   70130‐3002
FUNDING CORPORATION
REALTY ASSOCIATES FUND IV LTD        C/O THE FLYNN COMPANY                1621 WOOD ST                                                               PHILADELPHIA          PA 19103‐1207
REALTY ASSOCIATES IOWA               TRAMMELL CROW REALTY SERVICES        PO BOX 223090                                                              PITTSBURGH            PA 15251‐2090
REALTY ASSOCIATES IOWA CORPORATION   PO BOX 223090                                                                                                   PITTSBURGH            PA 15251‐2090

REALTY ASSOCIATES IOWA CORPORATION   3030 NORTH ROCKY POINT DRIVE, WEST                                                                              TAMPA                  FL   33607

REALTY ASSOCIATES IOWA CORPORATION   C/O TA REALITY ASSOCIATES            28 STATE STREET, 10TH FLOOR                                                BOSTON                MA 02190

REALTY ASSOCIATES IOWA CORPORATION   ATTN ROBERT E GREENBERG ESQ          FRIEDLANDER MISLER PLLC       1101 17TH STREET NW SUITE                    WASHINGTON            DC 20036
                                                                                                        700
REALTY CONSTRUCTION CONSULTANTS INC 230 MERRICK RD                                                                                                   OCEANSIDE             NY 11572‐1429

REALTY INVESTMENT II                 C/O TIMOTHY L TAYLOR                 PO BOX 785                    GENERAL PARTNER                              KOKOMO                IN    46903‐0785
REALTY LANDSCAPING CORPORATION       2585 2ND STREET PIKE                                                                                            NEWTOWN               PA    18940‐9667
REALTY WORLD NORTHWOOD INC           PO BOX 1249                                                                                                     INTERNATIONAL FALLS   MN    56649‐1249
REAM DAVID                           19514 ORRICK TRL                                                                                                KIRKSVILLE            MO    63501‐7126
REAM JR, WILLIAM H                   9415 DENTON HILL RD                                                                                             FENTON                MI    48430‐8404
REAM PARKE L (ESTATE OF) (635648)    SIMMONS FIRM                         PO BOX 521                                                                 EAST ALTON            IL    62024‐0519
REAM RALPH M (459276)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                NORFOLK               VA    23510
                                                                          STREET, SUITE 600
REAM SONDRA & KAHN & ASSOCIATES LLC 55 PUBLIC SQ STE 650                                                                                             CLEVELAND             OH 44113‐1909

REAM, CHARLES                        BOONE ALEXANDRA                      205 LINDA DR                                                               DAINGERFIELD          TX    75638‐2107
REAM, DOLORES F                      2 TODAY DR                                                                                                      FAIRFIELD             OH    45014‐4934
REAM, ILENE K                        467 SHADE TREE TRAIL                                                                                            MASON                 MI    48854‐1156
REAM, JEFFREY L                      531 TICKNER ST                                                                                                  LINDEN                MI    48451‐9071
REAM, JOHN W                         101 NORWALK DRIVE                                                                                               ROSCOMMON             MI    48653‐8987
REAM, JUNETTE                        213 PEARL ST                                                                                                    GRAND LEDGE           MI    48837‐2116
REAM, MELVIN L                       5439 BALDWIN RD                                                                                                 SWARTZ CREEK          MI    48473‐9153
REAM, PARKE L                        SIMMONS FIRM                         PO BOX 521                                                                 EAST ALTON            IL    62024‐0519
REAM, RALPH M                        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                NORFOLK               VA    23510‐2212
                                                                          STREET, SUITE 600
REAM, RAYMOND C                      207 PINE ST                                                                                                     CHESTERTOWN           MD 21620‐1411
REAM, RICHARD A                      110 MEATH RD                                                                                                    EATON RAPIDS          MI 48827‐1361
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Name                       Address1                        Address2            Address3         Address4         City               State Zip
REAM, ROBERT S             25785 DALE ST                                                                         ROSEVILLE           MI 48066‐3640
REAM, ROBERT STANLEY       25785 DALE ST                                                                         ROSEVILLE           MI 48066‐3640
REAM, RUBY J               11526 DAVIS ST                                                                        GRAND BLANC         MI 48439
REAM, WANDA K              1281 CODLING RD                                                                       ADRIAN              MI 49221‐9658
REAM, WILLIAM H            504 NORTH ST                                                                          HOLLY               MI 48442‐1217
REAMA JACKSON              4171 SUNDOWN RD                                                                       MORGANTON           NC 28655‐7283
REAMEA CASEY               12316 FAIRPORT AVE                                                                    CLEVELAND           OH 44108‐3126
REAMER BRENT FREDERICK     9057 N VASSAR RD                                                                      MOUNT MORRIS        MI 48458‐9726
REAMER II, DONALD D        5415 RIVES JUNCTION RD                                                                JACKSON             MI 49201‐9413
REAMER SR, RICHARD A       1005 WILLOWDALE AVE                                                                   KETTERING           OH 45429‐4732
REAMER, BLAINE W           550 DAVIS LAKE RD                                                                     LAPEER              MI 48446‐7615
REAMER, BLAIR F            5333 WIGWAM LN                                                                        LAPEER              MI 48446‐8033
REAMER, BLAIR FRANCIS      5333 WIGWAM LN                                                                        LAPEER              MI 48446‐8033
REAMER, BRENT F            9057 N VASSAR RD                                                                      MOUNT MORRIS        MI 48458‐9726
REAMER, BRENT FREDERICK    9057 N VASSAR RD                                                                      MOUNT MORRIS        MI 48458‐9726
REAMER, BYRON E            14272 NUGENT CIR                                                                      SPRING HILL         FL 34609‐5470
REAMER, CATHLEEN B         2929 WHITE OAK DRIVE                                                                  NUNNELLY            TN 37137
REAMER, CHRISTOPHER A      125 BALBRIGGAN LANE                                                                   GRANVILLE           OH 43023‐9022
REAMER, CONRAD W           7458 E CEDAR LAKE DR                                                                  GREENBUSH           MI 48738‐9204
REAMER, DONALD             269 SCOTT LAKE RD                                                                     WATERFORD           MI 48328‐3149
REAMER, DONALD B           385 ASCOT AVE                                                                         WATERFORD           MI 48328‐3508
REAMER, DONALD L           2929 WHITE OAK DR                                                                     NUNNELLY            TN 37137‐2847
REAMER, EVERETT D          2301 JAMAICA BLVD S                                                                   LAKE HAVASU CITY    AZ 86406‐8127
REAMER, FRANK A            987 ANCHOR ST                   APT# 2                                                NORTON SHORES       MI 49441
REAMER, FRANK A            APT D                           987 ANCHOR STREET                                     MUSKEGON            MI 49441‐6195
REAMER, GENE A             26350 KILTARTON ST                                                                    FARMINGTON HILLS    MI 48334‐4834
REAMER, GLENN M            2223 KENT RD                                                                          KENT                NY 14477‐9791
REAMER, HALLIE             2895 ARBORVIEW DR APT 9                                                               TRAVERSE CITY       MI 49684‐7367
REAMER, HALLIE             2895 ARBORVIEW DR               APT 9                                                 TRAVERSE CITY       MI 49684‐7367
REAMER, IVAN L             2170 AQUA LN                    VAUGHN VILLAGE                                        CARO                MI 48723‐9251
REAMER, JAMES H            978 N BAKER RD                                                                        WELLSTON            MI 49689‐9707
REAMER, JAMES R            80 RIVIERA TER                                                                        WATERFORD           MI 48328‐3463
REAMER, JEROME P           1573 FAWN CREEK RD                                                                    BRENTWOOD           TN 37027‐8615
REAMER, JOHN H             535 W BARNES LAKE RD                                                                  COLUMBIAVILLE       MI 48421‐9750
REAMER, LEO L              5258 NECKEL ST                                                                        DEARBORN            MI 48126‐3244
REAMER, LUCILE H           3201 DRYDEN ROAD                                                                      MORAINE             OH 45439‐1423
REAMER, RICHARD D          7539 W PEDERSEN LOOP                                                                  HOMOSASSA           FL 34446‐2054
REAMER, RICKY J            4413 N GRAND DR                                                                       MARION              IN 46952‐9312
REAMER, SHIRLEY A          5416 ISABELLE AVE                                                                     PORT ORANGE         FL 32127‐5522
REAMER, WILLIAM E          100 SOUTH WEST 4TH ST           P.O BOX 582                                           ATLANTA              IL 61723‐1723
REAMER, WILLIAM E          100 SW 4TH ST                   P.O BOX 582                                           ATLANTA              IL 61723‐9053
REAMES JR, WALLACE F       8516 WASHBURN RD                                                                      COLUMBIAVILLE       MI 48421‐9357
REAMES, CURTIS A           4750 E KENT RD                                                                        FREELAND            MI 48623‐9403
REAMES, DENNIS E           6522 STALEY ST                                                                        UNIONVILLE          MI 48767‐9677
REAMES, JUANITA J          110 N 7TH ST                                                                          HAMILTON            OH 45011‐3536
REAMES, LARRY              3021 N US HIGHWAY 23                                                                  OSCODA              MI 48750‐9569
REAMES, MARJORIE           1415 WEST MOUND RD 301                                                                DECATUR              IL 52526
REAMES, RETA A             4841 APPLETREE LN                                                                     BAY CITY            MI 48706‐9261
REAMEY S KIDDER            C/O WEITZ & LUXENBERG PC        700 BROADWAY                                          NEW YORK CITY       NY 10003
REAMEY S KIDDER            WEITZ & LUXENBERG PC            700 BROADWAY                                          NEW YORK CITY       NY 10003
REAMON FOTIEO SZCZYTKO &   934 SCRIBNER AVENUE, N.W.                                                             GRAND RAPIDS        MI 49504
REAMS JOHN                 5415 BROUGH RD                                                                        ELKTON              FL 32033‐2928
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Name                                  Address1                      Address2                      Address3   Address4         City                 State Zip
REAMS ON‐LINE TOOL ENGINEERING        34170 KELLY RD                                                                          CLINTON TOWNSHIP      MI 48035‐3369
REAMS, DIANA J                        486 SUNSET ST                                                                           ALGONAC               MI 48001‐1039
REAMS, DONNA G                        8031 STARVILLE RD                                                                       CLAY                  MI 48001‐3205
REAMS, ELEANOR M                      515 PRUNER ST APT 4                                                                     OSCEOLA MILLS         PA 16666‐1100
REAMS, ELEANOR M                      515 PRUNER ST                 APT 4                                                     OSCEOLA MILLS         PA 16666‐1100
REAMS, LYNN R                         447 PLYMOUTH AVE                                                                        GIRARD                OH 44420
REAMS, MARILON                        827 BUNNING LN                                                                          COLD SPRING           KY 41076‐1564
REAMS, PHYLLIS IRENE                  1678 SUMATRA AVE                                                                        DELTONA               FL 32725‐4507
REAMS, RAYMOND G                      3796 CENTURION DR                                                                       CINCINNATI            OH 45211‐1855
REAMS, RICHARD C                      12815 PONDEROSA RANCH RD                                                                VICTORVILLE           CA 92392‐6153
REAMS, SARAH B                        11808 BENTON AVENUE                                                                     NORTHPORT             AL 35475‐4534
REAMS, THOMAS B                       2864 STAHLHEBER RD                                                                      HAMILTON              OH 45013‐1944
REAMS, ZEPORA                         2319 WASHINGTON AVE                                                                     ALTON                  IL 62002‐5429
REAMSNYDER, DEAN E                    1642 GRAND BAY DR                                                                       OREGON                OH 43616‐1152
REAMSNYDER, DEAN EDWARD               1642 GRAND BAY DR                                                                       OREGON                OH 43616‐1152
REAMSNYDER, KARLA A                   1642 GRAND BAY DR                                                                       OREGON                OH 43616‐1152
REANARD FEATHERSTONE                  831 NORTH SHORE DRIVE                                                                   ST. CLAIR SHORES      MI 48080
REANARD FEATHERSTONE                  831 NORTHSHORE DR                                                                       SAINT CLAIR SHORES    MI 48080‐2833
REANEY, BRIAN J                       1508 EAGLE RIDGE DR                                                                     DOWNINGTOWN           PA 19335‐3634
REANEY, JOSEPH M                      1508 EAGLE RIDGE DR                                                                     DOWNINGTOWN           PA 19335‐3634
REANEY, MATTHEW M                     925 THORNE DR                                                                           WEST CHESTER          PA 19382‐7578
REANEY, MATTHEW M.                    925 THORNE DR                                                                           WEST CHESTER          PA 19382‐7578
REANNA L GOBLE                        190 OHIO ST                                                                             YPSILANTI             MI 48198‐7820
REANY, ADRIENNE E                     8535 COUNTY ROAD 6                                                                      CAREY                 OH 43316‐9629
REANY, JOHN R                         2140 W SOUTHLAND DR                                                                     OAK CREEK             WI 53154‐3629
REAPSUMMER, JOSEPH R                  915 TIBBETTS WICK RD                                                                    GIRARD                OH 44420
REAPSUMMER, THOMAS                    1402 SHANNON RD                                                                         GIRARD                OH 44420‐1117
REAPSUMMER, THOMAS R                  1402 SHANNON RD                                                                         GIRARD                OH 44420‐1117
REAR, CLAY E                          17599 WATERTON ST                                                                       FOUNTAIN VALLEY       CA 92708‐4839
REARDON EDWARD J (ESTATE OF) (667179) THORNTON EARLY & NAUMES       100 SUMMER ST LBBY 3                                      BOSTON                MA 02110‐2104

REARDON JOHN R (357500)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                    STREET, SUITE 600
REARDON SR, JERRY L                 1808 FIELDCREST DR                                                                        LAWRENCEBURG         IN   47025‐9380
REARDON, CATHERINE F                542 CLINE AVE                                                                             MANSFIELD            OH   44907
REARDON, DANIEL P                   4729 EVANSTON AVE                                                                         KANSAS CITY          MO   64133‐1812
REARDON, DAVID W                    5 JESSICA CIR                                                                             WESTFORD             MA   01886‐2364
REARDON, DONALD P                   27 GERRITT ST                                                                             OSWEGO               NY   13126‐4011
REARDON, EDITH W                    702 KIRKLAND WAY APT 17                                                                   KIRKLAND             WA   98033‐3957
REARDON, EDWARD J                   C/O THORNTON EARLY & NAUMES     100 SUMMER ST LBBY 3                                      BOSTON               MA   02110‐2104
REARDON, GARY A                     923 KINGS WAY                                                                             CANTON               MI   48188‐1133
REARDON, JAMES K                    6720 GORSUCH RD                                                                           FRANKLIN             OH   45005‐4545
REARDON, JANET L                    1 NICHOLES RD                                                                             MILFORD              MA   01757
REARDON, JANET L                    1 NICHOLAS RD                                                                             MILFORD              MA   01757‐1861
REARDON, JASON L                    2905 MILTON BRYAN DR                                                                      LOGANVILLE           GA   30052‐3937
REARDON, JOHN                       16182 MEREDITH CT                                                                         LINDEN               MI   48451‐9095
REARDON, JOHN A                     4640 MARLOW DR                                                                            WARREN               MI   48092‐2370
REARDON, JOHN R                     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                                    STREET, SUITE 600
REARDON, JOHN W                     76 LAKE NESS DR                                                                           MOUNT MORRIS         MI 48458‐8888
REARDON, JULIA M                    PO BOX 279                                                                                ODESSA               DE 19730‐0279
REARDON, KATHERINE R                5312 ANCHOR WAY                                                                           ORIENTAL             NC 28571‐9701
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Name                        Address1                          Address2                      Address3            Address4           City            State Zip
REARDON, MADELINE D         116 IROQUOIS RD                                                                                        BRISTOL          CT 06010‐7116
REARDON, MARIE C            4411 TEAL WAY                                                                                          SARASOTA         FL 34232‐5155
REARDON, MARJORIE L         4444 BROMLEY DR                                                                                        TOLEDO           OH 43623‐1518
REARDON, MATTHEW T          3802 IVEY LN SW                                                                                        LILBURN          GA 30047‐2134
REARDON, MATTHEW THOMAS     3802 IVEY LN SW                                                                                        LILBURN          GA 30047‐2134
REARDON, MICHAEL S          113 BUCHANAN DR                                                                                        EPHRATA          PA 17522‐9621
REARDON, MONA M             29 WASHINGTON AVE                 APT#1                                                                OSSINING         NY 10562
REARDON, PATRICIA A         11333 MORNINGSTAR DR                                                                                   SAGINAW          MI 48609‐8800
REARDON, PATRICIA M         1677 FALL HAVEN DRIVE                                                                                  COLUMBUS         OH 43235‐3235
REARDON, PATRICIA M         1677 FALLHAVEN DR                                                                                      COLUMBUS         OH 43235
REARDON, PATRICK D          PO BOX 284                                                                                             KENT             OH 44240‐0005
REARDON, R                  630 GIRARD AVE                                                                                         MARION           OH 43302‐4920
REARDON, ROBERT W           537 50TH ST                                                                                            SANDUSKY         OH 44870‐4927
REARDON, RONALD J           913 BLACKBERRY LN                                                                                      WEBSTER          NY 14580‐8921
REARDON, RONALD L           11422 NORA DR                                                                                          FENTON           MI 48430‐8702
REARDON, WILLIAM J          705 MAPLE ST                                                                                           MOUNT MORRIS     MI 48458‐2206
REARIC, GARY L              1835 BELLE TERRE AVE                                                                                   NILES            OH 44446‐4123
REARICK, JONPAUL            1336 HOLLY ST S                                                                                        WASKOM           TX 75692‐9105
REARICK, KAY L              3020 JACKSON PSGE                                                                                      BLMNGTON SPGS    TN 38545‐4502
REARICK, L W                38565 WARWICKSHIRE DR                                                                                  STERLING HTS     MI 48312‐1162
REARICK, PAUL R             1446 GIBSON RD TRLR D29                                                                                BENSALEM         PA 19020‐3069
REARICK, WILLIAM C          1470 SEABREEZE ST                                                                                      CLEARWATER       FL 33756‐2349
REARICK, WILLIAM M          1509 REARICK RD                                                                                        FORD CITY        PA 16226‐5235
REARSON, BERNICE M          3645 STALKER RD                                                                                        MACEDON          NY 14502‐4502
REARSON, BERNICE M          3645 STALKER ROAD                                                                                      MACEDON          NY 14502‐9362
REARSON, JOHN H             1507 WILLOWDALE DR                                                                                     MACEDON          NY 14502‐9105
REAS CHEVROLET OLDSMOBILE   GEO INC                           PO BOX 70                     66629 GRATIOT AVE                      RICHMOND         MI 48062‐0070
REAS, MARGARET A            1030 ENNEST                                                                                            WHITE LAKE       MI 48386
REAS, MARGARET A            1030 ENNEST ST                                                                                         WHITE LAKE       MI 48386‐4228
REAS, RONALD L              919 FENWAY CT                                                                                          ANDERSON         IN 46011‐9020
REASA                       SS 13 GMDAT                                                                         GMDAT HONDURAS
REASCH, ELENORA             1546 CONGRESS HILL LN                                                                                  FAIRFIELD       OH   45014‐4504
REASCH, WALTER R            1546 CONGRESS HILL LANE                                                                                FAIRFIELD       OH   45014‐4604
REASE, CHARLES W            8034 MANDALAY ST                                                                                       DETROIT         MI   48204‐3567
REASER JR, FORREST W        3406 RIVER BLUFF RD                                                                                    ANDERSON        IN   46012‐4634
REASER LARRY A (626728)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
                                                              STREET, SUITE 600
REASER, LARRY A             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
REASER, RICHARD C           2336 STALEY RD                                                                                         GRAND ISLAND    NY   14072‐2045
REASER, ROBERT              SIMON EDDINS & GREENSTONE         3232 MCKINNEY AVE STE 610                                            DALLAS          TX   75204‐8583
REASER, WALTER A            512 W OCEAN AVE                                                                                        LANTANA         FL   33462‐2858
REASEY, JEAN S.             26070 CRYSTAL                                                                                          WARREN          MI   48091‐1140
REASEY, JEAN S.             26070 CRYSTAL AVE                                                                                      WARREN          MI   48091‐1140
REASH, ROLLAND R            55 NORTHWEST ST                                                                                        COLUMBIANA      OH   44408‐1263
REASNER, DALLAS J           310 E CORUNNA AVE                                                                                      CORUNNA         MI   48817‐1408
REASON CHARLES              930 LINDEN ST                                                                                          FOWLERVILLE     MI   48836
REASON DAVID                17712 RIDGEWOOD DR                                                                                     HAZEL CREST     IL   60429‐2117
REASON FOUNDATION           3415 S SEPULVEDA BLVD STE 400                                                                          LOS ANGELES     CA   90034‐6094
REASON, CHARLES M           3724 WHETSTONE LN                                                                                      FORT WAYNE      IN   46815‐6377
REASON, DALE E              PO BOX 63                                                                                              WAVELAND        IN   47989‐0063
REASON, DAVID               17712 RIDGEWOOD DR                                                                                     HAZEL CREST     IL   60429‐2117
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Name                                 Address1                        Address2                    Address3   Address4         City            State Zip
REASON, LOLA M                       20 MARYWOOD DR                                                                          GREENFIELD       IN 46140‐1173
REASON, MONTELL L                    19181 PRAIRIE STREET                                                                    DETROIT          MI 48221‐1707
REASON, MONTELL LAMONTE              19181 PRAIRIE STREET                                                                    DETROIT          MI 48221‐1707
REASON, PETE                         2003 WEBBER ST                                                                          SAGINAW          MI 48601
REASON, ROBERTA J                    530 STONE DR                                                                            GREENTOWN        IN 46936‐1179
REASON, SHERWOOD C                   5342 HARDING ST                                                                         WAYNE            MI 48184‐2217
REASON, SHERWOOD CLEATUES            5342 HARDING ST                                                                         WAYNE            MI 48184‐2217
REASON, WILLIAM B                    10018 N 550 W                                                                           FRANKTON         IN 46044‐9575
REASON, WILLIAM E                    530 STONE DR                                                                            GREENTOWN        IN 46936‐1179
REASONABLE TRIM SHOP                 ROBERT R GALLETTE               66249 S FOREST AVE                                      LENOX            MI 48050‐1916
REASONER ROSS (ESTATE OF) (667180)   SIMONS EDDINS & GREENSTONE
REASONER, BRIAN W                    301 NORTH CRAIG STREET                                                                  CLINTON         MO   64735‐1820
REASONER, CHARLES J                  825 CEDAR ST                                                                            GRAND LEDGE     MI   48837‐2020
REASONER, CHARLES J.                 825 CEDAR ST                                                                            GRAND LEDGE     MI   48837‐2020
REASONER, DENNIS C                   936 WILLOWDALE AVE.                                                                     KETTERING       OH   45429‐5429
REASONER, DONALD L                   301 NORTH CRAIG STREET                                                                  CLINTON         MO   64735‐1820
REASONER, F G                        212 GRANDMERE                                                                           FLINT           MI   48507
REASONER, JEFFREY B                  8062 DUNGARVIN DR                                                                       GRAND BLANC     MI   48439‐8161
REASONER, JOSEPH P                   9364 W FALL CREEK DR                                                                    PENDLETON       IN   46064‐9790
REASONER, ROBERT K                   1135 NORTH ST                                                                           NOBLESVILLE     IN   46060‐1829
REASONER, RONALD J                   481 LAKEVIEW DR                                                                         NOBLESVILLE     IN   46060‐1214
REASONER, ROSS                       C/O SIMON EDDINS & GREENSTONE   3232 MCKINNEY AVE STE 610                               DALLAS          TX   75204‐8583
REASONER, TED A                      8702 CHAPEL GLEN DR                                                                     INDIANAPOLIS    IN   46234‐2620
REASONOVER, RACHEL L                 800 KENNY NELSON RD                                                                     LEWISBURG       TN   37091‐6675
REASONS, CAROLYN                     427 GRANDVIEW OAK DR                                                                    UNION           MO   63084
REASONS, DOUGLAS R                   6129 JEFFERSON DAVIS DR                                                                 HILLSBORO       MO   63050‐3140
REASONS, ELLEN E                     PO BOX 765                                                                              RUSTBURG        VA   24588‐0765
REASONS, ELLEN E                     P.O BOX 765                                                                             RUSTBURG        VA   24588‐0765
REASONS, MATT J                      609 S WOOD AVE                                                                          FREDERICKTOWN   MO   63645‐1329
REASONS, STANLEY E                   26249 TIMBERLINE DR                                                                     WARRENTON       MO   63383‐6576
REASOR, BILLY F                      1615 TAMWORTH CIRLCE                                                                    MIAMISBURG      OH   45342‐5342
REASOR, GLENN R                      1101 N TIPPECANOE AVE                                                                   ALEXANDRIA      IN   46001‐1154
REASOR, GUY                          1201 CHARLTON COURT                                                                     DANVILLE        IN   46122‐7825
REASOR, JOHN W                       10 GLEN ROSE CT                                                                         WEST NYACK      NY   10994‐2109
REASOR, MAXINE E                     98 NORTH 10TH STREET                                                                    GREENCASTLE     IN   46135
REASOR, MAXINE E                     98 N 10TH ST                                                                            GREENCASTLE     IN   46135‐7512
REASOR, OPAL M                       4171 MOULTON DR                 C/O WINONA JEAN CASTLES                                 FLINT           MI   48507‐5546
REASOR, WOODROW                      3593 E MARCUS DR                                                                        SAGINAW         MI   48603‐2045
REAST, DORA                          213 W 50TH ST                                                                           LOVELAND        CO   80538‐1601
REASTER, FRIEDA J                    3041 S KESSLER FREDERICK RD                                                             WEST MILTON     OH   45383‐9707
REAT HAYES                           2600 WALNUT RD                                                                          SAREPTA         LA   71071‐2469
REATA AUTO GROUP, LTD.               JEFFREY LUNDQUIST               1955 US HIGHWAY 90 E                                    CASTROVILLE     TX   78009‐5451
REATA BANKS                          163 GREENLAND DR                                                                        SYRACUSE        NY   13208‐3056
REATEGUI, NELSON E                   1518 VALDEZ WAY                                                                         FREMONT         CA   94539‐3661
REATHA COLLINS                       1380 CENTRAL ST                                                                         INKSTER         MI   48141‐1647
REATHA JASTRZEMSK                    3630 BROADWAY ST                                                                        SAGINAW         MI   48601‐5407
REATHA PRICE                         923 N E ST                                                                              HAMILTON        OH   45013‐2749
REATHA RICHMOND                      21641 RIDGEDALE ST                                                                      OAK PARK        MI   48237‐2725
REATHA SOLTIS                        11543 STATE ROUTE 644                                                                   KENSINGTON      OH   44427‐9717
REATHA STEPP                         25 PHEASANT RUN CIR                                                                     SPRINGBORO      OH   45066‐1493
REATHA WOOD                          4253 PARKWAY DR                                                                         DAYTON          OH   45416‐1664
REATHAFORD, RICHARD                  BOONE ALEXANDRA                 205 LINDA DR                                            DAINGERFIELD    TX   75638‐2107
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Name                                Address1                               Address2                          Address3   Address4         City           State Zip
REATHER GILMAN REBECCA GILMAN       MCKENNA & ASSOCIATES PC                436 BOULEVARD OF THE ALLIES       STE 500                     PITTSBURGH      PA 15219‐1331
REATHER GILMAN AND REBECCA GILMAN   MCKENNA & ASSOCIATES PC                436 BOULEVARD OF THE ALLIES STE                               PITTSBURGH      PA 15219‐1331
                                                                           500
REATHER PIERRIE                     3267 SCHUST RD APT 107                                                                               SAGINAW        MI   48603‐8110
REATHERFORD, DANNY E                480 AUTUMN LN                                                                                        SAVANNAH       TN   38372‐5055
REATHERFORD, THOMAS E               2006 CLIFTON TPKE                                                                                    WAYNESBORO     TN   38485‐5927
REATO, KAREN M                      14653 SHETLAND DR                                                                                    HOMER GLEN     IL   60491‐8809
REATO, RONALD G                     14653 SHETLAND DR                                                                                    LOCKPORT       IL   60491‐8809
REAU, EDWARD C                      1411 BROOK PARK APT. 3                                                                               TOLEDO         OH   43612
REAU, EDWARD CHARLES                1411 BROOK PARK APT. 3                                                                               TOLEDO         OH   43612
REAU, TERRY L                       392 VICTORY ST                                                                                       BLISSFIELD     MI   49228‐1134
REAUD, ALFREDO O                    PO BOX 251487                                                                                        PLANO          TX   75025‐1487
REAUME DANIEL                       30900 RAYBURN ST                                                                                     LIVONIA        MI   48154‐3298
REAUME, ANNE MARIE                  2710 S. JEFFERSON                                                                                    BAY CITY       MI   48708‐3700
REAUME, ANNE MARIE                  2710 S JEFFERSON ST                                                                                  BAY CITY       MI   48708‐3700
REAUME, ARTHUR                      10243 S STRAITS HWY                                                                                  WOLVERINE      MI   49799‐9765
REAUME, BARRY J                     7117 CAPRI DR                                                                                        WHITE LAKE     MI   48383‐2873
REAUME, CHARLES P                   47102 S CHIGWIDDEN DR                                                                                NORTHVILLE     MI   48167‐3304
REAUME, DANIEL J                    30900 RAYBURN ST                                                                                     LIVONIA        MI   48154‐3298
REAUME, FRANK L                     24315 MCDONALD ST                                                                                    DEARBORN HTS   MI   48125‐1923
REAUME, FREDERICK N                 6070 BENTWOOD CIR E                                                                                  WHITE LAKE     MI   48383‐1084
REAUME, FREDERICK N                 4680 MELANIE LN                                                                                      WHITE LAKE     MI   48383‐1386
REAUME, HARRIET M                   4680 MELANIE LN                                                                                      WHITE LAKE     MI   48383‐1386
REAUME, JAMES A                     3752 S BERN RD                                                                                       BAY CITY       MI   48706‐9235
REAUME, JANET L                     WINCHESTER TOWERS, 2001 ELVA STREET,                                                                 MT PLEASANT    MI   48858
                                    APT # 702
REAUME, JEANNE I                    5221 LAKESHORE RD APT 216                                                                            FORT GRATIOT   MI   48059‐3150
REAUME, JOHN W                      1127 CORA ST                                                                                         WYANDOTTE      MI   48192‐2805
REAUME, LAWRENCE W                  67725 PLACE RD                                                                                       LENOX          MI   48050‐1111
REAUME, MICHAEL C                   8776 BOMIEA RD                                                                                       NEWPORT        MI   48166‐9347
REAUME, PAUL G                      9660 HUNTLEY COVE                                                                                    PINCKNEY       MI   48169‐9473
REAUME, PAUL G                      9660 HUNTLEY CV                                                                                      PINCKNEY       MI   48169‐9473
REAUME, ROHN E                      2319 ROLLING GREEN PL                                                                                SAGINAW        MI   48603‐7702
REAUMONT, CHELSEA
REAUMONT, JULIA
REAVER, CONSTANCE J                 755 E MANSFIELD AVE                                                                                  PONTIAC        MI   48340‐2951
REAVER, EUGENE E                    594 WESTWOOD DR                                                                                      FAIRBORN       OH   45324‐6422
REAVER, FRANKLIN E                  230 WESTERN AVE                                                                                      ENON           OH   45323‐1325
REAVER, RONALD L                    261 LAKE DR                                                                                          SUMMERFIELD    NC   27358
REAVES DONNA                        REAVES, DONNA                          1844 CULKIN RD                                                VICKSBURG      MS   39183‐8158
REAVES FIRM INC                     5880 RIDGE BEND RD                                                                                   MEMPHIS        TN   38120‐9416
REAVES FIRM INC, THE                5880 RIDGE BEND RD                                                                                   MEMPHIS        TN   38120‐9416
REAVES I I, JOHN W                  1241 MILL CREEK RD                                                                                   FLINT          MI   48532‐2348
REAVES II, JOHN W                   1241 MILL CREEK RD                                                                                   FLINT          MI   48532‐2348
REAVES JR, DANIEL P                 12 FARVIEW AVE                                                                                       LEBANON        OH   45036‐1504
REAVES JR, DAVID                    33057 GLENHURST                                                                                      LENOX          MI   48048‐2927
REAVES JR., ELLIS M                 19986 RENFREW RD                                                                                     DETROIT        MI   48221‐1369
REAVES ROBERT L (429665)            GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                   NORFOLK        VA   23510
                                                                           STREET, SUITE 600
REAVES RORY                         946 PIEDMONT AVE NE APT 3                                                                            ATLANTA        GA 30309
REAVES, ALFRED S                    2188 CHASE POINT CT                                                                                  FLUSHING       MI 48433‐2200
REAVES, ALLAN D                     16870 STOUT ST                                                                                       DETROIT        MI 48219‐3359
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Name                     Address1                       Address2                      Address3   Address4         City               State Zip
REAVES, ALLAN D          4258 W GRAND ST                                                                          DETROIT             MI 48238‐2628
REAVES, ALVIN J          1039 SEYBURN ST                                                                          DETROIT             MI 48214‐2447
REAVES, CHARLES B        754 E ALMA AVE                                                                           FLINT               MI 48505‐2224
REAVES, CHRISTINA        8148 INWOOD AVE                                                                          DAYTON              OH 45415‐1615
REAVES, DANITA K         291 W MOHAWK DR MO                                                                       MALVERN             OH 44644
REAVES, DANNY P          2118 COTTONWOOD ST                                                                       GRAND PRAIRIE       TX 75050‐3956
REAVES, DAPHNE           630 BELL RD APT 186                                                                      ANTIOCH             TN 37013‐2118
REAVES, DENEASE          4320 N 67TH ST                                                                           MILWAUKEE           WI 53216‐1111
REAVES, DENISE A         2 CLOCKTOWER PL APT 430                                                                  NASHUA              NH 03060‐3352
REAVES, DONNA            1844 CULKIN RD                                                                           VICKSBURG           MS 39183‐8158
REAVES, EDITH A          4501 LAKEVIEW ESTATES DR                                                                 NORTHPORT           AL 35473‐1608
REAVES, EDWARD D         20098 GOULBURN ST                                                                        DETROIT             MI 48205‐1008
REAVES, EFFIE L          2715 MASON ST                                                                            FLINT               MI 48505‐4141
REAVES, ELBERT M         PO BOX 5372                                                                              COLUMBUS            GA 31906‐0372
REAVES, ELBERT M         2415 SCHAUL ST                 PO BOX 5372                                               COLUMBUS            GA 31906
REAVES, ELMER            5515 PICKERING CT                                                                        COLORADO SPRINGS    CO 80911‐3148
REAVES, F D
REAVES, GERALD W         291 W MOHAWK DR MO                                                                       MALVERN            OH   44644
REAVES, HARREL           2715 MASON ST                                                                            FLINT              MI   48505‐4141
REAVES, JAMES H          OHIO VETRANS HOME              3416 COLUMBUS AVENUE                                      SANDUSKY           OH   44870‐4870
REAVES, JAMES H          3416 COLUMBUS AVE              OHIO VETRANS HOME                                         SANDUSKY           OH   44870‐5557
REAVES, JEANETTE         230 AUTUMN GLEN CIRCLE                                                                   FEYTTEVILLE        GA   30215
REAVES, JOANN            4102 MILLERSVILLE RD                                                                     INDIANAPOLIS       IN   46205‐2915
REAVES, JOHN P           NO. 1 SLAGGFORD LANE                                                                     BELLA VISTA        AR   72714
REAVES, JOHN P           NO 1 SLAGGFORD LN                                                                        BELLA VISA         AR   72714
REAVES, JOHNNIE          21 HAYES ST                                                                              CRANFORD           NJ   07016‐3435
REAVES, JUDITH B         3907 TIMBERLINE DR                                                                       BEAVERCREEK        OH   45432‐2041
REAVES, KENDALL E        1211 MILBOURNE AVE                                                                       FLINT              MI   48504‐3365
REAVES, KENDALL ELAINE   1211 MILBOURNE AVE                                                                       FLINT              MI   48504‐3365
REAVES, L P              1449 LEXINGTON AVE                                                                       DAYTON             OH   45402‐5635
REAVES, LA JOYCE         2188 CHASE POINT CT                                                                      FLUSHING           MI   48433‐2200
REAVES, LEE S            PO BOX 205                                                                               BURDINE            KY   41517‐0205
REAVES, LUCILE           2416 OAKRIDGE DRIVE                                                                      DAYTON             OH   45417‐1519
REAVES, LUCILLE          4536 30TH AVE                                                                            VERO BEACH         FL   32967‐1213
REAVES, LUTHER W         108 GLEN MARY DR                                                                         FLORENCE           AL   35633‐7863
REAVES, MARILYN J        5290 WYNDEMERE COMMON SQ                                                                 SWARTZ CREEK       MI   48473‐8913
REAVES, MARION P         405 SHAWNEE DR                                                                           COLUMBIA           TN   38401‐2530
REAVES, MARION PATRICK   405 SHAWNEE DR                                                                           COLUMBIA           TN   38401‐2530
REAVES, MARION S         8554 HAYSHED LN                                                                          COLUMBIA           MD   21045‐2615
REAVES, MARK C           1 CLOCKTOWER PL APT 127                                                                  NASHUA             NH   03060‐3376
REAVES, MICHAEL T        6171 INDUSTRIAL LOOP #L100                                                               SHREVEPORT         LA   71129
REAVES, MICHAEL THOMAS   6171 INDUSTRIAL LOOP #L100                                                               SHREVEPORT         LA   71129
REAVES, NANCY M          215 MAIN PARK LN                                                                         DUNCANVILLE        TX   75137‐3267
REAVES, PAMELA           1579 ROBIN RD                                                                            SHELBYVILLE        KY   40065‐1775
REAVES, PATSY P          1705 LYRIC CT                                                                            ROCHESTER HILLS    MI   48307‐2928
REAVES, PATSY P          1705 LYRIC CT.                                                                           ROCHESTER HILLS    MI   48307‐2928
REAVES, PHILIP E         6621 HILLCROFT DRIVE                                                                     FLINT              MI   48505‐2452
REAVES, RAYMOND J        PO BOX 13326                                                                             FLINT              MI   48501‐3326
REAVES, RAYMOND R        5290 WYNDEMERE COMMON SQ                                                                 SWARTZ CREEK       MI   48473‐8913
REAVES, ROBERT A         12 GRANBURY DR                                                                           NEW CASTLE         DE   19720‐3743
REAVES, ROBERT L         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                        STREET, SUITE 600
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Name                    Address1                       Address2                   Address3          Address4         City            State Zip
REAVES, RODNEY A        12 GRANBURY DRIVE                                                                            NEW CASTLE       DE 19720‐3743
REAVES, ROY M           185 GRACE AVE                                                                                FITZGERALD       GA 31750‐8060
REAVES, SHEILA A        PO BOX 48156                                                                                 OAK PARK         MI 48237‐5856
REAVES, STANLEY C       17902 MCCLUNG AVE                                                                            SOUTHFIELD       MI 48075‐3420
REAVES, TANIA D         PO BOX 2789                                                                                  DETROIT          MI 48202‐0789
REAVES, TEKILLA J       2021 SEYMOUR AVE                                                                             FLINT            MI 48503‐4342
REAVES, THERESA M       7169 BURNING BUSH LN                                                                         FLUSHING         MI 48433
REAVES, TOK S           12341 ADAMS ST                                                                               MT MORRIS        MI 48458
REAVES, TOK S           6209 HATHAWAY DR                                                                             FLINT            MI 48505
REAVES, TUJUNANA K      1241 MILL CREEK RD                                                                           FLINT            MI 48532‐2348
REAVES, VICKI L         2520 ALTOONA ST                                                                              FLINT            MI 48504‐7701
REAVES, VICKI LYNN      2520 ALTOONA ST                                                                              FLINT            MI 48504‐7701
REAVES, VICKIE A        500 HUCKLEBERRY LN                                                                           SAVANNAH         TN 38372‐7912
REAVES, WILLARD E       2213 ARMSTRONG RD                                                                            LANSING          MI 48917‐9722
REAVES, WILLIE C        1276 RHINE‐ABBYVILLE HWY                                                                     RHINE            GA 31077
REAVES, WILLIE C        1276 RHINE ABBEVILLE HWY                                                                     RHINE            GA 31077‐3319
REAVES, WILLIE R        108 GLEN MARY DR                                                                             FLORENCE         AL 35633‐7863
REAVEY, WILLIAM A       2866 UNIONVILLE RD                                                                           AKRON            MI 48701‐9510
REAVILLE, NORMA         933 BRYN MAWR AVE                                                                            WICKLIFFE        OH 44092‐2251
REAVIS, CALVIN D        30908 W 327TH ST                                                                             PAOLA            KS 66071‐4724
REAVIS, CHARLES A       1043 SAVAGE RD                                                                               BELLEVILLE       MI 48111
REAVIS, DEANNA K        26603 231ST PL SE                                                                            MAPLE VALLEY     WA 98038‐5824
REAVIS, JOYLENE M       W805 PEDEE RD                                                                                BRODHEAD         WI 53520‐9561
REAVIS, RALPH W         218 OXFORD PLACE DR                                                                          FORT MILL        SC 29715‐9610
REAVIS, RALPH W.        218 OXFORD PLACE DR                                                                          FORT MILL        SC 29715‐9610
REAY II, CHARLES A      2477 CARTWRIGHT RD                                                                           RENO             NV 89521‐7114
REAY JR, RAYMOND W      3592 TUNDRA RD                                                                               VENICE           FL 34293‐5446
REAY, DAVID G           3325 LESSIA DR                                                                               CLIO             MI 48420‐1918
REAY, DAVID GRAHAM      3325 LESSIA DR                                                                               CLIO             MI 48420‐1918
REAY, HAROLD L          4280 PARKWAY CENTRE DR                                                                       GROVE CITY       OH 43123‐8154
REAY, MARY              7298 BLUE SPRINGS RD                                                                         CLEVELAND        TN 37311‐8812
REAY, TIMOTHY S         313 E HIGH ST                                                                                LONDON           OH 43140‐9727
REAZER, JOHN M          1901 ELGIN AVE APT 402                                                                       BALTIMORE        MD 21217‐1351
REAZOR JR, MARSHALL L   188 FERGUSON DR                                                                              HILTON           NY 14468‐9504
REB BURNETTE            20179 LESURE ST                                                                              DETROIT          MI 48235‐1537
REBA A BRADY            113 BRADY LANE                                                                               HILHAM           TN 38568‐5913
REBA A MOORE            578 EUGENE ST                                                                                YPSILANTI        MI 48198‐6143
REBA AUSTIN             915 DIBERT AVE                 C/O JOYCE R WARFIELD                                          SPRINGFIELD      OH 45506‐1909
REBA BECK               3443 CLARK RD                                                                                BATH             MI 48808‐8489
REBA BLEDSOE            613 HOLLY LN                                                                                 KOKOMO           IN 46902‐3384
REBA BOATRIGHT          12906 W COPPERSTONE DR                                                                       SUN CITY WEST    AZ 85375‐4835
REBA BOOTHE             1643 TAFT DR                                                                                 BRUNSWICK        OH 44212‐3707
REBA BOYCE              1002 SOUTHLAWN AVE                                                                           FLINT            MI 48507‐2827
REBA BRADLEY            1117 N WASHINGTON AVE                                                                        COOKEVILLE       TN 38501‐1835
REBA BRADY              113 BRADY LN                                                                                 HILHAM           TN 38568‐5913
REBA BRAUNER            PO BOX 563                                                                                   ALBANY           KY 42602‐0563
REBA BRYANT             NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
REBA BURKETT            1702 LANCASTER DR                                                                            YOUNGSTOWN       OH 44511‐1039
REBA BURNS              3118 CONCORD ST                                                                              FLINT            MI 48504‐4101
REBA C MAYBERRY         4763 CUMBY RD                                                                                COOKEVILLE       TN 38501‐7853
REBA CASLER             PO BOX 335                                                                                   RUSSIAVILLE      IN 46979‐0335
REBA CHAMBERS           139 POPLAR LN                                                                                GATLINBURG       TN 37738‐4924
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Name              Address1                        Address2                Address3    Address4         City              State Zip
REBA COLLINS      2417 GERRARD AVE                                                                     SPEEDWAY           IN 46224‐5088
REBA COTTLE       3453 STUTSMAN RD                                                                     BELLBROOK          OH 45305‐9710
REBA CREASON      12780 KENWOOD LN APT 214                                                             FORT MYERS         FL 33907
REBA DANIEL       6410 MADISON AVE                                                                     ANDERSON           IN 46013‐3337
REBA DEARION      2921 HOLLOW OAK DR                                                                   GRAND PRAIRIE      TX 75052
REBA FLANARY      8323 N GREGORY RD                                                                    FOWLERVILLE        MI 48836‐9772
REBA GENTRY       1335 ROUNDHILL DRIVE                                                                 HAMILTON           OH 45013‐9352
REBA GRAY         3205 BRANDON ST                                                                      FLINT              MI 48503‐6603
REBA GRIFFIN      2494 HILLVALE CIR                                                                    LITHONIA           GA 30058‐1822
REBA HARBAUGH     1059 ACADIA CT                                                                       INDIANAPOLIS       IN 46217‐3994
REBA HARE         6543 ABERDEEN AVE                                                                    NEW PORT RICHEY    FL 34653‐1101
REBA HARRIS       1163 N 300 E                                                                         KOKOMO             IN 46901‐5739
REBA HARTWICK     3318 E WILSON RD                                                                     CLIO               MI 48420‐9743
REBA HIBDON       91 HILLVALE RD                                                                       MC MINNVILLE       TN 37110‐3641
REBA HOBBS        1104 RENAKER BERRY ROAD                                                              BERRY              KY 41003‐8988
REBA HOGAN        107 LAMIE DR                                                                         LADSON             SC 29456‐5467
REBA HOWARD       5933 JUDITH DR                                                                       HAMILTON           OH 45011‐2205
REBA HOZEY        PO BOX 6338                                                                          KOKOMO             IN 46904‐6338
REBA J MESCHER    668 FREDRICKSBURG DRIVE                                                              DAYTON             OH 45415
REBA JOHNSON      PO BOX 2002                                                                          LAWRENCEVILLE      GA 30046‐2002
REBA JONES        7094 W FARRAND RD                                                                    CLIO               MI 48420‐9424
REBA K PRUITT     146 W BEVERLY AVE                                                                    PONTIAC            MI 48340‐2620
REBA KEES         9121 TAVISTOCK DR                                                                    PLYMOUTH           MI 48170‐4722
REBA KITCHING     127 BENEDICT AVE                                                                     SYRACUSE           NY 13210‐3520
REBA L WHITAKER   3305 SHORELANDS RD                                                                   MORAINE            OH 45439‐1329
REBA LEWIS        2442 VALLEY OAKS CIR                                                                 FLINT              MI 48532‐5404
REBA LEWIS        75 S MILFORD DR                                                                      FRANKLIN           IN 46131‐9337
REBA MADDOX       4825 FIVE FORKS TRICKUM RD SW                                                        LILBURN            GA 30047‐5513
REBA MASON        502 GRACE AVE                                                                        BAXTER             TN 38544‐4430
REBA MAYBERRY     4763 CUMBY RD                                                                        COOKEVILLE         TN 38501‐7853
REBA MONT         972 BRADLEY AVE                                                                      FLINT              MI 48503‐3176
REBA MORROW       PO BOX 46                                                                            CLARKEDALE         AR 72325‐0046
REBA MORSE        669 PINEY POINT DR                                                                   ROACH              MO 65787‐6768
REBA PAGE         45588 ELMWOOD CIR BLDG 9                                                             CANTON             MI 48188
REBA POULLARD     29111 LAUREL WOODS DR APT 205                                                        SOUTHFIELD         MI 48034‐4639
REBA PYLES        6162 POTTER RD                                                                       BURTON             MI 48509‐1384
REBA QUALLS       910 BELZER DR                                                                        ANDERSON           IN 46011‐2006
REBA RAPP         2912 SUNSET LN                                                                       SANDUSKY           OH 44870‐5984
REBA REED         204 CYPRESS CT                                                                       KOKOMO             IN 46902‐6611
REBA ROBINSON     1205 REEDSDALE RD                                                                    DAYTON             OH 45432‐1734
REBA ROBINSON     127 SEWARD ST APT 208                                                                DETROIT            MI 48202‐2436
REBA ROOKS        176 HAMMOND ST                  C/O JEANETTE HALFHILL                                WINDER             GA 30680‐1525
REBA ROSS         1427 N GALE RD                                                                       DAVISON            MI 48423‐2542
REBA SHIPLEY      402 MOUNT VERNON AVE APT 10                                                          MARION             OH 43302‐4145
REBA SHULMAN      2941 C NW 10TH ST                                                                    DELRAY BEACH       FL 33445
REBA SKELLENGER   12120 MORRISH RD                                                                     CLIO               MI 48420‐9423
REBA SMALLING     3541 HIGHWOODS DR N                                                                  INDIANAPOLIS       IN 46222‐1826
REBA SMITH        14226 BROOKRIDGE BLVD                                                                BROOKSVILLE        FL 34613‐5705
REBA SNYDER       1908 DELL AVE                                                                        FRIENDSHIP         WI 53934‐9654
REBA STEELY       8631 ORAMEL HILL RD                                                                  CANEADEA           NY 14717‐8759
REBA STURGELL     960 N HOWARD ST                                                                      AKRON              OH 44310‐1334
REBA TEAGUE       PO BOX 78                                                                            EMLYN              KY 40730‐0078
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Name                         Address1                        Address2                      Address3   Address4         City               State Zip
REBA THOMAS                  1614 W 2ND ST                                                                             MARION              IN 46952‐3365
REBA TOTH                    3333 OAK GROVE RD                                                                         HOWELL              MI 48855‐9300
REBA TROXLER                 10727 S C RD 300 E                                                                        MUNCIE              IN 47302
REBA TUBB                    2226 CHAMPAIGN RD                                                                         LINCOLN PARK        MI 48146‐2508
REBA WALKER                  5401 BALDWIN BLVD                                                                         FLINT               MI 48505‐5159
REBA WALKER                  490 CLOVER RIDGE AVE NW APT 6                                                             GRAND RAPIDS        MI 49504‐8025
REBA WATSON                  10555 BROWN RD                                                                            CURTICE             OH 43412‐9416
REBA WAYNICK                 98 BLUE RIDGE TRCE                                                                        HENDERSONVILLE      TN 37075‐2664
REBA WILLIAMS                11819 KLEBBA ST                                                                           TAYLOR              MI 48180‐4142
REBA WILLIAMSON              3818 WHITTIER AVE                                                                         FLINT               MI 48506‐3161
REBA, JOHN G                 3620 COTTONWOOD SPRINGS DRIVE                                                             THE COLONY          TX 75056‐4603
REBA, ROSE                   6067 TALL OAKS DRIVE                                                                      MENTOR              OH 44060
REBACK MIKE (494124)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                             STREET, SUITE 600
REBACK, MIKE                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
REBANDT, JEFF                738 E LIBERTY ST                                                                          MILFORD            MI   48381‐2052
REBANT, CAROL S              32322 BARTON ST                                                                           GARDEN CITY        MI   48135‐3206
REBANT, COLLEEN E            609 WILLIAM DR                                                                            OVILLA             TX   75154‐3624
REBANT, COLLEEN ELIZABETH    609 WILLIAM DR                                                                            OVILLA             TX   75154‐3624
REBANT, JAMES E              32322 BARTON ST                                                                           GARDEN CITY        MI   48135‐3206
REBAR SR., GERALD S          PO BOX 88                                                                                 WASHINGTON         MI   48094‐0088
REBAR, GILBERT L             PO BOX 406                                                                                FENTON             MI   48430‐0406
REBAR, KENNETH L             11134 W WISCONSIN AVE           CHILDERS AND BERG LLC                                     YOUNGTOWN          AZ   85363‐1029
REBB ALCORN                  5325 W RADIO RD                                                                           YOUNGSTOWN         OH   44515‐1823
REBBA, RAMESH                779 RED RUN DR                                                                            TROY               MI   48085‐1353
REBBA, RAMESH                35406 TIMBERWOOD CT                                                                       CLINTON TOWNSHIP   MI   48035‐2115
REBBE, ROBERT J              45428 DIAMOND POND DR                                                                     MACOMB             MI   48044‐3550
REBBEC MOTOR CO.             101 E FRONT ST                                                                            EL PASO            IL   61738‐1169
REBBEC MOTOR CO.             MARTIN REBBEC                   101 E FRONT ST                                            EL PASO            IL   61738‐1169
REBBEC PONTIAC‐BUICK, INC.   MARTIN REBBEC                   302 LANDMARK DR                                           NORMAL             IL   61761‐2117
REBBEC PONTIAC‐BUICK, INC.   302 LANDMARK DR                                                                           NORMAL             IL   61761‐2117
REBBER, MARK L               PO BOX 44                                                                                 PAULDING           OH   45879‐0044
REBBER, MARK LEE             PO BOX 44                                                                                 PAULDING           OH   45879‐0044
REBBIE LOWERY                5773 FLOY AVE                                                                             SAINT LOUIS        MO   63136‐4903
REBEAUD, PAULINE             2140 SHELTON RIDGE ROAD                                                                   COLLINWOOD         TN   38450‐5433
REBEC, FRANCIS J             14028 ROCK CREEK RD                                                                       CHARDON            OH   44024‐9194
REBECA BUPP                  6042 BERRYMOOR DR                                                                         GRAND BLANC        MI   48439‐3400
REBECA CORDOVA               27670 SECO CANYON RD                                                                      SANTA CLARITA      CA   91350‐1329
REBECA KENNEDY               105 GROVE ST                                                                              WINDSOR            NY   13865
REBECA KOSTKA                HINTER DEN Z─UNEN 18                                                                      KIEDRICH           DE   65399
REBECA KOSTKA                HINTER DEN ZAEUNEN 18                                                                     KIEDRICH           DE   65399
REBECA M CORDOVA             27670 SECO CANYON RD                                                                      SANTA CLARITA      CA   91350‐1329
REBECCA A ALLEN              107 ELM ST                                                                                GERMANTOWN         OH   45327‐‐ 12
REBECCA A BALLARD            2810 CAMBRON ST                                                                           GADSDEN            AL   35904‐4516
REBECCA A BATTY              18 N. HILLCREST DRIVE                                                                     GERMANTOWN         OH   45327‐9364
REBECCA A BEKELESKI          1531 SUBURBAN DR                                                                          MANSFIELD          OH   44903‐9755
REBECCA A BOOHER             425 EARLY DR W                                                                            MIAMISBURG         OH   45342
REBECCA A DOLES              165B SUTTLES RD                                                                           INMAN              SC   29349
REBECCA A FERN               1245 LAWNVIEW CT                                                                          FLINT              MI   48507‐4710
REBECCA A FROCK              53 NORTH DECKER AVENUE                                                                    DAYTON             OH   45417‐1737
REBECCA A GIVENS             6409 HARSHMANVILLE RD                                                                     DAYTON             OH   45424
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Name                       Address1                      Address2            Address3         Address4         City            State Zip
REBECCA A HILL             610 PINE NEEDLES DR                                                                 DAYTON           OH 45458‐3324
REBECCA A HUDSON           749 ROBERT PL                                                                       CARLISLE         OH 45005
REBECCA A HULBER           175 W RIVER DR                                                                      GLADWIN          MI 48624‐7930
REBECCA A JULIO            609 ROSEWOOD AVE                                                                    YPSILANTI        MI 48198‐8012
REBECCA A LEBLANC          501 E MOLLOY RD                                                                     SYRACUSE         NY 13211‐1643
REBECCA A LEEMAN           4219 GLENAYR DR                                                                     ENGLEWOOD        OH 45322‐2617
REBECCA A MASON            23 GREER RD                                                                         JAYESS           MS 39641
REBECCA A MCGEE            10109 W. FULLERTON AVENUE                                                           MELROSE PARK      IL 60164
REBECCA A MOORE            2736 CORLINGTON DR.                                                                 DAYTON           OH 45440‐1409
REBECCA A MORGAN           PO BOX 2114                                                                         DETROIT          MI 48202‐0114
REBECCA A PALMER           210 LYLBURN RD                                                                      MIDDLETOWN       OH 45044
REBECCA A PANZICA          403 BAY ST                                                                          BROOKHAVEN       MS 39601‐4035
REBECCA A ROBINETTE        855 HEDGES RD.                                                                      XENIA            OH 45385‐9308
REBECCA A SLADE            P O BOX 557                                                                         FLORENCE         MS 39073‐0557
REBECCA A SMITH            1722 WILLAMET ROAD                                                                  KETTERING        OH 45429
REBECCA A SWOGER           4492 VIALL RD                                                                       YOUNGSTOWN       OH 44515‐2611
REBECCA A WALTER           634 PEACH ORCHARD DR                                                                W. CARROLLTON    OH 45449‐1627
REBECCA A WATSON           505 CENTRAL AVE                                                                     TILTON            IL 61833‐7905
REBECCA A WEBB             571 MISTY MORNING DR                                                                CHOCTAW          OK 73020‐7580
REBECCA ABNEY              4411 S 00E W #63                                                                    KOKOMO           IN 46902
REBECCA ADAMS              20187 TIPSICO LAKE RD                                                               HOLLY            MI 48442‐9138
REBECCA AGUILAR            2001 NORTHOVER RD                                                                   TOLEDO           OH 43613‐2833
REBECCA AKERS HOPSON       2929 ORE VALLEY DR                                                                  HARTLAND         MI 48353‐2813
REBECCA ALBRECHT‐THAYER    2735 WABASH RD                                                                      LANSING          MI 48910‐4861
REBECCA ALEXANDER          1808 WOODVIEW LN                                                                    ANDERSON         IN 46011‐1053
REBECCA ALSPAUGH           747 S 1100 E                                                                        GREENTOWN        IN 46936‐8755
REBECCA ANDERSON           9134 PARKSIDE DR                                                                    GRAND BLANC      MI 48439‐7458
REBECCA ANN A MC VICAR     15531 OPORTO ST                                                                     LIVONIA          MI 48154‐3244
REBECCA ANN MC VICAR       15531 OPORTO ST                                                                     LIVONIA          MI 48154‐3244
REBECCA ANNE WILSON        1526 N JACKSON ST                                                                   EDMOND           OK 73034‐4328
REBECCA ARNOLD‐HORNOCKER   7820 W 800 N                                                                        FAIRLAND         IN 46126‐9511
REBECCA AVERY              4526 N STATE ROAD 19                                                                SHARPSVILLE      IN 46068‐9079
REBECCA B MOONEY           725 KIMBRIL CIRCLE                                                                  ATTALLA          AL 35954‐5425
REBECCA B PARSLEY          377 DAKOTA ST                                                                       YPSILANTI        MI 48198‐7814
REBECCA BACCUS             1898 E MAPLE RD                                                                     BIRMINGHAM       MI 48009‐6506
REBECCA BADLEY             20211 DELAWARE DR                                                                   EUCLID           OH 44117‐2330
REBECCA BAES               90 G AND S ROCK RANCH RD                                                            CAMDEN           TN 38320‐7690
REBECCA BAGWELL            8300 BARDMOOR BLVD APT 209                                                          LARGO            FL 33777‐2019
REBECCA BALLARD‐COLE       3001 HARPER RD                                                                      MECHANICSBURG    OH 43044‐9655
REBECCA BANNERMAN          211 RIDGEVIEW DR                                                                    PRUDENVILLE      MI 48651‐9778
REBECCA BARKER             12815 S HINMAN RD                                                                   EAGLE            MI 48822‐9753
REBECCA BARNES             2912 LOUELLA AVE                                                                    DAYTON           OH 45408‐2216
REBECCA BARNHOORN          558 COOPER RD                                                                       ROCHESTER        NY 14617‐3044
REBECCA BARRIOS            156 MILL CREEK RD                                                                   NILES            OH 44446‐3210
REBECCA BASCH              54375 VILLAGEWOOD DR                                                                SOUTH LYON       MI 48178‐8030
REBECCA BASYE              20421 SORRENTO ST                                                                   DETROIT          MI 48235‐1132
REBECCA BATES              8786 SUNFIELD HWY                                                                   PORTLAND         MI 48875‐9728
REBECCA BAUERS             8553 SANDREA LN S                                                                   LADOGA           IN 47954‐8114
REBECCA BEANE              4114 COLTER DR                                                                      KOKOMO           IN 46902‐4494
REBECCA BEASLEY            620 COLLEGE AVE SE                                                                  GRAND RAPIDS     MI 49503‐5306
REBECCA BEAVERS            187 DEMOSS RD                                                                       MONROE           LA 71202‐8514
REBECCA BECK               12255 E POTTER RD                                                                   DAVISON          MI 48423‐8147
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Name                    Address1                       Address2            Address3         Address4         City           State Zip
REBECCA BEEMAN          2115 S K ST                                                                          ELWOOD          IN 46036‐3030
REBECCA BEKELESKI       1531 SUBURBAN DR                                                                     MANSFIELD       OH 44903‐9755
REBECCA BELL            8097 W 180 S                                                                         RUSSIAVILLE     IN 46979‐9742
REBECCA BELL            PO BOX 1776                                                                          BURLINGTON      NC 27216
REBECCA BENDER          3370 PINERIDGE LN                                                                    BRIGHTON        MI 48116‐9429
REBECCA BENGE           24 ROSE LEA AVE                                                                      HAMILTON        OH 45011‐5635
REBECCA BENNETT         APT 1                          638 HERTEL AVENUE                                     BUFFALO         NY 14207‐2347
REBECCA BENNETT         223 STEVENS AVE                                                                      BUFFALO         NY 14215‐3736
REBECCA BERGSTROM       3819 CANDY LN                                                                        KOKOMO          IN 46902‐4490
REBECCA BILLUPS         732 E 6TH ST                                                                         PLAINFIELD      NJ 07062‐1802
REBECCA BIRKEY          1509 HUTCHINS DR                                                                     KOKOMO          IN 46901‐1900
REBECCA BLAKE           PO BOX 171                                                                           MIDDLETOWN      IN 47356‐0171
REBECCA BLOOM           1406 BEECHDALE DR                                                                    MANSFIELD       OH 44907‐2804
REBECCA BOGAN‐MCGUIRE   7111 UPPER MIAMISBURG RD                                                             MIAMISBURG      OH 45342‐2119
REBECCA BOGGS           5956 PEACE VALLEY RD                                                                 ROGERS          OH 44455
REBECCA BOLIN           1792 LANARKSHIRE DR                                                                  GREENWOOD       IN 46143‐8260
REBECCA BOLTON          214 N INDIANA ST                                                                     GREENTOWN       IN 46936‐1256
REBECCA BONILLA         9560 WORCHESTER CT                                                                   PEYTON          CO 80831‐6832
REBECCA BONNER          PO BOX 83                                                                            FLINT           MI 48501‐0083
REBECCA BORGWARDT       5621 N COUNTY ROAD F                                                                 JANESVILLE      WI 53545‐8982
REBECCA BORKA           2024 HUNTINGTON AVE                                                                  FLINT           MI 48507‐3517
REBECCA BORN            5482 CUMMING HWY                                                                     SUGAR HILL      GA 30518‐6907
REBECCA BOWLES          4748 S MAPLE VALLEY RD                                                               SAINT HELEN     MI 48656‐8523
REBECCA BREEDING        5445 LYNN CREEK RD                                                                   LAVALETTE       WV 25535‐9716
REBECCA BRITTON         2303 HIGHWAY 20 LOT 7                                                                DECATUR         AL 35601‐7563
REBECCA BROSAMER        3618 S GALLATIN ST                                                                   MARION          IN 46953‐4333
REBECCA BROWN           555 GARLAND DR                                                                       NILES           OH 44446‐1108
REBECCA BROWN           2919 E 1300 N                                                                        ALEXANDRIA      IN 46001‐8964
REBECCA BROWN           922 LEWIS ST                                                                         KOKOMO          IN 46901‐6614
REBECCA BROWN           4017 S PLEASANT ST                                                                   INDEPENDENCE    MO 64055‐4340
REBECCA BUCALA          1232 CLOVERLAWN DR.                                                                  PONTIAC         MI 48340‐1616
REBECCA BULLARD         2950 JOHNS DR                                                                        SAGINAW         MI 48603‐3319
REBECCA BURNETT         3885 JO ANN DR                                                                       CLEVELAND       OH 44122‐6438
REBECCA BURNHAM         8137 LORAC ST                                                                        PORTAGE         MI 49002‐5523
REBECCA BURNS           2651 EAGLE GREENS DR                                                                 PLANT CITY      FL 33566‐9318
REBECCA BYERS           PO BOX 2101                                                                          INDIAN RIVER    MI 49749‐2101
REBECCA C HERNANDEZ     16781 VERNA LN                                                                       YORBA LINDA     CA 92886
REBECCA C WOLFE         145 W FAIRMOUNT AVE                                                                  PONTIAC         MI 48340‐2737
REBECCA CAGLE           100 NORTH ST                                                                         DANVILLE        IN 46122
REBECCA CAINES          5598 IVANHOE ST                                                                      DETROIT         MI 48204‐3602
REBECCA CAISTER         3131 CAT LAKE RD                                                                     CARO            MI 48723‐9555
REBECCA CALL            6625 S STATE ROAD 19                                                                 PERU            IN 46970‐7712
REBECCA CARDONA         2203 CHANEY CIR                                                                      YOUNGSTOWN      OH 44509‐2213
REBECCA CARRIERE        814 E KEARSLEY ST APT 311                                                            FLINT           MI 48503‐1958
REBECCA CARTER          3598 DIAMONDALE DR W                                                                 SAGINAW         MI 48601‐5807
REBECCA CARUSO
REBECCA CASE            PO BOX 51041                                                                         INDIANAPOLIS   IN   46251‐0041
REBECCA CHARGO          1050 N BALL ST                                                                       OWOSSO         MI   48867‐1708
REBECCA CHESS           12876 PAYTON ST                                                                      DETROIT        MI   48224‐1062
REBECCA CHRISTMAS       132 KENSINGTON DR                                                                    BRUNSWICK      GA   31525‐1950
REBECCA CLARK           2212 DREXEL DR                                                                       ANDERSON       IN   46011‐4055
REBECCA CLARK           PO BOX 2043                                                                          MARION         IN   46952‐8443
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Name                    Address1                       Address2              Address3      Address4         City                  State Zip
REBECCA CLINE           1770 DUMONT DR                                                                      MINERAL RIDGE          OH 44440‐9508
REBECCA COBBIN          5424 CALLAWAY CIR APT# 6                                                            YOUNGSTOWN             OH 44515
REBECCA COGSHELL        3015 WHEATON AVE                                                                    SAINT LOUIS            MO 63114‐4643
REBECCA COLE            451 SANDLEWOOD CT                                                                   MILTON                 WI 53563
REBECCA COLLINE         PO BOX 7593                                                                         BLOOMFIELD TOWNSHIP    MI 48302‐7593
REBECCA COLLINS         216 N SAGINAW ST                                                                    HOLLY                  MI 48442‐1407
REBECCA COMPTON         14152 DARTS DR                                                                      FENTON                 MI 48430‐3612
REBECCA CORP            7187 HAWTHORNE CIR                                                                  GOODRICH               MI 48438‐9244
REBECCA CORRIN          330 VALLEY VIEW LN                                                                  BIRMINGHAM             MI 48009‐3751
REBECCA CORWIN          117 ARTURUS ST                                                                      PAYNE                  OH 45880‐9459
REBECCA COSCOLLUELA     C/O GOLDEN STATE MUTUAL LIFE   1999 W. ADAMS BLVD.                                  LOS ANGELES            CA 90018
                        INSURANCE C
REBECCA CREEKMORE       PO BOX 361                                                                          FLAT ROCK             NC   28731‐0361
REBECCA CRISP           5705 E CEDAR CR                BOX 4020                                             PRESCOTT              MI   48756
REBECCA CROCKER         5224 ROBINVIEW CT                                                                   HUBER HEIGHTS         OH   45424‐2568
REBECCA CRUTCHFIELD     5004 ROSEFIELD RD                                                                   MEMPHIS               TN   38118‐7654
REBECCA CUBR            10881 RIDGE VIEW TRL                                                                FENTON                MI   48430‐4032
REBECCA CUNNINGHAM      467 E FERRY ST                                                                      BUFFALO               NY   14208‐1602
REBECCA CUNNINGHAM      318 S 13TH ST                                                                       ELWOOD                IN   46036‐1901
REBECCA CURRIE          5048 CRAIG AVE NW                                                                   WARREN                OH   44483‐1234
REBECCA CYRUS           178 TAYLOR BLVD                                                                     LAGRANGE              OH   44050‐9300
REBECCA D FISCHER       10960 HAWKS VISTA ST                                                                PLANTATION            FL   33324
REBECCA D GRIFFEY       PO BOX 246                                                                          WASKOM                TX   75692‐0246
REBECCA D LEWIS         8134 RIDGE RD.                                                                      FARMDALE              OH   44417‐9755
REBECCA D NITZ          1080 E KURTZ AVE                                                                    FLINT                 MI   48505‐1512
REBECCA DAFFRON         586 TECUMSEH DR                                                                     SHEP                  KY   40165
REBECCA DARLAK          7300 ROCHESTER ROAD                                                                 LOCKPORT              NY   14094‐1628
REBECCA DARR            4180 GRONDINWOOD LN                                                                 MILFORD               MI   48380‐4223
REBECCA DAUGHERTY       2215 SAGAMORE DR                                                                    ANDERSON              IN   46011‐9023
REBECCA DAVIS           601 E MANSION ST                                                                    MARSHALL              MI   49068‐1237
REBECCA DAVIS           15354 LAWTON ST                                                                     DETROIT               MI   48238‐2803
REBECCA DE FRANCISCO    2506 BAY HARBOR DR                                                                  GALENA                OH   43021‐8073
REBECCA DEGRAFFENREID   10312 S ALLEN DR                                                                    OKLAHOMA CITY         OK   73139‐5505
REBECCA DEMAGGIO        2913 JOYCE DR                                                                       KOKOMO                IN   46902‐4013
REBECCA DERRICK         8 HARMON LANE                                                                       VILONIA               AR   72173
REBECCA DILLON          3661 PLEASANT LAKE DR                                                               INDIANAPOLIS          IN   46227‐6936
REBECCA DINAN           5608 CENTERPOINTE BLVD APT 1                                                        CANANDAIGUA           NY   14424‐7867
REBECCA DUCKER          1939 WINDSOR DR                                                                     KOKOMO                IN   46901‐1814
REBECCA DUIBLEY         6055 DELTONA BLVD                                                                   SPRING HILL           FL   34606‐1009
REBECCA DURR            18407 MARKS RD                                                                      STRONGSVILLE          OH   44149‐6540
REBECCA E COGSHELL      3015 WHEATON AVE                                                                    SAINT LOUIS           MO   63114‐4643
REBECCA E DANIEL        2505 LYNN AVE                                                                       DAYTON                OH   45406‐1925
REBECCA E GROSS         57 CLARK AVE POB 53                                                                 HARVEYSBURG           OH   45032‐0053
REBECCA E MCLEOD        15280 EATON PIKE                                                                    NEW LEBANON           OH   45345‐9718
REBECCA ELLEGAN         4200 FM 1960 RD W APT 922                                                           HOUSTON               TX   77058‐3437
REBECCA ELLER           431 GLENWOOD AVE                                                                    PIQUA                 OH   45356‐2615
REBECCA ELLIOTT         14166 PARKMAN BLVD                                                                  BROOK PARK            OH   44142‐2524
REBECCA ELWELL          423 SALEM HANCOCKS BRIDGE RD                                                        SALEM                 NJ   08079‐9418
REBECCA EMERICK         1131 CLUTE CT                                                                       LAKE ORION            MI   48362‐3620
REBECCA ERSKINE         2203 SILVER ST                                                                      ANDERSON              IN   46012‐1617
REBECCA ESPINOZA        1143 LEE ST SW                                                                      WYOMING               MI   49509‐1382
REBECCA ESTES           11720 N HAZELWOOD RD                                                                CLAYTON               IN   46118‐9610
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Name                  Address1                    Address2            Address3         Address4         City                State Zip
REBECCA F FISHER      206 BREMAN AVE                                                                    SYRACUSE             NY 13211‐1628
REBECCA FAIR          2361 PALMETTO DR                                                                  TROY                 MI 48085‐4084
REBECCA FARMER        10372 STANLEY DR                                                                  CLIO                 MI 48420‐7723
REBECCA FARR          2030 S N ST                                                                       ELWOOD               IN 46036‐2938
REBECCA FERENCY       454 LESDALE DR                                                                    TROY                 MI 48085‐1563
REBECCA FERN          1245 LAWNVIEW COURT                                                               FLINT                MI 48507‐4710
REBECCA FOGELSONGER   7335 CARPENTER RD                                                                 FLUSHING             MI 48433‐1101
REBECCA FOSTER        6052 JOHNSON RD                                                                   FLUSHING             MI 48433‐1106
REBECCA FOURQUREAN    1791 LARKWOOD PL                                                                  COLUMBUS             OH 43229‐3633
REBECCA FOX           2160 CANAL ST                                                                     COMMERCE TOWNSHIP    MI 48382‐3230
REBECCA FOX           607 WALNUT ST APT 4                                                               LEMONT                IL 60439‐4061
REBECCA FRALEY        1469 HUFFMAN AVE                                                                  DAYTON               OH 45403‐3018
REBECCA FRAZIER       60 RUSPIN AVE                                                                     BUFFALO              NY 14215‐3336
REBECCA FULTON        12510 E VIA DE ARBOLES                                                            CHANDLER             AZ 85249‐3462
REBECCA G AGUILAR     3355 W LYNDON AVE                                                                 FLINT                MI 48504‐6966
REBECCA G JONES       1140 E GRAND BLVD                                                                 FLINT                MI 48505‐1522
REBECCA G KILLEN      17162 BATON ROUGE CT                                                              FORT MYERS           FL 33908
REBECCA G ROBINSON    3950 N HAVEN WAY                                                                  DAYTON               OH 45414‐5039
REBECCA GARCIA        4025 CROSS BEND DR                                                                ARLINGTON            TX 76016‐3809
REBECCA GARNER        PO BOX 13335                                                                      DETROIT              MI 48213‐0335
REBECCA GEORGE        5514 BRIAR GLEN DR                                                                SALINE               MI 48176‐9537
REBECCA GLOVER        6111 LUTHER AVE                                                                   CLEVELAND            OH 44103‐2571
REBECCA GOODMAN       1181 MORRIS HILLS PKWY                                                            MOUNT MORRIS         MI 48458‐2581
REBECCA GOODRICH      113 CONNESTOGA TRL                                                                NORTH FORT MYERS     FL 33917‐3051
REBECCA GOODWIN       1801 PONTIAC DR                                                                   KOKOMO               IN 46902‐2516
REBECCA GRAHAM        809 W CLEARVIEW DR                                                                GLEN ROCK            PA 17327‐8224
REBECCA GREEN         3430 W COUNTY ROAD 50 S                                                           KOKOMO               IN 46902
REBECCA GREEN         27285 COLGATE ST                                                                  INKSTER              MI 48141‐3121
REBECCA GREER         8901 N MARK DR                                                                    ALEXANDRIA           IN 46001‐8371
REBECCA GREGOR        5229 NORTH WAYNE AVENUE                                                           KANSAS CITY          MO 64118‐5751
REBECCA GREGOR        5229 N WAYNE AVE                                                                  KANSAS CITY          MO 64118‐5751
REBECCA GROJEAN       3619 WONDERLAND PARK LN                                                           KISSIMMEE            FL 34746‐7276
REBECCA GUERRERO      6920 E 16TH ST                                                                    WHITE CLOUD          MI 49349‐8543
REBECCA GWINN         7127 W VIENNA RD                                                                  CLIO                 MI 48420‐9465
REBECCA H PATCHIN     5729 STATE ROUTE 82                                                               NEWTON FALLS         OH 44444
REBECCA HALL          909 SALLY CIR                                                                     WICHITA FALLS        TX 76301‐7230
REBECCA HAMILTON      46 HASTINGS AVENUE                                                                HAMILTON             OH 45011‐4706
REBECCA HANCOCK       3516 RIDGEWAY DR                                                                  ANDERSON             IN 46012‐9697
REBECCA HANSON        7349 ULMERTON RD LOT 1377                                                         LARGO                FL 33771‐4859
REBECCA HARDIN        1643 CARTER DR                                                                    MANSFIELD            OH 44905‐3501
REBECCA HARGIS        5324 STATE ROAD 446                                                               HELTONVILLE          IN 47436‐8520
REBECCA HARRIS        3445 MICHAWANA TRL                                                                HOWELL               MI 48843‐7497
REBECCA HARVEY        513 N 11TH ST                                                                     SAGINAW              MI 48601‐1650
REBECCA HATTEN        2129 MAYNARD CT                                                                   NASHVILLE            TN 37218‐3611
REBECCA HAUGHEY       606 LAFAYETTE ST                                                                  FLINT                MI 48503‐5332
REBECCA HENRY         3786 MAYS CT SW                                                                   ATLANTA              GA 30331‐2047
REBECCA HERNANDEZ     17500 WESTRIDGE RD                                                                TONGANOXIE           KS 66086‐5255
REBECCA HILL          610 PINE NEEDLES DRIVE                                                            DAYTON               OH 45458‐3324
REBECCA HILL          2116 CLARY DR                                                                     MIDWEST CITY         OK 73110‐7907
REBECCA HINTE         178 HOLLINGTONWORTH MANOR                                                         ELKTON               MD 21921
REBECCA HIX           1732 HAMLIN CT                                                                    MOUNT DORA           FL 32757‐3610
REBECCA HOCK          C/O PAMELA TRAFTON          2280 SOUTH DRIVE                                      AUBURN               CA 95603
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Name                      Address1                        Address2            Address3         Address4         City               State Zip
REBECCA HOLBROOK          1052 LANFORD CIR SW                                                                   LILBURN             GA 30047‐6619
REBECCA HOLDER            1014 JOHN HENRY DEMPS RD                                                              SPARTA              TN 38583‐4919
REBECCA HOLLENBACK        13325 NEW LOTHROP RD                                                                  BYRON               MI 48418‐8866
REBECCA HOLLINGSWORTH     616 W 3RD ST                                                                          MARION              IN 46952‐3747
REBECCA HOLMES            6200 LANGTON RD                                                                       NEWPORT             MI 48166‐9600
REBECCA HOOVER            215 S MCCANN ST                                                                       KOKOMO              IN 46901‐5265
REBECCA HOUSTON           35215 W 159TH ST                                                                      GARDNER             KS 66030‐9682
REBECCA HUBBARD           873 BELFAST FARMINGTON RD                                                             LEWISBURG           TN 37091‐7010
REBECCA HULBER            175 W RIVER DR                                                                        GLADWIN             MI 48624‐7930
REBECCA HULVERSON         7486 W FARRAND RD                                                                     CLIO                MI 48420‐9470
REBECCA HUNTER            3333 GRANT ST                                                                         SAGINAW             MI 48601‐4728
REBECCA INGERSOLL         42219 CRESCENDO DRIVE S. A‐1                                                          STERLING HEIGHTS    MI 48314
REBECCA IRICK             5209 W 100 N                                                                          KOKOMO              IN 46901‐3748
REBECCA J BOGGS           5102 GASPER RD.                                                                       EATON               OH 45320‐9464
REBECCA J BRANHAM         2788 HORSTMAN DR.                                                                     KETTERING           OH 45429
REBECCA J BURRS           159 HARROGATE XING                                                                    W HENRIETTA         NY 14586‐9479
REBECCA J CROCKER         5224 ROBINVIEW CT                                                                     HUBER HEIGHTS       OH 45424‐2568
REBECCA J DEMAGGIO        2913 JOYCE DR                                                                         KOKOMO              IN 46902‐4013
REBECCA J HANCOCK         3516 RIDGEWAY DR                                                                      ANDERSON            IN 46012‐9697
REBECCA J HOUSTON         35215 W 159TH ST                                                                      GARDNER             KS 66030‐9682
REBECCA J MIRANDA         7843 ALVIRA AVE                                                                       DAYTON              OH 45414
REBECCA J THUNBERG        1685 READING RD                 PO BOX 337                                            BOWMANSVILLE        PA 17507‐0337
REBECCA J WATSON          131 OAKLAWN AVE                                                                       DAYTON              OH 45410
REBECCA JACKSON           7084 FAIRGROVE DR                                                                     SWARTZ CREEK        MI 48473‐9408
REBECCA JACKSON           13715 WADSWORTH ST                                                                    DETROIT             MI 48227‐3066
REBECCA JEFFERS           16546 DIXIE HWY                                                                       DAVISBURG           MI 48350‐1045
REBECCA JELKS             PO BOX 692                                                                            HAWKINSVILLE        GA 31036‐0692
REBECCA JOHNSON           8335 NOWLEN ST                                                                        MENTOR              OH 44060‐5703
REBECCA JOHNSON           8680 CARRIE CT                                                                        WALDORF             MD 20603‐3838
REBECCA JOHNSON           226 1ST ST                                                                            TIPTON              IN 46072‐1806
REBECCA JOHNSON
REBECCA JOHNSON‐GAFFORD   709 N SHELDON RD                                                                      PLYMOUTH           MI 48170‐1046
REBECCA JONES             15271 CATALINA WAY                                                                    HOLLY              MI 48442‐1182
REBECCA JONES
REBECCA JOST              1427 BROOK POINTE DR                                                                  INDIANAPOLIS       IN   46234‐1861
REBECCA K KRAGER          1811 WOODSIDE CT                                                                      BAY CITY           MI   48708‐5497
REBECCA K MILLER          482 SYCAMORE WOODS DR                                                                 MIAMISBURG         OH   45342‐5745
REBECCA K STINE           608 COLLEGE ST. P.O.BOX 508                                                           JACKSON CNTR       OH   45334‐0508
REBECCA K WEST            1409 KENTUCKY AVE                                                                     GADSDEN            AL   35903‐3111
REBECCA KABAT             8211 S PINE TREE LN                                                                   CEDAR              MI   49621‐9528
REBECCA KEE               170 COURTYARD LN                                                                      FAYETTEVILLE       GA   30215‐2294
REBECCA KELLY             26468 COUNTY ROAD 388                                                                 GOBLES             MI   49055‐9106
REBECCA KILLBREATH        7031 GILLETTE RD                                                                      FLUSHING           MI   48433‐9341
REBECCA KILLEN            17162 BATON ROUGE CT                                                                  FORT MYERS         FL   33908
REBECCA KING‐BURGESS      6258 LANMAN DRIVE                                                                     WATERFORD          MI   48329‐3024
REBECCA KINSER            2364 AVOCA EUREKA RD                                                                  BEDFORD            IN   47421‐8413
REBECCA KINSEY            2555 FAIRWAY XING                                                                     MANSFIELD          OH   44903‐6508
REBECCA KLINGLER          17 S OAK ST                                                                           HOHENWALD          TN   38462‐1739
REBECCA KOWALSKI          3491 DISCUS CT                                                                        LAKE ORION         MI   48360‐2497
REBECCA KRANZ             759 COLSTON DR                                                                        FALLING WATERS     WV   25419‐7052
REBECCA KROK              821 SCHOOLCREST AVE TRLR 3                                                            CLARE              MI   48617‐1160
REBECCA KRUSE             17121 TALL PINES CT                                                                   NORTHVILLE         MI   48168‐1883
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Name                             Address1                              Address2                     Address3          Address4         City               State Zip
REBECCA KUEHN                    4051 WINDSOR RD                                                                                       BOARDMAN            OH 44512‐1021
REBECCA KUHFAL                   21206 SPRING BROOK HOLLOW                                                                             SPRING              TX 77379
REBECCA KUTRICK                  3500 BUCKBOARD LN                                                                                     BALTIMORE           MD 21220‐2111
REBECCA L ARNOLD‐HORNOCKER       7820 W 800 N                                                                                          FAIRLAND            IN 46126‐9511
REBECCA L BAILEY                 221 E CIRCLE DR                                                                                       DAYTON              OH 45449
REBECCA L BARRETT                2520 BELLSBURG DR.                                                                                    DAYTON              OH 45459‐3530
REBECCA L CLARK                  336 LORIS DRIVE                                                                                       W.CARROLLTON        OH 45449
REBECCA L DUNCAN                 851 LYNCREEK DR                                                                                       DAYTON              OH 45458
REBECCA L FORD                   9648 BELFRY CT # 9648                                                                                 DAYTON              OH 45458
REBECCA L FRANCO                 8144 ENGLEWOOD ST NE                                                                                  WARREN              OH 44484
REBECCA L HIGHTOWER              223 AVENUE C                                                                                          ROCHESTER           NY 14621‐4442
REBECCA L LAWWILL                531 TRACE CT                                                                                          WASHINGTON COURT    OH 43160‐9426
                                                                                                                                       HOUSE
REBECCA L MORGAN                 6129 DAYTON BRANDT RD                                                                                 TIPP CITY          OH   45371‐9784
REBECCA L PARKER                 3451 MAIN ST                                                                                          DAYTON             OH   45439‐1323
REBECCA L QUINN                  7398 DARKE PREBLE CO LINE RD                                                                          ARCANUM            OH   45304‐9471
REBECCA L RADER                  535 QUEEN ELEANOR CT                                                                                  MIAMISBURG         OH   45342
REBECCA L RADFORD                1027 CLOVER LEAF DRIVE                                                                                NEW CARLISLE       OH   45344
REBECCA L RICKELMANN             9901 JOAN CIR                                                                                         YPSILANTI          MI   48197‐8298
REBECCA L ROSE                   6333 N LONDON AVE APT J                                                                               KANSAS CITY        MO   54151‐4741
REBECCA L SCHICK                 429 E PEASE AVE                                                                                       DAYTON             OH   45449
REBECCA L SCHIEFFER              1635 N HIGHWAY W                                                                                      ELSBERRY           MO   63343‐3039
REBECCA L SIMS                   349 DAKOTA ST                                                                                         YPSILANTI          MI   48198‐7814
REBECCA L SMITH                  4044 S UNION RD.                                                                                      MIAMISBURG         OH   45342
REBECCA L STANTON                1055 S DAYTON ST                                                                                      DAVISON            MI   48423‐1734
REBECCA L STURGILL               1670 FALKE DRIVE                                                                                      DAYTON             OH   45432
REBECCA L SWARTZ                 338 MONROE CONCORD RD                                                                                 TROY               OH   45373‐8805
REBECCA L TRUETT                 4904 WILLOW MIST DR                                                                                   DAYTON             OH   45424
REBECCA L WILSON                 6307 STONEHURST DR                                                                                    HUBER HEIGHTS      OH   45424
REBECCA L YONTZ                  19 E OAK ST                                                                                           WEST ALEXANDRIA    OH   45381
REBECCA L. PLOTKIN & BERNARD C   THE REBECCA L PLOTKIN TRUST U/A DTD   FBO REBECCA L PLOTKIN        2507 PAR CIRCLE                    DELRAY BEACH       FL   33445
PLOTKIN TTEES                    1/24/93
REBECCA LANGLEY                  PO BOX 6525                                                                                           KOKOMO             IN   46904‐6525
REBECCA LAWWILL                  531 TRAC E CT                                                                                         WSHNGTN CT HS      OH   43160‐9426
REBECCA LAZARZ                   BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS     OH   44236
REBECCA LEATH                    203 BROOKHAVEN DR                                                                                     COLUMBIA           TN   38401‐8872
REBECCA LIPE                     4902 BERWICK WAY                                                                                      ANDERSON           IN   46012‐9556
REBECCA LOGAN                    2390 CRABAPPLE DR                                                                                     TUPELO             MS   38801‐3181
REBECCA LOSCH                    35 PARK LANE                          PO BOX 308                                                      FEASTERVILLE       PA   19053
REBECCA LOVELETT                 3364 PRAIRIE SCHOONER RD                                                                              CHEYENNE           WY   82009‐9489
REBECCA LOWE                     19474 ILENE ST                                                                                        DETROIT            MI   48221‐1448
REBECCA LUERA                    1764 E PARK ST                                                                                        PHOENIX            AZ   85042‐5758
REBECCA LUNA                     5016 SWEETWATER DR                                                                                    BENTON             LA   71006‐3478
REBECCA LYNN                     5307 ROCKWOOD DR                                                                                      CASTALIA           OH   44824‐9465
REBECCA M BARRIOS                156 MILL CREEK RD.                                                                                    NILES              OH   44446‐3210
REBECCA M BROWN                  141 ASHLEY LN                                                                                         ABERDEEN           NC   28315‐5615
REBECCA M BURGHER                58 REDDER AVENUE                                                                                      DAYTON             OH   45405‐2222
REBECCA M FRANCE                 7700 BERCHMAN DR                                                                                      HUBER HEIGHTS      OH   45424
REBECCA M HANSEN                 186 LAKESIDE ST                                                                                       PONTIAC            MI   48340‐2527
REBECCA M LYKINS                 209 MARK CT.                                                                                          GERMANTOWN         OH   45327‐9201
REBECCA M MARTIN                 2344 STATE ROUTE 380                                                                                  WILMINGTON         OH   45177‐9242
REBECCA M MOORE                  5704 CINCINNATI DAYTON RD                                                                             MIDDLETOWN         OH   45044‐8731
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Name                      Address1                       Address2             Address3        Address4         City                State Zip
REBECCA M PARKER          1501 ROSEMONT BLVD.                                                                  DAYTON               OH 45410
REBECCA M SHULTZ          3592 CARSON SALT SPRINGS RD                                                          NEWTON FALLS         OH 44444‐9718
REBECCA M TURNER          150 ELAINE DR                                                                        FRANKLIN             OH 45005‐1513
REBECCA M WEBB            30 SOUTH CHERRYWOOD                                                                  DAYTON               OH 45403‐2232
REBECCA M. MCCABE‐BRUNS
REBECCA MACH              10127 DOLAN RD                                                                       COLUMBUS            MI 48063‐1010
REBECCA MAKOSY            9640 YORK RD                                                                         LE ROY              NY 14482‐9714
REBECCA MANNING           37725 HERMAN ST                                                                      ROMULUS             MI 48174‐1323
REBECCA MARCELLA
REBECCA MARK              5 BENS WAY                                                                           FRANKLAND           MA   02038
REBECCA MARKHAM           2216 UNION PLACE CT                                                                  COLUMBIA            TN   38401‐5827
REBECCA MARQUARDT         2450 BEVIN CT                                                                        COMMERCE TOWNSHIP   MI   48382‐2000
REBECCA MARTIN            838 BAILEY ANDERSON RD                                                               LEAVITTSBURG        OH   44430‐9407
REBECCA MASSIC            10222 STATE HIGHWAY 37                                                               OGDENSBURG          NY   13669‐3167
REBECCA MATCHETT          4282 W 1725 N                                                                        ELWOOD              IN   46036
REBECCA MC CARTHY         44956 BROADMOOR CIR S          CIRCLE                                                NORTHVILLE          MI   48168‐8644
REBECCA MC CLOUD          7600 STATE ROUTE 48                                                                  WAYNESVILLE         OH   45068
REBECCA MCAFEE            3305 PORTSIDE CT APT 101                                                             PORTAGE             IN   46368‐5171
REBECCA MCCRORY           2715 GRANGER RD                                                                      ORTONVILLE          MI   48462‐9262
REBECCA MCGEE             10109 WEST FULLERTON AVENUE                                                          MELROSE PARK        IL   60164‐1932
REBECCA MCKEOWN           3429 PINE CREEK DR                                                                   BRIGHTON            MI   48114‐8694
REBECCA MCPHERSON         7355 CARPENTER RD                                                                    FLUSHING            MI   48433‐1101
REBECCA MEADE             2095 RT 122                                                                          PRINTER             KY   41655
REBECCA MEADOWS           2500 CRIDER RD                                                                       MANSFIELD           OH   44903‐6922
REBECCA MEECE             2645 N LAKE PLEASANT RD                                                              ATTICA              MI   48412‐9250
REBECCA MEISER            6543 NORTHWEST MILL STREET                                                           RIVERDALE           MI   48877‐8767
REBECCA MEYER             9321 ROUND HILL CT                                                                   GRAND BLANC         MI   48439‐9527
REBECCA MEYERS            PO BOX 32                                                                            GRAND RAPIDS        OH   43522‐0032
REBECCA MEZA              11713 HAVENWOOD DR                                                                   WHITTIER            CA   90606‐2001
REBECCA MILLER            2330 CLEVELAND STREET                                                                PARIS               TX   75460‐6189
REBECCA MILLER            11535 KINGS KNIGHT CIR                                                               GRAND BLANC         MI   48439‐8621
REBECCA MILLER            37 WESTMORE DRIVE                                                                    LONDON              OH   43140
REBECCA MILLS             6904 CORTEZ RD W LOT 208                                                             BRADENTON           FL   34210‐6539
REBECCA MINTON            3338A EAGLES LOFT BOX 16                                                             CORTLAND            OH   44410
REBECCA MIRANDA           7843 ALVIRA AVE                                                                      DAYTON              OH   45414‐1351
REBECCA MIZE              2606 WINDING OAKS DR                                                                 ARLINGTON           TX   76016‐1709
REBECCA MOGHAIZEL         8361 POTTER RD                                                                       FLUSHING            MI   48433‐9413
REBECCA MONROE            910 RAINBOW CIRCLE                                                                   KOKOMO              IN   46902‐3609
REBECCA MOORE             6282 DALE RD                                                                         NEWFANE             NY   14108‐9716
REBECCA MOORE             4029 MYSTIC PL                                                                       ANDERSON            IN   46011‐9048
REBECCA MOORE             930 S CHERRY ST                                                                      OTTAWA              KS   66067‐3116
REBECCA MORA CONTRETRAS   87 BATH STREET                                                                       BALLSTON SPA        NY   12020‐1303
REBECCA MORENO            4328 SEIDEL PL                                                                       SAGINAW             MI   48638‐5676
REBECCA MOULTON           PO BOX 308                     11501 CHICORY LANE                                    PORTLAND            MI   48875‐0308
REBECCA MUNDEN            2 MCKEE AVENUE                                                                       OXFORD              OH   45056‐9054
REBECCA MYERS             2846 WASHINGTON BLVD                                                                 HUNTINGTON          WV   25705‐1629
REBECCA MYLES             1032 E CASS AVE                                                                      FLINT               MI   48505‐1607
REBECCA NEIBLER           11511 POWHATAN PATH                                                                  LAKEVIEW            OH   43331‐9222
REBECCA NIEDZIELSKI       3723 BOWEN RD                                                                        TOLEDO              OH   43613‐4826
REBECCA O NEILL           4598 CABBAGE POND DR                                                                 JACKSONVILLE        FL   32257‐3399
REBECCA ODLE              522 SYCAMORE LN                                                                      EAST LANSING        MI   48823‐4431
REBECCA OELFKE            5370 THUNDERBIRD PASS                                                                GRAND BLANC         MI   48439‐9146
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Name                    Address1                             Address2               Address3    Address4         City                   State Zip
REBECCA OEMKE           250 N HOLBROOK ST                                                                        PLYMOUTH                MI 48170‐1484
REBECCA OLIVER          2011 EYMER ST                                                                            SAGINAW                 MI 48602‐2723
REBECCA OMILIAN         12426 ELDORADO DR                                                                        STERLING HTS            MI 48312‐4040
REBECCA OSBORNE         72 S ROANOKE AVE                                                                         YOUNGSTOWN              OH 44515‐3545
REBECCA P SANITATE      110 EMERSON AVE.                                                                         FARRELL                 PA 16121‐1824
REBECCA PADGITT         3032 WILLOW RUN CIR                                                                      ENON                    OH 45323‐9789
REBECCA PALAZZOLA       15921 FLANAGAN ST                                                                        ROSEVILLE               MI 48066‐1491
REBECCA PALMER          210 LYLBURN RD                                                                           MIDDLETOWN              OH 45044‐5045
REBECCA PARKER          654 S 10TH ST                                                                            SAGINAW                 MI 48601‐1903
REBECCA PATRICK         PO BOX 70099                                                                             ROSEDALE                MD 21237‐6099
REBECCA PERTEE          114 MARTIN DR                                                                            BARBOURSVILLE           WV 25504
REBECCA PETERSON        112 HOWELL ST                                                                            ELIZABETH               PA 15037‐2514
REBECCA PETERSON        377 S HARRISON ST APT 9N                                                                 EAST ORANGE             NJ 07018‐1263
REBECCA PHELPS          2208 HOWE RD                                                                             BURTON                  MI 48519‐1130
REBECCA PING            5208 ROCKY FORGE DR                                                                      INDIANAPOLIS            IN 46221‐4678
REBECCA POOR            626 S 18TH ST                                                                            ELWOOD                  IN 46036‐2417
REBECCA PORTER          1608 MILLER RD                                                                           HODGES                  SC 29653‐9034
REBECCA POTTER          PO BOX 91                                                                                PERRY                   MI 48872‐0091
REBECCA POTTS           6705 LARUE CIR                                                                           NORTH RICHLAND HILLS    TX 76180‐7923
REBECCA POWLEY
REBECCA PROKOP‐BILLS    32 DOGWOOD DR SW                                                                         WARREN                 OH   44481‐9610
REBECCA R CAGLE         100 NORTH ST                                                                             DANVILLE               IN   46122
REBECCA R SHAFFER       148 WALL ST APT 324                                                                      CAMDEN                 SC   29020
REBECCA R UEARICK       210 E KELLER ST                                                                          MECHANICSBURG          PA   17055
REBECCA R WHALEN        1506 LEBENTA ST                                                                          NOVI                   MI   48377‐1319
REBECCA RABY            2215 S GRANT AVE                                                                         JANESVILLE             WI   53546‐5914
REBECCA RAMSEY          PO BOX 244                                                                               MORRISVILLE            PA   19067
REBECCA RANDALL         117 MEDFORD RD                                                                           MATTYDALE              NY   13211‐1827
REBECCA RAQUEPAW        6733 CORTLAND AVE                                                                        BRIGHTON               MI   48114‐5316
REBECCA RATZ            818 CANYON CREEK DR                                                                      HOLLY                  MI   48442‐1560
REBECCA RAYLS           3808 CARMELITA BLVD                                                                      KOKOMO                 IN   46902‐4623
REBECCA RHUM            3964 E 100 S                                                                             MARION                 IN   46953‐9620
REBECCA RICHARD         1204 S GALLATIN ST                                                                       MARION                 IN   46953‐2205
REBECCA RITCHEY         309 GLENVIEW DR                                                                          BEDFORD                IN   47421‐9292
REBECCA ROACH           146 NORBECK TER                                                                          INDIANAPOLIS           IN   46217‐4216
REBECCA ROBINSON        3950 N HAVEN WAY                                                                         DAYTON                 OH   45414‐5039
REBECCA ROBINSON        2704 W 15TH AVE                                                                          GARY                   IN   46404‐2027
REBECCA ROBLE           1051 W BUSINESS HIGHWAY 83 LOT 730                                                       DONNA                  TX   78537‐7072
REBECCA ROBLES          PO BOX 236                                                                               ODEM                   TX   78370‐0236
REBECCA ROGERS          718 HIGHWAY 165                                                                          EUFAULA                AL   36027‐8168
REBECCA RONSHAUSEN      1133 RED TAIL HAWK CT UNIT 4                                                             BOARDMAN               OH   44512‐8007
REBECCA ROSE            6333 N LONDON AVE APT J                                                                  KANSAS CITY            MO   64151‐4741
REBECCA ROUSH           5527 IDELLA ST                                                                           ANDERSON               IN   46013‐3023
REBECCA RUSS            4096 N HENDERSON RD                                                                      DAVISON                MI   48423‐8512
REBECCA S CLINE         5371 GILMER LANE                                                                         RAINBOW CITY           AL   35906
REBECCA S CORRIN        330 VALLEY VIEW LN                                                                       BIRMINGHAM             MI   48009‐3751
REBECCA S CRIDER        319 PEARL STREET                                                                         GADSDEN                AL   35904
REBECCA S CURRIE        5048 CRAIG AVENUE, N.W.                                                                  WARREN                 OH   44483‐1234
REBECCA S DUIBLEY       6055 DELTONA BLVD.                                                                       SPRING HILL            FL   34606
REBECCA S FIELITZ       782 PARK HILL CT                                                                         DAYTON                 OH   45430
REBECCA S HRUSKA        ACCT OF VALERIE OSTEN                N9268 US HIGHWAY 141                                MIDDLE INLET           WI   54114‐8568
REBECCA S KALBARCHICK   911 OAKLEY ST #8                                                                         EVANSVILLE             IN   47710‐2033
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Name                 Address1                       Address2              Address3       Address4         City                State Zip
REBECCA S KNIGHT     1745 MULLINS AVE NW                                                                  GRAND RAPIDS         MI 49534‐2436
REBECCA S MARTIN     838 BAILEY ANDERSON RD                                                               LEAVITTSBURG         OH 44430‐9407
REBECCA S MC CLOUD   7600 STATE ROUTE 48                                                                  WAYNESVILLE          OH 45068‐8719
REBECCA S PERDUE     2948 CAROLINA AVE                                                                    ROANUKE              VA 24014
REBECCA S WHALEN     3244 B DEER TRL                                                                      CORTLAND             OH 44410‐9209
REBECCA SANDERS      7342 MEXICO RD                                                                       SAINT PETERS         MO 63376‐1307
REBECCA SANDLIN      803 N GRAHAM AVE                                                                     INDIANAPOLIS         IN 46219‐4522
REBECCA SANITATE     110 EMERSON AVE                                                                      FARRELL              PA 16121‐1824
REBECCA SAWYERS      8402 S BALDWIN RD                                                                    ASHLEY               MI 48806‐9736
REBECCA SAXTON       555 CONTINENTAL CIRCLE                                                               DAVISON              MI 48423‐8570
REBECCA SAYLER       10633 BERKEY HWY                                                                     BLISSFIELD           MI 49228‐9726
REBECCA SCHIEFFER    1635 N HIGHWAY W                                                                     ELSBERRY             MO 63343‐3039
REBECCA SCRASE       10769 CLIFFVIEW DR                                                                   SOUTH LYON           MI 48178‐9292
REBECCA SCRIPTER     226 S OSBORNE RD                                                                     DANSVILLE            MI 48819‐9710
REBECCA SCRUGGS      5483 SEABREEZE LN                                                                    STERLING HEIGHTS     MI 48310‐7452
REBECCA SENTER       1001 ONEIDA WOODS TRL                                                                GRAND LEDGE          MI 48837‐2254
REBECCA SEVERE       6510 S 1140 E                                                                        HUDSON               IN 46747‐9613
REBECCA SEWARD       1901 TAM O SHANTER CT                                                                KOKOMO               IN 46902‐6128
REBECCA SHAUVER      7352 BEECH ST                                                                        NEWTON FALLS         OH 44444‐9224
REBECCA SHEA         10351 CHADWICK RD                                                                    LAINGSBURG           MI 48848‐9452
REBECCA SHERIDAN     18057 LEGRAND AVE                                                                    PORT CHARLOTTE       FL 33948‐9375
REBECCA SHREVE       36285 GREGORY DR                                                                     STERLING HEIGHTS     MI 48312‐2808
REBECCA SHULTZ       3592 CARSON SALT SPRINGS RD                                                          NEWTON FALLS         OH 44444‐9718
REBECCA SILVEY       1321 W MADISON ST                                                                    KOKOMO               IN 46901‐3216
REBECCA SIMMER       920 N OXFORD RD                                                                      OXFORD               MI 48371‐3717
REBECCA SIMS         349 DAKOTA ST                                                                        YPSILANTI            MI 48198‐7814
REBECCA SIMS         1000 DOCKSIDE DR SW APT 414                                                          HUNTSVILLE           AL 35824‐1409
REBECCA SISCHO       2112 JOLSON AVE                                                                      BURTON               MI 48529‐2131
REBECCA SISSON       106 TOWERING OAKS CIR                                                                WEST MONROE          LA 71291‐4743
REBECCA SMITH        1722 WILLAMET RD                                                                     KETTERING            OH 45429‐4251
REBECCA SMITH        1700 LONE TREE RD                                                                    MILFORD              MI 48380‐2102
REBECCA SMITH        555 W WASHINGTON ST                                                                  GALVESTON            IN 46932‐9491
REBECCA SMITH        4234 E 100 N                                                                         KOKOMO               IN 46901‐8321
REBECCA SOMERS       2927 POST RD                                                                         NEWPORT              MI 48166‐9366
REBECCA SPENCER      45 S 2ND ST                                                                          CAMDEN               OH 45311‐1047
REBECCA STANTON      1055 S DAYTON ST                                                                     DAVISON              MI 48423‐1734
REBECCA STIMSON      70 S SEELEY DR                                                                       MIDLAND              MI 48640‐9024
REBECCA STINSON      4051 GREEN HAWK TRL                                                                  DECATUR              GA 30035‐2757
REBECCA STONE        1710 LOVEJOY RD                                                                      HAMPTON              GA 30228‐1560
REBECCA STOUT        118 LAREDO AVE                                                                       NEW LEBANON          OH 45345‐1314
REBECCA STOUT        8268 HEARTHSTONE CT                                                                  COMMERCE TOWNSHIP    MI 48382‐4523
REBECCA STRONG       1321 HOME AVE                                                                        KOKOMO               IN 46902‐1634
REBECCA STUDDARD     425 LONG PINEY RD                                                                    MANSFIELD            GA 30055‐2404
REBECCA STURGILL     134 HOOP COURT                                                                       BELLBROOK            OH 45305‐2109
REBECCA SUNDINE      1045 PLUM ST                                                                         BROWNSBURG           IN 46112‐7982
REBECCA SWANTON      7315 WINBURN DR                                                                      GREENWOOD            LA 71033‐3341
REBECCA SWOGER       4492 VIALL RD                                                                        YOUNGSTOWN           OH 44515‐2611
REBECCA T HALBROOK   PO BOX 147                     90 NEWBURY POINT RD                                   PHIPPSBURG           ME 04562
REBECCA TABORSKY     1113 SUNSET DR                                                                       COLUMBIA             TN 38401‐4804
REBECCA TACKETT      18 TERRY DR                                                                          SAINT CHARLES        MO 63303‐3904
REBECCA TATRO        14296 NEFF RD                                                                        CLIO                 MI 48420‐8846
REBECCA TAYLOR       14299 CHERRY TREE RD                                                                 CARMEL               IN 46033‐9612
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Name                  Address1                        Address2            Address3         Address4         City                  State Zip
REBECCA TEATRO        12300 RAELYN HILLS DR                                                                 PERRY                  MI 48872‐9198
REBECCA THACKER       4230 MELLEN DR                                                                        ANDERSON               IN 46013‐5049
REBECCA THOMAS        664 N EDGEWATER DR                                                                    PLANT CITY             FL 33565‐8798
REBECCA THOMPSON      3901 GREENFIELD BEND RD                                                               WILLIAMSPORT           TN 38487‐2009
REBECCA THOMPSON      3909 N 400 W                                                                          SHARPSVILLE            IN 46068‐9163
REBECCA TOME          3 CORNELL RD                                                                          WILMINGTON             DE 19808‐3101
REBECCA TOWNSEND      1640 W 9TH ST                                                                         ANDERSON               IN 46016‐2804
REBECCA TRAFFORD      30100 HATHAWAY ST                                                                     LIVONIA                MI 48150‐3091
REBECCA TREVINO       1202 S MICHIGAN AVE APT 2                                                             SAGINAW                MI 48602‐1461
REBECCA TRIER         2351 CHENEAUX LN                                                                      O FALLON               MO 63368‐8229
REBECCA TRIERWEILER   4775 FOX CHASE DR                                                                     WHITE LAKE             MI 48383‐1683
REBECCA TURNER        150 ELAINE DR                                                                         FRANKLIN               OH 45005‐1513
REBECCA VAISER IRA    C/O REBECCA VAISER              6504 MEADOWCREEK                                      DALLAS                 TX 75254
REBECCA VANCE         487 PARKVIEW ST                                                                       MANSFIELD              OH 44903‐2020
REBECCA WADDELL       1711 IRA AVE NW                                                                       GRAND RAPIDS           MI 49504‐2720
REBECCA WALDMEIR      1915 COUNTRY CLUB DR                                                                  GROSSE POINTE WOODS    MI 48236‐1601
REBECCA WALKER        3270 SHERMAN RD                                                                       MANSFIELD              OH 44903‐7569
REBECCA WALL          17501 SE 59TH ST                                                                      NEWALLA                OK 74857‐8459
REBECCA WALTERS       311 BEL AIRE DR                                                                       EDGERTON               WI 53534‐1201
REBECCA WALTZ         11443 DUNLAVY LN                                                                      WHITMORE LAKE          MI 48189‐9743
REBECCA WASHINGTON    PO BOX 4189                                                                           MARTINSBURG            WV 25402‐4189
REBECCA WATSON        505 CENTRAL AVE                                                                       TILTON                  IL 61833‐7905
REBECCA WATSON        885 CAROLYN DR                                                                        BELOIT                 WI 53511‐2103
REBECCA WEAVER        2829 EDDINGTON CT                                                                     CANTON                 MI 48188‐6255
REBECCA WEBB          571 MISTY MORNING DR                                                                  CHOCTAW                OK 73020‐7580
REBECCA WEINERT       11631 PHYLLIS ST                                                                      TAYLOR                 MI 48180‐4130
REBECCA WENDLAND      828 ALEXANDER RD                                                                      BELLVILLE              OH 44813‐9200
REBECCA WEST          111 WOODVIEW CT                                                                       FRANKLIN               TN 37064‐3248
REBECCA WHEELER       805 IMY LN                                                                            ANDERSON               IN 46013‐3868
REBECCA WHITE         837 LORAINE ST                                                                        GROSSE POINTE          MI 48230‐1237
REBECCA WHITE         2 TYNEDALE WAY                                                                        NORTH CHILI            NY 14514‐9808
REBECCA WILCZEK       43 KATIE DR                                                                           BRONX                  PA 17572
REBECCA WILLIAMS      724 W ADAMS ST                                                                        ALEXANDRIA             IN 46001‐1819
REBECCA WILLIAMS      10380 HALLER ST                                                                       DEFIANCE               OH 43512‐1232
REBECCA WILLINGHAM    4613 GREENLAWN DR                                                                     FLINT                  MI 48504‐2088
REBECCA WILSON        6307 STONEHURST DR                                                                    HUBER HEIGHTS          OH 45424‐2166
REBECCA WILSONCROFT   9260 W BOPP RD                                                                        TUCSON                 AZ 85735‐8718
REBECCA WISNIEWSKI    77 CREEKWARD DR                                                                       WEST SENECA            NY 14224‐3501
REBECCA WOEHL         2955 INDIAN RIPPLE RD                                                                 XENIA                  OH 45385‐8942
REBECCA WOODS         10489 MELINDA DR                                                                      CLIO                   MI 48420‐9411
REBECCA WOODSON       18651 PENNINGTON DR                                                                   DETROIT                MI 48221‐2165
REBECCA WORLEY        975 CHARLESTON CT                                                                     TRENTON                OH 45067‐9207
REBECCA WRIGHT        8790 E 200 S                                                                          MARION                 IN 46953‐9574
REBECCA YESKE         17882 SALINAS RIVER WAY                                                               MACOMB                 MI 48042‐2372
REBECCA YORKE         3268 BARNES RD                                                                        MILLINGTON             MI 48746‐9028
REBECCA ZAK           996 ALBRIGHT MCKAY RD NE                                                              BROOKFIELD             OH 44403‐9770
REBECCA ZEIEN         7024 S VILLA AVE                                                                      OKLAHOMA CITY          OK 73159‐2718
REBECCHI, ROSALIE L   496 NEW HARWINTON RD                                                                  TORRINGTON             CT 06790‐5653
REBECK, CHRISTINE J   634 W BLUFF CT                                                                        ROCHESTER HILLS        MI 48307‐6081
REBECK, LOUIS C       634 W BLUFF CT                                                                        ROCHESTER HILLS        MI 48307‐6081
REBECKA KESKEY‐SHAW   55511 AMBASSADOR CT                                                                   SHELBY TOWNSHIP        MI 48316‐5370
REBEIRO, GEORGE C     PO BOX 725                                                                            YERINGTON              NV 89447‐0725
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Name                                Address1                       Address2                       Address3   Address4                City             State Zip
REBEKA, THOMAS J                    15436 WHITE AVE                                                                                  ALLEN PARK        MI 48101‐2000
REBEKAH A STANLEY                   824 MAUMEE DR                                                                                    KOKOMO            IN 46902‐5525
REBEKAH BURCHAM                     727 SW 401 RD                                                                                    DEEPWATER         MO 54740‐9312
REBEKAH CANSLER‐ALVARADO            2775 N STATE HIGHWAY 360       APT 632                                                           GARND PRAIRIE     TX 75050‐7808
REBEKAH CLAYBORNE                   APT N4                         3031 SOUTH WASHINGTON AVENUE                                      LANSING           MI 48910‐2991

REBEKAH E CLAYBORNE                 3031 S WASHINGTON AVE APT N4                                                                     LANSING          MI   48910‐2991
REBEKAH GLASS                       1108 JAXSON DR                                                                                   FORISTELL        MO   63348‐2687
REBEKAH J JACKSON                   PO BOX 2563                                                                                      DETROIT          MI   48202‐0563
REBEKAH J MARTIN                    2115 DANE LN                                                                                     BELLBROOK        OH   45305‐1804
REBEKAH JONES                       102 VETERANS AVE                                                                                 BLISSFIELD       MI   49228‐1341
REBEKAH KOHNKE‐SWOVELAND            7352 HATCHERY RD                                                                                 WATERFORD        MI   48327‐1017
REBEKAH L TIDWELL                   180 PAYNE LN                                                                                     ALTOONA          AL   35952
REBEKAH L TURNBULL                  275 WOODLAWN DR                                                                                  TIPP CITY        OH   45371
REBEKAH STANLEY                     824 MAUMEE DR                                                                                    KOKOMO           IN   46902‐5525
REBEKAH SWIETON                     26670 W 73RD ST                                                                                  SHAWNEE          KS   66227‐2513
REBEKAH WILLIS                      7124 CORDOVA DR                                                                                  INDIANAPOLIS     IN   46221‐9362
REBEKKA E SCHWARTZ                  1300 CENTER AVE APT 305                                                                          BAY CITY         MI   48708‐6181
REBEKKA RAU                         AN DER SCHINDERLOHE 20 A                                                 86482 AYSTETTEN
                                                                                                             GERMANY
REBEL ELIZABETH                     1317 HAMLET DR                                                                                   TOBYHANNA        PA   18466‐4078
REBEL, THOMAS J                     17448 RAY AVE                                                                                    ALLEN PARK       MI   48101‐3408
REBELE SHARON                       132 DELAWARE TRL                                                                                 LAKEWOOD         NJ   08701‐1164
REBELLO, JOAQUIN D                  PO BOX 987                                                                                       IONE             CA   95640‐0987
REBELLO, ROMA                       43 AMBERSON AVE                                                                                  YONKERS          NY   10705‐3660
REBENNACK, MARY C                   5450 S KEYSTONE AVE                                                                              INDIANAPOLIS     IN   46227
REBENNACK, ROBERT D                 602 NORTHGATE DRIVE                                                                              GREENWOOD        IN   46143‐1161
REBENTISCH, ARTHUR D                11584 WOODGATE DR NW                                                                             GRAND RAPIDS     MI   49534
REBEOR, DAVID P                     1275 W POINT RD                                                                                  LAWRENCEBURG     TN   38464‐6470
REBEOR, DAVID PAUL                  1275 W POINT RD                                                                                  LAWRENCEBURG     TN   38464‐6470
REBEOR, SHAWN                       204 2ND AVE N APT 290                                                                            LEWISBURG        TN   37091‐2765
REBER & FOLEY SERVICE CENTER INC.   904 E MAIN ST                                                                                    SAINT CHARLES    IL   60174‐2258
REBER & FOLEY SERVICE CENTER INC.   904 E MAIN ST                                                                                    SAINT CHARLES    IL   60174‐2258
REBER, BRENDA B                     2148 MARTINDALE AVE SW                                                                           WYOMING          MI   49509‐1838
REBER, DALLAS H                     1306 W OREGON ST                                                                                 LAPEER           MI   48446‐1240
REBER, DAVID M                      1306 W OREGON ST                                                                                 LAPEER           MI   48446‐1240
REBER, DIANA S                      7302 S MEADOWS LN                                                                                FRENCH LICK      IN   47432‐9238
REBER, EDWIN D                      2150 MARTINDALE AVE SW                                                                           WYOMING          MI   49509‐1838
REBER, JAMES A                      1387 W 350 S                                                                                     HUNTINGTON       IN   46750‐9181
REBER, JOHN R                       23112 LANGDON AVE                                                                                PORT CHARLOTTE   FL   33954‐2458
REBER, KIMBERLY M                   505 W CATHOLIC ST                                                                                PIERCETON        IN   46562‐9445
REBER, MARK G                       2091 KENWOOD DR                                                                                  FLINT            MI   48532‐4035
REBER, MARK GREGORY                 2091 KENWOOD DR                                                                                  FLINT            MI   48532‐4035
REBER, MARY B                       5353 DUNSTER ROAD                                                                                GRAND BLANC      MI   48439‐9752
REBER, MARY B                       5353 DUNSTER RD                                                                                  GRAND BLANC      MI   48439‐9752
REBER, NINAMAE                      3358 S LEONA                                                                                     BAY CITY         MI   48706‐1736
REBER, NINAMAE                      3358 S LEONA ST                                                                                  BAY CITY         MI   48706‐1736
REBER, ROGER K                      7326 TILDEN WAY                                                                                  SACRAMENTO       CA   95822‐4908
REBER, ROSALIE                      7161 N PLUM TREE                                                                                 PUNTA GORDA      FL   33955‐1166
REBER, RUBEN W                      12500 SW 5TH CT APT M108                                                                         PEMBROKE PINES   FL   33027‐6710
REBER, SYLVIA L                     1405 MINTER RD                                                                                   PLANO            TX   75023‐1909
REBER, TODD J                       13318 SCHUG RD                                                                                   MILAN            OH   44846
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Name                         Address1                          Address2                        Address3   Address4         City               State Zip
REBERNIK, EDWARD L           513 CLINTON ST                                                                                VANDLING            PA 18421‐1505
REBERT, DAVID M              3345 W MILTON AVE                                                                             SAINT LOUIS         MO 63114‐2833
REBERT, FRANCES E            31692 DILWORTH AVE                                                                            SALISBURY           MD 21804‐1842
REBERTA MOWREY               13421 W STATE ROAD 32                                                                         YORKTOWN            IN 47396‐9717
REBETA JAMES                 3077 PINEDA CROSSING DR                                                                       MELBOURNE           FL 32940‐1415
REBHAHN, LEANNE M            16 PARTRIDGE HOLW                                                                             HONEOYE FALLS       NY 14472
REBHAN, NANCY J              1626 104TH AVE                                                                                ZEELAND             MI 49464‐1499
REBHAN, RICHARD A            8950 BENT CEDAR TRL                                                                           EDMOND              OK 73034‐2035
REBHAN, STEVEN C             4150 W OAK SHORES DR                                                                          CROSSROADS          TX 76227‐2407
REBHOLZ KENNETH W            17739 FONTINA PATH                                                                            FARMINGTON          MN 55024‐7818
REBHOLZ, OLIVE M             2501 EAST 104TH AVENUE                                                                        DENVER              CO 80233‐4401
REBIC, JAMES J               PO BOX 202                                                                                    MANCHESTER          MI 48158‐0202
REBIC, JAMES JOSEPH          PO BOX 202                                                                                    MANCHESTER          MI 48158‐0202
REBIC, ROBERT G              5662 RADCLIFFE AVE                                                                            YOUNGSTOWN          OH 44515‐4126
REBIDAS, FRANCIS J           19353 HICKORY RIDGE RD                                                                        FENTON              MI 48430‐8529
REBIDAS, FRANCIS JOSEPH      19353 HICKORY RIDGE RD                                                                        FENTON              MI 48430‐8529
REBILAS JR, JOSEPH A         1024 WHITE PINE STREET                                                                        NEW CARLISLE        OH 45344‐5344
REBILAS, ELIZABETH J         300 S MAIN ST                                                                                 NEW CARLISLE        OH 45344‐1928
REBILLARD, WILLIAM
REBISH, DOROTHY              405 KING ST                                                                                   PERRYOPOLIS        PA   15473‐9327
REBISH, MARTIN A             405 KING ST                                                                                   PERRYOPOLIS        PA   15473‐9327
REBITS, DOROTHY              10492 CARSON HWY                  C/O ROBIN DICK                                              TECUMSEH           MI   49286‐9730
REBITZKE, RONALD L           117 PR0VIDER                                                                                  GWINN              MI   49841
REBLE, WILLIAM M             9616 KNOWLTON RD                                                                              GARRETTSVILLE      OH   44231
REBLIN, MARK F               161 OPPOSSUM DR                                                                               LAKE HAVASU CITY   AZ   86404
REBMAN DENNIS                1967 RIDGEVIEW                                                                                YPSILANTI          MI   48198‐9515
REBMAN, DENNIS L             1967 RIDGEVIEW                                                                                YPSILANTI          MI   48198‐9515
REBMAN, GEORGE               123 MILL RUN LN                                                                               SAINT PETERS       MO   63376‐7108
REBMAN, JAMES L              1226 BINGHAM AVE                                                                              JANESVILLE         WI   53546‐2643
REBMAN, JAMES W              PO BOX 679                                                                                    PENNS GROVE        NJ   08069‐0679
REBMAN, LINDSEY E            10309 TUMBLEWEED BLVD                                                                         FORT WAYNE         IN   46825‐2629
REBMAN, PAUL A               8972 POSEY DR                                                                                 WHITMORE LAKE      MI   48189‐9479
REBMAN, PAUL J               114 E STATE ST                                                                                JANESVILLE         WI   53546‐2607
REBMANN, MICHAEL J           87 OLD CARRIAGE HOUSE RD                                                                      GRAND ISLAND       NY   14072
REBMANN, RONALD B            12000 BROADWAY ST                                                                             ALDEN              NY   14004‐9504
REBMANN/REDFORD              12221 DIXIE                                                                                   REDFORD            MI   48239‐2452
REBNER, WALDEMAR             31427 HARTFORD DR                                                                             WARREN             MI   48088‐7308
REBOK DAVID (493090)         BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                               PROFESSIONAL BLDG
REBOKUS, RICHARD J           23 SMITH RD                                                                                   SHREWSBURY         MA 01545‐4568
REBOL, WILLIAM F             205 S 4TH ST                                                                                  CHESANING          MI 48616‐1012
REBOLD, SHEILA D             3345 42ND ST                                                                                  CANFIELD           OH 44406‐9285
REBOLLAR, MILLEILY NEYDIN
REBOLLOSA, DONNA G           1129 E LEAF RD                                                                                QUEEN CREEK        AZ   85240‐5422
REBOLT, ELIZABETH J          2427 STANFIELD DRIVE                                                                          PARMA              OH   44134
REBON, NANCY P               1763 LAKE RD                                                                                  YOUNGSTOWN         NY   14174‐9726
REBOREDO, HECTOR L           1737 CHRISTIANS CIRCLE                                                                        HARLINGEN          TX   78550‐2834
REBOREDO, ORLANDO J          1104 51ST ST                                                                                  NORTH BERGEN       NJ   07047‐3108
REBOTICS INTERNATIONAL       2619 BOND ST                                                                                  ROCHESTER HILLS    MI   48309‐3510
REBOTICS INTERNATIONAL INC   2619 BOND ST                                                                                  ROCHESTER HILLS    MI   48309‐3510
REBOTTARO, CHARLES J         4788 BILLMYER HWY                                                                             BRITTON            MI   49229‐8702
REBOULET, FRANCES I          1553 JOHN GLENN RD                                                                            DAYTON             OH   45410‐3251
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Name                            Address1                           Address2                      Address3   Address4             City              State Zip
REBOULET, JAMES                 8220 5 MILE RD                                                                                   NORTHVILLE         MI 48168‐9405
REBOULET, JAMES M               1937 WARD HILL AVE                                                                               DAYTON             OH 45420‐3138
REBOUT, LARRY L                 1101 THORNECREST DR                                                                              JANESVILLE         WI 53546‐1791
REBRICA IGNAC (507586)          COON BRENT W                       PO BOX 4905                                                   BEAUMONT           TX 77704‐4905
REBRICA, IGNAC                  COON BRENT W                       PO BOX 4905                                                   BEAUMONT           TX 77704‐4905
REBRICA, IGNAC                  5130 S LARAMIE AVE                                                                               CHICAGO             IL 60638‐3022
REBROVICH, GREG
REBROVICH, LAUREN
REBROVICH, LISA                 GAGEN MCCOY MCMAHON & ARMSTRONG PO BOX 218                                                       DANVILLE          CA 94526‐0218

REBROVICH, SAMANTHA
REBSTOCK, AUDRAE R.             6160 S 6TH ST                      W66                                                           MILWAUKEE         WI   53221‐5121
REBSTOCK, MILDRED E             2331 W HENRY AVE                                                                                 MILWAUKEE         WI   53221‐4921
REBSTOCK, ROCHELLE L            31903 PONDSIDE DR                                                                                AVON LAKE         OH   44012‐2799
REBUCK, ELIZABETH J.            1119 S B ST                                                                                      ELWOOD            IN   46036‐1952
REBUCK, ELIZABETH J.            1119 SOUTH "B" STREET                                                                            ELWOOD            IN   46036‐1952
REBUCK, JOHN M                  11 CHIMING RD                                                                                    NEW CASTLE        DE   19720‐2912
REBUCK, RICHARD A               122 N 12TH ST                                                                                    ELWOOD            IN   46036‐1559
REBUCK, THOMAS C                223 WEST BEECH LANE                                                                              ALEXANDRIA        IN   46001‐8386
REBUJIO, ANGELITA M             PO BOX 161543                                                                                    MOBILE            AL   36616
REBURN FRED D JR (429666)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510
                                                                   STREET, SUITE 600
REBURN, FRED D                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
REBURN, JAMES E                 1809 GREENBRIAR LN                                                                               FLINT             MI   48507‐2219
REBURN, THOMAS A                2121 PEACHTREE DR                                                                                WILMINGTON        DE   19805‐1049
REBUSTILLOS, LUZ E              2829 RED LION SQUARE                                                                             WINTER PARK       FL   32792
REBUSTILLOS, RAUL E             1094 S MAPLECREST CT                                                                             TOMS RIVER        NJ   08753‐5296
REBY WILLIAMS                   17872 DWYER ST                                                                                   DETROIT           MI   48212‐1363
REC, EDWINA M                   15537 DASHER AVE                                                                                 ALLEN PARK        MI   48101‐2731
REC, MICHAEL W                  16425 BRANDT ST                                                                                  ROMULUS           MI   48174‐3212
RECA BARKER                     6644 PARK LANE RT #4                                                                             HILLSBORO         OH   45133
RECALL TOTAL INFORMATION MGNT
RECARD, CHARLETTA               1920 E BELL RD UNIT 1114                                                                         PHOENIX           AZ   85022‐6287
RECARDO BROOKS                  1221 SANDPIPER CT                                                                                GRAYSLAKE         IL   60030‐3209
RECARDO MATIAS                  2767 BELLE MEADE PL                                                                              COLUMBIA          TN   38401‐7289
RECARDO NORTH AMERICA INC       4120 LUELLA LN                                                                                   AUBURN HILLS      MI   48326‐1576
RECARO NORTH AMERICA            IAN COFFER                         4120 LUELLA LN                                                AUBURN HILLS      MI   48326‐1576
RECARO NORTH AMERICA            IAN COFFER                         3275 LAPEER ROAD WEST                    TILBURY, ON CANADA
RECARO NORTH AMERICA            IAN COFFER                         3275 LAPEER RD W                                              AUBURN HILLS      MI 48326‐1723
RECARO NORTH AMERICA INC        PO BOX 771020                                                                                    DETROIT           MI 48277‐1020
RECARO NORTH AMERICA INC        4120 LUELLA LN                                                                                   AUBURN HILLS      MI 48326‐1576
RECARO NORTH AMERICA INC
RECARO NORTH AMERICA, INC.      4120 LUELLA LN                                                                                   AUBURN HILLS      MI   48326‐1576
RECARO/AUBURN HILLS             3275 LAPEER RD W                                                                                 AUBURN HILLS      MI   48326‐1723
RECARO/CLAWSON                  905 W MAPLE RD                                                                                   CLAWSON           MI   48017‐1005
RECCA FRANK J                   RECCA, FRANK J                     1520 US HIGHWAY 130 STE 101                                   NORTH BRUNSWICK   NJ   08902‐3145
RECCHI, VICTORIA C              3635 EL JAMES DRIVE                                                                              SPRING            TX   77388‐5078
RECCHIA, ALBERT M               37 IADAROLA AVE                                                                                  MILFORD           MA   01757‐2341
RECCHIA, PHYLLIS D              5460 E HARBOR VILLAGE DR                                                                         VERO BEACH        FL   32967‐7367
RECCHIO, NATALI J               11711 BROADWAY                                                                                   ALDEN             NY   14004‐8606
RECCHIO, RINALDO F              9415 W ESCUDA DR                                                                                 PEORIA            AZ   85382‐0981
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Name                                 Address1                             Address2                        Address3                 Address4                 City         State Zip
RECCHY, JOAN A                       1616 JAMES ST                                                                                                          LANSING       MI 48906‐4331
RECCI EASLEY                         8602 BUCKINGHAM LN APT 15                                                                                              RAYTOWN       MO 64138‐1229
RECEIVABLE MANAGEMENT SERVICES       240 EMERY ST                                                                                                           BETHLEHEM     PA 18015‐1980
RECEIVER GENERAL                     TECHNOLOGY CENTRE, 875 HERON RD.     CANADA REVENUE AGENCY                                    OTTAWA ON K1A 1B1
                                                                                                                                   CANADA
RECEIVER GENERAL                     CANADA REVENUE AGENCY                1050 NOTRE‐DAME AVE                                      SUDBURY ON P3A 5C1
                                                                                                                                   CANADA
RECEIVER GENERAL                     EMPLOYER SERVICES                    1050 NOTRE‐DAME AVE                                      SUDBURY ON P3A 5C1
                                                                                                                                   CANADA
RECEIVER GENERAL                     SUDBURY TAX CENTRE                   1050 NORTRE DAME AVE                                     SUDBURY ON P3A 5C1
                                                                                                                                   CANADA
RECEIVER GENERAL                     RECEIVER GENERAL‐HERON RD            CANADA CUSTOMS & REV. AGENCY    875 HERON ROAD           OTTAWA ON K1A 1B1
                                                                                                                                   CANADA
RECEIVER GENERAL CANADA              P.O. BOX 6767                                                                                 MATANE PQ G4W 4T1
                                                                                                                                   CANADA
RECEIVER GENERAL FOR CANADA          300‐875 HERON RD                                                                              OTTAWA ON K1A 1B1
                                                                                                                                   CANADA
RECEIVER GENERAL FOR CANADA          475‐200 TOWN CENTRE CRT                                                                       SCARBOROUGH ON M1P
                                                                                                                                   4Y3 CANADA
RECEIVER GENERAL FOR CANADA          CANADA BORDER SERVICE AGENCY                                                                  OTTAWA ON K1A 0L8
                                                                                                                                   CANADA
RECEIVER GENERAL FOR CANADA          POSTAL STATION D, BOX 2330           INDUSTRY CANADA ALS FINANCIAL                            OTTAWA ON K1P 6K1
                                                                          CENTRE                                                   CANADA
RECEIVER GENERAL FOR CANADA          SUDBURY TAX SERVICES                 1050 NOTRE‐DAME AVE                                      SUDBURY ON P3A 5C1
                                                                                                                                   CANADA
RECEIVER GENERAL FOR CANADA          LMT 2007 CONF MGMT OFFICE            NATL RES COUNCIL OF CANADA      1200 MONTREAL RD BLDG M‐ OTTAWA CANADA ON K1A
                                                                                                          10                       0R6 CANADA
RECEIVER GENERAL OF CANADA           CANADIAN INTELLECTUAL PROPERTY       50 VICTORIA STREET 3RD FLOOR                             GATINEAU CANADA PQ K1A
                                                                                                                                   0C9 CANADA
RECEIVER GENERAL OF CANADA           C/O CENTRAL MAIL ROOM                11 LAURIER STREET GATINEAU      3RD FL 2745 IRIS         OTTAWA CANADA ON K1A
                                                                                                                                   0S5 CANADA
RECEIVER GENERAL OTTAWA TECH CENTRE ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 875 HERON ROAD                                          OTTAWA ON K1A 1G9
                                                                                                                                   CANADA
RECEIVER GENERAL OTTAWA TECH CENTRE 875 HERON ROAD                                                                                 OTTAWA ON K1A 1G9
                                                                                                                                   CANADA
RECEIVER OF TAXES                                                                                                                                           BEDFORD      PA
RECEIVER OF TAXES ERIE, PA
RECEIVER OF TAXES MASSENA            ATTN CHRISTINE WOOD                  TOWN HALL MAIN ST                                                                 MASSENA      NY   13662
RECEP/ZANESVILLE                     2200 LINDEN AVE                      C/O LEAR                                                                          ZANESVILLE   OH   43701‐2138
RECEPT PHARMACY, LP                  PO BOX 15640                                                                                                           FORT WORTH   TX   76119‐0640
RECEPTEC CO.                         4360 BALDWIN RD                                                                                                        HOLLY        MI   48442‐9316
RECEPTEC CORP                        4360 BALDWIN RD                                                                                                        HOLLY        MI   48442‐9316
RECEPTEC CORP                        150 CAILUN RD                        ZHANGJIANG INDUSTRIAL PARK                               PUDONG NEW AREA
                                                                                                                                   SHANGHAI 201203 CHINA
                                                                                                                                   (PEOPLE'S REP)
RECEPTEC CORP                        150 CAILUN RD                                                                                 PUDONG NEW AREA
                                                                                                                                   SHANGHAI CN 201203
                                                                                                                                   CHINA (PEOPLE'S
RECEPTEC LLC
RECEPTEC LLC                         4360 BALDWIN RD                                                                                                        HOLLY        MI 48442‐9316
RECEPTEC/CHINA                       150 CAILUN RD ZHANGJIANG IND PK      C/O CENTURION ELECTRONICS                                PUDONG CB 201203 CHINA
                                                                          SHANG
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Name                                Address1                         Address2                      Address3   Address4             City                State Zip
RECEPTEC/LINCOLN                    3425 N 44TH ST                   C/O CENTURION WIRELESS TECH                                   LINCOLN              NE 68504‐1603
RECEVEUR, JAMES G                   3600 W PEBBLEPOINT WAY                                                                         MUNCIE               IN 47302‐6931
RECEVEUR, JOSEPH W                  8448 WESTRIDGE DR                                                                              INDIANAPOLIS         IN 46234‐1746
RECH HOLGAR                         AM DEIBACH 15                                                             IGEL GERMANY 54298
RECH, DANIEL J                      4331 TIMBERBROOK DR                                                                            CANFIELD            OH   44406‐9303
RECH, GARY                          1399 MONROE AVE                                                                                ROCHESTER           NY   14618‐1005
RECH, KEVIN J                       2550 ROLLING HILLS RD                                                                          CAMILLUS            NY   13031‐9614
RECHELL MARTIN                      115 LOVETT DR                                                                                  CLINTON             MS   39056
RECHELLE L TERRY                    3305 DARBYSHIRE DR                                                                             CANFIELD            OH   44406‐9231
RECHELLE TERRY                      3305 DARBYSHIRE DR                                                                             CANFIELD            OH   44406‐9231
RECHENBACH, WILLIAM S               11531 CHIMNEY RIDGE CT                                                                         TRAVERSE CITY       MI   49686‐9214
RECHENMACHER DAVE                   634 N WEBSTER ST                                                                               NAPERVILLE          IL   60563‐3056
RECHER, EVERETT P                   5226 HAXTON DRIVE                                                                              CENTERVILLE         OH   45440‐5440
RECHER, EVERETT P                   5226 HAXTON DR                                                                                 CENTERVILLE         OH   45440‐2215
RECHER, GARY A                      260 TURNER DR.                                                                                 LEBANON             OH   45036‐1028
RECHER, GARY A                      260 TURNER DR                                                                                  LEBANON             OH   45036‐1028
RECHER, LINDA C                     260 TURNER DR                                                                                  LEBANON             OH   45036‐1028
RECHICHI RANDY                      67 ANGELUS DR                                                                                  ROCHESTER           NY   14622‐3105
RECHICHI, DONALD P                  78 THISTLEWOOD LN                                                                              SPENCERPORT         NY   14559
RECHICHI, GARY P                    19 PICKETT LN                                                                                  HILTON              NY   14468‐1013
RECHICHI, PAULINE                   GOLDBERG JAMES R                 101 W PROSPECT AVE STE 1600                                   CLEVELAND           OH   44115‐1027
RECHIN, LEDA M                      20776 MYSTIC WAY                                                                               NORTH FORT MYERS    FL   33917‐7757
RECHKEMMER, HENRY N                 3126 MODRED DR                                                                                 SAN JOSE            CA   95127‐1434
RECHLIN, DONALD E                   5160 GREEN ACRES DR                                                                            FREDERIC            MI   49733‐9796
RECHLIN, FRANK J                    88 COACHMAN DR                                                                                 PENFIELD            NY   14526‐1206
RECHLIN, MARTIN D                   35525 PARKDALE ST                                                                              LIVONIA             MI   48150‐6500
RECHLIN, NEIL C                     5533 JUNO DR                                                                                   LAKE VIEW           NY   14085‐9724
RECHNITZER, GEORGE
RECHSTEINER, ELEANOR M              972 M‐15                                                                                       REESE               MI   48757
RECHSTEINER, IRENE J                3856 FOUR SEASONS DR                                                                           GLADWIN             MI   48624‐7957
RECHT, MARVIN L                     2487 GLEBE ST                                                                                  CARMEL              IN   46032‐7159
RECHT‐SCOTT, DARLENE G              2916 SCOTTSDALE DR                                                                             INDIANAPOLIS        IN   46234‐1769
RECHTIEN, JEFFREY W                 9916 DRIVER AVE                                                                                OVERLAND            MO   63114‐2206
RECHTIN, DAVID J                    522 MONTPELIER CT                                                                              FT WRIGHT           KY   41011‐3626
RECIA ADAMS                         38000 CLUBHOUSE LANE             102A                                                          HARRISON TOWNSHIP   MI   48045
RECIA L ADAMS                       23120 WELLINGTON CRES APT 204                                                                  CLINTON TWP         MI   48036‐3559
RECIE DALTON                        8017 N C 700                                                                                   RUFFIN              NC   27326
RECIE MOULTRIE                      19980 PRAIRIE ST                                                                               DETROIT             MI   48221‐1217
RECIL CLEMONS                       5142 WYNDEMERE COMMON SQ                                                                       SWARTZ CREEK        MI   48473‐8964
RECINA MATTA                        411 KENMAWR AVE                                                                                RANKIN              PA   15104
RECINE VALENTINO                    RECINE, CHRISTINA                109 CROTON PARK RD                                            CORTLANDT MANOR     NY   10567
RECINE VALENTINO                    RECINE, VALENTINO                75 S BROADWAY FL 4                                            WHITE PLAINS        NY   10601‐4413
RECINE, CHRISTINA                   ALLYN HAUSNER & MONTANILE LLP    303 S BROADWAY STE 229                                        TARRYTOWN           NY   10591‐5410
RECINE, VALENTINO                   ALLYN HAUSNER & MONTANILE LLP    303 S BROADWAY STE 229                                        TARRYTOWN           NY   10591‐5410
RECINE, VALENTINO                   109 CROTON PARK RD                                                                             CORTLANDT MANOR     NY   10567‐5200
RECIPROCAL ELECTRICAL COUNCIL INC   25180 LAHSER RD                  P O BOX 385                                                   SOUTHFIELD          MI   48033‐5866
RECIPROCAL ELECTRICAL COUNCIL INC   215 W TROY ST                                                                                  FERNDALE            MI   48220‐1892
RECK, BEVERLY A                     431 BRIDLE LANE N                                                                              W CARROLLTON        OH   45449‐2119
RECK, BEVERLY A                     431 BRIDLE LN N                                                                                W CARROLLTON        OH   45449‐2119
RECK, CARL C                        3901 S COUNTY ROAD 900 W                                                                       DALEVILLE           IN   47334
RECK, FAYE                          41 OUTCALT RD                                                                                  EDISON              NJ   08817‐4134
RECK, JASON R                       11100 HORATIO RD                                                                               BRADFORD            OH   45308‐9709
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Name                         Address1                          Address2                      Address3   Address4         City             State Zip
RECK, JOHN D                 9440 NEW HARRISON BRADFORD RD                                                               BRADFORD          OH 45308‐9504
RECK, JOHN DAVID             9440 NEW HARRISON BRADFORD RD                                                               BRADFORD          OH 45308‐9504
RECK, JOHN W                 431 BRIDLE LN N                                                                             DAYTON            OH 45449‐2119
RECK, JOHN W                 431 BRIDLE LANE NORTH                                                                       W.CARROLLTON      OH 45449‐2119
RECK, KEITH A                9440 NEW HARRISON BRADFORD RD                                                               BRADFORD          OH 45308‐9504
RECK, MICHAEL J              10279 LAFAYETTE LN                                                                          DIMONDALE         MI 48821‐9426
RECK, MICHAEL K              1206 BEAVER RUN                                                                             ANDERSON          SC 29625‐6707
RECK, NANCY R                2313 FOX RUN RD                                                                             DAYTON            OH 45459‐3511
RECK, RAY G                  5420 BLUE RIDGE CUT OFF OFC 504                                                             RAYTOWN           MO 64133
RECK, RUTH A                 812 HARRIER PL                                                                              DAVIS             CA 95616‐0173
RECK, TOM L                  6916 N STATE ROUTE 721                                                                      BRADFORD          OH 45308‐9660
RECKAHN, MARIAN E            PO BOX 50834                                                                                FORT MYERS        FL 33994‐0834
RECKARD CHARLES F (440412)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                BALTIMORE         MD 21202
                                                               CHARLES CENTER 22ND FLOOR
RECKARD, CHARLES             ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                 BALTIMORE        MD 21202
                                                               CHARLES CENTER 22ND FLOOR
RECKART HERBERT G            459 WHITE SCHOOL RD                                                                         BRUCETON MILLS   WV   26525
RECKART, HERBERT G           RT 4 BOX 242 E                                                                              BRUCETON MILLS   WV   26525‐9554
RECKART, HERBERT G           459 WHITE SCHOOL RD                                                                         BRUCETON MILLS   WV   26525
RECKELHOFF, ROBERT R         1925 CENTRAL AVE                                                                            BEDFORD          IN   47421‐3907
RECKER, ASHLEY RENEE         11106 CROSSTREE CT                                                                          FORT WAYNE       IN   46814‐9045
RECKER, CAROL C              PO BOX 74                                                                                   GLANDORF         OH   45848‐0074
RECKER, EUGENE L             PO BOX 1001                       202 LIBERTY ST                                            CONTINENTAL      OH   45831‐1001
RECKER, GERALD J             420 VANHOY DR                                                                               GREENWOOD        IN   46142
RECKER, MARK I               11106 CROSSTREE CT                                                                          FORT WAYNE       IN   46814‐9045
RECKER, MATTHEW S            4141 HORIZON NORTH PKWY APT 215                                                             DALLAS           TX   75287‐2826
RECKER, RALPH J              23185 OUTWOOD ST                                                                            SOUTHFIELD       MI   48033‐6537
RECKER, SUSAN M              2410 LUPINE LN                                                                              WICKENBURG       AZ   85390‐2084
RECKLEY WALTER A (429667)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                               STREET, SUITE 600
RECKLEY, CYNTHIA M           6255 TELEGRAPH RD LOT 283                                                                   ERIE             MI   48133‐8400
RECKLEY, JAMES M             9500 WOLF LAKE RD                                                                           BROOKLYN         MI   49230‐8980
RECKLEY, JAMES MILE          9500 WOLF LAKE RD                                                                           BROOKLYN         MI   49230‐8980
RECKLEY, WALTER A            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                               STREET, SUITE 600
RECKLING, ALVA J             24340 MASCH AVE                                                                             WARREN           MI   48091‐4479
RECKLING, ESTHER A           39 GREENWICH BLVD APT 101                                                                   LAKE WYLIE       SC   29710‐7841
RECKLING, ESTHER A           APT 101                           39 GREENWICH BOULEVARD                                    CLOVER           SC   29710‐7841
RECKLING, FRANK H            20093 FIVE POINTS ST 5                                                                      REDFORD          MI   48240
RECKLING, FRANK H            PO BOX 493                                                                                  OSCODA           MI   48750‐0493
RECKLING, GILBERT A          159 S ADAMS RD                                                                              ROCHESTER HLS    MI   48309‐1443
RECKLING, MICHAEL A          1947 DEVONSHIRE DR                                                                          WIXOM            MI   48393‐4411
RECKMACK, ALICE S            688 MOUNTAIN RD                                                                             CHESHIRE         CT   06410‐3306
RECKMAN GERALD               4950 PRESTONWOOD RD                                                                         CONWAY           AR   72034
RECKMAN, NANCY L             3639 N MONROE AVE                                                                           KANSAS CITY      MO   64117‐2651
RECKMAN, NANCY LOU           3639 N MONROE AVE                                                                           KANSAS CITY      MO   64117‐2651
RECKNAGEL, FRED R            517 BROADWAY                                                                                LEONARDO         NJ   07737‐1312
RECKNAGEL, FRIEDA M          6222 ZIRKELS CIR                                                                            BROOKSVILLE      FL   34604‐8576
RECKNAGEL, JAMES R           6222 ZIRKELS CIR                                                                            BROOKSVILLE      FL   34604‐8576
RECKNAGEL, RONALD F          7105 LATCHA RD                                                                              PERRYSBURG       OH   43551‐4754
RECKNAGEL, RONALD FRANK      7105 LATCHA RD                                                                              PERRYSBURG       OH   43551‐4754
RECKNAGER, MARY E            441 ALGENE DR                                                                               LAKE ORION       MI   48362‐2701
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Name                             Address1                             Address2              Address3                  Address4         City               State Zip
RECKNER II, WILLIAM L            10274 S 300 E                                                                                         MARKLEVILLE         IN 46056‐9762
RECKNER, TIM F                   19108 WINSLOW TER                                                                                     BOCA RATON          FL 33434‐5546
RECKO, PAUL S                    25201 PICONE LN                                                                                       BEDFORD HTS         OH 44146‐1958
RECKORT ROLF                     SALVATIERRA, 18                      38787 GARAFIA (TF)
RECKTENWALD, CHRISTOPHER C       10020 DEERING ST                                                                                      LIVONIA            MI   48150‐3226
RECKWALD, ROBERT H               1420 W SUTTON RD                                                                                      METAMORA           MI   48455‐9616
RECLAMATION OIL SITE             ADMINISTRATIVE FUND                  400 RENAISSANCE CTR   C/O DYKEMA GOSSETT PLLC                    DETROIT            MI   48243‐1607
RECNY, MICHAEL L                 9775 BRADNER ROAD                                                                                     RISINGSUN          OH   43457‐9731
RECO EDISON                      5000 LINBAR DR STE 200                                                                                NASHVILLE          TN   37211‐5000
RECO EQUIPMENT INC               PO BOX 160                                                                                            MORRISTOWN         OH   43759‐0160
RECO EQUIPMENT INC               2841 BRECKSVILLE ROAD                                                                                 RICHFIELD          OH   44286
RECO EQUIPMENT INC               ATTN: CORPORATE OFFICER/AUTHORIZED   2841 BRECKSVILLE RD                                              RICHFIELD          OH   44286‐9740
                                 AGENT
RECO L RUCKER                    888 GAWAIN CIR                                                                                        DAYTON             OH   45449‐2454
RECO LLC                         RECO                                 1008 SEABROOK WAY                                                CINCINNATI         OH   45245
RECO/NASHVILLE                   5000 LINBAR DR STE 200                                                                                NASHVILLE          TN   37211‐5000
RECOB, MICHAEL A                 1452 ALLENDALE DR                                                                                     SAGINAW            MI   48638‐5460
RECOLLET, CLAYTON A              34767 CHANNING WAY                                                                                    NEW BALTIMORE      MI   48047‐1085
RECOLLET, JAMIE EILEEN           207 WASHINGTON ST                                                                                     DIMONDALE          MI   48821‐9799
RECOLLET, MARY A                 7826 WILLIAMS RD                                                                                      LANSING            MI   48911‐3047
RECOLLET, VALENTINE E            7826 WILLIAM'S RD                                                                                     LANSING            MI   48911
RECOLLET, VALENTINE F            207 WASHINGTON ST                                                                                     DIMONDALE          MI   48821‐9799
RECOLLET, VALENTINE FABION       207 WASHINGTON ST                                                                                     DIMONDALE          MI   48821‐9799
RECON AUTOMOTIVE                 REMANUFACTURERS INC                  3250 S 76TH ST                                                   PHILADELPHIA       PA   19153
RECON ORTHO ASSOC                PO BOX 7910                                                                                           PHILADELPHIA       PA   19175‐0001
RECONSTRUCTIVE ORTHO             8099 CORNELL RD                                                                                       CINCINNATI         OH   45249‐2231
RECOR, CONNIE                    33510 WILDER RD                                                                                       LA FARGEVILLE      NY   13656‐3163
RECORD COPY SERVICES             400 RENAISSANCE CTR SUITE 2000                                                                        DETROIT            MI   48243
RECORD COPY SERVICES             18136 LAUREL PARK DRIVE NORTH        S‐200W                                                           LIVONIA            MI   44815‐3958
RECORD COPY SERVICES             THIRTY NORTH LASALE, SUITE 1800                                                                       CHICAGO            IL   60602
RECORD COPY SERVICES,            THIRTY NORTH LASALLE, SUITE 1800                                                                      CHICAGO            IL   60602
RECORD EXPRESS LLC,              4295 ARMSTRONG BLVD                                                                                   BATAVIA            OH   45103
RECORD INDUSTRIAL CO             ATTN: KATHY PITTS                    PO BOX 288                                                       FAIRVIEW VILLAGE   PA   19409‐0288
RECORD INDUSTRIAL CO INC         PO BOX 288                                                                                            FAIRVIEW VILLAGE   PA   19409‐0288
RECORD PERFORMANCE INC.          3925 PECK RD                                                                                          EL MONTE           CA   91732‐2244
RECORD REPRODUCTION SOLUTIONS    PO BOX 256                                                                                            MEDIA              PA   19063‐0256
RECORD, ANTONIO                  49777 NEWARK DR                                                                                       SHELBY TOWNSHIP    MI   48315
RECORD, BERNICE H                6179 E COUNTY ROAD 175 S                                                                              WALTON             IN   46994‐9089
RECORD, HOWARD M                 4042 JUDAN CT                                                                                         INDIANAPOLIS       IN   46221‐2928
RECORD, JANE
RECORD, WILDA S                  548 NEW HOPE RD                                                                                       DYER               TN   38330
RECORD, WILLIAM E                1446 S WABASH AVE                                                                                     KOKOMO             IN   46902‐6254
RECORDER OF DEEDS                515 D ST NW                                                                                           WASHINGTON         DC   20001‐2709
RECORDER OF DEEDS OFFICE OF      NO 18 KONGENS GADE                   SAINT THOMAS                                                     ST THOMAS          VI   00802
LIEUTENANT GOVERNOR
RECORDING ACADEMY                3030 OLYMPIC BLVD                                                                                     SANTA MONICA       CA   90404‐5073
RECORDS DEPOSITION SERVICE INC   29777 TELEGRAPH RD STE 3000          PO BOX 5054                                                      SOUTHFIELD         MI   48034‐7634
RECORDS, FRANK R                 24 S PARK DR                                                                                          ANDERSON           IN   46011‐1748
RECORDS, LEWIS R                 1 LULLABY LN                                                                                          NEWARK             DE   19702‐4753
RECORDS, TOMMIE I                24 SOUTH PARK DRIVE                                                                                   ANDERSON           IN   46011‐1748
RECORDS, VINCENT R               320 OAKVALE BLVD                                                                                      BUFFALO            NY   14223‐1639
RECORDTRAX                       651 ALLENDALE RD                                                                                      KING OF PRUSSIA    PA   19406‐1428
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Name                                  Address1                             Address2                         Address3    Address4                 City             State Zip
RECORE, EVELYN JUNE                   1801 HOADLEY ROAD                                                                                          DECKER            MI 48426‐9702
RECORE, EVELYN JUNE                   1801 HADLEY RD                                                                                             DECKER            MI 48426‐9702
RECOVERY OF JUDGMENT AS ASSIGNEE OF   17 W. 24TH STREET                    SUITE 207                                                             NEW YORK          NY 10010
NEIL
RECOVERY PAYMENT CENTER               ATTN RECOVERY DEPARTMENT             484 LAKE MIRROR ROAD SUITE 700                                        ATLANTA          GA 30349

RECOVERY SERVICES INTERNATIONAL INC   1 BEAVER VALLEY ROAD 1 WEST                                                                                WILMINGTON       DE 19803

RECOVERY SERVICES INTL INC            RECOVERY AGENT FOR ESIS              DEPT CH 10123                                                         PALATINE          IL   60055‐0123
RECOVERY SERVICES INTL INC RECOVERY   DEPT CH 10123                                                                                              PALATINE          IL   60055‐0123
AGENT FOR ESIS
RECOY, ELIZABETH K                    1241 E MEMORIAL DR                                                                                         JANESVILLE       WI 53545‐1838
RECREATION CLUB                       PO BOX 620                                                                                                 LOCKPORT         NY 14095‐0620
RECREATION VEHICLE INDUSTRY           1896 PRESTON WHITE DR                                                                                      RESTON           VA 20191‐4325
ASSOCIATION INC
RECREATIONAL VEHICLE DEALER AS        3930 UNIVERSITY DRIVE                                                                                      FAIRFAX          VA 22030
RECRUITSOFT, INC
RECRUITSOFT, INC.                     JEAN LAVIGUER, CFO                   330 ST‐VALLIER EAST              SUITE 400   QUEBEC QC G1K 9C5
                                                                                                                        CANADA
RECSER, DONALD R                      1065 TORREY PINES ST NE                                                                                    WARREN           OH 44484‐6711
RECTANWALD AND WAYNE AUTOMOTIVE       7506 FEGENBUSH LN                                                                                          LOUISVILLE       KY 40228‐1518

RECTENWALD, PHYLLIS J                1701 DENISON AVENUE                                                                                         CLEVELAND        OH 44109‐2944
RECTICEL INTERIORS NA LLC            5600 BOW POINTE DR                                                                                          CLARKSTON        MI 48346‐3115
RECTICEL INTERIORS NORTH AMERICA LLC 5600 BOW POINTE DR                                                                                          CLARKSTON        MI 48346‐3115

RECTICEL INTERIORS NORTH AMERICA LLC 5600 BOW POINTE DR                    FRMLY RECTICEL NORTH AMERICA                                          CLARKSTON        MI 48346‐3115

RECTICEL SA                           5600 BOW POINTE DR                                                                                         CLARKSTON        MI 48346‐3115
RECTICEL SA                           AVE DES PLEIADES 15                                                               BRUXELLES 1200 BELGIUM
RECTOR CHEVROLET, L.L.C.              JOHN RECTOR                          3401 S 13 HWY                                                         HIGGINSVILLE     MO    64037
RECTOR CHEVROLET, L.L.C.              3401 S 13 HWY                                                                                              HIGGINSVILLE     MO    64037
RECTOR DONNA                          RECTOR, DONNA                        5083 FAIRGROUND AVE                                                   BALLSTON SPA     NY    12020
RECTOR HARRY WAYNE (439430)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA    23510
                                                                           STREET, SUITE 600
RECTOR JAMIE                          ATTN: CORPORATE OFFICER/AUTHORIZED   250 LINDEN AVE UNIT 208                                               LONG BEACH       CA 90802‐3132
                                      AGENT
RECTOR JAMIE                          250 LINDEN AVE UNIT 208                                                                                    LONG BEACH       CA 90802‐3132
RECTOR JOHN                           RECTOR, JOHN
RECTOR JR, ALPHUS F                   215 HUB GROCE RD                                                                                           PEYTONSBURG      KY 42717‐8743
RECTOR JR, RALPH H                    6132 SOUTH 30 EAST                                                                                         MARKLEVILLE      IN 46058
RECTOR ORRIN (641087)                 BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
RECTOR WILLIE D (439431)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA 23510
                                                                           STREET, SUITE 600
RECTOR, BARBARA M                     8302 FORWARD PASS RD                                                                                       INDIANAPOLIS     IN    46217‐4424
RECTOR, BETTY A                       639 VALLEY CREEK ACRES                                                                                     JEFFERSON CITY   TN    37760
RECTOR, BILL E                        PO BOX 431                                                                                                 WARSAW           MO    65355‐0431
RECTOR, BOYD                          3324 VALERIE DR                                                                                            DAYTON           OH    45405‐1139
RECTOR, BRUCE E                       HC 62 BOX 33                                                                                               EUFAULA          OK    74432‐9674
RECTOR, CAROL L                       1042 FARGO                                                                                                 KALAMAZOO        MI    49004‐1037
RECTOR, CAROL L                       1042 FARGO AVE                                                                                             KALAMAZOO        MI    49004‐1037
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Name                  Address1                       Address2                       Address3   Address4         City                  State Zip
RECTOR, CHARLES A     2886 SWEETHOME RD                                                                         CHAPMANSBORO           TN 37035
RECTOR, CHARLES E     639 VALLEY CREEK ACRES                                                                    JEFFERSON CITY         TN 37760
RECTOR, CORRINE M     1216 SUGAR PINE DR                                                                        ANDERSON               IN 46012‐5502
RECTOR, DAVID F       724 HATHAWAY TRL                                                                          TIPP CITY              OH 45371‐1121
RECTOR, DELMER J      PO BOX 219                                                                                MATTHEWS               IN 46957‐0219
RECTOR, DIANA         1360 W COUNTY RD 463 SOUTH                                                                HARTFORD CITY          IN 47348‐0166
RECTOR, DIANE D       155 TURTLEDOVE DR                                                                         MONROE                 LA 71203‐8473
RECTOR, DONNA         5083 FAIRGROUND AVE                                                                       BALLSTON SPA           NY 12020‐2219
RECTOR, DORIS D       1235 CHESTERFIELD DR                                                                      ANDERSON               IN 46012‐4470
RECTOR, DOROTHY M     1528 MAGNOLIA DR                                                                          ANDERSON               IN 46011
RECTOR, EDWARD A      102 SLY RUN                                                                               NOBLESVILLE            IN 46062‐9757
RECTOR, ELOUISE B     2848 S BANTAM RD                                                                          BETHEL                 OH 45106‐9579
RECTOR, ETHEL M       6600 W BRIGGS RD                                                                          STANTON                MI 48888‐9751
RECTOR, GARY D        3 ROMANO LN                                                                               HOT SPRINGS VILLAGE    AR 71909‐5539
RECTOR, GARY E        326 HAWTHORNE DR                                                                          CLEVELAND              GA 30528‐9047
RECTOR, GENEVA        5331 N CLINTON ST                                                                         FORT WAYNE             IN 46825‐5746
RECTOR, GOLDEN I      3720 FIESTA WAY                                                                           MIDDLETOWN             OH 45044‐6112
RECTOR, HAROLD B      6381 N APPOLLO DR                                                                         ALEXANDRIA             IN 46001‐8893
RECTOR, HAROLD W      PO BOX 9094                                                                               KANSAS CITY            KS 66112‐9094
RECTOR, HAROLD W      615 STONER DR                                                                             ANDERSON               IN 46013‐3623
RECTOR, HARRY WAYNE   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA 23510‐2212
                                                     STREET, SUITE 600
RECTOR, JAMES A       9333 S ORCA CRICLE DR                                                                     BALDWIN               MI   49304
RECTOR, JAMES A       3812 MCELROY RD APT D12                                                                   DORAVILLE             GA   30340‐2319
RECTOR, JAMES C       363 N BAZIL AVE                                                                           INDIANAPOLIS          IN   46219‐5511
RECTOR, JANE G        350 S EAST ST                                                                             PENDLETON             IN   46064‐1214
RECTOR, JANE G        350 SOUTH EAST STREET                                                                     PENDLETON             IN   46064
RECTOR, JEANNETTE     1010 14 MILE RD NE                                                                        SPARTA                MI   49345‐9553
RECTOR, JEFFREY P     11983 E LANSING RD                                                                        DURAND                MI   48429
RECTOR, JERRY W       101 LOUISE ST                                                                             PENDLETON             IN   46064‐9113
RECTOR, JIMMY W       155 TURTLEDOVE DR                                                                         MONROE                LA   71203‐8473
RECTOR, JUNIOR E      6614 GROVEHILL DR                                                                         HUBER HEIGHTS         OH   45424‐3062
RECTOR, KATHERINE S   14200 KATRIENE DRIVE                                                                      DALEVILLE             IN   47334
RECTOR, KRISTINA      29090 BAY POINTE DR                                                                       CHESTERFIELD          MI   48047‐6031
RECTOR, LARRY J       12711 E COUNTY ROAD 125 S                                                                 SELMA                 IN   47383‐9317
RECTOR, LINDA L       212 HANNA AVE                                                                             DAYTON                OH   45427‐2513
RECTOR, LORETTA       224 TAYLORSVILLE RD                                                                       YARDLEY               PA   19067‐1317
RECTOR, MARK S        5350 2 MILE RD                                                                            BAY CITY              MI   48706‐3038
RECTOR, MARK STEVEN   5350 2 MILE RD                                                                            BAY CITY              MI   48706‐3038
RECTOR, MAUDE W       161 MCGEE LN                                                                              COOKEVILLE            TN   38501‐9577
RECTOR, N G           RR 1                                                                                      MARKLEVILLE           IN   46056‐9801
RECTOR, NANCY W       1461 CROSS CREEK CIR                                                                      DAYTON                OH   45429‐5756
RECTOR, NATHAN A      1916 MARYWELL DR                                                                          SAINT LOUIS           MO   63138‐1125
RECTOR, NORMAN R      375 FROST RD                                                                              WILLIAMSTON           MI   48895‐9799
RECTOR, ORRIN         BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD            OH   44067
                                                     PROFESSIONAL BLDG
RECTOR, ROBERT L      1010 14 MILE RD NE                                                                        SPARTA                MI   49345‐9553
RECTOR, ROBERT W      2410 RIVERWALK DR                                                                         PLAINFIELD            IL   60586‐8076
RECTOR, RONALD D      2040 E 1700 N                                                                             SUMMITVILLE           IN   46070‐9168
RECTOR, RUTHANNE A    2614 CHESTERFIELD PL                                                                      ANDERSON              IN   46012‐4440
RECTOR, SARAH J       2202 CRESCENT DR                                                                          HAMPTON               VA   23661‐3228
RECTOR, SELDON C      28 CHAMBERS DR                                                                            WEAVERVILLE           NC   28787‐9602
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Name                                 Address1                           Address2                      Address3   Address4                  City           State Zip
RECTOR, SHIRLEY H                    821 LONE OAK DR                                                                                       COOKEVILLE      TN 38501‐3778
RECTOR, TIMOTHY C                    2601 N RAIDER RD                                                                                      NEW CASTLE      IN 47362‐9749
RECTOR, TIMOTHY L                    107 S LANSDOWN WAY                                                                                    ANDERSON        IN 46012‐3228
RECTOR, TIMOTHY LEE                  107 S LANSDOWN WAY                                                                                    ANDERSON        IN 46012‐3228
RECTOR, V D                          515 W 600 N                                                                                           ALEXANDRIA      IN 46001
RECTOR, VIRGINIA L                   5425 N RAIDER RD                                                                                      MIDDLETOWN      IN 47356‐9382
RECTOR, WABA L                       315 FITZGERALD RD                  C/O MARGARET DAVIS                                                 JACKSON         TN 38301‐7848
RECTOR, WANDA L                      795 HIDDEN CIR                                                                                        DAYTON          OH 45458‐3317
RECTOR, WILLIE D                     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510‐2212
                                                                        STREET, SUITE 600
RECUPARO JR, COSMO J                 8070 N HOBBY HORSE CT                                                                                 TUCSON         AZ   85741‐4013
RECUPARO SR, VITO L                  400 SANDRA LN APT I116                                                                                SYRACUSE       NY   13212‐2936
RECUPARO, VITO L                     8711 APT 12 NEW COUNTRY DR                                                                            CICERO         NY   13039
RECUPITO, PASQUALE                   5011 CROSS POINTE DR                                                                                  OLDSMAR        FL   34677‐5213
RECYCLE ANN ARBOR INC                2950 E. ELLSWORTH                                                                                     ANN ARBOR      MI   48108
RECYCLE NB                           P.O. BOX 308                       STATION A                                FREDERICTON NB E3B 4Y9
                                                                                                                 CANADA
RECYCLE NOW INC                      302 E 19TH ST STE D                                                                                   HOLLAND        MI   49423‐2222
RECYCLING FLUID TECH INC             9207 COTTERS RIDGE RD                                                                                 RICHLAND       MI   49083‐9585
RECYCLING FLUID TECHNOLOGIES I       9207 COTTERS RIDGE RD                                                                                 RICHLAND       MI   49083‐9585
RECYCLING FLUID TECHNOLOGIES INC     9207 COTTERS RIDGE RD                                                                                 RICHLAND       MI   49083‐9585
RECYCLING FLUID TECHNOLOGIES, INC.   9207 COTTERS RIDGE RD                                                                                 RICHLAND       MI   49083‐9585
RECYCLING SOLUTIONS                  929 WILLOW ST                                                                                         WOOD RIVER     IL   62095‐1358
RECYDE S A                           P I PAGATZA S/N                                                             ELGETA GIPUZKOA 20690
                                                                                                                 SPAIN
RECYDE SA                            POLIGONO INDUSTRIAL                PAGATZA S/N ELORRIO BIDE                 ELGETA GIPUZKOA 20690
                                                                                                                 SPAIN
RECYDE SA                            POLIGONO INDUSTIAL                                                          ELGETA GIPUZKOA 0 20690
                                                                                                                 SPAIN
RECYL CASHWELL                       76 WHITMAN LN                                                                                         YOUNGSTOWN     OH   44505‐4932
RECZEK, BERNARD A                    101 WEISS ST                                                                                          BUFFALO        NY   14206‐3144
RECZEK, CLARA                        101 WEISS STREET                                                                                      BUFFALO        NY   14206‐3144
RECZEK, MARION K                     1389 STAFFORD AVE APT 109                                                                             BRISTOL        CT   06010‐2885
RECZEK, RICHARD W                    141 GOERING AVE                                                                                       CHEEKTOWAGA    NY   14225‐4741
RECZEK, RONALD B                     101 WEISS ST                                                                                          BUFFALO        NY   14205‐3144
RECZEK, RONALD B                     101 WIESS ST                                                                                          BUFFALO        NY   14206
RECZKA, LUCY L                       181 CASTLE HTS AVE                                                                                    PENNSVILLE     NJ   08070
RECZKA, STANLEY J                    181 CASTLE HEIGHTS AVE                                                                                PENNSVILLE     NJ   08070‐2224
RED
RED BALL OXYGEN CO INC               609 N MARKET ST                    PO BOX 7316                                                        SHREVEPORT     LA   71107‐6826
RED BALL OXYGEN CO INC               609 N MARKET ST                                                                                       SHREVEPORT     LA   71107‐6826
RED BALL OXYGEN CO INC               ROGERS & HEARNE                    4415 THORNHILL AVENUE                                              SHREVEPORT     LA   71106
RED BARON MARKETING LLC              1387 FAIRPORT RD STE 800                                                                              FAIRPORT       NY   14450‐2002
RED BEND SOFTWARE INC                400‐1 TOTTEN POND RD               STE 130                                                            WALTHAM        MA   02451‐2042
RED BEND SOFTWARE INC
RED BEND SOFTWARE INC                400‐1 TOTTEN POND RD STE 130                                                                          WALTHAM        MA   02451‐2054
RED BEND SOFTWARE INC                175 CROSSING BLVD                                                                                     FRAMINGHAM     MA   01702
RED BIRD EXPRESS INC                 PO BOX 2244                                                                                           CLARKSVILLE    IN   47131‐2244
RED BIRD GARAGE                      3021 PRESTON AVE NW                                                                                   ROANOKE        VA   24012‐2806
RED BULL                             1740 STEWART ST                                                                                       SANTA MONICA   CA   90404‐4022
RED BULL                             5800 GRANITE PKWY STE 850                                                                             PLANO          TX   75024‐6612
RED BULL                             DAVE MCCAULEY                      5800 GRANITE PKWY STE 850                                          PLANO          TX   75024‐6612
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Name                                 Address1                             Address2                       Address3                   Address4                 City               State Zip
RED BULL NORTH AMERICA INC           5800 GRANITE PKWY STE 850                                                                                               PLANO               TX 75024‐6612
RED CAP TRANSPORT                    1725 MILLER RD                                                                                                          DEARBORN            MI 48120‐1732
RED CLAY CONSOLIDATED SCHOOL         DISTRICT TRANSPORTATION              479 OLD AIRPORT RD                                                                 NEW CASTLE          DE 19720‐1001
RED DEVIL INC                        4175 WEBB ST                                                                                                            PRYOR               OK 74361‐6741
RED DEVIL INC                        ATTN: CORPORATE OFFICER/AUTHORIZED PO BOX 842802                                                                        KANSAS CITY         MO 64184‐2802
                                     AGENT
RED DOG SALOON                       211 E MORGAN ST                                                                                                         KOKOMO             IN 46901‐2361
RED EXPRESS BOX TRUCK SERVICE INC    4505 FOREST AVE                                                                                                         CINCINNATI         OH 45212‐3303
RED EXPRESS DELIVERY SERVICE INC     139 W 6TH ST                                                                                                            NEWPORT            KY 41071
RED FOREST LTD                       C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT            2 RAFFLES LINK             MARINA BAYFRONT
                                     LTD                                                                                            SINGAPORE 039392
RED HAWK INDUSTRIES                  471 E 124TH AVE                                                                                                         DENVER             CO    80241‐2402
RED HOAGLAND PONTIAC‐GMC, INC.       5325 14TH ST W                                                                                                          BRADENTON          FL    34207‐3307
RED HOAGLAND PONTIAC‐GMC, INC.       GEORGE HOAGLAND                      5325 14TH ST W                                                                     BRADENTON          FL    34207‐3307
RED HOLMAN GMC                       35300 FORD RD                                                                                                           WESTLAND           MI    48185‐3173
RED HOLMAN PONTIAC GMC               35100 FORD ROAD                                                                                                         WESTLAND           MI    48185
RED HOLMAN PONTIAC GMC               35300 FORD RD                                                                                                           WESTLAND           MI    48185‐3173
RED HOLMAN PONTIAC GMC                                                                                                                                       WESTLAND           MI    48185
RED HORSE INN                        ATTN: RAY PATEL                    4625 S DIXIE DR                                                                      MORAINE            OH    45439‐2195
RED HOT FREIGHT                      PO BOX 28                                                                                                               WHITE BLUFF        TN    37187‐0028
RED IND/HAZEL PARK                   1671 E 9 MILE RD                                                                                                        HAZEL PARK         MI    48030‐1957
RED LABEL VACATIONS INC
RED LATINA                           1205 SURREY CT APT 4                                                                                                    GODFREY            IL 62035‐4129
RED LIGHT VIOLATIONS                 MONITORING PROGRAM                 PO BOX 3674                      CHURCH STREET STATION                               NEW YORK           NY 10008‐3674
RED LION CHEVROLET/GEO/OLDSMOBILE,   3220 CAPE HORN RD                                                                                                       RED LION           PA 17356‐9073

RED LION CHEVROLET/GEO/OLDSMOBILE,   3220 CAPE HORN RD                                                                                                       RED LION           PA 17356‐9073
INC.
RED LION CHEVROLET/GEO/OLDSMOBILE,   TERRENCE STEWART                   3220 CAPE HORN RD                                                                    RED LION           PA 17356‐9073
INC.
RED LION/SCOTTSDALE                  4949 E. LINCOLN DRIVE                                                                                                   SCOTTSDALE         AZ    85253
RED LION/SEATTLE                     18740 INTERNATIONAL BLVD                                                                                                SEATAC             WA    98188‐4234
RED LOBSTER                          ATTN: JEAN BALDWIN                 2322 W 4TH ST                                                                        ONTARIO            OH    44906‐1205
RED LODGE CHEVROLET                  PO BOX 650300                                                                                                           DALLAS             TX    75265‐0300
RED LODGE CHEVROLET                  PO BOX 1514                                                                                                             BILLINGS           MT    59103‐1514
RED MCCOMBS MEDIA                    9101 BURNET RD                     STE 203                                                                              AUSTIN             TX    78758‐5297
RED MCCOMBS SUPERIOR PONTIAC‐GMC     4800 NW LOOP 410                                                                                                        SAN ANTONIO        TX    78229‐5310
TR
RED MCCOMBS SUPERIOR PONTIAC‐GMC     4800 NW LOOP 410                                                                                                        SAN ANTONIO         TX   78229‐5310
TRUCK
RED NOLAND CADILLAC, INC.            990 MOTOR CITY DR                                                                                                       COLORADO SPRINGS   CO    80905‐7309
RED NOLAND CADILLAC, INC.            MICHAEL JORGENSEN                  990 MOTOR CITY DR                                                                    COLORADO SPRINGS   CO    80905‐7309
RED NOLAND SAAB                      NOLAND, NELSON B.                  1260 MOTOR CITY DR                                                                   COLORADO SPRINGS   CO    80905‐7315
RED NOLAND SAAB                      1260 MOTOR CITY DR                                                                                                      COLORADO SPRINGS   CO    80905‐7315
RED NOLAND SAAB                      990 MOTOR CITY DR                                                                                                       COLORADO SPRINGS   CO    80905‐7309
RED OAK HOLDINGS, INC.               PRESIDENT                          6101 SW 76TH ST                                                                      SOUTH MIAMI        FL    33143‐5021
RED RIVER AUTO                       1301 CENTRAL AVE NW                                                                                                     EAST GRAND FORKS   MN    56721‐1611
RED RIVER BUSINESS INC               FAO MR G R MACHAN                  VERITE TRUST CO LTD, PO BOX 36   1ST FL, 37 BROAD ST      ST HELIER JERSEY JE4 9NU
                                                                                                                                  CHANNEL ISLANDS
RED RIVER COLLEGE                    ACCOUNTS RECEIVABLE C212           2055 NOTRE DAME AVE              FMLY RED RIVER COMMUNITY WINNIPEG MB R3H 0J9
                                                                                                         COLLE                    CANADA
RED RIVER CONSULTANT                 DEPT 09033 PO BOX 9600                                                                                                  TEXARKANA           TX   75505
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RED RIVER COUNTY COLLECTOR            200 NORTH WALNUT                                                                           CLARKSVILLE      TX 75426
RED RIVER INTERMODAL INC              PO BOX 36023                                                                               SHREVEPORT       LA 71130‐6000
RED RIVER MOTOR COMPANY               221 TRAFFIC ST                                                                             BOSSIER CITY     LA 71111‐4445
RED RIVER MOTOR COMPANY               JAMES FRITZE                          221 TRAFFIC ST                                       BOSSIER CITY     LA 71111‐4445
RED RIVER REPAIR                                                            153 W STUTSMAN ST                                                     ND 58271
RED RIVER REVEL CORK EVENT            101 CROCKETT STREET                                                                        SHREVEPORT       LA 71101
RED RIVER TAX AGENCY                  ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 570                                          COUSHATTA        LA 71019‐0570

RED RIVER TAX AGENCY                  PO BOX 570                                                                                 COUSHATTA       LA   71019‐0570
RED ROCK SPRING WATER INC             1145 ICEHOUSE AVE                                                                          SPARKS          NV   89431‐5735
RED ROCKS COMMUNITY COLLEGE           13300 W 6TH AVE BOX 2                                                                      LAKEWOOD        CO   80228
RED ROCKS INSTITUTE                   1726 COLE BLVD STE 310                                                                     GOLDEN          CO   80401‐3213
RED RUN GOLF CLUB                     2036 ROCHESTER RD                                                                          ROYAL OAK       MI   48073‐4171
RED SEAL AUTO PROS                    3596 ST CLAIR AVE E                                                   SCARBOROUGH ON M1K
                                                                                                            1M2 CANADA
RED SHOE CHEVROLET                    1104 HIGHWAY 71 S                                                                          LECOMPTE        LA   71346‐9724
RED SHOE MOTORS, INC.                 PAUL FALGOUST                         1104 HIGHWAY 71 S                                    LECOMPTE        LA   71346‐9724
RED SPOT PAINT & VARNISH CO INC       PO BOX 418                                                                                 EVANSVILLE      IN   47703‐0418
RED SPOT/PO BOX 418                   PO BOX 418                                                                                 EVANSVILLE      IN   47703‐0418
RED TOP TRANSPORTATION                905 WYOMING AVE                                                                            SCRANTON        PA   18509‐3021
RED WILLOW COUNTY TREASURER           PO BOX 490                                                                                 MC COOK         NE   69001‐0490
RED WING CHEVROLET BUICK PONTIAC CA   2500 HIGHWAY 61 W                                                                          RED WING        MN   55066‐1472

RED WING CHEVROLET BUICK PONTIAC      2500 HIGHWAY 61 W                                                                          RED WING        MN 55066‐1472
CADILLAC
RED WING SHOE STORE                   98 WADSWORTH BLVD UNIT 111                                                                 LAKEWOOD        CO   80226‐1551
RED WING SHOE STORE                   3 BEACHWAY DR STE B                                                                        INDIANAPOLIS    IN   46224‐8501
RED WING SHOE STORE                   6261 YOUNGSTOWN WARREN RD                                                                  NILES           OH   44446
RED WING SHOES                        4434 BAY RD                                                                                SAGINAW         MI   48603‐5202
RED WING SHOES                        20 E ALEXIS RD                                                                             TOLEDO          OH   43612
RED WING TRANSPORTATION INC           7170 E MCNICHOLS RD                                                                        DETROIT         MI   48212‐2037
RED WING, RODNEY D                    5050 VINES RD                                                                              HOWELL          MI   48843‐7394
RED WING, THE SHOE BOX                1333 LEXINGTON AVE                                                                         MANSFIELD       OH   44907‐2614
RED X MOTORS, INC.                    509 NORTHLAND DR                                                                           CAMERON         MO   64429‐1349
RED X MOTORS, INC.                    WILLIAM HEAVNER                       509 NORTHLAND DR                                     CAMERON         MO   64429‐1349
RED'S CHECK POINT INC.                12535 S HALSTED ST                                                                         CHICAGO         IL   60628‐7011
RED'S CHECK POINT INC.                12535 S HALSTED ST                                                                         CHICAGO         IL   60628‐7011
RED'S GARAGE                          1910 MCFETRIDGE ST                                                                         HARLINGEN       TX   78550‐4109
RED'S TOWING                          301 E MAIN ST                                                                              ANAMOSA         IA   52205‐1807
RED, JACQUELINE                       1110 S RACE ST                                                                             MARION          IN   46953‐2122
RED, MICHELLE A                       108 CUTTER BILL                                                                            LIBERTY HILL    TX   78642‐5517
RED, REX M                            11793 E HOWARD CITY EDMORE RD                                                              RIVERDALE       MI   48877‐8778
RED‐D‐ARC INC                         38098 VAN BORN RD                                                                          WAYNE           MI   48184‐1577
REDA C PRESCOTT                       1323 WHISPERING RIDGE LN                                                                   SAINT PETERS    MO   63376‐4629
REDA HARTING                          823 BROOKS DR                                                                              FORTVILLE       IN   46040‐1124
REDA HIGGINS                          10676 N 600 W                                                                              ELWOOD          IN   46036‐8924
REDA OVERBEY                          7381 FIELDS ERTEL RD.                                                                      CINCINNATI      OH   45241‐1740
REDA PRESCOTT                         1323 WHISPERING RIDGE LN                                                                   SAINT PETERS    MO   63376‐4629
REDA, BRIAN R                         3696 MAIN ST APT 30                                                                        MINERAL RIDGE   OH   44440‐9715
REDA, JANICE M                        5 JODI LN                                                                                  WILTON          NY   12831‐2534
REDA, SANTO R                         2684 SPRING MEADOW CIR                                                                     YOUNGSTOWN      OH   44515‐4957
REDALFO IGLESIAS                      6391 WILLIAMS LAKE RD                                                                      WATERFORD       MI   48329‐3067
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Name                           Address1                         Address2                      Address3   Address4         City                   State Zip
REDALL INDUSTRIES INC          400 E WOOD ST                                                                              YALE                    MI 48097
REDANZ, RICHARD C              6653 LIEBLER ROAD                                                                          BOSTON                  NY 14025‐9628
REDANZ, RICHARD R              3574 KELSEY LN                                                                             N TONAWANDA             NY 14120‐3614
REDASH, ALEX M                 10245 TALLADAY RD                                                                          WILLIS                  MI 48191‐9749
REDAVIDE, DEAN M               1557 OAKLAND AVE                                                                           DAYTON                  OH 45409
REDAY, GLENN B                 5311 QUAIL RIDGE DR                                                                        PLAINSBORO              NJ 08536‐4267
REDBANK CHEVROLET INC          500 BROAD ST                                                                               NEW BETHLEHEM           PA 16242‐1105
REDBANK CHEVROLET INC          RONALD SEIDLE                    500 BROAD ST                                              NEW BETHLEHEM           PA 16242‐1105
REDBOX AUTOMATED RETAIL, LLC   JIM MOWEN                        1 TOWER LANE                                              OAKBROOK TERRACE         IL 60181
REDBURN, GERALD L              10935 S FENMORE RD                                                                         BRANT                   MI 48614‐9790
REDBURN, JAMES E               4067 RIVER RD                                                                              FRANKFORT               MI 49635‐9378
REDBURN, KENNETH E             26110 NEW CHICAGO AVE                                                                      HEMET                   CA 92544‐6506
REDBURN, KIRK R                430 BAKER ROAD                                                                             MERRITT IS              FL 32953‐6827
REDBURN, KIRK R                430 BAKER RD                                                                               MERRITT IS              FL 32953‐6827
REDBURN, MARION V              10392 GREEN ROAD                                                                           GOODRICH                MI 48438‐9428
REDBURN, MARK L                8009 HERBISON RD                                                                           BATH                    MI 48808
REDBURN, PATRICIA S            15761 PRETTY LAKE DR                                                                       MECOSTA                 MI 49332‐9492
REDBURN, RAYMOND D             PO BOX 441                                                                                 BRECKENRIDGE            MI 48615‐0441
REDCELSIUS INC
REDCELSIUS INC                 ATTN: CHAIRMAN AND SEO           1000 WINDWARD CONCOURSE STE                               ALPHARETTA             GA 30005‐2075
                                                                550
REDCELSIUS, INC.               ATTN: CHAIRMAN AND SEO           1000 WINDWARD CONCOURSE STE                               ALPHARETTA             GA 30005‐2075
                                                                550
REDD J T                       REDD, J T                        33159 FORD RD                                             GARDEN CITY            MI   48135‐1153
REDD JR, JOHNNIE               9501 IRIS ST APT 117                                                                       DETROIT                MI   48227‐3740
REDD SR, JODY L                270 S FINDLAY ST                                                                           DAYTON                 OH   45403‐2667
REDD SR., STANLEY E            893 1/2 TAIT RD SW                                                                         WARREN                 OH   44481‐9632
REDD, AARON C                  2014 S 57TH ST                                                                             PHILADELPHIA           PA   19143‐5616
REDD, BENNIE M                 4218 MARIANNE DR                                                                           FLUSHING               MI   48433‐2329
REDD, BILLY G                  407 N 18TH ST                                                                              EAST SAINT LOUIS       IL   62205‐1901
REDD, CARL                     1141 BOWMAN ST                                                                             MACON                  GA   31217‐7808
REDD, CLARENCE L               209 JEFFERSON BLVD                                                                         GREENFIELD             IN   46140‐1854
REDD, CLIFFORD
REDD, CLYDE A                  961 HORSE MOUNTAIN RD                                                                      SHELBYVILLE            TN   37160‐3031
REDD, CURTIS E                 385 BOLING LN                                                                              WASKOM                 TX   75692‐5825
REDD, CURTIS EUGENE            385 BOLING LN                                                                              WASKOM                 TX   75692‐5825
REDD, DARYLN J                 11306 HAZELDELL DR                                                                         CLEVELAND              OH   44108‐1518
REDD, DAVID L                  1038 N PARK DR                                                                             TEMPERANCE             MI   48182‐9301
REDD, EARL L                   16005 TEMPLAR CIR                                                                          SOUTHFIELD             MI   48075‐3031
REDD, ELAINE D                 1482 WERTH DR                                                                              ROCHESTER              MI   48306‐4828
REDD, ELLEN F                  1528 SOUTH ST                                                                              NOBLESVILLE            IN   46060‐3857
REDD, HELEN A                  6264 QUAIL RDG E                                                                           PLAINFIELD             IN   46168‐9341
REDD, JAMES                    11755 NORBOURNE DR APT 716                                                                 CINCINNATI             OH   45240‐4445
REDD, JAMES R                  4681 VILLAGE DR                                                                            JACKSON                MS   39206‐3350
REDD, KEITH L                  38304 JOHN P ST                                                                            CLINTON TWP            MI   48036‐1220
REDD, KENNETH R                6264 QUAIL RDG E                                                                           PLAINFIELD             IN   46168‐9341
REDD, LA VARR                  8601 SHADYBROOKE DR                                                                        NORTH RICHLAND HILLS   TX   76180‐1335
REDD, LELIA M                  323 W SILVERWOOD DR                                                                        MIDWEST CITY           OK   73110‐3322
REDD, MACEROY                  13133 TREES EDGE CT                                                                        FLORISSANT             MO   63033‐4572
REDD, MARRION F                23083 RIVERSIDE DR 3806                                                                    SOUTHFIELD             MI   48033
REDD, MARY S                   2014 S 57TH ST                                                                             PHILADELPHIA           PA   19143‐5616
REDD, MARY S                   2014 S. 57TH ST.                                                                           PHILADELPHIA           PA   19143‐5616
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Name                        Address1                           Address2                        Address3   Address4         City                State Zip
REDD, RAYMOND D             7401 BELLEPLANE DR                                                                             HUBER HEIGHTS        OH 45424
REDD, ROBERT M              3004 TROY AVE                                                                                  BEECH GROVE          IN 46107‐1454
REDD, SARA B                1320 S BETHANY RD                                                                              MCDONOUGH            GA 30252‐7704
REDD, TERRY J               385 BOLING LN                                                                                  WASKOM               TX 75692‐5825
REDD, TESSIE L              2116 REYNOLDSTON LN                                                                            DALLAS               TX 75232‐2334
REDD, WILL H                625 DORCHESTER LANE                                                                            MANSFIELD            TX 76063‐2887
REDD, WILMA J               3228 ROGER WILLIAMS DR APT B                                                                   BRIDGETON            MO 63044‐3156
REDD‐YANCEY, MARIE A        440 COMSTOCK ST NW                                                                             WARREN               OH 44483‐3210
REDDAN JEANNIE              3511 BRUSHWOOD DR                                                                              CASTLE ROCK          CO 80109‐7944
REDDARD ROBERT J (356474)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510
                                                               STREET, SUITE 600
REDDARD, ROBERT J           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
REDDAWAY, CYNTHIA A         41321 MEMPHIS                                                                                  STERLING HEIGHTS    MI   48313
REDDAWAY, GERALD E          763 N LONG LAKE BLVD                                                                           LAKE ORION          MI   48362‐1661
REDDAWAY, MABLE A           763 N LONG LAKE BLVD                                                                           LAKE ORION          MI   48362‐1661
REDDELL, JOYCE              11802 E 47TH TER                                                                               KANSAS CITY         MO   64133‐2488
REDDELL, JOYCE              11802 EAST 47TH TERRACE                                                                        KANSAS CITY         MO   64133‐2488
REDDELL, LARRY W            PO BOX 183                                                                                     MICHIE              TN   38357
REDDELL, PATRICIA           102 NW AMANDA CT                                                                               GRAIN VALLEY        MO   64029‐9356
REDDELL, PATRICIA           102 AMANDA CT                                                                                  GRAIN VALLEY        MO   64029‐9356
REDDELL, ROY L              RR 1 BOX 342                                                                                   ADRIAN              MO   64720‐9725
REDDELL, TITUS A            508 DOLINGER CT                                                                                TRIMBLE             MO   64492‐8835
REDDEMAN, CHARLES R         7030 CROSSWINDS DR                                                                             SWARTZ CREEK        MI   48473‐9778
REDDEMAN, CHARLES RAYMOND   7030 CROSSWINDS DR                                                                             SWARTZ CREEK        MI   48473‐9778
REDDEMAN, JERRY A           98 E COLUMBIA AVE                                                                              PONTIAC             MI   48340‐2712
REDDEMAN, JOYCE I           98 E COLUMBIA AVE                                                                              PONTIAC             MI   48340‐2712
REDDEN BEVERLY              1445 128TH ST                                                                                  LEMONT              IL   60439‐8429
REDDEN DONALD M (402196)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510
                                                               STREET, SUITE 600
REDDEN GORDON J (429668)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                               STREET, SUITE 600
REDDEN JAMES (447189)       KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                               BOND COURT BUILDING
REDDEN JR, WILLIE           11350 BROADSTREET AVE                                                                          DETROIT             MI   48204‐1647
REDDEN PATRICIA             MAYVERS, MAYA                      215 CASA PL                                                 PANAMA CITY BEACH   FL   32413
REDDEN PATRICIA             REDDEN, PATRICIA                   215 CASA PL                                                 PANAMA CITY BEACH   FL   32413
REDDEN SMITH                5679 MONROE ST                     BUILDING 3, CONDO 803                                       SYLVANIA            OH   43560‐2780
REDDEN, ANDREW              3771 SENTINEL HEIGHTS RD                                                                       LA FAYETTE          NY   13084‐9780
REDDEN, BRIAN S             3462 ELLIOT RD                                                                                 HOLLY               MI   48442‐9449
REDDEN, CHARLES F           168 ALFONSO DR                                                                                 ROCHESTER           NY   14626‐2054
REDDEN, CORNELIUS W         718 E DELAVAN AVE                                                                              BUFFALO             NY   14215‐3046
REDDEN, DEAN H              823 S MARKET ST                                                                                HOOPESTON           IL   60942‐1849
REDDEN, DONALD D            1280 MCGOVERN DR                                                                               TROY                OH   45373‐1555
REDDEN, DONALD M            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510‐2212
                                                               STREET, SUITE 600
REDDEN, DOROTHY M           7419 PRAIRIE LAKE DRIVE                                                                        INDIANAPOLIS        IN   46256‐1957
REDDEN, ELSIE R             19335 SAINT MARYS ST                                                                           DETROIT             MI   48235‐2324
REDDEN, GENEVA              184 GOLDENROD LN                                                                               WARNERS             NY   13164
REDDEN, GORDON J            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA   23510‐2212
                                                               STREET, SUITE 600
REDDEN, HAROLD T            PO BOX 18687                                                                                   FAIRFIELD           OH 45018‐0687
                                  09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                              Address1                          Address2                       Address3   Address4         City                State Zip
REDDEN, HELEN M                   1338 NORFOLK AVE                                                                             WESTCHESTER           IL 60154‐3734
REDDEN, HOWARD W                  369 W BROADWAY ST                                                                            PLYMOUTH             OH 44865‐1085
REDDEN, JAMES                     KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND            OH 44114
                                                                    BOND COURT BUILDING
REDDEN, JAMES E                   3440 S WATER MILL RD                                                                         MONTGOMERY          AL    36116‐1909
REDDEN, JAMES N                   8442 SW RIVIERA DR                                                                           ARCADIA             FL    34269‐6856
REDDEN, JAMES V                   544 GREENLEAF MDWS                                                                           ROCHESTER           NY    14612
REDDEN, JAMES W                   16 SUMMERVILLE DR                                                                            ROCHESTER           NY    14617‐1131
REDDEN, JIMMIE                    55 TWIN OAK DR                                                                               ROCHESTER           NY    14606‐4405
REDDEN, JIMMIE                    55 TWIN OAKS                                                                                 ROCHESTER           NY    14606‐4405
REDDEN, JOE W                     703 VERONA RD                                                                                DAYTON              OH    45417‐1234
REDDEN, KEITH E                   29463 TURBAK DR                                                                              PUNTA GORDA         FL    33982‐8241
REDDEN, LEWIS                     10066 W OUTER DR                                                                             DETROIT             MI    48223‐2237
REDDEN, LULA M                    8442 SW RIVIERA DR                                                                           ARCADIA             FL    34269‐6856
REDDEN, MARISSA                   4505 ROSLYN DR                                                                               WILMINGTON          DE    19804‐4016
REDDEN, MARK C                    2776 RIDGE RD                                                                                RANSOMVILLE         NY    14131‐9734
REDDEN, MARK CHARLES              2776 RIDGE RD                                                                                RANSOMVILLE         NY    14131‐9734
REDDEN, MATTHEW A                 520 MOHAWK ST                                                                                LEWISTON            NY    14092‐1330
REDDEN, PATRICIA                  215 CASA PL                                                                                  PANAMA CITY BEACH   FL    32413‐3849
REDDEN, SARAH LYNN                PO BOX 135                                                                                   VERONA              KY    41092‐0135
REDDEN, SCOTT A                   400 STILL MOON CRES APT 7                                                                    ROCHESTER           NY    14624
REDDEN, SHIRLEY H                 PO BOX 158                                                                                   STAR                MS    39167‐0158
REDDEN, STEVEN W                  401 HOPE DR                                                                                  MIDDLETOWN          DE    19709‐9205
REDDEN, THERMOND N                43 LEA RD                                                                                    NEW CASTLE          DE    19720‐1955
REDDEN, THOMAS R                  3568 KIRCHLING RD                                                                            HAMILTON            OH    45013‐8505
REDDEN, VERNON R                  6133 SEAGULL LN                                                                              LAKELAND            FL    33809‐5686
REDDEN, WALTER                    12036 218TH ST                                                                               CAMBRIA HEIGHTS     NY    11411‐1913
REDDER, ALMA                      1001 E ALEX BELL RD               C/O HEARTLAND OF CENTERVILLE                               CENTERVILLE         OH    45459‐2637
REDDER, BRIAN K                   2845 OTSEGO RD                                                                               WATERFORD           MI    48328‐3245
REDDER, HOWARD J                  974 E RAHN RD                                                                                DAYTON              OH    45429
REDDER, LOREN R                   6964 BLISS CT SW                                                                             GRANDVILLE          MI    49418‐2104
REDDER, MICHAEL W                 7294 GREENTREE DR                                                                            JENISON             MI    49428‐8711
REDDERS, HENRY F                  7024 HOSLER RD                                                                               LEO                 IN    46765‐9547
REDDERSEN, DAVID A                PO BOX 356                                                                                   CORTLAND            OH    44410
REDDERSEN, KATHERINE M            9182 BRIARBROOK DR NE                                                                        WARREN              OH    44484‐1746
REDDI SERVICES INC                C/O NATIONWIDE MUTUAL INSURANCE   PO BOX 2655                                                HARRISBURG          PA    17105‐2655
                                  COMPANY
REDDI SERVICES INC                4011 BONNER INDUSTRIAL DR                                                                    SHAWNEE             KS    66226‐2104
REDDI‐RIDE TRANSPORATATION INC.   23077 GREENFIELD RD STE 146                                                                  SOUTHFIELD          MI    48075‐3744
REDDIC, FRANK R                   5574 NORRIS ST                                                                               FORT WORTH          TX    76119‐1747
REDDIC, JIMMY L                   5502 BALDWIN BLVD                                                                            FLINT               MI    48505‐5116
REDDIC, WINIFRED                  14010 WASHBURN ST                                                                            DETROIT             MI    48238‐2359
REDDICK CHRISTOPHER               EUBANKS, TERRI                    POST OFFICE DRAWER 2909 101                                LONGVIEW            TX    75606
                                                                    EAST WHALEY STREET
REDDICK CHRISTOPHER               REDDICK, CHRISTOPHER              POST OFFICE DRAWER 2909 101                                LONGVIEW             TX   75606
                                                                    EAST WHALEY STREET
REDDICK CHRISTOPHER               REDDICK, DAVID                    POST OFFICE DRAWER 2909 101                                LONGVIEW             TX   75606
                                                                    EAST WHALEY STREET
REDDICK MICHAEL                   2811 BOUNDARY ST                                                                             BEAUFORT            SC    29906‐7339
REDDICK SHALTREECE                1541 WENONAH DR                                                                              OKEMOS              MI    48864‐4066
REDDICK, A G                      PO BOX 546                                                                                   EASTSOUND           WA    98245‐0546
REDDICK, ALMA                     C/O BRYANT RUDOLPH                3510 W SURRY LN                                            ALBANY              GA    31707
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Name                            Address1                           Address2                         Address3                    Address4         City               State Zip
REDDICK, BOBBIE E               PO BOX 202                                                                                                       CARTHAGE            IN 46115‐0202
REDDICK, BURIA B                4636 JEFFERSON LN                                                                                                SOUTH EUCLID        OH 44143
REDDICK, CARLA M                1351 SHEPHERDSTOWN RD                                                                                            MARTINSBURG         WV 25404‐0732
REDDICK, CARROLL L              10021 N 725 W                                                                                                    CARTHAGE            IN 46115‐9403
REDDICK, CHARLES A              5205 ROCKFORD DR                                                                                                 EVANSVILLE          IN 47720‐7004
REDDICK, CHRISTOPHER            SLOAN BAGLEY HATCHER & PERRY LAW   POST OFFICE DRAWER 2909 101                                                   LONGVIEW            TX 75606
                                FIRM                               EAST WHALEY STREET
REDDICK, CHRISTOPHER
REDDICK, DARRYL M               827 EDGEWOOD AVE                                                                                                 TRENTON             NJ   08618‐5301
REDDICK, DAVID                  SLOAN BAGLEY HATCHER & PERRY LAW   POST OFFICE DRAWER 2909 101                                                   LONGVIEW            TX   75606
                                FIRM                               EAST WHALEY STREET
REDDICK, DONALD G               1272 CHERRY ST                                                                                                   NOBLESVILLE        IN    46060‐2903
REDDICK, ELMO E                 850 N PINE AVE                                                                                                   MIDWEST CITY       OK    73130‐2918
REDDICK, HENRIETTA B            827 EDGEWOOD AVE                                                                                                 TRENTON            NJ    08618‐5301
REDDICK, HOPE                   4431 TIEDEMAN ROAD                                                                                               BROOKLYN           OH    44144
REDDICK, JANICE D               2107 WINDING WAY                                                                                                 ANDERSON           IN    46011
REDDICK, JOHN A                 108 MELONE VLG                                                                                                   AUBURN             NY    13021‐4659
REDDICK, JOHN D                 465 SW COLLEGE PARK RD                                                                                           PORT SAINT LUCIE   FL    34953‐6224
REDDICK, KENNETH R              12141 FLEETWOOD PL                                                                                               MARYLAND HTS       MO    63043‐1117
REDDICK, MAURICE                3378 E 137TH ST                                                                                                  CLEVELAND          OH    44120‐3902
REDDICK, MICHAEL J              57 SUNSET LN                                                                                                     WILLIFORD          AR    72482‐7106
REDDICK, ROBERT F               190 TOTTY DR                                                                                                     HOHENWALD          TN    38462‐2312
REDDICK, ROGER C                3984 18TH ST                                                                                                     ECORSE             MI    48229‐1312
REDDICK, THOMAS E               7506 BAYHILL DR                                                                                                  ROWLETT            TX    75088‐5465
REDDICK, VERNA J                2106 SE 8TH ST                                                                                                   CAPE CORAL         FL    33990‐2777
REDDIN, ASHLEY ERIN             2129 LEGOMA DR                                                                                                   FORT WAYNE         IN    46819‐2017
REDDIN, ELIZABETH A             3899 KINGS POINT DR                                                                                              TROY               MI    48083‐5320
REDDIN, GEORGE R                3019 E 6TH ST                                                                                                    ANDERSON           IN    46012‐3823
REDDIN, KENNETH R               4501 NE 21ST AVE APT 405                                                                                         FORT LAUDERDALE    FL    33308‐4743
REDDIN, LYLE E                  1090 E STATE RD                                                                                                  LANSING            MI    48906‐1984
REDDIN, MYRON D                 15815 WHITTEMORE DR                                                                                              EAST LANSING       MI    48823‐9414
REDDIN, NEVA E                  1306 SOUTH STATE ROAD                                                                                            ITHACA             MI    48847‐9501
REDDIN, NEVA E                  1306 S STATE RD                                                                                                  ITHICA             MI    48847‐9501
REDDIN, SHANE A                 2129 LEGOMA DR                                                                                                   FORT WAYNE         IN    46819‐2017
REDDIN, SHANE A.                2129 LEGOMA DR                                                                                                   FORT WAYNE         IN    46819‐2017
REDDING DARRYLE                 REDDING, DARRYLE                   270 MOORE ROAD                                                                REDBANKS           MS    38661
REDDING GEORGE BOMAN (497942)   BARON & BUDD                       PLAZA SOUTH TWO ‐ SUITE 200 ‐                                                 CLEVELAND          OH    44130
                                                                   7261 ENGLE ROAD
REDDING GEORGE BOMAN (497942)   TOMBLIN CARNES AND MCCORMACK       210 BARTON SPRINGS RD STE 550                                                 AUSTIN             TX    78704‐1251
REDDING HIGHWAY                                                    28 GREAT OAK LN                                                                                  CT    06896
REDDING II, JAMES P             1828 HANFORD RD                                                                                                  ROSEDALE           MD    21237‐1744
REDDING JR, CARROLL M           1735 SAMS CREEK RD                                                                                               WESTMINSTER        MD    21157‐7942
REDDING JR, JOHN A              254 ROUND TOP RD                                                                                                 CHESTERTOWN        MD    21620‐2880
REDDING LATHAM T                REDDING, LATHAM T
REDDING LATHAM T                3520 KENSINGTON AVE                                                                                              DETROIT            MI 48224‐2712
REDDING SCOTT &                 ALEX SIMANOVSKY & ASSOCIATES       2300 HENDERSON MILL RD NE STE                                                 ATLANTA            GA 30345‐2704
                                                                   300
REDDING THOMAS                  REDDING, CATRINA                   KROHN & MOSS ‐ IL                120 WEST MADISON STREET ,                    CHICAGO             IL   60602
                                                                                                    10TH FLOOR
REDDING THOMAS                  REDDING, THOMAS                    120 WEST MADISON STREET , 10TH                                                CHICAGO             IL   60602
                                                                   FLOOR
REDDING, ANDRE' L               9253 BUNCOMB RD                                                                                                  BETHANY             LA   71007‐9537
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Name                       Address1                          Address2                        Address3   Address4         City                   State Zip
REDDING, ARLANE V          12642 HAZELTON ST                                                                             DETROIT                 MI 48223‐3039
REDDING, BRENDA            3520 KENSINGTON AVE                                                                           DETROIT                 MI 48224‐2712
REDDING, CARRIE R          9648 W LANTERN LN                                                                             PENDLETON               IN 46064‐9469
REDDING, CLARENCE W        27 CHALKLEY RD                                                                                TEMPLE                  GA 30179‐4923
REDDING, DARRYLE           270 MOORE ROAD                                                                                REDBANKS                MS 38661
REDDING, DAVID E           913 SW RAINTREE DR                                                                            LEES SUMMIT             MO 64082‐4601
REDDING, DEAN F            900 SW 31ST ST                    BREWSTER EAST                                               TOPEKA                  KS 66611
REDDING, DEAN F            APT 239                           900 SOUTHWEST 31ST STREET                                   TOPEKA                  KS 66611‐2195
REDDING, DON R             493 NORTH UNION STREET                                                                        RUSSIAVILLE             IN 46979‐9777
REDDING, DON R             493 N UNION ST                                                                                RUSSIANVILLE            IN 46979‐9777
REDDING, DORIS M           10679 WISNER AVE.                 R.R. #2                                                     GRANT                   MI 49327‐9086
REDDING, EDWARD J          1407 SKIPPER DR APT 203                                                                       WATERFORD               MI 48327‐2490
REDDING, ERMA              1218 N FRY ST                                                                                 LEAD HILL               AR 72644‐9544
REDDING, FAREL I           2417 HIGHLAND RD                                                                              ANDERSON                IN 46012‐1923
REDDING, FREDDIE Y         PO BOX 256                                                                                    WEBB                    AL 36376
REDDING, GEORGE BOMAN      BARON & BUDD                      PLAZA SOUTH TWO ‐ SUITE 200 ‐                               CLEVELAND               OH 44130
                                                             7261 ENGLE ROAD
REDDING, GEORGE BOMAN      TOMBLIN CARNES AND MCCORMACK      210 BARTON SPRINGS RD STE 550                               AUSTIN                 TX   78704‐1251
REDDING, HARRY L           4011 STOCKBRIDGE DR.                                                                          CHARLESTON             SC   29414‐7538
REDDING, JAMES E           PO BOX 3123                                                                                   ANDERSON               IN   46018‐3123
REDDING, JAMES EMORY       PO BOX 3123                                                                                   ANDERSON               IN   46018‐3123
REDDING, JAMES M           3589 TRUMAN ST                                                                                CONKLIN                MI   49403‐8739
REDDING, JAMES W           300 CARO LN                                                                                   GAHANNA                OH   43230‐3215
REDDING, JANIE M           4235 RIDGETOP DR                                                                              ELLENWOOD              GA   30294‐1910
REDDING, JIMMY L           PO BOX 640                                                                                    BOGATA                 TX   75417‐0640
REDDING, JIMMY R           6513 VICTORIA AVE                                                                             NORTH RICHLAND HILLS   TX   76180‐8047
REDDING, JOHN G            2929 PENN VALLEY AVE                                                                          BRISTOL                PA   19007‐2447
REDDING, JOHN W            7483 METTETAL ST                                                                              DETROIT                MI   48228‐3647
REDDING, LATHAM T          3520 KENSINGTON AVE                                                                           DETROIT                MI   48224‐2712
REDDING, LATHAM T          GREEN GREEN ADAMS & KENT, PC      900 VICTORS WAY STE 370                                     ANN ARBOR              MI   48108‐5222
REDDING, MARY B            3329 TWINFLOWER RD                                                                            ALBANY                 GA   31701‐7511
REDDING, MARY E            1438 UPLAND DR                                                                                GRIFFIN                GA   30223‐1241
REDDING, PAUL S            1112 MALIBU DRIVE                                                                             ANDERSON               IN   46016‐2772
REDDING, PEARLIE           15399 OHIO ST                                                                                 DETROIT                MI   48238‐1714
REDDING, RANDALL W         2427 COUNTRY LAKE LN                                                                          POWDER SPGS            GA   30127‐1582
REDDING, RANDALL W.        2427 COUNTRY LAKE LN                                                                          POWDER SPGS            GA   30127‐1582
REDDING, RANDY F           9075 HUME LEVER RD                                                                            LONDON                 OH   43140‐8854
REDDING, RAYMOND L         19160 MONTE VISTA ST                                                                          DETROIT                MI   48221‐3204
REDDING, RICHARD W         505 E HURON ST APT 804                                                                        ANN ARBOR              MI   48104
REDDING, ROBERT L          1112 MALIBU DR                                                                                ANDERSON               IN   46016‐2772
REDDING, SAMUEL            PO BOX 571                                                                                    FORSYTH                GA   31029‐0571
REDDING, VIVIAN D          14435 LONGACRE ST                                                                             DETROIT                MI   48227‐4704
REDDING, WAYNE E           2904 W 22ND ST                                                                                ANDERSON               IN   46011‐4033
REDDING, WILLIAM L         1438 UPLAND DR                                                                                GRIFFIN                GA   30223‐1241
REDDING, WILLIAM R         631 N PENDLETON AVE                                                                           PENDLETON              IN   46064‐8976
REDDING, WILLIE H          2611 SPRINGDALE RD SW APT 222                                                                 ATLANTA                GA   30315‐7121
REDDINGER, BRAD J          6001 HERONS CIR                                                                               YOUNGSTOWN             OH   44515‐5804
REDDINGER, JOHN D          524 JOAN AVE                                                                                  GIRARD                 OH   44420‐2302
REDDINGER, JOHN D          524 JOAN AVE.                                                                                 GIRARD                 OH   44420
REDDINGER, MARK A          7200 WINBERT DR                                                                               NORTH TONAWANDA        NY   14120‐1449
REDDINGTON JOHN (497943)   LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                HOUSTON                TX   77069
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Name                               Address1                        Address2                            Address3                  Address4         City            State Zip
REDDINGTON JOHN CATHERINE          ICO THE LANIER LAW FIRM PC      6810 FM 1960 WEST                                                              HOUSTON          TX 77069
REDDINGTON
REDDINGTON JOHN J JR (ESTATE OF)   THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                                           BOSTON          MA 02110‐2104
(655720)
REDDINGTON JR, HOWARD              7841 W COUNTY ROAD 575 N                                                                                       MIDDLETOWN      IN   47356‐9796
REDDINGTON LUCILLE K               106 WEST SPRING STREET                                                                                         AVON            MA   02322
REDDINGTON, JAMES A                8208 S 650 W                                                                                                   PENDLETON       IN   46064‐9799
REDDINGTON, JOHN B                 38 CONNECTICUT AVE                                                                                             PITTSFIELD      MA   01201‐3608
REDDINGTON, JOHN H                 15282 KAMPEN CIR                                                                                               CARMEL          IN   46033
REDDINGTON, JOHN J                 LANIER LAW FIRM                 6810 FM 1960 WEST SUITE 1550                                                   HOUSTON         TX   77069
REDDINGTON, JOHN J                 C/O THORNTON EARLY & NAUMES     100 SUMMER ST LBBY 3                                                           BOSTON          MA   02110‐2104
REDDINGTON, KATHRYN                7841 W COUNTY ROAD 575 N                                                                                       MIDDLETOWN      IN   47356‐9796
REDDINGTON, PATRICK J              326 35TH ST                                                                                                    MCKEESPORT      PA   15132‐7223
REDDINGTON, THOM E                 7690 W COUNTY ROAD 625 N                                                                                       MIDDLETOWN      IN   47356‐9725
REDDISH JMEE                       912 DEVONWOOD TRL NW                                                                                           MARIETTA        GA   30064
REDDISH, KENNETH E                 2304 QUAIL RIDGE DR                                                                                            JANESVILLE      WI   53546‐3146
REDDISH, LORETTA LEE               181 STERLING DR                                                                                                LAPEER          MI   48446‐2830
REDDISH, MARIE E                   3868 CRESTHAVEN DR                                                                                             WATERFORD       MI   48328‐4016
REDDISH, OLIVE                     205 SIESTA DR APT E                                                                                            TIFFIN          OH   44883
REDDISH, PAULETTE M                2304 QUAIL RIDGE DR                                                                                            JANESVILLE      WI   53546‐3146
REDDITT, BERTHA L                  602 E PASADENA                                                                                                 FLINT           MI   48505‐4275
REDDITT, CHARLES E                 26 COUNTRYWOOD DR                                                                                              SAINT PETERS    MO   63376‐1217
REDDITT, MARTHA A                  20 DUNVALE RD APT 105                                                                                          TOWSON          MD   21204‐2502
REDDITT, MARTHA A                  20 DUNVALE APT 105                                                                                             TOWSON          MD   21204‐2502
REDDITT, ROBERT T                  835 MARAVAL CT                                                                                                 LONGWOOD        FL   32750‐3302
REDDUS, CHARLES L                  PO BOX M432                                                                                                    GARY            IN   46401
REDDY                              1 ELIZABETH PLACE #230                                                                                         DAYTON          OH   45408
REDDY & LESSENBERRY                PO BOX 643410                                                                                                  CINCINNATI      OH   45264‐3410
REDDY ICE CORP                     4626 S 40TH ST                                                                                                 PHOENIX         AZ   85040‐2918
REDDY ICE CORPORATION              LEE HATCH                       8750 N. CENTRAL EXPRESSWAY                                                     DALLAS          TX   75231
REDDY JOHN (496666)                WILENTZ GOLDMAN & SPITZER       88 PINE STREET , WALL STREET                                                   NEW YORK        NY   10005
                                                                   PLAZA
REDDY, ANNA M                      1113 BENNINGTON DR                                                                                             ROCHESTER       NY   14616‐3320
REDDY, BERNARD J                   228 POLLARD DR                                                                                                 ALPENA          MI   49707‐9743
REDDY, DANIEL S                    4259 HWY 54                                                                                                    BLK RIVER FLS   WI   54615
REDDY, DONALD R                    11070 SEYMOUR RD                                                                                               MONTROSE        MI   48457‐9065
REDDY, DOROTHY M                   1834 W RUSSELL RD                                                                                              JANESVILLE      WI   53545‐9673
REDDY, DOROTHY M                   1834 WEST RUSSELL ROAD                                                                                         JANESVILLE      WI   53545‐9673
REDDY, FRANK A                     11641 MOORISH RD                                                                                               BIRCH RUN       MI   48415‐8518
REDDY, JAMES R                     6416 BIRCH RUN RD                                                                                              MILLINGTON      MI   48746‐9725
REDDY, JOHN                        WILENTZ GOLDMAN & SPITZER       88 PINE STREET, WALL STREET PLAZA                                              NEW YORK        NY   10005

REDDY, JOHN J                      ATTN LYNNE KIZIS ESQ            WILENTZ GOLDMAN AND SPITZER         90 WOODBRIDGE CENTER DR                    WOODBRIDGE      NJ   07095

REDDY, JUDITH I                    6434 W 14TH ST                                                                                                 INDIANAPOLIS    IN   46214‐3511
REDDY, MARIA C                     1606 S LAKESTONE DR                                                                                            OLATHE          KS   66061‐5137
REDDY, NORMA J                     2472 E COUNTY ROAD 350 S                                                                                       LOGANSPORT      IN   46947‐8191
REDDY, NORMA J                     2472 E CO RD 350 S                                                                                             LOGANSPORT      IN   46947‐8191
REDDY, PATRICK J                   409 EASTLAND DR                                                                                                LINCOLN         AL   35096‐4045
REDDY, RAJ                         128 ADA AVE APT 3                                                                                              MOUNTAIN VIEW   CA   94043‐4915
REDDY, ROBERT F                    7604 RANCHO DE LA OSA TRL                                                                                      MCKINNEY        TX   75070‐6860
REDDY, ROBERT P                    4706 KENWOOD DR                                                                                                ANDERSON        IN   46013‐4762
                               09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                           Address1                           Address2                    Address3             Address4             City               State Zip
REDDY, RUSSELL L               3202 WYOMING AVE                                                                                         FLINT               MI 48506‐2517
REDDY, RUSSELL LEE             3202 WYOMING AVE                                                                                         FLINT               MI 48506‐2517
REDDY, SAM R                   4620 WENDRICK DR                                                                                         WEST BLOOMFIELD     MI 48323‐3648
REDDY, SHAMA M                 1843 WYNGATE DR                                                                                          TROY                MI 48098‐6546
REDDY, SREEKANTH C             1607 BROOKLINE ST                                                                                        CANTON              MI 48187‐3159
REDDY, YERAPU P                44935 REVERE DR                                                                                          NOVI                MI 48377‐2547
REDEEMAR, HARRY J              1413 BAGLEY ST                                                                                           SAGINAW             MI 48601‐3023
REDEEMER JR, G                 P.O. 1972                                                                                                SAGINAW             MI 48605
REDEEMER, AUDREY D             2224 JANES AVE                                                                                           SAGINAW             MI 48601‐1860
REDEEMER, BETTINA ELAINE       1905 RIBBLE ST                                                                                           SAGINAW             MI 48601‐6859
REDEEMER, LATOYA               1537 HOLMES ST                                                                                           SAGINAW             MI 48502‐1264
REDEEMER, LATOYA               1807 E REMINGTON ST                                                                                      SAGINAW             MI 48601‐3011
REDEEMER, LESTER R             3250 S AUBURN DR                                                                                         SAGINAW             MI 48601‐4504
REDEEMER, MARGARET             P O BOX 794                                                                                              SAGINAW             MI 48606
REDEEMER, MELISSA              11203 BIG RIVER DR                                                                                       LAKE ST LOUIS       MO 63367‐1979
REDEEMER, NICOLE S             2130 RIDGE CREST DR                                                                                      KELLER              TX 76248‐5613
REDEEMER, NICOLE SUE           2130 RIDGE CREST DR                                                                                      KELLER              TX 76248‐5613
REDEEMER, PARA LEE             2981 DELORES ST                                                                                          SAGINAW             MI 48601‐6132
REDEEMER, PARA LEE             2981 DELORES                                                                                             SAGINAW             MI 48601‐6132
REDEEMER, RICHARD D            2130 RIDGE CREST DR                                                                                      KELLER              TX 76248‐5613
REDEEMER, RICHARD DANIELLE     2130 RIDGE CREST DR                                                                                      KELLER              TX 76248‐5613
REDEEMER, TEESHA R             5675 CHAPEL DR S                                                                                         SAGINAW             MI 48603‐2879
REDEKER SCHON DAHS & SELLNER   BURO BONN MOZARTSTRABE 4 10        53115 BONN POSTFACH 1364                         BONN GERMANY 53003
                                                                                                                   GERMANY
REDEL, JOSHUA                  C/O BRISTOL WEST INSURANCE GROUP   ATTN: SANORA LYNCH          9505 DELEGATES ROW                        INDIANAPOLIS       IN   46240‐3807
REDELIA MCLAURINE              42282 PARKSIDE CIR APT 105                                                                               STERLING HEIGHTS   MI   48314‐3435
REDELL DUBOSE                  1851 WESTWOOD AVE SW                                                                                     ATLANTA            GA   30310‐2227
REDELL WILLOUGHBY              249 MAPLE RUN                                                                                            MASON              MI   48854‐2527
REDELMAN, JAMES A              220 PATRIOTS LNDG                                                                                        FILLMORE           IN   46128‐9477
REDELSHEIMER SIGMUND           646 SPYGLASS SUMMIT DRIVE                                                                                CHESTERFIELD       MO   63017‐2141
REDEMAGNI FRANCESCO            LA SCALA                           STUDIO LEGALE E TRIBUTANO   CORSO MAGENTA N 42   20123 MILANO ITALY
REDEMPTIVE MEDICAL E           28705 UTICA RD                                                                                           ROSEVILLE          MI   48066‐2544
REDEMSKE, PAUL A               10877 ARCARO LN                                                                                          UNION              KY   41091‐9203
REDEMSKY, ROGER A              505 TOWNSEND ST APT 204                                                                                  LANSING            MI   48933‐2325
REDEMSKY, STEVEN J             10150 FROST RD                                                                                           PORTLAND           MI   48875‐8451
REDENBACH, MARK A              161 BRENTWOOD DR                                                                                         N TONAWANDA        NY   14120‐4820
REDENBARGER, MARILYN M         1229 BRITTANY CIR                                                                                        BROWNSBURG         IN   46112‐8333
REDENBARGER, TED H             1229 BRITTANY CIR                                                                                        BROWNSBURG         IN   46112‐8333
REDENBAUGH, BETTYE P           3249 S 380 E                                                                                             ANDERSON           IN   46017‐9712
REDENBAUGH, JOSEPH E           3249 S 380 E                                                                                             ANDERSON           IN   46017‐9712
REDENBAUGH, RHONDA J           12303 W 52ND TER                                                                                         SHAWNEE            KS   66216‐1451
REDENIUS, DIANNE L             608 S FRANKLIN ST                                                                                        WHITEWATER         WI   53190‐2203
REDENIUS, ROBERT B             31618 JEFFERSON ST                                                                                       GOBLES             MI   49055‐9659
REDENIUS, ROBERT C             4240 N RIVER RD                                                                                          JANESVILLE         WI   53545‐8920
REDENIUS, ROY C.               2009 CRESTVIEW ST                                                                                        JANESVILLE         WI   53546‐5742
REDER, BERNARD C               115 S GARFIELD RD                                                                                        LINWOOD            MI   48634‐9812
REDER, EDMUND B                200 N HURON RD                                                                                           LINWOOD            MI   48634‐9409
REDER, LEONARD A               973 9 MILE RD                                                                                            KAWKAWLIN          MI   48631‐9716
REDER, MARIAN J                77 EAST MIDLAND ROAD                                                                                     AUBURN             MI   48611‐9779
REDER, MARIAN J                4773 8 MILE RD                                                                                           AUBURN             MI   48611‐9750
REDER, MARY                    86 COMMONWEALTH BLVD                                                                                     NEW CASTLE         DE   19720‐3418
REDER, PAUL E                  4675 MACKINAW RD                                                                                         BAY CITY           MI   48706‐9431
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Name                               Address1                        Address2                      Address3           Address4                City              State Zip
REDERFORD, JUDITH A                2403 WARNER AVE                                                                                          OAKLAND            CA 94603‐2833
REDERSTORF, EILEEN J               5229 OAKWOOD ROAD                                                                                        ORTONVILLE         MI 48462‐9493
REDERSTORF, VERNON                 5229 OAKWOOD ROAD                                                                                        ORTONVILLE         MI 48462‐9493
REDES, MARIE L                     4284 MILLWOOD RD                                                                                         SPRING HILL        FL 34608‐3635
REDEVCO RWP (AUSTRIA) BETA         RA FRANZ BRAUN                  GLLB RECHTSANWAELTE           LIEBIGSTRASSE 21   80538 MUENCHEN
                                                                                                                    GERMANY
REDEVCO RWP (AUSTRIA) BETA         MARIAHILFERSTRA▀E 77‐79         A‐1060 VIENNA
LIEGENSCHAFTS
REDFEAIRN ROBERT E (429669)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA 23510
                                                                   STREET, SUITE 600
REDFEAIRN, ROBERT E                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
REDFEARN, MARCE D                  10877 REDFEARN RD                                                                                        AUBREY            TX 76227‐5985
REDFEARN, ROBERT A                 1410 E RIVER RD                                                                                          GRAND ISLAND      NY 14072‐2332
REDFERN AUTOMOTIVE PRODUCTS INC    100 BRIDGELAND AVE                                                               NORTH YORK CANADA ON
                                                                                                                    M6A 1Z4 CANADA
REDFERN AUTOMOTIVE PRODUCTS LTD.   100 BRIDGELAND AVE                                                               NORTH YORK ON M6A 1Z4
                                                                                                                    CANADA
REDFERN DOUGLAS S (456087)         WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                          NEW YORK          NY   10038
REDFERN INCORPORATED               GEORGE REDFERN                  60 IVY ST                                                                CLARK             NJ   07066‐3216
REDFERN RON                        2931 DANBURY AVE                                                                                         HIGHLANDS RANCH   CO   80126‐8023
REDFERN, ALAUNA                    904 GRANT AVE                                                                                            CUYAHOGA FALLS    OH   44221‐4610
REDFERN, DOUGLAS                   WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                          NEW YORK          NY   10038
REDFERN, HAROLD C                  137 RUTLEDGE RD                                                                                          GREENWOOD         SC   29649‐8801
REDFERN, RONALD S                  2931 DANBURY AVENUE                                                                                      LITTLETON         CO   80126‐8023
REDFERN, VIRGINIA                  1201 COLLINGS AVE                                                                                        HADDON TOWNSHIP   NJ   08107‐1813
REDFIELD CARLA                     322 RUSSELL BLVD                                                                                         NACOGDOCHES       TX   75965‐1240
REDFIELD, CLIFFORD D               3453 PALMS RD                                                                                            CASCO             MI   48064‐1517
REDFIELD, DELBERT L                4235 HYDON RD                                                                                            OLIVET            MI   49076‐9665
REDFIELD, GWEN P                   182 CALDECOTT LANE, APT 112                                                                              OAKLAND           CA   94618
REDFIELD, JERRY L                  8384 MASON RD                                                                                            FOWLERVILLE       MI   48836‐9249
REDFIELD, JOHN L                   7531 BAYVIEW CLUB DR APT 2C                                                                              INDIANAPOLIS      IN   46250‐2380
REDFIELD, MERLE C                  250 PROSPECTOR WAY                                                                                       BALL GROUND       GA   30107‐4386
REDFIELD, NORMA A                  C/O RNONDA WALKER               134 HONEY TREE ROAD                                                      COLUMBIA          SC   29209‐3468
REDFIELD, RUBY C                   2839 BRENTWOOD DR                                                                                        ANDERSON          IN   46011‐4044
REDFISH RENTAL OF HOUMA, INC.                                      5306 HIGHWAY 311                                                                           LA   70360
REDFISH RENTALS OF FOURCHON                                        696 A O RAPPELET RD                                                                        LA   70357
REDFISH RENTALS OF MORGAN CITY                                     8027 HIGHWAY 182 E                                                                         LA   70380
REDFOOT, SHIRLEY L                 1439 SKYLINE DR                                                                                          HERMITAGE         PA   16148‐6741
REDFOOT, VICTOR L                  415 ROCKDALE AVE                                                                                         BOARDMAN          OH   44512
REDFOOT, VIRGINIA S                PO BOX 43A                                                                                               COCHRANTON        PA   16314‐1043
REDFORD AUTO SERVICE CENTER        26005 PLYMOUTH RD                                                                                        REDFORD           MI   48239‐2105
REDFORD CALVIN S (629608)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA   23510
                                                                   STREET, SUITE 600
REDFORD TOWNSHIP TREASURER         PO BOX 39401                                                                                             REDFORD           MI 48239‐0401
REDFORD, CALVIN S                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                              NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
REDFORD, JOHN F                    8832 MINERS ST                                                                                           LITTLETON         CO   80126‐5024
REDFORD, JOHN R                    1483 N COUNTY ROAD 600 E                                                                                 AVON              IN   46123‐9061
REDFORD, LENORE M                  6200 ASHFIELD PL                                                                                         WESLEY CHAPEL     FL   33545‐4362
REDFORD‐CARVER FOUNDRY PRODUCTS    9995 SW AVERY ST                                                                                         TUALATIN          OR   97062‐8545
COMPANY
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Name                           Address1                       Address2                      Address3     Address4         City                 State Zip
REDHAT, EVA                    1313 E PARK                                                                                ENID                  OK 73701
REDHAT, EVA                    1313 E PARK ST                                                                             ENID                  OK 73701‐6243
REDHAWK, ROBERT A              2104 NW 26TH ST                                                                            OKLAHOMA CITY         OK 73107‐2508
REDI‐SERVICES LLC              JAY ANDERSON                   PO BOX 310                                                  LYMAN                 WY 82937‐0310
REDIC JR, JAMES                1333 BROOKE PARK DR APT 1                                                                  TOLEDO                OH 43612‐4146
REDIC, CEDRIC D                3933 BOGGS AVENUE                                                                          DAYTON                OH 45416‐2207
REDIC, CLAUDIE L               1449 OAK VISTA DR                                                                          DALLAS                TX 75232‐1920
REDIC, EDWARD R                3720 FARROW AVE                                                                            KANSAS CITY           KS 66104
REDIC, HARRY W                 8110 S EDWARDS AVE             PO BOX 7                                                    DALEVILLE             IN 47334‐9653
REDIC, JEAN Y                  701 GRAY OAK DR                                                                            TROTWOOD              OH 45426‐2548
REDIC, JIMMIE L                4318 DROWFIELD DR                                                                          TROTWOOD              OH 45426‐1918
REDIC, ROBERT K                544 SIPSEY PIKE                                                                            DOUBLE SPGS           AL 35553‐3132
REDIC, RONALD B                4705 SYLVAN DR                                                                             DAYTON                OH 45417‐1247
REDIC, RUBY L                  1237 DREXEL CT NE                                                                          GRAND RAPIDS          MI 49505‐5450
REDICK, BONNIE H               379 IMAGINATION DR                                                                         ANDERSON              IN 46013‐1096
REDICK, CHARLES R              5249 SCENIC DR                                                                             SAULT SAINTE MARIE    MI 49783‐9022
REDICK, DEANNA M               234 S BROADWAY ST                                                                          PENDLETON             IN 46064‐1246
REDICK, DUANE A                4041 NORTH BELSAY ROAD                                                                     FLINT                 MI 48506‐1631
REDICK, DUANE K                45131 WALNUT RIDGE CT                                                                      NORTHVILLE            MI 48168‐4430
REDICK, GENEVIEVE L            12203 BALDWIN CIR                                                                          HOLLY                 MI 48442‐9387
REDICK, JOHN S                 1873 BANTAS CREEK RD                                                                       EATON                 OH 45320‐9743
REDICK, KAREN A                516 SHREWSBURY DR                                                                          CLARKSTON             MI 48348‐3672
REDICK, KATIE J                1270 BURTON AVE                APT 2D                                                      HIGH POINT            NC 27262
REDICK, KATIE J                1270 BURTON AVE APT 2D                                                                     HIGH POINT            NC 27262‐7993
REDICK, LORENE                 516 SHREWSBURY DR                                                                          CLARKSTON             MI 48348
REDICK, LOWELL G               5249 SCENIC DR                                                                             SAULT S MARIE         MI 49783‐9022
REDICK, MARILYN H              917 GREYSTONE CT                                                                           ANDERSON              IN 46011‐9786
REDICK, MARY E                 4234 RED ARROW RD                                                                          FLINT                 MI 48507‐5443
REDICK, MORRIS R               300 LORBERTA LN                                                                            WATERFORD             MI 48328‐2529
REDICK, PATSY A                2661 PARKWAY PL                                                                            HARTLAND              MI 48353‐3231
REDICK, REGINA H               767 E 70TH TER                                                                             KANSAS CITY           MO 64131
REDICK, RICHARD L              2301 MARTINSBURG RD                                                                        BERKELEY SPGS         WV 25411‐5071
REDICK, ROBERT                 981 BEECHWOOD AVE              MILLERS MARY MANNER           PO BOX 160                    MIDDLETOWN            IN 47356‐9358
REDICK, ROGER W                2088 WIGGINS RD                                                                            FENTON                MI 48430‐9719
REDICK, ROY R                  10770 LOSTCREEK SHELBY RD                                                                  FLETCHER              OH 45326‐9714
REDICK‐PARKS, VASHTI REDICK‐   89 KENDALL RD                                                                              KENDALL               NJ 08824‐1252
REDIEHS TRANSIT LINE INC       PO BOX 5311                                                                                LAKE STATION          IN 46405‐0311
REDIFER, CHRISTINE A           3151 DELAWARE AVE                                                                          FLINT                 MI 48506‐3066
REDIFER, ERIC A                11402 DIVERS COVE CT                                                                       INDIANAPOLIS          IN 46236
REDIG MIKE                     PO BOX 116                                                                                 MINNESOTA LAKE        MN 56068‐0116
REDIGER CHEVROLET, INC.        424 1ST ST                                                                                 MILFORD               NE 68405‐9702
REDIGER CHEVROLET, INC.        TERRY REDIGER                  424 1ST ST                                                  MILFORD               NE 68405‐9702
REDIGER, HAZEL C               2537 N UNION RD                                                                            DAYTON                OH 45426‐3427
REDIGER, HAZEL C               2537 N UNION ROAD                                                                          DAYTON                OH 45426‐3427
REDIKER, FRANK J               35619 CANDLEWOOD DR                                                                        STERLING HTS          MI 48312‐4121
REDIN CORPORATION              2433 20TH ST                                                                               ROCKFORD               IL 61104‐7451
REDIN JIM                      2723 H RD                                                                                  GRAND JUNCTION        CO 81506‐1727
REDIN PARTS INC                2433 20TH ST                                                                               ROCKFORD               IL 61104‐7451
REDING JOHN H (429670)         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510
                                                              STREET, SUITE 600
REDING JR, DONALD W            PO BOX 254                                                                                 COURTLAND             AL   35618‐0254
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Name                       Address1                         Address2                         Address3   Address4             City             State Zip
REDING ROBERT J (429671)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510
                                                            STREET, SUITE 600
REDING, CONNIE W           4245 GUN BARN RD                                                                                  ANDERSON         IN   46011‐9091
REDING, EDWARD D           9048 CHESTERFIELD DR                                                                              SWARTZ CREEK     MI   48473‐1120
REDING, EDWARD DANIEL      9048 CHESTERFIELD DR                                                                              SWARTZ CREEK     MI   48473‐1120
REDING, GREGORY A          16134 COURT ST                                                                                    MOULTON          AL   35650‐4102
REDING, JERRY P            2313 NW CHATHAM PL                                                                                BLUE SPRINGS     MO   64015‐2906
REDING, JERRY W            C/O ALVA REDING                  RR 2                                                             SUMMITVILLE      IN   46070
REDING, JOHN H             3915 OGEMA AVE                                                                                    FLINT            MI   48507‐2759
REDING, JOHN H             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510‐2212
                                                            STREET, SUITE 600
REDING, JUDY F             5715 ENID ST                                                                                      FORT SMITH       AR   72903‐4733
REDING, KENNETH C          PO BOX 72                                                                                         COURTLAND        AL   35618‐0072
REDING, KIMBERLY S         610 CLEARVIEW ST SW                                                                               DECATUR          AL   35601‐6302
REDING, MICHAEL A          920 ROMINE RD                                                                                     ANDERSON         IN   46011‐8781
REDING, P K                200 HOWARD ST BOX 136                                                                             SUMMITVILLE      IN   46070
REDING, RAYMOND F          843 DEERFIELD RD                                                                                  ANDERSON         IN   46012‐9374
REDING, REGINA H           610 CLEARVIEW ST SW                                                                               DECATUR          AL   35601‐6302
REDING, RICHARD T          5560 COUNTY ROAD 327                                                                              TRINITY          AL   35673‐5012
REDING, ROBERT J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK          VA   23510‐2212
                                                            STREET, SUITE 600
REDING, WILLIAM            4245 GUN BARN RD                                                                                  ANDERSON         IN   46011‐9091
REDING, WILLIAM F          4245 GUN BARN RD                                                                                  ANDERSON         IN   46011‐9091
REDINGER DONALD            1861 BANNISTER ST                                                                                 YORK             PA   17404‐4916
REDINGER JR., EARL R       8850 TREVI LN                                                                                     HOLLY            MI   48442‐8125
REDINGER, DEBRA A.         169 MEADOWS CIR W                                                                                 WIXOM            MI   48393‐4045
REDINGER, RALPH J          6391 BREWER RD                                                                                    FLINT            MI   48507‐4603
REDINGTON, LAVERNE C       12227 WELLINGTON DR                                                                               MEDWAY           OH   45341‐9641
REDIS EUGEN                9072 CAMBRIDGE DR                                                                                 SALINE           MI   48176‐9437
REDIS, EUGENE              9072 CAMBRIDGE DR                                                                                 SALINE           MI   48176‐9437
REDITH D DAVIS             2820 S PARK RD                                                                                    KOKOMO           IN   46902
REDITH DAVIS               2820 S PARK RD                                                                                    KOKOMO           IN   46902‐3269
REDLAKE MASD INC           11633 SORRENTO VALLEY RD                                                                          SAN DIEGO        CA   92121
REDLAND AUTOMOTIVE         15531 FREDERICK RD                                                                                ROCKVILLE        MD   20855‐2110
REDLANDS COMMUNITY H       PO BOX 10518                                                                                      SAN BERNARDINO   CA   92423‐0518
REDLEIN, DESERA L          2133 COUNTY LINE RD                                                                               BARKER           NY   14012
REDLER GEORGE (358016)     ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                              NEW YORK         NY   10006‐1638
REDLER, GEORGE             ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                              NEW YORK         NY   10006‐1638
REDLEY MEDORA              2419 S ETHEL ST                                                                                   DETROIT          MI   48217‐1656
REDLEY, MEDORA             2419 S ETHEL ST                                                                                   DETROIT          MI   48217‐1656
REDLICH, DOROTHY L         40 BELLWOOD DR                                                                                    SWARTZ CREEK     MI   48473‐8283
REDLIN, EDWARD J           355 ALAFAYA WOODS BLVD           RM 7                                                             OVIEDO           FL   32765
REDLIN, KEITH W            4330 MAIN ST LOWER                                                                                BROWN CITY       MI   48416
REDLIN, RONALD H           1904 SUISSE LN                                                                                    GAYLORD          MI   49735‐9351
REDLINE AUTOMOTIVE         4736 SHEPPARD AVE E.                                                         SCARBOROUGH ON M1S
                                                                                                        3V6 CANADA
REDLINE AUTOMOTIVE         918 WAIAKAMILO RD                                                                                 HONOLULU         HI 96817‐4327
REDLINE ENTERTAINMENT      MR. GREG HILL                    39 MUSIC SQUARE EAST NASHVILLE                                   NASHVILLE        TN 37203

REDLINE PERFORMANCE        4531 EISENHOWER CIRCLE                                                                            ANAHEIM          CA 92807
REDLINGER, RUSSELL W       4512 E 800 N                                                                                      ALEXANDRIA       IN 46001‐8751
REDLINGER, WAYNE C         1012 RIVER PARK DR                                                                                WAUKESHA         WI 53189‐7879
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Name                         Address1                       Address2                     Address3                    Address4         City                State Zip
REDLINSKI                    4253 SENECA ST                                                                                           WEST SENECA          NY 14224‐3144
REDLINSKI, DUANE             5300 BROADWAY ST                                                                                         LANCASTER            NY 14086‐2026
REDLINSKI, EMILY J           1721 INGLESIDE DR                                                                                        FLOWER MOUND         TX 75028‐7315
REDLON & JOHNSON             FRMLY GAGE CO                  PO BOX 29                                                                 GROVE CITY           PA 16127‐0029
REDLON & JOHNSON             2701 BEALE AVE                 PO BOX 952                                                                ALTOONA              PA 16601‐1705
REDMAN JR., ERNEST H         316 S BROWN AVE                                                                                          TERRE HAUTE          IN 47803‐2217
REDMAN MARY                  4621 ALPHA ST                                                                                            LANSING              MI 48910‐7606
REDMAN NORA L                REDMAN, NORA L                 SLATER & ZURZ                ONE CASCADE PLAZA , SUITE                    AKRON                OH 44308
                                                                                         2210
REDMAN PAMELA                REDMAN, PAMELA                 4744 DURBIN                                                               MEMPHIS             TN 38122
REDMAN REGINALD S (499624)   ANGELOS PETER G                100 N CHARLES STREET , ONE                                                BALTIMORE           MD 21201
                                                            CHARLES CENTER
REDMAN, ALVA H               280 CRANBERRY CT. NW                                                                                     WARREN              OH 44483‐1550
REDMAN, ANNE J               26 SCHOOL ST                                                                                             LANCANSTER          NY 14086
REDMAN, BARBARA E            236 BELLE AVE                                                                                            WASHINGTON COURT    OH 43160‐1102
                                                                                                                                      HOUSE
REDMAN, BEVERLY A            219 PELICAN RD                                                                                           CLEARWATER          FL   33764‐7117
REDMAN, BRUCE H              4311 HOAGLAND BLACKSTUB RD                                                                               CORTLAND            OH   44410
REDMAN, CHRIS P              15586 SOUTH BLACKFEATHER ST                                                                              OLATHE              KS   66062‐3681
REDMAN, CORALEE              2119 DALE CT                                                                                             LEBANON             IN   46052‐1217
REDMAN, DALE V               707 E 4TH ST                                                                                             ALTAMONT            MO   64620‐8179
REDMAN, DANIEL A             PO BOX 151                                                                                               STRATFORD           WI   54484‐0151
REDMAN, DANNY D              2935 PLEASANT VALLEY RD                                                                                  BRIGHTON            MI   48114‐9217
REDMAN, DANNY DOYLE          2935 PLEASANT VALLEY RD                                                                                  BRIGHTON            MI   48114‐9217
REDMAN, DARRELL R            375 N DIETZ RD                                                                                           WEBBERVILLE         MI   48892‐9216
REDMAN, DAVID S              PO BOX 265                                                                                               OSCODA              MI   48750‐0265
REDMAN, DELORES J            2002 BRANDYWINE LANE                                                                                     PORT HURON          MI   48060
REDMAN, DIANA L              5018 HAYES ST.                                                                                           SWARTZ CREEK        MI   48473‐1306
REDMAN, DIANA L              5018 HAYES ST                                                                                            SWARTZ CREEK        MI   48473‐1306
REDMAN, ELIZABETH            INGRAHM MANOR                  NORTH MAIN ST                                                             BRISTOL             CT   06010
REDMAN, EVELYN               PO BOX 35                                                                                                ELSIE               MI   48831‐0035
REDMAN, FRANK E              4850 CEDAR ISLAND RD                                                                                     WHITE LAKE          MI   48383‐3300
REDMAN, GEORGE R             79 DRIFTWOOD ROAD                                                                                        BRISTOL             CT   06010‐2529
REDMAN, GEORGIA L            287 N TEMPLETON AVE                                                                                      PIGGOTT             AR   72454‐2244
REDMAN, GEORGIA L            287 NORTHTEMPLETON                                                                                       PIGGOTT             AR   72454
REDMAN, HARRY E              PO BOX 8                                                                                                 CHESAPEAKE CITY     MD   21915‐0008
REDMAN, J H                  1043 DOWAGIAC AVE                                                                                        MOUNT MORRIS        MI   48458‐2513
REDMAN, J H                  6130 MAPLE RIDGE RD                                                                                      ALGER               MI   48610‐9738
REDMAN, JAMES R              1313 S ODELL ST                                                                                          BROWNSBURG          IN   46112
REDMAN, JUDITH R             PO BOX 265                                                                                               OSCODA              MI   48750‐0265
REDMAN, KATHRYN S            212 WESTERN HILLS DR                                                                                     SEARCY              AR   72143‐6512
REDMAN, KENNETH W            24000 N DIXBORO RD                                                                                       SOUTH LYON          MI   48178‐9272
REDMAN, LYNETTE              2704 POLK CT                                                                                             HUDSONVILLE         MI   49426‐1824
REDMAN, MELBA E              1830 BALLA WAY                                                                                           GRAND PRAIRIE       TX   75051‐3902
REDMAN, MELODIE A            4204 ROOSEVELT BOULEVARD                                                                                 MIDDLETOWN          OH   45044‐6623
REDMAN, NORA L               319 W MARION AVE                                                                                         YOUNGSTOWN          OH   44511‐1619
REDMAN, NORA LEE             319 W MARION AVE                                                                                         YOUNGSTOWN          OH   44511‐1619
REDMAN, PAMELA               4744 DURBIN AVE                                                                                          MEMPHIS             TN   38122‐4270
REDMAN, PATRICIA A           2173 PINE KNOLL AVE                                                                                      COLUMBUS            OH   43229
REDMAN, PATRICIA J           1043 MCKENNA DR                                                                                          THOMPSONS STATION   TN   37179‐5382
REDMAN, PAUL K               562 TERRYVILLE AVE                                                                                       BRISTOL             CT   06010‐4031
REDMAN, PHILLIP A            3713 RED BUD LN                                                                                          KOKOMO              IN   46902‐4353
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Name                    Address1                      Address2                    Address3   Address4         City              State Zip
REDMAN, PORTER W        1750 W MEAD RD # 3                                                                    SAINT JOHNS        MI 48879
REDMAN, REGINALD S      ANGELOS PETER G               100 N CHARLES STREET, ONE                               BALTIMORE          MD 21201‐3812
                                                      CHARLES CENTER
REDMAN, RICHARD W       12051 BEAVERLAND                                                                      DETROIT           MI   48239‐1359
REDMAN, RICKIE A        10706 N BIRCH RD                                                                      IRONS             MI   49644‐8760
REDMAN, RICKIE A        10706 NORTH BIRCH ROAD                                                                IRONS             MI   49644‐8760
REDMAN, ROBERT E        4575 W KINLEY RD                                                                      SAINT JOHNS       MI   48879‐9525
REDMAN, RODNEY E        3237 HIAWATHA DR                                                                      DAYTON            OH   45414‐5649
REDMAN, RONNY J         5968 PARK LAKE RD                                                                     EAST LANSING      MI   48823‐9202
REDMAN, RUSSELL J       11 AUDUBON LN                                                                         MADISONVILLE      LA   70447‐9601
REDMAN, STELLA S        110 FORT HALE RD                                                                      NEW HAVEN         CT   06512‐3603
REDMAN, THOMAS E        9115 28TH ST SE                                                                       ADA               MI   49301‐9372
REDMAN, TRAVIS S        587 BELMAWR PLACE                                                                     MILLERSVILLE      MD   21108‐1516
REDMAN, WILLIAM W       1727 COUNCIL DR                                                                       SUN CITY CENTER   FL   33573‐5210
REDMAN, WILMA P         1508 FOLLIS AVE                                                                       JOHNSTON CITY     IL   62951‐1940
REDMANN, JOAN           86 N BECK ST                                                                          SEBEWAING         MI   48759‐1653
REDMANN, RAY F          3308 N HARMONY TOWN HALL RD                                                           JANESVILLE        WI   53546‐9311
REDMANN, RICKY C        204 BERNICE ST                                                                        COLLINSVILLE      IL   62234‐1107
REDMER, BOBBIE          3816 PARDEE AVE                                                                       DEARBORN          MI   48124‐3570
REDMER, ROBERT S        712 THURBER DR                                                                        TROY              MI   48085‐4830
REDMERSKI, BENJAMIN C   113 STRATTON DR                                                                       WESTAMPTON        NJ   08060‐2345
REDMILES, KATHRYN L     8206 REDMILES LN                                                                      ODENTON           MD   21113‐1100
REDMON JR, ARTHUR       8971 MANSFIELD RD APT 117                                                             SHREVEPORT        LA   71118‐3103
REDMON JR, ARTHUR       9100 WALKER RD APT K22                                                                SHREVEPORT        LA   71118‐2914
REDMON SANDRA           508 SADDLEBROOKE LN                                                                   LEXINGTON         SC   29072‐7889
REDMON SR, GEORGE W     1945 CONNIE DR                                                                        CREST HILL        IL   60403‐0810
REDMON, ANNA B          PO BOX 7                                                                              WEST POINT        AR   72178‐0007
REDMON, BARBARA ANN     5658 LOUISVILLE RD                                                                    FRANKFORT         KY   40601‐9196
REDMON, BELVA A         1927 PEARL STREET                                                                     ANDERSON          IN   46016
REDMON, BILLY R         1125 MORSE ST                                                                         DENTON            TX   76205‐7926
REDMON, CHESTER O       74 LUCYCREEK DR               APT 5                                                   AMELIA            OH   45102
REDMON, CINDY S         PO BOX 319                                                                            HUNTERSVILLE      NC   28070‐0319
REDMON, DELORES I       102D LAKEVIEW TER                                                                     MONTGOMERY        TX   77356‐5884
REDMON, DENNIS R        2348 YARGERVILLE RD                                                                   LA SALLE          MI   48145‐9726
REDMON, DENNIS RAY      2348 YARGERVILLE RD                                                                   LA SALLE          MI   48145‐9726
REDMON, EDWARD A        16224 ROBINDALE DR                                                                    STRONGSVILLE      OH   44136‐6362
REDMON, EMMA L          220 S 200 E                                                                           KOKOMO            IN   46902‐2665
REDMON, FLORENCE W      1411 HOME AVE                                                                         ANDERSON          IN   46016‐1924
REDMON, GERALD K        2733 GABLES DR                                                                        EUSTIS            FL   32726‐2034
REDMON, GERALD K        2733 GABLES DRIVE                                                                     EUSTIS            FL   32726‐2726
REDMON, HENRY C         505 HIGHWAY 126                                                                       JONESVILLE        LA   71343‐6151
REDMON, JAMES L         P.O. BOX 26527                                                                        OKLAHOMA CITY     OK   73126
REDMON, JUDITH A        4395 WINDIATE PARK DR                                                                 WATERFORD         MI   48329‐1266
REDMON, LAWYER J        5711 LESLIE DR                                                                        FLINT             MI   48504‐7040
REDMON, LEROY D         2582 HERNDON RD                                                                       LAWRENCEVILLE     GA   30043‐6117
REDMON, NORMA R.        3475 OLIVER AVE                                                                       INDIANAPOLIS      IN   46241‐1609
REDMON, NORMA R.        3475 WEST OLIVER AVE                                                                  INDIANAPOLIS      IN   46241‐1609
REDMON, OLLIE M         2313 CANNIFF ST                                                                       FLINT             MI   48504‐2099
REDMON, PAUL E          10626 HARRISON RD                                                                     LOVELAND          OH   45140‐9678
REDMON, RAYMOND D       515 ROBERTSON ST                                                                      DENTON            TX   76205‐6140
REDMON, RAYMOND D.      515 ROBERTSON ST                                                                      DENTON            TX   96205‐6140
REDMON, RICKY L         413 PENNSYLVANIA AVE                                                                  SANDUSKY          OH   44870
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Name                               Address1                           Address2                          Address3   Address4         City             State Zip
REDMON, ROBERT C                   21905 EAST RD MIZE RD                                                                            INDEPENDENCE      MO 64057‐9803
REDMON, ROBERT C                   21905 E R D MIZE RD                                                                              INDEPENDENCE      MO 64057‐2944
REDMON, TAMARA A                   5436 W 62ND ST                                                                                   INDIANAPOLIS      IN 46268‐2403
REDMON, TAMARA ANITA               5436 W 62ND ST                                                                                   INDIANAPOLIS      IN 46268‐2403
REDMON, WILLIAM C                  4019 CENTER ST                                                                                   METAMORA          MI 48455‐9304
REDMON‐BOWMAN, GENIVA L            PO BOX 37113                                                                                     HALTOM CITY       TX 76117‐8113
REDMOND AUTO                       440 W 14TH ST                                                                                    TRAVERSE CITY     MI 49684‐4041
REDMOND AUTOMOTIVE                 2991 BAY RD                                                                                      SAGINAW           MI 48603‐3314
REDMOND BOBBIE                     REDMOND, BOBBIE                    11440 S CHURCH ST                                             CHICAGO            IL 60643‐4236
REDMOND CELESTE MAXINE             6176 BERMUDA LN                                                                                  MOUNT MORRIS      MI 48458‐2623
REDMOND CHARLES H (472150)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA 23510
                                                                      STREET, SUITE 600
REDMOND I PHILLP A AND JOYCE ANN   59 MONARCH DR                                                                                    CARLISLE         PA 17015‐7303
REDMOND JOSEPH                     DBA PM LIFESTYLE LLC               2774 N COBB PKWY STE 109‐205                                  KENNESAW         GA 30152
REDMOND NAPOLEON                   REDMOND, NAPOLEON                  170 S GREEN VALLEY PKWY STE 280                               HENDERSON        NV 89012‐3145

REDMOND RANDOLPH                   1519 BRAMBLEWOOD DR                                                                              HOLLY            MI    48442‐8311
REDMOND ROBERT JR                  REDMOND, ROBERT                    30 E BUTLER AVE                                               AMBLER           PA    19002‐4514
REDMOND SR, LARRY D                1425 N DECKER AVE                                                                                BALTIMORE        MD    21213‐3901
REDMOND SR, THOMAS A               1274 SIGNATURE DR                                                                                YOUNGSTOWN       OH    44515‐3867
REDMOND'S                          7613 GRATIOT RD                                                                                  SAGINAW          MI    48609‐5013
REDMOND, AMY L                     861 ORCHARD DR                                                                                   KETTERING        OH    45419‐2323
REDMOND, AMY RENEA                 1852 LAUREL OAK DR                                                                               FLINT            MI    48507‐2254
REDMOND, ANTHONY W                 11524 KINGS COACH ROAD                                                                           GRAND BLANC      MI    48439‐8701
REDMOND, BEATRICE M                61 SPRING CREEK ROAD                                                                             SILVER CITY      NM    88061‐8716
REDMOND, BERNICE                   LEE WILLIAM L JR                   PO BOX 14047                                                  JACKSON          MS    39236‐4047
REDMOND, BETTY H                   1762 FRONT ST SW                                                                                 WARREN           OH    44485‐3517
REDMOND, BETTY H                   1762 FRONT STREET, S.W.                                                                          WARREN           OH    44485‐3517
REDMOND, BEVERLY A                 69 PEACE ST                                                                                      BUFFALO          NY    14211‐2034
REDMOND, BOBBIE                    11440 S CHURCH ST                                                                                CHICAGO           IL   60643‐4236
REDMOND, BYRON K                   PO BOX 572                                                                                       FLINT            MI    48501‐0572
REDMOND, CARL D                    422 ASHTON DR                                                                                    FALLING WATERS   WV    25419‐4814
REDMOND, CELESTE M                 6176 BERMUDA LN                                                                                  MOUNT MORRIS     MI    48458‐2623
REDMOND, CELESTE MAXINE            6176 BERMUDA LN                                                                                  MOUNT MORRIS     MI    48458‐2623
REDMOND, CHARLES                   209 MARTIN LUTHER KING JR BLVD S                                                                 PONTIAC          MI    48342‐3335
REDMOND, CHARLES H                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA    23510‐2212
                                                                      STREET, SUITE 600
REDMOND, CLARENCE E                13448 ZORI LANE                                                                                  WINDERMERE       FL    34786‐7355
REDMOND, CLINTON C                 3559 PORT COVE DR APT 29           PORT COVE CONDOMINIUMS                                        WATERFORD        MI    48328‐4575
REDMOND, COOPER P                  822 CONOWINGO CIR                                                                                OXFORD           PA    19363‐1490
REDMOND, DAVID S                   1614 SOUTHERN BLVD NW                                                                            WARREN           OH    44485‐2050
REDMOND, DON                       14601 KENTUCKY AVE                                                                               HARVEY           IL    60426‐1732
REDMOND, DOROTHY M                 96 BEECHWOODE LN                                                                                 PONTIAC          MI    48340‐2200
REDMOND, DRUSILLA M                701 MARKET ST APT 209                                                                            OXFORD           MI    48371‐3575
REDMOND, EDWARD                    415 ACADEMY TER                                                                                  LINDEN           NJ    07036‐5603
REDMOND, ELIZABETH                 1238 PARADISE WAY                                                                                VENICE           FL    34285‐6411
REDMOND, ELIZABETH A               2453 WESTPORT DR                                                                                 DAYTON           OH    45406‐1246
REDMOND, ELIZABETH C               36464 CORONADO DR                                                                                FREMONT          CA    94536‐5539
REDMOND, ELLIOTT T                 2006 PARK TOWER DR                                                                               KANSAS CITY      MO    64126
REDMOND, ESLEY                     LEE WILLIAM L JR                   PO BOX 14047                                                  JACKSON          MS    39236‐4047
REDMOND, FAYE                      HC 86 BOX 40                                                                                     PINEVILLE        KY    40977
REDMOND, FRANCES                   4436 W MAYPOLE                                                                                   CHICAGO          IL    60624‐1639
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Name                        Address1                       Address2                           Address3   Address4         City                State Zip
REDMOND, FREDERICK H        8107 COPPOCK RD                                                                               CORRYTON             TN 37721‐2703
REDMOND, GLORIA D           1020 CHATWELL DR               #1020                                                          DAVISON              MI 48423‐2712
REDMOND, GLORIA D           2271 OBRIEN RD                                                                                MOUNT MORRIS         MI 48458‐2659
REDMOND, GORDON J           33717 PINEVIEW                                                                                FRASER               MI 48026‐5048
REDMOND, HELEN K            1274 SIGNATURE DR                                                                             YOUNGSTOWN           OH 44515‐3867
REDMOND, HENRY E            142 CLEARVIEW DR                                                                              ROCKWOOD             TN 37854‐5257
REDMOND, JAMES H            844 WILDBERRY CIR                                                                             AVON LAKE            OH 44012‐5202
REDMOND, JAMES R            13692 UPTON RD                                                                                BATH                 MI 48808‐9445
REDMOND, JEAN               6042 4TH AVE                                                                                  LOS ANGELES          CA 90043‐4208
REDMOND, JEAN A             6619 GARLING DR                                                                               DEARBORN HTS         MI 48127‐2609
REDMOND, JERRY L            9701 W VERA AVE                                                                               MILWAUKEE            WI 53224‐4661
REDMOND, JOHN K             2351 MARLETTE RD                                                                              MARLETTE             MI 48453‐8944
REDMOND, JOHN S.            15819 SE 15TH ST                                                                              CHOCTAW              OK 73020‐7048
REDMOND, JOHN W             235 HOFFMEISTER RD                                                                            SAINT HELEN          MI 48656‐9545
REDMOND, KAREN
REDMOND, KATHLEEN A         4621 W HICKORY RD                                                                             HICKORY CORNERS     MI   49060‐9779
REDMOND, KELLY D            2453 WESTPORT DR                                                                              DAYTON              OH   45406
REDMOND, KELSEY             WEINSTEIN NEAL L               PO BOX 660                                                     OLD ORCHARD BEACH   ME   04064‐0660
REDMOND, KERRY S            1182 MOUNTAIN LAUREL DR                                                                       COLUMBUS            NC   28722
REDMOND, LAWRENCE G         14054 HOMER RD                                                                                CONCORD             MI   49237‐9749
REDMOND, LAWRENCE G         14054 HOMER ROAD                                                                              CONCORD             MI   49237‐9749
REDMOND, LEE H              2279 CENTRAL PARKWAY DR                                                                       FLORISSANT          MO   63031‐2851
REDMOND, LENNA G            5340 W. 96TH ST                APT #2201                                                      INDIANAPOLIS        IN   46268
REDMOND, MARK W             1506 APPLE CREEK TRL                                                                          GRAND BLANC         MI   48439‐4964
REDMOND, MARLO D.           13448 ZORI LANE                                                                               WINDERMERE          FL   34786‐7355
REDMOND, MICHAEL            3105 S WHITETREE CIR                                                                          CINCINNATI          OH   45236‐1343
REDMOND, MICHAEL
REDMOND, MICHAEL T          330 LAW ST APT 22                                                                             LAPEER              MI   48446
REDMOND, MONA K             5407 COPLEY SQUARE RD                                                                         GRAND BLANC         MI   48439‐8743
REDMOND, MONETTE C          33717 PINEVIEW                                                                                FRASER              MI   48026‐5048
REDMOND, NANCY L            133 N 20TH STREET                                                                             BATTLE CREEK        MI   49015
REDMOND, NANCY L            133 20TH ST N                                                                                 BATTLE CREEK        MI   49015‐1746
REDMOND, NEIL E             10778 BLACK BEAR RD NE                                                                        KALKASKA            MI   49646‐9750
REDMOND, PARIS L            111 W MARENGO AVE                                                                             FLINT               MI   48505‐3260
REDMOND, PATRICIA M         280 DAKOTA AVE                                                                                MC DONALD           OH   44437‐1566
REDMOND, PAUL A             3333 N 49TH DR                                                                                KANSAS CITY         KS   66104‐1702
REDMOND, ROBERT E           48 STANFIELD TER                                                                              ROCHESTER           NY   14619‐2165
REDMOND, ROBERT M           1016 E MINNEHAHA PKWY                                                                         MINNEAPOLIS         MN   55417‐1142
REDMOND, SHERMON            TYLER TIMOTHY & ASSOCIATES     601 S LASALLE STREET , SUITE 650                               CHICAGO             IL   60605
REDMOND, STEPHEN L          1308 OLD MILL LN                                                                              MOUNT PLEASANT      SC   29464
REDMOND, TERESA G           35 BELLEVUE                                                                                   PONTIAC             MI   48342
REDMOND, TERRENCE J         17 ROOSEVELT AVE                                                                              OLD GREENWICH       CT   06870‐1810
REDMOND, TERRENCE M         1289 HEATHERWOODE RD                                                                          FLINT               MI   48532‐2334
REDMOND, TERRENCE MARNELL   1289 HEATHERWOODE RD                                                                          FLINT               MI   48532‐2334
REDMOND, THOMAS A           3829 SUNRIDGE DR                                                                              FLINT               MI   48506‐2541
REDMOND, TIMMIE             790 S MAIN ST APT 424          LIMA TOWERS                                                    LIMA                OH   45804‐1560
REDMOND, TIMOTHY A          1038 E MANDEVILLE ST                                                                          BURTON              MI   48529
REDMOND, TRACY L            2259 PERKINS JONES CT NE                                                                      WARREN              OH   44483
REDMOND, WILLIAM A          8835 WASHINGTON BLVD WEST DR                                                                  INDIANAPOLIS        IN   46240‐1523
REDMOND, WILLIAM W          1220 KOCHVILLE RD                                                                             SAGINAW             MI   48604‐9712
REDMOND, YVONNE             6840 VERNON AVE                                                                               SAINT LOUIS         MO   63130‐2524
REDMOND, YVONNE             6840 VERNON                                                                                   ST LOUIS            MO   63130‐2524
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Name                                Address1                      Address2                  Address3                  Address4             City             State Zip
REDNER, PARRIS L                    19495 HILLSBOROUGH BLVD                                                                                PORT CHARLOTTE    FL 33954‐2006
REDNOSKE, RICHARD A                 1725 PROGRESS AVE                                                                                      LINCOLN PARK      MI 48146‐3228
REDNOUR, CHARLES I                  9599 WHIPPOORWILL LN                                                                                   MASON             OH 45040‐8556
REDNOUR, JAMES R                    6203 EGRET DR                                                                                          LAKELAND          FL 33809‐4603
REDNOUR, MARY G                     6203 EGRET DR                                                                                          LAKELAND          FL 33809‐4603
REDO, TED A                         68‐1724 HULUKOA PL                                                                                     WAIKOLOA          HI 96738‐5106
REDOE MOLD/WINDSOR                  665 MORTON DRIVE                                                                  WINDSOR ON N9A 626
                                                                                                                      CANADA
REDON, FABIEN                      30144 CASCADE CT                                                                                        SOUTHFIELD       MI 48076‐2065
REDON, FABIEN                      5043 VIA PLAYA LOS SANTOS                                                                               SAN DIEGO        CA 92124‐1554
REDONDO BEACH DEPARTMENT OF PUBLIC                                531 N GERTRUDA AVE                                                                        CA 90277
WORKS
REDONDO, ALBERT M                  39853 20TH ST W                                                                                         PALMDALE         CA   93551‐3201
REDONDO, JACINTO                   9802 SW 56TH TER                                                                                        MIAMI            FL   33173‐1489
REDONDO, TEODORO                   DEARIE & ASSOCIATES JOHN C     515 MADISON AVE RM 1118                                                  NEW YORK         NY   10022‐5456
REDOSKO, JOHN P                    210 HENDRICKS ST                                                                                        ZEIGLER          IL   62999‐1157
REDOUTEY, ROBIN L                  5314 ADAIR OAK DR                                                                                       ORLANDO          FL   32829
REDRIC ROBERTSON                   3124 N CADIZ PIKE                                                                                       NEW CASTLE       IN   47362‐9744
REDRICK, GLENDA D                  1007 ORLO DR NW                                                                                         WARREN           OH   44485
REDRICK, GLORIES                   15874 OHIO ST                                                                                           DETROIT          MI   48238
REDRICK, LANDER                    9646 ARTESIAN ST                                                                                        DETROIT          MI   48228‐1336
REDRICK, SR, JOE C                 19007 SCOTTSDALE BLVD                                                                                   SHAKER HTS       OH   44122‐6415
REDRICK, SR,JOE C                  19007 SCOTTSDALE BLVD                                                                                   SHAKER HTS       OH   44122‐6415
REDRUP, THOMAS E                   132 EAGLES NEST RD                                                                                      INDIAN RIVER     MI   49749‐9021
REDS AUTOMOTIVE                    286 SE 3RD ST                                                                                           ONTARIO          OR   97914‐2833
REDSHAW, THOMAS F                  3738 HOOVER LN                                                                                          JACKSONVILLE     FL   32277‐2067
REDSICKER, ALVIN                   16 JANICE DR                                                                                            ROCHESTER        NY   14624‐4647
REDSICKER, DAVID R
REDSICKER, JOYCE J                 16 JANICE DR                                                                                            ROCHESTER        NY 14624‐4647
REDSTON, PETER J                   117 RAINBOW DR # 1712                                                                                   LIVINGSTON       TX 77399‐1017
REDTRAC INTERNATIONAL LTD
REDUCTION/LEEDS                    206 ASHVILLE RD.                                                                                        LEEDS            AL   35094
REDUMSKI, JAMES B                  5243 E CARPENTER RD                                                                                     FLINT            MI   48506‐4517
REDUS KENNETH                      THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                                       CORAL GABLES     FL   33146
REDUS MCNATT                       18229 COFFMAN RD                                                                                        ELKMONT          AL   35620‐5213
REDUS MORAN                        11800 VANZILLE LN                                                                                       ATHENS           AL   35611‐6225
REDUS, ALLEN R                     PO BOX 2110                                                                                             BANDERA          TX   78003‐2110
REDUS, SHIRLEY J                   2087 LINDSAY LN S                                                                                       ATHENS           AL   35613‐8004
REDUX REALTY LLC                   C/O THE WITKOFF GROUP LLC      220 E 42ND ST FL 26       501 CHNG 01/11/05 ONEIL                        NEW YORK         NY   10017‐5820
REDUX REALTY LLC                   C/O THE WITOFF GROUP, LLC      220 EAST 42ND STREET                                                     NEW YORK         NY   10017
REDUX REALTY, LLC C/O THE WITKOFF  220 EAST 42ND STREET                                                                                    NEW YORK         NY   10017
GROUP
REDVERS FRIDAY I I I               340 SHELBY LN                                                                                           DIMONDALE        MI   48821‐9204
REDWANZ, ALBERT F                  9799 W GILFORD RD                                                                                       REESE            MI   48757‐9502
REDWANZ, EDWARD D                  1691 N VAN BUREN RD                                                                                     REESE            MI   48757‐9557
REDWANZ, JOHN J                    1651 N VAN BUREN RD                                                                                     REESE            MI   48757‐9557
REDWANZ, MICHAEL                   1611 JARRATT DR                                                                                         ROCKVALE         TN   37153‐4050
REDWANZ, NEAL E                    4516 W PLEASANT ACRES DR                                                                                DECATUR          AL   35603‐5730
REDWAY, DIANE M                    1446 ANDERSON AVE                                                                                       VIENNA           OH   44473‐9658
REDWEIK, JUDITH A                  17643 PHEASANT DR                                                                                       TINLEY PARK      IL   60487‐5225
REDWINE ROY H (150947)             PERLBERGER LAW ASSOCIATES      401 E CITY AVE STE 200                                                   BALA CYNWYD      PA   19004‐1117
REDWINE, BARBARA M                 931 OAKLAND AVE                                                                                         BIRMINGHAM       MI   48009‐5760
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Name                                   Address1                         Address2                 Address3            Address4         City             State Zip
REDWINE, CLAUDE                        577 WINONA DR                                                                                  FAIRBORN          OH 45324‐6410
REDWINE, CODY K                        12515 E COUNTY ROAD 125 S                                                                      SELMA             IN 47383‐9319
REDWINE, ELISA                         1619 GROVELAND AVE                                                                             FLINT             MI 48505‐3044
REDWINE, ELIZABETH E                   4521 MAINES ST                                                                                 FLINT             MI 48505‐3634
REDWINE, ELIZABETH E                   4521 MAIN ST                                                                                   FLINT             MI 48505‐3634
REDWINE, JAMES E                       6138 NEFF RD                                                                                   MOUNT MORRIS      MI 48458‐2753
REDWINE, L V                           157 E RUSSELL AVE                                                                              FLINT             MI 48505‐2742
REDWINE, ROBERT L                      1209 STATE ST                                                                                  FLINT             MI 48505
REDWINE, ROY                           PERLBERGER LAW ASSOCIATES        401 E CITY AVE STE 200                                        BALA CYNWYD       PA 19004‐1117
REDWINE, VIRGINIA                      6138 NEFF RD                                                                                   MOUNT MORRIS      MI 48458‐2753
REDWINE, WILLIAM T                     6029 MARJA ST                                                                                  FLINT             MI 48505‐5805
REDWING                                THE SHOE BOX                     1333 LEXINGTON AVE                                            MANSFIELD         OH 44907‐2614
REDWITZ, MARY A                        2403 TUSCOLA ST                                                                                FLINT             MI 48503‐2135
REDWITZ, RALPH L                       1407 SEA FAN DR                                                                                PUNTA GORDA       FL 33950
REDWOOD GENERAL TIRE                   1630 BROADWAY ST                                                                               REDWOOD CITY      CA 94063‐2402
REDWOOD MASTER FUND LTD                REDWOOD CAPITAL MANAGEMENT LLC   ATTN: JONATHAN KOLATCH   910 SYLVAN AVENUE                    INGLEWOOD         NJ 07632

REDWOOD SHORES OFFICE PAVILLION, LLC   ROD SCHERBA                      245 LYTTON AVE STE 150                                        PALO ALTO        CA 94301‐1472
C/O CORNISH & CAREY
REDWOOD SYSTEMS                        PO BOX 872288                                                                                  VANCOUVER        WA 98687‐2288
REDWOOD, THOMAS L                      PO BOX 442202                                                                                  DETROIT          MI 48244‐2202
REE DARA                               6737 E CORALITE ST                                                                             LONG BEACH       CA 90808‐4121
REE DRENNAN
REE, DARRELL E                         1018 SUTHERLAND AVE                                                                            JANESVILLE       WI   53545‐1632
REE, DEANNA A                          708 S HOPE RD                                                                                  GOLDEN VALLEY    AZ   86413‐9026
REE, DONALD J                          149 W JEFFERSON ST               LOWR APT                                                      STOUGHTON        WI   53589
REE, VIVIAN A                          512 ALBION RD                                                                                  EDGERTON         WI   53534‐9376
REE, VIVIAN A                          512 ALBION ROAD                                                                                EDGERTON         WI   53534‐9376
REEB, CHARLES R                        43 TORENIA VERBENAS CT                                                                         HOMOSASSA        FL   34446‐6309
REEB, CHARLES RICHARD                  43 TORENIA VERBENAS COURT                                                                      HOMOSASSA        FL   34446‐6309
REEB, DAVID N                          31276 WATER ST                                                                                 STURGIS          MI   49091‐9554
REEB, DORIS                            3798 W STOLL RD                                                                                LANSING          MI   48906‐9390
REEB, EDWARD A                         5615 BEATTIE AVE                                                                               LOCKPORT         NY   14094
REEB, JEANETTE M                       907 CHESTNUT ST                                                                                JONESBORO        AR   72401‐3802
REEB, JOHN R                           602 N MAIN ST                                                                                  ANTWERP          OH   45813‐9450
REEBER, BEVERLY J                      534 19TH ST                                                                                    OTSEGO           MI   49078
REEBER, GEORGE H                       307 N GAYLORD AVE                                                                              LUDINGTON        MI   49431‐1622
REEBIE STORAGE & MOVING CO INC         2325 N CLARK ST                                                                                CHICAGO          IL   60614‐6472
REECE ARVIN (664774)                   BRAYTON PURCELL                  PO BOX 6169                                                   NOVATO           CA   94948‐6169
REECE CENTERS                          100 RT 599                                                                                     JEFFERSONVILLE   KY   40337
REECE DEAN W                           3867 E MACKAY CT                                                                               MERIDIAN         ID   83642‐3123
REECE DONNIE                           417 CORDERS CROSSROADS RD R                                                                    FAYETTEVILLE     TN   37334
REECE DUKE                             45 TRACY RD                                                                                    WATERTOWN        TN   37184‐4737
REECE E WISE III                       5446 FAIR ACRES DR                                                                             LAPEER           MI   48446‐9211
REECE FLUID POWER CO                   5245 SECOR RD                                                                                  TOLEDO           OH   43623‐2401
REECE GASHO                            5929 S 50 E                                                                                    ATLANTA          IN   46031‐9346
REECE GOODMAN                          15 FARAH DR                                                                                    ELKTON           MD   21921‐2215
REECE JR, CECIL                        2120 NE 21ST ST                                                                                OKLAHOMA CITY    OK   73111‐1619
REECE JR, JOSEPH C                     1415 CHATHAM LN                                                                                WEST MEMPHIS     AR   72301‐1709
REECE LEWIS                            2306 S GLENWOOD AVE                                                                            NILES            OH   44446‐4216
REECE MUSGRAVES                        PO BOX 420474                                                                                  PONTIAC          MI   48342‐0474
REECE NOBLE                            PO BOX 870                                                                                     PIKEVILLE        TN   37367‐0870
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Name                       Address1                       Address2                        Address3   Address4         City              State Zip
REECE NOBLE                P.O. BOX 870                                                                               PIKEVILLE          TN 37367‐0870
REECE RICHARD (447194)     KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                               CLEVELAND          OH 44114
                                                          BOND COURT BUILDING
REECE SR, RONALD           1635 MACK RD                                                                               SAGINAW           MI   48601‐6833
REECE TACKETT JR           3568 CARSON SALT SPRINGS RD                                                                NEWTON FALLS      OH   44444‐9720
REECE W CENTERS            100 RT 599                                                                                 JEFFERSONVILLE    KY   40337
REECE WISE III             5446 FAIR ACRES DR                                                                         LAPEER            MI   48446‐9211
REECE, ALTA                6217 BEECH DALY RD                                                                         TAYLOR            MI   48180‐1171
REECE, ALTA                6217 BEECH‐DALY                                                                            TAYLOR            MI   48180‐1171
REECE, ANNA L              596 WESTWIND DRIVE UNIT6053                                                                ELLIJAY           GA   30540‐6451
REECE, ARLYN R             9312 BRAY RD                                                                               MILLINGTON        MI   48746‐9559
REECE, ARVIN               BRAYTON PURCELL                PO BOX 6169                                                 NOVATO            CA   94948‐6169
REECE, BRIAN D             3310 WALLINGFORD DR                                                                        GRAND BLANC       MI   48439‐7933
REECE, CAROLYN W           13210 ARNOLD MILL RD                                                                       ROSWELL           GA   30075‐6422
REECE, CHARLES V           846 COWART RD                                                                              DAWSONVILLE       GA   30534‐2713
REECE, CHRISTOPHER J       23627 BREEZY MEADOW CT                                                                     MORENO VALLEY     CA   92557‐3909
REECE, CHRISTOPHER S       218 REDDINGDALE DR                                                                         NEW CASTLE        IN   47362‐3936
REECE, CHRISTOPHER SCOTT   218 REDDINGDALE DR                                                                         NEW CASTLE        IN   47362‐3936
REECE, CLARA J             377 W 5TH ST                                                                               PERU              IN   46970‐1944
REECE, CLYDE A             9589 JACOBI AVE APT 2                                                                      SAINT LOUIS       MO   63136‐2933
REECE, COURTNEY FRANCES    31812 SHIAWASSEE ST                                                                        WESTLAND          MI   48186‐4755
REECE, DALE L              3520 ALEXANDER CIR                                                                         CUMMING           GA   30041‐8220
REECE, DAVID               3809 RONALD ST                                                                             LANSING           MI   48911‐2670
REECE, DERRICK A           3809 RONALD ST                                                                             LANSING           MI   48911‐2670
REECE, ELOISE A            808 W RIVERSIDE AVE # 6                                                                    MUNCIE            IN   47303
REECE, ESTES E             2118 HAMPTON LOCUST GROVE RD                                                               LOCUST GROVE      GA   30248‐2007
REECE, ETHEL W             PO BOX 2635                                                                                CUMMING           GA   30028‐6507
REECE, FRANCES             400 N 10TH ST                  APT 42                                                      GAS CITY          IN   46933‐1632
REECE, FRANCES             1121 OLYNGER RD APT 55                                                                     GAS CITY          IN   46933‐1640
REECE, FRED A              GORI JULIAN & ASSOCIATES PC    156 N MAIN ST                                               EDWARDSVILLE      IL   62025‐1972
REECE, GEORGE              1901 SOUTH GOYER ROAD          APT 14                                                      KOKOMO            IN   46902‐6164
REECE, GEORGE              1901 S GOYER RD APT 14                                                                     KOKOMO            IN   46902‐2736
REECE, GERALD T            6252 BOB WHITE DR                                                                          ENGLEWOOD         FL   34224‐9753
REECE, GREGORY L           15156 W GELDING DR                                                                         SURPRISE          AZ   85379‐7027
REECE, HOWARD R            7378 SOUTH RD                                                                              CADIZ             KY   42211‐7673
REECE, HOWARD RUFUS        7378 SOUTH RD                                                                              CADIZ             KY   42211‐7673
REECE, IDA BLANCHE         219 MURPHY ST.                                                                             MOUNTAIN CITY     TN   37683‐1315
REECE, INEZ W              1495 HENDON RD                 C/O RHONDA R SMITH                                          WOODSTOCK         GA   30188‐3001
REECE, INEZ W              C/O RHONDA R SMITH             1495 HENDON ROAD                                            WOODSTOCK         GA   30188
REECE, JAMES A             1152 SAN ANGELO DR ZZ                                                                      HAMILTON          OH   45013
REECE, JAMES B             2064 OLD DRAKETOWN TRL                                                                     TEMPLE            GA   30179‐3003
REECE, JAMES L             9456 WEST BART COURT                                                                       DAVISBURG         MI   48350‐3918
REECE, JAMES M             6859 MEATH HUNT CIR                                                                        TROY              MI   48098‐2175
REECE, JAMES MARTIN        6859 MEATH HUNT CIR                                                                        TROY              MI   48098‐2175
REECE, JEFFREY             GOULD LAW OFFICES              9728 ROSEHILL RD                                            LENEXA            KS   66215‐1414
REECE, JEFFREY             WOODS & BOWER                  201 MAIN ST STE 100                                         KANSAS CITY       MO   64105‐1797
REECE, JEFFREY P           310 POTTER AVE                                                                             ANN ARBOR         MI   48103‐5539
REECE, JERRIE A            8969 STONE OAK DR                                                                          MONTGOMERY        TX   77316‐6921
REECE, JIMMIE D            1126 MOORPOINT DR                                                                          NORTH LAS VEGAS   NV   89031
REECE, JOHN C              17433 HILLDALE DR                                                                          MACOMB            MI   48044‐5545
REECE, JOHN R              1426 TURNESA DR                                                                            TITUSVILLE        FL   32780‐4830
REECE, KATHY               426 E. MAIN ST.                                                                            GAS CITY          IN   46933‐1531
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Name                              Address1                          Address2                          Address3                      Address4         City             State Zip
REECE, KATHY                      426 E MAIN ST                                                                                                      GAS CITY          IN 46933‐1531
REECE, LARRY D                    31663 PLEASANT VIEW DR                                                                                             ARDMORE           TN 38449‐3167
REECE, LINDA V                    675 HUFFINE MANOR CIR                                                                                              FRANKLIN          TN 37067‐5674
REECE, LORETTA A                  209 NOAH LOOP                                                                                                      OXFORD            MS 38655
REECE, MAX E                      4827 W STATE ROAD 38                                                                                               NEW CASTLE        IN 47362‐8924
REECE, MERL C                     3098 BELLS FERRY RD                                                                                                MARIETTA          GA 30066‐3400
REECE, MICHELE A                  APT 102                           29477 CHERRY HILL ROAD                                                           INKSTER           MI 48141‐1072
REECE, NORMA J                    480 BUTTERWORTH RD                                                                                                 CANTON            GA 30114‐8359
REECE, NORMAN L                   4050 SOUTH FWY                                                                                                     FORT WORTH        TX 76110
REECE, OLIVER
REECE, PATSY JUNE                 8464 SAN GABRIEL                                                                                                   SOUTH GATE       CA    90280‐2444
REECE, PHILLIP R                  PO BOX 85                                                                                                          GUTHRIE          OK    73044‐0085
REECE, PHYLLIS L.                 9314 SUCCESS AVE APT 10                                                                                            LOS ANGELES      CA    90002‐2262
REECE, RALPH S                    227 FIELD RD                                                                                                       ANNISTON         AL    36207‐1123
REECE, RAY A                      219 N MURPHEY ST                                                                                                   MOUNTAIN CITY    TN    37683‐1315
REECE, RAY F                      690 MAYES RD                                                                                                       POWDER SPRINGS   GA    30127‐4431
REECE, RICHARD                    KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                                     CLEVELAND        OH    44114
                                                                    BOND COURT BUILDING
REECE, RITA M                     19200 BENTLER ST                                                                                                   DETROIT          MI    48219‐1961
REECE, ROBERT                     KAHN & ASSOCIATES                 55 PUBLIC SQ STE 650                                                             CLEVELAND        OH    44113‐1909
REECE, ROBERT A                   7112 KALKASKA DR                                                                                                   DAVISON          MI    48423‐2340
REECE, ROBERT L                   728 UNCAPHER AVE                                                                                                   MARION           OH    43302‐6157
REECE, RONALD L                   10070 EL‐AN‐JA DR                                                                                                  MIAMISBURG       OH    45342
REECE, ROY A                      RR 2 BOX 46                                                                                                        WORTHINGTON      IN    47471‐9715
REECE, ROY A                      ROUTE 2 BOX 46                                                                                                     WORTHINGTON      IN    47471
REECE, RUSSANNE
REECE, RUTH H                     4821 S CEYLON ST                  C/O ROZLYN A REECE                                                               AURORA           CO    80015‐4930
REECE, SHIRLEY D                  3450 W OUTER DR                                                                                                    DETROIT          MI    48221‐1659
REECE, TELITHA J                  4016 FOXBORO DR                                                                                                    DAYTON           OH    45416‐1625
REECE, WAYNE                      C/O GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA    23510
                                                                    STREET STE 600
REECE, WILMA J                    9122 E ROCKY LAKE DR                                                                                               SUN LAKES        AZ    85248‐7319
REECE, WILMA J                    9122 EAST ROCKY LAKE DRIVE                                                                                         SUN LAKE         AZ    85248
REECER, JEAN A                    288 ASPEN GRV                                                                                                      JEMEZ SPRINGS    NM    87025‐9604
REECER, MELVIN                    4375 ASBURY ST                                                                                                     INDIANAPOLIS     IN    46227‐8607
REECIE L WILSON                   17954 POPLAR LN                                                                                                    CNTRY CLB HLS     IL   60478‐2931
REECIE WILSON                     17954 POPLAR LN                                                                                                    CNTRY CLB HLS     IL   60478‐2931
REECK GLEN (662545)               COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                                  CHICAGO           IL   60602
                                                                    FLOOR
REECK, DAVID W                    PO BOX 9022                       C/O SHANGHAI                                                                     WARREN           MI 48090‐9022
REECK, GLEN                       COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                                   CHICAGO          IL 60602
                                                                    FLOOR
REED & BARTON CORPORATE MARKETS   850 N MAIN ST EXT BLDG 1 2D                                                                                        WALLINGFORD       CT   06492

REED , LOUIS III
REED ANDREW J                     REED, RUBY E                      JENKINS, DOUGLAS T                107 E MAIN STREET SUITE 321                    ROGERSVILLE      TN 37857

REED ANDREW J                     REED, ANDREW J                    107 E MAIN ST STE 321                                                            ROGERSVILLE      TN 37857‐3640
REED ANDREW J (481974)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA 23510
                                                                    STREET, SUITE 600
REED ARNOLD D (429672)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                      NORFOLK          VA 23510
                                                                    STREET, SUITE 600
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Name                                    Address1                        Address2                        Address3                     Address4               City              State Zip
REED ASHLEY                             2157 CLARA MATHIS RD                                                                                                SPRING HILL        TN 37174‐2544
REED ATWATER                            250 ROWLAND AVE                                                                                                     MANSFIELD          OH 44903‐1450
REED AVRAM                              1753 S MORRISON RD                                                                                                  WEST BRANCH        MI 48661‐9765
REED BARBARA                            REED, BARBARA                   21523 CAMBRIDGE AVE                                                                 DETROIT            MI 48219
REED BEN                                REED, BEN                       10996 COUNTY ROAD 214                                                               TYLER              TX 75707‐4710
REED BRITT I I I                        3100 PARTAIN RD NW                                                                                                  MONROE             GA 30656‐8806
REED BROCK                              PO BOX 1104                                                                                                         PINEVILLE          KY 40977‐1104
REED BUSINESS INFORMATION               WINDSOR COURT                   EAST GRINSTEAD HOUSE            WEST SUSSEX RH19 1XA         UNITED KINGDOM GREAT
                                                                                                                                     BRITAIN
REED BUSINESS INFORMATION               3355 W ALABAMA ST STE 700                                                                                           HOUSTON           TX    77098‐1789
REED C HELTON                           P O BOX 365                                                                                                         TATEVILLE         KY    42558‐0365
REED CAR CARE                           5801 15TH AVE S                                                                                                     GULFPORT          FL    33707‐3336
REED CARLA (482864)                     COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                                             HOUSTON           TX    77002‐1751
REED CASSON                             19467 WOODINGHAM DR                                                                                                 DETROIT           MI    48221‐1654
REED CHARLES C (429673)                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                         NORFOLK           VA    23510
                                                                        STREET, SUITE 600
REED CHRIS                              495 N RADIO HILL RD                                                                                                 GAINESVILLE       TX    76240‐7635
REED CHRISTOPHER                        227 PORTAGE LAKES DR UNIT C                                                                                         AKRON             OH    44319
REED CITY GMC TRUCK, INC                FRANKLIN WHEATLAKE              420 S ROTH ST                                                                       REED CITY         MI    49677‐9126
REED CITY POWER LINE SUPPLY CO          420 S ROTH ST                                                                                                       REED CITY         MI    49677‐9126
REED CITY SALES & SERVICE INC           420 S ROTH ST                                                                                                       REED CITY         MI    49677‐9126
REED CLARENCE L (481274)                KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                                       CLEVELAND         OH    44114
                                                                        BOND COURT BUILDING
REED CLARK                              5071 ELK CREEK ROAD                                                                                                 MIDDLETOWN        OH    45042‐9603
REED COLLEEN REPORTING SUITE 308        316 E SILVER SPRING DR                                                                                              MILWAUKEE         WI    53217
REED COLLING                            5603 BIRD ISLAND DR                                                                                                 LADY LAKE         FL    32159‐4113
REED DANIEL & DEBORA                    560 BENNINGTON CT                                                                                                   HARLEYSVILLE      PA    19438‐2556
REED DANIEL D                           PROGRESSIVE EXPRESS INSURANCE   JACOBSON, STEVEN J              5701 NORTH PINE ISLAND RD.                          FORT LAUDERDALE   FL    33321
                                        COMPANY,                                                        SUITE 320
REED DANIEL D                           PROGRESSIVE EXPRESS INSURANCE   5701 NW 88TH AVE STE 320                                                            TAMARAC            FL   33321‐4400
                                        COMPANY
REED DAVIS                              150 BETSY ROSS LN                                                                                                   FLORENCE          AL    35633‐6600
REED DETECTIVE AGENCY (RD A)            PO BOX 51405                                                                                                        LIVONIA           MI    48151‐5405
REED DIANNE                             REED, DIANNE                    30928 FORD RD                                                                       GARDEN CITY       MI    48135‐1803
REED DONALD (659861)                    SIMMONS FIRM                    PO BOX 521                                                                          EAST ALTON        IL    62024‐0519
REED EARL M (352024)                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                         NORFOLK           VA    23510
                                                                        STREET, SUITE 600
REED ELSEVIER GROUP PLC                 125 PARK AVENUE                 23RD FLOOR                                                                          NEW YORK          NY    10017
REED ENGLICIA                           39104 COMMONS DR                                                                                                    ROMULUS           MI    48174‐5309
REED EXHIBITION COMPANIES               EASTERN SPORTS SHOW             225 WYMAN ST                    ATTN KATHY MCNAMARA                                 WALTHAM           MA    02451‐1209
REED EXHIBITIONS                        383 MAIN AVE                                                                                                        NORWALK           CT    06851
REED EXHIBITIONS                        MR. ED SEVERAL                  383 MAIN AVE, NORWAL                                                                NORWALK           CT    06851
REED EXPRESS DELIVERY SERVICE           PO BOX 971099                                                                                                       YPSILANTI         MI    48197‐0819
REED GEORGE E SR (ESTATE OF) (665265)   THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                                                BOSTON            MA    02110‐2104

REED GERALD L (357493)                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                         NORFOLK           VA 23510
                                                                        STREET, SUITE 600
REED GREG                               REED, PATRICIA                  RHOADS & SINON                  ONE S. MARKET SQUARE 14                             HARRISBURG        PA 17101
                                                                                                        FLOOR
REED GREG                               REED, MEGAN                     RHOADS & SINON                  ONE S. MARKET SQUARE 14                             HARRISBURG        PA 17108
                                                                                                        FLOOR
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Name                           Address1                            Address2                         Address3   Address4         City              State Zip
REED GUY (460126) ‐ REED GUY   KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                CLEVELAND          OH 44114
                                                                   BOND COURT BUILDING
REED HARRIS                    34084 LOTTIES DR                                                                                 CHESTERFIELD      MI   48047‐2377
REED HARRIS, DIANNE K          34337 BEVERLY RD                                                                                 ROMULUS           MI   48174‐4445
REED HAWKINS                   3866 E KENS LN                                                                                   MIDLAND           MI   48642‐8833
REED HELTON                    PO BOX 365                                                                                       TATEVILLE         KY   42558‐0365
REED HONDZINSKI                5512 25 MILE RD                                                                                  SHELBY TOWNSHIP   MI   48316‐1679
REED I ALTHOLZ                 ATTN: REED I ALTHOLZ                PO BOX 5634                                                  CLARK             NJ   07066‐5634
REED III, LAWRENCE K           4234 EAST SHADOW BRANCH DRIVE                                                                    TUCSON            AZ   85756‐3094
REED III, THOMAS B             5099 RAVINE DR                                                                                   MIDDLEVILLE       MI   49333‐8233
REED JACK                      3044 SMITH RD                                                                                    LAMBERTVILLE      MI   48144‐9480
REED JACK W SR (414733)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                                   STREET, SUITE 600
REED JACQUELYN A               536 AIRBRAKE AVE                                                                                 WILMERDING        PA   15148‐1012
REED JAMES                     8665 E SPEEDWAY BLVD APT 807                                                                     TUCSON            AZ   85710
REED JAMES                     REED, JAMES                         1234 MARKET ST STE 2040                                      PHILADELPHIA      PA   19107‐3720
REED JAMES (486003)            BARON & BUDD                        3102 OAK LANE AVE , SUITE 1100                               DALLAS            TX   75219
REED JAMES C (407204)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                                   STREET, SUITE 600
REED JAMES L JR (429674)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                   STREET, SUITE 600
REED JEFFREY A                 4130 BUELL DR                                                                                    FORT WAYNE        IN 46807‐2333
REED JOE                       PO BOX 145                                                                                       BOYLE             MS 38730‐0145
REED JOE BARNETT (429675)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                   STREET, SUITE 600
REED JOHN & AMY                C/O STERLING FINANCIAL TRUST        33 CARLISLE ST                                               HANOVER           PA 17331‐2404
REED JOHN A (491680)           CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                        CLEVELAND         OH 44113‐1328
                               COONE AND ASSOCIATES
REED JOHN J (462222)           ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET , ONE                                   BALTIMORE         MD 21202
                                                                   CHARLES CENTER 22ND FLOOR
REED JOSEPH A III (436507)     ANGELOS PETER G LAW OFFICES OF      100 PENN SQUARE EAST , THE                                   PHILADELPHIA      PA 19107
                                                                   WANAMAKER BUILDING
REED JOSEPH W (400376)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                   STREET, SUITE 600
REED JR, ANDREW J              20095 PIERSON ST                                                                                 DETROIT           MI   48219‐1356
REED JR, BENNIE S              2524 OAK FOREST DR                                                                               ANTIOCH           TN   37013‐1841
REED JR, BOYD N                4506 S WIGGER ST                                                                                 MARION            IN   46953‐5319
REED JR, CHARLES A             1836 RAVEN GLEN DR                                                                               RUSKIN            FL   33570‐3219
REED JR, CHARLES E             109 BRAD N CRIS DR                                                                               HOUGHTON LAKE     MI   48629‐9793
REED JR, CHARLES T             1132 ANGIERS DR                                                                                  DAYTON            OH   45408‐2409
REED JR, CHARLES T             4706 MARTIN RD                                                                                   FLOWERY BR        GA   30542‐3507
REED JR, CHARLES W             3606 PLUM BROOK CIR                                                                              SANDUSKY          OH   44870‐6052
REED JR, CLAUDE S              1683 RIDGEWOOD DR                                                                                SALEM             OH   44460‐3945
REED JR, CLYDE D               6795 N 14TH ST                                                                                   KALAMAZOO         MI   49009‐5459
REED JR, COLEMAN               2732 WEBB ST                                                                                     DETROIT           MI   48206‐3103
REED JR, CURTIS                1506 STIRLING LAKES DR                                                                           PONTIAC           MI   48340‐1374
REED JR, ELROY                 29516 HAZELWOOD ST                                                                               INKSTER           MI   48141‐1542
REED JR, FRANK                 5406 WOODLAND RIDGE DR. BLDG2                                                                    FLINT             MI   48532
REED JR, FRANK J               21271 W HIGHWAY 40 LOT 17                                                                        DUNNELLON         FL   34431‐6028
REED JR, FRANKLIN              9136 RANCH MEADOWS DR                                                                            SAINT LOUIS       MO   63136‐3954
REED JR, GARLAND               2418 CARNEGIE ST                                                                                 DAYTON            OH   45406‐1413
REED JR, JAMES H               569 THORNHILL CT                                                                                 BELLEVILLE        MI   48111‐4929
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Name                         Address1                        Address2                       Address3   Address4         City             State Zip
REED JR, JOHN H              PO BOX 251                                                                                 MALAKOFF          TX 75148‐0251
REED JR, JOHN L              1508 EMERALD LAKE CIR A101                                                                 ELIZABETH CITY    NC 27909
REED JR, JOHN R              1192 LIVEOAK CT                                                                            CINCINNATI        OH 45224‐1513
REED JR, JOHN R              32 NOTTINGHAM DR                                                                           BELLE VERNON      PA 15012‐9369
REED JR, JOHNNIE             5530 MILLWICK DR                                                                           ALPHARETTA        GA 30005‐2572
REED JR, JOSEPH D            4732 SOUTHVIEW DR                                                                          ANDERSON          IN 46013‐4757
REED JR, LAWRENCE            PO BOX 355                                                                                 WENTZVILLE        MO 63385‐0355
REED JR, LEMUEL T            349 ARLINGTON BLVD                                                                         NEWTON FALLS      OH 44444‐1764
REED JR, NORRIS              518 S BAY DR                                                                               GILBERT           AZ 85233‐6539
REED JR, ORA W               1221 WATERMAN ST                                                                           DETROIT           MI 48209‐2257
REED JR, ORIN S              4325 STUART AVE                                                                            TITUSVILLE        FL 32780
REED JR, ORIN S              3200 ALBRIGHT RD                                                                           KOKOMO            IN 46902‐3911
REED JR, OTIS                6411 SANTA ANITA DR                                                                        SAGINAW           MI 48603‐6178
REED JR, RICHARD             12503 JACKSON AVE                                                                          GRANDVIEW         MO 64030‐1526
REED JR, RICHARD             1350 SUN MARSH DR                                                                          JACKSONVILLE      FL 32225‐5828
REED JR, ROBERT D            7575 MC LIN DRIVE                                                                          DAYTON            OH 45418‐1133
REED JR, ROBERT D            7575 MCLIN DR                                                                              DAYTON            OH 45418‐1133
REED JR, ROBERT L            11805 SWAN CREEK RD                                                                        SAGINAW           MI 48609‐9767
REED JR, SAM                 18034 ROSELAWN                                                                             DETROIT           MI 48221
REED JR, THEODORE R          2696 S CANAL RD                                                                            EATON RAPIDS      MI 48827‐9391
REED JR, TIMOTHY             62 PERKINTOWN RD                                                                           PEDRICKTOWN       NJ 08067‐3201
REED JR, WALTER A            R R 2 BOX 213                                                                              BRIDGETON         NJ 08302
REED JR, WILBERT             112 DAVENPORT CIR                                                                          MONROE            LA 71202‐6532
REED JR, WILBERT             3315 TIMBERVIEW ST                                                                         FLINT             MI 48532‐3756
REED JR, WILLIAM T           4192 ADRIANNE WAY                                                                          RANDALLSTOWN      MD 21133‐4349
REED JR, WILLIE C            2244 W BOSTON BLVD                                                                         DETROIT           MI 48206‐1731
REED JR, WILLIE L            700 RALSTON AVE APT 106                                                                    DEFIANCE          OH 43512‐1574
REED JR., MOSES D            2405 S 16TH AVE                                                                            BROADVIEW          IL 60155‐4015
REED KENNETH L (467054)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510
                                                             STREET, SUITE 600
REED KIEON                   4708 COURVILLE ST                                                                          DETROIT          MI   48224‐2783
REED L MULLINS               PO BOX 519                                                                                 ALLARDT          TN   38504‐‐ 05
REED LAWHUN                  373 POMERENE RD                                                                            MANSFIELD        OH   44906‐6014
REED LE DUC                  2185 HUNTERS CREEK RD                                                                      METAMORA         MI   48455‐9351
REED LINDA M                 PO BOX 80206                                                                               LANSING          MI   48908‐0206
REED LOGAN                   124 RANDON TER                                                                             LAKE MARY        FL   32746‐2629
REED LONNIE (663707)         KEAHEY G PATTERSON JR           ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM       AL   35209
                                                             612
REED MARIETTA                REED, MARIETTA L                2980 MALIBU DR SW                                          WARREN           OH 44481
REED MARIETTA L 3RD ACTION   REED, MARIETTA
REED MCMILLAN                5180 HIGHPOINT DR                                                                          SWARTZ CREEK     MI   48473‐8902
REED MECHANICAL EQUIPMENT    REED INDUSTRIAL SYSTEMS INC     PO BOX 6631                                                SHREVEPORT       LA   71136‐6631
REED MICHAEL                 88 HAMPSHIRE LN                                                                            BERKELEY SPGS    WV   25411‐3232
REED MICHAEL E               APT 106                         1575 EAST 13 MILE ROAD                                     MADISON HTS      MI   48071‐5012
REED MICHAEL L (410954)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510
                                                             STREET, SUITE 600
REED MORRIS M & IRENE V      1550 TAIT RD SW                                                                            WARREN           OH   44481‐9644
REED MULLINS                 PO BOX 519                                                                                 ALLARDT          TN   38504‐0519
REED NOLAN JR                830 FAIRLEDGE ST                                                                           LAKE ORION       MI   48362‐2612
REED PATTI                   ALFA MUTUAL INSURANCE COMPANY   PO BOX 230759                                              MONTGOMERY       AL   36123‐0759
REED PATTI                   REED, PATTI                     PO BOX 230759                                              MONTGOMERY       AL   36123‐0759
REED RICHARD                 7600 MAHONING AVE                                                                          LISBON           OH   44432‐9300
                                09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
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Name                            Address1                            Address2                           Address3                    Address4           City               State Zip
REED ROBERT                     1446 SHADYBROOK DR                                                                                                    BATON ROUGE         LA 70816‐1585
REED ROBERT                     1410 STATE ROUTE 147                                                                                                  DALMATIA            PA 17017‐7403
REED SAMUEL (357418)            PAUL REICH & MYERS P.C.             1608 WALNUT ST STE 500                                                            PHILADELPHIA        PA 19103‐5446
REED SAMUEL (485715)            ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                                          WILMINGTON          DE 19801‐1813
REED SARAH                      1957 MAIN ST                                                                                                          FAYETTE             ME 04349‐3500
REED SCHROEDER                  PO BOX 64                                                                                                             MOUNT MORRIS        MI 48458‐0064
REED SMITH LLP                  2500 ONE LIBERTY PLACE              1650 MARKET STREET                                                                PHILADELPHIA        PA 19103
REED SMITH LLP                  PO BOX 759052                                                                                                         BALTIMORE           MD 21275‐9052
REED SMITH LLP                  ATTORNEYS FOR INFINEON TECHNOLOGIES ATTN: DEBRA S TURETSKY             599 LEXINGTON AVENUE        28TH FLOOR         NEW YORK            NY 10022
                                AG AND INFINEON TECHNOLOGIES NORTH

REED SMITH LLP                  ATTORNEYS FOR INFINEON TECHNOLIGIES ATTN: STEPHEN T BOBO & ANN E       10 SOUTH WACKER DRIVE       40TH FLOOR         CHICAGO             IL   60606
                                AG & INFINEON TECHNOLOGIES N. A.    PILLE

REED SMITH LLP                  ATTY FOR UNITED STATES STEEL         ATT ERIC A. SCHAFFER, ESQ.        435 SIXTH AVE.                                 PITTSBURGH         PA 15219
                                CORPORATION
REED SMITH LLP                  ATT: ERIC A. SCHAFFER, ESQ.          435 SIXTH AVENUE                                                                 PITTSBURGH         PA 15219
REED SMITH LLP                  ATTY FOR UNITED STATES STEEL         ATT: KURT F. GWYNNE, ESQ.         1201 MARKET STREET, SUITE                      WILMINGTON         DE 19801
                                CORPORATION                                                            1500
REED SMITH LLP                  ATTORNEYS FOR UNITED STATES STEEL    KURT F. GWYNNE                    1201 N. MARKET STREET STE                      WILMINGTON         DE 19801
                                CORPORATION                                                            1500
REED SMITH LLP                  REED SMITH LLP                       MARK D. SILVERSCHOLTZ             599 LEXINGTON AVENUE, 22                       NEW YORK           NY 10022
                                                                                                       FL
REED SMITH LLP                  ATTN: DEBRA S. TURETSKY              599 LEXINGTON AVENUE              28TH FLOOR                                     NEW YORK           NY 10022
REED SMITH LLP                  ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX                                                                           PHILADELPHIA       PA 19175‐4055
                                AGENT
REED SMITH SHAW & MCCLAY LLP    225 57TH AVE                         STE 1200                                                                         PITTSBURGH         PA    15222‐2716
REED SMITH SHAW & MCCLAY LLP    1301 K ST NW STE 1100 E TOWER                                                                                         WASHINGTON         DC    20005
REED SR, DONALD                 1253 N 35TH ST                                                                                                        EAST SAINT LOUIS   IL    62204‐3066
REED SR, ERVIN L                10791 COLBY LAKE RD                                                                                                   PERRY              MI    48872‐9795
REED SR, JAMES T                1832 BROOKLINE AVE                                                                                                    DAYTON             OH    45420‐1954
REED SR, JERRY C                189 W STATE ST                                                                                                        BARBERTON          OH    44203‐1581
REED STANLEY N (500710)         EARLY LUDWICK & SWEENEY L.L.C.       ONE CENTURY TOWER, 11TH FLOOR ,                                                  NEW HAVEN          CT    06510
                                                                     265 CHURCH STREET
REED STOVER & OCONNOR           151 S ROSE ST STE 800                                                                                                 KALAMAZOO          MI 49007‐4718
REED SWANTON                    8610 E WASHINGTON RD                                                                                                  SAGINAW            MI 48601‐9690
REED TECHNOLOGY & INFORMATION   PO BOX 72477518                                                                                                       PHILADELPHIA       PA 19170‐0001
SERVICES INC
REED THOMAS                     REED, THOMAS                         1790 WILMINGTON PIKE SUITE 200                                                   GLEN MILLS         PA 19342
                                                                     THE SPEAKMAN HOUSE
REED THOMAS H SR (431455)       PORTER & MALOUF PA                   4670 MCWILLIE DR                                                                 JACKSON            MS 39206‐5621
REED TOMMY (436638)             COHAN LAWRENCE R                     1900 DELANCEY PLACE , 1710                                                       PHILADELPHIA       PA 19103
                                                                     SPRUCE ST
REED TRACY                      REED, TRACY                          438 S 49TH AVE                                                                   CICERO             IL    60804
REED TRAVIS                     809 HILLSIDE DRIVE                                                                                                    FORT SMITH         AR    72908‐7652
REED TWILA                      211 HOLBERT LN                                                                                                        MAIDSVILLE         WV    26541‐8119
REED VICKY                      622 W MAPLE ST                                                                                                        HINSDALE           IL    60521‐3141
REED WILLIAM                    3520 BOHICKET ROAD                                                                                                    JOHNS ISLAND       SC    29455‐7223
REED WILLIAM C                  DBA REEDS EMBROIDERY                 5375 HILLSBORO RD                                                                DAVISBURG          MI    48350‐3828
REED WILLIAM C (452588)         SIEBEN POLK LAVERDIERE & DUSICH      999 WESTVIEW DR                                                                  HASTINGS           MN    55033‐2432
REED WILLIAM R (319567)         JACOBS & CRUMPLAR P.A.               PO BOX 1271                       2 EAST 7TH ST                                  WILMINGTON         DE    19899‐1271
REED WILLIAMS                   4870 HUBBARD DR                                                                                                       TROY               MI    48085‐5015
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Name                     Address1                         Address2                        Address3   Address4         City               State Zip
REED WINIFRED (492131)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                          PROFESSIONAL BLDG
REED WOFFORD             316 LAURA LN                                                                                 GRAND PRAIRIE      TX   75052‐2805
REED YVONNE              16213 N 9TH PL                                                                               PHOENIX            AZ   85022‐2644
REED#, PAMELA G          PO BOX 1627                                                                                  GAINESVILLE        GA   30503‐1627
REED'S SERVICE           15 N. STEPHENSON                                                                             CEDARVILLE         IL   61013
REED, AARON D            4101 DOANE HIGHWAY                                                                           POTTERVILLE        MI   48876‐9715
REED, ADA P              PO BOX 476                                                                                   HAMILTON           OH   45012‐0476
REED, ALAN A             140 COTTONWOOD DR                                                                            FRANKLIN           TN   37069‐4152
REED, ALBERT L           APT A                            2415 PERRYSVILLE ROAD                                       DANVILLE           IL   61834‐7711
REED, ALBERTA M          4119 RYAN CT                                                                                 KOKOMO             IN   46902‐4491
REED, ALDAH              672 HELEN ST                                                                                 MOUNT MORRIS       MI   48458‐1925
REED, ALEXANDRIA E       8437 KELVIN AVE                                                                              WINNETKA           CA   91306
REED, ALFRED             6150 W MICHIGAN AVE APT K‐10                                                                 LANSING            MI   48917‐4703
REED, ALFRED             SHANNON LAW FIRM                 100 W GALLATIN ST                                           HAZLEHURST         MS   39083‐3007
REED, ALGEA              3020 MARIGOLD DR                                                                             GRAND PRAIRIE      TX   75052‐7787
REED, ALICE M            4120 BEGG BLVD                                                                               SAINT LOUIS        MO   63121‐3143
REED, ALICE P            9545 WEST FAIRGROVE ROAD                                                                     REESE              MI   48757‐9513
REED, ALICE S            320 LYNNHAVEN DR                                                                             DAYTON             OH   45431‐1964
REED, ALLAN R            36333 GARFIELD RD APT 137                                                                    CLINTON TOWNSHIP   MI   48035‐1178
REED, ALONZO             7309 NATURAL BRIDGE RD APT 201                                                               SAINT LOUIS        MO   63121
REED, ANDRE K            2988 MAKLEY DR                                                                               LIMA               OH   45805‐2929
REED, ANDREA K           6801 JEANELL LN                                                                              ARLINGTON          TX   76001‐6754
REED, ANDREA KATRESE     6801 JEANELL LN                                                                              ARLINGTON          TX   76001‐6754
REED, ANDREW C           4634 MORGAN DR                                                                               COLUMBIAVILLE      MI   48421‐9624
REED, ANDREW C.          4634 MORGAN DR                                                                               COLUMBIAVILLE      MI   48421‐9624
REED, ANDREW J           20095 PIERSON ST                                                                             DETROIT            MI   48219‐1356
REED, ANDREW J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
REED, ANDREW J           JENKINS, DOUGLAS T               107 E MAIN ST STE 321                                       ROGERSVILLE        TN   37857‐3640
REED, ANDREW L           PO BOX 970611                                                                                YPSILANTI          MI   48197‐0811
REED, ANITA L            4011 BIG HORN BND                                                                            SAN ANTONIO        TX   78253‐5476
REED, ANNA J             1120 N COUNTY ROAD 275 E                                                                     MUNCIE             IN   47303‐8800
REED, ANNA P             12420 MURIEL DR                  C/O REBECCA OLES                                            WARREN             MI   48093‐5044
REED, ANNA R             17286 40TH RUN N                                                                             LOXAHATCHEE        FL   33470‐3657
REED, ANNETTE            515 S COUNTY ROAD 850 W                                                                      YORKTOWN           IN   47396
REED, ANNIE M            18269 STOUT ST                                                                               DETROIT            MI   48219‐5708
REED, ANTHONY M          7951 SILVER BIRCH DR                                                                         COLORADO SPRINGS   CO   80927
REED, ANTHONY W          8168 SUE AVE                                                                                 FRANKLIN           OH   45005‐4162
REED, ARCHIE L           PO BOX 1622                                                                                  MCCOMB             MS   39649‐1622
REED, ARMILDA L          4619 GLEN MOOR WAY                                                                           KOKOMO             IN   46902‐9102
REED, ARNOLD             20030 MOENART ST                                                                             DETROIT            MI   48234‐2321
REED, ARNOLD D           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
REED, ARTHUR J           2469 COBURN LN                                                                               SHREVEPORT         LA   71107‐6027
REED, ARTHUR O           8726 HIGHWAY E                                                                               ARCADIA            MO   63621‐9107
REED, ASHLEY A           9760 CABLE LINE RD                                                                           DIAMOND            OH   44412‐9713
REED, ASHLEY A.          9760 CABLE LINE RD                                                                           DIAMOND            OH   44412‐9713
REED, AUTION G           20501 PIERSON ST                                                                             DETROIT            MI   48219‐1354
REED, AVERY              1901 TWEED CT                                                                                LEESBURG           FL   34788‐7621
REED, AVERY V            7005 FLOWERDALE AVE                                                                          CLEVELAND          OH   44144‐4212
REED, B J                1750 E OCEAN BLVD UNIT 1512                                                                  LONG BEACH         CA   90802‐6070
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Name                            Address1                        Address2                Address3     Address4         City            State Zip
REED, BARBARA                   6411 SANTA ANITA DR                                                                   SAGINAW          MI 48603‐6178
REED, BARBARA                   21523 CAMBRIDGE AVE                                                                   DETROIT          MI 48219‐1919
REED, BARBARA                   5659 HIDDEN LAKE DR                                                                   LOCKPORT         NY 14094‐6282
REED, BARBARA B                 124 ROSE LN                                                                           NAPLES           FL 34114‐8134
REED, BARBARA J                 9 DUNN LN                                                                             LEOMA            TN 38468‐5237
REED, BARBARA J                 9 DUNNLANE                                                                            LEOMA            TN 38468‐5237
REED, BARBARA O                 5704 LIMESTONE RD                                                                     WILMINGTON       DE 19808‐1216
REED, BEATRICE L                6253 LENNON RD                                                                        SWARTZ CREEK     MI 48473‐7924
REED, BELETHA                   13642 CHERRYLAWN ST                                                                   DETROIT          MI 48238‐2470
REED, BEN                       10996 COUNTY ROAD 214                                                                 TYLER            TX 75707‐4710
REED, BENJAMIN (MINOR INFANT)
REED, BENNIE                    25 SYCAMORE CT                                                                        ANTIOCH         TN   37013‐4304
REED, BERNADINE M               100 MEADOW LAKE CT              C/O REBECCA A CLARK                                   KENNEDALE       TX   76060‐5418
REED, BERNARD                   PO BOX 753                                                                            CARROLLTON      MI   48724‐0753
REED, BERNICE                   61 DWIGHT AVE                                                                         PONTIAC         MI   48341‐1273
REED, BERNICE A                 5406 WOODLAND RIDGE DR BLDG2                                                          FLINT           MI   48532
REED, BERTHA M                  14941 BROOKVIEW DR APT 101                                                            RIVERVIEW       MI   48193‐8017
REED, BERTHA M                  14941 BROOKVIEW DR              APT 101                                               RIVERVIEW       MI   48193‐8017
REED, BETTIE B                  9009 SAMOSET RD                                                                       RANDALLSTOWN    MD   21133‐3724
REED, BETTY                     PO BOX 17692                                                                          DAYTON          OH   45417‐0692
REED, BETTY D                   53533 FRY RD                                                                          PLEASANT CITY   OH   43772‐9620
REED, BETTY D                   53533 FRY ROAD                                                                        PLEASANT CITY   OH   43772‐9620
REED, BETTY J                   4200 BUCKLAND SQUARE                                                                  OWNSBORO        KY   42301
REED, BETTY J                   180 N INDIANA STREET                                                                  MOORESVILLE     IN   46158‐1506
REED, BETTY J                   3920 BUCKLAND SQ                                                                      OWENSBORO       KY   42301‐6616
REED, BETTY L                   6403 E 500 S                                                                          WHITESTOWN      IN   46075‐9568
REED, BETTY Y                   90 N 6TH ST                                                                           ZIONSVILLE      IN   46077‐1350
REED, BEULAH M                  1013 MISSION HILLS DR APT A                                                           GREENWOOD       IN   46143‐2208
REED, BEULAH M                  1013 MISSION HILLS DR           APT A                                                 GREENWOOD       IN   46143
REED, BEVERLEY J                16115 MAUBERT AVE                                                                     SAN LEANDRO     CA   94578‐2131
REED, BEVERLY                   3239 MICHIGAN RD R#1                                                                  DIMONDALE       MI   48821‐8749
REED, BEVERLY A                 139 E NORTH WATER ST                                                                  LEWISBURG       OH   45338‐8050
REED, BEVERLY A                 PO BOX 74051                                                                          ROMULUS         MI   48174
REED, BILLIE R                  2509 RODEO ST                                                                         FORT WORTH      TX   76119‐4636
REED, BILLY A                   441 MEADE DRIVE R 2                                                                   LANSING         MI   48917
REED, BILLY R                   5214 SPINNING WHEEL DR                                                                GRAND BLANC     MI   48439‐4228
REED, BOBBY F                   7591 DARL DR                                                                          MIDDLETOWN      OH   45042‐1005
REED, BOBBY F                   7591 DARL LN                                                                          MIDDLETOWN      OH   45042‐1005
REED, BOBBY G                   DALEY ROBERT                    707 GRANT ST STE 2500                                 PITTSBURGH      PA   15219‐1945
REED, BOBBY G                   124 ROSE LN                                                                           NAPLES          FL   34114‐8134
REED, BOBBY J                   1041 COY ST                                                                           MOUNT MORRIS    MI   48458‐1732
REED, BOBBY R                   2760 HIGHWAY 81                                                                       LOGANVILLE      GA   30052‐4318
REED, BOYD                      4210 FEE FEE RD                                                                       BRIDGETON       MO   63044‐2216
REED, BRADLEY O                 59 SHERWOOD DR                                                                        PITTSFIELD      MA   01201‐5911
REED, BRANDON                   25407 PIPESTREAM DRIVE                                                                MAGNOLIA        TX   77355
REED, BRENDA L                  29102 RACHID LN                                                                       CHESTERFIELD    MI   48047‐6022
REED, BRIAN A                   10258 CARPENTER RD                                                                    FLUSHING        MI   48433‐1050
REED, BRIAN W                   10430 E NEWBURG RD                                                                    DURAND          MI   48429‐1759
REED, BRISCOE                   9340 CANYON SHADOWS LN                                                                LAS VEGAS       NV   89117‐7124
REED, BRUCE C                   1001 S TIGER DR                                                                       YORKTOWN        IN   47396‐9312
REED, BRUCE E                   8280 N COCHRAN RD                                                                     GRAND LEDGE     MI   48837‐9437
REED, BRUCE H                   PO BOX 34                                                                             OAKWOOD         GA   30566‐0001
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Name                Address1                          Address2                        Address3                   Address4         City            State Zip
REED, BRUCE R       949 W CABRIOLET                                                                                               PENDLETON        IN 46064‐8832
REED, BRUCE RALPH   949 W CABRIOLET                                                                                               PENDLETON        IN 46064‐8832
REED, BRYAN D       1618 GLENBROOKE CT                                                                                            ROCHESTER HLS    MI 48307‐3005
REED, BRYANT A      SHANNON LAW FIRM                  100 W GALLATIN ST                                                           HAZLEHURST       MS 39083‐3007
REED, BURTON E      992 W WEST BRANCH RD                                                                                          PRUDENVILLE      MI 48651‐9430
REED, CALVIN        315 SOUTHGATE DR                                                                                              LOCUST GROVE     GA 30248‐4237
REED, CARL          C/O SAVILLE & FLINT LLC           322 E BROADWAY PO BOX 602                                                   ALTON             IL 62002
REED, CARL          24385 PALM DRIVE                                                                                              NORTH OLMSTED    OH 44070‐2849
REED, CARL A        20 OAK HAVEN                                                                                                  CAMBY            IN 46113
REED, CARL B        2576 BLOOMFIELD RD                                                                                            PRESTON          MS 39354‐8753
REED, CARL E        3249 60TH AVE                                                                                                 SEARS            MI 49679‐8144
REED, CARL M        8772 Q AVE                                                                                                    MATTAWAN         MI 49071‐9417
REED, CARL M        6915 OLIVER RD                                                                                                FOSTORIA         MI 48435‐9403
REED, CARL RAY      SHANNON LAW FIRM                  100 W GALLATIN ST                                                           HAZLEHURST       MS 39083‐3007
REED, CARLA         COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                                     HOUSTON          TX 77002‐1751
REED, CARNELL       2189 ORBITT DR                                                                                                SAINT LOUIS      MO 63136‐5627
REED, CAROL A       3216 W 300 S                                                                                                  KOKOMO           IN 46902‐4747
REED, CAROL F       2260 HILL CREEK WAY                                                                                           MARIETTA         GA 30062‐6391
REED, CAROL L       209 LANSDOWNE BLVD                                                                                            YOUNGSTOWN       OH 44506‐1138
REED, CAROLYN A     5369 BITTNER CT                                                                                               NOBLESVILLE      IN 46062‐7143
REED, CAROLYN A     1649 VALDOSTA CIR                                                                                             PONTIAC          MI 48340‐1083
REED, CAROLYN P     839 WOODFORD AVE                                                                                              YOUNGSTOWN       OH 44511‐2333
REED, CARRIE C      31 1/2 SHERIDAN AVE                                                                                           TRENTON          NJ 08609‐1119
REED, CATHERINE L   1462 BEAVER CIR                                                                                               COLUMBIANA       OH 44408‐9534
REED, CATHERINE M   335 DAINGERFIELD ST                                                                                           PITTSBURG        TX 75686‐1403
REED, CATHRYNE P    7614 E MINTON PL                                                                                              MESA             AZ 85207‐1229
REED, CECELIA       18003 SCHENELY AVE                                                                                            CLEVELAND        OH 44119‐2044
REED, CELIA M       789 US HWY 42                                                                                                 ASHLAND          OH 44805‐9515
REED, CH INC        301 POPLAR ST                     PO BOX 524                                                                  HANOVER          PA 17331‐2359
REED, CHARLES       SINGLETON BRUCE                   PO BOX 1233                     106 WEST COLUMBIA STREET                    SOMERSET         KY 42502‐1233

REED, CHARLES       LAW OFFICES OF RICHARD HAY        PO BOX 1124                     203 WEST COLUMBIA STREET                    SOMERSET         KY   42502‐1124

REED, CHARLES       PORTER & MALOUF PA                4670 MCWILLIE DR                                                            JACKSON         MS 39206‐5621
REED, CHARLES       DELUCA AARON J PLLC               21021 SPRINGBROOK PLAZA DRIVE                                               SPRING          TX 77379
                                                      SUITE 150
REED, CHARLES C     C/O GLASSER AND GLASSER           CROWN CENTER 580 EAST MAIN                                                  NORFOLK         VA 23510‐2212
                                                      STREET SUITE 600
REED, CHARLES C     3306 W 52ND ST                                                                                                CLEVELAND       OH    44102‐5846
REED, CHARLES D     724 DENNIS ST                                                                                                 ADRIAN          MI    49221‐3836
REED, CHARLES E     17401 ROSELAWN ST                                                                                             DETROIT         MI    48221‐2554
REED, CHARLES E     1252 JEFFERY ST                                                                                               YPSILANTI       MI    48198‐6318
REED, CHARLES E     1420 REISIG RD                                                                                                SAGINAW         MI    48604‐9719
REED, CHARLES E     4765 LILLY CHAPEL OPOSSUM RD                                                                                  LONDON          OH    43140‐8874
REED, CHARLES L     1051 SOUTH DETROIT STREET                                                                                     XENIA           OH    45385‐5403
REED, CHARLES L     212 MAPLE LEAF ST                                                                                             DEARBORN        MO    64439‐9085
REED, CHARLES M     1382 W RIVER PARK DR                                                                                          INKSTER         MI    48141‐1837
REED, CHARLES M     4845 LITTLE RICHMOND RD                                                                                       DAYTON          OH    45426‐3203
REED, CHARLES S     1441 MAPLE DR APT 16                                                                                          FAIRVIEW        MI    48621‐8708
REED, CHARLES T     2272 E COUNTY ROAD 651 N                                                                                      PITTSBORO       IN    46167‐9019
REED, CHARLES W     760 KENOWOOD DRIVE                                                                                            PORT ORANGE     FL    32129‐4265
REED, CHARLES W     662 HESTOR DR                                                                                                 PITTSBURGH      PA    15220‐5219
                      09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                  Address1                       Address2                       Address3   Address4         City           State Zip
REED, CHAZ            409 HILLCREST ROAD                                                                        SHERWOOD        AR 72120‐2407
REED, CHESTER O       5460 STATE ROUTE 45                                                                       BRISTOLVILLE    OH 44402‐9601
REED, CHRISTOPHER S   3400 N SQUIRREL RD                                                                        AUBURN HILLS    MI 48326‐3947
REED, CLARE MARIE     1435 FRY ROAD                                                                             BURT            MI 48417
REED, CLARENCE        3707 ROLLISTON RD                                                                         SHAKER HTS      OH 44120‐5141
REED, CLARENCE E      21185 POINCIANA                                                                           SOUTHFIELD      MI 48034‐3540
REED, CLARENCE L      KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                               CLEVELAND       OH 44114
                                                     BOND COURT BUILDING
REED, CLARENCE M      55 NONA DR                                                                                TROTWOOD       OH   45426‐3010
REED, CLARICE         3816 GRADY ST                                                                             FOREST HILL    TX   76119‐7331
REED, CLAUDINE T      909 DALTON AVE                                                                            HERMITAGE      PA   16148‐2046
REED, CLIFFORD L      4268 W 400 S                                                                              ANDERSON       IN   46011‐9457
REED, CLIFFORD V      22245 PETOSKY DRIVE                                                                       STANWOOD       MI   49346
REED, CLINTON         1801 MARLOWE DR                                                                           FLINT          MI   48504‐7097
REED, CLYDE           17171 GODDARD ST                                                                          DETROIT        MI   48212‐1539
REED, CLYDE A         PO BOX 207                                                                                SELMA          IN   47383‐0207
REED, CLYDE H         204 WILL SCARLET LN                                                                       HARTLY         DE   19953‐3071
REED, CONRAD T        50384 BOG RD                                                                              BELLEVILLE     MI   48111‐2582
REED, CORIE
REED, CORNELIUS G     406 W WITHERBEE ST                                                                        FLINT          MI   48503‐1082
REED, CORRINE         PO BOX 198                                                                                HARROGATE      TN   37752‐0198
REED, CRAIG A         809 WINONA DR                                                                             YOUNGSTOWN     OH   44511‐1474
REED, CRAIG ANTHONY   809 WINONA DR                                                                             YOUNGSTOWN     OH   44511‐1474
REED, CREACY F        1008 COMPARET ST                                                                          FORT WAYNE     IN   46803‐1237
REED, CRISEN S        7954 MARKET ST APT 1                                                                      BOARDMAN       OH   44512‐5937
REED, CRISEN S        339 MATHEWS RD                                                                            YOUNGSTOWN     OH   44512‐3048
REED, CURTIS          945 BROOKWOOD RUN DR SW                                                                   LILBURN        GA   30047‐7626
REED, CURTIS L        1125 LASALLE ST                                                                           WATERFORD      MI   48328
REED, CYNTHIA G       1353 109TH AVE                                                                            OTSEGO         MI   49078‐9766
REED, CYNTHIA GAIL    1353 109TH AVE                                                                            OTSEGO         MI   49078‐9766
REED, CYNTHIA L       1415 EASTLAND AVE                                                                         NASHVILLE      TN   37206‐2626
REED, DALE E          18840 EMERALD RIDGE DR                                                                    HUDSON         FL   34667‐6685
REED, DALE J          11289 SUMMERFIELD RD                                                                      PETERSBURG     MI   49270‐9310
REED, DALE JAMES      11289 SUMMERFIELD RD                                                                      PETERSBURG     MI   49270‐9310
REED, DALE W          7560 BUELL RD                                                                             VASSAR         MI   48768‐9650
REED, DALE W          5454 MUNFORDVILLE RD                                                                      SONORA         KY   42776‐9425
REED, DALLAS R        4240 CHILDERS DR                                                                          CABOOL         MO   65689‐8912
REED, DANA R          HC BOX 90                                                                                 ALEX           OK   73002
REED, DANIEL          8113 KNODELL ST                                                                           DETROIT        MI   48213‐1040
REED, DANIEL
REED, DANIEL D        9760 CABLE LINE RD                                                                        DIAMOND        OH   44412‐9713
REED, DANIEL D        STEVEN J JACOBSON              5701 NW 88TH AVE STE 320                                   TAMARAC        FL   33321‐4400
REED, DANIEL J        9222 SHARP RD                                                                             SWARTZ CREEK   MI   48473‐9177
REED, DANIEL JAY      9222 SHARP RD                                                                             SWARTZ CREEK   MI   48473‐9177
REED, DANIEL R        45 N EIFERT RD                                                                            MASON          MI   48854‐9550
REED, DARREL F        5201 N COUNTY ROAD 925 W                                                                  YORKTOWN       IN   47396‐9469
REED, DARRELL         217 N WILLIAMS ST                                                                         MONETTE        AR   72447‐9267
REED, DARRELL R       165 VERNON PL                                                                             CARLISLE       OH   45005‐3779
REED, DARRELL W       1025 GRISWOLD RD                                                                          FAIRFIELD      AL   35064‐2815
REED, DAVID           5273 FARM RD                                                                              WATERFORD      MI   48327‐2421
REED, DAVID           868 PROVINCETOWN RD                                                                       AUBURN HILLS   MI   48326‐3449
REED, DAVID           ROOFIAN MICHAEL & ASSOCIATES   11766 WILSHIRE BLVD FL 6                                   LOS ANGELES    CA   90025‐6546
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Name                Address1                        Address2            Address3         Address4         City              State Zip
REED, DAVID A       PO BOX 1631                                                                           DANVILLE            IL 61834‐1631
REED, DAVID B       58070 CYRENUS LN                                                                      WASHINGTON         MI 48094‐2616
REED, DAVID C       PO BOX 101                                                                            SUWANEE            GA 30024‐0101
REED, DAVID E       8438 YOUNG RD                                                                         FORT WAYNE         IN 46835‐9719
REED, DAVID E       862 SHERMAN AVE                                                                       JANESVILLE         WI 53545‐1767
REED, DAVID J       901 W 7TH ST                                                                          COLUMBIA           TN 38401‐3055
REED, DAVID L       623 ROLLING HILLS LN                                                                  LAPEER             MI 48446‐2881
REED, DAVID L       1459 DELMOND AVE                                                                      TOLEDO             OH 43605‐3810
REED, DAVID L       358 SECHRIST FLAT RD                                                                  FELTON             PA 17322‐9233
REED, DAVID L       4640 FIFTH AVE EXT                                                                    YOUNGSTOWN         OH 44505‐4505
REED, DAVID L       715 ALTHEA AVE NW                                                                     WARREN             OH 44483‐2235
REED, DAVID P       11 WILDWOOD DR                                                                        BRUNSWICK          ME 04011‐9363
REED, DAVID R       213 ROCKWELL AVE                                                                      PONTIAC            MI 48341‐2262
REED, DAVID T       139 N LITTLE WOLF RD                                                                  TUPPER LAKE        NY 12986‐1273
REED, DAVID W       PO BOX 407                                                                            WELLINGTON         OH 44090‐0407
REED, DEBBIE D      1116 SE COUNTRY LN                                                                    LEES SUMMIT        MO 64081‐3094
REED, DEBORAH L     3000 W TORQUAY RD                                                                     MUNCIE             IN 47304‐3231
REED, DEBRA A       7550 BAYVIEW CLUD DR            APT 1D                                                INDIANAPOLIS       IN 46250‐2384
REED, DEBRA ANN     7550 BAYVIEW CLUB DR            APT 1 D                                               INDIANAPOLIS       IN 46250‐2384
REED, DEBRA D       296 SCILLION DR                                                                       CALVERT CITY       KY 42029‐8433
REED, DEBRA DEANE   296 SCILLION DRIVE                                                                    CALVERT CITY       KY 42029‐8433
REED, DELLA L       20031 ARDMORE ST                                                                      DETROIT            MI 48235‐1580
REED, DELORES       1440 FARIS AVE                                                                        UNIVERSITY CITY    MO 63130‐1803
REED, DELORES       4027 RICHLYN CT                                                                       BAY CITY           MI 48706‐2430
REED, DELORES       1313 E FAIRCHILD                                                                      DANVILLE            IL 61832‐4101
REED, DELORES H     9365 SEYMOUR RD                                                                       MONTROSE           MI 48457‐9122
REED, DENNIE R      8376 MEADOWLARK DR                                                                    FRANKLIN           OH 45005‐4217
REED, DENNIS E      2796 E PTARMIGAN TRL                                                                  MARION             IN 46953‐4700
REED, DENNIS E      104 N HEATHERTON CT                                                                   GLADSTONE          MO 64118‐3153
REED, DENNIS J      1913 HURD ST                                                                          TOLEDO             OH 43605‐2819
REED, DENNIS M      469 BEAU CT                                                                           SPARKS             NV 89436‐8981
REED, DENNIS M      11504 FLOYD DR APT 2203                                                               OVERLAND PARK      KS 66210‐2217
REED, DENNIS M      5864 S 33RD CT                                                                        MILWAUKEE          WI 53221‐4077
REED, DENNIS R      619 S PIKE ST                                                                         SHELBYVILLE        IN 46176‐2140
REED, DENNIS W      1122 HELEN ST                                                                         GARDEN CITY        MI 48135‐3043
REED, DERALD A      1457 GLEN ELLYN DR                                                                    FLINT              MI 48532‐2640
REED, DEWARD L      BOX 4114 N ARNOLD MILL RD                                                             WOODSTOCK          GA 30188
REED, DEWITT        PO BOX 756                                                                            HEIDELBERG         MS 39439
REED, DIANA         1513 E DARTMOUTH AVE                                                                  MUNCIE             IN 47303‐2220
REED, DIANA KAY     5121 LAUDERDALE DR                                                                    MORAINE            OH 45439‐2928
REED, DIANA L       5495 LOCKWOOD DR                                                                      WATERFORD          MI 48329‐4801
REED, DIANA L       2024 S 720 W                                                                          RUSSIAVILLE        IN 46979‐9427
REED, DIANA LYNN    5495 LOCKWOOD DR                                                                      WATERFORD          MI 48329‐4801
REED, DIANA M       555 FILDEW AVE                                                                        PONTIAC            MI 48341‐2632
REED, DIANA MARIA   555 FILDEW AVE                                                                        PONTIAC            MI 48341‐2632
REED, DIANNE        CONSUMER LEGAL SERVICES P.C.    30928 FORD RD                                         GARDEN CITY        MI 48135‐1803
REED, DICK O        3720 W COUNTY ROAD 1000 N                                                             ROACHDALE          IN 46172‐9569
REED, DOLORES V     661 HELEN ST                                                                          MOUNT MORRIS       MI 48458‐1924
REED, DON H         2122 WAYWARD DR                                                                       ROCHESTER HILLS    MI 48309‐2131
REED, DONALD        SIMMONS FIRM                    PO BOX 521                                            EAST ALTON          IL 62024‐0519
REED, DONALD        BOONE ALEXANDRA                 205 LINDA DR                                          DAINGERFIELD       TX 75638‐2107
REED, DONALD A      1491 W WIELAND RD                                                                     LANSING            MI 48906‐6810
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Name                    Address1                          Address2                     Address3   Address4         City               State Zip
REED, DONALD C          1926 MACARTHUR LN                                                                          SPEEDWAY            IN 46224‐5353
REED, DONALD E          121 FIRESTONE PL                                                                           MEADOWLAKES         TX 78654‐6432
REED, DONALD G          3700 SOUTH WESTPORT AVE. #4026                                                             SIOUX FALLS         SD 57106
REED, DONALD G          617 COMMERCE ST                                                                            WELLSVILLE          OH 43968‐1545
REED, DONALD G          9430 PINCKNEY LANE                                                                         MURRELLS INLET      SC 29576‐8630
REED, DONALD H          13712 SUMMER LN                                                                            GRAND LEDGE         MI 48837‐9247
REED, DONALD J          18890 GOLDFINCH DR                                                                         MORLEY              MI 49336‐9067
REED, DONALD L          53 BILWA TRL                                                                               SWARTZ CREEK        MI 48473‐1611
REED, DONALD L          3378 ECKARD DR #2                                                                          CONNELLYS SPRING    NC 28612‐7844
REED, DONALD L          5404 MIDDLETON DR                                                                          GREENDALE           WI 53129‐1361
REED, DONALD W          9 STODDARD DR                                                                              NEWARK              DE 19702‐2207
REED, DONALD W          1513 SCHULER DRIVE                                                                         KOKOMO              IN 46901‐1931
REED, DONALD W          LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                  MIAMI               FL 33143‐5163
REED, DONNA             1412 SOUTH HARKLESS DR                                                                     SYRACUSE            IN 46567‐1912
REED, DONNA             1384 W SHAFFER RD                                                                          SANFORD             MI 48657‐9329
REED, DONNA             1412 S HARKLESS DR                                                                         SYRACUSE            IN 46567‐1912
REED, DONNA J           PO BOX 134                                                                                 BRIDGEPORT          MI 48722‐0134
REED, DONNA J           2399 RHEA DR                                                                               FLUSHING            MI 48433‐2569
REED, DONNA J           P.O.BOX 134                                                                                BRIDGEPORT          MI 48722‐0134
REED, DONNA M           12285 BALSAM AVE                                                                           SAND LAKE           MI 49343‐9606
REED, DONNIE R          6249 N 100 W                                                                               ALEXANDRIA          IN 46001‐8220
REED, DONNIE T          390 APACHE TRL                                                                             ORMOND BEACH        FL 32174
REED, DOROTHY           22416 E SCHAFER ST                                                                         CLINTON TOWNSHIP    MI 48035‐1867
REED, DOROTHY           3 POPLAR PL                                                                                FANWOOD             NJ 07023‐1715
REED, DOROTHY           1457 GLEN ELLYN DR                                                                         FLINT               MI 48532‐2640
REED, DOROTHY A         122 SOUTH WILDWOOD CROSSINGS      APT 15                                                   LUDINGTON           MI 49431
REED, DOROTHY ALBERTA   4917 RAVENSWOOD DR APT700                                                                  SAN ANTONIO         TX 78227‐4340
REED, DOROTHY F         28697 ELDER DR                                                                             NORTH OLMSTED       OH 44070‐5131
REED, DOROTHY J         610 ABRIGO CT                                                                              SAN RAMON           CA 94583‐1702
REED, DOROTHY L.        8924 WEST DELPHI PIKE                                                                      CONVERSE            IN 46919‐9521
REED, DOROTHY S         760 KENOWOOD DR                                                                            PORT ORANGE         FL 32129‐4265
REED, DORTHY L          609 BELLSWORTH DRIVE                                                                       ST. LOUIS           MO 63125
REED, DOUGLAS           2807 N BAYVIEW LN                                                                          SANDUSKY            OH 44870‐5968
REED, DOUGLAS
REED, DOUGLAS A         3613 S BOOTS ST                                                                            MARION             IN   46953‐4330
REED, DOUGLAS J         431 N MESQUITE ST                                                                          ARLINGTON          TX   76011
REED, DOUGLAS N         849 CHATHAM DR                                                                             MILFORD            MI   48381‐2784
REED, DOYLE L           7691 CARTER DR                                                                             WAYNESVILLE        OH   45068‐8709
REED, DUANE             3620 S EMERY ST                                                                            INDEPENDENCE       MO   64055‐3446
REED, DURENA KAY        3211 SPRING DR                                                                             ANDERSON           IN   46012‐9231
REED, DUSTIN P          11605 E 75TH ST                                                                            RAYTOWN            MO   64138‐2510
REED, DWAYNE E          4654 E AVENUE S 129                                                                        PALMDALE           CA   93552
REED, E M               104 OLD NIAGARA RD                                                                         LOCKPORT           NY   14094‐1500
REED, EARL M            381 ALAMEDA AVENUE                                                                         YOUNGSTOWN         OH   44504‐1454
REED, EARL M            C/O GLASSER AND GLASSER           CROWN CENTER 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                          STREET SUITE 600
REED, EARLENE           2302 MAIN ST                      APT 1                                                    BUFFALO            NY   14214
REED, EARLENE L         706 MADRID DR                                                                              DUNCANVILLE        TX   75116‐3916
REED, EARNEST E         458 HALWICK                                                                                TEMPERANCE         MI   48182‐1093
REED, EDDIE R           425 LUTHER AVE                                                                             PONTIAC            MI   48341‐2604
REED, EDDY D            4366 E 575 N                                                                               WHITELAND          IN   46184‐9401
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Name               Address1                             Address2               Address3   Address4         City               State Zip
REED, EDITH R      8911 NORTHEASTERN BLVD NE APT F103                                                      ALBUQUERQUE         NM 87112‐2729

REED, EDITH R      8911 NORTHEASTERN N.E.               APT F103                                           ALBUQUERQUE        NM    87112
REED, EDW E        PO BOX 221                                                                              GASTON             IN    47342‐0221
REED, EDWARD B     6100 HARVARD RD                                                                         DETROIT            MI    48224‐2012
REED, EDWARD D     246 MARLAY RD                                                                           DAYTON             OH    45405‐1830
REED, EDWARD F     527 SUNNYSLOPE DR                                                                       FLUSHING           MI    48433‐2176
REED, EDWIN A      7955 BYRON CENTER AVE SW             # 9C                                               BYRON CENTER       MI    49315
REED, EDWIN P      9364 LAKE ABBY LN                                                                       BONITA SPRINGS     FL    34135‐8881
REED, EDWIN W      1073 SLATE CROSSING LN UNIT 102                                                         HENDERSON          NV    89002
REED, ELAINE L     10608 HART HWY                                                                          DIMONDALE          MI    48821‐9520
REED, ELAINE L     PO BOX 2424                                                                             KEY WEST           FL    33045‐2424
REED, ELEANOR C    3211 BOXWOOD DR                                                                         FAIRBORN           OH    45324‐2201
REED, ELEANOR L    5489 JOHNSON RD                                                                         FLUSHING           MI    48433‐1144
REED, ELLEN L      1138 RIVERSIDE AVE                                                                      DEFIANCE           OH    43512‐2816
REED, ELLEN L      643 PEACH ORCHARD DRIVE                                                                 WEST CARROLLTON    OH    45449‐1626
REED, ELLEN M      583 E TENNYSON AVE                                                                      PONTIAC            MI    48340‐2955
REED, ELLEN R      301 N TALAMORE AVE                                                                      YORKTOWN           IN    47396‐9101
REED, ELLIS        1504 RANKIN RD                                                                          GREENSBORO         NC    27405‐3714
REED, EMMA L       HOMEWOOD RESIDENCE                   3 HOMEWOOD WAY #5102                               RICHMOND HTS       OH    44143
REED, EMORY G      4131 ELLISON FARM RD                                                                    BRASELTON          GA    30517‐1513
REED, ERA MAE S    4201 HAMILTON MILL ROAD                                                                 BUFORD             GA    30519‐3602
REED, ERIC         10258 CARPENTER RD                                                                      FLUSHING           MI    48433‐1050
REED, ERICA D      2114 BRASSEL CT                                                                         O FALLON           MO    63368‐7159
REED, ERIN         127 HARRIET AVENUE                                                                      LANSING            MI    48917‐3427
REED, ERNEST       10724 WAYBURN ST                                                                        DETROIT            MI    48224‐2470
REED, ERNEST E     3785 TRAVER DR                                                                          NATIONAL CITY      MI    48748‐9551
REED, ESSIE L      339 S CURVE RD                                                                          MC GEHEE           AR    71654
REED, ETHEL E      7850 E LINDEN LN                                                                        PARMA              OH    44130‐7701
REED, EUGENE       1060 COLONY RD                                                                          GRIMSLEY           TN    38565‐5087
REED, EUGENE A     PO BOX 539                           ELLICOTT STATION                                   BUFFALO            NY    14205‐0539
REED, EUGENE H     12759 ELKWOOD ST                                                                        NORTH HOLLYWOOD    CA    91605‐2033
REED, EUGENIA      5411 GARDENDALE AVE                                                                     DAYTON             OH    45427
REED, EVA D        3709 W 26TH ST                                                                          MUNCIE             IN    47302‐4990
REED, EVELYN       13563 ARLINGTON                                                                         DETROIT            MI    48212‐2121
REED, EVELYN O     W 378 DECATUR RD                                                                        BRODHEAD           WI    53520‐9637
REED, EVELYN O     W378 DECATUR RD                                                                         BRODHEAD           WI    53520‐9637
REED, FLORENCE R   PO BOX 760                                                                              NORTHFIELD         NJ    08225
REED, FLOYD J      1738 PENNY LN                                                                           AUSTINTOWN         OH    44515‐4923
REED, FLOYD R      1196 E 340TH ST                                                                         EASTLAKE           OH    44095‐2935
REED, FRANCES A    1154 WILDWOOD DR                                                                        KOKOMO             IN    46901‐1816
REED, FRANCES I    431 E CROGAN ST                                                                         LAWRENCEVILLE      GA    30045‐5076
REED, FRANCES I    431 EAST CROGAN STREET                                                                  LAWRENCEVILLE      GA    30045‐5076
REED, FRANCES K    1811 KENSINGTON DR                                                                      MURFREESBORO       TN    37127‐5992
REED, FRANCES M    2785 AVERY ROAD                                                                         SAINT JOHNS        MI    48879‐9047
REED, FRANCES T    1104 LA PLEINS DR                                                                       EAST SAINT LOUIS    IL   62203‐2212
REED, FRANCIS D    6465 LAKE RD                                                                            MILLINGTON         MI    48746‐9234
REED, FRANK        PO BOX 206043                                                                           LOUISVILLE         KY    40250‐6043
REED, FRANK        7011 DICKEY RD                                                                          MIDDLETOWN         OH    45042‐8918
REED, FRANKIE M    2919 EAST NE YORK ST                                                                    INDIANAPOLIS       IN    46201
REED, FRANKLIN A   793 STATE ROUTE 96 EAST                                                                 SHELBY             OH    44875‐9166
REED, FRANKLIN L   2105 N MAPLEWOOD AVE                                                                    MUNCIE             IN    47304‐2346
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Name                Address1                            Address2                       Address3   Address4         City              State Zip
REED, FRANKLIN W    4521 S OLD STATE ROAD 15                                                                       WABASH             IN 46992‐7802
REED, FRED          8181 PREBLEWOOD DR                                                                             MIDDLETOWN         OH 45042‐9002
REED, FRED          2717 OLD TROY PIKE                                                                             DAYTON             OH 45404‐2173
REED, FRED J        3321 BIRCHBROOK DR                                                                             BAY CITY           MI 48706‐2417
REED, FRED N        PO BOX 332                                                                                     CISNE               IL 62823‐0332
REED, FREDERIC L    8268 N DEAD STREAM RD                                                                          ROSCOMMON          MI 48653‐9583
REED, FREDERICK F   510 MERLIN DR                                                                                  LANSING            MI 48906‐1676
REED, FREDRICK R    214 SOUTH HAMLIN                                                                               CHICAGO             IL 60624
REED, FURMER L      53844 FINCH RD                                                                                 MARCELLUS          MI 49067‐9541
REED, GAIL V        5067 E 300 S                                                                                   HARTFORD CITY      IN 47348‐9048
REED, GAIL VERNON   5067 E 300 S                                                                                   HARTFORD CITY      IN 47348‐9048
REED, GARLAND       3308 CANYON LAKE DR                                                                            LAS VEGAS          NV 89117
REED, GAROLD W      7580 S COUNTY ROAD 25A                                                                         TIPP CITY          OH 45371‐2529
REED, GAROLD W      7580 S. COUNTY RD. 25A                                                                         TIPP CITY          OH 45371‐2529
REED, GARRY S       14800 LEONARD AVE                                                                              LAKEWOOD           OH 44107‐5933
REED, GARY D        3308 PENNYROYAL RD                                                                             FRANKLIN           OH 45005‐1013
REED, GARY D        3312 ALBRIGHT RD                                                                               KOKOMO             IN 46902
REED, GARY DEAN     3308 PENNYROYAL RD                                                                             FRANKLIN           OH 45005‐1013
REED, GARY L        9218 N ALIZARIN WAY                                                                            CITRUS SPRINGS     FL 34434‐4900
REED, GARY M        1950 BUICE CT                                                                                  CUMMING            GA 30028‐3795
REED, GENEVA        9085 PIEDMONT ST                                                                               DETROIT            MI 48228‐1724
REED, GENEVA        9085 PIEDMONT                                                                                  DETROIT            MI 48228
REED, GEORGE E      C/O THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                       BOSTON             MA 02110‐2104
REED, GEORGE E      2063 S 720 W                                                                                   RUSSIAVILLE        IN 46979‐9427
REED, GEORGE J      476 JEROME AVE                                                                                 BRISTOL            CT 06010‐3148
REED, GEORGE J      2887 LEMKE DR                                                                                  N TONAWANDA        NY 14120‐1111
REED, GEORGE L      7430 KYLAN DR W                                                                                JACKSONVILLE       FL 32209‐1038
REED, GEORGE M      18319 N SALEM ROW                                                                              STRONGSVILLE       OH 44136‐7075
REED, GEORGIA       PO BOX 1112                                                                                    RUSSELL SPRINGS    KY 42642‐1112
REED, GEORGINNA B   8381 S SHADY TRAIL DR                                                                          PENDLETON          IN 46064‐8652
REED, GEORGINNA B   8381 SOUTH SHADY TRAIL DRIVE                                                                   PENDLETON          IN 46064‐8652
REED, GERALD        3412 N AUDUBON RD                                                                              INDIANAPOLIS       IN 46218‐1830
REED, GERALD A      19 PINE ST                                                                                     NORWOOD            NY 13668‐1212
REED, GERALD D      1305 W 6TH AVE                                                                                 BRODHEAD           WI 53520‐1631
REED, GERALD E      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
                                                        260
REED, GERALD E      366 EAST MAIN ST.                   PO BOX 517                                                 VERONA            OH   45378‐5378
REED, GERALD E      PO BOX 517                          366 EAST MAIN ST.                                          VERONA            OH   45378‐0517
REED, GERALD H      21000 MARTINSVILLE RD                                                                          BELLEVILLE        MI   48111‐8729
REED, GERALD L      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510
                                                        STREET, SUITE 600
REED, GERALD M      PO BOX 55                                                                                      OAKWOOD           GA   30566‐0001
REED, GERALD N      467 S GEBHART CHURCH RD                                                                        MIAMISBURG        OH   45342‐3606
REED, GERI L        2530 SARA JANE PKWY APT 131                                                                    GRAND PRAIRIE     TX   75052‐8601
REED, GERRIE I      614 NELSON DRIVE                                                                               BROWNSBURG        IN   46112‐1181
REED, GERRIE I      614 NELSON DR                                                                                  BROWNSBURG        IN   46112‐1181
REED, GERTRUDE      528 NEVADA AVE                                                                                 PONTIAC           MI   48341‐2553
REED, GERTRUDE      528 NEVADA                                                                                     PONTIAC           MI   48341‐2553
REED, GLADYS M      3730 HIGHLAWN AVE S.E                                                                          WARREN            OH   44484‐3630
REED, GLENN A       600 N COOK RD                                                                                  MUNCIE            IN   47303‐4585
REED, GLENN D       PMB368094                           3590 ROUND BOTTOM RD                                       CINCINANATI       OH   45244‐5244
REED, GLENN D       3590 ROUND BOTTOM RD                # PMB                                                      CINCINNATI        OH   45244‐3026
                      09-50026-mg               Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                  Address1                          Address2                       Address3   Address4         City               State Zip
REED, GLENN R         115 PAYEUR RD                                                                                ANN ARBOR           MI 48108
REED, GLENN S         45892 PORTSVILLE DR                                                                          MACOMB              MI 48044‐5710
REED, GLENN STANLEY   45892 PORTSVILLE DR                                                                          MACOMB              MI 48044‐5710
REED, GLORIA
REED, GLORIA D        333 W STATE ST APT 13F                                                                       TRENTON            NJ   08618‐5716
REED, GORDON L        3023 N BRITT RD                                                                              JANESVILLE         WI   53548‐9433
REED, GRACE ANN       PO BOX 34836                                                                                 DETROIT            MI   48234‐0836
REED, GRACE ANN       P.O. BOX 34836                                                                               DETROIT            MI   48234‐0836
REED, GRACIE H        4215 N BELLEFONTAINE AVE                                                                     KANSAS CITY        MO   64117‐1666
REED, GREG            105 MOON LN                                                                                  LYKENS             PA   17048‐9333
REED, GREGORY A       18130 RAMSGATE DR                                                                            LATHRUP VILLAGE    MI   48076‐4522
REED, GREGORY E       1629 DUTCHESS AVE                                                                            KETTERING          OH   45420‐1337
REED, GREGORY J       35269 SHERIDAN ST                                                                            WESTLAND           MI   48185‐3674
REED, GROVER B        6569 HANSBRINKER DR                                                                          LIBERTY TOWNSHIP   OH   45044‐9157
REED, GUY             KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND          OH   44114
                                                        BOND COURT BUILDING
REED, GWENDOLYN       5631 ANTICIPATION CT                                                                         LAS VEGAS          NV   89139
REED, GWENDOLYN       18613 KENTUCKY                                                                               DETROIT            MI   48221‐2005
REED, HAROLD          305 W ANNIE DR                                                                               MUNCIE             IN   47303‐9707
REED, HAROLD          2100 N 64TH TER                                                                              KANSAS CITY        KS   66104‐2603
REED, HAROLD D        PO BOX 25                                                                                    OAKWOOD            GA   30566‐0001
REED, HAROLD E        356 SOUTH DR                                                                                 ABERDEEN           MD   21001‐3555
REED, HAROLD H        3235 KINGS MILL RD                                                                           NORTH BRANCH       MI   48461‐8228
REED, HAROLD J        5211 STRAWBERRY LAKE RD                                                                      WHITMORE LAKE      MI   48189‐9726
REED, HARRY E         1503 N MAIN ST                                                                               RACINE             WI   53402‐4924
REED, HARRY G         17 CLOVER LN                                                                                 LEVITTOWN          PA   19055‐1607
REED, HARRY L         3271 FAIRVIEW DR                                                                             BERKELEY SPGS      WV   25411‐4526
REED, HARRY R         335 GLENSPRINGS DR                                                                           CINCINNATI         OH   45246‐2303
REED, HARRY R         3855 BROOKSWORTH AVE                                                                         TARPON SPRINGS     FL   34688‐7707
REED, HARRY T         PO BOX 56                         169 OLD FARM RD                                            RANDOLPH           VT   05060‐0056
REED, HARRY W         1310 SYCAMORE AVE                                                                            WILMINGTON         DE   19805‐5043
REED, HARVEY F        3656 W HURON ST APT 407                                                                      CHICAGO            IL   60624‐1269
REED, HAZEL           14969 SNOWDEN ST                                                                             DETROIT            MI   48227‐3687
REED, HAZEL C         1330 N MCKINLEY RD                                                                           FLUSHING           MI   48433‐9419
REED, HEATHER L       3504 PROVIDENCE RD S                                                                         WAXHAW             NC   28173‐8333
REED, HELEN           1105 FENNIMORE DR                                                                            MARSHALL           MI   49068‐9644
REED, HELEN L         40619 PARSONS RD                                                                             LAGRANGE           OH   44050‐9507
REED, HELEN M         17407 S CEMETERY RD                                                                          PLEASANT HILL      MO   64080‐7592
REED, HELEN W         55 GREENCLIFF DR                  C/O RONALD L REED                                          UNION              OH   45322‐3133
REED, HELGA E         680 DORIS JANE AVE                                                                           FAIRFIELD          OH   45014‐2713
REED, HENRY L         2829 COMANCHE AVE                                                                            FLINT              MI   48507
REED, HENRY L         6101 BOULDER DR                                                                              BURTON             MI   48529‐1546
REED, HENRY R         22610 TRILLIUM LOOP                                                                          NOVI               MI   48375‐4637
REED, HERBERT R       1910 NW WILLOW DR                                                                            GRAIN VALLEY       MO   64029‐9699
REED, HERMAN W        10724 WAYBURN ST                                                                             DETROIT            MI   48224‐2470
REED, HILDEGARD M     2788 S 350 W                                                                                 KOKOMO             IN   46902‐4773
REED, HOMER L         PO BOX 524                                                                                   WENTZVILLE         MO   63385‐0524
REED, HUBBARD         2195 S LIDDESDALE ST                                                                         DETROIT            MI   48217‐1147
REED, HUBERT E        1331 COACHMAN DR                                                                             SPARKS             NV   89434‐2561
REED, HUI M           411 E DUARTE RD APT 7                                                                        ARCADIA            CA   91006‐3973
REED, ICY             1949 HODIAMONT ST                 APT 1E                                                     SAINT LOUIS        MO   63112
REED, IDA L           93 STRATFORD LN                                                                              ROCHESTER HILLS    MI   48309‐2072
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Name                  Address1                          Address2                        Address3   Address4         City            State Zip
REED, ILA C           4732 SOUTHVIEW DR                                                                             ANDERSON         IN 46013‐4757
REED, INEZ H          2026 W 3RD ST                                                                                 MARION           IN 46952‐3246
REED, INEZ H          505 N BRADNER AVE                                                                             MARION           IN 46952‐2449
REED, INGEBORG G      693 PLYMPTON ST                                                                               NEW MILFORD      NJ 07646‐2035
REED, IRENE D         4273 SKYLINE VW                                                                               OAKWOOD          GA 30566‐4307
REED, IRENE D         4273 SKYLINE VIEW                                                                             OAKWOOD          GA 30566‐4307
REED, IRENE G         1251 MASONIC DR                                                                               ALMA             MI 48801‐1167
REED, IRENE V         1550 TAIT RD SW                                                                               WARREN           OH 44481‐9644
REED, IRENE V         1550 TAIT ROAD                                                                                WARREN           OH 44481‐9644
REED, IRMA J          1220 JEFFERSON ST                                                                             LAPEER           MI 48446‐1318
REED, ISABELLA M      6828 LAKESHORE DR                                                                             RAYTOWN          MO 64133‐6163
REED, IVORY L         748 CLEVERLY RD                                                                               DAYTON           OH 45417‐1211
REED, IVORY L         748 CLEVERLY ROAD                                                                             DAYTON           OH 45417‐1211
REED, JACK R          3044 SMITH RD                                                                                 LAMBERTVILLE     MI 48144‐9480
REED, JACK W          C/O GLASSER AND GLASSER           CROWN CENTER 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                        STREET SUITE 600
REED, JACKIE E        1401 N AVENUE H                                                                               HASKELL         TX   79521‐3441
REED, JACLYN          2225 GUY WAY                                                                                  DUNDALK         MD   21222
REED, JACQUE L        2677 N MECHANICSBURG RD                                                                       SHIRLEY         IN   47384‐9652
REED, JACQUELINE      5164 N NORWOOD DR                                                                             SAINT LOUIS     MO   63115‐1042
REED, JAMES           12914 KEENE AVE                                                                               LOS ANGELES     CA   90059‐3441
REED, JAMES           GORBERG AND ZUBER                 1234 MARKET ST STE 2040                                     PHILADELPHIA    PA   19107‐3720
REED, JAMES           PO BOX 1002                                                                                   ELGIN           SC   29045‐1002
REED, JAMES           GUY WILLIAM S                     PO BOX 509                                                  MCCOMB          MS   39649‐0509
REED, JAMES           BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                               DALLAS          TX   75219
REED, JAMES A         2538 SE KIMBROUGH LN                                                                          LEES SUMMIT     MO   64063‐3442
REED, JAMES A         8381 S SHADY TRAIL DR                                                                         PENDLETON       IN   46064‐8652
REED, JAMES B         PO BOX 477                                                                                    BULAN           KY   41722‐0477
REED, JAMES B         4201 S 900 W                                                                                  DALEVILLE       IN   47334
REED, JAMES C         6905 HAREWOOD PARK DR                                                                         BALTIMORE       MD   21220‐1028
REED, JAMES C         1220 LAYTON RD                                                                                ANDERSON        IN   46011‐1530
REED, JAMES C         322 S WATER ST                                                                                ANDERSON        IN   46017‐1638
REED, JAMES C         5314 MISTY OAKS TRL                                                                           SWARTZ CREEK    MI   48473‐1083
REED, JAMES C         2295 MYERS RD                                                                                 SHELBY          OH   44875‐9347
REED, JAMES C         PO BOX 34                                                                                     OAKWOOD         GA   30566‐0001
REED, JAMES C         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
REED, JAMES D         3 POPLAR PL                                                                                   FANWOOD         NJ   07023‐1715
REED, JAMES D         433 ILLINOIS ST                                                                               PARKER CITY     IN   47368‐9509
REED, JAMES D         11360 N MASON RD                                                                              WHEELER         MI   48662‐9716
REED, JAMES D         734 PARK LAWN                                                                                 CLIO            MI   48420‐1478
REED, JAMES D         555 FILDEW AVE                                                                                PONTIAC         MI   48341‐2632
REED, JAMES DONAVON   433 ILLINOIS ST                                                                               PARKER CITY     IN   47368‐9509
REED, JAMES E         1200 NW 105TH ST                                                                              OKLAHOMA CITY   OK   73114‐5112
REED, JAMES F         4416 SAINT CHARLES ST                                                                         ANDERSON        IN   46013‐2455
REED, JAMES H         13208 TERMINAL AVE                                                                            CLEVELAND       OH   44135‐4814
REED, JAMES H         3088 AVONLEA KNOLL WAY                                                                        WEBBERVILLE     MI   48892‐8726
REED, JAMES L         706 MADRID DR                                                                                 DUNCANVILLE     TX   75116‐3916
REED, JAMES L         218 BELLE VILLA BLVD                                                                          BELLEVILLE      MI   48111‐4906
REED, JAMES L         3633 QUEEN RIDGE DR                                                                           INDEPENDENCE    MO   64055‐3769
REED, JAMES L         816 CARTWRIGHT ST                                                                             E LIVERPOOL     OH   43920‐1252
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Name                   Address1                       Address2                      Address3   Address4         City           State Zip
REED, JAMES L          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                      STREET, SUITE 600
REED, JAMES P          3115 STATE ROUTE 603                                                                     LUCAS          OH   44843‐9323
REED, JAMES R          5154 MARK DAVID DR                                                                       SWARTZ CREEK   MI   48473‐8500
REED, JAMES R          239 E CHESTNUT HILL RD                                                                   NEWARK         DE   19713‐3734
REED, JAMES R          G 3399 W DAYTON ST                                                                       FLINT          MI   48504
REED, JAMES R          6253 WESTVIEW DR                                                                         GRAND BLANC    MI   48439‐9748
REED, JAMES T          1205 MAYROSE DR                                                                          DAYTON         OH   45449‐2024
REED, JAMES V          10060 COMMERCE AVE                                                                       TUJUNGA        CA   91042‐2304
REED, JANE E           26812 GLENDALE                                                                           REDFORD        MI   48239‐2725
REED, JANE ELIZABETH   26812 GLENDALE                                                                           REDFORD        MI   48239‐2725
REED, JANE S           6704 STATE ROUTE 5                                                                       KINSMAN        OH   44428‐9781
REED, JANE S           6704 ST. RT. 5                                                                           KINSMAN        OH   44428‐9781
REED, JANET            1313 SPRINGHILL RD                                                                       CHILLICOTHE    MO   64601‐1233
REED, JANET L          174 THOMAS RD                                                                            LIVINGSTON     TN   38570‐4106
REED, JANET M          938 RITSHER ST                                                                           BELOIT         WI   53511‐4845
REED, JANET M          11427 SEYMOUR RD                                                                         BURT           MI   48417‐2152
REED, JANICE           11126 HEARTHSIDE DR                                                                      PINCKNEY       MI   48169‐8745
REED, JANICE B         7820 MASTERS DR                                                                          SHREVEPORT     LA   71129‐4120
REED, JANICE K         13127 MERGANZER CT                                                                       LINDEN         MI   48451‐8413
REED, JANICE L         12240 GLASGOW DR                                                                         BRUCE TWP      MI   48065‐4476
REED, JANICE M         801 FOREST ST                                                                            CHARLOTTE      MI   48813‐1241
REED, JANIE P          1599 SARASOTA TRL                                                                        PORTAGE        MI   49002‐3940
REED, JASON P          39494 STATE ROUTE 517                                                                    LISBON         OH   44432‐9357
REED, JASON R          36236 TULANE DR                                                                          STERLING HTS   MI   48312‐2857
REED, JAVON L          3215 KNIGHT ST APT 278                                                                   SHREVEPORT     LA   71105‐2712
REED, JAYNE E          3120 RHODA ST                                                                            FLINT          MI   48507‐4555
REED, JEAN A           3905 BIPPLEY RD                                                                          SUNFIELD       MI   48890‐9721
REED, JEAN A           3905 E BIPPLEY RD                                                                        SUNFIELD       MI   48890‐9721
REED, JEAN C           901 HUNTSWOOD WAY                                                                        OXNARD         CA   93030
REED, JEAN P           4320 ANDREW LN                                                                           BROOKSVILLE    FL   34601‐8376
REED, JEANETTA         PO BOX 1622                                                                              MCCOMB         MS   39649‐1622
REED, JEANETTA R       9940 S COUNTY ROAD 400 E                                                                 WALTON         IN   46994‐8985
REED, JEANETTE A       PO BOX 34                                                                                OAKWOOD        GA   30566‐0001
REED, JEANNETTE        27 MARIO DR.                                                                             TROTWOOD       OH   45426‐5426
REED, JEANNETTE        27 MARIO DR                                                                              TROTWOOD       OH   45426‐2914
REED, JEARLEAN         3743 BOBBITT PL                                                                          SHREVEPORT     LA   71107‐3801
REED, JEFFERY A        PO BOX 121                                                                               SPRINGBORO     OH   45066‐0121
REED, JEFFREY          4130 BUELL DR                                                                            FORT WAYNE     IN   46807‐2333
REED, JEFFREY KEITH    177 MILL SPGS                                                                            COATESVILLE    IN   46121‐8947
REED, JENNIFER M       405 CALUMET LN                                                                           DAYTON         OH   45417
REED, JERRELL K        304 NEW CASTLE LN                                                                        SWEDESBORO     NJ   08085‐1467
REED, JERRY K          7048 SHARP RD                                                                            SWARTZ CREEK   MI   48473‐9428
REED, JERRY L          10477 FARRAND RD                                                                         MONTROSE       MI   48457‐9733
REED, JERRY W          1737 ACADEMY PL                                                                          DAYTON         OH   45406‐4602
REED, JERRY WASH       1737 ACADEMY PL                                                                          DAYTON         OH   45406‐4602
REED, JESSICA A        4224 GALAXY DR                                                                           JANESVILLE     WI   53546‐9618
REED, JESSIE L         744 E BALTIMORE BLVD                                                                     FLINT          MI   48505‐3520
REED, JILL Y           16907 W 69TH TER APT 193                                                                 SHAWNEE        KS   66217‐9677
REED, JIM L            1668 NORTH 600 EAST                                                                      ELWOOD         IN   46036‐8546
REED, JIMMIE           8278 PIERSON ST                                                                          DETROIT        MI   48228‐2828
REED, JIMMY C          4122 SARDIS CH RD                                                                        BUFORD         GA   30519
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Name                 Address1                         Address2                      Address3   Address4         City             State Zip
REED, JOAN           51074 MOTT RD TRLR 28                                                                      CANTON            MI 48188‐2139
REED, JOAN M         10127 E ATHERTON RD                                                                        DAVISON           MI 48423‐8704
REED, JOANNE P       1726 W 11TH ST                                                                             ANDERSON          IN 46016‐2725
REED, JOE BARNETT    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                      STREET, SUITE 600
REED, JOHN           405 ARBANA DR                                                                              ANN ARBOR        MI   48103‐3707
REED, JOHN           433 MAHONING AVE NW                                                                        WARREN           OH   44483
REED, JOHN B         9807 CEDAR KNOLL DR                                                                        MASON            OH   45040‐8902
REED, JOHN E         5121 POST OAK RD                                                                           JACKSON          MS   39206‐3127
REED, JOHN H         216 WESTWOOD DR                                                                            BEDFORD          IN   47421‐3938
REED, JOHN J         ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE        MD   21202
                                                      CHARLES CENTER 22ND FLOOR
REED, JOHN J         8052 PERRY LAKE RD                                                                         CLARKSTON        MI   48348‐4647
REED, JOHN K         PO BOX 19465                                                                               DETROIT          MI   48219‐0465
REED, JOHN L         6021 RIDGEVIEW DR                                                                          ANDERSON         IN   46013‐9641
REED, JOHN W         4291 QUEEN AVE                                                                             FRANKLIN         OH   45005‐1127
REED, JOHN W         4291 QUEEN AVENUE                                                                          FRANKLIN         OH   45005‐1127
REED, JOHN Z         1240 NE 43RD ST                                                                            OKLAHOMA CITY    OK   73111‐5851
REED, JOHNNY B       3820 N BUTLER AVE                                                                          INDIANAPOLIS     IN   46226‐4622
REED, JOHNNY F       8236 MADDOX DR                                                                             WEST CHESTER     OH   45069‐2811
REED, JON D          1001 MOHAWK ST                                                                             DEARBORN         MI   48124‐1507
REED, JON E          6225 WILDWOOD CT                                                                           WASHINGTON       MI   48094‐2116
REED, JORDAN A       483 POWELL ST                                                                              HENDERSONVILLE   NC   28792‐8178
REED, JOSEPH A       ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                 PHILADELPHIA     PA   19107
                                                      WANAMAKER BUILDING
REED, JOSEPH A       1204 SEBRING LN                                                                            LEXINGTON        KY 40513‐1817
REED, JOSEPH W       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                      STREET, SUITE 600
REED, JOSEPHINE
REED, JOSEPHINE A    831 E 80TH ST                                                                              INDIANAPOLIS     IN   46240‐2611
REED, JOSHUA         4128 E 17TH AVE                                                                            SPOKANE          WA   99223‐5225
REED, JOSIE M        5917 GLENN AVE                                                                             FLINT            MI   48505
REED, JOY            7618 VINEYARD                                                                              CLEVELAND        OH   44105‐6526
REED, JOY            7618 VINEYARD AVE                                                                          CLEVELAND        OH   44105‐6526
REED, JOY D          189 FOSTER LN                                                                              BREMEN           GA   30110‐3131
REED, JOY D          189 FOSTER LANE                                                                            BREMEN           GA   30110‐3131
REED, JOYCE          1350 SUN MARSH DR                                                                          JACKSONVILLE     FL   32225‐5828
REED, JOYCE          11617 BREAN WAY                                                                            FISHERS          IN   46037‐4390
REED, JOYCE A        18319 N SALEM ROW                                                                          STRONGSVILLE     OH   44136‐7075
REED, JOYCE E        503 HAWTHORNE BLVD                                                                         LEESBURG         FL   34748‐8652
REED, JOYCE E        69 WEST HAM CIRCLE                                                                         NORTH CHILI      NY   14514‐9823
REED, JUANITA        1441 CROWN POINT CT                                                                        BEAVERCREEK      OH   45434‐6966
REED, JUDITH         18008 ASH DRIVE                                                                            STRONGSVILLE     OH   44149‐6810
REED, JUDITH         18008 ASH DR                                                                               STRONGSVILLE     OH   44149‐6810
REED, JUDITH C       1536 SPRING GARDEN AVE                                                                     LAKEWOOD         OH   44107‐3442
REED, JUDY V         3312 ALBRIGHT RD                                                                           KOKOMO           IN   46902
REED, KAREN          GOMEZ LAW FIRM                   625 BROADWAY STE 1104                                     SAN DIEGO        CA   92101‐5418
REED, KAREN          5330 N 50 E                                                                                KOKOMO           IN   46901‐9557
REED, KARILYN S      11347 W ELM ST                                                                             SAINT PARIS      OH   43072‐9766
REED, KARL R         117 15TH AVE                                                                               N TONAWANDA      NY   14120‐3203
REED, KARL RAYMOND   117 15TH AVE                                                                               N TONAWANDA      NY   14120‐3203
REED, KATHERINE E    1237 HERITAGE LN                                                                           BURTON           MI   48509‐2395
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Name                       Address1                        Address2                      Address3   Address4         City             State Zip
REED, KATHLEEN I           8285 HICKORY AVE                                                                          HESPERIA          CA 92345‐3817
REED, KATHLEEN J           858 TITTABAWASSEE RD APT 1                                                                SAGINAW           MI 48604
REED, KATHLEEN M           4925 SAWMILL LAKE RD                                                                      ORTONVILLE        MI 48462
REED, KATHRYN G            602 WESTPARK PL                                                                           LITHIA SPRINGS    GA 30122
REED, KATHRYN M            18302 WOODLAND RIDGE DR APT 3                                                             SPRING LAKE       MI 49456‐9056
REED, KEITH L              N7396 16TH AVE                                                                            NEW LISBON        WI 53950‐9236
REED, KELLY D              1338 WILLARD RD                                                                           BIRCH RUN         MI 48415‐9468
REED, KELLY D              7375 MARINER WAY APT 314                                                                  INDIANAPOLIS      IN 45214‐1740
REED, KENNETH G            9620 HART LAKE RD                                                                         OTTER LAKE        MI 48464‐9429
REED, KENNETH L            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
REED, KENNETH N            1726 W 11TH ST                                                                            ANDERSON         IN   46016‐2725
REED, KENNETH P            2248 WHEATLING RD                                                                         PITTSFORD        MI   49271
REED, KENNETH R            400 W 1ST ST                                                                              TAWAS CITY       MI   48763‐9386
REED, KENWOOD J            11634 BROMONT AVE                                                                         PACOIMA          CA   91331
REED, KEVIN                178 MARSHALL ST                                                                           WINSTED          CT   06098‐2230
REED, KEVIN C              12466 OAK RD                                                                              OTISVILLE        MI   48463‐9722
REED, KEVIN J              16552 QUAIL WALK ST                                                                       BONNER SPRINGS   KS   66012‐7140
REED, KEVIN JAMES          16552 QUAIL WALK ST                                                                       BONNER SPRINGS   KS   66012‐7140
REED, KIEON N              4708 COURVILLE ST                                                                         DETROIT          MI   48224‐2783
REED, KIM D                1375 LUCKY LANE NORTHWEST                                                                 BROOKHAVEN       MS   39601‐9226
REED, KIM D                1528 HIGHWAY 550 NW                                                                       BROOKHAVEN       MS   39601‐9601
REED, KIM S                478 S MICHIGAN RD                                                                         EATON RAPIDS     MI   48827‐9270
REED, KIMBERLY ALBERTINE   1037 W MONTECELLO CIR                                                                     CORDOVA          TN   38018
REED, KIMBERLY J           1320 STEINBECK DR APT N                                                                   RALEIGH          NC   27609‐6149
REED, KIMBERLY M           77 N CIRCLE DR                                                                            GERMANTOWN       OH   45327‐1369
REED, KIRBY C              30 MONTAGUE CIR                                                                           WINCHESTER       VA   22601‐4425
REED, KRISTAN F
REED, KYLE E               10258 CARPENTER RD                                                                        FLUSHING         MI   48433‐1050
REED, L D                  209 S LAFAYETTE DR                                                                        MUNCIE           IN   47303‐4577
REED, L D                  8131 E SOUTHPORT RD                                                                       INDIANAPOLIS     IN   46259‐9743
REED, L S                  1616 MASON ST                                                                             FLINT            MI   48503‐1111
REED, LANNY C              10744 CHARLOTTE HWY                                                                       PORTLAND         MI   48875‐8403
REED, LARRY A              6710 N NATAHKI DR                                                                         IRONS            MI   49644‐9163
REED, LARRY D              13701 TROESTER ST                                                                         DETROIT          MI   48205‐3585
REED, LARRY D              831 PINE TREE DR                                                                          SHREVEPORT       LA   71106‐3909
REED, LARRY DAVID          831 PINE TREE DR                                                                          SHREVEPORT       LA   71106‐3909
REED, LARRY E              1653 N MAISH RD                                                                           FRANKFORT        IN   46041‐8011
REED, LARRY K              1873 COUNTY ROAD 230                                                                      HILLSBORO        AL   35643‐3040
REED, LARRY L              3817 SAM BONEY DR                                                                         NASHVILLE        TN   37211‐3708
REED, LARRY L              PO BOX 125                                                                                ONSTED           MI   49265‐0125
REED, LARRY R              3742 BRAYLEY RD                                                                           WILSON           NY   14172‐9717
REED, LAURA                1432 WARD ST                                                                              SAGINAW          MI   48601‐8601
REED, LAURA                102 MARGATE DRIVE                                                                         ALBANY           GA   31721‐8708
REED, LAUREN M             3449 HAZELNUT LN                                                                          MILTON           WI   53563‐8412
REED, LAVELLA J            4268 W 400 S                                                                              ANDERSON         IN   46011‐9457
REED, LAVERN D             921 W SILVER LAKE RD                                                                      FENTON           MI   48430‐2630
REED, LAVERN E             310 COUNTY ROAD 804                                                                       GAMALIEL         AR   72537‐9768
REED, LAVERNE              PO BOX 13329                                                                              DAYTON           OH   45413‐0329
REED, LAVERNE A            5524 ARCOLA AVENUE                                                                        WEST CARROLLT    OH   45449‐2716
REED, LAVERNE R            866 S STINE RD                                                                            CHARLOTTE        MI   48813‐7538
REED, LAWRENCE E           4554 COOPER RD                                                                            CINCINNATI       OH   45242‐5617
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Name                Address1                           Address2                     Address3   Address4         City            State Zip
REED, LEBERT J      1638 S OAKDALE DR                                                                           BLOOMINGTON      IN 47403‐3215
REED, LEE A         207 DODGE AVE                                                                               DANVILLE          IL 61832‐2203
REED, LEROY         75 W KINGSBRIDGE RD                                                                         MOUNT VERNON     NY 10550‐4833
REED, LEROY I       6720 W VW AVE                                                                               SCHOOLCRAFT      MI 49087‐8757
REED, LEROY L       511 BENJAMIN AVE SE                                                                         GRAND RAPIDS     MI 49506‐2550
REED, LESIA C       8310 WINDFALL LN # B                                                                        CAMBY            IN 46113‐8928
REED, LESIA C       498 TOWN CENTER ST. N.             #127                                                     MOORESVILLE      IN 46158
REED, LESLIE G      128 MOUNT TABOR RD                                                                          HARTSELLE        AL 35640‐4701
REED, LESTER D      6701 SHALLOW CREEK CT                                                                       LAS VEGAS        NV 89108‐5028
REED, LILLIAN       4218 CEDAR VALLEY LANE                                                                      CONLEY           GA 30288
REED, LILLIAN       3926 PRISCILLA AVE                                                                          INDIANAPOLIS     IN 46226‐4856
REED, LINA B        5897 SALEM BEND DR                                                                          DAYTON           OH 45426
REED, LINDA D       6417 E CALLE DEL NORTE                                                                      ANAHEIM          CA 92807
REED, LINDA H       2677 N MECHANICSBURG RD                                                                     SHIRLEY          IN 47384‐9652
REED, LINDA K       2791 STATE ROAD 227 S                                                                       RICHMOND         IN 47374‐7384
REED, LINDA L       584 W CRESTON RD                                                                            CROSSVILLE       TN 38571‐3605
REED, LINDA M       5375 HILLSBORO RD                                                                           DAVISBURG        MI 48350‐3828
REED, LINDA M       PO BOX 80206                                                                                LANSING          MI 48908‐0206
REED, LINDA N       2770 MILTON ST SE                                                                           WARREN           OH 44484‐5255
REED, LISA R        3201 MURRAY HILL DR                                                                         SAGINAW          MI 48601
REED, LISA ROBENA   3201 MURRAY HILL DR                                                                         SAGINAW          MI 48601
REED, LISA Y        111 SUPERIOR ST                                                                             ROCHESTER        NY 14611‐3117
REED, LLOYD K       28 DIAMOND AVENUE                                                                           PLAINVILLE       CT 06062‐2904
REED, LLOYD O       137 ARLINGTON DR                                                                            DIMONDALE        MI 48821‐8779
REED, LOIS          4311 M L KING AVE                                                                           FLINT            MI 48505‐3403
REED, LOIS          1072 S CHAPEL ST                                                                            NEWARK           DE 19702‐1304
REED, LOIS          1072 SOUTH CHAPEL STREET                                                                    NEWARK           DE 19702‐1304
REED, LOLA M        4054 SHERIDAN ST                                                                            DETROIT          MI 48214‐1096
REED, LONNIE        KEAHEY G PATTERSON JR              1 INDEPENDENCE PLZ STE 612                               BIRMINGHAM       AL 35209‐2637
REED, LONNIE D      2770 MILTON STREET SE                                                                       WARREN           OH 44484‐4484
REED, LORAINE E     PO BOX 242342                                                                               MILWAUKEE        WI 53224‐9047
REED, LORANN        17862 STRASBURG ST                                                                          DETROIT          MI 48205‐3150
REED, LOREN         189 W SUMNER AVE                                                                            MARTINSVILLE     IN 46151‐2131
REED, LORETTA       4555 WOODBINE AVE                  C/O BYRON TRIMBLE                                        DAYTON           OH 45420‐3154
REED, LORI A        530 MUIRFIELD DR                                                                            SAINT CHARLES    MO 63304‐0436
REED, LORRAIN E     4481 W 51ST ST # 1                                                                          CLEVELAND        OH 44144‐2933
REED, LOTTIE P      PO BOX 740                                                                                  EMLENTON         PA 16373‐0740
REED, LOUIS JR
REED, LOUISE        8030 S SAGINAW ST                                                                           NEW LOTHROP     MI   48460‐9695
REED, LOWELL C      941 E HIBBARD RD                                                                            OWOSSO          MI   48867‐9125
REED, LUCILE C      1025 BARKLEY DR                                                                             BIRMINGHAM      AL   35242‐4670
REED, LUCILLE       207 CROSS POINTE CT UNIT 2A                                                                 ABINGDON        MD   21009‐2565
REED, LUCY M        420 WELSHWOOD DR APT 111                                                                    NASHVILLE       TN   37211
REED, LULA MAE      4718 BIRCHCREST DR                                                                          FLINT           MI   48504‐2002
REED, LULA MAE      4718 BIRCH CREST                                                                            FLINT           MI   48504‐2002
REED, LUPINO        PO BOX 391336                                                                               DELTONA         FL   32739‐1336
REED, LYNN W        PO BOX 4146                                                                                 SONORA          CA   95370
REED, MAE
REED, MAE C         410 S 1ST AVE                                                                               MOUNT VERNON    NY   10550‐4502
REED, MAGGIE I      7401 E 73RD                                                                                 KANSAS CITY     MO   64133‐6207
REED, MAGGIE I      7401 E 73RD ST                                                                              KANSAS CITY     MO   64133‐6207
REED, MAGGIE J      2835 TALL OAKS CT APT 22                                                                    AUBURN HILLS    MI   48326‐4160
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Name                 Address1                           Address2                 Address3    Address4         City           State Zip
REED, MAGGIE J.      2835 TALL OAKS CT APT 22                                                                 AUBURN HILLS    MI 48326‐4160
REED, MAMIE L        1442 BLAIRWOOD AVENUE                                                                    DAYTON          OH 45418‐5418
REED, MANSEL         618 S 24TH ST                                                                            SAGINAW         MI 48601‐6508
REED, MANUEL         728 HALLWORTH PL                                                                         DAYTON          OH 45426
REED, MARCO A        3201 MURRAY HILL DR                                                                      SAGINAW         MI 48601‐5636
REED, MARGARET
REED, MARGARET A     23962 PLUMBROOKE DR                                                                      SOUTHFIELD     MI   48075‐3240
REED, MARGARET A     4856 E CONDENSERY RD                                                                     SHERIDAN       MI   48884‐9747
REED, MARGARETTE R   3620 HILLSIDE DR                                                                         YPSILANTI      MI   48197‐3736
REED, MARGIE         PO BOX 356                                                                               SPEEDWELL      TN   37870‐0356
REED, MARGIE         348 SOUTH MARLOWE LANE                                                                   SPEEDWELL      TN   37870‐8100
REED, MARGUERITE     1212 WATERMAN ST                                                                         DETROIT        MI   48209‐2258
REED, MARIAN         6150 W MICHIGAN AVE APT K10                                                              LANSING        MI   48917‐4703
REED, MARIE M        520 N 11TH ST                                                                            DE SOTO        MO   63020‐1120
REED, MARIE R        915 CENTER ST W                                                                          WARREN         OH   44481‐9454
REED, MARIELLEN F    2035 ROSECREST DRIVE                                                                     BELLBROOK      OH   45305‐1820
REED, MARIETTA L     2980 MALIBU DR SW                                                                        WARREN         OH   44481‐9229
REED, MARILYN A      7550 W CORRINE DR                                                                        PEORIA         AZ   85381‐9081
REED, MARILYN J      91 WINCHESTER RD                                                                         FAIRLAWN       OH   44333‐3519
REED, MARION         4381 W HIGHLAND                                                                          MILFORD        MI   48380‐1122
REED, MARION E       720 NORTH ELLICOTT CREEK RD                                                              AMHERST        NY   14228‐2402
REED, MARION E       720 N ELLICOTT CREEK RD                                                                  AMHERST        NY   14228‐2402
REED, MARJORIE       NO 8 CRESTWOOD DRIVE                                                                     MIDDLETOWN     IN   47356
REED, MARJORIE J     3543 DIAMONDALE DR E                                                                     SAGINAW        MI   48601‐5806
REED, MARK A         6873 AUBURN ST                                                                           DETROIT        MI   48228‐4924
REED, MARK ANTHONY   6873 AUBURN ST                                                                           DETROIT        MI   48228‐4924
REED, MARKEL CLARE   18468 MONTE VISTA ST                                                                     DETROIT        MI   48221‐1951
REED, MARLYN E       20095 PIERSON ST                                                                         DETROIT        MI   48219‐1356
REED, MARSHA M       4232 MELLEN DR                                                                           ANDERSON       IN   46013‐5049
REED, MARSHA M       4232 MELLAN DR                                                                           ANDERSON       IN   46013
REED, MARTIN L       585 BIMINI DR                                                                            SANDUSKY       OH   44870‐3991
REED, MARVIN E       4620 MALUS BLVD                                                                          ANDERSON       IN   46011‐9420
REED, MARVIN R       629 GARFIELD AVE                                                                         MOUNT MORRIS   MI   48458‐1521
REED, MARVIN T       1001 GLEN GARDEN DR                                                                      FORT WORTH     TX   76104‐6857
REED, MARY           214 W RAILWAY ST                                                                         CLIO           MI   48420‐1119
REED, MARY           331 CENTERVILLE RD APT 314                                                               WARWICK        RI   02886‐4331
REED, MARY           1616 SPRUCE ST                                                                           SAGINAW        MI   48601‐2855
REED, MARY           1616 SPRUCE                                                                              SAGINAW        MI   48601‐2855
REED, MARY           PORTER & MALOUF PA                 4670 MCWILLIE DR                                      JACKSON        MS   39206‐5621
REED, MARY A         15700 PROVIDENCE DRIVE             APARTMENT 520                                         SOUTH FIELD    MI   48075
REED, MARY A         300 W NORTH UNION ST                                                                     BAY CITY       MI   48706‐3522
REED, MARY A         APT 520                            15700 PROVIDENCE DRIVE                                SOUTHFIELD     MI   48075‐3128
REED, MARY A         750 EVELYNTON LOOP                                                                       THE VILLAGES   FL   32162‐2666
REED, MARY ANNE      206 W WATER ST                     APT 206                                               GREENVILLE     OH   45331
REED, MARY B         29136 ALVIN ST                                                                           GARDEN CITY    MI   48135‐2784
REED, MARY E         926 GRAYSON TRL                                                                          BROWNSBURG     IN   46112
REED, MARY E         8213 TAMARACK CRT                                                                        BIRCH RUN      MI   48415‐8539
REED, MARY ELLEN     210 S SUMMIT RD                                                                          GREENVILLE     PA   16125‐9292
REED, MARY ELLEN     210 SOUTH SUMMIT ROAD                                                                    GREENVILLE     PA   16125
REED, MARY ELLEN     5467 KAREN ISLE DRIVE                                                                    WILLOUGHBY     OH   44094‐4355
REED, MARY J         5538 LIEBOLD DR                                                                          DAYTON         OH   45424‐3831
REED, MARY J         5538 LEIBOLD DR                                                                          HUBER HTS      OH   45424‐3831
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Name                    Address1                         Address2                        Address3   Address4         City              State Zip
REED, MARY JANE         32 PARKWAY                                                                                   NORTH CHILI        NY 14514‐1215
REED, MARY L            175 STARVIEW DR                                                                              TROY               MO 63379‐6908
REED, MARY L            2711 PERKINS ST                                                                              SAGINAW            MI 48601‐1504
REED, MARY L            740 EASTERN AVE NE                                                                           GRAND RAPIDS       MI 49503‐1813
REED, MARY M            54 HARTSTONE HILL LN APT 2                                                                   HENDERSONVILLE     NC 28791‐2472
REED, MARY S            140 HICKORY HILLS DR                                                                         SPRINGBORO         OH 45066
REED, MARY‐FRAN F       1343 S CLARK RD                                                                              DANSVILLE          MI 48819‐9603
REED, MATTHEW           3220 DELAWARE STREET                                                                         PADUCAH            KY 42001‐5837
REED, MATTHEW           PO BOX 20271E                                                                                CLEVELAND          OH 44120
REED, MATTHEW A         5591 WILSON RD                                                                               BUTLER             OH 44822‐9643
REED, MATTHEW ALAN      5591 WILSON RD                                                                               BUTLER             OH 44822‐9643
REED, MATTIE L          2434 HOSMER ST                                                                               SAGINAW            MI 48601‐1571
REED, MATTIE L          2434 HOSMER                                                                                  SAGINAW            MI 48601‐1571
REED, MAXINE I          707 EMGE RD 20                                                                               O FALLON           MO 63366
REED, MAXINE I          # 20                             707 EMGE ROAD                                               O FALLON           MO 63366‐2118
REED, MAXINE N          223 TIMBER KNOLL DR              APT 150                                                     CHATTANOOGA        TN 37412
REED, MAXINE N          223 TIMBER KNOLL DR APT 150                                                                  CHATTANOOGA        TN 37421‐3776
REED, MAYNARD A         10221 ALLEN DR                                                                               MONTROSE           MI 48457‐9732
REED, MEGAN             105 MOON LN                                                                                  LYKENS             PA 17048‐9333
REED, MEGAN             RHOADS & SINON                   ONE S. MARKET SQUARE 14 FLOOR                               HARRISBURG         PA 17101

REED, MELVIN            3347 SUNSET AVENUE                                                                           ATLANTA           GA   30354‐1607
REED, MELVIN            198 COUNTY ROAD 3371                                                                         DE BERRY          TX   75639‐2722
REED, MERLE C           1 LEDGWOOD DR                                                                                MANSFIELD         OH   44905‐1801
REED, MICAH DESHAWN     1208 AVON AVE                                                                                BOWLING GREEN     KY   42101‐1910
REED, MICHAEL           301 BICOLE DR                                                                                BURLESON          TX   76028‐7491
REED, MICHAEL A         443 KITE RD                                                                                  SAINT PARIS       OH   43072‐9470
REED, MICHAEL A         LOT 148                          8499 EAST M 71                                              DURAND            MI   48429‐1077
REED, MICHAEL A         8499 E M71 LOT 148                                                                           DURAND            MI   48429
REED, MICHAEL AARON     443 KITE RD                                                                                  SAINT PARIS       OH   43072‐9470
REED, MICHAEL ALLISON   LOT 148                          8499 EAST M 71                                              DURAND            MI   48429‐1077
REED, MICHAEL C         11823 TERRACE DR                                                                             GRAND BLANC       MI   48439‐1137
REED, MICHAEL CHARLES   11823 TERRACE DR                                                                             GRAND BLANC       MI   48439‐1137
REED, MICHAEL D         3406 BRENT AVENUE                                                                            FLINT             MI   48506‐3921
REED, MICHAEL D         3630 S EUCLID AVE                                                                            BAY CITY          MI   48706‐3456
REED, MICHAEL D         14465 DUFFIELD RD                                                                            MONTROSE          MI   48457‐9432
REED, MICHAEL D         8500 W JACKSON ST                                                                            MUNCIE            IN   47304‐9730
REED, MICHAEL E         1575 E 13 MILE RD APT 106                                                                    MADISON HEIGHTS   MI   48071‐5012
REED, MICHAEL E         7664 QUAIL RIDGE DRIVE N.                                                                    PLAINFIELD        IN   46168
REED, MICHAEL E         2439 KESSLER BOULEVARD EAST DR                                                               INDIANAPOLIS      IN   46220‐2866
REED, MICHAEL J         1519 COVENTRY RD                                                                             DAYTON            OH   45410‐3210
REED, MICHAEL L         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA   23510‐2212
                                                         STREET, SUITE 600
REED, MICHAEL L         2901 LETCHWORTH PKWY                                                                         TOLEDO            OH   43606
REED, MICHAEL L         8109 NW 89TH ST                                                                              OKLAHOMA CITY     OK   73132
REED, MICHAEL L         PO BOX 11                                                                                    COVINGTON         OH   45318‐0011
REED, MICHAEL N         2829 S DEERFIELD AVE                                                                         LANSING           MI   48911‐1756
REED, MICHAEL NORMAN    2829 S DEERFIELD AVE                                                                         LANSING           MI   48911‐1756
REED, MICHAEL R         672 NEW NORTH DEXTER                                                                         IONIA             MI   48846
REED, MICHAEL R         4953 LINDBERGH BLVD                                                                          DAYTON            OH   45449
REED, MICHAEL T         1660 KILBURN RD N                                                                            ROCHESTER HILLS   MI   48306‐3030
REED, MICHAEL W         4630 E 400 S                                                                                 MIDDLETOWN        IN   47356
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Name                 Address1                         Address2            Address3         Address4         City                State Zip
REED, MICHAEL W      2880 EWALD CIR APT 207                                                                 DETROIT              MI 48238
REED, MICHAEL W      2812 OETTING DR                                                                        SAINT CHARLES        MO 63303‐8424
REED, MICHAELA A     182 CORNWALLICE LANE                                                                   FLINT                MI 48507‐5915
REED, MICHELLENE S   13098 BURGUNDY AVE                                                                     WARREN               MI 48089‐1312
REED, MILDRED D      156 STONES EDGE DRIVE                                                                  MONTGOMERY           TX 77356‐9052
REED, MILLER R       4349 GERMANTOWN PIKE                                                                   DAYTON               OH 45418‐2121
REED, MILLIE A       303 LISA ANN DR                                                                        HURON                OH 44839‐2811
REED, MILTON         1166 YORKWOOD RD                                                                       MANSFIELD            OH 44907‐2437
REED, MINNIE P       2211 FARMER ST 1                                                                       SAGINAW              MI 48601
REED, MONICA A
REED, MORGAN L       1504 E TELEGRAPH ST                                                                    CARSON CITY         NV   89701‐4436
REED, MORRIS R       3211 SPRING DR                                                                         ANDERSON            IN   46012‐9231
REED, MORRIS R       3211 SPRING DRIVE                                                                      ANDERSON            IN   46012‐9231
REED, MORRIS W       3909 COLONIAL DR                                                                       ANDERSON            IN   46012‐9444
REED, MOSE S         758 E 4TH ST APT B5                                                                    LIMA                OH   45804‐2572
REED, MOSES          414 N WASHINGTON AVE                                                                   DANVILLE            IL   61832‐4628
REED, MURIEL A       1331 COACHMAN DRIVE                                                                    SPARKS              NV   89434‐2561
REED, NANCY C        8131 E SOUTHPORT RD                                                                    INDIANAPOLIS        IN   46259‐9743
REED, NANCY J        1400 W BERKLEY AVE                                                                     MUNCIE              IN   47304‐1811
REED, NANCY L        7664 QUAIL RDG N                                                                       PLAINFIELD          IN   46168‐9306
REED, NANCY L        64 SEMINOLE ST                                                                         PONTIAC             MI   48341‐1638
REED, NANCY L.       11360 SWEETLEAF DR                                                                     INDIANAPOLIS        IN   46235‐3574
REED, NANCY M        63 S SHIRLEY ST                                                                        PONTIAC             MI   48342‐2850
REED, NANCY R        664 SCOTSBOROUGH WAY                                                                   BLOOMFIELD HILLS    MI   48304
REED, NANNIE E       2014 W 1100 N                                                                          ALEXANDRIA          IN   46001‐8681
REED, NATHAN C       6855 EAST RD                                                                           SAGINAW             MI   48601‐9701
REED, NEAL           17775 GRANGE RD                                                                        FREDERICKTOWN       OH   43019‐9305
REED, NEIL V         10230 SAN ANSELMO AVE                                                                  SOUTH GATE          CA   90280‐5625
REED, NEVALEE        1265 CENTER SPRING AVE                                                                 WAYNESVILLE         OH   45068‐8779
REED, NONDAS S       2833 DAKOTA DR                                                                         ANDERSON            IN   46012‐1413
REED, NORA D         148 DURAN VILLE                                                                        JACKSON             MS   39212‐4353
REED, NORA D         148 DURANVILLE ST                                                                      JACKSON             MS   39212‐4353
REED, NORBERT L      9940 S CR 40O E                                                                        WALTON              IN   46994
REED, NORBERT LEE    9940 S CR 40O E                                                                        WALTON              IN   46994
REED, NOREEN A       210 WATSON AVE                                                                         TRENTON             NJ   08610‐5104
REED, NORMA A        111 CARDINAL LN                                                                        ALEXANDRIA          IN   46001‐8104
REED, NORMAN F       4100 S WILLIAMS RD                                                                     STOCKBRIDGE         MI   49285‐9440
REED, NORMAN G       PO BOX 746                                                                             CASEVILLE           MI   48725‐0746
REED, NORMAN L       15911 WHITCOMB ST                                                                      DETROIT             MI   48227‐2668
REED, NORMAN R       1256 S 100 W                                                                           HARTFORD CITY       IN   47348‐9509
REED, OBIE           3409 WASHINGTON BLVD                                                                   CLEVELAND HEIGHTS   OH   44118‐2542
REED, ORA M          174 DAWSON CT                                                                          WESTLAND            MI   48186‐8536
REED, ORGIL C        10030 US HIGHWAY 60 W                                                                  KEVIL               KY   42053‐9407
REED, ORLO E         715 24TH STREET EAST                                                                   BRADENTON           FL   34208‐2958
REED, ORLO G         1415 GARDMAN AVE                                                                       BALTIMORE           MD   21209‐2122
REED, ORRIS R        4472 CROSBY RD                                                                         FLINT               MI   48506‐1418
REED, OTIS L         G 5170 EAST ATHERTON RD                                                                BURTON              MI   48519
REED, OWEN B         77 LAKE HINSDALE DR APT 206                                                            WILLOWBROOK         IL   60527‐2229
REED, OZIE           816 E 8TH ST                                                                           FLINT               MI   48503‐2779
REED, PAIGE          5055 TODD ACRES DR                                                                     MOBILE              AL   36619‐9216
REED, PALMA J        793 STATE ROUTE 96 E                                                                   SHELBY              OH   44875‐9166
REED, PAMELA K       2328 WYATT CT                                                                          FORT WORTH          TX   76119‐3104
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Name                             Address1                        Address2                        Address3      Address4         City             State Zip
REED, PAMELA L                   604 ANNS WAY                                                                                   WINDER            GA 30680‐7610
REED, PATRICIA                   105 MOON LN                                                                                    LYKENS            PA 17048‐9333
REED, PATRICIA                   C/O RHOADS & SINON              ONE S. MARKET SQUARE 14 FLOOR                                  HARRISBURG        PA 17108

REED, PATRICIA A                 24 FOUNTAINHEAD CT                                                                             MARTINEZ         CA   94553‐4905
REED, PATRICIA A                 22245 PETOSKEY                                                                                 STANWOOD         MI   49346‐9002
REED, PATRICIA J                 11289 SUMMERFIELD RD                                                                           PETERSBURG       MI   49270‐9310
REED, PATRICIA K                 20530 TUCKER RD                                                                                ATHENS           AL   35614‐4229
REED, PATRICIA K                 4953 LINDBERGH BLVD                                                                            DAYTON           OH   45449
REED, PATRICIA S                 3954 CLARIDGE DR.                                                                              YOUNGSTOWN       OH   44511‐1166
REED, PATRICIA, GREG AND MEGAN   C/O ERIE INSURANCE              ATTN: CINDY MOYER               PO BOX 2013                    MECHANICSBURG    PA   17055
REED, PATRICK M                  115 WATER ST                                                                                   BYRON            MI   48418
REED, PATSY S                    4240 CHILDERS DR.                                                                              CABOOL           MO   65689‐8912
REED, PATTI
REED, PAUL D                     1316 SW SKYLINE DR                                                                             BLUE SPRINGS     MO   64015‐4946
REED, PAUL D                     107 PALM DR                                                                                    GREENVILLE       OH   45331‐2925
REED, PAUL E                     2465 E RAHN RD                                                                                 KETTERING        OH   45440‐2542
REED, PAUL J                     2024 S 720 W                                                                                   RUSSIAVILLE      IN   46979‐9427
REED, PAUL THOMAS                915 COREY LN                                                                                   PLAINFIELD       IN   46168‐2386
REED, PAUL W                     10494 S HOOSIER AVE                                                                            SILVER LAKE      IN   46982‐9594
REED, PAULA                      1933 DAVIDSON ST                                                                               KENT             OH   44240‐3017
REED, PAULINE M                  10326 W MOUNT HOPE HWY                                                                         VERMONTVILLE     MI   49096‐8755
REED, PAULINE M                  10326 W. MT. HOPE HWY                                                                          VERMONTVILLE     MI   49096‐8755
REED, PEGGY A                    1823 N MORRISON ST                                                                             KOKOMO           IN   46901‐2148
REED, PEGGY F                    APT 208                         4409 EAGLE CREEK PARKWAY                                       INDIANAPOLIS     IN   46254‐4326
REED, PHILLIP A                  18252 MIDDLEBELT RD APT 104                                                                    LIVONIA          MI   48152‐3618
REED, PHYLLIS                    574 WILLOUGHBYTOWN RD                                                                          JEFFERSONVILLE   KY   40337‐8313
REED, PHYLLIS J                  1025 S FRONT ST                                                                                CHESANING        MI   48616‐1421
REED, R B                        3044 W GRAND BLVD               C/O LUXEMBOURG RM 3‐220                                        DETROIT          MI   48202‐3009
REED, RALPH D                    2849 CLARK RD                                                                                  PRESCOTT         MI   48756‐9319
REED, RALPH L                    3407 W MOUNT HOPE AVE LOT G25                                                                  LANSING          MI   48911‐1218
REED, RANDAL D                   PO BOX 372                                                                                     MAYVILLE         MI   48744‐0372
REED, RANDALL D                  PO BOX 884                                                                                     OAKWOOD          GA   30566‐0015
REED, RANDALL L                  5171 MCCLINTOCKSBURG RD                                                                        NEWTON FALLS     OH   44444‐9267
REED, RANDELL                    33613 SUNRISE DR                                                                               FRASER           MI   48026‐5033
REED, RANDY D                    1138 SUMMIT PLACE                                                                              BIRMINGHAM       AL   35243‐3121
REED, RANDY DANIEL               1138 SUMMIT PLACE                                                                              BIRMINGHAM       AL   35243‐3121
REED, RANDY S                    90 BARRYMORE RD                                                                                CHEEKTOWAGA      NY   14225‐2043
REED, RASHAAN L                  44 BRUSHY CREEK CIR                                                                            FREDERICKSBURG   VA   22406‐8442
REED, RASHAWN M                  5809 CLOVERLAWN DR                                                                             FLINT            MI   48504‐7067
REED, RAYMOND C                  421 W 29TH ST                                                                                  MARION           IN   46953
REED, RAYMOND J                  1309 GREENACRES DR                                                                             KOKOMO           IN   46901‐8733
REED, RAYMOND L                  218 NE CHATEAU DR                                                                              BLUE SPRINGS     MO   64014‐2626
REED, RAYMOND L                  PO BOX 325                                                                                     RUSSIAVILLE      IN   46979‐0325
REED, RAYMOND T                  4356 BADGER RD                                                                                 LYONS            MI   48851‐9758
REED, REBA L                     204 CYPRESS CT                                                                                 KOKOMO           IN   46902‐6611
REED, REBECCA                    55 COUNTY ROAD 356                                                                             CLANTON          AL   35045‐6902
REED, REGINALD                   389 HIGHLAND AVE                                                                               PENNS GROVE      NJ   08069‐2286
REED, REGINALD J                 2500 W GRAND BLVD APT 609                                                                      DETROIT          MI   48208‐1247
REED, RENEE L                    1805 TOPAZ RD                                                                                  KILLEEN          TX   76543‐5156
REED, RENEE L.                   1220 RIDGEBROOK CT SE                                                                          GRAND RAPIDS     MI   49508‐6260
REED, REX A                      153 E HILL ST                                                                                  WAYNESBORO       TN   38485‐2524
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Name               Address1                           Address2         Address3         Address4         City            State Zip
REED, REX R        504 BROOKS AVE A28                                                                    ROCHESTER        NY 14619
REED, RICHARD D    6669 ARNO COLLEGE GROVE RD                                                            COLLEGE GROVE    TN 37046‐9132
REED, RICHARD D    7359 KIMBALL RD                                                                       LYONS            MI 48851‐9752
REED, RICHARD D    113 WICKHAM AVE                                                                       HOUGHTON LAKE    MI 48629‐9121
REED, RICHARD E    7674 E 200 S                                                                          MARION           IN 46953‐9571
REED, RICHARD E    961 PRINCETON TER                                                                     GLEN BURNIE      MD 21060‐7048
REED, RICHARD J    7600 MAHONING AVE                                                                     LISBON           OH 44432‐9300
REED, RICHARD J    8560 CANADA RD                                                                        BIRCH RUN        MI 48415‐8429
REED, RICHARD L    4619 GLEN MOOR WAY                                                                    KOKOMO           IN 46902‐9102
REED, RICHARD L    17286 40TH RUN N                                                                      LOXAHATCHEE      FL 33470‐3657
REED, RICHARD M    602 WARREN ST                                                                         CHARLOTTE        MI 48813‐1973
REED, RICHARD O    110 W TAYLOR ST                                                                       ALEXANDRIA       IN 46001‐1131
REED, RICHARD O    9360 BEARD RD                                                                         BYRON            MI 48418‐9732
REED, RICHARD R    PO BOX 193                         209 E MAPLE RD                                     BYRON            MI 48418‐0193
REED, RICHETTA F   4811 KENTFIELD DR                                                                     TROTWOOD         OH 45426‐1823
REED, RICK C       1764 CLAYBROOK PARK CIR                                                               BRENTWOOD        TN 37027‐8083
REED, RICKY        4565 ROBERTS LN                                                                       ROSE CITY        MI 48654‐9613
REED, RICKY L      N4202 COUNTRY CLUB DR                                                                 BRODHEAD         WI 53520‐8600
REED, ROBERT       5723 N HAMMEL BEACH RD                                                                AU GRES          MI 48703‐9612
REED, ROBERT       3712 MARYWOOD CIR                                                                     OKLAHOMA CITY    OK 73135‐2234
REED, ROBERT
REED, ROBERT       9965 N JUDSON DR                                                                      MOORESVILLE     IN   46158‐6505
REED, ROBERT C     4458 LESLEY AVE                                                                       INDIANAPOLIS    IN   46226‐3358
REED, ROBERT D     1365 S MICHIGAN RD                                                                    EATON RAPIDS    MI   48827‐9289
REED, ROBERT E     2175 N STATE HIGHWAY 360 APT 715                                                      GRAND PRAIRIE   TX   75050‐1074
REED, ROBERT E     837 LINCOLN AVE                                                                       NILES           OH   44446‐3163
REED, ROBERT E     3312 DELAWARE AVE                                                                     SEBRING         FL   33872‐2501
REED, ROBERT F     1709 WOOD ST                                                                          SAGINAW         MI   48602‐1155
REED, ROBERT G     4856 EAST CONDENSERY ROAD                                                             SHERIDAN        MI   48884‐9747
REED, ROBERT G     6560 MORRIS ST                                                                        MARLETTE        MI   48453‐1258
REED, ROBERT G     4856 E CONDENSERY RD                                                                  SHERIDAN        MI   48884‐9747
REED, ROBERT J     4818 COTTAGE RD                                                                       LOCKPORT        NY   14094‐1604
REED, ROBERT J     5409 S GRAVEL PIT RD                                                                  ECKERMAN        MI   49728‐8400
REED, ROBERT J     PO BOX 342                                                                            TAWAS CITY      MI   48764‐0342
REED, ROBERT K     4448 KILLARNEY PARK DR                                                                BURTON          MI   48529‐1823
REED, ROBERT K     6221 COULSON CT                                                                       LANSING         MI   48911‐5629
REED, ROBERT K     5344 RIVER RIDGE DR                                                                   LIBERTY TWP     OH   45011‐2220
REED, ROBERT L     10127 E ATHERTON RD                                                                   DAVISON         MI   48423‐8704
REED, ROBERT L     1343 S CLARK RD R 1                                                                   DANSVILLE       MI   48819
REED, ROBERT L     615 N SELFRIDGE BLVD                                                                  CLAWSON         MI   48017‐1388
REED, ROBERT M     2736 SANDSTONE TER NE                                                                 GRAND RAPIDS    MI   49525‐6844
REED, ROBERT R     3242 DREXEL AVE                                                                       FLINT           MI   48506‐1936
REED, ROBERT R     1014 JACKSON RD                                                                       WEBSTER         NY   14580‐8705
REED, ROBERT S     11977 TEMPEST HARBOR LOOP                                                             VENICE          FL   34292‐3826
REED, ROBERT W     2474 W PHILADELPHIA ST                                                                DETROIT         MI   48206‐2454
REED, ROBIN A      604 ANNS WAY                                                                          WINDER          GA   30680‐7610
REED, ROBIN D      RR 1 BOX 55                                                                           SOLSBERRY       IN   47459‐9714
REED, ROBIN R
REED, RODGER A     9578 CHERRYWOOD RD                                                                    CLARKSTON       MI   48348‐2506
REED, RODNEY C     6267 KING ARTHUR DR                                                                   SWARTZ CREEK    MI   48473‐8855
REED, RODNEY J     219 JEAN ST                                                                           STURGIS         MI   49091‐1536
REED, ROGER D      19400 W RIDGE RD                                                                      HENDERSON       MI   48841‐9502
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Name                    Address1                            Address2                     Address3   Address4         City             State Zip
REED, ROGER D           20 LEDGEWOOD DR                                                                              MANSFIELD         OH 44905‐1874
REED, ROGER L           509 FAIRMONT AVENUE                                                                          BOWLING GREEN     KY 42103‐1628
REED, ROGER W           703 RANDALL DR                                                                               BRIGHTON           IL 62012‐1227
REED, ROLAND C          515 E COADY DR                                                                               MINOOKA            IL 60447‐8795
REED, RONALD A          3287 W GATES LN                                                                              CITRUS SPRINGS    FL 34433‐6239
REED, RONALD A          708 CARSWELL TER                                                                             ARLINGTON         TX 76010‐4443
REED, RONALD B          G‐3309 E. CARPENTER RD.                                                                      FLINT             MI 48506
REED, RONALD B          4307 SILVER SPRING RD                                                                        PERRY HALL        MD 21128‐9656
REED, RONALD BAIRD      4307 SILVER SPRING RD                                                                        PERRY HALL        MD 21128‐9656
REED, RONALD BARTON     G‐3309 E. CARPENTER RD.                                                                      FLINT             MI 48506
REED, RONALD D          31894 BIRCHWOOD DR                                                                           LAKE ELSINORE     CA 92532‐2628
REED, RONALD E          2962 BULLOCK RD                                                                              METAMORA          MI 48455‐9603
REED, RONALD E          9802 SIL ST                                                                                  TAYLOR            MI 48180‐3087
REED, RONALD G          8227 W US HIGHWAY 36                                                                         COATESVILLE       IN 46121‐9044
REED, RONALD J          127 YANKTON ST                                                                               FOLSOM            CA 95630‐8140
REED, RONALD L          1204 ARBOR RD NE                                                                             MINERVA           OH 44657‐9739
REED, RONALD L          39025 W 319TH ST                                                                             PAOLA             KS 66071‐4678
REED, RONALD L          G3120 RHODA                                                                                  FLINT             MI 48507
REED, RONALD L          1007 BELMONT CIR                                                                             TAVARES           FL 32778‐2503
REED, RONALD M          12491 WHISPER RIDGE DR                                                                       FREELAND          MI 48623‐9545
REED, RONALD M          10821 CLINTON AVE                                                                            HAGERSTOWN        MD 21740‐7706
REED, RONALD MCARTHUR   10821 CLINTON AVE                                                                            HAGERSTOWN        MD 21740‐7706
REED, RONALD R          2275 STARLIGHT CT APT 290                                                                    WEST MELBOURNE    FL 32904‐8131
REED, RONALD R          G1392 AUTUMN DR                                                                              FLINT             MI 48532
REED, RONNIE E          1116 PARK CIRCLE DR                                                                          ANDERSON          IN 46012‐4671
REED, ROSALIE W         37622 W SHADY DR                                                                             SELBYVILLE        DE 19975‐4215
REED, ROSALIE W         37622 W. SHADY DRIVE                                                                         SELBYVILLE        DE 19975‐4215
REED, ROSCOE F          PO BOX 333                                                                                   WOLVERINE         MI 49799‐0333
REED, ROSEMARY          277 DONNIE LN                                                                                GRAND PRAIRIE     TX 75052‐2444
REED, ROSEMARY          3301 W TORQUAY RD                                                                            MUNCIE            IN 47304‐3238
REED, ROSIA N           1718 DEERFIELD AVE SW                                                                        WARREN            OH 44485‐3939
REED, ROSIDA            1917 RUTHIE RUN                                                                              CEDAR PARK        TX 78613‐7192
REED, ROSIE J           13206 QUIET WOODS RD APT A                                                                   WELLINGTON        FL 33414‐2922
REED, ROSLYN Y          184 SOUTH FRANCIS AVENUE                                                                     PONTIAC           MI 48342‐3230
REED, ROSS A            2301 ARROWWOOD HILLS                LOT B                                                    ANN ARBOR         MI 48105
REED, RUBY              ADDRESS NOT IN FILE
REED, RUBY E            JENKINS, DOUGLAS T                  107 E MAIN ST STE 321                                    ROGERSVILLE      TN   37857‐3640
REED, RUBY M            4823 EBB TIDE                                                                                PORT RICHEY      FL   34668
REED, RUSSELL D         5120 WILLARD RD                                                                              BIRCH RUN        MI   48415‐8770
REED, RUSSELL L         5553 E US HIGHWAY 40                                                                         GREENFIELD       IN   46140‐8361
REED, RUTH
REED, RUTH D            468 CAMBRIDGE AVE                                                                            BUFFALO          NY   14215
REED, RUTH J            85 FIDDLERS CREEK RD                                                                         TITUSVILLE       NJ   08560‐1802
REED, SAINT E           2164 ATKINSON LN                                                                             LAWRENCEVILLE    GA   30043‐5507
REED, SAMUEL            ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                 WILMINGTON       DE   19801‐1813
REED, SAMUEL            PAUL REICH & MYERS P.C.             1608 WALNUT ST STE 500                                   PHILADELPHIA     PA   19103‐5446
REED, SAMUEL C          1105 ANGEL FIRE LN                                                                           ARLINGTON        TX   76001‐7898
REED, SAMUEL CRAIG      1105 ANGEL FIRE LN                                                                           ARLINGTON        TX   76001‐7898
REED, SAMUEL L          202 VALLEY VIEW ROAD                                                                         SANDY LAKE       PA   16145‐4408
REED, SAMUEL M          7721 E PICCADILLY RD                                                                         MUNCIE           IN   47302‐8648
REED, SAMUEL WATSON     JEFFREY JACOBS @ JACOBS LAW GROUP   1420 RIVER PARK DR STE 100                               SACRAMENTO       CA   95815‐4506
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Name                    Address1                          Address2                         Address3   Address4         City               State Zip
REED, SANDRA A          1734 SOUTHEAST FORD TERRACE                                                                    ARCADIA             FL 34266‐7570
REED, SANDRA L          7060 KITSON DR NE                                                                              ROCKFORD            MI 49341‐8545
REED, SANDRA L          816 E 8TH ST                                                                                   FLINT               MI 48503
REED, SARA J            315 E GRANT ST                                                                                 GREENTOWN           IN 46936‐1206
REED, SARAH L           1344 W SAINT JOSEPH ST                                                                         LANSING             MI 48915‐1672
REED, SCHAUTAN D        246 MARLAY RD                                                                                  DAYTON              OH 45405‐1830
REED, SCHAUTAN DENISE   246 MARLAY RD                                                                                  DAYTON              OH 45405‐1830
REED, SCOTT ALLEN       242 GREEN VALLEY RD                                                                            FLINT               MI 48506‐5317
REED, SCOTT J           4873 SIMPSON RD                                                                                OWOSSO              MI 48867‐9379
REED, SCOTT LEROY       11471 CASTLE COURT                                                                             CLIO                MI 48420‐1716
REED, SCOTT LOUIS       41021 OLD MICHIGAN AVE            TRLR 76                                                      CANTON              MI 48188‐2751
REED, SCOTT M           6411 JIMTOWN RD                                                                                EAST PALESTINE      OH 44413‐7701
REED, SCOTT O           8100 CARPENTER RD                                                                              YPSILANTI           MI 48197‐9245
REED, SEAN W            3323 SHILOH SPRINGS RD APT E                                                                   TROTWOOD            OH 45426‐2280
REED, SEAN W            3323 E. SHILOH SPRINGS RD, APT.                                                                TROTWOOD            OH 45426
REED, SHANNON D         77 N CIRCLE DR                                                                                 GERMANTOWN          OH 45327‐1369
REED, SHARI L           57241 BUCKHORN RD                                                                              THREE RIVERS        MI 49093‐9665
REED, SHARLON J         925 PALMYRA RD SW                                                                              WARREN              OH 44485
REED, SHARON E          3192 DONLEY AVE                                                                                ROCHESTER HLS       MI 48309‐4125
REED, SHARON L          426 ELM ST                                                                                     MOUNT MORRIS        MI 48458‐1914
REED, SHARON O          3717 S J ST                                                                                    MCALLEN             TX 78503‐1433
REED, SHIELA A          14514 NE 189TH PL                                                                              FORT MC COY         FL 32134‐6353
REED, SHIRLEY D         574 WILLOUGHBYTOWN RD                                                                          JEFFERSONVILLE      KY 40337‐8313
REED, SHIRLEY J         991 SWEENEY ST                                                                                 NORTH TONAWANDA     NY 14120‐4807
REED, SHIRLEY M         260 EMERSON STREET                                                                             ROCHESTER           NY 14613‐2532
REED, SHIRLEY M         260 EMERSON ST                                                                                 ROCHESTER           NY 14613‐2532
REED, SONDRA M          21000 MARTINSVILLE RD                                                                          BELLEVILLE          MI 48111‐8729
REED, SR.,JOE B         12005 STONE RD                                                                                 GRANT               MI 49327‐9056
REED, STANLEY B         115 PINEWOOD ACRES DR 1                                                                        POWELLS POINT       NC 27966‐9763
REED, STANLEY N         EARLY LUDWICK & SWEENEY L.L.C.    ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN           CT 06508‐1866
                                                          265 CHURCH STREET
REED, STELLA            535 DICKEMERY DR                                                                               AKRON              OH   44303
REED, STELLA M          534 E DAYTON ST                                                                                FLINT              MI   48505‐4344
REED, STEPHEN D         217 E WASHINGTON ST                                                                            MUNCIE             IN   47305
REED, STEPHEN N         19844 RIVER SHORE DR 8                                                                         THREE RIVERS       MI   49093
REED, STEVEN A          200 BRIARCREST DR APT 120                                                                      ANN ARBOR          MI   48104
REED, STEVEN D          PO BOX 46                                                                                      NEW LEBANON        OH   45345‐0046
REED, STEVEN DOUGLAS    PO BOX 46                                                                                      NEW LEBANON        OH   45345‐0046
REED, STEVEN O          5672 HUBBARDSTON RD                                                                            HUBBARDSTON        MI   48845‐9705
REED, STEVEN P          12767 LARKINS RD                                                                               BRIGHTON           MI   48114
REED, STEVEN W          18900 N HONEY ST                                                                               GASTON             IN   47342‐9088
REED, SUSAN             1513 SCHULER DR                                                                                KOKOMO             IN   46901‐1931
REED, SYLVANUS F        7928 S 34TH ST                                                                                 SCOTTS             MI   49088‐9345
REED, SYLVIA L          PO BOX 121902                                                                                  ARLINGTON          TX   76012‐7902
REED, TAMARA G          4917 HONEYWOOD CT                                                                              DAYTON             OH   45424‐4804
REED, TAMMY             5591 WILSON RD                                                                                 BUTLER             OH   44822‐9643
REED, TED H             2437 WHISPER DR                                                                                MIAMISBURG         OH   45342‐6760
REED, TERESA            1813 KENSINGTON DR                                                                             DAYTON             OH   45406‐3906
REED, TERESA M          16791 BUSBY LN                                                                                 HUNTINGTON BEACH   CA   92647‐4211
REED, TERRANCE D        1401 S 900 W                                                                                   DALEVILLE          IN   47334
REED, TERRY             2626 KENSINGTON DR                                                                             SAGINAW            MI   48601‐4565
REED, TERRY G           630 S BICKETT RD                                                                               XENIA              OH   45385
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Name                  Address1                              Address2                         Address3         Address4         City             State Zip
REED, TERRY L         5227 GREYSTONE CT                                                                                        HARBOR SPRINGS    MI 49740‐8710
REED, TERRY R         20591 HEIMBACH RD                                                                                        MENDON            MI 49072
REED, THELMA          8212 NW 30TH ST                                                                                          BETHANY           OK 73008‐4374
REED, THELMA          GETHSEMANE MANOR                      C/O THELMA REED                                                    BUFFALO           NY 14208
REED, THELMA          8212 N W 30TH                                                                                            BETHANY           OK 73008‐4374
REED, THELMA E        4472 CROSBY RD                                                                                           FLINT             MI 48506‐1418
REED, THELMA P        311 W PARKHILL AVE                                                                                       BUSHNELL          FL 33513‐6619
REED, THOMAS          4116 SAINT LUCIA BALLE                                                                                   DICKINSON         TX 77539
REED, THOMAS A        1190 BEAR CORBITT RD                                                                                     BEAR              DE 19701‐1532
REED, THOMAS A        2906 W BOGART RD                                                                                         SANDUSKY          OH 44870‐5356
REED, THOMAS D        10220 ANDORA RD NE                                                                                       EAST ROCHESTER    OH 44625‐9616
REED, THOMAS E        3838 N LAPEER RD                                                                                         LAPEER            MI 48446‐8775
REED, THOMAS E        PO BOX 4203                                                                                              DAYTON            OH 45401‐4203
REED, THOMAS H        4031 DEVEREAUX DR                                                                                        JANESVILLE        WI 53546‐1461
REED, THOMAS H        PORTER & MALOUF PA                    4670 MCWILLIE DR                                                   JACKSON           MS 39206‐5621
REED, THOMAS M        15800 CACTUS ST                                                                                          HESPERIA          CA 92345
REED, THOMAS P        26621 S TREVINO DR                                                                                       SUN LAKES         AZ 85248‐6947
REED, THOMAS R        44950 JOY RD                                                                                             PLYMOUTH          MI 48170‐3940
REED, THOMAS RONALD   44950 JOY RD                                                                                             PLYMOUTH          MI 48170‐3940
REED, THOMAS S        6672 AUTUMN GLEN DR                                                                                      WEST CHESTER      OH 45069‐1478
REED, THURMAN R       1102 ALIMINGO DR                                                                                         INDIANAPOLIS      IN 46260‐4053
REED, TIMOTHY         258 APPLEWOOD LN                                                                                         PENNS GROVE       NJ 08069
REED, TIMOTHY E       604 MINE HILL ROAD                                                                                       FAIRFIELD         CT 06824‐2137
REED, TIMOTHY H       PO BOX 46                                                                                                OAKWOOD           GA 30566‐0001
REED, TIMOTHY J       1065 OLD PINEYWOODS RD LOT 8                                                                             JASPER            AL 35504‐5981
REED, TIMOTHY R       4889 S US HIGHWAY 23                                                                                     GREENBUSH         MI 48738‐9751
REED, TODD L
REED, TOM E           510 MAGNOLIA ST                                                                                          RAYMORE          MO 64083‐9696
REED, TOMIKA          STEVE R. CRANE, KINARD, CRANE & BUTLER PO BOX 727                       118 E CALHOUN                    MAGNOLIA         AR 71754‐0727
                      PA
REED, TOMMIE L        1016 CHANDLER ST                                                                                         DANVILLE         IL   61832‐3725
REED, TOMMIE R        2810 QUINBERY DR                                                                                         SNELLVILLE       GA   30039‐8041
REED, TOMMIE RICKIE   2810 QUINBERY DR                                                                                         SNELLVILLE       GA   30039‐8041
REED, TOMMY           COHAN LAWRENCE R                       1900 DELANCEY PLACE, 1710 SPRUCE                                  PHILADELPHIA     PA   19103
                                                             ST
REED, TONY L          2824 PINCH HWY                                                                                           CHARLOTTE        MI   48813‐8703
REED, TONY L          189 FOSTER LN                                                                                            BREMEN           GA   30110‐3131
REED, TONY T          1691 DODGE DR NW                                                                                         WARREN           OH   44485‐1822
REED, TRACY           2108 S 51ST AVE APT 1                                                                                    CICERO           IL   60804
REED, TRUDIE          2210 CRESTWOOD                                                                                           PINE BLUFF       AR   71603
REED, TWANA M         8610 N KANSAS AVE APT 301                                                                                KANSAS CITY      MO   64156‐2951
REED, TWANA M         8614 N HELENA AVE APT 415                                                                                KANSAS CITY      MO   64154‐2511
REED, TYRONE V        22084 W LA PASADA BLVD                                                                                   BUCKEYE          AZ   85326‐8977
REED, VALERIE H       1764 CLAYBROOK PARK CIR                                                                                  BRENTWOOD        TN   37027‐8083
REED, VALERIE K       312 N LANE ST                                                                                            BLISSFIELD       MI   49228‐1124
REED, VELMA           485 COLORADO AVE                                                                                         PONTIAC          MI   48341
REED, VELMA B         1935 RANCH RD                                                                                            WHITESBORO       TX   76273‐6376
REED, VELVERLY S      13340 IRVINE BLVD                                                                                        OAK PARK         MI   48237‐3619
REED, VERA J          1019 BROOKLEY BLVD                                                                                       TOLEDO           OH   43607‐3047
REED, VERA J          1019 BROOKLEY                                                                                            TOLEDO           OH   43607‐3047
REED, VERA R          1116 PARK CIRCLE DR                                                                                      ANDERSON         IN   46012‐4671
REED, VERNA M         1125 LA SALLE AVE                                                                                        WATERFORD        MI   48328‐3751
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Name                     Address1                          Address2              Address3     Address4         City            State Zip
REED, VERONICA S         707 E COLUMBIA ST                                                                     MASON            MI 48854‐1305
REED, VERONICA SUZANNE   707 E COLUMBIA ST                                                                     MASON            MI 48854‐1305
REED, VICKI              11471 CASTLE COURT                                                                    CLIO             MI 48420‐1716
REED, VICTORIA           28138 UNIVERSAL DR                                                                    WARREN           MI 48092‐2431
REED, VICTORIA L         21658 DOWSETT TRL                                                                     ATLANTA          MI 49709
REED, VIDA M             908 BRIDGES DR                                                                        ARLINGTON        TX 76012‐2047
REED, VINCENT D          10997 VERONA RD.                                                                      LEWISBURG        OH 45338‐8994
REED, VINCENT M          2825 LOUISE RUSSELL DR                                                                ANTIOCH          TN 37013‐5220
REED, VIOLA C            APT 17                            715 OAKDALE AVENUE                                  BROOKSVILLE      FL 34601‐1913
REED, VIOLA C            3906 STATE ROUTE 3306                                                                 ARGILLITE        KY 41121
REED, VIRGINIA D         4764 FLAT CREEK RD                                                                    OAKWOOD          GA 30566‐3101
REED, VIRGINIA L         629 GARFIELD AVE                                                                      MOUNT MORRIS     MI 48458‐1521
REED, VIRGINIA M         314 WAKEFIELD DR                                                                      ANDERSON         IN 46013‐4765
REED, VIRGINIA R         9840 S CLARE AVE                                                                      CLARE            MI 48617‐8908
REED, VIRGINIA S         4356 PEET ST                      C/O DANIEL C. REED                                  MIDDLEPORT       NY 14105‐9607
REED, W A                3520 BOHICKET RD                  IRON HORSE FARM                                     JOHNS ISLAND     SC 29455‐7223
REED, W ALLEN            3520 BOHICKET ROAD                                                                    JOHNS ISLAND     SC 29455‐7223
REED, WADEAN W           2933 MANNDALE DR                                                                      MEMPHIS          TN 38127‐7817
REED, WALKER             GUY WILLIAM S                     PO BOX 509                                          MCCOMB           MS 39649‐0509
REED, WALTER C           6571 S NEW LOTHROP RD                                                                 DURAND           MI 48429‐1775
REED, WALTER L           6705 SW CEMETERY RD                                                                   OAK GROVE        MO 64075‐9042
REED, WALTER N           826 ROARING BROOK CIR                                                                 LANSING          MI 48917‐8854
REED, WANDA L            1612 GRACELAND DR                                                                     FAIRBORN         OH 45324
REED, WANDA R.           102 NORTH CIRCLE DRIVE                                                                CANTON           OH 44709‐4209
REED, WAUNITA E          33 EXCURSION DR                                                                       MARTINSBURG      WV 25404
REED, WAYNE K            3408 DAYTA DR                                                                         BALTIMORE        MD 21207‐4529
REED, WESLEY R           5478 NORTH 3 ROAD                                                                     MESICK           MI 49668‐9118
REED, WILBURN E          4925 SAWMILL LAKE RD                                                                  ORTONVILLE       MI 48462‐9619
REED, WILEY M            432 W WASHINGTON ST APT A                                                             PARIS             IL 61944‐1778
REED, WILLA M            4845 LITTLE RICHMOND RD                                                               DAYTON           OH 45426‐3203
REED, WILLARD C          LOT 703                           5325 VAN ORDEN ROAD                                 WEBBERVILLE      MI 48892‐9766
REED, WILLIAM            9316 WHITCOMB ST                                                                      DETROIT          MI 48228‐2218
REED, WILLIAM
REED, WILLIAM            1315 NORWOOD ST NW                                                                    WARREN          OH   44485‐1957
REED, WILLIAM            9000 MCDONALD RD                                                                      NEWALLA         OK   74857‐7700
REED, WILLIAM A          5124 N BELSAY RD                                                                      FLINT           MI   48506‐1676
REED, WILLIAM B          PO BOX 47                                                                             BERLIN CENTER   OH   44401‐0047
REED, WILLIAM C          SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                     HASTINGS        MN   55033‐2432
REED, WILLIAM C          11617 BREAN WAY                                                                       FISHERS         IN   46037‐4390
REED, WILLIAM C          1249 E SEATON HILL RD                                                                 ENGLISH         IN   47118
REED, WILLIAM C          5375 HILLSBORO RD                                                                     DAVISBURG       MI   48350‐3828
REED, WILLIAM E          1416 TOD AVE SW                                                                       WARREN          OH   44485‐3811
REED, WILLIAM F          2717 SLOAN RD                                                                         BIRCH RUN       MI   48415‐8936
REED, WILLIAM H          3107 E GRAND RIVER RD                                                                 WILLIAMSTON     MI   48895‐9161
REED, WILLIAM J          1037 W MONTEBCLLO CIR                                                                 CORDOVA         TN   38018‐8403
REED, WILLIAM J          5502 79TH AVE E                                                                       PALMETTO        FL   34221‐9126
REED, WILLIAM J          2605 DELMONTE                                                                         KETTERING       OH   45419‐2760
REED, WILLIAM J          2605 DELMONTE AVE                                                                     KETTERING       OH   45419‐2760
REED, WILLIAM K          1740 DEVONSHIRE LN                                                                    MANSFIELD       OH   44907‐2904
REED, WILLIAM L          136 SCOVELL ST                                                                        LOCKPORT        NY   14094‐2346
REED, WILLIAM L          11126 HEARTHSIDE DR                                                                   PINCKNEY        MI   48169‐8745
REED, WILLIAM M          1031 ROSE HILL RD                                                                     HAMERSVILLE     OH   45130‐9724
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Name                                Address1                         Address2                        Address3         Address4         City              State Zip
REED, WILLIAM R                     15854 S LOWELL RD                                                                                  LANSING            MI 48906‐9229
REED, WILLIAM R                     JACOBS & CRUMPLAR P.A.           PO BOX 1271                     2 EAST 7TH ST,                    WILMINGTON         DE 19899‐1271
REED, WILLIAM R                     834 WESTWOOD DR                                                                                    FENTON             MI 48430
REED, WILLIAM R                     PO BOX 1374                                                                                        RAWLINS            WY 82301‐1374
REED, WILLIAM S                     1121 N SUGAR BEND RUN                                                                              GREENFIELD         IN 46140‐8091
REED, WILLIAM T                     PO BOX 398                                                                                         OAKWOOD            GA 30566‐0007
REED, WILLIAM T                     1919 FAIRGROUND DR                                                                                 PLEASANT HILL      MO 64080‐1903
REED, WILLIE                        6126 RANDOLPH RD                                                                                   BEDFORD HTS        OH 44146‐3929
REED, WILLIE                        SHANNON LAW FIRM                 100 W GALLATIN ST                                                 HAZLEHURST         MS 39083‐3007
REED, WILLIE H                      4469 HIGH ST APT 20                                                                                ECORSE             MI 48229
REED, WILLIE J                      700 E COURT ST APT 110                                                                             FLINT              MI 48503‐6221
REED, WINIFRED                      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
REED, WINIFRED                      155 TOD LN                                                                                         YOUNGSTOWN        OH   44505‐2614
REED, WINIFRED                      155 TOD LANE                                                                                       YOUNGSTOWN        OH   44505‐2614
REED, WYMAN H                       8387 W COUNTY ROAD 612                                                                             FREDERIC          MI   49733‐9717
REED, YVONNE M                      5710 DENLINGER RD                                                                                  TROTWOOD          OH   45426‐1838
REED, ZELMA L                       144 EUCLID AVE                                                                                     PONTIAC           MI   48342‐1113
REED, ZELMA L                       144 EUCLID                                                                                         PONTIAC           MI   48342‐1113
REED,JEFFERY A                      PO BOX 121                                                                                         SPRINGBORO        OH   45066‐0121
REED,REBECCA S                      7207 NW WINTER AVE                                                                                 KANSAS CITY       MO   64152‐2861
REED,STEVEN DOUGLAS                 4543 DEEDS RD SW                                                                                   PATASKALA         OH   43062‐7445
REED,TIMOTHY E                      604 MINE HILL RD                                                                                   FAIRFIELD         CT   06824
REED,W ALLEN                        3520 BOHICKET RD                                                                                   JOHNS ISLAND      SC   29455
REED‐BRASHER, SHANNAN A             250 REBECCA DR                                                                                     WEST ALEXANDRIA   OH   45381
REED‐COOK MARIA                     42 SHERMAN RD                                                                                      GLASTONBURY       CT   06033
REED‐COOPER, SHELLY R               6232 GLENCAIRN CIR                                                                                 GALLOWAY          OH   43119‐9128
REED‐GIBSON, LENORA                 4 HOLLAND CT                                                                                       SAGINAW           MI   48601‐2658
REED‐LALLIER CHEVROLET              4500 RAEFORD RD                                                                                    FAYETTEVILLE      NC   28304‐3230
REED‐THOMAS, KIMBERLY D             623 EAGLE ROCK AVENUE                                                                              WEST ORANGE       NJ   07052‐2948
REEDA WILSON                        31205 SHERIDAN ST                                                                                  GARDEN CITY       MI   48135‐3303
REEDER CHEVROLET                    4301 CLINTON HWY                                                                                   KNOXVILLE         TN   37912‐5625
REEDER DEWEY                        5464 BALDWIN ST                                                                                    DETROIT           MI   48213‐2883
REEDER EVERETT WILEY (481975)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                     STREET, SUITE 600
REEDER I I I, BERNARD D             1614 MADISON ST                                                                                    SAGINAW           MI 48602‐4051
REEDER JERRY (ESTATE OF) (492132)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH 44067
                                                                     PROFESSIONAL BLDG
REEDER JERRY (ESTATE OF) (493091)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD        OH 44067
                                                                     PROFESSIONAL BLDG
REEDER JR, JAMES R                  3217 PINEVIEW TRL                                                                                  HOWELL            MI   48843‐6487
REEDER JR, PHILIP L                 210 JEFFERSON ST                                                                                   PENDLETON         IN   46064‐1132
REEDER JR, THOMAS                   5394 BOLAND DR                                                                                     GRAND BLANC       MI   48439‐5102
REEDER KEVIN J                      REEDER, KEVIN J                  1234 MARKET STREET SUITE 2040                                     PHILADELPHIA      PA   19107
REEDER RAMSEY JR                    3510 S EBRIGHT ST                                                                                  MUNCIE            IN   47302‐5723
REEDER'S AUTO SERVICE CENTER        6436 CENTRAL AVE                                                                                   PORTAGE           IN   46368‐3804
REEDER, ARTHUR M                    727 DR.MILLER ROAD                                                                                 NORTHEAST         MD   21901
REEDER, BARBARA ANN                 1622 BOWMAN AVE                                                                                    MORAINE           OH   45409‐1522
REEDER, BARBARA ANN                 1622 WEST BOWMAN AVENUE                                                                            KETTERING         OH   45409‐5409
REEDER, BETTY JANE                  857 GARROW RD                                                                                      NEWPORT NEWS      VA   23608‐3387
REEDER, BETTY JANE                  857 GARROW RD.                                                                                     NEWPORT NEWS      VA   23608
REEDER, BRADLEY J                   2634 S 47TH DR                                                                                     YUMA              AZ   85364‐7563
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Name                    Address1                        Address2                       Address3   Address4         City              State Zip
REEDER, CAROL S         6303 N AKRON DR                                                                            ALEXANDRIA         IN 46001
REEDER, CAROLYN K       4378 N 641 W                                                                               HUNTINGTON         IN 46750‐8963
REEDER, CHARLES A       3201 DELTA RIVER DR                                                                        LANSING            MI 48906‐3456
REEDER, CHARLES E       APT 124                         449 MAIN STREET                                            ANDERSON           IN 46016‐1186
REEDER, CHARLOTTE M     1154 KING RICHARD PARKWAY                                                                  WEST CARROLLTON    OH 45449‐5449
REEDER, CHRISTINE C     307 S HICKORY ST                                                                           SALLISAW           OK 74955‐5617
REEDER, CHRISTOPHER L   508 HAMILTON AVE                                                                           NEW CARLISLE       OH 45344‐1555
REEDER, DANIEL A        516 BRENTWOOD DR E                                                                         PLAINFIELD         IN 46168‐2154
REEDER, DAVID J         24614 RIVER HEIGHTS ST                                                                     SOUTHFIELD         MI 48033‐3103
REEDER, DELBERT R       64 CAMROSE DR.                                                                             NILES              OH 44446‐2128
REEDER, DELBERT R       64 CAMROSE DR                                                                              NILES              OH 44446‐2128
REEDER, DEWEY           5464 BALDWIN ST                                                                            DETROIT            MI 48213‐2883
REEDER, DONALD R        SMITH TURLEY & LONG             PO BOX 860                                                 ROLLA              MO 65402‐0860
REEDER, DONALD R        WALDECK MATTEUZZI & SLOAN       11181 OVERBROOK RD STE 200                                 LEAWOOD            KS 66211‐2299
REEDER, DONALD R        RICE JAMES B                    PO BOX 1605                                                SEDALIA            MO 65302‐1605
REEDER, DWIGHT E        7167 WEST BUCKSKIN TRAIL                                                                   PEORIA             AZ 85383‐5383
REEDER, DWIGHT E        7167 W BUCKSKIN TRL                                                                        PEORIA             AZ 85383‐7205
REEDER, EARLENE         4401 MINERS CREEK RD                                                                       LITHONIA           GA 30038‐3821
REEDER, EDNA            1723 HEARTHSTONE DR                                                                        DAYTON             OH 45410‐3432
REEDER, ELIZABETH       3302 E HUDSON ST                                                                           COLUMBUS           OH 43219‐1658
REEDER, ELIZABETH       3302 HUDSON STREET                                                                         COLUMBUS           OH 43219‐1658
REEDER, EVERETT W       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
REEDER, EVERETT W       14635 S GREENWOOD ST                                                                       OLATHE            KS   66062‐9706
REEDER, FRANCES L       402 S PINE ST                                                                              SHERIDAN          MI   48884‐9785
REEDER, GEORGIA W       561 REMORA DR                                                                              FRIPP ISLAND      SC   29920‐7275
REEDER, GREGORY J       508 HAMILTON AVE                                                                           NEW CARLISLE      OH   45344‐1555
REEDER, HELEN J         5371 NASHUA DR                                                                             YOUNGSTOWN        OH   44515‐5155
REEDER, HOWARD N        53 N MOUNTAIN RD LOT 31                                                                    APACHE JUNCTION   AZ   85220‐3556
REEDER, HOWARD N        53 NORTH MOUNTAIN ROAD          APT 31                                                     APACHE JUNCTION   AZ   85220‐3556
REEDER, JAMES R         3563 PATTERSON RD                                                                          BETHEL            OH   45106‐9406
REEDER, JAMES W         12518 LOWE RD                                                                              MARYSVILLE        OH   43040‐9424
REEDER, JAMES W         4401 MINERS CREEK RD                                                                       LITHONIA          GA   30038‐3821
REEDER, JANET R         554 GRACE ST                                                                               HUBBARD           OH   44425‐1558
REEDER, JEANNE M        36083 HOWELL AVE                                                                           LIVONIA           MI   48154‐5112
REEDER, JERRY           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH   44067
                                                        PROFESSIONAL BLDG
REEDER, JOE A           223 FRAYNE DR                                                                              NEW CARLISLE      OH   45344‐2910
REEDER, JOHN B          10341 MORNING SONG DR                                                                      FISHERS           IN   46038
REEDER, JUNE M          2861 SANDBERG CT                                                                           MEDFORD           OR   97504‐5066
REEDER, LESTER D        3017 MARKET ST                                                                             PENDLETON         IN   46064‐9028
REEDER, LINDA
REEDER, LLOYD D         857 GARROW ROAD                                                                            NEWPORT NEWS      VA   23608‐3387
REEDER, LORETTA S       10214 GOLDEN EAGLE DR                                                                      SEMINOLE          FL   33778‐3830
REEDER, MARCELLA        2682 E 150S                                                                                ANDERSON          IN   46017‐9761
REEDER, MAXINE V        LAKEWOOD APTS #618              980 WILMINGTON AVE                                         DAYTON            OH   45420‐1686
REEDER, MAXINE V        980 WILMINGTON AVE              LAKEWOOD APTS #618                                         DAYTON            OH   45420‐1674
REEDER, PAUL E          5000 5TH AVE                                                                               YOUNGSTOWN        OH   44505‐1213
REEDER, PAUL E          5000 FIFTH AVE.                                                                            YOUNGSTOWN        OH   44505‐1213
REEDER, PAULINE         419 CLOVER ST                                                                              DAYTON            OH   45410‐1501
REEDER, PAULINE         1765 CORDELL HULL DR                                                                       BYRDSTOWN         TN   38549
REEDER, RENEE D         9282 N. 800 W.                                                                             MIDDLETOWN        IN   47356
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Name                               Address1                         Address2                        Address3   Address4         City               State Zip
REEDER, RENEE D                    9282 N 800 W                                                                                 MIDDLETOWN          IN 47356
REEDER, RETO                       5846 CURTICE RD                                                                              MASON               MI 48854‐9734
REEDER, ROBERT J                   4611 BLUEHAVEN DR                                                                            DAYTON              OH 45406‐3338
REEDER, ROBERT M                   750 W HIGH ST                    PO BOX 1095                                                 DEFIANCE            OH 43512‐1408
REEDER, RONALD P                   14 PADDINGTON CT                                                                             HOCKESSIN           DE 19707‐9766
REEDER, RONALD PAUL                14 PADDINGTON CT                                                                             HOCKESSIN           DE 19707‐9766
REEDER, ROSELYN F.                 2790 SEARS RD R R 1                                                                          SPRING VALLEY       OH 45370
REEDER, STELLA M.                  1225 SARAH JEAN CIR APT 103                                                                  NAPLES              FL 34110‐9155
REEDER, STELLA M.                  1225 SARAH JEAN CIRCLE           #103                                                        NAPLES              FL 34110
REEDER, STEVE                      3245 HOOVER RD                                                                               BETHEL              OH 45106‐9545
REEDER, TIMOTHY M                  10 DERICKSON DR                                                                              WILMINGTON          DE 19808‐1901
REEDER, TIMOTHY S                  4018 WINDGROVE CROSSING                                                                      SUWANEE             GA 30024‐7099
REEDER, TRAVIS L                   6083 MAPLE LN                                                                                EAST LANSING        MI 48823‐9404
REEDER, TRUE I                     750 W HIGH ST                                                                                DEFIANCE            OH 43512‐1408
REEDER, VERA                       6518 S 50 W                                                                                  PENDLETON           IN 46064‐9072
REEDER, WANILDA R                  3040 E 38TH PL                                                                               TULSA               OK 74105‐3714
REEDER, WAYNE E                    5457 OLE BANNER TRL                                                                          GRAND BLANC         MI 48439‐7641
REEDER, ZOLA L                     4611 BLUEHAVEN DR                                                                            DAYTON              OH 45406‐3338
REEDER‐SIMCO GMC, INC.             HERSHEL COLE                     3421 ZERO ST                                                FORT SMITH          AR 72908‐6845
REEDER‐SIMCO TRUCK CENTER INC      3421 ZERO ST                                                                                 FORT SMITH          AR 72908‐6845
REEDIOUS SWIFT                     37425 CHESTNUT RIDGE RD                                                                      ELYRIA              OH 44035‐8629
REEDMAN LINCOLN MERCURY
REEDMAN MOTOR CORP
REEDMAN WORLD AUTO CENTER
REEDMAN‐TOLL AUTO WORLD            1700 E LINCOLN HWY                                                                           LANGHORNE          PA   19047‐3042
REEDMAN‐TOLL, LP                   BRUCE TOLL                       1700 E LINCOLN HWY                                          LANGHORNE          PA   19047‐3042
REEDS AUTO REPAIR                  50 E MONTEREY ST                                                                             FREEPORT           IL   61032‐3347
REEDUS, EDWARD B                   6406 ERIC ST NW                                                                              HUNTSVILLE         AL   35810‐1606
REEDY CREEK IMPROVEMENT DISTRICT   PO BOX 10                                                                                    LAKE BUENA VISTA   FL   32830
REEDY DEEL                         6804 MONTCLAIR DR                                                                            TROY               MI   48085‐1651
REEDY FRED (ESTATE OF) (489199)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                    PROFESSIONAL BLDG
REEDY HOLCOMBE                     9370 CHERRYWOOD RD                                                                           CLARKSTON          MI   48348‐2502
REEDY JR, WILLIAM S                300 BOUNDING HOME CT                                                                         HYRE DE GRACE      MD   21078‐2863
REEDY, ALBERTA W                   620 WARNER RD SE                                                                             BROOKFIELD         OH   44403‐9704
REEDY, BARBARA A                   337 CROSSWIND DR                                                                             DIMONDALE          MI   48821‐9795
REEDY, BRENDA L                    12524 MARSTELLER DR                                                                          NOKESVILLE         VA   20181‐2207
REEDY, CAROLE A                    15 DROPTINE LANE                                                                             LIVINGSTON         MT   59047‐8725
REEDY, CAROLYN S
REEDY, CHARLES T                   141 LITTLE SPRUCE CREEK RD                                                                   CORBIN             KY   40701‐9568
REEDY, CHARLES W                   6785 COLLEEN DR                                                                              YOUNGSTOWN         OH   44512‐3832
REEDY, CHRISTOPHER                 1068 S RIVER RD                                                                              CUERO              TX   77954‐6726
REEDY, CLAIR V                     6078 TAM‐O‐SHANTER DR                                                                        YOUNGSTOWN         OH   44514
REEDY, DAVID A                     6834 BOSTON AVE                                                                              BALTIMORE          MD   21222‐1009
REEDY, DAVID L                     8316 ROOSEVELT ST                                                                            TAYLOR             MI   48180‐2743
REEDY, DENNIS M                    160 S 8TH ST                                                                                 MIDDLETOWN         IN   47356‐1310
REEDY, DORIS J                     87 EMS T17A LN                   WILDWOOD ISLE                                               LEESBURG           IN   46538‐9572
REEDY, DOUGLAS N                   5200 WILSON RD                                                                               COLUMBIAVILLE      MI   48421‐8937
REEDY, EDMOND P                    309 N BRIDGE ST                                                                              DIMONDALE          MI   48821‐8702
REEDY, EDWARD M                    1095 COLLINS AVE                                                                             YOUNGSTOWN         OH   44515‐3312
REEDY, GALE W                      2230 BIRCH TRACE DR                                                                          YOUNGSTOWN         OH   44515‐4909
REEDY, GEORGE                      1424 CAVALCADE DR.                                                                           YOUNGSTOWN         OH   44515‐4515
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Name                                    Address1                          Address2                     Address3       Address4         City               State Zip
REEDY, JAMES M                          865 MILLER LN                                                                                  LAWRENCEBURG        TN 38464‐6399
REEDY, JAMES MARK                       865 MILLER LN                                                                                  LAWRENCEBURG        TN 38464‐6399
REEDY, JENNIFER L                       7184 ELDERWOOD CIR                                                                             CLARKSTON           MI 48346‐1596
REEDY, JOANN L                          1228 CONGRESS ST                                                                               MIDDLETOWN          IN 47356‐9324
REEDY, JOSEPH A                         3048 LEHIGH CT                                                                                 INDIANAPOLIS        IN 46268‐1319
REEDY, JOSEPH J                         620 WARNER RD SE                                                                               BROOKFIELD          OH 44403‐9704
REEDY, LARRY G                          2086 GOZA STEGALL RD              C/O TCHC                                                     HAZLEHURST          MS 39083‐9767
REEDY, LARRY G                          C/O TCHC                          2086 GOZA‐STEGALL RD.                                        HAZLEHURST          MS 39083‐9083
REEDY, MABLE L                          2000 S ANDREWS RD                 THE WATERS OF YORKTOWN LLC   P O BOX 188                     YORKTOWN            IN 47396‐6812
REEDY, MARGARET W                       11100 ANTIOCH RD                                                                               VANCLEAVE           MS 39565‐7106
REEDY, MARY D                           2424 POST OAK RD                                                                               SALEM               VA 24153‐7487
REEDY, MARY LEE                         2502 MARTIN LUTHER KING BLVD E                                                                 SAGINAW             MI 48601‐7454
REEDY, MARY LEE                         419 S 15TH ST                                                                                  SAGINAW             MI 48601‐2006
REEDY, MICHAEL E                        161 N BON AIR AVE                                                                              YOUNGSTOWN          OH 44509‐2038
REEDY, MICHAEL W                        120 S 12TH ST                                                                                  MIDDLETOWN          IN 47356‐1140
REEDY, MICHAEL W                        120 SO 12TH ST                                                                                 MIDDLETOWN          IN 47256
REEDY, NANCY J                          1206 WOODLAND DR                                                                               WAYLAND             MI 49348‐9134
REEDY, PATRICIA H                       3214 ECKINGER                                                                                  FLINT               MI 48506‐2040
REEDY, PATRICIA H                       3214 ECKINGER ST                                                                               FLINT               MI 48506‐2040
REEDY, PATTI D                          6814 RAVEN CREST DR.                                                                           COLORADO SPRINGS    CO 80919‐1943
REEDY, ROBERT J                         1515 CHELTENHAM RD                                                                             BIRMINGHAM          MI 48009‐7264
REEDY, RONALD J                         6814 RAVENCREST DR                                                                             COLORADO SPRINGS    CO 80919‐1943
REEDY, STEVE E                          9047 BRIDGE HWY                                                                                DIMONDALE           MI 48821‐9605
REEDY, THOMAS A                         401 CONDUITT DR                                                                                MOORESVILLE         IN 46158‐1355
REEDY, VIRGIL E                         4938 ABERDEEN AVE                                                                              BALTIMORE           MD 21206‐6936
REEDY, WILLIAM W                        300 W RUST RD                                                                                  GRAIN VALLEY        MO 64029‐9440
REEEVES CHRISTOPHER                     REEVES, CHRISTOPER                AIG                          PO BOX 29230                    PHOENIX             AZ 85038‐9230
REEF AMERICA REIT CORP. II, C/O RREEF   FIVE PIEDMONT CENTER, SUITE 310   3525 PIEDMONT CENTER         STE 310                         ATLANTA             GA 30305‐1509
MGMT. CO.
REEF CHEMICAL                           WANDA BATEN                       2559 W INTERSTATE 20                                         ODESSA             TX   79766‐9703
REEF TOOL & GAGE CO INC                 44800 MACOMB INDUSTRIAL DR                                                                     CLINTON TOWNSHIP   MI   48036‐1146
REEF TOOL & GAGE COMPANY INC            44800 MACOMB INDUSTRIAL DR                                                                     CLINTON TOWNSHIP   MI   48036‐1146
REEF, MARY FRANCINE                     96 REEF RD                                                                                     BOWLING GREEN      KY   42101‐8530
REEF, ROBERT G                          4729 N COUNTY ROAD 1000 E                                                                      FOREST             IN   46039‐9665
REEF, WILLIAM H                         96 REEF RD                                                                                     BOWLING GREEN      KY   42101‐8530
REEG JANA                               GENE REEG MOTOR SALES INC         201 S MAIN ST                                                COLUMBIA CITY      IN   46725‐2139
REEH MATTHEW                            535 TOPAZ CT                                                                                   ESCONDIDO          CA   92027‐4249
REEHER, RICHARD L                       337 W BUTLER ST                                                                                MERCER             PA   16137‐1028
REEHER, WILLIAM A                       124 N SHENANGO ST                                                                              MERCER             PA   16137‐1021
REEHLING, BURT C                        505 CHARLES CT                                                                                 CROWN POINT        IN   46307‐7865
REEHLING, NANCY L                       505 CHARLES CT                                                                                 CROWN POINT        IN   45307‐7855
REEHLING, NANCY L                       505 CHARLES CRT                                                                                CROWN POINT        IN   46307
REEHLING, RICHARD H                     111 CORRY AVE                                                                                  LANCASTER          PA   17601‐3933
REEK, DAVID C                           10330 FIELDSTONE CT                                                                            GOODRICH           MI   48438‐8893
REEK, GENE W                            3243 W JONES LAKE RD                                                                           GRAYLING           MI   49738‐8604
REEK, MICHAEL S                         4227 COLUMBIA PIKE                                                                             FRANKLIN           TN   37064‐9683
REEK, ROBERT S                          34706 WINDING HILLS LOOP                                                                       DADE CITY          FL   33525‐0416
REEK, SANDRA L                          3243 W JONES LAKE RD                                                                           GRAYLING           MI   49738‐8604
REEKIE, GLARIBEL E                      4133 NW 28TH WAY                                                                               BOCA RATON         FL   33434‐5818
REEKIE, JAMES A                         4133 NW 28TH WAY                                                                               BOCA RATON         FL   33434‐5818
REEKS, MILDRED                          5891 DIXIE HWY APT E237                                                                        CLARKSTON          MI   48346
REEL IMPACT INC                         1047 S BIG BEND BLVD                                                                           SAINT LOUIS        MO   63117‐1605
                            09-50026-mg              Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                        Address1                           Address2                      Address3   Address4         City              State Zip
REEL JR, ROBERT G           9300 E CR 1200 N                                                                             DUNKIRK            IN 47336
REEL PIPE & VALVE CO INC    PO BOX 517                         914 N SENATE AVE                                          INDIANAPOLIS       IN 46206‐0517
REEL PIPE & VALVE CO INC    914 N SENATE AVE                   PO BOX 517                                                INDIANAPOLIS       IN 46202‐3030
REEL ROY JAMES (439432)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                               STREET, SUITE 600
REEL, CLAUDIA G             4626 N. PARK AVE. EXT.                                                                       CORTLAND          OH   44410
REEL, CLYDE T               5071 TAHQUAMENON TRL                                                                         FLUSHING          MI   48433‐1243
REEL, DARREL D              261 RINGWOOD WAY                                                                             ANDERSON          IN   46013‐4256
REEL, FRANCES F             PO BOX 16                                                                                    YOUNG AMERICA     IN   46998‐0016
REEL, JACK                  6571 BEAVER CRK                                                                              WASHINGTON        MI   48094‐3523
REEL, JAMES                 COLOM LAW FIRM                     605 2ND AVE N                                             COLUMBUS          MS   39701‐4513
REEL, JUDY A                5016 MINDY DRIVE                                                                             INDIANAPOLIS      IN   46235‐3353
REEL, JUDY A                5016 MINDY DR                                                                                INDIANAPOLIS      IN   46235‐3353
REEL, KATHRYN K             966 EVERETT HULL RD                                                                          CORTLAND          OH   44410‐9552
REEL, KENNETH R             839 MARTINDALE RD                                                                            VANDALIA          OH   45377‐9798
REEL, MINA L                6875 SPRING MEADOW DR                                                                        SAGINAW           MI   48603‐8618
REEL, RALPH C               9662 WILLIAMS DR                                                                             FRANKLIN          OH   45005‐1038
REEL, RICHARD G             26901 ZEMAN AVE                                                                              EUCLID            OH   44132‐2054
REEL, ROY JAMES             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                               STREET, SUITE 600
REEL, RUSSELL E             18306 CLARK ST                                                                               LOWELL            IN   46356‐9501
REEL, SHIRLEY S             3982 GLEN MOOR WAY                 C/O SHEILA BAHLER                                         KOKOMO            IN   46902‐9400
REEL, WAYNE R               18306 CLARK STREET                                                                           LOWELL            IN   46356‐9501
REEL‐STRONG FUEL CO         ATTN: CLINTON CRANE                549 LEXINGTON AVE                                         CRANFORD          NJ   07016‐2736
REELE MICHAEL               REELE, MICHAEL                     2357 LONG RD                                              GRAND ISLAND      NY   14072
REELE MICHAEL               STATE FARM MUTUAL AUTOMOBILE       2357 LONG RD                                              GRAND ISLAND      NY   14072
                            INSURANCE COMPANY
REELE, MICHAEL
REELE, MICHAEL              MARKOWITZ STUART D LAW OFFICE OF   575 JERICHO TPKE STE 210                                  JERICHO           NY   11753‐1847
REELEY, ROLAND N            231 MORNINGSIDE DR                                                                           KEARNEYSVILLE     WV   25430‐5700
REELEY, RUSSELL L           11024 W ONEIL DR                                                                             SUN CITY          AZ   85351‐3316
REELING, IMOGENE            322 SHORTRIDGE AVE                                                                           ROCHESTER HILLS   MI   48307‐5137
REELING, KATHRYN J          322 SHORTRIDGE AVE                                                                           ROCHESTER HLS     MI   48307‐5137
REELS, GLADYS J             1995 OLD LEBANON DIRT RD                                                                     MOUNT JULIET      TN   37122‐7416
REEM AUTO TRADING           ATTN: NEDAL TAMIMI                 28780 PLYMOUTH RD                                         LIVONIA           MI   48150‐2336
REEMA GEER                  814 SE JON DR                                                                                BENTONVILLE       AR   72712‐6531
REEME JR, CLARENCE B        1201 REGENT ST                                                                               BOSSIER CITY      LA   71111‐5162
REEME JR, CLARENCE BURTON   1201 REGENT ST                                                                               BOSSIER CITY      LA   71111‐5162
REEME, DONNA J              4121 CURRANT LANE                                                                            BURTON            MI   48529
REEMMER, ERICH R            36827 ROWE CT                                                                                STERLING HTS      MI   48312‐3279
REEMSNYDER, BONNIE B        9541 BILLWOOD HWY                                                                            DIMONDALE         MI   48821‐9403
REEMSNYDER, DEBRA J         2127 NORTHAMPTON WAY                                                                         LANSING           MI   48912‐3529
REEMSNYDER, GARY L          9541 BILLWOOD HWY                                                                            DIMONDALE         MI   48821‐9403
REEMTSEN, MICHAEL B         12411 WILSON RD                                                                              MONTROSE          MI   48457‐9416
REEMTSEN, MICHAEL BRADLEY   12411 WILSON RD                                                                              MONTROSE          MI   48457‐9416
REENA DATTA                 512 OLD PERCH RD                                                                             ROCHESTER HILLS   MI   48309‐2142
REENAN, MICHAEL T           35 TWIN LAKES DR                                                                             FAIRFIELD         OH   45014
REENE FILL                  PO BOX 320484                                                                                FLINT             MI   48532‐0009
REENE JR, LEON D            2396 CRANE ST                                                                                WATERFORD         MI   48329‐3725
REENE, DONALD L             2678 JACOB RD                                                                                CARO              MI   48723‐9327
REENIE CASSELLS             16925 MORRISON ST                                                                            SOUTHFIELD        MI   48076‐2016
REENOCK THOMAS D (656482)   ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                          BETHLEHEM         PA   18018
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Name                  Address1                        Address2                           Address3   Address4              City                 State Zip
REENOCK, THOMAS D     ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                                    BETHLEHEM             PA 18018‐5737
REEP, BERYL P         5188 N PARK AVE                                                                                     BRISTOLVILLE          OH 44402‐9783
REEP, BERYL P         5188 NORTH PARK AVE                                                                                 BRISTOLVILLE          OH 44402‐9783
REEP, ELMER D         359 SCOTTSDALE CT                                                                                   WESTERVILLE           OH 43082‐7452
REEP, ERVIN C         2220 HOLLIS CROSSING RD                                                                             CUMBERLAND FURNACE    TN 37051‐5120
REEP, JACOB J         1104 OLD WILLIAMSPORT PIKE                                                                          COLUMBIA              TN 38401‐5655
REEP, JACOB J         155 E MAIN ST                                                                                       NEW LONDON            OH 44851‐1253
REEP, JARALEE         170 MILL STONE DRIVE                                                                                MOSCOW MILLS          MO 63362‐2498
REEP, ROLAND F        1095 HALLIBURTON RD                                                                                 VANLEER               TN 37181‐5041
REER EDDIE (491287)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD            OH 44067
                                                      PROFESSIONAL BLDG
REERS, ROBERT         C/O SIMON EDDINS & GREENSTONE   3232 MCKINNEY AVE STE 610                                           DALLAS               TX 75204‐8583
REES DAVIS            2324 PARK RIDGE DR              C/O DAVID DAVIS                                                     GROVE CITY           OH 43123‐1820
REES LOREN            REES, LOREN                     ST. 2701 ONE UNION SQ. 600                                          SEATTLE              WA 98101
                                                      UNIVERSITY AVE
REES LOREN            REES, VALARIE                   600 UNIVERSITY STREET SUITE 2701                                    SEATTLE              WA 98101

REES LOREN            STATE FARM FIRE AND CASUALTY    600 UNIVERSITY STREET SUITE 2701                                    SEATTLE              WA 98101
                      COMPANY
REES REPAIR           204 MAIN ST                                                                                         GUTHRIE CENTER       IA   50115‐1343
REES SR, GARY S       2924 S CAPITOL AVE                                                                                  INDIANAPOLIS         IN   46225‐2217
REES, BRIAN T         428 WELSTED ST                                                                                      NAPOLEON             OH   43545‐1736
REES, CHARLES D       950 SAINT FELIX DR                                                                                  HUNTINGTON           IN   46750‐1765
REES, CHARLES E       21051 NICHOLAS AVE                                                                                  EUCLID               OH   44123‐3024
REES, CHARLES W       1930 LOWELL AVE                                                                                     ANDERSON             IN   46011‐2128
REES, CHRISTINE M     524 INDIANA AVE                                                                                     MC DONALD            OH   44437‐1806
REES, DANIEL L        753 CENTRAL PARK DR W APT 102                                                                       PLAINFIELD           IN   46168‐2676
REES, DANIEL L        516 S RACEWAY RD                                                                                    INDIANAPOLIS         IN   46231‐1686
REES, DAVID           SIMMONS FIRM                    PO BOX 521                                                          EAST ALTON           IL   62024‐0519
REES, DAVID B         10 CASTLEDEN WAY                DUNMOW                                        ESSEX GREAT BRITAIN
                                                                                                    CM62GB
REES, DAVID J         8130 THOMPSON SHARPSVILLE RD                                                                        MASURY               OH   44438‐8718
REES, DAVID J         2916 E 7TH ST                                                                                       ANDERSON             IN   46012‐3735
REES, EDWARD C        3637 REDONDO DR                                                                                     LAFAYETTE            IN   47905‐4356
REES, FREDRICK C      11046 W SHERMAN LN                                                                                  LAKE                 MI   48632‐9409
REES, GEORGE H        5601 SHADY OAK ST                                                                                   HUBER HEIGHTS        OH   45424‐4239
REES, HELEN L         703 EAST 9TH STREET                                                                                 ANDERSON             IN   46012‐4004
REES, JACK P          9344 E OLIVE LN S                                                                                   SUN LAKES            AZ   85248‐7029
REES, JOHN R          PO BOX 322                                                                                          MANISTEE             MI   49660‐0322
REES, JUNE K          618 KRUST DR                                                                                        OWOSSO               MI   48867‐1916
REES, LESTER E        155 S ELDER AVE                                                                                     INDIANAPOLIS         IN   46222‐4521
REES, LOREN           150 E COVEY RUN                                                                                     UNION                WA   98592‐9435
REES, LOREN           CRAIG EVEZICH                   ST. 2701 ONE UNION SQ. 600                                          SEATTLE              WA   98101
                                                      UNIVERSITY AVE
REES, MARIE A         3201 96TH AVE NE                                                                                    NORMAN               OK   73026‐5954
REES, MARY LOU        1250 MEDINAH DR                                                                                     FORT MYERS           FL   33919‐7309
REES, MICHAEL D       9401 S 750 WEST                                                                                     DALEVILLE            IN   47334
REES, MICHAEL D       2001 16TH ST N                                                                                      SAINT PETERSBURG     FL   33704
REES, PHILLIP J       1219 PENDLE HILL AVE                                                                                PENDLETON            IN   46064‐9125
REES, REGINALD D      804 D ST                                                                                            SPRINGFIELD          OR   97477‐4739
REES, RICHARD J       550 SAWMILL RUN DR                                                                                  CANFIELD             OH   44406‐9624
REES, ROBERT          3315 DEBRA DR                                                                                       ANDERSON             IN   46012‐9623
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Name                                    Address1                              Address2                         Address3                Address4         City                State Zip
REES, ROBERT A.                         3315 DEBRA DR                                                                                                   ANDERSON             IN 46012‐9623
REES, ROBERT E                          1644 FLINT ROAD                                                                                                 SAINT HELEN          MI 48656‐9423
REES, ROBERT E                          1644 FLINT RD                                                                                                   SAINT HELEN          MI 48656‐9423
REES, STEVEN R                          7027 PARK GREEN DR                                                                                              ARLINGTON            TX 76001‐6792
REES, SUSAN L                           7232 ILANAWAY DR                                                                                                WEST BLOOMFIELD      MI 48324‐2487
REES, THOMAS D                          3444 NEWBURG RD                                                                                                 FLAT ROCK            MI 48134‐9607
REES, TONY M                            17210 N WILLMAN RD                                                                                              EATON                IN 47338‐8976
REES, VALARIE                           EVEZICH LAW OFFICE                    600 UNIVERSITY ST STE 2701                                                SEATTLE              WA 98101‐4151
REES, WILLIAM E                         702 W WASHINGTON ST                                                                                             NEW CARLISLE         OH 45344‐1724
REESE A NORRIS                          5278 MANCHESTER RD                                                                                              DAYTON               OH 45449‐1935
REESE AUTO SERVICE, INC                 1924 19TH ST                                                                                                    LUBBOCK              TX 79401‐4604
REESE AUTOMOTIVE, INC.                  9 N HICKORY AVE                                                                                                 ARLINGTON HEIGHTS     IL 60004‐6204
REESE BLEVINS                           508 MAPLE DR                                                                                                    CINCINNATI           OH 45215‐4913
REESE BURNS                             116 CARLA DR                                                                                                    SHIPPENSBURG         PA 17257‐8822
REESE CLIFFORD E (439433)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                               NORFOLK              VA 23510
                                                                              STREET, SUITE 600
REESE D HANKINS                         PO BOX 313                                                                                                      WINDHAM             OH 44288
REESE DARWIN LEE (ESTATE OF) (665589)   C/O GORI JULIAN & ASSOCIATES PC       156 N MAIN ST                                                             EDWARDSVILLE        IL 62025

REESE DWIGHT                            295 LESLIE DR                                                                                                   WILMINGTON          OH 45177‐8627
REESE GARY                              PO BOX 412                                                                                                      LYLES               TN 37098‐0412
REESE GRADY R III (179927)              BROWN TERRELL HOGAN ELLIS             804 BLACKSTONE BLDG , 233 EAST                                            JACKSONVILLE        FL 32202
                                        MCCLAMMA & YEGELWEL P.A.              BAY STREET
REESE HANKINS                           PO BOX 313                                                                                                      WINDHAM             OH    44288‐0313
REESE III, ABRAHAM                      6723 E HAMPTON DR                                                                                               INDIANAPOLIS        IN    46226‐3645
REESE INGRAM                            2517 MOUNT OLIVET RD                                                                                            BOWLING GREEN       KY    42101‐8609
REESE JAMES M (477814)                  GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                              PITTSBURGH          PA    15219

REESE JR, FRED L                        1508 W 9TH ST                                                                                                   ANDERSON            IN    46016‐2802
REESE JR, JEWEL B                       2675 CAMBRIDGE DRIVE                                                                                            COLUMBUS            OH    43224
REESE JR, KADOTHER                      1069 JEFFERSON AVE                                                                                              EAST POINT          GA    30344‐2846
REESE JR, MACK                          20228 BUFFALO ST                                                                                                DETROIT             MI    48234‐2413
REESE JR, R D                           147 S AVERY RD                                                                                                  WATERFORD           MI    48328‐3403
REESE JR, ROBERT                        764 N PAUL LAURENCE DUNBAR ST                                                                                   DAYTON              OH    45402‐5927
REESE JR, ROBERT                        18067 RUNYON ST                                                                                                 DETROIT             MI    48234‐3826
REESE JR, ROBERT                        764 N. PAUL L. DUNBAR STREET                                                                                    DAYTON              OH    45402‐5402
REESE JR, WILLIAM J                     3 PINE GATE CT                                                                                                  GREENVILLE          SC    29607‐5508
REESE KARL W                            GLASSER & GLASSER                     CROWN CENTER                     580 E MAIN ST STE 600                    NORFOLK             VA    23510
REESE KITTLE                            2123 MITCHELL LAKE RD                                                                                           ATTICA              MI    48412‐9232
REESE KLEIN
REESE KRUGMAN                           214 S GLEN                                                                                                      ELYRIA              OH    44035‐3746
REESE LEE                               10360 BEAVER RIDGE DRIVE                                                                                        FISHERS             IN    46037
REESE MCCLUNG                           4212 MIDDLEBROOK CV                                                                                             BRUNSWICK           OH    44212‐5315
REESE MEDICAL ASSOCIATES                10620 SPOTSYLVANIA AVE                                                                                          FREDERICKSBURG      VA    22408‐2637
REESE NATHANAEL                         REESE, NATHANAEL                      2285 BEAVERDAM RD                                                         CANTON              NC    28716
REESE ORLOSKY                           30 LIVE OAK AVE W                                                                                               DEFUNIAK SPRINGS    FL    32435‐2333
REESE RANDOLPH                          2906 BUTTONWOOD WALK                                                                                            HAZEL CREST         IL    60429‐2102
REESE RONALD                            REESE, RONALD                         2299 MIAMISBURG CENTERVILLE RD                                            DAYTON              OH    45459‐3816

REESE SANDRA (478864)                   ANGELOS PETER G LAW OFFICES OF        100 N CHARLES STREET , ONE                                                BALTIMORE           MD 21202
                                                                              CHARLES CENTER 22ND FLOOR
REESE SHARON                            6723 E HAMPTON DR                                                                                               INDIANAPOLIS         IN   46226‐3645
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Name                    Address1                       Address2                        Address3   Address4         City               State Zip
REESE SR, HENRY C       1378 SUMMIT RUN CIR                                                                        WEST PALM BEACH     FL 33415‐4745
REESE TRUCKING INC      PO BOX 99                                                                                  DOVER               OH 44622‐0099
REESE WETZEL (464257)   KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                       BOND COURT BUILDING
REESE WILLIAM A         10408 LAUREL RIDGE WAY                                                                     FREDERICKSBURG     VA   22408‐2566
REESE, ALENE M          5520 RICKENBACKER PL                                                                       FORT WORTH         TX   76112‐7640
REESE, ALVA G           7325 ALBERT WILLIAMS DR                                                                    DALLAS             TX   75241‐4406
REESE, ANGELA F         1106 E NORTH ST                                                                            KOKOMO             IN   46901‐3163
REESE, ANNE S           14463 HARBOR IS                                                                            DETROIT            MI   48215‐3140
REESE, ANNIE M          3721 LYNN DR                                                                               POWDER SPGS        GA   30127‐2278
REESE, ARTHUR R         2224 WITTERING WAY                                                                         CONYERS            GA   30013‐7431
REESE, AUSTIN C         4 FORSYTHIA DR                                                                             BELTON             MO   64012‐2116
REESE, AYANA A          104 THORNLEY COURT                                                                         MADISON            AL   35756‐4077
REESE, BERNICE          724 BROOKLYN AVE                                                                           DAYTON             OH   45407‐1401
REESE, BERTHA M         6144 SENECA                                                                                DETROIT            MI   48213‐2512
REESE, BERTHA M         6144 SENECA ST                                                                             DETROIT            MI   48213‐2512
REESE, BETTY J          15540 PROMENADE AVENUE                                                                     ALLEN PARK         MI   48101‐1123
REESE, BETTY JANE       30155 SHARON LN                                                                            WARREN             MI   48088‐5863
REESE, BETTY JANE       30155 SHARON LANE                                                                          WARREN             MI   48088‐5863
REESE, BEVERLY A        3666 EVERGREEN PKWY                                                                        FLINT              MI   48503‐4568
REESE, BLANCH           18600 PREST ST                                                                             DETROIT            MI   48235‐2850
REESE, BOBBIE J         8 UNIVERSITY PLACE DR                                                                      PONTIAC            MI   48342‐1880
REESE, BRENDA K         6863 NICHOLS RD                                                                            WINDHAM            OH   44288‐9770
REESE, BRIAN A          654 SHORE DR                                                                               JOPPA              MD   21085‐4531
REESE, BRUCE S          1458 E HAYES AVE                                                                           HAZEL PARK         MI   48030‐2623
REESE, CARL E           134 CORAL DR                                                                               BAY CITY           MI   48706
REESE, CARL M           10 CRESTWOOD CIR S                                                                         LEHIGH ACRES       FL   33936‐5920
REESE, CARLA K          109 BELLE OAKS CT                                                                          ANTIOCH            TN   37013
REESE, CARLOS D         8949 E COUNTY ROAD 600 S                                                                   SELMA              IN   47383‐9337
REESE, CAROL A          8 E POLAND AVE                                                                             BESSEMER           PA   16112‐9110
REESE, CAROLINE         3644 MICHAEL AVE                                                                           WARREN             MI   48091‐2321
REESE, CECIL L          9554 MEMORIAL ST                                                                           DETROIT            MI   48227‐1012
REESE, CHARLENE         138 PARKSIDE CIRCLE                                                                        BERLIN             MD   21811‐1635
REESE, CLEVELAND        18301 MONICA ST                                                                            DETROIT            MI   48221‐2191
REESE, CLIFFORD E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                       STREET, SUITE 600
REESE, COURTNEY L       813 BRADFIELD DR                                                                           TROTWOOD           OH   45426‐2505
REESE, DANIEL C         633 S CURRAN RD                                                                            ROUND LAKE         IL   60073‐5628
REESE, DANIEL R         1464 MORRIS RD                                                                             LAPEER             MI   48446‐9322
REESE, DANNY E          6903 POINTE INVERNESS WAY                                                                  FORT WAYNE         IN   46804‐7917
REESE, DARLEEN          1750 ADAMS ST SE                                                                           GRAND RAPIDS       MI   49506
REESE, DARWIN LEE       WISE & JULIAN                  156 N MAIN ST STOP 1                                        EDWARDVILLE        IL   62025‐1972
REESE, DAVID L          2223 AMSTERDAM AVE                                                                         CANTON             MI   48188‐1419
REESE, DAVID L          1610 RANDOLPH COURT                                                                        MONROE             GA   30655‐6267
REESE, DEANNA C         1610 RANDOLPH CT                                                                           MONROE             GA   30655‐6267
REESE, DEBORAH D        2725 PRAIRIE RIDGE TRL                                                                     FORT WORTH         TX   76179‐5535
REESE, DEBORAH DIANNE   2725 PRAIRIE RIDGE TRL                                                                     FORT WORTH         TX   76179‐5535
REESE, DELBERT J        18506 MANORWOOD E                                                                          CLINTON TOWNSHIP   MI   48038‐4824
REESE, DELLA J          2333 N PARKER AVE                                                                          INDIANAPOLIS       IN   46218‐3621
REESE, DON ANTHONY      502 S EAST ST APT 3                                                                        EATON RAPIDS       MI   48827
REESE, DONALD           JOHNSON & MCELROY              5500 PRESTON RD STE 370                                     DALLAS             TX   75205‐2675
REESE, DONALD A         710 BERKSHIRE RD                                                                           DAYTON             OH   45419‐3731
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Name                   Address1                              Address2                        Address3   Address4         City               State Zip
REESE, DONALD J        7757 TOWN LINE RD                                                                                 EDEN                NY 14057‐9662
REESE, DONALD L        8330 E JEFFERSON AVE                  APT 612                                                     DETROIT             MI 48214‐2741
REESE, DONALD L        251 HOOPER RD                                                                                     COMMERCE            GA 30530‐7135
REESE, DONNA S         1393 W 600 S                                                                                      JONESBORO           IN 46938‐9604
REESE, DOROTHY I       4381 HELAINE DR                                                                                   FRANKLIN            OH 45005‐1923
REESE, EARL C          79 S EDITH ST                                                                                     PONTIAC             MI 48342‐2940
REESE, EARNEST         8 UNIVERSITY PLACE DR                                                                             PONTIAC             MI 48342‐1880
REESE, ED              ADDRESS NOT IN FILE
REESE, ED              324 CEDAR ST                                                                                      DESTIN             FL   32541‐2625
REESE, EDDIE           4936 W FLORISSANT AVE                                                                             SAINT LOUIS        MO   63115‐1440
REESE, EDDIE V         1017 ARGYLE AVE                                                                                   PONTIAC            MI   48341‐2342
REESE, EDDISON J       18600 PREST ST                                                                                    DETROIT            MI   48235‐2850
REESE, EDWARD T        8450 CRAWFORD                                                                                     SHELBY TWP         MI   48316‐5108
REESE, EDWARD THOMAS   8450 CRAWFORD                                                                                     SHELBY TWP         MI   48316‐5108
REESE, ELBERT          743 PARKWOOD DR                                                                                   CLEVELAND          OH   44108‐2743
REESE, ELINOR M        10965 S GRAHAM RD                                                                                 SAINT CHARLES      MI   48655‐9509
REESE, ELIZABETH L     1316 MILLERS LNDG                                                                                 CORTLAND           OH   44410‐9311
REESE, ELIZABETH L     1316 MILLERS LANDING                                                                              CORTLAND           OH   44410‐4410
REESE, ELMER E         95 SKIDAWAY ISLAND PARK RD APT 107                                                                SAVANNAH           GA   31411‐1108

REESE, EMILY G         33696 SHELLEY LYNNE DR                                                                            STERLING HTS       MI   48312‐6050
REESE, ERIC T          8450 CRAWFORD                                                                                     SHELBY TOWNSHIP    MI   48316‐5108
REESE, FRANCES M       2684 SEMLOH STREET                                                                                LAKE ORION         MI   48360
REESE, FRANCES M       2684 SEMLOH ST                                                                                    LAKE ORION         MI   48360‐2321
REESE, FRED            4115 HILAND ST                                                                                    SAGINAW            MI   48601‐4164
REESE, FREDDIE L       PO BOX 2446                                                                                       ANDERSON           IN   46018‐2446
REESE, GARY L          5740 BOOTH AVE                                                                                    KANSAS CITY        MO   64129‐2737
REESE, GEORGE          6301 LERNER WAY                                                                                   LANSING            MI   48911‐6006
REESE, GEORGE D        2112 CELESTIAL DR NE                                                                              WARREN             OH   44484‐3901
REESE, GERALD R        3259 W. MICHIGAN SHORES RD                                                                        GULLIVER           MI   49840
REESE, GINA            9701 JANET ST                                                                                     TAYLOR             MI   48180‐3110
REESE, GLEN M          10408 E 68TH TER                                                                                  RAYTOWN            MO   64133‐6021
REESE, GRADY           BROWN TERRELL HOGAN ELLIS             804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE       FL   32202
                       MCCLAMMA & YEGELWEL P.A.              BAY STREET
REESE, GWENDOLYN       6027 SHAWMUT STREET                                                                               TALLAHASSEE        FL   32305
REESE, HALLIE M        2969 N 36TH ST                                                                                    MILWAUKEE          WI   53210‐1927
REESE, HARLIS          GUY WILLIAM S                         PO BOX 509                                                  MCCOMB             MS   39649‐0509
REESE, HARLOW W        2470 COUNTY RD 117 #117                                                                           CEDAR BLUFF        AL   35959
REESE, HAROLD E        111 HAROLD LN                                                                                     BELTON             SC   29627‐2351
REESE, HARRY R         932 TYRELL DR                                                                                     AUSTELL            GA   30106‐1552
REESE, HENRY V         PO BOX 147                                                                                        UNION PIER         MI   49129‐0147
REESE, HERBERT C       717 TEASEL DR                                                                                     KINGSPORT          TN   37660‐3297
REESE, IOLA            7059 GOLFWAY DR                                                                                   CINCINNATI         OH   45239‐5632
REESE, IRMA N          1539 SPRINGWELLS                                                                                  DETROIT            MI   48209
REESE, JACK M          PO BOX 2036                                                                                       CANYON LAKE        TX   78133‐0023
REESE, JACQUELINE      PO BOX 12                                                                                         OWOSSO             MI   48867‐0012
REESE, JACQUELINE E    17610 KINGSBROOKE CIR APT 101                                                                     CLINTON TOWNSHIP   MI   48038‐3783
REESE, JAMES           509 W HILLCREST AVE                                                                               DAYTON             OH   45406‐2120
REESE, JAMES A         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH         PA   15219

REESE, JAMES E         4381 HELAINE DR                                                                                   FRANKLIN           OH 45005‐1923
REESE, JAMES E         18504 NADOL DR                                                                                    SOUTHFIELD         MI 48075‐5883
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Name                   Address1                              Address2                       Address3   Address4         City            State Zip
REESE, JAMES E         7971 EASTLAWN DR                                                                                 FRANKLIN         OH 45005‐1968
REESE, JAMES M         GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH       PA 15219

REESE, JAMES R         25 WHISPERING MEADOWS                                                                            SHAWNEE         OK   74801
REESE, JAMES R         173 MARTHA AVE                                                                                   BUFFALO         NY   14215‐2828
REESE, JAMES W         1681 W 116TH CT                                                                                  DENVER          CO   80234‐2611
REESE, JANET L         50 PERRINE ST                                                                                    DAYTON          OH   45410‐1237
REESE, JANICE L        PO BOX 77                                                                                        FRANKSVILLE     WI   53126‐0077
REESE, JANICE L &      PERRY LERNER & QUINDEL SC             823 N CASS ST                                              MILWAUKEE       WI   53202
REESE, JAQUELINE       5957 CULDEAN DR APT 1222                                                                         TROTWOOD        OH   45426
REESE, JAQUELINE       5957 CULZEAN DR APT 1222                                                                         TROTWOOD        OH   45426‐1267
REESE, JEAN C          1575 W HICKORY RD                     APT C1                                                     OWOSSO          MI   48867‐8801
REESE, JERRY L         15361 SEYMOUR RD                                                                                 LINDEN          MI   48451‐9742
REESE, JERRY LEE       15361 SEYMOUR RD                                                                                 LINDEN          MI   48451‐9742
REESE, JIMMY A         2700 EATON RAPIDS RD LOT 12                                                                      LANSING         MI   48911‐6336
REESE, JIMMY D         914 WESTPORT DR                                                                                  DEXTER          MO   63841‐9111
REESE, JO ANN T        14530 W RAVENSWOOD DR                                                                            SUN CITY WEST   AZ   85375‐5630
REESE, JO G            1238 ROAD 41                                                                                     TUPELO          MS   38801‐7853
REESE, JOAN M          PO BOX 428                                                                                       PINEHURST       NC   28370‐0428
REESE, JOANN           19339 BENTLER ST                                                                                 DETROIT         MI   48219‐1960
REESE, JOANNE          1201 IDLE HILLS RD                                                                               BROOKLYN        MI   49230‐9536
REESE, JOE D           1129 EBONY LN                                                                                    FRANKLIN        IN   46131‐5012
REESE, JOE L           1281 BOBO HOLLOW ROAD                                                                            TULLAHOMA       TN   37388‐7812
REESE, JOHN A          GEORGE & SIPES                        151 N DELAWARE ST STE 1700                                 INDIANAPOLIS    IN   46204‐2503
REESE, JOHN I          1524 KING ST                                                                                     TILTON          IL   61833
REESE, JOHN L          1797 PINE MEADOW DR                                                                              INDIANAPOLIS    IN   46234‐1267
REESE, JOHN R          395 WOODCREST LN                                                                                 MILTON          WI   53563‐1728
REESE, JOSEPHINE M     46045 RHODES DRIVE                                                                               MACOMB          MI   48044‐4080
REESE, JOYCE ANN       36 TAFT AVE                                                                                      DAYTON          OH   45427‐2443
REESE, JUDY P          923 E TAYLOR ST                                                                                  KOKOMO          IN   46901
REESE, KATHERINE
REESE, KATHLEEN        20038 BEACONSFIELD ST                                                                            HARPER WOODS    MI 48225‐1302
REESE, KATHRYN
REESE, KENNETH         1254 SPARTINA DR                                                                                 FLORISSANT      MO   63031‐8803
REESE, KENNETH J       5620 FENN RD                                                                                     MEDINA          OH   44256‐7108
REESE, KENNETH M       860 TRANQUIL DR                                                                                  AUSTELL         GA   30106‐1429
REESE, KENNETH R       2032 STIRLING DR                                                                                 TROY            MI   48085‐1040
REESE, KEVIN L         3827 DEER RIDGE DR.                                                                              INDIANAPOLIS    IN   46254
REESE, KORTNEY LAMAR   15240 W CHICAGO ST                                                                               DETROIT         MI   48228‐2267
REESE, LAMAR K         26773 LAKEVUE DR APT 5                                                                           PERRYSBURG      OH   43551‐5325
REESE, LAMAR K         257 BEAVER RUN                                                                                   HOLLY           MI   48442‐1584
REESE, LANG H          1401 JEFFERSON ST                                                                                HYATTSVILLE     MD   20782‐3451
REESE, LARRY D         210 GABRIEL ST                                                                                   VANDALIA        OH   45377‐1913
REESE, LARRY D         210 GABRIEL ST.                                                                                  VANDALIA        OH   45377‐1913
REESE, LARRY R         2358 FAWN CIR                                                                                    ANDERSON        IN   46017
REESE, LARRY W         153 WALKER ST                                                                                    WINDER          GA   30680‐2133
REESE, LEWIS           6640 GOLF GREEN DR                                                                               CENTERVILLE     OH   45459‐5804
REESE, LILIANE C       6044 VERNON ST                                                                                   BELLEVILLE      MI   48111‐5010
REESE, LILLIAN C       3457 ALCAN WAY                                                                                   TUCKER          GA   30084‐8202
REESE, LINDA E         634 CENTER ST WEST                                                                               WARREN          OH   44481‐8809
REESE, LINDA K         76 HOME ST                                                                                       PONTIAC         MI   48342‐1338
REESE, LINDA KAY       76 HOME ST                                                                                       PONTIAC         MI   48342‐1338
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Name                   Address1                         Address2                    Address3   Address4         City              State Zip
REESE, LINDA L         1455 90TH AVE LOT 88                                                                     VERO BEACH         FL 32966
REESE, LINDSEY         1051 E KURTZ AVE                                                                         FLINT              MI 48505‐1511
REESE, MACK            1410 W 15TH ST                                                                           ANDERSON           IN 46016‐3320
REESE, MALACHI         13906 BARTLETT AVE                                                                       CLEVELAND          OH 44120‐4718
REESE, MAMIE C         7542 MELROSE                                                                             DETROIT            MI 48211‐1345
REESE, MAMIE C         7542 MELROSE ST                                                                          DETROIT            MI 48211‐1345
REESE, MAMIE P         114 MARY DAY AVE                                                                         PONTIAC            MI 48341‐1733
REESE, MARGARET A      616 N EAST ST                                                                            TIPTON             IN 46072‐1021
REESE, MARK A          1611 CHRISTINE TER                                                                       MADISON HEIGHTS    MI 48071‐3876
REESE, MARVIN E        APT 1809                         1435 BOGGS ROAD                                         DULUTH             GA 30096‐1213
REESE, MARVIN EUGENE   APT 1809                         1435 BOGGS ROAD                                         DULUTH             GA 30096‐1213
REESE, MARY            61 BIRCH PL                                                                              BUFFALO            NY 14215‐3002
REESE, MARY E          PO BOX 87109                                                                             COLLEGE PARK       GA 30337‐0109
REESE, MARY FRANCES    1548 HAWTHORNE AVE SE                                                                    SMYRNA             GA 30080
REESE, MARY FRANCES    3501 B SOUTH SHERWOOD ROAD                                                               SMYRNA             GA 30082
REESE, MARY L          1639 WEST COOK ROAD                                                                      MANSFIELD          OH 44906‐3615
REESE, MARYANN         3642 HEIN DR                                                                             STERLING HTS       MI 48310‐6140
REESE, MELLISSA B      10705 MOORISH RD                                                                         BIRCH RUN          MI 48415‐8460
REESE, MICHAEL C       2147 LEE RD                                                                              SPRING HILL        TN 37174‐2520
REESE, MICHAEL E       24890 LOIS LN                                                                            SOUTHFIELD         MI 48075‐1043
REESE, MICHAEL J       2922 GRANDELL AVE                                                                        LANSING            MI 48906‐2617
REESE, MICHELLE L      5154 KUSZMAUL AVE NW                                                                     WARREN             OH 44483
REESE, NATHANAEL       2285 BEAVERDAM RD                                                                        CANTON             NC 28716‐8039
REESE, OLIVE H         P.O. BOX 3228                                                                            WARREN             OH 44485‐0228
REESE, OLIVE H         PO BOX 3228                                                                              WARREN             OH 44485‐0228
REESE, PAMELA L        25130 ROSE ST                                                                            ROSEVILLE          MI 48066‐3624
REESE, PAMELA LENA     25130 ROSE ST                                                                            ROSEVILLE          MI 48066‐3624
REESE, PATRICIA A      3590 WILSON FARMS BLVD.                                                                  FRANKLIN           OH 45005‐5005
REESE, PATRICIA B      4194 PAFFORD RD                                                                          DAYTON             OH 45405‐1303
REESE, PATRICIA M      403 WOODLAND VLG                                                                         BIRMINGHAM         AL 35216‐1121
REESE, PATRICIA M      403 WOODLAND VILLAGE                                                                     BIRMINGHAM         AL 35216‐1121
REESE, PHYLLIS J       104 PAYNE PL                                                                             DAYTON             OH 45418‐2988
REESE, PHYLLIS JEAN    104 PAYNE PL                                                                             DAYTON             OH 45418‐2988
REESE, QUEEN E         4072 KENDALL ST                                                                          DETROIT            MI 48238‐2655
REESE, RALPH L         13116 CHRISTINE AVE                                                                      GARFIELD HTS       OH 44105‐7040
REESE, RAYMOND R       1023 APRIL SHOWERS LN                                                                    LANCASTER          TX 75134‐4605
REESE, REGINALD R      120 WILSON AVE                                                                           BLACKSBURG         VA 24060
REESE, RICHARD E       6863 NICHOLS RD                                                                          WINDHAM            OH 44288‐9770
REESE, ROBERT G        1285 E 12TH ST                                                                           SALEM              OH 44460‐1324
REESE, ROBERT L        4490 W 154TH ST                                                                          CLEVELAND          OH 44135‐2708
REESE, ROBERT L        1316 MILLERS LNDG                                                                        CORTLAND           OH 44410‐9311
REESE, ROBERT W        1821 LAKE RD                                                                             YOUNGSTOWN         NY 14174
REESE, RONALD          2803 TURNBERRY DR APT 1211                                                               ARLINGTON          TX 76006‐2349
REESE, RONALD          436 GRISWOLD ST SE                                                                       GRAND RAPIDS       MI 49507‐3137
REESE, RUSSELL         4112 CREST DR                                                                            DAYTON             OH 45416‐1204
REESE, SAM L           2968 CONCORD ST                                                                          DETROIT            MI 48207‐3503
REESE, SANDRA          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE          MD 21202
                                                        CHARLES CENTER 22ND FLOOR
REESE, SHARON F        6723 E HAMPTON DR                                                                        INDIANAPOLIS      IN   46226‐3645
REESE, SHIRLEY I       13985 CAPERNALL RD                                                                       CARLETON          MI   48117‐9490
REESE, SHIRLEY S       2255 WEXFORD DR 225                                                                      ATLANTA           GA   30349
REESE, SONYA           25341 PINEHURST ST                                                                       ROSEVILLE         MI   48066‐3804
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Name                     Address1                         Address2                       Address3   Address4         City             State Zip
REESE, STEVEN R          8445 HOGAN RD                                                                               FENTON            MI 48430‐9049
REESE, TERRY L           71 IRIS LN                                                                                  FOLEY             MO 63347
REESE, THELMA S          PO BOX 2446                                                                                 ANDERSON          IN 46018‐2446
REESE, THOMAS            3239 STUDOR RD                                                                              SAGINAW           MI 48601‐5736
REESE, THOMAS C          253 CANTON ST                                                                               ALPHARETTA        GA 30009‐2336
REESE, THORNIA M         15880 PREVOST ST                                                                            DETROIT           MI 48227‐1967
REESE, TONY              3582 STARRS BRIDGE RD                                                                       CANON             GA 30520‐1939
REESE, TRAVIS B          RT 3 ‐ BOX 670                                                                              MADILL            OK 73446‐9156
REESE, TRAVIS B          RR 3 BOX 670                                                                                MADILL            OK 73446‐9156
REESE, VENTRENA L
REESE, VINSON A          PO BOX 12203                                                                                COLUMBUS         GA   31917‐2203
REESE, VIRGINIA RUTH     PO BOX 84                                                                                   IVANHOE          TX   75447‐0084
REESE, VIRGINIA RUTH     P.O. BOX 84                                                                                 IVANHOE          TX   75447‐0084
REESE, WANDA L           10408 E 68TH TER                                                                            RAYTOWN          MO   64133‐6021
REESE, WAYNE             6151 MIDNIGHT PASS RD                                                                       SARASOTA         FL   34242‐2278
REESE, WETZEL            KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND        OH   44114
                                                          BOND COURT BUILDING
REESE, WILLIAM A         10408 LAUREL RIDGE WAY                                                                      FREDERICKSBURG   VA   22408‐2566
REESE, WILLIAM A         4221 SYLVAN DR                                                                              DAYTON           OH   45417‐1226
REESE, WILLIAM E         99 MORTON DR                                                                                MANAHAWKIN       NJ   08050‐3522
REESE, WILLIAM L         14404 SUMMERSIDE ST                                                                         LIVONIA          MI   48154‐4536
REESE, WILLIAM M         5118 CASPER ST                                                                              DETROIT          MI   48210‐2203
REESE, WILLIE J          20984 NEGAUNEE ST                                                                           SOUTHFIELD       MI   48033‐3528
REESE, WILLIE L          C/O OLIVETTE REESE               1730 YARDLEY CIR                                           DAYTON           OH   45459‐6916
REESE, WILLIE P          514 N 5TH AVE                                                                               SAGINAW          MI   48607‐1314
REESER JOHN M (667476)   ANGELOS PETER G                  100 N CHARLES STREET , ONE                                 BALTIMORE        MD   21201
                                                          CHARLES CENTER
REESER ROBERT MICHAEL    184 PINE TRL                                                                                ROGERSVILLE      TN   37857‐7712
REESER'S TEXACO          125 REESER HILL RD                                                                          YORK HAVEN       PA   17370‐9714
REESER, ALFRED L         3648 RAWLS CHURCH RD                                                                        FUQUAY VARINA    NC   27526‐6383
REESER, ANTHONY          433 N HOWARD ST                                                                             GREENTOWN        IN   46936‐1238
REESER, ANTONIO L        17891 FAIRWOOD DR                                                                           CLINTON TWP      MI   48035‐2432
REESER, BART L           2877 BRYANT RD                                                                              CULLEOKA         TN   38451‐8006
REESER, BETTY A          8010 W LUMBERJACK DR                                                                        MEARS            MI   49436‐9451
REESER, BRAD T           APT 809                          110 NORTH FEDERAL HIGHWAY                                  FT LAUDERDALE    FL   33301‐3515
REESER, DAVID L          6327 ORIOLE DR                                                                              FLINT            MI   48506‐1748
REESER, JOHN M           ANGELOS PETER G                  100 N CHARLES STREET, ONE                                  BALTIMORE        MD   21201‐3812
                                                          CHARLES CENTER
REESER, LILLIAN          15083 POBEREZNY CT                                                                          LINDEN           MI   48451‐9161
REESER, MARVIN G         8010 W LUMBERJACK DR                                                                        MEARS            MI   49436‐9451
REESER, ROBERT M         184 PINE TRL                                                                                ROGERSVILLE      TN   37857‐7712
REESER, ROBERT MICHAEL   184 PINE TRL                                                                                ROGERSVILLE      TN   37857‐7712
REESER, VIRGINIA         13 HOWE ST                                                                                  PRATTSBURG       NY   14873‐9704
REESER, WILLIAM R        9013 DODGE RD                                                                               OTISVILLE        MI   48463‐9449
REESER,BRAD T            7969 PINES BLVD                                                                             PEMBROKE PINES   FL   33024
REESHEMAH HOWARD         1138 OAK VALLEY DR                                                                          PONTIAC          MI   48341‐2358
REESING, JAMES K         4128 LAKEWOOD DR                                                                            FORT WORTH       TX   76135‐2721
REESING, JERRY T         824 COUNTY ROAD 4100                                                                        MERIDIAN         TX   76665‐2991
REESMAN, CHERYL E        8464 JACLYN ANN DR                                                                          FLUSHING         MI   48433‐2912
REESMAN, ORAN R          3252 NILES CARVER RD                                                                        MC DONALD        OH   44437‐1225
REESON, THOMAS E         3267 HESS RD                                                                                LOCKPORT         NY   14094‐9470
REESOR II, BRIAN         107 CLOVER DR                                                                               COLUMBIA         TN   38401‐6157
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Name                           Address1                        Address2               Address3               Address4         City              State Zip
REESOR, BRIAN W                107 CLOVER DR                                                                                  COLUMBIA           TN 38401‐6157
REESOR, FLORENCE               6 WEYBOSETT AVE                                                                                FRAMINGHAM         MA 01701‐6849
REESOR, JEFFREY M              1727 SHETLAND LN                                                                               SPRING HILL        TN 37174‐9526
REETA K YOUNG                  569 KENNEDY AVE                                                                                YPSILANTI          MI 48198‐8006
REETER, BEVERLY M              25917 97TH PL                                                                                  TREVOR             WI 53179‐9791
REETZ, ALAN C                  4530 NEW RD                                                                                    WILLIAMSON         NY 14589‐9268
REETZ, ANITA M                 1427 WOLCOTT ST                                                                                JANESVILLE         WI 53546‐5551
REETZ, BARBARA S               5411 SUTTON PLACE CT.                                                                          GRAND BLANC        MI 48439
REETZ, BARBARA STONE           5411 SUTTON PLACE CT.                                                                          GRAND BLANC        MI 48439
REETZ, DALE A                  3139 DAVENPORT AVE APT 6                                                                       SAGINAW            MI 48602‐3485
REETZ, GERALD E                19933 SAINT FRANCIS ST                                                                         LIVONIA            MI 48152‐2343
REETZ, JACQUELINE M            APT 43                          2825 WIENEKE ROAD                                              SAGINAW            MI 48603‐2604
REETZ, LORI E                  APT 3                           4515 GRATIOT ROAD                                              SAGINAW            MI 48638‐6238
REETZ, M M                     34567 ELMWOOD APT 706                                                                          WESTLAND           MI 48185‐3035
REETZ, NEAL R                  411 E HARRISON ST                                                                              DILLON             SC 29536‐3543
REETZ, NORMAN L                8462 WILSON RD                                                                                 OTISVILLE          MI 48463‐9479
REETZ, WAYNE E                 5506 S ISLE DR                                                                                 STANDISH           MI 48658‐9769
REEVE BRENDA                   2116 CENTER ST                                                                                 GARDEN CITY        KS 67846‐3563
REEVE LEE M                    2116 CENTER ST                                                                                 GARDEN CITY        KS 67846‐3563
REEVE RICH                     REEVE, MAUREEN                  KAHN & ASSOCIATES      55 PUBLIC SQ STE 650                    CLEVELAND          OH 44113‐1909
REEVE RICH                     REEVE, RICH                     1060 1ST AVE STE 400                                           KING OF PRUSSIA    PA 19406‐1336
REEVE TYRELL                   106 MOUNTAIN RD                                                                                ROCK SPRINGS       WY 82901
REEVE, BRIAN S                 1895 RUTLEDGE CT                                                                               SEVERN             MD 21144‐1570
REEVE, CARLYN D                3092 LENOX NEW LYME RD                                                                         JEFFERSON          OH 44047‐8593
REEVE, DANNY                   5182 LAKEWOOD DR                                                                               GRAND BLANC        MI 48439‐9318
REEVE, DONALD RAYMOND          2782 LAMB ROAD                                                                                 MASON              MI 48854‐9316
REEVE, GERALD G                335 VOLZ RD                                                                                    VASSAR             MI 48768‐9240
REEVE, HORACE W                730 HAMILTON CT                                                                                ROCHESTER          MI 48307‐4535
REEVE, LEE R                   6226 BURNING TREE ST                                                                           JACKSON            MI 49201‐9334
REEVE, MAUREEN                 KAHN & ASSOCIATES               55 PUBLIC SQ STE 650                                           CLEVELAND          OH 44113‐1909
REEVE, RICH                    KAHN & ASSOCIATES               55 PUBLIC SQ STE 650                                           CLEVELAND          OH 44113‐1909
REEVE, STELLA M                244 BELLWOOD LANDING RD                                                                        INDIAN MOUND       TN 37079‐5451
REEVE, TERRI L                 22 CRANBROOK DR                                                                                HAMILTON           OH 45011‐2440
REEVEHARPERS, ROBERT           COLOM LAW FIRM                  605 2ND AVE N                                                  COLUMBUS           MS 39701‐4513
REEVER, CHARLES R              7430 SW 111TH PL                                                                               OCALA              FL 34476‐8701
REEVERS JR, L L                1166 NOBLE ST SE                                                                               GRAND RAPIDS       MI 49507‐1930
REEVERS, BARBARA J             1166 NOBLE ST SE                                                                               GRAND RAPIDS       MI 49507‐1930
REEVERS, CARNICE               2534 S ETHEL ST                                                                                DETROIT            MI 48217‐2301
REEVERS, ELLA B                2730 W MCNICHOLS RD                                                                            DETROIT            MI 48221‐3134
REEVERS, TINA D                2534 S ETHEL ST                                                                                DETROIT            MI 48217‐2301
REEVES                         206 S WATER ST                                                                                 OWOSSO             MI 48867‐2920
REEVES BROTHERS TRUCKING INC   16105 HIGHWAY 412 E                                                                            LEXINGTON          TN 38351‐6785
REEVES BUFORD (504977)         (NO OPPOSING COUNSEL)
REEVES BUICK PONTIAC, INC.     1250 US HIGHWAY 31 S                                                                           GREENWOOD         IN   46143‐2411
REEVES BUICK PONTIAC, INC.     WILLIAM REEVES                  1250 US HIGHWAY 31 S                                           GREENWOOD         IN   46143‐2411
REEVES CHERYL KAY              C/O EDWARD O MOODY P A          801 WEST 4TH STREET                                            LITTLE ROCK       AR   72201
REEVES COUNTY TAX COLLECTOR    PO BOX 700                                                                                     PECOS             TX   79772‐0700
REEVES ERIC                    1341 S INDIANA AVE UNIT A                                                                      CHICAGO           IL   60605‐2607
REEVES GEORGE L (655721)       WEITZ & LUXENBERG               180 MAIDEN LANE                                                NEW YORK          NY   10038
REEVES GWENDOLYN               PO BOX 206                                                                                     WARTHEN           GA   31094‐0206
REEVES HUMMER TAMPA            11333 N FLORIDA AVE                                                                            TAMPA             FL   33612‐5665
REEVES I I, GORDON W           6102 E COUNTY ROAD 800 N                                                                       BROWNSBURG        IN   46112‐8821
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Name                                    Address1                            Address2                          Address3           Address4         City                 State Zip
REEVES II, GORDON W                     6102 E COUNTY ROAD 800 N                                                                                  BROWNSBURG            IN 46112‐8821
REEVES III, LEE                         1234 CORPORATE DRIVE #31                                                                                  ADRIAN                MI 49221
REEVES IMPORT MOTORCARS, INC.           VIVIAN REEVES                       11333 N FLORIDA AVE                                                   TAMPA                 FL 33612‐5665
REEVES JANE DARLING                     3041 W VILLAGE LN                                                                                         PORT HURON            MI 48060‐1403
REEVES JENNIFER                         REEVES, JENNIFER                    111 PARK WEST DR                                                      SCOTT                 LA 70583‐8902
REEVES JENNIFER ROBIN                   REEVES, BARBARA LYNN                4245 KEMP BLVD STE 200                                                WICHITA FALLS         TX 76308‐2833
REEVES JENNIFER ROBIN                   REEVES, JENNIFER ROBIN              4245 KEMP BLVD STE 200                                                WICHITA FALLS         TX 76308‐2833
REEVES JENNIFER ROBIN                   REEVES, LOYD                        4245 KEMP BLVD STE 200                                                WICHITA FALLS         TX 76308‐2833
REEVES JR, ANDREW J                     2898 MONTGOMERY AVE NW                                                                                    WARREN                OH 44485‐1430
REEVES JR, CARL W                       PO BOX 430                                                                                                WAYNESVILLE           OH 45058‐0430
REEVES JR, EDWIN                        951 WHITMORE A #304                                                                                       DETROIT               MI 48203
REEVES JR, HUBERT G                     916 OLD CASHES VALLEY RD                                                                                  BLUE RIDGE            GA 30513‐4321
REEVES JR, JACKSON M                    7711 LEDBETTER RD                                                                                         ARLINGTON             TX 76001‐6909
REEVES JR, JAMES                        15920 BRAMELL ST                                                                                          DETROIT               MI 48223‐1057
REEVES JR, KERMIT L                     6293 N. JENNINGS RD.                                                                                      MT. MORRIS            MI 48458
REEVES JR, LESLIE E                     5193 N COUNTY ROAD 450 W                                                                                  MIDDLETOWN            IN 47356‐9426
REEVES JR, MATHEW J                     708 LAWRENCE ST                                                                                           DETROIT               MI 48202‐1043
REEVES JR, SAMUEL J                     PO BOX 100                                                                                                DEEPWATER             NJ 08023‐0100
REEVES JR, TROY                         8870 RIVERLAND DR                                                                                         STERLING HEIGHTS      MI 48314‐2431
REEVES KENNETH R (660934)               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK               VA 23510
                                                                            STREET, SUITE 600
REEVES LEE                              6942 W OLIVE AVE LOT 15                                                                                   PEORIA               AZ   85345‐7200
REEVES LIVING TRUST, MAX & GRETA M      REEVES LIVING TRUST DTD 5/21/2004   MAX & GRETA M REEVES TRUSTEES     536 RUE NOVEMBRE                    SCOTT                LA   70583‐4231
REEVES TRUSTEES
REEVES MALCOLM M (439434)               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK              VA 23510
                                                                            STREET, SUITE 600
REEVES PERRY                            REEVES, PERRY                       25805 HARPER AVE                                                      SAINT CLAIR SHORES   MI 48081‐2263
REEVES RICHARD LAVERNE (439435)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK              VA 23510
                                                                            STREET, SUITE 600
REEVES ROBERT L (414099)                SIMMONS FIRM                        PO BOX 559                                                            WOOD RIVER           IL 62095‐0559
REEVES ROBERT L (628270)                KIRKSEY WILLIAM B                   SUITE 100‐M HERITAGE BLDG. 401                                        JACKSON              MS 39201
                                                                            EAST CAPITAL STREET
REEVES ROSELIN                          REEVES, ROSELIN                     6507 STATE ROUTE 38 SE                                                LONDON               OH   43140
REEVES ROSELIN                          REEVES, SEAN                        6507 STATE ROUTE 38 SE                                                LONDON               OH   43140
REEVES WIEDEMAN CO                      14861 W 100TH ST                                                                                          LENEXA               KS   66215‐1114
REEVES WILBERT (660523)                 COONEY & CONWAY                     120 NORTH LASALLE STREET , 30TH                                       CHICAGO              IL   60602
                                                                            FLOOR
REEVES WILLIAM D (492133)               BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD           OH 44067
                                                                            PROFESSIONAL BLDG
REEVES WILLIAM H (481976)               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                           NORFOLK              VA 23510
                                                                            STREET, SUITE 600
REEVES WILLIE SR (ESTATE OF) (489200)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD           OH 44067
                                                                            PROFESSIONAL BLDG
REEVES, ADAM                            CATHEY & STRAIN                     PO BOX 689                                                            CORNELIA             GA   30531‐0689
REEVES, ADAM                            MORAITAKIS KUSHEL & PEARSON         3445 PEACHTREE RD NE STE 425                                          ATLANTA              GA   30326‐3239
REEVES, ADAM                            CASEY GILSON LEIBEL PC              6 CONCOURSE PKWY NE STE 2200                                          ATLANTA              GA   30328‐6182
REEVES, ALICE                           12342 OAK RD                                                                                              OTISVILLE            MI   48463‐9722
REEVES, ALICE R                         1518 PEARL ST                                                                                             ANDERSON             IN   46016‐2021
REEVES, ANN                             633 SHERBOURNE ST                                                                                         INKSTER              MI   48141‐1236
REEVES, ANNA M                          5154 S COUNTY RD 1050 W                                                                                   KNIGHTSTOWN          IN   46148‐9561
REEVES, ANNIE M                         25 SEDGEFIELD COURT                                                                                       ROCHESTER            NY   14622‐1791
REEVES, ANTHONY                         8279 SW 116TH ST                                                                                          OCALA                FL   34481‐5098
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Name                      Address1                         Address2                 Address3    Address4         City            State Zip
REEVES, ANTHONY C         411 KERRIGAN BLVD 1                                                                    NEWARK           NJ 07106
REEVES, ANTONY W          2423 HIGHWAY 36 E                                                                      HARTSELLE        AL 35640‐5830
REEVES, ARTELIA           2321 EASY ST                                                                           ANN ARBOR        MI 48104‐5028
REEVES, BARBARA           272 S FORD RD                                                                          BOWIE            TX 76230‐8771
REEVES, BARBARA K         14707 N INDIAN MERIDIAN                                                                LUTHER           OK 73054‐9432
REEVES, BARBARA LYNN      BANNER BRILEY & WHITE L.L.P.     4245 KEMP BLVD STE 200                                WICHITA FALLS    TX 76308‐2833
REEVES, BENNIE F          341 HILLSIDE AVE                                                                       ROANOKE          IN 46783‐8815
REEVES, BENNIE FRANKLIN   341 HILLSIDE AVE                                                                       ROANOKE          IN 46783‐8815
REEVES, BERKLEY           3834 GANGES FIVE POINTS RD       ROUTE 1                                               MANSFIELD        OH 44903‐8816
REEVES, BERNICE           2049 AITKEN AVE                                                                        FLINT            MI 48503‐4212
REEVES, BETTY             1029 COUNTY RD 1120                                                                    RAVENNA          TX 75476‐5405
REEVES, BETTY             3750 DRAHNER RD                                                                        OXFORD           MI 48370‐2514
REEVES, BETTY             1029 COUNTY ROAD 1120                                                                  RAVENNA          TX 75476‐5405
REEVES, BETTY G           900 KINGSTON DR                                                                        HAMILTON         OH 45013‐5914
REEVES, BETTY M           155 MEADOWLAND DR                                                                      MILLERS CREEK    NC 28651
REEVES, BEVERLY J         10358 TOPHILL DR                                                                       HARTLAND         MI 48353‐2541
REEVES, BILLY W           4228 TRENTON OXFORD RD                                                                 HAMILTON         OH 45011‐9662
REEVES, BOBBY G           730 E SOUTH ST                                                                         LEBANON          IN 46052‐2669
REEVES, BOBBY L           3517 BAYBROOK DR                                                                       WATERFORD        MI 48329‐3901
REEVES, BRENDA K          104 POND CIR                                                                           STONEWALL        LA 71078‐2400
REEVES, BRENDA KAY        104 POND CIR                                                                           STONEWALL        LA 71078‐2400
REEVES, BRUCE A           123 ROCK RD                                                                            BELLFLOWER       MO 63333‐2609
REEVES, BRUCE ALAN        123 ROCK RD                                                                            BELLFLOWER       MO 63333‐2609
REEVES, BUFORD            GUY WILLIAM S                    PO BOX 509                                            MCCOMB           MS 39649‐0509
REEVES, CANDICE           14326 IMLAY CITY RD                                                                    MUSSEY           MI 48014‐2603
REEVES, CARLOS G          4397 MYRON AVE                                                                         WAYNE            MI 48184‐1833
REEVES, CARROL D          245 PEACH RIDGE DR                                                                     WEST MONROE      LA 71291‐8656
REEVES, CATHY A           3424 RED CEDAR CT                                                                      GROVE CITY       OH 43123‐9790
REEVES, CECILLE A         1167 SALT MARSH CIR                                                                    PONTE VEDRA      FL 32082‐2543
REEVES, CELESTIA E        PO BOX 352051                                                                          WESTMINSTER      CO 80035‐2051
REEVES, CHARLENE          5105 MARK DAVID DR                                                                     SWARTZ CREEK     MI 48473‐8557
REEVES, CHARLES           471 FARMER TRL                                                                         ATOKA            TN 38004‐7747
REEVES, CHARLES D         2310 WOLF CREEK HWY                                                                    ADRIAN           MI 49221‐9285
REEVES, CHARLES E         9405 MARLOWE AVE                                                                       PLYMOUTH         MI 48170‐4039
REEVES, CHARLES J         15765 GROVE RD                                                                         LANSING          MI 48906‐9354
REEVES, CHARLES S         5626 STATE ROUTE 123                                                                   FRANKLIN         OH 45005‐4628
REEVES, CHARLES S         5626 N ST RT =123                                                                      FRANKLIN         OH 45005‐4628
REEVES, CHARLOTTE A       4494 POMPANO DR SE                                                                     ST PETERSBURG    FL 33705‐4355
REEVES, CHERYL K          MOODY EDWARD O                   801 W 4TH ST                                          LITTLE ROCK      AR 72201‐2107
REEVES, CHERYL L          12424 MCCREERY RD                                                                      STOCKBRIDGE      MI 49285‐9400
REEVES, CHRISTIAN N       445 LARKSPUR LN                                                                        SEVERNA PARK     MD 21146‐1346
REEVES, CHRISTOPER        AIG                              PO BOX 29230                                          PHEONIX          AZ 85038‐9230
REEVES, CLAUDE            GUY WILLIAM S                    PO BOX 509                                            MCCOMB           MS 39649‐0509
REEVES, CLAYTON W         118 ALBERT AVE                                                                         SHREVEPORT       LA 71105‐3004
REEVES, CONAL O           11913 BLOCK RD                                                                         BIRCH RUN        MI 48415‐9467
REEVES, CONSTANCE B       47 W 4TH ST                                                                            GARLAND          NC 28441‐8531
REEVES, CORY L
REEVES, CRAIG R           7501 DAHLIA ST                                                                         COMMERCE CITY   CO   80022
REEVES, CURTIS            169 GILDA AVENUE                                                                       MOUNT AIRY      NC   27030
REEVES, CURTIS L          3114 STUDOR RD                                                                         SAGINAW         MI   48601‐5732
REEVES, DALE M            19 PEACH LN SW                                                                         WARREN          OH   44485‐4219
REEVES, DAMON L           13224 FM 2625 E                                                                        WASKOM          TX   75692‐5802
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Name                     Address1                       Address2            Address3         Address4         City           State Zip
REEVES, DAMON LEE        13224 FM 2625 E                                                                      WASKOM          TX 75692‐5802
REEVES, DANIEL R         1118 W CURTIS RD                                                                     SAGINAW         MI 48601‐9717
REEVES, DANNY            2410 PARK AVE                                                                        MONROE          LA 71201‐2608
REEVES, DANNY E          2410 PARK AVE                                                                        MONROE          LA 71201‐2608
REEVES, DAVID C          PO BOX 415                                                                           TYLERTOWN       MS 39667‐0415
REEVES, DAVID E          5867 W COLUMBIA RD 48854                                                             MASON           MI 48854
REEVES, DAVID L          1518 BRADY AVE                                                                       BURTON          MI 48529‐2012
REEVES, DAVID L          PO BOX 2177                                                                          SOUTHGATE       MI 48195‐4177
REEVES, DAVID LEE        PO BOX 2177                                                                          SOUTHGATE       MI 48195‐4177
REEVES, DAVID W          7096 SOMERS GRATIS RD                                                                CAMDEN          OH 45311‐8811
REEVES, DAVID WARNER     7096 SOMERS GRATIS RD                                                                CAMDEN          OH 45311‐8811
REEVES, DELMORE E        5496 SAVOY DR                                                                        WATERFORD       MI 48327‐2769
REEVES, DENNIS L         10560 E CONDENSERY RD                                                                CARSON CITY     MI 48811‐9508
REEVES, DENNIS R         1415 FORTALEZA DR                                                                    LADY LAKE       FL 32162‐0150
REEVES, DIANE D          1819 N NORTH COURT ST                                                                SULLIVAN        IN 47882‐7504
REEVES, DON W            50 LAMON DR                                                                          DECATUR         AL 35603‐3732
REEVES, DONALD B         7 BROOK AVE                                                                          EDISON          NJ 08820‐3054
REEVES, DONALD R         753 SERENDIPITY DR                                                                   GALENA          MO 65656‐4892
REEVES, DONALD R         PO BOX 3555                                                                          APOLLO BEACH    FL 33572‐1005
REEVES, DONNA KAY        PO BOX 247                                                                           CLOTHIER        WV 25047‐0247
REEVES, DONNA KAY        BOX 247                                                                              CLOTHIER        WV 25047‐0247
REEVES, DORIAN K         20534 BRAILE ST                                                                      DETROIT         MI 48219‐1422
REEVES, DORIS L          PO BOX 324                                                                           MOUNT MORRIS    MI 48458‐0324
REEVES, DOROTHY          2153 POINT MALLARD DRIVE                                                             HENDERSON       NV 89012‐2569
REEVES, DOROTHY JEAN     15315 WORMER APT 3                                                                   REDFORD         MI 48239‐3558
REEVES, DOROTHY M        1231 S BRIARFIELD DR                                                                 LANSING         MI 48910‐5103
REEVES, DOROTHY M        5730 HUGHES RD                                                                       LANSING         MI 48911‐4711
REEVES, DUSTIN L         4045 SOUTH 006 WEST                                                                  HUNTINGTON      IN 46750‐9214
REEVES, ELMER L          5154 S COUNTY ROAD 1050 W                                                            KNIGHTSTOWN     IN 46148‐9561
REEVES, ELNER B          4409 DANADO DR                                                                       DAYTON          OH 45406‐1417
REEVES, ELVIA L          5502 LAURENE ST                                                                      FLINT           MI 48505‐2587
REEVES, ELWOOD           110 CHERRY HILL DR                                                                   DAYTON          OH 45440‐3546
REEVES, EMORY R          18416 JOANN ST                                                                       DETROIT         MI 48205‐2746
REEVES, ERMA             22 OAKBEACH DR                                                                       BURLINGTON      VT 05401
REEVES, FOREST E         PO BOX 32                                                                            SHIRLEY         IN 47384‐0032
REEVES, FREDDIE M        28166 EATON DR                                                                       WARREN          MI 48092‐5526
REEVES, GARRETT W        3750 DRAHNER RD                                                                      OXFORD          MI 48370‐2514
REEVES, GARY W           3970 WOLFORD RD.                                                                     XENIA           OH 45385‐9620
REEVES, GEORGE E         102 ASHLEY ST                                                                        ROCKINGHAM      NC 28379‐3382
REEVES, GEORGE L         WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK        NY 10038
REEVES, GERALD L         6977 CHADWICK DR                                                                     CANTON          MI 48187‐1602
REEVES, GERALDINE F      2220 WELCH BLVD                                                                      FLINT           MI 48504‐2919
REEVES, GERALDINE F      67 WILMETTE LN                                                                       YOUNGSTOWN      OH 44505‐4933
REEVES, GERALDINE FAYE   2220 WELCH BOULEVARD                                                                 FLINT           MI 48504‐2919
REEVES, GLADYS A         6051 E 56TH ST                                                                       INDIANAPOLIS    IN 46226‐1629
REEVES, GORDON L         8250 WOLVERINE TRL                                                                   ATLANTA         MI 49709‐8705
REEVES, GRACE J          4450 SEWELL ROAD                                                                     CUMMING         GA 30040
REEVES, GRACE J          4450 SEWELL RD                                                                       CUMMING         GA 30028‐7513
REEVES, GREGORY          707 FOREST CT                                                                        YPSILANTI       MI 48198‐3915
REEVES, GWENDOLYN E      1855 LAKELAND DR STE B10                                                             JACKSON         MS 39216‐4917
REEVES, HARLAN D         3279 COUNTY ROAD 100                                                                 MOULTON         AL 35650‐5275
REEVES, HARVEY V         640 E WHEELER RD                                                                     MIDLAND         MI 48640‐8619
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Name                     Address1                         Address2                 Address3    Address4         City                State Zip
REEVES, HILLARD J        45 PLEASANT VIEW RD                                                                    FALKVILLE            AL 35622‐5344
REEVES, HUGO F           6847 HIGH RIDGE RD                                                                     WEST BLOOMFIELD      MI 48324‐3225
REEVES, IMOJEAN          2415 SIMPSON LN                                                                        SHELBYVILLE          IN 46176‐3153
REEVES, JACLYN E         PO BOX 2194                                                                            MURPHYS              CA 95247‐2194
REEVES, JAMES            7340 S 100 E                                                                           PENDLETON            IN 46064‐9398
REEVES, JAMES            GUY WILLIAM S                    PO BOX 509                                            MCCOMB               MS 39649‐0509
REEVES, JAMES A          11483 OLEN DR                                                                          JUSTIN               TX 76247‐8744
REEVES, JAMES C          PO BOX 1                         101 E 2ND ST                                          ARCADIA              OK 73007‐0001
REEVES, JAMES E          704 HILLCREST DR                                                                       ARLINGTON            TX 76010‐3136
REEVES, JAMES E          2235 STATE ROUTE 1935                                                                  BARDWELL             KY 42023‐8627
REEVES, JAMES G          9548 HACKER FARM LN                                                                    DAYTON               OH 45458
REEVES, JAMES K          1110 E 3RD ST                                                                          COAL CITY             IL 60416‐1325
REEVES, JAMES K          7340 S 100 E                                                                           PENDLETON            IN 46064‐9398
REEVES, JAMES L          890 PRIEMER DR                                                                         BEAVERTON            MI 48612‐8901
REEVES, JAMES L          16481 HIGHWAY 5 S                                                                      NORFORK              AR 72658‐8444
REEVES, JAMES W          3093 HATFIELD CT                                                                       COLUMBUS             OH 43232‐5846
REEVES, JANET S          2897 SHAR PEI LN SW                                                                    BOGUE CHITTO         MS 39629‐5147
REEVES, JEAN L           6213 LOST CREEK DR                                                                     CORPUS CHRISTI       TX 78413‐2916
REEVES, JEFF A           9818 MERLOT LN                                                                         NORTH LITTLE ROCK    AR 72118
REEVES, JEFFREY K        355 COUNTY ROAD 174                                                                    MOULTON              AL 35650‐5831
REEVES, JEFFREY L        4045 S 006 W                                                                           HUNTINGTON           IN 46750‐9214
REEVES, JEFFREY LEE      4045 S 006 W                                                                           HUNTINGTON           IN 46750‐9214
REEVES, JEFFREY S        600 N FOSTER AVE                                                                       LANSING              MI 48912‐4211
REEVES, JENNIFER         222 S FORD RD                                                                          BOWIE                TX 76230‐8771
REEVES, JENNIFER         DALTON & ASSOCIATES LLC          111 PARK WEST DR                                      SCOTT                LA 70583‐8902
REEVES, JENNIFER ROBIN   BANNER BRILEY & WHITE L.L.P.     4245 KEMP BLVD STE 200                                WICHITA FALLS        TX 76308‐2833
REEVES, JEROME W         7837 S LUELLA AVE                                                                      CHICAGO               IL 60649‐5008
REEVES, JERRY C          3410 MAYNARD CIR                                                                       GAINESVILLE          GA 30506‐3734
REEVES, JERRY D          6918 HIGHWAY 67                                                                        CORNING              AR 72422‐7080
REEVES, JERRY F          177 STRONG RD                                                                          NEWNAN               GA 30263‐7216
REEVES, JERRY L          13096 KY 6                                                                             CORBIN               KY 40701‐7554
REEVES, JERRY L          1683 N 500 E                                                                           ANDERSON             IN 46012‐9435
REEVES, JERRY L          14384 ROBSON RD                                                                        BATH                 MI 48808‐8758
REEVES, JILL E           PO BOX 541                                                                             TAYLOR               MI 48180‐0541
REEVES, JO A             1309 SKRIVANEK DR                                                                      BRYAN                TX 77802
REEVES, JOBY
REEVES, JOE E            PO BOX 144                                                                             WILKINSON           IN   46186‐0144
REEVES, JOHN H           6504 N 200 E                                                                           HUNTINGTON          IN   46750‐9642
REEVES, JOHN W           12180 SKYLINE DR                                                                       COLLINSVILLE        OK   74021‐6292
REEVES, JOHN W           411 W 25TH AVE                                                                         SPOKANE             WA   99203‐1807
REEVES, JONITA D         1912 ROBINWOOD AVE                                                                     SAGINAW             MI   48601‐3519
REEVES, JOSEPH M         2011 DALY DR                                                                           HARRISON            AR   72601‐6242
REEVES, JOYCE            1205 WOODWARD AVE                                                                      KALAMAZOO           MI   49007‐2316
REEVES, JR,RICHARD B     4403 HUNT CLUB DR APT 2A                                                               YPSILANTI           MI   48197‐9108
REEVES, JUANITA M        1740 E NEWBERG RD                                                                      PINCONNING          MI   48650‐9483
REEVES, JUDITH A         616 E HARRY ST                                                                         MOUNT PULASKI       IL   62548
REEVES, JULIUS L         3294 WOODVIEW LAKE RD                                                                  WEST BLOOMFIELD     MI   48323‐3570
REEVES, KARLA K          2726 APACHE DR                                                                         ANDERSON            IN   46012‐1402
REEVES, KATHRYN A        1342 OWENS RD                                                                          ASHLAND             AL   36251‐6114
REEVES, KATHRYN A        203 BISCAYNE DR                                                                        WEST MONROE         LA   71291‐4807
REEVES, KELLEN M         2104 PAGAN RD                                                                          RALEIGH             NC   27603‐9523
REEVES, KENNETH          7922 NORTH COUNTY LINE                                                                 BLANCHARD           OK   73010
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Name                   Address1                         Address2                      Address3   Address4         City              State Zip
REEVES, KENNETH E      104 COURT ST S                                                                             STANDISH           MI 48658‐9414
REEVES, KENNETH J      PO BOX 24052                                                                               LANSING            MI 48909‐4052
REEVES, KENNETH R      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
REEVES, KERMIT L       1286 WAGON WHEEL LN                                                                        GRAND BLANC       MI   48439‐4864
REEVES, KURT E         4138 OAK TREE CIR                                                                          ROCHESTER         MI   48306‐4661
REEVES, LAMONT D       2427 WOODWAY AVE                                                                           DAYTON            OH   45406
REEVES, LARRY D        12417 FM 1602                                                                              JONESBORO         TX   76538‐1320
REEVES, LAVERNE W      8565 INDIAN CREEK DR.                                                                      POLAND            OH   44514‐3388
REEVES, LAWRENCE       1707 OXLEY DR                                                                              FLINT             MI   48504‐7025
REEVES, LAWRENCE L     3426 DOUGLAS ST                                                                            ASHLAND           KY   41102‐5652
REEVES, LEGRAND J      2153 POINT MALLARD DR                                                                      HENDERSON         NV   89012‐2569
REEVES, LENA M         4287 E 139 ST                                                                              CLEVELAND         OH   44105‐6438
REEVES, LENA M         4287 E 139TH ST                                                                            CLEVELAND         OH   44105‐6438
REEVES, LEONA          6828 40TH AVE N                                                                            ST PETERSBURG     FL   33709‐4608
REEVES, LEVI H         8990 VIRGINIA AVE                                                                          MECOSTA           MI   49332‐9588
REEVES, LINDA J        4358 COUNTY ROAD 367 EAST                                                                  HENDERSON         TX   75654‐9608
REEVES, LINDA L        2101 SW 30TH ST                                                                            MOORE             OK   73170‐7910
REEVES, LINDA V        PO BOX 960                       676 WEST MAIN ST                                          FRIES             VA   24330‐0960
REEVES, LISA A         2798 LEE DR SE                                                                             BOGUE CHITTO      MS   39629‐9410
REEVES, LLOYD A        956 HOMESTEAD CT                                                                           ROCHESTER HILLS   MI   48309‐1053
REEVES, LLOYD C        5576 S 100 W                                                                               PENDLETON         IN   46064‐9162
REEVES, LLOYD E        1000 HIGHWAY Y                                                                             SAINT PAUL        MO   63366‐5207
REEVES, LOMA J         2022 STANFORD AVE                                                                          FLINT             MI   48503‐4011
REEVES, LONNY D        106 DENTON DR                                                                              EULESS            TX   76039‐3314
REEVES, LONNY DEAN     106 DENTON DR                                                                              EULESS            TX   76039‐3314
REEVES, LONZO          22291 W MCNICHOLS RD                                                                       DETROIT           MI   48219
REEVES, LORETTA T      968 E BOSTON AVE                                                                           YOUNGSTOWN        OH   44502‐2854
REEVES, LORETTA T      968 E. BOSTON AVE.                                                                         YOUNGSTOWN        OH   44502‐2854
REEVES, LOYD           BANNER BRILEY & WHITE L.L.P.     4245 KEMP BLVD STE 200                                    WICHITA FALLS     TX   76308‐2833
REEVES, LOYD D         8118 N STATE HIGHWAY 78                                                                    RAVENNA           TX   75476‐6261
REEVES, LU ELLEN E     6504 N 200 E                                                                               HUNTINGTON        IN   46750‐9642
REEVES, MALCOLM M      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                        STREET, SUITE 600
REEVES, MARLENE A      75‐346 HUALALAI RD APT F102                                                                KAILUA KONA       HI   96740
REEVES, MARTHA O       5444 FENWICK AVE APT 8                                                                     NORWOOD           OH   45212‐1108
REEVES, MARTHA O       5444 FENWICK AVE                 #8                                                        NORWOOD           OH   45212‐1108
REEVES, MARY E         3834 GANGES 5 PT. RD.            ROUTE 1                                                   MANSFIELD         OH   44903‐8816
REEVES, MARY L         3282 SPRING HILL AVE                                                                       INKSTER           MI   48141‐2134
REEVES, MARY S         2252 PLAZA DR W                                                                            CLIO              MI   48420‐2106
REEVES, MARY S         1109 JACKSON ST APT 1103                                                                   ANDERSON          IN   46016‐1473
REEVES, MARY S         2252 PLAZA DRIVE W                                                                         CLIO              MI   48420‐2106
REEVES, MARY S         1109 JACKSONST APT 1103                                                                    ANDERSON          IN   46016‐1473
REEVES, MARYANN S      5582 WHITES BRIDGE RD                                                                      BELDING           MI   48809‐9237
REEVES, MELODY N       990 CHAREST RD                                                                             SOMERVILLE        AL   35670
REEVES, MICHAEL D      1250 FOSTER ARBOR RD                                                                       CASTOR            LA   71016‐5210
REEVES, MICHAEL DEAN   1250 FOSTER ARBOR RD                                                                       CASTOR            LA   71016‐5210
REEVES, MICHAEL E      5043 STAFFORD AVE                                                                          LANSING           MI   48910
REEVES, MICHAEL S      918 FOSTER ARBOR RD                                                                        CASTOR            LA   71016‐4234
REEVES, MONICA S       717 LAKEWOOD DR NE                                                                         BROOKHAVEN        MS   39601‐9601
REEVES, NANCY A        445 LARKSPUR LN                                                                            SEVERNA PARK      MD   21146‐1346
REEVES, NANCY S        1501 RAY ST                                                                                DEXTER            MO   63841‐1452
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Name                      Address1                         Address2                         Address3                Address4         City            State Zip
REEVES, NORPHLET          238 W WITHERBEE ST                                                                                         FLINT            MI 48503‐1080
REEVES, NORVA K           3318 KINDER TRL SE               C/O KENNETH DANIEL REEVES                                                 RUTH             MS 39662‐9450
REEVES, NORVA K           C/O KENNETH DANIEL REEVES        3318 KINDER TRAIL SE                                                      RUTH             MS 39662‐9662
REEVES, OSCAR E           1100 MERCHANT RD                 NO. 5                                                                     FORKS            WA 98331‐9250
REEVES, PAUL S            3128 VALLEY FARMS RD                                                                                       INDIANAPOLIS     IN 46214‐1516
REEVES, PAULINE M         7924 SPENCER RD                                                                                            SPENCER          OK 73084‐4661
REEVES, PEARLINE          29161 GERTRUDE CT                                                                                          INKSTER          MI 48141‐1101
REEVES, PEGGY J           6614 CRANWOOD DR                                                                                           FLINT            MI 48505‐1951
REEVES, PERRY             PO BOX 600                       #308440 C/O ALGER MAXIMUM        CORRECTIONAL FACILITY                    MUNISING         MI 49862
REEVES, RALPH E           6630 BRANDT PIKE                                                                                           HUBER HEIGHTS    OH 45424‐3356
REEVES, RALPH R           203 LOCUST LN                                                                                              MOORESVILLE      IN 46158‐1140
REEVES, RANDALL E         31004 BURLINGTON ST                                                                                        WESTLAND         MI 48186‐5338
REEVES, RANDALL EDWARD    31004 BURLINGTON ST                                                                                        WESTLAND         MI 48186‐5338
REEVES, RAYMOND D         310 N FREMONT ST                                                                                           LAWTON           MI 49065‐9742
REEVES, REX A             2798 LEE DR SE                                                                                             BOGUE CHITTO     MS 39629‐9410
REEVES, RICHARD A         1809 SHERWOOD AVE                                                                                          MONROE           LA 71201‐3526
REEVES, RICHARD A         344 PARK LN                                                                                                LINDEN           MI 48451‐9079
REEVES, RICHARD D         990 CHAREST ROAD                                                                                           SOMERVILLE       AL 35670‐3317
REEVES, RICHARD L         4911 DAWN ST                                                                                               ANDERSON         IN 46013‐1344
REEVES, RICHARD LAVERNE   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                               NORFOLK          VA 23510‐2212
                                                           STREET, SUITE 600
REEVES, RICKIE B          PO BOX 1447                                                                                                WASKOM          TX   75692‐1447
REEVES, RITA F            8827 MEADOW LN                                                                                             YPSILANTI       MI   48197‐9298
REEVES, ROBERT            1226 ARROWHEAD DRIVE                                                                                       BURTON          MI   48509‐1424
REEVES, ROBERT            SIMMONS FIRM                     PO BOX 559                                                                WOOD RIVER      IL   62095‐0559
REEVES, ROBERT B          6614 CRANWOOD DR                                                                                           FLINT           MI   48505‐1951
REEVES, ROBERT D          6218 EASTWULL APT 165                                                                                      GRAND BLANC     MI   48439
REEVES, ROBERT E          1519 MORRIS CK RD                                                                                          STANTON         KY   40380
REEVES, ROBERT L          KIRKSEY WILLIAM B                SUITE 100‐M HERITAGE BLDG. 401                                            JACKSON         MS   39201
                                                           EAST CAPITAL STREET
REEVES, ROBERT L          2341 GREENWAY DR                                                                                           DECATUR         GA   30035‐2764
REEVES, ROBERT L          PO BOX 1623                                                                                                YOUNGSTOWN      OH   44501‐1623
REEVES, ROBERT N          APT 58                           246 SHERIDAN AVENUE                                                       FORT MYER       VA   22211‐1158
REEVES, ROBIN             17753 WORMER STREET                                                                                        DETROIT         MI   48219‐3036
REEVES, RONALD            GUY WILLIAM S                    PO BOX 509                                                                MCCOMB          MS   39649‐0509
REEVES, RONALD M          18331 FERNCLIFFE AVE                                                                                       CLEVELAND       OH   44135‐3925
REEVES, RONALD W          299 EDGEWOOD CIR                                                                                           DOUGLAS         GA   31533‐8313
REEVES, ROSE MARIE        PILGRIMS LANDING                 410 MILL ST APT 143                                                       BUFFALO         NY   14221
REEVES, ROSELIN           6507 STATE ROUTE 38 SE                                                                                     LONDON          OH   43140‐9774
REEVES, ROY W             2897 SHAR PEI LN SW                                                                                        BOGUE CHITTO    MS   39629‐5147
REEVES, RUBY              1680 MCALPINE DR                 P O BOX 65                                                                MOUNT MORRIS    MI   48458‐2357
REEVES, RUSSELL J
REEVES, SADAIRA D         2722 CIRCLE DR                                                                                             FLINT           MI   48507‐1810
REEVES, SADAIRA DEANNA    2722 CIRCLE DR                                                                                             FLINT           MI   48507‐1810
REEVES, SAMUEL J          220 DIXIE RD                                                                                               BERNICE         LA   71222‐5416
REEVES, SAMUEL J          10621 BREED AVE                                                                                            OAKLAND         CA   94603‐3929
REEVES, SAMUEL J          155 BAILEY AVE                                                                                             BRIDGE CITY     TX   77611‐3502
REEVES, SAMUEL JAMES      238 DIXIE RD                                                                                               BERNICE         LA   71222‐5416
REEVES, SANDRA G          3369 AINSWORTH DR                                                                                          CINCINNATI      OH   45251‐2121
REEVES, SEAN
REEVES, SEAN              6507 STATE ROUTE 38 SE                                                                                     LONDON          OH 43140‐9774
REEVES, SHANNON E         3019 PHEASANT RUN EAST D                                                                                   WIXOM           MI 48393
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Name                                  Address1                          Address2                         Address3   Address4         City           State Zip
REEVES, SHARON M                      4138 OAK TREE CIR                                                                              ROCHESTER       MI 48306‐4661
REEVES, SHARON MICHELLE               4138 OAK TREE CIR                                                                              ROCHESTER       MI 48306‐4661
REEVES, SHIRLEY A                     683 HICKORY ISLAND RD                                                                          STANDISH        MI 48658‐9721
REEVES, STEPHEN R                     2938 CADY DR                                                                                   BRIGHTON        MI 48114‐8661
REEVES, STEVEN                        12814 ARLINGTON ST                                                                             DETROIT         MI 48212‐2279
REEVES, STEVEN A                      102 S CANAL ST APT A                                                                           ALEXANDRIA      IN 46001‐1908
REEVES, SUSIE M                       13575 MONTROSE                                                                                 DETROIT         MI 48227‐1712
REEVES, TAMEKA S                      7364 CARIBOU TRAIL                                                                             RIVERDALE       GA 30296‐1575
REEVES, TED W                         PO BOX 2286                                                                                    CLEVELAND       GA 30528‐0041
REEVES, TED W                         11300 CODY JOHNSON RD                                                                          SPARTA          GA 31087‐9070
REEVES, TERRANCE M                    3282 SPRING HILL AVE                                                                           INKSTER         MI 48141‐2134
REEVES, THELMA L                      27015 TERRELL ST                                                                               DEARBORN HTS    MI 48127‐2843
REEVES, THOMAS M                      PO BOX 252                                                                                     LAKE HUGHES     CA 93532‐0252
REEVES, TIFANIE                       1030 OLD HIGHWAY 46 S                                                                          DICKSON         TN 37055‐3507
REEVES, TIMOTHY G                     4208 GRINDLEY PARK ST                                                                          DEARBORN HTS    MI 48125‐2228
REEVES, TIMOTHY M                     24800 HIGHLANDS DR                                                                             NOVI            MI 48375‐2626
REEVES, TINA C                        PO BOX 1054                                                                                    DEQUINCY        LA 70633‐1054
REEVES, TODD M                        7028 STATE ROUTE 45                                                                            BRISTOLVILLE    OH 44402‐9756
REEVES, TOMMY F                       215 MADONNA DR                    `                                                            BENTON          LA 71006‐4218
REEVES, UTE                           104 EDGEWATER DR                                                                               ANDERSON        SC 29626‐5103
REEVES, VERNON                        6113 IRON KETTLE ST                                                                            LAS VEGAS       NV 89130‐1065
REEVES, VERNON J                      216 DOUGLAS AVE                                                                                YONKERS         NY 10703‐1917
REEVES, VIRGINIA M                    8807 NORTH RD                                                                                  LIBERTY         MO 64068‐8621
REEVES, VIVIAN C                      2741 VELTRE PL SW                                                                              ATLANTA         GA 30311‐3100
REEVES, VIVIAN C                      2741 VELTREE PL SW                                                                             ATLANTA         GA 30311‐3100
REEVES, WAYNE A                       602 KETTLE LAKE RD NE                                                                          KALKASKA        MI 49646‐9125
REEVES, WILBERT                       COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                               CHICAGO          IL 60602
                                                                        FLOOR
REEVES, WILLIAM                       203 BISCAYNE DR                                                                                WEST MONROE    LA 71291‐4807
REEVES, WILLIAM D                     PO BOX 960                                                                                     FRIES          VA 24330‐0960
REEVES, WILLIAM D                     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
REEVES, WILLIAM D                     203 BISCAYNE DR                                                                                WEST MONROE    LA   71291‐4807
REEVES, WILLIAM E                     9342 ELAINE DR                                                                                 SWARTZ CREEK   MI   48473‐8555
REEVES, WILLIAM F                     2709 MARQUIS CIR W                                                                             ARLINGTON      TX   76016‐2017
REEVES, WILLIAM G                     38227 SQUAW VALLEY RD                                                                          SQUAW VALLEY   CA   93675‐9347
REEVES, WILLIAM H                     717 LAKEWOOD DR NE                                                                             BROOKHAVEN     MS   39601‐4753
REEVES, WILLIAM H                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK        VA   23510‐2212
                                                                        STREET, SUITE 600
REEVES, WILLIE E                      623 S 14TH ST                                                                                  SAGINAW        MI   48601‐1922
REEVES, WILLIE EARL                   623 S 14TH ST                                                                                  SAGINAW        MI   48601‐1922
REEVES, WILLIE I                      18450 LAHSER RD APT 4                                                                          DETROIT        MI   48219‐2305
REEVES, WILLIE T                      24317 FOXMOOR BLVD                                                                             WOODHAVEN      MI   48183‐3790
REEVES, WILMA R                       64 MILL CREEK RD                                                                               NILES          OH   44446‐3208
REEVES,TAYLOR M                       409 O TOOLE DR                                                                                 MINOOKA        IL   60447‐9496
REEVES‐BARHAMS, CASSANDRA J           1230 E 168TH ST                                                                                CLEVELAND      OH   44110‐1533
REEVES‐HANGER, TERRY                  3151 MOUNTAIN LAUREL ST NE                                                                     ROSWELL        GA   30075‐4072
REEVES‐LLOVERAS, PATRICIA D           1921 ORO DR                                                                                    FREMONT        CA   94539‐3650
REEVES‐MAINES, LORRAINE               4218 BEECH CREEK RD                                                                            ROGERSVILLE    TN   37857
REEVES‐MCGHEE, JOANIE M               11427 MERCEDES                                                                                 REDFORD        MI   48239‐2377
REEXAMINATION OF U S PATENT 6963899   FERNANDEZ INNOVATIVE TECHNOLOGY   1047 EL CAMINO REAL SUITE 201                                MENLO PARK     CA   94025
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Name                                 Address1                              Address2                       Address3              Address4                 City                 State Zip
REFA MEXICANA SA DE CV               KM 117 AUTOPISTA MEXICO PUEBLA        KM 117 AUTOPISTA MEXICO PUEBLA 72730 CUAUTLANCINGO   PUEBLA 72730 MEXICO
                                                                                                          PUEBLA
REFA MEXICANA SA DE CV               KLAUS REITHOFER                       KM117 AUTOPISTA MEXICO PUEBLA CALLE ACASIAS          CELAYA GJ 38110 MEXICO

REFA MEXICANA SA DE CV               KM 117 AUTOPISTA MEXICO PUEBLA                                                             CUAUTLANCINGO PUEBLA
                                                                                                                                MX 72730 MEXICO
REFA MEXICANA SA DE CV               KM 117 AUTOPISTA MEXICO PUEBLA        CALLE ACASIAS                                        CUAUTLANCINGO PUEBLA
                                                                                                                                72730 MEXICO
REFABCO SCREW PRODUCTS INC           37900 MOUND RD                                                                                                      STERLING HEIGHTS     MI    48310‐4132
REFAEI DORIS                         REFAEI, DORIS                         30 E BUTLER AVE                                                               AMBLER               PA    19002‐4514
REFCO INC                            2 PENN CTR W                          STE 430                                                                       PITTSBURGH           PA    15276‐0110
REFERMAT, GARY T                     3721 ROUTE 39                                                                                                       BLISS                NY    14024
REFF, FRED A                         4500 N MICHIGAN RD                                                                                                  SHELBYVILLE          IN    46176‐8570
REFF, STELLA J                       41 URBAN DR                                                                                                         ANDERSON             IN    46011‐2544
REFF, THOMAS                         PO BOX 233                                                                                                          ALTMAR               NY    13302‐0233
REFFERD SMITH                        80 VISTA DR                                                                                                         HAMILTON             OH    45011‐4717
REFFERT, ROBERT A                    8270 CALKINS RD                                                                                                     FLINT                MI    48532‐5520
REFFERT, ROBERT ALLEN                8270 CALKINS RD                                                                                                     FLINT                MI    48532‐5520
REFFERT, WILLIAM K                   PO BOX 584                                                                                                          DYERSBURG            TN    38025‐0584
REFFETT, CHARLES R                   3100 DOVE VALLEY LN                                                                                                 MANSFIELD            TX    76063‐5815
REFFETT, CHARLES R                   3109 RUSTIC MEADOW TRL                                                                                              MANSFIELD            TX    76063‐5808
REFFETT, LISA A                      3212 COUNTRY CLUB DR E                                                                                              ROCHESTER            IN    46975‐8975
REFFETT, MARTHA H                    18311 VIA SERENA RD                                                                                                 SONORA               CA    95370
REFFETT, SHANE                       3212 COUNTRY CLUB DR E                                                                                              ROCHESTER            IN    46975‐8975
REFFITT'S GARAGE                     2476 MILLVILLE OXFORD RD                                                                                            HAMILTON             OH    45013‐8928
REFFITT, BONNIE S                    28142 UNIVERSAL DR                                                                                                  WARREN               MI    48092‐2431
REFFITT, LINDA D                     2887 VZ COUNTY ROAD 2144                                                                                            WILLS POINT          TX    75169‐5566
REFFITT, VERNON H                    1342 BRAHMA DR                                                                                                      VALRICO              FL    33594‐4917
REFFLE, CHRISTINA J                  20015 SHADY LANE AVE                                                                                                SAINT CLAIR SHORES   MI    48080‐4211
REFFLE, NICHOLAS J                   50477 KAYLA DR                                                                                                      NEW BALTIMORE        MI    48047‐4445
REFFNER JAMES J (473034)             C/O GOLDBERG PERSKY & WHITE P.C.      1030 FIFTH AVENUE                                                             PITTSBURGH           PA    15219
REFFNER, JAMES J                     GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                                  PITTSBURGH           PA    15219

REFICE, ALBERTO                      DIA LICINIO‐REFICE #7                                                                      PATRICA‐FR 03010 ITALY
REFICE, CHRISTINE K                  2349 ATLAS RD                                                                                                       DAVISON               MI 48423‐8314
REFICE, DELIA                        831 CORNELIA ST                                                                                                     FLINT                 MI 48503‐1616
REFICE, ROBERT L                     2349 ATLAS RD                                                                                                       DAVISON               MI 48423‐8314
REFIK AND SEVIM HABIP                MORIYA 2, RAMAT HASHARON              47228 ISRAEL
REFIK AND SEVIM HABIP                ZARA                                  MORIYA 2, RAMAT HASHARON                             47228 ISRAEL
REFIK AND SEVIM HABIP                ...                                   ...                            ...
REFIK AND SEVIM HABIP                ....
REFIKA OSMAN                         4330 44TH ST APT 2A                                                                                                 SUNNYSIDE             NY 11104‐4651
REFIL & SEVIM HABIP                  MORIYA 2                                                                                                            ISTANBUL                 52325
REFINED CONCRETE WATERPROOFING       ATTN: MIKE BLASKA                     769 E MOUNT MORRIS ST                                                         MT MORRIS             MI 48458‐2006
REFINERS TRANSPORT & TERMINAL CORP   PO BOX 640217                                                                                                       PITTSBURGH            PA 15264‐0217

REFLECTIONS POLISHING                ATTN: JODY J JENDON                   273 S FORD BLVD                                                               YPSILANTI            MI    48198‐6066
REFLECTIVE CONCEPTS                  MATT TETRAULT                         38 COLUMBIA AVE                                                               NASSAU               NY    12123‐3306
REFORD MCGUIRE                       9566 WM FRANCIS DR                                                                                                  FRANKLIN             OH    45005
REFORMED BIBLE COLLEGE               3333 E BELTLINE AVE NE                                                                                              GRAND RAPIDS         MI    49525‐9781
REFOUR, JAMES L                      5372 EASTPORT AVE                                                                                                   DAYTON               OH    45427‐2732
REFOUR, JOHN L                       1501 KIMMEL LANE                                                                                                    DAYTON               OH    45418‐2038
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Name                                 Address1                          Address2                      Address3   Address4              City            State Zip
REFRACTORY ENGINEERS INC             1750 MIDWEST BLVD                                                                                INDIANAPOLIS     IN 46214‐2377
REFRANZA RILEY‐ROBERTSON             23 SYCAMORE ST                                                                                   BATTLE CREEK     MI 49017‐4521
REFRIGERATION SALES CORP             2571 SILVER DR                                                                                   COLUMBUS         OH 43211‐1036
REFRIGERATION SALES CORP             BRYANT NORTHERN OHIO              9450 ALLEN DR STE A                                            VALLEY VIEW      OH 44125‐4602
REFRIGERATION SALES CORPORATION      421 JACKSON ST                                                                                   SANDUSKY         OH 44870‐2736
REFRIGERATION SERVICE ENGINEER       1666 RAND RD                                                                                     DES PLAINES       IL 60016‐3552
REFRIGERATION SERVICE ENGINEERS      ATTN: JOSH FLAIM                  1666 RAND ROAD                                                 DES PLAINES       IL 60016‐3552
SOCIETY
REFRIGERATION SERVICE ENGINEERS      JOSH FLAIM                        1666 RAND ROAD, DES PLAINES                                    DES PLAINES      IL   60016
SOCIETY
REFRIGERATION SERVICE ENGINEERS      166 RAND RD.                                                                                     DES PLAINES      IL   60016
SOCIETY
REFRIGIWEAR INC                      PO BOX 39                         BREAKSTONE DR                                                  DAHLONEGA       GA    30533‐0001
REFUGE MILLEDGE                      3725 MOLLER RD                                                                                   INDIANAPOLIS    IN    46224‐1319
REFUGIO ARANDA                       650 CALLE DEL PRADO                                                                              MILPITAS        CA    95035‐4520
REFUGIO COUNTY TAX COLLECTOR         808 COMMERCE ST STE 109                                                                          REFUGIO         TX    78377‐3151
REFUGIO GARCIA JR                    1232 NE 26TH ST                                                                                  MOORE           OK    73160‐9536
REFUGIO HERNANDEZ                    736 WOODRING AVE                                                                                 PAULDING        OH    45879‐1059
REFUGIO LUNA                         121 W ZARAGOSA ST                                                                                UVALDE          TX    78801‐5035
REFUGIO MAZA JR                      4934 MOUNT BLISS RD                                                                              EAST JORDAN     MI    49727‐9017
REFUGIO MONTALVO JR                  9984 SMITH RD                                                                                    BRITTON         MI    49229‐9594
REFUGIO QUINTANILLA                  28855 STARLIGHT RD                                                                               PERRYSBURG      OH    43551‐4676
REFUGIO RANGEL                       3709 W 66TH ST                                                                                   CHICAGO         IL    60629‐4732
REFUGIO SALCEDO                      8133 3RD ST APT 201                                                                              DOWNEY          CA    90241‐3638
REFUGIO ZAMORA                       1001 STATE ST                                                                                    OWOSSO          MI    48867‐4250
REG'S COMPLETE/THOMP                 91A KELSEY BAY                                                             THOMPSON R8N 1S3
                                                                                                                CANADA
REGA, ALBERT S                       3446 MAGNOLIA DR                                                                                 SEVEN HILLS     OH    44131‐5144
REGA, DAVID A                        37 DOVE AVE                                                                                      WHITMORE LAKE   MI    48189‐9759
REGA, LESLIE                         3580 SE FEDERAL HWY                                                                              STUART          FL    34997‐4918
REGA, NICHOLAS R                     3508 NE 77TH ST                                                                                  GLADSTONE       MO    64119‐4358
REGAL CUTTING TOOLS                  PO BOX 368                        5368 E ROCKTON RD                                              SOUTH BELOIT    IL    61080‐0368
REGAL MARINE INDUSTRIES, INC.        KNIGHTS HOUSE, 2 PARADE, SUTTON                                            GREAT BRITAIN
                                     COLDFIELD, B72 1PH, ENGLAND
REGAL MARINE INDUSTRIES, INC.        2300 JETPORT DR                                                                                  ORLANDO         FL 32809‐7800
REGAL MAXWELL/NASHVI                 2025 ROSA L PARKS BLVD                                                                           NASHVILLE       TN 37228‐1505
REGAL METAL PRODUCTS                 TED TOMAK, JR                     3615 UNION AVENUE                        CHIYODA‐KU YOKOHAMA
                                                                                                                JAPAN
REGAL METAL PRODUCTS CO              TED TOMAK, JR                     3615 UNION AVENUE                        CHIYODA‐KU YOKOHAMA
                                                                                                                JAPAN
REGAL METAL PRODUCTS COMPANY         3615 UNION AVE SE                                                                                MINERVA         OH 44657‐8972
REGAL PLAST/BERKLEY                  2060 COOLIDGE HWY                 C/O G.T. SALES                                                 BERKLEY         MI 48072‐1546
REGAL PLAST/RSEVILLE                 15700 COMMON RD                                                                                  ROSEVILLE       MI 48066‐1893
REGAL PLASTIC SUPPLIES
REGAL PLASTIC/OWOSSO                 655 WABASSEE DR                                                                                  OWOSSO          MI    48867‐9766
REGAL PLASTICS CO                    PO BOX 246                        15700 COMMON RD                                                ROSEVILLE       MI    48066‐0246
REGAL PLASTICS CO                    655 WABASSEE DR                                                                                  OWOSSO          MI    48867‐9766
REGAL PONTIAC OLDS GMC               CANNON AUTOMOTIVE GROUP INC       125 S GADSDEN ST STE 300                                       TALLAHASSEE     FL    32301‐1589
REGAL PONTIAC OLDS GMC               125 S GADSDEN ST STE 300                                                                         TALLAHASSEE     FL    32301‐1589
REGAL PONTIAC OLDSMOBILE GMC TRUCK   2615 LAKELAND HILLS BLVD                                                                         LAKELAND        FL    33805‐2217

REGAL PONTIAC, INC.                  SAL CAMPISI                       2615 LAKELAND HILLS BLVD                                       LAKELAND         FL   33805‐2217
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Name                                  Address1                        Address2                  Address3   Address4         City               State Zip
REGAL PROTOTYPE/STER                  6633 DIPLOMAT DR                                                                      STERLING HTS        MI 48314‐1423
REGAL PROTOTYPES INC                  6633 DIPLOMAT DR                                                                      STERLING HEIGHTS    MI 48314‐1423
REGAL PROTOTYPES INC                  49495 GRATIOT AVE                                                                     CHESTERFIELD        MI 48051‐2523
REGAL SERVICE                         PO BOX 509                                                                            NORTH EAST          PA 16428‐0509
REGAL STEEL CO                        2220 MORRISSEY AVE                                                                    WARREN              MI 48091‐3270
REGAL STEEL CO                        KEN OBREST                      2220 MORRISSEY AVE        0                           WARREN              MI 48091‐3270
REGAL STEEL/WARREN                    2220 MORRISSEY AVE                                                                    WARREN              MI 48091‐3270
REGAL TRANSPORTATION INC              1617 WARREN AVE                 P O BOX 310                                           NILES               OH 44446‐1170
REGAL YANEY                           403 M ST                                                                              BEDFORD             IN 47421‐1818
REGAL, ADELINE E                      955 LISBON ROAD                                                                       KENNERDELL          PA 16374‐2811
REGAL, ALFREDO R                      2143 BARRITT ST                                                                       LANSING             MI 48912‐3631
REGAL, JOHN A                         PO BOX 664                      196 NORTH CHURCH STREET                               GOSHEN              NY 10924‐0664
REGAL, JOSE R                         9441 SW 4TH ST APT 110                                                                MIAMI               FL 33174‐2018
REGALADO ANA                          1075 WEST SANDY BANKS                                                                 GILBERT             AZ 85233‐6752
REGALADO RICHARD D                    7405 WISTERIA WAY                                                                     BRIGHTON            MI 48116‐6283
REGALADO, ANTHONY L                   1143 GLENDALE AVE                                                                     ADRIAN              MI 49221‐1306
REGALADO, DEIDRA                      11259 LAKE CIRCLE DRIVE SOUTH                                                         SAGINAW             MI 48609‐9617
REGALADO, FAUSTO                      1212 S 19TH ST                                                                        MILWAUKEE           WI 53204‐2048
REGALADO, JOAQUIN R                   10718 S. GLIINDAY                                                                     CHICAGO              IL 60617
REGALADO, JOSE C                      1807 MONTIE ROAD                                                                      LINCOLN PARK        MI 48146‐1229
REGALADO, PEDRO D                     4214 DOUGLAS RD                                                                       TOLEDO              OH 43613‐3837
REGALADO, ROLAND A                    15801 S 76TH AVE APT 2A                                                               ORLAND PARK          IL 60462‐3010
REGALADO, THERESA A                   2704 ELSIE AVE                                                                        TOLEDO              OH 43613‐3336
REGALADO, TINGO J                     PO BOX 300                                                                            ARTESIA             CA 90702‐0300
REGALI INC                            13617 INWOOD RD STE 245                                                               DALLAS              TX 75244‐4640
REGALI PROMOTIONS                     518 N INTERURBAN STREET                                                               RICHARDSON          TX 75081
REGALI, FRANKLIN A                    31 SAND PEBBLE DR                                                                     ROCHESTER           NY 14624‐3627
REGALSKI, STELLA                      8267 LOCHDALE ST                                                                      DEARBORN HTS        MI 48127‐1234
REGALYN FENN                          117 ERIN CT                                                                           AUBURN              MI 48611‐9201
REGALYN I FENN                        117 ERIN CT                                                                           AUBURN              MI 48611‐9201
REGAN B TIRONE                        525 VINE ST STE 800                                                                   CINCINNATI          OH 45202‐3122
REGAN BRAND                           1420 MILBANK DR                                                                       FLORISSANT          MO 63031‐8320
REGAN CHRISTOPHER C                   4498 BROWN ROAD                                                                       METAMORA            MI 48455‐9228
REGAN MARY PAT                        2481 OREGON CITY BLVD                                                                 WEST LINN           OR 97068‐3411
REGAN PONTIAC BUICK GMC TRUCK, INC.   JOHN REGAN                      PO BOX 347                                            WOOD RIDGE          NJ 07075‐0347

REGAN PONTIAC‐BUICK‐GMC TRUCK, INC.   JOHN REGAN                      PO BOX 347                                            WOOD RIDGE          NJ   07075‐0347

REGAN PONTIAC‐BUICK‐GMC TRUCK, INC.   PO BOX 347                                                                            WOOD RIDGE          NJ   07075‐0347

REGAN PRODUCTIONS INC                 PO BOX 888                                                                            BLOOMFIELD         MI    48303‐0888
REGAN R SWINBURNSON                   5406 LINDEN RD                                                                        SWARTZ CREEK       MI    48473‐8275
REGAN SWINBURNSON                     5406 LINDEN RD                                                                        SWARTZ CREEK       MI    48473‐8275
REGAN, ANGELIQUE N                    324 CLOVERDALE PL                                                                     FLINT              MI    48503‐2345
REGAN, ANGELIQUE NOEL                 324 CLOVERDALE PL                                                                     FLINT              MI    48503‐2345
REGAN, ANN M                          5275 HARBURY LN                                                                       SUWANEE            GA    30024‐7543
REGAN, ARDATH A                       701 E MAPLE ST                                                                        HOLLY              MI    48442‐1727
REGAN, BENJAMIN                       1927 SUNNYSIDE AVE                                                                    LANSING            MI    48910‐3570
REGAN, BERNARD J                      207 JERSEY ST                                                                         WATERBURY          CT    06706‐2714
REGAN, CAROL S                        1384 ORANGE HILL LN                                                                   PENRYN             CA    95663
REGAN, CHARLES E                      7260 BEAR RIDGE RD                                                                    N TONAWANDA        NY    14120‐9586
REGAN, CHRISTOPHER                    4498 BROWN RD                                                                         METAMORA           MI    48455‐9228
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Name                        Address1                         Address2            Address3        Address4         City              State Zip
REGAN, DANIEL A             32971 EMBASSY AVE                                                                     TEMECULA           CA 92592
REGAN, DANIEL A             1711 BOARDWALK AVE.                                                                   PRESCOTT           AZ 86301‐5532
REGAN, DONALD J             4234 BRANDYWYNE DR                                                                    TROY               MI 48098‐4276
REGAN, DONNA T              41 STARDUST DR                                                                        NEWARK             DE 19702
REGAN, FRANCIS P            6300 OWOSSO RD                                                                        FOWLERVILLE        MI 48836‐8726
REGAN, GEORGE C             8631 EARHART RD                                                                       SOUTH LYON         MI 48178‐7015
REGAN, GEORGE J             8081 TEAHEN RD                                                                        BRIGHTON           MI 48116‐5213
REGAN, GERARD P             339 S WALNUT ST                                                                       BAY CITY           MI 48706‐4972
REGAN, GERARD PHILLIP       339 S WALNUT ST                                                                       BAY CITY           MI 48706‐4972
REGAN, GRACE M              53 LAWNWOOD DR                                                                        AMHERST            NY 14228‐1604
REGAN, JANET                6691 TIMRAU CIRCLE                                                                    CYPRESS            CA 90630‐5760
REGAN, JANET                6691 TIMARU CIR                                                                       CYPRESS            CA 90630‐5760
REGAN, JANICE K             4718 HARBORD DR                                                                       TOLEDO             OH 43623‐3933
REGAN, JEAN                 8631 EARHART RD                                                                       SO. LYON           MI 48178‐7015
REGAN, JEFFERY M            5699 LAURENWAY                                                                        PERRY              MI 48872‐8557
REGAN, JENNIFER W           855 BRIAN DR                                                                          MANTENO             IL 60950
REGAN, KAREN E              12075 JUNIPER WAY APT 812‐C                                                           GRAND BLANC        MI 48439
REGAN, KATHLEEN H           914 WALLACE RD                                                                        WEST MONROE        LA 71291‐7725
REGAN, KATHLEEN J           20 EDGELY PL                                                                          WILLINGBORO        NJ 08046‐2305
REGAN, KEITH A              660 TRELLIS POND CT                                                                   LAWRENCEVILLE      GA 30043‐5309
REGAN, KEVIN R              8 ENCLAVE DRIVE                                                                       WINTER HAVEN       FL 33884‐1326
REGAN, LARRY R              723 W 48TH ST                                                                         DAVENPORT           IA 52806‐4141
REGAN, LORRAINE A           5341 BEAR RD                                                                          N SYRACUSE         NY 13212‐1235
REGAN, MARY L               6840 S CORAL GABLE DR                                                                 CHANDLER           AZ 85249‐4388
REGAN, MARY L               6840 S. CORAL GABLES DR.                                                              CHANDLER           AZ 85249‐4388
REGAN, MICHAEL A            9033 N CLIO RD                                                                        CLIO               MI 48420‐8529
REGAN, MICHAEL A            7204 E GRAND RIVER AVE LOT 135                                                        PORTLAND           MI 48875‐8774
REGAN, MICHAEL D            295 CYPRESS LN                                                                        OLDSMAR            FL 34677‐2167
REGAN, MICHAEL J            7214 ANDREA CT                                                                        GRAND BLANC        MI 48439‐9655
REGAN, PETER J              310 POLK ST                                                                           BAY CITY           MI 48708‐8246
REGAN, ROBERT A             W784 LAKE VIEW CIR                                                                    BRODHEAD           WI 53520‐9613
REGAN, ROBERT D             15258 WOOD BEND RD                                                                    NORTHPORT          AL 35475‐4264
REGAN, SANDRA J             1106 S BEACON BLVD APT 2                                                              GRAND HAVEN        MI 49417‐2659
REGAN, TERESA L             10399 ALLEN RD                                                                        CLARKSTON          MI 48348‐1823
REGAN, THOMAS M             8657 W EATON HWY                                                                      GRAND LEDGE        MI 48837‐9312
REGAN, TIMOTHY H            555 BRUSH ST APT 1601                                                                 DETROIT            MI 48226
REGANIS AUTO CENTER         2006 E OVERLAND                                                                       SCOTTSBLUFF        NE 69361‐7724
REGANIS AUTO CENTER, INC.   TIMOTHY REGANIS                  2006 E OVERLAND                                      SCOTTSBLUFF        NE 69361‐7724
REGANIS MOTORS, INC.        TIMOTHY REGANIS                  435 E ILLINOIS ST                                    SIDNEY             NE 69162‐1705
REGANIS MOTORS, INC.        435 E ILLINOIS ST                                                                     SIDNEY             NE 69162‐1705
REGANIS, GEORGE T           4882 MALIBU DR                                                                        BLOOMFIELD         MI 48302‐2251
REGANIS, TIMOTHY G          1462 AMBASSADOR WAY                                                                   SALT LAKE CITY     UT 84108
REGAR, BILLY T              2567 S PENINSULA DR                                                                   DAYTONA BEACH      FL 32118‐5524
REGAS GEORGIA               46 BAYBROOK LN                                                                        OAK BROOK           IL 60523‐1639
REGASPI, PABLO              PO BOX 3822                                                                           PORTERVILLE        CA 93258‐3822
REGATUSO, BEVERLY D         2826 JONESBRIDGE ROAD                                                                 MT MORRIS          NY 14510‐9747
REGATUSO, BEVERLY D         2826 JONES BRIDGE RD                                                                  MOUNT MORRIS       NY 14510‐9747
REGAZZI, RONALD W           26159 E CHEROKEE DR                                                                   FLAT ROCK          MI 48134‐1763
REGDOS, PAUL H              89 DIMATTEO DR                                                                        NORTH TONAWANDA    NY 14120
REGEANIA RAMSEY             PO BOX 1502                                                                           MORGANTOWN         KY 42261‐1502
REGELE, JOHN A              24 DALESSANDRO AVE                                                                    DUDLEY             MA 01571‐1603
REGELLO, HARRY              923 ESSARY RD                                                                         TAZEWELL           TN 37879‐4414
                                       09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                   Address1                         Address2                       Address3                   Address4         City                State Zip
REGELLO, MARY J                        923 ESSARY RD                                                                                               TAZEWELL             TN 37879‐4414
REGELLO, MARY J                        923 ESSARY ROAD                                                                                             TAZWELL              TN 37879
REGEN SR, RICHARD S                    PO BOX 40102                                                                                                NASHVILLE            TN 37204‐0102
REGENA BRENNER                         3101 E KENDALL LN                                                                                           MUNCIE               IN 47303‐9290
REGENA SCHROEDER                       1249 SW CROSSING DR                                                                                         LEES SUMMIT          MO 64081‐3221
REGENA WOODS                           PO BOX 2656                                                                                                 ANDERSON             IN 46018‐2656
REGENAUER, DONALD C                    26034 COMPSON ST                                                                                            ROSEVILLE            MI 48066‐3111
REGENAUER, MARVIN G                    8258 S 34TH ST                                                                                              FRANKLIN             WI 53132‐8401
REGENCY BUILDING SERVICES              15061 SPRINGDALE ST STE 110                                                                                 HUNTINGTON BEACH     CA 92649‐1103
REGENCY CHEVROLET, BUICK, PONTIAC,     825 E MAIN ST                                                                                               UVALDE               TX 78801‐5720

REGENCY CHEVROLET, BUICK, PONTIAC, G   HOWARD LANGFORD                  825 E MAIN ST                                                              UVALDE               TX   78801‐5720

REGENCY CHEVROLET, BUICK, PONTIAC,     825 E MAIN ST                                                                                               UVALDE               TX   78801‐5720
GMC
REGENCY CHEVROLET, OLDSMOBILE, LTD.    HOWARD LANGFORD                  825 E MAIN ST                                                              UVALDE               TX   78801‐5720

REGENCY CONVERSIONS LLC                TERRI TELLER                     1717 S DORT HWY                                                            PARK CITY           KY 42160
REGENCY CONVERSIONS LLC                32505 INDUSTRIAL DR                                                                                         MADISON HTS         MI 48071‐5004
REGENCY CONVERSIONS, LLC               570 EXECUTIVE DR                                                                                            TROY                MI 48083‐4506
REGENCY CONVERSIONS, LLC
REGENCY FINANCIAL CORP                 PO BOX 5310                                                                                                 KANSAS CITY         MO    64131‐0310
REGENCY FIRE PROTECTION INC            6925 FARMDALE AVE                                                                                           NORTH HOLLYWOOD     CA    91605‐6211
REGENCY OUTDOOR                        MARK GIORDONO                    8820 W SUNSET BLVD                                                         WEST HOLLYWOOD      CA    90069‐2105
REGENCY PLASTICS                       KELLY BOOMSX403                  4147 N. UBLY RD.                                                           ATLANTA             GA    30336
REGENCY PONTIAC OLDSMOBILE ISUZU       1515 STATE ST                                                                                               SPRINGFIELD         MA    01109‐2536
REGENCY SHELL SERVICE CENTER           5943 S BROADWAY AVE                                                                                         TYLER               TX    75703‐4350
REGENCY SUNCOAST INC                   CITRUS OLDSMOBILE PONTIAC        PO BOX 4829                                                                HOMOSASSA SPRINGS   FL    34447‐4829
REGENCY SUNCOAST INC                   402 OFFICE PLZ STE B                                                                                        TALLAHASSEE         FL    32301‐8303
REGENCY TRANSPORTATION GROUP           1411 BEAVER AVE                  PUC#                                                                       PITTSBURGH          PA    15233‐2313
REGENCY VANS                           2800 GOLDEN TRIANGLE BLVD                                                                                   FORT WORTH          TX    76177‐7016
REGENCY VANS
REGENEITA NICHOLS‐LANGHAM              PO BOX 902019                                                                                               KANSAS CITY         MO    64190‐2019
REGENER, ROBERT W                      19420 LAMPLIGHTER TRL                                                                                       MACOMB              MI    48044‐2896
REGENFUSZ, KAREN L                     609 DOTTIE CT                                                                                               READING             OH    45215‐4938
REGENIA CANADA                         10660 DE HAVEN AVE                                                                                          PACOIMA             CA    91331‐2055
REGENIA FRAZIER                        115 BEECHWOOD AVE                                                                                           BROOKVILLE          OH    45309‐1303
REGENIA HARVEY‐REED                    9071 MILL CREEK RD APT 1005                                                                                 LEVITTOWN           PA    19054‐4220
REGENIA L HARVEY‐REED                  9071 MILL CREEK RD APT 1005                                                                                 LEVITTOWN           PA    19054‐4220
REGENOLD BROWN                         196 SUNDROP LN                                                                                              CROSSVILLE          TN    38571‐3673
REGENSCHEID LAURIE                     REGENSCHEID, MARK                5901 CEDAR LAKE RD S                                                       MINNEAPOLIS         MN    55416‐1488
REGENSCHEID LAURIE                     REGENSCHEID, LAURIE              HAUER FARGIONE & LOVE, MICHAEL 5901 SOUTH CEDAR LAKE RD                    MINNEAPOLIS         MN    55416
                                                                        FARGIONE, ATTY
REGENSCHEID, LAURIE                    HAUER FARGIONE & LOVE, MICHAEL   5901 CEDAR LAKE RD S                                                       MINNEAPOLIS         MN 55416‐1488
                                       FARGIONE, ATTY
REGENSCHEID, MARK                      HAUER FARGIONE & LOVE, MICHAEL   5901 CEDAR LAKE RD S                                                       MINNEAPOLIS         MN 55416‐1488
                                       FARGIONE, ATTY
REGENT BEGIN                           3806 UNION RD #275                                                                                          CHEEKTOWAGA         NY    14225
REGENT GARAGE CO.                      GARY WISEMAN                     110 MAIN AVE S                                                             REGENT              ND    58650
REGENT GARAGE CO.                      110 MAIN AVE S                                                                                              REGENT              ND    58650
REGENT INSURANCE COMPANY               EICHE & FRAKES                   2600 NORTH MAYFAIR RD                                                      MILWAUKEE           WI    53226
REGENT SALES CO INC                    1622 E ALGONQUIN RD STE J                                                                                   SCHAUMBURG          IL    60173‐4156
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Name                                  Address1                              Address2                         Address3                    Address4                City             State Zip
REGENT UNIVERSITY                     1000 REGENT UNIVERSITY DR                                                                                                  VIRGINIA BEACH    VA 23464‐5037
REGENT, BARBARA A                     4040 W SQUIRE AVE                                                                                                          GREENFIELD        WI 53221‐2512
REGENTIN, SUSAN P                     775 HOGARTH AVE                                                                                                            WATERFORD         MI 48328‐4130
REGENTIN, WILLIAM S                   775 HOGARTH AVE                                                                                                            WATERFORD         MI 48328‐4130
REGENTIN, WILLIAM SCOTT               775 HOGARTH AVE                                                                                                            WATERFORD         MI 48328‐4130
REGENTS COLLEGE                       ATTN BUSINESS OFFICE                  7 COLUMBIA CIR                                                                       ALBANY            NY 12203‐5156
REGENTS OF THE U OF                   PO BOX 360734                                                                                                              PITTSBURGH        PA 15250‐6734
REGENTS OF THE UNIVERSITY OF C        336 SPROUL HALL                                                                                                            BERKELEY          CA 94720‐5901
REGENTS OF THE UNIVERSITY OF CALIFO   336 SPROUL HALL                                                                                                            BERKELEY          CA 94720‐5901

REGENTS OF THE UNIVERSITY OF CALIFO   405 HILGARD AVE                                                                                                            LOS ANGELES      CA 90095‐9000

REGENTS OF THE UNIVERSITY OF          ATTN ACCOUNTING SERVICES EFA          481 UNIVERSITY HALL                                                                  BERKELEY         CA 94720‐1103
CALIFORNIA
REGENTS OF THE UNIVERSITY OF          1 SHIELDS AVE                         UNIVERSITY OF CALIFORNIA DAVIS                                                       DAVIS            CA 95616‐5270
CALIFORNIA
REGENTS OF THE UNIVERSITY OF          SAASB BUILDING RM 1212                                                                                                     SANTA BARBARA    CA 93106‐2003
CALIFORNIA CASHIERS OFFICE
REGENTS OF THE UNIVERSITY OF          LORIN HUMPHRIES                       UNIVERSITY OF CALIFORNIA                                                             IRVINE           CA 72697
CALIFORNIA, IRVINE CAMPUS
REGENTS OF THE UNIVERSITY OF          HAN DINH                              8403 LEE HWY                                                                         MERRIFIELD       VA 22082‐8101
CALIFORNIA, IRVINE CAMPUS
REGENTS OF THE UNIVERSITY OF M I      PO BOX 223131                                                                                                              PITTSBURGH       PA 15251‐2131
REGENTS OF THE UNIVERSITY OF          1320 BEAL AVE                         MICHELLE SHEPHERD AEROSPACE E                                                        ANN ARBOR        MI 48109‐2140
MICHIGAN
REGENTS OF THE UNIVERSITY OF          ATTN S JACK HU                        DEPT OF MECHANICAL ENGRG         2250 GG BROWN UNVSTY OF                             ANN ARBOR        MI 48109
MICHIGAN                                                                                                     MI
REGENTS OF THE UNIVERSITY OF          3003 S STATE ST                                                                                                            ANN ARBOR        MI 48109‐1271
MICHIGAN
REGENTS OF THE UNIVERSITY OF                                                                                                                                     ANN ARBOR        MI 48109
MICHIGAN
REGENTS OF THE UNIVERSITY OF          NOT AVAILABLE                                                                                                              ANN ARBOR        MI 48109
MICHIGAN
REGENTS OF THE UNIVERSITY OF          ON BEHALF OF UNIVERSITY OF MICHIGAN   WILLIAM C. MARTIN, DIRECTOR OF   TIMOTHY P. SLOTTOW ‐        1000 S STATE ST         ANN ARBOR        MI 48109‐2201
MICHIGAN (CONSTITUTIONAL CORP)        ATHLETIC DEPARTMENT                   ATHLETICS                        EXECUTIVE VICE PRESIDENT
                                                                                                             AND CFO
REGENTS OF THE UNIVERSITY OF          ON BEHALF OF UNIVERSITY OF MICHIGAN   ON BEHALF OF UNIVERSITY OF       WILLIAM C. MARTIN,          TIMOTHY P. SLOTTOW ‐     ANN ARBOR       MI 48109‐2201
MICHIGAN (CONSTITUTIONAL CORP)        ATHLETIC DEPARTMENT                   MICHIGAN ATHLETIC DEPARTMENT     DIRECTOR OF ATHLETICS       EXECUTIVE VICE PRESIDENT
                                                                                                                                         AND CFO, 1000 S STATE ST
REGENTS OF THE UNIVERSITY OF          1009 GREENE ST                        3028 ADMINISTRATIVE SVCS BLDG                                                         ANN ARBOR       MI 48109‐1432
MICHIGAN THE
REGENTS OF U C                        UNIVERSITY EXTENSION DEPT K           PO BOX 24901                                                                         LOS ANGELES      CA   90024‐0901
REGENTS OF U OF M UM                  PO BOX 77000                                                                                                               DETROIT          MI   48277‐2000
REGENTS OF U OF MICHIGAN              DEPT OF MECHANICAL ENGINEERING        2250 GG BROWN                                                                        ANN ARBOR        MI   48109
REGENTS OF UNIV OF CALIFORNIA         ATTN PROF RON GRONSKY                 DEPT OF MATLS SCI & ENG          HEARST MINING BLDG RM 218                           BERKELEY         CA   94720‐1760

REGENTS OF UNIVERSITY OF CALIFORNIA   COLLEGE OF ENGINEERING MC1750         UNIVERSITY OF CARLIFORNIA                                                            BERKELEY         CA 94720‐1750

REGENTS OF UNIVERSITY OF CALIFORNIA   ATTN MAERIAN R MORRIS                 105‐A GILMAN HALL                                                                    BERKELEY         CA 94720‐1462

REGENTS UC                            UNIV OF CALIFORNIA RIVERSIDE          STUDENT BUSINESS SERVICES OFFC                                                       RIVERSIDE        CA 92521‐0001
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Name                                 Address1                       Address2                       Address3   Address4         City             State Zip
REGER MANUFACTURING CO               31375 FRASER DR                                                                           FRASER            MI 48026‐2552
REGER MFG CO                         31375 FRASER DR                                                                           FRASER            MI 48026‐2552
REGER RIZZO & DARNALL LLP            RE: HAYDEN S MILLER            DARLINGTON COMMONS, 158 WEST SUITE 210                     WEST CHESTER      PA 19382
                                                                    GAY STREET
REGER, BETTY                         3601 ST. CHARLES                                                                          ANDERSON         IN   46013‐5385
REGER, BETTY                         1106 FLATROCK DR                                                                          ANDERSON         IN   46013‐3793
REGER, DAVID R                       263 N RACEWAY RD                                                                          INDIANAPOLIS     IN   46234‐9603
REGER, DEANNA D                      1003 LANCASHIRE LN                                                                        PENDLETON        IN   46064‐9127
REGER, DORTHA R                      RR 1 BOX 113                                                                              WILKINSON        IN   46186
REGER, FLORENCE J                    735 SHEPARD                                                                               INDIANAPOLIS     IN   46221
REGER, FLORENCE J                    735 SHEPARD ST                                                                            INDIANAPOLIS     IN   46221‐1155
REGER, HELEN S                       240 N MANIFOLD ST                                                                         INGALLS          IN   46048‐9731
REGER, HELEN S                       240 MANIFOLD ST                                                                           INGALLS          IN   46048‐9731
REGER, JUDY A                        44684 NEWSOM RD                                                                           VINTON           OH   45686‐8522
REGER, KENNETH D                     44684 NEWSOM RD                                                                           VINTON           OH   45686‐8522
REGER, KENNETH L                     1244 MUSKINGUM DR                                                                         WATERFORD        MI   48327‐3335
REGER, MALCOLM R                     2713 W DESHONG DR                                                                         PENDLETON        IN   46064‐9529
REGER, MARY                          5086 FINLAY DR                                                                            FLINT            MI   48506
REGER, MARY                          5103 DUFFIELD RD                                                                          FLUSHING         MI   48433‐9711
REGER, MONTY K                       1003 LANCASHIRE LN                                                                        PENDLETON        IN   46064‐9127
REGER, ROY E                         593 W US HIGHWAY 36                                                                       PENDLETON        IN   46064‐8903
REGER, SIDNEY J                      4616 S STATE ROAD 9                                                                       GREENFIELD       IN   46140‐9253
REGER, WM. H                         P O BOX 635                                                                               XENIA            OH   45385‐0635
REGESKI, SARA F                      15207 N CATALPA PL                                                                        FOUNTAIN HLS     AZ   85268‐2232
REGESTEIN JOSEPH                     1420 WESTVIEW DR                                                                          STERLING         CO   80751‐4441
REGESTER CHEVROLET, INC.             10 E MAIN ST                                                                              THOMPSONTOWN     PA   17094
REGESTER CHEVROLET, INC.             JOHN REGESTER                  10 E MAIN ST                                               THOMPSONTOWN     PA   17094
REGESTER JR, ROBERT D                1964 PINE RUN                                                                             MULBERRY         FL   33860‐8674
REGESTER, GEORGE E                   1208 BLUEBERRY HILL DR                                                                    BRUNSWICK        OH   44212‐2522
REGESTER, ISABELLE T                 15666 49TH ST N LOT 1086                                                                  CLEARWATER       FL   33762‐3578
REGESTER, JERAULD D                  3056 UPPER MOUNTAIN RD                                                                    SANBORN          NY   14132‐9429
REGETS, WILLIAM C                    9236 LAKE DR                                                                              REED CITY        MI   49677‐8539
REGETTA BRADFORD                     1114 N PARK DR                                                                            TEMPERANCE       MI   48182‐9301
REGFORM                              PO BOX 205                                                                                JEFFERSON CITY   MO   65102‐0205
REGG HASKINS                         3183 N LAKEVIEW DR                                                                        SANFORD          MI   48657‐9137
REGGI & STEPHANIE
REGGIE A CLOUD                       39 MOCKINGBIRD LN.                                                                        HAZARD           KY   41701‐6382
REGGIE C CARTER                      PO BOX 398                                                                                PRINCETON        LA   71067‐0398
REGGIE CARTER                        PO BOX 398                                                                                PRINCETON        LA   71067‐0398
REGGIE CLOUD                         39 MOCKINGBIRD LN                                                                         HAZARD           KY   41701‐6382
REGGIE E TAYLOR                      1723 LAKE LINCOLN DR NE                                                                   BROOKHAVEN       MS   39601
REGGIE FENNELL'S GARAGE              3205 ROME HWY                                                                             ARAGON           GA   30104‐2405
REGGIE GOLDMAN                       6107 WILDROSE LN                                                                          BURTCHVILLE      MI   48059‐4313
REGGIE GORDON                        2906 KIMBERLIN RD                                                                         GLENNIE          MI   48737‐9728
REGGIE HAMILTON                      2304 NE 74TH ST                                                                           GLADSTONE        MO   64118‐2373
REGGIE HAMMOND                       PO BOX 453                                                                                STATHAM          GA   30666‐0009
REGGIE MARTIN                        13797 S 500 W                                                                             KOKOMO           IN   46901‐7784
REGGIE MCKENZIE INDUSTRIAL MAT       PO BOX 1186                    34401 SCHOOLCRAFT RD STE 200                               JACKSON          MI   49204‐1186
REGGIE MCKENZIE INDUSTRIAL MATERIALS 34401 SCHOOLCRAFT RD STE 200                                                              LIVONIA          MI   48150
INC
REGGIE NAPIER                        3200 E EISENHOWER PKWY                                                                    ANN ARBOR        MI 48108‐3231
REGGIE NORTON                        3297 E FISHER RD                                                                          BAY CITY         MI 48706‐3225
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Name                                 Address1                              Address2                Address3   Address4               City                  State Zip
REGGIE PFEIFER                       187 TIMMERMAN RD                                                                                MANSFIELD              OH 44903‐8977
REGGIE PIKE                          PO BOX 231                                                                                      NEWBURGH               IN 47629‐0231
REGGIE SHELTON                       1064 E JUDD RD                                                                                  BURTON                 MI 48529‐1919
REGGIE SMITH                         4427 ROANOKE BLVD                                                                               JACKSONVILLE           FL 32208‐1124
REGGIE SMITH                         6233 W 50 S                                                                                     LEBANON                IN 46052‐8965
REGGIE TAYLOR                        1723 LAKE LINCOLN DR NE                                                                         BROOKHAVEN             MS 39601‐8141
REGGIE WALL                          135 SUNDAY DR                                                                                   TURLOCK                CA 95382‐9611
REGGIE, JASPER J                     27 ARLINGTON RD                                                                                 FORTY FORT             PA 18704‐4208
REGGIST THIBERT                      4883 LAKESIDE BLVD                    C/O DORENE DILLINGHAM                                     HALE                   MI 48739‐8400
REGHETTI DOROTHY                     527 CENTER ST E                                                                                 WARREN                 OH 44481‐9352
REGHETTI, ELLEN F                    119 RUTH AVE                                                                                    CORTLAND               OH 44410‐1342
REGHETTI, RAYMOND R                  312 OLD OAK DR                                                                                  CORTLAND               OH 44410‐1124
REGHUNATHAN, PANCHANATH A            29675 TRIUNFO DR                                                                                AGOURA                 CA 91301‐3006
REGIAN, ROBERT J                     1275 LOSSON RD                                                                                  CHEEKTOWAGA            NY 14227‐2623
REGIE NATIONALE DES USINES RENAULT   SAARBRUCKEN 3, MAINZER STRASSE 274,                                      GERMANY
                                     GERMANY
REGIE NATIONALE DES USINES RENAULT   8/10 AVE. EMILE ZOLA                                                     BOULOGNE BILLANCOURT
                                                                                                              92100 FRANCE
REGIEC, MICHAEL A                    1238 NICKLAUS DR                                                                                TROY                  MI   48085‐3367
REGIEC, MICHAEL D                    8123 CARIBOU LAKE LN                                                                            CLARKSTON             MI   48346‐1984
REGIER, ERWIN W                      5112 BUSCH AVE                                                                                  WARREN                MI   48091‐1286
REGIMBAL, JOSEPH A                   3238 REID RD                                                                                    SWARTZ CREEK          MI   48473‐8813
REGIMBAL, JOSEPH AIME                3238 REID RD                                                                                    SWARTZ CREEK          MI   48473‐8813
REGIMBAL, THOMAS W                   7317 LINDEN RD                                                                                  SWARTZ CREEK          MI   48473‐9456
REGINA A ADKINS                      4037 BEATTY DRIVE                                                                               DAYTON                OH   45416‐2205
REGINA A CRICKMORE                   6607 MORROW DR                                                                                  DAYTON                OH   45415
REGINA A FROST                       1565 NORTH EUCLID AVENUE                                                                        DAYTON                OH   45406‐5922
REGINA A GIBSON                      1207 E CASS AVE                                                                                 FLINT                 MI   48505‐1640
REGINA A KINDLE                      5465 CHIMNEY CIRCLE APT 1‐A                                                                     KETTERING             OH   45440‐2968
REGINA A MARTIN                      211 W 5TH ST                                                                                    TILTON                IL   61833‐7429
REGINA A MIDDLEBROOKS                55 GRANTOUR CT                                                                                  PONTIAC               MI   48340‐1426
REGINA A MYERS                       5450 HAVERFIELD RD                                                                              DAYTON                OH   45432
REGINA A WILLIAMS                    7005 TAMARACK CT                                                                                CLAYTON               OH   45315‐7900
REGINA ADAMS                         3820 PARK FOREST DR                                                                             FLINT                 MI   48507‐2257
REGINA ADAMS                         528 S QUEEN ANNE DR                                                                             FAIRLESS HLS          PA   19030‐3507
REGINA ALLEGRO                       62 MEADOWBROOK AVE                                                                              GREENSBURG            PA   15601‐1759
REGINA AYENDE                        14328 MERRIMAN RD                                                                               LIVONIA               MI   48154‐4265
REGINA BAKER                         3521 WINONA ST                                                                                  FLINT                 MI   48504‐3720
REGINA BAKER                         2687 LANTZ RD                                                                                   BEAVERCREEK           OH   45434‐6654
REGINA BALLOR                        1474 DENTON CREEK RD                                                                            BEAVERTON             MI   48612‐8747
REGINA BALNDSORD                     21 MILLS CART                                                                                   SALEM                 IL   62881
REGINA BARLOW                        5073 GLENIS ST                                                                                  DEARBORN HTS          MI   48125‐1316
REGINA BARNES                        4121 TOD AVE NW                                                                                 WARREN                OH   44485‐1258
REGINA BARNES                        75 HAMILTON ST                                                                                  SWARTZ CREEK          MI   48473‐1177
REGINA BASKIN                        26650 PARKINGTON ST                                                                             ROSEVILLE             MI   48066‐3363
REGINA BATTERY DEPOT                 980 DEWDNEY AVE                                                          REGINA SK S4N 0G8
                                                                                                              CANADA
REGINA BECHTEL                       8541 STANFORD N APT A                                                                           WASHINGTON TOWNSHIP   MI 48094‐2259
REGINA BERTRAM                       ZIEGELEIWEG 39                                                           D‐40591 D▄SSELDORF
                                                                                                              GERMANY
REGINA BIELICKI                      12509 MILLION DOLLAR HWY                                                                        MEDINA                NY 14103‐9222
REGINA BILLS                         637 ESME DR                                                                                     GIRARD                OH 44420‐2447
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Name                  Address1                        Address2            Address3         Address4         City               State Zip
REGINA BLAIR          249 S HEINCKE RD                                                                      MIAMISBURG          OH 45342‐3558
REGINA BLOND          5339 CLOVER LN                                                                        TOLEDO              OH 43623‐2239
REGINA BOLIN          45 OAKS DR                                                                            SPRINGBORO          OH 45066
REGINA BOSAK          1413 HARVARD DR                                                                       BRUNSWICK           OH 44212‐3518
REGINA BOYD           400 EVERGREEN DR                                                                      EATON               OH 45320
REGINA BREMAN         675 SEWARD ST APT 210                                                                 DETROIT             MI 48202‐2442
REGINA BRIGHT         9 WILLHELEN CT                                                                        BEAR                DE 19701‐4818
REGINA BROUILLET      9218 DAYTON PIKE LOT 205                                                              SODDY DAISY         TN 37379‐4870
REGINA BROWN          14600 COYLE ST                                                                        DETROIT             MI 48227‐2587
REGINA BROWN          18695 MOUNT ELLIOTT ST                                                                DETROIT             MI 48234‐2707
REGINA BURKETT        1608 GOLDEN SPRINGS ROAD                                                              ANNISTON            AL 36201
REGINA BURYA          870 E 232ND ST                                                                        EUCLID              OH 44123‐2555
REGINA BYERS          23301 MYSTIC FOREST DR                                                                NOVI                MI 48375‐4014
REGINA CARDINAL       41527 HAMLIN ST                                                                       BELLEVILLE          MI 48111‐1465
REGINA CARROLL        3315 MALLERY ST                                                                       FLINT               MI 48504‐2929
REGINA CARTO          8181 DORCHESTER CT                                                                    GRAND BLANC         MI 48439‐8071
REGINA CARTWRIGHT     2620 EMMONS AVE                                                                       ROCHESTER HILLS     MI 48307‐4716
REGINA CHURCH         17015 BETHEL CHURCH RD                                                                MANCHESTER          MI 48158‐9522
REGINA CLARK          4920 MARINEWAY DR                                                                     FORT WORTH          TX 76135‐1800
REGINA COBURN         7780 PROVIDENCE POINT WAY                                                             LITHONIA            GA 30058‐5176
REGINA COLEMAN        15620 RIVERSIDE DR W APT 7A                                                           NEW YORK            NY 10032‐7017
REGINA COMTOIS        2208 E EMERALD RIVER CIR                                                              FORT MOHAVE         AZ 86426‐6613
REGINA COON           829 S PARK ST APT 12                                                                  BOYNE CITY          MI 49712‐1562
REGINA CULVER         5160 FOUNDRY HILL RD                                                                  PURYEAR             TN 38251‐3922
REGINA CZARNECKI      2801 E FOREST HILL AVE                                                                OAK CREEK           WI 53154‐3412
REGINA D GARVER       PO BOX 489                                                                            NORTH JACKSON       OH 44451‐0489
REGINA D GUERRA       1624 STILLWAGON RD                                                                    NILES               OH 44446
REGINA D LEWIS        666 W BETHUNE ST APT 310                                                              DETROIT             MI 48202‐2742
REGINA D PAYNE        2035 DIVISION ST                                                                      SAGINAW             MI 48602‐1908
REGINA D STONE        3600 HOOVER AVE                                                                       DAYTON              OH 45407‐1229
REGINA D VAFIDES      401 CARPHILLY COURT                                                                   BRENTWOOD           TN 37027
REGINA DABROWSKI      38822 BRONSON DR                                                                      STERLING HEIGHTS    MI 48310‐2814
REGINA DANYLUK        6794 GRENVILLE RD                                                                     TEMPERANCE          MI 48182‐1272
REGINA DAVIES         855 OAKWOOD DR                                                                        ELYRIA              OH 44035‐3229
REGINA DAVIS          336 LAKE SUZANNE DRIVE                                                                LAKE WALES          FL 33859‐5104
REGINA DAVIS          2456 S LIDDESDALE ST                                                                  DETROIT             MI 48217‐1150
REGINA DAVIS‐FIELDS   4102 LOUIS DR                                                                         FLINT               MI 48507‐1208
REGINA DEMUDD         4226 FEINER DR                                                                        CLEVELAND           OH 44122‐6836
REGINA DEROSSETT      355 LOUIS WADDLE RD                                                                   SCIENCE HILL        KY 42553‐7236
REGINA DEUEL          2635 2ND AVE APT 623                                                                  SAN DIEGO           CA 92103‐6564
REGINA DICKSON        8806 ROBINDALE                                                                        REDFORD             MI 48239‐1545
REGINA DIX            246 WINONA ST                                                                         HIGHLAND PARK       MI 48203‐3340
REGINA DOROW          3226 CHAMBERLAIN CIR                                                                  ANN ARBOR           MI 48103‐8866
REGINA DULEY          12612 HAZELTON ST                                                                     DETROIT             MI 48223‐3039
REGINA DUOBA          888 RUFFNER AVE                                                                       BIRMINGHAM          MI 48009‐1772
REGINA E RAWLINS      6800 JACKSON AVE                                                                      WARREN              MI 48091‐4810
REGINA EARLY          8622 SHADOW RIDGE LN APT B                                                            INDIANAPOLIS        IN 46239‐8545
REGINA ELIZALDE       1301 HATHERSAGE PL                                                                    GALLOWAY            OH 43119‐9271
REGINA F JANODOWSKI   793 KINGFISHER RD                                                                     LEANDER             TX 78641
REGINA F PETERS       1757 FULS RD                                                                          NEW LEBANON         OH 45345
REGINA F. SHAWLER     203 S HIGH ST                                                                         ARCANUM             OH 45304
REGINA FERRAIUOLO     8103 HYANNIS CT                                                                       CANTON              MI 48187‐8208
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Name                        Address1                          Address2                    Address3                   Address4               City               State Zip
REGINA FITZPATRICK          8015 BELMONT CT                                                                                                 NAPLES              FL 34113‐2671
REGINA FOX                  9103 N UNION ST LOT 116                                                                                         TECUMSEH            MI 49286‐1071
REGINA FRAUNHOLZ‐ZECHMANN   LANGHEINRICHSTR 6                                                                        D‐94051 HAUZENBERG
                                                                                                                     GERMANY
REGINA FRAUNHOLZ‐ZECHMANN   LANGHEINRICHSTR. 6                D‐94051 HAUZENBERG                                     TEL. 00498586‐917914
REGINA FRECHEN              108 S LANSING ST                                                                                                SAINT JOHNS        MI   48879‐1731
REGINA FREDERICK            6260 COUNTY ROAD 205                                                                                            BELLEVUE           OH   44811‐9451
REGINA G SIMPKINS           RT 3 ELM ST                                                                                                     RACINE             OH   45771
REGINA GARBACZ              11522 CARY RD                                                                                                   ALDEN              NY   14004‐9549
REGINA GARRETT              PO BOX 26404                                                                                                    TROTWOOD           OH   45426‐0404
REGINA GARVER               PO BOX 489                                                                                                      NORTH JACKSON      OH   44451‐0489
REGINA GOONTZ               434 IOWA AVE                                                                                                    GIRARD             OH   44420‐3059
REGINA GRIGGS               14450 GRANDVILLE AVE                                                                                            DETROIT            MI   48223‐2960
REGINA GUERRA               1624 STILLWAGON RD                                                                                              NILES              OH   44446‐4435
REGINA GUNTNER              2525 POT SPRING RD UNIT S530                                                                                    TIMONIUM           MD   21093‐3090
REGINA H HOPKO              1454 MAZDA AVE NE                                                                                               WARREN             OH   44483‐3966
REGINA HADROSEK             9 CAPSTONE CT                                                                                                   SIMPSONVILLE       SC   29681‐5362
REGINA HAFLEY               320 LAURA ST                                                                                                    FARMINGTON         MO   63640‐2314
REGINA HALL                 15930 HACKETT ST                                                                                                DETROIT            MI   48227‐1811
REGINA HARDISON             821 FAIRVIEW DR                                                                                                 COLUMBIA           TN   38401‐3419
REGINA HATFIELD             3720 BROWN RD                                                                                                   SAINT LOUIS        MO   63114‐4140
REGINA HEIDA                3284 SENECA ST APT 5                                                                                            WEST SENECA        NY   14224‐4911
REGINA HELLMAN              REGINA HELLMAN, JACK HELLMAN &    THE HELLMAN FAMILY TR DTD   265 CABRINI BLVD                                  NEW YORK           NY   10040‐3603
                            ELAINE ROCKOFF TTEES              10/09/96
REGINA HELLMANN             11353 N MASSACHUSETTS AVE                                                                                       ALEXANDRIA         IN   46001‐8142
REGINA HELZER               204 N LESTER ST                                                                                                 CAPAC              MI   48014‐3136
REGINA HIGHTOWER            PO BOX 11184                                                                                                    KILLEEN            TX   76547‐1184
REGINA HILL                 5022 FOREST SIDE DR                                                                                             FLINT              MI   48532‐2326
REGINA HILL                 24967 WOODVIEW CT APT 208                                                                                       FARMINGTON HILLS   MI   48335‐2490
REGINA HIMMELSPACH          47670 KATHY CT                                                                                                  SHELBY TWP         MI   48315‐4653
REGINA HIXON                100 WHITE HAMPTON LN APT 409                                                                                    PITTSBURGH         PA   15236‐1565
REGINA HOPKO                1454 MAZDA AVE NE                                                                                               WARREN             OH   44483‐3966
REGINA HORNER               5562 CASTLETON DR                                                                                               WEST BLOOMFIELD    MI   48322‐4017
REGINA HOWCHIN              2100 KINGS HWY LOT 586                                                                                          PORT CHARLOTTE     FL   33980‐4268
REGINA HUDSON               2419 DRUMMOND RD                                                                                                TOLEDO             OH   43606‐3128
REGINA HUGHEY               PO BOX 325                                                                                                      GRAND MARAIS       MI   49839‐0325
REGINA HUNZER               430 W CAIRNS ST APT D                                                                                           ELLSWORTH          WI   54011‐4733
REGINA J ADAMS              3820 PARK FOREST DR                                                                                             FLINT              MI   48507‐2257
REGINA J ADAMS              LOCAL 2177                        PO BOX 409                                                                    BENSALEM           PA   19020‐0409
REGINA J MARTIN             29 A ST.                                                                                                        NEW LEBANON        OH   45345
REGINA J NELSON             48493 MARWOOD DR                                                                                                CHESTERFIELD       MI   48051‐2655
REGINA JACKSON              3801 N MERIDIAN ST APT 308                                                                                      INDIANAPOLIS       IN   46208‐4027
REGINA JACOBSON             10631 W EDGEWOOD DR                                                                                             SUN CITY           AZ   85351‐1613
REGINA JAKOBY‐RAJDA         WILLI‐BLEICHER‐STRASSE 21                                                                73230 KIRCHHEIM/TECK
                                                                                                                     GERMANY
REGINA JAKOBY‐RAJDA         WILLI‐BLEICHER‐STRASSE 21         73230 KIRCHHEIM/TECK
REGINA JENKINSON            332 GLENDALE CT                                                                                                 ROCHESTER          MI   48307‐1106
REGINA JOHNSON              1120 BEN HILL BLVD                                                                                              NOLENSVILLE        TN   37135‐8450
REGINA JONES                2717 JONATHAN LN                                                                                                SHREVEPORT         LA   71108‐5529
REGINA JOST                 4909 NW GATEWAY AVE APT 11                                                                                      RIVERSIDE          MO   64150‐3620
REGINA K GUBEN TRUST        C/O REGINA K GUBEN TTEE           U/A/D 10/4/1991             1111 CRANDON BLVD #C1207                          KEY BISCAYNE       FL   33149
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Name                      Address1                       Address2            Address3                   Address4               City                 State Zip
REGINA K MCCULLOUGH       P O BOX 768                                                                                          CENTRE                AL 35960
REGINA KABABIK DATTE      30044 KINGSWAY DR                                                                                    FARMINGTON HILLS      MI 48331‐1708
REGINA KEHR               822 CEDAR AVE                                                                                        NIAGARA FALLS         NY 14301‐1136
REGINA KING               205 SCOTT CT                                                                                         GREER                 SC 29651‐5255
REGINA KING               3155 DELAWARE AVE                                                                                    FLINT                 MI 48506‐3066
REGINA KNUCKLES           1221 RIVER OAKS DR                                                                                   FLINT                 MI 48532‐2830
REGINA KONSTANTYNOWICZ    3625 W 58TH PL                                                                                       CHICAGO                IL 60629‐3901
REGINA KOPAH              13410 DARRYL DR                                                                                      WARREN                MI 48088‐1394
REGINA KOSZALKA           4851 MIDDLESEX ST                                                                                    DEARBORN              MI 48126‐5015
REGINA KOVALICK           200 VAN HORNE RD APT 209                                                                             WHITEHOUSE STATION    NJ 08889‐3272
REGINA KRAMER             PESTALOZZIWEG 2D                                                              39164 WANZLEBEN
                                                                                                        GERMANY
REGINA KRAMER             PESTALOZZIWEG 2 D              39164 WANZLEBEN     TELEPHONE 0049 392093040   EMAIL
                                                                                                        ADDRESS:SUHWANZLEBEN
                                                                                                        @T‐ONLINE.DE
REGINA KUKULKA            4786 MOHAWK TRL                                                                                      GLADWIN              MI   48624‐9296
REGINA KWIECINSKI         11 HUNTERS WOODS BLVD # C                                                                            CANFIELD             OH   44406‐8764
REGINA KWIECINSKI         11 C HUNTERS WOODS BLVD                                                                              CANFIELD             OH   44406
REGINA L BAKER            2687 LANTZ ROAD                                                                                      BEAVERCREEK          OH   45434‐6654
REGINA L CROSS            5598 DESOTO ST                                                                                       DAYTON               OH   45426
REGINA L HIGHTOWER        PO BOX 11184                                                                                         KILLEEN              TX   76547‐1184
REGINA L JACKSON          3801 N MERIDIAN ST APT 308                                                                           INDIANAPOLIS         IN   46208
REGINA L KING             380 ELVINA ST                                                                                        LEAVITTSBURG         OH   44430‐9718
REGINA L LEAVY            313 PLUCK RD APT 4                                                                                   BELZONI              MS   39038
REGINA L PEARSON          4212 FIR ST                                                                                          CLARKSTON            MI   48348‐1423
REGINA L PENNINGTON       4990 5TH AVE EXT.                                                                                    YOUNGSTOWN           OH   44505
REGINA L RIKE             7667 VERONA RD                                                                                       LEWISBURG            OH   45338‐8715
REGINA L RYBERG GUNTHER   1237 PHEASANT CT                                                                                     LIBERTY              MO   64068
REGINA L WHITSEL          4676 CROFTSHIRE                                                                                      KETTERING            OH   45440‐1705
REGINA LAMB               332 EDGEWOOD ST                                                                                      PARIS                TN   38242‐4137
REGINA LANGE              KOPERNIKUSSTRASSE 16A                                                         01979 LAUCHHAMMER
                                                                                                        GERMANY
REGINA LAYPOOLE           1067 MCKINLEY ST                                                                                     FREMONT              OH 43420‐1822
REGINA LEMKE WOLF         RUPERTISTRASSE 74                                                             22609 HAMBURG
                                                                                                        GERMANY
REGINA LOZINSKI           125 COLLINS RD                                                                                       BRISTOL              CT   06010‐3864
REGINA M DANIEL           2385 HOLLAND ST                                                                                      LAKE ORION           MI   48360‐2278
REGINA M FRIERSON         401 W. NORMAN AVE                                                                                    DAYTON               OH   45406
REGINA M GARRETT          P O BOX 26404                                                                                        TROTWOOD             OH   45426
REGINA M GOONTZ           434 IOWA AVE                                                                                         GIRARD               OH   44420‐3059
REGINA M KING             507 PLYMOUTH AVE                                                                                     SYRACUSE             NY   13211‐1242
REGINA M KURTZ            518 BOSTON RD                                                                                        SYRACUSE             NY   13211‐1213
REGINA M MISYIAK          3086 VINEYARD LN                                                                                     FLUSHING             MI   48433‐2436
REGINA M STAMPER          801 MARTHA DR                                                                                        FRANKLIN             OH   45005
REGINA M TAYLOR           2437 WALDEN HOLLOW ROAD                                                                              ATTALLA              AL   35954
REGINA M TREVINO          6445 WALDON RD                                                                                       CLARKSTON            MI   48346‐2468
REGINA M WILLIAMS         6176 NATCHEZ DR                                                                                      MOUNT MORRIS         MI   48458‐2769
REGINA M WOOD             211 E MOLLOY RD APT 203                                                                              SYRACUSE             NY   13211‐1667
REGINA M. PALMER          25 FER DON RD.                                                                                       DAYTON               OH   45405‐5132
REGINA MADDEN             2943 MARTINSVILLE RD B                                                                               MARTINSVILLE         OH   45146
REGINA MANLEY             1884 ATHENS RD                                                                                       ROYSTON              GA   30662‐3212
REGINA MARKAKIS           5620 DEMPSEY PL                                                                                      SANTA ROSA           CA   95403‐8061
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Name                             Address1                         Address2               Address3     Address4              City                State Zip
REGINA MARSHALL                  621 W PARKWAY AVE                                                                          FLINT                MI 48505‐2672
REGINA MARTIN                    11600 BAKER RD                                                                             JEROME               MI 49249‐8500
REGINA MATOUQ                    17102 LOUISE CT                                                                            DAVISBURG            MI 48350‐3908
REGINA MC CABE                   33B CAMBRIDGE CIR                                                                          MANCHESTER           NJ 08759‐7149
REGINA MCMULLEN‐ROGERS           20311 N LARKMOOR DR                                                                        SOUTHFIELD           MI 48076‐2413
REGINA MIKLOS                    72 ASHFORD DR                                                                              CRANBERRY TWP        PA 16066‐7401
REGINA MILES                     43620 BAYFIELD DR                                                                          CLINTON TWP          MI 48038‐1305
REGINA MILLER                    2265 CORONADO AVE                                                                          YOUNGSTOWN           OH 44504‐1308
REGINA MISYIAK                   3086 VINEYARD LN                                                                           FLUSHING             MI 48433‐2436
REGINA MOTOR PRODUCTS 1970 LTD   ALBERT ST S AT HIGHWAY 1 AND 6   PO BOX 710                          REGINA SK S4P 3A8
                                                                                                      CANADA
REGINA MULAWKA                   370 SHRUB RD                                                                               BRISTOL             CT   06010‐2453
REGINA MURZYN                    16502 W 79TH TER                                                                           LENEXA              KS   66219‐1696
REGINA N FITZPATRICK             8015 BELMONT COURT                                                                         NAPLES              FL   34113‐2671
REGINA NAJBAROSKI                11357 REGAL DR                                                                             STERLING HTS        MI   48313‐4977
REGINA NELSON                    48493 MARWOOD DR                                                                           CHESTERFIELD        MI   48051‐2655
REGINA NEUCERE                   2224 DOVE HOLLOW DR                                                                        SHREVEPORT          LA   71118‐5211
REGINA NORRIS KLUKA              1019 MAPLE ST                                                                              EDMONDS             WA   98020‐3331
REGINA NOVAK                     917 S IRVINE AVE                                                                           MASURY              OH   44438‐1262
REGINA NOWAK                     3601 S CHICAGO AVE               C/O FRANCISCIN VILLA                                      SOUTH MILWAUKEE     WI   53172‐3708
REGINA ORZOL                     833 INDIANA AVE                                                                            TRENTON             NJ   08638‐3919
REGINA P BARRITT                 101 BENTWILLOW DR                                                                          NILES               OH   44446
REGINA P CLAWSON                 2713 HOLMAN ST                                                                             MORAINE             OH   45439
REGINA PASKER                    307 PORTER AVE                                                                             BUFFALO             NY   14201‐1031
REGINA PAWLOWSKI                 12226 POTOMAC AVE                                                                          WARREN              MI   48089‐1222
REGINA PAYNE                     2035 DIVISION ST                                                                           SAGINAW             MI   48602‐1908
REGINA PEARSON                   4212 FIR ST                                                                                CLARKSTON           MI   48348‐1423
REGINA PEPPER                    413 ORCHID TRL                                                                             FRANKLIN            TN   37064‐6783
REGINA PICKETT                   170 W 400 S                                                                                KOKOMO              IN   46902‐5264
REGINA PIEKNIK                   4444 N ELMS RD                                                                             FLUSHING            MI   48433‐1449
REGINA PIERCE                    74 SANTO CT                                                                                FORT MYERS          FL   33912‐2070
REGINA PORTILLO                  1725 NEWPORT AVE                                                                           TOLEDO              OH   43613‐2909
REGINA PRICE                     164 LINE STREET                                                                            NANTICOKE           PA   18634‐3127
REGINA PRUETTE                   GMAC INSURANCE                   PO BOX 1429                                               WINSTON SALEM       NC   27102‐1429
REGINA PYPKOWSKI                 5734 HEREFORD ST                                                                           DETROIT             MI   48224‐2054
REGINA R FRAUMAN                 190 N LUTHERAN CHURCH RD                                                                   DAYTON              OH   45417
REGINA R RIESECK                 166 CURTIS DR                                                                              BEAVER FALLS        PA   15010‐1003
REGINA R SMITH                   65 E FAIRMOUNT AVE                                                                         PONTIAC             MI   48340‐2727
REGINA R STUMPF                  9728 COUNTY ROAD 20                                                                        GALION              OH   44833‐9613
REGINA R WILLIAMS                9315 WINTHROP ST                                                                           DETROIT             MI   48228‐2161
REGINA R WINBORN                 210 OHIO ST                                                                                YPSILANTI           MI   48198‐6030
REGINA REIN                      2 BRYAN CT                                                                                 MANSFIELD           TX   76063‐7905
REGINA RENEE GULLETTE            3421 AMBERWAY CT 115                                                                       CINCINNATI          OH   45251
REGINA REYNA                     2001 GLENWOOD WAY                                                                          MIDLOTHIAN          TX   76065‐7503
REGINA RIESECK                   166 CURTIS DR                                                                              BEAVER FALLS        PA   15010‐1003
REGINA ROSENBLUM                 1629 PELICAN COVE RD. BA235                                                                SARASOTA            FL   34231‐6752
REGINA RUE                       26430 LEHNER ST                                                                            ROSEVILLE           MI   48066‐3278
REGINA RUSINSKA                  31 HERITAGE DR                                                                             LANCASTER           NY   14086‐1021
REGINA RUSSELL                   30975 N RIVER RD                                                                           HARRISON TOWNSHIP   MI   48045‐1458
REGINA RUSSO                     3652 CLAREY DR SW                                                                          GRANDVILLE          MI   49418‐8389
REGINA RYBERG‐GUNTHER            1237 PHEASANT CT                                                                           LIBERTY             MO   64068‐8493
REGINA S MATHENY                 3321 COTTAGE RD                                                                            MORAINE             OH   45439
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Name                   Address1                          Address2                    Address3   Address4            City                  State Zip
REGINA SABINE‐HEP      6711 E ENSENADA ST                                                                           MESA                   AZ 85205‐6054
REGINA SARGENT         8235 BURKSHIRE CIR APT 102                                                                   SWARTZ CREEK           MI 48473‐1831
REGINA SCHROEDER       3239 W WASHINGTON ST                                                                         ANDERSON               IN 46011‐8774
REGINA SHANK           5154 DAVAL DR                                                                                SWARTZ CREEK           MI 48473‐1241
REGINA SHELTON         6700 JEFFERSON PAIGE RD LOT 506                                                              SHREVEPORT             LA 71119‐4907
REGINA SIMON           PO BOX 181                        10696 E SECOND                                             FOWLER                 MI 48835‐0181
REGINA SKUTNIK         101 HARRISON PL                                                                              PARLIN                 NJ 08859‐1632
REGINA SPALLA          PO BOX 189                                                                                   DRAVOSBURG             PA 15034‐0189
REGINA STARGELL        2425 CARNEGIE ST                                                                             DAYTON                 OH 45406‐1414
REGINA STEPHENS        24849 HANOVER ST                                                                             DEARBORN HTS           MI 48125‐1880
REGINA STRAHAM‐FLYNN   PO BOX 320298                                                                                FLINT                  MI 48532‐0005
REGINA STRANC          142 MCNAUGHTON AVE                                                                           BUFFALO                NY 14225‐4614
REGINA STUMPF          9728 COUNTY ROAD 20                                                                          GALION                 OH 44833‐9613
REGINA SUSTSITA
REGINA SVENTICKAS      16203 FAIRLANE DR                                                                            LIVONIA               MI   48154‐2567
REGINA SWANSON         3 DOGWOOD COURT                                                                              ASBURY                NJ   08802
REGINA SZKLARSKI       PO BOX 7653                                                                                  INDIAN LAKE ESTATES   FL   33855‐7653
REGINA THOMAS          14336 16TH AVE                                                                               MARNE                 MI   49435‐9766
REGINA THOMPSON        506 N SAGINAW ST                                                                             DURAND                MI   48429‐1241
REGINA THOMPSON        201 SCHOOL ST                                                                                LEXINGTON             AL   35648‐3629
REGINA TOBEN           461 SUN BONNET ST                                                                            SIMI VALLEY           CA   93065‐0616
REGINA TREVINO         6445 WALDON RD                                                                               CLARKSTON             MI   48346‐2468
REGINA TURNER          2687 CHURCHILL LN APT 2                                                                      SAGINAW               MI   48603‐2690
REGINA VESTY           250 MARMOOR CT                                                                               ROCHESTER HILLS       MI   48309‐1782
REGINA VINCER          1612 FOREST HILL AVE                                                                         SOUTH MILWAUKEE       WI   53172‐3409
REGINA WACHTER         938 S 135TH ST                                                                               BONNER SPRINGS        KS   66012‐9275
REGINA WASSON          1603 METROPOLITAN PKWY SW                                                                    ATLANTA               GA   30310‐4447
REGINA WEIST           24919 BUBBA TRL                                                                              ATHENS                AL   35613‐7236
REGINA WELD            3269 N HENDERSON RD                                                                          DAVISON               MI   48423‐8166
REGINA WILLIAMS        6176 NATCHEZ DR                                                                              MOUNT MORRIS          MI   48458‐2769
REGINA WILLIAMS        7005 TAMARACK CT                                                                             CLAYTON               OH   45315‐7900
REGINA WILSON          2717 JONATHAN LN                                                                             SHREVEPORT            LA   71108‐5529
REGINA WILSON          PO BOX 443                                                                                   SARALAND              AL   36571‐0443
REGINA WOLFE           2880 DERUSSEY RD                                                                             COLLINS               OH   44826‐9756
REGINA WRIGHT          16180 SOUTH AVENUE 2 1/4 EAST                                                                YUMA                  AZ   85365‐9291
REGINA WRIJIL          230 S JEFFERSON ST                                                                           BEVERLY HILLS         FL   34465‐4073
REGINA Y GARRETT       1036 4TH AVE                                                                                 GADSDEN               AL   35901
REGINA YAN MUI NG      SUITE 0321 TOWER 5 HONG KONG      88 TAI TAM RESERVOIR ROAD              TAI TAM HONG KONG
                       PARKVIEW                                                                 CHINA
REGINA YANCY           18709 STEEL ST                                                                               DETROIT               MI   48235‐1328
REGINA YOUNG           452 MARC DR                                                                                  NORTH BRUNSWICK       NJ   08902‐5110
REGINA YOUNG           376 GARLAND COURT                                                                            LEHIGH ACRES          FL   33936‐1602
REGINA ZEKAS           71 CAMBRIA ST                                                                                BUFFALO               NY   14206‐2301
REGINA ZIELINSKI       2311 FURNACE RD                                                                              FALLSTON              MD   21047‐1045
REGINA, JADVYGA        1550 BEACON ST APT 8H                                                                        BROOKLINE             MA   02446‐2218
REGINA, JADVYGA        1550 BEACON ST. 8H                                                                           BROOKLINE             MA   02446‐2446
REGINA, MARIO J        11 SHELLY LN                                                                                 MOUNT POCONO          PA   18344
REGINA, RONALD E       33011 CRESTWELL DR                                                                           STERLING HEIGHTS      MI   48310‐6016
REGINA, ROSE M         1456 BLISWORTH CT UNIT 102                                                                   LAS VEGAS             NV   89102‐1576
REGINAL JACKSON        4333 CHERRYWOOD DR                                                                           TROY                  MI   48098‐4280
REGINAL, EMMA H        3295 FOREST HILL RD                                                                          JACKSON               MS   39212‐3849
REGINAL, EMMA H        4242 CYPRESS DR                                                                              JACKSON               MS   39212‐9212
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Name                      Address1                           Address2                     Address3          Address4             City            State Zip
REGINALD A BATTEN         19 EDGEHILL RD                                                                    ETOBICOKE, ONTARIO
                                                                                                            M9A4N1 CANADA
REGINALD A HAYES          4121 SHENANDOAH DR                                                                                     DAYTON          OH    45417
REGINALD A MURRAY         30478 GREENBRIER DR                                                                                    PIERCE CITY     MO    65723‐8374
REGINALD A STRINGFELLOW   12913 HIGH CREST ST                                                                                    FLORISSANT      MO    63033‐4553
REGINALD A TAYLOR         1653 WALLACE ST                                                                                        JACKSON         MS    39209‐5652
REGINALD AKERS            59232 CARY LN BOX 558                                                                                  NEW HAVEN       MI    48048
REGINALD AKINS            1401 S HACKLEY ST                                                                                      MUNCIE          IN    47302‐3568
REGINALD ALLEN            1513 MACINTOSH CIR                                                                                     DAYTON          OH    45426‐5010
REGINALD ALLEN            919 COLONIAL DR                                                                                        YOUNGSTOWN      OH    44505‐2215
REGINALD ANDERSON         16 GEORGETOWN CT                                                                                       DEARBORN        MI    48126‐3482
REGINALD ANDERSON JR      215 E CLAREMORE DR                                                                                     LANSING         MI    48911‐5062
REGINALD ARMSTRONG        300 RIVERFRONT DR PH 2902                                                                              DETROIT         MI    48226‐4589
REGINALD B AMORY III      19 MORRISON AVE                                                                                        ROCHESTER       NY    14623‐2046
REGINALD B PHILLIPS       25584 FILMORE PL                                                                                       SOUTHFIELD      MI    48075‐1940
REGINALD BANKS            6708 RIVER RD BOX 442                                                                                  FLUSHING        MI    48433
REGINALD BANKS            4513 W 111TH ST                                                                                        INGLEWOOD       CA    90304‐2241
REGINALD BARNEY           19600 WALTHAM ST                                                                                       DETROIT         MI    48205‐1676
REGINALD BECKIUS          PO BOX 9022                        C/O GM KOREA                                                        WARREN          MI    48090‐9022
REGINALD BELL             23145 MORNINGSIDE ST                                                                                   SOUTHFIELD      MI    48034‐2046
REGINALD BERT             1806 E 31ST ST                                                                                         BALTIMORE       MD    21218‐3734
REGINALD BLACKSHEAR       19150 MORNINGSIDE AVE                                                                                  EASTPOINTE      MI    48021‐2780
REGINALD BLAKE EDMONDS    97 GRADYVILLE RD                   PO BOX 326                                                          GLEN MILLS      PA    19342
REGINALD BLANKENSHIP      2786 CO. ROAD 460                                                                                      MOUNT HOPE      AL    35651
REGINALD BRADFORD         7147 RUSSELL ST BOX 425                                                                                GENESEE         MI    48437
REGINALD BRANHAM          3897 CAMBRIDGE CT                                                                                      CULLEOKA        TN    38451‐2081
REGINALD BRONER           28724 W KALONG CIR                                                                                     SOUTHFIELD      MI    48034‐5661
REGINALD BROOKS           1330 N SHERMAN RD                                                                                      LUDINGTON       MI    49431‐1153
REGINALD BRYANT           8001 WEDD ST APT 2306                                                                                  OVERLAND PARK   KS    66204‐1496
REGINALD C JONES SR       3439 HABERER AVE                                                                                       DAYTON          OH    45408
REGINALD CALDWELL         PO BOX 276                                                                                             ARCADIA         OK    73007‐0276
REGINALD CAMERON II       BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.     OH    44236
REGINALD CARTER           12921 BROADBENT RD                                                                                     LANSING         MI    48917‐8818
REGINALD CARTER           8284 N BRAY RD                                                                                         MOUNT MORRIS    MI    48458‐8986
REGINALD CASTEEL          23707 S FRONTENAC DR                                                                                   CLEVELAND       OH    44128‐4952
REGINALD CHARLES PEONE    NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                        DAINGERFIELD    TX    75638
REGINALD CLEMENTS         6117 MAPLEBROOK LN                                                                                     FLINT           MI    48507‐4143
REGINALD COMER            433 KNOX ST                                                                                            YOUNGSTOWN      OH    44502‐2217
REGINALD COSTELLO         614 W COURTLAND ST                                                                                     DURAND          MI    48429‐1124
REGINALD COX              2875 WASHINGTON ST COUNCIL TOWER   APARTMENT 5D                                                        ROXBURY         MA    02119

REGINALD CROWELL          889 NELSON WILLIAM DR                                                                                  ORTONVILLE      MI    48462‐9626
REGINALD D DUNCAN         2418 MCCALL ST                                                                                         DAYTON          OH    45408‐1253
REGINALD D HUGHES         29420 GUY ST                                                                                           SOUTHFIELD      MI    48076‐1865
REGINALD D LANGFORD SR    5220 LOME AVE                                                                                          DAYTON          OH    45426
REGINALD D PERSON JR      157 DECKER AVE                                                                                         DAYTON          OH    45417
REGINALD DAVIS            3250 MOBLEY RIDGE RD                                                                                   DUCK RIVER      TN    38454‐3454
REGINALD DAVIS            2102 LEGACY PARK DR                                                                                    LITHIA SPGS     GA    30122‐4325
REGINALD DENNY            6 BARBER ST                                                                                            MEDWAY          MA    02053‐1302
REGINALD DEWLEY           PO BOX 43                                                                                              SINCLAIR        ME    04779‐0043
REGINALD DITTO            8052 HARBOUR DR                                                                                        IRA             MI    48023‐1850
REGINALD DODD             2319 GEORGE AVE                                                                                        YPSILANTI       MI    48198‐6676
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Name                  Address1                         Address2                     Address3   Address4         City              State Zip
REGINALD DORMAN       715 MIDDLESWORTH DR                                                                       LINDEN             MI 48451‐8794
REGINALD DOWNS        530 LOCKRIDGE LN                                                                          LAWRENCEVILLE      GA 30045‐6139
REGINALD DOYON        1413 LOCHAVEN CT APT 13                                                                   WATERFORD          MI 48327‐4212
REGINALD DRIVER       84 EMBER LN                                                                               WILLINGBORO        NJ 08046‐2422
REGINALD DUFFIN       822 BEACH AVE                                                                             LA GRANGE PK        IL 60526‐1645
REGINALD DUMAS        643 KEYS DR                                                                               ELYRIA             OH 44035‐2807
REGINALD DUMAS SR     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
REGINALD E CARTER     656 LOTHROP RD APT 101                                                                    DETROIT            MI 48202‐2727
REGINALD E REYNOLDS   911 WESLEY CHAPEL RD                                                                      LAWRENCEBURG       TN 38464‐7555
REGINALD E SMITH      433 LORENZ AVE                                                                            DAYTON             OH 45417
REGINALD E WILBOURN   PO BOX 2866                                                                               DETROIT            MI 48202‐0866
REGINALD EARLEY       4527 BENNOCH RD                                                                           ALTON              ME 04468‐4006
REGINALD ELAM         182 SCOTTFIELD DR                                                                         NEWARK             DE 19713‐2460
REGINALD ELLIS        APT 142‐B                        22800 CIVIC CENTER DRIVE                                 SOUTHFIELD         MI 48033‐7137
REGINALD FLEMINGS     2509 FAIRBANKS AVE                                                                        DAYTON             OH 45407‐‐ 15
REGINALD FORTUNE      7488 MORRISH RD                                                                           SWARTZ CREEK       MI 48473‐7610
REGINALD FRANKLIN     16127 LEXINGTON                                                                           REDFORD            MI 48240‐2432
REGINALD G WATSON     205 ROCKMART DR SW                                                                        ATLANTA            GA 30314‐2543
REGINALD GADDIES      12695 WARD ST                                                                             DETROIT            MI 48227‐3567
REGINALD GAGNON       PO BOX 971                                                                                BELLEVILLE         MI 48112‐0971
REGINALD GAUVIN       8340 WOODSTOCK DR                                                                         GREENWOOD          LA 71033‐3342
REGINALD GAY          26930 N MONROE DR                                                                         SOUTHFIELD         MI 48034‐5687
REGINALD GEORGE       PO BOX 222                                                                                SWARTZ CREEK       MI 48473‐0222
REGINALD GIDDENS      PO BOX 251114                                                                             WEST BLOOMFIELD    MI 48325‐1114
REGINALD GILBERT      2113 INMAN WAY                                                                            SAN JOSE           CA 95122‐1730
REGINALD GRACEY       1279 FEATHERSTONE RD                                                                      PONTIAC            MI 48342‐1939
REGINALD GRADY        1636 STIRLING AVE                                                                         PONTIAC            MI 48340‐1344
REGINALD GREER        149 APPIAN WAY                                                                            ANDERSON           IN 46013‐4769
REGINALD GULICK       619 S ITHACA ST                                                                           ITHACA             MI 48847‐1825
REGINALD H HALL       PO BOX 5221                                                                               NEW BEDFORD        MA 02742
REGINALD HAGOOD       1141 COUNTY ROAD 130                                                                      RUSSELLVILLE       AL 35654‐3407
REGINALD HALL         PO BOX 70624                                                                              NASHVILLE          TN 37207‐0624
REGINALD HALL         7521 N HIWASSEE RD                                                                        JONES              OK 73049‐6204
REGINALD HALLAM       52424 BROOKCREST                                                                          SHELBY TWP         MI 48316‐3028
REGINALD HARBIN       21071 WINCHESTER ST                                                                       SOUTHFIELD         MI 48076‐3160
REGINALD HATTAWAY     1042 BOYNTON DR                                                                           LANSING            MI 48917‐1760
REGINALD HILL         6277 GOLDEN LN                                                                            WEST BLOOMFIELD    MI 48322‐3272
REGINALD HINES        19785 W. 12 MILE RD #203                                                                  SOUTHFIELD         MI 48076
REGINALD HOERIG       108 AMY PL                                                                                CORTLAND           OH 44410‐1314
REGINALD HOGAN        16723 BEAVERLAND ST                                                                       DETROIT            MI 48219‐3703
REGINALD HOLLINS      5776 PARKER ST                                                                            DETROIT            MI 48213‐2569
REGINALD HORNING      4394 BRIARCLIFF DR                                                                        TRAVERSE CITY      MI 49684‐8610
REGINALD HUMPHREY     27630 PARKVIEW BLVD APT 409                                                               WARREN             MI 48092‐3608
REGINALD HUMPHREY     717 SAINT ANDREWS CT                                                                      PONTIAC            MI 48340‐1340
REGINALD J HOERIG     108 AMY PLACE                                                                             CORTLAND           OH 44410‐1314
REGINALD J HUDSON     2104 FALMOUTH AVE                                                                         DAYTON             OH 45406
REGINALD J MANGUM     124 OVERBY ST                                                                             BRANDON            MS 39042‐3023
REGINALD J SAMUELS    6321 KENWOOD DR                                                                           SHREVEPORT         LA 71119‐6210
REGINALD J TERRELL    4819 COULSON DR                                                                           DAYTON             OH 45417‐5957
REGINALD J. HENRY     C/O FOSTER & SEAR, LLP           817 GREENVIEW DRIVE                                      GRAND PRAIRIE      TX 75050
REGINALD JACKSON      PO BOX 47724                                                                              DORAVILLE          GA 30362‐0724
REGINALD JEFFERSON    5088 PRESTWOOD DR                                                                         FLINT              MI 48504‐1239
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Name                         Address1                       Address2                    Address3                    Address4         City            State Zip
REGINALD JEROME BURKS        7111 DOMINICAN DR                                                                                       DAYTON           OH 45415‐1206
REGINALD JOHNSON             8501 BROADWAY ST APT 2156                                                                               HOUSTON          TX 77061‐5304
REGINALD JOHNSON             19390 RIOPELLE ST                                                                                       DETROIT          MI 48203‐1332
REGINALD JOHNSON             PO BOX 5334                                                                                             FLINT            MI 48505‐0334
REGINALD JOHNSON             2807 CLEMENT ST                                                                                         FLINT            MI 48504‐3027
REGINALD JONES               24141 GRAND TRAVERSE AVE                                                                                BROWNSTOWN       MI 48134‐8050
REGINALD JOYNER              1182 N CAVALIER RD                                                                                      CANTON           MI 48187‐3238
REGINALD KAY                 10140 KEOKUK AVE                                                                                        CHATSWORTH       CA 91311‐3416
REGINALD KERSEY              214 E 75TH ST                                                                                           ANDERSON         IN 46013‐3904
REGINALD KEYES               425 W JOHNSON ST                                                                                        CLIO             MI 48420‐1522
REGINALD L HAMPTON           19363 STAHELIN AVE                                                                                      DETROIT          MI 48219‐2713
REGINALD L JOHNSON           19390 RIOPELLE ST                                                                                       DETROIT          MI 48203‐1332
REGINALD L JOHNSON           1764 EAST 114TH STREET                                                                                  LOS ANGELES      CA 90059
REGINALD L MCWILLIE          5600 KEELE ST APT 2906                                                                                  JACKSON          MS 39206
REGINALD L OWENS             1612 PEACHTREE ST                                                                                       GADSDEN          AL 35901‐3843
REGINALD L WILLIAMS          971 SCOTTSWOOD RD                                                                                       DAYTON           OH 45427
REGINALD LADNER              ATTN ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD PO BOX                    EAST ALTON        IL 62024
                                                            ANGELIDES & BARNERD LLC     521
REGINALD LARSON              29 E YPSILANTI AVE                                                                                      PONTIAC         MI   48340‐1978
REGINALD LASHLEY             2002 GETTYSBURG LN                                                                                      COLUMBIA        TN   38401‐6813
REGINALD LAYMON              9877 CEDAR LAKE RD                                                                                      PINCKNEY        MI   48169‐8896
REGINALD LEATH               3436 ALFALFA ST NE                                                                                      CONOVER         NC   28613‐7515
REGINALD LEE                 924 SOMERSET LN                                                                                         FLINT           MI   48503‐2942
REGINALD LETANG              2576 MARATHON RD                                                                                        LAPEER          MI   48446‐9041
REGINALD LEVESQUE            150 INDIANA ST                                                                                          BRISTOL         CT   06010‐9138
REGINALD LINDSEY             2606 N 54TH ST                                                                                          KANSAS CITY     KS   66104‐3032
REGINALD LONGTON             PO BOX 625                                                                                              HIGGINS LAKE    MI   48627‐0625
REGINALD LONZELL ABERNATHY   WEITZ & LUXENBERG PC           700 BROADWAY                                                             NEW YORK CITY   NY   10003
REGINALD LYNN POOLE          114 EASTWOOD DR                                                                                         MADISON         MS   39110‐8311
REGINALD M GRADY             1636 STIRLING AVE                                                                                       PONTIAC         MI   48340‐1344
REGINALD M NUNN              PO BOX 47157                                                                                            OAK PARK        MI   48237‐4857
REGINALD M TAYLOR            C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                                HOUSTON         TX   77007
                             BOUNDAS LLP
REGINALD M WALLACE           1624 SIENNA LANE NORTH                                                                                  COLUMBUS        OH   43229
REGINALD MACLIN              106 ARABIAN PATH                                                                                        SAINT PETERS    MO   63376‐1798
REGINALD MADELINE            485 ELK LAKE RD                                                                                         ATTICA          MI   48412‐9807
REGINALD MARABLE             19219 RIOPELLE ST                                                                                       DETROIT         MI   48203‐1395
REGINALD MARKS               7924 CLEVELAND AVE                                                                                      KANSAS CITY     KS   66109‐2241
REGINALD MATTHEWS            PO BOX 6923                                                                                             ARLINGTON       TX   76005‐6923
REGINALD MC ARTHUR           16112 COLLINGHAM DR                                                                                     DETROIT         MI   48205‐1412
REGINALD MC DONALD           52470 MAURICE DR                                                                                        MACOMB          MI   48042‐5640
REGINALD MCCARTHY            8405 SAINT OLAF DRIVE                                                                                   SAINT LOUIS     MO   63134‐1109
REGINALD MCGEE               216 DEER MEADOW AVE                                                                                     BOWLING GREEN   KY   42103‐7038
REGINALD MCGHEE              32 MEDFORD LN                                                                                           WILLINGBORO     NJ   08046‐3121
REGINALD MCGHEE              507 HOLLAND DRIVE                                                                                       SOMERSET        NJ   08873‐4608
REGINALD MILLER              4488 ASH ST                                                                                             INKSTER         MI   48141‐2938
REGINALD MINOR               PO BOX 211                                                                                              RUTHER GLEN     VA   22546‐0211
REGINALD MITCHELL            1683 SPARTAN DR                                                                                         COLUMBUS        OH   43209‐3218
REGINALD MORGAN              4267 W BROADWAY APT D                                                                                   HAWTHORNE       CA   90250‐0800
REGINALD MULLINS             4831 LEISURE MNR                                                                                        INDIANAPOLIS    IN   46241‐5818
REGINALD MURRAY              30478 GREENBRIER DR                                                                                     PIERCE CITY     MO   65723‐8374
REGINALD MYLES               9347 HAMILTON CIR                                                                                       WASHINGTON      MI   48094‐3947
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Name                    Address1                         Address2                      Address3   Address4         City           State Zip
REGINALD N STATLER      8318 COLE CREEK CT                                                                         FLUSHING        MI 48433‐9418
REGINALD NAGLE          4043 FARM ROAD 451                                                                         WASKOM          TX 75692
REGINALD NANTON         8719 S HARPER AVE                                                                          CHICAGO          IL 60619‐7119
REGINALD NOLAN          29241 EIFFEL AVE                                                                           WARREN          MI 48088‐3606
REGINALD NUNN           PO BOX 47157                                                                               OAK PARK        MI 48237‐4857
REGINALD OGLESBY        PO BOX 1251                                                                                OKEMOS          MI 48805‐1251
REGINALD P HARRION      4379 EL PASO STREET                                                                        JACKSON         MS 39206‐3967
REGINALD PARKS          9302 VIRGIL                                                                                REDFORD         MI 48239‐1258
REGINALD PEGUES         135 MILLWICK CV                                                                            ALPHARETTA      GA 30005‐5032
REGINALD PEOPLES        2393 HIGHFIELD RD                                                                          WATERFORD       MI 48329‐3940
REGINALD PETERS         2400 S ELECTRIC ST                                                                         DETROIT         MI 48217‐1124
REGINALD PETERSON       18837 HILTON DR                                                                            SOUTHFIELD      MI 48075‐7237
REGINALD PHILLIPS       25584 FILMORE PL                                                                           SOUTHFIELD      MI 48075‐1940
REGINALD POTTER         697 N STEWART RD                                                                           CHARLOTTE       MI 48813‐8310
REGINALD POWERS         5838 BOWERS RD                                                                             IMLAY CITY      MI 48444‐8919
REGINALD POWERS         657 DEVITT AVE                                                                             CAMPBELL        OH 44405‐1518
REGINALD R BROWN        412 STUCKHARDT RD                                                                          DAYTON          OH 45426
REGINALD R COSTELLO     614 W COURTLAND ST                                                                         DURAND          MI 48429‐1124
REGINALD R WILLIAMS     3864 NORTHVIEW DR                                                                          JACKSON         MS 39206
REGINALD REED           2500 W GRAND BLVD APT 609                                                                  DETROIT         MI 48208‐1247
REGINALD REED           389 HIGHLAND AVE                                                                           PENNS GROVE     NJ 08069‐2286
REGINALD REEVES
REGINALD REYNOLDS       911 WESLEY CHAPEL RD                                                                       LAWRENCEBURG   TN   38464‐7555
REGINALD RICE           5808 W COLUMBIA RD                                                                         MASON          MI   48854‐9515
REGINALD RICHARDS       3430 PATTERSON RD                                                                          BAY CITY       MI   48706‐1826
REGINALD RICHMOND       132 MAYNARD CIR                                                                            OXFORD         MI   48371‐5239
REGINALD RIDDLE         424 W MAPLE ST                                                                             LANSING        MI   48906‐5033
REGINALD ROBINSON       19156 FORRER ST                                                                            DETROIT        MI   48235‐2301
REGINALD ROBINSON       5910 ROCKINGHAM DR                                                                         LANSING        MI   48911‐4321
REGINALD ROBINSON       BOX 121MID CITY                                                                            DAYTON         OH   45402‐0121
REGINALD ROPER          301 S CHARLES ST                                                                           CHARLES TOWN   WV   25414‐1617
REGINALD ROUNTREE       817 FLORENCE ST                                                                            WEST MONROE    LA   71291‐7243
REGINALD RUEL           56 DUNCAN ST                                                                               BRISTOL        CT   06010‐4821
REGINALD S DANIEL       3423 MINNESOTA AVE S.E APT 1                                                               WASHINGTON     DC   20019‐2362
REGINALD SAMUELS        6321 KENWOOD DR                                                                            SHREVEPORT     LA   71119‐6210
REGINALD SATURLEY JR    320 MCCRACKEN RD                                                                           WIND RIDGE     PA   15380‐1370
REGINALD SCOTT          3818 SOUTHERN CROSS DR                                                                     BALTIMORE      MD   21207‐6465
REGINALD SCOTT          149 PENDRAGON WAY                                                                          MANTUA         NJ   08051‐2233
REGINALD SCOTT          APT 312                          3410 RIVERSTONE CIRCLE EAST                               FORT WORTH     TX   76116‐0877
REGINALD SEARCY         6143 FLOWERDAY DR                                                                          MOUNT MORRIS   MI   48458‐2811
REGINALD SECHMAN        2988 S STATE ROAD 267                                                                      PLAINFIELD     IN   46168‐3020
REGINALD SEWELL         5601 N COUNTY ROAD 700 W                                                                   MUNCIE         IN   47304‐9755
REGINALD SHORT          3821 CRESTVALE TER                                                                         BALTIMORE      MD   21236‐5204
REGINALD SINGLETON      5620 KENILWORTH CIR                                                                        SHREVEPORT     LA   71129‐4816
REGINALD SMITH          10600 NOTTINGHAM RD                                                                        DETROIT        MI   48224‐1742
REGINALD SMITH          5598 MAPLE PARK DR                                                                         FLINT          MI   48507‐3915
REGINALD SMITH          C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS     OH   44236
REGINALD SMITH          PO BOX 3995                                                                                CENTER LINE    MI   48015‐0995
REGINALD SNEDACAR       9346 GRANDVILLE AVE                                                                        DETROIT        MI   48228‐1723
REGINALD SOBCZYNSKI     4905 DUCHESS DR                                                                            STERLING HTS   MI   48310‐5158
REGINALD SOTO           617 SANTA ROSA ST                                                                          MANTECA        CA   95336‐3429
REGINALD SPRAGGINS JR   8610 N KANSAS AVE                APT 301                                                   KANSAS CITY    MO   64156‐2951
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Name                                Address1                          Address2                   Address3   Address4                City              State Zip
REGINALD STATEN                     5540 POPPLETON CT                                                                               WEST BLOOMFIELD    MI 48324‐1141
REGINALD STATLER                    8318 COLE CREEK CT                                                                              FLUSHING           MI 48433‐9418
REGINALD STEVENS                    20096 CONLEY ST                                                                                 DETROIT            MI 48234‐2256
REGINALD STRINGFELLOW               12913 HIGH CREST ST                                                                             FLORISSANT         MO 63033‐4553
REGINALD STROUD                     23240 W 10 MILE RD                                                                              SOUTHFIELD         MI 48033‐3168
REGINALD STUDENSKI                  1946 CATALIN DR                                                                                 ROCHESTER          MI 48306
REGINALD STUDENSKI                  1946 CATLIN DRIVE                                                                               ROCHESTER          MI 48306
REGINALD SWEET                      227 LEWIS RD                                                                                    CHATEAUGAY         NY 12920‐3313
REGINALD SWIFT                      4130 E 138TH ST                                                                                 CLEVELAND          OH 44105‐5510
REGINALD T HUMPHREY                 27630 PARKVIEW BLVD APT 409                                                                     WARREN             MI 48092‐3608
REGINALD TASCHEREAU                 108 PALMER CT UNIT A                                                                            DAYTON             NV 89403‐8529
REGINALD TAULBEE                    28953 BARTON ST                                                                                 GARDEN CITY        MI 48135‐2707
REGINALD TAYLOR                     3889 TROUT CREEK LN                                                                             OAKLAND            MI 48363‐2664
REGINALD TERRY                      18603 FENMORE ST                                                                                DETROIT            MI 48235‐3063
REGINALD THREAT                     2108 KENSINGTON ST                                                                              JANESVILLE         WI 53546‐5752
REGINALD TOWNSEND                   1545 TAGALAK TRL                                                                                HOLT               MI 48842‐9575
REGINALD TYO                        11 WOODLAWN AVE                                                                                 MASSENA            NY 13662‐1535
REGINALD V JACKSON AND FLORENCE W   PO BOX 686                                                                                      DARIEN             GA 31305
JACKSON, JTROS
REGINALD V SCHULTZ                  16509 NORTHLAWN ST                                                                              DETROIT           MI   48221‐2951
REGINALD V VAN HOOK                 5716 TERRY AVE                                                                                  SAINT LOUIS       MO   63120‐1022
REGINALD VALENTINE                  3854 TOWNSHEND CIR                                                                              STOCKTON          CA   95212‐3483
REGINALD VAN HOOK                   5716 TERRY AVE                                                                                  SAINT LOUIS       MO   63120‐1022
REGINALD VANNER                     5340 BENTLEY RD APT 203                                                                         WEST BLOOMFIELD   MI   48322‐2186
REGINALD W ION                      47207 ECORSE RD                                                                                 BELLEVILLE        MI   48111‐5115
REGINALD W MORGAN                   3301 GARVIN                                                                                     DAYTON            OH   45405‐2128
REGINALD W TYO                      11 WOODLAWN AVE                                                                                 MASSENA           NY   13662‐1535
REGINALD WALLACE                    1624 SIENNA LN N                                                                                COLUMBUS          OH   43229‐5238
REGINALD WATSON                     916 AMSTERDAM AVE NE                                                                            ATLANTA           GA   30306‐3469
REGINALD WELLMAN                    1253 TIMOTHY ST                                                                                 SAGINAW           MI   48638‐6575
REGINALD WHITE                      384 WALNUT STREET                                                                               BUFFALO           NY   14204‐1311
REGINALD WHITLEY                    37429 FOUNTAIN PARK CIR APT 357                                                                 WESTLAND          MI   48185‐5646
REGINALD WILLIAMS                   20109 GREELEY ST                                                                                DETROIT           MI   48203‐1271
REGINALD WILLIAMS                   107 PIN OAK PL                                                                                  CAMPBELL          OH   44405‐1676
REGINALD WILLIAMS                   3311 LODWICK DR NW                APT 1                                                         WARREN            OH   44485‐1569
REGINALD WILLIAMS SR                463 VISTA GLEN DR                                                                               CINCINNATI        OH   45246‐2367
REGINALD WILMORE                    2913 SW LEWIS DR                                                                                LEES SUMMIT       MO   64081‐4149
REGINALD WILSON                     1139 PARK LN                                                                                    TOLEDO            OH   43615‐4552
REGINALD WILTSHIRE                  134 RAVINE AVE                                                                                  YONKERS           NY   10701
REGINALD WILTSHIRE                  134 RAVINE AVE, APT 2                                                                           YONKERS           NY   10701
REGINALD WINSLOW                    2309 PARIS DR                                                                                   TROY              MI   48083‐2368
REGINALD WRIGHT                     PO BOX 5393                                                                                     MILFORD           CT   05460‐0705
REGINALD WYSE                       3077 FARMERS CREEK RD                                                                           METAMORA          MI   48455‐9679
REGINALDA FIORI                     4 GLENWEST CT                                                                                   ROSEDALE          MD   21237‐2113
REGINALDO DELAMONEDA                PO BOX                                                                                          CLIFFSIDE PARK    NJ   07010
REGINE BEUTLER                      FRIEDRICH‐SCHMIDT‐STRASSE 22                                            D‐50935 KOELN GERMANY
REGINE BILE                         PO BOX 9022                       C/O GM PORT ELIZABETH SA                                      WARREN            MI   48090‐9022
REGINE RICHTER                      2645 SAINT PAUL RD                                                                              CHAMBERSBURG      PA   17202‐8192
REGINE SCARBERRY                    10261 FOLEY RD                                                                                  FENTON            MI   48430‐9379
REGINEK, CHESTER L                  31254 BOCK ST                                                                                   GARDEN CITY       MI   48135‐1435
REGINEK, MADONNA J                  25730 FILMORE                                                                                   TAYLOR            MI   48180
REGINIA C BAILEY                    3572 PIEDMONT AVE                                                                               DAYTON            OH   45416
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Name                                 Address1                             Address2                     Address3                       Address4                  City           State Zip
REGINIA RICE                         PO BOX 440                                                                                                                 EASTPOINTE      MI 48021‐0440
REGINOLD PAULEY                      527 E SOUTH ST                                                                                                             GREENFIELD      IN 46140‐2621
REGION 1 C                           1940 W ATHERTON RD                                                                                                         FLINT           MI 48507‐2201
REGION 1‐D VETERANS COUNCIL          3300 LEONARD ST NE                                                                                                         GRAND RAPIDS    MI 49525‐3363
REGION BOND PTY LTD                  600 WATERDALE RD                                                                                 HEIDELBERG WEST VI 3081
                                                                                                                                      AUSTRALIA
REGION FREIGHT LINES INC             PO BOX 3122                                                                                                                MUNSTER         IN   46321‐0122
REGION OF PEEL                       FLEET SERVICES                       2 COPPER ROAD                                               BRAMPTON CANADA ON
                                                                                                                                      L6T 4W5 CANADA
REGION OIL & CHEMICAL CORP           1382 LEAR INDUSTRIAL PKWY                                                                                                  AVON           OH    44011‐1368
REGIONAL AIRPORT AUTHORITY           4815 CRITTENDEN DR, GATE H                                                                                                 LOUISVILLE     KY    40209
REGIONAL BUSINESS ALLIANCE           201 LYSLE BLVD                                                                                                             MCKEESPORT     PA    15132‐2625
REGIONAL CARDIOLOGY                  3399 POLLOCK ROAD                                                                                                          GRAND BLANC    MI    48439
REGIONAL CHAMBER                     11 CENTRAL SQ STE 1600                                                                                                     YOUNGSTOWN     OH    44503‐1512
REGIONAL CHAMBER & GROWTH            1 METROPOLITAN SQ STE 1300           ATTN DENISE HASTY                                                                     SAINT LOUIS    MO    63102‐2797
ASSOCIATION
REGIONAL CHAMBER GROWTH ASSOC        1 METROPOLITAN SQ STE 1300           ATTN COLIN STAHLHUT                                                                   SAINT LOUIS    MO 63102‐2797
GOLF TOURNAMENT
REGIONAL COMMERCE & GROWTH           ONE METROPOLITAN SQUARE STE 13                                                                                             SAINT LOUIS    MO 63102
ASSOCIATION GOLF TOURNAMENT
REGIONAL COMMUNICATIONS INC          E 64 MIDLAND AVENUE                  PO BOX 144                                                                            PARAMUS        NJ 07652
REGIONAL COMPUTER RECYCLING &        7318 VICTOR‐MENDON RD RT 251                                                                                               VICTOR         NY 14564
RECOVERY
REGIONAL CONTAINER LINES PUBLIC CO   KANG WON‐KI                          10TH FLOOR, PAIKNAM BLDG     188‐3, 1‐GA, EULJI‐RO, JUNG‐   SEOUL KOREA (REP)
                                                                                                       GU
REGIONAL COUNSEL                     ATTORNEY FOR GENSLER ARCHITECTURE,   ATTENTION: MARK A. WAITE     ONE WOODWARD AVENUE            SUITE 601                 DETROIT        MI 48226
                                     DESIGN & PLANNING, PC

REGIONAL DIAGNOSTICS                 PO BOX 636157                                                                                                              CINCINNATI     OH 45263‐57
REGIONAL DIAGNOSTICS LLC SPECTRUM    ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 636157                                                                         CINCINNATI     OH 45263‐6157
DIAGNOSTIC IMAGING                   AGENT
REGIONAL DIE CAST LTD.               MICHAEL BENI                         695 ARVIN AVENUE                                            GUELPH ON CANADA
REGIONAL DIE CASTING LTD             695 ARVIN AVE                                                                                    STONEY CREEK ON L8E 5R2
                                                                                                                                      CANADA
REGIONAL DIE CASTING LTD             MICHAEL BENI                         695 ARVIN AVENUE                                            STONEY CREEK ON CANADA
REGIONAL DIE CASTING LTD             695 ARVIN AVENUE                                                                                 STONEY CREEK CANADA ON
                                                                                                                                      L8E 5R2 CANADA
REGIONAL EDUCATION MEDIA CENTER      18000 NEWBURGH RD                                                                                                          LIVONIA        MI    48152‐3931
REGIONAL EXPEDITE CO                 7085 5 MILE RD                                                                                                             EAST LEROY     MI    49051‐7734
REGIONAL GARLAND                     3509 YALE ST                                                                                                               FLINT          MI    48503‐4621
REGIONAL HOME LENDING CTR            1150 RARITAN RD                                                                                                            CRANFORD       NJ    07016‐3369
REGIONAL IMAGING SER                 PO BOX 27128                                                                                                               ANAHEIM        CA    92809‐0104
REGIONAL INCOME TAX AGENCY           PO BOX 6600                                                                                                                CLEVELAND      OH    44101‐2004
REGIONAL INCOME TAX AGENCY RITA
REGIONAL INTEGRATED LOGISTICS        2321 KENMORE AVE                                                                                                           BUFFALO        NY    14207
REGIONAL INTEGRATED LOGISTICS INC    2321 KENMORE AVE                                                                                                           BUFFALO        NY    14207
REGIONAL J GARLAND                   3509 YALE ST                                                                                                               FLINT          MI    48503‐4621
REGIONAL LOGISTICS                   PO BOX 564                                                                                                                 CANAL FULTON   OH    44614‐0564
REGIONAL MEDICAL IMA                 3346 LENNON RD STE 2                                                                                                       FLINT          MI    48507‐1082
REGIONAL MEDICAL IMAGING             ATTN: JENNIFER ROY                   5059 VILLA LINDE PKWY # 25                                                            FLINT          MI    48532‐3438
REGIONAL MUNICIPALITY OF DURHAM
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Name                                 Address1                             Address2                       Address3                   Address4              City               State Zip
REGIONAL MUNICIPALITY OF DURHAM      UTILITY FINANCE DIVISION             605 ROSSLAND RD E PO BOX 720                              WHITBY ON L1N 0B1
                                                                                                                                    CANADA
REGIONAL MUNICIPALITY OF NIAGARA
REGIONAL ORTHOPAEDIC ASSO            1941 LIMESTONE RD STE 101                                                                                            WILMINGTON          DE   19808‐5413
REGIONAL PAIN CARE C                 1111 RAINTREE CIR STE 170                                                                                            ALLEN               TX   75013‐4902
REGIONAL PERSONNEL WORKERS COM       300 36TH ST SW                                                                                                       GRAND RAPIDS        MI   49548‐2107
REGIONAL REHABILITAT                 PO BOX 310                                                                                                           MC MINNVILLE        TN   37111‐0310
REGIONAL RESEARCH LABORATORY         999 INDUSTRIAL ESTATE PO                                                                       THIRUVANANTHAPURAM
                                                                                                                                    IN 695019 INDIA
REGIONAL RESEARCH LABORATORY         INDUSTIAL ESTATE PO                                                                            THIRUVANANTHAPURAM
                                                                                                                                    695019 INDIA
REGIONAL SUPPLY INC                  530 COLLINS RD STE 100                                                                                               MARIETTA            GA 30066‐6395
REGIONAL TECHNOLOGY NETWORK CORP     8243 WILLOWSPRING CT                                                                                                 GOODRICH            MI 48438‐9101

REGIONAL WATER AUTHORITY             90 SARGENT DR                                                                                                        NEW HAVEN           CT   06511‐5918
REGIONS BANK                         FOR DEPOSIT TO THE ACCOUNT OF        2440 EXECUTIVE DR              S MERRITT                                        INDIANAPOLIS        IN   46241‐5035
REGIONS BANK ‐ PIERREMONT BR         FOR DEPOSIT IN THE ACCOUNT OF        4740 LINE AVE                  P MCCARTY                                        SHREVEPORT          LA   71106‐1528
REGIONS BANK OF LOUISIANA            400 CONVENTION ST                    #900                                                                            BATON ROUGE         LA   70802‐5618
REGIONS EQUIPMENT FINANCE, LTD.      (AS SUCCESSOR‐IN‐INTEREST TO AMSOUTH ATTENTION: PRESIDENT           1900 FIFTH AVENUE NORTH,                         BIRMINGHAM          AL   35203
                                     LEASING, LTD.)                                                      24TH FLOOR
REGIONS FINANCIAL CORPORATION        STEVE HARTLINE                       250 RIVERCHASE PKWY E                                                           BIRMINGHAM         AL    35244‐1832
REGIS BARRETT                        4617 TIEDEMAN RD                                                                                                     BROOKLYN           OH    44144‐2333
REGIS BUCKLEY                        42532 SALTZ RD                                                                                                       CANTON             MI    48187‐3460
REGIS BUCKLEY II                     60 FAIRVIEW AVE                                                                                                      DUDLEY             MA    01571‐3485
REGIS COSTLOW                        11728 COLLINS ST                                                                                                     NORTH HOLLYWOOD    CA    91607‐1312
REGIS F PATRICK                      4314 ALLENWOOD DRIVE S.E.                                                                                            WARREN             OH    44484‐2933
REGIS HACKETT                        205 S RICHARDS ST                                                                                                    ORFORDVILLE        WI    53576‐9414
REGIS LUCOT                          601 SUMMIT ST                                                                                                        GLASSPORT          PA    15045‐1227
REGIS M POLLACK                      1120 AUBREY CIRCLE                                                                                                   LOUISVILLE         OH    44641
REGIS MARK                           REGIS, MARK
REGIS MYERS                          2159 E 40TH ST                                                                                                       LORAIN             OH    44055‐2707
REGIS PATRICK                        4314 ALLENWOOD DR SE                                                                                                 WARREN             OH    44484‐2933
REGIS POLLACK                        1120 AUBREY CIR                                                                                                      LOUISVILLE         OH    44641‐8799
REGIS RACHAL                         20061 BILTMORE STREET                                                                                                DETROIT            MI    48235‐2430
REGIS SEXTON                         22590 BROOKFOREST                                                                                                    NOVI               MI    48375‐4416
REGIS SOHLER                         5999 ABBOTT ST                                                                                 LA SALLE ON N9J3L6
                                                                                                                                    CANADA
REGIS STADTMILLER                    2708 LYNN DR                                                                                                         SANDUSKY           OH    44870‐5650
REGIS STEIN                          PO BOX 737                                                                                                           WAYNE              MI    48184‐0737
REGIS STRAYER                        6745 OTTAWA AVE                                                                                                      MADISON            OH    44057‐1245
REGIS UNIVERSITY                     EXTERNAL MBA PROGRAM                 9417 PRINCESS PALM AVE                                                          TAMPA              FL    33619
REGIS UNIVERSITY                     2330 ROBINSON ST                                                                                                     COLORADO SPRINGS   CO    80904‐3752
REGIS UNIVERSITY OFFICE OF STUDENT   3333 REGIS BLVD A‐8                                                                                                  DENVER             CO    80221
ACCTS
REGIS, CYNTHIA
REGIS, DONNA R                       39500 WARREN RD TRLR 338                                                                                             CANTON              MI 48187‐5710
REGIS, FERNANDO
REGIS, FERNANDO ALVARADO             L. MATTHEW DOTIN                     900 FROST BANK PLAZA 802 N.                                                     CORPUS CHRISTI      TX   78470
                                                                          CARANCAHUA
REGIS, JOHN J                        14702 MANN RD                                                                                                        HICKORY CRNRS       MI 49060‐9746
REGIS, JOHN M                        840 SHORE GROVE CL                   APT 204                                                                         AUBURN HILLS        MI 48326
REGIS, LINDA J                       13160 HITCHING POST RD               APT 100                                                                         DEWITT              MI 48820‐9675
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Name                                  Address1                        Address2                         Address3   Address4               City               State Zip
REGIS, MICHAEL L                      214 GEORGETOWN PKWY                                                                                FENTON              MI 48430‐3207
REGIS, RICHARD C                      1482 E NEEDMORE HWY                                                                                GRAND LEDGE         MI 48837‐9488
REGIS, ROBERT J                       130 MORGAN LN                                                                                      CARPINTERIA         CA 93013‐3058
REGIS, ROBERT M                       PO BOX 234                                                                                         OLIVET              MI 49076‐0234
REGIS, TIMOTHY A                      3646 W DRAHNER RD                                                                                  OXFORD              MI 48371‐5714
REGISH, JOHN W                        1095 HIGHLAND AVE                                                                                  LINCOLN PARK        MI 48146‐4203
REGISTEN, GLEN                        C/O SIMON EDDINS & GREENSTONE   3232 MCKINNEY AVE STE 610                                          DALLAS              TX 75204‐8583
REGISTER                              37775 LAKEWOOD CIR APT 202                                                                         WESTLAND            MI 48185‐5771
REGISTER CHEVROLET & OLDSMOBILE, IN   14181 CORTEZ BLVD                                                                                  SPRING HILL         FL 34613‐2707

REGISTER CHEVROLET & OLDSMOBILE, INC. 14181 CORTEZ BLVD                                                                                  BROOKSVILLE         FL   34613‐2707

REGISTER CHEVROLET & OLDSMOBILE, INC. STUART SMITH                    14181 CORTEZ BLVD                                                  SPRING HILL         FL   34613‐2707

REGISTER GLENN                        OSHEA & REYES LLC               1601 NORTH FLAMINGO ROAD SUITE                                     PEMBROKE PINES      FL   33028
                                                                      4
REGISTER JAMES                        11095 LITTLE CREEK LANE                                                                            JACKSONVILLE       FL    32223
REGISTER JOHN                         17194 PREST ST                                                                                     DETROIT            MI    48235‐3728
REGISTER LENNARD                      7004 CRYSTAL LAKE RD                                                                               KEYSTONE HEIGHTS   FL    32656‐6386
REGISTER OF COPYRIGHTS                LIBRARY OF CONGRESS             101 INDEPENDENCE AVE SE                                            WASHINGTON         DC    20559‐6222
REGISTER OF THE CIRCUIT COURT         ACCOUNT OF JERRY MCMULLEN       MADISON CNTY CRTHSE RM200                                          HUNTSVILLE         AL    00000
REGISTER, ALICIA M                    76 MCMAHAN DR                                                                                      CRAWFORDVILLE      FL    32327‐5450
REGISTER, BROOKIE S                   PO BOX 533                                                                                         FOUR OAKS          NC    27524‐0533
REGISTER, FREDRICK D                  P.O BOX 3053                                                                                       SOUTHFIELD         MI    48037‐3053
REGISTER, FREDRICK D                  PO BOX 3053                                                                                        SOUTHFIELD         MI    48037‐3053
REGISTER, HENRY L                     512 SPRING VALLEY DR                                                                               RALEIGH            NC    27609‐7051
REGISTER, IMA F                       6057 8TH AVE SW APT 15A                                                                            GRANDVILLE         MI    49418‐9468
REGISTER, JOHNNY H                    17194 PREST ST                                                                                     DETROIT            MI    48235‐3728
REGISTER, VERNETTA D                  14175 FAUST AVE                                                                                    DETROIT            MI    48223‐3541
REGISTRAR OF COPYRIGHTS               LIBRARY OF CONGRESS             101 INDEPENDENCE AVE SE                                            WASHINGTON         DC    20559‐0002
REGISTRAR OF JOINT STOCK COMPANIES    P.O. BOX 1529                                                               HALIFAX NS B3J 2Y4
                                                                                                                  CANADA
REGITS, LINDA S                       4041 GRANGE HALL RD L‐23                                                                           HOLLY              MI    48442‐1915
REGLA PEDROSO                         401 BREMAN AVE                                                                                     SYRACUSE           NY    13211‐1534
REGLA, ANGEL J                        220 ORANGE GROVE AVE                                                                               SAN FERNANDO       CA    91340‐2626
REGLING, BRIAN K                      7099 DUBLIN RD                                                                                     APPLETON           NY    14008
REGLING, IRENE W                      1410 MARSHALL RD RD #1                                                                             LYNDONVILLE        NY    14098‐9740
REGLING, SHAWN R                      2010 LAKEVIEW DR                                                                                   LAPEER             MI    48446‐8084
REGLING, SHAWN ROY                    2010 LAKEVIEW DR                                                                                   LAPEER             MI    48446‐8084
REGLOPLAS AG                          1088 MINERS RD                                                                                     SAINT JOSEPH       MI    49085‐9625
REGLOPLAS CORP                        1088 MINERS RD                                                                                     SAINT JOSEPH       MI    49085‐9625
REGLOPLAS CORPORATION                 1088 MINERS RD                                                                                     SAINT JOSEPH       MI    49085‐9625
REGMAN, CECIL V                       127 NESBIT TER                  JOYOMY MANOR                                                       IRVINGTON          NJ    07111‐2330
REGMAN,ALEXIA S                       127 NESBIT TER                                                                                     IRVINGTON          NJ    07111‐2330
REGMONT, DENNIS F                     3032 TALON CIR                                                                                     LAKE ORION         MI    48360‐2608
REGNA, PASQUALE J                     9 WESTHAVEN DR                                                                                     ROCHESTER          NY    14624‐2817
REGNAULT, ROBERT J                    1715 W 1ST ST                                                                                      MARION             IN    46952‐3368
REGNER, CRAIG P                       437 BROWNING DR                                                                                    HOWELL             MI    48843‐2000
REGNER, OTTO                          5491 WINCHESTER DR                                                                                 TROY               MI    48085‐3254
REGNER, REGINA R                      1465 BENVENUE ST                                                                                   SYLVAN LAKE        MI    48320‐1715
REGNER, ROBERT W                      3844 WEST MORTEN AVENUE                                                                            PHOENIX            AZ    85051‐6456
REGNERUS, MARTHA                      737 CARYN CIR                                                                                      SOUTH HOLLAND      IL    60473‐3270
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Name                             Address1                              Address2                       Address3     Address4         City              State Zip
REGNIER, BERNARD J               70300 24TH AVE                                                                                     SOUTH HAVEN        MI 49090‐7704
REGNIER, E. A                    6491 KNIGHTS WAY                                                                                   KALAMAZOO          MI 49009‐9045
REGNIER, LABORIA J               7109 SPRINGFIELD DR NE                N HILLS MOBILE HOME PARK                                     ALBUQUERQUE        NM 87109‐5337
REGNIER, LLOYD F                 3015 PAFKO DR                                                                                      SARASOTA           FL 34232‐5111
REGNIER, MARCELLA Z              199 ELM ST FL 2                                                                                    MERIDEN            CT 06450‐5803
REGNIER‐SEBASTIAN, LINDA K       5383 RIVER RIDGE DR                                                                                BRIGHTON           MI 48116‐4791
REGO, JOHN M                     51 PLEASANT ST                                                                                     HOLLISTON          MA 01746‐2606
REGO, LOURDES J                  1123 WESTGATE ST                                                                                   NEW BEDFORD        MA 02745‐4122
REGO, ROBERT                     MOODY EDWARD O                        801 W 4TH ST                                                 LITTLE ROCK        AR 72201‐2107
REGO, ROBERT                     C/O EDWARD O MOODY PA                 801 W 4TH ST                                                 LITTLE ROCK        AR 77201
REGO, ROBERT A                   1529 MONTE CRISTO WAY                                                                              LIVINGSTON         CA 95334‐9341
REGOLI, EUGENE                   GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                 SAGINAW            MI 48604‐2602
                                                                       260
REGOORD, PAUL J                  245 WINFIELD RD                                                                                    ROCHESTER         NY   14622‐2216
REGRUT, SHIRLEY N                1951 PYRAMID LAKE PL                                                                               FORT MOHAVE       AZ   86426‐6777
REGRUTO, EDWIN W                 201 53RD ST                                                                                        SEA ISLE CITY     NJ   08243‐1635
REGUEIRO, WILLIAM R              PO BOX 398                                                                                         HEREFORD          AZ   85615‐0398
REGULA, JOYCE M                  22171 KOTHS                                                                                        TAYLOR            MI   48180‐3685
REGULA, JOYCE M                  22171 KOTHS ST                                                                                     TAYLOR            MI   48180‐3685
REGULA, RICHARD I                5601 MADRID DR                                                                                     AUSTINTOWN        OH   44515‐4136
REGULAR ANDREWS, ANNIE M         20038 HOUGHTON ST                                                                                  DETROIT           MI   48219‐1254
REGULATIONS MANAGEMENT           1505 W ARLINGTON RD                                                                                BLOOMINGTON       IN   47404‐2111
CORPORATION
REGULATIONS UPDATE SERVICES LL   1819 N HARTSTRAIT RD                                                                               BLOOMINGTON       IN   47404‐9792
REGULSKI, BERNARD H              275 WESTCHESTER BLVD                                                                               KENMORE           NY   14217‐1313
REGULSKI, DIANE L                5303 HAZELWOOD AVE                                                                                 BALTIMORE         MD   21206‐2233
REGUS BUSINESS CENTRE, LLC       CYNTHIA ODEN, OPERATIONS MANAGER      1215 K ST FL 17                                              SACRAMENTO        CA   95814‐3954

REGUS BUSINESS CENTRE, LLC       1215 K ST FL 17                                                                                    SACRAMENTO        CA   95814‐3954
REGUS BUSINESS CENTRES           100 MANHATTANVILLE RD STE 412                                                                      PURCHASE          NY   10577
REGUS MANAGEMENT GROUP           1215 K STREET                         17                                                           SACRAMENTO        CA   95814
REGUS MANAGEMENT GROUP           15305 NORTH DALLAS PARKWAY            14TH FLOOR                                                   ADDISON           TX   75001
REGUS MANAGEMENT GROUP           1215 K ST FL 17                                                                                    SACRAMENTO        CA   95814‐3954
REGUS MANAGEMENT GROUP LLC       1215 K ST FL 17                                                                                    SACRAMENTO        CA   95814‐3954
REGUS MANAGEMENT GROUP, LLC      1215 K ST FL 17                                                                                    SACRAMENTO        CA   95814‐3954
REGUS MANAGEMENT GROUP, LLC      NICOLE MANUCAL, GENERAL MANAGER       15305 NORTH DALLAS PARKWAY     14TH FLOOR                    ADDISON           TX   75001

REGUSME, JOSH                    229 NE FRONT ST                                                                                    MILFORD           DE   19963‐1431
REGUSME, MARIE                   229 NE FRONT ST                                                                                    MILFORD           DE   19963‐1431
REGUSME, NELHIE                  229 NE FRONT ST                                                                                    MILFORD           DE   19963‐1431
REH JEROME (459277)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                                       STREET, SUITE 600
REH, JEROME                      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                                       STREET, SUITE 600
REH, JUNE G                      4503 FISHERMANS TERRACE                                                                            LYONS             IL   60534‐1925
REHA, CEIL L                     PO BOX 2944                                                                                        YOUNGSTOWN        OH   44511‐0944
REHA, DAVID J                    2020 WILD CHERRY CT                                                                                LEWISBURG         TN   37091‐3050
REHA, KENNETH J                  3105 KROUSE RD                                                                                     OWOSSO            MI   48867‐9328
REHA, LARRY D                    3320C FLO LOR DR. APT4                                                                             YOUNGSTOWN        OH   44511‐4511
REHA, WILLIAM                    201 OXFORD 300 201                                                                                 WEST PALM BEACH   FL   33417
REHAB ASSOCIATES LLC             DBA SOUTHEASTERN REHAB                PO BOX 11407 DRAWER 761                                      BIRMINGHAM        AL   35246‐61
REHAB CONSULTANTS, P             PO BOX 7784                                                                                        SHAWNEE MISSION   KS   66207‐0784
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Name                                  Address1                           Address2                       Address3               Address4                 City               State Zip
REHAB HOSP OF RI                      116 EDDIE DOWLING HWY                                                                                             NORTH SMITHFIELD     RI 02896‐7327
REHAB PHYS                            DEPT CH # 17876                                                                                                   PALATINE             IL 60055‐0001
REHAB PHYS MED SPEC                   350 LAFAYETTE AVE SE STE 301                                                                                      GRAND RAPIDS        MI 49503‐4656
REHAB SERVICE OF GRE                  3200 TOWER OAKS BOULEVARD                                                                                         ROCKVILLE           MD 20852
REHABILIATATION ASSO                  555 W WACKERLY ST STE 3825                                                                                        MIDLAND             MI 48640‐4713
REHABILITATION ASSOC                  2600 GLASGOW AVE STE 210                                                                                          NEWARK              DE 19702‐5704
REHABILITATION ASSOC                  601 S SHORE DR UNIT 121                                                                                           BATTLE CREEK        MI 49014‐5440
REHABILITATION ASSOC                  2840 LONG BEACH BLVD STE 130                                                                                      LONG BEACH          CA 90806‐1593
REHABILITATION ASSOC                  653 N TOWN CENTER DR STE 418                                                                                      LAS VEGAS           NV 89144‐0518
REHABILITATION ASSOC OF COLORADO PC   4251 KIPLING ST                                                                                                   WHEAT RIDGE         CO 80033

REHABILITATION ASSOCIATES            2600 GLASGOW AVE STE 210                                                                                           NEWARK             DE 19702‐5704
REHABILITATION INSTITUTE OF MICHIGAN 261 MACK AVE                                                                                                       DETROIT            MI 48201‐2417

REHABILITATION MEDIC                  515 MICHIGAN ST NE STE 200                                                                                        GRAND RAPIDS       MI   49503‐5721
REHABILITATION MEDIC                  242 COUNTRY CLUB RD                                                                                               EUGENE             OR   97401
REHABILITATION PHYSI                  5775 GLENRIDGE DR NE STE B145                                                                                     ATLANTA            GA   30328‐7196
REHABILITATION PHYSICIANSPC           28455 HAGGERTY RD STE 200                                                                                         NOVI               MI   48377‐2982
REHABILITATION PLACEMANTSERVICES PC   PO BOX 76822                                                                                                      ATLANTA            GA   30358‐1822

REHABILITATION SERVICE OF NORTH       270 STERKEL BLVD                                                                                                  MANSFIELD          OH 44907‐1508
CENTRAL OHIO INC
REHABILITATION SPECI                  1037 WATER ST STE 2                                                                                               PORT HURON         MI   48060‐4408
REHABILITATIVE CARE,                  3937 PATIENT CARE WAY STE 107                                                                                     LANSING            MI   48911‐4287
REHAGE, MICHAEL L                     641 HULL AVE                                                                                                      LEWISBURG          TN   37091‐3620
REHAGEN, ALBERT J                     10209 TAPPAN DR                                                                                                   SAINT LOUIS        MO   63137‐2038
REHAHN, DONALD W                      38470 UTICA RD                                                                                                    STERLING HTS       MI   48312‐1761
REHAHN, JOANNE R                      38470 UTICA RD                                                                                                    STERLING HGTS      MI   48312‐1761
REHAHN, JUDITH A                      19185 FLORENCE                                                                                                    ROSEVILLE          MI   48066‐2615
REHAHN, MARK A                        559 RAINBOW DR                                                                                                    EAST TAWAS         MI   48730‐9750
REHAHN, MARK A                        559 RAINBOW DRIVE                                                                                                 EAST TAWAS         MI   48730‐9750
REHAHN, RITA C                        20483 DAMMAN ST                                                                                                   HARPER WOODS       MI   48225‐1775
REHAHN, RONALD F                      20483 DAMMAN ST                                                                                                   HARPER WOODS       MI   48225‐1775
REHAK EDWARD                          1646 CADILLAC CIR                                                                                                 ROMEOVILLE         IL   60446‐5222
REHAK ROBERT                          3420 LANDVIEW DR                                                                                                  ROCHESTER          MI   48306‐1155
REHAK, CHARLES C                      PO BOX 5478                                                                                                       SAGINAW            MI   48603‐0478
REHAK, CHARLES J                      7747 BRISTOL PARK DR S UNIT 3 NW                                                                                  TINLEY PARK        IL   60477
REHAK, EDWARD D                       1646 CADILLAC CIR                                                                                                 ROMEOVILLE         IL   60446‐5222
REHAK, FRED J                         1595 S SCHOMBERG RD                                                                                               LAKE LEELANAU      MI   49653‐9574
REHAK, MARIE A                        25 STONE RIDGE BLVD                                                                                               HERMITAGE          PA   16148‐9172
REHAK, MARTHA J                       583 BELMONT AVE NE                                                                                                WARREN             OH   44483‐4942
REHAK, ROBERT V                       3420 LANDVIEW DR                                                                                                  ROCHESTER          MI   48306‐1155
REHAN INST DEPT 6494                  PO BOX 67000                                                                                                      DETROIT            MI   48267‐0002
REHANI HAMILTON                       7365 CRYSTAL LAKE DR APT 10                                                                                       SWARTZ CREEK       MI   48473‐8951
REHAU AG & CO                         CHERYL PROPHATER                   BLVD A LOPEZ MATEOS #932 PTE   SUZHOU JIANGSU CHINA
                                                                                                        (PEOPLE'S REP)
REHAU HOLDING INC                     1501 EDWARDS FERRY RD NE                                                                                          LEESBURG           VA 20176‐6680
REHAU HOLDING INC                     2424 INDUSTRIAL DR SW                                                                                             CULLMAN            AL 35055
REHAU HOLDING INC                     650 AVE LEE                                                                              BAIE D'URFE QC H9X 3S3
                                                                                                                               CANADA
REHAU HOLDING INC                     JEFF KERWIN X204                   2424 INDUSTRIAL DR SW                                                          WHITE MARSH        MD 21162
                                        09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                              Exhibit B
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Name                                    Address1                        Address2                        Address3                   Address4                  City           State Zip
REHAU HOLDING INC                       JEFF KERWIN X204                PLANT BAIE D'URFE II            650 AVE LEE                PETERBOROUGH ON
                                                                                                                                   CANADA
REHAU INC                               650 AVE LEE                                                                                BAIE D URFE CANADA PQ
                                                                                                                                   H9X 3S3 CANADA
REHAU INC                               PO BOX 1706 1501 EDWARDS RD                                                                                          LEESBURG        VA 22075
REHAU INC                               2424 INDUSTRIAL DR SW                                                                                                CULLMAN         AL 35055
REHAU SA DE CV                          BLVD A LOPEX MATEOS # 932 PTE   1Y2 PISO 38060 CELAYA GTO                                  CELAYA GTO 38060 MEXICO
REHAU SA DE CV                          CHERYL PROPHATER                011‐52‐461‐618‐8000             BLVD A LOPEZ MATEOS #932   SUZHOU JIANGSU CHINA
                                                                                                        PTE                        (PEOPLE'S REP)
REHAU, INC                              JEFF KERWIN X204                2424 INDUSTRIAL DR SW                                                                WHITE MARSH    MD 21162
REHAUME, DOROTHY W                      302 ELGIN ST                    SUITE 2017                                                 PORT COLBORNE ON L3K‐
                                                                                                                                   6A3 CANADA
REHBEIN, ANSGAR                         2762 HILLCREST DRIVE                                                                                                 LEXINGTON      OH    44904‐1435
REHBEIN, PAMELA L                       3408 5TH AVE                                                                                                         S MILWAUKEE    WI    53172‐3914
REHBERG, DEREK J                        975 STEWART RD N                                                                                                     MANSFIELD      OH    44905‐1549
REHBERG, FREDERICK G                    1294 LEWIS RD                                                                                                        MANSFIELD      OH    44903‐8948
REHBERG, JOYCE G                        1294 LEWIS RD                                                                                                        MANSFIELD      OH    44903‐8948
REHBERG, LINDA B                        4915 BAYMEADOWS RD APT 2A                                                                                            JACKSONVILLE   FL    32217‐4756
REHBINE, KEITH E                        1384 CAMBRIDGE RD                                                                                                    BERKLEY        MI    48072‐1921
REHBINE, STEPHEN G                      848 STONEBROOK BLVD                                                                                                  NOLENSVILLE    TN    37135‐9710
REHBURG, DARLENE K                      240 PENN AVE NW                                                                                                      WARREN         OH    44485‐2709
REHBURG, DARLENE K                      240 PENN N.W.                                                                                                        WARREN         OH    44485‐2709
REHBURG, FLORENCE P                     667 OHIO AVE NW                                                                                                      WARREN         OH    44485‐2757
REHBURG, STANLEY J                      231 PROSPECT ST                                                                                                      NILES          OH    44446‐1517
REHDERTER, PETER                        1428 FOREST AVE                                                                                                      BRICK          NJ    08724‐4101
REHE JR, ROBERT H                       7275 OLD COACH TRL                                                                                                   WASHINGTON     MI    48094‐2158
REHE, JAMES J                           19831 HUNTINGTON AVE                                                                                                 HARPER WOODS   MI    48225‐1829
REHEARD, HAZEL M                        625 SE 651                                                                                                           KNOB NOSTER    MO    65336‐2206
REHEARD, JERRY D                        625 SE 651 107                                                                                                       KNOB NOSTER    MO    65336
REHEL, MAURICE                          6904 E 129TH ST                                                                                                      GRANDVIEW      MO    64030‐2616
REHER, MICHAEL                          36524 FAIRCHILD                                                                                                      WAYNE          MI    48184
REHERMAN, JAMES E                       2740 WATERS EDGE DR                                                                                                  GAINESVILLE    GA    30504‐3960
REHERMAN, LORIA D                       7778 ARLINGTON RD                                                                                                    BROOKVILLE     OH    45309‐9603
REHERMAN, ROBERT L                      7778 ARLINGTON RD                                                                                                    BROOKVILLE     OH    45309‐9603
REHERMAN,LORIA D                        7778 ARLINGTON RD                                                                                                    BROOKVILLE     OH    45309‐9603
REHEUSER FRANK J (ESTATE OF) (503752)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD     OH    44067
                                                                        PROFESSIONAL BLDG
REHEUSER, FRANK J                       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                                         NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
REHFELD, HELEN A                        2901 TILDON DR                                                                                                       SAGINAW        MI    48603‐3022
REHFELD, ROGER L                        PO BOX 607                                                                                                           GUNTERSVILLE   AL    35976‐0607
REHFELDT, HEINZ H                       147 WEST CROSSFOX TRAIL                                                                                              CAMDENTON      MO    65020‐4043
REHFUS, JOHN A                          3507 CAMBRIA CIR                                                                                                     THE VILLAGES   FL    32162‐6606
REHFUSS, ILENE                          10345 THWING RD                                                                                                      CHARDON        OH    44024
REHG, E S                               4445 CINCINNATI BROOKVILLE RD                                                                                        HAMILTON       OH    45013‐9262
REHIEL, JOSEPH F                        PO BOX 19503                                                                                                         PHILADELPHIA   PA    19124‐0003
REHIL, ANITA K                          906 FRANKLIN FARM DR                                                                                                 MASON          MI    48854‐9367
REHIL, ANITA KAY                        906 FRANKLIN FARM DR                                                                                                 MASON          MI    48854‐9367
REHIL, JAMES A                          2730 HARRISON ST                                                                                                     PADUCAH        KY    42001‐3722
REHIL, KARL E                           520B MCGREGOR ST                                                                                                     MOUNT MORRIS   MI    48458‐8931
REHIL, SANDRA JILL                      6053 SOUTH BRANCH RD BOX 119                                                                                         SOUTH BRANCH   MI    48761‐9673
REHILL JAMES (413309)                   ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                                  NEW YORK       NY    10006‐1638
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Name                          Address1                           Address2                      Address3   Address4         City                     State Zip
REHILL, ANGELINA R            8 CURVE STREET                                                                               NATICK                    MA 01760‐4906
REHILL, JAMES                 ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                       NEW YORK                  NY 10006‐1638
REHKER, ALFRED                32885 REDWOOD BLVD                                                                           AVON LAKE                 OH 44012‐1558
REHKER, PHYLLIS E             32885 REDWOOD BLVD                                                                           AVON LAKE                 OH 44012‐1558
REHKER, THOMAS A              1422 LAKES BLVD APT C101                                                                     COLUMBIA                  TN 38401‐4685
REHKER, THOMAS A              1422 LAKES BLVD                    APT C101                                                  COLUMBIA                  TN 38401‐4685
REHKER, THOMAS A              1422 LAKES BLVD                    APARTMENT C101                                            COLUMBIA                  TN 38401
REHKLAU, CHARLENE M           P.O. BOX 361                                                                                 GRAND RAPIDS              OH 43522‐0361
REHKLAU, CHRISTOPHE R         M15 EASTCAMPUS APTS                                                                          BIG RAPIDS                MI 49307
REHKLAU, LELA H               13240 BIERMAN RD                                                                             RIGA                      MI 49276‐9512
REHKLAU, WILLIAM E            9300 OSPREY BAY CIR                                                                          DAVISBURG                 MI 48350‐1719
REHKOPF, JACK                 1450 HIDDEN VALLEY DR SE APT 8                                                               KENTWOOD                  MI 49508‐6478
REHKOPF, JULIE A              9268 JULY LN                                                                                 ST AUGUSTINE              FL 32080‐8631
REHKOPF, LARRY G              9268 JULY LN                                                                                 SAINT AUGUSTINE           FL 32080‐8631
REHL SOLUTIONS INC            2519 BRANCH RD                                                                               FLINT                     MI 48506‐2914
REHL SOLUTIONS LLC            10051 E HIGHLAND RD SUITE 29‐194                                                             HOWELL                    MI 48843
REHL SOLUTIONS LLC            2519 BRANCH RD                                                                               FLINT                     MI 48506‐2914
REHLANDER MILTON F (498311)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK                   VA 23510
                                                                 STREET, SUITE 600
REHLANDER, MILTON F           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK                  VA 23510‐2212
                                                                 STREET, SUITE 600
REHLING CHERYL                5666 SCARBOROUGH DR                                                                          CINCINNATI               OH   45238‐1837
REHLING, ANNA MARIE A         2226 N LOCKE ST                                                                              KOKOMO                   IN   46901‐1609
REHLING, LOUISE B             171 4TH AVE                        #342                                                      CHULA VISTA              CA   91910‐1921
REHLING, MARY A               8324 FOX BAY DR                                                                              WHITE LAKE               MI   48386‐2504
REHLING, ROBERT P             15 ALDEN WAY                                                                                 PORT JEFFERSON STATION   NY   11776‐4203

REHM HENRY (459278)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK                  VA 23510
                                                                 STREET, SUITE 600
REHM, CARL E                  541 TOULOUSE DR                                                                              PUNTA GORDA              FL   33950‐7826
REHM, DAVID N                 3925 S JONES BLVD APT 1080                                                                   LAS VEGAS                NV   89103‐7105
REHM, EDWARD J                4891 KECK RD                                                                                 LOCKPORT                 NY   14094‐3513
REHM, HENRY                   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK                  VA   23510‐2212
                                                                 STREET, SUITE 600
REHM, JAMES J                 109 SEBRING CIR                                                                              LEHIGH ACRES             FL   33936‐5329
REHMAN                        45650 SCHOENHERR ROAD SUITE A                                                                SHELBY TOWNSHIP          MI   48315
REHMAN, QUDOOS                24900 FRANKLIN FARMS DR                                                                      FRANKLIN                 MI   48025‐2206
REHMAN, SHAKEEB U             1423 FAWN CT                                                                                 ROCHESTER HILLS          MI   48309‐2557
REHMAN, SHAKEEB UR            1423 FAWN CT                                                                                 ROCHESTER HILLS          MI   48309‐2557
REHMAN, UBAID U               45253 BARTLETT DR                                                                            NOVI                     MI   48377‐2568
REHMANN JR, EDMUND M          221 E TOWNLINE RD # 14                                                                       AUBURN                   MI   48611
REHMANN, DAVID L              3042 HARRISON ST                                                                             SAGINAW                  MI   48604‐2384
REHMEL, ANNA H                2519 E 9TH ST                                                                                ANDERSON                 IN   46012‐4405
REHMEL, JAMES R               1718 LORA ST                                                                                 ANDERSON                 IN   46013‐2742
REHMER, JAMES W               1147 CHURCHILL RD                                                                            LYNDHURST                OH   44124‐1303
REHMERT, EUGENE L             503 OHIO AVE                                                                                 TROY                     OH   45373‐2150
REHMERT, RANDY R              342 LAWSON AVE                                                                               NEW LEBANON              OH   45345‐1443
REHMERT, TYLER D              8023 PLEASANT VALLEY RD                                                                      CAMDEN                   OH   45311‐8947
REHMERT,RANDY R               342 LAWSON AVE                                                                               NEW LEBANON              OH   45345‐1443
REHMUS, SUSAN L               PO BOX 9022                                                                                  WARREN                   MI   48090‐9022
REHMUS, SUSAN L               6179 SANCTUARY POINTE DR                                                                     GRAND BLANC              MI   48439‐9030
REHN, EDLYNN M                28011 LOS OLAS DR                                                                            WARREN                   MI   48093‐4904
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Name                          Address1                       Address2                       Address3              Address4         City               State Zip
REHN, JOHN L                  3372 GRAY FOX CV                                                                                     APOPKA              FL 32703‐8108
REHN, ROBERT H                1229 N CAVALIER RD                                                                                   CANTON              MI 48187‐3239
REHNBERG MANUFACTURING CORP   PO BOX 88461                                                                                         CHICAGO              IL 60680‐1461
REHNER JR, MICHAEL            1382 MOULIN AVE                                                                                      MADISON HTS         MI 48071‐4832
REHNLUND, IRIS B              1722 SHANKIN DR                                                                                      WOLVERINE LAKE      MI 48390‐2445
REHO KRAUSE                   8385 TINDALL RD                                                                                      DAVISBURG           MI 48350‐1632
REHO MARTIN G                 5452 PALMYRA RD SW                                                                                   WARREN              OH 44481‐9785
REHOR, LOTTIE M               250 E TELEGRAPH RD SPC 62                                                                            FILLMORE            CA 93015‐2145
REHORST GUY                   10319 N FLANDERS CT                                                                                  MEQUON              WI 53092‐5211
REHORST, MARY J               2 NICHOLSON CT                                                                                       DAYTON              OH 45459‐1823
REHORST, PAUL H               233 NORTH DEE ROAD                                                                                   PARK RIDGE           IL 60068‐2814
REHRIG ROBERT E (641989)      WATERS & KRAUS                 3219 MCKINNEY AVE ‐ STE 3000                                          DALLAS              TX 75204
REHRIG, ROBERT E              WATERS & KRAUS                 3219 MCKINNEY AVE ‐ STE 3000                                          DALLAS              TX 75204
REHS, DAVID W                 7633 PARDEE RD                                                                                       TAYLOR              MI 48180‐2386
REHS, DEBRA J                 4034 GREENFIELD BEND RD                                                                              WILLIAMSPORT        TN 38487‐2005
REHS, GARY J                  12341 MASONIC BLVD                                                                                   WARREN              MI 48093‐1262
REHS, RICHARD T               1440 SAINT JOHNS BLVD                                                                                LINCOLN PARK        MI 48146‐3931
REHSE, KENNETH H              39550 COBRIDGE DR                                                                                    CLINTON TWP         MI 48038‐2763
REHSE, KURT K                 1783 COLLEGE ST                                                                                      FERNDALE            MI 48220‐2007
REHTORIK, FLORA J             1479 CONIFER DR                                                                                      WEST CHESTER        PA 19380‐2117
REHUREM BRAVO                 76 W ADAMS AVE APT 1003                                                                              DETROIT             MI 48226‐1666
REHWALDT, BARABARA A          6555 MANN RD                                                                                         AKRON               NY 14001‐9022
REHWALDT, BETTY               5686 CRITTENDEN ROAD                                                                                 AKRON               NY 14001‐9503
REHWALDT, FRANCIS W           5686 CRITTENDEN RD                                                                                   AKRON               NY 14001‐9503
REHWALDT, ROBERT G            7972 CHESTNUT RIDGE RD                                                                               GASPORT             NY 14067‐9277
REHWOLDT, GREGORY L           5838 DORTHY                                                                                          ALGER               MI 48610
REI                           PO BOX 120                     69210 POWELL RD                                                       ROMEO               MI 48065‐0120
REI, FAUSTO E                 7571 DANVERS CIR                                                                                     PORT CHARLOTTE      FL 33981‐2630
REI, MARY E                   18000 FOXPOINTE DR                                                                                   CLINTON TOWNSHIP    MI 48038‐2143
REIB MUNSELL ROBERTA          124 PINE ST                                                                                          GLEN ROCK           PA 17327‐8927
REIBENSPIES GREG              6008 GENTLE KNOLL LN                                                                                 DALLAS              TX 75248‐2123
REIBER III, CLARENCE W        25987 QUEEN DR                                                                                       CHESTERFIELD        MI 48051‐3221
REIBER, ANDREW A              437 BRADY ST                                                                                         CHESANING           MI 48616‐1107
REIBER, ANDREW ANTHONY        437 BRADY ST                                                                                         CHESANING           MI 48616‐1107
REIBER, CHERYL L              25702 COYOTE DR                                                                                      BROWNSTOWN          MI 48134‐9067
REIBER, CLARENCE W            3154 STILLRIVER DR                                                                                   HOWELL              MI 48843‐7385
REIBER, DAVID A               5935 HUFF ST                                                                                         WESTLAND            MI 48185‐1945
REIBER, EUGENE                7308 S ROYSTON RD                                                                                    EATON RAPIDS        MI 48827‐8591
REIBER, FRANK A               6600 CHESANING RD                                                                                    CHESANING           MI 48616‐8417
REIBER, GLENDA G              721 VALLEY VIEW AVE                                                                                  RED OAK             TX 75154‐2722
REIBER, JOHN M                1623 GEORGETOWN BLVD                                                                                 LANSING             MI 48911‐5429
REIBER, LEWIS D               PO BOX 589                                                                                           WEST MIDDLESEX      PA 16159‐0589
REIBER, LEWIS D               BOX BOX 589                                                                                          W. MIDDLESEX        PA 16159‐6159
REIBER, PATRICIA J            9092 CHESANING RD                                                                                    CHESANING           MI 48616
REIBER, PATSY J               350 LAIRD STREET                                                                                     MOUNT MORRIS        MI 48458‐8870
REIBER, RONALD E              228 W WASHINGTON ST                                                                                  PARKER CITY         IN 47368
REIBER, WILLIAM A             2460 BROWNING DR                                                                                     LAKE ORION          MI 48360‐1811
REIBLING, LEROY F             55220 PARKVIEW DR                                                                                    SHELBY TOWNSHIP     MI 48316‐1067
REIBOLD, DALE A               PO BOX 743                                                                                           ANDOVER             OH 44003‐0743
REIBOLD, ERIN L               2550 CHERRY BARK OAK COURT                                                                           GASTONIA            NC 28056‐0007
REICH BRADLEY                 REICH, BRADLEY                 PO BOX 2305                    1690 WILLISTON ROAD                    SOUTH BURLINGTON    VT 05407‐2305
REICH BRADLEY                 REICH, BRADLEY                 300 MILLER BUILDING                                                   ROCHESTER           MI 48307
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Name                               Address1                          Address2              Address3              Address4         City               State Zip
REICH CARL                         2580 SUNSET DR NE                                                                              ATLANTA             GA 30345‐1947
REICH FUNKHOUSER                   2345 JASON ST                                                                                  MERRITT ISLAND      FL 32952‐5416
REICH GENEVIEVE                    312 TRADING POST CT                                                                            ROCKTON              IL 61072‐1825
REICH HARRY/AL                     PO BOX 218                                                                                     TRUSSVILLE          AL 35173‐0218
REICH INSTALLATION SERVICES INC    N27W23155 ROUNDY DR                                                                            PEWAUKEE            WI 53072‐4025
REICH JR, ARTHUR W                 5592 MAPLE PARK DR                                                                             FLINT               MI 48507‐3915
REICH JR, RUSSELL S                706 LONGMEADOW RD                                                                              BUFFALO             NY 14226‐2504
REICH, BRADLEY                     MILLER LAW FIRM PC                300 MILLER BUILDING                                          ROCHESTER           MI 48307
REICH, BRADLEY                     JOHNSON & PERKINSON               PO BOX 2305           1690 WILLISTON ROAD                    SOUTH BURLINGTON    VT 05407‐2305
REICH, CARL D                      3383 LAKESHORE DR                                                                              GLADWIN             MI 48624‐7809
REICH, CLARENCE E                  2363 GOLDSMITH AVE                                                                             THOUSAND OAKS       CA 91360‐3131
REICH, CLARENCE L                  1082 LESLIE LN                                                                                 GIRARD              OH 44420‐1440
REICH, COURTNEY E                  45 LUZERNE ST                                                                                  ROCHESTER           NY 14620‐1685
REICH, DANIEL J                    6407 WOLVERINE TRL                                                                             ALGER               MI 48610‐9424
REICH, DENNIS G                    690 TANBARK DR                                                                                 DIMONDALE           MI 48821‐9791
REICH, DONALDEEN G                 1731 CUNNINGHAM RD                                                                             INDIANAPOLIS        IN 46224‐5336
REICH, DOUGLAS A                   7 ROCKRIDGE CT                                                                                 FENTON              MI 48430‐8772
REICH, DOUGLAS ALLEN               7 ROCKRIDGE CT                                                                                 FENTON              MI 48430‐8772
REICH, ELIZABETH J                 3523 MAPLE SPRING DR                                                                           CANFIELD            OH 44406‐9263
REICH, ELIZABETH JUNE              2363 GOLDSMITH AVE                                                                             THOUSAND OAKS       CA 91360‐3131
REICH, GERHARDT O                  1004 LINDEN AVE                                                                                RICE LAKE           WI 54868‐1029
REICH, HANS W                      59 SUNSET DR                                                                                   SHELBY              OH 44875‐9416
REICH, HARRY H CO INC              4850 COMMERCE DR                  PO BOX 218                                                   TRUSSVILLE          AL 35173‐2809
REICH, JAY H                       2832 KENFORD RD                                                                                WATERFORD           MI 48329‐2923
REICH, JEWELL E                    350 CARPENTER DR NE APT 322                                                                    SANDY SPRINGS       GA 30328‐3358
REICH, JOSEPH L                    376 DESERT COVE RD                                                                             HENDERSON           NV 89012‐4826
REICH, KENNETH E                   2010 ANTIOCH RD                                                                                ALBANY              GA 31705‐9564
REICH, MERLYN J                    1004 LINDEN AVE                                                                                RICE LAKE           WI 54868‐1029
REICH, RANDALL J                   6739 GREGORY RD                                                                                DEXTER              MI 48130‐9697
REICH, RICK J                      2429 ASBURY RD                                                                                 DUBUQUE              IA 52001‐3043
REICH, ROBERT L                    400 OTTER POND RD                                                                              COTTONWOOD          AL 36320‐3163
REICH, SANDRA                      6407 WOLVERINE TRL                                                                             ALGER               MI 48610‐9424
REICH, WALTER J                    3400 LARSEN AVE                                                                                ENUMCLAW            WA 98022
REICHA, RONNIE R                   2740 S POPP RD                                                                                 LAKE LEELANAU       MI 49653‐9532
REICHANADTER, GARY L               9760 DALE LN                                                                                   MOORESVILLE         IN 46158‐9592
REICHARD BUICK PONTIAC             254 SWILLIAMS ST                                                                               DAYTON              OH 45406
REICHARD BUICK PONTIAC GMC         161 SALEM AVE                                                                                  DAYTON              OH 45406‐5802
REICHARD BUICK PONTIAC GMC, INC.   EUGENE REICHARD                   161 SALEM AVE                                                DAYTON              OH 45406‐5819
REICHARD BUICK PONTIAC, INC.                                                                                                      DAYTON              OH 45406‐5802
REICHARD III, DAVID C              830 BRYAN POINT RD                                                                             ACCOKEEK            MD 20607‐9738
REICHARD, ALFREEDA E               823 W VINYARD ST                                                                               ANDERSON            IN 46011‐3425
REICHARD, ALFREEDA E               823 W VINEYARD                                                                                 ANDERSON            IN 46011‐3425
REICHARD, BILLY D                  808 39TH ST NE APT 2B                                                                          CANTON              OH 44714‐1256
REICHARD, DAVID A                  116 FLINTLOCK RD                                                                               NEWARK              DE 19713‐3030
REICHARD, DENNIS L                 223 FREEDOM WAY                                                                                ANDERSON            IN 46013
REICHARD, DONNA M                  346 S MIDLAND ST                                                                               MERRILL             MI 48637‐2538
REICHARD, FRANK A                  107 LOUISE RD                                                                                  NEW CASTLE          DE 19720‐1721
REICHARD, FREDERICK J              6300 N MICHIGAN RD                                                                             SAGINAW             MI 48604‐9208
REICHARD, JEFFREY D                PO BOX 36                                                                                      LACLEDE             ID 83841‐0036
REICHARD, JUNE O                   3532 MEADOW GREEN CT                                                                           DAYTON              OH 45414‐2423
REICHARD, KATHY P                  PO BOX 212                                                                                     HARVEYSBURG         OH 45032‐5032
REICHARD, KENNETH D                1910 OLD SPRINGFIELD RD                                                                        VANDALIA            OH 45377‐9341
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Name                            Address1                        Address2            Address3         Address4         City               State Zip
REICHARD, MAURICE L             3681 GORMAN AVE                                                                       ENGLEWOOD           OH 45322‐2704
REICHARD, PAUL L                111 BRIXTON WOODS EAST DR                                                             PITTSBORO           IN 46167‐8919
REICHARD, ROB J                 3061 LEONORA DR                                                                       KETTERING           OH 45420‐1232
REICHARD, ROBERT J              712 COUNTRY CLUB LN                                                                   ANDERSON            IN 46011‐3408
REICHARD, STEFANIE L            2800 COLONIAL AVE                                                                     KETTERING           OH 45419‐2030
REICHARD, V. PAULINE            32001 CHERRY HILL RD APT 630                                                          WESTLAND            MI 48186‐5299
REICHARD, V. PAULINE            32001 CHERRY HILL ROAD          APT. 630                                              WESTLAND            MI 48186‐5299
REICHARD, VICTOR E              5968 REDWOOD LN                                                                       NEWFANE             NY 14108‐9538
REICHARD, VIOLA L               4080 N OWL RD                                                                         LINCOLN             MI 48742‐9692
REICHARD, VIOLET L              1719 N FAIRVIEW LN                                                                    ROCHESTER HILLS     MI 48306‐4021
REICHARD, VIOLET M              107 LOUISE RD                                                                         NEW CASTLE          DE 19720‐1721
REICHARDT JR, ARTHUR            790 NE 119TH ST                                                                       BISCAYNE PARK       FL 33161‐6359
REICHARDT, DONALD A             344 SMITH DR                                                                          SOMERSET            KY 42501‐5920
REICHARDT, DOROTHY M            27 AINSWORTH LANE                                                                     ROCHESTER           NY 14624‐2273
REICHARDT, DOROTHY M            27 AINSWORTH LN                                                                       ROCHESTER           NY 14624‐2273
REICHARDT, FRIEDA               785 SOUR SPRING TRL                                                                   SULLIVAN            MO 63080‐3925
REICHART, BRIAN E
REICHART, BRIAN E               7352 N STATE ROAD 25                                                                  LUCERNE            IN   46950‐9329
REICHART, DIETER                4451 SW 157TH LN                                                                      OCALA              FL   34473‐3193
REICHART, DORIS J               1920 E 7TH APTW‐4 1920                                                                ANDERSON           IN   46012‐3559
REICHART, FLORENCE E            6904 CORTEZ RD WEST             LOT #4 LANE #2                                        BRADENTON          FL   34210
REICHART, FLORENCE E.           6904 CORTEZ RD W LOT 4          LOT #4 LANE #2                                        BRADENTON          FL   34210‐6534
REICHART, JANET M               2610 E 9TH ST                                                                         ANDERSON           IN   46012‐4408
REICHART, MYRON L               1920 E 7TH APTW‐4 1920                                                                ANDERSON           IN   46012
REICHARZ, KARL H                2317 LODGE FOREST DR                                                                  BALTIMORE          MD   21219‐2209
REICHE, CHERIE L                1617 MCGRAIN LN                                                                       HOWELL             MI   48843‐6846
REICHE, WILLIAM A               27915 JEAN RD                                                                         WARREN             MI   48093‐7512
REICHEL JANICE LYNN             403 FOREST AVE                                                                        ROYAL OAK          MI   48067‐3689
REICHEL, ALLAN F                1191 HINDU CV                                                                         GULF BREEZE        FL   32563‐3572
REICHEL, HERBERT                985 HILLSIDE DR                                                                       NORTH BRUNSWICK    NJ   08902‐3212
REICHEL, JOHN H                 31246 FRANK DR                                                                        WARREN             MI   48093‐1609
REICHEL, LEONARD D              2844 SANDY CREEK DR                                                                   SHELBY TWP         MI   48316‐3857
REICHEL, TERRY L                13947 W US 223                                                                        MANITOU BEACH      MI   49253
REICHELT, ARTHUR E              100 GRANDTREE CT                                                                      CARY               NC   27519‐5864
REICHELT, HARVEY R              6382 N STATE ROAD 1                                                                   OSSIAN             IN   46777‐8926
REICHELT, HARVEY W              725 LUTHERAN ST                                                                       PLATTEVILLE        WI   53818
REICHELT, LILLIAN M             725 LUTHERAN ST                                                                       PLATTEVILLE        WI   53818
REICHENBACH MOTOR SALES, INC.   EUGENE REICHENBACH              27380 MAIN ST                                         NORTH GEORGETOWN   OH   44665
REICHENBACH MOTOR SALES, INC.   27380 MAIN ST                                                                         NORTH GEORGETOWN   OH   44665
REICHENBACH'S                   469 SCHANTZ RD                                                                        ALLENTOWN          PA   18104‐9494
REICHENBACH, ALVIN J            1612 E BRECKENRIDGE LN                                                                MILTON             WI   53563‐8898
REICHENBACH, FAY J              225 SHADY LN                                                                          NORTHUMBERLAND     PA   17857‐9541
REICHENBACH, FAY J              225 SHADY LANE                                                                        NORTHUMBERLAND     PA   17857‐9541
REICHENBACH, GERALDINE T        706 PONDEROSA DR                                                                      BEL AIR            MD   21014‐5244
REICHENBACH, HAROLD T           508 W 1050 N                                                                          FORTVILLE          IN   46040‐9356
REICHENBACH, JAMES F            46520 SCHOENHERR RD                                                                   SHELBY TWP         MI   48315‐5351
REICHENBACH, JEAN A             200 MEADOW LAKES DRIVE          APT 407                                               MOORESVILLE        IN   46158
REICHENBACH, JEAN A             200 MEADOW LAKE DR APT 407                                                            MOORESVILLE        IN   46158‐1838
REICHENBACH, JOAN M             1318 ALICIA CT                                                                        ROYAL OAK          MI   48073‐3948
REICHENBACH, MARILYN B          6890 WINANS LAKE RD                                                                   BRIGHTON           MI   48116‐9119
REICHENBACH, RICHARD L          4980 E 234                                                                            GREENFIELD         IN   46140
REICHENBACH, WILLIAM C          1966 HILLCREST DR                                                                     LAKE               MI   48632‐9514
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Name                                   Address1                         Address2                      Address3           Address4         City              State Zip
REICHERT CHEVROLET & BUICK SALES IN    5220 E NW HWY RTE 14                                                                               CRYSTAL LAKE        IL

REICHERT CHEVROLET & BUICK SALES INC   JOHN REICHERT                    5220 E NW HWY RTE 14                                              CRYSTAL LAKE       IL   60014

REICHERT CHEVROLET & BUICK SALES INC   5220 E NW HWY RTE 14                                                                               CRYSTAL LAKE       IL   60014

REICHERT CHEVROLET, OLDSMOBILE, PON 2145 S EASTWOOD DR                                                                                    WOODSTOCK          IL   60098‐4604

REICHERT CHEVROLET, OLDSMOBILE,        2145 S EASTWOOD DR                                                                                 WOODSTOCK          IL   60098‐4604
PONTIAC & BUICK, INC.
REICHERT CHEVROLET, OLDSMOBILE,        JOHN REICHERT                    2145 S EASTWOOD DR                                                WOODSTOCK          IL   60098‐4604
PONTIAC & BUICK, INC.
REICHERT FRANCIS D (439436)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                        STREET, SUITE 600
REICHERT HERBERT                       51 GREEN TURTLE RD                                                                                 CORONADO          CA    92118‐3204
REICHERT JARED                         2356 BROWNLEE DR                                                                                   TOLEDO            OH    43615‐2714
REICHERT JR, WILLIAM M                 26804 CASTAWAY CIR                                                                                 MILLSBORO         DE    19966‐5978
REICHERT, ADOLPH                       16017 VERGI CT                                                                                     CLINTON TWP       MI    48038‐4180
REICHERT, ADRIANNA                     26804 CASTAWAY CIR                                                                                 MILLSBORO         DE    19966‐5978
REICHERT, ADRIANNA                     367 MAJESTY GLN                                                                                    GLEN BURNIE       MD    21061‐6233
REICHERT, CHERYL A                     850 E CLARKSTON RD                                                                                 LAKE ORION        MI    48362‐3815
REICHERT, DEBORAH J                    3343 WALTAN RD                                                                                     VASSAR            MI    48768‐8902
REICHERT, DENNIS                       9 TRESTLE VW                                                                                       SALISBURY MILLS   NY    12577‐5328
REICHERT, DENNIS A                     2546 E BROOKWOOD CT                                                                                PHOENIX           AZ    85048‐9213
REICHERT, DONALD R                     161 DEVON DR                                                                                       WEST DEPTFORD     NJ    08096‐5032
REICHERT, FRANCES M                    G‐4444 WEST CT ST                APT 1202                                                          FLINT             MI    48532
REICHERT, FRANCIS D                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA    23510‐2212
                                                                        STREET, SUITE 600
REICHERT, FRANK                        RTE 3 BOX 106                    813 HITCHCOCK                                                     ROSCOMMON         MI    48653
REICHERT, FREDERICK K                  850 E CLARKSTON RD                                                                                 LAKE ORION        MI    48362‐3815
REICHERT, HEINRICH F                   28265 WALKER AVE                                                                                   WARREN            MI    48092‐2542
REICHERT, JOHN D                       3343 WALTAN RD                                                                                     VASSAR            MI    48768‐8902
REICHERT, JOHN K                       12651 OLD BIG TREE RD                                                                              EAST AURORA       NY    14052‐9525
REICHERT, KATHLEEN J                   3181 VEZBER DR                                                                                     SEVEN HILLS       OH    44131‐6217
REICHERT, KENNETH F                    5627 DAVISON RD                                                                                    LAPEER            MI    48446
REICHERT, KURT J                       21171 MASTERS DR                                                                                   MACOMB            MI    48044‐1362
REICHERT, LARRY                        WISE & JULIAN                    156 N MAIN ST STOP 1                                              EDWARDSVILLE      IL    62025‐1972
REICHERT, LYDIA                        34431 SPRING VALLEY DR                                                                             WESTLAND          MI    48185‐1453
REICHERT, MERLE J                      13203 DUNLAP RD                                                                                    LA SALLE          MI    48145‐9709
REICHERT, NICHOLAS J                   305 FLORA AVE                                                                                      NEW CARLISLE      OH    45344‐1328
REICHERT, PAUL E                       5897 WILLIAMS LAKE RD                                                                              WATERFORD         MI    48329‐3278
REICHERT, PAUL E                       5040 ORION RD                                                                                      ROCHESTER         MI    48306‐2542
REICHERT, PAUL R                       126 E. DAVENHAVER ST                                                                               EAST SYRACUSE     NY    13057
REICHERT, ROBERT T                     711 12TH STREET                                                                                    CAMPBELL          OH    44405‐4405
REICHERT, SANDRA L                     2048 KAHALA DR                                                                                     HOLIDAY           FL    34691‐3608
REICHERT, THOMAS                       600 CORPORATE PARK DR                                                                              SAINT LOUIS       MO    63105‐4204
REICHERT, TIMOTHY S                    1425 AMBROSE RD                                                                                    WARSAW            KY    41095‐9236
REICHERT, WILLIAM A                    680 STATION TRL                                                                                    DAWSONVILLE       GA    30534‐8642
REICHERT, WILLIAM R                    9116 N LATSON RD                                                                                   HOWELL            MI    48855‐9228
REICHHOLD INC                          C/O DAVID FLYNN                  PHILLIPS LYTLE LLP            3400 HSBC CENTER                    BUFFALO           NY    14203
REICHHOLD, INC.                        C/O DAVID FLYNN                  PHILLIPS LYTLE LLP            3400 HSBC CENTER                    BUFFALO           NY    14203
REICHLE AUTO PARTS INC                 1480 S RANGE RD                                                                                    SAINT CLAIR       MI    48079‐2705
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Name                              Address1                          Address2                           Address3                 Address4         City               State Zip
REICHLE DONNA                     1120 N HARRISON ST                                                                                             ARLINGTON           VA 22205‐2433
REICHLE, ALLEN J                  1847 KENDRICK ST                                                                                               SAGINAW             MI 48602‐1185
REICHLE, JOHN R                   3851 HUMMER LAKE RD                                                                                            ORTONVILLE          MI 48462‐9788
REICHLE, KATIE M                  105 WAYSIDE CIRCLE                                                                                             HAMILTON            OH 45013‐6392
REICHLER,BRION                    PO BOX 500                                                                                                     BRONX               NY 10469‐0500
REICHNER, DOUGLAS L               1020 MURPHY RD                                                                                                 SEVIERVILLE         TN 37862‐4824
REICHNER, PAUL D                  5900 SPRINGBORN RD                                                                                             CHINA               MI 48054‐3908
REICHOLD, FERN E                  8125 MARIO ST                                                                                                  COMMERCE TWP        MI 48382‐2357
REICHOW, RICHARD D                18971 KNOLL LANDING DR                                                                                         FORT MYERS          FL 33908‐4759
REICHSTETTER, EDWARD F            1735 PATTENGILL AVE                                                                                            LANSING             MI 48910‐1112
REICHWEIN JACK                    6791 VERDE RIDGE DR 18‐F                                                                                       CINCINNATI          OH 45247
REICHWEIN, RONALD F               238 BISHOP DR                                                                                                  MACEDONIA           OH 44056‐1515
REICK, DANIEL J                   501 E CUSHMAN ST                                                                                               THREE RIVERS        MI 49093
REICK, KATHRYN L                  54974 BUCKHORN ROAD                                                                                            THREE RIVERS        MI 49093‐9623
REICKS SAGGES                     32155 CENTER RIDGE RD                                                                                          NORTH RIDGEVILLE    OH 44039‐2446
REID                              425 WEST GRAND AVE                                                                                             DAYTON              OH 45405
REID & NANCY NELSON               21 PINTWOOD AVE                                                                                                EAST GREEN BUSH     NY 12061
REID & NANCY NELSON               21 PINEWOOD AVE                                                                                                EAST GREENBUSH      NY 12061
REID & REID                       ATTN: DANIEL J REID               821 W MILWAUKEE ST                                                           DETROIT             MI 48202‐2947
REID AND REIGE, P.C.              ATTY FOR BARNES GROUP INC.        ATT: CAROL A. FELICETTA, ESQ.      195 CHURCH STREET                         NEW HAVEN           CT 06510
REID BAXTER                       8520 SHARP RD                                                                                                  SWARTZ CREEK        MI 48473‐9202
REID BEAUCHAMP                    396 LEHIGH AVE                                                                                                 PONTIAC             MI 48340‐1943
REID BONNIE                       3102 WILBER AVE                                                                                                FLUSHING            MI 48433‐2353
REID CHARLES                      2806 PINCKARD AVE                                                                                              REDONDO BEACH       CA 90278‐1535
REID CLAUDE (507587)              COON BRENT W                      PO BOX 4905                                                                  BEAUMONT            TX 77704‐4905
REID CLIFF                        1330 KING HENRY CT                                                                                             RENO                NV 89503‐3519
REID COREY                        8818 NORMAN AVE                                                                                                LIVONIA             MI 48150‐3300
REID CORY                         1439 E BLUE RIDGE CT                                                                                           PHOENIX             AZ 85086‐5312
REID DAVID E (447207)             CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                             CLEVELAND           OH 44115
                                  GAROFOLI                          FL
REID ENGLICIA D                   39104 COMMONS DR                                                                                               ROMULUS            MI 48174‐5309
REID ERIN                         REID, ERIN                        23277 VENTURA BLVD                                                           WOODLAND HILLS     CA 91364‐1002
REID ERNEST B (346655)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA 23510
                                                                    STREET, SUITE 600
REID ESTATE OF WILLIAM M          2233 KING ST                                                                                                   SAGINAW            MI   48602‐1218
REID FREDERICK                    2927 S 12TH AVE                                                                                                BROADVIEW          IL   60155‐4840
REID GEORGE F (511757)            DONALDSON & BLACK                 208 W WENDOVER AVE                                                           GREENSBORO         NC   27401‐1307
REID GIBBONS, WILLA L             155 W. BROWN RD.                  APT. 147                                                                     MESA               AZ   85201
REID GIBBONS, WILLA L             155 W BROWN RD APT 147                                                                                         MESA               AZ   85201‐3469
REID HAINES                       6880 LONG HWY                                                                                                  EATON RAPIDS       MI   48827‐8321
REID HAINES                       6877 PINCH HWY                                                                                                 POTTERVILLE        MI   48876‐8726
REID I I I, FRANK A               4367 W ORCHARD HILL DR                                                                                         BLOOMFIELD         MI   48304‐3260
REID I I, SIMON J                 595 HOGARTH AVE                                                                                                WATERFORD          MI   48328‐4124
REID II, SIMON J                  595 HOGARTH AVENUE                                                                                             WATERFORD          MI   48328‐4124
REID III, DAVID                   C/O THORNTON & NAUMES LLP         100 SUMMER STREET 30TH FLOOR                                                 BOSTON             MA   02110
REID JAMES                        2200 TYSON ST                                                                                                  RALEIGH            NC   27612‐5114
REID JAMES (ESTATE OF) (489201)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                NORTHFIELD         OH   44067
                                                                    PROFESSIONAL BLDG
REID JOHANNSEN                    8107 NE 98TH TIER                                                                                              KANSAS CITY        MO   64157‐7840
REID JOHN H (400740)              ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                          NEW YORK           NY   10006‐1638
REID JOSEPH M                     GLASSER & GLASSER                 CROWN CENTER                       580 E MAIN STE STE 600                    NORFOLK            VA   23510
REID JR, AARON                    320 W IROQUOIS RD                                                                                              PONTIAC            MI   48341‐1537
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Name                               Address1                          Address2                      Address3     Address4         City                  State Zip
REID JR, CLIFTON                   7419 BRACKENWOOD DR                                                                           INDIANAPOLIS           IN 46260‐5443
REID JR, EARL W                    128 N GRANT ST                                                                                PORTLAND               MI 48875‐1468
REID JR, EDWARD L                  305 TOULON CT                                                                                 FAIRVIEW HEIGHTS        IL 62208‐3703
REID JR, FRANK                     2204 STANHOPE ST                                                                              GROSSE POINTE WOODS    MI 48236‐1976
REID JR, ISAIAH                    14886 MONTE VISTA ST                                                                          DETROIT                MI 48238‐1623
REID JR, JAMES C                   101 RIP VAN DAM CT                                                                            BELLE MEAD             NJ 08502‐4101
REID JR, KIRK M                    7543 RED FOX TRL                                                                              HUDSON                 OH 44236‐1923
REID JR, MATTIE                    4233 W JACKSON BLVD                                                                           CHICAGO                 IL 60624‐2646
REID JR, ROBERT                    5 HAMPTON TOWNE ST                                                                            SOUTHFIELD             MI 48075‐3404
REID JR, ROBERT P                  1108 WARBURTON DR                                                                             TROTWOOD               OH 45426‐2239
REID JR, WILLIAM                   35 MAINVIEW CT                                                                                RANDALLSTOWN           MD 21133‐4301
REID KEN                           LAW OFFICES OF PETER G. ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                    BALTIMORE              MD 21201
REID KENNETH (406453)              ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                  BALTIMORE              MD 21202
                                                                     CHARLES CENTER 22ND FLOOR
REID LANSFORD ADRIAN (ESTATE OF)   SHRADER JUSTIN                    16903 RED OAK DR STE 220                                    HOUSTON                TX   77090‐3916
(487277)
REID LARRY L                       4985 LEON RD                                                                                  ANDOVER               OH    44003‐9441
REID LEMHERR                       157 LANTERN LANE                                                                              CHAMBERSBURG          PA    17201
REID MACHINERY INC                 3030 MARTIN LUTHER KING JR BLV                                                                LANSING               MI    48910
REID MARY                          36 HASKELL AVE                                                                                SOUTH PORTLAND        ME    04106‐4112
REID MICHAEL                       N10836 BLUNDER ROAD                                                                           BESSEMER              MI    49911‐9695
REID PETERSEN                      6654 STRICKLAND SPRINGS RD                                                                    MARSHALL              TX    75672‐5934
REID ROBERT (459279)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA    23510
                                                                     STREET, SUITE 600
REID ROBERT K                      4141 N TERRITORIAL RD E                                                                       ANN ARBOR             MI    48105‐9526
REID SCOTT                         REID, SCOTT                       1020 RAINTREE DRIVE                                         APOLLO                PA    15613‐7605
REID SCOTT                         2101 WORTON BLVD                                                                              WEST MIFFLIN          PA    15122‐3534
REID SPENCER                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS            OH    44236
REID SR, MICHAEL E                 429 FENTON ST APT A                                                                           NILES                 OH    44446‐2300
REID SUPPLY COMPANY                2265 BLACK CREEK RD                                                                           MUSKEGON              MI    49444‐2673
REID SWAFFORD JR                   108 SUMMITT DR                                                                                COLUMBIA              TN    38401‐6158
REID TOOL SUPPLY CO                2265 BLACK CREEK RD               PO BOX 179                                                  MUSKEGON              MI    49444‐2673
REID VIRGIL G (358767)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA    23510
                                                                     STREET, SUITE 600
REID WALKER                        C/O COONEY & CONWAY               120 N LA SALLE 30TH FL                                      CHICAGO               IL    60602
REID, ALBERT R                     3189 FARNSWORTH RD                                                                            LAPEER                MI    48446‐8721
REID, ALICE A                      9134 NEFF RD                                                                                  CLIO                  MI    48420‐1676
REID, ALMA R                       2433 TAM‐O‐SHANTER RD                                                                         KOKOMO                IN    46902
REID, ALWYN W                      5921 2 MILE RD                                                                                BAY CITY              MI    48706‐3183
REID, ANGEL M                      3315 EARLHAM DR                                                                               DAYTON                OH    45406‐4216
REID, ANNE E                       7679 SEDDON DR                                                                                DUBLIN                OH    43016‐9583
REID, ANNIE E                      1253 N 35TH                                                                                   E ST LOUIS            IL    62204‐3066
REID, ANNIE E                      1253 N 35TH ST                                                                                EAST SAINT LOUIS      IL    62204‐3066
REID, ANTONIO B                    16835 GLASTONBURY RD                                                                          DETROIT               MI    48219‐4109
REID, BARBARA S                    PO BOX 164                                                                                    STEPHENSON            MI    49887
REID, BARBARA S                    PO BOX 164                        N 115 BARTELL ST.                                           STEPHENSON            MI    49887‐0164
REID, BARRY A                      416 MEADOW CREEK DRIVE                                                                        MANSFIELD             TX    76063‐5921
REID, BARRY ALLEN                  416 MEADOW CREEK DRIVE                                                                        MANSFIELD             TX    76063‐5921
REID, BERNICE                      8331 S KERFOOT                                                                                CHICAGO               IL    60620‐1931
REID, BERNICE T                    109 LOWE CIR                                                                                  CLINTON               MS    39056‐5714
REID, BERTHA L                     305 TOULON CT                                                                                 FAIRVIEW HEIGHTS      IL    62208‐3703
REID, BEVERLY                      5580 COLONY LN                                                                                HOOVER                AL    35226‐5057
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Name                   Address1                          Address2                          Address3   Address4         City              State Zip
REID, BEVERLY          13300 VILLAGE PARK DR APT 2069                                                                  SOUTHGATE          MI 48195‐2741
REID, BILLY F          100 DAYTON WAY                                                                                  COVINGTON          GA 30016‐6692
REID, BONNIE L         3102 WILBER AVE                                                                                 FLUSHING           MI 48433‐2353
REID, BONNIE S         2076 MILES RD                                                                                   LAPEER             MI 48446‐8080
REID, BRIAN W          2275 DRY CREEK RD                                                                               PINSON             TN 38366‐1768
REID, BULAH L          3115 N LINDEN RD                                                                                FLINT              MI 48504‐1769
REID, C M              1085 FOX HILL DR                                                                                INDIANAPOLIS       IN 46228
REID, CARL             8770 W OUTER DR                                                                                 DETROIT            MI 48219‐3589
REID, CECELIA A        1042 MEADOW DR                                                                                  BEAVERCREEK        OH 45434‐7032
REID, CEDRITA S        5281 AUTUMN RUN DR                                                                              POWDER SPRINGS     GA 30127‐5526
REID, CHARLES          COLOM LAW FIRM                    605 2ND AVE N                                                 COLUMBUS           MS 39701‐4513
REID, CHARLES K        13775 SW 48TH CT                                                                                OCALA              FL 34473‐2063
REID, CHARLES T        760 MOFF DR                                                                                     COLUMBIAVILLE      MI 48421‐9735
REID, CHARLES W        510 WESTERHAM CT                                                                                LOUISVILLE         KY 40222‐5034
REID, CHARLES W        634 N CASS AVE                                                                                  VASSAR             MI 48768‐1425
REID, CHARLES W        11483 LIBERTY ST                                                                                CLIO               MI 48420‐1403
REID, CHARLOTTE A      3201 AMELIA AVE                                                                                 FLUSHING           MI 48433‐2305
REID, CHARLOTTE P      6536 LONDON ST                                                                                  DETROIT            MI 48221‐2687
REID, CHERYL L         8832 NEST WAY                                                                                   INDIANAPOLIS       IN 46231‐5233
REID, CHERYL T         APT 1                             76 HASECO AVENUE                                              PORT CHESTER       NY 10573‐3976
REID, CHERYL T         76 HASECO AVE                                                                                   PORT CHESTER       NY 10573
REID, CLAUDE           COON BRENT W                      PO BOX 4905                                                   BEAUMONT           TX 77704‐4905
REID, CLAUDE           256 STONEGATE RD                                                                                BOLINGBROOK         IL 60440‐3605
REID, CLAYBOURNE M     9 MATTHEWS CT                                                                                   GLENDALE           OH 45246‐3737
REID, CLIFFORD L       1330 KING HENRY CT                                                                              RENO               NV 89503‐3519
REID, DANE L           916 FINDLAY ST                                                                                  PERRYSBURG         OH 43551‐1671
REID, DANIELLE M       624 N HARVEY ST                                                                                 WESTLAND           MI 48185‐3441
REID, DANIELLE MARIE   624 N HARVEY ST                                                                                 WESTLAND           MI 48185‐3441
REID, DARREL E         3357 TAVERNEE CT                                                                                LITTLE RIVER       SC 29566‐7627
REID, DARYL E          425 PINE WAY DR                                                                                 GLEN BURNIE        MD 21060‐8273
REID, DAVID A          2022 ALEXANDRIA PL                                                                              JANESVILLE         WI 53548‐3402
REID, DAVID A          15144 PENROD ST                                                                                 DETROIT            MI 48223‐2360
REID, DAVID A          6243 PINECROFT DR                                                                               WEST BLOOMFIELD    MI 48322‐2242
REID, DAVID D          23565 NILAN DR                                                                                  NOVI               MI 48375
REID, DAVID D          8200 PINES RD APT 1207                                                                          SHREVEPORT         LA 71129‐4424
REID, DAVID E          CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND          OH 44115
                       GAROFOLI                          FL
REID, DAVID L          2076 MILES RD                                                                                   LAPEER            MI   48446‐8080
REID, DELMER C         625 MONTICELLO AVE                                                                              DAYTON            OH   45404‐2423
REID, DELORES          4317 W 145TH ST                                                                                 CLEVELAND         OH   44135‐2061
REID, DENNIS A         103 LAKE SHORE DR 12                                                                            WISCONSIN DELLS   WI   53965
REID, DIANE C          727 ZENITH ST                                                                                   BELLE FOURCHE     SD   57717
REID, DONALD E         2636 LYDIA ST SW                                                                                WARREN            OH   44481‐9622
REID, DONALD F         1175 MERRY RD                                                                                   WATERFORD         MI   48328‐1236
REID, DONALD J         1175 MERRY RD                                                                                   WATERFORD         MI   48328‐1236
REID, DONALD R         9272 N LEWIS RD                                                                                 CLIO              MI   48420‐9772
REID, DONALD RAY       9272 N LEWIS RD                                                                                 CLIO              MI   48420‐9772
REID, DONALD T         459 PRENTIS ST APT 412                                                                          DETROIT           MI   48201‐1262
REID, DONALD T         459 PRENTIS                       APT 412                                                       DETORIT           MI   48201
REID, DONALD WILLIAM   17174 WEST NELSON DRIVE                                                                         SURPRISE          AZ   85387‐7283
REID, DORIS A          320 CENTER ST                                                                                   FARMINGTON        MO   63640‐2422
REID, DOUGLAS C        3012 RIVER RD                                                                                   DECATUR           GA   30034‐4709
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Name                    Address1                         Address2                      Address3   Address4         City                  State Zip
REID, DOUGLAS Q         999 N RIDGE RD                                                                             CANTON                 MI 48187‐4631
REID, DUANE A           15478 KNOBHILL DR                                                                          LINDEN                 MI 48451‐8716
REID, DUANE A           4517 CANTERBURY AVE                                                                        KALAMAZOO              MI 49006‐2608
REID, DUANE ARTHUR      15478 KNOBHILL DR                                                                          LINDEN                 MI 48451‐8716
REID, DUANE F           6080 LAWRENCE HWY                                                                          CHARLOTTE              MI 48813‐9553
REID, E B               1307 W TREMONT ST                                                                          URBANA                  IL 61801‐1341
REID, EBBIE M           714 WATTERMAN STREET                                                                       MINDEN                 LA 71055‐4124
REID, EDITH C           532 SI DIAMOND ST                                                                          MANSFIELD              OH 44902‐7003
REID, EDITH C           532 S DIAMOND ST                                                                           MANSFIELD              OH 44902‐7003
REID, EDWARD A          PO BOX 365                                                                                 ALLENTOWN              NJ 08501‐0365
REID, EDWARD J          11721 HAWTHORNE GLEN DR                                                                    GRAND BLANC            MI 48439‐1381
REID, EDWARD L          1814 W HOME AVE                                                                            FLINT                  MI 48504‐1687
REID, EDWARD L          16903 BAYLIS ST                                                                            DETROIT                MI 48221‐3104
REID, EDWARD N          2752 WENTWORTH AVE                                                                         DAYTON                 OH 45406‐1640
REID, EILEEN            4773 CORNELL ST                                                                            SPRINGFIELD            OH 45503‐5986
REID, EILEEN W          1520 CARDINGTON RD                                                                         DAYTON                 OH 45409‐1745
REID, ELIZABETH         5430 FROVAN PL                                                                             SAGINAW                MI 48638‐5571
REID, ELLA M            PO BOX 10275                                                                               CLEVELAND              OH 44110‐0275
REID, EMERALD T         21200 COUNTY ROAD 628                                                                      HILLMAN                MI 49746‐9577
REID, EMMA J            3281 E JOHNSON RD                                                                          LAKE CITY              MI 49651‐9736
REID, EMMA J            3281 JOHNSON RD                                                                            LAKE CITY              MI 49651‐9736
REID, EMMA JEAN         1223 OAK ST                                                                                FLINT                  MI 48503‐3727
REID, ERIN              STARR, ROBERT L                  23277 VENTURA BLVD                                        WOODLAND HILLS         CA 91364‐1002
REID, ERNA M            1363 EDMUNDTON DR                                                                          GROSSE POINTE WOODS    MI 48236‐1026
REID, ERNEST B          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA 23510‐2212
                                                         STREET, SUITE 600
REID, ERNEST L          8765 OKATIBBEE DAM RD                                                                      COLLINSVILLE          MS   39325‐8938
REID, ERNIE R           110 ROBIN RD                                                                               FARMERVILLE           LA   71241‐5743
REID, ESTHER L          1814 W HOME AVE                                                                            FLINT                 MI   48504‐1687
REID, ETHLYN L          630 E BISHOP AVE                                                                           FLINT                 MI   48505‐3346
REID, EUGENE            17300 SANTA BARBARA DR                                                                     DETROIT               MI   48221‐2527
REID, EUGENE            101 BIG HORN RD                                                                            GRIFFIN               GA   30223‐1505
REID, EUGENE D          14519 NORTH RD                                                                             FENTON                MI   48430‐1383
REID, EUNICE            4675 S.MICHELLE                                                                            SAGINAW               MI   48601‐6632
REID, EVELYN C          2823 PRINCETON DR                                                                          DAYTON                OH   45406‐4341
REID, FANNIE M          1208 W STEWART AVE                                                                         FLINT                 MI   48504‐2278
REID, FLORIDA           26313 NOTRE DAME ST                                                                        INKSTER               MI   48141‐2656
REID, FLOSSIE M         18960 WISCONSIN ST                                                                         DETROIT               MI   48221‐2067
REID, FRANK R           4807 STANTON RD                                                                            OXFORD                MI   48371‐5522
REID, FRANK W           5728 WOODLAND VW                                                                           CLARKSTON             MI   48346‐2637
REID, FREDERICK         2927 S 12TH AVE                                                                            BROADVIEW             IL   60155‐4840
REID, FREEDA            301 ALABAMA AVE NE                                                                         HANCEVILLE            AL   35077‐5630
REID, GARLAND L         121 ELMWOOD RD                                                                             WINCHESTER            VA   22602‐4406
REID, GARVICE C         1 CHUDLEIGH CT                                                                             PIKESVILLE            MD   21208‐6400
REID, GARY F            1146 W BOATFIELD AVE                                                                       FLINT                 MI   48507‐3608
REID, GARY FITZGERALD   1146 W BOATFIELD AVE                                                                       FLINT                 MI   48507‐3608
REID, GARY L            5074 ASSYRIA RD                                                                            NASHVILLE             MI   49073‐9704
REID, GAYLE M           1738 MIDDLE AVE                                                                            ELYRIA                OH   44035‐7829
REID, GENE J            215 W SOUTH ST APT D10                                                                     DAVISON               MI   48423‐1582
REID, GENERAL L         370 JENNINGS RD                                                                            SEVERNA PARK          MD   21146‐1802
REID, GEORGE F          DONALDSON & BLACK                208 W WENDOVER AVE                                        GREENSBORO            NC   27401‐1307
REID, GEORGE Y          130 BOCA LAGOON DR                                                                         PANAMA CITY BEACH     FL   32408‐5100
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Name                  Address1                          Address2           Address3        Address4         City              State Zip
REID, GEORGIA         11 CHILTERN RD                                                                        ROCHESTER          NY 14623‐4315
REID, GEORGIA L       1249 W 26 ST                                                                          INDIANAPOLIS       IN 46208
REID, GEORGIA L       1249 W 26TH ST                                                                        INDIANAPOLIS       IN 46208‐5352
REID, GERALD H        142 S WINDING DR                                                                      WATERFORD          MI 48328‐3563
REID, GERALDINE       1430 JOHNS CT                                                                         OXFORD             MI 48371‐5934
REID, GERALDINE       1430 JOHNS COURT                                                                      OXFORD             MI 48371‐5934
REID, GLADYS          2650 NORMONT CT                                                                       DAYTON             OH 45414‐5033
REID, GLADYS M        4395 MAPLEWOOD MEADOWS AVE                                                            GRAND BLANC        MI 48439‐8699
REID, GLEN J          562 W 900 N                                                                           UNIONDALE          IN 46791‐9723
REID, GLORIA J        2658 LEXINGTON AVE NW                                                                 WARREN             OH 44485‐1532
REID, GLORIA J        2889 GRETCHEN DR NE                                                                   WARREN             OH 44483‐2925
REID, GOLDEN E        170 N KARLE ST                                                                        WESTLAND           MI 48185‐3408
REID, GRACE E         PO BOX 501                        8425 ATWOOD ST                                      MILLINGTON         MI 48746‐0501
REID, GREGORY ALLEN
REID, GROVER C        PO BOX 18296                      305 POLK                                            RIVER ROUGE       MI   48218‐0296
REID, GUY W           3139 POPLAR HILL RD                                                                   LIVONIA           NY   14487‐9321
REID, HELEN A         400 BAINBRIDGE RD                                                                     OKLAHOMA CITY     OK   73114‐7632
REID, HELEN M         336 ELDORADO CIRCLE                                                                   SEYMOUR           TN   37865
REID, HELEN M         2038 WALDEN CT                                                                        FLINT             MI   48532
REID, HELEN M         2038 WALDEN CT.                                                                       FLINT             MI   48532‐2421
REID, HERBERT         271 SCHUELE AVE                                                                       BUFFALO           NY   14215‐3732
REID, HOWARD          526 WORDEN ST SE                                                                      GRAND RAPIDS      MI   49507‐1250
REID, INGE            870 MIDDLE RD S                                                                       LEESBURG          GA   31763‐3438
REID, INGE            870 MIDDLE RD                                                                         LEESBURG          GA   31763‐3438
REID, ISABEL          6761 CHARLESWORTH                                                                     DEARBORN HGTS     MI   48127‐3954
REID, ISABEL          6761 N CHARLESWORTH ST                                                                DEARBORN HTS      MI   48127‐3954
REID, ISABELLE        3103 S WASHINGTON AVE                                                                 SAGINAW           MI   48601‐4356
REID, ISABELLE        3103 S. WASHINGTON                                                                    SAGINAW           MI   48601‐4356
REID, IZORA           812 FAIRFAX ST                                                                        YOUNGSTOWN        OH   44505‐3912
REID, JACKLYN         68 5TH AVE                                                                            NORTH TONAWANDA   NY   14120
REID, JACQUELINE      3934 FAWN DR                                                                          ROCHESTER         MI   48306‐1031
REID, JACQUELINE J    567 CEDARHURST AVE                                                                    DAYTON            OH   45407‐1511
REID, JAMES E         1103 CLAYTON AVE                                                                      NASHVILLE         TN   37204‐2912
REID, JAMES E         57 DECKER ST                                                                          BUFFALO           NY   14215‐3222
REID, JAMES E         4520 LAWRENCE RD                                                                      NASHVILLE         MI   49073‐9216
REID, JAMES HOWARD    1357 RENSLAR AVE                                                                      DAYTON            OH   45432‐3130
REID, JAMES L         1120 WOODWARD AVE                                                                     KALAMAZOO         MI   49007‐2351
REID, JAMES M         4925 CONCORDIA CIR                                                                    KETTERING         OH   45440‐2111
REID, JAMES S         1878 COLONIAL VILLAGE WAY APT 3                                                       WATERFORD         MI   48328‐1961
REID, JAMES W         251 ELMDORF AVE                                                                       ROCHESTER         NY   14619‐1821
REID, JAMES W         468 COTTAGE ST                                                                        ROCHESTER         NY   14611
REID, JAN K           2296 WICK ST SE                                                                       WARREN            OH   44484‐5439
REID, JANE A          2895 BRIDGESTONE CIR                                                                  KOKOMO            IN   46902‐7007
REID, JEANETTE E      15144 PENROD ST                                                                       DETROIT           MI   48223‐2360
REID, JEROLD A        410 ADAWAY AVE SE                                                                     ADA               MI   49301‐7834
REID, JESSIE          PORTER & MALOUF PA                4670 MCWILLIE DR                                    JACKSON           MS   39206‐5621
REID, JOE L JR        3315 EARLHAM DR                                                                       DAYTON            OH   45406‐4216
REID, JOHN            PORTER & MALOUF PA                4670 MCWILLIE DR                                    JACKSON           MS   39206‐5621
REID, JOHN A          7175 S HEMLOCK LN                                                                     MOUNT MORRIS      MI   48458‐9489
REID, JOHN A          7340 CRYSTAL LAKE DR APT 11                                                           SWARTZ CREEK      MI   48473‐8960
REID, JOHN A          10610 WILKINSON RD                                                                    LENNON            MI   48449‐9689
REID, JOHN D          5931 THE KNOLS                                                                        LINCOLN           NE   68512
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Name                    Address1                         Address2                    Address3   Address4         City           State Zip
REID, JOHN E            PO BOX 518                                                                               STOCKBRIDGE     MI 49285‐0518
REID, JOHN F            412 BIRDS NEST LN                                                                        MASON           MI 48854‐1150
REID, JOHN F            491 HIGHLAND AVE                                                                         SALEM           OH 44460‐1801
REID, JOHN H            ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                     NEW YORK        NY 10006‐1638
REID, JOHN L            322 COOL SPRINGS RD                                                                      STONEWALL       MS 39363‐9717
REID, JOHN W            2899 E WILDERMUTH RD                                                                     OWOSSO          MI 48867‐8603
REID, JOHN W            2422 BIRCH DR                                                                            KAWKAWLIN       MI 48631‐9761
REID, JOHNNIE O         1610 LINCOLNSHIRE DR                                                                     DETROIT         MI 48203‐1411
REID, JOSEPHINE         11019 BASQUIN CT.                                                                        PORT RICHEY     FL 34668‐2302
REID, JOSEPHINE         3417 BARBEE DR                                                                           DAYTON          OH 45406‐1106
REID, JOSEPHUS          2026 GLENDALE DR                                                                         DECATUR         GA 30032‐5806
REID, JOYCE M           2752 WENTWORTH AVE                                                                       DAYTON          OH 45406‐1640
REID, JR,WILLIAM E      12071 AIR HILL RD                                                                        BROOKVILLE      OH 45309‐9363
REID, JUNE              3422 ADA DR                                                                              BAY CITY        MI 48706
REID, JUNE L.           705 PALACE COURT                                                                         FERGUSON        MO 63135‐1748
REID, JUNE L.           705 PALACE CT                                                                            FERGUSON        MO 63135‐1748
REID, JUWON E           166 W 151ST ST APT 225                                                                   HARVEY           IL 60426
REID, JUWON E           18558 ROYALTON RD APT 201                                                                STRONGSVILLE    OH 44136‐5162
REID, KAREN JONES       26560 KENDALL CT                                                                         REDFORD         MI 48239‐2912
REID, KAREN L           5869 YOUNGSTOWN HUBBARD ROAD                                                             HUBBARD         OH 44425
REID, KATHERINE         2221 SOUTH 25TH AVE                                                                      BROADVIEW        IL 60155
REID, KATIE B           440 LIGHT TOWER CT                                                                       BELLEVILLE      MI 48111‐4475
REID, KENNETH           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE       MD 21202
                                                         CHARLES CENTER 22ND FLOOR
REID, KENNETH D         2422 BONNIE BRAE RD                                                                      CUMMING        GA   30041‐7000
REID, KENNETH E         18444 FITZPATRICK CT B22                                                                 DETROIT        MI   48228
REID, KILEY R           8821 SPRING FOREST DR                                                                    FORT WAYNE     IN   46804‐6444
REID, KILEY R           8916 SPRING FOREST DR                                                                    FORT WAYNE     IN   46804‐6445
REID, KIM L             1233 MIDWAY AVE                                                                          COLUMBUS       OH   43207‐3222
REID, KYLE W            13547 PIKE 271                                                                           LOUISIANA      MO   63353‐3857
REID, LANSFORD ADRIAN   SHRADER JUSTIN                   16903 RED OAK DR STE 220                                HOUSTON        TX   77090‐3916
REID, LARRY W           4721 E MOORESTOWN RD                                                                     LAKE CITY      MI   49651‐9440
REID, LESTER G          2497 SW 163RD AVE                                                                        MIRAMAR        FL   33027‐4429
REID, LETA M            7309 LARSON AVE.                                                                         KANSAS CITY    MO   64133
REID, LILLIAN           15361 ROBSON ST                                                                          DETROIT        MI   48227‐2636
REID, LINDA D           32 MURPHY AVE APT 10A                                                                    PONTIAC        MI   48341
REID, LINDA L           8689 N BLACK OAK DR                                                                      EDGERTON       WI   53534‐8637
REID, LINTON G          105 SPOTTED FAWN RD.                                                                     MADISON        AL   35758‐5758
REID, LONNIE            7558 KINGSPORT RD                                                                        INDIANAPOLIS   IN   46256
REID, LONNIE E          1204 SHORTS DR                                                                           FLATWOODS      KY   41139‐1602
REID, LORRAINE          2213 S SHERIDAN                                                                          BAY CITY       MI   48708‐8178
REID, LOU               2626 W. 85TH ST.                                                                         CHICAGO        IL   60652‐3916
REID, LOU               2626 W 85TH ST                                                                           CHICAGO        IL   60652‐3916
REID, LUD E             2823 PRINCETON DR                                                                        DAYTON         OH   45406‐4341
REID, MALONE            2233 KING ST                                                                             SAGINAW        MI   48602‐1218
REID, MARGARET A        930 COUNTY ROAD 4810                                                                     ATLANTA        TX   75551‐8422
REID, MARGARET V        47251 WOODWARD AVE APT 813                                                               PONTIAC        MI   48342‐5028
REID, MARIAN            929 IOLA CT                                                                              FLUSHING       MI   48433‐1455
REID, MARILYN L         8916 SPRING FOREST DR                                                                    FORT WAYNE     IN   46804‐6445
REID, MARLON D          2003 THOREAU ST                                                                          LOS ANGELES    CA   90047‐4728
REID, MARQUECE D        2760 MOUNTBERY DR                                                                        SNELLVILLE     GA   30039‐8027
REID, MARSHALL L        5928 RICHWATER DR                                                                        DALLAS         TX   75252‐5332
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Name                  Address1                       Address2              Address3       Address4         City                  State Zip
REID, MARTHA N        16781 TURNER ST                                                                      DETROIT                MI 48221‐2977
REID, MARVIN J        1713 CHRISTOPHER DR                                                                  FORT WORTH             TX 76140‐5198
REID, MARVIN JEROME   1713 CHRISTOPHER DR                                                                  FORT WORTH             TX 76140‐5198
REID, MARY E          2829 WOODWAY AVE                                                                     DAYTON                 OH 45405‐2750
REID, MARY H          6080 LAWRENCE HWY                                                                    CHARLOTTE              MI 48813‐9553
REID, MARY L          APT 3                          320 DEGEORGE CIRCLE                                   ROCHESTER              NY 14626‐4833
REID, MATTHEW         20220 FAUST AVE                                                                      DETROIT                MI 48219‐1552
REID, MELVIN L        545 E 12TH ST                                                                        FLINT                  MI 48503‐4055
REID, MELVIN L        3824 MAMMOTH GROVE RD                                                                LAKE WALES             FL 33898‐8537
REID, MELVIN R        PO BOX 557                                                                           LAKE ORION             MI 48361‐0557
REID, MELVIN W        4432 SILVER LAKE RD                                                                  LINDEN                 MI 48451‐8915
REID, MERRITT C       705 PALACE CT                                                                        FERGUSON               MO 63135‐1748
REID, MICHAEL         476 CHESTLEHURST RD                                                                  SENOIA                 GA 30276
REID, MICHAEL A       5881 EAGLE DR                                                                        ALMONT                 MI 48003‐9635
REID, MICHAEL G       11288 EAST NEWBURG ROAD                                                              DURAND                 MI 48429‐9407
REID, MICHAEL J       263 MADELEINE LN                                                                     WATERFORD              MI 48328‐2875
REID, MICHAEL L       8033 CARDIGAN WAY                                                                    SHREVEPORT             LA 71129‐4902
REID, MICHAEL P       18449 TARA DR                                                                        CLINTON TOWNSHIP       MI 48036‐3653
REID, MILDRED         P O BOX 39                                                                           BARBOURVILLE           KY 40906‐0039
REID, MILDRED         PO BOX 39                                                                            BARBOURVILLE           KY 40906‐0039
REID, MILTON H        2960 STURTEVANT ST                                                                   DETROIT                MI 48206‐1137
REID, MORRIS C        136 COLORADO ST                                                                      SPRINGFIELD            MA 01118
REID, NANCY E         2 VILLAGE WAY UNIT 2D                                                                NORTON                 MA 02766
REID, NANCY H         2204 STANHOPE ST                                                                     GROSSE POINTE WOODS    MI 48236‐1976
REID, NATHANIEL H     PO BOX 129                                                                           ROCHELLE               GA 31079‐0129
REID, NEOMI M         251 N PARENT ST                                                                      WESTLAND               MI 48185‐3440
REID, NEOMI M         251 PARENT STREET                                                                    WAYNE                  MI 48185‐3440
REID, NORRIS R        6116 ELMOOR DR                                                                       TROY                   MI 48098‐1895
REID, NORVELL D       103 PRIVATE ROAD 13056                                                               HILLSBORO              TX 76645‐5251
REID, ODIS R          9501 CAMINO CAPISTRANO LN                                                            LAS VEGAS              NV 89147‐8001
REID, OLLIE R         1516 BURT                                                                            SAGINAW                MI 48601‐1968
REID, OLLIE R         1516 BURT ST                                                                         SAGINAW                MI 48601‐1968
REID, PATRICIA L      4738 CALHOUN ST                                                                      INDIANAPOLIS           IN 46203‐3509
REID, PAULETTE M.     708 COUNTY RD #38                                                                    NORFOLK                NY 13667
REID, PEARL E         2120 HAIRSTON ST                                                                     CONWAY                 AR 72034‐3161
REID, PEARLY M        308 CAMPBELL ST                                                                      RIVER ROUGE            MI 48218‐1011
REID, PEGGY C         4740 WHITEOAKS LN                                                                    ARLINGTON              TN 38002‐9354
REID, PEGGY M         55 MURRAY CEMETERY RD                                                                E BERNSTADT            KY 40729‐7071
REID, PHELONESE       251 ELMDORF AVE                                                                      ROCHESTER              NY 14619‐1821
REID, RACHELE L       2730 MILTON ST SE                                                                    WARREN                 OH 44484‐5255
REID, RALPH A         22195 QUAIL RUN CIR UNIT 5                                                           SOUTH LYON             MI 48178‐2604
REID, RALPH A         2335 WATKINS LAKE RD                                                                 WATERFORD              MI 48328‐1441
REID, RALPH D         351 HILLCLIFF DR                                                                     WATERFORD              MI 48328‐2522
REID, RALPH E         68 5TH AVE                                                                           N TONAWANDA            NY 14120‐6618
REID, RAUNUL R        39 MIDFIELD LN                                                                       WILLINGBORO            NJ 08046‐2943
REID, RAUNUL R        19 LARCHMONT PLACE             APT 2301                                              MT LAUREL              NJ 08054
REID, RAUNUL R        2301 LARCHMONT PL                                                                    MOUNT LAUREL           NJ 08054
REID, RAYMOND         11638 IACOPELLI CT                                                                   STERLING HEIGHTS       MI 48312‐2101
REID, RAYMOND C       727 ZENITH ST                                                                        BELLE FOURCHE          SD 57717‐2277
REID, RAYMOND P       9316 WHEELER DR                                                                      ORLAND PARK             IL 60462‐4736
REID, RICARDO A       915 BOSUNS DR                                                                        FORT WAYNE             IN 46819‐2635
REID, RICHARD E       200 N SEYMOUR RD                                                                     FLUSHING               MI 48433‐1533
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Name                   Address1                        Address2                      Address3   Address4         City               State Zip
REID, RICKEY R         2044 N GRANT AVE                                                                          SPRINGFIELD         MO 65803‐1540
REID, RICKY R          11675 KENTUCKY ST                                                                         DETROIT             MI 48204‐1974
REID, RICKY R          6912 ARCHDALE ST                                                                          DETROIT             MI 48228‐4204
REID, ROBERT           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
REID, ROBERT C         41 SUMMERS ST                                                                             LIVONIA            NY   14487‐9711
REID, ROBERT E         PO BOX 208                                                                                ROSWELL            NM   88202‐0208
REID, ROBERT E         514 HOLDEN ST                                                                             SAGINAW            MI   48601‐2521
REID, ROBERT F         3574 CALIFORNIA STREET                                                                    SPRUCE             MI   48762‐9795
REID, ROBERT J         7931 MEDUSA DR                                                                            HUDSON             FL   34667‐1259
REID, ROBERT J         3905 MARIE CT                                                                             LAKE CHARLES       LA   70607
REID, ROBERT K         4141 N TERRITORIAL RD E                                                                   ANN ARBOR          MI   48105‐9526
REID, ROBERT K.        4141 N TERRITORIAL RD E                                                                   ANN ARBOR          MI   48105‐9526
REID, ROBERT L         288 PILGRIM BAPTIST CHURCH RD                                                             WILKESBORO         NC   28697‐7927
REID, ROBERT L         8265 DEERWOOD RD                                                                          CLARKSTON          MI   48348‐4533
REID, RODGER L         2225 ORAN DR                                                                              YOUNGSTOWN         OH   44511
REID, RODNEY L         17440 NADORA ST                                                                           SOUTHFIELD         MI   48076‐7705
REID, ROGER J          6677 MANSON DR                                                                            WATERFORD          MI   48329‐2739
REID, RONALD B         1043 LAPORT AVE                                                                           MOUNT MORRIS       MI   48458‐2557
REID, RONALD G         6220 MARIE AVE                                                                            CINCINNATI         OH   45224‐2141
REID, ROTEN            436 MOORE ST                                                                              PONTIAC            MI   48342‐1961
REID, ROTEN            436 MOORE                                                                                 PONTIAC            MI   48342‐1961
REID, RUSSELL E        1545 SCOTT CREEK DR NE                                                                    BELMONT            MI   49306‐9797
REID, RUSSELL E        4706 NW 91ST ST                                                                           KANSAS CITY        MO   64154‐1581
REID, RUSSELL M        103 S PAUL DR                                                                             SIBLEY             MO   64088‐2500
REID, RUTH M           2926 N 64TH TER                                                                           KANSAS CITY        KS   66104‐1817
REID, RYAN T           18146 HIGHWAY 1                                                                           VIVIAN             LA   71082‐9537
REID, SALLIE E         7155 LUPINE RIDGE LN                                                                      COLLEGE PARK       GA   30349‐4971
REID, SAM              18960 WISCONSIN ST                                                                        DETROIT            MI   48221‐2067
REID, SAMUEL J         3630 GOLF COURSE RD                                                                       SPENCER            VA   24165‐3490
REID, SARAH W          2445 OUSLEY CT                                                                            DECATUR            GA   30032‐6460
REID, SCHERL D         4657 BAND HALL HILL RD                                                                    WESTMINSTER        MD   21158‐1705
REID, SCOTT            1020 RAINTREE DR                                                                          APOLLO             PA   15613‐7605
REID, SHALEEN          APT 113W                        11535 PLAZA DRIVE                                         CLIO               MI   48420‐2132
REID, SHALEEN A.       APT 113W                        11535 PLAZA DRIVE                                         CLIO               MI   48420‐2132
REID, SHARON A         9460 TANGERINE PL APT 405                                                                 DAVIE              FL   33324‐4451
REID, SHEERA D         4621 GREENWICH VILLAGE AVE                                                                DAYTON             OH   45406
REID, SHELBY SEYMOUR   PO BOX 325                                                                                AMITE              LA   70422‐0325
REID, STACY            1421 HUGHES AVE                                                                           FLINT              MI   48503‐3276
REID, SUE E            6436 LEAR NAGLE RD                                                                        N RIDGEVILLE       OH   44039‐3228
REID, TARA B           901 ALICE AVE                                                                             GADSDEN            AL   35903‐2420
REID, TERRY W          2830 NEW CUT RD                                                                           ALVATON            KY   42122‐8644
REID, THEODORE V       2122 ALA ST                                                                               BURTON             MI   48519‐1204
REID, THOMAS L         5180 ABINGTON DR                                                                          TROY               MI   48085‐3400
REID, THOMAS L         147 ROSEMONT AVE                                                                          YOUNGSTOWN         OH   44515‐3220
REID, THOMAS M         1015 S FAYETTE ST                                                                         SAGINAW            MI   48602‐1557
REID, THOMAS R         23565 NILAN DR                  C/O JANE R FOHL                                           NOVI               MI   48375‐3632
REID, TIMOTHY J        69864 BRUSH RD                                                                            NILES              MI   49120‐9792
REID, TINA M           9063 BEATRICE ST                                                                          LIVONIA            MI   48150‐4003
REID, TRACY L          731 SURREY LN                                                                             MAIZE              KS   67101‐9642
REID, TYRONE R         791 FAIRGROVE WAY                                                                         DAYTON             OH   45426‐2210
REID, VAUGHN G         12863 DAILY DR                                                                            STERLING HEIGHTS   MI   48313‐3317
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Name                     Address1                          Address2                      Address3   Address4         City                 State Zip
REID, VERA               1596 HURLBUT                                                                                DETROIT               MI 48214‐4044
REID, VERNICE            25 BRENTWOOD DR                                                                             BLOOMFIELD            CT 06002‐2528
REID, VERNON C           9841 NASHVILLE HWY                                                                          VERMONTVILLE          MI 49096‐9501
REID, VICKIE E           5570 GLEN RIDGE BND                                                                         LITHONIA              GA 30058‐8384
REID, VIRGIE             2992 WALMSLEY CIRCLE                                                                        LAKE ORION            MI 48360‐1646
REID, VIRGIL G           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                           STREET, SUITE 600
REID, VIRGINIA           708 S JEFFERSON AVE                                                                         DU QUOIN             IL   62832‐2411
REID, VIVIAN A           449 KAYMAR DR                                                                               AMHERST              NY   14228‐3060
REID, VIVIAN M           1117 WAMAJO DR                                                                              SANDUSKY             OH   44870
REID, VIVIAN M           1996 FOX RUN TRL                                                                            SANDUSKY             OH   44870‐5101
REID, WANDA M            1105 JEFFERSON PLACE                                                                        BELLINGHAM           MA   02019‐1368
REID, WAYNE S            240 BLYTHE AVE                                                                              LINDEN               MI   48451‐9648
REID, WILBERT J          2362 VALLEY CHURCH DR                                                                       CLIO                 MI   48420‐9740
REID, WILLIAM            1155 DOVER AVE                                                                              AKRON                OH   44320‐3528
REID, WILLIAM A          630 E BISHOP AVE                                                                            FLINT                MI   48505‐3346
REID, WILLIAM E          4868 LORE DR                                                                                WATERFORD            MI   48329‐1641
REID, WILLIAM L          1800 NORTH BLACK ROAD                                                                       TWINING              MI   48766‐9753
REID, WILLIAM M          2233 KING ST                                                                                SAGINAW              MI   48602‐1218
REID, WILLIAM M          4668 ALEXANDER POPE LN                                                                      SARASOTA             FL   34241‐6112
REID, WILLIAM M          1218 HARBOR PONT DR                                                                         DAYTONA BEACH        FL   32127
REID, WILLIAM T          1122 PHILADELPHIA DR                                                                        DAYTON               OH   45402‐5640
REID, WILLIAM T          224 QUICK RD                                                                                NEW CARLISLE         OH   45344‐9218
REID, WILLIE A           PO BOX 2171                                                                                 STONE MOUNTAIN       GA   30086‐2171
REID, WINIFRED N         208 W SILVERLEAF ST                                                                         GREER                SC   29650‐2751
REID,DONALD WILLIAM      459 FAIRFIELD CT                                                                            CANTON               MI   48188‐1075
REID‐COLLINS, LILLIAN    15361 ROBSON ST                                                                             DETROIT              MI   48227‐2636
REID‐GARCIA, ANGELA J    2135 BEECHNUT TRL                                                                           HOLT                 MI   48842‐8761
REID‐SMITH, SANDRA L     51317 PLYMOUTH LAKE CIR                                                                     PLYMOUTH             MI   48170‐6375
REID‐SWINGER, NICOLE A   5570 GLEN RIDGE BND                                                                         LITHONIA             GA   30058‐8384
REIDA WILLIAMS           3801 SEAWAY DRIVE                                                                           LANSING              MI   48911‐1916
REIDA, BILLY J           PO BOX 84                                                                                   SPIVEY               KS   67142‐0084
REIDEL USA INC           2280 N HIX RD                                                                               WESTLAND             MI   48185‐3747
REIDEL, MARVIN T         85 LA VENTA DR                                                                              FLORISSANT           MO   63031‐5221
REIDELBACH, RICHARD D    217 SOMERVILLE RD                                                                           ANDERSON             IN   46011‐1680
REIDELBACH, SHIRLEY      217 SOMERVILLE RD                                                                           ANDERSON             IN   46011‐1680
REIDENBAUGH, GEORGE M    10313 W KINGSWOOD CIR                                                                       SUN CITY             AZ   85351
REIDER JACQUELINE M      912 LOS PINOS WAY                                                                           EL PASO              TX   79912‐1850
REIDER'S AUTO REPAIR     859 BRUSSELLES ST                                                                           SAINT MARYS          PA   15857
REIDER, CAROLYN D        1475 LAKEVIEW DR                                                                            GLADWIN              MI   48624‐9670
REIDER, DAVID M          523 CROWN HILL DR E                                                                         WABASH               IN   46992‐2005
REIDER, DONALD L         PO BOX 292                                                                                  LEAVITTSBURG         OH   44430‐0292
REIDER, JENNIFER M       22417 CAROLINA ST                                                                           SAINT CLAIR SHORES   MI   48080‐3830
REIDER, JENNIFER MARIE   22417 CAROLINA ST                                                                           SAINT CLAIR SHORES   MI   48080‐3830
REIDER, JERRY V          1475 LAKEVIEW DR                                                                            GLADWIN              MI   48624‐9670
REIDER, JIMMIE J         3274 W LAKE DR                                                                              SEARS                MI   49679‐9523
REIDER, JOHN L           1 LIONEL ST                                                                                 CLARK                NJ   07066‐2521
REIDER, JULIA C          PO BOX 292                                                                                  LEAVITTSBURG         OH   44430‐0292
REIDER, LORI A           4035 VALACAMP AVE SE                                                                        WARREN               OH   44484‐3318
REIDER, MICHAEL J        4035 VALACAMP AVE SE                                                                        WARREN               OH   44484‐3318
REIDER, NANCY C          822 FAIRFAX ST                                                                              BIRMINGHAM           MI   48009‐1289
REIDER, NAOMI S.         8045 CLARIDGE RD                                                                            INDIANAPOLIS         IN   46260‐4909
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Name                       Address1                       Address2                      Address3   Address4         City               State Zip
REIDER, PATRICIA A         1 LIONEL ST                                                                              CLARK               NJ 07066‐2521
REIDER, RICHARD B          6246 DAVISON RD                                                                          BURTON              MI 48509‐1654
REIDER, RICHARD BRUCE      6246 DAVISON RD                                                                          BURTON              MI 48509‐1654
REIDINGER, BRIAN F         814 S LOGAN ST                                                                           ELYRIA              OH 44035‐6549
REIDLINGER, EDWARD C       610 WEST 88TH TERRACE                                                                    KANSAS CITY         MO 64114‐2914
REIDLINGER, EDWARD C       1711 PEBBLE RUN DR                                                                       ALLEN               TX 75002‐5355
REIDMAN'S AUTOMOTIVE       3550 E DIVIDE AVE                                                                        BISMARCK            ND 58501‐2558
REIDMILLER, FRANCIS J      1094 PINEWOOD RD                                                                         IRWIN               PA 15642‐7005
REIDOSH, ALLAN M           3373 BROCKPORT SPENCERPORT                                                               SPENCERPORT         NY 14559‐2169
REIDOSH, MICHAEL A         344 DEAN RD                                                                              SPENCERPORT         NY 14559‐9542
REIDSEMA, DALE G           3797 HIBBARD RD                                                                          CORUNNA             MI 48817‐9566
REIDSEMA, GORDON D         415 N FERRY ST                                                                           LUDINGTON           MI 49431‐1614
REIDSEMA, LAURA D          350 NISTON LN                                                                            MOUNT AIRY          NC 27030‐8604
REIDSMA, JAY D             811 HIDDEN PINE RD                                                                       BLOOMFIELD HILLS    MI 48304‐2410
REIDY JAMES                REIDY, JAMES                   230 ALBERBURY COMMONS CT                                  WAKE FOREST         NC 27587‐5002
REIDY JR, JAMES T          3362 SAINT LUCIA CT                                                                      TAVARES             FL 32778‐9226
REIDY, JEAN B              65 WHEELWRIGHT FARM                                                                      COHASSET            MA 02025‐1542
REIER, WILLIAM C           28519 PERDIDO PASS DR                                                                    ORANGE BEACH        AL 36561‐3604
REIERSTAD, STEPHEN P       PO BOX 207                                                                               ROXBURY             ME 04275‐0207
REIF JR, ARTHUR H          318 HARVEST LN                                                                           FRANKENMUTH         MI 48734‐1216
REIF THEODORE D (358766)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                          STREET, SUITE 600
REIF, ALBERT               3310 WEKIVA RD                                                                           TAVARES            FL   32778‐4824
REIF, BETTY L              3094 LANNING DRIVE                                                                       FLINT              MI   48506‐2051
REIF, BEVERLY B            311 VALLEY VIEW TRL            C/O DANA POPE                                             DOUBLE OAK         TX   75077‐8434
REIF, DON A                3131 TOWNLINE RD                                                                         MILTON             WI   53563
REIF, DONNA JEAN           3189 E PIERSON RD                                                                        FLINT              MI   48506‐1478
REIF, GEORGE G             711 BRAUN STREET                                                                         AUBURN             MI   48611‐9444
REIF, INGE A               1129 N MINNESOTA AVE TRLR 29                                                             BROWNSVILLE        TX   78521‐7145
REIF, IRENE A              1509 BOB O LINK DR                                                                       VENICE             FL   34293‐1305
REIF, IRENE A              1800 ENGLEWOOD RD #77                                                                    ENGLEWOOD          FL   34223‐1868
REIF, JERALD A             1026 DICKHOFF DR                                                                         MILTON             WI   53563‐1121
REIF, JOSEPH J             199 TWO ROD RD                                                                           ALDEN              NY   14004‐8401
REIF, LEROY C              3169 HAROLD DR                                                                           COLUMBIAVILLE      MI   48421‐8962
REIF, MICHAEL M            4261 BOBWHITE DR                                                                         FLINT              MI   48506‐1704
REIF, MICHAEL MARVIN       4261 BOBWHITE DR                                                                         FLINT              MI   48506‐1704
REIF, RICHARD G            36890 MORAVIAN DR                                                                        CLINTON TOWNSHIP   MI   48035‐1208
REIF, RICHARD L            11385 GERA RD                                                                            BIRCH RUN          MI   48415‐9435
REIF, ROY R                3016 EVELYN ST                                                                           NATIONAL CITY      MI   48748
REIF, RYAN R               6769 BELL RD                                                                             BIRCH RUN          MI   48415‐9048
REIF, SHARON R             RR 1 BOX 128‐4                                                                           CARROLLTON         IL   62016‐9801
REIF, THEODORE D           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                          STREET, SUITE 600
REIF, VALERIE M            28 GARDEN PARKWAY                                                                        BUFFALO            NY   14221‐6611
REIFEIS, JOSEPH A          91 N 8TH AVE                                                                             BEECH GROVE        IN   46107‐1503
REIFENBERGER, MARK G       5772 BRIDGEBORO WAY                                                                      NORCROSS           GA   30092‐2441
REIFENHEISER, WILLIAM J    374 ALICE WAY                                                                            LIVERMORE          CA   94550‐5214
REIFER DOROLYNN            761 PAMELA KAY LN                                                                        WHITTIER           CA   90601‐1140
REIFF DOUGLAS              REIFF, DOUGLAS                 2001 US HIGHWAY 46 STE 310                                PARSIPPANY         NJ   07054‐1315
REIFF JON                  3535 CEDARCREST CT                                                                       WASHINGTON         MI   48094‐1116
REIFF, CHARLES             709 TIFFIN AVE                                                                           SAINT LOUIS        MO   63135‐2542
REIFF, CHRISTOPHER M       5565 US ROUTE 422                                                                        SOUTHINGTON        OH   44470‐9711
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Name                                  Address1                         Address2                        Address3   Address4         City           State Zip
REIFF, DAVID W                        5635 N PARENT ST                                                                             WESTLAND        MI 48185‐3105
REIFF, DOUGLAS                        KAHN & ASSOCIATES LLC            2001 ROUTE 46 WATERVIEW PLAZA                               PARSIPPANY      NJ 07054
                                                                       SUITE 310
REIFF, HEINZ G                        38744 COTTONWOOD DR                                                                          STERLING HTS   MI   48310‐3136
REIFF, HELEN A                        106 FAIRFIELD DR                                                                             FAIRVIEW HTS   IL   62208‐2113
REIFF, JAMES T                        106 FAIRFIELD DR                                                                             FAIRVIEW HTS   IL   62208‐2113
REIFF, JOHN D                         3535 CEDARCREST CT                                                                           WASHINGTON     MI   48094‐1116
REIFF, RODNEY W                       32700 NORTHFIELD BLVD                                                                        NORTHFIELD     MN   55057
REIFF, VIRGINIA R                     2917 CHARING CROSS                                                                           NORTHVILLE     MI   48167‐8679
REIFF, WILLIAM G                      722 1/2 CAPERTON ST                                                                          HOUSTON        TX   77022‐3720
REIFFER, RANDY C                      242 LEE BARRON LOOP                                                                          HOT SPRINGS    AR   71913‐6052
REIFINGER, CHARLES H                  7115 COOL RD                                                                                 CANFIELD       OH   44406‐8403
REIFINGER, MAXINE C                   9684 KINSMAN PYMATUMING RD                                                                   KINSMAN        OH   44428‐9313
REIFINGER, T. G                       9684 KINSMAN‐PYMATUMING                                                                      KINSMAN        OH   44428‐9313
REIFINGER, T. G                       9684 KINSMAN PYMATUNING RD                                                                   KINSMAN        OH   44428‐9313
REIFSCHNEIDER, HENRY P                1783 FAIRVIEW FARMS CIR                                                                      WENTZVILLE     MO   63385‐2765
REIFSCHNEIDER, HENRY PHILIP           1783 FAIRVIEW FARMS CIR                                                                      WENTZVILLE     MO   63385‐2765
REIFSNYDER JACK (447210)              BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD     OH   44067
                                                                       PROFESSIONAL BLDG
REIFSNYDER, JACK                      BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD     OH 44067
                                                                       PROFESSIONAL BLDG
REIFSTECK REBECCA L                   3320 N COUNTRY CLUB RD                                                                       MUSKOGEE       OK   74403
REIFSTECK, THOMAS E                   1463 MCCONNELL DR                                                                            BLUFFTON       IN   46714‐3453
REIGAN R BURKS                        7111 DOMINICAN DR                                                                            DAYTON         OH   45415‐1206
REIGEL, EVELYN E                      6580 SE 165TH AVE                                                                            OCKLAWAHA      FL   32179‐3132
REIGEL, SHARON C
REIGELMAN, HERMAN E                   6359 WARREN SHARON RD.                                                                       BROOKFIELD     OH   44403‐9545
REIGELSPERGER, CHARLES W              2121 RHOADES RD                                                                              FARMERSVILLE   OH   45325‐9227
REIGELSPERGER, JENNIFER L             842 OSAGE TRL                                                                                JAMESTOWN      OH   45335‐1130
REIGELSPERGER, MYRNA J                2121 RHOADES RD                                                                              FARMERSVILLE   OH   45325‐9227
REIGELSPERGER, NORBERT J              765 B , CALDERWOOD COURT                                                                     LEBANON        OH   45036‐5036
REIGELSPERGER, NORBERT J              765 CALDERWOOD CT APT B                                                                      LEBANON        OH   45036‐8718
REIGELSPERGER, THEODORE C             241 GRAMERCY DR                                                                              DAYTON         OH   45431‐2029
REIGELSPERGER, WARREN C               211 NORTHWOOD AVE                                                                            E ROCHESTER    NY   14445‐1617
REIGH LAUREN                          661 EDINBURGH CIR                                                                            HIGHLAND       MI   48357‐4747
REIGHARD JAMES (ESTATE OF) (489202)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD     OH   44067
                                                                       PROFESSIONAL BLDG
REIGHARD, CHARLES J                   4743 STATE ROUTE 7                                                                           BURGHILL       OH   44404‐9762
REIGHARD, DONALD S                    542 BUCK LN W                                                                                PENDLETON      IN   46064‐9021
REIGHARD, JOAN A                      3547 WOODBINE AVE                                                                            HUBBARD        OH   44425‐1849
REIGHARD, ROSEMARY                    708 STUMPVILLE RD                                                                            JEFFERSON      OH   44047‐8606
REIGHT, FREDERICK C                   440 REMSEN AVE                                                                               AVENEL         NJ   07001‐1142
REIGHT, LUCIA                         288 PORT ROYAL DR                                                                            TOMS RIVER     NJ   08757‐4144
REIGHTLEY, SHANNON L                  8004 N PINE RD                                                                               MILTON         WI   53563‐9184
REIGLE JR, GERALD V                   1374 FOREST HILL AVE                                                                         FLINT          MI   48504‐3344
REIGLE JR, WILLIAM T                  1522 MANOR DRIVE                                                                             JANESVILLE     WI   53548‐0151
REIGLE, ADRIAN E                      3348 LONG ST                                                                                 BURTON         MI   48519‐1559
REIGLE, GORDON R                      4428 E SHELBY RD                                                                             MEDINA         NY   14103‐9787
REIGLE, GREGORY S                     5415 JEROME LN                                                                               GRAND BLANC    MI   48439‐4323
REIGLE, HARRY E                       119 GRASMERE ST                                                                              PITTSBURGH     PA   15205‐4218
REIGLE, JEREMY J                      348 N AUSTIN RD                                                                              JANESVILLE     WI   53548‐8684
REIGLE, KEVIN R                       348 N AUSTIN RD                                                                              JANESVILLE     WI   53548‐8684
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Name                      Address1                      Address2                      Address3           Address4         City               State Zip
REIGLE, MARY E            N6521 NORWEGIAN RD.                                                                             ALBANY              WI 53502
REIGLE, PAUL J            584 BRADFORD DR                                                                                 GALLATIN            TN 37066‐6172
REIGLE, PAUL M            PO BOX 84                                                                                       NEW LOTHROP         MI 48460‐0084
REIGLE, PAUL MARVIN       PO BOX 84                                                                                       NEW LOTHROP         MI 48460‐0084
REIGLE, RICHARD S         502 HEAVITREE LN                                                                                SEVERNA PARK        MD 21146‐1011
REIGLE, RICK A            4808 N STATE ROAD 104                                                                           EVANSVILLE          WI 53536‐9005
REIGLE, ROBERT C          1410 BLUE WATER DR                                                                              FENTON              MI 48430‐1102
REIGLE, ROBERT R          N6521 NORWEGIAN RD                                                                              ALBANY              WI 53502‐9751
REIGLE, SHARON L          1410 BLUE WATER DR                                                                              FENTON              MI 48430‐1102
REIGLER, GARY S           4382 FIELDVIEW DR                                                                               GRAND LEDGE         MI 48837‐8190
REIGLER, RICHARD W        7221 CREEKSIDE DR                                                                               LANSING             MI 48917‐9691
REIGRUT, CHARLES E        282 FOREST PARK DR                                                                              BOARDMAN            OH 44512‐1452
REIHARD, DOLORES P        415 PARK RD                                                                                     LEAVITTSBURG        OH 44430‐9503
REIHARD, JERALD L         415 PARK RD                                                                                     LEAVITTSBURG        OH 44430‐9503
REIHARD, TERRY A          1494 E COUNTY LINE RD                                                                           MINERAL RIDGE       OH 44440‐9400
REIHART, JUNIOR J         5778 FRY RD                                                                                     BROOK PARK          OH 44142‐2228
REIHART, RAYMOND E        6810 WHEATMORE CT                                                                               TRINITY             NC 27370‐8927
REIHE, SIEGFRIED          224 NEWELL AVE                                                                                  TONAWANDA           NY 14150‐6210
REIHER, DANIEL A          16700 SAVOIE ST                                                                                 LIVONIA             MI 48154‐3322
REIHER, DARRELL G         65 WINDSOR DR                                                                                   BELLEVILLE           IL 62223‐2107
REIHER, DARRELL GENE      65 WINDSOR DR                                                                                   BELLEVILLE           IL 62223‐2107
REIHER, DORIS R           19528 CARDENE WAY                                                                               NORTHVILLE          MI 48167‐2928
REIHER, ELLA M            2424 W AUBURN RD                                                                                ROCHESTER HILLS     MI 48309‐4001
REIHER, ELLA M            2424 AUBURN RD                                                                                  ROCHESTER HILLS     MI 48309‐4001
REIKE CORPORATION         JANICE PHILLIPS X272          500 W 7TH ST                  MASCO INDUSTRIES                    AUBURN              IN 46706‐2006
REIKE CORPORATION         JANICE PHILLIPS X272          MASCO INDUSTRIES              500 W 7TH STREET                    PORTLAND            IN
REIKO DAVIS               621 N SHELDON ST                                                                                CHARLOTTE           MI 48813‐1228
REIKOWSKY, ALICE L        3250 SUNNYVIEW DR                                                                               SAGINAW             MI 48604‐1657
REIKOWSKY, AUDREY A       20684 ITHACA                                                                                    BRANT               MI 48614‐8758
REIKOWSKY, AUDREY A       20684 ITHACA RD                                                                                 BRANT               MI 48614‐8758
REIKOWSKY, CHAD M         PO BOX 294                                                                                      OTISVILLE           MI 48463‐0294
REIKOWSKY, CHAD MICHAEL   PO BOX 294                                                                                      OTISVILLE           MI 48463‐0294
REIKOWSKY, DANIEL B       1070 W ANDERSON RD                                                                              LINWOOD             MI 48634‐9819
REIKOWSKY, GENE A         762 S0 THOMAS                                                                                   SAGINAW             MI 48609
REIKOWSKY, GENE ARTHUR    762 S0 THOMAS                                                                                   SAGINAW             MI 48609
REIKOWSKY, GERALD L       9810 MARSHALL RD                                                                                BIRCH RUN           MI 48415‐8763
REIKOWSKY, JOHN E         9770 MARSHALL RD                                                                                BIRCH RUN           MI 48415‐8501
REIL, FREDERICK           8199 PEBBLE BEACH AVE                                                                           NEWARK              CA 94560‐2142
REIL, REATHA M            2661 HAPPY HOLLOW ROAD                                                                          PARROTTSVILLE       TN 37843‐2941
REIL, ROBERT A            6776 SHERIDAN RD                                                                                VASSAR              MI 48768‐9530
REILAND, BRYAN J          357 SHIN BR                                                                                     OXFORD              MI 48371‐6364
REILAND, JENNIFER S       357 SHIN BR                                                                                     OXFORD              MI 48371‐6364
REILAND, JENNIFER SUE     357 SHIN BR                                                                                     OXFORD              MI 48371‐6364
REILAND, MATTHEW J        1067 WOODBRIAR DR                                                                               OXFORD              MI 48371‐6069
REILAND, WILLIAM R        29130 SHIAWASSEE RD                                                                             FARMINGTON HILLS    MI 48336‐4955
REILAND,MATTHEW J         1067 WOODBRIAR DR                                                                               OXFORD              MI 48371‐6069
REILEY JOHN W (481978)    GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                        STREET, SUITE 600
REILEY, JOHN W            GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
REILEY, MARTIN J          2372 HARLAN RD                                                                                  COLUMBIA           TN 38401‐7301
REILEY, PATRICIA H        515 ROYAL RD                                                                                    SAINT AUGUSTINE    FL 32086‐6147
                                      09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                 Address1                         Address2                          Address3   Address4         City                  State Zip
REILLEY, PATRICIA                    2344 S PENNSYLVANIA AVENUE                                                                     LANSING                MI 48910‐3370
REILLEY, SHEILA M                    5118 FOX RUN LANE                                                                              BATAVIA                OH 45103‐9433
REILLEY, SHEILA M                    5118 FOX RUN LN                                                                                BATAVIA                OH 45103‐9433
REILLO JR, ANTONIO C                 APT 1                            1509 NORTH CALIFORNIA AVENUE                                  CHICAGO                 IL 60622‐1622

REILLO, ANTONIO                      1509 N. CALIFORNIA AVE                                                                         CHICAGO               IL    60622
REILLO, WILLIAM N                    3309 N WHIPPLE ST                                                                              CHICAGO               IL    60618
REILLY P, DOROTHY L                  81 WATERVIEW PARKWAY                                                                           HAMBURG               NY    14075‐1835
REILLY CARTAGE INC                   4100 W ORCHARD ST                                                                              MILWAUKEE             WI    53215‐1708
REILLY EVELYN (ESTATE OF) (505090)   EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                               NEW HAVEN             CT    06510
                                                                      265 CHURCH STREET
REILLY GERALD                        REILLY, GERALD                   120 WEST MADISON STREET , 10TH                                CHICAGO                IL   60602
                                                                      FLOOR
REILLY JAMES                         100 COSEY BEACH AVE APT 2                                                                      EAST HAVEN            CT    06512‐4954
REILLY JOSEPH F (645418)             ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                      WILMINGTON            DE    19801‐1813
REILLY JR, PAUL B                    1688 CHICAGO AVE                                                                               ARKDALE               WI    54613‐9719
REILLY JR, RAYMOND T                 9000 N COUNTY ROAD H                                                                           EDGERTON              WI    53534‐8895
REILLY JULIE                         REILLY, JULIE                    121 S ORANGE AVE STE 1150                                     ORLANDO               FL    32801‐3246
REILLY MOTORS, INC.                  239 E MAIN ST                                                                                  WAUTOMA               WI    54982‐9594
REILLY MOTORS, INC.                  MICHAEL REILLY                   239 E MAIN ST                                                 WAUTOMA               WI    54982‐9594
REILLY P, DOROTHY L                  81 WATERVIEW PKWY                                                                              HAMBURG               NY    14075‐1835
REILLY PLATING CO                    PO BOX 3213                      17760 CLARANN                                                 MELVINDALE            MI    48122‐0213
REILLY RAYMOND R                     155 LAURIN CT                                                                                  ANN ARBOR             MI    48105‐3056
REILLY'S GARAGE                      8 N MAIN ST                                                                                    MOUNTAIN TOP          PA    18707‐1202
REILLY, ANDREW B                     32753 MACKENZIE DR                                                                             WESTLAND              MI    48185‐1551
REILLY, ANDREW BERNARD               32753 MACKENZIE DR                                                                             WESTLAND              MI    48185‐1551
REILLY, ANNA F                       21 WILSON AVE                                                                                  NORTH PLAINFIELD      NJ    07060‐4049
REILLY, BERNARD A                    9774 FARMINGTON RD                                                                             LIVONIA               MI    48150‐2744
REILLY, CHARLES P                    339 S CARLSON ST                                                                               WESTLAND              MI    48186‐4057
REILLY, CLIFFORD P                   3416 LA SALLE DR                                                                               SAINT CHARLES         MO    63301‐0532
REILLY, DOLORES R                    1110 STEUBEN ST APT 305                                                                        PITTSBURGH            PA    15220‐4745
REILLY, DONALD E                     45297 UNIVERSAL CT                                                                             SHELBY TOWNSHIP       MI    48317‐4943
REILLY, DONALD J                     37112 SOUTHWIND CT                                                                             FARMINGTON HILLS      MI    48331‐3786
REILLY, DUANE J                      2510 9TH ST                                                                                    BAY CITY              MI    48708‐6913
REILLY, ERIC J                       1403 WESTON LN                                                                                 SPRING HILL           TN    37174‐2668
REILLY, EVELYN                       EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                NEW HAVEN             CT    06508
                                                                      265 CHURCH STREET
REILLY, GARY E                       PO BOX 175                                                                                     SOUTHINGTON           OH    44470‐0175
REILLY, GEOFFREY                     2539 HONEYSUCKLE LN                                                                            POINT PLEASANT BORO   NJ    08742‐4209
REILLY, GLADYS L                     4050 YAX RD                                                                                    KINDE                 MI    48445‐9327
REILLY, HENRY M                      4469 OHEREN ST                                                                                 BURTON                MI    48529‐1807
REILLY, JAMES A                      2304 WEST BLVD                                                                                 HOLT                  MI    48842‐1016
REILLY, JAMES A                      2813 CUMBERLAND DR                                                                             JANESVILLE            WI    53546‐4315
REILLY, JAMES F                      8 LANDMARK DR APT 101                                                                          CORNWALL              NY    12518‐2159
REILLY, JOHN J                       10 OAK GLN                                                                                     YARMOUTH PORT         MA    02675‐1467
REILLY, JOHN P                       9903B MISSISSIPPI ST                                                                           OSCODA                MI    48750‐1946
REILLY, JOHN P                       67847 LAKE ANGELA DR                                                                           RICHMOND              MI    48062‐1687
REILLY, JOSEPH F                     ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                      WILMINGTON            DE    19801‐1813
REILLY, JOSEPH M                     217 W QUINCY ST                                                                                WESTMONT              IL    60559
REILLY, JULIE                        3004 LAKEVIEW CT                                                                               EUSTIS                FL    32726‐7344
REILLY, KAREN E                      1213 N RINGOLD ST                                                                              JANESVILLE            WI    53545‐1831
REILLY, KATHLEEN L                   1848 GRANT ST                                                                                  DOWNERS GROVE         IL    60515‐2614
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Name                         Address1                        Address2            Address3         Address4         City               State Zip
REILLY, LARRY D              9401 CHAROLAIS DR                                                                     CROWLEY             TX 76036‐9765
REILLY, LARRY P              1635 PROSPECT ST                                                                      MINERAL RIDGE       OH 44440‐9734
REILLY, LILLIAN R            351 CHERRY ST                                                                         ELIZABETH           NJ 07208‐3152
REILLY, LINDA F              PO BOX 175                                                                            SOUTHINGTON         OH 44470‐0175
REILLY, LISA K               44083 DEEP HOLLOW CIR                                                                 NORTHVILLE          MI 48168‐8408
REILLY, LOUISE H             24 BUXTON RD                                                                          CHERRY HILL         NJ 08003‐2104
REILLY, MARK E               9660 TERRY ST                                                                         PLYMOUTH            MI 48170‐4518
REILLY, MARY B               1635 PROSPECT ST                                                                      MINERAL RIDGE       OH 44440‐9734
REILLY, MARY E               134 LAKEVIEW AVE                                                                      RENSSELAER          NY 12144‐1016
REILLY, MARY L               1180 ROSEDALE DR                                                                      MANSFIELD           OH 44906‐3537
REILLY, MATTHEW T.           8174 GREEN VALLEY DR                                                                  GRAND BLANC         MI 48439‐8147
REILLY, MICHAEL E            5840 SCHERFF RD                                                                       ORCHARD PARK        NY 14127‐3752
REILLY, MICHAEL J            4879 THRALL RD                                                                        LOCKPORT            NY 14094‐9787
REILLY, MICHAEL R            5251 EASTBROOK CT                                                                     SHELBY TWP          MI 48316‐3146
REILLY, MICHAEL ROBERT       5251 EASTBROOK CT                                                                     SHELBY TWP          MI 48316‐3146
REILLY, NANCY                684 LAFFERTY CT                                                                       ROCHESTER HILLS     MI 48307‐2432
REILLY, NOLA LEE             8968 N COUNTY ROAD H                                                                  EDGERTON            WI 53534‐9782
REILLY, PATRICIA A           77 BALDWIN ST                                                                         GLEN RIDGE          NJ 07028‐2401
REILLY, PATRICK M            31574 RIVERBEND DR                                                                    CHESTERFIELD        MI 48047‐5944
REILLY, PAUL J               2871 TROY CENTER DR APT 2001                                                          TROY                MI 48084‐4708
REILLY, ROBERT J             4788 N ASHFORD WAY                                                                    YPSILANTI           MI 48197‐6123
REILLY, ROBERT J             155 MORRISTOWN RD                                                                     ELIZABETH           NJ 07208‐1315
REILLY, ROBERT J             30143 COUSINO DR                                                                      WARREN              MI 48092‐1918
REILLY, ROSE J.              250 FERNDALE RD                                                                       WILLIAMSVILLE       NY 14221‐7132
REILLY, ROSE J.              250 FERNDALE ROAD                                                                     WILLIAMSVILLE       NY 14221‐7132
REILLY, ROSEMARIE            3621 BURNING TREE DR                                                                  BLOOMFIELD HILLS    MI 48302‐1512
REILLY, RUTH F               PO BOX 35                                                                             SOUTHINGTON         OH 44470‐0035
REILLY, SANTINA              N 3475 INDIAN ECHOES LANE                                                             MONTELLO            WI 53949‐9032
REILLY, SANTINA              N3475 INDIAN ECHOES LN                                                                MONTELLO            WI 53949‐9032
REILLY, SCOTT M              12289 WINDCLIFF                                                                       DAVISBURG           MI 48350‐1676
REILLY, STEVEN P             10205 W CALEDONIA RD                                                                  EVANSVILLE          WI 53536‐8901
REILLY, THOMAS B             11350 PLUMRIDGE BLVD                                                                  STERLING HTS        MI 48313‐4957
REILLY, THOMAS B             PO BOX 35                                                                             SOUTHINGTON         OH 44470‐0035
REILLY, THOMAS E             14665 APPLEWAY CT                                                                     SHELBY TWP          MI 48315‐4319
REILLY, THOMAS H             W7080 LEE ST                                                                          LAKE MILLS          WI 53551‐1909
REILLY, THOMAS L             12448 SANTA CATALINA RD                                                               VALLEY CENTER       CA 92082‐3711
REILLY, THOMAS P             11858 COTTONWOOD AVE                                                                  HESPERIA            CA 92345‐1615
REILLY, TIMOTHY C            17 WOODCREST DR                                                                       PROSPECT            CT 06712‐1841
REILLY, TIMOTHY J            9638 LARAMIE AVE                                                                      CHATSWORTH          CA 91311‐5438
REILLY, TIMOTHY J            911 DURANT ST                                                                         LANSING             MI 48915‐1330
REILLY, TIMOTHY M            12875 WOODBINE                                                                        REDFORD             MI 48239‐2615
REILLY, TIMOTHY R            17107 MAPLE HILL DR                                                                   NORTHVILLE          MI 48168‐3213
REILLY, VICKY L              1688 CHICAGO AVE                                                                      ARKDALE             WI 54613‐9719
REILLY, WENDELL C            125 BURNSIDE AVE                                                                      CRANFORD            NJ 07016‐2677
REILLY, WILLIAM              224 MAIN ST                                                                           MATAWAN             NJ 07747‐3223
REILLY, WILLIAM E            2 BURTON ST.                    PO BOX 91                                             VALLEY FALLS        NY 12185
REILLY, WILLIAM T            16940 BEVERLY RD                                                                      BEVERLY HILLS       MI 48025‐5536
REILLY, WILLIAM T            14291 DENNE ST                                                                        LIVONIA             MI 48154‐4307
REILLY,CLIFFORD P            3416 LA SALLE DR                                                                      SAINT CHARLES       MO 63301‐0532
REILLY,DAVID N               NEW DAEWOO MOTORS
REILLY‐ KAMPTON, SUZANNE L   3956 DUNHILL ST                                                                       NAPA               CA 94558‐2255
REILY JR, ROBERT F           302 N SYNNOTT AVE                                                                     WENONAH            NJ 08090‐1654
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Name                                    Address1                      Address2                 Address3    Address4         City                State Zip
REILY, CHARLES E                        689 GREENFIELD LN                                                                   CASTALIAN SPRINGS    TN 37031‐4742
REIMAN LEE (459553)                     COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS             MS 39701‐4513
REIMAN LEE (459553) ‐ DAVIS TRACY       COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS             MS 39701‐4513
REIMAN LEE (459553) ‐ DAVIS TRAVIS      COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS             MS 39701‐4513
REIMAN LEE (459553) ‐ GILBERT LOUIS     COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS             MS 39701‐4513
REIMAN LEE (459553) ‐ HARPER JAMES      COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS             MS 39701‐4513
REIMAN LEE (459553) ‐ HEIDELBERG ARLISS COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS             MS 39701‐4513

REIMAN LEE (459553) ‐ HEIDELBERG C J    COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS            MS 39701‐4513
REIMAN LEE (459553) ‐ HEIDELBERG RASSIE COLOM LAW FIRM                605 2ND AVE N                                         COLUMBUS            MS 39701‐4513

REIMAN LEE (459553) ‐ HENRY IRA     COLOM LAW FIRM                    605 2ND AVE N                                         COLUMBUS            MS 39701‐4513
REIMAN LEE (459553) ‐ JOHNSON TOMMY COLOM LAW FIRM                    605 2ND AVE N                                         COLUMBUS            MS 39701‐4513

REIMAN LEE (459553) ‐ LANDRUM EDDIE    COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS 39701‐4513

REIMAN LEE (459553) ‐ MCDUFFY ARTHUR COLOM LAW FIRM                   605 2ND AVE N                                         COLUMBUS            MS 39701‐4513

REIMAN LEE (459553) ‐ MCGREGGORY       COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS 39701‐4513
WILLIAM
REIMAN LEE (459553) ‐ MIKELL CHARLES   COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS 39701‐4513

REIMAN LEE (459553) ‐ MILES KENNETH    COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ NEWELL FLOYD     COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ NEWELL WILLIE    COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ PARKER           COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
ROOSEVELT
REIMAN LEE (459553) ‐ PETTIS WILLIAM   COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ POSEY MICHAEL    COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ REID CHARLES     COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ ROGERS DANNY     COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ STATES TOMMY     COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ WELCH THOMAS     COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513

REIMAN LEE (459553) ‐ WEST SELWIN      COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ WHEATS JAMES     COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ WILSON WILLIE    COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN LEE (459553) ‐ WOOTER BILL      COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN, ALLEN R                        31034 MOCERI CIR                                                                     WARREN              MI   48088‐1856
REIMAN, DAVID E                        RR 2 BOX 272                                                                         ADRIAN              MO   64720‐9448
REIMAN, DAVID E                        ROUTE 2 BOX 272                                                                      ADRIAN              MO   64720‐9448
REIMAN, EDWARD M                       CHRISTINE P RATH               4965 MAGNOLIA CREEK DR                                CUMMING             GA   30028
REIMAN, EDWARD M                       119 FAIRELM LN                                                                       CHEEKTOWAGA         NY   14227‐1365
REIMAN, JAMES G                        112 S BALL ST                                                                        CHEBOYGAN           MI   49721‐1615
REIMAN, JAMES G                        112 SOUTH BALL STREET                                                                CHEBOYGAN           MI   49721‐1615
REIMAN, JUANITA T                      633 GROVER AVE                                                                       DEFIANCE            OH   43512‐2418
REIMAN, LAURA JEAN                     1404 SHIRE CT                                                                        HOWELL              MI   48843‐8505
REIMAN, LEE                            COLOM LAW FIRM                 605 2ND AVE N                                         COLUMBUS            MS   39701‐4513
REIMAN, NORMA J                        5435 SHERWOOD DR                                                                     SHAWNEE MISSION     KS   66205‐2236
REIMAN, WILLIAM A                      400 N MAJOR AVE APT 1622                                                             HENDERSON           NV   89015‐6703
REIMANN ARCH                           11439 ASHLEY WOODS DR                                                                WESTCHESTER         IL   60154‐5911
REIMANN, DARLENE R                     181 STREAMVIEW DR                                                                    TROY                MI   48085‐4763
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Name                               Address1                             Address2                      Address3   Address4              City                 State Zip
REIMANN, JOHN F                    260 CAYUGA RD                                                                                       LAKE ORION            MI 48362‐1308
REIMAR KIECHLE                     ERLENWEG 21                          D‐97076 W▄RZBURG
REIMAR KIECHLE                     ERLENWEG 21                          D‐97076 WUERZBURG
REIMAR KIECHLE                     ERLENWEG 21                                                                   D‐97076 WUERZBURG
                                                                                                                 GERMANY
REIMBOLD JR, ROBERT L              7505 WILLIAMSBURG RD                                                                                LANSING              MI    48917‐9690
REIMBOLD, JEANNE E                 138 HAZELWOOD                                                                                       PRUDENVILLE          MI    48651‐9579
REIMBOLD, JEANNE E                 138 HAZELWOOD DR                                                                                    PRUDENVILLE          MI    48651‐9579
REIMBOLD, SHELLY                   1704 GEORGETOWN BLVD                                                                                LANSING              MI    48911‐5430
REIMBOLD, STEVEN G                 120 STONER RD                                                                                       LANSING              MI    48917‐3708
REIMBURSEMENT DEPARTMENT           ACCT OF FRANK J BAILEY III           2ND FLOOR COUNTY BUILDING                                      MOUNT CLEMENS        MI    37340
REIMCHE, MARVIN W                  9701 WOODROCK CT                                                                                    MIDWEST CITY         OK    73130‐5411
REIMEL, GLENDA                     6671 E LANSING RD                                                                                   DURAND               MI    48429‐9112
REIMEL, PHYLLIS L                  260 WARDWELL DR                                                                                     LENNON               MI    48449‐9602
REIMER DIANE                       750 W 229TH ST                                                                                      JORDAN               MN    55352‐9459
REIMER EXPRESS INTERNATIONAL LTD   PO BOX 875                                                                    WINNIPEG CANADA MB
                                                                                                                 R3C 2S5 CANADA
REIMER EXPRESS INTERNATIONAL LTD   ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 875                               WINNIPEG MB R3C 2S5
                                   AGENT                                                                         CANADA
REIMER JR, FRANK C                 4107 E NAOMI ST                                                                                     INDIANAPOLIS         IN 46203‐3448
REIMER SR, RICHARD W               5 LASALLE AVE                                                                                       NEW CASTLE           DE 19720‐4309
REIMER WILLARD K (459280)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA 23510
                                                                        STREET, SUITE 600
REIMER, CATHERINE F                511 CAMDEN                                                                                          FERNDALE             MI    48220‐3527
REIMER, CATHERINE F                511 CAMDEN ST                                                                                       FERNDALE             MI    48220‐3527
REIMER, DAVID A                    799 BLAIRVILLE RD                    P.O. BOX 373                                                   YOUNGSTOWN           NY    14174‐1308
REIMER, DENIESE W                  321 LOCKWOOD AVE                                                                                    HAMILTON             OH    45011‐4234
REIMER, ELAINE                     7203 SPRING LAKE TRL                                                                                SAGINAW              MI    48603‐1676
REIMER, EMILY                      9101 ROUTE 353                                                                                      GOWANDA              NY    14070‐9694
REIMER, GARWOOD E                  6633 BELLA VISTA DR NE                                                                              ROCKFORD             MI    49341‐9674
REIMER, GARY K                     126 WINDMERE CT                                                                                     BOWLING GREEN        KY    42103‐8719
REIMER, GERD                       BOONE ALEXANDRA                      205 LINDA DR                                                   DAINGERFIELD         TX    75638‐2107
REIMER, HEINZ H                    1048 YORKSHIRE RD                                                                                   GROSSE POINTE PARK   MI    48230‐1450
REIMER, JEAN M                     6978 B SY RD                                                                                        NIAGARA FALLS        NY    14304
REIMER, KAREN L                    3671 KAREN PKWY APT 301                                                                             WATERFORD            MI    48328‐4660
REIMER, KEITH R                    21 CLERMONT CT                                                                                      LANCASTER            NY    14086‐9444
REIMER, LEONARD E                  7907 N ANGELA AVE                                                                                   MILWAUKEE            WI    53223‐1073
REIMER, MARGARET L                 799 BLAIRVILLE RD                                                                                   YOUNGSTOWN           NY    14174‐1308
REIMER, MARY                       730 LEISURE WORLD                                                                                   MESA                 AZ    85206‐2481
REIMER, MAUDE A                    1645 LOCKPORT OLCOTT RD                                                                             OLCOTT               NY    14126
REIMER, PAUL E                     13437 BROADWAY ST                                                                                   ALDEN                NY    14004‐1401
REIMER, RICHARD C                  1600 LOCKPORT RD                                                                                    YOUNGSTOWN           NY    14174‐9796
REIMER, RICHARD L                  2983 TOWN LINE RD                                                                                   ALDEN                NY    14004‐9615
REIMER, RICHARD M                  216 HOWELL ST                                                                                       TRENTON              NJ    08610‐6133
REIMER, ROBERT
REIMER, ROBERT K                   HETZEL LAW OFFICE LLC                120 N MAIN ST STE 260                                          WEST BEND            WI    53095
REIMER, RONALD H                   W72N351 FOXPOINTE AVE                                                                               CEDARBURG            WI    53012‐2232
REIMER, SCOTT H                    12963 WILKINSON RD                                                                                  FREELAND             MI    48623‐9289
REIMER, SCOTT HAROLD               12963 WILKINSON RD                                                                                  FREELAND             MI    48623‐9289
REIMER, WILLARD K                  GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA    23510‐2212
                                                                        STREET, SUITE 600
REIMER, WILLIAM M                  47 BENTLEY AVE                                                                                      TRENTON               NJ   08619‐3719
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Name                              Address1                                Address2              Address3     Address4            City               State Zip
REIMERS JR, RICHARD C             1261 STALEY RD                                                                                 GRAND ISLAND        NY 14072‐2148
REIMERS, DAYNA M                  4099 W 136TH ST                                                                                SAVAGE              MN 55378‐4024
REIMERS, JOHN E                   276 BAIRD RD                                                                                   EDINBURG            PA 16116‐3010
REIMERS, RICHARD C                118 UNIONVALE ROAD                                                                             CHEEKTOWAGA         NY 14225‐2221
REIMERS, WILLIAM C                2808 N THOMAS RD                                                                               SAGINAW             MI 48609‐9313
REIMHERR, ROBERT D                3210 QUAKER RD                                                                                 GASPORT             NY 14067‐9448
REIMINK, JENNIFER LYNN            3080 E SPRINGVIEW DR 1                                                                         HOLLAND             MI 49424
REIMOLDS, WILMA J                 409 WINDJAMMER ST                                                                              NORMAN              OK 73072‐4856
REIMONDO JOHN JAMES (431066)      WEITZ & LUXENBERG                       180 MAIDEN LANE                                        NEW YORK            NY 10038
REIMONDO JOHN JAMES (451155)      WEITZ & LUXENBERG P.C.                  180 MAIDEN LANE                                        NEW YORK            NY 10038
REIMONDO, JOHN JAMES              WEITZ & LUXENBERG P.C.                  180 MAIDEN LANE                                        NEW YORK            NY 10038
REIMSCHUSSEL, ROBERT A            914 NAUDAIN AVE                                                                                CLAYMONT            DE 19703‐1016
REIMUND, ROBERT M                 1064 COUNTY ROAD D                                                                             DESHLER             OH 43516‐9763
REIMUNDEZ, AMANDA                 127 N WASHINGTON ST                                                                            TARRYTOWN           NY 10591
REIMUNDEZ, GONZALO                127 N WASHINGTON ST                                                                            TARRYTOWN           NY 10591
REIMUS, DEBORAH KAY               1514 BEECH ST                                                                                  SAGINAW             MI 48602‐2818
REIMUS, GREGORY E                 2005 FAIRFIELD ST                                                                              SAGINAW             MI 48602‐3229
REIMUS, ROBERT W                  516 MERRITT ST                                                                                 FIFE LAKE           MI 49633
REIN F KRAMMER                    MASUDA, FUNAI, EIFERT & MITCHELL, LTD   203 LASALLE ST        SUITE 2500                       CHICAGO              IL 60601‐1262

REIN, BRIANNA E                   8613 RIVERDALE ST                                                                              DEARBORN HEIGHTS   MI   48127‐1515
REIN, DAVID A                     2264 DUPONT DR                                                                                 JANESVILLE         WI   53546‐3125
REIN, HENRY J                     445 EASTLAND AVE SE                                                                            WARREN             OH   44483‐6318
REIN, INGRID R                    1825 W DAWSON RD                                                                               MILFORD            MI   48380‐4155
REIN, JOHN D                      86 SARANAC AVE                                                                                 BUFFALO            NY   14216‐2429
REIN, JUDY P                      77 SOUTH OUTER                                                                                 VIENNA             OH   44473‐4473
REIN, JUDY P                      77 S OUTER DR                                                                                  VIENNA             OH   44473‐9729
REIN, PAUL F                      251 SHELLBANK DRIVE                                                                            LONGS              SC   29568‐9568
REIN, REGINA K                    2 BRYAN CT                                                                                     MANSFIELD          TX   76063‐7905
REIN, REGINA KAY                  2 BRYAN CT                                                                                     MANSFIELD          TX   76063‐7905
REIN, ROBERT A                    5122 UPPER MOUNTAIN RD                                                                         LOCKPORT           NY   14094‐9605
REIN, VIVIAN J.                   5829 5 MILE POINT RD                                                                           ALLOUEZ            MI   49805
REINA C MAZZONI                   11329 SCIPIO HWY                                                                               VERMONTVILLE       MI   49096‐9702
REINA HARVEY                      3551 GOLDNER LN SW APT A                                                                       WARREN             OH   44481‐9635
REINA JOHN (ESTATE OF) (437958)   WEITZ & LUXENBERG                       180 MAIDEN LANE                                        NEW YORK           NY   10038
REINA JOHN ESTATE OF              C/O LISA GRUICH                         6195 EAGLE TRACE CT                                    YPSILANTI          MI   48197‐6203
REINA JR, ERNESTO                 2 LOCUST CT                                                                                    FREEHOLD           NJ   07728‐2958
REINA JR, JOHN                    6195 EAGLE TRACE COURT                                                                         YPSILANTI          MI   48197‐6203
REINA L HARVEY                    3551 GOLDNER LN SW APT A                                                                       WARREN             OH   44481‐9635
REINA LECLERC                     205 MARSHALL RD                                                                                WOONSOCKET         RI   02895‐3841
REINA MAZZONI                     11329 SCIPIO HWY                                                                               VERMONTVILLE       MI   49096‐9702
REINA, CHRIS A                    38301 MURDICK DR                                                                               NEW BALTIMORE      MI   48047‐4255
REINA, ERNESTO                    104 ORLEANS DR                                                                                 SIMPSONVILLE       SC   29680‐6957
REINA, JOHN                       WEITZ & LUXENBERG                       180 MAIDEN LANE                                        NEW YORK           NY   10038
REINA, MICHAEL J                  24 ANDOVER LN                                                                                  WILLIAMSVILLE      NY   14221‐3309
REINAGEL, ERIC P                  1605 CHRISTI AVE                                                                               CHAPEL HILL        TN   37034‐2061
REINAGLE, JAMES R                 1710 COLUMBUS BLVD                                                                             KOKOMO             IN   46901‐1874
REINALD LERCH                     ADOLF‐SCHWEER‐STRASSE 7                                                    31655 STADTHAGEN
                                                                                                             GERMANY
REINALD W EURICH                  1706 WOODSIDE CT                                                                               BAY CITY           MI 48708‐5481
REINALD WEBER                     AM SANDE 6                                                                 D‐21516 MUESSEN
                                                                                                             GERMANY
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Name                     Address1                           Address2            Address3         Address4         City              State Zip
REINALDO FELICIANO       11708 RIVER RD                                                                           CARMEL             IN 46033‐9753
REINALDO KEY             20101 SILVER SPRING DR                                                                   NORTHVILLE         MI 48167‐3104
REINALDO MILLAN          47801 HASTINGS RD                                                                        CANTON             MI 48188‐4717
REINALDO ODIO            14262 160 TERRA                                                                          MIAMI              FL 33177
REINALDO TORRES          12169 YOUNGDALE AVE                                                                      SYLMAR             CA 91342‐5260
REINALDO VELA            2124 N MANNING ST                                                                        BURBANK            CA 91505‐1312
REINAN, BARBARA A        16275 GROVE TRL                                                                          LAKEVILLE          MN 55044‐6272
REINARD, JOSEPHINE B     701 SUMMIT AVE APT 47                                                                    NILES              OH 44446‐3652
REINARD, JOSEPHINE B     701 SUMMIT ST APT 47                                                                     NILES              OH 44446‐3652
REINARD, MARILYN R       74 MERRYHILL DR                                                                          ROCHESTER          NY 14625
REINARD, ROBERT R        3371 PUTTING GREEN CT                                                                    OCEANSIDE          CA 92056‐1712
REINARD, VIRGINIA S      3836 WOODBINE AVE                                                                        HUBBARD            OH 44425‐1868
REINARDY, JOANNE C       4314 NW ROTAMER RD                                                                       JANESVILLE         WI 53546‐1034
REINART, RAYMOND J       324 OAK ST                                                                               GRANTON            WI 54436‐7704
REINARTZ TRUCKING INC    1043 PRINCETON DR                                                                        LONGMONT           CO 80503‐3603
REINBERGER, LINDA M      11317 BALSAM CT                                                                          WASHINGTON         MI 48094‐3747
REINBOLD, AARON M        240 W FAIRGROVE RD                                                                       CARO               MI 48723‐9772
REINBOLD, ALAN D         2815 N GERA RD                                                                           REESE              MI 48757‐9316
REINBOLD, ARNOLD C       5749 STADIUM DR APT 129                                                                  KALAMAZOO          MI 49009‐1960
REINBOLD, DEBORAH        1430 MARKEL ROAD                                                                         MUNGER             MI 48747‐9752
REINBOLD, DIANA C        23265 PINHOOK RD                                                                         MENDON             MI 49072‐9590
REINBOLD, EARL A         2655 N GERA RD                                                                           REESE              MI 48757‐9316
REINBOLD, EUGENE A       8601 E HOLLAND RD                                                                        SAGINAW            MI 48601‐9474
REINBOLD, JAMES H        641 W SCHLEIER ST APT D2                                                                 FRANKENMUTH        MI 48734‐1083
REINBOLD, KATHLEEN A     630 S REIMER RD                                                                          SAGINAW            MI 48601‐9472
REINBOLD, KENNETH G      23265 PINHOOK RD                                                                         MENDON             MI 49072‐9590
REINBOLD, KERRY B        412 CLEVELAND AVE                                                                        WILMINGTON         DE 19804‐3066
REINBOLD, LARRY R        6838 JOHN ROSS DR                                                                        KALAMAZOO          MI 49009‐8307
REINBOLD, MELVIN M       1298 TABITHA TRL                                                                         MIO                MI 48647‐8771
REINBOLD, MICHAEL E      1687 E ANDERSON RD                                                                       LINWOOD            MI 48634‐9452
REINBOLD, RONALD E       4322 S AIRPORT RD                                                                        BRIDGEPORT         MI 48722‐9585
REINBOLD, SHIRLEY F      1071 PRENTICE RD                                                                         WARREN             OH 44481‐4481
REINBOLD, THOMAS C       1528 RABBIT RDG                                                                          CHARLOTTE          MI 48813‐9006
REINBOLD, THOMAS C       1528 RABBIT RIDGE                                                                        CHARLOTTE          MI 48813‐9006
REINBOLD, WILLIAM E      178 HAMPTON LN                                                                           ARAB               AL 35016‐4045
REINBOLT, CHRIS A        3700 N MICHIGAN AVE                                                                      SAGINAW            MI 48604‐2153
REINBOLT, JANET          160 ELMWOOD AVE                                                                          LOCKPORT           NY 14094‐3933
REINBOLT, MARJORIE L     3005 JACKSON ST                                                                          SAGINAW            MI 48604‐2385
REINBOLT, MICHAEL R      128 FORBES AVE                                                                           TONAWANDA          NY 14150‐2909
REINBOLT, PAUL E         513 S WHEELER ST                                                                         SAGINAW            MI 48602‐1751
REINCKE, RONALD A        5802 SUTHERLAND DR                                                                       WATERFORD          MI 48327‐2059
REINDEER LOGISTICS INC   5100 CHARLES CT                                                                          ZIONSVILLE         IN 46077‐5526
REINDEL, ARLENE M        627 ASHLEY CIR                                                                           ROCHESTER HILLS    MI 48307‐4594
REINDEL, CLARA S         1 COUNTRY LANE                                                                           BROOKVILLE         OH 45309‐5309
REINDEL, JAMES R         19488 HILL DR                                                                            MORRISON           CO 80465‐2412
REINDEL, JOHN R          6450 OAKHURST PLACE                                                                      DAYTON             OH 45414‐2866
REINDEL, SUSAN L         3448 SWISHER MILL RD                                                                     LEWISBURG          OH 45338‐8016
REINDEL, TIMOTHY G       3448 SWISHER MILL RD                                                                     LEWISBURG          OH 45338‐8016
REINDEL, TIMOTHY GENE    3448 SWISHER MILL RD                                                                     LEWISBURG          OH 45338‐8016
REINDER KARS             515 COUNTRY CLUB RD                                                                      HOLLAND            MI 49423‐9124
REINDL, CYNTHIA O        511 W SOUTH ST                                                                           BRYAN              OH 43506‐2547
REINDL, LLOYD J          127 UNION RIDGE DR                                                                       UNION              OH 45322‐8727
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Name                                   Address1                       Address2                        Address3   Address4                 City                State Zip
REINECK, JAMES A                       63 STATE ROUTE 61                                                                                  NORWALK              OH 44857‐9701
REINECK, WILLIAM J                     2724 LISMORE DR                                                                                    FLOWER MOUND         TX 75022‐4395
REINECKE, PAUL C                       1018 WILDERNESS RD                                                                                 MAMMOTH CAVE         KY 42259‐8180
REINECKE, RICHARD A                    3690 KAWKAWLIN RIVER DR                                                                            BAY CITY             MI 48706‐1771
REINECKE, ROBERT A                     5357 MULBERRY LN                                                                                   SHEFFIELD VILLAGE    OH 44035‐1476
REINECKER NANCY (658448)               SIMMONS FIRM                   PO BOX 521                                                          EAST ALTON            IL 62024‐0519
REINECKER, NANCY                       SIMMONS FIRM                   PO BOX 521                                                          EAST ALTON            IL 62024‐0519
REINECKER, WARREN L                    4252 WALSH ROAD                                                                                    WHITMORE LAKE        MI 48189‐9629
REINECKER/W GERMANY                    DONAU (15)                                                                ULM 7900 GERMANY
REINEKE CHEVROLET BUICK PONTIAC INC    1045 E WYANDOT AVE                                                                                 UPPER SANDUSKY      OH 43351‐9646

REINEKE CHEVROLET BUICK PONTIAC, IN    1045 E WYANDOT AVE                                                                                 UPPER SANDUSKY      OH 43351‐9646

REINEKE CHEVROLET BUICK PONTIAC, INC. 1045 E WYANDOT AVE                                                                                  UPPER SANDUSKY      OH 43351‐9646

REINEKE CHEVROLET BUICK PONTIAC, INC. DANIEL REINEKE                  1045 E WYANDOT AVE                                                  UPPER SANDUSKY      OH 43351‐9646

REINEKE WILLIAM (ESTATE OF) (489203)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD          OH 44067
                                                                      PROFESSIONAL BLDG
REINEKE, EUGENE K                      32 SANDPIPER DR                                                                                    ST AUGUSTINE        FL   32080‐6986
REINEKE, MICHAEL L                     2918 MARIMONT DR                                                                                   DAYTON              OH   45410
REINELT, GARY A                        6145 S MAIN ST                                                                                     CLARKSTON           MI   48346‐2364
REINELT, RICHARD L                     375 AIRPORT RD                                                                                     WATERFORD           MI   48327‐1706
REINELT, ROBERT F                      9011 TARTAN DR                                                                                     CLARKSTON           MI   48348‐2455
REINEMAN, J M                          200 WORDSWORTH DR                                                                                  WILMINGTON          DE   19808‐2343
REINER & DORIS MULLER                  FLIEDERWEG 68                                                             50859 KOLN GERMANY
REINER BEST                            ENGENHAHNERSTR.26                                                                                  65527                    65527
REINER BEUTEL                          LINDENSTRASSE 23               D 71634 LUDWIGSBURG
REINER DRATHEN                         OCEAN SHORES 43F‐A TOWER 12    88 0 KING ROAD                             TIU KENG LENG HONG KON
                                                                                                                 SAR CHINA
REINER HOLSTE                          BUNDESSTR 9                                                               21244 BUCHOLZ GERMANY
REINER P DECKER                        WINTERER STR 26                                                           79104 FREIBURG GERMANY
REINER SCHOTTEN                        VENLOER STRASSE 115                                                       41569 ROMMERSKIRCHEN
                                                                                                                 GERMANY
REINER THALHEIM                        THALHEIM REINER                ELSTRAER STR 9                             0‐01920 STEINA GERMANY
REINER, ALICE M                        253 SERVICE AVE                                                                                    SHARON              PA   16146‐3107
REINER, BEVERLY M                      627‐B DEBRA PLACE                                                                                  CORTLAND            OH   44410‐1505
REINER, BEVERLY M                      627 DEBRA PL APT B                                                                                 CORTLAND            OH   44410‐1572
REINER, CHRISTINE E                    344 OAK KNOLL AVE SE                                                                               WARREN              OH   44483‐6039
REINER, FRANCES                        8780 BAJADO COURT                                                                                  RCH CUCAMONGA       CA   91730‐1108
REINER, FRANCES                        8780 BAJADO CT                                                                                     RCH CUCAMONGA       CA   91730‐1108
REINER, JEFFREY S                      15 INWOOD AVE                                                                                      MONROE TWP          NJ   08831‐8512
REINER, LYLE K                         15040 PORTLAND AVE                                                                                 BURNSVILLE          MN   55306‐5022
REINERT, ARTHUR C                      3745 BRADFORD RD                                                                                   VASSAR              MI   48768‐9447
REINERT, BARBARA                       225 EMERSON ST                                                                                     VASSAR              MI   48768‐1518
REINERT, BARBARA                       7555 BRADLEY RD RT 4                                                                               SAGINAW             MI   48601‐9431
REINERT, DAVID A                       3251 WEIGL RD                                                                                      SAGINAW             MI   48609‐9792
REINERT, DIANE D                       4832 MARSHALL RD                                                                                   DAYTON              OH   45429‐5723
REINERT, ELMER L                       9795 BUSCH RD                                                                                      BIRCH RUN           MI   48415‐8473
REINERT, GERALD A                      9351 WARNICK RD                                                                                    FRANKENMUTH         MI   48734
REINERT, GREGORY M                     2701 CYCLONE ST                                                                                    BRYANT              AR   72022
REINERT, HENRY W                       12895 E CURTIS RD                                                                                  FRANKENMUTH         MI   48734‐9558
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Name                       Address1                          Address2          Address3         Address4                 City             State Zip
REINERT, JAMES             1810 COLONIAL VILLAGE WAY APT 2                                                               WATERFORD         MI 48328‐1927
REINERT, JAMES M           1034 REGENT PARK DR                                                                           KETTERING         OH 45429‐6126
REINERT, JEFFREY A         504 EUCLID ST                                                                                 SAINT JOHNS       MI 48879‐1244
REINERT, JOHN J            4832 MARSHALL RD                                                                              KETTERING         OH 45429‐5723
REINERT, JOSH
REINERT, KENNETH R         704 CHERRY ST                                                                                 LAMAR            MO    64759
REINERT, MARIAN M          2061 SOUTH BRADLEYVILLE ROAD                                                                  REESE            MI    48757‐9217
REINERT, RANDALL J         2061 S BRADLEYVILLE RD                                                                        REESE            MI    48757‐9217
REINERT, RICHARD P         9549 KRUEGER RD                                                                               FRANKENMUTH      MI    48734‐9603
REINERT, RICHARD PAUL      9549 KRUEGER RD                                                                               FRANKENMUTH      MI    48734‐9603
REINERT, STEVEN J          1905 STANLEY ST                                                                               SAGINAW          MI    48602‐1085
REINERT,JAMES M            1034 REGENT PARK DR                                                                           KETTERING        OH    45429‐6126
REINERT,JOHN J             4832 MARSHALL RD                                                                              KETTERING        OH    45429‐5723
REINERTH JR, MARTIN E      20015 N 94TH AVE                                                                              PEORIA           AZ    85382‐0999
REINERTH, DOROTHEA A       20015 N 94TH AVE                                                                              PEORIA           AZ    85382‐0999
REINERTH, MICHAEL W        210 RIVERS EDGE LANE                                                                          PORTLAND         MI    48875‐1299
REINERTSEN MOTORS INC      295 ROUTE #53                                                                                 DENVILLE         NJ    07834
REINERTSEN MOTORS INC      295 ROUTE 53                                                                                  DENVILLE         NJ    07834
REINERTSEN MOTORS INC.     SCHRADER, LEONARD G               295 ROUTE #53                                               DENVILLE         NJ
REINERTSON, DEBRA R        1512 WANDO VIEW LN                                                                            MOUNT PLEASANT   SC    29464‐7921
REINERTSON, RICHARD W      13347 CRANE RIDGE DR                                                                          FENTON           MI    48430‐1083
REINFELDER, FREDERICK C    6021 JAY RD                                                                                   VASSAR           MI    48768‐9425
REINFELDT, MARVIN C        38130 MCDONALD ST                 LOT# 20                                                     DADE CITY        FL    33525
REINFORD BROWN             20912 LE FEVER AVE                                                                            WARREN           MI    48091‐4635
REINHARD & BEATE SCHWINN   ALBERT‐SCHWEITZER‐STR. 4          D‐64409 MESSEL
REINHARD & INGE GRUNDEI    TEICHACKERSTRASSE 9                                                  D 73547 LORCH GERMANY
REINHARD A O'NEILL         3208 NORTHSHIRE COURT                                                                         ROANOKE          VA 34014
REINHARD ─CHTNER           M▄HLBACH 6                        95100 SELB
REINHARD AECHTNER          MUEHLBACH 6                                                          95100 SELB GERMANY
REINHARD BENDER            STREET                                                                                        KOBLENZ
REINHARD BIECHL            INNRAIN 103                                                          A‐6020 INNSBRUCK
                                                                                                AUSTRIA
REINHARD GEUDER            TAUBENSTR 94                                                         D‐25421 PINNEBERG
                                                                                                GERMANY
REINHARD GILLE             PESLMUELLER STR 9 A                                                  81243 MUENCHEN
                                                                                                GERMANY
REINHARD GOLDSCHMITZ       921 SW 24TH ST                                                                                CAPE CORAL        FL   33991
REINHARD GREGOR            BERNADOTTESTR. 220B               22605 HAMBURG
REINHARD HANKE             WIESENSTRA▀E 19                   06679 W─HLITZ                                               W─HLITZ          DE 06679
REINHARD HANKE             WIESENSTRASSE 19                                                     06679 WAEHLITZ
REINHARD HERZER            GARTENSTRASSE 4                                                      98693 ILMENAU GERMANY
REINHARD HOLEKAMP          GROSSER BOECKEL 18                                                   D‐31188 HOLLE GERMANY
REINHARD HOLEKAMP          GROSSER BOECKEL 18                D‐31188 HOLLE
REINHARD HOLEKAMP          GROSSER B╓CKEL
REINHARD HOLEKAMP          GROSSER B╓CKEL 18                 D‐31188 HOLLE
REINHARD KEGEL             OSTPREUSSENWEG 3                  25479 ELLERAU
REINHARD KINDL             MAJORANWEG 16                                                        65191 WIESBADEN
                                                                                                GERMANY
REINHARD KINDL             MAJORANWEG 16                     65191 WIESBADEN
REINHARD KN╓RR             AM WALDESSAUM 6                   D 18057 ROSTOCK
REINHARD KN╓RR             AM WALDESSAUM 6                                                                               ROSTOCK                19057
REINHARD KREIDL            SUDETEN WEG 16                                                       D‐35614 ASSLAR GERMANY
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Name                         Address1                           Address2                      Address3   Address4                 City             State Zip
REINHARD LECHTAPE‐GRUTER     12 MEDBURN RD                                                               8005 CAMPS BAY SOUTH
                                                                                                         AFRICA
REINHARD LELAND A (360634)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA 23510
                                                                STREET, SUITE 600
REINHARD LEMKE               KLUSER WEG 10                                                               57439 ATTENDORN,
                                                                                                         GERMANY
REINHARD MARKNER             BLACHFELD 20A                                                               14532 KLEINMACHNOW
                                                                                                         GERMANY
REINHARD MAYER               RICHARD‐STRELE STRASSE 18          5020 SALZBURG
REINHARD MAYER               RICHARD‐STRELE‐STRASSE 18          5020 SALZBURG
REINHARD MICKE               SCHWERINER STRA 3E8                                                         D 34212 MELSUNGEN
                                                                                                         GERMANY
REINHARD SCHOEN              2022 E SAINT GEORGES AVE                                                                             LINDEN            NJ   07036‐1048
REINHARD SKUHRA WEISE &      PARTNER GBR                        FREIDRICHSTRASSE 31                      MUINCH D80801 GERMANY
REINHARD SOCHA               REINICKENDORFER STR. 6                                                      45699 HERTEN, GERMANY
REINHARD STRASSMANN          GLEIWITZER STRASSE 12              12683 BERLIN
REINHARD STRA▀MANN           GLEIWITZER STRA▀E 12               12683 BERLIN                  GERMANY
REINHARD STRA▀MANN           GLEIWITZER STRASSE 12                                                       D 12683 BERLIN GERMANY
REINHARD U INGE GRUNDEI      TEICHECKERSTR 9                                                             D73547 LORCH GERMANY
REINHARD, GEORGE V           2714 FOXDALE DR                                                                                      JEFFERSON CITY   MO 65109‐9284
REINHARD, LELAND A           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                       NORFOLK          VA 23510‐2212
                                                                STREET, SUITE 600
REINHARD, THOMAS A           103 GREEN VALE DR                                                                                    COLUMBIA         TN    38401‐6901
REINHARD, THOMAS J           15322 LINCOLNSHIRE LN                                                                                FRASER           MI    48026‐2386
REINHARD‐FELIX, RUTH A       18717 DEERING ST                                                                                     LIVONIA          MI    48152‐3734
REINHARDT COLLEGE            7300 REINHARDT COLLEGE PRKWY                                                                         WALESKA          GA    30183
REINHARDT CURTIS             1406 ASHLEY DR                                                                                       ROUND ROCK       TX    78665‐1113
REINHARDT G STOCKMEISTER     33 TYLER TRL                                                                                         HILTON           NY    14468
REINHARDT JAMI               15203 W MERCER LN                                                                                    SURPRISE         AZ    85379‐5367
REINHARDT JIM                PO BOX 1099                                                                                          SCOTTSBLUFF      NE    69363‐1099
REINHARDT JR, WALTER J       6111 KAREN AVE                                                                                       NEWFANE          NY    14108‐1108
REINHARDT MACHINE PRODUCTS   ATTN: GERALD REINHARDT             986 WATERVIEW DR                                                  BLOSSVALE        NY    13308‐2838
REINHARDT MARGARET           REINHARDT, MARGARET                3 SUMMIT PARK DR STE 100                                          INDEPENDENCE     OH    44131‐2598
REINHARDT, ARTHUR R          4298 FARMCREST ST                                                                                    BURTON           MI    48509‐1106
REINHARDT, BETTY J           2201 N PURDUM ST                                                                                     KOKOMO           IN    46901‐1440
REINHARDT, BRADLEY E         10209 SEYMOUR RD                                                                                     MONTROSE         MI    48457‐9014
REINHARDT, BRADLEY ELDON     10209 SEYMOUR RD                                                                                     MONTROSE         MI    48457‐9014
REINHARDT, CHRISTOPHER D     8254 GERHARDT ST                                                                                     SHELBY TWP       MI    48317‐4404
REINHARDT, CINDY J           8524 WEST MINNEZONA AVENUE                                                                           PHOENIX          AZ    85037‐1520
REINHARDT, CLAUS A           2356 PEWTER HILLS CT                                                                                 MIAMISBURG       OH    45342‐7428
REINHARDT, CODY S            10209 SEYMOUR RD                                                                                     MONTROSE         MI    48457‐9014
REINHARDT, DAVID B           12314 NICHOLS RD                                                                                     BURT             MI    48417‐2390
REINHARDT, DAVID BRYAN       12314 NICHOLS RD                                                                                     BURT             MI    48417‐2390
REINHARDT, DAVID L           4160 SNUG HARBOR RD                                                                                  FAIRGROVE        MI    48733‐9744
REINHARDT, DEBORAH A         6 BRUNSON WAY                                                                                        PENFIELD         NY    14526‐2845
REINHARDT, DONALD E          5056 3 MILE RD                                                                                       BAY CITY         MI    48706‐9087
REINHARDT, EDWARD A          1508 CASS ST                                                                                         SAGINAW          MI    48602‐2536
REINHARDT, EUGENE H          4325 WAVERLY DR                                                                                      WATERFORD        MI    48329‐3665
REINHARDT, FLORENCE E        2957 SO MAIN ST                                                                                      NEWFANE          NY    14108‐9742
REINHARDT, HELENE A          95 BROWNING RD                                                                                       SHORT HILLS      NJ    07078‐1141
REINHARDT, HENRY J           7520 GLASCOTT AVE                                                                                    W BLOOMFIELD     MI    48323‐1333
REINHARDT, HOWARD A          3513 LAURIA RD                                                                                       BAY CITY         MI    48706‐1130
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Name                               Address1                           Address2                         Address3                   Address4         City              State Zip
REINHARDT, JEROME O                1601 FEMME OSAGE CREEK RD                                                                                       AUGUSTA            MO 63332‐1207
REINHARDT, JOHN H                  PO BOX 1404                                                                                                     WALLER             TX 77484‐1404
REINHARDT, JOHN J                  1803 WARD STORE RD                                                                                              FAIRMONT           NC 28340‐6453
REINHARDT, JON W                   6051 RACHEL RDG                                                                                                 NORCROSS           GA 30092‐1312
REINHARDT, JUNE L                  3098 SENSKE RD                                                                                                  STANDISH           MI 48658
REINHARDT, KAREN M                 9385 ASHBROOK FARM RD                                                                                           HILLSBORO          MO 63050‐2738
REINHARDT, KARL P                  11384 WALNUT AVE NE                                                                                             ALLIANCE           OH 44601‐1374
REINHARDT, KARL R                  1880 RUBY AVE                                                                                                   ROCHESTER HLS      MI 48309‐4228
REINHARDT, KENNETH E               611 S MAIN ST                                                                                                   DAVISON            MI 48423‐1813
REINHARDT, KIPP A                  3447 NORTHWOOD DR                                                                                               COLUMBIAVILLE      MI 48421‐8926
REINHARDT, LINDA C                 355 OHIO ST                                                                                                     LOCKPORT           NY 14094‐4217
REINHARDT, MARVIN                  PO BOX 215                                                                                                      TROY               MI 48099‐0215
REINHARDT, MARY E                  5877 NORTH JACK ROAD                                                                                            MIDLAND            MI 48642‐8433
REINHARDT, MARY E                  5877 N JACK RD                                                                                                  MIDLAND            MI 48642
REINHARDT, MICHAEL D               527 N KNIGHT RD                                                                                                 BAY CITY           MI 48708‐9165
REINHARDT, MICHAEL R               306 OXFORD ST                                                                                                   BAY CITY           MI 48708‐4402
REINHARDT, MILDRED C               15464 FLADT RD                                                                                                  MARYSVILLE         OH 43040‐9517
REINHARDT, PAUL B                  5190 S NORTH COUNTRY DR                                                                                         LAKE CITY          MI 49651‐9600
REINHARDT, PAUL E                  196 UNION ST                                                                                                    NORFOLK            MA 02056‐1702
REINHARDT, RANDY A                 21400 LAKEFIELD RD                                                                                              MERRILL            MI 48637‐9723
REINHARDT, RAYMOND A               2100 ROSWELL RD STE 200C PMB 114                                                                                MARIETTA           GA 30062‐0807
REINHARDT, RAYMOND A               9110 W OUTER DR                                                                                                 DETROIT            MI 48219‐4063
REINHARDT, RITA                    1250 SILVERSTONE CT                                                                                             HIGH POINT         NC 27265‐9240
REINHARDT, ROBERT J                3356 SUMMERSET CT                                                                                               NORTH TONAWANDA    NY 14120‐1276
REINHARDT, ROGER                   111 SUMMIT DR                                                                                                   LAPEER             MI 48446‐1474
REINHARDT, RONALD F                1010 THOREAU CT APT 108                                                                                         SAINT LOUIS        MO 63146‐5549
REINHARDT, SUSAN E                 711 N YORK ST                                                                                                   DEARBORN           MI 48128‐1781
REINHARDT, TAMARA S                714 VERMILYA AVE                                                                                                FLINT              MI 48507‐1725
REINHARDT, TAMARA SUE              714 VERMILYA AVE                                                                                                FLINT              MI 48507‐1725
REINHARDT, THERESA M               200 CHIPPEWA CT                                                                                                 GIRARD             OH 44420‐3617
REINHARDT, VERNON A                5089 REINHARDT LN                                                                                               BAY CITY           MI 48706‐3256
REINHARDT, VIRGINIA                2324 BIRCH LN                                                                                                   NEWFANE            NY 14108‐9524
REINHARDT, VIRGINIA                2324 BIRCH LANE                                                                                                 NEWFANE            NY 14108‐9524
REINHARDT, WAYNE H                 503 KING ST                                                                                                     BAY CITY           MI 48706‐3724
REINHARDT, WILLIAM H               2699 MAPLE FOREST DR                                                                                            WIXOM              MI 48393‐4502
REINHART BOERNER VAN DEUREN        NORRIS & RIESELBACH SC             1000 N WATER ST STE 2100                                                     MILWAUKEE          WI 53202‐3197
REINHART BOERNER VAN DEUREN S.C.   ATT: L. KATIE MASON                ATTY FOR UNICO, INC.             1000 NORTH WATER ST, STE                    MILWAUKEE          WI 53201‐2965
                                                                                                       1700, PO BOX 2965
REINHART BOERNER VAN DEUREN S.C.   ATT: AMANDA M. GIBBS               1000 NORTH WATER STREET, SUITE   P.O. BOX 2965                               MILWAUKEE         WI 53201‐2965
                                                                      1700
REINHART FLYNN INC                 HENDRZAK JOHN P LAW OFFICE         3773 CORPORATE CENTER PARKWAY                                                CENTER VALLEY     PA 18034

REINHART III, RALPH E              48080 WALDEN RD                                                                                                 MACOMB            MI 48044‐4909
REINHART INDUSTRIES INC            12055 GLOBE ST                                                                                                  LIVONIA           MI 48150‐1142
REINHART JERRY                     REINHART, JERRY
REINHART JR, DONALD J              10355 RATHBUN RD                                                                                                BIRCH RUN         MI 48415‐9732
REINHART JR, DONALD JOSEPH         10355 RATHBUN RD                                                                                                BIRCH RUN         MI 48415‐9732
REINHART JR, WAYNE A               564 HOWLAND WILSON RD SE                                                                                        WARREN            OH 44484‐2508
REINHART KARL                      HABERLANDSTR. 11                   D‐81241 MUENCHEN
REINHART RUFF                      221 NW 361ST RD                                                                                                 WARRENSBURG       MO 64093‐7613
REINHART SUSAN                     25805 DULANEY ST                                                                                                SPLENDORA         TX 77372
REINHART, AMY J                    1653 HUNTERSLAND RD                                                                                             MIDDLEBURGH       NY 12122‐6706
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Name                          Address1                        Address2               Address3    Address4                City            State Zip
REINHART, BERNARD L           2770 FREELAND RD APT 30                                                                    SAGINAW          MI 48604‐9615
REINHART, BILLY G             941 GREENE ROAD 125                                                                        PARAGOULD        AR 72450‐8177
REINHART, CHRISTOPHER E       552 E PEARL ST                                                                             TOLEDO           OH 43608‐1231
REINHART, DAVID C             5166 FLAGLER ST                                                                            FLINT            MI 48532‐4136
REINHART, DAVID CHARLES       5166 FLAGLER ST                                                                            FLINT            MI 48532‐4136
REINHART, DONALD J            290 W STATE ST                  PO BOX 421                                                 MONTROSE         MI 48457‐9748
REINHART, DONALD W            6110 EAST 800 NORTH                                                                        BROWNSBURG       IN 46112
REINHART, DUSTIN P            10355 RATHBUN RD                                                                           BIRCH RUN        MI 48415‐9732
REINHART, EVELYN L            PO BOX 32                                                                                  HIGGINS LAKE     MI 48627‐0032
REINHART, EVELYN L            105 MAPLE RD. P.O. BOX 32                                                                  HIGGINS LK.      MI 48627‐0032
REINHART, GARY J              6420 TURNER RD                                                                             FLUSHING         MI 48433
REINHART, GERALD R            308 TIMBER HILL DR                                                                         TRAVERSE CITY    MI 49686‐9451
REINHART, HELEN FRANCES       3162 STERLING RD                                                                           OMER             MI 48749‐9722
REINHART, JAMES F             593 TELYA RDG                                                                              MILFORD          MI 48381‐1805
REINHART, JEAN MARIE B        PO BOX 8631                                                                                LEVELLAND        TX 79338‐8631
REINHART, JOHN S              10031 SEYMOUR RD                                                                           MONTROSE         MI 48457‐9012
REINHART, KENNY O             15 CRONIN AVE                                                                              PAWCATUCK        CT 06379‐2231
REINHART, LARRY E             PO BOX 1688                                                                                TOLEDO           OH 43603‐1688
REINHART, LEONA M             2770 FREELAND RD                #30                                                        SAGINAW          MI 48604
REINHART, MARK S              23220 RENSSELAER ST                                                                        OAK PARK         MI 48237‐2199
REINHART, MARTHA M            2736 QUEEN RIDGE DR                                                                        INDEPENDENCE     MO 64055‐2263
REINHART, MARTHA M            2736 SOUTH QUEEN RIDGE AVENUE                                                              INDEPENDENCE     MO 64055
REINHART, MARY C              4191 CUSTER ORANGEVILLE RD NE                                                              BURGHILL         OH 44404‐9717
REINHART, MICHAEL E           10372 TALLMADGE RD                                                                         DIAMOND          OH 44412‐9744
REINHART, MICHAEL J           7410 W FARRAND RD                                                                          CLIO             MI 48420‐9470
REINHART, NICKOLAS M          5937 FOTH DR                                                                               TOLEDO           OH 43613‐1533
REINHART, NICKOLAS MARION     5937 FOTH DRIVE                                                                            TOLEDO           OH 43613‐1533
REINHART, PAMELA J            21330 PLATTSBURG ST                                                                        SOUTHFIELD       MI 48033‐4351
REINHART, PAUL E              3102 STARKWEATHER ST                                                                       FLINT            MI 48506‐2620
REINHART, PAULINE R           4495 CALKINS RD APT 326                                                                    FLINT            MI 48532‐3577
REINHART, RICHARD E           1412 DUNDEE DR                                                                             NEW HAVEN        IN 46774‐2030
REINHART, ROBERT G            15507 WHITE OAK                                                                            FRASER           MI 48026‐5099
REINHART, RONALD D            9919 BROOKFIELD ST                                                                         LIVONIA          MI 48150‐2727
REINHART, RUTH A              3902 ELDER ST                                                                              PRESCOTT         MI 48756‐9635
REINHART, SHARON L            6420 TURNER RD                                                                             FLUSHING         MI 48433
REINHART, TIMON J             257 HARDWOOD CT                                                                            TOLEDO           OH 43612‐4507
REINHART, TIMOTHY J           919 NATURE LAKE CIR                                                                        BROWNSBURG       IN 46112‐8180
REINHART, WILLIAM J           531 WILLARD AVE NE                                                                         WARREN           OH 44483‐5533
REINHART, WILLIAM P           730 GARLAND RD                                                                             ORTONVILLE       MI 48462‐8437
REINHEIMER, ANNA L            PO BOX 56                                                                                  ST JACOB          IL 62281
REINHEIMER, JAMES G           PO BOX 56                                                                                  SAINT JACOB       IL 62281‐0056
REINHILDE ALICE DR SCHWEDE    MUSASHI UNIVERSITY              TOYOTAMA KAMI 1‐26‐1   NERIMA KU   176‐8534 TOKYO, JAPAN
REINHILDE ALICE DR. SCHWEDE   MUSASHI UNIVERSITY              TOYOTAMA KAMI 1‐26‐1   NERIMA KU   176‐8534 TOKYO JAPAN
REINHILDE LOOMIS              873 PINECREEK DR                                                                           DAYTON          OH 45458‐2124
REINHOLD & VID/ANTCH          101 CUMMINGS CT                                                                            ANTIOCH         TN 37013‐3244
REINHOLD BENNER               VOGELHAMMERSTRASSE 45           67659 KAISERSLAUTERN
REINHOLD BLOCH                2086 SECTION RD                                                                            NASHVILLE       MI 49073‐9128
REINHOLD COHN & PARTNERS      21 AHAD HAAM ST                                                    TEL AVIV 61040 ISRAEL
REINHOLD FALTLHAUSER          HOCHBIRKEN 4                    82061 NEURIED
REINHOLD GARINGER             4285 W MICHIGAN AVE                                                                        SAGINAW          MI 48638‐6641
REINHOLD HATHEYER             AM STADTBACH 18                                                                            BRAUNAU             5280
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Name                              Address1                           Address2                     Address3   Address4                  City               State Zip
REINHOLD HENDLER                  AM BURGRAIN 3                                                              36137 GROSSENLUEDER
                                                                                                             GERMANY
REINHOLD IVANOV                   4254 HUFFMAN RD                                                                                      MEDINA             OH    44256‐8629
REINHOLD KOEHLER                  3843 ANDERSON AVE                                                                                    LA CRESCENTA       CA    91214‐2306
REINHOLD KOMM                     7510 YORKTOWN RD                                                                                     LANSING            MI    48917‐9688
REINHOLD KRUEGER                  C/O BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH    44236
REINHOLD MARGIT PIGAL             AM PARADIES 85                     DE 37431 BAD LAUTERBERG      GERMANY                              BAD LAUTERBERG     DE    37431
REINHOLD MARGOT PIGAL             AM PARADIES 85                     DE 37431 BAD LAUTERBERG      GERMANY                              BAD LAUTERBERG     DE    37431
REINHOLD POENSGEN                 SPITALHOFSTRASSE 5B                                                        85051 INGOLSTADT
                                                                                                             GERMANY
REINHOLD PRESSLER                 10165 SPRINGBORN RD                                                                                  CASCO               MI 48064‐3402
REINHOLD RENO                     NEED BETTER ADDRESS 11/16/06CP     30 LEXINGTON HILL RD                                              HARRIMAN            NY 10926
REINHOLD RUPPEL                   16 5 OAKS DRIVE                                                                                      SAGINAW             MI 48638‐5953
REINHOLD SCHWARZER                ALFTERSTR 33                                                               50389 WESSELING
                                                                                                             GERMANY
REINHOLD SEPPER                   BERG‐ISEL‐STR.3A                   81547 M▄NCHEN                GERMANY
REINHOLD SIGLE                    HORNBERGSTRASSE 18                 70806 KORNWESTHEIM           GERMANY
REINHOLD SIGLE                    HORNBERGSTR. 18                    70806 KORNWESTHEIM
REINHOLD SPECKHARDT               4133 MAPLE RD                                                                                        OSCODA              MI 48750‐9538
REINHOLD UHRICH                   2441 BEWICK ST                                                                                       SAGINAW             MI 48601‐6722
REINHOLD UND URSULA KAMBURG       PAPPELALLEE 101                    45661 RECKLINGHAUSEN
REINHOLD UND URSULA KAMBURG       PAPPELALLEE 101                                                            45663 RECKLINGHAUSEN
                                                                                                             GERMANY
REINHOLD ZETTELMEIER              BERN RIEDER STR 40                                                         S4 560 OFFENBERG
                                                                                                             GERMANY
REINHOLD, DEBRA L                 6186 BEECHER RD                                                                                      FLINT              MI    48532‐2001
REINHOLD, DENNIS H                39125 PINETREE ST                                                                                    LIVONIA            MI    48150‐4553
REINHOLD, HARRY J                 PO BOX 320040                                                                                        FLINT              MI    48532
REINHOLD, RUDOLPH F               19800 QUARRY RD                                                                                      WELLINGTON         OH    44090‐9784
REINHOLD‐RICHARD + MARGIT PIGAL   AM PARADIES 85                                                             DE 37431 BAD LAUTERBERG
                                                                                                             GERMANY
REINHOLD‐RICHARD + MARGIT PIGAL   AM PARADIES 85                     DE 37431 BAD LAUTERBERG      GERMANY
REINHOLM, CONNIE S                1249 LARKMOOR BLVD                                                                                   BERKLEY            MI    48072‐1990
REINHOLTZ, FRANCIS A              4349 FIR ST                                                                                          CLARKSTON          MI    48348‐1428
REINHOLZ, EDWARD C                710 GLENHURST RD                                                                                     WILLOWICK          OH    44095‐4233
REINHOLZ, RUDY M                  1225 N SHIAWASSEE ST                                                                                 OWOSSO             MI    48867‐1642
REINHOLZ, RUDY MELVIN             1225 N SHIAWASSEE ST                                                                                 OWOSSO             MI    48867‐1642
REINHOUT, ADALBERT W              105 BORDEN RD                                                                                        ROSE CITY          MI    48654
REINHOUT, CORNELIUS E             15393 15 MILE RD APT 315                                                                             CLINTON TOWNSHIP   MI    48035
REINHOUT, JEFFERY P               8654 INDIAN TRL                                                                                      CLARKSTON          MI    48348‐2534
REINI, LUKE A                     906 HEATHER LAKE DR                                                                                  CLARKSTON          MI    48348‐3650
REINIER, FREDERICK L              3305 SIMMONS DR                                                                                      GROVE CITY         OH    43123‐1834
REINIER, GLENDOLA P               2 JILL DR                                                                                            MUSCATINE          IA    52761‐5629
REINIER, HERBERT                  6007 ST. RTE. #252                                                                                   BROOKVILLE         IN    47012
REINIER, JOSEPH F                 3305 SIMMONS DR 695                                                                                  GROVE CITY         OH    43123
REINIG, BARBARA A                 9325 MIDLAND RD                                                                                      FREELAND           MI    48623‐9707
REINIG, KENDELL C                 7075 BLANKENSHIP CIR                                                                                 DAVISON            MI    48423‐2316
REINIG, THOMAS C                  4161 N BEACH ST                                                                                      SANFORD            MI    48657‐9563
REINIKE JENNIFER                  124 LAWRENCE RD                                                                                      HEBRON             NE    68370‐1107
REINING, ARTHUR J                 2630 ANTHONY AVE                                                                                     JANESVILLE         WI    53546‐5610
REINING, IVA M                    2983 SUNSET DR                                                                                       GRAND ISLAND       NY    14072‐1238
REINING, IVA M                    2983 SUNSET DRIVE                                                                                    GRAND ISLAND       NY    14072‐1238
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Name                         Address1                        Address2                         Address3   Address4               City               State Zip
REINING, WILBERT H           6156 DEERING ST                                                                                    GARDEN CITY         MI 48135‐2507
REININGER R HOLDINGS LTD
REININGER R HOLDINGS LTD     1240 TWINNEY DR                                                             NEWMARKET ON L3Y 5N1
                                                                                                         CANADA
REININGER R HOLDINGS LTD     74100 VAN DYKE RD                                                                                  BRUCE TWP          MI 48065‐3215
REININGER R HOLDINGS LTD     TIM TUCKER                      1240 TWINNEY CRESCENT/POB 2000              OAKVILLE ON CANADA

REININGER R HOLDINGS LTD                                     1240 TWINNEY DRIVE                                                                    ON L3Y 5
REININGER R HOLDINGS LTD     1240 TWINNEY CRES                                                           NEWMARKET ON L3Y 5N1
                                                                                                         CANADA
REININGER, KATHERINE N       481 LOMA LINDA                                                                                     NORTH PORT         FL 34287‐2518
REININGER, R & SON LTD       74100 VAN DYKE RD                                                                                  BRUCE TWP          MI 48065‐3215
REININGER, R & SON LTD       1240 TWINNEY DR                                                             NEWMARKET ON L3Y 5N1
                                                                                                         CANADA
REININGER/NEWMARKET          1240 TWINNEY DRIVE                                                          NEWMARKET ON L3Y 5N1
                                                                                                         CANADA
REININK, MAE E               8356 TUNNEY AVE                                                                                    NORTHRIDGE         CA   91324‐4261
REININK, THOMAS H            6928 WILBUR AVE                                                                                    RESEDA             CA   91335‐3942
REINIS, ARVIDS               1239 WOODFIELD TRL                                                                                 HEMLOCK            MI   48626‐9235
REINISCH, MARSHA A           1601 16TH AVE E                                                                                    WEST FARGO         ND   58078‐3438
REINITZ, EDWARD J            1211 DAISY ST                                                                                      SWEET SPRINGS      MO   65351‐1514
REINKE GUSTAVE JR (665266)   SIMMONS FIRM                    PO BOX 521                                                         EAST ALTON         IL   62024‐0519
REINKE III, CARL W           650 COUNTRYSIDE LN                                                                                 OAKLAND            MI   48363‐1402
REINKE JENNIFER              124 LAWRENCE RD                                                                                    HEBRON             NE   68370‐1107
REINKE JR, CLARENCE F        1709 22ND AVE N                                                                                    LAKE WORTH         FL   33460‐6000
REINKE, ALICE                9705 B 7TH ST                                                                                      OSCODA             MI   48750
REINKE, ALICE                9705B 7TH ST                                                                                       OSCODA             MI   48750‐1926
REINKE, BETTY                311 N COLONY DR APT 2D                                                                             SAGINAW            MI   48638‐7111
REINKE, BRIAN                5874 AUGUSTA LN                                                                                    GRAND BLANC        MI   48439‐9472
REINKE, CARL W               2435 KOSCIUSZKO AVE                                                                                BAY CITY           MI   48708‐7610
REINKE, CAROLE R.            260 OAKDALE DR                                                                                     BAY CITY           MI   48706‐1433
REINKE, CHARLES R            9415 E TOWNLINE RD                                                                                 FRANKENMUTH        MI   48734‐9556
REINKE, CHARLOTTE            7020 DANNY DR                                                                                      SAGINAW            MI   48609‐5226
REINKE, CHARLOTTE            7020 DANNY DRIVE                                                                                   SAGINAW            MI   48609‐5226
REINKE, DANIEL L             4425 SEIDEL PL                                                                                     SAGINAW            MI   48638‐5637
REINKE, DAVID J              3731 GRAFTON STREET                                                                                LAKE ORION         MI   48359‐1542
REINKE, DAVID R              9364 N VASSAR RD                                                                                   MOUNT MORRIS       MI   48458‐9774
REINKE, DENNIS E             7188 ANDREWS RD                                                                                    SAINT CHARLES      MI   48655‐9676
REINKE, DIANA M              262 STORR                                                                                          ADRIAN             MI   49221‐4279
REINKE, EDWARD A             18302 PONCIANA AVE                                                                                 CLEVELAND          OH   44135‐3940
REINKE, ELIZABETH A          2000 RAMAR RD LOT 370                                                                              BULLHEAD CITY      AZ   86442‐9312
REINKE, ERIC R               213 SILVER LAKE DR                                                                                 LAKE               MI   48632‐9242
REINKE, ERICK D              1210 CLARK RD                                                                                      LAPEER             MI   48446‐9401
REINKE, EUGENE J             5088 N VASSAR RD                                                                                   FLINT              MI   48506‐1751
REINKE, EUGENE JOHN          5088 N VASSAR RD                                                                                   FLINT              MI   48506‐1751
REINKE, GUSTAVE              SIMMONS FIRM                    PO BOX 521                                                         EAST ALTON         IL   62024‐0519
REINKE, HARRY M              2710 BRODIE RD                                                                                     SOUTH BRANCH       MI   48761‐9744
REINKE, HELEN E              125 CEDAR RIDGE DR APT S330                                                                        WEST BEND          WI   53095‐3685
REINKE, JAY M                2512 W GREENFIELD AVE                                                                              MILWAUKEE          WI   53204‐1925
REINKE, JOHN                 8971 HENSLEY DR                                                                                    STERLING HEIGHTS   MI   48314‐2667
REINKE, JOHN F               3732 W 46TH PL                                                                                     CLEVELAND          OH   44102‐6010
REINKE, JOSEPHINE R          6700 CROFOOT ROAD                                                                                  HOWELL             MI   48843‐9609
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Name                        Address1                           Address2                        Address3   Address4         City                 State Zip
REINKE, KENNETH E           24853 CHERNICK ST                                                                              TAYLOR                MI 48180‐2113
REINKE, KURT M              603 EAST VILLAGE GREEN B                                                                       MARS                  PA 16046
REINKE, LINDA M             205 THOMAS ST                                                                                  HOLLY                 MI 48442‐1353
REINKE, LORI C              3680 SILVER SANDS DR                                                                           WATERFORD             MI 48329‐4258
REINKE, MARYANN             4232 SNOWBIRD LN                                                                               ZEPHYRHILLS           FL 33541‐5071
REINKE, MICHAEL D           5230 N WILLIAMSTON RD                                                                          WILLIAMSTON           MI 48895‐9653
REINKE, NANCY L             1509 RYAN ST                                                                                   FLINT                 MI 48532‐5066
REINKE, NOLA A              5101 TOWNLINE RD                                                                               BIRCH RUN             MI 48415‐9053
REINKE, NORMAN E            G1244 W ROWLAND ST                                                                             FLINT                 MI 48507
REINKE, NORMAN R            2555 ANDEN PL                                                                                  SAGINAW               MI 48604‐9740
REINKE, PAUL E              1133 SPRINGWOOD LN                                                                             ROCHESTER HILLS       MI 48309‐2602
REINKE, PHYLLIS             4300 ACKERMAN BLVD                                                                             DAYTON                OH 45429‐4741
REINKE, RAMONA              93 SWEET BRIAR RD                                                                              TONAWANDA             NY 14150‐7534
REINKE, RANDOLPH A          1055 ROBERTA ST                                                                                VENICE                FL 34285‐7142
REINKE, RANDOLPH A          6985 HUBBARD RD                                                                                CLARKSTON             MI 48348‐2867
REINKE, RANDY L             1016 CHESANING ST                                                                              SAINT CHARLES         MI 48655‐1806
REINKE, RICHARD E           5420 W BIRCH RUN RD                                                                            SAINT CHARLES         MI 48655‐9627
REINKE, RODGER E            16483 BIRD RD                                                                                  LINDEN                MI 48451‐9758
REINKE, ROGER M             5101 TOWNLINE RD                                                                               BIRCH RUN             MI 48415‐9053
REINKE, ROGER MARTIN        5101 TOWNLINE RD                                                                               BIRCH RUN             MI 48415‐9053
REINKE, ROGER W             1246 NW 108TH CIR                                                                              CLIVE                  IA 50325‐6670
REINKE, ROSEMARY K          128 A FOX BERRY DRIVE                                                                          GETZVILLE             NY 14068‐1013
REINKE, ROSEMARY K          128A FOXBERRY DR                                                                               GETZVILLE             NY 14068‐1013
REINKE, STEVEN K            4324 MCDOWELL RD                                                                               LAPEER                MI 48446
REINKE, THOMAS D            8095 EVERGREEN PARK DR                                                                         SAGINAW               MI 48609‐4206
REINKE, WALTER K            1913 E BEAVER RD                                                                               KAWKAWLIN             MI 48631‐9122
REINKE, WAYNE K             1509 RYAN ST                                                                                   FLINT                 MI 48532‐5066
REINKE, WAYNE KENNETH       1509 RYAN ST                                                                                   FLINT                 MI 48532‐5066
REINKE, WILLARD C           4401 HERTZ RD                                                                                  PORT HOPE             MI 48468‐9715
REINKE, WILLIAM W           2080 W VASSAR RD                                                                               REESE                 MI 48757‐9351
REINKER JR, NORMAN W        735 W MCGUIRE ST                                                                               MIAMISBURG            OH 45342‐1913
REINKER, ELIZABETH A        735 W MCGUIRE ST                                                                               MIAMISBURG            OH 45342‐1913
REINKING, KAY K             424 1ST ST NW                                                                                  SAINT MICHAEL         MN 55376‐9500
REINLEIN, RICHARD A         27095 DEVONSHIRE ST                                                                            SOUTHFIELD            MI 48076‐3138
REINMAN, MARC E             22405 ROAD 122                                                                                 OAKWOOD               OH 45873‐9322
REINOEHL RICHARD (447213)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD            OH 44067
                                                               PROFESSIONAL BLDG
REINOSO, FLORDELIS C        P.O.BOX 99224                                                                                  TROY                 MI   48099‐9224
REINOSO, FLORDELIS C        PO BOX 99224                                                                                   TROY                 MI   48099‐9224
REINOSO, FRANK A            1214 W AVENUE H15                                                                              LANCASTER            CA   93534‐1751
REINOSO, JASON C            610 INDIAN TRAIL CT                                                                            SMITHVILLE           MO   64089‐9405
REINOSO, MANUEL             PO BOX 99671                                                                                   TROY                 MI   48099‐9671
REINOSO, PATRICIA S         610 INDIAN TRAIL CT                                                                            SMITHVILLE           MO   64089‐9405
REINOWSKI, BRIANNA L        23200 RECREATION ST                                                                            SAINT CLAIR SHORES   MI   48082‐3009
REINOWSKI, GERALD J         15161 FORD RD                      APT 505                                                     DEARBORN             MI   48126‐4652
REINOWSKI, MATTHEW C        PO BOX 211                                                                                     WATERS               MI   49797‐0211
REINS, CORWIN T             1469 N HADLEY RD                                                                               ORTONVILLE           MI   48462‐9737
REINSBACH, ANNA M           1601 N RANDALL AVE APT 56                                                                      JANESVILLE           WI   53545
REINSCH, ALICIA             2001 RAMROAD AVE                   APT #515 BLDG 5                                             HENDERSON            NV   89014
REINSCH, ALICIA             2001 RAMROD AVE                    APT 1711                                                    HENDERSON            NV   89014‐2381
REINSCH, MARY J             5790 DENLINGER RD APT 6201                                                                     DAYTON               OH   45426
REINSCHMIDT JR, WILLIAM G   13141 LEAVENWORTH RD                                                                           KANSAS CITY          KS   66109‐3364
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Name                                   Address1                         Address2               Address3     Address4             City               State Zip
REINSCHMIDT, KATHY E                   4507 COUNTRY CLUB DR                                                                      DICKINSON           TX 77539‐7617
REINSEL, THOMAS J                      2237 CHESTERTON ST                                                                        SIMI VALLEY         CA 93065‐1410
REINSFELDER INC                        1023 NORTH AVE                                                                            MILLVALE            PA 15209‐2254
REINSHAGEN, RONALD H                   268 MEADOWLARK WAY                                                                        SAUTEE NACOOCHEE    GA 30571‐3423
REINSHUTTLE, PAULA J                   3446 FAIRWAY DR                                                                           BAY CITY            MI 48706‐3332
REINSHUTTLE, PAULA JO                  3446 FAIRWAY DR                                                                           BAY CITY            MI 48706‐3332
REINSHUTTLE, STEVEN A                  3446 FAIRWAY DR                                                                           BAY CITY            MI 48706‐3332
REINSMITH, DANIEL J                    1240 VERLENE DR                                                                           FLORISSANT          MO 63031‐3355
REINSMITH, LAURA C                     9112 HOOPER RD                                                                            CHARLOTTE           MI 48813‐9125
REINTGES PAUL F (ESTATE OF) (655208)   THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                     BOSTON              MA 02110‐2104
REINTGES, DOUGLAS                      6855 UNION AVE SE                                                                         GRAND RAPIDS        MI 49548‐7351
REINTGES, KATHLEEN A                   12772 MYERS LAKE AVE NE                                                                   CEDAR SPRINGS       MI 49319
REINTGES, PAUL F                       THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                     BOSTON              MA 02110‐2104
REINTJES & HITER CO INC                ATTN: G F RENTJES                101 SUNSHINE RD                                          KANSAS CITY         KS 66115‐1396
REINWASSER, TERESA M                   PO BOX 252                                                                                ROMEO               MI 48065‐0252
REINZ CO/W GERMANY                     REINZSTR 3‐7                                                         NEU‐ULM BY 89233
                                                                                                            GERMANY
REINZ DICHTUNGS GMBH                   REINZSTR 3 7                                                         NEU ULM D‐89233
                                                                                                            GERMANY
REINZ WISC/NOVI                        39500 ORCHARD HILL PLACE DRIVE   SUITE 190                                                NOVI               MI 48050
REINZ‐DICHTUNGS‐GMBH                   REINZSTR 3‐7                                                         NEU‐ULM BY 89233
                                                                                                            GERMANY
REIP, CHARLES F                        32 LOCH LOMA DR                                                                           MOUNT MORRIS       MI   48458‐8928
REIP, THOMAS J                         605 SPRINGMILL ST                                                                         MANSFIELD          OH   44903‐1105
REIP, TIMOTHY G                        2278 THISTLEWOOD DR                                                                       BURTON             MI   48509‐1253
REIPOLD, ANTHONY R                     14 MARILYN CT                                                                             TONAWANDA          NY   14150‐4615
REIS ENVIRONMENTAL INC                 REIS EQUIPMENT CO                11022 LINPAGE PL                                         SAINT LOUIS        MO   63132‐1012
REIS III, PETER F                      12157 COUNTRY RUN DR                                                                      BIRCH RUN          MI   48415
REIS III, PETER F                      2424 E MOORE RD                                                                           SAGINAW            MI   48601‐9343
REIS JR, FREDERICK S                   25 YORKSHIRE RD                                                                           DOVER              MA   02030‐2368
REIS JR, ROBERT D                      2445 PETER SMITH RD                                                                       KENT               NY   14477‐9614
REIS, ANASTACIO                        503 WOODHAVEN DR                                                                          EDISON             NJ   08817‐3799
REIS, ANDREW                           2017 MACKINAW ST                                                                          SAGINAW            MI   48602‐3035
REIS, ANDREW A                         3406 DALE RD                                                                              SAGINAW            MI   48603‐3122
REIS, BETTY J                          PO BOX 2073                                                                               SUN CITY           AZ   85372‐2073
REIS, DAVID J                          1712 LYON ST                                                                              SAGINAW            MI   48602‐2811
REIS, DONNA J                          3200 IDAHO AVE                                                                            KENNER             LA   70065‐4525
REIS, DWIGHT P                         2907 CHICAGO BLVD                                                                         FLINT              MI   48503‐3472
REIS, GERMANO V                        225 DORSET DR                                                                             CLARK              NJ   07066
REIS, GLORIA F                         630 CLARKSON‐HAMLN T.L. RD                                                                HAMLIN             NY   14464
REIS, GWENDOLEN                        1341 PARK GLEN DR APT 301                                                                 RALEIGH            NC   27610‐1065
REIS, HENRY M                          1930 HANDLEY STREET                                                                       SAGINAW            MI   48602‐3665
REIS, IZETTA M                         180 MAIN ST C‐225                                                                         WALPOLE            MA   02081
REIS, JAMES A                          8028 EVERGREEN PARK DR                                                                    SAGINAW            MI   48609‐4205
REIS, JANN C                           1387 NORTH WEST TORCH LAKE DR                                                             KEWADIN            MI   49648‐9240
REIS, JANN C                           1387 N WEST TORCH LAKE DR                                                                 KEWADIN            MI   49648‐9240
REIS, JOHN L                           1442 WOODSCLIFF DR                                                                        ANDERSON           IN   46012‐9267
REIS, JOSEPH                           47 WILLIAM ST                                                                             OSSINING           NY   10562‐5530
REIS, JULIETTE A                       14 UNION ST                                                                               MILFORD            MA   01757‐2310
REIS, MARTIN L                         PO BOX 459                                                                                HAMLIN             NY   14464‐0459
REIS, META                             15 CHESTNUT OVAL                                                                          ORANGEBURG         NY   10962‐1409
REIS, NANCY J                          1930 HANDLEY ST                                                                           SAGINAW            MI   48602‐3665
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Name                        Address1                          Address2                          Address3   Address4         City            State Zip
REIS, NANCY L               11331 CLAYTON RD                                                                                FRONTENAC        MO 63131‐2552
REIS, PAUL J                514 E HURON RD                                                                                  OMER             MI 48749‐9774
REIS, ROBERT A              8199 MISSION RD                                                                                 ALANSON          MI 49706‐9217
REIS, ROBERT D              2455 PETER SMITH RD                                                                             KENT             NY 14477‐9614
REIS, ROBERT F              14430 FROST RD                                                                                  HEMLOCK          MI 48626‐9444
REIS, ROGER P               1098 LAKE ROAD WEST FRK                                                                         HAMLIN           NY 14464
REIS, RUSSEL T              67 E NORMAN AVE                                                                                 DAYTON           OH 45405‐3509
REIS, STEPHANIE             385 LINDSEY ST                                                                                  ATTLEBORO        MA 02703
REIS, STEPHEN R             67 E NORMAN AVENUE                                                                              DAYTON           OH 45405‐3509
REIS, THOMAS P              634 BRITTANY DR                                                                                 CHEYENNE         WY 82009‐5908
REIS, WILLIAM F             PO BOX 311                                                                                      HAMLIN           NY 14464‐0311
REISBICH, HAROLD R          2490 GOLDEN SHORE CT                                                                            FENTON           MI 48430‐1060
REISBICH, LUCILLE           2490 GOLDEN SHORE CT                                                                            FENTON           MI 48430‐1060
REISBIG, ERIK A             11231 BRICKAND DR                                                                               GRAND LEDGE      MI 48837‐8457
REISBIG, GARY R             10272 PEAKE RD                                                                                  PORTLAND         MI 48875‐9434
REISCH, WARREN L            PO BOX 313                                                                                      BRIDGEPORT       TX 76426‐0313
REISCHER, LORIE R           15 W 72ND ST APT 30A                                                                            NEW YORK         NY 10023‐3472
REISCHER, NATHAN            APT 30A                           15 WEST 72ND STREET                                           NEW YORK         NY 10023‐3472
REISCHLING, JAMES D         4459 GRAND LIN ST                                                                               SWARTZ CREEK     MI 48473‐9113
REISCHLING, JEFFREY P       325 CLOVERDALE PL                                                                               FLINT            MI 48503‐2346
REISCHLING, JEFFREY PAUL    325 CLOVERDALE PL                                                                               FLINT            MI 48503‐2346
REISEDGE, SHARON L          76 WESTDALE DR                                                                                  HOWELL           MI 48843‐8631
REISEN ANDREAS              FELDSTRA▀E 11                     52382 NIEDERZIER
REISEN ANDREAS              FELDSTRASSE 11                    52382 NIEDERZIER
REISEN, JAMES D             956 S PERRY PKWY                                                                                OREGON          WI 53575‐3663
REISENLEITER PHILIP A       OBRIEN LAW FIRM                   211 NORTH BROADWAY ‐ SUITE 1500                               ST LOUIS        MO 63102

REISENLEITER, PHILIP A      OBRIEN LAW FIRM                   1 METROPOLITAN SQ STE 1500                                    SAINT LOUIS     MO 63102‐2799
REISER
REISER JR, MARVIN W         1334 W SARATOGA ST                                                                              FERNDALE        MI   48220‐1658
REISER ROBERT               3990 E BROOKHAVEN DR NE                                                                         ATLANTA         GA   30319‐2861
REISER, ANITA A             136 ELMVIEW DR                                                                                  TONAWANDA       NY   14150‐7879
REISER, GARY M              6041 MERWIN CHASE RD                                                                            BROOKFIELD      OH   44403‐9781
REISER, HAROLD R            611 DRAKESBOROUGH DR                                                                            BOWLING GREEN   KY   42103‐9748
REISER, MARY ANN            2480 FLAMINGO DR                                                                                FLORISSANT      MO   63031‐3538
REISER, ROSALIND            2115 HOLLYWOOD DR                                                                               MONROE          MI   48162‐4184
REISER, SHEILA L            1669 MARS HILL DR                                                                               DAYTON          OH   45449‐3103
REISERER JR, JOSEPH E       50081 BUCCANEER DR                                                                              MACOMB          MI   48044‐1216
REISH BEVERLY               807 35TH ST                                                                                     CODY            WY   82414‐8486
REISH, WAYNE J              3003 GREENBRIAR RD                                                                              ANDERSON        IN   46011‐2413
REISHAUER/ELGIN             1525 HOLMES RD                                                                                  ELGIN           IL   60123‐1205
REISHMAN ROBERT S           REISHMAN, ROBERT S
REISIG RAYMOND C (494125)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                              STREET, SUITE 600
REISIG, AMALIA              798 N PINE ROAD APT 304                                                                         ESSEXVILLE      MI   48732‐2135
REISIG, CHRIS               430 E GRAND RIVER RD                                                                            WILLIAMSTON     MI   48895‐9340
REISIG, DELORES ANN         1481 PIUS ST                                                                                    SAGINAW         MI   48638‐6502
REISIG, DELORES ANN         1481 PIUS ST.                                                                                   SAGINAW         MI   48638
REISIG, DOREEN M            1062 ORCHARD RD                                                                                 ESSEXVILLE      MI   48732‐1913
REISIG, HARVEY A            2212 N WOODBRIDGE ST                                                                            SAGINAW         MI   48602‐5219
REISIG, RAYMOND C           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
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Name                                   Address1                       Address2                   Address3   Address4         City               State Zip
REISIG, SANDRA MARIE                   532 HAMILTON ST                                                                       MOUNT MORRIS        MI 48458‐8714
REISIG, WILLIAM D                      3310 CLOVER STREET                                                                    PITTSFORD           NY 14534‐2806
REISING ETHINGTON BARNES KISSELLE PC   STE 1850                       755 WEST BIG BEAVER ROAD                               TROY                MI 48084‐4925

REISING JACK                           REISING, JACK                  9069 ELPIS RD                                          CAMDEN             NY   13316‐3410
REISING, JACK                          9069 ELPIS RD                                                                         CAMDEN             NY   13316‐3410
REISING, JENNIE B                      2569 E 110TH ST                                                                       CLEVELAND          OH   44104‐2669
REISING, JOSEPH A                      9305 DIXIE HWY                                                                        IRA                MI   48023‐2317
REISING, LARRY R                       1841 TAMARAC CT                                                                       WESLEY CHAPEL      FL   33543‐5402
REISING, RICHARD F                     24750 JOSEPH                                                                          NOVI               MI   48375‐2826
REISING, WILLIAM A                     41521 ROSEWOOD ST                                                                     ELYRIA             OH   44035‐1260
REISINGER, ANN                         7555 GREENWOOD RD                                                                     JACKSON            MI   49201‐7640
REISINGER, CYNTHIA                     36642 HIVELEY ST                                                                      WESTLAND           MI   48186‐4000
REISINGER, DAVID L                     5312 COMET DR                                                                         GREENWOOD          IN   46143‐8942
REISINGER, DONALD E                    28 LARRY LN                                                                           CORTLAND           OH   44410‐9325
REISINGER, JAMES D                     3616 63RD ST W                                                                        BRADENTON          FL   34209‐7531
REISINGER, MARGARET R                  8526 TANGLEWOOD TRL                                                                   CHAGRIN FALLS      OH   44023‐5651
REISINGER, MARY B                      310 BARNETT ST                                                                        NEW BLOOMFLD       PA   17068‐9653
REISINGER, MICHAEL S                   4645 VILLAGE DR                                                                       ANDERSON           IN   46012‐9764
REISINGER, MICHAEL STEWART             4645 VILLAGE DR                                                                       ANDERSON           IN   46012‐9764
REISINGER, ROGER W                     250 POWDER HORN PL                                                                    CANAL WINCHESTER   OH   43110‐1240
REISINGER, WALTER J                    7555 GREENWOOD RD                                                                     JACKSON            MI   49201‐7640
REISINGER, WALTER R                    3029 CRADLE MOUNTAIN DR                                                               LAS VEGAS          NV   89134‐7518
REISINGER, WAYNE L                     1221 ASHMEAD SQ                                                                       BELCAMP            MD   21017‐1344
REISINGER, WILDA L                     436 STONEHEDGE DR                                                                     ELYRIA             OH   44035‐8396
REISINGER, WILLIAM C                   3 ACRE CT                                                                             BALTIMORE          MD   21234‐1803
REISMAN, IRWIN B                       5437 E BIG SKY LN                                                                     ANAHEIM            CA   92807‐4652
REISMAN, PATRICA C                     19 FAIRGROUND AVE                                                                     TANEYTOWN          MD   21787‐2307
REISMILLER, CHARLES L                  2440 E 39TH ST                                                                        ANDERSON           IN   46013‐2606
REISMILLER, DAISY G                    911 MEADOW LN                                                                         ALEXANDRIA         IN   46001‐2335
REISMILLER, PHILLIP A                  5239 N 825 W                                                                          FRANKTON           IN   46044‐9508
REISNER AUTOMOTIVE                     1802 N CHADBOURNE ST                                                                  SAN ANGELO         TX   76903‐3844
REISNER, JOHN N                        2205 ORCHARD LN                                                                       JOLIET             IL   60435‐3247
REISNER, JULIA G                       3392 SPRUCE TREE LN                                                                   ERLANGER           KY   41018‐1155
REISNER, LAWRENCE A                    25638 PORTICO LN                                                                      NOVI               MI   48375‐1861
REISNER, PAUL R                        292 RAINBOW LAKE DR                                                                   TRUFANT            MI   49347‐9733
REISNER, ROBERT L                      18727 FAULMAN RD                                                                      CLINTON TWP        MI   48035‐1452
REISNER, STANISLAUS A                  30418 YORKSHIRE DR                                                                    MADISON HTS        MI   48071‐5922
REISS I & CO                           CHURCH STREET STATION          PO BOX 10078                                           NEW YORK           NY   10259‐0078
REISS JR, JOSEPH M                     5076 TIMBER LAKE TRL                                                                  CLARKSTON          MI   48346‐3975
REISS MARTIN BERGER TRUST              376 MIDDLESEX AVENUE                                                                  METUCHEN           NJ   08840
REISS THOMAS E                         REISS, THOMAS EDWARD
REISS, CLARENCE E                      4030 CREEKWOOD CRL BOX 3 15                                                           BAY CITY           MI   48707‐0315
REISS, DARLENE T                       11073 GRENADA DR                                                                      STERLING HTS       MI   48312‐4953
REISS, DAVID A                         311 WANN CIR                                                                          PISGAH             AL   35765‐8049
REISS, DENNIS A                        5150 BAXMAN RD                                                                        BAY CITY           MI   48706‐3054
REISS, DIANE M                         57 EXPRESSWAY VILLAGE                                                                 NIAGARA FALLS      NY   14304‐1206
REISS, LYNN A                          12055 HICKORY W                                                                       UTICA              MI   48315‐5832
REISS, MOLLY                           178 RUSSELL RD                                                                        KAWKAWLIN          MI   48631‐9190
REISS, PATRICIA A                      13 BURLEY ROAD                                                                        ROCHESTER          NY   14612‐5705
REISS, PHILIP                          88A BUCKINGHAM DR                                                                     MANCHESTER         NJ   08759‐4500
REISS, SUSAN L                         5076 TIMBER LAKE TRL                                                                  CLARKSTON          MI   48346‐3975
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Name                               Address1                         Address2                      Address3             Address4             City            State Zip
REISS, THOMAS E                    2532 CANDLEWICK DR                                                                                       LAKE ORION       MI 48359‐1515
REISS, WAYNE A                     362 N HOMER RD                                                                                           MIDLAND          MI 48640‐8649
REISSER, IVY M                     14209 QUAIL CREEK WAY UNIT 203                                                                           SPARKS           MD 21152
REISSIG SHIRLEY                    PO BOX 41                                                                                                LINDSBORG        KS 67456‐0041
REIST, BEULAH S                    2901 COMANCHE                                                                                            FLINT            MI 48507‐1854
REIST, EVELYN L                    3396 NOTTINGHAM ST                                                                                       BAY CITY         MI 48706‐1592
REIST, JOHN                        4319 BRIAN RD                                                                                            ANDERSON         IN 46013‐1407
REIST, LINDA K                     2379 REGENCY HILLS DR                                                                                    SHELBY TWP       MI 48316‐2063
REIST, MATTHEW W                   1584 HINE RD                                                                                             HAMILTON         OH 45013‐9595
REISTER, CRAIG K                   15516 SW PERIDOT WAY                                                                                     BEAVERTON        OR 97007‐8628
REISTER, JOYCE E                   6885 INDEPENDENCE LN SW                                                                                  GRAND RAPIDS     MI 49548‐7908
REISTER, LUCY                      4410 E LAKETON AVE                                                                                       MUSKEGON         MI 49442‐4746
REISTER, MARY L                    9637 48TH AVENUE                                                                                         ALLENDALE        MI 49401
REISTER, MARY L                    9637 48TH AVE                                                                                            ALLIANCE         MI 49401‐8439
REISTER, RACHAEL A                 330 WATSON ST                                                                                            COOPERSVILLE     MI 49404‐1018
REISTER, RITA J                    703 N WASHINGTON ST                                                                                      LOWELL           MI 49331‐1155
REISTER, RITA JO                   703 N WASHINGTON ST                                                                                      LOWELL           MI 49331‐1155
REISTER, TERRY A                   1484 VICARY RD                                                                                           CEMENT CITY      MI 49233‐9527
REISZ TOOL INC                     PO BOX 65                                                                                                GRAFTON          OH 44044‐0065
REISZ, FRANK R                     2250 ESCHTRUTH ST                                                                                        ELYRIA           OH 44035‐1320
REISZ, JOHN J                      6135 RIVER RD                                                                                            SHREVEPORT       LA 71105‐4834
REISZ, KARI                        1542 QUAY AVE                                                                                            WOODBINE          IA 51579‐4022
REISZ, SHARON E                    3922 SOUTH MADISON AVE.                                                                                  CINCINNATI       OH 45212
REISZ, WILMA M                     5441 COOPERS LN                                                                                          LORAIN           OH 44053‐4433
REISZ, WILMA M                     5441 COOPERS LANE                                                                                        LORAIN           OH 44053
REIT MANAGEMENT & RESEARCH, LLC    ATTN: JENNIFER B. CLARK          400 CENTRE STREET                                                       NEWTON           MA 02458
REITA BARTLEY                      2815 S 200 W                                                                                             TIPTON           IN 46072‐9232
REITA FAUCETT                      6263 S 500 E                                                                                             CUTLER           IN 46920‐9496
REITA HOENIGMAN                    1902 PIPE ST                                                                                             SANDUSKY         OH 44870‐5043
REITAN, GORDON W                   8613 E MONTEBELLO AVE                                                                                    SCOTTSDALE       AZ 85250‐6308
REITANO ENRICO                     LA SCALA                         STUDIO LEGALE E TRIBUTARIO    CORSO MAGENTA U 42   20123 MILANO ITALY
REITANO, JOEY B                    636 DELAND RD                                                                                            FLUSHING        MI   48433‐1370
REITANO, RALPH G                   19949 W MARION RD                                                                                        BRANT           MI   48614‐9743
REITBERGER, SIEGFRIED F            PO BOX 197                                                                                               PORTAGEVILLE    NY   14536‐0197
REITEN TELEVISION                  TIM REITEN                       1802 13TH AVE W                                                         WILLISTON       ND   58801‐3240
REITENBACH, OTTO G                 1211 HILLCREST                                                                                           LANSING         MI   48910
REITENOUR, ANNA MAY                622 W SUPERIOR ST                                                                                        KOKOMO          IN   46901‐5286
REITENOUR, JERALD T                9279 W X Y AVE                                                                                           SCHOOLCRAFT     MI   49087
REITENOUR, JOHN D                  311 S LINCOLN ST                                                                                         AUGUSTA         MI   49012‐9284
REITER AARON                       4934 BIRCH LAKE CIRCLE                                                                                   SAINT PAUL      MN   55110‐6748
REITER AFFILIATED COMPANIES, LLC   PHIL YAMAMOTO                    11 QUAIL RUN CIR STE 203                                                SALINAS         CA   93907‐2364
REITER BROS INC                    730 S A ST                                                                                               OXNARD          CA   93030‐7138
REITER JR, ERWIN H                 220 59TH ST W                                                                                            BRADENTON       FL   34209‐2404
REITER MURRAY T (352837)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA   23510
                                                                    STREET, SUITE 600
REITER, ALBERT R                   3555 ANDERSON LN                                                                                         JARRETTSVILLE   MD 21084‐1512
REITER, CHARMAINE M                162 KIRKSTONE PASS                                                                                       ROCHESTER       NY 14626‐1741
REITER, CLYDE S                    20670 HUBERT RD                                                                                          HILLMAN         MI 49746‐7980
REITER, DAVID A.
REITER, DAVID G                    14192 BRIDLE TRL                                                                                         STRONGSVILLE    OH 44136‐8903
REITER, DAVID GLENN                14192 BRIDLE TRL                                                                                         STRONGSVILLE    OH 44136‐8903
REITER, DAVID W                    4776 MIDLAND AVE                                                                                         WATERFORD       MI 48329‐1839
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Name                                   Address1                        Address2                          Address3   Address4         City              State Zip
REITER, DIANNA L                       5902 N 73RD ST                                                                                MILWAUKEE          WI 53218‐1827
REITER, EDWARD L                       1508 JACKSON AVE                                                                              NEW CASTLE         PA 16101‐5131
REITER, ERNA A                         9797 BAY PINES BLVD                                                                           ST. PETERSBURG     FL 33708
REITER, ERNEST L                       215 SPENCE LN                                                                                 FRANKLIN           KY 42134‐9542
REITER, FLORENCE L                     PO BOX 543                                                                                    SANDUSKY           OH 44871‐0543
REITER, FRANK M                        5160 PERKINSVILLE RD                                                                          MAPLE PLAIN        MN 55359‐9608
REITER, JAMES                          193 E HARRIS RD                                                                               BETHPAGE           TN 37022‐8530
REITER, JOHN M                         3021 HOMELAND WAY                                                                             ELLICOTT CITY      MD 21042‐7120
REITER, JOSEPHINE M                    642 APPLEVIEW LANE                                                                            DUNCANSVILLE       PA 16635‐7402
REITER, KEITH M                        1414 WEDGEWOOD RD                                                                             WILMINGTON         DE 19805‐1343
REITER, MARK W                         PO BOX 1323                                                                                   MARTHASVILLE       MO 63357‐8323
REITER, MELVIN H                       12169 ALBEE RD                                                                                BURT               MI 48417‐9737
REITER, MURRAY T                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
REITER, RONALD                         162 KIRKSTONE PASS                                                                            ROCHESTER         NY   14626‐1741
REITER, SANDRA H                       230 W. DURBIN AVENUE                                                                          BELLVILLE         OH   44813‐1135
REITER, SANDRA H                       230 W DURBIN CIR                                                                              BELLVILLE         OH   44813‐1135
REITER, WILLIAM A                      311 S WASHINGTON ST                                                                           KENNETT SQ        PA   19348‐3239
REITER, ZDZISLAW M                     11841 COCOA CT                                                                                STERLING HTS      MI   48312‐3024
REITER‐NEUMARK, LINDA M                5539 EAGLEVIEW CT                                                                             CLARKSTON         MI   48348‐5173
REITH THOMPSON                         6363 GERMANTOWN RD                                                                            MIDDLETOWN        OH   45042‐1374
REITH, ARLETTA M                       2900 N APPERSON WAY TRLR 298                                                                  KOKOMO            IN   46901‐1482
REITH, BRUCE T                         51 BAY WILLOW CT                                                                              HENDERSONVILLE    NC   28791‐4376
REITH, DOUGLAS J                       3740 W BASS CREEK RD                                                                          BELOIT            WI   53511‐9029
REITH, ETTABELLE E                     VINTAGE CHATEAU                 333 NORTH MCDOWELL BLVD           # 240A                      PETALUMA          CA   94954
REITH, FRANK A                         13253 W LISBON LN                                                                             SURPRISE          AZ   85379‐6540
REITH, FRANK O                         13253 W LISBON LN                                                                             SURPRISE          AZ   85379‐6540
REITH, MARY B                          APT 15                          100 NORTH STREET                                              MEDINA            NY   14103‐1366
REITH, MARY B                          100 NORTH ST                    APT 15                                                        MEDINA            NY   14103
REITH, TERRY                           4720 MCBRIDE RD                                                                               OWOSSO            MI   48867‐9393
REITH, XE T                            98 GROUNDSEL DRIVE                                                                            HILTON            NY   14468‐8998
REITH‐DAMBRA, BILLIE J                 2115 MAPLEWOOD RD                                                                             FORT WAYNE        IN   46819‐1644
REITH‐DAMBRA, BILLIE JO                2115 MAPLEWOOD RD                                                                             FORT WAYNE        IN   46819‐1644
REITHA M O'NEAL                        6032 POWCAN RD                                                                                BRUINGTON         VA   23023
REITHA O'NEAL                          6032 POWCAN RD                                                                                BRUINGTON         VA   23023‐2007
REITHEL, GERRY                         APT 105                         3085 NORTH GENESEE ROAD                                       FLINT             MI   48506‐2190
REITHEL, JUNE I                        3085 N GENESEE RD               APT 105                                                       FLINT             MI   48506
REITHEL, JUNE I                        3085 N GENESEE RD APT 105                                                                     FLINT             MI   48506‐2190
REITHEL, ROBERT N                      1700 N LAPEER RD                                                                              LAPEER            MI   48446‐7751
REITHER, STEPHEN T                     5201 HITESMAN WAY                                                                             COLUMBUS          OH   43214‐1868
REITINGER, HARVEY M                    3525 N WILLOW CT APT 3                                                                        BETTENDORF        IA   52722‐2892
REITLER, CAROL J                       4055 W MICHIGAN AVE APT 164                                                                   SAGINAW           MI   48638‐6648
REITLER, PRISCILLA L                   1412 CENTER AV                                                                                BAY CITY          MI   48708
REITMAJER, JOANNE M                    PO BOX 34153                                                                                  GRANADA HILLS     CA   91394‐4153
REITMAN TIMOTHY M                      REITMAN VIDEO SPECIALISTS       504 HORTON ST                                                 NORTHVILLE        MI   48167‐1210
REITMAN, DANIEL T                      131 E LOVELL DR                                                                               TROY              MI   48085‐1574
REITMAN, JAMES V                       13920 WOODSETT CT                                                                             SHELBY TOWNSHIP   MI   48315‐1969
REITMAN, JOSEPH R                      376 E LOVELL DR                                                                               TROY              MI   48085‐1591
REITMAN, SYLVIA I                      9251 SEA PINE LN                                                                              INDIANAPOLIS      IN   46250‐4142
REITMEYER DAVID (ESTATE OF) (635418)   COONEY & CONWAY                 120 NORTH LASALLE STREET , 30TH                               CHICAGO           IL   60602
                                                                       FLOOR
REITMEYER, ALICE P                     4871 N EAST TORCH LAKE DR                                                                     CENTRAL LAKE      MI 49622‐9619
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Name                            Address1                        Address2                         Address3   Address4                City              State Zip
REITMEYER, ANN MARIE            4827 N EAST TORCH LAKE DR                                                                           CENTRAL LAKE       MI 49622‐9619
REITMEYER, ANN MARIE            4827 N.E TORCH LAKE DR.                                                                             CENTRAL LAKE       MI 49622‐9619
REITMEYER, DAVID                COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                                      CHICAGO             IL 60602
                                                                FLOOR
REITMEYER, JUDY B               8508 MORGANWOEN ROAD                                                                                INDIANAPOLIS      IN   46217
REITMEYER, SHARON L             7716 WAVERLY CIR                                                                                    WATERFORD         MI   48327‐1447
REITMULDER, CONSTANCE L         918 CREEKSIDE DR.                                                                                   TONAWANDA         NY   14150
REITMULDER, PAUL R              2535 FERCHEN ST                                                                                     NIAGARA FALLS     NY   14304‐4609
REITNER JESSE                   REITNER, JESSE                  1930 E MARLTON PIKE SUITE Q29                                       CHERRY HILL       NJ   08003
REITNER, JESSE                  KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE Q29                                       CHERRY HILL       NJ   08003
REITTENBACH, CAROLYN V          3090 BOWMAN DR                                                                                      SAGINAW           MI   48609‐9745
REITTER & SCH/ROCHES            3985 W HAMLIN RD                                                                                    ROCHESTER HILLS   MI   48309‐3233
REITTER & SCH/SELMER            3985 W HAMLIN RD                                                                                    ROCHESTER HILLS   MI   48309‐3233
REITTER & SCHEFENACKER USA LP   640 MULBERRY AVE                                                                                    SELMER            TN   38375‐3241
REITTER, NICHOLAS W             7921 RIVERCREST CT                                                                                  FREELAND          MI   48523‐8725
REITTER, WILLIAM J              W6082 COUNTY RD W                                                                                   WAUTOMA           WI   54982
REITZ II, HOWARD D              103 HICKORY CT                                                                                      DANIELS           WV   25832‐9268
REITZ JR, WILLIAM J             4370 WOODWARD AVE                                                                                   CLARKLAKE         MI   49234‐9728
REITZ JR, WILLIAM JOSEPH        4370 WOODWARD AVE                                                                                   CLARKLAKE         MI   49234‐9728
REITZ NICO                      13 RUE DU VILLAGE                                                           L‐9748 ESELBORN
                                                                                                            LUXEMBOURG
REITZ, ARTHUR G                 125 AUGUSTA DR                                                                                      ELYRIA            OH   44035‐8898
REITZ, BOBBIE B                 154 CHRISSA DRIVE                                                                                   POTTSBORO         TX   75076‐7061
REITZ, DAVID R                  9342 E VERMONTVILLE HWY                                                                             DIMONDALE         MI   48821‐9761
REITZ, LESLIE L                 1181 GRAIN ELEVATOR ROAD                                                                            LUCEDALE          MS   39452‐8447
REITZ, LINDA L                  1450 E PEBBLES RD APT‐1018‐2                                                                        LAS VEGAS         NV   89123‐5369
REITZ, LIZ                      26160 ROSE RD                                                                                       WESTLAKE          OH   44145‐5470
REITZ, MARJORIE D               590 ISAAC PRUGH WAY APT 668                                                                         KETTERING         OH   45429‐7426
REITZ, MICHAEL D                7426 NOEL AVE                                                                                       DIMONDALE         MI   48821‐9549
REITZ, PATRICIA A               5152 STATE ROUTE 101 E                                                                              CLYDE             OH   43410‐9712
REITZ, PHILLIP N                122 GREGG DRIVE                                                                                     BATTLE CREEK      MI   49014‐7829
REITZ, ROBERT E                 1718 N FAIRVIEW LN                                                                                  ROCHESTER HILLS   MI   48306‐4020
REITZ, ROBERT R                 4111 BRISTOLWOOD DR                                                                                 FLINT             MI   48507‐5534
REITZ, ROLF D                   3983 PLYMOUTH CIR                                                                                   MADISON           WI   53705
REITZ, SYLVIA M                 2541 WOODBROOK LN APT B                                                                             MONROE            NC   28110
REITZ, YVONNE E                 5048 COMMONWEALTH AVENUE                                                                            LA CANADA FLT     CA   91011‐2402
REITZEL MURPHY                  25055 AIRPORT RD                                                                                    ATHENS            AL   35614‐6015
REITZEL, CHARLES D              17275 WHITE PLAINS DR                                                                               MACOMB            MI   48044‐4873
REITZEL, EARL R                 3366 BRENTWAY DR                                                                                    BAY CITY          MI   48706‐3324
REITZEL, MELVIN J               7789 E M 71                                                                                         DURAND            MI   48429‐9777
REITZEL, MICHAEL C              47 DRY BRANCH CT                                                                                    WENTZVILLE        MO   63385‐4108
REITZEL, RANDY D                15008 VICTORIA CT                                                                                   SHELBY TWP        MI   48315‐4457
REITZEL, SAUNDRA                1303 S BARCLAY                                                                                      BAY CITY          MI   48706‐5195
REITZELL, CHARLIE K             1450 W 70TH ST                                                                                      LOS ANGELES       CA   90047‐2030
REITZELL, FREDERICK             1829 PRAIRIE RD                                                                                     MONROE            LA   71202‐7635
REITZELL, FREDERICK D           1829 PRAIRIE RD                                                                                     MONROE            LA   71202‐7635
REITZELL, TYRONE L              301 KIROLI RD APT 113                                                                               WEST MONROE       LA   71291
REITZER LESTER JR (429676)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA   23510
                                                                STREET, SUITE 600
REITZER, LESTER                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                         NORFOLK           VA 23510‐2212
                                                                STREET, SUITE 600
REITZLOFF, JASON A              50249 BOWER DR                                                                                      CHESTERFIELD      MI 48047‐1859
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Name                             Address1                         Address2            Address3         Address4               City               State Zip
REIVA, PATSY                     429 JEFFERSON VLY                                                                            COATESVILLE         IN 46121‐8939
REIVER, HYMAN & CO               4104 N MARKET ST                                                                             WILMINGTON          DE 19802‐2222
REIVES, PRENTISS D               153‐RIGHT BEREHAVEN DR                                                                       AMHERST             NY 14228
REJ, CAROL A                     29 BEANS LN.                     P.O. BOX 175                                                NORTHBRIDGE         MA 01534
REJALI, DAVOOD M                 3451 GREENS MILL RD                                                                          SPRING HILL         TN 37174‐2125
REJCEK, RUDOLPH R                4920 EDEN RD S                                                                               MANSFIELD           TX 76063‐5256
REJDAK, MARION S                 11559 CHEROKEE LN                                                                            BRECKSVILLE         OH 44141‐1704
REJEAN J YARGEAU                 1368 DAVIS ST                                                                                YPSILANTI           MI 48198‐5911
REJEANE CADROY                   5038 PLOMAR DR                                                                               FLINT               MI 48507‐4534
REJEANNE AIMEY                   12 NEWPORT ST # 3                                                                            DORCHESTER          MA 02125
REJEANNE ALVAREZ                 759 DE VIMY ST                                                        SHERBROOKE QC J1J3N8
                                                                                                       CANADA
REJEANNE SCHNEEMANN              327 SAINT IVES S                                                                             LANSING            MI   48906‐1529
REJEFSKI, CATHERINE B            19063 CIRCLE LN S                                                                            SOUTHGATE          MI   48195‐6513
REJEFSKI, ROBERT A               15588 CLEVELAND AVE                                                                          ALLEN PARK         MI   48101‐2011
REJINO MEDEL                     3721 MACK RD                                                                                 SAGINAW            MI   48601‐7118
REJKO, MICHAEL D                 PO BOX 26647                                                                                 INDIANAPOLIS       IN   46226‐0647
REJKO, MICHAEL DENNIS            PO BOX 26647                                                                                 INDIANAPOLIS       IN   46226‐0647
REJMAN, ROBERT C                 160 W ASPEN CT UNIT 5                                                                        OAK CREEK          WI   53154‐4450
REJMAN, ROBERT C                 2686 SANCTUARY DR                                                                            BULLHEAD CITY      AZ   86442‐8440
REJON, SEBASTIAN                 8911 YOUREE DR APT 816                                                                       SHREVEPORT         LA   71115‐3039
REJOYCE ALLEN                    16813 MARK TWAIN ST                                                                          DETROIT            MI   48235‐4066
REJOYCE N SCOTT                  925 PALMYRA SW                                                                               WARREN             OH   44485‐3725
REJZEK, JOSEPH W                 3535 BUCKBOARD LN                                                                            BALTIMORE          MD   21220‐2110
REK, HARALD A                    3736 BEACON HILL DR                                                                          JANESVILLE         WI   53546‐2067
REK, ISABEL C                    407 WILLARD AVE SE                                                                           WARREN             OH   44483‐6239
REKAR, ROBERT M                  3275 W CLEAR LAKE RD                                                                         WEST BRANCH        MI   48661
REKAR, THOMAS P                  16800 WHITE PLAINS DR                                                                        MACOMB             MI   48044‐4867
REKAR, THOMAS P.                 16800 WHITE PLAINS DR                                                                        MACOMB             MI   48044‐4867
REKAS, ADAM J                    4821 N MERRIMAC AVE                                                                          CHICAGO            IL   60630‐2913
REKASI JR, FRANK L               28180 HILLER ST                                                                              HARRISON TWP       MI   48045‐2624
REKER, CLARE F                   2070 BISSONETTE RD                                                                           OSCODA             MI   48750‐9216
REKER, GERHARD S                 29325 MOULIN AVE                                                                             WARREN             MI   48088‐8528
REKER, HEINZ E                   20045 S GREAT OAKS CIR                                                                       CLINTON TWP        MI   48036‐2441
REKER, JASON A                   7800 SHAMROCK CT                                                                             DAYTON             OH   45424
REKEWEG, WAYNE A                 6031 POPP RD                                                                                 FORT WAYNE         IN   46845‐9654
REKEWITSCH, ARTHUR A             PO BOX 36                                                                                    OAKLAND            KY   42159‐0036
REKIETA, KENNETH K               143 BEAR PATH TRL                                                                            BENBROOK           TX   76126‐9691
REKIETA, KENNETH KARL            143 BEAR PATH TRL                                                                            BENBROOK           TX   76126‐9691
REKIETA, MICHAEL I               10963 LIVE OAK CREEK DR                                                                      FORT WORTH         TX   76108‐4732
REKIS, JANIS                     1420 CHEBOYGAN RD                                                                            OKEMOS             MI   48864‐3402
REKIS, MICHAEL J                 32 PETER PAN LN                                                                              MARSHALL           MI   49068‐9586
REKIYA SMITH                     2306 GOLETA AVE                                                                              YOUNGSTOWN         OH   44504‐1330
REKLEIN PLAST/STERL              42130 MOUND RD                                                                               STERLING HEIGHTS   MI   48314‐3152
REKO AUTOMATION & MACHINE TOOL   469 SILVER CREEK INDUSTRIAL DR                                        WINDSOR ON N8N 4W2
                                                                                                       CANADA
REKO INTERNATIONAL GROUP INC     23333 GRISWOLD RD                                                                            SOUTH LYON         MI 48178‐9707
REKO TOOL & MOULD 1987 INC       5390 BRENDAN LN                                                       OLDCASTLE CANADA ON
                                                                                                       N0R 1L0 CANADA
REKO TOOL/DETROIT                PO BOX 33396                                                                                 DETROIT            MI 48232‐5396
REKOWSKI, BARBARA A              7075 SHARP RD                                                                                SWARTZ CREEK       MI 48473‐9428
REKOWSKI, JOSEPH R               S70W15335 HONEYSUCKLE LN                                                                     MUSKEGO            WI 53150‐7939
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Name                               Address1                             Address2                         Address3    Address4                 City                 State Zip
REKOWSKI, RAYMOND P                924 S FRANKLIN AVE                                                                                         FLINT                 MI 48503‐2818
REKUC, IRENE                       42242 HANFORD RD                                                                                           CANTON                MI 48187‐3522
REKUCKI, JOYCE                     2621 E 1100 N                                                                                              MILFORD               IN 46542
REKUTA, DOLORES A                  26465 HIGGINS WAY                                                                                          BROWNSTOWN TWP        MI 48134‐8200
REKUTA, DONNA L                    31025 SIBLEY RD                                                                                            ROMULUS               MI 48174‐9236
REKUTA, MICHAEL P                  31025 SIBLEY RD                                                                                            ROMULUS               MI 48174‐9236
REKUTA, MICHAEL PETER              31025 SIBLEY RD                                                                                            ROMULUS               MI 48174‐9236
REKUTA, MICHEL J                   26465 HIGGINS WAY                                                                                          BROWNSTOWN TWP        MI 48134‐8200
REL                                PO BOX 116525                                                                                              ATLANTA               GA 30368‐6525
REL                                1001 BRICKELL BAY DR STE 3000        PO BOX 116525                                                         ATLANTA               GA 30368‐0001
REL PHIL AG                        C/O FRAU ULRIKE FRITSCH              BISMARCKSTR. 6                               86159 AUGSBURG
                                                                                                                     GERMANY
RELAN, KRISHNA K                   1107 BUCKINGHAM RD                                                                                         GROSSE POINTE PARK   MI 48230‐1462
RELATED PRODUCTS INC               3211 DRYDEN RD                                                                                             MORAINE              OH 45439‐1476
RELATIONAL                         LEON STEINBERG                       1200 MAC ARTHUR BLVD.                                                 MAHWAH               NJ 07430
RELATIONAL FUNDING CANADA CORP     55 UNIVERSITY AVE                    SUITE 110                                    TORONTO ON M5J 2H7
                                                                                                                     CANADA
RELATIONAL FUNDING CANADA CORP.    55 UNIVERSITY AVE                    SUITE 110                                    TORONTO ON M5J 2H7
                                                                                                                     CANADA
RELATIONAL FUNDING CANADA CORP.    LEE ROSZCZYNSKI                      18000 W. NINE MILE ROAD                                               SOUTHFIELD           MI 48075
RELATIONAL FUNDING CORPORATION     3701 ALGONQUIN ROAD                  SUITE 600                                                             ROLLING MEADOWS      IL 60008‐3120
RELATIONAL FUNDING CORPORATION     450 B STREET SUITE 1600                                                                                    SAN DIEGO            CA 92101
RELATIONAL FUNDING CORPORATION
RELATIONAL FUNDING CORPORATION     3701 ALGONQUIN RD STE 600                                                                                  ROLLING MEADOWS      IL 60008‐3120
RELATIONAL FUNDING CORPORATION     LEE ROSZCZYNSKI                      18000 W. NINE MILE ROAD                                               SOUTHFIELD           MI 48075
RELATIONAL FUNDING CORPORATION     ATTN: CORPORATE OFFICER/AUTHORIZED   450 B ST STE 1600                                                     SAN DIEGO            CA 92101‐8095
                                   AGENT
RELATIONAL FUNDING CORPORATION     ATTN: CORPORATE OFFICER/AUTHORIZED   3701 ALGONQUIN RD STE 600                                             ROLLING MEADOWS       IL   60008‐3156
                                   AGENT
RELATIONAL FUNDING CORPORATION     ATTN: CORPORATE OFFICER/AUTHORIZED   4318 PAYSPHERE CIR                                                    CHICAGO               IL   60674‐0043
                                   AGENT
RELATIONAL II, LLC                 ATTN: CORPORATE OFFICER/AUTHORIZED   3701 ALGONQUIN RD STE 600                                             ROLLING MEADOWS       IL   60008‐3156
                                   AGENT
RELATIONAL II, LLC                 3701 ALGONQUIN RD                    SUITE 600                                                             ROLLING MEADOWS       IL   60008
RELATIONAL LLC
RELATIONAL LLC                     LEE ROSZCZYNSKI                      18000 W. NINE MILE ROAD                                               SOUTHFIELD           MI    48075
RELATIONAL LLC                     3701 ALGONQUIN RD STE 600                                                                                  ROLLING MEADOWS      IL    60008‐3156
RELATIONAL LLC                     LEON STEINBERG                       1200 MAC ARTHUR BLVD                                                  MAHWAH               NJ    07430
RELATIONAL SY/BRMNGH               22809 SHAGBARK                                                                                             BIRMINGHAM           MI    48010
RELATIONAL TECHNOLOGY SOLUTIONS    RENEE ROGERS                         3701 ALGONQUIN ROAD              SUITE 600                            ROLLLING MEADOWS     IL    60008
RELATIONAL TECHNOLOGY SOLUTIONS    ATTN: RENEE ROGERS                   3701 ALGONQUIN ROAD, SUITE 600                                        ROLLING MEADOWS      IL    60008

RELATIONAL TECHNOLOGY SOLUTIONS    3701 ALGONQUIN ROAD                                                                                        ROLLING MEADOWS       IL   60008
RELATIONAL, LLC                    3701 ALGONQUIN ROAD                  SUITE 600                                                             ROLLING MEADOWS       IL   60008
RELATIONAL, LLC                    ATTN: CORPORATE OFFICER/AUTHORIZED   3701 ALGONQUIN RD STE 600                                             ROLLING MEADOWS       IL   60008‐3156
                                   AGENT
RELATIONAL, LLC F/K/A RELATIONAL   233 CARONDELET ST                                                                                          NEW ORLEANS           LA   70130‐3002
FUNDING CORPORATION
RELATIONAL, LLC F/K/A RELATIONAL   DRYADES SAVINGS BANK, F.S.B.         233 CARONDELET ST                                                     NEW ORLEANS           LA   70130‐3002
FUNDING CORPORATION
RELAY TRANSPORT MANAGEMENT INC     1637 CLAYBAR RD                                                                   ANCASTER CANADA ON L9G
                                                                                                                     4X1 CANADA
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Name                           Address1                        Address2                    Address3              Address4         City               State Zip
RELCO 38810
RELCO ENGINEERS INC            PO BOX 91592                                                                                       CITY INDUSTRY      CA    91715‐1592
RELCO SYSTEMS INC              BATSCO INC                      7310 CHESTNUT RIDGE RD                                             LOCKPORT           NY    14094‐3504
RELCO SYSTEMS INC              C/O DAMON MOREY LLP             ATTN WILLIAM P SAVINO ESQ   200 DELAWARE AVENUE                    BUFFALO            NY    14202
RELDA FULTON‐GERARD            6784 E 300 N                                                                                       MONTPELIER         IN    47359‐9740
RELDA NIEDERHOFER              2707 E PERKINS AVE                                                                                 SANDUSKY           OH    44870‐5986
RELDA WADKINS                  6620 GRAYMONT PL                                                                                   RALEIGH            NC    27615
RELDAN METALS, INC.            396‐402 WHITEHEAD AVE.                                                                             SOUTH RIVER        NJ    08882
RELDON CROCKER                 3312 DELTA DR                                                                                      SAINT ANN          MO    63074‐3622
RELEASE INDUSTRIES INC         301 DIVIDEND DR                 PO BOX 2601                                                        PEACHTREE CITY     GA    30269‐1907
RELEASE INDUSTRIES INC         PO BOX 2601                                                                                        PEACHTREE CITY     GA    30269‐0601
RELEFORD, DANISHA              2018 MACKIN RD                                                                                     FLINT              MI    48504‐3492
RELEFORD, MARY F               477921 OLD US HIGHWAY 64                                                                           MULDROW            OK    74948‐5813
RELEFORD, NAOMI K              310 W CAMPBELL DR                                                                                  MIDWEST CITY       OK    73110‐3318
RELEFORD, ROY G                477921 OLD US HIGHWAY 64                                                                           MULDROW            OK    74948‐5813
RELEFORD, ROY GENE             477921 OLD US HIGHWAY 64                                                                           MULDROW            OK    74948
RELEFORD, TYRON S              1924 KLINGENSMITH RD UNIT 70A                                                                      BLOOMFIELD HILLS   MI    48302‐0262
RELERFORD, ALICE F             316 W JACKSON AVE                                                                                  FLINT              MI    48505‐4054
RELERFORD, ARDEN               2155 BATES RD                                                                                      MOUNT MORRIS       MI    48458‐2601
RELERFORD, CLAYTON M           313 E GRACELAWN AVE                                                                                FLINT              MI    48505‐5249
RELERFORD, ELI                 622 E PIPER AVE                                                                                    FLINT              MI    48505‐2876
RELERFORD, GEORGE T            5219 COX ST                                                                                        FORT WORTH         TX    76105‐5112
RELERFORD, GLORIA D            2155 BATES RD                                                                                      MOUNT MORRIS       MI    48458‐2601
RELERFORD, JUDY L              3079 OLD FARM RD                                                                                   FLINT              MI    48507‐1209
RELERFORD, LENA M              811 E PINE ST                                                                                      VIENNA             GA    31092‐1329
RELERFORD, LENA M              811 E. PINE ST.                                                                                    VIENNA             GA    31092‐1329
RELERFORD, NANETTE Y           5104 EDEN DR                                                                                       OKLAHOMA CITY      OK    73135‐4312
RELERFORD, OTTIS               4144 TOWNVIEW DR                                                                                   FLINT              MI    48532‐2731
RELERFORD, THURMAN E           5104 EDEN DR                                                                                       OKLAHOMA CITY      OK    73135‐4312
RELERFORD, THURMAN EDWARD      5104 EDEN DR                                                                                       OKLAHOMA CITY      OK    73135‐4312
RELETA MOORE                   1424 CHOCTAW LN                                                                                    EDMOND             OK    73013‐1631
RELETECH/NASHVILLE             1415 EASTLAND AVE                                                                                  NASHVILLE          TN    37206‐2626
RELEVENT                       27 W 24TH ST STE 202                                                                               NEW YORK           NY    10010‐3299
RELEX SOFTWARE CORP
RELEX SOFTWARE CORP            HUNTER SHAW                     540 PELLIS RD.                                                     GREENSBURG         PA    15601
RELF, SHARON L                 151 MCCLUNG STREET                                                                                 PHILL CAMPBELL     AL    35581
RELF, SHARON L                 151 MCCLUNG ST                                                                                     PHIL CAMPBELL      AL    35581‐3638
RELFE, JILL A                  413 GEORGE AVE                                                                                     MANSFIELD          OH    44907‐1936
RELFE, JILL A                  413 GEORGE AVENUE                                                                                  MANSFIELD          OH    44907‐1936
RELFORD, GEORGE E              4614 CURTIS LN                                                                                     SHREVEPORT         LA    71109‐6844
RELFORD, GEORGE EDWARD         4614 CURTIS LN                                                                                     SHREVEPORT         LA    71109‐6844
RELFORD, LILLIE J              10408 ROCKFORD CT                                                                                  INDIANAPOLIS       IN    46229‐2143
RELFORD, MARTHA L              2326 DISCOVERY DR                                                                                  ANDERSON           IN    46017‐9528
RELFORD, ROBERT                1844 DAYTON AVE                                                                                    INDIANAPOLIS       IN    46203‐3523
RELFORD, SHIRLEY A             1844 DAYTON AVE                                                                                    INDIANAPOLIS       IN    46203‐3523
RELIABILITY DIRECT INC         2911 S SHORE BLVD STE 170                                                                          LEAGUE CITY        TX    77573‐3919
RELIABILITY MANAGEMENT GROUP   151 W BURNSVILLE PKWY STE 224                                                                      BURNSVILLE         MN    55337‐2551
RELIABILITY WEB                PO BOX 60075                                                                                       FORT MYERS         FL    33906‐6075
RELIABILITY WEB/FL             PO BOX 60075                                                                                       FORT MYERS         FL    33906‐6075
RELIABLE ANAL/TROY             379 INDUSCO CT                                                                                     TROY               MI    48083‐4646
RELIABLE ANALYSIS INC          1801 THUNDERBIRD                                                                                   TROY               MI    48084‐5402
RELIABLE ANALYSIS INC          379 INDUSCO CT                                                                                     TROY               MI    48083‐4646
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Name                                 Address1                         Address2                  Address3   Address4             City            State Zip
RELIABLE AUTO FINANCE                PO BOX 9700                                                                                GRAND RAPIDS     MI 49509‐0700
RELIABLE BELTING AND TRANSMISSION CO 1120 CHERRY ST                                                                             TOLEDO           OH 43608‐2904

RELIABLE CAR/CANTON                   41555 KOPPERNICK RD                                                                       CANTON          MI 48187‐2415
RELIABLE CARRIERS INC                 RCI LOGISTICS INC               41555 KOPPERNICK RD                                       CANTON          MI 48187‐2415
RELIABLE CARRIERS INC                 41555 KOPPERNICK RD                                                                       CANTON          MI 48187‐2415
RELIABLE CASTINGS                     CLARENCE NEELS                  1521 W. MICHIGAN                     OAKVILLE ON CANADA
RELIABLE CASTINGS CORP                3530 SPRING GROVE AVE                                                                     CINCINNATI      OH 45223‐2448
RELIABLE CASTINGS CORP                CLARENCE NEELS                  1521 W. MICHIGAN                     OAKVILLE ON CANADA
RELIABLE CHEVROLET                                                                                                              RICHARDSON      TX    75080‐5299
RELIABLE CHEVROLET                    800 N CENTRAL EXPY                                                                        RICHARDSON      TX    75080‐5204
RELIABLE CHEVROLET II, LP             DARRELL MCCUTCHEON              800 N CENTRAL EXPY                                        RICHARDSON      TX    75080‐5204
RELIABLE CHEVROLET INC                CECIL VAN TUYL                  3655 S CAMPBELL AVE                                       SPRINGFIELD     MO    65807‐5201
RELIABLE CHEVROLET, INC.              CECIL VAN TUYL                  9901 COORS BLVD NW                                        ALBUQUERQUE     NM    87114‐4017
RELIABLE CHEVROLET, INC.              CECIL VAN TUYL                  3655 S CAMPBELL AVE                                       SPRINGFIELD     MO    65807‐5201
RELIABLE CHEVROLET, INC.                                                                                                        SPRINGFIELD     MO    65807‐5294
RELIABLE CHEVROLET, INC.              9901 COORS BLVD NW                                                                        ALBUQUERQUE     NM    87114‐4017
RELIABLE CHEVROLET, INC.              3655 S CAMPBELL AVE                                                                       SPRINGFIELD     MO    65807‐5201
RELIABLE CHURCHILL LLP                7621 ENERGY PKWY                                                                          BALTIMORE       MD    21226‐1734
RELIABLE DELIVERY                     6774 BRANDT ST                                                                            ROMULUS         MI    48174‐3508
RELIABLE ELECTRICAL                   299 STAUNTON ST                                                                           PIQUA           OH    45356‐4045
MECHANICALSERVICES INC
RELIABLE EQUIPMENT PRP GRP            C\O J BAGLEY DYKEMA GOSSETT     400 RENAISSANCE CTR                                       DETROIT         MI 48243‐1607
RELIABLE FIRE & SAFETY EQUIPMENT CO   4838 NE 12TH AVE                                                                          OAKLAND PARK    FL 33334‐4804
INC
RELIABLE GLAZING CONTRACTORS          813 CLAY ST                                                                               BOWLING GREEN   KY    42101‐1847
RELIABLE INDUSTRIAL PRODUCTS          4606 WEBSTER ST                 PO BOX 14180                                              DAYTON          OH    45414‐4826
RELIABLE INDUSTRIAL PRODUCTS C        2611 THUNDERHAWK CT             PO BOX 13180                                              DAYTON          OH    45414‐3461
RELIABLE INDUSTRIAL PRODUCTS CO       2611 THUNDERHAWK CT             PO BOX 13180                                              DAYTON          OH    45414‐3461
RELIABLE LEASING CORP                 42 WORCESTER ST                                                                           NATICK          MA    01760‐2227
RELIABLE LIQUID TRANSPORT INC         PO BOX 1459                                                                               SANTA ROSA      CA    95402‐1459
RELIABLE OLDSMOBILE,
RELIABLE OLDSMOBILE‐CADILLAC‐PONTIA   1416 LAWRENCE ST                                                                          SELMA            AL   36703‐3708

RELIABLE OLDSMOBILE‐CADILLAC‐PONTIAC‐ 1416 LAWRENCE ST                                                                          SELMA            AL   36703‐3708
GMC TRUCK, INC.
RELIABLE OLDSMOBILE‐CADILLAC‐PONTIAC‐ WILLIAM PORTER                  1416 LAWRENCE ST                                          SELMA            AL   36703‐3708
GMC TRUCK, INC.
RELIABLE PONTIAC‐CADILLAC             BRUCE WESTRUP                   400 AUTOMALL DR                                           ROSEVILLE       CA    95661‐3020
RELIABLE PONTIAC‐CADILLAC             400 AUTOMALL DR                                                                           ROSEVILLE       CA    95661‐3020
RELIABLE RUNNERS COURIER              33801 CURTIS BLVD STE 112                                                                 EASTLAKE        OH    44095‐4045
RELIABLE SERVICES INC                 PO BOX                                                                                    DAYTON          OH    45406
RELIABLE SPRING & WIRE FORMS          RICHARD MCBRIDE‐PRES            300 S. ABBE RD POB 58                                     VAN WERT        OH    45891
RELIABLE SPRING & WIRE FORMS          RICHARD MCBRIDE‐PRES            PO BOX 58                                                 ELYRIA          OH    44036‐0058
RELIABLE SPRING & WIRE FORMS CO       PO BOX 58                       300 S ABBE RD                                             ELYRIA          OH    44036‐0058
RELIABLE SPRING & WIRE FORMS, THE     RICHARD MCBRIDE‐PRES            300 S. ABBE RD POB 58                                     VAN WERT        OH    45891
RELIABLE TRANSPORT INC                1545 WAYNESBURG DR SE                                                                     CANTON          OH    44707‐2147
RELIABLE TRANSPORTATION SPECIALISTS 1595 CALUMET                                                                                CHESTERTON      IN    46304
INC
RELIABLE WELDING & MACHINE WOR        2008‐14 UNION TPKE                                                                        NORTH BERGEN     NJ   07047
RELIABLE WELDING & MACHINE WORKS      RUBBER & PLASTIC MACHINERY CO   2008‐ 14 UNION TURNPIKE                                   NORTH BERGEN     NJ   07047
INC
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Name                                 Address1                            Address2                    Address3              Address4                City               State Zip
RELIANCE EL/BRENTWD                  500 WILSON PIKE CIRCLE, #222                                                                                  BRENTWOOD           TN 37027
RELIANCE EL/BRMNGHAM                 3800 COLONNADE PKWY STE 575                                                                                   BIRMINGHAM          AL 35243‐3316
RELIANCE ELECTRIC                    355 RICHMOND RD                                                                                               CLEVELAND           OH 44143‐4404
RELIANCE ELECTRIC MACHINE CO I       2601 LEITH ST                                                                                                 FLINT               MI 48506‐2825
RELIANCE ELECTRIC MACHINE CO INC     2601 LEITH ST                                                                                                 FLINT               MI 48506‐2825
RELIANCE ELECTRIC MACHINE COMPANY    2601 LEITH ST                                                                                                 FLINT               MI 48506‐2825
INC
RELIANCE FINANCE CO.                 830 S CAMERON ST                                                                                              HARRISBURG         PA 17104‐2525
RELIANCE GROUP/FARMG                 23920 FREEWAY PARK DR                                                                                         FARMINGTON HILLS   MI 48335‐2816
RELIANCE HOME COMFORT                PAYMENT PROCESSING CENTRE           BOX 99 STN COMMERCE CRT                           TORONTO CANADA ON M5L
                                                                                                                           1L6 CANADA
RELIANCE HOME COMFORT                PO BOX 2305 STN "A"                                                                   OSHAWA, ONTARIO L1H
                                                                                                                           7V5 CANADA
RELIANCE INSURANCE CO                549 PLEASANTVILLE RD                                                                                          BRIARCLIFF MANOR   NY   10510‐1923
RELIANCE LABEL SOLUTIONS INC         205 N GOLD ST                                                                                                 PAOLA              KS   66071‐1272
RELIANCE MACHINE CO INC              CHRIS FRY                           4605 S WALNUT ST            RELIANCE MACHINE CO                           MUNCIE             IN   47302‐8532
RELIANCE MACHINE CO INC              CHRIS FRY                           RELIANCE MACHINE CO         4605 S. WALNUT ST.                            SALEM              OH   44460
RELIANCE MACHINE CO INC              4605 S WALNUT ST                                                                                              MUNCIE             IN   47302‐8532
RELIANCE MACHINE PLANT 1             CHRIS FRY                           4605 S WALNUT ST            RELIANCE MACHINE CO                           MUNCIE             IN   47302‐8532
RELIANCE MACHINE PLANT 1             CHRIS FRY                           RELIANCE MACHINE CO         4605 S. WALNUT ST.                            SALEM              OH   44460
RELIANCE RUBBER INDUSTRIES INC       38230 N EXECUTIVE DR                                                                                          WESTLAND           MI   48185‐1972
RELIANCE STEEL & ALUMINUM            350 S GRAND AVE STE 5100                                                                                      LOS ANGELES        CA   90071‐3421
RELIANCE STEEL & ALUMINUM CO         BRALCO METALS                       929 E JACKSON ST                                                          PHOENIX            AZ   85034‐2213
RELIANCE STEEL & ALUMINUM CO.        JAMES MACBETH                       350 S GRAND AVE STE 5100                                                  LOS ANGELES        CA   90071‐3421
RELIANT AIRLINES                     827 WILLOW RUN AIRPORT                                                                                        YPSILANTI          MI   48198‐0899
RELIANT AIRLINES                     KELSEY LAW GROUP PC                 2395 S HURON PKWY STE 200                                                 ANN ARBOR          MI   48104‐5170
RELIANT ENERGY MINNEGASCO                                                10511 HANSON BLVD NW                                                                         MN   55433
RELIANT ENERGY RETAIL SERVICE, LLC   1000 MAIN ST.                       SUITE 11‐560                                                              HOUSTON            TX   77002
RELIANT ENERGY RETAIL SERVICE, LLC   1000 MAIN STREET                    SUITE 11‐560                                                              HOUSTON            TX   77002
RELIANT ENERGY SOLUTIONS LLC         DEPT 954                                                                                                      DALLAS             TX   75312‐0001
RELIANT EQUITY INVESTORS LLC         950 BRIDGEVIEW N                                                                                              SAGINAW            MI   48604‐1166
RELIANT IND/TROY                     50925 RICHARD W BLVD                                                                                          CHESTERFIELD       MI   48051‐2489
RELIANT MANUFACTURING INC            50925 RICHARD W BLVD                                                                                          CHESTERFIELD       MI   48051‐2489
RELIANT PARK                         1 RELIANT PARK                                                                                                HOUSTON            TX   77054‐1574
RELIAS WREN                          7065 ARCADIA DR                                                                                               MOUNT MORRIS       MI   48458‐9707
RELIASOFT CORPORATION                1450 S EASTSIDE LOOP                                                                                          TUCSON             AZ   85710‐6703
RELIFORD II, JOHNNY R                3318 PARFOURE BLVD                                                                                            UNIONTOWN          OH   44685‐7832
RELIFORD JR, FLETCHER                9646 FIELDING ST                                                                                              DETROIT            MI   48228‐1592
RELIFORD, CHARLES M                  3537 KENSINGTON AVE                                                                                           KANSAS CITY        MO   64128‐2763
RELIFORD, DALE L                     2045 MALCOM DR                                                                                                DAYTON             OH   45420
RELIFORD, FRED                       2997 CHAUNCY CIR                                                                                              STOCKTON           CA   95209‐1657
RELIFORD, JOHNNIE D                  193 21ST ST                                                                                                   IRVINGTON          NJ   07111‐4522
RELIFORD, JOHNNY R                   1433 SHAW RD UNIT B                                                                                           NILES              OH   44446‐3594
RELIFORD, JOHNNY RAY                 1433 SHAW RD UNIT B                                                                                           NILES              OH   44446‐3594
RELIFORD, JUANITA G                  1597 PILGRIMS KNOB SE                                                                                         NORTH CANTON       OH   44709‐4840
RELIFORD, JULIA M                    9646 FIELDING ST                                                                                              DETROIT            MI   48228‐1592
RELIFORD, MARY M                     3537 KENSINGTON                                                                                               KANSAS CITY        MO   64128‐2763
RELIFORD, SHARON P                   3318 PARFOURE BLVD                                                                                            UNIONTOWN          OH   44685‐7832
RELIFORD, WILLIAM R                  82512 US HWY 231‐5                                                                                            ARAB               AL   35016
RELINE AUTO SERVICE                  1110 BIRCHMOUNT RD. UNITS 11 & 12                                                     SCARBOROUGH ON M1K
                                                                                                                           1S6 CANADA
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Name                       Address1                          Address2               Address3     Address4                 City               State Zip
RELINE AUTO SERVICE LTD.   10 HAWKWING CRT RR 3                                                  NEWMARKET ON L3Y 4W1
                                                                                                 CANADA
RELISH, JAMES E            2023 WOODBOURNE AVE                                                                            BALTIMORE          MD 21239‐3641
RELISH, SYLVIA R           3200 HOLLY MILL RUN                                                                            MARIETTA           GA 30062‐5481
RELIZON CANADA INC         1570 RUE AMPERE                                                       BOUCHARVILLE CANADA
                                                                                                 ON J4B 7L4 CANADA
RELIZON/CANADA             80 AMBASSADOR DRIVE                                                   MISSISSAUGA ON L5T 2Y9
                                                                                                 CANADA
RELIZON/ROMULUS            1551 PINE DRIVE                                                                                ROMULUS            MI    48174
RELIZON/SOUTHFIELD         24800 DENSO DR STE 140                                                                         SOUTHFIELD         MI    48033‐7448
RELLA BRADEN               107 S MOBILE ST                                                                                FAIRHOPE           AL    36532‐3410
RELLA MANUEL               1374 E DOWNEY AVE                                                                              FLINT              MI    48505‐1732
RELLA T HOSKIN             10189 R D 3 FRAZIER RD                                                                         GARRETTSVILLE      OH    44231
RELLA WIZENBERG            27327 HYSTONE DR                                                                               FARMINGTON HILLS   MI    48334‐5322
RELLA, NICHOLAS            132 LOCUST AVE                                                                                 CORTLANDT MANOR    NY    10567‐1651
RELLA, PAUL F              1683 TANGLEWOOD DR                                                                             YOUNGSTOWN         OH    44505‐1365
RELLER THOMAS P (658201)   SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                              HASTINGS           MN    55033‐2432
RELLERGERT, WAYNE M        31789 CHESTNUT CT                                                                              FORISTELL          MO    63348‐2564
RELLEY HARRIS              16430 PARK LAKE RD LOT 210                                                                     EAST LANSING       MI    48823‐9471
RELLI MILLER               6786 WILLOWOOD DR                 APT 10‐04                                                    BOCA RATON         FL    33434
RELLIN RAYMOND (405036)    GALIHER GARY O                    610 WARD AVE STE 200                                         HONOLULU           HI    96814‐3308
RELLIN, RAYMOND            GALIHER GARY O                    610 WARD AVE STE 200                                         HONOLULU           HI    96814‐3308
RELLING, JOANN E           PO BOX 527                                                                                     DILWORTH           MN    56529‐0527
RELLINGER, DOUGLAS P       PO BOX 165                        281 AUGLAIZE ST                                              OTTOVILLE          OH    45876‐0165
RELLINGER, RONALD J        3753 BUTTONWOOD WAY                                                                            NAPLES             FL    34112‐3349
RELLINGER, SANDRA K        3753 BUTTONWOOD WAY                                                                            NAPLES             FL    34112‐3349
RELNA KAYSER               5226 S US ROUTE 31                                                                             PERU               IN    46970‐3478
RELOCATION ENTERPRISES     VIA FRANCESCO D OVIDIO 35                                             ROMA 00137 ITALY
RELOSKY, ANN M             1033 MCKEAN AVE                                                                                DONORA             PA    15033‐1106
RELOVSKY, JOHN M           904 LEWIS ST                                                                                   BROWNSVILLE        PA    15417‐2208
RELOXPRESS                 PO BOX 363501                                                                                  SAN JUAN           PR    00936‐3501
RELPH, DERRICK C           15619 ADDISON ST                                                                               SOUTHFIELD         MI    48075‐3094
RELPH, MARGARET ANN        2273 W 46TH ST                                                                                 LOVELAND           CO    80538‐1456
RELPH, MELISSIA M          15619 ADDISON ST                                                                               SOUTHFIELD         MI    48075‐3094
RELPH, MELISSIA MARIE      15619 ADDISON ST                                                                               SOUTHFIELD         MI    48075‐3094
RELUE, LARRY F             4842 ST RT 634 RR 1                                                                            CONTINENTAL        OH    45831
RELUE, LEONARD B           21096 POWERS RD                                                                                DEFIANCE           OH    43512‐9069
RELUE, MARY J              21096 POWERS RD                                                                                DEFIANCE           OH    43512‐9069
RELUIS SMITH               8730 DOGWOOD LOT‐313                                                                           KALAMAZOO          MI    49009
RELVIA ROSE                7449 MONTERREY DR                                                                              FORT WORTH         TX    76112‐5408
RELYEA HOWARD              RELYEA, HOWARD                    201 NOTT TER                                                 SCHENECTADY        NY    12307‐1025
RELYEA HOWARD              RELYEA, JILL                      201 NOTT TER                                                 SCHENECTADY        NY    12307‐1025
RELYEA, DAVID G            9672 SE 171ST ARGYLL ST                                                                        THE VILLAGES       FL    32162‐1838
RELYEA, DAVID G            271 WELLINGTON DR                                                                              SANTA MARIA        CA    93455
RELYEA, HOWARD             DELORENZO LAW FIRM LLP            201 NOTT TER                                                 SCHENECTADY        NY    12307‐1025
RELYEA, HOWARD
RELYEA, JACK D             1810 STREAMEDGE CT                                                                             ROCHESTER HLS      MI    48309‐3311
RELYEA, JILL               DELORENZO LAW FIRM LLP            201 NOTT TER                                                 SCHENECTADY        NY    12307‐1025
REM CHEMICALS INC          325 W QUEEN ST                                                                                 SOUTHINGTON        CT    06489‐1177
REM D HINKLE               1401 PRIMROSE AVE                                                                              TOLEDO             OH    43612‐4001
REM INVESTMENTS LLC        ATTN MICHAEL SHAW                 1080 S COLORADO BLVD                                         DENVER             CO    80246‐2404
REM INVESTMENTS, LLC       ATTN: MICHAEL SHAW                1080 S COLORADO BLVD                                         DENVER             CO    80246‐2404
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Name                               Address1                           Address2                      Address3                    Address4                 City            State Zip
REM STEWART JR                     1427 W TERRACE                                                                                                        FLINT            MI 48504
REMA BALANIZ                       359 VICTORIA DRIVE                                                                                                    BRIDGEWATER      NJ 08807‐1289
REMA TIP TOP / NORTH AMERICA       119 ROCKLAND AVE                                                                                                      NORTHVALE        NJ 07647
REMA TIP TOP NORTH AMERICA INC     119 ROCKLAND AVE                                                                                                      NORTHVALE        NJ 07647
REMA TIP TOP/NORTH AMERICA INC     119 ROCKLAND AVE                   PO BOX 76                                                                          NORTHVALE        NJ 07647
REMACON COMPRESSORS INC            7939 MCGRAW ST                                                                                                        DETROIT          MI 48210‐2156
REMAGEN, CHARLES C                 1433 N HICKORY ST                                                                                                     BALD KNOB        AR 72010
REMAGEN, HAZEL M                   1216 W EMERSON                                                                                                        PARAGOULD        AR 72450‐4138
REMAINDER, MICHAEL A               508 N SAGINAW ST                                                                                                      SAINT CHARLES    MI 48655‐1319
REMAKLUS, ROGER P                  344 SIDNEY ST                                                                                                         DUNDEE           MI 48131‐1244
REMALEY, VICKI P                   215 CANTERBURY RD                                                                                                     GAINESVILLE      GA 30504‐2664
REMALI, JACOB G                    8065 COLT DR                                                                                                          PLAINFIELD       IN 46168‐9156
REMALI, STUART G                   330 SAINT CHARLES WAY                                                                                                 WHITELAND        IN 46184‐1674
REMAMURTHY MANOJ KUMAR             GM‐TCI 3RD FLOOR CREATOR BLDG      ITPL WHITEFIELD RD                                        BANGALORE 560066 INDIA
REMANN, ARNOLD R                   3905 NW PINEAPPLE ST                                                                                                  ARCADIA         FL   34266‐8353
REMANUFACTURED ELECTRODE CAP       RECAP                              8100 11 MILE RD                                                                    BEAR LAKE       MI   49614‐9741
REMANUFACTURED ELECTRODE CAP I     8100 11 MILE RD                                                                                                       BEAR LAKE       MI   49614‐9741
REMANUFACTURED ELECTRODE CAP INC   8100 11 MILE RD                                                                                                       BEAR LAKE       MI   49614‐9741

REMAR JOHN C (429677)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                        NORFOLK         VA 23510
                                                                      STREET, SUITE 600
REMAR, JOHN C                      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                        NORFOLK         VA 23510‐2212
                                                                      STREET, SUITE 600
REMAR, REVA J                      685 N CEDAR RTE 7                                                                                                     MASON           MI   48854
REMARK, KRISTINE K                 2479 17TH ST                                                                                                          CUYAHOGA FLS    OH   44223‐2053
REMARKABLE PRODUCTS/               TRI‐POINT PRODUCTS INC             6998 SE SLEEPY HOLLOW LN                                                           STUART          FL   34997‐4758
REMARKETING SER/NJ                 PMB 138                            88 EAST MAIN STREET                                                                MENDHAM         NJ   07945
REMARKETING SERVICES INC           88 EAST MAIN STREET                PMB 138                                                                            MENDHAM         NJ   07945
REMARKETING SERVICES INC           88 E MAIN ST                                                                                                          MENDHAM         NJ   07945
REMARKETING SERVICES INC           OHEIGHTS@AOL.COM                   100 5TH AVE FL 4                                                                   NEW YORK        NY   10011‐6910
REMARKETING SOLUTIONS              STACEY A CARROLL                   DOW LOHNES PLLC               SIX CONCOURSE PARKWAY STE                            ATLANTA         GA   30328
                                                                                                    1800
REMARKETING SOLUTIONS INC          435 METROPLEX DR                                                                                                      NASHVILLE       TN 37211‐3109
REMART CORPORATION
REMATE DOERR                       ALTIGWEG 30                                                                                  D‐79650 SCHOPFHEIM
                                                                                                                                GERMANY
REMBER, DIANE S                    4807 COCHISE CT NW                                                                                                    LILBURN         GA 30047‐3758
REMBERT PARKER JR                  PO BOX 431388                                                                                                         PONTIAC         MI 48343‐1388
REMBERT ROSS                       814 COMMONWEALTH AVE                                                                                                  FLINT           MI 48503‐6902
REMBERT SHIRLEY
REMBERT, BIRDIE M                  2014 20TH AVE                                                                                                         BROADVIEW       IL   60155‐2911
REMBERT, BOBBIE F                  7300 S CAMPBELL AVE                                                                                                   CHICAGO         IL   60629‐1411
REMBERT, CYNTHIA L                 2101 CARRINGTON PARK CIR APT 306                                                                                      MORRISVILLE     NC   27560
REMBERT, DENNIS D                  120 BUCKHURST WAY                                                                                                     ATLANTA         GA   30349
REMBERT, DIANN E                   1831 TRINA WAY                                                                                                        COLUMBUS        OH   43209‐3375
REMBERT, EBONY N                   12013 HEYDEN ST                                                                                                       DETROIT         MI   48228
REMBERT, EDNA                      2924 HOAGLAND AVE                                                                                                     FORT WAYNE      IN   46807
REMBERT, JACQUELINE                1977 NELAWOOD RD                                                                                                      E CLEVELAND     OH   44112‐2213
REMBERT, JAMES A                   691 SILVERGLADE DR SE                                                                                                 KENTWOOD        MI   49548‐0873
REMBERT, JAMES W                   3060 BUENAVIEW BLVD                                                                                                   NASHVILLE       TN   37218‐1640
REMBERT, JENELLE                   16154 MANOR ST                                                                                                        DETROIT         MI   48221
REMBERT, JESSIE B                  4540 COLONIAL DR APT 2                                                                                                SAGINAW         MI   48603‐3907
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Name                           Address1                           Address2                      Address3                    Address4         City            State Zip
REMBERT, JOE                   2014 S 20TH AVE                                                                                               BROADVIEW         IL 60155‐2911
REMBERT, LOUISE                APT 123                            26600 SCHOOLCRAFT                                                          REDFORD          MI 48239‐4623
REMBERT, LOUISE                26600 SCHOOLCRAFT                  APT 123                                                                    REDFORD          MI 48239‐4623
REMBERT, MILTON S              19807 GREENFIELD RD APT 16                                                                                    DETROIT          MI 48235
REMBERT, MYRTLE D              9628 S BISHOP ST                                                                                              CHICAGO           IL 60643‐1312
REMBERT, NORMAN                5456 KLEBERG DR                                                                                               GRAND PRAIRIE    TX 75052‐2691
REMBERT, ROBERT E              7112 MEDALLION DR                                                                                             LANSING          MI 48917‐8530
REMBERT, ROBERT L              120 W BARNES AVE                                                                                              LANSING          MI 48910‐1411
REMBERT, ROOSEVELT             523 WALTON AVE                                                                                                DAYTON           OH 45417‐1524
REMBERT, SANDRA F              2273 N LOVINGTON DR                                                                                           TROY             MI 48083‐5806
REMBERT, THEON                 952 PRINCE ST SE                                                                                              GRAND RAPIDS     MI 49507‐1341
REMBERT, TOM                   3585 WILLIAMSON RD                                                                                            SAGINAW          MI 48601
REMBERT, VICTOR E              2101 CARRINGTON PARK CIR APT 306                                                                              MORRISVILLE      NC 27560
REMBERT, VICTOR E              APT 306                            2101 CARRINGTON PARK CIRCLE                                                MORRISVILLE      NC 27560‐8641
REMBERT, WILLIE A              3312 GLENBROOK DR                                                                                             LANSING          MI 48911
REMBIS, GREGORY A              7708 SMART ST                                                                                                 DETROIT          MI 48210‐1911
REMBISH, JOSEPH                3148 KING ROAD                                                                                                SAGINAW          MI 48601‐5830
REMBISH, WILLIAM S             1020 AMES ST APT 3                                                                                            SAGINAW          MI 48602‐4181
REMBISZ, ERMA M                300 THOMPSON RD                                                                                               MIO              MI 48647‐9763
REMBISZ, ERMA M                300 THOMPSON ROAD                                                                                             MIO              MI 48647‐9763
REMBISZ, ROBERT C              8110 W CARO RD                                                                                                REESE            MI 48757‐9225
REMBISZ, STELLA S              2110 AVON                                                                                                     SAGINAW          MI 48602‐3957
REMBISZ, STELLA S              2110 AVON ST                                                                                                  SAGINAW          MI 48602‐3957
REMBOLD HUGH C (343407)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510
                                                                  STREET, SUITE 600
REMBOLD, CHARLES E             10444 WELLS RD                     RR 1                                                                       ANNA            OH 45302‐9740
REMBOLD, HUGH C                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                NORFOLK         VA 23510‐2212
                                                                  STREET, SUITE 600
REMBOLD, WILBUR K              5515 JACKSON CT                                                                                               EVANSVILLE      IN   47715‐5934
REMBOSKI, LINDA M              8085 GRAND RIVER TRL                                                                                          PORTLAND        MI   48875‐9402
REMBOSKI, MICHAEL C            4514 MAIN ST                                                                                                  PORT HOPE       MI   48468‐7714
REMBOSKI, MICHAEL C            PO BOX 191                                                                                                    PORT HOPE       MI   48468‐0191
REMBOWSKA, JANINA              12 CHAMBORD CT                                                                                                HAMILTON        NJ   08619‐4702
REMBOWSKI, DAVID L             1320 PARK RIDGE POINTE                                                                                        GRAND BLANC     MI   48439‐2530
REMBOWSKI, IRENA               16 BEECH ST                                                                                                   PENNINGTON      NJ   08534‐5202
REMBOWSKI, LINDA M             PO BOX 4071                                                                                                   YOUNGSTOWN      OH   44515‐0071
REMBOWSKI, LLOYD E             7264 108TH ST                                                                                                 FLUSHING        MI   48433‐8733
REMBOWSKI, STANISLAW           16 BEECH ST                                                                                                   PENNINGTON      NJ   08534‐5202
REMBOWSKI, TODD E              13501 S CORK RD                                                                                               PERRY           MI   48872‐8529
REMBRECHT, FREDERICK J         831 MUSTANG DR                                                                                                FAIRVIEW        TX   75069‐1995
REMCO INC.                                                        195 HEMPT RD                                                                               PA   17050
REMCO OFFICE EQUIPMENT INC     1783 THUNDERBIRD                                                                                              TROY            MI   48084‐5465
REMCO STORAGE SYSTEMS INC      1783 THUNDERBIRD                                                                                              TROY            MI   48084‐5465
REMEDIATION & LIABILITY MGMT   INTERCOMPANY
COMPANY, INC.
REMEDIATION AND LIABILITY      2000 CENTERPOINT PKWY                                                                                         PONTIAC          MI 48341‐3146
MANAGEMENT COMPANY
REMEDIATION AND LIABILITY      GENERAL DIRECTOR                   200 RENAISSANCE CTR           P.O. BOX 200, MC 482‐B38‐                    DETROIT         MI 48265‐3000
MANAGEMENT COMPANY, INC.                                                                        LCN
REMEDIATION AND LIABILITY      DOING BUSINESS AS UPTOWN LAND      JOHN K. BLANCHARD             300 RENAISSANCE CTR                          DETROIT         MI 48265‐3000
MANAGEMENT COMPANY, INC.       DEVELOMENT CORPORATION
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Name                                  Address1                            Address2                     Address3              Address4             City               State Zip
REMEDIATION AND LIABILITY             ATTN: GENERAL COUNSEL               2000 CENTERPOINT PKWY                                                   PONTIAC             MI 48341‐3146
MANAGEMENT COMPANY, INC.
REMEDIATION AND LIABILITY             C/O WORLDWIDE REAL ESTATE           THE DETROIT EDISON COMPANY   ATTN: DIRECTOR        2000 2ND AVE         DETROIT            MI 48226‐1203
MANAGEMENT COMPANY, INC.
REMEDIATION AND LIABILITY             DOING BUSINESS AS UPTOWN LAND       ATTN: JOHN K. BLANCHARD      300 RENAISSANCE CTR                        DETROIT            MI 48265‐3000
MANAGEMENT COMPANY, INC.              DEVELOMENT CORPORATION
REMEDIATION AND LIABILITY             THE DETROIT EDISON COMPANY          DIRECTOR                     2000 2ND AVE                               DETROIT            MI 48226‐1203
MANAGEMENT COMPANY, INC.
REMEDIATION ANDLIABILITY              LINDEN PROPERTY DEVELOPMENT AND      6249 COVERED WAGONS TRL                                                FLINT              MI 48532‐2170
MANAGEMENT COMPANY, INC.              MANAGEMENT, LLC
REMEDIES, GLENDA                      PO BOX 65                                                                                                   ZWOLLE             LA 71486‐0065
REMEDIO SR., RICHARD P                133 BERNICE DR                                                                                              BEAR               DE 19701‐2040
REMEDIOS GONZALES                     1265 OAKWOOD CT                                                                                             ROCHESTER HILLS    MI 48307‐2539
REMEDIOS VILLALBA SOTO                PLZ. SAN CRISTOBAL                   ED. SEXIMAR 614             18690 ALMUNECAR
REMEDIOS, FERNANDO V                  430 THORNBERRY CT                                                                                           LAWRENCEVILLE      GA   30044‐6372
REMEDIOS, FERNANDO V.                 430 THORNBERRY CT                                                                                           LAWRENCEVILLE      GA   30044‐6372
REMEIKIS, HELEN                       138 WOODHILL DR                      APT #2                                                                 ROCHESTER          NY   14616‐2814
REMEIKIS, THOMAS A                    1026 EVESHAM AVE                                                                                            BALTIMORE          MD   21212‐3207
REMEL D STAMPER                       34900 FREEDOM RD APT 3 # 15                                                                                 FARMINGTON HILLS   MI   48335‐4017
REMEL MURRELL‐SEARCY                  6143 FLOWERDAY DR                                                                                           MOUNT MORRIS       MI   48458‐2811
REMEL STAMPER                         34900 FREEDOM RD APT 3                                                                                      FARMINGTON HILLS   MI   48335‐4017
REMELLE MC CRAY                       27630 VERMONT ST                                                                                            SOUTHFIELD         MI   48076‐4884
REMELT, JOHN D                        6303 E RIVER RD                                                                                             WEST HENRIETTA     NY   14586‐9575
REMELT, JOHN D                        6303 EAST RIVER RD                                                                                          WEST HENRIETTA     NY   14586‐9575
REMELTS, LAVERNE L                    8113 CHIPPEWA CT                                                                                            HOWARD CITY        MI   49329‐9658
REMEMBRANCE LTD                       C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT         2 RAFFLES LINK        MARINA BAYFRONT
                                      LTD                                                                                    SINGAPORE 039392
REMEMBRANCE LTD                       C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT         2 RAFFLES LINK        MARINA BAYFRONT
                                      LTD                                                                                    SINGAPORE 039392
REMENAR, ETHEL S                      24 CENTRAL AVE                                                                                              TARRYTOWN          NY   10591‐3336
REMENAR, FRANK J                      3292 SHADY CREEK DR                                                                                         HARTLAND           MI   48353‐2122
REMENAR, JOSEPH F                     4666 KESWICK CT                                                                                             GLADWIN            MI   48624‐8235
REMENAR, PATRICIA E                   446 PAUL NORMAN DR                                                                                          MURFREESBORO       TN   37127
REMENARIC PAUL (ESTATE OF) (465815)   (NO OPPOSING COUNSEL)

REMENDER, LILLIAN F                   8699 ARBUTUS                                                                                                FARWELL            MI   48622‐8728
REMENDER, ROBERT L                    8699 ARBUTUS                                                                                                FARWELL            MI   48622‐8728
REMENEC, J A                          719 MOORE ST                                                                                                OWOSSO             MI   48867‐1928
REMENESKI, PHILIP J                   145 SMITH AVE                                                                                               WAYZATA            MN   55391
REMENSNYDER, JAMES R                  1139 W GRAND RIVER                                                                                          WILLIAMSTON        MI   48895
REMENSNYDER, WILLIAM G                4027 RIVERSHELL LN                                                                                          LANSING            MI   48911‐1906
REMENTER ALVIN (ESTATE OF) (634230)   ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                                WILMINGTON         DE   19801‐1813

REMENTER, ALVIN                       ANGELOS PETER G LAW OFFICE          1300 N MARKET ST STE 212                                                WILMINGTON         DE   19801‐1813
REMENYIK, JO ELLEN                    6587 QUAIL RUN                                                                                              FISHERS            IN   46038‐4619
REMER TUCKER                          BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                              BOSTON HTS         OH   44236
REMER, DAVID R                        158 CASTILE CT                                                                                              PUNTA GORDA        FL   33983‐5211
REMER, FORDNEY J                      137 N HURON RD                                                                                              LINWOOD            MI   48634‐9535
REMER, FORDNEY JAY                    137 N HURON RD                                                                                              LINWOOD            MI   48634‐9535
REMER, JAMES                          2324 N ROHERTY RD                                                                                           EVANSVILLE         WI   53536‐9537
REMER, JAMES C                        100 WESTERN GAILES LN                                                                                       CHUCKEY            TN   37641‐3898
REMER, JOHN M                         3582 SILVER LEAF                                                                                            WHITE LAKE         MI   48383‐3559
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Name                         Address1                          Address2                   Address3                 Address4                City              State Zip
REMER, LAWRENCE H            9224 SW 91ST CIR                                                                                              OCALA              FL 34481‐9394
REMER, MARGIE C              1780 E MAPLE RAPIDS RD            R#3                                                                         SAINT JOHNS        MI 48879‐9430
REMER, MARGIE C              R#3                               1780 E. MAPLE RAPIDS RD.                                                    ST. JOHNS          MI 48879‐9430
REMER, MARIE W               50321 SHELBY ROAD                                                                                             SHELBY TOWNSHIP    MI 48317‐1245
REMER, MARIE W               50321 SHELBY RD                                                                                               SHELBY TOWNSHIP    MI 48317‐1245
REMER, RICKEY R              1827 SCHAEFER ST                                                                                              SAGINAW            MI 48602‐5535
REMER, RONALD L              2605 BEECHWOOD AVE                                                                                            SAGINAW            MI 48601‐7402
REMERO TRUCKING              PO BOX 11886                      DRAWER 1033                                                                 BIRMINGHAM         AL 35202‐1886
REMERS, STEPHEN G            7256 IONE CT                                                                                                  DUBLIN             CA 94568‐1704
REMESCH, DENNIS A            2664 OLD STATE ROUTE 34                                                                                       LIMESTONE          TN 37681‐3102
REMESCH, KARIN               1011 ERWIN DR                                                                                                 JOPPA              MD 21085‐3737
REMESCH, RAYMOND K           1210 63RD ST                                                                                                  BALTIMORE          MD 21237‐2506
REMESCH, STEPHAN N           245 LIBERTY GROVE RD                                                                                          PORT DEPOSIT       MD 21904‐1003
REMESCH, STEPHAN N.          245 LIBERTY GROVE RD                                                                                          PORT DEPOSIT       MD 21904‐1003
REMESZ, ADAM W               44379 MANITOU DR                                                                                              CLINTON TWP        MI 48038‐4434
REMETA, BERNICE G            21 OAKDALE VLG                                                                                                NORTH BRUNSWICK    NJ 08902‐9414
REMETA, BERNICE G            21 OAKDALE VILLAGE                                                                                            NO. BRUNSWICK      NJ 08902‐9414
REMI HAGEN                   70361 LOWE PLANK RD                                                                                           RICHMOND           MI 48062‐5349
REMI PIETERS                 C/O SG PRIVATE BANKING            ATTN ANN GELAUDE           KORTRIJKSESTEENWEG 302   B ‐ 9000 GENT BELGIUM
REMI SEABOLT                 5437 SEYMOUR LAKE RD                                                                                          OXFORD            MI 48371‐4148
REMI STEINER
REMIAS, DAVE S               248 ELMHURST CIR                                                                                              CRANBERRY TWP     PA   16066
REMIAS, DAVID E              106 STEEL AVE                                                                                                 GIRARD            OH   44420‐3648
REMIAS, MARGARET C           513 COLLINS AVE                                                                                               YOUNGSTOWN        OH   44515‐3308
REMIAS, TIMOTHY B            512 IMPALA DR                                                                                                 YOUNGSTOWN        OH   44515‐3330
REMIC, JOSEPH M              4916 N HILLS DR                                                                                               RALEIGH           NC   27612‐4006
REMICK, FRANK H              G3324 MACKIN RD                                                                                               FLINT             MI   48504‐3281
REMICK, JAMES K              5201 MAGNOLIA DR # A                                                                                          LOCKPORT          NY   14094‐6815
REMICK, MARDELL L            642 JACKSON ST                                                                                                BROWNSBURG        IN   46112‐1680
REMIGE, ENRICO               510 6TH ST                                                                                                    IRWIN             PA   15642‐3602
REMIGIA CASSEL               6815 ALTER RD                                                                                                 HUBER HEIGHTS     OH   45424‐3411
REMIGIA KRAM                 2962 STRIETER DR                                                                                              BAY CITY          MI   48706‐2640
REMIJAN, JAMES J             41677 MAGNOLIA CT                                                                                             NOVI              MI   48377‐4529
REMIKA J MARSHALL            1240 ALWILDY AVE                                                                                              DAYTON            OH   45408
REMILLARD, CINDY             216 WINDEMERE ST                                                                                              SPRINGFIELD       MA   01104‐2231
REMILLARD, CLAIRE E          PO BOX 353                        13 CHESLEY STREET                                                           MILLVILLE         MA   01529‐0353
REMILLARD, CLAIRE E          13 CHESLEY STREET                 P.O. BOX 353                                                                MILLVILLE         MA   01529‐0353
REMILLARD, GERARD J          215 LAUREL LEAH                                                                                               OXFORD            MI   48371‐6342
REMILLARD, GERARD J          140 WHITLEY AVE                                                                                               HENDERSON         TN   38340‐2222
REMILLARD, IVA W             140 WHITLEY ST                                                                                                HENDERSON         TN   38340‐2222
REMILLARD, R N               65 LOUISE ST                                                                                                  WOONSOCKET        RI   02895‐6651
REMILLARD, ROBERT T          1274 W THOMPSON RD                                                                                            FENTON            MI   48430‐9749
REMILLARD, ROBERT THEODORE   1274 W THOMPSON RD                                                                                            FENTON            MI   48430‐9749
REMILLARD, ROGER A           296 FAIRMOUNT ST                                                                                              WOONSOCKET        RI   02895‐4105
REMILLARD, SUSAN M           24 ARTHUR AVE                                                                                                 WOONSOCKET        RI   02895‐4804
REMILLARD, THOMAS G          2770 SERENIDAD DR                                                                                             LAS VEGAS         NV   89123‐6511
REMILLARD, THOMAS R          2243 W THOMPSON RD                                                                                            FENTON            MI   48430‐9704
REMINDER, EDWARD P           1120 MORGAN LN                                                                                                STREETSBORO       OH   44241‐4606
REMINDER, NANCY D            8 FRIEL RD                                                                                                    ROCHESTER         NY   14623‐5130
REMINDER, RICHARD J          4056 CREEKWOOD CIR                                                                                            BAY CITY          MI   48706‐5645
REMING, JACK R               868 W RIVER RD N                                                                                              ELYRIA            OH   44035‐3557
REMINGA, TODD J              5542 BALDWIN ST                                                                                               HUDSONVILLE       MI   49426‐8939
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Name                                Address1                         Address2                      Address3   Address4              City               State Zip
REMINGTON GREEN OF TALLAHASSEELLC   3107 O BRIEN DR                                                                                 TALLAHASSEE         FL 32309

REMINGTON GROUP INC                 2878 REMINGTON GREEN CIR STE B                                                                  TALLAHASSEE        FL   32308‐3725
REMINGTON INDUSTRIES INC            8822 PRODUCTION LANE                                                                            OOLTEWAH           TN   37363
REMINGTON MUD #1                    6935 BARNEY RD STE 110                                                                          HOUSTON            TX   77092‐4443
REMINGTON, ALLAN P                  15829 CHASE ST                                                                                  NORTH HILLS        CA   91343‐6303
REMINGTON, AURELIA S                1171 RUSTIC WOOD CT                                                                             EVERMAN            TX   76140
REMINGTON, BETTY J                  251 SUNFLOWER DR                                                                                LAKE HAVASU CITY   AZ   86403‐6562
REMINGTON, BUDDY L                  5820 RENDON ESTATES RD                                                                          MANSFIELD          TX   76063‐3050
REMINGTON, DANNY L                  8975 W 600 S                                                                                    ANDREWS            IN   46702
REMINGTON, DENNIS G                 36 ECKERSON AVE                                                                                 AKRON              NY   14001‐1032
REMINGTON, DOROTHY M                4420 GOLDENROD DRIVE                                                                            TRAVERSE           MI   49684‐8760
REMINGTON, EVELYN H                 126 MAJOR DR                                                                                    ANDERSON           IN   46011‐1742
REMINGTON, JAMES R                  3490 BATH RD                                                                                    PERRY              MI   48872‐9190
REMINGTON, KENNETH E                5894 ARLENE WAY                                                                                 LIVERMORE          CA   94550‐8144
REMINGTON, LELIA H                  26059 IVORY PALM DR                                                                             HOMELAND           CA   92548‐9534
REMINGTON, LINDA                    502 W JACKSON ST                                                                                ALEXANDRIA         IN   46001‐1313
REMINGTON, LINDA                    502 W. JACKSON                                                                                  ALEXANDRIA         IN   46001‐1313
REMINGTON, MARGARET M               10112 N 600 W                                                                                   ELWOOD             IN   46036‐8922
REMINGTON, MARY                     1202 LOCUST ST                                                                                  FRANKTON           IN   46044‐9748
REMINGTON, MURLIA B                 P O BOX 8063                                                                                    RICHMOND           IN   47374‐0063
REMINGTON, MURLIA B                 PO BOX 8063                                                                                     RICHMOND           IN   47374‐0063
REMINGTON, OSCAR M                  W8105 FROHMADER RD                                                                              ELROY              WI   53929‐9428
REMINGTON, RAYMOND F                10112 N 600 W                                                                                   ELWOOD             IN   46036‐8922
REMINGTON, RICHARD M                4402 ARROWHEAD LN, R#2                                                                          JANESVILLE         WI   53546
REMINGTON, ROBERT P                 26059 IVORY PALM DR                                                                             HOMELAND           CA   92548‐9534
REMINGTON, ROSEMARY TERESA          1471 KETTERING                                                                                  BURTON             MI   48509‐2405
REMINGTON, STEPHEN R                9640 W 400 N                                                                                    NOBLESVILLE        IN   46060‐8302
REMINGTON, STEPHEN RAY              9640 W 400 N                                                                                    NOBLESVILLE        IN   46060‐8302
REMINGTON, VIVIAN H                 419 S WASHINGTON ST                                                                             CHESTERFIELD       IN   46017‐1630
REMINI ROBERT                       134 BUTLER AVENUE                                                                               STATEN ISLAND      NY   10307‐1207
REMINISKEY, MARK E                  29850 RIVERSIDE BAY CT                                                                          HARRISON TWP       MI   48045‐1794
REMITE, RICHARD F                   110 CLEARWATER DR                                                                               FORKED RIVER       NJ   08731‐5117
REMLEY ROBERT J SR (439437)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                                     STREET, SUITE 600
REMLEY, HUGH M                      3035 REEDER RD                                                                                  CLARKSTON          MI 48346‐4138
REMLEY, MICHAEL G                   902 ROMAN DR                                                                                    WHITE LAKE         MI 48386‐4397
REMLEY, ROBERT J                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                     STREET, SUITE 600
REMLEY, WILLIAM M                   172 HICKORY LN                                                                                  WATERFORD          MI   48327‐2569
REMLING, FRANCIS A                  114 PARK LN                                                                                     WARWICK            NY   10990‐1733
REMLINGER, HERMINA                  7244 PINE RIDGE RD                                                                              OSCADO             MI   48750‐9645
REMMEL, DAVID L                     2112 SILVER FOX DR                                                                              EDMOND             OK   73003‐6230
REMMELE, ILA M                      555 N BROAD ST APT 620A                                                                         DOYLESTOWN         PA   18901‐3492
REMMELE, ILA M                      555 N. BROAD ST APT 620A                                                                        DOYLESTOWN         PA   18901‐3492
REMMELE, JACK L                     3592 GADY RD                                                                                    TECUMSEH           MI   49286‐9550
REMMER FRANZ                        WITTGENBUSCH 48                                                           45277 ESSEN GERMANY
REMMERDEN, JENNY M                  3012 W 2ND ST                                                                                   ANACORTES          WA   98221‐1350
REMMERS STEVE                       525 SOUTH PERSIMMON DRIVE                                                                       OLATHE             KS   66061‐6030
REMMERS, CHARLES H                  1080 RIVER BAY RD                                                                               ANNAPOLIS          MD   21409‐4830
REMMERS, E. P                       28850 PINTO DR                                                                                  WARREN             MI   48093‐7833
REMMERS, RONALD W                   9475 S POINTE LASALLE DR                                                                        BLOOMINGTON        IN   47401‐9024
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Name                                   Address1                        Address2                          Address3   Address4         City            State Zip
REMMES GREGORY                         292 S BOULEVARD                                                                               SADDLE BROOK     NJ 07663‐6016
REMMES, CARL N                         3150 LOVE RD                                                                                  GRAND ISLAND     NY 14072‐2430
REMMES, DAVID P                        92 WOODSTREAM DR                                                                              GRAND ISLAND     NY 14072‐1489
REMMES, DAVID PAUL                     92 WOODSTREAM DR                                                                              GRAND ISLAND     NY 14072‐1489
REMMES, ROBERT J                       8480 EDWARDTON DR                                                                             ROSWELL          GA 30076
REMMICK JR HOWARD (460130) ‐           DUFFY & ASSOCS JOHN J           23823 LORAIN RD                                               NORTH OLMSTED    OH 44070
REMMICK HOWARD
REMMING, RANDY H                       5500 CONESUS SOUTH LIVONIA                                                                    CONESUS         NY    14435
REMMY, CLEATUS B                       1372 SANDERLING DR                                                                            ENGLEWOOD       FL    34224‐4718
REMNER, RITA                           14612 MONTROSE AVE                                                                            CLEVELAND       OH    44111‐1326
REMO & PATRICIA DELA PENA              7337 PA RT 873                                                                                SLATINGTON      PA    18080
REMO CICCIARELLI                       4221 W CAMINO VIVAZ                                                                           GLENDALE        AZ    85310‐5545
REMO NORTON                            1310 KINGFISHER DR                                                                            ENGLEWOOD       FL    34224‐4622
REMO SPAGNOLI                          64 MCKEEL AVE                                                                                 TARRYTOWN       NY    10591‐3412
REMO SPAGNOLI                          16350 TULIP LN                                                                                WALTON HILLS    OH    44146‐4160
REMO, DIANE                            3337 CARBON ST APT 43                                                                         WHITEHALL       PA    18052‐3006
REMODELERS SHOW                        THE REMODELERS SHOW SALES MGR   PO BOX 612128                                                 DALLAS          TX    75261‐2128
REMONA ANDERSON                        143 BURNETTE RD                                                                               BARNESVILLE     GA    30204‐3402
REMONA MCBRIDE                         PO BOX 48025                                                                                  OAK PARK        MI    48237‐5725
REMONIA GRUMKA                         6525 SOUTHAMPTON DR                                                                           CLARKSTON       MI    48346‐4742
REMONIA HOSTETLER                      2274 N CENTER RD                                                                              BURTON          MI    48509‐1003
REMONIA RADER                          RR 1 BOX R6                                                                                   OAK HILL        WV    25901‐9444
REMONIA RODGERS                        29800 TELEGRAPH RD                                                                            SOUTHFIELD      MI    48034
REMOQUILLO, SOLIMAN L                  1412 LARSEN LN                                                                                NAPERVILLE      IL    60563‐8543
REMP, JEAN M                           25 W 9TH ST                                                                                   NEWTON FALLS    OH    44444‐1553
REMPALA, MARY J                        15587 HANFOR AVE                                                                              ALLEN PARK      MI    48101‐2709
REMPALA, MARY J                        15587 HANFORD                                                                                 ALLEN PARK      MI    48101‐2709
REMPALKSI, ROXANNE                     14773 24TH AVE                                                                                MARNE           MI    49435‐9753
REMPAS THEODORE (ESTATE OF) (651435)   COONEY & CONWAY                 120 NORTH LASALLE STREET , 30TH                               CHICAGO         IL    60602
                                                                       FLOOR
REMPAS, THEODORE                       COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                                CHICAGO          IL   60602
                                                                       FLOOR
REMPE, JAMES A                         1382 E COUNTY ROAD 1000 S                                                                     CLOVERDALE      IN 46120‐8895
REMPEL, EDWARD                         13127 KAGEL CANYON ST                                                                         PACOIMA         CA 91331‐3219
REMPEL, HEINRICH
REMPEL, JACOB
REMPEL, JACOB                          (JR)
REMPEL, JOHAN
REMPEL, ROSA                           13850 OXNARD ST APT 5                                                                         VAN NUYS        CA 91401‐3938
REMPEL, SUSANA                         (II)
REMPEL, SUSANA
REMPERT, MICHAEL F                     15557 ALPINE DR                                                                               LIVONIA         MI    48154‐2635
REMPERT, SUSAN W.                      540 N WASHINGTON ST                                                                           DANVILLE        IN    46122‐1244
REMPHREY JR, REUBEN                    158 NORTHTURN LN                                                                              LEVITTOWN       PA    19054‐3823
REMS DEDRICK                           15818 S TARRANT AVE                                                                           COMPTON         CA    90220‐3233
REMS EYE GLASSES                       ATTN: STANLEY REMS              1166 RARITAN RD                                               CLARK           NJ    07066‐1311
REMSBERG, JENNIFER L                   78 FERNWOOD LANE                                                                              GREENVILLE      SC    29607‐1758
REMSBERG, LOUISE I                     1261 GRANT DR                                                                                 CLEVELAND       OH    44134‐5324
REMSKI, THERESA S                      15680 BRADNER AVE                                                                             PLYMOUTH        MI    48170
REMSKI, WILLIAM R                      5935 GOTFREDSON RD                                                                            PLYMOUTH        MI    48170‐5074
REMSON, EARL                           222 W 600 N                                                                                   ALEXANDRIA      IN    46001‐8207
REMSON, ROSEMARY E                     2523 LINCOLN ST                                                                               ANDERSON        IN    46016‐5061
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Name                                  Address1                        Address2                    Address3                   Address4               City                State Zip
REMSONS INDUSTRIES LTD                88B GOVT INDL ESTATE            KADIVLI WMUBAI                                         MAHARASHRTA 400067
                                                                                                                             INDIA
REMSONS INDUSTRIES LTD                K. KETRIWALK                    1/3 MILE STONE KHANDSA RD                              RYNOSA DF 11111 MEXICO
REMSONS INDUSTRIES LTD                K. KETRIWALK 801144             1/3 MILE STONE KHANDSA RD                              RYNOSA DF 11111 MEXICO
REMSONS INDUSTRIES LTD                1/3 MILE STONE KHANDSA RD                                                              GURGAON HARYANA,
                                                                                                                             12200 INDIA
REMSTAR INTERNATIONAL INC             41 EISENHOWER DR                                                                                              WESTBROOK           ME    04092‐2032
REMSTER, HENRY C                      13491 N PADDOCK RD                                                                                            CAMBY               IN    46113‐8562
REMSTER, LESLIE C                     12815 S RIDGELAND AVE                                                                                         PALOS HEIGHTS       IL    60463‐2244
REMSTER, LONNIE A                     12621 HOLLY RD                                                                                                GRAND BLANC         MI    48439‐1816
REMSTER, ROBERT S                     260 E WOODFIELD LN                                                                                            MOORESVILLE         IN    46158‐7019
REMSTER‐DELOIS, SHERRIE A             266 ANDREWS BLVD                                                                                              PLAINFIELD          IN    46168
REMSZA, KATHLEEN A                    3159 S 50TH ST                                                                                                MILWAUKEE           WI    53219‐4509
REMUND, VERLYNE M                     11344 HADLEY                                                                                                  OVERLAND PARK       KS    66210‐2460
REMUS CHEVROLET OLDS CADILLAC JERRY

REMUS FRED                            6902 N LEXINGTON LN                                                                                                NILES           IL   60714‐4444
REMUS HARPER JR                       106 LONDONDERRY RD                                                                                                 GOOSE CREEK     SC   29445‐5504
REMUS PHARMACY                        144 W WHEATLAND AVE                                                                                                REMUS           MI   49340‐5115
REMUS RICHARD                         1150 FAIRWAYS BLVD                                                                                                 TROY            MI   48085‐6112
REMUS, IRENE R                        7757 CODDINGTON CT                                                                                                 CLARKSTON       MI   48348‐4758
REMUS, LUCILLE E                      2704 CHATHAM RD                                                                                                    LANSING         MI   48910‐8719
REMUS, PHYLLIS J                      19758 WARD ST                                                                                                      DETROIT         MI   48235‐1152
REMUS, RICHARD R                      1150 FAIRWAYS BLVD                                                                                                 TROY            MI   48085‐6112
REMUS, ROBERT P                       33793 LACROSSE ST                                                                                                  WESTLAND        MI   48185‐2309
REMY                                  ROBERT HARRIS                   600 CORPORATION DR                                                                 PENDLETON       IN   46064‐8608
REMY                                  ROBERT HARRIS                   V CIRCUITO CANADA NO 102    ARQUE INDUSTRI 3 NACIONES SAN LUIS POTOSI SAN LUIS
                                                                                                                            POTOSI 78395 MEXICO
REMY AUTOMOTIVE POLAND SP             ZOOO                            UL SZARYCH SZEREGOW 16‐18                             SWIDNICA 58‐100 POLAND
REMY AUTOMOTIVE POLAND SP EFTZ O O    UL SZARYCH SZEREGOW 16‐18                                                             58‐100 SWIDNICA POLAND
O
REMY AUTOMOTIVE POLAND ZOO            SZARYCH SZERGOW 16‐18                                                                  SWIDNICA PL 58‐100
                                                                                                                             POLAND (REP)
REMY BATTERY CO INC                   4301 W LINCOLN AVE                                                                                                 MILWAUKEE       WI 53219‐1644
REMY COMPONENTS S DE                  AV CIRCUITO CANADA N                                                                   SAN LUIS POTOSI SLP 78395
                                                                                                                             MEXICO
REMY COMPONENTS S DE RI DE CV         AV CIRCUITO CANADA NO 102                                                              SAN LUIS POTOSI SLP 78395
                                                                                                                             MEXICO
REMY INC                              600 CORPORATIN DR                                                                                                  PENDLETON       IN   46064‐8608
REMY INC                              600 CORPORATION DR                                                                                                 PENDLETON       IN   46064‐8608
REMY INC.
REMY INTERNATIONAL INC                93 SHREWSBURY AVE                                                                                                  RED BANK        NJ   07701‐6415
REMY INTERNATIONAL INC                600 CORPORATION DR                                                                                                 PENDLETON       IN   46064‐8608
REMY INTERNATIONAL INC
REMY INTERNATIONAL INC                239 OLD NEW BRUNSWICK RD                                                                                           PISCATAWAY      NJ   08854‐3712
REMY INTERNATIONAL INC                279 MYUNG‐RI KEISUNG MYUN N/A                                                          CHANGNYUNG‐GUN
                                                                                                                             KYONGNAM 635‐924
                                                                                                                             KOREA (REP)
REMY INTERNATIONAL INC                2902 ENTERPRISE DR                                                                                                 ANDERSON        IN   46013‐9667
REMY INTERNATIONAL INC                525 MOUNT CARMEL AVE                                                                                               FLEMINGSBURG    KY   41041‐1356
REMY INTERNATIONAL INC                AV CIRCUITO CANADA NO 102                                                              SAN LUIS POTOSI SL 78395
                                                                                                                             MEXICO
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Name                      Address1                          Address2                        Address3                 Address4                        City              State Zip
REMY INTERNATIONAL INC    DAVE STOOS                        6032 GATEWAY DR                 C/O CLS                                                  PLAINFIELD         IN 46168‐7655
REMY INTERNATIONAL INC    DAVE STOOS                        C/O CLS                         6032 GATEWAY DRIVE                                       LEWISVILLE         TX 75057
REMY INTERNATIONAL INC    MARIO BARRAGAN                    5168 WATER TOWER RD             AFTERMARKET DISTRIBUTION                                 MERIDIAN           MS 39301‐8850
                                                                                            DTR.
REMY INTERNATIONAL INC    MARIO BARRAGAN                    AFTERMARKET DISTRIBUTION DTR.   5168 WATER TOWER RD.                                     COVINGTON         GA

REMY INTERNATIONAL INC    MARIO BARRAGAN                    EJE 128 NO 190 2A SECCION                                                                MARION             SC   29571
REMY INTERNATIONAL INC    SZARYCH SZERGOW 16‐18                                                                           SWIDNICA PL 58‐100
                                                                                                                          POLAND (REP)
REMY INTERNATIONAL INC    C/O ROPERS MAJESKI KOHN BENTLEY   ATTN N KATHLEEN STRICKLAND ESQ 201 SPEAR ST STE 1000                                     SAN FRANCISCO     CA 94105

REMY INTERNATIONAL, INC   N. KATHLEEN STRICKLAND, ESQ.      ROPERS MAJESKI KOHN BENTLEY     201 SPEAR ST STE 1000                                    SAN FRANCISCO     CA 94111
REMY INTERNATIONAL, INC   C/O N KATHLEEN STRICKLAND, ESQ    ROPERS MAJESKI KOHN & BENTLEY   201 SPEAR STREET SUITE 1000                              SAN FRANCISCO     CA 94105

REMY JR, GERALD           11200 STATE RT 62 N E                                                                                                      MOUNT STERLING    OH 43143
REMY KOREA LTD            279 MYUNG‐RI KEISUNG MYUN N/A                                                                   CHANGNYUNG‐GUN
                                                                                                                          KYONGNAM KR 635‐924
                                                                                                                          KOREA (REP)
REMY POWER PRODUCTS LLC   PO BOX 6068                       3400 SOUTH KELLY                                                                         EDMONDS           OK    73083
REMY UNIT PARTS COMPANY   C/O FIRST UNION/WACHOVIA          PO BOX 6068                                                                              EDMOND            OK    73083‐6068
REMY, BERTRAND            35 RHODE ISLAND AVE                                                                                                        SOMERSET          MA    02726‐3820
REMY, BETTY L             10243 STATE ROUTE 335                                                                                                      BEAVER            OH    45613‐9740
REMY, HARRY W             1265 ELDERWOOD AVE                                                                                                         COLUMBUS          OH    43227‐2024
REMY, JAMES B             1568 MILAN DR                                                                                                              SIMI VALLEY       CA    93065‐3028
REMY, JEAN                1360 N STEWART ROAD                                                                                                        MANSFIELD         OH    44903‐9786
REMY, JOHN C              11373 SILVERLAKE CT                                                                                                        SHELBY TOWNSHIP   MI    48317‐2648
REMY, LARRY E             81 SAND RIDGE LN                                                                                                           HURON             TN    38345‐9452
REMY, MICHELLE E          1920 BURCH AVE                                                                                                             LIMA              OH    45801‐2604
REMY, MILDRED M           23428 CADET STREET                                                                                                         CLINTON TWP       MI    48035‐2903
REMY, ROBERT A            4 LONGVIEW DR                                                                                                              MILFORD           MA    01757‐1028
REMY, VERNA M             2737 CLARK DR                                                                                                              GROVE CITY        OH    43123‐3571
REMY/KOREA                279 MYUNG‐RI KEISUNG MYUN N/A                                                                   CHANGNYUNG‐GUN KR 635‐
                                                                                                                          924 SOUTH KOREA
REMY/MEXICO               AV CIRCUITO CANADA NO 102         PARQUE INDUSTRI 3 NACIONES                                    SAN LUIS POTOSI SL 78395
                                                                                                                          MEXICO
REMYSZEWSKI, RICHARD J    8330 DIXIE HWY                                                                                                             BIRCH RUN         MI    48415‐8951
REMZI DALIP               PO BOX 5392                                                                                                                CLEARWATER        FL    33758‐5392
REN ACKERMAN              20193 SCHICK RD                                                                                                            DEFIANCE          OH    43512‐9758
REN KENING                12520 HEATHERTON CT UNIT 6                                                                                                 SAN DIEGO         CA    92128‐5123
REN ZHIFENG               89 BLAKE ST                                                                                                                NEWTON            MA    02460‐2032
REN'S                     48 BELCHERTOWN RD                                                                                                          AMHERST           MA    01002‐2619
REN, KENNETH M            12575 HOUGH RD                                                                                                             RILEY             MI    48041‐3511
REN, KENNETH MICHAEL      12575 HOUGH RD                                                                                                             RILEY             MI    48041‐3511
REN, SHOUXIAN             7970 HALLIE DR                                                                                                             YPSILANTI         MI    48198‐7609
REN, ZANJUN J             1600 W JARVIS AVE APT 2C                                                                                                   CHICAGO           IL    60626‐1999
RENA ALLEN                C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY STE 600                                                                HOUSTON           TX    77007
                          BOUNDAS LLP
RENA BATES                P.0. BOX 71871                                                                                                             MADISON HEIGHTS   MI    48071
RENA BRANCH               3311 WINDLAND DR                                                                                                           FLINT             MI    48504‐1764
RENA BRANDON              314 HOME AVE                                                                                                               MANSFIELD         OH    44902‐7723
RENA CARNES               5940 E KITCHEN LN                                                                                                          MOORESVILLE       IN    46158‐7084
RENA CHARTRAND            4480 CONCORD ST                                                                                                            SAGINAW           MI    48603‐2013
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Name                       Address1                       Address2                 Address3    Address4         City               State Zip
RENA COOPER                PO BOX 15                                                                            MOUNT MORRIS        MI 48458‐0015
RENA CORESSEL              1027 WASHINGTON AVE                                                                  DEFIANCE            OH 43512‐2822
RENA E THOMAS              74 DEMETER DR                                                                        ROCHESTER           NY 14626‐2520
RENA FLEMING               4808 TENKILLER PL                                                                    OKLAHOMA CITY       OK 73165‐7353
RENA FORNEY                3139 E 400 S                                                                         ANDERSON            IN 46017‐9707
RENA HANDSCHUG             770 ABERNATHY RD                                                                     LYNNVILLE           TN 38472‐5004
RENA ISBELL                PO BOX 494                                                                           TALLAPOOSA          MO 63878
RENA JOHNSON               APT 7                          5350 GROOM ROAD                                       BAKER               LA 70714‐3172
RENA JOHNSON               18438 APPOLINE ST                                                                    DETROIT             MI 48235‐1313
RENA JORDAN                2927 COUNTY ROAD 143                                                                 TOWN CREEK          AL 35672‐4551
RENA KIRBY                 5500 GOODMAN AVE                                                                     FORT WORTH          TX 76107‐7016
RENA KOSKELA               3766 LOTUS DR                                                                        WATERFORD           MI 48329‐1353
RENA L MADISON             3364 FISCHER ROAD                                                                    BAY CITY            MI 48706
RENA M COOPER              PO BOX 15                                                                            MOUNT MORRIS        MI 48458‐0015
RENA M KIRBY               5500 GOODMAN AVE                                                                     FORT WORTH          TX 76107‐7016
RENA M WADE                5901 NW 66TH TER                                                                     KANSAS CITY         MO 64151‐2374
RENA MADISON               3364 E FISHER RD                                                                     BAY CITY            MI 48706‐3272
RENA MAGAMOLL              1311 DURHAM AVE                CEDAR OAKS CARE CENTER                                SOUTH PLAINFIELD    NJ 07080‐2309
RENA MCGEE                 PO BOX 13106                                                                         FLINT               MI 48501‐3106
RENA MCPHEARSON            2218 S K ST                                                                          ELWOOD              IN 46036‐3031
RENA MICHAEL               9 W 57TH ST FL 44                                                                    NEW YORK            NY 10019
RENA MILLER                28730 FAIRFAX ST                                                                     SOUTHFIELD          MI 48076‐3032
RENA MORGAN                1505 MARION ST                                                                       VALDOSTA            GA 31602‐3365
RENA NELSON                12329 POTOMAC AVE                                                                    WARREN              MI 48089‐1250
RENA PENZ                  48271 MENTER ST                                                                      CHESTERFIELD        MI 48047‐2289
RENA PISPIDIKIS
RENA POTEET                6235 VIGO DR                                                                         CLAYTON            IN   46118‐9363
RENA R WATSON              2902 WILLOW ROW N E                                                                  CANTON             OH   44705‐3618
RENA RICHMOND              5450 DUFFIELD RD                                                                     FLUSHING           MI   48433‐9766
RENA SAWYER                1116 CARTER DR                                                                       FLINT              MI   48532‐2714
RENA SHORT                 5305 LINDA LN                                                                        ANDERSON           IN   46011‐1423
RENA STEVENSON             11115 S KING DR                                                                      CHICAGO            IL   60628
RENA STEWART               1028 TOM SMITH RD                                                                    WESTFIELD          NC   27053‐7203
RENA STEWART               1058 BLUE BIRD DR                                                                    CRESTLINE          OH   44827‐9232
RENA TEUBERT               3339 121ST                                                                           PLEASANT PRAIRIE   WI   53158
RENA THOMAS                74 DEMETER DR                                                                        ROCHESTER          NY   14626
RENA THOMPSON              931 COLONIAL DR                                                                      YOUNGSTOWN         OH   44505‐2215
RENA WADE                  5901 NW 66TH TER                                                                     KANSAS CITY        MO   64151‐2374
RENA WIRRICK               4434 ANN ST                                                                          SAGINAW            MI   48603‐4119
RENA WRIGHT                15746 GEORGE WASHINGTON DR                                                           SOUTHFIELD         MI   48075‐3040
RENA YOUNG                 701 SUMMIT AVE APT 92                                                                NILES              OH   44446‐3657
RENACCI‐DORATY CHEVROLET   869 BROAD ST                                                                         WADSWORTH          OH   44281‐9001
RENADO K HUNTER            309 CARTHAGE PL                                                                      TROTWOOD           OH   45426‐2726
RENAE BUYCK                3163 WAGON TRL                                                                       FLINT              MI   48507‐1213
RENAE CUBBIN               5335 ECHO RD                                                                         BLOOMFIELD HILLS   MI   48302‐2712
RENAE KELLUM               PO BOX 358                                                                           COMMERCE           TX   75429‐0358
RENAE L BUYCK              3163 WAGON TRL                                                                       FLINT              MI   48507‐1213
RENAE L KIMINAS            3848 MESQUITE DR.                                                                    BEAVERCREEK        OH   45440
RENAE L MARTIN             1258 E YALE AVE                                                                      FLINT              MI   48505‐1753
RENAE MCMANN               2507 ESTATES LN                                                                      GRANTS PASS        OR   97527‐6395
RENAE POWERS               377 MIDWAY LAKE RD                                                                   MOORESVILLE        NC   28115‐7742
RENAE SABOURIN             8875 M 50                                                                            ONSTED             MI   49265‐9552
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Name                               Address1                         Address2                       Address3   Address4         City              State Zip
RENAE SHAGENA                      62 W MANOR ST                                                                               OXFORD             MI 48371‐6307
RENAE TALLON                       6161 BROOKSTONE LN                                                                          GRAND BLANC        MI 48439‐9433
RENAE THOMAS                       2293 CAROUSEL CT                                                                            MARIETTA           GA 30066‐4682
RENAE TVEDT                        70523 STATE HIGHWAY 23                                                                      BRUNO              MN 55712‐3400
RENAISSANCE AIRLINES INC           11201 CONNER ST                                                                             DETROIT            MI 48213‐1204
RENAISSANCE BALLOONS INC           3800 W GRAND RIVER AVE                                                                      HOWELL             MI 48855‐5513
RENAISSANCE BAPTIST CHURCH         1535 S WARREN AVE                                                                           SAGINAW            MI 48601‐2944
RENAISSANCE CENTER                 855 HIGHWAY 46 S                                                                            DICKSON            TN 37055‐2616
RENAISSANCE CENTER PARTNERSHIP     DETROIT PLAZA HOTEL                                                                         DETROIT            MI 48243
RENAISSANCE CENTER PARTNERSHIP     ATTN: JOEL S. ADELMAN, ESQUIRE   2290 FIRST NATIONAL BUILDING                               DETROIT            MI 48226
RENAISSANCE CENTER PARTNERSHIP     100 RENAISSANCE CTR STE 3600                                                                DETROIT            MI 48243‐1101
RENAISSANCE CHIROPRACTIC MGMT      ATTN: KHADRA KAHIN               1501 S CENTER RD STE 1                                     BURTON             MI 48509‐1731
RENAISSANCE CLUB                   200 RENAISSANCE CTR STE 3600                                                                DETROIT            MI 48243‐1302
RENAISSANCE CONFERENCE CENTER      300 RENAISSANCE CENTER           LEVEL 2                                                    DETROIT            MI 48243
RENAISSANCE COURT REPORTERS INC    333 W FORT ST STE 1260                                                                      DETROIT            MI 48226‐3150
RENAISSANCE ESMERALDA RESORT       44400 INDIAN WELLS LN                                                                       INDIAN WELLS       CA 92210‐8708
RENAISSANCE GLOBAL LOGISTICS LLC   4333 W FORT ST                                                                              DETROIT            MI 48209‐3221
RENAISSANCE HOTEL OPERATING CO     DBA RENAISSANCE WASHINGTON       999 9TH ST NW                  DC HOTEL                    WASHINGTON         DC 20001‐4427
RENAISSANCE IMAGING                PO BOX 190                                                                                  SIMI VALLEY        CA 93062‐0190
RENAISSANCE MARINE GROUP INC       1061 16TH AVE                                                                               CLARKSTON          WA 99403‐2808
RENAISSANCE PROPERTIES INC         3663 ROUTE 9 SUITE 202                                                                      OLD BRIDGE         NJ 08857
RENAISSANCE ROSS BRIDGE            ATTN ACCOUNTS RECEIVABLE         4000 GRAND AVE                                             HOOVER             AL 35226‐6201
RENAISSANCE/STHFIELD               3000 TOWN CENTER                 SUITE 2237                                                 SOUTHFIELD         MI 48075
RENAKER, THOMAS H                  6669 LEXINGTON PLACE NORTH                                                                  DAYTON             OH 45424‐4232
RENAL ASSOCIATES OF                PO BOX 3140                                                                                 GRAND RAPIDS       MI 49501‐3140
RENAL PHYSICIANS INC               4700 SPRINGBORO PIKE # B                                                                    MORAINE            OH 45439‐1964
RENALD CAMPANA                     3799 LARCHMONT AVE NE                                                                       WARREN             OH 44483‐2448
RENALD P DUBE                      125 BRAMBURY DR                  APT B                                                      ROCHESTER          NY 14621
RENALD R CAMPANA                   3799 LARCHMONT AVE NE.                                                                      WARREN             OH 44483‐2448
RENALDI, PAUL M                    3059 BRYSONS COVE DR                                                                        WARREN             MI 48092‐5700
RENALDO J SIGSMONDI                579 LLOYD RD.                                                                               MATAWAN            NJ 07747‐1329
RENALDO SAUNDERS                   387 HOMEWOOD AVE SE                                                                         WARREN             OH 44483‐6005
RENALDY, FRANCIS A                 725 OBERLIN PL                                                                              YOUNGSTOWN         OH 44515‐4212
RENALDY, JOHN R                    760 CRESTVIEW DR                                                                            BOARDMAN           OH 44512‐3227
RENAN ESCOLIN                      2453 WHITNEY AVE                                                                            MANSFIELD          OH 44906‐1197
RENANDE, RONALD L                  2707 HINDE AVE                                                                              SANDUSKY           OH 44870‐5915
RENARD BRAGG                       1606 WESTDALE RD                                                                            SOUTH EUCLID       OH 44121‐3022
RENARD COMMUNICATIONS              197 MOUNTAIN AVE                                                                            SPRINGFIELD        NJ 07081‐1755
RENARD DEFILIPPO                   205 IROQUOIS ST                                                                             RONKONKOMA         NY 11779
RENARD GILMORE                     6013 PRINCE GEORGE ST                                                                       BALTIMORE          MD 21207‐4856
RENARD HALL                        23651 MARLOW ST                                                                             OAK PARK           MI 48237‐1957
RENARD MAHONE                      4541 CAWI COURT                                                                             INDIANAPOLIS       IN 46268‐4492
RENARD PAPER COMPANY INC           4465 MANCHESTER AVE                                                                         SAINT LOUIS        MO 63110‐2113
RENARD ROSSI                       7294 SNOW DR                                                                                ENGLEWOOD          FL 34224‐8174
RENARD, PIERRE BONNOT              KAESKE REEVES                    6301 GASTON AVE                                            DALLAS             TX 75214
RENASCENT FOUNDATION
RENATA BARRON                      517 SAN PABLO ST NE                                                                         ALBUQUERQUE       NM   87108‐2135
RENATA CASS                        131 WEST SENECA STREET           PMB 302                                                    MANLIUS           NY   13104
RENATA MAYANG                      6784 EDINBOROUGH                                                                            WEST BLOOMFIELD   MI   48322‐3865
RENATA OSTEN                       4231 N 78TH ST                                                                              MILWAUKEE         WI   53222‐2029
RENATA OTT                         12557 SCOTT RD                                                                              FREELAND          MI   48623‐9532
RENATA TAKACS                      3384 S ELMS RD                                                                              SWARTZ CREEK      MI   48473‐7929
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Name                                 Address1                         Address2                      Address3       Address4                 City                    State Zip
RENATA WILLIAMS                      18 HILLARY CIR                                                                                         NEW CASTLE               DE 19720‐8618
RENATA WILLIAMS                      2540 E 1400 N                                                                                          PERRYSVILLE              IN 47974‐8011
RENATE ALVI                          6284 EAGLES LAKE DR                                                                                    CINCINNATI               OH 45248‐6856
RENATE AMANN                         481 MOOREWOOD CIR                                                                                      DAYTON                   OH 45415‐2337
RENATE AMANN                         481 MOOREWOOD CIR                                                                                      DAYTON                   OH 45415‐2337
RENATE AMANN‐MOSLER                  ROTWANDSTR. 27                   83620 FELDKIRCHEN‐WESTERHAM                                           FELDKIRCHEN‐WESTERHAM    DE

RENATE AMANN‐MOSLER                  ROTWANDSTR 27                                                                 FELDKIRCHEN‐WESTERHAM
                                                                                                                   83620, GERMANY
RENATE AMANN‐MOSLER                  ROTWANDSTR. 27                                                                                         FELDKIRCHEN‐WESTERHAM        83620

RENATE ANGELIKA MECHTHILD DRECHSEL   C/O WOLF PETER RUSTLEBEN         HAUS 3                                       29496 WADDEWEITZ
                                                                                                                   GERMANY
RENATE BARTEL                        42264 LOCHMOOR ST                                                                                      CLINTON TOWNSHIP        MI 48038‐1775
RENATE DELHEY                        RINGSTR. 27                                                                                            DUISBURG                DE
RENATE DOETZER                       LUDWIG‐FORSTER‐STR. 11           84347 EGGENFELDEN
RENATE DOETZER                       LUDWIG‐FORSTER‐STR. 11           84307 EGGENFELDEN
RENATE DOETZER                       LUDWIG FORSTER STR 11                                                         84307 EGGENFELDEN
                                                                                                                   GERMANY
RENATE DONALDSON                     8743 LAKEVIEW DR                                                                                       BARKER                  NY 14012‐9645
RENATE DR. DELHEY                    RINGSTR.27                                                                    47228 DUISBURG
RENATE FULTON                        5852 HIGHWAY 492                                                                                       UNION                   MS 39365‐8768
RENATE GOLDSCHMIDT                   SEESTR. SA                                                                    DE ‐ 76297 STUTENSEE
                                                                                                                   GERMANY
RENATE HIESTAND                      9175 W M AVE                                                                                           KALAMAZOO               MI 49009‐7946
RENATE KUMMER                        BADISH 10                                                                     73776 ALTBACH GERMANY
RENATE L NUTTER                      6465 ROCKY BLUFF POINT           APT 102                                                               COLORADO SPRINGS        CO 80918
RENATE LEHMANN‐PREIBSCH              SCHOEPPENSTEDTER STRASSE 5                                                    38170 WINNIGSTEDT
                                                                                                                   GERMANY
RENATE LEHMANN‐PREIBSCH              SCH╓PPENSTEDTER STRASSE 5        38170 WINNIGSTEDT
RENATE LEMKE                         AM GOLDBARG 14                                                                21217 SEEVETAL GERMANY
RENATE MCGOWAN                       AM FLEITGRABEN 30                                                             29336 NIENHAGEN
                                                                                                                   GERMANY
RENATE MCNEAL                        4104 W ROLLING MEADOWS BLV                                                                             DEFIANCE                OH 43512
RENATE MERSCH                        RHEINDORF‐STIFTUNG               IM HELLTGEN 4                 53773 HENNEF
RENATE NUTTER                        6465 ROCKY BLUFF PT APT 102                                                                            COLORADO SPRINGS        CO 80918‐6268
RENATE PETERTOENJES                  FICHTENWEG 3                                                                                           LIENEN                  DE 49536
RENATE QUEDRAU‐LARGE                 KARLSBACHER LUES 2                                                            DE‐35039 MARSURG
                                                                                                                   GERMANY
RENATE SAILER                        535 WEST DAVISON LAKE ROAD                                                                             OXFORD                  MI 48371‐1526
RENATE SCHENK                        1607 N SUMAC DR                                                                                        JANESVILLE              WI 53545‐1266
RENATE SMITH                         13287 HARBORVIEW DR                                                                                    LINDEN                  MI 48451‐8414
RENATE WILDE                         REHFAEHRTE 7                                                                  WILDAU GERMANY
RENATE ZAJACZKOWSKI                  792 VIA LOS ALTOS UNIT A                                                                               LAGUNA WOODS            CA 92637‐4813
RENATE ZELLMER                       TRIBERGER STR. 3                                                              D‐71034 BOEBLINGEN
                                                                                                                   GERMANY
RENATE ZELLMER                     TRIBERGER STR. 3                   71034 BOEBLINGEN              GERMANY
RENATE‐ANGELIKA MECHTHILD DRECHSEL HAUS 3                             29496 WADDEWEITZ

RENATE‐ANGELIKA MECHTHILD DRECHSEL C/O WOLF‐PETER RUSTLEBEN           HAUS 3                                       29496 WADDEWEITZ
                                                                                                                   GERMANY
RENATO CHIONO                        VIA BEZZECCA, 2                                                                                        TORINO ‐ ITALY          AK   10131
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Name                             Address1                         Address2                     Address3   Address4                  City                  State Zip
RENATO D'ARISTOTILE              55483 FROST DR                                                                                     MACOMB                 MI 48042‐1850
RENATO DAVIS                     73 SUGAR PINE RD                                                                                   ROCHESTER HILLS        MI 48309‐2231
RENATO DELEON                    1508 S NIAGARA ST                                                                                  SAGINAW                MI 48602‐1338
RENATO DELOS REYES               640 HOLT RD                                                                                        WILLIAMSTON            MI 48895‐9754
RENATO FUSTA                     VIA LUIGI NEGRELLI 12                                                                              CUNEO                       12100
RENATO LORIA                     2134 HAWTHORNE RD                                                                                  GROSSE POINTE WOODS    MI 48236‐1434
RENATO MESINA                    4366 GOLDENDAWN WAY                                                                                LIBERTY TOWNSHIP       OH 45044‐8317
RENATO MONARI                    VIA ROMA 28                      41021 FADANO ‐ MO                       41021 FADANO ‐ MO ITALY
RENATO MONARI                    VIA ROMA 28/A                                                                                      FANANO                      41021
RENATO MONARI, GIULIANO MONARI   VIA ROMA 28                      41021 FANANO MO              ITALY
RENATO NEGRETTI                  25 APROLE 22                                                                                       BOVEGNO                  25061
RENATO OTEYZA                    46499 GALWAY DR                                                                                    NOVI                  MI 48374‐3853
RENATO RAMIREZ                   2433 ELMWOOD AVE                                                                                   BERWYN                IL 60402‐2625
RENATO S DELEON                  1508 S NIAGARA ST                                                                                  SAGINAW               MI 48602‐1338
RENATO TESSER                    VIA NOVELLI 66
RENATO TORRES                    29737 MALVINA DR                                                                                   WARREN                MI 48088‐3764
RENATO, LENA M                   812 MASON ST                                                                                       NILES                 OH 44446‐3036
RENATTA WRIGHT                   2961 HUNTINGTON PARK DR                                                                            WATERFORD             MI 48329‐4528
RENATUS COPPENS                  969 GOLF WOOD AVE                                                        WINDSOR ON N9J3E3
                                                                                                          CANADA
RENAUD DAVID                     5470 S GRAY OAK TER                                                                                LECANTO               FL    34461‐8184
RENAUD JR, CLARENCE J            1783 HANFORD AVE                                                                                   LINCOLN PARK          MI    48146‐1352
RENAUD JR, ELDON J               148 WHISPERING HILLS BLVD                                                                          BOWLING GREEN         KY    42101‐3955
RENAUD JR, ELDON JOHN            148 WHISPERING HILLS BLVD                                                                          BOWLING GREEN         KY    42101‐3955
RENAUD JR, GASTON O              59 ELM ST                                                                                          MARLBOROUGH           MA    01752‐2165
RENAUD, CHARLES                  815 W BUCKSHUTEM RD                                                                                MILLVILLE             NJ    08332‐7185
RENAUD, CHRISTOPHER C            639 DENMARK PL                                                                                     THE VILLAGES          FL    32162‐6004
RENAUD, DAVID R                  PO BOX 704                                                                                         JEWETT CITY           CT    06351‐0704
RENAUD, DAVID T                  16 CEDAR KNOLL RD                                                                                  JACKSON               NJ    08527‐1196
RENAUD, DONALD J                 3101 SANDS CT                    C/O MARILYN A ROGERS                                              MILFORD               MI    48380‐3457
RENAUD, EDGAR A                  29 BERKLEY ST                                                                                      WOONSOCKET             RI   02895‐6232
RENAUD, EVA D                    8968 STONE ROAD                                                                                    ALGONAC               MI    48001‐3822
RENAUD, EVA D                    8968 STONE RD                                                                                      CLAY                  MI    48001‐3822
RENAUD, JACQUES A                3655 REFLECTIONS LN                                                                                LAS CRUCES            NM    88011‐4242
RENAUD, JANET L                  1384 WILL CARLETON RD                                                                              CARLETON              MI    48117
RENAUD, JOHN A                   29620 VAN LAAN DR                                                                                  WARREN                MI    48092‐4251
RENAUD, LAURIE L                 9830 WATER FERN CIR                                                                                CLERMONT              FL    34711‐6626
RENAUD, LAWRENCE P               24331 HILL AVE                                                                                     WARREN                MI    48091‐4453
RENAUD, MICHAEL H                PO BOX 35                                                                                          FORESTDALE            MA    02644‐0035
RENAUD, PHYLLIS J                7 BON VUE DR                                                                                       HAZELWOOD             MO    63042‐2706
RENAUD, RAY M                    1151 W KLEIN ST                                                                                    MOUNT MORRIS          MI    48458‐2359
RENAUD, RAYMOND P                4485 EDGEWOOD ST                                                                                   DEARBORN HTS          MI    48125‐3227
RENAUD, RONALD J                 2340 FOX HILL DR                                                                                   STERLING HTS          MI    48310‐3552
RENAUDIN, COLLEEN D              9 LAUX MANOR DR                                                                                    METAIRIE              LA    70003‐3815
RENAULT S.A.S.                   FRANCE                                                                   FRANCE
RENAULT S.A.S.                   13‐15 QUAI LE GALLO                                                      BOULOGNE BILLANCOURT
                                                                                                          92100 FRANCE
RENAULT, DONALD L                15190 MARSH HAWK                                                                                   HUMBLE                 TX   77396
RENAY P HORN                     C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY, STE 600                                        HOUSTON                TX   77007
                                 BOUNDAS, LLP
RENAY STOCKING                   2865 137TH AVE                                                                                     DORR                  MI 49323‐9354
RENBARGER ROBERT ESTATE OF       3945 WHITNEY PL                                                                                    DULUTH                GA 30096‐3155
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Name                    Address1                             Address2                      Address3                 Address4                 City                State Zip
RENBARGER, JON A        900 SHERMAN ST                                                                                                       FRANKTON             IN 46044‐9794
RENBARGER, LAVETTA M    2398 W 500 N                                                                                                         MARION               IN 46952‐9103
RENBARGER, ROGER A      3491 S STATE ROAD 13                                                                                                 LAPEL                IN 46051‐9746
RENBARGER, WALTER E     604 N JACKSON                                                                                                        SWEETSER             IN 46987
RENBERG JR, WILLIAM J   2131 RIDGE RD S APT 115                                                                                              LARGO                FL 33778‐1612
RENBERG, DANNY          8393 E HOUGHTON LAKE DR                                                                                              HOUGHTON LAKE        MI 48629‐9590
RENBERG, DANNY          8393 EAST HOUGHTON LAKE DRIVE                                                                                        HOUGHTON LAKE        MI 48629‐9590
RENBERG, VIRGINIA B     1694 N M 52 APT 110                                                                                                  OWOSSO               MI 48867‐1287
RENBERG, WILLIAM J      4391 SANDY CREEK DR                                                                                                  SHELBY TOWNSHIP      MI 48316‐3081
RENC, GEORGE F          13147 N 20TH ST APT 206                                                                                              TAMPA                FL 33612
RENCH LAWRENCE          2730 S LITTLE SAND MOUNTAIN RD                                                                                       ARMUCHEE             GA 30105‐4040
RENCH, BARBARA A        3900 PAKES ROAD S E                                                                                                  STANTON              MI 48888‐9000
RENCH, BARBARA A        3900 E PAKES RD                                                                                                      STANTON              MI 48888‐9000
RENCH, CLAUDE P         823 N CLARKDALE DR                                                                                                   MUNCIE               IN 47304‐3150
RENCH, DELBERT P        52381 PULVER RD                                                                                                      THREE RIVERS         MI 49093‐9736
RENCH, FANNIE G         4220 N HOLLAND SYLVANIA RD APT 246                                                                                   TOLEDO               OH 43623‐2586

RENCH, JOHN C           4760 S CANFIELD NILES RD                                                                                             CANFIELD            OH   44406‐7602
RENCH, KAREN M          6572 LEIPERS CREEK RD                                                                                                COLUMBIA            TN   38401‐1486
RENCH, PHYLLIS J        4760 S CANFIELD NILES RD                                                                                             CANFIELD            OH   44406‐7602
RENCH, ROBERT G         1100 N BALSAM DR                                                                                                     MUNCIE              IN   47304‐9640
RENCH, SHARON K         1708 BUENA VISTA                                                                                                     KALAMAZOO           MI   49001‐4589
RENCHER, CHRISTINE      18976 BILTMORE ST                                                                                                    DETROIT             MI   48235‐3031
RENCHER, JOHN L         1937 GLADSTONE DR                                                                                                    FORT WAYNE          IN   46816‐3733
RENCHER, THOMAS         5310 HOLTON AVE                                                                                                      FORT WAYNE          IN   46806‐3225
RENCHIK, ELIZABETH B    6432 SOUTHAMPTON DR                                                                                                  CLARKSTON           MI   48346
RENCHKO, ALBERT J       1476 JUDY LANE                                                                                                       MONROEVILLE         PA   15146‐3927
RENCHKO, ALBERT J       1476 JUDY LN                                                                                                         MONROEVILLE         PA   15146‐3927
RENCIS, PETERIS         3310 BADGER AVE SW                                                                                                   WYOMING             MI   49509‐3051
RENCK, RICHARD E        7265 TUOLUMNE DR                                                                                                     GOLETA              CA   93117‐1307
RENCO CORP              PO BOX 412                           BEVER DAM RD                                                                    MANCHESTER          MA   01944‐0412
RENCO CORPORATION       5 BEAVER DAM ROAD                                                                                                    MANCHESTER          MA   01944
RENCO GROUP INC, THE    410 S OLD WOODWARD AVE #340                                                                                          BIRMINGHAM          MI   48009‐6610
RENCO GROUP INC, THE    DENISE WILSON                        PO BOX 887                                                                      DAYTON              OH   45401‐0887
RENCO GROUP INC, THE    DENISE WILSON                        2155 EXECUTIVE HILLS DR       C/O ANDROID INDUSTRIES                            AUBURN HILLS        MI   48326‐2943
RENCO GROUP INC, THE                                         30 ROCKEFELLER PLZ STE 4225                                                     NEW YORK            NY   10112
RENCO GROUP INC, THE    100 WASHBURN DR RR2                                                                         KITCHENER ON N2R 1S2
                                                                                                                    CANADA
RENCO GROUP INC, THE    1208‐6 SHINSANG‐RI JILLYANG‐MYEON                                                           TAEGU KYONGBUK KR 712‐
                                                                                                                    838 KOREA (REP)
RENCO GROUP INC, THE    1211 PROGRESS ST                                                                                                     STURGIS             MI   49091‐9386
RENCO GROUP INC, THE    1401 CROOKS RD                                                                                                       TROY                MI   48084‐7106
RENCO GROUP INC, THE    1425 BURLINGAME AVE SW                                                                                               GRAND RAPIDS        MI   49509‐1059
RENCO GROUP INC, THE    144 W 23RD AVE                                                                                                       NORTH KANSAS CITY   MO   64116‐3082
RENCO GROUP INC, THE    1450 E BEECHER ST                                                                                                    ADRIAN              MI   49221‐3562
RENCO GROUP INC, THE    238 N 2200 W                                                                                                         SALT LAKE CITY      UT   84116‐2921
RENCO GROUP INC, THE    250 NORTHWOODS BLVD                                                                                                  VANDALIA            OH   45377‐9694
RENCO GROUP INC, THE    30 ROCKEFELLER PLZ STE 4225                                                                                          NEW YORK            NY   10112‐4208
RENCO GROUP INC, THE    3301 NAFTA PKY                                                                                                       BROWNSVILLE         TX   78526
RENCO GROUP INC, THE    417 E 2ND ST                                                                                                         ROCHESTER           MI   48307‐2007
RENCO GROUP INC, THE    4200 W INDUSTRIES RD                                                                                                 RICHMOND            IN   47374‐1385
RENCO GROUP INC, THE    4400 MATTHEWS DR                                                                                                     FLINT               MI   48057
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Name                   Address1                          Address2                         Address3                      Address4                   City              State Zip
RENCO GROUP INC, THE   4872 S LAPEER RD                                                                                                            ORION              MI 48359‐1877
RENCO GROUP INC, THE   5845 E 14TH ST                                                                                                              BROWNSVILLE        TX 78521
RENCO GROUP INC, THE   640 CONRAD PL                                                                                    WATERLOO ON N2V 1C4
                                                                                                                        CANADA
RENCO GROUP INC, THE   780 WHITNEY DR                                                                                                              LAPEER            MI 48446‐2565
RENCO GROUP INC, THE   AV MICHIGAN Y PROL UNIONES                                                                       MATAMOROS MX 87310
                                                                                                                        MEXICO
RENCO GROUP INC, THE   AVENIDA MICHIGAN Y PROL UNIONES                                                                  MATAMOROS MX 87360
                                                                                                                        MEXICO
RENCO GROUP INC, THE   DENISE WILSON                     1211 PROGRESS ST                                                                          ROCHESTER         MI 48307
RENCO GROUP INC, THE   DENISE WILSON                     1450 E BEECHER ST                                                                         ADRIAN            MI 49221‐3562
RENCO GROUP INC, THE   DENISE WILSON                     1450 EAST BEECHER                                              REYNOSA TAMAUIPAS TM
                                                                                                                        88690 MEXICO
RENCO GROUP INC, THE   DENISE WILSON                     15686 STURGEON ST                C/O RCO ENGINEERING INC                                  ROSEVILLE         MI    48066‐1817
RENCO GROUP INC, THE   DENISE WILSON                     1900 BILLY MITCHELL BLVD STE B                                                            BROWNSVILLE       TX    78521‐5610
RENCO GROUP INC, THE   DENISE WILSON                     250 NORTH WOODS                                                                           DAYTON            OH    45403
RENCO GROUP INC, THE   DENISE WILSON                     250 NORTHWOODS BLVD                                                                       VANDALIA          OH    45377‐9694
RENCO GROUP INC, THE   DENISE WILSON                     305 BEST FRIEND CT               C/O ANDROID INDUSTRIES                                   NORCROSS          GA    30071‐2970
RENCO GROUP INC, THE   DENISE WILSON                     4872 S. LAPEER ROAD                                                                       STERLING HTS      MI    48312
RENCO GROUP INC, THE   DENISE WILSON                     5610 CORPORATE DR                C/O PROGRESSIVE MOLDED                                   SAINT JOSEPH      MO    64507‐7771
                                                                                          PRODS
RENCO GROUP INC, THE   DENISE WILSON                     60 HEID AVE                      C/O SELECT INDUSTRIES CORP.                              DAYTON            OH 45404‐1216

RENCO GROUP INC, THE   DENISE WILSON                     640 S VERMONT ST                 C/O AI TECHNOLOGIES LLC                                  PALATINE          IL 60067‐6950
RENCO GROUP INC, THE   DENISE WILSON                     C/O AI TECHNOLOGIES LLC          640 S. VERMONT STREET                                    EATON RAPIDS      MI 48827
RENCO GROUP INC, THE   DENISE WILSON                     C/O ALBAR INDUSTRIES INC.        780 WHITNEY DRIVE             RAMOS ARIZPE CZ 25900
                                                                                                                        MEXICO
RENCO GROUP INC, THE   DENISE WILSON                     C/O AMERICAN METAL & PLASTICS    450 32ND STREET SW                                       HAMPSHIRE          IL   60140

RENCO GROUP INC, THE   DENISE WILSON                     C/O ANDROID INDUSTRIES INC       4400 MATTHEWS DR                                         FLINT             MI 48057
RENCO GROUP INC, THE   DENISE WILSON                     C/O FPE INC                      30627 ORR RD                  NORTH WALSHAM GREAT
                                                                                                                        BRITAIN
RENCO GROUP INC, THE   DENISE WILSON                     C/O INTEVA PRODUCTS LLC‐ADRIAN 1450 E BEECHER ST               SAN LUIS POTOSI CP 78395
                                                                                                                        MEXICO
RENCO GROUP INC, THE   DENISE WILSON                     C/O KDS CO LTD                   1208‐6 SHINSANG‐RI JILLYANG‐                             AUBURN             AL   36832
                                                                                          MY
RENCO GROUP INC, THE   DENISE WILSON                     C/O MAGNESIUM PRODUCTS           2001 INDUSTRIAL DRIVE        BALTIMORE ON CANADA
RENCO GROUP INC, THE   DENISE WILSON                     C/O MAY & SCOFIELD DE MEXICO     553 FINEGAN ROAD                                         EAST PROVIDENCE   RI 02915
RENCO GROUP INC, THE   DENISE WILSON                     C/O MITCHELL PLASTICS LTD        100 WASHBURN DR RR2                                      TOLEDO            OH 43612
RENCO GROUP INC, THE   DENISE WILSON                     C/O MULTIMATIC INC               35 W WILMOT STREET           LONDON ON CANADA
RENCO GROUP INC, THE   DENISE WILSON                     C/O PROGRESSIVE MOULDED          6900 S BENTSEN RD                                        LAREDO             TX   78045
                                                         PRODUC
RENCO GROUP INC, THE   DENISE WILSON                     C/O RCO ENGINEERING INC          15686 STURGEON                                           DETROIT           MI 48223
RENCO GROUP INC, THE   DENISE WILSON                     C/O SELECT INDUSTRIES CORP.      60 HEID AVE.                                             LOS ANGELES       CA 90063
RENCO GROUP INC, THE   DENISE WILSON                     C/O SUPERIOR PLASTIC LLC         417 E 2ND STREET              BANGHOLME AUSTRALIA
RENCO GROUP INC, THE   DENISE WILSON                     C/O ULTRA MANUFACTURING LTD      640 CONRAD PL                                            ADRIAN            MI 49221

RENCO GROUP INC, THE   DENISE WILSON                     C/O VENTRA SALEM LLC             800 PENNSYLVANIA AVENUE                                  STURGIS           MI 48091

RENCO GROUP INC, THE   DENISE WILSON                     C/O WORTHINGTON                  800 PENNSYLVANIA AVE.                                    BRIGHTON          MI 48116
RENCO GROUP INC, THE   DENISE WILSON                     C/O WREN INDUSTRIES INC          265 LIGHTNER RD                                          TROY              MI 48083
RENCO GROUP INC, THE   GENERAL COUNSEL                   30 ROCKEFELLER PLAZA                                                                      NEW YORK          NY 10112
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Name                             Address1                       Address2                     Address3                      Address4         City             State Zip
RENCO GROUP INC, THE             1 ROCKEFELLER PLZ                                                                                          NEW YORK          NY 10020‐2003
RENCO GROUP, INC.                DENNIS SADLOWSKI               30 ROCKEFELLER PLAZA                                                        NEW YORK          NY 10112
RENCSAK, THOMAS                  1093 ZUNI DR                                                                                               BURTON            MI 48509‐1448
RENCURREL, ROBERT B              251 KINGS HWY                                                                                              KENNEBUNKPORT     ME 04046‐7271
RENCZKOWSKI, WILLIAM M           99 MURRAY TER                                                                                              TONAWANDA         NY 14150‐5244
RENCZKOWSKI, WILLIAM MICHEAL     99 MURRAY TER                                                                                              TONAWANDA         NY 14150‐5244
RENDA F SPEARS                   4901 BAYSIDE DR                                                                                            RIVERSIDE         OH 45431
RENDA GOLDEN                     4920 TUDOR RD                                                                                              STILESVILLE       IN 46180‐9442
RENDA KAYE GOLDEN                4920 TUDOR ROAD                                                                                            STILESVILLE       IN 46180
RENDA MEINERS                    642 POINT OF VIEW DR                                                                                       COLUMBIA          TN 38401‐9238
RENDA SPEARS                     4901 BAYSIDE DR                                                                                            DAYTON            OH 45431‐2002
RENDA, CHRIS L                   58 APPIAN DR                                                                                               ROCHESTER         NY 14606‐4722
RENDA, MARY J                    1553 ILLINOIS AVE                                                                                          FLINT             MI 48506‐3552
RENDALL TOOL CO                  3523 SCHEELE DR                                                                                            JACKSON           MI 49202‐1217
RENDALL, MARY T                  6134 DEAN AVE                                                                                              TAYLOR            MI 48180‐1116
RENDE JOHN R                     RENDE, JOHN R                  210 GRANT STREET SUITE 202                                                  PITTSBURGH        PA 15219
RENDE, MARGARET M                54341 ARROWHEAD DR                                                                                         SHELBY TWP        MI 48315‐1207
RENDE, PATRICIA M                99 HARDING DR                                                                                              NEW ROCHELLE      NY 10801‐4641
RENDEL'S INC.                    40 MILLS RD                                                                                                JOLIET             IL 60433‐2727
RENDEL'S INC.                    PATRICK POLCYN                 40 MILLS RD                                                                 JOLIET             IL 60433‐2727
RENDEL, ROBERT C                 6408 W CARLETON RD                                                                                         ADRIAN            MI 49221
RENDEL, ROGER D                  2339 ROSEANN DR                                                                                            TOLEDO            OH 43611‐2924
RENDEL, ROGER DEAN               2339 ROSEANN DR                                                                                            TOLEDO            OH 43611‐2924
RENDELL, GARY A                  2493 S HARBOR DR APT J2                                                                                    BAY CITY          MI 48706‐9022
RENDELL, SANDRA B                525 E SEASIDE WAY PH 2304                                                                                  LONG BEACH        CA 90802‐8020
RENDELLS GMC INC                 40 MILLS ROAD                                                                                              JOLIET             IL 60433‐2727
RENDER JACKSON                   PO BOX 283                                                                                                 GREENVILLE        GA 30222‐0283
RENDER ROSSER                    1180 BROOKHAVEN NORTH CIR NE                                                                               ATLANTA           GA 30319‐2865
RENDER, AMANDA E                 1241 CLEMENT AVE                                                                                           DAYTON            OH 45408‐2518
RENDER, CLAUDETTE P              1411 CORY DR                                                                                               DAYTON            OH 45406‐5912
RENDER, DOROTHY I                25126 RAYMOND AVE                                                                                          EDWARDSBURG       MI 49112
RENDER, DOROTHY I                9267 US HIGHWAY 98                                                                                         DADE CITY         FL 33525‐1451
RENDER, EDDIE L                  3657 CALMER CIR                                                                                            EAST POINT        GA 30344‐6008
RENDER, EMMA J                   20065 N GREENWAY                                                                                           SOUTHFIELD        MI 48076
RENDER, GARY E                   5100 FISH LAKE RD                                                                                          NORTH BRANCH      MI 48461‐9566
RENDER, IVAN R                   11265 PARSHALL RD                                                                                          FENTON            MI 48430‐9430
RENDER, JACKIE W                 PO BOX 517                                                                                                 IVA               SC 29655‐0517
RENDER, JOHN E                   35690 CRANMER DR                                                                                           NEW BALTIMORE     MI 48047‐1069
RENDER, JOHN W                   4356 WATERLOO ST                                                                                           WATERFORD         MI 48329‐1466
RENDER, LOUIS R                  3307 EARLHAM DRIVE                                                                                         DAYTON            OH 45406‐4216
RENDER, MONICA E                 23 FOREST GLEN AVE                                                                                         DAYTON            OH 45405‐2730
RENDER, SONYA L                  6510 TUPPER LAKE RD                                                                                        SUNFIELD          MI 48890
RENDER, WILLIE L                 511 HIGHLAND LAKE CIR                                                                                      DECATUR           GA 30033‐3445
RENDES, ELIZABETH M              793 US HIGHWAY 70                                                                                          WILLISTON         NC 28579
RENDES, ELIZABETH M              111 PIVER RD                                                                                               BEAUFORT          NC 28516
RENDEZVOUS MOTORS GROUP DBA      ATTN MICHAEL W SPENCE          RAY QUINNEY & NEBEKER PC     36 SOUTH STATE STREET SUITE                    SALT LAKE CITY    UT 84111
TAPPER MOTORS                                                                                1400
RENDIA T HARRING                 56 EARL ST                                                                                                 ROCHESTER        NY   14611
RENDIGS FRY KIELY & DENNIS LLP   900 4TH ST                     5 W 4TH ST                                                                  CINCINNATI       OH   45215‐3827
RENDINA, JAMES A                 407 W 130TH TER                                                                                            KANSAS CITY      MO   64145‐1256
RENDINO DI GREGORIO              33842 AU SABLE DR                                                                                          CHESTERFIELD     MI   48047‐4389
RENDLE, GERALD T                 5555 BEN DAVIS RD                                                                                          PITTSVILLE       MD   21850‐2062
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Name                         Address1                           Address2                        Address3          Address4         City              State Zip
RENDLE, HAZEL M              5555 BEN DAVIS RD                                                                                     PITTSVILLE         MD 21850‐2062
RENDLEMAN, EVELYN            11013 E WILSON RD                                                                                     OTISVILLE          MI 48463‐9733
RENDLEMAN, EVELYN            11013 WILSON RD                                                                                       OTISVILLE          MI 48463‐9733
RENDLEMAN, LYDIA L           683 COUNTY HOME RD                 JONES COUNTY REST HOME          BLDG 1 ROOM 30B                    ELLISVILLE         MS 39437‐8455
RENDON EMILIO                ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                                  HOUSTON            TX 77069
RENDON JR, ADRIAN            30834 BARTON STREET                                                                                   GARDEN CITY        MI 48135‐1378
RENDON JR, JUAN A            906 GODDARD ST                                                                                        WYANDOTTE          MI 48192‐2828
RENDON JR, NICOLAS D         938 FAIRVIEW AVE                                                                                      PONTIAC            MI 48340‐2521
RENDON, ALAN                 6436 RIDGEVIEW AVE                                                                                    AUSTINTOWN         OH 44515‐5553
RENDON, ANNA B               44315 SUNDELL AVE                                                                                     LANCASTER          CA 93536
RENDON, DANIEL R             79 BIRCH LN                                                                                           SAN JOSE           CA 95127‐2309
RENDON, DERLY S              10150 MEMPHIS AVE                                                                                     WHITTIER           CA 90603‐2023
RENDON, DERLY S              4321 ALPHA ST                                                                                         LOS ANGELES        CA 90032‐1306
RENDON, EDMUNDO L            1120 SW 133RD PL                                                                                      OKLAHOMA CITY      OK 73170‐6966
RENDON, ERLINDA              308 N THORNBURG ST                                                                                    SANTA MARIA        CA 93458‐4353
RENDON, GUY J                1200 VALLEYVIEW DR                                                                                    CLARKSTON          MI 48348‐4094
RENDON, JOE R                2656 SANDERS DR UNIT 5                                                                                POLLOCK PINES      CA 95726‐9671
RENDON, JOSE G               4715 DOGWOOD LN                                                                                       SAGINAW            MI 48603‐1992
RENDON, MARIA                3822 SHEFFIELD                                                                                        LOS ANGELES        CA 90032‐2427
RENDON, MARIA D              1675 RIBBLE ST                                                                                        SAGINAW            MI 48601‐6853
RENDON, MARIANA Z            13738 HOYT ST                                                                                         PACOIMA            CA 91331‐3722
RENDON, PETE                 12355 BAUMGARTNER RD                                                                                  SAINT CHARLES      MI 48655‐9677
RENDON, RAQUEL               KNICKERBOCKER COWAN HEREDIA &      468 MAIN STREET                                                    EAGLE PASS         TX 78852
                             JASSO P.C.
RENDON, RAQUEL               WATTS LAW FIRM                     BANK OF AMERICA PLAZA ‐ SUITE                                      SAN ANTONIO        TX   78205
                                                                100 ‐ 300 CONVENT STREET
RENDON, RAUL                 3363 LOGSDON DR                                                                                       FREMONT           OH    43420‐9684
RENDON, REYMUNDA             13613 DRONFIELD AVE                                                                                   SYLMAR            CA    91342‐1429
RENDON, REYNALDO             2118 NEWARK AVE                                                                                       LANSING           MI    48911‐4609
RENDON, RICARDO L            5700 SHAFER ST                                                                                        LANSING           MI    48910
RENDON, RICHARD              165 MABEL ST NW                                                                                       COMSTOCK PARK     MI    49321‐8902
RENDON, RICHARD              3878 YORKLAND DR NW APT 3                                                                             COMSTOCK PARK     MI    49321‐8424
RENDON, ROBERT J             946 S CEDAR ST APT 8                                                                                  MASON             MI    48854‐2060
RENDON, ROSENDO J            2648 LONGVIEW AVE                                                                                     SAGINAW           MI    48601‐7035
RENDON, ROXANN M             PO BOX 344                         145 BEVERLY CIRCLE                                                 ELYSIAN FIELDS    TX    75642‐0344
RENDON, SALVADOR             13738 HOYT ST                                                                                         PACOIMA           CA    91331‐3722
RENDON, VIRGINIA L           125 SUNVIEW DR                                                                                        SAINT CHARLES     MI    48655‐1011
RENDON‐PARDO, TANYA LYNN     315 MILL ST                                                                                           FLUSHING          MI    48433‐2012
RENDULIC, CHRISTOPHER K      750 SCENERY DR                                                                                        ELIZABETH         PA    15037‐2208
RENDULIC, CHRISTOPHER KRAY   750 SCENERY DR                                                                                        ELIZABETH         PA    15037‐2208
RENDULIC, PAUL A             14409 STONE PINE CT                                                                                   CLERMONT          FL    34711
RENDULIC, WILLIAM            C/O SAVINIS, D'AMICO & KANE, LLC   707 GRANT STREET STE 3626                                          PITTSBURGH        PA    15219
RENDULIC, WILLIAM F          380 NEW WORLD DR                                                                                      JEFFERSON HILLS   PA    15025‐3447
RENDULICH, MIRELLA L         5765 9TH AVE                                                                                          COUNTRYSIDE       IL    60525‐4002
RENDY HUGHES                 9446 HIGHWAY 150                                                                                      GREENVILLE        IN    47124‐9637
RENE A TOLOSSA               1019 W CITRON ST                                                                                      CORONA            CA    92882
RENE ADAMS                   5944 BAYVIEW CIR S                                                                                    GULFPORT          FL    33707‐3930
RENE ALLAIN                  29 FERRY ST                                                                                           SOUTH GRAFTON     MA    01560‐1326
RENE B NEWELL                P.O BOX 1143                                                                                          YOUNGSTOWN        OH    44501
RENE BARRIER                 232 JEFFERSON AVE                                                                                     JANESVILLE        WI    53545‐4131
RENE BEDE                    G6225 DENHILL AVENUE                                                                                  BURTON            MI    48519
RENE BELL                    421 LYNCH AVE                                                                                         PONTIAC           MI    48342‐1954
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Name                    Address1                        Address2                      Address3   Address4                 City              State Zip
RENE BERNIER            15639 PORTAGE RD                                                                                  VICKSBURG          MI 49097‐9722
RENE BOUFFORD
RENE BRAUN              365 PANORAMA BLVD                                                                                 SEDONA            FL   86336
RENE CANTU              693 PEACOCK AVE                                                                                   PONTIAC           MI   48340‐2070
RENE CASILLAS           PO BOX 922993                                                                                     SYLMAR            CA   91392‐2993
RENE CHARTIER           1018 FITZROY CIR                                                                                  SPRING HILL       TN   37174‐8528
RENE CHAURAND           7912 NW 77TH PL                                                                                   KANSAS CITY       MO   64152‐4226
RENE CLARK              508 E MERRIFIELD RD                                                                               EDGERTON          WI   53534‐9010
RENE COALTER            15300 RITCHIE AVE NE                                                                              CEDAR SPRINGS     MI   49319‐8520
RENE CROTEAU            3002 TIPTON WAY                                                                                   ABINGDON          MD   21009‐2576
RENE CRUZ               PO BOX 1382                                                                                       ELIZABETH         NJ   07207‐1382
RENE D RIOPELLE         1112 CENTER AVE APT 6                                                                             BAY CITY          MI   48708‐6183
RENE DEMAYER            163 BRANDYWYNE DR NW                                                                              COMSTOCK PARK     MI   49321‐9208
RENE DESANDER           2286 N THOMAS RD                                                                                  SAGINAW           MI   48609‐9323
RENE DESROSIERS         5957 FOXHOLLOW DR                                                                                 WINTER HAVEN      FL   33884‐2754
RENE DOBLER             KOENIGSBERGER RING 15           68799 REILINGEN               GERMANY
RENE DOBLER             KOENIGSBERGER RING 15                                                    68799 REILINGEN,
                                                                                                 GERMANY
RENE F JACOBS           2011 READY AVE                                                                                    BURTON            MI   48529‐2055
RENE FOISY              402 RIDGE WOOD CIR                                                                                DESTIN            FL   32541‐1555
RENE FRANCO             11137 RISNER LN                                                                                   EATON RAPIDS      MI   48827‐8247
RENE FRECHETTE          C/O EMBRY & NEUSNER             PO BOX 1409                                                       GROTON            CT   06340
RENE FREDERICK          139 STEEPHILL LN                                                                                  HOHENWALD         TN   38462‐5225
RENE GARCIA             6625 BERNADINE DR                                                                                 WATAUGA           TX   76148‐2804
RENE GARZA              3048 DIXIE CT                                                                                     SAGINAW           MI   48601‐5904
RENE GIBEAULT           3 JUDITH ST                                                                                       MASSENA           NY   13662‐1116
RENE GILL               14890 COUNTY ROAD F                                                                               HOLGATE           OH   43527‐9737
RENE GRAY               4386 BRUNSWICK DR                                                                                 BURTON            MI   48529‐1901
RENE GREEN              2412 SCHULER AVE.                                                                                 GADSDEN           AL   35904
RENE GUERRA             100 N. CLOSNER                                                                                    EDINBURG          TX   78539
RENE GUNDRY             1109 HATHAWAY RISING                                                                              ROCHESTER HILLS   MI   48306‐3941
RENE HARPER JR          1451 S DIAMOND MILL RD                                                                            NEW LEBANON       OH   45345‐9338
RENE HARPER JR          1451 S DIAMOND MILL RD                                                                            NEW LEBANON       OH   45345‐9338
RENE HART               126 TRIPPANY RD                                                                                   MASSENA           NY   13662‐3230
RENE HELTON‐REDDINGTO   PO BOX 7922                                                                                       FLINT             MI   48507‐0922
RENE HOEFFNER           8283 YUKON CT                                                                                     ARVADA            CO   80005‐2535
RENE HOLOVE             1107 ROMAN DR                                                                                     FLINT             MI   48507‐4019
RENE HORNBROOK          1458 CLAIRWOOD DR                                                                                 BURTON            MI   48509‐1503
RENE JACOBS             2011 READY AVE                                                                                    BURTON            MI   48529‐2055
RENE JAMES              866 JERRY DR                                                                                      HUBBARD           OH   44425‐3801
RENE JAUREGUI           6512 STETTER DR                                                                                   ARLINGTON         TX   76001‐7555
RENE JEAN‐LOUIS         1964 RIVERVIEW DR                                                                                 DEFIANCE          OH   43512‐2526
RENE JONES              12 TUCKAHOE RD                                                                                    NEW CASTLE        DE   19720‐4433
RENE JOSEPH DUPONT      THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                       HOUSTON           TX   77017
RENE KLOBUCH            WEINBERGSWEG 12                 10119                         BERLIN     GERMANY
RENE L REDDINGTON       PO BOX 7922                                                                                       FLINT             MI   48507‐0922
RENE LABADIE            3849 EDGEMONT DR                                                                                  NEW PORT RICHEY   FL   34652‐5740
RENE LANDRY             2583 SINCLAIR AVE                                                                                 WATERFORD         MI   48328‐2747
RENE LEAL               6726 S WASHINGTON AVE LOT 127                                                                     LANSING           MI   48911‐6580
RENE LECOYER            3938 ROBERTSON DR                                                                                 WARREN            MI   48092‐4116
RENE M JAMES            866 JERRY DR                                                                                      HUBBARD           OH   44425‐3801
RENE MAHLOW MAHLOW      53 LINDENHOFWEG
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Name                Address1                        Address2                 Address3    Address4                 City                  State Zip
RENE MANITOWABI     PO BOX 763                                                                                    SAULT SAINTE MARIE     MI 49783‐0763
RENE MARINEZ        2211 ROBINSON RD                                                                              LANSING                MI 48910‐4839
RENE MARTIN         202 SPRINGFALLS CT                                                                            MONROE                 OH 45050‐2563
RENE MARZ           1837 HAVERHILL DR                                                                             LAPEER                 MI 48446‐9792
RENE MCCOMB         2154 STOWE LN                                                                                 MT PLEASANT            TN 38474‐2838
RENE MILIAN         2677 W 71ST PL                                                                                HIALEAH                FL 33016‐5415
RENE MIRCHANDANI    PO BOX 320214                                                                                 FLINT                  MI 48532‐0004
RENE MORALES        145 RIDGEVIEW DR                                                                              PULASKI                TN 38478‐8121
RENE MOREAU         32847 LAKE MEAD DR                                                                            FREMONT                CA 94555
RENE NASSAR         15360 ASHURST ST                                                                              LIVONIA                MI 48154‐2604
RENE NEVES          42 PARK AVE                                                                                   MASSENA                NY 13662‐1447
RENE OOINK          240 FARR ST                                                                                   COMMERCE TWP           MI 48382‐2950
RENE P HART         126 TRIPPANY ROAD                                                                             MASSENA                NY 13662
RENE PARMETER       120 GLENWOOD DR                                                                               ELIZABETH              PA 15037‐1619
RENE PENA           PO BOX 901                                                                                    HIDALGO                TX 78557‐0901
RENE PEREZ          11811 HUNNEWELL AVE                                                                           LAKE VIEW TER          CA 91342‐6058
RENE PERFETTO       4750 DEERFIELD DR                                                                             WHITE LAKE             MI 48383‐1436
RENE PETIT S.A.     81, RUE DE MEAUX                                                     PARIS FRANCE
RENE PETRUS         FRIEDRICH‐EBERT‐STRASSE 68
RENE POISSON        31 DESMARAIS ST                                                                               CUMBERLAND            RI   02864‐2012
RENE QUIROGA        2377 W 1100 N                                                                                 HUNTINGTON            IN   46750‐7919
RENE RAYMOND        78 GREEN VALLEY RD                                                                            FLINT                 MI   48506‐5291
RENE RICHARDSON     1301 RIVER FOREST DR                                                                          FLINT                 MI   48532‐2824
RENE RINDAHL        1601 S MARION AVE                                                                             JANESVILLE            WI   53546‐5713
RENE RIPASSA        11618 SINGLETON DR                                                                            LA MIRADA             CA   90638‐1136
RENE RODRIGUEZ      26 E SPRING VALLEY AVE                                                                        MAYWOOD               NJ   07607‐2121
RENE SIMMONS        1446 LEISURE DR                                                                               FLINT                 MI   48507‐4056
RENE ST HILAIRE     1171 HAWTHORNE RD                                                                             GROSSE POINTE WOODS   MI   48236‐1470
RENE T GUYADER      7 STRATFORD PL                                                                                SHALLOTTE             NC   28470
RENE TSCHENTSCHER   STEINSTR. 8                                                          D ‐ 12169 BERLIN
REN╔ TSCHENTSCHER   STEINSTR. 8                     D ‐ 12169 BERLIN         GERMANY
RENE WOODSON        18665 ROGGE ST                                                                                DETROIT               MI   48234‐3023
RENE Y MORRELLA     474 WALDEN TRL                                                                                DAYTON                OH   45440‐4086
RENE' J MORALES     1030 EAST SILVERBELL ROAD                                                                     LAKE ORION            MI   48360‐2333
RENE' MORALES       1030 E SILVERBELL RD                                                                          LAKE ORION            MI   48360‐2333
RENEA GARTON        2905 HARROW WAY                                                                               SHELBY TWP            MI   48316‐1353
RENEA JACKSON       8521 MOUNT VALLEY LN                                                                          RALEIGH               NC   27613‐6931
RENEA SMITHEY       1903 MANTILLA DR                                                                              FLORISSANT            MO   63031‐4301
RENEA WORKS         1016 GENE WHITT ROAD                                                                          ATTALLA               AL   35954
RENEA WRIGHT        APT B                           4485 WEST 116TH STREET                                        HAWTHORNE             CA   90250‐1037
RENEAU, CHARLES A   255 SPENCE RD                                                                                 MONROE                LA   71203‐8139
RENEAU, DENNIS J    6259 GUAVA AVE                                                                                GOLETA                CA   93117‐2041
RENEAU, DORLES J    2708 HOLLYWOOD DR                                                                             ARLINGTON             TX   76013‐1222
RENEAU, JUSTIN A    216 INDIA DRIVE                                                                               SHREVEPORT            LA   71115‐3006
RENEAU, MARILYN K   PO BOX 443                                                                                    GRAND LEDGE           MI   48837‐0443
RENEAU, MARY H      102 AUGUSTA CT                                                                                SLIDELL               LA   70460
RENEAU, RAYMOND R   909 R C THOMPSON RD                                                                           CHESNEE               SC   29323‐8499
RENEAUD, SCOT D     12057 HEGEL RD                                                                                GOODRICH              MI   48438‐9270
RENEE HUTT          5916 SEASHELL TERRACE                                                                         BOYNTON BEACH         FL   33437
RENEE A GRANT       6086 CURSON DR                                                                                TOLEDO                OH   43612‐4013
RENEE A LOGAN       1612 COLLAR PRICE RD                                                                          HUBBARD               OH   44425
RENEE A LOWE        11208 STATE ROUTE 730                                                                         BLANCHESTER           OH   45107‐‐ 00
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Name                      Address1                       Address2                       Address3   Address4         City                 State Zip
RENEE A SINDA             43089 FREEPORT DR                                                                         STERLING HEIGHTS      MI 48313‐2723
RENEE A STURK             5115 TORREY RD                                                                            FLINT                 MI 48507
RENEE A STURK             5415 TORREY RD                                                                            FLINT                 MI 48507‐3811
RENEE ALOYO               4123 S PORTSMOUTH RD                                                                      BRIDGEPORT            MI 48722‐9583
RENEE ANDROSIAN           10428 RAYNER DR NW                                                                        ALBUQUERQUE           NM 87114‐4597
RENEE ARMES               63190 TURNBERRY WAY                                                                       WASHINGTN TWP         MI 48095‐2830
RENEE ARRINGTON‐JOHNSON   40830 WINDEMERE DR                                                                        CLINTON TWP           MI 48038‐3794
RENEE BARONE              15714 MERION CT                                                                           NORTHVILLE            MI 48168‐8491
RENEE BARR                6340 W EATON HWY                                                                          LANSING               MI 48906‐9065
RENEE BARTON              9967 ELM RD                                                                               OVID                  MI 48866‐9509
RENEE BAUMGARTNER         15641 HUFF ST                                                                             LIVONIA               MI 48154‐1510
RENEE BECKMAN &           C/O WUNDERLICH SECURITIES      19500 VICTOR PARKWAY STE 290                               LIVONIA               MI 48152
RENEE BINDER              5930 PARK RIDGE DR                                                                        NORTH OLMSTED         OH 44070‐4139
RENEE BOYLAND             366 ELMWOOD AVE APT 315                                                                   BUFFALO               NY 14222‐2306
RENEE BRADFORD‐TINSMAN    1640 N EDON RD                                                                            ALLEN                 MI 49227‐9766
RENEE BRYANT              27219 LATHRUP BLVD                                                                        LATHRUP VILLAGE       MI 48076‐3506
RENEE BURROWS             6320 JOHNSON RD                                                                           LOWELLVILLE           OH 44436‐9785
RENEE BURROWS             4621 EICHELBERGER AVE                                                                     DAYTON                OH 45406
RENEE CAPOTS              616 CHERRY AVE                                                                            NILES                 OH 44446‐2526
RENEE CARVER              619 IRONWOOD DR                                                                           MANSFIELD             OH 44903‐8770
RENEE CLEVENGER‐HLAVATY   268 E WALNUT ST                                                                           WADSWORTH             OH 44281‐1369
RENEE CONNEALLY           19411 MAYBURY LN                                                                          NORTHVILLE            MI 48167‐8860
RENEE CORNEY              18900 LORAS LN                                                                            CNTRY CLB HLS          IL 60478‐5474
RENEE COX MOORE           2440 WILL JO LN                                                                           FLINT                 MI 48507‐3555
RENEE CRIHFIELD‐LENTINI   7410 RICHMOND RD                                                                          OAKWOOD VILLAGE       OH 44146‐5905
RENEE CUMMINGS            8617 MORNINGAIRE CIR                                                                      HAZELWOOD             MO 63042‐3045
RENEE CUSACK              PO BOX 291                     8140 FRONT ST                                              PALO                  MI 48870‐0291
RENEE CVORKOV             601 DOWNING LN                                                                            WILLIAMSVILLE         NY 14221‐8058
RENEE D HARRIS            2321 W 6TH ST                                                                             MC DONALD             OH 44437‐1307
RENEE D HEAVNER           955 RIVERVIEW DR                                                                          LEAVITTSBURG          OH 44430
RENEE D KEMP              3119 NORWICH RD                                                                           LANSING               MI 48911‐1541
RENEE DANIELS             2418 LINDA DR NW                                                                          WARREN                OH 44485‐1707
RENEE DAVIS               1475 DETTA DR                                                                             SAGINAW               MI 48638
RENEE DEVENGENCIE         275 ASPEN DR NW                                                                           WARREN                OH 44483‐1184
RENEE DIAMOND             721 BALFOUR ST                                                                            GROSSE POINTE PARK    MI 48230‐1811
RENEE DIEBERT             319 INDIANA AVE                                                                           SANDUSKY              OH 44870‐5755
RENEE DONOHOUE            3913 SOUTHWYCK CT                                                                         JANESVILLE            WI 53546‐2053
RENEE DORLIN              PO BOX 2502                                                                               DETROIT               MI 48202‐0502
RENEE DRAKE               25019 ACACIA ST                                                                           SOUTHFIELD            MI 48033‐2701
RENEE E HOLLEY            3600 EMMONS AVE                                                                           ROCHESTER HILLS       MI 48307‐5621
RENEE E LAMBERT           2448 ARAGON AVE NORTH                                                                     KETTERING             OH 45420‐3712
RENEE E WILKES            888 PALLISTER ST APT 1014                                                                 DETROIT               MI 48202‐2674
RENEE EARL                526 HICKORY HOLLOW DR                                                                     CANFIELD              OH 44406‐1051
RENEE ELLINGTON           160 N WASHINGTON ST APT 19                                                                PERRY                 MI 48872‐9547
RENEE ELLIOTT             18351 29 MILE RD                                                                          RAY                   MI 48096‐2345
RENEE EPDING              PO BOX 28255                                                                              PANAMA CITY           FL 32411‐8255
RENEE FLEMING             2881 SUTHERLAND DR                                                                        THOMPSONS STATION     TN 37179‐5045
RENEE GARANT              3144 DELAWARE AVE                                                                         FLINT                 MI 48506‐3027
RENEE GAYNOR              235 BAILLIERE DR                                                                          MARTINSVILLE          IN 46151‐1306
RENEE GENSOR              30531 FLANDERS AVE                                                                        WARREN                MI 48088‐3219
RENEE GONZALES            1519 MARCY AVENUE                                                                         LANSING               MI 48917‐9591
RENEE GORDON              19949 CHEYENNE ST                                                                         DETROIT               MI 48235‐1156
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Name                   Address1                      Address2                       Address3   Address4                 City                 State Zip
RENEE GRALA            2660 GLENCAIRIN DR NW                                                                            GRAND RAPIDS          MI 49504‐2371
RENEE GRANT            711 LIBERTY RD                                                                                   YOUNGSTOWN            OH 44505‐3917
RENEE GRANT            BRENT COON & ASSOCIATES       215 ORLEANS                                                        BEAUMONT              TX 77701
RENEE GUSTAFSON        5407 N GENESEE RD                                                                                FLINT                 MI 48506‐4511
RENEE HANEY            26519 ISLEWORTH PT                                                                               SOUTHFIELD            MI 48034‐5668
RENEE HARPER           420 EASTON RD                                                                                    GLADWIN               MI 48624‐8402
RENEE HARRIS           2321 W 6TH ST                                                                                    MC DONALD             OH 44437‐1307
RENEE HART             240 MOHAWK RD                                                                                    JANESVILLE            WI 53545‐2275
RENEE HAWATMEH         32047 VEGAS DR                                                                                   WARREN                MI 48093‐6175
RENEE HENDERSHOT       5192 E COLE RD                                                                                   BANCROFT              MI 48414‐9779
RENEE HILL             5315 LAMME RD                                                                                    MORAINE               OH 45439
RENEE HIRSCH           3370 S 133RD ST                                                                                  OMAHA                 NE 68144
RENEE HOLLEY           3600 EMMONS AVE                                                                                  ROCHESTER HILLS       MI 48307‐5621
RENEE HOTTON           3333 EVERETT DR                                                                                  ROCHESTER HILLS       MI 48307‐5071
RENEE HUCKINS          154 W BLAKELY RD                                                                                 SANFORD               MI 48657‐9103
RENEE HURLEY           2510 PRIMROSE RD                                                                                 ELMIRA                MI 49730‐9052
RENEE I EISELINE       67 FALCON TRAIL                                                                                  PITTSFORD             NY 14534‐2460
RENEE I HART           240 MOHAWK RD                                                                                    JANESVILLE            WI 53545‐2275
RENEE INGALLS          4410 OLD LANSING RD                                                                              LANSING               MI 48917‐4454
RENEE IRELAN           15 S ELM GROVE RD                                                                                LAPEER                MI 48446‐3545
RENEE J STRINGER       525 CARLOTTA DR                                                                                  YOUNGSTOWN            OH 44504
RENEE JACOBS           6551 N KENNEDY RD                                                                                MILTON                WI 53563‐9270
RENEE JADZINSKI        21112 ALEXANDER ST                                                                               SAINT CLAIR SHORES    MI 48081‐1875
RENEE JOFFE            367 STARIN AVE                                                                                   BUFFALO               NY 14216‐2030
RENEE JONES            PO BOX 90104                                                                                     BURTON                MI 48509‐0104
RENEE JONES            9920 JULIE DR                                                                                    YPSILANTI             MI 48197‐8292
RENEE KARR             PO BOX 93                                                                                        ROSEPINE              LA 70659‐0093
RENEE KEECH            43626 BOCKLEY DR                                                                                 STERLING HTS          MI 48313‐1712
RENEE KEMP             3119 NORWICH RD                                                                                  LANSING               MI 48911‐1541
RENEE KING             4651 HEMMETER CT APT 4                                                                           SAGINAW               MI 48603‐3866
RENEE KOBESTO          34A LOCUST DR                                                                                    JAMESBURG             NJ 08831‐1225
RENEE KOGER            1037 E ALMA AVE                                                                                  FLINT                 MI 48505‐2227
RENEE KOLLER           529 JACOB WAY APT 204                                                                            ROCHESTER             MI 48307‐6622
RENEE KOVALAK          5121 CHESTNUT HILL DRIVE                                                                         WILLOUGHBY            OH 44094
RENEE L CAPOTS         616 CHERRY AVE                                                                                   NILES                 OH 44446
RENEE L EARL           526 HICKORY HOLLOW DR                                                                            CANFIELD              OH 44406‐1051
RENEE L LEMOS          103 BYRD RD                                                                                      PARIS                 TN 38242‐5505
RENEE L MINNICH        107 S MAIN ST                                                                                    UNION                 OH 45322
RENEE L SHAFER         3940 PARKMAN RD.                                                                                 WARREN                OH 44481‐9172
RENEE L SOCHACKI       3512 STATE ROUTE 503 S                                                                           WEST ALEXANDRIA       OH 45381
RENEE L STOUTAMIRE     PO BOX 3153                                                                                      WARREN                OH 44485‐0153
RENEE L THOMPSON       7847 ST. RT.193                                                                                  FARMDALE              OH 44417‐9749
RENEE LAHEY‐GEYSSENS   KAREL SCHURMANSSTRAAT 1                                                 3010 KESSEL‐LO BELGUIM
RENEE LAHEY‐GEYSSENS   KAREL SCHURMANSSTRAAT 3       3010 KESSEL‐LO
RENEE LAMONT           1275 BOYD RD                                                                                     XENIA                OH 45385‐9771
RENEE LANDAAL          1301 WOODSLEA DR                                                                                 FLINT                MI 48507‐4312
RENEE LAWRENZ
RENEE LAWSON           23399 GRAYSON DR                                                                                 SOUTHFIELD           MI 48075‐3694
RENEE LEE              COUNTY ATTORNEY               601 E. KENNEDY BLVD., COUNTY                                       TAMPA                FL 33602
                                                     CENTER, 27TH FLOOR
RENEE LEE DAVID        7135 CHAPEL VIEW DR                                                                              CLARKSTON            MI 48346‐1601
RENEE LEWIS            1469 ELM ST                                                                                      CLIO                 MI 48420‐1605
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Name                    Address1                       Address2            Address3         Address4         City                State Zip
RENEE LIAGKOS           2429 PEARL ST                                                                        DETROIT              MI 48209‐3414
RENEE LYKE              2608 E RACINE ST                                                                     JANESVILLE           WI 53545
RENEE M FLEMING         2881 SUTHERLAND DR                                                                   THOMPSONS STATION    TN 37179‐5045
RENEE M GRESS           625 KOOGLER ST                                                                       FAIRBORN             OH 45324‐4963
RENEE M KARR            P.O. BOX 93                                                                          ROSEPINE             LA 70659
RENEE M MONTPETIT       115 COUNTY ROUTE 43                                                                  MASSENA              NY 13662‐3129
RENEE M NOWAK           707 3RD ST                                                                           BAY CITY             MI 48708‐5907
RENEE M RIEFER          237 WAVERLY DRIVE                                                                    VA BEACH             VA 23452‐4233
RENEE M ZUMERLING       117 TURQUOISE DR                                                                     CORTLAND             OH 44410‐1908
RENEE MAGEE             2001 SANTA BARBARA DR                                                                FLINT                MI 48504‐2021
RENEE MARTIN            11330 GREENVIEW DR                                                                   FENTON               MI 48430‐2534
RENEE MARTIN‐MOULTRAY   134 AUCKLAND DR                                                                      NEWARK               DE 19702‐4257
RENEE MARZEC            110 FAIRELM LN                                                                       BUFFALO              NY 14227‐1366
RENEE MAXWELL           PO BOX 383                                                                           WHITMORE LAKE        MI 48189‐0383
RENEE MIETZ             8050 N GENESEE RD                                                                    MOUNT MORRIS         MI 48458‐8828
RENEE MILLER            PO BOX 81                                                                            PAEONIAN SPRINGS     VA 20129‐0081
RENEE MILLER            18100 MAPLE HILL CT                                                                  NORTHVILLE           MI 48168‐3256
RENEE MONTPETIT         115 COUNTY ROUTE 43                                                                  MASSENA              NY 13662‐3129
RENEE MOORE             13733 HEATHERWOOD DR                                                                 STERLING HEIGHTS     MI 48313‐4329
RENEE MOORE             31307 NELSON DR                                                                      WARREN               MI 48088‐7033
RENEE MOSES             994 MEADOW THRUSH DR                                                                 CLAYTON              OH 45315‐8718
RENEE NAYLOR            206 PEACH RD                                                                         BEVERLY              NJ 08010‐2706
RENEE NICHOLSON         25104 RAYBURN DR                                                                     WARREN               MI 48089‐4648
RENEE ODDO              9820 CHERRY HILLS DR                                                                 CANFIELD             OH 44406‐8166
RENEE PENNY             1327 CHIPPENDALE CIR                                                                 COLUMBIA             TN 38401‐7206
RENEE PHILLIPS          22293 CRESTWOOD ST                                                                   WOODHAVEN            MI 48183‐5246
RENEE PICCOLA           3787 W 36TH ST                                                                       CLEVELAND            OH 44109‐2670
RENEE PIPKINS           PO BOX 678                                                                           GOODRICH             MI 48438‐0678
RENEE POLAK             4125 DIAMOND ST                                                                      YPSILANTI            MI 48197‐9394
RENEE PRESTAGE          8821 S 50TH AVE                                                                      OAK LAWN              IL 60453‐1341
RENEE R BURROWS         6320 JOHNSON RD.                                                                     LOWELLVILLE          OH 44436‐9785
RENEE R STOFIRA         664 W 3RD ST                                                                         NILES                OH 44446‐1428
RENEE RAINEY            6040 CHARLESGATE ROAD                                                                DAYTON               OH 45424‐1123
RENEE RANDALL           61411 WOODFIELD WAY                                                                  WASHINGTN TWP        MI 48094‐1537
RENEE RASHID‐MEREM      201 WOODCREEK CT                                                                     COMMERCE TOWNSHIP    MI 48390‐1274
RENEE RAST              4503 SOUTH 25TH ST                                                                   FORT PIERCE          FL 34981
RENEE REEDER            9282 N 800 W                                                                         MIDDLETOWN           IN 47356
RENEE RIMER             29881 QUINKERT ST                                                                    ROSEVILLE            MI 48066‐2150
RENEE RITTER            2012 KEATON DR                                                                       LA VERGNE            TN 37086‐2449
RENEE RODRIGUEZ         PO BOX 5                                                                             EAGLE                MI 48822‐0005
RENEE ROSENTHAL         187 HARBOURSIDE CIRCLE                                                               JUPITER              FL 33477
RENEE ROURKE            1147 SW 16TH ST                                                                      LINCOLN CITY         OR 97367‐2314
RENEE ROWLAND           15978 AMY LN                                                                         MACOMB               MI 48042‐5602
RENEE ROY               1038 N OAKLAND BLVD APT 12                                                           WATERFORD            MI 48327‐1564
RENEE S KOGER           1037 E ALMA AVE                                                                      FLINT                MI 48505‐2227
RENEE SANDSTEDT         1278 WHITE HAWK DR                                                                   O FALLON             MO 63366‐3716
RENEE SAULSGIVER        1893 MULLET AVE                                                                      SAINT HELEN          MI 48656‐9797
RENEE SAVAGE            12067 LUMPKIN ST                                                                     HAMTRAMCK            MI 48212‐2614
RENEE SCOTT‐BURISEK     7041 TERRACE DR                                                                      DOWNERS GROVE         IL 60516‐3202
RENEE SHEPHERD          82 LAKESHORE VIS                                                                     HOWELL               MI 48843‐7563
RENEE SINDA             43089 FREEPORT DR                                                                    STERLING HEIGHTS     MI 48313‐2723
RENEE SLIWINSKI         3595 POHL RD                                                                         ALDEN                NY 14004
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Name                           Address1                           Address2                      Address3   Address4         City              State Zip
RENEE SMITH                    806 STETSON ST                                                                               TECUMSEH           MI 49286‐1179
RENEE STEPHENS                 2149 ADDISON HILLS CT APT CT10                                                               OXFORD             MI 48370
RENEE STEVENSON                PO BOX 278                                                                                   LONGWOOD           NC 28452‐0278
RENEE STOVALL‐WHITE            16700 SUNDERLAND RD                                                                          DETROIT            MI 48219‐4047
RENEE STURK                    5415 TORREY RD                                                                               FLINT              MI 48507‐3811
RENEE T GONZALES               1519 MARCY AVENUE                                                                            LANSING            MI 48917‐9591
RENEE TALTON                   22226 SOLOMON BLVD APT 132                                                                   NOVI               MI 48375‐5074
RENEE TOMKIEWICZ               15226 LEGEND OAKS CT                                                                         FORT MILL          SC 29707‐5873
RENEE TOOMEY                   2245 VICTOR AVE                                                                              LANSING            MI 48911‐1731
RENEE W SLIWINSKI              3595 POHL RD                                                                                 ALDEN              NY 14004‐8505
RENEE W SMITH                  2253 BENTON AVE                                                                              DAYTON             OH 45406‐1803
RENEE WALKER                   820 MARQUETTE ST                                                                             FLINT              MI 48504‐7716
RENEE WARREN                   309 GLEN VALLEY DR                                                                           LEANDER            TX 78641
RENEE WATTS                    211 MORRIS AVE                                                                               GIRARD             OH 44420‐2939
RENEE WAWRZYNSKI               2571 PEBBLE BEACH DRIVE                                                                      OAKLAND            MI 48363‐2448
RENEE WHITE                    18129 FLAMINGO AVE                                                                           CLEVELAND          OH 44135
RENEE WILLIAMS                 5685 STRATFORD DR                                                                            W BLOOMFIELD       MI 48322‐1542
RENEE WILLIAMSON               510 E MONTCALM ST                                                                            PONTIAC            MI 48342‐1529
RENEE WIROSTEK                 49949 LEXINGTON AVE E                                                                        SHELBY TWP         MI 48317‐6301
RENEE WRIGHT                   12507 24TH ST E                                                                              PARRISH            FL 34219‐6968
RENEE WRIGHT                   403 W BELL ST                                                                                MONTGOMERY CY      MO 63361‐2601
RENEE ZUMERLING                117 TURQUOISE DR                                                                             CORTLAND           OH 44410‐1908
RENEE' BELLAFANT               20501 FENTON ST                                                                              DETROIT            MI 48219‐1071
RENEE' F COTTOM                693 OUTERBELLE RD                                                                            TROTWOOD           OH 45426‐1521
RENEE' FERGUSON                3802 WINDING PINE DR                                                                         METAMORA           MI 48455‐8905
RENEE' M MILLER                2226 STEWART RD                                                                              XENIA              OH 45385
RENEE' MCCLELLAND              4181 PAVILION CT                                                                             FENTON             MI 48430‐9168
RENEE' WRIGHT                  14566 MULBERRY ST                                                                            SOUTHGATE          MI 48195‐2515
RENEGADE COMPANIES INC         PO BOX 5317                                                                                  BUFFALO GROVE       IL 60089‐5317
RENEGAR, RICHARD L             211 OAK CT                                                                                   SPRINGTOWN         TX 76082‐3209
RENEL ERVIN                    107 ASHFORD OAKS CT                                                                          WENTZVILLE         MO 63385‐2782
RENELIUS BELL                  PO BOX 401444                                                                                REDFORD            MI 48240‐9444
RENER, PAUL E                  2837 SW 60TH ST                                                                              OKLAHOMA CITY      OK 73159‐1610
RENESHA LAWSON                 839 WHISTLE WOOD DR                                                                          REYNOLDSBURG       OH 43068
RENETTA G SIMS                 3078 BROADWAY STREET; UNIT # 302                                                             SAN DIEGO          CA 92102
RENETTA KREJCI                 3246 WENONAH AVE                                                                             BERWYN              IL 60402‐2930
RENETTA NAIL                   KELLER FISHBACK & JACKSON LLP      18425 BURBANK BLVD STE 610                                TARZANA            CA 91356
RENETTA NAIL                   KELLER, FISHBACK & JACKSON LLP     18425 BURBANK BLVD, STE 610                               TARZANA            CA 91356
RENETTE M COMPTON              1327 TENNYSON AVE                                                                            DAYTON             OH 45406‐4348
RENETTIA LESLIE                924 W 10TH ST # 1                                                                            MARION             IN 45953‐1656
RENEW VALVE & MACHINE CO INC   845 MONROE ST                                                                                CARLETON           MI 48117‐9077
RENEW VALVE & MACHINE CO INC   845 MONROE ST                      PO BOX 298                                                CARLETON           MI 48117‐9077
RENEWABLE ALTERNATIVES LLC     410 S 6TH ST STE 203                                                                         COLUMBIA           MO 65211‐2290
RENEWABLE FUELS FOUNDATION     1 MASSACHUSETTS AVE NW STE 820                                                               WASHINGTON         DC 20001‐1401
RENFANG CAO                    6330 ODESSA DR                                                                               WEST BLOOMFIELD    MI 48324‐1358
RENFER, BERNARD                67 HUYLER RD                                                                                 BRANCHBURG         NJ 08876‐3705
RENFER, PAUL E                 PO BOX 1418                                                                                  SARASOTA           FL 34230
RENFER, RONALD L               344 KILLARNEY BEACH RD                                                                       BAY CITY           MI 48706‐1185
RENFORD, JAMES                 6236 CARRIAGE LANE                                                                           MABLETON           GA 30126
RENFORD, MARK A                533 RAMONA ST                                                                                ROCHESTER          NY 14615‐3231
RENFORD, OTIS                  66 BLAINE AVE                                                                                BUFFALO            NY 14208‐1057
RENFORTH, JACK D               2003 MORTON ST                                                                               ANDERSON           IN 46016‐4156
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Name                      Address1                           Address2                        Address3   Address4         City             State Zip
RENFREW CARYN             6544 CHAMPETRE COURT                                                                           RENO              NV 89511‐5077
RENFREW, EDITH J          1339 FOX RUN DR                                                                                YOUNGSTOWN        OH 44512‐4038
RENFREW, NANCY J          718 CEDAR HILL AVE                                                                             DALLAS            TX 75208‐4082
RENFRO CHARLES & CAROLE   1595 CORBETT CANYON RD                                                                         ARROYO GRANDE     CA 93420‐6912
RENFRO HOLLY              70 WALNUT VALLEY LN                                                                            HENDERSONVILLE    NC 28739
RENFRO INDUSTRIES INC     102 METRO DR                                                                                   TERRELL           TX 75160‐9104
RENFRO INDUSTRIES INC     102 METRO DR                       PO BOX 773                                                  TERRELL           TX 75160‐9104
RENFRO JAMES (491288)     BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                             PROFESSIONAL BLDG
RENFRO JR, WRAY C         16504 E 51ST STREET CT S                                                                       INDEPENDENCE     MO 64055‐6845
RENFRO RUFUS F (406052)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                             STREET, SUITE 600
RENFRO SUSAN              182 SESSIONS ST                                                                                PROVIDENCE       RI   02906
RENFRO TONY               C/O SATURN OF LAKE CHARLES         1900 SIEBARTH DR                                            LAKE CHARLES     LA   70615‐6894
RENFRO TONY               NEED BETTER ADDRESS 10/25/06CP     1164 SONORA ROAD # 110                                      SONORA           TX   76950
RENFRO, ADAM T            219 GROVE ST                                                                                   EAGLE            WI   53119‐2206
RENFRO, ATHARENE E        4437 BENTON BLVD A E DANIEL                                                                    KANSAS CITY      MO   64130‐2025
RENFRO, BOBBY D           1134 N STONEY BROOK DR                                                                         BETSY LAYNE      KY   41605‐9029
RENFRO, CARL S            1210 MOCKINGBIRD LN                                                                            ARLINGTON        TX   76013‐3702
RENFRO, CYNTHIA           2005 BARBARA DR                                                                                FLINT            MI   48504‐1641
RENFRO, DANIEL T          W7243 COUNTY ROAD CH                                                                           WESTFIELD        WI   53964‐8658
RENFRO, DONALD E          2005 BARBARA DR                                                                                FLINT            MI   48504‐1641
RENFRO, EDITH             11701 FLOWER SCENT CT              C/O BRENT RENFRO                                            AUSTIN           TX   78750‐3675
RENFRO, EDITH             C/O BRENT RENFRO                   11701 FLOWER SCENT CT                                       AUSTIN           TX   78750
RENFRO, ETHEL B           3359 BRISTOL HALL DRIVE                                                                        BRIDGETON        MO   63044‐3202
RENFRO, EUGENE N          1373 WAGON WHEEL LN                                                                            GRAND BLANC      MI   48439‐4863
RENFRO, EUGENE NORMAN     1373 WAGON WHEEL LN                                                                            GRAND BLANC      MI   48439‐4863
RENFRO, GARY D            6907 NW 77TH TER                                                                               KANSAS CITY      MO   64152‐2118
RENFRO, JAMES C           2533 W PARK PL                                                                                 OKLAHOMA CITY    OK   73107‐5431
RENFRO, JAMES R           1020 E 500 N                                                                                   ANDERSON         IN   46012‐9513
RENFRO, JEFFREY C         806 WHITMORE ST                                                                                ANDERSON         IN   46012‐9214
RENFRO, JERRY D           2373 COUNTY ROAD 129                                                                           WATERLOO         AL   35677‐3657
RENFRO, JERRY L           26657 SHIAWASSEE LN                                                                            FLAT ROCK        MI   48134‐2818
RENFRO, JIMMY W           PO BOX 183                                                                                     CHEROKEE         AL   35616‐0183
RENFRO, JOHN R            PO BOX 114                                                                                     INGALLS          IN   46048‐0114
RENFRO, MABLE             5400 MEMORIAL DR #3B                                                                           STONE MTN        GA   30083
RENFRO, MARJORIE E        319 GASLIGHT DR APT 102                                                                        VERSAILLES       IN   47042‐7042
RENFRO, MARK A            8116 CAPTAIN MARY MILLER DR                                                                    SHREVEPORT       LA   71115
RENFRO, MARK A            336 COLONY BND                                                                                 SHREVEPORT       LA   71115‐6115
RENFRO, MARY R            1926 ARLINGTON                                                                                 LINCOLN PARK     MI   48146‐1478
RENFRO, MARY R            PO BOX 732                                                                                     LINCOLN PARK     MI   48146‐0732
RENFRO, RONDAL            6425 OAKHURST PL                                                                               DAYTON           OH   45414
RENFRO, ROSE L            1906 E 8TH ST                                                                                  ANDERSON         IN   46012‐4204
RENFRO, RUFUS F           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510‐2212
                                                             STREET, SUITE 600
RENFRO, THELMA            BOX 209                                                                                        SHIRLEY          IN   47384‐0209
RENFRO, THELMA            PO BOX 209                                                                                     SHIRLEY          IN   47384‐0209
RENFRO, TIFFANY L         219 GROVE ST                                                                                   EAGLE            WI   53119‐2206
RENFRO, VANESSA E         1373 WAGON WHEEL LN                                                                            GRAND BLANC      MI   48439‐4863
RENFRO, WILLIE R          5952 JESSICA MARIE LN APT 5403                                                                 FORT WORTH       TX   76119‐8922
RENFROE JR, ROBERT        3 PORTSMOUTH TOWNE ST                                                                          SOUTHFIELD       MI   48075‐3465
RENFROE SR, GRAIG         PO BOX 18446                                                                                   SHREVEPORT       LA   71138‐1446
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Name                           Address1                       Address2                        Address3   Address4         City                 State Zip
RENFROE, DANIEL                4224 HAYES ST                                                                              WAYNE                 MI 48184‐2222
RENFROE, DAVID
RENFROE, DAVID ALAN
RENFROE, EDNA R                416 HITCHING POST CT                                                                       SAINT CHARLES        MO 63304‐2313
RENFROE, EDNA RUTH             416 HITCHING POST CT                                                                       SAINT CHARLES        MO 63304‐2313
RENFROE, GARY E                SUTTER & ENSLEIN               1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON           WV 25311
                                                              200
RENFROE, JAMES N               16176 BIRWOOD ST                                                                           DETROIT              MI   48221‐2802
RENFROE, KIMANI L              33911 GLOVER ST                                                                            WAYNE                MI   48184
RENFROE, MICHAEL J             1653 VALDOSTA CIR                                                                          PONTIAC              MI   48340‐1083
RENFROE, ROBERT W              1727 S CANAL RD                                                                            LANSING              MI   48917‐8564
RENFROE, STEVEN RAY            BARRETT LAW OFFICES            PO BOX 987                                                  LEXINGTON            MS   39095
RENFROE, STEVEN RAY            BARRETT LAW OFFICES            PO DRAWER 987 , 404 COURT SQ                                LEXINGTON            MS   39095
                                                              NORTH
RENFROE, WALTER D              4567 US HIGHWAY 278 W                                                                      PIEDMONT             AL   36272‐7340
RENFROE, WILLIAM               5560 BRUSH ST                                                                              DETROIT              MI   48202‐3808
RENFROW BESSIE                 243 CRESTWOOD ST                                                                           PONTIAC              MI   48341‐2732
RENFROW JR, MELVIN             257 HIGHLAND AVE                                                                           BLOOMFIELD           MI   48302‐0632
RENFROW RICHARD                1390 FOX RIDGE TRL                                                                         HOULTON              WI   54082‐2303
RENFROW, BESSIE                243 CRESTWOOD ST                                                                           PONTIAC              MI   48341‐2732
RENFROW, CHARLES D             243 CRESTWOOD ST                                                                           PONTIAC              MI   48341‐2732
RENFROW, ELAINE M              11321 W 67TH ST                                                                            SHAWNEE              KS   66203‐3309
RENFROW, GENE A                RT. 1 BOX 391                                                                              ARBYRD               MO   63821
RENFROW, JAMES N               129 COUNTY ROAD 443                                                                        OXFORD               MS   38655‐6303
RENFROW, JEFFREY A             PO BOX 891                                                                                 ITASCA               IL   60143‐0891
RENFROW, KENNETH W             1393 GAMBRELL DR APT C205                                                                  PONTIAC              MI   48340‐2127
RENFROW, LYLE J                190 HUNTSMAN CIR                                                                           BOWLING GREEN        KY   42103‐7064
RENGEL, RONALD H               64 LARKSPUR LN                                                                             AMHERST              NY   14228‐1975
RENHOLDS, GLORIA               1306 MANDEL AVE                                                                            WESTCHESTER          IL   60154‐3433
RENHOLDS, JOSEPH V             1306 MANDEL AVE                                                                            WESTCHESTER          IL   60154‐3433
RENI GEORGE                    4858 SOMERTON DR                                                                           TROY                 MI   48085‐4735
RENIA DEMORE                   5725 IVY DR                                                                                MENTOR ON THE LAKE   OH   44060‐2716
RENICK CADILLAC INCORPORATED   1100 S EUCLID ST                                                                           FULLERTON            CA   92832‐2817
RENICK CADILLAC INCORPORATED   LEONARD RENICK                 1100 S EUCLID ST                                            FULLERTON            CA   92832‐2817
RENICK JR, HOWARD L            2100 S SWOPE DR APT A115                                                                   INDEPENDENCE         MO   64057‐2810
RENICK, ALVIN                  1510 S FRANKLIN AVE                                                                        FLINT                MI   48503‐2877
RENICK, LOIS V                 1127 CEDARWOOD WAY                                                                         BOWLING GREEN        KY   42104‐4369
RENICK, LOIS V                 C/O CHARLES FITZPATRICK        1127 CEDARWOOD WAY                                          BOWLING GREENS       KY   42104
RENICK, MICHAEL J              520 BERRY PATCH LN                                                                         WHITE LAKE           MI   48386‐2005
RENICK, NORMA E                1008 ELMONT                                                                                SULLIVAN             MO   63080‐1006
RENICK, NORMA E                1008 ELMONT RD                                                                             SULLIVAN             MO   63080‐1006
RENICK, PATRICIA               520 BERRY PATCH LANE                                                                       WHITE LAKE           MI   48386‐2005
RENICK, PAUL A                 2831 FAIRLANE DR                                                                           DORAVILLE            GA   30340‐3229
RENICK, STEVEN L               5594 SOMERSET DR                                                                           SANTA BARBARA        CA   93111‐1657
RENICK, VICTORIA R             739 GREENMOUNT BLVD                                                                        DAYTON               OH   45419‐2839
RENICKER, ALFRED E             443 REDBUD BLVD S                                                                          ANDERSON             IN   46013‐1046
RENICKER, ALFRED E             443 RED BUD DR SOUTH                                                                       ANDERSON             IN   46014
RENICKS, BONNIE C              6408 ASHBROOK DRIVE                                                                        FORT WAYNE           IN   46835‐3902
RENICO, DAVID B                10375 TOOHY TRL                                                                            HARRISON             MI   48625
RENICO, DAVID R                2193 E FARRAND RD                                                                          CLIO                 MI   48420‐9187
RENICO, EUGENE C               1345 BRENNER PASS 6                                                                        CLIO                 MI   48420
RENICO, KAREN C                1448 CLAIRWOOD DR                                                                          BURTON               MI   48509‐1503
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Name                    Address1                       Address2            Address3         Address4         City              State Zip
RENICO, LUCIENNE A      1352 WILLIAMSBURG RD                                                                 FLINT              MI 48507
RENICO, WILLIAM C       7091 RIEGLER ST                                                                      GRAND BLANC        MI 48439‐8519
RENIDA TAYLOR           16916 INGERSOLL RD                                                                   LANSING            MI 48906‐9147
RENIE E HALL            15 PEACHTREE LANE                                                                    GREER              SC 29651
RENIE, DAVID J          8 STROBHAR ST                                                                        BLUFFTON           SC 29909‐4519
RENIE, JAMES A          7425 BROOKSIDE ST                                                                    LOUISVILLE         OH 44641‐9214
RENIE, MAURICE Q        5911 CADILLAC DR                                                                     SPEEDWAY           IN 46224‐5326
RENIEWICZ, JEAN D       5520 W CUTLER RD                                                                     DEWITT             MI 48820‐9125
RENIEWICZ, RICKY L      5520 W CUTLER RD                                                                     DEWITT             MI 48820‐9125
RENIFF, SANDRA L        1325 MONCREST DR NW                                                                  WARREN             OH 44485‐1926
RENIHAN, ROBERT J       102 HEBRON DR                                                                        HARDY              AR 72542‐9211
RENINALD D ROBINSON     201 MITCHELL AVE                                                                     MATTYDALE          NY 13211‐1739
RENISHA THOMAS          3991 WELLINGTON ST                                                                   INKSTER            MI 48141‐3195
RENISHAW INC            5277 TRILLIUM BLVD                                                                   HOFFMAN ESTATES     IL 60192‐3602
RENISHAW/SCHAUMBERG     623 COOPER CT                                                                        SCHAUMBURG          IL 60173‐4537
RENITA BROWN            1723 WHITEWATER CT                                                                   FORT WAYNE         IN 46825
RENITA CHATMAN          155 TUDOR RD                                                                         CHEEKTOWAGA        NY 14215‐2923
RENITA CHESNEY          18 EMS B61C LN                                                                       WARSAW             IN 46582‐6656
RENITA JOSEPH           15741 PIEDMONT ST                                                                    DETROIT            MI 48223‐1718
RENITA K JOSEPH         15741 PIEDMONT ST                                                                    DETROIT            MI 48223‐1718
RENITA L TUCK           20 GRAMONT ST.                                                                       DAYTON             OH 45417‐2255
RENITA ORTIZ            PO BOX 13064                                                                         ARLINGTON          TX 76094‐0064
RENITA P EDMONDS        PO BOX 2153                                                                          DETROIT            MI 48202‐0153
RENITA RICKMAN          890 SPENCE ST                                                                        PONTIAC            MI 48340‐3057
RENITA S MCGOWAN        888 PALLISTER ST APT 410                                                             DETROIT            MI 48202‐2671
RENITA T ORTIZ          PO BOX 13064                                                                         ARLINGTON          TX 76094‐0064
RENITRA TOMPKINS        137 BRYNFORD AVE                                                                     LANSING            MI 48917‐2923
RENIUS, PAUL W          3446 ROCK VALLEY RD                                                                  METAMORA           MI 48455‐9322
RENIUS, RICHARD P       1310 N WASHINGTON ST                                                                 OWOSSO             MI 48867‐1773
RENIUS, ROBERT G        7 OXFORD DR                                                                          SUFFIELD           CT 06078‐2075
RENIUS, VIOLET N        4493 PORT AUSTIN RD                                                                  CASEVILLE          MI 48725‐9632
RENIVA DAY              9004 WESTVIEW RD                                                                     BROOKVILLE         IN 47012‐8860
RENJI ZHU               528 W FAIRMOUNT AVE                                                                  PONTIAC            MI 48340‐1602
RENK, JEROME            3956 CREEKSIDE DR                                                                    JAMESVILLE         WI 53548
RENKE, DAVID T          53769 BRIDGET WOOD DR                                                                MACOMB             MI 48042‐2940
RENKE, RONALD J         1282 TULBERRY CIR                                                                    ROCHESTER          MI 48306‐4821
RENKEL, CHARLES H       10131 NORTH GREEN HILLS ROAD                                                         KANSAS CITY        MO 64154‐1902
RENKEL, LINDA M         11041 LILAC AVENUE                                                                   SAINT LOUIS        MO 63138‐2805
RENKEMA, ROGER L        3341 BUCHANAN AVE SW                                                                 WYOMING            MI 49548‐2140
RENKEMA, SHARON K       4070 SUNCHASE DR APT 101                                                             HUDSONVILLE        MI 49426‐8017
RENKEN DON              8205 COLONY RD                                                                       TOLAR              TX 76476‐3032
RENKEN, DONALD A        8205 COLONY RD                                                                       TOLAR              TX 76476‐3032
RENKERT OIL INC         PO BOX 205                                                                           ELVERSON           PA 19520‐0205
RENKIE, MARK A          1880 E CENTERLINE RD                                                                 SAINT JOHNS        MI 48879‐9115
RENKIEWICZ, BARBARA J   4140 HEATHERSTONE DR                                                                 WATERFORD          MI 48329‐2316
RENKIEWICZ, KENNETH B   4140 HEATHERSTONE DR                                                                 WATERFORD          MI 48329‐2316
RENKIM CORP             13333 ALLEN RD                                                                       SOUTHGATE          MI 48195‐2216
RENKO, GARY C           5852 STONE RD                                                                        LOCKPORT           NY 14094‐1238
RENKO, TRACY L          5224 LAREKIT LN                                                                      FORT WAYNE         IN 46804‐4334
RENKOLA, RITA M         1736 DOW DR                                                                          GLADWIN            MI 48624‐9628
RENKOLA, ROBERT W       3360 ORDAM CT                                                                        OAKLAND            MI 48363‐2846
RENKOLA, WAYNE V        1736 DOW DR                                                                          GLADWIN            MI 48624‐9628
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Name                            Address1                          Address2                      Address3   Address4              City              State Zip
RENKOWSKI, LOUISE E             32242 CAMBRIDGE DR                                                                               WARREN             MI 48093‐6179
RENMAL, LLC                     C DWAIN TAYLOR                    1307 S 12TH ST                                                 MURRAY             KY 42071‐9301
RENN KIRBY CHEVROLET BUICK      SEAN KIRBY                        791 YORK RD                                                    GETTYSBURG         PA 17325‐7501
RENN KIRBY CHEVROLET BUICK      791 YORK RD                                                                                      GETTYSBURG         PA 17325‐7501
RENN KIRBY PONTIAC              15 E 6TH ST                                                                                      FREDERICK          MD 21701‐5215
RENN'S AUTO DIAGNOSTICS         965 COTTONWOOD RD                                                          WINNIPEG MB R2J 1G3
                                                                                                           CANADA
RENN, BRAD D                    17416 VERONICA AVE                                                                               EASTPOINTE        MI    48021‐4515
RENN, CHARLES C                 575 BUNN DR                                                                                      DEFIANCE          OH    43512‐4305
RENN, DANNY L                   46115 MIDDLE BRANCH CT                                                                           MACOMB            MI    48044‐5763
RENN, DARLENE                   3941 LINDEN ST                                                                                   LINCOLN           NE    68516‐1050
RENN, DIANA                     7884 S ZANTE CT                                                                                  AURORA            CO    80016‐7117
RENN, DIANA                     9029 US HIGHWAY 19                                                                               PORT RICHEY       FL    34668‐4850
RENN, DONALD L                  126 W INDEPENDENCE BLVD                                                                          NEW CASTLE        DE    19720‐4412
RENN, JOSEPH E                  9362 COUNTY ROAD 23                                                                              ARCHBOLD          OH    43502‐9408
RENN, KENNETH R                 23487 E BEACH DR #H‐51            ANGOLO BEACH                                                   LEWES             DE    19958
RENN, LARRY W                   7751 PENNYROYAL LN                                                                               INDIANAPOLIS      IN    46237‐3730
RENN, LEONARD R                 3405 S TOMAHAWK RD LOT 40                                                                        APACHE JUNCTION   AZ    85219‐9170
RENN, LESLIE D                  11360 E KEATS AVE UNIT 32                                                                        MESA              AZ    85209‐1375
RENN, NEAL T                    7307 NAVILLETON RD                                                                               FLOYDS KNOBS      IN    47119‐8602
RENN, NORMA C                   3450 EASTRIDGE CT NE                                                                             GRAND RAPIDS      MI    49525‐3353
RENN, ROBERT K                  6301 OVERTON RIDGE BLVD APT 206   3024 FRANCISCAN DRIVE                                          FORT WORTH        TX    76132
RENN, STEPHEN A                 15490 POWER DAM RD                                                                               DEFIANCE          OH    43512‐8817
RENN, STEPHEN W                 319 5TH ST                                                                                       BEACH HAVEN       NJ    08008
RENN, THOMAS M                  6783 ECKERMAN DR                                                                                 TROY              MI    48085‐1280
RENN, WALLACE G                 11089 PEPPERMILL LN                                                                              FISHERS           IN    46037‐8725
RENNA GEILOW                    14560 MULBERRY ST                                                                                SOUTHGATE         MI    48195‐2515
RENNA, MICHAEL J                49 MORROW AVE                                                                                    LOCKPORT          NY    14094‐5014
RENNAKER JR, RALPH E            13366 TUCKER DR                                                                                  DEWITT            MI    48820‐9363
RENNAKER, DALE E                504 N SYCAMORE ST                                                                                FAIRMOUNT         IN    46928‐1432
RENNAKER, DONALD E              5922 HILLIARD RD                                                                                 LANSING           MI    48911‐4926
RENNAKER, MYLON D               3441 EAST T AVENUE                                                                               PORTAGE           MI    49002‐7570
RENNAKER, PATRICIA L            20338 180TH TRCE                                                                                 LIVE OAK          FL    32060‐5236
RENNAKER, VIRGIL D              7884 W 1200 S 35                                                                                 MARION            IN    46952‐6614
RENNAKER, WILLIAM D             20338 180TH TRCE                                                                                 LIVE OAK          FL    32060‐5236
RENNARD MARTIN                  4325 W ROME BLVD                  APT 1196                                                       LAS VEGAS         NV    89084‐5410
RENNCO AUTOMATION SYSTEMS INC   971 HAMILTON DR                                                                                  HOLLAND           OH    43528‐8211
RENNEKER, CRAIG M               46103 GREENRIDGE DR                                                                              NORTHVILLE        MI    48167‐3012
RENNELL AIMEE & THOMAS          10437 EAST DORADO PLACE                                                                          GREENWOOD VLG     CO    80111‐3711
RENNELLS JERRY                  1104 S OAKLAND ST                                                                                SAINT JOHNS       MI    48879‐2308
RENNELLS, ALAN J                4884 COUNTY FARM RD                                                                              SAINT JOHNS       MI    48879‐9259
RENNELLS, E D                   1104 S OAKLAND ST                                                                                SAINT JOHNS       MI    48879‐2308
RENNELLS, E DALE                1104 S OAKLAND ST                                                                                SAINT JOHNS       MI    48879‐2308
RENNELLS, ERNEST B              1471 ABERDEEN ST                                                                                 CANTON            MI    48187‐3403
RENNELLS, JOAN M                322 W CHURCH RD                                                                                  MORRICE           MI    48857‐8754
RENNELLS, ROBERT C              6684 CUTLER RD                                                                                   BATH              MI    48808‐9429
RENNELLS,ERNEST B               1471 ABERDEEN ST                                                                                 CANTON            MI    48187‐3403
RENNELS REX L (429678)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA    23510
                                                                  STREET, SUITE 600
RENNELS RONALD                  RENNELS, RONALD                   921 PORTSMOUTH DR                                              ROCKFORD           IL   61102‐1069
RENNELS, FRANCES M              14 MARTIN DR                                                                                     DANVILLE           IN   46122‐1501
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Name                              Address1                           Address2                      Address3   Address4             City               State Zip
RENNELS, REX L                    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510‐2212
                                                                     STREET, SUITE 600
RENNELS, RONALD                   921 PORTSMOUTH DR                                                                                ROCKFORD            IL   61102‐1069
RENNENKAMPF VON MARGARITA         LIMBERGER HANS                     AUERN 12                                 3144 WALD AUSTRIA
RENNER AND WILECKI AUTO SERVICE   2910 GENESEE ST                                                                                  CHEEKTOWAGA        NY 14225‐3102
RENNER JACK LEWIS                 250 AURORA ST                                                                                    HUDSON             OH 44236‐2941
RENNER JOCELYN E                  3310 NORTHWEST 43RD STREET                                                                       TOPEKA             KS 66618‐2608
RENNER JOHANN                     ALEXANDERSTR. 46                   68519 VIERNHEIM
RENNER JOHANN                     ALEXANDERSTRASSE 46                                                         D‐68519 VIERNHEIM
                                                                                                              GERMANY
RENNER KENNER GREIVE BOBAK        TAYLOR & WEBER LPA                 FIRST NATIONAL TOWER                                          AKRON              OH 44308
RENNER KENNETH S (429679)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                     STREET, SUITE 600
RENNER TIMOTHY                    18422 CANYON OAK DR                                                                              NOBLESVILLE        IN    46062‐7551
RENNER'S EXPRESS, INC             1350 S WEST ST                                                                                   INDIANAPOLIS       IN    46225
RENNER, ALEXANDRIA J              790 BAVENO DR                                                                                    VENICE             FL    34285‐4401
RENNER, ARTHUR F                  967 LIVINGSTON DR                                                                                XENIA              OH    45385‐9765
RENNER, CHARLES J                 9885 W WALNUT ST                                                                                 LAPEL              IN    46051‐9733
RENNER, CHRISTOPHER D             5011 SKYLARK AVE                                                                                 WEST MIFFLIN       PA    15122‐1359
RENNER, DANIEL O                  7520 KINGS DR                                                                                    ELLENTON           FL    34222‐3816
RENNER, DAVID M                   1128 ENCHANTED VIEW DR                                                                           MOORESVILLE        IN    46158‐7512
RENNER, DEBORAH G                 102 ARBORGATE CIR                                                                                COLUMBIA           SC    29212‐2465
RENNER, DENNIS E                  1555 S 700 W                                                                                     ANDERSON           IN    46011‐9441
RENNER, DONALD R                  1747 SPRINGWELL TRAIL                                                                            GRAYLING           MI    49738
RENNER, GEORGE F                  14074 WARREN DRIVE                                                                               STERLING HEIGHTS   MI    48312‐2576
RENNER, GILBERT N                 1909 RAVENSWOOD DR                                                                               ANDERSON           IN    46012‐5115
RENNER, GLENN L                   5648 OVERBROOKE ROAD                                                                             DAYTON             OH    45440‐5440
RENNER, GLORIA A                  1204 PLEASANT OAKS DR                                                                            LEWISVILLE         TX    75067‐2007
RENNER, GRETNA A                  1909 RAVENSWOOD DR                                                                               ANDERSON           IN    46012‐5115
RENNER, HENRY E                   1536 RICHMOND AVE                                                                                LINCOLN PARK       MI    48146‐3544
RENNER, INEZ G                    5913 CAMPBELL ST                                                                                 SANDUSKY           OH    44870‐9306
RENNER, IRENE L                   383 ELIOT ST                                                                                     ASHLAND            MA    01721‐2306
RENNER, IRENE L                   5370 ACADIA RD                                                                                   DELPHOS            OH    45833‐9435
RENNER, IRENE L                   5370 ACADIA ROAD                                                                                 DELPHOS            OH    45833
RENNER, JEFFERY                   831 WESTBROOK DR                                                                                 MOORESVILLE        IN    46158‐1029
RENNER, JOHN A                    383 ELIOT ST                                                                                     ASHLAND            MA    01721‐2306
RENNER, JOSEPH R                  768 PENDLEY RD                                                                                   WILLOWICK          OH    44095‐4229
RENNER, KENNETH S                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA    23510‐2212
                                                                     STREET, SUITE 600
RENNER, LAWRENCE E                12351 W JACKSON ST                                                                               AVONDALE           AZ    85323‐8051
RENNER, LILLIAN W                 10405 ALDERBRANCH PT                                                                             SAN DIEGO          CA    92131‐1349
RENNER, MARY E                    2585 MALMESBURY CT                                                                               AURORA             IL    60502‐1325
RENNER, MICHAEL D                 3100 S WINTER ST APT H16                                                                         ADRIAN             MI    49221‐8781
RENNER, MYRNETH R                 16760 STATE ROAD 32 E                                                                            NOBLESVILLE        IN    46060‐6810
RENNER, NEDLENE J                 16760 STATE ROAD 32 E                                                                            NOBLESVILLE        IN    46060‐6810
RENNER, NORMAN A                  15021 REID RD                                                                                    BRUCE TWP          MI    48065‐2118
RENNER, PATRICIA J                1671 ROGERS CIR                                                                                  INDIANAPOLIS       IN    46214‐2257
RENNER, PHILIP E                  404 BEARBERRY LN                                                                                 ORTONVILLE         MI    48462‐8480
RENNER, RANDALL R                 16744 STATE ROAD 32 E                                                                            NOBLESVILLE        IN    46060‐6810
RENNER, RANDALL REX               16744 STATE ROAD 32 E                                                                            NOBLESVILLE        IN    46060‐6810
RENNER, ROY A                     12199 DODGE RD                                                                                   MONTROSE           MI    48457‐9119
RENNER, STEVEN F                  50 WYCKOFF ST                                                                                    MATAWAN            NJ    07747‐3148
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Name                       Address1                         Address2                      Address3   Address4         City                  State Zip
RENNER, VIRGINIA L         833 OLD ORCHARD RD                                                                         ANDERSON               IN 46011‐2414
RENNER, W D                21478 CHASE DR                                                                             NOVI                   MI 48375‐4761
RENNER, W DAVID            21478 CHASE DR                                                                             NOVI                   MI 48375‐4761
RENNER, WILBERT R          RR 2 BOX 101A                                                                              CAMBY                  IN 46113
RENNER, WILLIAM D          121 PRINCETON RD                                                                           PENNSVILLE             NJ 08070‐3315
RENNERS, JAMES L           5579 ECHO SPRINGS DR                                                                       HAMILTON               OH 45011‐8252
RENNERT, RICHARD D         396 1/2 PATTIE DR                                                                          BEREA                  OH 44017‐2431
RENNERT, THOMAS L          5167 FOXHILL LN                                                                            MONROE                 MI 48161‐4561
RENNERT, THOMAS LAWRENCE   5167 FOXHILL LN                                                                            MONROE                 MI 48161‐4561
RENNEY, ROBERT J           3901 N LAKESHORE DR                                                                        LUDINGTON              MI 49431‐9427
RENNHACK, MERRILL R        37 TOWNSEND RD                                                                             MANITOWISH WATERS      WI 54545‐9006
RENNICK JR, WILLIE         17 DEASY DR                                                                                NEWARK                 DE 19702‐2750
RENNICK, GEORGE R          400 COLTHURST DR                                                                           CHARLOTTESVILLE        VA 22901‐2036
RENNICK, JEAN M            13629 OLD DAIRY RD                                                                         OAK HILL               VA 20171‐4017
RENNICK, ROGER D           203 6TH ST                                                                                 COVINGTON              IN 47932‐1236
RENNIE EDGEIN              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.            OH 44236
RENNIE JR, TEVIS E         7521 FAIRVIEW CT                                                                           GOODRICH               MI 48438‐9294
RENNIE KEATING             15616 KINLOCH                                                                              REDFORD                MI 48239‐3876
RENNIE MILLER              11172 COUNTY ROAD 29                                                                       ALBERTA                AL 36720‐3207
RENNIE RONALD & JANET      PO BOX 175                                                                                 MIDLAND                MD 21542‐0175
RENNIE SAIGEON             5953 TRILLIUM TRL                                                                          WHITE LAKE             MI 48383‐4012
RENNIE SAWADE              9482 HENDERSON RD                                                                          GOODRICH               MI 48438‐9780
RENNIE WARE                522 N 7TH ST                                                                               SAGINAW                MI 48601‐1633
RENNIE, CHERYL L           13189 TIBBETS RD                                                                           RILEY                  MI 48041‐1072
RENNIE, DAVE A             2911 FORT PARK BLVD                                                                        LINCOLN PARK           MI 48146‐3307
RENNIE, DAVE ALPHONSE      2911 FORT PARK BLVD                                                                        LINCOLN PARK           MI 48146‐3307
RENNIE, DOUGLAS            2151 OAKLAND RD                  SP575                                                     SAN JOSE               CA 95131
RENNIE, GEORGE             1214 S HENRY RUFF RD                                                                       WESTLAND               MI 48186‐9021
RENNIE, GEORGE             1545 SARAH LN                                                                              WESTLAND               MI 48186‐9344
RENNIE, JANET M            8986 MORTENVIEW DR                                                                         TAYLOR                 MI 48180‐2806
RENNIE, LINDA M            7700 TIMBERLINE DR                                                                         WILLIAMSBURG           MI 49690‐9760
RENNIE, MARTHA F           35 WATERBURY DR                                                                            BOSSIER CITY           LA 71111‐8200
RENNIE, RAYMOND R          4265 STATE PARK DR                                                                         AKRON                  OH 44319‐3444
RENNIE, ROBERT J           197 BEST ST                                                                                BEREA                  OH 44017‐2609
RENNIE, SHIRLEY J          900 W LAKE RD                    A228                                                      PALM HARBOR            FL 34684‐3157
RENNIE, SUSAN S            7125 SW 42ND PL                                                                            DAVIE                  FL 33314‐3144
RENNIE, TOM E              9128 WOODRIDGE DR                                                                          DAVISON                MI 48423‐8392
RENNIGER KIMBERLY          RENNIGER, KIMBERLY               3 SUMMIT PARK DR STE 100                                  INDEPENDENCE           OH 44131‐2598
RENNILLO INC               1301 E 9TH ST STE 100            RENNILLO REPORTING SERVICES                               CLEVELAND              OH 44114‐1865
RENNINGER MATTHEW EDWARD   54 SADDLE LN                                                                               GROTON                 MA 01450‐1035
RENNINGER SR, DONALD W     2456 STELTZ RD                                                                             NEW FREEDOM            PA 17349‐9271
RENNISON, RICHARD E        12762 BRONCO LN                                                                            SWEET SPRINGS          MO 65351‐3323
RENNISON, ROBERT W         2841 27TH ST SW                                                                            GRANDVILLE             MI 49418‐1124
RENNIX VICTOR E            33618 N 64TH PL                                                                            SCOTTSDALE             AZ 85266‐7366
RENNIX, VICTOR E           33618 N 64TH PL                                                                            SCOTTSDALE             AZ 85266‐7366
RENNO, ROBERT E            16301 E 16TH ST S                                                                          INDEPENDENCE           MO 64050‐4805
RENNOLDS, CHARLOTTE F      21005 BON HEUR                                                                             ST CLAIR SHRS          MI 48081‐3105
RENNOLDS, RONALD K         PO BOX 10                                                                                  HIGBEE                 MO 65257‐0010
RENNOLDS, WILLIAM C        1050 N OXFORD RD                                                                           GROSSE POINTE WOODS    MI 48236‐1810
RENNON, EVA G              15121 CLEMENTE ST APT 169                                                                  WESTMINSTER            CA 92683
RENNPAGE, RANDALL E        521 ROSLYN RD                                                                              GROSSE POINTE WOODS    MI 48236‐1345
RENNU, HANS J              1150 SUBSTATION RD                                                                         BRUNSWICK              OH 44212‐1910
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Name                             Address1                         Address2                   Address3   Address4         City               State Zip
RENNY KNOWLES                    14906 LAFAYETTE CENTER RD                                                               ROANOKE             IN 46783‐9601
RENNY TYSON                      941 DINGLEDINE AVE                                                                      LIMA                OH 45804‐1711
RENO (CITY OF)                   ONE EAST 1ST STREET, 2ND FLOOR   PO BOX 1900                                            RENO                NV 89501
RENO CARL                        66 GIBBS ST                                                                             MOUNT CLEMENS       MI 48043‐5910
RENO CASSAR                      36505 ROYCROFT ST                                                                       LIVONIA             MI 48154‐1934
RENO COUNTY TREASURER            PO BOX 1685                                                                             HUTCHINSON          KS 67504‐1685
RENO E YBARRA                    213 COMMONWEALTH AVE                                                                    FLINT               MI 48503‐2155
RENO FIRE DEPARTMENT                                              315 EDISON WAY                                                             NV 89502
RENO GAZETTE‐JOURNAL             PO BOX 22000                     955 KUENZIL ST.                                        RENO                NV 89520‐2000
RENO GREGORY                     3011 PINEGATE DR                                                                        FLUSHING            MI 48433‐2424
RENO HOSKINSON                   5708 LOCUST WAY                                                                         LOUISVILLE          KY 40229
RENO JR, GEORGE L                13214 W KODIAK DR                                                                       SUN CITY WEST       AZ 85375‐4973
RENO JR, HOWARD J                1406 BANBURY RD APT B                                                                   KALAMAZOO           MI 49001‐4944
RENO JR, THOMAS J                1630 SAN SILVESTRO DR                                                                   VENICE              FL 34285‐4568
RENO JR., RICHARD R              1445 PARISH RD                                                                          KAWKAWLIN           MI 48631‐9463
RENO MELVIN E CATHERINE C RENO   ICO THE LANIER LAW FIRM PC       6810 FM 1960 WEST                                      HOUSTON             TX 77069
RENO NONES                       6 MEADOW ST                                                                             MONONGAHELA         PA 15063‐3640
RENO P SMITH                     2219 OAKBROOK DR                                                                        KOKOMO              IN 46902
RENO PARTS DISTRIBUTION CENTER   ATTN: GENERAL COUNSEL            1150 TERMINAL WAY STE 12                               RENO                NV 89502‐2184
RENO RAMSEY                      8319 INDEPENDENCE DR                                                                    STERLING HEIGHTS    MI 48313‐3830
RENO SMITH                       2219 OAKBROOK DR                                                                        KOKOMO              IN 46902‐7519
RENO SPARKS RV                   5425 LOUIE LN                                                                           RENO                NV 89511
RENO ULLER                       WEGSTRA▀E 1                                                                             LENGENFELD               08485
RENO VULCANIZING                 225 E PRATER WAY                                                                        SPARKS              NV 89431‐4674
RENO VULCANIZING PLUMB           450 E PLUMB LN                                                                          RENO                NV 89502‐3502
RENO VULCANIZING VIRGINIA        590 N VIRGINIA ST                                                                       RENO                NV 89501‐1025
RENO WILLIAM                     1700 PINEWOOD LN                                                                        FULTONDALE          AL 35068‐1457
RENO YBARRA                      213 COMMONWEALTH AVE                                                                    FLINT               MI 48503‐2155
RENO, ANNA B                     5030 CALLE CUMBRE                                                                       SIERRA VISTA        AZ 85635‐5736
RENO, ANNMARIE S                 1535 CRESTWOOD CIR N                                                                    LEHIGH ACRES        FL 33936‐5900
RENO, ARTHUR B                   15052 MASONIC BLVD                                                                      WARREN              MI 48088‐7920
RENO, BERNARD L                  4446 EASTWOOD DR                                                                        SWARTZ CREEK        MI 48473‐8802
RENO, BETH I                     10392 GREEN RD                                                                          GOODRICH            MI 48438‐9428
RENO, BILLY D                    1540 COMPTON CT                                                                         GLADWIN             MI 48624‐8233
RENO, BRADLEY M                  580 N KERBY RD                                                                          CORUNNA             MI 48817‐9705
RENO, BUD R                      375 S SAINT CHARLES ST                                                                  FLORISSANT          MO 63031‐7037
RENO, CARL V                     66 GIBBS ST                                                                             MOUNT CLEMENS       MI 48043‐5910
RENO, CARL V.                    66 GIBBS ST                                                                             MOUNT CLEMENS       MI 48043‐5910
RENO, CATHERINE C                12216 SCHAUER DR                                                                        WARREN              MI 48093‐7635
RENO, CONNIE B                   25 E IROQUOIS RD                                                                        PONTIAC             MI 48341‐2016
RENO, CONNIE J                   3011 PINEGATE DR                                                                        FLUSHING            MI 48433‐2424
RENO, DAVID A                    30039 SHARON LN                                                                         WARREN              MI 48088‐3241
RENO, DENVER P                   409 KENDALL RD                                                                          SPICEWOOD           TX 78669‐3166
RENO, DONALD H                   11145 MESQUITE DR                                                                       DADE CITY           FL 33525‐0949
RENO, DONALD W                   2877 PLYMOUTH DR                                                                        SHELBY TWP          MI 48316‐4890
RENO, DOROTHY J                  1474 PEACHWOOD DR                                                                       FLINT               MI 48507‐5636
RENO, ETHEL I                    1406 BANBURY RD. APT. B                                                                 KALAMAZOO           MI 49001
RENO, EVELYN M                   15440 CHURCHILL ST                                                                      SOUTHGATE           MI 48195‐2632
RENO, GREGORY W                  3011 PINEGATE DR                                                                        FLUSHING            MI 48433‐2424
RENO, ISSIE B                    15553 PENNSYLVANIA ST                                                                   SOUTHFIELD          MI 48075‐3109
RENO, JACK H                     8366 BYRON RD                                                                           NEW LOTHROP         MI 48460‐9712
RENO, JACK M                     154 CROACH BLVD                                                                         NEW CASTLE          PA 16101‐1776
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Name                             Address1                         Address2               Address3       Address4         City                 State Zip
RENO, JERRY R                    3841 S HAWTHORN DR                                                                      CHANDLER              AZ 85248‐4110
RENO, JOHN L                     5784 W STATE HIGHWAY 10                                                                 BOONEVILLE            AR 72927‐6756
RENO, L V                        11501 MASONIC HOME DR APT A226                                                          BLOOMINGTON           MN 55437‐3672
RENO, LARRY J                    6641 AMPOSTA DR                                                                         EL PASO               TX 79912‐2401
RENO, LAURENCE A                 13372 BARNETT WY                                                                        GARDEN GROVE          CA 92843‐2606
RENO, LAWRENCE F                 #1                               46405 OAKLAWN STREET                                   MACOMB                MI 48042‐5345
RENO, LEROY S                    6560 BANNER ST                                                                          TAYLOR                MI 48180
RENO, LILLIAN T                  2171 S HURON RD                                                                         KAWKAWLIN             MI 48631‐9406
RENO, LLEWELLYN K                1535 CRESTWOOD CIR N                                                                    LEHIGH ACRES          FL 33936‐5900
RENO, LORRAINE K                 6184 KING ARTHUR DR                                                                     SWARTZ CREEK          MI 48473‐8808
RENO, LOUIS R                    14 MAILLY DR                                                                            TOWNSEND              DE 19734‐2208
RENO, LOUISE I                   310 ATKINSON RD                                                                         WILMINGTON            DE 19804‐3009
RENO, LOUISE I                   310 ATKINSON ROAD                                                                       WILMINGTON            DE 19804‐3009
RENO, LURAY C                    32810 COVENTRY PL                                                                       WARREN                MI 48093‐6123
RENO, MARILIN R                  1395 S ALCONY CONOVER RD                                                                TROY                  OH 45373‐8636
RENO, MARK F                     15780 POWELL DR                                                                         CLINTON TWP           MI 48038‐1890
RENO, MARY L                     5049 GREAT LAKE DR S                                                                    EVANSVILLE            IN 47715‐3027
RENO, NEVADA                     1 E. FIRST ST.                                                                          RENO                  NV 89501
RENO, OPAL L                     1905 EAST WABASH AVE                                                                    MUNCIE                IN 47303
RENO, PATRICIA A                 3325 SAGATOO RD                                                                         STANDISH              MI 48658‐9475
RENO, PATRICIA A                 7460 SPRINGBROOK CT                                                                     SWARTZ CREEK          MI 48473‐1700
RENO, PETE M                     8849 BIRCHWOOD DR                                                                       NEWPORT               MI 48166
RENO, RALPH A                    1508 MAINSAIL DR                 UNIT 6                                                 NAPLE                 FL 34114
RENO, RALPH A                    1508 MAINSAIL DR APT 6                                                                  NAPLES                FL 34114‐7840
RENO, RICHARD B                  2130 GREEN ACRES DR                                                                     LAPEER                MI 48446‐9453
RENO, RICHARD BRUCE              2130 GREEN ACRES DR                                                                     LAPEER                MI 48446‐9453
RENO, RICHARD G                  PO BOX 1172                                                                             BAY CITY              MI 48706‐0172
RENO, RICHARD L                  7460 SPRINGBROOK CT                                                                     SWARTZ CREEK          MI 48473‐1700
RENO, RICHARD R                  1998 SCHMIDT RD                                                                         KAWKAWLIN             MI 48631‐9423
RENO, ROBERT E                   1104 W THOMAS ST                                                                        BAY CITY              MI 48706
RENO, ROGER B                    PO BOX 38                                                                               GASTON                IN 47342‐0038
RENO, RONALD J                   3433 SAGATOO RD                                                                         STANDISH              MI 48658‐9475
RENO, RONALD L                   46405 OAKLAWN ST                                                                        MACOMB                MI 48042‐5345
RENO, SCOTT W                    30200 STEPHENSON HIGHWAY                                                                MADISON HTS           MI 48071‐1612
RENO, SHARON L                   158 MOROSS ST                                                                           MOUNT CLEMENS         MI 48043‐2246
RENO, STEPHEN M                  2951 SPRING MEADOW CIR                                                                  YOUNGSTOWN            OH 44515‐4952
RENO, TABITHA E                  2008 MONTEZUMA ST                                                                       LEAVENWORTH           KS 66048‐3776
RENO, TALMAGE E                  1905 E WABASH AVE                                                                       MUNCIE                IN 47303‐1314
RENO, WAYNE E                    22093 HALL DR                                                                           EASTON                KS 66020‐7238
RENO‐SPARKS R.V.& AUTO SERVICE   5425 LOUIE LANE                                                                         RENO                  NV 89511
RENOCK, ADAM N                   26324 HARPER AVE APT 9                                                                  SAINT CLAIR SHORES    MI 48081‐1945
RENOCK, DOROTHY E                3625 W RUSKIN ST                                                                        MILWAUKEE             WI 53215‐4138
RENOLD JEROME                    14825 CHESTERFIELD AVE                                                                  WARREN                MI 48089‐2182
RENOLD LEE                       383 GREEN ACRES RD                                                                      BOWLING GREEN         KY 42103‐9713
RENOLD POWER TRANMISSION         8750 GLOBAL WAY                                                                         WEST CHESTER          OH 45069‐7066
RENORA RD\RA TRUST               C\O L MATTHEWS PITNEY HARDIN     PO BOX 1945            KIPP & SZUCH                    MORRISTOWN            NJ 07962‐1945
RENORAH LEWIS                    PO BOX 2262                                                                             POMONA                CA 91769‐2262
RENOS PRICE                      7361 JORDAN VILLAGE RD                                                                  POLAND                IN 47868‐7198
RENOSOL CORP                     PO BOX 1424                                                                             ANN ARBOR             MI 48106‐1424
RENOSOL CORP                     1512 WOODLAND DR                 PO BOX 1424                                            ANN ARBOR             MI 48103
RENOSOL CORP                     691 S RIVER RD                                                                          BAY CITY              MI 48708‐9669
RENOSOL SEATING ‐ FARWELL        21557 TELEGRAPH RD                                                                      SOUTHFIELD            MI 48033‐4248
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Name                               Address1                              Address2                     Address3       Address4                City            State Zip
RENOSOL SEATING LLC                1512 WOODLAND DR                                                                                          SALINE           MI 48176‐1632
RENOSOL SEATING LLC                BILL DUNLOP                           505 HOOVER STREET                                                   GRAND HAVEN      MI 49417
RENOTA HARRIS                      13621 OAK VALLEY DR                                                                                       PLATTE CITY      MO 64079‐7828
RENOVA, ELIZABETH C                1200 KINGS CT                                                                                             MOORE            OK 73160‐1834
RENOVAR SHREVEPORT LLC             ATTN MR LAWRENCE E GILBERT            6 DESTA DR SUITE 3345                                               MIDLAND          TX 79705‐5520
RENOVAR SHREVEPORT LLC             TD BANKNORTH WEALTH MGT GROUP         99 WEST STREET                                                      PITTSFIELD       MA 01201
RENOVER SHREVEPORT, LLC            DEPARTMENT OF PUBLIC WORKS, CITY OF   MR. FRED WILLIAMS,           PO BOX 31109                           SHREVEPORT       LA 71130‐1109
                                   SHREVEPORT                            SUPERINTENDENT‐SOLID WASTE
RENOVER SHREVEPORT, LLC            MR. LAWRENCE E. GILBERT               6 DESTA DR                   STE 3345                               MIDLAND         TX 79705‐5516
RENOVICH JR, FRANK                 PO BOX 23159                                                                                              CHAGRIN FALLS   OH 44023‐0159
RENOVICH WILLIAM                   6040 HIGHWAY 51 N                                                                                         HORN LAKE       MS 38637‐2405
RENOWN ELECTRIC MOTORS & REPAI     99 ORTONA CT                                                                      CONCORD ON L4K 3M3
                                                                                                                     CANADA
RENOWN ELECTRIC MOTORS & REPAIR INC 99 ORTONA COURT                                                                  CONCORD CANADA ON L4K
                                                                                                                     3M3 CANADA
RENOWN HEALTH                      PO BOX 30006                                                                                              RENO            NV 89520‐3006
RENOWN STEEL                       351 PASSMORE AVE                                                                  SCARBOROUGH CANADA
                                                                                                                     ON M1V 3N8 CANADA
RENS JR, MATTHEW                   1685 INNWOOD N                                                                                            INTERLOCHEN     MI   49643‐9717
RENS, JANICE K                     1391 RED OAK LN NE                                                                                        BELMONT         MI   49306‐9405
RENS, MARIAN L                     205 BRITTANY DR                                                                                           LANSING         MI   48906‐1612
RENS, THOMAS E                     1296 SUNCREST DR                      NE                                                                  GRAND RAPIDS    MI   49525‐4562
RENSBERGER SUSAN                   236 N WILLOW ST                                                                                           LOCKPORT        LA   70374‐2128
RENSBERGER, MICHAEL T              1399 HEATHERCREST DR                                                                                      FLINT           MI   48532‐2670
RENSBERRY, ABBY C                  3855 S MONTANA TRL                                                                                        JANESVILLE      WI   53546‐9552
RENSBERRY, DIANE M                 4439 W COUNTY ROAD M                                                                                      EDGERTON        WI   53534‐9728
RENSBERRY, FORREST R               37223 LOIS AVE                                                                                            ZEPHYRHILLS     FL   33542‐5324
RENSBERRY, RANDALL S               4439 W. COUNTY M                                                                                          EDGERTON        WI   53534
RENSCH CHEVROLET BUICK INC.        422 E MAIN                                                                                                NEW TOWN        ND   58763
RENSCH CHEVROLET BUICK INC.        DOUGLAS RENSCH                        422 E MAIN                                                          NEW TOWN        ND   58763
RENSCH GARAGE, INC.                121 NORTH MAIN STREET                                                                                     MAKOTI          ND   58756
RENSEL, TERRY L                    PO BOX 9924                                                                                               NAPLES          FL   34101
RENSEL‐CHICAGO, INC                DEBBIE RALSON                         2300 W LOGAN BLVD                                                   NORCROSS        GA   30071
RENSENHOUSE ELECTRIC               1919 CHERRY ST                                                                                            KANSAS CITY     MO   64108‐1714
RENSHAW II, WILLIAM A              1317 EAST MANITOBA STREET                                                                                 MILWAUKEE       WI   53207‐2450
RENSHAW, BRADLEY R                 10434 DODGE RD                                                                                            MONTROSE        MI   48457‐9035
RENSHAW, BRIAN D                   11619 TYLERS CLOSE                                                                                        FISHERS         IN   46037‐4359
RENSHAW, CARL C                    7328 S SHAKER DR                                                                                          WATERFORD       MI   48327‐1034
RENSHAW, CHARLES E                 1229 CACTUS CUT RD                                                                                        MIDDLEBURG      FL   32068‐3207
RENSHAW, DANNY T                   5864 WILLOW PARK RD APT 201                                                                               CLARKSTON       MI   48346
RENSHAW, DAVID L                   12085 PYMBROKE PL                                                                                         FISHERS         IN   46038‐2749
RENSHAW, JAMES W                   5935 MONTINA ROAD                                                                                         KNOXVILLE       TN   37912‐4557
RENSHAW, JAMES WILLIAM             5935 MONTINA ROAD                                                                                         KNOXVILLE       TN   37912‐4557
RENSHAW, JOHN                      APT 115                               28675 FRANKLIN ROAD                                                 SOUTHFIELD      MI   48034‐1602
RENSHAW, JOHN                      28675 FRANKLIN RD APT 115                                                                                 SOUTHFIELD      MI   48034‐1602
RENSHAW, JOHN R                    11850 OAK ST                                                                                              ATLANTA         MI   49709‐9027
RENSHAW, JOY B                     1000 HADLEY DR                                                                                            SHARON          PA   16146‐3526
RENSHAW, KENNETH M                 3713 KENWOOD AVE                                                                                          SAN MATEO       CA   94403‐4118
RENSHAW, LYNN M                    5012 GRANT AVE                                                                                            MAURICE         IA   51036‐7544
RENSHAW, NADINE M                  407 N MAIN ST                                                                                             AU GRES         MI   48703‐9701
RENSHAW, NADINE M                  407 N. MAIN ST                                                                                            AU GRES         MI   48703‐9701
RENSHAW, RICHARD A                 11560 LAKE 15 RD                                                                                          ATLANTA         MI   49709‐9050
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Name                               Address1                             Address2                      Address3   Address4         City                  State Zip
RENSHAW, ROBERTA C                 174 WALLENS ST APT C3                                                                          WINSTED                CT 06098‐1371
RENSHAW, THOMAS R                  1412 N LAKESHORE DR                                                                            MARION                 IN 46952‐1588
RENSINA BELLINGER                  201 SOUTH MCGINNIS ST.               BOX 12                                                    RANTOUL                KS 66079
RENSING, RALPH F                   100 TODD LN                                                                                    BELLEVILLE              IL 62221‐5750
RENSING, SCOTT                     303 W ASH ST                                                                                   NEW BADEN               IL 62265‐1214
RENSLAND, LINDA L                  1772 TURNSTONE LN NE                                                                           GRAND RAPIDS           MI 49505‐7164
RENSLEAR, LEE V                    6580 TRIPP RD                                                                                  HOLLY                  MI 48442‐9744
RENSLOW, MICHAEL N                 8217 32ND PL NE                                                                                MARYSVILLE             WA 98270‐7003
RENSPORT                           ATTN: RENE PREPETIT                  50 TRIPP ST                                               FRAMINGHAM             MA 01702‐8751
RENSSELAER AT HARTFORD             275 WINDSOR ST                                                                                 HARTFORD               CT 06120‐2910
RENSSELAER BROWN                   2700 PIPING ROCK CIR                                                                           RENO                   NV 89502‐9529
RENSSELAER POLYTECHNIC INSTITUTE   SATELLITE VIDEO PROGRAM              CII 4011                                                  TROY                   NY 12180
RENSSELAER POLYTECHNIC INSTITUTE   110 8TH ST                           OFFICE OF THE BURSAR                                      TROY                   NY 12180‐3522
RENSSELAER POLYTECHNIC INSTITUTE   110 8TH ST                                                                                     TROY                   NY 12180‐3522
RENSSELAER POLYTECHNIC INSTITUTE   21 UNION ST                          LIGHTING RESEARCH CENTER                                  TROY                   NY 12180‐3352
RENSSELAER POLYTECHNIC INSTITUTE   STUDENT PAYMENT PROCESSING           PO BOX 33317                                              HARTFORD               CT 06150‐3317
RENSSELAER POLYTECHNIC INSTITUTE
RENT 4 LESS                        675 N EUCLID ST #630                                                                           ANAHEIM               CA   92801‐4622
RENT 4 LESS                        300 S 24TH ST                                                                                  PHOENIX               AZ   85034‐2541
RENT A CENTER                      ERIC MCCARTNEY                       5501 HEADQUARTERS DR                                      PLANO                 TX   75024‐5837
RENT, BILLY A                      5656 N ILLINOIS ST                                                                             INDIANAPOLIS          IN   46208‐1546
RENT, CHARLES E                    6622 WATERLOO LN                                                                               INDIANAPOLIS          IN   46268
RENT, DAVID F                      11757 LUTZ AVE                                                                                 WARREN                MI   48093‐1837
RENT‐A‐CENTER                      5501 HEADQUARTERS DR                                                                           PLANO                 TX   75024‐5837
RENT‐A‐CENTER                      7218 N SAGINAW RD                                                                              MT MORRIS             MI   48458‐2131
RENT‐A‐CENTER                      ATTN: EDWARD BURNSIDE                767 BALDWIN AVE                                           PONTIAC               MI   48340‐2501
RENT‐A‐CENTER                      ATTN: GERALD MCNEARY                 6520 WOODWARD AVE                                         DETROIT               MI   48202‐3240
RENT‐A‐PC/ALL SERVICE              PO BOX 289                                                                                     LAUREL                NY   11948‐0289
RENTAL SERVICE CORPORATION/NC      PO BOX 36217                                                                                   CHARLOTTE             NC   28236‐6217
RENTAL SERVICE CORPORATION/NC      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 36217                                              CHARLOTTE             NC   28236‐6217
                                   AGENT
RENTAS GEORGE                      APT 118                              2945 LINCOLN DRIVE                                        SAINT PAUL            MN   55113‐1340
RENTENBACH, KATHLEEN M             565 PEAR TREE LN                                                                               GROSSE POINTE WOODS   MI   48236‐2720
RENTENBACH, WILLIAM J              7307 M116                                                                                      LUDINGTON             MI   49431
RENTERIA FRED (494127)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510
                                                                        STREET, SUITE 600
RENTERIA GILBERTO                  RENTERIA, GILBERTO                   105 W ADAMS ST STE 3000                                   CHICAGO               IL   60603‐6228
RENTERIA VICTOR (663708)           BRAYTON PURCELL                      621 SW MORRISON ST STE 950                                PORTLAND              OR   97205‐3824
RENTERIA, CAMILO                   16135 PROMONTORY PL                                                                            LA MIRADA             CA   90638‐3476
RENTERIA, CAROL L                  16947 E BURNT DAM RD                                                                           TOWNSEND              WI   54175‐9796
RENTERIA, CHRISTINE G              1408 ELM ST                                                                                    DEARBORN              MI   48124‐2879
RENTERIA, DANIEL H                 1611 LOS SUENOS AVE                                                                            SAN JOSE              CA   95116‐2961
RENTERIA, EDWARD S                 6309 BELMAR AVE                                                                                TARZANA               CA   91335‐6524
RENTERIA, ERNESTO                  373 ABBAY WAY                                                                                  SPARKS                NV   89431‐1335
RENTERIA, FRED                     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA   23510‐2212
                                                                        STREET, SUITE 600
RENTERIA, GILBERTO                 NACHSIN JONATHAN                     105 W ADAMS ST STE 3000                                   CHICAGO               IL   60603‐6228
RENTERIA, JOE S                    8057 ALLOTT AVE                                                                                VAN NUYS              CA   91402‐5524
RENTERIA, LAURO S                  173 E BONITA DR                                                                                SIMI VALLEY           CA   93065‐3001
RENTERIA, LILLIAN A                301 CAPISTRANO DR                                                                              MODESTO               CA   95354‐3260
RENTERIA, LUPE                     4450 ST LAWRENCE                                                                               DETROIT               MI   48210‐2126
RENTERIA, MARTHA J                 6620 AUTUMN WAY                                                                                SOMERSET              CA   95684‐9286
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Name                                Address1                           Address2                       Address3   Address4               City                 State Zip
RENTERIA, PABLO MARISCAL            KRAFT & ASSOCIATES                 2777 N STEMMONS FWY STE 1300                                     DALLAS                TX 75207‐2503
RENTERIA, RAYMOND                   39112 162ND ST E                                                                                    PALMDALE              CA 93591‐3409
RENTERIA, RICARDO V                 ZARAGOSA #233 OTE                  SANTIAGO IXCNAY 63300                     SANTIAGO MEXICO
RENTERIA, ROBERT A                  3405 ARCHWOOD PL                                                                                    SAGINAW              MI   48603‐2159
RENTERIA, ROBERTO                   516 S ROSEMARY ST                                                                                   LANSING              MI   48917‐3884
RENTERIA, RUDY S                    270 QUARTERHORSE LN                                                                                 PASO ROBLES          CA   93446‐2934
RENTERIA, VICTOR                    BRAYTON PURCELL                    621 SW MORRISON ST STE 950                                       PORTLAND             OR   97205‐3824
RENTERIA, VINCENT S                 14534 FOX ST                                                                                        MISSION HILLS        CA   91345‐1821
RENTFRO, ZANE D                     175 RED OAK DR                                                                                      BELGRADE             MT   59714
RENTFRO, ZANE D                     MORIARITY BADARUDDIN & BOOKE LLC   314 E 21ST ST                                                    CHEYENNE             WY   82001‐3712

RENTFROW CASEY                      119 EDEN WAY CT                                                                                     CRANBERRY TOWNSHIP   PA   16066‐6729
RENTFROW, BERTHA CORINNE            808 BEECHWOOD DR                                                                                    ALBANY               GA   31721‐9005
RENTFROW, CASEY                     119 EDEN WAY CT                                                                                     CRANBERRY TOWNSHIP   PA   16066‐6729
RENTFROW, EDWARD J                  3254 MERIDIAN RD                                                                                    LESLIE               MI   49251‐9520
RENTFROW, EDWARD JOHN               245 E SCOFIELD RD                                                                                   LESLIE               MI   49251‐9514
RENTFROW, JESSICA E                 340 EMERALD CT E                                                                                    WHITMORE LAKE        MI   48189‐8268
RENTFROW, PAT E                     340 EMERALD CT E                                                                                    WHITMORE LAKE        MI   48189‐8268
RENTFROW, PAT ELLEN                 340 EMERALD CT E                                                                                    WHITMORE LAKE        MI   48189‐8268
RENTFROW, RICK B                    520 SOUTH ST                                                                                        GRASS LAKE           MI   49240‐9183
RENTFROW, SHARON                    6601 S 800 W                                                                                        DALEVILLE            IN   47334
RENTNER, LEROY J                    53 VALLEY VIEW RD                                                                                   YARDVILLE            NJ   08620‐2640
RENTOKIL EHRLICH                    ATTN: APRIL ROBERTS                6462 RIDINGS RD                                                  SYRACUSE             NY   13206‐1108
RENTOKIL INITIAL                    PO BOX 957149                                                                                       DULUTH               GA   30095‐7149
RENTOKIL INITIAL                    FELCOURT EAST GRINSTEAD            WEST SUSSEX RH19 2JY                      UNITED KINGDOM GREAT
                                                                                                                 BRITAIN
RENTOKIL TROPICAL PLANT SVCS        25220 TRANS X RD                                                                                    NOVI                 MI 48375‐2440
RENTOLA, CHRISTOPHER T              2098 BOGIE DR                                                                                       WIXOM                MI 48393‐1306
RENTON CADILLAC PONTIAC GMC, INC.   BRADLEY BROTHERTON                 215 SW 12TH ST                                                   RENTON               WA 98057‐3156

RENTON CADILLAC PONTIAC GMC, INC.   BRAD BROTHERTON                    215 SW 12TH ST                                                   RENTON               WA 98057‐3156

RENTON ELECTRIC CO INC              4614 FERNLEE AVE                                                                                    ROYAL OAK            MI   48073‐1725
RENTON ELECTRIC COMPANY             4614 FERNLEE AVE                                                                                    ROYAL OAK            MI   48073‐1725
RENTON TECHNICAL COLLEGE            BUSINESS OFFICE                    3000 NE 4TH ST                                                   RENTON               WA   98056‐4123
RENTON VILLAGE ASSOCIATES           15 S GRADY WAY STE 240                                                                              RENTON               WA   98057‐3208
RENTON, JAMES T                     1929 N 450 W                                                                                        SHELBYVILLE          IN   46176‐9016
RENTON, JAMES TERRY                 1929 N 450 W                                                                                        SHELBYVILLE          IN   46176‐9016
RENTON, MICHAEL S                   3105 MENOMINEE AVE                                                                                  FLINT                MI   48507‐1903
RENTON, MICHAEL STUART              3105 MENOMINEE AVE                                                                                  FLINT                MI   48507‐1903
RENTON/TROY                         90 FABIUS DR                                                                                        TROY                 MI   48098‐3009
RENTOUL, JOHN                       2271 E 38TH AVE                                                                                     APACHE JUNCTION      AZ   85219
RENTOVICH, KIMBERLY A               1024 DEWEY AVE APT 7                                                                                ROCHESTER            NY   14613‐1650
RENTSCHLER CHEVROLET                275 N WALNUT ST                                                                                     SLATINGTON           PA   18080‐1571
RENTSCHLER II, KEVIN E.             247 WEST ESSEX LANE                                                                                 FORT WAYNE           IN   46825‐5348
RENTSCHLER, DONALD O                1647 RIPARIAN DR                                                                                    NAPERVILLE           IL   60565‐4171
RENTSCHLER, DONNA M                 977 BLANCHE DR                                                                                      MIAMISBURG           OH   45342‐4000
RENTSCHLER, GERALD F                9660 WHISPERING CREEK CT                                                                            STANWOOD             MI   49346‐9017
RENTSCHLER, HERMAN                  1280 WEXFORD VILLAGE CIR NE                                                                         LENOIR               NC   28645‐8294
RENTSCHLER, JOYCE E                 9660 WHISPERING CREEK CT                                                                            STANWOOD             MI   49346‐9017
RENTSCHLER, MARION E                561 W LEONARD RD                                                                                    LEONARD              MI   48367‐1725
RENTSCHLER, NEIL H                  5003 BROOKWOOD CT                                                                                   WARRINGTON           PA   18976‐2451
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Name                            Address1                         Address2                      Address3   Address4             City                 State Zip
RENTSCHLER, WILLIAM A           205 1/2 S WARNER ST                                                                            BAY CITY              MI 48706‐4480
RENTWAY INC.                    PO BOX 3500 STN M                800 ‐ 5TH AVENUE SW                      CALGARY AB T2P 2P9
                                                                                                          CANADA
RENTZ I I I, WALTER F           7060 DIAL DR                                                                                   HUBER HEIGHTS        OH   45424‐2539
RENTZ, ALICE L                  40 OAK ST                                                                                      HAMPTON              GA   30228‐2913
RENTZ, ALICE L                  40 OAK STREET                                                                                  HAMPTON              GA   30228‐2913
RENTZ, CAROL A                  668 PONTIUS ST NW                                                                              MOGADORE             OH   44260‐1727
RENTZ, CAROL A                  668 PONTIUS RD                                                                                 MOGADORE             OH   44260
RENTZ, CARYL B                  450 S WASHINGTON ST                                                                            TIFFIN               OH   44883‐3314
RENTZ, CHARLES T                8750 DOG LEG RD                                                                                DAYTON               OH   45414‐1438
RENTZ, GERALDINE A              9575 GOLF PORT DR                                                                              STANWOOD             MI   49346‐9788
RENTZ, JAMES D                  1933 PEPPERMILL DR                                                                             CLEARWATER           FL   33763‐4428
RENTZ, JAMES W                  3207 S 350 E                                                                                   KOKOMO               IN   46902‐9255
RENTZ, JAMES WILLIAM            3207 S 350 E                                                                                   KOKOMO               IN   46902‐9255
RENTZ, JOY P                    20802 NW 14TH CT                                                                               HOLLYWOOD            FL   33028‐2310
RENTZ, NATHAN W                 1050 SLOW CREEK WAY                                                                            GREENSBORO           GA   30642‐3289
RENTZ, PAUL E                   7699 DE GAULLE CT                                                                              YOUNGSTOWN           OH   44512‐5731
RENTZ, PEGGY A                  8750 DOG LEG RD                                                                                DAYTON               OH   45414‐1438
RENTZ, STEVEN R                 947 CEDAR CREEK CIR                                                                            CENTERVILLE          OH   45459‐3252
RENTZ, STEVEN R                 141 E SAINT ANNES CIR                                                                          APOLLO BEACH         FL   33572‐2214
RENTZ, WARREN D                 25874 HIAWATHA DR                                                                              STURGIS              MI   49091‐9790
RENTZEL, DAVID E                5600 SHANNON ROAD                                                                              CANAL WNCHSTR        OH   43110‐9720
RENTZEL, DAVID E                5600 SHANNON RD                  C/O WYLAND RENTZEL                                            CANAL WINCHESTER     OH   43110‐9720
RENTZEL, WYLAND I               5600 SHANNON RD                                                                                CANAL WNCHSTR        OH   43110‐9720
RENTZEL, WYLAND I               5600 SHANNON ROAD                                                                              CANAL WNCHSTR        OH   43110‐9720
RENU KUMAR                      8113 AURORA LANE                                                                               WHITTIER             CA   90605
RENU POWER TOOL & SUPPLY CO     20163 JOHN R ST                                                                                DETROIT              MI   48203‐1137
RENUCCI, WILLIAM E              7893 WENONAH TRL                                                                               MANTON               MI   49663‐9367
RENUSCH, RAYMOND C              12144 SW EGRET CIR APT 806                                                                     LAKE SUZY            FL   34269‐8792
RENUSCH, RICHARD L              232 N ELM GROVE RD                                                                             LAPEER               MI   48446‐3551
RENVEZ, JOSEPH                  6809 N ADAMS RD                                                                                BLOOMFIELD HILLS     MI   48304‐1201
RENWAND, CHARLES A              3319 MAPLE AVE                                                                                 CASTALIA             OH   44824‐9441
RENWEIRAN
RENWICK, GERALD M               6040 REYNOLDS RD                                                                               MENTOR ON THE LAKE   OH   44060‐3036
RENWICK, IRENE                  4210 N RIVER RD                                                                                FREELAND             MI   48623‐8889
RENWICK, JOANNE                 15861 HOCKING BLVD                                                                             BROOKPARK            OH   44142‐2929
RENWICK, ROBERT B               6139 KING ARTHUR DR                                                                            SWARTZ CREEK         MI   48473‐8808
RENWICK, ROBERT S               1130 CABOT DR                                                                                  FLINT                MI   48532‐2634
RENWICK, RONALD D               4141 N RIVER RD                                                                                FREELAND             MI   48623‐8807
RENWICK, WILLIAM R              482 S LAKE LEELANAU DR                                                                         LAKE LEELANAU        MI   49653‐9758
RENY, RALPH P                   6447 HILLTOP LN                                                                                MAUMEE               OH   43537‐9765
RENY, RALPH PATRICK             6447 HILLTOP LN                                                                                MAUMEE               OH   43537‐9765
RENYE, THOMAS R                 1904 SE 35TH ST                                                                                CAPE CORAL           FL   33904‐4432
RENYE, WILLIAM J                7366 VAN VLEET RD                                                                              SWARTZ CREEK         MI   48473‐8576
RENZ THOMAS M (467056) ‐ RENZ   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA   23510
THOMAS M                                                         STREET, SUITE 600
RENZ, ARNOLD E                  4150 PARSONS WALK                                                                              SAGINAW              MI   48603‐7264
RENZ, EDWIN M                   7562 BEHNFELDT RD                                                                              SHERWOOD             OH   43556‐9721
RENZ, EDWIN MILO                7562 BEHNFELDT RD                                                                              SHERWOOD             OH   43556‐9721
RENZ, KATHLENE H                PO BOX 176                                                                                     CARTHAGE             IN   46115‐0176
RENZ, LARRY L                   12873 BLOSSER RD                                                                               SHERWOOD             OH   43556‐9786
RENZ, MARY E                    945 GINDER RD NW                                                                               LANCASTER            OH   43130‐9179
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Name                            Address1                          Address2                      Address3   Address4             City               State Zip
RENZ, MICHAEL F                 APT 2A                            1026 RUNAWAY BAY DRIVE                                        LANSING             MI 48917‐8720
RENZ, RICHARD B                 7300 SHILOH LN                                                                                  SAINT LOUIS         MO 63123‐2033
RENZ, ROBERT P                  211 VILLA POINTE DR                                                                             SPRINGBORO          OH 45066‐8319
RENZ, RONALD P                  15270 BEERBOWER RD                                                                              NEY                 OH 43549‐9745
RENZ, THOMAS M                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510‐2212
                                                                  STREET, SUITE 600
RENZ, WILLIAM E                 PO BOX 16                                                                                       VALLES MINES       MO   63087‐0016
RENZ, ZACHARY D                 7313 E 700 N                                                                                    NORTH MANCHESTER   IN   46962‐8425
RENZ, ZACHARY DANIEL            7313 E 700 N                                                                                    NORTH MANCHESTER   IN   46962‐8425
RENZA HUGHLEY                   PO BOX 3286                                                                                     WARREN             OH   44485‐0286
RENZA, DOLORES K                600 HOBBS RD APT 401                                                                            LEAGUE CITY        TX   77573‐5124
RENZACCI ZENO                   ALEX BUGMANN                      SULZBERGSTR 14C                          CH 5430 WETTINGEN
                                                                                                           SWITZERLAND
RENZACCI, PAUL D                9903 MAPLEWOOD ST                                                                               BELLFLOWER         CA   90706‐3277
RENZE ZACH                      RENZE, ZACH                       3655 WADSLEY AVE                                              AUBURN             IA   51433
RENZE, LISA C                   2806 COTTONWOOD DR UNIT C                                                                       WATERFORD          MI   48328‐4920
RENZE, PHYLLIS                  28836 ALINE DR                                                                                  WARREN             MI   48093‐2689
RENZE, ZACH                     3655 WADSLEY AVE                                                                                AUBURN             IA   51433‐7601
RENZENBERGER INC                14325 W 95TH ST                                                                                 LENEXA             KS   66215‐5210
RENZENBERGER INC.               14325 W 95TH ST                                                                                 LENEXA             KS   66215‐5210
RENZENBERGER, INC.              KAREN SEITTER                     14325 W 95TH ST                                               LENEXA             KS   66215‐5210
RENZI GUY C                     RENZI, GUY C
RENZI, ANTHONY L                37455 COLONIAL DR                                                                               WESTLAND           MI   48185‐1021
RENZI, JAMES R                  31140 GROVE                                                                                     FRASER             MI   48026‐2781
RENZI, MINNIE E                 55 AYRAULT RD APT 124                                                                           FAIRPORT           NY   14450‐2866
RENZI, RUTH H                   1226 BUENA VISTA DR               DELTURA COUNTRY CLUB                                          NORTH FORT MYERS   FL   33903‐1546
RENZO CLEMONS                   PO BOX 974                                                                                      POLK CITY          FL   33868‐0974
RENZO FANTUZ                    6747 GOLF CLUB RD                                                                               HOWELL             MI   48843‐8026
RENZO GENTILE                   650 LINKS VIEW DR                                                                               SUGAR HILL         GA   30518‐7417
RENZO PIAZZESI                  19, NEW ENGLAND STREET
RENZO SAVORELLI                 VIALE SPAZZOLI                    47122 ‐ FORL╠                                                 FORL╠              IL
RENZUR MACHINE INC              50600 CENTRAL INDUSTRIAL DR                                                                     SHELBY TOWNSHIP    MI   48315‐3116
RENZY‐DUNN, JURDEAN             3668 LAMPLIGHTER DR                                                                             SAGINAW            MI   48603‐8668
REO DOCKTER                     7985 S ESTON RD                                                                                 CLARKSTON          MI   48348‐4012
REO HYDRAULIC & MANUFACTURING   18475 SHERWOOD ST                                                                               DETROIT            MI   48234‐2832
REO HYDRAULIC & MFG INC         18475 SHERWOOD ST                                                                               DETROIT            MI   48234‐2832
REO HYDRAULIC PIERCE & FORM     18475 SHERWOOD ST                                                                               DETROIT            MI   48234‐2832
REO HYDRO PIERCE INC            18475 SHERWOOD ST                                                                               DETROIT            MI   48234‐2832
REO MILLER I I                  7590 ANDERSON HWY                                                                               VERMONTVILLE       MI   49096‐9545
REO TOWN COMMERCIAL ASSN        105 ISLAND AVE                                                                                  LANSING            MI   48910‐1408
REOBA NOEL                      225 S WASHINGTON                                                                                LA GRANGE          IL   60525
REOLA BREWER                    28802 SPRING ARBOR DR                                                                           SOUTHFIELD         MI   48076‐2880
REOLA LEAVY                     6409 DUPONT ST                                                                                  FLINT              MI   48505‐2047
REOLA WOOD                      5 POUND RIDGE CIR                                                                               CHURCHVILLE        NY   14428‐9221
REOLFI JOYCE                    LIGHTNING ROD MUTUAL INSURANCE    5045 PARK AVE W STE 2B                                        SEVILLE            OH   44273‐8963
                                COMPANY
REOLFI JOYCE                    REOLFI, JOYCE                     5045 PARK AVE W STE 2B                                        SEVILLE            OH 44273‐8963
REOLFI, JOYCE
REOME, MYLES M                  3837 STATE ROUTE 11                                                                             MALONE             NY   12953‐3725
REON T SKIPPER                  P.O.BOX26002                                                                                    TROTWOOD           OH   45426‐0002
REOPELLE, MARGARET M            4123 WEST PIONEER ROAD                                                                          MEQUON             WI   53097‐1505
REOSTI JAMES & SIRLIN PC        615 GRISWOLD ST STE 925                                                                         DETROIT            MI   48226‐3984
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REOSTI JAMES & SIRLIN PC            23880 WOODWARD AVE                                                                                  PLEASANT RIDGE    MI 48069‐1133
REOTT‐AYDOGDU NANCY                 25 CEDAR DR                                                                                         ROCHELLE PARK     NJ 07662
REOU, GERALD L                      223 N SHERIDAN ST                                                                                   BAY CITY          MI 48708‐6661
REP TECH & ASSOCIATES               1963 TURNBERRY CT                                                                                   OXFORD            MI 48371‐5962
REP‐TECH & ASSOCIATES               1963 TURNBERRY CT                                                                                   OXFORD            MI 48371‐5962
REPA, ANNE                          3054 SYRACUSE                                                                                       DEARBORN          MI 48124‐4527
REPA, ANNE                          3054 SYRACUSE ST                                                                                    DEARBORN          MI 48124‐4527
REPA, BRIAN S                       22868 SHAGBARK DR                                                                                   BEVERLY HILLS     MI 48025‐4770
REPA, THOMAS W                      240 DIAMOND HEAD DR                                                                                 DES PLAINES        IL 60018‐1107
REPAAL, DORIS A                     608 SHU LAR LN                                                                                      CLINTON           WI 53525‐9119
REPAAL, GREGORY S                   8617 S STATE ROAD 140                                                                               CLINTON           WI 53525‐8431
REPAIR CENTER, INC.                 1724 CENTRAL AVE                                                                                    ESTHERVILLE        IA 51334‐2439
REPAIR INDUSTRIES OF MICHIGAN INC   6501 E MCNICHOLS RD                                                                                 DETROIT           MI 48212‐2027
REPAIR LLC                          4000 KETTERING BLVD                                                                                 MORAINE           OH 45439‐2021
REPAIR MASTERS AUTOMOTIVE           3200 PEARL ST STE B                                                                                 BOULDER           CO 80301‐6122
REPAIR UNLIMITED                    780 POTOMAC AVE                                                                                     HAGERSTOWN        MD 21742‐3843
REPAIRONE                           6495 COLLEGE PARK DR                                                                                THE WOODLANDS     TX 77384‐4520
REPAIRS ON WHEELS                   833 MCDONALD AVE                                                                                    BROOKLYN          NY 11218‐5605
REPAIRS UNLIMITED INC.              124 N MILL ST                                                                                       LEWISVILLE        TX 75057‐3936
REPAR, BARBARA                      2665 M‐33 SOUTH                                                                                     WEST BRANCH       MI 48661‐9792
REPAR, JAMES J                      586 ALOHA DR                                                                                        HAINES CITY       FL 33844‐8915
REPASKY, ANDREW M                   424 ATWOOD ST NW                                                                                    WARREN            OH 44483‐2119
REPASKY, GARY R                     424 ATWOOD ST NW                                                                                    WARREN            OH 44483‐2119
REPASKY, GEORGE J                   6671 APPLERIDGE DR                                                                                  YOUNGSTOWN        OH 44512‐5012
REPASKY, JAMES R                    34138 BEACONSFIELD ST                                                                               CLINTON TWP       MI 48035‐3302
REPASKY, KEN                        6671 APPLERIDGE DR                                                                                  BOARDMAN          OH 44512‐5012
REPASKY, THOMAS J                   483 SANDERSON AVE                                                                                   CAMPBELL          OH 44405‐1464
REPASS JULIAN C (429680)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK           VA 23510
                                                                     STREET, SUITE 600
REPASS, JULIAN C                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510‐2212
                                                                     STREET, SUITE 600
REPASS, SUSAN F                     19141 BIRMINGHAM ST                                                                                 ROSEVILLE        MI   48066‐4122
REPASS‐ANDERSEN, JO ANN             6281 FRITZ HILL RD                                                                                  BATH             NY   14810‐8060
REPASY, JOANNA J                    1508 MAGNOLIA DR                                                                                    MURFREESBORO     TN   37128
REPASY, STEVEN J                    300 STEEPLECHASE DRIVE                                                                              SMITHVILLE       TN   37166‐7013
REPCHAK, GEORGE                     14 CEDAR CT                                                                                         LEMONT           IL   60439‐3853
REPCHIC, THOMAS J                   2807 TRENTON AVE                                                                                    YOUNGSTOWN       OH   44507‐1647
REPCO CORP LTD                      GEOFF ROSENBAUM                  AUTOMOTIVE PARTS GROUP LTD    3 KELRAY PLACE   ASQUITH NSW 2077
                                                                                                                    AUSTRALIA
REPCOLITE PAINT INC                 ATTN DAVID ALTENA PRESIDENT      473 W 17TH ST                                                      HOLLAND          MI   49423
REPEC, PETER J                      750 FOREST RIDGE DR                                                                                 BOARDMAN         OH   44512‐3516
REPELLA, GEORGE                     7430 LANSING ST                                                                                     LAS VEGAS        NV   89120‐3746
REPELLA, WAYNE A                    5986 ALAN DRIVE                                                                                     BRIGHTON         MI   48116‐8501
REPEN, SARA M                       36783 LANSBURY LN                                                                                   FARMINGTON       MI   48335‐2935
REPENNING, MARY R                   6436 BRIGHTON DR                                                                                    N OLMSTED        OH   44070‐4828
REPENSHEK, ARTHUR A                 1711 WILSON AVE                  C/O RALPH STIRDIVANT                                               SHEBOYGAN        WI   53081‐6622
REPERSHIA GAINES                    2108 STONEY BROOK CT                                                                                FLINT            MI   48507‐6033
REPETSKI, JOHN M                    50 STAHL RD APT 205                                                                                 GETZVILLE        NY   14068‐1552
REPETTI, MARGARET M                 2112 59TH ST                                                                                        BROOKLYN         NY   11204‐2502
REPETTO, MICHAEL T                  139 SAXON CT                                                                                        ROCHESTER HLS    MI   48307‐3158
REPH, EUNICE M                      19951 N CRESCENT WAY                                                                                SURPRISE         AZ   85374‐4744
REPH, MADELINE L                    658 STAGECOACH DR                                                                                   CHERRYVILLE      PA   18035‐9700
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Name                                   Address1                        Address2                       Address3   Address4         City              State Zip
REPHUN, DANIEL P                       1632 LEXINGTON AVE APT 23                                                                  MANSFIELD          OH 44907‐2943
REPIC, ANDREW M                        2843 N BRANCH RD                                                                           NORTH BRANCH       MI 48461‐8069
REPIC, JOHN G                          3077 CASTLE RD                                                                             NORTH BRANCH       MI 48461‐9378
REPICHOWSKI, STEVEN L                  1731 KINGSWOOD DR                                                                          LANSING            MI 48912‐5139
REPIE, GEORGE J                        14355 PARKMAN BLVD                                                                         BROOK PARK         OH 44142‐2529
REPIK JR, EDWARD P                     2137 E CLYDE RD                                                                            HOWELL             MI 48855‐9714
REPIK, KATHRYN G                       901 TIMBERCREEK DR APT 139                                                                 GRAND LEDGE        MI 48837
REPIK, MICHAEL E                       4790 W 102ND AVE                                                                           WESTMINSTER        CO 80031‐2316
REPIK, MICHAEL E                       4790 WEST 102ND AVENUE                                                                     WESTMINSTER        CO 80031‐2316
REPIK, RICHARD D                       3321 WEST WILDERMUTH ROAD                                                                  OWOSSO             MI 48867‐9410
REPIK, RICHARD D                       3321 W WILDERMUTH RD                                                                       OWOSSO             MI 48867‐9410
REPINSKI, CHARLES T                    1805 MANSFIELD RD                                                                          BIRMINGHAM         MI 48009‐7293
REPINSKI, CHARLES THOMAS               1805 MANSFIELD RD                                                                          BIRMINGHAM         MI 48009‐7293
REPINSKI, JAMES A                      550 HARROW CT                                                                              ROCHESTER HILLS    MI 48307‐4537
REPINSKI, KATHERINE                    19800 CALLAWAY HILLS LN                                                                    DAVIDSON           NC 28036‐7001
REPKA, ALFRED A                        1123 WESTLAKE DR                                                                           DESOTO             TX 75115‐4145
REPKA, IRENE                           27123 MERIDETH DR                                                                          WARREN             MI 48092‐3035
REPKE, PATRICIA P                      40 JEAN CT LOT 41                                                                          ESSEXVILLE         MI 48732
REPKO, MICHAEL J                       1081 COLLAR PRICE RD SE                                                                    BROOKFIELD         OH 44403‐9778
REPKO, RONALD W                        3401 E MIDDLETOWN RD                                                                       NEW SPRINGFLD      OH 44443‐9722
REPLOGLE, DONALD A                     700 RALSTON AVE APT 33                                                                     DEFIANCE           OH 43512‐1570
REPLOGLE, DONALD ALLEN                 700 RALSTON AVE APT 33                                                                     DEFIANCE           OH 43512‐1570
REPLOGLE, GREGORY A                    707 DOWNS ST                                                                               DEFIANCE           OH 43512‐2930
REPLOGLE, KATHRYN                      8014 JEFF ROAD                                                                             INDIANAPOLIS       IN 46217‐4544
REPLOGLE, MABEL                        540 LAWNDALE DR                                                                            BRYAN              OH 43506‐2450
REPLOGLE, PETER W                      98 WOOD RD                                                                                 WESTTOWN           NY 10998‐3409
REPLY! INC                             SEAN FOX                        12667 ALCOSTA BLVD STE 200                                 SAN RAMON          CA 94583‐4427
REPLY! INC
REPOLLET, SALVADOR                     6 RANDALL PL                                                                               PALM COAST         FL   32164‐3951
REPOLLET, VIRGINIA                     6 RANDALL PL                                                                               PALM COAST         FL   32164‐3951
REPORTING SUPPORT BUSINES
REPOSA RUSSELL JR                      METROPOLITAN P & C INSURANCE    40 GROVE ST STE 220                                        WELLESLEY         MA 02482‐7752
                                       COMPANY
REPOSA RUSSELL JR                      REPOSA, RUSSELL                 815 WALKER SUITE 1600                                      HOUSTON           TX 77002
REPOSA, RUSSELL                        WATTS GUERRA CRAFT LLP          2402 DUNLAVY ST STE 300                                    HOUSTON           TX 77006‐2404
REPOTSKI GERARD &                      DELEHANTY & FALL PLC            555 W CROSSTOWN PKWY STE 302                               KALAMAZOO         MI 49008‐1981

REPOTSKI, GERARD C                     6609 OAKLAND DR                                                                            PORTAGE           MI 49024‐3305
REPOVSCH WALTER (ESTATE OF) (517156)   BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                WILMINGTON        DE 19899‐2165

REPOVSCH, WALTER                       BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                WILMINGTON        DE    19899‐2165
REPOWER SYSTEMS                        TAMMY CONEKIN                   101 SW MAIN ST STE 730                                     PORTLAND          OR    97204‐3215
REPOZ, HARRY                           618 E BLOOMFIELD AVE                                                                       ROYAL OAK         MI    48073‐3542
REPOZ, MARIE E                         33891 MINT COURT                                                                           STERLING HGTS     MI    48310‐6062
REPOZ, MARIE E                         33891 MINT CT                                                                              STERLING HTS      MI    48310‐6062
REPP, BRENT T                          1417 N PLEASANT ST                                                                         ROYAL OAK         MI    48067‐4337
REPP, CLIFFORD M                       PO BOX 2699                                                                                MANSFIELD         OH    44906‐0699
REPP, COREY D                          2119 WINEWOOD AVE                                                                          ANN ARBOR         MI    48103‐3944
REPP, JACK B                           3510 JOHNSON ST                                                                            TRENTON           MI    48183‐5700
REPP, LAWRENCE W                       4708 MEHL AVE                                                                              SAINT LOUIS       MO    63129‐1627
REPP, LUCRETIA                         214 ELYRIA ST                                                                              LODI              OH    44254‐1032
REPP, MICHAEL D                        9435 S VIA BANDERA                                                                         VAIL              AZ    85641
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Name                      Address1                       Address2            Address3         Address4         City            State Zip
REPP, PATRICIA J          32645 S RIVER RD                                                                     HARRISON TWP     MI 48045‐5705
REPP, RALPH E             PO BOX 57                                                                            CICERO           IN 46034‐0057
REPP, RICHARD L           2226 HAVANA AVE                                                                      FORT MYERS       FL 33905‐4825
REPPART, DAVID B          7105 US HIGHWAY 42                                                                   MOUNT GILEAD     OH 43338‐9420
REPPART, JOHN A           703 PARK ST                                                                          WILLARD          OH 44890‐1352
REPPAS, NICK S            276 WINDWARD DR                                                                      ELYRIA           OH 44035‐1632
REPPEN, JACOB A           432 ALBION RD                                                                        EDGERTON         WI 53534‐9376
REPPEN, KASSANDRA M       175 HILLSIDE AVE                                                                     ROANOKE          IN 46783‐8832
REPPEN, KRYSTAL L         9 CASTLE HILL DRIVE                                                                  ROANOKE          IN 46783‐9135
REPPENHAGEN, PATTY J      PO BOX 316                                                                           GRAND BLANC      MI 48480‐0316
REPPENHAGEN, PATTY JO     PO BOX 316                                                                           GRAND BLANC      MI 48480‐0316
REPPENHAGEN, VIRGINIA V   1110 MOREHEAD CT                                                                     ANN ARBOR        MI 48103‐6181
REPPER JR, GEORGE V       1707 KINGSCROSS RD                                                                   MIDLOTHIAN       VA 23114‐4554
REPPERT, DOUGLAS P        5015 W WATERBERRY DR                                                                 HURON            OH 44839‐2266
REPPERT, ERWIN J          812 RUFFIN ST                                                                        WILMINGTON       NC 28412‐5171
REPPERT, LEAH M           2769 YOUTH MONROE RD                                                                 LOGANVILLE       GA 30052‐9128
REPPO, GEORGE             WEITZ & LUXENBERG              180 MAIDEN LANE                                       NEW YORK         NY 10038
REPPUHN EUGENE            15240 CATALINA WAY                                                                   HOLLY            MI 48442‐1102
REPPUHN, ALMA J           13433 N FENTON RD                                                                    FENTON           MI 48430‐1117
REPPUHN, CHRIST A         5014 DAVISON RD                                                                      LAPEER           MI 48446‐3529
REPPUHN, CHRISTIAN E      1099 E STOCKWELL RD                                                                  HARRISON         MI 48625‐8520
REPPUHN, CLARENCE R       8631 ASPEN TRL                                                                       LONG LAKE        MI 48743‐9704
REPPUHN, DANIEL S         3350 S FORDNEY RD                                                                    HEMLOCK          MI 48626‐8704
REPPUHN, DELORES J        5034 E STANLEY RD                                                                    FLINT            MI 48506‐1147
REPPUHN, DONALD R         PO BOX 309                                                                           MOHAWK           MI 49950‐0309
REPPUHN, DUANE R          13606 BASS TRL                                                                       JOHANNESBURG     MI 49751‐8500
REPPUHN, DUANE RICHARD    13606 BASS TRL                                                                       JOHANNESBURG     MI 49751‐8500
REPPUHN, EUGENE H         15240 CATALINA WAY                                                                   HOLLY            MI 48442‐1102
REPPUHN, HENRY            13417 N FENTON RD                                                                    FENTON           MI 48430‐1117
REPPUHN, KEVIN C          6332 ROSEMONT AVE                                                                    DETROIT          MI 48228
REPPUHN, LYDIA            2123 HAMPTON ST                                                                      WHITE LAKE       MI 48386‐1538
REPPUHN, MARYLIN J        2277 PAULINE                                                                         WATERFORD        MI 48329‐3759
REPPUHN, MARYLIN J        2277 PAULINE DR                                                                      WATERFORD        MI 48329‐3759
REPPUHN, ROBYN
REPPUHN, ROBYN R          5865 MEADOWS DR                                                                      CLARKSTON       MI   48348‐2933
REPPUHN, ROGER L          6392 PEACH DR                                                                        CLARKSTON       MI   48346‐1630
REPPUHN, SUSAN J          4012 SAWYER AVE                                                                      WATERFORD       MI   48328‐1266
REPPY, ANTHONY W          34 N PLEASANT AVE                                                                    NILES           OH   44446‐1135
REPPY, JAMES L            709 WASHINGTON AVE                                                                   NILES           OH   44446‐3150
REPPY, SAMUEL A           40 NORTH PLEASANT AVENUE                                                             NILES           OH   44446‐1135
REPPY, SAMUEL A           40 N PLEASANT AVE                                                                    NILES           OH   44446‐1135
REPREZA, FRANCISCO W      920 SAINT CECIL                                                                      MOORE           OK   73160
REPREZA, FRANK J          3925 SE 34TH ST                                                                      OKLAHOMA CITY   OK   73165‐7315
REPRINT MGMT/LANCAST      PO BOX 5363                                                                          LANCASTER       PA   17606‐5363
REPRO PARTS INC           881 N INDUSTRIAL DR                                                                  ELMHURST        IL   60126‐1117
REPRO PARTS INC           RICHARD VERBA                  239 JAMES ST                                          LIVONIA         MI   48150
REPROGEL, RAYMOND E       1063 PARKSLEY AVE                                                                    BALTIMORE       MD   21223‐3213
REPROGLE, MICHAEL J       3382 S 1150 E                                                                        GREENTOWN       IN   46936‐8945
REPROGLE, RICHARD D       4648 S 750 E                                                                         KOKOMO          IN   46902‐9202
REPROGRAPHICS ONE INC     36060 INDUSTRIAL RD                                                                  LIVONIA         MI   48150‐1200
REPSHER, TERESE M         131 LANGLEY SQ                                                                       LANCASTER       PA   17603‐9023
REPSHINSKA, PAUL L        PO BOX 125                                                                           GAGETOWN        MI   48735‐0125
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Name                                 Address1                              Address2                          Address3                     Address4               City             State Zip
REPSHINSKA, VINCENT P                632 JEFFERSON ST                                                                                                            LAPEER            MI 48446‐1915
REPUBLIC BANK                        SUMMIT FUNDING GROUP, INC              ATTN: LEGAL OFFICER / BANKRUPTCY 801 NORTH 500 WEST, STE 13                          WEST BOUNTIFUL    UT 84087
                                                                            DEPT.
REPUBLIC BANK                        ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1560 RENAISSANCE TOWNE DR        STE 260                                             BOUNTIFUL        UT 84010‐7683

REPUBLIC BANK                        1373 S LINDEN RD                                                                                                            FLINT            MI    48532‐4157
REPUBLIC BANK                        FOR DEPOSIT TO THE ACCOUNT OF         D PERRY                           2524 E GRAND RIVER AVE                              LANSING          MI    48912
REPUBLIC BANK                        FOR DEPOSIT TO THE A/C OF L ZIAYA     328 S SAGINAW ST                  LBBY                                                FLINT            MI    48502‐1940
REPUBLIC BANK                        FOR DEPOSIT IN THE ACCOUNT OF R FREAR 226 W CAROLINE ST                                                                     FENTON           MI    48430‐2808

REPUBLIC BANK                        1560 RENAISSANCE TOWNE DR              STE 260                                                                              BOUNTIFUL        UT    84010‐7683
REPUBLIC BANK                        SUMMIT FUNDING GROUP, INC              1560 RENAISSANCE TOWNE DR        STE 260                                             BOUNTIFUL        UT    84010‐7683
REPUBLIC BANK ‐ BRIGHTON MI          FOR DEPOSIT TO THE A/C OF              J WILLIS JR                      9880 E GRAND RIVER                                  BRIGHTON         MI    48116
REPUBLIC BANK OF CHICAGO             2720 WEST DEVON AVE                                                                                                         CHICAGO          IL    60659
REPUBLIC BANK OF CHICAGO             ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2720 WEST DEVON AVE                                                                  CHICAGO          IL    60659

REPUBLIC COMPUTER SERVICES LTD       RESPONSE GROUP TRENDLINE              PO BOX 32013                      SUMMERSTRAND                 PORT ELIZABETH 6019
                                                                                                                                          SOUTH AFRICA
REPUBLIC CONTRACTORS INC             PO BOX 18836                                                                                                                SHREVEPORT       LA    71138‐1836
REPUBLIC COUNTY TREASURER            PO BOX 429                                                                                                                  BELLEVILLE       KS    66935‐0429
REPUBLIC CREDIT CORP                 3300 S PARKER RD STE 500                                                                                                    AURORA           CO    80014‐3522
REPUBLIC DIE & TOOL                  MERLE THOMAS                          45000 VAN BORN RD.                                                                    ANDERSON         IN    46016
REPUBLIC DIE & TOOL CO               MERLE THOMAS                          45000 VAN BORN RD.                                                                    ANDERSON         IN    46016
REPUBLIC DIE & TOOL CO               45000 VAN BORN RD                                                                                                           BELLEVILLE       MI    48111‐1152
REPUBLIC DIE/BELLVIL                 45000 VAN BORN RD                     P.O. BOX 339                                                                          BELLEVILLE       MI    48111‐1152
REPUBLIC DOCUMENT MANAGEMENT INC     660 N DIAMOND BAR BLVD STE 105                                                                                              DIAMOND BAR      CA    91765‐1034

REPUBLIC EGR/CANTON                 2633 8TH ST NE                                                                                                               CANTON           OH    44704‐2311
REPUBLIC EGR/MASSILN                410 OBERLIN AVE SW                                                                                                           MASSILLON        OH    44647‐7842
REPUBLIC ENGINEERED PRODUCTS        3770 EMBASSY PKWY                                                                                                            AKRON            OH    44333‐8367
REPUBLIC ENGINEERED PRODUCTS        2633 8TH ST NE                                                                                                               CANTON           OH    44704‐2311
REPUBLIC ENGINEERED PRODUCTS HOLDIN ATTN: CORPORATE OFFICER/AUTHORIZED     21349 NETWORK PL                                                                      CHICAGO          IL    60673‐1213
                                    AGENT
REPUBLIC ENGINEERED PRODUCTS INC    155 CHATHAM STREET                                                                                    HAMILTON ON L8P 2B7
                                                                                                                                          CANADA
REPUBLIC FINANCIAL                   ATT: MICHELLE YOUNG                   3300 SOUTH PARKER ROAD                                                                AURORA           CO    80014
REPUBLIC FINANCIAL                   C/O C4 CAPITAL                        ATT: PATRICK M CURRAN             2557 OUR LAND ACRES                                 MILFORD          MI    48381
REPUBLIC FINANCIAL CORP              3300 S PARKER RD STE 500                                                                                                    AURORA           CO    80014‐3522
REPUBLIC FINANCIAL CORP              800 N WASHINGTON AVE                                                                                                        LUDINGTON        MI    49431‐2724
REPUBLIC FIRE AND CASUALTY           ASHMORE JAMES E JR LAW OFFICES OF     3636 MAPLE AVE                                                                        DALLAS           TX    75219‐3908
REPUBLIC LAG/CARSON                  PO BOX 5328                                                                                                                 CARSON           CA    90749‐5328
REPUBLIC OF UZBEKISTAN               THE MINISTRY OF FOREIGN ECONOMIC      1 TARAS SHEVCHENKO STR.                                        10029, TASHKENT CITY
                                     RELATIONS, INVESTMENT AND TRADE OF                                                                   UZBEKISTAN
                                     TH
REPUBLIC PNEUMATICS INTERNATIONAL    913 ULRICH AVENEUE                                                                                                          LOUISVILLE        KY   40219
LLC
REPUBLIC PROPERTY TRUST              FRANK PIERUCCINI                      1280 MARYLAND AVE. S.W.                                                               WASHINGTON       DC    20024
REPUBLIC REALTY MORTGAGE CORP        CA DIVISION LOAN                      DEPT 77‐2564                                                                          CHICAGO          IL    60678‐0001
REPUBLIC STORAGE SYSTEMS CO IN       1038 BELDEN AVE NE                                                                                                          CANTON           OH    44705‐1459
REPUBLIC STORAGE SYSTEMS LLC         1038 BELDEN AVE NE                                                                                                          CANTON           OH    44705‐1459
REPUBLIC WASTE SERVICES OF INDIANA   832 LANGSDALE AVE                                                                                                           INDIANAPOLIS     IN    46202‐1150
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Name                             Address1                        Address2                      Address3   Address4                City              State Zip
REPUBLIC/ALLIED                  5400 COSWELL ROAD                                                                                WAYNE              MI 48184
REPUBLICK BANK                   FOR DEPOSIT TO THE A/C OF       12770 S SAGINAW ST            K KERR                             GRAND BLANC        MI 48439‐1831
REPUBLIQUE FRANCAISE             BUDGET ANNEXE AVIATION CIVILE   50 RUE HENRI FARMAN                      PARIS F‐75720 FRANCE
REPUESTOS Y AUTOMOVILES S.A.     3289                                                                     TEGUCIGALPA HONDURAS
REPULIO SERVICE STATIONS, INC.   PO BOX 1389                     CHURCH STREET STATION                                            NEW YORK          NY   10008
REPYNECK, BONNIE S               305 SYCAMORE RD                                                                                  TRENTON           OH   45067‐1923
REPYNECK, CHARLES S              305 SYCAMORE RD.                                                                                 TRENTON           OH   45067‐1923
REQUARDAT, LARRY                 WISE & JULIAN                   156 N MAIN ST STOP 1                                             EDWARDSVILLE      IL   62025‐1972
REQUARDT, LARRY                  GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                                    EDWARDSVILLE      IL   62025
REQUARTH, JOANNE                 52 W. WALNUT                    PO BOX 241                                                       PHILLIPSBURG      OH   45354‐0241
REQUARTH, JOANNE                 PO BOX 241                      52 W. WALNUT                                                     PHILLIPSBURG      OH   45354‐0241
REQUARTH, JONATHAN J             3380 HARWOOD ST.                                                                                 KETTERING         OH   45429‐5429
REQUARTH, RICHARD L              601 WEST ST                                                              IGNACE ONTARIO CANADA
                                                                                                          P0T‐1T0
REQUENA, EMMANUEL HERNANADEZ     APT 1D                          4552 HICKORY ROAD                                                MISHAWAKA         IN   46545‐2402
REQUENA, JOHN                    409 CALLE DUBLIN                                                                                 SAN JUAN          PR   00920‐3712
REQUENA, JOSE A                  271 S AVENUE 30 APT A                                                                            LOS ANGELES       CA   90042‐4436
REQUENA, JOSE A                  4108 YORK BLVD                                                                                   LOS ANGELES       CA   90065‐4623
REQUENA, PEDRO A                 9219 BARBARA LN                                                                                  FORT WAYNE        IN   46804‐4702
RERA, DOMINIC C                  18 CHARLOTTE RD                                                                                  CHEEKTOWAGA       NY   14225‐1206
RES MANUFACTURING CO             7801 N 73RD ST                                                                                   MILWAUKEE         WI   53223‐4023
RES MANUFACTURING COMPANY        SCOTT BUDNOWSKI                 7801 N 73RD ST                                                   MILWAUKEE         WI   53223‐4023
RES MANUFACTURING COMPANY        SCOTT BUDNOWSKI                 7801 N. 73RD STREET                                              OSSIAN            IN   46777
RES‐CARE                         DENNIS ROBERTS                  10140 LINN STATION RD                                            LOUISVILLE        KY   40223‐3813
RES‐KEM CORP                     PO BOX 1059                                                                                      MEDIA             PA   19063‐0859
RESA HOYLAND                     430 S HAYFORD AVE                                                                                LANSING           MI   48912‐3919
RESA WHITTLE                     964 HIGHWAY 1611                                                                                 RUSSELL SPRINGS   KY   42642‐8777
RESA, PEDRO M                    8444 METTE ST                                                                                    LENEXA            KS   66219‐2073
RESARE, MARK A                   18931 SANTA MARIA AVE                                                                            CASTRO VALLEY     CA   94546‐3138
RESBERG ALVIN S (498312)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                 STREET, SUITE 600
RESBERG, ALVIN S                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510‐2212
                                                                 STREET, SUITE 600
RESCH I I I, RALPH E             3366 CURTIS ST                                                                                   MOGADORE          OH 44260‐1008
RESCH III, RALPH E               3366 CURTIS ST                                                                                   MOGADORE          OH 44260‐1008
RESCH, CHRISTINA                 ADLWANGER STRASSE 21                                                     4542 NU▀BACH AUSTRIA
RESCH, ELIZABETH                 576 SALUS DR                                                                                     WATERFORD         MI   48327‐1471
RESCH, JOHN S                    240 E SUNSET DR                                                                                  MILTON            WI   53563‐1350
RESCH, JOHN S                    N6040 FIEDLER RD                                                                                 ALBANY            WI   53502‐9580
RESCH, KENNETH J                 7678 COWARD RD                                                                                   BYRON             NY   14422‐9717
RESCH, MICHAEL L                 7193 CHILI RIGA CENTER RD                                                                        CHURCHVILLE       NY   14428‐9511
RESCH, STEPHEN A                 47101 ELDREDGE ST                                                                                MACOMB            MI   48042‐5116
RESCH, SUSAN M                   7193 CHILI RIGA CENTER RD                                                                        CHURCHVILLE       NY   14428‐9511
RESCH, VICTOR L                  13181 POPLAR ST                                                                                  SOUTHGATE         MI   48195‐2495
RESCH, WERNER                    5062 SKYLITE LN                                                                                  SHELBY TWP        MI   48316‐1651
RESCHLEIN, JAMES A               9332 W LOOMIS RD UNIT 3                                                                          FRANKLIN          WI   53132‐8273
RESCHLY, BRIAN S                 7506 NORTH MERIDIAN STREET                                                                       INDIANAPOLIS      IN   46260‐3627
RESCICA, ANTONINO                13809 WOODMONT AVE                                                                               BONNER SPRINGS    KS   66012‐9687
RESCIGNO, GLORIA                 151 TIMBER TRL                                                                                   MILFORD           CT   06460‐3604
RESCUE 1                         DON MILLER                      2201 ATLANTIC AVE                                                MANASQUAN         NJ   08736‐1010
RESCUE ALERT/MADISON             1805 ENGLEWOOD AVE                                                                               MADISON HEIGHTS   MI   48071‐1024
RESCUE INDUSTRIES                7080 E 54TH PL                                                                                   COMMERCE CITY     CO   80022‐4806
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Name                                 Address1                         Address2                       Address3                     Address4         City                 State Zip
RESCUE MINISTRIES OF MID‐MICHIGAN    PO BOX 548                                                                                                    SAGINAW               MI 48606‐0548
RESCUE REMEDIES INC                  525 NORTH ST                                                                                                  MILLERSBURG           PA 17061‐2421
RESCUE RESOURCE INC                  8734 LOGAN AVE S                                                                                              BLOOMINGTON           MN 55431‐2063
RESCUE ROOTER                        3390 KELLER ST                   STE B                                                                        SANTA CLARA           CA 95054‐2600
RESCUE ROOTER                        9895 OLSON #2                                                                                                 SAN DIEGO             CA 92121
RESCUE ROOTER                        175 ROY RD SW                    STE A                                                                        PACIFIC               WA 98047‐2150
RESCUE ROOTER                        15707 S MAIN ST                                                                                               GARDENA               CA 90248‐2506
RESCUE ROOTER                        2409 MINNIS DR                                                                                                FORT WORTH            TX 76117‐4857
RESCUE ROOTER                        9895 OLSON #2                                                                                                 SAN DIEGO             CA 92121
RESCUE ROOTER                        29196 SIMMS CT                                                                                                HAYWARD               CA 94544‐6911
RESCUE ROOTER                        3050 SWITZER AVE                                                                                              COLUMBUS              OH 43219‐2316
RESCUE ROOTER                        8001 S 222ND ST                                                                                               KENT                  WA 98032‐1942
RESCUE ROOTER                        12430 SE CAPPS RD                                                                                             CLACKAMAS             OR 97015‐9093
RESCUE ROOTER                        740 N HARITON ST                                                                                              ORANGE                CA 92868‐1314
RESCUE ROOTER                        12507 SAN FERNANDO RD                                                                                         SYLMAR                CA 91342‐5023
RESCUE ROOTER                        1479 BERGER DR                                                                                                SAN JOSE              CA 95112‐2702
RESCUE ROOTER                        4705 COPPER SAGE ST                                                                                           LAS VEGAS             NV 89115‐1891
RESCUE ROOTER                                                         15707 S MAIN ST                                                                                    CA 90248
RESCUE ROOTER                                                         175A ROY RD SW STE 101         SUITE 101                                                           WA 98047
RESCUE ROOTER                                                         29196 SIMMS CT                                                                                     CA 94544
RESCUE ROOTER LLC                    965 RIDGE LAKE BLVD STE 201                                                                                   MEMPHIS               TN 38120‐9401
RESEARCH & RECOVERY                  5500 MARKET STREET SUITE                                                                                      BOARDMAN              OH 44512
RESEARCH CHEMICALS INC               1217 WADE DR                                                                                                  BEDFORD               TX 76022‐7143
RESEARCH DATA ANALYSIS INC           ATTN ACCOUNTS RECEIVABLE         450 ENTERPRISE CT                                                            BLOOMFIELD HILLS      MI 48302‐0386
RESEARCH DESIGN SPECIALIST           5552 CERRITOS AVE STE K                                                                                       CYPRESS               CA 90630‐4725
RESEARCH DESIGN/CA                   5552 CERRITOS AVE STE B                                                                                       CYPRESS               CA 90630‐4725
RESEARCH ELECTRONICS INTERNATIONAL   455 SECURITY PL                                                                                               COOKEVILLE            TN 38506‐4941

RESEARCH FED CREDIT UNION            FOR DEPOSIT TO THE ACCOUNT OF    S MCCLAIN                      REN CEN T‐100 SUITE 8016                      DETROIT              MI   48243
RESEARCH FEDERAL CDT UNION           FOR DEPOSIT TO THE ACCOUNT OF    7415 CHICAGO RD                                                              WARREN               MI   48092‐4704
RESEARCH FEDERAL CREDIT UNION        FOR DEPOSIT IN THE ACCOUNT OF    7415 CHICAGO RD                B TIPTON                                      WARREN               MI   48092‐4704
RESEARCH FEDERAL CREDIT UNION        FOR DEPOSIT IN THE A/C OF        100 RENAISSANCE CTR STE 8016   D DUNAHAY                                     DETROIT              MI   48243‐1107
RESEARCH FEDERAL CREDIT UNION        FOR DEPOSIT IN THE ACCOUNT OF    T HOLDERER NO                  100 RENAISSANCE CTR‐ST #                      DETROIT              MI   48243
                                                                                                     8016
RESEARCH FEDERAL CREDIT UNION        FOR DEPOSIT TO THE ACCOUNT OF    7415 CHICAGO RD                S IVES                                        WARREN               MI 48092‐4704
RESEARCH FEDERAL CREDIT UNION        ACCT OF HAROLD KNOX              24487 GRATIOT AVE                                                            EASTPOINTE           MI 48021
RESEARCH FEDERAL CREDIT UNION        ACCT OF BRENDA HOWARD
RESEARCH FEDERAL CREDIT UNION        ACCT OF LORENZO WILSON
RESEARCH FEDERAL CREDIT UNION        ACCT OF HELEN WARE               24487 GRATIOT AVE                                                            EASTPOINTE           MI 48021
RESEARCH FEDERAL CREDIT UNION        ACCT OF WILLIAM BAGLEY
RESEARCH FEDERAL CREDIT UNION        ACCT OF CYNTHIA BIELAWSKI        24487 GRATIOT AVE                                                            EASTPOINTE           MI   48021
RESEARCH FEDERAL CREDIT UNION        ACCT OF CHERYLYNE GRANT          24487 GRATIOT AVE                                                            EASTPOINTE           MI   48021
RESEARCH FEDERAL CREDIT UNION        ACCT OF JOHN ELEY, JR            25400 LITTLE MACK AVE                                                        SAINT CLAIR SHORES   MI   48081‐2157
RESEARCH FEDERAL CREDIT UNION        ACCT OF VALENTINE FURMAN JR      24487 GRATIOT AVE                                                            EASTPOINTE           MI   48021
RESEARCH FEDERAL CREDIT UNION        7415 CHICAGO RD                                                                                               WARREN               MI   48092‐4704
RESEARCH FOUNDATION OF STATE U       402 CROFTS HALL                                                                                               BUFFALO              NY   14260‐7003
RESEARCH FOUNDATION OF STATE U       5510 W FRANKS MELVILLE MEMORIA   LIBRARY                                                                      STONY BROOK          NY   11794‐0001
RESEARCH FOUNDATION OF SUNY          255 FULLER ROAD                                                                                               ALBANY               NY   12203
RESEARCH FOUNDATION OF SUNY          TOXICOLOGY RESEARCH CENTER       UNIVERSITY AT BUFFALO          HAYES B ‐ 3435 MAIN STREET                    BUFFALO              NY   14214

RESEARCH FOUNDTN OF STATE            UNIVERSITY OF NEW YORK           UNIVERSITY PLAZA                                                             ALBANY               NY 12201
RESEARCH FOUNDTN OF SUNY             5510 W FRANKS MELVILLE MEMORIA   LIBRARY                                                                      STONY BROOK          NY 11794‐0001
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Name                              Address1                            Address2                       Address3   Address4         City                     State Zip
RESEARCH FRONTIERS INC            240 CROSSWAYS PARK DR                                                                          WOODBURY                  NY 11797‐2033
RESEARCH FRONTIERS, INC           240 CROSSWAYS PARK DR                                                                          WOODBURY                  NY 11797‐2033
RESEARCH HOUSE THE                7430 OLD MILL RD                                                                               BLOOMFIELD                MI 48301‐3938
RESEARCH INTERNATIONAL            PO BOX 894606                                                                                  LOS ANGELES               CA 90189‐4606
RESEARCH OIL CO                   PO BOX 75664Y AVE                                                                              CLEVELAND                 OH 44101
RESEARCH STRATEGIES CORP          55 ZION WERTSVILLE RD                                                                          SKILLMAN                  NJ 08558‐1009
RESEARCH SYSTEMS INC              4990 PEARL EAST CIRCLE                                                                         BOULDER                   CO 80301
RESEARCH TRIANGLE INSTITUTE       RTI INTERNATIONAL                   PO BOX 900002                                              RALEIGH                   NC 27675‐9000
RESEARCH TRIANGLE INSTITUTE       PO BOX 12194                                                                                   DURHAM                    NC 27709‐2194
RESEARCH TRIANGLE INSTITUTE IN    PO BOX 12194                        3040 CORNWALLIS RD                                         RESEARCH TRIANGLE PARK    NC 27709‐2194

RESEARCH TRIANGLE INSTITUTE INC   PO BOX 12194                        3040 CORNWALLIS RD                                         RESEARCH TRIANGLE PARK   NC 27709‐2194

RESEARCH/STERLING HE              5590 BRIDGEWOOD DR                                                                             STERLING HEIGHTS         MI 48310‐2217
RESECKER, CARL L                  GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW                  MI 48604‐2602
                                                                      260
RESEIGH, DOUGLAS A                513 MORGAN DR                                                                                  MOUNT MORRIS             MI   48458‐1131
RESEIGH, DOUGLAS ALAN             513 MORGAN DR                                                                                  MOUNT MORRIS             MI   48458‐1131
RESEIGH, GEORGE H                 4290 OLD CARRIAGE RD                                                                           FLINT                    MI   48507‐5618
RESEIGH, JEFFREY A                6174 NOTTINGHAM POINTE                                                                         BRIGHTON                 MI   48116
RESEIGH, RALPH E                  285 STONY LAKE DR                                                                              OXFORD                   MI   48371‐6740
RESEIGH, THERESA A                6174 NOTTINGHAM POINTE                                                                         BRIGHTON                 MI   48116
RESENDES, MINH V                  21161 SKYLARK DR                                                                               LAKE FOREST              CA   92630‐7268
RESENDES, URBANO                  292 N 7TH ST                                                                                   NEWARK                   NJ   07107‐1708
RESENDEZ JR, DOMINGO P            844 E TREVITT ST                                                                               BRYAN                    OH   43506‐1443
RESENDEZ JR, DOMINGO PENA         844 E TREVITT ST                                                                               BRYAN                    OH   43506‐1443
RESENDEZ JR, PAZ                  1155 COLLIER RD                                                                                AUBURN HILLS             MI   48326‐1608
RESENDEZ, ADBENTO                 210 N UPTON                                                                                    HOLGATE                  OH   43527
RESENDEZ, ADBENTO                 PO BOX 522                          210 N UPTON                                                HOLGATE                  OH   43527‐0522
RESENDEZ, ALICIA M                2186 LAUDERDALE ST                                                                             FLINT                    MI   48532‐4140
RESENDEZ, ANTONIO R               1210 BEEMER CT                                                                                 OXFORD                   MI   48371‐4802
RESENDEZ, ARACELY
RESENDEZ, CRISTELO G              151 W SHEFFIELD AVE                                                                            PONTIAC                  MI   48340‐1851
RESENDEZ, FRANK R                 13646 OSBORNE ST                                                                               ARLETA                   CA   91331
RESENDEZ, GUADALUPE R             96 OAKHILL ST                                                                                  PONTIAC                  MI   48342‐2328
RESENDEZ, GUADALUPE R             PO BOX 1843                                                                                    WESLACO                  TX   78599‐1843
RESENDEZ, HORACIO M               1009 W IRVING ST                                                                               RIO GRANDE CITY          TX   78582‐5110
RESENDEZ, JUSTO                   2050 ROYAL OAK AVE                                                                             DEFIANCE                 OH   43512‐3526
RESENDEZ, NINFA G                 PO BOX 524                                                                                     HOLGATE                  OH   43527‐0524
RESENDEZ, PAUL R                  5614 MAPLE PARK DR                                                                             FLINT                    MI   48507‐3916
RESENDEZ, PAUL RICKY              5614 MAPLE PARK DR                                                                             FLINT                    MI   48507‐3916
RESENDEZ, PEDRO                   2535 LITER RD                                                                                  ORION                    MI   48359‐1546
RESENDEZ, RICARDO G               611 DAKOTA PL                                                                                  DEFIANCE                 OH   43512‐3668
RESENDEZ, RODOLFO                 1007 W IRVING ST                                                                               RIO GRANDE CITY          TX   78582‐5110
RESENDEZ, TABITHA                 8525 FLOYD CURL DR APT 1308                                                                    SAN ANTONIO              TX   78240‐1521
RESENDEZ, TABITHA                 8525 FLOYD CURL DR                  APT 1308                                                   SAN ANTONIO              TX   78240‐1521
RESENDEZ, VELIA                   5614 MAPLE PARK DR                                                                             FLINT                    MI   48507
RESENDIZ MIGUEL PEREZ             RESENDIZ, MIGUEL PEREZ              601 HOWARD ST                                              SAN ANTONIO              TX   78212‐4301
RESENDIZ MIGUEL PEREZ             TELLES, DOLORES                     555 N CARANCAHUA ST STE 200                                CORPUS CHRISTI           TX   78478‐0021
RESENDIZ, MIGUEL
RESENDIZ, MIGUEL PEREZ            WIGINGTON RUMLEY LLP                601 HOWARD STREET                                          SAN ANTONIO              TX 78212
RESER, FRANKLIN D                 PO BOX 74                                                                                      CLARKSVILLE              MI 48815‐0074
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Name                               Address1                          Address2                       Address3                   Address4         City               State Zip
RESER, SARAH S                     922 S 4TH AVE                     C/O RICHARD SPICER/CONSERVATOR                                             ALPENA              MI 49707‐3106

RESER, WILMA J                     6536 84TH ST SE                                                                                              CALEDONIA          MI   49316‐8441
RESERVE ACCOUNT NO                 VENDOR CODE PD012204686           PO BOX 856056                                                              LOUISVILLE         KY   40285‐6056
RESETAR, MADELINE M                23 SANDALWOOD AVENUE                                                                                         TRENTON            NJ   08619‐2033
RESETAR, MADELINE M                9794 VIEWCREST DR                                                                                            FAIRFAX STATION    VA   22039
RESETARITS, MARY L                 4573 MORGAN PKWY                                                                                             HAMBURG            NY   14075‐3120
RESH, EUNICE O                     2040 DEERFIELD S.W.                                                                                          WARREN             OH   44485‐3945
RESH, GENE W                       4370 PRATTS ROAD                                                                                             MUNNSVILLE         NY   13409‐3005
RESH, OWEN E                       628 WADE CT                                                                                                  ROCHESTER HILLS    MI   48307‐5067
RESHAT & MINNIE HASSAN             4934 W FALLEN LEAF LANE                                                                                      GLENDALE           AZ   85310
RESHAT & MINNIE HASSAN             HASSAN FAMILY TRUST               4934 W FALLEN LEAF LANE                                                    GLENDALE           AZ   85310
RESHAT & MINNIE HASSAN             MINNIE HASSAN AND RESHAT HASSAN   F/T HASSAN FAMILY TRUST DATED   4934 W FALLEN LEAF LANE                    GLENDALE           AZ   85310‐3005
                                   TTEES                             9/21/90
RESHEL, JAMES P                    S65 W27784 RIVER RD                                                                                          WAUKESHA           WI   53188‐3188
RESHEL, JAMES P                    S65W27784 RIVER RD                                                                                           WAUKESHA           WI   53189‐9791
RESHEL, ROSE A                     S65W27784 RIVER RD                                                                                           WAUKESHA           WI   53189‐9791
RESHESKI, DOMINIC M                N5655 COUNTY ROAD T                                                                                          PRINCETON          WI   54968‐8371
RESHETTA ROBERTS                   1856 BRENTWOOD POINTE                                                                                        FRANKLIN           TN   37067‐6419
RESHMA NADKARNI                    7279 DEERING ST                                                                                              WESTLAND           MI   48185‐2613
RESIDE JR, THOMAS R                PO BOX 403                        2 LINVALE RD                                                               RINGOES            NJ   08551‐0403
RESIDE, BARRY M                    4114 S MILL RD                                                                                               DRYDEN             MI   48428‐9342
RESIDE, GAIL                       4114 S MILL RD                                                                                               DRYDEN             MI   48428‐9342
RESIDE, GAIL                       4114 MILL ST                                                                                                 DRYDEN             MI   48428
RESIDE, NEAL M                     PO BOX 234                                                                                                   DRYDEN             MI   48428
RESIDE, TIMOTHY C                  1644 REED RD                                                                                                 PENNINGTON         NJ   08534‐5005
RESIDENCE IN/NSHVILL               2300 ELM HILL PIKE                                                                                           NASHVILLE          TN   37214‐5118
RESIDENCE IN/TUKWILA               16201 W VALLEY HWY                                                                                           TUKWILA            WA   98188‐5529
RESIDENCE INN‐DETROIT PONTIAC      ATTN: ALAN HARRIS                 3333 CENTERPOINT PKWY                                                      PONTIAC            MI   48341‐3159
RESIDENTIAL CAPITAL CORPORATION    ATTN: GENERAL COUNSEL             1 MERIDIAN XING                 STE 100                                    RICHFIELD          MN   55423‐3938
RESIDENTIAL CAPITAL, LLC           ONE MERIDIAN CROSSINGS                                                                                       MINNEAPOLIS        MN   55423
RESIDENTIAL CAPUITAL, LLC          300 RENAISSANCE CTR                                                                                          DETROIT            MI   48265‐3000
RESIDENTIAL CARE ALTERNATIVE       8045 2ND AVE                                                                                                 DETROIT            MI   48202‐2403
RESIDENTIAL FUNDING CORP           ATTN ANDY JOHNSON MC 01‐06‐05     1 MERIDIAN XING                 STE 100                                    RICHFIELD          MN   55423‐3938
RESIDENTIAL HOME HEALTH            30755 BARRINGTON ST                                                                                          MADISON HEIGHTS    MI   48071‐1833
RESIDENTIAL HOME HEALTH            DAVID CURTIS                      30755 BARRINGTON ST                                                        MADISON HEIGHTS    MI   48071‐1833
RESIDENTIAL LAWN & SNOW            9407 COLDWATER RD                                                                                            FLUSHING           MI   48433‐1022
RESIDENTIAL SERVICES GROUP         9260 MARKETPLACE DR                                                                                          MIAMISBURG         OH   45342‐4478
RESIDENTIAL SERVICES GROUP, INC.   ERIC SALZER                       9260 MARKETPLACE DR                                                        MIAMISBURG         OH   45342‐4478
RESIE BLAKE                        2944 BURLINGTON DR                                                                                           SAGINAW            MI   48601‐6977
RESILIENCE CAPITAL PARTNERS LLC    25201 CHAGRIN BLVD STE 360                                                                                   CLEVELAND          OH   44122‐5633
RESILIENCE CAPITAL PARTNERS LLC    801 BERRYMAN PIKE                                                                                            TIPTON             IN   46072‐8492
RESILIENCE CAPITAL PARTNERS LLC    8146 BAVARIA DR E                                                                                            MACEDONIA          OH   44056‐2248
RESILIENCE CAPITAL PARTNERS LLC    TODD NORWOOD                      801 BERRYMAN PIKE                                                          MC CALLA           AL   35111
RESIMIUS, WILLIAM H                897 DU PRE CT                                                                                                SAINT PETERS       MO   63376‐2368
RESIN EXCH/CAPE GIRA               ONE PLASTICS AVENUE                                                                                          CAPE GIRARDEAU     MO   63701
RESIN SERVICES INC                 5959 18 1\2 MILE RD                                                                                          STERLING HEIGHTS   MI   48310
RESINO SALVATORE (356015)          ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                        NEW YORK           NY   10006‐1638
RESINO, SALVATORE                  ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                        NEW YORK           NY   10006‐1638
RESINOID ENGINEERING CORP          251 O NEILL DR                                                                                               HEBRON             OH   43025‐9680
RESINOID ENGINEERING CORP          PAT PARKE                         251 O'NEILL DRIVE                                                          ST CLAIR SHORES    MI
RESINOID ENGINEERING CORP.         PAT PARKE                         251 O'NEILL DRIVE                                                          ST CLAIR SHORES    MI
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Name                                Address1                         Address2                       Address3                 Address4                 City               State Zip
RESINTECH                           160 COOPER RD                    1 RESINTECH PLAZA                                                                WEST BERLIN         NJ 08091‐9243
RESIO, ROBERTO T                    4395 WILLESDON AVE                                                                                                HOLT                MI 48842‐2037
RESISTANCE WELDING TECHNOLOGY INC   24151 TELEGRAPH RD STE 210                                                                                        SOUTHFIELD          MI 48033‐3085

RESKA SPLINE PRODUCTS INC           25225 EASY ST                    PO BOX 964                                                                       WARREN             MI   48089‐4133
RESKA SPLINE/WARREN                 25225 EASY ST                                                                                                     WARREN             MI   48089‐4133
RESKE RAYMOND D                     5014 SURREY DR                                                                                                    STERLING HEIGHTS   MI   48310‐5192
RESKE, JAMES K                      54256 SHERWOOD LN                                                                                                 SHELBY TWP         MI   48315‐1534
RESKE, JEROME D                     7184 SIMON STREET                BOX 172                                                                          LEXINGTON          MI   48450
RESKE, JOHN A                       351 W OAKRIDGE ST                                                                                                 FERNDALE           MI   48220‐2750
RESKE, RAYMOND D                    5014 SURREY DR                                                                                                    STERLING HTS       MI   48310‐5192
RESKER JOHN (ESTATE OF) (650960)    LEVY PHILLIPS & KONIGSBERG       520 MADISON AVE , 31ST FLOOR                                                     NEW YORK           NY   10022
RESKER JOHN (ESTATE OF) (650960)    LEVY PHILLIPS & KONIGSBERG       800 3RD AVE 13TH FL                                                              NEW YORK           NY   10022‐4213
RESKER, JOHN                        LEVY PHILLIPS & KONIGSBERG       520 MADISON AVE, 31ST FLOOR                                                      NEW YORK           NY   10022
RESKO, LOUIS J                      6700 STONEY RIDGE RD                                                                                              N RIDGEVILLE       OH   44039‐1207
RESKY, DANIEL M                     14080 BIRD RD                                                                                                     BYRON              MI   48418‐9015
RESLER, AUDREY A                    2093 BERNICE AVE                                                                                                  FLINT              MI   48532‐3912
RESLER, AUDREY A                    2093 BERNICE                                                                                                      FLINT              MI   48532‐3912
RESLER, JUDY                        1840 HUNTERS RIDGE DRIVE                                                                                          TROY               OH   45373‐5373
RESLER, MARY                        16395 HEATHER LANE, NO. 203                                                                                       MIDDLEBURG HTS.    OH   44130‐8327
RESLER, PATRICIA C.                 795 WOODLAND AVE                                                                                                  EL PASO            TX   79922‐2040
RESLINE LIMITED
RESMAN                              5144 SHERIDAN DRIVE                                                                                               WILLIAMSVILLE      NY 14221
RESMAN, ALLAN                       5144 SHERIDAN DR                                                                                                  WILLIAMSVILLE      NY 14221
RESMAT CORP
RESNER, CECILE                      12 HENDRIK LA. APT 42 E                                                                                           TARRYTOWN          NY   10591‐4828
RESNER, DAVID J                     2032 MAPLE AVE                                                                                                    CORTLANDT MANOR    NY   10567
RESNER, MURIEL                      56411 DICKENS DR                                                                                                  SHELBY TOWNSHIP    MI   48316‐4877
RESNER, NORMAN C                    8453 TOMPKINSVILLE RD                                                                                             GLASGOW            KY   42141‐7808
RESNER, ROBERT W                    38380 CHARTIER ST                                                                                                 HARRISON TWP       MI   48045‐3412
RESNICK, GARRET N                   5 SODEN LN                                                                                                        OLD BRIDGE         NJ   08857‐3916
RESNICK, NATHAN G                   APT B                            8551 MEGAN COURT                                                                 INDIANAPOLIS       IN   46256‐3611
RESNIK JARRET                       RESNIK, JARRET                   553 VAUGHN AVE                                                                   FORKED RIVER       NJ   08731
RESNIK, ELIZABETH                   553 VAUGHN AVE                                                                                                    FORKED RIVER       NJ   08731‐2230
RESNIK, JARRET                      553 VAUGHN AVE                                                                                                    FORKED RIVER       NJ   08731‐2230
RESNOVER, MALISSA M                 4507 EAGLE CREEK PKWY APT 208                                                                                     INDIANAPOLIS       IN   46254‐4374
RESOLUTE SYSTEMS INC                PO BOX 350                                                                                                        BROOKFIELD         WI   53008‐0350
RESOLUTION RESOURCES CORP           1360 PEACHTREE ST NE STE 1100    ONE MIDTOWN PLAZA                                                                ATLANTA            GA   30309‐3271
RESOLUTION SYSTEMS                  590 E 32ND ST                                                                                                     HOLLAND            MI   49423‐5376
RESORT RENT A CAR                   3700 E WASHINGTON ST                                                                                              PHOENIX            AZ   85034‐1710
RESORTE Y PRODUCTOS                 METALICOS S DE RL DE CV          PRIVADA RIO PILCOMAYO 183‐A    COL ARGENTINA CP 11230   DF MEXICO 14758942
                                                                                                                             MEXICO
RESORTES Y PRODUCTOS METALICOS SA   PRIVADA DE RIO PILCOMAYO 183‐A                                                           MEXICO DF 11230 MEXICO

RESOURCE CAREERS INC                DBA OPTIONS/RESOURCE CAREERS     925 HARVEST DR STE 190                                                           BLUE BELL          PA   19422‐1956
RESOURCE CENTER                     1401 S GRAND TRAVERSE ST                                                                                          FLINT              MI   48503‐3794
RESOURCE COLLECTION INC             PO BOX 1590                                                                                                       SUNSET BEACH       CA   90743‐1590
RESOURCE CONS/BRNTWD                PO BOX 1848                      7121 CROSSROADS BLVD.                                                            BRENTWOOD          TN   37024‐1848
RESOURCE CONSULTING GROUP           30800 NORTHWESTERN HWY FL 2                                                                                       FARMINGTON HILLS   MI   48334‐2550
RESOURCE DEVELOPMENT PROP INC       1812 UNIVERSITY BLVD             PO BOX 2069                                                                      ANDERSON           IN   46012‐3101
RESOURCE EQUIPMENT CO               A DYRON CORP                     14938 SIERRA BONITA LN STE B                                                     CHINO              CA   91710‐9600
RESOURCE MECHANICAL INSULATION      47461 CLIPPER ST                                                                                                  PLYMOUTH           MI   48170‐2470
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Name                               Address1                        Address2                      Address3   Address4         City             State Zip
RESOURCE NETWORK                   ATTN: MARY VIED                 91 N SAGINAW ST # 203                                     PONTIAC           MI 48342‐2186
RESOURCE NETWORK THE               80 E MARKET ST                                                                            HARRISONBURG      VA 22801‐4127
RESOURCE TECHNOLOGIES              PO BOX 3201                                                                               TROY              MI 48007‐3201
RESOURCE TECHNOLOGIES              431 STEPHENSON HWY              PO BOX 3201                                               TROY              MI 48083‐1130
RESOURCE TECHNOLOGIES CORP         431 STEPHENSON HWY              PO BOX 3201                                               TROY              MI 48083‐1130
RESOURCES CONNECTIOIN              ATTN: GENERAL COUNSEL           FILE #55221                                               LOS ANGELES       CA
RESOURCES CONNECTION               PHILO # 55221                                                                             LOS ANGELES       CA 90074‐5221
RESOURCES CONNECTION LLC           1000 TOWN CTR                   STE 975                                                   SOUTHFIELD        MI 48075‐1260
RESOURCES CONNECTION LLC           19575 VICTOR PKWY STE 130                                                                 LIVONIA           MI 48152‐7016
RESOURCES FOR HUMAN DEVELOPMENT/   319 N POTTSTOWN PIKE STE 309                                                              EXTON             PA 19341‐2212
POINT T
RESOURCES FOR THE FUTURE           1616 P ST NW                                                                              WASHINGTON       DC   20036
RESOURCES GLOBAL PROFESSIONALS     RESOURCES CONNECTION INC        FILE 55221 N/R 12/23/08                                   LOS ANGELES      CA   90074‐5221
RESOURCES GLOBAL PROFESSIONALS     55221 PHILO                     N/R 12/23/08 CP                                           LOS ANGELES      CA   90074‐5221
RESOVSKY, TIMOTHY P                23330 LAWRENCE AVE                                                                        DEARBORN         MI   48128‐1232
RESOVSKY, TIMOTHY PAUL             23330 LAWRENCE AVE                                                                        DEARBORN         MI   48128‐1232
RESPECKI, DANIEL R                 2838 S VASSAR RD                                                                          VASSAR           MI   48768‐9708
RESPECKI, DENNIS F                 12055 W LENNON RD                                                                         LENNON           MI   48449‐9725
RESPECKI, JOSEPH                   5840 COBBLESTONE DR                                                                       NORTH BRANCH     MI   48461‐8887
RESPERT, IRIS J                    8200 PINES RD APT 3304                                                                    SHREVEPORT       LA   71129‐4429
RESPERT, IRIS JANET                8200 PINES RD APT 3304                                                                    SHREVEPORT       LA   71129‐4429
RESPERT, JOHN A                    8200 PINES RD APT 3304                                                                    SHREVEPORT       LA   71129‐4429
RESPERT, ROSIE                     2741 COCKLEBUR RD                                                                         DECATUR          GA   30034‐2143
RESPESS, CHARLES                   GUY WILLIAM S                   PO BOX 509                                                MCCOMB           MS   39649‐0509
RESPONDEK, BEVERLY O               2101 N DOWN RIVER RD                                                                      GRAVLING         MI   49738
RESPONDEK, CATHERINE               TRLR 56                         2555 HENRY RUFF ROAD                                      INKSTER          MI   48141‐1588
RESPONDEK, GERALD P                29501 CURTIS RD                                                                           LIVONIA          MI   48152‐3431
RESPONDEK, SOPHIE R                19760 SUSSEX AVE                                                                          LIVONIA          MI   48152
RESPONSE INSURANCE                 SETTE & BONADIES PC             PO BOX 185366                                             HAMDEN           CT   06518‐0366
RESPRESS JIMMIE (429681)           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                   STREET, SUITE 600
RESPRESS JR, DONALD D              320 SAGEBRUSH DR                                                                          CLAYTON          OH   45315‐8737
RESPRESS WESLEY                    1626 ACADEMY PL                                                                           DAYTON           OH   45406‐4720
RESPRESS, BAMON                    PO BOX 68                                                                                 MUSELLA          GA   31066‐0068
RESPRESS, DONALD D                 APT A                           120 WEST HILL STREET                                      DECATUR          GA   30030‐4334
RESPRESS, EARLY D                  3263 DUBLIN DR                                                                            DECATUR          GA   30032‐7113
RESPRESS, JIMMIE                   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                   STREET, SUITE 600
RESPRESS, TORRANCE L               339 MCCOMBS CIR                                                                           NEW CASTLE       PA   16101‐9151
RESPRESS, WESLEY C                 1626 ACADEMY PL                                                                           DAYTON           OH   45406‐5406
RESS JR, ROBERT A                  218 W ADMIRAL WAY SOUTH DR                                                                CARMEL           IN   46032‐5153
RESS, DAVID P                      11710 WHITETAIL DR                                                                        MARILLA          NY   14102‐9714
RESSA, ANTHONY F                   63 BURKE ST                                                                               HAMDEN           CT   06514‐4817
RESSEGUIE, CHERYL K                4374 MARSHALL RD                                                                          CHARLOTTE        MI   48813‐8115
RESSEGUIE, JAMES L                 3300 NW 16TH AVE                                                                          POMPANO BEACH    FL   33064‐1406
RESSEGUIE, KELLY‐JO                2194 ERWIN DR                                                                             EULESS           TX   76039‐4270
RESSEGUIE, LYLE L                  2084 E BUDER AVE                                                                          BURTON           MI   48529‐1732
RESSEGUIE, MARLIN E                14244 SPRUCE LN                                                                           PORT CHARLOTTE   FL   33953‐5917
RESSEGUIE, MARYANN                 2415 BAY RIDGE DR                                                                         AU GRES          MI   48703‐9484
RESSEGUIE, ROBERT E                3590 ROUND BOTTOM RD                                                                      CINCINNATI       OH   45244‐3026
RESSEGUIE, ROBERT J                10868 COLBY LAKE RD                                                                       PERRY            MI   48872‐9794
RESSEGUIE, RUTH A                  310 PARIS AVE                                                                             LANSING          MI   48910‐3053
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Name                                Address1                             Address2                     Address3             Address4             City              State Zip
RESSIE D COPELAND                   4418 SAYLOR ST                                                                                              DAYTON             OH 45416
RESSIE MASSENGILL                   4002 WATERVIEW CT                                                                                           UTICA              MI 48316‐1464
RESSLAR, JOHN J                     19824 GALLAHAD DR                                                                                           MACOMB             MI 48044‐1755
RESSLER CHEVROLET CADILLAC          PO BOX 400                                                                                                  BOZEMAN            MT 59771‐0400
RESSLER CHEVROLET CADILLAC                                                                                                                      BOZEMAN            MT 59715
RESSLER CHEVROLET CADILLAC          1735 W MAIN ST                                                                                              BOZEMAN            MT 59715‐4013
RESSLER CHEVROLET CADILLAC TOYOTA   8474 HUFFINE LN                                                                                             BOZEMAN            MT 59718‐9421

RESSLER CHEVROLET, INC.             1500 2ND ST NE                                                                                              MANDAN            ND   58554‐3781
RESSLER CHEVROLET, INC.             DAVID RESSLER                        1500 2ND ST NE                                                         MANDAN            ND   58554‐3781
RESSLER MOTOR COMPANY, INC.         DAVID RESSLER                        PO BOX 400                                                             BOZEMAN           MT   59771‐0400
RESSLER MOTOR SUPPLY                PO BOX 400                                                                                                  BOZEMAN           MT   59771‐0400
RESSLER MOTOR SUPPLY                1735 W MAIN ST                                                                                              BOZEMAN           MT   59715‐4013
RESSLER MOTOR SUPPLY                                                     1735 W MAIN ST                                                                           MT   59715
RESSLER TRUCK SERVICE INC           5903 S WESTERN AVE                                                                                          MARION            IN   46953‐5803
RESSLER TRUCK SERVICE INC           ATTN: CORPORATE OFFICER/AUTHORIZED   5903 S WESTERN AVE                                                     MARION            IN   46953‐5803
                                    AGENT
RESSLER, DONALD J                   816 W GRAMERCY AVE                                                                                          TOLEDO            OH   43612‐2420
RESSLER, DONALD JAMES               816 W GRAMERCY AVE                                                                                          TOLEDO            OH   43612‐2420
RESSLER, GALEN E                    5985 CUTHBERT RD                                                                                            WHITE LAKE        MI   48386‐1005
RESSLER, JEANNETTE                  13450 OAKDALE ST                                                                                            SOUTHGATE         MI   48195‐1711
RESSLER, JOHN A                     51 MEADOWLARK DR.                                                                                           HAMILTON          NJ   08690‐3554
RESSLER, KELLY M                    4458 TAMARACK DR                                                                                            PARMA             OH   44134‐6258
RESSLER, MARY E                     5383 FLORA DR                                                                                               LEWISBURG         OH   45338‐7722
RESSLER, MERVIN                     BIFFERATO GENTILOTTI & BIDEN         PO BOX 2165                                                            WILMINGTON        DE   19899‐2165
RESSLER, RICHARD J                  13721 ORCHARD ST                                                                                            SOUTHGATE         MI   48195‐1356
RESSLER, RONALD D                   139 RAYFORD CIR                                                                                             RUTLEDGE          TN   37861‐4957
RESSMAN, ARTHUR C                   81 THACKERAY CT                                                                                             TONAWANDA         NY   14150‐8032
RESSMAN, CARL J                     1139 LOCKWOOD DR                                                                                            LOCKPORT          NY   14094‐7125
RESSMAN, DAVID M                    720 GARDENWOOD DR                                                                                           LOCKPORT          NY   14094‐6379
RESSMAN, DAVID MICHAEL              720 GARDENWOOD DR                                                                                           LOCKPORT          NY   14094‐6379
REST LESTER                         REST, LESTER                         55 PUBLIC SQ STE 650                                                   CLEVELAND         OH   44113‐1909
REST, LESTER                        KAHN & ASSOCIATES                    55 PUBLIC SQ STE 650                                                   CLEVELAND         OH   44113‐1909
RESTAINER JR, JOHN A                1811 E HIGH ST                                                                                              BRYAN             OH   43506‐9498
RESTAINO, MARY                      11234 SPRING CREEK LANE                                                                                     ORLAND PARK       IL   60467‐7304
RESTANI, DITTMAR & HAUSER, P.A.,    ATTN: LARS BODNIEKS                  201 ALHAMBRA CIRCLE          SUITE 1050                                CORAT GABLES      FL   33134
RESTAURA/LAKE ORION                 PO BOX 1001                                                                                                 LAKE ORION        MI   48361‐1001
RESTEE ALLEN                        18453 ROSELAWN ST                                                                                           DETROIT           MI   48221‐2115
RESTEK CORPORATION                  110 BENNER CIR                                                                                              BELLEFONTE        PA   16823‐8433
RESTELLI LUCIANO ENRICO             LA SCALA                             STUDIO LEGALE E TRIBUTARIO   CORSO MAGENTA N 42   20123 MILANO ITALY
RESTELLI, RICHARD F                 1858 CONCORD DR                                                                                             ALLISON PARK      PA   15101‐1908
RESTEMAYER, MARK                    PO BOX 491                                                                                                  DEVILS LAKE       ND   58301‐0491
RESTER SAMUEL (631856)              BRAYTON PURCELL                      PO BOX 6169                                                            NOVATO            CA   94948‐6169
RESTER, DANIEL R                    2241 JOHN DODD RD                                                                                           WELLFORD          SC   29385
RESTER, MARCELLA C                  6030 CURTISS MIDDLEFIELD RD.                                                                                WEST FARMINGTON   OH   44491‐9713
RESTER, MARCELLA C                  6030 CURTIS MIDDLEFIELD RD                                                                                  WEST FARMINGTON   OH   44491‐9713
RESTER, PATRICK E                   683 BANKSHIRE DRIVE                                                                                         SUWANEE           GA   30024‐2605
RESTER, ROGER L                     3402 S IRISH RD                                                                                             DAVISON           MI   48423‐2440
RESTER, SAMUEL                      BRAYTON PURCELL                      PO BOX 6169                                                            NOVATO            CA   94948‐6169
RESTERHOUSE, JANET M                3927 E HIGH ST                                                                                              OAK CREEK         WI   53154‐4254
RESTIFO, SALVATORE                  3347 JASMINE DR                                                                                             SEVEN HILLS       OH   44131‐5112
RESTIVO ANGELO (661539)             WEITZ & LUXENBERG                    180 MAIDEN LANE                                                        NEW YORK          NY   10038
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Name                            Address1                             Address2                 Address3   Address4             City               State Zip
RESTIVO, ANGELO                 WEITZ & LUXENBERG                    180 MAIDEN LANE                                          NEW YORK            NY 10038
RESTIVO, VINCENT J              3128 LINKSLAND RD                                                                             MT PLEASANT         SC 29466‐8975
RESTLE, DAVID J                 274 MELROSE AVE                                                                               BOARDMAN            OH 44512‐2355
RESTLE, SCOTT A                 274 MELROSE AVE                                                                               BOARDMAN            OH 44512‐2355
RESTO, RAFAEL A                 PO BOX 4081                                                                                   AUBURN HILLS        MI 48057
RESTO, RAMONA                   231 TALMADGE ST                                                                               NEW BRUNSWICK       NJ 08901‐3038
RESTORATION TRAILS FOUNDATION   PO BOX 338                                                                                    NAUVOO               IL 62354‐0338
RESTORICK, STEVEN M             2757 GRAMER RD                                                                                WEBBERVILLE         MI 48892‐9314
RESTREPO, FARLEY                780 CARPENTER RD                                                                              NORTH BRUNSWICK     NJ 08902‐2262
RESTREPO, JUAN F                100 W HICKORY GROVE RD APT H1                                                                 BLOOMFIELD          MI 48304‐2169
RESTREPO, MARIO                 12650 SW 15TH ST APT F101                                                                     PEMBROKE PINES      FL 33027‐2179
RESTRICTED STOCK SYSTEMS INC    412 WALL ST                                                                                   PRINCETON           NJ 08540‐1504
RESTUCCIA I I I, JOSEPH         16C PACIFIC DR                                                                                WINFIELD PARK       NJ 07036‐6670
RESTUCCIA III, JOSEPH           16C PACIFIC DR                                                                                WINFIELD PARK       NJ 07036‐6670
RESTUCCIA JOSEPH                16C PACIFIC DR                                                                                WINFIELD PARK       NJ 07036‐6670
RESTUCCIO, KAREN L              PO BOX 205                                                                                    ROEBLING            NJ 08554‐0205
RESTUCCIO, OETIA E              1576 MAPLE DR                                                                                 HUBBARD             OH 44425‐2845
RESTUM, ALLIE                   34442 JEFFERSON AVE APT B16                                                                   HARRISON TWP        MI 48045‐3395
RESUE CARL                      39 FRUITWOOD DR                                                                               BURNT HILLS         NY 12027‐9763
RESULTS CHIROPRACTIC            33 S LEXINGTON SPRINGMILL RD                                                                  MANSFIELD           OH 44906‐1325
RESULTS PHYSIOTHERAP            PO BOX 843390                                                                                 BOSTON              MA 02284‐3390
RESULTZ MARKETING               PO BOX 60247                                                                                  CHARLESTON          SC 29419‐0247
RESUN LEASING, INCORPORATED     1200 SWEDESFORD RD                                                                            BERWYN              PA 19312‐1078
RESUN LEASING, INCORPORATED     ATTN: CORPORATE OFFICER/AUTHORIZED   1200 SWEDESFORD RD                                       BERWYN              PA 19312‐1078
                                AGENT
RESURFICE CORPORATION           P.O. BOX 361                         25 ORIOLE PKY                       ELMIRA ON N3B 1B6
                                                                                                         CANADA
RESURGENS ORTHOPAEDI            PO BOX 720580                                                                                 ATLANTA            GA   30358‐2580
RESURGENS PC                    PO BOX 720580                        RESURGENS ORTHOPEADICS                                   ATLANTA            GA   30358‐2580
RESZ, ELDON L                   APT 311A                             500 MOTT DRIVE                                           RAYMORE            MO   64083‐8161
RESZ, ELDON L                   500 N MOTT DR                        APT 311 A                                                RAYMORE            MO   64083
RESZEL, FLORENCE L              12210 HANFORD RD                                                                              SILVER CREEK       NY   14136
RESZEL, RICHARD F               47 PANAMA LN                                                                                  CHEEKTOWAGA        NY   14225‐4817
RESZETUCHA, ALAN A              96 GROTE ST                                                                                   BUFFALO            NY   14207‐2420
RESZETUCHA, WALTER J            7432 S SOURDOUGH DR                                                                           MORRISON           CO   80465‐2836
RESZEWSKI, CHRIS J              2372 ANDOVER BLVD                                                                             ROCHESTER          MI   48306‐4936
RESZKA, EVELYN A                1133 MAPLE ALBRIGHT SHORE                                                                     BEAVERTON          MI   48612
RESZKA, MICHAEL J               22 CHERRYWOOD RDG                                                                             HOLLAND            NY   14080‐9660
RESZKA, PAUL S                  3530 N GALE RD                                                                                DAVISON            MI   48423‐8444
RESZKA, PAUL S                  1043 MANITOU DR APT 106                                                                       TRAVERSE CITY      MI   49686
RESZKE, KENNETH J               2181 OLD HICKORY DR                                                                           BAY CITY           MI   48706‐9067
RESZKE, WILLIAM A               2183 E NEWBERG RD                                                                             PINCONNING         MI   48650‐9758
RESZLER, RICHARD P              1064 STEUBENVILLE RD SE                                                                       CARROLLTON         OH   44615‐9618
RET MAJOR LAURA MERRIOTT
RETA A CARMICHAEL               9925 23 MILE RD MILE                                                                          EVART              MI   49631
RETA ANDERSON                   6639 RED CEDAR LN                                                                             W BLOOMFIELD       MI   48324‐3767
RETA BAILEY                     35900 WESTMINISTER AVE APT 220                                                                NORTH RIDGEVILLE   OH   44039‐1375
RETA BELLAMY                    50427 BRONSON RD                                                                              WELLINGTON         OH   44090‐9109
RETA BILODEAU                   6148 NEGLEY                                                                                   KYLE               TX   78640‐8921
RETA CARMICHAEL                 9925 23 MILE RD                                                                               EVART              MI   49631‐7808
RETA CARNNAHAN                  402 SOUTH WILSON LANE                                                                         ATOKA              OK   74525‐5151
RETA CLAYBORN                   2706 GRAND AVE                                                                                MIDDLETOWN         OH   45044‐6065
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Name                             Address1                        Address2                      Address3        Address4         City           State Zip
RETA GORDON                      2885 BEACHWALK LN                                                                              KOKOMO          IN 46902‐3789
RETA HARDAKER                    5191 WOODHAVEN CT APT 803                                                                      FLINT           MI 48532‐4192
RETA MAY                         3206 W ALTO RD                                                                                 KOKOMO          IN 46902‐4608
RETA MUNRO                       304 INVERNESS                                                                                  HIGHLAND        MI 48357‐4770
RETA MURPHY                      3414 N EEL RIVER CEMETERY RD                                                                   PERU            IN 46970‐7697
RETA PATTERSON                   8467 HAMBURG RD                                                                                BRIGHTON        MI 48116‐5224
RETA POINDEXTER                  1685 COAL PORT RD                                                                              ARTEMUS         KY 40903‐6081
RETA SCHAMEL                     87 MADRID AVE                                                                                  BROOKVILLE      OH 45309‐1225
RETA SPENCER                     953 S IRON MAN RD                                                                              WESTPORT        IN 47283
RETA SWALLOW                     2734 FIELDBROOK CT                                                                             TROY            OH 45373‐6504
RETAIL PROPERTIES, LIMITED       ATTN: LEONARD MARX, JR.         708 THIRD AVENUE                                               NEW YORK        NY 10017
RETAIL VENTURES SERVICES, INC.   STEVEN MILLER                   4150 E 5TH AVE                                                 COLUMBUS        OH 43219‐1802
RETAILERS NATIONAL BANK          ACCT OF JEFFREY C KURTZE        29532 SOUTHFIELD RD STE 200                                    SOUTHFIELD      MI 48076‐2023
RETALLACK, WILLIAM J             387 BAUMAN RD                                                                                  BUFFALO         NY 14221‐3807
RETAN PHILIP A (463176)          WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                NEW YORK        NY 10038
RETAN, CAROLYN E                 7621 CRESTVIEW DR                                                                              TOANO           VA 23168‐9063
RETAN, DAVID E                   23006 BERNARD ST                                                                               TAYLOR          MI 48180‐3577
RETAN, GEORGE W                  5315 MYRAS CT                                                                                  CUMMING         GA 30040‐6045
RETAN, HAROLD E                  22 HOLLYLAUREL DR                                                                              SPRING          TX 77382‐1335
RETAN, JACK L                    1802 E WHITNEY WAY AVE                                                                         JOPLIN          MO 64801‐9082
RETAN, PHILIP A                  WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                                NEW YORK        NY 10038
RETAR, JOHN A                    29431 VALLEY VIEW DR                                                                           WICKLIFFE       OH 44092‐2030
RETCHER, BETTY E                 214 HARDING ST                  BROOKVIEW HEALTHCARE                                           DEFIANCE        OH 43512‐1314
RETCHER, DONALD W                2865 S STATE ROUTE 66                                                                          DEFIANCE        OH 43512‐9088
RETCHER, ERIC T                  5315 STEVER RD                                                                                 DEFIANCE        OH 43512‐9736
RETCHER, ERIC THOMAS             5315 STEVER RD                                                                                 DEFIANCE        OH 43512‐9736
RETCHER, JERRY I                 28071 HOFFMAN RD                                                                               DEFIANCE        OH 43512‐8935
RETCHER, JERRY IRVIN             28071 HOFFMAN RD                                                                               DEFIANCE        OH 43512‐8935
RETCHER, JUNIOR H                23708 S STATE ROUTE 66                                                                         DEFIANCE        OH 43512‐8644
RETCHER, MARK L                  4145 MISTY SHORES DR                                                                           DEFIANCE        OH 43512
RETCHER, MARK LYNN               4145 MISTY SHORES DR                                                                           DEFIANCE        OH 43512
RETCHER, MELVIN D                22909 BOWMAN RD                                                                                DEFIANCE        OH 43512‐8991
RETCHER, MICHAEL A               5304 PIN TAIL PL                                                                               FORT WAYNE      IN 46818‐2532
RETCHER, ROBERT L                890 WEBSTER ST                                                                                 DEFIANCE        OH 43512‐1637
RETCHER, TERRY L                 15471 CR 143                                                                                   CECIL           OH 45821
RETCHKIMAN DAVID                 WHARTON UNIVERSITY              LAUDER‐FISCHER HALL 2ND FL    256 S 37TH ST                    PHILADELPHIA    PA 19104
RETCHLESS, HUBERT E              6908 PLAINVILLE RD                                                                             MEMPHIS         NY 13112‐9726
RETEK INC                        34550 CHESTER RD                                                                               AVON            OH 44011‐1350
RETEL, STEPHEN                   9500 N WINTER WREN AVE                                                                         TUCSON          AZ 85742‐8442
RETELL, DAISY M                  1825 VERMONT AVE                                                                               WHITE OAK       PA 15131‐2217
RETHA ( VICKERS                  5009 WAYNE CART                                                                                HUNTSVILLE      AL 35810
RETHA ARRA                       11676 ROSEBUD WAY                                                                              LESTER          AL 35647‐3220
RETHA BERRY                      21730 CLOVERLAWN ST                                                                            OAK PARK        MI 48237‐2671
RETHA BORTON                     8034 FORRISTER RD                                                                              ADRIAN          MI 49221‐9123
RETHA CLAYPOOL                   746 NOTTINGHAM DR                                                                              MEDINA          OH 44256‐3103
RETHA DAMON                      1222 W BOULEVARD                                                                               KOKOMO          IN 46902‐6103
RETHA DAVIS                      212 S CLINTON ST                                                                               SAINT LOUIS     MI 48880‐1711
RETHA EDMONDS                    13231 N 98TH AVE UNIT H                                                                        SUN CITY        AZ 85351‐3211
RETHA GAMBLE                     467 L ASHFORD RD                                                                               ACKERMAN        MS 39735‐5553
RETHA HARRIS                     7932 DARKE PREBLE CO LINE RD                                                                   ARCANUM         OH 45304‐9477
RETHA HASAN                      7346 CRYSTAL LAKE DR APT 1                                                                     SWARTZ CREEK    MI 48473‐8952
RETHA J THOMPSON                 PO BOX 3436                                                                                    WARREN          OH 44485
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Name                     Address1                         Address2                  Address3   Address4                City            State Zip
RETHA JENNINGS           8212 SAWGRASS TRL                                                                             GRAND BLANC      MI 48439‐1874
RETHA KING               164 ATKINSON ST                                                                               ROCHESTER        NY 14608‐2102
RETHA L REYNOLDS         5421 DUNMORE DRIVE                                                                            DAYTON           OH 45459
RETHA LINDSEY            1704 NE 85TH TER                                                                              KANSAS CITY      MO 64155‐3067
RETHA LISTON             PO BOX 177                                                                                    ATLANTA          IN 46031‐0177
RETHA M DAMON            1222 W BOULEVARD                                                                              KOKOMO           IN 46902‐6103
RETHA M KING             164 ATKINSON ST                                                                               ROCHESTER        NY 14608‐2102
RETHA MILLER             5316 OAKCREST AVE                                                                             YOUNGSTOWN       OH 44515‐4044
RETHA ORR                1022 MANN AVE                                                                                 FLINT            MI 48503‐4942
RETHA P PHILLIPS         3437 MICHAEL DR 31                                                                            NEW CARLISLE     OH 45344
RETHA REYNOLDS           5421 DUNMORE DR                                                                               DAYTON           OH 45459‐1132
RETHA RICE               2325 COUNTY ROAD 42                                                                           DAWSON           AL 35963‐3145
RETHA SELBY              3230 RAIBLE AVE                                                                               ANDERSON         IN 46011‐4724
RETHA SUE ADAMS          795 IVY POPE RD                                                                               TALLAPOOSA       GA 30176
RETHA TERRELL            5948 VALLEY GREEN RD                                                                          LITHONIA         GA 30058‐3167
RETHA THOMPSON           PO BOX 3436                                                                                   WARREN           OH 44485‐0436
RETHA TONEY              5406 DELLWOOD DR                                                                              INDIANAPOLIS     IN 46235‐4132
RETHA TRUPP              85 BRANDT ST                                                                                  DAYTON           OH 45404‐2071
RETHA WAGONER            111 PICKARD DR                                                                                MCLOUD           OK 74851‐8400
RETHA WELLS              16772 SAINT MARYS ST                                                                          DETROIT          MI 48235‐3653
RETHA WOOD               47‐734 HUI KELU ST APT 8                                                                      KANEOHE          HI 96744‐4577
RETHAMEL, DENNIS A       8775 W GRAND RIVER RD                                                                         LAINGSBURG       MI 48848‐8749
RETHAMEL, RICK L         6278 S COREY RD                                                                               PERRY            MI 48872‐9312
RETHER GRIFFIN           308 MAGNOLIA ST                                                                               EDWARDS          MS 39066‐8908
RETHER P GRIFFIN         308 MAGNOLIA ST                                                                               EDWARDS          MS 39066
RETHERFORD DANIEL        70300 ARNTZ RD                                                                                BURNS            OR 97720‐1676
RETHERFORD, CHARLES L    2560 N ARBUTUS CT                                                                             MIDLAND          MI 48642‐8822
RETHERFORD, DALLAS       3505 VILLAGE DR APT H                                                                         FRANKLIN         OH 45005‐5651
RETHERFORD, FARRELL J    140 LOWERY LN                                                                                 TUSCUMBIA        AL 35674‐9351
RETHERFORD, JOY B        P O BOX 903                                                                                   FRANKLIN         OH 45005‐5005
RETHERFORD, JULIA ROSE   1470 MARTHA                                                                                   BURTON           MI 48509‐2139
RETHERFORD, JULIA ROSE   1470 MARTHA AVE                                                                               BURTON           MI 48509‐2139
RETHERFORD, KELVIN K     6655 N LAKE RD                                                                                OTTER LAKE       MI 48464‐9700
RETHERFORD, LARRY L      814 E 1450 N                                                                                  SUMMITVILLE      IN 46070‐9392
RETHERFORD, LEONARD E    7317 PECK RD                                                                                  RAVENNA          OH 44266‐9723
RETHERFORD, MICHAEL D    123 LAKE ST                                                                                   CHESTERFIELD     IN 46017‐1006
RETHERFORD, PAUL E       5305 LINDA LN                                                                                 ANDERSON         IN 46011‐1423
RETHERFORD, RICHARD R    11025 KEELER RD                                                                               BROOKVILLE       IN 47012
RETHERFORD, TRAVIS E     PO BOX 834                                                                                    FRANKLIN         OH 45005‐0834
RETHFORD JR, DAVID       2425 SW 80TH ST                                                                               OKLAHOMA CITY    OK 73159‐4907
RETHIA SMITH             1867 SKILES STREET NORTH DRIVE                                                                INDIANAPOLIS     IN 46234
RETHLAKE, ANTOINETTE C   6549 W DO NS                                                                                  KOKOMO           IN 46901‐8811
RETHLAKE, MARY J         7887 W 00 NS                                                                                  KOKOMO           IN 46901‐8817
RETHMAN, BONITA          6600 AMESTERDAM CT                                                                            MIDDLETOWN       OH 45044
RETHMAN, DONALD D        278 E BEARD RD                                                                                MUNGER           MI 48747‐9743
RETHMAN, EDWARD J        998 N CTY RD 440                                                                              MANISTIQUE       MI 49854
RETHMAN, ELSIE O         WESTCHESTER VILLAGE APT.40       4055 1/2 W MICHIGAN AVE                                      SAGINAW          MI 48603
RETHMAN, RONALD A        5859 NANCY CT                                                                                 TAWAS CITY       MI 48763‐9412
RETHMANN AG & CO         HAFENSTR 45                                                           WEIL NW 79576 GERMANY
RETHMEL, CHRISTOPHER C   21551 WHISLER RD                                                                              DEFIANCE        OH 43512‐9658
RETI M HEETER            360 GEBHART CHURCH RD                                                                         MIAMISBURG      OH 45342
RETI, CHARLES J          18243 MOTT AVE                                                                                EASTPOINTE      MI 48021‐2741
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Name                           Address1                       Address2               Address3     Address4                 City              State Zip
RETI, DOROTHY C                C/O JOANN FEYERS               7421 NW 70TH AVENUE                                          TAMARAC            FL 33321
RETI, DOROTHY C                8600 W SUNRISE BLVD APT 209                                                                 PLANTATION         FL 33322
RETIA GAY                      1011 WESTERN HILLS DR                                                                       FLINT              MI 48532‐2160
RETIA ZEFFIRO                  1255 COUNTRY CLUB RD                                                                        MONONGAHELA        PA 15063
RETIC, ROBERTA                 29 S SHIRLEY ST                                                                             PONTIAC            MI 48342‐2847
RETIC, WILLIE J                11071 KENNEBEC ST                                                                           DETROIT            MI 48205‐3243
RETLAND, LINDA                 PO BOX 214361                                                                               AUBURN HILLS       MI 48321‐4361
RETLAND, WILLIE J              PO BOX 214433                                                                               AUBURN HILLS       MI 48321‐4433
RETLEWSKI, DANIEL R            1058 MIDLAND RD                                                                             BAY CITY           MI 48706‐9422
RETO REEDER                    5846 CURTICE RD                                                                             MASON              MI 48854‐9734
RETO, JOHN L                   820 SOUTHWESTERN RUN           #54                                                          YOUNGSTOWN         OH 44514‐3682
RETO, JOHN L                   820 SOUTHWESTERN RUN UNIT 54                                                                YOUNGSTOWN         OH 44514‐3682
RETOSKE, RITA M                2741 JAMES RIVER RD                                                                         WEST PALM BEACH    FL 33411‐5753
RETRIEVAL METHODS INC          1142 E BIG BEAVER RD                                                                        TROY               MI 48083‐1934
RETRIEVAL METHODS INC. (RMI)   TOM BRAUN                      1142 E BIG BEAVER RD                                         TROY               MI 48083‐1934
RETRO ROCKETS                  1703 MATTAWA AVE                                                   MISSISSAUGA ON L4X 1K5
                                                                                                  CANADA
RETROTEK INC                   PO BOX 29837                   201 E SHADY GROVE RD                                         DALLAS            TX   75229‐0837
RETROTEK INC                   PO BOX 29837                                                                                DALLAS            TX   75229‐0837
RETRUM, THOMAS L               1225 BIRCHWOOD DR                                                                           SAINT GERMAIN     WI   54558‐9238
RETS TECH CENTER               555 E ALEX BELL RD                                                                          CENTERVILLE       OH   45459‐2712
RETS TECH CENTER INC           555 E ALEX BELL RD                                                                          CENTERVILLE       OH   45459‐2712
RETSEL, MARY                   4382 LOTUS                                                                                  WATERFORD         MI   48329‐1236
RETSEL, MARY                   4382 LOTUS DR                                                                               WATERFORD         MI   48329‐1236
RETSEMA, ARTHUR W              1739 S PEORIA AVE              CONDO 37                                                     TULSA             OK   74120
RETSEMA, ROBERT J              4347 JACK ALAN ST SW                                                                        GRANDVILLE        MI   49418‐1734
RETSKY,MARVIN                  PO BOX 10076                                                                                VAN NUYS          CA   91410‐0076
RETT SHAVER                    631 COON RUN RD                                                                             WEST LIBERTY      KY   41472‐8873
RETT'S AUTOMOTIVE/MUFFLER      843 W DUARTE RD                                                                             MONROVIA          CA   91016‐4356
RETTA BEEMAN                   911 S ANDERSON ST                                                                           ELWOOD            IN   46036‐2331
RETTA C MCNEIL                 2811 MAURER RD                                                                              CHARLOTTE         MI   48813
RETTA CLOSE                    956 MANN AVE                                                                                FLINT             MI   48503‐4944
RETTA DILLON                   5682 ST HEDWIG                                                                              DETROIT           MI   48210
RETTA O'NEAL                   1055 JUDSON CT                                                                              GREENCASTLE       IN   46135‐1426
RETTA OCONNOR                  5492 BAILEY RD                                                                              MOUNT SHERMAN     KY   42764‐8502
RETTA RAMER                    167 KA LAMA PL                                                                              LEESBURG          FL   34788‐7994
RETTA STANSON                  624 E SCHOOL ST                                                                             ANDERSON          IN   46012‐1431
RETTA WILLIAMS                 3106 WALTERS DR                                                                             SAGINAW           MI   48601‐4656
RETTELL, BRUCE D               29731 SCHOOL SECTION RD                                                                     RICHMOND          MI   48062‐3306
RETTENMUND, BETTY L            1067 PINTAIL WAY CIR           OLD OAK TRAILS                                               SANFORD           MI   48657‐9267
RETTER BRADLEY                 1133 PATTERSON AVE                                                                          EARLE             AR   72331‐1331
RETTER, JACKIE C               1817 E 400 N                                                                                ANDERSON          IN   46012‐9398
RETTER, KENNETH D              1259 LAS BRISAS LN                                                                          WINTER HAVEN      FL   33881‐9757
RETTER, STEPHEN M              1100 TERRA WAY                                                                              ROSEVILLE         CA   95661‐4716
RETTERATH KATE                 RETTERATH, KATE                4711 N BAY DRIVE SE                                          MANDAN            ND   58554
RETTERATH, KATE                4711 N BAY DR SE                                                                            MANDAN            ND   58554‐4787
RETTERBUSH, ELIZABETH P        207 TATE AVE                                                                                ENGLEWOOD         OH   45322‐1621
RETTERBUSH, ROBERT S           1507 W HIGH ST                                                                              PIQUA             OH   45356‐2544
RETTERER, FREDERICK L          2057 SODOM HUTCHINGS RD NE                                                                  VIENNA            OH   44473
RETTERER, FREDERICK L          10705 EVERGALDES KITE CIR                                                                   ESTERO            FL   33928‐2463
RETTERER, HELEN W              2057 SODOM HUTCHINGS RD NE                                                                  VIENNA            OH   44473‐9751
RETTEW JACQUELINE              1078 OLDE FORGE XING                                                                        LANCASTER         PA   17601‐1737
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Name                             Address1                           Address2                    Address3   Address4         City            State Zip
RETTGER, TIMOTHY R               1720 LOCHINVAR BLVD                                                                        OAKLAND          MI 48363‐1819
RETTICH, DONALD R                843 STEWART DRIVE                                                                          ALPHA            OH 45301
RETTIG ENGINEERED PRODUCTS INC   9902 CARVER RD                     STE 100                                                 CINCINNATI       OH 45242‐5518
RETTIG, ANNE Z                   3768 DAMAS DR                                                                              COMMERCE TWP     MI 48382‐4417
RETTIG, ANTHONY A                2729 N DANCER RD                                                                           DEXTER           MI 48130‐9557
RETTIG, ANTHONY ALVIN            2729 N DANCER RD                                                                           DEXTER           MI 48130‐9557
RETTIG, ANTHONY J                8056 ALPINE AVE                                                                            SPARTA           MI 49345‐9387
RETTIG, FRANK E                  8 KENT ST                                                                                  BLASDELL         NY 14219‐1714
RETTIG, H. BETTY                 7173 E MICHIGAN RD                                                                         WALDRON          IN 46182‐9735
RETTIG, HARRY                    3963 SCOFIELD RD                                                                           EAST JORDAN      MI 49727‐9210
RETTIG, HELEN T                  2971 DELAWARE AVE                  APT 206                                                 BUFFALO          NY 14217‐2367
RETTIG, HELEN T                  APT 206                            2971 DELAWARE AVENUE                                    BUFFALO          NY 14217‐2367
RETTIG, JEROME C                 10163 PRAIRIE RAPIDS RD                                                                    TOMAHAWK         WI 54487‐8872
RETTIG, JOANNE                   12017 BENDING BRANCH ROAD                                                                  CHARLOTTE        NC 28227‐3663
RETTIG, KENNETH J                8030 TODD RD                                                                               TEMPERANCE       MI 48182‐9624
RETTIG, PAUL F                   69 CO RT. 23A                                                                              CONSTANTIA       NY 13044
RETTIG, WILFRED M                2080 HOOVERS RD                                                                            DUCK RIVER       TN 38454‐3308
RETTIG, WILFRED M                2080 HOOVERS ROAD                                                                          DUCK RIVER       TN 38454‐3308
RETTIG, WILLIAM W                6729 ANDERSONVILLE RD                                                                      CLARKSTON        MI 48346‐2703
RETTINGER BYRON                  RETTINGER, BYRON                   22260 HAGGERTY RD STE 250                               NORTHVILLE       MI 48167‐8985
RETTINGER, DONALD O              20100 ITHACA RD                                                                            BRANT            MI 48614‐8763
RETTINGER, LARRY G               2114 ZION RD                                                                               COLUMBIA         TN 38401‐6046
RETTINGER, LYLE G                8528 SANDI ACRES LOOP                                                                      SHREVEPORT       LA 71129‐9778
RETTINGER, LYLE GENE             8528 SANDI ACRES LOOP                                                                      SHREVEPORT       LA 71129‐9778
RETTINGER, SHIRLEE A             8528 SANDI ACRES LOOP                                                                      SHREVEPORT       LA 71129‐9778
RETTKE, ELFRIEDE                 2276 NORTON RD                                                                             STOW             OH 44224‐1522
RETTKOWSKI JR, OTTO E            N2901 TOWER RD                                                                             TIGERTON         WI 54486‐9274
RETTKOWSKI, ERVIN O              1827 BOND PL                                                                               JANESVILLE       WI 53548‐3413
RETTKOWSKI, RONALD R             17041 W KASTNER RD.                                                                        TIGERTON         WI 54486
RETTKOWSKI, TODD G               451 COUNTY ROAD Y                                                                          HATLEY           WI 54440‐9513
RETTMAN, MARILYN J               1391 SWAN COVE DRIVE                                                                       BATTLE CREEK     MI 49017‐8779
RETTMAN, MICHAEL J               5930 HIGHVIEW ST                                                                           DEARBORN HTS     MI 48127‐3034
RETTMAN, WALTER E                6855 COUNTRYVIEW DR                                                                        KALAMAZOO        MI 49009‐8897
RETTMANN, JAMES K                3140 COLLIER RD                                                                            TRAVERSE CITY    MI 49684
RETUS THOMAS                     7717 MONTCLAIR DR                                                                          FORT WAYNE       IN 46804‐3530
RETWRE WRETWTR                   REEWRT                             WETRWER                     EWRTET                      FGHFH            DE 43254
RETZ, BILLIE JEANNE              1301 S MEEKER AVE                                                                          MUNCIE           IN 47302‐3825
RETZ, CHARLES                    14100 E WINDSOR RD                                                                         SELMA            IN 47383‐9712
RETZ, CHARLES T.                 14100 E WINDSOR RD                                                                         SELMA            IN 47383‐9712
RETZ, GLENDA J                   604 W HEASTON ST                                                                           WINCHESTER       IN 47394‐1912
RETZ, GLENDA J                   604 HEASTON ST.                                                                            WINCHESTER       IN 47394‐1912
RETZ, JANICE M                   PO BOX 314                                                                                 WINDFALL         IN 46076‐0314
RETZ, JANICE MAY                 PO BOX 314                                                                                 WINDFALL         IN 46076‐0314
RETZ, JOANN C                    7913 UNDERHILL RD                                                                          BALTIMORE        MD 21237‐1442
RETZ, MICHAEL L                  2600 N WHEELING AVE APT 3B                                                                 MUNCIE           IN 47303‐1643
RETZ, ROSANNA B                  216 S WEST ST                                                                              WINCHESTER       IN 47394‐1813
RETZ, ROSANNA B                  216 SO WEST                                                                                WINCHESTER       IN 47394‐1813
RETZ, THOMAS D                   3509 N HARRISON RD                                                                         MUNCIE           IN 47304‐9513
RETZEL, W C                      EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR                                     DETROIT          MI 48265‐2000

RETZLAFF, EARL M                 1845 MONROVIA AVE SPC 42                                                                   COSTA MESA      CA 92627‐4572
RETZLAFF, EDGAR C                800 SOUTH RIVER RD                                                                         DES PLAINES     IL 60016
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Name                   Address1                          Address2                      Address3           Address4         City              State Zip
RETZLAFF, JOHN E       9011 NORTH TENNYSON DRIVE                                                                           MILWAUKEE          WI 53217‐1966
RETZLAFF, MICHAEL M    4743 W NOSS RD                                                                                      BELOIT             WI 53511‐9327
RETZLAFF, RICHARD C    1610 REYNOLDS RD APT 276                                                                            LAKELAND           FL 33801
RETZLER, CAROL L       48630 SUTTON BAY CT                                                                                 SHELBY TWP         MI 48315‐4281
RETZLER, REINHOLD K    12534 LENNRY AVE                                                                                    SHELBY TOWNSHIP    MI 48315‐1757
RETZLOFF, JAMES G      5933 E PAKES RD                                                                                     CRYSTAL            MI 48818‐9736
RETZLOFF, MARILYN J    6534 E PARADISE LN                                                                                  PRESCOTT VALLEY    AZ 86314‐2401
RETZLOFF, MARY JANE    6077 THORNCLIFF DR                                                                                  SWARTZ CREEK       MI 48473‐8853
RETZLOFF, STEPHEN L    6515 GRAHAM RD                                                                                      WATERFORD          MI 48327‐1603
RETZLOFF, WINIFRED L   THE LAURELS OF FULTON             RFD # 1                       4735 RANGER ROAD                    PERRINTON          MI 48871
REUAP RUA              2214 SHERIDAN ST                                                                                    JANESVILLE         WI 53546‐5983
REUBART, RAYMOND M     19 CONNOLLY DR                                                                                      SAINT LOUIS        MO 63135‐1018
REUBEN A HOLLIDAY
REUBEN A MERSHON       2908 ERTER DR                                                                                       SPRINGFIELD       OH   45503
REUBEN B STYLES        1309 TENNYSON AVENUE                                                                                DAYTON            OH   45406‐4348
REUBEN B STYLES        1309 TENNYSON AVE                                                                                   DAYTON            OH   45406‐4348
REUBEN BARNUM          3228 THORNHILL AVE                                                                                  KALAMAZOO         MI   49004‐3161
REUBEN BEST JR         19100 EDLIN AVE                                                                                     PLATTE CITY       MO   64079‐9711
REUBEN BOYD            134 OLD FIVE NOTCH RD                                                                               WHITESBURG        GA   30185‐2330
REUBEN BUTLER          NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                     DAINGERFIELD      TX   75638
REUBEN CANTU           9260 SHERWOOD DRIVE                                                                                 DAVISBURG         MI   48350‐1950
REUBEN CLARK           179 WESTON AVE                                                                                      BUFFALO           NY   14215‐3538
REUBEN COOK            12923 N ELM AVE                                                                                     REED CITY         MI   49677‐9436
REUBEN DANIEL          547 PEARSALL AVE                                                                                    PONTIAC           MI   48341‐2664
REUBEN DON             20 JILL TER                                                                                         RANCHO MIRAGE     CA   92270‐2635
REUBEN E FLOYD JR      184 COUNTRY LAKE DRIVE                                                                              MCDONOUGH         GA   30252‐2679
REUBEN ECHOLS          6160 STUMPH RD APT 306                                                                              PARMA             OH   44130‐1889
REUBEN ERRICKSON       ATTORNEY : DAVIDOW SHERMAN EDDO
                       WES
REUBEN ERRICKSON       ATTORNEY : DAVIDOW SHERMAN EDDO   ATTN: CORPORATE
                       WES                               OFFICER/AUTHORIZED AGENT
REUBEN EVANS           145 N ASTOR ST                                                                                      PONTIAC           MI   48342‐2503
REUBEN FLOYD           1663 FRANCES WHITE RD                                                                               TEMPLE            GA   30179‐2226
REUBEN FLOYD JR        184 COUNTRY LAKE DRIVE                                                                              MCDONOUGH         GA   30252‐2679
REUBEN FOX             6732 ALJEN RD                                                                                       MIDDLETOWN        OH   45042‐1203
REUBEN FULLER JR       356 W COUNTY ROAD 1075 N                                                                            LIZTON            IN   46149‐9416
REUBEN G GORDON        1446 SCIOTO ST                                                                                      YOUNGSTOWN        OH   44505
REUBEN GARCIA          6801 N ANN ARBOR RD                                                                                 DUNDEE            MI   48131‐9768
REUBEN GORDON JR       1603 BARNABY STREET                                                                                 NEWARK            DE   19702‐1512
REUBEN GRADY           3110 GREENVALE WAY                                                                                  DECATUR           GA   30034‐3504
REUBEN GREEN           2000 MACINTOSH CIR                                                                                  TROTWOOD          OH   45426‐5017
REUBEN HAMBY           145 LAURA LN                                                                                        FLORENCE          AL   35633‐5547
REUBEN HARRIS          226 EVERGREEN PL                                                                                    CHEEKTOWAGA       NY   14225‐3312
REUBEN HAYE            3201 HARGROVE RD E APT 501                                                                          TUSCALOOSA        AL   35405‐3439
REUBEN HERNANDEZ       108 W MASON ST                                                                                      FORT WORTH        TX   76110‐6221
REUBEN HILL            2309 KELLOGG AVE                                                                                    JANESVILLE        WI   53546‐5920
REUBEN IWEN            N 10799 COUNTY HIGHWAY H                                                                            GLEASON           WI   54435
REUBEN JONES           201 MILL STREAM LN                                                                                  ANDERSON          IN   46011‐1916
REUBEN JONES           7 SEABISCUIT DR                                                                                     TROY              MO   63379‐6926
REUBEN KANANEN         39530 BLAKESTON ST                                                                                  NOVI              MI   48377‐3703
REUBEN KELLER          THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                                       HOUSTON           TX   77017
REUBEN KNIGHT          1100 STRATH CLYDE WAY                                                                               MCDONOUGH         GA   30253‐8747
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Name                  Address1                          Address2                         Address3   Address4         City            State Zip
REUBEN L GORDON JR.   1603 BARNABY ST                                                                                NEWARK           DE 19702‐1512
REUBEN LEDFORD        903 CLARENDON AVE NW                                                                           CANTON           OH 44708‐4243
REUBEN LELAND         5765 W WILKINSON RD                                                                            OWOSSO           MI 48867‐8112
REUBEN LEWIS          6073 ASPEN WAY                                                                                 YPSILANTI        MI 48197‐1036
REUBEN LITTLE JR      906 E 139TH ST                                                                                 CLEVELAND        OH 44110‐2204
REUBEN LYNCH          428 TIMBERLEA DR APT 73                                                                        ROCHESTER HLS    MI 48309
REUBEN MBURU GITAU
REUBEN MCELHANY       1125 BROAD RUN RD                                                                              COATESVILLE     PA   19320‐4833
REUBEN MERIDETH       PO BOX 1183                                                                                    BRENTWOOD       TN   37024‐1183
REUBEN MIDDLEBROOKS   3701 PENBROOK LN APT 2                                                                         FLINT           MI   48507‐1490
REUBEN N CANTU        9260 SHERWOOD DRIVE                                                                            DAVISBURG       MI   48350‐1950
REUBEN ORTIZ          4190 S MAGRUDDER RD                                                                            SAINT LOUIS     MI   48880‐9116
REUBEN OSBORNE        2659 BRIER ST SE                                                                               WARREN          OH   44484‐5206
REUBEN OSBORNE III    3181 RANDOLPH ST NW                                                                            WARREN          OH   44485‐2526
REUBEN OWENS          304 WALTON AVE                                                                                 DAYTON          OH   45417‐1670
REUBEN OWENS          304 WALTON AVE                                                                                 DAYTON          OH   45417‐1670
REUBEN PARHAM         1220 CHARTER CLUB DR                                                                           LAWRENCEVILLE   GA   30043‐7518
REUBEN R FOX          6732 ALJEN RD                                                                                  MIDDLETOWN      OH   45042‐1203
REUBEN R. JENSEN
REUBEN REMPHREY JR    158 NORTHTURN LN                                                                               LEVITTOWN       PA   19054‐3823
REUBEN RING           992 E MOREHOUSE AVE                                                                            HAZEL PARK      MI   48030‐1246
REUBEN ROLLINS JR     PO BOX 4403                                                                                    FLINT           MI   48504‐0403
REUBEN SALINAS        PO BOX 188                                                                                     WASKOM          TX   75692‐0188
REUBEN SANFORD SR     89 WESLEY CHAPEL LN                                                                            VILLA RICA      GA   30180‐4396
REUBEN SARKAR         3110 N ALEXANDER AVE                                                                           ROYAL OAK       MI   48073‐3513
REUBEN SCRIBNER       1709 MAISONETTE DR                                                                             LANSING         MI   48911‐6018
REUBEN SNOW           228 OLD PLANTATION TRL NW                                                                      MILLEDGEVILLE   GA   31061‐9433
REUBEN STYLES         1309 TENNYSON AVE                                                                              DAYTON          OH   45406‐4348
REUBEN TAYLOR         15781 RUTHERFORD ST                                                                            DETROIT         MI   48227‐1923
REUBEN THORNTON       PO BOX 75                                                                                      MADISON         IL   62060‐0075
REUBEN WANJALA        20605 ROSCOMMON ST                                                                             HARPER WOODS    MI   48225‐2203
REUBEN WILSON         PO BOX 9011                                                                                    BOSSIER CITY    LA   71113‐9011
REUBEN YOUNG          BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS      OH   44236
REUBEN, DANIEL        90 KAREN PL                                                                                    EDISON          NJ   08817‐2355
REUBEN, MATTIE        SHANNON LAW FIRM                  100 W GALLATIN ST                                            HAZLEHURST      MS   39083‐3007
REUBENS, MARTIN M     1307 TURTLE LAKE DR                                                                            BIRMINGHAM      AL   35242‐6524
REUBER ALAN           REUBER, ALAN                      2525 WALLINGWOOD DR STE 704                                  AUSTIN          TX   78746‐6929
REUBER ALAN           REUBER CHEVROLET INC ALAN         2525 WALLINGWOOD DR STE 704                                  AUSTIN          TX   78746‐6929
REUBER ALAN           REUBER, ALAN                      1700 PACIFIC AVENUE 28TH FLOOR                               DALLAS          TX   75201

REUBER, ROBERT P      1819 COVENTRY DRIVE                                                                            DAYTON          OH   45420‐5420
REUBER, ROBERT P      1819 COVENTRY RD                                                                               DAYTON          OH   45420‐2403
REUBER, RUTH E        2695 SCHOLL DR                                                                                 RENO            NV   89503‐2122
REUBIN C BROMLEY      G PATTERSON KEAHEY P C            ONE INDEPENDENCE PLAZA SUITE                                 BIRMINGHAM      AL   35209
                                                        612
REUBY DAVIS           220 S GRANGER ST                                                                               SAGINAW         MI   48602‐2140
REUEL HOLTON          11943 MULLIKEN RD                 R#1                                                          MULLIKEN        MI   48861‐9759
REUER, JACK D         RR 2                                                                                           ASHLAND         OH   44805
REUER, JACK D         788 U S RTE 42 R D 2                                                                           ASHLAND         OH   44805‐9515
REUER, ROGER D        430 WOODLAND AVE                                                                               MANSFIELD       OH   44903‐1140
REUHL, DARRYL K       1532 RANGITA ST                                                                                FORT ATKINSON   WI   53538‐3119
REUKAUF, CHARLES A    105 THROMSON DRIVE                APTT‐107                                                     EDGERTON        WI   53534
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Name                         Address1                        Address2                        Address3                   Address4             City               State Zip
REUKAUF, CHARLES A           APT 107                         105 THRONSON DRIVE                                                              EDGERTON            WI 53534‐9206
REUKAUF, CHARLES A           105 THRONSON DR                 APT 107                                                                         EDGERTON            WI 53534
REUKAUF, ELNORA J            105 THRONSON DR #107                                                                                            EDGERTON            WI 53534‐9206
REUL, RONALD W               4727 LEONARD ST NW                                                                                              GRAND RAPIDS        MI 49534‐2144
REULING JR, RICHARD H        38 NEEDLELEAF DR                                                                                                NEWARK              DE 19702‐3507
REULING, BOBBY C             243 ROMNEY BLVD                                                                                                 NEWARK              DE 19702‐2671
REULING, BOBBY CARROL        243 ROMNEY BLVD                                                                                                 NEWARK              DE 19702‐2671
REUM DELORES                 2697 KOPSON CT                                                                                                  BLOOMFIELD HILLS    MI 48304‐1749
REUM JR, TOMMY J             12423 W STATE ROAD 28                                                                                           ALBANY              IN 47320‐9306
REUMERT & PARTNERS           26 BREDGADE                     PO BOX 3061 DK 1021                                        COPENHAGEN DENMARK
                                                                                                                        DENMARK
REUNION INDUSTRIES INC       DAN DEAR                        C/O ELITE ENTERPRISES INC       2701 S COLISEUM BLVD STE                        ARDEN              NC 28707
                                                                                             1158
REURINK, DOROTHY J           2424 HAGUE AVE SW                                                                                               WYOMING            MI 49519‐2244
REUS, BESSIE E               329 LILAC LN                                                                                                    MATTESON           IL 60443‐2883
REUSCH WILLIAM (447226)      KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                                   CLEVELAND          OH 44114
                                                             BOND COURT BUILDING
REUSCH, CARROLL F            44 WALDEN RIDGE TER                                                                                             CROSSVILLE         TN   38558‐6595
REUSCH, CHRISTOPHER L        1699 FORD RD                                                                                                    MIMS               FL   32754‐5716
REUSCH, DANIELLE R           8495 CHILLICOTHE LANCASTER RD                                                                                   AMANDA             OH   43102
REUSCH, ROBERT L             17103 RIDGE RD                                                                                                  HOLLEY             NY   14470‐9369
REUSCH, SCOTT C              332 N EUCLID AVE                                                                                                LAKE HELEN         FL   32744‐2403
REUSCH, SCOTT CHRISTAIN      332 N EUCLID AVE                                                                                                LAKE HELEN         FL   32744‐2403
REUSCH, WILLIAM              KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                                    CLEVELAND          OH   44114
                                                             BOND COURT BUILDING
REUSCHER, HENRY W            1913 NE 64TH ST                                                                                                 GLADSTONE          MO   64118‐3702
REUSCHER, RICHARD L          5502 NE SCANDIA LN APT 310                                                                                      KANSAS CITY        MO   64118‐5847
REUSCHER, RICHARD L          5502 NE SCANDIA DR              APT 310                                                                         CANSAS CITY        MO   64118
REUSCHLE, DEAN W             46175 ROCKLEDGE DR                                                                                              PLYMOUTH           MI   48170‐3507
REUSCHLING DONALD (447227)   KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                                   CLEVELAND          OH   44114
                                                             BOND COURT BUILDING
REUSCHLING, DONALD           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                                    CLEVELAND          OH 44114
                                                             BOND COURT BUILDING
REUSE
REUSE IT PLASTICS
REUSHER, WINNIE B            9076 DAWES ST                                                                                                   DETROIT            MI 48204‐2705
REUSHER, WINNIE B            9076 DAWES AVE                                                                                                  DETROIT            MI 48204‐2704
REUSS NORVELL L (459281)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA 23510
                                                             STREET, SUITE 600
REUSS, DAVID L               25222 W ROYCOURT                                                                                                HUNTINGTON WOODS   MI   48070‐1742
REUSS, GEORGE S              16660 W. S. RT 2                                                                                                GRAYTOWN           OH   43432
REUSS, LLOYD E               691 S HILLS RD                                                                                                  BLOOMFIELD HILLS   MI   48302‐1526
REUSS, MARK L                PO BOX 9022                                                                                                     WARREN             MI   48090
REUSS, NORVELL L             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA   23510‐2212
                                                             STREET, SUITE 600
REUSS,MARK L                 PO BOX 9022                                                                                                     WARREN             MI   48090
REUSSER, BRIAN L             12145 GOLDEN BLUFF CT                                                                                           INDIANAPOLIS       IN   46236‐8971
REUST, ROBERT T              1724 LONGLEAF DR                                                                                                MYRTLE BEACH       SC   29575
REUTER & REUTER INC          23001 HAWTHORNE BLVD STE 204                                                                                    TORRANCE           CA   90505‐3754
REUTER BARBARA               REUTER, BARBARA                 3721 SOUTH 83RD STREET CIRCLE                                                   LINCOLN            NE   68506
REUTER JEFF                  120 JACKMAN ST                                                                                                  JANESVILLE         WI   53545‐4027
REUTER JR, RICHARD A         8902 EAST SOUTH CIRCLE DRIVE                                                                                    CHURUBUSCO         IN   46723‐9367
                                     09-50026-mg                Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                                 Address1                           Address2            Address3         Address4                City               State Zip
REUTER JR, RICHARD A                 8902 E SOUTH CIRCLE DR                                                                          CHURUBUSCO          IN 46723‐9367
REUTER, BARBARA                      3721 S 83RD STREET CIR                                                                          LINCOLN             NE 68506‐4738
REUTER, CARL H                       14608 KILDARE LN                                                                                CEMENT CITY         MI 49233‐9061
REUTER, DAVID L                      8460 N FISH RD                                                                                  BLOOMINGTON         IN 47408‐9719
REUTER, DENNY D                      204 THE WOODS                                                                                   BEDFORD             IN 47421‐9369
REUTER, EUNICE H                     1610 WINDWOOD DR                                                                                BEDFORD             IN 47421‐3940
REUTER, EUNICE H                     1610 WINWOOD DR.                                                                                BEDFORD             IN 47421‐3940
REUTER, HAROLD W                     4364 HADLEY ROAD                                                                                METAMORA            MI 48455‐9636
REUTER, JEFFREY D                    120 JACKMAN ST                                                                                  JANESVILLE          WI 53545‐4027
REUTER, JOANNE A                     PO BOX 358553                                                                                   GAINESVILLE         FL 32635‐8553
REUTER, JOSEPH A                     10819 SWEETSEN ROAD                                                                             CAMBY               IN 46113‐9704
REUTER, MARY M                       1606 CEDAR AVE                                                                                  JEFFERSON CITY      TN 37760
REUTER, NITA J                       1 OAKRIDGE DR                                                                                   EUREKA SPRINGS      AR 72632‐9716
REUTER, PATRICIA L                   PO BOX 207                         7151 BAROTHY RD                                              WALHALLA            MI 49458‐0207
REUTER, PAUL W                       5430 LIMESTONE DR                                                                               FAIRFIELD           OH 45014‐2410
REUTER, PEARL V                      369 SEWARD                                                                                      PONTIAC             MI 48342‐3360
REUTER, PEARL V                      369 SEWARD ST                                                                                   PONTIAC             MI 48342‐3360
REUTER, PHILIP A                     5201 NYE RD                                                                                     HUDSON              MI 49247‐9229
REUTER, REINHOLD J                   28183 CAMPBELL DR                                                                               WARREN              MI 48093‐4901
REUTER, ROBERT J                     50564 LANGLEY DR                                                                                NOVI                MI 48374‐2528
REUTER, ROGER J                      30440 SPRINGLAND ST                                                                             FARMINGTON HILLS    MI 48334‐4670
REUTER, TERRY L                      2331 N PENNSYLVANIA ST                                                                          INDIANAPOLIS        IN 46205‐4343
REUTER, WALTER L                     PO BOX 43                          341 WEST MONROE                                              HECKER               IL 62248‐0043
REUTER, WALTER L                     341 W MONROE                       P O BOX 43                                                   HECKER               IL 62248‐0043
REUTERS AMERICA                      3011 W GRAND BLVD                                                                               DETROIT             MI 48202‐3096
REUTERS AMERICA INC                  717 OFFICE PKWY                                                                                 SAINT LOUIS         MO 63141‐7104
REUTERS AMERICA LLC                  GENERAL POST OFFICE                PO BOX 10410                                                 NEWARK              NJ 07193‐0410
REUTERS AMERICA LLC                  PO BOX                                                                                          NEWARK              NJ 07193‐0410
REUTERS AMERICA LLC
REUTHER, ALBERT H                    4489 MAPLERIDGE PL                                                                              KETTERING          OH   45429‐1829
REUTHER, ARDITH I                    3519 S EUCLID AVE                                                                               BAY CITY           MI   48706‐3457
REUTHER, CHARLENE S                  3353 SPARROW                                                                                    BURTON             MI   48519‐2846
REUTHER, COLLETTE T                  2211 ANTRIM CT                                                                                  DAVISON            MI   48423‐8439
REUTHER, DAVID A                     45916 CORNWALL ST                                                                               SHELBY TOWNSHIP    MI   48317‐4712
REUTHER, DORIS M                     51 KELSEY DR                                                                                    WEST SENECA        NY   14224‐1917
REUTHER, DORIS M                     51 KELSEY DRIVE                                                                                 WEST SENECA        NY   14224‐1917
REUTHER, FREDERICK J                 7550 GREENBORO DR APT 2                                                                         WEST MELBOURNE     FL   32904‐1640
REUTHER, FREDERICK J                 437 W SCHLEIER ST APT 20                                                                        FRANKENMUTH        MI   48734
REUTHER, GESCHE                      4489 MAPLERIDGE PL                                                                              KETTERING          OH   45429‐1829
REUTHER, HARRY V                     5107 COUNTYFAIR CT                                                                              MONEE              IL   60449‐8704
REUTHER, JENNIE L                    3540 LEE HILL RD                                                                                MAYVILLE           MI   48744
REUTHER, ROBERT W                    3433 MILLS ACRES ST                                                                             FLINT              MI   48506‐2171
REUTHER, RONALD A                    3519 S EUCLID AVE                                                                               BAY CITY           MI   48706‐3457
REUTHER, THERESIA P                  13850 N 111TH AVE                                                                               SUN CITY           AZ   85351‐2563
REUTLINGER, MARSHALL F               5852 MARLOW DR                                                                                  EAST SYRACUSE      NY   13057‐3022
REUTTER FABRIK FUER AUTOTEILE GMBH   INDUSTRIESTRASSE 38                                                     ST JOHANN IM PONGAU
                                                                                                             SALZBURG AT 5600
REUTTER FABRIK FUR AUTOTEILE GMBH    INDUSTRIESTR 23                                                         JOHANN A 5600 AUSTRIA
REUTTER GMBH                         THEODOR‐HEUSS‐STR 12                                                    WAIBLINGEN BW 71336
                                                                                                             GERMANY
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Name                                Address1                           Address2                       Address3           Address4               City               State Zip
REUTTER GMBH & CO KG FABRIK FUR AUT INDUSTRIESTR 23                                                                      SAINT JOHANN IM PONGAU
                                                                                                                         SALZBURG 5600 AUSTRIA

REUTTER METALL/AUSTR                   THEODOR‐HEUSS STR 12                                                              WAIBLINGEN GE 71336
                                                                                                                         GERMANY
REUTTER, CAROL A                       3890 VEGA DR                                                                                             LAKE HAVASU CITY   AZ    86404‐1723
REUTTER, DOUGLAS C                     22624 COLGATE ST                                                                                         FARMINGTON HILLS   MI    48336‐3616
REUTTER, MURIEL                        864 MANZANO DR                                                                                           WOLVERINE LAKE     MI    48390‐2031
REUTZEL KARL                           REUTZEL, KARL                   4425 PONY RD                                                             STEVENSVILLE       MT    59870
REUTZEL, KARL                          PO BOX 201                                                                                               LAKE ARROWHEAD     CA    92352
REUTZEL, KARL                          4425 PONY RD                                                                                             STEVENSVILLE       MT    59870‐6261
REUTZEL, ROBERT L                      140 LOVE RD                                                                                              VALENCIA           PA    16059‐2912
REUVEN BILGORAY                        C/O WEITZ & LUXENBERG P C       700 BROADWAY                                                             NEW YORK CITY      NY    10003
REV                                    MANISH MALLICK                  1335 S PRAIRIE AVE             UNIT 1905                                 CHICAGO            IL    60605‐3144
REV ANNA M PARISH                      2254 E BUDER AVE                                                                                         BURTON             MI    48529‐1776
REV ARTHUR C PRUIETT                   2074 E WHITTEMORE AVE                                                                                    BURTON             MI    48529‐1724
REV COLIN J LUCID                      242 MAIN ST                                                                                              MASSENA            NY    13662‐1901
REV DARRELL L PATTERSON                339 OAK ST                                                                                               MOUNT MORRIS       MI    48458‐1928
REV DAVID E ROWLAND                    11160 GABRIELLA DR                                                                                       CLEVELAND          OH    44130‐1470
REV DAVID G PAUL                       1714 N WEBSTER ST                                                                                        KOKOMO             IN    46901‐2104
REV DAVID ZIMDARS                      2015 KELLOGG AVE                                                                                         JANESVILLE         WI    53546‐3905
REV EDWARD WRIGHT                      212 MAIN ST                                                                                              MASSENA            NY    13662‐1902
REV EUGENE M YENNOCK                   3004 COURT ST                                                                                            SYRACUSE           NY    13208‐3219
REV GEORGE A WILLIAMS                  1613 JUNIPER AVE                                                                                         ELKINS PARK        PA    19027
REV HERBERT E SPENCE                   10 N MAIN ST APT 2                                                                                       MASSENA            NY    13662‐1149
REV INC                                6898 BROOK HOLLOW CT                                                                                     WEST BLOOMFIELD    MI    48322‐5206
REV JOHN J FEENEY                      75 STATE ST APT 108                                                                                      PORTLAND           ME    04101‐3725
REV KENNETH D ALLEN                    501 5TH ST                                                                                               BEDFORD            IN    47421‐2248
REV KREGG F BURRIS                     1112 M ST                                                                                                BEDFORD            IN    47421‐2929
REV LIVING TRUST, T H SCHOENBERG       C/O, THOMAS L ELLING SR AND     CONNIE L ELLING, CO‐TRUSTEES   66807 SEABURY RD                          IMLAY CITY         MI    48444
REV MARK A MCDANIEL                    151 WHITE LN                                                                                             BEDFORD            IN    47421‐9222
REV REED E BEARD                       500 GREENTREE DR APT 5                                                                                   BEDFORD            IN    47421‐9675
REV RICHARD A SCHROEDER                829 HONEYCRISP                                                                                           ROCHESTER HILLS    MI    48307
REV RICKY L HARTSELL                   647 S SPINNINGWHEEL LN                                                                                   BLOOMFIELD         MI    48304‐1324
REV ROMEO H TABBILOS                   1939 HUNTERS RIDGE DR                                                                                    BLOOMFIELD         MI    48304‐1037
REV SIDNEY L SMITH II                  25 W FAIRMOUNT AVE                                                                                       PONTIAC            MI    48340‐2733
REV SYLVIAN P POWELL                   1613 W 7TH ST                                                                                            MUNCIE             IN    47302‐2190
REV TR MORRIS KAPLAN U/A DD 12/28/00   S KAPLAN CO TTEE REV TR         MORRIS KAPLAN U/A DTD 12/28/00 2942 JUDITH DR                            MERRICK            NY    11566

REV WILLIAM BOLES
REV WILLIAM F JONES                    1300 W 10TH ST                                                                                           MUNCIE             IN 47302‐2260
REV. CURTIS GRAYER SR.                 29 BARTLETT ST                                                                                           BATTLE CREEK       MI 49014‐4107
REV. GUY LEONARD, II                   P.O.BOX 146                     1600 MALONE ROAD                                                         NESBIT             MS 38651
REV. JOHN HALDANE
REV.DALE SMALLWOOD                     REV.SMALLWOOD                   154 MCQUEEN LN                                                           MC KEE             KY    40447‐8850
REVA B BLACK                           2241 BELMONT DR                                                                                          LEXINGTON          KY    40516‐9672
REVA B WATKINS                         2003 RANDY SCOTT DR.                                                                                     W. CARROLLTON      OH    45449‐2613
REVA BAILEY                            3365 BOBENDICK ST                                                                                        SAGINAW            MI    48604‐1701
REVA BENEDICT                          302 OAK ST APT 101                                                                                       CEDAR SPRINGS      MI    49319‐9247
REVA BERGER                            502 WAYSIDE DR                                                                                           ASHLAND            OH    44805‐8613
REVA BLACK                             2241 BELMONT DR                                                                                          LEXINGTON          KY    40516‐9672
REVA BRIDENBAUGH                       344 N FURLONG RD                                                                                         LAURA              OH    45337‐9739
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Name               Address1                         Address2             Address3     Address4         City              State Zip
REVA BROWN         34A LEXINGTON CT                                                                    LOCKPORT           NY 14094‐5365
REVA BROWN         PO BOX 237                       11008 LAKESHORE DR                                 WATERS             MI 49797‐0237
REVA BYARD         4025 N BRENTWOOD DR                                                                 INDIANAPOLIS       IN 46235‐1403
REVA C COLE        1203 N AUKERMAN ST                                                                  EATON              OH 45320‐1557
REVA C KOSIER      5856 NETTLECREEK RD                                                                 URBANA             OH 43078‐8607
REVA CARLOCK       3565 GEORGIA LN                                                                     AMMON              ID 83406‐7808
REVA CLARK         3831 SHIERSON HWY                                                                   MANITOU BEACH      MI 49253‐9722
REVA COLE          1203 AUKERMAN ST                                                                    EATON              OH 45320‐1557
REVA COOPER        2150 S FAIRFIELD DR                                                                 MARION             IN 46953‐1273
REVA CORMAN        7100 E 48TH ST                                                                      LAWRENCE           IN 46226‐2613
REVA DE ROUSHA     150 CRISTY AVE                                                                      WATERFORD          MI 48328‐2810
REVA DENMAN        1717 N BUCKEYE ST                                                                   KOKOMO             IN 46901‐2221
REVA DILLON        6470 GARFIELD AVE                                                                   CASS CITY          MI 48726‐1467
REVA EDWARDS       637 WILLOW SPRINGS DR                                                               DAYTON             OH 45427‐2841
REVA EDWARDS       637 WILLOW SPRINGS DRIVE                                                            DAYTON             OH 45427‐2841
REVA FANNING       526 N WEST ST                                                                       NEVADA             MO 64772‐2128
REVA FISH          1704 SOUTH RIVER RD              APT TR14                                           JANESVILLE         WI 53546
REVA FIXSAL        3126 N FULLER DR                                                                    INDIANAPOLIS       IN 46224‐2309
REVA FORD          209 PARK END DR                                                                     DAYTON             OH 45415‐3532
REVA FOX           9062 ECKER RD                                                                       HARRAH             OK 73045‐7601
REVA GIBSON        619 S MARKET ST                                                                     KOKOMO             IN 46901‐5455
REVA GILIAN        5217 OLD SPICEWOOD SPRINGS RD    STE 809                                            AUSTIN             TX 78731
REVA GLAZE         123521 CORUNNA RD CHARLES COOK                                                      LENNON             MI 48449
REVA GOODMAN       10126 COOKEVILLE BOATDOCK RD                                                        BAXTER             TN 38544‐4845
REVA HARPER        PO BOX 162                                                                          BENHAM             KY 40807‐0162
REVA HOWARD        1340 SHARON DR                                                                      TITUSVILLE         FL 32796‐1987
REVA I TURNER      4033 STONEHAVEN RD                                                                  DAYTON             OH 45429‐1745
REVA J BLACKMON    901 PALLISTER ST APT 810                                                            DETROIT            MI 48202‐2675
REVA J FOX         9062 ECKER RD                                                                       HARRAH             OK 73045‐7601
REVA JONES         139 WATSON RD                                                                       CARYVILLE          TN 37714‐3929
REVA KING          5305 N STATE ROUTE 48                                                               LEBANON            OH 45036‐9475
REVA KINGEN        1505 E 1000 N                                                                       PENDLETON          IN 46064‐9418
REVA KINSER        2908 E LYNN ST                                                                      ANDERSON           IN 46016‐5634
REVA KOSIER        5856 NETTLECREEK ROAD                                                               URBANA             OH 43078‐8607
REVA LAPINE        8105 SALT SPRINGS RD                                                                MANLIUS            NY 13104‐8771
REVA M KELLEY      720 BROAD OAK DR                                                                    TROTWOOD           OH 45426‐2559
REVA M SAWYER      7065 RT 40                                                                          NEW CARLISLE       OH 45344
REVA MCKENZIE      40300 LANDAKER RD                                                                   POMEROY            OH 45769‐9691
REVA NEACE         9097 SNAKE RD                                                                       TROTWOOD           OH 45426‐4045
REVA O'HAIR        PO BOX 343                                                                          STANTON            KY 40380‐0343
REVA PARHAM        51 BURBANK TER                                                                      BUFFALO            NY 14214‐2640
REVA RICKETTS      4850 PARK MNR E APT 4219                                                            SHELBY TOWNSHIP    MI 48316‐4933
REVA ROGERS        PO BOX 427                                                                          WAYNESVILLE        OH 45068‐0427
REVA SAWYER        6849 EDGEWATER DR                                                                   NEW PORT RICHEY    FL 34652‐1506
REVA SCOTT         PO BOX 455                       1136 S HENRY                                       FARMINGTON         MO 63640‐0455
REVA SHARP         11655 GODFREY RD                                                                    MORRICE            MI 48857‐9617
REVA SLACK         537 S 8TH ST                                                                        HAMILTON           OH 45011‐3671
REVA SLOAN         RR 4 BOX 433                                                                        ALBANY             KY 42602‐9399
REVA SWISHER       10915 E GOODALL RD UNIT 28                                                          DURAND             MI 48429‐9774
REVA TURNER        4033 STONEHAVEN RD                                                                  KETTERING          OH 45429‐1745
REVA VERSCHUEREN   7020 OLD HOUSER RD                                                                  BOAZ               KY 42027‐9616
REVA W FORD        209 PARK END DR                                                                     DAYTON             OH 45415‐3532
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Name                          Address1                            Address2                      Address3        Address4         City               State Zip
REVA W ROGERS                 BOX =427                                                                                           WAYNESVILLE         OH 45068‐0427
REVA WALTERS                  4776 DEEPHOLLOW DR                                                                                 COLUMBUS            OH 43228‐5741
REVA WEST                     1319 REESE RD                                                                                      WOODSTOCK           GA 30188‐2214
REVA WHITT                    1405 S MAPLE AVE                                                                                   FAIRBORN            OH 45324‐3534
REVA, ALEXANDER               42526 LILLEY PTE BLVD                                                                              CANTON              MI 48187
REVADA L RIVERA               4454 TOLEDO ST                                                                                     DETROIT             MI 48209‐1369
REVAK, CATHERINE              10318 OLIVER LN                                                                                    ROYAL PALM BEACH    FL 33411‐3003
REVAK, CATHERINE              10318 OLIVER LANE                                                                                  WEST PALM BEACH     FL 33411‐3003
REVAK, GEORGE J               19 LANGMOORE DR                                                                                    EWING               NJ 08638‐1514
REVAK, JOSEPH W               4580 RHODE ISLAND DR APT 7                                                                         YOUNGSTOWN          OH 44515
REVAK, KELLIE M               6575 KILLDEER DR                                                                                   LINO LAKES          MN 55014‐5409
REVAK, LOUISE D               PO BOX 121                                                                                         FAIRBANK            PA 15435‐0121
REVAK, MARY                   6743 BRISTEL WOOD DR                UNIT 3                                                         BOARDMAN            OH 44512
REVAL                         ATTN ACCOUNTS RECEIVABLE            100 BROADWAY FL 22                                             NEW YORK            NY 10005‐4500
REVAL.COM
REVAL.COM INC                 100 BROADWAY                                                                                       NEW YORK           NY   10005
REVAL.COM INC                 ATTN: CHIEFT FINANCIAL OFFICER      100 BROADWAY FL 22                                             NEW YORK           NY   10005‐4500
REVAL.COM, INC.               ATTN: CHIEFT FINANCIAL OFFICER      100 BROADWAY FL 22                                             NEW YORK           NY   10005‐4500
REVAL.COM, INC.               100 BROADWAY                                                                                       NEW YORK           NY   10005
REVALEE, ARLENE               4232 CADILLAC DR                                                                                   FORT WAYNE         IN   46804‐4114
REVALEE, FRANK H              4232 CADILLAC DR                                                                                   FORT WAYNE         IN   46804‐4114
REVANUR RAVINDRA              POLYMER SCIENCE AND ENGINEERIN      120 GOVERNORS DR              UNIVERSITY OF                    AMHERST            MA   01003‐9263
                                                                                                MASSACHUSETTS
REVARD ALLEN J (626729)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                  STREET, SUITE 600
REVARD CAROL J (660211)       LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                     BIRMINGHAM         MI 48009‐5394
                                                                  406
REVARD III, JOSEPH A          4025 EMERALD DR                                                                                    BRIDGEPORT         MI 48722‐9570
REVARD, ALLEN J               GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
REVARD, CAROL J               LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                     BIRMINGHAM         MI 48009‐5394
                                                                  406
REVARD, DENNIS E              6451 BRIAN CIRCLE LN                                                                               BURTON             MI   48509‐1376
REVARD, GERALD T              115 JANA DR                                                                                        HOHENWALD          TN   38462‐2278
REVARD, LAWRENCE J            4401 N DICKERSON RD                                                                                MANTON             MI   49663‐9200
REVARD, RANDY A               APT 222                             7903 ELM AVENUE                                                RCH CUCAMONGA      CA   91730‐6849
REVEAL, AMI R                 4035 N BENNINGTON AVE APT 204                                                                      KANSAS CITY        MO   64117
REVEAL, GERALDINE L           SEVEN MASONIC DR 1 F 1                                                                             SPRINGFIELD        OH   45504
REVEAL, ROBERT L              3320 W 53RD ST                                                                                     ANDERSON           IN   46011‐9455
REVEKANT, HENRY F             183 QUARRY HILL EST                                                                                AKRON              NY   14001‐9788
REVEL, EDWARD M               1048 LITTLE CYPRESS KY                                                                             ATLANTIC BEACH     FL   32233‐4349
REVELES, MANUEL J             10340 HAYVENHURST AVE                                                                              GRANADA HILLS      CA   91344‐6601
REVELES, MIRIAM L             22140 VICTORY BLVD APT B114                                                                        WOODLAND HILLS     CA   91367‐1966
REVELES, RAMON PLASCENCIA
REVELEY, GERALD R             2516 INDIANA AVE                                                                                   SAGINAW            MI 48601‐5515
REVELEZ, MANUEL G             13413 NETZLEY PL                                                                                   CHINO              CA 91710‐4741
REVELL ALI                    PO BOX 277                                                                                         BELLEVUE           TX 76228‐0277
REVELL GMBH & CO. KG
REVELL HOWARD C (355020)      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                  STREET, SUITE 600
REVELL INC. A WHOLLY OWNED
SUBSIDIARY OF HOBBICO, INC.
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Name                              Address1                          Address2                       Address3   Address4                City           State Zip
REVELL JAMES (660935)             BRAYTON PURCELL                   PO BOX 6169                                                       NOVATO          CA 94948‐6169
REVELL, DAVID M                   2638 E 75 N                                                                                         LEBANON         IN 46052‐8122
REVELL, HOWARD C                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA 23510‐2212
                                                                    STREET, SUITE 600
REVELL, JAMES                     BRAYTON PURCELL                   PO BOX 6169                                                       NOVATO         CA   94948‐6169
REVELL, KENNETH C                 3703 LINDSEY CT                                                                                     ARLINGTON      TX   76015‐3521
REVELL, ROSE M                    238 BOTANY DR                                                                                       MARTINSBURG    WV   25404‐0745
REVELL, STEPHEN J                 2850 S FORDNEY RD                                                                                   HEMLOCK        MI   48626‐9717
REVELL, VERNON G                  7332 CHAIN LAKE DR                                                                                  SOUTH BRANCH   MI   48761‐9601
REVELLA BROWN                     940 PENNOCK BRIDGE RD                                                                               LANDENBERG     PA   19350‐1562
REVELLA FORDUM                    16850 WYOMING ST APT 210                                                                            DETROIT        MI   48221‐3413
REVELLA MC COMBS                  23 TENTMILL LN APT H                                                                                BALTIMORE      MD   21208‐2553
REVELLA SMITH                     201 E PINE                        PO BOX 173                                                        WESTPHALIA     MI   48894‐9815
REVELLA, RUTH M                   58376 SUMMER CHASE DR.                                                                              ELKHART        IN   46517‐9014
REVELLE CHARLES W (626730)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK        VA   23510
                                                                    STREET, SUITE 600
REVELLE, CHARLES W                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK        VA 23510‐2212
                                                                    STREET, SUITE 600
REVELLE, GILBERT E                405 NATIONAL ST                                                                                     PARK HILLS     MO   63601‐2257
REVELLE, LYNN R                   4302 WESTERN RD LOT 32                                                                              FLINT          MI   48506‐1885
REVELLE, MADGE L                  4277 CARMANWOOD DR.                                                                                 FLINT          MI   48507‐5604
REVELLE, TRUMAN R                 C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                                     EDWARDSVILLE   IL   62025
REVELLO, KENNETH W                426 S STATE ST                                                                                      WESTVILLE      IL   61883‐1656
REVELLS, JUDITH A                 6875 STONY CREEK RD                                                                                 YPSILANTI      MI   48197‐6609
REVELS JOSEPH ELIC                G PATTERSON KEAHEY PC             ONE INDEPENDENCE PLAZA SUITE                                      BIRMINGHAM     AL   35209
                                                                    612
REVELS JR, SAMUEL E               1379 W LAKE RD                                                                                      CLIO           MI   48420‐8807
REVELS, ANDREW                    278 KINGS WAY                                                                                       CANTON         MI   48188‐1129
REVELS, BRENETTA O                220 LINN CT APT A                                                                                   NORTH AURORA   IL   60542‐3338
REVELS, BREWSTER S                144 EAGLE ST                                                                                        UTICA          NY   13501‐3905
REVELS, CARL L                    W 4280 CO HWY H                                                                                     NEILLSVILLE    WI   54456
REVELS, CHARLES D                 2569 PHALANX MILLS HERNER RD                                                                        SOUTHINGTON    OH   44470‐9515
REVELS, CHRIS
REVELS, DIANA L                   9221 REECK RD                                                                                       ALLEN PARK     MI   48101‐1460
REVELS, DIANA L                   9221 REECK                                                                                          ALLEN PARK     MI   48101‐1460
REVELS, FRANCES                   4344 TYLER                                                                                          DETROIT        MI   48238‐3280
REVELS, FRANCES                   4344 TYLER ST                                                                                       DETROIT        MI   48238‐3280
REVELS, LATOYA P                  PO BOX 33326                                                                                        N ROYALTON     OH   44133‐0326
REVELS, LUCILLE                   PO BOX 1706                                                                                         JANESVILLE     WI   53547‐1706
REVELS, VERNIE                    27574 BUNERT                                                                                        WARREN         MI   48088
REVELTA KENNEBREW                 PO BOX 13746                                                                                        DETROIT        MI   48213‐0746
REVELY CLAUD W (439438)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK        VA   23510
                                                                    STREET, SUITE 600
REVELY, CLAUD W                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK        VA 23510‐2212
                                                                    STREET, SUITE 600
REVEN, ANN                        7115 E COUNTY ROAD 400 N                                                                            BROWNSBURG     IN   46112‐9460
REVENAUGH, DONNA G                329 S COMMERCE AVE                C/O MICHAEL J TROMBLEY                                            SEBRING        FL   33870‐3607
REVENAUGH, JAMES A                3159 CASTLETON CT                                                                                   ROCHESTER      MI   48306‐4773
REVENAUGH, KELLY C                1135 WOODVIEW DR                                                                                    FLINT          MI   48507‐4721
REVENAUGH, NANCY A                2310 DEER HOLW                                                                                      BURTON         MI   48519‐1705
REVENBURG GUS PONTIAC BUICK GMC   10150 TECUMSEH RD EAST AT         FOREST GLADE                              WINDSOR CANADA ON N8R
                                                                                                              1A2 CANADA
                                    09-50026-mg             Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32                               Exhibit B
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Name                                Address1                              Address2                      Address3                Address4             City             State Zip
REVENIA KENNER                      356 PLEASANT VALLEY RD                C/O AUDREY WILKINS                                                         CONNELLSVILLE     PA 15425‐6080
REVENS, ANNETTE B                   433 VALLEYMEADE DR                                                                                               KERNERSVILLE      NC 27284‐8053
REVENUE ANALYTICS INC               3100 CUMBERLAND BLVD SE               STE 1000                                                                   ATLANTA           GA 30339‐8101
REVENUE CANADA TAXATION             875 HERON RD                                                                                OTTAWA ON K1A 9Z9
                                                                                                                                CANADA
REVENUE CANADA TAXATION             875 HERON ROAD                                                                              OTTAWA ON K1A 9Z9
                                                                                                                                CANADA
REVENUE COMMISSIONER                HOUSTON COUNTY                        PO BOX 6406                                                                DOTHAN            AL   36302‐6406
REVENUE COMMISSIONER                TALLADEGA COUNTY                      PO BOX 1017                                                                TALLADEGA         AL   35161‐1017
REVENUE COMMISSIONER                PO BOX 1169                                                                                                      MOBILE            AL   36633‐1169
REVENUE COMMISSIONER                MARILYN E WOOD                        PO DRAWER 1169                                                             MOBILE            AL   36633‐1169
REVENUE COMMISSIONER                PO BOX 4779                           MONTGOMERY COUNTY                                                          MONTGOMERY        AL   36103‐4779
                                                                          COMMISSIONER
REVENUE COMMISSIONER LIMESTONE      COURTHOUSE                                                                                                       ATHENS            AL   35611
COUNTY
REVENUE MANAGER                     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 7                     CITY OF RENO                                 RENO             NV 89504‐0007

REVENUE MANAGER                     PO BOX 7                              CITY OF RENO                                                               RENO             NV 89504‐0007
REVENUE OFFICE                      STATE OF MICHIGAN DEPT OF             PO BOX 30657                  ENVIRONMENTAL QUALITY                        LANSING          MI 48909‐8157
REVENUE PROCESSING DIVISION         PO BOX 25127                                                                                                     SANTA FE         NM 87504‐5127
REVERBERI EMILIO                    VIA DE AMICIS 11                                                                            42027 MONTECCHIO
                                                                                                                                EMILIA (RE) ITALY
REVERE JR, JOHN H                   360 GLENSIDE CT.                                                                                                 TROTWOOD         OH 45426‐5426
REVERE TRANSPORTATION SERVICESINC   9640 AEROSPACE DR                                                                                                SAINT LOUIS      MO 63134

REVERE, ESTELLA C                   722 OAKLEAF DR                                                                                                   DAYTON           OH    45408‐1542
REVERE, GILBERT                     5531 HEMPLE RD.                                                                                                  MIAMISBURG       OH    45342‐1044
REVERE, GILBERT                     5531 HEMPLE RD                                                                                                   MIAMISBURG       OH    45342‐1044
REVERE, MOLLIE M                    317 WALTON AVE                                                                                                   DAYTON           OH    45417‐1669
REVERE, MYRTLE J                    138 SHELDON                                                                                                      CLIO             MI    48420‐1419
REVERE, MYRTLE J                    138 SHELDON AVE                                                                                                  CLIO             MI    48420‐1419
REVERING DAVID A (354583)           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA    23510
                                                                          STREET, SUITE 600
REVERING, DAVID A                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510‐2212
                                                                          STREET, SUITE 600
REVERLY A DOGGETT                   468 HARVEST DR                                                                                                   TRENTON          OH 45067‐8619
REVERLY DOGGETT                     468 HARVEST DR                                                                                                   TRENTON          OH 45067‐8619
REVERS WALTER J (472151)            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510
                                                                          STREET, SUITE 600
REVERS, WALTER J                    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510‐2212
                                                                          STREET, SUITE 600
REVESZ, FRANK                       4781 DOROTHY ST                                                                                                  VASSAR           MI    48768‐1563
REVESZ, JOSEPH                      1528 DRUID DR                                                                                                    COPLEY           OH    44321‐2050
REVESZ, KURT D                      2692 MUSSER RD                                                                                                   MANCELONA        MI    49659‐9514
REVESZ, KURT D                      1320 MCEWEN ST                                                                                                   BURTON           MI    48509‐2129
REVESZ, M                           11923 DIEHL RD.                                                                                                  NORTH JACKSON    OH    44451
REVETT, WILLIAM J                   FOUR SEASONS ESTATES #474             13225 101ST                                                                LARGO            FL    33773
REVETTE, BERNARD N                  24 WOODWORTH DR                                                                                                  CENTRAL SQUARE   NY    13036‐2174
REVETTE, DANIEL P                   2203 SCHAUMAN CT                                                                                                 BAY CITY         MI    48706‐9494
REVETTE, DARRELL F                  240 LAGOON BEACH DR                                                                                              BAY CITY         MI    48706‐1435
REVETTE, HAROLD D                   1754 KENDERICKS STREET                                                                                           SAGINAW          MI    48602
REVETTE, JAMES B                    43 WEBER RD                                                                                                      CENTRAL SQUARE   NY    13036‐2109
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Name                          Address1                         Address2                        Address3          Address4               City               State Zip
REVETTE, RONALD P             705 STATE ST                                                                                              BAY CITY            MI 48706‐3785
REVETTI, ANTIMO J             1684 LANCASTER DR                                                                                         YOUNGSTOWN          OH 44511‐1037
REVEZZO, ANDREW A             1857 BEECHWOOD NE                                                                                         WARREN              OH 44483‐4135
REVIER BRIDGET                3926 WEST SOUTH WOOD LAKE DR                                                                              COLUMBUS            IN 47201‐4954
REVIER, BARNEY A              6 WARREN AVE                                                                                              MASSENA             NY 13662‐1445
REVIER, ELIZABETH M           9 KIRBY RD APT 8                                                                                          SARATOGA SPRINGS    NY 12866‐9286
REVIER, ELIZABETH M           9 KIRBY ROAD, APT. 8                                                                                      SARATOGA SPRINGS    NY 12866
REVIER, GRACE A               503 HUMBOLDT STREET                                                                                       ROCHESTER           NY 14610‐1220
REVIERE, RASHE R              14915 MINOCK ST                                                                                           DETROIT             MI 48223
REVIERE, RASHE ROB            14915 MINOCK ST                                                                                           DETROIT             MI 48223
REVIES, TERRACE               PORTER & MALOUF PA               4670 MCWILLIE DR                                                         JACKSON             MS 39206‐5621
REVIEW NEWSPAPERS             1123 W PARK AVE                                                                                           NILES               OH 44446‐1188
REVIFA SPA                    VIA XXV APRILE 17                                                                  FABBRICO 42042 ITALY
REVIFA SPA REGGIANA VITERIE   MONIKA CH MAYER 0114             VIA XXV APRILE 17                                 NEUWIED GERMANY
REVIFA SPA REGGIANA VITERIE   VIA XXV APRILE 17                                                                  FABBRICO 42042 ITALY
REVIFA SPA REGGIANA VITRRIE   MONIKA CH MAYER 0114             VIA XXV APRILE 17                                 NEUWIED GERMANY
REVIFIT SA                    VIA CANTU 8
REVIFIT SA REVIFIT SA         VIA CANT┘ 8
REVILL, DONALD                142 N HILL DR                                                                                             WESTAMPTON         NJ   08060‐5722
REVILLO STEVENS               2200 W TEMPERANCE RD                                                                                      TEMPERANCE         MI   48182‐9768
REVILS JR, FRED C             9504 STONEHAVEN DR                                                                                        SHREVEPORT         LA   71118‐4513
REVILS JR, FRED CHARLES       9504 STONEHAVEN DR                                                                                        SHREVEPORT         LA   71118‐4513
REVILS, FRED C                7516 WATERWOOD DR                                                                                         GREENWOOD          LA   71033‐3365
REVILS, RONALD D              3843 S 400 E                                                                                              BRINGHURST         IN   46913‐9532
REVINSKI, CHESTER             9 DIX ST                                                                                                  NEW BRUNSWICK      NJ   08901‐2203
REVINSKI, LEONARD             327 W 5TH ST                                                                                              MOUNT CARMEL       PA   17851‐1903
REVIS BRACKEEN                NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT        205 LINDA DRIVE                          DAINGERFIELD       TX   75638
REVIS WILLIAM T (481275)      KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                            CLEVELAND          OH   44114
                                                               BOND COURT BUILDING
REVIS, EDITH M                215 N CANAL                      BOX 107                                                                  LANSING            MI   48917‐9771
REVIS, EDITH M                215 N CANAL RD LOT 107                                                                                    LANSING            MI   48917‐8670
REVIS, FRANCES E              6247 N STATE RD                                                                                           DAVISON            MI   48423‐9365
REVIS, FRANCIS E              5012 SIERRA CIR S                                                                                         DAYTON             OH   45414‐3688
REVIS, FRED B                 32 HATHAWAY COMMONS                                                                                       LEBANON            OH   45036‐3832
REVIS, JUDY A                 2333 W 300 S                                                                                              KOKOMO             IN   46902‐4753
REVIS, LINDA J                215 N CANAL RD LOT 17                                                                                     LANSING            MI   48917‐8664
REVIS, LLOYD D                3600 WOODSIDE DR NW                                                                                       WARREN             OH   44483‐2144
REVIS, MARTIN L               2333 W 300 S                                                                                              KOKOMO             IN   46902‐4753
REVIS, ROBERT A               6040 STODDARD HAYES RD                                                                                    FARMDALE           OH   44417‐9773
REVIS, ROMONIA C              158 DELCO ST                                                                                              PONTIAC            MI   48342‐2403
REVIS, WILLIAM T              KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                             CLEVELAND          OH   44114
                                                               BOND COURT BUILDING
REVISH, SELWYN                5952 SO ADA ST                                                                                            CHICAGO            IL   60636
REVISKY, KATHERINE            2777 NORTH 41ST RD                                                                                        SHERIDAN           IL   60551‐9488
REVISKY, KATHERINE            2777 N 41ST RD                                                                                            SHERIDAN           IL   60551‐9488
REVITZER, LOIS C              3300 LONGMEADOW                                                                                           TRENTON            MI   48183‐3483
REVITZER, RONALD J            3684 WHISPERING PINES DR                                                                                  GLADWIN            MI   48624‐7915
REVITZER, WAYNE A             142 E SAWDUST CORNERS RD                                                                                  LAPEER             MI   48446‐8675
REVLETT CONNIE                180 E 1ST ST                                                                                              CALHOUN            KY   42327‐2200
REVLETT, DENNIS R             PO BOX 7656                                                                                               FLINT              MI   48507‐0656
REVLETT, DENNIS RUSSELL       PO BOX 7656                                                                                               FLINT              MI   48507‐0656
REVLON CONSUMER PRODUCTS      237 PARK AVENUE                                                                                           NEW YORK           NY   10017
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Name                               Address1                           Address2                      Address3         Address4         City               State Zip
REVLON CONSUMER PRODUCTS           RONALD COHEN                       237 PARK AVENUE                                                 NEW YORK            NY 10017
CORPORATION
REVNEW, DOROTHY A                  522 LAC LA BELLE DR                                                                                OCONOMOWOC         WI    53066‐1529
REVNIK JR, STEPHEN J               2913 IROQUOIS AVE                                                                                  FLINT              MI    48505‐4000
REVNIK JR, STEPHEN JOSEPH          2913 IROQUOIS AVE                                                                                  FLINT              MI    48505‐4000
REVNIK, MYRNA E                    2913 IROQUOIS AVE                                                                                  FLINT              MI    48505‐4000
REVOCABLE LIVING TRUST OF ELEANOR  DONALD SINGER                      1543 FULTON DR                                                  MAPLE GLEN         PA    19002
SINGER
REVOCABLE TRUST OF CORINNE PACKMAN CORINNE PACKMAN                    99 SE MIZNER BLVD             #733                              BOCA RATON          FL   33432

REVOCABLE TRUST OF GAY GLEWEN      DAVID B WILLIAMS TRUSTEE           AVALON SQUARE                 222 PARK PLACE                    WAUKESHA           WI 53188
REVOCABLE TRUST OF STANLEY PACKMAN C/O STANLEY PACKMAN                99 SE MIZNER BLVD #733                                          BOCA RATON         FL 33432

REVOIR, JAMES A                     2516 RAILSIDE CIR SW                                                                              BYRON CENTER       MI    49315‐9477
REVOIR, JESSIE I                    2740 N CENTER RD                                                                                  SAGINAW            MI    48603‐2947
REVOIR, LOTTIE V                    12500 SNOW RD                                                                                     HANOVER            MI    49241‐9732
REVOIR, THOMAS R                    4330 VAN VLEET RD                                                                                 SWARTZ CREEK       MI    48473‐8594
REVOIRE, MILDRED                    200 SUN MEADOW DR                                                                                 SMITHTON           IL    62285‐1479
REVOLA LIMBERGER                    11484 WILSON RD                                                                                   OTISVILLE          MI    48463‐9733
REVOLDT, LEO H                      4466 BELSAY RD                                                                                    GRAND BLANC        MI    48439‐9120
REVOLDT, PEARL L                    866 DORAL DRIVE                                                                                   OXFORD             MI    48371‐6503
REVOLDT, ROBERT J                   1046 FOXGLOVE LN                                                                                  DAVISON            MI    48423‐7905
REVOLINSKI, ARTHUR J                3665 HAWKSHEAD DR                                                                                 CLERMONT           FL    34711‐6942
REVOLINSKI, MARGARET P              8 NORWALK AVE                                                                                     WHITING            NJ    08759
REVOLT, BARBARA D                   3328 WEATHERED ROCK CIR                                                                           KOKOMO             IN    46902‐6066
REVOLT, SHIRLEY D                   1312 MELANIE CT                                                                                   KOKOMO             IN    46902‐9326
REVOLUTION HEALTH                   1250 CONNECTICUT AVE NW STE 800                                                                   WASHINGTON         DC    20036‐2620
REVOLUTION RACING ENGINES LLC       PO BOX 895                                                                                        SAN MIGUEL         CA    93451‐0895
REVOLUTIONARY ENGINEERING INC       36865 SCHOOLCRAFT RD STE 1                                                                        LIVONIA            MI    48150‐1149
REVOLUTIONARY SYSTEMS LLC           50 CRAGWOOD RD STE 302                                                                            SOUTH PLAINFIELD   NJ    07080‐2434
REVOLVER MARKETING GROUP LLC        5133 HARDING RD STE 182                                                                           NASHVILLE          TN    37205
REVOLVING VENDORS                   TO BE USED ONLY BY THE VNA        IF QUESTIONS PLEASE CONTACT   SOPHIA GORDON
REVONA LUNDY                        PO BOX 261                                                                                        TRENTON            OH    45067‐0261
REVORD CLYDE                        DBA C & B ENTERPRISE              7900 EVERGREEN WAY                                              EVERETT            WA    98203‐6418
REVORD, ALLEN A                     1968 KLOHA RD                                                                                     BAY CITY           MI    48706‐9327
REVORD, CHARLENE                    12407 HEBRON MAIL ROUTE                                                                           CHEBOYGAN          MI    49721
REVORD, DONALD A                    902 FRASER RD                                                                                     KAWKAWLIN          MI    48631‐9472
REVORD, EDWARD D                    1697 N MANISTEE RIVER RD                                                                          GRAYLING           MI    49738‐8932
REVORD, GLEN R                      1890 LEBOURDAIS RD                                                                                LINWOOD            MI    48634‐9500
REVORD, KENNETH C                   2911 WHITE RD                                                                                     AU GRES            MI    48703‐9425
REVORD, LARRY E                     1724 E KITCHEN RD                                                                                 PINCONNING         MI    48650‐9466
REVORD, MARGARET                    11573 HERON BAY DR                                                                                FENTON             MI    48430
REVORD, MATTHEW O                   1968 KLOHA RD                                                                                     BAY CITY           MI    48706‐9327
REVORD, TAMARA K                    1697 N MANISTEE RIVER RD                                                                          GRAYLING           MI    49738‐8932
REVORD, TERRY L                     5012 LAHRING RD                                                                                   LINDEN             MI    48451‐9499
REVORD, WILFRED D                   4270 WHITTEMORE RD                                                                                NATIONAL CITY      MI    48748‐9646
REVORD, WILLARD M                   16886 SE 80TH BELLAVISTA CIR                                                                      THE VILLAGES       FL    32162‐5313
REVUELTA, ALEXANDER                 11717 PINYON PINE DR                                                                              KELLER             TX    76248‐7723
REVUELTA, FELIX E                   763 MURRAY ST                                                                                     ELIZABETH          NJ    07202‐2231
REVVO CASTER COMPANY INC            2420 N AMERICA DR                                                                                 WEST SENECA        NY    14224‐5315
REVYN, GARY A                       12317 15 MILE RD                                                                                  STERLING HTS       MI    48312‐4003
REW SLADE                           39288 NOTTINGHAM ST                                                                               WESTLAND           MI    48186‐3730
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Name                       Address1                             Address2                   Address3          Address4         City            State Zip
REW, GERALD A              S7600 B LOT 415 HIGHWAY 35                                                                         DE SOTO          WI 54624
REW, GERALD A              N 4070 BIRNAMWOOD RD                                                                               BIRNAMWOOD       WI 54414
REW, THOMAS H              760 PARK AVE                                                                                       N TONAWANDA      NY 14120‐4719
REW, THOMAS HARRY          760 PARK AVE                                                                                       N TONAWANDA      NY 14120‐4719
REWA, E M                  4693 24TH ST                                                                                       DORR             MI 49323
REWA, MARY A               4020 JUPITER AVE NE                                                                                GRAND RAPIDS     MI 49525‐1850
REWALD, JOSEPHINE E        1853 FAIRVIEW ST                                                                                   BIRMINGHAM       MI 48009‐1149
REWALT, JAMES G            68655 STOECKER LN                                                                                  RICHMOND         MI 48062‐7002
REWERTS, MARK A            202 E SOUTH ST                                                                                     WYOMING           IL 61491‐1453
REWERTS, RICHARD L         9020 PARKS RD                                                                                      OVID             MI 48866‐8634
REWOLD‐NADJARIAN, CONNIE   942 ASPEN DR                                                                                       ROCHESTER        MI 48307‐1005
REWOLINSKI, CAMILLE C      1658 GLEN ABBY LN                                                                                  WINTER HAVEN     FL 33881‐9718
REX A BOSLEY               170 N BROCKWAY AVE                                                                                 YOUNGSTOWN       OH 44509‐2316
REX A BRITTEN              3946 E ROUND LAKE RD                                                                               DEWITT           MI 48820‐9714
REX A PIPPENGER            C/O WEITZ AND LUXENBERG PC           700 BROADWAY                                                  NEW YORK CITY    NY 10003
REX A PIPPENGER            WEITZ & LUXENBERG P C                700 BROADWAY                                                  NEW YORK CITY    NY 10003
REX A REEVES               2798 LEE DR SE                                                                                     BOGUE CHITTO     MS 39629
REX A STONE TRUST          REX A STONE TRUSTEE                  2462 BRAZILIA DR UNIT 52                                      CLEARWATER       FL 33763
REX A VICTORY              NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
REX ADAMS                  NIX PATTERSON & ROACH LLP            GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
REX ALDEN BUCHANAN         ROBERT W PHILLIPS, SIMMONS BROWDER   707 BERKSHIRE BLVD         PO BOX 521                         EAST ALTON        IL 62024
                           GIANARIS ANGELIDES & BARNERD LLC

REX ALLEN                  1490 EASTVIEW DR                                                                                   SALEM           OH   44460‐1232
REX AMY                    PO BOX 260204                                                                                      MARTIN CITY     MT   59926‐0204
REX ANTHONY                1733 MAPLE HILL DR                                                                                 HINCKLEY        OH   44233‐9501
REX B SHOWERS              P.O. BOX 145                                                                                       LEAVITTSBURG    OH   44430‐0145
REX BAILEY                 2316 E 8TH ST                                                                                      ANDERSON        IN   46012‐4304
REX BAKER                  14 GRANT LN                                                                                        SMYRNA          DE   19977‐9648
REX BALLOU                 13800 FARNESE DR                                                                                   ESTERO          FL   33928‐5703
REX BAMFO                  5532 OLD COURT RD                                                                                  WINDSOR MILL    MD   21244‐1143
REX BANKS                  1059 MARTY LEE LN                                                                                  CARLISLE        OH   45005‐3837
REX BARTLETT               17201 BRUNSON RD                                                                                   HOAGLAND        IN   46745‐9711
REX BAUER                  11125 SOUTH 225 W. LOT 3                                                                           CLOVERDALE      IN   46120
REX BEACH                  9307 WINTERPOCK RD                                                                                 CHESTERFIELD    VA   23832‐2424
REX BECK                   4000 S MORGANTOWN RD                                                                               GREENWOOD       IN   46143‐9409
REX BEECH                  PO BOX                                                                                             FAIRFIELD BAY   AR   72088
REX BENCE                  104 E 350 N                                                                                        WINDFALL        IN   46076‐9474
REX BENNETT                2401 W 16TH ST                                                                                     ANDERSON        IN   46016‐3115
REX BENZ                   8213 GALLOWAY DR                                                                                   LAMBERTVILLE    MI   48144‐9608
REX BEWLEY                 3328 ROYAL OAK                                                                                     BURTON          MI   48519‐2835
REX BIRD                   834 MIDDLEBELT RD                                                                                  GARDEN CITY     MI   48135‐2720
REX BLACKWELL              17715 HORNBEAN DRIVE                                                                               CHESTERFIELD    MO   63005‐4229
REX BLOOM                  17674 LAKEFIELD RD                                                                                 MERRILL         MI   48637‐9750
REX BODI                   702 GRAND PASS                                                                                     SANDUSKY        OH   44870‐6139
REX BOROFF                 18857 COUNTY RD 146                                                                                PAULDING        OH   45879
REX BOSLEY                 170 N BROCKWAY AVE                                                                                 YOUNGSTOWN      OH   44509‐2316
REX BOWERS                 808 CANAL ST                                                                                       ANDERSON        IN   46012‐9218
REX BOWSER                 13 COVE TRL                                                                                        NEW FLORENCE    MO   63363‐3206
REX BRAGG                  22460 KLINES RESORT RD LOT 281                                                                     THREE RIVERS    MI   49093‐8616
REX BRIDGES                6649 COUNTRY LN                                                                                    BELLEVILLE      MI   48111‐4434
REX BRITTEN                3946 E ROUND LAKE RD                                                                               DEWITT          MI   48820‐9714
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Name                          Address1                      Address2                  Address3   Address4         City              State Zip
REX BROWN                     12501 TRACY DR                                                                      OKLAHOMA CITY      OK 73165‐8728
REX BROWN                     12153 SW 35TH DR                                                                    WEBSTER            FL 33597‐7418
REX BUCK                      401 BLUEBERRY LN                                                                    GRAND PRAIRIE      TX 75052‐5129
REX BUNING                    3939 4 MILE RD NE                                                                   GRAND RAPIDS       MI 49525‐9672
REX BURBANK JR                2990 W WINEGAR RD                                                                   MORRICE            MI 48857‐9657
REX BURPEE                    214 E STATE ST                                                                      VERNON             MI 48476‐9139
REX CAMERON                   440 BARTELL LN                                                                      WEBSTER            NY 14580‐1753
REX CANNON                    3928 LIMBRECK CIRCLE                                                                LANSING            MI 48911
REX CAPPS JR                  1034 CENTRAL HIGH ROAD                                                              ENGLAND            AR 72046‐1272
REX CARNEY                    4739 CLEVELAND AVE                                                                  KANSAS CITY        KS 66104‐3227
REX CARPENTER                 13030 W COUNTY ROAD 500 N                                                           YORKTOWN           IN 47396‐9450
REX CAVERLY                   11640 TEMPERANCE ST                                                                 MOUNT MORRIS       MI 48458‐2039
REX CHEVROLET‐GMC‐TRUCK LTD   805 S DES MOINES ST                                                                 ODEBOLT             IA 51458‐1017
REX CLARK                     4582 S 750 E                                                                        KOKOMO             IN 46902‐9203
REX COCHRAN
REX COFFEY                    11486 N JENNINGS RD                                                                 CLIO              MI   48420‐1569
REX COLE                      600 W RIVERSIDE DR                                                                  NORTH TAZEWELL    VA   24630‐9522
REX COLE                      480 SLOPE ST                                                                        NORTH TAZEWELL    VA   24630‐9526
REX CONYERS                   13617 N COUNTY ROAD 100 W                                                           MUNCIE            IN   47303‐9740
REX COOPER                    3551 W HUCKLEBERRY TRL                                                              FARWELL           MI   48622‐9676
REX COVER                     # 18                          5340 HIGHWAY 35 NORTH                                 ROCKPORT          TX   78382‐7759
REX COX JR                    369 BRUCE RD                                                                        DOUGLASVILLE      GA   30134‐7165
REX CUMMINGS                  PO BOX 163                                                                          GOSPORT           IN   47433‐0163
REX CUNNINGHAM                817 N CLINTON ST LOT 616                                                            GRAND LEDGE       MI   48837‐1154
REX CURTISS                   3973 HUNT RD                                                                        LAPEER            MI   48446‐2950
REX DAENZER                   1368 FLETCHER ST                                                                    NATIONAL CITY     MI   48748‐9666
REX DAVIS                     3121 SHATTUCK RD                                                                    SAGINAW           MI   48603‐3258
REX DAVIS                     101 OAK ST                                                                          FAIRMOUNT         IL   61841‐9702
REX DISCH                     1502 W 2ND AVE                                                                      BRODHEAD          WI   53520‐1804
REX DRUDGE                    1726 HICKORY LN                                                                     GREENFIELD        IN   46140‐2529
REX DUBOIS                    525 HALL BLVD                                                                       MASON             MI   48854‐1701
REX DUNCAN                    7412 OSAGE DR                                                                       HUDSON            FL   34667‐2239
REX DUNCAN                    215 CHARTER OAK ST                                                                  HENDERSON         NV   89074‐7307
REX EDWARDS                   2809 OLDE WORCESTER DR                                                              SAINT CHARLES     MO   63301‐1538
REX ENGLAND                   11419 AUTUMN BREEZE TRL                                                             CLIO              MI   48420‐2902
REX FAIRLESS                  RR 1 BOX 128                                                                        STUART            OK   74570‐9510
REX FERGUSON                  4026 N GENESEE RD                                                                   FLINT             MI   48506‐2142
REX FERGUSON                  6501 NIGHTINGALE DR                                                                 FLINT             MI   48506‐1718
REX FISH                      289 BARTLETTSVILLE RD                                                               BEDFORD           IN   47421‐7947
REX FRANKLIN                  7366 W CENTERLINE RD                                                                SAINT JOHNS       MI   48879‐8206
REX FROMWILLER                3172 S WASHBURN RD                                                                  DAVISON           MI   48423‐9118
REX FURNEY JR                 590 ROBERTSON CT                                                                    LAKE ORION        MI   48362‐2042
REX GARLAND JR                PO BOX 1634                   C/O JEAN A GARLAND                                    LEES SUMMIT       MO   64063‐7634
REX GARRINGER JR              404 CENTRAL WAY                                                                     ANDERSON          IN   46011‐2287
REX GIFFORD                   26 SUGARLOAF MTN. LANE                                                              CASCADE           MT   59421‐8416
REX GIGER                     18258 N STATE ROAD 9                                                                SUMMITVILLE       IN   46070‐9104
REX GILBERT AUTO ELECTRIC     110 MARION AVE                                                                      MANSFIELD         OH   44903‐2201
REX GONSLER                   2844 SUE DR                                                                         HOWELL            MI   48855‐9762
REX GORDON                    11669 E NEWBURG RD                                                                  DURAND            MI   48429‐9446
REX GRAY                      PO BOX 224                                                                          IOWA PARK         TX   76367‐0224
REX GRAYBILL                  11040 WALSH RD                                                                      GRAYLING          MI   49738‐6394
REX GREGORY                   REX, GREGORY                  330 CLEMATIS ST STE 218                               WEST PALM BEACH   FL   33401‐4602
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Name                Address1                       Address2            Address3         Address4         City               State Zip
REX GRICE           1102 E 360 N                                                                         ANDERSON            IN 46012‐9212
REX GUDRITZ         10342 OGBOURNE CIR                                                                   KEITHVILLE          LA 71047‐8998
REX GUELDE          4100 DOWDALL ST                                                                      FLINT               MI 48506‐2093
REX H BLUMBERG      294 SUNSET LANE                                                                      HENDERSON           NC 27537
REX H T JR          7215 BIRDLAND DR                                                                     CHARLEVOIX          MI 49720‐9358
REX HACKETT         16080 45TH AVE                                                                       BARRYTON            MI 49305‐9762
REX HAMIL           2745 N WILLIAMS LAKE RD                                                              WATERFORD           MI 48329‐2665
REX HANDLEY         40 STANDFILL LN                                                                      OLIVEHILL           TN 38475‐9155
REX HANEY           PO BOX 989                                                                           COLUMBIA            TN 38402‐0989
REX HANKINS         6683 COUNTY ROAD 37                                                                  MANSFIELD           OH 44904‐9693
REX HARKINS         13025 N LINDEN RD                                                                    CLIO                MI 48420‐8206
REX HARTSON         7240 MILLER RD                                                                       SWARTZ CREEK        MI 48473‐1532
REX HASCH           1302 E HIGH ST                                                                       BRYAN               OH 43506‐9487
REX HAUSER          2557 HERITAGE CT                                                                     GENEVA               IL 60134
REX HAYNES          4877 GENERAL SQUIER RD                                                               DRYDEN              MI 48428‐9622
REX HELMS           187 SIDNEY RD                                                                        SHERIDAN            MI 48884‐9333
REX HILBURN         2707 NORTHRIDGE RD                                                                   SHAWNEE             OK 74804‐2295
REX HODGE           PO BOX 142                     134B CRAIGTOWN RD                                     PORT DEPOSIT        MD 21904‐0142
REX HOFFMAN         6056 CITRUS HIGHLANDS CT                                                             BARTOW              FL 33830‐9564
REX HOHENBERGER     E124 COUNTY ROAD 13                                                                  HOLGATE             OH 43527‐9704
REX HOLBERG         PO BOX 54                                                                            DUCK RIVER          TN 38454‐0054
REX HOLLOWAY        2548 W 1400 N                                                                        NORTH MANCHESTER    IN 46962‐8365
REX HOWARD          7653 PORTER PIKE                                                                     BOWLING GREEN       KY 42103‐9515
REX HUBBLE          7126 LINCOLN ST                                                                      ANDERSON            IN 46013‐3649
REX HUMPHRIES       562 N 2480 W                                                                         HURRICANE           UT 84737‐3515
REX HUNN            236 N MAIN ST                                                                        GERMANTOWN          OH 45327‐1008
REX HUTCHISON       117 N IONIA RD                                                                       VERMONTVILLE        MI 49096‐9522
REX J BAKER         1567 KINSMAN RD NE                                                                   N BLOOMFIELD        OH 44450
REX J BROWN         12501 TRACY DR                                                                       OKLAHOMA CITY       OK 73165‐8728
REX JACOBS          6551 N KENNEDY RD                                                                    MILTON              WI 53563‐9270
REX JACOBSEN        2411 N BAXTER RD                                                                     DAVISON             MI 48423‐8104
REX JOHNSON         PO BOX 357                                                                           WASKOM              TX 75692‐0357
REX JOHNSON         18709 N LITTLE JOHN LN                                                               MUNCIE              IN 47303‐9635
REX JOHNSON         PO BOX 6                                                                             ETHRIDGE            TN 38456‐0006
REX JOHNSON         904 W LOVEJOY RD                                                                     PERRY               MI 48872‐9301
REX JOHNSON         680 32ND ST                                                                          ALLEGAN             MI 49010‐9150
REX KIBLER          11 DIXIE ACRES RD                                                                    DANVILLE             IL 61832‐1108
REX KILLINGSWORTH   10489 N FARM ROAD 51                                                                 WALNUT GROVE        MO 65770‐9283
REX KNOTTS          6764 N SPRINKLE RD                                                                   KALAMAZOO           MI 49004‐8643
REX KRAUSBAUER      2952 GRAND ISLE DR NE                                                                BELMONT             MI 49306‐8862
REX L DUNCAN        215 CHARTER OAK ST                                                                   HENDERSON           NV 89074‐7307
REX L FAISON        1030 KERLIN ST                                                                       CHESTER             PA 19013‐3702
REX L POTTORFF      3433 QUINCY DR                                                                       ANDERSON            IN 46011‐4748
REX L SHEETS        7095 OXFORSHIER BLVD                                                                 NOBLESVILLE         IN 46062‐4679
REX L SUTTLES       5734 BEECHWOOD RD                                                                    ROSE CITY           MI 48654‐9634
REX LALONDE         2771 E CRONK RD                                                                      OWOSSO              MI 48867‐9628
REX LEVERICH        111 INDIANA AVE BX 414                                                               UPLAND              IN 46989
REX LINKOUS         1115 20TH ST                                                                         WYANDOTTE           MI 48192‐3009
REX LINKOUS         1419 WILSON AVE                                                                      LINCOLN PARK        MI 48146‐2038
REX LLOYD           4123 MILLSTREAM RD                                                                   GREENWOOD           IN 46143‐8772
REX LOOP            8506 W HIGHWAY 86                                                                    JOPLIN              MO 64804‐8569
REX LUCAS           42 LUCAS LN                                                                          MARTINSBURG         WV 25403‐5408
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Name                       Address1                         Address2                       Address3   Address4         City            State Zip
REX LYONS                  1111 N SHERWOOD DR                                                                          MARION           IN 46952‐1502
REX M NICKELL              12064 KY HGWY 191                                                                           HAZEL GREEN      KY 41332‐9667
REX M WRAY                 7495 BALMORE DRIVE SW                                                                       SUNSET BEACH     NC 28468
REX MALARIK                9555 JESSICA J LN                                                                           PLYMOUTH         MI 48170‐5834
REX MANN                   PO BOX 506                                                                                  OLIVET           MI 49076‐0506
REX MARSHALL               712 PLEASANT ST                                                                             ODESSA           MO 64076‐1327
REX MATERIALS GROUP        5600 W GRAND RIVER RD            PO BOX 980 RMT CHG 3/19/4 AH                               FOWLERVILLE      MI 48836‐9599
REX MAUPIN                 PO BOX 44                                                                                   CLIO             MI 48420‐0044
REX MCHARDIE               WEST 5622 HILL LANE                                                                         MONROE           WI 53566
REX MILLARD                47121 FINCH ST                                                                              MATTAWAN         MI 49071‐7744
REX MILLER                 4681 XON TIKI LN                                                                            BONITA SPGS      FL 34134‐7137
REX MILLER                 BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS       OH 44236
REX MILLSPAUGH             PO BOX 89                                                                                   GRANVILLE        TN 38564‐0089
REX MIZENER                493 NW W HWY                                                                                KINGSVILLE       MO 64061‐9117
REX MOORE                  2142 EWERS RD                                                                               DANSVILLE        MI 48819‐9747
REX MOORE                  2221 GRASS LAKE AVE LOT 213                                                                 LAKE             MI 48632‐8519
REX MOTORS, INC            ALAN WEBB                        3608A N E AUTOMALL DR                                      VANCOUVER        WA 98662
REX NICHOLAS               1831 49TH AVENUE NORTH                                                                      ST PETERSBURG    FL 33714‐3336
REX NICKELL                12064 KY HIGHWAY 191                                                                        HAZEL GREEN      KY 41332‐9667
REX O GRAY                 PO BOX 224                                                                                  IOWA PARK        TX 76367‐0224
REX OWENBY                 11392 PETERSON RD                                                                           CLIO             MI 48420‐9419
REX OWENBY, JR.            1204 DORIS ST                                                                               MOUNT MORRIS     MI 48458‐1710
REX PATTON                 PO BOX 3                         11 BROADWAY                                                ORESTES          IN 46063‐0003
REX PENNINGTON             3155 JORDAN RD                                                                              FREEPORT         MI 49325‐9720
REX PENROD                 18700 N COUNTY ROAD 100 W                                                                   MUNCIE           IN 47303‐9611
REX PERRY AUTOPLEX         3916 NW STALLINGS DR                                                                        NACOGDOCHES      TX 75964‐1414
REX PERSONS                9685 SW 207TH CIR                                                                           DUNNELLON        FL 34431‐5856
REX PETERS                 PO BOX 967                                                                                  ARVADA           CO 80001‐0967
REX PETERSEN               3300 MAPLE VALLEY RD                                                                        MARLETTE         MI 48453‐8910
REX PIESKER                N1669 RIDGEWAY DR                                                                           GREENVILLE       WI 54942‐9669
REX PILKINGTON             10304 SE 23RD ST                                                                            MIDWEST CITY     OK 73130‐7621
REX PIPE & SUPPLY CO INC   10311 BEREA RD                                                                              CLEVELAND        OH 44102‐2503
REX PLAGEMAN               1088 ASHWOOD LANE                                                                           MEDINA           OH 44256‐1262
REX PORTERFIELD            2336 BENJAMIN ST                                                                            MORGANTON        NC 28655‐9192
REX POTTORFF               3433 QUINCY DR                                                                              ANDERSON         IN 46011‐4748
REX R REED                 504 BROOKS AVE                   APT 28                                                     ROCHESTER        NY 14619
REX RED                    11793 E HOWARD CITY EDMORE RD                                                               RIVERDALE        MI 48877‐8778
REX REED                   504 BROOKS AVE A28                                                                          ROCHESTER        NY 14619
REX REED                   153 E HILL ST                                                                               WAYNESBORO       TN 38485‐2524
REX REEVES                 2798 LEE DR SE                                                                              BOGUE CHITTO     MS 39629‐9410
REX ROBERSON               1016 E FRANKLIN ST                                                                          HILLSBORO        TX 76645‐2225
REX ROSENDAUL              18‐794 RT34                                                                                 BRYAN            OH 43506
REX ROTO CORP              5600 W GRAND RIVER RD            PO BOX 980                                                 FOWLERVILLE      MI 48836‐9599
REX ROTO/FOWLERVILLE       PO BOX 980                                                                                  FOWLERVILLE      MI 48836‐0980
REX RUEHLE                 4102 HARMON ST                                                                              SAINT JOHNS      MI 48879‐9340
REX RUSHTON                PO BOX 292                       13385 PETERS RD                                            WOLVERINE        MI 49799‐0292
REX S FERGUSON             6501 NIGHTINGALE DR                                                                         FLINT            MI 48506‐1718
REX SARLES                 1587 NW PINE CREEK AVE                                                                      ARCADIA          FL 34266‐5475
REX SAYON
REX SCHELL                 512 E CEDAR ST                                                                              OLATHE          KS 66061‐4767
REX SCOTT                  BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS      OH 44236
REX SHALTER                7225 ROAD 15C                                                                               OTTAWA          OH 45875‐9627
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Name                        Address1                       Address2                     Address3   Address4         City            State Zip
REX SHANAFELT               16823 S SCENIC DR                                                                       BARBEAU          MI 49710‐9435
REX SHARP                   8 WILTSE CT                                                                             SAGINAW          MI 48603‐3270
REX SHEA                    3153 BIRCHWOOD DR                                                                       ANN ARBOR        MI 48105‐9266
REX SHEETS                  7095 OXFORSHIRE BLVD                                                                    NOBLESVILLE      IN 46062‐4678
REX SHERMAN JR              4360 HOLT RD APT 9                                                                      HOLT             MI 48842‐1662
REX SHOWERS                 PO BOX 145                                                                              LEAVITTSBURG     OH 44430‐0145
REX SIERER                  23519 RR 8                                                                              DEFIANCE         OH 43512
REX SIGMAN                  18836 PRAIRIE BAPTIST RD                                                                NOBLESVILLE      IN 46060‐9094
REX SKELLETT                7320 W EXPRESSWAY 83 TRLR 84                                                            MISSION          TX 78572‐9410
REX SMITH                   718 ALPINE DR                                                                           ANDERSON         IN 46013‐5000
REX SMITH                   17817 NE 84TH ST                                                                        LIBERTY          MO 64068‐8560
REX SPOOR                   3008 S REED RD                                                                          DURAND           MI 48429‐9004
REX STARKEY                 211 MATTERHORN CT                                                                       GLEN CARBON       IL 62034‐1326
REX SUMMERSETT              6717 N BRANCH CT APT 4                                                                  NORTH BRANCH     MI 48461‐9336
REX SUTTLES                 5734 BEECHWOOD RD                                                                       ROSE CITY        MI 48654‐9634
REX SWANINGER               6870 HANCOCK RD                                                                         MONTAGUE         MI 49437‐8301
REX TAULMAN                 458 SPRING DR                                                                           GREENWOOD        IN 46143‐1118
REX THOMAS                  2728 GAMMA LN                                                                           FLINT            MI 48506‐1853
REX THOMPSON                3416 HIALEAH DR                                                                         ARLINGTON        TX 76017‐3402
REX THRASH                  4409 MAXINE DR                                                                          CHOCTAW          OK 73020‐5925
REX TICKLES                 19162 CANTRELL RD                                                                       LINWOOD          KS 66052‐4619
REX TOBEY                   3654 LOCKPORT RD                                                                        SANBORN          NY 14132‐9404
REX TOFT                    384 PETERS RD                                                                           SUMMERTOWN       TN 38483‐5122
REX TOONE                   23886 TOONE RD                                                                          ELKMONT          AL 35620‐4936
REX TRANSPORTATION          750 N MICHIGAN ST                                                                       ARGOS            IN 46501‐1171
REX V THOMPSON              3416 HIALEAH DR                                                                         ARLINGTON        TX 76017‐3402
REX W. CAPPS FAMILY TRUST   DOROTHY CAPPS TTEE             205 CHERRY ST                                            ENGLAND          AR 72046‐1503
REX WELSH                   1931 BRUCE LN                                                                           ANDERSON         IN 46012‐1959
REX WHELCHEL                2928 N MERIDIAN RD                                                                      TIPTON           IN 46072‐8854
REX WHIDBY                  PO BOX 5                                                                                GILLSVILLE       GA 30543‐0005
REX WILLIAMS                7804 E 200 N                                                                            GREENTOWN        IN 46936‐9505
REX WILLIAMS                5905 SOUTHERN SPRINGS AVE                                                               INDIANAPOLIS     IN 46237‐9293
REX WILSON                  392 ROSE CROFT TERRENCE                                                                 THE VILLAGES     FL 32162
REX WIMMER                  PO BOX 865                                                                              DEFIANCE         OH 43512‐0865
REX WOODRUFF                BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS       OH 44236
REX WRAY                    7495 BALMORE DR SW                                                                      SUNSET BEACH     NC 28468‐5854
REX WREEDE                  28726 BOWMAN RD                                                                         DEFIANCE         OH 43512‐8975
REX WRIGHT                  450 EAST 132 SOUTH                                                                      KOKOMO           IN 46902
REX WRIGHT                  2376 HOUSER RD                                                                          HOLLY            MI 48442‐8328
REX YEAGER                  103 BANDYWOOD DR                                                                        COLUMBIA         TN 38401‐4347
REX ZODY                    1757 W 1350 S                                                                           KOKOMO           IN 46901‐7643
REX, ALFRED H               118 LATHROP ST                                                                          BUFFALO          NY 14212‐1532
REX, ALFRED HARRY           118 LATHROP ST                                                                          BUFFALO          NY 14212‐1532
REX, BETTY J                7171 PARKRIDGE PKWY                                                                     SWARTZ CREEK     MI 48473‐1562
REX, BETTY JO               7171 PARKRIDGE PKWY                                                                     SWARTZ CREEK     MI 48473‐1562
REX, CHARLES R              3080 S DUFFIELD RD                                                                      LENNON           MI 48449‐9407
REX, CHARLES ROBERT         3080 S DUFFIELD RD                                                                      LENNON           MI 48449‐9407
REX, DAVID T                808 S WHITLEY ST                                                                        COLUMBIA CITY    IN 46725‐2746
REX, GARLAND                10 RIDGEWOOD DR                                                                         WILLARD          OH 44890‐1688
REX, GEORGE                 5253 W COLDWATER RD                                                                     FLINT            MI 48504‐1025
REX, GERYLYNN               708 FORESTDALE RD                                                                       ROYAL OAK        MI 48067‐1684
REX, HAROLD W               2134 HAWTHORNE DR                                                                       DEFIANCE         OH 43512‐9670
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Name                               Address1                        Address2                 Address3    Address4                 City                State Zip
REX, HAROLD W                      15971 US ROUTE 127                                                                            CECIL                OH 45821‐9720
REX, HELEN M                       5 MERWOOD DRIVE EAST                                                                          BATTLE CREEK         MI 49017‐3325
REX, IRENE E                       8160 SUNSET LN                  APT#202                                                       SYLVANIA             OH 43560
REX, IRENE E                       690 WELSH BLVD                                                                                VASSAR               MI 48768‐9792
REX, LAWRENCE P                    APT 7                           4233 WEST COURT STREET                                        FLINT                MI 48532‐4300
REX, LORAINE J                     1205 BLANCHARD AVE                                                                            FLINT                MI 48503‐5378
REX, LOREN C                       5 MERWOOD DR E                                                                                BATTLE CREEK         MI 49017
REX, MARIAN B                      509 LINDEN DR                                                                                 HARBOR SPRINGS       MI 49740‐9416
REX, MARJORIE M                    538 HUDDLE RD LOT 22                                                                          NAPOLEON             OH 43545‐9223
REX, ROBERT A                      268 HAVERHORST DR                                                                             FLINT                MI 48507‐4248
REX, ROBERT G                      220 GOLFVIEW RD                                                                               ARDMORE              PA 19003‐1002
REX, ROBERT W                      687 HAZEL ST                                                                                  VASSAR               MI 48768‐1416
REX, SHIRLEY A                     APT 7                           4233 WEST COURT STREET                                        FLINT                MI 48532‐4300
REX‐WILSON, CHERYL A               870 HERTEL AVE                                                                                BUFFALO              NY 14216‐2609
REXALL B KELLEY                    RT 1 BOX 9                                                                                    NEW MILTON           WV 26411‐9702
REXALL GRAVES                      PO BOX 227                                                                                    BONNE TERRE          MO 63628‐0227
REXALL KELLEY                      RR 1 BOX 9                                                                                    NEW MILTON           WV 26411‐9702
REXCON CONTROLS INC                41775 PRODUCTION DR                                                                           HARRISON TOWNSHIP    MI 48045‐1370
REXEL                              505 DUKE RD STE 400                                                                           CHEEKTOWAGA          NY 14225‐5101
REXEL                              5135 NAIMAN PKWY                                                                              SOLON                OH 44139‐1003
REXEL                              6196 POE AVE                                                                                  DAYTON               OH 45414‐2630
REXEL                              815 CENTRAL AVE STE A                                                                         LINTHICUM            MD 21090‐1437
REXEL CANADA ELECTRIQUE INC        5600 KEATON CRES                                                     MISSISSAUGA ON L5R 3G3
                                                                                                        CANADA
REXEL CANADA ELECTRIQUE INC        600 THORNTON RD S                                                    OSHAWA ON L1J 6W7
                                                                                                        CANADA
REXEL INC                          6196 POE AVE                                                                                  DAYTON              OH   45414‐2630
REXEL INC                          11 KIESLAND CT                                                                                HAMILTON            OH   45015‐1375
REXEL INC                          1049 PRINCE GEORGES BLVD                                                                      UPPER MARLBORO      MD   20774‐7427
REXEL INC                          5135 NAIMAN PKWY                                                                              SOLON               OH   44139‐1003
REXEL MIDWEST DIV                  DBA MIDLAND ELECTRIC            5135 NAIMAN PKY                                               AKRON               OH   44309
REXEL UNITED                       2067 WESTPORT CENTER DR                                                                       SAINT LOUIS         MO   63146‐3564
REXEL UNITED ELECTRICAL SUPPLIES   2067 WESTPORT CENTER DR                                                                       SAINT LOUIS         MO   63146‐3564
REXELL INDUSTRIES INC              2626 ELLIOTT DR                                                                               TROY                MI   48083‐4633
REXELLE JR, FRANK A                247 ADDISON CT                                                                                FREMONT             CA   94539‐7423
REXER, JEFFREY L                   205 PINEVIEW DR                                                                               FENTON              MI   48430‐3620
REXFORD ASHBY                      285 E PARKVIEW DR                                                                             NORTH VERNON        IN   47265‐6785
REXFORD BEER                       751 BEER RD                                                                                   MANSFIELD           OH   44906‐1216
REXFORD CRAFT                      4000 ERIKA DR                                                                                 PLEASANT LAKE       MI   49272‐9200
REXFORD FINEGAN                    311 SE 13TH AVE                                                                               POMPANO BEACH       FL   33060‐7615
REXFORD HACKNEY                    125 LASTER SCHOOL RD                                                                          LURAY               TN   38352‐8632
REXFORD JR, WILLIAM D              2776 CROCKERY SHORES RD                                                                       CASNOVIA            MI   49318‐9500
REXFORD LEWIS                      1362 RAWLINGS DR                                                                              FAIRBORN            OH   45324‐4126
REXFORD MARTIN                     34240 HARROUN ST                                                                              WAYNE               MI   48184‐2412
REXFORD MEANS                      6816 STATE HIGHWAY 246                                                                        SPENCER             IN   47460‐6215
REXFORD R STUPP                    2345 ADA DR                                                                                   MIDDLETOWN          OH   45042‐9646
REXFORD STEWART                    3200 S VERMONT AVE                                                                            INDEPENDENCE        MO   64052‐2753
REXFORD STUPP                      2345 ADA DR                                                                                   MIDDLETOWN          OH   45042‐9646
REXFORD, C J                       4400 FORESTER RD                                                                              CARSONVILLE         MI   48419‐9419
REXFORD, EDWARD L                  1956 MARY ST                                                                                  CADILLAC            MI   49601‐9253
REXFORD, MARGARET                  4400 FORESTER ROAD                                                                            CARSONVILLE         MI   48419
REXFORD, PAUL D                    37677 GLENGROVE DR                                                                            FARMINGTON HILLS    MI   48331‐1191
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Name                           Address1                             Address2                         Address3                  Address4               City              State Zip
REXFORD, THOMAS G              434 RIVER BIRVH DR                                                                                                     FLINT              MI 48506‐4562
REXFORD, THOMAS G              9283 HORIZON DR                                                                                                        DAVISON            MI 42423‐8477
REXHAM DECOR/LNCASTR           PO BOX 800                           HIGHWAY 9 BY‐PASS                                                                 LANCASTER          SC 29721‐0800
REXIE CARTER                   1838 2ND ST                                                                                                            WESTLAND           MI 48186‐4451
REXIN, ANDREW J                9627 LANDMARK PLACE                                                                                                    FRISCO             TX 75035‐6049
REXIN, MELVIN F                2400 OBRIEN RD                                                                                                         MAYVILLE           MI 48744‐9410
REXIUS, CYNTHIA L              1111 STONE ROWE                                                                                                        MILFORD            MI 48380‐1529
REXIUS, DONALD J               2500 S GRAHAM RD                                                                                                       SAGINAW            MI 48609‐9664
REXLOR TRANSPORT INC           401 SHEEPSHED RD CH 96                                                                                                 CAREY              OH 43316
REXNORD ANTRIEBSTECHNIK        UEBERWASSERSTRASSE 64                                                                           DORIMUND 44147
                                                                                                                               GERMANY
REXNORD CORP                   4701 W GREENFIELD AVE                                                                                                  MILWAUKEE         WI 53214‐5310
REXNORD CORP.                  GEORGE CROITORI                      LINK‐BELT BEARING DIV.           BOX 330 INDUSTRIAL PARK                          GORDONSVILLE      TN 38563
REXOL PERKINS                  10894 PANSING RD                                                                                                       ENGLEWOOD         OH 45322‐9711
REXREA LTD                     C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT              2 RAFFLES LINK            MARINA BAYFRONT
                               LIMITED                                                                                         SINGAPORE 039392
REXROAD DAVID (494128)         CHRISTOPHER J. HICKEY, ESQ. BRENT    1220 W 6TH ST STE 303                                                             CLEVELAND         OH 44113‐1328
                               COONE AND ASSOCIATES
REXROAD DAVID P (491682)       CHRISTOPHER J. HICKEY, ESQ. BRENT    1220 W 6TH ST STE 303                                                             CLEVELAND         OH 44113‐1328
                               COONE AND ASSOCIATES
REXROAD, BENNY J               3552 FLORY AVE SE                                                                                                      WARREN            OH 44484‐3418
REXROAD, DAVID                 CHRISTOPHER J. HICKEY, ESQ. BRENT    1220 W 6TH ST STE 303                                                             CLEVELAND         OH 44113‐1328
                               COONE AND ASSOCIATES
REXROAD, FRANKLIN S            120 COTTAGE AVE                                                                                                        WESTON            WV   26452‐1910
REXROADE, KATHLEEN A           3857 FRAZHO RD                                                                                                         WARREN            MI   48091‐1353
REXRODE C WILSON               REXRODE, C WILSON                    STATE FARM INS. CO.              P.O. BOX 9052                                    CHARLOTTESVILLE   VA   22906
REXRODE ROGER                  39 FOUNTAIN ST                                                                                                         MEDFORD           MA   02155‐2611
REXRODE, C WILSON              STATE FARM INS. CO.                  PO BOX 9052                                                                       CHARLOTTESVILLE   VA   22906‐9052
REXRODE, C WILSON
REXRODE, GAIL W                1101 JAMES ST                                                                                                          BLUEFIELD         WV 24701‐4535
REXROTH INDR/WOOD DL           255 MITTEL DR                                                                                                          WOOD DALE         IL 60191‐1117
REXROTH KEN (629826)           ANGELOS PETER G                      100 N CHARLES STREET , ONE                                                        BALTIMORE         MD 21201
                                                                    CHARLES CENTER
REXROTH, KEN                   ANGELOS PETER G                      100 N CHARLES STREET, ONE                                                         BALTIMORE         MD 21201‐3812
                                                                    CHARLES CENTER
REXROTH/IND HYDRA DV           2315 CITY LINE RD                    INDUSTRIAL HYDRAULICS DIVISION                                                    BETHLEHEM         PA 18017‐2131

REXROTH/ROCHSTR HILL           2110 AUSTIN AVE                      INDRAMAT DIVISION                                                                 ROCHESTER HILLS   MI   48309‐3667
REXTON HANEY                   312 CAMP BROOKLYN RD                                                                                                   FITZGERALD        GA   31750‐7502
REXWELL FETZER                 1110 N HENNESS RD LOT 1749                                                                                             CASA GRANDE       AZ   85222‐5578
REY CAPUNO                     43588 GATEHOUSE CT                                                                                                     CANTON            MI   48187‐2024
REY HENRY E SR (410737)        GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA   23510
                                                                    STREET, SUITE 600
REY HENRY EDWARD JR (429682)   GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK           VA 23510
                                                                    STREET, SUITE 600
REY VILLARREAL                 317 PINEWOOD ST                                                                                                        DEFIANCE          OH   43512‐3521
REY'S AUTO & TIRE CENTER       45450 SCHOENHERR RD                                                                                                    SHELBY TOWNSHIP   MI   48315‐6020
REY, BESSIE M                  6068 HODGE                                                                                                             HASLETT           MI   48840‐8258
REY, CHARLES E                 2422 W 178TH ST                                                                                                        TORRANCE          CA   90504‐4238
REY, CHARLOTTE                 11510 SUNNYSIDE DR NORTH 565                                                                                           BAY TOWN          TX   77520‐9601
REY, FRANK W                   4396 RIDGE RD                                                                                                          LOCKPORT          NY   14094
REY, GERARDO                   FERNANDO III EL SANTO NO 8 5 A       SANTIAGO ,DE COMPOSTELA                                    SANTIAGO SPAIN
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Name                        Address1                          Address2                         Address3   Address4         City             State Zip
REY, HENRY E                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510‐2212
                                                              STREET, SUITE 600
REY, HENRY EDWARD           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
REY, JOSEPH C               PO BOX 92                                                                                      CLARENCE         NY   14031
REY, MANUEL                 895 MINNESOTA DR                                                                               TROY             MI   48083‐4436
REY, PHILLIP L              2760 BRONSON BLVD                                                                              KALAMAZOO        MI   49008‐2361
REY, THOMAS H               11188 LAHRING RD                                                                               GAINES           MI   48436‐9748
REYAL MERYL                 114 VAN BUREN ST                                                                               BROOKLYN         NY   11221‐1319
REYBURN, ALFRED W           815 DEVON DR                                                                                   NEWARK           DE   19711‐7723
REYBURN, LOIS A             5317 N COUNTY ROAD 1330 EAST                                                                   RUSSIAVILLE      IN   46979‐9034
REYBURN, NED L              2466 W NORTH ST                                                                                KOKOMO           IN   46901‐7505
REYBURN, NORMAN M           234 S ENDEAVOUR BLVD                                                                           GRANT            MI   49327
REYBURN, TIMOTHY E          3240 W 500 S                                                                                   PERU             IN   46970‐7467
REYBURN‐MICHAEL, KATHLEEN   3901 SPANISH TRL                                                                               FORT WAYNE       IN   46815‐5753
REYCO AUTOMOTIVE            25 BERGEN BLVD                                                                                 FAIRVIEW         NJ   07022‐1826
REYDA M AND JERRY B ODELL   3100 SHENANDOAH VALLEY DRIVE                                                                   LITTLE ROCK      AR   72212‐3146
REYER, BETTY J              27526 SWEET SPRINGS RD                                                                         ARDMORE          AL   35739‐7460
REYER, BETTY J              27526 SWEETSPRINGS ROAD                                                                        ARDMORE          AL   35739‐7460
REYER, J J                  27526 SWEET SPRINGS RD                                                                         ARDMORE          AL   35739‐7460
REYER, JIMMY L              PO BOX 342                                                                                     ARDMORE          TN   38449‐0342
REYER, MARK N               2388 LOWER TWIN ROAD                                                                           GREENFIELD       OH   45123‐5123
REYER, NICHOLAS             8920 STATE RT 753                                                                              GREENFIELD       OH   45123‐6201
REYER, NICHOLAS             8920 STATE ROUTE 753 S                                                                         GREENFIELD       OH   45123‐6201
REYERSON, KAY               PO BOX 92 805 ELM ST                                                                           KENSETT          IA   50448
REYES BEVERLY               3007 SHELBY DR                                                                                 NATIONAL CITY    CA   91950‐7741
REYES EMMA BARRERA          ALEJANDRO, GEMA                   PO BOX 480                                                   CORPUS CHRISTI   TX   78403‐0480
REYES EMMA BARRERA          ALEJANDRO, JAIME                  PO BOX 480                                                   CORPUS CHRISTI   TX   78403‐0480
REYES EMMA BARRERA          ALEJANDRO, KATIA                  PO BOX 480                                                   CORPUS CHRISTI   TX   78403‐0480
REYES EMMA BARRERA          BARRERA, MARIA LIZETH             PO BOX 480                                                   CORPUS CHRISTI   TX   78403‐0480
REYES EMMA BARRERA          HERNANDEZ, JAIME ALEJANDRO        PO BOX 480                                                   CORPUS CHRISTI   TX   78403‐0480
REYES EMMA BARRERA          REYES, EMMA BARRERA               2100 FROST BANK PLAZA                                        CORPUS CHRISTI   TX   78470
REYES EMMA BARRERA          REYES, MARLA LIZETH               2100 FROST BANK PLAZA                                        CORPUS CHRISTI   TX   78470
REYES EMMA BARRERA          VALDEZ, MARIA                     TOWER II BUILDING, 14TH FLOOR,                               CORPUS CHRISTI   TX   78478
                                                              555 NORTH CARANCAHUA
REYES GUZMAN JR.            535 ASH STREET                                                                                 LEMOORE          CA   93245
REYES HENRY                 129 HUMBER FERRY RD                                                                            EATONTON         GA   31024‐7126
REYES I I I, DANIEL         1283 HEATHERCREST DR                                                                           FLINT            MI   48532‐2643
REYES III, DANIEL           1283 HEATHERCREST DR                                                                           FLINT            MI   48532‐2643
REYES IRIS                  2437 LEROY ST                                                                                  SAN BERNARDINO   CA   92404‐3626
REYES JOAQUIN               9020 PRIMAVERA LN                                                                              CYPRESS          CA   90630‐5895
REYES JR, DANIEL H          3761 S WAYNE RD                                                                                WAYNE            MI   48184‐1697
REYES JR, ERNEST            262 W WALTON BLVD                                                                              PONTIAC          MI   48340‐1167
REYES JR, FRANK             905 CHESTNUT OAK CT                                                                            EULESS           TX   76039‐7731
REYES JR, JOE G             3275 MEADOWLARK LN                                                                             BURTON           MI   48519‐2849
REYES JR, JOSE A            550 ACADEMY ST APT BB2                                                                         NEW YORK         NY   10034‐5216
REYES JR, LEE               5455 SARVIS AVENUE                                                                             WATERFORD        MI   48327‐3066
REYES JR, NORBERTO T        290 N MOHLER DR                                                                                ANAHEIM          CA   92808‐1043
REYES JR., YGNACIO R        5045 LODGE ST                                                                                  SAGINAW          MI   48601‐6827
REYES JUDE                  210 MELROSE AVE                                                                                KENILWORTH       IL   60043‐1251
REYES KAREN                 REYES, KAREN                      7891 W SLAGLER ST NUMBER 275                                 MIAMI            FL   33144
REYES RAMIREZ               4133 MISTY SHORES DRIVE                                                                        DEFIANCE         OH   43512
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Name                       Address1                         Address2                         Address3   Address4         City              State Zip
REYES RAUL (447229)        BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                            PROFESSIONAL BLDG
REYES RAYMOND              REYES, RAYMOND                   640 S SAN VICENTE BLVD STE 230                               LOS ANGELES       CA   90048‐4654
REYES ROBEY                REYES, MARIELLA YSABEL           369 N CANALES CIR                                            ROMA              TX   78584
REYES ROBEY                REYES, REYNALDO                  369 N CANALES CIR                                            ROMA              TX   78584
REYES ROBEY                REYES, ROBEY                     369 N CANALES CIR                                            ROMA              TX   78584
REYES ROBEY                REYES, ROBEY IEN                 369 N CANALES CIR                                            ROMA              TX   78584
REYES ROBEY                REYES, YVONNE YBARRA             369 N CANALES CIR                                            ROMA              TX   78584
REYES ROBEY                SALAZAR, EDUARDO DELGADO         369 N CANALES CIR                                            ROMA              TX   78584
REYES RODRIGUEZ            3121 S AVERS AVE                                                                              CHICAGO           IL   60623‐4938
REYES RUDY                 1585 MILITARY AVE                                                                             SEASIDE           CA   93955
REYES SAMMY                29721 POPPY MEADOW ST                                                                         CANYON COUNTRY    CA   91387‐4429
REYES SANCHEZ              643 S 15TH ST                                                                                 SAGINAW           MI   48601‐2010
REYES SR, BERNARDO         1678 TAHOE RDG                                                                                DEFIANCE          OH   43512‐4003
REYES ZAMORA               1018 STOPHLET ST                                                                              FORT WAYNE        IN   46802‐4318
REYES, ADOLFO              5405 S CATHERINE AVE                                                                          COUNTRYSIDE       IL   60525‐2843
REYES, AGUSTIN             102 EL GATO RD UNIT 1                                                                         ALAMO             TX   78516‐7300
REYES, AGUSTIN             27591 FM 2556                                                                                 LA FERIA          TX   78559‐6418
REYES, AL S                620 W 149TH ST APT 3F                                                                         NEW YORK          NY   10031‐3160
REYES, ALBERT E            APT B14                          1355 SOUTH WINTER STREET                                     ADRIAN            MI   49221‐4343
REYES, ALBERT EDWARD       APT B14                          1355 SOUTH WINTER STREET                                     ADRIAN            MI   49221‐4343
REYES, ALEJANDRO Y         328 DETROIT ST                                                                                TRENTON           MI   48183‐1213
REYES, ALFREDO L           PO BOX 11724                                                                                  LAS VEGAS         NV   89111‐1724
REYES, ALICE               2531 DRYVALLY RD NE                                                                           CHARLESTON        TN   37310‐6207
REYES, ALISIA              1522 SO NIAGARA                                                                               SAGINAW           MI   48602‐1338
REYES, ALISIA              1522 S NIAGARA ST                                                                             SAGINAW           MI   48602‐1338
REYES, ANDREA A
REYES, ANN C               5919 PLEASANT HILL DR                                                                         ARLINGTON         TX   76016
REYES, ANTHONY             9230 175TH ST                                                                                 JAMAICA           NY   11433‐1317
REYES, ANTHONY L           2124 OSTRUM DR                                                                                WATERFORD         MI   48328‐1823
REYES, ANTHONY T           10609 WALLACE AVE                                                                             KANSAS CITY       MO   64134‐2152
REYES, ANTONIO             4347 W 25TH ST                                                                                CHICAGO           IL   60623‐4235
REYES, ANTONIO A           1439 OTTER DR                                                                                 ROCHESTER HILLS   MI   48306‐4335
REYES, ARTHUR              4484 KILLARNEY PARK DR                                                                        BURTON            MI   48529‐1823
REYES, ARTURO              3052 OLEARY RD                                                                                FLINT             MI   48504‐1710
REYES, ARTURO ESTATE OF
REYES, ARTURO JAMES
REYES, BASILIO G           2709 S KEELER AVE                                                                             CHICAGO           IL   60623‐4329
REYES, BENJAMIN            522 D V CIR                                                                                   SPRING HILL       TN   37174‐7557
REYES, BERTHA              117 BELLA VISTA DR APT 32                                                                     GRAND BLANC       MI   48439‐1584
REYES, BOLIVAR             50 WESTERN AVE APT 2A                                                                         YONKERS           NY   10705‐2354
REYES, BRENDA L            1119 CARRINGTON DR                                                                            SAINT PETERS      MO   63376‐5503
REYES, CANDICE I           5175 STEVENS RD                                                                               CLARKSTON         MI   48346‐4155
REYES, CARLOS C            260 WILLOW LAKE DR                                                                            OXFORD            MI   48371‐6377
REYES, CARMELA             351 N SQUIRREL RD LOT 76                                                                      AUBURN HILLS      MI   48326‐4043
REYES, CELESTINA           3052 OLEARY RD                                                                                FLINT             MI   48504‐1710
REYES, CHARLES J           15628 INDEX ST                                                                                GRANADA HILLS     CA   91344‐4331
REYES, CHARLEY M           208 BROOKHILL LN NE                                                                           CLEVELAND         TN   37323‐8735
REYES, CHRISTINA L         PO BOX 1666                                                                                   WASKOM            TX   75692‐1666
REYES, CLAUDIA             SPAGNOLETTI & COMPANY            1600 SMITH ‐ 45TH FLOOR                                      HOUSTON           TX   77002
REYES, CLAUDIA             AMMONS & AMMONS LAW FIRM LLP     3700 MONTROSE BLVD                                           HOUSTON           TX   77006‐4624
REYES, CLAUDIA STEPHANIE
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REYES, CLAUDIO L      1715 RAY ST                                                                                  LANSING           MI 48910‐1724
REYES, CONCEPCION     1119 CARRINGTON DR                                                                           SAINT PETERS      MO 63376‐5503
REYES, CRISOFORO      220 PHOENIX ST                                                                               DELAVAN           WI 53115
REYES, CYNTHIA        40916 MAY LUNDY ST                                                                           INDIO             CA 92203‐3877
REYES, CYNTHIA A      1828 S 32ND ST                                                                               KANSAS CITY       KS 66106‐2817
REYES, DANIEL G       PO BOX 305                                                                                   MACDONA           TX 78054‐0305
REYES, DANIEL H       9200 W VERNOR HWY APT 126                                                                    DETROIT           MI 48209‐1410
REYES, DAVID E        3540 W 38TH PL                                                                               CHICAGO            IL 60632‐3316
REYES, DAVID J        1256 PIUS ST                                                                                 SAGINAW           MI 48638‐6564
REYES, DEANNA M       19130 ENGLAND DR                                                                             MACOMB            MI 48042‐6233
REYES, DEREK
REYES, EDDIE H        337 E 1ST ST PMB 20315                                                                       CALEXICO         CA   92231‐2731
REYES, EDNA           3 5TH ST                                                                                     NEW BRUNSWICK    NJ   08901‐3303
REYES, EDWARD         694 CAMERON AVE                                                                              PONTIAC          MI   48340‐3202
REYES, EDWIN          125 OTTAWA DR                                                                                PONTIAC          MI   48341‐1635
REYES, ELIAZER        2208 E DODGE RD                                                                              CLIO             MI   48420‐9747
REYES, ELIDA          2544 COUNTRYSIDE COURT                                                                       AUBURN HILLS     MI   48326‐2222
REYES, ELIZABETH      1715 N GENESEE DR                                                                            LANSING          MI   48915‐1225
REYES, EMMA
REYES, EMMA BARRERA   WILLIAM R. EDWARDS               2100 FROST BANK PLAZA                                       CORPUS CHRISTI   TX   78470
REYES, ENRIQUE        9316 HAYVENHURST AVE                                                                         SEPULVEDA        CA   91343‐3624
REYES, ENRIQUE O      413 BONNIE VIEW RD                                                                           MOORPARK         CA   93021‐1203
REYES, ERLINDA C      3524 E AVENUE R SPC 194                                                                      PALMDALE         CA   93550‐5088
REYES, ERNEST P       1363 E ROOSEVELT RD                                                                          DONNA            TX   78537‐7123
REYES, ERNESTINA G    NEPTUNO #321 FRACCION MINERVA                                         GUADALUPE NUEVO LEON
                                                                                            MEXICO 67120
REYES, ERNESTO        562 W 186TH ST APT 5D                                                                        NEW YORK         NY   10033‐2727
REYES, ESTEBAN        945 N SYCAMORE ST                                                                            LANSING          MI   48906‐5066
REYES, ESTEVAN        4893 PONTIAC LAKE RD                                                                         WATERFORD        MI   48328‐2056
REYES, EVA E          560 WOODCREE CTR                                                                             DEFIANCE         OH   43512‐3356
REYES, EVLALIO G      8903 AUBURN ST                                                                               DETROIT          MI   48228‐2958
REYES, EZEQUIEL R     79 NELSON ST                                                                                 PONTIAC          MI   48342‐1535
REYES, FAUSTO A       8455 TIPSICO LAKE RD                                                                         HOLLY            MI   48442‐9131
REYES, FELIPE         1502 VICTORY AVENUE                                                                          WICHITA FALLS    TX   76301‐6634
REYES, FELIPE P       3120 S EMERALD AVE                                                                           CHICAGO          IL   60616‐3013
REYES, FELIX B        2512 FLINTRIDGE ST                                                                           LAKE ORION       MI   48359‐1530
REYES, FELIX J        5809 PREMIERE AVE                                                                            LAKEWOOD         CA   90712‐1312
REYES, FERNANDO       10685 LAKE JASMINE DR                                                                        BOCA RATON       FL   33498‐1504
REYES, FERNANDO C     6295 NW 45TH TER                                                                             COCONUT CREEK    FL   33073‐1957
REYES, FRANCISCO      1730 6TH ST                                                                                  EWING            NJ   08638‐3006
REYES, FRANCISCO      4878 ENCANTO CREEK DR                                                                        SAN ANTONIO      TX   78247
REYES, FRANCISCO      508 MARSAC ST                                                                                BAY CITY         MI   48708‐7782
REYES, FRANCISCO      PO BOX 431536                                                                                PONTIAC          MI   48343‐1536
REYES, FRANCISCO C    3009 CANFIELD RD APT 8                                                                       YOUNGSTOWN       OH   44511‐2838
REYES, FRANCISCO C    6326 CRAIGMONT RD                                                                            CATONSVILLE      MD   21228‐1238
REYES, FRANCISCO J    4878 ENCANTO CREEK DR                                                                        SAN ANTONIO      TX   78247‐5618
REYES, FRANCISCO R    8255 BURPEE RD                                                                               GRAND BLANC      MI   48439‐7419
REYES, FRED           3750 OAKVIEW DRIVE                                                                           GIRARD           OH   44420‐3136
REYES, GASPAR         202 CLAIRE DR                                                                                SEFFNER          FL   33584‐5318
REYES, GENE J         8401 N WAYLAND AVE                                                                           KANSAS CITY      MO   64153‐3609
REYES, GEORGE A       1038 KIM LN                                                                                  MESQUITE         TX   75149‐6974
REYES, GILBERT        26634 COLETTE ST                                                                             HAYWARD          CA   94544‐3007
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Name                     Address1                         Address2                     Address3   Address4         City               State Zip
REYES, GILBERT           7803 LAMPLEY RD                                                                           PRIMM SPRINGS       TN 38476‐9633
REYES, GLADYS V          920 AVE JESUS T PINERO APT 605                                                            SAN JUAN            PR 00921‐1906
REYES, GLENDA            APT B14                          1355 SOUTH WINTER STREET                                 ADRIAN              MI 49221‐4343
REYES, GONZALO F         3333 W 64TH ST                                                                            CHICAGO              IL 60629‐2715
REYES, GUADALUPE R       109 EAST ST                                                                               OXFORD              MI 48371‐4944
REYES, GUADALUPE V       1310 POMPTON CIR                                                                          LANSING             MI 48910‐4349
REYES, GUILLERMO         3180 GIDDINGS RD                                                                          AUBURN HILLS        MI 48326‐1619
REYES, HENRY             1619 GRATIOT AVE                                                                          SAGINAW             MI 48602‐2632
REYES, HILDA             6203 ST LEONARD DR                                                                        ARLINGTON           TX 76001‐7848
REYES, HUGO              20100 W. COUNTY CLUB DR          1706                                                     AVENTURA            FL 33180
REYES, ISRAEL            1611 WELLINGTON DR                                                                        COLUMBIA            TN 38401‐5449
REYES, ISRAEL G          304 W 3RD ST                                                                              FERRIS              TX 75125‐2016
REYES, JEAN I            1039 CHERRY HILL LANE                                                                     WEBSTER             NY 14580‐1809
REYES, JERONIMO L        5417 S 74TH AVE                                                                           SUMMIT               IL 60501‐1016
REYES, JESS F            7593 GOLD DR                                                                              RENO                NV 89506‐5796
REYES, JESSICA           PO BOX 302                                                                                CANOVANAS           PR 00729‐0302
REYES, JESUS             3230 PLAZA CIR                                                                            EDINBURG            TX 78539‐6476
REYES, JOE A             14959 FLORENTINE ST                                                                       SYLMAR              CA 91342‐5054
REYES, JOHN M            8348 WHITMORE ST                                                                          ROSEMEAD            CA 91770‐2649
REYES, JOHNNY E          8010 N DRURY AVE                                                                          KANSAS CITY         MO 64119‐7800
REYES, JON R             19810 FORT ST APT 204                                                                     RIVERVIEW           MI 48193‐8759
REYES, JON R             2300 MEDFORD ST                                                                           TRENTON             MI 48183‐5802
REYES, JOSE              233 LINDA VISTA AVE APT 1                                                                 NORTH HALEDON       NJ 07508
REYES, JOSE C            13655 WESTERN AVE                                                                         BLUE ISLAND          IL 60406‐3238
REYES, JOSEPHINE M       4040 BAGLEY                                                                               DETROIT             MI 48209‐2135
REYES, JOSEPHINE M       4040 BAGLEY ST                                                                            DETROIT             MI 48209‐2135
REYES, JOSHUA N          10083 POND VIEW TRL                                                                       HOLLY               MI 48442‐9348
REYES, JOSHUA N.         10083 POND VIEW TRL                                                                       HOLLY               MI 48442‐9348
REYES, JUAN A            723 DIANNE COURT                                                                          RAHWAY              NJ 07065‐2611
REYES, JUAN A            723 DIANNE CT                                                                             RAHWAY              NJ 07065‐2611
REYES, JUAN D            HC‐03 BOX 12098                  JUANABIDZ                                                SAN JUAN            PR 00795‐9507
REYES, JUAN D            HC 3 BOX 12098                   JUANABIDZ                                                JUANA DIAZ          PR 00795‐9507
REYES, JUAN L            7004 WOODMAN AVE APT 6                                                                    VAN NUYS            CA 91405‐3424
REYES, JUAN M            13541 BRACKEN ST                                                                          ARLETA              CA 91331‐6212
REYES, JUAN M            5559 HADLEY RD                                                                            GOODRICH            MI 48438‐9610
REYES, JUANA M           1256 PIUS ST                                                                              SAGINAW             MI 48638
REYES, JULIA E.          4368 LINDENWOOD DR                                                                        SWARTZ CREEK        MI 48473
REYES, JULIAN ANDREW     11303 W 71ST TER                                                                          SHAWNEE             KS 66203‐4303
REYES, JUSTO             APT A2                           1251 WEBSTER AVENUE                                      BRONX               NY 10456‐3305
REYES, KAREN             7891 W SLAGLER ST NUMBER 275                                                              MIAMI               FL 33144
REYES, LESSA GAY         1502 VICTORY AVE                                                                          WICHITA FALLS       TX 76301‐6634
REYES, LOUREEN K         3225 REO RD                                                                               LANSING             MI 48911
REYES, LUPE R            910 YORKSHIRE RD                                                                          ANDERSON            IN 46012‐2652
REYES, MAGALIS           47 EAST ROCKWOOD STREET                                                                   ECORSE              MI 48229‐1848
REYES, MAGALIS           47 E ROCKWOOD ST                                                                          ECORSE              MI 48229‐1848
REYES, MANUEL J          11688 DEER CREEK CIR                                                                      PLYMOUTH            MI 48170‐2865
REYES, MARIA G           PO BOX 7137                                                                               STERLING HEIGHTS    MI 48311‐7137
REYES, MARIA L           LANG RICHERT & PATCH             5200 NORTH PALM AVENUE 4TH                               FRESNO              CA 93704
                                                          FLOOR
REYES, MARIELLA YSABEL   WATTS GUERRA CRAFT LLP           2402 DUNLAVY ST STE 300                                  HOUSTON            TX 77006‐2404
REYES, MARIO L           2124 OSTRUM DR                                                                            WATERFORD          MI 48328‐1823
REYES, MARISA M          1401 HIGHWAY 360 APT 1017                                                                 EULESS             TX 76039‐5240
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Name                  Address1                          Address2                         Address3   Address4         City              State Zip
REYES, MARLA
REYES, MARLA LIZETH   WILLIAM R. EDWARDS                2100 FROST BANK PLAZA                                        CORPUS CHRISTI     TX   78470
REYES, MARTIN S       40116 161ST ST E                                                                               PALMDALE           CA   93591‐3003
REYES, MARY A         C/O MARGO REYES                   3315 JOHANN DR                                               SAGINAW            MI   48609‐9760
REYES, MARY A         2202 PARADISE TRL                                                                              OXFORD             MI   48371‐6243
REYES, MARY A         11200 LADY SLIPPER LANE           C/O MARGO REYES                                              SAGINAW            MI   48609‐8827
REYES, MARY L         2300 BELAIRE DR                                                                                LANSING            MI   48911‐1611
REYES, MEDIN E        5440 KIMBERLY DR                                                                               GRAND BLANC        MI   48439‐5164
REYES, MICHAEL
REYES, MICHAEL G      506 DENISE DR                                                                                  MARSHALL          TX    75672‐8412
REYES, MIGUEL         611 HENRY ST                                                                                   DEFIANCE          OH    43512‐2214
REYES, MONICA         1570 US HIGHWAY 160                                                                            CAULFIELD         MO    65626‐9323
REYES, NEOMI A        1433 WESTBURY DR                                                                               DAVISON           MI    48423‐8347
REYES, NOE            3015 N 70TH ST                                                                                 KANSAS CITY       KS    66109‐1803
REYES, NORA L         2362 CABOT ST                                                                                  DETROIT           MI    48209‐1073
REYES, NORMA G        3313 W MOUNT HOPE AVE             APT 122                                                      LANSING           MI    48911‐1291
REYES, ORLANDO        121 TERRACE PARK                                                                               ROCHESTER         NY    14619‐2418
REYES, PATRICIA C     102 W CARLISLE RD                                                                              THOUSAND OAKS     CA    91361‐5308
REYES, PATRICK C      700 DUNEDIN DR                                                                                 ROCHESTER HILLS   MI    48309‐1057
REYES, PAUL L         3448 WILLOW CREST LN                                                                           DALLAS            TX    75233‐3827
REYES, PEDRO C        2200 RUTGERS DR                                                                                TROY              MI    48085‐3862
REYES, PETE L         2012 ROBERTS CUT OFF RD                                                                        FORT WORTH        TX    76114‐1816
REYES, PETER          8633 S 78TH CT                                                                                 JUSTICE           IL    60458‐2337
REYES, PHILIP A       PO BOX 950280                                                                                  MISSION HILLS     CA    91395‐0280
REYES, PRISCILLA
REYES, PROSPERO       1111 WHEELOCK ST                                                                               DETROIT            MI   48209‐1939
REYES, RAFAEL         5458 NASSAR ST                                                                                 FLINT              MI   48505‐1000
REYES, RAMONA O       500 GREENWOOD AVE                                                                              LEHIGH ACRES       FL   33972‐4026
REYES, RAYMOND        ROMANO STANCROFF MIKHOV PC        640 S SAN VICENTE BLVD STE 230                               LOS ANGELES        CA   90048‐4654
REYES, REYNALDO       WATTS GUERRA CRAFT LLP            2402 DUNLAVY ST STE 300                                      HOUSTON            TX   77006‐2404
REYES, RICARDO        3410 RUST AVE                                                                                  SAGINAW            MI   48601‐2458
REYES, RICARDO J      638 E BISHOP AVE                                                                               FLINT              MI   48505‐3346
REYES, RICHARD        3230 WALTERS DR                                                                                SAGINAW            MI   48601‐4648
REYES, RICHARD        1932 HUNTERS RUN RD                                                                            LEWISBURG          TN   37091‐5201
REYES, RICHARD M      43052 BROOKS DR                                                                                CLINTON TWP        MI   48038‐4442
REYES, RICO           4425 RANDOLPH ST                                                                               SAGINAW            MI   48601‐6784
REYES, ROBERT C       7183 LEWIS RD                                                                                  MOUNT MORRIS       MI   48458‐2229
REYES, ROBERTO J      1435 LYONS AVE                                                                                 LANSING            MI   48910‐1758
REYES, ROBEY          369 N CANALES CIR                                                                              ROMA               TX   78584‐8055
REYES, ROBEY          MIKAL WATTS                       815 WALKER ST STE 1600                                       HOUSTON            TX   77002‐5769
REYES, ROBEY IEN      WATTS GUERRA CRAFT LLP            2402 DUNLAVY ST STE 300                                      HOUSTON            TX   77006‐2404
REYES, ROCIO
REYES, ROGER          615 KNOLLWOOD DR                                                                               LA VERGNE         TN    37086‐4153
REYES, RUBEN          101 HINKLE AVENUE                                                                              MONTPELIER        OH    43543‐9228
REYES, RUBEN          PO BOX 90846                                                                                   BURTON            MI    48509‐0846
REYES, RUBEN M        326 N LAPEER ST                                                                                LAKE ORION        MI    48362‐3164
REYES, RUDOLFO E      1984 S STEWART RD                                                                              CHARLOTTE         MI    48813‐9391
REYES, RUDOLFO E      1984 SOUTH STEWART ROAD                                                                        CHARLOTTE         MI    48813‐9391
REYES, RUDOLPH        5140 N EASTMAN RD                                                                              MIDLAND           MI    48642‐8247
REYES, RUDY T         227 VALLEY DR                                                                                  COLUMBIA          TN    38401‐4961
REYES, RUFO           3562 SHAWNEE LN                                                                                MELBOURNE         FL    32901‐8180
REYES, RUVEN          PO BOX 1666                                                                                    WASKOM            TX    75692‐1666
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Name                            Address1                           Address2                   Address3   Address4                 City                  State Zip
REYES, SALVADOR                 1562 LONG POND DR                                                                                 VALRICO                FL 33594‐4424
REYES, SALVADOR                 200 W COLUMBINE AVE APT E7                                                                        SANTA ANA              CA 92707
REYES, SAMMY A                  29721 POPPY MEADOW ST                                                                             CANYON COUNTRY         CA 91387‐4429
REYES, SANTOS B                 4092 COUNTRY RD                    SARA BALLARD                                                   OTTER LAKE             MI 48464‐9431
REYES, SERGIO M                 830 CATKIN CT                                                                                     SAN JOSE               CA 95128‐4700
REYES, SHARRON S                4780 JAMM RD                                                                                      ORION                  MI 48359‐2216
REYES, SOFIA M                  APT 712                            3225 WOODLAND PARK DRIVE                                       HOUSTON                TX 77082‐7645
REYES, SOFIA M                  3225 WOODLAND PARK DR              APT 712                                                        HOUSTON                TX 77082‐7645
REYES, ST JOHN                  PO BOX 1221 104                                                                                   CROOKSTON              MN 56716
REYES, TERESA                   3303 OAK VISTA WAY                                                                                LAWRENCEVILLE          GA 30044‐6729
REYES, TERESA C                 337 DONA ANA SCHOOL RD                                                                            LAS CRUCES             NM 88007‐5815
REYES, TERRI L                  2312 BAY ST                                                                                       SAGINAW                MI 48602‐3824
REYES, THEODORE L               8700 W 116TH ST                                                                                   OVERLAND PARK          KS 66210‐1912
REYES, THERESA N                5307 LEDGEWOOD RD                                                                                 SOUTH GATE             CA 90280‐5344
REYES, THOMAS                   HC 8 BOX 49805                                                                                    CAGUAS                 PR 00725‐9684
REYES, THOMAS B                 1035 STANLEY AVE                                                                                  PONTIAC                MI 48340‐1779
REYES, VICKIE M                 PO BOX 17682                                                                                      HUNTSVILLE             AL 35810‐7682
REYES, VIRGILIO D               21022 MENLO AVE                                                                                   TORRANCE               CA 90502‐1723
REYES, VIRGINIA D               180 HILLCLIFF RD                                                                                  WATERFORD              MI 48328‐3005
REYES, VIRGINIA D               180 HILLCLIFF DR                                                                                  WATERFORD              MI 48328‐3005
REYES, WENDY L                  823 NORDALE AVE                                                                                   DAYTON                 OH 45420‐2339
REYES, XAVIER                   BOX 603                                                                                           BENSVIDAS              TX 78341‐0603
REYES, XAVIER                   PO BOX 603                                                                                        BENAVIDES              TX 78341‐0603
REYES, YVONNE YBARRA            WATTS GUERRA CRAFT LLP             2402 DUNLAVY ST STE 300                                        HOUSTON                TX 77006‐2404
REYES, YVONNE YBARRA            RAMIREZ LAW FIRM PLLC              820 E HACKBERRY AVE                                            MCALLEN                TX 78501‐5739
REYESTORRES, ANGELINA           4110 OAKTON ST                     APT 1                                                          SKOKIE                  IL 60076
REYGAERT, ADHAMAR E             5338 SUNNYSIDE DR                                                                                 CLARKSTON              MI 48346‐3965
REYGAERT, CONSTANCE M           5338 SUNNYSIDE DR                                                                                 CLARKSTON              MI 48346‐3965
REYGAERT, THOMAS A              465 LEXINGTON RD                                                                                  GROSSE POINTE FARMS    MI 48236‐2842
REYLAND, BARBARA J              474 GROVEWOOD PL                                                                                  THE VILLAGES           FL 32162‐5055
REYMENT, DONNA M                5608 S RUTHERFORD AVE                                                                             CHICAGO                 IL 60638‐3247
REYMER, FRANK R                 4420 PINELN                                                                                       CHAMBERSBURG           PA 17202
REYMER, FRANK R                 4420 PINE LN                                                                                      CHAMBERSBURG           PA 17202‐8272
REYMOND FINKE                   SONNENBURGER WEG 15                                                      16259 BAD FREIENWALDE,
                                                                                                         GERMANY
REYMOND I I I, CHARLES D        125 IRONWOOD CV                                                                                   PASS CHRISTIAN        MS   39571‐2354
REYMOND, FRANK D                6002 S WOOD ST                                                                                    CHICAGO               IL   60636
REYMORE CHEVROLET SALES, INC.   BRIAN HOUSE                        746 N MAIN ST                                                  CENTRAL SQUARE        NY   13036‐2643
REYMORE CHEVROLET SALES, INC.   746 N MAIN ST                                                                                     CENTRAL SQUARE        NY   13036‐2643
REYMUNDA GARCIA                 12892 WIINGASH‐MI‐KUN                                                                             RAPID CITY            MI   49676
REYMUNDA RENDON                 13613 DRONFIELD AVE                                                                               SYLMAR                CA   91342‐1429
REYMUNDO CERVANTES              10032 SHADYHILL LN                                                                                GRAND BLANC           MI   48439‐8319
REYMUNDO OROZCO JR              140 N MCKENZIE ST                                                                                 ADRIAN                MI   49221‐1904
REYMUNDO P REYES                4484 HWY 44                                                                                       SAN DIEGO             TX   78384‐4516
REYMUNDO RODRIGUEZ              97 CROCKER BLVD                                                                                   MOUNT CLEMENS         MI   48043‐2549
REYMUNDO VALLE                  251 RUTH ANN DR                                                                                   DEFIANCE              OH   43512‐1467
REYMUNDO VARGAS                 3302 BRIARWOOD DR                                                                                 FLINT                 MI   48507‐1452
REYN SPOONER                    HAWAIIAN TRADITIONALS              PO BOX 1287                                                    KAMUELA               HI   96743‐1287
REYN SPOONER, A WHOLLY OWNED
SUBSIDIARY OF REYNS HOLDCO
REYNA CAPITAL                   21175 NETWORK PL                                                                                  CHICAGO               IL 60673
REYNA CHAVEZ                    15111 PIPELINE AVE SPC 6                                                                          CHINO HILLS           CA 91709‐2636
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Name                  Address1                          Address2                       Address3   Address4         City               State Zip
REYNA JR, ALFREDO     9942 TOPAZ CV                                                                                FORT WAYNE          IN 46804‐5244
REYNA JR, GUADALUPE   11614 WILDWOOD RD                                                                            SHELBYVILLE         MI 49344‐9646
REYNA MICHAEL         REYNA, MICHAEL                    2915 VALIANT SCENE CT                                      HOUSTON             TX 77038
REYNA MORA            1004 FAIRVIEW AVE                                                                            PONTIAC             MI 48340‐2640
REYNA, ALBERT E       8053 BROADFIELD RD                                                                           MANLIUS             NY 13104‐9629
REYNA, ALMA E
REYNA, ANGELA MARIE   1360 ASHOVER DR                                                                              BLOOMFIELD HILLS   MI   48304
REYNA, CARLA MARIE    4195 CARMANWOOD DR                                                                           FLINT              MI   48507‐5503
REYNA, CARLOS         2001 GLENWOOD WAY                                                                            MIDLOTHIAN         TX   76065‐7503
REYNA, CHRISTINE D    223 WEST FAIRMOUNT AVENUE                                                                    PONTIAC            MI   48340‐2741
REYNA, CLARE BETH     APT 104                           17625 KINGSBROOKE CIRCLE                                   CLINTON TWP        MI   48038‐3786
REYNA, DAVID          3525 OLD SOUTH RD                                                                            MURFREESBORO       TN   37128‐4725
REYNA, DAVID
REYNA, ELMA N         5420 N 31ST ST                                                                               MCALLEN            TX   78504‐5125
REYNA, ERIK           2901 BUCKNER LN                                                                              SPRING HILL        TN   37174‐8242
REYNA, EUSTASIA       1055 TRACY ST                                                                                OWOSSO             MI   48867‐4065
REYNA, FELIX          3548 S TOWERLINE RD                                                                          BRIDGEPORT         MI   48722‐9549
REYNA, GABINO R       122 W WASHINGTON ST                                                                          PEARSALL           TX   78061‐1631
REYNA, GILBERT A      PO BOX 234                                                                                   DEFIANCE           OH   43512‐0234
REYNA, GONZALO        1316 THROOP ST                                                                               SAGINAW            MI   48602‐4589
REYNA, HUMBERTO M     6409 FM 1732                                                                                 BROWNSVILLE        TX   78520‐3885
REYNA, JESSIE         1818 MABEL AVE                                                                               FLINT              MI   48506‐3387
REYNA, JOHN A         PO BOX 14316                                                                                 SAGINAW            MI   48601‐0316
REYNA, JOSE           13427 MARY LEE CT                                                                            PLAINFIELD         IL   60585‐6735
REYNA, JOSE
REYNA, JUAN J         2901 BUCKNER LN                                                                              SPRING HILL        TN   37174‐8242
REYNA, JUAN R         1315 CLINTON ST                                                                              SANDUSKY           OH   44870‐3015
REYNA, LEONILA Q      1716 W HAYWOOD PLACE                                                                         TUCSON             AZ   85746‐3205
REYNA, LOUIS J        4306 SAINT JAMES ST                                                                          DETROIT            MI   48210‐2044
REYNA, LUIS M         431 RULF ST                                                                                  DEFIANCE           OH   43512‐3079
REYNA, M R            7300 W BERYL AVE                                                                             PEORIA             AZ   85345‐6714
REYNA, MARIA          5803 INGRAM APT 2202                                                                         SAN ANTONIO        TX   78228‐3482
REYNA, MARIA          5803 INGRAM RD APT 2202                                                                      SAN ANTONIO        TX   78228‐3482
REYNA, MARIA L        12727 LOUVRE ST                                                                              PACOIMA            CA   91331‐1241
REYNA, MARICELLA      9942 TOPAZ CV                                                                                FORT WAYNE         IN   46804‐5244
REYNA, MICHAEL        2915 VALIANT SCENE CT                                                                        HOUSTON            TX   77038‐2682
REYNA, PEARL A        209 HILTON ST                                                                                DEFIANCE           OH   43512‐1533
REYNA, PEARL ANN      209 HILTON ST                                                                                DEFIANCE           OH   43512‐1533
REYNA, RAMIRO         4315 LAS CRUCES ST                                                                           SAN ANTONIO        TX   78233
REYNA, RAMIRO         4303 LAS CRUCES ST                                                                           SAN ANTONIO        TX   78233
REYNA, REGINA M       2001 GLENWOOD WAY                                                                            MIDLOTHIAN         TX   76065‐7503
REYNA, RICARDO Y      1055 TRACY ST                                                                                OWOSSO             MI   48867‐4065
REYNA, RIGOBERTO S    PO BOX 3482                                                                                  PONTIAC            MI   48059
REYNA, ROBERT J       7718 RIVERSIDE DR                                                                            SAINT HELEN        MI   48656‐9661
REYNA, SHEILA RUBY    SICO WHITE & BRAUGH               900 FROST BANK PLAZA ‐ 802 N                               CORPUS CHRISTI     TX   78470
                                                        CARANCAHUA
REYNA, SILVANO M      2754 S SPRINGFIELD AVE                                                                       CHICAGO            IL   60623‐4413
REYNA, TERESA L       4006 PARK FOREST DR                                                                          FLINT              MI   48507‐2259
REYNAERT, LEROY F     480 HARVARD DR                                                                               ROMEO              MI   48065‐4831
REYNAERT, SYLVIA      11794 WILKES RD                                                                              BROCKWAY           MI   48097‐3712
REYNAGA, MIRIAM       941 OAK MEADOW DR                                                                            FRANKLIN           TN   37064‐5537
REYNALD CORELLA       1102 COKE DR                                                                                 ARLINGTON          TX   76010‐1908
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Name                          Address1                        Address2                      Address3                     Address4         City               State Zip
REYNALD LECLAIRE              3382 PRATT RD                                                                                               METAMORA            MI 48455‐9710
REYNALDO AGUIRRE JR           2084 E COGGINS RD                                                                                           PINCONNING          MI 48650‐9757
REYNALDO ANCIRA               2035 KINGSWOOD DR                                                                                           FLINT               MI 48507‐3522
REYNALDO BELTY                1303 CHAGAL AVE                                                                                             LANCASTER           CA 93535‐5708
REYNALDO CACERES              3431 BLUEBIRD DR                                                                                            SAGINAW             MI 48601‐5707
REYNALDO DAVILA               6464 DAVISON RD                                                                                             BURTON              MI 48509‐1612
REYNALDO DELAFUENTE           2315 S 18TH ST                                                                                              KANSAS CITY         KS 66106‐4505
REYNALDO DELEON               LOT 25                          481 NORTH WASHINGTON AVENUE                                                 TITUSVILLE          FL 32796‐2881

REYNALDO DELEON               1019 GREENBRIAR LN                                                                                          DEFIANCE           OH   43512‐3604
REYNALDO GARZA                5290 TORREY RD                                                                                              FLINT              MI   48507‐3890
REYNALDO GARZA                7423 FOSSIL GARDEN DR                                                                                       ARLINGTON          TX   76002‐4462
REYNALDO GRANADO              45904 PURPLE SAGE CT                                                                                        BELLEVILLE         MI   48111‐6432
REYNALDO JIMENEZ              PO BOX 1003                                                                                                 DEFIANCE           OH   43512‐1003
REYNALDO LEAL JR              14867 POWER DAM RD                                                                                          DEFIANCE           OH   43512‐6711
REYNALDO LOPEZ                2913 MCCORD WAY                                                                                             CERES              CA   95307‐9237
REYNALDO LOZANO               11125 CAYUGA AVE                                                                                            PACOIMA            CA   91331‐2702
REYNALDO MARTELL              42207 HAYES ST                                                                                              BELLEVILLE         MI   48111‐1463
REYNALDO MARTINEZ
REYNALDO MOLINA               646 BELFAST FARMINGTON RD                                                                                   BELFAST            TN   37019‐2018
REYNALDO MOLINA JR            1021 MACDONALD AVENUE                                                                                       FLINT              MI   48507‐2882
REYNALDO PEREZ                333 BURKE ST                                                                                                RIVER ROUGE        MI   48218‐1249
REYNALDO QUINTANILLA          7305 CLEARVIEW DR                                                                                           FAIRVIEW           TN   37062‐9208
REYNALDO RAMON                4509 WAHL RD                                                                                                SANDUSKY           OH   44870‐9735
REYNALDO RENDON               2118 NEWARK AVE                                                                                             LANSING            MI   48911‐4609
REYNALDO RODRIGUEZ            6561 NORWOOD AVE                                                                                            ALLEN PARK         MI   48101‐2410
REYNALDO RODRIGUEZ            10530 HARRIS RD                                                                                             CHESANING          MI   48616‐9408
REYNALDO RODRIGUEZ JR         16940 OAKLEY RD LOT 85                                                                                      CHESANING          MI   48616‐9571
REYNALDO S ANCIRA             2035 KINGSWOOD DR                                                                                           FLINT              MI   48507‐3522
REYNALDO TREVINO              236 ACAPULCO                                                                                                LOS FRESNOS        TX   78566‐4196
REYNALDO TREVINO              9427 PERRY RD                                                                                               GOODRICH           MI   48438‐9745
REYNALDO TUNGOL               7462 COLCHESTER LN                                                                                          W BLOOMFIELD       MI   48322‐3188
REYNALDS, DAWN
REYNAR CHARLETON T (400714)   ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                         NEW YORK           NY   10006‐1638
REYNAR, CHARLETON T           ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                                         NEW YORK           NY   10006‐1638
REYNARD HOLLINS               PO BOX 4958                                                                                                 EAST LANSING       MI   48826‐4958
REYNARD, JERALD W             10121 N REYNARD RD                                                                                          ALBANY             IN   47320‐9107
REYNARES, HENRIETTA           10300 QUEENSBURY DR                                                                                         YUKON              OK   73099‐8277
REYNAUD, SHIRLEY H            24500 METROPOLITAN PARKWAY                                                                                  CLINTON TOWNSHIP   MI   48035
REYNEBEAU BENJAMIN J          REYNEBEAU, BENJAMIN J           MURPHY & PRACHTHAUSER SC      ONE PLAZA EAST 330 EAST                       MILWAUKEE          WI   53202
                                                                                            KILBOURN AVENUE SUITE 1200

REYNEBEAU BENJAMIN J          REYNEBEAU, JAMES J              MURPHY & PRACHTHAUSER SC      ONE PLAZA EAST 330 EAST                       MILWAUKEE          WI 53202
                                                                                            KILBOURN AVENUE SUITE 1200

REYNEBEAU BENJAMIN J          REYNEBEAU, KIMBERLY             MURPHY & PRACHTHAUSER SC      ONE PLAZA EAST 330 EAST                       MILWAUKEE          WI 53202
                                                                                            KILBOURN AVENUE SUITE 1200

REYNEBEAU BENJAMIN J          STACHOWIAK, KEITH R             MURPHY & PRACHTHAUSER SC      ONE PLAZA EAST 330 EAST                       MILWAUKEE          WI 53202
                                                                                            KILBOURN AVENUE SUITE 1200

REYNEBEAU BENJAMIN J          UMR,                            115 WEST WAUSAU AVENUE                                                      WAUSAU             WI 54402
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Name                                Address1                           Address2                      Address3   Address4         City               State Zip
REYNEBEAU BENJAMIN J                WISCONSIN DEPARTMENT OF HEALTH AND 1 WEST WILSON STREET                                      MADISON             WI 53701‐0309
                                    FAMILY SERVICES
REYNEBEAU, BENJAMIN J               MURPHY & PRACHTHAUSER SC           ONE PLAZA EAST,330 EAST                                   MILWAUKEE          WI 53202
                                                                       KILBOURN AVENUE,SUITE 1200
REYNEBEAU, BENJAMIN J               MURPHY & PRACHTHAUSER SC           ONE PLAZA EAST 330 EAST                                   MILWAUKEE          WI 53202
                                                                       KILBOURN AVENUE SUITE 1200
REYNEBEAU, JAMES J                  MURPHY & PRACHTHAUSER SC           ONE PLAZA EAST,330 EAST                                   MILWAUKEE          WI 53202
                                                                       KILBOURN AVENUE,SUITE 1200
REYNEBEAU, JAMES J AND REYNEBEAU,   MURPHY & PRACHTHAUSER SC           ONE PLAZA EAST 330 EAST                                   MILWAUKEE          WI 53202
KIMBERLY                                                               KILBOURN AVENUE SUITE 1200
REYNEBEAU, KIMBERLY                 MURPHY & PRACHTHAUSER SC           ONE PLAZA EAST 330 EAST                                   MILWAUKEE          WI 53202
                                                                       KILBOURN AVENUE SUITE 1200
REYNEBEAU, KIMBERLY                 MURPHY & PRACHTHAUSER SC           ONE PLAZA EAST,330 EAST                                   MILWAUKEE          WI 53202
                                                                       KILBOURN AVENUE,SUITE 1200
REYNER, BEVERLY E                   821 TEAL DR.                                                                                 QUINCY             MI   49082
REYNER, BEVERLY E                   821 TEAL DR                                                                                  QUINCY             MI   49082‐8535
REYNERO, ALEJOS L                   1206 8TH AVE                                                                                 CANYON             TX   79015‐4404
REYNERO, FELIPE L                   420 N MICHIGAN                                                                               SAGINAW            MI   48602
REYNERO, FELIPE L                   2483 BALDWIN ST                                                                              SAGINAW            MI   48601‐6737
REYNERO, GLORIA                     607 N GRANGER ST                                                                             SAGINAW            MI   48602‐4508
REYNHOUT                            6333 MAIN STREET                                                                             WILLIAMSVILLE      NY   14221
REYNILDA CORTES                     37100 GILES RD                                                                               GRAFTON            OH   44044‐9128
REYNNELLS, ELLEN                    111 N JOHNSON ST                                                                             PONTIAC            MI   48341‐1331
REYNNELLS, WANDA                    571 COUNTY ROAD 393                                                                          KILLEN             AL   35645‐5009
REYNNELLS, WANDA                    571 COUNTY RD 393                                                                            KILLEN             AL   35645
REYNOL GUAJARDO                     8816 W 98TH ST                                                                               PALOS HILLS        IL   60465‐1017
REYNOLD BATTEEN                     3400 E WILKINSON RD                                                                          OWOSSO             MI   48867‐9623
REYNOLD CANNADAY                    824 PHILLIPPA ST                                                                             HINSDALE           IL   60521‐2447
REYNOLD COOK                        4171 AMBROSE AVE NE                                                                          GRAND RAPIDS       MI   49525‐1436
REYNOLD DIEHL                       7060 OLEATHA AVE                                                                             SAINT LOUIS        MO   63139‐2114
REYNOLD GEYER                       6003 SUN VALLEY DR 572                                                                       GRAND BLANC        MI   48439
REYNOLD GUISE                       5791 ORTMAN DR                                                                               STERLING HTS       MI   48314‐2071
REYNOLD L WILLIAMS                  845 S EUCLID AVE                                                                             DAYTON             OH   45417‐3310
REYNOLD MIRABITUR                   33261 WINCHESTER ST                                                                          WESTLAND           MI   48185‐2835
REYNOLD ROBY                        BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS         OH   44236
REYNOLD SCHULTZ, JR.                3540 S CARI ADAM DR                                                                          NEW BERLIN         WI   53146‐3008
REYNOLD STIENKE                     27777 DEQUINDRE RD APT 905                                                                   MADISON HEIGHTS    MI   48071‐3465
REYNOLD SWILLEY JR                  3331 W COLDWATER RD                                                                          MOUNT MORRIS       MI   48458‐9401
REYNOLD WEBSTER                     8754 W BIRCH RD                                                                              LONG LAKE          MI   48743‐9700
REYNOLD WEISS                       12125 NEFF RD                                                                                CLIO               MI   48420‐1862
REYNOLDO V POORE, II                27 DELAWARE AVENUE                                                                           DAYTON             OH   45405
REYNOLDS & ASSOCIATE                24500 NORTHWESTERN HWY                                                                       SOUTHFIELD         MI   48075
REYNOLDS & REY/DAYTN                800 GERMANTOWN ST                                                                            DAYTON             OH   45402‐8311
REYNOLDS & REYNOLDS                 KATHERINE ORRICO                   ONE REYNOLDS WAY BUILDING 2                               KETTERING          OH   45430
                                                                       OHA2 02‐20
REYNOLDS & REYNOLDS                 1 REYNOLDS WAY                                                                               DAYTON             OH   45430‐1586
REYNOLDS & REYNOLDS                 HARDIG, JOSEPH L.                  74 W LONG LAKE RD STE 203                                 BLOOMFIELD HILLS   MI   48304
REYNOLDS & REYNOLDS                 6700 HOLLISTER NPD H3E                                                                       HOUSTON            TX   77040
REYNOLDS & REYNOLDS                 23150 NETWORK PLACE                                                                          CHICAGO            IL   60673
REYNOLDS & REYNOLDS                 ROBERT DOROBA                      1 REYNOLDS WAY                                            DAYTON             OH   45430‐1586
REYNOLDS & REYNOLDS (SAAB)          KATHERINE ORRICO                   ONE REYNOLDS WAY BUILDING 2                               KETTERING          OH   45430
                                                                       OHA2 02‐20
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Name                                  Address1                            Address2                        Address3   Address4              City               State Zip
REYNOLDS & REYNOLDS CANADA            185 OUELLETTE                                                                  WINDSOR CANADA ON N9A
                                                                                                                     6Y1 CANADA
REYNOLDS & REYNOLDS CANADA LTD
REYNOLDS & REYNOLDS CO                6443 RIDINGS RD                                                                                         SYRACUSE        NY    13206‐1104
REYNOLDS & REYNOLDS CO INC, TH        23150 NETWORK PL                                                                                        CHICAGO         IL    60673‐1231
REYNOLDS & REYNOLDS CO INC, TH        1 REYNOLDS WAY                                                                                          DAYTON          OH    45430‐1586
REYNOLDS & REYNOLDS CO INC, THE       23150 NETWORK PL                                                                                        CHICAGO         IL    60673‐1231
REYNOLDS & REYNOLDS CO INC, THE       1 REYNOLDS WAY                                                                                          DAYTON          OH    45430‐1586
REYNOLDS & REYNOLDS CO INC, THE       800 GERMANTOWN ST                   PO BOX 1005                                                         DAYTON          OH    45402‐8311
REYNOLDS & REYNOLDS CO, THE           1 REYNOLDS WAY                                                                                          DAYTON          OH    45430‐1586
REYNOLDS & REYNOLDS COMPANY           23150 NETWORK PL                                                                                        CHICAGO         IL    60673‐1231
REYNOLDS & REYNOLDS CORP              19855 OUTER DR STE 109E                                                                                 DEARBORN        MI    48124
REYNOLDS & ROBIN P C                  315 CEDAR ST                        PO BOX 888                                                          METTER          GA    30439‐4043
REYNOLDS AIR EXPRESS                  PO BOX 89325                                                                                            TUCSON          AZ    85752‐9325
REYNOLDS ALBERT D (494129)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA    23510
                                                                          STREET, SUITE 600
REYNOLDS ALUM/RCHMND                  PO BOX 27003                                                                                            RICHMOND        VA 23261‐7003
REYNOLDS AND REYNOLDS                 1 REYNOLDS WAY                                                                                          DAYTON          OH 45430‐1586
REYNOLDS AND REYNOLDS (CANADA) LTD    3 ROBERT SPECK PKY                  SUITE 700, BOX 22                          MISSISSAUGA ON L4Z 2G5
                                                                                                                     CANADA
REYNOLDS AND REYNOLDS (CANADA) LTD. PO BOX 8484 STN A                                                                TORONTO ON M5W 3P1
                                                                                                                     CANADA
REYNOLDS AND REYNOLDS CO INC,      800 GERMANTOWN ST                      PO BOX 1005                                                         DAYTON          OH 45402‐8311
REYNOLDS AND REYNOLDS COMPANY      23150 NETWORK PL                                                                                           CHICAGO         IL 60673‐1231
REYNOLDS AND REYNOLDS COMPANY, THE

REYNOLDS AUTOGROUP, INC.              ALBERT REYNOLDS                     2104 W EVERGREEN ST                                                 DURANT           OK   74701‐4624
REYNOLDS AUTOGROUP, INC.              2104 W EVERGREEN ST                                                                                     DURANT           OK   74701‐4624
REYNOLDS BEEBY & MAGNUSON PC          19846 MACK AVE                                                                                          GROSSE POINTE    MI   48236‐2506
REYNOLDS BRUCE                        9207 FOX RUN DRIVE                                                                                      BRENTWOOD        TN   37027‐7401
REYNOLDS BUICK PONTIAC GMC            345 N CITRUS ST                                                                                         WEST COVINA      CA   91791‐1618
REYNOLDS BUICK, INC.                  DONALD REYNOLDS                     345 N CITRUS ST                                                     WEST COVINA      CA   91791‐1618
REYNOLDS CARL                         THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD         SUITE 44                            CORAL GABLES     FL   33146
REYNOLDS CARL B (500508)              (NO OPPOSING COUNSEL)
REYNOLDS CHARLES                      PO BOX 12010                                                                                            HAMTRAMCK       MI 48212‐0010
REYNOLDS CHARLES (413289)             WEITZ & LUXENBERG                   180 MAIDEN LANE                                                     NEW YORK        NY 10038
REYNOLDS CHARLES (494130)             CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                               CLEVELAND       OH 44113‐1328
                                      COONE AND ASSOCIATES
REYNOLDS CHARLES N ‐ 2ND ACTION
REYNOLDS CHARLES N ‐ 2ND ACTION       (NO OPPOSING COUNSEL)
(430219)
REYNOLDS CO                           PO BOX 671344                                                                                           DALLAS          TX    75267‐1344
REYNOLDS CODY                         C/O DAVID SLAUGHTER                 17225 EL CAMINO REAL STE 315                                        HOUSTON         TX    77058‐2739
REYNOLDS CODY                         REYNOLDS, DEBBIE                    17225 EL CAMINO REAL STE 315                                        HOUSTON         TX    77058‐2739
REYNOLDS DEMIS (ESTATE OF) (489204)   BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH    44067
                                                                          PROFESSIONAL BLDG
REYNOLDS DERWIN                       REYNOLDS, DERWIN                    P O BOX 19339                                                       ATLANTA          GA   31126
REYNOLDS DON JAMES                    751 E OLIVE AVE                                                                                         BURBANK          CA   91501‐2116
REYNOLDS EARL (466426)                MOTLEY RICE                         PO BOX 1792                                                         MT PLEASANT      SC   29465‐1792
REYNOLDS EDWARD F (ESTATE OF)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                         NORFOLK          VA   23510
(493423)                                                                  STREET, SUITE 600
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Name                                   Address1                          Address2                         Address3   Address4              City               State Zip
REYNOLDS EMERGENCY EXPRESS             PO BOX 784                                                                    STRATFORD CANADA ON
                                                                                                                     N5A 6W1 CANADA
REYNOLDS GREG                          2826 DURBAN RD                                                                                      SANDY              UT 84093‐3862
REYNOLDS HARRY (ESTATE OF) (492656)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
REYNOLDS HARRY (ESTATE OF) (492657)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
REYNOLDS HARVEY COFER JR (429683)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                         STREET, SUITE 600
REYNOLDS HENRY                         REYNOLDS, HENRY                   ATTORNEY AT LAW PC 105 S UNION                                    DANVILLE            VA 24541
                                                                         ST
REYNOLDS HENRY (358012)                ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                               NEW YORK           NY    10006‐1638
REYNOLDS I I I, AUDIE C                875 E GRAND BLVD                                                                                    YPSILANTI          MI    48198‐4168
REYNOLDS I I I, EVAN A                 1346 HATHAWAY RISING                                                                                ROCHESTER HLS      MI    48306‐3944
REYNOLDS I I I, THOMAS F               602 SAINT ANDREWS BLVD                                                                              NEW SMYRNA BEACH   FL    32168‐7946
REYNOLDS I V, HAROLD H                 28250 W 119TH ST                                                                                    OLATHE             KS    66061‐9013
REYNOLDS III, JOHN J                   524 CINNAMON PL                                                                                     NASHVILLE          TN    37211‐8586
REYNOLDS III, WILLIS A                 2213 WINNEBAGO ST                                                                                   SAINT LOUIS        MO    63118‐4003
REYNOLDS INC                           6451 GERMANTOWN RD                                                                                  MIDDLETOWN         OH    45042‐1352
REYNOLDS INTERNATIONAL SERVICE CO      8525 CLINTON RD                                                                                     BROOKLYN           OH    44144‐1014

REYNOLDS IV, HAROLD HALSEY             28250 WEST 119TH STREET                                                                             OLATHE             KS 66061‐9013
REYNOLDS JACK (491289)                 BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
REYNOLDS JACQUELINE (643098)           ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                        BALTIMORE          MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
REYNOLDS JAMES GILBERT (ESTATE OF)     COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                           HOUSTON             TX   77002‐1751
(656483)
REYNOLDS JASON                         1618 CRESTVIEW DR                                                                                   DANVILLE           IL 61832
REYNOLDS JERRY W                       REYNOLDS, JERRY W                 210 GRANT STREET SUITE 202                                        PITTSBURGH         PA 15219
REYNOLDS JOHN HAROLD (665267)          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
REYNOLDS JOSEPH (ESTATE OF) (489205)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
REYNOLDS JOSEPH K                      REYNOLDS, JOSEPH                  30 E BUTLER AVE                                                   AMBLER             PA    19002‐4514
REYNOLDS JR, BERNARD F                 926 HOMBERG AVE                                                                                     BALTIMORE          MD    21221‐5211
REYNOLDS JR, CALVIN C                  4043 CADDY WAY                                                                                      INDIANAPOLIS       IN    46268‐7720
REYNOLDS JR, EDWIN W                   401 N CEDAR ST APT 104                                                                              LANSING            MI    48912‐1200
REYNOLDS JR, HARVIE L                  4005 BELLE ORCHARD DR                                                                               FAYETTEVILLE       TN    37334‐9267
REYNOLDS JR, JAMES W                   1210 MCKENNANS CHURCH RD                                                                            WILMINGTON         DE    19808‐2131
REYNOLDS JR, JOE D                     1804 BINBROOK RD                                                                                    COLUMBUS           OH    43227‐3706
REYNOLDS JR, JOHN E                    9105 N 267                                                                                          BROWNSBURG         IN    46112
REYNOLDS JR, LAWRENCE C                700 N 500 W                                                                                         ANDERSON           IN    46011‐1428
REYNOLDS JR, PAGE E                    9419 DAWN DR                                                                                        BALTIMORE          MD    21236‐1513
REYNOLDS JR, PAUL D                    22425 DRY FORK RD                                                                                   WARRENTON          MO    63383‐6438
REYNOLDS JR, PERCY                     13166 MONICA ST                                                                                     DETROIT            MI    48238‐3111
REYNOLDS JR, SAM                       700 LAKE ST                                                                                         LAKE PROVIDENCE    LA    71254‐2526
REYNOLDS JR, VICTOR                    1700 HAMPTON RD                                                                                     MOUNT CLEMENS      MI    48043‐3040
REYNOLDS JR, WALTER H                  2215 BARSTOW RD                                                                                     LANSING            MI    48906‐3859
REYNOLDS JR, WILLIAM A                 515 THIRD ST                                                                                        VERMONTVILLE       MI    49096‐9422
REYNOLDS JR, WILLIAM E                 1757 REYNOLDS DR                                                                                    MARIANNA           FL    32448‐8309
REYNOLDS JR, WILLIAM R                 3352 CARMEN                                                                                         WATERFORD          MI    48329‐2700
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Name                                Address1                         Address2                      Address3                 Address4                 City               State Zip
REYNOLDS JR., ROBERT L              26970 DARTMOUTH ST                                                                                               INKSTER             MI 48141‐3148
REYNOLDS JUDY                       PO BOX 2624                                                                                                      KILL DEVIL HILLS    NC 27948‐2624
REYNOLDS LESTER L JR (407208)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                     NORFOLK             VA 23510
                                                                     STREET, SUITE 600
REYNOLDS LESTER M (400862)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                     NORFOLK            VA 23510
                                                                     STREET, SUITE 600
REYNOLDS MARK E (442217)             SIMMONS FIRM                    PO BOX 559                                                                      WOOD RIVER         IL   62095‐0559
REYNOLDS MATTHEW JOHN                REYNOLDS, BONNIE J              PO BOX 832                                                                      ATHENS             GA   30603‐0832
REYNOLDS MATTHEW JOHN                REYNOLDS, GARLAND               PO BOX 832                                                                      ATHENS             GA   30603‐0832
REYNOLDS MATTHEW JOHN                REYNOLDS, GARLAND               701 WEST ADAMS STREET                                                           JACKSONVILLE       FL   32204
REYNOLDS MATTHEW JOHN                REYNOLDS, MATTHEW JOHN          PO BOX 832                                                                      ATHENS             GA   30603‐0832
REYNOLDS MD                          4301 W FRANKLIN ST                                                                                              BELLBROOK          OH   45305‐1552
REYNOLDS METALS COMPANY              ATTN GENERAL COUNSEL            390 PARK AVENUE                                                                 NEW YORK           NY   10022
REYNOLDS METALS COMPANY              6601 W BROAD ST                                                                                                 RICHMOND           VA   23230‐1723
REYNOLDS NOSBISCH                    16 BIRCHWOOD DR                                                                                                 CHEEKTOWAGA        NY   14227‐3206
REYNOLDS OUTDOOR MEDIA INC.          PAT SUTTON                      3838 OAK LAWN AVE STE 606                                                       DALLAS             TX   75219‐4501
REYNOLDS OUTDOOR MEDIA INC.
REYNOLDS PONTAIC‐CADILLAC‐GMC TRUCK‐ 249 MADISON RD                                                                                                  ORANGE             VA 22960‐1205
BUICK‐SUBARU, INCORPORATED

REYNOLDS PONTIAC ‐CADILLAC‐GMC      249 MADISON RD                                                                                                   ORANGE             VA 22960‐1205
TRUCK‐BUICK‐SUBARU, INCORPORATED

REYNOLDS PONTIAC‐CADILLAC‐GMC TRUCK 249 MADISON RD                                                                                                   ORANGE             VA 22960‐1205

REYNOLDS PONTIAC‐CADILLAC‐GMC TRUCK‐ 249 MADISON RD                                                                                                  ORANGE             VA 22960‐1205
BUICK‐SUBARU, INCORPORATED

REYNOLDS PONTIAC‐CADILLAC‐GMC TRUCK‐ KEVIN REYNOLDS                  249 MADISON RD                                                                  ORANGE             VA 22960‐1205
BUICK‐SUBARU, INCORPORATED

REYNOLDS ROBERT (473310)            ANGELOS PETER G                  100 N CHARLES STREET , ONE                                                      BALTIMORE          MD 21201
                                                                     CHARLES CENTER
REYNOLDS RODNEY                     8912 GEORGIA ST                                                                                                  DETROIT            MI   48213‐2751
REYNOLDS RYAN                       REYNOLDS, RYAN                   9660 NW 25TH ST                                                                 SUNRISE            FL   33322‐2706
REYNOLDS SR, LARRY E                5348 S 300 E                                                                                                     ANDERSON           IN   46017‐9502
REYNOLDS SR, RICHARD                7795 MILL RD                                                                                                     AKRON              NY   14001‐9650
REYNOLDS SR., LARRY E               5348 S 300 E                                                                                                     ANDERSON           IN   46017‐9502
REYNOLDS SR., ROBERT                37594 WILLOW LN APT W4                                                                                           WESTLAND           MI   48185‐3344
REYNOLDS TIMOTHY                    REYNOLDS, TIMOTHY                3390 LUDWIG                                                                     OXFORD             MI   48371
REYNOLDS UTILITY SERVICE LTD        4509 DENISON AVE                                                                                                 SNYDER             TX   79549‐5819
REYNOLDS VICTOR F (463727)          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                                      BALTIMORE          MD   21202
                                                                     CHARLES CENTER 22ND FLOOR
REYNOLDS VICTORIA                   REYNOLDS, VICTORIA               PO BOX 606                                                                      BENTON             AR 72018‐0606
REYNOLDS WATER CONDITIONING CO      24545 HATHAWAY ST                                                                                                FARMINGTON HILLS   MI 48335‐1549
REYNOLDS WATER/DET                  12100 CLOVERDALE ST                                                                                              DETROIT            MI 48204‐1151
REYNOLDS WHEEL INTERNATIONAL        DANIELLE FELTMAN                 C/O B & C CORP.               5208 WOOSTER ROAD W      RAMOSA ARIZPE CP 25900
                                                                                                                            MEXICO
REYNOLDS WHEEL SPA‐                 SUBSIDIARY OF ALCOA INC/RUEDAS   ZONA INDUSTRIAL SUR           2003 VALENCIA CARABOBO   VENEZULA VENEZUELA
REYNOLDS WHEELS INTERNATIONAL       DANIELLE FELTMAN                 1 REYNOLDS DR.                                                                  STANFORD           KY 40484
REYNOLDS WHEELS INTERNATIONAL VA    705 REGIONAL PARK RD                                                                                             LEBANON            VA 24266‐3706
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Name                        Address1                          Address2                        Address3             Address4         City               State Zip
REYNOLDS WHEELS SPA         SUBSIDIARY OF ALCOA INC           ALCOA INC                       36555 CORPORATE DR                    FARMINGTON HILLS    MI 48331
REYNOLDS WILLIAM (447234)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD          OH 44067
                                                              PROFESSIONAL BLDG
REYNOLDS, AARON A           15807 BUCKINGHAM AVE                                                                                    BEVERLY HILLS      MI   48025‐3307
REYNOLDS, ABRAHAM           SHANNON LAW FIRM                  100 W GALLATIN ST                                                     HAZLEHURST         MS   39083‐3007
REYNOLDS, ADA M             2703 PERKINS                                                                                            SAGINAW            MI   48601‐1504
REYNOLDS, AGNES             605 ASHWOOD DR                                                                                          FLUSHING           MI   48433‐1300
REYNOLDS, ALAN D            PO BOX 441                                                                                              ORTONVILLE         MI   48462‐0441
REYNOLDS, ALBERT D          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
REYNOLDS, ALEECHA M
REYNOLDS, ALEXANDER P       215 OAK TRCE W                                                                                          JASPER             GA   30143‐9205
REYNOLDS, ALLAN M           7445 WADE ST                                                                                            SWARTZ CREEK       MI   48473‐1424
REYNOLDS, ALLEN L           302 HICKORY DR                                                                                          BETHALTO           IL   62010‐1067
REYNOLDS, ALLEN LEE         302 HICKORY DR                                                                                          BETHALTO           IL   62010‐1067
REYNOLDS, ALLWYN E          118 SWALLOW DR                                                                                          DAYTON             OH   45415‐3523
REYNOLDS, ALT               7578 OLDHAM LN                                                                                          RIVERDALE          GA   30274‐3595
REYNOLDS, ALVIN D           5004 MOUNT MORRIS RD                                                                                    COLUMBIAVILLE      MI   48421‐8943
REYNOLDS, ALVIN T           54501 COUNTY ROAD 657                                                                                   PAW PAW            MI   49079‐8614
REYNOLDS, ALVIN T           245 LONGWOOD DR                                                                                         JANESVILLE         WI   53548‐3276
REYNOLDS, AMERICA J         741 ELLSWORTH DR                                                                                        TROTWOOD           OH   45426‐2515
REYNOLDS, AMERICA J         741 ELSWORTH DR                                                                                         TROTWOOD           OH   45426‐2515
REYNOLDS, ANN M             245 LONGWOOD DR                                                                                         JANESVILLE         WI   53548‐3276
REYNOLDS, ANNA E            7445 WADE ST                                                                                            SWARTZ CREEK       MI   48473‐1424
REYNOLDS, ANNA E            7445 WADE                                                                                               SWARTZ CREEK       MI   48473‐1424
REYNOLDS, ANNIE L           4648 LILLIBRIDGE                                                                                        DETROIT            MI   48214‐1643
REYNOLDS, ARTHUR J          1805 RAMSAY BLVD                                                                                        FLINT              MI   48503‐4765
REYNOLDS, ASHER B           12933 ROUTE 301                                                                                         LAGRANGE           OH   44050
REYNOLDS, AUDIE C           4800 CLARK LAKE RD                                                                                      JACKSON            MI   49201‐9282
REYNOLDS, BARBARA           14137 ATASCADERA #3D                                                                                    CORPUS CHISTI      TX   78418‐6401
REYNOLDS, BARBARA           28961 DAWSON ST                                                                                         GARDEN CITY        MI   48135
REYNOLDS, BARBARA A         318 WILDWOOD DR                                                                                         MANCHESTER         MI   48158
REYNOLDS, BARBARA H         12095 WHITCOMB ST                                                                                       DETROIT            MI   48227‐2075
REYNOLDS, BARBARA J         148 SUNSET RIDGE DR                                                                                     CROSSVILLE         TN   38571‐3670
REYNOLDS, BARBARA J         1816 REDWOOD ST                                                                                         ARLINGTON          TX   76014‐1555
REYNOLDS, BARBARA J         1816 REDWOOD                                                                                            ARLINGTON          TX   76014‐1555
REYNOLDS, BARBARA L         1534 LITTLE DOVE CT                                                                                     HENDERSON          NV   89014‐0350
REYNOLDS, BARBARA L         25 HAY AVE                                                                                              BROOKVILLE         OH   45309
REYNOLDS, BARRY L           557 ROBERT ST                                                                                           LANSING            MI   48910‐5432
REYNOLDS, BENNIE J          11247 LARIMORE RD                                                                                       SAINT LOUIS        MO   63138‐2000
REYNOLDS, BENNY             102 CHESTNUT GROVE RD                                                                                   PULASKI            TN   38478‐8448
REYNOLDS, BERT C            2400 FARMBROOK TRL                                                                                      OXFORD             MI   48370
REYNOLDS, BESSIE M          1276 W PULASKI HWY                                                                                      ELKTON             MD   21921‐4702
REYNOLDS, BETH E            5004 MT MORRIS RD                                                                                       COLUMBIAVILLE      MI   48421‐8943
REYNOLDS, BETTY
REYNOLDS, BETTY A           9505 POINSETTA DR                                                                                       SHREVEPORT         LA   71118‐4017
REYNOLDS, BETTY J           322 W LORADO AVE                                                                                        FLINT              MI   48505‐2061
REYNOLDS, BETTY T           6309 RAY RD                                                                                             SWARTZ CREEK       MI   48473‐9122
REYNOLDS, BEVERLY B         3980 OLD STERLINGTON RD APT 606                                                                         MONROE             LA   71203‐2688
REYNOLDS, BILLY J           4301 WEST OAKLEY ROAD                                                                                   HARRISON           MI   48625‐9605
REYNOLDS, BOBBY             15817 E 18TH PL                                                                                         AURORA             CO   80011‐4707
REYNOLDS, BOBBY H           70 HOWARD CIR                                                                                           WINDER             GA   30680‐1642
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REYNOLDS, BONNIE           8400 SHIELDS DR.                    APT. 102                                            SAGINAW          MI 48609
REYNOLDS, BONNIE           8400 SHIELDS DR APT 102                                                                 SAGINAW          MI 48609‐8509
REYNOLDS, BONNIE           832 GLENWOOD DR                                                                         GAINESVILLE      GA 30501‐2312
REYNOLDS, BONNIE J         BLASINGAME, BURCH, GARRARD & ASHLEY PO BOX 832                                          ATHENS           GA 30603‐0832

REYNOLDS, BRADLEY E        772 KIMBERLY APT 202                                                                    LAKE ORION      MI   48362‐2968
REYNOLDS, BRENDA A         19 BELLE TERRE LN                                                                       ROCHESTER       NY   14626‐4736
REYNOLDS, BRIAN            7 NOTCH RD                                                                              LITTLE FALLS    NJ   07424‐1920
REYNOLDS, BRIAN J          7101 BON VILLA CIR                                                                      LA PALMA        CA   90623‐1167
REYNOLDS, BRIAN L          534 DOVE CREEK CIR                                                                      GRAPEVINE       TX   76051‐3102
REYNOLDS, BRUCE E          46399 HANFORD RD                                                                        CANTON          MI   48187‐4784
REYNOLDS, BUEFORD D        20495 COUNTY ROAD 415                                                                   NEWBERRY        MI   49868‐8227
REYNOLDS, CALVIN           5749 KETTERING SQUARE DR S          DR                                                  KETTERING       OH   45440‐2906
REYNOLDS, CARL             9690 S COUNTY ROAD 90 E                                                                 CLOVERDALE      IN   46120‐9123
REYNOLDS, CARL A           697 ARROW LN                                                                            KISSIMMEE       FL   34746‐4903
REYNOLDS, CARLISA
REYNOLDS, CAROL A          6843 US HWY 50E                                                                         BEDFORD         IN   47421‐6873
REYNOLDS, CAROL A          1170 FERNSHIRE DR                                                                       CENTERVILLE     OH   45459‐2316
REYNOLDS, CAROL A          6843 US HIGHWAY 50 E                                                                    BEDFORD         IN   47421‐6873
REYNOLDS, CAROL J          940 ROMAN DR                                                                            WHITE LAKE      MI   48386‐4399
REYNOLDS, CAROL R          1925 MIDDLEBOROUGH RD,                                                                  BALTIMORE       MD   21221
REYNOLDS, CAROLINE R       9495 WERTH RD                                                                           HERRON          MI   49744‐9799
REYNOLDS, CAROLYN A        157 EASTON WAY                      APT 4                                               GALION          OH   44833
REYNOLDS, CAROLYN A        157 EASTON WAY APT 4                                                                    GALION          OH   44833‐3054
REYNOLDS, CAROLYN F.       1005 CORNELIA CIR                                                                       ATTALLA         AL   35954‐9368
REYNOLDS, CAROLYN MAE      130 PADDLE WHEEL DR                                                                     NEW RICHMOND    OH   45157‐8535
REYNOLDS, CAROLYN MAE      130 PADDLEWHEEL DRIVE                                                                   NEW RICHMOND    OH   45157
REYNOLDS, CECIL            9677 W FORK RD                                                                          GEORGETOWN      OH   45121‐7402
REYNOLDS, CECIL E          342 W CHERRY ST                                                                         CEDAR SPRINGS   MI   49319‐9679
REYNOLDS, CHARLES          PO BOX 152                          C/O OLA REYNOLDS                                    SECO            KY   41849‐0152
REYNOLDS, CHARLES          C/O OLA REYNOLDS                    P O BOX 152                                         SECO            KY   41849‐0152
REYNOLDS, CHARLES          CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                               CLEVELAND       OH   44113‐1328
                           COONE AND ASSOCIATES
REYNOLDS, CHARLES A        9371 BRADEN RD                                                                          BYRON           MI   48418‐9722
REYNOLDS, CHARLES E        100 W ELLSWORTH RD                                                                      MORRICE         MI   48857
REYNOLDS, CHARLES E        3813 BAYVIEW DR                                                                         LANSING         MI   48911‐2509
REYNOLDS, CHARLES E        229 E HOBSON AVE                                                                        FLINT           MI   48505‐2711
REYNOLDS, CHARLES EDWARD   229 E HOBSON AVE                                                                        FLINT           MI   48505‐2711
REYNOLDS, CHARLES F        PO BOX 205                                                                              WOLCOTT         IN   47995
REYNOLDS, CHARLES J        7 CEDAR ST                                                                              MASSENA         NY   13662‐1550
REYNOLDS, CHARLES N        3109 S SUGAR MAPLE ST                                                                   YORKTOWN        IN   47396‐9705
REYNOLDS, CHARLES R        4363 NATHAN W                                                                           STERLING HTS    MI   48310‐2654
REYNOLDS, CHARLES W        11956 E 14 MILE RD                                                                      WARREN          MI   48093‐1075
REYNOLDS, CHERYL           300 VAUGHT ST APT B2                                                                    WESTVILLE       IL   61883‐1494
REYNOLDS, CHERYL A         8991 RICKETT RD                                                                         BRIGHTON        MI   48116‐8253
REYNOLDS, CHERYL E         765 BRONX RIVER RD APT 6C                                                               BRONXVILLE      NY   10708
REYNOLDS, CHERYL E         2201 SOUTH SHERMAN CIRCLE D505                                                          MIRAMAR         FL   33025
REYNOLDS, CHRIS K          1200 CRANE DR                                                                           EULESS          TX   76039‐2604
REYNOLDS, CHRIS K          13938 STEEL RD                                                                          CHESANING       MI   48616‐9525
REYNOLDS, CHRIS KELLY      1200 CRANE DR                                                                           EULESS          TX   76039‐2604
REYNOLDS, CHRISTENA H      116 S JOHNSON AVE                                                                       BLOOMINGTON     IN   47404‐5246
REYNOLDS, CHRISTIAN L      1758 RUE MARSEILLES                                                                     BONNE TERRE     MO   63628‐9231
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Name                            Address1                       Address2           Address3         Address4         City             State Zip
REYNOLDS, CHRISTINE E           612 SOUTH WILLOW STREET                                                             MANSFIELD         TX 76063‐2418
REYNOLDS, CHRISTINE ELIZABETH   612 SOUTH WILLOW STREET                                                             MANSFIELD         TX 76063‐2418
REYNOLDS, CHRISTOPHER           522 STOLL RD                                                                        LANSING           MI 48917‐3421
REYNOLDS, CINDY L               109 SANTA FE LN                                                                     GOWER             MO 64454‐9168
REYNOLDS, CINDY LEA             109 SANTA FE LN                                                                     GOWER             MO 64454‐9168
REYNOLDS, CLARENCE              1011 ELM ST                                                                         THREE RIVERS      MI 49093‐1305
REYNOLDS, CLARENCE G            15777 ROBSON ST                                                                     DETROIT           MI 48227‐2640
REYNOLDS, CLARENCE H            4479 S 500 E                                                                        MIDDLETOWN        IN 47356
REYNOLDS, CLARENCE M            6973 BLANCHE RD                                                                     BALTIMORE         MD 21215‐1305
REYNOLDS, CLIFFORD              2760 ROCKLEDGE TR.                                                                  DAYTON            OH 45430‐1960
REYNOLDS, CLIFFORD E            19823 W BRADY RD                                                                    ELSIE             MI 48831‐9216
REYNOLDS, CLYDE M               PO BOX 6                                                                            TALMO             GA 30575‐0006
REYNOLDS, CODY
REYNOLDS, COLIN                 7509 GREENWAY LN                                                                    W BLOOMFIELD     MI   48324‐4795
REYNOLDS, CONNIE MARIE          4418 CLEMENT DR                                                                     SAGINAW          MI   48603‐2085
REYNOLDS, CRAIG A               4115 CLEVELAND AVE                                                                  DAYTON           OH   45410‐3403
REYNOLDS, CRAIG J               439 CEDAR CREEK DR                                                                  WHITE LAKE       MI   48383
REYNOLDS, CRAIG JOHN            439 CEDAR CREEK DR                                                                  WHITE LAKE       MI   48383
REYNOLDS, CRAIG S               966 17TH PL SW                                                                      VERO BEACH       FL   32962‐6906
REYNOLDS, CRAIG T               1330 SCOTT CREEK DR NE                                                              BELMONT          MI   49306‐9798
REYNOLDS, CURTIS H              27 JULIANA WAY NW                                                                   CARTERSVILLE     GA   30120‐7792
REYNOLDS, CYNTHIA M             PO BOX 115                     428 SHERWOOD CT.                                     HOLLY            MI   48442‐0115
REYNOLDS, DALE J                9495 WERTH RD                                                                       HERRON           MI   49744‐9799
REYNOLDS, DANIEL E              1426 ORKNEY DR                                                                      LEESBURG         FL   34788‐7642
REYNOLDS, DANIEL M              1615 LANSING AVE                                                                    LANSING          MI   48915‐2216
REYNOLDS, DANNY F               17783 NEWBY CHAPEL RD                                                               ATHENS           AL   35613‐6037
REYNOLDS, DARRELL D             397 BARKER RD                                                                       IONIA            MI   48846‐9545
REYNOLDS, DARRELL W             11475 S COUNTY LINE RD SE                                                           FIFE LAKE        MI   49633‐9268
REYNOLDS, DARREN K              1431 W SUMMERDALE AVE APT 3A                                                        CHICAGO          IL   60640‐2190
REYNOLDS, DAVID C               36239 CARRIAGE DR                                                                   STERLING HTS     MI   48310‐4462
REYNOLDS, DAVID C               PO BOX 913                                                                          PERU             IN   46970‐0913
REYNOLDS, DAVID D               10787 N 300 W                                                                       HUNTINGTON       IN   46750‐7927
REYNOLDS, DAVID H               PO BOX 461                                                                          SUTTON           WV   26601
REYNOLDS, DAVID P               1846 CENTENNIAL DR                                                                  CANTON           MI   48187‐5813
REYNOLDS, DAVINA                7870 KEY LARGO DR                                                                   RENO             NV   89506‐4170
REYNOLDS, DAWN                  657 PINEY GROVE RD                                                                  TAZEWELL         TN   37879‐5966
REYNOLDS, DEBBIE J              2400 EAST 4TH STREET                                                                ANDERSON         IN   46012‐3615
REYNOLDS, DEBORAH               650 STATE ST                                                                        LEIPSIC          OH   45856‐1364
REYNOLDS, DEBORAH L             11051 SAND CRANE WAY                                                                SOUTH LYON       MI   48178‐9553
REYNOLDS, DEBORAH M             39 CENTRAL AVE APT 227                                                              DAYTON           OH   45406
REYNOLDS, DEBRA J               17989 TONGANOXIE RD                                                                 LEAVENWORTH      KS   66048
REYNOLDS, DELBERT C             207 E NORTH GROVE RD                                                                MAYVILLE         MI   48744
REYNOLDS, DELORES               166 PENNSYLVANIA AVE                                                                EWING            NJ   08638‐2141
REYNOLDS, DENNIS D              9766 HUNTERS BROOK LN                                                               DENHAM SPRINGS   LA   70706‐0393
REYNOLDS, DENNIS DEWAIN         9766 HUNTERS BROOK LANE                                                             DENHAM SPGS      LA   70706‐0393
REYNOLDS, DENNIS E              26595 MOUNT PLEASANT RD                                                             ARCADIA          IN   46030‐9558
REYNOLDS, DENNIS L              2813 HILLCREST ST                                                                   LANSING          MI   48911‐2350
REYNOLDS, DERRELL               PORTER & MALOUF PA             4670 MCWILLIE DR                                     JACKSON          MS   39206‐5621
REYNOLDS, DERWIN                PO BOX 19339                                                                        ATLANTA          GA   31126‐1339
REYNOLDS, DEVIN L               1504 WHETSTONE CT                                                                   NASHVILLE        TN   37209‐5030
REYNOLDS, DIANE L               5669 S RAUCHOLZ RD                                                                  HEMLOCK          MI   48626‐9732
REYNOLDS, DIANE M               445 N STINE RD                                                                      CHARLOTTE        MI   48813‐8857
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Name                    Address1                       Address2                      Address3   Address4         City            State Zip
REYNOLDS, DIANN L       10728 TRADE WIND CT                                                                      FORT WAYNE       IN 46825‐2662
REYNOLDS, DIANNE E      4565 EAST EDGEWOOD AVENUE                                                                MESA             AZ 85206‐2603
REYNOLDS, DIANNE E      10915 GOODALL RD BOX 331                                                                 DURAND           MI 48429‐9775
REYNOLDS, DON R         6313 PERSIMMON PASS                                                                      PLAINFIELD       IN 46168‐9330
REYNOLDS, DONALD B      448 WARD ST                                                                              LEBANON          OH 45036‐2357
REYNOLDS, DONALD C      802 HAMLIN PARMA TOWNLINE RD                                                             HILTON           NY 14468‐9737
REYNOLDS, DONALD D      1070 BRASELTON HWY                                                                       LAWRENCEVILLE    GA 30043‐4607
REYNOLDS, DONALD E      14120 CROSLEY                                                                            REDFORD          MI 48239‐2827
REYNOLDS, DONALD K      106 W 4TH ST                                                                             AUGUSTA          KY 41002‐1019
REYNOLDS, DONALD K      PO BOX 22                                                                                MELBOURNE        KY 41059
REYNOLDS, DONALD W      17975 REDWOOD DR                                                                         MACOMB           MI 48042‐3517
REYNOLDS, DONNA L       5213 SPORTSCRAFT DR                                                                      DAYTON           OH 45414‐3653
REYNOLDS, DORIS T       7 DAWSON POND COURT                                                                      BLYTHEWOOD       SC 29016‐8296
REYNOLDS, DOROTHY G     3895 HONEYSUCKLE DR SE                                                                   SMYRNA           GA 30082‐3340
REYNOLDS, DOROTHY L     531 BELMONTE PARK N #408                                                                 DAYTON           OH 45405‐4711
REYNOLDS, DOROTHY M     222 KELLY ST                                                                             WELLINGTON       OH 44090‐1262
REYNOLDS, DORSELLA      154 HIGHLAND TRCE                                                                        ROSWELL          GA 30076
REYNOLDS, DOUGLAS
REYNOLDS, DUANE R       9 MEADOWLAWN DR                                                                          ARCANUM         OH   45304‐1411
REYNOLDS, DWAIN C       725 PERCH COVE CT                                                                        MIDDLEVILLE     MI   49333‐8335
REYNOLDS, DWIGHT E      760 W WATERVIEW DR                                                                       GREEN VALLEY    AZ   85614‐5740
REYNOLDS, DWIGHT V      11320 S ANDERSON RD                                                                      OKLAHOMA CITY   OK   73165‐8610
REYNOLDS, EARL          90 REDBANK DR                                                                            FAIRBORN        OH   45324‐4216
REYNOLDS, EARL          MOTLEY RICE                    PO BOX 1792                                               MT PLEASANT     SC   29465‐1792
REYNOLDS, EARNEST       GENERAL DELIVERY                                                                         GARNER          KY   41817‐9999
REYNOLDS, EDNA E        1800 S E LUCIE BLVD            BLDG 7 UNIT 107                                           STUART          FL   34996
REYNOLDS, EDWARD F      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                       STREET, SUITE 600
REYNOLDS, EDWARD K      126 TELEGRAPH RD                                                                         BRIDGETON       NJ   08302‐4640
REYNOLDS, EDWARD L      12466 ROLSTON RD                                                                         BYRON           MI   48418‐9019
REYNOLDS, EDWARD M      4340 CASTLE RD                                                                           NORTH BRANCH    MI   48461‐9322
REYNOLDS, EDWARD T      3627 S I ST                                                                              BEDFORD         IN   47421‐7525
REYNOLDS, EDWIN L       12717 HOUGHTON DR                                                                        DE WITT         MI   48820‐8620
REYNOLDS, EILEEN A      4812 SKYLINE BLVD                                                                        CAPE CORAL      FL   33914‐6500
REYNOLDS, EILEEN D      9 LINSCOTT WAY                                                                           BRUNSWICK       ME   04011‐9347
REYNOLDS, ELEANOR R     3373 SHANNON RD                                                                          BURTON          MI   48529‐1830
REYNOLDS, ELIJAH W      9525 GRAY FOX DR                                                                         WEEKI WACHEE    FL   34613‐3978
REYNOLDS, ELIZABETH     107 MILLS RD                                                                             VACAVILLE       CA   95687‐4634
REYNOLDS, ELIZABETH A   44462 MARC TRL                                                                           PLYMOUTH        MI   48170‐3949
REYNOLDS, EMMIT A       113 E GROVE RD                                                                           GLEASON         TN   38229‐7917
REYNOLDS, ERIE          6700 DOUGHERTY RD APT 108                                                                DUBLIN          CA   94568
REYNOLDS, ERNESTINE     2816 HIGHWAY 51 N                                                                        ARKADELPHIA     AR   71923‐8588
REYNOLDS, ERNESTINE     2816 HWY 51 N                                                                            ARKADELPHIA     AR   71923‐8588
REYNOLDS, ETHEL M       31306 SCHOENHERR RD APT 2                                                                WARREN          MI   48088‐1946
REYNOLDS, EULIS         182 WESTWOOD DR                                                                          NANCY           KY   42544‐8803
REYNOLDS, EVA           137 RICE ST                                                                              WILLIAMSBURG    KY   40769‐2077
REYNOLDS, EVANDER B     508 SAINT MARLO DR                                                                       CENTERVILLE     GA   31028‐8004
REYNOLDS, EVELYN        5340 MACKINAW TRAIL                                                                      BOYNE FALLS     MI   49713
REYNOLDS, EVELYN D      710 METHODIST                                                                            CARLYLE         IL   62231‐2109
REYNOLDS, EVELYN D      710 METHODIST ST                                                                         CARLYLE         IL   62231‐2109
REYNOLDS, EVELYN N      29775 HICKEY                                                                             CHESTERFIELD    MI   48051‐1734
REYNOLDS, EVELYN N      29775 HICKEY RD                                                                          CHESTERFIELD    MI   48051‐1734
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Name                    Address1                          Address2                    Address3   Address4         City                State Zip
REYNOLDS, EVERETT       433 MCAMOORE DR                                                                           SMYRNA               TN 37167‐9551
REYNOLDS, FLORA         216 PENNELS DR                                                                            ROCHESTER            NY 14626‐4914
REYNOLDS, FLORA         216 PENNELS DRIVE                                                                         ROCHESTER            NY 14626‐4626
REYNOLDS, FLORENCE      1831 MADISON AVE APT 3F                                                                   NEW YORK             NY 10035‐2751
REYNOLDS, FRANCES M     PO BOX 40                                                                                 NICHOLSON            PA 18446‐0040
REYNOLDS, FRANCES M     P.O.BOX 40                                                                                NICHOLSON            PA 18446‐0040
REYNOLDS, FRANK E       4811 TORRENCE DR                                                                          LAS VEGAS            NV 89103‐4361
REYNOLDS, FRANK H       888 N SCHEURMANN RD APT D7                                                                ESSEXVILLE           MI 48732‐1867
REYNOLDS, FRANK J       11215 E COUNTY ROAD 500 S                                                                 SELMA                IN 47383‐9760
REYNOLDS, FRANKLIN
REYNOLDS, FRED L        103 KENT DR                                                                               EXCELSIOR SPRINGS   MO    64024‐2810
REYNOLDS, FRED N        614 GREYLAG RD                                                                            MIDDLETOWN          DE    19709‐9629
REYNOLDS, FRED R        16000 GRAYVILLE DR APT 89                                                                 LA MIRADA           CA    90638
REYNOLDS, FREDA L       3824 S HUBBARD ST                                                                         MARION              IN    46953‐5128
REYNOLDS, FREDA L       3824 S. HUBBARD ST                                                                        MARION              IN    46953‐5128
REYNOLDS, FREDERICK W   609 IROQUOIS DR                                                                           ANDERSON            IN    46012‐1429
REYNOLDS, FREIDA        1304 BEVERLY LN                                                                           FARMINGTON          MO    63640‐1614
REYNOLDS, FREIDA        1304 BEVERLY LANE                                                                         FARMINGTON          MO    63640
REYNOLDS, GAIL M        200 N SMYRNA RD                                                                           SEARCY              AR    72143‐9480
REYNOLDS, GAIL MAXINE   200 N SMYRNA RD                                                                           SEARCY              AR    72143‐9480
REYNOLDS, GARLAND       BLASINGAME BURCH GARRARD & BRYANT PO BOX 832                                              ATHENS              GA    30603‐0832
                        P.C.
REYNOLDS, GARLAND       SPOHRER WILNER MAXWELL & MATTHEWS 701 WEST ADAMS STREET                                   JACKSONVILLE         FL   32204

REYNOLDS, GARRY B       3622 MINTON RD                                                                            ORION               MI    48359‐1551
REYNOLDS, GARY          15 RAILROAD STREET EXT                                                                    PORTAL              GA    30450‐5257
REYNOLDS, GARY A        7348 E ORANGE PIKE                                                                        GLENWOOD            IN    46133
REYNOLDS, GARY G        1818 N COUNTY ROAD 300 E                                                                  DANVILLE            IN    46122‐8657
REYNOLDS, GARY GENE     1818 N COUNTY ROAD 300 E                                                                  DANVILLE            IN    46122‐8657
REYNOLDS, GAYLA A       3444 SHAKERTOWN RD                                                                        ANTIOCH             TN    37013
REYNOLDS, GENEVIEVE M   5315 OAKHILL DR                                                                           ALGER               MI    48610‐9369
REYNOLDS, GEORGE J      807 68TH ST W                                                                             BRADENTON           FL    34209‐3545
REYNOLDS, GEORGE L      1395 GLEN HAVEN DR                                                                        MERRITT ISLAND      FL    32952‐5866
REYNOLDS, GEORGE S      9050 PARK ST                                                                              WHITE LAKE          MI    48386‐4074
REYNOLDS, GEORGE W      52 HIGH ST                                                                                DANVILLE            IN    46122‐1012
REYNOLDS, GERALD E      G‐5097 W COURT ST                                                                         FLINT               MI    48504
REYNOLDS, GERALD E      1508 EVERGREEN CT                                                                         ADAMS               WI    53910‐9594
REYNOLDS, GERALD E      PO BOX 442267                                                                             DETROIT             MI    48232
REYNOLDS, GERALD P      652 NORTH SIX STREET                                                                      MIDDLETOWN          IN    47356
REYNOLDS, GERALDINE     25501 TROST BLVD 1447                                                                     BONITA SPRINGS      FL    34135
REYNOLDS, GERALDINE     14394 ASBURY PARK                                                                         DETROIT             MI    48227‐1369
REYNOLDS, GERALDINE     2550 TROST BLVD 14‐49                                                                     BONITA SPGS         FL    34135
REYNOLDS, GERALDINE J   2638 E. SID DR.                                                                           SAGINAW             MI    48601‐9206
REYNOLDS, GERALDINE J   2638 E SID DR                                                                             SAGINAW             MI    48601‐9206
REYNOLDS, GERTRUDE      1104 ‐13TH ST                                                                             PORT ROYAL          SC    29935‐1938
REYNOLDS, GERTRUDE      1104 13TH ST                                                                              PORT ROYAL          SC    29935‐1938
REYNOLDS, GLADYS        15900 TURNER                                                                              DETROIT             MI    48238‐1274
REYNOLDS, GLADYS        15900 TURNER ST                                                                           DETROIT             MI    48238‐1274
REYNOLDS, GLADYS E      C/O SHARON HILL                   5191 WOODHAVEN CT APT 808                               FLINT               MI    48532
REYNOLDS, GLADYS E      APT 808                           5191 WOODHAVEN COURT                                    FLINT               MI    48532‐4192
REYNOLDS, GLADYS F      250 W OAKLAWN DR                                                                          BRIGHTON            TN    38011‐4035
REYNOLDS, GLEN M        130 ESCOTT RD                                                                             OWOSSO              MI    48867‐9610
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Name                     Address1                        Address2                       Address3   Address4         City             State Zip
REYNOLDS, GLORIA E       7335 N ELMS RD                                                                             FLUSHING          MI 48433‐8800
REYNOLDS, GLORIA F       3710 FEDERAL LN                                                                            ABINGDON          MD 21009‐2742
REYNOLDS, GLORIA J       322 E FLINT PARK BLVD                                                                      FLINT             MI 48505‐3416
REYNOLDS, GRACE A        2039 WOODLAND PASS                                                                         BURTON            MI 48519‐1323
REYNOLDS, GRACE P        31605 W 83RD CIRCLE APT 3A                                                                 DE SOTO           KS 66018‐7028
REYNOLDS, GREGORY C      105 PEMBERTON DR                                                                           ELYRIA            OH 44035‐8881
REYNOLDS, GREGORY J      566 OVERVIEW LN                                                                            FRANKLIN          TN 37064‐5558
REYNOLDS, GREGORY L      6248 KINGS POINTE RD                                                                       GRAND BLANC       MI 48439‐8793
REYNOLDS, GROVER D       11 NW COUNTY ROAD H                                                                        WARRENSBURG       MO 64093‐7462
REYNOLDS, GUY L          11117 W JOLLY RD                                                                           LANSING           MI 48911‐3012
REYNOLDS, HALLIS M       PO BOX 64                                                                                  WHITE PLAINS      NY 10605
REYNOLDS, HARGIS J       817 CAMBRIDGE AVE                                                                          PORTSMOUTH        VA 23707‐1401
REYNOLDS, HAROLD E       5022 US ROUTE 40                                                                           NEW PARIS         OH 45347‐9046
REYNOLDS, HAROLD E       5022 US RT 40                                                                              NEW PARIS         OH 45347‐5347
REYNOLDS, HARRIET A      2615 GOLFVIEW DR APT 101                                                                   TROY              MI 48084‐3808
REYNOLDS, HARRY          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH 44067
                                                         PROFESSIONAL BLDG
REYNOLDS, HARRY G        3252 POPINJAY AVE                                                                          LAKE PLACID      FL 33852‐8286
REYNOLDS, HARRY N        149 E SYCAMORE DR                                                                          SPRINGPORT       IN 47386‐9740
REYNOLDS, HARVEY COFER   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
REYNOLDS, HATTIE E       9379 MANOR ST                                                                              DETROIT          MI   48204‐2618
REYNOLDS, HATTIE E       9379 MANOR                                                                                 DETROIT          MI   48204‐2618
REYNOLDS, HATTIE L       PO BOX 778                                                                                 GRANDVIEW        MO   64030‐0778
REYNOLDS, HAZEL E        1116 CENTER AVE                                                                            JANESVILLE       WI   53546‐2405
REYNOLDS, HELEN          9554 WESTWOOD                                                                              DETROIT          MI   48228‐1672
REYNOLDS, HELEN          3283 HARMON RIDGE CRT                                                                      BUFORD           GA   30519‐0519
REYNOLDS, HELEN          9554 WESTWOOD ST                                                                           DETROIT          MI   48228‐1672
REYNOLDS, HELEN A        17530 MACK AVE                  APT 5                                                      GROSSE POINTE    MI   48230‐6240
REYNOLDS, HELEN B        1394 HOUSEL CRAFT RD.,N.E.                                                                 CORTLAND         OH   44410‐9512
REYNOLDS, HELEN J        12274 E 400 S                                                                              GREENTOWN        IN   46936‐9777
REYNOLDS, HENRY          ANGELOS PETER G LAW OFFICE      115 BROADWAY FRNT 3                                        NEW YORK         NY   10006‐1638
REYNOLDS, HENRY T        314 SAINT PIERRE ST                                                                        BONNE TERRE      MO   63628‐9253
REYNOLDS, HERBERT A      442 W BURNSIDE RD                                                                          FOSTORIA         MI   48435‐9656
REYNOLDS, HERBERT G      3813 OXLEY DR                                                                              RICHLAND HILLS   TX   76118‐5314
REYNOLDS, HESTER M       182 WESTWOOD DR                                                                            NANCY            KY   42544‐8803
REYNOLDS, HOLLIE         2085 DIAMOND HILL RD            APT D                                                      WOONSOCKET       RI   02895‐1523
REYNOLDS, HOLLIE         2085 DIAMOND HILL RD APT D                                                                 WOONSOCKET       RI   02895‐1523
REYNOLDS, HOWARD C       646 72ND ST                                                                                NIAGARA FALLS    NY   14304‐2202
REYNOLDS, HOWARD D       10368 CLARK RD                                                                             DAVISON          MI   48423‐8507
REYNOLDS, HUBERT R       403 SHELBY TRL                                                                             BELLS            TX   75414‐3449
REYNOLDS, HUGH           22013 YOUNG AVE                                                                            CASTRO VALLEY    CA   94546‐6441
REYNOLDS, IDONIA         15703 WISCONSIN                                                                            DETROIT          MI   48238‐1119
REYNOLDS, INA M          5406 N 32ND ST                                                                             RICHLAND         MI   49083‐9423
REYNOLDS, INIS G.        19168 STAHELIN AVE                                                                         DETROIT          MI   48219‐2712
REYNOLDS, IRENE M        906 VICTORIA AVENUE                                                                        FLINT            MI   48507‐1737
REYNOLDS, IRENE M        3002 EDGEBROOK DR               C/O PHILIP C KLEMPNER                                      TOLEDO           OH   43613‐1039
REYNOLDS, IVA L          6345 SYLVIA ST                                                                             TAYLOR           MI   48180‐1034
REYNOLDS, JACK G         1038 WISNER ST                                                                             MOUNT MORRIS     MI   48458‐1625
REYNOLDS, JACK I         56 SHOREWOOD DRIVE                                                                         ROCHESTER        NY   14617‐1856
REYNOLDS, JACK L         2119 GLENSIDE AVE                                                                          NORWOOD          OH   45212‐1141
REYNOLDS, JACK R         5610 SUSAN DR                                                                              CASTALIA         OH   44824‐9749
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Name                      Address1                          Address2                    Address3   Address4         City              State Zip
REYNOLDS, JACKIE L        PO BOX 416                                                                                SPRINGPORT         IN 47386‐0416
REYNOLDS, JACQUELINE      ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                               BALTIMORE          MD 21202
                                                            CHARLES CENTER 22ND FLOOR
REYNOLDS, JAMES           120 BIRGE PARK RD                                                                         HARWINTON         CT   06791‐1909
REYNOLDS, JAMES B         543 COUNTY ROAD 330                                                                       DE BERRY          TX   75639‐2606
REYNOLDS, JAMES BRETT     543 COUNTY ROAD 330                                                                       DE BERRY          TX   75639‐2606
REYNOLDS, JAMES C         6114 LINWOOD ST                                                                           DETROIT           MI   48208‐1108
REYNOLDS, JAMES C         1437 STEWART AVE                                                                          YOUNGSTOWN        OH   44505‐3414
REYNOLDS, JAMES E         11395 MEMORIAL ST                                                                         DETROIT           MI   48227‐1058
REYNOLDS, JAMES E         3085 N GENESSE APT‐314                                                                    FLINT             MI   48505
REYNOLDS, JAMES E         1600 SOUTHVIEW DR TRLR 12                                                                 LIBERTY           MO   64068‐9129
REYNOLDS, JAMES E         212 FOX DR                                                                                MASON             OH   45040‐1914
REYNOLDS, JAMES E         PO BOX 3164                                                                               SOUTHFIELD        MI   48037‐3164
REYNOLDS, JAMES E         1830 S ELBA RD                                                                            LAPEER            MI   48446‐9787
REYNOLDS, JAMES EDWARD    11395 MEMORIAL ST                                                                         DETROIT           MI   48227‐1058
REYNOLDS, JAMES F         1435 ROBIN WOODS LN                                                                       TUNNEL HILL       IL   62972‐3429
REYNOLDS, JAMES F         945 E BUNDY AVE                                                                           FLINT             MI   48505‐2289
REYNOLDS, JAMES F         13 EASTDELL RD NE                                                                         ROME              GA   30161‐2117
REYNOLDS, JAMES G         1068 DOWAGIAC AVE                                                                         MOUNT MORRIS      MI   48458‐2558
REYNOLDS, JAMES GILBERT   COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                 HOUSTON           TX   77002‐1751
REYNOLDS, JAMES H         4168 THOMPSON RD                                                                          LINDEN            MI   48451‐9425
REYNOLDS, JAMES J         4812 SKYLINE BLVD                                                                         CAPE CORAL        FL   33914‐6500
REYNOLDS, JAMES L         4301 DELINA RD                                                                            CORNERSVILLE      TN   37047‐5237
REYNOLDS, JAMES L         9768 W MAIN ST                                                                            LAPEL             IN   46051‐9620
REYNOLDS, JAMES P         4995 OLD BEEBE RD                                                                         LOCKPORT          NY   14094‐9717
REYNOLDS, JAMES R         2808 REESE DR                                                                             STERLING HTS      MI   48310‐3649
REYNOLDS, JAMES R         33463 GALENA SASSAFRAS RD                                                                 GALENA            MD   21635‐1906
REYNOLDS, JAMES V         2529 THOMAN PL                                                                            TOLEDO            OH   43613‐3840
REYNOLDS, JAMES VINCENT   2529 THOMAN PL                                                                            TOLEDO            OH   43613‐3840
REYNOLDS, JAMES W         1265 ROSEDALE ST                                                                          MAUMEE            OH   43537‐3249
REYNOLDS, JAMES W         1492 WOODSCLIFF DR                                                                        ANDERSON          IN   46012‐9725
REYNOLDS, JANE C          10101 BURNT STORE RD LOT 5A                                                               PUNTA GORDA       FL   33950‐7987
REYNOLDS, JANE K          4000 RIVER CRESCENT DRIVE                                                                 ANNAPOLIS         MD   21401‐7721
REYNOLDS, JANET L         4774 KESWICK CT                                                                           SAN DIEGO         CA   92130‐1337
REYNOLDS, JANET M         339 STRATMORE ST                                                                          NEW CARLILE       OH   45344‐2844
REYNOLDS, JEANNE M        126 RINGLORE DR                                                                           HENDERSON         NV   89015‐5913
REYNOLDS, JEFFERY L       1810 MAINE ST                                                                             SAGINAW           MI   48602‐1722
REYNOLDS, JEFFREY L       8308 NSERNS RD                                                                            MILTON            WI   53563
REYNOLDS, JEFFREY L       9505 POINSETTA DR                                                                         SHREVEPORT        LA   71118‐4017
REYNOLDS, JEFFREY L       8559 N KIDDER RD                                                                          EDGERTON          WI   53534‐9009
REYNOLDS, JEFFREY LYNN    9505 POINSETTA DR                                                                         SHREVEPORT        LA   71118‐4017
REYNOLDS, JENNIFER R      1209 N 75TH DR                                                                            KANSAS CITY       KS   66112‐2306
REYNOLDS, JERALD D        15069 YORKLEIGH DR                                                                        LANSING           MI   48906‐1360
REYNOLDS, JERALD L        PO BOX 283                                                                                MOUNT MORRIS      MI   48458‐0283
REYNOLDS, JERRY           24640 ORIOLE ST                                                                           TAYLOR            MI   48180‐5143
REYNOLDS, JERRY L         W9576 BLACK RIVER RD                                                                      NAUBINWAY         MI   49762‐9705
REYNOLDS, JERRY L         1755 VERONA CANEY RD                                                                      LEWISBURG         TN   37091‐6403
REYNOLDS, JERRY W         5801 E COUNTY ROAD 1300 N                                                                 EATON             IN   47338‐8868
REYNOLDS, JERRY W         PO BOX 656                                                                                MITCHELL          IN   47446‐0656
REYNOLDS, JESSICA L       4971 LANCASTER HILLS DR APT 204                                                           CLARKSTON         MI   48346‐4418
REYNOLDS, JESSIE          700 LAKE ST                                                                               LAKE PROVIDENCE   LA   71254‐2526
REYNOLDS, JOE E           5265 COMET DR                                                                             GREENWOOD         IN   46143‐8939
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Name                    Address1                        Address2           Address3         Address4         City              State Zip
REYNOLDS, JOE E.        5265 COMET DR                                                                        GREENWOOD          IN 46143‐8939
REYNOLDS, JOEL R        10728 TRADE WIND CT                                                                  FORT WAYNE         IN 46825‐2662
REYNOLDS, JOEY W        3935 DELL RD                                                                         HOLT               MI 48842‐9717
REYNOLDS, JOHN A        FORD MARK W LAW OFFICES OF      PO BOX 110                                           GLOUCESTER CITY    NJ 08030‐0110
REYNOLDS, JOHN F        1099 S MACKINAW RD                                                                   KAWKAWLIN          MI 48631‐9430
REYNOLDS, JOHN G        1369 HUNTER RD                                                                       BRIGHTON           MI 48114‐8726
REYNOLDS, JOHN J        7460 NE MORGAN ST                                                                    HAMILTON           MO 64644‐9113
REYNOLDS, JOHN J        1922 OLYMPIA DR                                                                      HOWELL             MI 48843‐9468
REYNOLDS, JOHN K        53 E BARNES RD                                                                       FOSTORIA           MI 48435‐9652
REYNOLDS, JOHN L        1104 13TH ST                                                                         PORT ROYAL         SC 29935‐1938
REYNOLDS, JOHN P        2970 UGLY CREEK RD                                                                   DUCK RIVER         TN 38454‐3748
REYNOLDS, JOHNNIE M     78 LINCOLN AVE                                                                       ROCHESTER          NY 14611
REYNOLDS, JOHNNIE M     1105 CLINTON AVE S                                                                   ROCHESTER          NY 14620‐2070
REYNOLDS, JOHNNY E      6065 MCCANDLISH RD                                                                   GRAND BLANC        MI 48439‐9538
REYNOLDS, JOHNNY E      6695 E ANN ST                                                                        CAMBY              IN 46113‐8636
REYNOLDS, JOHNNY S      104 GARY GLEN BLVD                                                                   HUNTSVILLE         AL 35811
REYNOLDS, JON D         6820 HIBISCUS CT                                                                     SPARKS             NV 89436‐9074
REYNOLDS, JON D         6745 CANOE HILL DR                                                                   SPARKS             NV 89436‐9063
REYNOLDS, JONNA L       3555 W 625 S                                                                         LEBANON            IN 46052‐8272
REYNOLDS, JOSEPH C      66 FOREST ST                                                                         MONTCLAIR          NJ 07042‐3811
REYNOLDS, JOSEPH D      823 OAK PARK DR                                                                      FENTON             MI 48430‐3261
REYNOLDS, JOSEPH E      127 WINDTREE RD                                                                      LUMBER BRIDGE      NC 28357
REYNOLDS, JOSEPH E      498 WINDWARD LN                                                                      PLAINFIELD         IN 46168‐1069
REYNOLDS, JOSEPH M      224 RIVERBEND DR                                                                     FRANKLIN           TN 37064‐5547
REYNOLDS, JOSEPHINE     TWIN OAK ESTATE INC, 707 EMGE                                                        OFALLON            MO 63366
REYNOLDS, JOSEPHINE     351 DREW ST                                                                          BALTIMORE          MD 21224‐2715
REYNOLDS, JOSHUA W      10263 E COLDWATER RD                                                                 DAVISON            MI 48423‐8598
REYNOLDS, JOYCE M       316 MONROE AVE S                                                                     HOPKINS            MN 55343‐8454
REYNOLDS, JUDITH D      26909 STATE RD. 70                                                                   MYAKKA CITY        FL 34251‐9440
REYNOLDS, JUDITH D      26909 STATE ROAD 70 E                                                                MYAKKA CITY        FL 34251‐9440
REYNOLDS, JUDITH R      12 SHERWOOD LN                                                                       BEAUFORT           SC 29907‐1355
REYNOLDS, JULIA         3208 N 100 W                                                                         ANDERSON           IN 46011‐9520
REYNOLDS, JULIA         3208 NORTH 100 WEST                                                                  ANDERSON           IN 46011‐9520
REYNOLDS, JUNE C        50 UNION SQUARE BLVD RM 121 B                                                        NORTH CHILI        NY 14514
REYNOLDS, JUNE E        12717 HOUGHTON DR                                                                    DE WITT            MI 48820‐8620
REYNOLDS, KAREN         2741 S GROVE ST                                                                      FORT WORTH         TX 76104‐6724
REYNOLDS, KATHERINE E   2857 S WASHINGTON ST                                                                 WICHITA            KS 67216‐1146
REYNOLDS, KATHY J       385 E 400 S                                                                          KOKOMO             IN 46902‐5572
REYNOLDS, KAY L         PO BOX 373                                                                           HALE               MI 48739‐0373
REYNOLDS, KAY W         4479 S 500 E                                                                         MIDDLETOWN         IN 47356
REYNOLDS, KEITH L       112 TIMBERWOLF WAY                                                                   BROOKVILLE         OH 45309‐9342
REYNOLDS, KENNETH C     325 SOUTH WARD STREET                                                                OTTUMWA             IA 52501‐5064
REYNOLDS, KENNETH D     331 N GILNA RD                                                                       CORUNNA            MI 48817‐9541
REYNOLDS, KENNETH D     1215 HIRAM ST                                                                        OWOSSO             MI 48867‐4135
REYNOLDS, KENNETH L     215 IMPERIAL DR                                                                      BUFFALO            NY 14226‐1542
REYNOLDS, KENT E        9653 LAKE OF THE WOODS RD                                                            MANCELONA          MI 49659
REYNOLDS, KURTICE A     1426 PICKETT ST SE                                                                   KENTWOOD           MI 49508‐4645
REYNOLDS, LA DESS       2559 E FRENCH RD                                                                     ST JOHNS           MI 48879‐9074
REYNOLDS, LADONNA       118 SWALLOW DR                                                                       DAYTON             OH 45415‐3523
REYNOLDS, LARRY         9914 ARTESIAN ST                                                                     DETROIT            MI 48228
REYNOLDS, LARRY J       5790 WOODCREST DR                                                                    FORT WORTH         TX 76140‐9528
REYNOLDS, LARRY J       6311 MONARCH DR APT D                                                                INDIANAPOLIS       IN 46224‐1167
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Name                         Address1                       Address2                      Address3   Address4         City           State Zip
REYNOLDS, LARRY K            5505 GODDARD RD                                                                          WALLINGFORD     KY 41093‐9130
REYNOLDS, LARRY W            2315 HARRINGTON RD                                                                       ATTICA          MI 48412‐9215
REYNOLDS, LELDON R           11429 OAKWOOD DR                                                                         JEROME          MI 49249‐9847
REYNOLDS, LEOLA              1712 OAKLAND BLVD                                                                        FORTWORTH       TX 76103‐1526
REYNOLDS, LESTER L           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                            STREET, SUITE 600
REYNOLDS, LESTER M           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA 23510‐2212
                                                            STREET, SUITE 600
REYNOLDS, LEWIS A            12161 ULMER RD                                                                           BIRCH RUN      MI   48415‐9702
REYNOLDS, LEWIS L            339 STRATMORE ST                                                                         NEW CARLISLE   OH   45344‐2844
REYNOLDS, LINCOLN T          309 WHITE LN                                                                             BEDFORD        IN   47421‐9261
REYNOLDS, LINDA              3903 N STATE ROUTE 123                                                                   FRANKLIN       OH   45005
REYNOLDS, LINDA K            1805 S GOYER RD                                                                          KOKOMO         IN   46902‐2758
REYNOLDS, LINDA M            13050 S MARQUETTE AVE APT 3E                                                             CHICAGO        IL   60633‐1788
REYNOLDS, LISA M             18 WHITE OAK VLG                                                                         RAINBOW CITY   AL   35906‐6706
REYNOLDS, LLOYD D            10453 SEYMOUR RD                                                                         MONTROSE       MI   48457‐9015
REYNOLDS, LOIS E             2116 DESOTO ST                                                                           LANSING        MI   48911‐4647
REYNOLDS, LOIS P             9618 WALKERS GLEN DR NW                                                                  CONCORD        NC   28027‐3548
REYNOLDS, LOLA P             202 N SMYRNA RD                                                                          SEARCY         AR   72143‐9480
REYNOLDS, LOLA P             202 N SMYRNA                                                                             SEARCY         AR   72143‐9480
REYNOLDS, LOLITA F           17161 NEW JERSEY ST                                                                      SOUTHFIELD     MI   48075‐2985
REYNOLDS, LOLITA FRANCESCA   17161 NEW JERSEY ST                                                                      SOUTHFIELD     MI   48075‐2985
REYNOLDS, LONNIE             25250 EUREKA ROAD              APT. #348                                                 TAYLOR         MI   48180
REYNOLDS, LONNIE             25250 EUREKA RD APT 348                                                                  TAYLOR         MI   48180‐6430
REYNOLDS, LONNIE D           519 E 425 N                                                                              ROCHESTER      IN   46975‐8349
REYNOLDS, LORETTA A          723 GILLIS DR                                                                            BASTROP        LA   71220‐5181
REYNOLDS, LORETTA A          723 GILLIS STREET                                                                        BASTROP        LA   71220
REYNOLDS, LORETTA M          461 TANNAHILL ST                                                                         DEARBORN       MI   48124
REYNOLDS, LOUIS E            12149 EAST 75TH STREET                                                                   INDIANAPOLIS   IN   46236‐9082
REYNOLDS, LOUISE             2169 MOUNT HOPE LN                                                                       TOMS RIVER     NJ   08753‐1438
REYNOLDS, LOUISE             855 STAHLHEBER RD                                                                        HAMILTON       OH   45013‐1963
REYNOLDS, LUCELLA J          61039 M 51 NORTH                                                                         NILES          MI   49120
REYNOLDS, LUCELLA J          61039 M 51                                                                               NILES          MI   49120‐9142
REYNOLDS, LUCILE             623 S 900 W 27                                                                           CONVERSE       IN   46919
REYNOLDS, LUCY JEAN          P O BOX 924                                                                              MUNFORDVILLE   KY   42765‐0924
REYNOLDS, LUCY JEAN          PO BOX 924                                                                               MUNFORDVILLE   KY   42765‐0924
REYNOLDS, LYLE L             10216 GLENDALE AVE                                                                       CLIO           MI   48420‐1608
REYNOLDS, MACIE              833 HOLMES AVE                                                                           LIMA           OH   45804‐2637
REYNOLDS, MACIE              833 EAST HOLMES                                                                          LIMA           OH   45804‐2637
REYNOLDS, MARCELLA           12429 EFM 916                                                                            GRANDVIEW      TX   76050‐9530
REYNOLDS, MARCELLA           1997 FOREST RIDGE DR APT 107                                                             BEDFORD        TX   76021‐1826
REYNOLDS, MARCY              2667 W NORTH UNION RD                                                                    MIDLAND        MI   48642‐9262
REYNOLDS, MARGARET A         1025 E LINCOLN ST APT 9                                                                  EAST TAWAS     MI   48730‐1677
REYNOLDS, MARGARET L         7051 STATE RTE. #128                                                                     CLEVES         OH   45002
REYNOLDS, MARIE J            COUNTRY HAVEN                  908 N PEARL                                               PAOLA          KS   66071‐1140
REYNOLDS, MARILYN            4294 RURAL ST                                                                            WATERFORD      MI   48329‐1651
REYNOLDS, MARK A             1417 CAROLINE CT                                                                         COLUMBIA       TN   38401‐7350
REYNOLDS, MARK A             19429 SAWYER ST                                                                          DETROIT        MI   48228‐3329
REYNOLDS, MARK A             604 BRANTLY AVE                                                                          DAYTON         OH   45404‐1479
REYNOLDS, MARK E             3940 CRESTHAVEN DR                                                                       WATERFORD      MI   48328‐4018
REYNOLDS, MARK E             SIMMONS FIRM                   PO BOX 559                                                WOOD RIVER     IL   62095‐0559
REYNOLDS, MARK EDWARD        3940 CRESTHAVEN DR                                                                       WATERFORD      MI   48328‐4018
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Name                        Address1                           Address2         Address3         Address4         City           State Zip
REYNOLDS, MARK L            2667 W NORTH UNION RD                                                                 MIDLAND         MI 48642‐9262
REYNOLDS, MARK L            234 PYLE ROAD                                                                         CLARKSVILLE     OH 45113‐9202
REYNOLDS, MARLO E
REYNOLDS, MARTHA MARY       14120 CROSLEY                                                                         REDFORD        MI   48239‐2827
REYNOLDS, MARTHA S          280 E OXFORD ST                                                                       PONTOTOC       MS   38863‐2205
REYNOLDS, MARY              2250 OLD MOODY BLVD ‐ 46                                                              BUNNELL        FL   32110
REYNOLDS, MARY ANN          6490 BRIAN CIRCLE LN                                                                  BURTON         MI   48509‐1377
REYNOLDS, MARY E            PO BOX 507                                                                            YOUNGSTOWN     OH   44501
REYNOLDS, MARY E            3501 FLEMING RD                                                                       FLINT          MI   48504‐3745
REYNOLDS, MARY H            5586 COLUMBUS CIRCLE                                                                  WILDWOOD       FL   34785‐8120
REYNOLDS, MARY L            806 N 25TH ST                                                                         ST JOSEPH      MO   64506‐2706
REYNOLDS, MARY L            2962 COWBOY DR                                                                        DALLAS         TX   75237‐3245
REYNOLDS, MARY L            450 BEECHWOOD RD                                                                      COLUMBUS       OH   43213‐2314
REYNOLDS, MARY P            9875 PALMOOR                                                                          WHITE LAKE     MI   48386‐2841
REYNOLDS, MARY P            9875 PALMOOR ST                                                                       WHITE LAKE     MI   48386‐2841
REYNOLDS, MARY W            108 LOYD ST                                                                           PEARL          MS   39208‐5610
REYNOLDS, MATTHEW JOHN      BLASINGAME BURCH GARRARD & BRYANT PO BOX 832                                          ATHENS         GA   30603‐0832
                            P.C.
REYNOLDS, MATTHEW JOHN      832 GLENWOOD DR                                                                       GAINESVILLE    GA   30501‐2312
REYNOLDS, MELVA B           10992 CHILLICOTHE RD                                                                  KIRTLAND       OH   44094‐5104
REYNOLDS, MERLIN J          PO BOX 455                                                                            CHESANING      MI   48616‐0455
REYNOLDS, MERRILL           4867 HOLLYBRIAR CT                                                                    COLUMBUS       OH   43228‐5757
REYNOLDS, MICHAEL           924 OLD HIGHWAY 60 W                                                                  MITCHELL       IN   47446‐7313
REYNOLDS, MICHAEL A         517 LAWRENCE RD                                                                       BROCKPORT      NY   14420‐9325
REYNOLDS, MICHAEL C         6475 WEYBURN CT                                                                       GRAND BLANC    MI   48439‐9477
REYNOLDS, MICHAEL D         4166 BEACH TRL                                                                        JAMESTOWN      OH   45335‐1152
REYNOLDS, MICHAEL D         10316 ROSSMAN HWY                                                                     EATON RAPIDS   MI   48827‐9337
REYNOLDS, MICHAEL F         17872 LAKEFIELD RD                                                                    MERRILL        MI   48637‐8704
REYNOLDS, MICHAEL G         1197 DORAL DR                                                                         TROY           MI   48085‐6106
REYNOLDS, MICHAEL L         8308 N SERNS RD                                                                       MILTON         WI   53563‐9107
REYNOLDS, MICHAEL L         2420 W LAKE RD                                                                        CLIO           MI   48420‐8856
REYNOLDS, MICHAEL L         10468 CLARK RD                                                                        DAVISON        MI   48423‐8597
REYNOLDS, MICHAEL L         2704 W BROOKFIELD DR                                                                  MUNCIE         IN   47302‐2047
REYNOLDS, MICHAEL L         8809 EASLEY ST                                                                        WHT SETTLEMT   TX   76108‐1014
REYNOLDS, MICHAEL L         6535 OLD US HIGHWAY 27 SOUTH                                                          GAYLORD        MI   49735‐9533
REYNOLDS, MICHAEL LEE       2420 W LAKE RD                                                                        CLIO           MI   48420‐8856
REYNOLDS, MICHAEL R         248 MCNIEL DR                                                                         MURFREESBORO   TN   37128‐4510
REYNOLDS, MICHAEL S         612 SOUTH WILLOW STREET                                                               MANSFIELD      TX   76063‐2418
REYNOLDS, MICHAEL SHAWN     612 SOUTH WILLOW STREET                                                               MANSFIELD      TX   76063‐2418
REYNOLDS, MICHAEL W         134 RUSSELL RD                                                                        STONEWALL      LA   71078‐9219
REYNOLDS, MICHAEL WILLIAM   134 RUSSELL RD                                                                        STONEWALL      LA   71078‐9219
REYNOLDS, MICHEAL L         2235 N POINTE LN                                                                      FLORISSANT     MO   63031‐2509
REYNOLDS, MICHELE D         19610 MAGNOLIA PKWY                                                                   SOUTHFIELD     MI   48075‐7310
REYNOLDS, MILDRED           303 CONNELL AVE                                                                       ANDOVER        KS   67002‐9625
REYNOLDS, MINNIE            26970 DARTMOUTH ST                                                                    INKSTER        MI   48141
REYNOLDS, MOLLY C           PO BOX 90442                                                                          EAST POINT     GA   30364‐0442
REYNOLDS, MONICA M          9511 MALBIS LN                                                                        DAPHNE         AL   36526‐8557
REYNOLDS, MOREEN S          PO BOX 254                                                                            SHARPSVILLE    IN   46068‐0254
REYNOLDS, MORRIS A          BOONE ALEXANDRA                   205 LINDA DR                                        DAINGERFIELD   TX   75638‐2107
REYNOLDS, MOSES W           3652 HEIDELBERG ST                                                                    DETROIT        MI   48207‐2436
REYNOLDS, NADINE            1208 HAPEMAN ST                                                                       LANSING        MI   48915‐1450
REYNOLDS, NAKIA
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Name                    Address1                         Address2                 Address3   Address4         City            State Zip
REYNOLDS, NANCY DIANE   2827 SAINT XAVIER STREET                                                              LOUISVILLE       KY 40212‐1934
REYNOLDS, NEDRA R       APT 707                          3033 BARDIN ROAD                                     GRAND PRAIRIE    TX 75052‐3869
REYNOLDS, NEDRA R       5012 SUNWOOD CIR                                                                      FORT WORTH       TX 76123‐6000
REYNOLDS, NORMA F       8529 KENNEDY CIR UNIT 1                                                               WARREN           MI 48093‐2231
REYNOLDS, NORMA J       22735 CORTES ST                                                                       NOVI             MI 48375‐4500
REYNOLDS, NORMA J       PO BOX 29153                                                                          SHREVEPORT       LA 71149‐9153
REYNOLDS, NORMAN R      7650 SALEM UNITY RD                                                                   SALEM            OH 44460‐9207
REYNOLDS, NORMAN V      7948 E COUNTY ROAD 150 S                                                              AVON             IN 46123‐8197
REYNOLDS, NORMAN W      10480 LISBON RD                                                                       CANFIELD         OH 44406‐9470
REYNOLDS, OLGA H        7482 COUNTRY MEADOW DR                                                                SWARTZ CREEK     MI 48473‐1410
REYNOLDS, ORLEY E       54 E GLASS RD                                                                         ORTONVILLE       MI 48462‐8833
REYNOLDS, OTIS R        9644 PICKERING ST                                                                     SHAWNEE          KS 66227‐7244
REYNOLDS, OZELL L       2840 LAS VEGAS TRL APT 139                                                            FORT WORTH       TX 76116‐3013
REYNOLDS, OZIE M        9086 PLAINVIEW AVE                                                                    DETROIT          MI 48228‐1764
REYNOLDS, PAMELA Y      1197 DORAL DR                                                                         TROY             MI 48085‐6106
REYNOLDS, PATRICIA A    9973 E BROOKS RD                                                                      LENNON           MI 48449‐9679
REYNOLDS, PATRICIA A    9973 BROOKS RD                                                                        LENNON           MI 48449‐9679
REYNOLDS, PATRICIA E    PO BOX 24347                                                                          INDIANAPOLIS     IN 46224‐0347
REYNOLDS, PATRICIA L    735 OLIVIA DRIVE                                                                      DAVISON          MI 48423‐1248
REYNOLDS, PATRICK E     5262 OLEKSYN RD                                                                       FLINT            MI 48504‐1000
REYNOLDS, PATRICK J     1773 PAYNE RD                                                                         FARMINGTON       NY 14425‐9155
REYNOLDS, PAUL D        HC 2 BOX 114                                                                          WILLIAMSVILLE    MO 63967‐9416
REYNOLDS, PAUL E        112 CRAIGHTON CT                                                                      FLINT            MI 48503‐4118
REYNOLDS, PAUL R        4773 HAWLEY RD                                                                        BATAVIA          OH 45103‐9420
REYNOLDS, PAULA L       5069 BEECHWOOD RD                                                                     AVON             IN 46123
REYNOLDS, PEGGY A       5920 PIPER AVE                                                                        LANSING          MI 48911‐4618
REYNOLDS, PERCY B       1504 WHETSTONE CT                                                                     NASHVILLE        TN 37209‐5030
REYNOLDS, PERCY G       6413 E 900 N                                                                          WILKINSON        IN 46186‐9732
REYNOLDS, PETER G       1607 PRAIRIE SONG PL                                                                  LONGMONT         CO 80501‐2772
REYNOLDS, PETRA G       86 COUNTRYSHIRE DR                                                                    ROCHESTER        NY 14626‐3821
REYNOLDS, PINKIE        3480 MACLIN LN APT 1                                                                  MEMPHIS          TN 38128‐8326
REYNOLDS, POLLY A       10316 ROSSMAN HWY                                                                     EATON RAPIDS     MI 48827‐9337
REYNOLDS, R J           126 W PROSPECT ST                                                                     MANSFIELD        OH 44907‐1230
REYNOLDS, RACHAL A      2650 S FORUM DR APT 19102                                                             GRAND PRAIRIE    TX 75052‐7051
REYNOLDS, RACHAL ANN    2650 S FORUM DR APT 19102                                                             GRAND PRAIRIE    TX 75052‐7051
REYNOLDS, RALPH R       2960 WINEGAR RD                                                                       BANCROFT         MI 48414‐9756
REYNOLDS, RANDALL L     1210 S PENNSYLVANIA ST                                                                MARION           IN 46953‐2402
REYNOLDS, RANDY         2405 SPICE VALLEY RD                                                                  MITCHELL         IN 47446‐5368
REYNOLDS, RANDY J       2802 CRANDALL RD                                                                      ALBION           NY 14411‐9626
REYNOLDS, RANDY L       1266 N BELLVIEW RD                                                                    ARAGON           GA 30104‐2324
REYNOLDS, RAYMOND A     N29W6583 LINCOLN CT                                                                   CEDARBURG        WI 53012‐2771
REYNOLDS, RAYMOND G     11747 SPENCER MILLS RD                                                                SPENCER          OH 44275‐9328
REYNOLDS, RAYMOND G     LOT 270                          4301 NORTH HIGHWAY 19A                               MOUNT DORA       FL 32757‐2030
REYNOLDS, RAYMOND H     533 PARK VW                                                                           CLIO             MI 48420‐1473
REYNOLDS, RAYMOND J     1187 LOCKWOOD DR                                                                      LOCKPORT         NY 14094‐7133
REYNOLDS, REGINALD E    911 WESLEY CHAPEL RD                                                                  LAWRENCEBURG     TN 38464‐7555
REYNOLDS, RETHA L       5421 DUNMORE DRIVE                                                                    DAYTON           OH 45459‐5459
REYNOLDS, RICHARD       7089 LINDALE DR                                                                       MOUNT MORRIS     MI 48458‐9737
REYNOLDS, RICHARD A     5060 S LAS MANANITAS TRL                                                              GOLD CANYON      AZ 85218‐1847
REYNOLDS, RICHARD A     1632 HEIDELBERG DR                                                                    LIVERMORE        CA 94550‐6109
REYNOLDS, RICHARD A     13460 7 MILE RD NE                                                                    BELDING          MI 48809‐9657
REYNOLDS, RICHARD A     5060 SOUTH LAS MANANITAS TRAIL                                                        GOLD CANYON      AZ 85218‐1847
                      09-50026-mg            Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                  Address1                       Address2                    Address3   Address4         City                 State Zip
REYNOLDS, RICHARD A   25396 ROUNDTREE LN                                                                     STURGIS               MI 49091‐9616
REYNOLDS, RICHARD A   11681 ROBIN DR                                                                         LAKEVIEW              MI 48850‐9749
REYNOLDS, RICHARD C   13B BRADFORD AVE APT 5                                                                 HAMILTON              NJ 08610‐3103
REYNOLDS, RICHARD D   6211 BRANCH RD                                                                         FLINT                 MI 48506‐1356
REYNOLDS, RICHARD E   5618 N KERBY RD                                                                        CORUNNA               MI 48817‐9717
REYNOLDS, RICHARD G   75 MIDFOREST LDG                                                                       PRUDENVILLE           MI 48651‐9501
REYNOLDS, RICHARD L   4565 E EDGEWOOD AVE                                                                    MESA                  AZ 85206‐2603
REYNOLDS, RICHARD L   250 HICKORY ST                                                                         FRANKFORT              IL 60423‐1608
REYNOLDS, RICHARD L   52 WEXFORD CLUB DR                                                                     HILTON HEAD ISLAND    SC 29928‐3356
REYNOLDS, RICHARD L   25 RIVERSIDE PKWY                                                                      MASSENA               NY 13662‐1704
REYNOLDS, RICHARD L   10915 GOODALL RD BOX 331                                                               DURAND                MI 48429‐9775
REYNOLDS, RICHARD M   938 LONDON DR                                                                          LANSING               MI 48917‐4153
REYNOLDS, RICHARD O   4 GREENWOODE LN                                                                        PONTIAC               MI 48340‐2244
REYNOLDS, RICK E      4811 TORRENCE DR                                                                       LAS VEGAS             NV 89103‐4361
REYNOLDS, RICKIE M    7960 GREENFIELD DR                                                                     MERIDIAN              MS 39305‐9388
REYNOLDS, RICKY C     140 HOOVER RD                                                                          FITZGERALD            GA 31750‐6000
REYNOLDS, ROBERT      ANGELOS PETER G                100 N CHARLES STREET, ONE                               BALTIMORE             MD 21201‐3812
                                                     CHARLES CENTER
REYNOLDS, ROBERT A    1791 195TH AVE                                                                         CAMERON               IL   61423‐9505
REYNOLDS, ROBERT C    22932 GRATIOT RD                                                                       MERRILL              MI    48637‐9738
REYNOLDS, ROBERT D    5406 N 32ND ST                                                                         RICHLAND             MI    49083‐9423
REYNOLDS, ROBERT D    1807 HILL ST                                                                           WHITE OAK            PA    15131‐2137
REYNOLDS, ROBERT E    17566 ORLEANS ST                                                                       DETROIT              MI    48203‐2432
REYNOLDS, ROBERT E    1445 E BROWN RD                                                                        MAYVILLE             MI    48744‐9503
REYNOLDS, ROBERT E    1575 W BARNES RD                                                                       FOSTORIA             MI    48435
REYNOLDS, ROBERT E    PO BOX 301                     3161 MAYSVILLE ST.                                      BOWERSVILLE          OH    45307‐0301
REYNOLDS, ROBERT E    3161 MAYSVILLE ST.             P.O. BOX 301                                            BOWERSVILLE          OH    45307‐0301
REYNOLDS, ROBERT J    3373 SHANNON RD                                                                        BURTON               MI    48529‐1830
REYNOLDS, ROBERT J    NN 5824 COUNTY RD K                                                                    MENOMONIE            WI    54751
REYNOLDS, ROBERT L    659 BENBOW CIR                                                                         NEW LEBANON          OH    45345‐1665
REYNOLDS, ROBERT L    845 CARBONDALE RD SW UNIT 4                                                            DALTON               GA    30721
REYNOLDS, ROBERT L    110 HABERSHAM CT SE                                                                    CALHOUN              GA    30701
REYNOLDS, ROBERT L    659 BENBOW CIRCLE                                                                      NEW LEBANON          OH    45345‐1665
REYNOLDS, ROBERT L    435 COUNTRY CLUB DR                                                                    OLDSMAR              FL    34677‐3903
REYNOLDS, ROBERT W    3213 YORK DR W                                                                         BRADENTON            FL    34205‐2850
REYNOLDS, ROBERTA A   1976 CANYON RIDGE DR                                                                   SPARKS               NV    89436‐3685
REYNOLDS, ROBERTA J   252 PECK RD                                                                            HILTON               NY    14468‐9320
REYNOLDS, ROBIN F     5 TEAL LN                                                                              BAILEY               CO    80421‐2072
REYNOLDS, ROBIN R     7527 S 400 E                                                                           MARKLEVILLE          IN    46056‐9752
REYNOLDS, RODNEY      5461 FLOWING WELL RD                                                                   POLAND               IN    47868‐7173
REYNOLDS, ROGER D     15754 GODDARD RD                                                                       ALLEN PARK           MI    48101‐1150
REYNOLDS, ROGER E     201 VOLLMER PKWY                                                                       ROCHESTER            NY    14623
REYNOLDS, ROGER F     3732 HEMMETER RD                                                                       SAGINAW              MI    48603‐2023
REYNOLDS, ROGER G     5817 WOODMORE DR                                                                       DAYTON               OH    45414‐3011
REYNOLDS, RON L       3700 DELTA RIVER DR                                                                    LANSING              MI    48906‐3465
REYNOLDS, RONALD      4016 ROCKKNOLL CT                                                                      CONLEY               GA    30288‐1414
REYNOLDS, RONALD M    439 CLIFF DR                                                                           LOGANSPORT           IN    46947‐4307
REYNOLDS, RONALD R    213 MENLO PARK AVE                                                                     DAVENPORT            FL    33897‐9710
REYNOLDS, RONNIE D    105 LINCOLN AVE                                                                        BEDFORD              IN    47421‐1612
REYNOLDS, RORY D      11120 E LENNON RD                                                                      LENNON               MI    48449‐9616
REYNOLDS, ROSCOE      410 E 43RD ST APT 301                                                                  CHICAGO              IL    60653
REYNOLDS, ROSELLEN    PO BOX 656                                                                             MITCHELL             IN    47446‐0656
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Name                               Address1                         Address2                Address3     Address4         City            State Zip
REYNOLDS, ROSELLEN                 P.O. BOX 656                                                                           MITCHELL         IN 47446
REYNOLDS, ROSEMARY E               4800 CLARK LAKE RD                                                                     JACKSON          MI 49201‐9282
REYNOLDS, ROXIE L                  1705 SAINT LORETTO DR                                                                  FLORISSANT       MO 63033‐3321
REYNOLDS, ROXIE L                  1705 ST LORETTO DR                                                                     FLORISSANT       MO 63033‐3321
REYNOLDS, ROYCE E                  3980 E OWENS AVE APT 226                                                               LAS VEGAS        NV 89110‐5800
REYNOLDS, RUBY M                   843 VICTORIA AVE                                                                       FLINT            MI 48507‐1734
REYNOLDS, RUSSELL ASSOCIATES I     200 PARK AVE 23RD FL STE 2300                                                          NEW YORK         NY 10166
REYNOLDS, RUSSELL ASSOCIATES INC   PO BOX 6427                      CHURCH STREET STATION                                 NEW YORK         NY 10249‐6427
REYNOLDS, RUSSELL C                125 N SAINT JACQUES ST                                                                 FLORISSANT       MO 63031‐5817
REYNOLDS, RUSSELL L                3155 BEECHTREE LN                                                                      FLUSHING         MI 48433‐1944
REYNOLDS, RUSSELL R                4594 STATE RD                                                                          FORT GRATIOT     MI 48059‐3209
REYNOLDS, RUTH                     PO BOX 183                                                                             ALTOONA          FL 32702‐0183
REYNOLDS, RUTH                     500 E FERGUSON                                                                         DAVIS            OK 73030‐3149
REYNOLDS, RUTH A                   4002 MANOR OAKS ROAD                                                                   PHOENIX          MD 21131‐1800
REYNOLDS, RUTH I                   10360 DAVISBURG RD                                                                     DAVISBURG        MI 48350‐2027
REYNOLDS, RYAN                     9660 NW 25TH ST                                                                        SUNRISE          FL 33322‐2706
REYNOLDS, SADIE L                  1575 CLEARVIEW CIRCLE                                                                  MANSFIELD        OH 44905‐1719
REYNOLDS, SALLY A                  10950 W UNION HILLS DR 2201                                                            SUN CITY         AZ 85373
REYNOLDS, SAMUEL L                 17 ALEXANDER LOOP                                                                      PHENIX CITY      AL 36869‐3424
REYNOLDS, SCOTT                    401 SIOUX TRL # A                                                                      COLUMBIA         TN 38401‐2149
REYNOLDS, SCOTT M                  124 S 29TH ST                                                                          LAFAYETTE        IN 47904‐3131
REYNOLDS, SCOTT P                  3504 HARWOOD ST                                                                        KETTERING        OH 45429‐4223
REYNOLDS, SHAWN M                  2521 ROCKYGATE LANE                                                                    FRIENDSWOOD      TX 77546‐5393
REYNOLDS, SHIRLEY A                11429 OAKWOOD DR                                                                       JEROME           MI 49249‐9847
REYNOLDS, STANLEY G                720 KING ST                                                                            IONIA            MI 48846‐1049
REYNOLDS, STANLEY T                24230 BEVERLY ST                                                                       OAK PARK         MI 48237‐1552
REYNOLDS, STEPHEN D                8207 CHURCH RD                                                                         SAINT JOHNS      MI 48879‐9289
REYNOLDS, STEPHEN J                219 LAURELTON RD                                                                       ROCHESTER        NY 14609‐4316
REYNOLDS, STEVE A                  3410 WOODVINE CIR                                                                      HAUGHTON         LA 71037‐7511
REYNOLDS, STEVE ARNETT             3410 WOODVINE CIR                                                                      HAUGHTON         LA 71037‐7511
REYNOLDS, STEVE L                  249 ORTH DR                                                                            NEW CARLISLE     OH 45344
REYNOLDS, STEVEN                   695 CLAIRIDGE LN                                                                       LAWRENCEVILLE    GA 30045‐7711
REYNOLDS, STEVEN J                 1225 SW 96TH ST                                                                        OKLAHOMA CITY    OK 73139‐2611
REYNOLDS, SUE A                    5956 THOMAS RD                                                                         OXFORD           MI 48371‐1151
REYNOLDS, T A                      7936 CROUSE DR                                                                         FORT WORTH       TX 76137‐4397
REYNOLDS, T. ARTHUR                2536 BLUE RIDGE TRL                                                                    FLOWER MOUND     TX 75028‐2474
REYNOLDS, TED R                    701 MARKET ST                    APT 224                                               OXFORD           MI 48371‐3575
REYNOLDS, TED R                    701 MARKET STREET                APT 224                                               OXFORD           MI 48371‐8371
REYNOLDS, TERESA F                 108 E CIRCLE DR                                                                        W CARROLLTON     OH 45449‐1104
REYNOLDS, TERRENCE R               PO BOX 320044                                                                          GLEN             MT 59732‐0044
REYNOLDS, TERRENCE RANDALL         PO BOX 93                                                                              MELROSE          MT 59743‐0093
REYNOLDS, TERRY C                  308 W HAYDN DR APT 1321                                                                CARMEL           IN 46032‐7047
REYNOLDS, THELMA                   2222 MADISON AVENUE                                                                    NORWOOD          OH 45212‐3225
REYNOLDS, THEODORE                 53850 SHELBY RD                                                                        SHELBY TWP       MI 48316‐2268
REYNOLDS, THEODORE J               3209 ROCHESTER RD                                                                      LEONARD          MI 48367‐2413
REYNOLDS, THEODORE K               874 TIMBERLINE DR                                                                      ROCHESTER HLS    MI 48309‐1317
REYNOLDS, THERON R                 1720 HALE RD                                                                           STANDISH         MI 48658‐9726
REYNOLDS, THOMAS A                 19167 OLYMPIA                                                                          REDFORD          MI 48240‐1438
REYNOLDS, THOMAS D                 321 WILCOX ST                                                                          ROCHESTER        MI 48307‐1949
REYNOLDS, THOMAS E                 524 TREY CT                                                                            MONROE           OH 45050‐2471
REYNOLDS, THOMAS E                 1637 PHILADELPHIA DR                                                                   DAYTON           OH 45406‐4119
REYNOLDS, THOMAS P                 8314 CHAPEL GLEN DR                                                                    INDIANAPOLIS     IN 46234
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Name                      Address1                         Address2                       Address3   Address4         City               State Zip
REYNOLDS, THOMAS R        12340 THOMAS ST                                                                             ATLANTA             MI 49709‐9722
REYNOLDS, TIMOTHY         3390 LUDWIG                                                                                 OXFORD              NE 68967
REYNOLDS, TIMOTHY G       3058 SCOTT DR                                                                               BAY CITY            MI 48706‐1119
REYNOLDS, TIMOTHY L       6364 W VIENNA RD                                                                            CLIO                MI 48420‐9456
REYNOLDS, TIMOTHY L       830 GREENHILL WAY                                                                           ANDERSON            IN 46012‐9264
REYNOLDS, TIMOTHY M       1976 CANYON RIDGE DR                                                                        SPARKS              NV 89436‐3685
REYNOLDS, TIMOTHY S       3390 LUDWIG RD                                                                              OXFORD              MI 48371‐1413
REYNOLDS, TIMOTHY W       5467 E MICHIGAN AVE                                                                         AU GRES             MI 48703‐9572
REYNOLDS, TIMOTHY W       2601 BLACKMORE ST                                                                           SAGINAW             MI 48602‐3579
REYNOLDS, TINA            2405 SPICE VALLEY RD                                                                        MITCHELL            IN 47446‐5368
REYNOLDS, TODD K          1150 HENNEPIN AVE APT 2407                                                                  MINNEAPOLIS         MN 55403‐1779
REYNOLDS, TOMMY R         19350 DERBY ST                                                                              DETROIT             MI 48203‐1650
REYNOLDS, TRAVIS
REYNOLDS, ULRICH L        5358 N SYCAMORE DR                                                                          BURTON             MI   48509‐1351
REYNOLDS, UVOYD           2730 W GLENDALE AVE                                                                         MILWAUKEE          WI   53209‐6126
REYNOLDS, VEATRICE C      2300 S B ST                                                                                 ELWOOD             IN   46036‐2144
REYNOLDS, VEATRICE C      2300 SOUTH B STREET                                                                         ELWOOD             IN   46036‐2144
REYNOLDS, VEDA M          3038 S 337 E                                                                                KOKOMO             IN   46902‐9525
REYNOLDS, VERN C          9393 SWAFFER ROAD                                                                           VASSAR             MI   48768‐9683
REYNOLDS, VERNA D         935 UNION LAKE RD APT 125                                                                   WHITE LAKE         MI   48386
REYNOLDS, VERNA D         APT 125                          935 UNION LAKE ROAD                                        WHITE LAKE         MI   48386‐4532
REYNOLDS, VESTER          137 RICE ST                                                                                 WILLIAMSBURG       KY   40769‐2077
REYNOLDS, VICTOR F        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                  BALTIMORE          MD   21202
                                                           CHARLES CENTER 22ND FLOOR
REYNOLDS, VICTOR W        5310 ETHEL ST                                                                               BRIGHTON           MI   48116‐1931
REYNOLDS, VICTORIA        684 COUNTY ROAD 2606                                                                        KNOXVILLE          AR   72845‐8525
REYNOLDS, VICTORIA        LOVELL & NALLEY                  PO BOX 606                                                 BENTON             AR   72018‐0606
REYNOLDS, VINCENT L       405 SMITH RD                                                                                CARRIER MILLS      IL   62917‐2100
REYNOLDS, VIRGINIA        131 MARK ST                                                                                 DEARBORN HEIGHTS   MI   48127‐1937
REYNOLDS, VIRGINIA        409 SW 1ST ST                    APT 3                                                      CHECOTAH           OK   74426‐4822
REYNOLDS, VIRGINIA R      905 NORTHWEST A STREET                                                                      RICHMOND           IN   47374‐4059
REYNOLDS, W R             8704 W BUTTERNUT RD                                                                         MUNCIE             IN   47304‐9714
REYNOLDS, W ROCCHI        8704 W BUTTERNUT RD                                                                         MUNCIE             IN   47304‐9714
REYNOLDS, WALLACE A       2816 HIGHWAY 51 N                                                                           ARKADELPHIA        AR   71923‐8588
REYNOLDS, WALLACE W       371 CLENDENON RD                                                                            SPENCER            TN   38585‐4630
REYNOLDS, WALTER          2710 AUTUMN BLUFF WAY                                                                       LAWRENCEVILLE      GA   30044‐7456
REYNOLDS, WALTER F        537 EUCLID ST                                                                               CLEBURNE           TX   76033‐4362
REYNOLDS, WALTER H        11780 ALPINE DR                                                                             LAKE STATION       MI   48632‐9738
REYNOLDS, WALTER J        20133 OSMUS ST                                                                              LIVONIA            MI   48152‐1515
REYNOLDS, WALTER L        15105 TRACEY ST                                                                             DETROIT            MI   48227‐3273
REYNOLDS, WANDA I         PO BOX 88284                                                                                INDIANAPOLIS       IN   46208‐0284
REYNOLDS, WAYNE           1534 LITTLE DOVE CT                                                                         HENDERSON          NV   89014‐0350
REYNOLDS, WELLSMAN        3444 SHAKERTOWN RD                                                                          ANTIOCH            TN   37013‐1008
REYNOLDS, WILLIAM         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD         OH   44067
                                                           PROFESSIONAL BLDG
REYNOLDS, WILLIAM B       251 SHEPARD RD                                                                              CARNESVILLE        GA   30521‐2954
REYNOLDS, WILLIAM BYRON   251 SHEPARD RD                                                                              CARNESVILLE        GA   30521‐2954
REYNOLDS, WILLIAM C       PO BOX 26                                                                                   MAXIMO             OH   44650‐0026
REYNOLDS, WILLIAM E       351 HOLIDAY PARK BLVD NE                                                                    PALM BAY           FL   32907‐2173
REYNOLDS, WILLIAM E       2421 MEYER AVE SW                                                                           WYOMING            MI   49519‐2201
REYNOLDS, WILLIAM G       PO BOX 68                                                                                   SILER              KY   40763‐0068
REYNOLDS, WILLIAM H       36419 PAMALA DR                                                                             CLINTON TWP        MI   48035‐4621
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Name                              Address1                         Address2                        Address3   Address4             City               State Zip
REYNOLDS, WILLIAM H               45 GLENWOOD CT APT C                                                                             CHEEKTOWAGA         NY 14225‐6617
REYNOLDS, WILLIAM J               27541 BERNINA AVE                                                                                CANYON COUNTRY      CA 91351‐3406
REYNOLDS, WILLIAM J               7022 HUNTERS RIDGE DR                                                                            PLAINFIELD          IN 46168‐7920
REYNOLDS, WILLIAM N               694 FERNDALE AVE                                                                                 LAKE ORION          MI 48362‐2616
REYNOLDS, WILLIAM R               5658 ARGYLL DR                                                                                   WATERFORD           MI 48327‐2000
REYNOLDS, WILLIAM R               1318 LELAND ST                                                                                   COLLINSVILLE         IL 62234‐4225
REYNOLDS, WILLIAM R               148 SUNSET RIDGE DR                                                                              CROSSVILLE          TN 38571‐3670
REYNOLDS, WILLIAM W               922 ELLENBERGER PRKWY WST DR D                                                                   INDIANAPOLIS        IN 46219‐4405
REYNOLDS, WILLIAM W               1222 REED CEMETARY RD                                                                            PALL MALL           TN 38577
REYNOLDS, WILLIAM W               1264 REED CEMETARY RD                                                                            PALLMALL            TN 38577
REYNOLDS, WILMA J                 2519 SPRINGVILLE‐JUDAH RD                                                                        SPRINGVILLE         IN 47462‐5399
REYNOLDS, WILMA J                 6065 MCCANDLISH RD                                                                               GRAND BLANC         MI 48439‐9538
REYNOLDS, WILMA L                 1343 SPRINGDALE DR APT 5                                                                         SANDUSKY            OH 44870‐4239
REYNOLDS, WOODROW D               754 CATON AVENUE                                                                                 ADRIAN              MI 49221‐3810
REYNOLDS, WOODROW DUANE           754 CATON AVENUE                                                                                 ADRIAN              MI 49221‐3810
REYNOLDS, WYATT                   GUY WILLIAM S                    PO BOX 509                                                      MCCOMB              MS 39649‐0509
REYNOLDS‐LEMMERZ INDUSTRIES       DANIELLE FELTMAN                 200 MOUNTAIN RD.                                                MT STERLING         OH 43143
REYNOSA, DONALD C                 10318 GOTHIC AVE                                                                                 GRANADA HILLS       CA 91344
REYNOSA, GABRIELA
REYNOSO ALEX                      REYNOSO, ALEX
REYNOSO, ALEX                     400 E CALIFORNIA BLVD APT 22                                                                     PASADENA            CA 91106‐3764
REYNOSO, CESAR NERI
REYNOSO, JUAN A                   24325 VISTA BUENA DR                                                                             DIAMOND BAR        CA 91765‐1836
REYNOSO, MELESIA                  14060 HERRON ST                                                                                  SYLMAR             CA 91342‐4111
REYNOSO, OSCAR NERI
REYNOSO, RUBEN L                  15041 BLEDSOE ST                                                                                 SYLMAR             CA   91342‐2708
REYNTJES, ANDREW W                25535 WAREHAM DR                                                                                 HUNTINGTON WOODS   MI   48070‐1664
REYNTJES, JENNIFER L              25535 WAREHAM DR                                                                                 HUNTINGTON WOODS   MI   48070‐1664
REYOME, FREDERICK E               110 RAEBURN AVE                                                                                  ROCHESTER          NY   14619‐1616
REYOME, RICHARD L                 62 BUCKWHEAT RD                                                                                  MOIRA              NY   12957‐2401
REYST, JOHN C                     17677 LORANGER ST                                                                                CLINTON TOWNSHIP   MI   48038‐1781
REZA
REZA DANIEL (659090)              BRAYTON PURCELL                  PO BOX 6169                                                     NOVATO             CA 94948‐6169
REZA JULIO (ESTATE OF) (492134)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD         OH 44067
                                                                   PROFESSIONAL BLDG
REZA SADAT                        ‐‐                               ABBASABAD INDUSTRIAL CITY                  TEHRAN 16522 IRAN
                                                                                                              (ISLAMIC REP)
REZA SHAFAF                       321 SW ASCOT DR                                                                                  LEES SUMMIT        MO 64082‐4421
REZA ZOORABADI
REZA, DANIEL                      BRAYTON PURCELL                  PO BOX 6169                                                     NOVATO             CA   94948‐6169
REZA, DAVID                       34590 HUNTER AVE                                                                                 WESTLAND           MI   48185‐2775
REZA, JESUS M                     4909 WHITE LAKE RD                                                                               WHITE LAKE         MI   48383‐1110
REZA, JULIO                       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                    NORTHFIELD         OH   44067
                                                                   PROFESSIONAL BLDG
REZA, SUE M                       48449 MANOR BRIDGE DR 210                                                                        CANTON             MI   48188
REZAB, GERALD J                   5509 GONDOLIER DR                                                                                NEW BERN           NC   28560‐9002
REZABEK, CHARLES                  10203 HEWINS ROAD                                                                                GARRETTSVILLE      OH   44231‐9002
REZABEK, CHARLES                  10203 HEWINS RD                                                                                  GARRETTSVILLE      OH   44231‐9002
REZABEK, VERNE E                  409 N STONE AVE                                                                                  LA GRANGE PARK     IL   60526‐1820
REZAC, TIMOTHY J                  4811 W MAIN ST                                                                                   LOWELL             IN   46356
REZAK, MARY V                     5911 THUNDERBIRD DRIVE                                                                           MENTOR ON LAK      OH   44060‐3051
REZANKA, KATHLEEN                 28127 WEXFORD DR                                                                                 WARREN             MI   48092‐4168
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Name                            Address1                          Address2              Address3    Address4                City               State Zip
REZAUL KARIM                    43200 KEYSTONE LN                                                                           CANTON              MI 48187‐3471
REZEAU, ALICE E                 4904 BELLEMEDE BLVD                                                                         NEW PORT RICHEY     FL 34655‐1479
REZEK, BETTY L                  290 WASHINGTON AVENUE #210‐C                                                                ELYRIA              OH 44035
REZEK, LANE R                   3269 PINE NEEDLE DR                                                                         WHITE LAKE          MI 48383‐3286
REZEK, ROBERT N                 8303 BURCHLAWN CT                                                                           COLFAX              NC 27235‐8713
REZENDES, BETTY V               4114 WALTHAM FOREST DR                                                                      TAVARES             FL 32778‐5725
REZHETS, VADIM                  401 SW 33RD AVE                                                                             CAPE CORAL          FL 33991‐7603
REZIN, ANDREW M                 1516 N 64TH DR                                                                              KANSAS CITY         KS 66102‐1126
REZIN, WILLIAM F                4 S 76TH ST                                                                                 KANSAS CITY         KS 66111‐2655
REZINA NABI                     5026 SHADY CREEK DR                                                                         TROY                MI 48085‐3284
REZLER, EUGENE A                1813 S HURON RD                                                                             KAWKAWLIN           MI 48631‐9419
REZLER, GERALD J                5612 MICHAEL DR                                                                             BAY CITY            MI 48706‐3167
REZLER, LEONARD A               2525 RIVER RD                                                                               KAWKAWLIN           MI 48631‐9409
REZLER, MARGIE J                4426 ESTEY RD                                                                               RHODES              MI 48652‐9756
REZLER, RANDY G                 4790 W WESTGATE DR                                                                          BAY CITY            MI 48706‐2634
REZLER, ROBERT                  1959 S HURON RD                                                                             KAWKAWLIN           MI 48631‐9406
REZMER, DONALD                  1700 E COTTAGE GROVE RD                                                                     LINWOOD             MI 48634‐9404
REZMER, GERALD F                1014 S LINCOLN ST                                                                           BAY CITY            MI 48708‐7417
REZMER, HENRIETTA S             1318 S MONROE ST                                                                            BAY CITY            MI 48708‐8072
REZMER, JAMES L                 7199 12TH ST SE                                                                             PINGREE             ND 58476‐9628
REZMER, RAYMOND A               1890 GRAVEL CREEK RD                                                                        NORTH BRANCH        MI 48461‐9576
REZMER, ROMAINE M               166 N 8 MILE RD                                                                             LINWOOD             MI 48634‐9770
REZMER, ROMAINE M               166 N EIGHT MILE                                                                            LINWOOD             MI 48634‐9770
REZMER, TERRENCE D              1800 CASTLEVIEW CT                                                                          GLADWIN             MI 48624
REZMER, WAYNE J                 1027 W RIDGE RD                                                                             ESSEXVILLE          MI 48732‐9694
REZMERSKI, MICHAEL E            24515 BRAMBLEWOOD DR                                                                        NOVI                MI 48374‐4019
REZNAK, FRANCIS E               3808 WILMINGTON AVE                                                                         SAINT LOUIS         MO 63116‐3221
REZNER, EUGENE C                8 TARTAN CT                                                                                 LAWRENCEVILLE       NJ 08648‐4621
REZNER, RICHARD                 123 HARDING AVE                                                                             LAWRENCEVILLE       NJ 08648‐3745
REZNICEK, MARTA                 3269 N 9TH ST                                                                               KALAMAZOO           MI 49009‐7526
REZNICK, WILLIAM P              2172 WEBSTER PARK DR                                                                        HOWELL              MI 48843‐9472
REZNIK, ROGER P                 6131 LANCE RD                                                                               MEDINA              OH 44256‐8541
REZNIK, SAM                     18855 VICTORY BLVD                EISENBERG VILLAGE                                         RESEDA              CA 91335‐6445
REZNIK, SAM                     EISENBERG VILLAGE                 18855 VICTORY BLVD                                        RESEDA              CA 91335‐1335
REZNITSKAKYA, ALLA
REZNITSKAYA, MARINA             BACHU SHARMELA                    85‐04 168TH ST                                            NEW YORK           NY   11432
REZNY, JOSEPHINE T              6159 SO NARRAGANSETT AVE                                                                    CHICAGO            IL   60638‐4211
REZNY, JOSEPHINE T              6159 S NARRAGANSETT AVE                                                                     CHICAGO            IL   60638‐4211
REZSO MOLNAR                    4238 SHORE DR                                                                               LORAIN             OH   44053‐1323
REZY, BERNARD J                 288 W COUNTY ROAD 200 S                                                                     DANVILLE           IN   46122‐8262
REZZUTI, MARY                   305 WINTER ST                                                                               WALPOLE            MA   02081‐1034
RF BINDER                       950 3RD AVE FL 7                                                                            NEW YORK           NY   10022‐2788
RF CODE INC                     9229 WATERFORD CTR BLVD STE 50                                                              AUSTIN             TX   78758
RF CONNECT LLC                  37735 ENTERPRISE CT               STE 200                                                   FARMINGTON HILLS   MI   48331‐3474
RF SPOL SRO                     TOVARENSKA 15                     SK‐9014 MALACKY                   SLOVAKIA SLOVAK
                                                                                                    REPUBLIC
RFD TV                          PATRICK GOTTSCH                   3201 DICKERSON PIKE                                       NASHVILLE          TN 37207‐2905
RFD TV
RFI ENTERPRISES, INC.           BRAD WILSON                       360 TURTLE CREEK CT                                       SAN JOSE           CA   95125‐1315
RFIDSUPPLYCHAIN.COM             5636 OTTAWA PASS                                                                            CARMEL             IN   46033‐2376
RFK MEMORIAL FOR HUMAN RIGHTS   1367 CONNECTICUT AVE NW STE 200                                                             WASHINGTON         DC   20036‐1859
RFL COMMUNICATIONS INC          PO BOX 4514                                                                                 SKOKIE             IL   60076‐4514
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Name                             Address1                             Address2                     Address3          Address4                  City               State Zip
RFM SERVICES                     PO BOX 626                                                                                                    STROUDSBURG         PA 18360‐0626
RFM SERVICES                     140 NORTH 2ND STREET                                                                                          STROUDSBURG         PA 18360
RFM SERVICES, INC                FRED MCILVENNY                       140 NORTH 2ND ST                                                         STROUDSBURG         PA 18360
RFREDERICKICHARD
RFS INC                          HAMPTON INN WARREN                   7447 CONVENTION BLVD                                                     WARREN             MI    48092‐3875
RG & CG LLC                      C/O GREINER PONTIAC‐BUICK INC        ATTN ROBERT A GREINER        U14555 CIVIC DR                             VICTORVILLE        CA    92394
RG & E                           PO BOX 5300                                                                                                   ITHACA             NY    14852‐5300
RG ‐ MINOR CHILD,                TRACY FIRM                           5473 BLAIR RD STE 200                                                    DALLAS             TX    75231‐4168
RG LOEWENGUTH CO INC             2975 BRIGHTON HENRIETTA TOWN LINE                                                                             ROCHESTER          NY    14623‐2787
                                 RD STE 130
RG RAY CORP                      CHANTEL BLOUNT                       900 BUSCH PKY; POB 7230                        CIVAC JIUTEPEC CP 62500
                                                                                                                     MEXICO
RG RAY CORP                      CHANTEL BLOUNT                       PO BOX 7230                                                              BUFFALO GROVE       IL   60089‐7230
RG RAY CORP                      900 BUSCH PKWY                                                                                                BUFFALO GROVE       IL   60089‐4503
RG TRANSPORTATION SERVICES LTD   1226 WHITE OAKS BLVD                                                                OAKVILLE ON L6H 2B9
                                                                                                                     CANADA
RGB AUTOMOTIVE                   215 E PARK ST                                                                                                 EMMETT             ID    83617‐2940
RGBSI                            31791 SHERMAN AVE                                                                                             MADISON HTS        MI    48071‐1428
RGIS INVENTORY SPECIALISTS       80 OAKWOOD                                                                                                    ROCHESTER          MI    48063
RGIS INVENTORY SPECIALISTS       2000 TAYLOR RD                                                                                                AUBURN HILLS       MI    48326‐1771
RGIS LLC                         2000 TAYLOR RD                                                                                                AUBURN HILLS       MI    48326‐1771
RGIS, LLC.                       NICKI CARRICK                        2000 TAYLOR RD                                                           AUBURN HILLS       MI    48326‐1771
RGK ENTERPRISES INC              1200 N FEDERAL HWY STE 200           DBA EBC 1200 CORPORATE PL                                                BOCA RATON         FL    33432‐2813
RGMA INC                         ACCOUNTING DEPARTMENT                211 W WACKER DR STE 1050                                                 CHICAGO            IL    60606‐1382
RGP INC                          15135 HAMILTON AVENUE                                                                                         HIGHLAND PARK      MI    48203
RGP INC                          11100 OLIVE ST                                                                                                WARREN             MI    48093‐6556
RGS ENTERPRISES INC              5505 LIBER CT                                                                                                 WASHINGTON         DC    20004
RGUOP
RGW CONSTRUCTION                                                      550 GREENVILLE RD                                                                           CA    94550
RH ELLIOT/ROCHESTER              1902 ROCHESTER INDUSTRIAL DR                                                                                  ROCHESTER HILLS    MI    48309‐3343
RH FLORIDA, LLC                  RONALD ROSNER                        800 S HARBOR CITY BLVD                                                   MELBOURNE          FL    32901‐1907
RH FLORIDA, LLC                  PATRIOT BUICK PONTIAC GMC            CHAD HELMER                  PO BOX 545        933 E PHILADELPHIA AVE    BOYERTOWN          PA    19512‐0545
RH&JS RUNDLE TRUST               ROWLAND RUNDLE TRUSTEE U/A 6/17/91   4211 MISTY MORNING WAY APT                                               GAINESVILLE        GA    30506‐4358
                                                                      2604
RHADA FLACK                      2 ELDER ST                                                                                                    AVON PARK          FL    33825‐4787
RHADA H FLACK                    2 ELDER ST.                                                                                                   AVON PARK          FL    33825‐4787
RHADIGAN, ANDREA L               54520 BIRCHWOOD DR                                                                                            SOUTH LYON         MI    48178‐8006
RHADIGAN, JAMES M                800 E. FRONT S.                      UNIT 97                                                                  BOYNE CITY         MI    49712
RHADIGAN, MICHAEL J              3015 CEDAR KEY DR                                                                                             LAKE ORION         MI    48360‐1515
RHADIGAN, NANCY J                11583 WHITEHILL ST                                                                                            DETROIT            MI    48224‐1654
RHADIGAN, TERRENCE P             54520 BIRCHWOOD DR                                                                                            SOUTH LYON         MI    48178‐8006
RHAMA DONNA B                    607 W BOONESLICK RD                                                                                           WARRENTON          MO    63383‐1906
RHAMA, DONNA B                   607 W BOONESLICK RD                                                                                           WARRENTON          MO    63383‐1906
RHAMA, JAMES T                   607 W BOONESLICK RD                                                                                           WARRENTON          MO    63383‐1906
RHAME ROBERT                     33247 N 72ND PL                                                                                               SCOTTSDALE         AZ    85266
RHAME, JOHN E                    2456 INGLEHILL PT 314                                                                                         BLOOMFIELD HILLS   MI    48304
RHAME, ROBERT I                  33247 NORTH 72ND PLACE                                                                                        SCOTTSDALE         AZ    85266‐4264
RHAMES, CARLTON                  2004 SPRING MEADOW CIRCLE                                                                                     SPRING HILL        TN    37174‐9273
RHAMEY SHEDDRIK, MARDELL         607 BEECHWOOD AVE                                                                                             MIDDLETOWN         IN    47356‐1263
RHAMEY, JOHN L                   2825 DAKOTA DRIVE                                                                                             ANDERSON           IN    46012‐1413
RHAMSTINE, CHESTER F             2714 BACON AVE                                                                                                BERKLEY            MI    48072‐1070
RHAN, JON A                      4 ACROPOLIS AVE                                                                                               LONDONDERRY        NH    03053
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Name                                   Address1                          Address2                        Address3   Address4            City                State Zip
RHANDY PUTNAM                          1451 HOLLY ST                                                                                    CANTON               GA 30114‐8738
RHANOR, DANIEL G                       5050 HOWLAND DR                                                                                  SWARTZ CREEK         MI 48473‐8301
RHAPSODY ENTERTAINMENT INC             3121 DEER TRACK LN                                                                               MONROE               NC 28110‐8609
RHC, INC.                              MICHAEL BARRON                    PO BOX 182                                                     ROME                 GA 30162‐0182
RHCI                                   311 SERVICE RD                                                                                   E SANDWICH           MA 02537‐1370
RHD EVENTS                             DBA ROYAL HALF DIME INC           3050 UNION LAKE RD STE 8F                                      COMMERCE TOWNSHIP    MI 48382‐4508
RHD MEMORIAL                           PO BOX 676923                                                                                    DALLAS               TX 75267‐6923
RHD MEMORIAL MED CTR                   PO BOX 849975                                                                                    DALLAS               TX 75284‐9975
RHD MEMORIAL MED CTR                   PO BOX 840859                                                                                    DALLAS               TX 75284‐0859
RHEA
RHEA ATWELL                            6294 E VIENNA RD                  C/O GERALD ATWELL                                              CLIO                MI   48420‐2601
RHEA BARIL                             48228 CARDINAL ST                                                                                SHELBY TOWNSHIP     MI   48317‐2209
RHEA BASSETT                           C/O ALAN BASSETT                  11056 LINDEN DRIVE NW                                          GRAND RAPIDS        MI   49534
RHEA BOGNER                            18246 LOWE DR                                                                                    FORT MYERS          FL   33967‐3041
RHEA BYERS                             1716 MARION AVE                                                                                  ZANESVILLE          OH   43701‐2210
RHEA COLE                              2200 GREENTREE N                  APT 2312                                                       CLARKSVILLE         IN   47129‐8970
RHEA COUNTY TRUSTEE                    PHIL SWAFFORD BUILDING            375 CHURCH ST STE 110                                          DAYTON              TN   37321‐1321
RHEA GREGORY                           PO BOX 241                                                                                       GUERNSEY            WY   82214‐0241
RHEA HAMMOND                           PO BOX 25021                                                                                     CHRISTIANSTED       VI   00824‐1021
RHEA LITTLE'S TIRE & AUTO REPAIR INC   9042 CHURCH ST E                                                                                 BRENTWOOD           TN   37027‐5283
RHEA MCGREGOR                          212 E MAIN ST                                                                                    ROSE CITY           MI   48654‐9477
RHEA MEADE                             540 DOVER ST APT 5                                                                               MOUNT MORRIS        MI   48458‐1500
RHEA MORGAN                            457 N 7TH ST                                                                                     MITCHELL            IN   47446‐1175
RHEA PETERS                            1277 HARDING RD                                                                                  ESSEXVILLE          MI   48732‐1763
RHEA RICHARD D (481276)                KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                  CLEVELAND           OH   44114
                                                                         BOND COURT BUILDING
RHEA RINKE                             1666 CAPAC RD                                                                                    BERLIN              MI   48002‐2401
RHEA RODGERS                           13 JUNE DR                                                                                       WILLARD             OH   44890‐9390
RHEA SAXTON                            2320 N ELBA RD                                                                                   LAPEER              MI   48446‐8029
RHEA SCHNEDER                          3365 RIDGECLIFFE DR                                                                              FLINT               MI   48532‐3736
RHEA STEPHENS                          304‐1323 LANGLOIS AVE                                                        WINDSOR ON N8X4L8
                                                                                                                    CANADA
RHEA V MULLENIX                        BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS          OH   44236
RHEA WRIGGLESWORTH                     944 REYNOLDS RD LOT 334                                                                          LAKELAND            FL   33801‐6461
RHEA, ALLEN E                          3054 TWP RD R2                                                                                   FREDERICKTOWN       OH   43019
RHEA, ALLEN E                          3054 TWP RD 180 R2                                                                               FREDERICKTOWN       OH   43019
RHEA, BEULAH L                         120 PALM LANE                                                                                    SAVANNAH            TN   38372
RHEA, BILLY R                          423 NW 2001ST RD                                                                                 KINGSVILLE          MO   64061‐9183
RHEA, BRUCE                            7303 SELKIRK DR                                                                                  FORT WAYNE          IN   46816‐2209
RHEA, DENNIS J                         11520 WICKSHIRE CT                                                                               BRIDGETON           MO   63044‐3067
RHEA, DIANA                            1842 PARK AVE                                                                                    BELOIT              WI   53511‐3538
RHEA, DWAYNE W                         2250 COUNTY ROAD 4240                                                                            MT PLEASANT         TX   75455‐8171
RHEA, EDMUND                           2410 S 1000 W                                                                                    LAPEL               IN   46051‐9751
RHEA, EDMUND J.                        2410 S 1000 W                                                                                    LAPEL               IN   46051‐9751
RHEA, FORREST L                        2615 W 40TH AVE                                                                                  KANSAS CITY         KS   66103‐2813
RHEA, FRANCES K                        2134 VERSAILLES VILLAGE PL                                                                       FORT WAYNE          IN   46808‐1416
RHEA, JERRY                            118 JACKSON ST                                                                                   SPRING HILL         TN   37174‐2646
RHEA, JOHN J                           425 LUFKIN DR                                                                                    NEW LEBANON         OH   45345‐1648
RHEA, LYNNE M
RHEA, RICHARD D                        KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                   CLEVELAND           OH 44114
                                                                         BOND COURT BUILDING
RHEA, ROBERT                           BRAYTON PURCELL                   PO BOX 6169                                                    NOVATO              CA 94948‐6169
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Name                            Address1                          Address2                      Address3                 Address4                City              State Zip
RHEA, ROBERT A                  1812 S CROSS LAKES CIR APT A                                                                                     ANDERSON           IN 46012‐4930
RHEA, ROLLAND L                 PO BOX 225                        227 FRANKLIN ST                                                                PENDLETON          IN 46064‐0225
RHEA, SANDRA S                  425 LUFKIN DR                                                                                                    NEW LEBANON        OH 45345‐1648
RHEA, WILLIAM J                 553 VILLAGE DR                                                                                                   WOODBINE           GA 31569‐4435
RHEAD, DONOVAN H                34729 S LADYSLIPPPER LN                                                                                          DRUMMOND ISLAND    MI 49726
RHEAD, RITA A                   1862 N OGEMAW TRL                                                                                                WEST BRANCH        MI 48661‐9720
RHEAD, SHIRLEY A                34729 S LADY SLIPPER LN                                                                                          DRUMMOND ISLAND    MI 49726‐9448
RHEAH A DOUGLAS                 PO BOX 138                                                                                                       FLINT              MI 48501‐0138
RHEAH DOUGLAS                   PO BOX 138                                                                                                       FLINT              MI 48501‐0138
RHEAL DIONNE ET AL              C/O SISKINDS                      ATTN SCOTT RICHIE AND JAMES   680 WATERLOO STREET PO   LONDON ONTARIO CANADA
                                                                  VIRTUE                        BOX 2520                 N6A 3V8
RHEAL DIONNE ET AL              C/O CAW CANADA                    ATTN LEWIS GOTTHEIL           205 PLACER CRT           NORTH YORK ONTARIO
                                                                                                                         M2H 3H9
RHEAL FREEMAN                   9220 EAST PRARIE RD                                                                                              EVANSTON          IL   60203
RHEAM, JOYCE L                  6 DOUBLE J DR                                                                                                    BELLEVILLE        PA   17004‐9156
RHEAMS RODNEY JAMES             RHEAMS, RODNEY JAMES              111 PARK WEST DR                                                               SCOTT             LA   70583‐8902
RHEAUME JR, CHARLES L           16978 W RIVER RD                                                                                                 COLUMBIA STA      OH   44028‐9012
RHEAUME, ANDREW W               114 LEROY AVE                                                                                                    CLAWSON           MI   48017‐1287
RHEAUME, CYNTHIA M              PO BOX 331                                                                                                       NORFOLK           NY   13667‐0331
RHEAUME, DONNA L                207 HAZEL STREET                                                                                                 PATERSON          NJ   07503‐1932
RHEAUME, DOUGLAS                52754 WEATHERVANE DR                                                                                             CHESTERFIELD      MI   48047‐3137
RHEAUME, KIRK P                 2003 W MANITOU DR                                                                                                OWOSSO            MI   48867‐8727
RHEAUME, KIRK PRESTON           2003 W MANITOU DR                                                                                                OWOSSO            MI   48867‐8727
RHEAUME, LEROY J                207 E WESLEY DR                                                                                                  OWOSSO            MI   48867‐1286
RHEAVES, FLETCHER               10102 BALDWIN CIR                                                                                                HOLLY             MI   48442‐9377
RHEAVES, MARGO C.               1627 ISLEWORTH CIRCLE                                                                                            COLLEGE PARK      GA   30349‐6965
RHEAVES, NANCY A                2233 KEVIN DAVID DR                                                                                              FLINT             MI   48505‐1054
RHEAVES, PATRICIA A             423 SAINT CLAIR DR                                                                                               CONYERS           GA   30094‐4970
RHEAVES, ROSIE L                10102 BALDWIN CIR                                                                                                HOLLY             MI   48442‐9377
RHEAVES, TERRI V                13872 COUNTRY WALK BLVD                                                                                          BELLEVILLE        MI   48111‐2350
RHEBA BOWERS                    5802 LESLIE DR                                                                                                   FLINT             MI   48504‐7058
RHEBA HOORNAERT                 621 EVERGREEN LN                                                                                                 NEW BRAUNFELS     TX   78130‐6679
RHEBA RICE                      2436 BROOKSHIRE CIRCLE                                                                                           LEXINGTON         KY   40515‐1226
RHEBEL BRATTAIN                 4701 GLENEAGLE DR                                                                                                ANDERSON          IN   46013‐4767
RHEE KYU JAE BRIAN              2626 MEADOW DR                                                                                                   ZEELAND           MI   49464
RHEE, TONGHA                    30521 WOLF RD                                                                                                    BAY VILLAGE       OH   44140‐1625
RHEE,YOUNG WUNG                 915 W MARKET ST STE D                                                                                            LIMA              OH   45805‐2770
RHEEM / RUUD AIR CONDITIONING   GARY WEHUNT                       5600 OLD GREENWOOD RD                                                          FORT SMITH        AR   72908‐6586
DIV/DISTRIBUTORS
RHEIN JR, PAUL                  339 BATES DR #R7                                                                                                 LAPEER            MI   48446
RHEIN KIMBERLY                  RHEIN, KIMBERLY                   30928 FORD RD                                                                  GARDEN CITY       MI   48135‐1803
RHEIN, CHARLES F                4529 FALCON CT                                                                                                   BRIGHTON          MI   48114‐8643
RHEIN, DONALD L                 6802 CHURCH RD                                                                                                   IRA               MI   48023‐1906
RHEIN, EULALIA I                15061 FORD RD APT HS220                                                                                          DEARBORN          MI   48126
RHEIN, JOSEPH P                 1477 VALLEY DR                                                                                                   LAPEER            MI   48446‐1431
RHEIN, KENNETH J                21052 W ASPEN LN                                                                                                 PLAINFIELD        IL   60544‐6429
RHEIN, MARGIE                   2400 KELLY DR                                                                                                    SEBASTIAN         FL   32958‐8035
RHEIN, NANCY                    39 BATES DRIVE #R7                                                                                               LAPEER            MI   48446
RHEIN, ROBERT E                 9964 HEMLOCK CT                                                                                                  CLARKSTON         MI   48348‐1653
RHEIN, THOMAS A                 5969 RIVER RUN CT                                                                                                CANTON            MI   48187‐5460
RHEINBERGER‐SMITH, STACEY A     3 SUGAR CREEK LN                                                                                                 WAUKEE            IA   50263‐8144
RHEINECKER, LARRY J             8044 SUMMER MOON PL                                                                                              LAS VEGAS         NV   89129‐7356
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Name                                 Address1                           Address2                         Address3                   Address4                   City           State Zip
RHEINGANS, BRIAN P                   2508 EUGENE ST                                                                                                            BURTON          MI 48519‐1358
RHEINGANS, MARY E                    8909 VALLEY LANE                                                                                                          LENNON          MI 48449
RHEINGANS, MARY E                    8909 E VALLEY LN                                                                                                          LENNON          MI 48449‐9674
RHEINGANS, SHERYL A                  2508 EUGENE ST                                                                                                            BURTON          MI 48519‐1358
RHEINHEIMER, MARY M                  C/O REBECCA MANSHIP                791 E VIA ESCUELA                                                                      PALM SPRINGS    CA 92262
RHEINISCH‐WESTFAELISCHE TECHNI       JAEGERSTR 17‐19                                                                                AACHEN NW 52066
                                                                                                                                    GERMANY
RHEINISCH‐WESTFAELISCHE TECHNISCHE   JAEGERSTR 17‐19                                                                                AACHEN NW 52066
                                                                                                                                    GERMANY
RHEINMETALL AG                       975 S OPDYKE RD                    STE 100                                                                                AUBURN HILLS   MI 48326‐3437
RHEINMETALL AG
RHEINMETALL AG                                                          RHEINMETALL‐ALLEE 1                                         DUESSELDORF,NW,40476,G
                                                                                                                                    ERMANY
RHEINMETALL AG                       1540 ORCHARD DR                                                                                                           CHAMBERSBURG   PA    17201‐4811
RHEINMETALL AG                       1731 INDUSTRIAL PKWY N                                                                                                    MARINETTE      WI    54143‐3704
RHEINMETALL AG                       2425 S COLISEUM BLVD                                                                                                      FORT WAYNE     IN    46803‐2939
RHEINMETALL AG                       26261 EVERGREEN RD STE 400                                                                                                SOUTHFIELD     MI    48076‐4480
RHEINMETALL AG                       5 SOUTHCHASE CT                                                                                                           FOUNTAIN INN   SC    29644‐9018
RHEINMETALL AG                       800 WOODSIDE AVE                                                                                                          FOUNTAIN INN   SC    29644‐2029
RHEINMETALL AG                       ALFRED‐PIERBURG‐STR 1                                                                          NEUSS NW 41460
RHEINMETALL AG                       AM BAHNHOF 14                                                                                  ST LEON ROT BW 68789
                                                                                                                                    GERMANY
RHEINMETALL AG                       CHRIS REISTER                      5 SOUTHCHASE CT                                                                        FOUNTAIN INN    SC   29644‐9018
RHEINMETALL AG                       CHRIS REISTER                      C/O SPAN MANUFACTURING LTD       420 B SPAN AMERICAN STE B6 DUZCE TURKEY

RHEINMETALL AG                       CHRIS REISTER                      SONNENSTR 29                                                                           VANCOUVER      WA 98661
RHEINMETALL AG                       CONTRADA CERRATINA ZONA IND LE                                                                 LANCIANO 66034 ITALY
RHEINMETALL AG                       DAN GODIN                          1731 INDUSTRIAL PKWY.                                       RAMOS ARIZPE COACHUI CZ
                                                                                                                                    25900 MEXICO
RHEINMETALL AG                       GERTRUD BUSCH                      SCHERINGSTR 2                                                                          CHESTERFIELD   MO 63005
RHEINMETALL AG                       JOACHIM WEKENMANN                  CONTRADA CERRATINA ZONA IND LE                              REGENSBURG GERMANY

RHEINMETALL AG                       K PIERBURGU 1/445                                                                              USTI NAD LABEM MESTO CZ
                                                                                                                                    40001 CZECH (REP)
RHEINMETALL AG                       KEN FRAZIER                        PO BOX 14                        ST LEON ROT 68789                                     ZEELAND        MI 49464‐0014
RHEINMETALL AG                       KM 284 CARR PANAMERICANA S/N                                                                   CELAYA GUANAJUATO GJ
                                                                                                                                    38110 MEXICO
RHEINMETALL AG                       MARGARET FUGER                     ALFRED PIERBURG STRASSE 1                                   NEUSS GERMANY
RHEINMETALL AG                       MRS GERTRUD BUSCH                  KARL SCHMIDT STR 2‐8                                        NECKARSULM GERMANY
RHEINMETALL AG                       NATALY HILLESHEIM                  DULNI 362                                                   TRMICE 40004 CZECH (REP)
RHEINMETALL AG                       RETORNO EL SAUCITO NO 1020 INT A   PARQUE INDUSTRIAL EL SAUCITO                                CHIHUAHUA 31123 MEXICO
RHEINMETALL AG                       RHEINMETALL‐ALLEE 1                                                                            DUESSELDORF NW 40476
                                                                                                                                    GERMANY
RHEINMETALL AG                       SONNENSTR 29                                                                                   HARTHA SC 04746
                                                                                                                                    GERMANY
RHEINMETALL AG                       SONNENSTR 29                       POSTFACH 34                                                 HARTHA SC 04744
                                                                                                                                    GERMANY
RHEINMETALL AG                       STEVE WARNKE                       KM 284 CARR PANAMERICANA S/N     COL 2 FRACCION DE CRESPO                              VALLEY VIEW    OH

RHEINMETALL AG                       VIA SALVATORE ORLANDO 10                                                                       LIVORNO 57123 ITALY
RHEINMETALL AG                       ZI DE THIONVILLE NORD EST                                                                      BASSE HAM 57970 FRANCE
RHEINS BLANCHE                       7739 STRATHMOORE RD                                                                                                       DUBLIN         OH 43016‐9262
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Name                          Address1                            Address2                   Address3             Address4                City            State Zip
RHEINS, GEORGE R              5035 N RIDGE RD E                                                                                           ASHTABULA        OH 44004‐4334
RHEINSCHELD, ROBERT H         1004 MARLAND DR N                                                                                           COLUMBUS         OH 43224‐1017
RHEIR KENNETH (507588)        COON BRENT W                        PO BOX 4905                                                             BEAUMONT         TX 77704‐4905
RHEIR, KENNETH                COON BRENT W                        PO BOX 4905                                                             BEAUMONT         TX 77704‐4905
RHEKER JR, JOSEPH F           11337 WARREN BLVD                                                                                           WARREN           MI 48089‐1023
RHEM, VERNIAL P               508 HAIGHT AVE APT A                                                                                        ALAMEDA          CA 94501‐3234
RHEM, VERNIAL P               508 HIGTH AVE. APT. A                                                                                       ALAMEDA          CA 94501
RHEMA BIBLE TRAINING CENTER   PO BOX 50126                                                                                                TULSA            OK 74150‐0126
RHENA NIXON                   145 VALLEY BROOK DR                                                                                         COVINGTON        GA 30016‐3118
RHENEA CULP                   5660 RIVER PARK DR                                                                                          LIBERTYVILLE      IL 60048‐4204
RHENEE` L SCHRADER            4277 SOCIAL ROW RD                                                                                          SPRING VALLEY    OH 45370
RHENUS AG & CO KG             HAFENSTR 45                                                                         WEIL NW 79576 GERMANY
RHENWRICK, MATTIE C           1169 PIERCE ST                                                                                              GARY             IN   46407‐1118
RHESA COOK
RHET KRAMER                   8674 N VALLEY VIEW CT                                                                                       MIDDLETOWN       IN   47356‐9485
RHETA JOHNSON                 PO BOX 274                                                                                                  SIDELL           IL   61876‐0274
RHETA LARAE LARSON            ROBERT W PHILLIPS                   SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521              EAST ALTON       IL   62024
                                                                  ANGELIDES & BARNERD LLC
RHETA LEONARD                 5141 TUBBS RD                                                                                               WATERFORD       MI    48327‐1360
RHETT BITTNER                 3207 DAKOTA AVE                                                                                             FLINT           MI    48506‐3040
RHETT BRISTOL‐MCGUFFIE        11863 GLASGOW RD                                                                                            SMITHS GROVE    KY    42171
RHETT KIRBY                   5920 RAVEN LN                                                                                               LITHONIA        GA    30058‐1829
RHETT THOMPSON
RHETT THOMPSON                8 OLD ORCHARD CRES                                                                  RICHMOND HILL ON L4S
                                                                                                                  2X4 CANADA
RHETT VICKERS                 14820 RIVERVIEW CT                                                                                          FORT MYERS      FL    33905‐4726
RHETT WELLS                   1406 KINGSTON RD                                                                                            KOKOMO          IN    46901‐5218
RHETT, JULIA                  485 E LINCOLN AVE APT 508                                                                                   MOUNT VERNON    NY    10552‐3526
RHEUBEN C JONES               496 E MONTROSE ST                                                                                           YOUNGSTOWN      OH    44505‐1519
RHEUBEN JONES                 496 E MONTROSE ST                                                                                           YOUNGSTOWN      OH    44505‐1519
RHEUBERT, TONY L              4361 MOOREFIELD RD                                                                                          SPRINGFIELD     OH    45502‐8869
RHEUMATOLOGY DIAGNOSTICS      10755 VENICE BLVD                                                                                           LOS ANGELES     CA    90034‐6214
LABRATORY INC
RHEVA WELPMAN                 RR 1 BOX 44                                                                                                 QUINCY          MO    65735‐9706
RHEW JR, ROY V                26 MAPLE DR                                                                                                 CASEYVILLE      IL    62232‐2258
RHEW, FLOYD W                 3505 KELBEN LN                                                                                              SPRING HILL     TN    37174‐2831
RHEW, LUCILLE                 PO BOX 432                                                                                                  KUTTAWA         KY    42055‐0432
RHEW, MAX                     5242 COUNCIL RING BLVD                                                                                      KOKOMO          IN    46902‐5423
RHEW, RUTH E                  5242 COUNCIL RING BLVD                                                                                      KOKOMO          IN    46902‐5423
RHI CANADA INC                4355 FAIRVIEW ST                                                                    BURLINGTON CANADA ON
                                                                                                                  L7L 2A4 CANADA
RHIANNON LARY                 13305 BALDWIN RD                                                                                            CHESANING       MI    48616‐9593
RHIEW, JASON                  4066 WASHINGTON CRESCENT DR                                                                                 TROY            MI    48085‐3654
RHILINGER, RICHARD A          3989 N HIDDEN CANYON DR                                                                                     FLORENCE        AZ    85232‐6848
RHIM II, STEVEN M             4925 FALCON GROVE DR                                                                                        INDIANAPOLIS    IN    46254‐5905
RHIM, COREY A                 3314 N RILEY AVE                                                                                            INDIANAPOLIS    IN    46218‐2353
RHIM, ROOSEVELT               11435 WELLSHIRE COMMONS CIR APT                                                                             CHARLOTTE       NC    28277‐4097
                              1802
RHIMES SHONDA                 8383 WILSHIRE BLVD STE 500                                                                                  BEVERLY HILLS   CA    90211
RHINE SR, CHARLES M           803 ALTHEA AVE NW                                                                                           WARREN          OH    44483‐2101
RHINE, BRENDA R               14290 SW BARLOW CT                                                                                          BEAVERTON       OR    97008‐5518
RHINE, CAROL B                4845 BROCKWAY SHARON RD.                                                                                    BURGHILL        OH    44404‐9702
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Name                          Address1                        Address2            Address3         Address4         City            State Zip
RHINE, CHARLIE D              50145 HELFER BLVD                                                                     WIXOM            MI 48393‐3227
RHINE, CRYSTAL                613 DAVID DR                                                                          SHREVEPORT       LA 71106‐5329
RHINE, DENNIS L               139 CRYSTAL CREEK DR                                                                  ROCHESTER        NY 14612‐3074
RHINE, DORIS G                803 ALTHEA AVE NW                                                                     WARREN           OH 44483‐2101
RHINE, DORIS G                803 ALTHEA N.W.                                                                       WARREN           OH 44483‐2101
RHINE, LAURA L                159 SPEER LN                                                                          ALVORD           TX 76225‐7305
RHINE, PAUL E                 2311 FOX TRAIL DR NE                                                                  CEDAR RAPIDS      IA 52402‐6742
RHINE, ROBERT E               5040 DESERT FIR DR                                                                    LAS VEGAS        NV 89130‐0187
RHINE, ROY R                  4286 DOROTHY AVE                                                                      LEAVITTSBURG     OH 44430‐9643
RHINE, SANDRA Y               1070 ELLIS DR                                                                         WASKOM           TX 75692‐3626
RHINE, STEPHANIE H            PO BOX 18497                                                                          SHREVEPORT       LA 71138‐1497
RHINE, TAMARA E               803 ALTHEA AVE NW                                                                     WARREN           OH 44483‐2101
RHINE, THEODORE W             4845 BROCKWAY SHARON RD                                                               BURGHILL         OH 44404‐9702
RHINE, THOMAS F               PO BOX 405                                                                            BURLINGTON       IN 46915‐0405
RHINE, TYSON L                PO BOX 46                                                                             WASKOM           TX 75692‐0046
RHINE, TYSON LOUIS            PO BOX 46                                                                             WASKOM           TX 75692‐0046
RHINEBARGER, GLENDA S         27373 MOSBAUGH RD                                                                     ARCADIA          IN 46030‐9514
RHINEBARGER, JAMES A          27373 MOSBAUGH RD                                                                     ARCADIA          IN 46030‐9514
RHINEBARGER, ROBERT R         1214 EMERSON ST                                                                       INVERNESS        FL 34450‐6516
RHINEBOLD, RICHARD R          BOONE ALEXANDRA                 205 LINDA DR                                          DAINGERFIELD     TX 75638‐2107
RHINEBOLT, MARY M             5323 ENGLISH RD                                                                       CLIFFORD         MI 48727‐9500
RHINEHARDT, ALVENA I          6270 SEEGER RD                                                                        CASS CITY        MI 48726‐9672
RHINEHARDT, TROY              6270 SEEGER RD                                                                        CASS CITY        MI 48726‐9672
RHINEHART GERALD A JR         10462 NEW RD                                                                          NORTH JACKSON    OH 44451‐9792
RHINEHART HUGHIE              17171 WILLIAMS DR                                                                     HOLLY            MI 48442‐9187
RHINEHART JAMES               20001 SANTA BARBARA DR                                                                DETROIT          MI 48221‐1279
RHINEHART JR, CARL E          1316 E HIGHLAND AVE                                                                   MUNCIE           IN 47303‐3941
RHINEHART JR, HUGHIE D        5275 COLDWATER RD                                                                     LAPEER           MI 48446‐8020
RHINEHART JR, HUGHIE DWAYNE   5275 COLDWATER RD                                                                     LAPEER           MI 48446‐8020
RHINEHART JR, LEVI F          3809 MAYBEL ST                                                                        LANSING          MI 48911‐2834
RHINEHART SR, ROBERT L        106 SOUTHERN HILLS DR                                                                 NEW BERN         NC 28562‐2947
RHINEHART, ANNA L             201 W BIG BEAVER RD #600 P O                                                          TROY             MI 48099‐4300
RHINEHART, CHARLES A          477 S MURRAY HILL RD                                                                  COLUMBUS         OH 43228‐1949
RHINEHART, DANIEL A           1300 WOODBEND RD                                                                      RAVENNA          OH 44266‐8713
RHINEHART, DOYLE R            9673 SE 174TH LOOP                                                                    SUMMERFIELD      FL 34491‐6468
RHINEHART, FORREST E          PO BOX 142                                                                            AMHERST          NY 14226‐0142
RHINEHART, FREDERICK W        8635 STETSON DR NE                                                                    WARREN           OH 44484‐1148
RHINEHART, GERALD A           6561 WOODRIDGE WAY                                                                    WARREN           OH 44481‐4481
RHINEHART, GLADYS C           8635 STETSON DR NE                                                                    WARREN           OH 44484‐1148
RHINEHART, HATTIE R           2313 S WADSWORTH DR                                                                   LANSING          MI 48911‐2453
RHINEHART, HELEN M            2401 S WADSWORTH DR                                                                   LANSING          MI 48911‐2475
RHINEHART, HUGHIE D           1957 KING RD                                                                          LAPEER           MI 48446‐8313
RHINEHART, HUGHIE D           17171 WILLIAMS DR                                                                     HOLLY            MI 48442‐9187
RHINEHART, HUGHIE D           1430 MOUNT VERNAL RD                                                                  ROCKWOOD         TN 37854
RHINEHART, JENNIFER M         5275 COLDWATER RD                                                                     LAPEER           MI 48446‐8020
RHINEHART, JENNIFER MARIE     5275 COLDWATER RD                                                                     LAPEER           MI 48446‐8020
RHINEHART, JERRY L            64 ERMANN DR                                                                          KENMORE          NY 14217‐1160
RHINEHART, JOSIE              1205 SILVER CREEK RD                                                                  LEWISBURG        TN 37091
RHINEHART, LEWIS G            5825 CREEK DR                                                                         STERLING HTS     MI 48314‐3017
RHINEHART, MARGARET M.        946 ARNCLIFFE RD                                                                      BALTIMORE        MD 21221‐2132
RHINEHART, RICHARD G          6010 GAULT RD                                                                         NORTH JACKSON    OH 44451‐9714
RHINEHART, ROBERT K           5328 NASHUA DR                                                                        YOUNGSTOWN       OH 44515‐5125
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Name                               Address1                            Address2                Address3     Address4                  City               State Zip
RHINEHART, RONALD H                834 ROBINWOOD ST                                                                                   PONTIAC             MI 48340‐3146
RHINEHART, TIMOTHY D               754 SALT SPRINGS RD                                                                                MINERAL RIDGE       OH 44440
RHINEHART, TIMOTHY DAVID           754 SALT SPRINGS RD                                                                                MINERAL RIDGE       OH 44440
RHINEHART, WYLIE G                 1519 BRANDT PIKE                                                                                   DAYTON              OH 45404‐2313
RHINEHART‐KENNY, EVELYN M          2102 LATTA RD # 5                                                                                  ROCHESTER           NY 14612‐3728
RHINEHEART, HATTIE MAE             109 RIVERVIEW DR                                                                                   LAGRANGE            GA 30240‐8033
RHINELANDER AUTO CENTER INC.       MICHAEL AUS                         1935 N STEVENS ST                                              RHINELANDER         WI 54501‐8556
RHINELANDER CHEVROLET OLDSMOBILE   1935 N STEVENS ST                                                                                  RHINELANDER         WI 54501‐8556
CA
RHINELANDER CHEVROLET OLDSMOBILE   1935 N STEVENS ST                                                                                  RHINELANDER        WI 54501‐8556
CADILLAC PONTIAC BUICK GMC

RHINELANDER CITY TREASURER         PO BOX 658                                                                                         RHINELANDER        WI   54501‐0658
RHINES, CASSANDRA R                7403 YORKSHIRE PL                                                                                  SHREVEPORT         LA   71129‐3426
RHINES, CASSANDRA RENEE            7403 YORKSHIRE PL                                                                                  SHREVEPORT         LA   71129‐3426
RHINES, EDNA M                     5060 NW 3RD ST APT B                                                                               DELRAY BEACH       FL   33445‐1759
RHINES, JOHN G                     3126 OLD WASHINGTON HWY                                                                            DAYTON             TN   37321‐5484
RHINES, LA'CHELLE L                1618 HONEYBEE DR                                                                                   TROTWOOD           OH   45427‐3227
RHINES, RONALD D                   5150 BELL OAK RD                                                                                   WEBBERVILLE        MI   48892‐9317
RHINES, ROXANNE L                  410 E LOVETT ST                                                                                    CHARLOTTE          MI   48813‐1608
RHINES, VINCENT E                  1618 HONEYBEE DR                                                                                   DAYTON             OH   45427‐3227
RHINEVAULT OLSEN MACHINE & TOOL    2533 CARROLLTON RD                                                                                 SAGINAW            MI   48604‐2455
RHINEVAULT, MILTON A               1001 ODESSA DR                                                                                     HOLLY              MI   48442‐1056
RHINEWALT, CECIL                   GUY WILLIAM S                       PO BOX 509                                                     MCCOMB             MS   39649‐0509
RHINO AUTOMOTIVE GROUP, LLC        RICHARD KAY                         1935 PEARMAN DAIRY RD                                          ANDERSON           SC   29625‐1315
RHINO EXPRESS DELIVERY LLC         1901 E 29TH ST                                                                                     CHATTANOOGA        TN   37407‐1406
RHJ INTERNATIONAL SA
RHJ INTERNATIONAL SA                                                   547 1 HORINOUCHI                     KIKUGAWA
                                                                                                            SHIZUOKA,JP,439‐
                                                                                                            0006,JAPAN
RHJ INTERNATIONAL SA               1149 ROCKY RD                                                                                      RIDGWAY            PA   15853‐6427
RHJ INTERNATIONAL SA               1175 ENTERPRISE DR                                                                                 WINCHESTER         KY   40391‐9668
RHJ INTERNATIONAL SA               131 W HARVEST RD                                                                                   BLUFFTON           IN   46714‐9007
RHJ INTERNATIONAL SA               197 W CREEK RD                                                                                     SAINT MARYS        PA   15857‐3339
RHJ INTERNATIONAL SA               23589 CIVIC INDUSTRIAL RD                                                THAMESVILLE ON N0P 2K0
                                                                                                            CANADA
RHJ INTERNATIONAL SA               24701 HALLWOOD CT                                                                                  FARMINGTON HILLS   MI 48335‐1606
RHJ INTERNATIONAL SA               2F 194‐1 TA TUNG RD SEC 3                                                HSICHIH CHEN TW 22103
                                                                                                            TAIWAN
RHJ INTERNATIONAL SA               30500 RYAN RD                                                                                      WARREN             MI 48092‐1902
RHJ INTERNATIONAL SA               3100 N STATE HIGHWAY 3                                                                             NORTH VERNON       IN 47265‐7289
RHJ INTERNATIONAL SA               321 FOSTER AVE                                                                                     WOOD DALE          IL 60191‐1432
RHJ INTERNATIONAL SA               33 RUE ROGER SALENGRO                                                    VENISSIEUX 69200 FRANCE
RHJ INTERNATIONAL SA               39 STATE ST                                                                                        MIDDLEVILLE        MI 49333‐9267
RHJ INTERNATIONAL SA               47603 HALYARD DR                                                                                   PLYMOUTH           MI 48170‐2429
RHJ INTERNATIONAL SA               547 1 HORINOUCHI                                                         KIKUGAWA SHIZUOKA 439‐
                                                                                                            0006 JAPAN
RHJ INTERNATIONAL SA               6119 W HOWARD ST                                                                                   NILES              IL   60714‐3401
RHJ INTERNATIONAL SA               6491 FRANZ WARNER PKWY                                                                             WHITSETT           NC   27377‐9214
RHJ INTERNATIONAL SA               7495 E M‐26                                                                                        HAMBURG            MI   48139
RHJ INTERNATIONAL SA               8001 BAVARIA RD                                                                                    TWINSBURG          OH   44087‐2261
RHJ INTERNATIONAL SA               917 ANDERSON RD                                                                                    LITCHFIELD         MI   49252‐9776
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Name                                Address1                              Address2                       Address3                    Address4                  City                  State Zip
RHJ INTERNATIONAL SA                ANDY SHUBNELL                         BLUFFTON OPERATIONS            131 W. HARVEST ROAD                                   MOHALI, PUNJAN         IN
RHJ INTERNATIONAL SA                ANDY SHUBNELL                         ERMITA IZTAPALAPA 1478         COL. BARRIO SAN MIGUEL CP   JUAREZ CI 32649 MEXICO

RHJ INTERNATIONAL SA                ANDY SHUBNELL                         METALDYNE FORMING              24701 HALLWOOD COURT        LEAMINGTON ON CANADA
                                                                          TECHNOLOGIES
RHJ INTERNATIONAL SA                AVENUE LOUISE 326                     ATTN: LEONHARD FISCHER                                     BRUXELLES 1050 BELGIUM
RHJ INTERNATIONAL SA                BLVD INDUSTRIAS DE LA                 TRANSFORMACION 3120 PARQUE                                 RAMO ARIZPE CZ 25900
                                                                          INDSTRL                                                    MEXICO
RHJ INTERNATIONAL SA                DINO COSTA                            307 S TILLOTSON ST             FREMONT OPERATION                                     FREMONT                IN   46737‐2157
RHJ INTERNATIONAL SA                DINO COSTA                            EDON OPERATIONS DIV.           507 W. INDIANA ST.          RAMOS ARIZPE CP 25903
                                                                                                                                     MEXICO
RHJ INTERNATIONAL SA                DINO COSTA                            FREMONT OPERATION              307 SOUTH TILLOTSON                                   SAGINAW                MI 48601
RHJ INTERNATIONAL SA                JEFFREY MORAN                         23589 CIVIC INDUSTRIAL ROAD    HWY 21 NORTH                THAMESVILLE ON CANADA
RHJ INTERNATIONAL SA                KENNETH ROWE                          39 E. STATE STREET                                                                   TROY                   MI 48083
RHJ INTERNATIONAL SA                LARRY WEISS                           917 ANDERSON RD                LITCHFIELD OPERATIONS                                 LITCHFIELD             MI 49252‐9776
RHJ INTERNATIONAL SA                LARRY WEISS                           LITCHFIELD OPERATIONS          917 ANDERSON RD.                                      TRACY                  CA 95376
RHJ INTERNATIONAL SA                RUA QUATRO LOTE 01 QUADRA B S/N       INDUSTRIAL NOVA ERA                                        INDAIATUBA SP 13333‐000
                                                                                                                                     BRAZIL
RHJ INTERNATIONAL SA                SCOTT JORGENS                         BLVD.IND, DE LA TRANSFORMACION 3120 PARQUE INDSTRL                                   SHREVEPORT             LA   71130
                                                                                                         SALTILLO
RHJ INTERNATIONAL SA                SEAN PERRERA                          197 WEST CREEK ROAD                                                                  LAWRENCEBURG          TN 38464
RHJ INTERNATIONAL SA                VAL TOCCO                             321 FOSTER AVENUE                                                                    BELLEVUE              OH 44811
RHJ INTERNATIONAL SA                VINCENT GOURARD                       33 RUE ROGER SALENGRO                                                                CLARKSDALE            MS 38614
RHJ INTERNATIONAL SA                AVENUE LOUISE 326                                                                                BRUXELLES, B‐105
                                                                                                                                     BELGIUM
RHLI INC.                           RICHARD MEYER                         1800 IOWA ST                                                                         BELLINGHAM            WA    98229‐4759
RHM CORP                            375 MANUFACTURERS DR                                                                                                       WESTLAND              MI    48186‐4038
RHM FLUID POWER INC                 375 MANUFACTURERS DR                                                                                                       WESTLAND              MI    48186‐4038
RHM FLUID POWER INC                 5329 CLAY AVE SW                                                                                                           GRAND RAPIDS          MI    49548
RHM FLUID POWER INC                 375 MANUFACTURERS DR                  PO BOX 64432                                                                         DETROIT               MI    48264‐0432
RHM RUBBER & MANUFACTURING CO INC   11795 GRAND RIVER RD                                                                                                       BRIGHTON              MI    48116‐8534

RHM RUBBER & MFG CO INC             RAY HOYER                             PO BOX 377/30187                                                                     NEW HUDSON             MI   48165
RHOA, JAMES R                       230 NEMO CIR NE                                                                                                            PALM BAY               FL   32907
RHOAD, KEITH M                      10951 MAHOGANY RUN DRIVE                                                                                                   FT MYERS               FL   33913
RHOADES CECIL L                     G PATTERSON KEAHEY PC                 ONE INDEPENDENCE PLAZA SUITE                                                         BIRMINGHAM             AL   35209
                                                                          612
RHOADES JOSEPH J LAW OFFICES OF     RE: HENDERSON ELIZABETH (ESTATE OF)   1225 NORTH KING STREET         SUITE 1200                                            WILMINGTON             DE 19801

RHOADES JR, ROBERT L                916 CORONET LN                                                                                                             LA GRANGE HIGHLANDS    IL 60525‐7424
RHOADES MCKEE                       ATTY FOR BAY LOGISTICS, INC.          ATTN: TERRY L. ZABEL, ESQ.     161 OTTAWA AVENUE, NW,                                GRAND RAPIDS           MI 49503
                                                                                                         SUITE 600
RHOADES, ALTA M                     8401 18 MILE RD. #75D                                                                                                      STERLING HTS          MI    48313
RHOADES, BARBARA                    709 E GRAND BLANC RD                                                                                                       GRAND BLANC           MI    48439‐1332
RHOADES, BARBARA E                  1012 S WOODLAND DR                                                                                                         DEXTER                MO    63841‐1856
RHOADES, BARBARA E                  1012 S. WOODLAND DRIVE                                                                                                     DEXTER                MO    63841‐1856
RHOADES, CHAD A                     206 WESTVIEW DR                                                                                                            ARCANUM               OH    45304‐1041
RHOADES, CHARLES E                  806 HEMPHILL RD                                                                                                            STOCKBRIDGE           GA    30281‐2928
RHOADES, CHARLES W                  613 S HAMILTON CIR                                                                                                         OLATHE                KS    66061‐4624
RHOADES, CHESTER M                  1800 E WHIPP RD                                                                                                            KETTERING             OH    45440‐2920
RHOADES, CLARA                      331 41ST S W                                                                                                               WYOMING               MI    49548‐3009
RHOADES, CLARA                      331 41ST ST SW                                                                                                             WYOMING               MI    49548‐3009
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Name                   Address1                           Address2                   Address3   Address4         City                 State Zip
RHOADES, DARYL S       5838 COMET AVE                                                                            TOLEDO                OH 43623‐1204
RHOADES, DAVID M       4058 CRAWFORD TOMS RUN RD                                                                 BROOKVILLE            OH 45309‐9792
RHOADES, DONNA E       PO BOX 504                                                                                COMSTOCK              MI 49041‐0504
RHOADES, DORA M        16400 UPTON ROAD                   LOT 204                                                EAST LANSING          MI 48823
RHOADES, DORA M        16400 UPTON RD LOT 204                                                                    EAST LANSING          MI 48823‐9305
RHOADES, DOROTHY M     306 WINTERSET DR                                                                          ENGLEWOOD             OH 45322‐1630
RHOADES, GARY G        PO BOX 165                                                                                HAYESVILLE            OH 44838‐0165
RHOADES, GLENN M       3235 HILLCREST DR                                                                         COLUMBUS              IN 47203‐2609
RHOADES, HAROLD B      1629 MCKAIG RD                                                                            TROY                  OH 45373‐9414
RHOADES, HAROLD B      1629 WEST MC KAIG RD.                                                                     TROY                  OH 45373‐9414
RHOADES, HOWARD W      1889 NW MEADOW WOOD DR                                                                    ALBANY                OR 97321‐1013
RHOADES, IVIAN H       35 CHERRIE LN                                                                             STOCKBRIDGE           GA 30281‐3042
RHOADES, JANET S       1825 YOSEMITE BLVD APT 11                                                                 BIRMINGHAM            MI 48009‐6546
RHOADES, JAY D         349 3RD AVE                                                                               MANSFIELD             OH 44905‐1929
RHOADES, JAY D         349 3RD AVENUE                                                                            MANSFIELD             OH 44905‐1929
RHOADES, JENNIFER L    6790 DIAMOND MILL RD                                                                      GERMANTOWN            OH 45327‐9512
RHOADES, JIMMY         112 GOLDSBOROUGH RD                                                                       OKLAHOMA CITY         OK 73130‐4913
RHOADES, JOHN C        145 W PLEASANT RUN PKWY S                                                                 INDIANAPOLIS          IN 46225
RHOADES, JOHN H        2002 S LESLIE DR                                                                          INDEPENDENCE          MO 64055
RHOADES, JOHN H        4949 OGLETOWN STANTON RD APT 216   4949 OGLETOWN‐STANTON RD                               NEWARK                DE 19713‐2000
RHOADES, JOHN H        CHURCHMAN VILLAGE                  APT 216                                                NEWARK                DE 19713
RHOADES, JOHN R        1085 EVERGREEN DR                                                                         GREENVILLE            OH 45331‐3009
RHOADES, JOSEPH P      701 S CHERYL DR                                                                           MUNCIE                IN 47304‐3446
RHOADES, JOSEPH PAUL   701 S CHERYL DR                                                                           MUNCIE                IN 47304‐3446
RHOADES, JULIA A       5838 COMET AVE                                                                            TOLEDO                OH 43623‐1204
RHOADES, KAREN ANN     66 ANKARA AVE                                                                             BROOKVILLE            OH 45309‐1208
RHOADES, KEITH D       2317 DANUBE CT                                                                            KETTERING             OH 45420‐1001
RHOADES, KENNETH G     114 FAIRLANE DR                                                                           IRONTON               MO 63650‐9116
RHOADES, LANNY
RHOADES, LARRY A       1820 TEASDALE LN                                                                          KOKOMO               IN   46902‐4569
RHOADES, LINDA S       830 MERCER RD                                                                             GREENVILLE           PA   16125‐8416
RHOADES, LINDA S       830 MERCER RD.                                                                            GREENVILLE           PA   16125‐8416
RHOADES, LUCILLE K     210 WEST MAIN STREET                                                                      TROY                 OH   45373‐3240
RHOADES, MARGARET E    PO BOX 3216                                                                               NORTH MYRTLE BEACH   SC   29582‐0216
RHOADES, MARK L        29 HOPI DR                                                                                ELSBERRY             MO   63343‐3605
RHOADES, MARY A        508 DEVONSHIRE ST                                                                         DIXON                IL   61021
RHOADES, MARY L        651 S SPRUCE ST                                                                           GARDNER              KS   66030‐1497
RHOADES, MARY L        651 SOUTH SPRUCE ST                                                                       GARDNER              KS   66030‐1497
RHOADES, MARYLYN K     1017 COURTNEY CIR                                                                         ROCKWALL             TX   75087‐3287
RHOADES, MELVIN E      1320 N SAYBROOK LN                                                                        MUNCIE               IN   47304‐5062
RHOADES, PEARL V       C/O RONALD RHOADES                 11345 CLEAR OAK CIR                                    NEW PORT RICHEY      FL   34654
RHOADES, PEARL V       11345 CLEAR OAK CIRCLE                                                                    NEW PRT RCHY         FL   34654‐1644
RHOADES, RALPH L       1001 HENRY CT                                                                             FLUSHING             MI   48433‐1595
RHOADES, REBECCA A     4180 S COUNTY ROAD 550 W                                                                  YORKTOWN             IN   47396‐9510
RHOADES, RICKEY L      774 CRALL RD                                                                              MANSFIELD            OH   44903‐9519
RHOADES, RITA          511 W COLLEGE CORNER RD                                                                   CENTERVILLE          IN   47330
RHOADES, ROBERT E      624 S GRAND TRAVERSE                                                                      FLINT                MI   48502
RHOADES, ROBERT S      324 HEMPHILL ST                                                                           CHESAPEAKE CITY      MD   21915
RHOADES, ROBERT W      137 N RESIDENCE ST.                                                                       PARKER CITY          IN   47368
RHOADES, RYAN J        282 39TH ST                                                                               ALLEGAN              MI   49010‐9135
RHOADES, STEPHEN W     2912 LONG LAKE DR                                                                         SHREVEPORT           LA   71106‐8416
RHOADES, SUSAN V       303 OGDEN PL                                                                              OSSIAN               IN   46777
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RHOADES, SUSAN V           4930 WOODHURST BLVD                                                                FORT WAYNE         IN 46807‐3132
RHOADES, TAMARA J          3381 S 400 W                                                                       WINCHESTER         IN 47394
RHOADES, TERRY L           3704 N VERNON DR                                                                   MUNCIE             IN 47304‐1750
RHOADES, TIMOTHY J         1430 HILLTOP DR                                                                    GRAND BLANC        MI 48439‐1710
RHOADES, TIMOTHY JAMES     1430 HILLTOP DR                                                                    GRAND BLANC        MI 48439‐1710
RHOADES, TOMMY J           220 SUNNYBROOK TRL                                                                 ENON               OH 45323‐1840
RHOADES, VERN C            4750 ELLSWORTH RD                                                                  LEWISTON           MI 49756‐9081
RHOADES, VERNA             114 FAIRLANE DR                                                                    IRONTON            MO 63650‐9116
RHOADES, VIRGIL R          201 SMITH ST                                                                       SWEETWATER         TN 37874‐2122
RHOADES, W                 310 NORTHSHORE BLVD                                                                ANDERSON           IN 46011‐1329
RHOADES, WILLIAM A         4531 E RIDGE RD                                                                    MARTINSVILLE       IN 46151‐6050
RHOADES, WILLIAM M         716 E EVELYN ST                                                                    MEXIA              TX 76667‐2419
RHOADES,DAVID M            4058 CRAWFORD TOMS RUN RD                                                          BROOKVILLE         OH 45309‐9792
RHOADES,JENNIFER L         6790 DIAMOND MILL RD                                                               GERMANTOWN         OH 45327‐9512
RHOADHOUSE, ROLAND W       3605 WRUCK RD                                                                      GASPORT            NY 14067‐9405
RHOADHOUSE, RUTH           3605 WRUCK ROAD                                                                    GASPORT            NY 14067‐9405
RHOADS & SINON LLP         ONE SOUTH MARKET SQUARE      PO BOX 1146                                           HARRISBURG         PA 17101
RHOADS & SINON LLP         1 S MARKET SQ 12TH FL        PO BOX 1146                                           HARRISBURG         PA 17101
RHOADS JR, MILTON A        10435 WILLOUGHBY CIR                                                               KEITHVILLE         LA 71047‐9565
RHOADS JR, MILTON ANDREW   10435 WILLOUGHBY CIR                                                               KEITHVILLE         LA 71047‐9565
RHOADS, ANDREW T           805 N KNUDON ST                                                                    LIBERTY LAKE       WA 99019‐7511
RHOADS, ARLENE MADLINE     13288 ENID BLVD                                                                    FENTON             MI 48430
RHOADS, BRUCE A            439 S WOLF CREEK PIKE                                                              BROOKVILLE         OH 45309‐9337
RHOADS, CLAIRE A           460 DIANA BLVD                                                                     MERRITT ISLAND     FL 32953‐3037
RHOADS, DONALD C           50 BOND ST                                                                         DAYTON             OH 45405‐4201
RHOADS, DONALD E           2855 ANDERSON MORRIS RD                                                            NILES              OH 44446‐4329
RHOADS, DONALD E           2855 ANDERSON‐MORRIS ROAD                                                          NILES              OH 44446‐4446
RHOADS, DONALD R           5560 ROCKRIDGE DR NE                                                               COMSTOCK PARK      MI 49321‐9512
RHOADS, EILEEN             8173 W LAFAYETTE                                                                   DETROIT            MI 48209
RHOADS, EILEEN K.          2975 CHANDLER AVE                                                                  LINCOLN PARK       MI 48146
RHOADS, FREDERICK W        8587 TIPSICO TRL                                                                   HOLLY              MI 48442‐8100
RHOADS, GARY D             3288 HAMMERBERG RD                                                                 FLINT              MI 48507‐3258
RHOADS, GARY W             426 ROUNDVIEW DR                                                                   ROCHESTER          MI 48307‐6051
RHOADS, GEORGE E           303 CHESTNUT ST                                                                    WABASH             IN 46992‐3418
RHOADS, GREGORY S          200 W CARTERTOWN RD                                                                SCOTTSVILLE        KY 42164‐7949
RHOADS, HENRIETTA L        4350 PYRMONT RD                                                                    LEWISBURG          OH 45338‐8731
RHOADS, JANET M            7692 GOLDEN HILL COURT                                                             CLARKSTON          MI 48348‐4752
RHOADS, JAYNA              1103 CRAWFORD STREET                                                               FLINT              MI 48507‐5309
RHOADS, JEANETTE E         20 BELLINGER DR                                                                    TONAWANDA          NY 14150‐5151
RHOADS, JERRY D            1021 E 1050 S                                                                      FAIRMOUNT          IN 46928‐9294
RHOADS, KENNETH            1295 RAYBELL DRIVE                                                                 XENIA              OH 45385‐3744
RHOADS, KEVIN R            1339 HIGHWAY 550 NW                                                                BROOKHAVEN         MS 39601
RHOADS, MARK J             7165 BEVIL AVE                                                                     COCOA              FL 32927‐2984
RHOADS, MARVIN             313 ROBINHOOD LANE                                                                 TEXARKANA          AR 71854‐0800
RHOADS, MARVIN W           8807 S CR 400 W                                                                    LYNN               IN 47355
RHOADS, MICHAEL E          5590 MIDDLE BRANCH DR                                                              SHELBY TOWNSHIP    MI 48316‐3200
RHOADS, MICHAEL E.         5590 MIDDLE BRANCH DR                                                              SHELBY TOWNSHIP    MI 48316‐3200
RHOADS, MICHAEL L          1935 HILLWOOD DRIVE                                                                BLOOMFIELD         MI 48304‐2420
RHOADS, RICHARD D          123 VILLA DR                                                                       BROOKVILLE         OH 45309‐1314
RHOADS, RICHARD D          123 VILLA DR.                                                                      BROOKVILLE         OH 45309‐1314
RHOADS, ROBERT             4708 ALEXIS AVE                                                                    DAYTON             OH 45431‐1929
RHOADS, ROY D              10052 BEECHER RD                                                                   FLUSHING           MI 48433‐9700
                            09-50026-mg          Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                        Address1                         Address2                 Address3   Address4         City              State Zip
RHOADS, SANDRA J            311 4TH ST                       P.O. BOX 8                                           SUMMERDALE         PA 17093‐8002
RHOADS, STEPHEN M           2577 FM 2048                                                                          BOYD               TX 76023‐5615
RHOADS, STEPHEN MICHAEL     2577 FM 2048                                                                          BOYD               TX 76023‐5615
RHOADS, SYLVIA R            7588 BIRCH BAY DR # 2                                                                 BLAINE             WA 98230‐9647
RHOADS, TECKLA A            5590 MIDDLE BRANCH DR                                                                 SHELBY TOWNSHIP    MI 48316‐3200
RHOADS, TERESA M            1704 W SAXON DR                                                                       MARION             IN 46952‐1628
RHOADS, TIMOTHY L           8027 KOVACS DR                                                                        LINDEN             MI 48451
RHOADS, WILLIAM D           2160 PRICE RD                                                                         HUBBARD            OH 44425‐9714
RHOADS, WILLIAM L           3810 KIRKWOOD ST GEORGES RD                                                           BEAR               DE 19701‐2283
RHOAT, KENNETH E            4983 WV HIGHWAY 18                                                                    TROY               WV 26443‐7833
RHODA & EUGENE AXELRAD      1604 ABACO DR D‐3                                                                     COCONUT CREEK      FL 33066
RHODA A TAYLOR              183 S COLONIAL DR                                                                     CORTLAND           OH 44410‐1266
RHODA AND DONALD HALL       8 WINCREST DRIVE                                                                      FORT EDWARD        NY 12828
RHODA BALSER                5852 SEA FOREST DR APT 134                                                            NEW PORT RICHEY    FL 34652‐2051
RHODA BECKNELL              31 LINDA LN                                                                           HAMILTON           OH 45011‐4726
RHODA BURAN                 5132 COPELAND AVENUE NORTHWEST                                                        WARREN             OH 44483‐1228
RHODA BURSTEIN              12200 ACADEMY RD NE              APT 714                                              ALBUQUERQUE        NM 87111
RHODA E SOUTHERN            1600 4TH ST                                                                           BAY CITY           MI 48708‐6138
RHODA FRAYER                2614 SMITHTOWN DR                                                                     LAKELAND           FL 33801‐2839
RHODA FRIEDMAN              17 EBERLING DRIVE                                                                     NEW CITY           NY 10956
RHODA G GOINS               6 CASSIE LANE                                                                         WEST ALEXANDRIA    OH 45381‐9389
RHODA G KYZAR               2105 HARBOR LN SE                                                                     BOGUE CHITTO       MS 39629‐9762
RHODA GALEMBO               13 CHERRY LANE                                                                        BROOKSIDE          NJ 07926
RHODA GOINS                 6 CASSIE LN                                                                           WEST ALEXANDRIA    OH 45381‐9389
RHODA HAMBURGER IRA         C/O RHODA HAMBURGER              PO BOX 3594                                          RAMONA             CA 92065
RHODA HATALA                567 GARFIELD AVE                                                                      LINCOLN PARK       MI 48146‐2809
RHODA HURD                  753 N HARRIS RD                                                                       YPSILANTI          MI 48198‐4124
RHODA ISAACS                215 W SPRING ST                                                                       HENRIETTA          TX 76365‐2833
RHODA JACKSON               726 E 6TH ST                                                                          FLINT              MI 48503‐2785
RHODA JOSEPHER              6662 BOCA DEL MAR DR #611                                                             BOCA RATON         FL 33433‐5720
RHODA MARTIN                177 BALLARD LN                                                                        COOKEVILLE         TN 38501‐9573
RHODA MAY                   439 SENECA AVE                                                                        ROCHESTER          NY 14621‐1403
RHODA MONTELLESE            4883 WOODROW AVE NW                                                                   WARREN             OH 44483‐1357
RHODA NICHOLSON             2914 TRANSIT RD                                                                       ALBION             NY 14411‐9774
RHODA SR, FREDERICK A       7477 E HARBOR RD                                                                      LKSID MARBLHD      OH 43440‐9745
RHODA STROZIER              2863 PROSPECT ST                                                                      FLINT              MI 48504‐7522
RHODA SWANGER               9189 OLDE SCOTLAND RD APT 1                                                           SHIPPENSBURG       PA 17257‐9395
RHODA WALTERS               303 N LINDSAY RD LOT K62                                                              MESA               AZ 85213‐8118
RHODA WELLING               4036 WOODBINE AVE                                                                     DAYTON             OH 45420‐2748
RHODA WOOTEN                1661 PINE ST                     APT 637                                              SAN FRANCISCO      CA 94109‐0419
RHODA, LUCILLE              402 22ND ST                                                                           BEDFORD            IN 47421‐4616
RHODA, R J                  320 22ND ST                                                                           BEDFORD            IN 47421‐4614
RHODA, R JOE                320 22ND ST                                                                           BEDFORD            IN 47421‐4614
RHODA, WILLIAM L            15989 M 216                                                                           THREE RIVERS       MI 49093‐8434
RHODABECK, CANDACE E        2244 W COURT ST APT 43                                                                FLINT              MI 48503‐3162
RHODABECK, CANDACE ELAINE   APT 43                           2244 WEST COURT STREET                               FLINT              MI 48503‐3162
RHODABECK, THOMAS B         8877 E BELLEVUE HWY                                                                   EATON RAPIDS       MI 48827‐8510
RHODALEE MAST               2321 BURNINGTREE LN                                                                   KOKOMO             IN 46902‐3168
RHODANA CLINTON             1883 E 100 N                                                                          KOKOMO             IN 46901‐3452
RHODANZ, RICHARD R          5457 LOGAN ARMS DR                                                                    GIRARD             OH 44420‐1637
RHODANZ, SUSIE A            5457 LOGAN ARMS DR                                                                    GIRARD             OH 44420‐1637
RHODE ISLAND                SECRETARY OF STATE               100 NORTH MAIN STREET                                PROVIDENCE          RI 02903
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Name                                Address1                               Address2                     Address3                    Address4         City                 State Zip
RHODE ISLAND COLLEGE                BURSARS OFFICE                         600 MT PLEASANT AVE                                                       PROVIDENCE             RI 02908
RHODE ISLAND CONVENTION CENTER      1 SABIN ST                                                                                                       PROVIDENCE             RI 02903‐1841
RHODE ISLAND CONVENTION CENTER      ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1 SABIN ST                                                                PROVIDENCE             RI 02903‐1841

RHODE ISLAND DEALERS LICENSE &      REGULATIONS OFFICE                    DIVISION OF MOTOR VEHICLES    100 MAIN STREET UPDTE PER                    PAWTUCKET             RI   02860
                                                                                                        LTR
RHODE ISLAND DEPARTMENT OF
EMPLOYMENT AND TRAINING
RHODE ISLAND DEPT OF TREASURY       UNCLAIMED PROPERTY DIVISION           PO BOX 1435                                                                PROVIDENCE            RI   02901‐1435
RHODE ISLAND DIV.OF TAXATION        ONE CAPITOL HILL                                                                                                 PROVIDENCE            RI   02908
RHODE ISLAND DIVISION OF            TAXATION                              ONE CAPITOL HILL              SUITE 4                                      PROVIDENCE            RI   02908
RHODE ISLAND DIVISION OF TAXATION   ONE CAPITOL HILL                                                                                                 PROVIDENCE            RI   02908

RHODE ISLAND SCHOOL OF DESIGN       STUDENT ACCOUNTS                      2 COLLEGE ST                                                               PROVIDENCE           RI    02903‐2717
RHODE ISLAND SECRETARY OF STATE     CORPORATION DIVISION                  148 W. RIVER ST.                                                           PROVIDENCE           RI    02904
RHODE JOHN H (434294)               SIMMONS FIRM                          PO BOX 559                                                                 WOOD RIVER           IL    62095‐0559
RHODE, ALMA C                       62 EDINBURGH DR                                                                                                  PALM BEACH GARDENS   FL    33418‐6855
RHODE, CLARENCE E                   5825 WESTSIDE SAGINAW RD                                                                                         BAY CITY             MI    48706‐3447
RHODE, DAVID
RHODE, DELORIS M                    430 N COLEMAN RD RT 11                                                                                           SHEPARD              MI    48883‐8630
RHODE, DENNIS L                     1718 N CLAREMONT DR                                                                                              JANESVILLE           WI    53545‐0968
RHODE, DONNA M                      1718 N CLAREMONT DR                                                                                              JANESVILLE           WI    53545‐0968
RHODE, JOHN H                       SIMMONS FIRM                          PO BOX 559                                                                 WOOD RIVER           IL    62095‐0559
RHODE, LARRY J                      2300 W PLEASANT VALLEY RD                                                                                        SHEPHERD             MI    48883‐9547
RHODE, LEROY F                      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                NORFOLK              VA    23510‐2212
                                                                          STREET, SUITE 600
RHODE, PAULINE                      359 S ROGERS RD R3                                                                                               HARRISON             MI    48625‐9314
RHODE, SHERWYN                      PO BOX 214844                                                                                                    AUBURN HILLS         MI    48321‐4844
RHODE, WAYNE T                      3473 W CASTLE RD                                                                                                 FOSTORIA             MI    48435‐9639
RHODE, WAYNE THOMAS                 3473 W CASTLE RD                                                                                                 FOSTORIA             MI    48435‐9639
RHODEHAMEL, BETTIE J                A1 1324 SWEITVER ST                                                                                              GREENVILLE           OH    45331
RHODELLA MALONE                     4650 E 38TH ST                                                                                                   KANSAS CITY          MO    64128‐2815
RHODEN AUTO CENTER, INC.            3400 S EXPRESSWAY ST                                                                                             COUNCIL BLUFFS       IA    51501‐8210
RHODEN AUTO CENTER, INC.            RODNEY RHODEN                         3400 S EXPRESSWAY ST                                                       COUNCIL BLUFFS       IA    51501‐8210
RHODEN THOMAS                       515 S 6TH ST                                                                                                     MACCLENNY            FL    32063‐2605
RHODEN, BETH A                      1507 TUPPER LAKE ST                                                                                              LAKE ODESSA          MI    48849‐9588
RHODEN, CAROLINE
RHODEN, CHARLES G                   8693 N 1950 EAST RD                                                                                              GEORGETOWN           IL    61846‐6264
RHODEN, CHARLES SR                  C/O GORI JULIAN & ASSOCIATES PC       156 N MAIN ST                                                              EDWARDSVILLE         IL    62025
RHODEN, DAVID T                     4311 PAINT CREEK RD.                                                                                             EATON                OH    45320‐9300
RHODEN, ELVIN                       2144 MONTCLAIR ST                                                                                                DETROIT              MI    48214‐3168
RHODEN, GERALD R                    11397 PINE LOOP                                                                                                  GLEN ST MARY         FL    32040‐3896
RHODEN, JACK R                      425 E COUNTY ROAD 1275 S                                                                                         CLOVERDALE           IN    46120‐8637
RHODEN, JOHN D                      532 WATERVLIET AVE                                                                                               DAYTON               OH    45420‐2543
RHODEN, KENNETH                     DALEY ROBERT                          707 GRANT ST STE 2500                                                      PITTSBURGH           PA    15219‐1945
RHODEN, MASON E                     236 E HIGH ST                                                                                                    HICKSVILLE           OH    43526‐1109
RHODEN, MELISSA S                   121 PURITAN PL                                                                                                   DAYTON               OH    45420‐2476
RHODEN, OTIS                        PO BOX 81                                                                                                        MACCLENNY            FL    32063‐0081
RHODEN, VIVIAN J                    5339 E ATHERTON RD                                                                                               BURTON               MI    48519‐1531
RHODENBAUGH, THOMAS N               904 CHIPPEWA LN                                                                                                  KOKOMO               IN    46902‐5417
RHODENCE J REED                     13701 TROESTER                                                                                                   DETROIT              MI    48205‐3585
RHODER III, VICTOR                  3835 FARR OAK CIR                                                                                                FAIRFAX              VA    22030
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Name                                    Address1                         Address2                          Address3   Address4         City            State Zip
RHODERICK, DALE F                       29861 FISH HATCHERY RD                                                                         KALAMAZOO        MI 49009‐9202
RHODERICK, MICHAEL F                    817 S DUDLEY ST                                                                                DEWITT           AR 72042‐3313
RHODERICK, STEPHEN D                    121 W CENTER ST                                                                                SANFORD          MI 48657‐9556
RHODES ALONZER (ESTATE OF) (441409)     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                    BALTIMORE        MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
RHODES CHEVROLET COMPANY                2800 ALMA HWY                                                                                  VAN BUREN       AR    72956‐5022
RHODES CHEVROLET COMPANY                DAVID NEAL                       2800 ALMA HWY                                                 VAN BUREN       AR    72956‐5022
RHODES COLLEGE                          BURSARS OFFICE                   2000 N PARKWAY                                                MEMPHIS         TN    38112‐1624
RHODES ETHEL                            APT I184                         1655 SOUTH HIGHLAND AVENUE                                    CLEARWATER      FL    33756‐6365
RHODES GEORGE A (494132)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA    23510
                                                                         STREET, SUITE 600
RHODES HERMAN L (467140)                JAMES M. PARSA & ASSOCIATES      2183 FAIRVIEW RD STE 101                                      COSTA MESA      CA 92627‐5671
RHODES HIERONYMUS JONES TUCKER&         100 W 5TH ST STE 400             ONEOK PLAZA                                                   TULSA           OK 74103‐4287
GABLE
RHODES HIERONYMUS JONES TUCKER&         2800 4TH NATIONAL BANK BLDG                                                                    TULSA           OK 74104
GABLE
RHODES HIERONYMUS JONES TUCKER&         PO BOX 21100                                                                                   TULSA           OK 74121‐1100
GABLE PLLC
RHODES HIERONYMUS JONES TUCKER&         100 W 5TH ST STE 400                                                                           TULSA           OK 74103‐4287
GABLE PLLC
RHODES JAMES JR                         RHODES, JAMES                    30 EAST BUTLER PIKE , SUITE 310                               AMBLER          PA 19002
RHODES JESSE HOLLIS JR (495377)         BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                                DALLAS          TX 75219
RHODES JOHN J (481980)                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                         STREET, SUITE 600
RHODES JR, GEORGE G                     133 W AVE                                                                                      LOCKPORT        NY    14094
RHODES JR, GEORGE G                     91 S MAIN ST                                                                                   MIDDLEPORT      NY    14105‐1313
RHODES JR, HARRY E                      3785 MERIDIAN RD                                                                               OKEMOS          MI    48864‐3115
RHODES JR, JAMES E                      2268 DOUGLAS JOEL DR                                                                           FLINT           MI    48505‐1045
RHODES JR, JOHN D                       2308 RADCLIFFE AVE                                                                             FLINT           MI    48503‐4751
RHODES JR, MARVIN                       27369 SUTHERLAND ST                                                                            SOUTHFIELD      MI    48076‐3563
RHODES JR, RODNEY D                     5206 WOODROW AVE                                                                               PARMA           OH    44134‐3860
RHODES JR, WILBERT                      5422 TRAIL TIMBERS DR                                                                          HUMBLE          TX    77346‐3623
RHODES JR, WILLIE C                     2125 PRINCE HALL DR APT 1D                                                                     DETROIT         MI    48207‐3386
RHODES JR, WILLOUGHBY O                 17315 E JEFFERSON AVE                                                                          GROSSE POINTE   MI    48230‐1900
RHODES JR., CHARLES A                   902 WILLIAM EDMONDSON STREET                                                                   NASHVILLE       TN    37203‐2877
RHODES KYLE                             RHODES, KYLE                     649 N YORK ST                                                 ELMHURST        IL    60126‐1604
RHODES MARION (492135)                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH    44067
                                                                         PROFESSIONAL BLDG
RHODES MARY KANE                        1450 RUDDER LANE                                                                               KNOXVILLE       TN    37919‐8434
RHODES MICHAEL M (473305)               WEITZ & LUXENBERG                180 MAIDEN LANE                                               NEW YORK        NY    10038
RHODES RANDY                            1202 VINTAGE WAY                                                                               HOSCHTON        GA    30548‐3452
RHODES ROBERT (490916)                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH    44067
                                                                         PROFESSIONAL BLDG
RHODES SR, HOWARD A                     2028 CARMEN RD                                                                                 BARKER          NY    14012‐9667
RHODES SR, N K                          3708 N KIEL AVE                                                                                INDIANAPOLIS    IN    46224‐1229
RHODES SR, THOMAS M                     10422 STRATTON RD                                                                              SALEM           OH    44460‐9641
RHODES STEPHEN E (481277)               KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                 CLEVELAND       OH    44114
                                                                         BOND COURT BUILDING
RHODES SUZANNE                          1459 OLD SMITHFIELD RD                                                                         GOLDSBORO       NC 27530
RHODES TRACY Y                          RHODES, TRACY Y
RHODES WILLIAM F (ESTATE OF) (494133)   LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                       MIAMI            FL   33143‐5163
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Name                      Address1                         Address2                    Address3   Address4         City               State Zip
RHODES, ADAM              404 S BRITTANY ST                                                                        OLATHE              KS 66061‐3817
RHODES, ADELINE           24340 SOUTH SCHOOLHOUSE ROAD                                                             MANHATTAN            IL 60442‐9588
RHODES, ALAN J            3047 VOORHEIS LAKE CT                                                                    LAKE ORION          MI 48360‐1868
RHODES, ALAN R            143 ARCHERY CT                                                                           OLD BRIDGE          NJ 08857‐3227
RHODES, ALAN R.           143 ARCHERY CT                                                                           OLD BRIDGE          NJ 08857‐3227
RHODES, ALBERT L          7025 MEADOWBROOK LN                                                                      HANOVER PARK         IL 60133‐6420
RHODES, ALICE J           5430 RAWLINGS DR.                                                                        DAYTON              OH 45432‐3624
RHODES, ALICE J           411 S PEARL ST                                                                           TECUMSEH            MI 49286‐1939
RHODES, ALMA L            201 E ELIZABETH STREET           APT 313                                                 FENTON              MI 48430
RHODES, ALMA L            201 E ELIZABETH ST APT 313                                                               FENTON              MI 48430‐2672
RHODES, ALONZER           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE           MD 21202
                                                           CHARLES CENTER 22ND FLOOR
RHODES, ALVIN L           2370 S WALLICK RD                                                                        PERU               IN   46970‐7337
RHODES, ANNA M            2724 SUNSET DR                                                                           SEBRING            FL   33870‐1466
RHODES, ARDEEN B          PO BOX 307                                                                               WARRENSVILLE       NC   28693‐0307
RHODES, ARDEEN B          POST OFFICE BOX 307                                                                      WARRENSVILLE       NC   28693‐0307
RHODES, ARTHUR H          1298 RIVER REACH DR                                                                      VERO BEACH         FL   32967‐1831
RHODES, ARTHUR L          6722 W 14TH ST                                                                           INDIANAPOLIS       IN   46214‐3421
RHODES, BESSIE J          406 BURLEIGH AVE                                                                         DAYTON             OH   45417‐1634
RHODES, BETTY A           6 HESTER TRL                                                                             WILDWOOD           FL   34785‐9024
RHODES, BETTY J           91 S MAIN ST                                                                             MIDDLEPORT         NY   14105
RHODES, BETTY L           3751 W DRIFTWOOD ST                                                                      SPRINGFIELD        MO   65807‐8656
RHODES, BOBBY L           5063 ROCKWOOD DR                                                                         GRAND BLANC        MI   48439‐4259
RHODES, CALVIN J          238 MARLBOROUGH DR                                                                       BLOOMFIELD HILLS   MI   48302‐0644
RHODES, CALVIN K          5591 JOHN C LODGE FWY                                                                    DETROIT            MI   48202‐3346
RHODES, CARLTON E         85 WILLIAMSON DR                                                                         WATERBURY          CT   06710‐1131
RHODES, CAROLINE L        2775 FARMBROOK TRL                                                                       OXFORD             MI   48370‐2309
RHODES, CATHRYN           2210 ROAD 2                                                                              EXETER             NE   68351‐9218
RHODES, CECIL             BOX 125 SPRING ST                                                                        BARBOURVILLE       KY   40906
RHODES, CECIL             3706 HILLSIDE DRIVE                                                                      YPSILANTI          MI   48197‐3736
RHODES, CECIL             C/O SHELBY J ALEXANDER           3706 HILLSIDE DRIVE                                     YPSILANTI          MI   48197
RHODES, CHARLES           77 WHITMAN LANE                                                                          YOUNGSTOWN         OH   44505‐4931
RHODES, CHARLES A         1067 STANFORD AVE                                                                        OAKLAND            CA   94608‐2351
RHODES, CHARLES A         9036 W 97TH ST                                                                           OVERLAND PARK      KS   66212‐4016
RHODES, CHARLES G         13303 N GENESEE RD                                                                       CLIO               MI   48420‐9164
RHODES, CHARLES L         26014 TWP. 111                                                                           WARSAW             OH   43844
RHODES, CHARLES R         236 STONY POINTE WAY                                                                     STRASBURG          VA   22657‐2668
RHODES, CHARLES R         RR 3 BOX 3620                                                                            MARBLE HILL        MO   63764‐9204
RHODES, CHARLES R         ROUTE 3 BOX 3620                                                                         MARBLE HILL        MO   63764‐9204
RHODES, CHARLES RICHARD   236 STONY POINTE WAY                                                                     STRASBURG          VA   22657‐2668
RHODES, CHESTER W         14205 E VARGAS RD                                                                        CHOCTAW            OK   73020‐9005
RHODES, CHRISTINA DAWN    6453 S DERBY DR                                                                          COLUMBIA CITY      IN   46725‐9232
RHODES, CLIFTON           1042 PROSPECT AVE SE                                                                     GRAND RAPIDS       MI   49507‐1111
RHODES, CLIFTON F         2031 EAST HOUGHTON LAKE DRIVE                                                            HOUGHTON LAKE      MI   48629‐7601
RHODES, CLIFTON FORREST   2031 E HOUGHTON LAKE DR                                                                  HOUGHTON LAKE      MI   48629‐7601
RHODES, CORA E            184 CRAIG ST                                                                             NORTH WILKESBORO   NC   28659‐9216
RHODES, CORNELIA          626 GRANADA DR                                                                           PONTIAC            MI   48342‐1730
RHODES, D S               250 BENSFIELD                                                                            MILFORD            MI   48381‐2801
RHODES, D SCOTT           250 BENSFIELD                                                                            MILFORD            MI   48381‐2801
RHODES, DAISY E           9550 LITTLEFIELD ST                                                                      DETROIT            MI   48227‐3427
RHODES, DANIEL C          2729 BRANDON ST                                                                          FLINT              MI   48503‐3469
RHODES, DANIEL C          2270 E WILSON RD                                                                         CLIO               MI   48420
                      09-50026-mg               Doc 7123-32 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
                                                           Part 30 of 40 Pg 891 of 891
Name                  Address1                          Address2                      Address3   Address4         City              State Zip
RHODES, DANIEL M      1942 SPINNAKER LN                                                                           AZLE               TX 76020‐4938
RHODES, DANIEL S      RR=1 BOX 79                                                                                 MOUNDVILLE         MO 64771‐9738
RHODES, DANIEL S      13498 E QUANTRILL RD                                                                        MOUNDVILLE         MO 64771‐9114
RHODES, DANIEL W      970 PROSPECT ST                                                                             SALEM              OH 44460‐2062
RHODES, DANIEL W      9734 SALEM WARREN RD                                                                        SALEM              OH 44460‐9615
RHODES, DAVID D       73 LAKOTA ACRES                                                                             TROY               MO 63379‐5431
RHODES, DAVID D       11298 STAFFORD RD                                                                           NEW CARLISLE       OH 45344‐8554
RHODES, DAVID W       955 ELK GROVE LN                                                                            SOLVANG            CA 93463‐9608
RHODES, DEBORAH L     7106 WESTBURY BLVD                                                                          WEST BLOOMFIELD    MI 48322‐2810
RHODES, DEBRA D       721 N MAIN ST                                                                               SULLIVAN           IN 47882‐1027
RHODES, DEBRA K       303 1/2 S LAWN AVE                                                                          COSHOCTON          OH 43812‐2138
RHODES, DELANOR L     63 CRAFT ST                       #189                                                      CINCINNATI         OH 45232‐1601
RHODES, DONALD A      3535 MILL ST 55                                                                             HARTLAND           MI 48353
RHODES, DONALD J      75 N BRIER RD                                                                               AMHERST            NY 14228‐3450
RHODES, DONALD L      4500 BERLINE DR                                                                             LITHONIA           GA 30038‐4605
RHODES, DONALD R      17845 OAK REST RD                                                                           BRIGHTON            IL 62012‐3752
RHODES, DORELLA       2 SLEEPER ST                                                                                MIDDLEPORT         NY 14105‐1008
RHODES, DOROTHY       975 PORT SHELDON ST                                                                         JENISON            MI 49428‐9337
RHODES, DOROTHY M     1800 N WABASH AVE                                                                           KOKOMO             IN 46901‐2005
RHODES, DOROTHY M     685 VILLA DR                                                                                MANSFIELD          OH 44906‐4056
RHODES, DOUGLAS       2256 DUCK COVE DR                                                                           KNOXVILLE          TN 37922‐6140
RHODES, DUSTIN G      219 DUNDEE DR                                                                               BATTLE CREEK       MI 49014‐7528
RHODES, DUSTIN GENE   219 DUNDEE DR                                                                               BATTLE CREEK       MI 49014‐7528
RHODES, E W           UNIT 206                          201 KIRKLAND AVENUE                                       KIRKLAND           WA 98033‐9032
RHODES, EARL D        23465 DAVID DR                                                                              NORTH OLMSTED      OH 44070‐2945
RHODES, EDDIE H       1311 CAMDEN SQ                                                                              JANESVILLE         WI 53545‐1213
RHODES, EDITH LOU     1208 ARROWHEAD DR                                                                           CROSSVILLE         TN 38572
RHODES, ELAINE M      5294 HOLLENBECK RD                                                                          LOCKPORT           NY 14094‐9323
RHODES, ELBERTA       PO BOX 413                                                                                  CHESANING          MI 48616‐0413
RHODES, ELLA          8870 N CLARDON                                                                              DETROIT            MI 48204
RHODES, ELMER         5188 EDGEMERE DR                                                                            FLORISSANT         MO 63033‐7733
RHODES, ELMER S       PO BOX 76                                                                                   CHANDLER           AZ 85244‐0076
RHODES, ELROY         1710 CARROLL ST                                                                             SAGINAW            MI 48601‐1613
RHODES, ERITH E       PO BOX 2228                                                                                 BLUE RIDGE         GA 30513‐0039
RHODES, ETHEL L       206 E MCCLELLAN ST                                                                          FLINT              MI 48505‐4224
RHODES, ETHEL L       206 EAST MCCLELLAN ST.                                                                      FLINT              MI 48505
RHODES, EUGENE C      8465 OLD ORCHARD RD SE                                                                      WARREN             OH 44484‐3048
RHODES, FOUNTAIN R    24340 SOUTH SCHOOLHOUSE RD                                                                  MANHATTAN           IL 60442
RHODES, FRANCES M     PO BOX 250045                                                                               HOLLY HILL         FL 32125‐0045
RHODES, GARY          16815 LAMPHERE ST                                                                           DETROIT            MI 48219‐3712
RHODES, GARY A        9624 CALLIS CT                                                                              HARRISBURG         NC 28075‐9619
RHODES, GARY L        1109 NE 21ST CT                                                                             MOORE              OK 73160‐6325
RHODES, GARY LYNN     1109 NE 21ST CT                                                                             MOORE              OK 73160‐6325
RHODES, GEORGE A      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                        STREET, SUITE 600
RHODES, GERALD K      1548 HARDING AVE                                                                            MINERAL RIDGE     OH   44440‐9342
RHODES, GERALD K      1548 HARDING                                                                                MINERAL RIDGE     OH   44440‐9342
RHODES, GERALD L      3714 NE 47TH ST TERRACE                                                                     KANSAS CITY       MO   64117
RHODES, GIL A         5600 KEMAH CT                                                                               GRANBURY          TX   76049‐8259
RHODES, GLENN L       8605 W CALLA RD                                                                             CANFIELD          OH   44406‐9459
RHODES, GLENNA M      120 RUSTIC DR                                                                               NEWARK            DE   19713‐4215
RHODES, GLENNA M      120 RUSTIC DRIVE                                                                            NEWARK            DE   19713‐4215
